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                                  No. 22-1998

                 In the United States Court of Appeals
                         for the Third Circuit

  MONIQUE RUSSELL; JASMINE RIGGINS; ELSA M. POWELL;
                    DESIRE EVANS
                                      Appellants
                                          v.
            EDUCATIONAL COMMISSION FOR FOREIGN
                   MEDICAL GRADUATES,
                                           Appellee

             On Appeal from the United States District Court for the
     Eastern District of Pennsylvania, No. 2:18-cv-05629-JDW (Wolson, J.)

                      JOINT APPENDIX
             VOLUME VI, PAGES JA1909 TO JA4931
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                                No. 20-____

                In the United States Court of Appeals
                        For the Third Circuit

 MONIQUE RUSSELL, JASMINE RIGGINS, ELSA M. POWELL,
and DESIRE EVANS, on behalf of themselves and all others similarly
                         situated,
                                      Plaintiffs-Respondents,
                                         v.
                  EDUCATIONAL COMMISSION FOR
                  FOREIGN MEDICAL GRADUATES,
                                     Defendant-Petitioner.

On Petition for Permission to Appeal from the United States District Court for the
    Eastern District of Pennsylvania, No. 2:18-cv-05629-JDW (Wolson, J.)


PETITION FOR PERMISSION TO APPEAL PURSUANT
  TO FEDERAL RULE OF CIVIL PROCEDURE 23(F)

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                                                                              JA1909
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                         CORPORATE DISCLOSURE STATEMENT
       Pursuant to Rule 26.1 and Third Circuit Local Appellate Rule 26.1,

Defendant–Petitioner Educational Commission for Foreign Medical Graduates

makes the following disclosure:

       (1)     For nongovernmental corporate parties, please list all parent

corporations:

       Educational Commission for Foreign Medical Graduates has no parent

corporation.

       (2)     For nongovernmental corporate parties, please list all publicly held

companies that hold 10% or more of the party’s stock:

       No publicly held corporation owns more than 10% of Educational

Commission for Foreign Medical Graduates’ stock.

       (3)     If there is a publicly held corporation which is not a party to the

proceeding before this Court but which has as a financial interest in the outcome of

the proceeding, please identify all such parties and specify the nature of the financial

interest or interests:

       At this time, Educational Commission for Foreign Medical Graduates

believes that AIG may be liable to satisfy all or part of a possible judgment in the

action or to indemnify or reimburse for payments made to satisfy a possible

judgment in the action.



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      4)     In all bankruptcy appeals counsel for the debtor or trustee of the

bankruptcy estate must list: (1) the debtor, if not identified in the case caption; (2) the

members of the creditors’ committee or the top 20 unsecured creditors; and, (3) any

entity not named in the caption which is an active participant in the bankruptcy

proceeding. If the debtor or trustee is not participating in the appeal, this information

must be provided by appellant.

      Not applicable.

 Dated: April 6, 2020                             Respectfully submitted,

                                                  MORGAN, LEWIS & BOCKIUS LLP

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                                   INTRODUCTION
      The district court certified a multistate class of hundreds of plaintiffs seeking

to recover for emotional distress. Despite the fact that the claims as a whole are

unquestionably unsuitable for class adjudication, the district court relied on Rule

23(c)(4) to certify narrow and abstract issues, limited to duty and breach.

      This interlocutory appeal will permit this Court to clarify the relationship

between Rule 23(c)(4) and Rule 23(b), an important and unsettled issue in the law

of class certification. The district court held that under this Court’s decision in Gates

v. Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011), Rule 23(b) has no relevance to

certification under Rule 23(c)(4). See Dkt. 57, Class Certification Memorandum

(cited hereinafter as “Mem.”) at 9. But this Court, after Gates, has held that a

plaintiff “may seek certification under Rule 23(c)(4)” only after “having satisfied

Rule 23(a) and (b)’s requirements.” Luppino v. Mercedes Benz USA, 718 F. App’x

143, 146 (3d Cir. 2017).

      This Court should also permit interlocutory review because of the errors

committed by the district court.         For example, the district court’s cursory

consideration of the Gates factors led to certification of an issue class that is

“unlikely to substantially aid resolution of the substantial issues on liability and

causation.” Gates, 655 F.3d at 274; see also Spence v. Bd. of Ed. of Christina Sch.




                                           1



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Dist., 806 F.2d 1198, 1202 (3d Cir. 1986) (explaining that emotional distress is “too

interwoven to allow a fair determination of damages apart from liability”).

      And the district court misplaced the burden of proof regarding variations in

state law, noting that the “parties have not identified any variations” in the law of

the relevant case, Mem. at 11, rather than asking whether Plaintiffs carried their

burden of proof to demonstrate the absence of variations. The district court’s

alternative holding—that Pennsylvania law could apply to claims arising from out-

of-state treatment rendered by an out-of-state doctor to an out-of-state patient—is

facially incorrect. Mem. at 11.

      Nor did the district court ever seriously grapple with the other problems

inherent in attempting to certify a class seeking to recover for emotional distress.

Even if Plaintiffs suffered compensable emotional distress merely because they

learned that they were examined by an allegedly unqualified doctor, Plaintiffs have

not demonstrated that such a reaction is typical. And if learning that the doctor was

unqualified is what causes emotional distress, then certifying and providing notice

of this class action will actually cause injuries to class members.

      For these reasons—and because of the settlement pressure that class

certification creates—this Court should grant this petition for permission to appeal.




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                             FACTUAL BACKGROUND
      Petitioner Educational Commission for Foreign Medical Graduates

(“ECFMG”) is a Philadelphia-based private non-profit organization that promotes

quality health care for the public. See Dkt. 32-3. Among other tasks, ECFMG

certifies graduates of international medical schools as ready to enter U.S. graduate

medical education (usually residency programs). See id.

      The certification provided by ECFMG is limited. ECFMG would only

(1) certify that the applicant received passing grades on an English exam and two

substantive exams (the first two steps of the United States Medical Licensing

Examination (“USMLE”)), Dkt. 32-5; Dkt. 32-46 at 88:21–89:2; and (2) verify the

diploma provided by the applicant by asking the issuing medical school to confirm

its legitimacy, Dkt. 32-46 at 88:3–14.

      Other than certifying the test results and the diploma, ECFMG did not make

any additional representations regarding the applicant. In particular, ECFMG’s

reports did not (and were not expected to) verify an applicant’s identity, Social

Security number, immigration status, passport information, criminal background,

readiness to treat patients, ethics, honesty, morality, or character. Id. at 198:16–22,

200:13–15, 240:18–241:6, 242:6–243:3, 244:22–245:13.




                                          3


                                                                                  JA1918
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      Dr. Akoda
      This case involves obstetrician/gynecologist John Nosa Akoda, who ECFMG

certified in 1997.1 Dkt. 32-21. It is undisputed that Dr. Akoda passed the two

substantive examinations and presented to ECFMG a medical school diploma in his

name that was verified as authentic by the University of Benin, a Nigerian medical

school. Dkt. 32-1 at 4; Dkt. 39-2. After obtaining ECFMG certification, Dr. Akoda

successfully:

       passed Step 3 of the USMLE, Dkt. 32-34 at 4;

       was admitted to and completed a residency program at Howard University
        Hospital, Dkt. 39-5; Dkt. 39-6;

       became licensed to practice medicine in Maryland and Virginia, Dkt. 32-
        34 at 4;

       was awarded hospital privileges at Prince George’s Hospital Center and
        hired by several medical offices, id.; and

       achieved Board certification in his specialty, Dkt. 39-7.
      In 1996, Jersey Shore Medical Center, a residency program that Dr. Akoda

had entered, raised concerns with ECFMG regarding Dr. Akoda’s identity. Dkt. 32-

23. Following an investigation—in which Dr. Akoda addressed those concerns and

provided supporting hard-copy documentation, Dkt. 32-26; Dkt. 32-27—ECFMG



1
  The district court’s statement that John Akoda “was not a doctor,” Mem. at 1, is
incorrect. John Akoda completed a residency program, was licensed to practice
medicine, and achieved Board certification as a specialist. By any meaning of the
term, John Akoda was a “doctor.”

                                        4


                                                                                JA1919
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concluded that there was insufficient evidence of any discrepancy. Dkt. 32-29; Dkt.

32-46 at 150:24–151:6 Jersey Shore Medical Center also reported its suspicions to

the Maryland Board of Physicians, which took no action against Dr. Akoda. Dkt. 39-

9.

      In November 2016, following a two-year investigation by the U.S. Attorney’s

office, Dr. Akoda pleaded guilty to misuse of a Social Security number. Dkt. 32-32.

It was discovered that Dr. Akoda had previously applied to ECFMG under two

different names: Oluwafemi Charles Igberase in 1992 and Igberase Oluwafemi

Charles in 1994. Id. ECFMG immediately revoked his certificate. Dkt. 32-33.

      Plaintiffs Sue ECFMG for Emotional Distress
      The four named plaintiffs—Monique Russell, Jasmine Riggins, Elsa Powell,

and Desire Evans—are former patients of Dr. Akoda, either because Dr. Akoda was

their regular doctor or was the doctor who happened to be “on-call” at the hospital

when they gave birth. Even among Plaintiffs, there is significant variation in their

treatment by and allegations against Dr. Akoda:

       For Ms. Russell, Dr. Akoda performed a successful emergency c-section.
        Dkt. 46-16 at 9. She not only does not complain about her treatment but
        agrees that it “really was best/necessary.” Dkt. 39-33. She never sought
        any mental health treatment after hearing about Dr. Akoda’s guilty plea.
        Dkt. 50-7.

       For Ms. Riggins, Dr. Akoda performed a successful elective c-section and
        provided prenatal care. Dkt. 46-16 at 8. She had no concerns about her
        treatment and no history of mental health or psychiatric treatment. Dkt.
        46-12 at 4.


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                                                                                 JA1920
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       For Ms. Powell, Dr. Akoda successfully delivered her baby, performed
        emergency surgery, and assisted with post-natal care. Dkt. 46-16 at 6. She
        alleges that Dr. Akoda was flirtatious and made inappropriate comments.
        Id. at 6. She has no history of mental health or psychiatric treatment. Dkt.
        46-13 at 4.

       For Ms. Evans, Dr. Akoda performed a successful emergency c-section.
        Dkt. 46-16 at 4. She alleges that he improperly manipulated her clitoris.
        Id. at 4. Ms. Evans has extensive history of mental health treatment, both
        before and after encountering Dr. Akoda. Dkt. 50-8 at 6–8. None of her
        mental health records refers to Dr. Akoda. Id. at 7.

Despite the large number of persons and entities potentially responsible for

Plaintiffs’ alleged emotional distress2—most obviously, Dr. Akoda himself but also

including the residency program from which he graduated, states that licensed him,

and hospitals and medical practices that employed him—Plaintiffs chose to sue

ECFMG on behalf of a putative class.3

      Following extensive briefing and a hearing, Judge Wolson certified an issue

class under Federal Rule of Civil Procedure 23(c)(4), comprising “All patients

examined or treated in any manner by Oluwafemi Charles Igberase (a/ka Charles J.



2
 At the hearing, Plaintiffs’ counsel confirmed that the only harm for which they seek
for the class to recover is “emotional distress.” Jan. 30, 2020 Hearing Tr. at 5:22–
25.
3
  This litigation follows an unsuccessful putative class action against Dimensions
Health Corporation and others who operated Prince George’s Hospital Center, where
Dr. Akoda practiced. See Russell v. Dimensions Corp., et al., CAL 17-22761 (Prince
George’s Cty. Cir. Ct., Md.); Dews v. Dimensions Healthcare Sys., CAL 17-37091
(Prince George’s Cty. Cir. Ct., Md.). The plaintiffs in those cases abandoned their
claims after receiving the defendants’ motions for summary judgment.

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Akoda) beginning with his enrollment in a postgraduate medical education program

at Howard University in 2007.” Dkt. 58 at 1–2.

       The following issues were certified:

       (1) whether Defendant Educational Commission for Foreign Medical
       Graduates (“ECFMG”) undertook or otherwise owed a duty to class
       members;
       (2) whether ECFMG undertook or otherwise owed a duty to hospitals
       and state medical boards, such that ECFMG may be held liable to class
       members pursuant to Restatement (Second) of Torts § 324A;
       (3) whether ECFMG breached any duty that it owed to class members;
       and
       (4) whether ECFMG breached any duty that it owed to hospitals and
       state medical boards.

Id. at 2.




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                                                                                     JA1922
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                             QUESTIONS PRESENTED
      1.     Whether Rule 23(c)(4) permits certification of a class limited to

questions of duty and breach with respect to a multistate class seeking only highly

individualized emotional distress damages, without any finding that questions of law

or fact common to class members predominate over questions affecting only

individual class members and without any finding that a class action is superior to

other available methods for fairly and efficiently adjudicating the controversy?

      2.     Whether the district court erred in certifying the class, including:

             a.    whether the district court correctly applied this Court’s decision

      in Gates v. Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011);

             b.    whether the district court erred in analyzing choice-of-law and

      misallocated the burden regarding variations in state law;

             c.    whether the district court erred in analyzing typicality, without

      considering whether any other class members suffered the same alleged

      emotional damages as Plaintiffs; and

             d.    whether the district court erred by failing to consider that

      certification will cause emotional distress to class members.




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                                  RELIEF SOUGHT
      Petitioner seeks leave to appeal the March 23, 2020 Order granting Plaintiffs’

motion for class certification.




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                    REASONS FOR GRANTING THE PETITION
      Interlocutory review of a district court’s class certification order may be

granted “on the basis of any consideration.” Microsoft Corp. v. Baker, 137 S. Ct.

1702, 1710 (2017). This Court has identified several circumstances in which review

is appropriate, including (1) “when the appeal might ‘facilitate development of the

law on class certification,’” (2) “when the district court’s class certification

determination was erroneous;” and (3) “when class certification risks placing

‘inordinate . . . pressure on defendants to settle.’” Rodriguez v. Nat’l City Bank, 726

F.3d 372, 376–77 (3d Cir. 2013) (quoting Newton v. Merrill Lynch, Pierce, Fenner

& Smith, Inc., 259 F.3d 154, 164–65 (3d Cir. 2001), as amended (Oct. 16, 2001)).

Review is warranted under all three criteria.

I.    Review Would Facilitate Development of the Law on Class Certification
      Under Rule 23(c)(4).
      This Court should provide guidance on certification of issue classes under

Rule 23(c)(4), which provides, “When appropriate, an action may be brought or

maintained as a class action with respect to particular issues.” Fed. R. Civ. P.

23(c)(4).

      This Court has not addressed Rule 23(c)(4) at length in nearly a decade. In

Gates v. Rohm and Haas Co., this Court recognized “[t]he interaction between the

requirements for class certification under Rule 23(a) and (b) and the authorization

of issue classes under Rule 23(c)(4)” as “a difficult matter” that has “generated


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divergent interpretations among the courts.” 655 F.3d at 272. And this Court set

forth a list of factors that district courts should consider as part of the “rigorous

analysis” in deciding whether to certify an issue class:

       the type of claim(s) and issue(s) in question;

       the overall complexity of the case;

       the efficiencies to be gained by granting partial certification in light of
        realistic procedural alternatives;

       the substantive law underlying the claim(s), including any choice-of-law
        questions it may present and whether the substantive law separates the
        issue(s) from other issues concerning liability or remedy;

       the impact partial certification will have on the constitutional and statutory
        rights of both the class members and the defendant(s);

       the potential preclusive effect or lack thereof that resolution of the
        proposed issue class will have;

       the repercussions certification of an issue(s) class will have on the
        effectiveness and fairness of resolution of remaining issues;

       the impact individual proceedings may have upon one another, including
        whether remedies are indivisible such that granting or not granting relief
        to any claimant as a practical matter determines the claims of others; and

       the kind of evidence presented on the issue(s) certified and potentially
        presented on the remaining issues, including the risk subsequent triers of
        fact will need to reexamine evidence and findings from resolution of the
        common issue(s).

Id. at 273.

      Two issues related to Rule 23(c)(4) and the Gates factors warrant clarification

by this Court. First, did the district court correctly hold—contrary to a decision by



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this Court post-dating Gates—that the Gates factors render Rule 23(b) irrelevant to

class certification? Second, did the district court’s cursory discussion of Gates

satisfy the “rigorous analysis” required by this Court?

      A.     This Court should clarify the relationship between the Gates
             factors and Rule 23(b).
      The district court interpreted Gates as holding that Rule 23(b) is irrelevant to

certification of an issue class under Rule 23(c)(4), holding that it only had to

“consider Rule 23(a) and then turn to the Gates factors in conducting its analysis.”

Order at 9. This decision appears to be the first case ever interpreting Gates in this

manner.

      Numerous decisions—including one from this Court—cast serious doubt on

this understanding of Gates.       Two years after Gates, the Supreme Court

unequivocally reaffirmed that “a party seeking to maintain a class action” must

“satisfy through evidentiary proof at least one of the provisions of Rule 23(b).”

Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432 (2013). Relying on Comcast, an

unpublished decision from this Court held that a plaintiff “may seek certification

under Rule 23(c)(4)” only after “having satisfied Rule 23(a) and (b)’s requirements.”

Luppino, 718 F. App'x at 146; see also id. (holding that the “conclusion that a (c)(4)

class was not certifiable” need not be addressed because of “the class certification’s

(b)(3) defects”).




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      Nor have other district courts shared the understanding of the district judge in

this case. See Romero v. Allstate Ins. Co., 52 F. Supp. 3d 715, 724 (E.D. Pa. 2014)

(quoting Gates while noting that “[c]ertification of particular issues under Rule

23(c)(4) is only proper if the other requirements of Rule 23(a) and (b) are first met”);

In re Suboxone (Buprenorphine Hydrochloride & Nalaxone) Antitrust Litig., No. 13-

md-2445, 2019 WL 4735520, at *18 (E.D. Pa. Sept. 27, 2019) (relying on Romero

for this proposition).

      Indeed, Plaintiffs’ counsel—in a brief filed with the Supreme Court—

disavowed the district court’s interpretation of Gates. Janet, Janet & Suggs, LLC,

who the district court appointed class counsel, represented to the Supreme Court that

this Court “rest[s] the determination whether to certify an issue class on whether the

issue class itself satisfies the Rule 23(b)(3) requirements of predominance and

superiority, and appl[ies] a ‘functional’ analysis to consider whether an issue class

is a superior method of adjudicating a case.” Brief in Opposition, Behr Dayton

Thermal Prods., LLC v. Martin, No. 18-472 (U.S. 2019), available at

https://tinyurl.com/w4ep2ju.

      The district court’s treatment of Rule 23(b)(3) as irrelevant is particularly

puzzling, given the acknowledgment by Plaintiffs’ counsel at the class certification

hearing that “in essence, it’s a (b)(3) class” that Plaintiffs seek to certify. Jan. 30,

2020 Hearing Tr. 24:10-12; see also id. at 23:2–24:1 (The Court: “[I]f I certify a



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                                                                                   JA1928
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class here, it is ultimately a (b)(3) class. Right?”). It is incongruous to suggest that

the certified class is “in essence” a Rule 23(b)(3) class but that Rule 23(b)(3) need

not be satisfied. And the district court noted the difficulty in understanding the

interaction of the provisions of Rule 23. See id. at 26:3–5 (“[O]ne of my questions

for you all is sort of the interplay between Rule 23(a) and (b) on the one hand and

23(c)(4) on the other hand[.]”).

      The correct standard for certification of an issue class is an important one,

which warrants clarification by this Court. If the certification order in this case is

correct, then certification would be proper in any case in which a plaintiff can

identify a common issue of law or fact potentially affecting numerous plaintiffs. No

matter how predominant the individualized issues and evidence (or superior

individual suits or other judicial tools might be), a district court would always be

free to slice off a narrow, abstract issue and certify it for class treatment. This is a

far cry from the “rigorous analysis” of Rule 23(b) demanded by this Court and the

Supreme Court.

      B.     This Court should correct the district court’s misapplication of
             Gates.
      Even apart from the district court’s failure to consider Rule 23(b) (much less

find that the requirements of the Rule had been met), the district court failed to

engage in the rigorous analysis under Rule 23(c)(4) required this this Court’s

precedent: “[A] court's decision to exercise its discretion under Rule 23(c)(4), like


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                                                                                   JA1929
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any other certification determination under Rule 23, must be supported by rigorous

analysis.” Gates, 655 F.3d at 272 (quoting Hohider v. United Parcel Serv., Inc., 574

F.3d 169, 200–01 (3d Cir. 2009) (alteration in original)).

      The district court’s discussion of the Gates factors begins on page 22 of the

28-page opinion. But the first four pages of that truncated discussion concern

Plaintiffs’ request for certification of all liability issues, which the district court

rejected. See Mem. at 22–25. Only four paragraphs of the opinion discuss whether

Rule 23(c)(4) and Gates permit the certification ordered by the district court. See

Order at 25-28.

      This brief discussion does not engage in a rigorous analysis of the Gates

factors sufficient to justify certification. For example, the district court failed to

consider “the type of claims at issue.” This failure is significant in light of this

Court’s holding that claims based on emotional distress are particularly “unsuitable

for class treatment,” given that emotional distress liability and damages are “too

interwoven to allow a fair determination of damages apart from liability.” Spence,

806 F.2d at 1202.

      And the district court’s analysis of “efficiencies to be gained” conflicts with

this Court’s analysis in Gates. In Gates, the plaintiffs brought claims based on

alleged exposure to environmental contamination.          Like Plaintiffs, the Gates

plaintiffs sought certification of generalized, abstract questions of liability, while



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                                                                                  JA1930
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leaving the bulk of the claims for later, individual proceedings. See Gates, 655 F.3d

at 272 (explaining that “causation and extent of contamination,” “the fact of

damages,” and “the amount of damages” would need to be determined in follow-up

proceedings). In light of the “numerous individual issues that would remain,”

resolution of the common issues was “unlikely to substantially aid resolution of the

substantial issues on liability and causation,” so certification under Rule 23(c)(4)

would be improper. Id. at 272, 274.

      As in Gates, in this case, determination of the classwide issues would still

leave causation, the fact of damages, and the amount of damages to be determined

in follow-up proceedings. The district court failed to follow this Court’s direction

to “explain how class resolution of the issue(s) will fairly and efficiently advance

the resolution of class members’ claims, including resolution of remaining issues,”

id. at 273, and as a result, certified an issue class indistinguishable from the issue

class rejected in Gates.

      And although the district court suggested that a jury in individual proceedings

“will not have to reexamine any of the evidence about ECFMG’s conduct,” that

suggestion is incorrect. Mem. at 27. To determine causation (particularly proximate

causation), understand who Dr. Akoda was, and even have a basic understanding of

the theory of liability against ECFMG, every jury in every individual proceeding

would need to hear essentially all of the evidence that Plaintiffs propose to present



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                                                                                 JA1931
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on the class issues. And in every case, determining causation would require a jury

to consider the entire chain of events—including any alleged wrongdoing by

ECFMG, residency programs that admitted Dr. Akoda, medical boards that licensed

him, hospitals that gave him privileges, the specialty board that certified him, and

law enforcement officers who investigated him—to decide which actor, if any, was

the proximate cause of any alleged emotional distress suffered by any individual

plaintiff. Cf. Bordentown v. FERC, 903 F.3d 234, 247 (3d Cir. 2018) (noting that

“intervening act[s]” can sever a causal chain). No efficiencies would be gained by

such a proceeding.

       Every justification offered by the district court for certification of the issue

class in this proceeding would apply equally to the issue class denied certification in

Gates. Granting interlocutory review would allow this Court to develop the law on

class certification under Rule 23(c)(4) and provide guidance on application of the

Gates factors in cases where parties seek to certify narrow issues for class treatment

while leaving the majority of the claims for individual determinations.

II.    This Court Should Grant Interlocutory Review Because The District
       Court’s Class Certification Determination Was Erroneous.
       Review of a district court’s class certification determination is also

appropriate when that determination is erroneous. Rodriguez, 726 F.3d at 377. Even

apart from the errors in failing to consider Rule 23(b)(3) and applying the Gates

factors, the district court committed other errors that warrant review.


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      A.     The district court erred in analyzing variations in state law.
      “[I]n a multi-state class action, variations in state law may swamp any

common issues and defeat predominance.” Sullivan v. DB Investments, Inc., 667

F.3d 273, 304 n.28 (3d Cir. 2011) (en banc) (internal quotation marks and citations

omitted); see Grandalski v. Quest Diagnostics Inc., 767 F.3d 175, 183–84 (3d Cir.

2014) (affirming denial of class certification due to variations in state law). The

district court incorrectly analyzed variations in state law and misplaced the burden

of proof.

      The party seeking certification of a class action has the burden to conduct an

“extensive analysis” of state law variations. In re Sch. Asbestos Litig., 789 F.2d 996,

1010 (3d Cir. 1986); see also Grandalski, 767 F.3d at 183-84; Klay v. Humana, Inc.,

382 F.3d 1241, 1262 (11th Cir. 2004) (noting that the burden “rests squarely with

the plaintiffs”); Walsh v. Ford Motor Co., 807 F.2d 1000, 1017 (D.C. Cir. 1986)

(“[M]ovants must credibly demonstrate, through an ‘extensive analysis’ of state law

variances, ‘that class certification does not present insuperable obstacles.’” (quoting

In re Sch.l Asbestos Litig., 789 F.2d at 1010)).

      Plaintiffs failed to carry their burden in this case. Although ECFMG is

headquartered in Pennsylvania, Dr. Akoda was not licensed to practice medicine in

Pennsylvania and did not treat patients in Pennsylvania. He was licensed to practice

medicine in Maryland and Virginia, worked in two private medical practices in



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Maryland, and secured privileges at hospitals in Maryland and the District of

Columbia. The certified class comprises patients examined or treated in at least three

jurisdictions (Maryland, Virginia, and the District of Columbia). Rather than

provide the necessary “extensive analysis” of these states’ laws, Plaintiffs’ counsel

merely represented that they were “unaware” of any relevant conflicts between the

laws of Pennsylvania and other states. Dkt. 32-1 at 22–23.

      The district court followed suit and misallocated the burden of proof. Rather

than asking whether Plaintiffs proved that there was no variation, the district court

relied on the fact that “the parties have not identified any [variations],” Mem. at 11,

placing the burden on ECFMG to identify differences in state law rather than on

Plaintiffs to prove uniformity.

      The district court overlooked conflicts between the laws of the relevant

jurisdictions. Maryland, for example, “does not recognize the tort of negligent

infliction of emotional distress.” Alban v. Fiels, 61 A.3d 867, 876 (Md. 2013).

Pennsylvania and the District of Columbia recognize causes of action for negligent

infliction of emotional distress but with significant variations: In the District of

Columbia, a plaintiff must prove, inter alia, that “the defendant has a relationship

with the plaintiff, or has undertaken an obligation to the plaintiff, of a nature that

necessarily implicates the plaintiff’s emotional well-being” and that there is “an

especially likely risk that the defendant’s negligence would cause serious emotional



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distress to the plaintiff.” Hedgepeth v. Whitman Walker Clinic, 22 A.3d 789, 810-

11 (D.C. 2011). Pennsylvania courts are split as to whether the Pennsylvania

Supreme Court would approve of negligent infliction of emotional distress claims

based on similar considerations. Hershman v. Muhlenberg College, 17 F. Supp. 3d

454, 460 n.6 (E.D. Pa. 2014).

      The district court did not grapple with these variations in state law or engage

in any meaningful analysis of the availability of emotional distress damages in

regular negligence claims. Its reasoning falls well short of the “extensive analysis”

of state law variations required to show “that class certification does not present

insuperable obstacles.” In re Sch. Asbestos Litig., 789 F.2d at 1010.

      The district court’s alternative holding—that Pennsylvania law would apply

to the claims of class members treated in hospitals across the country—is erroneous.

Mem. at 11. The Supreme Court has rejected this approach: Courts cannot avoid

variations in state law by taking “a transaction with little or no relationship to the

forum and apply[ing] the law of the forum.” Phillips Petroleum Co. v. Shutts, 472

U.S. 797, 821 (1985).

      Pennsylvania applies a “flexible” choice-of-law analysis that “permits

analysis of the policies and interests underlying the particular issue before the court”

and applies the law of the state with the “most interest in the problem.”

Hammersmith v. TIG Ins. Co., 480 F.3d 220, 227 (3d Cir. 2007) (quoting Griffith v.



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United Air Lines, Inc., 203 A.2d 796, 805–06 (Pa. 1964)). Pennsylvania has little

(if any) interest in the emotional distress resulting from out-of-state treatment

rendered by an out-of-state doctor to an out-of-state plaintiff. Indeed, serious

problems under the Commerce Clause would arise if Pennsylvania purported to

apply its law to claims arising out of the relationship between doctors and patients

in other states.

       The alternative holding fails, and Plaintiffs’ failure to present an analysis of

variations in state law, standing alone, should have precluded certification.

       B.     The district court erred in analyzing Rule 23(a).
       Nor did the district court correctly analyze Rule 23(a). Even assuming (the

highly questionable premise) that Plaintiffs suffered compensable emotional distress

when they learned, years after the fact, that their Board-certified doctor (who

delivered hundreds of healthy babies to healthy mothers) had misused a Social

Security number, Plaintiffs did not demonstrate that their reactions were typical of

the reactions of other members of the putative class. For class members who were

perfectly satisfied with the medical care and treatment that they received from Dr.

Akoda, there is no reason to believe that members of the class would share Plaintiffs’

atypical emotional distress. See Jan. 30, 2020 Hearing Tr. at 12:20–21 (Plaintiffs’

counsel conceding that the class includes individuals who “didn’t suffer any

provable emotional distress”).



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      Indeed, if Plaintiffs’ liability theory were correct—and learning that Dr.

Akoda misused a Social Security number would predictably cause emotional distress

to his former patients—then certification of this class action would cause harm to

unnamed class members. Under Plaintiffs’ theory, learning of Dr. Akoda’s guilty

plea causes emotional distress. Class members who are unaware of the guilty plea

have (at present) suffered no harm at all. But certifying the class and providing

notice would inflict emotional distress on class members solely for the purpose of

allowing them to recover for this distress against ECFMG. Whether this issue is

viewed as typicality (because Plaintiffs, unlike unnamed class members, have

allegedly already suffered emotional distress), adequacy (because of the inherent

conflict of interest in Plaintiffs’ plans to inflict emotional distress on their fellow

class members), or superiority (because of the harms to class members), the fact

should preclude certification.

      And to the extent that class members were dissatisfied with their treatment by

Dr. Akoda—and suffered actual, physical injuries as a result of malpractice—a class

action seeking only emotional distress could preclude them from asserting their

claims. The district court relied on the opportunity to opt out to cure any conflicts

between named and unnamed class members, Mem. at 19, but if opting out could

always cure a conflict between named and unnamed class members, adequacy would

be a dead letter. But see Slade v. Progressive Sec. Ins. Co., 856 F. 3d 408, 412 (5th



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Cir. 2017) (“When the class representative proposes waiving some of the class’s

claims, the decision risks creating an irreconcilable conflict of interest with the

class.”).

        Moreover, the issue class has not been certified under any provision of Rule

23(b), and nothing in Rule 23(c)(4) creates a right for class members to opt out.4

This procedural issue further demonstrates the need for this Court’s clarification of

the proper standard under Rule 23(c)(4) for issue certification.

III.    Class Certification Places Inordinate Pressure on ECFMG to Settle.

        Finally, this Court should grant review because of the settlement pressure

created by class certification. Rule 23(f) recognizes that “granting class certification

is often the defining moment in class actions” because it may “create unwarranted

pressure to settle nonmeritorious claims on the part of defendants.” Newton, 259

F.3d at 162. Rather than “run the risk of potentially ruinous liability,” id. at 164

(quoting Fed. R. Civ. P. 23(f) advisory committee’s note), a class action defendant

“[f]aced with even the small chance of a devastating loss” may be pressured into

settling questionable claims, AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 350

(2011). The mere “potential for uncertainty and disruption in a lawsuit” alone might

“allow plaintiffs with weak claims to extort settlements from [an] innocent



4
 At the hearing, the district court stated that “[w]e still do notice and an opt-out
period” for a “true (c)(4) class” but offered no support for this proposition.

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compan[y].” Stoneridge Inv. Partners, LLC v. Sci.-Atlanta, 552 U.S. 148, 149

(2008).

      Class certification places inordinate pressure on ECFMG to settle. There are

hundreds of class members alleging emotional distress damages that are difficult to

quantify and which, if they proceeded trial, could result in outsized judgments. The

threat of class-wide determinations regarding ECFMG’s duties gives rise to

particular concern for ECFMG because, in the event of unfavorable holdings,

ECFMG could theoretically face class actions in connection with treatment rendered

by any international medical graduate (who compose approximately 22% of all

doctors in the United States). Aaron Young, PhD, et al., A Census of Actively

Licensed Physicians in the United States, 2016, Journal of Medical Regulation (Vol.

10, No. 2), at 10, available at https://tinyurl.com/tlnkqat. Class certification thus

places “inordinate or hydraulic pressure” on ECFMG to settle and weighs in favor

of granting review. Newton, 259 F.3d at 164.




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                       CONCLUSION & PRAYER FOR RELIEF
         For the foregoing reasons, this Court should grant this petition for permission

to appeal under Rule 23(f) and permit interlocutory review of the class certification

order.



Dated: April 6, 2020                            Respectfully submitted,

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                           CERTIFICATE OF SERVICE
      I hereby certify that on April 6, 2020, the foregoing Petition for Permission to
Appeal Pursuant to Federal Rule of Civil Procedure 23(f) was filed with the Clerk
of Court for the U.S. Court of Appeals for the Third Circuit by email to
emergency_motions@ca3.uscourts.gov, in accordance with the April 1, 2020 Filing
Notice on acceptance of original proceedings filings by email. I also certify that
copies of the foregoing Petition for Permission to Appeal Pursuant to Federal Rule
of Civil Procedure 23(f) were served by email upon the following counsel:

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              CERTIFICATE OF COMPLIANCE WITH RULE 32(A)
      1.     This petition complies with the type-volume limitations of Federal Rule
of Appellate Procedure 5(c)(1) because this petition contains 5,171 words, excluding
the parts of the petition exempted by Federal Rule of Appellate
Procedure 32(a)(7)(B)(iii).

      2.     This petition complies with the typeface requirements of Federal Rule
of Appellate Procedure 32(a)(5) and the type-style requirements of Federal Rule of
Appellate Procedure 32(a)(6) because this petition has been prepared in a
proportionally spaced typeface using Microsoft Word 2010 in Times New Roman
14 point font.




                                             Adlltanrg   (Laren
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                                          Counsel for Defendant-Petitioner,
                                          Educational Commission for Foreign
                                          Medical Graduates

                                          Dated: April 6, 2020




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        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                      CCO-065
                                     No. 20-8024

                     MONIQUE RUSSELL; JASMINE RIGGINS;
                       ELSA M. POWELL; DESIRE EVANS

                                           v.


                        EDUCATIONAL COMMISSION FOR
                        FOREIGN MEDICAL GRADUATES,
                                            Petitioner

                             (E.D. Pa. No. 2-18-cv-05629)

Present: JORDAN, KRAUSE, and MATEY, Circuit Judges

      1. Petition by Educational Commission for Foreign Medical Graduates for Leave
         to Appeal Pursuant to Fed. R. Civ. P. 23(f)

      2. Respondents’ Response in Opposition

      3. Petitioner’s Unopposed Motion for Leave to File Reply in Support of Petition,
         with Reply Attached

                                                      Respectfully,
                                                      Clerk/CJG

_________________________________ORDER________________________________
      The foregoing petition for leave to appeal is granted, and the foregoing unopposed
motion for leave to file reply is granted.


                                                By the Court,

                                                s/ Cheryl Ann Krause
                                                Circuit Judge
Dated: May 11, 2020
Lmr/cc: All Counsel of Record


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     UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                            NOTICE

               GRANT OF PERMISSION FOR LEAVE TO APPEAL

The Court of Appeals has granted a petition for leave to appeal in this matter.

The $505.00 docketing and filing fee must be paid in the district court within 14 days after the
entry of the order granting permission for leave to appeal, unless the petitioner is the United
States government. Fed. R. App. P. 5. In addition, a cost bond must be filed if one is required
under Fed. R. App. P. 7.

A notice of appeal does not need to be filed as a copy of the Court's order granting permission
for leave to appeal which has been forwarded to the district court will serve as the notice of
appeal.

The entry date of the order granting permission to appeal serves as the date of the filing of the
notice of appeal for calculating time under the Federal Rules of Appellate Procedure. Petitioner
should notify the Court of Appeals in writing that the filing fee has been paid.

Upon receipt of the notice from petitioner, the appeal will be opened on the general docket. All
future filings regarding the appeal will be entered under the new docket number.

Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/Laurie
Case Manager
267-299-4936

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                              No. 20-2128

              In the United States Court of Appeals
                      For the Third Circuit

 MONIQUE RUSSELL; JASMINE RIGGINS; ELSA M. POWELL;
                   DESIRE EVANS
                                     v.
         EDUCATIONAL COMMISSION FOR FOREIGN
                MEDICAL GRADUATES,
                                       Appellant

           On Appeal from the United States District Court for the
    Eastern District of Pennsylvania, No. 2:18-cv-05629-JDW (Wolson, J.)


         BRIEF OF APPELLANT AND JOINT APPENDIX
             (VOLUME I, PAGES JA1 TO JA78)

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                         CORPORATE DISCLOSURE STATEMENT
       Pursuant to Rule 26.1 and Third Circuit Local Appellate Rule 26.1,

Defendant-Petitioner Educational Commission for Foreign Medical Graduates

makes the following disclosure:

       (1)     For nongovernmental corporate parties, please list all parent

corporations:

       Educational Commission for Foreign Medical Graduates has no parent

corporation.

       (2)     For nongovernmental corporate parties, please list all publicly held

companies that hold 10% or more of the party’s stock:

       No publicly held corporation owns more than 10% of Educational

Commission for Foreign Medical Graduates’ stock.

       (3)     If there is a publicly held corporation which is not a party to the

proceeding before this Court but which has as a financial interest in the outcome of

the proceeding, please identify all such parties and specify the nature of the financial

interest or interests:

       At this time, Educational Commission for Foreign Medical Graduates

believes that AIG may be liable to satisfy all or part of a possible judgment in the

action or to indemnify or reimburse for payments made to satisfy a possible

judgment in the action.



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      4)     In all bankruptcy appeals counsel for the debtor or trustee of the

bankruptcy estate must list: (1) the debtor, if not identified in the case caption; (2) the

members of the creditors’ committee or the top 20 unsecured creditors; and, (3) any

entity not named in the caption which is an active participant in the bankruptcy

proceeding. If the debtor or trustee is not participating in the appeal, this information

must be provided by appellant.

      Not applicable.

        Dated: September 2, 2020                       Respectfully submitted,

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                         STATEMENT OF JURISDICTION
      The district court had jurisdiction under the Class Action Fairness Act, 28

U.S.C. § 1332(d), over this class action in which the alleged amount in controversy

exceeds the sum of $5,000,000 exclusive of costs and interest, there are more than

100 members in the proposed putative class, and there is diversity between the

defendant (a citizen of Pennsylvania) and at least one of the putative plaintiffs. See

JA83–JA88 (Notice of Removal, detailing the basis for the district court’s

jurisdiction).

      This Court has jurisdiction over this interlocutory appeal of a class

certification decision pursuant to 28 U.S.C. § 1292(e) and Fed. R. Civ. P. 23(f). The

district court certified the class on March 23, 2020.       JA63–JA65.     Appellant

Educational Commission for Foreign Medical Graduates filed a timely petition for

permission to appeal on April 6, 2020 (JA1–JA34), which a motions panel of this

Court granted on May 11 (JA66).




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                           STATEMENT OF THE ISSUES
1.    Whether Named Plaintiffs satisfied their burden to prove adequacy and

typicality under Rule 23(a) when:

      a.     Named Plaintiffs failed to demonstrate that the emotional distress they

      allegedly suffered was typical of other class members;

      b.     under Named Plaintiffs’ theory, certifying the class and providing

      notice would inflict emotional distress on class members; and

      c.     Named Plaintiffs are acting adversely to the interests of class members

      by asserting claims only for emotional distress (and no other injuries).

2.    Whether Rule 23 permits certification of the class action in the absence of a

finding that plaintiffs satisfied one of the subsections of Rule 23(b).

3.    Whether the district court correctly analyzed the factors set forth in Gates v.

Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011), including:

      a.     whether the district court erred in analyzing variations in state law;

      b.     whether the district court erred by failing to consider the type of claim

      at issue, including this Court’s holding that emotional distress liability and

      damages are too interwoven to be tried separately; and

      c.     whether the district court erred in analyzing efficiencies created by

      certifying only duty and breach, while deferring all other issues—including

      affirmative defenses, causation, injury, and damages—for later proceedings.



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                           STATEMENT OF THE CASE
      This appeal concerns the certification of a class action against the Educational

Commission for Foreign Medical Graduates (“ECFMG”), a Philadelphia-based

private non-profit organization that promotes quality health care for the public.

JA201. Among other services, ECFMG certifies graduates of international medical

schools as having met certain criteria to enter U.S. graduate medical education

(usually residency programs). Id.

      The certification provided by ECFMG is circumscribed. At the relevant time,

ECFMG (1) certified that an applicant received passing grades on an English exam

and two substantive exams (the first two steps of the United States Medical

Licensing Examination (“USMLE”)), JA205–JA206; JA653 at 88:21–89:2; and

(2) primary source verified the diploma provided by an applicant by asking the

issuing medical school to confirm its legitimacy, JA653 at 88:3–14.

      ECFMG does not make any additional representations regarding the

applicant. In particular, ECFMG does not (and is not expected to) verify an

applicant’s identity, Social Security number, immigration status, passport

information, criminal background, readiness to treat patients, ethics, honesty,

morality, or character. JA681 at 198:16–22, 200:13–15; JA691–JA692 at 240:18–

241:6, 242:6–243:3, 244:22–245:13.




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      ECFMG does not provide its certifications to the general public. Instead, it

discloses certification information only to residency programs, licensing boards, and

organizations that employ physicians.        JA692 at 243:4–244:8.     There is no

suggestion in this case that any recipient of ECFMG certification information

misunderstood its limited scope or relied on it for purposes for which it was not

intended.

      Dr. Akoda

      Plaintiffs are a class of individuals who received medical treatment from

obstetrician/gynecologist John Nosa Akoda, who was issued a certificate from

ECFMG in 1997. JA275.

      The district court (and Named Plaintiffs) erroneously stated that John Akoda

“was not a doctor.” JA35. This is incorrect: public records reflect that “John Akoda”

was licensed to practice medicine in Maryland and Virginia,1 and it is undisputed

that he was fully licensed to practice medicine when he treated class members.

      Plaintiffs’ true complaint is not that John Akoda was not licensed to practice

medicine (he was), it is that Plaintiffs believe that John Akoda should not have been




1
   See Maryland Board of Physicians, https://www.mbp.state.md.us/bpqapp/
Profile.aspx (Maryland license for Dr. Charles John Nosa Akoda issued on
September 14, 2011 and revoked on July 10, 2017); https://dhp.virginia
interactive.org/Lookup/Detail/0101250081 (Virginia license for “Charles J. Akoda”
issued on June 21, 2011 and suspended on April 25, 2017).

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licensed to practice medicine. But rather than suing Akoda himself, state Boards

that licensed him, or hospitals that employed him, Named Plaintiffs sued ECFMG.

      It is undisputed that Dr. Akoda passed the two substantive examinations and

presented to ECFMG a medical school diploma in his name that was verified as

authentic by the issuing school, the University of Benin, a Nigerian medical school.

JA176; JA753.

      After obtaining ECFMG certification, Dr. Akoda successfully:

      • passed Step 3 of the United States Medical Licensing Examination
        (USMLE), which provides a final assessment of physicians assuming
        independent responsibility for delivering general medical care, JA321;

      • was admitted to and completed a residency program at Howard University
        Hospital, JA797; JA799;

      • became licensed to practice medicine in Maryland and Virginia, JA321;

      • was awarded hospital privileges at Prince George’s Hospital Center and
        hired by several medical offices, id.; and

      • achieved Board certification in his specialty, JA801.

In 1996, Jersey Shore Medical Center, a residency program that Dr. Akoda had

entered, noted for ECFMG certain discrepancies relating to Dr. Akoda’s identity.

JA279.     Following an investigation—in which Dr. Akoda addressed those

discrepancies and provided supporting hard-copy documentation, JA287; JA289—

ECFMG found that there was insufficient evidence of misconduct for it to sanction

Dr. Akoda. JA293; JA669 at 150:24–151:6. Jersey Shore Medical Center also



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reported to the Maryland Board of Physicians its suspicion that Dr. Akoda’s

application for medical licensure in the State of Maryland included an incorrect

Social Security number. JA806. The Board took no action against Dr. Akoda.

      In November 2016, following a two-year investigation by the U.S. Attorney’s

office, Dr. Akoda pleaded guilty to misuse of a Social Security number. JA304–

JA313. During the course of this investigation, law enforcement did not prevent Dr.

Akoda from practicing medicine. Indeed, in 2014, ECFMG was instructed by

federal authorities not to take adverse action against Dr. Akoda for fear of impeding

the government’s ongoing investigation. JA917; JA318–JA324.

      The guilty plea was evidence that Dr. Akoda had previously applied to

ECFMG under two different names: Oluwafemi Charles Igberase in 1992 and

Igberase Oluwafemi Charles in 1994.          JA304–JA313.     ECFMG immediately

revoked his certificate following the guilty plea based on Dr. Akoda’s admission that

he provided a falsified passport to ECFMG. JA921–JA923.2

      Plaintiffs Sue ECFMG for Emotional Distress

      In December 2018, Named Plaintiffs Monique Russell, Jasmine Riggins, Elsa

M. Powell, and Desire Evans sued ECFMG in the Court of Common Pleas of



2
  Although Dr. Akoda’s motive in using a false name is unknown, one possibility is
that he believed that his exam history kept him from securing a residency position
and reapplying to ECFMG using a different name would allow him to present a
“cleaner” profile for new residency applications. JA717.

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                                                                             JA1960
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Philadelphia County on behalf of a putative class of “[a]ll patients examined and/or

treated in any manner by Oluwafemi Charles Igberase (a/k/a Charles J. Akoda,

M.D.).” JA102; JA91–JA125. ECFMG removed the matter to federal court. JA83–

JA88.

        ECFMG was not Named Plaintiffs’ first choice of defendant. In September

2017, Monique Russell and Jasmine Evans filed a putative class action against

Dimensions Health Corporation (and other defendants) who operated Prince

George’s Hospital Center, where Dr. Akoda practiced. See Russell v. Dimensions

Corp., CAL 17-22761 (Prince George’s Cty. Cir. Ct., Md.). They were represented

in that matter by the same counsel that represents them before this Court. Russell

and Evans voluntarily dismissed the Maryland suit after the defendants filed a

motion for summary judgment. Id.

        Named Plaintiffs are former patients of Dr. Akoda, either because Dr. Akoda

was their regular obstetrician/gynecologist or was the doctor who happened to be

“on-call” at the hospital when they gave birth.

        Significantly, Named Plaintiffs do not seek any recovery based on any alleged

malpractice by Dr. Akoda, any misdiagnosis or improperly performed medical

procedure, or any physical injuries. Instead, the only harm for which they seek

recovery is “emotional distress” allegedly suffered when they learned that Dr. Akoda




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pleaded guilty to misuse of a social security number. JA1385 at 5:22–25. 3 Perhaps

inspired by the statute of limitations, Named Plaintiffs do not allege that they (or

class members) suffered any emotional distress at the time of their treatment by Dr.

Akoda. Instead, they allege that they suffered emotional distress (and thus that their

claim against ECFMG accrued) when they learned of Dr. Akoda’s guilty plea. 4

      The four Named Plaintiffs vary significantly in their treatment by and

allegations against Dr. Akoda, although none has received any mental health

treatment for any “emotional distress” related to Dr. Akoda:

      • For Ms. Russell, Dr. Akoda performed a successful emergency c-section.
        JA1177. She not only does not complain about her treatment but agrees
        that it “really was best/necessary.” JA1182. She never sought any mental
        health treatment after hearing about Dr. Akoda’s guilty plea. JA1139.

      • For Ms. Riggins, Dr. Akoda performed a successful elective c-section and
        provided prenatal care. JA1176. She had no concerns about her treatment
        and no history of mental health or psychiatric treatment. JA1145.

      • For Ms. Powell, Dr. Akoda successfully delivered her baby, performed
        emergency surgery, and assisted with post-natal care. JA1174. She alleges
        that Dr. Akoda was flirtatious and made inappropriate comments. Id. She
        has no history of mental health or psychiatric treatment. JA1151.

      • For Ms. Evans, Dr. Akoda performed a successful emergency c-section.
        JA1172. She alleges that he improperly manipulated her clitoris. Id. Ms.

3
  Although some of the Named Plaintiffs also allege that they suffered offensive
touching (i.e., inappropriate treatment) by Dr. Akoda, during the class certification
process, Named Plaintiffs confirmed that they were pursuing a theory that the
alleged emotional distress was caused by learning information about Dr. Akoda’s
guilty plea. JA1385 at 5:22–25.
4
  As detailed below, if Named Plaintiffs’ theory is correct, then certifying the class
and providing notice would inflict emotional distress on unnamed class members.

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           Evans has extensive history of mental health treatment, both before and
           after encountering Dr. Akoda. JA1160–JA1162. None of her mental
           health records refers to Dr. Akoda. JA1161.

      Named Plaintiffs Move for Class Certification
      Despite these extensive variations, in October 2019, Named Plaintiffs moved

for class certification, asking the district court to certify a class of “all patients

examined and/or treated in any manner by Oluwafemi Charles Igberase (a/k/a

Charles J. Akoda, M.D.)”. JA182. Apparently conceding that emotional distress

damages would require individual inquiries, Named Plaintiffs suggested two class

certification “options” for the district court under Rule 23(c)(4): one option was

“certification on liability only” for negligence and negligent infliction of emotional

distress; and the other option was certification of nine different discrete issues.

JA182–JA183.

      Notably, Named Plaintiffs did not argue that the putative class action satisfied

any of the prongs of Rule 23(b). Instead, they argued only that they satisfied Rule

23(a) and “the [r]equirements of Rule 23(c)(4).”        JA190.     They argued that

certification under Rule 23(c)(4) is, in effect, independent of Rule 23(b). JA191–

JA193.

      Named Plaintiffs made no attempt to analyze variations of the laws of the

different states where class members were treated.         Instead, counsel merely

represented that they were “unaware of meaningful conflicts.”             See JA194



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(“Pennsylvania law will likely apply to all issues in this action—and, at any rate,

Plaintiffs are unaware of meaningful conflicts between the tort law of Pennsylvania

applicable to resolution of liability or the common issues and the tort law of the

states in which Igberase interacted with class members.”).

      ECFMG Explains Why Class Certification Is Unwarranted

      In response, ECFMG noted that the numerous individual questions of law and

fact preclude certification. At a high level, ECFMG explained that Rule 23(c)(4)

could not be used to evade the requirements of Rule 23(b)(3): “Plaintiffs’ reliance

on Rule 23(c)(4) does not obviate their need to satisfy Rule 23(b)(3).” JA722.

      The proposed class action could not satisfy these standards. This Court has

held that claims for emotional distress cannot be bifurcated in the way that Named

Plaintiffs suggest because emotional distress liability and damages are “too

interwoven to allow a fair determination of damages apart from liability.” JA724

(quoting, inter alia, Spence v. Bd. of Educ. of Christina Sch. Dist., 806 F.2d 1198,

1202 (3d Cir. 1986)).

      Similarly, liability could not be determined on a classwide basis because

causation presents extremely difficult, individualized inquiries. JA726–JA729.

ECFMG explained that the Named Plaintiffs “offered no trial plan or other

explanation about how they expect to try either proposed issue class in a manageable




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way, and concede (as they must) that there will still be thousands of mini-trials even

if an issue class is certified.” JA730–JA731.

       In addition, choice-of-law issues rendered the proposed class unmanageable.

The applicable law would be the state where each class member interacted with Dr.

Akoda—including Maryland, Virginia, and Washington, D.C.               And there are

material differences between the laws of these states: Maryland, for example, “does

not recognize the tort of negligent infliction of emotional distress.” JA732 (quoting

Alban v. Fiels, 61 A.3d 867, 876 (Md. 2013)).

       ECFMG also explained the significant issues under Rule 23(a) caused by

Named Plaintiffs’ decision to pursue only claims for putative emotional distress.

Class members who suffered actual, physical injuries could be precluded from

asserting those claims. JA733. And the purported class includes members “who

may not yet (or ever) suffer emotional distress.” JA734. Not only do Named

Plaintiffs not demonstrate that their injuries are typical but if Named Plaintiffs are

correct, “some class members might suffer emotional distress only upon receiving

notice of this class action, if it is certified.” Id.

       The District Court Holds a Hearing Regarding Class Certification
       After a reply (JA1340–JA1361) and a sur-reply (JA1371–JA1380) were filed,

the district court held a hearing regarding class certification on January 30, 2020.

Named Plaintiffs acknowledged two important facts at the hearing. First, they



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confirmed that the only damages sought by the proposed class would be “emotional

distress damages.” JA1386 at 6:13–14.

       Second, Plaintiffs’ counsel acknowledged that the class included individuals

who suffered no emotional distress: “Now, it may be, just like with any class, that

there are individuals who were treated by Akoda who suffered no—suffered no harm

as a result of it, the involvement in the care was minimal. The individuals upon

finding out of Akoda's fraud didn’t suffer any provable emotional distress.” JA1392

at 12:17–21.

       The district court also discussed with Plaintiffs’ counsel the relationship

between Rule 23(b)(3) and Rule 23(c)(4), seeking to confirm that “if I certify a class

here, it is ultimately a (b)(3) class.” JA1403–JA1404 at 23:25–24:1. Counsel

“agree[d] that in essence, it’s a (b)(3) class.” JA1404 at 24:12; see also id. at 24:21–

22 (“[I]n this context, it’s essentially a (b)(3) class in terms of if we’re certifying on

the issue of liability.”).

       The District Court Certifies a Class
       Two months later, Judge Wolson certified an issue class under Federal Rule

of Civil Procedure 23(c)(4), comprising “All patients examined or treated in any

manner by Oluwafemi Charles Igberase (a/k/a Charles J. Akoda) beginning with his




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enrollment in a postgraduate medical education program at Howard University in

2007.” JA63–JA65.5

        The district court did not certify the issue of “liability” as Named Plaintiffs

requested. Instead, the court certified only four discrete issues that make up a part

of the liability inquiry:

        (1) whether Defendant Educational Commission for Foreign Medical
        Graduates (“ECFMG”) undertook or otherwise owed a duty to class members;

        (2) whether ECFMG undertook or otherwise owed a duty to hospitals and
        state medical boards, such that ECFMG may be held liable to class members
        pursuant to Restatement (Second) of Torts § 324A;

        (3) whether ECFMG breached any duty that it owed to class members; and
        (4) whether ECFMG breached any duty that it owed to hospitals and state
        medical boards.

JA64.

        The district court expressly declined to consider Rule 23(b), holding instead

that it “will consider Rule 23(a) and then turn to the Gates factors in conducting its

analysis.” JA43.

        ECFMG petitioned this Court for permission to appeal under Rule 23(f), JA1–

JA34, which this Court granted. JA66.




5
 The restriction that the class be limited to patients treated after Dr. Akoda enrolled
at Howard University was intended to exclude patients treated at Jersey Shore
Medical Center and in Nigeria.

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                         SUMMARY OF THE ARGUMENT
      This Court should reverse the order certifying the narrow issues for class

treatment. First, Named Plaintiffs failed to satisfy Rule 23(a). The district court

failed to find that the injury that Named Plaintiffs allegedly suffered—emotional

distress upon learning of Dr. Akoda’s guilty plea—is typical of class members. And

if Named Plaintiffs’ theory were correct, then certifying the class and sending notice

to class members would, in fact, inflict emotional distress on class members who are

currently uninjured. The district court failed to address this adversity between

Named Plaintiffs and the class. Nor did the district court correctly analyze the

potential effects of the emotional-distress-only class action on members who

suffered actual, physical injuries arising out of treatment by Dr. Akoda.

      Second, the district court erred by certifying a class without finding that

Named Plaintiffs had satisfied any subsection of Rule 23(b). The plain text of the

Rule and black-letter law require that a party seeking certification must “satisfy

through evidentiary proof at least one of the provisions of Rule 23(b).” Comcast

Corp. v. Behrend, 569 U.S. 27, 33 (2013). There are different ways in which this

Court’s precedent could be harmonized with Rule 23(b), but one proposition is

indisputable: a class action cannot be certified without finding that one portion of

Rule 23(b) has been satisfied.




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      Third, the district court erred in analyzing the factors set forth in Gates, 655

F.3d 255. With respect to variations in state law, the district court misplaced the

burden. Rather than requiring Named Plaintiffs to affirmatively prove that there was

no conflict, the district court relied on the fact that the parties did not identify a

conflict.    And the court was wrong: there are meaningful differences in the

availability of recovery for negligent infliction emotional distress among the states.

The district court’s alternative suggestion—that Pennsylvania law could govern

claims by out-of-state plaintiffs arising from out-of-state medical treatment provided

by an out-of-state doctor—is erroneous under Pennsylvania choice-of-law rules.

      And the district court did not consider “the type of claim(s) and issue(s) in

question.”    Plaintiffs’ request for damages for emotional distress should have

foreclosed class certification. This Court has already held that emotional distress

liability and damages cannot be bifurcated in the way that Named Plaintiffs suggest.

Spence, 806 F.2d at 1202.

      The district court also erred in evaluating whether efficiencies would result

from the class action. Given the numerous issues left for individual treatment—

including causation, injury, damages, apportionment of fault, as well as all of

ECFMG’s affirmative defenses—all of the common issues would need to presented

again at any individual proceeding. Indeed, the class action certified here is

essentially indistinguishable from the class rejected in Gates, in which certification


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under Rule 23(c)(4) was improper because resolution of the narrow and abstract

common issues was “unlikely to substantially aid resolution of the substantial issues

on liability and causation.” Gates, 655 F.3d at 272, 274.

      Class certification should be reversed.




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                              STANDARD OF REVIEW
      Class certification is proper only “if the trial court is satisfied, after a rigorous

analysis, that the prerequisites” of Rule 23 are met. Gen. Tel. Co. of Sw. v. Falcon,

457 U.S. 147, 161 (1982). “A party’s assurance to the court that it intends or plans

to meet the requirements is insufficient.” In re Hydrogen Peroxide Antitrust Litig.,

552 F.3d 305, 318 (3d Cir. 2008).

      A party seeking class certification must “satisfy through evidentiary proof at

least one of the provisions of Rule 23(b).” Comcast, 569 U.S. at 33; accord Marcus

v. BMW of N.A., LLC, 687 F.3d 583, 590 (3d Cir. 2012) (“[E]very putative class

action must satisfy the four requirements of Rule 23(a) and the requirements of either

Rule 23(b)(1), (2), or (3).”). “The party seeking certification bears the burden of

establishing each element of Rule 23 by a preponderance of the evidence.” In re

Modafinil Antitrust Litig., 837 F.3d 238, 248 (3d Cir. 2016).

      This Court “review[s] a class certification order for abuse of discretion, which

occurs if the district court’s decision rests upon a clearly erroneous finding of fact,

an errant conclusion of law or an improper application of law to fact.” Hydrogen

Peroxide Antitrust Litig., 552 F.3d at 312 (internal quotation marks omitted).

“[W]hether an incorrect legal standard has been used is an issue of law to be

reviewed de novo.” Id. (quoting In re Initial Pub. Offering Sec. Litig., 471 F.3d 24,

32 (2d Cir. 2006)).



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                                     ARGUMENT
I.    The District Court Erred in Analyzing Rule 23(a).
      “Rule 23(a) ensures that the named plaintiffs are appropriate representatives

of the class whose claims they wish to litigate.” Walmart Stores, Inc. v. Dukes, 564

U.S. 338, 349 (2011).        Two of Rule 23(a)’s requirements—typicality and

adequacy—“often ‘tend[] to merge’ because both look to potential conflicts and to

‘whether the named plaintiff’s claim and the class claims are so interrelated that the

interests of the class members will be fairly and adequately protected in their

absence.’” Beck v. Maximus, Inc., 457 F.3d 291, 296 (3d Cir. 2006) (quoting Falcon,

457 U.S. at 157–58 n.13 (“The commonality and typicality requirements of Rule

23(a) tend to merge.”)); see also Dukes, 564 U.S. at 349 n.5 (same).

      To evaluate typicality, a court must “ask ‘whether the named plaintiffs’ claims

are typical, in common-sense terms, of the class, thus suggesting that the incentive

of the plaintiffs are aligned with those of the class.” Beck, 457 F.3d at 295–96

(quoting Baby Neal v. Casey, 43 F.3d 48, 55 (3d Cir. 1994)); see also In re Schering

Plough Corp. ERISA Litig., 589 F.3d 585, 599 (3d Cir. 2009) (holding that typicality

requires, inter alia, that “the claims of the class representative must be generally the

same as those of the class in terms of both (a) the legal theory advanced and (b) the

factual circumstances underlying that theory”). Similarly, Rule 23(a)(4)’s adequacy

requirement is designed “to uncover conflicts of interest between named parties and



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the class they seek to represent.” Amchem Prods. v. Windsor, 521 U.S. 591, 625

(1997). Here, Named Plaintiffs fail to carry their burden to demonstrate either

typicality or adequacy.

      A.     The district court did not find—and Named Plaintiffs did not
             show—that their alleged emotional distress is typical of the class.
      Named Plaintiffs failed to show that their claims are “typical, in common-

sense terms, of the class.” Named Plaintiffs allege that they experienced emotional

distress as a result of learning that Dr. Akoda pleaded guilty to social security fraud.

See JA839, JA926, JA957 (claiming to “suffer excruciating emotional anguish as

well as fear and anxiety, as a result of learning that Akoda was a fraud”). But in

seeking class certification, Named Plaintiffs failed to demonstrate that such an injury

is typical of class members, as opposed to their own idiosyncratic reactions.

      Indeed, at the hearing, Plaintiffs’ counsel acknowledged that the proposed

class includes members who did not experience similar emotional distress. See

JA1392 at 12:21 (acknowledging that the class includes individuals who “didn’t

suffer any provable emotional distress”).

      But Plaintiffs made no attempt to prove—and the district court did not make

any findings regarding—which of these two reactions was “typical.” If Named

Plaintiffs’ purported emotional distress is atypical and unusual, then Rule 23(a)

cannot be satisfied and no class should be certified.




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      ECFMG does not argue that a class must be defined so that every member has

suffered injury and would have Article III standing. See Neale v. Volvo Cars of N.

Am., LLC, 794 F.3d 353, 362 (3d Cir. 2015) (“We now squarely hold that unnamed,

putative class members need not establish Article III standing.”); see also Tyson

Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1049 (2016) (involving a class action

with some uninjured class members). But see, e.g., Denney v. Deutsche Bank AG,

443 F.3d 253, 264 (2d Cir. 2006) (“The class must therefore be defined in such a

way that anyone within it would have standing.”). But injury must be typical. If

Named Plaintiffs had shown (and the district court found) that emotional distress

was a typical reaction of class members, then the possibility of uninjured (atypical)

class members would be no bar to certification.

      But without a finding that Named Plaintiffs’ alleged injuries are typical, Rule

23(a) has not been satisfied. Typicality may be satisfied where class members suffer

the “same injury” as the proposed class representatives. Falcon, 457 U.S. at 157–

58. Typicality may also be satisfied where class members suffered a different injury

than the proposed class representatives, so long as all the injuries are shown to result

from a single challenged practice. Baby Neal, 43 F.3d at 58. But injury must be

typical for the proposed class representatives to satisfy the typicality requirement.

See In re Prudential Ins. Co. Am. Sales Prac. Litig. Agent Actions, 148 F.3d 283,

311 (3d Cir. 1998) (typicality satisfied where class members “all have claims”


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arising from defendant’s course of conduct). The “test of typicality” includes

“whether other members have the same or similar injury.” Parsons v. Ryan, 754

F.3d 657, 685 (9th Cir. 2014) (internal quotation marks omitted). If most class

members were uninjured, then Named Plaintiffs would not be “sufficiently similar

to the rest of the class” in their “factual circumstances” to satisfy typicality. Schering

Plough, 589 F.3d at 597 (emphasis in original).

      The Seventh Circuit rejected a proposed class action for similar reasons in

Oshana v. Coca-Cola Co., 472 F.3d 506, 514 (7th Cir. 2006), which involved

allegations regarding deception about the ingredients in fountain Diet Coke. The

Seventh Circuit noted that the proposed class “could include millions who were not

deceived and thus have no grievance.” Id. Because “[c]ountless members of

Oshana’s putative class could not show any damage, let alone damage proximately

caused by Coke's alleged deception,” the named plaintiff’s claims did not “have the

same essential characteristics as the claims of the class at large” and were atypical.

Id. (internal quotation marks omitted).

      The district court erred by failing to consider (or make any findings regarding)

the typicality of the Named Plaintiffs’ alleged injuries. According to the district

court, typicality was satisfied because “the Plaintiffs’ claims arise from the same

facts and legal theories as members of the class.” JA53. In effect, the district court

found typicality satisfied because Named Plaintiffs alleged that class members


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suffered similar emotional distress. But allegations are insufficient—typicality must

be proven “by a preponderance of the evidence.” In re Modafinil, 837 F.3d at 248.

       Because the district court failed to perform the requisite rigorous analysis and

find that Named Plaintiffs’ alleged emotional distress is typical of the class,

certification should be reversed.

       B.        Named Plaintiffs fail typicality and adequacy because they propose
                 to inflict emotional distress on class members.
       Even more significantly, if Named Plaintiffs were correct that emotional

distress is a class members’ typical reaction to learning of Dr. Akoda’s guilty plea,

then certification of the class would inflict injury on class members and cause them

to suffer emotional distress. Under Named Plaintiffs’ theory, class members who

are unaware of Dr. Akoda’s guilty plea have, at present, suffered no compensable

injury. By sending notice of the class action (and guilty plea) to class members,

Named Plaintiffs plan to cause them to suffer emotional distress that they would not

suffer but for Named Plaintiffs use of the class action vehicle.

       It is difficult to imagine a greater conflict of interest between Named Plaintiffs

and class members. Undersigned counsel have identified no other case in which

plaintiffs propose to inflict potential injury (emotional distress or otherwise) on class

members in order to allow the injured to recover on a classwide basis. Whether

viewed as adequacy or typicality, that conflict of interest precludes class

certification.


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      Typicality requires that “the interests of the class and the class representatives

are aligned.” Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154,

182–83 (3d Cir. 2001). Far from being “aligned,” Named Plaintiffs affirmatively

seek to injure their fellow class members.

      Nor can Named Plaintiffs be adequate representatives of class members who

would suffer injury only because of Named Plaintiffs’ actions. Indeed, during trial

of the claim of any class member who became injured after learning of the

certification, ECFMG would argue that: (1) the intentional infliction of emotional

distress by Named Plaintiffs and class counsel breaks any causal link between

ECFMG’s actions and a class members’ emotional distress; and (2) at a minimum,

the jury must apportion some liability for emotional distress to Named Plaintiffs’

and their counsel.6




6
  Indeed, it appears that some Named Plaintiffs suffered emotional distress after
being exposed to advertisements by plaintiffs’ counsel or from other Named
Plaintiffs. See, e.g., JA866–JA867 (Riggins: “Plaintiff began experiencing these
injuries when she learned in July 2017 that Akoda was not really a doctor. Plaintiff
learned this from Monique Russell.”); JA927 (Evans: “The Plaintiff first
experienced her injuries and damages relevant to this matter upon learning about
Akoda’s fraudulent conduct. She first learned this information from the radio.”);
JA1274 at 148:10–17 (Evans explaining that she learned about Dr. Akoda from “a
radio ad” by her current lawyers); JA1306 at 14:17 & JA1301–JA1302 at 59:16–
62:25 (Powell explaining that she “came to feel violated” when she “found out that
Akoda was not Akoda,” which occurred at a meeting at a hotel with her current
lawyers).

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      This class action appears to be unprecedented. Under Named Plaintiffs’

theory, many class members are presently uninjured and will continue to be

uninjured. There is no reason to disturb this status quo by providing notice of a class

action and inflicting emotional distress on uninjured class members.             Named

Plaintiffs’ proposal to injure their fellow class members creates an insoluble conflict

of interest, defeating typicality and rendering them inadequate class representatives.

      The district court’s class certification ruling failed to address the incongruity

of Named Plaintiffs inflicting injuries on their fellow class members through

certification. It should be reversed.

      C.     Named Plaintiffs’ proposal to certify only claims for emotional
             distress defeats Rule 23(a)’s typicality and adequacy requirements.
      Named Plaintiffs decision to seek recovery only for emotional distress renders

them inadequate representatives of class members who suffered actual, physical

injuries. If Named Plaintiffs’ theory were correct—and Dr. Akoda never attended

medical school and should not have been licensed to practice medicine (much less

been certified as a specialist)—then one would expect his patients to have suffered

from improper treatment. Patients who suffered from malpractice, particularly

medical malpractice involving the birth of a child, might seek very significant

damages. Indeed, Named Plaintiffs include some allegations that Dr. Akoda treated

patients improperly or incorrectly.




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      But Named Plaintiffs—who do not allege that they suffered from malpractice

or any physical effects as a result of negligent medical care—do not seek to recover

for malpractice. They seek to recover only for emotional distress. This plan gives

rise to typicality and adequacy issues, each of which defeats class certification.

      Named Plaintiffs’ interests are not aligned with those of the class. Named

Plaintiffs seek to recover solely for alleged emotional distress, without regard for the

extent of physical injuries that may have been experienced by class members. Class

members who allegedly suffered physical injuries, by contrast, are interested in

pursuing a remedy for any injury they experienced, including claims for physical

injuries. The disconnection between the interests of Named Plaintiffs and class

members defeats typicality and precludes class certification.

      By pursuing recovery only for emotional distress, Named Plaintiffs may

waive unnamed class members’ ability to assert claims relating to any alleged

physical injuries. The doctrine of res judicata prohibits claim-splitting. Nafar v.

Hollywood Tanning Sys., Inc., 339 F. App’x 216, 224–25 (3d Cir. 2009). Unnamed

class members who pursue claims for emotional distress as part of this class action

could not subsequently pursue their related claims for malpractice (or other theories

of liability) in a subsequent case. That is why this Court has recognized claim

splitting as a “very important issue in assessing the adequacy of representation

requirement.” Id. at 225 (reversing a grant of class certification seeking to recover


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only for limited injuries where, as here, the district court failed to consider “whether

any potential future claims by class members with personal injury would be at risk

of being barred by res judicata”).

      Courts regularly hold that named plaintiffs cannot manufacture a class action

by waiving (or choosing not to pursue) the potential claims of unnamed class

members: “[N]amed plaintiffs who would intentionally waive or abandon potential

claims of absentee plaintiffs have interests antagonistic to those of the class.” Arch

v. Am. Tobacco Co., Inc., 175 F.R.D. 469, 480 (E.D. Pa. 1997); see also Slade v.

Progressive Sec. Ins. Co., 856 F. 3d 408, 412 (5th Cir. 2017) (“When the class

representative proposes waiving some of the class’s claims, the decision risks

creating an irreconcilable conflict of interest with the class.”); Back Doctors Ltd. v.

Metro. Prop. & Cas. Ins. Co., 637 F.3d 827, 830–31 (7th Cir. 2011) (“A

representative can’t throw away what could be a major component of the class’s

recovery.”).

      These principles should govern this class certification: Named Plaintiffs, who

seek to intentionally abandon class members’ claims for actual, physical injuries

from improper medical treatment, have interests antagonistic to those of the class,

and their plan creates an irreconcilable conflict of interest.




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      The district court also suggested that the opportunity to opt out would cure

any conflicts between named and unnamed class members, JA53,7 but the opt-out

procedure is “not a panacea,” Slade, 856 F.3d at 415 n.3, and the district court abused

its discretion by holding that it solved any adequacy issues. If the potential to opt

out could always cure a conflict between named and unnamed class members,

adequacy would be a dead letter. Here, the relative seriousness of potential physical

injuries during childbirth compared to allegations of emotional distress at learning

of a doctor’s pleading guilty to misuse of a Social Security number means that the

risk posed by potential preclusion is disproportionately high, and Plaintiffs’

willingness to expose those claims to possible preclusion (or limitations) reveals a

fundamental adequacy problem that defeats class certification.

      Because the district court failed to make findings regarding the typicality of

Named Plaintiffs’ injuries, failed to consider the typicality or adequacy implications

of Named Plaintiffs’ plan to inflict injuries on unnamed class members, and abused

its discretion in analyzing the effects of Named Plaintiffs’ decision to abandon

claims for physical injuries, class certification was improper under Rule 23(a) and

should be reversed.


7
  Nor did the district court explain why there would be an opportunity for class
members to opt out or what the scope of any opt out would be. As detailed below,
the district court did not find that Named Plaintiffs had satisfied Rule 23(b)(3), and
nothing in Rule 23(c)(4) creates a right for class members to opt out of the issue
class.

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II.   The District Court Erred by Certifying a Class Without Finding that
      Named Plaintiffs Satisfied Rule 23(b).
      Even if Named Plaintiffs had satisfied Rule 23(a), the district court erred by

certifying a class without finding that Named Plaintiffs satisfied any of the

subsections of Rule 23(b).     The district court certified only narrow, abstract

questions of duty and breach. Not only are all issues of damages left to individual

proceedings, but so are key liability questions, including the existence of injury

(whether a particular class member has suffered emotional distress), but-for and

proximate causation (whether that emotional distress was caused by ECFMG or

intervening causes and whether ECFMG’s alleged conduct is too remote to support

liability), apportionment of liability (among various entities responsible or

potentially responsible for the class member’s emotional distress), and all of

ECFMG’s affirmative defenses (including, for example, a class member’s consent

to treatment by Dr. Akoda8). Given the overwhelming number of individual issues


8
  Class members’ consent to treatment by Dr. Akoda is fatal to their claims. Under
the Restatement and general principles of tort law, the type of misrepresentation
alleged in this case (regarding a doctor’s identity or medical education) does not
vitiate a patient’s consent to treatment. See Taylor v. Johnston, 985 P.2d 460, 466
(Alaska 1999) (involving essentially indistinguishable facts, where a plaintiff
asserted claims based on a theory that physician should not have been licensed, and
holding that “[t]he fact that [the doctor] was licensed in Alaska at the time of the
procedure defeats [any] claim for medical battery based on fraud”); see also
Restatement (Second) of Torts § 892B.1 (consent is “effective for all consequences
of the conduct and for the invasion of any interests resulting from it” and is
ineffective only if induced “by a substantial mistake concerning the nature of the


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and the absence of any efficiency gained by class proceedings, Rule 23(b)(3) does

not permit certification of this class action.

      The district court erroneously held that Rule 23(b) is irrelevant to certifying

an issue class under Rule 23(c)(4).        See JA43 (rejecting ECFMG’s argument

regarding Rule 23(b) and holding that it only had to “consider Rule 23(a) and then

turn to the Gates factors in conducting its analysis”).

      This Court has recognized that courts have struggled with the relationship

between Rule 23(b) and Rule 23(c)(4), noting that “[c]ourts have disagreed over the

extent to which the ability to certify issue classes alters the predominance

requirement,” a “complicated area of class action procedure.” Gates, 655 F.3d at

272–73.

      Some circuits have held that “a cause of action, as a whole, must satisfy the

predominance requirement of (b)(3) and that (c)(4) is a housekeeping rule that allows

courts to sever the common issues for a class trial.” Castano v. Am. Tobacco Co.,

84 F.3d 734, 745–46 n.21 (5th Cir. 1996). Others have held that “a court may



invasion of his interests or the extent of the harm to be expected from it”);
Restatement (Third) of Torts: Inten. Torts to Persons § 15 TD No 4, cmt. f (2019)
(“[A] patient’s consent to medical treatment is not vitiated by the doctor’s false
representation that he has not been convicted of a crime (Illustration 10) or by his
exaggeration of the amount of experience he has conducting the medical treatment
in question.”). Here, a patient’s consent to medical treatment by Dr. Akoda would
not be vitiated by any misrepresentation regarding his name or Social Security
number.

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employ subsection (c)(4) to certify a class as to liability regardless of whether the

claim as a whole satisfies Rule 23(b)(3)’s predominance requirement.” In re Nassau

Cty. Strip Search Cases, 461 F.3d 219, 227 (2d Cir. 2006).

      No circuit agrees with the approach of the district court in this case, which

read Gates to hold that Rule 23(b) need not be considered when a party invokes Rule

23(c)(4), creating (in effect) a fourth type of class action. Under the plain text of

Rule 23 and the cases interpreting it, the party seeking certification must satisfy one

of the subsections of Rule 23(b). This, alone, requires reversal.

      A.     Class certification requires the party seeking certification to satisfy
             one of the three subsections of Rule 23(b).
      Under the plain text of Rule 23, class certification requires satisfaction of Rule

23(a) and one subpart of Rule 23(b):

      TYPES OF CLASS ACTIONS. A class action may be maintained if Rule
      23(a) is satisfied and if:
             (1) prosecuting separate actions by or against individual class
             members would create a risk of: [conflicting adjudications];
                                         ...
             (2) the party opposing the class has acted or refused to act on
             grounds that apply generally to the class, so that final injunctive
             relief or corresponding declaratory relief is appropriate
             respecting the class as a whole; or
             (3) the court finds that the questions of law or fact common to
             class members predominate over any questions affecting only
             individual members, and that a class action is superior to other
             available methods for fairly and efficiently adjudicating the
             controversy.



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                                                                                JA1984
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Fed. R. Civ. P. 23(b). The Rules do not include any provision for a fourth type of

class action. A party seeking certification must always satisfy one of the subsections

of Rule 23(b).

      The Supreme Court and this Court have acknowledged that class certification

requires satisfaction of Rule 23(b). See, e.g., Comcast, 569 U.S. at 33 (class

certification requires a plaintiff to “satisfy through evidentiary proof at least one of

the provisions of Rule 23(b)”); Ferreras v. Am. Airlines, Inc., 946 F.3d 178, 182 (3d

Cir. 2019) (“A party seeking class certification must satisfy the four requirements of

Rule 23(a), as well as the requirements of either Rule 23(b)(1), (b)(2), or (b)(3).”);

In re Modafinil, 837 F.3d 238, 248 (3d Cir. 2016) (“[E]very putative class action

must satisfy the four requirements of Rule 23(a) and the requirements of either Rule

23(b)(1), (2), or (3).” (internal quotation marks omitted)).

      Rule 23(c)(4), which provides only that “[w]hen appropriate, an action may

be brought or maintained as a class action with respect to particular issues,” does not

create an exception to these rules. The plain text of Rule 23 and the cases cited

above require, unequivocally, that a party seeking class certification must satisfy one

of the provisions of Rule 23(b).

      Indeed, in a brief filed with the Supreme Court of the United States, Plaintiffs’

counsel acknowledged that Rule 23(b) must still be satisfied even when Rule

23(c)(4) is invoked. See Brief in Opposition, Behr Dayton Thermal Prods., LLC v.


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Martin, No. 18-472 (U.S. 2019), available at https://tinyurl.com/w4ep2ju (arguing

that this Court “rest[s] the determination whether to certify an issue class on whether

the issue class itself satisfies the Rule 23(b)(3) requirements of predominance and

superiority, and appl[ies] a ‘functional’ analysis to consider whether an issue class

is a superior method of adjudicating a case”).

      Here, the district court did not make any finding that Named Plaintiffs

satisfied any of the three subparts of Rule 23(b). To the contrary, the district court

expressly declined to consider Rule 23(b). JA43. Standing alone, the failure to find

any provision of Rule 23(b) satisfied requires reversal of class certification.

      B.     This Court should, consistent with Gates, require Rule 23(b)(3) to
             be satisfied for the claim as a whole, even when a party seeking
             certification invokes Rule 23(c)(4).
      This Court should provide further guidance regarding how Rule 23(c)(4) (and

the decision in Gates) interact with Rule 23(b) and explain how Rule 23(b) must be

satisfied when a party seeks certification under Rule 23(c)(4). Critically, Gates does

not hold that Rule 23(b) is irrelevant to certification of a class under Rule 23(c)(4).

      ECFMG contends that Rule 23(b)(3)’s predominance requirement must be

satisfied with respect to the claim as a whole. Rule 23(b)(3) expressly requires that

a court compare the issues that can be resolved through class treatment (i.e.,

“questions of law or fact common to class members”) against the issues that must be

tried individually (i.e., “questions affecting only individual members”) to determine



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which predominates. Fed. R. Civ. P. 23(b)(3); see Ferreras, 946 F.3d at 185 (“An

individual question is one where members of a proposed class will need to present

evidence that varies from member to member, while a common question is one

where the same evidence will suffice for each member.” (internal quotation marks

omitted)). As the Fifth Circuit explained, considering predominance only with

respect to the certified issues would mean that predominance would always be

satisfied, “eviscerat[ing] the predominance requirement of rule 23(b)(3)” and

permitting “certification in any case where there is a common issue.” Castano, 84

F.3d at 745 n.21. This Court, in Gates, correctly rejected the suggestion that

predominance could be determined without considering the claim as a whole,

correctly holding instead that courts considering certification (even under Rule

23(c)(4)) must examine both the issues certified for class treatment and the

remaining issues.

      Holding that predominance and superiority must be satisfied for the claims as

a whole would not require departing from the factors listed as considerations in the

Gates decision. Several of these factors—such as “the efficiencies to be gained by

granting partial certification,” “whether the substantive law separates the issue(s)

from other issues concerning liability or remedy,” and “the repercussions

certification . . . will have on the effectiveness and fairness of resolution of

remaining issues,” Gates, 655 F.3d at 273—track, in effect, the requirement of Rule


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23(b) that a court compare the common issues against the individual issues to

determine which predominate. As this Court recently recognized, the mere existence

of individual issues does not mean that common issues do not predominate for the

claim as a whole: “[An] action may be considered proper under Rule 23(b)(3) even

though other important matters will have to be tried separately[.]” In re Suboxone

(Buprenorphine Hydrochlorine & Naloxone) Antitrust Litig., 967 F.3d 264, 272 (3d

Cir. 2020) (quoting Tyson Foods, 136 S. Ct. at 1045).

      Where, as here and as in Gates itself, a party seeks certification of common

issues that are “inseverable from other issues that would be left for follow-up

proceedings,” are “not easily separate[d] from individual issues,” and would not

“substantially aid resolution of the substantial issues on liability and causation,” then

individual issues would predominate over common issues under a traditional

analysis of predominance under Rule 23(b)(3). The remaining factors listed in

Gates—such as “the type of claim(s) and issue(s) in question,” “the overall

complexity of the case,” “choice-of-law questions,” “the potential preclusive effect,”

and “the impact individual proceedings may have upon one another,” Gates, 655

F.3d at 273—fit comfortably within the traditional superiority analysis of Rule

23(b)(3).9


9
 The Sixth Circuit correctly described Gates as a “superiority-like analysis.” Martin
v. Behr Dayton Thermal Prods. LLC, 896 F.3d 405, 412 (6th Cir. 2018), cert. denied,
139 S. Ct. 1319 (2019).

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      Although Gates did not describe this Circuit as adopting the requirement that

Rule 23(b)(3) be satisfied for the claim as a whole, the factors that it adopts

effectively track the requirements that common issues predominate for the claim as

a whole and that class treatment be the superior method of adjudication. But a court

cannot, as the district court did here, consider these factors in isolation, rather than

as a guide to making the required findings of predominance and superiority under

Rule 23(b)(3). 10

      Alternatively, Gates can be read to hold that its factors should be used to

determine predominance under Rule 23(b)(3), leaving traditional superiority

unaffected. The issue addressed in Gates was “the extent to which the ability to

certify issue classes alters the predominance requirement.” Gates, 655 F.3d at 272.

This Court held that “the considerations set forth in Hohider and more recently in

the Final Draft of the ALI’s Principles of Aggregate Litigation provide the most

sound guidance in resolving this complicated area of class action procedure,” i.e.,

how the predominance requirement of Rule 23(b)(3) applies in a Rule 23(c)(4)

class.11 In this reading, the factors listed in Gates would guide a court in making the


10
   Consider, for example, Rule 23(b)(3) itself, which lists four “matters pertinent to
[the] findings.” Fed. R. Civ. P. 23(b)(3). A court would err by considering these
findings on their own, rather than considering them in order to make the superiority
and predominance findings under Rule 23(b)(3).
11
   Oddly, although Gates looked to Hohider v. United Parcel Serv., Inc., 574 F.3d
169, 201 (3d Cir. 2009), for factors relevant to predominance under Rule 23(b)(3),


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finding whether common issues predominate over individual ones in a class

involving Rule 23(c)(4), id. at 272–73, but superiority would be left unchanged.12 .

      Here, the district court erred by considering the Gates factors in isolation,

independent of Rule 23(b). To certify the class under Rule 23(b)(3), the district court

was required to find that “questions of law or fact common to class members

predominate over any questions affecting only individual members, and that a class

action is superior to other available methods for fairly and efficiently adjudicating

the controversy,” potentially based on consideration of the Gates factors.

      There is an alternative way of harmonizing Gates with the plain text of Rule

23. This Court could read Gates as not addressing the requirements of Rule 23(b)

at all and instead enumerating factors to be considered only in determining whether

issue certification would be “appropriate” under Rule 23(c)(4). There is some

support for this reading: “In Gates v. Rohm & Haas Co., we enumerated several non-

exhaustive factors relevant to assessing whether certification of an issue class under

Rule 23(c)(4) is appropriate.” Gonzalez v. Corning, 885 F.3d 186, 202 (3d Cir.



Hohider involved a class certification decision under Rule 23(b)(2), not Rule
23(b)(3). See id. at 198 (“In addition to the individualized inquiries necessary to
adjudicate plaintiffs’ claims, UPS contends the nature of the relief sought by
plaintiffs renders the class ineligible for certification under Rule 23(b)(2).”).
12
   As noted above, many Gates factors fit more naturally as part of a superiority
analysis than predominance, but the opinion can be read to adopt the factors in taking
a position on the circuit split “over the extent to which the ability to certify issue
classes alters the predominance requirement.”

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2018), as amended (Apr. 4, 2018) (internal citation omitted). In Gonzalez, this Court

described “the appropriateness of certifying a Rule 23(c)(4) class” as “analytically

independent from the predominance inquiry under Rule 23(b)(3).” Id. Under this

understanding of Gates, a court considering certification of an issue class under Rule

23(c)(4) must conclude that certification is “appropriate” under the Gates factors in

addition to concluding that the movant satisfied one of the subsections of Rule 23(b)

under a traditional analysis.

      Under this reading of Gates, this Court has yet to adopt a holding about “[t]he

interaction between the requirements for class certification under Rule 23(a) and (b)

and the authorization of issue classes under Rule 23(c)(4).” Gates, 655 F.3d at 272.

If Gates held only that it was not “appropriate” to maintain an issue class under Rule

23(c)(4), then there was no need for Gates (or Gonzalez) to address whether Rule

23(b)(3) had been satisfied or how Rule 23(b)(3) would be satisfied when a party

invokes Rule 23(c)(4).13

      Moreover, to the extent that Gates is interpreted as adopting an incorrect

standard (and holding that a class can be certified without considering Rule 23(b)),

this panel can reevaluate its precedent in light of intervening Supreme Court


13
   If this Court agrees with this reading of Gates, then it could follow the same
approach. Because, as detailed below, the district court erred in analyzing the Gates
factors, this Court could reverse the class certification order by holding that
certification is not “appropriate” under Rule 23(c)(4) without addressing Rule
23(b)(3).

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decisions. E.g., In re Krebs, 527 F.3d 82, 84 (3d Cir. 2008) (“A panel of this Court

may reevaluate the holding of a prior panel which conflicts with intervening

Supreme Court precedent.”). In the decade since Gates, the Supreme Court has

confirmed that class certification requires satisfaction of Rule 23(b). See Comcast,

569 U.S. at 33 (requiring satisfaction “through evidentiary proof at least one of the

provisions of Rule 23(b)”).

      Indeed, this Court has already held, albeit in an unpublished decision, that a

plaintiff “may seek certification under Rule 23(c)(4) as to particular issues” only

after “having satisfied Rule 23(a) and (b)’s requirements.” Luppino v. Mercedes

Benz USA, 718 F. App’x 143, 146 (3d Cir. 2017) (citing Comcast, 569 U.S. at 33);

see id. (“Given the class certification’s (b)(3) defects, described below, we need not

address the District Court’s conclusion that a (c)(4) class was not certifiable.”); see

also Marcus, 687 F.3d at 590 (“[E]very putative class action must satisfy the four

requirements of Rule 23(a) and the requirements of either Rule 23(b)(1), (2), or

(3).”); Gonzalez, 885 F.3d at 192 (same).

      District courts have also concluded, even following Gates, that Rule 23(a) and

Rule 23(b) must be satisfied before an issue class may be certified under Rule

23(c)(4). See Romero v. Allstate Ins. Co., 52 F. Supp. 3d 715, 724 (E.D. Pa. 2014)

(quoting Gates while noting that “[c]ertification of particular issues under Rule

23(c)(4) is only proper if the other requirements of Rule 23(a) and (b) are first met”);


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In re Suboxone (Buprenorphine Hydrochloride & Nalaxone) Antitrust Litig., 421

F.Supp. 3d 12, 45 (E.D. Pa. 2019) (relying on Romero for this proposition).

       Particularly in light of the intervening Supreme Court authority, this Court

should follow Luppino and the plain text of Rule 23 and hold that a plaintiff seeking

certification under Rule 23(c)(4) must satisfy Rule 23(a) and (b).

       Here, given the overwhelming number of individual issues—including the

existence of emotional distress, apportionment, causation, and ECFMG’s

affirmative defenses—there is no serious argument that common issues would

predominate over individual ones. Named Plaintiffs should not be able to evade the

predominance requirement of Rule 23(b)(3) by invoking Rule 23(c)(4).

       Under the plain text of Rule 23 and the cases interpreting it, the party seeking

to certify a class must satisfy one of the prongs of Rule 23(b). Because the district

court failed to find that Named Plaintiffs satisfied Rule 23(b)(3) or any other prong

of Rule 23(b), the class certification must be reversed.

III.   The District Court Abused Its Discretion in Analyzing the Gates Factors.
       Even if the district court were correct that a class can be certified under Rule

23(c)(4) without finding that the party seeking certification satisfied any provision

of Rule 23(b), class certification should be reversed because the district court abused

its discretion in analyzing the Gates factors. Like other aspects of class certification,

“a court’s decision to exercise its discretion under Rule 23(c)(4) . . . must be



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supported by rigorous analysis.” Gates, 655 F.3d at 272 (internal quotation marks

omitted).

      The district court failed to perform a rigorous analysis. Its discussion of the

Gates factors begins on page 22 of the 28-page opinion. But the first four pages of

that discussion concern Plaintiffs’ request for certification of all liability issues,

which the district court rejected. See JA56–JA59. Only four paragraphs of the

opinion discuss whether Rule 23(c)(4) and Gates permit the certification ordered by

the district court. See JA59–JA62.

      A.     The district court erred in analyzing choice-of-law and
             inconsistencies among state law.
      As part of considering class certification, a district court must ordinarily

resolve any choice-of-law disputes: “[I]n a multi-state class action, variations in state

law may swamp any common issues and defeat predominance.” Sullivan v. DB

Invs., Inc., 667 F.3d 273, 304 n.28 (3d Cir. 2011) (en banc) (internal quotation marks

and citations omitted); see Grandalski v. Quest Diagnostics Inc., 767 F.3d 175, 183–

84 (3d Cir. 2014) (affirming denial of class certification due to variations in state

law). Gates confirms that a court must consider “the substantive law underlying the

claim(s), including any choice-of-law questions.” 655 F.3d at 273.

      The district court erred in two ways. First, Named Plaintiffs failed to carry

their burden to prove that there was no variation in state law. Second, the district




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court’s alternative holding that Pennsylvania law could apply to claims of out-of-

state patients is incorrect.

              1.     Plaintiffs failed to present the required “extensive analysis”
                     of state law.
       The party seeking certification of a class action has the burden to conduct an

“extensive analysis” of state law variations. In re Sch. Asbestos Litig., 789 F.2d 996,

1010 (3d Cir. 1986); see also Grandalski, 767 F.3d at 183–84; Klay v. Humana, Inc.,

382 F.3d 1241, 1262 (11th Cir. 2004) (noting that the burden “rests squarely with

the plaintiffs”); Walsh v. Ford Motor Co., 807 F.2d 1000, 1017 (D.C. Cir. 1986)

(“[M]ovants must credibly demonstrate, through an ‘extensive analysis’ of state law

variances, ‘that class certification does not present insuperable obstacles.’” (quoting

In re Sch. Asbestos Litig., 789 F.2d at 1010)).

       Named Plaintiffs failed to carry their burden in this case. Although they filed

this case in Pennsylvania (where ECFMG is headquartered), Dr. Akoda was not

licensed to practice medicine in Pennsylvania and did not treat patients in

Pennsylvania. He was licensed to practice medicine in Maryland and Virginia and

worked at private medical practices in Maryland and hospitals in Maryland and the

District of Columbia.

       The certified class comprises patients examined or treated in at least three

jurisdictions: Maryland, Virginia, and the District of Columbia. As detailed below,

the law applicable to claims arising out of Dr. Akoda’s treatment of a patient would


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be the law of the state in which the treatment was provided. Here, Named Plaintiffs

were required to provide an “extensive analysis” of the law of all three jurisdictions

to prove that dissimilarities did not defeat predominance.

      Plaintiffs failed to carry their burden. Rather than provide the necessary

“extensive analysis” of these states’ laws, Plaintiffs’ counsel merely represented that

they were “unaware” of any relevant conflicts between the laws of Pennsylvania and

other states. JA194.

      The district court erred by relying on this representation rather than holding

Named Plaintiffs to their burden. Instead of finding that Named Plaintiffs had

proved that there were no variations in state law, the district court erroneously placed

the burden on the parties (effectively, on ECFMG) to prove variations. See JA45

(relied on the fact that “the parties have not identified any [variations]”).

      Not only did the district court misplace the burden, but its cursory analysis is

incorrect. As ECFMG argued, there appear to be extensive variation regarding the

claim of negligent infliction of emotional distress. The Fifth Circuit surveyed the

law and correctly concluded that “[n]egligent infliction of emotional distress . . .

involves wide variations” among the states. Castano, 84 F.3d at 742–43, n.15.

      Maryland, for example, “does not recognize the tort of negligent infliction of

emotional distress.” Alban, 61 A.3d at 876. The District of Columbia recognizes

the tort, but a plaintiff must prove, inter alia, that “the defendant has a relationship


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with the plaintiff, or has undertaken an obligation to the plaintiff, of a nature that

necessarily implicates the plaintiff’s emotional well-being” and that there is “an

especially likely risk that the defendant’s negligence would cause serious emotional

distress to the plaintiff.” Hedgepeth v. Whitman Walker Clinic, 22 A.3d 789, 810–

11 (D.C. 2011). Virginia requires “a showing of an underlying tort duty as the

predicate for making a claim for the negligent infliction of emotional distress.” A.H.

by next friends C.H. v. Church of God in Christ, Inc., 831 S.E.2d 460, 476 (Va.

2019).

      Named Plaintiffs failed to provide the district court with the extensive analysis

of state law necessary to determine whether the class should have been certified.

              2.    The district court erred in holding, in the alternative, that
                    Pennsylvania law governs the claims of out-of-state plaintiffs
                    based on out-of-state medical treatment.
      The district court held, in the alternative, that any variations in state law were

irrelevant because it could apply the law of Pennsylvania to claims arising out of

out-of-state treatment of out-of-state patients by Dr. Akoda.

      The Supreme Court has affirmatively rejected this approach to class

certification: A court may not “take a transaction with little or no relationship to the

forum and apply the law of the forum in order to satisfy the procedural requirement

that there be a ‘common question of law.’” Phillips Petroleum Co. v. Shutts, 472

U.S. 797, 821 (1985).



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      Pennsylvania follows the choice-of-law approach from the Restatement

(Second) of Conflict of Laws. Griffith v. United Air Lines, Inc., 203 A.2d 796 (Pa.

1964). Section 148(2) of the Restatement (Second) of the Conflicts of Laws governs

fraud and misrepresentations. Named Plaintiffs’ claims, which allege negligent

infliction of emotional distress based on ECFMG’s alleged misstatements to state

regulatory authorities, residency programs, or employers, would appear to be

governed by these rules.

      Under the Restatement (and Pennsylvania choice-of-law rules), because the

alleged false representations were made and relied upon in different states, a court

must consider:

      (a) the place, or places, where the plaintiff acted in reliance upon the
      defendant’s representations,
      (b) the place where the plaintiff received the representations,
      (c) the place where the defendant made the representations,
      (d) the domicil, residence, nationality, place of incorporation and place
      of business of the parties,
      (e) the place where a tangible thing which is the subject of the
      transaction between the parties was situated at the time, and
      (f) the place where the plaintiff is to render performance under a
      contract which he has been induced to enter by the false representations
      of the defendant.
Applying this test, factors (e) and (f) are irrelevant; factors (a) and (b) favor the law

of the state of treatment by Dr. Akoda; and only factor (c) suggests applying

Pennsylvania law. Factor (d), residence, likely favors the state of treatment because



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“the domicil of the plaintiff is regarded by the Restatement as more important than

that of the defendant.” Grandalski v. Quest Diagnostics Inc., 767 F.3d 175, 182 (3d

Cir. 2014) (quoting Restatement (Second) of Conflict of Laws § 148, cmt. i).

      Because of factors (a) and (b), the law of Maryland, Virginia, and the District

of Columbia will apply: “If any two of the [Section 148(2)] contacts, apart from the

defendant's domicil, state of incorporation or place of business, are located wholly

in a single state, this will usually be the state of the applicable law with respect to

most issues.” Maniscalco v. Brother Int’l (USA) Corp., 709 F.3d 202, 209 (3d Cir.

2013) (quoting Restatement (Second) of Conflicts of Law § 148, cmt j)).

      Indeed, if Pennsylvania’s choice-of-law rules purported to apply Pennsylvania

substantive law to an out-of-state plaintiff’s claims arising from out-of-state medical

treatment, difficult constitutional questions would arise under the Commerce Clause.

As the Supreme Court has explained, a State has no authority to enact a regulation

that has “the practical effect” of “control[ling] conduct beyond the boundaries of the

State.” Healy v. Beer Inst., Inc., 491 U.S. 324, 336 (1989). Here, Pennsylvania

could not regulate which doctors should be licensed in Maryland, could not require

disclosures by Maryland doctors treating Maryland patients, could not set the rules

for effective consent under Maryland law, and could not create a right to recovery

in tort when a Maryland patient’s treatment by a Maryland doctor purportedly leads

to emotional distress. At a minimum, correctly holding that Pennsylvania’s choice-


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of-law rules would apply the law of the state of treatment would avoid these difficult

constitutional issues. E.g., Bruni v. City of Pittsburgh, 941 F.3d 73, 85 (3d Cir.

2019) (applying principles of constitutional avoidance).

      The district court failed to conduct a rigorous choice of law analysis and erred

in suggesting that the law of Pennsylvania could apply to claims by out-of-state

plaintiffs based on out-of-state medical treatment.

      B.     The district court failed to consider the type of claim at issue,
             including that claims of emotional distress are particularly
             unsuitable for class treatment.
      Gates directs that in determining whether certification of an issue is

appropriate under Rule 23(c)(4), a court must consider “the type of claim(s) and

issue(s) in question” and “whether the substantive law separates the issue(s) from

other issues concerning liability or remedy.” 655 F.3d at 273. These factors were

not addressed by the district court in its analysis.

      Here, the nature of the claims should foreclose class certification, particularly

class certification of narrow issues under Rule 23(c)(4). Emotional distress is a

particularly individualized injury.     It is undisputed, as the Fifth Circuit has

recognized, that “emotional distress claims . . . will require some form of

individualized proceedings.” Robertson v. Monsanto Co., 287 F. App’x 354, 362

(5th Cir. 2008).




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                                                                               JA2000
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      But at individual proceedings to determine the existence and cause of an

individual class members’ emotional distress, all of the evidence presented at any

class proceeding would need to be revisited. 14 Emotional distress damages cannot

be separated from the evidence of liability purportedly giving rise to the emotional

distress. This Court has held, unequivocally, that a court cannot hold a trial limited

to damages for emotional distress: such a proceeding would be “contrary to the rule

that emotional distress damages must be evaluated in light of all the circumstances

surrounding the alleged misconduct.” Spence, 806 F.2d at 1202. Emotional distress

liability and emotional distress damages are “too interwoven to allow a fair

determination of damages apart from liability.” Id. In other words, the substantive

law does not permit the issues to be separated from other issues concerning liability

or remedy—they must be decided together. Despite being argued by ECFMG, the

Spence decision (and the principle that emotional distress damages may not be

bifurcated from liability) went unmentioned by the district court.

      The Eleventh Circuit reached a consistent result in Rutstein v. Avis Rent-A-

Car Sys., Inc., 211 F.3d 1228 (11th Cir. 2000), which involved an attempt to certify

a class under Rule 23(b)(3) based on an alleged policy of racial discrimination. The

plaintiffs suggested (as Named Plaintiffs do here), that class treatment was justified



14
  Named Plaintiffs never presented any type of “trial plan” to the district court or
otherwise attempted to detail how they intend that the cases be tried.

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                                                                              JA2001
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because of a common policy or conduct by the defendant. Id. at 1236. In reversing

the certification, the Eleventh Circuit explained that proof of liability would require

individual proceedings to determine whether a particular plaintiff was (or was not)

subject to discrimination: “The idea that proof of a policy or practice of

discrimination could establish that every member of the class is entitled to such

damages is, given the substantive elements of the underlying cause of action,

untenable.” Id. at 1241. And because “every member of the class will have to prove

actual damage in order to receive compensation for their loss, the policy or practice

issue cannot possibly predominate over all the other issues in the case that are

necessarily capable of only individualized resolution.” Id. The same analysis

applies here: the personal injury claims asserted by Named Plaintiffs require

individual proof of whether each class member suffered emotional distress and

whether that emotional distress was caused by ECFMG. Given the need for these

individual proceedings, common issues cannot possibly predominate and class

treatment is inappropriate.

      This result accords with comments to the Principles of the Law of Aggregate

Litigation adopted by Gates. Those comments recognize that aggregate treatment

of narrow issues in personal injury claims is rarely appropriate: “[C]ommon issues

will tend to arise more frequently with respect to economic injuries from a generally

applicable course of conduct than with regard to personal injuries[.]” Principles of


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                                                                               JA2002
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the Law of Aggregate Litigation § 2.01, cmt. c (2010). For personal injuries, “the

‘upstream’ inquiry [i.e., the high-level duty and breach issues certified here] likely

would not materially advance the disposition of claims.” Id.; see also id. § 2.03,

cmt. b (“[W]hen [a] common issue remains intertwined under applicable substantive

law with other issues that are not common, including individualized defenses,” then

class treatment “would not materially advance the resolution of related claims” and

creates a “prospect for substantial duplication of effort for both the parties and the

courts [that] amounts to a danger signal that counsels strongly against aggregate

treatment of the common issue in the first place”); Aiello v. Providian Fin. Corp.,

239 F.3d 876, 881 (7th Cir. 2001) (holding that a case seeking recovery for emotional

distress “is not suitable for class action treatment because of the variance in injury

among the members of the class and the cost of the individualized hearings that

would in consequence be required for assessing damages” and noting that injuries

“must vary very considerably across the members of the class”). These factors from

Gates, which went unaddressed by the district court, should be fatal to certification

under Rule 23(c)(4).

      C.     The district court abused its discretion in analyzing the efficiencies
             to be gained.
      Nor did the district court correctly analyze whether any efficiencies would be

gained from the class proceeding.




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                                                                              JA2003
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      The district court certified only narrow, abstract questions of duty and breach,

leaving issues such as causation, injury, damages, apportionment of fault, as well as

all of ECFMG’s affirmative defenses, to be tried in subsequent individual

proceedings.

      The district court stated, without elaboration, that juries in these individual

proceedings “will not have to reexamine any of the evidence about ECFMG’s

conduct,” but its prediction is incorrect. JA61. Virtually all of the “common”

evidence and arguments would need to be reheard in every individual case.

      To determine causation (particularly proximate causation), understand who

Dr. Akoda was, and even have a basic understanding of the theory of liability against

ECFMG, every jury in every individual proceeding would need to hear essentially

all of the evidence that Named Plaintiffs propose to present at the class proceeding.

Evaluating causation would require a jury to consider the entire chain of events—

including any alleged wrongdoing by ECFMG, residency programs that admitted

Dr. Akoda, medical boards that licensed him, hospitals that gave him privileges, the

specialty board that certified him, and law enforcement officers who investigated

him—to decide which actor, if any, was the proximate cause of any alleged

emotional distress suffered by any individual plaintiff. Cf. McKenna v. City of

Philadelphia, 649 F.3d 171, 178 (3d Cir. 2011) (explaining that “proximate cause”

excludes “link[s] that are too remote, purely contingent, or indirect” (internal


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                                                                              JA2004
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quotation marks omitted)); Township of Bordentown, N.J. v. FERC, 903 F.3d 234,

247 n.6 (3d Cir. 2018) (noting that “intervening act[s]” can sever a causal chain).

      Similarly, as noted above, to determine the amount of damages for emotional

distress that an individual plaintiff could receive, a jury would need to rehear all of

the evidence regarding ECFMG’s liability.         Spence, 806 F.2d at 1202.        No

efficiencies would be gained by such a proceeding.

      The class action certified by the district court is indistinguishable from the

issue class rejected by this Court in Gates. Like Named Plaintiffs, the Gates

plaintiffs sought class certification of generalized, abstract questions of liability,

while leaving the bulk of the claims for later, individual proceedings. See Gates,

655 F.3d at 272 (explaining that “causation and extent of contamination,” “the fact

of damages,” and “the amount of damages” would need to be determined in follow-

up proceedings). This Court recognized that in light of the “numerous individual

issues that would remain,” resolution of the common issues was “unlikely to

substantially aid resolution of the substantial issues on liability and causation,” so

certification under Rule 23(c)(4) would be improper. Id. at 272, 274.

      As in Gates, in this case, resolution of the proposed classwide issues would

still leave causation, the fact of damages, and the amount of damages (and numerous

other issues) to be determined in follow-up proceedings. The district court failed to

follow this Court’s direction to “explain how class resolution of the issue(s) will


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fairly and efficiently advance the resolution of class members’ claims, including

resolution of remaining issues,” id. at 273, and as a result, certified an issue class

indistinguishable from the issue class rejected in Gates. See also id. (noting, as here,

that there was “no marked division between damages and liability”).

      The mere identification of a purportedly common issue does not mean that

resolution of the common issue through a class action will “fairly and efficiently”

advance resolution of the case as a whole. See D.C. by & through Garter v. County

of San Diego, 783 F. App’x 766, 768 (9th Cir. 2019) (“Based on its finding that

certification of a liability-only class would not significantly advance the resolution

of the class claims, the district court did not abuse its discretion by denying D.C.’s

motion for certification of a liability-only class.”).

      The district court correctly recognized that this is not a case in which liability

is appropriate for classwide treatment, but it should have followed by concluding

that certification of narrow liability issues would not materially advance resolution

of the underlying claims. See Gonzalez, 885 F.3d at 202–03 (“Unlike a situation in

which a Rule 23(c)(4) class might be appropriate because liability is capable of

classwide treatment but damages are not, Plaintiffs offer no theories of liability for

which classwide treatment is apt. The District Court therefore correctly determined

that a Rule 23(c)(4) class would not materially advance resolution of the underlying

claims[.]”). Here, as in Gonzalez, Named Plaintiffs “offer no theories of liability for


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which classwide treatment is apt,” and therefore “a Rule 23(c)(4) class would not

materially advance resolution of the underlying claims.”

        The district court erred by failing to conduct the rigorous analysis required

under Gates and abused its discretion in concluding that certification of narrow

issues would lead to efficiencies in resolution of the case as a whole.

        D.    The district court’s analysis would permit certification of an issue
              class in virtually any case.
        The class certification decision below suggests dramatic expansion of the

class action device.      If the district court’s analysis were correct, then class

certification under Rule 23(c)(4) would be permissible (and proper) in virtually any

case.

        Under the text of Rule 23, “commonality” is just a single factor under Rule

23(a). Identification of a common issue is necessary—but by no means sufficient—

for class certification. But under the district court’s approach to Rule 23(c)(4), the

entire certification inquiry effectively reduces to commonality.

        The district court’s error is confirmed by the fact that the justifications offered

by the district court for class certification in this case would apply equally to virtually

any case involving a common issue. The court’s statement—“the questions of duty

and breach favor issue certification because they are questions of law and/or fact

common to all class members and subject to common proof,” JA59–JA60—merely

restates that a common issue has been identified. The statement that certification


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                                                                                   JA2007
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would allow “a single trial with a single, preclusive determination” about the

common issue is also a truism. JA60. The same would be true of any case in which

a common issue has been identified. And the district court’s final justification—that

“[p]artial certification will not damage any class member’s statutory or

constitutional rights,” JA61—is not a justification for certifying the class but only

identifies the absence of a barrier to certification. 15

       If the district court’s approach to Rule 23(c)(4) were correct, then certification

of an issue class would be appropriate in any case in which Rule 23(a) (including its

commonality requirement) has been satisfied. Such a result conflicts with the plain

text of Rule 23, would be a dramatic expansion of the class action device, and cannot

be squared with the rule that the class action is “an exception to the usual rule that

litigation is conducted by and on behalf of the individual named parties only.”

Falcon, 457 U.S. at 155 (internal quotation mark omitted).




15
  Nor, as discussed above, is the district court’s analysis correct. Splitting claims
for emotional distress from other injuries threatens class members’ rights.

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                   CONCLUSION & PRAYER FOR RELIEF
     For the foregoing reasons, the order certifying the class should be reversed.

Dated: September 2, 2020                    Respectfully submitted,

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 CERTIFICATE OF BAR MEMBERSHIP, COMPLIANCE WITH TYPE-VOLUME
    LIMITATION AND TYPEFACE REQUIREMENTS, AND VIRUS CHECK
      I, William R. Peterson, counsel for Appellant Educational Commission for

Foreign Medical Graduates, certify, pursuant to Local Appellate Rule 28.3(d), that I

am a member in good standing of the Bar of this Court. I further certify, pursuant

to Federal Rules of Appellate Procedure 32(a)(5)–(7), and Local Appellate Rules

31.1(c) and 32.1(c), that the foregoing Brief of Appellant Educational Commission

for Foreign Medical Graduates is proportionately spaced and has a typeface of 14-

point Times New Roman, contains 12,561 words, and that the text of the electronic

brief is identical to the text of the paper copies. I further certify, pursuant to Local

Appellate Rule 31.1(c), that McAfee Endpoint Security did not detect a virus.



                                            /s/ William R. Peterson
                                            William R. Peterson




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                            CERTIFICATE OF SERVICE
      I, William R. Peterson, counsel for Appellant Educational Commission for

Foreign Medical Graduates, certify that, on September 2, 2020, a copy of the

foregoing Brief of Appellant and Joint Appendix (Volume I, Pages JA1 to JA78)

was filed electronically through the appellate CM/ECF system with the Clerk of the

Court. All counsel of record in this case are registered CM/ECF users. Pursuant to

Local Appellate Rule 31.1, as amended by the April 29, 2013 order, seven copies of

this brief were sent to the Clerk of the Court for delivery.



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                                            Counsel for Appellant,
                                            Educational Commission for
                                            Foreign Medical Graduates

                                            Dated: September 2, 2020




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                              No. 20-2128

              In the United States Court of Appeals
                      For the Third Circuit

 MONIQUE RUSSELL; JASMINE RIGGINS; ELSA M. POWELL;
                   DESIRE EVANS
                                     v.
         EDUCATIONAL COMMISSION FOR FOREIGN
                MEDICAL GRADUATES,
                                       Appellant

           On Appeal from the United States District Court for the
    Eastern District of Pennsylvania, No. 2:18-cv-05629-JDW (Wolson, J.)


              ADDENDUM TO BRIEF OF APPELLANT

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                       STATEMENT OF RELATED CASES
      In May 2016, a malpractice action related to this case was filed against Dr.

Charles J. Akoda and his employer Dr. Abdul G. Chaudry. See Jalloh et al. v.

Chaudry et al., CAL 16-22162 (Prince George’s Cty. Cir. Ct., Md.). That action

was voluntarily dismissed.

      In November 2016, a guilty plea for misuse of a Social Security number

related to this case was entered in United States v. Oluwafemi Charles Igberase,

a/k/a “Charles John Nosa Akoda,” No. 8:16-cr-00277-PWG (D. Md.).

      Monique Russell and Jasmine Riggins—two of the Named Plaintiffs in this

case—filed two putative class actions against Dimensions Health Corporation (and

other defendants) that are related to this case. See Russell v. Dimensions Corp., CAL

17-22761 (Prince George’s Cty. Cir. Ct., Md.); Russell v. Dimensions Health Corp.,

CAL 18-07863 (Prince George’s Cty. Cir. Ct., Md.). That case was consolidated

with another putative class action also against Dimensions Health Corporation

brought by Desire Evans and Elsa Powell, the other two Named Plaintiffs in this

case. See Dews v. Dimensions Health Corp., CAL 17-37091 (Prince George’s Cty.

Cir. Ct., Md.). The consolidated case was voluntarily dismissed after the defendants

filed a motion for summary judgment.




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Dated: September 4, 2020                  Respectfully submitted,

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                           CERTIFICATE OF SERVICE
      I, William R. Peterson, counsel for Appellant Educational Commission for

Foreign Medical Graduates, certify that, on September 4, 2020, a copy of the

foregoing Addendum to Brief of Appellant was filed electronically through the

appellate CM/ECF system with the Clerk of the Court. All counsel of record in this

case are registered CM/ECF users. Pursuant to Local Appellate Rule 31.1, as

amended by the April 29, 2013 order, seven copies of this Addendum to Brief of

Appellant were sent to the Clerk of the Court for delivery.



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                                             Educational Commission for
                                             Foreign Medical Graduates

                                             Dated: September 4, 2020




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                              No. 20-2128

                                   In the

 United States Court of Appeals
                    For the Third Circuit
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  MONIQUE RUSSELL, JASMINE RIGGINS, ELSE M. POWELL, and DESIRE EVANS,
                                                      Appellees,
                                  v.

       EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES,
                                                          Appellant.
                           __________________
               On Appeal from the United States District Court
                   for the Eastern District of Pennsylvania
               The Honorable Joshua D. Wolson, District Judge
                            __________________

BRIEF OF THE CHAMBER OF COMMERCE OF THE UNITED STATES
 OF AMERICA AS AMICUS CURIAE IN SUPPORT OF APPELLANT
                   __________________

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                             September 9, 2020




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                  CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1 and Circuit Rule 26.1.,

amici curiae the Chamber of Commerce of the United States of America makes the

following disclosure:

      (1) For nongovernmental corporate parties please list all parent corporations:

The Chamber is a nonprofit corporation and has no parent corporation.

      (2) For nongovernmental corporate parties please list all publicly held

companies that hold 10% or more of the party’s stock: No publicly held company

owns 10% or more of the Chamber’s stock.

      (3) If there is a publicly held corporation which is not a party to the proceeding

before this Court but which has a financial interest in the outcome of the proceeding,

please identify all such parties and specify the nature of the financial interests or

interest: Defendant-Appellant has identified AIG as potentially having an interest in

this proceeding. The Chamber is not aware of any other party with a financial

interest in this proceeding.

      (4) In all bankruptcy appeals counsel for the debtor or trustee of the

bankruptcy estate must list: 1) the debtor, if not identified in the case caption; 2) the

members of the creditors’ committee or the top 20 unsecured creditors; and 3) any

entity not named in the caption which is an active participant in the bankruptcy




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proceeding. If the debtor or trustee is not participating in the appeal, this information

must be provided by the appellant: Not applicable.

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                                            Counsel for Amicus Curiae
                                            Chamber of Commerce
                                            of the United States of America

                                            Dated: September 9, 2020




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                        INTEREST OF AMICUS CURIAE*
      The Chamber of Commerce of the United States of America is the world’s

largest business federation. It represents approximately 300,000 direct members and

indirectly represents the interests of more than three million companies and

professional organizations of every size, in every industry sector, and from every

region of the country. An important function of the Chamber is to represent the

interest of its members and the business community before Congress, the Executive

Branch, and the courts. To that end, the Chamber regularly files amicus curiae briefs

in cases of concern to the nation’s business communities, including cases involving

the application of Federal Rule of Civil Procedure 23.

      Many of the Chamber’s members are defendants in class actions. They

therefore have a keen interest in ensuring that courts rigorously analyze, consistent

with the text of Rule 23 and the requirements of due process, whether a plaintiff has

satisfied the prerequisites for class certification before certifying a class.

      This case presents the question whether Rule 23(c)(4) may serve as an end-

run around Rule 23(b)(3)’s critical due-process safeguards for defendants and absent

class members. The answer is “no.” By reaching the opposite conclusion, the

decision below invites a flood of time-consuming, expensive, and abusive class


*
  No party’s counsel authored this brief. No party, party’s counsel, or person other
than amicus curiae, its members, or its counsel provided money for this briefs
preparation or submission. All parties consent to the filing of this brief.

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actions that would benefit only the lawyers in the litigation. The Chamber therefore

has a strong interest in this Court’s resolution of the question.

            INTRODUCTION AND SUMMARY OF ARGUMENT

      This case presents a critical question of class-action procedure: whether a

district court can certify an issues class under Federal Rule of Civil Procedure

23(c)(4) even though the lawsuit as a whole does not satisfy Rule 23(b)(3)’s

predominance and superiority requirements. The district court wrongly held that it

could because, in its view, Rule 23(b)(3)’s requirements simply do not apply to so-

called “issues” classes certified under Rule 23(c)(4).

      This misinterpretation not only conflicts with Rule 23’s text, it will also

generate massive pressure on class-action defendants to settle meritless claims. To

begin, the district court’s decision will make it trivially easy to obtain class

certification. Under that approach, a court can certify a class for the purpose of

adjudicating common issues even if such issues do not predominate over

individualized questions for the case as a whole. That reading of Rule 23(c)(4)

would greatly expand class-action litigation. A clever lawyer would almost always

be able to identify some common factual or legal issue. And once a class has been

certified, defendants confronting the prospect of a large loss in class proceedings

would face overwhelming pressure to settle even meritless claims.




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      Rule 23’s text and structure contradict the district court’s reading. Like the

other provisions of Rule 23(c), Rule 23(c)(4) creates a case-management tool for the

adjudication of a class action that otherwise satisfies the requirements for

certification. Rule 23(a) and Rule 23(b) set out those detailed requirements. To

obtain certification, the named plaintiffs must show that their case both satisfies the

general requirements of Rule 23(a) and falls within one of the three categories of

class action identified in Rule 23(b). Rule 23(c) then lists a number of tools courts

may use to manage class actions. Rule 23(c)(4) provides that “[w]hen appropriate,

an action may be brought or maintained as a class action with respect to particular

issues.” On its face and read in context, this provision merely creates a discretionary

tool that allows a district court to adjudicate only some common issues on a class

basis if a case otherwise meets the requirements for class certification. In other

words, it makes explicit that, for properly certified class actions, the court may try

individualized issues separately. If Rule 23(c)(4) instead creates a fourth kind of

class action, the rule’s drafters would not have included it in a list of procedural rules

for the litigation of cases that have already been certified. And it would have listed

the detailed requirements for bringing an “issues” class action instead of simply

announcing that one may proceed “[w]hen appropriate.” Fed. R. Civ. P. 23(c)(4).

Instead, this provision should be read as exactly what its text and context suggest.




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      The district court, however, permitted the certification of issues under Rule

23(c)(4) without assessing whether the case satisfies the requirements of Rule

23(b)(3). The district court found that analysis unnecessary, but it did not reach that

conclusion based on Rule 23’s text. On the contrary, the court concluded that this

Court’s decision in Gates v. Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011),

precluded it from “requir[ing] Plaintiffs to satisfy Rule 23(b)(3)’s predominance

requirement,” and mandated that the court look only to a multi-factor test. JA43.

      Gates does not compel the district court’s misreading of Rule 23. In Gates,

this Court declined to address whether a plaintiff who invokes Rule 23(c)(4) must

also show that the case as a whole satisfies the predominance requirement of Rule

23(b)(3). See 655 F.3d at 273 (declining to join “either camp” in a circuit split on

the question). The Court instead rejected certification because the proposed liability

issues class failed to satisfy a multi-factor test that it applied based on Rule 23(c)(4)’s

appropriateness requirement. As a result, the Court had no need to decide whether

the class could have been certified without an additional Rule 23(b)(3) finding.

Gates thus does not prevent the application of Rule 23(b)(3) in this case, and the text

of Rule 23 confirms that Rule 23(b)(3)’s predominance requirement applies.




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                                   ARGUMENT

I.    Rule 23(c)(4) Merely Provides a Case-Management Tool, Not a New
      Type of Class Action Exempt from the General Certification
      Requirements.

      Rule 23(c)(4) provides that “[w]hen appropriate, an action may be brought or

maintained as a class action with respect to particular issues.”     Fed. R. Civ. P.

23(c)(4). This provision merely creates a discretionary case-management tool that

a district court can employ when a case otherwise satisfies the requirements for class

certification but some issues cannot be resolved through class litigation. Rule

23(c)(4) does not authorize a court to certify a new type of class action—a so-called

“issues class”—that does not satisfy the requirements of Rule 23(b).

      A.     All Damages Class Actions Must Satisfy the Same Requirements
             Established in Rules 23(a) and (b)(3).
      Rule 23 establishes two sets of requirements that a case must satisfy to

proceed as a class action.     Rule 23(a) first establishes four “prerequisites”—

numerosity, commonality, typicality, and adequacy.          These prerequisites are

“threshold requirements applicable to all class actions.” Amchem Prods., Inc. v.

Windsor, 521 U.S. 591, 613 (1997).

      A party who has satisfied the Rule 23(a) prerequisites “must” then “show that

the action is maintainable under Rule 23(b)(1), (2), or (3).” Id. at 614; accord

Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). These provisions identify three

“types of class actions” that a party can bring. Fed. R. Civ. P. 23(b). A case must


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satisfy the requirements for one of these categories “[i]n addition” to the Rule 23(a)

prerequisites. Amchem, 521 U.S. at 514. “A class action may be maintained if Rule

23(a) is satisfied and if” the plaintiff satisfies the requirements for one of these three

types of class action. Fed. R. Civ. P. 23(a). These requirements apply to all class

actions because the indefinite article “a” in this context means “any.” See McFadden

v. United States, 576 U.S. 186, 191–92 (2015) (concluding that the indefinite article

“a” refers to any item included in the described category); Webster’s Third New Int’l

Dictionary 1 (2002) (explaining that the indefinite article means “any” or “each”

when used with a restrictive modifier); Black’s Law Dictionary 3 (4th ed. 1968)

(explaining that “[t]he article ‘a’ . . . is often used in the sense of ‘any’”); Black’s

Law Dictionary (5th ed. 1979) (“‘A’ means ‘one’ or ‘any’ . . . [and] is not

necessarily a singular term; it is more often used in the sense of ‘any’ and is then

applied to more than one individual object.”).

      For damages claims, Rule 23(b)(3) only permits a class action to proceed if

“the court finds” that the case presents common questions that “predominate over”

individualized ones and that “a class action is superior to other available methods”

of “adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). These additional

predominance and superiority requirements help ensure that class litigation is the

best route for resolving the case.




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      B.     Rule 23(c) Provides Procedures and Case-Management Tools to
             Aid Class Adjudication, Not an Alternative Path to Certification.

      After Rules 23(a) and (b) establish the requirements for all class actions, Rule

23(c) then provides district courts procedures and tools for their management. Rule

23(c)(1) requires a court to decide whether to certify a class by order “[a]t an early

practicable time,” and announces that a certification order must “define the class and

the class claims, issues or defenses, and must appoint class counsel.” Rule 23(c)(2)

establishes notice requirements for class actions, including individual notice to

members of a Rule 23(b)(3) class. Rule 23(c)(3) requires findings about class

membership in the judgments in each of the three types of class action permitted by

Rule 23(b). And Rule 23(c)(5) permits the division of a class into subclasses.

      Similar in kind to its surrounding provisions, Rule 23(c)(4) provides that,

“[w]hen appropriate,” a class action may proceed “with respect to particular issues.”

This language does not create a new category of class action exempt from Rule

23(b). Instead, it creates a discretionary case-management tool that allows a court

to adjudicate a class action that satisfies Rule 23(b)(3)’s predominance and

superiority requirements but nevertheless includes some individualized issues that

cannot be resolved on a class-wide basis. As this Court has explained, this approach

“might be appropriate because liability is capable of classwide treatment but

damages are not.” Gonzalez v. Corning, 885 F.3d 186, 202–03 (3d Cir. 2018); but

cf. Comcast, 569 U.S. at 34 (noting that predominance cannot be satisfied where


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individual damages questions “will inevitably overwhelm questions common to the

class”).

      The advisory committee notes to the 1966 Amendments to Rule 23 confirm

the case-management reading. The notes explain that Rule 23(c)(4) would allow a

district court to issue an order that allows “adjudication of liability to the class” but

then requires individual class members to “prove the amounts of their respective

claims.” In that situation, Rule 23(c)(4) would operate like the other provisions of

Rule 23(c) by providing tools to manage an action that has already been certified.

      Rule 23(c)(4)’s placement among a series of case-management procedures

and tools strongly suggests that it does not establish a freestanding “issues” class

action. The rest of Rule 23(c) lists rules that only apply to certified class actions that

meet the requirements of Rule 23(a) and one of the categories of Rule 23(b). See

Murphy v. United States, 138 S. Ct. 784, 789 (2018) (looking to the “surrounding

statutory structure” and “other provisions” to interpret statutory text). The Rules

Committee would not have included Rule 23(c)(4) in this list of management tools

if it had meant to create a whole new type of class action. This placement confirms

that “[t]he proper interpretation of the interaction between subdivisions (b)(3) and

(c)(4) is that a cause of action, as a whole, must satisfy the predominance

requirement of (b)(3) and that (c)(4) is a housekeeping rule that allows courts to




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sever common issues for a class trial.” Castano v. American Tobacco Co., 84 F.3d

734, 745 n.21 (5th Cir. 1996).

      Notably, Rule 23(c)(4) does not include the kind of language that Rule 23 uses

for the creation of a type of class action. It does not announce the creation of any

new types of class action. Nor does it establish any requirements to bring a class

action under Rule 23(c)(4). Instead, it merely announces that “when appropriate” a

court may permit class proceedings “with respect to particular issues.” Fed. R. Civ.

P. 23(c)(4).

      By contrast, Rule 23(b) is explicit about creating three different types of class

action and establishing the requirements for each of them. Rule 23(b) is titled “types

of class actions.” See INS v. Nat’l Ctr. for Immigrants’ Rights, Inc., 502 U.S. 183,

189 (1991) (explaining that the title of a statute or section can help clarify meaning).

And it begins by explaining that a class action can be brought “if Rule 23(a) is

satisfied and if” the conditions for one of the three types of class action have been

met. Fed. R. Civ. P. 23(b). It then lists detailed requirements for each of the three

types of class action.    See id.    This language and structure strongly convey

exclusivity—that they establish the only paths to class certification. See POM

Wonderful LLC v. Coca-Cola Co., 573 U.S. 102, 114 (2014) (explaining that the

provision of rules for some cases implies the exclusion of other cases). The Rules




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Committee would have used similar language in Rule 23(c)(4) if it meant for that

provision to create a new category of “issues” class action.

      What’s more, the other provisions of Rule 23(c) presume that Rule 23(b)

recognizes the only three types of class action, establishing specific rules for each of

them. Rule 23(c)(2), for example, provides notice requirements “[f]or any class

certified under Rule 23(b)(1) or (b)(2)” and a separate set of notice requirements

“[f]or any class certified under Rule 23(b)(3).” Fed R. Civ. P. 23(c)(2). Rule

23(c)(3) similarly imposes rules for the judgments in “any class action certified

under Rule 23(b)(1) or (b)(2)” and different requirements for “any class action

certified under Rule 23(b)(3).” Fed. R. Civ. P. 23(c)(3). But there are no similar

rules for a Rule 23(c)(4) “issues” class, quite an anomaly if it actually exists as an

additional certifiable type. The absence of any corresponding rules for managing

such a class action confirms that Rule 23(c)(4) does not establish a separate type.

      C.     Recognizing a Freestanding “Issues” Class Action Would
             Completely Undermine Rule 23(b)(3)’s Critical Safeguards.

      Rule 23 establishes exacting procedures for the certification of a damages

class action. Among other requirements, such an action must comply with Rule

23(b)(3)’s predominance requirement. The Supreme Court has acknowledged that

Rule 23(b)(3) permits class proceedings in “situations in which class-action

treatment is not as clearly called for.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

362 (2011). But by requiring that common questions predominate, Rule 23(b)(3)


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aims “to assure the class cohesion that legitimizes representative action in the first

place.” Amchem, 521 U.S. at 623.

      The district court’s reading of Rule 23(c)(4) would completely undermine

Rule 23(b)(3)’s critical safeguards and limits for damages class actions. Rule

23(b)(3) is already the “most adventuresome innovation” in Rule 23. Comcast, 569

U.S. at 34.   The district court’s approach goes even further, permitting class

adjudication of common issues even when they do not predominate over

individualized questions. There will almost always be some common legal or factual

issue that could be invoked to obtain class treatment. “[A]ny competently crafted

class complaint literally raises common questions.” Wal-Mart, 564 U.S. at 349

(quotation marks and citation omitted).

      The Fifth Circuit has explained that this approach “would eviscerate the

predominance requirement of Rule 23(b)(3).” Castano, 84 F.3d at 745 n.21. A court

would be able to “sever issues until the remaining common issue predominates.” Id.

This “nimble use of subdivision (c)(4)” would allow a class to be certified even

though the common issues constitute only a small part of the issues in a case. Id.

      “[T]he result would be automatic certification in every case where there is a

common issue, a result that could not have been intended.” Id. Rule 23 should not

be read to render any provision “nugatory through construction.” United States v.

Tohono O’Odham Nation, 563 U.S. 307, 315 (2011). But permitting certification



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any time that an issue can be resolved on a class basis would effectively eliminate

Rule 23(b)(3)’s requirement that common questions must predominate.

      D.     This Court’s Precedents Do Not Authorize a Rule 23(c)(4)
             “Issues” Class Action.
      Gates did not hold that Rule 23(c)(4) establishes a new category of “issues”

class action. There, this Court noted that its sister circuits have disagreed about

whether an issues class must satisfy the predominance requirement of Rule 23(b)(3).

Gates, 655 F.3d at 272.         Some appellate courts treat Rule 23(c)(4) “as a

‘housekeeping rule.’”     Id. These courts permit an issues class to proceed “only

when the cause of action, taken as a whole, meets the predominance requirement.”

Id. But other courts allow an issues class to proceed “even if common questions do

not predominate for the cause of action as a whole.” Id.

      This Court elected not to “join[] either camp in the circuit disagreement” about

whether an issues class must meet the predominance requirement of Rule 23(b)(3).

Id. at 273. Instead, the Court relied on the factors “set forth in Hohider [v. United

Parcel Service, Inc., 574 F.3d 169 (3d Cir. 2009)] and more recently in the Final

Draft of the ALI’s Principles of Aggregate Litigation.” Id. Applying those factors,

this Court affirmed the district court’s refusal to certify a common issues class, citing

the “inability to separate common issues from issues where individual characteristics

may be determinative.” Id. at 274. In other words, the Court held that class




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adjudication of particular issues would not be “appropriate,” as Rule 23(c)(4)

requires.

         As a result, nothing in Gates forecloses this Court from holding that a party

invoking Rule 23(c)(4) must also satisfy Rule 23(b)’s requirements. As explained,

Gates acknowledged a disagreement about that question, but refused to “join either

camp.” Id. at 273. Instead, the Court looked to a “non-exclusive list of factors” that

if found provided “the most sound guidance in resolving this complicated area of

class action procedure.” Id. Since those appropriateness factors supported the denial

of class certification, the Court had no need to address whether a party who can

satisfy the Gates factors must separately show that a cause of action satisfies Rule

23(b)(3). Any statement on that question would thus have been dicta.

         By refusing to require Plaintiffs to satisfy Rule 23(b)(3), the district court

adopted one of the approaches rejected in Gates. The district court rejected an

argument that it should “require Plaintiffs to satisfy Rule 23(b)(3)’s predominance

requirement,” explaining that the argument “parrots one of the camps that the Third

Circuit acknowledged but refused to join in Gates.” JA43. But the district court’s

approach reads Gates to join the other camp that it declined to join by holding that a

party invoking 23(c)(4) does not need to satisfy Rule 23(b)(3). Gates held no such

thing.




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      In fact, this Court has never held that satisfying the Gates factors alone is

enough to certify an issues class under Rule 23. Hohider decertified a class claim

for injunctive relief under Rule 23(b)(2) while severing claims for other kinds of

relief. See 574 F.3d at 200. After rejecting certification of a class under Rule

23(b)(2), this Court held that it need not address a potential issues class under Rule

23(c)(4) “given the class certification’s other defects.” Id. The Court specifically

declined to address “[t]he interaction between the requirements for class certification

under Rule 23(a) and (b) and the authorization of issues classes under Rule

23(c)(4).” Id. at 200 n.25.

      What’s more, since Gates, this Court affirmed a district court’s refusal to

certify an issues class under Rule 23(c)(4) in Gonzalez. Citing Gates, the Court said

that the Rule 23(c)(4) inquiry is “analytically independent from the predominance

inquiry under Rule 23(b)(3).” Gonzalez, 885 F.3d at 202. Read in context, that

statement is technically correct, since Rule 23(c)(4) adds the independent (though

surely overlapping) requirement that class adjudication of particular issues must be

“appropriate.” Gonzalez hardly implies that issues classes are an entirely distinct

type of class action exempt from Rule 23(b). Regardless, the case found that the

certification of an issues class was inappropriate when plaintiffs “offer no theories

of liability for which classwide treatment is apt.” Id. at 203.




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      Both the Supreme Court and this Court have issued decisions since Gates

confirming that Rule 23(c)(4) does not provide an end run around Rule 23(b). In

Comcast, the Supreme Court explained that a party seeking class certification “must

. . . satisfy through evidentiary proof at least one of the provisions of Rule 23(b).”

569 U.S. at 33 (emphasis added). Relying on Comcast, this Court has since clarified,

in an unpublished decision, that a plaintiff must “satisf[y] Rule 23(a) and 23(b)’s

requirements” before “seek[ing] certification under Rule 23(c)(4) as to particular

issues.” Luppino v. Mercedes Benz USA, 718 F. App’x 143, 146 (3d Cir. 2017).

      Moreover, even if this Court reads Gates to hold that district courts need not

consider predominance and superiority in addition to the Gates factors, such a

holding would still not establish that factors relevant to Rule 23(b)(3)’s criteria do

not apply to an “issues” class. Properly applied, several of the Gates factors overlap

with Rule 23(b)(3)’s predominance and superiority requirements. For example,

Gates instructs district courts to consider “the type of claims . . . in question; the

overall complexity of the case; the efficiencies to be gained by granting partial

certification in light of realistic procedural alternatives; [and] the repercussions

certification of an issue(s) class will have on the effectiveness and fairness of

resolution of remaining issues.”       Gates, 655 F.3d at 273.        Each of these

appropriateness factors reflects a concern with ensuring the role that common issues

play in the larger litigation and ensuring that class litigation is the best method for



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resolution of the cause of action—the very same concerns relevant to Rule 23(b)(3).

So whether or not Rule 23(b)(3) formally governs class adjudication under Rule

23(c)(4), such adjudication would not be “appropriate,” as the latter provision

requires, unless the case as a whole satisfies the normal predominance and

superiority analysis.

II.   The District Court’s Decision Invites a Wave of Class Action Abuse.

      The district court’s misreading of Rule 23(c)(4) will permit a flood of abusive

class actions, with troubling and far-reaching consequences for businesses,

shareholders, employees, customers, and the judicial system.

      Certification of a class action massively raises the litigation stakes, creating

enormous pressure on defendants to settle. The Supreme Court has cautioned that a

defendant may be “pressured into settling questionable claims” by “even a small

chance of a devastating loss.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333,

350 (2011); see also, e.g., Shady Grove Orthopedic Assocs v. Allstate Ins. Co., 559

U.S. 393, 445 n.3 (2010) (Ginsburg, J., dissenting) (“A Court’s decision to certify a

class . . . places pressure on the defendant to settle even unmeritorious claims.”);

Coopers & Lybrand v. Livesay, 437 U.S. 463, 476 (1978) (“Certification of a large

class may so increase the defendant’s potential damages liability and litigation costs

that he may find it economically prudent to settle and to abandon a meritorious

defense.”). As a result, “[e]ven a complaint which by objective standards may have



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very little chance of success at trial has a settlement value to the plaintiff out of any

proportion to its prospect of success at trial.” Blue Chip Stamps v. Manor Drug

Stores, 421 U.S. 723, 740 (1975).

      Unsurprisingly then, defendants often cannot withstand this pressure and enter

“in terrorem settlements” of meritless class actions. Concepcion, 563 U.S. at 350.

“In reality, virtually all certified class actions subsequently settle; very few certified

class actions proceed to trial.” Linda S. Mullenix, Ending Class Actions As We Know

Them: Rethinking the American Class Action, 64 Emory L.J. 399, 419 (2014).

      The unfair settlement pressure will multiply even further if courts misread

Rule 23(c)(4) to fall outside the Rule 23(b) requirements. By limiting the types of

actions eligible for class treatment, Rule 23(b) attempts to confine the settlement

pressure to cases where the benefits of class treatment likely outweigh the costs.

      But even Rule 23(b)(3)’s requirements are not a perfect safeguard. Indeed,

those criteria already err on the overinclusive side, allowing certification in

questionable cases. The Supreme Court has acknowledged that Rule 23(b)(3), which

permits damages suits on behalf of a class when common questions predominate, is

an “adventuresome innovation” that “is designed for situations in which class-action

treatment is not as clearly called for.” Comcast, 569 U.S. at 34 (quotation marks and

citation omitted). As a result, Rule 23 limits the potential for abuse of Rule 23(b)(3)

classes by imposing additional “procedural safeguards” not required for other class



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actions, and by imposing on courts a “duty to take a close look at whether common

questions predominate over individual ones.” Id.

      The categories and numbers of cases eligible for class certification is

unlimited, however, if courts misread Rule 23(c)(4) to authorize issues classes even

though the case as a whole does not satisfy Rule 23(b)’s requirements. As noted,

see supra at 11, when a group of individuals suffers an injury, it will almost always

be possible to identify some common legal or factual question. See Wal-Mart, 564

U.S. at 349. The pressure on defendants to settle will accordingly expand in direct

proportion to the vast expansion of class actions certified.

      The cost of the resulting class-action abuse will reverberate through the

economy. Businesses will expend substantial resources defending against this new

category of class action. And they will ultimately pass along these increased

litigation costs to consumers through higher prices. The courts will also bear the

burden of resolving disputes about a new type of class action proceeding with no

text governing its contours.




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                                 CONCLUSION
     For the foregoing reasons, the decision of the district court should be reversed.

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       CERTIFICATE OF COMPLIANCE AND BAR MEMBERSHIP
      1.     Pursuant to Local Rule 28.3(d), I, Gilbert C. Dickey, certify that I am a

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                         CERTIFICATE OF SERVICE
      I hereby certify that on September 9, 2020, the foregoing was filed with the

Clerk of the United States Court of Appeals for the Third Circuit using the appellate

CM/ECF system, which will also serve counsel of record.


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                                No. 20-2128


                In the United States Court of Appeals for
                            the Third Circuit



   MONIQUE RUSSELL, JASMINE RIGGINS, ELSA M. POWELL,
    and DESIRE EVANS, on behalf of themselves and all others
                    similarly situated,
                                        Appellees,

                                       v.

                  EDUCATIONAL COMMISSION FOR
                  FOREIGN MEDICAL GRADUATES,
                                     Appellant.



        On Petition for Permission to Appeal from the United States
          District Court for the Eastern District of Pennsylvania,
                    No. 2:18-cv-05629-JDW (Wolson, J.)


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                    STATEMENT OF THE ISSUES

     Did the district court abuse its discretion in certifying the issues of

duty and breach under Federal Rule of Civil Procedure 23(c)(4), where one

negligent course of conduct by one defendant caused one type of injury to

Plaintiffs and the class, who share the same legal relationship with the

defendant?

             STATEMENT OF RELATED PROCEEDINGS

     This case has not previously been before this Court. The matters

listed in Appellant’s Addendum containing its Statement of Related Cases

are not pertinent to this appeal or the underlying litigation.

                      STATEMENT OF THE CASE

     This action arises from allegations that Defendant Educational

Commission for Foreign Medical Graduates (“ECFMG”) negligently

investigated and certified Oluwafemi Charles Igberase, a/k/a John Nosa

Akoda (among other aliases), as eligible to enter a residency program,

notwithstanding compelling evidence that Igberase/“Akoda” had

committed extensive fraud as to his identity and credentials. As Plaintiffs

allege, ECFMG knew of Igberase’s fraud, but failed to appropriately

investigate and respond to it. ECFMG failed to inform state medical

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boards, residency programs, and hospitals of Igberase’s fraud, even as it

attested that Igberase held a valid ECFMG certification.

     ECFMG acknowledged that “patients have the right not to be

treated by physicians who have obtained ECFMG certification based on

false pretenses.” JA644. Yet ECFMG failed to respect this right and

protect the public. As a result, Igberase had the opportunity to examine,

touch, harass, and sexually abuse hundreds of women under the guise of

providing OB/GYN care. These patients would never have consented to

examination and treatment by Igberase had they known—as ECFMG

did—that Igberase had obtained his credentials through repeated acts of

fraud, later found to constitute a “crime of moral turpitude.” JA322, 1363.

     ECFMG’s Role in the American Healthcare System

     According to Appellant, “[p]art of ECFMG’s mission is to promote

public health and to protect the public.” JA643. ECFMG certifies

international medical graduates (“IMGs,” defined as those who attend

medical school outside the U.S. and Canada) as eligible to enter US

graduate medical education programs, and verifies an IMGs credentials

for hospitals and state medical licensing boards. JA201, 642–44, 689.




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     To practice medicine in the U.S., an IMG must first apply to

ECFMG, which verifies from primary sources that the IMG has obtained

a valid diploma from a medical school recognized by the school’s home

country. See JA205–06. An IMG must also pass portions of the United

States Medical Licensing Examination (USMLE) and a clinical skills

assessment. Id. When these steps are satisfactorily completed, ECFMG

issues a certificate to the IMG. Id. ECFMG also acts as a dean’s office for

IMG’s applying to residency programs. JA367.

     Igberase obtains initial ECFMG certification after failing
     medical examination twice.

     In 1992, Igberase applied to ECFMG to take the Foreign Medical

Graduate Examination in Medical Sciences (“FMGEMS”)—the initial

phase of the USMLE examination—and the ECFMG English Test. JA211.

Igberase provided ECFMG with a purported 1987 diploma from the

University of Ibadan in Nigeria. See JA216.

     Igberase twice failed both the basic medical science and clinical

science components of the FMGEMS. JA219. He passed the exam on the

third try. Id. ECFMG issued him a certificate in 1993 after he passed

steps 1 and 2 of the USMLE. JA239–40.



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      Igberase obtains second certification under the “Charles”
      identity. ECFMG investigates and revokes Igberase’s
      certification.

      In 1994, ECFMG received a second application from Igberase, using

the name “Igberase Oluwafemi Charles,” to take steps 1 and 2 of the

USMLE examination (again). JA242–44. His application falsely

represented he had never taken the USMLE examination before. Id. After

“Charles” successfully completed the USMLE examinations, ECFMG

issued him a certificate under the Charles identity. JA239.

      Shortly thereafter, ECFMG investigated whether Igberase and

Charles were the same person. JA239–40. Igberase admitted he had lied

about his identity and examination history because residency programs

had rejected him for repeatedly failing the USMLE examinations. JA246–

50.

      ECFMG referred the matter to its Committee on Medical Education

Credentials. The Committee found Igberase had engaged in “irregular

behavior,” invalidated the certificate issued to “Charles” and revoked

Igberase’s original certificate. JA252. In 1996, after Igberase appealed,




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ECFMG’s Review Committee for Appeals limited the period of revocation

to five years. JA260–61.

     Igberase applies and is certified under the “Akoda” identity.

     While appealing this revocation, Igberase submitted a third

application to ECFMG to take Steps 1 and 2 of the USMLE examination

under the name “John Nosa Akoda.” JA263, JA268. This time, he

provided ECFMG a purported 1988 diploma issued to “Johnbull

Enosakhare Akoda” from the University of Benin. JA753. ECFMG takes

no position on where or whether Igberase/“Akoda” actually went to

medical school. JA653. It merely claims that it verified both diplomas

from primary sources. Id. It did not, however, verify Akoda’s purported

certificate of registration as a physician in Nigeria. Id.

     After he passed the required examinations, ECFMG issued “Akoda”

a certificate in 1998. See JA275. Akoda then entered a residency program

at Jersey Shore Medical Center (JSMC). JA276. ECFMG sent a

permanently validated ECFMG certificate for Akoda to JSMC. See id.

     ECFMG learns Akoda and Igberase are the same person.

      In August 2000, JSMC notified ECFMG it was investigating

whether Akoda had used a Social Security number issued to Igberase. See

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JA279. ECFMG sent Akoda a “charge letter” advising it had received

information alleging he may have engaged in irregular behavior and

demanded a written explanation within fifteen days. See JA284–85.

Akoda admitted he used the Social Security number of his “cousin”

Igberase Oluwafemi Charles. See JA287.

     Akoda met with William Kelly, Manager of ECFMG’s Medical

Education Credentials Department. This was not the first time Kelly had

met Igberase/Akoda: Kelly attended a hearing on the revocation of

Igberase’s certificate, where Igberase testified. JA365. Igberase again

admitted he had used his cousin’s Social Security number, and presented

a purported Nigerian passport and “international driving permit.” JA289,

358. ECFMG did not verify the documents. JA671.

     In December 2000, ECFMG learned that JSMC dismissed Akoda

from its residency program, because he had used a false Social Security

number and provided JSMC with two inconsistent green cards. JA291.

     In a December 22, 2000 memorandum that Kelly intentionally left

out of “Akoda’s” official file, Kelly stated he and the director of JSMC’s

residency program believed that Igberase and Akoda were the same

person. JA293. Somehow, Kelly did not think there was enough

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information to refer the matter to the ECFMG’s Credentials Committee

for investigation. Id. Had the Committee known, Kelly acknowledges, it

would have investigated and charged Akoda with “providing false

information to ECFMG on an application, among other things,” JA366, as

it did after Igberase’s initial fraudulent application in his own name.

     ECFMG nonetheless represents to Howard University’s
     residency program, the State of Maryland, and Prince
     George’s Hospital Center that “Akoda” has a valid ECFMG
     certificate.

     In October 2006, Akoda used ECFMG’s Electronic Residency

Application System (ERAS) to apply for residency at Howard University

Medical Center. The application included three purported letters of

reference. JA295. Although not part of the ERAS process (JA367), Kelly

undertook to verify the letters’ authenticity (JA297), because he doubted

Akoda’s credibility (JA367). He never received responses from the

supposed authors. JA675. Kelly never notified anyone outside the

organization of his concerns (JA676–77), and ECFMG did not investigate

the matter further (JA675).

     Later, ECFMG verified Akoda had a valid ECFMG certificate to the

Maryland Board of Physicians and Prince George’s Hospital Center

(PGHC). In 2011, Akoda obtained privileges and became a member of the
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medical staff at PGHC. JA312. He began seeing patients there in 2011.

JA100 at ¶ 30.

      ECFMG never notified any residency program, hospital, or other

entity of the concerning information it had obtained regarding

Igberase/Akoda’s character and fitness—and the conclusions it drew from

that information—until law enforcement became involved. JA676–77.

      Igberase faces six felony charges and pleads guilty to one.

      Law enforcement contacted ECFMG regarding Akoda in

approximately 2015. JA676 at 18. ECFMG had not investigated the

matter further since his residency application. JA675. In 2016, officers

executed search warrants at Igberase’s residence, medical office and

vehicle. JA100. They found fraudulent or altered immigration documents,

medical diplomas, medical transcripts, letters of recommendation and

birth certificates. Id.

      Igberase was charged with six felony counts. JA319. On November

15, 2016, Igberase signed a plea agreement admitting to felony misuse of

a Social Security number to obtain a medical license. JA313.

      In 2017, the United States District Court for the District of

Maryland sentenced Igberase to six months incarceration, followed by

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probation. JA101 at ¶ 37. PGHC terminated his privileges and the

Maryland Board of Physicians revoked “Akoda’s” medical license. Id. at

¶¶ 38–39.

     ECFMG’s brief misleadingly implies that ECFMG was not aware

until the guilty plea that “Akoda”—who is not a licensed physician—had

twice before applied to ECFMG under two different names. Br. 6. The

evidence indicates ECFMG knew of Igberase’s fraudulent behavior for

many years before Igberase was charged.

     Plaintiffs suffer emotional harm.

     Plaintiffs claim a common injury: wrongful touching of their bodies

based on the false pretense that Igberase was a properly credentialed

physician. This injury occurred as a result of ECFMG’s negligence in

certifying Igberase/Akoda and in failing to notify hospitals and medical

boards when it knew Igberase had obtained the Akoda certification

through fraud.

     The named Plaintiffs suffered injuries representative of those

suffered by numerous class members:

         Desire Evans: Igberase touched Ms. Evans’s clitoris during her
          labor, claiming he needed to do so to help her push. JA1270.
          She is afraid to seek medical care for her and her child, and
          has lost trust in the medical system. JA1278.
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         Elsa M. Powell: Igberase provided prenatal care to Ms. Powell.
          Igberase repeatedly made inappropriate advances and
          comments, including stating her breasts were “nice.” JA1174.
          Igberase delivered Ms. Powell’s baby. JA1174. The delivery
          was complicated by significant bleeding requiring additional
          medical care. JA1306. She trusted that Igberase was a duly
          licensed and credentialed physician and suffered emotional
          harm upon learning that the individual she trusted to touch
          the most intimate parts of her body and deliver her baby had
          lied about his identity and background. Id.

         Jasmine Riggins: Igberase provided Ms. Riggins prenatal care
          and delivered her baby. JA1143. She suffered severe
          abdominal pain and could not have her tubes tied because of
          scarring. JA429. After learning the truth about Igberase from
          a Facebook group, “Embracing Mommies,” Ms. Riggins felt
          angry, sad, embarrassed, and ashamed about receiving
          treatment from Igberase. JA436, JA443. She was deeply
          affected by what Igberase did, and felt outraged because his
          dishonesty enabled him to perform C-sections, examine
          women’s genitals, touch and violate them. JA456.

         Monique Russell: Igberase delivered Ms. Russell’s baby by
          emergency C-section. JA394. She learned of Igberase’s guilty
          plea from a Department of Justice press release. Ms. Russell
          read the federal sentencing transcript. JA359–96. She feels
          Igberase violated her and has difficulty going to the
          gynecologist, distrusts the medical community, and distrusts
          institutions that credential doctors. JA403. Ms. Russell also
          suffers from intimacy issues and anxiety, and feels like a
          victim of sexual assault because Igberase examined her vagina
          under false pretenses. JA415, JA417.

     A report provided by psychiatrist Annie Steinberg, M.D., Clinical

Professor at the Perelman School of Medicine, incorporating information

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from responses to a questionnaire completed by 306 of approximately 500

former patients of Igberase whom Class Counsel represent, revealed that

nearly half of participants felt uncomfortable during Akoda’s exams and

over 89 percent suffered emotional distress from Akoda’s conduct and/or

from learning that he practiced medicine under false pretenses. JA182,

580, 585, 587.

     Because none of Igberase’s patients knew his true identity or of his

fraudulent background and conduct (JA102 at ¶¶ 44–45), they could not

give informed consent to be touched by him (id. at ¶ 46). On many

occasions, Igberase committed battery by touching and digitally

penetrating patients without consent and on false pretenses, and by

examinations of a sexual nature. Id. at ¶ 47. He also used inappropriate

language. Id.

     Procedural History

     In December 2018, named Plaintiffs Russell, Riggins, Powell, and

Evans sued ECFMG in the Court of Common Pleas of Philadelphia,

asserting claims of negligence and negligent infliction of emotional

distress on behalf of a putative class. JA102; JA91–125. ECFMG removed




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the case to the United States District Court for the Eastern District of

Pennsylvania. JA83–88.

      After substantial discovery, Plaintiffs filed a Motion for Class

Certification in the district court. JA167–198. The Motion sought

certification under Federal Rule of Civil Procedure 23(c)(4) of a class of

“all patients examined and/or treated in any manner by Oluwafemi

Charles Igberase (a/k/a Charles J. Akoda, M.D.).” JA182–83. Specifically,

the motion sought certification of “liability for the causes of action of the

class members: negligence ... and negligent infliction of emotional

distress,” or, in the alternative, certification of nine class issues, including

the four ultimately certified by the district court. JA182–83.

      Following extensive briefing and oral arguments, the district court

analyzed each of Rule 23’s relevant requirements in depth. The court

found Plaintiffs had properly defined an ascertainable class. JA46–48. It

found the class sufficiently numerous to satisfy Rule 23(a)(1) because, as

ECFMG did not dispute, the number of potential class members—“at

least 712 people”—precluded joinder. JA48–49. And it found Rule

23(a)(2)’s commonality requirement satisfied—a finding ECFMG does not

challenge on appeal. Id.

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     The court likewise found Rule 23(a)(3)’s typicality requirement

satisfied. JA51–53. As it explained, “Plaintiffs’ claims are typical of class

members to the extent that the class members consist of Igbarese’s

patients during and after his residency” because all the claims “arise from

the same legal theory: negligence” and from “a single course of conduct by

ECFMG: the certification and subsequent (allegedly inadequate)

investigation of his identity.” JA52. The court, however, excluded JSMC

patients from the class because their claims differ from those of the

named Plaintiffs. JA53.

     The court rejected ECFMG’s argument that the Plaintiffs are not

typical because their claims involve emotional damages and Igberase

might have physically harmed other class members. Id. The court ruled

that such distinctions did not “overcome the fact that Plaintiffs’ claims

arise from the same facts and legal theories as members of the class,” and

that any member of the class who wanted to assert claims against

ECFMG for additional injuries “will have the opportunity to opt out of the

class and assert those claims individually.” Id. Further, certification

would not prevent class members from asserting claims for other injuries

against Igberase. Id.

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      The district court also found the class representatives satisfy Rule

23(a)(4)’s adequacy requirement. JA54. As the court noted, adequacy is

only impaired by a “fundamental” conflict, which occurs when “some class

members benefitted from conduct that harmed other class members.” Id.

(citation omitted). No class member benefited here. Id.

      The court then considered whether to certify an issue class under

Rule 23(c)(4), applying the factors set forth in this Court’s opinion in

Gates v. Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011). The court rejected

Plaintiffs’ request for certification on liability for the class members’

causes of action, because such certification would encompass elements of

causation and harm that the court considered too individualized. JA56–

57.

      Addressing Plaintiffs’ alternate request for certification of nine

specific issues, the court first stated that it would not certify damages

issues or whether ECFMG was liable for assisting Igberase in committing

fraud. JA59. But the court did find that issues concerning “whether

ECFMG had a relevant legal duty and whether it breached that duty”

were appropriate for certification. Id.




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     Applying Gates, the court concluded that the four “questions of duty

and breach favor issue certification because they are questions of law

and/or fact common to all class members and subject to common proof.”

JA59–60. The court found that all class members are “identical in terms

of their legal relationship to ECFMG,” such that “ECFMG owes the same

duty (if any)” to all. JA60. Likewise, whether ECFMG breached its duty

“is a common question of fact for each prospective class member,” because

it turns on ECFMG’s conduct, not that of individual class members. JA60.

     The court found that certifying a class on duty and breach would

permit “a single, preclusive determination about ECFMG’s conduct” and

avoid repetitive presentation of the same extensive evidence to one jury

after another. Id. Moreover, no other similarly efficient “procedural

alternatives” were available. Id. For example, the court observed that

there is no guarantee that collateral estopped would enable a single,

controlling resolution, because ECFMG would not be able to use a

possible favorable decision against a different plaintiff in a later case. Id.

     Finally, the court concluded that certifying an issue class would not

“trigger any of the problems about which courts must be mindful under

Gates.” JA61. Partial certification will not impair a class member’s

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statutory or constitutional rights or affect any indivisible remedies, and

the individual proceedings on causation and damages will not impact one

another. And issue certification will not implicate Seventh Amendment

problems, because juries in subsequent individual proceedings will not

reconsider the class jury’s factual determinations. Id.

     The district court accordingly certified an issue class under Rule

23(c)(4), comprising all patients treated by Igberase since he entered

Howard in 2007. JA63–64. The certification identified four issues for

classwide resolution: (1) whether ECFMG undertook or otherwise owed a

duty to class members; (2) whether ECFMG undertook or otherwise owed

a duty to hospitals and state medical boards, such that ECFMG may be

held liable to class members pursuant to Restatement (Second) of Torts §

324A; (3) whether ECFMG breached any duty that it owed to class

members; and (4) whether ECFMG breached any duty that it owed to

hospitals and state medical boards. Id. at 2.

                      SUMMARY OF ARGUMENT

     The elements of duty and breach central to Plaintiffs’ negligence

claims are tailor-made for issue class certification. These claims concern a

single course of conduct (negligent certification and investigation of

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Igberase), in one state (Pennsylvania), by a single defendant (ECFMG),

that gave rise to claims based on a single legal theory (negligence)

common to all class members, and that resulted in the same type of injury

(emotional harm). ECFMG’s duties, or breaches of those duties, do not

differ as to any class members. No class members are subject to unique

defenses or have fundamental conflicts of interest with the class. Far from

constituting an abuse of discretion, certifying the elements of duty and

breach for classwide treatment carries out the text and spirit of Rule 23.

     ECFMG’s brief never confronts the core realities of the litigation or

the district court’s appropriate use of Rule 23(c)(4) as a case management

tool. It proceeds largely through misdirection, seeking to shift the focus

from evidence to speculation, from the record that exists to the record-as-

wished-for, from settled precedent to novel or discredited theories.

     ECFMG begins its attack with the Rule 23(a) elements of typicality

and adequacy, which it treats synonymously. ECFMG does not address

the well-grounded reasoning and precedent supporting the district court’s

finding that the named Plaintiffs’ claims are typical because they arise

from exactly the same circumstances as those of the class. ECFMG would

have plaintiffs “prove,” and district courts “find,” what constitutes a

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typical harm among hundreds of class members before a class is even

certified. No case ECFMG cites even recommends such unworkable

certification procedures, let alone requires them.

     ECFMG’s attack on the district court’s finding of adequacy is

equally flawed. ECFMG challenges Plaintiffs’ adequacy because they

supposedly seek to “inflict emotional distress” on class members (Br. 22)

by informing them they were treated by Igberase. ECFMG’s judgment

that it is better for class members to be kept in ignorance is not grounded

in precedent. Moreover, class counsel already represent several hundred

likely class members, and the record shows the vast majority learned of

Igberase’s conduct through news coverage, which was extensive.

ECFMG’s claim that notice of the class action will harm class members,

or even surprise them, is speculative.

     ECFMG’s alternative argument that Plaintiffs are inadequate

because they “abandoned” class members’ hypothetical claims for physical

injury is also unsupported by the record. ECFMG identifies no class

members with such claims. As the district court correctly observed,

certification will not bar class members from suing Igberase and entities

that provided medical care to them, and members who wish to pursue

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non-emotional harm claims against ECFMG can opt out. Suing ECFMG,

a non-healthcare provider, for medical malpractice does not appear

possible under Pennsylvania law, and is likely also barred by the statute

of limitations.

     ECFMG’s contention that the district court erred by certifying an

issue class without separately analyzing Rule 23(b)(3) is misguided. The

district court applied the Gates factors, which incorporate the necessary

analysis under Rule 23(b)(3) and (c)(4). The American Law Institute

developed those factors to address the interplay between those two

sections of Rule 23. The Court should not accept ECFMG’s invitation to

rewrite Gates by adopting a footnote from Castano v. Am. Tobacco Co., 84

F.3d 734 (5th Cir. 1996), which Gates expressly declined to adopt, and

which conflicts with the consensus of courts and the Advisory Committee

on Civil Rules. The Gates factors provide a roadmap to determine whether

aggregate treatment of common issues is warranted, and ensure that

issue classes are certified only when classwide resolution of common

issues meaningfully advances fair and efficient disposition of cases.

     Finally, the district court’s findings as to the Gates factors were well

within its discretion. The district court correctly ruled Pennsylvania law

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applies to claims based on a Pennsylvania corporation’s conduct in

Pennsylvania. ECFMG attempts to circumvent that ruling by invoking a

section of the Restatement (Second) of Conflicts of Law different from the

one both ECFMG and the district court relied on below. The cited

provision, however, applies to claims for pecuniary loss resulting from

fraud, not negligence claims for emotional harm damages.

      ECFMG also seeks to erect a per se bar against class treatment of

any issue in a claim seeking damages for emotional harm. No precedent

suggests this result, which violates the fundamental principle that the

Federal Rules of Civil Procedure apply trans-substantively, i.e., in the

same manner to all claims. District courts managing cases including

claims for emotional-harm damages should not be deprived of the

efficiencies Rule 23(c)(4) can achieve when, as here, the alternative is to

litigate identical questions hundreds of times, with potentially varying

results.

                        STANDARD OF REVIEW

     District courts have “broad discretion” to certify classes, In re

Constar Int'l Inc. Sec. Litig., 585 F.3d 774, 780 (3d Cir. 2009). This court

reviews certification for abuse of discretion, “which occurs if the district

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court's decision rests upon a clearly erroneous finding of fact, an errant

conclusion of law or an improper application of law to fact.” In re

Suboxone (Buprenorphine Hydrochlorine & Naloxone) Antitrust Litig., 967

F.3d 264, 269 (3d Cir. 2020) (citation and quotes omitted). A factual

finding is clearly erroneous only if the appellate court is “‘left with the

definite and firm conviction that a mistake has been committed.’” Johnson

v. SmithKline Beecham Corp., 724 F.3d 337, 345 (3d Cir. 2013) (citation

omitted).

      The abuse of discretion standard applies both to the ultimate

certification decision and to rulings on individual prerequisites to

certification. In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 34

(2d Cir. 2009). Review is “particularly deferential” on interlocutory appeal

of class certification. Gunnells v. Healthplan Servs., Inc., 348 F.3d 417,

424 (4th Cir. 2003). If this Court finds a district court’s certification

analysis insufficiently rigorous, the appropriate remedy is remand, not

reversal. Reinig v. RBS Citizens, N.A., 912 F.3d 115, 130 (3d Cir. 2018).




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                                ARGUMENT

I.   The district court did not abuse its discretion in finding that
     Plaintiffs satisfy the elements of typicality and adequacy.

     A.    The Plaintiffs’ claims are typical.

           1.    Precedent contradicts ECFMG’s assertion that
                 harm must be typical.

     Federal Rule of Civil Procedure 23(a)(3) requires that class

representatives’ claims be “typical of the claims ... of the class.” This

Circuit has “set a ‘low threshold’ for typicality.” In re Nat'l Football

League Players Concussion Injury Litig., 821 F.3d 410, 428 (3d Cir. 2016),

as amended (May 2, 2016) (citation omitted). The typicality prong is

normally met where “claims of representative Plaintiffs arise from the

same alleged wrongful conduct.” In re Warfarin Sodium Antitrust Litig.,

391 F.3d 516, 532 (3d Cir. 2004).

     Courts consider three factors in evaluating typicality: (1) the class

representatives’ claims should mirror the class’s claims relative to “(a) the

legal theory advanced and (b) the factual circumstances underlying that

theory”; (2) the class representatives’ claims should not be subject to

defenses that are “inapplicable to many members of the class and likely to

become a major focus of the litigation”; and (3) the class representatives’

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interests and incentives should align with those of the class. Marcus v.

BMW of N. Am., LLC, 687 F.3d 583, 598 (3d Cir. 2012). Even “relatively

pronounced factual differences will generally not preclude a finding of

typicality where there is a strong similarity of legal theories or where the

claim arises from the same practice or course of conduct.” In re NFL

Players, 821 F.3d at 428 (quotes omitted).

     The district court appropriately applied these criteria. JA51–52. It

found Plaintiffs’ claims were typical of those of class members Igberase

treated at Howard and in Maryland because “[a]ll of the claims arise from

the same legal theory: negligence” and “a single course of conduct by

ECFMG: the certification and subsequent (allegedly inadequate)

investigation of his identity.” JA52. There was no evidence Plaintiffs were

subject to unique defenses or had interests opposed to the class. Id.

     ECFMG does not contest these findings. Instead, it attempts to shift

the conversation by urging the Court to adopt an extra-textual

requirement that the representatives’ “injury” be typical. It concedes,

however, that “[t]ypicality may also be satisfied where class members

suffered a different injury than the proposed class representatives, so long

as all the injuries are shown to result from a single challenged practice,”

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and that not all members of the class need to have suffered an injury. Br.

20. Paradoxically, ECFMG insists the district court was required to find

that “emotional distress was a typical reaction of class members”; if so,

“then the possibility of uninjured (atypical) class members would be no

bar to certification.” Id.

      ECFMG adduces no precedent showing that Rule 23(a)(3) requires

that the injury or harm class representatives have suffered be typical of

those of the class. This Court has expressly disagreed with any such

requirement (see In re NFL Players, 821 F.3d at 428), consistent with the

consensus view (see 1 Newberg on Class Actions § 3:43 (5th ed., June 2020

update)).

      ECFMG misreads In re Prudential, 148 F.3d 283 (3d Cir. 1998) as

indicating that “typicality is satisfied where class members ‘all have

claims.’” Br. 20. There, this Court observed that class members all had

claims—but never held that was required for typicality or certification.

      ECFMG also misreads General Telephone Company of Southwest v.

Falcon, 457 U.S. 147 (1982) as stating harm must be typical. But Falcon

instructs that a district court may find typicality without concluding class




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members suffered harm, as long as the conduct complained of is common.

Id. at 159.

     ECFMG cites Parsons v. Ryan, 754 F.3d 657 (9th Cir. 2014)—a civil

rights action for negligent prison medical care—but it, too, supports

Plaintiffs. Parsons held differences in past injuries or current healthcare

needs of the named plaintiffs and class members did not preclude a

finding of typicality. Id. at 686. Parsons held the class representatives

typical for the same reason the district court did here. Id.

     ECFMG also wrongly invokes Oshana v. Coca-Cola Co., 472 F.3d

506 (7th Cir. 2006). There, typicality was not satisfied because the class

included people who knew fountain Diet Coke contained saccharine but

bought it anyway, whereas the named Plaintiff complained she was

deceived. Id. The court also held Oshana’s claim was subject to a range of

unique defenses. Here, by contrast, no patient knew about Igberase’s

fraud, much less ECFMG’s role in enabling it, before his 2016 conviction.

ECFMG has asserted no unique defenses against Plaintiffs.

     Finally, ECFMG misreads the record. It claims Plaintiffs

“acknowledged that the proposed class includes members who did not

experience similar emotional distress.” Br. 19. In fact, Plaintiffs’ counsel

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said it is possible the class would include individuals who did not suffer

harm, but that does not defeat ascertainability—the subject under

discussion at that point. See JA1392 at 12:17–25. And ECFMG

acknowledges that the presence of uninjured class members does not

defeat certification. Br. 20.

            2.    The Court should reject ECFMG’s novel typicality
                  criterion.

      ECFMG’s proposed alteration of this Court’s typicality

jurisprudence would eviscerate the class device. It is unclear how

Plaintiffs would “show” and a district court “find” before certification, that

emotional distress was a typical reaction among class members without

conducting hundreds of depositions of class members—an entirely

unworkable process.

      Requiring typicality of harm is particularly inappropriate in the

context of the district court’s issue-class certification, which includes no

questions regarding injury. Possible variations in the emotional harm

suffered by class members have no bearing on the alignment of interests

between the named Plaintiffs and the class on the certified issues of duty

and breach.



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           3.    The record indicates that the vast majority of
                 known class members suffered emotional harm.

     This Court “may affirm the District Court's judgment on any basis

supported by the record.” Murray v. Bledsoe, 650 F.3d 246, 247 (3d Cir.

2011) (citation omitted). Plaintiff’s certification motion cited Dr.

Steinberg’s expert report, see JA182, which found that an overwhelming

majority (89%) of hundreds of class members surveyed experienced

emotional harm as a result of Igberase’s conduct, and 84% still do. JA587.

Record evidence thus confirms emotional harm was a typical result of

ECFMG’s negligence.

     B.    ECFMG’s claim that Plaintiffs will “inflict emotional
           distress” on the class is false and speculative.

     Rule 23(a)(4) requires that “the representative parties will fairly

and adequately protect the interests of the class.” Although adequacy can

overlap with typicality, it addresses a distinct concern: whether the class

representatives have conflicts of interest with the class. See New

Directions Treatment Svcs. v. City of Reading, 390 F.3d 313 (3d Cir. 2007).

Only a “fundamental” conflict of interest can defeat adequacy. See Dewey

v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 183 (3d Cir. 2012).



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     ECFMG identifies no such conflict, but instead contends that

certification will necessarily “inflict emotional distress” on class

members—even while it faults the district court for not finding this

reaction typical. According to ECFMG, class members are better off not

receiving court-approved notice of the allegations against ECFMG or their

potential right of redress.

     The district court performed a focused analysis of possible conflicts

between named Plaintiffs and the class. JA54–55. It correctly found that

there is no “‘fundamental’ conflict of interest,” because no class members

benefited from conduct that harmed other class members—Igberase’s

deception and ECFMG’s negligence. JA55. The district court further

found that “[n]othing before the Court demonstrates that the Plaintiffs

have incentives that are at odds with the class they seek to represent.”

JA52.

     ECFMG’s only response is that class members will be upset upon

receiving class notice and learning of the allegations against ECFMG. It

cites no authority suggesting that this possibility affects Plaintiffs’

adequacy, let alone amounts to a fundamental conflict. And it cites no

record evidence supporting the argument. The majority of the 712 class

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members known to exist (see JA616) are already aware of Igberase’s

misconduct and ECFMG’s role in facilitating it. ECFMG’s own opposition

to certification included names of over 500 clients Class Counsel

represent individually for claims arising from ECFMG’s and Igberase’s

misconduct. See JA858–62, 880–86.1 Igberase’s fraud and ECFMG’s role

also received widespread media coverage, long before class certification.2

Class notice will not add to the emotional impact ECFMG’s conduct has

already had on the class.

     This Court rejects speculative arguments against certification. In re

Suboxone, 967 F.3d at 273. The Court should be still more reluctant to

give credence to a defendant’s speculation that prospective plaintiffs are

better off not knowing about its conduct. The Court could just as easily

conclude that notice will make class members feel empowered, because

their entitlement to justice is being taken seriously.


1Even if the Court otherwise credited ECFMG’s argument, it would still
not justify decertification with respect to these class members.
2See, e.g., Kelsey McKinney, “A Shattering Breach of Trust: What
Happens to Patients When Their Doctor Is Not Who He Claimed to Be?”
StatNews (Jan. 3, 2019), https://tinyurl.com/y4vpqfpa; Whitney Wild, “Md.
Doctor Who Obtained Medical License Illegally Prompts Lawsuits,”
WUSA9 (Dec. 1, 2017), https://tinyurl.com/yykc43o8.


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     C.    The district court correctly concluded that certification
           will not create claim-splitting problems for class
           members.

     Claim-splitting concerns arise when “a valid and final judgment

rendered in an action extinguishes the plaintiff's claim pursuant to the

rules of merger or bar,” such that “the claim extinguished includes all

rights of the plaintiff to remedies against the defendant with respect to all

or any part of the transaction, or series of connected transactions, out of

which the action arose.” Restatement (Second) of Judgments § 24 (1982).

A class judgment “does not bar class members from pursuing individual

lawsuits that are not transactionally related to the class's claims,” such as

individual medical malpractice claims. 6 Newberg on Class Actions

§ 18:16. “Class members in class actions are not expected to join such

individualized claims to the class suit because to do so would undermine

the efficiency of the aggregate resolution of the common claims.” Id. at

§ 18:17.

     ECFMG falsely asserts that “the district court failed to consider

‘whether any potential future claims by class members with personal

injury would be at risk of being barred by res judicata.’” Br. 26. The

district court expressly addressed this precise concern. JA53. It found

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that class members who wished to assert additional claims against

ECFMG could opt out and assert them individually, and certification

would not prevent class members from asserting claims against Igberase.

Id.

      ECFMG selectively quotes Slade v. Progressive Security Insurance

Co., 856 F.3d 408 (5th Cir. 2017) to argue that opting out is “not a

panacea” and cannot cure the alleged inadequacy of class representatives

who “abandoned” the class’s potential medical malpractice claims. Slade,

however, also recognizes that “[r]efusing to certify a class because the

plaintiff decides not to make the sort of person-specific arguments that

render class treatment infeasible would throw away the benefits of

consolidated treatment.” Slade, 856 F.3d at 415. “Only when all or almost

all of the claims are likely to be large enough to justify individual

litigation is it wise to reject class treatment altogether.” Id. Here, there is

no indication that “all or almost all” of the individual claims are likely to

be large enough to be litigated entirely individually.

      Moreover, ECFMG’s claim-splitting argument founders on the

unavoidable reality that it is not a health-care provider under

Pennsylvania law. See 40 Pa. Stat. Ann. § 1303.503 (West 2020). And

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ECFMG never employed Igberase. Thus, it cannot be sued for medical

malpractice based on his conduct. See 231 Pa. Code Rule 1042.1 (West

2020). The proper defendants for a medical malpractice claim are

Igberase and his employers.

      In addition, Pennsylvania provides for a two-year statute of

limitations for medical malpractice claims that begins to run when the

plaintiff, exercising reasonable diligence, learns of her or his injury and

the defendant’s role in causing it. Bohus v. Beloff, 950 F.2d 919, 924 (3d

Cir. 1991). Here, that time has likely elapsed. The Department of Justice

announced Igberase’s guilty plea on November 15, 2016.3 The

announcement described ECFMG’s role in credentialing “Akoda.” Id. The

district court’s order cannot deprive the class members of a right they do

not have.

     Finally, ECFMG’s suggestion that providing notice and opt-out

rights in an issue class may be improper (Br. 23 n.4, 27) contradicts its

own concession below (JA1441 at 61:8–9). And several courts have



3Bowie Man Pleads Guilty to Misusing a Social Security Number to
Fraudulently Obtain a Medical License” (Nov. 16, 2016), U.S. Dep’t of
Justice, https://www.justice.gov/usao-md/pr/bowie-man-pleads-guilty-
misusing-social-security-number-fraudulently-obtain-medical.
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directed notice to the class after certifying issue classes under Rule

23(c)(4). See, e.g., McQuilken v. A & R Dev. Corp., 576 F. Supp. 1023, 1032

(E.D. Pa. 1983); Charron v. Pinnacle Grp. N.Y. LLC, 269 F.R.D. 221, 239,

244 (S.D.N.Y. 2010). The district court was well within its discretion in

rejecting challenges to Plaintiffs’ adequacy based on claim-splitting

concerns.

II.   Certification of a Rule 23(c)(4) issue class does not require a
      finding that a claim as a whole satisfies Rule 23(b).

      A.    The district court’s application of Gates satisfied Rule
            23(b)(3).

      Federal Rule of Civil Procedure 23(c)(4) provides that, “[w]hen

appropriate, an action may be brought or maintained as a class action

with respect to particular issues.” Rule 23(c)(4) “both imposes a duty on

the court to insure that only those questions which are appropriate for

class adjudication be certified, and gives it ample power to ‘treat common

things in common and to distinguish the distinguishable.’” Chiang v.

Veneman, 385 F.3d 256, 267 (3d Cir. 2004) (citation omitted), abrog. on

other grounds, In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 318

(3d Cir. 2008), as amended (Jan. 16, 2009).




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      In certifying the issue class here, the district court applied the

standards articulated in Gates, 655 F.3d at 272–74. Building on Chiang

and Hohider v. United Parcel Serv., Inc., 574 F.3d 169, 200–01 (3d Cir.

2009), Gates held that certification of an issue class requires identifying a

common issue that is “divisible from the individual issues” and “a rigorous

analysis on the effect ‘partial certification would have on the class action

going forward.’” 655 F.3d at 273 (quoting Hohider, 574 F.3d at 202).

      To structure consideration of whether issue certification will

advance a case’s resolution, Gates looked to the ALI’s Proposed Final

Draft of the Principles of the Law of Aggregate Litigation, §§ 2.02–05,

2.07–08 (2010) (“ALI Principles”), which the Court concluded “provide[s]

the most sound guidance in resolving this complicated area of class action

procedure.” 655 F.3d at 273. Based on the ALI Principles, Gates set forth

a “non-exclusive list of factors,” id., to guide courts in applying Rule

23(c)(4):

      [W]hen deciding whether or not to certify an issue class, the
      trial court should consider: the type of claim(s) and issue(s)
      in question; the overall complexity of the case; the
      efficiencies to be gained by granting partial certification in
      light of realistic procedural alternatives; the substantive law
      underlying the claim(s), including any choice-of-law
      questions it may present and whether the substantive law
      separates the issue(s) from other issues concerning liability
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      or remedy; the impact partial certification will have on the
      constitutional and statutory rights of both the class members
      and the defendant(s); the potential preclusive effect or lack
      thereof that resolution of the proposed issue class will have;
      the repercussions certification of an issue(s) class will have
      on the effectiveness and fairness of resolution of remaining
      issues; the impact individual proceedings may have upon one
      another, including whether remedies are indivisible such
      that granting or not granting relief to any claimant as a
      practical matter determines the claims of others; and the
      kind of evidence presented on the issue(s) certified and
      potentially presented on the remaining issues, including the
      risk subsequent triers of fact will need to reexamine
      evidence and findings from resolution of the common
      issue(s).

Id.

      Gates further instructed that, when certifying an issue class, a

district court should “explain how class resolution of the issue(s) will

fairly and efficiently advance the resolution of class members’ claims,

including resolution of remaining issues.” Id. Gates thus sets forth a

“functional” approach to determining whether an issue class will be

superior to individual adjudication of common issues. See, e.g., Martin v.

Behr Dayton Thermal Prods. LLC, 896 F.3d 405, 412–13 (6th Cir. 2018).

      Gates’s functional approach comports with Rule 23(b). The Gates

considerations ensure a finding that an issue class is “appropriate” under

Rule 23(c)(4) also encompasses a determination that a class action limited

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to the specified issues meets Rule 23(b)(3)’s demands that common issues

“predominate” and that class resolution be “superior to other available

methods for fairly and efficiently adjudicating” the certified issues.

Indeed, the U.S. Chamber of Commerce’s amicus brief recognizes Gates’s

overlap with Rule 23(b)(3). See Chamber Commerce Br. 15 (“Properly

applied, several of the Gates factors overlap with Rule 23(b)(3)’s

predominance and superiority requirements.”).

     As to predominance, Gates requires that the district court examine

the types of claims and issues in question, including the law applicable to

each, see Gates, 655 F.3d at 273, so that certification is limited to issues

turning on questions of law and fact that are common to the class as a

whole, are “separate[ ]” and “divisible” from other issues in the case, and

will advance fair and efficient resolution of the remaining issues. Id.

These requirements ensure common issues predominate the class action

as certified. See Martin, 896 F.3d at 413. Indeed, the approach of the ALI

Principles adopted in Gates was specifically designed to “identify[] with

greater precision the considerations reflected in the interplay between

Subsections (b)(3) and (c)(4) of Rule 23, as set forth in existing case law”




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and “delineate[ ] the multifaceted inquiries presently encapsulated under

the predominance concept.” ALI, Principles, § 2.02 cmt. a.

     In this case, the district court found that the issues of duty and

breach presented questions “common to all members of the class.” JA49.

The court further found that neither applicable law nor factual

circumstances that determine the answer to those questions vary among

class members. JA50–51. Accordingly, “the questions of duty and breach

favor issue certification because they are questions of law and/or fact

common to all class members and subject to common proof.” JA56–59. By

limiting certification to those issues, the court necessarily ensured that

common questions predominated the class action. As Judge Posner has

explained, “[i]f there are … only common questions, the issue of

predominance is automatically resolved.” Butler v. Sears, Roebuck & Co.,

702 F.3d 359, 361 (7th Cir. 2012).4

     With respect to superiority, Gates provides a focused framework for

considering whether issue certification is the best means of “fairly and



4The Supreme Court vacated and remanded Butler in light of Comcast
Corp. v. Behrend, 569 U.S. 27 (2013). See 569 U.S. 1015 (2013). On
remand, the Seventh Circuit reaffirmed its predominance analysis and
reinstated its judgment. See 727 F.3d 796 (2013).
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efficiently advanc[ing] the resolution of class members’ claims.” Gates, 655

F.3d at 273. The Gates considerations elaborate on Rule 23(b)(3)’s non-

exclusive list of “matters pertinent” to whether a class action is the

superior means of adjudication. Compare Fed. R. Civ. P. 23(b)(3)(A)–(D)

with Gates, 655 F.3d at 273. Gates’s functional approach does the same

work as Rule 23(b)(3)’s superiority requirement: It “ensures that courts

will not rely on issue certification where there exist only minor or

insignificant common questions, but instead where the common questions

render issue certification the superior method of resolution.” Martin, 896

F.3d at 413.

     In this case, the district court determined that issue certification

would result in “efficiencies” in resolving critical issues that could not be

achieved through “any realistic procedural alternatives.” JA60. The court

further found no offsetting drawbacks to issue certification. JA60–61.

These findings provide a textbook illustration of how applying Gates

results in issue class certification only when a district court concludes,

based on considerations tailored to the issue-class context, that class

resolution is superior to individual adjudication of the certified issues.




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      B.    Rule 23(c)(4) certification does not require that a class’s
            cause of action as a whole satisfy Rule 23(b)(3).


      Because the district court necessarily determined that the issue

class meets the requirements of predominance and superiority as to the

certified issues, ECFMG’s claim that the certification violates Rule 23(b)

depends on its argument that a court may not certify an issue class

without first determining whether the class’s cause of action, as a whole,

satisfies Rule 23(b)(3). ECFMG relies on a footnote in the Fifth Circuit’s

1996 Castano decision stating that an entire “cause of action must satisfy

the requirements of Rule 23(b)(3) before individual issues can be certified

under Rule 23(c)(4).” 84 F.3d at 745, n.21. ECFMG asks this Court to

“read” Gates as if it adopted Castano’s footnote. ECFMG Br. 35–36. But

Gates, the text of Rule 23, precedents from other circuits, and the

rulemakers’ deliberations all contradict ECFMG’s argument. A court need

not determine that a class’s cause of action as a whole satisfies Rule

23(b)(3) before certifying only part of it.

            1.    Gates rejected ECFMG’s argument.

      In Gates, this Court declined to adopt the Castano footnote’s

statement that an issue class may “be certified only when the cause of


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action, taken as a whole, meets the predominance requirement.” 655 F.3d

at 273. The court also declined to endorse specific opinions of other

circuits that had rejected Castano and instead adopted a multifactor

approach drawn from the ALI Principles. See id. The considerations Gates

derived from the Principles require attention to the relationship between

the certified issues and other issues in the case to determine whether they

can be “separate[d]” and to assess issue certification’s impact on the

ultimate resolution of the remaining issues. Id. Notably, those

considerations do not include whether the certified issues would

predominate if the class’s claims were viewed as a whole.

     Gates’s discussion of issue certification takes as its starting point

that the class’s claims, viewed as a whole, do not satisfy Rule 23(b)(3)’s

predominance requirement. Gates considered issue certification only after

determining the district court had correctly found that the plaintiffs’

claims in their entirety did not satisfy predominance. See id. at 270–72.

Gates then addressed whether an issue class may be certified “even if

common issues do not predominate” when claims are viewed as a whole.

Id. at 272. Had the Court intended to adopt a standard precluding

certification in those circumstances, that discussion would have been a

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very short one. Instead, Gates addressed at length the considerations that

would permit issue class certification if it would “fairly and efficiently

advance the resolution of class members’ claims.” Id. at 273. Gates cannot

be “read” to impose a requirement that would have made it unnecessary

to elaborate on those considerations.

           2.    ECFMG’s position contradicts Rule 23’s text.

     ECFMG’s argument that Rule 23(b)(3)’s requirements must be

satisfied by a class’s cause of action as a whole even when only specific

issues are certified contradicts the plain terms of the Rule. Rule 23(b) sets

forth requirements for a “class action” to be “maintained.” Rule 23(c)(4), in

turn, allows “an action” to be “maintained as a class action with respect to

particular issues” (emphasis added). In other words, the action is a “class

action” only as to those issues. A court cannot meaningfully consider

whether maintenance of that “class action” satisfies Rule 23(b)(3)’s

requirements without taking into account the bounds Rule 23(c)(4) places

on the “class action.” That is, the court must determine whether a “class

action” limited to the certified issues satisfies Rule 23(b), not whether the

rest of the action—which is not a class action—does so. Accordingly, in

applying Rule 23(b)(3) in the context of a Rule 23(c)(4) issues class, a

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court must consider whether common questions of law or fact

predominate with respect to the issues that fall within the class action,

and whether a class action limited to those issues is the superior means of

adjudicating them.

       As originally adopted, Rule 23(c)(4) made this point explicitly. It

stated: “When appropriate (A) an action may be brought or maintained as

a class action with respect to particular issues, or (B) a class may be

divided into subclasses and each subclass treated as a class, and the

provisions of this rule shall then be construed and applied accordingly.”

Fed. R. Civ. P. 23(c)(4) (1966). As the Second and Fourth Circuits

explained, that language means that other provisions of Rule 23 must be

applied after taking into account the class action’s limitation to particular

issues. See In re Nassau Cnty. Strip Search Cases, 461 F.3d 219, 226 (2d

Cir. 2006); Gunnells, 348 F.3d at 439. This “sequencing directive” was

eliminated in 2007 revisions of the Rules, but “the Advisory Committee

made clear that the changes to the Rule's language were ‘stylistic only.’

Fed. R. Civ. P. 23(c)(4) adv. comm. n. to 2007 amend.” Martin, 896 F.3d at

413.




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     The Rule’s structure and context, and the purposes evident from its

text, confirm that it cannot be read to allow certification of an issue class

only when Rule 23(b)(3) would permit certification of a class’s entire cause

of action. Rule 23(c)(4)’s broad grant of authority to certify issues “when

appropriate” incorporates the “flexibility in application” generally

appropriate under Rule 23. Gunnells, 348 F.3d at 424 (quoting In re A.H.

Robins, 880 F.2d 709, 740 (4th Cir. 1989)). The Rule permits courts to

give common treatment to common issues to advance fair and efficient

resolution of a case even when a broader certification would be

impermissible. Gates, 655 F.3d at 273.

     Permitting issue certification only when the class’s entire cause of

action could be certified under Rule 23(b)(3) would undermine that

objective and “render[ ] subsection (c)(4) virtually null.” Nassau, 461 F.3d

at 226; accord Martin, 896 F.3d at 413. If an entire cause of action

satisfied Rule 23(b)(3)’s requirements of predominance and superiority, a

district court would not need to certify a narrower issue class. Moreover,

under the Castano footnote’s approach, “a court considering the

manageability of a class action—a requirement for predominance under

Rule 23(b)(3)(D)—[would have] to pretend that subsection (c)(4)—a

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provision specifically included to make a class action more manageable—

does not exist until after the manageability determination [has been]

made.” Nassau, 461 F.3d at 227 (quoting Gunnells, 348 F.3d at 439).

Thus, “a court could only use subsection (c)(4) to manage cases that the

court had already determined would be manageable without consideration

of subsection (c)(4).” Id. (emphasis added by Nassau). Such a reading

would leave Rule 23(c)(4) “without any practical application, thereby

rendering it superfluous.” Gunnells, 348 F.3d at 439. Accepting ECFMG’s

reading would thus violate one of the most basic interpretive canons: that

a rule or statute “should be construed so that effect is given to all its

provisions, so that no part will be inoperative or superfluous.” Corley v.

United States, 556 U.S. 303, 314 (2009) (citations and quotation marks

omitted).

            3.   The circuits have rejected ECFMG’s rule.

     The disconnect between the Castano footnote and Rule 23’s text and

purposes has led all circuits that have addressed the question to reject the

view that Rule 23(c)(4) certification is available only when a cause of

action, viewed as a whole, satisfies Rule 23(b)(3)’s requirements. See

Martin, 896 F.3d at 413; Nassau, 461 F.3d at 227; Valentino v. Carter-

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Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996); see also Gunnells, 348

F.3d at 443 (rejecting view that an issue class can be certified only if the

entire action meets Rule 23(b)(3)’s requirements).

     The Seventh and Eighth Circuits, while not specifically discussing

the Castano footnote, have—like this Court in Gates—adopted a

functional approach to issue certification that is irreconcilable with a rigid

requirement that Rule 23(b)(3)’s criteria must be assessed with respect to

a cause of action as a whole. See McReynolds v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., 672 F.3d 482, 491 (7th Cir. 2012); In re St. Jude

Med., Inc., 522 F.3d 836, 841 (8th Cir. 2008).

     Not even the Fifth Circuit adheres to the Castano footnote. In

Castano itself, the footnote was dicta: the holding was the district court

had not properly found predominance or superiority even as to the

matters it certified. See 84 F.3d at 740–51. More recent Fifth Circuit

decisions—especially In re Rodriguez, 695 F.3d 360 (5th Cir. 2012), and In

re Deepwater Horizon, 739 F.3d 790 (5th Cir. 2014)—reflect a practical

approach to Rule 23(c)(4) in line with that of other circuits.

     In Rodriguez, the Fifth Circuit affirmed the “narrow class

certification” of a Rule 23(b)(2) class on the issue of injunctive relief even

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though damages claims arising from the same causes of action did not

satisfy Rule 23(b)(3)’s predominance requirement. 695 F.3d at 363. The

court stated that “Rule 23(c)(4) explicitly recognizes the flexibility that

courts need in class certification by allowing certification ‘with respect to

particular issues’ and division of the class into subclasses.” Id. at 369 n.13

(quoting Bolin v. Sears, Roebuck & Co., 231 F.3d 970, 976 (5th Cir. 2000)).

The court’s focus on whether the certified issue satisfied Rule 23(b), as

opposed to the cause of action as a whole, is incompatible with the

Castano footnote’s dicta.

     Deepwater Horizon also shows that the Fifth Circuit does not adhere

to the Castano footnote. Over objections that certification of a class did

not comport with Rule 23(b)(3) because common issues did not

predominate, Deepwater Horizon held that certification was “in

accordance with … Rule 23(c)(4).” 739 F.3d at 806; see also id. at 815–16.

The Fifth Circuit stated that “‘determining liability on a class-wide basis,

with separate hearings to determine—if liability is established—the

damages of individual class members, or homogeneous groups of class

members, is permitted by Rule 23(c)(4) and will often be the sensible way

to proceed.’” Id. at 806 n.66 (quoting Butler v. Sears, Roebuck & Co., 727

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F.3d 796, 800 (7th Cir. 2013) (Posner, J.), cert. denied, 571 U.S. 1196

(2014)). Deepwater Horizon approvingly cited decisions of “many circuits”

that had “divided and tried” “common and individual issues” “by means of

… Rule 23(c)(4), which permits district courts to limit class treatment to

‘particular issues’ and reserve other issues for individual determination.”

Id. at 816. The decision never once cited Castano.

     Academic authorities have noted the circuits’ “emerging consensus”

on a practical approach to Rule 23(c)(4) issue certification that does not

depend on whether a cause of action as a whole meets the Rule 23(b)(3)

criteria.5 As Professor Samuel Issacharoff (Reporter of the ALI Principles

of the Law of Aggregate Litigation relied on by this Court in Gates) and

Elizabeth Cabraser have put it, “The world has moved since Castano.”6

The view of the circuits aligns with that of major treatises on civil

procedure and class actions, which agree that Rule 23(c)(4) certification




5See, e.g., Elizabeth Chamblee Burch, Constructing Issue Classes, 101 Va.
L. Rev. 1855, 1892 (2015).
6Elizabeth J. Cabraser & Samuel Issacharoff, The Participatory Class
Action, 92 N.Y.U. L. Rev. 846, 871 (2017).
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should depend on the practical benefits of class resolution of a common

issue.7

              4.    The rulemakers rejected ECFMG’s proposed
                    approach.


      The recent rejection of possible amendments to Rule 23(c)(4) by the

Advisory Committee on Civil Rules reflects the rulemakers’ satisfaction

with the circuits’ agreement on a flexible approach to issue certification.

The Advisory Committee’s Rule 23 Subcommittee began considering

whether to amend Rule 23(c)(4) in August 2014, when a group of

corporate counsel and defense bar practitioners proposed amending the

Rule to incorporate the Castano footnote’s approach.8 After considering

the issue, the Subcommittee reported in 2015 that “recent reports suggest

that all the circuits are coming into relative agreement that in

appropriate cases Rule 23(c)(4) can be used even though full Rule 23(b)(3)




7See, e.g. 2 Newberg on Class Actions § 4:91; 5 James Wm. Moore,
Moore’s Federal Practice § 23.86 (3d ed. 2011); Jay Tidmarsh & Roger H.
Trangsrud, Modern Complex Litigation 490 (2d ed. 2010).
8Lawyers for Civil Justice, Repairing the Disconnect Between Class
Actions and Class Members: Why Rules Governing “No-Injury” Cases,
Certification Standards for Issue Classes, and Notice Need Reform (Aug.
13, 2014), http://www.uscourts.gov/file/17648/download.
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certification is not possible due to the predominance requirement.”9 The

Advisory Committee concurred that the courts are “converging on the

view that predominance is required only as to the issues.”10

        Thereafter, the Subcommittee took amending Rule 23 to embody the

Castano footnote off the table but continued to consider amending Rule 23

to confirm that predominance as to an entire claim is not a prerequisite to

Rule 23(c)(4) certification.11 It concluded such an amendment was

unnecessary, because “[t]he various circuits seem to be in accord about

the propriety of [issue class] treatment ‘[w]hen appropriate,’ as Rule

23(c)(4) now says.”12 The Advisory Committee accordingly advised the

Standing Committee on Rules of Practice and Procedure that there was




9Rule 23 Subcomm. Report 39, in Advisory Comm. on Civ. Rules, Agenda
Book, April 9–10, 2015, at 281 (emphasis added),
https://www.uscourts.gov/sites/default/files/fr_import/CV2015-04.pdf.
10   Id. at 41.
11 Rule 23 Subcomm., Introductory Memorandum for Mini-Conference on
Rule 23 Issues, Sept. 11, 2015, at 40, in Advisory Comm. on Civ. Rules,
Agenda Book, Nov. 5–6, 2015, at 226, https://www.uscourts.gov/
sites/default/files/2015-11-civil-agenda_book.pdf.
12 Rule 23 Subcomm. Report 4, in Advisory Comm. on Civ. Rules, Agenda
Book, Nov. 5–6, 2015, at 5, https://www.uscourts.gov/
sites/default/files/2015-11-civil-agenda_book.pdf.
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no need to amend Rule 23(c)(4).13 The Rule 23 amendments the Standing

Committee sent the Supreme Court in 2017 therefore did not change Rule

23(c)(4).14 ECFMG’s request that this Court adopt the Castano footnote

would undo the results of the Advisory Committee’s careful deliberations.

            5.   ECFMG’s argument would entitle it at most to
                 remand.

     ECFMG concedes that common liability issues may predominate

over individual issues of causation and damages when a cause of action is

viewed as a whole. Br. 34. Thus, even under ECFMG’s approach, the Rule

23(c)(4) certification here would be permissible on such a finding. The

district court’s enumeration of the benefits of issue certification leaves

little doubt that it would make such a finding, but if there were any

doubt, the district court should have the opportunity to consider the issue

if this Court reversed the course set in Gates and adopted the Castano

footnote.



13See Comm. on Rules of Practice and Procedure, Minutes, Jan 7, 2016, at
11–12, https://www.uscourts.gov/file/20044/download; Advisory Comm. on
Civ. Rules, Report to the Standing Committee, Dec. 11, 2015, at 27
(emphasis added), https://www.uscourts.gov/sites/default/files/2015-12-11-
cv_rules_committee_report_0.pdf.;
14See Comm. on Rules of Practice and Procedure, Minutes, June 12–13,
2017, at 27–28, https://www.uscourts.gov/file/24103/download.
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III. The district court did not abuse its discretion under Gates.

     A.    The district court thoroughly considered the Gates
           factors.

     ECFMG contends the district court’s analysis was insufficiently

rigorous, because “only four paragraphs of the opinion discuss whether

Rule 23(c)(4) and Gates permit the certification ordered by the district

court.” Br. 40. ECFMG paints the district court’s detailed certification

decision in a false light. The court cited or discussed Gates throughout its

opinion. See JA41–43, JA56, JA57, JA59–62. It addressed several Gates

factors before the lengthy paragraphs (spanning four full pages) that

ECFMG identifies. For example, the substantive law underlying the claim

(including choice of law) is thoroughly addressed earlier in the opinion, at

JA43–46.

     No precedent sets a threshold on the number of pages a rigorous

analysis requires. Gates itself spent four paragraphs applying the factors

it adopted. Gates, 655 F.3d at 273–74. The district court’s comprehensive

discussion of the Gates factors reflects no abuse of discretion.




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      B.     Plaintiffs addressed choice of law.

      ECFMG confuses the burden of showing certification is warranted

with the burden of addressing conflicts of law. Plaintiffs bear the latter

burden only when the defendant first demonstrates that multiple bodies

of law apply. See, e.g., Principles of the Law of Aggregate Litigation § 2.05

cmt. f (2020); Patrick Woolley, Choice of Law and the Protection of Class

Members in Class Suits Certified Under Federal Rule of Civil Procedure

23(b)(3), 2004 Mich. St. L. Rev. 799, 811 (2004). Under Pennsylvania law,

a class-action defendant has the burden of showing that the law of

another state applies or, if it does, that a true conflict exists. See, e.g.,

Parsky v. First Union Corp., 51 Pa. D. & C.4th 468, at 12 & n.28 (Com. Pl.

2001).

      Though it was not their burden to do so, Plaintiffs demonstrated

that choice-of-law considerations support certification. ECFMG claims

Plaintiffs did nothing more than state they were unaware of meaningful

conflicts. Br. 42. That is false. In their certification motion, Plaintiffs

showed that Pennsylvania choice-of-law rules would resolve any conflict

in favor of Pennsylvania law. JA194–95. As Plaintiffs explained,

Pennsylvania abandoned the lex loci delicti rule in favor of a more flexible

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interest- and policy-based analysis, under which “‘the state in which

injury occurred, as such, has relatively little interest in the measure of

damages to be recovered unless it can be said with reasonable certainty

that defendant acted in reliance on that state’s rule.’” JA195 (quoting

Griffith v. United Air Lines, Inc., 203 A.2d 796, 805 (Pa. 1964)). Plaintiffs

argued that there is no evidence ECFMG relied on the law of any other

state in certifying Igberase, and that “‘the reliance argument is almost

totally untenable’” in negligence cases. Id. (quoting Griffith).

     ECFMG’s response ignored this language in Griffith. ECFMG

pointed to one alleged difference between Pennsylvania and Maryland

law—that Maryland doesn’t recognize the tort of negligent infliction of

emotional distress. ECFMG ignored that Maryland allows emotional

distress damages in negligence actions without bodily injury. See

Hamilton v. Ford Motor Credit Co., 502 A.2d 1057, 1066 (Md. Ct. Spec.

App. 1986). ECFMG did not establish that this difference was a true

conflict requiring application of interest analysis; rather, as the district

court recognized (Tran. 43:24–25), it simply asserted that Maryland’s

interest was greater, without enumerating and weighing Pennsylvania’s.




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JA732. ECFMG never argued that section 148 of Restatement (Second) of

Conflicts of Law was implicated, as it does here.

     Plaintiffs replied that ECFMG’s claimed conflict was a false one

“because Pennsylvania has a strong interest in regulating the conduct of

its domiciliary corporations by applying its substantive tort law, and

other jurisdictions have no interest in applying their own law when doing

so would limit their citizen’s right to recover, to the benefit of a foreign

corporation. JA1357–1358 (citing Lacey v. Cessna Aircraft Co., 932 F.2d

170, 187–88 (3d Cir. 1991)). Subclassing under Rule 23(c)(5) can resolve

true conflicts that might arise. JA1358. ECFMG’s sur-reply did not

respond to the latter point or weigh Pennsylvania’s interest, but instead

speculated about Maryland’s interest in protecting its physicians from

claims for negligent infliction of emotional distress, which is irrelevant

here. JA1378.

     At the certification hearing, Plaintiffs again explained the absence

of a true conflict. JA1386 at 6:21–7:10. ECFMG acknowledged that even

under its theory, only a few states’ laws could be applied, because class

members were treated by Igberase only in Maryland and the District of

Columbia. JA1422 at 42:9–18. The district court thus had the benefit of

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considerable argument on choice of law in Plaintiff’s brief and the

hearing.

     C.    The district court did not abuse its discretion in
           determining that Pennsylvania law applies.

     The district court’s analysis was not “cursory” (Br. 42), nor did it

merely “rely[] on the representation” (id.) that Plaintiffs were unaware of

relevant conflicts. The court did not require ECFMG to demonstrate how

meaningful variations in state law precluded certification (although it

could properly have done so). Rather, it inquired into choice of law

extensively at the hearing. JA1386 at 6:21–7:18, JA1420 at 40:8–47:19. It

then independently and carefully analyzed the applicable law. JA43–46.

The court found no real differences in the elements of

negligence/negligent inflection of emotional distress in the laws of

Pennsylvania and DC. It added, for the sake of completeness—not as an

allocation of burden—that the parties had identified no such differences.

JA45. Although Maryland does not recognize negligent infliction of

emotional distress as a distinct claim, the court correctly recognized

Maryland permits recovery for emotional distress arising out of

negligence. JA45 (citing Hamilton v. Ford Motor Credit Co., 502 A.2d

1057, 1066 (Md. Ct. Spec. App. 1986)). Thus, the court concluded, there
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were no true conflicts of law. Id. Even if there were, the court explained,

Pennsylvania has a more significant relationship to the case, which

concerns ECFMG’s conduct, not Igberase’s. JA45–46.

     ECFMG never addresses these findings directly. Instead, it argues

for the first time that Section 148 of the Restatement (Second) of Conflict

of Laws applies here. Section 148 only applies where “the plaintiff has

suffered pecuniary harm on account of his reliance on the defendant's

false representations.” Restatement (Second) Conflicts of Law § 148(a) &

cmt.a, c. Plaintiffs do not assert claims of fraud or misrepresentation

against ECFMG, nor do they seek recovery for pecuniary harm. See, e.g.,

JA391 at 26:13–25. It was hardly an abuse of discretion for the district

court not to consider a plainly inapplicable section of the Restatement

that was never presented to it.

     Finally, ECFMG suggests that applying Pennsylvania law will give

rise to “difficult constitutional questions under the Commerce Clause.” Br.

45. The sole case it cites concerns whether a Connecticut beer-pricing

statute unconstitutionally discriminated against interstate commerce.

Healy v. Beer Inst., Inc., 491 U.S. 324, 335 (1989). Healy nowhere

discusses choice of law. ECFMG never shows how applying Pennsylvania

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law to a Pennsylvania corporation’s conduct in Pennsylvania would

discriminate against interstate commerce.

     D.    There is no per se bar on issue certification of claims
           involving emotional harm.

     ECFMG falsely claims the district court did not consider “the type of

claim(s) and issues in question.” The district court recognized this factor

as part of the Gates analysis. JA42. It considered the elements of

negligence and negligent infliction of emotional distress, JA45, addressed

commonality, adequacy and typicality in light of those elements, JA50–55,

and considered the nature of the claims in refusing to certify the issue of

liability for classwide treatment. JA58. The court likewise considered the

nature of the claims in certifying issues of duty and breach, which, it

explained, were common to all class members. JA60.

     ECFMG, however, asserts that Rule 23(c)(4) categorically excludes

certification of any issue arising from a claim for emotional distress

damages. Br. 15 (“Plaintiffs’ request for damages for emotional distress

should have foreclosed class certification.”) This assertion is contrary to

first principles. The Federal Rules of Civil Procedure are trans-

substantive. See, e.g., Stephen B. Burbank, The Rules Enabling Act of

1934, 130 U. Pa. L. Rev. 1015, 1108 (1982). Rule 23 does not apply to
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some kinds of actions but not others. Id. Instead, Rule 23 “creates a

categorical rule entitling a plaintiff whose suit meets the specified criteria

to pursue his claim as a class action.” Shady Grove Orthopedic Assoc. v.

Allstate Ins. Co., 559 U.S. 393, 398 (2010).

      The authorities ECFMG cites do not support its argument. Spence v.

Board of Education of Christina School District, 806 F.2d 1198 (3d Cir.

1986), was not a class action, but an individual claim for retaliatory

transfer. The issue on appeal concerned the application of Gasoline

Products Co. v. Champlin Refining Co., 283 U.S. 494 (1931), to determine

whether damages could be re-tried on a limited factual presentation, in

the context of “a tangled and complex fact situation.” Id. at 1202. Unlike

this case, the plaintiff sought punitive damages, which would require

presenting evidence of the entirety of defendant’s conduct in a damages

retrial. Id.

      Spence did not hold that emotional distress liability and damages

are always “‘too interwoven to allow a fair determination of damages

apart from liability.’” Br. 47 (quoting id. at 1202). Spence held only that

the district court had not abused its discretion in not allowing a damages-

only retrial on that record, 806 F.2d at 1202—not that a district court

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cannot try issues of liability and emotional distress damages separately in

a class action. And it did not hold that issues of duty and breach within

liability could not be tried separately from causation and damages where,

as here, the facts bearing on the defendant’s breach of duty have little

bearing on whether particular individuals suffered compensable harm.

      No reported decision has applied Spence to bar certification and trial

of liability (much less issues within liability) separately from damages.

Although “[t]he universal requirement of a causal link between liability

and damages means that the issues can never be completely unlinked ... it

is clear that in many cases damages may justly be tried apart from

liability.” Pryer v. C.O. 3 Slavic, 251 F.3d 448, 461 (3d Cir. 2001). The

Federal Rules of Civil Procedure “expressly authorize such separate

trials.” Id. at 461 n.9 (citing Fed R. Civ. P. 42(b)).

      Courts in this and other circuits often try or re-try liability and

emotional harm damages separately. In Gunnells, the Fourth Circuit

affirmed an order granting issue-class certification, where mini-trials on

proximate cause and damages, including emotional distress damages,

would have followed the class trial on the certified issues. See Gunnells,

348 F.3d at 426–30, 454–56; see also Walters v. Mintec/Int'l, 783 F.2d 73,

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82 (3d Cir. 1985) (ordering new trial on emotional and pecuniary damages

only in wrongful death claim); Martell v. Boardwalk Enters., Inc., 748

F.2d 740, 755 (2d Cir. 1984) (permitting retrial on damages including

psychological injury where first jury answered special interrogatories on

liability); see also Rosa v. City of Chester, 278 F.2d 876, 882 (3d Cir. 1960)

(“Federal appellate and district courts have time and again ordered new

trials as to damages only.”).

     Rutstein v. Avis Rent-A-Car Sys., Inc., 211 F.3d 1228 (11th Cir.

2000) is wholly distinguishable. It concerned a putative class action under

42 U.S.C. § 1981 that the district court certified under Rule 23(b)(3), not

(c)(4). Classwide determination of whether a hypothesized policy of racial

discrimination existed would not have resolved any elements of the § 1981

action, because individual proof of intentional racial discrimination would

still have been required. By contrast, all class members stand on the same

legal footing vis-à-vis ECFMG, allowing classwide resolution of issues of

duty and breach that will materially advance the litigation.

     Similarly, the Seventh Circuit’s decision in Aiello v. Providian

Financial Corp., 239 F.3d 876 (7th Cir. 2001) does not hold categorically

“that a case seeking recovery for emotional distress ‘is not suitable for

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class action treatment.’” Br. 49. There, a debtor sought emotional harm

damages under 11 U.S.C. § 362(h) after a creditor sent her a letter

requesting reaffirmation of a debt after a bankruptcy stay. Aiello affirmed

dismissal of her individual claim because, it held, financial loss is a

prerequisite to any recovery under that statute. Aiello, 239 F.3d at 881.

The court then briefly affirmed denial of class certification on the grounds

that class counsel were inadequate and that, in light of the

insubstantiality of the claimed injuries and the variances among class

members, certification would be inefficient and excessively costly. Id.

Those circumstances are not present here, and Aiello says nothing about

issue certification.

      ECFMG wrongly claims the ALI Principles “recognize that

aggregate treatment of narrow issues in personal injury claims is rarely

appropriate.” Br. 48. On the contrary, section 2.01 of the Principles, on

which ECFMG relies, says “[c]ommon issues are those legal or factual

issues that are the same in functional content across multiple civil claims,

regardless of whether their disposition would resolve all contested issues

in the litigation.” Here, duty and breach are the same in functional

content across all claims. Indeed, ECFMG has not challenged the district

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court’s findings that these are common issues. Moreover, the district court

expressly found that these issues are not intertwined with issues that are

not common, such as individualized defenses.

      This Court has consistently held that individualized damages

determinations “do not ordinarily preclude the use of the class action

device.” See, e.g., In re Suboxone, 967 F.3d at 272. Such determinations

presuppose classwide resolution of issues of duty and breach favorable to

the plaintiffs. In this case, if the class prevails on these issues, factfinders

in subsequent damages proceedings will consider evidence concerning

Igberase’s treatment of individual class members and the emotional harm

his conduct and revelations that he was an impostor caused, while giving

findings as to ECFMG’s breach of duty preclusive effect. Because

ECFMG’s conduct determines its responsibility but not whether Plaintiffs’

interactions with Igberase resulted in compensable emotional harm,

juries will not need to reexamine ECFMG’s conduct in damages

proceedings. Thus, an issues trial centered on ECFMG’s negligent

conduct, followed by proceedings focused on individual injury and

damages, appropriately “carve[s] at the joint” in this action. Gates, 655

F.3d at 273.

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     E.    Considerations of efficiency favor issue certification.

     The district court correctly found that issue certification of duty and

breach would be efficient. In Pennsylvania, “[t]he existence of a duty is a

question of law for the court to decide.” R.W. v. Manzek, 888 A.2d 740, 746

(Pa. 2005). And the answer to that question is common to all class

members because they stand in the same legal relationship to ECFMG. A

single determination of that legal question is obviously more efficient

than repeated proceedings.

     The amicus brief of the medical societies erroneously argues that

duty must be determined on a plaintiff-by-plaintiff basis. AMA, et al. Br.

9–13. Relying on Circuit case law, the district court correctly found that

the existence of a duty does not turn on the foreseeability of a particular

plaintiff’s damages. See JA49–50. Rather, duty is predicated on the

parties’ relationship, which does not vary among class members. Id.15

     A class jury’s determination on all issues of breach will likewise

spare the court and the parties from the need for repetitive presentation



15The medical societies then essentially argue there should be no
negligence cause of action against ECFMG. (AMA Br. 14–18.) This
question is not before the Court. Again, Rule 23 must be applied trans-
substantively.
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of voluminous documentary evidence and witness testimony. Class

resolution also avoids potentially inconsistent determinations on breach

of duty.

     ECFMG incorrectly argues that “every jury in every individual

proceeding would need to hear essentially all of the evidence that Named

Plaintiffs propose to present at the class proceeding” to “understand who

Dr. Akoda [sic] was,” comprehend “the theory of liability,” and “determine

causation.” Br. 50. The limited role of juries in individual damages

proceedings does not require they understand the full story of Igberase’s

deception and ECFMG’s liability. Basic facts concerning what ECFMG is

and its connection to Igberase can be provided to the jury by stipulation or

a class jury’s answers to special interrogatories. See Fed R. Civ. P. 49.

Providing such summary information will unquestionably be more

efficient than repeated full-blown trials.

     Such proceedings will not implicate the Seventh Amendment’s

Reexamination Clause: “the Seventh Amendment prohibition is not

against having two juries review the same evidence, but rather against

having two juries decide the same essential issues.” In re Paoli R.R. Yard




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PCB Litig., 113 F.3d 444, 452 n.5 (3d Cir. 1997) (citation and quotes

omitted).

     ECFMG also misunderstands the causation inquiry. The question

for juries in individual causation/damages proceedings will be whether

ECFMG’s negligence was a factual cause of Plaintiffs’ injuries, not

whether it was the proximate cause among other supposed causes (e.g.,

decisions of medical boards or hospital credentialing committees that

relied in part on information supplied by ECFMG). See Grainy v.

Campbell, 425 A.2d 379, 383 (Pa. 1981) (Nix, J., concurring).16 ECFMG

presented no evidence below that another person’s negligence allowed

Igberase to treat patients.

     ECFMG incorrectly analogizes the issue certification in this case to

that proposed in Gates. There the class alternatively proposed issue

certification on liability with respect to medical monitoring and property


16Pennsylvania courts use the term “factual cause,” not proximate cause.
Negligence “is a factual cause of harm when the harm would not have
occurred absent the conduct. … To be a factual cause, the conduct must
have been an actual, real factor in causing the harm, even if the result is
unusual or unexpected. … The fact that some other causes concur with
[name of defendant]'s negligence in producing an injury does not relieve
[name of defendant] from liability as long as [his] [her] own negligence is a
factual cause of the injury.” Pa. SSJI (CIV), 13.20 (emphasis added); see
also Gorman v. Costello, 929 A.2d 1208, 1212 (Pa. 2007).
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damage claims, solely with regard to vinyl chloride exposure through a

single pathway. This Court concluded that “a trial on whether the

defendants discharged vinylidene chloride into the lagoon that seeped in

the shallow aquifer and whether the vinyl chloride evaporated from the

air from the shallow aquifer is unlikely to substantially aid resolution of

the substantial issues on liability and causation.” 655 F.3d at 274. The

issue class certification here, by contrast, will meaningfully advance

ultimate termination of the litigation by resolving the central issues of

duty and breach of duty for all class members on all theories. The benefits

of class resolution of these key issues are not negated by ECFMG’s

speculative references to possible “affirmative defenses” (Br. 50) to

individual claims. See In re Linerboard Antitrust Litig., 305 F.3d 145, 163

(3d Cir. 2002).

     F.    ECFMG’s alarmism concerning issue-class certification
           is unfounded.

     ECFMG concludes its brief by asserting that “under the district

court’s approach to Rule 23(c)(4), the entire certification inquiry

effectively reduces to commonality.” Br. 53. This “error” is allegedly

“confirmed” by the court’s statement that one reason for certifying duty

and breach is that they are common to all class members and subject to
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common proof. But the district court did not merely analyze commonality.

It also analyzed all of the Rule 23(a) requirements, JA48–56, and it

reviewed all of the Gates factors in determining that class resolution of

the common issues was the most efficient means of resolving the case. See

JA41–43, JA56, JA57, JA59–62. Moreover, the district court rejected

certification of the issue of liability under Rule 23(c)(4), despite strong

commonality of issues. The district court’s scrupulous application of Gates

clearly does not prefigure class certification in any case presenting a

common issue.

                               CONCLUSION

     This Court should affirm the district court’s order.

                                   Respectfully submitted,

Dated: November 2, 2020

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  CERTIFICATE OF BAR MEMBERSHIP, COMPLIANCE WITH
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                  AND VIRUS CHECK

      I, Patrick A. Thronson, counsel for Appellees, certify, pursuant to

Local Appellate Rule 28.3(d), that I am a member in good standing of the

Bar of this Court.

      I further certify, pursuant to Federal Rules of Appellate Procedure

32(a)(5)–(7), and Local Appellate Rule 31.1(c) and 32.1(c), that the

foregoing Brief of Appellees Monique Russell, Jasmine Riggins, Elsa M.

Powell, and Desire Evans, on behalf of themselves and all others similarly

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                   CERTIFICATE OF SERVICE

      I hereby certify that on November 2, 2020, the foregoing Brief of

Appellees Monique Russell, Jasmine Riggins, Elsa M. Powell, and

Desire Evans, on behalf of themselves and all others similarly

situated, was filed with the Clerk of Court for the U.S. Court of

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                              No. 20-2128

              In the United States Court of Appeals
                      For the Third Circuit

            MONIQUE RUSSELL; JASMINE RIGGINS;
              ELSA M. POWELL; DESIRE EVANS
                                     v.
         EDUCATIONAL COMMISSION FOR FOREIGN
                MEDICAL GRADUATES,
                                       Appellant

           On Appeal from the United States District Court for the
    Eastern District of Pennsylvania, No. 2:18-cv-05629-JDW (Wolson, J.)


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                              ARGUMENT IN REPLY
      To decide this appeal, it is critical that this Court understand the precise claims

at issue. To proceed as a class, Named Plaintiff have limited themselves to a single

theory: After consenting to 1 and receiving (for some, life-saving) medical treatment

from a fully licensed, board-certified physician, Named Plaintiffs allege class

members suffered emotional distress when they learned (primarily from plaintiffs’

counsel and years after their treatments) that their doctor pleaded guilty to misuse of

a Social Security number.

      Named Plaintiffs limited themselves to this theory because any claim for an

injury sustained at the time of treatment by Dr. Akoda would, undeniably, be barred

by limitations. The disturbing allegations recited in Named Plaintiffs’ brief—

“touch, harass, and sexually abuse,” “examinations of a sexual nature,” “wrongful

touching,” “violate [women],” Appellees’ Br. 2, 9, 10, 11—are not the basis for their

claims against ECFMG.

      The class’s claims must stand or fall with their emotional-distress-from-

information theory of liability, and the district court’s decision to certify the class

under Rule 23(c)(4) must similarly be reviewed in light of this theory.


1
  Named Plaintiffs’ theory that there has been no consent is meritless. Appellees’
Br. 11. It is well established that an argument that a licensed physician should not
have been licensed does not vitiate consent to treatment. See ECFMG Br. 28 n.8
(citing Taylor v. Johnston, 985 P.2d 460, 465–66 (Alaska 1999), which involves
indistinguishable facts).

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      When read closely, Named Plaintiffs’ brief has no answer to ECFMG’s

arguments. Key cases cited by ECFMG in its opening brief—such as Gonzalez v.

Corning, 885 F.3d 186 (3d Cir. 2018)—are undiscussed and uncited by Named

Plaintiffs. ECFMG’s arguments go unanswered because they are unanswerable.

Certification should be reversed.

I.    The District Court Erred in Analyzing Rule 23(a).

      A.     The district court did not find—and Named Plaintiffs did not
             show—that their alleged emotional distress is typical of the class.
      The district court did not find (and Named Plaintiffs failed to establish) that

their alleged injury—emotional distress upon learning of Dr. Akoda’s guilty plea—

is typical of class members. ECFMG Br. 18–22. If Named Plaintiffs’ purported

emotional distress is atypical and unusual, then Rule 23(a) was not satisfied.

      Named Plaintiffs’ first argue that it is irrelevant whether their injuries are

typical. Appellees’ Br. 22–26. Under their theory, even if Named Plaintiffs had

unusual reactions and were the only class members who suffered emotional distress

upon learning of the guilty plea, a class of (almost entirely) uninjured plaintiffs could

still have been certified. Such a result is facially absurd.

      Rule 23(a)(3) makes clear that plaintiffs must show their claims “are typical

of the claims . . . of the class.” Fed R. Civ. P. 23(a)(3); In re Modafinil Antitrust




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Litig., 837 F.3d 238, 248 (3d Cir. 2016) (requiring proof by a preponderance).2

There is no basis to exempt the fact of injury from this requirement.

      Named Plaintiffs complain that satisfying typicality would require “an

entirely unworkable process,” including “hundreds of depositions of class

members.” Appellees’ Br. 26. But such a burden presumably could be addressed

via appropriate expert testimony or other statistical evidence. And the rule has not

proven unworkable in the numerous cases applying it. 3

      If it is “unworkable” for Named Plaintiffs to satisfy typicality here, then the

answer is to deny certification, not abandon the requirement of typicality.




2
  The requirement of proof by a preponderance refutes Named Plaintiffs’ argument
that it is sufficient that “the Plaintiffs’ claims arise from the same facts and legal
theories as members of the class.” JA53. Rule 23 is not about a plaintiff’s legal
theory—it is not a pleading standard; it requires proof by evidence.
3
  See, e.g., Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982) (finding
typicality lacking for failure to prove, inter alia, “the existence of a class of persons
who have suffered the same injury” as the named plaintiff); In re Prudential Ins. Co.
Am. Sales Prac. Litig. Agent Actions, 148 F.3d 283, 311 (3d Cir. 1998) (finding
typicality satisfied because class members “suffered the same injury” and “suffered
the same generic type of harm” as the class representatives); Parsons v. Ryan, 754
F.3d 657, 686 (9th Cir. 2014) (finding typicality satisfied because each class member
faced substantial risk of serious harm from the challenged policies); Oshana v. Coca-
Cola Co., 472 F.3d 506, 514 (7th Cir. 2006) (finding typicality lacking where many
class members suffered no injury from alleged deception). Each decision considered
the existence of the alleged harm as part of analyzing typicality. Named Plaintiffs’
efforts to distinguish them fail.

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      Named Plaintiffs also argue that Rule 23(c)(4) exempts them from satisfying

typicality because injury was not a certified issue. Appellees’ Br. 26. But Rule 23(a)

is not limited to the certified issues—it requires typicality in the “claims.”

      Named Plaintiffs contend it is “paradoxical[]” to suggest that there may be

“uninjured (atypical) class members” if emotional distress must be “a typical

reaction.” Appellees’ Br. 24. This is a non-sequitur. “Typical” does not mean

“uniform.” Just as it may be that Named Plaintiffs’ alleged emotional distress is an

atypical reaction and the class is largely uninjured, it also may be that emotional

distress is a typical reaction but some class members were (atypically) uninjured.

      Named Plaintiffs misread In re National Football League Players Concussion

Injury Litigation, 821 F.3d 410 (3d Cir. 2016). Appellees’ Br. 24. That case

involved a class action settlement in which the typicality of injury—head injuries

and related cognitive disorders associated with playing football—was supported by

ample scientific evidence. 821 F.3d at 421–22. Indeed, plaintiffs’ whole case was

premised on their showing that playing football predictably leads to head injuries

and related cognitive disorders. Id. at 420–21. The decision offers no support for

Named Plaintiffs.

      Their reliance on Newberg on Class Actions is similarly misplaced. The cited

section explains that “the amount of damages” may vary between class members

without defeating typicality, but it emphasizes that the “critical inquiry” on typicality


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is “whether the proposed representative’s claims are qualitatively similar to those of

the class.” 1 Newberg on Class Action § 3:43 (5th ed., June 2020 Update). If injury

is atypical, then Named Plaintiffs’ claims are not “qualitatively similar” to those of

the class.

      In the alternative, Named Plaintiffs contend that even if the district court failed

to find typicality, this Court can affirm because they presented evidence from which

the district court could have made this finding. See Appellees’ Br. 27 (discussing a

purported expert report by Dr. Annie Steinberg). 4

      The argument fails legally and factually. Plaintiffs never argued (and the

district court did not find) that this report had any bearing on the class certification

analysis generally or the typicality inquiry specifically. Legally, it is “elementary”

that this Court cannot affirm based on a finding that the district court did not make—

when findings are infirm, “a remand is the proper course unless the record permits

only one resolution of the factual issue.” Pullman-Standard v. Swint, 456 U.S. 273,

292 (1982).

      Factually, Dr. Steinberg’s report is worthless. ECFMG’s rebuttal expert, Dr.

Susan McDonald, explained that Dr. Steinberg’s survey “is not simply amateurish”




4
  Note the incongruity of Named Plaintiffs simultaneously arguing (1) that the
typicality standard as argued by ECFMG is unworkable and impossible to satisfy;
and (2) that they satisfied it.

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but “so methodologically deficient and so biasing as to lack validity as a survey

measurement tool.” JA1186. And to the extent the survey is credited, it hardly

supports Named Plaintiffs—most respondents indicated that they either experienced

no emotional distress or experienced emotional distress before learning of Dr.

Akoda’s guilty plea, JA587, which does not support Named Plaintiffs’ claims for

emotional distress from learning of the guilty plea. Named Plaintiffs’ failure to

prove that their alleged injury is typical requires reversal of class certification.

      B.     Named Plaintiffs propose to inflict emotional distress on class
             members.
      As ECFMG explained in its opening brief, if Named Plaintiffs’ theory were

correct—and learning of Dr. Akoda’s guilty plea causes emotional distress—then

sending notice of the class would inflict injury on class members. ECFMG Br. 22–

24. Because Named Plaintiffs seek to inflict emotional distress on unnamed class

members, this conflict of interest bars class certification.

      Named Plaintiffs acknowledge the possibility that “class members will be

upset” upon receiving the class notice. Appellees’ Br. 28. But emotional distress

from “be[ing] upset” at learning this information is the very injury for which Named

Plaintiffs seek class recovery. If “being upset” at learning of Dr. Akoda’s guilty plea

is as trivial as Named Plaintiffs suggest, then Named Plaintiffs should dismiss their

claims.




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      It is true, as Named Plaintiffs point out, that many class members have already

been informed of the guilty plea (largely due to the efforts of Named Plaintiffs and

their counsel). Appellees’ Br. 29. 5 This does not eliminate the conflict—it illustrates

it.

      This conflict is heightened by the nature of the claims, which are based on

emotional distress at learning information. If class members were informed of the

simple truth—“You once received medical treatment from a fully licensed and

board-certified physician who had misused a Social Security number.”—it seems

inconceivable that anyone would suffer emotional distress. To the extent that any

emotional distress has occurred, it is likely due to plaintiffs’ counsel communicating

the allegations in their brief, that class members were “sexually abuse[d] . . . under

the guise of providing OB/GYN care.” Appellees’ Br. 2. Class counsel stand to

benefit by increasing the injury to their clients (and the putative class) by dramatizing

the allegations about Dr. Akoda to be as inflammatory as possible. 6




5
  Indeed, the “widespread media coverage” cited by Named Plaintiffs as evidence
that class members probably know of Dr. Akoda’s guilty plea feature quotations
from Named Plaintiffs or their counsel. Appellees’ Br. 29 & n.2.
6
  The cause of an individual class members’ emotional distress—what information
the person was told that caused distress, when, by whom, and why—is highly
relevant to whether ECFMG had a duty to protect against it. AMA Br. 9–13.

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      There are class members who, at present, have suffered no injury. If Named

Plaintiffs’ theory is correct, then certifying a class would cause these uninjured class

members to suffer emotional distress.

      The district court never grappled with this fundamental conflict of interest.

Named Plaintiffs fault ECFMG for not citing cases presenting similar conflicts of

interest, but ECFMG cites no case because, to our knowledge, no case has ever

previously involved class counsel proposing to injure class members and then

seeking recovery for that injury. It is self-evident (and flows from the adequacy and

typicality standards) that this conflict bars class certification. ECFMG Br. 22–24.

      C.     Named Plaintiffs seek to certify only claims for emotional distress.
      Named Plaintiffs accuse ECFMG of “falsely assert[ing]” that the district court

failed to consider res judicata, Appellees’ Br. 30 (citing JA53), but the phrase res

judicata appears nowhere in the district court’s opinion. The page of the district

court’s opinion cited by Named Plaintiffs addresses typicality, JA53, but as ECFMG

explained in its brief, claim-splitting (and the risk of res judicata) primarily concerns

adequacy. See ECFMG Br. 25 (describing claim-splitting as important “in assessing

the adequacy of representation requirement”). The district court did not consider

claim-splitting as part of adequacy.

      Named Plaintiffs incorrectly state that ECFMG has identified no class

members with alleged physical injuries. Appellees’ Br. 18. But the report of Named



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Plaintiffs’ expert, Dr. Steinberg, noted testimonials from absent class members

describing supposed “Adverse Clinical Outcomes.” JA589; JA592. Any damages

from an “adverse clinical outcome” would likely far exceed any damages from

emotional distress.7 But Named Plaintiffs seek recovery only for the latter.

      With respect to the right of unnamed class members to opt out, Named

Plaintiffs cite several cases that were certified under Rule 23(b)(3) for the

proposition that class members will have an opportunity to opt out. See Appellees’

Br. 32–33 (citing cases). But this class was not certified under Rule 23(b)(3)—it

was certified under Rule 23(c)(4), without any finding that any prong of Rule 23(b)

was satisfied. Nothing in the text of Rule 23 suggests that a “Rule 23(c)(4) class”—

to the extent that such a thing exists—can be opted out of.

      Because the district court erred in analyzing Rule 23(a), the class certification

must be reversed.

II.   The District Court Erred by Certifying a Class Without Finding Rule
      23(b) Satisfied.
      Named Plaintiffs’ brief confirms that class certification must be reversed

because the district court did not find any provision of Rule 23(b) to be satisfied.




7
  Named Plaintiffs argue that “there is no indication that ‘all or almost all’ of the
individual claims are likely to be large enough to be litigated entirely individually.”
Appellees’ Br. 31. But the burden rests with Named Plaintiffs, not with ECFMG.

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      The parties appear to largely agree about the governing law. Named Plaintiffs

do not dispute that (1) a class cannot be certified unless one prong of Rule 23(b) is

satisfied, ECFMG Br. 30–32; and (2) in determining whether Rule 23(b) has been

satisfied in a case involving Rule 23(c)(4), a court cannot consider only the issues to

be certified but must consider other issues as well, ECFMG Br. 32–33; Appellees’

Br. 35–36 (suggesting that the Gates factors—which involve non-certified issues—

reflect the requirements of Rule 23(b)(3)). Because the district court did not apply

these principles, certification must be reversed.

      A.     Named Plaintiffs do not dispute that class certification requires
             satisfaction of at least one prong of Rule 23(b).
      The key premise of ECFMG’s argument goes undisputed by Named

Plaintiffs: “Class certification requires the party seeking certification to satisfy one

of the three subsections of Rule 23(b).” ECFMG Br. 30–32. This requirement

follows from the plain text of Rule 23 and is acknowledged by cases discussing it.

See ECFMG Br. 31 (citing Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013);

Ferreras v. Am. Airlines, Inc., 946 F.3d 178, 182 (3d Cir. 2019)).

      Named Plaintiffs do not dispute this proposition. Their brief does not defend

the idea that Rule 23 (or precedent) permits a class to be satisfied without a finding

that at least one prong of Rule 23(b) has been satisfied.

      Here, the district court did not find that Named Plaintiffs satisfied any prong

of Rule 23(b). The district court expressly declined to consider any portion of Rule


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23(b), holding instead that it would “consider Rule 23(a) and then turn to the Gates

factors in conducting its analysis.” JA43. As a result, there is no finding by the

district court regarding either predominance or superiority. Under the plain language

of Rule 23, certification cannot stand.

      B.     Named Plaintiffs’ theory—that the district court made implicit
             findings under Rule 23(b)(3)—is meritless.
      Named Plaintiffs argue (in effect) that the district court implicitly found that

Rule 23(b)(3) was satisfied because the district court considered the Gates factors.

Appellees’ Br. 35–36 (“The Gates considerations ensure a finding that an issue class

is ‘appropriate’ under Rule 23(c)(4) also encompasses a determination that a class

action limited to the specified issues meets Rule 23(b)(3)’s demands [of

predominance and superiority].”).

      There are at least three problems with Named Plaintiffs’ suggestion. First, as

ECFMG addressed in its opening brief, although the Gates factors might be relevant

in making findings regarding predominance and superiority in a proposed class

involving Rule 23(b)(3) and Rule 23(c)(4), there is a material difference between

considering these factors in isolation (as the district court did here) and considering

them as part of determining whether the requirements of Rule 23(b)(3) have been

satisfied. ECFMG Br. 35 & n.10. A court would similarly err by considering only

the four “matters pertinent to [the Rule 23(b)(3)] findings” in Rule 23(b)(3)(A)–(D),




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without relying on those “matters” to make predominance and superiority findings.

ECFMG Br. 35 n.10.

      Indeed, Named Plaintiffs’ suggestion that considering the Gates factors is

inherently synonymous with the Rule 23(b)(3) inquiry is inconsistent with Gates

itself, which drew the factors from Hohider v. United Parcel Serv., Inc., 574 F.3d

169 (3d Cir. 2009), a case involving a proposed class under Rule 23(b)(2). Because

the Gates factors apply in both Rule 23(b)(2) and Rule 23(b)(3) class actions, they

plainly are not simply the equivalent of the requirements of Rule 23(b)(3).

      Similarly, as ECFMG noted and the Chamber highlights in its amicus brief,

this Court distinguished between the Gates factors and the Rule 23(b)(3) inquiry in

Gonzalez v. Corning, 885 F.3d 186 (3d Cir. 2018). This Court held that “the

appropriateness of certifying a Rule 23(c)(4) class,” which must be evaluated under

Gates, is “analytically independent from the predominance inquiry under Rule

23(b)(3).” Id. at 202.

      Named Plaintiffs have no answer to Gonzalez v. Corning, which refutes their

position that the Gates factors and Rule 23(b)(3) are analytically identical. Although

the case is this Court’s only published post-Gates discussion of Rule 23(c)(4) and

was relied on heavily by ECFMG and amici, it goes undiscussed—indeed, uncited—

in Named Plaintiffs’ brief.




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      Reviewing the Gates factors was not a substitute for the predominance and

superiority findings required by Rule 23(b)(3). The district court erred by certifying

a class without these findings.

      C.     In determining whether Rule 23(b)(3) has been satisfied, a court
             cannot look only at the issue(s) to be certified.
      Named Plaintiffs’ arguments regarding how Rule 23(b)(3) must be considered

are equally meritless. At a high level, there are only two possible ways in which

Rule 23(b)(3) and Rule 23(c)(4) could interact. Predominance and superiority must

be satisfied either: (1) considering only the issues certified for class treatment; or

(2) considering both the issues certified for class treatment and the issues left for

individual adjudication, i.e., considering the claim as a whole.

      Named Plaintiffs’ arguments on this point are inconsistent. Although a

portion of their brief argues strenuously that after Rule 23(c)(4) is invoked, Rule

23(b)(3) considers only the certified issues, Appellees Br. 39–50, they argue several

pages earlier that Rule 23(b)(3) is satisfied by considering the Gates factors, many

of which expressly require considering the non-certified issues, e.g., Gates v. Rohm

& Haas Co., 655 F.3d 255, 273 (3d Cir. 2011) (requiring consideration whether

“class resolution of the issue(s) will fairly and efficiently advance the resolution of

class members’ claims, including resolution of remaining issues” (emphasis

added)). If the Gates factors require considering the non-certified issues and

(according to Named Plaintiffs) the Gates factors are synonymous with “Rule


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23(b)(3)’s demands,” Appellees Br. 36, then Rule 23(b)(3) necessarily requires

considering the non-certified issues.

      The alternative—considering only the certified issues—renders Rule 23(b)(3)

a nullity. As Named Plaintiffs acknowledge, if only the issues certified for class

treatment matter, then Rule 23(b)(3) will always be satisfied. Appellees’ Br. 37.

Under Named Plaintiffs’ own arguments, their position cannot be correct because it

renders Rule 23(b)(3) “inoperative or superfluous.” Appellees’ Br. 44.8

      Named Plaintiffs attack a straw man when they accuse ECFMG of arguing

that Rule 23(c)(4) should be ignored when analyzing Rule 23(b)(3). Appellees’ Br.

43–44. That is incorrect—the ability of a court to certify only individual issues under

Rule 23(c)(4) is surely relevant when analyzing superiority, which concerns how a

case will actually be adjudicated. ECFMG does not suggest that Rule 23(c)(4) is

meaningless, only (1) that a class cannot be certified without satisfying Rule 23(b);

and (2) that Rule 23(c)(4) cannot be used to evade or substitute for the requirements

of Rule 23(b).




8
  As ECFMG detailed in its opening brief (at 37 & n.13), Gates can be read as
addressing whether issue certification is “appropriate” under Rule 23(c)(4) without
adopting a holding about the interaction of Rule 23(b) and Rule 23(c)(4). Under this
reading, there is nothing incongruous about Gates discussing certification involving
Rule 23(c)(4) after rejecting certification under Rule 23(b)(3). Appellees’ Br. 40.
And if Gates is read as adopting a holding on this point, it rejected the only-certified-
issues approach urged by Named Plaintiffs. 655 F.3d at 272–73.

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      To the extent that Named Plaintiffs contend that Rule 23(b)(3) cannot be

considered until after determining whether Rule 23(c)(4) is “appropriate,” their

dispute is with this Court, not ECFMG. In Luppino v. Mercedes Benz USA—another

case cited by ECFMG that is notably missing from Named Plaintiffs’ brief—this

Court held that a plaintiff “may seek certification under Rule 23(c)(4) as to particular

issues” only after “having satisfied Rule 23(a) and (b)’s requirements” and that it

would not consider (c)(4) in light of “class certification’s (b)(3) defects.” 718 F.

App’x 143, 146 (3d Cir. 2017) (citing Comcast, 569 U.S. at 33).

      Named Plaintiffs suggest that the remedy for this error is a remand, Appellees’

Br. 50, but their brief fails to develop any argument that certification could be

proper.9 As ECFMG explained in its opening brief, in light of the overwhelming

number of individual issues and the limited issues that could be resolved through

class treatment, there is no argument that certification could be proper if Rule

23(b)(3) were considered. Named Plaintiffs’ prediction (at 50) regarding how the




9
  Named Plaintiffs incorrectly state that “ECFMG concedes that common liability
issues may predominate over individual issues of causation and damages.”
Appellees’ Br. 50 (citing ECFMG Br. 34). This is false—ECFMG merely stated the
general proposition that “the mere existence of individual issues does not mean that
common issues do not predominate.” ECFMG Br. 34. But as this Court has
recognized, “individual issues of causation create irremediable predominance
problems.” Marcus v. BMW of N. Am., LLC, 687 F.3d 583, 604 (3d Cir. 2012).

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district court would rule on remand is no substitute for a reasoned argument in their

brief. This Court should render judgment that no class be certified.

III.   The District Court Erred in Analyzing the Gates Factors.
       Finally, as ECFMG detailed in its opening brief, the district court failed to

engage in the requisite “rigorous analysis” of the Gates factors and abused its

discretion in the four paragraphs of analysis that led it to conclude that certification

was “appropriate” under Rule 23(c)(4).

       A.    The district court erred in analyzing choice of law and conflict of
             laws.
       Named Plaintiffs’ brief essentially repeats their entire choice-of-law argument

to the district court, which consists of pointing out that Pennsylvania abandoned the

lex loci delicti rule. Compare Appellees’ Br. 52–53, with JA194–95. This is true,

but Named Plaintiffs misstate Pennsylvania’s actual choice-of-law test, which relies

on the Restatement (Second) of the Conflict of Laws, particularly including the

“presumption in personal injury cases that favors the application of the law of the

state where the injury occurred.” Kornfeind v. New Werner Holding Co., 2020 PA

Super 266, 2020 WL 6555158, at *10–11 (Nov. 9, 2020) (discussing Restatement

(Second) of Conflict of Laws § 146).10 Pennsylvania has no interest in applying its


10
   Because Plaintiffs’ claims are based on alleged misrepresentations made by
ECFMG to its clients, ECFMG believes that Section 148(2) supplies the appropriate
standard. In any event, both lead to the same conclusion: application of the law of
the state where a class member was treated by Dr. Akoda.

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laws to claims arising from out-of-state treatment by an out-of-state doctor of an out-

of-state patient or arising from communications received by out-of-state entities

deciding which individuals will be licensed to practice medicine in other states.

      Indeed, as ECFMG noted in its opening brief, difficult constitutional issues

would arise if Pennsylvania attempted to apply its law to these claims.

Fundamentally, Named Plaintiffs’ theory is that Dr. Akoda should not have been

licensed to practice medicine. But Pennsylvania cannot say which doctors should

be licensed to treat patients in Virginia or Maryland, whether it attempts to do so

directly or indirectly through the imposition of liability in tort. Under our federal

structure, a State cannot “control conduct beyond the boundaries of the State.” Healy

v. Beer Inst., Inc., 491 U.S. 324, 336 (1989). It is no answer for Named Plaintiffs to

distinguish the facts of Healy (at 56–57)—the legal principle would squarely apply

if Pennsylvania attempted to apply its tort laws to the conduct of out-of-state

physicians treating out-of-state patients. Constitutional avoidance suggests applying

the law of the state of treatment.

      A party seeking certification must “provide an extensive analysis of state law

variations to reveal whether these pose insuperable obstacles[,] [a]nd the district

court must then consider how variations in state law affect predominance.” Cole v.

Gen. Motors Corp., 484 F.3d 717, 724 (5th Cir. 2007) (internal quotation marks and

citation omitted); see also In re Sch. Asbestos Litig., 789 F.2d 996, 1010 (3d Cir.


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1986) (plaintiff presented an “extensive analysis”); Grandalski v. Quest Diagnostics

Inc., 767 F.3d 175, 184 (3d Cir. 2014) (involving plaintiffs’ failure to provide

sufficient analysis of state law); Klay v. Humana, Inc., 382 F.3d 1241, 1262 (11th

Cir. 2004) (noting that the burden “rests squarely with the plaintiffs”).

      Named Plaintiffs do not contend that they satisfied this burden. Instead, they

argue that it never arose, citing a comment to the Principles of the Law of Aggregate

Litigation and a law review article. Appellees’ Br. 52. Such authority cannot

overcome the black-letter law of the federal courts. Named Plaintiffs failed to carry

their burden to provide an analysis of the law of the different states, proving that it

was no barrier to certification.

      Named Plaintiffs also cannot shift the burden to ECFMG, see Appellee’s Br.

53 (arguing that ECFMG was required to prove the existence of a “true conflict”),

and the district court abused its discretion in relying on Plaintiffs’ representation that

they were “unaware” of any relevant conflicts, JA194, particularly when ECFMG

pointed out that such conflicts existed.

      Here again, Named Plaintiffs simply ignore the cases cited on page 43 of

ECFMG’s opening brief that illustrate the conflict between the laws of Maryland,

Virginia, and the District of Columbia. As with other authority that is unfavorable

to them, Named Plaintiffs neither discuss the cases nor cite them in their brief.




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      B.     The district court failed to consider the type of claim at issue and
             the fact that emotional distress claims introduce numerous
             individualized questions that make the claims here particularly ill-
             suited for class treatment.
      As ECFMG explained in its opening brief, the district court did not address

two of the Gates factors: “the type of claim(s) and issue(s) in question” and “whether

the substantive law separates the issue(s) from other issues concerning liability or

remedy.” 655 F.3d at 273.

      This should not be open to dispute. The district court’s analysis of the Gates

factors is found on JA59 through JA62. These factors are not discussed.

      Named Plaintiffs misstate the record when they assert the contrary.

Appellees’ Br. 57. Although the district court discussed various aspects of Named

Plaintiffs’ claims, the district court never addressed these Gates factors.

      Standing alone, this requires a reversal. It is not enough for Named Plaintiffs

to argue that if the district court had considered the factors, it might still have

certified the class action. Cf. Sprint/United Mgmt. Co. v. Mendelsohn, 552 U.S. 379,

387 (2008) (“When a district court ‘fail[s] to make a finding because of an erroneous

view of the law, the usual rule is that there should be a remand for further

proceedings to permit the trial court to make the missing findings.’” (quoting

Pullman-Standard, 456 U.S. at 291)).

      Indeed, Plaintiffs’ lead argument appears to be that this Court should overrule

this portion of Gates and hold that the type of claim and the substantive law is


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irrelevant to class certification. See Appellees’ Br. 57–58 (arguing that these factors

should be ignored because the Federal Rules “are trans-substantive”). There is no

reason to depart from Gates for these two factors, and considering the nature of the

claim in the context of Rule 23(c)(4) is both rational and appropriate.

       This Court should hold that in this case, the type of claim at issue—and the

failure of the substantive law to separate the existence and amount of emotional

distress from other issues—renders certification inappropriate under Rule 23(c)(4).

       In Spence v. Board of Education of Christina School District, 806 F.2d 1198

(3d Cir. 1986), this Court applied “the rule that emotional distress damages must be

evaluated in light of all the circumstances surrounding the alleged misconduct.” Id.

at 1202 (citing Carey v. Piphus, 435 U.S. 247, 263 (1978)). Here, to recover against

ECFMG for any alleged emotional distress, any trier of fact must evaluate “all of the

circumstances surrounding the alleged misconduct,” i.e., all of ECFMG’s alleged

wrongdoing. As a result, the nature of the claim strongly weighs against bifurcating

it into separate proceedings. Named Plaintiffs cannot deny Spence’s holding or the

rule it applied.

       Named Plaintiffs’ response is puzzling. They apparently attempt to recast

their claims as some type of vicarious liability, implying that they intend to hold

ECFMG vicariously liable for Dr. Akoda’s torts. See Appellees’ Br. 62 (“ECFMG’s

conduct determines its responsibility but not whether Plaintiffs’ interactions with


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[Dr. Akoda] resulted in compensable emotional harm[.]”). 11 But—as ECFMG noted

above—this is not the claim they have asserted, and there is no basis to impose

vicarious liability on ECFMG for any of Dr. Akoda’s alleged wrongs. To the extent

that Named Plaintiffs can recover from ECFMG, it must be because of emotional

distress allegedly caused by ECFMG’s alleged negligence, which necessarily

requires any jury considering the existence and amount of emotional distress to

rehear all of the evidence regarding ECFMG’s conduct.

      In some cases, of course, a new trial can be held only on damages, but the

individual issues here go far beyond damages and include causation and injury. A

partial new trial is allowed only when “it clearly appears that the issue to be retried

is so distinct and separable from the others that a trial of it alone may be had without

injustice.” Pryer v. C.O. 3 Slavic, 251 F.3d 448, 454–55 (3d Cir. 2001) (quoting

Gasoline Prods. Co. v. Champlin Ref. Co., 283 U.S. 494, 500 (1931)). Damages

cannot be tried separately where, as here, they are “so interwoven with . . . liability

that the former cannot be submitted to the jury independently of the latter without

confusion and uncertainty, which would amount to a denial of a fair trial.” Id. at 455

(quoting Gasoline Prods., 283 U.S. at 500).




11
  And, of course, it is not the “interactions with Dr. Akoda” that allegedly caused
emotional distress—it is learning of his guilty plea.

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      Indeed, Aiello v. Providian Financial Corp., 239 F.3d 876 (7th Cir. 2001),

speaks directly to this situation, noting that “claims of emotional distress . . . are so

easy to manufacture” and the “potential for abuse” in awarding “damages for a

purely emotional injury.” Id. at 880–81. Allowing class plaintiffs to aggregate

claims for emotional damages and trying them individually has the plain purpose of

“forc[ing] settlement by confronting the defendant with an avalanche of litigation

and an unquantifiable potential liability.” Id. at 881. Named Plaintiffs’ conclusory

response—“Those circumstances are not present here,” Appellees’ Br. 61—is no

answer.

      Named Plaintiffs identify only a single case involving certification of a class

seeking damages for emotional distress: Gunnells v. Healthplan Services, Inc., 348

F.3d 417 (4th Cir. 2003). But damages for emotional distress were only a small

component of the claims, which largely involved economic injury:

      [T]he damage calculations in this case do not appear to be particularly
      complex, unlike the calculations in those cases in which courts have
      found that numerous complicated individual damage inquiries
      predominated over common issues. . . . [I]t appears that a court-
      appointed fiduciary has already calculated most of the Plaintiffs’ claims
      for medical bills using [a] computer program[.] Thus, in many cases
      there is likely to be little or no dispute over the amount to which an
      individual class member is entitled for unpaid medical claims.
      Similarly, if the court determines that Plaintiffs are entitled to a refund
      of premiums paid, these amounts could be quickly and easily
      determined.




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Id. at 429. 12 The case provides no support for class certification here, where Named

Plaintiffs pursue certification of a class seeking only unverifiable emotional distress

at learning information, as opposed to a small component of damages for a class

primarily seeking economic recovery. Certification here is unprecedented and

erroneous.

      C.     Named Plaintiffs’ analysis of efficiencies is incorrect.
      The parties’ dispute concerning efficiencies confirms the error in the district

court’s analysis. On appeal, the parties disagree regarding what will be decided in

class proceedings and what issues remain to be tried in individual proceedings. This

uncertainty exists because neither Named Plaintiffs nor the district court seriously

grappled with how the case would actually be tried if these issues were certified.

One is left with the impression that class certification was valued more for the

purposes of pressuring settlement than as a realistic means of trying claims.

      As an initial matter, Named Plaintiffs discuss only Pennsylvania law in this

portion of their brief. Appellees’ Br. 63–66. They make no attempt to show that the

law of the other states is identical on these complex issues of state law. See, e.g.,




12
  Indeed, certification was only conditional, and the district court “was fully aware
of the possibility that individual issues, although currently subordinate to the
common liability and damage issues, might in time predominate and the case prove
unmanageable.” Gunnells, 348 F.3d at 430.

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Appellees’ Br. 65 n.16 (arguing that “factual cause” is different from “proximate

cause” under Pennsylvania law).

      There is no question that lengthy individual proceedings would be required.

Each plaintiff would need to prove individually, the existence of emotional distress

and the amount of any recovery. That is, neither injury nor damages can be proven

on a classwide basis.    This Court has “consistently distinguished injury from

damages.” In re Lamictal Direct Purchaser Antitrust Litig., 957 F.3d 184, 194 (3d

Cir. 2020). The difference “is significant” because this Court applies a stricter

predominance standard for injury than for damages. Id. at 195.

      And Named Plaintiffs do not deny that all of ECFMG’s affirmative

defenses—including each plaintiff’s consent to treatment by Dr. Akoda—will be

tried individually.

      Causation, as well, is left for individual proceedings. Named Plaintiffs

suggest that the other causes of an individual plaintiffs’ alleged injury—such as

residency programs that admitted Dr. Akoda, medical boards that licensed him,

hospitals that gave him privileges, the specialty board that certified him, law

enforcement officers who investigated him, and the role of plaintiffs’ counsel and

Named Plaintiffs in informing class members of Dr. Akoda’s alleged wrongdoing—

are wholly irrelevant to their claims against ECFMG.




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      This is incorrect. Not only does proximate causation involve questions of

remoteness,13 but the Supreme Court of Pennsylvania has held that when multiple

causes are involved, evaluating substantial-factor causation may require “a

proportionate evaluation” of the contributions of different causes. Betz v. Pneumo

Abex, LLC, 44 A.3d 27, 56 n.36 (Pa. 2012) (citing Restatement (Second) of Torts

§ 433, cmt. d); see also id. (“This Court has cited Section 433 [of the Restatement

(Second) of Torts] as consistent with Pennsylvania law.”).            Indeed, as the

Restatement emphasizes, the first consideration in evaluating whether an act is a

substantial factor is “the number of other factors which contribute in producing the

harm and the extent of the effect which they have in producing it.” Restatement

(Second) of Torts § 433(a).

      In this case, to evaluate causation with respect to any individual plaintiff,

every jury would need to rehear all of the evidence of all of the numerous causes

that led to an individual being treated by Dr. Akoda in order to determine whether




13
  Legal liability does not extend all the way down the causal chain. See Vattimo v.
Lower Bucks Hosp., Inc., 465 A.2d 1231, 1233 (Pa. 1983) (explaining that “the
concept of legal cause (the traditional ‘proximate cause’) is an articulation of policy
related to social and economic considerations,” whether “the policy of the law will
extend the responsibility for the conduct to the consequences which have in fact
occurred”). As Amici American Medical Association, Pennsylvania Medical
Society, and Association of American Medical Colleges discuss, ECFMG’s role in
the certification process is far too remote and limited for any duty or proximate
causation to exist. AMA Amicus Br. 14–18.

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ECFMG’s relatively minimal role in Dr. Akoda’s credentialing was a substantial

factor in causing a particular plaintiff’s injury.

      And even apart from substantial-factor causation, evaluating but-for causation

would require a lengthy presentation of evidence regarding other actors. As best

ECFMG understands Named Plaintiffs’ theory, it is that ECFMG was negligent

because it should have (1) performed more investigation than it did; and (2) based

on the result of that investigation, sent a letter to third parties. See Appellees’ Br. 1–

2 (asserting that ECFMG “failed to inform state medical boards, residency programs,

and hospitals”); Appellees’ Br. 8 (“never notified” and “had not investigated the

matter further”). To prove but-for causation, Named Plaintiffs must prove both

(1) what the results of that additional investigation might have been; and (2) that if

ECFMG had sent the letter that Named Plaintiffs contend should have been sent,

third parties would have acted to prevent Dr. Akoda from treating patients.

      As ECFMG explained, this class certification is indistinguishable from the

certification rejected in Gates: “[I]n light of the ‘numerous individual issues that

would remain,’ resolution of the common issues was ‘unlikely to substantially aid

resolution of the substantial issues on liability and causation.’” ECFMG Br. 51

(quoting Gates, 655 F.3d at 272, 274).

      Named Plaintiffs’ only response is that in this case, issue certification “will

meaningfully advance ultimate termination of the litigation by resolving the central


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issues of duty and breach of duty.” Appellees’ Br. 66. This is no answer. In Gates,

the plaintiffs sought certification of whether defendants breached their duty by

“discharg[ing] vinylidene chloride into the lagoon that seeped in the shallow

aquifer.” 655 F.3d at 274. But in Gates, like here, these narrow, abstract questions

are “inseverable from other issues that would be left for follow-up proceedings” and

“unlikely to substantially aid resolution of the substantial issues on liability and

causation.” Id. at 273–74.

      Gates is indistinguishable and confirms that the issue certification ordered in

this case is not appropriate under Rule 23(c)(4).

      D.     The district court reduced issue certification to commonality.
      Finally, as ECFMG and the Chamber established, under the district court’s

analysis, virtually any common issue would be appropriate for certification under

Rule 23(c)(4). ECFMG Br. 53–54 (discussing JA59–61). Named Plaintiffs have no

response.   They cannot deny what ECFMG demonstrated: the district court’s

justifications for issue certification would apply equally to any common issue. Such

a result cannot be correct and confirms the error in certification.




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                     CONCLUSION & PRAYER FOR RELIEF
      ECFMG respectfully renews its prayer that this Court reverse the order

granting certification and render judgment that no class be certified.

Dated: November 23, 2020                      Respectfully submitted,

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 CERTIFICATE OF BAR MEMBERSHIP, COMPLIANCE WITH TYPE-VOLUME
    LIMITATION AND TYPEFACE REQUIREMENTS, AND VIRUS CHECK
      I, William R. Peterson, counsel for Appellant Educational Commission for

Foreign Medical Graduates, certify, pursuant to Local Appellate Rule 28.3(d), that I

am a member in good standing of the Bar of this Court. I further certify, pursuant

to Federal Rules of Appellate Procedure 32(a)(5)–(7), and Local Appellate Rules

31.1(c) and 32.1(c), that the foregoing Reply Brief is proportionately spaced and has

a typeface of 14-point Times New Roman, contains 6,482 words, and that the text

of the electronic brief is identical to the text of the paper copies. I further certify,

pursuant to Local Appellate Rule 31.1(c), that McAfee Endpoint Security did not

detect a virus.



                                            /s/ William R. Peterson
                                            William R. Peterson




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                            CERTIFICATE OF SERVICE
      I, William R. Peterson, counsel for Appellant Educational Commission for

Foreign Medical Graduates, certify that, on November 23, 2020, a copy of the

foregoing Reply Brief was filed electronically through the appellate CM/ECF system

with the Clerk of the Court. All counsel of record in this case are registered CM/ECF

users. Pursuant to Local Appellate Rule 31.1, as amended by the April 29, 2013

order, seven copies of this brief were sent to the Clerk of the Court for delivery.



                                            /s/ William R. Peterson
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                                            Foreign Medical Graduates

                                            Dated: November 23, 2020




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·   · · · · · · · · · · · · · · THIRD CIRCUIT
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·   ·   ·MONIQUE RUSSELL, JASMINE· · · · .              Case No. 20-2128
·   ·   ·RIGGINS, ELSA POWELL, DESIRE· · .
·   ·   ·EVANS,· · · · · · · · · · · · · .
·   ·   · · · · · · · · · · · · · · · · ·.
·   ·   · · · · · · · · Appellees,· · · ·.
·   ·   · · · · · ·vs.· · · · · · · · · ·.
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·   ·   ·EDUCATIONAL COMMISSION FOR· · · .              U.S. Courthouse
·   ·   ·FOREIGN MEDICAL GRADUATES,· · · .              601 Market Street
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·   ·   · · · · · · · · Appellant.· · · ·.
·   ·   ·. . . . . . . . . . . . . . . . .              Thursday, February 11, 2021

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·   ·   ·   ·   ·   ·   ·   ·   · ·UNITED STATES CIRCUIT COURT JUDGES

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·1· · · · · · · · (Proceedings commence)
·2· · · · · · ·THE COURT:· So I'll call the case of Monique
·3· ·Russell, et al v. The Educational Commission for Foreign
·4· ·Medical Graduates, Docket Number 20-2128.
·5· · · · · · ·Mr. Peterson.
·6· · · · · · ·MR. PETERSON:· Thank you, Your Honor.· Good
·7· ·morning.· William Peterson on behalf of The Educational
·8· ·Commission for Foreign Medical Graduates.
·9· · · · · · ·I'd like to request three minutes for rebuttal.
10· · · · · · ·THE COURT:· Sure.
11· · · · · · ·MR. PETERSON:· Thank you.
12· · · · · · ·There are three independent grounds to reverse the
13· ·class certification order, each corresponding to a different
14· ·section of Rule 23:
15· · · · · · ·First, under Rule 23(a), there are the errors with
16· ·respect to typicality and adequacy.
17· · · · · · ·Second, there is the failure to make any finding
18· ·with respect to Rule 23(b).
19· · · · · · ·And third is the abuse of discretion in applying
20· ·the Gates factors to conclude that class certification is
21· ·appropriate under Rule 23(c)(4).
22· · · · · · ·We start first with typicality and adequacy.· There
23· ·is no finding by the district court that the alleged injuries
24· ·suffered by the named plaintiffs -- that is, emotional
25· ·distress upon learning that the licensed and board-certified



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·1· ·doctor who treated them pleaded guilty to misuse of a Social
·2· ·Security number -- are typical injuries of the class.· And
·3· ·recall that this class includes all patients who were treated
·4· ·or even examined by Dr. Akoda in any way.
·5· · · · · · ·THE COURT:· No, but if we're talking though about a
·6· ·class that's just for duty and breach, why does the injury
·7· ·have to be typical?· Wouldn't it just be the duty that was
·8· ·breached that would have to be typical?· Because we're not
·9· ·talking about causation and damages here.
10· · · · · · ·MR. PETERSON:· Well, Your Honor, Rule 23(a) doesn't
11· ·refer to the issues that are certified for class treatment.
12· ·Rule 23(a) requires that the claims or defenses of the
13· ·representative parties are typical of the claims and defenses
14· ·of the class.· So, if there's no typicality of the injury,
15· ·there is no typical claim whatsoever among the unnamed class
16· ·members.
17· · · · · · ·THE COURT:· So was the district court wrong when it
18· ·concluded that the claims arise from the same legal theory,
19· ·that's insufficient?
20· · · · · · ·MR. PETERSON:· He was correct to say that the
21· ·claims arise from the same legal theory, wrong to conclude --
22· · · · · · ·THE COURT:· And from the --
23· · · · · · ·MR. PETERSON:· -- that is --
24· · · · · · ·THE COURT:· -- same course of conduct.· He also
25· ·concluded that it came from the same course of conduct,



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·1· ·right?
·2· · · · · · ·MR. PETERSON:· Yes, Your Honor.
·3· · · · · · ·THE COURT:· So that was --
·4· · · · · · ·MR. PETERSON:· That's correct.
·5· · · · · · ·THE COURT:· That was correct.
·6· · · · · · ·MR. PETERSON:· Yes.· But injury, as well, is a
·7· ·requirement for typicality.
·8· · · · · · ·THE COURT:· Why?
·9· · · · · · ·MR. PETERSON:· And even (indiscernible)
10· · · · · · ·THE COURT:· Why, though?· Why, at least when -- it
11· ·says claims or defenses.· And ordinarily, injury would be in
12· ·there, when we're talking about a class as to the entire
13· ·claim.· But when we're talking about issue classes, why
14· ·shouldn't it just be the portion of the claim, the relevant
15· ·portion of the claim that has to be typical?
16· · · · · · ·MR. PETERSON:· Well, Rule 23(a) goes to whether a
17· ·class, at a high level, is appropriate at all, whether the
18· ·class certification device should be used.· And the problem
19· ·is, if the other unnamed class members don't have any
20· ·interest in these proceedings -- I mean, assume the extreme
21· ·hypothetical in which the four named plaintiffs were the only
22· ·individuals who suffered any emotional distress, and none of
23· ·the other class members suffered any emotional distress on
24· ·learning this information at all -- there would be absolutely
25· ·no need to use the class action device --



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·1· · · · · · ·THE COURT:· Okay.· But that's not --
·2· · · · · · ·MR. PETERSON:· -- (indiscernible)
·3· · · · · · ·THE COURT:· -- what we're talking about here.
·4· · · · · · ·MR. PETERSON:· Well, there's no proof.· I mean, at
·5· ·the end of the day, Rule 23(a) has to be satisfied by a
·6· ·preponderance of the evidence.· And if you look at where the
·7· ·plaintiffs attempted to show typicality, you'll see -- Joint
·8· ·Appendix 188, Joint Appendix 1315 -- they do not cite to any
·9· ·evidence in the record in their typicality analysis and there
10· ·are no findings by the district court related to typicality.
11· · · · · · ·But let me turn to adequacy because, even if you
12· ·accept the theory that emotional distress is a typical
13· ·reaction to learning this information, it creates the issue
14· ·that we highlighted, which is that, if, under their theory,
15· ·certifying the class and providing this information to class
16· ·members would, in fact, cause currently uninjured class
17· ·members to suffer an injury as a result of the class
18· ·certification, individuals who do not currently suffer from
19· ·emotional distress would, at that point in time, be suffering
20· ·from emotional distress going forward.· We see that as a
21· ·fundamental conflict between the named plaintiffs and the
22· ·unnamed class members.
23· · · · · · ·THE COURT:· How is that a --
24· · · · · · ·MR. PETERSON:· It's (indiscernible)
25· · · · · · ·THE COURT:· How is that a conflict?· How are the --



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·1· ·how are the interests of the four named plaintiffs different
·2· ·or in conflict with any potential claim members?
·3· · · · · · ·MR. PETERSON:· Because what the named plaintiffs
·4· ·are asking the Court to do is inflict an injury.
·5· · · · · · ·THE COURT:· No.
·6· · · · · · ·MR. PETERSON:· They --
·7· · · · · · ·THE COURT:· No.· The injury comes -- the injury
·8· ·could well come from the actual misconduct.· You can't then
·9· ·blame it on the revelation of the misconduct.· You're
10· ·shooting the messenger.
11· · · · · · ·MR. PETERSON:· Well, you could be.· But the
12· ·question is -- you have someone who, right now, is happily
13· ·living their life, they are suffering from no --
14· · · · · · ·THE COURT:· Okay.
15· · · · · · ·MR. PETERSON:· -- emotional distress or --
16· · · · · · ·THE COURT:· So the argument is we should let you
17· ·run out the statute of limitations and then say it's too
18· ·late, by the time they discovery it.
19· · · · · · ·MR. PETERSON:· Well, actually, the statute of
20· ·limitations is a fascinating point here because, under
21· ·plaintiffs' theory, the way they are getting around the
22· ·statute of limitations is to say that limitations begins when
23· ·you learn the information.· So, under their theory of the
24· ·case, you don't look at the limitations from the time of
25· ·treatment.· They say there is no injury, they say there is no



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·1· ·limitations accrual until you actually learn this information
·2· ·and begin to suffer the emotion distress.
·3· · · · · · ·THE COURT:· You have --
·4· · · · · · ·THE COURT:· Would you stipulate to that?
·5· · · · · · ·MR. PETERSON:· I would not stipulate to that --
·6· · · · · · ·THE COURT:· Ah.· Then they --
·7· · · · · · ·MR. PETERSON:· -- because that is --
·8· · · · · · ·THE COURT:· -- can't rely --
·9· · · · · · ·MR. PETERSON:· -- that is --
10· · · · · · ·THE COURT:· -- on that.
11· · · · · · ·MR. PETERSON:· But that is my friend's theory,
12· ·that's the theory that the plaintiffs are proceeding on, and
13· ·that's the theory that it's appropriate to hold them to, to
14· ·the adequacy determinations.
15· · · · · · ·And right or wrong, this is an argument that we
16· ·made to the district court below and it's an analysis that
17· ·wasn't performed in the class certification order.
18· · · · · · ·THE COURT:· Come back to this -- to the conflict
19· ·issue.· How are they adverse to one another?· How are the
20· ·interests of the named plaintiffs adverse or in conflict with
21· ·the interests of yet-to-be-named plaintiffs?
22· · · · · · ·MR. PETERSON:· The conflict, as we see it, is that
23· ·the named plaintiffs have said, "In our view, sharing this
24· ·information with the class will cause the class members
25· ·emotional distress."· That is their theory.· Learn the



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·1· ·information, you go from not being injured to being injured.
·2· ·You move from not suffering any emotional distress to
·3· ·suffering emotional distress.· And the named plaintiffs are
·4· ·saying we would like the district court to send notification
·5· ·to the class to provide this -- them this information and for
·6· ·them to have -- suffer an injury.
·7· · · · · · ·Now, look, to be clear, it's not perfectly clear to
·8· ·me whether this fits into the adequacy or typicality bar.
·9· ·It appears to be a novel circumstance.· We have not
10· ·identified any case previously in which class counsel was
11· ·saying, "We would like to represent a group of uninjured
12· ·plaintiffs, and we think you should then inflict emotional
13· ·distress on them, so that we can then recover" --
14· · · · · · ·THE COURT:· Well, you don't have --
15· · · · · · ·MR. PETERSON:· -- allow (indiscernible)
16· · · · · · ·THE COURT:· -- any authority for your proposition.
17· ·You don't have any authority that says that keeping people in
18· ·the dark prevents them from being injured.
19· · · · · · ·MR. PETERSON:· No, Your Honor, I don't.· And I'll
20· ·admit, though, that I think it's a difficult question, but I
21· ·think it's a question that needed to be wrestled with and
22· ·addressed as part of the class certification analysis.
23· · · · · · ·THE COURT:· Okay.· Well, then --
24· · · · · · ·THE COURT:· But --
25· · · · · · ·THE COURT:· -- shouldn't the scales be tipped by



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·1· ·the fact that you won't stipulate that this -- that there's
·2· ·no statute of limitations problem here, and so we should err
·3· ·on the side of at least giving them the choice and empowering
·4· ·them because Rule 23 favors letting the party decide to opt
·5· ·in or opt out?
·6· · · · · · ·MR. PETERSON:· And the problem, as I see it, is
·7· ·that the uninjured party, it's not a question of opting in or
·8· ·opting out; it's a question of suffering the injury or not
·9· ·suffering the injury.
10· · · · · · ·THE COURT:· So you want to say --
11· · · · · · ·MR. PETERSON:· Again --
12· · · · · · ·THE COURT:· -- that the injury is really being
13· ·caused by the attorneys and distract from the fact that your
14· ·own client had a role in playing these injuries, and a lot of
15· ·people, they may be injured out there and just not know how
16· ·to sue about it.
17· · · · · · ·MR. PETERSON:· Well, that's the -- if -- under
18· ·plaintiffs' theory, they have not been injured until they
19· ·learn the information.
20· · · · · · ·THE COURT:· Okay.· They could amend that.· I mean,
21· ·fine, we can agree to disagree on that.
22· · · · · · ·Before we leave Rule 23, I forgot to ask on
23· ·typicality.· Didn't you forfeit the typicality issue below?
24· ·You didn't preserve this.
25· · · · · · ·MR. PETERSON:· No, Your Honor.· We certainly --



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·1· · · · · · ·THE COURT:· Okay.· Give me a citation as to where
·2· ·you preserve this issue.· Where did you raise it below?
·3· · · · · · ·MR. PETERSON:· Joint Appendix Page 734.
·4· · · · · · ·THE COURT:· Okay.· I looked.· Joint Appendix 732 to
·5· ·33 don't really seem to discuss this.· I ought to look at 734.
·6· · · · · · ·THE COURT:· Does the record show -- does the record
·7· ·show how many putative class members have not yet learned
·8· ·about this conduct, so we can better --
·9· · · · · · ·MR. PETERSON:· It's not --
10· · · · · · ·THE COURT:· -- assess --
11· · · · · · ·MR. PETERSON:· It's not --
12· · · · · · ·THE COURT:· -- we can better assess your argument?
13· · · · · · ·MR. PETERSON:· It's not perfectly clear, Your
14· ·Honor.· It's not perfectly clear how many putative class
15· ·members there are.· You know, recall, of course, it's not
16· ·examined in any way and it's difficult to know exactly how
17· ·many class members there will be.· There appears to be some
18· ·indication that hundreds of class members have been informed
19· ·of this.
20· · · · · · ·But with the Court's permission, let me turn to
21· ·Rule 23(b).
22· · · · · · ·THE COURT:· Please.
23· · · · · · ·MR. PETERSON:· Thank you.
24· · · · · · ·As Rule 23's text requires and as the cases
25· ·interpreting it make plain, class certification requires



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·1· ·satisfication [sic] -- satisfaction of one of the prongs of
·2· ·Rule 23(b), in addition to satisfaction of Rule 23(a).· Here,
·3· ·the district court did not make any findings on any of the
·4· ·prongs of Rule 23(b).· Instead, it looked at 23(a) and then
·5· ·to the Gates factors.
·6· · · · · · ·THE COURT:· Is that required?· Is twenty -- is
·7· ·analysis of 23(b) required under Gates and under the majority
·8· ·view these days?
·9· · · · · · ·MR. PETERSON:· Yes, Your Honor.· And to be clear --
10· · · · · · ·THE COURT:· And what case supports that?· Other
11· ·than the Fifth Circuit footnote from '96, what do you have?
12· · · · · · ·MR. PETERSON:· Well, I would point you, for
13· ·example, to Martin v. Behr Dayton Thermal Products --
14· · · · · · ·THE COURT:· And that's --
15· · · · · · ·MR. PETERSON:· -- a Sixth Circuit case --
16· · · · · · ·THE COURT:· -- a case where the Supreme Court
17· ·denied cert on this issue, right?
18· · · · · · ·MR. PETERSON:· It is a case -- and I think it's a
19· ·case that my friend champions.· And that's a case where it
20· ·does accept the idea that you can certify under 23(c)(4)
21· ·without proceeding to look at predominance and superiority --
22· ·or I'm sorry -- without looking at predominance with respect
23· ·to the non-certified issues.· However, it nonetheless applies
24· ·a robust test for predominance, looking at whether these are
25· ·truly separate issues or not.· And it actually says you do



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·1· ·need to look at superiority with respect to the claims as a
·2· ·whole, explaining that superiority functions as a backdrop
·3· ·against inefficient certification.· There is no court that I
·4· ·am aware of that says you can disregard Rule 23(b) as a part
·5· ·of certification.
·6· · · · · · ·Now Gates is a difficult case and it's difficult to
·7· ·understand.· I'll certainly admit that.· I think there are
·8· ·several ways of reading it and we've tried to set out a
·9· ·couple of them in the brief.· I think the most that you can
10· ·read Gates for is the proposition that those factors are a
11· ·way of determining the predominance requirements of Rule
12· ·23(b).· But I don't think you can read the text of Gates and
13· ·say those factors are also as substitute for the superiority
14· ·requirements of Rule 23(b).
15· · · · · · ·Now, in our view, we think that's wrong.· We do
16· ·think you need to take those Gates factors and not simply
17· ·look at them in isolation.· But even if you're going to
18· ·consider them, proceed to use them to make the required
19· ·superiority finding of Rule 23(b) -- I'm sorry -- the
20· ·required predominance finding of Rule 23(b)(3) and to make
21· ·the separate superiority finding of Rule 23(b) with respect
22· ·to the claims as a whole.
23· · · · · · ·Let me turn briefly, though -- I'd like to turn
24· ·back to the interaction of 23(b) and (c)(4) -- I know I'm
25· ·pressed for time -- and just briefly touch upon the



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·1· ·application of the Gates factors in this case, which may be
·2· ·the easiest way of resolving it.
·3· · · · · · ·We detailed the variations in state law in the
·4· ·briefing.· We think the district court erred in concluding
·5· ·Pennsylvania law could apply.· And with respect to the
·6· ·variations in state law, it's not enough to say each of these
·7· ·states has duties as an element of negligent inflection of
·8· ·emotional distress.· This is a novel claim, attempting to
·9· ·create broad new duties.· If you're going to say the state
10· ·law is the same, you have to do more than simply say they all
11· ·have duty as an element.· You would have to show that every
12· ·state would impose the same sweeping duty on credentialing
13· ·organizations.
14· · · · · · ·With respect to the type of claim at issue, as we
15· ·pointed out, emotional distress is not a claim where you can
16· ·bifurcate damages and liability.· What my friend is going to
17· ·say is that the emotional distress is solely due to treatment
18· ·by Dr. Akoda.· That's not the case, though.
19· · · · · · ·And I point you to Ms. Russell's deposition
20· ·testimony on Joint Appendix Page 403 because what she says
21· ·there is, "it's not just feeling violated by treatment by Dr.
22· ·Akoda, but it's feeling violated by the institutions that
23· ·allowed her to be treated by Dr. Akoda."· She's feeling
24· ·violated that -- in her view, she thinks ECFMG is a government
25· ·organization that performs background checks -- but in her



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·1· ·view, it's the institutions that were supposed to protect her
·2· ·from Dr. Akoda that failed.· So her alleged emotional
·3· ·distress really is traced to her view of ECFMG's actions, not
·4· ·just the fact that she was treated by Dr. Akoda.· And in
·5· ·analyzing that emotional distress, you would need to look at
·6· ·all of the circumstances leading up to it.
·7· · · · · · ·Again, we argued this, we argued Spence to the
·8· ·district court, it wasn't considered.· With the efficiencies,
·9· ·as we pointed out, virtually all of the information presented
10· ·in any common proceedings would need to re-presented in any
11· ·individual proceedings.· Causation, all of our affirmative
12· ·defenses, the vast meat of the case is left for subsequent,
13· ·individual proceedings.· This case really is Gates, where the
14· ·plaintiffs were seeking to certify narrow, abstract questions
15· ·of duty and breach, while leaving the vast bulk of the case
16· ·for subsequent treatment in individual proceedings.
17· · · · · · ·THE COURT:· Thank you, Counsel.· I mean, if you
18· ·have -- if -- I didn't mean to cut you off.· Did you want to
19· ·finish up here?
20· · · · · · ·MR. PETERSON:· No.· Thank you.
21· · · · · · ·With respect to Rules 23(b) and (c)(4) -- and I'm
22· ·sorry, Your Honor, I believe I'm into my rebuttal time.
23· · · · · · ·THE COURT:· It's -- no, no, go ahead, go ahead.· Go
24· ·on, Counsel.
25· · · · · · ·MR. PETERSON:· Thank you.



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·1· · · · · · ·I just encourage the Court to look at the advisory
·2· ·committee notes in 1990 -- 1966 to Rule 23, with respect to
·3· ·Rule 23(b)(3) and 23(c)(4).· Both of them use the same
·4· ·example, a fraud claim in which liability issues are suitable
·5· ·for common treatment and damages are individualized.· And
·6· ·what Rule 23(b)'s comments say is that is an example in which
·7· ·the common liability issues predominate over the
·8· ·individualized damage question.· That's the same example
·9· ·called back to in Rule 23(c)(4), not as a way of evading the
10· ·predominance test, but pointing out the predominance test was
11· ·satisfied.
12· · · · · · ·The circuits that have gone astray -- the Second
13· ·Circuit in the Nassau decision, the Sixth Circuit in its Behr
14· ·decision -- have both misread the advisory committee notes to
15· ·23(c)(4), suggesting that fraud example is an example of
16· ·evading the predominance requirements of 23(b)(3), not
17· ·correctly recognizing it as an example in which the
18· ·predominance requirements are satisfied.
19· · · · · · ·THE COURT:· Thank you, Counsel.· We'll get you back
20· ·up on rebuttal shortly.
21· · · · · · ·Mr. Thronson.
22· · · · · · ·MR. THRONSON:· Thank you, Judge Restrepo.· May it
23· ·please the Court, Patrick Johnson on behalf of
24· ·(indiscernible) class.
25· · · · · · ·The district court acted within its broad



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·1· ·discretion in certifying the negligence elements of duty and
·2· ·breach which are indisputably common to all class members               A
·3· ·single course of conduct in one state by the sole defendant
·4· ·gave rise to claims of one type of class-wide harm under one
·5· ·legal theory.
·6· · · · · · ·THE COURT:· Let me start --
·7· · · · · · ·MR. THRONSON:· All plaintiffs --
·8· · · · · · ·THE COURT:· Let me back you up to the Gates
·9· ·factors.· All right?
10· · · · · · ·MR. THRONSON:· Sure.
11· · · · · · ·THE COURT:· Did the district court do a robust
12· ·enough analysis, so to speak, of the Gates factors?
13· · · · · · ·MR. THRONSON:· Yes, Your Honor.· There are two
14· ·factors that my colleague indicated -- claimed were not
15· ·addressed in the district court's opinion in the reply brief.
16· ·The type of claims and issues in question -- that's addressed
17· ·throughout the district court's opinion.· And the district
18· ·court performed a very careful and discriminating analysis in
19· ·determining whether, for example, the entire issue of
20· ·liability could be certified, versus certain elements of
21· ·negligence in this case.· And that's on Pages Joint Appendix
22· ·45 and 56 and onward.
23· · · · · · ·The second is the -- whether the substantive law
24· ·separates the issues from other issues concerning liability
25· ·or remedy.· If you look at the ALI Principles on which the



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·1· ·Gates factors were modeled, the question there is whether,
·2· ·essentially, the district court can appropriately carve at
·3· ·the joint and find issues that can be efficiently and
·4· ·appropriately isolated for common treatment -- for common
·5· ·resolution, while leaving the remaining issues for
·6· ·individual resolution.· So you see consideration of those --
·7· ·that issue at 56 and 59 through 62.
·8· · · · · · ·THE COURT:· The efficiency --
·9· · · · · · ·THE COURT:· Mr. Thronson --
10· · · · · · ·THE COURT:· Sorry.· Mr. Bibas, go ahead.· Judge
11· ·Bibas, go ahead.
12· · · · · · ·THE COURT:· Sorry.· We should get back to
13· ·efficiencies.· But I did want to ask you about a couple of
14· ·factors that your friend doesn't focus on.· I didn't see
15· ·express discussion of Number 2, overall complexity; Number 6,
16· ·potential preclusive effect, or Number 7, repercussions of
17· ·certification on resolution of remaining issues.· Do you see
18· ·that in the record?
19· · · · · · ·MR. THRONSON:· I -- in terms of the overall
20· ·complexity of the case, I think that -- I mean, the district
21· ·court accurately describes what the case is about, what the
22· ·claims are, talks about that individual -- these individual
23· ·elements of negligence can be isolated for class-wide
24· ·resolution, contemplates what the follow-on proceedings will
25· ·involve, in terms of the resolution of individual claims.               I



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·1· ·think that's inherent in the entire discussion, Judge Bibas.
·2· · · · · · ·In terms of the potential preclusive effect, on
·3· ·Joint Appendix 60 through 61, the Court, for example,
·4· ·discusses whether non-mutual collateral estoppel could be
·5· ·sufficient and determines that class treatment -- determines
·6· ·that it can't be, that it won't be because it will generate
·7· ·inconsistent outcomes.· And if ECFMG prevails in one trial,
·8· ·they can't use that result against another plaintiff, and
·9· ·that the preclusive effect of a class determination of these
10· ·issues is a superior way --
11· · · · · · ·THE COURT:· And how about the repercussions on
12· ·other remaining issues?
13· · · · · · ·MR. THRONSON:· I see that discussed on 60 through
14· ·61, which is, again, a discussion of preclusion; and also on
15· ·61, the individual proceedings will remain which will focus
16· ·on causation and damages need not impact each other.· So I
17· ·see the district court considering that there.
18· · · · · · ·THE COURT:· And maybe it considered it, but let's
19· ·talk about that in the light of efficiency.· So let's assume
20· ·you prevail down the line on duty and breach, and now you're
21· ·at a damages phase of this proceeding.· What's that going to
22· ·look like?
23· · · · · · ·MR. THRONSON:· What it will look like, Your Honor,
24· ·is a series of mini-trials and --
25· · · · · · ·THE COURT:· Like 700, maybe, mini-trials?



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·1· · · · · · ·MR. THRONSON:· Well, likely not.· I think how the
·2· ·district court -- obviously, it would be up to the district
·3· ·court's discretion and judgment, in terms of how the class
·4· ·proceeding pans out and what the case looks like at that
·5· ·stage.
·6· · · · · · ·THE COURT:· Even if you --
·7· · · · · · ·MR. THRONSON:· We might be --
·8· · · · · · ·THE COURT:· -- had maybe --
·9· · · · · · ·MR. THRONSON:· -- structured as -- like a mass tort
10· ·case, where --
11· · · · · · ·THE COURT:· But even if you had just --
12· · · · · · ·MR. THRONSON:· -- you have a bellwether --
13· · · · · · ·THE COURT:· Even you had just a handful of mini-
14· ·trials, you would still have to present evidence.· Damages is
15· ·tethered to duties and breach, right?· And causation.
16· · · · · · ·MR. THRONSON:· Well, here, what you would avoid by
17· ·using the class device is repetitive, expensive presentation
18· ·of expert testimony on the standard of care.· So the parties
19· ·have identified approximately 15 experts, and the majority of
20· ·them pertain to standard of care.· And in resolving issues of
21· ·duties of breach, you don't have to present that evidence
22· ·repeatedly, fly experts in from all over the country and
23· ·present them at 700 individual trials.· You know, we
24· ·represent 550 claimants.· I think there's evidence in the
25· ·record that there are about 720 who were treated at Prince



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·1· ·George's Hospital Center, at the very least.
·2· · · · · · ·So you have some kind of limited presentation of
·3· ·the evidence that will -- of the factual record -- that could
·4· ·be through answers to special interrogatories that are
·5· ·submitted at the class proceeding, it could be through a
·6· ·stipulation entered into by the parties, it could be through
·7· ·presentation of witness testimony -- that would allow the
·8· ·jury to develop an understanding of what occurred, and -- but
·9· ·again, no expert testimony on liability.
10· · · · · · ·And then you have testimony of the plaintiff, we
11· ·have testimony of perhaps one or two fact witnesses
12· ·(indiscernible) physician or someone who's evaluated the
13· ·plaintiff, to testify as to the nature of the impact.· So
14· ·causation and damages would be resolved in those individual
15· ·proceedings.· And most likely, Your Honor, like most
16· ·individual -- like most MDLs resolve, they don't resolve 700
17· ·individual cases.· After litigating a number of these,
18· ·eventually, the parties are able to -- it facilitates
19· ·settlements and it facilitates an appropriate valuation of
20· ·the case.
21· · · · · · ·To turn briefly to the Gates factors because we
22· ·were on that immediately beforehand.· The Gates factors are
23· ·the means by which predominance and superiority are resolved
24· ·in the context of an issue class certification.· What the
25· ·ALI Principles did and what the district -- what this Court



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·1· ·adopted is a means of determining, with precision, the
·2· ·considerations that are involved in the interplay between
·3· ·(b)(3) and (c)(4).
·4· · · · · · ·So, for example, Section 2.02, Comment A, indicates
·5· ·"this section as a whole, not just the phrase 'materially
·6· ·advance,' delineates the multi-faceted inquiries presently
·7· ·encapsulated under the predominance concept."
·8· · · · · · ·The reporter's notes indicates the objective of
·9· ·these factors is to assist both courts and lawyers by
10· ·identifying with greater precision the considerations
11· ·reflected in the interplay between Subsections (b)(3) and
12· ·(c)(4), as set forth in existing case law.
13· · · · · · ·What the Gates factors don't contemplate is that
14· ·the Court go through a detailed analysis of the Gates factors
15· ·as pertaining to the issue class, and then back up and do an
16· ·evaluation of (b)(3) as it pertains to the entire claim.
17· ·That's not in the text of Gates, and it doesn't make sense
18· ·for -- in terms of the text and structure of Rule 23 as we
19· ·described in the brief.
20· · · · · · ·THE COURT:· What about doing it -- what about doing
21· ·it in the other order?· Start with (a) and then do (b),
22· ·especially (b)(3).· And then, if you can't satisfy
23· ·predominance and superiority, you don't get to (c)(4).
24· ·Instead of doing (c)(4) and then backing up to (b), why not
25· ·do (b)(3); and then, if it's satisfied, go to (c)(4)?



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·1· · · · · · ·MR. THRONSON:· That was a -- Judge Porter, that was
·2· ·a path that the district court -- that the Circuit Court
·3· ·considered, but then rejected in Gates.· The Court considered
·4· ·(b)(3) and then went on to the consideration of whether the
·5· ·class satisfied (c)(4).· If (b)(3) certification were
·6· ·required for the entire claim before considering (c)(4), the
·7· ·-- this Court would not have had to go on to (c)(4).
·8· · · · · · ·And the reason is that that avoids -- I think that
·9· ·mode of operating would avoid the efficiencies that are
10· ·presented by the class device.· I mean, here, you have issues
11· ·of duty and breach that involve the conduct of one defendant
12· ·in one state, it's a single course of conduct that are
13· ·indisputably common to all class members.· And it's
14· ·appropriate to give the district -- under Rule 23 and under
15· ·general principles of case management, to give district
16· ·courts the tool to isolate those issues for common treatment
17· ·and for common resolution.· And that's exactly what the ALI
18· ·Principles contemplate.
19· · · · · · ·THE COURT:· All right.· So Gates really left this
20· ·issue open.· It didn't really decide either way, you know.
21· ·And the Fifth Circuit viewed (c)(4) as just, okay, if you've
22· ·satisfied (a) and (b), it might be a little cleaner to let
23· ·the Court do it this way.· Why shouldn't we follow the Fifth
24· ·Circuit's approach and not allow (c)(4) to -- you know, if a
25· ·class doesn't satisfy (b)(3), then (c)(4) is not going to



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·1· ·broaden it or allow it in -- you know, if (b)(3) is only
·2· ·partially asserted satisfied.
·3· · · · · · ·MR. THRONSON:· Judge Bibas, I think I disagree with
·4· ·the idea that Gates didn't resolve that question.· I mean,
·5· ·this Court expressly considered Castano --
·6· · · · · · ·THE COURT:· Right.
·7· · · · · · ·MR. THRONSON:· -- and decided not to follow it.
·8· · · · · · ·THE COURT:· I understand that argument.
·9· · · · · · ·MR. THRONSON:· And so --
10· · · · · · ·THE COURT:· But let's assume that Gates leaves the
11· ·issue open.· Why should we favor the majority side of the
12· ·circuit split, as opposed to the Fifth Circuit's approach?
13· · · · · · ·MR. THRONSON:· First of all, all of the rest of the
14· ·circuits who have considered the issue have come into
15· ·alignment on the question and have rejected Castano.· Even
16· ·the Fifth Circuit has moved away from Castano.
17· · · · · · ·Moreover, if the entire case can be satisfied as to
18· ·(b)(3), there's no reason to then consider whether the
19· ·discrete issue within that case needs to be satisfied.
20· · · · · · ·THE COURT:· So (c)(4) would be superfluous.
21· · · · · · ·MR. THRONSON:· Exactly, exactly.· That's precisely
22· ·the consider -- the concern that the Fourth Circuit
23· ·identified in Gunnells.
24· · · · · · ·THE COURT:· Okay.
25· · · · · · ·MR. THRONSON:· I would disagree, too, with my



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·1· ·colleague's characterization of the Gates factors as not
·2· ·addressing superiority.· The Gates factors expressly
·3· ·considered the -- whether the proceeding can be efficiently
·4· ·resolved.· And if you look at Section 2.02 of the ALI
·5· ·Principles, it discusses -- I can quote from it for you
·6· ·directly.
·7· · · · · · ·It asked district courts to consider whether issue
·8· ·certification will materially advance the resolution of
·9· ·multiple civil claims by addressing the core of the dispute
10· ·in a manner superior to other realistic procedural
11· ·alternatives.· That tracks the superiority requirement of
12· ·Rule 23(b)(3).
13· · · · · · ·THE COURT:· I'm going to ask you to talk about
14· ·choice of law a little.· Your friend spent some time on this.
15· ·And I want you both to talk about the substance of why choice
16· ·of law is appropriate, and also the record the district court
17· ·made on choice of law.· You know, is it so clear that
18· ·Pennsylvania law applies?· And did the district court say
19· ·enough about Maryland and D.C. law, such that it has a record
20· ·to justify why it thought Pennsylvania law is the one that
21· ·governs here.
22· · · · · · ·MR. THRONSON:· We believe so, Judge Bibas.· We
23· ·believe the district court did sufficiently consider the
24· ·issue, did thoughtfully consider whether the laws of these
25· ·different states materially differ in a way that would impact



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·1· ·manageability in certifying these issues for class-wide
·2· ·treatment.
·3· · · · · · ·I mean, the real options are that Pennsylvania law
·4· ·applies --
·5· · · · · · ·THE COURT:· Uh-huh.
·6· · · · · · ·MR. THRONSON:· -- to all claims, or that D.C. and
·7· ·Maryland law apply to all claims.
·8· · · · · · ·THE COURT:· Right.
·9· · · · · · ·MR. THRONSON:· And in neither instance is class
10· ·certification impaired.· I mean, it -- at the worst, worst-
11· ·case scenario, you have different classes certified,
12· ·depending on where the plaintiff resides.
13· · · · · · ·THE COURT:· Well, but make the arguments because
14· ·your friend says, okay, Maryland law, in particular, doesn't
15· ·have this separate tort, and the person was injured in
16· ·Maryland, and so you're going to be in a morass about which
17· ·tort we're talking about here.· So, you know, what's the case
18· ·that it really is Pennsylvania law that governs?· And what's
19· ·the case that, even if it isn't Pennsylvania law that
20· ·governs, that it just -- it really doesn't matter which law
21· ·governs?
22· · · · · · ·MR. THRONSON:· Sure.· So the -- taking the second
23· ·point first, there's no dispute as to the negligence cause of
24· ·action.· So my colleague doesn't make any contention that,
25· ·somehow, the laws of these different states and districts are



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·1· ·materially different on negligence.
·2· · · · · · ·The question as to negligent infliction of
·3· ·emotional distress, the district court appropriately
·4· ·concluded that there was no functional difference between --
·5· ·certainly, there's no difference between D.C. and
·6· ·Pennsylvania, there's no issue raised by my colleague there.
·7· ·And there's no real functional difference between those two
·8· ·jurisdictions and Pennsylvania and Maryland because Maryland
·9· ·permits the recovery of emotional distress damages in a
10· ·negligence cause of action without physical impact.
11· · · · · · ·THE COURT:· Have you done a fifty-state survey?
12· ·I'm just kind of curious, when this issue and case goes on to
13· ·other people who have moved elsewhere, like how widespread
14· ·these approaches are?
15· · · · · · ·MR. THRONSON:· The approach of negligent
16· ·infliction --
17· · · · · · ·THE COURT:· Of having --
18· · · · · · ·MR. THRONSON:· -- (indiscernible)
19· · · · · · ·THE COURT:· -- separate negligent infliction tort
20· ·or having the functional equivalent folded inside negligence.
21· · · · · · ·MR. THRONSON:· I have not done a fifty-state survey
22· ·of that, Your Honor.· I'm happy to (indiscernible)
23· · · · · · ·THE COURT:· That's all right.· So then let's assume
24· ·that he has something to the point that Maryland's difference
25· ·matters.· How clear is it that Pennsylvania law really ought



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·1· ·to govern all of these?· I think he's pushed that point.
·2· · · · · · ·MR. THRONSON:· Because what's -- my colleague
·3· ·focuses the choice of law question on conduct that is really
·4· ·not part of this aspect of the case and not relevant to the
·5· ·parties who are actually in the case.· I mean, this case is
·6· ·about ECFMG's conduct in Pennsylvania.· ECFMG is a
·7· ·Pennsylvania corporation.· It's not about what Akoda did,
·8· ·it's not about what other state medical boards did for the
·9· ·purpose of determining choice of law.· It's really about what
10· ·a Pennsylvania corporate citizen did.
11· · · · · · ·And it would be a strange outcome to have the
12· ·application of Pennsylvania tort law to regulate the conduct
13· ·of a Pennsylvania corporation depend on the fortuitous
14· ·location of a plaintiff at that time the particular plaintiff
15· ·happened to be injured.· And so I think the district court
16· ·appropriately determined that, really, Pennsylvania had the
17· ·most substantial relationship to the dispute; and, therefore,
18· ·Pennsylvania law should govern.· And the analysis is sound
19· ·there.
20· · · · · · ·THE COURT:· Could you touch on counsel's argument
21· ·with respect to this conflict of interest?
22· · · · · · ·MR. THRONSON:· Certainly.· First of all, as, Judge
23· ·Restrepo, you made a reference to, only a fundamental
24· ·conflict of interest can defeat adequacy.· The district court
25· ·made this finding at Page 20 of its opinion, citing Dewey v.



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·1· ·Volkswagen.· My colleague doesn't contest this.
·2· · · · · · ·And what a "fundamental conflict of interest" means
·3· ·is that some members of the class benefitted, while other
·4· ·members were harmed by the relevant conduct.· Here, the
·5· ·district court appropriately found that no one benefitted
·6· ·from the conduct.
·7· · · · · · ·And so it would be -- there's no real basis that my
·8· ·colleague identifies to deem the district courts to have
·9· ·clearly erred in this finding.· I mean, there's no argument
10· ·that the district court misapplied circuit precedent or
11· ·Supreme Court precedent.· There's no argument that, somehow
12· ·-- that my colleague's speculative argument about the
13· ·potential impact of this notice upon individuals, that that
14· ·is contained in a precedent that was misapplied.
15· · · · · · ·The important thing, too, for the Court to
16· ·recognize is that this argument does not apply to the over
17· ·500 individuals who are already represented.· So these are
18· ·individuals who already aware of the claim and are already
19· ·signed up and they're in the record.· And so this -- the
20· ·adequacy argument does not apply to them.
21· · · · · · ·Moreover, it's important to recognize that
22· ·plaintiffs don't seek to inflict emotional injury on anyone.
23· ·They seek to vindicate their rights and the rights of the
24· ·class members.· And in any event, if there is such a person
25· ·out there who, despite the widespread media coverage of this



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·1· ·case, were to determine that -- were to be, you know,
·2· ·emotionally distressed by receiving notice of this and didn't
·3· ·know about it beforehand, ECFMG, under our theory, is the
·4· ·cause of that emotional distress.· The Court or the mailman
·5· ·or counsel, plaintiffs' counsel, are just the messenger for
·6· ·that.· I mean, the -- we don't cut off ECFMG as a proximate
·7· ·cause of that emotional distress.· So it's important to
·8· ·distinguish between the cause of injury and the means by
·9· ·which that injury comes to light for an individual plaintiff.
10· · · · · · ·Actually, briefly, on typicality, Your Honor.
11· ·There are a number of hurdles to overcome, I believe, for
12· ·this Court to find in favor of my colleague on typicality.
13· ·First is the discussion in Newton v. Merrill Lynch.· It's a
14· ·case that's cited on Page 23 of ECFMG's brief.· And as to
15· ·typicality, Judge Scirica articulated:
16· · · · · · ·"The criterion acts as a bar to class certification
17· ·only when the legal theories of the named representatives
18· ·potentially conflict with those of the absentees.· If the
19· ·claims of the named plaintiffs and putative class members
20· ·involve the same conduct by the defendant, typicality is
21· ·established, regardless of factual differences."
22· · · · · · ·We believe that language is dispositive here.
23· · · · · · ·Also, the Court's language in the NFL concussion
24· ·cases that typicality is a low threshold.· And in that case,
25· ·only 28 percent of the class members were expected to suffer



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·1· ·any injury, and that was no barrier to the class
·2· ·certification for (indiscernible)
·3· · · · · · ·THE COURT:· That's typicality.· Now talk about this
·4· ·adequacy argument that the notice itself was going to
·5· ·traumatize your clients.
·6· · · · · · ·MR. THRONSON:· Certainly.· There, we find that,
·7· ·first of all, as I was mentioning to Judge Restrepo, that a
·8· ·fundamental conflict of interest is required in order for
·9· ·adequacy to be impaired, which is some individuals benefitted
10· ·and other individuals were harmed.· And we don't -- there's
11· ·no contention that that's the case here by appellant, and
12· ·there's no challenge to that particular test or any kind of
13· ·argument that that test doesn't apply.· The district court
14· ·made that finding explicitly, so we believe that the district
15· ·court's finding on adequacy is sound.· Again, it doesn't
16· ·apply to the individuals who are already represented, who are
17· ·over 500 in number.
18· · · · · · ·And ECFMG is the cause of the class members'
19· ·injuries; I mean, the cause in two respects:· First, that it
20· ·was the -- sorry.· Let me back up for a second.
21· · · · · · ·In that scenario, let's assume there is someone out
22· ·there who did not know about this issue, and finds out
23· ·through some kind of court-approved notice that would reflect
24· ·the district court's careful consideration of this matter and
25· ·the potential impact upon plaintiffs of receiving it.· ECFMG



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·1· ·is the cause of whatever distress occurs.· I mean, it's just
·2· ·-- it would be as strange to argue that somehow the mail
·3· ·carrier or the Court were the cause of emotional distress in
·4· ·that scenario, as it would be to argue that somehow the news
·5· ·media is the cause of an individual's distress and for the
·6· ·rest of the plaintiffs, and that somehow there's an action
·7· ·against them.· So, again, it's important to distinguish
·8· ·between the cause of the injury and the means by which the
·9· ·injury comes to light.· The Court and class counsel would be
10· ·merely the messenger under that scenario.
11· · · · · · ·And I think, in pointing out that if this -- just
12· ·one final point.· We think that Gates is sound, we don't
13· ·seek any modification to Gates, contrary to my colleague's
14· ·contention in its brief.· We don't believe that Gates
15· ·overruled and modified in any way.
16· · · · · · ·We do believe that Rule 23 is trans-substantive,
17· ·and that -- meaning that the mere facts that a party is
18· ·claiming emotional distress doesn't mean that the class
19· ·certification is precluded.· You can see that in the Gunnells
20· ·case, where emotional distress was one of the claims and the
21· ·Fourth Circuit, nonetheless, certified issues classes there.
22· ·So we're just merely saying that Gates and Rule 23 don't
23· ·contemplate that emotional harm can be rejected vel non.
24· · · · · · ·THE COURT:· Does it matter that --
25· · · · · · ·MR. THRONSON:· And your Honor --



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·1· · · · · · ·THE COURT:· Does it matter -- does it matter that,
·2· ·in a negligence action for emotional distress, damages cannot
·3· ·be bifurcated from liability?
·4· · · · · · ·MR. THRONSON:· I don't think that's universally the
·5· ·rule, Your Honor.· I think that -- and in this particular
·6· ·case, we're facing a different scenario, where -- in an
·7· ·ordinary negligence case, you're talking about the personal
·8· ·interaction between the plaintiff and the defendant and you
·9· ·need to develop a factual record to determine the effect of
10· ·defendant's actions on the plaintiff.
11· · · · · · ·Here, there's no direct interaction between the
12· ·plaintiff and the defendant.· The defendant's conduct can be,
13· ·you know, isolated.· It's a common course of conduct and can
14· ·be addressed on a common basis and without any issue of
15· ·having emotional distress be addressed separately because the
16· ·emotional distress arises out of the interactions with Akoda,
17· ·either -- again, there's no Dr. Akoda.
18· · · · · · ·Let's be clear.· There is a Mr. Igberase.· There's
19· ·no medically licensed individual named "Akoda."· He doesn't
20· ·have a board certification, he doesn't have a medical
21· ·license.· The license was stripped for committing a crime of
22· ·moral turpitude.
23· · · · · · ·But the emotional distress arises out of that
24· ·interaction and, separately, for some, for plaintiffs finding
25· ·out about ECFMG's conduct and Akoda/Igberase's true identity.



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·1· ·So we believe that there is a separation there that permits
·2· ·these issues to be resolved separately.
·3· · · · · · ·THE COURT:· Thank you very much.· I'm sorry, I
·4· ·didn't mean to cut you off.· Anything else you want to add
·5· ·for us?
·6· · · · · · ·MR. THRONSON:· Nothing else.· Thank you, Judge
·7· ·Restrepo.
·8· · · · · · ·THE COURT:· All right.· Take care.
·9· · · · · · ·Mr. Peterson.
10· · · · · · ·MR. PETERSON:· Thank you, Your Honor.· A few points
11· ·in rebuttal.
12· · · · · · ·First, what you heard from my friend during his
13· ·argument is the first time that the plaintiffs have put
14· ·together any kind of concrete trial plan as to how this case
15· ·will actually be tried.· Now we think that's wrong.· But more
16· ·significantly, that's the sort of thing that should have been
17· ·analyzed in the district court and not for the first time
18· ·during oral argument on appeal.· The fact that we are
19· ·disputing, right now, what evidence would need to be
20· ·presented at each proceeding, what issues would need to be
21· ·pre -- decided at each proceeding is, essentially,
22· ·confirmation that the district court didn't rigorously
23· ·analyze how this case would actually be tried below.
24· · · · · · ·And I'll note I can understand why my friend would
25· ·want to try the case that way, but there's no answer to



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·1· ·causation in his trial plan.· There's no answer to when and
·2· ·which jury would actually look at ECFMG's conduct, compared
·3· ·to all of the other numerous causes of the alleged emotional
·4· ·injury suffered by plaintiffs and decide whether ECFMG was
·5· ·actually the proximate cause of anyone's injuries.
·6· · · · · · ·Second, there were references to the majority of
·7· ·the circuit split.· Judge Bibas, I do want to suggest I think
·8· ·the circuit split may have been unsettled somewhat by the
·9· ·Supreme Court's Comcast decision in 2013.· If you look at the
10· ·wake of Comcast and what some of the circuits did; in
11· ·particular, the Seventh Circuit on remand in Butler v. Sears,
12· ·Roebuck & Company --· that was a remand from the Supreme
13· ·Court, a common liability class and individual damage issues
14· ·under Rule 23(c)(4).· It went back down to the Seventh
15· ·Circuit.
16· · · · · · ·The Seventh Circuit didn't say, because this is a
17· ·23(c)(4) class, we can look at predominance, just focused on
18· ·the common liability issues.· The Seventh Circuit looked at
19· ·it and said, well, we need to look at predominance, comparing
20· ·the common liability issues against the individual damages
21· ·issues, and correctly determined, even in a 23(c)(4) class,
22· ·that those issues predominated.· But it still made that
23· ·comparison.
24· · · · · · ·THE COURT:· Well, what do you say to your friend's
25· ·argument that, if you do it in that order, you render (c)(4)



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·1· ·superfluous?
·2· · · · · · ·MR. PETERSON:· Well, I say his argument renders
·3· ·23(b)(3) superfluous --
·4· · · · · · ·THE COURT:· I --
·5· · · · · · ·MR. PETERSON:· -- (indiscernible)
·6· · · · · · ·THE COURT:· I know.
·7· · · · · · ·MR. PETERSON:· So I think the -- I actually
·8· ·disagree.· And I think the Fourth Circuit went astray in
·9· ·Gunnells when it suggested that you should just -- the
10· ·alternative is to ignore (c)(4) as you proceed through the
11· ·(b)(3) analysis -- and Judge Porter, respectfully, I do
12· ·think (c)(4) and the availability of the power under (c)(4)
13· ·is important in a 23(b)(3) class action.· You need to know
14· ·which issues the Court is being asked to give class
15· ·treatment to and what will actually be tried on a class-wide
16· ·basis, as opposed to individually, any time you're
17· ·proceeding through the superiority and predominance analysis
18· ·of (b)(3).
19· · · · · · ·So, far from rendering 23(c)(4) a dead letter, in
20· ·our view, Rule 23(c)(4) is used and is important every time
21· ·you have a class action in which not all of the issues are
22· ·being given class-wide treatment, which is a relatively
23· ·common occurrence, albeit often implicitly, rather than
24· ·explicitly under 23(c)(4).
25· · · · · · ·Third, with respect to choice of law, as I think my



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·1· ·friend indicated, the only real relationship that
·2· ·Pennsylvania has to this lawsuit is the fact that ECFMG is
·3· ·located there, that ECFMG's communications were with out-of-
·4· ·state entities.· Now ECFMG's communications are to hospitals
·5· ·located out of state, ECFMG's communications located to
·6· ·medical boards out of state.· The location of the defendant
·7· ·tends to be the least significant factor in the choice of law
·8· ·analysis.
·9· · · · · · ·And again, what's critical here is not just that,
10· ·at a high level, the tort is recognized; not just, at a high
11· ·level, that these states recognize a cause of action for
12· ·negligence.· What matters is whether these states would
13· ·actually recognize the duty that plaintiffs are seeking to
14· ·impose.· These are novel claims.· This is an extraordinarily
15· ·broad duty.· A suggestion that ECFMG owes any kind of duty at
16· ·all to any kind of patient treated by any foreign medical
17· ·graduate is a broad, expansive proposition, and it's one that
18· ·would need to be tested and questioned under the law of each
19· ·of these states.
20· · · · · · ·Fourth, with respect to the adequacy discussion and
21· ·the conflict, my friend talked about it as the injury coming
22· ·to light, and I think that's not a framing that we agree
23· ·with.· It's not about an injury coming to light, it's about
24· ·not suffering an injury.
25· · · · · · ·This is not the usual case in which there is a



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·1· ·plaintiff who has suffered a physical or pecuniary injury or
·2· ·even an emotional injury, walks into a lawyer's office,
·3· ·finds out about it, and then walks out being represented.
·4· ·This is a case in which there are class members who have
·5· ·suffered no injury at all, who don't even know that they were
·6· ·ever examined by Dr. Akoda, who are happily living their
·7· ·lives and who will continue happily living their lives, not
·8· ·with no injury that has come to light, but with no injury
·9· ·whatsoever.
10· · · · · · ·And under my friend's theory, they suffer that
11· ·injury and they suffer compensable emotional distress --
12· ·which is not a small thing -- upon being notified of the
13· ·class.· Again, this is novel.· I don't think either party has
14· ·found a case which involves this.· But I do think it's a
15· ·serious consideration when the plaintiffs' theory is that the
16· ·class certification itself will, in fact, cause the injury
17· ·that will then allow the class members to recover.· Not an
18· ·injury coming to light, but an injury actually occurring.
19· ·It's not about causation and it's no about whether ECF [sic]
20· ·is legally responsible for it -- although we certainly think
21· ·it's not -- but it's about the fact that there is no injury
22· ·pre-close -- pre-certification, and then there is an injury
23· ·post-certification.
24· · · · · · ·And Your Honor, if I can close just on one point.
25· · · · · · ·THE COURT:· Sure.



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·1· · · · · · ·MR. PETERSON:· It is a question of causation and
·2· ·it's a question of whether these claims can be severed in the
·3· ·manner suggested by the district court.· The -- ECFMG needs
·4· ·to be able to present its defenses.· Class certification
·5· ·cannot be used can deprive a defendant of the right to
·6· ·present its case and present its arguments, including, here,
·7· ·the fact that any emotional distress traceable to ECFMG needs
·8· ·to be considered in light of all of the evidence of ECFMG's
·9· ·conduct, and that causation needs to be weighed in light of
10· ·all of the different actors, including ECFMG's conduct.
11· ·These claims are not divisible, and class certification
12· ·was error.
13· · · · · · ·THE COURT:· Counsel, thank you very much.
14· · · · · · ·I'm going to ask that you folks reach out to the
15· ·Clerk's Office and make arrangements to docket the transcript
16· ·-- and you'll split the costs -- of this argument.
17· · · · · · ·MR. THRONSON:· Certainly, Your Honor.
18· · · · · · ·MR. PETERSON:· Thank you, Your Honor.
19· · · · · · ·THE COURT:· And thanks again for working with us to
20· ·reschedule this.· Have a great rest of your day.
21· · · · · · ·MR. PETERSON:· Thank you.
22· · · · · · ·THE COURT:· We're in recess.
23· · · · · · ·MR. THRONSON:· Thank you, Your Honor.
24· · · · · · (Proceedings concluded)
25· · · · · · · · · · · · · ·******




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·1· · · · · · · · · · · · CERTIFICATION

·2

·3· · · · · · ·I certify that the foregoing is a correct

·4· ·transcript from the electronic sound recording of the

·5· ·proceedings in the above-entitled matter to the best of my

·6· ·knowledge and ability.

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11·   ·________________________________· · · February 18, 2021
· ·   ·Coleen Rand, AAERT Cert. No. 341
12·   ·Certified Court Transcriptionist
· ·   ·For AdvancedONE Legal
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                                CERTIFICATE OF ACCURACY


       On behalf of all counsel I hereby certify that I have reviewed the foregoing transcript, and

that it is an accurate transcription of the oral arguments held on Thursday, February 11, 2021.



February 24, 2021
Dated                                                Patrick A. Thronson




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             UNITED STATES COURT OF APPEALS
                  FOR THE THIRD CIRCUIT
                        __________

                            No. 20-2128
                            __________

            MONIQUE RUSSELL; JASMINE RIGGINS;
            ELSA M. POWELL; and DESIRE EVANS,

                                 v.

          EDUCATIONAL COMMISSION FOR FOREIGN
                  MEDICAL GRADUATES,

                                                     Appellant
                            __________

           On Appeal from the United States District Court
              for the Eastern District of Pennsylvania
                 (District Court No. 2:18-cv-05629)
            District Judge: Honorable Joshua D. Wolson
                             __________

                     Argued February 11, 2021

      Before: RESTREPO, BIBAS, and PORTER, Circuit Judges

                    (Filed: September 24, 2021)
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                      OPINION OF THE COURT
                            __________

     RESTREPO, Circuit Judge.
             This case presents the question whether the District
     Court abused its discretion when it certified an “issue class”
     pursuant to Rule 23(c)(4) of the Federal Rules of Civil Proce-
     dure. We hold that it did. According to Rule 23(c)(4), “[w]hen
     appropriate, an action may be brought or maintained as a class
     action with respect to particular issues.” For “an action” to be
     “brought or maintained as a class action,” the party seeking
     class status must satisfy Rule 23 and all its requirements. Com-
     cast Corp. v. Behrend, 569 U.S. 27, 33 (2013). Further, in
     Gates v. Rohm & Haas Co., 655 F.3d 255 (3d Cir. 2011), we
     enumerated a “non-exclusive list of factors” relevant to as-
     sessing whether the certification of an issue class under Rule
     23(c)(4) is “appropriate.” Id. at 272 (quoting Chiang v. Vene-
     man, 385 F.3d 256, 267 (3d Cir. 2004)). So when a party seeks
     to certify “particular issues” for class treatment, the district
     court must ask three questions. First, does the proposed issue
     class satisfy Rule 23(a)’s requirements? Second, does the pro-
     posed issue class fit within one of Rule 23(b)’s categories?
     Third, if it does, is it “appropriate” to certify this as an issue
     class? Fed. R. Civ. P. 23(c)(4). Here, lacking clear guidance,
     the District Court failed to determine whether the issues iden-
     tified for class treatment fit within one of Rule 23(b)’s catego-
     ries and then failed to explicitly consider a few of the Gates




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     factors. Accordingly, for the reasons that follow, we will va-
     cate the District Court’s issue-class certification and remand
     for further proceedings.

     I.   FACTUAL BACKGROUND

            A. The Educational Commission for Foreign Medi-
               cal Graduates

              Graduates of foreign medical schools who wish to be
     accepted to a United States medical-residency program must
     have graduated from a recognized foreign institution, demon-
     strated English-language proficiency, and passed the first two
     steps of the United States Medical Licensing Examination.
     Defendant-Appellant Educational Commission for Foreign
     Medical Graduates (“the Commission”) is a Philadelphia-
     based nonprofit that certifies that such graduates have satisfied
     those requirements. The Commission carries out this function
     in two ways. First, it administers the English-language and
     medical examinations the foreign medical school graduates
     must pass. Second, the Commission verifies, using primary
     sources, that the applicant received a medical degree from a
     qualifying institution.
              As the central certification agency for graduates of for-
     eign medical schools, the Commission also investigates what
     it calls “irregular behavior.” According to internal policies, the
     Commission may investigate “all actions or attempted actions
     on the part of applicants . . . that would or could subvert the
     examination, certification or other processes, programs, or ser-
     vices of [the Commission].” J.A. 254. The Commission’s in-
     vestigation of such behavior proceeds as follows. When the
     Commission receives an allegation that an applicant commit-
     ted irregular behavior, it reviews the allegation and determines
     whether sufficient evidence supports the charge. If sufficient




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     evidence supports the charge, the Commission notifies the ap-
     plicant of the allegation and invites him to submit a written ex-
     planation or present any other relevant information. The appli-
     cant may also request a hearing and hire legal counsel. After
     the applicant is heard, the Commission then determines
     whether, by a preponderance of the evidence, the applicant en-
     gaged in the irregular behavior that was charged. The Commis-
     sion may take various disciplinary actions, up to and including
     permanent revocation of a certification. The charged individual
     has a right of appeal, but petitions to reconsider decisions are
     granted “only in extraordinary cases.” Id. And whatever the
     case, if the Commission “determines that an individual en-
     gaged in irregular behavior, a permanent annotation to that ef-
     fect will be included in the individual’s [Commission] record.”
     Id.

            B. A Foreign Doctor Named Charles Igberase

            In early 1992, a man named Oluwafemi Charles Ig-
     berase applied to the Commission for certification. He eventu-
     ally passed the medical-licensing and English-language exam-
     inations and was issued the Commission’s certification. But no
     residency program accepted him. So, in March 1994, Igberase
     submitted a second application for certification to the Commis-
     sion. In that application, however, Igberase rearranged his
     name (“Igberase Oluwafemi Charles” instead of “Oluwafemi
     Charles Igberase”); used a different date of birth (April 17,
     1961 instead of April 17, 1962); and responded “No” to the
     question of whether he had ever previously submitted an appli-
     cation to the Commission. Igberase passed each required ex-
     amination and was certified by the Commission for a second
     time. But in June 1995, the Commission learned that Igberase
     had obtained two of its certifications under different names and




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     dates of birth, and had lied on his second application about not
     seeking certification previously. So it invalidated Igberase’s
     second certification and revoked the first, and informed the
     United States Medical Licensing Examination Committee of
     his deception. J.A. 237.
             In 1996, Igberase applied to the Commission for certifi-
     cation for yet a third time. In this application, Igberase ditched
     his first two names and invented another one: “John Nosa
     Akoda.” J.A. 263. As he had twice before, Igberase (as Akoda)
     eventually passed the medical-licensing and English-language
     examinations and received the Commission’s certification.
     After receiving the certification as “Akoda,” Igberase applied
     for and was admitted to a residency program in New Jersey.
     But in August 2000, the residency program learned that the so-
     cial security number Akoda used in his application belonged to
     Igberase. The residency program informed the Commission of
     the inconsistency, provisionally suspended the doctor it knew
     as Akoda, and, after an internal investigation, in November
     2000, dismissed him.
             Once it learned of Akoda’s possible misuse of Ig-
     berase’s social security number, the Commission launched its
     own investigation. Based on the information it had received
     from the residency program, the Commission sent Akoda a
     “charge letter.” In it, the Commission told Akoda that it had
     “received information alleging that you may have engaged in
     irregular behavior,” specifically that he had twice before ap-
     plied for certification using the name “Igberase.” J.A. 284. The
     Commission told Akoda that the allegations “require[] an ex-
     planation,” and granted him fifteen days to submit a written
     response. J.A. 285.
             A week later, as Akoda, Igberase responded. He denied
     the allegations, telling the Commission that “[t]he identifica-
     tion numbers listed in your letter apparently belong to my




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     cousin Dr. Igberase Oluwafemi Charles, who left the country
     to practice, I believe, in South Africa.” J.A. 287. Akoda admit-
     ted using Igberase’s social security number but insisted that
     they were “two different persons who attended two different
     Colleges of Medicine.” Id. He reiterated that he had “only
     taken the examination once in my name, John NOSA Akoda,”
     and offered to provide the Commission with his passport if it
     requested it. J.A. 287.
             The Commission official overseeing Akoda’s case ap-
     parently did not buy the explanation. In a December 2000
     memorandum intentionally not made part of Akoda’s official
     file, the official wrote that he and others believed Igberase and
     Akoda were one in the same. J.A. 293. But the official con-
     cluded that he did not have enough evidence to recommend
     Akoda’s case to the Commission’s credentialling committee.
     So Akoda’s credential remained active.
             In October 2006, Igberase, again as “Akoda,” applied to
     a residency program at Howard University Medical Center. As
     part of his application, he submitted to the Commission three
     letters of recommendation. But the Commission was suspi-
     cious of Akoda, so one of its officials attempted to verify the
     authenticity of these three letters of reference. The official sent
     each reference the recommendation letter submitted by Akoda
     and asked each whether the letter was authentic. The record
     does not reflect whether the official received a response from
     any of the references.
             Despite the official’s reservations, Igberase (as Akoda)
     was admitted to Howard’s residency program. He successfully
     completed the program in 2011. After completing the program,
     he applied for and received a Maryland medical license using
     fake identification documents. That same year, he became a
     member of the medical staff at Prince George’s Hospital Cen-
     ter and began seeing patients there.




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            In June 2016, law enforcement officials executed search
     warrants at Igberase’s residence, medical office, and vehicle.
     They found fraudulent or altered immigration documents,
     medical diplomas, medical transcripts, letters of recommenda-
     tion, and birth certificates. On November 15, 2016, Igberase
     signed a plea agreement. In it, he pleaded guilty to misuse of a
     social security account number to fraudulently obtain a Mary-
     land medical license and admitted that “Akoda” was a pseudo-
     nym. Id.
            The Commission subsequently invalidated Akoda’s for-
     eign-doctor certification, and the Maryland Board of Physi-
     cians revoked his medical license.

            C. Patients of Igberase sue the Commission

            The named Plaintiffs are Monique Russell, Jasmine
     Riggins, Elsa Powell, and Desire Evans. Each received medical
     treatment from the doctor known as “Akoda,” who was certi-
     fied by the Commission in 1997. Igberase performed un-
     planned emergency cesarean-section surgery on Russell and
     Riggins and delivered Evans’s and Powell’s children. These
     Plaintiffs also seek to represent a class of similarly situated in-
     dividuals who likewise received medical treatment from
     “Akoda.” But the Plaintiffs (appellees here) did not sue Ig-
     berase. Instead, they sued the Commission, and asserted claims
     of negligent infliction of emotional distress arising out of the
     Commission’s certification of Igberase as “Akoda.”
            Eventually, the district court certified a class of “All pa-
     tients examined or treated in any manner by Oluwafemi
     Charles Igberase (a/ka [sic] Charles J. Akoda) beginning with
     his enrollment in a postgraduate medical education program at
     Howard University in 2007.” J.A. 63-64. But the district court
     did not certify the class under any subsection of Rule 23(b).




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     Instead, the court certified the class as an “issue class” pursuant
     to Rule 23(c)(4). The court certified the class with respect to
     these issues:
                (1) whether the Commission undertook or otherwise
                owed a duty to class members.

                (2) whether the Commission breached any duty that
                it owed to class members.

                (3) whether the Commission undertook or otherwise
                owed a duty to hospitals and state medical boards,
                such that it may be held liable to class members pur-
                suant to the Restatement (Second) of Torts § 324A.

                (4) whether the defendant breached any duty that it
                owed to hospitals and state medical boards.

            In short, the particular issues the district court certified
     for class treatment concern only the duty and breach elements
     of Plaintiffs’ claim. The district court therefore left for individ-
     ualized proceedings whether each Plaintiff was injured;
     whether the Commission’s breach of the relevant duty (if it had
     a duty that was breached) actually and proximately caused
     those injuries; whether those injuries are due a particular
     amount of damages; and whether the Commission could raise
     any affirmative defense, including, presumably, whether each
     Plaintiff’s consent to medical treatment by Igberase breaks the
     causal chain. In the wake of the Rule 23(c)(4) certification, the
     Commission successfully petitioned for leave to appeal under
     Rule 23(f). We must decide whether that certification was
     proper.




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     II. THE LEGAL FRAMEWORK OF ISSUE-CLASS CERTIFICA-
         TION

            A. Rule 23 outlines one procedure for pursuing ag-
               gregate litigation

             The class action is “an exception to the usual rule that
     litigation is conducted by and on behalf of the individual
     named parties only.” In re Hydrogen Peroxide Antitrust Litig.,
     552 F.3d 305, 309 n.6 (3d Cir. 2009) (quoting Gen. Tel. Co. of
     Sw. v. Falcon, 457 U.S. 147, 155 (1982)). One reason the class
     action is an exceptional form of litigation is because final judg-
     ments in such actions may implicate the procedural and sub-
     stantive rights of absent persons.
             The Supreme Court recently reiterated the principle that
     absent persons may not be bound by federal-court judgments
     unless one of a limited number of historically recognized ex-
     ceptions is satisfied. See Taylor v. Sturgell, 553 U.S. 880, 893
     (2008). A “properly conducted” class action is one such excep-
     tion. Id. at 894-95. A properly conducted class action requires
     that (1) “[t]he interests of the nonparty and her representative
     are aligned”; (2) “either the party understood herself to be act-
     ing in a representative capacity or the original court took care
     to protect the interests of the nonparty”; and (3) there was “no-
     tice of the original suit to the persons alleged to have been rep-
     resented.” Id. at 900.
             In the class context, “these limitations are implemented
     by the procedural safeguards in Federal Rule of Civil Proce-
     dure 23.” Id. at 900-01. The procedural safeguards of Rule 23,
     in turn, are constitutionally mandated and “grounded in due
     process.” Id. at 901. Rule 23 thus provides a constitutional safe
     harbor for litigants to pursue class treatment on behalf of ab-
     sent persons. But the party seeking to certify a class “bears the
     burden of affirmatively demonstrating by a preponderance of




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     the evidence her compliance with the requirements of Rule
     23.” Byrd v. Aaron’s Inc., 784 F.3d 154, 163 (3d Cir. 2015);
     see also Reyes v. Netdeposit, LLC, 802 F.3d 469, 485 (3d Cir.
     2015) (discussing and clarifying preponderance of evidence
     standard in class certification determinations).
            The requirements of Rule 23 are these. The party seek-
     ing class certification must demonstrate, first, that the require-
     ments of Rule 23(a) are met. Wal-Mart Stores, Inc. v. Dukes,
     564 U.S. 338, 345 (2011). To satisfy Rule 23(a), a plaintiff
     must “prove that there are in fact sufficiently numerous parties,
     common questions of law or fact, typicality of claims or de-
     fenses, and adequacy of representation.” Comcast Corp. v.
     Behrend, 569 U.S. 27, 33 (2013) (internal quotation marks
     omitted).
            Once beyond Rule 23(a)’s four prerequisites, plaintiffs
     then must seek to certify a class of one of three “types,” each
     with additional requirements. See Fed. R. Civ. P. 23(b). For
     instance, Rule 23(b)(3), a provision at issue here, states that a
     class may be maintained where “questions of law or fact com-
     mon to class members predominate over any questions affect-
     ing only individual members,” and a class action would be “su-
     perior to other available methods for fairly and efficiently ad-
     judicating the controversy.”1
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      There are two additional “types” of class actions maintainable
     under Rule 23(b). Rule 23(b)(1) allows a class to be maintained
     where “prosecuting separate actions by or against individual
     class members would create a risk of” either “(A) inconsistent
     or varying adjudications,” or “(B) adjudications . . . that, as a
     practical matter, would be dispositive of the interests of the
     other members not parties to the individual adjudications or
     would substantially impair or impede their ability to protect
     their interests.” Rule 23(b)(2), by contrast, applies when “the




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             Rule 23(c) provides two additional pathways to a form
     of class certification. Rule 23(c)(5) permits a district court,
     “[w]hen appropriate,” to “divide[]” a class “into subclasses that
     are each treated as a class under [Rule 23].” So if a district court
     detects dissimilarities of interests between the putative class
     representative and absent class members, it may divide the full
     class into subclasses to isolate atypical issues or claims, or re-
     solve conflicts of interest that otherwise would preclude full
     class certification. See, e.g., In re Nat’l Football League Play-
     ers Concussion Injury Litig., 821 F.3d 410, 432 (3d Cir. 2016);
     see also Ortiz v. Fibreboard Corp., 527 U.S. 815, 856 (1999)
     (“[A] class divided between holders of present and future
     claims . . . requires division into homogenous subclasses . . .
     with separate representation to eliminate conflicting interests
     of counsel.”). And Rule 23(c)(4), the provision center stage
     here, states that “[w]hen appropriate, an action may be brought
     or maintained as a class action with respect to particular is-
     sues.” Pursuant to that provision, we have previously held that
     a district court may certify for class treatment issues that
     would, upon their resolution, determine a defendant’s course
     of conduct. See Chiang v. Veneman, 385 F.3d 256 (3d Cir.
     2004). In what follows, we examine the scope of issue-class
     certification under Rule 23(c)(4).




     party opposing the class has acted or refused to act on grounds
     that apply generally to the class, so that final injunctive relief
     or corresponding declaratory relief is appropriate respecting
     the class as a whole.”




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            B. Issue-class certification under Rule 23(c)(4)
               grants district courts broad but well-defined dis-
               cretion to certify particular issues for class treat-
               ment

             Let us restate the text of Rule 23(c)(4). It says that
     “[w]hen appropriate, an action may be brought or maintained
     as a class action with respect to particular issues.” The Rule,
     therefore, permits an issue class to be brought or maintained
     “as a class action.” But with that permission comes restrictions.
     To be a “class action,” a party must satisfy Rule 23 and all its
     requirements. Comcast Corp. v. Behrend, 569 U.S. 27, 33
     (2013); In re Hydrogen Peroxide Antitrust Lit., 552 F.3d 305,
     310 (3d Cir. 2008) (“[A] class may not be certified without a
     finding that each Rule 23 requirement is met.”). In other words,
     “[i]n addition to satisfying Rule 23(a)’s prerequisites, parties
     seeking class certification must show that the action is main-
     tainable under Rule 23(b)(1), (2), or (3).” Amchem Prods., Inc.
     v. Windsor, 521 U.S. 591, 614 (1997). A party seeking to cer-
     tify “particular issues” for class treatment must show the same.
     That party must show that those issues “satisfy[] Rule 23(a)’s
     prerequisites” and that those issues are “maintainable under
     Rule 23(b)(1), (2), or (3).” See id.
             But neither Rule 23(c)(4) nor its commentary outlines
     the “appropriate[ness]” inquiry, or discusses which types of
     “issues” might be suitable for class treatment and which may
     not be. At the provision’s adoption, the Rules Committee, in
     its commentary, suggested that the issue-class device may be
     used to bifurcate the “adjudication of liability to the class” from
     follow-on proceedings needed to “prove the amounts of [class
     members’] respective claims.” Fed. R. Civ. P. 23(c)(4) advi-
     sory committee’s note to 1966 amendment. That commentary




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     does not illuminate much. In a typical Rule 23(b)(3) class ac-
     tion, for example, individualized damages determinations of-
     ten remain after common questions have been decided. See,
     e.g., Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 452-60
     (2016); Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S.
     455, 465-70 (2013). Further, Rule 23(c)(4) talks about “is-
     sues,” not “liability” (or “claims” or “causes of action”), so
     there is no obvious textual basis to limit issue-class certifica-
     tion to issues that, upon their resolution, necessarily establish
     a defendant’s liability as to all claimants.
             We explained Rule 23(c)(4)’s “appropriate[ness]” in-
     quiry in Gates v. Rohm & Haas, 655 F.3d 255 (3d Cir. 2011).
     In Gates, we considered the appropriateness of issue-class cer-
     tification for property owners who alleged that a chemical
     company’s pollution decreased their property values. In 2005,
     Rohm & Haas acquired a chemical-processing plant in Ring-
     wood, Illinois. Id. at 258. For the half-century or so prior to
     Rohm & Haas’s acquisition, the Ringwood facility was owned
     and operated by a company called Morton International. Id.
     During at least some of that time, Morton dumped wastewater
     produced by its chemical processing into an on-site lagoon. Id.
     The wastewater contained vinylidene chloride, a molecule
     used in the production of vinyl chloride, which is important in
     the production of plastics and a known carcinogen. “In 1978,
     Morton ceased using the on-site lagoon and covered it.” Id. But
     environmental testing in the 1970s and 1980s suggested that
     Morton’s dumping of vinylidene chloride was polluting the
     surrounding environment. In 1973, for example, “tests of a
     shallow aquifer under the Ringwood facility showed elevated
     levels of ammonia and chloride.” Id. And in 1984, water sam-
     ples from wells that Morton had installed at Ringwood showed
     elevated levels of vinylidene chloride and vinyl chloride. Id.




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              In 2006, residents of a nearby residential village filed a
     class-action complaint alleging, among other things, that Mor-
     ton’s dumping of the vinylidene chloride caused their residen-
     tial community to become less attractive and their property val-
     ues to decrease.2 Id. at 259, 271. Before the district court, with
     respect to their property damage claim, the plaintiffs moved to
     certify two classes—a Rule 23(b)(3) class of property owners
     who allegedly suffered loss in property values due to the de-
     fendants’ contamination and an “issue only” class that would
     decide defendants’ liability but leave damages for individual
     trials. Id. at 272.
              The district court declined to certify either class. As to
     the plaintiffs’ proposed Rule 23(b)(3) class, the district court
     found that common questions did not predominate over indi-
     vidual ones. The court observed “that resolution of [common]
     questions leaves significant and complex questions unan-
     swered, including questions relating to causation of contami-
     nation, extent of contamination, fact of damages, and amount
     of damages.” Gates v. Rohm and Haas Co., 265 F.R.D. 208,
     233-34 (E.D. Pa. 2010). The district court likewise rejected
     plaintiffs’ attempt to certify a Rule 23(c)(4) issue class. The


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       The plaintiffs’ complaint asserted several claims for relief,
     including medical monitoring, property damage claims, relief
     under the Comprehensive Environmental Response, Compen-
     sation, and Liability Act (CERCLA), 42 U.S.C. § 9601 et seq.,
     the Illinois Environmental Protection Act, 415 Ill. Comp. Stat.
     § 5/1 et seq., and state-law fraudulent misrepresentation and
     willful and wanton misconduct claims. But they chose to pro-
     ceed on a class basis only on the medical monitoring and prop-
     erty damage claims and, as noted, solely with regard to vinyl
     chloride exposure. Gates, 655 F.3d at 259.




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     court found that an issue class “would not advance the resolu-
     tion of class members’ claims” because, like in the Rule
     23(b)(3) context, “the fact of damages and the amount of dam-
     ages would remain following the class-wide determination of
     any common issues, and further that causation and extent of
     contamination would need to be determined at follow-up pro-
     ceedings.” Gates, 655 F.3d at 272 (quotation marks omitted).
     We affirmed.
             In affirming the district court’s decision not to certify a
     Rule 23(c)(4) issue class, we adopted a “non-exclusive list of
     factors [to] guide courts” faced with motions to certify partic-
     ular issues. Gates, 655 F.3d at 273. Id. The factors, which num-
     ber nine, are these:

            1. the type of claim(s) and issue(s) in question;

            2. the overall complexity of the case;

            3. the efficiencies to be gained by granting partial cer-
               tification in light of realistic procedural alternatives;

            4. the substantive law underlying the claim(s), includ-
               ing any choice-of-law questions it may present and
               whether the substantive law separates the issue(s)
               from other issues concerning liability or remedy;

            5. the impact partial certification will have on the con-
               stitutional and statutory rights of both the class
               members and the defendant(s);

            6. the potential preclusive effect or lack thereof that
               resolution of the proposed issue class will have;




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            7. the repercussions certification of an issue(s) class
               will have on the effectiveness and fairness of reso-
               lution of remaining issues;

            8. the impact individual proceedings may have upon
               one another, including whether remedies are indi-
               visible such that granting or not granting relief to
               any claimant as a practical matter determines the
               claims of others;

            9. and the kind of evidence presented on the issue(s)
               certified and potentially presented on the remaining
               issues, including the risk subsequent triers of fact
               will need to reexamine evidence and findings from
               resolution of the common issue(s).

             When assembled, the Gates factors construct a func-
     tional framework to aid the district courts tasked with resolving
     issue-class certification questions.3 But Gates did not define
     which “issues” would be appropriate for class treatment or,

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        The Gates factors grew out of our opinion in Hohider v.
     United Parcel Serv., Inc., 574 F.3d 169 (3d Cir. 2009). In
     Hohider, we provided relevant considerations on when a dis-
     trict court may wish “to carve at the joints to form issue clas-
     ses.” Gates, 655 F.3d at 273. As source for the factors, the
     Hohider court cited the American Law Institute’s “Proposed
     Final Draft of the Principles of the Law of Aggregate Litiga-
     tion.” Hohider, 574 F.3d at 200-02. By the time Gates issued,
     the ALI had finalized the Principles, and we incorporated many
     of them as the factors district courts should consider in as-
     sessing whether to certify an issue class. Gates, 655 F.3d at
     273.




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     more importantly, which would not. Specifically, Gates did not
     answer whether the term “particular issues” in Rule 23(c)(4)
     could encompass claim elements (like duty or breach, or cau-
     sation or reliance) and defenses (like consent or intervening
     cause), or if the “particular issues” that the district court could
     certify “when appropriate” must be limited to questions that
     would resolve a defendant’s liability.
             At several points, Gates appears to suggest that the cer-
     tified “issues” should (perhaps except in exceptional circum-
     stances) be able to resolve a defendant’s liability. See, e.g., id.
     at 272 (“[T]he [district] court declined to certify a liability-only
     class.”); id. at 273 (“The trial court here did not abuse its dis-
     cretion by declining to certify a liability-only issue class when
     it found liability inseverable from other issues that would be
     left for follow-up proceedings.”); id. (“Nor did the court err in
     finding no marked division between damages and liability.”);
     id. at 274 (“Plaintiffs have neither defined the scope of the lia-
     bility-only trial nor proposed what common proof would be
     presented.”); id. (“A trial on whether the [issues proposed] is
     unlikely to substantially aid resolution of the substantial issues
     on liability and causation.”).
             Reading “issues” in Rule 23(c)(4) to exclude claim ele-
     ments is supported by later cases from our Court. In Gonzalez
     v. Corning, 885 F.3d 186 (3d Cir. 2018), for example, the only
     published opinion from this Court to apply Gates, we reiterated
     that issue-class certification “might be appropriate” if “liability
     is capable of classwide treatment but damages are not[.]” Id. at
     202-03 (emphasis added). Said another way, issue-class certi-
     fication is not appropriate if class-wide resolution of the “is-
     sues” does not resolve liability. See id. (noting that declining
     issue-class certification was appropriate because plaintiffs of-
     fered “no theories of liability for which classwide treatment is
     apt”) (emphasis added).




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             But at various other points, Gates suggests that claim
     elements may be appropriate for issue-class treatment in cer-
     tain circumstances. For example, the Gates Court “agreed”
     with the district court’s finding that an issue class was not fea-
     sible and would not advance the resolution of class members’
     claims because “both the fact of damages and the amount of
     damages would remain following the class-wide determination
     of any common issues, and further that causation and extent of
     contamination would need to be determined at follow-up pro-
     ceedings.” Gates, 655 F.3d at 272 (quoting district court). In
     other words, for the district court, the fact that claim elements
     (like causation) would remain after resolution of the class is-
     sues was a reason for the inappropriateness of certifying an is-
     sue class. But neither the district court nor the court of appeals
     concluded that claim elements remaining after resolution of
     class issues barred issue-class certification.
             Viewing Gates to permit the certification of issues that
     do not resolve liability comports with our pre-Gates caselaw.
     In Chiang v. Veneman, 385 F.3d 256 (3d Cir. 2004), we noted
     “that courts commonly use Rule 23(c)(4) to certify some ele-
     ments of liability for class determination, while leaving other
     elements to individual adjudication—or, perhaps more realis-
     tically, settlement.” Id. at 267 (emphasis added). So there, we
     affirmed the district court’s certification of an issue class lim-
     ited to determining the defendant’s course of conduct (whether
     a federal agency placed “thousands of Virgin Islanders, almost
     all of whom were Black, Hispanic, or female,” on a “phony,
     illegal waiting list” when those individuals sought to apply to
     a “loan program[] intended to help low income rural families
     obtain homes and make repairs to existing homes,” id. at 259-
     60, 263), but left for subsequent individual adjudication the is-
     sue of whether those individuals were eligible for the loans in
     the first place. Id. at 267.




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             Other courts of appeals have permitted the certification
     of non-liability issue classes in analogous circumstances. The
     Seventh Circuit, for example, has affirmed the certification of
     an issue class where the issues, once resolved, stopped short of
     establishing a defendant’s liability to any claimant. See, e.g.,
     McReynolds v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,
     672 F.3d 482, 491 (7th Cir. 2012) (in employment case, en-
     dorsing the use of a Rule 23(c)(4) issue class to determine the
     disparate impact of a challenged corporate policy, with “sepa-
     rate trials . . . to determine which class members were actually
     adversely affected . . . and if so what loss each class member
     sustained”); cf. Pella Corp. v. Saltzman, 606 F.3d 391, 393-94
     (7th Cir. 2010) (in consumer fraud case, upholding certifica-
     tion of Rule 23(b)(3) class when common issues left compo-
     nents of causation for individualized determination).
             Moreover, the text of Rule 23(c)(4) supports the reading
     that the “issues” a district court may certify for class treatment
     need not be limited to those that decide a party’s liability. The
     Rule permits an action to be brought or maintained as a class
     action “with respect to particular issues,” not just those that de-
     cide liability. We therefore hold that district courts may certify
     “particular issues” for class treatment even if those issues, once
     resolved, do not resolve a defendant’s liability, provided that
     such certification substantially facilitates the resolution of the
     civil dispute, preserves the parties’ procedural and substantive
     rights and responsibilities, and respects the constitutional and
     statutory rights of all class member and defendants.

                                 *****

            In sum, district courts tasked with resolving motions to
     certify issue classes must make three determinations. First,




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     does the proposed issue class satisfy Rule 23(a)’s require-
     ments? Second, does the proposed issue class fit within one of
     Rule 23(b)’s categories? Third, if the proposed issue class does
     both those things, is it “appropriate” to certify these issues as a
     class? Fed. R. Civ. P. 23(c)(4). The first two steps will be in-
     formed by general class-action doctrine. The third step will be
     informed by Gates. See Hohider v. United Parcel Serv., Inc.,
     574 F.3d 169, 201 (3d Cir. 2009). In other words, Rule 23(a)
     and Rule 23(b) decide if the proposed issues can be brought or
     maintained as class action, while the Gates factors determine
     whether they should.

     III. DISCUSSION

             Guided by Rule 23(c)(4) and Gates, in this case, we
     must determine whether the District Court appropriately certi-
     fied for class treatment whether the Commission owed a rele-
     vant legal duty to the Plaintiffs that it subsequently breached,
     but left for individual proceedings whether Plaintiffs were in-
     jured; whether the Commission’s breach of the relevant duty
     actually and proximately caused those injuries; whether those
     injuries are due a particular amount of damages; and whether
     the Commission’s affirmative defenses (including, presuma-
     bly, that each Plaintiff consented to medical treatment by Ig-
     berase) can refute Plaintiffs’ claim.
             We review the District Court’s decision to certify the
     duty and breach issues of Plaintiffs’ negligent infliction of
     emotion distress claim for abuse of discretion. Gates, 655 F.3d
     at 262. A district court abuses its discretion if its “decision rests
     upon a clearly erroneous finding of fact, an errant conclusion
     of law or an improper application of law to fact.” Id. (quoting
     In re Hydrogen Peroxide, 552 F.3d 305, 320 (3d Cir. 2009)).
     Whether the district court employed the correct legal standard




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     is reviewed de novo. In re Hydrogen Peroxide, 471 F.3d at 312
     (citing In re Initial Pub. Offering Sec. Litig., 471 F.3d 24, 32
     (2d Cir. 2006)). Conducting that review, we conclude that the
     District Court abused its discretion.

            A. The District Court erred in certifying this issue
               class

             Two reasons, each independently sufficient, support the
     conclusion that the District Court misapplied Gates when it
     certified for class treatment the duty and breach elements of
     Plaintiffs’ negligent infliction of emotional distress claim.
             First, the District Court did not determine whether the
     duty and breach elements of Plaintiffs’ claim satisfied Rule
     23(b)(3). The Court correctly observed that Gates does not re-
     quire Plaintiffs seeking issue-class certification to prove that
     their cause of action as a whole satisfies Rule 23(b)(3). J.A. 42-
     43 (“[The Commission]’s argument that the Court should re-
     quire Plaintiffs to satisfy Rule 23(b)(3)’s predominance re-
     quirement before turning to these factors parrots one of the
     camps that the Third Circuit acknowledged but refused to join
     in Gates. Because the Third Circuit rejected that view, this
     Court must do the same.”); see also J.A. 56 (“Having deter-
     mined that Plaintiffs can satisfy the Rule 23(a) factors, the
     Court turns to the question of whether to certify an issues class
     under Rule 23(c)(4).”). But while Gates does not require Plain-
     tiffs seeking issue-class certification to prove that their cause
     of action as a whole satisfies a subsection of Rule 23(b), for
     reasons we have explained, Rule 23(c)(4) does require that the
     Plaintiffs demonstrate that the issues they seek to certify satisfy
     one of Rule 23(b)’s subsections. On remand, the Plaintiffs may




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     be able to make such a showing, but we will leave that inquiry
     to the District Court to consider in the first instance.4
             Second, separate and apart from the District Court’s
     failure to determine whether the duty and breach elements of
     Plaintiffs’ claim satisfied any subsection of Rule 23(b), the
     Court also failed to rigorously consider several Gates factors.


     4
       The Commission also insists that the District Court erred in
     finding that Plaintiffs’ satisfied Rule 23(a)’s typicality and ad-
     equacy requirements. Appellant Br. 18-19. It argues the Plain-
     tiffs are atypical and inadequate class representatives because
     they propose to inflict emotional distress on absent class mem-
     bers currently ignorant of the underlying allegations, and that
     Plaintiffs’ decision to seek relief only for their emotional dis-
     tress makes them inadequate representatives of absent class
     members who have suffered physical injuries. Neither argu-
     ment is persuasive. For one, we find no support for the propo-
     sition that absent class members ignorant of their potential le-
     gal injury might cause named plaintiffs (who are aware of their
     injury) to be inadequate or atypical class representatives. For
     another, if the District Court determines that some cognizable
     subset of absent class members may also have live legal claims
     for physical injuries, then it has ample tools at its disposal to
     manage those divergences, including by creating subclasses
     pursuant to Rule 23(c)(5) or the notice requirements of Rule
     23(c)(4).We have “set a low threshold for typicality.” In re
     Nat’l Football League Players Concussion Injury Litig., 821
     F.3d 410, 428 (3d Cir. 2016) (internal quotations omitted). And
     “[e]ven relatively pronounced factual differences will gener-
     ally not preclude a finding of typicality where there is a strong
     similarity of legal theories or where the claim arises from the
     same practice or course of conduct.” Id.




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     For example, the Court does not explicitly discuss whether the
     effect certification of the issue class will have on the effective-
     ness and fairness of resolution of remaining issues. Many other
     actors played a role in Igberase’s fraud, including the residency
     programs that admitted and trained him, the state medical
     boards that licensed him, the hospitals that gave him privileges,
     the specialty board that certified him, and the law enforcement
     officers (state and federal) who investigated him. If an issue-
     class jury finds that the Commission owed Plaintiffs a legal
     duty that it subsequently breached, the Commission may face
     undue pressure to settle, even if their breach did not cause
     Plaintiffs’ harm.
              Relatedly, the District Court did not rigorously consider
     what efficiencies would be gained by resolution of the certified
     issues. To be sure, the District Court briefly discussed the effi-
     ciencies of a single trial and broached other options with the
     parties. J.A. 60-61. But more was needed. To prove their claim
     that the Commission negligently inflicted emotional distress,
     Plaintiffs will need to show (as with all causes of action arising
     under state tort law) duty, breach, cause, and harm. But the
     District Court certified an issue class with respect to the duty
     and breach elements only. So even if the District Court finds
     that the Commission owed a relevant legal duty to the Plaintiffs
     that it subsequently breached, each Plaintiff, in individual pro-
     ceedings, will have to prove that they were injured; that the
     Commission’s breach of the relevant duty actually and proxi-
     mately caused those injuries; that those injuries are due a par-
     ticular amount of damages; and that the Commission’s affirm-
     ative defenses (including, presumably, each Plaintiff’s consent
     to medical treatment by Igberase) are not decisive.
              The District Court may also wish to consider whether
     the duty and breach elements of Plaintiffs’ negligent infliction




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     of emotional distress claim are suitable for issue-class treat-
     ment. Under Pennsylvania law, for example, to determine
     whether the Commission owed the Plaintiffs a relevant legal
     duty, the class jury will have to weigh several factors, includ-
     ing the “foreseeability of the harm incurred.” Althaus ex rel.
     Althaus v. Cohen, 756 A.2d 1166, 1169 (Pa. 2000) (citations
     omitted). And once beyond the class trial, to determine and
     measure emotional damages, each individual jury will have to
     assess the degree of the Commission’s negligence as to each
     Plaintiff. See Spence v. Bd. of Educ. of the Christina Sch. Dist.,
     806 F.2d 1198, 1202 (3d Cir. 1986) (finding no abuse of dis-
     cretion where the District Court joined for trial the issues of
     liability and damages for emotional distress, explaining that
     “emotional distress damages must be evaluated in light of all
     the circumstances surrounding the alleged misconduct”). So
     the issue-class jury, like each individual jury, may need to con-
     sider evidence regarding the harm the Commission allegedly
     caused. And each individual jury, like the issue-class jury, may
     need to consider evidence regarding the Commission’s overall
     conduct, which likely will include the nature of the legal duty
     it owed Plaintiffs (if any) and the extent to which it breached
     that duty. Gates disfavors this. See 655 F.3d at 273 (holding
     that “the risk subsequent triers of fact will need to reexamine
     evidence and findings from resolution of the common issue(s)”
     counsels against certification of those common issues).
             Of course, the District Court may very well be correct
     that “there are efficiencies to be gained by certifying a class on
     these issues because it will allow for a single trial with a single,
     preclusive determination about [the Commission]’s conduct,
     rather than the presentation of the same evidence about [the
     Commission] again, and again, and again to separate juries.”
     J.A. 60. Duty is an issue of law. Therefore, it must be decided
     separately from breach, causation, and damages. See Sharpe v.




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     St. Luke’s Hosp., 821 A.2d 1215, 1219 (Pa. 2003). It is true that
     deciding if the Commission had a duty to investigate requires
     balancing several factors. Id. But none of that requires individ-
     ual evidence, for each patient shared the same distanced rela-
     tionship of trust with the Commission. Likewise, breach would
     require only common evidence: How much investigating did
     the Commission do? Did it know or should it have known that
     Igberase was a fraud? Did it take enough steps to investigate
     him based on warnings received from various parties, includ-
     ing the New Jersey residency program? Should it have fol-
     lowed up in later years once Igberase was admitted to another
     residency program? No absent class member would have any-
     thing special to add in her individual trial. There will be plenty
     left for individual proceedings, but these major issues could be
     resolved on a class-wide basis.5

     5
       These two reasons are sufficient to support our decision to
     vacate the District Court’s certification for class treatment the
     duty and breach elements of Plaintiffs’ negligent infliction of
     emotional distress claim. But there may yet be other problems
     with the issue class, including the possibility that Plaintiffs’ le-
     gal claim implicates multiple states’ laws. Under Gates, a dis-
     trict court, tasked with resolving a motion to certify an issue
     class, must assess the “substantive law underlying the claim(s),
     including any choice-of-law questions [that law] may present.”
     655 F.3d at 273. Here, the District Court concluded that the
     various state laws that may be implicated do not meaningfully
     differ and that Pennsylvania law would govern anyway. Rus-
     sell v. Educational Comm’n for Foreign Med. Graduates, 2020
     WL 1330699, at *4-5 (E.D. Pa. Mar. 23, 2020). That seems
     like a close question. It may well be true that Pennsylvania has
     the greatest interest in this case (the Commission’s alleged tor-
     tious conduct occurred here, after all), but various other states




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            B. The Commission’s remaining arguments for re-
               versal are unavailing or inapposite

             The Commission and its amicus offer two additional ba-
     ses on which to reverse the District Court. The Commission
     first argues that “the plain text of Rule 23 and the cases inter-
     preting it” demand that “the party seeking to certify a class
     must satisfy one of the prongs of Rule 23(b)” and, “[b]ecause
     the district court failed to find that Named Plaintiffs satisfied
     Rule 23(b)(3) or any other prong of Rule 23(b), the class certi-
     fication must be reversed.” Appellant’s Br. 39; see also Brief
     for U.S. Chamber of Commerce as Amici Curiae Supporting
     Appellant 5-16.
             That is not accurate. A majority of the courts of appeals
     have concluded that in appropriate cases Rule 23(c)(4) can be
     used even though full Rule 23(b)(3) certification is not possible
     due to the predominance infirmities. That view, the so-called
     “broad view,” has been adopted or supported by the Second,
     Fourth, Sixth, Seventh, and Ninth Circuits.6 Under the broad

     have a substantial interest in the resolution of the claims, too.
     But because the conflict-of-law question was briefed before the
     District Court in the context of a motion for class certification,
     we will leave it to the District Court to determine which state’s
     law applies to each Plaintiff’s claim, if the question of which
     state’s law applies becomes relevant in future proceedings.
     6
       For discussions of the broad view from these courts of ap-
     peals, see, In re Nassau Cty. Strip Search Cases, 461 F.3d 219,
     227 (2d Cir. 2006) (permitting issue certification “regardless
     of whether the claim as a whole satisfies Rule 23(b)(3)’s pre-
     dominance requirement’’); Gunnells v. Healthplan Servs., Inc.,
     348 F.3d 417, 439-45 (4th Cir. 2003) (holding that courts may
     employ Rule 23(c)(4) to certify a class as to one claim even




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     view, courts apply the Rule 23(b)(3) predominance and supe-
     riority prongs after common issues have been identified for
     class treatment under Rule 23(c)(4). The broad view permits



     though all of the plaintiffs’ claims, taken together, do not sat-
     isfy the predominance requirement); Martin v. Behr Dayton
     Thermal Prods., 896 F.3d 405 (6th Cir. 2018) (noting that
     “Rule 23(c)(4) contemplates using issue certification . . . where
     common questions predominate within certain issues and
     where class treatment of those issues is the superior method of
     resolution”); McReynolds v. Merrill Lynch, Pierce, Fenner &
     Smith, Inc., 672 F.3d 482, 491 (7th Cir. 2012) (“Rule 23(c)(4)
     provides that ‘when appropriate, an action may be brought or
     maintained as a class action with respect to particular issues.’
     The practices challenged in this case present a pair of issues
     that can most efficiently be determined on a class-wide basis,
     consistent with the rule just quoted.”), abrogated on other
     grounds by Phillips v. Sheriff of Cook Cty., 828 F.3d 541, 559
     (7th Cir.), reh’g and suggestion for reh’g en banc denied, (7th
     Cir. Aug. 3, 2016); Pella Corp. v. Saltzman, 606 F.3d 391, 394
     (7th Cir. 2010) (“A district court has the discretion to split a
     case by certifying a class for some issues, but not others, or by
     certifying a class for liability alone where damages or causa-
     tion may require individualized assessments.”); Valentino v.
     Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996)
     (“Even if the common questions do not predominate over the
     individual questions so that class certification of the entire ac-
     tion is warranted, Rule 23 authorizes the district court in ap-
     propriate cases to isolate the common issues under Rule
     23(c)(4)[] and proceed with class treatment of these particular
     issues.”).




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     utilizing Rule 23(c)(4) even where predominance has not been
     (or cannot be) satisfied for the cause of action as a whole.
             The Fifth Circuit, however, in a footnote adopted what
     is known as “the narrow view,” which prohibits issue-class cer-
     tification if Rule 23(b)(3) predominance has not been satisfied
     for the cause of action as a whole. Castano v. Am. Tobacco Co.,
     84 F.3d 734, 745 n.21 (5th Cir. 1996) (“A district court cannot
     manufacture predominance through the nimble use of subdivi-
     sion (c)(4). The proper interpretation of the interaction between
     subdivisions (b)(3) and (c)(4) is that a cause of action, as a
     whole, must satisfy the predominance requirement of (b)(3)
     and that (c)(4) is a housekeeping rule that allows courts to sever
     the common issues for a class trial.”). But Castano’s approach
     has not been adopted by any other circuit, and subsequent
     caselaw from the Fifth Circuit suggests that any potency the
     narrow view once held has dwindled. See Steering Comm. v.
     Exxon Mobil Corp., 461 F.3d 598, 603 (5th Cir. 2006) (noting
     that bifurcation might serve “as a remedy for the obstacles pre-
     venting a finding of predominance” but that the plaintiffs had
     not made such a proposal to the district court).7

     7
       Further, the Advisory Committee on Civil Rules appears to
     agree that issues can be certified for class treatment even if pre-
     dominance cannot be satisfied for the action as a whole. At
     their April 2015 meeting, the Committee noted that “[a] major
     reason for considering possible rule amendments to deal with
     issue classes is that there has seemed to be a split in the circuits
     about whether they can only be allowed if (b)(3) predominance
     is established.” See Rule 23 Subcommittee Report, in Advisory
     Committee on Civil Rules 243-99 (Apr. 9-10, 2015). But the
     Committee went on to note that “recent reports suggest that all
     the circuits are coming into relative agreement that in appro-
     priate cases Rule 23(c)(4) can be used even though full Rule




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             The Commission’s attempts to avoid the majority view
     by arguing not so much that full-class Rule 23(b)(3) certifica-
     tion must precede Rule 23(c)(4) certification, but that the Dis-
     trict Court here failed to consider Rule 23(b)(3) at all. But “cer-
     tifying a Rule 23(c)(4) class is analytically independent from
     the predominance inquiry under Rule 23(b)(3),” though pre-
     dominance concerns may be relevant to both. See Gonzalez v.
     Corning, 885 F.3d 186, 202 (3d Cir. 2018) (“While Plaintiffs
     are correct to point out that the appropriateness of certifying a
     Rule 23(c)(4) class is analytically independent from the pre-
     dominance inquiry under Rule 23(b)(3), a case may present
     concerns relevant to both.”).
             Amicus Chamber of Commerce offers yet another rea-
     son to reverse the District Court: that the District Court’s Rule
     23(c)(4) ruling, if adopted, “will permit a flood of abusive class
     actions, with troubling and far-reaching consequences for busi-
     nesses, shareholders, employees, customers, and the judicial
     system.” Brief for U.S. Chamber of Commerce as Amici Cu-
     riae Supporting Appellant 16-18. The Chamber’s concerns
     seem overblown. Even capacious rules for issue-class certifi-
     cation (which we do not purport to advance in this holding)
     likely will not encourage “a flood of abusive class actions” be-
     cause few lawyers will have an incentive to file them. Any lu-
     crative potential payday for class action lawyers arises from
     securing a damages award, not from obtaining an order on a
     particular issue. That order, which can be thought of as a type
     of declaratory judgment, may eventually transform into a judg-
     ment awarding damages, but even then it is not clear that the
     future individualized proceedings would be controlled by the


     23(b)(3) certification is not possible due to the predominance
     requirement.” Id. at 280 (emphasis added).




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     lawyers that won the issue-class order. In any case, even if a
     lawyer could obtain a quasi-declaratory ruling on a subset of
     common issues, the transformation of the case from a proposed
     class action to a set of individualized proceedings would spoil
     any settlement leverage that the lawyer had. Of course, the law-
     yer representing the class would prefer a favorable issue-class
     order to no order at all, but the defendant, once facing just in-
     dividualized proceedings, could return to the very tactics that
     may have given it an advantage in the first place. From the de-
     fense perspective, such tactics could have the added benefit of
     deterring other class-action lawyers from attempting similar bi-
     furcated class actions in the future.

                                *****

            Because the District Court failed to determine whether
     the proposed issues satisfied a subsection of Rule 23(b), and
     because it failed to rigorously analyze several Gates factors,
     we will vacate the District Court’s issue-class certification and
     remand for further proceedings consistent with this opinion.

     IV. CONCLUSION

             For these reasons, we vacate the District Court’s Order
     certifying for aggregate treatment the duty and breach elements
     of Plaintiffs’ negligent infliction of emotional distress claim,
     and remand for further proceedings consistent with this opin-
     ion.




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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,            CIVIL ACTION NO. 18-5629
ELSA M. POWELL AND DESIRE EVANS,

                Plaintiffs,

    v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.


  SUPPLEMENTAL MEMORANDUM IN SUPPORT OF CLASS CERTIFICATION




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        Plaintiffs Monique Russell, Jasmine Riggins, Elsa Powell, and Desire Evans, on behalf of

themselves and all others similarly situated (collectively, “Plaintiffs”), by and through their undersigned

counsel, respectfully submit this Supplemental Memorandum in Support of Class Certification,

pursuant to the Court’s Order of November 9, 2021 (ECF No. 77).

                                           INTRODUCTION

        As the Third Circuit held, “[t]wo reasons, each independently sufficient, support the conclusion

that the District Court misapplied Gates when it certified for class treatment the duty and breach

elements of Plaintiffs’ negligent infliction of emotional distress claim.” Russell v. Educ. Comm’n for Foreign

Med. Graduates, 15 F.4th 259, 271 (3d. Cir. 2021) (emphasis added). The two errors in certifying

Plaintiffs’ negligent infliction of emotional distress claim identified by the Third Circuit are:

        1.      “[T]he District Court did not determine whether the duty and breach elements
                of Plaintiffs’ claim satisfied Rule 23(b)(3).” Id.

        2.      “[T]he Court also failed to rigorously consider several Gates factors,” namely:

                    a. “the effect certification of the issue class will have on the effectiveness
                       and fairness of resolution of remaining issues” and

                    b. “what efficiencies would be gained by resolution of the certified issues.”
                       Id. at 272.

        The Court’s analysis on remand should focus on this small number of errors the Third Circuit

found were present in the Court’s certification of the negligent infliction of emotional distress claim.

The alleged errors do not extend to the substance of the Court’s analysis, but rather reflect the Third

Circuit’s assessment of whether the Court adequately showed its work.

        Strictly speaking, the Third Circuit vacated only this Court’s certification of issues in Plaintiffs’

negligent infliction of emotional distress claim—not its accompanying certification of issues in

Plaintiffs’ negligence claim. See Russell, 15 F.4th at 275 (“For these reasons, we vacate the District

Court's Order certifying for aggregate treatment the duty and breach elements of Plaintiffs’ negligent

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infliction of emotional distress claim, and remand for further proceedings consistent with this

opinion.”) To be sure, the Court may wish as a matter of prudence to also analyze these factors in the

context of Plaintiffs’ negligence claim. But the Third Circuit’s decision leaves undisturbed the vast

majority of this Court’s original, closely reasoned decision on Plaintiffs’ class certification request.

        As argued herein, the Third Circuit affirmed this Court’s findings on the Rule 23(a) elements. It

embraced the “broad,” or majority, view of the relationship between Rules 23(b)(3) and (c)(4), and all

but held that Plaintiffs’ issue class satisfied Rule 23(b)(3) on both claims. And its analysis of the two

Gates factors it found the Court’s class certification decision had inadequately discussed leaves the

Court ample room to exercise its discretion in reaffirming its original findings.

I.      The Court’s findings on ascertainability and the Rule 23(a) elements should stand,
        because those findings were either not raised on appeal or were affirmed.

        In its class certification order, the Court found that the issue class proposed by Plaintiffs was

ascertainable. (ECF No. 57 at 12–14.) ECFMG did not raise this determination as a ground for appeal,

and the Third Circuit’s opinion does not call this finding into question. It should stand.

        The Court also found that Plaintiffs’ proposed issue class satisfied the numerosity,

commonality, typicality, and adequacy requirements of Rule 23(a). (ECF No. 57 at 14–21.) ECFMG

appealed only the Court’s findings on typicality and adequacy. Appellant’s Br., 2020 WL 5352387, at

18–27 (3d Cir. Sept. 20, 2020). The Third Circuit rejected ECFMG’s argument on these two elements,

see Russell,15 F.4th at 271 & n.4, and did not otherwise suggest the Court should reevaluate its Rule

23(a) findings. There is no reason for the Court to do so.




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II.     The proposed class satisfies Rule 23(b)(3), because the proposed issues require no
        individualized considerations.

        A.       The Third Circuit endorsed the broad view of the predominance and superiority
                 requirements, which Plaintiffs’ issue class satisfies.

        As the Third Circuit found, a party must show that issues proposed for certification satisfy Rule

23(a) and are “ ‘maintainable under Rule 23(b)(1), (2), or (3).’ ” Russell, 15 F.4th at 267 (citation

omitted). Rule 23(b)(3) permits a class action to be maintained where “questions of law or fact

common to class members predominate over any questions affecting only individual members,” and a

class action would be “superior to other available methods for fairly and efficiently adjudicating the

controversy.” Per the Third Circuit, “Rule 23(a) and Rule 23(b) decide if the proposed issues can be

brought or maintained as class action, while the Gates factors determine whether they should.” Russell, 15

F.4th at 270.

        Rule 23 continues with four (non-exclusive) factors “pertinent to these findings,” including

“the class members’ interests in individually controlling . . . separate actions” (id. at (b)(3)(A)), the

“extent and nature of any litigation concerning the controversy already begun,” (id. at (b)(3)(B)), the

“desirability . . . of concentrating the litigation of the claims in the particular forum” (id. at (b)(3)(C)),

and “the likely difficulties in managing a class action.” Id. at (b)(3)(D).

        As the Third Circuit held, “[t]he Court correctly observed that Gates does not require Plaintiffs

seeking issue-class certification to prove that their cause of action as a whole satisfies Rule 23(b)(3).” Id.

at 271. It unequivocally adopted the majority, or “broad,” view of the relationship between Rules

23(b)(3) and Rule 23(c)(4), according to which predominance and superiority must be satisfied as to the

issues proposed for certification. See id; see also id. at 273–74.

        Here, all of the factors favor certification of the issue class.



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        First, Plaintiffs have little interest in holding hundreds of separate trials to obtain hundreds of

separate answers to the questions surrounding Defendant’s legal duties and conduct in breach of those

duties. Id. at (b)(3)(A). Even if Plaintiffs’ interests diverged on the questions of damages and

individualized defenses, the proposed issue class treatment allows Plaintiffs (and Defendant) to make

individualized showings on these issues, if needed, after the class-wide issues are resolved. And there is

no existing litigation by or against the class members relating to the subject matter of this suit; thus

Rule 23(b)(3)(B) poses no obstacle to certification.

        Further, Defendant, a Pennsylvania entity, should be judged for its Pennsylvania actions in

Pennsylvania. It is particularly desirable to hear all questions concerning Defendant’s conduct in the

state where it took place. Rule 23(b)(3)(C) supports the proposed issue class treatment.

        The “likely difficulties in managing a class action” pale in comparison to the likely difficulties,

and drain on judicial resources, of handling these claims individually. Fed. R. Civ. P. 23(b)(3)(D). In

short, none of the enumerated factors support denying class treatment.

        The Third Circuit’s opinion also supports the conclusion that predominance and superiority are

satisfied:

        It is true that deciding if the Commission had a duty to investigate requires balancing
        several factors. Id. But none of that requires individual evidence, for each patient shared
        the same distanced relationship of trust with the Commission. Likewise, breach would
        require only common evidence: How much investigating did the Commission do? Did
        it know or should it have known that Igberase was a fraud? Did it take enough steps to
        investigate him based on warnings received from various parties, including the New
        Jersey residency program? Should it have followed up in later years once Igberase was
        admitted to another residency program? No absent class member would have anything
        special to add in her individual trial. There will be plenty left for individual proceedings,
        but these major issues could be resolved on a class-wide basis.

Id. at 273 (emphasis added).




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        Numerous other courts support that predominance and superiority are satisfied in this setting.

For example, writing for the Seventh Circuit in Butler v. Sears, Roebuck & Co., 727 F.3d 359 (7th Cir.

2012), Judge Posner asserted that “[i]f there are no common questions or only common questions,

the issue of predominance is automatically resolved.” Butler v. Sears, Roebuck & Co., 702 F.3d 359, 361

(7th Cir. 2012), cert. granted, judgment vacated, 569 U.S. 1015 (2013), and judgment reinstated, 727 F.3d 796

(7th Cir. 2013). As Judge Weinstein noted in an oft-cited 2001 opinion, “[t]he framers of Rule

23(c)(4)(A) considered class actions brought under Rule 23(b)(3) . . . particularly well suited for

certification of fewer than all issues. Their conclusion follows from the fact that Rule 23(c)(4)(A) assists

in satisfying Rule 23(b)(3)'s additional class certification requirements of predominance and

superiority.” Simon v. Philip Morris, Inc., 200 F.R.D. 21, 28–30 (E.D.N.Y. 2001) (citations omitted); see

also Martin v. Behr, 896 F.3d 405 (6th Cir. 2018); Adkisson v. Jacobs Eng'g Grp., Inc., 370 F. Supp. 3d 826

(E.D. Tenn. 2019).

        Prominent treatises are in accord. According to Professors Tidmarsh and Trangsrud, in this

context “[b]y definition, these common issues would predominate, because only the common issues are

litigated on a class-wide basis.” Jay Tidmarsh and Roger H. Transgrud, Modern Complex Litig. 490 (2d

ed. 2010) (emphasis added). And as Joseph McLaughlin writes, “when common issues predominate,

the manageability factor usually favors certification. The more common issues predominate, the more

manageable the litigation becomes, and a class action becomes the superior device for resolving the

case through elimination of duplicative litigation.” 1 McLaughlin on Class Actions § 5:68 (14th ed.,

Oct. 2017 update) (emphasis added) (footnotes omitted).

        Here, because the issues to be certified involve only common issues, with no individualized

inquiries necessary for the class determination, predominance and superiority are satisfied.




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III.    The proposed issue class satisfies the seventh Gates factor, concerning the impact of
        certification on the effectiveness and fairness of the resolution of remaining issues,
        because it maintains fairness to all parties.

        The Third Circuit asked this Court to “explicitly discuss whether [sic] the effect certification of

the issue class will have on the effectiveness and fairness of resolution of remaining issues.” The sole

concern the Third Circuit identified in this regard is whether ECFMG will face “undue pressure to

settle even if their breach did not cause Plaintiffs’ harm.” Russell, 15 F.4th at 272.

        Later, however, the opinion rejects the notion that issue classes will unfairly pressure ECFMG

into settling with Plaintiff. The court rejected as “overblown” amicus Chamber of Commerce’s

contention that the district court’s ruling would encourage “a flood of abusive class actions.” Id. at 275.

As it explained, “even if a lawyer could obtain a quasi-declaratory ruling on a subset of common issues,

the transformation of the case from a proposed class action to a set of individualized proceedings

would spoil any settlement leverage that the lawyer had.” Id. Whatever the merits of the Third Circuit’s

analysis, it certainly did not hold that certifying the proposed issue class will extort a settlement from

ECFMG.

        Even if Defendant experiences settlement pressure after an adverse determination on the

certified issues, this does not mean that such settlement pressure was “undue,” i.e., “excessive or

unwarranted.” Black's Law Dictionary (11th ed. 2019). There are built-in safeguards against undue

settlement pressure, including the requirement of rigorous analysis itself and the Rule 23(f) appeal.

Settlement pressure resulting from a fair resolution of the certified issues is not grounds to reject

certification. Jackson v. Se. Pennsylvania Transp. Auth., 260 F.R.D. 168, 185 (E.D. Pa. 2009) (“[T]he Court

cannot simply deny certification on this ground.”); Fed. R. Civ. P. 23, 1998 advisory committee cmt. To

hold otherwise would preclude most any issue certification, eviscerating the issue class device.




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        Merely because other persons, absent from this litigation and not alleged to be negligent, were

involved in the causal chain does not make it “unfair” to impose liability on ECFMG. The relevant

inquiry is whether ECFMG’s negligence was a factual cause of Plaintiffs’ injuries, not, as the opinion’s

dicta implied, whether ECFMG was the cause. The standard instruction on causation (referred to as

“proximate cause” rather than “factual cause”) reads as follows:

        In order for [name of plaintiff] to recover in this case, [name of defendant]' s [negligent]
        [grossly negligent] [reckless] conduct must have been a factual cause in bringing about
        harm. Conduct is a factual cause of harm when the harm would not have occurred
        absent the conduct. To be a factual cause, the conduct must have been an actual, real
        factor in causing the harm, even if the result is unusual or unexpected. A factual cause
        cannot be an imaginary or fanciful factor having no connection or only an insignificant
        connection with the harm.

        To be a factual cause, [name of defendant]'s conduct need not be the only factual cause.
        The fact that some other causes concur with [name of defendant]' s negligence in
        producing an injury does not relieve [name of defendant] from liability as long as [his] [her]
        own negligence is a factual cause of the injury.

Pa. SSJI (CIV), 13.20 (emphasis added).1

        Pennsylvania does retain the concept of concurring causes, but that only comes into play

“when the joint negligence of more than one person is involved.” Pa. SSJI (CIV), 13.150. That is not

the case here: ECFMG has not asserted that another person’s negligence was a factual cause of the

injuries. Even if it did, a defendant cannot avoid liability on the basis that “another concurring cause is

also responsible for producing injury.” Id. “The basic question is whether the first tortfeasor's action

was in fact a legal cause of the resultant injury. If in fact it was . . . the fact that a second actor may also

have contributed to the injury does not relieve the initial tortfeasor of responsibility.” Grainy v. Campbell,




1
 This instruction accurately reflects Pennsylvania law. Gorman v. Costello, 2007 PA Super 224, ¶ 13, 929
A.2d 1208, 1212 (2007).

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493 Pa. 88, 95, 425 A.2d 379, 383 (1981) (Nix, J., concurring).2 Juries in individual proceedings may

fairly consider this question if ECFMG receives unfavorable determinations on duty and breach.

          The result is the same if one frames this inquiry as “superseding cause.” The mere fact that

other institutions relied on ECFMG’s certification of Igberase, and thus played a role in his ability to

practice medicine, does not transform them into superseding causes that warrant inclusion on a verdict

form. A superseding cause “is an intervening force that is ‘so extraordinary as not to have been

reasonably foreseeable.’” Bouriez v. Carnegie Mellon Univ., 585 F.3d 765, 773 n.4 (3d Cir. 2009). An event

is a superseding cause if it “operat[es] independently of any situation created by the first actor's

negligence” and “is not . . . a normal result of that situation.” Id. Here, neither of these conditions is

met: ECFMG certification was a prerequisite to him attending a residency program and becoming able

to practice obstetrics and gynecology. ECFMG initiated the causal chain that enabled Igberase to

practice medicine in the United States. For a health care institution to grant him privileges is hardly so

extraordinary as to not have been reasonably foreseeable.



2
    See also the damages instruction on “Other Contributing Causes”:

          [Name of plaintiff] is entitled to recover damages for all [injuries] [harm] factually
          caused by the defendant['s] [s'] negligence.

          The defendant['s] [s'] negligence need not be the sole cause of the [injuries] [[harm];
          other causes may have contributed to producing the final result.

          The fact that some other factor may have contributed to [an injury] [a harm] does
          not relieve [a defendant] [defendants] of liability, unless you find that such other
          causes would have produced the [injury] [harm] complained of independently of
          their negligence.

          [Even though prior conditions or concurrent causes may have contributed to [an
          injury] [a harm], if the defendant['s] [s'] negligence factually caused the [injury]
          [harm], the defendant[s] [is] [are] liable for the full amount of damages sustained,
          without any apportionment or diminution for the other conditions or causes.]

Pa. SSJI (Civ), §7.90 (2020).
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        Moreover, issues of causation should not bar class certification here. As the Third Circuit has

observed, “[c]hallenges based on the statute of limitations, fraudulent concealment, releases, causation,

or reliance have usually been rejected and will not bar predominance satisfaction because those issues

go to the right of a class member to recover, in contrast to underlying common issues of the

defendant's liability.” See In re Linerboard Antitrust Litig., 305 F.3d 145, 163 (3d Cir. 2002) (quoting

Newberg on Class Actions § 4.26 (3d ed.)).

        Finally, the language of this Gates factor resembles the element of superiority, which asks courts

to determine “whether a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Because the superiority element is met, as

described above, this Gates factor is satisfied as well.

IV.     The proposed issue class also satisfies the third Gates factor, concerning the
        efficiencies to be gained by granting partial certification in light of realistic procedural
        alternatives, because no efficient alternative exists.

        According to the Third Circuit, this Court “did not rigorously consider what efficiencies would

be gained by resolution of the certified issues” with respect to Plaintiffs’ negligent infliction of

emotional distress claim—although, as the Third Circuit acknowledged, the Court “briefly discussed

the efficiencies of a single trial and broached other options with the parties.” Russell, 15 F.4th at 272.

The appellate court stressed that following a class phase trial, if Plaintiffs were successful, individual

proceedings would be necessary to determine fact of injury, proximate (factual) cause, and affirmative

defenses.

        The Third Circuit’s decision should not alter this Court’s conclusion. The key question, as

Judge Posner put it, is: “Is it more efficient, in terms both of economy of judicial resources and of the

expense of litigation to the parties, to decide some issues on a class basis or all issues in separate trials?”

Butler, 702 F.3d at 362. The mere fact that individualized determinations are needed to resolve damages

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claims cannot defeat certification. As this Court found, “there are efficiencies to be gained by certifying

a class on these issues because it will allow for a single trial with a single, preclusive determination

about ECFMG’s conduct, rather than the presentation of the same evidence about ECFMG again, and

again, and again to separate juries.” (ECF No. 57 at 26). And the Third Circuit supported this

conclusion: it not only indicated that “the District Court may very well be correct” in this assessment,

Russell, 15 F.4th at 272, but also noted that “[t]here will be plenty left for individual proceedings, but

these major issues [of duty and breach] could be resolved on a class-wide basis.” Russell, 15 F.4th at

273.

        In fulfilling the Third Circuit’s mandate to analyze fulsomely this Gates factor, this Court should

not alter its central conclusion. The only alternative to issue class certification followed by

individualized determinations on causation and damages is full-blown trials for each of at least 550

plaintiffs whom counsel presently represent. This is necessarily far less efficient, because it would

require repetitive presentations of evidence on duty and breach. Collateral estoppel, as the Court

observed, is not an alternative because it cannot be used offensively here to resolve multiple claims.

ECF No. 57 at 26–27. The Third Circuit did not disturb the merits of these findings, and this Court

has no reason to revisit them.

V.      The Third Circuit’s dicta regarding the ninth Gates factor should not alter the Court’s
        class certification decision, as no Reexamination Clause issues inhere in the proposed
        issue class.

        In dicta, the appellate opinion suggested “[t]he District Court may also wish to consider

whether the duty and breach elements of Plaintiffs’ negligent infliction of emotional distress claim are

suitable for issue-class treatment.” Russell, 15 F.4th at 272. It observed that “under Pennsylvania law,

for example, to determine whether the Commission owed the Plaintiffs a relevant legal duty, the class

jury will have to weigh several factors, including the ‘foreseeability of the harm incurred.’ ” Id. The

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Third Circuit anticipated that “once beyond the class trial, to determine and measure emotional

damages, each individual jury will have to assess the degree of the Commission's negligence as to each

Plaintiff.” Id. According to the Third Circuit, then, “each individual jury, like the issue-class jury, may

need to consider evidence regarding the Commission's overall conduct, which likely will include the

nature of the legal duty it owed Plaintiffs (if any) and the extent to which it breached that duty.” Id.

Based on “the risk subsequent triers of fact will need to reexamine evidence and findings from

resolution of the common issue(s),” the appellate court concluded that “Gates disfavors this,”

referencing the ninth factor of the Gates test.3 As described below, these hypothetical concerns the

Third Circuit chose to express in dicta should not disturb the merits of this Court’s conclusions.

        A.      The Reexamination Clause concerns the redetermination of issues, not the rehearing of
                evidence.

        At the outset, a persistent Reexamination Clause myth must be dispelled. The Reexamination

Clause of the Seventh Amendment—the focus of the concern the appellate court raised concerning

Gates factor 9—does not preclude the repeated presentation of evidence at different phases of the

same trial.4 Rather, “the Seventh Amendment prohibition is not against having two juries review the


3
  This factor requires a district court to consider “the impact individual proceedings may have upon
one another, including whether remedies are indivisible such that granting or not granting relief to any
claimant as a practical matter determines the claims of others; and the kind of evidence presented on
the issue(s) certified and potentially presented on the remaining issues, including the risk subsequent
triers of fact will need to reexamine evidence and findings from resolution of the common issue(s).”
Gates v. Rohm & Haas Co., 655 F.3d 255, 273 (3d Cir. 2011) (citing Principles of the Law of Aggregate
Litigation §§ 2.02–05 (2010), Hohider v. United Parcel Serv., Inc., 574 F.3d 169, 201 (3d Cir. 2009)). The
Court concluded that there were no indivisible remedies in its class certification decision (ECF No. 57
at 27), and neither ECFMG nor the appellate court has opined otherwise.
4
 The Seventh Amendment, ratified in 1791, provides that “In Suits at common law, where the value in
controversy shall exceed twenty dollars, the right of trial by jury shall be preserved, and no fact tried by
a jury, shall be otherwise re-examined in any Court of the United States, than according to the rules of
the common law.” U.S. Const. amend. VII


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same evidence, but rather against having two juries decide the same essential issues.” In re Paoli R.R.

Yard PCB Litig., 113 F.3d 444, 452 n.5 (3d Cir. 1997) (citation and quotes omitted). Separate juries are

permissible even where “certain evidentiary items might have been relevant to both phases of trial,”

even if evidence is reheard. Id. As a defense-side journal has observed,

        First, the Clause refers to a “fact tried by a jury,” which appears to be considerably
        narrower than an Article III “case or controversy.” There are several possible
        interpretations of “fact tried by a jury.” One is construing the phrase as synonymous
        with “fact examined by a jury” which would prevent subsequent juries from hearing the
        same evidence as the initial jury. This position could be implied in the Fifth Circuit's
        criticism of a bifurcation plan because “a second jury will rehear evidence of the
        defendant's conduct.” [quoting Castano v. Am. Tobacco Co., 84 F.3d 734, 751 (5th Cir.
        1996).] However, such an interpretation has been soundly rejected, even by the Fifth
        Circuit, and, for good reason, because, for decades before and after the ratification of
        the Seventh Amendment, subsequent juries were essentially required to rehear evidence
        pertaining to a plaintiff's claims where the common law's rigid joinder rules prohibited
        the joinder of all the plaintiff's claims. Moreover, such a broad reading of “fact tried by
        a jury” would cripple the ability of trial courts not only to bifurcate in many instances
        but also to employ other management devices such as directing a retrial on only the
        issue of damages where the first trial was otherwise error-free.

W. Russell Taber, The Reexamination Clause: Exploring Bifurcation in Mass Tort Litigation Analyzing the

Constitutional Hurdle to Bifurcated Trials, 73 Def. Couns. J. 63, 71 (2006).

        The concerns that motivated the Framers in drafting the Seventh Amendment are also not at

play in the proposed issue certification. As Judge Weinstein concluded after an extensive, oft-cited

analysis:

        The historical record demonstrates that the Framers' main objective in drafting the
        Seventh Amendment was to limit the ability of an appellate court, specifically the
        Supreme Court, to review de novo and overturn a civil jury's findings of fact. Nowhere
        is there an indication that the Framers intended to constrain the trial judge's substantial
        discretion to employ appropriate mechanisms of jury control.

Simon v. Philip Morris Inc., 200 F.R.D. 21, 33 (E.D.N.Y. 2001).



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        The remedy for any potential Reexamination Clause concerns is prudent case management

combined with the use of well-drawn special interrogatories: “[u]se of special verdict forms can provide

the specificity necessary for instructing a second jury as to the aspects of the litigation previously

resolved.” Ann. Manual Complex Lit. § 22.755 (4th ed.); see also 2 Newberg on Class Actions § 4:92

(5th ed.) (“In sum, the Seventh Amendment does not seem to pose a significant obstacle to the use of

issue classes, even in the mass tort context, so long as courts are careful to certify only those issues for

class treatment that are sufficiently separable from individual issues.”). As the same defense-side journal

cited above also observed,

        [t]he fundamental means to avoid a prohibited reexamination in most bifurcation plans
        is the use of carefully crafted special verdicts. In bifurcated trials, as discussed earlier, a
        special verdict captures the very “fact[s] tried by a jury” by catechizing a jury's factual
        considerations that led to its affixation of a particular legal label. Prohibited
        reexaminations can, therefore, be avoided altogether by documenting the “fact[s] tried
        by a jury” in a special verdict, providing the special verdict to subsequent juries, and
        instructing subsequent juries that they are bound to the conclusions recorded in the
        special verdict. In this sense, the Reexamination Clause “requires only that later juries
        respect the formal findings of the first jury.”
Taber, 73 Def. Couns. J. at 75.

        Moreover, the potential constitutional infirmity is not ripe for resolution at this stage. Special

interrogatories have not been crafted. “ ‘We do not normally require that a party be protected against

an amorphous risk that a state actor—in this case the jury—will violate its legal obligations.’ ” Simon v.

Philip Morris Inc., 200 F.R.D. 21, 47 (E.D.N.Y. 2001) (quoting Patrick Woolley, Mass Tort Litigation and

the Seventh Amendment Reexamination Clause, 83 Iowa L. Rev. 499, 525 (1998)). If Defendant believes

there is a concrete danger of reexamination issues, Defendant should identify them and propose special

verdict interrogatories to protect its interests.

        The courts and the treatises agree. Appropriate case management undertaken by the parties and

the Court can address any concerns that might arise under the Reexamination Clause. This Court and

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the parties should embrace the efficiencies of the proposed issues classes and deal with any potential

Reexamination Clause issues if and when they arise.

        B.      The issue of duty does not implicate the Reexamination Clause, because it is an issue to
                be determined by the Court separately from other elements.

        The Court need not be concerned a jury in an individual proceeding might reexamine a class

jury’s finding on the issue of duty, as the aforementioned dicta in the Third Circuit’s decision might be

read to imply. The Court, not the class jury, will determine whether ECFMG owed a duty to Plaintiffs

and members of the class, as the Third Circuit itself acknowledges on the following page of its opinion.

Id. at 273 (“Duty is an issue of law. Therefore, it must be decided separately from breach, causation,

and damages.”). Juries in individual proceedings will not be asked to determine whether ECFMG owed

a duty to the class. Issues of duty here proposed for classwide treatment do not run afoul of the ninth

Gates factor.

        C.      Trying the issue of breach separately from causation and damages will not run afoul of
                the Reexamination Clause.

        Courts in this and other circuits routinely try or re-try liability and emotional harm damages

separately. See Rosa v. City of Chester, 278 F.2d 876, 882 (3d Cir. 1960) (“Federal appellate and district

courts have time and again ordered new trials as to damages only.”); Gunnells v. Healthplan Serv., Inc.,

348 F.3d 417, 426–30 (4th Cir. 2003); Walters v. Mintec/Int'l, 783 F.2d 73, 82 (3d Cir. 1985) (ordering

new trial on emotional and pecuniary damages only in wrongful death claim); Martell v. Boardwalk

Enters., Inc., 748 F.2d 740, 755 (2d Cir. 1984) (permitting retrial on damages including psychological

injury where first jury answered special interrogatories on liability). In Gunnells, the Fourth Circuit

affirmed an order granting issue-class certification, where mini-trials on proximate cause and damages,

including emotional distress damages, would have followed the class trial on the certified issues.

Gunnells, 348 F.3d at 426–30.

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        It is well within this Court’s discretion to permit “ ‘a single trial with a single, preclusive

determination about [the Commission]’s conduct, rather than the presentation of the same evidence

about [the Commission] again, and again, and again to separate juries.’ ” Russell, 15 F.4th at 273. Here,

the circumstances a jury will need to consider when evaluating damages in the claims for emotional

distress are primarily Igberase’s conduct, as Igberase, unlike ECFMG, was in direct contact with the class

members. As the Court of Appeals noted, “each patient shared the same distanced relationship of trust

with the Commission.” Russell, 15 F.4th at 273. ECFMG’s negligence allowed Igberase to be in a

position to treat patients, but there is no evidence that plaintiffs had any direct contact with ECFMG.

Thus, ECFMG’s actions are not necessary to evaluate the plaintiffs’ emotional distress, caused by

Igberase’s examinations. Rather, individual juries will already be instructed that ECFMG is responsible

for putting Igberase in a position to damage Plaintiffs in the first place. Even if there will be limited

reintroduction of evidence, the efficiencies to be gained far exceed scores of separate trials.

        Spence v. Board of Education of Christina School District, 806 F.2d 1198 (3d Cir. 1986), referenced by

the Third Circuit, is of no moment here. The issue on appeal concerned the application of Gasoline

Products Co. v. Champlin Refining Co., 283 U.S. 494 (1931), in an individual claim for retaliatory transfer, to

determine whether damages could be re-tried on a limited factual presentation. Id. at 1202. Unlike here,

the case involved “a tangled and complex fact situation.” Id.

        Spence certainly did not hold that emotional distress liability and damages are always too

interwoven to allow a fair determination of damages apart from liability. Spence held only that the

district court had not abused its discretion in not allowing a damages-only retrial on that record, 806

F.2d at 1202—not that a district court cannot try issues of liability and emotional distress damages

separately in a class action. And it did not hold that issues of duty and breach within liability could not

be tried separately from causation and damages where, as here, the facts bearing on the defendant’s

breach of duty have little bearing on whether particular individuals suffered compensable harm.
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        No reported decision has applied Spence to bar certification and trial of liability (much less issues

within liability) separately from damages. Although “[t]he universal requirement of a causal link

between liability and damages means that the issues can never be completely unlinked . . . it is clear that

in many cases damages may justly be tried apart from liability.” Pryer v. C.O. 3 Slavic, 251 F.3d 448, 461

(3d Cir. 2001). The Federal Rules of Civil Procedure “expressly authorize such separate trials.” Id. at

461 n.9 (citing Fed R. Civ. P. 42(b)).

        Finally, Defendant’s interests are not in jeopardy here. Even if there were an overlap in the

issues to be tried at the two proposed stages, the defendant could only benefit from the proposed

staging of the trials. First, Plaintiffs must prevail on the issues of duty and breach. If Plaintiffs do not

succeed at this stage, their class claims are extinguished, and there need be no second stage.

VI.     The choice of law question should not impair certification of the proposed issue class,
        as the Third Circuit did not indicate the Court should revisit its earlier findings on this
        issue.

        The only other note of error correction in the Third Circuit’s opinion lies in its footnote 5.

There, the appellate court noted that what it termed a lack of rigorous analysis of the two Gates factors

contended with above was sufficient to vacate the class certification decision, but also hypothesized

that “there may yet be other problems with the issue class.” Russell, 15 F.4th at 275 n.5. The only

hypothetical “problem” the Third Circuit identified was “the possibility that Plaintiffs’ legal claim

implicates multiple states’ laws.” Id. The opinion mused that it is a “close question,” because “[i]t may

well be true that Pennsylvania has the greatest interest in this case,” as this Court concluded, but

“various other states have a substantial interest in the resolution of the claims, too.” Russell, 15 F.4th at

273 n.5. Yet, because the issue was briefed in the context of class certification, the Third Circuit

empowered this Court “to determine which state's law applies to each Plaintiff's claim, if the question

of which state's law applies becomes relevant in future proceedings.” Id. The appellate court did not

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discuss whether application of another state’s law would give rise to a true conflict (it would not, as this

Court concluded). In short, the Court did not disturb this Court’s findings on choice of law and did not

encourage it to revisit them at this stage. As Plaintiffs have argued, the Court can address any potential

choice of law issues through the use of subclasses under Rule 23(c)(5), particularly given the small

number of states at issue.

                                            CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request the Court re-certify the proposed Issue

Classes.

Dated: December 10, 2021                                 Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused the foregoing document to be electronically

filed and served upon all counsel of record by electronic filing. This document is available for

viewing and downloading from the Court’s ECF system.



Dated: 12/10/2021                                    /s/ Robin S. Weiss
                                                     Robin S. Weiss




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                        Civil Action No. 18-5629
               Plaintiffs,
                                        Honorable Joshua D. Wolson
     v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

               Defendant.



                    DEFENDANT’S SUPPLEMENTAL BRIEF
                  IN OPPOSITION TO CLASS CERTIFICATION




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                                        INTRODUCTION

       Pursuant to this Court’s November 9, 2021 Order (ECF 77), Defendant Educational

Commission for Foreign Medical Graduates (“ECFMG”) submits this supplemental brief to address

class certification in light of the Third Circuit’s decision in Russell v. Educational Commission for

Foreign Medical Graduates, 15 F.4th 259 (3d Cir. 2021).

       This Court previously and correctly determined that most of this case is not suitable for class

treatment. It rejected Plaintiffs’ request to certify liability for class-wide determination, ECF 57 at

22–25, and rejected class treatment of five of the nine issues that Plaintiffs proposed, id. at 25.

Nothing in the Third Circuit’s decision disturbs these aspects of this Court’s earlier decision.

       In vacating this Court’s order certifying the duty and breach elements for class treatment,

the Third Circuit held that to certify the requested issue class, this Court must, inter alia, (1) find

that the issue class is “appropriate” under Rule 23(c)(4) based on a rigorous analysis of the Gates

factors, as guided by the Third Circuit’s opinion; and (2) find that the issue class satisfies Rule

23(b)(3)’s predominance and superiority requirements. Plaintiffs can make neither showing.

       The Third Circuit identified a host of major obstacles to issue certification under Rule

23(c)(4) and Gates. Issue certification cannot substantially facilitate the resolution of the dispute

because each class member would still have to prove a plethora of complex issues through

individualized proceedings that require the same evidence as the issue class trial. It would also

undermine the parties’ procedural and substantive rights because it risks unduly pressuring ECFMG

to settle (rather than having its strong arguments decided on the merits) and creates difficult

constitutional issues (including under the Seventh Amendment and the Commerce Clause).

Plaintiffs have proposed no viable solutions to any of these impediments.

       With respect to Rule 23(b)(3), Plaintiffs have failed to demonstrate that any common issues

presented by the duty and breach inquiries predominate over the individual issues that must be
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resolved to determine whether ECFMG owed and/or breached a duty to a particular class member.

Nor have Plaintiffs shown that issue class certification is a superior method for resolving the

controversy. Plaintiffs have offered no plan for how the Court can effectively manage an issue class

trial or apply the results of an issue class trial to each class member’s claim, without almost

complete duplication of evidence. Individual proceedings are also superior because they do not

threaten undue settlement pressure or risk inflicting emotional distress on putative class members

who are presently (and may forever remain) uninjured.

        For the reasons set forth below and in ECFMG’s prior briefing, class certification should be

denied in its entirety.

                                           ARGUMENT

I.      Plaintiffs Have Not Demonstrated That an Issue Class Satisfies Rule 23(c)(4).

        Rule 23(c)(4) provides that “[w]hen appropriate, an action may be brought or maintained

as a class action with respect to particular issues.” In contrast to Rule 23(a) and Rule 23(b), which

determine “if the proposed issues can be brought or maintained as [a] class action,” Rule 23(c)(4)

“determine[s] whether they should.” Russell, 15 F.4th at 270 (emphasis in original). The Court

cannot certify an issue class without finding Rule 23(c)(4) satisfied. Id.

        The Third Circuit clarified that its decision in Gates v. Rohm & Haas Co., 655 F.3d 255

(3d Cir. 2011)—including the list of nine factors relevant to issue class certification—explained

Rule 23(c)(4)’s “appropriate[ness]” inquiry. Id. at 267. “When assembled, the Gates factors

construct a functional framework to aid the district courts tasked with resolving issue-class

certification questions.” Id. at 268. “[D]istrict courts may certify ‘particular issues’ for class

treatment even if those issues, once resolved, do not resolve a defendant’s liability” only if “such

certification substantially facilitates the resolution of the civil dispute, preserves the parties’

procedural and substantive rights and responsibilities, and respects the constitutional and statutory
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rights of all class member and defendants.” Id. at 270.

       As explained in ECFMG’s prior briefing and herein, Plaintiffs have not demonstrated that

Rule 23(c)(4) and the Gates factors favor issue class certification.

       A.      Issue certification will not substantially facilitate the resolution of the dispute.

       The Third Circuit explained that the overall complexity of the case (Gates factor 2) and the

lack of efficiencies to be gained from an issue class proceeding in light of realistic procedural

alternatives (Gates factor 3) weigh strongly against issue class certification. “[E]ven if the District

Court finds that [ECFMG] owed a relevant legal duty to the Plaintiffs that it subsequently

breached, each Plaintiff, in individual proceedings, will have to prove that they were injured; that

[ECFMG’s] breach of the relevant duty actually and proximately caused those injuries; that those

injuries are due a particular amount of damages; and that [ECFMG’s] affirmative defenses

(including, presumably, each Plaintiff’s consent to medical treatment by Igberase) are not

decisive.” Russell, 15 F.4th at 272.

       Virtually all of the “common” evidence and arguments that would presumably be presented

in an issue class trial on questions of duty and breach would need to be reheard in every individual

case. To determine causation, understand who Dr. Akoda was, and even have a basic

understanding of the theory of liability against ECFMG, every jury in every individual proceeding

would need to hear the evidence that Plaintiffs presumably propose to present in the issue class

proceeding.

       Evaluating but-for and proximate causation would require an individual jury to consider

the entire chain of events relevant to the class member at issue—including any alleged wrongdoing

by ECFMG, JSMC, Howard, the Maryland Board of Physicians, the Virginia Board of Medicine,

Dr. Chaudry, Dr. Moore, ABOG, and/or law enforcement—that will already have been presented

to the issue class jury. See id. (“Many other actors played a role in Igberase’s fraud, including the
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residency programs that admitted and trained him, the state medical boards, that licensed him, the

hospitals that gave him privileges, the specialty board that certified him, and the law enforcement

officers (state and federal) who investigated him.”). Cf. McKenna v. City of Philadelphia, 649 F.3d

171, 178 (3d Cir. 2011) (explaining that “proximate cause” excludes “link[s] that are too remote,

purely contingent, or indirect” (internal citation omitted)); Township of Bordentown, N.J. v. FERC,

903 F.3d 234, 247 n.6 (3d Cir. 2018) (noting that “intervening act[s]” can sever a causal chain).

       Moreover, as the Third Circuit noted, “once beyond the class trial, to determine and

measure emotional damages, each individual jury will have to assess the degree of [ECFMG’s]

negligence as to each Plaintiff.” Russell, 15 F.4th at 272 (citing Spence v. Bd. of Educ. of the

Christina Sch. Dist., 806 F.2d 1198, 1202 (3d Cir. 1986)). The Third Circuit affirmatively rejected

Plaintiffs’ argument that emotional distress could be evaluated solely based on a class member’s

interactions with Dr. Akoda, See Appellees’ Br., Dkt. 47, at 57–59. Rather, it agreed with ECFMG

(and Third Circuit precedent) that any “emotional distress damages must be evaluated in light of

all the circumstances surrounding [ECFMG’s] alleged misconduct.” Id. (quoting Spence, 806 F.2d

at 1202). As a result, “each individual jury, like the issue-class jury, may need to consider evidence

regarding [ECFMG’s] overall conduct, which likely will include the nature of the legal duty it

owed Plaintiffs (if any) and the extent to which it breached that duty.” Id. at 272. As the Third

Circuit noted, “Gates disfavors this.” Id.; see Gates, 655 F.3d at 273 (holding that “the risk

subsequent triers of fact will need to reexamine evidence and findings from resolution of the

common issue(s)” counsels against certification of those issues).

       Thus, the Third Circuit held, individual proceedings considering each class member’s

emotional distress damages will require reconsidering all of the circumstances surrounding

ECFMG’s duty and breach, essentially a complete reduplication of any evidence presented at a



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class-wide issue trial. No efficiencies can be gained by an issue class proceeding when the same

evidence will need to be represented to juries in individual proceedings.

       The need to present the same evidence at both an issue class trial and individual

proceedings creates serious Seventh Amendment concerns. Courts have disapproved of the kind

of issue class Plaintiffs propose because attempting to separate questions of duty and breach from

the question of proximate causation would violate the Seventh Amendment. “Proximate causation

is found by determining whether the harm to the plaintiff followed in some sense naturally,

uninterruptedly, and with reasonable probability from the negligent act of the defendant. It

overlaps the issue of defendants’ negligence,” particularly when (as here) applicable state law

“make[s] the foreseeability of the risk to which the defendant subjected the plaintiff an explicit

ingredient of negligence.” Matter of Rhone-Poulenc Rorer, Inc., 51 F.3d 1293, 1303 (7th Cir.

1995); see Russell, 15 F.4th at 272 (noting that whether ECFMG owed Plaintiffs a “relevant legal

duty” requires considering “the foreseeability of the harm incurred,” among other factors). As a

result, Plaintiffs’ proposed issue class presents a “looming infringement of Seventh Amendment

rights”: “[u]nless the defendants settle, a second (and third, and fourth, and hundredth, and

conceivably thousandth) jury will have to decide, in individual follow-on litigation by class

members not named as plaintiffs” issues of proximate causation that overlap issues of duty and

breach already tried to another jury. Matter of Rhone-Poulenc Rorer, Inc., 51 F.3d at 1303. The

impact issue certification will have on the constitutional rights of the parties (Gates factor 5) and

the risk subsequent triers of fact will need to reexamine evidence and findings from resolution of

the common issues (Gates factor 9) thus weigh strongly against issue certification.

       The type of claims and issues in question (Gates factor 1) also weighs against certification.

“[T]o determine whether [ECFMG] owed the Plaintiffs a relevant legal duty, the class jury will

have to weigh several factors, including ‘the foreseeability of the harm incurred.’” Russell, 15
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F.4th at 272 (quoting Althaus ex rel. Althaus v. Cohen, 756 A.2d 1166, 1169 (Pa. 2000)).1 By

definition, that requires the issue class jury to look beyond “[ECFMG]’s conduct,” id. at 273, to

the nature of the harm allegedly suffered by class members, which Plaintiffs have proposed to

excise from the issue class trial. Plaintiffs have failed to detail how the duty and breach elements

of each class member’s claim can be resolved on a class-wide basis without consideration of other

elements of their claim, which they propose to sever for subsequent individual trials. They have

no explanation for how a proposed issue class trial would not broach the emotional distress that

will be the focus of subsequent individual trials.

       The Third Circuit discussed the possibility that there may be efficiencies to be gained from

“a single trial with a single, preclusive determination about [ECFMG]’s conduct.” Id. at 272–73.

But an issue class on the abstract questions of duty and breach that Plaintiffs propose to certify

(and whose certification the Third Circuit vacated) would not actually generate a determination

that would have preclusive effect in each class member’s individual proceeding. As explained

below, because of the relevant legal standard, the complexity of the facts, and the wide-ranging

time period that Plaintiffs seek to put at issue, determining whether ECFMG breached a duty that

it owed to Plaintiffs would not necessarily answer whether ECFMG breached a duty that it owed

to other class members who were treated at different times or under different circumstances. See

infra Part II.A. And there is no manageable way to further limit or divide the proposed issue class

so that it might generate a preclusive determination as to the entire class. See infra Part II.B.2. The

inability of an issue class trial to have preclusive effect (Gates factor 6) in each class member’s

subsequent individual proceeding weighs heavily against issue certification.



1
  The Third Circuit assumed without deciding that Pennsylvania law governed Plaintiffs’ claims
for purposes of class certification. Russell, 15 F.4th at 273 n.5. As explained below, choice-of-law
issues are individualized questions weighing against issue certification.
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        B.      Issue certification will neither preserve the parties’ procedural and
                substantive rights and responsibilities, nor respect the constitutional and
                statutory rights of the parties.

        The risk of undue settlement pressure arising from the prospect of an issue class

undermines the effectiveness and fairness of resolution of remaining issues (Gates factor 7) and

weighs heavily against issue certification. As the Third Circuit recognized, ECFMG has strong

defenses, including the absence of any duty, the limitations on claims of negligent infliction of

emotional distress, class members’ consent to treatment by Dr. Akoda, and a very strong causation

defense in light of the fact that “[m]any other actors played a role in Igberase’s fraud, including

the residency programs that admitted and trained him, the state medical boards that licensed him,

the hospitals that gave him privileges, the specialty board that certified him, and the law

enforcement officers (state and federal) who investigated him.” Russell, 15 F.4th at 272.

        Issue class certification risks unfairly pressuring ECFMG to settle rather than having its

arguments heard on the merits in court: “If an issue-class jury finds that [ECFMG] owed Plaintiffs

a legal duty that it subsequently breached, [ECFMG] may face undue pressure to settle, even if

[its] breach did not cause Plaintiffs’ harm.” Id. That risk of undue settlement pressure could be

avoided if class members’ claims were to proceed as individual cases. Individual proceedings

would allow the parties to be heard in court and on appeal, without ECFMG facing the coercive

threat that a certified class presents.

        The impact individual proceedings may have on one another (Gates factor 8) similarly

weighs against issue certification. Even if Plaintiffs prevail in an issue class proceeding, there

would be some resort to multiple trials on the individual questions remaining for resolution. From

those trials, Plaintiffs contend that a consensus would emerge that would allow the parties to

evaluate the merits vel non of each class member’s claims. See ECF 47 at 11 (“Trying a limited

number of these claims would help the parties to more accurately value the case.”). There is no
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reason why the elements of duty and breach could not similarly be included in a limited number

of bellwether cases “to help the parties more accurately value the case.” In light of the complexities

and uncertainties of attempting to try abstract elements of Plaintiffs’ claims on a class-wide basis

separate from other elements, the most effective and fair way to resolve the case would be through

individual proceedings resolving all the elements of each class member’s claims.

       There are also methods short of issue class certification that would allow individual

proceedings to facilitate the efficient resolution of these controversies. The parties could, for

example, coordinate discovery across individual proceedings to minimize the burden on parties.

       Finally, a careful choice-of-law analysis (Gates factor 4) should be conducted for each

class member, and that weighs against issue class certification. The Third Circuit recognized

choice of law as a “close question” in this case that should be reassessed “if the question of which

state’s law applies becomes relevant in future proceedings.” Russell, 15 F.4th at 273 n.5. Plaintiffs

seek to certify a class comprising patients examined or treated in at least Maryland, Virginia, and

the District of Columbia, but they still have not carried their burden to conduct an “extensive

analysis” of variations in those state’s laws. In re Sch. Asbestos Litig., 789 F.2d 996, 1010 (3d Cir.

1986). Even seemingly minor variations in each state’s law have the potential to create a true

conflict because each jurisdiction has adopted carefully crafted standards to guard against fictitious

or fraudulent claims for emotional distress. See Toney v. Chester Cty. Hosp., 36 A.3d 83, 91 (Pa.

2011) (stating the need for “standards to determine the veracity of the emotional distress and to

limit the potential number of plaintiffs”); Bowman v. Williams, 165 A. 182, 184 (Md. 1933) (noting

that because fright is “easily simulated and feigned” and “difficult to ascertain,” it “tend[s] to

multiply fictitious or speculative claims, and to open to unscrupulous litigants a wide field for

exploitation”).



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       If Pennsylvania substantive law applied to an out-of-state plaintiff’s claims arising from

out-of-state medical treatment, difficult constitutional questions would arise under the Commerce

Clause because Pennsylvania has no authority to impose liability that has “the practical effect” of

“control[ling] conduct beyond the boundaries of the State.” Healy v. Beer Inst., Inc., 491 U.S. 324,

336 (1989). Whether Pennsylvania law ultimately applies to Plaintiffs’ claims or not, the need for

individualized determinations on choice-of-law issues with important constitutional implications

weighs against issue class certification.

       C.      This case is indistinguishable from Gates and merits the same result.

       This case is indistinguishable from Gates. The Gates plaintiffs sought certification of

generalized, abstract questions, while leaving the bulk of the claims for later, individual

proceedings. See Gates, 655 F.3d at 272 (explaining that “causation and extent of contamination,”

“the fact of damages,” and “the amount of damages” would need to be determined in follow-up

proceedings). In light of the “numerous individual issues that would remain,” resolution of the

common issues was “unlikely to substantially aid resolution of the substantial issues on liability

and causation,” so certification under Rule 23(c)(4) was improper. Id. at 272, 274.

       Here, as in Gates, resolution of the proposed class-wide issues would still leave causation,

the fact of damages, and the amount of damages (and numerous other issues) to be determined in

follow-up proceedings. Accordingly, the same result is warranted.

II.    Plaintiffs Have Not Demonstrate That an Issue Class Satisfies Rule 23(b)(3).

       “A party seeking to certify ‘particular issues’ for class treatment” must show “that those

issues are ‘maintainable under Rule 23(b)(1), (2), or (3).’” Russell, 15 F.4th at 266–67. Rule

23(b)(3) provides that class certification is appropriate only if “the court finds [(1)] that the

questions of law or fact common to class members predominate over any questions affecting only

individual members, and [(2)] that a class action is superior to other available methods for fairly
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and efficiently adjudicating the controversy.” The application of Rule 23(b)(3) in the context of a

request to certify an issue class is “informed by general class-action doctrine.” Russell, 15 F.4th at

270.

       As explained below and in ECFMG’s prior briefing, Plaintiffs have not carried their burden

on Rule 23(b)(3) as to the duty or breach elements of their claims.

       A.      The duty and breach elements of Plaintiffs’ claims do not satisfy
               predominance.

       Rule 23(b)(3)’s “predominance criterion is far more demanding” than Rule 23(a)’s

commonality requirement. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 624 (1997). “Because

the nature of the evidence that will suffice to resolve a question determines whether the question

is common or individual, a district court must formulate some prediction as to how specific issues

will play out in order to determine whether common or individual issues predominate in a given

case.” In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 311 (3d Cir. 2008) (internal

quotation marks and citations omitted).

       As detailed in its accompanying motion for summary judgment, the correct understanding

of the law is that no duty was owed by ECFMG to any patient of Dr. Akoda’s, and the claims for

negligent infliction of emotional distress are infirm as a matter of law. But to the extent that the

claim is even theoretically viable, in light of the Third Circuit’s guidance, it is possible that a duty

could be owed or breached as to some class members but not as to others, depending on each class

members’ individual circumstances and harm suffered. As a result, the issues of duty and breach

do not satisfy predominance and class certification should be denied.

       Whether ECFMG owed any putative class member a relevant legal duty requires

“weigh[ing] several factors, including ‘the foreseeability of the harm incurred.’” Russell, 15 F.4th




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at 272 (quoting Althaus, 756 A.2d at 1169). That is not a uniform inquiry that would necessarily

produce the same outcome for every patient treated by Dr. Akoda over the proposed class period.

       Over the course of Dr. Akoda’s career, a host of independent third parties—including

JSMC, Howard, the Maryland Board of Physicians, the Virginia Board of Medicine, PGHC, Dr.

Chaudry, and Dr. Moore—facilitated his practice of medicine. They did so after evaluating Dr.

Akoda under a wide variety of criteria and considering an array of information far broader than

ECFMG Certification. As Dr. Akoda’s career progressed, more and more third parties evaluated

him and concluded that it was appropriate for him to continue treating patients. Unlike ECFMG,

many of those third parties were positioned (if not obligated) to monitor Dr. Akoda’s medical

decisions and day-to-day interactions with patients. With each additional third party’s evaluation

of Dr. Akoda, it became less and less foreseeable that a patient would come to believe that he

should not have been permitted to practice medicine or that treatment by Dr. Akoda would result

in emotional distress. The relevant duty inquiry thus varies among class members depending on

when they were treated. Answering the general question “whether ECFMG undertook or otherwise

owed a duty” to Plaintiffs—an inquiry necessarily rooted in the circumstances that existed at the

time Plaintiffs were treated—will not necessarily answer the question as to class members treated

under other circumstances or at other times.

       Similarly, the issue of breach does not satisfy predominance. The Third Circuit identified

various questions relevant to the breach inquiry, including “How much investigating did [ECFMG]

do? Did it know or should it have known that Igberase was a fraud? Did it take enough steps to

investigate him based on warnings received from various parties, including [JSMC]? Should it

have followed up in later years once Igberase was admitted to another residency program?”

Russell, 15 F.4th at 273. The answer to the breach question is not common across the class period.



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It may vary from class member to class member depending on when the class member was treated

and the nature of the alleged breach.

       A jury may find, for example, that ECFMG did not breach a duty to patients like Ms.

Russell and Ms. Evans who were treated after 2014 because it was reasonable for ECFMG to heed

requests from law enforcement officials in 2014 not to take action that might jeopardize their

investigation of Dr. Akoda. But that finding would not answer the question whether ECFMG took

“enough steps to investigate” Dr. Akoda before he treated Ms. Riggins in 2012 or an absent class

member in 2007. An issue-class proceeding on the question of duty would not “generate common

answers apt to drive the resolution of the litigation,” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.

338, 350 (2011) (emphasis in original), so common questions do not predominate, and class

certification should be denied.

       This Court has already recognized that factual variations that would lead class members to

make different arguments on the merits may preclude class certification. It denied certification as

to patients treated by Dr. Akoda before he enrolled in the Howard residency program for lack of

typicality because “[t]hose patients can assert negligence claims based on ECFMG’s initial

certification of Akoda, but they cannot assert claims based on ECFMG’s subsequent investigation

because ECFMG did not conduct the investigation until after Igberase had treated those

patients.” ECF 57 at 19 (emphasis added). Even with a narrowed issue class, the same problem

persists. Factual variations require class members to make different arguments on the issues of

duty and breach. That means uncommon issues outnumber common issues and predominance is

lacking.

       Plaintiffs’ sole argument in favor of predominance is that ECFMG engaged in a single

course of conduct that is capable of proof through common evidence. ECF 32-1 at 21. But this

framing ignores that the issues of duty and breach are only “common” if they are “capable of
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classwide resolution” and can be resolved “in one stroke.” Wal-Mart Stores, Inc., 564 U.S. at 350.

That is not the case here because there are a litany of factual variations among class members that

may bear materially on whether ECFMG owed a duty to any given class member. Because the

issues proposed for certification “require[] individual treatment,” predominance is not satisfied

and “class certification is unsuitable.” In re Hydrogen Peroxide Antitrust Litig., 552 F.3d at 311

(quoting Newton v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 172 (3d Cir. 2001)).

       B.      The duty and breach elements of Plaintiffs’ claims do not satisfy superiority.

       “Superiority” requires the Court to address “the difficulties likely to be encountered in the

management of a class action.” Johnston v. HBO Film Mgmt., Inc., 265 F.3d 178, 185 (3d Cir.

2001); see Fed. R. Civ. P. 23(b)(3)(D) (“The matters pertinent to these findings include … the

likely difficulties in managing a class action.”). It is not enough that a class action be one of many

available methods for resolving the case. It “must represent the best ‘available method[] for the

fair and efficient adjudication of the controversy.’” Id. As explained below and in ECFMG’s prior

briefing, issue class certification in this case would not be efficient, manageable, or fair.

               1.      Certifying the duty and breach elements of Plaintiffs’ claims is not the
                       best available method for efficient adjudication of the controversy.

       An issue class is not an efficient method for adjudicating the controversy. As discussed,

the Third Circuit recognized that an issue class proceeding would not eliminate the need for

hundreds of individualized proceedings that would deal with a variety of complicated issues,

including “whether each Plaintiff was injured; whether [ECFMG]’s breach of the relevant duty (if

it had a duty that was breached) actually and proximately caused those injuries; whether those

injuries are due a particular amount of damages; and whether [ECFMG] could raise any affirmative

defense, including, presumably, whether each Plaintiff’s consent to medical treatment by Igberase

breaks the causal chain.” Russell, 15 F.4th at 265.

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       Moreover, the same evidence would be presented in both an issue class proceeding and

individual proceedings. “[T]he issue-class jury, like each individual jury, may need to consider

evidence regarding the harm [ECFMG] allegedly caused. And each individual jury, like the issue-

class jury, may need to consider evidence regarding [ECFMG]’s overall conduct, which likely will

include the nature of the legal duty it owed Plaintiffs (if any) and the extent to which it breached

that duty.” Id. at 272. The overlap in issues to be decided by an issue class jury and an individual

jury gives rise to Seventh Amendment problems, see supra, that could be avoided entirely through

the use of individual proceedings. Individual proceedings offer a far more efficient approach.

               2.      Certifying the duty and breach elements of Plaintiffs’ claims would
                       present insurmountable manageability problems.

       Plaintiffs contend that Rule 23(b)(3)’s superiority requirement is satisfied because an issue

class trial would result in “a quasi-declaratory ruling on a subset of common issues,” 15 F.4th at

275, and that any such ruling can be applied to the claims of each class member during subsequent

individualized proceedings, thereby obviating the need to retry those issues to subsequent juries.

See ECF 32-1 at 21–22. But Plaintiffs have not shown how a general determination that ECFMG

breached some duty to Plaintiffs at some point over the lengthy proposed class period, without

more, would actually resolve the questions of duty and breach for each absent class member. See

supra. Answering “whether [ECFMG] owed a relevant legal duty to the Plaintiffs that it

subsequently breached” would not actually answer whether ECFMG owed a relevant legal duty to

each class member that it subsequently breached. Russell, 15 F.4th at 273. In reality, what matters

is whether ECFMG breached a duty owed to a specific class member such that the breach may be

the legal and proximate cause of that class member’s alleged emotional distress. It is clearly

superior to have individual juries decide individually whether ECFMG’s conduct breached a duty

to each class member such that ECFMG may be liable to that class member.

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       This is not a case where a single course of conduct gives rise to a single inquiry regarding

duty and breach as to all class members. In cases like that, all class members may be similarly

situated with respect to not only to breach and duty but also to causation. See, e.g., Sala v. Nat’l

R.R. Passenger Corp., 120 F.R.D. 494, 500 (E.D. Pa. 1988) (certifying a class of injured victims

of a particular train crash). The legal theories at issue would assert violations of law occurring at

materially indistinguishable times. Here, by contrast, Plaintiffs have not shown that each Plaintiff

and class member asserts claims under legal theories for which duty and breach could be

determined on a class-wide basis. See Fed. R. Civ. P. 23(b)(3), advisory committee’s notes (“A

‘mass accident’ resulting in injuries to numerous persons is ordinarily not appropriate for a class

action because of the likelihood that significant questions, not only of damages but of liability and

defenses of liability, would be present, affecting the individuals in different ways.”). As a result,

common issues do not predominate, see supra, and issue certification is not a superior method for

resolving the controversy.

       Plaintiffs have suggested that the Court can solve for superiority (and predominance) by

dividing the issue class into subclasses based on when or where each class member was treated or

the possible relationships from which a duty might arise. That would be unworkable. It would

leave certain subclasses, like the subclass of individuals treated at Howard, without a class

representative, because none of the Plaintiffs were treated at Howard. The Court could not certify

a subclass without a subclass representative. See Fed. R. Civ. P. 23(c)(5) (requiring that Rule

23(a)’s requirements—including the requirement of an adequate class representative—be satisfied

as to any subclass). Moreover, each class member is differently situated based on the time and

context in which she was treated by Dr. Akoda. That makes it impossible to carve out meaningful

or principled subclasses, leading to myriad tiny subclasses or unworkable overbroad ones.



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        Plaintiffs may propose to present the issue class jury with a series of special interrogatories

so it can address each and every act or omission about which there is evidence to identify the

precise moment when (if ever) ECFMG breached a duty. But with Plaintiffs arguing multiple

sources of duties and multiple ways in which ECFMG supposedly breached those duties,

individual questions would overwhelm even the most well-intentioned jury trying to apply the law

to decades of conduct involving numerous parties. And even if a special verdict sheet might

theoretically be possible, it is Plaintiffs’ burden to articulate how that can be accomplished. This

Court cannot find that an issue class trial involving facts this complicated and legal theories this

hazy would be manageable unless Plaintiffs come forward with a workable and detailed trial plan.

Despite numerous opportunities, they have not.

        Further, choice-of-law issues render class treatment unmanageable. “[I]n a multi-state class

action, variations in state law may swamp any common issues and defeat predominance.” Sullivan

v. DB Invs., Inc., 667 F.3d 273, 304 n.28 (3d Cir. 2011) (en banc) (internal quotation marks and

citations omitted). Plaintiffs bear the burden of conducting an “extensive analysis” of state law

variations. In re Sch. Asbestos Litig., 789 F.2d at 1010. For the reasons described in ECFMG’s

motion for summary judgment, the choice-of-law analysis may result in the application of varying

states’ laws to various elements of Plaintiffs’ claims, and Plaintiffs have not carried their burden

on the manageability of determining which state’s law applies or applying the law of multiple

jurisdictions.

        The manageability problems are underscored by the Third Circuit’s confusion regarding

which issues would be resolved by the Court and which by a jury. At some points in its opinion,

the Third Circuit explained that an issue class jury may “find[] that [ECFMG] owed Plaintiffs a

legal duty that it subsequently breached[.]” Russell, 15 F.4th at 272; see also id. (“[T]o determine

whether [ECFMG] owed the Plaintiffs a relevant legal duty, the class jury will have to weigh
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several factors[.]” (emphasis added)). At other points, the Third Circuit described duty as “an issue

of law” and that this Court may “find[] that [ECFMG] owed a relevant legal duty to the Plaintiffs

that it subsequently breached[.]” Id. The absence of a trial plan regarding which issues would be

decided how—and by whom—means that Plaintiffs have not carried their burden to prove that the

issue class they propose is manageable.

                3.      Certifying the duty and breach elements of Plaintiffs’ claims would
                        present insurmountable fairness problems.

        An issue class on the elements of duty and breach is not superior because it would be unfair

to ECFMG and to class members.

        Emotional distress liability and damages issues are “too interwoven to allow a fair

determination of damages apart from liability” because “emotional distress damages must be

evaluated in light of all the circumstances surrounding the alleged misconduct.” See Spence, 806

F.2d at 1202; see ECF 39 at 18–20. The Third Circuit reaffirmed this principle on appeal. Russell,

15 F.4th at 272 (“[T]o determine and measure emotional damages, each individual jury will have

to assess the degree of [ECFMG’s] negligence as to each Plaintiff.” (citing Spence, 806 F.2d at

1202)). Individual proceedings would not implicate this fairness problem.

        Issue certification is unfair to ECFMG also because it creates substantial undue settlement

pressure. “When enormous consequences turn on the correct resolution of a complex factual

question, the risk of error in having it decided once and for all by one trier of fact rather than letting

a consensus emerge from several trials may be undue.” Mejdrech v. Met-Coil Sys. Corp., 319 F.3d

910, 912 (7th Cir. 2003). This case presents complex factual questions. See Russell, 15 F.4th at

272 (“Many other actors played a role in Igberase’s fraud[.]”). And the risk of error in having the

questions of duty and breach decided by a single trier of fact presents incredibly high stakes. IMGs

represent 25% of all licensed doctors in the United States. American Medical Association, How

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IMGs have changed the face of American medicine (Oct. 19, 2021), https://www.ama-

assn.org/education/international-medical-education/how-imgs-have-changed-face-american-

medicine. ECFMG is confident that it owes no duty to members of the general public who may

one day be treated by an IMG, but when “[f]aced with even the small threat of a devastating loss,”

any defendant may be pressured to settle questionable claims rather than litigate them. AT&T

Mobility LLC v. Concepcion, 563 U.S. 333, 350 (2011). A better approach would be to have the

issues resolved individually—reflecting each permutation of possible factual scenarios—so that a

consensus might emerge, without ECFMG facing “undue pressure to settle, even if [its] breach did

not cause Plaintiffs’ harm.” Russell, 15 F.4th at 272.

       An issue class trial as to whether ECFMG breached a duty to Plaintiffs would also risk

prejudicing ECFMG by allowing irrelevant evidence to be submitted to the jury. Under Plaintiffs’

theory, what matters is what ECFMG did before a class member was treated by Dr. Akoda. In an

individual proceeding, a class member who was treated by Dr. Akoda in 2007 would not present

evidence about what ECFMG did or did not do in 2008 or later. But in the proposed issue class

trial, Plaintiffs would presumably present evidence irrelevant to that class member about what

ECFMG did or did not do at least through 2016. That problem would not arise in an individual

proceeding.

       Issue class certification would be unfair also to class members because it would undermine

each class member’s significant interest in controlling her own litigation. See Fed. R. Civ. P.

23(b)(3)(A). Personal injury claims—especially ones seeking relief for alleged emotional

distress—give each class member a sufficient stake in pursuing their claims, and it would be unfair

to have them tried on a class-wide basis. See ECF 39 at 18–20.

       Finally, individual proceedings are superior to issue class proceedings because they would

avoid the possibility of class notice inflicting injuries on class members. If Plaintiffs were correct
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that emotional distress is a class member’s typical reaction to learning of Dr. Akoda’s guilty plea,

then certification of the class could cause class members who are presently unaware of Dr. Akoda’s

guilty plea to suffer emotional distress that they have not yet suffered. By sending notice of the

class action (and guilty plea) to class members, under Plaintiffs’ own theory, Plaintiffs could cause

them to suffer emotional distress that they would not suffer but for Plaintiffs’ use of the class action

device. Even the mere possibility that the class action vehicle could injure class members weighs

against a finding of superiority. The concern would be avoided if the case proceeded as individual

proceedings brought by any class members who believe they have suffered emotional distress

attributable to an alleged breach of duty by ECFMG.

                                          CONCLUSION

        The Third Circuit’s decision articulates an array of reasons why an issue class should not

be certified. Even if an issue class is certified and Plaintiffs prevail on a class-wide basis, there

remains the need for hundreds of individualized hearings on complicated issues. Those

individualized hearings would also require the same evidence that would be presented to the issue

class jury, further undermining any purported claims of efficiency and actually giving rise to

serious Seventh Amendment concerns. Even if Plaintiffs prevail in an issue class proceeding,

Plaintiffs do not intend to try hundreds of individualized proceedings; they envision bellwether

trials on the non-certified issues. They offer no explanation for why similar bellwether trials could

not be held on the questions of duty and breach for purposes of resolving this case without resort

to a complicated—and unprecedented—use of the class action device.

        These considerations preclude class certification under Rule 23(c)(4) and Rule 23(b)(3).

For the reasons set forth above and in ECFMG’s prior briefing, the Court should deny class

certification.



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Dated: December 10, 2021             /s/ Brian W. Shaffer
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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: December 10, 2021                             /s/ Brian W. Shaffer
                                                     Brian W. Shaffer




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                               Civil Action No. 18-5629
                 Plaintiffs,
                                               Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                 Defendant.



                                 [PROPOSED] ORDER

       AND NOW, this __ day of ________ 2022, upon consideration of Defendant Educational

Commission for Foreign Medical Graduates’ Supplemental Brief in Opposition to Class

Certification and any response thereto, IT IS HEREBY ORDERED that Plaintiffs’ Motion for

Class Certification is DENIED.




                                               BY THE COURT:


                                               _______________________________
                                                                 Wolson, J.




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                 Civil Action No. 18-5629
                 Plaintiffs,
                                                 Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                 Defendant.


               DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       For the reasons set forth in the attached memorandum of law, Defendant Educational

Commission for Foreign Medical Graduates, by and through its undersigned counsel, moves for

summary judgment pursuant to Federal Rule of Civil Procedure 56.


 Dated: December 10, 2021                      Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: December 10, 2021                      /s/ Brian W. Shaffer
                                              Brian W. Shaffer




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                         Civil Action No. 18-5629
               Plaintiffs,
                                         Honorable Joshua D. Wolson
     v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

               Defendant.



     DEFENDANT EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
        GRADUATES’ MEMORANDUM OF LAW IN SUPPORT OF ITS
                 MOTION FOR SUMMARY JUDGMENT


                REDACTED FOR PUBLIC FILING


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                                        INTRODUCTION

       This case is an unprecedented attempt to hold liable Defendant Educational Commission

for Foreign Medical Graduates (“ECFMG”) in negligence for emotional distress allegedly suffered

by Plaintiffs from learning information, years after they were treated, about their former doctor’s

misuse of his name and Social Security number. Having previously (and unsuccessfully) pursued

claims against the hospital where they were treated, Plaintiffs changed course and sued ECFMG, a

private non-profit organization that serves an important, but strictly circumscribed, role in

credentialing graduates of foreign medical schools.

       Plaintiffs’ claims against ECFMG run afoul of bedrock legal principles, including the limits

of duty and foreseeability made famous in Palsgraf v. Long Island Railroad nearly a century ago,

the limits of but-for and proximate causation, the remoteness doctrine, and the rational limits of tort

law. Discovery is complete, and the undisputed facts entitle ECFMG to judgement as a matter of

law on a number of grounds.

       Plaintiffs have not proven that this case presents any of the limited circumstances under

which recovery for emotional distress may be had. There is no evidence of emotional distress

triggered by actual or impending physical impact or from witnessing injuries to a close relative, and

ECFMG had absolutely no relationship with Plaintiffs, let alone the kind of legally cognizable

“special relationship” that could possibly render it liable to them.

       Nor did ECFMG owe even a general legal duty to Plaintiffs. At all relevant times, ECFMG

played a limited role in the medical field; ECFMG Certification verified only that individuals

seeking to enter post-graduate medical education in the United States completed certain exams and

presented a medical school diploma primary-source verified as authentic by the issuing medical

school. That’s it. ECFMG Certification status information was available only to entities within the

medical community—potential employers and licensors, not members of the general public—to use
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as part of their robust independent processes for vetting and overseeing applicants. The remote

possibility that an individual’s receipt of ECFMG Certification would actually result in any

particular patient, such as any of the four Plaintiffs, being treated—let alone suffering emotional

distress years after treatment upon learning information about the individual’s name or Social

Security number—is not foreseeable as a matter of law. Under the laws of either Pennsylvania or

Maryland, this does not warrant imposing a duty on ECFMG for the benefit of Plaintiffs.

       Plaintiffs’ claims also run head-on into a number of other insurmountable legal obstacles

barring recovery. Their claims fail because they received precisely what they consented to: medical

treatment by a licensed and Board-certified physician. Dr. Akoda’s alleged misrepresentations did

not vitiate that consent. There is no evidence that any breach by ECFMG of a legally cognizable

duty caused the alleged emotional distress. The lengthy causal chain separating ECFMG from Dr.

Akoda’s treatment of Plaintiffs—including negligence of intervening third parties (undisputed by

Plaintiffs)—defeats proximate causation. And Plaintiffs can only speculate that any specific act that

ECFMG was allegedly required by law to take would have avoided harm to Plaintiffs, particularly

since Plaintiffs’ harm is largely premised on their mistaken beliefs about Dr. Akoda’s licensure and

training, and ECFMG’s role in the medical field.

       Plaintiffs aver emotional distress unaccompanied by physical harm. As a result, they do not

satisfy an essential prerequisite for recovery. And the claims of Plaintiffs Evans and Powell are

time-barred. They claim Dr. Akoda’s treatment was injurious, so the limitations period began to

run at the time of treatment. But they did not file suit until after the limitations period expired.

       ECFMG’s motion for summary judgment should be granted.

                                    STATEMENT OF FACTS

I.     ECFMG’s Certification and Irregular Behavior Processes

       ECFMG is a private non-profit organization that promotes quality health care for the public
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by, among other things, certifying eligible international medical graduates (“IMGs”) of foreign

medical schools who have met certain minimum requirements as ready to enter U.S. graduate

medical education (usually residency programs). Def.’s Stmt. of Undisputed Material Facts ¶ 1

(hereinafter “¶ _”). At all relevant times, those requirements included (i) passing grades on an

English exam and two substantive exams, and (ii) a primary-source verified medical school

diploma. ¶ 3. To primary-source verify a diploma, ECFMG would send a copy directly to the

issuing medical school, which would confirm for ECFMG whether the diploma was authentic. ¶ 3.

       For various reasons, IMGs and others sometimes try to subvert ECFMG’s requirements.

ECFMG calls that “irregular behavior” and has a process for evaluating suspected irregular

behavior. ¶ 20. That process is intended to ensure the integrity of ECFMG’s programs and services

while affording due process to the accused.1 When ECFMG suspects that an individual may have

engaged in irregular behavior, ECFMG staff investigates by, inter alia, communicating with the

source of the suspicion and with the accused. ¶ 21. ECFMG is not a government, law enforcement,

or investigative agency, but it uses the tools at its disposal to determine whether a suspicion of

irregular behavior is well founded. ¶ 25. If ECFMG staff determines that there is sufficient

evidence that an individual has engaged in irregular behavior, the matter is referred to ECFMG’s

Medical Education Credentials Committee (“MECC”), a sub-committee of ECFMG’s Board of

Trustees, for a formal determination on the merits. ¶ 24. Mere suspicions of irregular behavior are

not made public or reported to third parties to avoid damage to the suspect individual’s career and

reputation based on unsubstantiated allegations. ¶ 23. If the MECC finds that an IMG engaged in

irregular behavior, ECFMG annotates the individual’s record and can, inter alia, limit the




1
 ECFMG has been sued (unsuccessfully) by those alleging that it deprived them of due process.
See Tulp v. Educ. Comm'n for Foreign Med. Graduates, 824 F. App’x 134, 135 (3d Cir. 2020).
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individual’s participation in ECFMG programs or withhold or revoke ECFMG Certification. ¶ 24.

II.    The Medical Field Uses ECFMG Certification For Limited Purposes.

       ECFMG Certification status information is made available only to certain third parties in

the medical field, such as residency programs, hospitals, licensing boards, and employers. ¶ 5. It

is not made available to patients. ¶ 6. At all relevant times, ECFMG Certification status reports

communicated the IMG’s name, date of birth, medical school name and country, graduation year,

certification status, and certain examination scores (depending on the recipient). ¶ 7.

       Recipients of ECFMG Certification status reports used them for limited purposes in their

own processes. The reports are by no means the only information the recipients use when

evaluating IMGs. ¶ 10. The reports do (and are not expected to) verify, among other things, an

IMG’s identity, Social Security number, immigration status, passport information, criminal

background, readiness to treat patients, ethics, honesty, morality, or character. ¶ 8.

III.   John Nosa Akoda and His Aliases

       Plaintiffs are former patients of an obstetrician/gynecologist (“OB/GYN”) who got his

ECFMG Certificate (No. 0-553-258-5) in 1996 under the name John Nosa Akoda based on his

passing of an English exam and Steps 1 and 2 of the USMLE, and the primary source verification

of a medical school diploma by the University of Benin. ¶¶ 44–52. ECFMG and Plaintiffs came to

later learn that doctor committed Social Security fraud and went by several different names. ¶ 100.

       In 1992, the doctor applied to ECFMG using the name Oluwafemi Charles Igberase and

presenting ECFMG with a medical school diploma that was primary source verified by the

University of Ibadan. ¶¶ 26–28. He ultimately got an ECFMG Certificate (No. 482-700-2) but did

not gain admission to a residency program. ¶¶ 33–34. In 1994, he applied again for ECFMG

Certification, this time using the name Igberase Oluwafemi Charles and misrepresenting that he

had never applied to ECFMG before. ¶¶ 35–36. Using that name, he got a new ECFMG Certificate
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(No. 0-519-573-0). ¶ 37. Soon thereafter, ECFMG staff determined that there was sufficient

evidence the doctor had engaged in irregular behavior by misrepresenting his application history

with ECFMG and promptly referred the matter to the MECC. ¶¶ 39–42. Following irregular

behavior proceedings, the MECC found that he had engaged in irregular behavior and

(1) invalidated the ECFMG Certificate issued to Oluwafemi Igberase Charles; and (2) revoked the

ECFMG Certificate issued to Oluwafemi Charles Igberase. ¶ 42. ECFMG later barred the doctor

from applying after he submitted additional applications using variations of the names Oluwafemi,

Charles, and Igberase, each of which ECFMG identified and refused to process. ¶ 43.

       When the doctor applied in 1996, he misrepresented his ECFMG application history and

made no reference to the Igberase or Charles applications. ¶¶ 44, 48. After getting his ECFMG

Certificate as Dr. Akoda—but before treating Plaintiffs—a number of other third parties evaluated,

hired, credentialed and/or licensed Dr. Akoda and allowed him to practice medicine.

       A.      Residency Programs, Including Jersey Shore Medical Center and Howard
               University Hospital

       Plaintiffs were not treated by Dr. Akoda while he was enrolled in a residency program.

¶¶ 74, 103, 134, 164, 188. But his admission to and successful completion of a residency program

enabled him to continue practicing medicine and eventually treat Plaintiffs.

       When considering a residency applicant, residency programs consider things beyond

ECFMG Certification status, including (1) in-person interviews; (2) information provided directly

by the IMG; (3) letters of recommendation; (4) skills assessments or additional examinations; (5)

reports from prior educational or training programs; (6) medical school transcripts; (7) information

obtained as part of a background check; and (8) ongoing performance monitoring. ¶ 10. There is

no evidence that any residency programs evaluated, admitted, or approved of Dr. Akoda based

solely (or even primarily) on his ECFMG Certification status.

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       Dr. Akoda initially gained admission to the residency program at Jersey Shore Medical

Center (“JSMC”) in 1998. ¶ 56. In 1999, JSMC came to suspect that Dr. Akoda had participated

in two other U.S. residency programs under the name Oluwafemi Charles Igberase. ¶ 57. When

JSMC tried to verify the Social Security number that Dr. Akoda provided directly to JSMC in his

residency paperwork, JSMC concluded that it belonged to Charles Igberase. ¶ 58. JSMC ultimately

discharged Dr. Akoda in 2000 because of perceived discrepancies involving his Social Security

number and green card (the latter of which was not part of his ECFMG application). ¶ 67. JSMC

stated that it would notify the Maryland Board of Physicians about those discrepancies. ¶ 68.

       JSMC shared only limited information about and from its investigation with ECFMG, and

ECFMG conducted its own investigation to determine if Dr. Akoda and Dr. Igberase were the

same person. ¶¶ 59–60. Through its investigation, ECFMG discovered that some of the

information JSMC gave ECFMG was inaccurate, ¶ 61, and Dr. Akoda provided ECFMG further

explanations and supporting hard-copy documentation in person to show that he and Dr. Igberase

were not the same person. ¶¶ 64–65. Despite some suspicions at the time—which were put in a

memo separate from Dr. Akoda’s file—ECFMG staff thought there was insufficient evidence to

bring Dr. Akoda before the MECC on charges of irregular behavior. ¶¶ 66, 70. While ECFMG

continued to investigate Dr. Akoda, it took no adverse action against him at that point because

ECFMG staff concluded there was insufficient evidence of irregular behavior. ¶ 69.

       Years later, in 2007, Dr. Akoda participated in the residency program at Howard University

Hospital (“Howard”). ¶ 74. In connection with that program, Dr. Akoda provided Howard a false

permanent resident card in the name “N. Akoda, John Charles.” ¶ 73. Dr. Akoda successfully

completed his residency at Howard in 2011. ¶ 74.

       B.      Maryland Board of Physicians and Virginia Board of Medicine

       In 2011, Dr. Akoda was licensed by the Maryland Board of Physicians and the Virginia
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Board of Medicine. ¶¶ 75–76. Those authorities usually evaluate applicants on a range of

information, including, inter alia, evidence of good moral character and completion of at least two

years of an accredited residency program. ¶¶ 10, 12–13. There is no evidence that either authority

evaluated or approved of Dr. Akoda based solely (or even primarily) on his ECFMG Certification

status. Rather, the ECFMG Status Report regarding Dr. Akoda received by the Maryland Board of

Physicians in 2011 was intended only to indicate that Dr. Akoda was “certified by ECFMG” and

that ECFMG “verified medical school credentials directly with the medical schools[.]” ¶ 79.

       Dr. Akoda’s application for licensure in Maryland required that if his name was “not

written the same way on all documents,” he had to “submit documentation to explain how and why

[his] name differs and submit one of the following documents to support the name change:

Passport, INS card, birth certificate, court document, marriage license, court decree.” ¶ 78. Dr.

Akoda’s name appeared differently on his licensure application (“John Charles Nosa Akoda” and

“Charles John Nosa Akoda”), ECFMG Certificate (“John Nosa Akoda”), medical school diploma

(“Johnbull Enosakhare Akoda”), and residency program certificate of completion (“John-Charles

Nosa Akoda”). ¶ 80. There is no evidence that Dr. Akoda provided documentation to explain the

discrepancies to the Maryland Board of Physicians as required, and he later admitted to providing

a false permanent resident card and a false Maryland driver’s license in connection with his

application for licensure in Maryland. ¶ 81. His application for medical licensure in Maryland also

omitted his residency at JSMC. ¶ 77.

       As early as 2014, the Maryland Board of Physicians was aware of the allegations that Dr.

Akoda had used other names and may have misrepresented his identity. ¶ 82. It nonetheless did

not revoke Dr. Akoda’s medical license until 2017, after Dr. Akoda pleaded guilty to Social

Security fraud in 2016. ¶¶ 83–84. Even then, it did so on the basis that Dr. Akoda’s Social Security

fraud conviction was for a so-called “crime of moral turpitude,” not that he had used other names
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or was not properly trained or credentialed. ¶ 84.

       C.      Prince George’s Hospital Center, Dr. Abdul Chaudry, and Dr. Javaka Moore

       After successful completion of his Howard residency, Dr. Akoda obtained privileges at

Prince George’s Hospital Center (“PGHC”) and worked with medical practices run by Drs. Abdul

Chaudry and Javaka Moore. ¶¶ 87, 90. Each, although aware of Dr. Akoda’s ECFMG Certificate,

would have used its own processes to evaluate Dr. Akoda’s training and credentials. ¶¶ 10, 15.

Hospitals have their own procedures for credentialing physicians, generally including an interview,

personal references with contact information, a current photograph, certificates of completion from

all residencies and fellowships, letter of recommendation from program directors, Social Security

number, valid passport or birth certificate, malpractice insurance history, licenses, a two-year case

log, fingerprinting for a federal background check, and a urine drug screen. ¶ 10. IMGs are subject

to normal employment processes and ongoing evaluation. ¶ 16.

       Dr. Akoda treated each Plaintiff at PGHC. ¶¶ 103, 136, 164, 188. Dr. Akoda got privileges

at PGHC by, among other things, submitting a false permanent residence card and a false Maryland

driver’s license. ¶ 81. Plaintiffs contend that PGHC failed to perform an appropriate and proper

investigation and background check of Dr. Akoda before granting him privileges. ¶ 88. Had PGHC

“use[d] require and reasonable care to investigate, credential, grant privileges, monitor and

supervise” Dr. Akoda, his fraudulent conduct would have been discovered, he would not have seen

patients at PGHC, and Plaintiffs “would not have suffered their injuries[.]” ¶ 89.

       Ms. Russell and Ms. Evans were patients of Dr. Akoda by virtue of his affiliation with Dr.

Moore’s practice, and Ms. Powell and Ms. Riggins were patients of Dr. Akoda by virtue of his

affiliation with Dr. Chaudry’s practice. ¶¶ 106, 135, 165, 189.

       D.      Other Evaluations of Dr. Akoda

       In 2012, Dr. Akoda submitted a Medicare Enrollment Application to the Centers for
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Medicare and Medicaid Services (“CMS”). ¶ 91. CMS denied the application based, in part, on its

determination that Dr. Akoda did not provide an accurate Social Security number. ¶ 92. There is

no evidence that CMS took any action to advise licensing boards, hospitals, or employers about

inconsistencies with Dr. Akoda’s Social Security number.

       In 2014, Dr. Akoda achieved certification by the American Board of Obstetrics and

Gynecology (“ABOG”). ¶ 93. Medical specialty board certification typically requires passing a

written and oral examination, undergoing a personal interview, review of academic credentials,

review of prior case logs, letters of recommendation from residency and fellowship directors, and

consideration of any disciplinary action, criminal, or immoral behavior that comes to their

attention. ¶ 18. Following Board certification, a candidate must comply with requirements for

ongoing educational modules to maintain certification. ¶ 19. ABOG waited until January 2018—

more than a year after Dr. Akoda’s guilty plea—to revoke his diplomate status. ¶ 94.

       E.      Law Enforcement

       In 2014—before Ms. Evans and Ms. Russell encountered Dr. Akoda—ECFMG received a

subpoena from the U.S. Attorney’s office regarding Dr. Akoda. ¶ 95. ECFMG cooperated with the

investigation and followed instructions from federal authorities not to impede the investigation

and not to take adverse action against Dr. Akoda while the investigation was ongoing. ¶ 96.

ECFMG worked together with the Maryland Board of Physicians to assist the investigation. ¶ 97.

Then, in March 2016, the Prince George’s County Police Department contacted ECFMG about

Dr. Akoda. ¶ 98. ECFMG cooperated with that investigation and continued to follow instructions

not to impede the investigation or take adverse action against Dr. Akoda while the investigation

was ongoing. ¶ 99. Law enforcement did not stop Dr. Akoda from practicing medicine during their

investigations. ¶¶ 83, 108, 137, 193.

       In November 2016, Dr. Akoda pleaded guilty to misuse of a Social Security number and
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stipulated that he and Oluwafemi Charles Igberase were the same person. ¶ 100. With that

admission, ECFMG promptly consolidated the Igberase and Akoda files and revoked the ECFMG

Certificate issued to John Nosa Akoda. ¶ 101.

IV.    This Lawsuit

       Plaintiffs are Dr. Akoda’s former patients who generally contend that ECFMG was

negligent in its certification and/or investigation of Dr. Akoda and that ECFMG’s actions or

inactions caused Plaintiffs to suffer emotional distress upon learning that Dr. Akoda went by other

names and pleaded guilty to Social Security fraud. At the relevant time, each Plaintiff had

consented to treatment by a licensed physician. ¶¶ 105, 136, 166, 191.

       A.      Monique Russell

       Dr. Akoda performed a successful emergency c-section for Ms. Russell in May 2016 at

PGHC when Ms. Russell was a Maryland resident and a patient at Dr. Moore’s practice. ¶¶ 187–

194. Ms. Russell had never previously been treated by Dr. Akoda, but she knew that he might

assist her at the hospital. ¶¶ 189–190. Ms. Russell acknowledges that the consequences of Dr.

Akoda’s treatment were “minor,” ¶ 195, and that Dr. Akoda rendered treatment that “really was

best/necessary.” ¶ 196.

       Ms. Russell now claims to question whether her c-section was necessary because she

mistakenly believes Dr. Akoda was a “fake doctor” who was “not properly trained as a doctor or

credentialed as a doctor.” ¶ 216. She also mistakenly believes that ECFMG is a “government

agency” and that ECFMG Certification is a valid substitute for a background check. ¶ 214.

       Ms. Russell claims to feel violated and have a sense of distrust in the medical community,

but she continues to see physicians and take her family members to be treated by physicians. ¶¶

208–209. Ms. Russell also claims to suffer from anxiety but has never been formally diagnosed

with anxiety. ¶¶ 198, 203. There is no evidence of any physical symptoms attributable to the
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emotional distress allegedly experienced by Ms. Russell. ¶ 205.

        Ms. Russell believes that PGHC was negligent in credentialing Dr. Akoda. ¶ 208. She

claims her emotional distress and distrust of doctors were amplified upon discovering that PGHC

never performed a background check on Dr. Akoda. ¶ 208. She was also told by Dr. Moore that

Dr. Akoda did not undergo a background check before joining his practice. ¶ 211.

        B.      Jasmine Riggins

        Ms. Riggins was a patient with the practice of Dr. Chaudry in 2012 and 2013, through

which she received prenatal care from Dr. Akoda. ¶ 165. Dr. Akoda subsequently performed a

successful c-section for Ms. Riggins in 2013. ¶ 167. Ms. Riggins has reported that she did not have

any concerns about her treatment with Dr. Akoda during prenatal visits, during the c-section, or

after her healthy child’s birth. ¶ 169.

        Ms. Riggins never heard of ECFMG prior to speaking with her attorneys. ¶ 183. She

mistakenly believes that ECFMG gives foreigners “permission to practice medicine in the United

States” ¶ 184. She believes ECFMG should have been “more careful about who they certify,” but

she acknowledges that if she learned that ECFMG had cooperated with law enforcement to help

build a case against Dr. Akoda, it may make a difference to her. ¶¶ 186–186.

        Ms. Riggins also believes that PGHC knew or should have known that Dr. Akoda went by

other names. ¶ 178. She contends that PGHC was negligent and that PGHC’s negligence was the

“sole and proximate cause” of her injuries. ¶ 177.

        Ms. Riggins claims to have begun experiencing emotional distress upon coming to believe

that Dr. Akoda was a “fake doctor.” ¶ 169. Medical records throughout 2017 confirm that Ms.

Riggins did not experience anxiety/worry, depressed mood, or suicidal thoughts after learning

about Dr. Akoda’s fraud. ¶¶ 173, 176. She claims to have experienced no physical manifestation

of her emotional distress. ¶ 175. She has never been diagnosed with depression or any psychiatric
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disorder, nor has she seen a medical professional to discuss her alleged emotional distress. ¶¶ 172,

179.

         C.     Elsa Powell

         Ms. Powell began seeing Dr. Akoda at Dr. Chaudry’s practice in 2014 when she was about

6 months pregnant. ¶¶ 134, 137. Ms. Powell alleges that Dr. Akoda was flirtatious during pre-natal

visits and made comments about her breasts that she never reported. ¶ 138. She claims that she

asked to have a nurse present during examinations because of Dr. Akoda’s inappropriate conduct.

¶ 139.

         Dr. Akoda successfully delivered her baby vaginally and helped with her post-natal care

through January 2015. ¶ 142. Ms. Powell experienced post-partum bleeding that required Dr.

Akoda to perform emergency surgery, at which time Dr. Akoda allegedly told her, “I’m sorry, I

should have detected it sooner, I’m so sorry, we’re getting the O.R. ready for you.” ¶ 144–145.

         Ms. Powell claims that she does not “have a peace of mind” since she found out Dr. Akoda

“wasn’t who he said he was.” ¶ 148. Ms. Powell has no history of psychiatric or mental health

disorder, never sought treatment for any such disorder, and does not present with symptoms

compatible with any such disorder. ¶¶ 149, 151. There is no evidence that she suffered physical

manifestations from her alleged emotional distress.

         Ms. Powell had never heard of ECFMG until 2018 when she learned of ECFMG through

her lawyer. ¶ 155. Even now, she mistakenly believes ECFMG “give[s] the license for foreigners”

to “practice medicine in the United States.” ¶ 156. Ms. Powell claims to doubt that Dr. Akoda had

medical training, even though it is undisputed that he completed a residency program at Howard.

¶¶ 74, 158. She faults ECFMG for “actually provid[ing] him with a license to practice” but it is

undisputed that ECFMG does not license physicians. ¶¶ 9, 157. She also contends that PGHC was

negligent and should have discovered Dr. Akoda’s alias sooner. ¶ 152.
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       D.      Desire Evans

       Desire Evans, a Maryland resident, was a patient with the practice of Dr. Moore. ¶¶ 102,

106. Dr. Akoda performed a successful emergency c-section for Ms. Evans at PGHC in March

2016. ¶ 108. Ms. Evans claims that Dr. Akoda inappropriately manipulated her clitoris in an effort

to progress her labor. ¶ 112. She claims that her husband and mother witnessed Dr. Akoda’s actions

and asked about them. ¶¶ 113–114.

       Ms. Evans did not do any research into the background, education, credentials, or

certifications of any physicians at Dr. Moore’s practice, including Dr. Akoda. ¶¶ 103–04. She had

never heard of ECFMG Certification. ¶ 123. Ms. Evans mistakenly believes that ECFMG’s

purpose is “to verify identification documentation,” not foreign medical diplomas, and that

ECFMG is responsible for verifying IMGs’ Social Security numbers, birth certificates, green

cards, state medical licenses, board certifications, and any other “piece of identifying information

about a foreign medical graduate.” ¶ 125. She only learned of ECFMG’s existence from her

lawyers. ¶ 124.

       Ms. Evans claims that she began experiencing increased anxiety and depression after

giving birth to her son but before Dr. Akoda’s guilty plea. ¶ 119. She claims that she is afraid to

see a doctor, does not know who to trust, and her trust in the medical profession has diminished.

¶ 121. There is no evidence in the record of physical manifestations of alleged emotional distress.

       Ms. Evans is the only Plaintiff who has sought mental health treatment since she

encountered Dr. Akoda, but her psychiatric history extends well before she even met Dr. Akoda.

She was hospitalized in 2009 (before Dr. Akoda even had his medical license)

        and has reported histories of psychiatric symptoms on and off throughout her adult life.

¶ 116. Despite extensive mental health records from both before and after Ms. Evans learned of

the charges against Dr. Akoda, not a single health record makes any reference to Dr. Akoda. ¶ 122.
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Although Ms. Evans has psychiatric conditions, there is no causal connection between those

conditions and the allegations in the Complaint. ¶ 128.

                                      LEGAL STANDARD

       Summary judgment is appropriate when “there is no genuine dispute as to any material fact

and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A fact is

‘material’ under Rule 56 if its existence or nonexistence might impact the outcome of the suit

under the applicable substantive law. A dispute over a material fact is ‘genuine’ if ‘a reasonable

jury could return a verdict for the nonmoving party.’” Santini v. Fuentes, 795 F.3d 410, 416 (3d

Cir. 2015) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)).

       “The moving party bears the initial burden to identify ‘specific portions of the record that

establish the absence of a genuine issue of material fact.’” Wiest v. Tyco Electronics Corp., 812

F.3d 319, 328 (3d Cir. 2016) (quoting Santini, 795 F.3d at 416). “If the moving party satisfies its

burden, the burden then ‘shifts to the nonmoving party to go beyond the pleadings and come

forward with specific facts showing that there is a genuine issue for trial.’” Id. (internal quotation

marks and citations omitted). To defeat summary judgment, the nonmoving party “cannot rest on

mere pleadings or allegations; rather it must point to actual evidence in the record on which a jury

could decide an issue of fact its way.” El v. Southeastern Pa. Transp’n Auth. (SEPTA), 479 F.3d

232, 238 (3d Cir. 2007) (internal citation omitted). “In this respect, summary judgment is

essentially ‘put up or shut up’ time for the non-moving party: the non-moving party must rebut the

motion with facts in the record and cannot rest solely on assertions made in the pleadings, legal

memoranda, or oral argument.” Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 201 (3d Cir.

2006) (internal citation omitted).

       The party opposing summary judgment must support each essential element of that party’s

opposition with concrete evidence in the record. “If the evidence is merely colorable, or is not
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significantly probative, summary judgment may be granted.” Anderson, 477 U.S. at 249–50. This

requirement upholds the “underlying purpose of summary judgment [which] is to avoid a pointless

trial in cases where it is unnecessary and would only cause delay and expense.” Walden v. Saint

Gobain Corp., 323 F. Supp. 2d 637, 642 (E.D. Pa. 2004).

                                          ARGUMENT

I.     Recovery for Emotional Distress Is Not Permitted Under These Circumstances.

       Plaintiffs claim emotional distress resulting from ECFMG’s alleged negligence.

Pennsylvania law limits recovery on such claims to three circumstances. Hershman v. Muhlenberg

Coll., 17 F. Supp. 3d 454, 459 (E.D. Pa. 2014). They are “(1) when ‘the plaintiff suffers a physical

injury which causes the emotional distress’; (2) when the plaintiff was in the ‘zone of danger’—

or, in other words, experienced a ‘near-miss’ and suffered emotional distress from having been

endangered, despite not having suffered physical harm; and (3) when the ‘plaintiff witnesses an

accident causing serious injury to a close family member.’” Humphries v. Pa. State Univ., No.

4:20-CV-0064, 2021 WL 4355352, at *20 (M.D. Pa. Sept. 24, 2021).

       None of these circumstances is present here. Each Plaintiff claims to have suffered

emotional distress upon learning that Dr. Akoda used an alias and/or pleaded guilty to misuse of a

Social Security number. They do not claim emotional distress as a result of a physical injury or a

fear of “impending physical injury.” Credico v. Unknown Employee of the Houston FBI Forfeiture

Unit, 567 F. App’x 83, 83 (3d Cir. 2014).2 They do not allege emotional distress resulting from

actually witnessing an accident causing serious injury to a close family member. Nor could they.

See, e.g., Doe v. Philadelphia Cmty. Health Alternatives AIDS Task Force, 745 A.2d 25, 29 (Pa.

Super. 2000), aff'd, 767 A.2d 548 (Pa. 2001) (“[W]e cannot conclude that two influenza vaccines,


2
  To the extent Plaintiffs claim that their emotional distress arose from physical injury at the time
of treatment, their claims are time-barred. See infra Part VII.
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which were not the cause of any lasting physical or emotional effects, are sufficient to bootstrap

Appellant’s claim that he suffered the ‘physical impact’ necessary to support a claim of negligent

infliction of emotional distress.”); Kazatsky v. King David Mem’l Park, Inc., 527 A.2d 988, 993

(Pa. 1987) (noting that “learning of the accident from others after its occurrence” weighs against

the possibility of liability); Mazzagatti v. Everingham by Everingham, 516 A.2d 672, 679 (Pa.

1986) (“Where, as here, the plaintiff has no contemporaneous sensory perception of the injury, the

emotional distress results more from the particular emotional makeup of the plaintiff rather than

from the nature of defendant’s actions.”). Accordingly, ECFMG cannot be liable for Plaintiffs’

emotional distress.

       Nor can Plaintiffs invoke Toney v. Chester County Hospital, 36 A.3d 83 (Pa. 2011), a non-

precedential decision by less than a majority of the Pennsylvania Supreme Court, to suggest that

recovery for emotional distress may be permitted based on a defendant’s “special relationship”

with a plaintiff. There was no “special relationship” between ECFMG and Plaintiffs. “[S]pecial

relationships must encompass an implied duty to care for the plaintiff’s emotional well-being.” Id.

at 90–95. They are limited “to preexisting relationships involving duties that obviously and

objectively hold the potential of deep emotional harm in the event of breach.” Id. Courts have

recognized such “special relationships” only between medical professionals and patients and

adoption agencies and adoptee parents. See Mulawka v. Pennsylvania, No. 2:11cv1651, 2013 WL

171911 (W.D. Pa. Jan. 16, 2013) (EMS technician / patient); Madison v. Bethanna, Inc., No. 12-

01330, 2012 WL 1867459, at *12 (E.D. Pa. May 23, 2012) (adoption agency and adoptee parents).

Otherwise, courts have refused to extend liability farther.3


3
  See, e.g., Black v. Cmty. Educ. Centers, Inc., No. 13–CV–6102, 2014 WL 859313 (E.D. Pa. Mar.
4, 2014) (employer / employee); Hawkins v. Fed. Nat. Mortgage Ass'n, No. 13–CV–6068, 2014
WL 272082 (E.D. Pa. Jan. 23, 2014) (lender / borrower); Yarnall v. Philadelphia Sch. Dist., No.
11–CV–3130, 2013 WL 5525297 (E.D. Pa. Oct. 7, 2013) (union and members); Grimaldi v. Bank
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       ECFMG does not have a special relationship with Plaintiffs. No court has ever recognized

a special relationship between ECFMG and members of the general public who might one day be

treated by an IMG, and the indirect chain of links between ECFMG certifying an IMG and a doctor

treating a patient is far removed from the narrow circumstances in which courts have found such

a relationship to exist. In truth, Plaintiffs had no relationship with ECFMG at all, much less a

“special relationship.” None had heard of or interacted with ECFMG when they were treated by

Dr. Akoda or learned of his aliases or Social Security fraud. Because recovery for emotional

distress is unavailable as a matter of law, ECFMG is entitled to summary judgment.

II.    ECFMG Did Not Owe Plaintiffs A Legally Cognizable Duty of Care.

       A.      ECFMG owed no general tort duty to Plaintiffs.

       ECFMG is entitled to summary judgment on Plaintiffs’ claims for negligence and negligent

infliction of emotional distress (“NIED”) because ECFMG did not owe a general tort duty to

Plaintiffs. To prevail on either, Plaintiffs “must establish a prima facie case of negligence,”

Humphries v. Pennsylvania State Univ., 492 F. Supp. 3d 393, 409 (E.D. Pa. 2020), including “the

existence of a duty owed by one party to another,” Gibbs v. Ernst, 647 A.2d 882, 890 (Pa. 1994).

       “The determination of whether a duty exists in a particular case involves the weighing of

several discrete factors which include: (1) the relationship between the parties; (2) the social utility

of the actor’s conduct; (3) the nature of the risk imposed and foreseeability of the harm incurred;

(4) the consequence of imposing a duty upon the actor; and (5) the overall public interest in the

proposed solution.” Althaus ex rel. Althaus v. Cohen, 756 A.2d 1166, 1169 (Pa. 2000); see Russell


of Am., No. 12–CV–2345, 2013 WL 1050549 (M.D. Pa. Mar. 14, 2013) (lender / borrower); Okane
v. Tropicana Entm't, Inc., No. 12–CV–6707, 2013 WL 56088 (E.D. Pa. Jan. 3, 2013) (casino /
patron); Emekekwue v. Offor, No. 1:11–CV–01747, 2012 WL 1715066 (M.D. Pa. May 15, 2012)
(ethnic group organization and member); Shulick v. United Airlines, No. 11–CV–1350, 2012 WL
315483 (E.D. Pa. Feb. 2, 2012) (airline and passengers); Weiley v. Albert Einstein Med. Ctr., 51
A.3d 202, 218 (Pa. Super. 2012) (decedent's son and father’s hospital).
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v. Educ. Comm’n. for Foreign Med. Graduates, 15 F.4th 259, 272 (3d Cir. 2021) (citing Althaus,

756 A.2d at 1169). Here, each of the Althaus factors weighs against imposing on ECFMG a duty

of care owed to Plaintiffs.

       First, it there was no relationship whatsoever between ECFMG and Plaintiffs. “[D]uty is

predicated on the relationship that exists between the parties at the relevant time.” R.W. v. Manzek,

888 A.2d 740, 747 (Pa. 2005). When Plaintiffs were treated by Dr. Akoda and when they learned

of Dr. Akoda’s aliases/Social Security fraud, Plaintiffs did not even know that ECFMG existed,

let alone rely on or interact with ECFMG. “Because the parties were essentially strangers to each

other at the relevant time, this factor does not support a finding of a duty.” Commerce Bank/Penn.

v. First Union Nat’l Bank, 911 A.2d 133, 139 (Pa. Super. 2006); see Hall v. United States, No.

2:19-cv-05256-KSM, 2020 WL 3265146, at *5 (E.D. Pa. June 17, 2020) (“[B]ecause Hall does

not plead any facts indicating that he was known to the Government at the time of his accident

with Mullins, dismissal is further warranted.”). The absence of a relationship between the parties

amounts to “a significant factor that weights against the existence of a duty.” Citizens Bank of

Pennsylvania v. Reimbursement Tech., Inc., 609 F. App’x 88, 92 (3d Cir. 2015) (emphasis added).

       Second, there is not high social utility in imposing a duty here. ECFMG played a limited

role in the process whereby an IMG might eventually treat any particular patient in the United

States. ECFMG was not, and is not, contrary to the uninformed or mistaken views of Plaintiffs, a

government entity of any kind. ECFMG Certification status communicated to sophisticated parties

within the medical community only that an IMG was ready to apply for post-graduate medical

education because he or she had passing grades on an English exam and two substantive exams

and presented a primary-source verified medical school diploma. Nothing more. It did not cause

an IMG to (1) be accepted to a residency, (2) successfully complete a residency, (3) be licensed

by a licensing authority, (4) be hired for employment as a medical doctor, (5) be permitted to treat
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patients on an ongoing basis, or (6) be certified by any specialty boards. An IMG’s direct educators

and employers are much more directly responsible for ensuring his or her preparedness to practice

medicine and treat patients, like Plaintiffs.

       There are many others who stand in line before ECFMG in any rational consideration of

responsibility for Plaintiffs’ alleged injuries, among them Dr. Akoda himself, Howard, the

Maryland Board of Physicians, and PGHC. As described below in connection with the fourth and

fifth Althaus factors, imposing a duty on ECFMG to try to take action to ensure that IMGs deal

honestly with patients would fundamentally disrupt the complex alignment of roles and

responsibilities regarding IMGs practicing in the United States. See Br. of Amici Curiae Am. Med.

Ass’n et al. (“AMA Br.”) at 3, Russell v. Educ. Comm’n for Foreign Medical Graduates, 15 F.4th

259 (3d Cir. 2021) (No. 20-2128) (“The pathway to physician licensure in the United States is a

rigorous, complex process that involves education, testing, and training with an interconnected

web of organizations supporting the process along the way.”). The risk of such disruption greatly

outweighs whatever minuscule utility might theoretically arise from imposing on ECFMG a duty

to Plaintiffs in this unique and unusual context. Moreover, Ms. Russell and Ms. Evans were treated

by Dr. Akoda after law enforcement requested that ECFMG help with its investigation and not

take action that might jeopardize it. There can be no social utility in imposing a duty on ECFMG

to disregard such requests by law enforcement.

       Third, the nature of the risk imposed and the foreseeability of the harm incurred weigh

strongly against imposing a duty. “[D]uty arises only when one engages in conduct which

foreseeably creates an unreasonable risk of harm to others.” Manzek, 888 A.2d at 747; see also

Palsgraf v. Long Island R.R. Co., 162 N.E. 99, 101 (N.Y. 1928). “Courts have been reluctant to

impose a duty to protect a member of the general public from the harmful acts of third parties, in

the absence of special circumstances.” Commerce Bank/Penn., 911 A.2d at 139. To do so would
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“stretch foreseeability beyond the point of recognition [and] make liability endless.” Estate of

Witthoeft v. Kiskaddon, 733 A.2d 623, 630 (Pa. 1999); see Victor E. Schwartz, Remoteness

Doctrine: A Rational Limit on Tort Law, 8 Cornell J. of Law & Pub. Pol. 421, 425 (1999)

(“Whatever conceptual vehicle is utilized – proximate cause or duty – the remoteness limitation

on liability has endured as a basic doctrine of tort law.”).

       The nature of the risk at issue is minimal both in terms of likelihood and degree. Dr.

Akoda’s fraud on ECFMG and a host of third parties in the medical field is unprecedented. This

is not a common occurrence that would necessitate the overreaction of imposing a tort duty on

ECFMG as to members of the general public who might one day be treated by an IMG. Moreover,

Plaintiffs were not truly harmed in any cognizable way. It cannot be disputed that Dr. Akoda was

licensed to practice medicine. It cannot be disputed that he successfully completed post-graduate

medical education in the United States. It cannot be disputed that he successfully performed serious

medical procedures and that each Plaintiff emerged from her pregnancy healthy and with a healthy

child. Beyond being licensed, Dr. Akoda was at all times affiliated with one more entity in the

medical field that monitored his daily interactions with patients.

       The foreseeability inquiry requires that “the nature of the risk and the foreseeability of

harm in this specific case” be clear, not “vague and attenuated.” Commerce Bank/Pa., 911 A.2d

at 139 (emphasis added). In Fragale v. Wells Fargo Bank, N.A., 480 F. Supp. 3d 653 (E.D. Pa.

2020), for example, the court refused to impose a duty on banks to prevent the opening of

fraudulent accounts. The court recognized that “[w]ith the benefit of hindsight,” it may seem that

“it was foreseeable that a noncustomer who was deceived into transferring money to an account at

Wells Fargo might be the victim of a fraudulent scheme perpetrated by someone who opened the

account for fraudulent purposes.” Id. at 666. But it held that was insufficient to impose a duty.



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       Here, the foreseeability of harm is even more attenuated than in Fragale. For the harm at

issue to result, Dr. Akoda had to defraud not just ECFMG and Plaintiffs, but also the medical

field—including residency programs, hospitals, licensing boards, specialty boards, and private

practitioners, not to mention all of the professionals he interacted with on a daily basis. With each

additional actor that independently evaluated Dr. Akoda and concluded that he was qualified and

permitted him to treat patients, the foreseeability of any harm resulting to Plaintiffs from ECFMG’s

allege negligence becomes less and less foreseeable. Moreover, the harm at issue here—Plaintiffs’

emotional distress—is extremely unforeseeable given that it is based on Plaintiffs’ later learning

about Dr. Akoda’s aliases/Social Security fraud. The harm reflects “the particular emotional

makeup of [each] plaintiff rather than … the nature of defendant’s actions.” Mazzagatti, 516 A.2d

at 679. It was not foreseeable to ECFMG that Dr. Akoda would not only perpetrate a fraud on the

medical field, but also that Plaintiffs would suffer emotional distress based on their mistaken

beliefs that he was a “fake doctor” when it is undisputed that he successfully completed his

residency and was licensed to practice medicine. ECFMG can have no duty to prevent emotional

distress resulting from Plaintiffs’ miscomprehensions of the facts.

       Fourth, the consequences of imposing a duty on ECFMG would be inconsistent with

Pennsylvania law and unworkable. A duty for ECFMG to disclose suspicions about Dr. Akoda to

third parties without first proceeding through ECFMG’s irregular behavior process and making a

determination on the merits could have violated Dr. Akoda’s common law due process rights. See

Tulp v. Educ. Comm’n for Foreign Med. Graduates, Civ. A. No. 18-5540, 2019 WL 2601066

(E.D. Pa. June 25, 2019) (granting summary judgment for ECFMG because ECFMG’s irregular

behavior procedures afford sufficient process to the accused). The law cannot simultaneously




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impose both a duty on ECFMG to report suspicions of irregular behavior and a crosswise duty on

ECFMG to refrain from disclosing suspicions pending due process.4

       At the same time, ECFMG is not and cannot become a guarantor of each IMG’s

trustworthiness. Dr. Akoda got his ECFMG Certificate more than a decade before he treated any

Plaintiff. Before treating Plaintiffs, Dr. Akoda was scrutinized—on much more wide-ranging

criteria than ECFMG purported to evaluate—by a host of institutions who had much closer and

repeated interactions with him. To impose a duty on ECFMG after Dr. Akoda had practiced

medicine successfully for more than a decade would be absurd; arguably tantamount to imposing

a duty on ECFMG to any member of the general public who may one day be treated by an IMG.

With IMGs representing 25% of all licensed doctors in the United States, Am. Med. Ass’n, How

IMGs have changed the face of American medicine (Oct. 19, 2021), https://www.ama-

assn.org/education/international-medical-education/how-imgs-have-changed-face-american-

medicine, such a duty could be impossibly onerous. The Court “must draw lines to prevent

unlimited liability to an unlimited number of plaintiffs, notwithstanding the commission of

negligent acts.” Toney, 36 A.3d at 91; see Schwartz, Remoteness Doctrine, at 443 (“If one can

stand back from the controversial cases and make objective judgments – judgments about the shape

of the law and its rationale – the remoteness doctrine has clear, strong public policy bases that

would continue to apply in a myriad of contexts.”). And to impose a duty on ECFMG owed to Ms.

Russell and Ms. Evans after ECFMG was asked by law enforcement not to act against Dr. Akoda

in 2014 would put ECFMG to the impossible choice of complying with competing directives.



4
  If ECFMG owed a duty to refer Dr. Akoda to irregular behavior proceedings at some point,
Plaintiffs’ claims would still fail for lack of causation. See infra. There is no evidence that prior to
Dr. Akoda’s guilty plea, the MECC would have found that he engaged in irregular behavior,
especially since ECFMG staff did not think there was sufficient evidence warranting a referral to
the MECC, even if they had suspicions they could not substantiate.
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        Fifth, the public interest weighs strongly against imposing a wide-reaching duty on

ECFMG to any member of the general public who may one day be treated by an IMG. The medical

field is already thoroughly regulated. Licensing boards, hospitals, specialty boards and private

employers routinely can and do conduct background checks on candidates. ECFMG is a non-profit

responsible for working with foreign medical schools to confirm the authenticity of documents

presented by IMGs and passage of certain exams (among other things, not relevant here). The

public interest lies with imposing a duty on the entities actually responsible for deciding whether

an IMG treats patients, not on a party removed from that decision by multiple degrees who supplies

specific narrow information to be used by sophisticated actors in a broader exercise of discretion.

Moreover, imposing a duty on any entity that has a role in allowing IMGs—of which there are

currently almost 223,000 in this country—to practice medicine would “chill[] the medical

community’s efforts to provide access to care across America and, in particular, in patient

communities of need.” AMA Br. at 4.

        The Althaus factors weigh conclusively against imposing a duty on ECFMG to Plaintiffs.

        B.      ECFMG is not liable to Plaintiffs under Restatement (Second) of Torts § 324A.

        Plaintiffs have also suggested that ECFMG may be liable to Plaintiffs because ECFMG

Certification status reports are provided to hospitals and licensing boards. Restatement (Second)

of Torts § 324A provides that “[o]ne who undertakes … to render services to another which he

should recognize as necessary for the protection of a third person or his things, is subject to liability

to the third person for physical harm resulting from his failure to exercise reasonable care to protect

his undertaking” under three circumstances: “(a) his failure to exercise reasonable care increases

the risk of such harm”; “(b) he has undertaken to perform a duty owed by the other to the third

person”; or “(c) the harm is suffered because of reliance of the other or the third person upon the

undertaking.” Under those limited circumstances, the law imposes a duty to perform an
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undertaking “in such manner that third persons—strangers to the [undertaking]—will not be

injured thereby.” Cantwell v. Allegheny Cty., 483 A.2d 1350, 1353 (Pa. 1984) (quoting Evans v.

Otis Elevator Company, 168 A.2d 573, 575–76 (Pa. 1961)). “[T]he orbit of the duty is measured

by the nature and scope of the … undertaking.” Farabaugh v. Pennsylvania Turnpike Com’n, 911

A.2d 1264, 1283 (Pa. 2006) (quoting Otis Elevator, 168 A.2d at 576).

       As a threshold matter, Section 324A allows liability only for “physical harm.” See

Restatement (Second) of Torts § 7(3) (“the physical impairment of the human body”). Plaintiffs

do not allege—let alone present any evidence—that ECFMG’s conduct resulted in “physical

harm.” ¶¶ 174, 205; see also infra Part VI. Section 324A is therefore inapplicable.

       Even then, the record confirms that there was no basis for ECFMG to believe that its

services were “necessary for the protection” of Plaintiffs. Hospitals and licensing boards have their

own robust requirements for choosing who can practice medicine. Whether Dr. Akoda was

qualified to practice medicine was a question left to the discretion of hospitals and licensing boards,

not ECFMG. There is no evidence that anyone at hospitals or licensing boards views ECFMG

Certification status as a substitute for the vigorous vetting processes they undertake (and indeed,

may be obligated to undertake for the protection the general public). ECFMG does not assess

IMGs’ suitability to practice medicine. Recipients of ECFMG Certification status reports

independently evaluate IMGs through multiple methods that go far beyond ECFMG. No

reasonable jury could conclude that ECFMG should have understood that any communication

regarding Dr. Akoda’s ECFMG Certification status was necessary to protect Plaintiffs treated by

Dr. Akoda after he had been independently evaluated and approved by a residency program,

medical licensing boards, a hospital, and a specialty board.

       This is especially true as of 2014, after ECFMG received notice of the investigations by

law enforcement into Dr. Akoda and was told not to take action. As a matter of law, ECFMG
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should not have viewed any action that it could have taken as “necessary” for the protection of

Plaintiffs yet to be treated (such as Ms. Russell and Ms. Evans) when law enforcement was

investigating and itself waited years to take action to prevent Dr. Akoda from treating patients. It

bears repeating: The FBI was investigating Dr. Akoda, and the U.S. Department of Justice allowed

him to continue treating patients for years. The same is true of the Maryland Board of Physicians,

which knew of the allegations about Dr. Akoda by 2014 (and perhaps even as early as 2011 from

JSMC) but nonetheless allowed him to maintain his medical license until after he pleaded guilty.

       Cantwell is instructive. In that case, the Pennsylvania Supreme Court ruled that a crime lab

performing tests for the police cannot be liable to a criminal suspect for harm allegedly suffered

as a result of negligent testing. 483 A.2d at 1354. The court noted that the crime lab “does not exist

or renders its services for the protection of suspects or potential suspects; rather, its purpose is to

assist the police and the Commonwealth in collecting and analyzing evidence which may be

relevant in presenting a case to a jury.” Id. It also noted the importance of “the discretion of the

Commonwealth,” which stood between the crime lab’s conduct and its effect on third parties. “No

matter how well or how poorly a crime lab performs, it has no control, or ability to foresee, the

disposition of criminal suspects, since the prosecution of suspects in criminal cases depends to a

large extent upon the discretion of the police and the district attorney’s office.” Id.

       The same reasoning applies with even greater force here. ECFMG provided limited factual

information to entities in the medical field for their consideration—along with a host of other

information—in deciding whom to license or privilege or credential. Each of those entities in the

medical field exercised discretion—one after another, based on wide-ranging information—and

ECFMG had no control or ability to foresee whether an IMG may come to treat any patients, let

alone Plaintiffs. Even then, Dr. Akoda had to independently decide to continue his fraud and

misrepresent his identity to each additional third party (and to Plaintiffs) before he might one day
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suffer emotional distress from learning about an IMG’s aliases. If the single layer of discretion

separating the crime lab in Cantwell from any alleged harm to a criminal suspect meant there was

no duty as a matter of law in that case, the multiple layers separating ECFMG from any alleged

harm to Plaintiffs means there cannot be any duty owed in this case.

       Plaintiffs seek to impose upon ECFMG a duty that goes far beyond “the nature and scope”

of the “undertaking” at issue. Farabaugh, 911 A.2d at 1283 (quoting Otis Elevator, 168 A.2d at

576). ECFMG’s “undertaking” was to certify that Dr. Akoda had passed certain exams (he had)

and that the issuing medical school primary source verified his diploma (it did). Nothing in any

“undertaking” by ECFMG obligated it to communicate with anyone that Dr. Akoda may have used

an alias or may be committing Social Security fraud.

       ECFMG also cannot be liable to Plaintiffs based on any undertaking on behalf of JSMC,

Howard, or the Virginia Board of Medicine. Plaintiffs were not treated by Dr. Akoda while he was

a resident at JSMC or Howard. Nor were Plaintiffs treated by Dr. Akoda in Virginia pursuant to

the license issued to him by the Virginia Board of Medicine. There is no basis to hold that any

undertaking by ECFMG on behalf of those institutions could possibly have been “necessary for

the protection” of Plaintiffs, who were treated elsewhere and years later by Dr. Akoda.

       C.      ECFMG is not liable to Plaintiffs under Maryland law.

       ECFMG is also entitled to summary judgment because Plaintiffs’ claims fail under

Maryland law. In diversity cases like this, federal courts apply the choice of law rules of the forum

state. Klaxon Co. v. Stentor Elec. Mfg. Co., 313 U.S. 487, 496 (1941). Here, the forum state

(Pennsylvania) applies a “flexible” choice-of-law analysis that “permits analysis of the policies

and interests underlying the particular issue before the court” and applies the law of the state with

the “most interest in the problem.” Hammersmith v. TIG Ins. Co., 480 F.3d 220, 227 (3d Cir. 2007)

(quoting Griffith v. United Air Lines, Inc., 203 A.2d 796, 805-06 (Pa. 1964)). The analysis differs
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depending on whether the purported conflict is “true” or “false.” A true conflict exists “when the

governmental interests of both jurisdictions would be impaired if their law were not applied.”

Lacey v. Cessna Aircraft Co., 932 F.2d 170, 187 n. 15 (3d Cir. 1991). If a true conflict exists, the

Court examines “which state has the most significant relationship to the occurrence and the

parties.” Melmark, Inc. v. Schutt by and through Schutt, 206 A.3d 1096 (Pa. 2019). “A false

conflict exists if only one jurisdiction’s governmental interests would be impaired by the

application of the other jurisdiction.” Lacey, 932 F.2d at 187. If a false conflict exists, the Court

must apply the law of the jurisdiction whose interests risk being impaired. Id.

       Here, there are at least two true conflicts between the laws of Pennsylvania and Maryland

warranting the application of Maryland law under which ECFMG is entitled to summary judgment.

       First, Pennsylvania recognizes a claim for NIED, but Maryland does not. Compare Smith-

McConnell v. Todd T. Thompson Funeral Home, Inc., No. 1035 WDA 2020, 2021 WL 3771822,

at *5 (Pa. Super. Aug. 25, 2021) (discussing claims for NIED under Pennsylvania law), with Alban

v. Fiels, 61 A.3d 867, 876 (Md. Ct. Spec. App. 2013) (noting that Maryland “does not recognize

the tort of negligent infliction of emotional distress”). Each state recognizes that emotional distress

is “easily simulated and feigned” and thus presents a risk of “fictitious or speculative claims” and

a “wide field for exploitation” by “unscrupulous litigants.” Bowman v. Williams, 165 A. 182, 184

(Md. 1933); see Toney v. Chester Cty. Hosp., 36 A.3d 83, 91 (Pa. 2011) (noting the importance of

“setting standards to determine the veracity of the emotional distress and to limit the potential

number of plaintiffs”). Each state thus has a compelling interest in applying its own carefully

crafted standards to guard against fictitious or fraudulent claims for emotional distress. See

LeJeune v. Bliss-Salem, 85 F.3d 1069, 1072 (3d Cir. 1996) (“a state could have a host of reasons

for limiting liability, including encouraging economic activity in the state … and lowering costs

to consumers”). Maryland has an overwhelming interest in regulating claims brought by Maryland
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residents based on treatment rendered in Maryland by a physician licensed to practice in Maryland.

Accordingly, Maryland law should apply, and Plaintiffs’ NIED claim fails as a matter of law.

       Second, Pennsylvania and Maryland apply different tests to determine whether a duty

exists. Pennsylvania applies the Althaus factors discussed above. But under Maryland law, the

“balancing of policy considerations to determine whether a duty exists” involves consideration of

“the foreseeability of harm to the plaintiff, the degree of certainty that the plaintiff suffered the

injury, the closeness of the connection between the defendant’s conduct and the injury suffered,

the moral blame attached to the defendant’s conduct, the policy of preventing future harm, the

extent of the burden to the defendant and the consequences to the community of imposing a duty

to exercise care with resulting liability for breach, and the availability, cost and prevalence of

insurance for the risk involved.” Pendleton v. State, 921 A.2d 196, 205 (Md. 2007) (quoting

Ashburn v. Anne Arundel Cty., 510 A.2d 1078, 1083 (Md. 1986)) (internal quotation marks

omitted). Each state has an interest in using its own standard to decide whether a duty is imposed

in a negligence case seeking recovery for emotional distress, and applying the other’s standard

would impair each state’s effort guard against “fictitious or speculative” negligence claims.

Because Maryland’s interest in this case dwarfs Pennsylvania’s interest, Maryland law applies.

       ECFMG owes no duty to Plaintiffs under Maryland law. As explained above in connection

with the Althaus factors, because harm to Plaintiffs was not foreseeable and ECFMG’s conduct

was far removed from Plaintiffs’ alleged injuries, those factors similarly weigh against imposing

a duty on ECFMG under Maryland law. See supra. Each factor considered by Maryland, but not

by Pennsylvania, similarly weighs against imposing a duty on ECFMG. Plaintiffs have not

presented evidence of any cognizable emotional distress, so the “degree of certainty that

[Plaintiffs] suffered the injury” weighs against recognizing a duty. The lack of “moral blame”

similarly weighs against imposing a duty because Plaintiffs suffered their injuries more than a
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decade after Dr. Akoda secured ECFMG Certification, and ECFMG’s role in the medical field is

separated from Plaintiffs by numerous intervening third parties with independent responsibility to

scrutinize Dr. Akoda. Nor is there any evidence regarding the availability of insurance.

       Maryland law routinely declines to impose a duty on one party to protect the general public

from the conduct of a third party. See, e.g., Warr v. JMGM Group, LLC, 70 A.3d 347, 364 (Md.

2013) (declining to impose a duty on dram shop owners for injuries caused by their patrons who

drove drunk after drinking alcohol at their establishment); Barclay v. Briscoe, 47 A.3d 560, 582

(Md. 2012) (declining to impose a duty on an employer for an employee’s negligent driving after

the employee worked a 22-hour shift); Remsburg v. Montgomery, 831 A.2d 18, 38 (Md. 2003)

(declining to impose duty on the leader of a hunting party for injury to property owner by member

of hunting party while hunting on the property owner’s land); Valentine v. On Target, Inc., 727

A.2d 947, 952–53 (Md. 1999) (declining to impose a duty on gun retailer to third parties for death

of victim killed by a gun stolen from the gun retailer); Ashburn v. Anne Arundel Cty., 510 A.2d

1078, 1087 (Md. 1986) (declining to impose a duty on police officer, police department, and

county for injuries to a pedestrian by a drunk driver after police had pulled the drunk driver over

and let him go); Lamb v. Hopkins, 492 A.2d 1297, 1306 (Md. 1985) (declining to impose a duty

on probation officers for injuries caused by alleged driving under the influence of a probationer

under the officers’ supervision); Willow Tree Learning Ctr., Inc. v. Prince George’s Cty., Md., 584

A.2d 157 (Md. Ct. Spec. App. 1991) (declining to impose a duty on the county and county

inspector to parents for fatal injury to a child at a daycare center when daycare center safety was

regulated by state and county law). The same result is warranted here.

III.   ECFMG Was Not A Proximate Cause of Plaintiffs’ Emotional Distress.

       Summary judgment is warranted because there is no evidence that ECFMG was the

proximate cause of Plaintiffs’ alleged emotional distress. “[T]he mere existence of negligence and
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the occurrence of injury are insufficient to impose liability upon anyone as there remains to be

proved the link of causation.” Lux v. Gerald E. Ort Trucking, Inc., 887 A.2d 1281, 1286 (Pa. Super.

2005); see Palsgraf, 162 N.E. at 99 (“Proof of negligence in the air, so to speak, will not do.”). To

establish causation, plaintiff must “demonstrate that the breach was both the proximate cause and

the actual cause of his injury.” Reilly v. Tiergarten Inc., 633 A.2d 208, 210 (Pa. Super. 1993).

Proximate cause “is defined as a wrongful act which was a substantial factor in bringing about the

plaintiff’s harm.” Dudley v. USX Corp., 606 A.2d 916, 923 (Pa. Super. 1992) (citations omitted).

It is a question of law to be determined by the court before the issue of actual cause is put to the

jury. Reilly, 633 A.2d 210 (citing Novak v. Jeannette Dist. Memorial Hosp., 600 A.2d 616, 618

(Pa. Super. 1991)).

          “A determination of legal causation, essentially regards whether the negligence, if any, was

so remote that as a matter of law, [the actor] cannot be held legally responsible for [the] harm

which subsequently, occurred.” Id. (internal quotations and citations removed). It is guided by:

          (a) the number of other factors which contribute in producing the harm and the extent of
          the effect which they have in producing it;

          (b) whether the actor’s conduct has created a force or series of forces which are in
          continuous and active operation up to the time of the harm, or has created a situation
          harmless unless acted upon by other forces for which the actor is not responsible; [and]

          (c) lapse of time

Lux, 887 A.2d at 1287 (quoting Willard v. Interpool, Ltd., 758 A.2d 684, 688 (Pa. Super. Ct.

2000)).

          The undisputed facts confirm that ECFMG was not a proximate cause of Plaintiffs’ alleged

injuries. The lengthy causal chain between ECFMG’s conduct and Dr. Akoda’s treatment of

Plaintiffs—including the undisputed negligence of intervening third parties—precludes ECFMG

from being a legal cause of Plaintiffs’ alleged injuries. See Schwartz, Remoteness Doctrine, at 429

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(explaining how proximate causation gives effect to the policies of the remoteness doctrine).

Regarding the lapse of time consideration, nearly two decades passed between when Dr. Akoda

got his ECFMG Certificate in 1996, ¶ 44, and treated Plaintiffs. See ¶ 164 (17 years for Ms.

Riggins); ¶ 103 (20 years for Ms. Evans); ¶ 134 (18 years for Ms. Powell); ¶ 188 (20 years for Ms.

Russell). At least twenty years passed before Plaintiffs suffered their alleged emotional distress

upon learning of Dr. Akoda’s aliases/Social Security fraud. ¶¶ 117, 153, 168, 210. Over the course

of these two decades, Dr. Akoda: participated in two residency programs, graduating from the

program at Howard in 2011; applied for and obtained a medical license to practice in Maryland

and Virginia; obtained privileges at PGHC and employment in two medical practices; achieved

board certification from the ABOG. ¶¶ 56, 74, 75, 76, 87, 90, 93. This substantial passage of time

and the number of intervening actors who independently reviewed Dr. Akoda precludes ECFMG’s

alleged negligence from being a proximate cause. See Lux, 887 A.2d at 1287.

       Pennsylvania courts have refused to hold that proximate causation exists when the alleged

tortfeasor is separated from the alleged tort victim by a lengthy chain of parties defrauded by

another. In Commerce Bank/Pennsylvania v. First Union Nat. Bank, 911 A.2d 133 (Pa Super.

2006), Commerce Bank alleged that First Union had allowed a third party to operate a check-kiting

scheme and negligently failed to report the scheme or close the account. Id. at 135. Based on the

existence of the First Union account, Commerce Bank allowed the third party to open a new

account, through which the third party harmed Commerce Bank by engaging in a similar check-

kiting scheme. Id. The Pennsylvania Superior Court rejected Commerce Bank’s argument that

First Union’s negligence was the proximate cause of its harm, finding it “unduly speculative” and

noting that such a theory “stretches the concepts of proximate cause and individual responsibility

beyond the breaking point.” Id. at 142. The Court found that First Union’s actions were merely

one minor factor in a long, attenuated chain of events leading to Commerce Bank’s harm, citing
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other significant factors that contributed to the harm such as (1) the perpetrator’s decision to open

an account; (2) Commerce Bank’s decision to approve the new account without sufficient

investigation; (3) the perpetrator’s fraudulent activity; and (4) Commerce Bank’s own failure to

detect the fraud any earlier.

       The reasoning from Commerce Bank/Pennsylvania applies with even greater force here

because ECFMG’s alleged negligence was just one minor factor separated from Plaintiffs’ alleged

injuries by a lengthy and attenuated causal chain, which included: (1) Dr. Akoda’s decisions to

apply for residency programs, state licenses, board certifications, and medical privileges; (2) the

negligence of these independent third parties in providing him with these licenses and privileges;

(3) Dr. Akoda’s fraudulent and criminal activity that allegedly harmed Plaintiffs and triggered the

involvement of law enforcement (who instructed ECFMG to not take adverse action against Dr.

Akoda while their criminal investigation proceeded); and (4) Plaintiffs’ consent to treatment.

Accordingly, as a matter of law ECFMG’s alleged breach cannot be a proximate cause of any harm

Plaintiffs allege—its conduct is far too remote and Plaintiffs’ theory of causation is far too

speculative. See Commerce Bank/Pennsylvania, 911 A.2d at 142; see Schwartz, Remoteness

Doctrine, at 426 (noting that the remoteness doctrine bars liability as a matter of law “most

frequently in cases involving attenuated harms”).

IV.    There Is No Evidence That Any Alleged Breach of Duty by ECFMG Was a But-For
       Cause of Plaintiffs’ Emotional Distress.

       But-for causation represents a critical connection between the breach of the alleged

tortfeasor and the injury of the alleged tort victim. It requires “proof that the alleged injury would

not have occurred but for the negligent conduct of the defendant.” Sutcliffe v. Bernese, No. 4:19-

CV-00317, 2019 WL 3776560, at *3 (M.D. Pa. Aug. 12, 2019); see Gen. Refractories Co. v. First

State Ins. Co., 855 F.3d 152, 161 (3d Cir. 2017) (“Cause in fact or ‘but for’ causation provides that

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if the harmful result would not have come about but for the negligent conduct then there is a direct

causal connection between the negligence and the injury.” (quoting First v. Zem Zem Temple, 686

A.2d 18, 21 n.2 (Pa. Super. 1996))). Here, Plaintiffs have failed to present evidence from which a

jury could reasonably conclude that any Plaintiff would not have suffered emotional distress absent

some specific act or omission by ECFMG that breached a duty to Plaintiffs.

       There is no evidence, for example, that ECFMG’s alleged breach—as opposed to

sensationalized and factually incorrect reports from media outlets or Plaintiffs’ counsel—caused

Plaintiffs to hold the mistaken beliefs underlying their emotional distress. Plaintiffs’ alleged

injuries arise from their mistaken beliefs regarding whether Dr. Akoda was a “real doctor,” whether

Dr. Akoda was validly licensed to practice medicine, and whether Dr. Akoda had medical training.

See, e.g., ¶ 169 (“fake doctor”); ¶ 216. In truth, it is undisputed that Dr. Akoda completed a

residency program at Howard, was licensed to practice medicine, was board certified, and

maintained hospital privileges. ¶ 74, 76, 87, 90, 93. Plaintiffs’ alleged injuries also arise from their

mistaken belief that ECFMG was a government agency that licensed Dr. Akoda to practice

medicine without conducting a full background check. ¶¶ 214–15 In reality, ECFMG is not a

government agency, did not license him to practice medicine, and was not responsible for

background checking him. ¶¶ 8, 9, 25. To the extent that any Plaintiff suffered compensable

emotional distress, it arose from misunderstandings for which ECFMG bears no responsibility,

and not from ECFMG’s conduct.

       There is similarly no evidence that if ECFMG had referred Dr. Akoda to the MECC on

allegations of irregular behavior, then Plaintiffs would not have been injured. ECFMG’s witnesses

testified consistently that despite documented suspicions about Dr. Akoda, they did not have

enough information to warrant an irregular behavior referral. ¶ 69. The contemporaneous

documentary evidence confirms that they lacked the kind of evidence needed to initiate irregular
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behavior proceedings. ¶ 69. Plaintiffs can only speculate that a referral to the MECC would have

ultimately led the MECC to conclude that Dr. Akoda engaged in irregular behavior and that the

appropriate sanction for that irregular behavior would have been revocation of his ECFMG

Certificate such that he would not have practiced medicine. On this record, no reasonable jury

could find as much.

       Nor is there evidence that any legally required additional investigation or disclosures by

ECFMG would have prevented Plaintiffs’ injuries. ECFMG’s investigation of Dr. Akoda was

reasonable. It included contacting Dr. Akoda and third parties, as well as analyzing its own

documents. ECFMG had received only limited information about Dr. Akoda from JSMC, some of

which proved to be false and undermined the credibility of JSMC’s allegations against Dr. Akoda.

ECFMG is not a law enforcement agency and does not have subpoena power. It took at least 20

months of investigation by professional law enforcement to indict Dr. Akoda. Moreover, ECFMG

has no legal basis to communicate unfounded suspicions about applicants to third parties because

it has been found that individuals subject to irregular behavior proceedings must be afforded due

process. See supra. And even if ECFMG had communicated its suspicions to third parties, there is

no evidence that other institution would have acted differently or prevented Dr. Akoda from

treating Plaintiffs. Both law enforcement and the Maryland Board of Physicians unquestionably

knew of allegations concerning Dr. Akoda in 2014—before he treated Ms. Russell and Ms.

Evans—and they took no action to stop him from practicing medicine.

V.     Plaintiffs Consented to Treatment by Dr. Akoda, and the Alleged Misrepresentations
       Did Not Vitiate That Consent.

       Summary judgment should also be granted because Plaintiffs consented to have their

babies delivered by Dr. Akoda, and any misrepresentation about Dr. Akoda’s name or use of Social

Security numbers did not vitiate that consent. It is undisputed that Dr. Akoda had a medical license

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when he provided Plaintiffs with medical treatment. ¶¶ 76, 83. It is further undisputed that

Plaintiffs actually consented to having their babies delivered by Dr. Akoda. ¶¶ 105, 136, 166, 191.

Plaintiffs do not contend that Dr. Akoda exceeded the scope of consent by, for example,

performing the wrong medical procedure. As a general matter, “consent is effective for all

consequences of [an actor’s] conduct.” Restatement (Second) of Torts § 892B(1); see also id. § 55

(including the “harmful or offensive character” of the conduct). Plaintiffs cannot recover for any

alleged injuries arising from their receipt of medical treatment to which they consented.

       Recognizing that their claims are viable only if they can avoid the consequences of their

consent, Plaintiffs may argue that Dr. Akoda’s misrepresentations rendered their consent

ineffective. But it is black-letter law that not all misrepresentations vitiate consent. Consent is

ineffective only if it is induced “by a substantial mistake concerning the nature of the invasion of

his interests or the extent of the harm to be expected from it,” Restatement (Second) of Torts

§ 892B, or by “the harmful or offensive character of a contact,” Restatement (Second) of Torts

§ 55. These situations are not present here. Dr. Akoda had a medical license, was Board certified,

and was employed by a hospital that provided care to Plaintiffs. That care—which resulted in

positive outcomes for Plaintiffs and their babies—is the care to which Plaintiffs consented.

       That Plaintiffs believe Dr. Akoda should not have been licensed to practice medicine

because of misrepresentations made to licensing authorities (and ECFMG) about his name and

Social Security number does not vitiate their consent. Courts have uniformly held that

misrepresentations like Dr. Akoda’s—including those concerning the experience or credentials of

a licensed physician—do not vitiate consent. Taylor v. Johnston is directly on point. 985 P.2d 460

(Alaska 1999). There, as here, a patient alleged that consent to treatment was ineffective because

of the physician’s fraudulent actions in obtaining a medical license. Id. at 464. The Alaska Supreme

Court held that these actions did not vitiate consent: “[I]f a plaintiff could bring a fraud claim by
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simply alleging a licensed physician was not properly licensed, nearly every medical negligence

action would include a fraud claim.” Id. at 465. Like Taylor, Plaintiffs have no claim because they

were “not treated by someone who was falsely represented himself as licensed.” Id. This reasoning

is sound and should be followed by this Court.

       Any number of cases, both in Pennsylvania and elsewhere, have reached consistent results.

See Duttry v. Patterson, 771 A.2d 1255, 1259 (Pa. 2001) (“[I]nformation personal to the physician,

whether solicited by the patient or not, is irrelevant to the doctrine of informed consent.”); Prince

v. Esposito, 628 S.E.2d 601, 604 (Ga. App. 2006) (holding that “a medical professional has no

duty to disclose negative information about his personal life to patients,” even if “the patient

testifies that he or she would have sought treatment elsewhere upon discovering the information”);

Rice v. Brakel, 310 P.3d 16, 20 (Ariz. App. 2013) (declining to “expand medical battery to a

situation in which the surgeon fully explains the procedure and obtains consent, but fails to disclose

some other potential issue”); Albany Urology Clinic, P.C. v. Cleveland, 528 S.E.2d 777, 778 (Ga.

2000) (“[A]bsent inquiry by a patient or client, there is neither a common law nor a statutory duty

on the part of either physicians or other professionals to disclose to their patients or clients

unspecified life factors which might be subjectively considered to adversely affect the

professional’s performance.”).

       Plaintiffs consented to medical treatment by someone licensed to practice medicine and

with medical training. They received just that. Each Plaintiff emerged from their pregnancy healthy

and with a healthy child. Any misrepresentation by Dr. Akoda in connection with his credentialing

process did not concern the character of his contact with Plaintiffs, and Plaintiffs’ contention that

Dr. Akoda should not have been licensed to practice medicine—at best, an issue for licensing

boards, not ECFMG—does not vitiate their consent or give rise to a claim.



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VI.    There Is No Evidence That Plaintiffs Experienced Compensable Emotional Distress.

       “Physical injury must be averred to sustain a cause of action for negligent infliction of

emotional distress.” Armstrong v. Paoli Mem'l Hosp., 633 A.2d 605, 609 (Pa. Super. 1993); see

Toney v. Chester Cty. Hosp., 961 A.2d 192, 200 (Pa. Super. 2008), aff'd, 36 A.3d 83 (Pa. 2011)

(“the plaintiff must have experienced physical injury as a result of having been exposed to the

traumatic event”). “Temporary fright, nervous shock, nausea, grief, rage, and humiliation if

transitory are not compensable harm; but, long continued nausea or headaches, repeated hysterical

attacks or mental aberration are compensable injuries.” Armstrong, 633 A.2d at 609. Summary

judgment is warranted unless Plaintiffs present record evidence that they experienced physical

injury such as “symptoms of severe depression, nightmares, stress and anxiety, requiring

psychological treatment, and ... ongoing mental, physical and emotional harm.” Love v. Cramer,

606 A.2d 1175, 1179 (Pa. Super. 1992); see Armstrong, 633 A.2d at 609 (“depression, nightmares,

nervousness, insomnia and hysteria”).

       Here, Plaintiffs have presented no evidence of cognizable physical injury. Plaintiffs offer

only generalized averments that they have experienced emotions. See, e.g., ¶ 170 (“angry”); ¶ 170

(“sad”); ¶ 170 (“embarrassed”); ¶ 170 (“ashamed”); ¶ 208 (“distrust”); ¶ 148 (lacking “peace of

mind”). But “[t]he law is not the guarantor of an emotionally peaceful life. Tort law cannot protect

any of us from the emotional slings and arrows of daily living. Not every mistake that happens

will be legally cognizable.” Armstrong, 633 A.2d at 615. Plaintiffs even expressly disclaim both

physical injuries and a variety of psychological issues. See, e.g., ¶ 174 (physical injury); ¶ 202

(PTSD); ¶ 201 (anxiety). On this record, no reasonable jury could find that Plaintiffs experienced

physical manifestations as a result of their alleged emotional distress that could support a recovery.

       Ms. Evans is the only Plaintiff who sought mental health treatment after suffering her

alleged emotional distress. But her emotional distress preceded any knowledge of Dr. Akoda’s
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guilty plea. She suffered from emotional disturbances long before she learned the information that

supposedly precipitated the emotional distress for which she seeks to recover. ¶ 116. Indeed, the

record shows that her emotional distress preceded even her treatment by Dr. Akoda. ¶ 116. It is

common sense that Ms. Evans’ emotional distress could not have been avoided by an alternative

course of conduct by ECFMG when it predated any causal chain that traces back to ECFMG.

       Ms. Russell claimed to experience back pain around the time that she learned of Dr.

Akoda’s alias. ¶ 217. But she admitted that she does not know if the back pain was attributable to

her alleged emotional distress. ¶ 217. Other than her equivocal testimony, there is no evidence of

physical harm. On this record, no reasonable jury could conclude that her back pain was

attributable to ECFMG’s conduct or at all related to her emotional distress.

VII.   The Claims of Plaintiffs Evans and Powell Are Barred By Limitations.

       Summary judgment should also be granted because the claims of Ms. Evans and Ms.

Powell are time-barred. Plaintiffs’ claims are subject to Pennsylvania’s two-year statute of

limitations. See Erisoty v. Rizik, No. 93-6215, 1995 WL 91406, at *10 n.4 (E.D. Pa. Feb. 23, 1995)

(applying 42 Pa. C. S. § 5521(b) to hold that Pennsylvania’s two-year statute of limitations—rather

than Maryland’s three-year statute of limitations—applies in a diversity action). “For tort actions,

the general rule in Pennsylvania is that the statute begins to run when the cause of action arises, as

determined by the occurrence of the final significant event necessary to make the claim suable.”

P.J.A. v. H.C.N., 156 A.3d 284, 291 (Pa. Super. 2017); see also Moore v. McComsey, 459 A.2d

841, 844 (Pa. Super. 1983). What matters is “when a plaintiff is harmed and not when the precise

amount or extent of the damages is determined.” Adamski v. Allstate Ins. Co., 738 A.2d 1033, 1042

(Pa. Super. 1999); see also Pearce v. Salvation Army, 674 A.2d 1123 (Pa. Super. 1996) (holding

that the statute of limitations begins to run “when the injured party possesses sufficient crucial



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facts to put [her] on notice that a wrong has been committed and that [s]he need investigate to

determine whether [s]he is entitled to redress.”).

        Ms. Evans and Ms. Powell believed that they suffered an injury at the time of their

treatment by Dr. Akoda. As a result, even if they did not know the full extent of their alleged harm,

the statute of limitations began running at the time of treatment.

        Ms. Evans testified that even before Dr. Akoda assisted with her delivery in March 2016,

she believed he was unprofessional because he performed intrusive pelvic examinations and used

inappropriate language. ¶ 11. Ms. Evans also testified that she (and her husband and mother) were

suspicious of Dr. Akoda during the delivery in March 2016 after Dr. Akoda allegedly manipulated

her clitoris and claimed it would help with labor. ¶ 115. In other words, Ms. Evans testified that

she was aware that a wrong had been committed against her at the time of treatment in March

2016. Her statute of limitations for any claims based on treatment by Dr. Akoda thus began running

at that point in time. Ms. Evans did not file suit until November 2018, more than eight months

after the statute of limitations had run.

        Ms. Powell was treated by Dr. Akoda from April 2014 to January 2015. ¶ 137. She testified

that during that time, Dr. Akoda was flirtatious, made lewd comments, and performed intrusive

pelvic examinations. ¶ 138. At one point, she claimed to be so uncomfortable with Dr. Akoda’s

behavior that she asked for a nurse to be present in the room during examinations. ¶ 139. Then,

she experienced post-partum bleeding that required Dr. Akoda to perform emergency surgery, at

which time Dr. Akoda allegedly told her, “I’m sorry, I should have detected it sooner, I’m so sorry,

we’re getting the O.R. ready for you.” ¶ 145. According to her testimony Ms. Powell was aware

that she had suffered a wrong at the time of treatment. Her statute of limitations thus began running

in January 2015. She had to file suit by January 2017, but she did not file suit until November

2018. Her claims are therefore time-barred.
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       Recognizing this issue, Plaintiffs frame their claims as arising from emotional distress they

suffered upon learning of Dr. Akoda’s guilty plea (which seems to bring the claims just within the

statute of limitations). But this formulation does not save Plaintiffs’ time-barred claims because

Ms. Evans and Ms. Powell were already aware of harm they felt as a result of their treatment.

       Nor does the discovery rule save Plaintiffs’ claims. To benefit from the discovery rule,

plaintiffs must show they made reasonable efforts to protect their interests and explain why they

were unable to discover the operative facts necessary to plead their claims before the limitations

period expired. See Bickell v. Stein, 435 A.2d 610, 612 (Pa. Super. 1981). There is no evidence in

the record indicating that Ms. Evans or Ms. Powell made reasonable efforts to protect their interests

so as to trigger the discovery rule. And the Pennsylvania Supreme Court has repeatedly stressed

that Pennsylvania follows an inquiry notice approach tying “commencement of the limitations

period to actual or constructive knowledge of at least some form of significant harm and of a

factual cause linked to another’s conduct, without the necessity of notice of the full extent of the

injury, the fact of actual negligence, or precise cause.” Rice v. Diocese of Altoona-Johnstown, 255

A.3d 237, 247 (Pa. 2021) (internal citations and quotes omitted). Where a plaintiff has knowledge

of a cause of significant harm, she is on inquiry notice regarding other potentially liable actors as

well. Id. at 251. Here, Ms. Riggins and Ms. Powell were aware that Dr. Akoda’s treatment had

allegedly harmed them. The statute of limitations began to run at that time, and their claims are

time-barred as a result.

                                         CONCLUSION

       For these reasons, this Court should grant summary judgment for ECFMG.




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Dated: December 10, 2021                /s/ Brian W. Shaffer
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                                        Foreign Medical Graduates




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: December 10, 2021                      /s/ Brian W. Shaffer
                                              Brian W. Shaffer




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                  Civil Action No. 18-5629
                  Plaintiffs,
                                                  Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                  Defendant.



                                  [PROPOSED] ORDER

       AND NOW, this __ day of ________ 2022, upon consideration of Defendant Educational

Commission for Foreign Medical Graduates’ Motion for Summary Judgment and any response

thereto, IT IS HEREBY ORDERED that Defendant’s Motion for Summary Judgment is

GRANTED. The Clerk of the Court shall enter judgment in favor of Defendant Educational

Commission for Foreign Medical Graduates and against Plaintiffs.




                                                  BY THE COURT:


                                                  _______________________________
                                                                    Wolson, J.




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                   Civil Action No. 18-5629
                  Plaintiffs,
                                                   Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                  Defendant.


    DEFENDANT’S MOTION TO EXCLUDE THE OPINIONS AND ANTICIPATED
        TESTIMONY OF PLAINTIFFS’ EXPERT DR. ANNIE STEINBERG

       For the reasons set forth in the attached memorandum of law, Defendant Educational

Commission for Foreign Medical Graduates, by and through its undersigned counsel, moves to

exclude the opinions and anticipated testimony of Plaintiffs’ expert Dr. Annie Steinberg pursuant

to Federal Rules of Evidence 702, 703, and 403, and Daubert v. Merrell Dow Pharmaceuticals,

Inc., 509 U.S. 579 (1993).


 Dated: December 10, 2021                        Respectfully submitted,

                                                 /s/ Brian W. Shaffer
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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.


DATED: December 10, 2021                      /s/ Brian W. Shaffer
                                              Brian W. Shaffer




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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                         Civil Action No. 2:18-cv-5629
               Plaintiffs,
                                         Honorable Joshua D. Wolson
     v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

               Defendant.



    DEFENDANT EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
   GRADUATES’ MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
      EXCLUDE THE OPINIONS AND ANTICIPATED TESTIMONY OF
             PLAINTIFFS’ EXPERT DR. ANNIE STEINBERG




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I.      INTRODUCTION

        In an attempt to bolster their claims, Plaintiffs have put forth a psychiatrist, Dr. Annie

Steinberg, who aggregated responses to a questionnaire that she put together, which Plaintiffs’

Counsel sent to the named Plaintiffs and certain absent class members. Based on the responses

received, Dr. Steinberg takes an extraordinary leap and tries to purportedly “outline the degree to

which women treated by ‘Dr. Akoda’ report [to] have suffered as a result of his actions and the

agents that enabled him to practice medicine and surgery” and “opine on current psychological

issues that relate to the subject incidents and their consequences.” Exhibit 1, Steinberg Expert

Report (“Steinberg Rep.”) at 1.

        Dr. Steinberg’s questionnaire, and the opinions and testimony she purports to offer based

on the responses, are inadmissible under Federal Rules of Evidence 702 and 703 and Daubert v.

Merrell Dow Pharm., 509 U.S. 579 (1993). First, Dr. Steinberg is not qualified to develop or

administer a scientifically valid survey that would be necessary to support the conclusions she

offers. Second, and more fundamentally, she did not generate or conduct such a valid survey in

this matter: the questionnaire she created and the responses she collected are unreliable based on

principles of survey methodology. Third, given the flawed methodology associated with the

questionnaire, the sweeping opinions Dr. Steinberg offers and the cherry-picked statistics she

calculates from the responses are wholly unreliable and not useful in evaluating the claims in this

case.

        In addition, Dr. Steinberg’s testimony would be highly prejudicial and inappropriate under

Federal Rule of Evidence 403. Despite claiming that she was asked by Plaintiffs’ counsel for a

“forensic psychiatric consultation . . . to assess the potential damages, if any, that class members

may have experienced concerning the actions of ‘Dr. Akoda’” (Steinberg Rep. at 3), Dr. Steinberg

admits that she did not conduct individual evaluations of any of the putative class members, nor



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would it be possible to do a “group” diagnosis of them. Accordingly, any psychiatric opinions Dr.

Steinberg offers about the anonymous respondents do not stem from a recognized diagnostic

methodology. Moreover, while Federal Rule of Evidence 703 allows experts to rely on hearsay if

trustworthy and normally employed by experts in the field, the hearsay narratives Dr. Steinberg

pulls from the unreliable questionnaire responses plainly do not meet this standard, and experts

cannot simply serve as conduits for hearsay, as Dr. Steinberg proposes to do by parroting survey

responses.

II.    BACKGROUND

       A.      Factual and Procedural History

       ECFMG knows the Court is familiar with the background and status of this matter. In

November 2016, Dr. John Nosa Akoda pleaded guilty to misuse of a Social Security number and

stipulated that another name that he used was Oluwafemi Charles Igberase. Both John Nosa Akoda

and Oluwafemi Charles Igberase were the names of applicants to ECFMG, a Philadelphia-based

private non-profit organization that promotes quality health care for the public, by, among other

things, certifying that eligible graduates of international medical schools have met certain

minimum requirements for entry into U.S. graduate medical education (usually residency

programs).

       ECFMG revoked its certification of Oluwafemi Charles Igberase when ECFMG learned

that he had misrepresented his application history in an effort to wipe clean his record of failed

examinations. After losing his certification under the name Dr. Igberase, the doctor applied for and

received ECFMG certification under the name John Nosa Akoda. Dr. Akoda then completed a

residency program at Howard University and obtained medical licenses from Maryland and

Virginia.




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       The named Plaintiffs are former patients seen by Dr. Akoda, either as their regular

obstetrician/gynecologist or as the doctor “on-call” at the hospital when they gave birth. Compl.,

ECF 1. After learning of Dr. Akoda’s criminal conviction, Plaintiffs filed suit in Maryland against

the Prince George’s Hospital System and Dr. Akoda’s practice. Later, Plaintiffs pivoted, dismissed

that case and filed this one as a putative class action, changing theories of liability and asserting

that ECFMG was negligent in its certification and investigation of Dr. Akoda, and that ECFMG’s

actions directly caused them to suffer emotional distress upon learning of Dr. Akoda’s conduct.

       ECFMG files this Daubert motion contemporaneously with its Supplemental Brief in

Opposition to Class Certification, Motion for Summary Judgment as to the named Plaintiffs, and

Daubert motion directed at Plaintiffs’ “credentialing experts,” Drs. David Markenson, John

Charles Hyde, and Jerry Williamson.

       B.      Dr. Steinberg’s Questionnaire

       In order for the Court to perform its gatekeeping function and assess the admissibility of

Dr. Steinberg’s opinions, some background on the questionnaire that she generated is necessary.

According to Dr. Steinberg, Plaintiffs engaged her for “forensic psychiatric consultation . . . to

assess the potential damages, if any, that class members may have experienced concerning the

actions of ‘Dr. Akoda.’” Steinberg Rep. at 3. As part of this engagement, she designed a sixty-item

questionnaire that was then distributed to putative class members by Plaintiffs’ counsel. Id. The

questionnaire was in large part adapted from a prior questionnaire she designed with anthropologist

Girija Kaimal, clinical psychologist Elizabeth Hembree, and an unnamed Drexel professor for a

case involving a rabbi alleged to have videotaped women participating in a ceremonial cleansing

ritual without their knowledge. Exhibit 2, Steinberg Deposition Transcript (“Steinberg Tr.”),

Steinberg Tr. 29:15–30:5; 52:23–53:7. The purpose of that prior questionnaire was to assist with

a mediation and the apportionment of a potential lump sum financial settlement among the


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different women involved. Exhibit 3, October 11, 2019 Email from B. Ceryes to E. McEnroe. Dr.

Steinberg did not reach out to her collaborators from the earlier case—whose questionnaire she

based this one on—to assess (or assist with) her adaption of the questionnaire because “[she] used

the same methodology and versions of the same questionnaire and [she] felt very comfortable with

what [they] had developed before and this was an adaptation of that.” Steinberg Tr. 52:20–53:20.

       Dr. Steinberg performed very little independent background investigation into the

allegations in this case, obtaining information for the factual background portion of her report from

(1) a letter Plaintiffs’ counsel drafted containing their description of the case, on which she “relied

heavily;” (2) the Complaint; (3) two of the four named Plaintiffs’ deposition transcripts; and (4)

the deposition transcript of one ECFMG representative (that she “perused”). Steinberg Tr. 75:22–

76:10, 80:24–81:12. During the development and administration of the questionnaire, Dr.

Steinberg worked with Lisa Bain, a “science writer” who does not appear to have any degrees in

marketing or survey methodology. Steinberg Tr. 50:7–54:16. Dr. Steinberg also worked with

Stephen Ehrlich, an information technology consultant who set up a website that hosted the

questionnaire and formatted the questionnaire so that participants “would not be intimidated by

it.” Steinberg Tr. 58:18–60:7.

       About her work, Dr. Steinberg noted that “there was so much information in a very short

time. It was a very crazy time.” Steinberg Tr. 80:24 – 81:12. Given the extremely short turnaround

time (id. at 93:18-24) Dr. Steinberg relied on Ms. Bain as an “extender” of herself, helping to draft

and edit both the questionnaire and report. Steinberg Tr. 50:7–53:14. While Ehrlich helped Bain

and Dr. Steinberg extract spreadsheets and pie charts from some of the questionnaire responses to

support Dr. Steinberg’s statistical analyses, there was not enough time for him to do so for every

question. Steinberg Tr. 54:19-55:6. Also, although her team left the questionnaire open for




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additional responses, she did not review any responses that may have come in after her pre-

determined cutoff date. Steinberg Tr. 94:21–95:5; Exhibit 4, Emails0003 (indicating that

respondents had less than a week from when they were notified of the questionnaire to complete

it). Dr. Steinberg had only ten days from the cutoff date to analyze the results and draft her report.

       The questionnaire was sent to 575 individuals who were “presumed” to be Dr. Akoda’s

patients because they are purportedly represented by Plaintiffs’ counsel in this matter. Steinberg

Rep. at 4. Dr. Steinberg then analyzed 305 questionnaires that were completed, including 131

summary statements that accompanied these questionnaires. Id. The respondent population

included a significant portion of under-privileged patients; 73% responded that they were on

Medicaid when they were treated by Dr. Akoda. Steinberg Rep. at 5.

       C.      Dr. Steinberg’s Report and Opinions

       Dr. Steinberg contends that this questionnaire and her assessment of the responses “outline

the degree to which women treated by ‘Dr. Akoda’ report [to] have suffered as a result of his

actions and the agents that enabled him to practice medicine and surgery” and allow her to opine

on “current psychological issues that relate to the subject incidents and their consequences.”

Steinberg Rep. at 1. From the responses she received on her questionnaire, Steinberg draws the

following conclusions:

      “The misconduct of Oluwafemi Charles Igberase (fraudulently known as Dr. Akoda) has
       resulted in varying degrees of confusion, anxiety, depression, avoidance and fear of
       medical caregivers, and the loss of trust in medical providers and health care institutions;
       for some even more broadly applied.” Steinberg Rep. at 21.

      “The consistency and intensity of the narrative content across three hundred women both
       affirms the veracity of the histories and reported symptoms experienced as a result of
       learning of their doctor’s fraudulent activities.” Steinberg Rep. at 21.

Dr. Steinberg provides rudimentary statistical analyses of responses for a limited number of the

questions. Steinberg Rep. at 5–10; Steinberg Tr. 54:21–55:16. Dr. Steinberg also directly copies



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some language verbatim from the questionnaire responses into her report, despite the fact that she

did not directly interview these individuals, does not know who they are, and did not have the

opportunity to pose follow-up questions to assess the meaning or significance of the responses.

Steinberg Rep. at 10–20. She concludes that verbatim snippets from the responses are consistent

with alleged boundary violations by Dr. Akoda, and disrespect for patients, betrayal of trust, and

patients’ emotional distress—all despite admitting that she did not diagnosis any of these

individuals nor would a group diagnosis even be possible. Steinberg Rep. 10–20; Steinberg Tr. 44:

20–24 (“I would never diagnose somebody on the basis of a response to a questionnaire”), 45:1–7

(“It was never my intention to present psychiatric diagnoses of any individual women in this

matter”), 45:8–24 (finding it “laughable” or “unfathomable” that there could be a group diagnosis).

Despite Dr. Steinberg’s multiple acknowledgements of the limited scope of her report, see

Steinberg Rep. 4, 21, 22, she baldly concludes that: “the response rate and sample size would be

more than adequate to provide reasonable confidence intervals for the percentages of Plaintiffs in

each of several categories of damage severity.” Steinberg Rep. 4.

       D.      Reliable Survey Science Principles and ECFMG’s Rebuttal Expert Dr. Susan
               McDonald

       Dr. Steinberg’s approach—drawing conclusions about a broader universe of Dr. Akoda’s

patients from a small subset of responses—is an attempt, albeit a fundamentally flawed one, at a

recognized survey methodology. ECFMG engaged Dr. Susan McDonald, who has a doctoral

degree in social psychology and communications theory, to assess the merits and validity of Dr.

Steinberg’s questionnaire. Dr. McDonald has significant educational and professional experience

in survey science, a discipline focused on using survey measurement to learn details about a large

number of people based on a representative sample. Exhibit 5, Rebuttal Report of Dr. Susan

McDonald (“McDonald Rep.”) 3–4, 6. “A survey collects data from a representative subset based



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on the premise that when properly sampled and correctly interviewed, that small set of individuals

can enable us to draw accurate conclusions about the broader universe.” McDonald Rep. at 6. Dr.

McDonald draws a distinction between surveys and qualitative studies, noting that qualitative

studies with a majority of open-ended questions require “improvisation and proving based on the

particular answers,” as opposed to surveys which require no improvisation in order to be able to

derive sample statistics to apply to a broader population. Id. She notes that to assess a survey’s

validity, one should look to: (1) the reliability of the sampling; (2) the validity of the design; and

(3) the interpretation and analysis of the survey responses. McDonald Rep. at 7.

       Dr. McDonald has expertise in survey design, implementation, analysis, and interpretation

based on her graduate training in social sciences, as well as professional experience using survey

research to consult on product development, brand strategy, and other strategic marketing

activities. McDonald Rep. 2–3, App. A. In sharp contrast to Dr. McDonald’s credentials and

experience, Dr. Steinberg recounted no specific experience with traditional surveys; had difficulty

remembering whether her past work was survey or interview-based; had difficulty explaining the

difference between an interview and survey; does not have any degrees related to survey design;

and admitted that she did not consult with any literature on surveys and survey design for her work

on this matter. Steinberg Tr. 18:23–19:22; 43:7–44:15; 46:11–47:8; 49:14–19.

       E.      Plaintiffs’ Belated Production of Supporting Materials for Dr. Steinberg’s
               Report

       Plaintiffs’ disclosure of Dr. Steinberg’s supporting materials of her report to ECFMG was

delayed and deficient. For example, Plaintiffs did not even produce the final questionnaire that

was completed by the respondents until after Dr. Steinberg’s deposition. See Ex. 3 Oct. 11, 2019

Email from B. Ceryes to E. McEnroe. Furthermore, raw malleable data associated with the

responses was not produced until six weeks after the rebuttal expert’s deadline had passed (and,



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more importantly more than nine weeks after Dr. Steinberg completed her analysis and report).

See Exhibit 6 Dec. 1, 2019 Email from B. Ceryes to E. McEnroe. As ECFMG’s rebuttal expert,

Dr. McDonald, explained, Dr. Steinberg’s “claim not to have such a database at her disposal is

highly unusual insofar as survey programs produce readily manipulated databases as a matter of

course.” McDonald Rep. 5.

III.   LEGAL STANDARD

       Rule 702 of the Federal Rules of Evidence allows for the testimony of expert witnesses

only if “(a) the expert’s scientific, technical, or other specialized knowledge will help the trier of

fact to understand the evidence or to determine a fact in issue; (b) the testimony is based on

sufficient facts or data; (c) the testimony is the product of reliable principles and methods; and (d)

the expert has reliably applied the principles and methods to the facts of the case.” Fed. R. Evid.

702. The Third Circuit has explained that Rule 702 imposes various requirements on proponents

of expert testimony centered around “qualification, reliability and fit.” Schneider ex rel. Estate of

Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003). The proponent of expert testimony has the

burden of establishing that it meets these requirements by a preponderance of proof. See Oddi v.

Ford Motor Co., 234 F.3d 136, 144 (3d Cir. 2000).

       In Daubert v. Merrell Dow Pharmaceuticals, the United States Supreme Court held that

Rule 702 requires a court to examine any proffered expert testimony for reliability, methodology,

and connection between the data and the expert’s conclusion. 509 U.S. 579 (1993). More

specifically, Daubert provided five factors to guide a district court in its assessment of these

requirements: (1) whether the methodology can and has been tested; (2) whether the technique has

been subject to peer review and publication; (3) the known or potential rate of error of the

methodology; (4) the existence and maintenance of standards controlling the technique’s




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operation; and (5) whether the technique has been generally accepted in the proper scientific

community. See id. at 593-94.

       The Third Circuit has enumerated three additional factors that courts may consider in

assessing the admissibility of expert reports and testimony, including: (1) the relationship of the

technique to methods that have been established to be reliable, (2) the expert witness’s

qualifications, and (3) the non-judicial uses to which the method has been put. See In re Paoli R.R.

Yard PCB Litig., 35 F.3d 717, 742 n.8 (3d Cir. 1994). District courts must act as “gatekeeper[s]”

for all expert testimony. Kumho Tire Co. v. Carmichael, 526 U.S. 137, 145 (1999).

       Rule 703 of the Federal Rules of Evidence governs the admissibility of the facts or data

that an expert bases his or her opinion on and applies the same reliability standard as Daubert. See

In re Paoli, 35 F.3d at 748–49, n. 18. In addition, an expert can only rely on facts and data that is

otherwise inadmissible if “experts in the particular field would reasonably rely on those kinds of

facts or data in forming an opinion on the subject.” Fed. R. Evid. P. 703.

IV.    ARGUMENT

       Dr. Steinberg’s questionnaire, responses, and opinions should be excluded because they do

not meet the requirements of Federal Rules of Evidence 702 and 703. See also Citizens Fin. Grp.

v. Citizens Nat. Bank of Evans City, 383 F.3d 110, 121-22 (3d Cir. 2004) (affirming exclusion of

not only an expert’s opinion but also the survey and responses underlying the expert’s opinion for

failure to meet requirements of Federal Rule of Evidence 702 and Rule 403 concerns).

       In particular: (1) Dr. Steinberg does not have the qualifications to develop, administer, and

interpret a reliable survey methodology; (2) her questionnaire is unreliable; and (3) her opinions

developed from the questionnaire and responses lack the necessary fit to be useful to a fact finder.




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       A.      Dr. Steinberg Is Not Qualified to Perform a True, Reliable Survey.

       Because Dr. Steinberg lacks the qualifications to develop, administer, and interpret a

reliable questionnaire or scientific survey, her opinions and questionnaire in this case should be

excluded. Her experience is in qualitative interviews, not surveys or questionnaires. When asked

whether any of her experience was with traditional surveys Dr. Steinberg did not identify any and

instead responded: “Well, let’s see. I believe – I honestly don’t remember. Isn’t that terrible?”

Steinberg Tr. 20:7–9. She was transparent about the fact that she did not have any degrees related

to survey design and she would not be able to lecture and teach other individuals on survey design:

      I don’t know that that – you know, that I can profess to give you a lecture on sound
      survey design. I just can tell you that I studied it like – like if you asked me, you know,
      the basis for a psychiatric interview, I suppose because I’m a forensic psychiatrist I
      would have to be able to provide that for you, but I don’t have any degrees in survey
      design and I don’t know that I would want to make a feeble effort at articulating that for
      you. I – I only know that I’ve studied it and that I’ve learned from smart people and
      someplace it’s in the soup. You know, it’s mixed in the – it’s in the blend of what I have
      come to understand and to have learned from very good teachers.

Steinberg Tr. 46:11-47:8.

       Dr. Steinberg’s past experience with qualitative interviews does not make her qualified to

conduct a survey supporting the opinions she tries to offer. When an expert is “not sufficiently

familiar with the methodology used to design and administer the survey to [be able to] opine that

it was ‘conducted according to accepted principles’ and reliable,” it is appropriate to exclude that

expert’s opinion. In re ConAgra Foods, Inc., 90 F. Supp. 3d 919, 951-52 (C.D. Cal. 2015) (citing

In re TMI Litigation Cases Consolidated II, 922 F. Supp. 1038, 1046-48 (M.D. Pa. 1996)). Here,

Dr. Steinberg’s methodology was based off another team’s questionnaire used in a different case

for a very different purpose (settlement and apportionment of damages)—yet she did not consult

with that team (or similar survey experts) on this case to see if the same methodology was




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appropriate for the opinions she purports to offer here. Steinberg Tr. 52:23–53:20. This lack of

familiarity with the underlying methodology disqualifies Dr. Steinberg from opining on it.

       In fact, Dr. Steinberg concedes her lack of relevant expertise and that a polling expert might

be better at interpreting the results of a questionnaire. Steinberg Tr. 156:5–157:1; 159:2–3; 210:7

– 211:19 (admitting that the domain of her training is not in survey science and marketing and that

she did not consult experts on how surveys induce respondents to pick a certain response). While

Dr. Steinberg may be qualified to comment on certain areas of psychiatry, she admits she did no

independent medical evaluations (“IMEs”)1 here, Steinberg Tr. 156:5–157:1, and she admits that

she issued the questionnaire without meeting any of the women, examining their medical records,

or observing Dr. Akoda’s practices. Steinberg Tr. 99:19-100:6. As a result, she firmly states that

she was not diagnosing these questionnaire respondents and that a group diagnosis is not possible.

Steinberg Tr. 44: 20–24; 45:1–7; 45:8–24. Accordingly, even though she is a psychiatrist, she

cannot rely on the statements from the questionnaire responses, see Steinberg Rep. at 10–20, to

make an expert opinion on “the degree to which women treated by ‘Dr. Akoda’ report [to] have

suffered as a result of . . . agents that enabled him to practice medicine” and psychological issues

that stem from Dr. Akoda’s treatment. Steinberg Rep. at 1. These questionnaire responses would

be inadmissible hearsay, and they are not derived from a diagnostic method reasonably relied on

in forensic psychiatry. Pittsburgh Press Club v. United States, 579 F.2d 751, 755, 757 (3d Cir.

1978) (excluding flawed survey as “nothing more than compilation of hearsay,” opining that “[t]he

survey was no more than a summary and distillation of 281 extrajudicial declarations offered to

prove the truth of the matters asserted in those declarations”); see also Fed. R. Evid. 703



1
 Notably, both parties engaged experts to conduct IMEs of the four named Plaintiffs in this matter.
See ECF 32-1 at 10; ECF 39-26, 46-10. At this time, ECFMG is not moving to exclude Plaintiffs’
expert Dr. Tellefsen, who conducted one set of IMEs.


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(restricting experts from relying on inadmissible facts or data when the contested facts or data are

not reasonably relied on in that particular field).

       Accordingly, Dr. Steinberg was not qualified to conduct this questionnaire, as is required

by both Daubert and Third Circuit case law on the admissibility of surveys. See Pittsburgh Press

Club, 579 F.2d. at 758 (“[T]he persons conducting the survey must be experts.”). Nor does her

expertise in forensic psychiatry save her flawed methodology because she admits that her

questionnaire methodology is not a valid diagnostic tool.

       B.      Dr. Steinberg’s Questionnaire Methodology Is Unreliable Making the
               Responses She Received Inadmissible.

       Even if Dr. Steinberg were qualified in survey design and administration, her methodology

is deeply flawed and unreliable and thus inadmissible. One factor the Third Circuit has added to

the original five Daubert factors is the relationship of the challenged technique or methodology to

those methodologies and techniques that have been established as reliable. See In re Paoli., 35

F.3d at 742 n.8. Surveying, provided that the developed survey is consistent with generally

accepted principles, is one such reliable methodology to which Dr. Steinberg’s methods can be

compared. A review of valid survey methodology principles demonstrates that Dr. Steinberg has

not employed established and standard methods found to be reliable (as the fourth Daubert factor

requires); has not used a generally accepted technique to design and interpret her questionnaire

(inconsistent with the fifth Daubert factor); and has not used a method that would enable others to

test her hypotheses (inconsistent with the first Daubert factor).

       “The failure of a survey to comport with generally accepted survey principles, with the

results used in a statistically correct way, renders that survey inadmissible.” Evans v. Philadelphia

Hous. Auth., No. 93-5547, 1995 WL 154872, *5 (E.D. Pa. Mar. 31, 1995). This is important




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because these survey principles serve as “circumstantial guarantees of trustworthiness” and are

“intended to assure a poll’s reliability.” Pittsburgh Press Club, 579 F.2d at 758.

       The Third Circuit has identified various survey principles that are generally accepted:

      A proper universe must be examined and a representative sample must be chosen;
      the persons conducting the survey must be experts;
      the data must be properly gathered and accurately reported;
      the sample design, the questionnaires and the manner of interviewing [must] meet the
       standards of objective surveying and statistical techniques;
      the survey must be conducted independently of the attorneys involved in the litigation. The
       interviewers or sample designers should, of course, be trained, and ideally should be
       unaware of the purpose of the survey or the litigation.

Id. A proffered survey should be excluded where, as here, it is “so flawed as to be completely

unhelpful to the trier of fact and therefore inadmissible.” AHP Subsidiary Holding Co. v. Stuart

Hale Co., 1 F.3d 611, 618 (7th Cir. 1993). Although minor shortcomings may affect a survey’s

weight for the trier of fact, some suveys are so flawed that they must be excluded. Id.; see also

Citizens Fin. Grp., Inc., 383 F.3d at 121–22 (excluding survey that suffered from fatal flaws, rather

than mere technical flaws, because danger of undue prejudice far outweighed the limited probative

value of the survey).

       Dr. Steinberg’s questionnaire is not a scientific survey. Her own description of the

development, management, and analysis of the questionnaire responses demonstrates her lack of

preparation and rigor. Stated simply, rather than being an “expert,” Dr. Steinberg’s work is

“amateurish.” See Exhibit 7 McDonald Deposition Transcript (“McDonald Tr.”), McDonald Tr.

69:7–71:19; McDonald Rep. at 3 (“Based on my expertise in survey design, implementation,

analysis, and interpretation, I have concluded that Dr. Steinberg’s survey is not simply amateurish;

it is so methodologically deficient and so biasing as to lack validity as a survey measurement

tool. Due to numerous disabling methodological flaws, none of the statistics generated by this

survey can be taken at face value or serve as the basis for conclusions, even with a confidence


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interval applied.”) (emphasis added). It comes as no surprise that Dr. Steinberg’s method was not

subject to peer review (implicating the second Daubert factor). Steinberg Tr. 115:19-118:4.

        In addition, Dr. Steinberg’s work suffers from errors in sampling, design, and

interpretation, as described in Sections IV(B)(i)-(iii) below.

               i.      Dr. Steinberg’s Questionnaire Has Sampling Errors.

        Survey methodology principles demand that the respondent sample be representative.

McDonald Rep. 6 (“A survey collects data from a representative subset based on the premise that

when properly sampled and correctly interviewed, that small set of individuals can enable us to

draw accurate conclusions about a broader universe.”). The Third Circuit has found unreliable

surveys where the respondents are limited to interested parties in a litigation who were told of the

precise nature of the litigation and the purpose of the survey. See Pittsburgh Press Club, 579 F.2d

at 759 (noting that survey respondents who were parties to a litigation consequently knew “which

responses would be helpful [ ] and [,] conversely, which would be harmful. Moreover, it was

possible that a recipient of the questionnaire would fail to respond because he knew an honest

answer would be harmful”). Other courts have similarly rejected surveys where the chosen

respondents are based on the convenience or bias of the parties’ counsel. See, e.g., Hurt v.

Commerce Energy, Inc., No. 1:12-CV-00758, 2015 WL 410703, *5 (N.D. Oh. Jan. 29, 2015)

(noting that there was systematic bias evident in the survey when the respondents only covered

members of the class with higher damages); Senne v. Kansas City Royals Baseball Corp., 315

F.R.D. 523, 589 (N.D. Cal. 2016) (noting that a survey invitation that mentioned that a recipient

had a vested interested in the results was sufficient to raise questions about the reliability of the

results).

        Dr. Steinberg’s questionnaire was only sent to putative class members identified by

Plaintiffs’ counsel. Steinberg Report 1, 4 (“Confirmed patients/class members were contacted by


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e-mail and given instructions for logging on and completing the questionnaire”); McDonald Rep.

2, 9-10; McDonald Tr. 41:24-42:17. While this alone suggests that the sample of respondents was

not representative of all of Dr. Akoda’s patients, the lack of representativeness was exacerbated

by the invitation that accompanied the questionnaire link: Plaintiffs’ counsel said that the

individual’s participation was necessary “so that we can proceed with your case.” See Emails0003;

Dr. McDonald Report 9-10. The selection bias was further exacerbated by the fact that only some

individuals responded to the survey. Dr. Steinberg has no reliable basis—there is none—for

assuming that the individuals who chose to respond to the survey are representative of the full set

of individuals to whom the survey is sent, much less the full set of all of Dr. Akoda’s patients.

       Counsel’s participation in the administration of this questionnaire, alongside biased

instructions that tied questionnaire participation to litigation participation and success, exacerbated

these sampling problems. See Hurt, 2015 WL 410703 at *4 (noting that a survey was unreliable in

part because the cover email to the survey explained that it would be used to properly seek recovery

for unpaid wages, enhancing the likelihood that respondents would inflate their hours to increase

damages they could recover).

               ii.     The Design of Dr. Steinberg’s Questionnaire Is Flawed.

       A flawed survey design will result in skewed or distorted data. McDonald Rep. 7. The

questionnaire must be clearly written, consistent, and non-biasing to be valid. Id.; see also

Pittsburgh Press, 579 F.2d at 758 (“It is essential that the sample design, the questionnaires and

the manner of interviewing meet the standards of objective surveying and statistical techniques.”).

Dr. Steinberg’s questionnaire design suffers from: (1) lack of pre-testing, (2) unclear, ambiguous,

or leading questions, and (3) lack of filtering mechanisms or skip patterns to weed out irrelevant

answers. Each is described below.




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                       1.      Lack of Pre-testing

       Pre-testing enables a surveyor to “identify and help eliminate response bias,” such as

determining “whether the phrasing or ordering of questions may have suggested certain answers

or caused respondents to systematically overestimate or underestimate” their responses. Hurt, 2015

WL 410703 at*5. Pre-testing involves having a small group of respondents take the survey and

debrief with the administrators on what questions or instructions puzzled or confused them.

McDonald Rep. at 10.

       Dr. Steinberg did not pre-test her questionnaire; she and Bain only ran through the

questionnaire to see how long it would take. Steinberg Tr. 118: 5-19. Without a pre-test, Dr.

Steinberg was unable to determine which questions were puzzling or could have caused difficulty

for the disproportionate number of under-privileged women taking the questionnaire, answering

sensitive questions about their reproductive care. McDonald Rep. 10.

       Pre-testing also may have caught errors in her methodology (implicating the third Daubert

factor) that Dr. Steinberg was unable to explain later. See, e.g., Steinberg Tr. 221:8–222:24

(acknowledging that it was “just probably an error” that there was no ‘I don’t know’ or ‘I don’t

remember’ option for question 4c); Tr. 232:23 – 236:5 (attempting to side step error in inserting

skip patterns); Tr. 239:3–18 (admitting that her team had overlooked putting in a skip pattern in

place for Question 6). The presence of errors is a reason for finding a survey methodology too

unreliable to be useful in a case. See also In re ConAgra Foods, Inc., 90 F. Supp. 3d at 950-951 (a

high percentage of clearly incorrect answers on the survey demonstrates that the survey

methodology was unreliable).

                       2.      Unclear, Ambiguous, and Leading Questions

       “Proper questions are critical to the reliability of the survey. ‘When unclear questions are

included in a survey .... If the crucial question is sufficiently ambiguous or unclear, it may be the


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basis for rejection the survey.’” Hartle v. FirstEnergy Generation Corp., Nos. 08-1019, 08-1025,

08-1030, 2014 WL 1317702, at *6 (W.D. Pa. Mar. 31, 2014) (citation omitted). Furthermore, “[a]

survey is not credible if it relies on leading questions which are inherently suggestive and invite

guessing by those who did not get any clear message at all.” Johnson & Johnson-Merck v. Rhone-

Poulenc Rorer Pharm., Inc., 19 F.3d 125, 134 (3d Cir. 1994) (citation omitted).

       Dr. Steinberg’s questionnaire was littered with unclear, ambiguous or leading questions

and undefined terms. For example, she asked whether the respondents experienced “emotional

distress” or “intense physical reactions” as a result of Dr. Akoda’s treatment without defining

either term or giving further guidance. Exhibit 8, Akoda Questionnaire 6a-6d. She asked

respondents to identify physical symptoms such as high blood pressure, chest pain, and fatigue,

that they believe are the result of Dr. Akoda’s conduct; a question that rests on the bold assumption

that this questionnaire population has both the clinical judgment and ability to make such a

determination on causation. Akoda Questionnaire 6t; Dr. McDonald Rep. 17.

       The unclear, ambiguous, and leading nature of Dr. Steinberg’s questions were exacerbated

by the proposed answers. One example of problematic answer sets involved yes/no questions

where the respondent was given three different variations on “yes,” with different qualifications,

and one variation of no. See Akoda Questionnaire 6e, 6g, 6i–6s (“Have you had any upsetting

thoughts, memories or dreams of being treated by Dr. Akoda? Yes, before I learned of the charges

against him.; Yes, only after I learned of the charges against him; Yes, both before and after I

learned of the charges against him.; No”). Such stacked yes answers bias the respondent and

prompt an expected answer. McDonald Rep. at 11.

       Dr. Steinberg also failed to provide “don’t know” or “can’t recall” options for many

questions where a questionnaire respondent may be on the fence or that would have required a




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respondent to recall events and emotions that happened years ago. The absence of these options

sends a signal to the respondent that uncertainty or hesitation is illegitimate, and they are more

likely to choose a response that they believe is socially acceptable or likely to please an

interviewer, making the data gleaned from the questionnaire questionable. McDonald Rep. at 12–

13.

       Dr. Steinberg further biased the questionnaire respondents by using loaded language in the

proposed answers. For example, questions better-suited for open-ended responses—such as

respondents’ emotions when they heard about the charges against Dr. Akoda—instead had

supplied answers overwhelmingly capturing negative emotions (shocked, angry, betrayed, sad).

Akoda Questionnaire 5b. Thus, a woman “who was mildly disconcerted or incredulous or had

some other reaction not captured by Dr. Steinberg’s options had to work harder than others to

express her point of view.” McDonald Rep. 13. Any conclusions that Dr. Steinberg draws from

these questions and supplied answers are flawed given their leading nature.

                      3.      Lack of Skip Patterns

       Dr. Steinberg’s failure to use skip patterns on the questionnaire also calls into question the

questionnaire’s validity. As a result, many respondents answered questions that they were

ineligible to answer based on their prior answers, potentially prompting them to change their

answers.

       By way of illustration, respondents were asked whether they trusted Dr. Akoda. Akoda

Questionnaire 2a. Even though 79% responded yes, they did trust Dr. Akoda, Dr. Steinberg’s

questionnaire then gave respondents an opportunity to change their mind in 2b, in a highly

suggestive manner: “If you answered yes to question 2a but at some point began not to trust him,

what happened that changed?” Akoda Questionnaire 2b; McDonald Rep. 14-15 (“Thanks to that

second bite, almost no one could get through this series without ultimately affirming lack of trust


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in Dr. Akoda . . . By the time respondents reached Q. 2 (ever feel scared or threatened during care,

yes/no), they were primed to respond in hyperbolic ways about Dr. Akoda.”). The lack of skip

patterns continued in Question 5, where all respondents were required to answer 5c (“If you are

upset about what Dr. Akoda did, why”), even if their answer to preceding questions indicated that

they were not upset.

       Courts in this Circuit have noted the importance of using filter mechanisms (such as skip

patterns) to screen out survey participants whose answers are not relevant to the inquiry. Church

& Dwight Co., Inc. v. S.C. Johnson & Son, Inc., 873 F. Supp. 893, 908 (D.N.J. 1994) (citing

proposition that “[a] survey should be properly ‘filtered’ to screen out those” whose responses

would be irrelevant, and acknowledging that skipped questions in reaction to the response of a

prior question is one such filtering mechanism) (citation omitted). Dr. Steinberg’s failure to use

such a mechanism made the follow-up questions leading and put ideas in the head of questionnaire

participants who were ineligible to respond to those follow-up questions based on their initial

responses.

       Dr. Steinberg’s explanation and defense of the lack of skip patterns demonstrates how weak

her questionnaire design is. When asked about Question 6 (respondent’s emotional distress) and a

particular respondent’s contradictory responses in 6a and 6b, Dr. Steinberg explained: “[M]y

thought is, and as I’m looking at this right now, is that this exemplifies the complex nature of

emotions and how a person can have multiple and contradictory experiences of the same thing. . .

. So in two questions, one right next to the other, you see the contradictory nature of her emotions

about this.” Steinberg Tr. 233:3–236:5. Dr. Steinberg’s attempt to side-step this error and to

explain away the impact of missing skip patterns demonstrates her flawed approach: her

questionnaire was rife with bias designed to prompt specific answers on how a patient should react




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to Dr. Akoda’s conduct, consistent with Dr. Steinberg’s predetermined view. See McDonald Rep.

8 (“A good survey researcher, no matter how deeply committed to her viewpoints and hypotheses,

must do everything possible to guard against response bias in designing her instrument, lest

research become an instrument of prophecy fulfillment, not scientific inquiry. Dr. Steinberg’s

avowed commitment to proving preconceptions, combined with her evident lack of expertise in

survey methodology, produced a study afflicted with nearly as many problems as there were survey

questions.”). Courts have criticized such outcome-determinative studies and surveys, where the

design encourages biases. See, e.g., Goodman v. Burlington Coat Factory, No. 11-4395 (JHR),

2019 WL 4567366, *9 (D.N.J. Sept. 20, 2019) (finding that an observational survey’s design

improperly “pigeon-holed” survey administrators into recording a particular result and, as a result,

the expert’s “ultimate conclusions [were] predicated upon impermissible speculation and

assumption in part.”).

                                          *      *       *

       The flaws in Dr. Steinberg’s questionnaire—lack of pre-testing, flaws in biased questions

and available answers, and lack of skip patterns—show that the questionnaire’s design does not

“meet the standards of objective surveying and statistical techniques” as required in this Circuit to

make the questionnaire reliable. Pittsburgh Press Club, 579 F.2d at 758.

               iii.      Dr. Steinberg’s Interpretation of the Questionnaire Results Is Flawed.

       Dr. Steinberg’s attempt to extrapolate broader conclusions from the responses is also

flawed. Dr. Steinberg provided only “a superficial analysis” of the questionnaire responses, failing

to analyze diverse responses or to meaningfully engage with open-ended responses. McDonald

Rep. 18 – 19. In such instances where an expert’s opinions are “devoid of critical interaction” with

those being observed or interviewed, any conclusions stemming from the opinions lack sufficient

foundational evidence and information to support findings. Goodman, 2019 WL 4567366 at *9.


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For example, Dr. Steinberg did not analyze or dig deeper into questions where a substantial portion

of the questionnaire respondents responded “other.” See Akoda Questionnaire 2b; Steinberg

Report 6 (127 out of 383 respondents chose “other” as the reason why at some point they began to

not trust Dr. Akoda); see also Akoda Questionnaire 4f; Steinberg Report 7 (62 out of 291

respondents chose “other” as the reason for not telling anyone about Dr. Akoda’s inappropriate

behavior). Despite these instances where the “other” responses dominate over the answers Dr.

Steinberg chose to suggest, she did not attempt to code or tabulate the “other” responses at all,

even though “[a]s a general rule, the appearance of large numbers of ‘other’ responses is a signal

that the pre-specified response categories have not been adequate to the job.” McDonald Report

16.

       As a result, Dr. Steinberg’s conclusions, including that the majority of respondents

experience “varying degrees of confusion, anxiety, depression, avoidance and fear of medical

caregivers, and the loss of trust in medical providers and health care institutions” as a result of Dr.

Akoda’s conduct, must be rejected. Steinberg Rep. 21. Her superficial and limited analysis of the

questionnaire responses, and failure to address “other” responses, cannot support her opinions.

       As detailed above, her methodology ignores generally accepted principles of survey design,

and she fails many of the Daubert reliability factors. As a result, Dr. Steinberg’s questionnaire, her

responses, and opinions should be excluded.

       C.      The Questionnaire Responses and Dr. Steinberg’s Conclusions Are
               Unhelpful to the Factfinder and Lack Sufficient Connection or Fit to Issues
               in This Case.

       Due to Dr. Steinberg’s lack of qualifications and flawed questionnaire methodology, any

opinions or conclusions she derives from the questionnaire are inherently unreliable and should be

excluded. When a survey is inadmissible, evidence based on the survey should be excluded as




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well, as it is not helpful to the factfinder. Pittsburgh Press Club, 579 F.2d at 760; see also Hurt,

2015 WL 410703, at *7 (excluding expert report when survey was unreliable).

        Even if Dr. Steinberg’s questionnaire was reliable and otherwise admissible—which it is

not—both the questionnaire responses and her conclusions stemming from the questionnaire lack

sufficient connection or fit to the issues in the case. “Above all, the survey’s design must fit the

issue which is to be decided by the jury, and not some inaccurate restatement of the issue, lest the

survey findings inject confusion or inappropriate definitions into evidence, confounding rather

than assisting the jury.” J&J Snack Foods Corp. v. Earthgrains Co., 220 F. Supp. 2d 358, 370

(D.N.J. 2002). Plaintiffs have not articulated how Dr. Steinberg’s conclusions would help the

factfinder at either an issue class trial or individual trial.

        The proposed issue class trial would only concern the duty and breach elements of

Plaintiffs’ claim. ECF 32-1 at 11; ECF 58 at 2. Dr. Steinberg solely gathered information about

the respondent’s demographics, their interaction with Dr. Akoda, and their perceptions of

emotional distress and physical symptoms they have faced as a result of Dr. Akoda’s conduct. See

Akoda Questionnaire; Steinberg Rep. Such information would not inform what an issue class jury

would determine: whether ECFMG owed a duty to members of the class that it breached. With the

exception of Dr. Steinberg’s background section in her report, which she admitted was based

largely on Plaintiffs counsel’s letter reciting the alleged facts of the case and the Complaint,

Steinberg Tr. 80:24-81:9, Dr. Steinberg does not mention or opine on ECFMG in her report at all.

See Section IV. D. Because she does not opine on issues even arguably suited for class treatment,

her testimony would be irrelevant at an issue class trial and serve no valid purpose.

        Dr. Steinberg’s opinions and conclusions also would have no valid purpose at

individualized class members proceedings on causation and damages. Evaluating causation would




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still require the individual trial jury to reflect on any alleged wrongdoing by ECFMG, (see

Supplemental Brief in Opposition to Class Certification at Argument §I.A), on which, as covered

above, Dr. Steinberg does not gather material or reach conclusions. She, likewise, does not gather

information on the multiple actors in the causal chain, whose actions a jury would need to assess

in determining but-for causation. See Motion for Summary Judgment at Argument § V. Regarding

damages, while her questionnaire is adapted from a prior engagement where she was asked to

assist with a mediation and the apportionment of damages, (Steinberg Tr. 29:15–30:5; 52:23–53:7;

October 11, 2019 Email from B. Ceryes to E. McEnroe), the damages inquiry here at an

individualized level would be significantly different. Dr. Steinberg’s conclusions are not

psychiatric diagnoses that can help a jury identify injury, (see Section IV.A), and her report does

not even bother to identify and opine on individual plaintiffs (such as the named Plaintiffs, whose

claims ECFMG is simultaneously moving for summary disposition). Her cherry-picked statistics

and response verbatims would be of no use to juries assessing an individual’s injury and extent of

damages.

       Thus, the questionnaire responses and conclusions do not directly implicate the issues at

hand in any potential issue class trial or individualized proceeding and will not assist the factfinder

with any of the disputed issues. Excluding her conclusions, report, and testimony is proper to avoid

“confounding rather than assisting the jury.” J&J Snack Foods Corp., 220 F. Supp. 2d at 370.

       D.      Rule 403 Also Supports Excluding Dr. Steinberg’s Opinions.

       Given how unreliable Dr. Steinberg’s questionnaire results are, and her use of inadmissible

hearsay without using a methodology to actually make a psychiatry diagnosis (see Section IV.A),

Federal Rule of Evidence 403 also counsels excluding her expert opinion. J&J Snack Foods Corp.,

220 F. Supp. 2d at 369 (“Significant methodological deficiencies lessen the survey’s probative

value so that its probative value is substantially outweighed by the prejudice, waste of time, and


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confusion that it would cause at trial.”) (citing Fed. R. Evid. 403). Rule 403 is especially applicable

here, where there is a concern that “if an expert, a person with special knowledge and expertise,

testifies as to the skewed [questionnaire] results, a jury is likely to give special weight to the

skewed conclusion.” Citizens Fin. Grp., Inc., 383 F.3d 110 at 120.

       Given Dr. Steinberg’s admission that she did not independently investigate and assess

ECFMG’s actions, see Section II.B, it is important for the Court to block Plaintiffs’ counsel’s

efforts here to use Dr. Steinberg’s report as a mechanism to promote their litigation theory. Sterling

v. Redevelopment Auth. of City of Phila., 836 F. Supp. 2d 251, 272 (E.D. Pa. 2011) (excluding

expert opinion that relied solely on plaintiffs’ assumptions and that was not buttressed by expert’s

own independent investigation). Federal Rule of Evidence 703 may not be used to avoid the

admissibility rules by creating improper expert opinions solely as a vehicle for getting in client

statements normally blocked by the rules of hearsay. “One of the worst abuses in civil litigation is

the attempted spoon-feeding of client-prepared and lawyer-orchestrated ‘facts’ to a hired expert

who then ‘relies’ on the information to express an opinion.” Therasense, Inc. v Becton Dickinson

& Co., No. C 04-02123 WHA, 2008 WL 2323856, at *1 (N.D. Cal. May 22, 2008) (excluding an

expert opinion under both Rules 403 and 703). Rule 403 provides an additional basis for excluding

this expert report and testimony and correcting this abuse.

V.     CONCLUSION

       Because Dr. Steinberg’s report and anticipated testimony does not meet the requirements

of expert testimony—qualification, reliability, and fit—ECFMG respectfully requests that this

Court exclude Dr. Steinberg’s report, questionnaire responses, and anticipated testimony from this

case. Plaintiffs cannot meet the burden of establishing that Dr. Steinberg’s methodology meets the

requirements of Rule 703, and admission of the report, questionnaire responses, and anticipated




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testimony would prejudice ECFMG under Rule 403, substantially outweighing the probative value

of her report and expert opinion (if any).


 Dated: December 10, 2021
                                               /s/ Brian W. Shaffer
                                               Brian W. Shaffer, PA Bar No. 78851
                                               Elisa P. McEnroe, PA Bar No. 206143
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                                               Attorneys for the Educational Commission for
                                               Foreign Medical Graduates




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: December 10, 2021                             /s/ Brian W. Shaffer
                                                     Brian W. Shaffer




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                Civil Action No. 18-5629
                 Plaintiffs,
                                                Honorable Joshua D. Wolson
      v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                 Defendant.



                                 [PROPOSED] ORDER

      AND NOW, this __ day of ________ 2022, upon consideration of Defendant Educational

Commission for Foreign Medical Graduates’ Motion to Exclude the Opinion and Anticipated

Testimony of Plaintiffs’ Expert Dr. Annie Steinberg and any response thereto, IT IS HEREBY

ORDERED that ECFMG’s Motion to Exclude the Opinion and Anticipated Testimony of

Plaintiffs’ Expert Dr. Annie Steinberg is GRANTED. The opinion and anticipated testimony of

Plaintiffs’ expert Dr. Annie Steinberg are EXCLUDED.




                                                BY THE COURT:


                                                _______________________________
                                                                  Wolson, J.




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                  Exhibit 1




                                                                  JA2367
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                                    Annie Steinberg, M.D.
                                          The Bridge
                                    31 N. Narberth Avenue
                                     Narberth, PA 19072

September 23, 2019.

Brent Ceryes, Esq.
Jonathan Schochor, Esq.
Schochor, Federico & Staton, P.A.
1211 Saint Paul Street
Baltimore, Maryland 21202

                      Re: 'Akoda' Matter

Dear Mr. Ceryes, Mr. Schochor and colleagues:

Pursuant to your request, I have reviewed the information provided and gathered additional
information from the claimants involved in this matter. In this correspondence, I offer my
synthesis of the findings in this matter to date. My findings will include the process by which
this matter was assessed (in the aggregate) with respect to the individual plaintiffs and will
outline the degree to which women treated by "Dr. Akoda" report have suffered as a result of his
actions and the agents that enabled him to practice medicine and surgery. I will also opine on
current psychological issues that relate to the subject incidents and their consequences.

While the contents of this correspondence are subject to amendment or supplementation with the
availability of new or additional information, this report incorporates information from the
individual responses to a self-administered questionnaire completed by over 300 women who
have come forth as former patients of "Dr. Akoda", now plaintiffs in this matter, and will also
address issues from the larger collective or summative perspective. Individual narratives will be
included in this report without grammatical correction and precisely as written by the class
member.


   1. Background

Oluwafemi Charles Igberase practiced medicine in Maryland as an obstetrician and gynecologist
between 2008 and 2016, treating more than 1,000 patients after fraudulently obtaining a medical
license under the name John Charles Akoda.

Igberase had immigrated to the United States from Nigeria in 1991. Little is known about his
life, medical education, and training in Nigeria. Between 1991 and 1999, Igberase applied for
and obtained at least three different Social Security numbers using different names and birth
dates. Between 1992 and 1997, he also applied for and received three separate certifications from
the Educational Commission for Foreign Medical Graduates (ECFMG), again using different
names, birthdates, Social Security numbers, and falsified passports. His first certification was



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subsequently revoked and the second certification invalidated based on ECFMG’s conclusion
that he had provided false information. In 1997, using the name John Charles Akoda, Igberase
applied for and received a third certification.

'Akoda' a/k/a “Oluwafemi Igeberase,” has since admitted to using various fictious identities,
including the 'Akoda' identity, as well as a variety of fake identification documents, including a
fake passport, a fraudulent social security number, fraudulent or altered medical transcripts,
fraudulent or altered diplomas, and fraudulent letters of recommendation, in order to obtain
ECFMG certification, obtain admission to residency programs and ultimately act as an
obstetrician/gynecologist, performing medical and surgical procedures and gynecologic
examinations on patients. Through his conduct, he circumvented the lawful process designed to
ensure the competency and character of foreign medical graduates, placing patients at risk.

A lawsuit has been filed against the Educational Commission for Foreign Medical Graduates,
which was made aware in 2000 that 'Akoda' had used a fraudulent social security number in
documentation submitted to ECFMG and the Jersey Shore residency program. ECFMG was also
made aware at that time that 'Akoda' had admitted to previously using other aliases, including the
“Igberase” identity. ECFMG had previously revoked the ECFMG certification of “Igberase” as
a result of false statements he made on ECFMG applications.

It has been alleged that ECFMG was negligent in failing to investigate and take appropriate
action to revoke the ECFMG certification issued to 'Akoda' after having been made aware of
these and other concerns, and that as a result of this negligence, the women who encountered him
as patients seeking obstetrical and gynecologic care have suffered significant emotional distress,
including the distress they experienced upon learning that the individual they trusted to render
medical care was not a lawfully-licensed physician, and had engaged in substantial fraud in order
to become their obstetrician/gynecologist. Additionally, clients have identified concerns
regarding potential inappropriate behavior and conduct.

ECFMG was established to ensure that international medical graduates have the education,
credentials, and knowledge necessary to enter medical residency and fellowship programs in the
United States. To receive certification, applicants are required to pass examinations
administered by USMLE as well as an English examination, and to submit their medical
diplomas for review. 'Akoda' has claimed that he attended medical school in Nigeria, although
STAT news was unable to verify this claim.

With his ECFMG certification in hand, in 1998, Igbarase (using the name Akoda) applied for
and was accepted into a residency program at Jersey Shore Medical Center (JSMC) but was
dismissed in 2000. He then used a different Social Security number to apply for a residency at
Howard University in 2006. He was admitted to this program and completed the residency in
2011. Later that year, using the name Charles John Nosa Akoda, a falsified Social Security
number, a fake permanent residence card, and a fake Nigerian passport, he applied for and
received a Maryland medical license.

Using these same fake documents as well as a fake Maryland driver’s license and fake letters of
recommendation, he obtained privileges and became a member of the medical staff at Prince


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George’s Hospital Center (PGHC). Between February and June of 2012, he was also employed
by Dimensions Healthcare Associates, Inc.

In 2016, law enforcement searched the residence, medical office, and vehicle of the man posing
as "Dr. Akoda," where they found fraudulent documents related to immigration, medical
diplomas, medical transcripts, letters of recommendation, and birth certificates. Igberase signed
a plea agreement admitting to the misuse of a Social Security number. Igberase's 'Akoda'
ECFMG certification was then revoked, and he was sentenced to 6 months incarceration, 3 years
of supervised release, home detention for 6 months, and a file of $100. In 2017, Prince George's
Hospital Center terminated his medical privileges and the Maryland Board of Physicians revoked
his medical license on the basis of fraud and a felony conviction.

As a result of Igbarase's ability to fraudulently gain admission to residency programs and
become employed as a physician, he was able to practice obstetrics and gynecology between
2008 and 2016, delivering care to approximately 1000 women at Howard University, Prince
George's Hospital Center, and the practices of A. G. Chaudry, M.D. and Javaka Moore, M.D.

Legal action was filed on December 10, 2018 in the Court of Common Pleas of Philadelphia
County and thereafter removed to Federal District Court for the Eastern District of Pennsylvania,
claiming that ECFMG’s negligent certification of the man known as Dr. Akoda enabled him to
violate the boundaries of trust with his patients, causing physical pain, emotional anguish, fear,
anxiety, humiiation, embarrassment, and other physical and emotional injuries; and that these
damages have resulted in both economic and non-economic damages.



   2. Description of Evaluation Process

Forensic psychiatric consultation was requested to assess the potential damages, if any, that class
members may have experienced concerning the actions of "Dr. Akoda." A 60-item survey
questionnaire was designed by this psychiatrist/writer which you distributed securely to your
clients (with names removed and an identification number provided). The results of this survey
questionnaire and a provisional analysis of the results are offered in this correspondence.

"Dr. Akoda" had at least 1000 patients between 2008 and 2016. Approximately 575 patients
who were treated by the man they knew as Dr. Akoda had come forward for legal representation
by your firm and other law firms working cooperatively, and these 575 individuals had been
vetted and identified as class members. In an effort to evaluate the presence and severity of
injuries sustained by the Plaintiffs’ class, this psychiatrist developed a 60 item standardized
questionnaire suitable for on-line administration to gather consistent and reliable data across
class members.

Following the digitization of the electronic questionnaire, link and report portal setup, the secure
hosting of the form and form data, the 60 item questionnaire was sent electronically to identified
class members. Collected demographic information included age, partner status, primary
language, ethnicity, and type of health insurance; as well as information about patients’
experiences with the person they knew as Dr. Akoda. Questions were written in plain language


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to ensure clarity and understanding among all claimants regardless of their educational
background.

Sections of the questionnaire addressed demographic information and 8 topical domains:
   1) Meeting "Dr. Akoda" and the experience of being his patient
   2) Trust in "Dr. Akoda"
   3) Experiences of "Dr. Akoda" during his gynecological exam and related care
   4) Unusual behaviors by "Dr. Akoda"
   5) Learning about the charges against "Dr. Akoda"
   6) Impact of experience with "Dr. Akoda" on respondents’ mental and physical health
   7) Impact of experience with "Dr. Akoda" on other aspects of respondents’ lives
   8) Other factors that may have influenced the degree of harm, such as previous experience
      with abuse.

Respondents were provided with checkboxes to ensure that the questionnaire could be completed
in approximately 15 minutes. Multiple choice responses were utilized throughout the
questionnaire so as to facilitate quantitative analysis. Text boxes were also available for many
questions to enable respondents to provide additional details, and respondents were offered the
option of including a statement. A secure custom application had been developed to capture
electronically the answers to the questionnaire and could be viewed real time to facilitate
accurate data collection, documentation, and quantitative analysis, as well as to collate the
summary statements for a more qualitative examination.

Confirmed patients/class members were contacted by e-mail and given instructions for logging
on and completing the questionnaire. A total of 575 presumed patients were sent the email and
306 returned the questionnaire, with 292 completed fully; 14 of the questionnaires were missing
one or more responses. This synthesis analyzed the data when 305 questionnaires were returned.
Summary statements were offered by 131 women. In order to assess the aggregate severity and
distribution of potential damages among the entire Plaintiffs’ class, the response rate and sample
size would be more than adequate to provide reasonable confidence intervals for the percentages
of Plaintiffs in each of several categories of damage severity but this exceeded the scope of this
report. Statistically reliable information was also gathered in a mode that ensured an equal
opportunity for each class member to communicate her experience related to "Dr. Akoda."

This analysis incorporates only some of the data collected, represented here with both numerical/
quantitative information as well as qualitative data in the form of narrative or selected quotes.
Some topical sections have a sample of quotes by individual women; the quotes are presented in
large quantities so as to demonstrate the consistency of experiences among the Plaintiffs.


   3. Results

       "I really don’t Trust no male doctors he mess up that I trusted him with my body and he
       wasn’t even who say he was…"




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This section summarizes statistically the results of the questionnaire. Although 306 class
members started the questionnaire, some did not answer every question; thus, the percentages
calculated reflect responses only from those who answered a particular question. For questions
where multiple answers were allowed, the percentages are calculated based on the total number
of results rather than the total number of responses.

          a. Patient demographics

The women seen by “Dr. Akoda” vary in age from 22 to 59, with a median age of 35. The vast
majority of patients (89%) identified themselves as African American and used English as their
primary language (96%). An additional 10 patients were mixed or biracial, six were Hispanic,
two were Caucasian, and one was Asian. Most patients (57%) were single; 43% were married or
in a long-term relationship. During the time in when they were treated by “Dr. Akoda”, 73%
were on Medicaid, 21% had private insurance, and 5% had no insurance.

          b. Patients’ experiences with Akoda

Respondents were asked how they became a patient of “Dr. Akoda.” Most (55%) said they had
gone to see another doctor but were re-assigned to see “Dr. Akoda” instead. About 6% were
referred by another doctor, and another 6% found his name on a list of doctors; 5% walked into
the clinic; and 4% were referred by a family member. The remaining 24% became his patient
through other means.

More than half (59%) of claimants reported that they saw “Dr. Akoda” at the medical practice of
Dr. A.G. Chaudry, 31% reported that they encountered him at PGHC, and 11% reported that they
saw him somewhere else, although none reported seeing him at JSMC, Howard University
Hospital, or the medical practice of Dr. Moore.

A few respondents saw “Dr. Akoda" before 2012, but most saw him between 2012 and 2016.
Forty-three percent (43%) saw him more than 5 times, and another 37% saw him between two
and five times. About 20% saw him only one time. Approximately half (50%) of these
appointments were for prenatal, delivery, and postnatal obstetric visits. Other reasons for seeing
“Dr. Akoda” included routine annual gynecological care (26%), surgery (13%), and other
medical care (11%).

          c. Perceived trustworthiness

Initially, patients expressed a high level of trust in “Dr. Akoda,” with 79% saying they initially
trusted him. However, about 75% of those who indicated initial trust in him reported that their
trust changed at some point, very often for a change in his demeanor that left them
uncomfortable, a rude or sexualized comment that they did not fully understand but was out of
the range of what they had previously experienced. Reasons given for this loss of trust are
illustrated in Figure 1. About 29% of patients indicated they felt scared or threatened by “Dr.
Akoda” during their time in his care. Vignettes offered later in this report elaborate on the
prevalence of "Dr. Akoda's" disrespectful posture with his patients during routine health care
maintenance as well as during tumultuous deliveries.


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Figure 1. Changes in perceived trustworthiness of “Dr. Akoda”
  2b. If you answered yes to question 2a but at some point
  began not to trust him, what happened that changed? (Check
  all that apply)


                      He was rude, 40 •.
                                                        It was just something about.... 106


 -le made sexual comments, 37



             He hurt me, 24 -




  Pelvic exams were too long, 49 -

                                                      Other, 127



                                383 responses in 291results


               d. Pelvic and breast exams

Class members were asked how “Dr. Akoda’s” pelvic and breast exams compared with other
doctors’ exams before or since they saw him. For pelvic exams, responses were evenly split
between those who responded that there was no difference in the exams and the exams being
perceived as worse than other doctors. About 2% said they liked “Dr. Akoda’s” pelvic exams better
than previous pelvic exams they had experienced. 43% of women said “Dr. Akoda’s” pelvic exams
were more painful, while 10% said they were less painful. Most (74%) patients reported that
Akoda’s breast exams were similar to those of other doctors, but 23% indicated that they were
worse, e.g., rougher, longer, or sexualized).

Also explored is whether or not a nurse or chaperone was present during pelvic exams and whether
“Dr. Akoda” always wore gloves, since both are considered standard practice. Many patients (58%)
said there was always or sometimes a nurse or chaperone in the room during pelvic examinations,
although about 23% reported that a nurse or chaperone was never present and about 19% of the
respondents did not remember. About 25% said the nurse or chaperone never stayed throughout
the examination and about 30% said she never stood in a place where she could see the
examination. 10% of patients said he sometimes or always performed a pelvic exam without using
gloves.

               e. “Dr. Akoda’s” inappropriate behavior

Nearly half (46%) of patients said they were uncomfortable during or after the exam and about
62% said they considered changing doctors. About 30% said “Dr. Akoda” touched them in a way
that felt uncomfortable or wrong and 24% said he “talked dirty” or made sexual or otherwise
inappropriate comments. Eight patients said they felt sexually aroused or had an orgasmic
response during the examination. Asked if patients who felt that “Dr. Akoda’s” behavior had been


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inappropriate ever told anyone, who they told, and why they may not have told anyone. Of the
46% of patients who said they told someone, most told a family member,

128(46%) patients said they told someone about Akoda’s inappropriate comments or behavior.
They most often told a family member (48%) or friend (27%). Several told a nurse or other
healthcare provider (8%), another doctor (6%), an administrator (<1%), or someone else (11%).
53% of patients did not tell anyone for reasons illustrated in Figure 2.

Figure 2. Reasons for not telling anyone about “Dr. Akoda’s” inappropriate behavior
 No. (below, please indicate why you didn't tell anyone. Check
 all that apply)

              I didn't think anyone would..., 12
                                                     I felt ashamed, 12



                                                                I was embarrassed, 22
  I didn't know what to do, 42




                                                   Other, 62


                                 150 responses in 291results




                  f.      Learning about the charges against “Dr. Akoda”

Most patients first learned that charges had been made against Dr. Akoda through the news media,
either from something viewed on the television (59%), heard on the radio (16%), or read in the
newspaper (2%). About 12% heard about it from a friend, and a few (2%) received a call from a
healthcare provider. Figure 3 illustrates the feelings of patients when they heard about these
charges:

Figure 3. Patients’ feelings upon learning about the charges against “Dr. Akoda”
 5b. How did you feel when you heard about the charges
 against Dr. Akoda? (Check all that apply)


                                                               Shocked, 218
                       Angry, 205 -




                                                                      Neutral, 7


                                                                    - Other:, 66




                        Betrayed, 206 -                        Sad, 117




                                  819 responses in 291results



Only 8 patients said they were not upset about what they heard. The reasons other patients gave for
being upset are shown in Figure 4.


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Figure 4. Reasons patients were upset about what “Dr. Akoda” did

 —
 5c. If you are upset about what Dr. Akoda did, why? (Check all
 that apply)

                                                  I feel that he betrayed my ..., 246




                                                                    |.am not upset about what    h
 akhe   may have hurt   me.




                                                                worry   that he may have   hu.

           I think he performed unnece..., 104


                                  546 responses in 291results




                   g. Emotional and physical distress experienced as a result of “Dr. Akoda’s”
                      conduct

Survey questions explored the emotional distress experienced by class members. In response to
the global question of whether, when, and for how long class members experienced emotional
distress as a result of Akoda’s conduct or from learning that he may not have been a licensed doctor
and had falsified documents to obtain certification, 89% said they did experience emotional
distress. Of these, nearly half (47%) indicated that their emotional distress occurred only after
learning about the charges against him. 84% of respondents indicated that they still experience
emotional distress.

Emotional distress was also experienced physically by class members. 65% of respondents
reported intense physical reactions such as rapid heartbeat, shortness of breath, or excessive
sweating when reminded of being treated by Akoda. More than half (55%) said these physical
manifestations occurred only after learning about the charges against him and 70% said they have
persisted.

Most class members (79%) reported having upsetting thoughts, memories, or dreams of being
treated by Akoda, with 54% indicating this only occurred after learning about the charges against
him and 84% saying these upsetting thoughts still occur. 75% said they try to avoid thoughts or
feelings about what happened with Akoda, and 39% said they find it hard to recall some aspects of
what transpired.

Class members were asked whether and when they experienced specific signs or symptoms of post-
traumatic stress. These results (rounded to the nearest percent) are presented in Table 1,

Table 1. Signs and Symptoms of Post-traumatic Stress experienced by patients of Dr. Akoda

 Symptom                                 Yes, only in the                 Yes, only prior to         Yes, both in the past   No
                                         past month                       the past month             month and prior
 Mood changes or                         4%                               6%                         49%                     41%
 depression


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 Reduced interest                           3%                               6%                   38%   53%
 or pleasure with
 important
 activities
 Irritability or                            7%                               9%                   53%   31%
 anger
 Difficulty                                 5%                               5%                   42%   49%
 concentrating
 Feeling jumpy,                             4%                               5%                   37%   55%
 overly alert, or
 easily startled
 Trouble sleeping,                          4%                               8%                   42%   46%
 bad dreams, or
 nightmares
 Embarrassment,                             6%                               5%                   56%   33%
 shame, or
 humiliation
 Trouble making                             4%                               3%                   27%   66%
 decisions
 Overuse of drugs                           <1%                              1%                   5%    94%
 or alcohol
 Discomfort with                            4%                               6%                   36%   53%
 body or reduced
 self-care


Class members also reported a variety of physical symptoms that they attributed to Dr. Akoda’s
conduct. These are summarized in Figure 5. These symptoms were described as mild by 26% of
respondents, moderate by 53%, and severe by 21%.

Figure 5. Physical symptoms experienced as a result of Dr. Akoda’s conduct

  6t. Have you experienced any of the physical symptoms listed
  below as a result of Dr. Akoda's conduct (Check all that
  apply)?

                                                     Chest pain or shortness of ..., 42
       Abdominal pain, nausea, ref..., 82
                                                           High blood pressure. 28



       Fatigue or insomnia, 56 -                                   Headache/dizziness, 76




                                                                    Other:, 43
 Weight gain or weight loss, 85



                                                             I have not experienced any ..., 78
      Numbness, loss of enjoyment..., 64
                                                   Pain, trembling and/or nerv..., 32


                                   586 responses in 290 results



Most class members (82%) have not received any psychological, psychiatric, or medical treatment
for symptoms arising from their experience with Akoda. Among those who have received
treatment, these treatments included non-psychiatric medication (46%), psychiatric medication


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(17%), and therapy or counseling (37%). Only slightly more than half of class members (158
individuals) described receiving psychiatric or medical diagnoses that they believed were related to
their experience with Akoda. These included Major Depressive Disorder in 64 patients, Anxiety
Disorder in 52 patients, Post-Traumatic Stress Disorder in 30 patients, and Substance Abuse in 12
patients.

          h. Loss of trust and aversion to medical care

The vast majority of class members (94%) said that their experience with Dr. Akoda affected their
trust in doctors. They were also asked how this experience affected their use of medical care. More
than half said it has changed how often they visit and obstetrician/gynecologist (53%) and/or has
affected the medical choices or decisions they make (53%). Slightly fewer said it has changed how
often they visit any doctor (45%) and/or has affected the types of specialists they see (49%). Only
8% said it has not affected their use of medical care.

          i.   Effects on non-medical aspects of life

Many class members reported that their experience with Dr. Akoda affected other non-medical
aspects of their lives as well. 46% said they were concerned about their daughters going to see an
obstetrician/gynecologist; 27% said it has affected their relationship with a spouse or partner; and
6% said it had affected their relationship with their children. Only 23% said it had not affected
non-medical aspects of their lives.

Some class members (21%) reported that their experience with Dr. Akoda had negatively affected
their work lives. For example, 13% of respondents said they were not able to go to work for some
period of time. Others said they missed work deadlines (6%), quit their jobs (3%), or were fired
(2%).

About 32% of class members reported effects on their social life, for example, avoiding friends,
neighbors, and relatives (21%); avoiding certain types of social events (24%); avoiding certain
neighborhoods (10%), not reading mail or email (5%), and not retuning messages and phone calls
(11%). Thirty class members (10%) said they were afraid of or avoided leaving home.

          j. Prior vulnerabilities

Since previous experiences with violence or abuse may make individuals especially vulnerable to
subsequent abuse, class members were asked about prior experiences. 26% reported that they
had been threatened by somebody (6% declined to answer), 19% said they had experienced or
witnessed violence in their own homes (4% declined to answer), 17% said they had been forced
to have sex or been threatened with violence if they didn’t (9% declined to answer), and 22%
said they had been sexually abused in other ways. (9% declined to answer)



   4. Analysis of Damages

   Boundary Violations in Gynecological Care

It is well established in the literature that sexual contact between physicians and their patients
can have devastating consequences for the patients (Dehlendorf and Wolfe, 1998, Feldman-


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Summers and Jones, 1984). Patients’ responses to physician sexual misconduct has been
examined specifically in the context of gynecological care and sexually abusive internal
examinations and found to impact on patients in specific ways (Burgess, A.W.,1981). Sexual
exploitation, defined as situations in which a person is used primarily for another person’s
gratification, profit or selfish purpose, was explored with interviews of women who had been
exploited with intentional genital manipulation during internal gynecological examinations over
an eight year span of time.
In this matter, 'Dr. Akoda' was perceived to have lengthy exams by some, with misuse of his
hands, and occasional absence of a nurse during the examination. The claimants consistently
describe physical discomfort, feeling disrespected, a sense of powerlessness, annoyance, anger,
and shame. Some women described a feeling of being degraded and exploited, and felt that their
credibility was at risk, emphasizing the unequal power status.
In this matter, women reported negative experiences during their time in care with 'Dr. Akoda,
including physical and emotional discomfort with the genital examination (prolonged duration,
painful exam, absence of gloves, the departure of the chaperone, sexualized touching of the vagina
and clitoris, rude, inappropriate, and crude sexual comments, and overly personal interactions:

"I just wanna say that this whole situation has changed my life. It puts me in a place to where
I’m uncomfortable about going to the doctors. Only because Dr. Akoda did what he did to me.
This man did exams on me he barely used gloves I feel so violated. I only remember him using
gloves 4 times out of my whole pregnancy that was only in the beginning. But when I started
getting into my second trimester and at the end of it he didn’t use gloves and in my 3rd trimester
he never used them."

"I went to his office when i was over 1 5weeks pregnant after the pap smear the female lady
stepped out and i was putting on my clothes and he slapped my ass telling me i have big buttocks.
I felt so sad and i cried on leaving which was my second visit to him."

"My doctor (s) were not available to come to the hospital and so he was the doctor they told me
would delivery my daughter. After delivering my daughter, my husband kept talking about how
uncomfortable he was with him as the doctor. He felt that he was touching my inappropriately
and not doing some things correctly. After a while, we forgot all about it and moved on thinking
that maybe that was what was suppose to happen. Like a year later, we received word about a
fake doctor at PG Hospital and when the person showed us that picture, my husband
immediately knew that was the doctor that deliver my daughter. Once getting the paperwork
from the hospital, it was confirmed!"

"I'd also like to elaborate on #6t. After my pelvic exam in which he smelled his fingers. I grew
very self conscience of my body and vaginal health. I couldn't understand why he would do that
and never explained why. I was too ashamed to ask but I noticed that major decrease in my
libido after that experience."

"I am small breasted and during the breast exam he stated that they were so small I shouldn’t
have a problem finding anything! I was very embarrassed and couldn’t wait to leave. I didn’t
get another yearly exam for two years."


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"During my appointment with Akoda, my fiancé was in the room with us, once he saw that Akoda
had no gloves on during my removal of the Mirana and breast exam, he asked him "aren't you
suppose to have gloves on?" and Akoda stated no, My fiancé got uncomfortable and frustrated
and left the room. After the door closed Akoda stated "he is a very jealous man". I will never
forget how he look, and how his hands were extremely ashy."

"Then one day I went for office visit and he told me to stop having more babies that I could kill
myself if I keep having more babies. Then I was really upset and reported the case to Dr.
Chaudry and when I got home I also reported to my husband who accompanied me to the clinic
on my next visit. Dr. Chaudry asked him to apologized to me which he did that very day in the
presence of my husband."

"My oldest daughter would accompany me to my appointments and would always tell me there
was something about him that didn’t sit well with her. He made a comment about the size of my
vagina and uterus that made me feel disgusting and dirty. The day he scheduled my induction he
also told me he had 11 other inducements that day and that he would be leaving for Africa the
next day which according to him was his birthday. He rushed me and even suggested I have a C-
Section, I told him he was going to be patient and wait for my child and I would not allow him to
cut me. My daughter is now a thriving 7 year old second grader, but as a parent I always fear
what her future holds as a result of him having ever touched her with his sick, in-educated,
moral less hands."

"He is a demon doctor he let me go in shock while on the eximanation table while i went
unconcious he had his han in me and then went up on me lying still unconcious he ripped the
point of my cloterist wide open saying how that you have three children and still so neat. I told
him that l was seperated from my husband for seveteen years and hoping for him to come back.
He dr okada is a real Deamon."

Sexual contact between physicians and patients violates the fiduciary nature of the relationship
that requires physicians to act in the best interest of their patients; fiduciary actually being a legal
term that is applied to a professional in whom the patient places her trust. Most physicians
adhere to one or more sets of ethics codes, depending on the professional organizations to which
they belong. An example of such a code would be the American Medical Association’s
“Principles of Medical Ethics,” which notes, “The relationship between patient and physician is
based on trust and gives rise to physicians’ ethical obligations to place patients’ welfare above
their own self-interest and above obligations to other groups, and to advocate for their patients’
welfare.” It is not clear if Igberase received the necessary training and supervision in medical
school to be knowledgeable about the physician's Code of Ethics.

The AMA Code specifically addresses sexual misconduct in the practice of medicine and states
that, “sexual contact that occurs concurrent with the physician-patient relationship constitutes
sexual misconduct. Sexual interactions between physician and patients detract from the goals of
the physician/patient relationship and may exploit the vulnerability of the patient, may obscure
the physician’s objective judgement concerning the patient’s health care and ultimately, may be
detrimental to the patient’s well being.”




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The Code of Professional Ethics of the American College of Obstetrics and Gynecology is
another example of the provision of rules for ethical conduct to the members of a professional
organization. The code of this organization, one to which 'Dr. Akoda' may or may not have
belonged, also addresses the fiduciary nature of the relationship, and states clearly that, “sexual
misconduct on the part of the obstetrician–gynecologist is an abuse of professional power and a
violation of patient trust.”'Akoda's' reported irregular pelvic examinations, protracted and painful
examinations (some without gloves), inappropriate comments, and intentional vaginal, clitoral,
and breast stimulation together suggest the abuse of power with a vulnerable population.

   Disrespect and Adverse Clinical Outcomes

The power imbalance and vulnerability of his patients did not yield a confrontation by his work
colleagues of the very significant misconduct and abuse of power; many of the vignettes offered
by claimants suggest blatant disrespect for and neglect of claimants so great that it was described
as a factor adversely affecting the clinical outcome:

"I was scheduled to have an induction from Dr. Javaka Moore's office and Dr Akoda was the
delivering doctor at that time. He was very rude and pushy. He kept telling me to shut up and
hurry up and push the baby out because he had somewhere to be and didn't have time for me all
night. He kept saying if I didn't hurry up he was going to perform a C Section . He just kept
saying that over and over. So halfway during my delivery the baby was coming out and he just
left me there for a few with the baby half way in and half way out and i was telling him that that
was so painful and he told me to shut up and stop crying like a baby."

"My overall experience with Dr. Akoda was completely terrifying! I feared for my child’s life and
safety as he failed to perform the necessary c-section procedure after he discovered that my child
was in complete distress during my labor in March of 2016. Dr. Akoda did not show any
concern. As a result of Dr. Akodas negligence, my child was born with his umbilical cord
wrapped around his neck, strangling him and blocking his airways preventing him from
breathing. I thought my child was DEAD! He was completely blue in the face! He had swallowed
his own urine and feces!"

"Akoda was the doctor that delivered my son 2015. He took over because my actual doctor was
out of town...I believe. He left me (in active labor) went home and returned late evening the next
day to attend to me (so uncalled for). I almost lost my son and my life during the process. I felt
sick and was admitted at PG hospital after emergency C-section was done of me for about 5 days
with tons of blood transfusion."

"Dr. Akoda made decisions in the delivery room that affected both me and my son. He tried to
break my water after it already broke. I felt a sharp paid and started to bleed profusely. He then
attempted to deliver my son without any antibiotic even though my chart stated I was gbs
positive. My son suffered an infection and had to be hospitalized at 2 weeks old due to this."

"My delivery process was rushed I was not giving the time to go through the different phases of
labor as I have intended. Instead Dr Akoda, came into my room and brook my water after one
hour of being admitted and he stated, "I want to help you speed up this process." After breaking



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my water, Dr. Akoda told me not to tell the nurse. the nurse came into my room and asked me
what he just did and I told her that he broke my water. The nurse stated "why would he do that."
My trust for Dr. Akoda was broken after he rushed my delivery because he wanted to live [leave]
and did not want another doctor to take over. I was hurt and broken but I was thankful that I
came out of the delivery room alive after everything I went through while laying in that delivery
table. First my epidural was no longer effective at the time of the surgery and I could feel Dr.
Akoda cutting my stomach. I screamed in pain and he said that I should not be feeling anything
but pressure. Second I was finally put to sleep with general anesthesia because I was in so much
pain. The day after my surgery, Dr. Akoda, came to my room and stated "You are lucky to be
alive" "I have been a medical doctor for many years and I have never had a difficult surgery as
yours." Dr. Akoda also stated that if it was not for his years of experience he would have
performed a hysterectomy on me and advised that I should plan on not having kids again in the
future. This statement has tormented my husband and I for the past three years. My experience at
Prince George's Hospital and with Dr. Akoda was rough and I was afraid to ever become
pregnant and to have to ever go through the same thing I went through during delivery."

"Dr Akota told me I was pregnant in my tubes and performed surgery on me and couldn’t find
the baby and I was drugged up and put to sleep and I don’t know what happens after that I woke
up in my room in a lot of pain then hours or next day dr akota came into my room and gave me a
shot in my arm and said he couldn’t find the baby so I started going off on him saying he cut me
open for nothing then dr akota gave me a shot in my arm saying that shot is to kill the baby and
so I can bleed it out I bleed for days weeks and in a hole lot of pain and all I can think of was
what really happened to me while I was drugged up under the Anastasia and if dr akota didn’t
know what he was doing and if I was really pregnant in my tubes I think bout all this since the
day it all happened."

"Dr. Akoda did some things to me that I know now were completely wrong. He did NOT properly
medicate me because I rememner the whole C-Section. I felt the whole thing I screamed and
cried through the whole thing. Also, he cut my son while he was coming out of me and he still
has the scar to this day. I don't remember much from my sons first 3 month of life. And I Learned
when I had my daughter, there is pain med that will make you forgot things. He scared me and I
will never forgive him!"

"As I'm typing this I'm experiencing so many emotions at this time.It's so hard and very painful
just thinking about Akoda I'm feeling sick. He was rude and unprofessional,I was told that I
should have my tubes tied because I have a Nigerian husband with to many kids.He said if I don't
tie my tubes I would be pregnant again because Nigerians love making babies, that was on my
first visit in 2013.I pray this comes to a end soon because just thinking about him makes me
angry,sad sick and betrayal."

"A life time mental exhaustion remains in my family due to an unwanted outcome .. My family
and I have to cared for my son forever and it makes me depressed on a daily basis. And
sometimes I get worried about the c-section if it was done right. I also suffered placenta previa
during my pregnancy and was never diagnosed by Dr Akoda until it happened and was
diagnosed at the hospital! And moreover Dr Akoda lied to me and he failed to answer my




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questions after the birth of my so . I am still angry and grieving about what happened to my
son."

While all misconduct is a fiduciary failure, 'Dr. Akoda' recognized the extreme power imbalance
and his capacity to control his patients in their most exposed and defenseless moments. A
physician associated with a powerful institution, he likely found his female patients looking up to
him because of his social status; this also resulted in an imbalance of credibility; when
questioning themselves about what had transpired, they would presume that they had only
imagined misconduct. Furthermore, his patient population was a very vulnerable group of
women; 89% African American and 73% Medicaid recipients, 19% reported having experienced
domestic violence; 17% had been forced at some point to engage in sexual relations; and 22%
reported having been sexually abused in other ways in the past. While it is possible (likely even)
that the above percentages are not independent – women may have said yes to multiple types of
abuse and may have been thinking of the same events, these figures are not surprising and do
lend support to the premise that his patients were a particularly vulnerable population and that
his physical and sexual misconduct and betrayal of trust would be high impact event.

   Emotional Distress Upon Learning of Fraud Allegations Against 'Akoda'

While some wondered if his behavior (e.g. protracted pelvic examinations) were the source of
some damage or the etiology of precipitated labor or miscarriage, most women experienced an
array of powerful sentiments after learning that 'Dr. Akoda's name and medical credentials were
falsified. The majority experienced shock, anger, sadness embarrassment and a sense of
betrayal, acute emotional distress upon learning of the allegations against 'Akoda.' Only eight
patients (of 306 respondents) reported not feeling upset. 65% reported intense physical reactions
when reminded of being treated by 'Akoda.' 79% reported re-experiencing with upsetting
thoughts, memories and dreams of being treated by 'Akoda' and 75% reported attempts to avoid
thinking about what had transpired and the implications of his fraudulent credentials.

"Every time i think or talk about this situation, i cry, i cant concentrate, i cant sleep and my body
tingles and go numb. I trusted him and he betrayed my trust of care, i was comfortable thinking i
can depend on my doctor, who i thought had my best interest for me and the delivery of my child.
The fact that i have to live knowing his credentials and education is false and someone did not do
their job thoroughly, to be one of so many women who are victimized is very stressful. to know he
delivered my daughter and now i have to live with this thought and knowing he is a fake doctor
with false credentials and my daughter was delivered by a fake doctor. No matter how old she
gets this will taunt me and i will have this uncomfortable feeling i would get from him and the
thought of it all for the rest of my life. I am crying typing this this is so upsetting, i want this to be
over it seems like a bad nightmare that just will not end. when will this be over!!"

"He would hint and say, my private area is loose. I can do some exercises to tighten. While fully
undressed, he'd take the full blue blanket off my complete body. Thought was weird, the first
time, walking away thinking I was over thinking the situation. Second time, he became extra
talkative and friendly, even coming to the front desk as I checked out to joke. What finally did it,
when my daughter came out the examine room, to say, I think that doctor was flirting with me.
After her pregnancy, we both moved to another location/doctor. Eventually after knowing Dr,


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Akoda would be doing my paps instead of the other doctor I left seeing him. He made me feel
weird and even today, I hate and am right now contemplating if I can trust this male foreign
doctor I have, if he is a fraud, or do I just not have pap smears done. Which I know I'm only
hurting myself by not doing so. Have to make a decision soon. I'm thinking, I'd rather take the
chance with a woman at least she has the same private parts as I. But I am left feeling
embarrassed about my body. Wondering which of my insurance choices are truly licensed before
exposing myself to them again. The nurses would leave the room when I was examined after
taking my vitals. Yes, his exams were more painful than what i was used to. Before finding out
who he is, I just thought maybe the pain was coming from my body changing as he said my pelvic
is dropping. As well as my vagina is tilted. (TMI). I still remember him examining my breast. Just
the thought. I hate to think about it. I talk with my daughter to help us get through this. The
worst, he also prescribed us prescription drugs. Were they right or wrong? The thoughts are
endless."

"The visits with Dr. Akoda were so painful it often left me sore and wondering if my baby was ok.
It felt like pure hell and I dread going back to the office because of how rough the dilated
checkups were. I would always cry after I left his office it was a horrible feeling. And now I feel
like I have PTSD when I step inside a doctors office for a OBGYN visit because of the pain he
puts me through, I’m always gripping the seat during the checkup and feels like my heart is
beating a million miles a minute."

"My experience with Akoda has made it very difficult to trust doctors or to be examined by a
medical doctor. I have avoided women's health care, such as gynecological exams, and have
only gone to see a gynecologist in an emergency situation since discovering that Akoda was a
fake doctor and that multiple gatekeepers accepted his fake documents and credentials. Since
discovering this information, I have experienced a lot of anxiety, resulting in insomnia, lack of
concentration at times, and even back pain."

Altered mood and post-traumatic responses to learning of allegations against Akoda also
included a state of arousal with nightmares, irritability, hyperalertness, to name but a few. Most
(82%) have not accessed mental health services, however, more than half of the class members
described receiving psychiatric or medical diagnoses that they believed to be related to their
experiences with Akoda, as noted below Figure 5 earlier in this report.

"My experience with Charles Akoda has truly been very traumatizing. It has effected the way I
approach my medical care, my social life, and I've had plenty of nightmares about him. I don't
know who I can trust. It has improved slightly but when I think about him I get chills down spine.
How could this have happened? I look at my sons birth certificate and I see his name and it puts
me in bad state of mind."

"Dr. Akoda took away the full enjoyments of my son birth, by his actions. The nightmares
interrupted my time with my spouse and caused emotional stress on my family. How can you not
lose sleep with such roaming around in her head??? When I saw his face on the news, it was
something you can't prepare for… I would then go online to check hospital website for my health
information to confirm, it was him. Once that confirmation was done, I started screaming and




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bursting into tears and when my son came in my view , it really hit me, because, his birth will
forever be scarred and he will know later in life, he was a victim of fraud in his birth."

"I think it's a shame that he got away with this so long I haven't been able to go to a GYN doctor
sense I have a therapist and a psychiatrist now and trust issues with any male doctors."

"He used to wear Creed cologne and another strong scent like Tom Ford. I asked him the scent
and whenever i smell it on a male I instantly get a sick feeling to my stomach because i think of
Dr.Akota. This scent that Would make a female attracted to a man, something i would want to
buy a boyfriend, something arousing now makes me so nauseas and nervous. The smell of
betrayal. He would always smell like he just put it on and would always be eating a breath mint."


     Betrayal of Trust

Trust has been defined as “a psychological state comprising the intention to accept vulnerability
based upon positive expectations of the intentions or behaviors of another” (Rousseau, Sitkin,
Burt, & Camerer 1998). This definition includes three key components: a relationship of
dependency, vulnerability of at least one party, and confident expectations or beliefs by at least
one party that the other will behave towards him or her in a positive manner (Koehler &
Gershoff, 2003). However, sometimes those whom one trusts instead actively cause the very
harm they were entrusted to prevent; the response to such a betrayal varies, although fight or
flight behaviors are common.

The impact of "Dr. Akoda’s" betrayal of the trust his patients had placed in him was
multidimensional, with profound feelings of hurt and disappointment that his name and his
credentials were not real, and that he was not the doctor they thought him to be.

"I am angry to hear that we lost this man as lied to many of us we trusted with our body’s ,babies
we as mother are expect to be safe when we go to the doctors to trust them feel comfort while we
are going through this Journey to bring life in to the world , my self being a previous
rape/molested victim it’s hard for me to trust how am i suppose to be comfortable knowing that
this person as completely lied."

"I feel lied to and i feel angry that i put my trust in a doctor who was suppose to help me but
instead lied and could have killed my self and my child."

a.      Loss of Trust in medical providers, aversion to medical care, system's failure to protect

The fraud perpetrated by 'Akoda' resulted in 94% of claimants affirming that their trust in
physicians has been impacted, and more than half acknowledged that it had changed their use of
medical care. were the obvious feelings that doctors can’t be trusted, the resultant avoidance of
medical care and of male providers. This negative impact directly creates a barrier to accessible
medical care, of particular significance given that cancer and other diseases are already detected
late and more often associated with poor outcome in this demographic.




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"This was a horrible expereince in my life. To be diagnised and hav a doctor with his hand in my
private area holding my uterus and not being certified to make any decisions or do any
procedures was allows to practice medicine and be involved in such a personal aspect in a
womens and babies life. The instutuions and the Mr. Akoda or whatever his name is should be
held accountable fully. How we trust any physician or hospital again after the did not properly
veet and investiagate the people they hire to make life-altering changes."

"At the moment, i still feel sad and betrayed with the medical profession board for allowing me
to go through this betrayal and risk twice. I have put my life and that of my two daughters at the
highest risk and perhaps the surgical procedures i went through were not in the first place
necessary."

"Learning that he is not a real doctor has really made me scared for my children when seeing
other doctors. Also i think about what if something went wrong when he was delivering my son. I
feel violated that he was able to get so close to my personal area and even touch me and then to
find out that he is not licensed is really scary."

"I saw Akoda on days that Dr. Chaudry wasn’t available. I sat straight up in the bed on that
morning and screamed when I saw his picture and heard his name about 5 am on FOX 5 news!!.
As I think back about me allowing some man to touch me… I feel like this a case of rape! I am
extremely disgusted, humiliated and disappointed amongst other things. I initially allowed my
daughter, now 23, to go to this practice. I am so glad that she never experienced Akoda but even
she is upset and traumatized and scared. its bad enough for me at 49! It has definitely made me
rethink my position with drs. He should be in jail for life. He raped hundreds of women!"

A common belief expressed by the claimants is that 'Dr. Akoda's' clinical practice was the cause
of perinatal trauma and stress, and ultimately, problems for the newborn infant later in life.

"…This ordeal has impacted my life greatly. After waiting hours to push, we were told that our
baby was in distress with the umbilical chord wrapped around her neck. Instead of expediting
the delivery, we waited all day into the evening. Finally, I was rushed in for an emergency C-
section. In the process of the C-section, Dr. Akoda was arguing with the medical staff. He even
dropped a tool on the floor so they had to count every tool to ensure that one wasn't left inside of
me. Our daughter was silent, limp and blue when she was delivered. This was very scary because
she didn't make a sound or move. She was sent to the NICU immediately, where she resided for a
week. The whole enjoyable experience of her being placed in our arms, rooming and being
discharged with me was stripped from us. We were looking forward to a safe delivery. Upon my
initial engagement with Dr. Akoda, I felt uneasy. This was my second live birth and I knew
something wasn't right with him or the experience. He was abrasive, rude and unprofessional. I
experienced a miscarriage less than a year after delivering my daughter that Akoda delivered. I
never had a miscarriage before this ordeal. We have been trying to conceive and haven't been
able to ever since. I truly believe it has something to do with the treatment from Akoda. My lower
abdomen is still numb. I should have never been under the care of Akoda. A man that practiced
under false pretenses. We can't reverse time, but justice can be served for the negative impact
that this ordeal has caused me and my family."




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"Not once were any of those [previous] doctors rough with the way they inserted the speculums.
Nor how they put their fingers in your vagina, and never has a doctor ever pressed downward in
my vagina, there is nothing truly there. It was like he was scratching my insides. So I am not sure
if he used a glove or not. There was no conversation, so I can't tell you what was on this mans
mind. I bleed for an hour that day, and was wondering why he had to be so rough. Why he would
never talk the whole time. It was like an awkward silence. Regardless, of what kind of doctor he
was somewhere else, medicine is practiced differently all over the world. Everyone has to go
through a process for a reason and this man thought his way was the best way and skipped the
formalities of American ways. He violated and performed aggressive exams that only reminded
me of times I was sexually asasulted. That's how rough and cold the exam was."



b.     Loss of Trust in Obstetrician-Gynecologists

Obstetrics-gynecology specialists were identified as particularly untrustworthy, with a reduction
in visits for care reported by 53% of respondents. The lingering mistrust of practitioners
appeared to pose a continuing barrier to appropriate health care, particularly with avoidance of
gynecological care; some reported a particular concern about daughters' consultation with this
subspecialist.

"I am contemplating having another child with my husband, but my experience with Dr. Akoda
has made me an emotional wreck every time I think about it. It is now affecting my marriage
because my husband wants more children but I am terrified. I am terrified because I had a C-
section, something that now in hindsight, I believe I did not need. Dr. Akoda talked about a c-
section very early in my pregnancy without a medical need. There was no medical reason earlier
on that suggested I may need it, yet he continuously talked about it and suggested it.In the end he
came into the hospital the day after my induction instead of Dr. Chaudry who was scheduled to
deliver my baby. He told my husband and I a story of Dr. Chaudry forcing a vaginal delivery the
day before causing a birth defect and that why he was not present. He suggested we have a C-
section to prevent the same because if he forces a vaginal delivery for a baby as big as ours he
will bare no responsibility. In the end our daughter was delivered via c-section by him because
of the fear he instilled in us regarding natural birth. He told us she was too big to be delivered
vaginally and turned out to weigh 7lbs 12 ounces and not the 9lbs he mentioned. "

"Because of Akoda every time I go to a physician I want to know what school and see their
certification for them to be doctors I don't trust any doctor anymore I never felt so violated in my
life I trusted somebody they saw my intimate areas and wasn't even a doctor never been so
betrayed in my life because of this doctor I don't go to OBGYN I avoid any type of check up if is
not necessary because of my trust issue."

"I had prior shared with Dr. Akoda that my husband had a vasectomy but because of our desire
of wanting more, we would begin the process of having a reversal. He at that time offed to give
me some medication to help my husband's sperm count rise that would help. I then thought
something was off but never 2nd guessed it. But my 2nd experience with him, he was telling me I
was pregnant. As soon as I showed my excitement he stated that I was having a miscarriage. But



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when he walked out only to return with this lack of compassion of me taking what just happen to
me just to pass me a prescription following the words of " take this to complete the flushing
process". I was so offended I stormed out crying. I called my husband not knowing how to
explain what just happened. Mind you, My husband thinking we can't have any kids almost had
him questioning my faithfulness to our marriage. Well, I had no choice but to explain what was
just told to me. I just remember crying for a while. As a mother of two already I couldn't even be
a mother to them. I was not myself because I was having this fight in my mind of was I or was I
not. I ended up at the hospital the next day looking crazy to the doctors and nurses. I was told
there were no signs of me ever being pregnant. My whole experience has been one that I can't
forget about. I still don't know if I was or not but If I was did he do something to hurt our
chances?!"


Betrayal Trauma

"Question I have is why??? If you can legitimately be a doctor, why you didn't do it the right
way, why do it by fraudulent means??? That alone shows, he shouldn't have been able to use
fraudulent documents, if the ones that license had truly vetted his credentials for something so
important."

Betrayal is the violation of implicit or explicit trust. The closer and/ or more necessary the
relationship, the greater the degree of betrayal. Much of what is traumatic to human beings
involves some degree of betrayal. The phrase ‘betrayal trauma’ can be used to refer to a kind of
trauma independent of the reaction to the trauma. It occurs when the people or institutions on
which a person depends for survival significantly violate that person’s trust or well being.
Physical, sexual, and emotional abuse perpetrated by an individual who is in a caregiving
position are examples of betrayal trauma.

Betrayal trauma theory is a theory that predicts that the degree to which a negative event
represents a betrayal by a trusted and needed other will influence the way in which that event is
processed (Freyd, 1996). It posits that there is a social utility in remaining unaware of abuse
when the perpetrator is a caregiver; that under certain conditions, betrayal necessitates a
‘blindness’ in which the person does not have a conscious awareness of the betrayal, and that the
response to the trauma of the betrayal significantly influences the encoding of the experience and
the accessibility of the experience to awareness, as well as the psychological response. Some
people come to allow themselves to fully realize that they have been betrayed a long time after
the event, and this recovery from the betrayal only begins when the individual forms a new
understanding of a remembered event.

Self-interest would seem to demand that individuals would be highly sensitive to betrayal. As a
general rule, to the extent that you are able to choose with whom to engage, you would want to
avoid those who had previously betrayed you. However, in certain kinds of abusive betrayals,
removal is not perceived to be a viable option, the person doing the betraying is someone who is
believed to be vital and the individual feels that he or she cannot afford not to trust. The ability
to detect and acknowledge betrayal may need to be stifled for the greater goal, and it is perceived
that it may be more advantageous to be blind to the betrayal.



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Being sensitive to betrayal brings pain, and the pain can be great. When the betrayer is someone
on whom we are dependent, one either must block the awareness or experience the distress.
Perpetrators can take advantage and even enhance the likelihood of the natural inclination of
victims to block awareness and to forget. Forced silence, prohibition of contact and
communication with others, is a common component of abusive behaviors.

The effects of betrayal are widespread and lasting, varying depending on the nature of the
betrayal (Rachman, 2010). A harmful disclosure of information, for example, can cause distress,
punitive thoughts, and anger. Infidelity may cause shock, loss, distress, ruminative pre-
occupation, self-doubting, lowered self-esteem, and anger. A failure to provide expected
assistance causes distress, disbelief, ruminations, and anger. Dishonesty causes anger, distress,
and punitive thoughts. In some extreme cases, betrayal can cause PTSD-like symptoms such as
emotional numbing, distress, avoidance of reminders, intrusive images, rumination,
foreshortened future, a morbid pre-occupation with the breach of trust, self-doubt, and anger.
Betrayal can also leave the violated person feeling polluted and can be triggered by images or
memories of the violation or the violator. This feeling of contamination occurs because victims
feel degraded and humiliated, and the feelings of degradation leave them feeling sullied and
polluted.


Summary of Findings and Opinion

For all of the reasons outlined above, it is this examiner’s professional opinion, within a
reasonable degree of certainty, based on the aggregate data gathered with over three hundred
class members, that the fraudulent behavior of Oluwafemi Charles Igberase constituted the intent
to harm unknowing women who entrusted him with the most intimate parts of their body selves
and the most important moments of their lives. His objectification of their bodies for his own
stimulation and/or sadistic control is an additional aspect of wrongdoing that resulted in the
infliction of emotional distress. The misconduct of Oluwafemi Charles Igberase (fraudulently
known as Dr. Akoda) has resulted in varying degrees of confusion, anxiety, depression,
avoidance and fear of medical caregivers, and the loss of trust in medical providers and health
care institutions; for some, even more broadly applied.

Some of Igberase's patients were particularly vulnerable due to the prevalence of prior trauma
and peri-traumatic psychological processes due to the imbalance of power and betrayal trauma.
A history of childhood abuse, female gender, low socioeconomic status and social disadvantage,
psychiatric history, and various types of previous adversity are all factors that may have
enhanced the risk of symptoms for individual class members. Using the dataset to address these
risk factors for severity of damages was beyond the scope of this endeavor,

The consistency and intensity of the narrative content across three hundred women both affirms
the veracity of the histories and reported symptoms experienced as a result of learning of their
doctor's fraudulent activities. The presence of a substantial percentage of neutral responses
further enhances the credibility of the findings and renders less likely the prospect that the




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litigation itself has led to exaggerative patient reports. Some of the narratives suggest frank
medical malpractice, though this, too, was beyond the scope of this consultation and report.
At a minimum, the fraudulent misconduct and exploitation of patients committed by Igberase has
been a significant contributing factor to the well- being and current clinical status of many of the
women he exploited.

I am a Pediatrician and Child and Adolescent Psychiatrist with a Clinical Professor faculty
appointment in the Department of Psychiatry at The Perelman School of Medicine at the
University of Pennsylvania. For 19 years, I worked at The School of Medicine and the
Children's Hospital of Philadelphia (CHOP) where I served in both the Department of Child and
Adolescent Psychiatry and the Division of Child Development and Rehabilitation in the
Department of Pediatrics. Since September of 2006, I have been in the private practice of adult
and child psychiatry and consult to community based mental health agencies.

While my curriculum vitae largely reflects my academic research pursuits, my clinical work
bears relevance to this matter:
- In mass tort claims involving the transgressions of physicians, I have served as forensic
psychiatry consultant and expert for the plaintiff, the defense, the claims administrator, and the
judge assigned to disburse funds.
- In my clinical practice have treated hundreds of adults and children who have experienced
trauma, abuse, and neglect; including sexual abuse.
- I have been granted support from the Pew Charitable Trusts in the past to conduct best interest
evaluations in the City of Philadelphia, and continue to be funded by the Van Pelt Foundation to
conduct trainings for family court judges, as well as child protection agencies on the issues of
trauma, abuse, and neglect, and the resulting sequela and treatment of trauma.
- I have presented nationally on the complexity of these evaluations and best practices.
- I have lectured about and recently authored a chapter on abuse and neglect in a 2012 textbook
of Forensic Psychiatry.
- I currently direct the Child Forensic Psychiatry track in the Forensic Psychiatry fellowship at
the Perelman School of Medicine at the University of Pennsylvania.

I have completed additional training in adolescent medicine, forensic psychiatry, pediatric
forensic psychiatry, and am board certified in four areas: Pediatrics, Adult Psychiatry, Child and
Adolescent Psychiatry and (specialization in Forensic Psychiatry. I am a former Robert Wood
Johnson Clinical Scholar and Picker/Commonwealth Scholar, having focused on issues related to
vulnerability, resilience and childhood disabilities.

Consistent with Federal Rule 26, I have included a complete statement of my opinions and the
basis and reasons for them; the data considered in forming them; the records reviewed that
support my opinion. I have appended the questionnaire used to collect the data that informed
this consultation as well as the statements over 100 class members offered when completing the
questionnaires; the complete dataset is available upon request.

I have attached my curriculum vitae as well as a list of cases in which I have testified as an
expert at trial or by deposition. I have billed for 27 hours as compensation for this forensic
psychiatric consultation and my hourly rate is $600/hour. I was assisted in this assessment by



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two colleagues, Lisa Bain and Stephen Ehrlich. Lisa Bain is a science writer and her hourly rate
is $125/hour; she worked 25 hours on the development of this assessment tool and data analysis.
Stephen Ehrlich is an information technology consultant whose charge was $2300 for his role in
the development and digitalization of the on-line self-administered questionnaire, link and report
portal setup, secure hosting of the data management form for archiving, organizing and
quantitatively analyzing the dataset, and assistance with data analysis.

The above opinions have been rendered within a reasonable degree of medical certainty, based
on the review of materials provided to me. If provided with additional information, this report
would be revised to incorporate new data.

Thank you for the opportunity to review this matter and render an opinion. Should questions
arise regarding this correspondence, or if I can be of further assistance, please do not hesitate to
contact me.

Sincerely,

Annie Steinberg, M.D. (signed electronically)
__________________
Annie Steinberg, M.D.
Clinical Professor, Department of Psychiatry
Perelman School of Medicine at the University of Pennsylvania




Attachments
Attachment 1- Questionnaire
Attachment 2- Summary Statements




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                  Exhibit 2




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 1        IN THE UNITED STATES DISTRICT COURT
 2     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3                       - - -
       MONIQUE RUSSELL,    :
 4     JASMINE RIGGINS,    :
       ELSA M. POWELL, and :
 5     DESIRE EVANS,       :
              Plaintiffs, : Civil Action No.
 6                         : 18-5629
              v.           :
 7                         : Honorable
       EDUCATIONAL         : Joshua D. Wolson
 8     COMMISSION FOR      :
       FOREIGN MEDICAL     :
 9     GRADUATES,          :
              Defendant.   :
10

                                    -    -     -
11

                           October 10, 2019
12

                                    -    -     -
13
14                  Videotaped deposition of
15     ANNIE G. STEINBERG, M.D., taken pursuant
16     to notice, was held at The Bridge, 31
17     North Narberth Avenue, Narberth,
18     Pennsylvania 19072, beginning at 9:42
19     a.m., on the above date, before Kristy L.
20     Liedtka, a Professional Court Reporter
21     and Notary Public in and for the
22     Commonwealth of Pennsylvania.
23            GOLKOW LITIGATION SERVICES
          877.370.3377 ph | 917.591.5672 fax
24                  deps@golkow.com
Golkow Litigation Services                                          JA2394
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 1     pull them and take a look at them --
 2                 A.        Sure.
 3                 Q.        -- would I be able to see
 4     that you did a questionnaire or a survey
 5     like you did in this case?
 6                 A.        Sure.       Let me see.            So
 7     qualitative health research was --
 8                 Q.        Which one?           Let's make sure
 9     I can find the one you're talking about.
10                 A.        The fifth down was one of my
11     earlier pieces.
12                 Q.        From 1997?
13                 A.        Yeah, that was an early
14     qualitative.
15                 Q.        So was that a population
16     identified like this that was
17     predetermined and then you drafted a
18     survey to survey them?
19                 A.        Uh-huh.
20                 Q.        That's a yes?
21                 A.        That was not a survey.                     That
22     was an interview study.
23                 Q.        So that was in-person
24     interviews?
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 1                 A.        Yes.
 2                 Q.        So I'm talking about --
 3                 A.        I might have had --
 4                 Q.        -- surveys?
 5                 A.        -- a questionnaire.                  I don't
 6     remember.          The next one --
 7                 Q.        And, Dr. Steinberg, I
 8     appreciate your help today, but can you
 9     let me finish my questions --
10                 A.        Sure.
11                 Q.        -- and I'll let you finish
12     your answers?
13                 A.        Uh-huh.
14                 Q.        Great.        So that one was
15     interview studies in-person.                        So I'm not
16     talking about the in-person interviews --
17                 A.        Uh-huh.
18                 Q.        -- because I'm sure in your
19     line of work you've interviewed a lot of
20     people in person.                I'm talking
21     specifically about the surveys or the
22     questionnaires.
23                 A.        The DIS study was
24     essentially a survey, not in-person,
Golkow Litigation Services                                          JA2396
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 1     because we used interactive video.
 2                 Q.        And which one is that?
 3                 A.        That's the American Journal
 4     of Psychiatry, I believe.                     I can't
 5     remember these very well.                     It was 1998.
 6     But --
 7                 Q.        Okay.       So you think that one
 8     was a survey like you -- or a
 9     questionnaire like you sent out in this
10     case to a defined population of patients?
11                           MR. CERYES:            Objection to
12                 form and foundation.
13                           You can answer.
14                           THE WITNESS:            I think it was
15                 a video survey, if I recall.
16     BY MS. McENROE:
17                 Q.        So those would be video
18     interviews you're saying?
19                 A.        I -- I don't remember,
20     honestly.
21                 Q.        Okay.
22                 A.        So I better not say.
23                           The next one down is also an
24     interview survey.
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 1                 Q.        Right.        So I'm sure you did
 2     a lot of interview surveys, but taking a
 3     look through these, if there are any that
 4     were not interview surveys, that were
 5     more traditional surveys in the way that
 6     you provided today for this case?
 7                 A.        Well, let's see.               I
 8     believe -- I honestly don't remember.
 9     Isn't that terrible?                  Let's see.           All
10     of -- all of these things involved
11     interviews and questionnaire development,
12     whether the questionnaire was
13     administered in an interview format or
14     not.      It's just pretty much everything,
15     deaf woman, ah, here's one that was a
16     survey.        This one made JAMA.                  That's my
17     best journal.             That is page 15, second
18     down.
19                 Q.        Yep.       2003?
20                 A.        That was a survey
21     administered to medical faculty that
22     related to their experiences in the
23     academic environment, and JAMA thought it
24     was good enough, I guess, so that's good.
Golkow Litigation Services                                          JA2398
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 1                 Q.        Yep.       And were there
 2     interviews in conjunction with those
 3     surveys?
 4                 A.        No, I don't believe there
 5     were.       Uh-uh.
 6                 Q.        Okay.       Any others?
 7                 A.        I believe some of the
 8     parental decision-making that followed it
 9     on the next page.
10                 Q.        The next page, so page 16?
11                 A.        No, following immediately
12     that JAMA article.                The Archives of
13     Pediatric and Adolescent Medicine --
14                 Q.        Yeah.
15                 A.        -- I believe that was a
16     survey.
17                 Q.        With interviews?
18                 A.        But I -- it may have had
19     interviews.           I'm -- I'm really not
20     remembering.
21                 Q.        Okay.       Any others?
22                 A.        Honestly, I cannot recall.
23     There are many studies that look the same
24     to me now.          Some on genetic testing,
Golkow Litigation Services                                          JA2399
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 1     claims had to be excluded.                      And so we
 2     trained, oh, maybe 30 interviewers,
 3     something like that, and then I sort of
 4     managed oversight of those interviewers.
 5     Did -- listened in on their tapes, gave
 6     them feedback for future interviews and
 7     basically did sort of quality control on
 8     the interview process, what they were --
 9     how they were facilitating the interview,
10     tried to keep it to the integrity of the
11     actual questionnaire or interview, if you
12     will.       So basically administered --
13     administered questionnaire.
14                 Q.        So the questionnaire that we
15     were just discussing in the second case
16     wasn't sort of like it was disseminated
17     here by email, it was administered
18     through an interview process?
19                 A.        Yes.       Uh-huh.
20                 Q.        Okay.       And you mentioned
21     that in this case with the OB/GYN, that
22     it went from approximately 13,000
23     patients to about 9,000 patients because
24     there were some fraudulent claims; is
Golkow Litigation Services                                          JA2400
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 1     that correct?
 2                 A.        Or people didn't follow
 3     through with it.               One or the other.
 4                 Q.        What do you mean by
 5     "fraudulent claims"?
 6                 A.        Oh, well, when you have
 7     these sorts of class actions, mass torts,
 8     mass tort claims, a number of people find
 9     their way to this information, might live
10     in Alabama, Texas and claim that they
11     were patients of this physician.
12                 Q.        And what was the third of
13     the case settlements you were mentioning
14     before?
15                 A.        The third one involved a
16     rabbi and the rabbi was in charge of --
17     it's called a mikvah.                   It's sort of a
18     ceremonial religious immersion.                          That
19     women go into this cleansing ritual once
20     a month after their period is finished or
21     before they get married or at other vital
22     times where they want to be purified.
23     And the rabbi had set up video equipment.
24     So that was a -- like the second case I
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 1     mentioned where the women were unaware
 2     that they were videotaped until later; in
 3     this case the women were also unaware at
 4     the time and the damages occurred when
 5     they found out.
 6                  Q.        And was that a
 7     self-administered questionnaire?                            Was
 8     that an interview?
 9                  A.        That was a self-administered
10     questionnaire, yes.
11                  Q.        Were there interviews in
12     conjunction with those questionnaires?
13                  A.        There were not.               Uh-uh.
14                  Q.        And approximately how large
15     was that patient pop -- I'm sorry,
16     that --
17                  A.        It was hundreds.
18                  Q.        -- victim population?
19                  A.        Hundreds.          Not thousands.            I
20     forget the exact number.
21                  Q.        Did you design that
22     questionnaire?
23                  A.        I did.
24                  Q.        And did you administer that
Golkow Litigation Services                                           JA2402
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 1     questionnaire?
 2                  A.        That was a comp --
 3                  Q.        Did you -- were you involved
 4     in sending it out?
 5                  A.        It was a computer.
 6                  Q.        Okay.       Were you seeking
 7     information on emotional damages through
 8     that questionnaire?
 9                  A.        I was.        Uh-huh.
10                  Q.        When was that?
11                  A.        That was over the past year,
12     maybe 15, 18 months at the most.                            It was
13     about a year process.                    Finished up a few
14     little straggler cases in the last couple
15     of months.
16                  Q.        So for any of these cases
17     you mentioned or any of the other cases
18     you recall working on, had you ever
19     worked with plaintiffs' counsel involved
20     in this case before?
21                  A.        They were involved in -- and
22     I -- they were involved in the second
23     case.        They retained me in the second
24     case.        That's the only case in which they
Golkow Litigation Services                                           JA2403
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 1                  can get a tremendous amount of
 2                  information from each one.
 3     BY MS. McENROE:
 4                  Q.        What are the differences?
 5                            MR. CERYES:            Same objection.
 6                            THE WITNESS:             It probably
 7                  varies person to person more than
 8                  anything.          With studies in which
 9                  aren't really clinical work, in
10                  which I do both, the surveys are
11                  nicer because you can make sure
12                  you don't miss any areas.                      If
13                  you're just doing an interview,
14                  you can't remember everything to
15                  ask, but if you use inventories,
16                  anxiety, depression,
17                  post-traumatic stress, you can
18                  cover a lot of ground in a short
19                  amount of time and uncover areas
20                  that you might not otherwise have
21                  remembered to ask about or that
22                  somebody face-to-face will not
23                  say.
24     BY MS. McENROE:
Golkow Litigation Services                                           JA2404
                                                                        Page 42
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 1                  Q.        You mean using a diagnostic
 2     tool?
 3                  A.        Using an -- using a
 4     questionnaire or a survey --
 5                  Q.        Okay.
 6                  A.        -- as you call it.
 7                  Q.        Okay.       But is -- but I'm
 8     trying to figure out if there's a
 9     distinction in your mind between the more
10     canned, if you will, or standardized
11     diagnostic tools or questionnaires as
12     opposed to a survey --
13                  A.        Surveys.
14                  Q.        -- like the one designed in
15     this case?
16                  A.        You know --
17                            MR. CERYES:            Objection.
18                  Form and foundation.
19                            THE WITNESS:             You know, I --
20                  I no longer am certain.                    I would
21                  have always wanted to do an
22                  interview in -- in the past, but
23                  in the recent case I did involving
24                  the rabbi, for example, the
Golkow Litigation Services                                           JA2405
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 1                  lawyers were quite vehemently
 2                  opposed to an interview and only
 3                  wanted me to do -- develop a
 4                  questionnaire and administer it
 5                  through the computer.
 6                            I thought it would be a
 7                  shortcoming, but in fact, there
 8                  was a tremendous amount of
 9                  information that women poured into
10                  their responses.               So I really have
11                  come to understand that when
12                  people are motivated to express
13                  themselves, they will use whatever
14                  modality is available to them to
15                  communicate their experiences.
16     BY MS. McENROE:
17                  Q.        In that rabbi case, did you
18     view yourself as diagnosing anyone
19     through those questionnaires?
20                  A.        We did ask about symptoms of
21     depression, anxiety and post-traumatic
22     stress, but of course I would never
23     diagnose somebody on the basis of a
24     response to a questionnaire.
Golkow Litigation Services                                           JA2406
                                                                        Page 44
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 1                  Q.        Is that true in this case as
 2     well, that you would not consider
 3     yourself as diagnosing any of these
 4     individuals?
 5                  A.        It was never my intention to
 6     present psychiatric diagnoses of any
 7     individual woman in this matter.
 8                  Q.        Okay.       Individually or as a
 9     group?        You haven't diagnosed them as a
10     whole?
11                  A.        Correct.
12                  Q.        Okay.
13                  A.        I would not --
14                  Q.        And you're --
15                  A.        I would not --
16                  Q.        You're laughing a little,
17     but can you explain what you mean by
18     that?        Would you be able to diagnose a
19     group as a whole?
20                  A.        No, a psychiatric diagnosis
21     is administered individually, but I would
22     not fathom a group diagnosis, no.
23                  Q.        Okay.
24                  A.        Group psychiatric diagnosis.
Golkow Litigation Services                                           JA2407
                                                                        Page 45
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 1                  Q.        We discussed a little bit
 2     earlier some of your experience of
 3     designing and administering surveys and
 4     some of your prior professional
 5     experiences.             Can you articulate for us
 6     the principles that govern the sound
 7     survey design?
 8                            MR. CERYES:            Objection to
 9                  the breadth of the question.
10                            You can answer.
11                            THE WITNESS:             I don't know
12                  that that -- you know, that I can
13                  profess to give you a lecture on
14                  sound survey design.                  I just can
15                  tell you that I studied it like --
16                  like if you asked me, you know,
17                  the basis for a psychiatric
18                  interview, I suppose because I'm a
19                  forensic psychiatrist I would have
20                  to be able to provide that for
21                  you, but I don't have any degrees
22                  in survey design and I don't know
23                  that I would want to make a feeble
24                  effort at articulating that for
Golkow Litigation Services                                           JA2408
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 1                  you.      I -- I only know that I've
 2                  studied it and that I've learned
 3                  from smart people and someplace
 4                  it's in the soup.                You know, it's
 5                  mixed in the -- it's in the blend
 6                  of what I have come to understand
 7                  and to have learned from very good
 8                  teachers.
 9     BY MS. McENROE:
10                  Q.        So what is it that you
11     learned from the smart people about
12     governing surveys?
13                  A.        That question --
14                            MR. CERYES:            Same objection.
15                            You can answer.
16                            THE WITNESS:             That questions
17                  need to be written as open-ended
18                  as possible and not directing
19                  people, but that choices do need
20                  to be given for those people who
21                  may not be able to retrieve words
22                  or descriptors.
23     BY MS. McENROE:
24                  Q.        Anything else?
Golkow Litigation Services                                           JA2409
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 1                            MR. CERYES:            Same objection.
 2                            THE WITNESS:             That you open
 3                  gently and you proceed with
 4                  respect and caution and
 5                  thoughtfulness.
 6     BY MS. McENROE:
 7                  Q.        Anything else?
 8                  A.        And in this case --
 9                            MR. CERYES:            Same objection.
10                            THE WITNESS:             Sorry.
11                            And in this case, that I
12                  don't extend beyond my domain.
13     BY MS. McENROE:
14                  Q.        What do you mean by that?
15                  A.        If my domain is psychiatry,
16     then the questions I ask should not be
17     about obstetrics or gynecology beyond --
18     beyond common sense.
19                  Q.        You don't think that your
20     questions in the questionnaire in this
21     case had anything to do with obstetrics
22     or gynecology?
23                  A.        I said beyond the common
24     understanding of general practice and
Golkow Litigation Services                                           JA2410
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 1     demeanor --
 2                  Q.        Okay.
 3                  A.        -- of a physician.
 4                  Q.        Anything else?
 5                  A.        No, I think that's probably
 6     all I would say for now.
 7                  Q.        Did you sort -- I'm sorry,
 8     strike that.
 9                            Did you cite any sources in
10     ensuring that you were preparing a sound
11     survey in this case?
12                  A.        I'm sorry, I don't
13     understand your question.                       Did I cite?
14                  Q.        Did you consult with
15     literature on surveys or those types of
16     issues and how to design a survey in
17     preparing the one that you did for this
18     case?
19                  A.        No, I don't think I did.
20     Uh-uh.
21                  Q.        You worked with others in
22     doing the project for this case --
23                  A.        Uh-huh.
24                  Q.        -- is that correct?
Golkow Litigation Services                                           JA2411
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 1                  A.        Correct.          Uh-huh.
 2                  Q.        So I have Lisa Bain and
 3     Stephen Ehrlich; is that correct?
 4                  A.        Yes.
 5                  Q.        Anybody else?
 6                  A.        That's it.
 7                  Q.        Okay.       So Lisa Bain --
 8                  A.        Uh-huh.
 9                  Q.        -- in your report you wrote
10     that she's a science writer and her
11     hourly rate is $125 per hour.                          She worked
12     25 hours on the development of this
13     assessment tool and her data analysis.
14                            Does that sound right?
15                  A.        Yes.       Uh-huh.
16                  Q.        What do you mean by her
17     development -- or I should -- strike
18     that.
19                            What do you mean by "the
20     development of this assessment tool"?
21                  A.        I considered Lisa Bain to be
22     a fantastic extender for me.                         She worked
23     with me over many years as the program
24     manager for those other grants involving
Golkow Litigation Services                                           JA2412
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 1     questionnaires and interviews.                          So we
 2     work fairly seamlessly together and she's
 3     an excellent writer, so she can edit me,
 4     I can edit her and we can go back and
 5     forth and discuss ways to phrase
 6     questions about dates of birth versus age
 7     versus -- you know, and what -- how we
 8     can capture the information in the best
 9     way.
10                  Q.        What is her educational
11     background?
12                  A.        She has I believe a master's
13     degree in science writing.
14                  Q.        Do you know if she has any
15     degrees in marketing or surveys?
16                  A.        No, I don't believe she
17     does.
18                  Q.        Was she involved in any of
19     those other cases you mentioned, the
20     pediatrician, the OB/GYN with the
21     videotape and -- or the rabbi with the
22     videotape?
23                  A.        She was definitely involved
24     in the OB/GYN.              And let me just think.
Golkow Litigation Services                                           JA2413
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 1     She was definitely involved in the rabbi
 2     case too.           I don't think she was involved
 3     in the pediatrician case.
 4                  Q.        And when you say she was
 5     involved, in a similar way to her
 6     involvement in this case?
 7                  A.        Yes.       She did more -- she
 8     spent a tremendous amount of time
 9     listening to the interviews that the
10     trainees, most of them were like
11     psychologists or psych -- psychology
12     interns, people who have already finished
13     some of their psychology training, that
14     they -- that they were doing -- not live,
15     she would listen to them after and then
16     give them feedback or give me feedback
17     and we'd give feedback together to the
18     interviewer about how the -- those
19     interviews were going.
20                  Q.        Did she help to design any
21     questions or questionnaires involved in
22     the OB/GYN or the rabbi case?
23                  A.        No, I believe for -- I
24     worked with -- in those I worked with
Golkow Litigation Services                                           JA2414
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 1     Girija Kaimal, who is -- she might be an
 2     anthropologist.               I forget what her --
 3     she's a professor at Drexel and -- so she
 4     helped with the methodology.                         And I also
 5     worked with Elizabeth Hembree, who's a
 6     researcher at Penn on those
 7     questionnaires.
 8                  Q.        Why didn't you work with
 9     them in this case?
10                  A.        Because I used the same
11     methodology and versions of the same
12     questionnaire and I felt very comfortable
13     with what we had developed before and
14     this was an adaptation of that.
15                  Q.        Did they review the
16     questionnaire in this case?
17                  A.        No.      Uh-uh.
18                  Q.        Did you discuss this case
19     with either of them?
20                  A.        No.
21                  Q.        For Lisa Bain, when you say
22     that she did data analysis, what do you
23     mean about that?
24                  A.        I mean she and I both
Golkow Litigation Services                                           JA2415
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 1     reviewed all the computerized data that
 2     you have on the 300 and some -- 305
 3     women, and that was a lot of work, as you
 4     may know.           So we both did it and then we
 5     talked about it a number of times and
 6     discussed what trends we were seeing and
 7     what could be said.                  Really just a -- I
 8     always need somebody to -- to work with
 9     to bounce off the ideas, make sure that I
10     am perceiving things correctly.                           And then
11     we discussed how we would write up the
12     synthesis or summary of what was
13     discussed and we shared back and forth in
14     that process.
15                  Q.        When you say that you were
16     reviewing the computerized data, in what
17     format were you doing that?
18                  A.        On the laptop.
19                  Q.        And was that provided to you
20     in Excel form or how did you get it?
21                  A.        Same as you.             It was in
22     individual -- you know, you would have to
23     open individual files to review.                            And
24     ultimately we did create spreadsheets and
Golkow Litigation Services                                           JA2416
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 1     so on and so forth and then fancy pie
 2     charts and so on were derived from the
 3     data.
 4                  Q.        Did you create spreadsheets
 5     on each of the questions?
 6                  A.        No, I don't think we did.                    I
 7     think we had -- we had spreadsheets on
 8     the summary statements.                     We developed in
 9     the end some spreadsheets on those and
10     then I think we asked Stephen particular
11     questions and to -- we had different
12     versions and formats of looking at that
13     to -- in a way that would be visually
14     understandable to other people and
15     decided on sort of pie chart
16     configurations this time.
17                  Q.        And do you have --
18                            MR. CERYES:            Just jump in
19                  here for a second.                 I think we're
20                  getting close to what would
21                  constitute attorney work product
22                  in terms of communications that
23                  Dr. Steinberg had with other
24                  consultants of ours in this case.
Golkow Litigation Services                                           JA2417
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 1                  And so -- and I agree you're
 2                  entitled to any facts and data
 3                  that Dr. Steinberg considered,
 4                  but, you know, I would object and
 5                  instruct Dr. Steinberg not to go
 6                  beyond that in terms of
 7                  discussions and communications
 8                  that she has had with Stephen
 9                  Ehrlich and Lisa Bain.                    And move
10                  to strike to the extent that we've
11                  gotten into that already, but with
12                  that objection we can proceed.
13                            MS. McENROE:             So I disagree.
14     BY MS. McENROE:
15                  Q.        I mean, Lisa is not an
16     attorney, I presume?
17                  A.        Uh-uh.
18                  Q.        She's not a --
19                  A.        No.
20                  Q.        Okay.       And Stephen Ehrlich
21     is not an attorney?
22                  A.        No.
23                  Q.        And they were both hired to
24     help assist you in your work in this
Golkow Litigation Services                                           JA2418
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 1     case?
 2                  A.        Well, I identified them, but
 3     I believe they were hired by the
 4     attorney.
 5                  Q.        Right.        But they did assist
 6     you with your work in this case?
 7                  A.        They did.          Uh-huh.
 8                  Q.        Okay.
 9                            MS. McENROE:             And I'm glad
10                  that you, counsel, agree that
11                  we're entitled to the data.                           So I
12                  would ask that we work out that we
13                  can get all of that data after
14                  this -- after the deposition is
15                  done.       We've only gotten the raw
16                  versions of the survey responses
17                  and the empty survey Word
18                  document, but other than that, to
19                  the extent that there's other data
20                  that exists, we would request that
21                  we get that.
22                            MR. CERYES:            Right.        And you
23                  have all of the data that was
24                  compiled on these individuals.                          To
Golkow Litigation Services                                           JA2419
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 1                  the extent that there were other
 2                  drafts in terms of their
 3                  presentation of collections of
 4                  those data or statistics regarding
 5                  those data, our position would be
 6                  that that would constitute
 7                  attorney work product and draft
 8                  versions of the reports, which
 9                  would similarly not be
10                  discoverable.
11                            MS. McENROE:             Well, let's
12                  talk about it after --
13                            MR. CERYES:            Sure.
14                            MS. McENROE:             -- the
15                  deposition or we can I'm sure
16                  write each other letters about it,
17                  but we disagree.
18     BY MS. McENROE:
19                  Q.        So Stephen Ehrlich, have you
20     worked with him before?
21                  A.        Uh-huh.         Yes.
22                  Q.        Okay.       And in your report
23     you wrote that he's an information
24     technology consultant, correct?
Golkow Litigation Services                                           JA2420
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 1                  A.        Yes.       Uh-huh.
 2                  Q.        So just in plain words
 3     basically what did he do to help in this
 4     case?
 5                  A.        So Stephen set up a website,
 6     a confidential website that would be
 7     secure and created the technology for
 8     allowing women to enter that secure site
 9     with an ID and -- so that we would not
10     have their names, that they would be
11     anonymized for us.                 That they would be an
12     ID number as opposed to a name.                           And he
13     also created the technology so that the
14     written questionnaire that we had could
15     be put into a computer form and to design
16     it so that it would be visually
17     accessible to women, that they would not
18     be intimidated by it, that it would flow
19     and they continue -- complete the
20     questionnaire, which is not a small feat.
21     And then Stephen also created a mode for
22     us to gain access with our own specific
23     passwords so that we could follow daily,
24     hourly sometimes, how many women had
Golkow Litigation Services                                           JA2421
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 1     completed, what they had written, and
 2     then later he helped us to compile the
 3     data in a way that was easier for us to
 4     see the different responses.                         Their ages,
 5     their -- how long they had known Dr.
 6     Akoda, under what circumstance they had
 7     come to him and so on.
 8                  Q.        Have you seen what the
 9     survey looked like when it was on the
10     website?
11                  A.        Yes.
12                  Q.        Okay.       So you've seen what
13     the user experience was like?
14                  A.        Yes, uh-huh.
15                  Q.        Did you have any say or
16     input into figuring out or deciding how
17     that would appear?
18                  A.        Totally.
19                  Q.        Okay.       And so describe to me
20     when someone would log in using their
21     user ID what they would see next.
22                  A.        Let me see if I have it.
23     They would see an introduction and then
24     they would see the first question and --
Golkow Litigation Services                                           JA2422
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 1     and so on.           I don't remember how many
 2     questions per screen they had.
 3                  Q.        Well, that's what I was
 4     going to ask.              Was it a choose your own
 5     adventure?           Right?        If you said yes to
 6     one and then it said to skip to the next
 7     question, would it automatically do that
 8     for you?
 9                  A.        There were a couple of --
10     two or maybe three questions at the most
11     where we decided if they said no to
12     something, that it would automatically
13     move them to the next, but typically
14     we -- most of the questionnaire was
15     complete everything.
16                  Q.        But were they automatically
17     moved to the next if that was what their
18     response had prescribed for in those
19     circumstances or was it a circumstance
20     that they could have responded even for
21     the other questions that they were sort
22     of then not eligible for or that didn't
23     make sense for them to answer?
24                  A.        I'm trying to remember the
Golkow Litigation Services                                           JA2423
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 1                  A.        Correct.
 2                  Q.        -- say back?
 3                  A.        I think he smirked.
 4                  Q.        Okay.       So that was a
 5     nonresponse response?
 6                  A.        Yes.
 7                  Q.        Is he being compensated for
 8     his time in --
 9                  A.        No --
10                  Q.        -- connection with this
11     case?
12                  A.        -- he's not.
13                  Q.        Who first contacted you in
14     connection with this litigation?
15                  A.        I believe it was Mr. Ceryes.
16                  Q.        Okay.       And when was that?
17                  A.        In September.
18                  Q.        Of 2019?
19                  A.        Yes.
20                  Q.        Would September 4th sound
21     about right?
22                  A.        3rd, 4th, something around
23     there.
24                  Q.        In or around that time.                     And
Golkow Litigation Services                                           JA2424
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 1     then the report you produced was dated
 2     September 23rd, correct?
 3                  A.        Yes.
 4                  Q.        So in between September 3rd
 5     or 4th and September 23rd, is it correct
 6     that you designed, administered and then
 7     digested the outcome from the
 8     questionnaire in this case?
 9                  A.        Are you going to ask me if
10     I've slept during that time?
11                  Q.        But that's true, correct?
12                  A.        That is true.
13                  Q.        Okay.       And that's also the
14     time in which you reviewed, if at all,
15     the materials involved in this case --
16                  A.        Uh-huh.
17                  Q.        -- separate from the survey
18     responses?
19                  A.        Uh-huh.
20                  Q.        Is that correct?
21                  A.        Correct.          Uh-huh.
22                  Q.        Where did you get the
23     information for the background section in
24     your report?
Golkow Litigation Services                                           JA2425
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 1                  A.        I had asked Mr. Ceryes to
 2     send me a letter with the facts of the
 3     case.        I had the Complaint and I had --
 4     at the time I had two depositions.                                 I
 5     don't even think I had time to review the
 6     second set of those depositions.                            So I
 7     think it was the first set of depositions
 8     for the two plaintiffs and I had also one
 9     deposition from somebody associated with
10     ECFMG that I perused.
11                  Q.        So it looks to me like your
12     counsel has indicated to us that you got
13     deposition transcripts for plaintiffs
14     Evans, Powell -- Evans and Powell.                                 Were
15     those the two plaintiffs whose
16     depositions you reviewed?
17                  A.        I brought everything with
18     me, so I can check.                  I don't remember --
19                  Q.        Great.
20                  A.        -- their names.
21                  Q.        Yeah, let's take a look.
22                  A.        Evans, Powell and Mr. Kelly.
23                  Q.        Great.        Okay.       And what else
24     do you have in that pile, just so I don't
Golkow Litigation Services                                           JA2426
                                                                        Page 76
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 1     lose track of it?
 2                  A.        I have your Exhibit 3.
 3                  Q.        Yeah.       So you can put that
 4     aside.        But then you have a copy of your
 5     report, it looks like.
 6                  A.        I have your Exhibit 2.
 7                  Q.        Yep.
 8                  A.        I have now a collated
 9     version of the Complaint -- the -- the
10     statements.
11                  Q.        So just to make sure I
12     understand what that is.                      So those are
13     the statements that -- there was a
14     statement and then colon section on the
15     questionnaire that people could chose to
16     write in a statement.                    So is this just a
17     document pulling together each of the
18     sections from each of those?
19                  A.        All of the --
20                  Q.        If there was one?
21                  A.        Yes.       All of the decided 300
22     individual comments would not be suitable
23     to bring today.               And I have the notice of
24     deposition.
Golkow Litigation Services                                           JA2427
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 1                  Q.        Great.
 2                  A.        I should have printed it
 3     out, but I don't have it here.
 4                  Q.        That's okay.             What is STAT
 5     News, S-T-A-T News?
 6                  A.        Did I cite that as a source?
 7                  Q.        Yeah, you said Akoda has
 8     claimed he attended medical school in
 9     Nigeria, although STAT News was unable to
10     verify this claim.
11                  A.        I don't recall, but when Mr.
12     Ceryes called me, I probably ran a search
13     on Google of the name "Akoda" and
14     probably was something on a website
15     someplace.
16                  Q.        So in addition to the
17     materials considered here, the facts
18     provided to you from counsel, you also
19     googled Dr. Akoda?
20                  A.        Yes.
21                  Q.        What else did you find about
22     Dr. Akoda other than the STAT News --
23                  A.        I don't believe I had much
24     time to search very much.                       I just wanted
Golkow Litigation Services                                           JA2428
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 1     to see kind of what was out there.
 2                  Q.        And what was out there?
 3     What did you see?
 4                  A.        I don't even remember.                      If I
 5     cited it, that's because I saw it and
 6     scribbled something down and included it
 7     in here, but that...
 8                  Q.        Is STAT News a news source
 9     that you refer to in checking out other
10     physicians in your usual practice?
11                  A.        I don't usually check out
12     other physicians, but if I get a case, I
13     sometimes will do a quick search.
14     Usually I spend more time with it.                                 In
15     this case, I had to get on to the task at
16     hand.        So I'm surprised I even included
17     it in here.            So -- I don't even remember
18     doing that, but...
19                  Q.        Okay.       It's possible you
20     weren't the one who wrote that?
21                  A.        No, it's possible I did, but
22     I just don't remember.
23                  Q.        Okay.
24                  A.        There was so much
Golkow Litigation Services                                           JA2429
                                                                        Page 80
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 1     information in a very short time.                             It was
 2     a very crazy time.
 3                  Q.        Well, that's what I'm trying
 4     to understand, how you got this
 5     background section together in that short
 6     of time and on the limited sources that
 7     you had?
 8                  A.        I relied heavily on Mr.
 9     Ceryes's letter and the Complaint.
10                  Q.        Okay.
11                  A.        I would say the Complaint
12     probably the most -- most of all.
13                            MR. CERYES:            Just for the
14                  record, it's Ceryes, like World
15                  Series.
16                            THE WITNESS:             I'm sorry.
17                            MR. CERYES:            That's okay.
18                  Just in case we're going to use my
19                  name a lot more, I want to get it
20                  right.
21     BY MS. McENROE:
22                  Q.        Okay.       So looking in the
23     background section on page 2.                          Towards
24     the bottom there's a paragraph that
Golkow Litigation Services                                           JA2430
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 1     starts "with his ECFMG certification in
 2     hand."
 3                            Do you see that?
 4                  A.        Uh-huh.
 5                  Q.        Towards the end there's a
 6     sentence that starts "later that year."
 7     It's about three lines up from the bottom
 8     of that paragraph.
 9                            Do you see where I am?
10                  A.        Yes.
11                  Q.        It says, "Later that year,
12     using the name Charles John Nosa Akoda, a
13     falsified Social Security number, a fake
14     permanent residence card, and a fake
15     Nigerian passport, he applied for and
16     received a Maryland medical license."
17                            Do you see that?
18                  A.        Yes.
19                  Q.        Do you know what name was on
20     Dr. Akoda's ECFMG certificate?
21                  A.        No.
22                  Q.        Are you aware of whether the
23     plaintiffs in this case have filed any
24     other lawsuits stemming out of
Golkow Litigation Services                                           JA2431
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 1     certain way when they learned about
 2     Dr. Akoda's history?
 3                  A.        Yes, each response was
 4     different.           Each and every response was
 5     different.
 6                  Q.        What do you understand the
 7     purpose of your report to be in this
 8     lawsuit?
 9                  A.        My report was simply to give
10     information to the plaintiffs' attorneys
11     about what the women reported.
12                  Q.        Okay.       Were you trying to
13     give a set of data from which any other
14     conclusions could be drawn, to
15     extrapolate to another population of
16     patients, for example?
17                  A.        I don't think I understand
18     the question.
19                  Q.        So what I mean by that is,
20     so of the population that was given the
21     survey, about half responded, correct?
22                  A.        Uh-huh.         Yes.      Uh-huh.
23                  Q.        Was it your intention to use
24     the outcome of the results from the half
Golkow Litigation Services                                           JA2432
                                                                        Page 92
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 1     that responded to be statistically
 2     significant for the half that did not
 3     respond or for those who may have been
 4     treated or examined by Dr. Akoda, but did
 5     not receive the survey?
 6                            MR. CERYES:            Objection.
 7                  Form and foundation.
 8                            You can answer.
 9                            THE WITNESS:             Yes, I think
10                  that that response rate would
11                  suggest that there is
12                  reasonable -- it is reasonable to
13                  assume that of the women that did
14                  not respond, some of those women
15                  would have also had an experience
16                  similar to these women.
17     BY MS. McENROE:
18                  Q.        Do you think that there's
19     anything at all meaningful to the fact
20     that half of the women didn't choose to
21     respond?
22                  A.        No, we had a very short
23     turnaround time.                Extremely short
24     turnaround time.
Golkow Litigation Services                                           JA2433
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 1                  Q.        And so you think it's just a
 2     matter of convenience.                    It's not a matter
 3     of that they may have just chosen not to
 4     respond?
 5                  A.        Oh, well, that was certainly
 6     a good part of it.                 We had a remarkable
 7     response rate given the women were not
 8     even given a week to respond.
 9                  Q.        On what basis do you say
10     that you got a remarkable response rate?
11                  A.        Because people are busy and
12     this was an unexpected intrusion into
13     their lives and their daily schedules.
14                  Q.        Do you have a sense for how
15     quickly or frequently plaintiffs in
16     lawsuits tend to respond to requests from
17     their counsel?
18                  A.        I know in other cases that
19     I've done that a week would not have been
20     adequate time.
21                  Q.        Have you gotten responses
22     since September 23rd?
23                  A.        I don't know.
24                  Q.        Have you asked?
Golkow Litigation Services                                           JA2434
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 1                  A.        No, we decided to keep it
 2     open, but I did not check.
 3                  Q.        Do you know if anyone else
 4     checked?
 5                  A.        I don't know.
 6                  Q.        So was it your intention to
 7     use the outcome of this questionnaire or
 8     this survey to help diagnose any
 9     individual plaintiff?
10                  A.        No.
11                  Q.        Is it your intention for the
12     outcome of this questionnaire or survey
13     to help diagnose the plaintiff class as a
14     whole?
15                  A.        Not to present psychiatric
16     diagnoses, no.
17                  Q.        Okay.       At one point in your
18     report you say, "forensic psychiatric
19     consultation was requested."                         What do you
20     mean by "forensic psychiatric
21     consultation" in that -- in that --
22                  A.        Sure.
23                  Q.        -- usage?
24                  A.        Well, it's a consultation
Golkow Litigation Services                                           JA2435
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 1     because they have asked my -- for my
 2     input in the matter.                   It's psychiatric
 3     because it's addressing emotional
 4     damages, and as a psychiatrist I have
 5     some experience with listening to people
 6     and understanding what their internal
 7     experience of an action might have been,
 8     and it's forensic because it pertains to
 9     the court and matters related to
10     questions that can appear in court.
11                  Q.        I see.        Okay.       At one point,
12     you call your responses -- strike that.
13                            At one point you call your
14     analysis provisional.                    Have you done any
15     non-provisional analysis since then?
16                  A.        No.
17                  Q.        Do you intend to?
18                  A.        Only if asked.
19                  Q.        Have you written any other
20     expert report in this case other than --
21     and I'm not talking about drafts of, but
22     any other reports other than what's been
23     marked as Exhibit 3?
24                  A.        No.
Golkow Litigation Services                                           JA2436
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 1     Aggrieved is a funny word.                       It's more
 2     like a complaint as opposed to damage.
 3                  Q.        So you think that through
 4     your questionnaire you've proven to
 5     yourself at least that there were
 6     specific damages to particular patients
 7     in this case?
 8                  A.        I do believe that, yes.
 9                  Q.        Having not spoken to any of
10     them?
11                  A.        I do believe that, yes.
12                  Q.        What do you believe your
13     opinions to be through this expert
14     report?
15                            MR. CERYES:            Objection.
16                  Breadth of the question.
17                            You can answer.
18                            THE WITNESS:             My opinion is
19                  that it's not good for women to
20                  find out that their doctor may not
21                  have gone to medical school or
22                  have, in fact, been a doctor as
23                  they perceive credentialing to
24                  imply.
Golkow Litigation Services                                           JA2437
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 1                            And in this particular case,
 2                  it was additional affirmation for
 3                  the women that the behaviors he
 4                  exhibited in the office with them,
 5                  in the hospital with them were
 6                  abusive, not just atypical.
 7     BY MS. McENROE:
 8                  Q.        What do you mean by that
 9     second statement?
10                  A.        That some of the comments he
11     made, some of the ways he put his hands
12     on them and in them were wrong and not
13     just -- not just a cultural difference or
14     a moment in time, but that they were --
15     they were related to something bigger.
16                  Q.        So that's an opinion you're
17     offering in this case?
18                  A.        Yes.       Uh-huh.
19                  Q.        Having not actually spoken
20     to any of the individual plaintiffs?
21                  A.        Correct.
22                  Q.        Having not examined their
23     medical records?
24                  A.        Correct.
Golkow Litigation Services                                           JA2438
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 1                  Q.        Having not spoken to
 2     Dr. Akoda?
 3                  A.        Correct.
 4                  Q.        Having not observed
 5     Dr. Akoda in practice?
 6                  A.        Yes, that's correct.
 7                  Q.        Okay.       And so you said the
 8     opinion you're offering in this case --
 9     one of the opinions you're offering in
10     this case is that it's not good for women
11     to find out that their doctor did not go
12     to medical school or that he was not
13     really a doctor.                If it turns out that
14     Dr. Akoda really was a doctor --
15                  A.        Uh-huh.
16                  Q.        -- but that he had committed
17     Social Security fraud --
18                  A.        Uh-huh.
19                  Q.        -- but that the plaintiffs
20     were led to believe that he was not
21     really a doctor --
22                  A.        Uh-huh.
23                  Q.        -- wouldn't that lie to them
24     about him not really having been a doctor
Golkow Litigation Services                                           JA2439
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 1     be what actually caused them the harm?
 2                            MR. CERYES:            Objection.
 3                  Form and foundation.
 4                            THE WITNESS:             Well, I would
 5                  have to say the question was a
 6                  little bit convoluted for me, so
 7                  if you ask it in a simpler way for
 8                  my brain, that I would probably be
 9                  happy to answer.
10     BY MS. McENROE:
11                  Q.        Sure.       So you had said that
12     one of your opinions is that it's not
13     good for women to find out that their
14     doctor basically was not a doctor.
15                  A.        Uh-huh.         Uh-huh.
16                  Q.        Is that correct?
17                  A.        Yes, that's correct.
18                  Q.        If Dr. Akoda really was a
19     doctor --
20                  A.        Uh-huh.
21                  Q.        Correct?          I'm making sure
22     you understand what I'm saying.
23                  A.        I'm following you.
24                  Q.        Okay.       If it turns out that
Golkow Litigation Services                                           JA2440
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 1                  substance abuse or Internet
 2                  addiction or other things.                       I will
 3                  pull a questionnaire relating to
 4                  that.       Sometimes I'll use a
 5                  questionnaire about autism
 6                  spectrum symptoms.                 So -- same for
 7                  OCD.      So I have a wide variety of
 8                  questionnaires in my office that
 9                  after I am finished interviewing
10                  or sometimes in the midst of it, I
11                  will give them a questionnaire.                        I
12                  do not administer psychological
13                  testing.         That is not my domain.
14                  I'm not a psychologist.                    I haven't
15                  been trained to do that.                     So I use
16                  forms that have been developed,
17                  validated, widely accepted for the
18                  most part, and I find them to be
19                  helpful and even -- even the ones
20                  that -- I have also written out
21                  some -- some questions that I use
22                  routinely.           I guess you would call
23                  them a questionnaire.                   They're
24                  projective questions that I do
Golkow Litigation Services                                           JA2441
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 1                  administer routinely that is not
 2                  self-administered.                 I will usually
 3                  ask the questions.
 4     BY MS. McENROE:
 5                  Q.        In an interview format?
 6                  A.        Uh-huh.
 7                  Q.        That's a yes?
 8                  A.        That's -- sorry.                That's a
 9     yes.
10                  Q.        You mentioned that you use
11     some questionnaires or surveys that have
12     been validated or widely accepted.                                 What
13     do you mean by that?
14                  A.        They are typically
15     questionnaires that are not new.                            They
16     are published in peer reviewed journals
17     and sort of the standard forms that can
18     augment my clinical interview.
19                  Q.        Have you ever published a
20     questionnaire or a survey in a peer
21     reviewed publication?
22                  A.        You know, I -- I might have
23     thought no, but I recently received some
24     requests for questionnaires I had
Golkow Litigation Services                                           JA2442
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 1     developed and I had to notify the
 2     individual that I no longer have access
 3     to them myself.               They related to
 4     decision-making and somebody from South
 5     America wrote to me about an
 6     autism-related questionnaire with blind
 7     individuals.
 8                  Q.        Right.        But -- so my --
 9                  A.        So I guess I did develop
10     some questionnaires and they were
11     published in peer reviewed journals, yes.
12                  Q.        But the questionnaires
13     themselves were published?
14                  A.        Yes.
15                  Q.        Not just the --
16                  A.        Well, you know, it's funny.
17     The questionnaires were not included,
18     they never are in -- well, they rarely
19     are because very often people want to
20     sell their questionnaires.
21                  Q.        So what I'm trying to
22     understand is when you said that you used
23     validated and widely accepted
24     questionnaires, what that means.                            And you
Golkow Litigation Services                                           JA2443
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 1     said that they're in published --
 2                  A.        Uh-huh.
 3                  Q.        -- they're often older,
 4     they've been used a lot --
 5                  A.        Uh-huh, uh-huh.
 6                  Q.        And they're in publications?
 7                  A.        Right.
 8                  Q.        So presumably you would have
 9     access to those questionnaires if you're
10     using them?
11                  A.        Yes, you buy them.
12                  Q.        You buy them.             I see.
13                  A.        You buy them.
14                  Q.        So you buy them from the
15     authors or you buy them from the
16     publication?
17                  A.        You buy them from a company
18     that publishes them.
19                  Q.        Okay.       Are any of your
20     questionnaires or surveys that you've
21     prepared for sale?
22                  A.        No.      Uh-uh.
23                  Q.        Is the questionnaire or
24     survey you used in this case validated?
Golkow Litigation Services                                           JA2444
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 1                  A.        No.
 2                  Q.        Is it widely accepted?
 3                  A.        It's individually designed
 4     for this project.
 5                  Q.        Did you do any pretesting?
 6                  A.        No.      Pretesting in this
 7     brief sense, that both Lisa and I ran
 8     through the questionnaire as a pretest to
 9     see how long it would take to complete.
10                  Q.        So you -- you and Lisa ran
11     through the questionnaire for time?
12                  A.        Uh-huh.         Yes.
13                  Q.        Length?
14                  A.        Uh-huh.
15                  Q.        Okay.       Did you do any other
16     pretesting on the content or the tone of
17     the questions or the order of the
18     questions, anything like that?
19                  A.        No.
20                  Q.        I think we established
21     earlier, but you've never met Dr. Akoda,
22     correct?
23                  A.        Correct.
24                  Q.        And you've never spoken with
Golkow Litigation Services                                           JA2445
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 1     him?
 2                  A.        Correct.
 3                  Q.        You've never treated him?
 4                  A.        Correct.
 5                  Q.        And you've never diagnosed
 6     him with anything?
 7                  A.        Correct.
 8                  Q.        And you've never been
 9     treated by him?
10                  A.        Correct.
11                  Q.        And did you consult with an
12     OB/GYN in any way in preparing this
13     questionnaire and this survey?
14                  A.        No.
15                  Q.        Do you routinely in your
16     professional experiences work with
17     OB/GYNs --
18                  A.        No.
19                  Q.        -- for any purpose?
20                            Okay.       Aside from whether or
21     not you are a patient, which I'm not
22     asking, do you interact with OB/GYNs
23     otherwise?
24                  A.        I think you addressed the --
Golkow Litigation Services                                           JA2446
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 1                  A.        Yes.
 2                  Q.        And 271 recipients did not
 3     return the questionnaire at all, correct?
 4                  A.        Correct.
 5                  Q.        Okay.       At least before
 6     September 23rd?
 7                  A.        Correct.
 8                  Q.        Okay.       And so I think you
 9     had mentioned earlier that you think you
10     could use the responses from the 306 to
11     extrapolate to the 271; is that correct?
12                  A.        Extrapolate is a funny word.
13     What did you mean by "extrapolate."
14                  Q.        So to tell us anything
15     meaningful about the population that did
16     not respond.
17                  A.        I do think it would tell us
18     something meaningful, yes.
19                  Q.        What do you think it would
20     tell us?
21                  A.        That there are some women in
22     that group that also may have experienced
23     some distress around Dr. -- around
24     Akoda's fraudulent claims of his
Golkow Litigation Services                                           JA2447
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 1     identity.
 2                  Q.        But not necessarily all of
 3     them, correct?
 4                  A.        Absolutely not, yeah.
 5                  Q.        And so if I invited, as a
 6     hypothetical, 100 relatives to a family
 7     reunion and only 75 showed up, do you
 8     think I could use the feelings or
 9     experiences of those 75 about whether
10     they wanted to show up to tell me
11     anything about the 25 that chose not to
12     come?
13                            MR. CERYES:            Objection.
14                  Form and foundation.
15                            THE WITNESS:             I think you'd
16                  probably do better asking a
17                  polling researcher that question.
18     BY MS. McENROE:
19                  Q.        And you're not a polling
20     researcher, correct?
21                  A.        That's correct.               I'm a
22     psychiatrist.
23                  Q.        And you didn't conduct IMEs
24     in this case, correct?
Golkow Litigation Services                                           JA2448
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 1                  A.        Correct.
 2                  Q.        So I want to make sure I
 3     understand the summary statements we've
 4     talked about a couple times, because in
 5     your report you mention that summary
 6     statements were offered by 131 women,
 7     right?
 8                  A.        I thought it was a little
 9     bit more, but maybe not.
10                  Q.        So it's at page 4, if my
11     notes are right.                So there's a big
12     paragraph two paragraphs above where it
13     says "results" on page 4 and about in the
14     middle it says, summary statements were
15     offered by 131 women.
16                  A.        Ah, okay.          I see it, yes.
17                  Q.        Is that correct?
18                  A.        Yes.
19                  Q.        And are those the narratives
20     you were talking about earlier?
21                  A.        Yes.
22                  Q.        And so that's where in the
23     report there was an option to write in a
24     free text box after a statement colon?
Golkow Litigation Services                                           JA2449
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 1                  A.        Correct.
 2                  Q.        And there were not separate
 3     summary statements, right?                       There weren't
 4     other documents submitted?                       Those were
 5     the summary statements, the ones that
 6     came in --
 7                  A.        Yes.
 8                  Q.        -- the responses?
 9                            Okay.       The only difference
10     from what you had had in your pile was
11     that you compiled those from each of the
12     individual reports or somebody compiled
13     those from each of the individual --
14                  A.        Uh-huh.
15                  Q.        -- reports?
16                  A.        Yes.
17                  Q.        And who did that?
18                  A.        It was a combination of all
19     of us.
20                  Q.        Okay.       When you say "all of
21     us," was it you, Lisa and Stephen?
22                  A.        Lisa and Stephen.                We all
23     had our versions until we settled on that
24     one.       And then the major feat was getting
Golkow Litigation Services                                           JA2450
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 1     it to print out.
 2                  Q.        Are you a statistician?
 3                  A.        No.
 4                  Q.        On page 4 it also goes on to
 5     say -- make sure I'm looking at the right
 6     sentence -- right after where it said the
 7     summary statements were offered by 131
 8     women, in order to assess the aggregate
 9     severity and distribution of potential
10     damages among the entire plaintiffs'
11     class, the response rate and sample size
12     would be more than adequate to provide
13     reasonable confidence intervals for the
14     percentages of plaintiffs in each of
15     several categories of damage severity,
16     but this exceeded the scope of this
17     report.
18                            Did I read that correctly?
19                  A.        You did.
20                  Q.        What does that mean?
21                  A.        That means that had one
22     wanted to look at statistical
23     significance of the response rate --
24                  Q.        Yeah.
Golkow Litigation Services                                           JA2451
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 1                  A.        -- that it would have been
 2     statistically significant; however, this
 3     was not being conducted as a research
 4     study.        So it was beyond the scope of
 5     this because we were not yet going to be
 6     looking at the statistical significance.
 7     I was mentioning that the response rate
 8     was excellent, that we're pleased to have
 9     that many women respond because it gave
10     us a good sense of what the general
11     experience might have been of all the
12     women, but that we were not going to be
13     conducting research yet about this
14     matter.
15                  Q.        So in your professional
16     experience, is it fair to say that you're
17     saying that a population made up of
18     individuals who both approached counsel
19     and then chose to fill out a survey would
20     be statistically relevant in some way to
21     a population also treated by Akoda who
22     neither approached counsel or decided to
23     complete the survey?
24                  A.        Possibly yes and possibly
Golkow Litigation Services                                           JA2452
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 1                  better than previous pelvic exams
 2                  they had experienced.                   Right?         And
 3                  10 percent said they were less
 4                  painful than other exams.
 5     BY MS. McENROE:
 6                  Q.        But again, is this a way of
 7     suggesting to the respondents as they go
 8     through that Dr. Akoda might have been
 9     more rough, insensitive, had longer
10     exams, sexual talk and/or touch?
11                  A.        You know, if asking a
12     question is always perceived as
13     suggestive, then I would never ask
14     somebody if they have any suicidal or
15     homicidal ideation because they may never
16     give that answer unless I ask that
17     question.           But if asking the question is
18     sort of the same as the whole debate
19     about should you talk to kids about --
20     about their sexuality.                    Well, when you
21     speak with a middle school child about
22     whether they've ever had sex or thought
23     about sex, is that suggestive to them
24     that, gee, maybe I should have sex?                                So,
Golkow Litigation Services                                           JA2453
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 1     you know, I guess I could be mute and not
 2     ask any questions, but if I want to be
 3     effective as a person trying to gather
 4     information then I'm going to ask the
 5     questions in a way that gives people
 6     permission to explain and to say more.
 7                  Q.        What about the difference in
 8     length in the response options, do you
 9     have any sense about -- in survey science
10     about how it influences respondents to
11     pick a certain response when that's the
12     longest one?
13                  A.        I'm sure you can find
14     experts to that -- that can speak more to
15     that.
16                  Q.        But you don't?
17                  A.        I don't --
18                  Q.        That's not something --
19                  A.        -- have experts in my
20     pocket, no.
21                  Q.        That's not something you
22     took into consideration when drafting
23     these responses?
24                  A.        I took into consideration
Golkow Litigation Services                                           JA2454
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 1     doing the job that I was asked to do, to
 2     understand what these women's experiences
 3     were in the presence of Dr. Akoda, who
 4     may or may not, have been a doctor as
 5     certified by your client.
 6                  Q.        But without using survey
 7     sciences?
 8                            MR. CERYES:            Objection.
 9                  Form and foundation.
10                            THE WITNESS:             I'm sorry, I
11                  think that the morning part of the
12                  session I explained the background
13                  that I had.           I'm sure there are
14                  many aspects to survey science and
15                  marketing.           That's not really the
16                  domain of my training.                    My
17                  training was in ethnography,
18                  microethnography, qualitative and
19                  quantitative methodologies.
20     BY MS. McENROE:
21                  Q.        Okay.       And for 3c, you ask
22     about having a nurse or a chaperone in
23     the room during pelvic examinations, and
24     I think this morning you referenced that
Golkow Litigation Services                                           JA2455
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 1     in the practice typically you would
 2     expect that there would be a chaperone in
 3     the room for all gynecological care on
 4     what basis?
 5                  A.        In recent years that has
 6     been the practice.
 7                  Q.        Okay.
 8                  A.        Now, you may have a
 9     different experience if you have a very
10     deep and abiding relationship with your
11     practitioner, but most physicians
12     providing gynecologic care now will do
13     that for their own liability and
14     protection.
15                  Q.        And on what basis do you say
16     that?
17                  A.        On the basis of being a
18     physician and being at the University of
19     Pennsylvania communicating with my
20     colleagues about practice.
21                  Q.        Who have you talked to about
22     specifically having chaperones in the
23     room during pelvic examinations?
24                  A.        Oh, I have a number of
Golkow Litigation Services                                           JA2456
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 1                  answered.
 2                            THE WITNESS:             From reading
 3                  the newspaper and from common
 4                  knowledge that that is a standard
 5                  of care among American
 6                  obstetrics-gynecologists.
 7     BY MS. McENROE:
 8                  Q.        For question 4, 4a, you had
 9     asked, did you think that Dr. Akoda asked
10     you to come in for checkups more often
11     than needed.
12                            Why did you ask that
13     question?
14                  A.        That would suggest that he
15     was seeking contact with particular
16     patients for his own gratification rather
17     than for their medical need.
18                  Q.        And you think that -- or
19     strike that.
20                            You drafted this for a
21     second or third grade reading level, you
22     said?
23                  A.        Uh-huh.
24                  Q.        That's a yes?
Golkow Litigation Services                                           JA2457
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 1                  A.        Yes.       Sorry.
 2                  Q.        And you're now asking them,
 3     the respondents to make a determination
 4     of whether they think that the requested
 5     checkups were more frequent than would be
 6     medically necessary?
 7                  A.        Yes.       Uh-huh.
 8                  Q.        Okay.       For 4c, that's the
 9     question, pelvic exams are never fun, but
10     looking back do you think his exams were
11     more or less painful than other pelvic
12     exams you've had with other doctors.
13                            There's no I don't know or
14     remember option there.                    Why not?
15                  A.        Probably were trying to keep
16     this to be a short survey and all the I
17     don't knows or remembers or -- add space
18     and time to read.                 But there was a more,
19     there was a less and there was a -- I
20     don't know what the no is actually.                                Do
21     you think he was more or less painful --
22     I don't even know what the no is.                             That's
23     just probably an error.
24                  Q.        So maybe that was intended
Golkow Litigation Services                                           JA2458
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 1     to be I don't know or remember?
 2                  A.        I don't remember actually
 3     and I -- and I don't know.                       It may have
 4     been at 2:00 in the morning.
 5                  Q.        So you think you prepared
 6     this at 2 o'clock in the morning?
 7                  A.        Very likely.
 8                  Q.        Okay.       And what review or
 9     process was there before this went live
10     in terms of the content?
11                  A.        I'm sorry, you want to
12     clarify that question, please.
13                  Q.        Yeah, the questionnaire --
14                  A.        Yeah.
15                  Q.        -- what review or process
16     was there to verify that the questions
17     were what you meant to be asking before
18     it went live?
19                  A.        I read them through a few
20     times and Lisa Bain read them through a
21     few times.
22                  Q.        Anybody else?
23                  A.        Probably Mr. Ceryes also or
24     his associate.
Golkow Litigation Services                                           JA2459
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 1                  Q.        For 4e, did you ever
 2     consider changing doctors, yes, no, I
 3     don't know or remember.
 4                            I didn't see the data
 5     reported on that in your report.                            Do you
 6     remember how that came out?
 7                  A.        No, there were lots of
 8     things we did not report on.                         Just not
 9     enough time.             But you have the -- the raw
10     data, so you can calculate that.
11                  Q.        Well, I have the raw
12     reports.           I think you said you had it
13     more in a tabulated data form that
14     Stephen could get for you as you needed
15     it.
16                  A.        What we asked of him.                       We
17     did not ask that of him.
18                  Q.        Okay.       Why not?
19                  A.        Probably a limitation of
20     time.
21                  Q.        So in question 5b the
22     question is, how did you feel when you
23     heard about the charges against
24     Dr. Akoda?           Check all that apply.                    And
Golkow Litigation Services                                           JA2460
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 1                  A.        I meant emotional
 2     distress --
 3                            MR. CERYES:            Objection.
 4                  Form and foundation.
 5                            THE WITNESS -- as a
 6                  layperson correlate of not -- not
 7                  settling well, not being
 8                  comfortable, not being happy, not
 9                  being satisfied, not feeling good.
10     BY MS. McENROE:
11                  Q.        Do you have any
12     understanding of whether there's a legal
13     meaning to the term "emotional distress"?
14                  A.        There probably is.
15                  Q.        Were you intending to use
16     this in that way?
17                  A.        No, I was not.              I'm not
18     sure.        I'm not a lawyer.
19                            MR. CERYES:            Objection.
20                  Form and foundation.
21                            THE WITNESS:             And that's not
22                  my intention.
23     BY MS. McENROE:
24                  Q.        So you're meaning emotional
Golkow Litigation Services                                           JA2461
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 1     distress here to mean that in not sort of
 2     a formal term, but in more of a
 3     layperson's type of language --
 4                  A.        Correct.
 5                  Q.        -- is that what you mean?
 6                            So let's turn real quick --
 7     you still have that on your lap.
 8                  A.        I do.       Uh-huh.
 9                  Q.        Let's -- we're going to take
10     a look at -- I think it was Exhibit 6,
11     which is the collection of survey
12     responses.
13                  A.        Yes.
14                  Q.        And we put Bates numbers,
15     like I mentioned, at the bottom.
16                  A.        Okay.
17                  Q.        So it might be easiest if I
18     use those.
19                  A.        Sure.
20                  Q.        We're going to flip ahead to
21     page 185.
22                  A.        Okay.
23                  Q.        Let me get there.                One
24     second.         Okay.       So let's take a look --
Golkow Litigation Services                                           JA2462
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 1     this is the first of the questionnaires
 2     that we're really going to look at for a
 3     minute.         I'm only going to point to a
 4     couple of particular responses because
 5     I'm going to get back the questionnaire
 6     before we come back to some more specific
 7     responses.           But I wanted to look -- we
 8     were just talking about 6a and it relates
 9     to 6b.        So I want to take a look at this
10     respondent's responses to 6a and 6b.                                So
11     6a is, did you experience emotional
12     distress as a result of Dr. Akoda's
13     conduct or as a result of learning that
14     he might not be a licensed doctor or that
15     his name and papers were not real.                                 And
16     this respondent said no.                      So they didn't
17     experience emotional distress from that.
18     And then 6b, do you still experience
19     emotional distress as a result of
20     Dr. Akoda's conduct or as a result of
21     learning that he might not be a licensed
22     doctor or that his name and papers were
23     not real, and the respondent said yes.
24                            How do you reconcile those
Golkow Litigation Services                                           JA2463
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 1     two answers?
 2                  A.        Yeah.       It's -- it's
 3     interesting.             This is a fairly benign
 4     response.           This person was pretty pleased
 5     with the care that she received with
 6     Dr. Akoda.           She thought the pelvic exams
 7     were fine, less painful.                      Her daughter
 8     saw him.           But she noted that she feels he
 9     betrayed her trust and has led her to
10     change her practice about how often she
11     visits an OB/GYN and it has led her not
12     to trust doctors.                 She is very clear it
13     hasn't affected other parts of her life,
14     although she says it's a -- still has a
15     pain in her stomach, which may or may not
16     be related, and that is the sum totality
17     of what she reports, not particularly --
18                  Q.        Right.
19                  A.        -- excessive.
20                  Q.        So that --
21                  A.        This is a woman --
22                  Q.        -- wasn't my question, Dr.
23     Steinberg.
24                            So 6a is no and it instructs
Golkow Litigation Services                                           JA2464
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 1     if you say no to move on to 6c, yet she
 2     answered yes for 6b.                   So I'm just trying
 3     to understand as a survey design
 4     standpoint, she was able to answer a
 5     question she was supposed to have skipped
 6     and then they give contradictory
 7     responses, and I just wanted to
 8     understand your --
 9                  A.        Right.
10                  Q.        -- perspective on that from
11     a survey design perspective?
12                  A.        My -- my thought is, and as
13     I'm looking at this right now, is that
14     this exemplifies the complex nature of
15     emotions and how a person can have
16     multiple and contradictory experiences of
17     the same thing.               Here's somebody who was
18     really okay with Dr. Akoda and yet she
19     was shocked to find out about this.                                It
20     betrayed her trust and it altered her
21     practice.           So overall her distress is
22     limited to the sort of cognitive
23     dissonance of this person that she liked,
24     that she valued, that she trusted and
Golkow Litigation Services                                           JA2465
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 1     then this information that she couldn't
 2     quite grapple with.                  So in two questions,
 3     one right next to the other, you see the
 4     contradictory nature of her emotions
 5     about this.
 6                  Q.        But that's a lot to take
 7     from this, knowing this yes.                         Right?        I
 8     mean, she could have either made a
 9     mistake, she could have not understood
10     the questions or could have just been
11     that when she hit no and it meant to skip
12     her along to the next question, the
13     design of the survey was just not robust
14     enough to direct her in that way.                             Right?
15     She clearly saw 6b after answering 6a.
16                  A.        Do you have a question for
17     me?
18                  Q.        I'm asking you.               So isn't
19     that true?           I mean, she saw 6b then
20     clearly after she saw 6a, correct?
21                  A.        You asked me what I took
22     from this.
23                  Q.        Yeah.
24                  A.        I'm explaining to you what I
Golkow Litigation Services                                           JA2466
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 1     took from the contradictory nature of her
 2     responses on those two because I'm not
 3     looking at exclusively at those two
 4     questions.           I'm looking at the rest of
 5     the responses that she had and I'm seeing
 6     other information that fills it out a
 7     little built more.                 Kind of like if
 8     you're coloring a page, there's an
 9     outline and then there's a color.                             So I
10     get the color from her responses.                             She
11     really did not have terrible experiences
12     with him.           She liked him.              She trusted
13     him.       And she sent her daughter to him.
14     And she thought his pelvics were fine.
15     There is no sexually inappropriate
16     conduct that he had that she experienced.
17     And yet she felt that he betrayed her
18     trust.        Those are her words.                   That was
19     not a choice.              She didn't check "other"
20     and leave it blank.                  She explained what
21     she felt.           She colored in the lines as
22     she did in 7.              So while that may -- in
23     and of itself, those two questions might
24     be confusing to you as you look at them.
Golkow Litigation Services                                           JA2467
                                                                       Page 237
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:  22-5 Page:
                         Document 82-4 578     Date Filed:
                                        Filed 12/10/21     09/08/2022
                                                        Page   76 of 78
                       Annie G. Steinberg, M.D.

 1     I have a little more information from
 2     looking at her response to 7a and 7b and
 3     5c.      That explains, yeah, she -- she was
 4     really not -- she didn't really
 5     experience emotional distress, but
 6     then -- then she learned that that this
 7     stuff was in the news and she heard about
 8     it.      And so still, it has -- there's that
 9     "still" word.              Do you still experience.
10     And when she saw the "still," is like
11     yes, I don't go to doctors as often, I
12     don't go to OB/GYNs as often.                          The
13     difference between those two questions is
14     one of immediate.                 When you heard about
15     it, did you have emotional distress?
16     Were you -- were you -- she might have
17     read emotional distress as like trauma.
18     Did you experience trauma.                       This woman is
19     not really decrying trauma.                        What she's
20     explaining is that it's affected me
21     still.        I -- I don't use practice --
22     practitioners in the same way that I did
23     before.         Those are her words.                   I'm not
24     putting words into her mouth in this.
Golkow Litigation Services                                           JA2468
                                                                       Page 238
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:  22-5 Page:
                         Document 82-4 579     Date Filed:
                                        Filed 12/10/21     09/08/2022
                                                        Page   77 of 78
                         Annie G. Steinberg, M.D.

 1     And you asked me what I take from those
 2     two questions and that is my answer.
 3                  Q.        So with 6a, when you said no
 4     and then in itals, if you answered no to
 5     question 6a, skip to question 6c, you
 6     didn't really mean it.                    You thought they
 7     might have cognitive dissonance and
 8     answer 6b.
 9                  A.        No, I thought that she would
10     skip it, but she didn't.
11                  Q.        Okay.       So it wasn't set up
12     to skip it for her?
13                  A.        Apparently not.
14                  Q.        Okay.
15                  A.        That particular one was not.
16     Sometimes we did, sometimes we just
17     overlooked it.              But it is interesting how
18     she responded.
19                  Q.        So question 6h.
20                  A.        Yes.
21                  Q.        And after that then 6i
22     through 6s.
23                  A.        Yes.
24                  Q.        We don't need to go through
Golkow Litigation Services                                           JA2469
                                                                       Page 239
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:  22-5 Page:
                         Document 82-4 580     Date Filed:
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                                                        Page   78 of 78
                         Annie G. Steinberg, M.D.

 1     each of them in detail, but starting with
 2     6i, these are not questions tied to
 3     experiences with Dr. Akoda in particular,
 4     as written on their face.                       Right?        So,
 5     for example, 6i, have you experienced
 6     mood changes or depression?                        Then, yes,
 7     only in the past month; yes, only prior
 8     to the past month; yes, both in the past
 9     month and prior to the past month; and
10     no.
11                            Do you see that?
12                  A.        Yes.       Uh-huh.
13                  Q.        And then the rest of those
14     until 6s are the same, right?                          They're
15     asking all sorts of questions.
16                  A.        Uh-huh.
17                  Q.        But they're not tied
18     specifically to experiences with
19     Dr. Akoda?
20                  A.        They're asking if they've
21     had these experiences, correct.
22                  Q.        Right.        So it's true that
23     the responses there on those, this could
24     have all different other sorts of causes.
Golkow Litigation Services                                           JA2470
                                                                       Page 240
Case: 22-1998 Document:Document
Case 2:18-cv-05629-JDW  22-5 Page:
                                82-5581
                                      Filed Date Filed:Page
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                                                             1 of 3




                  Exhibit 3




                                                                  JA2471
                Case: 22-1998 Document:Document
                Case 2:18-cv-05629-JDW  22-5 Page:
                                                82-5582
                                                      Filed Date Filed:Page
                                                            12/10/21    09/08/2022
                                                                             2 of 3




From:                              Brent Ceryes <bceryes@sfspa.com>
Sent:                              Friday, October 11, 2019 6:40 PM
To:                                McEnroe, Elisa P.
Cc:                                Paul Vettori
Subject:                           RE: Russell, et al. v. ECFMG - Outstanding Documents re: Dr. Steinberg
Attachments:                       AkodaQuestionnaireBlank.pdf; Akoda Summary Statements.pdf


[EXTERNAL EMAIL]
Elisa:

I have enclosed the list of summary statements and the final questionnaire that was completed by the survey
respondents. I have also requested that Dr. Steinberg produce a copy of the questionnaire from the Levy/Hopkins
matter that she discussed at her deposition, and have reached out to determine whether we can obtain the data from
these surveys in a database or spreadsheet format.

The report she wrote in the Levy matter is beyond the scope of discovery. You had an opportunity to question Dr.
Steinberg regarding her experience in the Levy matter and the extent to which that experience, and her other
experience in similar cases, informed her approach in this case, and you did so. The report she drafted in that separate
case does not represent facts or data upon which she is relying or considering in this matter. It is also a report that was
submitted confidentially for mediation purposes, and includes personal information and narratives concerning sexual
assaults and damages of individuals who are not parties to this matter. That report is not relevant, discovery of that
report is not proportionate to the needs of the case, and it represents attorney work product, particularly considering
that is was material prepared for counsel in a separate matter.

I will provide the other materials when I receive them.

Thanks, and have a good weekend.

Brent



From: McEnroe, Elisa P.
Sent: Friday, October 11, 2019 4:27 PM
To: Brent Ceryes
Cc: Shaffer, Brian W. ; Klayman, Matthew D. ; Paul Vettori
Subject: Russell, et al. v. ECFMG - Outstanding Documents re: Dr. Steinberg

Brent,

It was apparent at Dr. Steinberg’s deposition yesterday that documentation that should be produced has not yet been
produced.

First, and most glaringly, it is not clear what survey was actually disseminated to the survey respondents. Please provide
an authoritative version of the survey ASAP.

Second, as you agreed, Dr. Steinberg referred repeatedly to a past other survey she had used in another case as the key
material considered in crafting her survey here. Please provide that survey and please also provide the resulting report. I
believe that Dr. Steinberg testified she has those in her possession if you do not.
                                                              1
                                                                                                            JA2472
                Case: 22-1998 Document:Document
                Case 2:18-cv-05629-JDW  22-5 Page:
                                                82-5583
                                                      Filed Date Filed:Page
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Third, please provide the documentation with the “Statements” collected through the survey, in the form that Dr.
Steinberg had it.

Fourth, please provide the electronic data coming out of the survey, as we discussed.

It is imperative that we get this information as soon as possible. Rebuttal reports are due on Monday and we are
concerned about prejudice, potentially requiring later supplementation.

Thank you.

Elisa P. McEnroe
Morgan, Lewis & Bockius LLP
1701 Market Street | Philadelphia, PA 19103-2921
Direct: +1.215.963.5917 | Main: +1.215.963.5000 | Fax: +1.215.963.5001
elisa.mcenroe@morganlewis.com | www.morganlewis.com
Assistant: Angela P. Garden | +1.215.963.5463 | angela.garden@morganlewis.com


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Case:2:18-cv-05629-JDW
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                                82-6 584    Date Filed:Page
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                  Exhibit 4




                                                                  JA2474
                              Case:2:18-cv-05629-JDW
                              Case  22-1998 Document:Document
                                                      22-5 Page:
                                                              82-6 585    Date Filed:Page
                                                                    Filed 12/10/21    09/08/2022
                                                                                          2 of 11



From: Mickey McCoy
Sent: Wednesday, September 4, 2019 2:03 PM
To: drannie@pennmedicine.upenn.edu
Cc: Brent Ceryes <bceryes@sfspa.com>
Subject: ECFMG - Akoda Matter



Good day Dr. Steinberg:

Attached to this email are the following documents for your review, I will also be sending Fed-Ex to the
address you provided:

    1. ECFMG Complaint
    2. Dep Transcript of Desire Evans
    3. Dep Transcript of Elsa Powell
    4. Dep Transcript of William Kelly

Thank you for your assistance and should you have any questions, please do not hesitate to contact our office.



   Citrix Attachments                                                Expires March 2, 2020


             Dep Transcript of Desire Evans.pdf                                 4.5 MB

            Dep Transcript of Elsa Powell.pdf                                   4.7 MB

            Dep Transcript of William Kelly.pdf                                 7.4MB



             ECFMG Complaint.PDF                                                1.6 MB

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    qo~wnload Attachments                                I

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   Mickey McCoy uses Citrix Files to share documents securely.




Mickey Y. McCoy, Mass Tort Paralegal
SCHOCHOR, FEDERICO AND STATON, P.A.
1211 Saint Paul Street
Baltimore, MD 21202
mm cc(b __g___sfspa, com
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                                                            3 of 11




Fnlm:            Brent Ceryes
To:              Stetnbera Annie: 100 schochor@gmall,<lllD; Phi! Federico
Cc:              ~- step hen ehdicb@lthemcsgroup.com
Subject:         Re: Akoda questlonnnalre for your review
Date:            Sunday, September OB, 2019 7:27:53 AM


Dr. Steinberg,


I have reviewed the questionnaire, and have the following comments.


lb. While this list should cover most of our clients, we may want to Include an option for
"Other."
Sa. None of these women would have recieved an unsolicited call from an attorney. I would
suggest removing that option.


I will discuss with Jon and Phil and let you know their thoughts.

If you would like to discuss these changes, please feel free to call today on my cell phone at
{410) 598 1667

Thank you.
Brent




                                                                                           Emails0002

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             Case  22-1998 Document:Document
                                     22-5 Page:
                                             82-6 587    Date Filed:Page
                                                   Filed 12/10/21    09/08/2022
                                                                         4 of 11




Brent Cery es

From:                               Brent Ceryes
Sent                                Wednesday, September 11, 2019 11:20 AM
To:                                 'Steinberg, Annie'
Subject:                            FW: Urgent: Akoda Matter



Dr. Steinberg:

The emails have been sent for our clients. The text is below.

Thanks.



Dear Ms. Day,

As you know, we have filed a lawsuit against the Educational Commission for Foreign Medical Graduates ("ECFMG"). We
allege that ECFMG, which checks the credentials of foreign medical graduates, knewor should have known of wrongful
conduct by "Charles Akoda," but failed to take action to stop him from practicing medicine. As a result, "Akoda" was
allowed to see and treat patients with an unlawfully obtained medical license. You are a potential Class Member in this
lawsuit.

In order to understand the experiences of our clients, we have hired an expert in forensic psychiatry, Dr. Annie
Steinberg. To allow Dr. Steinberg to help us go forward with this lawsuit and collect the information necessary for her
opinions, you wlll need to complete a questionnaire to share your experiences and feelings as a patient of Akoda.

This questionnaire must be completed by clicking the following link:

httqs: '.;fs4.formsite.com/Nx0v£Wboxinixt4/index.html

You wlll be asked to login using your email address. In the Password field, please enter "AKSurvey@2019" without
quotes. This email address will only be used to identify your submission.

It is very important that you complete this questionnaire so that we can proceed with your case.

Please respond to this questionnaire no later than this Friday, September 13, 2019.

We estimate that this questionnaire should take approximately 10 minutes to complete.

If you have any questions about this process, or if you need help with the questionnaire, please contact u~ at 410 234
1000.



Sincerely,

Brent Ceryes

Attorney

Schochor, Federico & Staton, P.A.

1211 St. Paul Street

Baltimore, Maryland 21202


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(410) 234 - 1000




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                                      22-5 Page:
                                              82-6 589    Date Filed:Page
                                                    Filed 12/10/21    09/08/2022
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Brent Cery es

From:                                  Brent Ceryes
Sent:                                  Wednesday, September 11, 2019 3:02 PM
To:                                    Steinberg, Annie
Subject:                               FW: Desire Evans - 09.05.19 - Monique Russell, et al. v. Educational Commission for
                                       Foreign Medical Graduates - FINAL
Attachments:                           de090519.pdf; de090519.ptx; de090519.txt; Evans Exhibits 09.05.19.zip




From: Production <Production@golkow.com>
Sent: Wednesday, September 11, 2019 9:08 AM
To: Brent Ceryes <bceryes@sfspa.com>
Cc: Finals <Finals@golkow.com>
Subject: Desire Evans - 09.05.19 - Monique Russell, et al. v. Educational Commission for Foreign Medical Graduates -
FINAL

Please find attached the FINAL Ascii and e-transcript of Desire Evans.

This attachment is in e-transcript PTX format, which requires a downloadable viewer in order to open it. You can obtain the PTX
viewer free of charge at the following link: htto://store.westlaw.com/software/ebundle/viewer /default.aspx.
                                                                     T° the| viewer, simply double-click the attached PTX file. For
You need only download the viewer once. If you've previously installed
                                                                       |
your convenience, a plain text ASCII is also attached for importation into LiveNote, Summation and/or most word-processing
programs.

                                                               1 not hesitate to contact us.
If we can be of any further assistance in this matter, please do

Thank you,
Chrissy Tafel
Case Manager
One Liberty Place
                                —-—-
1650 Market Street, Suite 5150
Philadelphia, Pennsylvania 19103
www.Golkow.com      I 215.586.4223 I 877.370.DEPS I CTafel_@golkow.com

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                                               82-6 590    Date Filed:Page
                                                     Filed 12/10/21    09/08/2022
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Brent Ceryes

From:                                  Brent Ceryes
Sent:                                  Wednesday, September 11, 2019 3:02 PM
To:                                    Steinberg, Annie
Subject:                               FW: Elsa Powell - 09.06.19 - Monique Russell, et al. v. Educational Commission for
                                       Foreign Medical Graduates - FINAL
Attachments:                           Powell Exhibits 09.06.19.zip; ep090619.pdf; ep090619.ptx; ep090619.txt




From: Production <Production@golkow.com>
Sent: Wednesday, September 11, 2019 9:21 AM
To: Brent Ceryes <bceryes@sfspa.com>
Cc: Finals <Finals@golkow.com>
Subject: Elsa Powell - 09.06.19 - Monique Russell, et al. v. Educational Commission for Foreign Medical Graduates -
FINAL

Please find attached the FINAL Ascii and e-transcript of Elsa Powell.

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You need only download the viewer once. If you've previously installed the viewer, simply double-click the attached PTX file. For
your convenience, a plain text ASCII is also attached for importation into LiveNote, Summation and/or most word-processing
programs.

If we can be of any further assistance in this matter, please do not hesitate to contact us.

Thank you,
Chrissy Tafel
Case Manager
One Liberty Place
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                                                                        8 of 11




Brent   Ceryes

From:                                          Brent Ceryes
Sent                                           Thursday, September 19, 2019 5:25 PM
To:                                            Steinberg, Annie
Subject                                        ECFMG; | Expert Report
                                                                |




Dear Dr. Steinberg,

As we have discussed, and as you have seen in our Complaint, this case involves an individual known to our clients as
         .    een hee :      J    :                  aah TRta! oe tO     7     -                      a
                                                                              \
"Dr. Charles Akoda," who undertook to act as a gynecologist/obstetrician to potentially over 1,000 patients.

"Akoda" a/k/a "Oluwafemi lgeberase," has admitted to using various fictious identities, including the "Akoda" identity,
                _      aw      See       =
                                         amd a Fak              wate L         ate      wa~       ye    .          ane           =
as well as a variety of fake identification, including a fake passport, a fraudulent social security number, fraudulent or
altered medical transcripts, fraudulent or altered diplomas, and fraudulent letters of recommendation, in order to
obtain ECFMG certification, obtain admission to residency programs and ultimately act as an obstetrician/gynecologist,
         5        2  -       z        is        es         2           oeMaa A    —     oss        ert Salece    ect
performing medical procedures and gynecologic examinations on patients. Through this conduct, this Individual
Intentionally sought to circumvent the lawful process designed to ensure the competency and character of foreign
medical graduates, placing patients at risk.

This lawsuit has been filed against the Educational Commission for Foreign Medical Graduates, which was made aware
in 2000 that "Akoda" had used a fraudulent social security number in documentation submitted to ECFMG and the
                    a%                 Fa         .      .     .    8%   a        aaa BT Phte    me Tt ee 2   2
Jersey Shore residency program. ECFMG was also made aware at that time that "Akoda" had admitted to previously
              uc     er es ite  ais an      bebat   Sel WALA
                                                           Crete Glee Ce   te.  *     2       ot eke.  Go    oa
using other aliases, including the "lgberase" identity, Notably, IECFMG had previously revoked the ECFMG certification of
"lgberase" as a result of false statements he made on ECFMG applications.

We allege, among other allegations, that ECFMG was negligent in failing to investigate and take appropriate action to
         =     z   a      oo,   = 3     z    a     eae      “   z   5        .           ae         abe             EC
revoke the ECFMG certification issued to "Akoda" after having been made aware of these and other concerns. We allege
                  mid         oa                 b be   oe    tu JW      -            a ele    bre A,
                                                                                                  Se          x       Su
that as a result of this negligence, our clients have suffered significant emotional distress, including the distress and fear
they experienced upon learning that the individual they trusted to render medical care was not a lawfully-licensed
               wD   ad        »     é     Sot      a     <.     .       Tet 360 “ett ne     ’       mo     ~~   :    S
physician, and had engaged in substantial fraud in order to become their obstetrician/gynecologist. Additionally, clients
have identified concerns regarding potential inappropriate behavior and conduct.

Consistent with our prior discussions, we have asked you to oversee a survey of the potential damages our clients may
have experienced concerning this incident. We have distributed the survey you designed to our clients, and ask that
you review the results of those surveys and provide us your analysis of the results in a report.

                7        a.        et   se     “        S   ol. Sa ke OGr   Boartae   7       ‘             =   215        C8        c   .2
As this matter is pending in federal court, please include the following with your report, consistent with Federal Rule 26:

          (i) a complete statement of all opinions the witness will express and the basis and reasons for them;

        (ii) the facts or data considered by the witness in forming them;

          (Ill) any exhibits that will be used to summarize or support them;

          (iv) the witness's quallfications, Including a list of all publications authored in the previous 10 years;

          (v) a list of all other cases in which, during the previous 4 years, the witness testified as an expert at trial or                 by
          deposition; and


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                                           82-6 592    Date Filed:Page
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        (vi} a statement of the compensation to be paid for the study and testimony in the case.

We look forward to the receipt of your report.

Thank you.

Brent Ceryes
Attorney
Schochor, Federico & Staton, P.A.
The Paulton
1211 St. Paul Street
Baltimore, MD 21202
(410) 234 -1000

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            Case  22-1998 Document:  22-5 Page:
                                   Document 82-6 593     Date Filed:
                                                  Filed 12/10/21     09/08/2022
                                                                  Page   10 of 11
"




    Brent Ceryes

    From:              Brent Ceryes
    Sent:              Saturday, September 21, 2019 5:31 PM
    To:                Steinberg, Annie
    Subject:           Re: quick question


    Filed on December 10, 2018 in court of common pleas of Phlladelphla County, but It was thereafter removed to
    Federal District Court for the Eastern District of PA.

    In response to Lisa's other questions, my understanding Is that the questionnaire was emailed to all individuals
    on Stephen's list. I do not believe that any questionnaires were completed over the phone.

    Get Outlook for Android




                                                              1

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                                                                                                       JA2483
     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:  22-5 Page:
                            Document 82-6 594     Date Filed:
                                           Filed 12/10/21     09/08/2022
                                                           Page   11 of 11




   From:            Brent cerves
   To:              Steinbero Annie
   Cc:              steohen.ehrlich@themcsgroup com; !.iSil...!&in
   Subject:         Re: need to know how many questionnaires were sent out.
   Date:            Sunday, September 22, 2019 7:27:20 AM


   It looks like 575 emails, per Stephen's list. Stephen creates two accounts for me (first had
   a typo), but I only accessed the form. I did not answer any of the questions. If 305 is
   completed forms, I am not in that number.

   Get   Outlook for Android


   From: Steinberg, Annie <drannie@pennmedicine.upenn.edu>
   Sent: Sunday, September 22, 2019 12:40:47 AM
   To: Brent Ceryes <bceryes@sfspa.com>
   Cc: stephen.ehrlich@themcsgroup.com <stephen.ehrlich@themcsgroup.com>; Lisa Bain
   <lisa.bain@gmail.com>
   Subject: need to know how many questionnaires were sent out.
Redacted - Trial Preparation Material




                                                                                          Emails0010
                                                                                            JA2484
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                82-7 595    Date Filed:Page
                                      Filed 12/10/21    09/08/2022
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                  Exhibit 5




                                                                  JA2485
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                                               22-5 Page:
                                                       82-7 596    Date Filed:Page
                                                             Filed 12/10/21    09/08/2022
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                                      Expert Rebuttal by
                       Susan Schwartz McDonald, Ph.D.
           on a Survey Conducted for Plaintiffs by
                    Annie Steinberg, MD




                 October, 2019




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I. Introduction

   A. Scope of Testimony and Summary of Opinions

   I was retained by Morgan Lewis as an expert witness on behalf of Defendant in Monique Russell et
   al. v Educational Commission for Foreign Medical Graduates, class action litigation which has been
   brought in the Eastern District of Pennsylvania. Specifically, my charge is to offer rebuttal
   testimony to a survey conducted on behalf of Plaintiffs by Dr. Annie Steinberg, a psychiatrist
   whose survey of putative class members purports to assess harm suffered by Plaintiffs as a result
   of their experiences under the care of "Dr. Akoda". I note that my testimony is not offered in
   rebuttal to any allegations regarding Dr. Akoda's credentials or the circumstances under which he
   practiced medicine. My testimony as a survey methodology expert is focused exclusively on the
   validity of the survey assessment made by Dr. Steinberg, and its meaningfulness as a vehicle for
   measuring psychological harm and other life consequences experienced by Plaintiffs, either as
   individuals or as a class. My testimony also makes no assumptions about the legal purpose or
   relevance of Dr. Steinberg's data and conclusions.

   I base my opinions on my graduate training in the social sciences, my professional expertise in the
   field of survey science, and my applied experience as a research professional who has been chief
   executive of a highly respected, century-old marketing and opinion research firm, and has
   authored and supervised thousands of complex surveys relied on by corporations, government
   agencies, and courts over a span of nearly four decades. Also relevant to this rebuttal analysis is
   my expertise in qualitative research, having conducted many thousands of qualitative interviews
   in my career and co-authored the field's first standard text on qualitative interview techniques.

   Based on my expertise in survey design, implementation, analysis, and interpretation, I have
   concluded that Dr. Steinberg's survey is not simply amateurish; it is so methodologically deficient
   and so biasing as to lack validity as a survey measurement tool. Due to numerous disabling
   methodological flaws, none of the statistics generated by this survey can be taken at face value or
   serve as the basis for conclusions, even with a confidence interval applied.

   B. Professional Credentials and Compensation

   I am President and CEO of NAXION, a century-old marketing research and consulting organization
   that advises companies on product development, brand strategy, and other strategic marketing
   activities. As an expert in marketing and opinion research, I consult to companies on a variety of
   strategic issues including brand health, opportunity assessment, innovation, commercialization
   strategy, and lifecycle management. My marketing and research experience encompass
   assignments designed to improve customer experience and strengthen brand reputation, as well
   as develop and commercialize new market offerings in a number of industries — particularly
   Healthcare, Consumer products, and Financial services.

   Survey research is a principal tool in a large number of these engagements, and I am relied on by
   clients and colleagues for my expertise in designing and developing surveys with complex

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objectives, many of which are used to measure opinions and behaviors within challenging or
sensitive populations. Throughout my career, I have personally designed and conducted
thousands of surveys, many of them in the service of developing new products, optimizing product
configuration, projecting demand or measuring public health consequences of product usage. I
have also consulted and testified frequently on the application and interpretation of survey
research to adjudicate claims under the Lanham Act (as well as decide patent claims) and my
survey work has been utilized by government agencies like FDA and FTC, as well as USPTO. I am
quite familiar with the specialized issues associated with collecting data on patient experience
with diagnosis and disease progression, interactions with healthcare professionals, and
recollections of their healthcare "journey." Throughout my career, I have conducted hundreds of
surveys with healthcare consumers and patients of all kinds (including some who have received
psychiatric diagnoses). I have also worked on the development and application of survey tools
designed to measure patient-reported outcomes (PROs).

Although my professional focus is on commercial application, not academics, I make regular
podium appearances and have lectured extensively on research methodology and marketing at
major universities (e.g., University of Pennsylvania and Princeton University), commercial
organizations, and industry-training programs sponsored by major professional organizations—for
instance, the Council of American Survey Research Organizations (CASRO), the Pharmaceutical
Marketing Research Group (PMRG), Healthcare Marketing and Communications Council (HMC),
and the Advertising Research Foundation (ARF). I have also served as Chair of the Board of
Directors of CASRO, the trade association of the US marketing and survey-research industry,
recently renamed The Insights Association. In my decade of CASRO board service, I was actively
involved in the development of standards for survey research, both ethical and technical.
Currently, I am a trustee of The Wistar Institute, the world's second oldest incubator of biomedical
research discoveries, as well as President of the Board of The Chamber Orchestra of Philadelphia.

My professional marketing career has been spent at NAXION, known until 2014 as National
Analysts Worldwide, and previously a division of the global commercial and technology consulting
firm Booz•Allen & Hamilton, where I was a partner and vice president. My tenure at Booz•Allen
included a period during which I served as the leader of that firm's worldwide pharmaceutical-
industry practice. NAXION traces its roots directly to the world's first business intelligence unit
and progenitor of the survey research discipline (1911). Some of the nation's first commercial and
government sponsored surveys were conducted by National Analysts (and its predecessor
company, Curtis Publishing) and the firm is known to have shaped the opinion research and
marketing research fields through the development of probability sampling and other landmark
survey techniques, as well as the genesis of the focus group. In 1992, National Analysts became an
independent entity, under my co-ownership, and is now an Employee-Owned Stock Ownership
Corporation (ESOP) of which I am majority shareholder. Renamed NAXION, the firm retains the
same ownership and management structure, and the same corporate mission. It has consistently
been listed as one of the AMA "Top 40" market research firms in the US.

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I received my BA degree magna cum laude, Phi Beta Kappa, from Smith College, and my MA and
doctoral degrees from the University of Pennsylvania's Annenberg School for Communication,
where my studies were concentrated in the field of social psychology and communications theory.
I am the author of a text on market research and of numerous publications and speeches on
marketing and market research methodology. A complete copy of my vitae along with a list of
publications authored in the past ten years, and testimony and depositions taken in the past five
years is included in Exhibit 1.

I am being compensated for my work in this case at my customary fee of $675 per hour. My
compensation is in no way contingent on the outcome of the case.

C. Basis for my Opinions

In order to form my opinions, I have reviewed the following documents and materials:
   •     Complaint in Russell et al. v. ECFMG
   •     Answer in Russell et al. v. ECFMG
   •     Report of Annie Steinberg, MD, with Attached Questionnaire
   •     CV of Annie Steinberg, MD
   •     List of Testimony by Annie Steinberg, MD
   •     Rough Transcript of Deposition of Annie Steinberg, MD (10/10/2019)
   •     Emails0003-0004 from Exhibit 4 to the Deposition of Annie Steinberg, MD (10/10/2019)
   •     "Akoda Questionnaire Blank" (provided by Plaintiffs' counsel)
   •     "Akoda Summary Statements" (provided by Plaintiffs' counsel)


I note that, as of this writing, I have not been provided with an electronic database for the survey
and have therefore not been able to manipulate or query the data to confirm Dr. Steinberg's
limited statistical analyses, or to perform any of my own. Her claim not to have such a database at
her disposal is highly unusual insofar as survey programs produce readily manipulated databases
as a matter of course. (Manual inspection of individual data files does not lend itself to statistical
tabulations or efficient review.) I have also not seen actual screen shots of the survey or had an
opportunity to gain direct experience with the survey programming. Especially in light of my
inability to access an electronic database at this moment of submission, I reserve the right to add
or amend my rebuttal report, as relevant, if additional data, or other survey documents of any
kind, are made available to me.




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II. Survey Definition and Methodological Requirements

   A. What is a 'Survey'?

   As a measurement tool of the social or behavioral sciences, survey research is guided by a set of
   principles and long-established best practices that aspire to justify the term "survey science". If
   you want to learn something about a large number of people and to feel confident that you've
   accurately measured what you set out to measure, it's not enough to ask them the same set of
   questions and then count the answers. Experience in other forms of research (e.g., experimental
   or clinical trial design, or proficient use of existing diagnostic tools to conduct clinical research)
   does not generalize to expertise in survey measurement without specific survey training.

   A survey collects data from a representative subset based on the premise that when properly
   sampled and correctly interviewed, that small set of individuals can enable us to draw accurate
   conclusions about the broader universe. Whether conducted on-line (the majority), by phone, or
   in person, survey questionnaires are highly structured, carefully constructed measurement
   instruments that ask respondents the same questions in a uniform way --with allowance made for
   necessary skip patterns to avoid posing nonsensical or irrelevant questions based on prior
   responses.

   In light of Dr. Steinberg's propensity to use the term "survey" loosely to characterize large
   qualitative inquiries as well as quantitative inquiries, it may be just as important to describe what
   surveys are not. While surveys may incorporate some open-ended questions to allow respondents
   to express certain ideas in their own words, surveys do not accommodate customized and
   nuanced probing, even with the best artificial intelligence built in. Even when conducted in person
   (and these days, surveys rarely are), surveys afford no latitude for an interviewer to improvise.
   This disciplined, consistent approach to question structure justifies statistical analysis — and makes
   it legitimate to generalize from the survey sample statistics to a broader population.

   By contrast, qualitative research is a process that seeks depth and nuance at the expense of
   statistical generalization. Qualitative interviews are shaped by a semi-structured interview
   protocol which, by definition, must allow for improvisation and probing based on the particular
   answers given by respondents in their own words. Qualitative interviews will also reflect stylistic
   differences among the interviewers who guide the conversation. The implications are that
   qualitative questioning is not necessarily or consistently uniform and the conversation between
   interviewer and subject unfolds in varied ways. There is room for techniques that cannot be
   employed in a "survey" and the standards of data validity can be more permissive in deference to
   the nature of the process. It does not qualify as survey measurement.

   Indeed, qualitative research may be done in many settings for many objectives — but no matter
   how many interviews are conducted in a qualitative study — we do not call it a "survey" as that
   term is commonly used. Social scientists reserve that word for a type of research whose mission is
   to count answers for purposes of statistical generalization, and which therefore require a precisely



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and tightly constructed measurement instrument. It appears that Dr. Steinberg has had very
limited experience with that kind of research.

Most of the principles that qualify a survey as valid for any purpose fall under several broad
headings: (1) sampling reliability, which enables us to project from a subset to an entire
population; (2) survey validity, which allows us to feel confident we have correctly measured what
we set out to measure without introducing bias; and (3) proper statistical analysis, which enables
us to characterize the sample in aggregate and draw correct interpretations and conclusions from
the data.

It is not clear to me what "rules of the road" were guiding Dr. Steinberg in the design of her
"survey" (she failed to articulate any) but survey scientists agree that for a survey to provide an
accurate, statistically projectable picture of a population, the following criteria must be met:
   •   The universe must be properly defined in a way that is relevant to the inquiry, and survey
       participants must be sampled in a way that is appropriately inclusive and unbiased to
       ensure statistical reliability— i.e., allowing us to put a confidence interval around the
       findings.

   •   All questions (and survey materials) must be clearly written; consistently asked; and non-
       biasing in order for the findings to be deemed valid — i.e., allowing us to conclude that we
       have accurately measured what we mean to measure without skewing or distorting the
       data.

   •   Appropriate statistics need to be employed, calculations correctly made, and findings
       properly and contextually interpreted in order to ensure accuracy of the conclusions — i.e.,
       allowing us to use survey numbers to paint a meaningful picture of the population, not just
       a numerical picture.

B. Overview of Deficiencies in the Steinberg Survey

Surveys can run afoul of these guidelines in a number of ways but most of my objections to Dr.
Steinberg's survey fall under the heading of measurement validity and interpretation. The survey
is poorly constructed, improperly executed, and riddled with errors known to distort the data. The
data have been under-analyzed and misinterpreted through a lens of overt and unapologetic bias.

Any study with these deficiencies cannot help but lead to unreliable and largely self-fulfilling
conclusions — even if the data are correctly tabulated — but a study that aims to survey potential
plaintiffs in a class action case has special vulnerabilities based on sensitizing context and self-
interested participation. In short, Dr. Steinberg's survey has produced very little worth knowing,
and nothing that can be relied on for important insight into the population studied.




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Research is often hypothesis-driven, and Dr. Steinberg's survey explicitly was. She was specifically
hired to put numbers to her hypotheses concerning the traumatic effects and life changes
experienced by women receiving care from Dr. Akoda. Being guided by hypotheses is certainly not
per se a bad thing, but only so long as care is taken to avoid creating the results one aims to
measure. Survey measurement, like any tool that relies on the answers to questions, is highly
prone to response bias because the act of formulating answers is an interpretive process.
Participants are sensitive to signals and assumptions about what researchers might want of them,
and these influences can shape their responses in ways both tacit and explicit.

A good survey researcher, no matter how deeply committed to her viewpoints and hypotheses,
must do everything possible to guard against response bias in designing her instrument, lest
research become an instrument of prophecy fulfillment, not scientific inquiry. Dr. Steinberg's
avowed commitment to proving preconceptions, combined with her evident lack of expertise in
survey methodology, produced a study afflicted with nearly as many problems as there were
survey questions. Chapter III enumerates and illustrates them in detail.




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III. Specific Deficiencies of the Steinberg Survey

   There are numerous ways in which survey questions can specifically fail to meet threshold
   standards of validity — so many ways, in fact, that it may be easier to write a bad survey than a
   good one. Survey questions can be unclear or confusing. They can be lacking in precision. They
   can be priming or biasing (whether intentional or not) in ways that increase acquiescence or plant
   ideas. They can fail to provide appropriate response options, or those options can themselves be
   biasing. They can be sequenced in ways that allow early responses or questions to influence
   responses to questions downstream. In all these ways, and some more besides, Dr. Steinberg (and
   her associate, Lisa Bain) wrote a bad survey. And because a bad survey still produces numbers --
   however off the mark or meaningless they may be — it is an inherently dangerous thing to rely on.
   It has the look of something authentic, but the data can be a mirage.

   •   The Steinberg Survey context was inherently prone to produce certain types of
       response bias, and there was nothing to mitigate that bias — or even encourage
       candor and reflection — in the scanty instructions provided to respondents.

       The creation of a "survey environment" begins with the invitation to participate and
       instructions regarding how to take it. The general goal is to encourage participation by
       creating confidence that data will be treated respectfully and confidentially; to anticipate and
       minimize technical difficulties in advance; to secure data of good quality by encouraging
       candor and thoughtfulness; and to discourage respondents from attempting to "please" the
       researcher with specific kinds of responses.

       For instance, in surveys used for forensic purposes, it is routine to advise respondents to pay
       close attention, feel free to withhold an answer if they are not sure, and avoid relying on the
       opinions of others. In drafting surveys that require significant recall, care is taken to help
       respondents find their own way back to past events by establishing clear timeframes and by
       using techniques to help retrieve accurate memories, not promote false ones.

       Most surveys, however, are directed at respondents without serious personal "skin in the
       game" — i.e., the participants are consumers or voters, not alleged victims or financial
       stakeholders — and as a rule, most surveys are not dedicated, as this one was, to gathering
       recollections and emotions experienced before and after a specific event (learning of Dr.
       Akoda's fraud. This survey invitation was sent by lawyers and represented to participants as
       necessary "so that we can proceed with your case." Notably, those same attorneys were
       individuals who had a hand in relaying to them the circumstances surrounding Dr. Akoda's
       imprisonment and claims regarding his credentials.

       Dr. Steinberg is not a survey researcher, but as a psychiatrist, she must have been aware of
       these potential biasing effects. Rather than making efforts to minimize them, she seems,
       based on her deposition testimony, to have welcomed them, bringing her own confirmation
       biases to bear in construction of the survey and analysis of the data. The introductory
       comments did not encourage respondents to take their time (indeed, respondents were

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    informed that the survey was unlikely to take more than 10 minutes even though, perhaps, it
    should have taken more); nor were they given orientation instructions regarding the time
    frames at issue and the importance of differentiating feelings and experiences before versus
    after they learned of the charges against Dr. Akoda. Indeed, a commonly used approach in
    such surveys is to address time frames separately without segueing back and forth between
    them to avoid conflation. This survey "time-traveled" at will.

    In short, no precautions were taken to foster accurate retrospection or accommodate the
    possibility of a respondent having had positive experiences with Dr. Akoda. On the contrary,
    this "survey" was really an instrument for eliciting evidentiary testimony from putative class
    members in litigation, and in that sense, was a prophecy meant to be self-fulfilling.

•   The survey was not pretested with respondents for clarity of content nor for
    accuracy ofprogramming, despite the sensitivity of the material and the avowed
    need to accommodate low literacy levels.

    A cardinal rule of survey science is the importance of a pretest to ensure not just that survey
    program mechanics are in working order, but equally important, to confirm that respondents
    understand the questions and the instructions. A pretest requires that at least five eligible
    survey respondents be asked to take the survey as they would in their own environment, and
    then be the subject of what, in survey science, is referred to as a "cognitive debrief". In a
    cognitive debrief, pretest respondents are encouraged to identify questions or instructions
    that puzzled or confused them and are also proactively probed for comprehension of key
    concepts and phrases — either in person or by phone or "Skype". Respondents' screens are
    typically tracked real-time during the pretest so that the interviewer can observe the answers
    as they are recorded and then follow up with appropriate debrief questions.

    A cognitive debrief is, itself, a qualitative interview, guided by a protocol developed specifically
    for the survey at issue based on potential concerns a research team might have about certain
    difficult questions and concepts. Surveys often undergo some revisions based on pretest
    feedback because it is not uncommon for researchers to discover that there are
    comprehension problems — even with questions they anticipate will be entirely clear.
    Sometimes a second pretest is needed to confirm the efficacy of revisions. It is considered
    professionally irresponsible to omit the pretest step — even in the fast-paced world of
    commercial research, where critical business deadlines and decisions place a premium on
    rapid turnaround.

    Lack of time is no excuse for omitting a pretest, especially when (a) the survey population is
    understood to include disproportionate numbers of women who are under-privileged, (b) the
    survey population does not comprise proficient and experienced survey-takers (e.g., a survey
    panel); and (c) respondents and are being asked highly sensitive questions for purposes of
    legal adjudication, where validity standards must be all the higher. Dr. Steinberg acknowledges
    that her aim was to write a survey geared to "third-grade" reading level — and potentially, to
    low levels of computer literacy as well. It is a rather extraordinary act of hubris for a

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   researcher to assume she can accomplish that without a pretest, even if she has prior
   experience interviewing people with that level of reading proficiency. Each survey is different,
   with different question structures and language, and different instructions for question
   completion. Researchers need to exercise due diligence by pretesting before they go live,
   since there is no opportunity for course-correction once the survey is underway.

   Had Dr. Steinberg conducted a pretest, she might well have discovered that phrases like
   "emotional well-being" were not consistently interpreted by respondents, or that respondents
   did not understand the importance of honoring skip patterns, or that they did not grasp some
   of her time frame references. She might also have discovered that some of the answer
   categories she supplied were inadequate to accommodate the range of likely and relevant
   responses. A researcher who neglects to conduct a pretest runs the risk of making survey
   errors that would compromise or invalidate the survey altogether.

• Dr. Steinberg avoided questions that would have allowedfor measurement of
  intensity via rating scales, and instead, collected largely binary responses to
  questions that were often "stacked" with more than one "yes" option to prompt the
  expected or desired answer.

   The vast majority of questions in this survey require women to indicate whether they do (did)
   or do not (did not) have specific reactions or feelings about Dr. Akoda and what symptoms or
   consequences they have experienced. A prime example is the survey question concerning
   whether women trusted Dr. Akoda, asked as a simple yes/no question even though trust could
   be said to reside in a situational context or along an intensity continuum, and is clearly
   situated at points in time. The word, "trust", is itself a complex idea, with multiple
   connotations, even in the context of a physician-patient relationship where trust in
   motivation/care, trust in medical competence, and trust in personal integrity are not
   necessarily the same things.

   Another noteworthy example is the question that asks whether survey participants'
   experience with Dr. Akoda has affected trust in doctors generally (7a). Here, again, just two
   answer options are offered: "yes, it has led me not to trust doctors" and "no". This is a
   "textbook" illustration of how not to ask a question. It consistently leads with an affirmative
   response option and amplifies the "yes" with a single extreme statement that now obliges us
   to assume that every respondent who gave that response now trusts no physicians at all. The
   possibility of exercising greater caution, greater attention to credentials or recommendations,
   or any other nuanced version of "yes" has been effectively excluded by the heavy-handed
   wording of that answer.

   Other survey questions that pursued impact (6a-t) are also all yes/no questions but often with
   a twist: here response options were typically proliferated to accommodate multiple time
   frames in a way that allowed Dr. Steinberg to offer three "yes" answer options (only before,
   only after, both) stacked up against a single "no" (0's 6a-t). The idea of balancing response
   options so as not to create a positive or negative bias is also survey research canon, since we

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    know that respondents are statistically more like to select a type of answer option that is
    offered more frequently than another.

    The 6g-s questions on impact also illustrate Dr. Steinberg's focus on an arbitrary time frame to
    proliferate three "yes" options (past month, prior, both) accompanied (always at the bottom)
    by a single "no". While bearing no clear relationship to the point at which any of these women
    learned of problems with Dr. Akoda's credentials, this time frame was nonetheless targeted
    for measurement over the frequency or intensity of symptoms. We don't know from the
    responses whether those symptoms have been experienced daily or just once, and how
    intense they may have been — and, of course, we do not know how many women were unsure
    if they had those symptoms or when since it was not measured (see commentary below). It is
    also worth noting that this arbitrary last month vs prior timeframe was inserted without
    warning after a series of time frame questions that focused on before and after learning of the
    charges against Dr. Akoda. It is poor practice to change question or answer structures in that
    way without fair warning since people readily develop response habits and often fail to notice
    changes.

    Dr. Steinberg may have stacked the deck even higher by failing to rotate the position of "yes"
    and "no" responses anywhere. (There is a known bias toward "yes" in many circumstances,
    especially if it is consistently positioned first.) Indeed, I find no evidence of question or
    response rotation in any place where it might be considered appropriate, despite the fact that
    survey software platforms make this a fairly easy operation to perform and the principle of
    response rotation is routinely honored in all forensic surveys.

•   Dr. Steinberg's failure to consistently offer "don't know" or "can't recall" options
    wherever in the survey they were appropriate violates another cardinal rule of
    survey design.

    If there is a possibility that respondents may not recall or know the answer to a question, or
    they might conceivably be on the fence about something, the survey researcher needs to
    provide a response option to accommodate that, since the absence of a "don't know/not
    sure/can't recall" ("DK/NS") response option has been shown to have demonstrable effects on
    the results. Binary (yes/no) questions, in particular, need to provide hesitant or fence-sitting
    respondents with some refuge.

    Not every survey question requires a DK/NS option (e.g., age and residency, occupation, or
    routine product purchase) but any question that requires significant recall or complex
    assessment should allow respondents to take refuge in uncertainty. Otherwise, respondents
    are forced to provide an answer that does not accurately reflect how they feel or what they
    recall. The omission sends a signal that respondents ought to remember, ought to have
    definite feelings, even if they don't. Uncertainty or hesitation can be made to seem
    illegitimate.



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    Dr. Steinberg's survey was comprised extensively of questions requiring recall of events that
    may have happened years ago, questions involving medical practice, and many other
    questions about past or current emotions for which respondents did not necessarily have clear
    answers. Examples include whether they trusted Dr. Akoda, whether they ever felt scared or
    threatened by him, or whether they were ever made to feel uncomfortable in his presence.
    Dr. Steinberg did include a don't know or remember option for a number of other similar
    questions — for example, regarding use of gloves or sexual arousal during an exam, or physical
    and emotional symptoms diagnosed since their experiences with Dr. Akoda. It is not clear
    whether she failed to appreciate the basic principle or was merely disinclined to honor it in
    some places. The absence of a "don't know" or "not sure" option for important questions has,
    in my experience, been grounds for disqualifying surveys altogether.

    That is because survey data that make no provision for "don't know" or "not sure" will
    overstate the percentage of definitive responses in directions that favor social acquiescence.
    Respondents who would otherwise have picked a "don't know" or "not sure" response are
    more likely, when they can't, to choose a response they perceive is socially acceptable or likely
    to please an interviewer. The implicit bias can be quite powerful — especially for people asked
    to take a survey that will help attorneys proceed with their case.

    There is no clear rationale for when and why Dr. Steinberg offered "know/can't recall/not
    sure" response options but her suggestion at her deposition that they add time to the survey
    are, at best, pretextual. The absence of a relevant response option can actually increase
    response time as respondents struggle to decide in which direction they might want to err.

•   Where Dr. Steinberg supplied substantive answers, the deck was frequently stacked
    with loaded language and biasing response sets.

    A striking example is 5b, which asks respondents how they felt when they heard about the
    charges against Dr. Akoda. This question would have been better handled as an open-ended
    one since the number of emotions one might envision would comprise a long list. Instead, Dr.
    Steinberg chose to offer four negative words ("shocked", "angry", "betrayed", "sad") along
    with "neutral" — a peculiar term that might better have been expressed as "indifferent"). In
    that way, she deprived respondents of the chance to express themselves fully from the outset
    before she had primed them, and she made it more challenging for them to select other words
    that might have offered us more insight on their own feelings. It is not clear how many
    respondents actually checked "other" or took the opportunity to specify, but the easy thing for
    anyone to do was select one of the four negative words already provided. A woman who was
    mildly disconcerted or incredulous or had some other reaction not captured by Dr. Steinberg's
    options had to work harder than others to express her point of view.

    In much the same way, a question asking why women did not tell anyone about inappropriate
    things said by Dr. Akoda (4f) provides words like "ashamed" or "embarrassed" but does not
    offer respondents the option of saying that they were not much bothered by the interactions
    or they weren't sure they interpreted them correctly, etc.

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    Another different form of bias can be seen in questions that asked respondents to compare Dr.
    Akoda's pelvic and breast exams with exams given by other physicians (3a-b). Both questions
    provided three categories — "positive", "neutral", "negative" — but gratuitously offered
    examples of the negative (more rough, insensitive, longer, sexual talk and/or touch) to help
    define it in a suggestive way. There are several things wrong with this pair of questions. First,
    there should have been no prompts at all in the answer categories about what negative might
    mean. Second, respondents should have been allowed to explain in their own words what
    about their personal experience was negative. Trained survey researchers understand the
    need to be judicious about when and how open-ended questions are utilized, but if ever there
    were a case for soliciting open-ended responses, this was it. Without benefit of respondent
    commentary here, we have only the words Dr. Steinberg herself supplied. All other possible
    interpretations or objections have been ruled out of hand.

    In addition, it is well-established that survey respondents take tacit clues from certain aspects
    of question construction to detect a preferred response to which they should acquiesce.
    Longer, more fully elaborated responses tend to be favored, just as proliferation of negative
    responses increases the odds that a negative response will be chosen.

    Notably, so too does gratuitous repetition of questions. Regardless of how women responded
    to Q. 3a, they had another opportunity to indicate whether they found Dr. Akoda's exams
    more or less painful than others in Q. 4c, accompanied this time by a priming statement:
    "Pelvic exams are never fun, but...". It's not clear what effect this language actually had, if any,
    but if Dr. Steinberg felt conviction about its value in orienting respondents, Q. 3a would have
    been the spot in which to introduce it.

•   Dr. Steinberg neglected to program skip patterns and did not necessarily use them
    appropriately, allowing (or sometimes compelling) respondents to answer questions
    for which they were arguably ineligible.

    One of the many boons of on-line surveys is that even the most basic survey software
    platforms can be programmed to guide respondents through the survey with automated skip
    patterns. Dr. Steinberg's technical assistant evidently did not avail himself of this option, or at
    least did not do so consistently, and the hazards are illustrated in the Q. 2 (trust) series.

    After a few introductory questions about where they had seen Dr. Akoda and for what
    purposes, the survey asks respondents in Q. 2a if they trusted Dr. Akoda. This is a fairly stark
    way of broaching the topic of the "relationship" (as this section is labeled) because it goes
    straight to the heart of the claims, without allowing respondents to offer a general evaluation
    of the quality of care they received from Dr. Akoda. As a simple yes/no question, without any
    clarifying time frame or "don't know" option, it is also a highly biasing way of broaching the
    topic.

    It turns out that 79% of respondents said yes to Q. 2a, a finding which Dr. Steinberg couches as
    initial trust — even though nowhere in the question is the word "initial" or a synonym used; the

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    question is completely non-specific as to timeframe. Respondents who said yes were then
    given a second bite of the apple with a follow-up "If you answered yes to question 2a but at
    some point began not to trust him, what happened that changed?" The question is highly
    suggestive.

    Things look even worse when we consider the potential reasons offered for ceasing to trust Dr.
    Akoda: four specific options (rudeness, pain, sexual comments long pelvic exams) topped by
    the blandly uninformative, "just something about him" (an option chosen by roughly a third of
    the sample). That curious list is notable for the omission of many plausible reasons for ceasing
    to trust a physician, which might have included specific advice offered, a failure to respond to
    calls, medical outcomes, etc. Since the focus was apparently on establishing sexually
    inappropriate or abusive physical contact as precipitating factors, Dr. Steinberg's response
    categories were limited to those ideas.

    Thanks to that second bite, almost no one could get through this series without ultimately
    affirming lack of trust in Dr. Akoda. The 79% who trusted him "initially" was reduced to
    roughly 20% of the sample once respondents had been asked the follow-up (my calculation
    based on Dr. Steinberg's own reported statistics). By the time respondents reached Q, 2d
    (ever feel scared or threatened during care, yes/no), they were primed to respond in
    hyperbolic ways about Dr. Akoda.

    Another instance in which the survey conspicuously failed to take advantage of the software to
    skip responses is 5c, where respondents are asked if you are upset about what Dr. Akoda did,
    why? No attempt was made to exclude people who had given a neutral response in 5b, which
    meant that virtually everyone was vectored into this question -- even if they were not, in fact,
    upset. The question offers four reasons (no opportunity to elaborate or say "other") before
    nodding to the people who should not have been asked this question by providing them with a
    "not upset" response at the bottom. Dr. Steinberg presumed everyone in the sample was
    upset, or should have been upset, and here, as elsewhere, the survey means to preordain or
    prove it.

•   While Dr. Steinberg's answer categories were frequently inadequate to the question
    and/or biasing, she did not provide any analysis of the other-specific responses,
    depriving us of insight about respondents who were "disenfranchised" by the
    answer options supplied.

    Dr. Steinberg's agenda for the survey was evidenced in close-ended response categories that
    featured certain themes prominently and excluded others of equal relevance. In most cases,
    however, respondents appear to have had the option to choose "other" and to specify an
    answer if they chose to. Unfortunately, the data have not been coded and tabulated.

    Surveys tend to ration their reliance on open-end response options, including "other-specify",
    for various reasons. The need to code verbal responses introduces another step with its own
    challenges and complications, but we frequently offer an "other-specify" option to spare

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    respondents the effort of force-fitting themselves into places they don't comfortably belong.
    Here, especially, the "other-specify" respondents hold special interest, given the answer
    categories Dr. Steinberg chose to provide.

    And, indeed, we have reason to suppose a fair number of respondents did make use of
    "other", if responses to la are any indication. Even when devising a question as apparently
    benign as the one that asked how patients originally came to Akoda, Dr. Steinberg managed
    both to proliferate redundant options and miss enough possibilities to produce 24% "other".
    As a general rule, the appearance of large numbers of "other" responses is a signal that the
    pre-specified response categories have not been adequate to the job. Thus, even if we begin
    with no intention of coding those miscellaneous "other" answers, percentages above 20%
    encourage a review in order to further elucidate the data patterns. There is, however, no
    evidence that Dr. Steinberg looked at any of the open-ends she collected.

    Respondents answering Q. lc regarding types of visits did not have that "other-specify" option,
    even though her scant three answer categories exclude meaningful possibilities, such as visits
    for symptoms, fertility, or contraception, among other possibilities. Here, as in many other
    places, a pretest would have been helpful —to the extent there was actual interest in knowing
    the answers to this question. It is not clear what use Dr. Steinberg meant to make of it.

    Another noteworthy example of a question that might have profited from an "other-specify"
    option is 5a, concerning how respondents initially learned of the charges against Dr. Akoda.
    One option conspicuous for its absence is an attorney or someone representing Plaintiffs in
    the case. This would have been useful information to have in assessing the data.

•   While ostensibly geared to a 'third-grade reading level', this survey posed questions
    which many women of any education or reading proficiency level, much less more
    challenged respondents, would be hard-pressed to answer.

    There is reason to doubt that many women have a clear view of how long a pelvic exam should
    take — especially since duration of that exam can depend on age, symptomatology, and other
    reasons for the visit, creating significant variance and equally significant recall challenges.
    There is also reason to question whether a patient of any education level could necessarily
    have discerned whether a chaperone was positioned in a place from which she could see the
    exam, especially when lying prone. People are notoriously poor judges of time and vantage
    point — and, as Dr. Steinberg so accurately puts it, pelvics are "never fun". They prompt
    thoughts and emotions of many sorts, including anxiety about the outcome. It is a large leap of
    research faith to imagine that the answers given by respondents to such questions can be
    relied on, especially in a general survey context that primed negative responses.

    One of the more egregious examples of questions to which no woman could have a reliable
    answer is the series of questions designed to elicit physical symptoms experienced "as a result
    of Dr. Akoda's conduct" (6t-6x). Women are not being asked merely whether they have been

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    diagnosed with high blood pressure but whether they have been diagnosed as a result of those
    experiences. For starters, anyone who believes she has been diagnosed with one or more
    symptoms on the list for other reasons has no place to signal that, so every answer here
    counts against Dr. Akoda as the cause, regardless of whether he was. More important,
    however, the question boldly presumes that anyone (physician or patient) could know
    whether a diagnosis of high blood pressure or PTSD or "major depressive disorder" was "as a
    result" of experiences with Dr. Akoda (or revelations about him). This is not a survey
    population equipped to make that determination or likely to have speculated about it unless
    prompted to do so. If a respondent perceived a connection, the perception might not be
    accurate; and whether or not founded, it is quite likely to have been fostered by the
    experience of taking this survey rather than a product of respondent's own ingoing thought
    process about experiences of being treated by Dr. Akoda.

    Compounding error with bias, Dr. Steinberg asked a single follow-up question about severity
    for all "your physical symptoms" (of which over a dozen were listed), leaving the respondent
    to, first, assess whether any symptom might actually qualify as mild/moderate/severe, and
    then, second, to ponder over how to respond if different symptoms had varying degrees of
    severity. Failure to provide opportunity for specific reporting creates bias toward "severity"
    insofar as it invites people to aggregate. Bias aside, it is more vivid evidence of poor survey
    technique. Data from all these symptom questions should be disregarded.

•   While intrepid in asking questions that respondents truly could not answer, Dr.
    Steinberg omitted asking some meaningful ones that they could reasonably have
    been expected to answer, and which would have elucidated their experiences.

    It is noteworthy that Dr. Steinberg asked numerous questions about symptoms and life
    consequences she sought to attribute to experiences with Dr. Akoda but asked nothing about
    any medical harm they attribute to his care except a question that first built a negative frame
    ("if you are upset about what Dr. Akoda did, why?") and also failed to ask why they chose to
    remain in his care.

    In an impartial survey of this population, respondents would have been asked at the outset for
    their assessment of the quality of care they received, any medical consequences they
    perceived as a result of his care, and even emotional distress linked to those consequences.
    Some of these lines of questioning would properly have begun as open-ended to enable
    respondents to express their own opinions and experiences without the biasing effects of Dr.
    Steinberg's questions. We would have learned whether they switched doctors at any point
    and why; and if they did not switch, why not. We also would have learned more about the
    circumstances under which they first heard about Dr. Akoda.

    Finally, we could have gained more insight into the demographic backgrounds of these
    women, including their income status, education, employment, whether they have children
    (and how many had been delivered by Dr. Akoda). Insurance can be a proxy of sorts for some


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    demographic measures, but it is far from definitive. There were nearly as many relevant things
    Dr. Steinberg omitted to ask as irrelevant things she chose to include.

    The argument that this survey needed to be 10 minutes long lacks credibility. It was not
    engineered to be especially efficient (for lack of survey design expertise) and while response
    rate is, in general, influenced by survey length, there is no evidence that response rate among
    a putative class with a stake in the outcome is so sensitive to length, nor that 10 minutes
    would be a critical number. Dr. Steinberg could have written a meaningful 15-minute survey
    that extracted more information. And if she were so concerned about maximizing response
    rate, she could have checked how many other questionnaires had been completed at any
    point in her analysis. There is no single number in her report that proves a point, no threshold
    statistic she has identified as meaningful. Competent data processing could have reached back
    and integrated "stragglers" into the survey database with ease.

•   Dr. Steinberg's analysis is striking both for its superficiality and its wanton
    misattribution of causality.

    Having had no access to a computerized database, I am going to assume for the moment that
    the statistics in Dr. Steinberg's report have been correctly calculated. It hardly matters, in any
    event, because statistical calculations applied to distorted or nonsensical data are not
    meaningful, even when the math is correct.

    It is noteworthy that Dr. Steinberg presented (and quite possibly performed) only a very
    superficial analysis of the database — and perhaps only some portions of it. There is no
    evidence that she used cross-tabulation to look at subgroups and establish whether responses
    were plausibly linked to circumstances and how (ob vs gyn care, length of experience with Dr.
    Akoda, etc.). These are the sorts of ad hoc analyses that are routinely employed both to
    develop keen insights and also to establish face validity of the data. (Here, lacking automated
    skip patterns, we have no way of establishing whether people who answered certain questions
    had met the relevant conditions of eligibility. We also have no way of linking the kind of
    behaviors they experienced with the kinds of outcomes or symptoms they report — all relevant
    to provide a meaningful picture of the sample.)

    To the extent that she is made aware of contradictions in the data, Dr. Steinberg's approach is
    to rationalize, rather than analyze, by invoking the argument that feelings are potentially so
    complex, one cannot expect consistency. If that theory holds any water, then even a well-
    done survey may be inappropriate to the task of fully understanding people's experiences and
    feelings. Surveys are instruments whose measurement validity and quantitative interpretation
    demands that we make practical assumptions about our ability to tabulate and interpret
    responses to each question. Response inconsistency may be deemed "data" leading to
    elucidation in qualitative or clinical evaluations, but it cannot be taken as an indication of
    measurement "success" or insight in quantitative surveys. It is taken as a sign of measurement
    error.


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Dr. Steinberg's lack of thorough statistical analysis is primarily an error of omission, serious
though it may be. Dr. Steinberg's critical error of commission is her unjustified (and
unscientific) presumption of causality where none can legitimately be assumed. A key example
is her insistence on linking physical symptoms and life outcomes to Dr. Akoda based on
respondents' own reporting of a link (itself, shaped by lack of knowledge and survey bias) or —
worse yet — her assumption that anything negative event reported by this survey population
post-Akoda must be laid at his doorstep. In any given timeframe, some proportion of people
in a population will experience depression, job loss, or a diagnosis of hypertension. Dr.
Steinberg makes no attempt to control for that in her analysis, taking on face value both the
accuracy of the event reporting and the meaningfulness of respondents' own primed
attributions.

In considering how spurious these relationships are likely to be, it is also important to take
note of something Dr. Steinberg herself likes to feature: the special psychological vulnerability
of this population based on reporting of prior abuse or threat. Unaccountably, the questions
that address the topic (series 8) are flagged as highly personal -- no more so, I would argue,
than many others that preceded them — and respondents are invited to decline to answer.
That, though, is a small point relative to the interpretation she makes of their significance. Dr.
Steinberg features prior abuse and threat as a source of elevated risk from experiences with
Dr. Akoda when, in fact, a history of abuse could quite easily be interpreted as the source of
whatever sequelae -- including depression or job loss — Dr. Steinberg attributes directly to Dr.
Akoda. As survey researchers should know, association is not causality — and, in this case, we
cannot be sure what is real association and what is distortion.

In deflecting criticism of bias, Dr. Steinberg points to the fact not everyone in the sample
agrees with everything or reports every adverse outcome — in other words, not all respondents
have been influenced by the circumstances of the survey (evident self-interest) or the design
of the questions to acquiesce. There is a substantial degree of diversity in responses,
suggesting considerable heterogeneity of experience, emotions, and ostensible outcomes, but
for Dr. Steinberg, there should be cold comfort in that. The idea that not everyone was led by
survey bias to the same responses neither validates the data nor precludes the likelihood that
some or many were. It is hard to imagine a survey so successful in engineering false
acquiescence that every single respondent, or even necessarily half, can be led to "yea-say."
There is too large a corpus of study confirming the effects of survey bias to dismiss the issue.
And indeed, the challenge of measuring its effects is what makes survey bias so insidious. You
cannot easily measure them without deliberate experimentation or cross-study comparison,
but you can legitimately assume they are present.

Under the heading of unanalyzed data, I point finally to the many open-ended commentaries
provided by survey participants that describe their experiences with Dr. Akoda and their
emotional responses to those experiences. I understand that Dr. Steinberg has not chosen to
code and tabulate them but, rather, to offer them as a form of narrative. The difficulty is that
the reporting in some of them appear to have face validity or interpretability (allowing a


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    patient to go into "shock" on the examining table and "ripping open" her clitoris) while others
    are confused or confusing accounts of obstetrical care that seem, in instances, unrelated to Dr.
    Akoda. There is anger and complaint, to be sure, but not all of it necessarily rings true or fair.
    Dr. Steinberg seems to regard herself as primarily a conduit for this outpouring without
    offering any strategy for interpretation and validation.

•   Finally, we need to be cautious in discounting concerns about non-response bias in a
    survey of putative class members — and to challenge the premise that these results
    would be statistically generalizable, even if the survey were properly conducted.

    The sample size studied appears large enough to represent the universe of potential class
    members. The question we need to ask is whether it is representative enough. Survey
    research as a discipline and the applied fields in which it is used (from polling to market
    research) are forced routinely to consider non-response bias and sampling reliability. The
    general public is sometimes made aware of these issues when the accuracy of political polling
    numbers comes into focus but while non-response bias almost looms over us, survey
    researchers are largely forced to behave (apply statistics and make interpretations) "as if" non-
    response bias were not an issue — however optimistic or unjustified that may be.

    In this case, however, we are looking at a very particular kind of survey universe and a very
    particular source of potential non-response bias, insofar as women who chose not to respond
    may include disproportionately large numbers of patients who do not feel aggrieved. I call out
    this concern less to add yet another criticism of Dr. Steinberg's methodology than to flag a
    legitimate intellectual challenge. I don't know enough about how the sampling frame was
    developed by the attorneys to offer commentary on what systematic bias may have been
    introduced or not but even if there had been no systematic sampling bias, we cannot rule out
    significant non-response bias based on self-selection.

    All that said, it almost doesn't matter. Regardless of whether self-selection is an actual
    problem here (i.e., in the event that non-responders over-represented women may have
    expressed no interest in joining the class or expressed interest but ultimately opted out of the
    survey), the data from those who were surveyed cannot be put to obvious use because the
    survey measurement instrument employed was, itself, so seriously flawed. Repeated
    mismeasurement generates untrustworthy statistics.




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IV. Conclusions

   Dr. Annie Steinberg is undoubtedly an accomplished professional in her own field, but she is not
   an accomplished practitioner of survey research. It may have seemed to her that her skill in
   conducting qualitative interviews and general experience in clinical research would have conferred
   some survey research credentials by casual exposure, but it did not. Survey research is a distinct
   discipline and skillset, and anyone who develops survey data for forensic purposes needs to have
   mastered it. Even when hypothesis-driven, it needs to honor principles of measurement integrity
   and proficiency. Dr. Steinberg's methodologically flawed and overtly biasing survey did not.

   As a clinician, Dr. Steinberg has approached the very idea of survey research in a way that reflects
   her own distinct background. She approached it as a vehicle for eliciting data and testimony from
   women whom she believes to have suffered serious harm at the hands of Dr. Akoda — including
   PTSD — although she disclaims any intent to diagnose women individually or the class as a whole.
   With that mission in mind, she regarded any signal of grievance or harm — no matter how
   extracted from survey respondents — as "data" merely because she asked many people the same
   questions in the same ways using a computer program designed to conduct "surveys".

   This was not, however, an impartial survey meant to fully understand a particular population of
   women. It was a survey meant to prove a point in any way possible. There are many sources of
   data and ways for an advocate to prove a case in litigation, but the survey research science should
   not be pressed into service — and misappropriated —for those purposes. What Dr. Steinberg has
   proffered as survey research is neither high-quality survey research (as survey scientists
   understand it), nor testimony that has been subjected to cross-examination or critical
   interpretation.

   The problem with poorly constructed, biased survey is that every single number comes into
   question. We cannot know how far from reality, or validity, each number is. We know only that
   there are grounds to doubt them all and no available mechanism for measuring how far off they
   really are. The sample size might imply that the confidence intervals around these numbers is
   small but, in reality, problems with the survey methodology would suggest that the confidence
   interval is ultimately irrelevant.

   While we can't necessarily attach reliable numbers or percentages to key issues pursued in Dr.
   Steinberg's research, what we take from her survey is that this sample of putative plaintiffs is
   diverse in many ways — with respect to their experiences, their impressions, and their reactions.
   Not all have been harmed and not all have been affected -- or affected in the same ways. Beyond
   that, conclusions are difficult to draw.




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                        Appendix A




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                                       Susan Schwartz McDonald, Ph.D.
RESEARCH CONSULTING                                             President & CEO


As CEO of NAXION, and leader of the firm's Healthcare practice, Susan is a marketing
strategist whose areas of expertise include demand forecasting and product optimization,
pricing, market segmentation, brand positioning and portfolio strategy. She is known for her
marketing ingenuity and her track record in guiding commercialization of paradigm-changing
technologies that require new market models, including some of the industry's most important
global brands. Other sectors in which she has extensive experience include OTC
pharmaceuticals and consumer products — both packaged goods and technology-driven
categories.

As a respected expert on brand marketing, Susan also directs the Litigation Support practice
of NAXION. In that context, she is frequently called upon to conduct surveys and testify as a
marketing methodology expert in cases pertaining to trademark confusion, secondary
meaning, patent infringement, brand dilution, and deceptive advertising. The focus of her
work in that area is often the process of brand development and the factors promoting strong,
distinctive brand identity.

Much of Susan's 35-year marketing career was spent at Booz•Allen & Hamilton, a worldwide
management and technology consulting firm, of which she was a Vice President for over five
years. She lectures and writes frequently on marketing issues and market research
techniques, and has contributed to medical journals as well as marketing texts. Susan is also
coauthor of a standard text on qualitative research methods, The Group Depth Interview:
Principles and Practice (Simon & Schuster/Prentice Hall). Her early professional years were
spent as a journalist and a poet, contributing regularly to a number of major magazines and
newspapers, including National Review and Harper's.

Susan is the 2011-2012 Past Chair of the CASRO Board of Directors, the trade association
of the US marketing and survey research industry, recently renamed The Insights Association.
Currently, she is a trustee of The Wistar Institute, the world's oldest incubator of biomedical
discoveries in cancer and immunology, and a member of the Advisory Board to the marketing
research program of the Rutgers University Graduate School of Business. She is also
President of the Board of the Chamber Orchestra of Philadelphia.

Susan holds M.A. and Ph.D. degrees from the Annenberg School for Communication, University
of Pennsylvania, where she was trained in communications theory and social psychology. Her
B.A. was awarded magna cum laude, Phi Beta Kappa, from Smith College.




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                           SUSAN SCHWARTZ McDONALD
                     TESTIMONY/DEPOSITION ACTIVITY SUMMARY
                                       (2013 - Present)



Serenity Pharmaceuticals, LLC, et al., Counterclaim-Plaintiffs v. Ferring B.V., et al.,
Counterclaim Defendants
U.S. District Court for the Southern District of New York
C.A. No. 1:17-cv-09922 (RWS), ECF Case
Deposition on behalf of Counterclaim-Plaintiffs (November 27, 2018)

J-B Weld Company, LLC, Plaintiff v. The Gorilla Glue Company, Defendant
U.S. District Court for the Northern District of Georgia
Atlanta Division
Case No. 17-CV-03946-LMM
Deposition on behalf of Plaintiff (July 10, 2018)

Forever 21, Inc., Plaintiff v. Gucci America, Inc., et al., Defendants
U.S. District Court of California, Western Division
Case No. 2:17-cv-04706-FMO-E
Deposition on behalf of Defendants (June 28, 2018, New York)

MARS, Incorporated, et al., Plaintiffs v. The J.M. Smucker Company, et al., Defendants
U.S. District Court for the Eastern District of Virginia Alexandria Division
No. 1:16-cv-1451 (CMH/MSN)
Deposition on behalf of Defendants (July 12, 2017, Philadelphia)

Adidas America, Inc., et al., Plaintiffs v. TRB Acquisitions, LLC, et al., Defendants
U.S. District Court, District of Oregon Portland Division
No. 3:15-cv-02113-SI
Deposition on behalf of Defendants (May 31, 2017, Philadelphia)

Pinterest, Inc., Plaintiff v. Pintrips, Inc., Defendant
U.S. District Court for the Northern District of California
No. CV 113-04608-PS-KAW
Deposition on behalf of Defendant (January 14, 2015, Philadelphia)
Testimony on behalf of Defendant (May 26, 2015, San Francisco)

In the Matter of Investigation: Certain Footwear Products
U.S. International Trade Commission
No. 337-TA-936
Deposition (May 21, 2015, Washington, DC)




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HM Electronics, Inc., Plaintiff v. R.F. Technologies, Inc., Defendant
U.S. District Court, Southern District of California
No. CV12-2884-BAS (MDD)
Deposition on behalf of Defendant (November 24, 2014, Philadelphia)

OraLabs, Inc., Plaintiff v. The Kind Group LLC, Defendant
U.S. District Court for the District of Colorado
Civil Action No. 1:13-cv-00170-PAB-KLM
Deposition on behalf of Defendant (July 24, 2014, Philadelphia)

Healthcare Royalty Partners, L.P. (f/k/a Cowen Healthcare Royalty Partners, L.P.),
Plaintiff v. Shionogi Inc., LLC, Defendant
Supreme Court of the State of New York, New York County
Index No. 650424/2012
Deposition on behalf of Plaintiff (June 18, 2014, New York)

Zest IP Holdings; Zest Anchors, LLC, Plaintiffs v. Implant Direct Mfg., LLC;
Implant Direct LLC; Implant Direct International, Defendants
U.S. District Court, Southern District of California
No. 10-0541 LAB (WVG)
Deposition on behalf of Plaintiffs (June 3, 2014, Chicago)

T-Mobile US, Inc., T-Mobile USA, Inc. and Deutsche Telekom AG, Plaintiffs v.
Aio Wireless LLC, Defendant
U.S. District Court for the Southern District of Texas, Houston Division
Civil Action No. 4:13-cv-2478
Deposition on behalf of Plaintiffs (October 21, 2013, Philadelphia)




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                  Exhibit 6




                                                                  JA2516
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From:                          Brent Ceryes <bceryes@sfspa.com>
Sent:                          Sunday, December 1, 2019 11:36 AM
To:                            McEnroe, Elisa P.
Subject:                       Steinberg Data
Attachments:                   AkodaQuestionnaire.xlsx


[EXTERNAL EMAIL]
Elisa:

I have attached an excel spreadsheet containing the data from Dr. Steinberg's study.

Thanks.
Brent




                                                      1
                                                                                       JA2517
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                  Exhibit 7




                                                                  JA2518
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   Transcript of Susan McDonald,
                Ph.D.
                              Date: December 19, 2019
Case: Russell, et al. -v- Educational Commission for Foreign Medical Graduates




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                WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
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1                 IN THE UNITED STATES DISTRICT COURT
2               FOR THE EASTER DISTRICT OF PENNSYLVANIA
3
        MONIQUE RUSSELL, JASMINE RIGGINS, : NO.
4       ELSA M. POWELL, and DESIRE EVANS, : 18-5629
            Plaintiffs,                   :
5                                         :
                                          :
6       v.                                :
                                          :
7       EDUCATIONAL COMMISSION FOR        :
        FOREIGN MEDICAL GRADUATES,        :
8           Defendants.                   :
9                                    - - -
10                     Thursday, December 19, 2019
11                                   - - -
12                          TRANSCRIPT OF DEPOSITION OF
13      SUSAN MCDONALD, Ph.D., taken by and before
14      Michelle Tormey, Professional Reporter and
15      Notary Public, at MORGAN, LEWIS & BOCKIUS
16      LLP, 1701 Market Street, Philadelphia,
17      Pennsylvania 19103, commencing at 9:10 a.m.
18
19
20
21
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23
24
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                            Transcript of Susan McDonald, Ph.D.
                             Conducted on December 19, 2019                 40

1       BY MR. CERYES:
2             Q      And that they may serve in that
3       role despite not having a subspecialty or
4       specialty in survey methodology or design?
5             A      Oh, absolutely.
6             Q      You write in your reports -- let's
7       turn to Page 8 -- in the first -- well, the
8       second sentence, she was specifically hired
9       to put numbers to her hypotheses concerning
10      the traumatic effects and life changes
11      experienced by women receiving care from
12      Dr. Akoda.
13                         What do you mean by hired to
14      put numbers on her hypotheses?
15            A      Well, Dr. Steinberg entered this
16      process with the very strong hypothesis that
17      the women who were treated by Dr. Akoda had
18      experienced harm of various kinds.             And it's
19      my understanding based on her own sort of
20      vague description of what her mission was,
21      and what I intuit about the way she seems to
22      use her data, that her goal was to assign
23      numbers to those so that generalizations
24      could be made to the broader universe of
25      other women, the women that were solicited

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                            Transcript of Susan McDonald, Ph.D.
                             Conducted on December 19, 2019                 41

1       for the survey, 575, or something like that.
2       So the assumption is when you're talking to
3       hundreds of women that the expectation is
4       that numbers will be generated.            And, in
5       fact, she did generate some numbers.
6             Q      Now, I want to briefly review some
7       of the various criticisms that you offer in
8       your report.
9                          Among the criticisms
10      regarding -- I guess -- the generalizability
11      of the responses is the concept that these
12      women are -- I guess as you characterize here
13      on Page 9 -- alleged victims or financial
14      stakeholders, is that fair?
15            A      Let me find the line.         I'm not sure
16      that I heard your question correctly.              I
17      think you were referring to not alleged --
18      i.e., the participants are consumers or
19      voters -- the not alleged victims or
20      financial stakeholders.         And if you're asking
21      me whether I believe that statement is true,
22      the answer is, yes, but I'm not sure what
23      your question really was.
24            Q      Given that this population are
25      people who are potential plaintiffs in

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                            Transcript of Susan McDonald, Ph.D.
                             Conducted on December 19, 2019                 42

1       litigation -- or, claimants in litigation,
2       would there be any way to assess or survey
3       their potential emotional harm given the
4       potential financial stake that they may have
5       in the outcome of this litigation?
6             A      I certainly can't say no, there is
7       no way to do it.       There are better ways to do
8       it and there are limitations on the way you
9       interpret the responses of people who have
10      responded versus those who have chosen not
11      to.   So it's less about you can never do that
12      and more about understanding the implications
13      of the relationship between these survey
14      participants and the outcome of the case, so
15      that you can put the data in context and you
16      can evaluate its validity as well as its
17      statistical reliability.
18            Q      Dr. Steinberg did reference in her
19      report the -- or, at least included a
20      consideration that that's something that she
21      thought about, potential financial interest
22      in the outcome?
23            A      She may have.      I don't recall that
24      sentence particularly.
25            Q      You reference the survey

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                            Transcript of Susan McDonald, Ph.D.
                             Conducted on December 19, 2019                 43

1       invitation -- which was sent by lawyers -- in
2       terms of the potential impacts that that
3       invitation might have on the individuals
4       filling out the survey, you've set forth
5       those concerns in your report in their
6       entirety?
7             A      I'm sorry.     I missed the question.
8       I did mention that, yes, but the entirety
9       part I don't recall.
10            Q      Within your report you've explained
11      why you think the invitation itself may have
12      had an impact on the individuals filling out
13      the survey?
14            A      Yes, both who chose to and what
15      they might have written.
16            Q      At the bottom of Page 9, you refer
17      to Dr. Steinberg making efforts to minimize
18      the potential biasing effects and welcoming
19      them bringing her own confirmation biases to
20      bear in construction of the survey and
21      analysis of the data.
22                         What do you mean by
23      "minimizing and welcoming those biasing
24      effects?"
25                   MR. SHAFFER:      Let me object to the

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                             Transcript of Susan McDonald, Ph.D.
                              Conducted on December 19, 2019                68

1                    MR. SHAFFER:      Objection to form.
2                    THE WITNESS:      Well, if someone were
3             to ask me to give examples, I would
4             certainly read them carefully with that
5             eye.    But there are a couple that I
6             recall; one, the ripping of the
7             clitoris, I found to be lacking in
8             credibility to me.         Not that I dispute
9             the conviction with which that statement
10            was offered, it just didn't necessarily
11            make sense to me.        You know, again, I am
12            not here to assert the truthfulness of
13            any given individual.          I am only here to
14            talk about the survey and what value it
15            has.    And individuals of course may
16            testify in courts or any other place and
17            be cross-examined on that.            But I can
18            say from a survey research perspective
19            that I don't know what to do with
20            anything that came out of this survey.
21      BY MR. CERYES:
22            Q      Okay.    Do these summary statements
23      provide you any information about the
24      individual experiences of the women who
25      completed this survey?

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                            Transcript of Susan McDonald, Ph.D.
                             Conducted on December 19, 2019                 69

1                    MR. SHAFFER:      Objection to form.
2                    THE WITNESS:      I'm not sure what you
3             mean, exactly; what you're asking me if
4             I now know or feel as a result of
5             reading them.
6       BY MR. CERYES:
7             Q      Is there anything included within
8       Exhibit 5 -- the summary statements -- that
9       would allow you to learn anything about the
10      experiences that these women had through
11      their treatment with this individual?
12            A      I think that if I were responsible
13      for -- once we start talking about individual
14      women, I think if I were responsible for
15      drawing interpretations about individuals, I
16      would be thinking about qualitative research
17      in which these women were questioned and
18      probed on specific information to fully
19      understand their responses.          And what I said
20      earlier still holds.        This is not qualitative
21      information.      These are verbatims and their
22      interpretation and their meaningfulness
23      without further probing to contextualize and
24      confirm and explain some cases what they
25      meant -- because it's not always clear what

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                              Transcript of Susan McDonald, Ph.D.
                               Conducted on December 19, 2019               70

1       they mean -- would be necessary to make a
2       determination by someone -- not me; it's not
3       my role here -- about the veracity or
4       meaningfulness of any of them.
5               Q    Okay.     So without going through
6       that process that you described, Exhibit 5
7       provides no meaningful or helpful information
8       about the experiences of these women in your
9       view?
10                   MR. SHAFFER:       Objection as asked
11              and answered.
12                   THE WITNESS:       It depends on what
13              you mean by meaningful.          I don't know
14              what a judge would do with it.            I have
15              no idea.     If you present this
16              information this way, I don't know what
17              it's legal bearing has.          I can tell you
18              that it is neither qualitative research
19              nor is it quantitative research.
20      BY MR. CERYES:
21              Q    Would you defer to a psychiatrist
22      as to whether the verbatims included within
23      Exhibit 5 could be used to reach any opinions
24      about the nature and extent of damages
25      suffered by patients of Igberase/Akoda?

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                             Transcript of Susan McDonald, Ph.D.
                              Conducted on December 19, 2019                71

1                    MR. SHAFFER:      Objection to form.
2                    THE WITNESS:      No, I would not
3             because the method by which these data
4             were extracted is not the realm of
5             psychiatric examination.           The
6             methodology resides with survey
7             research.      This was a process that
8             occurred as a result of survey
9             invitations to women who chose to
10            respond to a survey among -- in a
11            population who chose to respond to
12            invitation to be part of litigation.
13            This is not notes from a psychiatric
14            interview.      So Dr. Steinberg can testify
15            with regard to how she would interpret
16            it.    She's entitled to do that.            But I
17            would not credit this as psychiatric
18            information myself because its source is
19            survey research.
20      BY MR. CERYES:
21            Q      Okay.    Is it fair to say that in
22      all of the responses and summary statements
23      provided, you would not feel comfortable
24      saying that any of that documentation
25      reflects that any women have experienced harm

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                            Transcript of Susan McDonald, Ph.D.
                             Conducted on December 19, 2019                 72

1       by virtue of being treated by Igberase/Akoda?
2                     MR. SHAFFER:     Objection to form.
3                     THE WITNESS:     I don't know what to
4             do with this information.          And, in
5             part -- again, this is parsing.             I don't
6             know what any of these statements
7             themselves mean.       I don't know -- in
8             some cases, they're hard to even
9             interpret, just to understand what's
10            being said and what connections are
11            being made.      That's one thing.
12                    What needs to be parsed is the "as
13            a result of being seen or treated by
14            Dr. Akoda," and it's not clear to me
15            what somebody would have said depending
16            on how they learned about or what
17            information was imparted to them about
18            Dr. Akoda, and that's part of this as
19            well.     I mean, that's the 600-pound
20            gorilla in the room.         What were these
21            women told about him.         What was their
22            experience or their thought process
23            before they were told about him.             So is
24            a result of being treated is not exactly
25            the same as a result of being treated

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                   Exhibit 8




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Reference #



Status



Login Username



Login Email



Introduction

You are being mailed this questionnaire because you were a patient of Dr. Akoda. The
purpose of this questionnaire is to help us understand how you may have been affected by
your experience as his patient. There are no right or wrong answers. Some of these
questions may feel uncomfortable, but please answer as best you can.

Although the questionnaire may seem long, it should not take you more than about 10
minutes to complete.
               OOO0000




1. Questions about meeting Dr. Akoda and the experience of being his patient.

1a. How did you become Dr. Akoda’s patient?
    Walked into clinic
    Found name on list of doctors
    Went to see other doctor in practice but saw Dr. Akoda instead.
    I was referred by another doctor
    I was referred by a family member or friend
               OOO0000




    Other:



1b. Where did you see Dr. Akoda?
    Jersey Shore Medical Center (JSMC)
    Howard University Hospital
    Prince George’s Hospital Center
    At the medical practice of Dr. A.G. Chaudry
    At the medical practice of Dr. Javaka Moore
               HOoeoo0o




    Other



1c. During which of the following years did you see Dr. Akoda? (Check all that apply)
    Before 2008
    2008
    2009
    2010
    2011
    2012
                                                                                           JA2531
               HOoOOoo
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    2013
    2014
    2015
    2016
    I don’t remember
   OOO




1d. About how many times did you see him?
    One time
    2-5 times
          Hboo0o0




    More than 5 times

1e. What types of visits did you have with him? (Check all that apply)
    Routine annual gynecological checkups
    Prenatal, delivery, and postnatal obstetric visits
    Surgery
    Visits for other medical care

2. Questions about your relationship with Dr. Akoda
 OO




2a. Did you trust Dr. Akoda?
                    HOOoE08




    Yes
    No

2b. If you answered yes to question 2a but at some point began not to trust him, what
happened that changed? (Check all that apply)
    It was just something about him
    He was rude
    He made sexual comments
    He hurt me
    Pelvic exams were too long
    Other
                    HOOBOoH




2c. If you answered no to question 2a but at some point began not to trust him, what
happened that changed? (Check all that apply)
    It was just something about him
    He was rude
    He made sexual comments
    He hurt me
    Pelvic exams were too long
    Other
 OO




2d. Did you ever feel scared of or threatened by Dr. Akoda during your time in his ‘care’?
    Yes
    No

3. Questions about Dr. Akoda’s gynecological examination.

3a. How did Dr. Akoda’s pelvic examination compare with other doctor’s exams before or
since you saw him?

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   OOO
    Positive (e.g., Liked Dr. Akoda’s practice)
    Neutral (e.g., No difference)
    Negative (e.g., he was more rough, longer exams, sexual talk and/or touch)

3b. How did his breast examination compare with other doctors’ exams before/after you saw
   OOO



him?
    Positive (Liked Dr. Akoda’s practice)
    Neutral (No difference)
      OOOO




    Negative (Dr. Akoda more rough, insensitive, longer exams, sexual talk and/or touch)

3c. Was there always a nurse or chaperone in the room during pelvic examinations?
    Always
    Sometimes
    Never
      OOOO




    I don’t know or remember

3d. Did she stay throughout the examination?
    Always
    Sometimes
    Never
      OOOO




    I don’t know or remember

3e. Was she standing in a place where she could see the pelvic examination?
    Always
    Sometimes
    Never
      OOOO




    I don’t know or remember

3f. Did Dr. Akoda ever perform a pelvic exam without using gloves?
    Always
    Sometimes
    Never
    I don’t know or remember

3g. Did Dr. Akoda ever touch you in a way that felt uncomfortable or wrong, beyond the usual
   OOO




discomfort of this kind of medical care?
    Yes
    No
    I don’t know or remember
   OOO




3h. Did you ever feel sexually aroused or have an orgasmic response to the examination?
    Yes
    No
    I don’t know or remember

4. Questions about other unusual behaviors
   OOO




4a. Did you think that Dr. Akoda asked you to come in for check-ups more often than
needed?
    Yes
    No
    I don’t know or remember
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 OO
4b. Did anything ever make you feel uncomfortable in the office during or after the exam?
    Yes
    No
   OOO



4c. Pelvic exams are never fun, but looking back, do you think his exams were more or less
painful than other pelvic exams you’ve had with other doctors?
    Yes, more painful
    Yes, less painful
    No
   OOO




4d. Did Dr. Akoda ever talk dirty or say anything at any time that you thought was in some
way sexual or inappropriate?
    Yes
    No
    I don’t know or remember
   OOO




4e. Did you ever consider changing doctors?
    Yes
    No
    I don’t know or remember
 OO




4f. Did you tell anyone about things he said or did that were inappropriate?
                  HOoEBH008




    Yes
    No

Yes (please indicate who you told. Check all that apply)
    I told a nurse or other healthcare provider
    I told an administrator
    I told another doctor
    I told a family member
          Hoe00




    I told a friend
    I told someone else

No. (below, please indicate why you didn’t tell anyone. Check all that apply)
    I was embarrassed
    I felt ashamed
    I didn’t think anyone would believe me
    I didn’t know what to do
    Other
              OOO0000




5. Questions about how you learned about the charges against Dr. Akoda

5a. How did you first learn that charges were made against Dr. Akoda?
    I heard about it on the radio
    I read about it in the newspaper
    I saw something about it on TV or the internet
    A friend told me she had heard or seen one of these announcements
    I received a call from a health care professional
    Other:



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                  HOOEB00
5b. How did you feel when you heard about the charges against Dr. Akoda? (Check all that
apply)
    Neutral
    Shocked
    Angry
    Betrayed
    Sad
    Other:
             HoOooeao




5c. If you are upset about what Dr. Akoda did, why? (Check all that apply)
    I feel that he betrayed my trust.
    I think he may have hurt me physically
    I think he performed unnecessary procedures on me
    I worry that he may have hurt my baby
    I am not upset about what he did

6. Impact of your experience with Dr. Akoda on your mental and physical
health.
      OOOO




6a. Did you experience emotional distress as a result of Dr. Akoda’s conduct or as a result of
learning that he might not be a licensed doctor or that his name and papers were not real?
    Yes, before I learned of the charges against him.
    Yes, only after I learned of the charges against him
    Yes, both before and after I learned of the charges against him.
    No

(If you answered no to question 6a, skip to question 6c)

6b. Do you still experience emotional distress as a result of Dr. Akoda’s conduct or as a result
 OO




of learning that he might not be a licensed doctor or that his name and papers were not real?
    Yes
    No
      OOOO




6c. Have you had any intense physical reactions when reminded of being treated by Dr.
Akoda such as your heart beating faster, being short of breath, or being sweaty?
    Yes, before I learned of the charges against him.
    Yes, only after I learned of the charges against him
    Yes, both before and after I learned of the charges against him.
    No

(If you answered no to question 6c, skip to question 6e)

6d. Do you still have intense physical reactions when reminded of being treated by Dr.
 OO




Akoda?
    Yes
    No

6e. Have you had any upsetting thoughts, memories or dreams of being treated by Dr.
Akoda?
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      OOOO
    Yes, before I learned of the charges against him.
    Yes, only after I learned of the charges against him
    Yes, both before and after I learned of the charges against him.
    No

(If you answered no to question 6e, skip to question 6g)
 OO




6f. Do you still have upsetting thoughts, memories, or dreams of being treated by Dr. Akoda?
    Yes
      OOOO




    No

6g. Have you tried to avoid thoughts or feelings about what happened to you with Dr. Akoda?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
    No
 OO




6h. Is it hard for you to recall some aspects of what transpired?
    Yes
      OOOO




    No

6i. Have you experienced mood changes or depression?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6j. Have you experienced less interest or pleasure with important activities?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6k. Have you experienced less interest or pleasure with important activities?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6l. Have you felt irritable or angry?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6m. Have you had difficulty concentrating?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
    No

6n. Have you felt jumpy, overly alert, or easily startled?

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      OOOO
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO
    No

6o. Do you have trouble sleeping or bad dreams or nightmares?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6p. Do you feel embarrassed, shame, or humiliated?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6q. Do you have trouble making decisions?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No

6r. Do you overuse drugs or alcohol?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
      OOOO




    No
                        HDOBSEHH00008




6s. Have you felt uncomfortable with your body or not cared for yourself as you should?
    Yes, only in the past month
    Yes, only prior to the past month
    Yes, both in the past month and prior to the past month
    No

6t. Have you experienced any of the physical symptoms listed below as a result of Dr.
Akoda’s conduct (Check all that apply)?
    Headache/dizziness
    High blood pressure
    Chest pain or shortness of breath
    Abdominal pain, nausea, reflux, ulcers, constipation
    Fatigue or insomnia
    Weight gain or weight loss
    Numbness, loss of enjoyment in life, or loss of libido
    Pain, trembling and/or nervous tics
    I have not experienced any of these symptoms
    Other:



(if you have not experienced physical symptoms, skip to question 6v)

6u. How severe were your physical symptoms?
    mild
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 OO
    moderate
    severe

6v. Have you received any psychological, psychiatric, and/or other medical treatment for
 OO



symptoms arising from your experience with Dr. Akoda?
    Yes
    No

(if you answered no to question 6v, skip to question 6x)

6w. Please describe any treatment you received for symptoms arising from your experience
      5o0o0




with Dr. Akoda?
    Therapy or counseling
    Psychiatric medication
    Non-psychiatric medication
              HOoeaa




6x. Please describe any psychiatric or medical diagnoses you have received that you believe
are related to your experience with Dr. Akoda.
    Depression (Major Depressive Disorder)
    Anxiety (Anxiety Disorder)
    PTSD (Post Traumatic Stress Disorder)
    Alcohol or Drug Use (Substance Abuse Disorder)

7. Impact of your experience with Dr. Akoda on other aspects of your life.
 OO




7a. Has your experience with Dr. Akoda affected your trust in doctors?
                        HOoEHb00




    Yes, it has led me to not trust doctors
    No

7b. In what ways has your experience with Dr. Akoda affected your use of medical care?
(Check all that apply)
    It has not affected my use of medical care.
    It has changed how often I visit any doctor
    It has changed how often I visit an ob/gyn
    It has affected the types of medical specialists I will go to see
    It has affected the medical choices or decisions I make
    Other:
                   HOoEb88




7c. In what ways has your experience with Dr. Akoda affected other non-medical aspects of
your life? (Check all that apply)
    It has not affected other parts of my life.
    It has affected my relationship with my spouse or partner.
    It has affected my relationships with my children
    I am concerned about my daughter going to an ob/gyn
    Other:



7d. Has your experience with Dr. Akoda affected your work life?
    Yes
    No
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(If you answered no to Question 7d, skip to question 7f).

          HOoB00
7e. In what way has your experience with Dr. Akoda affected your work life (Check all that
apply)?
    I was not able to go to work for awhile
    I missed work deadlines
    I was fired from my job
    I quit my job
    Other:



7f. Did your experience with Dr. Akoda affect your social life?
    Yes
    No
               HOoEBH008




(If you answered no to Question 7f, skip question #7g)

7g. In what way did your experience with Dr. Akoda affected your social life? (Check all that
apply)
    I avoided friends, neighbors, and relatives.
    I avoided certain types of social events.
    I avoided certain neighborhoods and locations.
    I didn’t read my mail or email
    I didn’t return messages and phone calls.
    I was afraid of or avoided leaving home.



8. Other factors that may influence how your experience with Dr. Akoda
affected you.

These questions are very personal and may be difficult to answer, but they are important, so
please try to answer as completely as possible.
   OOO




8a. Have you ever been threatened by somebody?
    No
    Yes
    Decline to answer
   OOO




8b. Have you ever experienced or witnessed violence in your own home in years past?
    No
    Yes
    Decline to answer
   OOO




8c. Have you ever been forced to have sex or been threatened with violence if you didn’t?
    No
    Yes
    Decline to answer

8d. Have you ever been sexually abused in other ways?

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       OOOO
     No
     Yes
     Decline to answer
     Other Type of Abuse Experienced:

Item # 82




9. Demographics

9a. Date of Birth

MM



YY
 OO




9b. Your marital status
     single
     married or in long-term relationship
                OOO0000
 OO




9c. Is English your main language?
     Yes
     No

9d. Your ethnicity
     African-American
     Caucasian
     Asian
     Hispanic
     Biracial
     Mixed
     Other
     OOO




9e. When you were treated by Dr. Akoda, what type of health insurance did you have?
     Medicaid
     Private insurance
     No insurance

Thank you for answering these questions. If you wish to say more about your
experience with Dr. Akoda, you can write your statement here:

Statement:




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                  Civil Action No. 18-5629
                  Plaintiffs,
                                                  Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                  Defendant.


    DEFENDANT’S MOTION TO EXCLUDE THE OPINIONS AND ANTICIPATED
       TESTIMONY OF PLAINTIFFS’ EXPERTS DR. DAVID MARKENSON,
          DR. JOHN CHARLES HYDE, AND DR. JERRY WILLIAMSON

       For the reasons set forth in the attached memorandum of law, Defendant Educational

Commission for Foreign Medical Graduates, by and through its undersigned counsel, moves to

exclude the opinions and anticipated testimony of Plaintiffs’ experts Dr. David Markenson, Dr.

John Charles Hyde, and Dr. Jerry Williamson pursuant to Federal Rules of Evidence 702, 703, and

403, and Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993).

 Dated: December 10, 2021                       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.


DATED: December 10, 2021                      /s/ Brian W. Shaffer
                                              Brian W. Shaffer




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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                          Civil Action No. 2:18-cv-5629
                Plaintiffs,
                                          Honorable Joshua D. Wolson
      v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.



    DEFENDANT EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
   GRADUATES’ MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
  EXCLUDE THE OPINIONS AND ANTICIPATED TESTIMONY OF PLAINTIFFS’
      EXPERTS DR. DAVID MARKENSON, DR. JOHN CHARLES HYDE,
                    AND DR. JERRY WILLIAMSON




Dated: December 10, 2021                  Brian W. Shaffer, PA Bar No. 78851
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I.     INTRODUCTION

       Plaintiffs Monique Russell, Jasmine Riggins, Elsa Powell, and Desire Evans (“Plaintiffs”)

have brought negligence-based claims against Defendant Educational Commission for Foreign

Medical Graduates (“ECFMG”) in this proposed class action, alleging that class members treated

by Dr. Akoda experienced emotional distress when they found out that Dr. Akoda—to whom

ECFMG had issued an ECFMG Certificate—used a different name and/or pleaded guilty to Social

Security fraud. In an attempt to generate evidence to support their legally and factually deficient

claims, Plaintiffs have offered three experts on medical credentialing: Drs. David Markenson, John

Charles Hyde, and Jerry Williamson.

       There are three fundamental reasons why the Court should employ its gatekeeping function

under Federal Rules of Evidence 702 and 703 and the standard from Daubert v. Merrell Dow

Pharm., Inc., 509 U.S. 579 (1993), and exclude the opinions and conclusions of Drs. Markenson,

Hyde, and Williamson, from the individual cases of Plaintiffs and any class proceedings (which,

as the Court is aware, ECFMG believes would be improper). First, all three witnesses lack adequate

and particularized knowledge about ECFMG, its processes, and ECFMG Certification’s limited

role in the medical community. Second, through their opinions, each of these witnesses advances

impermissible legal conclusions. Third, even if they had the qualifications to opine on these issues

(which they do not), the methodologies they use to reach their conclusions are unreliable because

they rely on (1) an incomplete record on the causal chain that fails to address relevant information

about other entities who paved the way for Dr. Akoda to treat patients; and (2) improper

speculations and assumptions that result in an unreliable analysis.




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II.    BACKGROUND

       A.      Factual History Regarding the Limited Role of ECFMG Certification.

       ECFMG knows the Court is familiar with the background and status of this matter. While

the factual and procedural history detailed in Section II.A of ECFMG’s Motion to Exclude Dr.

Annie Steinberg remains the same, some background on the function of ECFMG Certification in

the medical field is necessary.

       ECFMG Certification plays a specific and limited role in an IMG’s path to practicing

medicine in the United States. ECFMG issues ECFMG Certificates to IMGs who have met specific

minimum requirements to be deemed ready to apply for graduate medical education (usually a

residency program) in the United States. Statement of Undisputed Material Facts (“SUMF”) ¶ 2.

During the relevant time period, those minimum requirements were: (1) passing an English exam

and two substantive exams; and (2) having their medical school diploma successfully primary-

source verified as authentic by the issuing medical school. SUMF ¶ 3. That is it. At the relevant

time, ECFMG Certification status reports contained the IMG’s name, USMLE number, medical

school name and country, graduation year, certification status, validity of ECFMG Certification,

and date of issuance of ECFMG Certification. SUMF ¶ 7. These reports did not (and did not

purport to) verify an IMG’s identity, Social Security number, immigration status, passport

information, criminal background, readiness to treat patients, ethics, honesty, morality, or

character. SUMF ¶ 8.

       ECFMG Certification status information is made available only to certain third parties in

the medical field, like residency programs, hospitals, licensing boards, and employers. SUMF ¶ 5.

Recipients of ECFMG Certification status reports use them for a limited purpose as part of their

own processes; the information provided by ECFMG is by no means the only information used by



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hospitals, programs, and employers when evaluating IMGs. Ex. 1, Beck Rebuttal Rep. at 3–7; Ex.

2, Smith Rebuttal Rep. at 2–5; SUMF ¶¶ 10–19. ECFMG Certification status information is not

available to members of the general public (including patients of doctors who have received

ECFMG certification). SUMF ¶ 6.

       B.      Plaintiffs’ Credentialing Experts.

       Dr. Markenson. Dr. Markenson is a pediatrician specializing in emergency and critical

care. Ex. 3, Deposition of Dr. Markenson (“Markenson Tr.”) 17:7–13, 18:8–13. Plaintiffs engaged

Dr. Markenson to provide an opinion on “this matter,” and Dr. Markenson believed he was

engaged to opine on “ECFMG’s certification of a physician as it related to its use, you know within

hospitals of privileging, credentialing, residency application.” Ex. 4, Dr. Markenson Report

(“Markenson Rep.”) 1, 3–4; Markenson Tr. 110:24-6. In his report, Dr. Markenson summarizes

Plaintiffs’ allegations and then purports to offer opinions on what duties ECFMG allegedly

breached during its certification and investigation of Dr. Akoda, without explaining any basis for

identifying these duties or breaches. Markenson Rep. 4–5. Dr. Markenson critiques ECFMG’s:

review of Dr. Akoda’s application; investigation into unsubstantiated allegations about Dr. Akoda;

and alleged delay in involving the Medical Education Credentials Committee. Id. Based on these

critiques, Dr. Markenson concluded that ECFMG “failed to adopt appropriate policies for

certification of IMG’s, failed to exercise reasonable care in its certification of Akoda and failed to

exercise reasonable care in its investigation of allegations made about Akoda and that these failures

caused harm to the named plaintiffs and members of the class.” Markenson Rep. 2.

       Dr. Hyde. Dr. Hyde is a retired professor of health services administration and clinical

outcomes research, although he maintains an adjunct position teaching healthcare management at

George Washington University. Ex. 5, Dr. Hyde Report (“Hyde Rep.”) 1. He has degrees in



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healthcare administration and is a Certified Healthcare Executive through the American College

of Healthcare Executives, but he is not a clinician and does not have any expertise in clinical

medical care. Id.; Ex. 6, Deposition of Dr. Hyde (“Hyde Tr.”) 55:3–13.

       Dr. Hyde opined that ECFMG was required to follow administrative standards for

credentialing IMGs in order to fulfill a duty to patients and “assure all foreign educated physicians

are properly and thoroughly investigated and deemed eligible for ECFMG certification.” Hyde

Rep. 6. Dr. Hyde provided a list of ECFMG’s alleged breaches, with no explanation on how these

breaches relate to any duty or responsibility on the part of ECFMG. He concluded that such

“breaches of duties, by ECFMG caused Akoda to . . . gain access to and directly cause harm [to]

the plaintiffs and the members of the class,” even though Dr. Hyde has never met with Dr. Akoda’s

patients or otherwise reviewed their medical records to make an assessment on their harm. Id. at

7; Hyde Tr. 57:1-57:21.

       Dr. Williamson. Dr. Williamson has a background as a physician and hospital

administrator. Ex.    7, Dr. Williamson Report (“Williamson Rep.”) 1. He is not currently

credentialed or on staff at any medical facility, and he has not formally worked in hospital

administration since 1993. Ex. 8, Deposition of Dr. Williamson (“Williamson Tr.”) 22:13–23:1.

Dr. Williamson has a master’s degree in health jurisprudence from Loyola University Chicago

School of Law, but he is not a lawyer. Id. at 19:14-25. All of his prior testimonial experience has

centered on his clinical expertise, and he has never testified in a matter regarding the credentialing

of a physician or a residency program’s decision to hire or not hire a candidate. Id. at 7-8, 15:10–

22. While he has been engaged in two matters involving negligent “credentialing”, these were

focused on the negligent decisions of a hospital in employing or providing a doctor with access to

patients, not the decision of an entity like ECFMG. Id. at 10:10–12:1, 13:9–12. In his report, after



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summarizing his understanding of ECFMG’s role in the credentialing processes that led to Dr.

Akoda treating patients, Dr. Williamson states that the key question he is resolving is “whether

ECFMG’s actions or failure to act resulted in foreseeable injuries to Class Members.” Williamson

Rep. 2–4. Dr. Williamson provides a list of ECFMG’s alleged “breaches” tied to duties he claims

belong to a “prudent credentialing organization” like ECFMG. Id. at 5–6. Citing “missed

opportunities to address the many irregularities in the Igberase/Acoda [sic] applications,” he

concludes that “ECFMG had a duty to its aforementioned clients, including medical licensing

authorities, residency programs, hospitals, and others. However, ECFMG’s failure to act in a

reasonable and prudent manner directly impacted patient safety.” Id. at 6.

       C.      ECFMG’s Rebuttal Experts.

       In light of the numerous flaws in Plaintiffs’ credentialing expert’s opinions, detailed below,

ECFMG engaged two experts in the field.

       Dr. Mark Smith. Dr. Smith practiced medicine for 25 years as a general and vascular

surgeon and has extensive healthcare consulting experience, including on issues such as

credentialing and privileging. Ex. 2, Smith Rebuttal Rep. 1. He is now a clinical assistant professor

working with residents and medical students. He has authored a book on credentials committees

and served in a professional role dedicated to credentialing. Id. at 9, 12. In his report, Dr. Smith

explained the processes an IMG must go through to treat patients, including but certainly not

limited to ECFMG Certification. Id. at 2. He opines on the extensive evaluation and review

processes an IMG faces as a resident, applicant to state medical board, and on staff at a hospital.

Id. at 4. Based on his credentialing expertise, he concluded that “ECFMG is by no means the only

or even the most significant information point regarding [a foreign medical graduate’s] ability to




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practice medicine in the US” and that residencies and hospitals gather a wide variety of information

about an IMG from sources other than ECFMG. Id. at 5.

        Dr. Laurence Beck. Throughout Dr. Beck’s 50-year medical career in internal medicine,

he held numerous leadership positions that required his direct participation in the credentialing of

IMGs, including Chairman of residency committees and programs and Chairman of multiple

departments of medicines. Ex. 1, Beck Rebuttal Rep. 2. In his report, Dr. Beck explained the

numerous steps IMGs must go through to practice medicine in the United States, including what

criteria residency programs, state licensing boards, medical specialty boards, and hospitals

consider (besides ECFMG Certification status) when evaluating IMGs. Id. at 1–7. He then

analyzed the steps that Dr. Akoda took leading to his treatment of patients and concluded that

while there were “numerous opportunities for [these entities] to suspect and investigate Dr.

Akoda’s behavior, . . . these opportunities appear to have been repeatedly hidden, or covered up,

by Dr. Akoda, though his apparent lies, false documents, and evasiveness.” Id. at 8. Finally, he

explains that, at bottom, the way “Dr. Akoda was able to move “through the system, licensure and

ability to practice medicine . . . was Dr. Akoda himself and his fraudulent and criminal activities.”

Id. at 9.

III.    LEGAL STANDARD

        Rule 702 of the Federal Rules of Evidence allows for the testimony of expert witnesses

only if “(a) the expert’s scientific, technical, or other specialized knowledge will help the trier of

fact to understand the evidence or to determine a fact in issue; (b) the testimony is based on

sufficient facts or data; (c) the testimony is the product of reliable principles and methods; and (d)

the expert has reliably applied the principles and methods to the facts of the case.” Fed. R. Evid.

702. The Third Circuit has explained that Rule 702 imposes various requirements on proponents



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of expert testimony centered around: “qualification, reliability and fit.” Schneider ex rel. Est. of

Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003). The proponent of expert testimony has the

burden of establishing that it meets these requirements by a preponderance of proof. See Oddi v.

Ford Motor Co., 234 F.3d 136, 144 (3d Cir. 2000).

       In Daubert v. Merrell Dow Pharmaceuticals, the U.S. Supreme Court held that Rule 702

requires a court to examine any proffered expert testimony for reliability, methodology, and

connection between the data and the expert’s conclusion. 509 U.S. 579 (1993). More specifically,

Daubert provided five factors to guide a district court in its assessment of these requirements:

(1) whether the methodology can and has been tested; (2) whether the technique has been subject

to peer review and publication; (3) the known or potential rate of error of the methodology; (4) the

existence and maintenance of standards controlling the technique’s operation; and (5) whether the

technique has been generally accepted in the proper scientific community. See id. at 593–94; see

also In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 742 n.8 (3d Cir. 1994) (recognizing the

importance of these factors in determining the admissibility of an expert’s opinions, along with

other reliability considerations). Rule 703 of the Federal Rules of Evidence governs the

admissibility of the facts or data that an expert bases its opinion on and applies the same reliability

standard as Daubert. See id. at 748–49 n. 18. Rule 703 excludes “facts or data [that] would

otherwise be inadmissible” unless the probative value to the jury substantially outweighs their

prejudicial effect. Fed. R. Civ. P. 703.

       District Courts must act as “gatekeepers” for all expert testimony. Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 141 (1999). This includes, determining whether an expert

impermissibly opines on legal conclusions: “[A]n expert witness is prohibited from rendering a

legal opinion. . . . Such testimony is prohibited because it would usurp the District Court’s pivotal



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role in explaining the law to the jury.” Berckeley Inv. Grp. Ltd. v. Colkitt¸ 455 F.3d 195, 217 (3d

Cir. 2006).

IV.    ARGUMENT

       Drs. Markenson’s, Hyde’s, and Williamson’s opinions should be excluded because: (1) the

witnesses’ lack of adequate and specialized knowledge about ECFMG make them unqualified to

reach their conclusions; (2) the witnesses offer legal opinions, including on ultimate issues that are

for the Court or factfinder, far beyond the scope of admissible expert testimony; and (3) their

opinions are based on unreliable methodologies. See Oddi, 234 F.3d at 145 (“we concluded that

Rule 702 has two major requirements; qualifications and reliability”). Federal Rules of Evidence

403 & 703 also support excluding their opinions because the probative value of presenting their

opinions is substantially outweighed by the prejudicial effect their inappropriate legal conclusions

will have on a jury.

       A.      Plaintiffs’ Experts Are Not Qualified to Offer Opinions on ECFMG.

       Rule 702 demands that an expert possess “scientific, technical, or other specialized

knowledge [that] will help the trier of fact to understand the evidence or to determine a fact in

issue.” Fed. R. Evid. 702(a). Drs. Markenson, Hyde, and Williamson do not possess specialized

knowledge that will help a factfinder evaluate whether ECFMG breached a duty to Plaintiffs and

thereby caused them harm. Their lack of expertise in ECFMG’s role in the credentialing of

physicians detracts from the reliability of their opinions and makes them unqualified to reach

conclusions about ECFMG’s responsibilities and conduct. See Paoli, 35 F.3d at 741 (“the level of

expertise may affect the reliability of the expert’s opinion”).

       None has ever been an ECFMG applicant, employee, board member, or a Medical

Education Credentials Committee member. None has known anyone on the Committee or been



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involved with an investigation of irregular behavior. Markenson Tr. 77:8–14; 78:1–17, 112:3–5,

143:11–24 (conceding he is not an expert on how ECFMG verifies credentials, and is only “aware

of the information they provide to those who use it and how they hold themselves out to people

who use it”); Hyde Tr. 60:20–61:20, 131, 138 (confirming he has never been an ECFMG applicant,

served on the Board of Trustees, or been a member of the Medical Education Credentials

Committee, and his interactions with ECFMG have been “very few and far between”); Williamson

Tr. 64:19–65:23. Unsurprisingly then, none has testified about ECFMG before. Markenson Tr.

16:4–22 18:21–24; Hyde Tr. 69:20–70:4 (confirming has never provided an expert opinion on

ECFMG’s policies or procedures); Williamson Tr. 7-8, 13:9-12, 15:10–22.

       Drs. Markenson and Williamson both demonstrate a fundamental misunderstanding of

ECFMG’s role in the credentialing of physicians. Dr. Markenson did not understand ECFMG’s

document verification services and its relation to other institutions. Markenson Tr. 59:5–62:13

(erroneously guessing that ECFMG verifies all aspects of an applicant’s identify, including social

security number and photographic identification). Despite claiming in his report that his hospital

administrative work made him knowledgeable about the ECFMG credentialing process, during his

deposition, Dr. Williamson was unable to recite what information ECFMG communicated to

hospitals about IMGs through an ECFMG certification status report. Williamson Rep. 1;

Williamson Tr. 32:13–18. In addition, he could not testify as to whether the USMLE Step 3 Exam

had any role in ECFMG’s certification processes. Williamson Tr. 126:22–127:10. It does not.

       While all three of the experts had some interaction with ECFMG over the course of their

careers, that is not enough to offer the type of “Monday-morning quarterbacking” these experts

seek to provide regarding ECFMG’s internal policies and procedures. An expert needs more than

passing familiarity with the subject matter to qualify as an expert: “While the background,



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education, and training may provide an expert with general knowledge to testify about general

matters, more specific knowledge is required to support more specific opinions.” Calhoun v.

Yamaha Motor Corp. U.S.A., 350 F.3d 316, 322 (3d Cir. 2003). Even so, Drs. Hyde and

Williamson claim to have last interacted with ECFMG more than a decade ago, and both struggled

to recall the specifics of that interaction and what they actually learned about ECFMG’s processes

and certification during that time. See, e.g., Hyde Tr. 61–62 (trying to recall an interaction with

ECFMG back in the 1970s or 1980s). The experts’ perusal of ECFMG’s public website is not

enough to gain the specialized knowledge that could form the basis for an expert opinion about

ECFMG. Markenson Tr. 78:1–17, 143:11–24; Hyde Tr. 117–118. Nor they suggest that they have

some “specialized knowledge” that allowed them to draw conclusions from reviewing ECFMG’s

website that a lay juror would not.

       Dr. Hyde, in particular, has a history of overreaching in expert opinions. He has been

excluded as unqualified to opine on the “probability” of causation in a personal injury case, in

which the court criticized Dr. Hyde’s “broad conclusions” that were unsupported by data. See

Elswick v. Nichols, 144 F. Supp. 2d 758, 764, 768 (E.D. Ky. 2001). He has also been excluded

from a case in which he purported to opine that a doctor was unqualified, with the court criticizing

his testimony for including “a conclusory statement without factual support.” Svindland v. A.I.

Dupont Hosp. for Children, No. 05-0417, 2006 WL 3209953, at *6 (E.D. Pa. 2006). His

conclusions here are similarly unsupported. Although he cites ten years of experience as a

healthcare administrator as his basis for an expertise in physician credentialing and privileging, he

conceded he has not had direct experience with the field in 30 years: “[a]nd again, this has

happened 30-something years ago. So I’m talking a little bit of what I remember with not that

much specificity but just generalities.” Hyde Rep. 1; Hyde Tr. 47:14–17. He also is not a clinician



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and has not had any experience in clinical medical care, so he is unfamiliar with the subject and

cannot assess plaintiffs’ harms. Hyde Tr. 55:3–13. By his own admissions, Dr. Hyde lacks the

specific expertise required to qualify as an expert, and his testimony should be excluded. See

Calhoun, 350 F.3d at 322.

       Drs. Markenson’s, Hyde’s, and Williamson’s overall lack of knowledge of ECFMG, its

certification processes, and its irregular behavior investigations mean they lack the qualifications

to offer their opinions about ECFMG, and their reports and testimony should be excluded. See

Oddi, 234 F.3d at 145.

       B.      Drs. Markenson, Hyde, and Williamson Offer Impermissible Legal
               Conclusions in the Form of Expert Opinions.

       As is evident from the summary presented in section II supra, Plaintiffs’ credentialing

experts’ opinions that are legal opinions are improper and should be excluded. “[A]n expert

witness is prohibited from rendering a legal opinion. . . . Such testimony is prohibited because it

would usurp the District Court’s pivotal role in explaining the law to the jury.” Berckeley Inv. Grp.

Ltd.¸ 455 F.3d at 217; see also Flickinger v. Toys R Us-Delaware, Inc., 492 F. App’x 217, 224 (3d

Cir. 2012) (affirming exclusion of portions of experts’ report offering opinions on “substantial

cause” and “negligence,” as such terms are legal terms of art that cannot be the subject of expert

testimony); Dorshimer v. Zonar Systems, No. 3:13-0553, 2016 WL 4179480 (M.D. Pa. Aug. 8,

2016) (“Additionally, experts can provide an opinion about the ultimate issue in a case, but may

not give an opinion tied to any legal conclusion, such as whether a defendant was negligent”)

(internal citations omitted).

       All three experts opined on ECFMG’s breach of alleged duties and whether an alleged

breach caused harm to Plaintiffs and putative class members. See Markenson Rep. 3 (“The

standard of care applicable to ECFMG’s certification process requires ECFMG to adopt reasonable


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policies and procedures and to follow those procedures to ensure that IMG’s [sic] comply with all

requirements for certification . . . Its failure to exercise reasonable care in providing these services

increases the risk of harm to the general public, including plaintiffs.”); Hyde Rep. 6–7 (“With a

high degree of professional certainty, it is my opinion that the above breaches of duties, by ECFMG

caused Akoda to be certified by ECFMG, which allowed him to be accepted into a residency,

secure a medical license in MD and gain access to and directly cause harm the plaintiffs and the

members of the class.”); Williamson Rep. 5–6 (“There were several opportunities for ECFMG to

intercede, still they breached the standard of care in the following ways”). The deposition

testimony of Drs. Markenson and Williamson confirmed that they will continue to offer legal

conclusions that are not within the scope of their expertise. See, e.g., Markenson Tr. 218:5–9 (“I

don’t hold them accountable to law enforcement; but anything that an individual was allowed to

do based on their certification, they do have culpability in that case.”), 220:17-221:4 (purporting

to assign liability to ECFMG); Williamson Tr. 116-117 (admitting he is putting forth a legal

opinion on duty), 118:10–11 (“I guess perhaps I can present a legal opinion without being a

lawyer”), 119:17–120:12 (opining on the question of foreseeability).

       Whether or not ECFMG owed a duty to Plaintiffs under particular circumstances is a legal

determination ultimately left to the Court. That is especially important here because “[c]ourts have

been reluctant to impose a duty to protect a member of the general public from the harmful acts of

third parties, in the absence of special circumstances.” Commerce Bank/Penn. v. First Union Nat’l

Bank, 911 A.2d 133, 139 (Pa. Super. 2006); see also Motion for Summary Judgment at Argument,

Part II.A. Similarly, to establish causation, plaintiffs must “demonstrate that the breach was both

the proximate cause and the actual cause of his injury.” Reilly v. Tiergarten Inc., 633 A.2d 208,

210 (Pa. Super. 1993). Allowing paid experts to opine on the legal question of whether a duty is



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owed (and to whom) at a particular time, in the context of a particular Plaintiff, is problematic

whether presented in the context of the individual Plaintiffs’ cases or, for the reasons stated in

ECFMG’s Supplemental Brief in Opposition to Class Certification, as part of any issue class

proceedings. Proximate cause is a question of law to be determined by the court before the issue

of actual cause is put to the jury. Reilly, 633 A.2d at 210 (citing Novak v. Jeannette Dist. Mem.

Hosp., 600 A.2d 616, 618 (Pa. 1991)); see Motion for Summary Judgment at Argument, Part IV.

       Because experts are prohibited from providing legal opinions, especially on whether a

defendant owed a legal duty, was negligent, or was the cause of an alleged harm, the opinions and

testimony of Drs. Markenson, Hyde and Williamson should be excluded. See, e.g., Flickinger, 492

F. App’x at 224.

       C.      Drs. Markenson’s, Hyde’s, and Williamson’s Methodologies Are Flawed
               Because Each Relied on an Incomplete Record.

       Each of Plaintiffs’ three credentialing experts relied on a flawed methodology to reach his

conclusions. “[E]xperts are not permitted to engage in a ‘haphazard, intuitive inquiry,’ but must

explain the research and methodology they employed.” Hartle v. FirstEnergy Generation Corp.,

2014 WL 1317702, at *2 (W.D. Pa. Mar. 31, 2014). District courts may exclude expert testimony

when the expert’s conclusions “did not reliably flow from [the] data and methodology.” Heller v.

Shaw Indus., Inc., 167 F.3d 146, 159 (3d Cir. 1999).

       Even if Drs. Markenson, Hyde, and Williamson were qualified to offer their opinions (they

are not) and even if their opinions were not impermissible legal conclusions (they are), their

opinions should still be excluded because the witnesses did not have an adequate basis on which

to reach and support their opinions, and each of witnesses ignored avenues of analysis and

information that are not only relevant, but necessary, for a sound consideration of the chain of

events that they seek to offer expert testimony about.


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       As covered in greater detail in ECFMG’s Motion for Summary Judgment, determining that

Plaintiffs’ injuries were proximately caused by ECFMG’s conduct requires consideration of

Plaintiffs’ alleged injuries and how remote they were from the alleged negligence. Reilly, 633 A.2d

210 (internal citations omitted); see Motion for Summary Judgment at Argument Part III. None of

these experts ever met Dr. Akoda’s patients, performed examinations, reviewed medical records,

or evaluated any harm that has allegedly come to them. Markenson Tr. 25:11–26:4, 31:9–16 (Dr.

Markenson admits to having no knowledge of Dr. Akoda’s medical procedures, examinations, or

quality of care), 33:12–13 (“I did not read—as I’ve said, I have not reviewed their medical

records.”); Hyde Tr. 57:1–57:21; Williamson Tr. 115. As a result, they do not have sufficient

information and factual ground on which to then offer expert opinions about plaintiffs’ alleged

emotion distress.

       Similarly, despite offering opinions about proximate causation and whether they believe

ECFMG’s conduct caused Plaintiffs’ alleged harm, each of Plaintiffs’ credentialing experts chose

to ignore and not evaluate highly relevant aspects of the chain of circumstances that led to Dr.

Akoda’s employment and his treatment of patients. In terms of evaluating the level of remoteness,

courts review the causal chain between the conduct and the injury by looking at considerations

including the number of factors that contributed to the harm, the effect of those factors on the

harm, and the lapse of time. See Lux v. Gerald E. Ort Trucking, Inc., 887 A.2d 1281, 1287 (Pa.

Super. 2005) (internal quotation and citation omitted); see also Motion for Summary Judgment

Argument Part III. Drs. Markenson, Hyde, and Williamson did not perform any type of review of

the causal chain.

       In fact, their conclusions on the question of whether ECFMG was the direct cause of

Plaintiffs’ injuries did not consider—and are directly contradicted by—an expert Plaintiffs



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previously offered in a prior lawsuit against Dimensions Healthcare, the entity that provided Dr.

Akoda with his privileges. That expert opined that “[Dimensions] breached the applicable

standards of administrative care . . . [and] [a]s a direct and proximate result of [Dimensions’]

continuing negligence, the Claimants, and others similarly situated, suffered physical pain,

emotional anguish, and damages as well as permanent disability.” SUMF ¶ 89.

       In analyzing ECFMG’s conduct, each of the experts drew conclusions from an incomplete

record (as detailed expert-by-expert below).

       Dr. Markenson. Dr. Markenson’s report is solely based on his review of a limited set of

documents curated by Plaintiffs’ counsel, which he did not completely list in his report or maintain

a master list of. Markenson Rep. 1; Markenson Tr. 110:21–23, 114–18, 140, 141–43. In fact, there

were many relevant and necessary documents that Dr. Markenson did not review, such as:

ECFMG’s policies and procedures, records from Dr. Akoda’s residency programs, the American

Board of Obstetrics and Gynecology certification records for Dr. Akoda, and information on

Virginia’s and Maryland’s licensing and credentialing processes. Markenson Tr. 84:22–85:24,

124, 128, 129, 139, 165. Dr. Markenson also never met Dr. Akoda’s patients, performed

examinations on them, or reviewed their medical records, so he has never evaluated the extent to

which these patients were harmed. Id. at 25:11–26:4.

       While Dr. Markenson has professional experience in the residency application process, he

chose not to draw from that experience when evaluating the causal chain and failed to consider the

multiple steps involved in a prospective resident’s application. Id. at 40:8–41:3 (detailing the

multiple steps involved in a residency application process, despite failure to include such details

in his report), Id. at 42:14–18. Dr. Markenson did not analyze or research the processes for

verifying documents, reviewing credentialing files, and admitting applicants that a residency



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program would normally undertake. Id. at 37:21–38:2 (admitting he did not analyze, nor did he

have access to, the materials Dr. Akoda submitted to Howard); 160:16–161:2 (“I do not know their

processes”).

       Similarly, Dr. Markenson acknowledged that medical licensing boards independently

licensed Dr. Akoda, thus permitting him to treat patients. Id. at 35:4–19. Despite this significant

step, he also did not review medical licensing authorities’ procedures and could not determine

whether the medical licensing authorities who issued Dr. Akoda his medical license had acted

properly. Id. at 35:24–36:9; 106:6–8 (admitting he is not familiar with Dr. Akoda’s application to

the Maryland licensing authority); 168:1–8 (admitting he does not know what steps Maryland took

to verify Dr. Akoda’s permanent residence card and Nigeran passport).

       Further, Dr. Markenson failed to consider what role the hospital system Dr. Akoda worked

for played in enabling him to treat patients. Id. at 106:12–16 (admitting he “was not privy to [the

hospital system’s] credentialing files or processes”). Dr. Markenson’s conclusion that “failures on

the part of ECFMG to comply with the standard of care . . . are the direct cause of the harms

caused to the plaintiffs and the members of the class” shows just how flawed and unreliable his

causation analysis is. Markenson Rep. 5 (emphasis added).

       Dr. Hyde. Dr. Hyde’s report is based on his review of a limited set of documents curated

by Plaintiffs’ counsel, in addition to a review of a portion of ECFMG’s website. See Hyde Rep. 2;

Hyde Tr. 117–18. He also reviewed a couple of documents related to other health organizations,

whose significance is of little relevance or never explained. Hyde Rep. 2, 5; Hyde Tr. 108–09;

116–17.

       Despite conceding that credentialing physicians involved more than ECFMG’s

verification, (Hyde Tr. 72:24–76:12), Dr. Hyde did not analyze or research what the credentialing



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or licensing process may be for: (1) the residency programs Dr. Akoda was admitted into and

evaluated by, (id. at 77:6–16); (2) the state of Maryland, which licensed Dr. Akoda, (id. at 162:3–

165:25 (basing his knowledge of what Maryland does to credential applicants purely on the

application, rather than investigating the state’s verification process)); or (3) Prince George’s

Hospital Center, the hospital where Dr. Akoda had privileges, and had no insight into what those

further requirements might be at Prince George’s Hospital Center. Id. at 59:18–25.

       Dr. Williamson. Dr. Williamson’s report is based on his past administrative experience, as

well as his review of a limited set of materials curated by Plaintiffs’ counsel. Williamson Rep. 1–

2. Notably, this included a timeline of events drafted by Plaintiffs’ counsel, which he relied on in

part for his statement of facts. Williamson Rep. 2; Williamson Tr. 60–61, 103. Dr. Williamson did

not include in his analysis a review or investigation of the policies and procedures of Dr. Akoda’s

residency programs or Prince George’s Hospital Center. Williamson Tr. 84–85. Furthermore, he

did not analyze or research the Maryland Board of Physicians’ credentialing and licensing process.

Id. at 94:4-11.

       Dr. Williamson ignored crucial steps in the chain of causation when evaluating ECFMG’s

responsibility. In his deposition, he contradicted his own expert report and admitted that there were

many steps involved in hospital credentialing. Compare Williamson Rep. 6 (“ECFMG’s failure to

act in a reasonable and prudent manner directly impacted patient safety.”) with Williamson Tr.

27:4–6 (“I would say [the credentialing processes at hospitals, health centers, or health

maintenance organizations] is a very cumbersome and very thorough process that requires

significant attention to detail.”). At deposition, Dr. Williamson conceded that hospitals verify a

physician before making a hiring decision, including independent verification of education,

residency program, national practitioner data bank issues, background check, driver’s license



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verification, and drug testing. Williamson Tr. 27:17–28:11. Yet none of that appeared in his report,

wherein he concluded that ECFMG was responsible for Dr. Akoda obtaining a medical license and

being accepted into his residency program. See Williamson Rep. 6.

          D.     Drs. Markenson’s, Hyde’s, and Williamson’s Opinions Are Impermissibly
                 Speculative.

          For many of the same reasons as the previous section, Plaintiffs’ credentialing experts’

opinions are littered with impermissible speculation. Daubert requires that an expert has a

methodology that can and has been tested (first Daubert factor) and has standards controlling its

operation (fourth Daubert factor). Speculation by an expert is grounds for exclusion of the expert’s

opinion. See Goodman v. Burlington Coat Factory, No. 11-4395, 2019 WL 4567366, at *9 (D.N.J.

Sept. 20, 2019) (excluding conclusions of expert when “predicated upon impermissible speculation

and assumption in part”); see also General Electric Co. v. Joiner, 522 U.S. 136, 146 (1997) (“But

nothing in either Daubert or the Federal Rules of Evidence requires a district court to admit opinion

evidence that is connected to existing data only by the ipse dixit of the expert.”); Oddi, 234 F.3d

at 146.

          Dr. Markenson. Dr. Markenson opined in his report on what he guesses the Medical

Education Credentials Committee would have done if ECFMG had referred the matter to it

(Markenson Rep. 5), despite having no prior experience with the Committee. Markenson Tr.

74:10–19 (acknowledging lack of familiarity with ECFMG, credentials committee, and allegations

of irregular behavior.), 77:8–14 (no familiarity with the work of the Medical Education Credentials

Committee outside this matter), 82:19-83:17 (same). Further, he proffered an opinion on what

written ECFMG policies might say without having consulted what they actually do say. Id. at

84:22–85:24 (“I, as a physician, rely upon ECFMG[,] would have presume[d] that they would have

had adequate policies and procedures to follow, to process, verify, and adjudicate issues; but I


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don’t know these specific policies.”), 124:10–13 (indicating he did not read policies and

procedures from the applicable time period); 125:19–127.

        Several errors in his testimony demonstrate the extent of his impermissible speculation. Id.

at 225:7–226:9 (acknowledging that he confused the diplomas and referenced the wrong medical

school), 227:21–235:22 (acknowledging that he does not know whether Dr. Akoda’s application

was considered complete by ECFMG’s standards, even though he listed acceptance of an

incomplete application as an alleged breach), 238:6–239:16 (erroneously claiming Dr. Akoda

provided a green card to ECFMG when he did not).

        Dr. Hyde. Dr. Hyde offered an opinion of how he believed ECFMG should have acted in

light of allegations against Dr. Akoda, though that opinion was not based on any actual expertise

or experience. Hyde Tr. 137:9–138:16 (“So I think there’s a lot of contemporaneous information

that I would have not allowed him to go any further, to be honest. He would have been permanently

revoked, and I wouldn’t give him a five-year revocation, then let this start over again because that

in and of itself sets us where we are today.”). None of this pontification by Dr. Hyde was anything

beyond pure speculation since he had never been in a position to evaluate irregular behavior on

behalf of ECFMG. Id. at 138:17–25. See also Hyde Rep. 7.

       Dr. Williamson. Without developing any basis for opinions in this area or referencing a

supporting methodology, Dr. Williamson nonetheless opined about how ECFMG’s credentialing

works and what duties ECFMG has. Williamson Tr. 64:19–65:23. Despite admitting that

credentialing processes are not “one size fits all” at different health organizations, id. at 26:22, and

because he lacks specific knowledge of ECFMG, Dr. Williamson wrongly assumes that ECFMG

had verification responsibilities that it did not have, such as verifying the authenticity of letters of

recommendation or Social Security numbers. Id. at 82:11–83:9; 112–113. Dr. Williamson



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effectively conflates the responsibility of ECFMG with that of the Maryland Board of Physicians,

because he does not have any familiarity with ECFMG or the Maryland Board of Physicians’

evaluation and licensing processes. See id. at 96:23–99:11. He also expresses an opinion about

whether the absence of a memo in Dr. Akoda’s file was a breach of ECFMG’s irregular behavior

policies before admitting he does not have knowledge about ECFMG’s file management system

or even the term “irregular behavior.” Id. at 108–109.

        These experts’ rank speculation should be excluded.

        E.      Rules 403 & 703 Also Support Excluding the Opinions of Drs. Markenson,
                Dr. Hyde, and Dr. Williamson.

        Drs. Markenson, Hyde, and Williamson rely on methodologies so unreliable that Federal

Rules of Evidence 403 and 703 counsel excluding their expert opinions. Under Rule 403, “[t]he

court may exclude relevant evidence if its probative value is substantially outweighed by a danger

of . . . misleading the jury.” Similarly, Rule 703 covers what bases an expert may rely on and

excludes “facts or data [that] would otherwise be inadmissible” unless the probative value to the

jury substantially outweighs their prejudicial effect. Lawyers may not use expert opinions to

supply client statements normally blocked by the rule of hearsay. Therasense, Inc. v. Becton

Dickinson Co., No. C 04-02123 WHA, 2008 WL 2323856, at *1 (N.D. Cal. May 22, 2008). When

experts “pass off client-prepared litigation-driven tests as fact . . . the jury can be easily misled into

believing that the tests in question were tested and subjected to cross-examination” and “the

probative value of such testimony is far outweighed by risk of misleading the jury.” Id. at *2

(internal quotation marks omitted). “If an expert, a person with special knowledge and expertise,

testifies as to the skewed results, a jury is likely to give special weight to the skewed conclusion.”

Citizens Fin. Grp., Inc. v. Citizens Nat’l Bank, 383 F.3d 110, 120 (3d Cir. 2004).




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       Here, Drs. Markenson, Dr. Hyde, and Dr. Williamson all provided legal opinions on

elements of negligence that were not only outside their expertise, but also the scope of permissible

expert testimony. Their reports demonstrate that rather than providing the jury with facts to

consider, they will be spouting the same flawed legal theories that Plaintiffs’ counsel have put

forward. Such testimony will mislead the jury and must be excluded.

V.     CONCLUSION

       The opinions of Drs. Markenson, Hyde, and Williamson do not meet the requirements of

proper expert testimony and should be excluded in their entirety.



Dated: December 10, 2021                             Respectfully submitted,

                                                     /s/ Brian W. Shaffer
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                                                     for Foreign Medical Graduates




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: December 10, 2021                             /s/ Brian W. Shaffer
                                                     Brian W. Shaffer




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                  Civil Action No. 18-5629
                  Plaintiffs,
                                                  Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                  Defendant.



                                  [PROPOSED] ORDER

       AND NOW, this __ day of ________ 2022, upon consideration of Defendant Educational

Commission for Foreign Medical Graduates’ Motion to Exclude the Opinions and Anticipated

Testimony of Plaintiffs’ Experts Dr. David Markenson, Dr. John Charles Hyde, and Dr. Jerry

Williamson and any response thereto, IT IS HEREBY ORDERED that ECFMG’s Motion to

Exclude the Opinions and Anticipated Testimony of Plaintiffs’ Experts Dr. David Markenson, Dr.

John Charles Hyde, and Dr. Jerry Williamson is GRANTED. The opinion and anticipated

testimony of Plaintiffs’ experts Dr. David Markenson, Dr. John Charles Hyde, and Dr. Jerry

Williamson are EXCLUDED.




                                                  BY THE COURT:


                                                  _______________________________
                                                                    Wolson, J.




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                  Exhibit 1




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                Laurence H. Beck, MD, FACP
             529 Broad Acres Road; Narberth PA 19072



October 14, 2019


Dear Elisa McEnroe:


In re: Russell et al v. ECFMG


I have been asked by Elisa McEnroe of Morgan, Lewis & Bockius LLP to review

documents and other materials related to the above litigation, and to provide my

expert opinion in such matters. In particular, I have been asked to provide expert

opinion on the processes involved, after an International Medical Graduate (IMG)

receives certification from the ECFMG, in applying for, and receiving, (1)

acceptance into a residency training program; (2) hospital staff privileges; (3)

state licensure to practice medicine independently; and (4) Board certification in a

medical specialty.


I have separately submitted my curriculum vitae, including publications. I have

had no publications in the previous 10 years.


I have not participated as an expert witness at trial or by deposition in the

previous 4 years.



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I have been contracted for this work at the rate of $500 per hour.


In preparing this report, I have reviewed the expert reports of Dr. John Charles

Hyde, Dr. Jonathan Burroughs, Dr. David Markenson, and Dr. Jerry Williamson. In

addition, I have reviewed current published material from the Virginia Board of

Medicine and the Maryland Board of Physicians concerning the process and

requirements for an IMG to apply for a state license to practice medicine. I have

reviewed published criteria from the American Board of Obstetrics and

Gynecology, as well as from the American Board of Medical Specialties. I have

also reviewed correspondence and records concerning Dr. Akoda from Jersey

Shore Medical Center (Jersey Shore Medical Center 000006-000010). I have also

reviewed correspondence and records concerning Dr. Akoda from the American

Board of Obstetrics and Gynecology (ABOG nonparty 000001-000082).


Most importantly, I have drawn on my expertise in the matters related to the

above issues. This expertise includes 50 years of leadership and practice of

medicine in Pennsylvania, the District of Columbia, and Florida. During that time,

I have held numerous leadership positions requiring participation in, and

knowledge of, credentialing of IMG’s, including: (1) Chairman of the Residency

Selection Committee at the University of Pennsylvania School of Medicine; (2)




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Program Director of Internal Medicine Residency at the Hospital of the University

of Pennsylvania; (3) Chairman of the Departments of Medicine [at the University

of Pennsylvania, Philadelphia Veterans Administration Hospital, Geisinger Medical

Center, Georgetown University Medical Center, and Cleveland Clinic Florida] and

(4) Associate Chief of Staff of a Hospital [Georgetown University Hospital]. I am

Board Certified by the American Board of Internal Medicine (ABIM).


For an IMG to practice medicine in any State in the United States, he/she must

pass through numerous steps of application and acceptance.


   1. He/she must apply to and be accepted into a residency accredited by the

      ACGME (Accreditation Council for Graduate Medical Education). In order to

      be considered as a candidate, the IMG must have, in addition to

      certification by the ECFMG, numerous other documents and undergo

      scrutiny in several areas, as iterated below.

   2. To receive a license to practice medicine in the State of Maryland and/or

      the Commonwealth of Virginia, the IMG must (in addition to ECFMG

      certification) have graduated from an approved medical school, must be of

      “good moral character”, must have completed at least 2 years of an




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      accredited residency, and satisfy numerous other criteria, as spelled out

      below.

   3. To be accepted as Staff at a Hospital in either of those jurisdictions, the

      IMG must have an unrestricted state license to practice medicine, and must

      meet numerous other criteria, as iterated below.

   4. To achieve Board certification in a medical specialty (which is a voluntary

      decision, and not required for state licensure), the candidate must pass a

      certifying examination and be evaluated in numerous other categories, as

      iterated below.


At each of these steps, the program or institution has a specific set of

requirements, which include verification of credentials and usually a personal

interview. For application to a residency program, it is the responsibility of the

residency program administration to ensure verification of primary-source

credentials. Typical additional requirements include: an in-person interview,

letters of reference (with contact information for each writer), a current

photograph, an up-to-date CV [curriculum vitae], evidence of proficiency in

spoken and written English, review of visa status (usually J-1 or green card), and

review of any prior residency, with a letter of recommendation from its program

director. Following review of an application, the candidate and the residency



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program must participate in the National Residency Matching Program (NRMP),

wherein each party submits a rank order list of their preference (the list of

residency programs for the applicant; the list of candidates for the residency

program).


Although it is sufficient for the residency program to accept primary source

credential verification via ECFMG certification (or their ERAS program) for the

medical credentials, the residency program must pursue the other requirements

via their own resources. Based on my extensive knowledge and experience, the

above requirements are typical of residency programs in the United States, and

represent, in my opinion, a medical profession and industry standard.


An IMG’s application to the Virginia and/or Maryland Board of Physicians for a

license to practice requires ECFMG certification, as well as numerous other

requirements. For either state, there is a personal interview, with verification of

identity, reporting of all post-graduation residency or fellowship training, with

letter(s) of recommendation from the program director(s), medical school

transcripts (usually directly from the medical school), scores of FLEX or Step 3 of

the USMLE, employment record from the date of medical school graduation,

report of any disciplinary action, and competency in written and spoken English.




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Each state also has a separate written licensure exam. The Maryland Board of

Physicians states also “The Board requires primary source verification from

medical schools, postgraduate training programs, national licensing entities

(USMLE, FSMB, NBME, etc) and other state boards”. Again, based on my

extensive knowledge and experience, the above requirements are typical of state

medical licensure boards in the United States, and represent, in my opinion, a

medical profession and industry standard.


Similarly, Hospital staff privileges require a separate application process which,

for the IMG, requires ECFMG certification, but also (usually) an interview, as well

as a number of other areas of review, including one or more personal references

with contact information for each, a current photograph, certificates of

completion from all residencies and fellowships, letter of recommendation from

program director(s), Social Security number, valid passport and/or birth

certificate, malpractice insurance history, all licenses, including DEA certificate, a

2-year case log, fingerprinting for federal background check, and a urine drug

screen. Furthermore, after achieving hospital staff privileges, all physicians are

evaluated on an ongoing basis, usually by the Medical Director’s office, on their

clinical performance, demeanor, and interactions with patients and staff. Based

on my extensive knowledge and experience, the above requirements are typical



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of hospitals in the United States, and represent, in my opinion, a medical

profession and industry standard.


Certification by an American Board of a medical specialty requires a process

involving examination, review of credentials, and evidence of satisfactory

performance in that specialty. Typically, for the American Board of Obstetrics and

Gynecology, that requires passing a written and oral examination, undergoing a

personal interview, review of academic credentials, review of case logs over the

previous years, letters of recommendation from residency and fellowship

directors, and consideration of any disciplinary action, criminal, or immoral

behavior that comes to their attention. Following successful Board certification, a

candidate must comply with annual requirements for ongoing educational

modules as part of the MOC (maintenance of certification) process.


Dr. Akoda passed both the written and oral examinations of the ABOG, and his

credentials were initially approved, so that he was given a one-year Board

certification. He successfully complied with the MOC requirements for the first

year after his certification, but then failed to continue that activity. As a result,

the ABOG did not renew his certification. Subsequently, upon learning of his




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criminal behavior, it revoked entirely his Board certification. All these activities

were instigated by the ABOG and were not dependent upon input from ECFMG.


CONCLUSIONS


In reviewing the chronology of Dr. Akoda’s progression through the above steps

leading to medical residency acceptance at Jersey Shore Medical Center and at

Howard University, licensure in Virginia and Maryland, staff privileges at Prince

George’s Hospital Center, and certification by the American Board of Obstetrics

and Gynecology, there were numerous opportunities for the above institutions to

suspect and investigate Dr. Akoda’s fraudulent behavior, except that these

opportunities appear to have been repeatedly hidden, or covered up, by Dr.

Akoda, through his apparent lies, false documents, and evasiveness. As an

example, the residency program director at Howard University certainly should,

and I believe, would have pursued the question of why Dr. Akoda had left his third

year of residency at Jersey Shore Medical Center. He/she should, and I believe,

would have called the program director at Jersey Shore Medical Center and

learned that Dr. Akoda was dismissed from that program. It is likely that the

Howard University program did not pursue this discrepancy because they were




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unaware of this history (because Dr. Akoda apparently either lied or failed to

report it, on his application or in a personal interview).


Although residency programs, hospital staff boards, and state medical boards may

rely on the ECFMG certification for verification of certain medical credentials,

they must use their own resources to ascertain the validity of the numerous other

requirements of acceptance (letters of recommendation, visas, social security

information, etc.). There is no expectation of these institutions to receive

additional information from the ECFMG after they have documented that the

certificate is valid.


The primary or root cause of Dr. Akoda’s movement through the system, licensure

and ability to practice medicine at Prince George’s Hospital Center was Dr. Akoda

himself and his fraudulent and criminal activities. These activities effectively hid

the inaccuracies and lies from all concerned, from the ECFMG, through to the

residencies, hospital staff, and state Boards of Medicine. Any alleged harm to

patients resulting from his repeatedly dishonest behavior are directly due to his

dishonest behavior.


Sincerely yours,


Laurence H. Beck, MD


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     Case:2:18-cv-05629-JDW
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Laurence H. Beck, MD




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                  Exhibit 2




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                                              October 14, 2019


Elisa P. McEnroe, Esq.
Morgan, Lewis & Bockius
1701 Market Street
Philadelphia, PA 19103-2921


Re: Russell et al. v. Educational Commission for Foreign Medical Graduates,
No. 2:18-cv-05629

Dear Ms. McEnroe,

I was asked to review the case of Russell et al. v. Educational Commission for
Foreign Medical Graduates (ECFMG) as an expert witness in hospital
administration, graduate medical education, organized medical staffs, and
credentialing. I was asked to opine on the processes that a foreign medical
graduate must go through after ECFMG certification when applying for graduate
education (residency and fellowship training) and, subsequent application for
membership and privileges at a U.S. hospital.

I am qualified to offer an evaluation of this case due to my extensive experience
and training in the subject areas. I have been a practicing surgeon in Southern
California since July 1982. From 1982 through 2007, I practiced General and
Vascular Surgery in private practice in Palm Springs, California with privileges at
Desert Regional Medical Center and Eisenhower Medical Center. During that time,
I was also the Medical Director and Managing General Partner of Desert Surgery
Center, a multispecialty ambulatory surgery center, from 1988 to 2004. I began
consulting in healthcare in 2002. From 2002 to 2007, I worked as a consultant for
The Greeley Company. In 2007, I decided to close my private practice and became
a Clinical Assistant Professor of Surgery at the University of California, Irvine
where I practice and teach residents and medical students one week a month. My
remaining time is spent in healthcare consulting. My major areas of interest in
consulting are organized medical staffs, quality, peer review, credentialing and




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privileging and automated data processing. I have attached my full CV as
Appendix A for further details in these areas.

My compensation for these endeavors is outlined on my fee schedule attached as
Appendix B.

The documents that I reviewed for these opinions are listed in Appendix C.

A list of all cases in which I testified as an expert at trial or by deposition over the
last 4 years is attached as Appendix D.

ECFMG provides a number of services relevant to a foreign medical graduate’s
(FMG’s) pathway into clinical practice in the United States, including primary-
source verification of foreign medical school diplomas. ECFMG certification is a
screening mechanism for ensuring that an FMG has met certain minimum criteria.

Once the FMG obtains his or her ECFMG certification, he or she will usually be
applying for a graduate medical position through the National Residency Match
Program (NRMP)/Accreditation Council for Graduate Medical Education (ACGME)
process if he/she wants to practice in the U.S. It is a requirement of those
programs that an FMG hold an EFCMG certificate to be able to enter the
residency process. However, the FMG applicant will also need to complete the
NRMP application, obtain interviews at an ACGME-approved institution with a
desired residency, and be rated by those institutions for a position match. The
NRMP application includes supporting documentation such as Medical Student
Performance Evaluation (MSPE), medical school transcript, Letters of Reference,
Photograph, USMLE (United States Medical Licensing Examination in 3 parts)
transcript and the ECFMG certificate.

During the interview process, the FMG goes through a series of interviews with
review of all information in the application (of which the ECFMG certificate is only
one item as noted above). These interviews are with multiple faculty typically and
are designed to elicit information about the applicant’s aspirations, program
desires such as research, and ultimate goals. At the same time, the applicant gets
to learn about the institution’s programs, objectives and residency culture. This
enables both sides to make rational rating decisions as most institutions will then
rate their applicants while the applicants rate the institutions. These are all



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submitted to NRMP, which applies its match algorithms to fill the residency
position.

If an FMG is accepted for a residency, he or she is subjected to the ongoing review
requirements set up by the ACGME. Each residency institution has to file an
annual progression report on each resident with milestone achievements
identified. Milestones are developed for each specialty but are based on the Six
Core General Competencies and then applied to each level of residency from
beginner to most advanced and ready to graduate out of residency. Thus, an
annual report for any given resident is a complex report on multiple performance
measurements that require judgment and explanation. In addition to these
reports by the faculty, most specialties have an annual examination (e.g. ABSITE
for surgery, IM-ITE for internal medicine) that is another check on the resident’s
progress.

All patient care delivered by residents is conducted under ongoing oversight by
the faculty which puts the faculty in a position to know the strengths and
weaknesses of the resident. Additionally, as an employee of the residency
program, each resident is subject to normal employee processes such as payroll,
taxes, visas if appropriate, healthcare programs and other conditions and
requirements of employment.

If the FMG successfully completes all years of the residency fulfilling all
requirements as determined both by ACGME and the institution’s faculty, he or
she may graduate the residency.1

Typically, at some point early in the residency, states like Maryland and Virginia
require that the resident obtain a state medical license of some variety. This is
another application process for which an FMG will need to supply a variety of
information, including but certainly not limited to his or her ECFMG certificate. In
addition, the state board typically requires information about education, clinical
training, disciplinary actions, criminal record, practice impairments and a
photograph among other data points. The state medical board or licensing agency

1
  At this point, the FMG may be ready to go out into practice or they may desire additional training through a
fellowship. The process for entering a fellowship program is similar to the residency process with an application,
interviews and match process. Once fellowship is completed in like manner, the FMG is ready to go out for practice
of medicine. Fellowship is not required for all FMGs.




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will consider the information, may or may not require interviews, and may or may
not require a separate examination before issuing a medical license. Since medical
licenses are state based, often times, applicants may need to obtain multiple
licenses as their training hospitals may cross state lines.

When specialty training is complete, an FMG clinical graduate will be eligible for
specialty board certification. The most recognized and accepted is the boards
under the umbrella of the American Board of Medical Specialties (ABMS). Each
specialty has its own application process but it tends to mirror similar types of
information collected by state medical boards. ECFMG certification status is just
one data point among many in such applications. This is evidenced in particular by
looking at the American Board of Obstetrics and Gynecology’s process in utilizing
many sources of data in reaching its decision to grant Board Certification status.

When the graduate resident or fellow is applying for hospital medical staff
membership and privileges, they will need to undergo an even more rigorous
credentialing process. One part of this credential program will be the checking of
the ECFMG certificate status. However, this is but one piece of information
checked. Licensure, training, board status, personal references, and any clinical
performance data available will also be evaluated. There may be in person
interviews as well. The applicant typically will need to provide evidence of
malpractice coverage and clinical coverage by other practitioners on staff. The
credentials are usually reviewed at multiple levels, starting with the specialty
service or department. They then may be reviewed by a Credentials committee as
well as a Medical Executive Committee (MEC) for final recommendations. These
recommendations are then transmitted by the MEC to the Board or Governing
Authority which makes the final decision.

Once the FMG is on staff at a hospital, his or her clinical competence is
immediately evaluated through a focused review process commonly known as
FPPE (Focused Professional Practice Evaluation). If the FMG practitioner is
successful here, they are then evaluated for clinical competence in an Ongoing
Profession Practice Evaluation (OPPE) that is carried out more than once a year,
typically every 6-8 months in most hospitals.

The FMG will need to renew his or her membership and privileges on regular
intervals. The FMG’s performance data, malpractice information and any other



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relevant data will be reviewed in a fashion similar to the initial application with
the final decision coming from the Governing Board.


Opinions

   1. While ACGME residency programs require ECFMG certification for an FMG
      to be eligible, ECFMG certification is by no means the only or even the
      significant information point regarding an FMG’s ability to practice
      medicine in the US.
   2. Residencies and Fellowships should, and typically do, look for information
      regarding an FMG’s background, character and aspirations, which requires
      gathering a large amount of data to see if he or she will be a fit for an
      institution’s particular specialty training program. Residencies and
      Fellowships gather this data from a variety of sources. The ECFMG
      certificate is just one data point for them to check.
   3. Hospitals should, and typically do, check the validity of training, quality of
      clinical care and goodness of character to see if the applicant matches the
      hospital’s goals and requirements of their physicians when the Hospital is
      granting initial membership and privileges. Hospitals get this information
      from a variety of sources. A current ECFMG certificate is but one piece of
      information available to them.
   4. Current clinical competence is a responsibility of the ACGME and
      institutional faculty during training and of the organized medical staff for
      hospital practice. Current clinical competence is determined based on an
      assessment of a wide array of information from a variety of sources. A
      current ECFMG certificate is only a single point of information in a large sea
      of performance data.
   5. An FMG working as a resident or with privileges at a hospital is subject to
      normal employee processes such as payroll, taxes, healthcare programs
      and other conditions and requirements of employment. In connection with
      those processes, residency programs and hospitals should, and typically do,
      gather a wide variety of information about the FMG from a variety of
      sources other than ECFMG.




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I reserve the right to add to or modify these opinions if I am given further
information to review.




         fr
Respectfully submitted,

Monn
Mark A. Smith, MD, MBA, FACS




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Appendix A


                                 CURRICULUM VITAE

Mark A. Smith, M.D., M.B.A., F.A.C.S., FACHE                    Licenses

                                                      PA MD- 025431-E (Inactive)
                                                            CA00G47011 (Active)
747 Camino Norte                                        Board Certification- Gen’l Surg,
                                                               Vascular Surgery
Palm Springs, CA 92262                                 American Board of Surgery- 1983
Home Telephone- (760) 320-3851                           Recertified- 1990, 2004

Cell Phone- (760) 275-8204
Email- Vascu@aol.com

                                                     Certification Vascular Surgery-
                                                    November 1984
                                                            Recertified- 2013

                                                           Fellow of the American College of
                                                     Surgeons- October, 1985- Present

Married- Bonnie Heinen Smith                            Special Certification in Laser Asst
Children- 2 Daughters (Lisa, Lindsay)                   Angioplasty – January 1988

                                                      Certified- American Board of
                                                      Quality Assurance and Utili-
                                                      Zation Review
                                                      Physicians- July 2005- Dec.2015

                                                            Certified- Fellow of the American
                                                            College of Healthcare Executive, January
                                                            2011

                                                            Certified- Graduate Gemologist (GG),
                                                            May, 2015

                                                            Certified Specialist in Wine (CSW),
                                                            August, 2017

                                                            Certified Professional Healthcare Qualit
                                                            Dec. 2017



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Education

       Haverford Senior High School                            9/66- 6/69 Diploma
       Havertown, PA

       University of Michigan                                  9/69- 8/72 B.S. Zoology
       Ann Arbor, Michigan

       Jefferson Medical College                               9/72- 6/76 M.D.
       Philadelphia, PA

       University of Phoenix                                   1/92- 3/94 M.B.A.
       Phoenix, AR


Training

       Internship
              University California San Diego Medical Center     7/76- 6/77 Surgery
              225 W. Dickinson Street
              San Diego, CA
              Marshall Orloff, M.D.




       Residency
              University of Kansas Medical Center               7/77- 6/81 General Surgery
              39th and Rainbow Blvd.
              Kansas City, KS
              William Jewell, M.D.

       Fellowship
              Hospital of the University of Pennsylvania          7/81- 12/81 Cardiothoracic
              34th and Spruce Streets                              Surgery
              Philadelphia, PA
              L. Henry Edmunds, M.D.

              Hospital of the University of Pennsylvania          1/82- 6/82 Vascular Surgery
              34th and Spruce Streets
              Philadelphia, PA
              Brooke Roberts, M.D.



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Employment

     Private Practice- Vascular and General Surgery       7/82- 3/2007
      Coachella Valley Surgical Associates
      1100 N. Palm Canyon Drive
      #208
      Palm Springs, CA 92262

     Medical Director and Managing General Partner         12/88- 8/2004
     Desert Surgery Center
     1190 N. Palm Canyon Drive
     Palm Springs, CA 92262

     Senior Consultant                                   3/2002- 12/2007
     Practice Director, Credentialing                     1/2008- 6/30/2009
     The Greeley Company
     200 Hoods Lane
     Marblehead, MA 01945



     Independent Healthcare Consultant                      7/1/2009- Present
     HG HealthCare Consultants, LLC.


     Assistant Professor of Surgery,                      9/2007- Present
     Division of Vascular Surgery
     UCI Medical Center
     333 City Blvd., Suite 1600
     Orange, CA 92868

     Chief Medical Officer                                   9/2011- 3/2014
     Verisys Corporation
     1001 N. Fairfax Street
     Suite 640
     Alexandria, VA 22314


     Chief Medical Consultant                                3/2012- 3/2015
     Morrisey Associates, Inc.
     222 South Riverside Plaza
     Suite 1850
     Chicago, IL 60606



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       VP & Chief Medical Officer                               3/2015- 12/2015
       Morrisey Associates, Inc./Morcare
       222 South Riverside Plaza
       Suite 1850
       Chicago, IL 60606

       VP & Chief Medical Officer                           1/2016- 1/31/2017
       Morcare LLC.
       222 South Riverside Plaza
       Suite 1850
       Chicago, IL 60606


      Senior Medical Consultant                              2/1/2017- 12/31/2017
      Morrisey Associates Inc., A Healthstream Company

       Chief Medical Officer                                1/1/2018- 2/1/2019
       Humanus Inc.


Hospital Appointments

       Desert Regional Medical Center                       Active Staff 7/82- 12/2007
       1150 N. Indian Canyon Drive                         Emeritus Staff 1/2008- Present
       Palm Springs, CA 92262

       Eisenhower Medical Center                             Active Staff 9/82- 12/2007
       39000 Bob Hope Drive
       Rancho Mirage, CA 92270

       UCI Medical Center                                  Provisional Staff 5/08- 8/09
       100 City Drive                                    Active Staff 8/09- Present
       Orange, CA 92868

Hospital Positions

       President Elect- DRMC                               July 1988- June 1990

       President- DRMC                                     July 1990- June 1992

       Past President- DRMC                                July 1992- June 1994




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      Chief of Surgery- DRMC                                    July 1993- June 1995

      Chairman, Peer Review Committee                             July 2004- Jan, 2007

      Medical Director, Cardiac Surgery DRMC                     August 2004- September, 2006

      Co-Surgeon Champion, NSQIP for University of                August 2010- 2012
      California Irvine Medical Center, Department of Surgery




Professional Memberships

      American College of Surgeons, Fellow

      American College of Physician Executives, Member

      American College of Healthcare Executives, Fellow

      Southern California Vascular Surgical Society, Member

      National Association of Healthcare Quality, Member

      Society of Vascular Surgery, Active Member

Other Memberships

      Airplane Owner and Pilot’s Association

      Experimental Aircraft Association

      American Philatelic Association, Life Member

      Palm Springs Air Museum

      Association Naval Aviators

      United States Tennis Association

      Defense Orientation Conference Association, Member since 1995




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Interests

       Art Collecting, Reading, Flying, Tennis, Stamp Collecting

       Gemology, Sailing, Vintage Cars



Past Associations, Positions

       Palm Springs Desert Museum, Member of Board of Directors 1993-95

       Desert Surgery Center, General Partner and Medical Director 1987- 2004

       Palm Springs Professional Building, General Partner 1988- 1998


Publications

Assessing the Competency of Low Volume Providers, Smith, MA and Pelletier, S, HCPro, 2009

Effective Peer Review, Marder, R and Smith, MA, HCPro, 2005

Effective Peer Review 2nd Edition, Marder, R, Smith, M. and Sheff, R., HCPro, 2007

Proctoring and Focused Professional Practice Evaluation. Marder, R., Smith, MA, and Sagin, T., HCPro, 2006

Proctoring and FPPE, Marder, R and Smith, MA, HCPro, 2009

Measuring Physician Competency, Marder, R, Smith M.A., Smith, M. and Searcy, V., HCPro, 2007

Core Privileges for Physicians, Crimp, W, Pelletier, S., Searcy, V. and Smith, M, HCPro, 2007

The Credentials Committee Manual, Smith, M.A., HCPro, 2016

Effective Peer Review 4th Edition, Marder, R, HCPro, 2017. Contributed chapter on approach to team
performance measurement

Optimal Resources for Surgical Quality and Safety, Editors Hoyt, D. and Ko, C., American College of Surgeons,
2017. Contributing Author.




                                                                                          JA2594
      Case:2:18-cv-05629-JDW
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Seminars

Multiple seminars delivered on various topics related to Medical Staff including effective Medical Staff
leadership, credentialing and privileging, peer review, surgical team summit, proctoring, physician performance
profiles

Redesign of peer review system at approximately 75 hospitals in last fifteen years.

Keynote Speaker for Morrisey Users Conference, August 2010, “Moving from Competence to Excellence …
Improving Patient Safety through Automation”

Faculty, American Association of Physician Leadership (previously American College of Physician Executives)
2011- Present

Member of Faculty Advisory Council, AAPL, August 2015- July, 2019

Faculty, Credentialing Resource Center, April 2017- present

Worked with ECRI on a number of evaluations and presentations under their Patient Safety Organization




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Appendix B Compensation

Legal Fee Schedule for Mark A. Smith, MD


Document Review and Letters: $500/hr
Deposition in my town- $600/hr
Traveling deposition or Trial Testimony- $6000/dy + travel expenses




                                                                        JA2596
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Appendix C- Documents reviewed for these opinions

  1 Reports and CVs of:
    a. Williamson, Jerry
    b. Markenson, David
    c. Burroughs, Jonathan
    d. Hyde, John

  2 Website of the Accreditation Council for Graduate Medical Education-
    www.acgme.org
  3 Website of the National Residency Matching Program (NRMP)-
    www.nrmp.org
  4 Website of the Medical Board of California- www.mbc.ca.gov
  5 Website of the American Board of Medical Specialties- www.abms.org
  6 Website of Educational Commission for Foreign Medical Graduates-
    www.ecfmg.org
  7 Records from the American Board of Obstetrics and Gynecology
    (ABOG_nonparty_000001-00082)




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Appendix D- Cases in Which Dr. Smith has testified or been deposed in the last
four years


Toranto v. Jaffurs et. al.- (Paul Plevin is the law firm that I worked with)-
Deposition in May, 2019

Rosenberg Fair Hearing Testimony- (Durham Jones and Pinegar is the law firm I
worked with)- February, 2019




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                  Exhibit 3




                                                                  JA2599
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                          Dr. David Markenson

 1             IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2                       CIVIL ACTION NO. 18-5629
 3

      MONIQUE RUSSELL, JASMINE                      :
 4    RIGGINS, ELSA M. POWELL,                      :
      and DESIRE EVANS,                             :
 5                                                  :
                             Plaintiffs,            :
 6                                                  :
                      vs.                           :
 7                                                  :
      EDUCATIONAL COMMISSION FOR                    :
 8    FOREIGN MEDICAL GRADUATES,                    :
                                                    :
 9                           Defendant.             :
10
11                           Deposition of DR. DAVID
12    MARKENSON taken in the above-entitled matter
13    before Suzanne J. Stotz, a Certified Realtime
14    Reporter, Registered Professional Reporter, and
15    Notary Public of the State of Colorado, taken
16    at the WESTIN DENVER AIRPORT, 8300 Pena
17    Boulevard, Denver, Colorado 80249, on
18    October 22, 2019, commencing at 10:14 a.m.
19
20
21
22
23
24

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 1    Plaintiff -- plaintiff, on that side.
 2            Q.         On behalf of the infant's family?
 3            A.         Yes.
 4            Q.         Were you -- you were a medical
 5    expert in that case?
 6            A.         Administrative and medical.
 7            Q.         When you say "administrative,"
 8    explain to me what you mean.
 9            A.         Hospital policies and procedures.
10            Q.         Did you provide expert testimony
11    regarding credentialing in that case?
12            A.         Let's see.        I'm trying to think if
13    we got into credentialing.                 I don't believe we
14    got into credentialing.
15            Q.         Did you give any testimony
16    regarding the Educational Commission for
17    Foreign Medical Graduates in that case?
18            A.         No, I did not.
19            Q.         In any of these cases we just
20    discussed, was there an issue regarding the
21    sufficiency of the credentialing by ECFMG?
22            A.         No, there was not.
23            Q.         You mentioned that you had some
24    cases that fell outside of the time frame
Golkow Litigation Services                                          JA2601
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 1    provided for by the Federal Rules for
 2    Disclosure with your expert report earlier
 3    today.
 4                       Do you remember that?
 5            A.         Yes.
 6            Q.         Do you remember any of those cases?
 7            A.         Only a few -- several of them were
 8    filed against me as a physician.
 9            Q.         Sort of run-of-the-mill malpractice
10    types --
11            A.         Correct.
12            Q.         -- of cases?
13                       In what specialty?
14            A.         Pediatric emergency and pediatric
15    critical care.
16            Q.         Did any concern your credentialing?
17            A.         I don't remember the specifics.                     I
18    was a named defendant, so there may have
19    been -- there may have been something about
20    credentialing against me.                 I don't know.           I
21    don't remember.           They were all dismissed.                 I
22    don't remember most of the details.
23            Q.         Are you certified by ECFMG?
24            A.         No, I'm not.
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 1            Q.         Other than the Jenny Butler and the
 2    Abid case listed here, have you ever served as
 3    an expert witness other than the case that
 4    brings us here today?
 5            A.         I believe so, yes.
 6            Q.         Do you recall in which cases?
 7            A.         Not off the top of my head, no.
 8            Q.         Do you recall, generally speaking,
 9    the subject matter on which you have served as
10    an expert?
11            A.         It's varied either administratively
12    as a physician or in my specialties of
13    pediatrics.
14            Q.         Can you estimate to me how many
15    times other than the two listed on this
16    disclosure you've served as an expert witness?
17            A.         I think two or three roughly.
18            Q.         Do you recall whether you've ever
19    previously served as an expert witness
20    regarding credentialing?
21            A.         I may have been asked.              I don't
22    remember.        It may have been part of -- it may
23    have been part of the sort of overall hospital
24    administration and policies.
Golkow Litigation Services                                          JA2603
                                                                       Page 18
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 1            Q.         Do you recall whether credentialing
 2    was ever a central element of your opinions
 3    other than in the case today?
 4            A.         In the administrative cases, it
 5    usually is part of it.               It's usually all the --
 6    it's one of the aspects.
 7            Q.         What are the other aspects in
 8    administrative as you've been talking about it?
 9            A.         Hospital policies and procedures,
10    transfer admission guidelines.
11            Q.         Say that last one again.
12            A.         Admission guidelines.
13            Q.         For a patient to be admitted to the
14    hospital?
15            A.         Correct.
16            Q.         When you served as an expert
17    witness regarding administrative types of
18    issues, was that always about hospital
19    administration?
20            A.         Yes, predominantly hospital
21    administration.
22            Q.         Anything other than hospital
23    administration?
24            A.         It may be associated healthcare,
Golkow Litigation Services                                          JA2604
                                                                       Page 19
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 1    communities.
 2            Q.         Do you still see patients?
 3            A.         I do.
 4            Q.         Where?
 5            A.         Right now I'm doing that as
 6    per-diem or part-time work.
 7            Q.         At a particular hospital?
 8            A.         It varies.        They're usually
 9    temporary assignments.
10            Q.         Generally in the Denver, Colorado,
11    area?
12            A.         It can be anywhere.
13            Q.         In what specialty?
14            A.         Either pediatric emergency or
15    pediatric critical care.
16            Q.         Are you trained as an
17    obstetrician/gynecologist?
18            A.         No, I am not.
19            Q.         So your typical patients are
20    pediatric patients; is that correct?
21            A.         Yes, they are.
22            Q.         In the course of your practice,
23    have you knowingly come across any patients
24    treated by Dr. Akoda?
Golkow Litigation Services                                          JA2605
                                                                       Page 24
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 1            A.         I have not.
 2            Q.         If I use the name Dr. Akoda, do you
 3    know to whom I am referring?
 4            A.         I am familiar with who he is.
 5            Q.         For ease today, I'm just going to
 6    use that one name; but I do intend it to be the
 7    individual that is the subject of the lawsuit
 8    that we're here for.
 9                       Do you understand that?
10            A.         Yes.
11            Q.         Okay.     Have you done any
12    examinations of any of the plaintiffs in this
13    lawsuit?
14            A.         No, I have not.
15            Q.         Have you met any of them?
16            A.         No, I have not.
17            Q.         Have you reviewed any of their
18    medical records?
19            A.         No, I have not.
20            Q.         Have you been able to evaluate
21    what, if any, harm has come to them by their
22    interactions Dr. Akoda?
23                       MR. VETTORI:         Objection.        That's
24            not the scope of his expert testimony.
Golkow Litigation Services                                          JA2606
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 1    BY MS. McENROE:
 2            Q.         You can answer the question anyway
 3    unless he tells you not to?
 4            A.         No, I have not.
 5                       (Whereupon, Exhibit No. 4, Report
 6            of David Samuel Markenson, MD, was marked
 7            for identification.)
 8                       MS. McENROE:         For the record, this
 9            is a very wide table.
10    BY MS. McENROE:
11            Q.         All right.        So I just handed what's
12    been marked as Exhibit 4.
13            A.         Uh-huh.
14            Q.         Have you seen this document before?
15            A.         Yes, I have.
16            Q.         What is it?
17            A.         This is the report I had submitted.
18            Q.         In this lawsuit, correct?
19            A.         Correct.
20            Q.         I'd like to direct your attention
21    to page 5 in Exhibit 4, so page 5 of your
22    report?
23            A.         Yes.
24            Q.         The very last paragraph there says,
Golkow Litigation Services                                          JA2607
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 1     "It is my opinion, to a reasonable degree of
 2     professional certainty, that these failures on
 3     the part of ECFMG to comply with the standard
 4     of care were the direct cause of Akoda being
 5     certified by ECFMG and which are the direct
 6     cause of the harms caused to the plaintiffs and
 7     the members of the class."
 8                       Do you see that?
 9             A.        Yes, I do.
10             Q.        On what basis are you saying that
11     you know what the direct cause of harms is, the
12     cause to the plaintiffs having never met them,
13     having never evaluated them, and not having
14     reviewed their medical records?
15             A.        Had ECFMG not certified Dr. Akoda,
16     he would have not been licensed as a physician,
17     admitted to a residency, or allowed to treat
18     the patient.          So no harm from him would have
19     come to them had ECFMG done their actions and
20     not certified him.
21             Q.        So you're not giving this opinion
22     here in this last paragraph on page 5 on the
23     basis of any specific knowledge of alleged
24     harms caused to the plaintiffs; you're just
Golkow Litigation Services                                           JA2608
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 1             Q.        And those reflected that he was
 2     licensed to practice medicine in Nigeria,
 3     correct?
 4             A.        Without -- I don't know if they
 5     were valid or not, but they do reflect that he
 6     did attest to an ECFMG certified that he had.
 7             Q.        So other than the course of events,
 8     if you will --
 9             A.        Uh-huh.
10             Q.        -- in this case, do you have any
11     knowledge or specific opinions about any
12     particular harms that you're making opinions
13     about for any of the plaintiffs in this case?
14                       MR. VETTORI:          Objection.
15                       You can answer.
16                       THE WITNESS:          Sure.      Just that he
17             was allowed to hold himself out as a
18             physician having not met legal
19             requirements.
20                       Obviously a patient who is going to
21             discover that someone who examined them,
22             you know, who was not who they said they
23             were is going to have an effect on that
24             patient.       It's tremendous invasion of
Golkow Litigation Services                                           JA2609
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 1             privacy.       It's a tremendous invasion of
 2             their person.
 3                       Anything that happened subsequent
 4             to that, in terms of all the medical care
 5             he rendered, would have never been allowed
 6             had the proper steps been done to not
 7             allow him to proceed.
 8     BY MS. McENROE:
 9             Q.        But do you know about any specific
10     harm caused to any specific plaintiff in this
11     case?
12             A.        I did not read -- as I've said, I
13     have not reviewed their medical records.                           All I
14     know is that they've come to be aware that they
15     were treated by someone who wasn't who he said
16     he was.       They were examined by someone who
17     wasn't who he said he was, and that by itself
18     to anyone is going to have significant effect.
19             Q.        Are you able to say I know that
20     this person suffered that harm?                    Are you able
21     to specifically say that about any of the
22     plaintiffs in this case?
23             A.        All I'm able to say is they would
24     have never been treated by him had ECFMG done
Golkow Litigation Services                                           JA2610
                                                                        Page 33
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 1     their due diligence, and I am sure that they
 2     themselves are having effects of being treated
 3     by someone who isn't who they say they were and
 4     isn't the physician he supposedly was.
 5             Q.        Other than your armchair
 6     perspective, on what basis do you say you're
 7     sure that that's what's happening?
 8                       MR. VETTORI:          Objection as to form.
 9                       THE WITNESS:          I am -- well, one had
10             ECFMG not certified him, he would never
11             would have been in contact with those
12             patients.        That's a binary
13             black-and-white.
14                       Number 2, they have now come to
15             know that someone who treated, examined
16             the, including invasive examinations was
17             not who they say they were.
18     BY MS. McENROE:
19             Q.        If the licensing boards had not
20     granted him medical licenses, do you believe he
21     would have treated these patients?
22             A.        I believe had -- if ECFMG had not
23     certified --
24             Q.        I'm sorry.         I'm going to move to
Golkow Litigation Services                                           JA2611
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 1     strike.
 2                       My question is specifically about
 3     the medical boards.
 4             A.        Uh-huh.
 5             Q.        So I understand you're going back
 6     to ECFMG, but I'm specifically asking --
 7             A.        Uh-huh.
 8             Q.        -- had the medical boards not
 9     licensed him to practice medicine, is it your
10     position that he would have laid hands on the
11     patients anyway?
12             A.        I did -- so again, I was
13     communicating what's required to get licensed;
14     but if you want to just look at once he had a
15     license, without a license, he would not have
16     been able to obtain medical privileges.
17             Q.        Do you think the medical licensing
18     authorities in this case did what they should
19     have done regarding Dr. Akoda?
20                       MR. VETTORI:          Objection.         It's
21             beyond the scope of his opinions.
22     BY MS. McENROE:
23             Q.        You may answer.
24             A.        The medical license boards as far
Golkow Litigation Services                                           JA2612
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 1     as I can tell -- I haven't seen their internal
 2     records -- but from the records provided to me,
 3     they issued him a license.
 4             Q.        Right.       Do you think they should
 5     have done that?
 6             A.        I would have to review all their
 7     internal records.            I do know that they based it
 8     on the documents submitted at USMLE ECFMG
 9     certification.
10             Q.        Do they only base it on USMLE ECFMG
11     certification when they license a medical
12     physician in their date?
13             A.        Again, I would have to review their
14     internal records and his application; but the
15     process for license -- when one applies for
16     licensure, it's based on either medical school
17     verification in the U.S., not in the U.S.
18     ECFMG, passing of your USMLEs under the current
19     situation -- before USMLE, there were other
20     exams -- and completion of at least, in most
21     states, one year of internship.
22             Q.        As part of a residency program
23     typically?
24             A.        Typically, yes.
Golkow Litigation Services                                           JA2613
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 1             Q.        And he was accepted to a residency
 2     program that he then later completed at Howard
 3     University Hospital, correct?
 4             A.        Correct.
 5             Q.        Do you think without getting
 6     admitted to Howard University Hospital's
 7     residency program, he would have treated these
 8     patients?
 9                       MR. VETTORI:          Objection.
10                       You can answer.
11                       THE WITNESS:          It's purely
12             speculative.         He would have had to have
13             done one year of training somewhere to
14             obtain licensure.
15     BY MS. McENROE:
16             Q.        And is it your understanding that
17     the year of training he did to obtain licensure
18     in this case took place at Howard University
19     Hospital?
20             A.        That is my understanding, yes.
21             Q.        Have you done any analysis of what
22     was submitted to Howard University Hospital for
23     him to be admitted to a residency program
24     there?
Golkow Litigation Services                                           JA2614
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 1             A.        I have not.          I have no part of
 2     those records.
 3             Q.        Have you ever played a role in
 4     hiring any medical school graduates into
 5     residency programs?
 6             A.        Yes.
 7             Q.        At what residency programs?
 8             A.        I served as what's known as the DIO
 9     or designated institutional official for
10     multiple hospitals while I was VP of GME for
11     Hospital Corporation of America.
12             Q.        Where was that located?
13             A.        There were several -- a multitude
14     of hospitals.
15             Q.        You can take a minute to explain
16     just briefly so I understand.
17             A.        Yes.      I served for what was known
18     as HealthONE, which were hospitals in the
19     greater Denver area; for -- what was the
20     hospital called -- a hospital in Kansas City.
21     I'm totally blanking.
22             Q.        Your C.V. is there in case it's
23     helpful for you.
24             A.        Yeah.      I'm trying to remember the
Golkow Litigation Services                                           JA2615
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 1     name of the one.            So it was Research Medical
 2     Center in Kansas City which oversaw the --
 3     included the hospitals in the Kansas City area
 4     that were owned by HCA, Ogden Regional Medical
 5     Center which included the Salt Lake City
 6     hospitals owned by HCA and Eastern Idaho
 7     Regional Medical Center.
 8             Q.        Were the residency programs
 9     involved in those medical centers only about
10     pediatric emergency or critical care?
11             A.        No, they were not.
12             Q.        All right.         So it was a broader
13     range of residency programs?
14             A.        Yes, it was.
15             Q.        Was it the full range of residency
16     programs available at those hospitals?
17             A.        I'm not sure what you mean.
18             Q.        Yeah.      So I'm not trying to ask you
19     a trick question in any sense.                   I'm just trying
20     to understand in your role as DIO for these
21     organizations that we were just referring to,
22     were you overseeing the admission to the
23     residency programs for all the residency
24     programs that those facilities offered at any
Golkow Litigation Services                                           JA2616
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 1     given time?
 2             A.        I was involved -- the decision is
 3     the program director's, but I oversee the
 4     processes, procedures, and the program
 5     directors.
 6             Q.        Have you ever served as the program
 7     direct for any residency programs?
 8             A.        No, I have not.
 9             Q.        Have you ever interviewed anybody
10     applying to a residency program?
11             A.        Yes, I have.
12             Q.        Approximately how many times?
13     Hundreds?        Five?      You know, somewhere --
14             A.        Probably not hundreds, but close to
15     it.
16             Q.        Okay.      So a large number of times?
17             A.        Yes.
18             Q.        In your experience -- in your
19     various roles, was an interview always involved
20     before a resident would get offered a residency
21     program as far as you're aware?
22             A.        In most cases, the last step after
23     all the screening that is done, you know,
24     verification of board scores, eligibility for
Golkow Litigation Services                                           JA2617
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 1     residency, all the steps, most residencies do
 2     use as interview as the last step in the
 3     process.
 4             Q.        Were you ever involved in residency
 5     programs that did not interview their residents
 6     before they admitted them?
 7             A.        I think there may have been cases.
 8     There's something called a scramble, you know,
 9     fill your spots.            Some --
10             Q.        So after the Match, if there's not,
11     if there are extra spots left, you get --
12             A.        Sometimes a resident may get in
13     without a formal interview.
14             Q.        But would there usually been an
15     informal interview or a conversation before
16     that would happen?
17             A.        Usually.
18             Q.        Is that in the vast majority or
19     vast minority of cases?
20             A.        That's minority.
21             Q.        You referred to the interview
22     typically being the last step, in your
23     experience, for residency program admission.
24     And you mentioned some other screening.
Golkow Litigation Services                                           JA2618
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 1                       What else, in your experience, is
 2     involved in the offering of a residency
 3     position to a resident?
 4             A.        The initial screening is done to
 5     make sure that the person is eligible for
 6     residency.        So presence of medical school
 7     graduation, confirmation, or ECFMG
 8     certification.
 9                       So it's sort of that's the first
10     step.      If they don't graduate medical school or
11     they don't have an ECFMG certification, the
12     process would stop.
13             Q.        Okay.
14             A.        Following that process, one that
15     has letters of reference, Dean's
16     recommendation, board scores; and there's
17     usually a cutoff to determine of those who then
18     obtain an interview.
19             Q.        When you say "of those," you mean
20     cutoff of the board scores?
21             A.        Board scores, letters of reference,
22     recommendations.
23             Q.        Any other information collected or
24     reviewed in connection with residency program
Golkow Litigation Services                                           JA2619
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 1     applications that you recall, you know, sitting
 2     here today?
 3             A.        Usually not, no.
 4             Q.        Is there usually an application
 5     form, like, they actually fill out like a job
 6     application?
 7             A.        They don't anymore.              It's all done
 8     through the electronic system called ERAS.
 9             Q.        Okay.      Previously, do you know
10     whether there had been applications to
11     residency programs in, say, the 2011 time
12     frame?
13             A.        There would have not been.                  They
14     would have all been ERAS.
15             Q.        Even then?
16             A.        Yes.
17             Q.        In your experience, do residents
18     get paid?
19             A.        Yes, they do.
20             Q.        Do they get paid through any
21     sources of funding in particular?
22             A.        The hospital pays them.
23             Q.        Does the hospital typically
24     withhold taxes?
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 1     certification.
 2             Q.        Okay.      You said for a U.S. grad, it
 3     was possible to do additional confirmations or
 4     checks of their medical school graduation.
 5             A.        Well, just other checks.                 We
 6     could -- if you were deciding between two
 7     applicants, the last stage of an interview
 8     process, you might be able to call up there
 9     Dean and get a personal feedback or a clerkship
10     director.        So at the final stage, we had that
11     ability.
12             Q.        And you couldn't do that for
13     foreign educated doctors?
14             A.        It was not feasible or possible.
15             Q.        Why not?
16             A.        Just we didn't have the access or
17     the registries of who the schools were, or who
18     the clerkship directors were.
19                       Again, that was a last process if
20     you were deciding between one or two.                       You had
21     that additional nuance you could use.
22             Q.        Would you expect a U.S. medical
23     school to be the source of social security
24     numbers for applicants to residency programs?
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 1             A.        Traditionally, I don't -- as a
 2     program director, we weren't -- I would not
 3     have been involved in social security.                        That
 4     would have been HR department.
 5             Q.        But you would not have relied on
 6     the medical schools in United States to do some
 7     sort of identity verification or check that a
 8     social security number was valid?
 9             A.        I don't believe they would
10     traditionally do that because they weren't
11     employing individuals.
12             Q.        And what about ECFMG doing that?
13             A.        I don't -- I believe ECFMG -- my
14     understanding was, as a program director, my
15     role here is ECFMG verifies identity and
16     medical school graduation, the link between the
17     two.
18             Q.        What do you mean by "identity"?
19             A.        That the person who was holding
20     themselves out as Individual A who graduated
21     medical school and provides a medical school
22     documentation is Individual A who does have
23     that medical school diploma.
24             Q.        How do you expect that they do
Golkow Litigation Services                                           JA2622
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 1     that?
 2             A.        They would -- again, any -- they
 3     would verify with the medical school that the
 4     individual who was presenting themselves with
 5     the application was the one who was issued the
 6     diploma; and that would be through, obviously,
 7     the names matching completely.
 8                       And I know that ECFMG also uses
 9     photographic identification too.
10             Q.        What's your understanding about how
11     photographic identification is used here?
12             A.        I believe, as I've seen, is that
13     it's on the application; and it's submitted
14     back to the medical school with the
15     verification.
16             Q.        Do you have any -- strike that.
17                       Prior to being involved in this
18     lawsuit, had you ever seen an ECFMG
19     application?
20             A.        I had not.
21             Q.        Did you have any expectation prior
22     to being involved in this case about
23     photographic identification regarding ECFMG
24     certification?
Golkow Litigation Services                                           JA2623
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 1             A.        I had an expectation that it was
 2     identity verification.               I didn't know the
 3     mechanism used.
 4             Q.        On what basis did you have an
 5     expectation there was identity verification?
 6             A.        ECFMG was held out to us based on
 7     materials we had seen from them and just from
 8     knowledge in the community that they were
 9     responsible for and attesting to that the
10     individual who's applying to me, John Smith
11     I'll say, is, in fact, the John Smith who was
12     issued a medical school diploma from the
13     medical school in question.
14             Q.        So is it your expectation that
15     ECFMG would be certifying that the person who
16     would physically show up at your hospital was
17     the person who graduated from that medical
18     school?
19             A.        The person identified on their
20     certification.
21             Q.        Right.
22             A.        The person to which the
23     certification was issued was one and the same
24     with the person who had graduated the medical
Golkow Litigation Services                                           JA2624
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 1     school.
 2             Q.        And you understood that was
 3     completed through primary source verification
 4     of the diploma?
 5             A.        Correct.
 6             Q.        And now you have the expectation
 7     that it also had to do with the photograph?
 8             A.        I knew that their -- I didn't know
 9     the specific mechanism that they did, but now I
10     know that it was through photographic.
11             Q.        And you say that just based on
12     having seen applications in this case?
13             A.        Correct.
14             Q.        When hiring residents or
15     interviewing residents, have you come across
16     applicants who had failed components of the
17     USMLE?
18             A.        Yes.
19             Q.        And was it your expectation that
20     those individuals would have a higher or a
21     lower likelihood of being admitted into a
22     residency program?
23             A.        Someone who has failed would have a
24     lower likelihood than someone who had passed.
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 1             Q.        When hiring residents, do you have
 2     an expectation or recollection of how
 3     successful you would expect a foreign educated
 4     physician to be in applying for a residency
 5     program if they had multiple failures on a
 6     step?
 7             A.        There's no generic answer because
 8     different residencies will have different
 9     standards.
10             Q.        Do you have an understanding of
11     whether having failed one or more steps
12     multiple times could make applying for a
13     residency program more challenging for an
14     applicant?
15             A.        Failing would make you less
16     attractive than someone who passed to a
17     residency program.
18             Q.        Are there enough residency program
19     slots for the applicants applying each year in
20     your experience?
21             A.        It depends on the specialty.
22             Q.        Are there some specialties for
23     which there would be more applicants than slots
24     in any given year?
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 1     this morning, you are not ECFMG certified,
 2     correct?
 3             A.        Correct.
 4             Q.        And you are a medical physician in
 5     the United States?
 6             A.        Correct.
 7             Q.        You attended medical school in the
 8     United States?
 9             A.        Correct.
10             Q.        You are not currently an employee
11     of ECFMG, correct?
12             A.        Correct.
13             Q.        And have you ever been employed by
14     ECFMG?
15             A.        No, I have not.
16             Q.        Are you currently on the Board of
17     Trustees of ECFMG?
18             A.        No, I am not.
19             Q.        Have you ever been on the Board of
20     Trustees of ECFMG?
21             A.        No, I have not.
22             Q.        You've never sat on the Medical
23     Education Credentials Committee of the Board of
24     Trustees of ECFMG, correct?
Golkow Litigation Services                                           JA2627
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 1             A.        No, I have not.
 2             Q.        Have you ever had direct personal
 3     contact with that committee?
 4             A.        I have not.
 5             Q.        Prior to this case, did you know
 6     that committee existed?
 7             A.        I believe I've seen it in some of
 8     the materials.
 9             Q.        You mean some of ECFMG's materials?
10             A.        Correct.
11             Q.        Do you recall the circumstances in
12     which you saw that?
13             A.        I think it was just in learning
14     about it in some of them.
15             Q.        Prior to this case, had you ever
16     been personally involved in or aware of a case
17     or an allegation of irregular behavior by
18     ECFMG?
19             A.        By ECFMG?         No.
20             Q.        Have you ever been familiar with
21     the term of "irregular behavior" prior to this
22     case otherwise?
23             A.        Yes.
24             Q.        In what setting?
Golkow Litigation Services                                           JA2628
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 1             A.        I have heard it be used in USMLE
 2     setting.
 3             Q.        Have you ever been personally aware
 4     of an allegation of irregular behavior in the
 5     USMLE setting?
 6             A.        Just heard about the process.
 7             Q.        You personally have not been
 8     involved in any irregular behavior proceedings?
 9             A.        I have not.
10             Q.        As a witness or otherwise?
11             A.        No, I have not.
12             Q.        Have you ever sat on any committees
13     or boards for the USMLE?
14             A.        I have not.
15             Q.        Have you ever been employed by
16     USMLE?
17             A.        I have not.
18             Q.        When you were coming through and
19     becoming medical licensed, was the USMLE in
20     existence?
21             A.        Yes, it was.
22             Q.        Okay.      And you took the USMLE steps
23     that existed at that time?
24             A.        Yes, I did.
Golkow Litigation Services                                           JA2629
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 1             Q.        Was that Step 1, Step 2, and
 2     Step 3?
 3             A.        Yes.
 4             Q.        And Steps 1 and 2 were prior to
 5     residency.        And did you take Step 3 during your
 6     residency?
 7             A.        Yes, I did.
 8             Q.        Aside from having read about the
 9     Medical Education Credentialing Committee and
10     passing from some ECFMG materials, do you have
11     any other basis to have familiarity with the
12     work or business of the Medical Education
13     Credentials Committee?
14             A.        Not prior to this case.
15             Q.        Do you know anyone who sits on the
16     Medical Education Credentialing Committee?
17             A.        I do not believe so.
18             Q.        Have you spoken with, that you know
19     of, that sits on the Medical Education
20     Credentials Committee?
21             A.        No.
22             Q.        Do you know anybody on the board of
23     ECFMG?
24             A.        I do not.
Golkow Litigation Services                                           JA2630
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 1             Q.        Do you know the composition of the
 2     board of ECFMG?
 3             A.        I do not know the composition.
 4             Q.        Do you know whether they're medical
 5     professionals or otherwise?
 6             A.        I believe they are, yes.
 7             Q.        You believe there are some doctors
 8     on?
 9             A.        Yes.
10             Q.        Do you have any basis for that
11     knowledge, or that's just your expectation?
12             A.        I believe there's representatives
13     of different associations, so I presume that
14     there were physicians on it.
15             Q.        How do you have that understanding?
16             A.        Just from general knowledge,
17     nothing specific.
18             Q.        You've never appeared before the
19     Medical Education Credentialing Committee; is
20     that correct?
21             A.        Correct.
22             Q.        Have you ever been involved, that
23     you know of, in a request for an exception to
24     the Medical Education Credentials Committee.
Golkow Litigation Services                                           JA2631
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 1     If I can give you an example of what I mean:
 2     Has someone ever come to you or been a resident
 3     for you all where they, for example, were from
 4     a war-torn country, couldn't get access to
 5     their medical school so had letters of
 6     attestation prepared by others in the United
 7     States?
 8             A.        No.
 9             Q.        Not that you know of?
10             A.        Not that I know of.
11             Q.        Okay.      Are you familiar with the
12     concept or have you ever heard of the
13     seven-year rule?
14             A.        I'm not sure what you're referring
15     to.
16             Q.        Okay.      So do you have any
17     understanding of whether there is a time
18     limitation within which certain steps need to
19     be passed in order for examination scores to
20     remain valid?
21             A.        I do.      There were not when I was
22     involved.
23             Q.        Okay.      So you've never been
24     involved in a request for an exception to that
Golkow Litigation Services                                           JA2632
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 1     you're surmising as opposed to some knowledge
 2     or specialized experience you have with the
 3     Medical Education Credentials Committee; is
 4     that correct?
 5             A.        Correct.        It's based on the facts
 6     that are in the file.
 7             Q.        The way you read the facts in the
 8     file?
 9             A.        I believe it's pretty
10     straightforward that he admitted identity
11     fraud.
12             Q.        Well, he admitted to using his
13     cousin's social security number, but he denied
14     being that individual, correct?
15             A.        Correct.        But he held himself out
16     as the holder of that identity or social
17     security identity.
18             Q.        Do you know what, if for any
19     purpose, ECFMG uses social security numbers?
20             A.        I do not know.
21             Q.        Do you know if foreign medical
22     graduates need to have a social security number
23     to apply to ECFMG?
24             A.        I do not.
Golkow Litigation Services                                           JA2633
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 1             Q.        Do you know what resources, if any,
 2     were available to ECFMG for verifying a social
 3     security number at that time?
 4             A.        I do not know.
 5             Q.        Do you know how the Medical
 6     Education Credentials Committee deliberates
 7     over allegations of irregular behavior?
 8             A.        My knowledge is based on the files
 9     provided by ECFMG; and as far as I can see, at
10     the time of this event, there were no policies
11     and procedures or at least provided how they
12     deliberate.
13             Q.        When you say "provided," you mean
14     provided to you?
15             A.        Yes.
16             Q.        Did you ask for them?
17             A.        I believe the policies and
18     procedures were asked for.                 I believe there was
19     one provided on irregular behavior; but that
20     wasn't, as far as from the records, that was
21     not in effect at the time of this incident.
22             Q.        From your own professional
23     experience, do you have firsthand knowledge of
24     whether and what policies and procedures ECFMG
Golkow Litigation Services                                           JA2634
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 1     had in time -- at the relevant time in place?
 2             A.        I do not have any individual
 3     knowledge.        I, as a physician, rely upon ECFMG
 4     would have presume that they would have had
 5     adequate policies and procedures to follow, to
 6     process, verify, and adjudicate issues; but I
 7     don't know those specific policies.                      What -- I
 8     have not seen any that were in effect at that
 9     time.
10             Q.        But from your own professional
11     experience, you don't know one way or the other
12     whether ECFMG had policies in place at the
13     relevant time; is that correct?
14             A.        I believe from the depositions and
15     testimonies that were provided, there is claim
16     that they were not; but the policy was created
17     later.
18             Q.        I'm just trying to get an
19     understanding of your only personal knowledge
20     separate from this case.
21                       Do you have any knowledge one way
22     or the other?
23             A.        I do not have any knowledge
24     separate from this case.
Golkow Litigation Services                                           JA2635
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 1             Q.        Do you know about USMLE's policies
 2     and procedures on irregular behavior?
 3             A.        I do not.
 4             Q.        Okay.      Do you know whether at the
 5     time they had policies on irregular behavior?
 6             A.        I have not reviewed any.
 7             Q.        But you don't know one way or the
 8     other?
 9             A.        I do not.
10             Q.        Do you have an understanding of
11     whether contemporaneously ECFMG staff evaluated
12     whether there was sufficient information to
13     bring an allegation of irregular behavior
14     against Dr. Akoda to the Medical Education
15     Credentials Committee?
16             A.        I'm sorry.         I'm losing you a little
17     bit in that question.
18             Q.        Sure.      Do you know if whether in
19     real time --
20             A.        Uh-huh.
21             Q.        -- ECFMG staff evaluated whether or
22     not in their experience and their view there
23     was sufficient information to bring an
24     allegation of irregular behavior against
Golkow Litigation Services                                           JA2636
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 1             Q.        -- they had the real number?
 2             A.        Unfortunately, I think some
 3     individuals were less than reputable, figured
 4     that out, and went in and literally stamped --
 5     these were the days that you still stamped and
 6     signed prescriptions.
 7             Q.        Before electronic?
 8             A.        Yes.
 9             Q.        Yeah.      Do you have an understanding
10     of the whether Dr. Akoda perpetrated a fraud of
11     any sort?
12             A.        Yes.
13             Q.        Okay.      On whom do you believe
14     Dr. Akoda perpetrated a fraud?
15             A.        Well, Dr. Akoda as we've previously
16     talked about said he used someone else's social
17     security number at, I believe, it was Jersey
18     Shore Hospital.           So he used someone else other
19     than that.
20                       And in these files, we've come to
21     see that multiple times he applied to ECFMG and
22     held out that he had never applied before.
23             Q.        You would agree that he perpetrated
24     a fraud on ECFMG?
Golkow Litigation Services                                           JA2637
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 1             A.        I believe, yeah, he submitted -- I
 2     believe he submitted an application that had
 3     incorrect information on it.
 4             Q.        Would you agree that he perpetrated
 5     a fraud on the Maryland licensing authority?
 6             A.        I'm not familiar with the
 7     application whatever he submitted to them, so I
 8     wouldn't be --
 9             Q.        Do you believe Dr. Akoda
10     perpetrated a fraud on the patients he treated?
11             A.        I believe he did, yes.
12             Q.        Do you believe that Dr. Akoda
13     perpetrated a fraud at the hospital system at
14     which he practiced?
15             A.        Again, I was not privy to their
16     credentialing files or processes.
17             Q.        Who first contacted you in
18     connection with this lawsuit?
19             A.        I'm trying to remember.                I believe
20     it was a referral expert institute or if I
21     remember now.
22             Q.        It may have been through a
23     consulting company?
24             A.        It may have been, yes.
Golkow Litigation Services                                           JA2638
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 1             Q.        And what consulting companies do
 2     you work with?
 3             A.        There are a couple, two or three,
 4     that list your name; and I believe I'm on
 5     several of them.
 6             Q.        Okay.      Do you know which ones
 7     you're on?
 8             A.        I think it's like a -- is it
 9     Rooters or Randolph's?
10             Q.        All right.         But do you recall who
11     represents plaintiffs?               Who first contacted you
12     the first time you were in contact with
13     plaintiffs' counsel in this case?
14             A.        I believe it was -- the way it
15     worked is this referral agency that lists my
16     name said there was a case would I be
17     interested, and then we had a phone call with
18     plaintiffs' attorneys to discuss the case.
19             Q.        Was anyone else on the call with
20     you and plaintiffs' counsel?
21             A.        I believe it was just us and the
22     plaintiffs' counsel.
23             Q.        Do you recall who you spoke to at
24     plaintiffs' counsel?
Golkow Litigation Services                                           JA2639
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 1             A.        Uh-huh.
 2             Q.        If there's anything else that we've
 3     not yet discussed today that you considered in
 4     rendering your opinions in this case?
 5             A.        Just I've just reviewed the
 6     materials that were sent by plaintiffs'
 7     counsel.
 8             Q.        Okay.      Did you ask for anything
 9     additional that you did not receive?
10             A.        The only thing I asked for was were
11     there policies and procedures that ECFMG used
12     at the time of this event.
13             Q.        And did you get any in response?
14             A.        We have not gotten any.
15             Q.        Have you ever read an ECFMG
16     information booklet?
17             A.        Yes.
18             Q.        Do you know what that is?
19             A.        Yes.
20             Q.        Can you describe what that
21     information booklet is?
22             A.        I believe -- what I -- what I've
23     read is from the website.                 There's a booklet
24     that the ECFMG puts out that provides
Golkow Litigation Services                                           JA2640
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 1     information.          I believe the target audience is
 2     applicants, but I think it's also used by
 3     residencies and hospitals and others.
 4             Q.        And you said you looked at it on
 5     the website.
 6                       So was that the most recent version
 7     you were looking at?
 8             A.        Yes.
 9             Q.        Have you looked at any historic
10     information booklet?
11             A.        I have not.
12             Q.        Have you asked whether there was an
13     information booklet that controlled for the
14     relevant time period in this case?
15             A.        I had not.
16             Q.        Are you --
17             A.        I had asked for just policies and
18     procedures that they followed at the time.
19             Q.        So you received of the Bates
20     stamped ECFMG documents ECFMG '10 through '706,
21     correct?
22             A.        That's what it says, yes.
23             Q.        Are you aware that the production
24     ECFMG made that included those numbers also
Golkow Litigation Services                                           JA2641
                                                                       Page 125
  Case:2:18-cv-05629-JDW
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 1     went all the way up to '3084?
 2             A.        I have not.
 3             Q.        And included historic information
 4     booklets containing policies and procedures
 5     from 1992 through 2012?
 6             A.        I'm not aware of that.
 7             Q.        Okay.      And you didn't see those or
 8     review those?
 9             A.        No.     I specifically asked for
10     policies and procedures at the time.
11             Q.        Is there a reason why you're
12     drawing a distinction between an information
13     booklet and policies and procedures?                       You don't
14     think policies and procedures could be
15     reflected in an information booklet?
16                       MR. VETTORI:          Objection as to form.
17                       Go ahead.
18                       THE WITNESS:          In general an
19             information booklet is a summary or a
20             promotional document and not necessarily
21             what staff or others would follow in an
22             organization to handle affairs.
23                       It would be similar to hospital.
24             We put out brochures about our hospital,
Golkow Litigation Services                                           JA2642
                                                                       Page 126
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 1             but I run the hospital by our policies and
 2             procedures.
 3     BY MS. McENROE:
 4             Q.        Do you know whether ECFMG used
 5     irregular behavior policy and procedures as
 6     contained within the information booklet so
 7     that the applicants have the entire policy
 8     since it's important?
 9             A.        All I know is what I saw in the, I
10     believe it was the deposition of, I believe it
11     was Mr. Kelly, who had said that at the time
12     that they didn't have one, and they created one
13     after this which is the current policies and
14     procedures.
15             Q.        We're going to take a quick break
16     to change the tape.
17             A.        Okay.
18                       THE VIDEOGRAPHER:             The time is
19             12:52 p.m., and we are going off the
20             record -- 12:15 p.m.              We're going off the
21             record.
22                       (Whereupon, a lunch break was
23             taken.)
24                       THE VIDEOGRAPHER:             The time the
Golkow Litigation Services                                           JA2643
                                                                       Page 127
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 1             12:50 p.m., and we are back on the record.
 2     BY MS. McENROE:
 3             Q.        Good afternoon, Dr. Markenson.                   You
 4     understand you're still under oath?
 5             A.        Yes.
 6             Q.        Did you review any documents
 7     produced by Howard University.
 8             A.        I did not.
 9             Q.        Okay.      Do you have any
10     understanding of whether or not those documents
11     were produced, that there were any Howard
12     University documents produced in this case?
13             A.        I do not.
14             Q.        Do you have any understanding of
15     what Howard University required from applicants
16     through their residency programs?
17             A.        I do not.
18             Q.        Do you know what Dr. Akoda provided
19     to Howard University in applying to their
20     residency programs?
21             A.        I do not.
22             Q.        Do you know under what name
23     Dr. Akoda applied to the Howard University
24     residency program?
Golkow Litigation Services                                           JA2644
                                                                       Page 128
  Case:2:18-cv-05629-JDW
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 1             A.        I do not know the specific name he
 2     put on the application.
 3             Q.        Do you know whether that name
 4     matched the ECFMG certificate?
 5             A.        I do not.
 6             Q.        Have you seen any documents
 7     produced in this case from the American Board
 8     of Obstetrics and Gynecology?
 9             A.        I have not.
10             Q.        Do you know whether or not
11     Dr. Akoda became certified in OB/GYN?
12             A.        I don't believe -- I don't remember
13     if there was anything I saw in the records that
14     said if he did or did not.
15             Q.        Would you be surprised to learn
16     that he did?
17             A.        Neither surprised or not.
18             Q.        Did you review any documents
19     produced in this case from Jersey Shore Medical
20     Center?
21             A.        Nothing produced -- the only
22     documents I saw were in the ECFMG file, a
23     letter from them to ECFMG.
24             Q.        So you haven't seen any documents
Golkow Litigation Services                                           JA2645
                                                                       Page 129
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 1     produced directly from Jersey Shore Medical
 2     Center?
 3             A.        No.
 4             Q.        Unless they were duplicates?
 5             A.        Yes.
 6             Q.        Do you know whether Jersey Shore
 7     Medical Center notified Maryland regarding
 8     their dismissal of Dr. Akoda from their
 9     residency program?
10             A.        I do not.
11             Q.        Do you know whether there are
12     certain moral or ethical standards for medical
13     licensing boards?
14             A.        I can speak to the states that I've
15     been a licensed in.
16             Q.        Sure.
17             A.        That they usually have is one of
18     the requirements that you can lose your license
19     and be reprimanded nonmoral or nonethical
20     behavior.        Sort of a catch-all phrase.
21             Q.        Moral torpitude types of things?
22             A.        Yeah.      They usually have some
23     catch-all.
24             Q.        So we discussed earlier this
Golkow Litigation Services                                           JA2646
                                                                       Page 130
  Case:2:18-cv-05629-JDW
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 1     relevant to your opinions in this case?
 2             A.        I did not form an opinion about the
 3     medical licensing of him other than -- I'm
 4     sorry.
 5                       I have -- I've not seen this
 6     letter, so it wasn't part of my opinion.
 7             Q.        Okay.      Is it relevant to the
 8     opinions you provided?
 9             A.        To me, it's just further evidence
10     of his irregular behavior.
11             Q.        Right.       Or his fraud, right,
12     because he also was then defrauding Maryland
13     based on the information in this letter at
14     least?
15             A.        Based on this letter, they're
16     saying, yes, that he submitted an incorrect
17     one.
18             Q.        And Maryland knew that before they
19     issued him a medical license.
20                       Do you see that as well?
21             A.        I don't know if Maryland knew or
22     didn't know or who did.
23             Q.        Would you expect that Maryland
24     would have issued him a medical license if
Golkow Litigation Services                                           JA2647
                                                                       Page 138
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 1     Maryland had known that he had, Dr. Akoda, had
 2     submitted a social security number that was not
 3     his own to Maryland?
 4             A.        I can't speak to what Maryland
 5     would do with their processes or their rules.
 6             Q.        But you can speak to ECFMG's
 7     processes and rules?
 8             A.        I can speak to what I know about
 9     ECFMG and their failure to, you know, revoke a
10     certification when this came to light about --
11     based on irregular behavior.
12                       The processes that a licensing
13     board may take or not take, I would have to
14     review to know.
15             Q.        Okay.      So you would need more
16     complete information on what Maryland did
17     before you could form your opinions; is that
18     what you are saying?
19             A.        Well, I would need to know what
20     their process was; did they investigate, what
21     they did or did not do.
22             Q.        So what do you know about ECFMG
23     processes?        So how are you proffering opinions
24     on ECFMG when you're saying you can't on
Golkow Litigation Services                                           JA2648
                                                                       Page 139
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 1     Maryland?
 2             A.        For what I've seen in the files
 3     that ECFMG is has provided.
 4             Q.        Well, that counsel has chosen to
 5     provide to you, right?               That's only a subset of
 6     the materials that ECFMG has provided.
 7             A.        Well, I also have the depositions
 8     of Mr. Kelly and -- hopefully I don't
 9     mispronounce it -- Corda [sic] I believe --
10                       MR. VETTORI:          Corrado.
11                       THE WITNESS:          -- about the
12             processes that they follow.
13     BY MS. McENROE:
14             Q.        Did you get the deposition
15     transcript of Mr. Stephen Seeling?
16             A.        Yes.
17             Q.        Did you review that deposition
18     transcript?
19             A.        Yes.
20             Q.        Where is that listed on the
21     materials that I've been provided?                      Why did you
22     not mention that previously?
23             A.        Well, what I mentioned to you is I
24     said I would have to review all the letters to
Golkow Litigation Services                                           JA2649
                                                                       Page 140
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 1     know every document I reviewed.
 2             Q.        Do you understand that there's a
 3     federal requirement in submitting your expert
 4     report to include a list of your materials
 5     considered?
 6             A.        I believe -- if there is such a
 7     rule, yeah, I believe we've talked about the
 8     rules, yes.         I think I would have listed on my
 9     report all the things that I did.
10             Q.        Did you list on your report all the
11     things you did?
12             A.        Let's see.         I have to go back to
13     the report.
14             Q.        Sure.      It's Exhibit 4.
15             A.        I listed, yes, the documents which
16     includes the documents you obtained -- you
17     submitted -- you provided to me.                     I did not
18     list every single one that they provided to me
19     by detail in this report.
20             Q.        Right.       And you also didn't list
21     the deposition transcript of Mr. Seeling,
22     correct?
23             A.        Uh-huh.       I did not list that here,
24     no.
Golkow Litigation Services                                           JA2650
                                                                       Page 141
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 1             Q.        But did you consider that?
 2             A.        I believe that was one of the
 3     documents I looked at, yes.
 4             Q.        So what else did you look at that's
 5     not listed here?
 6             A.        I'd have to go, like I said earlier
 7     in the day, pull all of the files and letters
 8     that I was sent to be accurate of every single
 9     document I was sent.              I don't remember off the
10     top of my head every document I was sent.
11     (REQUEST NO. 1)
12                       MS. McENROE:          So Counsel, it's a
13             material deficiency that there's not a
14             full list of the materials provided either
15             with his expert report; and we've even
16             asked for it in follow-up.
17                       So I'll ask that following this
18             deposition, we get a complete list of
19             materials considered; and at the end of
20             the day, I'll reserves rights to reopen
21             the deposition depending on the
22             information we've learned.
23                       MR. VETTORI:          I'll take your
24             question under consideration.
Golkow Litigation Services                                           JA2651
                                                                       Page 142
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 1     BY MS. McENROE:
 2             Q.        So sticking with your expert report
 3     you have in front of you.
 4             A.        Okay.
 5             Q.        Exhibit 4.
 6             A.        Yes.
 7             Q.        So you indicate that the documents
 8     you reviewed are documents that were provided
 9     to you.
10             A.        Right.
11             Q.        Did you do any other research
12     regarding ECFMG or anything else to help you
13     prepare this expert report?
14             A.        I think the only other thing that I
15     did is I went to ECFMG's website.
16             Q.        Okay.      And what did you do on
17     ECFMG's website?
18             A.        I looked at their "About," their
19     "Mission," their "Values," their "Statement."
20             Q.        Anything else?
21             A.        No.     I just looked through the
22     website.
23             Q.        Did you contact ECFMG?
24             A.        I did not.
Golkow Litigation Services                                           JA2652
                                                                       Page 143
  Case:2:18-cv-05629-JDW
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 1             Q.        Okay.      Did you initiate an
 2     application to proceed through ECFMG's
 3     certification process?
 4             A.        I did not.
 5             Q.        You have, if I may characterize it
 6     correctly, you have at the beginning a summary
 7     of the facts that you say you considered in
 8     forming your opinions?
 9             A.        I'm sorry?         Yes.
10             Q.        And then towards the back end, you
11     have opinions that you formed.
12                       Is that a fair description of the
13     setup of your expert report?
14             A.        Yes.
15             Q.        Okay.      So in forming the "Facts"
16     section towards the beginning of your report --
17             A.        Sure.
18             Q.        -- from where did you get the facts
19     that you recite here in your expert report?
20                       MR. VETTORI:          So for the record, I
21             instruct the witness not to answer any
22             questions about draft reports and whether,
23             in fact, it comes from a draft report that
24             he did and that counsel may have worked on
Golkow Litigation Services                                           JA2653
                                                                       Page 144
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 1             A.        Okay.
 2             Q.        Do you see where I am?
 3             A.        Yes, I do.
 4             Q.        Okay.      It says, "In 2006,
 5     IGBERASE."        I'm going to stop there for a
 6     second.
 7                       You understand that's Dr. Akoda
 8     that we've been talking about today?
 9             A.        Yes.
10             Q.        "Using the name," quote, "'John
11     Charles Akoda,' and the 1623 SSN assigned to
12     Individual A, applied for residency at Howard
13     University."
14                       Do you see that?
15             A.        Yes, I do.
16             Q.        It goes on to say, "In March of
17     2007, Howard University accepted IGBERASE into
18     its residency program, and asked IGBERASE to
19     submit evidence of legal residence in the
20     United States.           In response, IGBERASE submitted
21     a false permanent resident card in the name
22     "N. Akoda, John Charles."
23                       Do you see that?
24             A.        Yes, I do.
Golkow Litigation Services                                           JA2654
                                                                       Page 159
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 1             Q.        Okay.      Did you take into account
 2     these false materials provided to Howard
 3     University in their process in forming your
 4     opinions in this case?
 5             A.        I mean, I've reviewed this
 6     material; but which specific -- what are you
 7     referring to?
 8             Q.        Sure.      So it's saying here that
 9     Dr. Akoda submitted a false permanent resident
10     card to Howard University.
11             A.        Uh-huh.
12             Q.        As well as him having been required
13     to submit evidence of legal residence in the
14     United States.
15             A.        Yes.
16             Q.        Did you take into account the fact
17     that he submitted a false permanent resident
18     card to Howard University in forming your
19     opinions?
20             A.        I knew this fact, but I wasn't
21     asked to opine on Howard University's actions.
22             Q.        Okay.      Do you know what, if
23     anything, Howard University did to verify the
24     1623 social security number provided to it by
Golkow Litigation Services                                           JA2655
                                                                       Page 160
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 1     Dr. Akoda?
 2             A.        I do not know their processes.
 3             Q.        Do you believe it's ECFMG'S fault
 4     that Dr. Akoda submitted a false permanent
 5     residency card to Howard University?
 6             A.        I do not believe ECFMG -- I believe
 7     he submitted the false residency card.
 8             Q.        So Dr. Akoda perpetrated a fraud on
 9     Howard University?
10             A.        He submitted a false
11     identification, yeah -- a false social security
12     number.
13             Q.        Okay.      Both a false social security
14     number and a false permanent residency card to
15     Howard University, correct?
16             A.        Yeah, I believe -- yes.
17             Q.        And to be a resident, I presume
18     someone needs to physically show up to finish a
19     residency program; is that correct?
20             A.        Yes.
21             Q.        And it's a quite a rigorous
22     experience, correct?
23             A.        It can be, yes.
24             Q.        And it's a lot of hours?
Golkow Litigation Services                                           JA2656
                                                                       Page 161
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 1             A.        It can be, yes.
 2             Q.        So Howard University would have
 3     supervised Dr. Akoda quite extensively for him
 4     to complete a residency program there?
 5             A.        They would have complied with the
 6     supervision requirements, yes.
 7             Q.        And what are the supervision
 8     requirements, if you know, generally speaking?
 9             A.        Generally speaking, ECFMG requires
10     progressive supervision.                They define it as
11     different levels, direct and indirect,
12     observed, not observed.                And throughout your
13     residency, the degree of supervision varies as
14     you progress.
15             Q.        In your experience, are medical
16     residents permitted to actually examine
17     patients?
18             A.        Yes.
19             Q.        And are medical residents allowed
20     to actually treat patients?
21             A.        What do you mean by "treat"?
22             Q.        Lay hands on patients.
23             A.        They're allowed to, yeah, examine,
24     yes.
Golkow Litigation Services                                           JA2657
                                                                       Page 162
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 1             Q.        Are they allowed to do any
 2     procedures of any sort on patients?
 3             A.        They are within their scope and
 4     supervision requirements.
 5             Q.        If a resident were to observe an
 6     examination, for example, or were to examine a
 7     patient but not lay hands on them, so take a
 8     medical history, whatever it might be, would
 9     their name necessarily appear in the medical
10     records, in the patient's medical records,
11     rather?
12             A.        Whether the resident's name appears
13     or not would really be related to what they did
14     and what the hospital's policies and procedures
15     are for documentation.
16             Q.        Sure.      So it's possible that a
17     resident can be involved in conducting an
18     examination, but their name would not appear in
19     a patient's medical records?
20             A.        It is possible.
21             Q.        Do you expect that somebody without
22     medical training could successfully complete a
23     residency program?
24             A.        It's a hard question.               I would
Golkow Litigation Services                                           JA2658
                                                                       Page 163
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 1     say -- I would like to say that they shouldn't,
 2     but there probably is some ability -- there's
 3     probably some ability that someone could have
 4     in a certain -- in residencies.                    Every
 5     residency is different in requirements.
 6                       If they did some of their own
 7     studying, virtual, who knows, that they might
 8     be able to get through; but in general, one has
 9     to have medical knowledge to get through a
10     residency.
11             Q.        And you would expect that to be
12     true for an OB/GYN specialist?
13             A.        I would expect in general, yes.
14     Not a hundred percent, it'd be a feat.
15             Q.        Going back to your expert report at
16     Exhibit 4.
17             A.        Uh-huh.
18             Q.        Page 3, third paragraph down.
19             A.        Page 3, third paragraph down.
20             Q.        I'm going to pick up where I had
21     just left off with the sentence that starts,
22     "He was licensed."
23             A.        Yes.
24             Q.        Do you see that?
Golkow Litigation Services                                           JA2659
                                                                       Page 164
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 1             A.        Yes.
 2             Q.        It says, "He was licensed to
 3     practice medicine in Maryland and Virginia, and
 4     was granted privileges at Prince Georges'
 5     Hospital Center based on application and
 6     submission of required documentation including
 7     an ECFMG certificate."
 8                       Do you see that?
 9             A.        Yes, I do.
10             Q.        So I'm going to break that down a
11     little bit.
12                       Have you looked into you or do you
13     know about the licensing requirements for
14     Maryland or for Virginia?
15             A.        Specific licensing?              Every detail?
16     No, I do not.
17             Q.        Do you know in broad strokes the
18     licensing requirements for Maryland and
19     Virginia?
20             A.        I know that all states have
21     certain -- there are certain requirements for
22     licensure that applies everywhere, which is
23     verification of medical school completion,
24     verification of a year of training.
Golkow Litigation Services                                           JA2660
                                                                       Page 165
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 1             Q.        Okay.      What else would you expect
 2     to be included?
 3             A.        Usually -- I don't know if it's a
 4     requirement to get the license, but usually
 5     they require information.                 They usually ask
 6     about past training, past hospital employment,
 7     other licenses.
 8                       But what the criteria is, each
 9     state has their own Medical Practice Act.
10             Q.        Would you expect that a licensing
11     board would ask about residency programs from
12     which an applicant had been dismissed from?
13             A.        May or may not.            I've seen
14     different forms of applications.
15             Q.        Looking back -- so we'll keep
16     Exhibit 4.
17             A.        Okay.
18             Q.        But let's take out Exhibit 9 again.
19             A.        Okay.
20             Q.        Looking back where we left off in
21     Exhibit 9.
22             A.        Yes.
23             Q.        Where we left off, we'll pick up at
24     "In 2011."
Golkow Litigation Services                                           JA2661
                                                                       Page 166
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 1                       Do you see where I am?
 2             A.        Yes, I do.
 3             Q.        It says, "In 2011, after the
 4     completion of his residency at Howard
 5     University, IGBERASE, using the name 'Charles
 6     John Nosa Akoda' and the 1623 SSN, applied for
 7     medical licensure with the Maryland Board of
 8     Physicians."
 9                       Do you see that?
10             A.        Yes, I do.
11             Q.        It goes on to say, "In support of
12     this application, IGBERASE submitted a false
13     permanent residence card, as well as a false
14     Nigerian passport."
15                       Do you see that?
16             A.        Yes, I do.
17             Q.        It goes on to say, "In September
18     2011, the Maryland Board of Physicians granted
19     the requested medical license to IGBERASE under
20     the name," quote, "'Charles John Nosa Akoda,"
21     and IGBERASE began practicing medicine in the
22     field of obstetrics and gynecology."
23                       Do you see that?
24             A.        Yes, I do.
Golkow Litigation Services                                           JA2662
                                                                       Page 167
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:  22-5 Page:
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 1             Q.        Do you know what, if anything,
 2     Maryland did to verify Dr. Akoda's permanent
 3     residence card?
 4             A.        I do not.
 5             Q.        Do you know what, if anything,
 6     Maryland did to verify Dr. Akoda's Nigerian
 7     passport?
 8             A.        I do not.
 9             Q.        Following residency, in your
10     experience, would a medical license be required
11     to treat patients?
12             A.        Yes.      I -- yes, in States you're
13     required a license to practice.                    Usually the
14     only exception is while in training.
15             Q.        Going back to where we were in your
16     expert report at page 3.
17             A.        Sure.
18             Q.        So we just talked about the
19     practicing of medicine in Maryland and
20     Virginia.
21                       You also talked about Dr. Akoda
22     having been granted privileges at Prince
23     Georges' Hospital Center.
24                       Do you remember that?
Golkow Litigation Services                                           JA2663
                                                                       Page 168
  Case:2:18-cv-05629-JDW
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 1             A.        Yes.      I see that here, yes.
 2             Q.        So going back to Exhibit 9.
 3             A.        Okay.
 4             Q.        And where it starts, "In 2012."
 5                       Do you see where I am?
 6             A.        Yes, I do.
 7             Q.        It says, "In 2012, IGBERASE, using
 8     the," quote, "'Akoda' identity, sought and
 9     obtained medical privileges at Prince George's
10     Hospital Center," which they shorten to PGHC,
11     "in Maryland.          To do so, Igberase submitted a
12     false permanent residence card, as well as a
13     false Maryland driver's license."
14                       Do you see that?
15             A.        Yes, I do.
16             Q.        Do you know what, if anything,
17     Prince George's did to verify Dr. Akoda's
18     permanent residence card?
19             A.        I do not.
20             Q.        Do you know what, if anything,
21     Prince George's did to verify Dr. Akoda's
22     driver's license?
23             A.        I do not.
24             Q.        Do you know anything about the
Golkow Litigation Services                                           JA2664
                                                                       Page 169
  Case:2:18-cv-05629-JDW
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 1             A.        Again, since I wasn't provided them
 2     and all I have is the draft, I can't say that.
 3             Q.        So you don't know what the policies
 4     and procedures are as we sit here today?
 5             A.        I just know the standard.                 I don't
 6     know what their -- I've asked for policies and
 7     procedures, and we haven't been provided any.
 8             Q.        You say "we."           You mean you haven't
 9     been provided any, correct?
10             A.        Uh-huh, correct.
11             Q.        Is it your opinion that ECFMG has a
12     duty or an obligation to make sure that
13     individuals it certifies never break the law?
14             A.        Again, I personally believe -- this
15     is from my expertise and knowledge -- that
16     ECFMG'S role is not as a law enforcement agency
17     but a certification body.
18             Q.        Okay.      And so I just want to make
19     sure I understand.
20                       So if ECFMG certifies someone and
21     they go on to commit tax fraud later on in
22     their career, would you then look back and hold
23     ECFMG accountable that they should have figured
24     that out?
Golkow Litigation Services                                           JA2665
                                                                       Page 217
  Case:2:18-cv-05629-JDW
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 1             A.        No.     But if in order to practice
 2     tax, they needed ECFMG certification to be
 3     licensed, then they would have never been
 4     allowed to practice tax.
 5                       So I don't -- I don't hold them
 6     accountable to law enforcement; but anything
 7     that an individual was allowed to do based on
 8     their certification, they do have culpability
 9     in that case.
10             Q.        So you think if a practitioner, a
11     physician, goes on to be a creep, a sexual
12     predator, is that somehow ECFMG'S fault if
13     ECFMG had certified that that person had, in
14     fact, graduated from medical school and passed
15     exams?
16             A.        Well, what they did was their
17     action at that point; but one has to
18     acknowledge that if ECFMG did not allow them
19     to -- did not certify them, allowing them to
20     obtain a license, they would not be a physician
21     at that point.
22             Q.        Right.       But there are U.S. graduate
23     physicians who go on to become creeps, right?
24             A.        There are.
Golkow Litigation Services                                           JA2666
                                                                       Page 218
  Case:2:18-cv-05629-JDW
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 1             Q.        Sexual predators.
 2                       MR. VETTORI:          Is that a technical
 3             term?
 4                       MS. McENROE:          I changed it to
 5             sexual predators.
 6     BY MS. McENROE:
 7             Q.        Okay.      Is that fair?
 8             A.        There are, yes.            Unfortunately,
 9     yes.
10             Q.        And do you deem that to be a
11     failure of the medical school community or, you
12     know, or is that that practitioner's fault that
13     they went on to be somebody who breaks the law?
14             A.        It is the practitioner's fault, but
15     there is well documented studies that show that
16     there are usually red flags throughout their
17     career if people intervene, that patient would
18     have never been harmed.
19             Q.        Usually, like, while they're
20     actually practicing medicine.
21             A.        No.     There's throughout their
22     entire career.           There's well documented studies
23     that show whether it's medical school
24     residency, application processes, there are
Golkow Litigation Services                                           JA2667
                                                                       Page 219
  Case:2:18-cv-05629-JDW
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 1     links throughout a career that could have
 2     stopped a progression of events.
 3             Q.        So I'm just struggling with the
 4     idea that this is like the ultimate Monday
 5     morning quarterbacking, right?                   You're saying
 6     this person ended up being a sexual predator.
 7     So looking back in history, we could pick up
 8     bread crumbs where someone could have, said,
 9     you don't graduate from middle school; you
10     don't graduate from high school; you don't
11     graduate from college.
12                       So I'm just trying to understand --
13                       MS. McENROE:          Let me finish my
14             question.
15                       MR. VETTORI:          I am.
16     BY MS. McENROE:
17             Q.        I'm just trying to understand how
18     it is you pick where in that line you assume
19     and assign all of the fault, as you have with
20     ECFMG in this case?
21                       MR. VETTORI:          Objection as to form.
22                       THE WITNESS:          Where I've assigned
23             fault is the area I was asked to opine on,
24             which is he would not have been able to
Golkow Litigation Services                                           JA2668
                                                                       Page 220
  Case:2:18-cv-05629-JDW
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 1             obtain licensure or enter a residency had
 2             ECFMG done the due diligence, picked up
 3             the red flags and not certified him or
 4             revoked the certification.
 5     BY MS. McENROE:
 6             Q.        So does your opinion basically boil
 7     down to an on/off switch, that if ECFMG had
 8     said he couldn't get a certificate, therefore,
 9     he wouldn't have been able to practice
10     medicine; is that what you're saying?
11             A.        Well, as part of application for
12     residency and licensure, there are certain
13     things that are binary, yes or no; and in the
14     absence of them, you don't proceed to any other
15     steps.
16                       ECFMG certification is a credential
17     that's binary.           You don't have it, you can't
18     get into residency.             Absent ECFMG
19     certification, you can't be licensed.                       It is a
20     binary, that all the other things downstream
21     don't occur towards licensure if that binary
22     doesn't occur.
23             Q.        So if we were to take a step
24     forward and say graduation from a residency
Golkow Litigation Services                                           JA2669
                                                                       Page 221
  Case:2:18-cv-05629-JDW
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 1     program is binary, off and on or, you know, one
 2     year of supervised practice, however you had
 3     described it is binary off and on, you either
 4     have that or you don't, that's another place
 5     along the line, right?               That would either
 6     on/off shut off the practicing medicine in the
 7     United States?
 8             A.        It depends on what the requirements
 9     were.
10             Q.        And further stepping down the line,
11     eventually getting to the point of getting a
12     medical license is also off and on that in any
13     given jurisdiction, if you don't have a medical
14     license, you should not be lawfully be
15     practicing medicine, correct?
16             A.        Yes.      Without a medical license,
17     you can't practice medicine.
18             Q.        So that's another off/on switch,
19     correct?
20             A.        A medical license is an off/on,
21     yes.
22             Q.        Even if you have a ECFMG
23     certificate?
24             A.        If you have an ECFMG certificate
Golkow Litigation Services                                           JA2670
                                                                       Page 222
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                  Exhibit 4




                                                                  JA2671
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                                      September 19, 2019



Danielle S. Dinsmore, Esquire
Paul M. Vettori, Esquire
Law Offices of Peter G. Angelos
One Charles Center
100 N. Charles Street
Baltimore, Maryland 21201

                            Re: Monique Russell, et al. v. Educational Commission for Medical
                            Graduates, Case No. 2:18-cv-05629-JW


Dear Ms. Dinsmore and Mr. Vettori:

   You have asked me to review this matter and provide a report of my expert opinions with
respect to this matter. This is my report.

     Attached is my Rule 26 case list. Also attached is my Curriculum Vitae, which includes a
list of all publications I have authored.

   I am billing my time for review and preparation of my report at $ 500 per hour and my time
for deposition and trial at $ 5000 per day.

   I have reviewed and considered the documents you have provided to me, which include bates
stamped documents you obtained from ECFMG, documents obtained from the Akoda criminal
case, the Maryland Board of Physician’s decision and the depositions (with exhibits) of William
Kelly and Kara Corrado.

  The following is a summary of the facts considered by me in forming my opinions:

   On April 6, 1992 ECFMG received an application from Oluwafemi Charles Igberase to take
the Foreign medial graduate examination in the Medical Sciences and the ECFMG English Test.
He provided ECFMG with a diploma from the University of Ibadan dated June 19, 1987.
Igberase failed both the basic medical science and clinical science components of the FMGEMS
and passed the ECFMG English test. He failed the Day 1 test again but passed it on the third try.
On October 4, 1993, after he successfully completed steps 1 and 2 of the USMLE, ECFMG
issued to him certificate number 0-482-700.

   On March 30, 1994, ECFMG received an application from Igberase Oluwafemi Charles to
take Steps 1 and 2 of the USMLE examinations. He provided a date of birth that was different
than the date of birth provided by Igberase. The diploma he submitted was the identical diploma
that had been submitted by Igberase. On December 14, 1994, after Charles successfully
completed the USMLE examinations, ECFMG issued to him certificate number 0-519-573-0.




                                                                                        JA2672
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   At some point after this, for reasons that do not appear in the records, ECFMG became
suspicious that Igberase and Charles were one and the same person and began an investigation.
Igberase/Charles explained his actions in a handwritten letter dated July 14, 1995 in which he
admitted he had lied about not taking the examination previously and why he rearranged his
names. As a result of the investigation, the ECFMG Committee on Medical Education
Credentials invalidated certificate number 0-519-573-0 issued to Charles and revoked certificate
number 0-482-700-2 issued to Igberase. Charles appealed the decision which led to a hearing on
July 10, 1996. The ECFMG Review Committee for Appeals affirmed the decision of the
ECFMG Committee on Medical Education Credentials to revoke certificate number 0-482-700-2
but limited the length of the revocation to a period of five years from July 10, 1996, i.e., to July
10, 2001. Thereafter, the ECFMG Committee on Medical Education Credentials extended the
length of this revocation for a yet to be specified period of time and, ultimately, revoked
permanently this certificate.

   On January 3, 1996 and again on August 30, 1996, ECFMG received an application from
John Nosa Akoda to take Steps 1 and 2 of the USMLE examinations. He provided ECFMG with
a diploma from the University of Benin dated February 6, 1998. On August 18, 1998, after he
successfully completed the required examinations, ECFMG issued to him certificate number 0-
553-258-5. Although his applications did not include a social security number, at some time in
1998 he provided ECFMG with social security number xxx-xx- 9065.

  On July 1, 1998 Akoda entered the graduate residency program at Jersey Shore Medical
Center. On July 24, 1998, ECFMG received a Request for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due to his having entered this program. On September 2, 1998,
ECFMG sent this validated form.

    By letter dated August 11, 2000 from James McCorkel, M.D. to Rice Holmes, ECFMG was
notified that the Jersey Shore Medical Center graduate residency program in which Akoda was
enrolled was investigating allegations that Akoda had used a social security number issued to a
person named Oluwafemi Charles Igberase. ECFMG advised Dr. McCorkel that Akoda had
provided ECFMG with social security no. xxx-xx-9065. This is the same number Akoda
provided to the Jersey Shore Medical Center.

    ECFMG sent Akoda a “charge letter” dated August 22, 2000 advising Akoda that ECFMG
had received information alleging that Akoda may have engaged in irregular behavior. This
letter was based on the matters presented by Dr. McCorkel. Akoda responded by representing to
ECFMG that Igberase Oluwafemi Charles was his cousin and admitting that he had used his
cousin’s social security number. Akoda provided ECFMG with a Nigerian passport and a
Nigerian “international driving permit.”

   The Jersey Shore Medical Center dismissed Akoda from its graduate residency program
because he used a false social security number – that of his cousin Charles Igberase - and
because the green card he had provided the hospital was inconsistent with a subsequent green
card he also provided.




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  On December 22, 2000, William Kelly, Manager of the Medical Education Credentials
Department of ECFMG, wrote a memorandum to Stephen S. Seeling, JD, Vice President of
Operations of ECFMG, in which Mr. Kelly stated “[t]his memorandum is being written
separately since I did not think it should be made part of the official file.” He advised Mr.
Seeling that both he and Dr. McCorkel believed Igberase and Akoda were one and the same
person. He concluded that he did not think there was enough information for the ECFMG
Credentials Committee.

    In October 2006, Akoda used the ERAS of ECFMG to apply to Howard University Medical
Center for a graduate residency program, which included three letters of reference. In
connection with this process, ECFMG attempted to verify the authenticity of these three letters
of reference but never received responses from the persons passed off as references for Akoda.

    Akoda successfully completed a graduate residency program at Howard University Medical
Center. He was licensed to practice medicine in Maryland and Virginia, and was granted
privileges at Prince Georges’ Hospital Center based on application and submission of required
documentation including an ECFMG certificate.

   The following are my opinions, which are based on the matters set out above and my
education, training and experience:

    ECFMG is the only organization that certifies that IMG’s have successfully completed
medical education at an approved foreign medical school and that they have successfully
completed the required medical examinations. Without an ECFMG certification, an IMG cannot
sir for required licensing exams, obtain a medical license, will not be accepted into a graduate
medical education program and cannot obtain hospital privileges. The standard of care
applicable to ECFMG’s certification process requires ECFMG to adopt reasonable policies and
procedures and to follow those procedures to ensure that IMG’s comply with all requirements for
certification. ECFMG has undertaken to provide certification services which are necessary for
the protection of the general public. Its failure to exercise reasonable care in providing these
services increases the risk of harm to the general public, including plaintiffs. Licensing agencies,
medical schools and hospitals, among others, rely upon ECFMG to act reasonably in performing
these services.

   It is my opinion, held to a reasonable degree of professional certainty, that ECFMG failed to
adopt appropriate policies for certification of IMG’s, failed to exercise reasonable care in its
certification of Akoda and failed to exercise reasonable care in its investigation of allegations
made about Akoda and that these failures caused harm to the named plaintiffs and members of
the class.

        While it is accurate to say that certification by ECFMG is only one of the steps needed
for a foreign medial graduate to obtain a license to practice medicine in the United States, it is a
requirement without which an IMG cannot obtain a license. It is also a required certification for
entering residency and obtaining hospital privileges. If ECFMG had acted reasonably, it would
have denied certification to Akoda, and would have revoked Akoda’s certificate, he would not
have been able to enter the Howard University residency program, he would not have been able

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to obtain a Maryland medical license, he would not have been granted privileges at Prince
Georges’ Medical Center, and he would not have been able to harm the plaintiffs.

         The ECFMG certification process and investigation of suspicious or irregular behavior by
ECFMG is important to ensure that individuals seeking to act as physicians treating patients are
qualified and meet professional standards of honesty, morality and character. These qualities are
critical to the physician patient relationship.

  ECFMG breached the standard of care in, among others, the following ways:

         Failing to adopt written policies and procedures for the certification of IMG’s;

        Failing to adopt written policies and procedures for the investigation of allegations of
irregular behavior;

       Failing to investigate the differences in the name on Akoda’s medical school diploma and
the name on his applications submitted to ECFMG;

         Failing to investigate fully the relationship between Igberase and Akoda;

         Failing to reasonably investigate Akoda’s diploma from the University of Ibadan;

      Failing to reasonably investigate discrepancies in official medical school seal on
documents submitted for Akoda;

       Failing to deny the requested waiver of a medical school confirmation of Akoda
photograph based on the explanation of the Nigerian postal system not providing a rapid
delivery;

         Failing to deny the Akoda application due to it being incomplete;

         Failing to reasonably investigate the allegations made by Dr. McCorkel;

         Failing to refer Akoda to the Medical Education Credentials Committee;

      Failing to follow its own procedures with respect to the charge letter sent to Akoda on
August 22, 2000;

         Failing to reasonably investigate the social security number provided to ECFMG by
Akoda;

        Failing to temporarily suspend pending investigation and discontinue to verify ECFMG
certifications after Dr. McCorkel’s allegation, admission by Akoda of using another’s social
security number and the ECFMG Investigator’s concern that Akoda and Igberase were the same
person.



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       Failing to compare photographs of Igberase and Akoda in its files;

        Failing to reasonably act when Akoda admitted to identity theft in use of another’s social
security number;

       Failing to conclude that the person – Charles -- who appeared for hours at the July 10,
1996 appeal hearing and the person who appeared in Mr. Kelly’s office on September 27, 2000 –
Akoda – were the same person;

       Failing to investigate the authenticity of the passport and green card produced to Mr.
Kelly by Akoda when he came to Mr. Kelly’s office on September 27, 2000;

       Failing to follow up on the conclusion reached by Mr. Kelly and Dr. McCorkel that
Igberase and Akoda were the same person.

        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMG’s, these would have included
requirements that ECFMG investigate fully the differences in the name on Akoda’s medical
school diploma and the name on his applications.
        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMF’s, these would have included
requirements that ECFMG investigate fully discrepancies in Akoda’a application and submitted
materials.

        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMG’s and investigations of irregular
behavior, these would have included requirements that ECFMG investigate and refer to the
Medical Education Credentials Committee in situations of identity fraud.

        It is my opinion, to a reasonable degree of professional certainty, that, had ECFMG
properly investigated the allegations of irregular behavior against Akoda, ECFMG would have
referred the matter to the Medical Education Credentials Committee and that committee would
have found that Akoda engaged in irregular behavior, which would have resulted in his
certification being revoked.

        It is my opinion, to a reasonable degree of professional certainty, that these failures on
the part of ECFMG to comply with the standard of care were the direct cause of Akoda being
certified by ECFMG and which are the direct cause of the harms caused to the plaintiffs and the
members of the class.




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                                               Very truly yours,


                                                40d                ftw
                                               _________________________
                                               David Samuel Markenson, MD




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                  Exhibit 5




                                                                  JA2678
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                                 John C. Hyde, Ph.D., FACHE
                                   Health Care Consultant
                                    4301 Highway 35 North
                                      Forest, MS 39074


September 23, 2019


Ms. Karen E. Evans
The Cochran Firm
Attorneys at Law
110 New York Ave., NW
Suite 340, West Tower
Washington, DC 20005


Dear Ms. Evans

        This opinion has been prepared in regards to the matter of: Russell, et al v. Educational
Commission for Foreign Medical Graduates, Case No. 2:18-cv-05629-JW. Currently, I am an
adjunct Professor of Healthcare Administration at the George Washington University teaching
healthcare management at the graduate level on a part-time basis; and, a full-time consultant in
the field of healthcare administration. Recently, I retired as a full-time university Professor of
health services administration and clinical outcomes research within an academic medical center
campus; with former appointments in the School of Health Related Professions and the School of
Medicine at the University of Mississippi Medical Center; and, in the School of Business at the
University of Mississippi. My academic activities involved: teaching graduate-level students in
areas of healthcare management; conducting health services research focusing on management
and clinical outcomes analysis; and, providing expertise and consultations to the healthcare
community at large. I have taught graduate level healthcare administration/outcome classes for
the past 28+ years. My doctorate, master, and bachelor degrees are all in the area of healthcare
administration. I have presented research findings at the regional, national and international
levels and published articles, books and monographs related to various areas of healthcare
delivery. I have provided lectures and addresses to international, national and regional audiences
in areas of healthcare administration.

        Additionally, I have approximately 10 years’ experience as a practicing healthcare
administrator and multi-system executive with specific knowledge and expertise in the areas of
physician credentialing/privileging, credential verification organizations, primary source
verification, regulators, and overall healthcare management procedures. I am board-certified as a
Certified Healthcare Executive (FACHE- Fellow) by the American College of Healthcare
Executives in the specialty of health care administration.

       Attached is my Curriculum Vitae which includes a list of all publications I have authored,
including those dealing with the credentialing process.




John C. Hyde, Ph.D. Page 1 of 8      9/19/2019
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       In the preparation of this preliminary opinion, I have examined the documents and
information listed below and based my opinions on my professional knowledge of prevailing and
prudent standards of healthcare administration which ultimately require an exercise of reasonable
application of the process of Credentials Verification and use of Primary Sources:


DOCUMENTS/INFORMATION REVIEWED:

Documents Received from Howard University
Documents Received from ECFMG
Documents Received from ABOG Production
ECFMG Information Booklet, ECFMG Certification and Application, 1996
Complaint
Virginia Department of Health Professions Order of Mandatory Suspension re Charles Akoda,
MD (2017)
Maryland State Board of Physicians Final Decision and Order re Charles Akoda, MD (2017)
Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)
ECFMG Complaint
Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)
Hallock JA & Kostis JB (2006). Celebrating 50 Years of Experience: An ECFMG
Perspective, Academic Medicine, 81(12): S7-S16.
Hospital Accreditation Standards, The Joint Commission, 2008.
American Medical Association: Joint Commission acceptance of AMA Physician Masterfile
Data, 2004.
Credentialing by Medicare Advantage Organizations, presented by E. Enriquez, Nurse
Consultant, CMS Region II,

Depositions Reviewed:

Deposition of William C. Kelly, ECFMG with Exhibits (8/20/19)
Deposition of Stephen Seeling, JD, Vice President of Operations, ECFMG (9/16/19)
Deposition of Kara Corado, JD, Current VP of Operations ECFMG (9/10/19)


       Based upon a review of these identified documents/information, coupled with my
knowledge, training, education, experience and understanding of the practice of healthcare
management, I have formulated the following opinions in this matter. These opinions have been
based on regulations and industry standards that guide, and should guide the operations of a
credentialing verification organization (CVO), such as Educational Commission for Foreign
Medical Graduates (ECFMG).


SUMMARY OF EVENTS

1. ECFMG received two applications from John Nosa Akoda to take Steps 1 and 2 of the
USMLE examinations. The first on January 3, 1996, and again on August 30, 1996.




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2. After he successfully completed the required examinations, ECFMG issued certificate
number 0-553-258-5 to “Dr.”.Akoda. At some time in 1998, he provided ECFMG with social
security number xxx-xx- 9065.

3. Akoda entered the graduate residency program at Jersey Shore Medical Center on July 1,
1998. Shortly thereafter,, ECFMG received a Request for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due to his having entered this program.

4.    On September 2, 1998, ECFMG sent a validated form.

5.    About two years later, in 2000, ECFMG was notified that the Jersey Shore Medical Center
graduate residency program where Akoda was enrolled was investigating allegations that Akoda
had used a social security number issued to a person named Oluwafemi Charles Igberase.
ECFMG advised Jersey Shore Medical Center that Akoda had provided ECFMG with social
security no. xxx-xx-9065 which was the same number Akoda provided to Jersey Shore Medical
Center.

6. On August 22, 2000, ECFMG acknowledged in a letter to Akoda that it had received
information alleging that Akoda may have engaged in irregular behavior.

7. Thereafter ECFMG sent a letter to Akoda acknowledging receipt of information from Jersey
Shore to which Akoda responded by representing to ECFMG that Igberase Oluwafemi Charles
was his cousin and admitting that he had used his cousin’s social security number. As proof of
his identity, Akoda provided ECFMG with a Nigerian passport and a Nigerian “international
driving permit.”

8. Ultimately, Jersey Shore Medical Center dismissed Akoda from its graduate residency
program because he used a false social security number and because the green card he provided
to the hospital was inconsistent with the other green card he provided. The social security
number “Dr.”Akoda used belonged to Charles Igberase, “his cousin”.

9. In December of 2000, an employee of ECFMG, William Kelly, wrote a memo which he said
should NOT be made a part of the official file, to the VP of Operations at ECFMG, Stephen
Seeling. In that memo, Mr. Kelly advised Mr. Seeling that both he and Jersey Shore believed
Igberase and Akoda were the same person. Then, curiously, Mr. Kelly concluded that there was
not enough information for the ECFMG Credentials Committee.

10. Thereafter in October 2006, Akoda used the ERAS of ECFMG to apply to Howard
University Medical Center’s residency program. He provided three letters of reference. ECFMG
attempted to verify the authenticity of these three letters of reference but was unsuccessful. It is
not the usual practice of ECFMG to seek to verify the authenticity of letters of reference from its
applicants.

11. Akoda successfully completed a graduate residency program at Howard University
Medical Center, was licensed to practice medicine in Maryland and Virginia, and was granted
privileges at Prince Georges’ Hospital Center.




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12. To obtain a license to practice medicine in Maryland, Akoda was required to submit,
among other essential components, a valid ECFMG certificate.

13. However, ECFMG should never have issued an ECFMG certificate to Charles Nosa
Akoda.

14. At the time of Akoda was issued an ECFMG certificate, ECFMG knew or should have
known that Charles Nosa Akoda was the same person as Oluwafemi Charles Igberase (aka
multiple alias). ECFMG knew or should have known that Charles Nosa Akoda was the same
person as Oluwafemi Charles Igberase (aka multiple alias) and that he had: a) previously lied
about not taking the required examinations, b) rearranging his name, c) that he had been
dismissed from the Jersey Shore residency program he used a false social security number to
apply to the hospital ( his ‘cousin’ Charles Igberase) and used two green cards documenting
different numbers, names, expiration dates, and dates of birth for “Dr. Akoda and his
certification had been previously revoked; d) that his ECFMG certification had been previously
revoked; that there were irregularities regarding the authenticity of his medical school diplomas,
and references.

15. On June 1, 2016, U.S. Attorney’s office indicted Mr. Akoda for fraud and aggravated
identity theft, citing eleven aliases including Charles John Nosa Akoda.

16. Using search warrants, law enforcement officers searched the home of Mr. Akoda on June
9, 2016, and discovered false: passports, social security numbers (ending 1623 under John
Charles N. Akoda), Nigerian passport, and US visa in Akoda’s name. They also found other
fraudulent or altered documents relating to immigration, medical diplomas, medical transcripts,
letters of recommendation and birth certificates.

17. On October 19, 2016, Mr. Akoda was indicted again on a charge of social security fraud,
false statements regarding a healthcare matter, an additional count of identity theft and fraud as
well as misuse of an immigration document.

18. Mr. Akoda ultimately entered into a plea bargain agreement and pled guilty to social
security fraud on November 15, 2016.

19. In the spring of 2017, Mr. Akoda’s license to practice medicine in Virginia and Maryland
was revoked.


AREAS OF EXAMINATION/RESPONSES

       1. ECFMG Mission/Requirements
               Since 1974, the Educational Commission for Foreign Medical Graduates
       (ECFMG) has promoted to the American public their preeminent, and exclusive, role in
       assuring: “quality health care for the public by certifying international [foreign]
       medical graduates for entry into U.S. graduate medical education, and by participating
       in the evaluation and certification of other physicians and health care professionals”.
       As such, this organization serves as the de facto credentials verification organization for



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      international [formerly foreign] medical graduates through primary source certification of
      the applicant’s international medical education, international training, and successful
      completion of the United States Medical Licensure Examination (USMLE)- steps 1 and 2
      and English proficiency; through administration of the testing process and subsequent
      applicant certification to graduate medical education sites for potential placement in
      postgraduate medical training programs--all of which is required for medical practice
      within the U.S.

              In 1986, the ECFMG Board required that the medical diplomas of all graduates
      applying for ECFMG Certification be primary source verified with the medical school
      that issued the diploma. This required the ECFMG to physically send a letter to the
      medical school that issued the diploma and for the issuing medical school “to attest to the
      veracity of the individual and the document being proffered”. This was required by
      ECFMG to ensure that all diplomas would undergo this scrutiny--obviously to validate
      the authenticity of the individual and their successful completion of medical school
      training, along with the issuing medical school.

              Fraudulent and misleading information submitted to the ECFMG is currently
      covered under its Policies and Procedures Regarding Irregular Behavior. This
      prescriptive set of policies and procedures defines and addresses what constitutes
      irregular behaviors. As stated, “Irregular behavior includes all actions or attempted
      actions of the part of applicants, potential applicants, others when solicited by an
      applicant and/or examinee, or any other person that would or could subvert the
      examination, certification or other processes, programs, or services of ECFMG . . .”.
      When confronted with irregular behavior, it is incumbent on ECFMG to properly and
      thoroughly investigated, analyze and address such behaviors. Without proper resolution
      of the issues, ECFMG cannot fulfill its mission to the public mandating an
      international/foreign medical school graduate that possess all the requisite qualifications
      to pursue U.S. medical practice.


      2. Duties of Credentials Verification Organizations

              A healthcare CVO (credentials verification organization) as the name implies
      provides assurances to those entities that utilize their findings in making decisions on
      granting medical training program enrollment, licensure and ultimately medical practice
      privileges. In the late 1980’s, JCAHO (former name of current, The Joint Commission)
      published conditions under which a CVO could be used by a hospital. According to the
      Joint Commission, a CVO is “Any organization that provides information on an
      individual’s professional credentials. An organization that bases a decision in part on
      information obtained from a CVO should have confidence in the completeness,
      accuracy and timeliness of information”. Additionally, other CVOs within the
      healthcare industry such as the American Medical Association Physician Masterfile and
      Federation of State Medical Boards, among others, provide information that maintains
      these same criteria and likewise is based on primary source verification concerning vital
      information such as the issues of this matter. The National Committee for Quality
      Assurance (NCQA) has formalized and certifies CVOs. At the present time, there are



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      over 90 CVOs that have gained NCQA CVO Certification. Under prevailing CVO
      requirements, a CVO must assure the accuracy and completeness of the information that
      is provided. From a primary source perspective, foreign medical school education must
      be from the primary source.

          The Centers for Medicare and Medicaid Services (CMS), has specified that primary
      source verification is required for: licensure, education and board certification (if
      applicable) in granting Medicare Advantage participation. They defined primary source
      as: “an organization or entity with legal responsibility for originating a document and
      ensuring the accuracy of the information it conveys”.

          As such, this concept of primary source verification entails that the CVO, in this case
      ECFMG, must be assured that the applicant does in fact possess a valid and authentic
      medical degree and other identification and credentials must undertake all efforts to make
      this assurance before certifying the applicant to further U.S. training, or medical
      licensure.

      3. Professional/Organizational Negligence

              As developed above, the administrative standards for credentialing IMGs
      allowing for participation in the ECFMG program requires ECFMG to follow their
      mission and fulfill its duty to patients in that their actions will serve to assure all foreign
      educated physicians are properly and thoroughly investigated and deemed eligible for
      ECFMG Certification to pursue U.S. postgraduate medical education. Without this
      certification, there should never be an individual allowed to participate in such a
      program; and, therefore, there would never be fraudulent IMG physicians that progressed
      through ECFMG to practice U.S. medicine.


      ECFMG failed to act in a reasonable and prudent manner in the following ways:

      A.       As a fundamental matter, ECFMG was required to develop or adopt written
      policies and procedures and checklist for the certification of IMGs. Written policies and
      procedures for the investigation of allegations of irregular behavior would ensure
      reasonable and consistent application of defined criteria.
      B.       ECFMG failed to investigate obvious discrepancies that raised the question of
      fraud and the identity of the applicant. For example, ECFMG failed to investigate the
      differences in the name on Akoda’s medical school diploma and the name on his
      applications submitted to ECFMG; the relationship between Igberase and Akoda, to name
      a few.
      C.       ECFMG failed to follow through on its suspicions about the authenticity of the
      letters of recommendations.

      D.      Curiously, ECFMG failed to adequately and with reasonable diligence investigate
      the allegations made by Dr. McCorkel and refer Akoda to the Medical Education
      Credentials Committee.




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       E.       ECFMG did not even follow its own procedures as noted in the 8/22/2000 charge
       letter sent to Akoda.

       F.     ECFMG failed to investigate the social security number provided to ECFMG by
       Akoda.

       G.      ECFMG obtained photographs of all applicants yet failed to compare photographs
       of Igberase and Akoda in its files when they had suspicions that they might be the same
       person.

       H.     ECFMG missed a golden opportunity to discover if Akoda and Igberase( aka
       multiple alias) were the same person.

       I.     ECFMG also failed to determine the authenticity of the passport and green card
       provided to Mr. Kelly by Akoda on 9/27/2000.

       J.    ECFMG failed to follow up on its conclusion that Igberase and Akoda were the
       same person even though a memo with this conclusion was created by ECFMG employee
       Mr. Kelly.

       K.      Instead, ECFMG negligently chose to bury this information in a memo that was
       not to be placed in the file.

        It is my opinion, with a reasonable degree of professional certainty, ECFMG should have
written policies and procedures for the certification of IMG should have included requirements
that ECFMG investigate fully the differences in the name on Akoda’s medical school diploma
and the name on his applications and the other obvious discrepancies in the applications.

        In my opinion, with a reasonable degree of professional certainty, an appropriate
investigation would have resulted in referral of this matter to the ECFMG medical education
credentials committee. An appropriate and reasonable investigation of the allegations and
obvious discrepancies in the applications should have been conducted by ECFMG, and this
matter should have been referred to the Medical Education Credentials Committee. This
committee should have then found that Akoda engaged in irregular behavior, which should have
then resulted in his certification being revoked.

        With a high degree of professional certainty, it is my opinion that the above breaches of
duties, by ECFMG caused Akoda to be certified by ECFMG, which allowed him to be accepted
into a residency, secure a medical license in MD and gain access to and directly cause harm the
plaintiffs and the members of the class. These actions and omissions were violations of the
Standards of Care. Without the negligent ECFMG certification, Akoda would not have been
accepted into a residency at Howard University Hospital; he would not have obtained a
Maryland license; and he would not have been granted privileges at PG Hospital to care for
Plaintiff and members of the class.

       I reserve the right to alter, supplement or reverse these opinions should additional
information be forthcoming.



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       Attached is my Rule 26 case list.

          I am billing my time for review and preparation of my report at $ 375per hour and my
time for deposition at $ 1,425 for a three (3) hour deposition and $ 3,750 for one day of trial, plus
travel, meals, and lodging expenses.

Respectfully,


John C. Hyde
John C. Hyde, Ph.D., FACHE




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                  Exhibit 6




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 1               IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2
 3
      MONIQUE RUSSELL, JASMINE            )
 4    RIGGINS, ELSA M. POWELL,            )
      and DESIRE EVANS,                   )
 5                                        )
                    Plaintiffs,           )
 6                                        ) Civil Action No. 18-5629
                vs.                       )
 7                                        ) Honorable Joshua D.
      EDUCATIONAL COMMISSIONER            ) Wolson
 8    FOR FOREIGN MEDICAL                 )
      GRADUATES,                          )
 9                                        )
                    Defendant.            )
10
11
12         VIDEOTAPED DEPOSITION OF JOHN CHARLES HYDE, Ph.D.
13                     (Taken by Defendant)
14                       November 18, 2019
15
                                   9:40 a.m.
16
17
18
19
20                Renaissance Concourse Atlanta Hotel
                     One Hartsfield Centre Parkway
21                          Atlanta, Georgia
22
23
24
      Reported by:        F. Renee Finkley, RPR, RMR, CRR, CLR,
25    CCR-B-2289

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 1    definition of credentialing.            What I'm -- what I'm

 2    asking for is what you would actually look at in

 3    deciding whether or not to credential a physician.

 4          A.      Okay.     Licensure, training, which could

 5    include, obviously, not just internship, but

 6    residency and/or fellowship.            You would look at their

 7    experience.      Some of them may not have any.             You

 8    know, they may be fresh out of the residency program,

 9    others may not.       You would look at litigation

10    history.     You would look at board certification.                 You

11    would look at health status.            And you would look at

12    sort of their general ability to get along with

13    others.     Do they play well with others?

14                  So you -- you're looking at a lot of

15    different factors that's going to get you that.

16    Also, you would look and see the National

17    Practitioner Data Bank.          Have they had any payouts or

18    any convictions of any type of morally-related, moral

19    turpitude, which is typically the terminology.                    You

20    would look at Office of Inspector General to see if

21    they have had any claims or had the ability to be

22    involved in Medicare/Medicaid.

23                  You would look potentially at insurance

24    companies to see if they've been providing on-panels

25    within the insurance world for managed care, so to

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 1    speak.     I gave you more than a quarter's worth, but

 2    that's sort of going down the list.

 3          Q.      Anything else that you haven't mentioned

 4    that you recall that you would look at in deciding

 5    whether or not to credential a physician?

 6          A.      Recommendations, obviously, from -- you

 7    know, that goes without saying.             Previous history.

 8    We would query the other hospitals if the individual

 9    was on their -- it depends on their point in their

10    career.     If somebody's just out of residency, they're

11    not going to have a lot of previous experience or

12    experiential training outside of residency; but if

13    they were on staff at another hospital, you would ask

14    the hospital, Are they on staff, What level, Are they

15    in good standing.

16                  You'd like to get more, but that's sort of

17    all you're going to get.          You would probably also

18    query their health grades.           You know, there's a lot

19    of different things that would give some idea of some

20    feedback.

21          Q.      Anything in addition to that that you

22    would look at when deciding about privileging?                    If

23    you've just gone through all that for credentialing

24    an individual, how do you go about -- what do you

25    look at for privileging purposes?

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 1    need to -- cause I -- yeah, I've hired a lot of

 2    physicians, but what are you talking about from the

 3    HR perspective?

 4          Q.      So what I mean by that is have you ever

 5    been involved in in-taking paperwork from them with

 6    things like their Social Security number, getting

 7    them enrolled in benefits programs or whatever it

 8    might be, those sorts of Human Resources issues?

 9          A.      I -- to be honest, when I first started,

10    we didn't hire a lot of physicians.              We hired some ER

11    docs mainly in radiology because we gave them

12    exclusive privileges.         But I've always been at a

13    level where I didn't do -- I was above that.                 People

14    that did that reported to me -- reported to me.

15          Q.      Sure.

16          A.      And then the farther I got up, somebody

17    reported to me that somebody reported to them and

18    however long the chain was.           But did I physically

19    hand them certain things and check things?                No,

20    ma'am.

21          Q.      Okay.     So you weren't like running Social

22    Security numbers for the purpose of issuing a W-2 or

23    anything like that for taxpaying?

24          A.      No, I -- I wouldn't do that.            I never

25    have.    I know what it is; but, no, I didn't do that.

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 1          Q.      Sure.

 2          A.      We had people to do that obviously.

 3          Q.      And other than establishing before that

 4    you are a Ph.D., not an M.D., do you have any other

 5    medical clinical background?            Are you a nurse, a

 6    nurse practitioner, any of that type of thing?

 7          A.      None of the above.

 8          Q.      Okay.

 9          A.      I am not a clinician, and the only medical

10    care I've ever rendered to my kids, so -- and that is

11    questionable whether it was good or bad or

12    indifferent.      They're all alive, so I guess it was

13    okay.

14          Q.      We'll leave that for another deposition.

15          A.      Yes.

16          Q.      Have you ever attended any medical school?

17    Did you start and not finish?

18          A.      No.    I -- well, let me back up and say --

19    answer, too.      I've never been admitted nor applied.

20    Have I sat in on classes?           Yes.

21          Q.      Okay.

22          A.      Have I taught more classes than I sat in

23    on?   That is true.

24          Q.      On hospital administration?

25          A.      Well, statistical analysis, reading the

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 1    literature.      I wouldn't -- actually, it's more

 2    research perspective that I've lectured.                And I don't

 3    teach and haven't taught very many medical students,

 4    but I have taught attendings and residents more

 5    frequently, but, again, not in medicine.                Don't get

 6    me wrong.

 7                  So I've sat in on classes just to get a

 8    feel for it.      And like I said, I was at an academic

 9    medical center, that and UAB for almost 30 years.                 So

10    I've been around, but I've never -- I never would

11    teach medicine.

12          Q.      In the course of your career, have you --

13    that you know of -- ever come across any patients

14    treated by Dr. Akoda?

15          A.      Oh, no, ma'am.        I -- I can say I've never

16    even heard of him before this case.

17          Q.      And when I say Dr. Akoda, you understand

18    who I'm talking about and the doctor who is the

19    subject of the allegations in this lawsuit?

20          A.      Yeah.     I don't know what his real name is,

21    but -- you know, he's had three or four; but, yes,

22    that's one of them I -- I recall.

23          Q.      Can we stick with Dr. Akoda for today?

24    You'll understand who I'm talking about?

25          A.      Sure.

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 1           Q.     Did you do any evaluation of the medical

 2    records of any of the plaintiffs in this case?

 3           A.     No.    I don't think I was given any medical

 4    records.     I don't believe they're in there.              And if

 5    they were, they were attached just in a -- as an

 6    exhibit, but I don't recall any medical records at

 7    all.

 8           Q.     Did you do any statistical analysis of any

 9    of the outcomes of Dr. Akoda's patients?

10           A.     No, I have not.        I know that for a fact.

11    I haven't.

12           Q.     Did you do any sort of analysis of the

13    outcomes for Dr. Akoda's patients?

14           A.     No, ma'am, I have not.

15           Q.     I asked whether you had met or come across

16    any of Dr. Akoda's patients.

17                  I should also ask, have you ever come

18    across Dr. Akoda himself?

19           A.     Not that I recall.         Again, I've -- if

20    we've bumped into -- if it was a random occurrence, I

21    don't know, but I don't think so.

22           Q.     Do you have an understanding one way or

23    the other about whether he passed USMLE steps one and

24    two?

25           A.     My understanding is he ultimately did.

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 1                  Let me back up.        Ultimately, somebody

 2    passed them, and I'm not sure that it was him at all.

 3    So, again -- well, I'll say it that way.                So somebody

 4    passed using one of his names, or multiples of his

 5    names actually.

 6          Q.      Do you have any understanding that his

 7    medical school, the University of Benin, verified a

 8    diploma?

 9          A.      I don't know if I -- I think I saw

10    verification of several medical degrees, two from a

11    different school with different dates, by the way,

12    and one date not even shown on the diploma.                 And then

13    I don't -- again, they verified the name, maybe not

14    the person.

15          Q.      Do you know whether Dr. Akoda ever

16    finished a residency program?

17          A.      My understanding is one guy, I think

18    Akoda, finished the Howard's University OB/GYN

19    program.     But, again, I don't know who is what and

20    who's who in that -- in all the different names.

21          Q.      Do you know whether Dr. Akoda was board

22    certified in OB/GYN?

23          A.      There is a Dr. Akoda that became board

24    certified, yes.

25          Q.      Do you know anything about any medical

Golkow Litigation Services                                          JA2695
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 1    treatment or patients that Dr. Akoda may have treated

 2    in Nigeria?

 3           A.      In where?

 4           Q.      In Nigeria.

 5           A.      No, ma'am.      I don't think they were

 6    included, so I don't know of any.

 7           Q.      Do you know anything about the quality of

 8    medical care provided by Dr. Akoda?

 9           A.      No, not really.        I mean, I read that Stat

10    News, and that may have given me something, but I'm

11    not into the -- into the clinical aspect, so it's

12    really something I'm not going to spend a lot of time

13    with.

14           Q.      When you say Stat News, that was a

15    publication that you read from the Internet?

16           A.      Yes.    It was one of the ones I read and

17    the only one I printed.

18           Q.      Did you do any analysis of the

19    credentialing of Dr. Akoda by Prince George's

20    Hospital?

21           A.      No.    I don't think I saw the package or

22    the packet, the credentialing packet, credentialing

23    information file, whatever you want to call it, from

24    Prince George's Hospital.            Maybe it's Prince George's

25    County Hospital.         I forget the technical name.

Golkow Litigation Services                                           JA2696
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 1           Q.      You might be more precise than I am.

 2    Thank you.

 3           A.      I think "county" is in there.

 4           Q.      Have you ever issued opinions in any other

 5    case regarding credentialing at Prince George's that

 6    you can recall?

 7           A.      And that's in Maryland, right?

 8           Q.      Correct.

 9           A.      You know, I don't know if I have.              Maybe

10    in the past.       I can't tell you.

11                   MS. MCENROE:       You know, we've been going

12           about an hour.        How about we take a quick break?

13                   MR. HAYNES:       Sure.

14                   THE VIDEOGRAPHER:         We're now off the video

15           record.     The time is 10:46 a.m.

16                   (A recess was taken.)

17                   THE VIDEOGRAPHER:         We're back on the video

18           record with disc number two.            The time is 11:01

19           a.m.

20           Q.      (By Ms. McEnroe)        Dr. Hyde, you've never

21    applied to ECFMG for services, have you?

22           A.      You mean as being an international medical

23    graduate?

24           Q.      Correct.

25           A.      No, I have not, that is correct.

Golkow Litigation Services                                           JA2697
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  Case:2:18-cv-05629-JDW
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 1           Q.      And you've never been employed by ECFMG,

 2    correct?

 3           A.      That's correct.

 4           Q.      You've never been a member of ECFMG's

 5    Board of Trustees, correct?

 6           A.      Correct.

 7           Q.      And you've never been a member of the

 8    Medical Education Credentials Committee for ECFMG,

 9    correct?

10           A.      Likewise, correct.

11           Q.      You mentioned earlier this morning that in

12    certain instances you've come across ECFMG documents

13    when reviewing foreign medical graduates in other

14    settings, other expert cases, for example.                  Have you

15    ever interacted directly with ECFMG in connection

16    with any of those cases?

17           A.      The cases that I've looked at

18    forensically, or however you want to look at it, no,

19    I have not.

20                   I -- in the past, I think I've interacted

21    with them, but never in a -- under the auspices of a

22    case or litigation.

23           Q.      Can you tell me about those interactions,

24    please?

25           A.      We had a question years ago, somebody that

Golkow Litigation Services                                           JA2698
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 1    was later found out to be a non-medical graduate that

 2    was -- got in through ECFMG.

 3           Q.      What case was that?

 4           A.      Oh, it wasn't -- I don't know the case.

 5    It happened back in Kentucky back in the '70s or

 6    '80s, probably the '80s, but I can't tell you the --

 7    other than the fact that he was trying to come our

 8    way and we found out about it.

 9           Q.      Do you know if he was lying about ECFMG

10    certification?

11           A.      My understanding he was.           Had to do with

12    war torn unavailability of medical school

13    documentation.

14           Q.      And do you recall anything else about

15    those interactions with ECFMG back in the '70s or

16    '80s about this individual?

17           A.      Not really.       There may have been others

18    that I've contacted them about some questions about

19    things, but it's -- it's been very few and far

20    between.

21           Q.      When you say not really about recalling

22    anything else from the individual from the '70s or

23    '80s who you mentioned lied about ECFMG

24    certification, is there anything broadly that you

25    remember or anything specific that you remember?

Golkow Litigation Services                                           JA2699
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 1           A.      About that case?

 2           Q.      Yeah.

 3           A.      Yes, I think anesthesiology, I think

 4    everybody was after him including the federal

 5    government, I want to say Lebanon came into -- the

 6    country he was from, and I want to say that they

 7    found out.       He was a medic in the -- maybe the

 8    Lebanese Army or maybe it was another splinter group.

 9    It was probably the Beirut-Lebanon-type era where

10    there was finding and bombing.             I just remember that,

11    and it was in central Kentucky.

12           Q.      Do you recall believing that ECFMG had

13    done anything wrong or insufficient in that instance?

14           A.      At the time, no; but in retrospect, if

15    somebody is from a war-torn country -- it's like

16    people from Cuba.         They decided not to give those

17    people credentials, and all the ones I know of did

18    not become licensed in the United States.                 They had

19    to do a sub -- a sub level job even though they may

20    have been bona fide physicians or dentists.

21           Q.      Do you believe that bona fide physicians

22    from foreign locations where there are war issues

23    should not be able to become physicians in the

24    United States?

25                   MR. HAYNES:       Object to the form.

Golkow Litigation Services                                           JA2700
                                                                        Page 63
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 1    CEO of a smaller hospital.

 2           Q.      Tell me about that case.

 3           A.      Well, that was -- the individual lived in

 4    an adjoining or a couple counties over from us and

 5    wanted privileges and got a bad recommendation from a

 6    residency site, and then the residency site tried to

 7    rescind it, and I wanted to find out a little more.

 8    And, also, part of the process was, he was a foreign

 9    medical, graduate, or international, whatever it was

10    called at that time, I think FMG still 30 years ago.

11           Q.      Sure.

12           A.      And just called to see -- give me a little

13    about the training, and they wouldn't give me a lot,

14    but I was able to get some information from them.

15           Q.      Do you recall any other instances that

16    you've had direct contact with ECFMG throughout your

17    career?

18           A.      Direct, no, ma'am.         Indirect, yeah.

19    There's other that I've heard about and am

20    knowledgeable about.

21           Q.      Prior to your engagement in this case,

22    have you ever looked at ECFMG's policies or

23    procedures?

24           A.      I think I have because, again, we've had

25    cases -- or there have been plaintiff theories that

Golkow Litigation Services                                           JA2701
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 1    have looked at somebody's credentialing of foreign

 2    medical graduates or international medical graduates;

 3    and if that was part and parcel of the information

 4    that I was provided, I looked at that, and I've seen

 5    that before.       I'm trying to remember under what

 6    conditions, but I've seen -- I've seen their packet

 7    before.      I don't know if I'd seen 1996, but I've seen

 8    additional information.           And, also, you can pull it

 9    up on the website to get how they have classified

10    what they are, who they -- the irregular behavior's

11    available on the Internet and through their website,

12    so I've seen a lot of their policies over the years.

13           Q.      In written form?

14           A.      Yes.    I'm sorry.      Yes.

15           Q.      And when you refer to information, and you

16    talked specifically about 1996, were you talking

17    about the information booklet?

18           A.      Yes, ma'am.       The booklet that was maybe

19    Exhibit 1 to the Kelly -- Mr. Kelly's deposition.

20           Q.      Have any of your opinions in any other

21    case ever turned on the sufficiency of ECFMG's

22    policies or procedures?

23           A.      No, I don't think so.          And when you mean

24    turn, where I -- that was a pivotal issue and --

25           Q.      Correct.

Golkow Litigation Services                                           JA2702
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 1           A.      -- and conclusion?

 2                   You're right, no.

 3           Q.      Or something --

 4           A.      No -- no others.

 5           Q.      And -- or something that you looked at

 6    specifically to look at sufficiency of the policies

 7    and procedures of ECFMG?

 8           A.      Well, now that's a different question.

 9           Q.      Yeah.     I'm asking about that.

10           A.      Yeah, okay.       That's fine.

11                   I think that in the past the ones that

12    I've looked at I felt comfortable with.                 So I can

13    say, yes, I think -- because there were no irregular

14    behaviors or claims of irregular behavior or some

15    sort of falsification that I saw.

16           Q.      Do you know anybody who sits on the

17    Medical Education Credentials Committee of ECFMG?

18           A.      I haven't looked at the list of

19    individuals, so I don't know.             I don't think I do;

20    but if I go down a list, there may be people that I

21    recognize being around for 40 years in healthcare and

22    the medical training, academic medical center sort of

23    process, there may be some people I know of, but I

24    don't think so.

25           Q.      But sitting here today, you don't know of

Golkow Litigation Services                                           JA2703
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 1    knowing of anybody from Medical Education Credentials

 2    Committee?

 3           A.      That's correct, I do not.

 4           Q.      Have you ever appeared before the Medical

 5    Education Credentials Committee?

 6           A.      No, ma'am, I have not.          I haven't been

 7    asked to.

 8           Q.      We discussed credentialing and privileges

 9    a little bit earlier today, correct?

10           A.      I believe we have.

11           Q.      Yes.

12           A.      For quite a bit of time.

13           Q.      For quite a bit of time.           And so I just

14    want to make sure that I understand the flow of the

15    way that credentialing and privileging happens in the

16    healthcare industry from your perspective.

17           A.      Okay.

18           Q.      So an individual, regardless of whether

19    they graduate from U.S. or international medical

20    school, would apply to a residency program if that

21    was the path they were to take; that would be a first

22    step out of medical school, correct?

23           A.      Correct.

24           Q.      Okay.     And they would either get admitted

25    or not get admitted to the residency program based on

Golkow Litigation Services                                           JA2704
                                                                        Page 71
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 1    whatever criteria that residency program might have,

 2    correct?

 3           A.      Now, you started out saying credentialing.

 4    This is not credentialing.

 5           Q.      Sure.     I'm trying to understand the flow

 6    through --

 7           A.      Okay.

 8           Q.      And I will get to how credentialing fits

 9    in.

10           A.      Okay, yeah.       This -- this is not part of

11    the flow of credentialing what I'm trying to say.

12           Q.      Dr. Hyde, what would you characterize it

13    as?    I'm just trying --

14           A.      Well, that's --

15           Q.      -- to get the lifecycle?

16           A.      I'm sorry.      Credentialing and privileging

17    would be -- to be credentialed would be given the

18    right to practice medicine at a facility.

19           Q.      Sure.

20           A.      See, these individuals pre-residency are

21    not practicing anywhere, so they're not trying to get

22    privileges.       They're trying to get in the pipeline to

23    be able to get privileges at a later time.

24           Q.      So let's talk about the pipeline to get

25    credentials --

Golkow Litigation Services                                           JA2705
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 1           A.      Okay.

 2           Q.      -- if that sounds okay.           So someone would

 3    graduate from medical school?

 4           A.      Correct.

 5           Q.      And apply to a residency program,

 6    presumably through the match, usually, but there are

 7    other avenues as well.

 8           A.      Typically, the match; but, yes, there's

 9    other avenues.

10           Q.      And they would apply to those residency

11    programs, oftentimes including an interview, correct?

12           A.      They would apply, yes, ma'am.             Maybe

13    interview; maybe not.          Depends upon if they were a

14    high match or a low match.

15           Q.      And there could be all sorts of

16    application materials connected with the resident

17    applying to a residency program, correct?

18           A.      Sure, sure.       There -- there's quite a bit

19    of paperwork.

20           Q.      Yep.    And assuming that that individual

21    was lucky enough to get accepted into a residency,

22    they could choose to attend and participate in that

23    residency, correct?

24           A.      Correct.

25           Q.      And they would have some oversight of

Golkow Litigation Services                                           JA2706
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 1    their performance during the residency, correct?

 2           A.      They'd have a lot of oversight, not just

 3    some.

 4           Q.      Yep, okay.      And at some point during that

 5    residency, they might get a training license from a

 6    licensing board, correct?

 7           A.      It -- it depends upon the state.              You're

 8    right.      Some states do; some don't.

 9           Q.      Okay.     And that would involve applications

10    as well, right, to the licensing board?

11           A.      Yes, to the jurisdiction.           Typically, the

12    state licensure board.

13           Q.      And assuming that individual was

14    performing up to snuff, they -- they might complete

15    their residency program?

16           A.      Correct.

17           Q.      From the residency program, they might

18    apply to full licensure, correct?

19           A.      Correct.

20           Q.      Take step three and -- and get licensed,

21    correct?

22           A.      Yeah, take step three first, then get

23    licensed --

24           Q.      Yep.

25           A.      -- on their own, non-training status.

Golkow Litigation Services                                           JA2707
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 1           Q.      Right.     So full, unrestricted medical

 2    license?

 3           A.      Yes.

 4           Q.      And that would involve an application to

 5    licensing board --

 6           A.      Yes.

 7           Q.      -- as well, correct?

 8           A.      I'm sorry.      Yes, ma'am.

 9           Q.      Okay.     Then the individual could become

10    board certified in a specialty?

11           A.      They could if they were eligible.

12           Q.      Or they could go ahead and get a

13    fellowship or some other sort of employment as a

14    physician, correct?

15           A.      Correct.

16           Q.      Is this where we get to credentialing?

17           A.      Well, if you're going to say -- throw the

18    word hospital and privileges or healthcare facility,

19    then we'll get to credentialing and privileging.

20           Q.      Great, okay.

21           A.      All of this -- let me back up.             A lot of

22    this is doing credentialing; but when I think of

23    credentialing and privileging, I think specifically

24    with the healthcare entity.

25           Q.      Sure.     Like a hospital or a nursing home,

Golkow Litigation Services                                           JA2708
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 1    something of that --

 2           A.      Ambulatory surgical center, group

 3    practice, yes, ma'am.

 4           Q.      Urgent care or something like that?

 5           A.      Right.

 6           Q.      Okay.     So once that individual gets a full

 7    unrestricted license to practice medicine, if they so

 8    choose to go seek employment or affiliation with a

 9    hospital or a hospital-like entity, they would then

10    get -- get into the pipeline for credentialing

11    process; is that correct?

12           A.      Yes, ma'am.       Specific for privileges, yes.

13           Q.      Yeah, okay.       And all of this would be

14    before they would be laying hands on a patient in a

15    hospital without supervision as the medical --

16    treating medical doctor; is that correct?

17           A.      Let me back up.        There are instances

18    where, for certain things, the resident may not be

19    supervised, so they would be laying hands upon

20    patients.      There might be some retrospective amount

21    of evaluation, which there would be, but they can lay

22    hands on -- when you go through, one's PGY1s, first

23    year or the interns, they don't do a lot

24    independently.        Twos begin it.       Threes are finishing

25    up.    If they become a fellow, whatever year it is --

Golkow Litigation Services                                           JA2709
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 1    one, two, three -- they're going to do more

 2    independent work, but they're still -- even on --

 3    even through fellowship, there's going to be some

 4    modicum of supervision or a maximum of supervision on

 5    the first year.

 6           Q.      Sure.     Do you have any insight into what,

 7    if anything, Howard University Hospital did in

 8    evaluating whether Dr. Akoda should be accepted to

 9    their residency program?

10           A.      No, ma'am.      I haven't seen any

11    documentation at all from Howard University.

12           Q.      Have you seen any documentation regarding

13    any oversight or evaluation of Dr. Akoda's

14    performance during his residency?

15           A.      No.    That would be part of that, and I

16    haven't seen any of that, no.

17           Q.      And have you seen any documentation

18    regarding any hiring decisions by Prince George's

19    Medical Center?

20           A.      No.    I -- I didn't know that he was hired.

21    Maybe he was hired.          I -- I haven't seen any

22    credentialing or anything really of any consequence

23    from Prince George's County Hospital.

24           Q.      Okay.     Are you aware of a lawsuit

25    regarding Prince George's County Hospital and the

Golkow Litigation Services                                           JA2710
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 1    entity with legal responsibility for originating a

 2    document and ensuring the accuracy of the information

 3    it conveys?"       The prevailing definition of what a

 4    Primary Source Verification is supposed to be and

 5    what's the obligation of such.

 6           Q.      So that would be like if you were trying

 7    to primary source verify a diploma from the

 8    University of Benin, it would be the University of

 9    Benin that would tell you if it was valid or not?

10           A.      Yes, they're the -- the Primary Source

11    Verification is the entity that goes to the primary

12    source, which in your instance is exactly right,

13    would be the university itself.

14           Q.      The issuing university?

15           A.      Yes, the issuing granting university,

16    granted the degree.

17           Q.      Beyond that definition of the Primary

18    Source Verification, is it your opinion that

19    credentialing by Medicare Advantage organizations is

20    otherwise relevant to this case?

21           A.      No, it's not.       I mean, I just -- I was

22    asked different questions in our discussion and --

23    about -- it's sort of an educational thing.                  I mean,

24    I'm a professor, so I like to give people definitions

25    that don't come from Dr. Hyde.             They come from other

Golkow Litigation Services                                           JA2711
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 1    sources.      I know them, but I want them to see it, see

 2    the other sources.

 3           Q.      And then in your pile of documentation you

 4    brought, you have a copy of an article entitled,

 5    "Celebrating 50 years of experience: An ECFMG

 6    perspective," correct?

 7           A.      Yes, ma'am, written by at the time the

 8    president of ECFMG.

 9           Q.      Yes.    Dr. Hallock and Dr. Kostis.

10           A.      Yes.    I think the first one was the

11    president.       I forget what the number two was.

12           Q.      Correct.      He was the president and CEO,

13    Dr. Hallock.

14           A.      Yes.

15           Q.      So then the next document was

16    paper-clipped together?

17           A.      Yes, ma'am.

18           Q.      And I want to get an understanding of what

19    it is from you and where you got it.

20           A.      Sure.

21           Q.      So I'll hand it over to you, if you

22    wouldn't mind.

23           A.      Okay.

24           Q.      Let me know.

25           A.      Sure.     I had referenced the 2008 Manual

Golkow Litigation Services                                           JA2712
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 1    For Joint Commission About Medical Staff

 2    Credentialing --

 3           Q.      Yes.

 4           A.      -- for hospitals.         That was actually

 5    listed in my opinion.          And I found that -- I used to

 6    have going back 20 years all the hospital

 7    accreditation standard manuals from the Joint

 8    Commission; but, unfortunately, a few years ago I

 9    didn't have any old-old cases, so I threw some away.

10    So -- but that's the first one is from '08, and it's

11    about the process of medical staff credentialing and

12    privileging at a hospital and, also, the acceptance

13    of certain entities as Primary Source Verification or

14    CVO, Credential Verification Organizations, that

15    would be such as ECFMG.

16                   And then I ran across -- I did find an

17    older one, a 2004, again, Hospital Accreditation

18    Standards from the Joint Commission that actually

19    list out that the ECFMG is a primary source

20    designated CVO for foreign medical graduate

21    verification of their foreign medical school staff.

22    And then I did take -- or excuse me -- paper-clipped

23    these together just for -- I apologize, or to

24    whomever.

25           Q.      And I'm going to go ahead and mark these

Golkow Litigation Services                                           JA2713
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 1    two together as Exhibit 6, cause we were not able to

 2    find these documents in our library, so that we can

 3    keep them with the deposition transcript --

 4           A.      Sure.

 5           Q.      -- If that's okay.

 6           A.      And they're out of my -- I have the whole

 7    manuals, but I didn't bring them cause I don't want

 8    them made exhibits and lose them.

 9           Q.      Sure.     I appreciate it.

10           A.      But they're bona fide and -- I'll get it.

11                   (Exhibit 6 was marked for

12           identification.)

13           Q.      (By Ms. McEnroe)        Then next we have a copy

14    of your, it looks like resume that says

15    "Credentialing related factors" --

16           A.      Yes, ma'am.

17           Q.      -- at the top.        And it says handwritten,

18    "Old one.      New is updated to May 10th, 2018."

19           A.      Yeah.     I'm trying to remember if I updated

20    it mentally or if I -- if I did a new copy.

21           Q.      So this looks like sort of a cribbing of

22    your CV, if you want to take a look at it.

23           A.      Yeah.

24           Q.      It's a little bit more of a shorthand.

25                   MR. HAYNES:       I'm going to object.         Just

Golkow Litigation Services                                           JA2714
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 1    from a different publication.             This is a textbook

 2    that's out for master level healthcare administration

 3    students.      I authored a chapter in the book.              It's

 4    "Credentialing of healthcare providers."                 It's one of

 5    my publications.         I have five or six or more.            I

 6    can't -- I'd have to look -- on issues of

 7    credentialing.        And it's just -- well, I guess -- and

 8    the brag part becomes, the reason that the first page

 9    is on here, it's one of the text -- it's a textbook

10    that has been identified as the study guide for your

11    fellowship and attaining fellowship in the American

12    College of Healthcare Executives.              So that's the book

13    and I just --

14           Q.      I see.

15           A.      Yes.    And I'm not trying to brag too much,

16    but that's -- that is probably the most widely

17    accepted and adopted textbook in Human Resource

18    management in healthcare.

19           Q.      So you have a copy of this.            I'm going to

20    go ahead and mark that --

21           A.      Oh, I do.

22           Q.      -- if that's okay.

23           A.      You can have that.         I've got the book

24    itself, several copies of that.              That came out of --

25    that actually came out of ACHE, Healthcare Executive,

Golkow Litigation Services                                           JA2715
                                                                       Page 115
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 1    one of our weekly -- or, no, monthly publications

 2    and --

 3           Q.      So I see on this first page of what's now

 4    Exhibit 8, there is a picture of the book that has

 5    the cover and the second page; is that correct?

 6           A.      Yes, ma'am.

 7           Q.      Okay.

 8           A.      And I didn't do that.          I just -- I did the

 9    picture because I wanted you to see the book.

10           Q.      Sure.     I appreciate that.

11                   MR. HAYNES:       I know it's listed on his CV

12           in his publication, but because of its

13           relevance, we asked him to print a copy and

14           bring it here today for your convenience.

15                   MS. MCENROE:       I appreciate that.         Thank

16           you.

17                   (Exhibit 8 was marked for

18           identification.)

19           Q.      (By Ms. McEnroe)        Then it looks like there

20    are a couple of other documents from the Internet, so

21    I can move a little quicker through them.                 One of

22    them is the printout from the Joint Commission

23    Acceptance of AMA Physician Master File Data,

24    correct?

25           A.      Yes.

Golkow Litigation Services                                           JA2716
                                                                       Page 116
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 1           Q.      And you printed that off of the website?

 2           A.      I did.     I -- yes, ma'am, probably the AMA

 3    Master File website.          I think that's the source of

 4    that.

 5           Q.      Great.     And then you have a couple of

 6    printouts from the ECFMG website.              You have one,

 7    which is a document that has representative examples

 8    of irregular behavior?

 9           A.      Yes, ma'am.

10           Q.      You printed that off of ECFMG's website?

11           A.      I did, all of those.

12           Q.      And then there's another one -- another

13    document from ECFMG's website that looks like a

14    printout of the policies and procedures regarding

15    irregular behavior.

16           A.      Yes.

17           Q.      Correct?

18           A.      I did.     And that's where I got it, yes,

19    ma'am.

20           Q.      And then there's another document that's a

21    printout that is subject headed category, "Irregular

22    behavior," and then it has a subheading that says,

23    "USMLE takes action against individuals found to have

24    engaged in irregular behavior."              Is that correct?

25           A.      Yes.

Golkow Litigation Services                                           JA2717
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 1           Q.      And you printed out this as well from

 2    ECFMG's website?

 3           A.      I did.

 4           Q.      While I'm doing that, I'll make sure I get

 5    all ECFMG printouts.          I see one more that appears to

 6    be from ECFMG's website that has a portion on the

 7    Certification Verification Service for ECFMG --

 8           A.      Yes.

 9           Q.      -- correct?       And another one that just is

10    from a page that says, "Certification verification,"

11    is that correct?

12           A.      Correct.

13           Q.      And you printed these off of ECFMG's

14    website as well?

15           A.      I did, to establish they declare

16    themselves a primary source verifier.

17           Q.      A couple of other documents that I want to

18    make sure we're just clear for purposes of the record

19    what we have in your Redwell that you brought today.

20    You have a copy of Defendant's Disclosure of Expert

21    Testimony, which is revealing Dr. Fenichel and

22    Dr. Goldberg dated September 23rd, 2019?

23           A.      Yes.

24           Q.      And it looks like a copy of your expert

25    report, which we have marked as Exhibit --

Golkow Litigation Services                                           JA2718
                                                                       Page 118
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 1           A.      Four?     Three?

 2           Q.      -- 5?

 3           A.      Sorry, five.       Yes.

 4           Q.      So is this report here, this is the same

 5    as what we received; is that correct?

 6           A.      I believe so.       You printed it on two

 7    sides, and I didn't; but I think it's the same thing.

 8           Q.      That's fair, and it says --

 9           A.      It's the same date.

10           Q.      It says "filed" with an "E" after it.                Do

11    you see that?

12           A.      Yeah, E-filed.

13           Q.      Oh, E-filed.

14           A.      Electronically, I'm sorry, that's my --

15           Q.      Sure, that's fine.

16           A.      -- shorthand.

17           Q.      That's -- that's what your notation there

18    means?

19           A.      Yes, because they filed it electronically

20    with my signature, electronic signature.

21           Q.      Got it, okay.       And then it looks like a

22    printout from FSMB's website that says, "Credentials

23    verification process."

24           A.      Yes.

25           Q.      And you printed this off of FSMB's website

Golkow Litigation Services                                           JA2719
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 1    hospitals that he -- against ECFMG.               He perpetuated a

 2    lot of frauds.        I haven't counted them all up, but

 3    there's a lot of fraudulent -- and even he admitted

 4    it -- giving wrongful information to me that's

 5    fraudulent.       I'm not a lawyer.        So you hadn't asked

 6    me that; I'll tell you.           But to me, doing something

 7    that's illegal and unethical and untruthful is

 8    probably -- forget unethical.             That is untruthful

 9    would be fraudulent, but there's a lot of people.

10    Ultimately, it's the patients.

11           Q.      I'm going to direct your attention back to

12    Exhibit 5, which is your --

13           A.      Sure.

14           Q.      -- report.

15           A.      I'll get it.

16           Q.      So you can set the other exhibits aside.

17           A.      I'll put these in order and then pull out

18    five.     I've got it.

19           Q.      Prior to this case, had you ever had any

20    involvement with or come across any allegations of

21    irregular behavior?

22                   MR. HAYNES:       Object to the form and

23           foundation.       You mean like in life?

24                   MS. MCENROE:       Yeah.

25                   MR. HAYNES:       Any irregular behavior?

Golkow Litigation Services                                           JA2720
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 1                   MS. MCENROE:       Yeah.    I'm using it as a

 2           defined term as you use it in your report,

 3           right.     So I'm going to go with, ECFMG has a

 4           definition of irregular behavior.              I can restate

 5           the question if your counsel would prefer.

 6           Q.      (By Ms. McEnroe)        Have you ever come

 7    across any allegations or investigations that you

 8    know of by ECFMG pertaining to irregular behavior

 9    prior to this case?

10                   MR. HAYNES:       Okay.

11                   THE WITNESS:       I've had knowledge.         I've

12           read things, sure, in the past.             Have I been

13           involved in those cases?           No, ma'am.

14           Q.      (By Ms. McEnroe)        Okay.

15           A.      But I'm aware of that term.            And at first

16    I thought irregular behavior any time.                And, yeah, we

17    have that.       We're humans.       There's irregular

18    behavior.      But I have never had a case where that's

19    been an issue, but I'm aware of the terminology.                    And

20    I'm also aware of sort of the importance, or the

21    import of that from a standpoint of what does that

22    lead to and what's its consequence or outcome.

23           Q.      What do you mean by that?

24           A.      Well, you can have irregular behavior that

25    the individual gave the wrong -- I think he said the

Golkow Litigation Services                                           JA2721
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 1    birth date was wrong because his medical school had

 2    the wrong birth date.          Well, that -- that's sort of,

 3    Okay, that's -- that's a no-brainer.               Yes, that's

 4    irregular, but what does it really mean?                 Somebody

 5    screwed up on the paperwork, if that was all.                   So

 6    that could be one of those instances of irregular

 7    behavior that, yes, it's a technical -- it's like an

 8    E -- EMTALA violation.           There could be technical

 9    EMTALA violations that really have no effect on

10    anybody, but, technically, that was a violation.

11           Q.      What kind of violation were you just

12    saying?

13           A.      EMTALA, E-M-T-A-L-A.

14           Q.      What is that?

15           A.      The Emergency Medical Treatment and Labor

16    Act -- Active Labor Act.

17           Q.      You mean in a physician giving treatment

18    to a patient?

19           A.      No, no.

20                   Okay.     Let me -- let me tell you what that

21    is.    Emergency Medical Treatment Active Labor Act,

22    that is the federal guidelines on -- it started out

23    on dumping hospitals that would -- somebody would

24    come into the ED either emergent or pregnant, you

25    know, sort of in the last stages or, you know, the

Golkow Litigation Services                                           JA2722
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 1    now you see it differently than how it was seen

 2    contemporaneously, right?

 3                   MR. HAYNES:       Object to the form.

 4           Misstates testimony.

 5                   THE WITNESS:       No.    The contemporaneous

 6           part was when he apply -- when he was in an

 7           appeals process with ECFMG and admitted lying on

 8           different things, too.           So it had nothing to do

 9           with his subsequent conviction of tax evasion or

10           whatever the -- I don't know what it was, his

11           federal conviction and time served.

12           Q.      (By Ms. McEnroe)         Right.    So that

13    admission and that appeals process where he showed up

14    and he admitted to -- lied, that was just with

15    respect to the identity for which ECFMG found to have

16    been irregular behavior three or four times, correct?

17    That was not the Akoda identity?

18           A.      That was -- see, other than the fact

19    that -- let me think.          There was an e-mail from Kelly

20    that went to Oluwafemi that came back answered by

21    Akoda.      So it's like --

22           Q.      Right.

23           A.      -- the Akoda name does come into it.

24                   MR. HAYNES:       Let him finish.

25                   MS. MCENROE:       I'm letting him finish.

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 1           Q.      (By Ms. McEnroe) Go ahead.

 2           A.      I'm saying the -- the Akoda name does come

 3    into it.

 4                   Now, you asked me a question.             I don't

 5    know, technically, if when he was in front of the

 6    ECFMG committee July 10th, '96, I -- but he says his

 7    name now is Charles, comma, Igberase Oluwafemi.                     He

 8    didn't say Akoda.         You're right.

 9           Q.      Right.     And -- and so the e-mail that you

10    raised having gone to one but coming back from the

11    other --

12           A.      Yeah.

13           Q.      -- that was an issue that Bill Kelly

14    identified contemporaneously, right?

15           A.      Yeah.     He didn't do anything about it.

16           Q.      But he --

17           A.      Okay, I'm sorry, he did.

18           Q.      Go ahead.

19                   MR. HAYNES:       Go ahead.     Were you finished?

20                   THE WITNESS:       I wasn't finished, no.            I'm

21           sorry.     We keep on -- I'm trying to pause

22           and --

23           Q.      (By Ms. McEnroe)        Go ahead.      You can

24    finish your answer.

25           A.      Okay.     The point is that that came back

Golkow Litigation Services                                           JA2724
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 1    contemporaneously as it wasn't the conviction at all

 2    that sort of lets us Monday morning quarterback.

 3    We're going back, and I'm looking at things that were

 4    submitted by him contemporaneously, that, also,

 5    knowledge of taking the test without the proper

 6    identification, you know, false testing as -- I mean,

 7    all we have to do is look at Hollywood and getting

 8    into some exclusive schools to see what -- and people

 9    can violate the -- the testing protocols.

10                   So I think that there's a lot of

11    contemporaneous information that I would have not

12    allowed him to go any further, to be honest.                  He

13    would have been permanently revoked, and I wouldn't

14    give him a five-year revocation, then let this start

15    over again because that in and of itself sets us

16    where we are today.

17           Q.      Have you ever been in a position where

18    anyone looked to you to set the outcomes of findings

19    of irregular behavior by ECFMG?

20           A.      Oh, by ECFMG?       No, ma'am.      This is the

21    first.      I mean, the first time that I've been

22    involved with a case that I found that there was

23    irregular -- not only irregular behavior on the part

24    of the applicant, but also very much irregular

25    behavior upon the part of ECFMG.

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 1           Q.      And the hospital would play no role in

 2    terms of having the Social Security number and

 3    knowing that that was a real Social Security number

 4    for that physician?

 5           A.      That's correct.        And you're talking about

 6    practicing physicians outside of residency and

 7    everything?

 8           Q.      Correct.

 9           A.      Yes, yeah.      They would have no -- unless

10    they were employed by the hospital, because they're

11    independent -- you know, by and large, they're

12    independent if they -- let me say, by and large, if

13    they're independent, their income is coming from a

14    tertiary source, secondary source, not primary from

15    the hospital.

16           Q.      Do you know how, if at all, Dr. Akoda was

17    paid by Prince George's?

18           A.      I don't know if he was an employee or not.

19    I don't know.        If he submitted and they found out --

20    oh, Prince George's.          No, I don't.       Let me just say I

21    don't.

22           Q.      I'd like to direct your attention to page

23    4 of your expert report.

24           A.      Okay.

25           Q.      At the very top, there's paragraph number

Golkow Litigation Services                                           JA2726
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 1    12.    Do you see that?

 2           A.      Yes.

 3           Q.      And it says, "To obtain a license to

 4    practice medicine in Maryland, Akoda was required to

 5    submit, among other essential components, a valid

 6    ECFMG certificate."          Do you see that?

 7           A.      I do.

 8           Q.      What do you mean by "other essential

 9    components"?

10           A.      Well, he would have to -- when he was

11    getting licensed to practice, he'd have to give

12    residency information.           We can look on the form, it's

13    here, that shows the other vital information.                   Let me

14    get that.

15           Q.      Is that the Maryland document we --

16           A.      Yes, ma'am.

17           Q.      And I do believe we marked that one as an

18    exhibit.

19           A.      Oh, okay.      We're up to 15.        I've lost sort

20    of -- other information, vital personal information,

21    chronology of activities after graduating medical

22    school, all the information about medical education.

23    Then it says, "Graduates of foreign medical school, a

24    copy of valid ECFMG certificate, a copy of my medical

25    school diploma and a certified translation."                  Also,

Golkow Litigation Services                                           JA2727
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 1    he has other -- there's probably another dozen things

 2    that -- that he has to apply, so that's among others.

 3           Q.      Could you -- could you -- for the "among

 4    others," could you read in what the other dozen

 5    things are?

 6           A.      Okay.     "I have completed part one of IML-2

 7    verification of education English language

 8    instruction form and sent a copy to the information

 9    institution from which I received my medical degree.

10    I have listed all postgraduate training I have

11    undertaken in the U.S.           I've listed all medical

12    licensure examinations I have ever taken and

13    requested transcripts from the appropriate

14    administering authority.           I've listed every license

15    registration I have ever been issued in the U.S."

16                   Also, it says, "I do not have to take the

17    special purpose exam.          I have answered all character

18    and fitness questions explained by yes.                 I have

19    attached a two by -- two-inch-by-two-inch passport

20    quality color photograph."            He's read all the

21    statements and he has to sign and date, send in

22    money.      And then if there's any supporting

23    documentation, he has to have it -- application

24    signed and notarized.          And then he also has to have a

25    criminal history records check.

Golkow Litigation Services                                           JA2728
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 1                   Those are all the checklist things that

 2    you need in the State of Maryland for a medical

 3    license.

 4           Q.      Do you know one way or the other whether

 5    the State of Maryland primary source verifies foreign

 6    graduate -- sorry.         Sorry, start that one --

 7                   Do you know one way or the other whether

 8    the Maryland medical licensing board primary source

 9    verifies medical diplomas of foreign medical

10    graduates?

11           A.      Do the -- they don't -- they ask for a

12    certificate, so there's no statement.                No, they don't

13    primary source verify that.            That's up to ECFMG.

14           Q.      Well, I'm asking:         Do you know that for a

15    fact that they do not?

16           A.      I just read the application, and it says

17    that they want a copy of the certificate so --

18           Q.      Correct.      They want a copy of the

19    certificate.       They also want copy of the medical

20    diploma --

21           A.      Right.

22           Q.      -- and a certified translation, correct?

23           A.      Yes.    And they don't -- they do not say

24    that they're going to verify.             Do I know that they

25    turn around and verify that?             I don't know, but I'd

Golkow Litigation Services                                           JA2729
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 1    be surprised if they even thought about doing it

 2    because that's what EC --

 3           Q.      So you don't know?

 4           A.      Well --

 5                   MR. HAYNES:       You're interrupting him,

 6           counsel, several times.

 7                   THE WITNESS:       Yeah.

 8                   MR. HAYNES:       You're not letting him finish

 9           his answers.

10                   THE WITNESS:       The point I know is that

11           ECFMG is a Primary Source Verification entity,

12           so there's no need for anybody else to do it.

13           Q.      (By Ms. McEnroe)        Right.     But that's not

14    an answer to my question.

15           A.      All right.

16           Q.      So my question is:         Do you know one way or

17    the other whether Maryland primary source verifies

18    themselves foreign medical graduates diploma?

19           A.      Well, I'm led to believe they don't based

20    upon the application itself.

21           Q.      Do you know?

22           A.      Well, I'm led to believe.           Do I know?       I

23    don't know yes or no.          But I know what ECFMG should

24    do, and I know what the application I just read into

25    the record states.

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                       John Charles Hyde, Ph.D.

 1           Q.      Okay.     Going back to page 4 of your

 2    report.

 3           A.      Sure.     Which one now?

 4           Q.      Paragraph 18.

 5           A.      Okay.

 6           Q.      It says, "Mr. Akoda ultimately entered

 7    into a plea bargain agreement and pled guilty to

 8    Social Security fraud on November 15, 2016."

 9    Correct?

10           A.      Yes, ma'am.

11           Q.      Then the next paragraph 19 says, "In the

12    spring of 2017, Mr. Akoda's license to practice

13    medicine in Virginia and Maryland was revoked."                     Did

14    you see that?

15           A.      I did.

16           Q.      Okay.     Do you have any sense of what ECFMG

17    did following Dr. Akoda's guilty plea?

18           A.      I would have to look at the packet if

19    ECFMG permanently revoked.            I'm thinking they did.

20    I -- I can't recall that.            If you give me a page,

21    I'll go to it.

22                   (Exhibit 16 was marked for

23           identification.)

24           Q.      (By Ms. McEnroe)        Dr. Hyde, I'm handing

25    you what I've marked as Exhibit 16.

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                  Exhibit 7




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             Jerry Williamson, M.D., F.A.A.P., M.J., CHC., LHRM
              24 Falconwood Court Fort Myers, Florida 33919


Expert Report: Jerry Williamson M.D. FAAP. MJ.CHC.LHRM
September 22, 2019
Re: Monique Russell, Jasmine Riggins, Elsa Powell, Desire Evans v. Educational Commission
for Foreign Medical Graduates
The following report is supported by over 40 years of both formal education and experience as
a physician and administrator. My formal education accomplishments include my degree as a
Doctor of Medicine, my master’s in healthcare jurisprudence, and certifications in healthcare
compliance and risk management. I have practiced clinical medicine in my specialty, pediatrics,
in which I am Board Certified.
I have held administrative positions as a Chief Medical Officer, Medical Director, and Vice
President for Medical Affairs in both the ambulatory and inpatient settings. In these positions I
served on and chaired credentialing committees. Based on my experience in these roles, I
became knowledgeable concerning the primary source credentialing process of the ECFMG, as
it applies to the standard of care. In 2005, as CMO and Director of the Biomedical Informatics
Program, I directed the implementation of an EMR for an FQHC, assisting in the development of
policies and procedures. During this period, I was Co-Medical Director of the Community Health
Center Alliance Electronic Medical Record Clinical Committee. This committee assisted other
organizations in their development and implementation of EMR’s. I also served as a Meaningful
Use Clinician Champion to The Center for the Advancement of Health Information Technology,
a Regional Extension Center in Florida.
I have been a national speaker for the past 25 years, with a focus on patient safety,
communication inadequacies in health care, and the prevention of medical errors. My roles
have included Clinical Instructor in the Department of Pediatrics, University of South Florida
College of Medicine, Clinical Assistant Professor in the Department of Pediatrics at NOVA
Southeastern University, College of Osteopathic Medicine, Clinical Associate Professor of
Physician Assistant Sciences, College of Allied Health, NOVA Southeastern University, Clinical
Assistant Professor of Pediatrics, and Clinical Clerkship Training Coordinator at The Florida State
University College of Medicine, and Clinical Assistant Professor at the Florida State University
College of Medicine, Department of Clinical Sciences, Family Medicine Residency Program. In
2012, I was the Recipient of the “Heroes in Healthcare Award” for Administrative Excellence in
Healthcare, from the Naples Daily News.




1

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I had the opportunity to review the following documents that were provided to me from the
law firm Janet, Janet & Suggs:

    •   Kara Corrado, 09/10/2019 Deposition Transcript with Exhibits 1-9
    •   William C. Kelly 08/20/2019 Deposition Transcript with Exhibits 1-53
    •   Class Action Civil Complaint and Exhibits
    •   Stephen S. Seeling 09/06/2019 Deposition
    •   Timeline of Events
    •   1996 Information Booklet ECGMG
    •   Answer to Class Action Civil Complaint and Affirmative Defenses
    •   Defendant’s Objections and Responses to Plaintiffs’ Requests for Admissions of Facts
        and Genuineness of Documents
    •   Defendant’s Objections and Responses to Plaintiffs’ Second Requests for Admissions of
        Genuineness of Documents
    •   USMLE Letter (02-05-18); ECFMG Credentials Committee Document (11-30-16); U.S. DOJ
        Plea Agreement with Attachment A-Stipulated Facts; ECFMG Irregularity Report (09-
        1992) and Sanctions Update (11-30-16); ECFMG Press Release re: Launching Electronic
        Verification of Medical Credentials
    •   ECFMG emails


Summary of Facts:
    1. Credentialing of healthcare practitioners is a screening process verifying that a
       physician is who he/she claims to be, and qualified to practice his or her profession. The
       process ensures that physicians have the education, knowledge, and competence to
       provide quality patient care. This is accomplished by obtaining the physician’s essential
       information using primary source verification, to determine the accuracy of a
       qualification or documents reported by a physician. If the process fails for whatever
       reason, patient safety and quality is compromised, and patient harm may result. Primary
       source can be accomplished via direct correspondence, telephone and computer
       verification, and reports from credentials verification organizations. Credentialing
       organizations must be aware of any red flags, and immediately investigate them to
       avoid serious consequences.

    2. The Educational Commission for Foreign Medical Graduates (ECFMG) is an organization
       that credentials international medical graduates for residency opportunities in the
       United States providing they have met all the requirements. This includes verifying

2

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       successful completion of medical school, and passing standardized examinations
       administered by the United States Medical Licensing Examination (USMLE), a Clinical
       skills Assessment Examination, and an English Test to determine competency in English.

    3. Utilizing primary source verification, ECFMG documents the authenticity of the
       applicant’s diploma, the medical school transcript, and any letters of recommendation.
       Once this process is successfully completed, ECFMG will provide the applicant a
       certificate of completion. Once the applicant begins applying to residency programs ,
       ECFMG acts as “the deans office” (See Deposition William Kelly) and provides the
       residency program with a status report.

    4. In 1991, Olufafemi Charles Igberase came to the U.S. from Nigeria, and submitted an
       application to ECFMG for certification. Over the next several years he used false
       identities, false social security numbers, false birthdates, false diplomas, and a false
       passport to obtain ECFMG certification.

    5. In 1996, a third application was submitted by Igberase to ECFMG under the alias of John
       Charles Akoda. His application was accepted, so in 1998 after receiving ECFMG
       Certification, he applied for a residency position at Jersey Shore Medical Center (JSMC)
       and was accepted under the name John Charles Akoda and began his residency in July
       1998.

    6. During an on-site meeting in September 2000 at ECFMG’s office, Akoda admitted to
       William Kelly, Manager of the Medical Education Credential Department at ECFMG, that
       he used Igberase’s social security number. Approximately three months later, JSMC
       advised ECFMG that Akoda was dismissed from their residency program for using a false
       social security number and false green card.

    7. In 2006 Igberase applied and secured a residency at Howard University Hospital under
       the Akoda alias, using a false social security number. He completed his residency at
       Howard Hospital in 2011, and he applied for a Maryland license using the name Charles
       John Nosa Akoda. The information provided to the Maryland Licensing Board included a
       fake social security number, and fake passport.

    8. In 2011 he became a staff member at Prince George’s Hospital Center and began patient
       care in November 2011 under this fraudulent identity. The following year he was denied
       enrollment in The Center for Medicare and Medicaid Services (CMS) due to submitting
       an inaccurate social security number. While using the Akoda name, he practiced
       obstetrics and gynecology from 2008 through 2016. This included a private practice
       setting as well as employment with Dimensions Healthcare Associates.


3

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    9. In June 2016, law enforcement conducted a search at Igberase’s residence, medical
       office, and vehicle. They found a variety of fraudulent and altered documents. In
       November 2016, he signed a plea agreement admitting to misuse of a social security
       number.

    10. The following month ECFMG revoked Akoda’s certification. In March 2017, he was
        sentenced by the U.S. District Court for the District of Maryland. This resulted in the
        termination of his staff privileges at Prince George’s Hospital, and the revocation of his
        Maryland license based upon his felony conviction.

    11. The current class action lawsuit is based on allegations that Igberase performed
        inappropriate physical examinations of a sexual nature on women, creating boundary
        violations.
    12. The key question that must be resolved is whether ECFMG’s actions or failure to act
        resulted in foreseeable injuries or damages to Class Members.

    Analysis of Facts and Opinion:

    1. ECFMG in its Subject Notice #101 dated March 1, 2017-Irregular Behavior Cases and
       Associated Actions & Sanctions states the following:
       The educational Commission for Foreign Medical Graduates (ECFMG) of the United
       States works on behalf of domestic and International medical regulatory authorities to
       protect the public through its programs and services, including primary source
       verification of physician credentials. ECFMG considers all actions or attempted actions
       taken to subvert its processes, programs, or services to be Irregular behavior.

    2. The 1996 ECFMG Certification and Application Information Booklet addresses the issue
       of Irregular Behavior. It states that: Irregular behavior includes all actions on the part of
       applicants and/ or examinees, or by others when solicited by an applicant and/or
       examinee, that subvert or attempt to subvert the examination process. It describes
       specific examples of irregular behavior and includes falsifying information on application
       or registration forms; This booklet is provided to all the applicants seeking ECFMG and
       USLME certification.

    3. Accrediting organizations such as the Joint Commission has stated the following:
       The Joint Commission, the organization that evaluates and accredits U.S. health care
       organizations and programs, has determined that direct verification with ECFMG of a
       physician’s certification status satisfies The Joint Commission’s requirement for primary-
       source verification of medical school completion for graduates of international medical
       schools. ECFMG’s Certification Verification Service (CVS) provides this primary-source
       confirmation of an individual’s ECFMG certification status to medical licensing
4

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       authorities, residency programs, hospitals, or other organizations that, in the judgment
       of ECFMG, have a legitimate interest in such information.

    4. There are several regulatory organizations including the Maryland Board of Physicians
       and numerous hospitals including Howard University Hospital and Prince George’s
       Hospital Center that rely and trust the judgements of the ECFMG. Therefore, in this
       case, ECFMG owed a duty to the residency programs and the state licensing agencies to
       comprehensively review an application for certification. When ECFMG learned that
       Igberase was using a false social security number, and he admitted to doing so, it was
       imperative that they act as a prudent credentialing organization and comprehensively
       investigate this physician’s background. .

    5. ECFMG had a duty to determine whether the documents provided by Igberase and his
       aliases strongly suggested that Igberase and Akoda was one in the same individual.
       ECFMG breached that duty by failing to learn and appropriately act on that information.

    6. There were several opportunities for ECFMG to intercede, still they breached the
       standard of care in the following ways:

       a. When Igberase had a face to face meeting at ECFMG in September 2000 and
          provided a false passport. ECFMG failed to authenticate the document.

       b. ECFMG failed to act when they learned that he misused his social security number.

       c. ECFMG neglected to compare the photographs in Igberase and Akoda’s application.
          That would have confirmed they were the same person.

       d. ECFMG requested confirmation to authenticate three alleged letters of reference
          provided by Akoda, and the parties never returned a response. Nonetheless, ECFMG
          provided primary source verification to Howard University Hospital.

       e. ECFMG provided primary source verification to the Maryland Board of Physicians
          and Prince George’s County Hospital without notifying them of their doubts
          surrounding Akoda’s identity and credentials.

    7. The December 22, 2000 Memorandum for the file From William Kelly to Stephen Seeling
       J.D. is difficult to comprehend . It was created as a memorandum for the file since
       William Kelly believed it should not be part of the official file. The memorandum was
       based on his discussion with James McCorkel M.D., Vice President for Academic Affairs,
       at the Jersey Shore Medical Center Residency Program. Dr. McCorkel believed Igberase
       and Akoda were one an the same person. Mr. Kelly confirmed he believed this as well
5

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       but stated in the Memorandum that he does not believe there is enough information for
       the Credentials Committee. He goes on to say I sent Igberase an email and who should
       reply, but Akoda!

    8. As stated previously, ECFMG has many organizations that rely on their information and
       trust they are receiving accurate information when making decisions based on the
       information they receive from ECFMG. Not including critical information in the official
       file, places these organizations at a disadvantage. Another example of ECFMG’s failure
       to act in a reasonable and prudent manner.


    9. By not being more assertive in their investigation in this matter, and not escalating their
       concerns to their Credentialing Committee, ECFMG certified Acoda and assisted him in
       his acceptance to the Howard University residency program. Additionally, this permitted
       him to obtain a Maryland License to practice medicine and obtain privileges at Prince
       George’s Hospital. Unfortunately, ECFMG’s failure to act in a reasonable and prudent
       way permitted Acoda to practice medicine and increase the risk of harm to the plaintiffs
       in this class action lawsuit, and perhaps others.

    10. It was not until December 2016 when ECFMG revoked Akoda’s certificate (0-482-700-2)
        based upon his plea agreement with United States, citing the same conduct Igberase
        had admitted to in 2000. ECFMG’s failure to properly investigate the matter, directly
        resulted in foreseeable injuries to Igberase/Akoda’s patients.

    11. ECFMG had a duty to its aforementioned clients, including medical licensing authorities,
        residency programs, hospitals, and others. However, ECFMG’s failure to act in a
        reasonable and prudent manner directly impacted patient safety. Patients have a right
        to receive medical treatment from physician’s who have obtained ECFMG certification
        legitimately, not through falsities and misrepresentations.




Conclusion:
There were several missed opportunities to address the many irregularities in the
Igberase/Acoda applications. Unfortunately, these missed opportunities, permitted this
unqualified individual with multiple fraudulent identities to practice medicine for years. ECFMG
breached its duty to its aforementioned clients, including medical licensing authorities,
residency programs, hospitals, and others. Additionally, ECFMG’s failure to act in a reasonable
and prudent manner directly impacted patient safety.


6

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Disclaimer:

My conclusions are based on the information that | was able to review, that was provided to
date, and | reserve the right   to change my opinions   based on any additional information that |
receive.




Respectfully,


       NN
 pryWii         son M.D. FAAP,MJ,CHC, LHRM




                                                                                   JA2739
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                   Exhibit 8




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                         Jerry Williamson, M.D.

 1                  IN THE UNITED STATES DISTRICT COURT
 2                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3
 4          _________________________
            MONIQUE RUSSELL, JASMINE )
 5          RIGGINS, ELSA M. POWELL, )
            and DESIRE EVANS,              )   CIVIL ACTION NO.
 6                                         )   18-5629
                        Plaintiffs,        )
 7                                         )
            vs.                            )
 8                                         )
            EDUCATIONAL COMMISSION         )
 9          FOR FOREIGN MEDICAL            )
            GRADUATES,                     )
10                                         )
                        Defendant.         )
11    ______________________________)
12
13                VIDEO DEPOSITION OF JERRY WILLIAMSON, M.D.
14                DATE TAKEN:           Friday, November 22, 2019
15                TIME TAKEN:           10:00 a.m.
16                PLACE TAKEN:          9501 Market Place Rd.
                                        Fort Myers, FL
17
                  ON BEHALF OF:         Defendant
18
                  REPORTER:             Wanda Jackson,
19                                      Court Reporter
20
21
22
23
24
25

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 1    question before you respond.         If you do not let me know

 2    that you do not understand that question, I will assume

 3    that you do, is that fair?

 4          A.     Fair.

 5          Q.     If you ever want me to restate a question, just

 6    let me know and I am happy to do so.           Okay?

 7          A.     Okay.

 8          Q.     And as we discussed before we came on the

 9    record, if at any time you need to take a break, that is

10    just fine.     No problem at all.       Just let me know and we

11    will go off the record.        I do ask though, if there is a

12    question pending, unless there is an issue of privilege

13    that you need to discuss with counsel, that you answer

14    whatever question is pending before we take a break.                Do

15    you understand?

16          A.     I do.

17          Q.     Do you understand you are here today as an

18    expert witness on behalf of the Plaintiffs in the lawsuit

19    filed against the Educational Commission For Foreign

20    Medical Graduates?

21          A.     Yes.

22               MS. MCENROE:      I am going to hand you what I have

23    marked as Exhibit 1, which I am marking really for the

24    purposes of the record.

25                  (Thereupon, Exhibit 1 was marked for

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 1    identification.)

 2    BY MS. MCENROE:

 3          Q.     This is your notice of deposition for your

 4    deposition today.       Have you seen this before (indicating)?

 5          A.     Yes, I have.

 6          Q.     And are you appearing pursuant to this

 7    deposition notice?

 8          A.     Yes.

 9          Q.     Have you testified in any case as an expert

10    witness in the last four years?

11          A.     No.

12          Q.     When was the last time you served as an expert

13    witness?

14          A.     Many years ago.      I -- I can't give you a

15    specific -- probably about 12, 14 years ago,

16    approximately.

17               MR. THRONSON:      Counsel, I am sorry.       Do you mean

18    testified or just retained?

19               MS. MCENROE:      Testified.

20               MR. THRONSON:      Okay.    Okay.

21          A.     12, maybe 14 years ago.

22    BY MS. MCENROE:

23          Q.     Great.    And do you remember the subject matter

24    of that case?

25          A.     It was clinical.      It was pediatrics, but I don't

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 1    recall the specifics of it, no.

 2          Q.     And did you testify at a trial or at a

 3    deposition in that case?

 4          A.     Both.

 5          Q.     And then I presume that the other two or three

 6    times that you served as an expert was prior to that?

 7          A.     Correct.

 8          Q.     And for those, did you testify just at a

 9    deposition or also at a trial, do you recall?

10          A.     I don't recall.

11          Q.     Do you recall generally the subject matter of

12    those other testimonies?

13          A.     They were all clinical.

14          Q.     And when you say clinical, do you mean medically

15    clinical?

16          A.     Correct.

17          Q.     Did any involve the Educational Commission For

18    Foreign Medical Graduates?

19          A.     No.

20          Q.     Did any, to your recall, involve foreign medical

21    graduates or international medical graduates?

22          A.     I don't recall.

23          Q.     In terms of cases in which you served as an

24    expert and provided an expert report but did not testify,

25    do you recall when you most recently did that prior to

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 1    this case?

 2          A.     That would have been -- well, there were -- I am

 3    trying to remember the case now.          That would have been

 4    a -- yes.     It would have been a fair hearing case where I

 5    provided an expert report.

 6          Q.     When was that?

 7          A.     Within the last year, perhaps a year and a half.

 8          Q.     When you say a fair hearing case, what do you

 9    mean?

10          A.     A fair hearing at a hospital for a physician.

11          Q.     And just very briefly, what kind of

12    circumstances is it that a physician has a fair hearing

13    case?

14          A.     Yeah.   The circumstances were a physician who

15    was dismissed from -- from the hospital for reasons that

16    we are not in agreement with.

17          Q.     And are you on the side of the doctor or on the

18    side of the hospital?

19          A.     Physician, yes.

20          Q.     Prior to that, do you recall when you last

21    served as an expert?

22          A.     That was also a fair hearing case that is

23    pending and very, very similar circumstances in a

24    different city and state.

25          Q.     Are you on the side of the physician or the

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 1    hospital?

 2          A.     The physician.

 3          Q.     And prior to that?

 4          A.     Well, there was another fair hearing case.

 5          Q.     I am getting a sense of a pattern here.           Go

 6    ahead.

 7          A.     And this was a physician in a very similar type

 8    of situation.      And I was -- provided an expert report for

 9    the physician.

10          Q.     And prior to that?

11          A.     It was a credentialing case -- now, these are

12    all within the past four years.          I may not be giving them

13    to you in any particular order.

14          Q.     Okay.

15          A.     But they are all within the past four years.

16          Q.     I appreciate that.

17          A.     It was a negligent credentialing case where I

18    provided a report for the Plaintiff.

19          Q.     When you say negligent credentialing, of whom?

20          A.     Negligent credentialing of a hospital.

21          Q.     By a hospital but of whom?

22          A.     When you say of whom, I am not sure I understand

23    the question.

24          Q.     Who was the hospital negligent in credentialing?

25          A.     Was negligent in credentialing one of their

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 1    nurses.

 2          Q.     A nurse?

 3          A.     Yes.

 4          Q.     And is that the Cane versus Memorial Hermann

 5    Health Systems case?

 6          A.     Is that Texas?

 7          Q.     That is from -- yes, the District Court of

 8    Texas, the 55th Judicial District.

 9          A.     Correct.    That is correct.

10          Q.     Separate from the Cane case, have you ever

11    testified or -- strike that.         I will start over.

12                         Besides this case and the Cane case have

13    you ever previously served as an expert in any case

14    regarding credentialing?

15          A.     The case -- there was one other case that

16    actually the -- the fair hearing case involved peer review

17    and credentialing as well.

18          Q.     Each of the fair hearing cases or one in

19    particular?

20          A.     No.    One -- well, actually two in particular.

21    Let me think now.       Yes, two in particular, two of the

22    three.

23          Q.     And when you say that those two fair hearing

24    cases involved credentialing, credentialing of the

25    physicians but by whom?

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 1          A.     Credentialing of the physicians by the hospital.

 2          Q.     And I have learned from various depositions in

 3    this case, there is a difference between credentialing and

 4    privileging?

 5          A.     Correct.    Correct.    Yes.

 6          Q.     Okay.   And so were the fair hearings -- they

 7    were specifically about credentialing as opposed to

 8    privileging or were they a combination sometimes?

 9          A.     Well, pretty much a combination.

10          Q.     Okay.   Are you drawing a distinction when you

11    say credentialing to exclude privileging or could it be

12    inclusive?

13          A.     It depends on who I am speaking with.

14          Q.     Okay.   Well, now, in describing your expert

15    experience, I just want to get an understanding if you are

16    using the term credentialing, could you also mean that to

17    be privileging as well?

18          A.     Well, they are very distinct.         They are

19    distinct.

20          Q.     In the cases in which you testified regarding

21    the credentialing of the physicians in the fair hearing

22    setting, and I think you said that there were two of them,

23    did both of those involve privileging as well?

24          A.     Correct.

25          Q.     Which specialities, if you don't mind?

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 1          A.    Sure.   The -- one is OB-GYN.        One is I believe

 2    vascular surgery.

 3          Q.    Were you providing expert testimony regarding

 4    their specialties, the OB-GYN or the vascular surgery, in

 5    either of those cases?

 6          A.    No.    I was there basically providing information

 7    regarding hospital bylaws and credentialing processes as

 8    they relate to the two physicians involved.

 9          Q.    Has any of your expert experience ever concerned

10    the Educational Commission For Foreign Medical Graduates

11    aside from the case we are here for today?

12          A.    No.

13          Q.    Do you recall if any of your previous expert

14    experience ever involved foreign medical graduates aside

15    from the case that we are here for today?

16          A.    I don't recall.

17          Q.    Do you recall the outcome in the Cane matter in

18    Texas?

19          A.    Yes.    The Cane matter in Texas -- actually,

20    there was a mediation this week.

21          Q.    Oh, okay.

22          A.    And I have not received the results of that.

23          Q.    Okay.

24          A.    But it was being mediated this week.

25          Q.    Can you give a very, brief high-level summary of

Golkow Litigation Services                                          JA2749
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 1    what the subject matter of that case is about?

 2          A.    Sure.   The subject matter is a nurse who

 3    sexually abused a patient in the hospital by anesthetizing

 4    the patient with a paralytic medication and then sexually

 5    abused the patient.      And the credentialing was inadequate

 6    on this particular individual.         This individual had a

 7    history of doing this previously or something similar to

 8    that.

 9          Q.    In your experience do you expect that a hospital

10    has a certain level of rigor or a certain set of steps

11    they go through when they are hiring a nurse?

12          A.    Yes.

13          Q.    Do you expect that those steps are more rigorous

14    or less rigorous than when a hospital is hiring a

15    physician?

16          A.    They are different.

17          Q.    In what way?

18          A.    They are different in terms of the -- the

19    educational backgrounds are different.           The training is

20    different and in many cases experience as well.

21          Q.    Would you expect a hospital to be more rigorous

22    in its screening of a nurse than it would be of a

23    physician?

24          A.    I think they are at risk with both.

25          Q.    Dr. Williamson, do you know if there has ever

Golkow Litigation Services                                          JA2750
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 1    been a motion to exclude or preclude your testimony in a

 2    lawsuit for which you have served as an expert witness?

 3          A.    No.

 4          Q.    Aside from this case and the two fair hearing

 5    cases that you mentioned earlier that involved

 6    credentialing, do you recall having served as an expert in

 7    any other matter at any time regarding credentialing or

 8    privileging?

 9          A.    I don't recall.

10          Q.    Have you ever served as an expert in a matter

11    where you gave testimony or opinions regarding the

12    licensing of a physician by a licensing board?

13          A.    No.

14          Q.    Have you ever given testimony or opinions in a

15    matter in which you served as an expert where there was an

16    issue of a physician becoming board certified by a

17    specialty board?

18          A.    No.

19          Q.    Have you ever served as an expert witness giving

20    testimony or opinion regarding a residency program having

21    decided or decided not to hire a resident candidate?

22          A.    No.

23               MS. MCENROE:     Dr. Williamson, I am handing you

24    what I have marked as Exhibit 2.

25                 (Thereupon, Exhibit 2 was marked for

Golkow Litigation Services                                          JA2751
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 1    identification.)

 2    BY MS. MCENROE:

 3          Q.    I presume this may look familiar.          Do you know

 4    what this is?

 5          A.    It appears to be my CV.

 6          Q.    Yes.    Is this the CV that you provided in this

 7    case?   Does this look like it is?

 8          A.    I don't recall because I am looking at the

 9    update on it.      And I believe there may be a more recent

10    update.

11          Q.    Okay.    So what leads you to believe that there

12    may be a more recent update?

13          A.    Well, I am just looking at the date and it says

14    June 17th.    I believe that I have -- I have one here.

15          Q.    Oh, do you have one with you?

16          A.    Yes, I do.

17          Q.    May I be able to see it, please?

18          A.    Yes.    May I get it?

19          Q.    Please.

20          A.    Sure.    August 2019.

21          Q.    Great.    Can I see it?

22          A.    Sure.

23          Q.    Wonderful.

24               MS. MCENROE:     And I am going to mark this as an

25    exhibit, if that is all right, and we will have it in the

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 1    a copy of that, but just Exhibit 3 would be great.

 2          A.    (Witness complies).

 3          Q.    Thank you.     And I see that the Morgan and Morgan

 4    Law Blog from 2015 is entitled Doctors Without Conscience?

 5          A.    Correct.

 6          Q.    What was that about?

 7          A.    I don't recall the specifies of that.

 8          Q.    Okay.   Did that have anything to do with

 9    physician credentialing?

10          A.    I don't believe so, but I can't say for sure.

11          Q.    And what about the Community Health Centers

12    Alliance publication or blog entitled The Devil Is In The

13    Details:    Resolve to Take a Second Look at Three

14    Meaningful Use Objectives?

15          A.    Yes.

16          Q.    Do you recall what that is about?

17          A.    Yes.    It was about the federal government's

18    Meaningful Use Program relating to electronic health

19    records.    And -- and I am getting caught up here.

20          Q.    Do you want to take a second?

21          A.    About the electronic health records and how they

22    have -- how this Meaningful Use Program has become a

23    significant burden on physicians.

24          Q.    In carrying out their duties?

25          A.    In carrying out their duties, correct, yes.

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 1          Q.    I will give you back Exhibit 3.         Just hold onto

 2    that for a second.      So do you have any professional

 3    qualifications or certifications that are not listed here?

 4    So, for example, a Ph.D. in something or something that

 5    you deemed not relevant for these purposes but is a degree

 6    that you hold?

 7          A.    A degree, no.

 8          Q.    Any other qualifications or certificates that

 9    you hold that are not listed here other than like a

10    driver's license?

11          A.    No.

12          Q.    Okay.

13          A.    I don't believe -- I don't believe so.

14          Q.    And I see that in your graduate school section

15    you list Loyola University Chicago School Of Law?

16          A.    Yes.

17          Q.    Beazley Institute for Health Law and Policy that

18    you got a master's in health jurisprudence --

19          A.    Correct.

20          Q.    -- in 2010?

21          A.    Yes.

22          Q.    That is not a JD degree, correct?

23          A.    Correct.    It is an MJ.

24          Q.    And you are not a lawyer, correct?

25          A.    Correct.

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 1          Q.    Have you taken or sat for the bar exam in any

 2    state?

 3          A.    I have not.

 4          Q.    And similarly in your appointments, I see that

 5    you have had some interactions with legal institutions,

 6    for example, being an adjunct professor of law at Loyola

 7    University Chicago School of Law, correct?

 8          A.    Correct.

 9          Q.    Were you serving in a lawyerly capacity there,

10    if you will, or -- strike that.         I can restate it.

11                        So what was the subject of your studies

12    that you did there?

13          A.    Risk -- subject of my studies or what I am

14    teaching?

15          Q.    Both.

16          A.    Okay.   The subject of my studies were pretty

17    much across the board in terms of risk management

18    compliance, regulatory issues.         It was a rather complete

19    program that ultimately ended up in a thesis.

20          Q.    And what was your thesis on there?

21          A.    My thesis was on -- let me think for a moment.

22    It was -- goodness.      It is a subject that I am actually

23    lecturing on now, and for some reason it has just

24    disappeared.

25          Q.    Sure.

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 1           A.   Let me think for a moment.

 2           Q.   Does it relate to health and the law?

 3           A.   Pardon me?

 4           Q.   Does it relate to health and the law?

 5           A.   Yes, it does.     It is specific to -- I have it

 6    now.    Thank you.    Apology and disclosure.

 7           Q.   And what do you mean by apology and disclosure?

 8           A.   How physicians present themselves following a

 9    medical mistake and what are some of the state law

10    requirements and what are their obligations ethically as

11    well.

12           Q.   When you say present themself, present themself

13    to who?

14           A.   To the patients and/or the family following a

15    medical mistake.      And basically it involves transparency.

16           Q.   So that is the subject both of your thesis and

17    also of the course that you have taught?

18           A.   That is a part of the subject matter in the

19    course, but that was my thesis, yes.

20           Q.   What is more broadly the subject matter of the

21    course you have taught?

22           A.   That I am currently teaching?

23           Q.   Correct.

24           A.   Risk management.

25           Q.   Have you taught any other courses at Chicago

Golkow Litigation Services                                          JA2756
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 1    School of Law?

 2          A.    We have had programs that are live programs

 3    where I have presented similar types of programs in

 4    conjunction with others, but they vary.           But it was a

 5    single presentation.        It was not a course.

 6          Q.    Sure.    Like a single lecture type of experience?

 7          A.    Exactly.    Yes.

 8          Q.    Have you ever taught a course called Torts?

 9          A.    Called what?

10          Q.    Torts, Legal Torts?

11          A.    Torts.    No.    I have attended a course on torts

12    but, no, I have not taught it.

13          Q.    Okay.    So you are here serving as an expert, and

14    we have spoken a bit about your experience serving as an

15    expert.    I know you are also a medical doctor.          What would

16    you say your typical day job is?

17          A.    It varies.      Typically I am working with cases

18    like this.    I am teaching.      And I lecture around the

19    country in a variety of areas.         And I do consulting work

20    to assist physicians in developing compliance programs.

21          Q.    Are you currently credentialed at any medical

22    facility?    Are you on staff anywhere if I am not using the

23    right terminology?

24          A.    No.   I am not on staff, no.

25          Q.    Okay.    When were you last affiliated to be on

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 1    staff with a medical facility?

 2          A.    Oh, dear.    That would have been -- probably

 3    would have been Mease Hospital, and that would have been a

 4    number of years ago.       It is M-E-A-S-E.

 5          Q.    And you have also spent time working in hospital

 6    administration, is that correct?

 7          A.    I have.

 8          Q.    Okay.   Do you currently work in hospital

 9    administration for any medical center or hospital?

10          A.    Only as a consultant when asked, yes.

11          Q.    When did you last work more formally, not in

12    just a consulting role, in hospital administration?

13          A.    More formally would have been at Cape Coral

14    Hospital where I was the vice president for medical

15    affairs.

16          Q.    And when did you do that until?

17          A.    I would probably have to look at my CV.

18          Q.    Go ahead -- go ahead and take a look.          I am not

19    trying to do a pop quiz.

20          A.    I understand.     I would say on or about 1993,

21    '94, somewhere in that.

22          Q.    I see on the second page at the very top you

23    have Cape Coral Hospital until '94?

24          A.    Yes.

25          Q.    Is that right?

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 1          A.    Yes.

 2          Q.    And I know you testified earlier about serving

 3    as an expert in fair -- physician fair hearings?

 4          A.    Yes.

 5          Q.    Did you also ever serve professionally in your

 6    role as a hospital administrator in physician fair

 7    hearings?

 8          A.    As vice president of medical affairs I have.

 9          Q.    When you served as the vice president for

10    medical affairs for Cape Coral Hospital, did you also play

11    any role in the hiring or credentialing or privileging of

12    physicians?

13          A.    Most definitely.

14          Q.    And in other roles prior to that, did you do

15    that as well?

16          A.    I did.

17          Q.    Did you ever play a role in the hiring or

18    evaluation of resident applicants?

19          A.    I may have in the past, but I don't recall

20    exactly when.

21          Q.    Okay.    Have you ever been in a role throughout

22    your career where you oversaw directly or indirectly the

23    work of residents?

24          A.    Well, I currently am on the faculty at Florida

25    State University, and I work in their residency program

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 1    locally here in Fort Myers.        So I wouldn't call it an

 2    oversight, but it is more of a -- I provide lectures to

 3    the residents.

 4          Q.    Do you have any say or responsibility in the

 5    hiring or recruiting of any of the residents from Florida

 6    State University?

 7          A.    No.

 8          Q.    And is that any particular specialty you are on

 9    the faculty for at Florida State University?

10          A.    Family practice.

11          Q.    Family practice.      Do you still treat patients,

12    Dr. Williamson?

13          A.    No.

14          Q.    Okay.   When did you stop treating patients?

15          A.    Oh, it's been approximately 10 years ago,

16    perhaps longer.     I can't say for sure.

17          Q.    Why?

18          A.    Why did I stop?

19          Q.    Yeah.

20          A.    I wanted to spend more time doing administrative

21    work.

22          Q.    In the course of your career, including when you

23    treated patients and since, have you ever to your

24    knowledge come across anybody who was also a patient of

25    Dr. Akoda?

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 1          A.    Of Dr. --

 2          Q.    Akoda.

 3          A.    No.

 4          Q.    When I say Dr. Akoda, I am going to use that as

 5    shorthand for the individual at issue in the litigation

 6    here.   I know he has gone by a number of names.           And if I

 7    need to make a distinction between the identities he's

 8    used, I will try and make that clear.          But you understand

 9    who I am talking about if I refer to Dr. Akoda?

10          A.    Yes, I do.

11          Q.    We talked just briefly earlier that you have

12    played some role in the hiring or credentialing or

13    privileging of physicians throughout your career.             I am

14    trying to get an understanding of what is involved in a

15    medical center or a hospital deciding to become affiliated

16    with a physician.

17                         I understand using the word employed is

18    a little bit loaded in the physician sense.            A lot of

19    physicians are not directly employed, so I am not trying

20    to overstate it, but just trying to understand what that

21    process is typically like.

22          A.    Well, it is not a one size fits all.          It depends

23    on who you are representing, whether it is a hospital in a

24    patient setting, whether it is a FQHC, a federally

25    qualified health center, where I was medical director.

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 1    Whether it is a health maintenance organization where I

 2    was co-medical director and then medical director.             So it

 3    varies depending upon whether it is an inpatient or

 4    outpatient.     But I would say it is a very cumbersome and

 5    very thorough process that requires significant attention

 6    to the details.

 7          Q.    What kind of details?

 8          A.    The details in terms of the -- again, if we are

 9    talking about residents or we are speaking to physicians

10    that have been employed previously that you are looking to

11    hire.   So it depends on what those details would be.

12          Q.    Sure.   So like a fresh hire of a brand-new

13    physician versus someone who maybe has had a career

14    elsewhere before, you are saying those are different

15    inquiries?

16          A.    Correct.

17          Q.    So let's talk about somebody coming more

18    directly through the education system out of a residency

19    program. What types of things in your experience would a

20    health care center or a hospital look at in trying to

21    decide whether or not they want to hire that individual?

22          A.    There is a list of items, and I am not sure that

23    I can give you the full list.

24          Q.    Sure.

25          A.    But we are certainly looking at the individual's

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 1    education as far as where they attended school.            And we

 2    are certainly interested in finding out a little bit more

 3    about the residency program that they attended as well.

 4    We are interested in looking at whether there were any

 5    national practitioner data bank issues involved, want to

 6    know a little bit about their background.           We would do a

 7    background check, looking at things like driver's license

 8    and such.    Certainly we would consider looking at doing

 9    things like drug testing to make certain that they were

10    clear.     And I am probably leaving some things out as well

11    I am sure.

12          Q.    Sure.

13          A.    But -- and it depends on -- on again whether it

14    is an inpatient or outpatient facility.           But again, it is

15    not a one size fits all, but it needs to be comprehensive

16    if one is going to not -- not have any potential

17    consequences as a result of the hire.          Additionally, I

18    would want to -- I always look at at least three

19    references, letters of reference.

20          Q.    When you say look at references, what do you

21    mean?

22          A.    Well, normally everything that we do is primary

23    source.    Everything I have done in the past in my career

24    has been primary source verification.          So when I say look

25    at the letters, receive the letters from the individuals

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 1    that were actually -- the ones that signed the letter and

 2    wrote the letter.

 3          Q.    So you are saying that you would directly

 4    receive the letters of recommendation from the

 5    recommenders themselves?

 6          A.    Correct.    Either that -- and it is helpful when

 7    we get those letters because it tells you a fair amount

 8    about the individual, so that is helpful.           If in fact

 9    there is something in the letter that is of concern to

10    me -- well, for the most part I was rather aggressive and

11    contacted all letters that I received.           And the reason for

12    that is because there's times where things are not placed

13    in a letter that is communicated best by telephone.

14          Q.    Sure.   There might be things that are more

15    unsaid than said?

16          A.    Nuances.

17          Q.    I understand.     Would you expect that there would

18    typically be an interview or in-person component?

19          A.    I have never hired an individual without an

20    interview.

21          Q.    Okay.   If the candidate were to have been

22    foreign educated, so educated outside the United States,

23    have you had experience with hiring foreign medical

24    graduates as well?

25          A.    Most certainly.

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 1          A.    Well, I think in part the FQHC, their mission

 2    quite often aligns with the mission of foreign medical

 3    graduates.    And it is more difficult for them to find work

 4    outside of the FQHC environment.

 5          Q.    Why do you think that is?

 6          A.    Oh, I am sure there are reasons.         I don't know.

 7          Q.    When evaluating foreign medical graduate

 8    candidates as opposed to US-educated candidates in the

 9    processes that you have described, aside from the medical

10    schools being in different places, how does that process

11    vary between a foreign medical graduate versus a US

12    medical graduate?

13          A.    To my recollection, it did not vary that much

14    because we were rather -- again, under my guidance we were

15    rather stringent in terms of making certain that we turned

16    over every stone.

17          Q.    For foreign medical graduates as well as

18    domestic?

19          A.    For all -- for all applicants in those

20    facilities.

21          Q.    So would you, for example, run background checks

22    on the foreign medical graduate candidates that came

23    through?

24          A.    Yes.

25          Q.    Would that involve verifying social security

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 1    numbers?

 2          A.    Yes.

 3          Q.    And you mentioned having interacted with ECFMG

 4    during some of those processes?

 5          A.    Correct.

 6          Q.    What information did you recall receiving from

 7    ECFMG during those processes?

 8          A.    There were -- I don't recall them all, but they

 9    were very helpful, because what ECFMG provided to us, we

10    relied upon and did not in fact need to duplicate our

11    efforts.    So that was -- and there were -- in essence for

12    us a ECFMG certificate meant a lot.

13          Q.    Do you recall what information was communicated

14    through the ECFMG certificate?

15          A.    I don't.    Not -- I mean, I know that they

16    provided for us the medical education and letters of

17    reference and such, but I don't recall each -- each item.

18    I don't.

19          Q.    I know I asked earlier about whether you have

20    come across Dr. Akoda's patients in your career.             Have you

21    ever come across Dr. Akoda directly himself?

22          A.    No.

23          Q.    Given that you have never met Dr. Akoda directly

24    yourself, from where did you get the information regarding

25    Dr. Akoda and his background for the purposes of serving

Golkow Litigation Services                                          JA2766
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 1    as an expert in this case?

 2          A.    I think it was provided to me by my attorney.

 3          Q.    Did you get any information regarding Dr. Akoda

 4    from outside research you conducted independently?

 5          A.    The only thing that I received was the -- I

 6    believe it was the Department of Justice, their charges

 7    and their decision in terms of -- I am trying to think.

 8    That came through the American Board of Obstetrics and

 9    Gynecology.     So that is my recollection on that, yes.

10          Q.    Did you, like, sit down and google Dr. Akoda and

11    read news articles about him or anything of the like?

12          A.    No.   That was the only news article that I saw

13    was through the American Board of Obstetrics and

14    Gynecology.     All of the other information was rather

15    comprehensive and complete in terms of what I received and

16    the documents that I received.

17          Q.    Did you interact with or read posts by any of

18    the Plaintiffs in this case on social media?

19          A.    Could you repeat that question?

20          Q.    Yeah.   Have you interacted with any of the

21    Plaintiffs in this case through social media?

22          A.    I -- I don't participate in social media at all.

23          Q.    You haven't read Facebook posts, for example?

24          A.    No.

25          Q.    Have you ever interacted with any of the

Golkow Litigation Services                                          JA2767
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 1          A.    I do not.

 2          Q.    Do you expect that they should have?

 3          A.    I don't know the inner workings of the American

 4    Board of Internal Medicine, so I can't really say.

 5          Q.    Do you think that they would have or should have

 6    notified any other parties, hospital systems, boards of

 7    medicine?

 8          A.   Again, I don't know what their P&Ps are, their

 9    policies and procedures are.        It is out of my area of

10    expertise.

11          Q.    Okay.   Are ECFMG's policies and procedures

12    within your area of expertise?

13          A.    I would say yes.

14          Q.    So how do you know more about ECFMG's policies

15    and procedures than you know about the American Board of

16    Internal Medicine's policies and procedures?

17          A.    I have had a fair amount of experience working

18    with ECFMG over the years as I mentioned previously.               So

19    that is the reason why the American Board of Internal

20    Medicine -- as a pediatrician, I have had, you know,

21    limited exposure to them.

22          Q.    Okay.   The next folder here is entitled

23    Plaintiffs' Timeline.

24               MS. MCENROE:     It is a document that we will mark

25    for purposes of the record, and I actually think I have

Golkow Litigation Services                                          JA2768
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 1    another copy here.      I might mark -- I am actually going

 2    to mark this version with the highlighting on it as

 3    Exhibit 11.

 4                (Thereupon, Exhibit 11 was marked for

 5    identification.)

 6    BY MS. MCENROE:

 7          Q.    So marking as Exhibit 11 the document from this

 8    folder, and it includes a sticky note on the front page

 9    there.     Could you read the sticky note into the record,

10    please?

11          A.    Sure.   Timeline by Plaintiffs' counsel not

12    exclusively relied on.       See enforcement timeline and

13    others in expert reports.

14          Q.    What does that mean?

15          A.    Well, that means that when I looked at this, I

16    had one document of the timeline.         But then I had other

17    documents of the timeline as well, specifically the

18    timeline that the Department of Justice had used in

19    developing their case.       And multiple timelines in terms of

20    the expert reports, not mine but the expert reports from

21    other experts.      So I pretty much had multiple timelines.

22    And I would say that for the most part the timelines --

23    the multiple timelines were pretty much consistent.

24          Q.    So the multiple timelines you had from the other

25    expert reports, did you have those timelines prior to the

Golkow Litigation Services                                          JA2769
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 1    issuance of your expert report?

 2          A.    I am trying to remember which expert reports I

 3    had prior to my expert report -- before developing my

 4    expert report.      Again, I would have to look at that.

 5          Q.    Go ahead and look at Exhibit 9.

 6          A.    Okay.    Exhibit 9?

 7          Q.    I believe 9 is your expert report.

 8          A.    Yes.    I don't see it on there.

 9          Q.    Okay.    So those were expert report timelines

10    that you would have had of the course of events after you

11    issued your expert report, correct?

12          A.    Yes.

13          Q.    Okay.    And so at the time of issuing your expert

14    report though, did you -- you had this timeline from

15    Plaintiffs' counsel, correct?

16          A.    Correct.

17          Q.    And that is what is reflected in your Materials

18    Considered list on page 2 of your report which is Exhibit

19    9 that says Timeline of Events, is that correct?

20          A.    Correct.

21          Q.    The next document here is in a folder entitled

22    ECFMG Rebuttals, is that correct?

23          A.    Uh-huh.

24          Q.    Is that yes?

25          A.    Yes.

Golkow Litigation Services                                          JA2770
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 1          Q.    And then it has a number of expert reports, one

 2    for Dr. Beck, one for Dr. Finichel, another for Dr. Smith,

 3    an expert disclosure for rebuttal testimony by Kara

 4    Corrado and an expert rebuttal report by Dr. McDonald.

 5    Did you review all of these rebuttal reports?

 6          A.    I did.

 7          Q.    And presumably since they were issued after your

 8    report came out, they were after you prepared your expert

 9    report?

10          A.    May I look?     I don't recall off the top of my

11    head.

12          Q.    Sure.

13          A.    Correct.

14          Q.    The next folder here is entitled ABOG/AKODA.

15    And it is a series of documents from the ABOG which has

16    Bates numbers ABOG_nonparty_1 through 82.           Are these

17    documents that you reviewed?

18          A.    Yes.

19          Q.    There's some highlighting and some flags and

20    whatnot in here, is that demarcation, is that yours?

21          A.    Yes.

22          Q.    And do you know what the ABOG is?

23          A.    What it is?

24          Q.    Yes.

25          A.    American Board of Obstetrics and Gynecology,

Golkow Litigation Services                                          JA2771
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 1    yes.

 2           Q.   And the last folder is entitled Corrado Depo and

 3    Exhibits.    And inside has a copy of Ms. Corrado's

 4    deposition transcript with some highlighting and some

 5    notes, is this yours?

 6           A.   Yes, it is.

 7                MS. MCENROE:    And there's some handwritten notes

 8    appended to the back here that I think we will mark as an

 9    exhibit as well.

10                (Thereupon, Exhibit 12 was marked for

11    identification.)

12    BY MS. MCENROE:

13           Q.   Is this your handwriting?

14           A.   Yes, it is.

15           Q.   And this is notes from your review of the

16    deposition of Ms. Corrado, is that correct?

17           A.   Correct.

18           Q.   And you prepared these notes yourself?

19           A.   I did.

20           Q.   I will add that to the pile of exhibits.           And

21    otherwise this includes a copy of Ms. Corrado's deposition

22    and her exhibits with some highlighting and other notes.

23    And all that highlighting and any notation, that is yours,

24    is that correct?

25           A.   That is correct.

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 1          Q.    So that's the sum total of the materials that

 2    you indicated that you brought with you today.            Did you

 3    bring anything else with you today?

 4          A.    No.

 5          Q.    And did you review anything else either before

 6    the issuance of your report or after the issuance of your

 7    report that we have not discussed today or was not listed

 8    in the documents, either your expert report or the

 9    addendum?

10          A.    Not to my recollection, no.

11          Q.    Okay.   A little bit earlier, I asked if you are

12    an expert on the policies and procedures of the American

13    Board of Internal Medicine and you said no.            And then I

14    asked if you were an expert about the policies and

15    policies of ECFMG and you indicated you had more

16    experience with ECFMG's policies and procedures, is that

17    correct?

18          A.    Correct.

19          Q.    Okay.   You have -- you went to medical school in

20    the United States, correct?

21          A.    Correct.

22          Q.    So you were never an applicant to ECFMG, is that

23    true?

24          A.    Correct.

25          Q.    Have you ever been an employee of ECFMG?

Golkow Litigation Services                                          JA2773
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 1          A.    Have not.

 2          Q.    Have you ever been on the Board of Trustees of

 3    ECFMG?

 4          A.    Was not.

 5          Q.    Have you ever been on the Medical Education

 6    Credentials Committee for ECFMG?

 7          A.    No.

 8          Q.    Do you know anyone on the Medical Education

 9    Credentials Committee for ECFMG?

10          A.    Do not.

11          Q.    Do you know of anyone in the past who has been

12    on the Medical Education Credentials Committee that you

13    know of?

14          A.    Not that I know of.

15          Q.    Okay.   And through your work -- through your

16    career, you made reference to having been a recipient of

17    reports and information from ECFMG over time, is that

18    correct?

19          A.    Correct.

20          Q.    Through those experiences, have you ever had a

21    situation where you were involved in any way in an

22    allegation of irregular behavior by the ECFMG?

23          A.    Not to my recollection, no.

24          Q.    Do you have any experience with or knowledge of

25    the policies and procedures of the USMLE?

Golkow Litigation Services                                          JA2774
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 1          A.    Could you repeat that question?

 2          Q.    Yeah.   Do you have any experience with the

 3    policies and procedures of the USMLE?

 4          A.    When you say the policies and procedures, I

 5    understand the USMLE and what they do and their

 6    examination process.       In terms of policies and procedures,

 7    I would say very superficially.

 8          Q.    Would you consider yourself an expert in USMLE

 9    policies and procedures?

10          A.    No.   I would not.

11          Q.    So how is it that you have more experience with

12    ECFMG's policies and procedures than you have with USMLE's

13    policies and procedures?

14          A.    Again, more time.      And my career, in working

15    with foreign medical graduates I have spent more time

16    connecting with ECFMG and their -- and their work.             So

17    that is the only reason for that.

18          Q.    But both -- go ahead.

19          A.    The USMLE has been really more a question of

20    what their examination protocol is, and that is pretty

21    much it.

22          Q.    You understand that both foreign and domestic

23    medical graduates proceed through USMLE, is that correct?

24          A.    Correct.

25          Q.    Okay.   Do you believe that ECFMG credentials for

Golkow Litigation Services                                          JA2775
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 1    they want to do in addition to that is entirely dependent

 2    upon them.

 3          Q.    Okay.   But you are not trying to say that the

 4    facilities specifically rely on ECFMG to do all of the

 5    things you just listed as, you know, for example, tox

 6    screen, that sort of thing?

 7               MR. THRONSON:     Object to the form.

 8          A.    Correct.    The facility is relying upon ECFMG to

 9    take them to the next level.

10    BY MS. MCENROE:

11          Q.    And when you say that, what do you mean?

12          A.    Well, what I mean is that -- again, as I said

13    earlier, depending upon the facility and what their

14    policies and procedures are, there may be things that

15    ECFMG is not doing that they have in their policies and

16    procedures that they will pursue as well and may also be

17    state dependant.

18          Q.    Do you have any understanding of the limitations

19    on what ECFMG does indicate through its certification?

20          A.    To a certain extent, yes.

21          Q.    And what do you understand that ECFMG certifies

22    when it issues an ECFMG certificate?

23          A.    Currently or in what timeline?

24          Q.    I will say relevant for Dr. Akoda's

25    circumstances.

Golkow Litigation Services                                          JA2776
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 1          A.    Okay.   Well, certainly they need to verify the

 2    individual's medical education.

 3          Q.    What do you mean by that?

 4          A.    Whether or not they attended a medical school in

 5    wherever in fact they were -- whatever country it might

 6    be.

 7          Q.    Yep.

 8          A.    And completed it successfully and

 9    satisfactorily.

10          Q.    Okay.   What else?

11          A.    They -- ECFMG does receive letters of reference,

12    letters of recommendation.

13          Q.    Yep.

14          A.    And that is something else that they -- they

15    verify as well, that they are accurate letters, that the

16    letters came from the people they say they came from.

17          Q.    And on what basis do you believe ECFMG held

18    itself out as verifying letters of recommendation?

19          A.    I believe -- I know I read it somewhere, and I

20    believe that they were doing that back when I was working

21    with ECFMG.     That in fact we -- when they verified the

22    letters, we did not pursue it although as I said, I was

23    whether aggressive and I wanted to connect with people as

24    well.

25          Q.    If I told you that ECFMG did not verify the

Golkow Litigation Services                                          JA2777
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 1    letters of recommendation, would that surprise you?

 2          A.    It would.

 3          Q.    And you believe that ECFMG affirmatively

 4    indicated to you that the letters of recommendation had

 5    been primary-source verified?

 6          A.    Correct.    Correct.    And what I did not know was

 7    if in fact they were unable to verify those letters, that

 8    that in fact took place.       So I would not be aware that

 9    letters that were not verified were not verified.

10          Q.    Anything else you think that ECFMG was verifying

11    in the time that Dr. Akoda was coming through?

12          A.    I can't recall right now.        I believe there were

13    other things, but I don't recall what they were now.

14          Q.    Do you think that ECFMG held itself out as

15    verifying social security numbers?

16          A.    I don't believe so.

17          Q.    Do you think that ECFMG held itself out as

18    verifying permanent residency cards?

19          A.    I don't recall.

20          Q.    Okay.   Do you believe that ECFMG would certify

21    that a physician would conduct himself or herself

22    appropriately and not in an inappropriate sexual way?

23          A.    Well, I think that -- that ECFMG would, when you

24    say held itself out, meaning -- I mean, that is something

25    that is at times difficult to ascertain.

Golkow Litigation Services                                          JA2778
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 1          Q.    Yeah.   I was going to ask you next how would

 2    ECFMG know if an applicant coming through would, you know,

 3    in the future act inappropriately in a sexual way?

 4          A.    Well, I think that that is all part of the --

 5    falls under the umbrella of professionalism.            And

 6    professionalism includes honesty.         And a dishonest

 7    individual should raise a flag that that individual may

 8    not act appropriately going forward.          Now, whether it be

 9    in a sexual or other nature, the concern that I would have

10    would be someone who is dishonest, someone who is not

11    being upfront, that there may be other issues as well.

12          Q.    Do you expect that residency programs have

13    standards to expect their residents to conduct themselves

14    in a certain level of professional --

15          A.    Most definitely.

16          Q.    And the same for hospitals or hospital systems

17    at which the physicians would work?

18          A.    Most definitely.

19          Q.    So that would include Howard University

20    Hospital where Dr. Akoda conducted his residency, as well

21    as Prince George's Medical Center?

22          A.    I can't speak to Howard because I don't know

23    what their policies or their requirements are.            Same thing

24    with Prince George, I can't speak to that.           But I can

25    say in general hospitals do require that.           Residency

Golkow Litigation Services                                          JA2779
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 1    programs require that as well.         That is an expectation, I

 2    guess is the way I would leave that.

 3           Q.   Understood.     Have you done any analysis of the

 4    particulars of what Howard University Hospital did

 5    vis-a-vis Dr. Akoda through his residency, what they

 6    looked at with him, how they evaluated him or the like?

 7           A.   No.

 8           Q.   Have you done any evaluation of what Prince

 9    George's Medical Center did with respect to Dr. Akoda,

10    evaluations of him, credentialing of him, privileging of

11    him?

12           A.   No.

13           Q.   Do you understand that Dr. Akoda did practice

14    medicine at Prince George's Medical Center?

15           A.   I do.

16           Q.   Including procedures like C-sections and the

17    like?

18           A.   Correct.

19           Q.   Would you expect from your experience that while

20    practicing medicine at Prince George's Medical Center,

21    that there would be periodic reviews or checks on Dr.

22    Akoda's practice?

23           A.   Again, it depends upon the hospital.          It depends

24    upon, did he follow JCAHO requirements.           It depends on

25    other considerations as well.         So I can't -- I can't say

Golkow Litigation Services                                          JA2780
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 1    that I would expect it or not expect it.           I think it is

 2    a -- I think it is important that a physician in a

 3    residency program or in any program be periodically

 4    reviewed, and the Joint Commission has made that rather

 5    clear.     I can't tell you offhand whether the Prince

 6    George's Joint Commission accredited or not.            I don't

 7    know.

 8          Q.    Okay.   Are you aware of a lawsuit against

 9    Dimensions?

10          A.    I am aware of it, yes.

11          Q.    Okay.   And when you say you are aware of it,

12    what do you know about it?

13          A.    Well, I am aware that Dr. Akoda had -- was

14    providing clinical care at Dimensions and that there was a

15    lawsuit brought against Dimensions.

16          Q.    Are you an expert in that lawsuit?

17          A.    I don't think so.

18          Q.    Okay.   Do you have an understanding of who the

19    Plaintiffs are in the lawsuit against Dimensions?

20          A.    I believe it is the same Plaintiffs that are in

21    the lawsuit against ECFMG, I guess.          I shouldn't say I

22    guess.     I shouldn't speculate.      I don't know.

23          Q.    Okay.   Have you read or reviewed any documents

24    from that case like the complaint or discovery responses?

25          A.    No.

Golkow Litigation Services                                          JA2781
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 1          A.    Yes, because I am more familiar with the

 2    policies of ECFMG than I am with the Maryland Board.

 3          Q.    Is there any conceivable set of facts in which

 4    you think the Maryland Board of Physicians should grant a

 5    medical license to someone who had presented a false

 6    medical residency -- sorry -- a false permanent residence

 7    card and a false Nigerian passport to them in conjunction

 8    with their application to practice medicine in that state?

 9               MR. THRONSON:     Objection.     Speculation.

10               MS. MCENROE:     You can speculate.

11          A.    Okay.   It would be speculation on my part.

12    BY MS. MCENROE:

13          Q.    Yeah.

14          A.    I don't know.     It would be pure speculation.

15          Q.    You can't conceive of a set of facts in which

16    that would be appropriate, correct?

17          A.    Do I believe that it is appropriate or not?

18    Again, it depends on their policies.          I don't want to

19    speak for the Maryland Board.         I know nothing about the

20    Maryland Board to be perfectly candid.

21          Q.    So you think it is conceivable that their

22    policies could provide for a false permanent resident

23    card and a false passport to be okay for a physician

24    coming to practice medicine before them?

25          A.    I mean, there are considerations here, for

Golkow Litigation Services                                          JA2782
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 1    example, did they receive the letter?          I don't know

 2    whether they received the letter.         I don't know how the

 3    letter was mailed or how it was sent.          I don't know what

 4    the communication was.       I don't know whether it was a

 5    verbal communication along with the letter to someone.

 6          Q.    So you are talking about Exhibit 14?

 7          A.    Yes, ma'am.

 8          Q.    What I am talking about is the findings of fact

 9    from the Maryland Board.       That in 2011, when they had

10    issued the medical license, they had received a false

11    permanent residence card and a false Nigerian passport.

12          A.    Oh, I am sorry.      I may have misunderstood where

13    we were going.

14          Q.    Sure.

15          A.    So what you are reading, the Maryland Board of

16    Physicians granted the requested medical license.             Okay.

17    Let me read prior to that, if I may?

18          Q.    Of course.

19          A.    So he applied for medical licensure with the

20    Maryland Board of Physicians.         In support of the

21    application, he submitted these false documents.

22          Q.    Correct.

23          A.    Uh-huh.    And it goes on to say the Maryland

24    Board of Physicians granted the requested medical license.

25          Q.    Correct.

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 1          A.    So my question is when he submitted these false

 2    documents, were they aware that they were false documents?

 3    And what I am saying is that is a part of the policies and

 4    procedures that is done at the Maryland Board.            So as a

 5    result of that, I am not sure how I could determine -- I

 6    just don't know.      It is saying here that they were false,

 7    but were they determined to be false after the fact?

 8          Q.    Right.    So you think it is okay that the

 9    Maryland Board may not have known at the time that those

10    things were false, but it is not okay for ECFMG to have

11    been defrauded by Dr. Akoda in real time?

12               MR. THRONSON:     Objection.     Go ahead.

13          A.    It depends on each individual's organization's

14    policies in terms of what they hold themselves out

15    to be. Again, I am a lot more familiar with the ECFMG than

16    I am with the Maryland Board.

17          Q.    So you think it is conceivable that the Maryland

18    Board should have accepted a false passport from a foreign

19    national to practice medicine in their state, but it is

20    not conceivable that ECFMG could have also been mistaken

21    by the same false passport?        Do you think that is okay?

22          A.    No.   I -- I do not think it is okay.         That is

23    not what I am saying.       I guess what I am saying is how did

24    they make their determination?         What was used in making

25    that determination?      And what happened in that interim

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 1    time?   Did they in fact receive the letter?           Was it a

 2    letter that we know they received and acted on it?             Maybe

 3    -- I am sorry.     I may not be answering your question.            Can

 4    you restate the question or rephrase the question?

 5          Q.    Yes.   I just struggle to understand how it is

 6    that you can be so certain with your opinions on what

 7    ECFMG should have known in real time despite ECFMG

 8    conducting investigations at the time into Dr. Akoda.

 9    Also admitting that Dr. Akoda was defrauding at least some

10    parties but taking issue with ECFMG's findings but not

11    taking issue with the Maryland Board's findings.             I am not

12    understanding how they reconcile themselves.

13          A.    Well, I don't think they are -- I don't think

14    they are equal.     Okay?    And what I mean by I don't think

15    that they are equal is I don't think it ever would have

16    gotten to the Maryland Board had ECFMG done their

17    investigation properly and picked up on the red lights that

18    were flashing.     So it never would have gotten there.            That

19    is -- your question I guess is since it did get there, now

20    what?   And again, I don't -- I don't find this acceptable.

21          Q.    Do you think that Dr. Akoda could have treated

22    patients as he did that are Plaintiffs in this case if

23    the Maryland Board of Physicians had not granted him a

24    medical license like they did?

25          A.    If he was not granted a license, he would not

Golkow Litigation Services                                          JA2785
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 1    have been able to do that.        All I am saying is that if we

 2    look at the cascade of events, I think we have to take

 3    what is most proximate as the time where this could have

 4    been all avoided.      And it could have been avoided at the

 5    level of ECFMG, not at the Maryland Board.           That is all --

 6          Q.    Why could it not have been avoided if the

 7    Maryland Board had determined that Dr. Akoda should not

 8    have been granted a medical license?

 9          A.    It could have been, but I am saying it could

10    have been avoided a lot sooner than that as a result of

11    ECFMG doing what in fact they held themselves out to do.

12          Q.    Okay.

13          A.    And to your question, I am not suggesting either

14    is -- is -- is correct or proper.

15          Q.    Okay.   Do you have any idea about how Dr. Akoda

16    got into the country?

17          A.    I read I believe that it was in the early

18    1990s, 1991 or such on a -- it was a visa, but I don't

19    recall what the visa was.

20          Q.    And if he had not been able to get a visa to

21    come into the United States, that also would have been

22    earlier in what you have called the cascade of events,

23    preventing him from practicing medicine and treating these

24    patients, correct?

25          A.    Correct.    Now, the question from my perspective

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 1    is, was there a reason that he should not have been

 2    provided that visa?

 3          Q.    Right.    But it is possible if they had

 4    discovered that he was doing whatever it was that he was

 5    doing and being a fraud in the many ways that you have

 6    articulated and others have articulated, that he may not

 7    have gotten a visa to come to the United States?

 8               MR. THRONSON:     Objection.

 9          A.    When you say doing a fraud, meaning in his

10    country before coming here?

11    BY MS. MCENROE:

12          Q.    No.   I mean in coming to the United States.             I

13    am saying do you know one way or the other?

14          A.    No.

15          Q.    But if they had not permitted him to come in,

16    that would have even predated ECFMG's conduct, correct?

17          A.    Correct.    But my question to you, Counselor, is

18    why would he not have been permitted that visa?            Was there

19    a reason at that point for them to deny that visa?

20          Q.    I am just asking you in abstract.

21          A.    Oh, okay.

22          Q.    Yeah.    Do you know what name was on Dr. Akoda's

23    ECFMG certificate?

24          A.    I saw it, but I don't recall what it was.              There

25    were multiple names, and I am not sure which one was being

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 1    J.N. Akoda, M.D., do you see that?

 2          A.    I am not sure where are you.

 3          Q.    At the first page of Exhibit 15.

 4          A.    First page?

 5          Q.    Yes.    That this final decision and order is with

 6    regards to Charles J.N. Akoda, do you see that?

 7          A.    I do.

 8          Q.    And that name is presumably also Charles John

 9     Nosa Akoda, MD?

10          A.    I would agree.

11          Q.    So that is different than what is on the ECFMG

12    certificate, is that correct?

13          A.    Correct.

14          Q.    Do you have any idea how that would have

15    happened?

16          A.    I don't.

17          Q.    I want to turn back to Exhibit 9, which is your

18    expert report.      You can set those documents aside.         That

19    is it.     And this is your report in this case, correct?

20          A.    Yes, it is.

21          Q.    And there is a section called Summary of Facts

22    that starts on the second page.

23          A.    Okay.

24          Q.    From where did you get the information for this

25    summary of facts?

Golkow Litigation Services                                          JA2788
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 1          A.    From the documents that I reviewed.

 2          Q.    Including the summary that Plaintiffs' counsel

 3    provided you?

 4          A.    Including the summary that Plaintiffs' counsel

 5    provided me.

 6          Q.    The timeline of events?

 7          A.    Yes.    The timeline was included in this.

 8          Q.    Okay.    Did you do any validation or verification

 9    to make sure that what was in the timeline of events from

10    counsel was accurate?

11          A.    When you say verification, describe what you

12    are --

13          Q.    Did you compare it to other documents or look at

14    any other underlying materials to make sure that every

15    fact you relied on in the timeline of events from counsel

16    was indeed accurate?

17          A.    To some extent, but I would not say that I

18    specifically went fact for fact, no.

19          Q.    So there are some facts in here that you derived

20    from the timeline of events from counsel that you did not

21    otherwise confirm in other documentation?

22          A.    No.    I don't think so.     I think whatever is in

23    here were in other documents as well, yes.

24          Q.    Did you write this whole report yourself?

25          A.    I did.

Golkow Litigation Services                                          JA2789
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 1          Q.    Did you have any help?

 2          A.    No.

 3          Q.    Do you have any legal assistants or do you

 4    dictate your report or anything of the like?

 5          A.    No.

 6          Q.    Do you have any secretarial help?

 7          A.    No.

 8          Q.    Do you still hold all of the opinions you have

 9    in this report today?

10          A.    Yes.

11          Q.    In looking at the series of events with regard

12    to Dr. Akoda, is it your view that ECFMG just totally

13    missed the issue and did not investigate, did not

14    acknowledge it, that Dr. Akoda sort of slipped through, or

15    do you think that they did conduct at least some

16    investigation?

17          A.    I think when they finally realized that there

18    were problems -- well, let me restate it differently.

19    I think that they made some proper investigations

20    initially, particularly when he had applied the first two

21    times.     And if my memory serves me, there was a revocation

22    of his first certificate.        And then there was -- I am not

23    sure if they revoked or if they delayed the second

24    certificate or they did something that I think went to

25    appeals and then it ended up being extended, if I am

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 1          A.    This is what I was referring to, yes, ma'am.

 2          Q.    And so let's take a look at this memo together.

 3          A.    Okay.

 4          Q.    It says, attached is a copy of a memorandum for

 5    the file.    This memorandum is being written separately

 6    since I did not think it should be made part of the

 7    official file.      In my discussion with Dr. McCorkel he

 8    indicated he believed Igberase and Akoda were one in the

 9    same person.     He has no proof, just a strong suspicion.

10    Information he received from an "informant" provided

11    details that led him to believe this.

12                        I also believe Akoda and Igberase are

13    one and the same.      However, at this point the only

14    information that we have for the ECFMG Credentials

15    Committee is Akoda's written statement that he is NOT

16    Igberase, although he did admit in writing that he used

17    Igberase's social security number.          He has given us a

18    passport that appears to confirm his identity as John

19    Akoda.     I don't think this is enough for the Committee.

20                        Igberase has not replied to my letter.

21    The FedEx letter was returned undelivered.           I tried the

22    phone number he listed on his application and was told it

23    was a wrong number (although the correct address).             I sent

24    Igberase an E-mail -- and it has the E-mail address --

25    cfemi@hotmail.com and who should reply but Akoda!             Akoda

Golkow Litigation Services                                          JA2791
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 1    still has a valid ECFMG Certificate.          We need to

 2    brainstorm on this one.       Maybe Shirley Williams (Miss

 3    Sherlock) could sit in.       Is that correct?

 4          A.    Correct.

 5          Q.    Is it your opinion that ECFMG completely missed

 6    and did not analyze at all whether Akoda was acting

 7    appropriately or not?

 8          A.    Well, let me start by saying this, that the idea

 9    of placing this memorandum in terms of the first sentence,

10    memorandum is being written separately.           And since I do

11    not think it should be made a part of the official file,

12    that in and of itself is problematic.

13          Q.    Why?

14          A.    It is problematic because if it is not made part

15    of the official file, once that official file is -- and

16    again, I do not know what they do with their official

17    files or their non-official files, but my concern is

18    that the individuals or the organizations that reply upon

19    this information are not going to be provided that

20    information because it is not a part of the official file.

21          Q.    Do you have any sense or knowledge of whether

22    ECFMG's practice if this had became a part of the official

23    file, it would have been provided?

24          A.    No.    I don't.

25          Q.    You don't know one way or the other?

Golkow Litigation Services                                          JA2792
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 1          A.    I don't know one way or the other.          But if it is

 2    a part of an unofficial file or a memorandum to the file,

 3    I don't know what they do with it.          But if I am a CEO of a

 4    hospital and I am receiving a certificate, an individual

 5    who has been certified by ECFMG, I am assuming that

 6    everything is out in the open, that there is transparency.

 7    So that in itself is a concern to me.          I think that if

 8    you look at the issue of behavior that ECFMG addresses in

 9    their policy as far as what constitutes that -- I forget

10    the term they use in terms of bad behavior or --

11          Q.    Irregular behavior?

12          A.    Irregular.     Thank you.    Irregular behavior, this

13    meets the criteria very easily and should have

14    precipitated an investigation.

15          Q.    Right.    So according to you now, but Mr. Kelly

16    whose job it was to investigate irregular behavior

17    contemporaneous at the time was looking at this and was

18    saying there was not enough to bring to the committee

19    based on the record he had then.         Right?    He was doing

20    some analysis and looking at this issue at the time,

21    correct?    You may not agree with the outcome.

22          A.    Well, again, the decision that was made here was

23    just made based on any policies that the organization had.

24    And from what my reading was that the organization did not

25    have a policy other than a definition of irregular

Golkow Litigation Services                                          JA2793
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 1    behavior.    So whether they should have gone to

 2    credentials, which is I believe the next step if they had

 3    a concern, I think they kind of missed the boat with that.

 4                        There seems to be enough here or more

 5    than enough in reading this letter and just at the very,

 6    very bottom of what you just read, and it says something

 7    to the effect of -- I forgot where it was with the

 8    exclamation -- here it is.        I sent Igberase an E-mail and

 9    who should reply but Akoda.        I mean, what more do you

10    need?    It seems like there is enough concern that the

11    concern should have been elevated to the next committee,

12    yes.

13           Q.   Do you know or understand the remit of the

14    Medical Education Credentials Committee?

15           A.   When you say the remit?

16           Q.   Do you know what their purpose is?          Do you know

17    what they do?

18           A.   Well, from what I have read is that they

19    basically make a decision on concerns that a lower

20    committee might have and make a determination on those

21    concerns.

22           Q.   Do you know how they go about deliberating if at

23    all?

24           A.   Well, what I read is that they deliberate I

25    believe three or four times per year.          They don't meet

Golkow Litigation Services                                          JA2794
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 1    that frequently is what I believe I read in terms of their

 2    committee.    But beyond that, no.       I don't know the details

 3    of how they arrive at decisions or whatever.

 4                        But I guess what I am saying, Counselor,

 5    is that for me reading this there is enough information

 6    here that says that ECFMG should have been more aggressive

 7    in pursuing this.      And there were other issues I think

 8    even occurred prior in terms of, you know, his application

 9    that he sent, I believe, to ECFMG, and the name on the

10    application and the name on the diploma were not

11    consistent as well, speaking of names here of the

12    certificate that you just provided me.

13          Q.    Do you have any sense of in the early 2000s

14    what the E-mail etiquette was as between cousins from

15    Nigeria, whether there was ever sharing of E-mail

16    addresses?

17          A.    I could not answer that.

18          Q.    You don't know one way or the other?

19          A.    No.

20          Q.    Do you know culturally about naming norms and

21    shortening of middle or surnames from people from Nigeria

22    during that time, what was customary?

23          A.    No.   I don't.

24          Q.    Okay.

25          A.    May I say one other thing on this letter?

Golkow Litigation Services                                          JA2795
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 1          Q.    I don't presently have any question pending.           If

 2    you think any of your prior responses were not complete,

 3    then I would welcome completion of it.           Otherwise, I am

 4    not looking for just an open declaration.

 5          A.    No.   No.   I just wanted to go over one other

 6    sentence that you brought forward.

 7          Q.    Sure.

 8          A.    And you said, although he did admit in writing

 9    that he used Igberase's social security number.            And I

10    guess that in and of itself would meet the concerns

11    regarding the -- meeting the definition of his improper

12    behavior.

13          Q.    Irregular behavior?

14          A.    Irregular behavior.       Thank you.

15          Q.    Do you know whether the misuse of a social

16    security number in ECFMG's definition does qualify as

17    irregular behavior?

18          A.    In the definition it talks about presenting

19    information that is inaccurate or in -- it may not be

20    inaccurate, but if you look at the definition.            I think I

21    may have it.      I don't know if I have that or not with me,

22    but, yes, it is a part of the definition.

23          Q.    Do you know whether applicants to ECFMG need to

24    have social security numbers at all?

25          A.    I don't believe they require it, but if one

Golkow Litigation Services                                          JA2796
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 1    presents it, one should act upon it.          I think there is a

 2    duty to act upon it.

 3          Q.    Do you know whether or not ECFMG considers

 4    criminal conduct outside of the credentialing process to

 5    be irregular behavior?

 6          A.    Say that one more time, please.

 7          Q.    Do you know whether ECFMG considers criminal

 8    conduct outside of the credentialing process to be

 9    irregular behavior?

10          A.    I would have to look at the definition.

11          Q.    You don't know one way or the other?

12          A.    No.   I don't know one way or the other.          I would

13    have to look at the definition.

14          Q.    Do you know whether when Dr. Akoda was coming

15    through ECFMG received or verified medical school

16    transcripts?

17          A.    Whether ECFMG had received a verified medical

18    school transcripts, I don't recall.

19          Q.    You don't know one way or the other?

20          A.    I may have read it but I just don't -- I can't

21    say for sure.     I don't recall.

22          Q.    You note in paragraph 8 of the summary of

23    findings in your report -- that is on page 3 at the

24    bottom.

25          A.    Uh-huh.

Golkow Litigation Services                                          JA2797
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 1          Q.    In the second sentence -- are you there?

 2          A.    Uh-huh.

 3          Q.    It says, the following year he was denied

 4    enrollment in The Center for Medicare and Medicaid

 5    Services (CMS) due to submitting an inaccurate social

 6    security number, do you see that?

 7          A.    Yes, I do.

 8          Q.    What is the consequence of that, do you know?

 9          A.    What is the consequence of that with CMS?

10    Well, what basically happened here is that they would not

11    provide him a number.       I don't know whether CMS would take

12    that any further in terms of whether they would contact

13    additional people to investigate that or make any further

14    determination other than not provide a number.

15          Q.    And CMS is a governmental entity, correct?

16          A.    It is.

17          Q.    So they could have taken that to the FBI for

18    example to say, hey, look, we have someone submitting an

19    inaccurate social security number?          They are conducting

20    social security fraud?

21          A.    Yeah.    I don't know what CMS' policies are

22    regarding that, specifically for a social security number.

23    And at times when -- well, for something like this, I

24    could not really say.

25          Q.    Do you know if Prince George's Hospital which

Golkow Litigation Services                                          JA2798
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 1    was employing Dr. Akoda would have known or found out that

 2    he did not have enrollment in CMS?

 3          A.    Well, again, I don't know a whole lot about

 4    Prince George in terms of their patient population.                If

 5    they had a significant Medicare population, I would think

 6    that that would be something that they would require him

 7    to have.    If they don't -- again, Prince George may be

 8    predominantly a non-Medicare-type hospital.            So I really

 9    -- I can't say.     But I would think that if he was

10    practicing there, he would need to have a Medicare number.

11          Q.    But yet he did not have one, right?          He was

12    denied one?

13          A.    Yes.   And again, I don't know what their

14    policies are.

15          Q.    In paragraph 11 on the next page you make

16    reference to inappropriate physical examinations of a

17    sexual nature, is that correct?         Take a look.

18          A.    Correct.

19          Q.    Did you evaluate any medical records in this

20    case?

21          A.    Did not.

22          Q.    And you did not conduct any medical evaluations

23    in conjunction with this case, correct?

24          A.    That is correct.

25          Q.    In your report you use the term duty a number of

Golkow Litigation Services                                          JA2799
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 1    times.

 2          A.    Uh-huh.

 3          Q.    Is that correct?

 4          A.    Correct.

 5          Q.    And you use the term duty as between ECFMG and

 6    entities that received reports from ECFMG?

 7          A.    Okay.   Yes.

 8          Q.    And I am not trying to pull a fast one on you in

 9    any way.    I am looking at paragraphs 4 and 5 in the

10    Analysis of Facts and Opinions on page 5 of your report.

11          A.    Uh-huh.

12          Q.    Is that correct?

13          A.    Yes.    That is correct.

14          Q.    So are you putting forth expert opinion on the

15    duty, if any, ECFMG owed to any other party in this case?

16          A.    Yes.

17          Q.    Are you holding yourself out to be a legal

18    expert in any way in connection with this case?

19          A.    A legal expert, no.

20          Q.    Okay.

21          A.    What I will say is the word duty that is used

22    here is used synonymously with responsibility.

23          Q.    So what do you mean by duty?

24          A.    Just that, responsibility.        They are the

25    responsible party.      They are responsible for making

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                        Jerry Williamson, M.D.

 1    certain that everything we've talked about is done

 2    properly.

 3          Q.    As a matter of law?

 4          A.    Well, I think it is certainly a matter of

 5    ethics. It is certainly a matter of medical ethics.                And I

 6    -- from a matter of law, if they are holding themselves

 7    out to provide certain information and they don't, then

 8    they have not met their responsibility.           I think it

 9    certainly has legal implications.

10          Q.    So are you saying that this is a legal duty, an

11    ethical duty or both in the way you use the term?

12          A.    Both.

13          Q.    Okay.   So you are purporting to put forth a

14    legal opinion in this case?

15          A.    In that sense, yes.

16          Q.    And you are asking the Court to rely on your

17    expert opinion for legal purposes?

18          A.    I am not sure I understand the question.

19          Q.    So you are putting forth an expert opinion in

20    the interest of aiding the Court from a legal perspective

21    with respect to ECFMG's duty?

22          A.    Well, from a credentialing perspective.           If

23    credentialing falls upon -- it certainly falls upon the

24    ethical.    But if it falls upon the legal as well, then I

25    guess what you are saying is correct.

Golkow Litigation Services                                          JA2801
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 1          Q.    Yeah.   I am not trying to use my words.          I am

 2    just trying to understand.        You use the word duty

 3    repeatedly in your report.        So I am just trying to

 4    understand what it is you are asking the Court to look to

 5    you for.    And if that includes in your opinion a legal

 6    view of what duty ECFMG purportedly owed to these

 7    entities?

 8          A.    Well, I use that -- again, I have had legal

 9    training and I do have a master's degree in that, but I am

10    not a lawyer.     So I can't -- I guess perhaps I can present

11    a legal opinion without being a lawyer.           I don't know.      If

12    not, then it is not a legal opinion.

13          Q.    But you are intending to use the term duty to

14    mean both ethically and legally in the way you are using

15    it?

16          A.    Correct.    They had a responsibility to those

17    individuals and those organizations.

18          Q.    And later on in paragraph 11 of your report on

19    page 6 -- I will wait until you get there.

20          A.    Okay.

21          Q.    In the last sentence there in paragraph 11, it

22    says patients have a right to receive medical treatment

23    from physicians who have obtained ECFMG Certification

24    legitimately, not through falsities and

25    misrepresentations, do you see that?

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                         Jerry Williamson, M.D.

 1          A.    Yes, I do.

 2          Q.    And, again, in using the word right here

 3    similarly to my questions on duty, are you intending to be

 4    assisting the Court in evaluating a legal position on the

 5    rights of patients in this case?

 6          A.    Well, I think that it's rather simple that the

 7    American Medical Association provides what patients'

 8    rights are as do other organizations such as the American

 9    Academy of Pediatrics and The American Board of Medicine

10    and such, and they define what those rights are.             And I am

11    not sure it necessarily has to be a legal issue, but it is

12    certainly an ethical issue in terms of what the patient's

13    rights are.     Now, whether it morphs into legal, I couldn't

14    -- I couldn't offer an opinion on that.

15          Q.    So it could, but you don't know?

16          A.    Yes.    Correct.

17          Q.    You use the word foreseeable in a couple of

18    places in your report as well.

19          A.    Uh-huh.

20          Q.    And in particular, for example, on page 4.             I am

21    going backwards a little bit, in paragraph 12.

22          A.    Page 4.

23          Q.    Let me know when you are there.         Page 4,

24    paragraph 12 in the section above.

25          A.    Okay.

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 1          Q.    It says, the key question that must be resolved

 2    is whether ECFMG's actions or failure to act resulted in

 3    foreseeable injuries or damages to class members.             Do you

 4    see that?

 5          A.    I do.

 6          Q.    And again, do you mean that to be legally

 7    foreseeable?

 8          A.    Legally foreseeable.       What I mean it to be is

 9    that their actions should have -- that's the way I said it

10    and I don't -- when I wrote this, I don't recall if I was

11    thinking about this necessarily legally or in what

12    context.

13          Q.    So, you know, I am just trying to understand

14    what you mean when you use the term foreseeable here

15    because, for example, in Exhibit 17 we were looking at,

16    which was Mr. Kelly's memo, do you think at the time when

17    he was writing that memo he foreseeably thought that Dr.

18    Akoda would plead guilty to social security fraud and

19    would have committed sexually inappropriate conduct on

20    patients yet reach the same conclusion he had in his memo?

21               MR. THRONSON:     Objection.

22          A.    Perhaps.

23    BY MS. MCENROE:

24          Q.    So you think that Mr. Kelly would have been

25    involved in three or four investigations that resulted in

Golkow Litigation Services                                          JA2804
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 1    the revocation of Dr. Igberase Oluwafemi's certificate and

 2    and thought when he issued this memo in December of 2000

 3    that it was possible that Dr. Akoda was someone who had

 4    perpetrate the types of alleged injuries he has here and

 5    yet permit this to go forward anyway?

 6          A.    I guess what I am saying is that when you use

 7    the term or the word foreseeable is that one should --

 8    when something this strong takes place, one should in fact

 9    think about what are the potential consequences going

10    forward.    Okay?   That to me is foreseeable.         Foreseeable

11    that they would commit sexual acts, that I can't say.

12    Okay?   But foreseeable that there may be potential

13    problems going forward with this individual.

14                        And -- and again, what I guess I am

15    connecting is I am connecting an individual's not being --

16    being irresponsible in terms of providing false

17    information and what that ultimately can -- can lead to.

18    So providing false information, what might that ultimately

19    develop into?

20          Q.    You make some reference to saying that ECFMG's

21    conduct directly impacted patient safety?

22          A.    Where are you?

23          Q.    I am looking at paragraph 11 on page 6.           It is

24    in two places on page 6.       So I see it in paragraph 11 in

25    the middle sentence there that starts with however.                Do

Golkow Litigation Services                                          JA2805
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 1    the newspapers and such but, no.

 2           Q.   And have you made any medical judgment on the

 3    treatment that Dr. Akoda gave to the patients in this

 4    case?

 5           A.   Well, number one, I am not an OB-GYN.          So I

 6    really can't talk about medical treatment by another

 7    specialty.    I leave that to the OB-GYN.         But from what I

 8    did read regarding some of the patients' complaints --

 9    what I did read about a couple of instances of what I

10    would call what appear to be inappropriate even to a

11    physician who is a pediatrician.         I had some concerns,

12    yes.

13           Q.   Okay.   You had concerns, but are you expressing

14    opinions on what you are asking the judge or the jury to

15    rely with regard to Dr. Akoda's medical --

16           A.   No.   I can't because I am not an OB-GYN.

17           Q.   Okay.

18           A.   I guess I should rephrase that to a certain

19    extent.     I am not an OB-GYN so I can't opine on that as an

20    OB-GYN, but I think I can opine on that as a physician.

21           Q.   Have you reviewed the patients' medical files?

22           A.   Not the medical files.       I have reviewed the

23    patients' commentaries in some of the expert reports.

24           Q.   So that would be the expert reports provided by

25    Plaintiffs' counsel?

Golkow Litigation Services                                          JA2806
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 1          A.    Correct.

 2          Q.    Do you know what ECFMG did upon receiving

 3    Dr. Akoda's guilty plea?

 4          A.    From what I recall they -- they did take action.

 5    That -- that I am certain of.         But I don't recall exactly

 6    what that action was in terms of his certificates and such

 7    but, yes, they did take action.

 8          Q.    Do you believe that Dr. Akoda is still ECFMG

 9    certified today?

10          A.    He is not.     I will rephrase that.       I don't

11    believe that he is.

12          Q.    Do you have an understanding that Dr. Akoda

13    passed USMLE steps 1 and 2?

14          A.    My understanding is that he did take them more

15    than once.    I don't recall exactly how many times, but

16    that he did take the USMLE more than once and did not pass

17    them -- did not pass them once or twice and then took them

18    another time and then did pass them.          And I believe it was

19    the same thing possibly with the USMLE 3.           I know he

20    passed the 3, but I can't remember if that was the first

21    time or not.      I don't recall.

22          Q.    Do you know if step 3 is of any consequence to

23    ECFMG certification?

24          A.    No.

25          Q.    When you say no, do you mean it is a consequence

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                        Jerry Williamson, M.D.

 1    or it is not a consequence?

 2          A.    When you say is it of consequence to the ECFMG

 3    --

 4          Q.    Correct.

 5          A.    -- that I would have to look at again.           I don't

 6    recall off -- I don't recall yes or no.           I don't -- I

 7    don't recall.

 8          Q.    So you don't know one way or the other whether

 9    an ECFMG certificate comes before or after step 3?

10          A.    Comes -- I -- I don't recall.

11          Q.    Do you have an understanding that a medical

12    school verified a diploma for John Nosa Akoda?

13          A.    Well, there's -- in reading the documents, there

14    was some question about whether or not that verification

15    was complete and accurate.

16          Q.    What do you mean by that?

17          A.    Well, what I mean is whether or not the -- the

18    diploma was in fact verified or real.

19          Q.    Right.    So was that from reading Plaintiffs'

20    timeline of events?

21          A.    That was from reading a variety of things that I

22    read in the course of the documents.

23               MS. MCENROE:     We are up to 18.

24                (Thereupon, Exhibit 18 was marked for

25    identification.)

Golkow Litigation Services                                          JA2808
                                                                      Page 127
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                         Jerry Williamson, M.D.

 1               MR. THRONSON:     It is coming up on 1:00.

 2               MS. MCENROE:     Give me a couple more minutes and

 3    we may be done.     No promises.

 4    BY MS. MCENROE:

 5          Q.    I am handing you what I have marked as Exhibit

 6    18.   Have you seen this before?

 7          A.    I believe I have.

 8          Q.    Do you know what this is?

 9          A.    This is something from Nigeria regarding his

10    University of Benin certification or his medical school.

11    Bachelor of medicine in surgery.         Uh-huh.

12          Q.    His medical school diploma?

13          A.    Correct.

14          Q.    So the first page is a form from ECFMG with the

15    name Dr. John Nosa Akoda on the top right-hand corner, if

16    you can take a look.

17          A.    Uh-huh.

18          Q.    Is that a yes?

19          A.    Yes.

20          Q.    And it says, I hereby certify that the attached

21    diploma or other credential for the individual noted above

22    is authentic and correct and that I am authorized to

23    certify this on behalf of this institution.            And then

24    it is signed and has a seal from the Dean of Faculty of

25    Medicine at the University of Benin.          Do you see that?

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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                   Civil Action No. 18-5629
                   Plaintiffs,
                                                   Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                   Defendant.


                     DEFENDANT’S UNOPPOSED MOTION TO SEAL

       For the reasons set forth in the attached memorandum of law, Defendant Educational

Commission for Foreign Medical Graduates, by and through its undersigned counsel, moves to

seal Defendant’s Memorandum of Law in Support of Its Motion for Summary Judgment,

Defendant’s Statement of Undisputed Material Facts, and Exhibits 42, 44, 45, 46, 47, 53, 55, 57,

59, 63, 67, and 74 thereto.


 Dated: December 10, 2021                        Respectfully submitted,

                                                 /s/ Brian W. Shaffer
                                                 Brian W. Shaffer, PA Bar No. 78851
                                                 Elisa P. McEnroe, PA Bar No. 206143
                                                 Matthew D. Klayman, PA Bar No. 319105
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                                                 Attorneys for the Educational Commission for
                                                 Foreign Medical Graduates




                                                                                       JA2810
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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.


DATED: December 10, 2021                      /s/ Brian W. Shaffer
                                              Brian W. Shaffer




                                                                                         JA2811
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                     Civil Action No. 18-5629
                   Plaintiffs,
                                                     Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                   Defendant.


            DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF ITS
                       UNOPPOSED MOTION TO SEAL

       Defendant Educational Commission for Foreign Medical Graduates (“ECFMG”), by and

through its undersigned counsel, submits this memorandum of law in support of its Motion to

Seal. ECFMG respectfully requests permission to file under seal Defendant’s Memorandum of

Law in Support of Its Motion for Summary Judgment, Defendant’s Statement of Undisputed

Material Facts, and Exhibits 42, 44, 45, 46, 47, 53, 55, 57, 59, 63, 67, and 74 thereto.

       “The common law presumes that the public has a right of access to judicial materials,”

including documents filed on the Court’s public docket. In re Avandia Mktg., Sales Practices &

Prod. Liab. Litig., 924 F.3d 662, 672, 675 (3d Cir. 2019). A party seeking to overcome this

presumption in favor of public access must show that “the interest in secrecy outweighs the

presumption,” meaning that “the material is the kind of information that courts will protect and

that disclosure will work a clearly defined and serious injury to the party’s seeking closure.” Id.

at 672. Courts have found that sensitive personal information (such as medical histories) is one

type of information where a person’s interest in secrecy outweighs the presumption of public

access. Davis v. Elwyn, No. 20-05798, 2021 WL 4902333, at *4–5 (E.D. Pa. Oct. 20, 2021).




                                                                                           JA2812
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         Here, good cause exists to seal Defendant’s Memorandum of Law in Support of Its

Motion for Summary Judgment, Defendant’s Statement of Undisputed Material Facts, and

Exhibits 42, 44, 45, 46, 47, 53, 55, 57, 59, 63, 67, and 74 thereto. This Court has already found

that the presumption for public access was overcome for the following documents because they

contain sensitive, private medical information, embarrassing personal histories, or personal

identification information such as dates of birth that constitute unnecessary invasion of

individuals’ privacy:

         Exhibit 44: D. Evans Supplemental Responses to Interrogatories (redacted version

          previously filed as 50-1)

         Exhibit 45: E. Powell Supplemental Responses to Interrogatories (redacted version

          previously filed as 50-2)

         Exhibit 46: J. Riggins Supplemental Responses to Interrogatories (redacted version

          previously filed as 50-3)

         Exhibit 47: M. Russell Supplemental Responses to Interrogatories (redacted version

          previously filed as 50-4)

         Exhibit 74: Dr. Fenichel Report re: M. Russell (redacted version previously filed as 50-

          7)

         Exhibit 57: Dr. Fenichel Report re: D. Evans (redacted version previously filed as 50-8)

         Exhibit 67: Dr. Fenichel Report re: J. Riggins (redacted version previously filed as 46-

          12)

         Exhibit 63: Dr. Fenichel Report re: E. Powell (redacted version previously filed as 46-

          13)




                                                   2                                      JA2813
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        Exhibit 53: Deposition Transcript of D. Evans (redacted version previously filed as 50-

         8), although consistent with this Court’s policies and procedures, see Section I.C.2,

         ECFMG has only included the relevant excerpts of the transcript for this filing.

        Exhibit 59: Deposition Transcript of E. Powell (redacted version previously filed as 50-

         9), although consistent with this Court’s policies and procedures, see Section I.C.2,

         ECFMG has only included the relevant excerpts of the transcript for this filing.

        Exhibit 55: D. Evans Responses to Interrogatories (redacted version previously filed as

         50-5)

See ECF 49. For these documents, the Court has already done a “document-by-document review

of the contents,” Avandia, 924 F.3d at 672, and identified which portions have overcome the

presumption. See ECF 49. To ease the Court’s review of the briefing on ECFMG’s Motion for

Summary Judgment, ECFMG seeks to file these documents again, with unredacted versions of

these documents filed under seal and the previously approved redacted versions of these

documents filed publicly on the docket.

        ECFMG also requests permission to file under seal its Memorandum of Law in Support

of its Motion for Summary Judgment, Statement of Undisputed Material Facts, and Exhibit 42.

The first two documents warrant sealing because they refer to information that the Court has

found worthy of sealing. The third document contains redactions of information this Court has

already deemed to overcome the presumption of public access, i.e., personal identifying

information and sensitive medical and personal information, disclosure of which would be an

unnecessary invasion of individual’s privacy.

        Plaintiffs consent to the filing of these documents under seal.




                                                   3                                        JA2814
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       ECFMG respectfully requests that the Court grant its Motion to Seal and permit ECFMG

to file under seal Defendant’s Memorandum of Law in Support of Its Motion for Summary

Judgment, Defendant’s Statement of Undisputed Material Facts, and Exhibits 42, 44, 45, 46, 47,

53, 55, 57, 59, 63, 67, and 74 thereto.

                                          Respectfully submitted,


Dated: December 10, 2021                  /s/ Brian W. Shaffer
                                          Brian W. Shaffer, PA Bar No. 78851
                                          Elisa P. McEnroe, PA Bar No. 206143
                                          Matthew D. Klayman, PA Bar No. 319105
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                                          Attorneys for the Educational Commission for
                                          Foreign Medical Graduates




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.


DATED: December 10, 2021                             /s/ Brian W. Shaffer
                                                     Brian W. Shaffer




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                    Civil Action No. 18-5629
                   Plaintiffs,
                                                    Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                   Defendant.



                                    [PROPOSED] ORDER

       AND NOW, this __ day of ________ 2022, upon consideration of Defendant Educational

Commission for Foreign Medical Graduates’ Motion to Seal and any response thereto, IT IS

HEREBY ORDERED that ECFMG’s Unopposed Motion to Seal is GRANTED. Defendant’s

Memorandum of Law in Support of Its Motion for Summary Judgment, Defendant’s Statement of

Undisputed Material Facts, and Exhibits 42, 44, 45, 46, 47, 53, 55, 57, 59, 63, 67, and 74 thereto.

thereto shall be FILED UNDER SEAL.




                                                     BY THE COURT:


                                                     _______________________________
                                                                       Wolson, J.




                                                                                          JA2817
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                       Civil Action No. 18-5629
                   Plaintiffs,
                                                       Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                   Defendant.


STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF DEFENDANT
    EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES’
                MOTION FOR SUMMARY JUDGMENT

                The Educational Commission for Foreign Medical Graduates

1.     Defendant Educational Commission for Foreign Medical Graduates (“ECFMG”) is a

private non-profit organization based in Philadelphia, Pennsylvania. About ECFMG page,

https://ecfmg.org/about/index.html, attached Exhibit 1.

2.     ECFMG promotes quality health care for the public by, among other things, certifying

physicians who received their basic medical degree outside of the United States and Canada

(known as international medical graduates or “IMGs”) as having met specific minimum

requirements to be candidates for graduate medical education programs in the United States. Dep.

of   Kara   Corrado,    attached   as   Exhibit   2,    at   40:1-22;   About   ECFMG,   History,

https://ecfmg.org/about/history.html, attached as Exhibit 3.

3.     At the relevant time, to qualify for ECFMG Certification, an IMG had to: (i) pass an

English exam and two substantive exams, either Step 1 and Step 2 of the United States Medical

Licensing Examination (“USMLE”) or Basic Medical Science and Clinical Science of the Foreign




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Medical Graduate Examination in the Medical Sciences (“FMGEMS”); and (ii) have their medical

school diploma successfully primary-source verified with the issuing medical school as authentic.

ECFMG Certification Page, attached as Exhibit 4; Ex. 2 at 88:21-89:2; Sep. 17, 1993 Letter from

Marjorie P. Wilson, attached as Exhibit 5

4.     Once an applicant’s record was verified and complete and the applicant passed the required

substantive exams, ECFMG issued the applicant a certificate. Ex. 2 at 241:12-22.

                              The Role of ECFMG Certification

5.     ECFMG Certification status information is made available only to certain third parties in

the medical field, like residency programs, hospitals, licensing boards, and employers. Ex. 2 at

244:1–8.

6.     ECFMG Certification status information is not available to members of the general public

(including patients of doctors who have received ECFMG Certification). Ex. 2 at 243:9-25.

7.     At the relevant time, ECFMG Certification status reports for residency programs contained

the following information:

       a.     IMG’s name

       b.     USMLE number

       c.     medical school name and country

       d.     graduation year

       e.     ECFMG Certification status

       f.     validity of ECFMG Certification

       g.     date of issuance of ECFMG Certification

Ex. 2 at 248:16-249:2.

8.     ECFMG Certification status reports for residency programs do not verify:



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       a.       an IMG’s identity

       b.       Social Security number

       c.       immigration status

       d.       passport information

       e.       criminal background

       f.       readiness to treat patients

       g.       ethics

       h.       honesty

       i.       morality

       j.       character

Ex. 2 at 198:16-22, 200:13-15, 240:18-241:6, 242:6-243:3, 244:22-245:13.

9.     ECFMG Certification does not authorize an IMG to treat patients as a doctor. Ex. 2 at

244:22-245:1.

10.    Recipients of ECFMG Certification status reports, such as residency programs and

hospitals, typically consider things like the following when evaluating IMGs:

       a.       in-person interviews

       b.       information provided directly by the IMG

       c.       letters of recommendation

       d.       skills assessments or additional examinations

       e.       reports from prior educational or training programs

       f.       medical school transcripts

       g.       information obtained as part of a background check

       h.       ongoing performance monitoring



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Rebuttal Rep. of L. Beck, attached as Exhibit 6, at 4; Rebuttal Rep. of M. Smith, attached as Exhibit

7, at 2.

11.        The institution receiving the ECFMG Certification status report independently assesses the

criteria enumerated in ¶ 8. Ex. 6 at 4–7.

12.        State licensing boards have their own requirements beyond ECFMG Certification for

issuing a license to practice medicine. Ex. 6 at 3–4.

13.        In Maryland, those requirements include graduation from an approved medical school,

being of good moral character, completion of at least 2 years of a residency program accredited by

the Accreditation Council for Graduate Medical Education or the American Osteopathic

Association, as well as further requirements. Akoda App. to Md. Bd. of Physicians, attached as

Exhibit 8. See also Ex. 6 at 4; Ex. 7 at 3-4.

14.        Residency programs typically track and evaluate residents on an ongoing basis based on a

variety of factors other than ECFMG Certification status. Ex. 7 at 3. These evaluations often

include annual progression reports, annual examinations, and ongoing supervision by the faculty

of the residency program. Ex. 7 at 3.

15.        Hospitals typically continue to evaluate their physicians on an ongoing basis through their

Medical Director’s office on attributes such as clinical performance, demeanor, and interactions

with patients and staff. Ex. 6 at 6–7.

16.        IMGs are subject to normal employee processes—like payroll, taxes, healthcare programs

and other requirements of employment— and residency programs and hospitals gather information

from IMGs independently for these processes. Ex. 7 at 5.

17.        The American Board of Obstetrics and Gynecology has its own certification process

independent of ECFMG Certification. Ex. 6 at 7.



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18.    Medical specialty board certification typically requires passing a written and oral

examination, undergoing a personal interview, review of academic credentials, review of prior

case logs, letters of recommendation from residency and fellowship directors, and consideration

of any disciplinary action, criminal, or immoral behavior that comes to their attention. Ex. 6 at 7.

19.    Following medical specialty board certification, a candidate must comply with annual

requirements for ongoing educational modules to maintain certification. Ex. 6 at 7.

                            ECFMG’s Irregular Behavior Processes

20.    ECFMG defines conduct that does or tries to subvert ECFMG’s processes and programs

as “irregular behavior” and has a process for evaluating suspected irregular behavior. ECFMG

Irregular Behavior Policy, attached as Exhibit 9; Ex. 2 at 55:23-56:7.

21.    When ECFMG suspects that an individual may have engaged in irregular behavior,

ECFMG staff investigates by, inter alia, communicating with the source of the suspicion and with

the accused. Ex. 2 at 76:12-77:5.

22.    If ECFMG staff determines that there is sufficient evidence that an individual has engaged

in irregular behavior, the matter is referred to ECFMG’s Medical Education Credentials

Committee (“MECC”), a sub-committee of ECFMG’s Board of Trustees, for a formal

determination on the merits. Ex. 2 at 76:24-77:5.

23.    Mere suspicions of irregular behavior are not made public or reported to third parties to

avoid damage to the suspect individual’s career and reputation based on unsubstantiated

allegations. Ex. 2 at 181:9-23.

24.    If an IMG is found to have engaged in irregular behavior by ECFMG’s MECC, ECFMG

annotates the individual’s record and can, inter alia, limit the individual’s participation in ECFMG

programs or withhold or revoke existing ECFMG Certificates. Ex. 9.



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25.    ECFMG is not a government enforcement or investigative agency. Ex. 2 at 76:12-77:5.

                              John Nosa Akoda and His Aliases

26.    In 1992, an individual applied to ECFMG using the name Oluwafemi Charles Igberase.

Verification Papers – University of Ibadan, attached as Exhibit 10.

27.    The individual who had applied to ECFMG under the name Oluwafemi Charles Igberase

presented ECFMG with a medical school diploma from the University of Ibadan in Nigeria. Ex.

10.

28.    University of Ibadan sent ECFMG verification of diplomas and credentials for Charles

Oluwafemi Igberase. Ex. 10.

29.    In July of 1992, the individual who had applied to ECFMG under the name Oluwafemi

Charles Igberase passed the ECFMG English test and failed both the basic medical science

component and the clinical science component of the FMGEMS. Sep. 15, 1992 Igberase Score

Report, attached as Exhibit 11.

30.    In January of 1993, the individual who had applied to ECFMG under the name Oluwafemi

Charles Igberase passed the ECFMG English test and the clinical science component of the

FMGEMS but failed the basic medical science component of the FMGEMS. Mar. 27, 1993

Igberase Score Report, attached as Exhibit 12.

31.    In July of 1993, the individual who had applied to ECFMG under the name Oluwafemi

Charles Igberase passed the basic science component of the FMGEMS. Ex. 5.

32.    In September of 1993, ECFMG notified the individual who had applied under the name

Oluwafemi Charles Igberase that he had satisfied all testing criteria for ECFMG Certification. Ex.

5.




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33.    ECFMG issued an ECFMG Certificate (No. 482-700-2) to the individual who had applied

to ECFMG under the name Oluwafemi Charles Igberase. June 22, 1995 Letter from W. Kelly,

attached as Exhibit 13.

34.    The individual who had applied to ECFMG under the name Oluwafemi Charles Igberase

did not gain admission to a residency program. July 20, 1995 Letter from Igberase Oluwafemi

Charles, attached as Exhibit 14, at 1–2.

35.    In 1994, the individual who had applied to ECFMG under the name Oluwafemi Charles

Igberase applied again for ECFMG Certification, this time using the name Igberase Oluwafemi

Charles. Plea Agreement Terms, attached as Exhibit 15, at 9.

36.    In the application under the name “Igberase Oluwafemi Charles,” the individual answered

“no” to the question of whether he had previously applied to ECFMG. Ex. 15 at 9; May 3, 2001

Letter from W. Kelly, attached as Exhibit 16.

37.    ECFMG issued an ECFMG Certificate (No. 0-519-573-0) to the individual who applied to

ECFMG using the name Igberase Oluwafemi Charles. Dec. 7, 1995 Letter from W. Kelly, attached

as Exhibit 17.

38.    Misrepresenting ECFMG application history to ECFMG can constitute irregular behavior.

Ex. 17 at 14.

39.    ECFMG notified the individual who applied to ECFMG using the name Igberase

Oluwafemi Charles that it was conducting an investigation of whether he had previously applied

to ECFMG when he indicated on his application that he had not previously applied. Ex. 17 at 14.

40.    The individual who had applied to ECFMG under the name Igberase Oluwafemi Charles

admitted that he had previously applied to ECFMG, despite representing otherwise on his

application. Ex. 17 at 15–16.



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41.      ECFMG staff determined that there was sufficient evidence that the individual who had

applied to ECFMG under the name Igberase Oluwafemi Charles had engaged in irregular behavior

by misrepresenting his application history with ECFMG to refer the matter to the MECC. Ex 17

at 13.

42.      The MECC found that the individual who had applied to ECFMG under the name Igberase

Oluwafemi Charles had engaged in irregular behavior and (1) invalidated the ECFMG Certificate

issued to Oluwafemi Igberase Charles; and (2) revoked the ECFMG Certificate issued to

Oluwafemi Charles Igberase. Ex. 17.

43.      ECFMG later barred the individual who had applied to ECFMG under the names

Oluwafemi Charles Igberase and Igberase Oluwafemi Charles from applying to ECFMG after he

submitted additional fraudulent applications using other variations of the names Oluwafemi,

Charles, and Igberase, each of which ECFMG identified and refused to process when received.

Ex. 16; May 22, 2002 Letter from W. Kelly, attached as Exhibit 18.

44.      In 1996, an individual using the name John Nosa Akoda applied for ECFMG Certification

with applicant number 0-553-258-5. Akoda ECFMG Application, attached as Exhibit 19.

45.      The individual who had applied to ECFMG under the name John Nosa Akoda applied to

take the March 1996 USMLE Step 2 exam and the June 1996 USMLE Step 1 exam. Aug. 22, 2000

Letter from W. Kelly, attached as Exhibit 20.

46.      The individual who had applied to ECFMG under the name John Nosa Akoda presented

ECFMG with a medical school diploma from the University of Benin. University of Benin Degree,

attached as Exhibit 21.

47.      The University of Benin sent ECFMG verification of diploma and credentials for Johnbull

Enosakhare Akoda. Ex. 21.



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48.    The individual who applied to ECFMG under the name John Nosa Akoda misrepresented

his ECFMG application history to ECFMG and made no reference to any previous applications to

ECFMG. Ex. 19; Ex. 15 at 10.

49.    The individual who had applied to ECFMG under the name John Nosa Akoda passed the

English exam in August 1996. Aug. 12, 1997 Letter from N. Gary, attached as Exhibit 22.

50.    The individual who had applied to ECFMG under the name John Nosa Akoda passed the

USMLE Step 2 Exam in August 1996. Ex. 22.

51.    The individual who had applied to ECFMG under the name John Nosa Akoda passed the

USMLE Step 1 Exam in June 1997. Ex. 22.

52.    ECFMG certified the individual who had applied to ECFMG under the name John Nosa

Akoda in 1997 based on his passing of Steps 1 and 2 of the USMLE and the primary source

verification of a diploma by the University of Benin. Verification Papers – University of Benin,

attached as Exhibit 23; John Nosa Akoda ECFMG Certificate, attached as Exhibit 24

53.    After obtaining this ECFMG Certification, the individual who had applied to ECFMG

under the name John Nosa Akoda successfully passed Step 3 of the USMLE. Md. State Bd. of

Physicians Decision, attached as Exhibit 25, at 5.

54.    Oluwafemi Charles Igberase, Igberase Oluwafemi Charles and John Nosa Akoda were all

the same person (hereinafter referred to as “Akoda”). Ex. 15 at 9–11.

                     Akoda’s Residency at Jersey Shore Medical Center

55.    Akoda applied to a residency program in internal medicine at Jersey Shore Medical Center

(“JSMC”). Ex. 15 at 10.; Nov. 7, 2000 Letter from A.M. Sesso, attached as Exhibit 26.

56.    JSMC accepted Akoda as a resident in its internal medicine program in 1998. Akoda

Request for Permanent Revalidation of Standard ECFMG Cert., attached as Exhibit 27.



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57.    In 1999, JSMC received an allegation that Akoda had participated in two other U.S.

residency programs under the name Oluwafemi Charles Igberase. Aug. 11, 2000 Letter from J.

McCorkel, attached as Exhibit 28.

58.    When JSMC tried to verify the Social Security number that Akoda provided directly to

JSMC in his residency paperwork, JSMC concluded that it belonged to Charles Igberase. Ex. 28.

59.    JSMC notified ECFMG of its investigation into Akoda, but JSMC did not inform ECFMG

of the source of the allegation against Akoda. Ex. 28.

60.    In an August 11, 2000 letter from James McCorkel at JSMC, Mr. McCorkel asked if

ECFMG had received requests for Akoda’s ECFMG certification status from Harlem Hospital

Center or JFK Memorial Hospital. Ex. 28.

61.    ECFMG had no records indicating that Harlem Hospital Center or JFK Memorial Hospital

had requested ECFMG verification for any of Akoda’s aliases or USMLE / ECFMG identification

numbers. Aug. 22, 2000 Letter from S. Seeling, attached as Exhibit 29.

62.    ECFMG conducted its own investigation to determine if Akoda and Igberase were the same

person. Ex. Ex. 20; Sep. 27, 2000 Memo, attached as Exhibit 30; Dec. 21, 2000 Memo, attached

as Exhibit 31.

63.    ECFMG required Akoda to submit an explanation for why it appeared he had previously

applied to ECFMG but had answered “no” to the question whether he had previously submitted an

application to ECFMG. Ex. 20.

64.    In response to the inquiry from ECFMG, Akoda explained that “Igberase Charles” was his

cousin and admitted using a social security number allegedly belonging to his cousin. Aug. 29,

2000 Letter from Akoda, attached as Exhibit 32; Ex. 30.




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65.    Akoda provided ECFMG with what appeared to be his Nigerian passport and an

international driving permit as documentation of his identity. Ex. 32; Ex. 30.

66.    ECFMG staff determined that there was insufficient evidence of irregular behavior to bring

Akoda before the ECFMG MECC on an allegation that he was Igberase. Dec. 22, 2000 Memo,

attached as Exhibit 33; Ex. 2 at 150:24-151:6.

67.    In 2000, JSMC discharged Akoda because of perceived discrepancies involving his Social

Security number and green card, which was not part of his ECFMG application. Ex. 31.

68.    In a November 7, 2000 letter, JSMC wrote to the Maryland Board of Physicians about the

discrepancies in Akoda’s Social Security number and green card. Nov. 7. 2000 Letter from A.M.

Sesso, attached as Exhibit 34.

69.    ECFMG continued to investigate Akoda but took no adverse action against him at that time

because ECFMG staff concluded there was insufficient evidence of irregular behavior. Ex. 2 at

150:24-151:6; Nov. 22, 2006 Letter from W. Kelly, attached as Exhibit 35.

70.    ECFMG staff was nonetheless suspicious of Akoda’s identity. Ex. 33.

                      Akoda’s Residency at Howard University Hospital

71.    Akoda applied to Howard University Hospital’s residency program. March 16, 2007 Letter

to John-Charles Akoda from Howard University Hospital, attached as Exhibit 36.

72.    Howard sent Akoda a letter of acceptance dated March 16, 2007. Ex. 36.

73.    Akoda admitted to providing Howard a false permanent resident card in the name “N.

Akoda, John Charles.” Ex. 15 at 10.

74.    Akoda began Howard’s residency program on July 1, 2007 and completed it on June 30,

2011. Howard University Hospital Certificate, attached as Exhibit 37.




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                              State Licenses to Practice Medicine

75.    The Virginia Department of Health Professions licensed Akoda to practice medicine in the

Commonwealth of Virginia in 2011. Virginia License Suspension, attached as Exhibit 38.

76.    The Maryland State Board of Physicians licensed Akoda to practice medicine in the state

of Maryland in September of 2011. Ex. 25 at 5.

77.    On his application for medical licensure in Maryland, Akoda omitted his residency at

JSMC. Akoda Md. Bd. of Physicians App., attached as Exhibit 39, at 5.

78.    Akoda’s application for medical licensure in Maryland required that if his name was “not

written the same way on all documents,” he had to “submit documentation to explain how and why

[his] name differs and submit one of the following documents to support the name change:

Passport, INS card, birth certificate, court document, marriage license, court decree.” Ex. 39 at 4.

79.    The ECFMG Certification status report for Dr. Akoda received by the Maryland Board of

Physicians in 2011 stated that its purpose is to “indicate whether this individual is certified by

ECFMG” and that ECFMG “verified medical school credentials directly with the medical

schools[.]” ECFMG Certification Status Rep., attached as Exhibit 40.

80.    Akoda’s name appeared differently on his medical licensure application (“John Charles

Nosa Akoda” and “Charles John Nosa Akoda”), ECFMG Certificate (“John Nosa Akoda”), his

medical school diploma (“Johnbull Enosakhare Akoda”), and his residency program certificate of

completion (“John-Charles Nosa Akoda”). Ex. 25 at 3 n.4; Ex. 24; Ex. 23; Ex. 37.

81.    Akoda admitted to providing a false permanent resident card and a false Maryland driver’s

license in connection with:

           a. His application for medical licensure in Maryland. Ex. 15 at 10.

           b. His application for privileges at Prince George’s Hospital Center. Ex. 15 at 9.



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82.       The Maryland Board of Physicians was aware of the allegations that Akoda had used other

names and may have misrepresented his identity in 2014. Email Correspondence Between ECFMG

and Md. Bd. of Physicians, attached as Exhibit 41.

83.       Akoda’s Maryland medical license was not revoked until July 10, 2017. Ex. 25 at 8.

84.       The grounds for revocation of Akoda’s medical license were that he plead guilty in 2016

to Social Security fraud, which constituted a crime of moral turpitude requiring revocation. Ex. 25

at 5–6.

85.       Akoda renewed his Maryland medical license through September 30, 2016, when it

expired. Ex. 25 at 3.

86.       The Virginia Department of Health Professions revoked Akoda’s Virginia medical license

on April 25, 2017 because of his criminal conviction. Ex. 38.

           Akoda’s Employment at Prince George’s Hospital and in Private Practice

87.       Prince George’s Hospital Center awarded Akoda medical privileges to treat patients in

2012. Ex. 15 at 9.

88.       In a previous lawsuit, Plaintiff Evans claimed that Dimensions Healthcare, which operated

Prince George’s Hospital, could have “avoided all injuries, damages, . . . and disability” suffered

by Ms. Evans:

          [Dimensions] and its duly authorized agents, apparent agents, servant and/or
          employees failed to perform an appropriate and proper investigation and
          background check of Akoda before granting him privileges to act as a practitioner
          and specialist in obstetrics and gynecology. Had they done so, as was required,
          Akoda’s fraudulent conduct would have been discovered, and he would have been
          precluded from seeing patients at [Dimensions’] institutions or entities, thereby
          avoiding all of the injuries, damages (economic and non-economics) and disability
          suffered by this Plaintiff.

Evans Dimensions Rog. Answers, attached as Exhibit 42, at 2-3.




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89.    In a previous lawsuit, Plaintiffs offered an expert in health care administration,

credentialing, and privileging who believed Dimensions Healthcare was responsible for Plaintiffs’

injuries, damages and permanent disability:

       [Dimensions] breached the applicable standards of administrative care by
       negligently failing to use required and reasonable care to investigate, credential,
       grant privileges, monitor and supervise their medical personnel including, but not
       limited to, Akoda and to discover, stop and report any professional misconduct of
       which they should have known. As a direct and proximate result of the Defendants'
       continuing negligence, the Claimants, and others similarly situated, suffered
       physical pain, emotional anguish, and damages as well as permanent disability. Had
       [Dimensions] complied with the applicable standards of administrative care the
       Claimants, and others similarly situated, would not have suffered their injuries,
       damages and permanent disability.

Bojko Rep., attached as Exhibit 43, at 3.

90.    Akoda also worked with medical practices run by Dr. Abdul Chaudry and Dr. Javaka

Moore. Evans Supp. Answers to Rogs., attached as Exhibit 44 at Rog. 1; Powell Supp. Answers

to Rogs., attached as Exhibit 45 at Rog. 1; Riggins Supp. Answers to Rogs., attached as Exhibit

46, at Rog. 1; & Russell Supp. Answers to Rogs., attached as Exhibit 47, at Rog. 1.

                                  Other Entities Evaluating Akoda

91.    In 2012, Akoda submitted a Medicare Enrollment Application to the Centers for Medicare

and Medicaid Services (“CMS”). Ex. 15 at 10.

92.    CMS denied the application based, in part, on CMS’s determination that Akoda did not

provide an accurate Social Security number. Ex. 15 at 10.

93.    American Board of Obstetrics and Gynecology (“ABOG”) certified Akoda on January 31,

2014. ABOG Board Letter to Akoda, attached as Exhibit 48.

94.    ABOG waited until January 2018 to revoke his diplomate status. Aug. 30, 2017 ABOG

Letter, attached as Exhibit 49.




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                          Law Enforcement Involvement and Guilty Plea

95.    In 2014, ECFMG received a subpoena from a U.S. Attorney’s office regarding Akoda.

2014 Email Correspondence between ECFMG and Md. Bd. of Physicians, attached as Exhibit 41.

96.    ECFMG cooperated with the investigation and followed instructions from federal

authorities not to take adverse action against Akoda while the investigation was ongoing. Ex. 41.

97.    In 2014, ECFMG worked together with the Maryland Board of Physicians to assist their

investigation. Ex. 41.

98.    In March 2016, Prince George's County Police Department contacted ECFMG about

Akoda. Mar. 2016 ECFMG Email Chain, attached as Exhibit 50.

99.    ECFMG cooperated with the Prince George’s County Police Department’s investigation

and followed additional instructions from law enforcement not to impede the investigation and not

to take adverse action against Akoda while the investigation was ongoing. Nov. 2016 Email Chain,

attached as Exhibit 51.

100.   On November 15, 2016, Akoda pled guilty to misuse of a Social Security number and

stipulated that he and Oluwafemi Charles Igberase were the same person. Ex. 15.

101.   After Akoda pled guilty, ECFMG consolidated the Igberase and Akoda files and revoked

the ECFMG Certificate issued to John Nosa Akoda. March 1, 2017 ECFMG Notice, attached as

Exhibit 52.

                                     Plaintiff Desire Evans

102.   Plaintiff Desire Evans is a resident of Waldorf, Maryland. Evans Dep., attached as Exhibit

53, at 14:22-24.

103.   Ms. Evans gave birth to her son on March 17, 2016 at Prince George’s Hospital in

Maryland. Ex. 53 at 35:22-25, 42:20-23.



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104.   Ms. Evans did not know which doctor would be there for her induction. Ex. 53 at 42:4-13;

83:4-20.

105.   Ms. Evans consented to undergoing treatment by Akoda. March 16, 2016 Evans Consent

Forms, attached as Exhibit 54.

106.   Ms. Evans did not conduct any research into the credentials of her primary OB/GYN

doctor, Dr. Moore or the physicians at Dr. Moore’s practice. Ex. 53 at 44:20-45:9, 45:23-46:4.

107.   Ms. Evans did not ask Akoda about his credentials or professional experience. Ex. 53 at

86:12-19, 87:2-5.

108.   Akoda treated Ms. Evans while she was in labor and then performed a C-section on her.

Ex. 53. at 87:6-23, 93:18-19.

109.   Ms. Evans’ son was delivered healthy. Ex. 53 at 95:16-17.

110.   Ms. Evans testified that Akoda used language with her that she found “inappropriate,”

including calling her “baby” and “mama.” Ex. 53 at 158:158:4-11.

111.   Ms. Evans claims that Akoda performed “intrusive pelvic examinations” on her. Evans

Rogs., attached as Exhibit 55, at 7.

112.   Ms. Evans alleges that Akoda “was, like, fondling my clitoris” during her labor and that

during her labor, she felt that he mistreated her. Ex. 53 at 131:20-132:3, 137:22-138:3; Ex. 55 at

7.

113.   Ms. Evans testified that her husband questioned Akoda about how he touched Ms. Evans.

Ex. 53 at 133:10-14.

114.   Ms. Evans testified that she discussed Akoda’s conduct with her husband and her mother

shortly after the birth. Ex. 53 at 138:6-17.




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115.   Ms. Evans claims that her husband and mother were both in the room with her while Akoda

treated her. Ex. 53at 132:7-12.




117.   Ms. Evans learned of Akoda’s identity after hearing a radio advertisement from a law firm

in 2018. Ex. 53at 73:12-74:13.

118.   Ms. Evans never sought treatment from a psychiatrist or psychologist prior to the birth of

her son. Ex. 53 at 66:4-13.

119.   Ms. Evans has seen a doctor for her social anxiety since the birth of her son, and a

physician’s assistant recorded that Ms. Evans was experiencing “depression/anxiety” and

“potential postpartum.” Ex. 53 at 64:14-65:25, 105:24–106:5.

120.   Ms. Evans denied feeling anxious and depressed for most of her life, just “normal anxious.”

Ex. 53 at 112:19-113:5.

121.   Ms. Evans claims that she is afraid to see a doctor, does not know who to trust, and her

trust in the medical profession has diminished. Ex. 53 at 165:8-21.

122.   None of Ms. Evans’ medical records reference Akoda. Evans Dep. Ex. 3, attached as

Exhibit 56.

123.   Ms. Evans had no knowledge of ECFMG when she was treated by Akoda. Ex. 53 at 82:20-

22.

124.   Ms. Evans first learned of ECFMG from her lawyers. Ex. 53 at 70:24-71:17.

125.   Ms. Evans believes that ECFMG’s purpose is “to verify identification documentation,” not

foreign medical diplomas, and that ECFMG is responsible for verifying IMGs’ Social Security




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numbers, birth certificates, green cards, state medical licenses, board certifications, and any other

“piece of identifying information about a foreign medical graduate.” Ex. 53 at 80:14-82:4.

126.    After conducting Internet research, Ms. Evans believed ECFMG “was some kind of

credentialing company or something” and was not “100 perfect sure of the nature of the company.”

Ex. 53 at 72:18-19

127.    Dr. Gladys Fenichel examined Ms. Evans on September 9, 2019. Fenichel Rep. on Evans,

attached as Exhibit 57, at 1.

128.    Dr. Fenichel did not find Ms. Evans’ psychiatric conditions of major depression and panic

disorder to be related to the allegations she made in the complaint against ECFMG. Ex. 57 at 8.

129.    Dr. Christine Tellefsen examined Ms. Evans on September 16, 2019. Tellefsen Rep.,

attached as Exhibit 58, at 4.

130.    Dr. Tellefsen concluded that Ms. Evans’ conditions “is complicated by a number of other

factors in her life.” Ex. 58 at 4.

131.    Dr. Tellefsen also concluded that Ms. Evans likely has a “pseudotumor cerebri,” causing

her headaches and poor concentration. Ex. 58 at 4.

132.    Dr. Tellefsen found that Ms. Evans likely has Mood Disorder and Adjustment Disorder

with Mixed Disturbance of Behavior. Ex. 58 at 5.

                                       Plaintiff Elsa Powell

133.    Plaintiff Elsa Powell is a resident of Upper Marlboro, Maryland. Powell Dep., attached as

Exhibit 59, at 20:1-3.

134.    Ms. Powell gave birth to her son on September 17, 2014. Ex. 59 at 22:4.

135.    Ms. Powell was originally supposed to be seen by Dr. Chaudry at his practice, but he was

unavailable and she saw Akoda instead. Ex. 59 at 40:7-12.



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136.    Ms. Powell consented to being treated by Akoda at Dr. Chaudry’s practice and at Prince

George’s Hospital in Maryland during her pregnancy. Sep. 17, 2014 Powell Consent Forms,

attached as 60; Ex. 59 at 40:7-12.

137.    Ms. Powell regularly saw Akoda starting in April of 2014, during her labor on September

17, 2014 and for post-natal care through January of 2015. Ex. 59 at 38:20-39:1-2, 39:21-40:16;

Ex. 45 at 2, 8.

138.    Ms. Powell testified that Akoda was “flirtatious” towards Ms. Powell. Ex. 59 at 51:16-19.

139.    Ms. Powell testified that she requested that a nurse be present during her appointments with

Dr. Akoda. Ex. 59 at 51:16-19.

140.    Ms. Powell testified that Akoda made lewd comments about her breasts. Ex. 59 at 51:21-

25.

141.    Ms. Powell claims Akoda performed “intrusive pelvic exams” on her. Powell Rog.,

attached as Exhibit 61, at 7.

142.    Akoda aided Ms. Powell in the delivery of her son. Ex. 59 at 44:11-14.

143.    Ms. Powell’s son had no complications during delivery. Ex. 59 at 48:18-20.

144.    After the birth of her son, Ms. Powell experienced heavy bleeding while at the hospital,

and Akoda took her into surgery. Ex. 59 at 45:12-46:7.

145.    Ms. Powell believes that before taking her into surgery, Akoda told her “I’m sorry, I should

have detected it sooner, I’m so sorry, we’re getting the O.R. ready for you.” Ex. 59 at 45:12-46:2.

146.    Ms. Powell recovered well from the emergency surgery that Akoda performed on her after

she delivered her son. Ex. 59 at 47:20-24.

147.    Ms. Powell claimed she suffered from emotional anguish, fear, and anxiety from learning

that Akoda was not properly credentialed. Ex. 45 at 3.



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148.   Ms. Powell claims she does not “have a peace of mind” since finding out Akoda was not

who he said he was. Ex. 59 at 98:20-24.

149.   Ms. Powell has never sought treatment from a psychologist, psychiatrist, or counselor and

did not seek any treatment after hearing about the charges brought against Akoda. Ex. 59 at 32:10-

17, 99:10-12.

150.   Ms. Powell has seen doctors since finding out about Akoda’s identity. Ex. 59 at 25:22-24.

151.   Ms. Powell has not sought treatment from any health care provider for alleged injuries

related to this lawsuit. Ex. 45 at 7.

152.   Ms. Powell contends that PGHC was negligent and should have discovered Dr. Akoda’s

alias sooner. Powell Dimensions Rog., attached as Exhibit 62, at 3.

153.   Ms. Powell first learned about the social security fraud charged against Akoda in 2017.

Powell Dep. at 63:12-17.

154.   Ms. Powell had no knowledge of ECFMG prior to this lawsuit. Ex. 45 at 4.

155.   Ms. Powell learned about ECFMG from her attorney. Ex. 59 at 90:9-16.

156.   Ms. Powell believes ECFMG licenses foreign medical doctors to practice medicine in the

United States. Ex. 59 at 91:6-11.

157.   Ms. Powell testified that she believed it was wrong for ECFMG to provide Akoda with a

license to practice medicine. Ex. 59 at 93:18-23.

158.   Ms. Powell doubts Akoda had medical training. Ex. 59 at 80:5-7.

159.   Dr. Fenichel examined Ms. Powell on September 9, 2019. Fenichel Rep. on Powell,

attached as Exhibit 63, at 1.




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160.   Dr. Fenichel did not find Ms. Powell to present with any symptoms compatible with a

psychiatric disorder causally related to her allegations in the complaint against ECFMG. Ex. 63 at

6.

161.   Dr. Tellefsen examined Ms. Powell on September 13, 2019. Ex. 58 at 3.

162.   Dr. Tellefsen diagnosed Ms. Powell with Adjustment Disorder with Anxiety. Ex. 58 at 4.

                                   Plaintiff Jasmine Riggins

163.   Plaintiff Jasmine Riggins is a resident of Washington, D.C. Riggins Dep., attached as

Exhibit 64, at 20:1-3.

164.   Ms. Riggins gave birth to her son at Prince George’s Hospital in Maryland on March 18,

2013. Riggins Rog. Answers, attached as Exhibit 65, at 2.

165.   Ms. Riggins chose to be treated by Dr. Abdul Chaudry’s practice, with whom Akoda

worked at Prince George’s Hospital. Ex. 46 at 2-3.

166.   Ms. Riggins consented to treatment by Akoda. Riggins Consent Forms, attached as Exhibit

66.

167.   Akoda performed a C-section on Ms. Riggins on March 18, 2013. Ex. 46 at 3.

168.   Ms. Riggins learned of Akoda’s identity in July of 2017. Ex. 64 at 84:16-85:5.

169.   Ms. Riggins claims to have experienced emotional distress only once she found about

Akoda being a “fake doctor.” Ex. 64 at 55:19-24.

170.   Ms. Riggins testified that she feels angry, sad, embarrassed, and ashamed because of

Akoda’s conduct. Ex. 64 at 57:8-13.

171.   Ms. Riggins has not sought medical attention for any of her alleged injuries. Ex. 64. at

86:14-87:11.




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172.   Ms. Riggins has never been diagnosed with depression, post-traumatic stress disorder, a

sleeping disorder or any psychiatric disorder. Fenichel Rep. on Riggins, attached as Exhibit 67 at

3; Riggins Dimensions RFA, attached as Exhibit 68 at 4.

173.   Since being treated by Akoda, Ms. Riggins does not typically feel anxious, worried, scared,

or panicky. Ex. 64 at 60:7-9; Ex. 68 at 8.

174.   Ms. Riggins does not claim Akoda physically injured her. Ex. 64 at 56:4-6.

175.   Ms. Riggins has not suffered physical distress from learning about Akoda’s guilty plea. Ex.

64 at 64:1-7.

176.   Ms. Riggins does not have a depressed mood or suicidal thoughts. Ex. 64 at 59:14-22.

177.   Ms. Riggins believed Dimensions’ negligence “was the sole and proximate cause of [her]

injuries”. Ex. 64 at 123:7-15; Dimensions First Amended Compl., attached as Exhibit 69, ¶ 81.

178.   Ms. Riggins doubts whether PGHC performed a satisfactory background check on Akoda.

Riggins Dimensions Dep., attached as Exhibit 70, at 78:2-8.

179.   Ms. Riggins has seen doctors since finding out about Akoda’s identity. Ex. 64 at 103:9-

104:18.

180.   Dr. Fenichel examined Ms. Riggins on September 20, 2019. Fenichel Rep. on Riggins,

attached as Exhibit 71, at 1.

181.   Dr. Fenichel did not find Ms. Riggins to have any psychiatric disorder causally related to

the allegations in the complaint. Ex. 71 at 4.

182.   Ms. Riggins believes the Maryland Board of Physicians, the American Board of

Obstetricians and Gynecologists, and Dr. Chaudry are also responsible for the injuries she has

alleged. Ex. 64 at 56:7-57:2.




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183.   Ms. Riggins had never heard of ECFMG until her lawyers informed her of the existence of

the organization. Ex. 64 at 130:18-131:1.

184.   Ms. Riggins believed ECFMG administers exams and licenses foreign doctors to practice

medicine in the United States. Ex. 64 at 26:17-24, 27:20-24.

185.   Ms Riggins believes ECFMG should “[b]e more careful about who they certify.” Ex. 64 at

138:17-23.

186.   Ms. Riggins testified that it might make a difference to her to know that ECFMG had

cooperated with the U.S. Attorney’s Office in its case against Akoda. Ex. 64 at 141;18-22.

                                   Plaintiff Monique Russell

187.   Plaintiff Monique Russell is a resident of Annapolis, Maryland. Russell Dep., attached as

Exhibit 72, at 10:24-25.

188.   Ms. Russell gave birth to her son on May 25, 2016 at Prince George’s Hospital. Ex. 72 at

12:23-25, 32:24-25.

189.   Ms. Russell’s primary OB/GYN during her pregnancy was Dr. Waldrop from Dr. Moore’s

practice. Ex. 72 at 32:11-25, 34:19-24.

190.   Ms. Russell knew before her delivery that Dr. Waldrop might be unavailable at the time

and that her baby might be delivered by Akoda. Ex. 72 at 37:23-38:18.

191.   Ms. Russell consented to being seen by Akoda if Dr. Waldrop were unavailable. Russell

Consent Forms, attached as Exhibit 73; Ex. 72 at 38:12-19.

192.   Akoda first treated Ms. Russell when she was in labor. Ex. 72 at 37:5-9.

193.   Akoda helped deliver Ms. Russell’s son in 2016 via an unplanned C-section. Ex. 72 at

12:23-25, 37:5-9, 41:4-14.

194.   Ms. Russell consented to the C-section that Akoda performed. Ex. 72 at 45:1-3.



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195.   Ms. Russell described her recovery from the C-section performed by Akoda as “minor.”

Fenichel Rep. on Russell, attached as Exhibit 74, at 7.

196.   Ms. Russell believed that the course of treatment from Akoda “really was best/necessary.”

Russell Facebook comments, attached as Exhibit 75, at 4.

197.   Ms. Russell alleges that Akoda’s conduct has exacerbated her innate trust issues. Ex. 47 at

2-3.

198.   Ms. Russell claimed she experienced anxiety upon learning of Akoda’s identity. Russell

Dimensions RFA, attached as Exhibit 76, at 8.

199.   Ms. Russell experienced no atypical symptoms after her C-section, and her son has had no

health problems. Ex. 72 at 53:15-21.

200.   Ms. Russell has not sought treatment from a psychiatrist or psychologist at any point in her

adult life, including before and after Akoda delivered her baby. Ex. 72 at 69:21-70:5.

201.   In 2018, Ms. Russell gave no indication of depression, anxiety, suicidal thoughts, or other

mental health issues to her doctor. Ex. 72 at 98:22-99:8.

202.   Ms. Russell does not claim to suffer from post-traumatic stress disorder. Ex. 72 at 121:23-

25; Ex. 76 at 4-6.

203.   Ms. Russell has never been formally diagnosed with depression, anxiety, a permanent

disability, or a sleeping disorder. Ex. 72 at 122:1-123:18; Ex. 76 at 6-7, 11.

204.   In a previous lawsuit, Ms. Russell admitted to not having depression as a result of learning

about Akoda’s identity. Ex. 76 at 6-7.

205.   In a previous lawsuit, Ms. Russell admitted to not having a physical injury or suffering

from physical pain as a result of learning about Akoda’s identity. Ex. 76 at 9.

206.   Ms. Russell does not claim to suffer sleeplessness. Ex. 76 at 10.



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207.   Ms. Russell does not allege that Akoda sexually assaulted her. Ex. 72 at 129:16-130:11.

208.   Ms. Russell claims that her emotional distress and distrust of doctors were “amplified when

Plaintiff discovered that Defendant Dimensions never performed an appropriate background check

on Akoda.” Ex. 47 at 3. See also Ex. 69 ¶ 71.

209.   Ms. Russell has seen a doctor since finding out about Akoda. Ex. 72 at 60:4-10.

210.   Ms. Russell found out about Akoda’s guilty plea in June of 2017. Ex. 72 at 31:1-7.

211.   Dr. Moore informed Ms. Russell that Dr. Moore’s practice did not conduct a background

check on Akoda. Ex. 72 at 57:11-21.

212.   Dr. Fenichel examined Ms. Russell on September 17, 2019. Ex. 74 at 1.

213.   Dr. Fenichel did not find Ms. Russell to have any psychiatric disorder causally related to

the allegations in the complaint. Ex. 74 at 7.

214.   Ms. Russell believes ECFMG is a governmental entity. Ex. 72 at 77:13-23.

215.   Ms. Russell believes ECFMG does background checks on applicants such as Akoda. Ex.

72 at 77:13-23.

216.   Ms. Russell believes Akoda is a “fake doctor,” who “was not properly trained as a doctor

or credentialed as a doctor.” Ex. 72 at 45:7-14.

217.   Ms. Russell has alleged back pain as a result of Dr. Akoda’s treatment but also indicated

she does not know if the pain is attributable to Dr. Akoda. Ex. 72 at 123:19-124:19.




 Dated: December 10, 2021                           Respectfully submitted,

                                                    /s/ Brian W. Shaffer
                                                    Brian W. Shaffer, PA Bar No. 78851
                                                    Elisa P. McEnroe, PA Bar No. 206143
                                                    Matthew D. Klayman, PA Bar No. 319105

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                                Attorneys for the Educational Commission for
                                Foreign Medical Graduates




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.


DATED: December 10, 2021                      /s/ Brian W. Shaffer
                                                      Brian W. Shaffer




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                  Exhibit 1




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  About ECFMG
Overview | Statement of Values, Mission, and Purposes | Board of Trustees | ECFMG|FAIMER Leadership | Initiatives | History | Careers at ECFMG


  Overview

ECFMG is a world leader in promoting quality health care—serving physicians, members of the medical education and regulatory communities, health care consu
issues in medical education and health workforce planning.

International medical graduates (IMGs) comprise nearly one-quarter of the U.S. physician workforce. Certification by ECFMG is the standard for evaluating the q
physicians before they enter U.S. graduate medical education (GME), where they provide supervised patient care. ECFMG Certification also is a requirement for I
three-step United States Medical Licensing Examination® (USMLE®) and to obtain an unrestricted license to practice medicine in the United States.

ECFMG provides other programs for IMGs pursuing U.S. GME, including those that assist them with the process of applying for U.S. GME positions; and that spon -




J-1 visa for the purpose of participating in such programs. We offer a verification service that allows GME programs, state medical boards, hospitals, and credenti
States to obtain primary-source confirmation that their IMG applicants are certified by ECFMG. The ECFMG Certificate Holders Office (ECHO) offers free caree
physicians pursuing ECFMG Certification.

Through more than six decades of certifying IMGs, ECFMG has developed unparalleled expertise on the world’s medical schools, the credentials they issue to the
verification of those credentials. ECFMG expanded this expertise nearly 20 years ago to include primary-source verification of credentials related to postgraduat
registration/licensure. Currently, ECFMG's Electronic Portfolio of International Credentials (EPICSM) service offers this expertise to individual physicians and the
educate, and employ them.

ECFMG’s programs for the medical education community offer valuable services to international medical schools and their graduates, and promote quality in med
Through its GEMx program, ECFMG is building a global partnership, and supporting regional partnerships, for international educational exchange in medicine an
                      sm



GEMx facilitates the elective exchange process for participating institutions and students alike, and provides students with increased access to exchange opportu
Medical School Web Portal (EMSWP), ECFMG provides access to several web-based services for international medical schools, including electronic Credentials V
Performance Data.

ECFMG’s commitment to promoting excellence in international medical education led to the establishment of its nonprofit foundation, the Foundation for Advan
Medical Education and Research (FAIMER®). FAIMER has assumed responsibility for, and expanded upon, ECFMG’s programs for international medical educator
agenda. Through FAIMER, ECFMG offers training in leadership and health professions education; creates and maintains data resources on medical education wor
research on international medical education programs, physician migration, and U.S. physician workforce issues.

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                  Exhibit 2




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            VERITEXT           LEGAL SOLUTIONS




                           Deposition of:
                        Kara Corrado
                       September 10, 2019


                          In the Matter of:

       Russell, Monique Vs. Educational
       Commission For Foreign Medical
                  Graduates




                     Veritext Legal Solutions



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                                                                       Page 1

1            IN THE UNITED STATES DISTRICT COURT
2        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
3                                    - - -
4    MONIQUE RUSSELL, JASMINE :                  Case No.
     RIGGINS, ELSA M. POWELL                :
5    AND DESIRE EVANS,                      :    2:18-cv-05629-JW
                                            :
6                    Plaintiffs,            :
                                            :
7              vs.                          :    Hon. Joshua D. Wolson
                                            :
8    EDUCATIONAL COMMISSION                 :
     FOR FOREIGN MEDICAL                    :
9    GRADUATES,                             :
                                            :
10                   Defendant.             :
11                                   - - -
12                          September 10, 2019
13                                   - - -
14              Oral deposition of KARA CORRADO, taken
15     at the offices of MORGAN LEWIS BOCKUS, LLP,
16   1701 Market Street, Philadelphia, Pennsylvania
17          beginning at 10:48 a.m., before
18    Jennifer L. McDonald, a Professional Reporter
19   and a Notary Public in and for the Commonwealth
20                          of Pennsylvania.
21                                   - - -
22       VERITEXT NATIONAL COURT REPORTING COMPANY
                          MID-ATLANTIC REGION
23              1801 Market Street - Suite 1800
               Philadelphia, Pennsylvania 19103
24

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                                  KARA CORRADO

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1             special investigations and the addition
2             of case managers, it fell under the
3             purview of the associate vice president,
4             who was Bill Kelly, and I, at the time, a
5             manager of operations program
6             development.
7                           So Bill, myself, and Virginia
8             Kesting, who reported to me, we were the
9             folks working on the irregular behavior.
10            So in that respect when I was working for
11            Bill, I was staff.
12   BY MR. THRONSON:
13            Q.            When did you get involved in
14   work on irregular behavior matters?
15            A.            That was around 2008 when I
16   moved -- changed position.
17            Q.            So the staff for the irregular
18   behavior is part of the special investigations
19   team?
20            A.            That is the special
21   investigations team now, yes.
22            Q.            Okay.       Got it.        How does ECFMG
23   serve the public?
24                          MS. McENROE:            Objection to form.


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                                  KARA CORRADO

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1                           THE WITNESS:            ECFMG serves the
2             public in a number of ways.                     Our original
3             program which was the certification
4             program severs the public in ensuring
5             that those physicians that are educated
6             outside of the U.S. and Canada meet
7             certain minimum requirements in order to
8             enter an accredited residency program in
9             the United States.
10                          We also serve the public in
11            facilitating an appropriate review of
12            them, at the same time making sure that
13            we are efficient about doing it, because
14            IMGs -- or International Medical
15            Graduates represent about 25 percent of
16            the physicians that are working in the
17            United States.
18                          So it's important from a
19            physician-workforce point of view to make
20            sure we have qualified physicians.                           So in
21            those two broad ways I would say that we
22            serve the public.
23   BY MR. THRONSON:
24            Q.            How does ECFMG serve medical


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                                  KARA CORRADO

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1    residency programs?
2                           MS. McENROE:            Objection to form.
3                           THE WITNESS:            So ECFMG has a
4             certification program that is required
5             for entrance into ACGME accredited
6             residency programs.
7    BY MR. THRONSON:
8             Q.            Any other ways in which ECFMG
9    severs medical residency programs?
10                          MS. McENROE:            Objection to form.
11                          THE WITNESS:            So we also have an
12            exchange visitor sponsorship program.                          We
13            are responsible for physicians who are
14            seeking residency and training in the
15            United States on a J-1 nonimmigrancy
16            step.
17   BY MR. THRONSON:
18            Q.            Beyond the ways in which you
19   serve medical residency programs that you
20   described, how else does ECFMG serve hospitals?
21                          MS. McENROE:            Objection to form.
22                          THE WITNESS:            I don't know that
23            I would say that we serve hospitals,
24            however, we do provide a service for


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1    obligated to exercise reasonable care in
2    performing those services?
3                           MS. McENROE:            Objection to form;
4             calls for legal conclusion as does this
5             whole line of questioning.
6                           THE WITNESS:            So ECFMG has a set
7             of policies and procedures that it
8             enforces when it is processing applicants
9             or certifying them.
10   BY MR. THRONSON:
11            Q.            Okay.       Is following -- does
12   ECFMG have the obligation to follow those
13   policies and procedures?
14                          MS. McENROE:            Objection to form;
15            also calls for legal conclusion.
16                          THE WITNESS:            I mean ECFMG, I
17            think, like any organization will follow
18            it's policies and procedures and the
19            staff will follow the policies and
20            procedures, and in the course of their
21            normal work will be working to make sure
22            they are appropriately following those
23            policies and procedures.
24   BY MR. THRONSON:


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1             Q.            Can you tell me about the
2    various categories of policies and procedures
3    that have applied perhaps at different times
4    from 1996 to the present with respect to ECFMG
5    certification of IMGs?
6                           MS. McENROE:            Objection to form;
7             calls for a narrative.
8                           You can answer if you can.
9                           THE WITNESS:            So there are
10            myriad policies and procedures that would
11            apply to ECFMG certification.                      Is there a
12            specific one or type of policy that you
13            are interested in?
14   BY MR. THRONSON:
15            Q.            What I'm thinking of, is there a
16   set of policies on irregular behavior called
17   irregular behavior policies; is there a set of
18   policies called how to perform primary-source
19   verification of the diploma?
20                          Just sort of broad categories of
21   policies or names of sets of policies?
22                          MS. McENROE:            Objection to form.
23                          THE WITNESS:            So ECFMG has
24            irregular behavior policies and


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1             procedures, and we also have an
2             information booklet that's updated yearly
3             that contains all of the policies related
4             to ECFMG certification; eligibility for
5             certification, eligibility for
6             examinations, and those types of
7             policies.
8    BY MR. THRONSON:
9             Q.            How about -- strike that.                      Has
10   it had irregular behavior policies continuously
11   from 1996 to the present?
12            A.            Yes, that's my understanding.
13            Q.            Are there any internal irregular
14   behavior polices that are not necessarily
15   published on a website or in a booklet for the
16   benefit of IMGs?
17                          So basically internal procedures
18   that govern the operation of ECFMG with respect
19   to irregular behavior?
20                          MS. McENROE:            Objection to form.
21                          THE WITNESS:            So there are
22            policies that are published on the
23            website, but there are also procedures
24            that staff would follow in terms of


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1             preparing cases for the committee and
2             sending letters out and things like that
3             that are not necessarily published.
4    BY MR. THRONSON:
5             Q.            One of the things that we've
6    been seeking in this case is just to get all
7    the relevant sets of polices and procedures,
8    and we have gotten some, but I'm trying to get
9    a sense of the universe of documents that might
10   be relevant to this case just so we have a full
11   picture of what ECFMG polices are.
12                          So if we were to, say, request
13   polices from the organization obviously one set
14   of polices that we would request would be --
15   actually have some meaning, would be a request
16   for the irregular behavior policies and
17   procedures, right?
18                          MS. McENROE:            Objection to form.
19                          THE WITNESS: (Nonverbal
20            response.)
21   BY MR. THRONSON:
22            Q.            Is there another set of polices
23   called -- that governs when to refer cases to
24   the credentialing committee?


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1             of.
2    BY MR. THRONSON:
3             Q.            So Mr. Kelly, in drafting this
4    document, never indicated to you that this is
5    something new that I'm putting in here, I think
6    we should change how we're doing a particular
7    thing?
8                           MS. McENROE:            Objection to form.
9                           THE WITNESS:            Not that I recall.
10   BY MR. THRONSON:
11            Q.            According to these procedures
12   when should an allegation of irregular behavior
13   be referred to the credentials committee?
14                          MS. McENROE:            Objection to form.
15   BY MR. THRONSON:
16            Q.            By these procedures I mean the
17   ones in Exhibit 2.
18            A.            There is, on page 4, an
19   indication to send the allegation of irregular
20   behavior which in quotes we call "the charge
21   letter to the applicant."
22            Q.            Can you show me the language you
23   are referring to; read it for me?
24            A.            The bottom of page 4.                  The very


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1    last two italicized phrases.
2             Q.            I see that.           So I'm interested
3    in knowing when staff becomes aware of an
4    allegation of irregular behavior, is there
5    anything in Exhibit 2 that indicates when staff
6    should refer that allegation to the credentials
7    committee?
8                           MS. McENROE:            Objection to form.
9    BY MR. THRONSON:
10            Q.            Or under what circumstances the
11   staff should refer to the --
12            A.            The document -- the procedures
13   are documenting walking through the process of
14   the investigation which starts with determining
15   whether the irregular behavior relates to
16   ECFMG, whether the source of the allegation is
17   credible, and the process you go through when
18   this comes to the source of the allegation.
19            Q.            Is it ECFMG's position that if
20   staff determines an allegation is credible,
21   that that allegation should be forwarded to the
22   credentials committee?
23                          MS. McENROE:            Objection to form.
24                          THE WITNESS:            So the policies


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1             and procedures on irregular behavior
2             indicate that if staff determines there
3             is sufficient evidence of irregular
4             behavior the matter will be referred to
5             the credentials committee.
6    BY MR. THRONSON:
7             Q.            Is that language in this
8    procedure; is it written down somewhere else?
9             A.            So that language without sitting
10   and reading through here, I don't know for sure
11   if it's in this document or not; but it is in
12   the medical education credentials committee
13   polices and procedures on irregular behavior.
14            Q.            Okay.       Can you say that for me
15   again, if staff determines that there is
16   sufficient evidence; is that what you said?
17            A.            That is what I said, yes.
18            Q.            What is sufficient evidence?
19            A.            Sufficient evidence, it depends
20   on the case.          For example, if it's a falsified
21   credential and the school responded and said
22   the diploma is false, then that response would
23   be sufficient evidence to make an allegation of
24   irregular behavior on a falsified credential.


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1             Q.            Okay.       I'd like to walk through
2    some -- strike that.               Has it been ECFMG's
3    procedure since 1996 that if staff determines
4    that an allegation is supported by sufficient
5    evidence that the allegation is referred to the
6    credentials committee?
7             A.            That is my understanding, yes.
8             Q.            Does the evidence have to be in
9    a particular form?              For example, does there
10   have to be a particular kind of documentary
11   evidence, or does that depend on the case?
12            A.            It depends on the case.
13            Q.            On page 6 of the polices and
14   procedures, this is Bates 10203, the procedure
15   reads "if the third party is not already
16   provided the appropriate identifying
17   information about the individual" -- so on and
18   so forth -- "ECFMG staff must determine whether
19   the individual is an applicant to ECFMG for any
20   program or service such as ECFMG certification,
21   EPIC, et cetera.            To do this staff must use all
22   the appropriate search functions to query all
23   ECFMG databases," and it mentions AMES, OASIS,
24   and EPIC as examples of those databases.


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1    went to medical school beyond that ECFMG
2    received these two diplomas that were source
3    verified by the institution?
4             A.            Yes, that's correct.
5             Q.            Does ECFMG have any information
6    apart from the source verification of those
7    diplomas that would indicate where this
8    individual actually went to medical school, if
9    anywhere?
10            A.            All of the information we have
11   about his medical education, aside from the
12   verification of the diploma by the medical
13   school's officials, would have been provided by
14   him on his applications to ECFMG.
15            Q.            So just to be totally clear,
16   apart from having these two diplomas that were
17   source verified by the institution and ECFMG's
18   belief, ECFMG can't say where and when this
19   individual, Akoda Igberase, went to medical
20   school, if anywhere?
21                          MS. McENROE:            Objection to form.
22                          THE WITNESS:            We could only
23            provide the information that the school
24            verified to us, which would include the


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1             graduation date on the diploma.
2    BY MR. THRONSON:
3             Q.            How did you obtain source
4    verification from the school?
5             A.            For those diplomas?
6             Q.            For those diplomas.
7             A.            We followed our processes at the
8    time for source verification which was to send
9    a copy of the diploma to the medical school
10   directly with a form for the school official to
11   complete, it's a safety paper form, and a
12   prepaid envelope, -- I'm sorry, it's not a
13   prepaid envelope, but an envelope addressed to
14   ECFMG to be returned to us.
15            Q.            At this time, did you also
16   request, we're talking about between 1992 to
17   2000, did you also request verification of
18   whether an individual was registered as a
19   medical practitioner or licensed to practice
20   medicine in his or her home country?
21            A.            The credentialing requirements
22   for certification at that time included source
23   verification of the diploma only, and the
24   individual was required to also submit a copy


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1    of their certificate of their full registration
2    or license, but those were not source-verified.
3             Q.            Why not?
4             A.            I don't know why they were not,
5    but the decision prior to me had been source
6    verification of diploma with a submission of
7    the license, which is not a requirement now.
8             Q.            Why did it cease becoming a
9    requirement?
10            A.            We introduced a clinical skills
11   assessment examination in 1998, and at that
12   time the organization determined it did not
13   need the license or certificate of registration
14   from an international medical graduate when it
15   introduced a clinic skill assessment which is
16   an in-person exam simulated with patients.
17            Q.            It has never been a requirement
18   for international medical graduates applying
19   for ECFMG certification to provide government
20   issued photoed identification, correct?
21            A.            It is a requirement to submit
22   photo identification currently, but it was not
23   in the past.
24            Q.            When did it become a


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1    requirement?
2             A.            It varies based on the service.
3    So the international credential services, EPIC,
4    when that program was launched, which I believe
5    was I was in 2012 or 2013, part of the
6    requirement was to submit a copy of the
7    passport and have it notarized -- an
8    identification form notarized and for ECFMG
9    certification that became part of the
10   requirement in 2017, I believe, or 2018; maybe
11   2018, more recently.
12            Q.            Why did it become a requirement?
13            A.            We were looking across our
14   processes and programs and we wanted to
15   standardize it, work towards standardization,
16   and bring, like have a notary -- the process is
17   essentially the same as it had been but we
18   wanted to tighten it up in terms of having one
19   notary that we contract with to provide
20   notarization of the identification forms to us.
21            Q.            Is that a separate requirement,
22   in terms of ECFMG now has a requirement that an
23   applicant provide government issued photo
24   identification if I'm understanding you right?


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1    security number to ECFMG itself, correct?
2             A.            It would depend on whether -- I
3    mean we would have known, yeah.                      I think we put
4    that in the letter to them, we got the social
5    security number.            So if -- if we knew because
6    they advised us that he had used the other
7    social security number that that was not his
8    social security number, yes.
9             Q.            If you turn to Exhibit 31, this
10   is the letter we were talking about earlier.
11   Exhibit 31 to the Kelly deposition from Steve
12   Seeling to James McCorkle.                   In the second
13   paragraph Steve Seeling states the social
14   security number he provided ECFMG in 1998 is
15   9065?
16            A.            Yes, I see that.
17            Q.            Providing a false social
18   security number or using a false social
19   security number can be a federal, criminal
20   offense; correct?
21                          MS. McENROE:            Objection to form;
22            calls for a legal conclusion.
23                          THE WITNESS:            That's my
24            understanding, yes.


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1    BY MR. THRONSON:
2             Q.            At least based on the plea
3    agreement and so fourth --
4             A.            Yes.
5             Q.            Right, and it was also one of
6    the reasons that Akoda was ultimately kicked
7    out of the Jersey Shore residency, right?
8             A.            Yes.
9             Q.            Under ECFMG's judgement would
10   providing a false social security number to
11   ECFMG at that time have constituted irregular
12   behavior?
13            A.            I think it would depend on the
14   circumstances around how the information was
15   provided and what evidence we had of that.
16            Q.            Do you have a sense of what,
17   after ECFMG became aware that -- well, let me
18   back up.       You said it would depend on the
19   circumstances.           So under the circumstances of
20   this case, is it ECFMG's position that Akoda
21   providing a false social security number to
22   ECFMG in 1998 constituted irregular behavior?
23                          MS. McENROE:            Objection to form.
24                          THE WITNESS:            What I know is


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1             that it constituted the allegation from
2             the residency program; constituted enough
3             information for us to do an investigation
4             on that, but we did not have sufficient
5             evidence of the irregular behavior to
6             charge him with irregular behavior.
7                           So there would be a policy tie
8             to the provision of false information.
9             For example, I don't know where anybody
10            lives, you could put an address on the
11            application that is not really your
12            address.        You might be using someone
13            else's address that you know.                      I don't
14            know that that necessarily constitutes
15            irregular.
16                          So if I have evidence of -- if
17            someone wrote a social security number on
18            the application and maybe the number is
19            off, I don't have any way to verify
20            whether the social security is valid or
21            not.
22                          So if you were providing a false
23            number to us, in addition to other pieces
24            of information, that would show that you


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1             were trying to subvert our processes like
2             Dr. Igberase did in using different
3             pieces of information in order to subvert
4             the policy that you can't retake the
5             exam, then you would have evidence of
6             irregular behavior.
7    BY MR. THRONSON:
8             Q.            How about giving a false name on
9    an application, would you agree that in
10   applying for ECFMG certification in 1996 that
11   an individual identified himself as John Nosa
12   Akoda and that's a false name?
13                          MS. McENROE:            Objection to form.
14                          THE WITNESS:            Someone applied to
15            ECFMG in 1996 and used the name John Nosa
16            Akoda, and based on the facts that were
17            stipulated in plea bargain Igberase has
18            stated that he used John Nosa Akoda's
19            name.
20   BY MR. THRONSON:
21            Q.            It appears that Kelly suspected
22   in 2000 that Akoda and Igberase were the same
23   person, right?
24            A.            Yes.      He, I think, had a


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1             residency program presumably on his
2             merits, his own merits, and we would have
3             verified it, as we do with all residency
4             programs.
5                           What his certification status
6             was, which was true at the time that we
7             verified it to them, he had a certificate
8             that was issued to him in that name, and
9             it was valid.
10   BY MR. THRONSON:
11            Q.            That was information that -- the
12   certification information that ECFMG supplied,
13   that was one of the pieces of information that
14   Howard University had before when determining
15   whether to accept this person into its
16   residency program, correct?
17                          MS. McENROE:            Objection to form.
18                          THE WITNESS:            Yes.      They would
19            have received a status report through the
20            regular residency application process.
21   BY MR. THRONSON:
22            Q.            The same is true for the
23   Maryland Board of Physicians, in determining
24   whether to grant Igberase, Akoda a license to


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1    practice medicine it would have had before it
2    information supplied by ECFMG regarding his
3    ECFMG certification status?
4             A.            Yes.
5             Q.            The same is true for Prince
6    George's County Hospital?
7             A.            Yes.      I believe they requested a
8    verification of his certification status.
9             Q.            Did ECFMG ever tell anyone
10   outside of the organization of the suspicion of
11   at least one of it's staff members, perhaps
12   more, that Igberase and Akoda were the same
13   person, before the law enforcement
14   investigation?
15            A.            Before the law enforcement, not
16   that I'm aware of.              I don't think it would have
17   necessarily been appropriate for them to do
18   that if we didn't feel that we had evidence
19   that they were the same person, because we
20   could potentially be providing information that
21   was not substantiated that may have an impact
22   on a physician's career or on residency
23   program.
24            Q.            Did ECFMG ever notify anyone


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1    outside of the organization, before the law
2    enforcement investigation, that Jersey Shore
3    had dismissed him from their residency program?
4             A.            Not that I'm aware of.
5             Q.            Why not?
6             A.            Why didn't we tell anyone about
7    a potential suspicion?
8             Q.            Why didn't you tell anyone that
9    he had been dismissed from his residency
10   program among other things, providing --
11            A.            That kind of information, that's
12   not within our scope or responsibility to
13   report loss of residency, I assume.                         Well,
14   maybe not loss, but residents are dismissed
15   from their programs for a variety of reasons.
16   Unless they are a J-1, which he was not, we
17   don't get that kind of information or keep it
18   on a regular basis, and it's not in our scope
19   to report that to other organizations.
20            Q.            If this same set of facts came
21   before ECFMG today, came before your
22   department, would you handle it the same way?
23                          MS. McENROE:            Objection to form;
24            calls for speculation.


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1    person?
2                           MS. McENROE:            Objection to form.
3                           THE WITNESS:            What other
4             information would we have expected?
5                           MR. THRONSON:            Yeah.
6                           THE WITNESS:            I don't know.           It
7             could be anything.
8    BY MR. THRONSON:
9             Q.            Is there any organization that
10   is better situated than ECFMG to determine
11   whether the applicant, who identified himself
12   as Igberase Charles, and the applicant who
13   identified himself as Akoda, were in fact the
14   same applicant?
15                          MS. McENROE:            Objection to form.
16                          THE WITNESS:            So the
17            verification of the identity of someone
18            who is showing up at the residency
19            program would be on the residency program
20            or the hospital, would be my assumption.
21                          If they are hiring the
22            individual, they're not relying on ECFMG
23            to say that we identified -- that they
24            don't have to do their own review of who


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1             that person; is that what you're asking?
2    BY MR. THRONSON:
3             Q.            Who is better situated?                   Are you
4    saying the hospitals are in a better
5    position to answer -- strike that.
6                           Were the hospitals in this case
7    in a better position to answer whether Igberase
8    and Akoda are the same person; are you
9    contending they were?
10                          MS. McENROE:            Objection to form.
11                          THE WITNESS:            What I'm saying
12            is, each organization has its own process
13            to verify identities or certification of
14            identities.
15                          We would not -- those processes
16            would differ.           We are not hiring the
17            person so whatever the requirements would
18            be for identity, for VISA status, for any
19            of those things, it wouldn't be
20            appropriate for us to check those because
21            it's not within our scope of the
22            certification program.
23                          For example, other than the J-1
24            visas we sponsor, we don't confirm to


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1             residency programs that those individuals
2             have the appropriate visas to be in the
3             United States.
4                           It is the responsibility of the
5             individual and then the organization
6             that's hiring them to do that kind of
7             identification and review of the
8             individual.
9                           I don't know that one is in a
10            better position than the other.                       It's
11            just that each organization has different
12            processes and ways to certify identities
13            and records.
14   BY MR. THRONSON:
15            Q.            So is it your contention, that
16   it would have been inappropriate for ECFMG to
17   do further investigation into this question of
18   identity, to determine whether Igberase and
19   Akoda are the same person?
20                          MS. McENROE:            Objection to form.
21                          MR. THRONSON:            Are you saying
22            that would have been inappropriate?
23                          MS. McENROE:            Objection to form.
24                          THE WITNESS:            I wouldn't use the


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1             word inappropriate, but it wasn't part of
2             our process to go further or to see if
3             some -- I don't know what other
4             organization we could have gone to at the
5             time to see if the two people were the
6             same; if that's what you are asking.
7    BY MR. THRONSON:
8             Q.            Could you have consulted with
9    someone from the Nigeria Consulate to determine
10   if the passport was authentic from their
11   perspective?
12                          MS. McENROE:            Objection to form.
13                          THE WITNESS:            I suppose we could
14            have, but that wasn't part of our process
15            at the time.
16   BY MR. THRONSON:
17            Q.            Could you have called any of the
18   references that Akoda gave to determine whether
19   the letters of recommendation were authentic?
20                          MS. McENROE:            Objection to form.
21                          THE WITNESS:            We could have, and
22            we may have.           I just don't have any
23            documentation in the file that we made
24            the phone calls.


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1    BY MR. THRONSON:
2             Q.            Obviously you could have
3    compared the photos between the two
4    applications to see if they resemble each
5    other?
6                           MS. McENROE:            Objection to form.
7                           THE WITNESS:            Yes, we could.           We
8             did when we reviewed the file.                       We would
9             have looked at both photographs when we
10            reviewed the file in 2000 in the
11            investigation, but again we would -- the
12            photos could be -- they could look like
13            each other, but I look like my cousin,
14            right, so they are not definitive in and
15            of themselves to say they are the same
16            person.
17                          We are not expert in being able
18            to do that between two photographs.
19   BY MR. THRONSON:
20            Q.            So you're saying that, ECFMG did
21   look through both applications; the
22   applications that Igberase Charles submitted
23   and the applications that Akoda submitted?
24            A.            In 2000 --


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1    Igberase's information.
2             Q.            You were asked some questions a
3    little bit earlier today regarding whether and
4    when Dr. Akoda responded to the letter from
5    Mr. Kelly dated August 22, 2000.                       Do you recall
6    that?
7             A.            Yes.
8             Q.            Does this refresh your
9    recollection for that testimony?
10            A.            Yes.      So I think I said that he
11   had not responded within the requisite 15 days,
12   but looking at the receipt date on this it
13   appears that he did.
14            Q.            There was some discussion
15   earlier today about what it means to have a
16   finding of irregular behavior for false
17   information on an application.                      Do you remember
18   generally that kind of testimony?
19            A.            Yes.
20            Q.            Can you clarify what could
21   constitute irregular behavior for false
22   information on an application to ECFMG?
23            A.            False information on an
24   application for ECFMG would, could consist of


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1    indicating to ECFMG that you had not taken an
2    exam previously when you had taken an exam.
3                             It could also refer to your
4    medical school attendance and graduation if
5    when we sourced verified your diploma, it was
6    inauthentic.
7              Q.             Could an inaccurate address be
8    considered by ECFMG to be false information
9    that would constitute irregular behavior?
10             A.             That is not something that we
11   would consider irregular behavior.
12             Q.             What about the location of the
13   birth?
14             A.             No.
15             Q.             What about social security
16   number?
17             A.             No.
18             Q.             Is it possible for there to be
19   information that is false on an ECFMG
20   application that might constitute a violation
21   of law, but would not constitute a basis for
22   irregular behavior for ECFMG?
23             A.             Yes, that's possible.
24             Q.             Does ECFMG make allegations of


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1    irregular behavior for applicants' violations
2    of law just because they are a violation of
3    law?     So for example, rape or murder?
4             A.            No.      The criminal activities of
5    applicants are not within our jurisdiction for
6    irregular behavior.
7             Q.            There was a lot of discussion
8    today about ECFMG certification, correct?
9             A.            Yes.
10            Q.            What does an ECFMG certificate
11   signify?
12            A.            An ECFMG certificate signifies,
13   that the individual has met minimum
14   requirements which includes passing medical
15   licensing examinations, as well as meeting our
16   credentialing requirements.
17                          It signifies to an ACGME
18   accredited residency program that the
19   individual has met those requirements for
20   admission to GME, and it is part of the
21   requirements for eligibility for Step 3 and for
22   licensure.
23            Q.            Does an ECFMG certificate
24   signify certification of an applicant's


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1    identity to a recipient of a ECFMG status
2    report indicating there's an ECFMG certificate
3    in place?
4             A.            No.
5             Q.            What do you mean by that?
6             A.            So when we certify the status of
7    an ECFMG certificate, we are not certifying to
8    the organization necessarily the identity of
9    the individual, but that an individual with
10   that name and date of birth has met the
11   requirements for certification and what the
12   validity is of their certificate and where they
13   went to medical school.
14            Q.            Is ECFMG certifying to the
15   recipients of the ECFMG certification
16   information that the applicant's social
17   security number is accurate?
18            A.            No.
19            Q.            Is ECFMG certifying to the
20   recipient of the ECFMG certification that the
21   location of the birth is accurate?
22            A.            No.
23            Q.            Is ECFMG certifying to the
24   recipients of the ECFMG certification status


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1    that the clinical clerkships are accurate as
2    represented on ECFMG's application?
3             A.            No.
4             Q.            Is it ECFMG's expectations that
5    individuals from the public rely on ECFMG
6    certification for any purpose?
7             A.            I'm sorry, can you say that
8    again?
9             Q.            Yes.      Is it ECFMG's expectation
10   that individuals from the public rely on ECFMG
11   status for any purpose?
12            A.            No.
13            Q.            So can an individual off the
14   street or who is examining the credentials of a
15   potential physician they want to go see, are
16   they entitled to contact ECFMG and ask about a
17   physician's certification status?
18            A.            No.      We would not release a
19   physician's certification status or a status
20   report to a member of the public.
21            Q.            Would ECFMG release a
22   certification status report to the individual
23   himself?
24            A.            No.


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1             Q.            To whom would ECFMG release a
2    ECFMG certification status report?
3             A.            To residency programs, licensing
4    boards, and other organizations that are
5    employing the physician as a physician.
6             Q.            Like hospitals and --
7             A.            Hospitals, right, CVOs that are
8    working on behalf of the hospitals.
9             Q.            Is it ECFMG's expectation that
10   recipients of ECFMG certification get
11   additional credentials before laying hands on
12   patients independently?                 I can restate that if
13   you need?
14            A.            Yes, can you.
15            Q.            Yes.      So what I'm asking is
16   there was a lot of questions today about
17   whether an ECFMG certificate was necessary for
18   an applicant to do other things, for example go
19   to a residency program.                 Do you remember that
20   testimony?
21            A.            Yes.
22            Q.            Is it ECFMG's understanding that
23   an ECFMG certificate is sufficient for an
24   applicant to treat patients?


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1             A.            No, it's not sufficient.
2             Q.            What else would be required
3    under ECFMG's expectations?
4             A.            So ECFMG certification is one of
5    the initial steps in the process for an
6    international medical graduate to ultimately
7    practice medicine in the United States.
8                           While ECFMG certification may be
9    required for entrance into residency or for
10   licensure, it is not the only requirement that
11   the residency programs and the licensing boards
12   have in order to admit those individuals to
13   their programs or to license those individuals.
14            Q.            So to make sure I understand.
15   After an applicant gets an ECFMG certificate,
16   do they take any other board exams?
17            A.            Yes.      They need to take USMLE
18   Step 3.       So essentially they have to become
19   ECFMG certified which is the beginning of the
20   process, taking the examinations required for
21   certification; have their credentials source
22   verified; go through the residency application
23   process; get accepted to a residency program,
24   and meet whatever requirements the residency


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1    programs has.
2                           They can then apply for Step 3,
3    and they have to be certified and meet the
4    eligibility requirements that the Federation of
5    State Medical Boards has for Step 3; complete
6    their training and then again meet whatever
7    requirements the licensing board would have on
8    them to be licensed.
9             Q.            You said "complete training,"
10   what do you mean by that?
11            A.            Graduate medical education
12   training is generally a requirement for
13   licensure in all states.
14            Q.            So in other words, would that be
15   like a residency program, for example?
16            A.            Yes, residency program.
17            Q.            So are the applicants coming
18   through ECFMG still in graduate medical
19   education as they are proceeding forward; do
20   they still have more education requirements
21   after they get an ECFMG certificate?
22            A.            To be licensed in the U.S., yes.
23            Q.            Is -- FSMB, that's an acronym
24   you just used, what does that stand for?


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1             A.            That is the Federation of State
2    Medical Boards.
3             Q.            Is that an entity under ECFMG's
4    control?
5             A.            No.
6             Q.            That's a separate entity?
7             A.            Yes.
8             Q.            Thank you.
9                           I have no further questions of
10   this witness.
11                          MR. THRONSON:            Just a few follow
12            ups to echo a few of Counsel's questions.
13                                    - - -
14                         REDIRECT EXAMINATION
15                                    - - -
16   BY MR. THRONSON:
17            Q.            Is it ECFMG's expectation that
18   state medical boards will rely on reports of
19   ECFMG certification status for any purpose?
20            A.            Yes.      To meet the requirement
21   that the board might have for ECFMG
22   certification.
23            Q.            Is it ECFMG's expectation that
24   residency programs, such as that at Howard


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1    University, would rely on ECFMG status for any
2    purpose?
3             A.            Yes, to demarcate that that
4    person met the certification so they could
5    enter GME among whatever other requirements the
6    program had.
7             Q.            It is ECFMG's expectation that
8    hospitals that are considering whether to grant
9    clinical privileges to a physician rely on
10   ECFMG status for any purpose?
11            A.            I think it would be fair to say
12   that they have the same expectation as the
13   licensing board and the residency programs have
14   on the status reports; on ECFMG providing
15   information about certificate status.
16            Q.            The status report that was
17   provided to the Howard residency program
18   regarding Akoda, what was all the information
19   that that status report contained?
20            A.            The status report would contain,
21   his name; his USMLE identification number; his
22   medical school; the year he graduated; the
23   country of medical school; the validity of his
24   ECFMG certificate, what the status is; whether


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1    it expired or valid indefinitely; and when it
2    was issued.
3             Q.            If there were any finding of
4    irregular behavior, would the status report
5    contain an annotation reflecting that finding?
6             A.            Yes.
7             Q.            Any other information that the
8    status report contains, in that was submitted
9    to the Howard Residency Program?
10            A.            The status report to the
11   residency program may have had the dates that
12   he passed the USMLE examinations; and that
13   would be for the exams that met ECFMG's
14   examination requirement, but we would not
15   include scores to the residency program because
16   they would get those through a USMLE
17   transcript.
18            Q.            Any other information?
19            A.            No, electronically through the
20   system I don't believe there's any other
21   information.
22            Q.            ECFMG also provided status
23   reports to the Maryland Board -- a status
24   report to the Maryland Board of Physicians,


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1    right?
2             A.            Yes.
3             Q.            Would that status report have
4    contained all the information that you just
5    mentioned?
6             A.            Yes.
7             Q.            Would it have been the same
8    status report that was sent to them?
9             A.            It would have been the same
10   status report, yes.              In terms of the
11   information that is on it, it's in a different
12   format.       When Howard gets it electronically,
13   it's not a PDF it's data; and when the Maryland
14   board gets it, it would be in more of a PDF
15   format --
16            Q.            Okay.
17            A.            -- the substance is the same.
18            Q.            Any additional information that
19   was on the report to the Maryland Board of
20   Physicians?
21            A.            Other than, our -- we have some
22   disclaimers at the bottom, but other than that
23   there's no other information that I recall.
24            Q.            What are the disclaimers?


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                  Exhibit 3




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  History

Physicians who received their basic medical degree from a school outside the United States and Canada (international medical graduates or IMGs) make up rough
training and practice in the United States. Traditionally, IMGs have represented a significant percentage of the U.S. physician workforce.

Evaluating the readiness of IMGs to enter graduate medical education (GME) programs in the United States has long been a concern of medical organizations, hos
agencies, and the public. During the 1950s, the need for a formal program of evaluation intensified due to explosive growth in the demand for health care services
opportunities for trained medical personnel, and a greater dependence on residents to provide medical care, which created a large number of available positions i

In 1956, a private, nonprofit organization, the Evaluation Service for Foreign Medical Graduates (ESFMG), was established to:

   •   provide information to and answer inquiries of IMGs planning to come to the United States for GME;
   •   evaluate IMGs’ credentials, knowledge of medicine, and command of English; and
   •   certify that IMGs have met certain medical education and examination requirements.

Later that year, ESFMG changed its name to the Educational Council for Foreign Medical Graduates (ECFMG). ECFMG developed procedures to validate medical
assistance of the National Board of Medical Examiners® (NBME®), developed a medical science examination and English language proficiency test. This formal ev
of examinations and validation of medical education credentials, became known as ECFMG Certification.

In 1958, ECFMG administered its first examinations and certified the first IMGs. Within three years, ECFMG Certification had become the new standard for evalu
health care system, required by the American Medical Association and the American Hospital Association of IMGs serving in patient care situations in hospitals in

The scope of ECFMG’s responsibilities broadened in 1974 when it merged with the Commission on Foreign Medical Graduates (CFMG). CFMG’s activities include
IMGs and monitoring the visa sponsorship of medical Exchange Visitors in the United States. The combined organization was named the Educational Commission
Graduates, retaining the acronym ECFMG. Through this merger, ECFMG acquired responsibility for the visa sponsorship of Exchange Visitor physicians participa
and became increasingly involved with the international medical community, a trend that continues today.

ECFMG’s experience in certifying IMGs has allowed it to develop programs that share its expertise with others involved in the assessment of physicians. Through
International Credentials (EPICSM), ECFMG makes its world-class experience with the primary-source verification of medical education credentials available to e
train, educate, and employ physicians worldwide. EPIC also provides services for individual physicians. ECFMG also has developed resources to support IMGs pur
academic medical community in the United States, including the Exchange Visitor Sponsorship Program, ERAS® Support Services, Certification Verification Servi
Certificate Holders Office (ECHO).

ECFMG has a long-standing commitment to promoting excellence in international medical education. Over the years, ECFMG has maintained a wealth of data tha
research on international medical education, IMGs, and their impact on world health. ECFMG also developed a number of resources for the international medical
exchange programs and consultation services for international medical schools and their faculties. In 2000, ECFMG expanded its commitment to the internationa
establishing the Foundation for Advancement of International Medical Education and Research (FAIMER®). FAIMER, a nonprofit foundation of ECFMG, provides
exclusively to research and programs that enrich international medical education. In 2015, ECFMG launched GEMx, a program dedicated to promoting and facilit
educational exchange in medicine and the health professions. Through GEMx, ECFMG is building a global partnership, and supporting regional partnerships, of in
commitment to making international exchange a part of their education programs and to providing students in medicine and the health professions increased acc
opportunities.

In 2006, ECFMG celebrated 50 years of promoting excellence in international medical education. Established to evaluate the qualifications of IMGs entering GME
ECFMG has grown to meet the needs of physicians, health care consumers, medical educators, researchers in medical education and health workforce planning, l
agencies, and those involved in the evaluation and certification of health care professionals, both in the United States and abroad. Today, ECFMG is moving forwa
including support for efforts to accredit international medical schools and expansion of web-based services for physicians, medical schools, and others in the inte
Through such initiatives, ECFMG continues to translate its experience, expertise, and resources into quality programs and services, and to collaborate with other
education and assessment.

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                   Exhibit 4




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   Certification
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   About ECFMG Certification

 ECFMG was founded In 1956 to assess, through a program of certification, whether international medical graduates (IMGs) are ready to enter residency or fellowship programs In the United
 States that are accredited by theAccreditation Council for Graduate Medical Education (ACGME). ACGME requires IMGs who enter ACGME-accredited programs to be certified by ECFMG.
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 ECFMG CertificationIs also one of the eligibility requirements for IMGs to take Step 3 of the three-step United States Medical LicensingExamination (USMLE). Medical licensing authorities in
                                  -                                                                            aA Meanen tanearticn medicine
 the United States require that IMGs be certified by ECFMG, among other requirements, to obtain an unrestricted license to practice medicine.
                                                          a             a                                                                                                                        h
 The foundation of ECFMG's certification program has endured remarkably over the last five decades. Throughout the history of the program, the requirements have included examinations in
 the medical sciences, evaluation of English language proficiency, and documentation of medical education credentials. Over the years, there have been changes in the examinations accepted
 to meet the requirements for ECFMG Certification and changes to the requirements themselves.These changes have been made to enhance the certification program, respond to the needs of
 the U.S. graduate medical education community, comply with the changing immigration landscape, take advantage of new technologies, and achieve a common examination pathway to medical
 licensure for IMGs and U.S. medical graduates.
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 ECFMG Certification is an effective screening mechanism for ensuring that IMGs in patient care situations have met minimum standards. Each year, thousands of IMGs in the certification
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                                                                                                                                                                    far FOEMC
 process apply to ECFMG for USMLE. Just over half of these individuals are successful in completing all the examination and medical education credential requirements for ECFMG
                                        a               bane                                                                                                              FCEMG: of thie
 Certification, During the 20-year period from 1991through 2010, more than 295,000 international medical students/graduates applied to take their first examination with ECFMG; of this
 number, 60.7% have achieved certification.

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      How the Certification Process Works
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tyres                                                                                                                            can apply for a USMLE/ECFMG Identification Number.
  that students/graduates of his/her medical school arc eligible to apply to ECFMG for ECFMG Certification and examination, he/she
                                                                                                                                                                                   a
  An international medical student/graduate (IMG)should begin the ECFMG Certification process by first confirming his/her medical srhonl meets ECFMarequirements.Once an IMG confirms
                                                                      Ics OF Lm
orOnce an IMG has obtained this number. he/she can use it to complete the Application for ECFMG Certification. Once the Application for ECFMG Certification, including the notarized
ceCertification of Identification Form (Form 186), has been accepted by ECFMG, the IMG may then apply for examination.

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To"To be certified by ECFMG, an IMG must meet both examination and medical education credential requirements. These requirements include passing performance on medical science and
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  clinical skills exaininations—USMLE Step 1, Step 2 Clinical Knowledge (CK). and Step 2 Clinical Skills (CS) are the exams currently administered that satisfy these requirements—and primary_
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  source verification of the IMG's medical education credentials, including the final medical diploma, final medical school transcript, and transcript(s) to document transferred academic credits
(hone
  (if applicable).
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  The time required to complete the certification process is different for each Individual. Roth medical school students and graduates may begin the certification process and may apply for the
  required exams as soon as they meet the eligibility requirements for examination. However, since one of the requirements for ECFMG Certification is that the final medical diploma be verified
  by ECFMG with the Issuing medical school, an IMG cannot complete the certification process until after graduation from medical school. The time required for some aspects of the certification
  process, such as the time required by a medical school to verify medical education credentials, Is beyond the control of ECFMG.

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                   Exhibit 5




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3624 MARKET STREET, PHILADELPHIA, PENN                                                     ANIA 19104, U.S.A.                           PHONE: 215 366-590(                                CABLE: EDCOUNCIL, PHILADELPHIA


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                      DR OLUWAFEMI CHARLES IGBERASE
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     DEAR UOCTUR:
           ~     oe                             ae                      a                                         mm         mn ke          -          ame        we                             a                          ae              me
     THEee REPORT OF YOUR PERFORMANCE ON ee UAYDa 1 OF THE= FOREIGN   MEDICAL GRADUATE
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     EXAMINATION IN THE MEDICAL SCIENCES (FMGEMS) IS SHOWN ABOVE.
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     SINCE YOU PASSED A CLINICAL SCIENCE EXAMINATION ON JANUARY 20, 1993
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     IF YOU APPLY FOR APPOINTMENT TO AN ACCREDITED GRADUATE MEDICAL EDUCATION
       mee    mide ewe a me      oe me      ee  fm              ao ee oe
     PROGRAM, SUBMIT A PHOTOCOPY OF THIS LETTER TO THE PROGRAM DIRECTOR.

     YOUR STANDARD ECFMG     CERTIFICATE WILL BE AVAILABLE WITHIN TWO WEEKS.
      rr   i            ee     ee         mss ae ae . dm me         eee
     IN THE MEANTIME, THIS LETTER WILL SERVE AS CONFIRMATION OF YOUR
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     ELIGIBILITY FOR SUCH CERTIFICATION.

     ECFMG REWUESTS PROGRAM DIRECTORS TO VERIFY
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                  Exhibit 6




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                Laurence H. Beck, MD, FACP
             529 Broad Acres Road; Narberth PA 19072



October 14, 2019


Dear Elisa McEnroe:


In re: Russell et al v. ECFMG


I have been asked by Elisa McEnroe of Morgan, Lewis & Bockius LLP to review

documents and other materials related to the above litigation, and to provide my

expert opinion in such matters. In particular, I have been asked to provide expert

opinion on the processes involved, after an International Medical Graduate (IMG)

receives certification from the ECFMG, in applying for, and receiving, (1)

acceptance into a residency training program; (2) hospital staff privileges; (3)

state licensure to practice medicine independently; and (4) Board certification in a

medical specialty.


I have separately submitted my curriculum vitae, including publications. I have

had no publications in the previous 10 years.


I have not participated as an expert witness at trial or by deposition in the

previous 4 years.



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I have been contracted for this work at the rate of $500 per hour.


In preparing this report, I have reviewed the expert reports of Dr. John Charles

Hyde, Dr. Jonathan Burroughs, Dr. David Markenson, and Dr. Jerry Williamson. In

addition, I have reviewed current published material from the Virginia Board of

Medicine and the Maryland Board of Physicians concerning the process and

requirements for an IMG to apply for a state license to practice medicine. I have

reviewed published criteria from the American Board of Obstetrics and

Gynecology, as well as from the American Board of Medical Specialties. I have

also reviewed correspondence and records concerning Dr. Akoda from Jersey

Shore Medical Center (Jersey Shore Medical Center 000006-000010). I have also

reviewed correspondence and records concerning Dr. Akoda from the American

Board of Obstetrics and Gynecology (ABOG nonparty 000001-000082).


Most importantly, I have drawn on my expertise in the matters related to the

above issues. This expertise includes 50 years of leadership and practice of

medicine in Pennsylvania, the District of Columbia, and Florida. During that time,

I have held numerous leadership positions requiring participation in, and

knowledge of, credentialing of IMG’s, including: (1) Chairman of the Residency

Selection Committee at the University of Pennsylvania School of Medicine; (2)




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Program Director of Internal Medicine Residency at the Hospital of the University

of Pennsylvania; (3) Chairman of the Departments of Medicine [at the University

of Pennsylvania, Philadelphia Veterans Administration Hospital, Geisinger Medical

Center, Georgetown University Medical Center, and Cleveland Clinic Florida] and

(4) Associate Chief of Staff of a Hospital [Georgetown University Hospital]. I am

Board Certified by the American Board of Internal Medicine (ABIM).


For an IMG to practice medicine in any State in the United States, he/she must

pass through numerous steps of application and acceptance.


   1. He/she must apply to and be accepted into a residency accredited by the

      ACGME (Accreditation Council for Graduate Medical Education). In order to

      be considered as a candidate, the IMG must have, in addition to

      certification by the ECFMG, numerous other documents and undergo

      scrutiny in several areas, as iterated below.

   2. To receive a license to practice medicine in the State of Maryland and/or

      the Commonwealth of Virginia, the IMG must (in addition to ECFMG

      certification) have graduated from an approved medical school, must be of

      “good moral character”, must have completed at least 2 years of an




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      accredited residency, and satisfy numerous other criteria, as spelled out

      below.

   3. To be accepted as Staff at a Hospital in either of those jurisdictions, the

      IMG must have an unrestricted state license to practice medicine, and must

      meet numerous other criteria, as iterated below.

   4. To achieve Board certification in a medical specialty (which is a voluntary

      decision, and not required for state licensure), the candidate must pass a

      certifying examination and be evaluated in numerous other categories, as

      iterated below.


At each of these steps, the program or institution has a specific set of

requirements, which include verification of credentials and usually a personal

interview. For application to a residency program, it is the responsibility of the

residency program administration to ensure verification of primary-source

credentials. Typical additional requirements include: an in-person interview,

letters of reference (with contact information for each writer), a current

photograph, an up-to-date CV [curriculum vitae], evidence of proficiency in

spoken and written English, review of visa status (usually J-1 or green card), and

review of any prior residency, with a letter of recommendation from its program

director. Following review of an application, the candidate and the residency



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program must participate in the National Residency Matching Program (NRMP),

wherein each party submits a rank order list of their preference (the list of

residency programs for the applicant; the list of candidates for the residency

program).


Although it is sufficient for the residency program to accept primary source

credential verification via ECFMG certification (or their ERAS program) for the

medical credentials, the residency program must pursue the other requirements

via their own resources. Based on my extensive knowledge and experience, the

above requirements are typical of residency programs in the United States, and

represent, in my opinion, a medical profession and industry standard.


An IMG’s application to the Virginia and/or Maryland Board of Physicians for a

license to practice requires ECFMG certification, as well as numerous other

requirements. For either state, there is a personal interview, with verification of

identity, reporting of all post-graduation residency or fellowship training, with

letter(s) of recommendation from the program director(s), medical school

transcripts (usually directly from the medical school), scores of FLEX or Step 3 of

the USMLE, employment record from the date of medical school graduation,

report of any disciplinary action, and competency in written and spoken English.




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Each state also has a separate written licensure exam. The Maryland Board of

Physicians states also “The Board requires primary source verification from

medical schools, postgraduate training programs, national licensing entities

(USMLE, FSMB, NBME, etc) and other state boards”. Again, based on my

extensive knowledge and experience, the above requirements are typical of state

medical licensure boards in the United States, and represent, in my opinion, a

medical profession and industry standard.


Similarly, Hospital staff privileges require a separate application process which,

for the IMG, requires ECFMG certification, but also (usually) an interview, as well

as a number of other areas of review, including one or more personal references

with contact information for each, a current photograph, certificates of

completion from all residencies and fellowships, letter of recommendation from

program director(s), Social Security number, valid passport and/or birth

certificate, malpractice insurance history, all licenses, including DEA certificate, a

2-year case log, fingerprinting for federal background check, and a urine drug

screen. Furthermore, after achieving hospital staff privileges, all physicians are

evaluated on an ongoing basis, usually by the Medical Director’s office, on their

clinical performance, demeanor, and interactions with patients and staff. Based

on my extensive knowledge and experience, the above requirements are typical



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of hospitals in the United States, and represent, in my opinion, a medical

profession and industry standard.


Certification by an American Board of a medical specialty requires a process

involving examination, review of credentials, and evidence of satisfactory

performance in that specialty. Typically, for the American Board of Obstetrics and

Gynecology, that requires passing a written and oral examination, undergoing a

personal interview, review of academic credentials, review of case logs over the

previous years, letters of recommendation from residency and fellowship

directors, and consideration of any disciplinary action, criminal, or immoral

behavior that comes to their attention. Following successful Board certification, a

candidate must comply with annual requirements for ongoing educational

modules as part of the MOC (maintenance of certification) process.


Dr. Akoda passed both the written and oral examinations of the ABOG, and his

credentials were initially approved, so that he was given a one-year Board

certification. He successfully complied with the MOC requirements for the first

year after his certification, but then failed to continue that activity. As a result,

the ABOG did not renew his certification. Subsequently, upon learning of his




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criminal behavior, it revoked entirely his Board certification. All these activities

were instigated by the ABOG and were not dependent upon input from ECFMG.


CONCLUSIONS


In reviewing the chronology of Dr. Akoda’s progression through the above steps

leading to medical residency acceptance at Jersey Shore Medical Center and at

Howard University, licensure in Virginia and Maryland, staff privileges at Prince

George’s Hospital Center, and certification by the American Board of Obstetrics

and Gynecology, there were numerous opportunities for the above institutions to

suspect and investigate Dr. Akoda’s fraudulent behavior, except that these

opportunities appear to have been repeatedly hidden, or covered up, by Dr.

Akoda, through his apparent lies, false documents, and evasiveness. As an

example, the residency program director at Howard University certainly should,

and I believe, would have pursued the question of why Dr. Akoda had left his third

year of residency at Jersey Shore Medical Center. He/she should, and I believe,

would have called the program director at Jersey Shore Medical Center and

learned that Dr. Akoda was dismissed from that program. It is likely that the

Howard University program did not pursue this discrepancy because they were




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unaware of this history (because Dr. Akoda apparently either lied or failed to

report it, on his application or in a personal interview).


Although residency programs, hospital staff boards, and state medical boards may

rely on the ECFMG certification for verification of certain medical credentials,

they must use their own resources to ascertain the validity of the numerous other

requirements of acceptance (letters of recommendation, visas, social security

information, etc.). There is no expectation of these institutions to receive

additional information from the ECFMG after they have documented that the

certificate is valid.


The primary or root cause of Dr. Akoda’s movement through the system, licensure

and ability to practice medicine at Prince George’s Hospital Center was Dr. Akoda

himself and his fraudulent and criminal activities. These activities effectively hid

the inaccuracies and lies from all concerned, from the ECFMG, through to the

residencies, hospital staff, and state Boards of Medicine. Any alleged harm to

patients resulting from his repeatedly dishonest behavior are directly due to his

dishonest behavior.


Sincerely yours,


Laurence H. Beck, MD


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Laurence H. Beck, MD




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                  Exhibit 7




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                                              October 14, 2019


Elisa P. McEnroe, Esq.
Morgan, Lewis & Bockius
1701 Market Street
Philadelphia, PA 19103-2921


Re: Russell et al. v. Educational Commission for Foreign Medical Graduates,
No. 2:18-cv-05629

Dear Ms. McEnroe,

I was asked to review the case of Russell et al. v. Educational Commission for
Foreign Medical Graduates (ECFMG) as an expert witness in hospital
administration, graduate medical education, organized medical staffs, and
credentialing. I was asked to opine on the processes that a foreign medical
graduate must go through after ECFMG certification when applying for graduate
education (residency and fellowship training) and, subsequent application for
membership and privileges at a U.S. hospital.

I am qualified to offer an evaluation of this case due to my extensive experience
and training in the subject areas. I have been a practicing surgeon in Southern
California since July 1982. From 1982 through 2007, I practiced General and
Vascular Surgery in private practice in Palm Springs, California with privileges at
Desert Regional Medical Center and Eisenhower Medical Center. During that time,
I was also the Medical Director and Managing General Partner of Desert Surgery
Center, a multispecialty ambulatory surgery center, from 1988 to 2004. I began
consulting in healthcare in 2002. From 2002 to 2007, I worked as a consultant for
The Greeley Company. In 2007, I decided to close my private practice and became
a Clinical Assistant Professor of Surgery at the University of California, Irvine
where I practice and teach residents and medical students one week a month. My
remaining time is spent in healthcare consulting. My major areas of interest in
consulting are organized medical staffs, quality, peer review, credentialing and




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privileging and automated data processing. I have attached my full CV as
Appendix A for further details in these areas.

My compensation for these endeavors is outlined on my fee schedule attached as
Appendix B.

The documents that I reviewed for these opinions are listed in Appendix C.

A list of all cases in which I testified as an expert at trial or by deposition over the
last 4 years is attached as Appendix D.

ECFMG provides a number of services relevant to a foreign medical graduate’s
(FMG’s) pathway into clinical practice in the United States, including primary-
source verification of foreign medical school diplomas. ECFMG certification is a
screening mechanism for ensuring that an FMG has met certain minimum criteria.

Once the FMG obtains his or her ECFMG certification, he or she will usually be
applying for a graduate medical position through the National Residency Match
Program (NRMP)/Accreditation Council for Graduate Medical Education (ACGME)
process if he/she wants to practice in the U.S. It is a requirement of those
programs that an FMG hold an EFCMG certificate to be able to enter the
residency process. However, the FMG applicant will also need to complete the
NRMP application, obtain interviews at an ACGME-approved institution with a
desired residency, and be rated by those institutions for a position match. The
NRMP application includes supporting documentation such as Medical Student
Performance Evaluation (MSPE), medical school transcript, Letters of Reference,
Photograph, USMLE (United States Medical Licensing Examination in 3 parts)
transcript and the ECFMG certificate.

During the interview process, the FMG goes through a series of interviews with
review of all information in the application (of which the ECFMG certificate is only
one item as noted above). These interviews are with multiple faculty typically and
are designed to elicit information about the applicant’s aspirations, program
desires such as research, and ultimate goals. At the same time, the applicant gets
to learn about the institution’s programs, objectives and residency culture. This
enables both sides to make rational rating decisions as most institutions will then
rate their applicants while the applicants rate the institutions. These are all



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submitted to NRMP, which applies its match algorithms to fill the residency
position.

If an FMG is accepted for a residency, he or she is subjected to the ongoing review
requirements set up by the ACGME. Each residency institution has to file an
annual progression report on each resident with milestone achievements
identified. Milestones are developed for each specialty but are based on the Six
Core General Competencies and then applied to each level of residency from
beginner to most advanced and ready to graduate out of residency. Thus, an
annual report for any given resident is a complex report on multiple performance
measurements that require judgment and explanation. In addition to these
reports by the faculty, most specialties have an annual examination (e.g. ABSITE
for surgery, IM-ITE for internal medicine) that is another check on the resident’s
progress.

All patient care delivered by residents is conducted under ongoing oversight by
the faculty which puts the faculty in a position to know the strengths and
weaknesses of the resident. Additionally, as an employee of the residency
program, each resident is subject to normal employee processes such as payroll,
taxes, visas if appropriate, healthcare programs and other conditions and
requirements of employment.

If the FMG successfully completes all years of the residency fulfilling all
requirements as determined both by ACGME and the institution’s faculty, he or
she may graduate the residency.1

Typically, at some point early in the residency, states like Maryland and Virginia
require that the resident obtain a state medical license of some variety. This is
another application process for which an FMG will need to supply a variety of
information, including but certainly not limited to his or her ECFMG certificate. In
addition, the state board typically requires information about education, clinical
training, disciplinary actions, criminal record, practice impairments and a
photograph among other data points. The state medical board or licensing agency

1
  At this point, the FMG may be ready to go out into practice or they may desire additional training through a
fellowship. The process for entering a fellowship program is similar to the residency process with an application,
interviews and match process. Once fellowship is completed in like manner, the FMG is ready to go out for practice
of medicine. Fellowship is not required for all FMGs.




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will consider the information, may or may not require interviews, and may or may
not require a separate examination before issuing a medical license. Since medical
licenses are state based, often times, applicants may need to obtain multiple
licenses as their training hospitals may cross state lines.

When specialty training is complete, an FMG clinical graduate will be eligible for
specialty board certification. The most recognized and accepted is the boards
under the umbrella of the American Board of Medical Specialties (ABMS). Each
specialty has its own application process but it tends to mirror similar types of
information collected by state medical boards. ECFMG certification status is just
one data point among many in such applications. This is evidenced in particular by
looking at the American Board of Obstetrics and Gynecology’s process in utilizing
many sources of data in reaching its decision to grant Board Certification status.

When the graduate resident or fellow is applying for hospital medical staff
membership and privileges, they will need to undergo an even more rigorous
credentialing process. One part of this credential program will be the checking of
the ECFMG certificate status. However, this is but one piece of information
checked. Licensure, training, board status, personal references, and any clinical
performance data available will also be evaluated. There may be in person
interviews as well. The applicant typically will need to provide evidence of
malpractice coverage and clinical coverage by other practitioners on staff. The
credentials are usually reviewed at multiple levels, starting with the specialty
service or department. They then may be reviewed by a Credentials committee as
well as a Medical Executive Committee (MEC) for final recommendations. These
recommendations are then transmitted by the MEC to the Board or Governing
Authority which makes the final decision.

Once the FMG is on staff at a hospital, his or her clinical competence is
immediately evaluated through a focused review process commonly known as
FPPE (Focused Professional Practice Evaluation). If the FMG practitioner is
successful here, they are then evaluated for clinical competence in an Ongoing
Profession Practice Evaluation (OPPE) that is carried out more than once a year,
typically every 6-8 months in most hospitals.

The FMG will need to renew his or her membership and privileges on regular
intervals. The FMG’s performance data, malpractice information and any other



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relevant data will be reviewed in a fashion similar to the initial application with
the final decision coming from the Governing Board.


Opinions

   1. While ACGME residency programs require ECFMG certification for an FMG
      to be eligible, ECFMG certification is by no means the only or even the
      significant information point regarding an FMG’s ability to practice
      medicine in the US.
   2. Residencies and Fellowships should, and typically do, look for information
      regarding an FMG’s background, character and aspirations, which requires
      gathering a large amount of data to see if he or she will be a fit for an
      institution’s particular specialty training program. Residencies and
      Fellowships gather this data from a variety of sources. The ECFMG
      certificate is just one data point for them to check.
   3. Hospitals should, and typically do, check the validity of training, quality of
      clinical care and goodness of character to see if the applicant matches the
      hospital’s goals and requirements of their physicians when the Hospital is
      granting initial membership and privileges. Hospitals get this information
      from a variety of sources. A current ECFMG certificate is but one piece of
      information available to them.
   4. Current clinical competence is a responsibility of the ACGME and
      institutional faculty during training and of the organized medical staff for
      hospital practice. Current clinical competence is determined based on an
      assessment of a wide array of information from a variety of sources. A
      current ECFMG certificate is only a single point of information in a large sea
      of performance data.
   5. An FMG working as a resident or with privileges at a hospital is subject to
      normal employee processes such as payroll, taxes, healthcare programs
      and other conditions and requirements of employment. In connection with
      those processes, residency programs and hospitals should, and typically do,
      gather a wide variety of information about the FMG from a variety of
      sources other than ECFMG.




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I reserve the right to add to or modify these opinions if I am given further
information to review.

Respectfully submitted,
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/ii P4--A kvOliii
Mark A. Smith, MD, MBA, FACS




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Appendix A


                                 CURRICULUM VITAE

Mark A. Smith, M.D., M.B.A., F.A.C.S., FACHE                    Licenses

                                                      PA MD- 025431-E (Inactive)
                                                            CA00G47011 (Active)
747 Camino Norte                                        Board Certification- Gen’l Surg,
                                                               Vascular Surgery
Palm Springs, CA 92262                                 American Board of Surgery- 1983
Home Telephone- (760) 320-3851                           Recertified- 1990, 2004

Cell Phone- (760) 275-8204
Email- Vascu@aol.com

                                                      Certification Vascular Surgery-
                                                     November 1984
                                                             Recertified- 2013

                                                           Fellow of the American College of
                                                     Surgeons- October, 1985- Present

Married- Bonnie Heinen Smith                            Special Certification in Laser Asst
Children- 2 Daughters (Lisa, Lindsay)                   Angioplasty – January 1988

                                                      Certified- American Board of
                                                      Quality Assurance and Utili-
                                                      Zation Review
                                                      Physicians- July 2005- Dec.2015

                                                             Certified- Fellow of the American
                                                             College of Healthcare Executive, January
                                                             2011

                                                             Certified- Graduate Gemologist (GG),
                                                             May, 2015

                                                             Certified Specialist in Wine (CSW),
                                                             August, 2017

                                                             Certified Professional Healthcare Qualit
                                                             Dec. 2017



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Education

       Haverford Senior High School                            9/66- 6/69 Diploma
       Havertown, PA

       University of Michigan                                  9/69- 8/72 B.S. Zoology
       Ann Arbor, Michigan

       Jefferson Medical College                               9/72- 6/76 M.D.
       Philadelphia, PA

       University of Phoenix                                   1/92- 3/94 M.B.A.
       Phoenix, AR


Training

       Internship
              University California San Diego Medical Center     7/76- 6/77 Surgery
              225 W. Dickinson Street
              San Diego, CA
              Marshall Orloff, M.D.




       Residency
              University of Kansas Medical Center               7/77- 6/81 General Surgery
              39th and Rainbow Blvd.
              Kansas City, KS
              William Jewell, M.D.

       Fellowship
              Hospital of the University of Pennsylvania          7/81- 12/81 Cardiothoracic
              34th and Spruce Streets                              Surgery
              Philadelphia, PA
              L. Henry Edmunds, M.D.

              Hospital of the University of Pennsylvania          1/82- 6/82 Vascular Surgery
              34th and Spruce Streets
              Philadelphia, PA
              Brooke Roberts, M.D.



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Employment

     Private Practice- Vascular and General Surgery      7/82- 3/2007
      Coachella Valley Surgical Associates
      1100 N. Palm Canyon Drive
      #208
      Palm Springs, CA 92262

     Medical Director and Managing General Partner        12/88- 8/2004
     Desert Surgery Center
     1190 N. Palm Canyon Drive
     Palm Springs, CA 92262

     Senior Consultant                                  3/2002- 12/2007
     Practice Director, Credentialing                    1/2008- 6/30/2009
     The Greeley Company
     200 Hoods Lane
     Marblehead, MA 01945



     Independent Healthcare Consultant                     7/1/2009- Present
     HG HealthCare Consultants, LLC.


     Assistant Professor of Surgery,                     9/2007- Present
     Division of Vascular Surgery
     UCI Medical Center
     333 City Blvd., Suite 1600
     Orange, CA 92868

     Chief Medical Officer                                  9/2011- 3/2014
     Verisys Corporation
     1001 N. Fairfax Street
     Suite 640
     Alexandria, VA 22314


     Chief Medical Consultant                               3/2012- 3/2015
     Morrisey Associates, Inc.
     222 South Riverside Plaza
     Suite 1850
     Chicago, IL 60606



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       VP & Chief Medical Officer                               3/2015- 12/2015
       Morrisey Associates, Inc./Morcare
       222 South Riverside Plaza
       Suite 1850
       Chicago, IL 60606

       VP & Chief Medical Officer                           1/2016- 1/31/2017
       Morcare LLC.
       222 South Riverside Plaza
       Suite 1850
       Chicago, IL 60606


      Senior Medical Consultant                              2/1/2017- 12/31/2017
      Morrisey Associates Inc., A Healthstream Company

       Chief Medical Officer                                1/1/2018- 2/1/2019
       Humanus Inc.


Hospital Appointments

       Desert Regional Medical Center                       Active Staff 7/82- 12/2007
       1150 N. Indian Canyon Drive                         Emeritus Staff 1/2008- Present
       Palm Springs, CA 92262

       Eisenhower Medical Center                             Active Staff 9/82- 12/2007
       39000 Bob Hope Drive
       Rancho Mirage, CA 92270

       UCI Medical Center                                  Provisional Staff 5/08- 8/09
       100 City Drive                                    Active Staff 8/09- Present
       Orange, CA 92868

Hospital Positions

       President Elect- DRMC                               July 1988- June 1990

       President- DRMC                                     July 1990- June 1992

       Past President- DRMC                                July 1992- June 1994




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      Chief of Surgery- DRMC                                    July 1993- June 1995

      Chairman, Peer Review Committee                             July 2004- Jan, 2007

      Medical Director, Cardiac Surgery DRMC                     August 2004- September, 2006

      Co-Surgeon Champion, NSQIP for University of                August 2010- 2012
      California Irvine Medical Center, Department of Surgery




Professional Memberships

      American College of Surgeons, Fellow

      American College of Physician Executives, Member

      American College of Healthcare Executives, Fellow

      Southern California Vascular Surgical Society, Member

      National Association of Healthcare Quality, Member

      Society of Vascular Surgery, Active Member

Other Memberships

      Airplane Owner and Pilot’s Association

      Experimental Aircraft Association

      American Philatelic Association, Life Member

      Palm Springs Air Museum

      Association Naval Aviators

      United States Tennis Association

      Defense Orientation Conference Association, Member since 1995




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Interests

       Art Collecting, Reading, Flying, Tennis, Stamp Collecting

       Gemology, Sailing, Vintage Cars



Past Associations, Positions

       Palm Springs Desert Museum, Member of Board of Directors 1993-95

       Desert Surgery Center, General Partner and Medical Director 1987- 2004

       Palm Springs Professional Building, General Partner 1988- 1998


Publications

Assessing the Competency of Low Volume Providers, Smith, MA and Pelletier, S, HCPro, 2009

Effective Peer Review, Marder, R and Smith, MA, HCPro, 2005

Effective Peer Review 2nd Edition, Marder, R, Smith, M. and Sheff, R., HCPro, 2007

Proctoring and Focused Professional Practice Evaluation. Marder, R., Smith, MA, and Sagin, T., HCPro, 2006

Proctoring and FPPE, Marder, R and Smith, MA, HCPro, 2009

Measuring Physician Competency, Marder, R, Smith M.A., Smith, M. and Searcy, V., HCPro, 2007

Core Privileges for Physicians, Crimp, W, Pelletier, S., Searcy, V. and Smith, M, HCPro, 2007

The Credentials Committee Manual, Smith, M.A., HCPro, 2016

Effective Peer Review 4th Edition, Marder, R, HCPro, 2017. Contributed chapter on approach to team
performance measurement

Optimal Resources for Surgical Quality and Safety, Editors Hoyt, D. and Ko, C., American College of Surgeons,
2017. Contributing Author.




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Seminars

Multiple seminars delivered on various topics related to Medical Staff including effective Medical Staff
leadership, credentialing and privileging, peer review, surgical team summit, proctoring, physician performance
profiles

Redesign of peer review system at approximately 75 hospitals in last fifteen years.

Keynote Speaker for Morrisey Users Conference, August 2010, “Moving from Competence to Excellence …
Improving Patient Safety through Automation”

Faculty, American Association of Physician Leadership (previously American College of Physician Executives)
2011- Present

Member of Faculty Advisory Council, AAPL, August 2015- July, 2019

Faculty, Credentialing Resource Center, April 2017- present

Worked with ECRI on a number of evaluations and presentations under their Patient Safety Organization




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Appendix B Compensation

Legal Fee Schedule for Mark A. Smith, MD


Document Review and Letters: $500/hr
Deposition in my town- $600/hr
Traveling deposition or Trial Testimony- $6000/dy + travel expenses




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Appendix C- Documents reviewed for these opinions

  1 Reports and CVs of:
    a. Williamson, Jerry
    b. Markenson, David
    c. Burroughs, Jonathan
    d. Hyde, John

  2 Website of the Accreditation Council for Graduate Medical Education-
    www.acgme.org
  3 Website of the National Residency Matching Program (NRMP)-
    www.nrmp.org
  4 Website of the Medical Board of California- www.mbc.ca.gov
  5 Website of the American Board of Medical Specialties- www.abms.org
  6 Website of Educational Commission for Foreign Medical Graduates-
    www.ecfmg.org
  7 Records from the American Board of Obstetrics and Gynecology
    (ABOG_nonparty_000001-00082)




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Appendix D- Cases in Which Dr. Smith has testified or been deposed in the last
four years


Toranto v. Jaffurs et. al.- (Paul Plevin is the law firm that I worked with)-
Deposition in May, 2019

Rosenberg Fair Hearing Testimony- (Durham Jones and Pinegar is the law firm I
worked with)- February, 2019




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                  Exhibit 8




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10. MEDICAL EDUCATION: List ill medical whoOk you have attended                                                     From: MINTY To MINTY

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     GRADUATES OF FOREIGN MEDICAL SCHOOLS (Schools not In the U.S. or Na territories, Puerto Rico, or Canada)
     Mr the following documents to this application:
     1) Amoy of your valid ECFMG =Mai or Fifth Pathway Certificate;

     2) A copy of your medical school diploma and a certified translation;

     3) If you listed an afffiktion above (see * In 10 shovel attach a copy of the Certificate of Medical Education and
        Examinations Taken, Good Conduct Certificate or Intern Certificate. The Mirka must include your name,
        name of the medical school, name of the university, and a airlifted translation.

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     acme, court daub

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        (See Engish Language Competemy Regiemergs for Atcfcal Licensre i7Abytendin the introductory material included nth your
        gsipilution.)

         a. X . I graduated from a medical school or, after at least three yews of altendatrie, elicit school (x:dudes GED), undergraduate
            mm. college, or wthersity where English was the orifylangusge of Insbudion throughout (you must                 dobiimentstion); or
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         b. ❑ I passed either': the TOEFL or 0 the ECFMG Entfish tau after December 31, 1973                              the     TSE or    0 OH.
                If you have taken the Test of English es a Foreign Language (TOEFL) aid either the Test-                           or the Oral
                Proficiency Inter/ow (OPI), please request that Education Testing Service and/or taigage Teattrzg                      AttrAdation
                of your scores dins:eh/Iodic Board;

        c. 0      I passed the USMLE Step 2 Clhical SkiRS Earn.
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        Are you darning speech Impailmsnt? ‘55( NO 0 YES                If TES,' please vete or call thegoard for additional information.




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                 APPLICATION; you me noted:hie bran ilaansure in Merge=

                 NOTE: Postgraduate training program cycles usually run from July 1 to June 30. If the dates of your
                 postgraduate training are not within the usual cycle, fall short of the complete cycle, or extend beyond
                 the usual cycle, please attach a complete explanation of why your training was "off-cycle."

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         MEDICAL MANS                                                                                                                                              7 of 11
         10/2M9                             Zne: U10445                    1)6             1\)tpl                                   Ct Dale:       7_
         14.   Medical Licensing Examinations (USMLE, NBME, NBOME, FLEX, FLEX-Weighted Average, Medical Couocti of Caere, and licensing exams given
               by individual stales priorto January 1, 1985) CO NOT SUBMIT THIS APPLICATION with you harm metered written vaithcalion of hairy paned all parts,
               Mem or ampere:de of your medical licensing examinations.
         Identify brim ALL the medical licensing examinatians that you have ever taken. Ask the administering authority of each exam to send the
         complete medical licensing examination history and scorns directly to this Board. in each examination category below, you will find
         ktunwlion to help you contact the administering authority.
                                                                                                                  —.
         a. Have you metaled any medical Tice nsirg examination (ce pert, sloe, or component thereof)?     NO
                                                                                                                                               —,
         b. Have you failed any medical licensing examination (or part rep, or component thereof) three or more times? No
                                                                                                                               .......
         If you answered "Yes* kra and b., you must have successfully coupleled another year ci ADCAIE-accredded clinical postgraduate training, in addition to the rots) cf
         training usually remoired for licensee in Maryland. No part of the Walked year may have been Wren before the dale tithe last fat. If you have oot net this
         tmeirethant, you are not etibiefor licensure in Mayfield at this time. DO NOT strait this migration unit you have fulfilled this requirement
         IF Y011 HAVE FAILED MY PART, STEP, COMPONENT OR APPROVED EXAMINATION COMBINATION MORETHAN 3 TRIES, You may not be
         eligible for medical licinsure In Maryland. Fora complete explanation see COMAE 10.32.01.03 Licenstue—Oualfficatione for Initial
         Licensor

         a. State Board Examination Um slaw:
              STATE BOARD DOES NOT INCLUDE STEP 30F                    ORAL EXAMS, OR INTERVIEWS. Slab Dawn Ruminations mere licensing
             exams given by individual dabs. Meth Boyd Examinations bkeit afar Demenber 31, 1984 are not accepted for Wawa in Magiend.
         Send a copy of MBP NU, State &errI Licensure and Examination Certficalion, font the state(s) which atignialeaoti your iicenSing exam and ask
         the stale(S) to send rife:cam results directly to the Maryland Emil of Physicians. Also send a copy to each state that has ever issued you a license.
         NOTE: Many Mateo charges/as for exam transcripts. Contact each rate hoard prior to sanding form ON_T, se ail fees are the reeponsibilRy
         tithe applicant.

          Federation of State Medical Boards (See Pace 8 if you took a combination of these exams or combined either with the NNE exams)
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                       Mr Whim the           ant first  sed either dep Lorem Z
         if you look any of the above exteinations you mat ask the Federattn of Slate Mortice! Boards (FSIAB) to sand your transcripts to the Board by =me% their
         viebsile erivrivelsmeore. OthireanscMireguests.


         e. 0          National Board of Medical Examinant (See Pege 8 if you combred this exanthation with FLEX or MALE stuns)
                       If you have received NBME certification, ask NBME to send to the Board both the Endorsement of Certification andthe Record of Scares.
                       AI requests must be made through the NBME *slash° at hteirfivertmnbme.org or call 216-69D-9592. If you thee NElmiE exams but *ere
                       not *edified, or you took NBME as past of hybrid exams, ask NBME to send only your Record of.Scares.
                                ISIMUMIIIIIIINIIIIIIIIPIIMMe                                                                                IMO, -
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         f. rl         National Board of OsteOpathic Medical Examiners Careficidors issued before January1,1e71 aneitiggiccepted for iirensuie in
            ""         Maryland. If you have received NBOME certification, ask NBOME
                                                                               ~~    to send to this Board the verificalloW certification End the complete
                       history of your medical examinations. Contact NBOME at 773-714-D622 for instructions and foe infoortvaz. F
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         g. rl         Medical Council of Canada                                                                                   .:'.$) Qs.  -,..4.
            ""`"'      licentiate of the Medical Council of Canada
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                       Please request that verification of your Licenciate Certification and a complete MC exaninatioa story be serit--
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                       Call MCC at 613-621-6012 for instructions and fee information.
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                                                                HYBRID EXAMINATIONS
       The Miming combinations are the only hybrid examinations accepted by the Maryland Board.
    Pealing scores on all parts of hybrid ouninatialis must have been completed within a 10.year period, beginning with the month and
    yaw the examinee that paws a pet or component or step of the combined exaninadon. ALL HYBRID EXAMINATIONS MUST HAVE
    BEEN COMPLETED BEFORE JANUARY 1, 2000.

      h. 0      USMLE 1 + NBME II + NBME iII                                         n. El FLEX 1 + USMLE 3

      L 0       UStrIlLE 1 + USMLE 2 + NBME II1                                     0. 0       FLEX + USMLE 1 + NBME II

         0      USMLE 1 + MAE II + USMLE 3                                          p. El FLEX 2 + USMLE 1 + USMLE 2

      k. 0      NBME I + USMLE 2 + USMLE 3                                          q. ❑ FLEX 2 + NBME I + USMLE 2

      L El NEM I + USMLE 2 + NBME III                                               r. 0       FLEX 2 + NENE I +NEWS II

      m.0. NBME I + NBME II + USMLE 3
         •     ff your hybrid exams included any part of the NBME examination, contact NBME at httm(lwavenbme.org or call 215-590-9592 for
               instructions and request that your Endorsement of Cedification andyour Record of Scores be sent (Erectly tote Maryland Board of
               Phyaidans.

         •     If your hybrid moms included orgy FLEX and USMLE examinations, request yourtranscript from the Federation of State Medical
               Boards at veaw.taakaaa.

   is. Licensing History:
   a. ❑I have never been licensed in the U.S., is territories, or Puerto Rico and have never been licensed or registered in Canada.
    b. El I have an apptication for license pending In the following slates:    GA
   c. Please fist below all licenses ever issued to you by a U. S. state/territory or Puerto Rico. Also list all Canadian licenses and registrations.
   d. Has any disciplinary action ever been taken against your licenso?g No a Yes If yes, please enclose an explanation.

            STATE                  LICENSE NUMBER                                                  CURRENT STATUS
        for Pomo Pima.                      or
        CagglottProkince)          Registration Number           Active ttnactive       Expiredlageect 1 Sonondood kg &modem!/                 Revoked
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16. Cheek YES or NO.
                                 Did you successfully comae* a medical kcansing exam (USMLE. MIME, etc.) withal the 15-year pedal prior to fifing this application?

                                 Disko the past 10 yeah have you maintained uninterrupted licensors since you were Dst issued a (cense in the United States, its
                 01:1            bardlories, Puerto Rico. or Canada?

                                  Do you have Were certification from, or *thin the past 10 years have you been codified or recertified by, asps:580y board recognized
                                    the Medial Board of Meta Specialties, the Amerlain Osteopathic Association, a the Royal College of Physicians and Surgeons
                                 abyCanada?
                                 IMES; knehich spool* were pu certified?                                                      Date waled
           If yea have mused "Er toedktg ache San questions, you MUST lake the Seidel Purpose Ecarninetton. After you submit
           this atadieitIon, contact the Fedstadce of State Mediae Boards al 817-571-2949 and mange to take the SPEX In Ilatyland. and have
           sear sent to the Marginal Board directly.

17. Character and Fitness Questions (Check ether YES or NO)
           YES       NO
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   ", If you answered "YES" to any of the questions in item 17, on the following page please list all adverse actions
      taken against you and provide a complete explanation. Attach any supporting documentation that applies
      (copies of all complaints, malpractice claims, adverse or disciplinary actions, arrests, pleadings, judgements,
      or final orders). Sign and date all pages submitted.
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        Argo:age Name (Printed}                                                               Aceiterafs Signature                  Data
       20. (OPPANAL) Third Party Ralson Although the Board encourages you to complete all aspects of your apptication on your own, if you plan to
       use en intermediary to receive information about the status of your application, please complete this release.
       I agree that the Anyland Board of              s may release any inkumation pertaining to the stabs of my application to the Soloing person:
       N/11111

       Phone:
                                                                                               Applicants Signature                                    Date
                                                                                                             -41M.    m.pngInv


       21. 1 agree that I veil cooperate fully vith any request for information or with any investigation related to my medical practice as a ticensed physician in
       the SW ofMaryland, laced% the sulmoarraddocuments or records or the inspection of my medical practice.
       During the period in %licit my application is being processed, !shall inform the Board within 30 days of any change to any answer I originally gave in
      pen                            eg                                                                ty
       this apprealkin, my arrest or ccoviction, any change of address or any action that ones based on accusations that mulct be grounds for discipliner/
                            "               "•••:, 14-404.
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                                                                                                      1?-k.1 it
      Appicanfe Signature                                                                      Date

      22. Affidavit To be completed by the applicant in the presence of a notary public after the applicant's picture has been altschellai%
      I certify that t have preen* reviewed all the responses to items 1.22 of Ws applicatian and that the iiPi6Lion I Italigtvon is Inre and




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      the person in the photograph attached to this application and who has made oath in due form of taw to be the.person rafarrivian4adwaakeam, •. .. — -
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                           BENIN CITY, NIGERIA


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    HOWARD UNIVERSITY HOSPITAL AND AFFILIATED HOSPITALS .-i:/11{c1 30 GINC3
               WASHINGTON, DISTRICT OF COLUMBIA
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                                    THIS IS TO CERTIFY THAT                      3 To
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        JOHN-CHARLES NOSA AKODA, MD
                     HAS SATISFACTORILY COMPLETED FOUR YEARS
                        OF POSTGRADUATE MEDICAL EDUCATION IN


DEPARTMENT OF OBSTETRICS AND GYNECOLOGY
       THROUGH OUR TRAINING PROGRAMS AT HOWARD UNIVERSITY.
                                   JULY I, 2007 - JUNE 30, 2011



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                         BENIN CITY, NIGERIA



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                                                                          MARYLAND BOARD OF PHYSICIANS
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                                                            VERIFICATION OF POSTGRADUATE MEDICAL EDUCATION

               Part        APPLICANT:Complete Part 'I and sign*here indicated in the Part 2 instructions. Print y.xir name on top of the reverse pre
                            send a form to the earector of each postgraduate training program you ath3nded. Be sure to copy both sides.

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              1.Did the applicantparticipate in postgraduate training in your depalmerd during the period listed above?*
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                     if training wae piettkaa, paws rumble &straining Wade% alter awe ofthis form.
              noting the time of the applicant's participation, was the posiraduate training program accredited?                           NO
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              3.Did the applicard participate in aN of the components of the braining as required by Jia =egging body?
 ;;;.                El    YES                NO       Comments (attach signed and dated addrdons as needed):


              4.Did the applicant succosstuly =pieta all requirements of each year ofraining?
                  El       YES
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                                            NO Comments (attach signed and dated additions as needed):


              &During the applicant's year(s) of training, did the applicant have any break in training?
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                                 complaints, pleadings and judgments. Attach additional signed and dated pages as needed.
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                     18 b. if you answered yes toill. - answarthe following questions:

                                1. Total number of malpractice claims ever flied in which you were named as a defendant?

                                2. Total number ofmalpractice claims ever paid (settlemerd/ judgment) in which you were named as a
                                   ‘defendant? ns
                                cr                    wae
                                3. Within the lust 60 months (5 years) provide the following:
                                   Total number of medical malpractice claims filed           ; paid (settlement judgment )
                                   or dismissed          ; in which you►ere named as a defendant.
                                4.   For *claim filed at any time, but paid (settlement /judgment) within the last 60 months (5 years), list each
                                     claim by Cigifklat$ name; describe the disposition of each claim; and provide a copy of the complaint,
                                     pleading, and judgment of each medical malpractice



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     S. Chronology of Activities; DO NOT ATTACH RESUME OR CURRICULUM VITAE
        Beginning with the date you completed medical school and continuing through the present, lid chronologically all of
        your activities. Account for all periods of time Including each postgraduate training program you attended, regardless
        of whether or not you completed the program; each fob you held, regardless of whether or not It was medically related
        or you were compensated; and any period of unemployment.
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 use or attach a separate sheet Please sign and date each sheet you attach.




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                                                                                                                                        State Board Code:
                      MARYLAND BOARD OF PHYSICIANS                                                                                                   021
                      WILLIAM CALHOUN                                                                                                   Please include this
                      4201 PATTERSON AVE., 4TH FLOOR                                                                                    number on all requests
                      BALTIMORE, MD, 21215-0095




                                                 5CFNIGIO CERTIFICATION STATUS REPORT
                 USMLE10/ECFMG Identification Number. 0-553-258-5
                 Applicant's Name: JOHN NOSA AKODA
                 Applicant's Date of Birth: 01/01/1959
                 ECFMG Certified:Yes
                          Certificate Issue Date: 08/18/1997
                         English Test Valid Through: Valid Indefinitely

                 Passing Performance on Medical Science Examinations:                                   Two Digit            Three Digit
                 Examination                         Date                                                Score                 Score
                 USMLE Step 1                        11 Jun 1997
                 USMLE Step 2 OK                     28 Aug 1996
                 Most Recent Passing Performance on Clinical Skills Examination:
                 Examination                          Date
                 Not Required for Certification
                 Most Recent Passing Performance on English Test AUG 1996
                 Name of Medical School and Country:University of Benin College of Medicine. Benin, NIGERIA

                 Degree Year 1988/
                 T Medical Education Credentials Status: Complete
                 This information is reported directly from ECFMG computer records and is current as of 09/14/11.

                                              . .
                How to Verify the Authenticity of this Report: .
                This report was issued to the named recipient on the date shown below. To verity the euthenUclty of this report, visit
                httpsilicysonithe2.ecrmg.orgrverifylverify.espx and enter the unique verification code at the bottom of the report. The Information contained in this report is
                current as of the issue date, Any changes to the physician's status atter the issue dale Will not be reflected, and you !re encouraged to request an
                updated report.
               The purpose of this Status Report is to indicate whether this individual Is Certified by ECFMG. Et reflects only examinations that were used to fulfill
               requirements for ECFMG Certification. The most recent passing performance on the clinical skills examination is reflected, regardless of whether this
               individual was required to take a clinical skills examination for ECFMG Certification. This Status Report is not a complete score history of all examinations
               for this individual. This Status Report dqes not include examinations that were taken but not passed. Furthermore, if this individual passed examinations
               that were not used to fulfill the requirements for ECFMG Certification, these examinations are not included.
afi              To obtain a complete history of and scores for LIENS Step examlnahottls) that may have been taken by this individual, contact the appropriate
               registration entity to request a USMLE transcript
                 f Since July 1986, ECFMG, has verified medical school credentials directly with the medical schools, or through a reasonable aftemative that has been
                     approved by the ECFMG Medical Education Credentials Committee.
                Important Note:
               Requesting organizations must normally secure and retain the physician's signed authorization to obtain certification information.
               Organizations may not resell the information or make it available to any party beyond the initial request as authorized by the physician.
               The information may only be used to confirm ECFMG certification for the purpose for which the physician provided authorization.
                Report Verification Code: DXDOC14D9F
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Wed Mend Metiers                                              MARYLAND BOARD OF PHYSICIANS                                                       Side 8
SaNdaseetal Form                                    VERFICATICO OF POST    a ATE MEDICAL EDUCATION
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                              Applicant's Name giric*                                     04(
G.       Did the appkInt have any physical or mental problem that affected the appl'icant's ability be practice me tkine during the period of training?

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                                         if `Yes; please give a detailed explanation'


7.      Was any :lace taken again:tithe applicant by any training program, hospital, medical board, licensing authority, or court ? Such actions include,
        butane not Rallied to investigations, tirritations of privileges or special conditions, requirements imposed for academic incompetence, disciplinary
      • actions, probtaionary vtioria, etc.

                               v.               „Jane give a detailed explanation'


8.       in each year of training, did the applicant demonstrate sufficient academic and clinical ability to qualify for advancement without conditional or
         probationary stens in the next year and next progressive level of responsibi€ity in a designated specialty program?

     [2]        YES    0      No     Comments:*




                                                   Control No: 1 179                 08/09/20 1
                                                   Akoda. Charles John Nosa
                                                   lia3-Aceredited Training Programs
                                                   Receked: William Calhoun
                                                   Analyst: Dierdra Rufus




* If space is not sufficient, please attach a signed and dated detailed explanation.


 Attestation: I attest that the information I have provided regarding the applicant is true, accurate, and complete according
 to at available records.

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                                GRADUATES OF FOREIGN MEDICAL SCHOOLS (Schools not In the U.S. or Its territories, Puerto Rico, or Canada)
                                Attach the following documents to thie application:
                                1) A copy of your valid ECFMG certificate or Fifth Pathway CerdfIcater;

                                2) A copy of your medical school diploma and a certified translation;

                                3) if you listed an affiliation Wove (see * in 10 above}, attach a copy of the Certificate of Medical Education and
                                   Examinations Taken, Good Conduct Certificate or intern Certificate. The certificate must include your name,
                                   name of the medical school, name of the university, and a certified translator* .
                                if your name Is not written the same way on all documents, you must submit documentation to explain how end wily your can. differs
                                and submit one of the following documents to support the now change; Passport, INS card, birth certificate, court document, marriage
                                license, court decree.

                          it.      How have you saddled Maryland's reareniagoorlEnght language competency requirements?
                                   (See English Language CavetencyRequimments for Merical &ensure Marykodinihe introductory marafial included with your
                                   application.)

                                        Ii( I graduated from a medical school or, after at least three years of attendance, a high school Includes GED), undergraduate
                                            college, or university when English was the on& language of instruction throughout (you must pa            At:Anadarko); or
                                   LEI leased either© the TOEFL or 0 the ECFMG English tea alter December 31, 1973 mg•                               ed the          TSE or El OPI.
                                            If you have taken the Test of English as a Foreign Language (TOEFL) and either the Test *Olken                          ) or the 00
                                            Proficiency Interview (OPI), please request that Education Testing Service andfor LangirrigeT "                        senparlidaiion
                                            of your scores directly to the Board;                                                                              . ......, ...,
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                                   e. 0 I passed the USMLE Step 2 Clinical Skits Exam.                                                           01/4°)
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                                   Are you claiming speech Impairment?            NO 0 YES          If `YES," please write or call the'Board for additional information.




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                  DO NOT MAIL THIS TO THE BOARD. RETAIN THIS APPLICATION FOR YOUR RECORDS.

Application for renewal of:    Physicians
1. License Number D0073049 DE Charles John Nosa Akoda

         Individual National Provider Identifier NPI: 1952664278          ❑ I do not have an NPI
 2.      This is the NPI entered in the field for Rendering NPI on a claim (10 digit number)
         (i!* NPI Information


3. EMAIL ADDRESS: Please enter your most current email address where we may contact you regarding your license. •
                           adcfrancis@aol.com

Address Changes (Non-Public and Public):                                                       •
You must submit a Public and Non-Public address. If either address has changed, please correct here.
Your address(es) on the online renewal application is current as of July 1, 2014. If you requested any changes to your address(es) that are not reflected on this application,
please make the change at this time. These changes will be updated in the main database.

4a. Non-Public Address: This address is for Board use only and is where your license will be mailed. However, if no
public address is listed, this address will also be made available to he public.
Street
Street (2)
Street (3)
City

State
                          f selecting a country other than USA or Canada, please choose "Foreign" as your state
ZipCode
Country

4b. Public Address: This address, usually your office, is available to the public and will be posted on the Internet. If you do
not designate a public address, your non-public address will be posted on the Internet.
 ❑ Check if Public Address is the same as your Non-Public address (the address above will be automatically entered below.)
Street                14909 Downey Court
 Street (2)
 Street (3) -
 City                     Bowie
                          Maryland                                    V
 State
                          f selecting a country other than USA or Canada, please choose "Foreign" as your state
 ZipCode                  20721
 Country                  United States

 5. Do you give the Maryland Board of Physicians permission to report your date of birth to                                      ()Yes ONo
 the Federation of State Medical Boards' Physician Data Center? See instruction



        CHARACTER AND FITNESS (Question 6)
        6. The following questions pertain to the period since July 1, 2012. If this is your first renewal, these questions
        apply to the period commencing with the date of your initial licensure or reinstatement. Check the box YES or NO
        next to each question. If you answer Yes; provide an explanation at the prompt
        * All questions must be answered Yes or No.

                             ' ias any licensing or disciplinary board of any jurisdiction (except this licensing board), or any entity of the
                             armed services denied your application for licensure, reinstatement or renewal, or taken any action against
         Yes     No
                             your license, including but not limited to reprimand, suspension, revocation, a fine, or nonjudicial punishment,
         NO                  for an act that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?



                             "aye any complaints, investigations or charges been brought against you or are any currently pending in any
                             r _risdiction by any licensing or disciplinary board (except this licensing board) or an entity of the armed
         Yes     No
                             services?
         NO




                                                                                                                                                                         JA2943
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              c. Has your application for a medical or health professional license been withdrawn for reasons that would be
                 grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
'yes    NO

NO

                "is an investigation or charge been brought against you by a hospital, related Institution, or alternative health
                __re system that would be grounds for action under Md. Code Ann. Health Occ. §14-404?
Yes     No
NO

                   ve you had any denial of application for privileges, failure to renew your privileges, or limitation, restriction,
                 suspension, revocation or loss in privileges in a hospital, related health care facility, or alternative health care
Yes     No
                 system that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
NO


                 Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                 diversionary disposition of any criminal act, excluding traffic violations?
Yes     No
NO

  —      -    ^. Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                 diversionary disposition for an alcohol or controlled dangerous substance offense, including but not limited to
Yes     No
                 driving while under the influence of alcohol or controlled dangerous substances?
NO


                 ',re there any pending criminal charges against you in any court of law, excluding minor traffic violations?
Yes     No
NO
                 Do you have a physical or mental condition that currently impairs your ability to practice medicine?
Yes     No
NO
                 Has the use of drugs and/or alcohol resulted in an impairment of your ability to practice your profession?
Yes     No
NO
              fr no you illegally use drugs?
Yes     NO
NO
                 Have you surrendered or allowed your license to lapse while under investigation by any licensing or
                 disciplinary board of any jurisdiction or an entity of the armed services?
 Yes    No
 NO

                - 'lave you been named as a defendant in a filing or settlement of a medical malpractice action?
 Yes No
                  I was a Resident rotating through Prince Georges Hospital in 2010 when a child delivered had Brachial nerve
 YES              palsy. All staff including Residents involved in the delivery were name in the law-suit. I am being represented
                  by Attorneys from Howard Residency program which is my training institution. The law-suit is still in its
                  preliminary stages

               n. Has your employment by any hospital, HMO, related health care or other institution, or military entity been
                  terminated for any diciplinary reasons?
 Yes    No
 NO

                  " -ve you voluntarily resigned from any hospital, HMO, or other health care facility or institution, or military
                  ,entity while under investigation by that institution for disciplinary reasons?
 Yes     No
 NO

               p. Are you in default of a service obligation resulting from your receipt of state or federal funding for your
                  medical education?
 Yes     No
 NO

                  Have you failed to make arrangements to satisfy any state or federal loans that financed your medical
   we
                  education?
  Ye;    No


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      CONTINUING MEDICAL EDUCATION (Question 7)
cfr    a. CME met. I have completed and have been granted credit for at least 50 credit hours of Category 1
       continuing medical education activities within the two-year period immediately preceding submission of
       this application for license renewal. Physician is obliged to obtain requisite documentation of CME activity
       and maintain documentation for a period of six years for possible inspection by the Board. For additional
       information on CME, see Maryland Regulations, 10.32.01.09.


0       b. First Renewal & NPO. I am exempt from CME during the renewal period because this is my first
        renewal after initial medical licensure in Maryland and I have completed the Board's New Physician
        Orientation Program. The New Physician Orientation is for NEWLY licensed physicians only. If you were
        licensed prior to September 30, 2012 or reinstated, this does not apply to you. See New Physician
        Orientation Program web site. Your license will not be renewed unless you have completed the
        orientation.


 0      c. First Renewal after reinstatement. I am exempt from CME during the renewal period because this is
        my first renewal after reinstatement of my medical licensure in Maryland.


      PERSONAL AND PROFESSIONAL INFORMATION (Questions 8-17)
8a.. Gender 0| Male Cr
                    0 Female


8b. RACE/ETHNIC IDENTIFICATION - PLEASE CHECK ALL THAT APPLY
Are you of Hispanic or Latino origin? (A person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin, regardless of race.)
Select one or more of the following racial categories:
     ierican Indian or Alaska Native (A person having origins in any of the original peoples of North or South America, including Central America,
   and who maintains tribal affiliations or community attachment.)
          Ian (A person having origin in any of the original peoples of the Far East, Southeast Asia, or the Indian subcontinent Including, for example,
      ..,ambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.)
            ( or African American (A person having origins in any of the black racial groups of Africa.)

         ive Hawaiian or other Pacific Islander (A person having origins In the original peoples of Hawaii, Guam, Samoa, or other Pacific Islands.)

         ite (A person having origins In any of the original peoples of Europe, the Middle East, or North Africa.)

         ler


9. Are you employed by the Federal Government?
    0 Yes        No

10. Please indicate if you are currently in: a) a residency program accredited by the Accreditation Council for Graduate Medical
Education or an internship or residency program approved by the American Osteopathic Association; orb) a fellowship
(subspecialty) training program accredited by the ACGME.
                                                                                 mow ee           .      fe tena         a ne ae
 a If you answer Yes to either a. or b. you will not be required to complete the Practice Information section (Questions 15-26) of
this application.

 a. In an accredited/approved internship or residency program?
    0 Yes ®No

 b. In an accredited fellowship (subspecialty) training program?
        Yes ® No

 11a. Which best describes your current area(s) of concentration:
 Primary Concentration                Obstetrics & Gynecology                                              V
 Secondary Concentration              None


                                                                                                                                                  JA2945
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                                                                                                                   474434333
11b. SPECIALTY BOARD CERTIFICATION: List up to two (2) specialty areas only if certified by a recognized board of the
American Board of Medical Specialties (ABMS) or the American Osteopathic Association (AOA).
Primary Certification          Obstetrics & Gynecology
Secondary Certification        None


12. Please select all states (excluding Maryland) where you hold a medical license.




                                                                                                    |
 ❑ Alabama                ❑ Florida ❑ Kentucky             ❑ Nebraska           ❑ Oklahoma           ❑ Utah
 ❑ Alaska                 ❑ Georgia ❑ Louisiana            ❑ Nevada             ❑ Oregon             ❑ Vermont
 ❑ Arizona                ❑ Guam       ❑ Maine             ❑ New Hampshire ❑ Pennsylvania            111Virginia




                                                                                                         JjIjt
 ❑ Arkansis               ❑ Hawaii     ❑ Massachusetts ❑ New Jersey              ❑ Puerto Rico       ❑ Virgin Islands
 ❑ California             ❑ Idaho      ❑ Michigan          ❑ New Mexico          ❑ Rhode Island      ❑ Washington
 ❑ Colorado               ❑ Illinois   0 Minnesota         ❑ New York            ❑ South Carolina ❑ West Virginia
 ❑ Connecticut            ❑ Indiana ❑ Mississippi           ❑ North Carolina     ❑ South Dakota      0Wisconsin




                                                                                                   J
 ❑ Delaware               ❑ Iowa       ❑ Missouri           ❑ North Dakota       ❑Tennessee          ❑ Wyoming
  ❑ District of Columbia ❑ Kansas ❑ Montana                 ❑ Ohio               ❑ Texas


 13a. How many weeks per year do you work?                              v

 13b. Please indicate below how the hours are allocated in your typical work week . The sum of these hours should reflect the
 number of hours in your typical work week. Definitions of these categories are listed below.

  a if you allocate 0 hours per week to a. Patient Care Related Activities you will not be required to complete the Practice
 Information section (Questions 15-26) of this application.

 Patient Care Related Activities include seeing patients, writing prescriptions, patient-related clinical activities (such as pathologic
 and radiologic assessments), maintaining patient records, obtaining and reviewing test results, arranging referrals, consulting with
 other providers about patients, talking with a patient's family members.

 Research includes clinical, laboratory, and analytical research

 Teaching includes the teaching of medical undergraduate & graduate students and other graduate students.

 Administration & Other: Administration includes practice management (billing, contract negotiations, personnel, regulatory
 act€v€ties) & management of institutions or programs (health departments, health insurance, hospitals, other hea€th-related
 institutions or programs); Other

 Ng Use whole numbers. No fractional hours. If none enter 0.
 a. Patient Care Related Activities 60        hours per week
  b. Research                           0        hours per week
  c. Teaching                           10       hours per week
  d. Administration & Other             10       hours per week
  Total Hours                           80       hours per week



  14. If you indicated in Question 13 that you are not engaged in patient care related activities, do you intend to resume patient care
  related activities in the next two years?
   0 Yes 0 No



      PRACTICE INFORMATION (Questions 15-26)

     15. Do you plan to discontinue patient care related activities in the next two years?
      0 Yes ®No


     16. Please indicate below the number of practice/office locations at which you routinely deliver patient care for reimbursement.
         a. Number of locations in Maryland (if none, enter 0)                        2
         b.


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       Number of locations outside of Maryland (if none, enter 0)
       0 If you have locations outside Maryland, please answer (c) below after you
       answer (b).
    c. Do you routinely treat Maryland patients at your practice/office location(s) outside of Maryland?
           0 Yes 0 No 0 Don't know




                                                                      il
17. Please indicate below the number of hospitals at which you currently have admitting privileges.
  a. Number of hospitals in Maryland (if none, enter 0)
 b. Number of hospitals outside of Maryland (if none, enter 0)           0



18. Primary Practice / Office Location Primary Practice / Office Location

0 Please answer all Primary Practice questions




                                                                                                                               batand
                                                                                                                             bet
a. Organization Name              Dr Abdul Chaudry
    Organization Name2




                                                                                                                               beet
b. Street Address                 6005 Landover Road, suite#5




                                                                                                                                   Limmed
c. Street2
                                 0 Enter suite or room number here. (Ex. Suite 101 or Room 101)
 d. City                          Cheverly
 e. State                         Maryland                                   v

 f. Zip Code                      20785
 g. Jurisdiction                  PRINCE GEORGE'S           v


 h. Employer Tax ID               00             0000000        0   If you do not have an EIN enter XX-XXXXXXX

                                  CTQWhat is Employer tax ID?


 i. Please select one of the following related to the NPI used for billing insurers:

      0 I use an Organizational NPI for billing. Please Enter >
       ®
      od




      0 I use my Individual NPI for billing.                                                            Organizational NPI

           I do not bill public or private insurers.


     You indicated in Question 13a, 60 hours of Patient Care Related Activities during a typical work
     week.
     How many of those Patient Care Related Activity hours in your typical work week are delivered at
     this practice/office location?                                                                           60
         If none, enter 0.                                                                                    Hours


 k. Setting                        Freestanding Physician Office                 N./
 I. Private/Public                 Private-For profit
 m. Practice                        Single-Specialty Group-independent
     Please answer the following regarding staffing at this practice/office location on a typical day. Definition of mid-
     level medical providers is listed below.
     ti If none, enter 0; if you don't know the number, enter 999

      Number of physicians (MDs, DOs, residents, fellows) including yourself at this location.                 2

      Number of mid-level medical providers at this location.                                            5
      0 Mid-level medical providers: nurse practitioners, nurse midwives, nurse anesthetists and physician
      assistants.




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19. Secondary Practice / Office Location




                                                                                                                                           LLL
   If you have a secondary practice/office location and you've checked the box above, you will see a series of questions that must be completed.

a. Organization Name               Dr Abdul Chaudry
   Organization Name2
b. Street Address                  6400 Marlboro Pike

c. Street2
                                  46 Enter suite or room number (Ex. Suite 101 or Room 101)
d. City                            District Heights
e. State                           Maryland
f. Zip Code                        20747
g. Jurisdiction                    PRINCE GEORGE'S


h. Employer Tax ID                  oo             0000000                   If you do not have an EIN enter XX-XXXXXXX

                                         What is Employer tax ID?


i. Please select one of the following related to the NPI used for billing insurers:

     0 I use an Organizational NPI for billing. Please Enter >
      0 I use my Individual NPI for billing.
                                                                                                                     organizational Nfil
      ® I do not bill public or private insurers.


    You indicated in Question 13a, 60 hours of Patient Care Related Activities during a typical work
    week.                             •
    How many of those Patient Care Related Activity hours in your typical work week are delivered at
    this practice/office location?                                                                                         20
    0 If none, enter 0.                                                                                                    Hours


 k. Setting                         Freestanding Physician Office
 I. Private/Public                  Private-For profit
 m. Practice                        Solo-independent
     Please answer the following regarding staffing at this practice/office location on a typical day. Definition of mid-
     level medical providers is listed below.
     0 If none, enter 0; if you donIt know the number, enter 999

     Number of physicians (MDs, DOs, residents, fellows) including yourself at this location.                                2

     Number of mid-level medical providers at this location.                                            5
       Mid-level medical providers: nurse practitioners, nurse midwives, nurse anesthetists and physician
     assistants.



20-21 The Health Information Technology questions have been moved to a seperate section. You are required to complete the Health Information
Technology section ONLY if you have a Primary Practice Location.
22. Please indicate if you participate in the following private and public insurance programs, and whether you are currently accepting new public
insurance program patients,

     a.    Participate In any PRIVATE Insurance plan networks, including PPO, EPO, HMO, etc.                                               O   0
                                                                                                                                       Yes     No

     b.
           Participate in the MARYLAND MEDICAL ASSISTANCE PROGRAM (in either the traditional program or a Managed ®                            0
           Care Organization)                                                                                     Yes                          No

           b1. If Yes, are you accepting new Maryland Medical Assistance patients?                                                         O   0
                                                                                                                                       Yes     No

     c.    Participate in the MEDICARE (in either the traditional program or a Medicare Advantage Plan)?


                                                                                                                                                   JA2948
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                                                                                                                                  ®      0
                                                                                                                                 Yes     No
                                                                                                                                 0       0
           c1. If Yes, are you accepting new Medicare patients?
                                                                                                                                 Yes     No




 23. Do you offer a sliding fee scale based on ability to pay? (Utilize a standardized fee reduction schedule for low-income)
  OYes 0 No '0 NA



 24. Please report the typical number of hours per week you personally provide care to patients on a charity basis (do not include bad debt).
  0          hours per week. 0 If none, enter 0



 If you are practicing as an adult primary care specialist (internal medicine, family practice, general medicine), please answer 0.25, otherwise:
  2   check this box and skip to Q.26.
 25. Do you charge patients an annual fee for participating on your patient panel, sometimes called direct, concierge, or retainer-based practice?
   OYes 0 No



  26. Workers Compensation
  Workers Compensation coverage: If you employ one or more persons the Md. Code Ann. Health Occ. §1-202 requires that you
  verify that you are complying with the Workers' Compensation Law for your renewal to be issued.
  I hereby certify:
   0 Not Applicable (Do not complete below)
   0 I do not practice in Maryland.
   0 1 do not employ anyone in my practice in Maryland.
   0 I employ one or more persons in my Maryland practice and have the following Workers Compensation coverage.
          If you are a Maryland employer you must provide the information requested below.
  Insurance Company
  Policy Number
  Expiration Date                                 j .6 Enter as MM/DD/YYYY Enter as MM/DDNYYY


      HEALTH INFORMATION TECHNOLOGY

Please contact the Maryland Health Care Commission at 410-764-3330 for questions relating to this section.


          Electronic Health Record Incentive

          Beginning in 2011, physicians that adopt an electronic health record are eligible to receive an incentive either under
          Medicare or Medicaid. To receive this incentive, a physician must meet certain criteria, which varies depending on which
          program you choose. The Medicare incentive is up to $44,000 over five years and the Medicaid incentive is up to
          $63,750 over six years. Physicians are encouraged to learn more about these incentive opportunities by visiting the
          Centers for Medicare and Medicaid Services website htto://www.cms.cov/EHRIncentiveProckams/



This question is about the use of computers and other forms of information technology, such as hand-held computers, in diagnosing or treating your
patients at your primary office/practice location, which you listed in
Question 18 - Primary Practice / Office Location Primary Practice /Office Location

 Please complete the following HIT questions for: Dr Abdul Chaudry


 1. This question is about the use of computers and other forms of information technology, such as hand-held computers, in diagnosing
 or treating your patients in your office.

 Are you computerized in your office:
      a. To obtain information about treatment alternatives or recommended guidelines?



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        Yes Cr
            0 No

    b. To send prescriptions electronically to a pharmacy?
     *Yes ONo
    If you answered Yes to lb, what percentage of prescriptions are submitted electronically? 90
    (Enter Whole number)

    c. To generate reminders for you about preventive services needed for your patients?
     *Yes ONo

    d. To access patient notes, medication lists, or problem lists?
     *Yes on
          0 No

    e. For clinical data and image exchanges with other physicians?
      0 Yes *No

     f. For clinical data and image exchanges with hospitals and laboratories?
      ()Yes *No

     g. To communicate about clinical issues with patients by email?
      °Yes *No

     h. To obtain information on potential patient drug interactions with other drugs, allergies, and/or patient conditions?
      *Yes ONo

2. Does your primary office/practice location use electronic MEDICAL RECORDS (not including billing records)?
                                                                       Ono
 0 Yes, all electronic ()Yes, part paper and part electronic 0 No 0 Don't know

     2a. If Yes, what is the name and version of the EHR system?
      Other                                              N/



     Other Lytec


     2b. If No, please indicate your most significant reason for not using electronic medical records.
      0 Capital cost outlays         0 Lack of technology standards 0 Retiring soon
      0 Overburdened staff           0 Intangible benefits              0 Not my decision
      0 Risk of privacy breaches

3. Have you used telemedicine for any purpose in the last 12 months?
 *Yes 0 No

           Telemedicine means, as it relates to the delivery of health care services,.the use of interactive audio, video, or other
       telecommunications of electronic technology by a licensed health care provider to deliver health care service(s) within the scope
       of practice of the health care provider at a site other than the site at which the patient is located.

3a. Approximately how many times in the last 12 months have you used telemedicine for any purpose? 2
    (Enter 0 if you did hot use telemedicine)
 44




3b. If you used telemedicine, what are your common uses of telemedicine technology (mark all that apply)?
0 Second opinion
    J14




O Diagnosis
2 Follow up
O Emergency
 O Chronic disease management
 O Other (specify) I

  The following questions are to be answered ONLY if your Practice Setting is one of the following:
  (1) Solo; (2) Single-Specialty Group; (3) Multi-Specialty Group; or (4) HMO Group/Staff



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4. Does your practice use high speed Internet?
  ©Yes 0 No

 4a. Comcast                                                              Please Specify :

 5. How do you access the Internet?
  0 DSL 0 Cable Modem 0 Fiber to the office ° Wireless 0 Other                0   Unknown

 6. Do you provide Wi-Fi access to your patients in your waiting area?
  0 Yes 0 No 0 Unknown



    PHYS€CIANS EMERGENCY CONTACT INFORMATION

27. As part of Maryland's emergency preparedness efforts, the Department of Health and Mental Hygiene has
identified the need for certain contact information for licensed physicians in Maryland who may be needed to
respond to a catastrophic health emergency. (Public Safety Article, Sec. 14-3A-01 et seq. and Health General Article
Section 18-901 et seq. sets forth the powers of the Governor and Secretary of the Department of Health and Mental
Hygiene.

 Required Field

Please provide the phone number that should be used in the event of an actual emergency.
Daytime *                13013250264
Nighttime*



Indicate by checking any box that applies whether you have any particular training and experience regarding the
following specific agents:
 ❑ Chemical       El Biological ❑ Radiological
If you are interested in being contacted about training opportunities provided by the Board of Physicians, please visit
the Maryland Professional Volunteer Corps website at httos://mdresponds.dhmh.maryland.uov/.

                                             Thank you for your assistance!



     28. CERTIFICATION AND AUTHORIZATION OF LICENSE APPLICATION


                      a. I certify that I have personally reviewed all responses to the items in this application and that the information
                      have given is true and correct to the best of my knowledge and that any false information provided as part of my
                      application may be cause for the denial of my application.

                      b. I agree that the Maryland Board of Physicians (the Board) may request any information necessary to process my
                      application for renewal from any person or agency, including but not limited to former and current employers,
                      government agencies, the National Practitioners Data Bank, the Healthcare Integrity and Protection Data Bank,
                      hospitals and other licensing bodies, and t agree that any person or agency may release to the Board the
                      information requested. I also agree to sign any subsequent releases for information that may be requested by the
                      Board.

                       c. I shall inform the Board, by certified mail, return receipt requested, within 30 days of: (a) action that would be
                       grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404, that occurred at any time during the
                       application period; (b) change in any answer that was originally given in this application.


                       d. Check Here if you wish to have the option of viewing your completed application online after you renew your
                       license. Otherwise, your application will not be available online for your later viewing. If selected, viewing is
                       available until 12/1/2014.




       29. Please provide your electronic signature (type your name) below:
       Name                         Charles Akoda
       Today's Date                 8/12/2014        1


                                                                                                                                  JA2951
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Last four digits of Social
Security Number:

30. Select a Payment Option here to complete your application.
   Please note: Credit cards may be used for online payment only. If you or a 3rd party is sending in payment, it must be by check.



Your renewal fee is:

    Credit Card 0 Send Check 0 3rd Party Check                                  3rd Party Payer:




PAYMENT
  APPLICATION COMPLETION INFORMATION:
  Date Application Started   8/12/2014
  Date Application Submitted 8/12/2014
  Confirmation Number
  Payment Method             Credit card
  Amount Paid                $522.00
  Credit Card Approval No.




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                                                                                                                                                                         aPrint
                  DO NOT MAIL THIS TO THE BOARD. RETAIN THIS APPLICATION FOR YOUR RECORDS.

Application for renewal of: Physicians

1. License Number D0073049 Dr. Charles John Nose Akoda


         Individual National Provider Identifier NPI: 1952664278         0 I do not have an Nil
 2.      This is the NPI entered in the field for Rendering NH on a claim (10 digit number)
               NPI Information


3. EMAIL ADDRESS: This is your email address on file. if it has changed, please edit below. If you do not have an email
address please indicate by checking the checkbox below.
                      adcfrancis@aol.com
0      I do not have an email address

Address Changes (Non-Public and Public):
You must submit a Public and Non-Public address, If ether address has changed, please correct here.
Your addressfes) on the online renewal application is current as of July 1, 2912 , if you requested any changes to your addressfes) that are not reflected on this application,
please make the change at this time. These changes will be updated In the main database,

4a. Non-Public Address: This address is for Board use only and Is where your license will be mailed. However, if no
public address is listed, this address will also be made available to the public.
Street
Street (2)
Street (3)
City

State
                          f selecting 9 country other than USA or Canada, please choose "Foreign" as your state
ZipCode
Country

4b. Public Address: This address, usually your office, is available to the public and will be posted on the Internet. If you do
not designate a public address, your non-public address will be posted on the Internet.
El Check if Public Address is the same as our Non-Public address (the address above will be automatically entered below.)
Street               14909 Downey Court
Street (2)
Street (3)
City                      Bowie
                           Maryland
State
                          If selecting a country other than USA or Canada, please choose "Foreign" as your state
ZipCode                    20721
Country                    United States

 5. Do you give the Maryland Board of Physicians permission to report your date of birth to                                       ®
 the Federation of State Medical Boards Physician Data Center? See instruction                                                        Yes 0 No




       CHARACTER AND FITNESS (Question 6)
       6. The following questions pertain to the period since July 1, 2010. If this is your first renewal, these questions
       apply to the period commencing with the date of your initial licensure or reinstatement. Check the box YES or NO
       next to each question. If you answer Yes, provide an explanation at the prompt.
       * All questions must be answered Yes or No.

                           "-- -my licensing or disciplinary board of any jurisdiction (except this licensing board), or any entity of the
                           —..ed services denied your application for licensure, reinstatement or renewal, or taken any action against
        Yes     No
                           your license, including but not limited to reprimand, suspension, revocation, a fine, or nonjudicial punishment,
        NO                 for an act that would be grounds for disciplinary action under Md. Code Ann. Health Om. §14-404?



                              lave any complaints, investigations or charges been brought against you or are any currently pending in any
                            jurisdiction by any licensing or disciplinary board (except this licensing board) or an entity of the armed
         Yes    No
                            services?


                                                                                                                                                                          JA2953
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    NO


                    Has your application for a medical or health professional license been withdrawn for reasons that would be
                    grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
.   Yes    No
    NO

                  J. Has an investigation or charge been brought against you by a hospital, related institution, or alternative health
                     care system that would be grounds for action under Md. Code Ann. Health Occ. §14-404?
    Yes    No
    NO

                  e. Have you had any denial of application for privileges, failure to renew your privileges, or limitation, restriction,
                     suspension, revocation or loss in privileges in a hospital, related health care facility, or alternative health care
    Yes No
                     system that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
    YES
                    Yes due to NPI number error: On February 2012 I applied for Hospital priviledges at Prince Georges Hospital.
                    I inadvertently supplied an organizational NPI number rather than an Individual NPI number. My priviledges
                    were rescinded on about May 30th 2012. I have since obtained an individual NPI number 1952664278 which I
                    have submitted to the hospital. I am in the process of re-credentialing:

                  f. Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                     diversionary disposition of any criminal act, excluding traffic violations?
    Yes    No
    NO

                  - Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                     .versionary disposition for an alcohol or controlled dangerous substance offense, including but not limited to
    Yes    No
                    driving while under the influence of alcohol or controlled dangerous substances?
    NO


                     Are there any pending criminal charges against you in any court of law, excluding minor traffic violations?
    Yes    No
    NO
                     Do you have a physical or mental condition that currently impairs your ability to practice medicine?
    Yes    No
    NO
                      las the use of drugs and/or alcohol resulted in an impairment of your ability to practice your profession?
    Yes    No
    NO
                     -10 you illegally use drugs?
    Yes    No
    NO
                     Have you surrendered or allowed your license to lapse while under investigation by any licensing or
                      sciplinary board of any jurisdiction or an entity of the armed services?
    Yes    No
    NO

                     " - 'e you been named as a defendant in a filing or settlement of a medical malpractice action?
    Yes    No
    NO
            •-•   n. Has your employment by any hospital, HMO, related health care or other institution, or military entity been
                     ierminated for any diciplinary reasons?
     yes Iv
    YES              Yes due to NPI number error On February 2012 I applied for Hospital privileges at Prince Georges Hospital. I
                     inadvertently supplied an organizational NPI number rather than an Individual NPI number. My privileges were
                     rescinded on about may 30th 2012. I have since obtained an individual NPI number 1952664278 which I have
                     submitted to the hospital. I am in the process of re-credentialing.

                      Have you voluntarily resigned from any hospital, HMO, or other health care facility or institution, or military
                      entity while under Investigation by that institution for disciplinary reasons?
    Yes    No
    NO

                      Are you in default of a service obligation resulting from your receipt of state or federal funding for your medical
                      education?
     Yes    No


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                          Have you failed to make arrangements to satisfy any state or federal loans that financed your medical
                          education?
      Yes       No
      NO




     CONTINUING MEDICAL EDUCATION (Question 7)
0     a. CME met. I have completed and have been granted credit for at least 50 credit hours of Category 1
      continuing medical education activities within the two year period immediately preceding submission of
      this application for license renewal. Physician is obliged to obtain requisite documentation of CME activity
      and maintain documentation for a period of six years for possible inspection by the Board. For additional
      information on CME, see Maryland Regulations, 10.32.01.09.


       b. First Renewal & NPO. I am exempt from CME during the renewal period because this is my first
       renewal after initial medical licensure in Maryland and I have completed the Board's New Physician
       Orientation Program. The New Physician Orientation is for NEWLY licensed physicians only. If you were
       licensed prior to September 30, 2010 or reinstated, this does not apply to you. See New Physician
       Orientation Program web site. Your license will not be renewed unless you have completed the
       orientation.


       c. First Renewal after reinstatement. I am exempt from CME during the renewal period because this is
       my first renewal after reinstatement of my medical licensure in Maryland.


     PERSONALAND PROFESSIONAL INFORMATION (Questions 8-17)
8a. Gender *Male 0 Female


8b. RACE/ETHNIC IDENTIFICATION - PLEASE CHECK ALL THAT APPLY
Are you of Hispanic or Latino origin? (A person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin, regardless of race.)
Select one or more of the following racial categories:
      .arican Indian or Alaska Native (A person having origins in any of the original peoples of North or South America, Including CentralAmerica,
   add who maintains tribal affiliations or community attachment.)

          (A person having origin in any of the original peoples of the Far East, Southeast Asia, or the Indian subcontinent including, for example,
     L.ambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.)

              or African American (A person having origins in any of the black racial groups of Africa.)

        ".e Hawaiian or other Pacific Islander (A person having origins In the original peoples of Hawaii, Guam, Samoa, or other Pacific Islands.)

        site (A person having origins in any of the original peoples of Europe, the Middle East, or North Africa.)

         kr


9. Are you employed by the Federal Government?
    0 Yes ®No


10. Please indicate if you are currently in: a) a residency program accredited by the Accreditation Council for Graduate Medical
Education or an internship or residency program approved by the American Osteopathic Association; orb) a fellowship
(subspecialty) training program accredited by the ACGME.

    If you answer Yes to either a. or b. you will not be required to complete the Practice Information section (Questions 15-26) of
this application.

a. In an accredited/approved internship or residency program?
    0 Yes C..) No

b. In an accredited fellowship (subspecialty) training program?
    0 Yes ®No



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11a. Which best describes your current area(s) of concentration:
Primary Concentration          Obstetrics & Gynecology                                      V
Secondary Concentration        None                                                         V




                                                                                                    J4jJ113
11b. SPECIALTY BOARD CERTIFICATION: List up to two (2) specialty areas only if certified by a recognized board of the
American Board of Medical Specialties (ABMS) or theAmerican Osteopathic Association (AOA).
Primary Certification       None                                                   V
Secondary Certification     None




                                                                                                14] }]a
12. Please select all states (excluding Maryland) where you hold a medical license.




                                                 JjJIA4]4
 ❑ Alabama                             J
                          ❑ Florida ❑ Kentucky              ❑ Nebraska          0 Oklahoma          0 Utah
 ❑ Alaska                 ❑ Georgia    DLouisiana           0 Nevada            0 Oregon            ❑Vermont
 ❑ Arizona                ❑ Guam • ❑ Maine                  ❑ New Hampshire ❑ Pennsylvania          El Virginia
 ❑ Arkansas               ❑ Hawaii ❑ Massachusetts ❑ New Jersey                 ❑ Puerto Rico       ❑Virgin Islands
 ❑ California             ❑ Idaho      ❑ Michigan           ❑ New Mexico        ❑ Rhode Island      ❑ Washington
 ❑ Colorado               ❑ Illinois   ❑ Minnesota          ❑ New York          ❑South Carolina ❑West Virginia




                                                                                                   |
 ❑ Connecticut            ❑ Indiana ❑ Mississippi           ❑ North Carolina    ❑ South Dakota      ❑ Wisconsin
                          ❑ Iowa

                                                                               |
 ❑ DelaWare                            ❑ Missouri           ❑ North Dakota      0 Tennessee         ❑ Wyoming
 ❑ District of Columbia ❑ Kansas ❑ Montana                  0 Ohio              0 Texas


13a. How many weeks per year do you work?         48

13b. Please indicate below how the hours in your typical work week are allocated. The sum of these hours should reflect the
number of hours in your typical work week. Definitions of these categories are listed below.

    If you allocate 0 hours per week to a. Patient Care Related Activities you will not be required to complete the Practice
Information section (Questions 15-26) of this application.

Patient Care Related Activities include seeing patients, writing prescriptions, patient-related clinical activities (such as pathologic
and radiologic assessments), maintaining patient records, obtaining and reviewing test results, arranging referrals, consulting with
other providers about patients, talking with a patient's family members.

Research includes clinical, laboratory, and analytical research

 Teaching includes teaching of medical undergraduate & graduate students and other graduate students.

 Administration & Other: Administration includes practice management (billing, contract negotiations, personnel, regulatory
 activities) & management of institutions or programs (health departments, health insurance, hospitals, other health-related
 institutions or programs); Other

    Use whole numbers. No fractional hours. If none enter 0.
 a. Patient Care Related Activities 36        hours per week
 b. Research                        0         hours per week
 c. Teaching                           0        hours per week
 d. Administration & Other             4        hours per week
 Total Hours                           40       hours per week



 14. If you indicated in Question 13 that you are not engaged in patient care related activities, do you intend to resume patient care
 related activities in the next 2 years?
  Dyes 0 No



     PRACTICE INFORMATION (Questions 15-26)

    15. Do you plan to discontinue patient care related activities in the next two years?
     0 Yes ®No



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16. Please indicate below the number of practice/office locations at which you routinely deliver patient care for reimbursement.
    a. Number of locations in Maryland (if none, enter 0)                        0
    b. Number of locations outside of Maryland (if none, enter 0)
       a If you have locations outside Maryland, please answer (c) below after you 0
       answer (b).
    c. Do you routinely treat Maryland patients at your practice/office location(s) outside of Maryland?
          0 Yes 0 No 0 Don't know



17. Please indicate below the number of hospitals at which you currently have admitting privileges.
  a. Number of hospitals in Maryland (if none, enter 0)                0
  b. Number of hospitals outside of Maryland (if none, enter 0)                    0



18. Primary Practice / Office Location Primary Practice / Office Location
No Primary Location indicated from your response in Question 16
  Please answer all Primary Practice questions




19. Secondary Practice / Office Location
No Secondary Location indicated from your response in Question 16.
   If you have a secondary practice/office location and you've checked the box above, you will see a series of questions that must be completed.




20-21 Health Information Technology questions has been moved to a seperate section. You are required to complete the Health Information
Technology section ONLY if you have a Primary Practice Location.
22. Please indicate if you participate in the following private and public insurance programs, and whether you are currently accepting new public
insurance program patients.

     a. Participate in any PRIVATE insurance plan networks, including PPO, EPO, HMO, etc.                                           0       0
                                                                                                                                    Yes     No


          Participate in the MARYLAND MEDICAL ASSISTANCE PROGRAM (in either the traditional program or a Managed 0                           ®
          Care Organization)                                                                                     Yes                        No

          b1. If Yes, are you accepting new Maryland Medical Assistance patients?                                                   0       0
                                                                                                                                    Yes     No


     c.   Participate in the MEDICARE (in either the traditional program or a Medicare Advantage Plan)?                             0       *
                                                                                                                                    Yes     No

          c1. If Yes, are you accepting new Medicare patients?                                                                      0       0
                                                                                                                                    Yes     No




23, Do you offer a sliding fee scale based on ability to pay? (Utilize a standardized fee reduction schedule for low-income)
 ()Yes () No ®NA



24. Please report the typical number of hours per week you personally provide care to patients on a charity basis (do not include bad debt).
 0          hours per week.          If none, enter 0



If you are practicing as an adult primary care specialist (internal medicine, family practice, general medicine), answer 0.25. Otherwise skip to Q.26.

25. Do you charge patients an annual fee for participating on your patient panel (sometime called direct, concierge, or retainer-based practice)?


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   OYes 0 No



  26. Workers Compensation
  Workers Compensation coverage: If you employ one or more persons the Md. Code Ann. Health Occ. §1-202 requires that you
  verify that you are complying with the Workers' Compensation Law for your renewal to be issued.
  I hereby certify:
   0 Not Applicable (Do not complete below)
   01do not practice in Maryland.
   0I do not employ anyone in my practice in Maryland.
   0I employ one or more persons in my Maryland practice and have the following Workers Compensation coverage.
        If you are a Maryland employer you must provide the information requested below.
  Insurance Company
  Policy Number
  Expiration Date                             ; C Enter as MM/DD/YYYY Enter as MM/DDNYVY


     PHYSICIANS EMERGENCY CONTACT INFORMATION

27. As part of Maryland's emergency preparedness efforts, the Department of Health and Mental Hygiene has
identified the need for certain contact information for licensed physicians in Maryland who may be needed to
respond to a catastrophic health emergency. (Public Safety Article, Sec. 14-3A-01 et seq. and Health General Article
Section 18-901 et seq. sets forth the powers of the Governor and Secretary of the Department of Health and Mental
Hygiene.

* Required Field

Please provide the phone number that should be used in the event of an actual emergency.
Daytime *                I3013250254
Nighttime*


Indicate by checking any box that applies whether you have any particular training and experience regarding the
following specific agents:
 n Chemical III Biological D Radiological

If you are interested in being contacted about training opportunities provided by the Board of Physicians, please visit
the Maryland Professional Volunteer Corps website at https://mdresponds.dhmh.maryland.aov/.

                                              Thank you for your assistance!



     28. CERTIFICATION AND AUTHORIZATION OF LICENSE APPLICATION


              1:1      a. I certify that I have personally reviewed all responses to the items in this application and that the information I
                       have given is true and correct to the best of my knowledge and that any false information provided as part of my
                       application may be cause for the denial of my application.

                       b. I agree that the Maryland Board of Physicians (the Board) may request any information necessary to process my
                       application for renewal from any person or agency, including but not limited to former and current employers,
                       government agencies, the National Practitioners Data Bank, the Healthcare Integrity and Protection Data Bank,
                       hospitals and other licensing bodies, and I agree that any person or agency may release ta the Board the
                       information requested. I also agree to sign any subsequent releases for information that may be requested by the
                       Board.

                       c. I shall inform the Board, by certified mail, return receipt requested, within 30 days of: (a) action that would be
                       grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404, that occurred at any time during the
                       application period; (b) change in any answer that was originally given in this application.


                       d. Check Here if you wish to have the option of viewing your completed application online after you renew your
                       license. Otherwise, your application will not be available online for your later viewing. If selected, viewing is
                       available until 12/1/2012.


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29. Please provide your electronic signature (type your name) below:
Name                         Charles John Nosa Akoda

Today's Date                 9/3/2012
Last four digits of Social
Security Number:

30. Select a Payment Option here to complete your application.
ti Please note: Credit cards may be used for online payment only. If you or a 3rd party Is sending in payment, It must be by check.

Your renewal fee is:

     Credit Card 0 Send Check 0 3rd Party Check                                 3rd Party Payer:




PAYMENT
  APPLICATION COMPLETION INFORMATION:
  Date Application Started   9/3/2012
  Date Application Submitted 9/3/2012
  Confirmation Number                    49
  Payment Method             Credit Card
  Amount Paid                $514.00
  Credit Card Approval No.




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10/3/2019                                                             - Irregular Behavior


  Irregular Behavior
 Policies and Procedures Regarding Irregular Behavior I Representative Examples of IrregulariettaVittt

  Policies and Procedures Regarding Irregular Behavior

 A. Policies Regarding Irregular Behavior
                                                                                                                                                tad her  an annieant and ine avaminas nv anwathar
 1. Irregular behaviorincludes all actions or attempted actions on the part of applicants, examinees, potential applicants, others when solicited by an applicant and/or examinee, or any other
                                                                                                                                                            the EOEM
 person that would or could subvert the examination, certification or other processes, programs, or services of ECFMG, including, but not limited to, the ECFMG Exchange Visitor Sponsorship
 Program, ECFMG International Credentials      Services   (EICS), the Electronic Portfolio of International Credentials (EPIC), and Electronic Residency   Application  Service (ERAS) Support Services
                                                                                                                                        anal eannedinen nfuuhathar tha individual iceartihed    by
 at ECFMG. Such actions or attempted actions are considered irregular behavior, regardless of when the irregular behavior occurs, and regardless of whether the individual is certified by
                                                                                                                Acincsinaant in EPERAC tuthathar erihenittad hu the indiiitial ar here tien marty euch
                                                                                                                                                                  the individual or by a third party, such
 ECFMG. Examples of irregular behavior include, but are not limited to, submission of any falsified or altered document to ECFMG, whether submitted by
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aas a medical school,Cae
7                                   =
                      on behalf of the individual; failing to comply with United States Medical Licensing Examination® (USMLE°) or ECFMG policies, procedures, and/or rules; falsification of
                                                ——                                                   -                                       fanf ass Falelfiad ne
                                                                                                                                                                 albarad ECEMG                tanthan
                                                                                                                                                                                         dinctimant
 information on applications, submissions, or other materials to ECFMG; taking an examination when not eligible to do so, or submission of any falsified or altered ECFMG document to other
«entities or individuals.
                -          a            —           ae           —                                                                                                                baharan
 2. The Medical Education Credentials Committee's determination of irregular behavior is sufficient cause for ECFMG to bar an individual from future examinations, to bar an individual from
    er                                      sstomeet   as                                                                    Manta  bn emunbn  an         f artificata neta babeathar
 other ECFMG programs and services, to withhold and/or invalidate the results of an examination, to withhold an ECFMG Certificate, to revoke an ECFMG Certificate, or to take other
                               -            a                                                                                        Is Antnmatantinn a ieemmine hahauinn tnthe LIGMALE
 appropriate actions for a specified period of time or permanently. ECFMG may report the Medical Education Credentials Committee's determination of irregular behavior to the USMLE
 Committee for Individualized Review, Federation of State Medical Boards of the United States, U.S. state and international medical licensing authorities, graduate medical education programs,
 and to any other organization or individual who, in the judgment of ECFMG, has a legitimate interest in such information.
                                                                                                                                 nt annababinn       bnthababtart all ha Inalidad in tha individuals
 3. If the Medical Education Credentials Committee determines that an individual engaged in irregular behavior, a permanent annotation to that effect will be included in the individual's
                                                                                                                                                   Ifthe individisal hac an EDIC Daetfalia a
                                                                                                                                 fae tha tndtuidival
 ECFMG record. This annotation will appear on the ECFMG Certification Verification Service (CVS) and ECFMG Status Reports for the individual. If the individual has an EPIC Portfolio, a
 permanent annotation will be included on all EPIC Reports with respect to that individual. Additional information explaining the basis for the determination of irregular behavior and the
 resulting action(s) will accompany every ECFMG Status Report. CVS Report, and EPIC Report, and may also be provided to legitimately interested entities; this additional information may be
 provided, regardless of the date of the conduct or activity that comprises the irregular behavior. Notice of the Medical Education Credentials Committee's determination of irregular behavior
 is periodically reported to the ECFMG Board of Trustees.


 B. Procedures RegardingIrregular Behavior
                                                                                                                                  Veanriatr    the Infarmnablnn sad silll wecnretuhhathar        teeuffirlant
                                                                                                                                                                                             thara
 1. After receipt of a report or other information suggesting irregular behavior on the part of an individual, ECFMG staff will review the information and will assess whether there is sufficient
 evidence of irregular behavior. When indicated and feasible, staff will conduct a follow-up investigation to gather additional information.

 2.1f the individual is an examinee and the review referenced above will not be concluded until after the typical period for the reporting of exam scores, the examinee will be notified that the
 reporting of the exam scores in question is being delayed.
                                                                                                                                                             {Iha entartnd ta tha Madical    Ediseatinn,
 3.If ECFMG staff finds that there exists a reasonable basis to conclude that an individual may have engaged in irregular behavior, the matter will be referred to the Medical Education
 Credentials Committee. ECFMG may withhold services from the individual pending a determination from the Medical Education Credentials Committee.If the individual is an examinee, the
 examinee's exam scores will be withheld, if not already released, and the examinee may not be permitted to sit for subsequent examinations, nor will applications for examination be processed.
                                                                                                                                               mal                         sean
                                                                                                                                                                             nt £71  then
 4. Using the individual's last known address, the individual will be advised in writing of the nature of the alleged Irregular behavior and will be provided with a copy of the ECFMGPolicies and
                                                                                                                                                                                                            and

 ProceduresRegardingIrregular Behavior. If the alleged irregular behavior is related to a shared ECFMG and USMLE policy, the USMLE Program will also be advised of the allegation. The
                                                                                                                                             anatian,                            v     ha reraived
 individual will be given an opportunity to provide written explanation and to present other relevant Information. Any such written explanation or other relevant information must be received
 by ECFMG by the deadline set forth in ECFMG's writing to the individual. Submissions received after the deadline will be considered by the Medical Education Credentials Committee at its
 discretion. The individual may also request the opportunity to appear personally before the Medical Education Credentials Committee, and may be represented by legal counsel, if the
                                                                                                                                            Jannavanhir nr atin rarardina willha rmada nt that
 individual so wishes. in instances in which the individual appears personally before the Medical Education Credentials Committee, a stenographic or audio recording will be made of that
                                                                                                                                                                                   radeniiale
 portion of the proceedings during which the individual is in attendance. Any statements made by the Individual during a personal appearance before the Medical Education Credentials
 Committee will be under oath.
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 5. Individuals who have been charged with irregular behavior who wish to request a deferral of the ECFMG Committee's review of the allegation must (1) submit the request in writing and (2)
 provide the reason for the request. If ECFMG staff determine that the granting of the request could have a material impact on the individual's opportunity to refute the allegation then staff, at
 Its discretion, can grant the request and defer an ECFMG action for up to six (6) months. Unless the individual can demonstrate compelling circumstances, ECFMG staff should not grant more
                                                                                                                                                  tata nw enetclaness av nenaticine marlisina ECEMC ctatt
 than two deferral requests. Notwithstanding the foregoing, if the individual charged with irregular behavior is ECFMG Certified, a candidate for residency, or practicing medicine, ECFMG staff
                                                                                                                                                                       eet
 will only grant the request for deferral if, in its sole discretion, ECFMG believes that public health and safety is not at risk. If the deferral request is granted, ECFMG will notify appropriate
 institutions and authorities of the Individual's pending irregular behavior charge.
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                                                                                                          attnn                                  nena sill ia neniitdad tn the Madieal EAue ation
 6. All pertinent information regarding the irregular behavior, including any explanation or other information that the individual may provide, will be provided to the Medical Education
 Credentials Committee. The Medical Education Credentials Committee, based on the information available to it, will determine whether the preponderance of the evidence indicates that the
                                                                                                                           Jannaned in iweamilar hahavine tha Madical Fruication Cradontiale
 individual engaged in irregular behavior. If the Medical Education Credentials Committee determines that the individual engaged in irregular behavior, the Medical Education Credentials
 Committee will determine what action(s) will be taken as a result of the irregular behavior. ECFMG will notify the individual whether the Medical Education Credentials Committee
 determined the individual engaged in irregular behavior and of any action(s) taken pursuant thereto.
                                                                                                                                                "dactelan!             r
 7. The Medical Education Credentials Committee's determination of irregular behavior and any action(s) taken pursuant thereto (a "decision" of the Medical Education Credentials Committee)
                                                                                                                                                                                            rartontiate Cammittaal

 may be appealed to the Review Committee for Appeals if the individual has a reasonable basis to believe the Medical Education Credentials Committee did not act in compliance with the
                                                                                                                                                   ranbesritn thawalaht af tha aidance hate
 Medical Education Credentials Committee Policies and Procedures or that the Medical Education Credentials Committee's decision was clearly contrary to the weight of the evidence before
 it. The notice of appeal must be received by ECFMG within thirty (30) days of the date on which the notification advising the individual of the Medical Education Credentials Committee's
 decision was mailed to the individual. The appeal of a decision of the Medical Education Credentials Committee is governed by the Rules of Appellate Procedure.

 8. Petitions for reconsideration of a decision of the Medical Education Credentials Committee will be reviewed by the Medical Education Credentials Committee only in extraordinary cases.
 Any such petition must first be considered by ECFMG staff, who, after discussion with the Medical Education Credentials Committee Chair, may deny the request or place it on the agenda for
 consideration by the full Medical Education Credentials Committee at a regularly scheduled meeting. Absent the submission of newly discovered material evidence not previously available to
 the petitioner and, therefore, not available to the Medical Education Credentials Committee, petitions for reconsideration typically will be denied.
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https://www.ecfmg.org/programs/irregular-behavior.html                                                                                                                                                          1/2
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                Exhibit 10




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                                      Philadelphia, PA 19104-2685
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                                                                        `4 AfA4262.-C_
         I hereby certify that the attached diploma or other credential for the individual
         noted above is mut tic and correct and that I am authorised to certify this on
         1°      7 this
             07 of
         behalf                 ”
                   0° (ppe€fitution.


                                                                           3rd June, 1992
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                Exhibit 13




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                       EDUCATIO          L COMMISSION for FOREIC                         AEDICAL GRADUATES
                                      3624   MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                                TELEPHONE: 215-386-5900 @CABLE: EDCOUNCIL, PHA.




                                                                          June 22, 1995


            Dr. Charles Olufemi Igberase                                  USMLE/ECFMG Identification No.
            P.O. Box 1653                                                          0-482-700-2
            Hyattsville, MD 20788



                                                                                                                       if

                   When you applied for admission to ECFMG's administrations of the September
            1994 Step 1, August/September 1994 Step 2 and September 1994 ECFMG English test,
            you responded “No” to the question “Have you previously submitted an application to
            ECFMG to take one or more of the examinations administered by ECFMG.” You also:
            stated your name as “Igberase Oluwafemi Charles” and your date of birth as April 17,
            1961.    You certified that this information, as well as the other information on your
            application “is true and accurate to the best of my knowledge ...” and you swore to this in
            the presence of a Notary Public.

                   You were assigned USMLE/ECFMG Identification Number 0-519-573-0 and took
            the Step 1, Step 2 and ECFMG English test. You submitted copies of your medical
            education credentials, which were verified by ECFMG with an official of your medical
            school. A Standard ECFMG Certificate was subsequently issued to you under the name
            Igberase Oluwafemi Charles with the number 0-519-573-0.

                   A check of ECFMG records shows that, despite what you certified to on the
            application referred to above, you had applied for and taken examinations administered
             by” ECFMG prior to your application for the 1994 examinations.    You first applied to
             ECFMG for the July 1992 administration of FMGEMS and the ECFMG English test under
    4       ‘the ame “Oluwafemi Charles Igberase” and certified that your date of birth was April 17,
             1962. You failed both the basic medical science (Day 1) and clinical science (Day 2)
            components of the July 1992 FMGEMS and passed the ECFMG English test.

                   You subsequently applied for and took the January 1993 administration of
            FMGEMS and the ECFMG English test, failing Day 1, but passing Day 2 and the English
            test. You then applied for and took the July 1993 administration of Day 1 of FMGEMS
          , Which you passed. Since, at that time, you had also met the medical education credential
          + requirements for ECFMG certification, you were issued Standard ECFMG Certificate                           *
      ‘     Number 0-482-700-2.

                  You also applied for and took the September 1992 and September 1993
            administrations of Step 1, failing the September 1992 examination, but passing the
            examination held in September 1993.




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          Dr. Igberase Oluwafemi Charles
          June 22, 1995
          Page 2

                       When you applied to ECFMG, you certified on your application form that,
          among other items, “falsification of this application” and “engaging in ...conduct that
-         subverts or attempts to subvert the examination process, may be sufficient cause for
          ECFMG to ...invalidate the results of my examination ...to revokea certificate, or to take
          other appropriate action.”

                    In addition, the policies regarding taking Stepand Step 2 of the USMLE as
                                                                      1
          outlined in the ECFMG Information Booklet, which you certified you had read and
          understood, include the statement “If one Step is passed, applicants may not repeat that
          Step and will have seven years to pass the other Step.” You, however, took and passed
          Step 1 in September 1993 and again in September 1994.


                 ECFMG is conducting an investigation of this matter. You must write to ECFMG
          immediately to explain why you certified on your application form that you had not
          previously applied for an ECFMG examination when, in fact you had, and also to explain
          why you repeated Step 1 when the policy states applicants who pass the Step may not
          repeat it. Your letter must be received by ECFMG within 15 days of your receipt of this
          letter.

                    Your explanation, together with the documents in your file, will be reviewed by the
          ECFMG Committee on Medical Education Credentials at a future meeting. After its
          review, the Committee will make a recommendation to the ECFMG Board of Trustees.

                    Your response must be sent to the following special address:

                                 ECFMG
                                 P.O. Box 13467
                                 Philadelphia, PA 19101-3467


                                                            Sincerely yours,




                                                            William C. Kelly
                                                            Manager, Medical Education
                                                            aCredential Processing




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                Exhibit 14




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                Exhibit 15




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                                                                             District ofMaryland      •
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  Kelly a Hayes                            Moiling Address:                  Office Location:         DIRECT.. 301-344-0041
  Assistant UnitedStates Attorney          6500 Cherrywood lane. Sulfa 200   6-404 hyLane, 86 Floor     MAIN: 301-344-4433
  Kelly.lino.stjusdoj.gov                  Greenbelt. MD 207704249           Greenbelt.MD 207704249      FAX: 301-344-4516


                                                                             October 31, 2016

  Peter Goldman, Esq.
  O'Reilly & Mark, F.C.                                                                        04G RO-oall
  524 King Street
  Alexandria, VA 22314

                       Re:          United States v. Oluwaferni Charles Igherase,
                                    a/k/a "Charles John Nosa Akoda,"
                                    Criminal No. PWQ-I6-277

  Dear Mr. Goldman,

         This letter confirms the plea agreement, together with the sealed supplement, which has
  been offered to the Defendant by the United Stales Attorney's Office for the District of Maryland
  ("this Office"). If the Defendant accepts this offer, please have him execute it in the spaces
  provided below. If this offer has not been accepted by November 4, 2016, it will be deemed
  withdrawn. The plea agreement is entered into and will be submitted to the Court pursuant
  to Federal Rule of Criminal Procedure 11(e)(1)(C). The terms of the agreement are as follows:

                                                     Offense of Conviction

          I.      The Defendant agrees to plead guilty to Count One of the Superseding Indictment
  now pending against him, which charges him with misuse of a Social Security Account Number,
  in violation of 42 U.S.C. § 408(a)(7)(B). The Defendant admits that he is, in fact, guilty of this
  offense and will so advise the Court.

                                                    Elements of the Offense

           2.      The elements of the offense to which the Defendant has agreed to plead guilty, and
    which this Office would prove if the case went to trial, are as follows: (1) the Defendant falsely
    represented a number to be the Social Security Account Number assigned to him by the
• '-Commissioner    of Social Security; (2) the Defendant made•that false statement with the intent to
    deceive or for any other purpose; and (3) the Defendant actedkricwingly ard willfully.




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                                             Penalties

       i3.      TThe maximum sentence provided by statute for the offense to which the Defendant
 is pleading guilty is as follows: five years of imprisonment, a fine of $250,000, and a period of
supervised release of three years. In addition, the Defendant must pay $100 as a special assessment
              18 U.S.C. Pree
pursuant to mayer         § 3013, which will be due and should be paid at or before the time of
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              This  Court
                     ye may also order him to make restitution pursuant to 18 U.S.C. §§ 3663,
3663A, and 3664.1 If a fine or restitution is imposed, it shall be payable immediately, unless,
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pursuant to 18 U.S.C. § 3572(d), the Court orders otherwise. The Defendant understands that if
he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked - even on the last day
of the term - and the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that. the Bureau
of Prisons has sole discretion in designating the institution at which the Defendant will serve any
term of imprisonment imposed.

                                         Waiver of Rights

        4.      The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                a.      If the Defendant bad persisted in his plea of not guilty, he would have had
the right to a speedy jury trial with the close assistance of competent counsel. That trial could be
conducted by a judge, without a jury, if the Defendant, this Office, and the Court all agreed.

                b.     If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

                c.    If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.



1 Pursuant to 1 U.S.C. § 3612, if the Court imposes a fine in excess of $2,500 that remains unpaid
15 days after it is imposed,"the Defendant shall be charged interest on that fine, unless the Court
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modifies the interest payment in accordance with 18 U.S.C. § 3612(0(3).
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                d.       The Defendant would have the right to testify in his own defense if he so
                                                                         Ap teeAEe tn Comet matted
chose, and he would have the right to refuse to testify. If he chose not to testify, the Court. could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

               e.      If the Defendant were found guilty after a trial, he would have the right to
appeal the verdict and the Court's pretrial and trial decisions on the admissibility of evidence to
see if any errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court's decisions.
              ff.     pot                                      :                 41)   20 thane pinkte
rem




            ne       ew By pleading
                             ae ae
                                      guilty, the Defendant :will be giving up
except the right, under ‘the limited circumstances set forth in the "Waiver    of
                                                                                  all of these rights,
                                                                              AE Aenandl! nennen
                                                                            an hatAppeal"   paragraph
                                                                                      ha mines howe tn
below, to appeal the sentence. By pleading guilty, the Defendant understands that he may have to
a4.




answer the Court's questions both about the rights he is giving up and about the facts of his case.
                                                                    A nnd Ln name Lin aan emnt hee
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

                g.      If the Court accepts the Defendant's plea of guilty, there will be no further
trial or proceeding of any  kind, and the Court will find him guilty.

                h.     By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. Under federal
law, conviction for a broad range of crimes can lead to adverse immigration consequences,
including automatic removal from the United States. Indeed, because the Defendant is pleading
guilty to the identity fraud charges in this case, and because he is an illegal alien, removal is
presumptively mandatory. Removal and other immigration consequences are the subject of a
separate proceeding, however, and the Defendant understands that no one, including his attorney
              17 predict
or the Court, can     repo
                          with certainty the effect of a conviction on immigration status. Defendant
                                                                              abantinl Joneninentinn
nevertheless affirmsinnthat he wants to plead guilty regardless of anyVhatad potential  immigration
                                                                                    Catan
consequences, even if the consequence is his automatic removal from the United States.

                               Advisory Sentencing Guidelines Apply
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       5.       The Defendant understands that the Court will. determine a sentencing guidelines
range for this case (henceforth the "advisory guidelines range") pursuant to the Sentencing Reform
ro
Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§
U.S.C. §§ 991 through 998. The Defendant further understands
                                                                 an3553(13)(1)
                                                                     ple pn Pane         IT
                                                                               and 3742(e)) and 28
                                                                                          fom nnnn #
                                                                     that the Court will impose a
                                                              Bona peeint palen fntn peanuint phe
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.




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                                                          potas
                                  Factual and Advisory Guidelines Stipulation

                    This Office and the Defendant understand, agree and stipulate to the Statement af
                                                                             ata tA thn Oentamnnnt
            6.                                                                                     of
    Facts set forth in Attachment A hereto which this Office would proveLanna    a cnanannhla dake
                                                                         beyond a reasonable doubt,
    and to the following applicable sentencing guidelines factors:

                   a.    The base offense level is 6, pursuant to United States Sentencing Guidelines
    ("U.S.S.G.") § 2B1.1(a)(2).

               .b.
                                                                           oo   [ho Cfieaae
                      Pursuant to U.S.S.G. § 2B1.1(b)(10)(C), because the offense involved
                                                                                              poeta
                                                                                       Aanuntihebinn
sophisticated means and the Defendant intentionally engaged in or caused the conduct constituting
                                                                               FO ALA ttn
sophisticated means, and because the resulting offense level is less than level 12, the offense level
is increased to 12.

             c.      A 3-level enhancement applies, pursuant to U.S.S.G. § 3B1.3, because the
Defendant abused a position of public or private trust in a manner that significantly facilitated the
commission or concealment of the offense.

                 d.     This Office does not oppose a 2-level reduction in the Defendant's adjusted
offense  level, based upon the Defendant's apparent prompt recognition and affirmative acceptance
                                                                                         santa pe
of personal responsibility for his criminal conduct. This Office may oppose any adjustment for
acceptance of responsibility if the Defendant (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his
involvement in the offense; (d) is untruthful with the Court, this Office, or the United States
                                                                                     1(2 poanann on
Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages in
any criminal conduct between the date of this agreement and the date of sentencing;
                                                                              see er
                                                                                       or (g) attempts
to withdraw his plea of guilty. If the Defendant receives a 2-level reduction, the final offense level
will be 13.

        7.       The Defendant. understands that there is no agreement as to his criminal history or
\      ire
criminal history
cm          ome              ~ that his criminal history could alter his offense level if he is a Career
                  category, and
Offender or  if the instant offense was a part of a pattern of criminal conduct from which he derived
a substantial portion of his income.
          >       mee                  :                             :           Menpalaulatinn pftha
        8.     This Office and the Defendant agree that with respect to the calculation of the
:
advisory guidelines
               .
                    range, .no other offense characteristics, sentencing guidelines factors, potential
                                                                                      awaited Annee
departures or adjustments set forth in the United States Sentencing Guidelines will be raised or are
in dispute.

                                           Rule I 1(c)(1 l(C) Plea

       9.     The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a -sentencers of six months    of imprisonment, followed by three years of
       sos                               =
supervised release, which includes as a condition of supervised release six months of home
confinement, is the appropriate disposition of this case. This agreement does not affect the Court's
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discretion to impose any lawful fine or to set any additional lawful conditions of probation or
supervised release. In the event that the Court rejects this plea agreement, either party may elect
to declare the agreement null and void. Should the Defendant so elect, he will be afforded the
opportunity to withdraw his plea pursuant to the provisions ofFederaI Rule of Criminal Procedure
I 1(c)(5).

               Obligations of the United States Attorney's Office and the Defendant

        10.     At the time of sentencing, the parties will jointly request the Court to accept the
stipulated sentence of six months of imprisonment, followed by three years of supervised
release, which includes as a condition of supervised release six months of home confinement.
At the time of sentencing, this Office will move to dismiss all open counts.

       11.    The parties reserve the right to bring to the Court's attention at the time of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct.

        Agreement Not to Prosecute Other Offenses the Defendant May Have Committed

        12.
                                                      eta       cet       apt
                Other than the offense to which the Defendant has agreed to plead guilty, and with
the exception of crimes of violence, crimes against children
                                                    ane               violations, this Office will not
                                                              and tax +o
prosecute the Defendant for any other violations of federal criminal law that arise from the facts
stipulated by the Defendant and this Office, attached hereto and incorporated herein as Attachment
A, that form the basis of this plea agreement.

                                         Waiver of Appeal

      13.      In exchange for the concessions made by this Office and the Defendant in this plea
agreement, this Office and the Defendant waive their rights to appeal as follows:

               a.      The Defendant knowingly waives all right, pursuant.to 28 U.S.C. § 1291 or
otherwise, to appeal the Defendant's conviction.

                b.     If the Court accepts this Plea Agreement and imposes the agreed-upon
sentence, the Defendant and this Office knowingly waive all rights, pursuant to 18 U.S.C. § 3742
or otherwise, to appeal the sentence imposed (including the right to appeal any issues that relate to
the establishment of the advisory guidelines range, the determination of the Defendant's criminal
history, the weighing of the sentencing factors, and the decision whether to impose and the
calculation of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release).

                c.     Nothing in this agreement shall be construed to prevent the Defendant or
this Office from   invoking  the- provisions-of Federal Rule of Criminal Procedure., 35(a), or f;tom
appealing from any     decision    thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.
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               d.      The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

                               Obstruction or Other. Violations of Law

        14.      The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. § 3C1.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, (iii) moves to withdraw his guilty plea or (iv) commits any
offense in violation of federal, state or local law, then this Office will be relieved of its obligations
to the Defendant as reflected in this agreement. Specifically, this Office will be free to argue
sentencing guidelines factors other than those stipulated in this agreement, and it will also be free
to make sentencing recommendations other than those set out in this agreement. As with any
alleged breach of this agreement, this Office will bear the burden of convincing the Court of the
Defendant's obstructive or unlawful behavior and/or failure to acknowledge personal
responsibility by a preponderance of the evidence. The Defendant acknowledges that he may not
withdraw his guilty plea because this Office is relieved of its obligations under the agreement
pursuant to this paragraph.

                                           Entire Agreement

        15.     This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Sealed Supplement, constitutes the complete
plea agreement in this case. The Defendant acknowledges that there are no otheragreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed by all parties.

       If the Defendant fully accepts each and every term and condition of this agreement, please
sign and have the Defendant sign the original and return it to me promptly.
                                                   Very truly yours,

                                                Rod J. Rosenstein
                                                United States Attorney


                                             By:
                                                   Kelly 0. Hayes
                                                   Assistant •Uni teStates Attorney


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        I have read this agreement, including the Sealed Supplenient, and carefully reviewed every
part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.



       SVi
Date                                         01     a emi Charleg Igberase
                                                  a/k/a "Charles John.Nosa Akoda"

       I am Oluwafemi Charles. Igberase's attorney. I have carefully reviewed every part of this
agreement, including the Sealed Supplement, with him. He advises me that he understands and
accepts its terms. To my knowledge, his decision to enter into this agreement is an informed and
voluntary one.


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Date                                         Peer Gol




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                               ATTACHMENT A - Stipulated Facts                   I   t

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         The United States and the Defendant stipulate and agree that ifthis case proceeded to trial,
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 7            -                     .
 the United States would prove the facts       ° below
                                          set forth
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farther stipulate and agree that these are not all of the facts that the United States would prove (.1'
ithis case proceeded. to trial.                                                  a'                    t
        roe
        In October
                            en                Cree             ern
                   1991, the Defendant, OLUWAFEMI CHARLES IGBERASE
                                                                         pane ian
("IBGERASE"), entered the United States pursuant to a Nonimmigrant Visa.

        In November 1991, IGBERASE applied for and obtained a rote       Social Security 1°
                                                                                          number
("SSN"), XXX-XX-5054 (the "5054 SSN"), using the name "Igberase       tees
                                                                         Oluwafemi Charles"
                                                                                        -
date of birth April 17, 1962. In January 1995, IGBERASE applied for and obtained a second
                                                                                             and:

SSN, XXX-XX-9065 (the "9065 SSN"), using the name "Charles Oluwafemi Igberase Jr." and a
false date of birth. In September 1998, IGBERASE, this time 1using         the name ame
                                                                          for       "Oluwafemi
                                                                   Tot pene weeee eee men pr
Igberase," and a false date of birth, applied for and obtained a third SSN, XXX-XX-7353 (the
"7353 SSN"). In or about 2011, IGBERASE fraudulently used the 7353 SSN to apply for federal
education loans for his children.

        In April 1992, IGBERASE submitted an application for certification by the Educational
Commission for Foreign Medical Graduates ("ECFMG"). IGBERASE submitted the application
using the name "Oluwafemi Charles lgberase," and indicated SSN ending in 5054 and date of birth
April 17, 1962. ECFMG is an organization which, among other things, provides certification to
international medical school graduates before such individuals may enter graduate medical
education programs in the United States, where they provide supervised patient care. Foreign
medical graduates must obtain ECFMG certification in order to take the three-step United States
Medical Licensing Examination ("USMLE"). All medical graduates must pass all three steps of
the USMLE in order to obtain an unrestricted license to practice medicine in the United States. In
July 1992, IGBERASE failed both the basic medical science (Day I) and clinical science (Day 2)
components of the Foreign Medical Graduate Examination in Medical Sciences ("FMGEMS"),
which is Step 2 of the USMLE. In January 1993, IGBERASE again failed the basic medical
science (Day 1) component of the FMGEMS. In September 1993, IGBERASE failed Step 1 of
the USMLE. Eventually, between July 1992 and September 1993, IGBERASE passed all three
steps of the USMLE and, in October 1993, was issued ECMFG Certification under the name
"Oluwafemi Charles lgberase."

       In March 1994, IGBERASE submitted a second application for ECFMG certification, this
time under the name "Igberase Oluwafemi Charles," using a false dale of birth. Between August
1994 and September 1994, IGBERASE passed all three steps of the USMLE and was issued a
second ECFMG certificate under the name "Igberase Oluwafemi Charles."

        In 1995, the ECFMG Committee on Medical Education Credentials became aware that
IGBERASE had fraudulently applied for and obtained two ECFMG certifications under different
names and dates of birth. In December 1995, ECFMG revoked or suspended both ECFMG
certifications 'assigned to IGBERASE.
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       1°     Lanne wane            et                  Alan Loe POURED anki Ganting thin
       In August 1996, IGBERASE submitted a third application for ECFMG
t    toot             wre    pe    pho         gp           ereope e           certification,
                                                                                  pours
                                                                                              this
 time using the name "John Nosa Akoda." Along with this third application, IGBERASE
submittedpret
F°         to ECFMG  a false Nigerian passport
               gp pone poamenen             oars
                                                in the name of "John Nosakhane Charles Akoda."
Between
uno
          1996  and
                 SRA
                    1998,  A
                           IGBERASE,
                                ate at   as  "John   Nosa Akoda," passed all three steps of the
 USMLE and received ECFMG certification under the "Akoda" name.

       After receiving ECFMG certification under the "Akoda" name, IGBERASE applied for
and was accepted into a residency program at Jersey Shore Medical Center ("JSMC"). In 2000,
              tt    fh geet pe pomemcem pent pet
JSMC learned that ee                           rear
                                   IGBERASE used belonged not to "Akoda" but rather to
                     the SSN thataaa
IGBERASE. IGBERASE was suspended from JSMC's residency program in August 2000 and
ultimately dismissed in November 2000.
                                 A          a        a    ee         een        a 1697 CORD
        In 1999, Individual A applied for and obtained SSN XXX-XX-1623 (the "1623 SSN").
                                                                aha waa. 1699          CONT
        In 2006, IGBERASE, using the name "John-Charles Akoda," and the 1623 SSN assigned
                                                              [Aaanat Dan? oF
to Individual A, applied for residency at Howard University. In March 2007, Howard University
                                                          -4 [owen sens
accepted IGBERASE into its residency program, and     asked IGBERASE to submit evidence of
                                                    [OREN om pap
legal residence in the United States. In response, IGBERASE submitted a false permanent
resident card in the name "N. Akoda, John Charles."
      PTT        pn           tattoo                     ped
                                                          oa      Pinte     PET     A OEE         ventien
          2011, after the completion
       Inveep                  te ne
                                     of  his
the name "Charles John Nosa Akoda" anda4the
                                                tenn pene        ape
                                             residency at Howard University, IGBERASE, using
                                                1623 SSN, applied for medical licensure with the
                                              pete                FOR PR LOW pike        p poke
                                                            ape
Maryland Board of Physicians. In support of this application,      IGBERASE submitted a false
                                                                          an           an.
permanent residence card, as well as a false Nigerian passport. In September 2011, the Maryland
                                                                 f   PoPrrser
                                                                            under the name
                                                                     IGBERASE
Board of Physicians granted the requested medical license to
"Charles John Nosa Akoda," and IGBERASE   began practicing medicine in the field of obstetrics
and gynecology.

        In 2012, IGBERASE, using the "Akoda" identity, sought and obtained medical privileges
at Prince George's Hospital Center ("PGHC")     iin Maryland. To do so, IGBERASE submitted a
                                     Meo     pt
false permanent residence card, as well as a false Maryland driver's license.

        On March 1, 2012, IGBERASE submitted a Medicare Enrollment Application to the
Center Medicare and Medicaid Services ("CMS") using the "Akoda" identity and the 1623 SSN
       of
CMS denied IGBERASE's application based, in part, on CMS's determination that IGBERASE
did not provide an accurate SSN.

         On June 9, 2016, law enforcement executed search warrants at IGBERASE's residence,
medical practice, and vehicle. From IGBERASE's vehicle, law enforcement seized a Maryland
driver's license in the "Akoda" name. From IGBERASE's residence, law enforcement seized (1)
a false Social security card for the 1623 SSN in the name "John Charles                 N. Akoda,"
                                                                                      Senda” name
(2) a falso-Nigerian passport for "Akoda," and (3) a false: United States visa in the "Akodg name.
Law enforcement also found fraudulent or altered documents related to immigration, medical
diplomas, medical transcripts, letters of recommendation, and birth certificates.
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      Throughout the above-referenced scheme, IGBERASE also used the 1623 SSN and false
documentation to open various bank accounts using the "Akoda" identity.
                                            * * *


      I have read this statement of facts and carefully reviewed it with my attorney.          I
acknowledge that it is true and correct.



Date                                                Olu a          harl slg eras
                                                            ailc/a Charles John Nosa Akoda



       I am Oluwafemi Charles Igberase's attorney. I:have carefully reviewed the statement of
facts with him.


 ~tliC•(fb
Date                                                Peter Goldman,




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                Exhibit 16




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                                                                                                 ATTACHMENT 7
            EDUCATIONAL COMMISSION for FOREIGN MEDICAMMTES
                                                       PHILADELPHIA OFFICE
                               3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA -19104-2685, U.S A.
                             TELEPHONE: 215-386-5900 • FAX: 215-386-9767 • INTERNET: www.ecfmg.org




                                                                     May 3, 2001

  Personal and Confidential
  Via Certified Mail — Return Receipt Requested


  Dr. lgberase OluWafemi.Charles
  16327 Chadsford Ave.
  Baton Rouge, LA 70817


                                 Re: USMLEPA/ECFMG® Identification No. 0-482-700-2

• Dear Dr. Charles:

      This is notice of the decision of the ECFMG Cernmittee on Medical Education
 Credentials made on April 18, 2001. A brief procedural history is set forth below.

        On . November 27; 1995, the ECFMG Committee on Medical Education
 Credentials reviewed the allegation that you submitted a falsified application to ECFMG
 and that you applied to take the United States Medical Licensing ExaminationrM Step 2
 which you had already passed. The falsification was in your reply "No" in response to
 Item 1 (USMLE/ECFMG Identification Number) of the application, "Have you previously
 submitted an application • to ECFMG to take one or more of the examinations
 administered by ECFMG?"

         Following review in November 1995, the ECFMG Committee took. action to.
 invalidate the Standard ECFMG Certificate issued to you under USMLE/ECFMG
 Identification No. 0-519-573-0, to inform the USMLE Committee on Irregular Behavior
 for its information and possible action and to• revoke the Standard ECFMG Certificate
 issued to you under USMLE/ECFMG Identification No. 0-482-700-2.

       You subsequently filed an appeal of the ECFMG Committee's decision.        ee The~                           ’
 ECFMG Review Committee for Appeals considered thiS appeal on July 10, 1986. 'The
 ECFMG.Review Committee for Appeals affirmed the decision of the ECFMG Committee
 on Medical Education Credentials to revoke the Standard ECFMG Cetiifidate issued to
 you under USMLE/ECFMG Identification No. 0-482-.700-2, but limited the length of
 revocation to a period of five years from July 10, 1996, i.e., to July 10, 2001.

        In October 2000, you submitted to ECFMG an application for the USMLE Step 1-
 and Step 2. In Item 1 of the application, you answered "No" to the question, "Have you
 ever submitted an application to ECFMG for any examination, even if .you did not take



       ECFMG® is an organization committed to promoting excellence in international Medical education:

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  Dr. Igberase Oluwafemi Charles
  May 3, 2001
  Page 2


  the examination?"

       .On April 18, 2001, the ECFMG Committee on Medical Education Credentials
 reviewed the allegation that the application you submitted in October 2000 was falsified
 and that you applied to take the USMLE Step '1 and Step 2 which you had already
 passed. The falsification was in your reply of "No" in response to Item 1
 (USMLE/ECFMG Identification Number) of the application, "Have you ever submitted an
 application.to ECFMG for any examination, even if you did not take the examination?"

        Following this review, the ECFMG Committee took action to extend the length of•
 the revocation of your Standard ECFMG Certificate for a yet to be specified period of
 time, to refer this new matter to the USMLE Committee on Irregular Behavior for its
 review and to review this matter again after the USMLE Committee's decision.

         ECFMG will send notification of this action to state medical licensing boards,
, graduate medical education program directors in the United States, the Federation of
  State Medical Boards' Action Data Sank; Canadian licensing authorities and other
  interested entities.

        Actions of the ECFMG Committee on. Medical Education Credentials are subject
 to the ECFMG Rules of Appellate Procedure. A copy of the ECFMG Rules of Appellate
 Procedure is enclosed.

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                                                      William C. Kelly
                                                      Manager, Medi I Education
                                                      Credentials Department
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 Enclosure.




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                Exhibit 17




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           EDUCATIC        AL COMMISSION for FOREL                          MEDICAL GRADUATES
                           3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                   TELEPHONE: 215-306-5900 • CABLE: EDOOLINCIL, PI IA.




                                                              December 7, 1995

Mr. Kenneth Cotton
USMLE Secretariat
3750 Market Street
Philadelphia, PA 19104-3190

                                                     Re: Dr. Igberase Oluwafemi Charles
                                                     USMLE/ECFMG Identification No.
                                                          0-482-700-2

Dear Mr. Cotton:

      On November 27, 1995, the ECFMG Committee on Medical Education Credentials
reviewed the matter with respect to Dr. Charles's admission that he falsified an application
form submitted to ECFMG in order to retake an examination he had already taken and
passed.

       Dr. Charles initially submitted an application form to ECFMG in April 1992 in order
to take the July 1992 FMGEMS and the ECFMG English test. At that time, he used the
name "Oluwefemi Charles Igberase" and certified that his date of birth was April 17, 1962.
He was assigned identification number 0-482-700-2.

      In addition to FMGEMS, and also using identification number 0-482-700-2, Dr.
Charles applied for and took the September 1992 and September 1993 administrations of
Step 1, failing the September 1992 examination, but passing the examination held in
September 1993.

        The applicant met the medical science, English test and medical . education
credential requirements for ECFMG Certification arid was issued Standard ECFMG
Certificate No. 0-482-700-2 in October 1993.

       In March 1994, Dr. Charles again submitted an application form to ECFMG,
applying for admission to ECFMG's administrations of the September 1994 Step 1,
August/September 1994 Step 2 and September 1994 ECFMG English test. However, on
the application, he responded "No" to the question "Have you previously submitted an
application to ECFMG to take one or more of the examinations administered by ECFMG."
He also stated his name as "Igberase Oluwafemi Charles" and date of birth as April 17,
1961.

      Since the name on the application was altered and the year of birth changed,
ECFMG's search of its database at that time did not show that he had previously applied
and been assigned an ECFMG Identification number. He was then assigned number 0-




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Mr. Kenneth Cotton
December 7, 1995
Page 2

519-573-0. He took and passed the August 1994 Step 2 and the September 1994
ECFMG :English bog test and 7September 1994 Step 1. His medical     education credentials
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passed  Step  1  in September    1993 and,  wt ted eer application
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in September 1094.

          After this matter was discovered by ECFMG, on June 22, 1995,     ore ECFMG wrote to
Dr. Charles to request an explanation for his actions.wee    Inedresponse,
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letter, : dated  July: 14, 1995, in which he stated he  wished   to retake
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order to improve his scores and be more competitive         in
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programs. Consequently, he "lied" but, he states, did not deliberately change his date of
birth and that he thought the date given initially had   been the oroul one
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files. In addition, depending on the documents hewry has, the   order of his
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       The examinations, dates and scores for examinations taken
                                            Mr MAU          EURUET
                                                                   are as follows:
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ECFMG #0-482-700-2                               er #0-519-573-0
                                                ECFMG rece new race

DATE          EXAM                 SCORE         DATE           EXAM           SCORE
July 1992     Day 1 FMGEMS         69 (Fail)
              Day 2 FMGEMS         72 (Fail)
              English test         Pass
Sept. 1992    Step 1               70 (Fail)
Jan. 1993     Day 1 FMGEMS         74 (Fail)
              Day 2 FMGEMS         75 (Pass)
              English test         Pass
July 1993     Day 1 FMGEMS         76 (Pass)
Sept. 1993    Step 1               76 (Pass)
                                                 Aug. 1994      Step 2         76 (Pass)
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                                                 Sept. 1994     English test   Pass

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Mr. Kenneth Cotton
December 7, 1995
Page 3


     After its review at the November 27, 1995 meeting, the ECFMG Committee on
Medical Education Credentials took the following actions:

•   Invalidate the Standard ECFMG Certificate issued to Dr. Charles under the second
    identification number 0-519-573-0;

•   Inform the United States Medical Licensing Examination (USMLE) Committee on
    Irregular Behavior of this matter for its information and possible action; and

•   Revoke the Standard ECFMG Certificate issued to Dr. Charles under the first
    identification number 0-482-700-2.

       For information, I am enclosing copies of the following items:

       1.    Application to ECFMG received April 6, 1992.
       2.    Application to ECFMG received March 30, 1994.
       3.    ECFMG letter to Dr. Charles dated June 22, 1995.
       4.    Dr. Charles' July 14, 1995 letter to ECFMG.
       5.    ECFMG letter to Dr. Charles dated December 7, 1995.

       Please inform Marie L. Shafron or me of the disposition of this matter. If you need




                                            Bo
additional information, please let me know.

                                                    e ely yours,



                                                William C. Key
                                                Manager, Medical Education
                                                 Credential Processing
/wck
Enclosures




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                                                                             Page 77 of
                                                                                     of 21
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                                                                              PART C
                                  Students and graduates must sign the application in the presence of their Met,
                                  School Dean, Medical School Vice Dean, or Medical School Registrar. (See A below.,
                                 If a graduate cannot sign the application form in the presence of a medical school offi-
                                 cial noted above, he/she must sign the application form in the presence of a Consular
                                 Official, First Class Magistrate or Notary Public (See B below) and must explain in
                                 writing why the application form Could norbe signed in the presence of a medical
                                 school official. (See 0.1 below.)
                                  Application forms are to be mailed to ECFMG from the office of the official or notary
                                  who witnesses the applicant's signature.
                                  All information on the application form is subject to verification and acceptance by
                                  the Educational Commission for Foreign Medical Graduates.


  1,.) CERTIFICATION                I hereby certify that the information given in this application is true arid accurate to the
                                 best of my knowledge, and that the photographs enclosed are recent photographs of me.
       BY APPLICANT
                                    I also certify and acknowledge that I have received the current edition of the ECFMG In-
                                  formation Booklet for FMGEMS and am aware of its contents.
                                    I understand that (1) falsification of this application, or (2) the submission of any falsified
                                 educational documents to ECFMG, or (3) the submission of any lalsified ECFMG docu•
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                                                                                                                                                        photograph.
                                 rnents to other agencies, or (4) the giving or receiving of aid in the examination as evi-
                                 denced either by observation at the-lime of the examination or by statistical analysis of my
                                 answors and those of ono or more other participants in that examination, or engaging in
                                 other conduct that subverts or attempts le subvert the examination process, may be
                                 sufficient cause for ECFMG to bar me Prom the examination, to terminate my participation
                                 in the examination, to withhold and/or invalidate the results of my examination, to withhold
                                 a certificate, to revoke a certificate, or to lake other appropriate action.
                                    t understand that the ECFMG certificate and any and al: copies thereof remain Ole
                                 property of ECFMG and must be returned to ECFMG if ECFMG determines that the holder
                                 of the Certificate was not eligible to receive it or that it was otherwise issued in error.
                                    I hereby authorize the Educational Commission for Foreign Medical Graduates to trans-
                                 mit any information contained in this application, or information that may otherwise
                                 become available to ECFMG. to any Federal. State. or local governmental department or
                                 agency, to any hospital or to any other organization or individual who, in the judgment of
                                 ECFMG, has a legitimate interest in such int rmation.
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   (Must be completed            Signature of Applicant       X
    in English)                  (in Latin Characters)

TEO CERTIFICATION                A. I hereby certify that the photograph, signature, and information entered on this form accurately
    BY MEDICAL                      apply to the individual named above.
    SCHOOL OFFICIAL                                                                    x
                                                                                           Signature of Medical School Official

            OR
                                         Official Title                                        Date                                   „    Institution

    NOTARIZATION
    WITH EXPLANATION
                                 B. -Subscribed and sworn to before me this • 3/
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                                                                                                        day of    2  2 Y. a -1.                               19      (/

    (Pertains to graduates
    only)                                     Ignature of Consular Official, irst Class Magistrate, Notary Public
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                                 6.1 Explain below why the application form could not be signed in the presence of your medical school dean, vice dean or registrar.
                                     Any explanation must be acceptable to ECFMG and must be provided each time you submit an application to ECFMG.




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    Wave you ever been denied licensure or authority to practice medicine by any medical licensing or registering
    authority, or has any such license or authority to practice medicine ever been suspended or revoked?                              0   Yes            0 No
    If the answer to this question Is "Yes," please explain fully on a separate sheet of paper, giving details such as
    dale, location, charge, and action taken; and provide any supporting documents.


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                             CONTINUATION OF SECTION 9.1 IN PART B
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                       PLEASE DC)                                       NOT DETACH
                                                                STEP 1 AND/OR STEP 2. EXAMINATIONS
                                                                                                                                                                                     in
                                       ADMINISTERED TO STUDENTS/GRADUATES OF FOREIGN MEDICAL SCHOOL
         THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, 3624 MARKET STREET, PHILADELPHIA
                                                        PHONE: 215 386-5000 CABLE: EDCOUNCIL,PHA
                                                                            PART A
       NOTE: All Items on all sides of the application must be filled out completely for Initial and repeat'011nination
                                                                 Use typewriter or block print in Ink.

  0     ECFMG                             Have you previously submitted an application to ECFMG to take
                                          one or more of the examinations administered by ECFMG?             0 Yes         I
        EXAMINATION
        HISTORY:                          If yes, place your USMLE Identification Number (ECFMG Applicant Number) in this be:

  0     NAME:
        Print your name as you
                                      Ill
                                      First Name
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        Standard ECFMG                                                                         1 1       1 L_1 1                   1    1   1 1      1   1   1 1 1 L_L_LI

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        Certificate and on                Last Name (Surname)
        your official USMLE
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a)
     aiIfapplied
           you have previously
                 to ECFMG
        under another name;            Previous Name ?                    7

        provide that name              Please Include a copy of the legal document that verities this name change.

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 e REGISTRATION:                      Step 1                                   June 8 - 9, 1994               ❑               or       September 22 - 23, 1994
       Check  iw  box(es) of
       selected examinations
                                      Step 2                                   March 30 - 31, 1994 ID                                   AuguSt 31 - September 1, 1994


                                      ECFMG English Test                       March 31, 1994                 ❑               or—( September 1, 1994
Ci) TEST CENTER:                      If your center selections are not anal/ , big, 'EFg:          reserves the right to assign aT:61bl r
    Select three ECFMG
    centers for each Step             Step 1: (1)          (C tanON               I S I C9---       2)   5nitiNIOC                             UCI (3)
    and/or ECFMG English                                      City               Center No.                 City                       Center No.            City               Center No.
    Test. See the Information                                                                                                                                wy                 ‘ventar      Io,
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                                      Step 2
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 0     'EXAMINATION"' r               •-•Fees•must be paid in United States funds. Checks, bank drafts or money orders are to be
       .gEE(a): •                     "'made payable to the ECFMG. Do not send cas.h.
        Enter the amount                    Step 1 Basic Medical Science Examination          $400
        enclosod.on4he.-line     •;..       Step 2 Clinical Science Examination               $400
        provideCIAII ‘)                     ECFMG English Test                                $ 30
                                                                                      Enter amount enclosed                                                                 E USE ONLY


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              for each clinical                II additional lines are necessary use the reverse side of Part C.
              discipline.

0             MEDICAL DEGREE:
              Conferred or Expected
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                                               * If the degree has been conlerred, a photocopy should be sent to ECFMG. See Medical Education Credentials Section of the ECFMG
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                                                 information Booklet.


a            MEDICAL                           Date you received or expect to receive) an unrestricted license or certificate of full registration to erect' omg.clIcinLit.
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                                                                                                                            Country or state In which you are licensed •W __Pt t
             LICENSURE:
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0            HOSPITAL
             TRAINING:
             Residency or
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(12)         EMPLOYMENT:
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  16         CITIZENSHIP:                   (Complete all three)
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                                                School Dean, Medical School Vice Dean, or Medical Schoolflogistrar. (See A below.)                                                                                      .t.t77-77.:',-t,.
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                                             Official, First Class Magistrate or Notary Public (Sea B below) and must explain in                                       • r
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                                             school official. (Soo B.1 below.)
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                                             who witnesses the applicant's signature.                                unnerarer nosey
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                                               I hereby certify that the information in this application is true and accurate to the best of
    0          CERTIFICATION                my knowledge and that the photographs enclosed are recant photographs of me. •
               BY APPLICANT
           (Must be completed
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                                              I also certify and acknowledgo that I have received the current edition of the Information
                                            Booklet on USMLF Step 1 and Stop 2 examinations and ECFMG Codification, am aware                  a .....
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                                            of Its contents and  fl
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                                            educational documents to ECFMG, or (3) the submission of any falsified ECFMG docu-
                                            ments to other agencies, or (4) the giving or receiving rh                                   if
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                                            my answers end those of one or more other participants in thnt examination, or engaging in
                                            other .conduct that subverts or attempts to subvert the examination process, may be
                                            sufficient cause for ECFMG to bar me from the examination, to terminate my participation
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                                              I understand that the ECFMG certificate and any and all copies thereof remain -the 6
                                            properly of ECFMG and must be returned to ECFMG II ECFMG determines that the holder
                                            of the Certificate was not eligible to receive It or thatsuit wasyrenswuton
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                                              I hereby authorize the Educational Commission for Foreign Medical Graduates to trans-
                                            mit any Information contained In this application, 1a                          Pod
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                                            become available to ECFMG, to any Federal. State, or local governmental department or
                                            agency, to any hospital or to any other organization or Individual who, in the judgment of "
                                            ECFMG, has a legitimate interest in such information.           serena wee, mH    wate
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    8.1) (Must be completed                                               Z
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           CERTIFICATION
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                                            A. I hereby certify that the photograph, signature,    information
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                                                                                                               SIMOIEU UI GOUUUI 9 UF   (ts 1OFINAoCUraTely
           SCHOOL OFFICIAL
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                      OR
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           NOTARIZATION                     B. Subscribed and sworn to before me this.                               'day of     MG.C.C_.                  •                 19 .       ___
           WITH EXPLANATION                                                                                                           MCA LAW-4 '
           (Pertains to graduates                                                               N                       NOTARY PUBLIC STATE OF MARYLAN9
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                                            B.1 Explain In the space below why the application form could not be signed in the presence of your medical school dean, vice
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                                                dean or registrar. Any explanation must be



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          authority, or has any such license or authority to practice medicine ever been suspended or revoked? owning
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           EDUCATIOI ,L COMMISSION for FOREIG                             MEDICAL GRADUATES
                          3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                  TELEPHONE: 215-386-5900 • CABLE: EDCOUNCIL, PHA.




                                                            June 22, 1995


Dr. Charles Olufemi igberase                                USMLE/ECFMG Identification No.
P.O. Box 1653                                                   0-482-700-2
Hyattsville, MD 20788

Dear Doctor:

       When you applied for admission to ECFMG's administrations of the September
1994 Step 1, August/September 1994 Step 2 and September 1994 ECFMG English test,
you responded "No" to the question "Have you previously submitted an application to
ECFMG to take one or more of the examinations administered by ECFMG." You also
stated your name as "Igberase Oluwafemi Charles" and your date of birth as April 17,
1961. You certified that this information, as well as the other information on your
application "is true and accurate to the best of my knowledge ..." and you swore to this in
the presence of a Notary Public.

      You were assigned USMLE/ECFMG Identification Number 0-519-573-0 and took
the Step 1, Step 2 and ECFMG English test. You submitted copies of your medical
education credentials, which were verified by ECFMG with an official of your medical
school. A Standard ECFMG Certificate was subsequently issued to you under the name
Igberase Oluwafemi Charles with the number 0-519-573-0.

       A check of ECFMG records shows that, despite what you certified to on the
application referred to above, you had applied for and taken examinations administered
by ECFMG prior to your application for the 1994 examinations. You first applied to
ECFMG for the July 1992 administration of FMGEMS and the ECFMG English test under
the name "Oluwafemi Charles Igberase" and certified that your date of birth was April 17,
1962. You failed both the basic medical science (Day 1) and clinical science (Day 2)
components of the July 1992 FMGEMS and passed the ECFMG English test.

       You subsequently applied for and took the January 1993 administration of
FMGEMS and the ECFMG English test, failing Day 1, but passing Day 2 and the English
test. You then applied for and took the July 1993 administration of Day 1 of FMGEMS
which you passed. Since, at that time, you had also met the medical education credential
requirements for ECFMG certification, you were issued Standard ECFMG Certificate
Number 0-482-700-2.

      You also applied for and took the September 1992 and September 1993
administrations of Step 1, failing the September 1992 examination, but passing the
examination held in September 1993.


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Dr. Igberase Oluwafemi Charles
June 22, 1995
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             When you applied to ECFMG, you certified on your application form that,
among other items, "falsification of this application" and "engaging in ...conduct that
subverts or attempts to subvert the examination process, may be sufficient cause for
ECFMG to ...invalidate the results of my examination ...to revoke a certificate, or to take
other appropriate action."

       In addition, the policies regarding taking Step 1 and Step 2 of the USMLE as
outlined in the ECFMG Information Booklet, which you certified you had read and
understood, include the statement "If one Step is passed, applicants may not repeat that
Step and will have seven years to pass the other Step." You, however, took and passed
Step 1 in September 1993 and again in September 1994.


        ECFMG is conducting an investigation of this matter. You must write to ECFMG
immediately to explain why you certified on your application form that you had not
previously applied for an ECFMG examination when, in fact you had, and also to explain
why you repeated Step 1 when the policy states applicants who pass the Step may not
repeat it. Your letter must be received by ECFMG within 15 days of your receipt of this
letter.

      Your explanation, together with the documents in your file, will be reviewed by the
ECFMG Committee on Medical Education Credentials at a future meeting. After its
review, the Committee will make a recommendation to the ECFMG Board of Trustees.

       Your response must be sent to the following special address:

                    ECFMG
                    P.O. Box 13467
                    Philadelphia, PA 19101-3467


                                               Sincerely yours,



                                               William C. Kelly
                                               Manager, Medical Education
                                                Credential Processing
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            EDUCATIC            COMMISSION for FOREI' 1 MEDICAL GRADUATES
                           3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                   TELEPHONE: 215-386-5900 0 CABLE: EDCOUNCIL, PHA.




Via Certified Mail                                           December 7, 1995
Return Receipt Requested


Dr. Igberase Oluwafemi Charles                               USMLE/ECFMG Identification No.
P.O. Box 1653                                                    0-482-700-2
Hyattsville, MD 20788

Dear Doctor:

       On November 27, 1995 the ECFMG Committee on Medical Education Credentials
met to review the matter with respect to your falsification of an application form submitted
to ECFMG. The Committee reviewed the documentation available, including your July 14,
1995 letter.

       Following review the Committee took the following actions:

      1.     To invalidate the Standard ECFMG Certificate issued to you under the
second identification number 0-519-573-0;

    2.      To inform the United States Medical Licensing Examination (USMLE)
Committee on Irregular Behavior of this matter for its information and possible action; and

        3.     To revoke the Standard ECFMG Certificate issued to you under the first
identification number 0-482-700-2.

     Please return the two Standard ECFMG Certificates to my attention immediately. I
suggest you send them by certified mail.

       Enclosed is a copy of the ECFMG Rules of Appellate Procedure.

                                                         cerely yours,



                                                     William C. elly
                                                     Manager, edical Education
                                                      Credential Processing
/wck
Enclosure




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                Exhibit 18




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                                              TELEPHONE: 215-386-5900. • MX: 215-386-9767 • INTERNET: lwAv.ecfmg.org




                  Personal and Confidential
                  Via Federal Express


                                                                             May 22, 2002


                  Dr. Oluwafemi Charles Igberase
                  do Gwendolyn Mensah
                  3516 Darthmoor Lane
                  Olney, MD 20832

                                                   Re: USMLETNVECFMG® Identification No. 0-482-700-2

                  Dear Dr. Igberase:

                         On behalf of the ECFMG Medical Education Credentials Committee, I am writing
                  to inform you the Committee has completed its second review regarding your alleged
                  irregular behavior in connection with the response to Item 1 on the application for the
                  USMLE Step 1 received by ECFMG on October 23, 2000. With that application, you
                  were applying for the USMLE Step 1 that you had previously taken and passed. This
                  review by the ECFMG Committee was on remand from the USMLE Committee on
                  Irregular Behavior.

                         The ECFMG Medical Education Credentials Committee previously reviewed this
                  matter in April 2001. On May 3, 2001, I wrote to advise you that the ECFMG Committee
                  took action to extend the length of the revocation of your Standard for a yet to be
                  specified period of time, to refer this new matter to the USMLE Committee on Irregular
                  Behavior for its review and to review this matter again after the USMLE Committee's
                  decision.

                          At its subsequent review in May 2002, the ECFMG Medical Education
                  Credentials Committee took action to revoke permanently your Standard ECFMG
                  Certificate.

                         In accordance with ECFMG policies and procedures, an annotation that you
                  engaged in irregular behavior will be included in your ECFMG record. This annotation
                  shall appear on your ECFMG Certification Verification Service Report and ECFMG
                  Status Report. In addition, ECFMG will report the determination of irregular behavior
                  and permanent revocation of your Standard ECFMG Certificate to the Federation of
                  State Medical Boards, state medical licensing authorities, directors of graduate medical
                  education programs and other interested entities.
                         ECFMG® is an organization committed to promoting excellence in international medical education.




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               Dr. Oluwafemi Charles Igberase
               May 22, 2002
               Page 2


                       As noted in the enclosed ECFMG Rules of Appellate Procedure, decisions of the
               ECFMG Medical Education Credentials Committee may be appealed within the time
               limit specified, i.e., within 60 days of the date of this notification.


                                                              in erely,


                                                             illiam C. Kelly
                                                            Manager, Medi I Education
                                                             Credentials Department
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                Exhibit 19




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                 THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, 3024 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, USA
                                                               PHONE: 215 386-5900' CABLE: EDCOUNCIL,PHA
                                                                                   PART A
                 NOTE: All items on all sides of the application must be filled out completely for Initial and reexamination or application will not be accepted.
                                                                       Use typewriter or block print in Ink.

                                              Have you ever submitted an application to ECFMG for any                                             If yes, enter your USMLE Identification Number
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                                                                                      PART C
                                      Students and graduates must sign the application in the presence of their Medical
                                      School'Dean, Medical School Vice Dean, or Medical School Registrar. (See A below.)                 I _ _
                                      If a graduate cannot sign the application form in the presence of a medical school olti-
                                    • cial noted above, he/she must sign the application form in the presence of a Consular
                                      Official, First Class Magistrate or Notary Public (See 13 below) end must explain in
                                      writing why the application form could not be signed in the presence of a medical
                                      school official. (See B.i below.)
                                      Application forms are to be malted to ECFMG from the office of the official or notary
                                     who witnesses the applicant's signature.
                                     All information on the application form is subject to verification and acceptance by
                                     the Educational Commission for Foreign Medical Graduates.

 (9)CERTIFICATION                       on'I hereby certify ta
                                                            that the Information. in this application is true and accurate to the best of
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         BY APPLICANT                  my be knowledge and: that the photographs
                                                                              Loe
                                                                                       enclosed are recent photographs of me.
                                           I also certify and acknowledge that I have received the current edition (that which per-
                                      ttains to the (administration for which I am registering) of the combined Inlormalion Booklet
                                       on ECFMG Certification and Application for USMLE Step 1 and Step 2 examinations and
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                                       eligibility requirements set therein.                                                                   Is
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                                     1my answers and those of one or more other             participants in that examination,  or engaging
                                     iin other conduct that subverts or attempts to subvert the examination process, may be
                                       sufficient cause for ECFMG to bar me from the examination, to terminate my participation .-se'-''''' *—••
                                      In the examination, to withhold and/or invalidate the results of my examination, to withhold
                                       a certificate, to revoke a certificate, or to take other appropriate action. (See Information
                                     Booklet for additional details concerning Validity of Scores and Irregular Behavior.)
                                        I understand that the ECFMG certificate and any and all copies thereof remain tile
                                     property of ECFMG and must be returned to ECFMG if ECFMG determines that the holder
R C                         ; !=-
                                     8f the Certificate was not eligible lo receive It or that it was otherwise issued in error.
                                        (hereby authorize the Educational COMITIIS5i011 for Foreign Medical Graduates to trohYl, 1.
                                     rnit any informatIon contained in this application, or Information that may otherwise become
                                     available to ECFMG, to arty federal, state or local governmental department or agency, to
                         Wye
                                                                                                                                                      R/C
           AM :41                    any hospital or to any other organization or individual who, in the judgment of ECFMG, has

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                                     a legitimate interest in such information.
                                     Signature of Applicant       X                    r3-1A-ez_-      et                                Date   8
                      M              (In Latin Characters)

CD CERTIFICATION                     A.                                                                             onSept•16-1110
                                            I hereby certify that the photograph, signature, and inform 2 ion e agsad          o> of this formgercUrately
         BY MEDICAL                         apply to I individual named above.
         SCHOOL OFFICIAL
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                                               Official Title                                        Date                                        Institution

       CERTIFICATION OF                                                                                 1
       IDENTIFICATION                B.     I certify that On the date set forth below the individual named above did appear personally before me and that I did Identify
       WITH EXPLANATION                     this applicant by: (a) comparing his/her physical appearance with the photograph on the identifying document presented
       (Pertains to graduates               by the applicant and with the photograph affixed hereto, and (b) comparibg the applicant's signature made in my presence
        only)                               on this form with the signature on his/her identifying document. The statements in this document are subscribed and
                                            sworn to before me by the applicant on this                     day of                                , 19
      FOR OFFICE USE ONLY
                                     X
  FOAM            DATE                   Signature of Censular Metal, First Class Magistrate, Notary Public (In Latin Characters)               Official Title

  S.A.
  I.D.
                                     13.1 Explain in the space below why the application could not be signed in the presence of your medical school dean, vice
  338                                       dean or registrar. Any explanation must be acceptable to ECFMG and must be provided each time you submit an
                                            application to ECFMG.
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oS Have you over been den ed Ilcensure or authority to practice medicine by any medical licensing or registering
0)
   authority, or has any such license or authority to practice medicine ever been suspended or revoked?
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   If the answer to this question Is "Yes," please explain fully on a separate sheet of paper, giving details such as
   date, location, charge, and action taken; and provide any supporting documents.
(21) Provision of the following information is voluntary. The information will be used for research purposes only. You are encouraged to provide the information;
a                                                                                                    d                 -

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     however, the processing of your application will not be affected if you choose to leave item 0 blank.
     Select the one which
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                Exhibit 20




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                  EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
I dr,                                             PHILADELPHIA OFFICE
                           3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
   \WWI                   TELEPHONE: 215-386-5900 • FAX: 215-386-9767 • INTERNET: www.ecfmg.org


         Personal and Confidential
         Via Federal Express
                                                                   August 22, 2000



         Dr. John Akoda
         22344 Rolling Hill Lane
         Laytonsville, MD 20882

                                         Re: USMLETM/ECFMG® Identification No. 0-553-258-5

         Dear Dr. Akoda:

                The Educational Commission for Foreign Medical Graduates (ECFMG) has
         received information alleging that you may have engaged in irregular behavior.

                According to ECFMG records, in January 1996, you submitted an application to
         ECFMG to take the March 1996 United States Medical Licensing Examination (USMLE)
         Step 2 and June 1996 USMLE Step 1. You certified on the application that your name
         was "John Nosa Akoda" and that you had not previously submitted an application to
         ECFMG. You also certified, among other information, that your date of birth was
         January 1, 1959 and that you graduated from the Faculty of Medicine, University of
         Benin, Nigeria, in 1987.

                According to information recently received by ECFMG, it is alleged you may have
        previously applied to ECFMG using the names "Oluwafemi Charles Igberase"
        (USMLE/ECFMG Identification No. 0-482-700-2) and "Igberase Oluwafemi Charles"
        (USMLE/ECFMG Identification No. 0-519-573-0). In November 1995, the ECFMG
        Committee on Medical Education Credentials took action to invalidate Standard ECFMG
        Certificate No. 0-519-573-0 and revoke Standard ECFMG Certificate No. 0-482-700-2.
        An appeal of these actions was taken to the ECFMG Review Committee on Appeals.
        After hearing the appeal, the ECFMG Review Committee on Appeals upheld the actions
        of the ECFMG Committee on Medical Education Credentials, but limited the length of
        the revocation of Standard ECFMG Certificate No. 0-482-700-2 to five years, i.e., until
        July 10, 2001.

                 When you applied to ECFMG, you certified on your application that the
        "falsification of this application or the submission of any falsified educational documents
        to ECFMG ...may be sufficient cause for ECFMG to bar me from the examination, to
        terminate my participation in the examination, to withhold and/or invalidate the results of
        my examination, to withhold a certificate, revoke a certificate, or to take other
        appropriate action." A copy of the certification statement you signed is enclosed.

               ECFMG® is an organization committed to promoting excellence in international medical education.
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        Dr. John Akoda
        August 22, 2000
        Page 2


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              ECFMG requires an explanation from you in writing within fifteen
        your receipt of this letter. The information in your ECFMG file, together     with your
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        Committee on Medical Education Credentials for reviewTee
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        explanation and any other material you submit, willlh be referred to the ECFMG
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              Please send all communications and material in this matter    my attention. If
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        you have any questions, please telephone me at (215) 823-2277.

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                                                       illiam C. Kell
                                                      Manager, Medical Education
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                                                       Credentials Department
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       Enclosure




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                Exhibit 21




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       Return to:    ECFG                                                    0-553-258-5
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                     Philadelphia PA 19104-2685                           OR John, Nosa Akoda
                     USA

       I hereby certify that the attached diploma or other credential for the individual noted above
       is authentic and correct and that I am authorize tt5'certify this on behalf of this institution.


                                                              121st MAY 1996
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       PROFESSOR L.T. OJGWU               FRCP.
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                          Title

      UNIVERSITY OF BENIN,,BENIN CITY, NIGERIA
                    Name of Medical School




       I cannot certify that the diploma or other credential for the individual noted above is
       authentic and correct because:




                           Signature                                                    Date




                    Name (Printed or Typed)


                             Title                                                      Seal




                    Name of Medical School




                                                                                                    Form 399A--English
                                                                                                       Rev. August 1995




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                                                                        MEDICAL
                                                                                25, Ahmed Oinimido Street, Victoria Island, Lagos.
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                                                                        Certificate of Full Registration as a Medical Practitioner
                                                                         Nane                                          Address                            Date of Registration


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                                                        I HEREBY CERTIFY THAT this s a true Copy of the entry of the above specified Name in the Medical & Dental
                                                    Council of Nigeria Register, and that the prescribed fee of Sixty Naira has been duly received for such Registration_



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                Exhibit 22




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               Dr John Nosa Aicoda
                  Mem  ~   .        .   io         -

                  5800 Quantrel1 Avenue
                  Apt. w810
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    ASSESSMENT (FORM 97-1) WHICH SUPERSEDES THE SPECIAL ANNOUNCEMENT
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    (FORM 9b-8) PREVIOUSLY INSERTED INTO THE 1997 ECFMG INFORMATION dOOKLET.
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    ECFMG REQUESTS PROGRAM DIRECTORS TO VERIFY wlTH_eECEMG INFORMATION
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                                                                                              NANCY E J GARY/ M.D.
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IN THE MATTER OF                                    *        BEFORE THE MARYLAND

CHARLES J.N. AKODA, M.D.                            *        STATE BOARD OF PHYSICIANS

       Respondent.                                  *        Case Number 2017-0083B

License Number D73049                               *
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                                   FINAL DECISION AND ORDER

                                       PROCEDURAL HISTORY

        On November 15, 2016, Charles J.N. Akoda, M.D., a physician licensed' by the

Maryland State Board of Physicians ("Board"), entered a plea of guilty to one count of Social

Security Account Number Fraud in the United States District Court for the District of Maryland

("U.S. District Court"), in violation of 42 U.S.C. § 408(a)(7)(B). (Case No. PWG-8-16-CR-

00277-001). On March 2, 2017, Dr. Akoda was sentenced to six months incarceration, three

years of supervised release, home detention for six months, and an assessment of $100.00. Dr.

Akoda has not filed an appeal of his conviction and the time for filing an appeal has passed.

         On April 4, 2017, the Office of the Attorney General filed with the Board a Petition to

Revoke Dr. Akoda's license to practice medicine, pursuant to section 14-404(b)(2) of the Health

Occupations Article, which provides:

         After completion of the appellate process if the conviction has not been reversed
         or the plea has not been set aside with respect to a crime involving moral
         turpitude, a disciplinary panel shall order the revocation of a license on the
         certification by the Office of the Attorney General.




   Dr. Akoda allowed his license to expire on September 30, 2016. The Board was notified of Dr. Akoda's criminal
 indictment in August of 2016 and began its investigation prior to the expiration of Dr. Akoda's license. Pursuant to
 Section 14-403 of the Health Occupations Article, the license of an individual regulated by the Board "may [not]
 lapse by operation of law while the individual is under investigation . . ." Md. Code. Ann., Health Occ. § 14-403(a)
 (2014 Repl. Vol.). Therefore, by operation of law, Dr. Akoda's license was not permitted to expire during the
 pendency of these proceedings.



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Attached to the Petition were certified copies of the criminal docket entries, indictment,

superseding indictment, plea agreement with stipulated facts, sentencing order, the judgment

entered, and a show cause order2 mandating that Dr. Akoda show cause in writing by May 8,

2017 if there were any reason why his license to practice medicine should not be revoked. To

date, the Board has not received a response from Dr. Akoda.

        Having reviewed and considered the entire record in these § 14-404(b)(2) proceedings,

Panel B issues this Final Decision and Order.

                                            FINDINGS OF FACT

        Panel B finds the following facts by a preponderance of the evidence:

1.      Dr. Akoda was originally licensed to practice medicine in the State of Maryland on
        September 14, 2011, having been issued License Number D73049. Dr. Akoda
        continuously renewed his license until September 30, 2016 when his license expired.3

2.      On June 1, 2016, in Case No. PWG-8-16-CR-00277-001, the United States Attorney filed
        an indictment charging Dr. Akoda4 with social security account number fraud, 42 U.S.C.
        § 408(a)(7)(B), and aggravated identity theft, 18 U.S.C. § 1028A(a)(1).

3.       On October 19, 2016, in a superseding indictment, Dr. Akoda was charged with an
         additional count of social security account number fraud, 42 U.S.C. § 408(a)(7)(B); false
         statement relating to a health care matter, 18 U.S.C. § 1035(a); an additional count of
         aggravated identity theft, 18 U.S.C. § 1028A(a)(1); and fraud and misuse of an
         immigration document, 18 U.S.C. § 1546(a).

 4.      On November 15, 2016, Dr. Akoda pled guilty to social security account number fraud,
         in violation of 42 U.S.C. § 408(a)(7)(B).5 The plea agreement was based on the following
         statement of facts, which Dr. Akoda acknowledged were true and correct:

 2 An updated show cause order was mailed to Dr. Akoda on April 6, 2017 with the same response date of May 8,
 2017.

 3 As discussed above, because of the Board's continuing investigation of Dr. Akoda throughout these proceedings,
 his license to practice medicine did not lapse or expire.
 4
  The indictment included eleven different names for Dr. Akoda, including Charles John Nosa Akoda, the name
 under which Dr. Akoda applied for and was granted a license by the Board.

 5 42 U.S.C. § 408(a)(7)(B) provides: "Whoever . . . for the purpose of causing an increase in any payment authorized
 under this title (or any other program financed in whole or in part from Federal funds), or for the purpose of causing
 a payment under this title (or any such other program) to be made when no payment is authorized thereunder, or for
 the purpose of obtaining (for himself or any other person) any payment or any other benefit to which he (or such


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            In October 1991, [Dr. Akoda] entered the United States pursuant to a
       Nonimmigrant Visa.

               In November 1991, [Dr. Akoda] applied for and obtained a Social Security
       Number ("SSN"), XXX-XX-5054 (the "5054 SSN"), using the name "Igberase
       Oluwafemi Charles" and date of birth April 17, 1962. In January 1995, [Dr.
       Akoda] applied for and obtained a second SSN, XXX-XX-9065 (the "9065
       SSN"), using the name "Charles Oluwafemi Igberase, Jr." and a false date of
       birth. In September 1998, [Dr. Akoda] this time using the name "Oluwafemi
       Igberase," and a false date of birth, applied for and obtained a third SSN, XXX-
       XX-7353 (the "7353 SSN"). In or about 2011, [Dr. Akoda] fraudulently used the
       7353 SSN to apply for federal education loans for his children.

              In April 1992, [Dr. Akoda] submitted an application for certification by
       the Educational Commission for Foreign Medical Graduates ("ECFMG"). [Dr.
       Akoda] submitted the application using the name "Oluwafemi Charles Igberase,"
       and indicated SSN ending in 5054 SSN and date of birth April 17, 1962. ECFMG
       is an organization which, among other things, provides certification to
       international medical school graduates before such individuals may enter graduate
       medical education programs in the United States, where they provide supervised
       patient care. Foreign medical graduates must obtain ECFMG certification in order
       to take the three-step United States Medical Licensing Examination ("USMLE").
       All medical graduates must pass all three steps of the USMLE in order to obtain
        an unrestricted license to practice medicine in the United States. In July 1992,
       [Dr. Akoda] failed both the basic medical science (Day 1) and clinical science
        (Day 2) components of the Foreign Medical Graduate Examination in Medical
        Sciences ("FMGEMS"), which is step 2 of the USMLE. Eventually, between July
        1992 and September 1993, [Dr. Akoda] passed all three steps of the USMLE and,
        in October 1993, was issued ECMFG Certification under the name "Oluwafemi
        Charles Igberase."

                In March 1994, [Dr. Akoda] submitted a second application for ECFMG
        certification, this time under the name "Igberase Oluwafemi Charles," using a
        false date of birth. Between August 1994 and September 1994, [Dr. Akoda]
        passed all three steps of the USMLE and was issued a second ECMFG
        Certification under the name "Igberase Oluwafemi Charles."

              In 1995, the ECFMG Committee on Medical Education Credentials
        became aware that [Dr. Akoda] had fraudulently applied for and obtained two
        ECFMG certifications under different names and dates of birth. In December


other person) is not entitled, or for the purpose of obtaining anything of value from any person, or for any other
purpose . . . with intent to deceive, falsely represents a number to be the social security account number assigned by
the Commissioner of Social Security to him or to another person, when in fact such number is not the social security
account number assigned by the Commissioner of Social Security to him or to such other person . . . shall be guilty
of a felony and upon conviction thereof shall be fined under title 18, United States Code, or imprisoned for not more
than five years, or both."


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                a ae                                        [owe               tee
          1995, ECFMG revoked or suspended both ECFMG certifications assigned to [Dr.
                                                                                           .   tooo
          Akoda].
                      Tr         aa      os
                  In August 1996, [Dr. Akoda] submitted
                                                        «
                                                            a third
                                                                   tg
                                                                    application for ECFMG
          \      ot                                =    ate    a0
          certification, this time using the name "John Nosa Akoda." Along with this third
          application, [Dr. Akoda] submitted to ECFMG a false Nigerian passport in the
                  cl          re                            =         laren
          name of "John Nosakhane Charles Akoda." Between 1996 and 1998, [Dr.
          Akoda],tansas "John Nosa _
                                       Akoda," passed all three steps of the USMLE and
          received ECFMG certification under the "Akoda" name.
                   —F             man,          “                           «         -~
                 After receiving ECFMG certification under the "Akoda" name, [Dr.
          Akoda] applied for and was accepted into a residency program at [Facility A].6 In
                                                        [Dr. Akoda]~ used‘Tbelonged not to
          2000, [Facility A] learned that the SSN that ao
          "Akoda" but rather to Igberase. [Dr. Akoda] was suspended from [Facility A's]
          residency program in August 2000 and ultimately dismissed in November 2000.

                In 1999, Individual A applied for and obtained SSN XXX-XX-1623 (the
          "1623 SSN").

                     In 2006, [Dr. Akoda], using the name "John-Charles Akoda," and the
              1623 SSN assigned to Individual A, applied for residency at [Facility B]. In
              March 2007, [Facility B] accepted [Dr. Akoda] into its residency program, and
              asked [Dr. Akoda] to submit evidence of legal residence in the United States. In
              response, [Dr. Akoda] submitted a false permanent resident card in the name "N.
              Akoda, John Charles."

                     In 2011, after completion of his residency at [Facility B], [Dr. Akoda],
              using the name "Charles John Nosa Akoda" and the 1623 SSN, applied for
              medical licensure with the Maryland Board of Physicians. In support of this
              application, [Dr. Akoda] submitted a false permanent residence card, as well as a
              false Nigerian passport. In September 2011, the Maryland Board of Physicians
              granted the requested medical license to [Dr. Akoda] under the name "Charles
              John Nosa Akoda," and [Dr. Akoda] began practicing medicine in the field of
              obstetrics and gynecology.

                      In 2012, [Dr. Akoda], using the "Akoda" identity, sought and obtained
              medical privileges at [Facility C] in Maryland. To do so, [Dr. Akoda] submitted a
              false permanent residence card, as well as a false Maryland driver's license.

                     On March 1, 2012, [Dr. Akoda] submitted a Medicare Enrollment
              Application to the Center of Medicare and Medicaid Services ("CMS") using the
              "Akoda" identity and the 1623 SSN. CMS denied [Dr. Akoda]'s application
              based, in part, on CMS's determination that [Dr. Akoda] did not provide an
              accurate SSN.


6   In order to maintain confidentiality, facility names will not be used in this Order.


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             On June 9, 2016, law enforcement executed search warrants at [Dr.
      Akoda]'s residence, medical practice, and vehicle. From [Dr. Akoda]'s vehicle,
      law enforcement seized a Maryland driver's license in the "Akoda" name. From
      [Dr. Akoda]'s residence, law enforcement seized (1) a false Social security card
      for the 1623 SSN in the name "John Charles N. Akoda," (2) a false Nigerian
      passport for "Akoda," and (3) a false United States visa in the "Akoda" name.
      Law enforcement also found fraudulent or altered documents related to
      immigration, medical diplomas, medical transcripts, letters of recommendation,
      and birth certificates.

              Throughout the above-referenced scheme, [Dr. Akoda] also used the 1623
      SSN and false documentation to open various bank accounts using the "Akoda"
      identity.

5.    On March 2, 2017, Dr. Akoda was sentenced to six months incarceration, three years of
      supervised release, home detention for six months, and an assessment of $100.00.

6.    April 4, 2017, the Office of the Attorney General filed with the Board a Petition to
      Revoke Dr. Akoda's license to practice medicine pursuant to Health Occ. § 14-404(b)(2).

7.     Dr. Akoda did not appeal his conviction within the time prescribed by law and the guilty
       plea and conviction have not been set aside.

                              CONCLUSIONS OF LAW

       Dr. Akoda does not dispute that he pled guilty to a crime involving moral turpitude and

has not filed a response to the petition to revoke his license. Panel B makes the following

conclusions of law.

       Dr. Akoda's plea of guilty to social security account number fraud, a felony, in violation

of 42 U.S.C. § 408(a)(7)(B), constitutes a crime involving moral turpitude per se. The essential

elements of the crime include intent to deceive. Dr. Akoda admitted that he knowingly and

willfully falsely represented several different numbers to be the social security number assigned

to him with the intent to deceive.

       Maryland appellate courts have repeatedly held that if dishonesty, fraud, or intent to

deceive is an essential element of a statute under which a defendant is convicted, the crime

involves moral turpitude as a matter of law. See Board of Physician Quality Assurance v.


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Felsenberg, 351 Md. 288, 295 (1998) (crimes involving fraud are crimes involving moral

turpitude); Attorney Grievance Comm 'n v. Klauber, 289 Md. 446, 457-59, cert. denied, 451 U.S.

1018 (1981) (the term "moral turpitude" connotes a fraudulent or dishonest intent); Attorney

Grievance Comm 'n v. Walman, 280 Md. 453, 459-60 (1977) (a crime of moral turpitude is

characterized by dishonesty, fraud, or deceit); Oltman v. Maryland State Bd. of Physicians, 162

Md. App. 453, 485-87, cert. denied, 389 Md. 125 (2005) (crime was one of moral turpitude

[because] it was dishonest, and characterized by fraud).

       It is also settled that "the related group of offenses involving intentional dishonesty for

purposes of personal gain are crimes involving moral turpitude." Oltman, 162 Md. App. at 486

(citations and quotation marks omitted). By using false social security numbers to open bank

accounts, apply for federal education loans for his children and obtain a medical license, Dr.

Akoda intended to defraud and deceive the government and Board for purposes of personal

financial gain to which he was not entitled. His conduct involved repeated fraud, deceit, and

intentional dishonesty for purposes of his own personal gain. The facts underlying Dr. Akoda's

criminal offenses, therefore, also establish moral turpitude. Oltman, 162 Md. App. at 486.

        In the instant case, Dr. Akoda was convicted of social security number fraud, in violation

of 42 U.S.C. § 408(a)(7)(B). Dr. Akoda was intentionally dishonest in committing an act of

 willful deception on a massive scale for a prolonged duration of time for purposes of his own

 personal financial gain. Panel B concludes that Dr. Akoda was convicted of a crime involving

 moral turpitude and the time for filing an appeal has passed, thus the revocation of Dr. Akoda's

 license to practice medicine is required under Health 0cc. § 14-404(b)(2).




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                                                ORDER
                                                                        ww   afNicainlinans DanalR     herehw
       It is, on the affirmative vote of a majority of the quorum of Disciplinary Panel B, hereby
                                 r   Latinjoo        8 Dhetae          TM      Ande
       ORDERED that the medical license of Charles J.N. Akoda, M.D., license number
                                                                                       MT      Trance quimhax

                                 Ak ATTA Aan                   BTA ADADLAION nnd
D73049, is REVOKED, as mandated by Health Occ. §14-404(b)(2); and it is further
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                                                                =    BITTE TA NACTIMOENT
       ORDERED that this final decision and order is a PUBLIC DOCUMENT.


    D7 /10 /V)
Date                                            ie             en eh
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                                                 Christine A. Farrelly, Evo*atin”
                                                 Maryland State Board of P
                                                                           e iv Director
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               Pn     roe      nn DerrETOR BAD TTNTOTAT DEVTEUW
                NOTICE OF RIGHT TO PETITION FOR JUDICIAL REVIEW
       F           Sy rr    ae           Wr-uL Q-2            G ]4    AMO    Pie   Alendn has the qinht   tn geal
        Pursuant to Md. Code Ann., Health Occ. § 14-408, Dr. Akoda has the right to seek
  wae                  ttt            ed ede           atitinn fae     al vaviewr chall ha filed
judicial review of this Final Decision and Order. Any petition for judicial review shall be filed
yrih ott mas           o         A
                                Anke Pea        2h bite Dian Danininn and Aedaw Tha anor letter
within thirty (30) days from the date of mailing of his Final Decision and Order. The cover letter
              Sm                                          Erased     warenawa a        is   mailed   Any natitinn
accompanying this final decision and order indicates the date the decision is mailed. Any petition
                                        asa ee.                Juntiva Dranaduve Ant Md Code
for judicial review shall be made as provided for in the Administrative Procedure Act, Md. Code
 ms =       Aa         nan               .      DAN ~04L Nhaeedand Dulas af Dennadire
4Ann., State Gov't § 10-222 and Title 7, Chapter 200 of the Maryland Rules of Procedure.
        roo                                               tha Paned fod marty and chanld he car
        If Dr. Akoda files a petition for judicial review, the Board is a party and should be served

with the court's process at the following address:
                           Pr      8      nt      en           =

                           pos
                                                   of Physicians
                           Maryland State BoardWhence       PN ee
                           Christine A. Farrelly, Executive Director
                           4201 Patterson Avenue
                           Baltimore, Maryland 21215
                                                      nt bn tha D.     ada nanncal      at the fallauring addrace:
           Notice of any petition should also be sent to the Board's counsel at the following address:
                            a    cae net
                            Stacey M. Darin          ee
                            ba
                            Assistant Attorney General
                            ne         2 FT      2a AM del Deron
                            Department of Health and Mental Hygiene
                            300 West Preston Street, Suite 302
                            Baltimore, Maryland 21201



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                Exhibit 26




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BRICK HOSPITAL
IFRSEY SHORE MEDICAL CENTER
                                                         Meridian                                    Tel 732 775-5500
POINT PLEASANT HOSPITAL
RIVERVIEW MEDICAL CENTER
                                                       Health System                                  Meridian Health System
                                                                                                      Jersey Shore Medical Center
                                                                                                      1945 State Route 33
                                                                                                      P.O. Box 397
                                                                                                      Neptune, NJ 07754-0397




                    November 7, 2000


                    State of Maryland Board of Physician Assurance
                    4201 Patterson Avenue, P.O. Box 2571
                    Baltimore, Maryland 21215


                    RE: John Charles Nosa Akoda
                        aka John-Charles Nosa-Igberase Akoda
                        aka Charles Johnbull Nosakhare Akoda
                        aka Charles N. Akoda
                        aka Charles J. Akoda


                    To Whom It May Concern:

                    We have discovered in the file of John Charles Nosa Akoda, M.D., a third-year resident
                    in Internal Medicine at Jersey Shore Medical Center, an application for initial medical
                    licensure in the State of Maryland. That application includes a Social Security Number
                    which Dr. Akoda has stated is not his own.

                    Having earlier suspended Dr. Akoda we have now made a decision to terminate him
                    effective November 21, 2000, for reasons as specified in our letter (and attachment) to the
                    New Jersey State Board of Medical Examiners. Dr. Akoda was afforded his due-process
                    rights of appeal of his termination, but the time for receipt of such an appeal has now
                    been exhausted.

                    Very truly yours,


                    Gpnee thare deves H. a                             Hh/ MU
                    Anna Marie Sesso, M.D., M.P.H.
                    Associate Director of Academic Affairs


                     Copy to: New Jersey State Board of Medical Examiners




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                Exhibit 27




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                                   EDUCATION,. COMMISSION for FOREIGN ivicDICAL GRADUATES
                                                             3621MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19101-268S, U SA

                                                                        TELEPHONE: 215-366-6G00 S CAA F: EDCOUNCIL. PHA.


                            REQUEST FOR PERMANENT REVALIDATION OF STANDARD ECFMG CERTIFICATE
   This form is to be completed for graduates of foreign medical schools who have entered programs of sfizsdet
     -
   States accredited by the Accreditation Council for Graduate Medical Education (ACGME) aft
   7
   ECFMG Certificate be made valid indefinitely.
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   L TO BE COMPLETED BY APPLICAiNT (type or print)                                                                                      41J1,            4 MO
                 USMLEJECFMG                                              Program ID No_ (as listed in American                    EceiFs                           S
                 Applicant Identification No_                             Graduate Medical Education Program Directory)

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   U.S. Social Security Number 14—'4' -                                    Date of Birth      ° Li I CI'          /G2
                                                                                                                                         VISA STATUS: (if applicable)
                                                                                              Month        Day         Year
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                                                                                                                                         Non-Immigrant
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   City           e .1) ii.krvi                             State A.; 3'                  Zip Code      0 `}R-
                                                                                                                                                H-lB
                                                             Check Here if this is a Change in Permanent Address for
   Country                                                   ECFMG Records                                             ❑
                                                                                                                                                Other (Please specify}

   Telephone Number (    2)1 7s- I DV, Fax (13),
                               J
                                                                        Area Code
                                                                                    )   7 75-10 7 z_
   Signature '     IA&Mry(y, pia_                                                             Date


   H. TO BE COMPLETED BY PROGRAM DIRECTOR, DIRECTOR OF GRADUATE MEDICAL
   EDUCATION, OR OTHER AUTHORIZED OFFICIAL (type or print)
                                                                                                                                         ENTRY DATE OF APPLICANT
                                                                                                                                         TO ACGME ACCREDITED
   INSTITUTION (as listed in AMA's Graduate Medical Education Program Directory)                                                         PROGRAM:
             JERSEY SHORE. MEDICAL CENTER
                                                                                                                                                7        /1     /98
   CITY NEPTUNE                                                                           STATE                                           month           day     yeas
                                                                                                                                         APPLICANT ENTERED AS:.
   SPECIALTY           INTERNAL MEDICINE                                                                                                 (check one;
   Telephone Number (317 ) 77 _4470                             Fax ( 732 ) 776-461 9                                                    Resident                            Rix
                     Area Code                                          Area Code
                                                              JOHN A.           CROCCO, M.D.                                             Clinical Fellow
   Name and Title of Institution Official                                                                                                Other (please specify)
                                                                       DIRECTOR/DEPT-I-CHAIR0F
   Signature of Institution Official
   Please affix institution or corporate se: I, • if not available, complete acknowledgment by a notary.                                            14

                                       STATE OF
                                                                                                                       PSD NI 0             1
     INSTITUTION\                      COUNTY OF
     CORPORATE                                                                                                                                           cV\
         OR                               On this                day of                         , 19      , before meop
      NOTARIAL                                                          , satisfactorily proven to me to be the person'Who                      n           subscribed to the
        SEAL..."                       within instrument, and acknowledged that he/she executed the same for the purpose                                 n contain
                                          In witness whereof, I hereunto set my hand and official seals.

                                                                                                                              aN   Pa

                                                     Notary Public

           Upon receipt of this form and vcrification of the iruOrmation. ECFMG will mail a revalidation slicker to the applicant at the mailing address listed in Item I.

                                          SEE REVERSE SIDE OF THIS FORM FOR ECFMG'S POLICY AND PROCEDURES
                                                                                                                                                                Form 246
                                                                                                                                                              JA3054
                                                                                                                                                     ECFMG_RUSS_0003845
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                Exhibit 28




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 RSLY StIOP1 MEDICAL CENTER
!OK*:   CENTER OF OCEAN COUNTY
                                                       Meridian                                   fel 732 775-5500
 SLICK AND POINT PLEADANY DIVISIONS
VitIVIEW MEWCAC CENrisi
                                                     Health System®                               Meridian Health System
                                                                                                  ierscy Shore Medical Centel
                                                  Friday, August *11, 2000                        194$ State Route 33
                                                                                                  P.O. Box 397
                                                                                                  Neptune, Ni 07754-0397
                                                 'via telefax to (215) 386-9196
                                                                                                  www.merldlanhealth.eom

                  Rice Holmes
                  Education Commission, for,Foreign Medical Graduates
                  364 Market Street
                  Philadelphia, PA 19104-2685                                              RECEIVED
                                               •
                                               Personal and Confidential                         !AUG      1 200).
                  Dear Mr. Holmes:                                                                 ECFMG
                                                                                                    AIS
                 An allegation has been made that a resident at Jersey Shore Medical Center/Meridian
                 Hospitals Corporation who goes by the name of John Charlds Akoda (ECFMG certificate
                 If 0-553-258-5 in the name of John Nosa Akoda, issued August 18, 1997) has also served
                 as a resident in two other U.S. residency programs under the name of Oluwafetni Charles
                 Igberasi. On verifying his social security number (:        .9065) we have discovered that
                 it was issued to "Charles Igberase",        When presented with this information late
                 yesterday, this doctor stated that he has used all of these names and that he has never
                 served .in another U.S. ACGME-accredited residency program. The three birth dates
                 given by this individual are.04/17/62, 1/1/63, and 4/17/63.

                 This request is that you search your files to ascertain whether there may be a second
                 ECFMG certificate issued in the name of Oluwafemi Charles Igberasi (or Ibgerase) or
                 some combination of the six names he has given us (John, Nosa, and Akoda being the
                 other three). Also, we would be interested in knowing whether you have had requests for
                 verification of Dr. Akoda AKA Dr. lgberasi's ECFMG certificate(s) status from other
                 teaching hospitals including Harlem Hospital Center in the time period of approx. 1995-
                 96 or JFK Memorial Hospital in 1997-98.

                 Obviously, we are concerned that we resolve this issue promptly. Your priority attention
                 is requested,

                 I can be reached by phone at (732) 776-4732. My secretary is Terry Smith, and should I
                 not be available at my private line number as listed, she can be telephoned at (732) 776-
                 4179 in an attempt to reach me.

                 Thank you in advance fox' your cooperation.

                 Very truly yours,

                                                    ( —AJL        -9
                 James McCorlcel, Ph.D., Vice President, Academic Affairs
                 Jersey Shore Medical Center, Meridian Hospitals Corporation



                                                                                                        ECFMG-000559


                                                                                                            JA3056
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                Exhibit 29




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          EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                              PHILADELPHIA OFFICE
                             3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                           TELEPHONE: 215-386.5900 • FAX: 215-386-9767 • INTERNET: www.ectmg.org




Personal and Confidential

                                                           August 22, 2000

James McCorkel, Ph.D.
Vice President for Academic Affairs
Jersey Shore Medical Center
1945 State Route 33
Neptune, NJ 07754-0397

                                 Re: Dr. John Nosa Akoda
                                 USMLErm/ECFMG® Identification No. 0-553-258-5

Dear Dr. McCorkel:

       This is in response to your letter of August 11, 2000 and telephone conversations
of August 14 and 15, 2000, You indicated in your letter and subsequent conversations
that Jersey Shore Medical Center/Meridian Hospitals Corporation is conducting an
investigation whether a resident at your institution by the name of John Charles Akoda
may have also served as a resident at two other institutions using the name Oluwafemi
Charles lgberase. To aid in your investigation, you asked for certain information in
possession of the Educational Commission for Foreign Medical Graduates (ECFMG).

       According to applications submitted to ECFMG, Dr. Akoda's full name is "John
Nosa Akoda." He certified his date of birth to be January 1, 1959. The medical diploma
he submitted indicated he received his medical degree in 1988 from the Faculty of
Medicine, University of Benin, Nigeria. This medical diploma was verified by ECFMG
with the medical school. Dr. Akoda was issued ECFMG Certificate No. 0-553-258-5 on
August 18, 1997. The social security number he provided ECFMG in 1998 is 215-43-
9065.

        ECFMG also has a file for "Oluwafemi Charles Igberase." Using the name
"Oluwafemi Charles lgberase," an individual submitted an application and certified his
date of birth to be April 17, 1962 and his social security number as XXX-XX-XXXX. The
medical diploma he submitted indicated he received his medical degree in 1987 from
the Faculty of Medicine, University of Ibadan, Nigeria. This medical diploma was
verified by ECFMG with the medical school. He was issued ECFMG Certificate No. 0-
482-700-2 on October 4, 1993. This ECFMG Certificate was revoked in November
1995. The revocation is through July 10, 2001.

       This same individual also submitted an application using the name "Igberase
Oluwafemi Charles." He certified his date of birth to. be April 17, 1961. He also certified
on the application that he had not previously submitted an application to ECFMG and

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James McCorkel, Ph.D.
August 22, 2000
Page 2


was assigned a new USMLE/ECFMG Identification Number 0-519-573-0. The medical
diploma he submitted indicated he received his medical degree in 1987 from the Faculty
of Medicine, University of Ibadan, Nigeria. This medical diploma was verified by
ECFMG with the medical school. He did not provide a social security number under this
USMLE/ECFMG Identification Number. He was issued ECFMG Certificate No. 0-519-
573-0 on December 14, 1994. This ECFMG Certificate was invalidated in November
1995.

      ECFMG has no record of receipt of requests for verification of the ECFMG
certification status from Harlem Hospital Center or JFK Memorial Hospital concerning
any of these three names or USMLE/ECFMG Identification Numbers.

      Thank you for bringing this matter to our attention.

                                                Sincerely,



                                                Stephen S. Seeling, J.D.
                                                Vice President for Operations
SSS/wck




                                                                                ECFMG-000553


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                Exhibit 30




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          EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                                     PHILADELPHIA OFFICE
                              3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                            TELEPHONE: 215-386-5900 • FAX: 215-386-9767 • INTERNET: www.ecrmg org




September 27, 2000

Memorandum

To:             File #0-553-258-5
                John Akoda

From:           William Kelly

Dr. Akoda came to the ECFMG office today. He reiterated that he is not "Igberase
Charles" and said he was his cousin. He said he did use Charles's social security
number.

Akoda provided his original Nigerian passport and Nigerian "international driving
permit." I made copies.

Akoda indicated that Jersey Shore Medical Center had suspended him pending
outcome of ECFMG's investigation. Akoda asked when his case will be reviewed.

I told him I understood Jersey Shore was conducting its own investigation. I asked him
to send me a copy of the letter he received form the hospital.




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                Exhibit 31




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    Case:
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                                                                 215-386-9767 • INTERNET: www.ecfmg.org




December 21, 2000


Memorandum

To:              File #0-553-258-5
                 John Akoda

From:            Bill Kelly

Today I spoke by telephone with Jim McCorkel, Ph.D., Jersey Shore Medical Center.
Telephone: (732) 776-4732.

Dr. McCorkel advised that Dr. Akoda was dismissed from Jersey Shore Medical Center
for the following reasons:

•     Akoda used a false social security number when he applied to the hospital. He
      acknowledged he used the social security number of his cousin, Charles lgberase.
      He said his cousin (lgberase) had used Akoda's passport and visa to enter the
      United States, so lgberase allowed Akoda to use his social security number.

•   The green card Akoda initailly had provided the hospital was inconsistent with a
    subsequent green card he also provided (different number, name, expiration date
   and date of birth).
                                  tan ianan ope
Dr. Akoda was suspended August 29, 2000. He did not appeal. His official dismissal
date was November 17, 2000.

Dr. McCorkel indicated that he hoped to provide this information in writing to ECFMG in
the future, but it required approval form the hospital counsel. He also indica₹ed that he
expected to provide information to INS




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                Exhibit 32




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 Re: USMILE/ECFMG
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 Dear Mr. Kelly:
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numbers listed in your letter apparently belong to my cousin Dr. Igberase Oluwafemi
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Chartles, who left the country to practice, I believe, in South Africa. We,ave?two different
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Thank you for your assistanceNYwith resolving this unfortunate confusion.
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Sincerely,



John Akoda, MD


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                Exhibit 33




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                                             3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
     ukt itW                               TELEPHONE: 215-386-5900 • FAX: 215-386-9767 • INTERNET: www.ecfmg.org




              December 22, 2000


              Memorandum


              To:              Stephen S. Seelin         JD

              From:            William Kelly

              Subject:         Dr. John Ako a, ID No. 0-553-258-5

              Attached is a copy of a Memorandum for the file.

              This memorandum is being written separately since I did not think it should be made
              part of the official file.

             In my discussion with'Dr. McCorkel he indicated he believed lgberase and Akoda were
             one and the same person. He has no proof, just a strong suspicion. Information he
             received from an "informant" provided details that led him to believe this.

             I also believe Akoda and Igberase are one and the same. However, at this point, the
             only information that we have for the ECFMG Credentials Committee is Akoda's written
             statement that he is - NOT Igberase, although he did admit in writing that he used
             Igberase's social security number. He has given us a passport that appears to confirm
             his identity as John Akoda. I don't think this is enough for the Committee.

             lgberase has not replied to my letter. The FedEx letter was returned undelivered. I
             tried the phone number he listed on his application and was told it was a wrong number
             (although the correct address). I sent lgberase an email (cfemi(0hotmail.com) and who
             should reply, but Akoda!

             Akoda still has a valid ECFMG Certificate. We need to brainstorm on this one. Maybe
             Shirley Williams (Miss Sherlock) could sit in.




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                Exhibit 34




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BRICK HOSPITAL
IFRSEY SHORE MEDICAL CENTER
                                                         Meridian                                    Tel 732 775-5500
POINT PLEASANT HOSPITAL
RIVERVIEW MEDICAL CENTER
                                                       Health System                                  Meridian Health System
                                                                                                      Jersey Shore Medical Center
                                                                                                      1945 State Route 33
                                                                                                      P.O. Box 397
                                                                                                      Neptune, NJ 07754-0397




                    November 7, 2000


                    State of Maryland Board of Physician Assurance
                    4201 Patterson Avenue, P.O. Box 2571
                    Baltimore, Maryland 21215


                    RE: John Charles Nosa Akoda
                        aka John-Charles Nosa-Igberase Akoda
                        aka Charles Johnbull Nosakhare Akoda
                        aka Charles N. Akoda
                        aka Charles J. Akoda


                    To Whom It May Concern:

                    We have discovered in the file of John Charles Nosa Akoda, M.D., a third-year resident
                    in Internal Medicine at Jersey Shore Medical Center, an application for initial medical
                    licensure in the State of Maryland. That application includes a Social Security Number
                    which Dr. Akoda has stated is not his own.

                    Having earlier suspended Dr. Akoda we have now made a decision to terminate him
                    effective November 21, 2000, for reasons as specified in our letter (and attachment) to the
                    New Jersey State Board of Medical Examiners. Dr. Akoda was afforded his due-process
                    rights of appeal of his termination, but the time for receipt of such an appeal has now
                    been exhausted.

                    Very truly yours,


                    Gpnee thare deves H. a                             Hh/ MU
                    Anna Marie Sesso, M.D., M.P.H.
                    Associate Director of Academic Affairs


                     Copy to: New Jersey State Board of Medical Examiners




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                Exhibit 35




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                      EDUCATIONAL COMMISSION                                       ;24 Market Street
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                                                                                  • 5-386-5900 215-386-9767 Fax
                                                                                     vw.ecfmg.org


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Personal and Confidential
Via Federal Express                                      (.1•••    „., •

                                                                  November 22, 2006

Charles A. Francis, M.D.
Department of the Air Force
1st Medical Operations Squadron . .
Langley AFB, VA 23665-2080

                                       Re: Dr. John Nosa Akoda
                                       USMLETWECFMG® Identification No. 0-553-258-5

Dear Dr. Francis:

       am enclosing a copy of a "Letter of Recommendation" that Dr. John Nosa
Akoda ,submitted to the Educational Commission for Foreign ffetlical Graduates
(ECFME7') Electronic Residency Application Service (ERAS).

      Kindly write to me as soon as possible to advise whether the enclosed letter is
authentic. Please fax a copy of your letter to me at (215) 386-9767.

      In addition, please provide me with any biographic information you may have
concerning Dr. Akoda such as; date of birth, medical school and medical school
graduation date.

       Thank you for your assistance in this matter. If you have any questions or need
additional information, please contact me. My telephone number is (215) 823-2277, my
fax number is (215) 386-9767 and my email address is bkellvRecfmg.ord.


                                                        Sincerely,




                                                        William C. Kelly
                                                        Director, Credentialing and Record
                                                        Services


/wck
Enclosure


    ECFMG0 is an organization committed to promoting excellence in international medical education,
                                                                                             ECFMG-000647

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                                               DEPARTMENT OF THE AIR FORCE                 OCT 0 5 2006
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                                                   LAN,GLEY AIR FORCE BASE, VA      -Sri     ERAS
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                                                                             757-225-1616

                                                                             October 1,2006
              Re: John- Charles Nosa Akoda M.D.

                                         LETTER OF REFERENCE


             I am very pleased to write this letter of reference on behalf of the above
             named Physician.
             Dr Akoda, "CHUCK" as we know him worked with me as an assistant from
             July 2005 to date.
             Hiss nedical knowledge is outstanding, his application to his ,d4uties excellent
             and'his interaction with patient and staff tremendously excellent to say the
             least.
             He is very well liked by staff and patient.
             I have personally observed and supervised this physician on numerous
             occasions, He stood out compared to my other assistants in terms of
             knowledge base and enthusiasm to learn and work.
             It is my sincere opinion that he will be an asset to whatever program he is
             accepted into.
             I have no reservation whatsoever in recommending him for his postgraduate
             pursuit.
             Feel free to contact me at the above number 757- 764-4017 if you need.
             more information.

             Yours Sincerely,
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                                                                                 ERAS Support Services
             Charles. A .Francis M.D.
             (Dept Of Obstetrics and G necology 1st FW LAFB)

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                       EDUCATIONAL COMMISSION FOR                                   3624 Market Street
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                                                                                    215-386-5000 1 215-386-9767 Fax
                                                                                    www.ecfmg.org



Personal and Confidential
Via Federal Express

                                                                 November 22, 2006

A.O. Roberts, M.D., MB.BS., F.R.C.S.
Department of Obstetrics and Gynecology
University of lbadan
Ibadan, Nigeria

                                         Re: Dr. John Nosa Akoda
                                         USMLET"/ECFMG® Identification No. 0-553-258-5

Dear Dr. Roberts:

     I am enclosing a copy of a "Letter of Recommendation" that Dr. John Nosa
Akoda submitted to the Educational Commission for Foreign Medical Graduates
(ECFMG) Electronic Residency Application Service (ERAS).

      Kindly write to me as soon as possible to advise whether the enclosed letter is
authentic. Please fax a copy of your letter to me at (215) 386-9767.

      In addition, please provide me with any biographic information you may have
concerning Dr. Akoda such as, date of birth, medical school and medical school
graduation date.

       Thank you for your assistance in this matter. If you have any questions or need
additional information, please contact me. My telephone number is (215) 823-2277, my
fax number is (215) 386-9767 and my email address is bkelly@ecfnig.ora.


                                                         Sincerely,




                                                         William C. Kelly
                                                         Director, Credentialing and Record
                                                         Services


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Enclosure


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       PHOFESS011 BABATUNDE OSOTIMEHIN                                                Cables 8. Telegram: UNIVERSITY IBADAN
       MD (81rm.) FMC Path. FWACP. FRCP (Lond)                                        Telephone: I BADAN UCH 400010-400029
       SECRETARY:                                                                                EMS% 3119, 3122, 3267
       MR. C. 0. AR OWOLO; J.P, LLB (Load.). 44. A.. (Illinois.)                                                                        w
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       OUR REF:
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                                           FACULTY OF CLINICAL SCIENCIES li DENTISTRY
                                                                      - Dip. A.S.S., Dip. A.B.T.S., FACS F.W.A.C.S., P.M.C.S.
                DEAN: • PROFESSOR 0. A. AD EDO M.D., BS. (M. F.R.C.S: C..




      SUB-DEANS:                                                        Dept of Obstetrics and Gynecology
                                                                                     University 011badan.
      (Postgraduate)
      Dr..F. omokhodIon                                                              20 August, 2006.
      MB.BS. (lb). M.Se. (Lend.). Ph.D.
      (Lond.) F.W.A.C.P.

                     V
      (Undergraduate) ‘,                         oFJqlm-Charles
                                             RE: Dr       -     Nosa
                                                                 ~
                                                                     Akoda,                          ww

      Dr. S. Kediri                          Candidate Number 36682
      M.8., D.S. (lb.), F.M.C.P. ('St.),
      F.W.A.C.P.
                                             LETTER OF ATTESTATION TO POSTGRADUATE STUDIES
  (DENTISTRY):
                                            The Doctor named above was admitted to the Residency program in
  Dr. G. A. Aderinokun                      the departmentof Obstetrics and Gynecology as a PGY-I on
  B.D.S. (lb.) M.P.H. (IJ.C.L.A.)
                                            30 June 1990.
                                            He completed a total of two calendar years and left on his own
  (FACULTY OFFICER):                        Volition on 31 July 1992 befbre completing the entire program.
  E. B. Famewo (Mrs)                        While he was a Resident, he conduated himself with utmost dignity.
  D.P.A. (1(e). D.S.S. (Toronto)
                                            He was well ahead of his peers in terms of intellect. His attitude
                                            towards learning was very commendable. His scores on the
                                             Resident's annual aptitude test was in the 99th percentile.
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                                            Pleasefeelfree to contact my office if more Information is required


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Personal and Confidential
Via Federal Express

                                                                November 22, 2006

Phil Robertson, M.D.
Maxicare, Inc.
P.O.Box 5036
Laytonsville, MD 20882

                                        Re: Dr. John Nosa Akoda
                                        USMLETM/ECFMG® Identification No. 0-553-258-5

Dear Dr. Robertson:

     I am enclosing a copy of a "Letter of Recommendation" that Dr. John Nosa
Akoda submitted to the Educational Commission for Foreign Medical Graduates
(ECFMG) Electronic Residency Application Service (ERAS).

      Kindly write to me as soon as possible to advise whether the enclosed letter is
authentic. Please fax a copy of your letter to me at (215) 386-9767.

      In addition, please provide me with any biographic information you may have
concerning Dr. Akoda such as, date of birth, medical school and medical school
graduation date.

       Thank you for your assistance in this matter. If you have any questions or need
additional information, please contact me. My telephone number is (215) 823-2277, my
fax number is (215) 386-9767 and my email address is bkelly@ecfrng.org.


                                                         Sincerely,




                                                         William C. Kelly
                                                         Director, Credentialing and Record
                                                         Services


/wck
Enclosure



     ECFMG® is an organization committed to promoting excellence in international medical education.

                                                                                              ECFMG-000649

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                                                              Page 77 of
                                                                      of 77




               pov                                  ope
                   MAXICARE, INC.
Ke   Re        TicUWRG ' • Soa                     .r Thoma

                                                                                       3.4            to   Anne
                                                                                       28 September, 2006
                                                                                                                   ’
                                                                                                                           '
                                           DR JOHN-CHARLES AKODA

                                           LETTER OF RECOMMENDATION'
      '                                    a                        pena      Re ate    et
      CI hereby write a letter of recommendation for the Doctor referenced
       above.
      I                                        .              aan
       I have known.this doctor for approximately 5years through which he
      \ worked for my establishment-Maxi care Inc. in various categories
      i                                           Fe
        including registered Nurse which licensure he obtained through our
      «corporation.

      pot                           1 mace          “         so
      ,He was very knowledgeable
                               wa                medicine especiplir
                                 in the field ofnae
      reproductive medicine which he was quick to unassumingly reminded me
      tthat he had a ry
                      2year residency program in hence he knew a little more
      \than the rest of
      7               . the staff.
                               ,                                       epee     eh      tttana
       He was very modest, very professional with his staff and patients,
      ‘everybody loved him.

      |He had a very voracious                                Ftc
       He was usually the .first to arrive at the office and the last to leave.
                                    appetite for learning and he is fwell verse about
      r
       life in general.
      \                                                           Pa          tee   ete eee            alta
      Without hesitation or reservations, I write this letter knowing what a brilliant
      Physician he is.                                             1

      For questions, please contact me at 301-802-0481.

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     P.O.BOX 5036. Laytonsville, Maryland 20882.. Te1:301-802-0481 Fax:757-238-ValviG-0006s2
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Case: 22-1998 Document:Document
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                                             12/10/21    09/08/2022
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                Exhibit 36




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Case:
Case  22-1998 5629-JDW
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      2:18-cv-05629-JDW    22-5 Page:
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                                                                  Washington,       20060          202/745.3731 fax
                                                                                                  202/745·3731   fax


HOWARD
HOWARD
UNIVERSITY
UNIVERSIT Y
HOSPITAL
HOSPITAL



    March 16, 2007
    March 16, 2007

    John-Charles   Akoda, M.D.
    John-Charles Akoda,   M.D.
    P.O. Box 744
    P.O. Box   744
    Carroiton,  VA 23314
    Carrolton, VA   23314

             John-Charles Akoda:
         Dr. John-Charles
    Dear Dr.
    Dear                  Akoda:
                       ame        -     _—          -
      Department of
  The Department
 The                   Obstetrics and
                   of Obstetrics         Gynecology at
                                    and Gynecology     at Howard    University is
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        contact Dr.
 Please contact
 Please         Dr. Grace    Ansah at
                     Grace Ansah        Howard University
                                     at Howard               International Services
                                                 University International  Services
 202.806.7517,
 202.806.751       there is
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               Ms. Angela      Taylor, at
                     Angela Taylor,      at 202.865.417
                                             202.865.4171    and mail
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Congratulations
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                                the Howard
                             to the                   Hospital family.
                                           University Hospital family.


Sincerely,
Sincerely,

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Olanrewaju Adeyiga,
Olanrewaju             M.D.
      and Program
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       Case22-1998   Document: 22-5
            2:18-cv-05629-JDW       Page:
                               Document 86 1189    Date Filed:
                                            Filed 12/11/21     09/08/2022
                                                            Page  1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                  Civil Action No. 18-5629
                 Plaintiffs,
                                                  Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                 Defendant.



      DEFENDANT EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                  GRADUATES’ NOTICE OF EXHIBITS


       Filed along herewith, please find Exhibits 37 to 76 to Defendant Educational Commission

for Foreign Medical Graduates’ Statement of Undisputed Material Facts (ECF No. 85).



 Dated: December 10, 2021                      /s/ Matthew D. Klayman
                                               Brian W. Shaffer, PA Bar No. 78851
                                               Elisa P. McEnroe, PA Bar No. 206143
                                               Matthew D. Klayman, PA Bar No. 319105
                                               MORGAN, LEWIS & BOCKIUS, LLP
                                               1701 Market Street
                                               Philadelphia, PA 19103-2921
                                               Telephone:     +1.215.963.5000
                                               Facsimile:     +1.215.963.5001
                                               brian.shaffer@morganlewis.com
                                               elisa.mcenroe@morganlewis.com
                                               matthew.klayman@morganlewis.com

                                               Attorneys for the Educational Commission for
                                               Foreign Medical Graduates




                                                                                      JA3079
          Case:
           Case22-1998   Document: 22-5
                2:18-cv-05629-JDW       Page:
                                   Document 86 1190    Date Filed:
                                                Filed 12/11/21     09/08/2022
                                                                Page  2 of 2




                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



Dated: December 11, 2021                      /s/ Matthew D. Klayman
                                              Matthew D. Klayman




                                                                                         JA3080
Case:
 Case22-1998    Document: Document
      2:18-cv-05629-JDW   22-5 Page:
                                   86-11191    Date Filed:Page
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                 Exhibit 37




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                 JOHN-CHARLES
                 JOHN-CHARLES NOSA
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                                   AKODA, MD
                                          MD
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 DEPARTMENT
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          THROUGH OUR TRAINING
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     DIRECTOR. GRA         ATE MEDICAL EDUCATION                                                                                                   PRESIDENT OP THE UNIVERSITY

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                                   86-21193    Date Filed:Page
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                 Exhibit 38




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                  Case:
                  Case  22-1998   Document:Document
                   Case2:18-cv-05629-JDW
                        2:18-cv-05629-JDW   22-5 Page:
                                           Document  86-21194
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P.O. Box
     Box 10832
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                                                                                                       AKODA,
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                                                                                                       AKODA, CHARLES
                                                                                                                        3
                                                                                                              CHARLES JOHN
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                                                                                                       For authorized use by:
Chantilly,
Chantilly, VA 20153-0832                                                                                        BOARD OF
                                                                                                       AMERICAN BOARD OF OB/GYN
                                                                                                                         OB/GYN

https://www.npdb.hrsa.gov
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                                                     AKODA,CHARLESJOHN
                                                     AKODA, CHARLES JOHN
                                        DEPARTMENT
                                        DEPARTMENT OF HEALTH
                                                      HEAL TH PROFESSIONS
                                                              PROFESSIONS
 STATE LICENSURE ACTION                                                                                      Date of Action: 04/25/2017
                              Initial
                              Initial Action                                                         Basis for Initial Action
 - SUSPENSION OF LICENSE                                                           - CRIMINAL CONVICTION


   REPORTING
A. REPORTING                                                Entity
                                                            Entity Name:
                                                                   Name: DEPARTMENT OF
                                                                                    OF HEALTH PROFESSIONS
   ENTITY
   ENTITY                                                       Address: 9960
                                                                         9960 MAYLAND DR STE 300
                                                                                         STE 300
                                                                              PERIMETER CENTER
                                                                              PERIMETER CENTER
                                                        City, State, Zip:                  23233-1485
                                                                              RICHMOND, VA 23233-1485
                                                                              RICHMOND,
                                                               Country:
                                                        Name or Office:             L. BANNING,
                                                                              JAMES L. BANNING, DIRECTOR
                                                   Title or Department:
                                                            Department:       ADMINISTRATIVE PROCEEDINGS DIVISION
                                                                                                         DIVISION
                                                             Telephone:        (Bo 4) 367-4402
                                                                              (804)    3 67-4 4 02
                                     Entity
                                     Entity Internal Report
                                                     Report Reference:
                                                             Reference:       177 61 B
                                                                              177618
                                                        Type of Report:
                                                                 Report:      INITIAL
                                                                              INITIAL

a.SUBJECT
B. SUBJECT                                                Subject Name:       AKODA, CHARLES
                                                                              AKODA, CHARLES JOHN
    IDENTIFICATION
   IDENTIFICATION                                 Other Name(s) Used:
    INFORMATION
   INFORMATION                                                    Gender:
                                                                  Gender:     UNKNOWN
   (INDIVIDUAL)
   (INDIVIDUAL)                                             Date
                                                            Date of Birth:
                                                    Organization Name:
                                                                   Name:
                                                          Work Address:
                                                         City, State, ZIP:
                                                     Organization Type:
                                                         Home Address
                                                                 Address:
                                                         City, State, ZIP.
                                                                      ZIP:
                                                               Deceased:
                                                               Deceased :     NO
                   Federal Employer Identification
                                        Identification Numbers (FEIN):
                                     Social Security Numbers
                                                       Numbers (SSN):
                                                                   (SSN) :
                  Individual
                  Individual Taxpayer Identification Numbers
                                                        Numbers (ITIN):
                                  National Provider
                                             Provider Identifiers
                                                        Identifiers (NPI):
                                                                    (NPI) :
                    Professional
                    Professional School(s) & Year(s) of Graduation:                              (1987)
                                                                              BENIN U-NIGERIA (1987)
                               Occupation/Field of Licensure
                                                      Licensure (Code):       PHYSICIAN (MD)
                                                                              PHYSICIAN     (MD)
                          State License
                                License Number, State of Licensure:           o 1012 500 81, VA
                                                                              0101250081,
                                                                Specialty:    UNSPECIFIED
                 Drug
                 Drug Enforcement
                       Enforcement Administration (DEA)(DEA) Numbers:
                   Unique Physician
                           Physician Identification
                                       Identification Numbers (UPIN):
                                                                  (UPIN):
   Narne(s)                    Entity (Entities)
    Name(s) of Health Care Entity     (Entities) With Which Subject Is  Is
   Affiliated or Associated (Inclusion               Imply Complicity in
                             (Inclusion Does Not Imply
                                                 the Reported
                                                      Reported Action,):
                                                                 Action.):
                                         Business
                                         Business Address of Affiliate:
                                                        City, State, ZIP:
                                             Nature of Relationship(s):




                                                   DOCUMENT - FOR
                                      CONFIDENTIAL DOCUMENT   FOR AUTHORIZED USE
                                                                             USE ONLY



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                    Case:
                    Case  22-1998   Document:Document
                     Case2:18-cv-05629-JDW
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                                             Document  86-21195
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Chantilly, VA 20153-0832                                                                                    AMERICAN BOARD OF OB/GY0
                                                                                                                              OB/GYN
https://www.npdb. hrsa.gov
https://www.npdb.hrsa.gov

C. INFORMATION                            Type of Adverse Action:                STATE LICENSURE
   REPORTED                                        Basis for Action:
                                                             Action :                                 ( 19)
                                                                                 CRIMINAL CONVICTION (19)
                                      Name of Agency or Program
                                     That Took the Adverse Action
                                          Specified in This Report:              DHP
                                                                                 DHP OF
                                                                                     OF VA
                                                                                        VA ACTION
                                                    Adverse Action
                                           Classification Code(s):                                     (1135)
                                                                                 SUSPENSION OF LICENSE (1135)
                                          Date Action Was Taken:                 04/25/2017
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                                                                                 04/25/2017
                                                  Length of Action:
                                                             Action :            INDEFINITE
                                                Monetary Penalty,
                               Total Amount of Monetary
                                  Assessment and/or Restitution:
                                                        Restitution :
                         Is Subject Automatically Reinstated After
                        Is
                            Adverse Action Period IsIs Completed?:               NO
                                                                                 NO
          Description of Subject's Act(s) or Omission(s) or Other
          Description
  Reasons for Action(s) Taken and Description of Action(s) Taken
                                                              Entity:
                                              by Reporting Entity:                      Action: Mandatory Suspension.
                                                                                 Agency Action:            Suspension.    Virginia License
                                                                                 Number: 0101250081.
                                                                                 Number: 0101250081.       A printable copy of the order
                                                                                           this case
                                                                                 detailing this  case can be found by selecting
                                                                                                                       selecting the
                                                                                 license look up at the Virginia Department of Health
                                                                                 Professions website.
                                                                                 Professions  website. When you get to the license look up
                                                                                 page, enter
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                                                                                                        Information heading,
                                                                                 the Additional Public Information   heading, click
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                                                                                 and follow the  links to access
                                                                                                          access the Order.
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                                                                                               you,
     Is the Adverse Action Specified in This Report
                                             Report Based
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Subject's Professional Competence or Conduct, Which Adversely
                 Affected, or Could Have Adversely Affected, the
                                                                  Nn
                                Health or Welfare of Patient(s)?: NO
                                     D
                                     0        Subject identified In
                                                                 in Section B has appealed the reported adverse action,
                                                                                                                action .


D. SUBJECT
0.SUBJECT                                If
                                         If the subject identified in Section B of this report has submitted a statement,
                                                                                                               statement, it appears in this section
   STATEMENT



E. REPORT STATUS                         Unless a box below is checked, the subject of this report identified in Section B has not contested this report.


                                         nD    This report has been disputed by the subject identified in Section B.

                                         D    At the request of the subject
                                              U.S.
                                              U.S. Department ,of
                                                                    subJect identified in Section 8,
                                                                                                  B, this report is being reviewed by the Secretary of the
                                                                of Health and Human Services to determine its accuracy and/or whether it complies with
                                              reporting requirements. No decision has been reached.

                                         ri
                                         D    AI
                                              At the request of the subject identified in
                                                                                       111 Section B, this report was reviewed by the Secretary of the U.S.
                                              Department of Health and Human Services and a decision was reached   reached. The subject has requested
                                                                                                                                            teques ted that
                                              the Secretary reconsider the original decision.




                                              CONFIDENTIAL DOCUMENT - FOR AUTHORIZED USE ONLY



                                                                       CONFIDENTIAL                                                 JA3085
                                                                                                                       ABOG_nonparty_000018
                 Case:
                 Case  22-1998   Document:Document
                  Case2:18-cv-05629-JDW
                       2:18-cv-05629-JDW   22-5 Page:
                                          Document  86-21196
                                                   39-10  Filed Date  Filed:Page
                                                           Filed12/11/21
                                                                10/28/19     09/08/2022
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                               D    At the request of the subject identified in Section B, this report was reviewed by
                                    the Secretary of the U.S. Department of Health and Human Services. The Secretary's decision
                                    is shown below:

                               Date of Original Submission:          05/05/2017
                               Date of Most Recent
                               Date         Recent Change:          05/05/2017
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IF. SUPPLEMENTAL
F.
; SUBJECT                      The following information was not provided by the reporting entity identified in Section A of this report. The
    INFORMATION ON
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                               The Data  Bank attempted to notify the Subject Identified in Section B
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This report is maintained under the provisions of: Section 1921   1921
The information contained in this report is maintained by the National Practitioner Data Bank for restricted use under the
                      1921 of the Social Security Act, and 45 CFR Part 60. All information is confidential and may be used only for
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the purpose for which it was disclosed. Disclosure or use of confidential information for other purposes is a violation of federal law
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For additional information or clarification, contact the reporting entity
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                Exhibit 39




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     Mr the following documents to this application:
     1) Amoy of your valid ECFMG =Mai or Fifth Pathway Certificate;

     2) A copy of your medical school diploma and a certified translation;

     3) If you listed an afffiktion above (see * In 10 shovel attach a copy of the Certificate of Medical Education and
        Examinations Taken, Good Conduct Certificate or Intern Certificate. The Mirka must include your name,
        name of the medical school, name of the university, and a airlifted translation.

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                 NOTE: Postgraduate training program cycles usually run from July 1 to June 30. If the dates of your
                 postgraduate training are not within the usual cycle, fall short of the complete cycle, or extend beyond
                 the usual cycle, please attach a complete explanation of why your training was "off-cycle."

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                14. Medical LIC40411119 EXaMil1a01111(WALE, NBME, NBOME, FLEX, FLEX-Weighted Average, Medical Coma of Canada, and licensing exams given
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                    nape, or components of your medical bank* examingion.
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                canna* metal Barsky examination history and scorn directly to tins Board. fn each exardnatIon category below, you MS find
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                the debt} to send your exam results direr:41one Maryland Board of Physkieds. Mw send a copy to each stria Oral has ever issued you a license.
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                             All requests must be made through the NBME kvabisite at httrJ/wirmaihmsora or call 215-590-9592. If you Wok NBME exams but wen
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                  BEEN COMPLETED BEFOREJANUARY 1, 2000.

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                         •      if your hybrid exam included My pat of the NBA£ examination, contact NBME at tiftpdftwmakne.om or cal 215-590-9592 for
                                instructions arid requestthat your Endorsement of Certification ant/your Record of Scams be sent ;greedy to the Maryland Board of
                                Physicists.

                         •      if your hybrid exams Mckided only FLEX and USMLE examinations, request your transcript from the Federation of State Medical
                                SOWN atBYgeffah,202.

                  is. Deming History:
                  a. El I have never hem licensed In the U.S., its territories, or Puerto Rico and have never been licensed or registered in Canada.
                  b.          I lune an application for Hester pending in de lapwing states:IA
                  C. Plans fat below el tenses ever issued to you by a U. S. stateAsnitory or Puerto Rico. Also list all Canadian licenses and registrations.
                  d. Hee any dirciptay action ever been taken against your license7W No a Yes If yes, Meese enclose an explanation.

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16. Cheek YES or NO.
                                 Did you successfully comae* a medical kcansing exam (USMLE. MIME, etc.) withal the 15-year pedal prior to fifing this application?

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                                 Do you have Were certification from, or *thin the past 10 years have you been codified or recertified by, asps:580y board recognized
                                   the Medial Board of Meta Specialties, the Amerlain Osteopathic Association, a the Royal College of Physicians and Surgeons
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           If yea have mused "Er toedktg ache San questions, you MUST lake the Seidel Purpose Ecarninetton. After you submit
           this atadieitIon, contact the Fedstadce of State Mediae Boards al 817-571-2949 and mange to take the SPEX In Ilatyland. and have
           sear sent to the Marginal Board directly.

17. Character and Fitness Questions (Check ether YES or NO)
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   ", If you answered "YES" to any of the questions in item 17, on the following page please list all adverse actions
      taken against you and provide a complete explanation. Attach any supporting documentation that applies
      (copies of all complaints, malpractice claims, adverse or disciplinary actions, arrests, pleadings, judgements,
      or final orders). Sign and date all pages submitted.
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            Phone:
                                                                                                  Applicants Signature                          bed

            21. I agree MA 1al cooperate fully Mit any nest for Inbenation or with any investigation related to my medical practice as a Seined physician in
            the Stale ofhtaryland, including the subpoena cidocuments or records a the inspection of my mediate practice.
           During the period in which my application is    being processed, Ishii inform the Bead with 30 days of arty dame to any answer I originally gam in
           thisEgli, " try arrest or conviction, any                of address many action that oaths based on accusations that nook% be grounds for disciplinary



           Appticat Signature                                                                     Die
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           22. Affidavit To be completed by the applicant in the presence of a notary public after the applicant's pichne has been altachettyllow.

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           I HEREBY CERTIFY that on this              a    rell     day of       A-Alt,AA— 20I r                      before me, a NotaryPit of the State and
           Citynounty aforesaid, personally appeared the Applicant,        e.i.ev4 00           A4-4-ell q            whose kkeness is identifiable as that of
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                           BENIN CITY, NIGERIA


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      having satisfied all the requirements of the University
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                                                      Page  11 of 36
                      EDUCATION AL COMMISSION
                                 for
                     FOREIGN MEDICAL GRADUATES
                                                      CERTIFIES THAT

                                            -   JOHN NOSA AKODA
                             HAS SATISFIED ALL THE REQUIREMENTS OF THE COMMISSION,

                                          SUCCESSFULLY PASSED ITS EXAMINATIONS

                     s tot %       ES AND HAS BEEN AWARDED THIS CERTIFICATE.
                                 71‘
    CERTIFICATE NUMBER    0-553 -30e4


   MEDICAL ocAteLMID     "1"i
                                                                                      CHAIRMAN, BOARD OF TRUSTEES
         BASIC SCIENCE    JUNE 11, 1997           A
      CLINICAL SCIENCE    AUGUST 28, 1996                                                  f.
   ENGUSII EXAMINATION    AUGUST 28, 1996                                        PRESIDE ,CHIEF    CU I% OFFICER
        VALID MOOG%
                         CERTIFICATE NUMBER                                  DATE ISSUED   AUGUST 18, 1997
                              0-553-258-5
                         ENGLISH EXAMINATION
                            August 28, 1996
                          VALID INDEFINITELY




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    HOWARD UNIVERSITY HOSPITAL AND AFFILIATED HOSPITALS .-i:/11{c1 30 GINC3
               WASHINGTON, DISTRICT OF COLUMBIA
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                                    THIS IS TO CERTIFY THAT                      3 To
              JOHN-CHARLES NOSA AKODA, MD
                     HAS SATISFACTORILY COMPLETED FOUR YEARS
                        OF POSTGRADUATE MEDICAL EDUCATION IN


DEPARTMENT OF OBSTETRICS AND GYNECOLOGY
       THROUGH OUR TRAINING PROGRAMS AT HOWARD UNIVERSITY.
                                   JULY I, 2007 - JUNE 30, 2011



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  DIRECTOR, GRA
              j   ATE MEDICAL EDUCATION                           PRESIDENT OF THE UNIVERSITY

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                         BENIN CITY, NIGERIA



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                                                                   MARYLAND BOARD OF PHYSICIANS
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    SurtMenntatFonn                                                  Etskimore, Maryland 212154095
    axe
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                                                  VERIFICATION OF POSTGRADUATE MEDICAL EDUCATION
     pad a,      I A.PPLICANT:Complete Part 1 and sign where indicated in the Pat 2 insauctians. Print your name on top of the reverse
                    send aim to the director of each postgraduate training progrem you attended. Be ewe b copy both sides.

    & Apatesnrs Name:                       KobA                       Clic\
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     3.Oid the appicalt prelidpale in all of the components of the Mining as required by an awed*/ body?
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     4.Did the applicant successfully complete all n3quirements of each year et Waning?
                   YES lip No              Comments (attach signed riot dated mentions as needed):



     &Dieing the MlfIlicanrsyeals)of training, did the applicant have any break in haning?
                 NO            DYES       Comments (attach signed and dated addidons as waded)                                                            JA3100
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         18 a. If you answered "YES" to any of the questions in Item 17, please provide an explanation below and attach all
               complaints, pleadings and judgments. Attach additional signed and dated pages as needed.

         18 b. If you answered yes to 176 • tinsmith* following questions:

                1. Total number of malpractice claims aver filed In which you were named as a defendant?

                2.   Total number of malpractice claims ever paid (settlement/judgment) In which you were named as a
                     defendant?

                3. Within the last SO months (5 years) provide the following:
                   Total number of medical malpractice claims filed           ; paid (settlement/ judgment)
                   or dismissed          • in which you were named as a defendant.

                4.   For a claim filed at any time, but paid (settlement/ judgment) within the last 80 months (5 years), list each
                     claim by claimants name; describe the disposition of each claim; and provide a copy of the complaint
                     pleading, and judgment of each medical malpiacne*




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     S. Chronology of Activities; DO NOT ATTACH RESUME OR CURRICULUM VITAE
        Beginning with the date you completed medical school and continuing through the present, list chronologically all of
        your activities. Account for all periods of time Including each postgraduate training program you attended, regardless
        of whether or not you completed the program; each fob you held, regardless of whether or not It was medically related
        or you were compensated; and any period of unemployment.
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 use or attach a separate sheet Please sign and date each sheet you attach.




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                                                                                                                            State Board Code:
            MARYLAND BOARD OF PHYSICIANS                                                                                              021
            WILLIAM CALHOUN                                                                                                 Please include this
            4201 PATTERSON AVE., 4TH FLOOR                                                                                  number on all requests
            BALTIMORE, MD, 21215-0095




                                ECFMGO CERTIFICATION STATUS REPORT
      USMLEDVECFMG Identification Number 0-553-258-5
      Applicant's Name: JOHN NOSA AKODA
      Applicant's Date of Birth: 01/01/1959
      ECFMG Certified:Yes
               Certificate Issue Date: 08/18/1997
               English Test Valid Through: Valid Indefinitely

      Passing Performance on Medical Science Examinations:                                  Two Digit            Three Digit
      Examination                         Date                                               Score                 Score
      USMLE Step 1                                        11 Jun 1997
      USMLE Step 2 OK                                     28 Aug 1996
      Most Recent Passing Performance on Clinical Skills Examination:
      Examination                          Date
      Not Required for Certification
      Most Recent Passing Performance on English Test AUG 1996
      Name of Medical School and Country:University of Benin College of Medicine, Benin, NIGERIA ✓
A
      Degree Year 1988)
      t Medical Education Credentials Status: Complete
      This information is reported directly from ECFMG computer records and is current as of 09/14/11.


     How to Verify the Authenticity of this Report:
     This report was issued to the named recipient on the date shown below. To verify the authenticity of this report, visit
     https://cvsonlIne2.ecfmg.orgiverlfyiberify.espx and enter the unique verification code at the bottom of the report The information contained in this report ti
     current as of the issue date. Any changes to the Physician's status after the Issue date wit not be reflected, and you ore encouraged to request an
     updeted moon.
    The purpose of this Status Report is to indicate whether this individual Is certified by ECFMG. it reflects only examinations slat were used to fulfill
    requirements for ECFMG Certification. The most recent passing performance on the clinical skills examination is reflected. regardless of whether this
    individual was required to takes clinical skills examination for ECFMG Certification. This Status Report is not a complete score history of all examinations
    for tNs individual. This Status Report does not include examinations that were taken but not passed. Furthermore, if this individual passed examinations
    that were not used to fulfill the requirements for ECFMG Certification. these examinations are not included.
    • To obtains complete history of and scores for USMLE Step examination(s) that may have been taken by this individual, contact the appropriate
    registration entity to request a USMLE transcript.
      t Since July 1986, ECFMG has verified medical school credentials directly with the medical schools, or through a reasonable alternative that has been
          approved by the ECFMG Medical Education Credentials Committee.
     Important Note:
    Requesting organizations must normally secure and retain the physician's signed authorization to obtain certification information.
    Organizations may not resell the information or make it available to any party beyond the initial request as authorized by the physician.
    The information may only be used to confirm ECFMG certification for the purpose for which the physician provided authorization.
     Report Verification Code: DXDOC14139F
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6.        Did the appacanthat any physical or mantel problem that affected the appicant's ability to practice medicine during the period of training?
                                       (Mee please give a detailed explanation*



7.        Was airy ec5anIS,, aganstlhe apical by any training program, hospital, medical board, licensing authority, or court? Such actions Indy'',
          but are not kneed to investigations, katations ofprivaeges or special conditions, requirements imposed for academic incarpettence, disciplinary
          actions, probationary actions, etc.

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5.        In each year et taring, did the applicant dernonstratb suftident wager* aid dinicEd ffiiilyb qualify br advancement bathed conditional or
          probutiocury slates b the next year and next progressive level of responsibility in a designated speciatty program?

     [21     YES        Ei     NO     Comments:*




                                                 Control Nor 111179                08/09/20 I I
                                                 Akodn. Charles John Nosa
                                                 IML3-Accredited Training Programs
                                                 Received: William Calhoun
                                                 Analyst: Dierdra Rufus




     If            is not sulTIcleut, please attach a signed and dated detailed explanation.


 Attestation: I attest that the information I have provided regarding the applicant is true, accurate, and complete according
 to al available records.


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            GRADUATES OFFOREIGN MEDICAL SCHOOLS (Schools not in the US. or ItsMotorSe, Puerto Rico, or Canada)
            each the following documents to this spoliation:
            1) A copy of your valid SCRIM cartificate or Fifth Pathway Certificate;

            2) A copy of your medical school diploma and a certified translation;

            3) if you listed an affiliation above (see • in 10 above), attach a copy of the Certificate of Medical Education and
               Examinations Taken, Good Conduct Certificate or Intern Certilicate. The certificate must Include your name,
               name of the medical school, name of the university, and a certified Mastodon .

            If your ri me is not Whim the sae wry on ad documents, you must submit doaimfl nto wilt how re why Yrs name dins
            and submit one of the folios* document to support dm name change; Passport, MS mid, birth carlikate, cowl dominant, marriage
            lit nee, cart Sass

      11.      How have you satisfied Maryland's organtriontlEnglish language ccomMency nrouirarnorast
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               *piratica)
               1. 1;i( !graduated tram a medical school or, after at least three years of attendance, a high school (includes GED), undergraduate
                       college, or university whore English was the only tangoes of insituetion throughout (mu must               tiotitimentation); or

                b. 0       lusted either!: the TOEFL or 0 the ECFMG English tea alter December 31, 1973 AND                                 TSE or 0 oft
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                                    .14 Interview (DPI), please request that Education Testing Service andlor Longtime T                   senketHeation
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                  DO NOT MAIL THIS TO THE BOARD. RETAIN THIS APPLICATION FOR YOUR RECORDS.

Application for renewal of:    Physicians
1. License Number D0073049 DE Charles John Nosa Akoda

         Individual National Provider Identifier NPI: 1952664278          ❑ I do not have an NPI
 2.      This is the NPI entered in the field for Rendering NPI on a claim (10 digit number)
         (i!* NPI Information


3. EMAIL ADDRESS: Please enter your most current email address where we may contact you regarding your license. •
                           adcfrancis@aol.com

Address Changes (Non-Public and Public):                                                       •
You must submit a Public and Non-Public address. If either address has changed, please correct here.
Your address(es) on the online renewal application is current as of July 1, 2014. If you requested any changes to your address(es) that are not reflected on this application,
please make the change at this time. These changes will be updated in the main database.

4a. Non-Public Address: This address is for Board use only and is where your license will be mailed. However, if no
public address is listed, this address will also be made available to he public.
Street
Street (2)
Street (3)
City

State
                          f selecting a country other than USA or Canada, please choose "Foreign" as your state
ZipCode
Country

4b. Public Address: This address, usually your office, is available to the public and will be posted on the Internet. If you do
not designate a public address, your non-public address will be posted on the Internet.
 ❑ Check if Public Address is the same as your Non-Public address (the address above will be automatically entered below.)
Street                14909 Downey Court
 Street (2)
 Street (3) -
 City                     Bowie
                          Maryland                                    V
 State
                          f selecting a country other than USA or Canada, please choose "Foreign" as your state
 ZipCode                  20721
 Country                  United States

 5. Do you give the Maryland Board of Physicians permission to report your date of birth to                                      ()Yes ONo
 the Federation of State Medical Boards' Physician Data Center? See instruction



        CHARACTER AND FITNESS (Question 6)
        6. The following questions pertain to the period since July 1, 2012. If this is your first renewal, these questions
        apply to the period commencing with the date of your initial licensure or reinstatement. Check the box YES or NO
        next to each question. If you answer Yes; provide an explanation at the prompt
        * All questions must be answered Yes or No.

                             ' ias any licensing or disciplinary board of any jurisdiction (except this licensing board), or any entity of the
                             armed services denied your application for licensure, reinstatement or renewal, or taken any action against
         Yes     No
                             your license, including but not limited to reprimand, suspension, revocation, a fine, or nonjudicial punishment,
         NO                  for an act that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?



                             "aye any complaints, investigations or charges been brought against you or are any currently pending in any
                             r _risdiction by any licensing or disciplinary board (except this licensing board) or an entity of the armed
         Yes     No
                             services?
         NO




                                                                                                                                                                         JA3106
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              c. Has your application for a medical or health professional license been withdrawn for reasons that would be
                 grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
'yes    NO

NO

                "is an investigation or charge been brought against you by a hospital, related Institution, or alternative health
                __re system that would be grounds for action under Md. Code Ann. Health Occ. §14-404?
Yes     No
NO

                   ve you had any denial of application for privileges, failure to renew your privileges, or limitation, restriction,
                 suspension, revocation or loss in privileges in a hospital, related health care facility, or alternative health care
Yes     No
                 system that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
NO


                 Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                 diversionary disposition of any criminal act, excluding traffic violations?
Yes     No
NO

  —      -    ^. Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                 diversionary disposition for an alcohol or controlled dangerous substance offense, including but not limited to
Yes     No
                 driving while under the influence of alcohol or controlled dangerous substances?
NO


                 ',re there any pending criminal charges against you in any court of law, excluding minor traffic violations?
Yes     No
NO
                 Do you have a physical or mental condition that currently impairs your ability to practice medicine?
Yes     No
NO
                 Has the use of drugs and/or alcohol resulted in an impairment of your ability to practice your profession?
Yes     No
NO
              fr no you illegally use drugs?
Yes     NO
NO
                 Have you surrendered or allowed your license to lapse while under investigation by any licensing or
                 disciplinary board of any jurisdiction or an entity of the armed services?
 Yes    No
 NO

                - 'lave you been named as a defendant in a filing or settlement of a medical malpractice action?
 Yes No
                  I was a Resident rotating through Prince Georges Hospital in 2010 when a child delivered had Brachial nerve
 YES              palsy. All staff including Residents involved in the delivery were name in the law-suit. I am being represented
                  by Attorneys from Howard Residency program which is my training institution. The law-suit is still in its
                  preliminary stages

               n. Has your employment by any hospital, HMO, related health care or other institution, or military entity been
                  terminated for any diciplinary reasons?
 Yes    No
 NO

                  " -ve you voluntarily resigned from any hospital, HMO, or other health care facility or institution, or military
                  ,entity while under investigation by that institution for disciplinary reasons?
 Yes     No
 NO

               p. Are you in default of a service obligation resulting from your receipt of state or federal funding for your
                  medical education?
 Yes     No
 NO

                  Have you failed to make arrangements to satisfy any state or federal loans that financed your medical
                  education?
  Ye;    No


                                                                                                                                 JA3107
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   CONTINUING MEDICAL EDUCATION (Question 7)
cfr a. CME met. I have completed and have been granted credit for at least 50 credit hours of Category 1
    continuing medical education activities within the two-year period immediately preceding submission of
    this application for license renewal. Physician is obliged to obtain requisite documentation of CME activity
    and maintain documentation for a period of six years for possible inspection by the Board. For additional
    information on CME, see Maryland Regulations, 10.32.01.09.


      b. First Renewal & NPO. I am exempt from CME during the renewal period because this is my first
      renewal after initial medical licensure in Maryland and I have completed the Board's New Physician
      Orientation Program. The New Physician Orientation is for NEWLY licensed physicians only. If you were
      licensed prior to September 30, 2012 or reinstated, this does not apply to you. See New Physician
      Orientation Program web site. Your license will not be renewed unless you have completed the
      orientation.


      c. First Renewal after reinstatement. I am exempt from CME during the renewal period because this is
      my first renewal after reinstatement of my medical licensure in Maryland.


    PERSONAL AND PROFESSIONAL INFORMATION (Questions 8-17)
8a.. Gender 0 Male 0 Female


8b. RACE/ETHNIC IDENTIFICATION - PLEASE CHECK ALL THAT APPLY
Are you of Hispanic or Latino origin? (A person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin, regardless of race.)
Select one or more of the following racial categories:
     ierican Indian or Alaska Native (A person having origins in any of the original peoples of North or South America, including Central America,
   and who maintains tribal affiliations or community attachment.)                                                                     .
        Ian (A person having origin in any of the original peoples of the Far East, Southeast Asia, or the Indian subcontinent Including, for example,
    ..,ambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.)
         ( or African American (A person having origins in any of the black racial groups of Africa.)

        ive Hawaiian or other Pacific Islander (A person having origins In the original peoples of Hawaii, Guam, Samoa, or other Pacific Islands.)

       ite (A person having origins In any of the original peoples of Europe, the Middle East, or North Africa.)

       ler


9. Are you employed by the Federal Government?
 0 Yes ®No

10. Please indicate if you are currently in: a) a residency program accredited by the Accreditation Council for Graduate Medical
Education or an internship or residency program approved by the American Osteopathic Association; orb) a fellowship
(subspecialty) training program accredited by the ACGME.

    If you answer Yes to either a. or b. you will not be required to complete the Practice Information section (Questions 15-26) of
this application.

a. In an accredited/approved internship or residency program?
  0 Yes ®No

 b. In an accredited fellowship (subspecialty) training program?
      Yes ® No

 11a. Which best describes your current area(s) of concentration:
 Primary Concentration             Obstetrics & Gynecology                                              V
 Secondary Concentration           None


                                                                                                                                               JA3108
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11b. SPECIALTY BOARD CERTIFICATION: List up to two (2) specialty areas only if certified by a recognized board of the
American Board of Medical Specialties (ABMS) or the American Osteopathic Association (AOA).
Primary Certification          Obstetrics & Gynecology
Secondary Certification        None


12. Please select all states (excluding Maryland) where you hold a medical license.
 ❑ Alabama                ❑ Florida ❑ Kentucky     ❑ Nebraska       ❑ Oklahoma       0 Utah
 ❑ Alaska                 ❑ Georgia ❑ Louisiana    ❑ Nevada         ❑ Oregon         ❑ Vermont
 ❑ Arizona                ❑ Guam ❑ Maine           ❑ New Hampshire ❑  Pennsylvania     Virginia
 ❑ Arkansis               ❑ Hawaii ❑ Massachusetts ❑ New Jersey     ❑ Puerto Rico    0 Virgin Islands
 ❑ California             ❑ Idaho ❑ Michigan       ❑ New Mexico     ❑ Rhode Island ❑ Washington
 ❑ Colorado               ❑ Illinois 0 -Minnesota  ❑ New York       ❑ South Carolina ❑West Virginia
 ❑ Connecticut            ❑ Indiana ❑ Mississippi  ❑ North Carolina ❑ South Dakota ❑ Wisconsin
 ❑ Delaware               ❑ Iowa     ❑ Missouri    ❑ North Dakota 0 Tennessee        ❑ Wyoming
 ❑ District of Columbia   ❑ Kansas ❑ Montana       ❑ Ohio           ❑ Texas


13a. How many weeks per year do you work?         48

13b. Please indicate below how the hours are allocated in your typical work week . The sum of these hours should reflect the
number of hours in your typical work week. Definitions of these categories are listed below.

 0  If you allocate 0 hours per week to a. Patient Care Related Activities you will not be required to complete the Practice
Information section (Questions 15-26) of this application.

Patient Care Related Activities include seeing patients, writing prescriptions, patient-related clinical activities (such as pathologic
and radiologic assessments), maintaining patient records, obtaining and reviewing test results, arranging referrals, consulting with
other providers about patients, talking with a patient's family members.

 Research includes clinical, laboratory, and analytical research

 Teaching includes the teaching of medical undergraduate & graduate students and other graduate students.

 Administration & Other: Administration includes practice management (billing, contract negotiations, personnel, regulatory
 activities) & management of institutions or programs (health departments, health insurance, hospitals, other health-related
 institutions or programs); Other

 44 Use whole numbers. No fractional hours       none enter 0.
 a. Patient Care Related Activities 60           hours per week
 b. Research                        0            hours per week
 c. Teaching                            10       hours per week
 d. Administration & Other              10       hours per week
 Total Hours                            80       hours per week



 14. If you indicated in Question 13 that you are not engaged in patient care related activities, do you intend to resume patient care
 related activities in the next two years?
  0 Yes 0 No



      PRACTICE INFORMATION (Questions 15-2e)

     15. Do you plan to discontinue patient care related activities in the next two years?
      0 Yes ®No


     16, Please indicate below the number of practice/office locations at which you routinely deliver patient care for reimbursement.
         a. Number of locations in Maryland (if none, enter 0)
         b.                                                                             0


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       Number of locations outside of Maryland (if none, enter 0)
       0 If you have locations outside Maryland, please answer (c) below after you
       answer (b).
    c. Do you routinely treat Maryland patients at your practice/office location(s) outside of Maryland?
           0 Yes 0 No 0 Don't know



17. Please indicate below the number of hospitals at which you currently have admitting privileges.
  a. Number of hospitals in Maryland (if none, enter 0)
 b. Number of hospitals outside of Maryland (if none, enter 0)           0



18. Primary Practice / Office Location Primary Practice / Office Location

0 Please answer all Primary Practice questions
a. Organization Name              Dr Abdul Chaudry
    Organization Name2
b. Street Address                 6005 Landover Road, suite#5

c. Street2
                                 0 Enter suite or room number here. (Ex. Suite 101 or Room 101)
 d. City                          Cheverly
 e. State                         Maryland                                   v

 f. Zip Code                      20785
 g. Jurisdiction                  PRINCE GEORGE'S           v


 h. Employer Tax ID               00             0000000        0   If you do not have an EIN enter XX-XXXXXXX

                                  CTQWhat is Employer tax ID?


 i. Please select one of the following related to the NPI used for billing insurers:

      0 I use an Organizational NPI for billing. Please Enter >
      0 I use my Individual NPI for billing.                                                            Organizational NPI

           I do not bill public or private insurers.


     You indicated in Question 13a, 60 hours of Patient Care Related Activities during a typical work
     week.
     How many of those Patient Care Related Activity hours in your typical work week are delivered at
     this practice/office location?                                                                           60
         If none, enter 0.                                                                                    Hours


 k. Setting                        Freestanding Physician Office                 N./
 I. Private/Public                 Private-For profit
 m. Practice                        Single-Specialty Group-independent
     Please answer the following regarding staffing at this practice/office location on a typical day. Definition of mid-
     level medical providers is listed below.
     ti If none, enter 0; if you don't know the number, enter 999

      Number of physicians (MDs, DOs, residents, fellows) including yourself at this location.                 2

      Number of mid-level medical providers at this location.                                            5
      0 Mid-level medical providers: nurse practitioners, nurse midwives, nurse anesthetists and physician
      assistants.




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19. Secondary Practice / Office Location

  If you have a secondary practice/office location and you've checked the box above, you will see a series of questions that must be completed.

a. Organization Name              Dr Abdul Chaudry
   Organization Name2
b. Street Address                 6400 Marlboro Pike

c. Street2
                                 U Enter suite or room number (Ex. Suite 101 or Room 101)
d. City                           District Heights
e State                           Maryland
f. Zip Code                       20747
g. Jurisdiction                    PRINCE GEORGE'S                 "../


h. Employer Tax ID                 oo             0000000                   If you do not have an EIN enter XX-XXXXXXX

                                        What is Employer tax ID?


i. Please select one of the following related to the NPI used for billing insurers:

     0 I use an Organizational NPI for billing. Please Enter >
     0 I use my Individual NPI for billing.
                                                                                                                    organizational NPI
     ® I do not bill public or private insurers.


    You indicated in Question 13a, 60 hours of Patient Care Related Activities during a typical work
    week.                             •
    How many of those Patient Care Related Activity hours in your typical work week are delivered at
    this practice/office location?                                                                                        20
    0 If none, enter 0.                                                                                                   Hours


 k. Setting                        Freestanding Physician Office
 I. Private/Public                 Private-For profit
 m. Practice                        Solo-independent
    Please answer the following regarding staffing at this practice/office location on a typical day. Definition of mid-
    level medical providers is listed below.
    0 If none, enter 0; if you donIt know the number, enter 999

    Number of physicians (MDs, DOs, residents, fellows) including yourself at this location.                               2

    Number of mid-level medical providers at this location.                                            5
      Mid-level medical providers: nurse practitioners, nurse midwives, nurse anesthetists and physician
    assistants.



20-21 The Health Information Technology questions have been moved to a seperate section. You are required to complete the Health Information
Technology section ONLY if you have a Primary Practice Location.

22. Please indicate if you participate in the following private and public insurance programs, and whether you are currently accepting new public
insurance program patients,


     a.   Participate In any PRIVATE Insurance plan networks, including PPO, EPO, HMO, etc.                                              O   0
                                                                                                                                     Yes     No

     b.
          Participate in the MARYLAND MEDICAL ASSISTANCE PROGRAM (in either the traditional program or a Managed                         ®   0
          Care Organization)                                                                                                         Yes     No

          b1. It Yes, are you accepting new Maryland Medical Assistance patients?                                                        O   0
                                                                                                                                     Yes     No

     c.   Participate in the MEDICARE (in either the traditional program or a Medicare Advantage Plan)?


                                                                                                                                                  JA3111
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                                                                                                                                  ®      0
                                                                                                                                 Yes     No
                                                                                                                                 0       0
           c1. If Yes, are you accepting new Medicare patients?
                                                                                                                                 Yes     No




 23. Do you offer a sliding fee scale based on ability to pay? (Utilize a standardized fee reduction schedule for low-income)
  OYes 0 No '0 NA



 24. Please report the typical number of hours per week you personally provide care to patients on a charity basis (do not include bad debt).
  0          hours per week. 0 If none, enter 0



 If you are practicing as an adult primary care specialist (internal medicine, family practice, general medicine), please answer 0.25, otherwise:
  2   check this box and skip to Q.26.
 25. Do you charge patients an annual fee for participating on your patient panel, sometimes called direct, concierge, or retainer-based practice?
   OYes 0 No



  26. Workers Compensation
  Workers Compensation coverage: If you employ one or more persons the Md. Code Ann. Health Occ. §1-202 requires that you
  verify that you are complying with the Workers' Compensation Law for your renewal to be issued.
  I hereby certify:
   0 Not Applicable (Do not complete below)
   0 I do not practice in Maryland.
   0 1 do not employ anyone in my practice in Maryland.
   0 I employ one or more persons in my Maryland practice and have the following Workers Compensation coverage.
          If you are a Maryland employer you must provide the information requested below.
  Insurance Company
  Policy Number
  Expiration Date                                 j .6 Enter as MM/DD/YYYY Enter as MM/DDNYYY


      HEALTH INFORMATION TECHNOLOGY

Please contact the Maryland Health Care Commission at 410-764-3330 for questions relating to this section.


          Electronic Health Record Incentive

          Beginning in 2011, physicians that adopt an electronic health record are eligible to receive an incentive either under
          Medicare or Medicaid. To receive this incentive, a physician must meet certain criteria, which varies depending on which
          program you choose. The Medicare incentive is up to $44,000 over five years and the Medicaid incentive is up to
          $63,750 over six years. Physicians are encouraged to learn more about these incentive opportunities by visiting the
          Centers for Medicare and Medicaid Services website htto://www.cms.cov/EHRIncentiveProckams/



This question is about the use of computers and other forms of information technology, such as hand-held computers, in diagnosing or treating your
patients at your primary office/practice location, which you listed in
Question 18 - Primary Practice / Office Location Primary Practice /Office Location

 Please complete the following HIT questions for: Dr Abdul Chaudry


 1. This question is about the use of computers and other forms of information technology, such as hand-held computers, in diagnosing
 or treating your patients in your office.

 Are you computerized in your office:
      a. To obtain information about treatment alternatives or recommended guidelines?



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     *Yes 0 No

    b. To send prescriptions electronically to a pharmacy?
     *Yes 0 No
    If you answered Yes to lb, what percentage of prescriptions are submitted electronically? 90
    (Enter Whole number)

    c. To generate reminders for you about preventive services needed for your patients?
     *Yes 0 No

    d. To access patient notes, medication lists, or problem lists?
     *Yes 0 No

    e. For clinical data and image exchanges with other physicians?
      °Yes *No

     f. For clinical data and image exchanges with hospitals and laboratories?
      0 Yes *No

     g. To communicate about clinical issues with patients by email?
      °Yes ®No

     h. To obtain information on potential patient drug interactions with other drugs, allergies, and/or patient conditions?
      *Yes 0 No

2. Does your primary office/practice location use electronic MEDICAL RECORDS (not including billing records)?
 0 Yes, all electronic ()Yes, part paper and part electronic 0 No 0 Don't know

     2a. If Yes, what is the name and version of the EHR system?
      Other                                              N/



     Other Lytec


     2b. If No, please indicate your most significant reason for not using electronic medical records.
      0 Capital cost outlays         0 Lack of technology standards 0 Retiring soon
      0 Overburdened staff           0 Intangible benefits              0 Not my decision
      0 Risk of privacy breaches

3. Have you used telemedicine for any purpose in the last 12 months?
    Yes 0 No

           Telemedicine means, as it relates to the delivery of health care services,.the use of interactive audio, video, or other
       telecommunications of electronic technology by a licensed health care provider to deliver health care service(s) within the scope
       of practice of the health care provider at a site other than the site at which the patient is located.

3a. Approximately how many times in the last 12 months have you used telemedicine for any purpose? 2
    (Enter 0 if you did hot use telemedicine)

3b. If you used telemedicine, what are your common uses of telemedicine technology (mark all that apply)?
O Second opinion
O Diagnosis
2 Follow up
O Emergency
 O Chronic disease management
 O Other (specify) I

  The following questions are to be answered ONLY if your Practice Setting is one of the following:
  (1) Solo; (2) Single-Specialty Group; (3) Multi-Specialty Group; or (4) HMO Group/Staff



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 4. Does your practice use high speed Internet?
  *Yes 0 No

 4a.   Comcast                                                         N./   Please Specify :

 5. How do you access the Internet?
  0 DSL      0 Cable Modem 0       Fiber to the office * Wireless   0 Other 0      Unknown

 6. Do you provide Wi-Fi access to your patients in your waiting area?
  Oyes *No         °Unknown



       PHYSICIANS EMERGENCY CONTACT INFORMATION


27. As part of Maryland's emergency preparedness efforts, the Department of Health and Mental Hygiene has
identified the need for certain contact information for licensed physicians in Maryland who may be needed to
respond to a catastrophic health emergency. (Public Safety Article, Sec. 14-3A-01 et seq. and Health General Article
Section 18-901 et seq. sets forth the powers of the Governor and Secretary of the Department of Health and Mental
Hygiene.

* Required Field

Please provide the phone number that should be used in the event of an actual emergency.
Daytime *                3013250264
Nighttime*



Indicate by checking any box that applies whether you have any particular training and experience regarding the
following specific agents:
 ❑ Chemical El Biological ❑ Radiological
If you are interested in being contacted about training opportunities provided by the Board of Physicians, please visit
the Maryland Professional Volunteer Corps website at httos://mdresponds.dhmh.marylandoovi.

                                              Thank you for your assistance)



       26. CERTIFICATION AND AUTHORIZATION OF LICENSE APPLICATION


                        a. I certify that I have personally reviewed all responses to the items in this application and that the information I
                        have given is true and correct to the best of my knowledge and that any false information provided as part of my
                        application may be cause for the denial of my application.

                        b. I agree that the Maryland Board of Physicians (the Board) may request any information necessary to process my
                        application for renewal from any person or agency, including but not limited to former and current employers,
                        government agencies, the National Practitioners Data Bank, the Healthcare Integrity and Protection Data Bank,
                        hospitals and other licensing bodies, and I agree that any person or agency may release to the Board the
                        information requested. I also agree to sign any subsequent releases for information that may be requested by the
                        Board.

                        c. I shall inform the Board, by certified mail, return receipt requested, within 30 days of: (a) action that would be
                        grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404, that occurred at any time during the
                        application period; (b) change in any answer that was originally given in this application.


                        d. Check Here if you wish to have the option of viewing your completed application online after you renew your
                        license. Otherwise, your application will not be available online for your later viewing. If selected, viewing is
                        available until 12/1/2014.




         29. Please provide your electronic signature (type your name) below:
         Name                        Charles Akoda
         Today's Date                8/12/2014


                                                                                                                                    JA3114
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Last four digits of Social
Security Number:

30. Select a Payment Option here to complete your application.
   Please note: Credit cards may be used for online payment only. If you or a 3rd party is sending in payment, must be by check.

Your renewal fee is:

     Credit Card 0 Send Check 0 3rd Party Check                                3rd Party Payer:




PAYMENT
  APPLICATION COMPLETION INFORMATION:
  Date Application Started   8/12/2014
  Date Application Submitted 8/12/2014
  Confirmation Number
  Payment Method             Crean card
  Amount Paid                $522.00
  Credit Card Approval No.




                                                                                                                                   JA3115
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                                                                                                                                                                           Print
                  DO NOT MAIL THIS TO THE BOARD. RETAIN THIS APPLICATION FOR YOUR RECORDS.

Application for renewal of:    Physicians
1. License Number D0073049 Dr. Charles John Nosa Akoda

          Individual National Provider Identifier NPI: 1952664278          0 I do not have an NPI
 2.       This is the NPI entered in the field for Rendering NPI on a claim (10 digit number)
                NPI Information


3. EMAIL ADDRESS: This is your email address on file. If it has changed, please edit below. If you do not have an email
address please indicate by checking the checkbox below.
                      adcfrancis@aol.com

 0      I do not have an email address

Address Changes (Non-Public and Public):
You must submit a Public and Non-Public address. If either address has changed, please correct here.
Your address(es) on the online renewal application is current as of July 1, 2012 If you requested any changes to your address(es) that are not reflected on this application,
please make the change at this time. These changes will be updated In the main database,

4a. Non-Public Address: This address is for Board use only and is where your license will be mailed. However, if no
public address is listed, this address will also be made available to the public.
Street
Street (2)
Street (3)
City

State
                         If selecting a coun       other than USA or Canada, please choose "Foreign" as your state
ZipCode
Country

4b. Public Address: This address, usually your office, is available to the public and will be posted on the Internet. If you do
not designate a public address, your non-public address will be posted on the Internet.
0 Check if Public Address is the same as your Non-Public address (the address above will be automatically entered below.)
Street              14909 Downey Court
Street (2)
Street (3)
 City                     Bowie
                           Maryland
 State
                          If selecting a country other than USA or Canada, please choose "Foreign" as your state
 ZipCode                   20721
 Country                   United States

 5. Do you give the Maryland Board of Physicians permission to report your date of birth to
                                                                                                                                     Yes ONo
 the Federation of State Medical Boards' Physician Data Center? See instruction



        CHARACTER AND FITNESS (Question 6)
        6. The following questions pertain to the period since July 1, 2010. If this is your first renewal, these questions
        apply to the period commencing with the date of your initial licensure or reinstatement. Check the box YES or NO
        next to each question. If you answer Yes, provide an explanation at the prompt
        * All questions must be answered Yes or No.

                            "-- mny licensing or disciplinary board of any jurisdiction (except this licensing board), or any entity of the
                                    services denied your application for licensure, reinstatement or renewal, or taken any action against
          Yes    No
                            your license, including but not limited to reprimand, suspension, revocation, a fine, or nonjudicial punishment,
         NO                 for an act that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?



                              lave any complaints, investigations or charges been brought against you or are any currently pending in any
                            jurisdiction by any licensing or disciplinary board (except this licensing board) or an entity of the armed
          Yes    No
                            services?


                                                                                                                                                                         JA3116
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    NO


                    Has your application for a medical or health professional license been withdrawn for reasons that would be
                    grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
.   Yes    No
    NO

                  J. Has an investigation or charge been brought against you by a hospital, related institution, or alternative health
                     care system that would be grounds for action under Md. Code Ann. Health Occ. §14-404?
    Yes    No
    NO

                  e. Have you had any denial of application for privileges, failure to renew your privileges, or limitation, restriction,
                     suspension, revocation or loss in privileges in a hospital, related health care facility, or alternative health care
    Yes No
                     system that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
    YES
                    Yes due to NPI number error: On February 2012 I applied for Hospital priviledges at Prince Georges Hospital.
                    I inadvertently supplied an organizational NPI number rather than an Individual NPI number. My priviledges
                    were rescinded on about May 30th 2012. I have since obtained an individual NPI number 1952664278 which I
                    have submitted to the hospital. I am in the process of re-credentialing:

                  f. Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                     diversionary disposition of any criminal act, excluding traffic violations?
    Yes    No
    NO

                  - Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                     .versionary disposition for an alcohol or controlled dangerous substance offense, including but not limited to
    Yes    No
                    driving while under the influence of alcohol or controlled dangerous substances?
    NO


                     Are there any pending criminal charges against you in any court of law, excluding minor traffic violations?
    Yes    No
    NO
                     Do you have a physical or mental condition that currently impairs your ability to practice medicine?
    Yes    No
    NO
                      las the use of drugs and/or alcohol resulted in an impairment of your ability to practice your profession?
    Yes    No
    NO
                     -10 you illegally use drugs?
    Yes    No
    NO
                     Have you surrendered or allowed your license to lapse while under investigation by any licensing or
                      sciplinary board of any jurisdiction or an entity of the armed services?
    Yes    No
    NO

                     " - 'e you been named as a defendant in a filing or settlement of a medical malpractice action?
    Yes    No
    NO
            •-•   n. Has your employment by any hospital, HMO, related health care or other institution, or military entity been
                     ierminated for any diciplinary reasons?
     yes Iv
    YES              Yes due to NPI number error On February 2012 I applied for Hospital privileges at Prince Georges Hospital. I
                     inadvertently supplied an organizational NPI number rather than an Individual NPI number. My privileges were
                     rescinded on about may 30th 2012. I have since obtained an individual NPI number 1952664278 which I have
                     submitted to the hospital. I am in the process of re-credentialing.

                      Have you voluntarily resigned from any hospital, HMO, or other health care facility or institution, or military
                      entity while under Investigation by that institution for disciplinary reasons?
    Yes    No
    NO

                      Are you in default of a service obligation resulting from your receipt of state or federal funding for your medical
                      education?
     Yes    No


                                                                                                                                      JA3117
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                          Have you failed to make arrangements to satisfy any state or federal loans that financed your medical
                          education?
      Yes       No
      NO




     CONTINUING MEDICAL EDUCATION (Question 7)
0     a. CME met. I have completed and have been granted credit for at least 50 credit hours of Category 1
      continuing medical education activities within the two year period immediately preceding submission of
      this application for license renewal. Physician is obliged to obtain requisite documentation of CME activity
      and maintain documentation for a period of six years for possible inspection by the Board. For additional
      information on CME, see Maryland Regulations, 10.32.01.09.


       b. First Renewal & NPO. I am exempt from CME during the renewal period because this is my first
       renewal after initial medical licensure in Maryland and I have completed the Board's New Physician
       Orientation Program. The New Physician Orientation is for NEWLY licensed physicians only. If you were
       licensed prior to September 30, 2010 or reinstated, this does not apply to you. See New Physician
       Orientation Program web site. Your license will not be renewed unless you have completed the
       orientation.


       c. First Renewal after reinstatement. I am exempt from CME during the renewal period because this is
       my first renewal after reinstatement of my medical licensure in Maryland.


     PERSONALAND PROFESSIONAL INFORMATION (Questions 8-17)
8a. Gender *Male 0 Female


8b. RACE/ETHNIC IDENTIFICATION - PLEASE CHECK ALL THAT APPLY
Are you of Hispanic or Latino origin? (A person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin, regardless of race.)
Select one or more of the following racial categories:
      .arican Indian or Alaska Native (A person having origins in any of the original peoples of North or South America, Including CentralAmerica,
   add who maintains tribal affiliations or community attachment.)

          (A person having origin in any of the original peoples of the Far East, Southeast Asia, or the Indian subcontinent including, for example,
     L.ambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.)

              or African American (A person having origins in any of the black racial groups of Africa.)

        ".e Hawaiian or other Pacific Islander (A person having origins In the original peoples of Hawaii, Guam, Samoa, or other Pacific Islands.)

        site (A person having origins in any of the original peoples of Europe, the Middle East, or North Africa.)

         kr


9. Are you employed by the Federal Government?
    0 Yes ®No


10. Please indicate if you are currently in: a) a residency program accredited by the Accreditation Council for Graduate Medical
Education or an internship or residency program approved by the American Osteopathic Association; orb) a fellowship
(subspecialty) training program accredited by the ACGME.

    If you answer Yes to either a. or b. you will not be required to complete the Practice Information section (Questions 15-26) of
this application.

a. In an accredited/approved internship or residency program?
    0 Yes C..) No

b. In an accredited fellowship (subspecialty) training program?
    0 Yes ®No



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11a. Which best describes your current area(s) of concentration:
Primary Concentration          Obstetrics & Gynecology                                      V
Secondary Concentration        None                                                         V


11b. SPECIALTY BOARD CERTIFICATION: List up to two (2) specialty areas only if certified by a recognized board of the
American Board of Medical Specialties (ABMS) or theAmerican Osteopathic Association (AOA).
Primary Certification       None                                                   V
Secondary Certification     None


12. Please select all states (excluding Maryland) where you hold a medical license.
 ❑ Alabama                ❑ Florida ❑ Kentucky             ❑ Nebraska           0 Oklahoma          0 Utah
 ❑ Alaska                 ❑ Georgia    DLouisiana          0 Nevada             0 Oregon            ❑Vermont
 ❑ Arizona                ❑ Guam • ❑ Maine                 ❑ New Hampshire ❑ Pennsylvania           El Virginia
 ❑ Arkansas               ❑ Hawaii ❑ Massachusetts ❑ New Jersey                 ❑ Puerto Rico       ❑Virgin Islands
 ❑ California             ❑ Idaho      ❑ Michigan          ❑ New Mexico         ❑ Rhode Island      ❑ Washington
 ❑ Colorado               ❑ Illinois   ❑ Minnesota         ❑ New York           ❑South Carolina ❑West Virginia
 ❑ Connecticut            ❑ Indiana ❑ Mississippi          ❑ North Carolina     ❑ South Dakota      ❑ Wisconsin
 ❑ DelaWare               ❑ Iowa       ❑ Missouri          ❑ North Dakota       0 Tennessee         ❑ Wyoming
 ❑ District of Columbia ❑ Kansas ❑ Montana                 0 Ohio               0 Texas


13a. How many weeks per year do you work?         48

13b. Please indicate below how the hours in your typical work week are allocated. The sum of these hours should reflect the
number of hours in your typical work week. Definitions of these categories are listed below.

    If you allocate 0 hours per week to a. Patient Care Related Activities you will not be required to complete the Practice
Information section (Questions 15-26) of this application.

Patient Care Related Activities include seeing patients, writing prescriptions, patient-related clinical activities (such as pathologic
and radiologic assessments), maintaining patient records, obtaining and reviewing test results, arranging referrals, consulting with
other providers about patients, talking with a patient's family members.

Research includes clinical, laboratory, and analytical research

 Teaching includes teaching of medical undergraduate & graduate students and other graduate students.

 Administration & Other: Administration includes practice management (billing, contract negotiations, personnel, regulatory
 activities) & management of institutions or programs (health departments, health insurance, hospitals, other health-related
 institutions or programs); Other

    Use whole numbers. No fractional hours. If none enter 0.
 a. Patient Care Related Activities 36        hours per week
 b. Research                        0         hours per week
 c. Teaching                           0        hours per week
 d. Administration & Other             4        hours per week
 Total Hours                           40       hours per week



 14. If you indicated in Question 13 that you are not engaged in patient care related activities, do you intend to resume patient care
 related activities in the next 2 years?
  Dyes 0 No



     PRACTICE INFORMATION (Questions 15-26)

    15. Do you plan to discontinue patient care related activities in the next two years?
     0 Yes ®No



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16. Please indicate below the number of practice/office locations at which you routinely deliver patient care for reimbursement.
    a. Number of locations in Maryland (if none, enter 0)                        0
    b. Number of locations outside of Maryland (if none, enter 0)
       a If you have locations outside Maryland, please answer (c) below after you 0
       answer (b).
    c. Do you routinely treat Maryland patients at your practice/office location(s) outside of Maryland?
          0 Yes 0 No 0 Don't know



17. Please indicate below the number of hospitals at which you currently have admitting privileges.
  a. Number of hospitals in Maryland (if none, enter 0)                0
  b. Number of hospitals outside of Maryland (if none, enter 0)                    0



18. Primary Practice / Office Location Primary Practice / Office Location
No Primary Location indicated from your response in Question 16
  Please answer all Primary Practice questions




19. Secondary Practice / Office Location
No Secondary Location indicated from your response in Question 16.
   If you have a secondary practice/office location and you've checked the box above, you will see a series of questions that must be completed.




20-21 Health Information Technology questions has been moved to a seperate section. You are required to complete the Health Information
Technology section ONLY if you have a Primary Practice Location.
22. Please indicate if you participate in the following private and public insurance programs, and whether you are currently accepting new public
insurance program patients.

     a. Participate in any PRIVATE insurance plan networks, including PPO, EPO, HMO, etc.                                           0       0
                                                                                                                                    Yes     No


          Participate in the MARYLAND MEDICAL ASSISTANCE PROGRAM (in either the traditional program or a Managed 0                           ®
          Care Organization)                                                                                     Yes                        No

          b1. If Yes, are you accepting new Maryland Medical Assistance patients?                                                   0       0
                                                                                                                                    Yes     No


     c.   Participate in the MEDICARE (in either the traditional program or a Medicare Advantage Plan)?                             0       *
                                                                                                                                    Yes     No

          c1. If Yes, are you accepting new Medicare patients?                                                                      0       0
                                                                                                                                    Yes     No




23, Do you offer a sliding fee scale based on ability to pay? (Utilize a standardized fee reduction schedule for low-income)
 ()Yes () No ®NA



24. Please report the typical number of hours per week you personally provide care to patients on a charity basis (do not include bad debt).
 0          hours per week.          If none, enter 0



If you are practicing as an adult primary care specialist (internal medicine, family practice, general medicine), answer 0.25. Otherwise skip to Q.26.

25. Do you charge patients an annual fee for participating on your patient panel (sometime called direct, concierge, or retainer-based practice)?


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   OYes 0 No



  26. Workers Compensation
  Workers Compensation coverage: If you employ one or more persons the Md. Code Ann. Health Occ. §1-202 requires that you
  verify that you are complying with the Workers' Compensation Law for your renewal to be issued.
  I hereby certify:
   0 Not Applicable (Do not complete below)
   01do not practice in Maryland.
   0I do not employ anyone in my practice in Maryland.
   0I employ one or more persons in my Maryland practice and have the following Workers Compensation coverage.
        If you are a Maryland employer you must provide the information requested below.
  Insurance Company
  Policy Number
  Expiration Date                             ; C Enter as MM/DD/YYYY Enter as MM/DDNYVY


     PHYSICIANS EMERGENCY CONTACT INFORMATION

27. As part of Maryland's emergency preparedness efforts, the Department of Health and Mental Hygiene has
identified the need for certain contact information for licensed physicians in Maryland who may be needed to
respond to a catastrophic health emergency. (Public Safety Article, Sec. 14-3A-01 et seq. and Health General Article
Section 18-901 et seq. sets forth the powers of the Governor and Secretary of the Department of Health and Mental
Hygiene.

* Required Field

Please provide the phone number that should be used in the event of an actual emergency.
Daytime *                I3013250254
Nighttime*


Indicate by checking any box that applies whether you have any particular training and experience regarding the
following specific agents:
 n Chemical III Biological D Radiological

If you are interested in being contacted about training opportunities provided by the Board of Physicians, please visit
the Maryland Professional Volunteer Corps website at https://mdresponds.dhmh.maryland.aov/.

                                              Thank you for your assistance!



     28. CERTIFICATION AND AUTHORIZATION OF LICENSE APPLICATION


              1:1      a. I certify that I have personally reviewed all responses to the items in this application and that the information I
                       have given is true and correct to the best of my knowledge and that any false information provided as part of my
                       application may be cause for the denial of my application.

                       b. I agree that the Maryland Board of Physicians (the Board) may request any information necessary to process my
                       application for renewal from any person or agency, including but not limited to former and current employers,
                       government agencies, the National Practitioners Data Bank, the Healthcare Integrity and Protection Data Bank,
                       hospitals and other licensing bodies, and I agree that any person or agency may release ta the Board the
                       information requested. I also agree to sign any subsequent releases for information that may be requested by the
                       Board.

                       c. I shall inform the Board, by certified mail, return receipt requested, within 30 days of: (a) action that would be
                       grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404, that occurred at any time during the
                       application period; (b) change in any answer that was originally given in this application.


                       d. Check Here if you wish to have the option of viewing your completed application online after you renew your
                       license. Otherwise, your application will not be available online for your later viewing. If selected, viewing is
                       available until 12/1/2012.


                                                                                                                                     JA3121
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29. Please provide your electronic signature (type your name) below:
Name                         Charles John Nosa Akoda

Today's Date                 9/3/2012
Last four digits of Social
Security Number:

30. Select a Payment Option here to complete your application.
ti Please note: Credit cards may be used for online payment only. If you or a 3rd party Is sending in payment, It must be by check.

Your renewal fee is:

     Credit Card 0 Send Check 0 3rd Party Check                                 3rd Party Payer:




PAYMENT
  APPLICATION COMPLETION INFORMATION:
  Date Application Started   9/3/2012
  Date Application Submitted 9/3/2012
  Confirmation Number                    49
  Payment Method             Credit Card
  Amount Paid                $514.00
  Credit Card Approval No.




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                Exhibit 40




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10. MEDICAL EDUCATION: List ill medical whoOk you have attended                                                     From: MINTY To MINTY

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     City:                             StatefProvktce                    Country of clthertship during medical education                             in

     Language(s) of lastmatIon:                   N CA.-15W

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     Was Confined: sus satisfied                   rn
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     GRADUATES OF FOREIGN MEDICAL SCHOOLS (Schools not In the U.S. or Na territories, Puerto Rico, or Canada)
     Mr the following documents to this application:
     1) Amoy of your valid ECFMG =Mai or Fifth Pathway Certificate;

     2) A copy of your medical school diploma and a certified translation;

     3) If you listed an afffiktion above (see * In 10 shovel attach a copy of the Certificate of Medical Education and
        Examinations Taken, Good Conduct Certificate or Intern Certificate. The Mirka must include your name,
        name of the medical school, name of the university, and a airlifted translation.

     kyaur maw U not YAW thesone way on if docanerds, you must submit documettlation to whin haw aid why your name differs
     end @Windt one of the fallowing documents to support the are chant Pinged, INS card, birth cirtikete, court document, marriage
     acme, court daub

it      How have you wailed lintels:Es trykrensjoradEnglish language competency roquIremints?
        (See Engish Language Competemy Regiemergs for Atcfcal Licensre i7Abytendin the introductory material included nth your
        gsipilution.)

         a. X . I graduated from a medical school or, after at least three yews of altendatrie, elicit school (x:dudes GED), undergraduate
                college, or wthersity where English was the orifylangusge of Insbudion throughout (you must                 dobiimentstion); or
                                                                                                                     pprgV
         b. ❑ I passed either': the TOEFL or 0 the ECFMG Entfish tau after December 31, 1973                              the     TSE or    0 OH.
                If you have taken the Test of English es a Foreign Language (TOEFL) aid either the Test-                           or the Oral
                Proficiency Inter/ow (OPI), please request that Education Testing Service and/or taigage Teattrzg                      AttrAdation
                of your scores dins:eh/Iodic Board;

        c. 0      I passed the USMLE Step 2 Clhical SkiRS Earn.
                                                                                                                  4*.%C)
        Are you darning speech Impailmsnt? ‘55( NO 0 YES                If TES,' please vete or call thegoard for additional information.




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                 aka, DO NOT SUBMIT THISAPPLICATION.

                 Hahn 10/1/92 you papal any rectal bandy awn (apart, slap, or component Owed) that yos fah three          either before or atter 1011A2, then you
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                 APPLICATION; you me noted:hie bran ilaansure in Merge=

                 NOTE: Postgraduate training program cycles usually run from July 1 to June 30. If the dates of your
                 postgraduate training are not within the usual cycle, fall short of the complete cycle, or extend beyond
                 the usual cycle, please attach a complete explanation of why your training was "off-cycle."

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                14. Medical LIC40411119 EXaMil1a01111(WALE, NBME, NBOME, FLEX, FLEX-Weighted Average, Medical Coma of Canada, and licensing exams given
                    by itual stabs priertobnuary 1, 1985) 00 NOT SUBMIT THIS APPLICATION until you kmnine ratan radiator' of having paned all parts,
                    nape, or components of your medical bank* examingion.
                Identify Sow ALL the medical lloortoing examlnotions that you have ever taken. Ask the administerM0 authority of each exam to send the
                canna* metal Barsky examination history and scorn directly to tins Board. fn each exardnatIon category below, you MS find
                          umto help you meted the administairm authority.

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                W YOU HAVE FAXED ANY PART, STEP, COMPONENT OR APPROVED EXAMINATION COMBINATION MORETNAN 3 TIMES, You may not be
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                Send a copy ofMBP1893, SageBataWattage andamination Cestrtsedsa form to the state(s) Mich at mialskaal your licensing exam and ask
                the debt} to send your exam results direr:41one Maryland Board of Physkieds. Mw send a copy to each stria Oral has ever issued you a license.
                NOTE: Mary ratio chargeable for exam hinsalpts. Contact ouch state bead prior to sending form Waal fees ore the responsibility
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                e. CI       Notions, Board of Medical Brenta (See Page 8 line combing this exaninetton with FLEX or OS1ME aims)
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                             All requests must be made through the NBME kvabisite at httrJ/wirmaihmsora or call 215-590-9592. If you Wok NBME exams but wen
                            not cerlifol, or you took NAME as pat of hybrid exams, ask NAME to send only your Record of Scores.
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                            tiletyland. if you have received NBOME certification, ask NBOME to send to Ns Board the kerificatioNf certification Tithe scribble
                            history of your medical examinations. Umbel NBOME at 773-714-0622 for instnictions and fee informissa.F             z
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                            Please request that vedficaLion of your Linable Carfacation and a complete LACS examinabo4story be sent-S, €!!v to this Board.
                            Call MCC at 613-521-6012 bat instructions and fee information.
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    Palming Nome on all parts of hybrid etamtnations must have been completed within a 10-year period, beginning with the month and
    yet the examinee first pewee a pot or component or step of the combined examination. ALL HYBRID EXAMINATIONS MUST HAVE
    BEEN COMPLETED BEFORE JANUARY 1, 2000.

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         k.   Ej      NBME I + USSILE 2 + USAILE 3                                     O.   n    FLEX 2 + NBME I + USMLE 2

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               •      if your hybrid exam induded any pat of the NSW examination, caibit NBME atattp:arrintabmtarg or cal 215-590-9592 for
                      instructions and request that your Endorsement of Certification ant/your Record of Scores be sari thready to the Maryland Board of
                      Physicians.

               •      tf your Waldmarts !minded ore/ FLEX and USMLE examinations, nastiest your transcriptfrom the Federation of State Medical
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    tS. Licansing History:
    a.             I have never been lisansed In the U.S., its territories, a Puerto Rico and have never been OMSK( or registered in Canada.
    b.             I have en spoliation for icenee pending in the lapwing states:      A
    e. Please feet below el lames ever issued to you by a U. S. statatanitory or Porto Rico. Also list WI Canadian licenses and registrations.
    d. Hee errr dhcIpanary action ever been taken against your license7)31 No (3 Yes byes, please enclose an explanation.

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16. Cheek YES or NO.
                                 Did you successfully comae* a medical kcansing exam (USMLE. MIME, etc.) withal the 15-year pedal prior to fifing this application?

                                 Disko the past 10 yeah have you maintained uninterrupted licensors since you were Dst issued a (cense in the United States, its
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                                 Do you have Were certification from, or *thin the past 10 years have you been codified or recertified by, asps:580y board recognized
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                                abyCanada?
                                IMES; knehich spool* were pu certified?                                                      Date waled
           If yea have mused "Er toedktg ache San questions, you MUST lake the Seidel Purpose Ecarninetton. After you submit
           this atadieitIon, contact the Fedstadce of State Mediae Boards al 817-571-2949 and mange to take the SPEX In Ilatyland. and have
           sear sent to the Marginal Board directly.

17. Character and Fitness Questions (Check ether YES or NO)
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   ", If you answered "YES" to any of the questions in item 17, on the following page please list all adverse actions
      taken against you and provide a complete explanation. Attach any supporting documentation that applies
      (copies of all complaints, malpractice claims, adverse or disciplinary actions, arrests, pleadings, judgements,
      or final orders). Sign and date all pages submitted.
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            20. (OPTIONAL) Third Party Resew: Although the Board eocounmes you to complete al aspects of your apptication on yotr own, if you plan to
            use an Atsmatdiery to recehe information about the status of Your anPlicatinn. Please mmelete this release.
            I agree that the Maryland Boad of             s may release any information pedalling b the status of my application to the lotting person:

            Name:

            Phone:


           2t I agree MA I val Dxstate             ary request for Information or velh any in        related to my medical practice as a licensed physician in
           the Stale ofMaryland, including the subpoena cidocuments or records a the inspection of my mediae practice.

           During the period in whidt my appicetion Is being processed, !shall inform the Bred vain 30 days of any change to any waiver I originally gave in
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           Appticares %mature                                                                     Date

           22. Affidavit To be completed by the applicant in the presence dant:day public after the applicant's pistils has been attached~bw.

           I certify that thaw* persona/1y reviewed alt the responses to Items 1-22 of this application and that the ignition I haRgiven Is true and
                      kr the beet of my knowledge. I understand and awn that I may not                    pt to practkElce of* to *ales medicine In
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           I HEREBY CERTIFY that on       this      aref           day of       Ph-tA1AAA— r14-41-20 I r               before me, a Notary Pule of the State and

           City/CouMy aforesaid, personally appeared the Appticant,          eic- 4.00                        011q      whose likeness is identifiable as that of
                                                                                      LOW 4151ClenNIIIN
           the person in the photograph attached to this application and who hes made oath in due form of law to be the.person refinedmaah,...e... .....
           application for license to practice Medicine and Surgery in the State of Maryland, and to have stated the

           truth in Ei statements made in Nis application.

           AS WITNESS my hand and notarial sea.


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                           BENIN CITY, NIGERIA


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      having satisfied all the requirements of the University
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                                                      Page  11 of 36
                      EDUCATION AL COMMISSION
                                 for
                     FOREIGN MEDICAL GRADUATES
                                                      CERTIFIES THAT

                                            -   JOHN NOSA AKODA
                             HAS SATISFIED ALL THE REQUIREMENTS OF THE COMMISSION,

                                          SUCCESSFULLY PASSED ITS EXAMINATIONS

                     s tot %       ES AND HAS BEEN AWARDED THIS CERTIFICATE.
                                 71‘
    CERTIFICATE NUMBER    0-553 -30e4


   MEDICAL ocAteLMID     "1"i
                                                                                      CHAIRMAN, BOARD OF TRUSTEES
         BASIC SCIENCE    JUNE 11, 1997           A
      CLINICAL SCIENCE    AUGUST 28, 1996                                                  f.
   ENGUSII EXAMINATION    AUGUST 28, 1996                                        PRESIDE ,CHIEF    CU I% OFFICER
        VALID MOOG%
                         CERTIFICATE NUMBER                                  DATE ISSUED   AUGUST 18, 1997
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                          VALID INDEFINITELY




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    HOWARD UNIVERSITY HOSPITAL AND AFFILIATED HOSPITALS .-i:/11{c1 30 GINC3
               WASHINGTON, DISTRICT OF COLUMBIA
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                                    THIS IS TO CERTIFY THAT                      3 To
              JOHN-CHARLES NOSA AKODA, MD
                     HAS SATISFACTORILY COMPLETED FOUR YEARS
                        OF POSTGRADUATE MEDICAL EDUCATION IN


DEPARTMENT OF OBSTETRICS AND GYNECOLOGY
       THROUGH OUR TRAINING PROGRAMS AT HOWARD UNIVERSITY.
                                   JULY I, 2007 - JUNE 30, 2011



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  DIRECTOR, GRA
              j   ATE MEDICAL EDUCATION                           PRESIDENT OF THE UNIVERSITY

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                         BENIN CITY, NIGERIA



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                 YES        ONO              Comments (attach signed ad dated adddions as needed):


    !Mid the applicant successfully wallaby an ntquiremonts of each year of training?
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     S.Dicing the aatlicanrs year(s) of traieirg, did the applicant have any break in training?
                   NO       DYES Comments (attach signed aid dated additions as needed)                                                              JA3136
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 18 a. If you answered "YES" to any of the undone in Item 17, please provide an explanation below and attach all
       complaints, pleadings and judgments. Attach additional signed and dated pages as needed.

18 b. If you answered yes to 176 - answer the following questions:

            1. Total number of malpractice claims ever filed In which you were named as a defendant?

            2.      Total number of malpractice claims ever paid (settlement 'judgment) In which you were named u a
                    defendant?

            3. Within the last 80 months (5 years) provide the following:
               Total number of medical malpractice claims filed           ; paid (settlement) judgment )
               or dismissed          ; in which you were named as a defendant.

            4.      For a claim filed at any time, but paid (settlement! judgment) within the last 80 months (5 years), list each
                    claim by claimants name; describe the disposition of each claim; and provide a copy of the complaint,
                    pleading, and judgment of each medical malpractice claim.




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I have attached the following numher of pages to this application:


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     S. Chronology of Activities; DO NOT ATTACH RESUME OR CURRICULUM VITAE
        Beginning with the date you completed medical school and continuing through the present, list chronologically all of
        your activities. Account for all periods of time Including each postgraduate training program you attended, regardless
        of whether or not you completed the program; each fob you held, regardless of whether or not It was medically related
        or you were compensated; and any period of unemployment.
     Date Medical School was Completed:                     11   (213T—f
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 use or attach a separate sheet Please sign and date each sheet you attach.




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                                                                                                                            State Board Code:
            MARYLAND BOARD OF PHYSICIANS                                                                                              021
            WILLIAM CALHOUN                                                                                                 Please include this
            4201 PATTERSON AVE., 4TH FLOOR                                                                                  number on all requests
            BALTIMORE, MD, 21215-0095




                                ECFMGO CERTIFICATION STATUS REPORT
      USMLEDVECFMG Identification Number 0-553-258-5
      Applicant's Name: JOHN NOSA AKODA
      Applicant's Date of Birth: 01/01/1959
      ECFMG Certified:Yes
               Certificate Issue Date: 08/18/1997
               English Test Valid Through: Valid Indefinitely

      Passing Performance on Medical Science Examinations:                                  Two Digit            Three Digit
      Examination                         Date                                               Score                 Score
      USMLE Step 1                                        11 Jun 1997
      USMLE Step 2 OK                                     28 Aug 1996
      Most Recent Passing Performance on Clinical Skills Examination:
      Examination                          Date
      Not Required for Certification
      Most Recent Passing Performance on English Test AUG 1996
      Name of Medical School and Country:University of Benin College of Medicine, Benin, NIGERIA ✓
A
      Degree Year 1988)
      t Medical Education Credentials Status: Complete
      This information is reported directly from ECFMG computer records and is current as of 09/14/11.


     How to Verify the Authenticity of this Report:
     This report was issued to the named recipient on the date shown below. To verify the authenticity of this report, visit
     https://cvsonlIne2.ecfmg.orgiverlfyiberify.espx and enter the unique verification code at the bottom of the report The information contained in this report ti
     current as of the issue date. Any changes to the Physician's status after the Issue date wit not be reflected, and you ore encouraged to request an
     updeted moon.
    The purpose of this Status Report is to indicate whether this individual Is certified by ECFMG. it reflects only examinations slat were used to fulfill
    requirements for ECFMG Certification. The most recent passing performance on the clinical skills examination is reflected. regardless of whether this
    individual was required to takes clinical skills examination for ECFMG Certification. This Status Report is not a complete score history of all examinations
    for tNs individual. This Status Report does not include examinations that were taken but not passed. Furthermore, if this individual passed examinations
    that were not used to fulfill the requirements for ECFMG Certification. these examinations are not included.
    • To obtains complete history of and scores for USMLE Step examination(s) that may have been taken by this individual, contact the appropriate
    registration entity to request a USMLE transcript.
      t Since July 1986, ECFMG has verified medical school credentials directly with the medical schools, or through a reasonable alternative that has been
          approved by the ECFMG Medical Education Credentials Committee.
     Important Note:
    Requesting organizations must normally secure and retain the physician's signed authorization to obtain certification information.
    Organizations may not resell the information or make it available to any party beyond the initial request as authorized by the physician.
    The information may only be used to confirm ECFMG certification for the purpose for which the physician provided authorization.
     Report Verification Code: DXDOC14139F
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geplante' FOUR                                VERIFICATION OF POST      ATE MEDICAL EDUCATION
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MRS KT
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6.    Did the apprcent hest any physical ormental problem that affected the appricenrs ability to preate medicine during the paned of training?
                                  (Mee please give a detailed explanation*


T.    Yam any scam taken against the apogean by any bating program, hosp/al, medical board, licensing authority, crowd? Such actions include,
      but am not knead to investigations, kitalions of pridleges or special conditions, requirements imposed for acaderric incompetence, disciplinary
      actions, prang:nary actions, etc.

                                     .    ,_ase give a detailed explanation'


5.    In each year of !Sing, lid the applicant demonstrate sufficient wader* and diked ablity to qualify br advancement Wilted conditional or
      probaSonary status le the warier and next progressive level of responsibility in a designated !petit,/program?

     [21 YES El           KO     Comments:*




                                             Control No: 111179                              08/09/20 I I
                                             Akoda. Charles John Nosa
                                             flM3-Accredited Training Programs
                                             Received: William Calhoun
                                             Analyst: Dierdra Rufus




* If space is not nitTIcket, please attach a signed and dated detailed explanation.


 Attestation: I attest that the information I have provided regarding the applicant is true, accurate, and complete according
 to al available records.


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      SO. MEDICAL EC4ICAPON: Lista medical echo* you have attended                                                         From: WANT To WM

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             OF- IvMh1 && 1_ NI CI-E.-PA
            Medical School Frani Which You Received Your Medical Doane:              nmicyces,ti (IF R%/4                                              ri 6_
            Name of UniversityMotion(if appicable): •

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            City:                          State/Province: Country a chinos* during medical educatiom, AEI erlan
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            Date Degree The date you oficially received your degree Stara prerequisite obligations, requited hobbit marrow worn ren
                                                                                                                                      Other
                                                                                                                                         caPecifY)


                                                                                                                        Cc.Caere:t-
             ie Conferred: was sabered.
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                                                                     Day    ST51         Year                                   0. I ise,
            GRADUATES OF FOREIGN MEDICAL SCHOOLS (Schools not In the U.S. or Its tentories, Puerto Rico, or Canada)
            Attach the following documents to this applicafion:
            1) A copy of your valid ECFMG certificate or Fifth Pathway Certificate;

            2) A copy of your medical school diploma and a certified translation;

            3) If you Hated an affillation above On • in 10 above}, attach a copy of the Certificate of Medical Education and
               Examinations Taken, Good Conduct Certificate ofNem NOR cob. The WHICH* must Include your name,
               name of the medical school, name of the university, and a cedified trinslalion

            If your rime Is not *Wm themme sw on SI documents, You must submit docullelatlai to =Pr how awl why Yaw nape fi fers
            and wink on of the following documonto tosupport diomoo dap; Paget, NS end, birth cortficseo, mu:Wawa* maTitge
            pans, court dean.

      11.      How have you satified Maryland's wizenriloralEngNsh language campolltacy mtulromonts?
               (See EnglishLanguage CompetencyRequipments forMetalLiceasureInMarylanain the introductory material included with your
               appicakion.)

               it. 1;i( !graduated from a medical school or, after at feast three years of attendance, a high school (includes GED), undergraduate
                        college, or university where English was the 01*language of instruction throughout (yea must pruyidAtipiatimentalion); or
               b. 0    I passed either0 the TOEFL or❑ the ECFMG English ted alter December 31, 1973 APip                               TSE or 0 GPI.
                       If you have talon the Test of Engelsh ro e Foreign Language (TOEFL) and either the Test                  ItE . of the Oral
                       Proficiency Interview (OPI), please request that Education Testing Service andlor Longtime T              atom send      lion
                       of our SCOW directly to the Board:
                                                                                                                                  6
               C. 0    I passed the USIALE Step 2 Clinical Salts Exam.
                                                                                                                   PAD %@1    4/ °
               Are you calming speech Impairment?         NO 0 YES            If 'YES; please write or call thelidenffor additional information.




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                  DO NOT MAIL THIS TO THE BOARD. RETAIN THIS APPLICATION FOR YOUR RECORDS.

Application for renewal of:    Physicians
1. License Number D0073049 DE Charles John Nosa Akoda

         Individual National Provider Identifier NPI: 1952664278          ❑ I do not have an NPI
 2.      This is the NPI entered in the field for Rendering NPI on a claim (10 digit number)
         (i!* NPI Information


3. EMAIL ADDRESS: Please enter your most current email address where we may contact you regarding your license. •
                           adcfrancis@aol.com

Address Changes (Non-Public and Public):                                                       •
You must submit a Public and Non-Public address. If either address has changed, please correct here.
Your address(es) on the online renewal application is current as of July 1, 2014. If you requested any changes to your address(es) that are not reflected on this application,
please make the change at this time. These changes will be updated in the main database.

4a. Non-Public Address: This address is for Board use only and is where your license will be mailed. However, if no
public address is listed, this address will also be made available to he public.
Street
Street (2)
Street (3)
City

State
                          f selecting a country other than USA or Canada, please choose "Foreign" as your state
ZipCode
Country

4b. Public Address: This address, usually your office, is available to the public and will be posted on the Internet. If you do
not designate a public address, your non-public address will be posted on the Internet.
 ❑ Check if Public Address is the same as your Non-Public address (the address above will be automatically entered below.)
Street                14909 Downey Court
 Street (2)
 Street (3) -
 City                     Bowie
                          Maryland                                    V
 State
                          f selecting a country other than USA or Canada, please choose "Foreign" as your state
 ZipCode                  20721
 Country                  United States

 5. Do you give the Maryland Board of Physicians permission to report your date of birth to                                      ()Yes ONo
 the Federation of State Medical Boards' Physician Data Center? See instruction



        CHARACTER AND FITNESS (Question 6)
        6. The following questions pertain to the period since July 1, 2012. If this is your first renewal, these questions
        apply to the period commencing with the date of your initial licensure or reinstatement. Check the box YES or NO
        next to each question. If you answer Yes; provide an explanation at the prompt
        * All questions must be answered Yes or No.

                             ' ias any licensing or disciplinary board of any jurisdiction (except this licensing board), or any entity of the
                             armed services denied your application for licensure, reinstatement or renewal, or taken any action against
         Yes     No
                             your license, including but not limited to reprimand, suspension, revocation, a fine, or nonjudicial punishment,
         NO                  for an act that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?



                             "aye any complaints, investigations or charges been brought against you or are any currently pending in any
                             r _risdiction by any licensing or disciplinary board (except this licensing board) or an entity of the armed
         Yes     No
                             services?
         NO




                                                                                                                                                                         JA3142
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              c. Has your application for a medical or health professional license been withdrawn for reasons that would be
                 grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
'yes    NO

NO

                "is an investigation or charge been brought against you by a hospital, related Institution, or alternative health
                __re system that would be grounds for action under Md. Code Ann. Health Occ. §14-404?
Yes     No
NO

                   ve you had any denial of application for privileges, failure to renew your privileges, or limitation, restriction,
                 suspension, revocation or loss in privileges in a hospital, related health care facility, or alternative health care
Yes     No
                 system that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
NO


                 Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                 diversionary disposition of any criminal act, excluding traffic violations?
Yes     No
NO

  —      -    ^. Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                 diversionary disposition for an alcohol or controlled dangerous substance offense, including but not limited to
Yes     No
                 driving while under the influence of alcohol or controlled dangerous substances?
NO


                 ',re there any pending criminal charges against you in any court of law, excluding minor traffic violations?
Yes     No
NO
                 Do you have a physical or mental condition that currently impairs your ability to practice medicine?
Yes     No
NO
                 Has the use of drugs and/or alcohol resulted in an impairment of your ability to practice your profession?
Yes     No
NO
              fr no you illegally use drugs?
Yes     NO
NO
                 Have you surrendered or allowed your license to lapse while under investigation by any licensing or
                 disciplinary board of any jurisdiction or an entity of the armed services?
 Yes    No
 NO

                - 'lave you been named as a defendant in a filing or settlement of a medical malpractice action?
 Yes No
                  I was a Resident rotating through Prince Georges Hospital in 2010 when a child delivered had Brachial nerve
 YES              palsy. All staff including Residents involved in the delivery were name in the law-suit. I am being represented
                  by Attorneys from Howard Residency program which is my training institution. The law-suit is still in its
                  preliminary stages

               n. Has your employment by any hospital, HMO, related health care or other institution, or military entity been
                  terminated for any diciplinary reasons?
 Yes    No
 NO

                  " -ve you voluntarily resigned from any hospital, HMO, or other health care facility or institution, or military
                  ,entity while under investigation by that institution for disciplinary reasons?
 Yes     No
 NO

               p. Are you in default of a service obligation resulting from your receipt of state or federal funding for your
                  medical education?
 Yes     No
 NO

                  Have you failed to make arrangements to satisfy any state or federal loans that financed your medical
                  education?
  Ye;    No


                                                                                                                                 JA3143
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   CONTINUING MEDICAL EDUCATION (Question 7)
cfr a. CME met. I have completed and have been granted credit for at least 50 credit hours of Category 1
    continuing medical education activities within the two-year period immediately preceding submission of
    this application for license renewal. Physician is obliged to obtain requisite documentation of CME activity
    and maintain documentation for a period of six years for possible inspection by the Board. For additional
    information on CME, see Maryland Regulations, 10.32.01.09.


      b. First Renewal & NPO. I am exempt from CME during the renewal period because this is my first
      renewal after initial medical licensure in Maryland and I have completed the Board's New Physician
      Orientation Program. The New Physician Orientation is for NEWLY licensed physicians only. If you were
      licensed prior to September 30, 2012 or reinstated, this does not apply to you. See New Physician
      Orientation Program web site. Your license will not be renewed unless you have completed the
      orientation.


      c. First Renewal after reinstatement. I am exempt from CME during the renewal period because this is
      my first renewal after reinstatement of my medical licensure in Maryland.


    PERSONAL AND PROFESSIONAL INFORMATION (Questions 8-17)
8a.. Gender 0 Male 0 Female


8b. RACE/ETHNIC IDENTIFICATION - PLEASE CHECK ALL THAT APPLY
Are you of Hispanic or Latino origin? (A person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin, regardless of race.)
Select one or more of the following racial categories:
     ierican Indian or Alaska Native (A person having origins in any of the original peoples of North or South America, including Central America,
   and who maintains tribal affiliations or community attachment.)                                                                     .
        Ian (A person having origin in any of the original peoples of the Far East, Southeast Asia, or the Indian subcontinent Including, for example,
    ..,ambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.)
         ( or African American (A person having origins in any of the black racial groups of Africa.)

        ive Hawaiian or other Pacific Islander (A person having origins In the original peoples of Hawaii, Guam, Samoa, or other Pacific Islands.)

       ite (A person having origins In any of the original peoples of Europe, the Middle East, or North Africa.)

       ler


9. Are you employed by the Federal Government?
 0 Yes ®No

10. Please indicate if you are currently in: a) a residency program accredited by the Accreditation Council for Graduate Medical
Education or an internship or residency program approved by the American Osteopathic Association; orb) a fellowship
(subspecialty) training program accredited by the ACGME.

    If you answer Yes to either a. or b. you will not be required to complete the Practice Information section (Questions 15-26) of
this application.

a. In an accredited/approved internship or residency program?
  0 Yes ®No

 b. In an accredited fellowship (subspecialty) training program?
      Yes ® No

 11a. Which best describes your current area(s) of concentration:
 Primary Concentration             Obstetrics & Gynecology                                              V
 Secondary Concentration           None


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11b. SPECIALTY BOARD CERTIFICATION: List up to two (2) specialty areas only if certified by a recognized board of the
American Board of Medical Specialties (ABMS) or the American Osteopathic Association (AOA).
Primary Certification          Obstetrics & Gynecology
Secondary Certification        None


12. Please select all states (excluding Maryland) where you hold a medical license.
 ❑ Alabama                ❑ Florida ❑ Kentucky     ❑ Nebraska       ❑ Oklahoma       0 Utah
 ❑ Alaska                 ❑ Georgia ❑ Louisiana    ❑ Nevada         ❑ Oregon         ❑ Vermont
 ❑ Arizona                ❑ Guam ❑ Maine           ❑ New Hampshire ❑  Pennsylvania     Virginia
 ❑ Arkansis               ❑ Hawaii ❑ Massachusetts ❑ New Jersey     ❑ Puerto Rico    0 Virgin Islands
 ❑ California             ❑ Idaho ❑ Michigan       ❑ New Mexico     ❑ Rhode Island ❑ Washington
 ❑ Colorado               ❑ Illinois 0 -Minnesota  ❑ New York       ❑ South Carolina ❑West Virginia
 ❑ Connecticut            ❑ Indiana ❑ Mississippi  ❑ North Carolina ❑ South Dakota ❑ Wisconsin
 ❑ Delaware               ❑ Iowa     ❑ Missouri    ❑ North Dakota 0 Tennessee        ❑ Wyoming
 ❑ District of Columbia   ❑ Kansas ❑ Montana       ❑ Ohio           ❑ Texas


13a. How many weeks per year do you work?         48

13b. Please indicate below how the hours are allocated in your typical work week . The sum of these hours should reflect the
number of hours in your typical work week. Definitions of these categories are listed below.

 0  If you allocate 0 hours per week to a. Patient Care Related Activities you will not be required to complete the Practice
Information section (Questions 15-26) of this application.

Patient Care Related Activities include seeing patients, writing prescriptions, patient-related clinical activities (such as pathologic
and radiologic assessments), maintaining patient records, obtaining and reviewing test results, arranging referrals, consulting with
other providers about patients, talking with a patient's family members.

 Research includes clinical, laboratory, and analytical research

 Teaching includes the teaching of medical undergraduate & graduate students and other graduate students.

 Administration & Other: Administration includes practice management (billing, contract negotiations, personnel, regulatory
 activities) & management of institutions or programs (health departments, health insurance, hospitals, other health-related
 institutions or programs); Other

 44 Use whole numbers. No fractional hours       none enter 0.
 a. Patient Care Related Activities 60           hours per week
 b. Research                        0            hours per week
 c. Teaching                            10       hours per week
 d. Administration & Other              10       hours per week
 Total Hours                            80       hours per week



 14. If you indicated in Question 13 that you are not engaged in patient care related activities, do you intend to resume patient care
 related activities in the next two years?
  0 Yes 0 No



      PRACTICE INFORMATION (Questions 15-2e)

     15. Do you plan to discontinue patient care related activities in the next two years?
      0 Yes ®No


     16, Please indicate below the number of practice/office locations at which you routinely deliver patient care for reimbursement.
         a. Number of locations in Maryland (if none, enter 0)
         b.                                                                             0


                                                                                                                                JA3145
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       Number of locations outside of Maryland (if none, enter 0)
       0 If you have locations outside Maryland, please answer (c) below after you
       answer (b).
    c. Do you routinely treat Maryland patients at your practice/office location(s) outside of Maryland?
           0 Yes 0 No 0 Don't know



17. Please indicate below the number of hospitals at which you currently have admitting privileges.
  a. Number of hospitals in Maryland (if none, enter 0)
 b. Number of hospitals outside of Maryland (if none, enter 0)           0



18. Primary Practice / Office Location Primary Practice / Office Location

0 Please answer all Primary Practice questions
a. Organization Name              Dr Abdul Chaudry
    Organization Name2
b. Street Address                 6005 Landover Road, suite#5

c. Street2
                                 0 Enter suite or room number here. (Ex. Suite 101 or Room 101)
 d. City                          Cheverly
 e. State                         Maryland                                   v

 f. Zip Code                      20785
 g. Jurisdiction                  PRINCE GEORGE'S           v


 h. Employer Tax ID               00             0000000        0   If you do not have an EIN enter XX-XXXXXXX

                                  CTQWhat is Employer tax ID?


 i. Please select one of the following related to the NPI used for billing insurers:

      0 I use an Organizational NPI for billing. Please Enter >
      0 I use my Individual NPI for billing.                                                            Organizational NPI

           I do not bill public or private insurers.


     You indicated in Question 13a, 60 hours of Patient Care Related Activities during a typical work
     week.
     How many of those Patient Care Related Activity hours in your typical work week are delivered at
     this practice/office location?                                                                           60
         If none, enter 0.                                                                                    Hours


 k. Setting                        Freestanding Physician Office                 N./
 I. Private/Public                 Private-For profit
 m. Practice                        Single-Specialty Group-independent
     Please answer the following regarding staffing at this practice/office location on a typical day. Definition of mid-
     level medical providers is listed below.
     ti If none, enter 0; if you don't know the number, enter 999

      Number of physicians (MDs, DOs, residents, fellows) including yourself at this location.                 2

      Number of mid-level medical providers at this location.                                            5
      0 Mid-level medical providers: nurse practitioners, nurse midwives, nurse anesthetists and physician
      assistants.




                                                                                                                             JA3146
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19. Secondary Practice / Office Location

  If you have a secondary practice/office location and you've checked the box above, you will see a series of questions that must be completed.

a. Organization Name              Dr Abdul Chaudry
   Organization Name2
b. Street Address                 6400 Marlboro Pike

c. Street2
                                 U Enter suite or room number (Ex. Suite 101 or Room 101)
d. City                           District Heights
e State                           Maryland
f. Zip Code                       20747
g. Jurisdiction                    PRINCE GEORGE'S                 "../


h. Employer Tax ID                 oo             0000000                   If you do not have an EIN enter XX-XXXXXXX

                                        What is Employer tax ID?


i. Please select one of the following related to the NPI used for billing insurers:

     0 I use an Organizational NPI for billing. Please Enter >
     0 I use my Individual NPI for billing.
                                                                                                                    organizational NPI
     ® I do not bill public or private insurers.


    You indicated in Question 13a, 60 hours of Patient Care Related Activities during a typical work
    week.                             •
    How many of those Patient Care Related Activity hours in your typical work week are delivered at
    this practice/office location?                                                                                        20
    0 If none, enter 0.                                                                                                   Hours


 k. Setting                        Freestanding Physician Office
 I. Private/Public                 Private-For profit
 m. Practice                        Solo-independent
    Please answer the following regarding staffing at this practice/office location on a typical day. Definition of mid-
    level medical providers is listed below.
    0 If none, enter 0; if you donIt know the number, enter 999

    Number of physicians (MDs, DOs, residents, fellows) including yourself at this location.                               2

    Number of mid-level medical providers at this location.                                            5
      Mid-level medical providers: nurse practitioners, nurse midwives, nurse anesthetists and physician
    assistants.



20-21 The Health Information Technology questions have been moved to a seperate section. You are required to complete the Health Information
Technology section ONLY if you have a Primary Practice Location.

22. Please indicate if you participate in the following private and public insurance programs, and whether you are currently accepting new public
insurance program patients,


     a.   Participate In any PRIVATE Insurance plan networks, including PPO, EPO, HMO, etc.                                              O   0
                                                                                                                                     Yes     No

     b.
          Participate in the MARYLAND MEDICAL ASSISTANCE PROGRAM (in either the traditional program or a Managed                         ®   0
          Care Organization)                                                                                                         Yes     No

          b1. It Yes, are you accepting new Maryland Medical Assistance patients?                                                        O   0
                                                                                                                                     Yes     No

     c.   Participate in the MEDICARE (in either the traditional program or a Medicare Advantage Plan)?


                                                                                                                                                  JA3147
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                                                                                                                                  ®      0
                                                                                                                                 Yes     No
                                                                                                                                 0       0
           c1. If Yes, are you accepting new Medicare patients?
                                                                                                                                 Yes     No




 23. Do you offer a sliding fee scale based on ability to pay? (Utilize a standardized fee reduction schedule for low-income)
  OYes 0 No '0 NA



 24. Please report the typical number of hours per week you personally provide care to patients on a charity basis (do not include bad debt).
  0          hours per week. 0 If none, enter 0



 If you are practicing as an adult primary care specialist (internal medicine, family practice, general medicine), please answer 0.25, otherwise:
  2   check this box and skip to Q.26.
 25. Do you charge patients an annual fee for participating on your patient panel, sometimes called direct, concierge, or retainer-based practice?
   OYes 0 No



  26. Workers Compensation
  Workers Compensation coverage: If you employ one or more persons the Md. Code Ann. Health Occ. §1-202 requires that you
  verify that you are complying with the Workers' Compensation Law for your renewal to be issued.
  I hereby certify:
   0 Not Applicable (Do not complete below)
   0 I do not practice in Maryland.
   0 1 do not employ anyone in my practice in Maryland.
   0 I employ one or more persons in my Maryland practice and have the following Workers Compensation coverage.
          If you are a Maryland employer you must provide the information requested below.
  Insurance Company
  Policy Number
  Expiration Date                                 j .6 Enter as MM/DD/YYYY Enter as MM/DDNYYY


      HEALTH INFORMATION TECHNOLOGY

Please contact the Maryland Health Care Commission at 410-764-3330 for questions relating to this section.


          Electronic Health Record Incentive

          Beginning in 2011, physicians that adopt an electronic health record are eligible to receive an incentive either under
          Medicare or Medicaid. To receive this incentive, a physician must meet certain criteria, which varies depending on which
          program you choose. The Medicare incentive is up to $44,000 over five years and the Medicaid incentive is up to
          $63,750 over six years. Physicians are encouraged to learn more about these incentive opportunities by visiting the
          Centers for Medicare and Medicaid Services website htto://www.cms.cov/EHRIncentiveProckams/



This question is about the use of computers and other forms of information technology, such as hand-held computers, in diagnosing or treating your
patients at your primary office/practice location, which you listed in
Question 18 - Primary Practice / Office Location Primary Practice /Office Location

 Please complete the following HIT questions for: Dr Abdul Chaudry


 1. This question is about the use of computers and other forms of information technology, such as hand-held computers, in diagnosing
 or treating your patients in your office.

 Are you computerized in your office:
      a. To obtain information about treatment alternatives or recommended guidelines?



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     *Yes 0 No

    b. To send prescriptions electronically to a pharmacy?
     *Yes 0 No
    If you answered Yes to lb, what percentage of prescriptions are submitted electronically? 90
    (Enter Whole number)

    c. To generate reminders for you about preventive services needed for your patients?
     *Yes 0 No

    d. To access patient notes, medication lists, or problem lists?
     *Yes 0 No

    e. For clinical data and image exchanges with other physicians?
      °Yes *No

     f. For clinical data and image exchanges with hospitals and laboratories?
      0 Yes *No

     g. To communicate about clinical issues with patients by email?
      °Yes ®No

     h. To obtain information on potential patient drug interactions with other drugs, allergies, and/or patient conditions?
      *Yes 0 No

2. Does your primary office/practice location use electronic MEDICAL RECORDS (not including billing records)?
 0 Yes, all electronic ()Yes, part paper and part electronic 0 No 0 Don't know

     2a. If Yes, what is the name and version of the EHR system?
      Other                                              N/



     Other Lytec


     2b. If No, please indicate your most significant reason for not using electronic medical records.
      0 Capital cost outlays         0 Lack of technology standards 0 Retiring soon
      0 Overburdened staff           0 Intangible benefits              0 Not my decision
      0 Risk of privacy breaches

3. Have you used telemedicine for any purpose in the last 12 months?
    Yes 0 No

           Telemedicine means, as it relates to the delivery of health care services,.the use of interactive audio, video, or other
       telecommunications of electronic technology by a licensed health care provider to deliver health care service(s) within the scope
       of practice of the health care provider at a site other than the site at which the patient is located.

3a. Approximately how many times in the last 12 months have you used telemedicine for any purpose? 2
    (Enter 0 if you did hot use telemedicine)

3b. If you used telemedicine, what are your common uses of telemedicine technology (mark all that apply)?
O Second opinion
O Diagnosis
2 Follow up
O Emergency
 O Chronic disease management
 O Other (specify) I

  The following questions are to be answered ONLY if your Practice Setting is one of the following:
  (1) Solo; (2) Single-Specialty Group; (3) Multi-Specialty Group; or (4) HMO Group/Staff



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 4. Does your practice use high speed Internet?
  *Yes 0 No

 4a.   Comcast                                                         N./   Please Specify :

 5. How do you access the Internet?
  0 DSL      0 Cable Modem 0       Fiber to the office * Wireless   0 Other 0      Unknown

 6. Do you provide Wi-Fi access to your patients in your waiting area?
  Oyes *No         °Unknown



       PHYSICIANS EMERGENCY CONTACT INFORMATION


27. As part of Maryland's emergency preparedness efforts, the Department of Health and Mental Hygiene has
identified the need for certain contact information for licensed physicians in Maryland who may be needed to
respond to a catastrophic health emergency. (Public Safety Article, Sec. 14-3A-01 et seq. and Health General Article
Section 18-901 et seq. sets forth the powers of the Governor and Secretary of the Department of Health and Mental
Hygiene.

* Required Field

Please provide the phone number that should be used in the event of an actual emergency.
Daytime *                3013250264
Nighttime*



Indicate by checking any box that applies whether you have any particular training and experience regarding the
following specific agents:
 ❑ Chemical El Biological ❑ Radiological
If you are interested in being contacted about training opportunities provided by the Board of Physicians, please visit
the Maryland Professional Volunteer Corps website at httos://mdresponds.dhmh.marylandoovi.

                                              Thank you for your assistance)



       26. CERTIFICATION AND AUTHORIZATION OF LICENSE APPLICATION


                        a. I certify that I have personally reviewed all responses to the items in this application and that the information I
                        have given is true and correct to the best of my knowledge and that any false information provided as part of my
                        application may be cause for the denial of my application.

                        b. I agree that the Maryland Board of Physicians (the Board) may request any information necessary to process my
                        application for renewal from any person or agency, including but not limited to former and current employers,
                        government agencies, the National Practitioners Data Bank, the Healthcare Integrity and Protection Data Bank,
                        hospitals and other licensing bodies, and I agree that any person or agency may release to the Board the
                        information requested. I also agree to sign any subsequent releases for information that may be requested by the
                        Board.

                        c. I shall inform the Board, by certified mail, return receipt requested, within 30 days of: (a) action that would be
                        grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404, that occurred at any time during the
                        application period; (b) change in any answer that was originally given in this application.


                        d. Check Here if you wish to have the option of viewing your completed application online after you renew your
                        license. Otherwise, your application will not be available online for your later viewing. If selected, viewing is
                        available until 12/1/2014.




         29. Please provide your electronic signature (type your name) below:
         Name                        Charles Akoda
         Today's Date                8/12/2014


                                                                                                                                    JA3150
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Last four digits of Social
Security Number:

30. Select a Payment Option here to complete your application.
   Please note: Credit cards may be used for online payment only. If you or a 3rd party is sending in payment, must be by check.

Your renewal fee is:

     Credit Card 0 Send Check 0 3rd Party Check                                3rd Party Payer:




PAYMENT
  APPLICATION COMPLETION INFORMATION:
  Date Application Started   8/12/2014
  Date Application Submitted 8/12/2014
  Confirmation Number
  Payment Method             Crean card
  Amount Paid                $522.00
  Credit Card Approval No.




                                                                                                                                   JA3151
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                                                                                                                                                                           Print
                  DO NOT MAIL THIS TO THE BOARD. RETAIN THIS APPLICATION FOR YOUR RECORDS.

Application for renewal of:    Physicians
1. License Number D0073049 Dr. Charles John Nosa Akoda

          Individual National Provider Identifier NPI: 1952664278          0 I do not have an NPI
 2.       This is the NPI entered in the field for Rendering NPI on a claim (10 digit number)
                NPI Information


3. EMAIL ADDRESS: This is your email address on file. If it has changed, please edit below. If you do not have an email
address please indicate by checking the checkbox below.
                      adcfrancis@aol.com

 0      I do not have an email address

Address Changes (Non-Public and Public):
You must submit a Public and Non-Public address. If either address has changed, please correct here.
Your address(es) on the online renewal application is current as of July 1, 2012 If you requested any changes to your address(es) that are not reflected on this application,
please make the change at this time. These changes will be updated In the main database,

4a. Non-Public Address: This address is for Board use only and is where your license will be mailed. However, if no
public address is listed, this address will also be made available to the public.
Street
Street (2)
Street (3)
City

State
                         If selecting a coun       other than USA or Canada, please choose "Foreign" as your state
ZipCode
Country

4b. Public Address: This address, usually your office, is available to the public and will be posted on the Internet. If you do
not designate a public address, your non-public address will be posted on the Internet.
0 Check if Public Address is the same as your Non-Public address (the address above will be automatically entered below.)
Street              14909 Downey Court
Street (2)
Street (3)
 City                     Bowie
                           Maryland
 State
                          If selecting a country other than USA or Canada, please choose "Foreign" as your state
 ZipCode                   20721
 Country                   United States

 5. Do you give the Maryland Board of Physicians permission to report your date of birth to
                                                                                                                                     Yes ONo
 the Federation of State Medical Boards' Physician Data Center? See instruction



        CHARACTER AND FITNESS (Question 6)
        6. The following questions pertain to the period since July 1, 2010. If this is your first renewal, these questions
        apply to the period commencing with the date of your initial licensure or reinstatement. Check the box YES or NO
        next to each question. If you answer Yes, provide an explanation at the prompt
        * All questions must be answered Yes or No.

                            "-- mny licensing or disciplinary board of any jurisdiction (except this licensing board), or any entity of the
                                    services denied your application for licensure, reinstatement or renewal, or taken any action against
          Yes    No
                            your license, including but not limited to reprimand, suspension, revocation, a fine, or nonjudicial punishment,
         NO                 for an act that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?



                              lave any complaints, investigations or charges been brought against you or are any currently pending in any
                            jurisdiction by any licensing or disciplinary board (except this licensing board) or an entity of the armed
          Yes    No
                            services?


                                                                                                                                                                         JA3152
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    NO


                    Has your application for a medical or health professional license been withdrawn for reasons that would be
                    grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
.   Yes    No
    NO

                  J. Has an investigation or charge been brought against you by a hospital, related institution, or alternative health
                     care system that would be grounds for action under Md. Code Ann. Health Occ. §14-404?
    Yes    No
    NO

                  e. Have you had any denial of application for privileges, failure to renew your privileges, or limitation, restriction,
                     suspension, revocation or loss in privileges in a hospital, related health care facility, or alternative health care
    Yes No
                     system that would be grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404?
    YES
                    Yes due to NPI number error: On February 2012 I applied for Hospital priviledges at Prince Georges Hospital.
                    I inadvertently supplied an organizational NPI number rather than an Individual NPI number. My priviledges
                    were rescinded on about May 30th 2012. I have since obtained an individual NPI number 1952664278 which I
                    have submitted to the hospital. I am in the process of re-credentialing:

                  f. Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                     diversionary disposition of any criminal act, excluding traffic violations?
    Yes    No
    NO

                  - Have you had a plea of guilty, nob contendere, conviction, or receipt of probation before judgment or other
                     .versionary disposition for an alcohol or controlled dangerous substance offense, including but not limited to
    Yes    No
                    driving while under the influence of alcohol or controlled dangerous substances?
    NO


                     Are there any pending criminal charges against you in any court of law, excluding minor traffic violations?
    Yes    No
    NO
                     Do you have a physical or mental condition that currently impairs your ability to practice medicine?
    Yes    No
    NO
                      las the use of drugs and/or alcohol resulted in an impairment of your ability to practice your profession?
    Yes    No
    NO
                     -10 you illegally use drugs?
    Yes    No
    NO
                     Have you surrendered or allowed your license to lapse while under investigation by any licensing or
                      sciplinary board of any jurisdiction or an entity of the armed services?
    Yes    No
    NO

                     " - 'e you been named as a defendant in a filing or settlement of a medical malpractice action?
    Yes    No
    NO
            •-•   n. Has your employment by any hospital, HMO, related health care or other institution, or military entity been
                     ierminated for any diciplinary reasons?
     yes Iv
    YES              Yes due to NPI number error On February 2012 I applied for Hospital privileges at Prince Georges Hospital. I
                     inadvertently supplied an organizational NPI number rather than an Individual NPI number. My privileges were
                     rescinded on about may 30th 2012. I have since obtained an individual NPI number 1952664278 which I have
                     submitted to the hospital. I am in the process of re-credentialing.

                      Have you voluntarily resigned from any hospital, HMO, or other health care facility or institution, or military
                      entity while under Investigation by that institution for disciplinary reasons?
    Yes    No
    NO

                      Are you in default of a service obligation resulting from your receipt of state or federal funding for your medical
                      education?
     Yes    No


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                          Have you failed to make arrangements to satisfy any state or federal loans that financed your medical
                          education?
      Yes       No
      NO




     CONTINUING MEDICAL EDUCATION (Question 7)
0     a. CME met. I have completed and have been granted credit for at least 50 credit hours of Category 1
      continuing medical education activities within the two year period immediately preceding submission of
      this application for license renewal. Physician is obliged to obtain requisite documentation of CME activity
      and maintain documentation for a period of six years for possible inspection by the Board. For additional
      information on CME, see Maryland Regulations, 10.32.01.09.


       b. First Renewal & NPO. I am exempt from CME during the renewal period because this is my first
       renewal after initial medical licensure in Maryland and I have completed the Board's New Physician
       Orientation Program. The New Physician Orientation is for NEWLY licensed physicians only. If you were
       licensed prior to September 30, 2010 or reinstated, this does not apply to you. See New Physician
       Orientation Program web site. Your license will not be renewed unless you have completed the
       orientation.


       c. First Renewal after reinstatement. I am exempt from CME during the renewal period because this is
       my first renewal after reinstatement of my medical licensure in Maryland.


     PERSONALAND PROFESSIONAL INFORMATION (Questions 8-17)
8a. Gender *Male 0 Female


8b. RACE/ETHNIC IDENTIFICATION - PLEASE CHECK ALL THAT APPLY
Are you of Hispanic or Latino origin? (A person of Cuban, Mexican, Puerto Rican, South or Central
American, or other Spanish culture or origin, regardless of race.)
Select one or more of the following racial categories:
      .arican Indian or Alaska Native (A person having origins in any of the original peoples of North or South America, Including CentralAmerica,
   add who maintains tribal affiliations or community attachment.)

          (A person having origin in any of the original peoples of the Far East, Southeast Asia, or the Indian subcontinent including, for example,
     L.ambodia, China, India, Japan, Korea, Malaysia, Pakistan, the Philippine Islands, Thailand, and Vietnam.)

              or African American (A person having origins in any of the black racial groups of Africa.)

        ".e Hawaiian or other Pacific Islander (A person having origins In the original peoples of Hawaii, Guam, Samoa, or other Pacific Islands.)

        site (A person having origins in any of the original peoples of Europe, the Middle East, or North Africa.)

         kr


9. Are you employed by the Federal Government?
    0 Yes ®No


10. Please indicate if you are currently in: a) a residency program accredited by the Accreditation Council for Graduate Medical
Education or an internship or residency program approved by the American Osteopathic Association; orb) a fellowship
(subspecialty) training program accredited by the ACGME.

    If you answer Yes to either a. or b. you will not be required to complete the Practice Information section (Questions 15-26) of
this application.

a. In an accredited/approved internship or residency program?
    0 Yes C..) No

b. In an accredited fellowship (subspecialty) training program?
    0 Yes ®No



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11a. Which best describes your current area(s) of concentration:
Primary Concentration          Obstetrics & Gynecology                                      V
Secondary Concentration        None                                                         V


11b. SPECIALTY BOARD CERTIFICATION: List up to two (2) specialty areas only if certified by a recognized board of the
American Board of Medical Specialties (ABMS) or theAmerican Osteopathic Association (AOA).
Primary Certification       None                                                   V
Secondary Certification     None


12. Please select all states (excluding Maryland) where you hold a medical license.
 ❑ Alabama                ❑ Florida ❑ Kentucky             ❑ Nebraska           0 Oklahoma          0 Utah
 ❑ Alaska                 ❑ Georgia    DLouisiana          0 Nevada             0 Oregon            ❑Vermont
 ❑ Arizona                ❑ Guam • ❑ Maine                 ❑ New Hampshire ❑ Pennsylvania           El Virginia
 ❑ Arkansas               ❑ Hawaii ❑ Massachusetts ❑ New Jersey                 ❑ Puerto Rico       ❑Virgin Islands
 ❑ California             ❑ Idaho      ❑ Michigan          ❑ New Mexico         ❑ Rhode Island      ❑ Washington
 ❑ Colorado               ❑ Illinois   ❑ Minnesota         ❑ New York           ❑South Carolina ❑West Virginia
 ❑ Connecticut            ❑ Indiana ❑ Mississippi          ❑ North Carolina     ❑ South Dakota      ❑ Wisconsin
 ❑ DelaWare               ❑ Iowa       ❑ Missouri          ❑ North Dakota       0 Tennessee         ❑ Wyoming
 ❑ District of Columbia ❑ Kansas ❑ Montana                 0 Ohio               0 Texas


13a. How many weeks per year do you work?         48

13b. Please indicate below how the hours in your typical work week are allocated. The sum of these hours should reflect the
number of hours in your typical work week. Definitions of these categories are listed below.

    If you allocate 0 hours per week to a. Patient Care Related Activities you will not be required to complete the Practice
Information section (Questions 15-26) of this application.

Patient Care Related Activities include seeing patients, writing prescriptions, patient-related clinical activities (such as pathologic
and radiologic assessments), maintaining patient records, obtaining and reviewing test results, arranging referrals, consulting with
other providers about patients, talking with a patient's family members.

Research includes clinical, laboratory, and analytical research

 Teaching includes teaching of medical undergraduate & graduate students and other graduate students.

 Administration & Other: Administration includes practice management (billing, contract negotiations, personnel, regulatory
 activities) & management of institutions or programs (health departments, health insurance, hospitals, other health-related
 institutions or programs); Other

    Use whole numbers. No fractional hours. If none enter 0.
 a. Patient Care Related Activities 36        hours per week
 b. Research                        0         hours per week
 c. Teaching                           0        hours per week
 d. Administration & Other             4        hours per week
 Total Hours                           40       hours per week



 14. If you indicated in Question 13 that you are not engaged in patient care related activities, do you intend to resume patient care
 related activities in the next 2 years?
  Dyes 0 No



     PRACTICE INFORMATION (Questions 15-26)

    15. Do you plan to discontinue patient care related activities in the next two years?
     0 Yes ®No



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16. Please indicate below the number of practice/office locations at which you routinely deliver patient care for reimbursement.
    a. Number of locations in Maryland (if none, enter 0)                        0
    b. Number of locations outside of Maryland (if none, enter 0)
       a If you have locations outside Maryland, please answer (c) below after you 0
       answer (b).
    c. Do you routinely treat Maryland patients at your practice/office location(s) outside of Maryland?
          0 Yes 0 No 0 Don't know



17. Please indicate below the number of hospitals at which you currently have admitting privileges.
  a. Number of hospitals in Maryland (if none, enter 0)                0
  b. Number of hospitals outside of Maryland (if none, enter 0)                    0



18. Primary Practice / Office Location Primary Practice / Office Location
No Primary Location indicated from your response in Question 16
  Please answer all Primary Practice questions




19. Secondary Practice / Office Location
No Secondary Location indicated from your response in Question 16.
   If you have a secondary practice/office location and you've checked the box above, you will see a series of questions that must be completed.




20-21 Health Information Technology questions has been moved to a seperate section. You are required to complete the Health Information
Technology section ONLY if you have a Primary Practice Location.
22. Please indicate if you participate in the following private and public insurance programs, and whether you are currently accepting new public
insurance program patients.

     a. Participate in any PRIVATE insurance plan networks, including PPO, EPO, HMO, etc.                                           0       0
                                                                                                                                    Yes     No


          Participate in the MARYLAND MEDICAL ASSISTANCE PROGRAM (in either the traditional program or a Managed 0                           ®
          Care Organization)                                                                                     Yes                        No

          b1. If Yes, are you accepting new Maryland Medical Assistance patients?                                                   0       0
                                                                                                                                    Yes     No


     c.   Participate in the MEDICARE (in either the traditional program or a Medicare Advantage Plan)?                             0       *
                                                                                                                                    Yes     No

          c1. If Yes, are you accepting new Medicare patients?                                                                      0       0
                                                                                                                                    Yes     No




23, Do you offer a sliding fee scale based on ability to pay? (Utilize a standardized fee reduction schedule for low-income)
 ()Yes () No ®NA



24. Please report the typical number of hours per week you personally provide care to patients on a charity basis (do not include bad debt).
 0          hours per week.          If none, enter 0



If you are practicing as an adult primary care specialist (internal medicine, family practice, general medicine), answer 0.25. Otherwise skip to Q.26.

25. Do you charge patients an annual fee for participating on your patient panel (sometime called direct, concierge, or retainer-based practice)?


                                                                                                                                                   JA3156
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   OYes 0 No



  26. Workers Compensation
  Workers Compensation coverage: If you employ one or more persons the Md. Code Ann. Health Occ. §1-202 requires that you
  verify that you are complying with the Workers' Compensation Law for your renewal to be issued.
  I hereby certify:
   0 Not Applicable (Do not complete below)
   01do not practice in Maryland.
   0I do not employ anyone in my practice in Maryland.
   0I employ one or more persons in my Maryland practice and have the following Workers Compensation coverage.
        If you are a Maryland employer you must provide the information requested below.
  Insurance Company
  Policy Number
  Expiration Date                             ; C Enter as MM/DD/YYYY Enter as MM/DDNYVY


     PHYSICIANS EMERGENCY CONTACT INFORMATION

27. As part of Maryland's emergency preparedness efforts, the Department of Health and Mental Hygiene has
identified the need for certain contact information for licensed physicians in Maryland who may be needed to
respond to a catastrophic health emergency. (Public Safety Article, Sec. 14-3A-01 et seq. and Health General Article
Section 18-901 et seq. sets forth the powers of the Governor and Secretary of the Department of Health and Mental
Hygiene.

* Required Field

Please provide the phone number that should be used in the event of an actual emergency.
Daytime *                I3013250254
Nighttime*


Indicate by checking any box that applies whether you have any particular training and experience regarding the
following specific agents:
 n Chemical III Biological D Radiological

If you are interested in being contacted about training opportunities provided by the Board of Physicians, please visit
the Maryland Professional Volunteer Corps website at https://mdresponds.dhmh.maryland.aov/.

                                              Thank you for your assistance!



     28. CERTIFICATION AND AUTHORIZATION OF LICENSE APPLICATION


              1:1      a. I certify that I have personally reviewed all responses to the items in this application and that the information I
                       have given is true and correct to the best of my knowledge and that any false information provided as part of my
                       application may be cause for the denial of my application.

                       b. I agree that the Maryland Board of Physicians (the Board) may request any information necessary to process my
                       application for renewal from any person or agency, including but not limited to former and current employers,
                       government agencies, the National Practitioners Data Bank, the Healthcare Integrity and Protection Data Bank,
                       hospitals and other licensing bodies, and I agree that any person or agency may release ta the Board the
                       information requested. I also agree to sign any subsequent releases for information that may be requested by the
                       Board.

                       c. I shall inform the Board, by certified mail, return receipt requested, within 30 days of: (a) action that would be
                       grounds for disciplinary action under Md. Code Ann. Health Occ. §14-404, that occurred at any time during the
                       application period; (b) change in any answer that was originally given in this application.


                       d. Check Here if you wish to have the option of viewing your completed application online after you renew your
                       license. Otherwise, your application will not be available online for your later viewing. If selected, viewing is
                       available until 12/1/2012.


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          Case:2:18-cv-05629-JDW
          Case  22-1998 Document:Document
                                  22-5 Page:
                                          86-4 1268    Date Filed:
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                                                                Page  36 of 36




29. Please provide your electronic signature (type your name) below:
Name                         Charles John Nosa Akoda

Today's Date                 9/3/2012
Last four digits of Social
Security Number:

30. Select a Payment Option here to complete your application.
ti Please note: Credit cards may be used for online payment only. If you or a 3rd party Is sending in payment, It must be by check.

Your renewal fee is:

     Credit Card 0 Send Check 0 3rd Party Check                                 3rd Party Payer:




PAYMENT
  APPLICATION COMPLETION INFORMATION:
  Date Application Started   9/3/2012
  Date Application Submitted 9/3/2012
  Confirmation Number                    49
  Payment Method             Credit Card
  Amount Paid                $514.00
  Credit Card Approval No.




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Case 2:18-cv-05629-JDW  22-5 Page:
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                                                      Page   1 of 24




                Exhibit 41




                                                                  JA3159
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                    Case 2:18-cv-05629-JDW  22-5 Page:
                                                    86-51270     Date Filed:
                                                          Filed 12/11/21     09/08/2022
                                                                          Page   2 of 24


  Kesting, Virginia

  From:                                Kesting, Virginia
  Sent:                                Wednesday, October 15, 2014 1:33 PM
  To:                                  Kruakaew, Rattakan
  Subject:                             RE: Subpoep_a-----
  Attachments:                         ECFM -and Maryland Board of Physicians E-mail Correspondence.pdf


  Hi Rattakan,

  Per our conversation, attached please find additional material to be included for the file of John Nosa Akoda 0-553-258-5.

  Virginia

  From: Kruakaew, Rattakan
  Sent: Thursday, October 09, 2014 11:35 AM
  To: Fitzpatrick, Eleanor; Kelly, Bill; Dahn, Susan; Kesting, Virginia; Corrado, Kara; Spizuco, Matthew; Griffin, Darrell;
  Steans, Frances; Donatto, Thai
  Subject: Subpoena
  Importance: High

  Good morning,

  We received a subpoena requesting for records of these two applicants:

  0-482-700-2 Oluwafemi Charles Igberase
  0-553-258-5 (John Nosa Akoda)

  If you have any records related to the two applicants, kindly send me copies by end of tomorrow, Friday 10/10. Please
  let me know if you have any questions or concerns.

  Thanks so much for your prompt assistance.

  Rattakan

  (Ms.) Rattakan Kruakaew, M.S.
  Administrative Assistant to William Kelly, MS.
  Associate Vice President for Operations
  Educational Commission for Foreign Medical Graduates (ECFMG)
  3624 Market Street
  Philadelphia, PA 19104
  Tel: 215.823.2103
  Fax: 215.966.7581




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    Kestin         Vir inia

    From:                               Dierdra Rufus -DHMH- [dierdrawfus©r.aryland ovj
    Sent:                               Monday. September 29, 2014 3:27 PM
    To;                                 Kesting, Virginia
    Subject:                            akoda
    Attachments:                        D00052.PDF




    Dierdra Rufus
    Supervisor. Licensure Unit
    Maryland. Board of Physicians
    410-764-5977

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                          UNIVERSITY OF BENIN
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                                     BENIN CITY, NIGERIA


                            Xolutirull Elwakiftareltkocla
               having satisfied all the requirements of the University
                 and passed the prescribed examinations held in
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                             has been admitted to the degree
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                     Bachelor of Medicine: Bachelor of Surgery                       tA
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    Kesiing, Virginia

    From:                               Kesting, Virginia
    Sent:                               Monday. September 29, 2014 3:57 PM
    To:                                 'dierdrawfus@rnaryland.gov.
    Cc:                                 Griffin, Darrell
    Subject:                            FVV. akoda
    Attachments:                        D00052.PDF: ECFMG Verification Form (Form 399A)                          John Nosa Akoda 0-553-258-5.pdf

    Tracking:                           Recipient                                                    Delivery
                                        ldierdrairofils@marylanci.gov.
                                        Grtfin, Darrell                                              Delivered: 9/29/2014 3.57 PM




    Dierdra,

    Attached please find a copy of the completed ECFMG Verification Form (Form 399A) sent from the University of Bonin. Nigeria, to
    ECFMG for John Nosa Akoda 0-553-258-5.

    The copy of the diploma you forwarded to ECFMG matches the copy of the diploma the University of Benin, Nigeria, certified was
    authentic.

    If you need any additional information, please contact rre.

    Virginia Kesting, Manager
    Credentials Services

    (0)ECFMG
    Educational Commission for Foreign Medical Graduates
    3624 Market Street I Philadelphia, PA 19104-2685
    e-mail: vkestingRecfnnorq I Phone:215.823-2177




    From: Dierdra Rufus -DHMH- [rriailto:dierdra.rufus@manrlandooy)
    Sent: Monday, September 29, 2014 3:27 Pvt
    To: Kesting, Virginia
    Subject: akoda




    Dierdra Rufus.
    Supervisor, Lieensure Unit
    Maryland Board of Physicians
    410-764-5977

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                             Philadelphia PA 19104-2685
                                                            FM            John ettursa Akocid
                             USA

           I hereby certify that the attached diploma or other credential for the individual noted above
           is authentic and correct and that I am authorized to certify this on behalf of this institution.


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                            Name of Medical School




           I cannot certify that the diploma or other credential fo- the individual noted above is
           authentic and correct because:




                                   Signature                                         Date




                            Name (Printed or Typed)



                                     Title                                           Se&




                            Name of Medical School




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                          UN /ERSITY OF BENIN




                                      BENIN CITY, NIGERIA


                            Xolutifeall Etwookture,,Alcocict
               having satisfied all the requirements of the University
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                                                                               Page   8 of 24



   1    111.1, Virginia

  From;                                Brooks VVhigham -DHMH- brooks whigham@ma .ylah .gov]
  Sent:                                Thursday, October 09, 2014 2-52 PM
  —o:                                  Kesting, Virginia
  Cc:                                  Dierdra Rufus -DHMH-
  Subject:                             Charles Akoda, M.D.
  Attachments:                         Applicatlon Release - Akoda PDF


   Good afternoon NU Kesting,

  Ms. Rufus thrwarded ine your email stating ECFMG cannot release confidential information without a release
  signed by Dr. Akoda. Please see the attached release Dr. Akoda signed for his. Maryland Board of Physicians
  kieensure upplicatimi authorizing the Board to request any information relating to his license.

  If' you have any questions, please feel free to ask.

   Thank you,

   Brooks WItighant
   f'ompliance Analyse



   Brooks Whigham
  Compliance Analyst, Investigations
  Maryland Board of Physicians
  4201 Patterson Avenue
  4th Floor
   Baltimore. Md 21215

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           in. Release:
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           licensure In Maryland from any person or agency including but not lim ed to postgraduate program directors, individual          ysicians,
           government agencies, the National Practitioner Data Bank, the-Healthcare Integri d ote.ction Data Bank, the Federation of St
           Medical Boards, hospitals and other licensing bodes, and I agree    that any         agencyma e rel ace to the Board the juin rmatnn
           reqti ted. I       Porte to ig any sub.equeni ret.eme r ' format,op that may

                                'Y     es 1,, yl                         Ogi                                                    ,
           Apptie..,arn Jar (Patel)                                                                              Applicant's Signature                                             Onto
           20. (OPTIONAL)           Party RNease: Although the Board encourages you to complete all aspects of your application on your own, if yotsi phint.:)
           use an ir termecfaryio receive information about the stati.s of your application, please complete this; release.

           I agree that the Maretaln Board jf Physicians may release any information pertaining to the status of my application to the following person

        Name.

        Phone:
                                                                                                                Applicant's Signature                                             Date    -


        27. ! ag te That I wI ,!:ooperate fully with any request for information or with any investigation related to my medical practice as a licensed                                   Ihysician in
        tt Stall: of Maryland inAding subpoena of documents or records or the inspection of my medical practice.

        DAN the 7.ericci it whirl! my a,)olicalon is being processed, I shall inform the Board within 30 days of any change to any answer I origin                                                gave in
        this apt cation, any -crest or conviction, any change e address or any action that occurs based on accusations that would be grounds for                                              disciplinary
        ac unAer Mc. Cott Ann., Health cc. § 14-41)4.

                                 t-u-t
        Applicant's Signature                                                                                   Date

        22. Affidavit: Tote fonipleted by the applicant in the presence of a notary public after the applicant's picture has been attachedilow.
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        fitantlandenless licensed b ie Board?                                                                                     --:5 5..-:?.
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       CityCounty atiresaid, personalty appeared the Applicant,                                               , whose likeness is identifiable :mss that of
                                                                             root applicants norm)
       the pin in te phryograli attached to this application and who has made oath in due form of law to be the person referred to in the ahmtter

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                                                                             Page  10 of 24



    Kesting, Virginia

    From:                                 Kesting, Virginia
    Sent:                                 Wednesday, October 15, 2014 12:05 PM
    To:                                   'Dierdra Rufus -DHMH-'
    Subject:                              RE: Maryland Board
    Attachments:                          John Nosa Akoda United States Medical Licensing Examination® (USMLE) Application and
                                          Identification Documents.pdf


    Dierdra,

    Good afternoon.

    This is in response to your e-mail.

    Pursuant to receipt by ECFMG of the release Dr. Akoda signed for his Maryland Board of Physicians licensure application authorizing the Board to
    request any information relating to his license, please see attached copies of identification documents and a copy of one of the United States
    Medical Licensing Examination® (USMLE) applications John Nosa Akoda 0-553-258-5 submitted to ECFMG.

    If you have any questions, please contact me.

    Virginia Kesting, Manager
    Credentials Services

    COECFMG
    Educational Commission for Foreign Medical Graduates
    3624 Market Street I Philadelphia, PA 19104-2685
    e-mail: vkestimaecfmq.orq I Phone:215.823-2177



    From: Dierdra Rufus -DHMH- [mailto:dierdra.rufus(amaryland.gov]
    Sent: Thursday, October 09, 2014 11:42 AM
    To: Kesting, Virginia
    Subject: Maryland Board

    Good morning Ms. Kesting, thanks for your previous help with information concerning Dr. Charles Akoda/
    Ikwofemi Igberose. I would like to ask for a copy of what the doctor provided to you for identification.(
    passport, resident card, visa)


    Thanks in advance for all of your help.

     Charles Ako



    Dierdra Rufus
    Supervisor, Licensure Unit
    Maryland Board of Physicians
    410-764-5977

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                        :: . .                                           .._ ._........ .1. AND/OR
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                                                    ADMINISTERED TO STUDENTS/GRADUATES OF FOREIGN MEDICAL SCHOOLS BY
                      THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, 3524 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104.2685, USA
                                                                     PHONE: 215 366-5900 CABLE: EDCOUNCIL,F'HA
                                                                                         PART A
                      NOTE: .11'. items on oh sides of the application must be filled out completely for initial and reexamination or application will net be accepted.
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                                                 Have you ever st.bmitted air application to ECFMG for any                                                                             If yes, enter your USMLE Identification Number
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                                      School Dean, Medical School Vice Dean, or Medical School Registrar. (See A below.)
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                                      if a graduate cannot sign the application form in the presence of a medical school offi-
                                      cial noted above. he/she must sign the application form in the presence of a Consular
                                      Official, First. Class Magistrate or Notary Public (See B below) and must explain in
                                      writing why the application form could not be signed in the presence of a medical
                                      school official. (See B.1 betcw,)
                                      Application forms are to be mailed to ECFMG from the office of the official or notary
                                      who witnesses the applicant's signature.
                                      Ali information on the application form is subject to verification and acceptance by
                                      the Educational Commission for Foreign Medical Graduates.

  0.(1) CERTIFICATION                    I hereby certify that the information in this application is true and accurate to the best of
        BY APPLICANT                  my knowledge and that the photographs encies.ed are recent photographs of me.
                                         I ale° certify and acknowledge that I have. received the current edition (that which per-
                                      tains to the administration for which I em registering) of the combined Information Booklet
                                      an ECFMG Certification- and Application for USM1E Step 1 and Step 2 examinations and
                                      USMLE Bulletin el Information, am aware of the contents of both sections and meet the
                                      eligibNity requirements set therein.
                                         I urderstand that (1) falsitication of this apptcation, or (2) the submission of any falsified
                                      educational documents to ECFMG, or (3) the submission of any fats tied ECFMG docu-
                                      ments to other agencies, or (4) the giving or receiving of aid in the examination as •                       \
                                      evidenced either by observation at the time of the examination or by statistical analysis of
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                                      in the examination. lo withhold and/or invalidate the results of my examination. to withhold
                                      a certificate, to revoke a certificate, or to take ether appropriate action. (See Information
                                      Booklet for additional details concerning Validity of Scores and Irregular Behavior.)
                                           understand that the ECFMG certificate and any arid all copies thereof remain the
                                      property of ECFMG and must be returned to ECFMG if ECFMG deterrence that the holder
                                      lit the Certificate was not eligible to receive it or that it was otherwise issued in error.
                                         I hereby authorize the Educational Commission for Foreign Medical Graduates to trans-
                                      mit any informatoe contained in this application, or information that may otherwise become
                                      available to ECFMG, to any federal, state or local governmental department or agency, to
            4k                              rrospital or to any other organization or individual who, in the judgment of ECFMG, has
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JANE DOE NO. 1, et al.,                                *      IN THE

        Plaintiffs,                                    *      CIRCUIT COURT

v.                                                     *      FOR

DIMENSIONS HEALTHCARE SYSTEM,                          *       PRINCE GEORGE'S COUNTY
d/b/a DIMENSIONS HEALTH
CORPORATION                                            *       Case No. CAL-17-37091

        Defendants.                                    *

        *       *       *      *       *       *       *       *      *       *       *

                    NOTICE OF SERVICE OF DISCOVERY MATERIALS

        I HEREBY CERTIFY on this /6" day of July, 2018, that I served a copy of

Plaintiff Desire Evans' Answers to Interrogatories of Defendant Dimensions Healthcare

Corporation d/b/a Prince George's Hospital Center, on all counsel of record and all pro se

 parties, and that I will retain the original of this document in my possession without alteration

until the case is concluded in this Court, the time for noting an appeal has expired and any

 appeal noted has been decided.




                                               Jon an Schochor, Esquire
                                               Schochor, Federico and Staton, P.A.
                                               The Paulton
                                               1211 St. Paul Street
                                               Baltimore, Maryland 21202
                                               (410) 234-1000 - office
                                               (410) 234-1010 - fax

                                               Attorneys for the Plaintiff




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 JANE DOE NO. 1, et al.,                                •       IN THE

        Plaintiffs,                                     •       CIRCUIT COURT

 v.                                                     •       FOR

 DIMENSIONS HEALTHCARE SYSTEM,                          •       PRINCE GEORGE'S COUNTY
 d/b/a DIMENSIONS HEALTH
 CORPORATION                                            •       Case No. CAL-17-37091

 Defendants.                                    *

 *      *       *       *          *    *       *       *       *       *       *       *       *

        PLAINTIFF DESIRE EVAN'S ANSWERS TO INTERROGATORIES OF
           DEFENDANT DIMENSIONS HEALTHCARE CORPORATION
                D/B/A PRINCE GEORGE'S HOSPITAL CENTER

        COMES NOW the Plaintiff, Desire Evans, by and through her attorneys, Jonathan

 Schochor and Schochor, Federico and Staton, P.A., in answer to the Interrogatories of

 Defendant Dimensions Healthcare Corporation, d/b/a Prince George's Hospital Center,

 respectfully states as follows:

         Interrogatory No. 1:      State your full name; present address and all addresses for the
 past ten (10) years; date of birth; social security number; present marital status, and all previous
 marital status, including the dates of marriage and dates of termination of each marriage and
 the full name and present address of each spouse. Also in order to ascertain whether you have
 been in the past, or likely in the future to become a Medicare beneficiary, please provide your
 claim number (HICN).

        Answer to Interrogatory No. 1:
        Desire Evans
        4057 Parker Court
        Waldorf Maryland, 20602
        (Anril 1 201R — Present)


        Marital Status: Married
        Spouse: Michael Evans
        4057 Parker Court
        Waldorf Maryland, 20602

         Previous Addresses:




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        11529 Leland Place
        Waldoft, Maryland 20601
        (January 1, 2017 — April 1, 2018)

        2528 Hateras Cir
        Waldorf Maryland 20601
        (January 2016 — January 2017)

        1353 South View Drive
        Oxen Hill, Maryland 20745
        (2013-2016)

        7679 Arbory Court
        Laurel Maryland 20707
        (Approximately 2011 -2013)

        14004 Korba Place
        Laurel Maryland 20707
        (Approximately 2007 — 2011)

       For identity protection, the Plaintiff will provide her social security number informally,
under separate cover.

        Interrogatory No. 2: State the exact nature of each act or omission which you claim
was negligently committed or omitted by Defendants. For each act or omission, state all
particulars with relation to such act, including the time and place of the act or omission, and a
complete description of the act or omission, including whether and how you contend the act or
omission breached any relevant standard of care.

        Answer to Interrogatory No. 2:       Objection is made to this interrogatory as it overly

broad and unduly burdensome. Without waiving this objection, the Defendant is referred to the

 Plaintiff's Complaint, as well as Complaints filed on behalf of other patients of Charles Akoda,

 including Case Nos. CALI 8-07863; CAL17-22761; and 8:17-cv-03106-TDC, and Akoda's

 criminal indictment, Case No. 8:16-cr-00277-PWG in the United States District Court of the

 District of Maryland, Southern District.

        The Defendant's agent, servant and/or employee Charles J. N. Akoda (hereinafter

 "Akoda") unlawfully practiced medicine, serving in the capacity of her attending physician



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during her labor on March 17, 2016 and the subsequent delivery of her infant. The Defendant

and its duly authorized agents, apparent agents, servant and/or employees failed to perform an

appropriate and proper investigation and background check of Akoda before granting him

privileges to act as a practitioner and specialist in obstetrics and gynecology. Had they done

so, as was required, Akoda's fraudulent and unlawful conduct would have been discovered, and

he would have been precluded from seeing patients at the Defendant's institutions or entities,

thereby avoiding all of the injuries, damages (economic and non-economic) and disability

suffered by this Plaintiff.

        This answer will be supplemented as discovery continues.

        Interrogatory No. 3:     State the exact nature of each act of commission or omission
which you claim was negligently committed or omitted by any individual you claim to be an
employee, agent, or servant of Defendants, including but not limited to Dr. Akoda. Include in
your answer whether you contend Dr. Akoda was negligent in his performance of any care
rendered to you, and in so doing, state whether you contend he performed medical services that
were not required/ medically necessary or improperly performed medically needed services,
including, but not limited to testing, studies, procedures, and/ or surgery, or whether you
contend he failed to perform needed tests, studies, procedures, and/ or surgery, and if so,
identify in detail your contention(s).

         For each act or omission, state all particulars with relation to such act, including the
 name of the person whom you claim to have been guilty of the act or commission, the time and
 place of the act or omission and a complete description of the act or omission, including whether
 and how you contend the act or omission breached any relevant standard of care.

        Answer to Interrogator► No. 3:        Objection is made to this interrogatory as it overly

 broad and unduly burdensome. Without waiving this objection, the Plaintiff incorporates

 Answer to Interrogatory No. 2. This answer will be supplemented as discovery continues.

         Interrogatory No. 4:        Give the full name, business address, home address, home
 telephone number, business telephone number and occupation of every person who has
 investigated the facts giving rise to the occurrence complained of in this case for you or on your
 behalf, and in so doing, state whether you or they made any review or inquiry as to Dr. Akoda's
 licensing, training, or other background information prior to or subsequent to submitting to care
 by him, and the details of any such investigation.



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        Answer to Interrogatory No. 4:          This Plaintiff's attorneys have investigated this

claim on her behalf. This Plaintiff objects to the portion of the interrogatory that requests the

specific nature and extent of investigation undertaken after Akoda's care, as it requests

information that is protected by the attorney/client privilege, the attorney work product doctrine

and the statutory peer review privilege.

                 The Defendant is also referred generally to Akoda's criminal indictment, Case

No. 8:16-cr-00277-PWG in the United States District Court of the District of Maryland, and

the investigations of other entities, including but not limited to:

    •   Maryland Board of Physicians;
    •   Virginia Department of Health Professions;
    •   Department of Justice;
    •   United States Centers for Medicare & Medicaid Services;
    •   United States Department of Health and Human Services;
    •   Educational Commission for Foreign Medical Graduates (ECFMG);
    •   Residency Programs including but not limited to Howard University and in New Jersey,
        including applications for residency;
    •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
        and/or other committees, departments or offices of the Defendants;
    •   United States Social Security Administration.

                 Contact information for these entities is publicly available.

                 Additionally, the Defendant is referred to Complaints filed on behalf of other

 patients of Charles Akoda, including Case Nos. CALI 8-07863; CAL17-22761; and 8:17-cv-

 03106-TDC.

                 This answer will be supplemented as additional information becomes

 available.



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        Interrogatory No. 5: State the full name, home address, business address, occupation
and employer of every expert whom you expect to call as an expert witness at trial and state the
subject matter on which the expert is expected to testify, state the substance of the findings and
opinions to which the expert is expected to testify and a summary of the grounds for each
opinion. For each expert, specify in your answer whether or not that expert claims any particular
expertise in a given field of medicine or science, describing precisely the field of the expertise
claimed and specify whether such person shall testify regarding (a) the liability of the Defendant
to the Claimant, and (b) the nature and extent of the injuries which you allege were sustained
in the occurrence. Attach with your answers copies of all reports, statements and curriculum
vitae and/ or resumes prepared by each expert witness.

         Answer to Interrogatory No. 5:        This Plaintiff has not yet determined which expert

witnesses she will call at trial of this matter. This Plaintiff will issue a Designation of Expert

Witnesses in accordance with the Court's Scheduling Order.

        Interrogatory No. 6: Identify each known written statement or report relative to any
of the facts giving rise to the occurrence of which you complain. In so doing, name the person
who gave the statement or report; specify the date of each statement or report; name its present
custodian; attach exact copies of all written statements or reports which have been prepared or
signed by the Defendant or persons whom you allege to be agents, servants, or employees of
the Defendant.


 Answer to Interrogatory No. 6:          This Plaintiff objects to this interrogatory as it is overly

 broad, unduly burdensome and solicits information protected by the attorney-client privilege

 and work product doctrine. Without waiving the objection or disclosing privileged information,

 the Plaintiffs are in possession of the following documents which contain written statements or

 reports relative to the facts giving rise to his occurrence:

     •   Judgment and Stipulated Facts dated February 28, 2017
     •   Transcript of Pre-Trial Detention Hearing
     •   Virginia Department of Health Professions Order of Mandatory Suspension
     •   Maryland State Board of Physicians Final Decision and Order

                  The Defendant is also referred generally to Akoda's criminal indictment, Case

 No. 8:16-cr-00277-PWG in the United States District Court of the District of Maryland,


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Southern District, which includes filings and transcripts tending supporting the allegations in

the Plaintiffs complaint, including stipulated facts executed by Oluwafemi Charles Igberase,

a.k.a. Charles Akoda in connection with a guilty plea entered in 2016. Copies of these

proceedings are publicly available via Public Access to Court Electronic Records.

                  Additionally, it is anticipated that written statements or reports relative to the

 facts giving rise to his occurrence will be included within the records, proceedings and files of

various entities, including but not limited to:

    •   Maryland Board of Physicians
    •   Virginia Department of Health Professions
    •   Department of Justice
    •   United States Centers for Medicare & Medicaid Services
    •   United States Department of Health and Human Services
    •   Educational Commission for Foreign Medical Graduates (ECFMG)
    •   Residency Programs including but not limited to Howard University and in New Jersey,
        including applications for residency;
    •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
        and/or other committees, departments or offices of the Defendants;
    •   United States Social Security Administration

                  Additionally, the Defendant is referred to Complaints filed on behalf of other

 patients of Charles Akoda, including Case Nos. CAL18-07863; CALI 7-22761; and 8:17-cv-

 03106-TDC. This answer will be supplemented as more information becomes available.

        Interrogatory No. 7: Describe the nature and subject matter of each picture, diagram,
 document, audio or video tape, x-ray, or other objects (real evidence) which is known to you
 and which is relative to this occurrence or its consequences. In so doing, name each object's
 present custodian and state the date the object was produced or obtained.


 Answer to Interrogatory No. 7:         This Plaintiff objects to this interrogatory as it is overly

 broad, unduly burdensome and solicits information protected by the attorney-client privilege
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and work product doctrine. Without waiving the objection or disclosing privileged information,

the Plaintiffs are in possession of the following materials relative to this occurrence:

    •    Judgment and Stipulated Facts dated February 28, 2017
    •    Transcript of Pre-Trial Detention Hearing
    •    Virginia Department of Health Professions Order of Mandatory Suspension
    •    Maryland State Board of Physicians Final Decision and Order

                  The Defendant is also referred generally to Akoda's criminal indictment, Case

No. 8:16-cr-00277-PWG in the United States District Court of the District of Maryland,

 Southern District, which includes filings and transcripts tending supporting the allegations in

the Plaintiffs complaint, including stipulated facts executed by Oluwafemi Charles Igberase,

a.k.a. Charles Akoda in connection with a guilty plea entered in 2016. Copies of these

 proceedings are publicly available via Public Access to Court Electronic Records.

                  Additionally, it is anticipated that documents and other materials relative to

 this occurrence or its consequences will be included within the records, proceedings and files

 of various entities, including but not limited to:

    •    Maryland Board of Physicians
    •    Virginia Department of Health Professions
    •    Department of Justice
    •    United States Centers for Medicare & Medicaid Services
    •    United States Department of Health and Human Services
    •    Educational Commission for Foreign Medical Graduates (ECFMG)
    •    Residency Programs including but not limited to Howard University and in New Jersey,
         including applications for residency;
     •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
         and/or other committees, departments or offices of the Defendants;
     •   United States Social Security Administration


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                  Additionally, the Defendant is referred to Complaints filed on behalf of other

patients of Charles Akoda, including Case Nos. CALI 8-07863; CALI 7-22761; and 8:17-cv-

03106-TDC.

                  This answer will be supplemented as more information becomes available.

       Interrogatory No. 8:      Identify and give the substance of each statement, action or
admission against interest, declaration against interest, or otherwise, whether oral, written, by
conduct, silence or otherwise which you contend was made by the Defendant or any person
whom you allege to be the agent, servant and/ or employee of said Defendant. Give the name
and occupation of each person who has personal knowledge of the making of each such
statement. State the place and date when each such statement was made.

 Answer to Interrogatory No. 8: Oluwafemi Charles Igberase, a.k.a. Charles Akoda executed

 stipulated facts in connection with a guilty plea entered in 2016, which is anticipated to already

 be the custody of the Defendants. The Defendant is also referred generally to Akoda's criminal

 indictment, Case No. 8:16-cr-00277-PWG in the United States District Court of the District of

 Maryland, Southern District. Additionally, the Defendant is referred to the Plaintiff's medical

 records, which are already in the possession, custody and/or control of the Defendants, and will

 confirm that Akoda was referred to as a practicing physician at all times relevant to this dispute.

                  Moreover, although these documents are not currently in the possession of the

 Plaintiff, it is anticipated that agents, servants and/ or employees of the Defendant may have

 made statements relating to the alleged malpractice in connection with investigations by

 entities, including but not limited to:

     •   Maryland Board of Physicians;
     •   Virginia Department of Health Professions;
     •   Department of Justice;
     •   United States Centers for Medicare & Medicaid Services;
     •   United States Department of Health and Human Services;

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    •   Educational Commission for Foreign Medical Graduates (ECFMG);
    •   Residency Programs including but not limited to Howard University and in New Jersey,
        including applications for residency;
    •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
        and/or other committees, departments or offices of the Defendants;
    •   United States Social Security Administration.

                  This response will be supplemented as more information becomes available.

        Interrogatory No. 9: If you contend that any portion of any medical record, chart, or
report prepared by any Defendant, or anyone deemed to be an agent, servant and/ or employee
of such Defendant, is inaccurate, false, has been altered, or has been destroyed, specifically
identify each portion of each record, chart, or report you contend is inaccurate, false, has been
altered, or has been destroyed, and provide in detail the factual basis for this contention.

        Answer to Interrogatory- No. 9:        To the extent that this Plaintiffs medical records

refer to Akoda as a physician, that is inaccurate and false. This answer will be supplemented as

discovery proceeds.

        Interrogatory No. 10: If you contend that the applicable standards of care or any other
issues in this matter are established by any articles, treatises, textbooks or other publications in
the medical or scientific field, state the title of each publication, the journal, magazine, or series
wherein each was published; the name and address of the publisher; date of the publication; and
the name of the author and the volume and page or section referred to.

        Answer to Interrogatory No. 10:          This Plaintiff objects to this interrogatory which

 solicits information which is not discoverable.          Furthermore, this Plaintiff has not yet

 determined which expert witnesses she intends to call at trial of this matter. This Plaintiff will

 issue a Designation of Expert Witnesses in accordance with the Court's Scheduling Order.

 Should any of Plaintiffs expert witnesses rely on any such medical literature to support their

 respective opinions on the applicable standard of care or any other issue in this matter, such

 information will be disclosed in a timely manner.

        Interrogatory No. 11: Itemize the nature and amount of all expenses made or incurred
 by you, or for which you intend to make claims as a result of the Defendant's alleged negligence,


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including hospital and doctor bills. In so doing, specify which of the above expenses have been
paid, and indicate when and by whom they were paid.

        Answer to Interrogatory No. 11:            This Plaintiff will be claiming non-economic

damages for her pain and suffering, as well as damage to her marital relationship. This Plaintiff

has in the past, is presently, and will in the future continue to suffer excruciating emotional

 anguish as well as fear and anxiety. This Plaintiff will be claiming economic damages for past,

 present and future medical expenses, future health and life care needs, including but not limited

 to psychiatric and/or psychological counseling. Copies of billing invoices for prior medical

 care will be provided as they become available. Copies of Plaintiffs' life care plan and

 economic report will be provided upon completion. This answer will be supplemented as

 discovery proceeds.

          Interrogatory No. 12:           Describe in detail the injuries, disabilities, infirmities,
 sicknesses and each activity in which you contend you sustained as a result of the occurrence
 that is the subject matter of this suit. Specify whether each injury is permanent in nature and, if
 so, state the extent of such permanency.

        Answer to Interrogatory No. 12: This Plaintiff incorporates Answer to Interrogatory

 No. 11. This answer will be supplemented as discovery proceeds.

         Interrogatory No. 13: Give the name, address and dates of examination or treatment
 for every physician who has ever examined or treated you and state the cause for and nature of
 each such examination or treatment rendered; and state the name, address and dates of
 admission of every hospital where you have ever been admitted, the cause for and nature of
 each such admission and the treatment rendered.

         Answer to Interrogatory No. 13: This Plaintiff objects to this interrogatory which is

 overbroad and vague. Without waiving these objections, this Plaintiff refers to her medical

 records which are in the Defendant's possession, custody and control. Additionally, the Plaintiff

 has treated with the following healthcare providers:

         Shaunda Smith, M.D. (psychiatry)
         Kaiser Permanente

                                                     10

                                                                                      JA3194
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        1221 Mercantile Lane
        Largo, MD 20774

        Javaka Moore, M.D. (OBGYN)
        Largo, MD
        (October 2015)
        Prenatal Care

        Dionne Lucas, PA-C
        12070 Orion Center, Suite 100
        Waldorf Maryland 2102
        (2016)

        Laurel Medical Center
        Emergency Department
        (Various Occasions)

        Southern Maryland Hospital ED
        (Various Occasions)

        PG Hospital Center
        (Various Occasions)

        Washington Hospital Center
        2015 (hospitalization related to a fall)


        This answer will be supplemented as discovery proceeds.

         Interrogatory No. 14: If you have ever filed an action against or made a claim against
 any person, firm or corporation for personal injuries or physical conditions, or for any benefits
 under any insurance policy, state the injuries or conditions for which each claim was made, the
 dates of each injury, the names and addresses of the persons, firms or corporations to whom or
 against whom each were made, the nature and amount of any payments received therefore and
 the date each was made.

        Answer to Interrogator) No. 14:            This Plaintiff objects to this interrogatory which

 solicits information which is irrelevant and not reasonably calculated to lead to the discovery

 of admissible evidence.

        Interrogatory No. 15: Give the date, circumstances and injuries sustained with relation
 to any occurrence or accident in which you were involved and in which you sustained any
 personal injury.



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                                                                                       JA3195
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        Answer to Interrogatory No. 15: This Plaintiff incorporates Answer to Interrogatory

No. 14. Additionally, in 2015, the Plaintiff lost footing and fell, resulting in hospitalization for

approximately one week at Washington Hospital Center.

       Interrogatory No. 16: State the name, address, dates of employment for each employer
you had during the last ten (10) years. With respect to each employer for each of the last ten
(10) years, state your yearly gross income, yearly net income, and the name and address of the
person, firm or corporation having custody of any papers pertaining to your income.

        Answer to Interrogatory No. 16:          The following is a summary of the Plaintiffs

 employment history:

        CareFirst BlueCross BlueShield
        Senior Customer Service Advisor
        (2015-Present)

        Arbitron
        Customer Service/Interviewer
        (2012-2015)

        HealthStream Research
        Medical Interviewer
        (2008-2011)

        Applebees
        Server
        2007-2008
        Olive Garden
        Server
        2007-2008


         Interrogatory No. 17:    If you have lost any time from employment as a result of the
 occurrence for which this suit is brought, state the name and address of all employers from
 which time was lost, the period of time lost from each such employer, and the hourly rate and
 total income lost from all such periods from each such employer.

        Answer to Interrogatory No. 17:              None at this time.      This answer will be

 supplemented as discovery proceeds.




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                                                                                     JA3196
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        Interrogatory No. 18:     State whether you contend you will lose any future earnings
and/ or income as a result of the occurrence referred to in your Complaint. If so, state the basis
for your contention and if any doctor or other expert has expressed such an opinion state their
name, address, and the date and circumstances when you were informed that you would lose
future income.

        Answer to Interrogatory No. 18:            None at this time.      This answer will be

supplemented as discovery proceeds.


       Interrogatory No. 19:      If you contend that a previous injury or condition was
aggravated by the occurrence for which this suit is brought, describe such condition and give
the names and addresses of all persons or institutions who treated you therefore and the
approximate dates of such treatment.

        Answer to Interrogatory No. 19: This Plaintiff does not so contend at this time. This

answer will be supplemented as discovery proceeds.


         Interrogatory No. 20: If you have ever used any drugs or medications in connection
with any injury which you claim was caused by the occurrence for which this suit is brought,
state for each drug or medication the name and address of the doctor who prescribed it, the
inclusive dates on which it was taken, the dosage, the number of times taken daily, and the
cost of such medication or drugs. And if you have received any mental healthcare, counseling,
or other healthcare services which you claim was caused by the occurrence for which this suit
is brought, state for each drug or medication the name and address of the doctor who prescribed
it, the inclusive dates on which it was taken, the dosage, the number of times taken daily, and
the cost of such services

        Answer to Interrogatory No. 20: The Plaintiff is undergoing care from a psychiatrist,

 and                                                                         This answer will be

 supplemented as discovery proceeds.

        Interrogatory No. 21: For each conversation that you have had with any Defendant or
 anyone you contend was acting as an agent, servant, or employee of any Defendant, or with Dr.
 Akoda relating to the facts relevant to your injury claims, state: the date of the conversation,
 where the conversation took place, the name, address, and telephone number of every person
 present during each conversation and as precisely as possible recount what each person to the
 conversation said.




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                                                                                   JA3197
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        Answer to Interrogatory No. 21: This Plaintiff had multiple conversations with many

health care providers at the Defendant's institution during her labor and delivery which is the

subject of this claim. It is unduly burdensome and overly broad to request that this Plaintiff

reconstruct each of those conversations. This Plaintiff refers to conversations memorialized in

her medical records from the Defendant's institution. Some but not all conversations would

have been documented in the medical records, which are in the possession, custody and/or

control of the Defendants. At all times, the Defendant's agents, servants and employees led the

Plaintiff to believe that Akoda was indeed a physician. At no time did this Defendant's agents,

servants and employees provide notice that Akoda was not a Maryland licensed or hospital

credentialed physician. This answer will be supplemented as discovery proceeds, including

through the deposition testimony of the Plaintiff.

        Interrogatory No. 22: State all economic losses you contend were sustained as a
result of the occurrence referenced in the Complaint, including all past and future medical
expenses and any past or future lost wages/ diminished earnings capacity.

        Answer to Interroaatory No. 22: This Plaintiff incorporates Answer to Interrogatory

No. 11. This answer will be supplemented as discovery proceeds.

         Interrogatory No. 23:      State the name, address, home telephone number, work
 telephone number and occupation of each person not previously mentioned, who has or claims
 to have personal knowledge of the occurrence, injuries, damages, or any other facts relevant to
 this case.

        Answer to Interrogatory No. 23:         This Plaintiffs family and treating health care

 providers may have personal knowledge of her care and treatment by Akoda, as well as her

 current injuries. These include her husband, Michael Evans, as well as her mother, Renee

 Clifton. This Plaintiff refers to her medical records which are in the Defendant's possession,

 custody and control. This answer will be supplemented as discovery proceeds.




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        Interrogatory No. 24: State whether you have entered into any settlements, releases,
loan receipt agreements or similar agreement in connection with the occurrence for injuries for
which this suit is brought. If your answer is in the affirmative, state the identities of all parties
and dates of all releases, settlements, loan receipt agreements, or similar agreement, the terms
of all such agreements, and if you will do so without a Request for Production of Documents,
attach a copy hereto of all such releases, settlements or agreements.

        Answer to Interrogatory No. 24:         None known. This answer will be supplemented

as discovery proceeds.


        Interrogatory No. 25: Identify in detail every service or interaction you contend was
negligently provided or undertaken by Dr. Akoda, including the number and description of the
interactions or services rendered, the dates of said services or interactions, the location of said
services or interactions, whether and what surgical treatment was rendered, whether the care
involved touching, whether the care involved "penetration," whether and how the care
involved "boundary violations," whether there was a physical examination and if so the
details of the examination(s), whether the care involved breast exam or pelvic exam, any testing
you contend was improperly provided, whether you contend Dr. Akoda made inappropriate
statements, and whether Dr. Akoda delivered your child/ children, and if so, whether delivery
was vaginally or by caesarean section delivery.

        Answer to Interrogatory No. 25:         This Plaintiff contends that all care and treatment

 provided by Akoda was negligent, including but not limited to, the fact that he was not an

 appropriately licensed and credentialed physician. He oversaw this Plaintiff's labor care,

 including the performance of intrusive pelvic examinations, and he performed the Plaintiff's

 delivery.

        Prior to delivery, Ms. Evans felt that Akoda was unprofessional, and was made

 uncomfortable by the way he touched her. Her husband also felt uncomfortable with Akoda's

 conduct. Additionally, while Ms. Evan was pushing, Akoda started manipulating the Plaintiff s

 clitoris. Akoda told Ms. Evans that he had to get her aroused, which would help the baby come

 out.

        Ms. Evans feels as though she was sexually molested, particularly given what is now

 known about Akoda. The baby was ultimately delivered via c-section. He was not properly

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                                                                                      JA3199
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licensed, credentialed or qualified to provide any of this case. This Plaintiff would never have

exposed herself or her child to a non-health care provider had she been appropriately advised

that he was not a validly licensed or credentialed physician. This answer will be supplemented

as discovery proceeds.

         Interrogatory No. 26:    Identify in detail any and all physical pain and/ or disability
you allege the Defendants' actions caused you, including the date on which it occurred or began,
whether it is ongoing, and describe any and all care or treatment you have sought or received
for it, including the dates on which you received care, by whom, and a description of the care
received.

        Answer to Interrogatory No. 26: This Plaintiff incorporates Answer to Interrogatory

No. 11. This answer will be supplemented as discovery proceeds.

        Interrogatory No. 27: Identify in detail any psychological distress, emotional anguish
or distress, fear, anxiety, humiliation, embarrassment or other mental or emotional injuries you
allege Defendants' and/or Dr. Akoda's actions caused you, including the date on which it
occurred or began, whether it is ongoing, whether and if so, what physical manifestations you
or anyone else to your knowledge has observed, and any and all care, treatment, therapy and/
or psychological counseling you have sought or received for it, including any, the dates on
which you received care, by whom, and a description of the care received.

        Answer to Interrogatory No. 27: This Plaintiff incorporates Answer to Interrogatory

No. 11. This answer will be supplemented as discovery proceeds.

        Interrogatory No. 27 (28):   State in detail the factual basis for your negligent
entrustment action against Defendants, including what was entrusted to Dr. Akoda, by whom,
whether you contend he used the entrusted items improperly apart from your allegation he was
practicing without a valid license, whether and how Dr. Akoda negligently used or operated
entrusted items, and whether and how you were injured by the entrusted items.

        Answer to Interrogators No. 27 (28):        The Defendant is referred to the Plaintiff's

 Complaint, as well as Complaints filed on behalf of other patients of Charles Akoda, including

 Case Nos. CAL18-07863; CAL17-22761; and 8:17-cv-03106-TDC, and Akoda's criminal

 indictment, Case No. 8:16-cr-00277-PWG in the United States District Court of the District of




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                                                                                   JA3200
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 Maryland, Southern District. The Defendant is further referred to the Plaintiff's Answers to

 Interrogatories No. 2, 6 and 7.

        This Plaintiff's entire labor and delivery, including access to the hospital's equipment

 and facilities was negligently entrusted by this Defendant to Akoda, who the Defendant knew

 or should have known was not a properly licensed or credentialed physician. He should not

 have managed the labor, conducted intrusive pelvic examinations or performed this Plaintiff's

 delivery.

        This answer will be supplemented as discovery proceeds.

         Interrogatory No. 28 (29):      Identify with specific detail each and every risk,
 alternative, benefit, or other information you contend Defendants, Dr. Akoda and/ or any other
 person or entity was required to provide to you but did not provide to you in connection with
 the informed consent process relating to the care and treatment you received, who you contend
 was required to provide such information, and the details of the information you contend was
 actually provided to you, by whom, when, and where with relation to informed consent process
 for care rendered by Dr. Akoda.

        Answer to Interrogatory No. 28 (29):        It is alleged that Akoda, as well as the duly

 authorized agents, apparent agents, servants and/or employees of the Defendants failed to

 inform the Plaintiff that Akoda had no valid or lawful medical license with which to practice

 medicine or surgery -- in continuing violation of the standards of care.

        It is alleged that the Plaintiff, as well as any reasonable and prudent individuals, would

 have refused consent to Akoda's practice of medicine and/or surgery, including any treatment

 and/or surgery involving them and her child. It is alleged that had Akoda or the duly authorized

 agents, apparent agents, servants and/or employees of the Defendants properly requested

 informed consent to practice medicine or surgery on the Plaintiff with no valid medical license,

 the Plaintiff, as well as other reasonable and prudent individuals similarly situated would have

 refused. It is alleged that had the Plaintiff known of Akoda's background and the fact that he



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                                                                                   JA3201
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had no lawful medical license, she would have refused any and all treatment, and all of the

injuries, damages (both economic and non-economic) and the disability suffered by the Plaintiff

in the past, present and future would have been avoided.

        Additionally, the Defendant is referred to Plaintiff's Answers to Interrogatories Nos. 2,

6, 7 and 21. This answer will be supplemented as discovery proceeds.

        Interrogatory No. 29 (30):       Identify with specific detail each and every action you
contend Defendants and/or   Dr.  Akoda  made   that was extreme or outrageous as the basis of your
intentional infliction of emotional distress claim, including the date and location of any alleged
action(s), any and all witnesses to the action(s), a detailed description of the action(s), and
whether you contend Defendants and/ or Dr. Akoda intended by the action(s) to cause severe
emotional distress, and if so, provide your factual basis for that contention.

        Answer to Interrogatory No. 29 (30):         The Plaintiff alleges that Akoda's conduct

was intentional and/or reckless when he continued to practice medicine and surgery without a

lawful license, without authorization and informed consent. It is asserted that Akoda's conduct

involved was extreme, outrageous and unreasonable, and occurred when he acted as a duly

 authorized agent, apparent agent, servant and/or employee of the Defendants. As a result, the

 Claimants, and others similarly situated, sustained severe emotional distress.

        The Defendant is further referred to the Plaintiffs Complaint, as well as Complaints

 filed on behalf of other patients of Charles Akoda, including Case Nos. CAL18-07863; CAL17-

 22761; and 8:17-cv-03106-TDC, and Akoda's criminal indictment, Case No. 8:16-cr-00277-

 PWG in the United States District Court of the District of Maryland, Southern District. The

 Defendant is further referred to the Plaintiffs Answers to Interrogatories No. 2, 6 and 7.

        This answer will be supplemented as discovery proceeds.

         Interrogatory No. 30 (31):     Identify with specific detail each and every privacy you
 contend Defendants, Dr. Akoda, and/ or any other person or entity intruded upon, the dates of
 the intrusion, the manner of the intrusion, who intruded, when and how you became aware of
 the intrusion, and any witnesses to the intrusion.



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                                                                                   JA3202
Case:2:18-cv-05629-JDW
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       Answer to Interrogatory No. 30 (313:       This Plaintiff objects to this Interrogatory, as

it exceeds the number of interrogatories the Defendant may propound within the Maryland

Rules of Discovery. Without waiving this objection, this Plaintiff hereby incorporates Answers

to Interrogatories Nos. 25, 27, 28 (29) and 29 (30).




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        I solemnly affirm under the penalties of perjury that the contents of the foregoing

 paper are true to the best of my knowledge, information, and belief.



                 K'
                 f--
                 L1,- --- --
  Desire Evans



                                                  Respectfully submitted,




                                                            L   ---- ----

                                                   Jot athan Schochor
                                                   Scl s chor, Federico and Staton, P.A.
                                                   1211 St. Paul Street
                                                   Baltimore, MD 21202
                                                   pfederico@sfspa.corn
                                                   410-234-1000
                                                   Attorneys for the Plaintiff




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                                                                               JA3204
Case:
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                 Exhibit 43




                                                                   JA3205
     Case:
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                                        86-71316    Date Filed:Page
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MONIQUE RUSSELL, et al.,                               *      IN THE
       Claimants                                              HEALTH CARE
v.                                                     •      ALTERNATIVE DISPUTE
DIMENSIONS HEALTH CORPORATION,                        •       RESOLUTION OFFICE
       Healthcare Provider                            •       HCA NO. 2017-400
       *       *       *       *               *       *      *         *     *      *          *

                           CLAIMANTS' CERTIFICATE OF MERIT
       1.      I, Thomas Bojko, am competent to testify.
       2.      I have reviewed the captioned Class Action Amended Statement of Claim, the

Final Decision and Order of the Board of Maryland Board of Physicians, the Department of

Justice materials, the proceedings of the criminal case against Dr. Charles Akoda/Igberase,

and/or other related materials regarding the above-captioned case.

       3.      I certify that there have been violations of the applicable standards of

administrative care by Dimensions Health Corporation, and Dimensions Health Corporation

d/b/a Prince George's Hospital Center, individually and through their duly authorized agents,

apparent agents, servants and/or employees including, but not limited to, Charles J.

Akoda/Oluwafemi Charles Igberase which have directly and proximately resulted in the

damages, injuries and permanent disability to the Claimants, and other similarly situated.

       4.      I further certify that I am an expert in Health Care Administration and

Credentialing/Privileging; that I have clinical and administrative experience; and have provided

consultation relating to the issues involved in this litigation and/or have taught healthcare

administration and credentialing/privileging in the fields of health care in which the Defendants

have provided care and/or provided treatment to the Claimants, within five (5) years of the date

of the alleged acts or omissions giving rise to this cause of action.




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     Case:
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       5.      I do not devote more than 20% of my annual professional activities to activities

that directly involve testimony in personal injury and corporate negligence claims.




                                                     Thomas Bojko, M.D., M




                                                 2


                                                                                        JA3207
                                                                           Plaintiffs0000005672
           Case:
            Case22-1998    Document: Document
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                                              86-71318    Date Filed:Page
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                                                                          4 of 5




@II
             AVIVA
            Healthcare Solutions
                                                                                     Thomas Bojko, MD, MS, JD

                                                                                 President & Managing Partner




      February 26, 2018

      Paul Vettori, Esq.
      Law Offices of Peter G. Angelos, P.C.
      One Charles Center
      100 N. Charles Street — 20th Floor
      Baltimore, MD 21201

                      Re:     Monique Russell, et al. v. Dimensions Health Corporation

      Dear Mr. Vettori:

              This is to acknowledge that after a review of materials involved in the above-referenced
      case, I have concluded that there have been violations of the applicable standards of
      administrative care by Dimensions Health Corporation d/b/a Prince George's Hospital Center,
      individually and through their duly authorized agents, apparent agents, servants and/or
      employees including, but not limited to, Charles J. Akoda/Oluwafemi Charles Igberase
      ("Akoda"), which have directly and proximately resulted in injuries, damages, and permanent
      disability to the Claimants and others similarly situated.

              It is my opinion that the Defendants breached the applicable standards of administrative
      care by negligently failing to use required and reasonable care to investigate, credential, grant
      privileges, monitor and supervise their medical personnel including, but not limited to, Akoda
      and to discover, stop and report any professional misconduct of which they should have known.
      As a direct and proximate result of the Defendants' continuing negligence, the Claimants, and
      others similarly situated, suffered physical pain, emotional anguish, and damages as well as
      permanent disability. Had the Defendants complied with the applicable standards of
      administrative care the Claimants, and others similarly situated, would not have suffered their
      injuries, damages and permanent disability.

              I am an expert in Healthcare Administration and in Credentialing/privileging. I have had
      experience, provided consultation relating to practice and/or taught healthcare administration in
      the applicable specialties or related specialties of health care, within five (5) years of the date of
      the alleged acts and/or omissions giving rise to the causes of action.

             Accordingly, I have concluded that the case filed before the Health Care Alternative
      Dispute Resolution Office of Maryland is meritorious. I also acknowledge that less than twenty
      percent of my annual professional time directly involves testimony in personal injury or
      corporate negligence claims.

             This report represents a broad summary of my opinions for purposes of certifying the
      merits of this matter. I specifically reserve the right to modify, amend and/or supplement my




                                                                                                  JA3208
                                                                                     Plaintiffs0000005673
    Case:
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                                             Filed 12/11/21    09/08/2022
                                                                   5 of 5




opinions as further information about this case is made available to me through discovery and/or
other means.



                                            Very tru    ours,



                                            Dr. Thomas Bojko




                    44 Woodland Street • Tenafly, NJ 07670 • (800) 530-5728
                   avivahealthsolutions.com • Tom@avivahealthsolutions.com
                                          Page 2 of 2

                                                                                       JA3209
                                                                          Plaintiffs0000005674
Case: 22-1998 Document:Document
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                                86-81320     Date Filed:
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                                                      Page   1 of 25




                Exhibit 44
                           REDACTED




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      Case: 22-1998 Document:Document
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                                      50-11321
                                      86-8         Date Filed:
                                            Filed 12/11/21
                                                  11/26/19     09/08/2022
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL AND DESIRE EVANS,
                                                            Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                            Hon. Wendy Beetlestone
       v.
                                                     *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES

               Defendant

               *       *      *      *       *       *      *      *       *      *       *



                 PLAINTIFF DESIRE EVANS'S SUPPLEMENTAL
                ANSWERS TO FIRST SET OF INTERROGATORIES
                       AND SUPPLEMENTAL RESPONSES
         TO FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS


       Plaintiff, Desire Evans, pursuant to Federal Rules Civil Procedure 26, 33 and 34, serves

the following Answers to First Set of Interrogatories propounded by the defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party's attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.




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      Case: 22-1998 Document:Document
      Case 2:18-cv-05629-JDW  22-5 Page:
                                      50-11322
                                      86-8         Date Filed:
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       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to object

to the admissibility of the information.

                 SUPPLEMENTAL ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

       Describe in detail each and every instance in which you were a patient of Akoda,
including how you chose Akoda as your doctor, the date you were a patient, and the specific
nature of the treatments and examinations performed.

ANSWER:

       Objection is made to this interrogatory as it overly broad and unduly burdensome,

and concerns matters which are more appropriately addressed by deposition. Without

waiving this objection, the Plaintiff was a patient of Akoda during her labor on March 17,

2016 and the subsequent delivery of her infant. The Plaintiff further refers Defendant to the

Plaintiff's medical records for details relating to her care and treatment by Akoda. The

Plaintiff went to Prince George's Hospital Center for her delivery because her primary

OBGYN treated patients there.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, all medical records in the possession of

the Plaintiff and her counsel have been produced to ECFMG. The Defendant is again referred

to the medical records of the Plaintiff for detailed information concerning her treatment by

Igberase.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your "obstetrician/gynecologist" on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,


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      Case: 22-1998 Document:Document
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including certification from ECFMG," including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

ANSWER:

       Objection is made to this request to the extent it elicits communications between the

Plaintiff and her counsel subject to the attorney-client privilege, particularly with regard to

knowledge about ECFMG and its services. Without waiving this objection, Plaintiff would

not have agreed to receive treatment for a physician who had obtained certifications

necessary to practice medicine on the basis of identity fraud. Plaintiff naturally assumed

Akoda was a physician who had been lawfully credentialed.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, Plaintiff is relying on her attorneysfor

the specific facts related to the ECFMG certification process. She had no prior knowledge of

ECFMG in particular.


INTERROGATORY NO. 8:

        Identify and describe in detail each and every communication you had with anyone (other
than with your attorneys) about the claims or facts underlying the claims that you are asserting in
the Complaint, including all such communications with Akoda's medical practice, any medical
licensing board, any employee, agent or representative of ECFMG, and all such communications
with a journalist, reporter, or member of the media.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

concerns matter better addressed through deposition. Plaintiff's contacts with Akoda are

reflected in the medial records which are being produced.             The Plaintiff has had no

communication with any medical licensing board, employee, agent or representative of




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      Case: 22-1998 Document:Document
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ECFMG, nor any member of the media. The Plaintiff has also given a deposition in the

matter of Dews et al. v. Dimensions Healthcare System, et. al, Case No. CAL-17-37091.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, the Plaintiff has communicated

generally with members of her family, including her husband, Michael Evans, her mother,

Renee Clifio, and her cousin, Terel Newton. The Plaintiff can recall no other discoverable

communications other than those setforth in these responses. The Plaintiffs deposition in the

Dimensions matter has been previously produces.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the method
of calculating each such element of damages or other relief, the amount of each element of
damages or other relief, and the time period for which you are seeking damages or other relief

ANSWER:

       Plaintiff adopts by reference her Answer to Interrogatory No. 2. The amount of these

damages is for the jury to determine.           Plaintiff seeks damages for these injuries as

determined by the jury.

SUPPLEMENTAL ANSWER

       Plaintiff has lost substantial time from work since her pregnancy, caused by the

emotional distress associated with Igeberase's conduct. The Plaintiffs are obtaining tax

documentation to provide further supportfor this claim, which will be provided upon receipt.

INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys' fees, or other financial obligations associated with the
bringing of this lawsuit.

ANSWER:


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      Case 2:18-cv-05629-JDW  22-5 Page:
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       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, Plaintiff has a standard contingencyfee

agreement with her attorneys, pursuant to which she pays nofees unless there is a recovery and

counsel advances expenses. There are no other financial arrangements.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

ANSWER:

       Objection is made to this interrogatory as it overly broad, and goes beyond the scope

of appropriate discovery. Plaintiff's counsel represents numerous persons who are putative

members of the class. Counsel for Plaintiff has a list of persons who have been retained by

Plaintiff's counsel as members of the putative class, many of whom have been confirmed as

patients of Akoda through review of medical records.           Plaintiffs is also aware that other

attorneys in this case represent numerous persons who are putative members of the class,

but are not aware of their identities. Plaintiff believes that there are approximately 1,000

patients seen or treated by Akoda.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, attachment A is a list of persons

represented by Schochor, Federico & Staton, P.A.

INTERROGATORY NO. 15:


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      Case: 22-1998 Document:Document
      Case 2:18-cv-05629-JDW  22-5 Page:
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        Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this litigation.


ANSWER:

       Plaintiff objects to this interrogatory on the grounds that it is overly broad and

unduly burdensome, and is not limited in time or scope and seeks information that is not

relevant. Without waiving this objection, the Plaintiff had received medical care from Paul

Donoto, PhD and a psychiatrist, Ijeoma N. Nnamani, M.D.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, and in addition to the Plaintiff's prior

discovery responses, Plaintiff has received medical care in the past from -Danielle Waldrop,

M.D./Javaka Moore, M.D., -Dionne Lucas, PA-C, -Southern Maryland Hospital, Washington

Hospital Center and Shanda Smith, M.D. Medical records from these providers are being

provided. The Plaintiff is currently seeing Ebony Cross, M.D., a psychiatrist.

              SUPPLEMENTAL RESPONSES TO DOCUMENT REQUESTS

                                        General Objections

        1.     Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

        2.     Plaintiff objects to each of Defendant's requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.

        3.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and


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conveniently obtain from other sources.

       4.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

documents beyond Plaintiffs' possession, custody or control.

       5.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-client

privilege, the attorney work product doctrine, or similar privileges or protections from discovery

shall not constitute a waiver of any such privileges or protections.

       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only after

the execution of a suitable confidentiality agreement between the parties.

       7.      Because Defendant's requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify the

specific requests to which documents respond.

       8.      These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter thereof,

on any ground in any further proceedings in this action; and (iii) the right, at any time, to revise,

correct, supplement or clarify any of these responses.

       9.      Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from



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these responses as a result of mistake, error, oversight or inadvertence.

        10.    These responses and any further responses or documents produced pursuant thereto

are made without any acknowledgment or concession that the documents requested are relevant to

the subject matter of this action.

        11.    The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff's stated willingness to

produce certain classes of documents should in no way be construed as an affirmative

acknowledgment that such documents either exist or are in the possession, custody or control of

Plaintiff.

        12.     The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiff's specific requests set forth below, and to each and

every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.


REQUEST NO. 3:

        All pleadings filed in Akoda litigation.

RESPONSE:

        Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

        The Plaintiffs have provided a copy of the Complaint in this matter and the Defendant's

Answer.


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      Case:2:18-cv-05629-JDW
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REQUEST NO. 4:

       All documents relating to Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

       Objection is made to this request as it is vague, overly broad and unduly burdensome.

Moreover, documents filed in the Dimensions litigation are readily obtainable from the Prince

George's County Circuit Court.      Other documents, including attorney work product and

documents concerning expert witnesses in that matter, are beyond the scope of discovery in this

matter. The Plaintiff is not is possession of any documents or other communications responsive

to this request.

REQUEST NO. 6:

       All sworn statements executed by you in Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

        The transcript of Plaintiff's deposition and Plaintiffs Answers to Interrogatories in the

Akoda litigation are available.

REQUEST NO. 7:

        All documents relating to Putative Class Members.

RESPONSE:



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       Objection. This request is ambiguous, overbroad, and seeks information that is not

proportionate to the needs of the case. If Defendant will clarify it, Plaintiff will attempt to

respond.

SUPPLEMENTAL RESPONSE:

       Plaintiff is producing a list of all persons represented by the lawfirms identified in

answer to Interrogatory No. 12

REQUEST NO. 10:

       All documents relating to ECFMG.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

       Objection is made to this response as it is vague. The materials relating to ECFMG in

the possession of the Plaintiff or her counsel were obtained from the Defendant ECFMG, or

are otherwise in the possession of the Defendant ECFMG.

REQUEST NO. 20:

       All documents relating to Dimensions Healthcare Associates and Akoda.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

SUPPLEMENTAL RESPONSE:

       Objection is made to this response as it is vague, overbroad and unduly burdensome, and

to the extent it seeks information protected by attorney work product Documents filed in




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litigation with Dimensions Healthcare are readily obtainable from the Prince George's County

Circuit Court in Maryland.

REQUEST NO. 21:

       All communications between you and Dimensions Healthcare Associates relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

SUPPLEMENTAL RESPONSE:

       Objection is made to this request to the extent it seeks confidential documents concerning

settlement discussions, including materials produced for mediation, to include mediation

statements and expert reports produced for purposes of mediation. Objection is further made

to this request to the extent it seeks correspondence between counsel as it is beyond the scope of

discovery and represents attorney work product. Documentsfiled in litigation with Dimensions

Healthcare are readily obtainable from the Prince George's County Circuit Court in Maryland.

REQUEST NO. 30:

       All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to any

documents that may be responsive to this request. This request also appears to be duplicative

of other requests to which — subject to the above-stated objection, Plaintiff has responded

that, if she has any such documents, they will be produced.

SUPPLEMENTAL RESPONSE:



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       Objection is further made to this request as it seeks attorney work product. Subject to

and without waiving these objections, to the extent any such discoverable documents exist, they

will or have been produced.

REQUEST NO. 34:

       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.
RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce any documents on the grounds that she is not making any claim for lost income.

SUPPLEMENTAL RESPONSE:

       Subject to and without waiving these objections, the Plaintiff is currently collecting tax

returns, which will be provided upon receipt

REQUEST NO. 35:

       All medical records, pharmacy records, doctor's notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it is overly broad and burdensome in that it is not

limited in time or scope and that it seeks information that is not relevant to any claim or

defense in this action. To the extent the Plaintiff receives treatment concerning her condition

and injuries relevant to this lawsuit, these documents will be produced.

SUPPLEMENTAL RESPONSE:
       Subject to and without waiving these objections, all medical records in the possession of

the Plaintiff and her counsel have been produced.

REQUEST NO. 36:

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      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

RESPONSE:

       To the extent the Plaintiff receives treatment concerning her condition and injuries

relevant to this lawsuit, these documents will be provided.

SUPPLEMENTAL RESPONSE:
       Subject to and without waiving these objections, all medical records and bills in the

possession of the Plaintiff and her counsel have been produced.

REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your behalf
by any insurance carrier or health plan for examination and treatment of alleged injuries.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are not

relevant to any claim or defense in this action. To the extent that the Plaintiff incurs medical

bills related to examination and treatment for her injuries relevant to this lawsuit, they will

be provided.

SUPPLEMENTAL RESPONSE:
       Subject to and without waiving these objections, all medical records and bills in the

possession of the Plaintiff and her counsel have been produced.

REQUEST NO. 41:

        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

RESPONSE:




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          Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that they are protected from discovery by the work-

product doctrine. Without waiving this objection, the Plaintiff Elsa Powell has not obtained

any statements from ECFMG.

SUPPLEMENTAL RESPONSE:

       Subject to and without waiving these objections, Plaintiff will produce the transcript of

her deposition and her answers to interrogatories in the Dimensions litigation.

REQUEST N . 42:

        All documents and communications relating to any arrangements that you have made with
your attorneys or others relating to payment of the costs, attorneys' fees, or other financial
obligations associated with the bringing of this lawsuit.

RESPONSE:

          Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on the

grounds that it requests documents which are not relevant to any claim or defense in this

action.

SUPPLEMENTAL RESPONSE:

          Subject to and without waiving these objections, see Supplemental Answer to

Interrogatory No. 11.

REQUEST NO. 43:

        All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)
providing any funding of any attorneys' fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your attorneys,
either directly or indirectly; or (c) have a financial interest or right to receive compensation that is
contingent on the outcome of this lawsuit by settlement, judgment, or otherwise; or (d) are
receiving any form of compensation or remuneration for providing any information, services, or
assistance concerning this lawsuit.

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RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on

the grounds that it requests documents which are not relevant to any claim or defense in

this action.

SUPPLEMENTAL RESPONSE:

       There are no financial arrangements with anyone other than Plaintiff's attorneys, as

setforth in response to Interrogatory No. 11.

REQUEST NO. 44:

        All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating
each such element of damages or other relief, and the amount of each element of damages or other
relief.

RESPONSE:

       Any discoverable documents responsive to this request will be produced.

SUPPLEMENTAL RESPONSE:

       Objection is made to this request as it is overly broad and vague. Without waiving this

objection, the Plaintiff is seeking to obtain tax returns, which will be provided upon receipt


                                             CONRAD & O'BRIEN, P.C.


                                              /s/ Nicholas M Centrella
                                             Nicholas M. Centrella, Esquire (ID No. 67666)
                                             ncentrella@conradobrien.com
                                             Howard M. Klein, Esquire (ID No. 33632)
                                             Benjamin 0. Present, Esquire (ID No. 322682)
                                             1500 Market Street
                                             Centre Square, West Tower, Suite 3900
                                             Philadelphia, PA 19102-2100


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                                 Telephone: (215) 864-9600
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                                 Fax: (410) 234-1010




June 17, 2019




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                                       VERIFICATION

        1, Desire Evans, hereby aver that the factual statements in the foregoing Supplemental
Answers to Interrogatories, are true and correct to the best of my knowledge, information, and
belief, and that these Supplemental Answers are made subject to the penalties relating to unsworn
falsification to authorities.



                                            Desire Evans


Dated: June 17, 2019




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the date set forth below I caused a true and correct copy of the


foregoing Supplemental Answers to Interrogatories to be served on the following via electronic

mail:

                                       Brian W. Shaffer
                                       Elisa P. McEnroe,
                                     Mathew D. Klayman
                             MORGAN, LEWIS & BOCKIUS, LLP
                                      1701 Market Street
                                 Philadelphia, PA 19103-2921
                               brian.shaffer(/morganiewiS.COM
                              elisaincenrommorttantewis.corn
                             matthew.klaymatt(ii'movganiewis.corn




                                              /s/ Nicholas M. Centrella
                                              Nicholas M. Centrella




 June 17, 2019




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                                                                  20 of 25
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below I caused a true and correct copy of the


foregoing Supplemental Answers to Interrogatories to be served on the following via electronic

mail:

                                          Brian W. Shaffer
                                         Elisa P. McEnroe,
                                        Mathew D. Klayman
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                                               /s/ Nicholas M. Centrella
                                               Nicholas M. Centrella




        June 17, 2019




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EXHIBIT A: Represented Clients of Schochor, Federico & Staton, P.A.

Last Name        First name              DOB
Achike           Nkemdilim
Aikens           Regina
Alex-Jimda       Olajomoke
Allen            Angel
Allen            Darnisha
Allen            Jovanna
Allen            Krystin
Allen            Tyhee
Alleyne          Martina
Anderson         Keira
Anderson         Latoya
Andrews          Dnia
Anthony          Deborah
Anthony          Ivori
Anthony          Londyn
Ashu             Grace
Ballard          Monique
Balmes           Yolanda
Beard            Pauline
Becoats-Greer    Shantanette
Bennett          Aisha
Berger           Richelle
Bowman           Vanessa
Boykin           Michelle
Bradwell         Tanina
Brame            Shatore
Braxton          Shaunte
Brice            Christina
Britton          Janis
Brooks           Stacey
Brown            Yolanda
Butler           Onikaia
Calliham         Kristen
Carey            Tishana
Carroll          DeTanicha
Cavers           Ada
Cavers           Sabrina
Chase            Chamoney
Chase            Chavonne
Chase            Tameia
Collins          Tamu


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Crawford         Tiffany
Damilare-Raji    Temitope
Davis            Towana
Davison          Dawn
Day              Kavonna
Dew              Briana
Dews             Christina
Drewery          Dekwarna
Driver           Myeshia
Durant           Tasia
Ellis            Princess
Evans            Desire
Faulkner         Samuella
Ferrell          Sade
Ferrell          Shavonne
Fiti             Tele
Ford             Marquette
Francis          Priyanka
Frazier          Nyia
Freeman-Taylor   Octavia
Garay            Jocelyn
Gaymon           Latisa
Gibbs            Gabrielle
Glover           Donita
Godby            Vanessa
Goldston         Darmeshia
Gordon           Antaja
Hall             Shannon
Hammond          Angelique
Harrell          Alecia
Harris           Dynita
Harris           Myah
Harrison-Gray    Deveda
Hayes            Chanita
Henry            Shaquella
Hines            Sonya
Holder           Kimisha
Holmes           Naqirah
Hooker           Ronnetta
Hughes-Keen      LaTonya
Igbalajobi       Oluwaseyi
Ihuoma           Adewunmi
Jackson          Lakisha
Jacob            Darlene


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Jallow            Amie
Jay               Chantell
Jefferies         April
Jeffries          Lisa
Johnson           Brittany
Johnson           Krishanna
Johnson           Sandra
Johnson           Shynese
Johnson           Tierra
Jones             Kiwannah
Jones             Londra
Jones             Shamere / Dezmond
                  Jones
Jones             Shamika
Kamara            Isata
Kamara            Maiatu / Isatu Sillah
Kamara            Veronica
Keemer-Gray       Nicole
King              Demetrice
King              Latashia
Kyles             Tameka
Lacy              Tamara
Lawal             Adejumoke
Layo              Titi
Lee (now Gogarty) Jessica

Lewis              Natasha
Logan              Chadiamond
Lowery             Alisha
Lozano             Siomara
Lynch              Ashley
Magruder           Tatyana
Maiden             Brittany
Martin             Shirnelle
Mason              LaQuonda
Mathis             Felicia
McCarthy           Kharesia
Miles              Jammie
Miles              Jasmine
Miller             Jasmine
Mitchell           Savanna
Molua              Irene
Moyler             Jovan
Ndiformutieh       Victorine


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Nkengfack        Josephine
Nwalokomobi /    Imilar
Mgbolu
Nyanzu           Diana
Omogbadegun      Ibironke
Oswald           Mariah
Otis             Jacqueline
Oyesiji          Jubril
Parker           Ericka
Perkins          Iysha
Petty            Arlene
Plater           Portia
Powell           Elsa
Powell           Tyeisha
Reynolds         Monique
Robinson         Jamie
Robinson         Janni
Rouse            Autumn
Scott            Dajzhe
Sesay            Finda
Shaw             Lakisha
Shearin          Sherita
Simmons          Jasmine
Simmons          Jennifer
Simms            Katrina
Simms            Natasha
Smith            Patria
Smith            Tyissha
Smith-Buani      Yema
Smith-Reynolds   Allanda
Spears           Nishika
Spriggs          Charmisa
Streater         Roneka
Strong           Adoniqua
Stubbs           Andrea
Tazi             Anyinkeng
Terry            Pasche
Thornes          Quiana
Tinsley          Jazmine
Townes           Danielle
Tyler            Rhonda
Tyler            TaNeishia
Udefiagbon       Bukola
Vail-Pardich     Jamesha


                                                                               JA3233
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Valentine          Diamisha
Vaughan            Aurelia
Velasquez          Carmen
Walston            Crystal
Ward               Danielle
Warrick            Brittany
White              Jerica
Wilcox             Joyce
Williams           Amber
Williams           LaShanta
Williams           Latisha
Williams           Mercedes
Wimberly           Lisa
Wimpye             Briana
Wingfield          Ashleigh
Woo                Mary
Woodfork           April
Wright             April
Young              Tina




                                                                                  JA3234
Case: 22-1998 Document:Document
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                Exhibit 45
                           REDACTED




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                    *
ELSA M. POWELL AND DESIRE EVANS,
                                                     *      Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                     *      Hon. Wendy Beetlestone
       v.
                                                     *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES                            *

               Defendant                             *

               *          *   *       *      *       *      *       *       *      *       *

                  PLAINTIFF ELSA POWELL’S SUPPLEMENTAL
                ANSWERS TO FIRST SET OF INTERROGATORIES
                       AND SUPPLEMENTAL RESPONSES
         TO FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS


       Plaintiff, Elsa Powell, pursuant to Federal Rules Civil Procedure 26, 33 and 34, serves the

following Answers to First Set of Interrogatories propounded by the defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party’s’ attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.




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       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to object

to the admissibility of the information.

                 SUPPLEMENTAL ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

       Describe in detail each and every instance in which you were a patient of Akoda, including
how you chose Akoda as your doctor, the date you were a patient, and the specific nature of the
treatments and examinations performed.

ANSWER:

       Objection is made to this interrogatory as it overly broad and unduly burdensome,

and concerns matters which are more appropriately addressed by deposition. Without

waiving this objection, the Plaintiff was treated by Akoda during portions of her prenatal

care, beginning in approximately April of 2014, during her labor on September 17, 2014, for

the subsequent delivery of her infant, and for post-natal care through January of 2015. The

Plaintiff further refers Defendant to the Plaintiff’s medical records for details relating to her

care and treatment by Akoda. The Plaintiff was referred to the practice of Abdul Chaudry,

M.D. for prenatal care by another obstetrician-gynecologist, which is where she first

encountered Akoda.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, all medical records in the possession of

the Plaintiff and her counsel have been produced to ECFMG. The Defendant is again referred

to the medical records of the Plaintiff for detailed information concerning her treatment by

Igberase.




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INTERROGATORY NO. 2:

       Describe in detail the alleged injuries for which you are seeking to recover in this litigation,
including when you first became aware of those injuries, how you became aware of those injuries,
whether you have seen any health care provider for treatment of those alleged injuries and if so,
who and when, and each and every aspect of those injuries.

ANSWER:

       This Plaintiff will be claiming non-economic damages for her pain and suffering, as

well as Plaintiff’s loss to her marital relationship. This Plaintiff has in the past, is presently,

and will in the future continue to suffer excruciating emotional anguish as well as fear and

anxiety, as a result of learning that Akoda was a fraud. This Plaintiff will also be claiming

economic damages for past, present and future medical expenses, future health and life care

needs, including but not limited to psychiatric and/or psychological counseling. Copies of

billing invoices for prior medical care will be provided as they become available. Copies of

Plaintiff’s life care plan and economic report will be provided upon completion. This answer

will be supplemented as discovery proceeds.

       The Plaintiff first experienced her injuries and damages relevant to this matter upon

learning about Akoda’s fraudulent conduct. She first learned this information from another

patient of Adbul Chaudry M.D.’s practice in late 2018.               She subsequently looked up

information about Akoda on the internet.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, Plaintiff has not seen any health care

providers for treatment of these injuries.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your “obstetrician/gynecologist” on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,


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including certification from ECFMG,” including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

ANSWER:

       Objection is made to this request to the extent it elicits communications between the

Plaintiff and her counsel subject to the attorney-client privilege, particularly with regard to

knowledge about ECFMG and its services. Without waiving this objection, Plaintiff would

not have agreed to receive treatment for a physician who had obtained certifications

necessary to practice medicine on the basis of identity fraud. Plaintiff naturally assumed

Akoda was a physician who had been lawfully credentialed.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, Plaintiff is relying on her attorneys for

the specific facts related to the ECFMG certification process. She had no prior knowledge of

ECFMG in particular.

INTERROGATORY NO. 8:

        Identify and describe in detail each and every communication you had with anyone (other
than with your attorneys) about the claims or facts underlying the claims that you are asserting in
the Complaint, including all such communications with Akoda’s medical practice, any medical
licensing board, any employee, agent or representative of ECFMG, and all such communications
with a journalist, reporter, or member of the media.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

concerns matter better addressed through deposition. Plaintiff’s contacts with Akoda are

reflected in the medial records which are being produced.             The Plaintiff has had no

communication with any medical licensing board, employee, agent or representative of

ECFMG, nor any member of the media. The Plaintiff has also given a deposition in the

matter of Dews et al. v. Dimensions Healthcare System, et. al, Case No. CAL-17-37091.

                                                4

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SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, the Plaintiff has communicated

generally with members of her family, specifically, her husband, Gregory Powell, and a friend,

Latisa Gaymon.. The Plaintiff can recall no other discoverable communications other than

those set forth in these responses. The Plaintiffs deposition in the Dimensions matter has been

previously produced.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the method
of calculating each such element of damages or other relief, the amount of each element of
damages or other relief, and the time period for which you are seeking damages or other relief.

ANSWER:

       Plaintiff adopts by reference her Answer to Interrogatory No. 2. The amount of these

damages is for the jury to determine.           Plaintiff seeks damages for these injuries as

determined by the jury.

SUPPLEMENTAL ANSWER:

       Plaintiff is not making a claim for economic damages.

INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys’ fees, or other financial obligations associated with the
bringing of this lawsuit.

ANSWER:

       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.




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SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, Plaintiff has a standard contingency fee

agreement with her attorneys, pursuant to which she pays no fees unless there is a recovery and

counsel advances expenses. There are no other financial arrangements.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

ANSWER:

       Objection is made to this interrogatory as it overly broad, and goes beyond the scope

of appropriate discovery. Plaintiff’s counsel represents numerous persons who are putative

members of the class. Counsel for Plaintiff has a list of persons who have been retained by

Plaintiff’s counsel as members of the putative class, many of whom have been confirmed as

patients of Akoda through review of medical records.            Plaintiff is also aware that other

attorneys in this case represent numerous persons who are putative members of the class,

but are not aware of their identities. Plaintiff believes that there are approximately 1,000

patients seen or treated by Akoda.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, attachment A is a list of persons

represented by Schochor, Federico & Staton, P.A.

INTERROGATORY NO. 15:

        Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this litigation.


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ANSWER:

       Plaintiff objects to this interrogatory on the grounds that it is overly broad and

unduly burdensome, and is not limited in time or scope and seeks information that is not

relevant. Without waiving this objection, to date, the Plaintiff has not undergone medical

treatment from health care providers relating to the emotional distress she has sustained in

this matter.

SUPPLEMENTAL ANSWER:

       Subject to and without waiving these objections, Plaintiff has not sought treatment from

any health care provider for the injuries she is seeking to recover in this litigation. Plaintiff has

received medical care in the past from Sandy Clemente, M.D., whose office is at Kaiser

Permanente’s Camp Springs Medical Center, which is located at 6104 Old Branch Ave

Temple Hills, MD 20748. Dr. Clemente is Plaintiff’s primary care physician (PCP).           Plaintiff

received care from Kaiser Permanente’s Marlow Heights Medical Center, which is located at

5100 Auth Way, Camp Springs, MD 20746, for prenatal care. She was primarily seen by Brian

Kingsley, M.D. during her prenatal course in 2015-2016. Plaintiff delivered her fifth child at

Kaiser Permanente’s Washington Hospital Center which is located at 110 Irving St NW,

Washington, DC 20010. Plaintiff received medical care from Kaiser Permanente’s Fair Oaks

Medical Center which is located at 12255 Fair Lakes Pkwy, Fairfax, VA 22033,

on December 5, 2016. Plaintiff received medical care from Kaiser Permanent’s Camp Springs

Medical Center on January 22, 2018 for left hip and back pain and for a TDAP (diphtheria,

tetanus and acellular pertussis) vaccination. She was seen by Emily Lo, M.D. during that visit.

Plaintiff sought treatment from Medstar Medical Group’s Waldorf facility, located at 12090 Old



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Line Center, Waldorf, Maryland 20602 on February 27, 2018 for left hip and back pain.

Plaintiff again sought treatment from Kaiser Permanente’s Camp Springs Medical Center on

February 28, 2018 for ongoing left hip and back pain on February 28, 2018. She was seen by

Dr. Emily Lo and Omar Javery, M.D. (radiology) during that visit. Plaintiff returned to Kaiser

Permanente’s Camp Springs Medical Center to see Dr. Emily Lo on July 13, 2018 and July 17,

2018 for treatment of an acquired renal cyst. Plaintiff again saw Dr. Emily Lo at Kaiser

Permanente’s Camp Springs Medical Center on August 14, 2018 for an influenza vaccination.

       Ms. Powell saw Dr. Abdul Chaudry for prenatal care beginning on August 25, 2014 at

his office located at 6005 Landover Road, Suite 5, Cheverly, Maryland 20785. Ms. Powell

underwent a dilatation and curettage procedure for postpartum hemorrhage on September 17,

2014 that was performed by Dr. Charles Akoda at Prince Georges Hospital Center located at

3001 Hospital Drive, Cheverly, Maryland 20785. Ms. Powell saw Dr. Chaudry at his office for

postnatal care on October 14, 2014, October 21, 2014, October 28, 2014 and November 18, 2014.

              SUPPLEMENTAL RESPONSES TO DOCUMENT REQUESTS

                                        General Objections

       1.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

       2.      Plaintiff objects to each of Defendant’s requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.

       3.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and

conveniently obtain from other sources.



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       4.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents beyond Plaintiff’s possession, custody or control.

       5.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-client

privilege, the attorney work product doctrine, or similar privileges or protections from discovery

shall not constitute a waiver of any such privileges or protections.

       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only after

the execution of a suitable confidentiality agreement between the parties.

       7.      Because Defendant’s requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify the

specific requests to which documents respond.

       8.      These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter thereof,

on any ground in any further proceedings in this action; and (iii) the right, at any time, to revise,

correct, supplement or clarify any of these responses.

       9.      Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from

these responses as a result of mistake, error, oversight or inadvertence.



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        10.    These responses and any further responses or documents produced pursuant thereto

are made without any acknowledgment or concession that the documents requested are relevant to

the subject matter of this action.

        11.    The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff’s stated willingness to

produce certain classes of documents should in no way be construed as an affirmative

acknowledgment that such documents either exist or are in the possession, custody or control of

Plaintiff.

        12.    The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiff’s specific requests set forth below, and to each and

every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.

REQUEST NO. 3:

        All pleadings filed in Akoda litigation.

RESPONSE:

        Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

        The Plaintiff has provided a copy of the Complaint in this matter and the Defendant’s

Answer.

REQUEST NO. 4:



                                                   10

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          All documents relating to Akoda Litigation.

RESPONSE:

          Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

          Objection is made to this request as it is vague, overly broad and unduly burdensome.

Moreover, documents filed in the Dimensions litigation are readily obtainable from the Prince

George’s County Circuit Court.         Other documents, including attorney work product and

documents concerning expert witnesses in that matter, are beyond the scope of discovery in this

matter.

REQUEST NO. 6:

          All sworn statements executed by you in Akoda Litigation.

RESPONSE:

          Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

          The transcript of Plaintiff’s deposition and Plaintiff’s Answers to Interrogatories in the

Akoda litigation have been produced.

REQUEST NO. 7:

          All documents relating to Putative Class Members.

RESPONSE:




                                                  11

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       Objection. This request is ambiguous, overbroad, and seeks information that is not

proportionate to the needs of the case. If Defendant will clarify it, Plaintiff will attempt to

respond.

SUPPLEMENTAL RESPONSE:

       Plaintiff is producing a list of all persons represented by the law firms identified in

answer to Interrogatory No. 12.

REQUEST NO. 10:

       All documents relating to ECFMG.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.

SUPPLEMENTAL RESPONSE:

       Objection is made to this request as it is vague. The materials relating to ECFMG in the

possession of the Plaintiff or her counsel were obtained from the Defendant ECFMG, or are

otherwise in the possession of the Defendant ECFMG.

REQUEST NO. 20:

       All documents relating to Dimensions Healthcare Associates and Akoda.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

SUPPLEMENTAL RESPONSE:

       Objection is made to this response as it is vague, overbroad and unduly burdensome, and

to the extent it seeks information protected by attorney work product. Documents filed in




                                                 12

                                                                                      JA3247
       Case:2:18-cv-05629-JDW
       Case  22-1998 Document:Document
                               22-5 Page:
                                       50-2 1358
                                       86-9         Date Filed:
                                             Filed 12/11/21
                                                   11/26/19     09/08/2022
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litigation with Dimensions Healthcare are readily obtainable from the Prince George’s County

Circuit Court in Maryland.

REQUEST NO. 21:

       All communications between you and Dimensions Healthcare Associates relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

SUPPLEMENTAL RESPONSE:

       Objection is made to this request to the extent it seeks confidential documents concerning

settlement discussions, including materials produced for mediation, to include mediation

statements and expert reports produced for purposes of mediation. Objection is further made

to this request to the extent it seeks correspondence between counsel as it is beyond the scope of

discovery and represents attorney work product. Documents filed in litigation with Dimensions

Healthcare are readily obtainable from the Prince George’s County Circuit Court in Maryland.

REQUEST NO. 30:

        All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to any

documents that may be responsive to this request. This request also appears to be duplicative

of other requests to which – subject to the above-stated objection, Plaintiff has responded

that, if she has any such documents, they will be produced.

SUPPLEMENTAL RESPONSE:



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                                                                                         JA3248
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:Document
                              22-5 Page:
                                      50-2 1359
                                      86-9         Date Filed:
                                            Filed 12/11/21
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                                                            Page  15 of 27




       Objection is further made to this request as it seeks attorney work product. Subject to

and without waiving these objections, to the extent any such discoverable documents exist, they

will or have been produced.

REQUEST NO. 34:

       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce any documents on the grounds that she is not making any claim for lost income.

SUPPLEMENTAL RESPONSE:

       Subject to and without waiving these objections, Plaintiff is not making any claim for

economic damages and therefore the requested documents are not relevant or discoverable.

REQUEST NO. 35:

       All medical records, pharmacy records, doctor’s notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it is overly broad and burdensome in that it is not

limited in time or scope and that it seeks information that is not relevant to any claim or

defense in this action. To the extent the Plaintiff receives treatment concerning her condition

and injuries relevant to this lawsuit, these documents will be produced.

SUPPLEMENTAL RESPONSE:




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                                                                                      JA3249
       Case:2:18-cv-05629-JDW
       Case  22-1998 Document:Document
                               22-5 Page:
                                       50-2 1360
                                       86-9         Date Filed:
                                             Filed 12/11/21
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                                                             Page  16 of 27




       Subject to and without waiving these objections, Plaintiff has never sought nor received

treatment for any mental health diagnosis, illness of injury.          All medical records in the

possession of the Plaintiff and her counsel have been produced.

REQUEST NO. 36:

      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

RESPONSE:

       To the extent the Plaintiff receives treatment concerning her condition and injuries

relevant to this lawsuit, these documents will be provided.

SUPPLEMENTAL RESPONSE:
       Plaintiff has not sought nor received medical treatment for the injuries she is claiming

in this litigation. Plaintiff has no bills or expense documentation.

REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your behalf
by any insurance carrier or health plan for examination and treatment of alleged injuries.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are not

relevant to any claim or defense in this action. To the extent that the Plaintiff incurs medical

bills related to examination and treatment for her injuries relevant to this lawsuit, they will

be provided.

SUPPLEMENTAL RESPONSE:
       Plaintiff has not sought nor received medical treatment for the injuries she is claiming

in this litigation. Plaintiff has no bills or expense documentation.

REQUEST NO. 41:

                                               15

                                                                                         JA3250
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:Document
                              22-5 Page:
                                      50-2 1361
                                      86-9         Date Filed:
                                            Filed 12/11/21
                                                  11/26/19     09/08/2022
                                                            Page  17 of 27




        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

RESPONSE:

          Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that they are protected from discovery by the work-

product doctrine. Without waiving this objection, the Plaintiff Elsa Powell has not obtained

any statements from ECFMG.

SUPPLEMENTAL RESPONSE:

          Subject to and without waiving these objections, Plaintiff will produce the transcript of

her deposition and her answers to interrogatories in the Akoda litigation.

REQUEST NO. 42:

        All documents and communications relating to any arrangements that you have made with
your attorneys or others relating to payment of the costs, attorneys’ fees, or other financial
obligations associated with the bringing of this lawsuit.

RESPONSE:

          Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on the

grounds that it requests documents which are not relevant to any claim or defense in this

action.

SUPPLEMENTAL RESPONSE:

          Subject to and without waiving these objections, see Supplemental Answer to

Interrogatory No. 11.

REQUEST NO. 43:

      All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)


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                                                                                          JA3251
       Case:2:18-cv-05629-JDW
       Case  22-1998 Document:Document
                               22-5 Page:
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                                       86-9         Date Filed:
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providing any funding of any attorneys’ fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your attorneys,
either directly or indirectly; or (c) have a financial interest or right to receive compensation that is
contingent on the outcome of this lawsuit by settlement, judgment, or otherwise; or (d) are
receiving any form of compensation or remuneration for providing any information, services, or
assistance concerning this lawsuit.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on

the grounds that it requests documents which are not relevant to any claim or defense in

this action.

SUPPLEMENTAL RESPONSE:

       There are no financial arrangements with anyone other than Plaintiff’s attorneys, as set

forth in response to Interrogatory No. 11.

REQUEST NO. 44:

        All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating
each such element of damages or other relief, and the amount of each element of damages or other
relief.

RESPONSE:

       Any discoverable documents responsive to this request will be produced.

SUPPLEMENTAL RESPONSE:

       Plaintiff is seeking only non-economic damages; there are no documents responsive to

this request.




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Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
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                                50-2 1363
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                              CONRAD & O’BRIEN, P.C.

                              _/s/ Nicholas M. Centrella____________________
                              Nicholas M. Centrella, Esquire (ID No. 67666)
                              ncentrella@conradobrien.com
                              Howard M. Klein, Esquire (ID No. 33632)
                              Benjamin O. Present, Esquire (ID No. 322682)
                              1500 Market Street
                              Centre Square, West Tower, Suite 3900
                              Philadelphia, PA 19102-2100
                              Telephone: (215) 864-9600
                              Fax: (215) 864-9620




                                 18

                                                                     JA3253
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:Document
                            22-5 Page:
                                    50-2 1364
                                    86-9         Date Filed:
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                                  SCHOCHOR, FEDERICO AND STATON, P.A.

                                  /s/ Jonathan Schochor
                                  Jonathan Schochor (Admitted Pro Hac Vice )
                                  jschoehor@sfspa.com
                                  Lauren Schochor (Identification No. 87618)
                                  lsehochor@sfspa. corn
                                  Brent Ceryes (Admitted Pro Hac Vice)
                                  bceryes@sfspa.com
                                  The Paulton
                                  1211 St. Paul Street
                                  Baltimore, Maryland 21202
                                  Phone: (410) 234-1000
                                  Fax: (410) 234-1010




June 17, 2019




                                    19


                                                                               JA3254
     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:Document
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                                     50-2 1365
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                                            VERIFICATION

         I, Elsa Powell, hereby aver that the factual statements in the foregoing Supplemental
Answers to Interrogatories, are true and correct to the best of my knowledge, information, and
belief, and that these Supplemental Answers are made subject to the penalties relating to unworn
falsification to authorities.




                                            Elsa Powell


Dated: June 17, 2019




                                                                                          JA3255
        Case:2:18-cv-05629-JDW
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                                22-5 Page:
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                                        86-9         Date Filed:
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on the date set forth below I caused a true and correct copy of the


foregoing Supplemental Answers to Interrogatories to be served on the following via electronic

mail:


                                         Brian W. Shaffer
                                        Elisa P. McEnroe,
                                       Mathew D. Klayman
                               MORGAN, LEWIS & BOCKIUS, LLP
                                        1701 Market Street
                                   Philadelphia, PA 19103-2921
                                 brian.shaffer@morganlewis.com
                                elisa.mcenroe@morganlewis.com
                               matthew.klaymanAmorganlewis.com




                                               /s/ Nicholas M. Centrella
                                               Nicholas M. Centrella




   June 17, 2019




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                                                                               of 27


EXHIBIT A: Represented Clients of Schochor, Federico & Staton, P.A.

Last Name        First name              DOB
Achike           Nkemdilim
Aikens           Regina
Alex-Jimda       Olajomoke
Allen            Angel
Allen            Darnisha
Allen            Jovanna
Allen            Krystin
Allen            Tyhee
Alleyne          Martina
Anderson         Keira
Anderson         Latoya
Andrews          Dnia
Anthony          Deborah
Anthony          Ivori
Anthony          Londyn
Ashu             Grace
Ballard          Monique
Balmes           Yolanda
Beard            Pauline
Becoats-Greer    Shantanette
Bennett          Aisha
Berger           Richelle
Bowman           Vanessa
Boykin           Michelle
Bradwell         Tanina
Brame            Shatore
Braxton          Shaunte
Brice            Christina
Britton          Janis
Brooks           Stacey
Brown            Yolanda
Butler           Onikaia
Calliham         Kristen
Carey            Tishana
Carroll          DeTanicha
Cavers           Ada
Cavers           Sabrina
Chase            Chamoney
Chase            Chavonne
Chase            Tameia
Collins          Tamu


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Crawford         Tiffany
Damilare-Raji    Temitope
Davis            Towana
Davison          Dawn
Day              Kavonna
Dew              Briana
Dews             Christina
Drewery          Dekwarna
Driver           Myeshia
Durant           Tasia
Ellis            Princess
Evans            Desire
Faulkner         Samuella
Ferrell          Sade
Ferrell          Shavonne
Fiti             Tele
Ford             Marquette
Francis          Priyanka
Frazier          Nyia
Freeman-Taylor   Octavia
Garay            Jocelyn
Gaymon           Latisa
Gibbs            Gabrielle
Glover           Donita
Godby            Vanessa
Goldston         Darmeshia
Gordon           Antaja
Hall             Shannon
Hammond          Angelique
Harrell          Alecia
Harris           Dynita
Harris           Myah
Harrison-Gray    Deveda
Hayes            Chanita
Henry            Shaquella
Hines            Sonya
Holder           Kimisha
Holmes           Naqirah
Hooker           Ronnetta
Hughes-Keen      LaTonya
Igbalajobi       Oluwaseyi
Ihuoma           Adewunmi
Jackson          Lakisha
Jacob            Darlene


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            Case:
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Jallow            Amie
Jay               Chantell
Jefferies         April
Jeffries          Lisa
Johnson           Brittany
Johnson           Krishanna
Johnson           Sandra
Johnson           Shynese
Johnson           Tierra
Jones             Kiwannah
Jones             Londra
Jones             Shamere / Dezmond
                  Jones
Jones             Shamika
Kamara            Isata
Kamara            Maiatu / Isatu Sillah
Kamara            Veronica
Keemer-Gray       Nicole
King              Demetrice
King              Latashia
Kyles             Tameka
Lacy              Tamara
Lawal             Adejumoke
Layo              Titi
Lee (now Gogarty) Jessica

Lewis              Natasha
Logan              Chadiamond
Lowery             Alisha
Lozano             Siomara
Lynch              Ashley
Magruder           Tatyana
Maiden             Brittany
Martin             Shirnelle
Mason              LaQuonda
Mathis             Felicia
McCarthy           Kharesia
Miles              Jammie
Miles              Jasmine
Miller             Jasmine
Mitchell           Savanna
Molua              Irene
Moyler             Jovan
Ndiformutieh       Victorine


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         Case:
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           Case22-1998   Document:Document
              2:18-cv-05629-JDW
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Nkengfack        Josephine
Nwalokomobi /    Imilar
Mgbolu
Nyanzu           Diana
Omogbadegun      Ibironke
Oswald           Mariah
Otis             Jacqueline
Oyesiji          Jubril
Parker           Ericka
Perkins          Iysha
Petty            Arlene
Plater           Portia
Powell           Elsa
Powell           Tyeisha
Reynolds         Monique
Robinson         Jamie
Robinson         Janni
Rouse            Autumn
Scott            Dajzhe
Sesay            Finda
Shaw             Lakisha
Shearin          Sherita
Simmons          Jasmine
Simmons          Jennifer
Simms            Katrina
Simms            Natasha
Smith            Patria
Smith            Tyissha
Smith-Buani      Yema
Smith-Reynolds   Allanda
Spears           Nishika
Spriggs          Charmisa
Streater         Roneka
Strong           Adoniqua
Stubbs           Andrea
Tazi             Anyinkeng
Terry            Pasche
Thornes          Quiana
Tinsley          Jazmine
Townes           Danielle
Tyler            Rhonda
Tyler            TaNeishia
Udefiagbon       Bukola
Vail-Pardich     Jamesha


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            Case:
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              Case22-1998   Document:Document
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Valentine          Diamisha
Vaughan            Aurelia
Velasquez          Carmen
Walston            Crystal
Ward               Danielle
Warrick            Brittany
White              Jerica
Wilcox             Joyce
Williams           Amber
Williams           LaShanta
Williams           Latisha
Williams           Mercedes
Wimberly           Lisa
Wimpye             Briana
Wingfield          Ashleigh
Woo                Mary
Woodfork           April
Wright             April
Young              Tina




                                                                                  JA3261
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                86-101372    Date Filed:Page
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                Exhibit 46
                           REDACTED




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     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:Document
                             22-5 Page:
                                     86-101373    Date Filed:Page
                                            Filed 12/11/21    09/08/2022
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL AND DESIRE EVANS,
                                                             Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                             Hon. Wendy Beetlestone
       v.
                                                     *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES

               Defendant

               *       *      *       *      *       *       *       *      *       *       *

             PLAINTIFF JASMINE RIGGINS' SUPPLEMENTAL ANSWERS TO FIRST
              SET OF INTERROGATORIES AND SUPPLEMENTAL RESPONSES TO
                FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Plaintiff, Jasmine Riggins, pursuant to Federal Rules Civil Procedure 26, 33 and 34,

serves the following Supplemental Answers to First Set of Interrogatories propounded by the

defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party's' attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.




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    Case:2:18-cv-05629-JDW
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       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to

object to the admissibility of the information.

                       SUPPLEMENTAL ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

       Describe in detail each and every instance in which you were a patient of Akoda,
including how you chose Akoda as your doctor, the date you were a patient, and the specific
nature of the treatments and examinations performed.

SUPPLEMENTAL ANSWER:

       Plaintiff believes, but is not certain, that she recalls the dates she saw Akoda in his

office and the dates she was at Prince Georges' Hospital Center where Akoda delivered her

baby, Messiah Denver Brown, by C-section on March 18, 2013. Her best recollection is that

Akoda provided prenatal care from August 2012 to March 18, 2013. Plaintiff refers

Defendant to the medical records which Plaintiff is producing. Plaintiff chose Dr.

Chaudry's practice because it was conveniently located. She was never treated by Dr.

Chaudry but rather by Akoda.

       The prenatal recordsfrom Dr. Abdul Chaudry were produced to ECFMG. They

indicate that Plaintifffirst saw Akoda on 10/15/2012. These records appear to indicate that

Plaintiff had pre-natal visits on 10/23/2012; 12/03/2012; 12/20/2012; 12/31/2012; 1/17/2013;

2/19/2013; 2/22/2013; 3/01/2013; 3/13/2013; and 3/18/2013. These records are bates stamped

0000001995-0000002026.

INTERROGATORY NO. 2:

         Describe in detail the alleged injuries for which you are seeking to recover in this
litigation, including when you first became aware of those injuries, how you became aware of
those injuries, whether you have seen any health care provider for treatment of those alleged
injuries and if so, who and when, and each and every aspect of those injuries.


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    Case:2:18-cv-05629-JDW
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SUPPLEMENTAL ANSWER:

       Plaintiff has suffered financial, physical and emotional injuries. In addition to these

injuries, Akoda's surgery on Plaintiff has limited her birth control options. Plaintiff

requested a tubal ligation to ensure against future pregnancies and she was denied due to

the tissue damage caused by Akoda's surgery. Plaintiff suffered extreme pain for several

months after Akoda's surgery. After returning to work and continuing for a few months,

approximately twice a week Plaintiff was unable to complete her work shift, leaving work

two hours early, because of the extreme pain, that at times would cause her to double over,

and resulted in lost income. Plaintiff had confidence and trust in her OB/GYN provider,

Abdul Chaudry, M.D., that the doctors working under his practice and that treated her

were, at the very least, legitimately credentialed, legally licensed, possessed the proper

education and were real doctors. In addition, Plaintiff had confidence and trust in Prince

George's Hospital Center that the doctors given privileges at their facility to perform

surgery would also, at the very least, be legitimately credentialed, legally licensed, possess

the proper education and were real doctors. Akoda performed a C-section on Plaintiff on

March 18, 2013, when he was not legitimately credentialed, used fraud to obtain a medical

license, and did not graduate from a medical school. Upon learning Akoda was a fraud,

impersonating a doctor, Plaintiff felt extremely violated, betrayed, embarrassed, sad, very

angry and shocked. As discovery is ongoing, Plaintiff reserves the right to supplement this

Answer.

       Plaintiff has not seen any health care providersfor treatment of these injuries.

Plaintiff began experiencing these injuries when she learned in July 2017 that Akoda was not




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really a doctor. Plaintiff learned thisfrom Monique Russell. Plaintiff is seeking only non-

economic damages.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your "obstetrician/gynecologist" on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,
including certification from ECFMG," including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

SUPPLEMENTAL ANSWER:

       Plaintiff would not have chosen anyone as her Ob/Gyn who was not a real physician.

Plaintiff naturally assumed Akoda was a real physician.

       Plaintiff is relying on her attorneysfor these allegations and Plaintiff has no personal

knowledge of them.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the
method of calculating each such element of damages or other relief, the amount of each element
of damages or other relief, and the time period for which you are seeking damages or other relief.

SUPPLEMENTAL ANSWER:

       Plaintiff adopts by reference her answer to interrogatory no. 2. The amount of these

damages is for the jury to determine. Plaintiff seeks damages for these injuries as

determined by the jury.

       Plaintiff is not making a claim for economic damages.

INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys' fees, or other financial obligations associated with the
bringing of this lawsuit.




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SUPPLEMENTAL ANSWER:

       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.

       Subject to and without waiving these objections, Plaintiff has a standard contingency

fee agreement with her attorneys, pursuant to which she pays no fees unless there is a

recovery and counsel advances expenses. There are no other financial arrangements. All

clients retained by the Law Offices of Peter G. Angelos, P.C., the Law Offices of David Ellin

and Z Law, LLC have signed the same retainer agreement.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

SUPPLEMENTAL ANSWER:

       Plaintiff's counsel represents numerous persons who are putative members of the

class. Counsel for Plaintiff has a list of persons who have been retained by Plaintiff's

counsel as members of the putative class. Plaintiff's counsel has sufficient information to

establish that these clients were seen or treated by Akoda. Plaintiff's counsel is also aware

that other attorneys in this case represent numerous persons who are putative members of

the class, but is not aware of their identities. Plaintiff believes that there are approximately

1,000 patients seen or treated by Akoda.

       Attachment A is a list ofpersons represented jointly by the Law Office of Peter G.

Angelos, P.A., the Law Offices of David Ellin and Z Law, LLC.




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                                                                                               JA3267
     Case:2:18-cv-05629-JDW
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INTERROGATORY NO. 15:

         Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this
litigation.

SUPPLEMENTAL ANSWER:

        Plaintiff objects to this interrogatory on the grounds that it is overly broad and

burdensome. As worded, this Interrogatory seeks information about Plaintiff's health care

that is unrelated to her treatment by Akoda. It is not limited in time or scope and seeks

information that is not relevant.

        Subject to and without waiving these objections, Plaintiff has not sought treatment

from any health care provider for the injuries she is seeking to recover in this litigation.

Plaintiff has received medical care in the past from Charter Health Care, a clinic in the

District of Columbia, andfollowing the delivery of her child by Akoda from Unity Health

Care, another clinic in the District of Columbia. Plaintiff has two other children: Santana

                  and Taniya                      and the Plaintiff has terminated two other

pregnancies.

               SUPPLEMENTAL RESPONSES TO DOCUMENT REQUESTS

                                        General Objections

        1.     Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

   to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

        2.     Plaintiff objects to each of Defendant's requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.



                                                 6



                                                                                               JA3268
    Case:2:18-cv-05629-JDW
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       3.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and

conveniently obtain from other sources.

       4.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

documents beyond Plaintiffs' possession, custody or control.

       5.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-

client privilege, the attorney work product doctrine, or similar privileges or protections from

discovery shall not constitute a waiver of any such privileges or protections.

       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only

after the execution of a suitable confidentiality agreement between the parties.

       7.      Because Defendant's requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify

the specific requests to which documents respond.

       8.      These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter

thereof, on any ground in any further proceedings in this action; and (iii) the right, at any time,

to revise, correct, supplement or clarify any of these responses.



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                                                                                                 JA3269
     Case:2:18-cv-05629-JDW
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                             22-5 Page:
                                     86-101380    Date Filed:Page
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        9.      Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from

these responses as a result of mistake, error, oversight or inadvertence.

        10.     These responses and any further responses or documents produced pursuant

thereto are made without any acknowledgment or concession that the documents requested are

relevant to the subject matter of this action.

        11.     The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff's stated willingness to

produce certain classes of documents should in no way be construed as an affirmative

acknowledgment that such documents either exist or are in the possession, custody or control of

Plaintiff.

        12.     The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiffs specific requests set forth below, and to each and

every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.

REQUEST NO. 6:

        All sworn statements executed by you in Akoda Litigation.

SUPPLEMENTAL RESPONSE:

        None.

        The transcript of Plaintiff's deposition and Plaintiff's Answers to Interrogatories in the

Akoda litigation will be produced.



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                                                                                                 JA3270
   Case:2:18-cv-05629-JDW
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                          Document 86-101381     Date Filed:
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                                                          Page   10 of 24




REQUEST NO. 7:

       All documents relating to Putative Class Members.

SUPPLEMENTAL RESPONSE:

       Objection. This request is ambiguous, overbroad and seeks documents which are

not proportionate to the needs of this case. If Defendant will clarify it, Plaintiff will

attempt to respond.

       Plaintiff is producing a list of all persons represented by the lawfirms identified in

answer to Interrogatory No. 12.

REQUEST NO. 30:

       All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

SUPPLEMENTAL RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to

any documents that may be responsive to this request. This request also appears to be

duplicative of other requests to which, subject to the above stated objection, Plaintiff has

responded that, if she has any such documents, they will be produced.

       Subject to and without waiving these objections, to the extent any such documents

exist, they will or have been produced.

REQUEST NO. 34:

       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.

SUPPLEMENTAL RESPONSE:




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                                                                                            JA3271
    Case:2:18-cv-05629-JDW
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       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce any documents other than the documents showing the time she may have missed

from work for a brief period of time after her surgery.

       Subject to and without waiving these objections, Plaintiff is not making any claim for

economic damages and therefore the requested documents are not relevant.

REQUEST NO. 35:

       All medical records, pharmacy records, doctor's notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.

SUPPLEMENTAL RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it is overly broad and burdensome in

that it is not limited in time or scope and that it seeks information that is not relevant to

any claim or defense in this action.

       Subject to and without waiving these objections, Plaintiff has never sought nor

received treatmentfor any mental health diagnosis, illness of injury. The only medical care

Plaintiff can recall is in connection with her pregnancies and deliveries.

REQUEST NO. 36:

      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

SUPPLEMENTAL RESPONSE:

       The requested documents will be produced.

       Plaintiff has not sought nor received medical treatmentfor the injuries she is claiming

in this litigation. Plaintiff has no bills or expense documentation.




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                                                                                           JA3272
    Case:2:18-cv-05629-JDW
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REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your
behalf by any insurance carrier or health plan for examination and treatment of alleged injuries.

SUPPLEMENTAL RESPONSE:

        The requested documents will be produced.

       Plaintiff has not sought nor received medical treatmentfor the injuries she is claiming

in this litigation. Plaintiff has no bills or expense documentation.

REQUEST NO. 41:

        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

SUPPLEMENTAL RESPONSE:

       Objection. Plaintiff has not obtained any statements. Upon advice of counsel,

Plaintiff objects to this request insofar as it seeks statements obtained by her attorneys and

declines to produce the requested documents on the grounds that they are protected from

discovery by the work-product doctrine.

       Subject to and without waiving these objections, Plaintiff will produce the transcript of

her deposition and her answers to interrogatories in the Akoda litigation.

REQUEST NO. 42:

        All documents and communications relating to any arrangements that you have made
with your attorneys or others relating to payment of the costs, attorneys' fees, or other financial
obligations associated with the bringing of this lawsuit.

SUPPLEMENTAL RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on




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                                                                                               JA3273
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the grounds that it requests documents which are not relevant to any claim or defense in

this action.

       Subject to and without waiving these objections, see Supplemental Answer to

Interrogatory No. 11.

REQUEST NO. 43:

       All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)
providing any funding of any attorneys' fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your
attorneys, either directly or indirectly; or (c) have a financial interest or right to receive
compensation that is contingent on the outcome of this lawsuit by settlement, judgment, or
otherwise; or (d) are receiving any form of compensation or remuneration for providing any
information, services, or assistance concerning this lawsuit.

SUPPLEMENTAL RESPONSE:

       Plaintiff adopts by reference her response to Request No. 42.

       There are no financial arrangements with anyone other than Plaintiff's attorneys.

REQUEST NO. 44:

        All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating
each such element of damages or other relief, and the amount of each element of damages or
other relief

SUPPLEMENTAL RESPONSE:

       The requested documents will be produced.

       Plaintiff is seeking only non-economic damages; there are no documents responsive to

this request.




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                                                                                            JA3274
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                                  CONRAD & O'BRIEN, P.C.


                                   /s/ Nicholas M Centrella
                                  Nicholas M. Centrella, Esquire (ID No. 67666)
                                  ncentrellageonradobrien.com
                                  Howard M. Klein, Esquire (ID No. 33632)
                                  Benjamin 0. Present, Esquire (ID No. 322682)
                                  1500 Market Street
                                  Centre Square, West Tower, Suite 3900
                                  Philadelphia, PA 19102-2100
                                  Telephone: (215) 864-9600
                                  Fax: (215) 864-9620


                                  LAW OFFICES OF PETER G. ANGELOS, P.C.


                                  /s/ Paul M. Vettori
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                                  jmiller(&,lawpga.com
                                  Danielle S. Dinsmore (Pro Hac Vice Forthcoming)
                                  ddinsmore@lawpga.com
                                  Paul M. Vettori (Pro Hac Vice Forthcoming)
                                  pvettork&,lawpga.com
                                  One Charles Center
                                  100 North Charles Street
                                  Baltimore, MD 21201
                                  Telephone: (410) 649-2000
                                  Fax: (410) 649-2150
                                  Attorneysfor Plaintiff Jasmine Riggins

Dated: June     , 2019




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                                                                                  JA3275
Case:2:18-cv-05629-JDW
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                                            VERIFICATION

                I, Jasmine Riggins, hereby aver that the factual statements in the foregoing Answers

 to Interrogatories are true and correct to the best of my knowledge, information and belief, and

 that these Answers are made subject to the penalties relating to unsworn falsification to

 authorities.




                                                 Jasmine Rtigkins
                                                            \t         F
                                                             1 41




 Dated: June 1 3 , 2019




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   Case:2:18-cv-05629-JDW
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                          Document 86-101387     Date Filed:
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below I caused a true and correct copy of the

foregoing Supplemental Answers to Interrogatories and Document Requests to be served on the

following via electronic mail:

                                       Brian W. Shaffer
                                       Elisa P. McEnroe
                                    Matthew D. Klayman
                             MORGAN, LEWIS & BOCKUS, LLP
                                      1701 Market Street
                                Philadelphia, PA 19103-2921
                               brian.shafferAmorganlewis.com
                              elisa.mcenroe@morganlewis.com
                             matthew.klayman@morganlewis.com




                                                             Is! Nicholas M. Centrella
                                                             Nicholas M. Centrella


June       , 2019




                                                15



                                                                                              JA3277
Case:2:18-cv-05629-JDW
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    ATTACHMENT A TO SUPPLEMENTAL DISCOVERY RESPONSES




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NAME                                  D/O/B


Abudu, Yemis
Adams, Jonae
Adebayo, Atinuke 0.
Adebayo, Titilope
Adekanbi, Comfort
Adeoye, Aebola
Adesalu, Folasade
Adigwe, Susan
Akinwekomi, Taiwo
Akosile, Abosede
Alleyne, Dionne
Anderson, Fatama
Andrews, Ivona
Arrey, Gennette Nker
Ashton, Jennifer
Atemnkeng, Precilia
Ayodele, Olushola
Ayoola, Abeni
Azienwi, Marie Takem
Bailey, Lameche
Barnes, Whitney
Barney, (Burc) Kededra
Bell, Jimekiah
Bendu, Makala
Benford, (Walder) Tiffany
Benjamin, Daneylle
BienAime, Lise
Bonaparte, Karen
Bowden, Natasha
Braima, Memunatu
Braxton, Jovan
Briscoe, Myeshia
Broomes, To Asia
Brown, Brittney
Brown, Christine
Brown, Sharon
Brown, Shaunelle




                                                                           JA3279
       Case:2:18-cv-05629-JDW
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                              Document 86-101390     Date Filed:
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NAME                                  D/0/13


Brown, Tiffany
Bryant, Ladorsha
Burris, Donika
Burris, Rainelle
Butler, Renee
Byrd, Sekeithia
Caldwell, Amisha
Calix, Karina
Coleman, Rashena
Coley, Takia
Collins, Jayde
Cosby, Taylor
Craig, Candace
Derricott, Tiara
Donnell, Tyche
Davis, Renita
Daniels, Brittany
Davis, Amoni
Davis, Ashle
Davis, Stefanie
Deville, Ashley
Deville, Ebony
Deville, Tiffany
Diamond, Ashley
Dinga, Andin
Dunham, Deneise
Eley, Marra
Faison, Markinda
Felder, Andrea
Felix, Altagracia
Ferguson, Damisha
Ferguson, Zenea
Fomah, Fatu
Franklin, Alexis
Franklin, Khenae
Fungafat, Tandika
Garcia, Yancia




                                                                           JA3280
       Case:2:18-cv-05629-JDW
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NAME                                  D/O/B

Gaskins, Richana
Gibbs, Gabrielle
Gines, Jasmine
Ginyard, Angela
Goldston, Shadona
Gonzales, Hazzmin
Green, Crystal
Grier, Gethsamane
Hall, Asia
Hall, Monica
Hansberry, Yvette
Harley, Ashley
Harper, Aqueba
Harper, Deshonta
Harris, Dayshelle
Harris, Kimberly
Harrison, Charnika
Hearst, Lashell
Henry, Lazett
Henry, Shaquella
Herron, Angela
Holder, Kimberly
Hudson, Chanell
Ifekoya, Adeola
Jackson, Danielle
Jalloh, Ramatulie
Jawla, Dalla
Jenkins-Williams, Tris
Jimason, Tasha
Jobe, Princess
Johnson, Alonda
Johnson, Deidra
Johnson, Jasmine
Johnson, Keisha
Jones, Carol
Jones, Jasmine
Jordan-Worthy, Krytiseya




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                              Document 86-101392     Date Filed:
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NAME                                  D/O/B


Judd, Yvonnda
Kaffo, Urowoli (Lucy)
Kamara, Etta
Kamara, Isatu
Kanu, Fatmata
King, Leia
Knox-Stokes, Ashanta
Koroma, Bridgetta
Koroma, Margaret
Kosh, Charmayne
Kosh, Nia
Kwi, Courage
Langford, Deja
Leslie, Hazel
Lewis, Dawnesheia
Lindsay, Chelsey
Little, Ciera
Lofland, Zymira
Lovell, Erica
Madubuatta, Miriam Ada
Martin, Crystal
Mathis, Markquonda
Maynard, LaChey
Mayo, Tamia
McAllister, Tara
McGee, Lakenyatta
McKnight, Denia
McLaughlin, Ann Marie
Metts, Torquesa
Moorman, Shanita
Morgan, Patricia
Nickens, Klea
Nadav, Mattu
Nguti, Mirabel
Nkeng, Sylvia
Oakes, Ashley
Olukoga, Emily



                                                                           JA3282
       Case:2:18-cv-05629-JDW
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                              Document 86-101393     Date Filed:
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NAME                                  D/O/B


Oni, Abimbola
Palmer, Brittany
Parker, Jazzman
Parker, Sylvia
Pitts, Ashley
Platt, Endia
Powell, Tina
Proctor, Latika
Proctor, Shabray
Proctor, Shamika
Randall, Amina
Ray-Gie, Trayeshia
Reed, Brishona
Reeves, Chimere
Reid, Patricia
Riggins, Jasmine
Robbins, Lashawnda
Robinson, Clara
Ross, Dinah
Rush, Shartae
Russell, Monique
Sambola, Arku
Samuel, Titilayo
Savoy, Keyona
Savoy, Sheika
Sawyer, Racquetta
Sawyer, Ursula
Scarbourough, Micaela
Seegars, Toniesha
Sesay, Finda
Shobowale, Oritoke
Simpkins, Leslei
Simpson, Felicia
Smith, Jalisa M.
Smith, Iris Samone
Smith, Tammy
Snowden, Caprice




                                                                           JA3283
       Case:2:18-cv-05629-JDW
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                              Document 86-101394     Date Filed:
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NAME                                   D/O/B

Snowden, Imani
Sorrell, Tiara
Spencer, Cassandra
Spencer, Faatimah
Spencer, Nafiysha
Spriggs, Tiara
Stagg, Shanika
Stallings, Lynette
Stallings, Christina
Stocks, Artavia
Streater, Roneka
Sykes, Tyiesha
Taylor, Chauntice
Taylor, Latiffany
Thomas, Tanja
Thomas, Victoria
Thomas-Walker, Carla
Thornton, Lisa
Tilghman, Chantell
Tilghman, Chernell
Tilghman, Faith
Toure-Davis, Nathalie
Tyler, Alexa
Valentine, Diamisha
Van-Overbeek, April Cain
Veney, Lauren
Wade, Britnee
Wade, Kayla
Walker, Alicea
Wallace, Shelly
Walton, Aisha
Ward, Iesha
Watts, Ericka
White, Shavonda
Whitley, Alexis Joanne
Williams, Alexis
Williams, Apryl Monet



                                                                           JA3284
       Case:2:18-cv-05629-JDW
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                              Document 86-101395     Date Filed:
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NAME                                  D/O/B

Williams, Candice
Williams, Lynette
Williams, Michelle
Williamson, Keyinoshia
Wilson, Breanna
Woodfolk, (nee Toni)




                                                                           JA3285
Case:2:18-cv-05629-JDW
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                Exhibit 47
                           REDACTED




                                                                  JA3286
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL AND DESIRE EVANS,
                                                             Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                             Hon. Wendy Beetlestone
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES

               Defendant

               *          *   *       *       *      *       *              *       *       *

               PLAINTIFF MONIQUE RUSSELL'S SUPPLEMENTAL ANSWERS TO
             FIRST SET OF INTERROGATORIES AND SUPPLEMENTAL RESPONSES
               TO FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS

       Plaintiff, Monique Russell, pursuant to Federal Rules Civil Procedure 26, 33 and 34,

serves the following Supplemental Answers to First Set of Interrogatories propounded by the

defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party's' attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.




                                                                                                JA3287
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       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to object

to the admissibility of the information.

                       SUPPLEMENTAL ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

       Describe in detail each and every instance in which you were a patient of Akoda,
including how you chose Akoda as your doctor, the date you were a patient, and the specific
nature of the treatments and examinations performed.

SUPPLEMENTAL ANSWER:

       Akoda was the on-call physician when Plaintiff presented at PGHC on May 25,

2016. Akoda delivered Plaintiff's son, Luka Romero Russell, on May 25, 2016.

       Plaintiff did not choose Akoda as her doctor. She was a patient of Moore &

Associates. Akoda did not provide prenatal care to Plaintiff.

INTERROGATORY NO. 2:

         Describe in detail the alleged injuries for which you are seeking to recover in this
litigation, including when you first became aware of those injuries, how you became aware of
those injuries, whether you have seen any health care provider for treatment of those alleged
injuries and if so, who and when, and each and every aspect of those injuries.

SUPPLEMENTAL ANSWER:

            Plaintiff has suffered severe and substantial emotional injuries as a result of the

negligence described in the Complaint. As a survivor of                                 Plaintiff

had made great progress with regard to issues of trust and with violations or

encroachments on her personal space, especially with regard to her body, previous to her

interactions with Akoda. However, upon learning that Akoda was not in fact a licensed

physician, her trust issues were exacerbated and came back in full force. These trust issues

have flowed over into Plaintiff's marriage, interfering with her intimacy with her husband


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as she finds it very difficult to engage in sexual relations with him. Plaintiff not only feels

violated by Akoda, but also feels she was sexually and physically abused by him. Akoda

performed vaginal examinations on Plaintiff during labor and performed Cesarean section

surgery on her to deliver her child. Before learning the truth about Akoda, Plaintiff had

worked hard to overcome her deep fear and distrust, and to develop and maintain

confidence and trust in her OB/GYN provider, Moore & Associates, believing that the

doctors working under the practice and that treated her were, at the very least, legitimately

credentialed, legally licensed, and possessed the proper education necessary in the practice

of medicine.   On June 19, 2017, Plaintiff was horrified and devastated to discover Akoda

was not a "real" doctor. She became obsessed with her search for understanding of how

Akoda received privileges at Prince George's Hospital to touch her, and to "cut into her."

Plaintiff's search for understanding of this situation has created in her a substantial

distrust of doctors and because of this distrust, she is now unable to seek medical

treatment. This lack of trust was amplified when Plaintiff discovered that Defendant

Dimensions never performed an appropriate background check on Akoda before allowing

him to perform surgeries in its hospital. Plaintiff's lack of trust is impeding her ability to

select any new health or mental care provider, and consequently, seeking medical and

mental health care for the emotional trauma she has suffered. She continues to cope daily

with her feelings of violation and harm as best she can, but has been emotionally

devastated by this situation. As discovery is ongoing, Plaintiff reserves the right to

supplement this Answer.


       Plaintiff has not seen any health care providersfor treatment of these injuries.

Plaintiff began experiencing these injuries when she learned in June 2017 that Akoda was not


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really a doctor. Plaintiff learnedfrom an online Moore & Associates website when she

searchedfor the name of the doctor who delivered her son that Akoda's photograph had been

removed. She then located the hospital paperwork showing Akoda's name and she then

searched the internet to see where he was practicing. Through this search Plaintifffound a

U.S. Justice Department press release detailing Akoda's criminal charges. Plaintiff is seeking

only non-economic damages.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your "obstetrician/gynecologist" on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,
including certification from ECFMG," including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

SUPPLEMENTAL ANSWER:

       Plaintiff would not have chosen anyone as her Ob/Gyn who was not a real physician.

Plaintiff naturally assumed Akoda was a real physician.

       Plaintiff is relying on her attorneysfor these allegations and Plaintiff has no personal

knowledge of them.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the
method of calculating each such element of damages or other relief, the amount of each element
of damages or other relief, and the time period for which you are seeking damages or other relief.

SUPPLEMENTAL ANSWER:

       Plaintiff adopts by reference her answer to interrogatory no. 2. The amount of these

damages is for the jury to determine. Plaintiff seeks damages for these injuries as

determined by the jury.

       Plaintiff is not making a claim for economic damages.


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INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys' fees, or other financial obligations associated with the
bringing of this lawsuit.

SUPPLEMENTAL ANSWER:

       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.

       Subject to and without waiving these objections, Plaintiff has a standard contingency

fee agreement with her attorneys, pursuant to which she pays no fees unless there is a

recovery and counsel advances expenses. There are no other financial arrangements. All

clients retained by the Law Offices of Peter G. Angelos, P.C., the Law Offices of David Ellin

and Z Law, LLC have signed the same retainer agreement.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

SUPPLEMENTAL ANSWER:

       Plaintiffs counsel represents numerous persons who are putative members of the

class. Counsel for Plaintiff has a list of persons who have been retained by Plaintiffs

counsel as members of the putative class. Plaintiffs counsel has sufficient information to

establish that these clients were seen or treated by Akoda. Plaintiffs counsel is also aware

that other attorneys in this case represent numerous persons who are putative members of

the class, but is not aware of their identities. Plaintiff believes that there are approximately

1,000 patients seen or treated by Akoda.



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       Attachment A is a list ofpersons represented jointly by the Law Office of Peter G.

Angelos, P.A., the Law Offices of David Ellin and Z Law, LLC.

INTERROGATORY NO. 15:

         Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this
litigation.

SUPPLEMENTAL ANSWER:

       Plaintiff objects to this interrogatory on the grounds that it is overly broad and

burdensome. As worded, this Interrogatory seeks information about Plaintiff's health care

that is unrelated to her treatment by Akoda. It is not limited in time or scope and seeks

information that is not relevant.

       Plaintiff is able at present to recall thefollowing medical history:

           •   For the past ten years, Plaintiff'sfamily doctor has been Mark Major, M.D.,

               1300 Spring Street, Silver Spring, MD 20910

           •   Shelly Williams, M.D., 8241 Georgia Avenue, Silver Spring, MD 20910 was

               Plaintiff'sfamily doctor before Dr. Major

           •   Shawn Howell, M.D., 2311 M Street NW, Washington DC was Plaintiff's

               cardiologist, who diagnosed her with vasovagal syncope. After the diagnosis,

               Plaintiff did not see Dr. Howell again until her pregnancy

           •   Danielle Waldrop, M.D., 7525 Greenway Center Drive, Suite 216, Greenbelt,

               MD 20770 was Plaintiff's Ob-Gyn during her pregnancy

           •   ATI Physical Therapy, 2900 Belcrest Center Drive, Suite 104-A, Hyattsville,

               MD 20782 (treatmentfor back pain)


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            • Silver Spring Medical Center, 11301 Amherst Avenue, Suite 102, Silver Spring,

               MD 20902 (physical therapy following motor vehicle accident).

              SUPPLEMENTAL RESPONSES TO DOCUMENT REQUESTS

                                        General Objections

       1.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

  to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

       2.      Plaintiff objects to each of Defendant's requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.

       3.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and

conveniently obtain from other sources.

       4.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

documents beyond Plaintiffs' possession, custody or control.

       5.      Plaintiff objects to each of Defendant's requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-

client privilege, the attorney work product doctrine, or similar privileges or protections from

discovery shall not constitute a waiver of any such privileges or protections.

       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only

after the execution of a suitable confidentiality agreement between the parties.



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        7.     Because Defendant's requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify

the specific requests to which documents respond.

        8.     These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter

thereof, on any ground in any further proceedings in this action; and (iii) the right, at any time,

to revise, correct, supplement or clarify any of these responses.

        9.     Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from

these responses as a result of mistake, error, oversight or inadvertence.

        10.    These responses and any further responses or documents produced pursuant

thereto are made without any acknowledgment or concession that the documents requested are

relevant to the subject matter of this action.

        11.    The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff's stated willingness to

produce certain classes of documents should in no way be construed as an affilmative

acknowledgment that such documents either exist or are in the possession, custody or control of

Plaintiff.

        12.    The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiff's specific requests set forth below, and to each and



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every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.

REQUEST NO. 7:

       All documents relating to Putative Class Members.

SUPPLEMENTAL RESPONSE:

       Objection. This request is ambiguous, overbroad and seeks documents which are

not proportionate to the needs of this case. If Defendant will clarify it, Plaintiff will

attempt to respond.

       Plaintiff is producing a list of all persons represented by the law firms identified in

answer to Interrogatory No. 12.

REQUEST NO. 30:

        All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

SUPPLEMENTAL RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to

any documents that may be responsive to this request. This request also appears to be

duplicative of other requests to which, subject to the above stated objection, Plaintiff has

responded that, if she has any such documents, they will be produced.

       Subject to and without waiving these objections, to the extent any such documents

exist, they will or have been produced.

REQUEST NO. 34:




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       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.

SUPPLEMENTAL RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce any documents other than the documents showing the time she may have missed

from work for a brief period of time after her surgery.

       Subject to and without waiving these objections, Plaintiff is not making any claim for

economic damages and therefore the requested documents are not relevant.

REQUEST NO. 35:

       All medical records, pharmacy records, doctor's notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.

SUPPLEMENTAL RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it is overly broad and burdensome in

that it is not limited in time or scope and that it seeks information that is not relevant to

any claim or defense in this action.

       Subject to and without waiving these objections, Plaintiff has never sought nor

received treatment for any mental health diagnosis, illness of injury. Plaintiff's medical

records relating to the history set out in response to interrogatory no. 15 are not relevant.

REQUEST NO. 36:

      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

SUPPLEMENTAL RESPONSE:

       The requested documents will be produced.



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       Plaintiff has not sought nor received medical treatmentfor the injuries she is claiming

in this litigation. Plaintiff has no bills or expense documentation.

REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your
behalf by any insurance carrier or health plan for examination and treatment of alleged injuries.

SUPPLEMENTAL RESPONSE:

       The requested documents will be produced.

       Plaintiff has not sought nor received medical treatmentfor the injuries she is claiming

in this litigation. Plaintiff has no bills or expense documentation.

REQUEST NO. 41:

        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

SUPPLEMENTAL RESPONSE:

       Objection. Plaintiff has not obtained any statements. Upon advice of counsel,

Plaintiff objects to this request insofar as it seeks statements obtained by her attorneys and

declines to produce the requested documents on the grounds that they are protected from

discovery by the work-product doctrine.

       Subject to and without waiving these objections, Plaintiff has not made any sworn

statements in the Akoda litigation.

REQUEST NO. 42:

        All documents and communications relating to any arrangements that you have made
with your attorneys or others relating to payment of the costs, attorneys' fees, or other financial
obligations associated with the bringing of this lawsuit.

SUPPLEMENTAL RESPONSE:




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       Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on

the grounds that it requests documents which are not relevant to any claim or defense in

this action.

       Subject to and without waiving these objections, see Supplemental Answer to

Interrogatory No. 11.

REQUEST NO. 43:

       All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)
providing any funding of any attorneys' fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your
attorneys, either directly or indirectly; or (c) have a financial interest or right to receive
compensation that is contingent on the outcome of this lawsuit by settlement, judgment, or
otherwise; or (d) are receiving any form of compensation or remuneration for providing any
information, services, or assistance concerning this lawsuit.

SUPPLEMENTAL RESPONSE:

       Plaintiff adopts by reference her response to Request No. 42.

       There are no financial arrangements with anyone other than Plaintiff's attorneys.

REQUEST NO. 44:

        All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating
each such element of damages or other relief, and the amount of each element of damages or
other relief

SUPPLEMENTAL RESPONSE:

       The requested documents will be produced.

       Plaintiff is seeking only non-economic damages; there are no documents responsive to

this request.




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                                  CONRAD & O'BRIEN, P.C.


                                   /s/ Nicholas M Centrella
                                  Nicholas M. Centrella, Esquire (ID No. 67666)
                                  ncentrella@conradobrien.com
                                  Howard M. Klein, Esquire (ID No. 33632)
                                  Benjamin 0. Present, Esquire (ID No. 322682)
                                  1500 Market Street
                                  Centre Square, West Tower, Suite 3900
                                  Philadelphia, PA 19102-2100
                                  Telephone: (215) 864-9600
                                  Fax: (215) 864-9620


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                                  Danielle S. Dinsmore (Pro Hac Vice Forthcoming)
                                  ddinsmore@lawpga.com
                                  Paul M. Vettori (Pro Hac Vice Forthcoming)
                                  pvettori@lawpga.com
                                  One Charles Center
                                  100 North Charles Street
                                  Baltimore, MD 21201
                                  Telephone: (410) 649-2000
                                  Fax: (410) 649-2150
                                  Attorneysfor Plaintiff, Monique Russell

Dated: June     , 2019




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                                                                              JA3299
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                                       VERIFICATION

           I, Monique Russell, hereby aver that the factual statements in the foregoing

Supplemental Answers to Interrogatories are true and correct to the best of my knowledge,

information and belief, and that these Answers are made subject to the penalties relating to

unswom falsification to authorities.




                                             MonglueRldgell



Dated: June cl     , 2019




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below I caused a true and correct copy of the

foregoing Supplemental Answers to Interrogatories and Document Requests to be served on the

following via electronic mail:

                                       Brian W. Shaffer
                                       Elisa P. McEnroe
                                     Matthew D. Klayman
                             MORGAN, LEWIS & BOCKUS, LLP
                                      1701 Market Street
                                Philadelphia, PA 19103-2921
                               brian.shaffer@morganlewis.com
                              elisa.mcenroe@morganlewis.com
                             matthew.klayman@morganlewis.com




                                                             Is/ Nicholas M Centrella
                                                             Nicholas M. Centrella


June       , 2019




                                                15



                                                                                              JA3301
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    ATTACHMENT A TO SUPPLEMENTAL DISCOVERY RESPONSES




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NAME                                  D/O/B


Abudu, Yemis
Adams, Jonae
Adebayo, Atinuke 0.
Adebayo, Titilope
Adekanbi, Comfort
Adeoye, Aebola
Adesalu, Folasade
Adigwe, Susan
Akinwekomi, Taiwo
Akosile, Abosede
Alleyne, Dionne
Anderson, Fatama
Andrews, Ivona
Arrey, Gennette Nker
Ashton, Jennifer
Atemnkeng, Precilia
Ayodele, Olushola
Ayoola, Abeni
Azienwi, Marie Takem
Bailey, Lameche
Barnes, Whitney
Barney, (Burc) Kededra
Bell, Jimekiah
Bendu, Makala
Benford, (Walder) Tiffany
Benjamin, Daneylle
BienAime, Lise
Bonaparte, Karen
Bowden, Natasha
Braima, Memunatu
Braxton, Jovan
Briscoe, Myeshia
Broomes, To Asia
Brown, Brittney
Brown, Christine
Brown, Sharon
Brown, Shaunelle




                                                                           JA3303
       Case:2:18-cv-05629-JDW
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NAME                                  D/O/B

Brown, Tiffany
Bryant, Ladorsha
Burris, Donika
Burris, Rainelle
Butler, Renee
Byrd, Sekeithia
Caldwell, Amisha
Calix, Karina
Coleman, Rashena
Coley, Takia
Collins, Jayde
Cosby, Taylor
Craig, Candace
Derricott, Tiara
Donnell, Tyche
Davis, Renita
Daniels, Brittany
Davis, Amoni
Davis, Ashle
Davis, Stefanie
Deville, Ashley
Deville, Ebony
Deville, Tiffany
Diamond, Ashley
Dinga, Andin
Dunham, Deneise
Eley, Marra
Faison, Markinda
Felder, Andrea
Felix, Altagracia
Ferguson, Damisha
Ferguson, Zenea
Fornah, Fatu
Franklin, Alexis
Franklin, Khenae
Fungafat, Tandika
Garcia, Yancia



                                                                           JA3304
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NAME                                  D/O/B

Gaskins, Richana
Gibbs, Gabrielle
Gines, Jasmine
Ginyard, Angela
Goldston, Shadona
Gonzales, Hazzmin
Green, Crystal
Grier, Gethsamane
Hall, Asia
Hall, Monica
Hansberry, Yvette
Harley, Ashley
Harper, Aqueba
Harper, Deshonta
Harris, Dayshelle
Harris, Kimberly
Harrison, Charnika
Hearst, Lashell
Henry, Lazett
Henry, Shaquella
Herron, Angela
Holder, Kimberly
Hudson, Chanell
Ifekoya, Adeola
Jackson, Danielle
Jalloh, Ramatulie
Jawla, Dalla
Jenkins-Williams, Tris
Jimason, Tasha
Jobe, Princess
Johnson, Alonda
Johnson, Deidra
Johnson, Jasmine
Johnson, Keisha
Jones, Carol
Jones, Jasmine
Jordan-Worthy, Krytiseya




                                                                           JA3305
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NAME                                  D/O/B

Judd, Yvonnda
Kaffo, Urowoli (Lucy)
Kamara, Etta
Kamara, Isatu
Kanu, Fatmata
King, Leia
Knox-Stokes, Ashanta
Koroma, Bridgetta
Koroma, Margaret
Kosh, Chatinayne
Kosh, Nia
Kwi, Courage
Langford, Deja
Leslie, Hazel
Lewis, Dawnesheia
Lindsay, Chelsey
Little, Ciera
Lofland, Zymira
Lovell, Erica
Madubuatta, Miriam Ada
Martin, Crystal
Mathis, Markquonda
Maynard, LaChey
Mayo, Tamia
McAllister, Tara
McGee, Lakenyatta
McKnight, Denia
McLaughlin, Ann Marie
Metts, Torquesa
Moorman, Shanita
Morgan, Patricia
Nickens, Klea
Nadav, Mattu
Nguti, Mirabel
Nkeng, Sylvia
Oakes, Ashley
Olukoga, Emily



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NAME                                   D/O/B

Oni, Abimbola
Palmer, Brittany
Parker, Jazzman
Parker, Sylvia
Pitts, Ashley
Platt, Endia
Powell, Tina
Proctor, Latika
Proctor, Shabray
Proctor, Shamika
Randall, Amina
Ray-Gie, Trayeshia
Reed, Brishona
Reeves, Chimere
Reid, Patricia
Riggins, Jasmine
Robbins, Lashawnda
Robinson, Clara
Ross, Dinah
Rush, Shartae
Russell, Monique
Sambola, Arku
Samuel, Titilayo
Savoy, Keyona
Savoy, Sheika
Sawyer, Racquetta
Sawyer, Ursula
Scarbourough, Micaela
Seegars, Toniesha
Sesay, Finda
Shobowale, Oritoke
Simpkins, Leslei
Simpson, Felicia
Smith, Jalisa M.
Smith, Iris Samone
Smith, Tammy
Snowden, Caprice




                                                                           JA3307
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NAME                                   D/O/B

Snowden, Imani
Sorrell, Tiara
Spencer, Cassandra
Spencer, Faatimah
Spencer, Nafiysha
Spriggs, Tiara
Stagg, Shanika
Stallings, Lynette
Stallings, Christina
Stocks, Artavia
Streater, Roneka
Sykes, Tyiesha
Taylor, Chauntice
Taylor, Latiffany
Thomas, Tanja
Thomas, Victoria
Thomas-Walker, Carla
Thornton, Lisa
Tilghman, Chantell
Tilghman, Chernell
Tilghman, Faith
Toure-Davis, Nathalie
Tyler, Alexa
Valentine, Diamisha
Van-Overbeek, April Cain
Veney, Lauren
Wade, Britnee
Wade, Kayla
Walker, Alicea
Wallace, Shelly
Walton, Aisha
Ward, Iesha
Watts, Ericka
White, Shavonda
Whitley, Alexis Joanne
Williams, Alexis
Williams, Apryl Monet



                                                                           JA3308
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NAME                                   D/O/B

Williams, Candice
Williams, Lynette
Williams, Michelle
Williamson, Keyinoshia
Wilson, Breanna
Woodfolk, (nee Torri)




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                Exhibit 48




                                                                  JA3310
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      Case  22-1998   Document:Document
       Case2:18-cv-05629-JDW
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                                                                                                                 ABO•IG
                                                                                                                  Larry
                                                                                                                  Lany C Glistrap,
                                                                                                                            GlIslrap. Ill,
                                                                                                                                       III. M.D.
                                                                                                                                            M.D.
                                                                                                                           Executive
                                                                                                                           Executive Director
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                                                                                               American Board
                                                                                               American Board of
                                                                                                              of Obstetrics
                                                                                                                 Obstetrics and
                                                                                                                             and Gynecology
                                                                                                                                  Gynecology
                                                                                                                            2915
                                                                                                                            2915 Vine
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        31. 2014
January 31,
January     2014                                                                                                           Dallas.
                                                                                                                           Dallas. TX 75204
                                                                                                                                          75204
                                                                                                                    Phone:
                                                                                                                    Phone: (214)
                                                                                                                              (214) 871-1819
                                                                                                                                     871-1619
                                                                                                                       Fax;
                                                                                                                        Fax: (214)
                                                                                                                              (214) 871-1943
                                                                                                                                     871-1943
John~Charles Akoda,
John-Charles Akoda, M.D.

MEM
Dear Dr. Akoda,
         Akoda,

Congratulations! In
Congratulations!     recognition of your
                  In recognition         fulfillment of all requirements,
                                    your fulfillment                        you are now a
                                                            requirements, you
                  American Board
Diplomate of The American
Diplomats                               Obstetrics and Gynecology,
                             Board of Obstetrics        Gynecology, Inc.     Your certification
                                                                       Inc. Your  certification is
effective January
effective January 31, 2014 through
                  31,2014            December 31,
                            through December          2014. Your
                                                  31,2014.    Your certificate
                                                                   certificate must
                                                                               must be renewed
                                                                                          renewed
             completion of all the assignments
annually by completion
annually                           assignments in the ABOG
                                                        ABOG Maintenance
                                                                Maintenance of Certification
                                                                                  Certification
(MOC) process.
(MOC)   process.

        carefully review
Please carefully            the spelling
                   review the   spelling of your  name on thiS
                                             your name      this letter as that
                                                                            that name
                                                                                 name will
                                                                                        will be printed on
    certificate you will receive.
the certificate                     If there
                          receive. If  there is a correction,
                                                  correction, please notify
                                                                       notify our office
                                                                                  office no later
                                                                                              later than
February 14,
February    14, 2014.
                2014. If                  heard from the printer regarding
                       If you have not heard                       regarding your   diploma by April
                                                                               your diploma        April 30,
2014,
2014, please    contact the Board office.
      please contact                 office.

You may apply for the 2014
                        2014 MOC     process at www.abog.org.
                              MOe process        www.abog.org. There
                                                                There is no fee for MOC
                                                                                    MOe for the
      year. However,
first year.                             ACOG fellow or junior
            However, if you are not an ACOG             junior fellow,
                                                               fellow, you
                                                                       you must
                                                                           must pay
                                                                                 pay for the
category IICME
category        credit, as that is a benefit
            CME credit,                         ACOG membership.
                                     benefit of ACOG  membership.

                 maintain an active
We hope you will maintain
We                                  interest in the specialty,
                             active interest        specialty. and you will
                                                                       will continue
                                                                            continue to improve
            women.
the care of women.

Best Wishes,
Best Wishes,




i:~~:D.
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     04419if OP

     Gilstrap, Ill M.D.
Executive Director
Executive Director


LG

ABOG
ABOG ID:
     10: 9025829
         9025829




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                                    founding member
                                  A founding member of The American
                                                    of The  American Board
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                                                                                Medical Specialties
                                                                                        Specialties
                                                          vntAv.abog.org
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                Exhibit 49




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   Case: 22-1998 Document:Document
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                                                                 2 of 3




                                    ABO+G
                                    American Boud of Obecetrica +Gynecology
                                    First in Women's Health!'



August 30, 2017



CERTIFIED RETURN RECEIPT REQUESTED

John-Charles Akoda, MD



Dear Dr. Akoda:

The American Board of Obstetrics and Gynecology (ABOG) was recently made aware through a
Disciplinary Action Notification System (DANS) report that the Maryland State Board of
Physicians took adverse action on your license on July 10, 2017. Your Maryland medical license
was revoked In a Final Decision and Order for the following:

    1. You pled guilty to a crime involving moral turpitude on November 15, 2016.

    2. You were convicted of social security number fraud, a felony, in violation of 42 U.S.C.
       408(a)(7)(B) In the United States District Court for the District of Maryland.

    3. You were sentenced to six months incarceration, three years of supervised release, home
       detention for six months, and an assessment of $100.00.

The ad hoc committee of the Credentials Committee has reviewed the above information and
determined that you do not meet the terms of the requirements to maintain certification by, the
ABOG. The committee voted unanimously that you have violated the moral and ethical standards
of the practice of medicine accepted by organized medicine because your license was revoked
and you were convicted of a felony. Your ABOG certificate.expired December 31, 2016. The
committee has determined that you currently are ineligible to participate in the ABOG Re-entry
exam/ MOC Process.

Disqualification or Diplomate revocation may occur whenever the physician's license has had
his/her license revoked. Disqualification or Diplomate revocation may also occur whenever the
physician has been convicted of a felony or has pled guilty to a felony. The ABOG policies require
Diplomates to have an unrestricted license to practice in all states in which they are
licensed. This information is under the Policies section at
httos://www.aboR.orRinewin oolicies_asux?tItle=revocatIon



  2915 Vine Street, Dallas, Texas 75204 I P: 214.871.1619 I F: 214.871.1943 I E; Info@abOg.Org I W: ABOG.org




                                           .6513/0573,4                                            JA3313
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The ad hoc committee also voted to refer your case to the Credentials Committee for
consideration of revocation of certification. The Credentials Committee will review your case for
possible revocation of your certification at the next Board of Directors meeting in January 2018.
You may submit any additional information that you think may aid the Credentials Committee in
consideration of the revocation of your certification. Please submit any information to me in
writing or by email, and we will see that the committee has the information to consider at the
meeting.

Please feel free to contact us if you have any further questions.

Sincerely,


                             fv.vv.--t.i k3
Susan M. Ramin, M.D.
Associate Executive Director
Maintenance of Certification
American Board of Obstetrics and Gynecology
2915 Vine Street
Dallas, TX 75204
Phone: (214) 721-7510
Fax: (214) 871-1943


ABOG Diplomate # 9025829
SMR/kw




 2915 Vine Street, Dallas, Texas 75204 I P: 214.871.1619 I F: 214.871.1943 I E: Info@abog.org f W: ABOG.org




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Case 2:18-cv-05629-JDW  22-5 Page:  1425
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                Exhibit 50




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                       Case: 22-1998 Document:Document
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                                                       86-14  Filed Date Filed:Page
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                                                                                     2 of 4
   Message
   From:              Corrado, Kara [/O=ECFMG/OU=PHILADELPHIA/CN=RECIPIENTS/CN=KOLEYN]
   Sent:              3/18/2016 8:20:18 AM
   To:                Cover, Lisa [/O=ECFMG/OU=EXCHANGE ADMINISTRATIVE GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=Cover,
                      Lisa5df]; Paolini, Suzann [/0=ECFMG/OU=Philadelphia/cn=Recipients/cn=SPaolini]
   CC:                Mizak, Roman [/O=ECFMG/OU=Philadelphia/cn=Recipients/cn=RMizak]
   Subject:           RE: Prince George's County Police Department-Federal investigation


   Hi all,

   Igbarse is a name that familiar to me — he was a creds committee case from about 15 years ago. I'll follow up with Virginia
   to see if there is additional background to help with context.

   Kara


   Ms. Kara Corrado, J.D.
   Director, Credentials Services
   ECFMG
   3624 Market Street
   Philadelphia, PA 19104
   United States of America

   TEL: 001.215.823.2273
   FAX: 001.215.386.9767
   EMAIL: kcorradopecfmq.org

   From: Cover, Lisa
   Sent: Thursday, March 17, 2016 6:14 PM
   To: Paolini, Suzann; Corrado, Kara
   Cc: Mizak, Roman
   Subject: Re: Prince George's County Police Department-Federal investigation

   Great, let's connect w Kara in the am.

   Sent from my iPhone

   On Mar 17, 2016, at 5:33 PM, Paolini, Suzann <SPaolini@ECFMG.org> wrote:

              Lisa,

              No, he didn't elaborate on documentation previously received. I recorded the call, and he was pretty
              specific about next steps, so we can listen to the call tomorrow.

              This is a complex case and it appears that Dr. Charles is well known to the Credentials Committee. We
              have three recorded instances for which there has been allegation that Dr. Charles provided a false
              response to item 1 on an application for the USMLE and applied to take a Step that he had already
              passed. Our records also indicate that he received two ECFMG certificates, obviously obtained by
              falsifying information on subsequent applications.

              In addition Naima, who took the initial call from Detective Evan, was able to locate an additional
              Identification number under the name Oluwafemi Charles Igberase, 0-482-700-2, and has request for this
              file. Once we have the additional file we'll be in a better position to deteimine what the authorities might
              be looking for.

              I'll be in all day tomorrow so just let me know when you'd like to discuss this case.


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Confidential                                                                                                ECFMG_RUSS_0003414
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           Have a good evening!
           Suzann




           From: Cover, Lisa
           Sent: Thursday, March 17, 2016 1:34 PM
           To: Paolini, Suzann
           Subject: RE: Prince George's County Police Department-Federal investigation

               Did he receive the information that we sent: to the gency in 2014? Did he say what more he wants
               from us?




           From: Paolini, Suzann
           Sent: Thursday, March 17, 2016 1:32 PM
           To: Cover, Lisa
           Subject: FW: Prince George's County Police Department-Federal investigation

               Lisa,

           Here is the request from Detective Evans. He indicated that his preference would be to come to the office
           to discuss this case and have the ability to conference in the Maryland AG's office.

           Applicant details:
           USMLE ID # 05532585
           Certified 8/18/97
           Medical school - University of Benin School of Medicine, NIGERIA
           Citizenship — Nigerian
           Exams for certification:
           Step 2 CK — 8/28/96 (P)
           English - 8/28/96 (P)
           Step 1    - 6/11/97 (P)

           Address as of 5/30/2011
           3013 Kasar Ct
           Waldorf MD 20603

               Suzann

           From: Evans, Kenneth P. [mailto:KPEvans@co.pd.md.us]
           Sent: Thursday, March 17, 2016 12:58 PM
           To: Paolini, Suzann
           Subject: Prince George's County Police Department-Federal investigation


               Dear Susan,

           Attached are the copies of the Federal Subpoena and response from your Custodian of Records. Please
           get back to me when you can, either by phone or email is fine. Again, thank you for calling back so
           quickly today in this matter.




                                                                                                           JA3317
Confidential                                                                                          ECFMG_RUSS_0003415
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           <irnageOOLpng>
           Detective Evans #2434
           Prince George's County Police Department
           Criminal Investigation Division
           Sexual Assault Unit
           301-7724908 main
           3U-7724273 direct




               This Email has been scanned for all viruses Scanning Services, utilizing A proprietary SkyScan
               infrastructure.




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Confidential                                                                                      ECFMG_RUSS_0003416
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                Exhibit 51




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                       Case:
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       Message
       From:          Corrado, Kara [/O=ECFMG/OU=PHILADELPHIA/CN=RECIPIENTS/CN=KOLEYN]
       Sent:          11/29/2016 11:30:07 AM
       To:            Cover, Lisa [/O=ECFMG/OU=EXCHANGE ADMINISTRATIVE GROUP (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=Cover,
                      Lisa5df]
       Subject:       RE: Google Alert - "educational commission for foreign medical graduates"


       Will do.


       Ms. Kara Corrado, J.D.
       Assistant Vice President for Operations
       ECFMG
       3624 Market Street
       Philadelphia, PA 19104
       United States of America

       TEL: 001.215.823.2273
       FAX: 001.215.386.9767
       EMAIL: kcorrado@ecfmq.org

       From: Cover, Lisa
       Sent: Tuesday, November 29, 2016 11:29 AM
       To: Corrado, Kara
       Subject: RE: Google Alert - "educational commission for foreign medical graduates"

                                   Privileged
 L._
       Lisa

       From: Corrado, Kara
       Sent: Tuesday, November 29, 2016 11:14 AM
       To: Cover, Lisa
       Subject: RE: Google Alert - "educational commission for foreign medical graduates"

       Lisa — please review! 5                                       Privileged




                                                            Privileged




       Ms, Kara Corrado, J.C .
       Assistant Vice President for Operations
       ECFMG

                                                                                                        JA3320
Confidential                                                                                        ECFMG_RUSS_0007347
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                                                                                      5
   3624 Market Street
   Philadelphia, PA 19104
   United States of America

   TEL: 001.215.823.2273
   FAX: 001.215.386.9767
   EMAIL: kcorradonecfmg.org

   From: Amy Buono [mailto:ABuonoPNBME.org]
   Sent: Wednesday, November 23, 2016 12:09 PM
   To: Corrado, Kara; Cover, Lisa
   Cc: Shelley Green; Suzanne Williams; Katie DiMartino; Lola Greenwalt; Trish Weaver; Dave Johnson; Gerry Dillon
   Subject: RE: Google Alert - "educational commission for foreign medical graduates"

   Hi Kara,

   Glad to know you are already aware of the case. Can you provide an update as to the work you've done so
   far with the US Attorney's Office?

   Thanks again and Happy Thanksgiving!

   Amy

   From: Corrado, Kara [mailto:KCorradoQecfmg.org]
   Sent: Wednesday, November 23, 2016 11:31 AM
   To: Amy Buono; Cover, Lisa
   Cc: Shelley Green; Suzanne Williams; Katie DiMartino; Lola Greenwalt; Trish Weaver; Dave Johnson; Gerry Dillon
   Subject: RE: Google Alert - "educational commission for foreign medical graduates"

   Hi Amy,

   We have been involved with this case and worked closely with the US Attorney's Office in Maryland on it. At Maryla€nd's
   request, we did not move forward in our irregular behavior process until Maryland had completed its investigation. We are
   now moving forward with our process. As soon as we complete our, irregular behavior, process, we will certainly provide
   you with an update.

   Have a happy thanksgiving!

   Kara

   Ms. Kara Corrado, J.L .
   Assistant Vice President for Operations
   ECFMG
   3624 Market Street
   Philadelphia, PA 19104
   United States of America

   TEL: 001.215.823.2273
   FAX: 001.215.386.9767
   EMAIL: kcorradonecfmg.org

   From: Amy Buono [mailto:ABuono(aNBME.orq]
   Sent: Wednesday, November 23, 2016 10:37 AM
   To: Corrado, Kara; Cover, Lisa
   Cc: Shelley Green; Suzanne Williams; Katie DiMartino; Lola Greenwalt; Trish Weaver; Dave Johnson; Gerry Dillon
   Subject: FW: Google Alert - "educational commission for foreign medical graduates"


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Confidential                                                                                          ECFMG_RUSS_0007348
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   Good morning Kara and Lisa,

   Hope you are well and taking some time off for the holiday.

   I'm passing along the below notice from the US Attorney's Office in Maryland re: an individual who sat for
   USMLE under different aliases and allegedly obtained multiple fraudulent ECFMG Certifications. After
   you have conducted an investigation, please let me know your findings.

   The aliases we've identified in USMLE records are:

   Oluwafemi Charles Igberase, USMLE ID 0-482-700-2 (There is Irregular Behavior listed under this
   identity.)

   John Nosa Akoda, USMLE ID 0-553-258-5

   -Amy

   From: Shelley Green
   Sent: Tuesday, November 22, 2016 3:34 PM
   To: Gerry Dillon; 'David Johnson (FSMB)'; Amy Buono; Mary Beth St. John; Suzanne Williams
   Cc: Trish Weaver
   Subject: FW: Google Alert - "educational commission for foreign medical graduates"

   I thought you would be interested in the information below concerning prosecution of an individual who obtained
   fraudulent ECFMG certifications in the 1990s and a medical license in 2011. We are looking into his interactions with
   USMLE.

   https://www.justice.gov/usao-md/pribowie-man-pleads-guilty-misusing-social-security-number-fraudulently-obtain-
   medical




       Bowie Man Pleads Guilty to Faking Medical License
       Pat:Acorn
       Between 1992 and 1998, Igberase obtained three certifications from the Educational Commission for Foreign Medical
       Graduates under different .

           ri

                                                 See more results Edit this alert




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Confidential                                                                                               ECFMG_RUSS_0007349
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   aml are for the sole use                                                        use,
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                Exhibit 52




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                                        EDUCATIONAL COMMISSION FOR                               3624 Market Street
       ECF G                            FOREIGN MEDICAL GRADUATES                                Philadelphia PA 19104-2685 USA
                                                                                                 215-386-5900 215-386-9767 Fax
                                                                                                 www.ecfmg.org

      Date: March 1, 2017

       To:     American Medical Association                                  Health Professions Council of South Africa
               Australian Health Practitioner Regulation Agency              Medical and Dental Council of Nigeria
               Australian Medical Council                                    Medical and Dental Practitioners Council of Zimbabwe
               Australian State and Territory Medical Boards                 Medical Council of Canada
               Bahamas Medical Council                                       Medical Council of Ireland
               Canadian Provincial Medical Licensing Boards                  Medical Council of New Zealand
               Danish Patient Safety Authority                               National Board of Medical Examiners
               Dubai Health Authority                                        National Resident Matching Program
               Dutch Individual Healthcare Professions Register              Norwegian Directorate of Health
               Electronic Residency Application Service, AAMC                Other Medical Regulatory Authorities
               Federation of Medical Regulatory Authorities of Canada        Seychelles Medical and Dental Council
               Federation of State Medical Boards of the United States       Uganda Medical and Dental Practitioners Council
               General Medical Council of the United Kingdom                 U.S. Graduate Medical Education Staff
                                                                             U.S. State Medical Licensing Authorities
                                                 fi
      From: Lisa L. Cover, MHA
            Senior Vice President for Business Development & Operations

      Subject: Notice #101 — Irregular Behavior Cases and Associated Actions & Sanctions

       The Educational Commission for Foreign Medical Graduates (ECFMG®) of the United States works on behalf of
       domestic and international medical regulatory authorities to protect the public through its programs and services,
       including primary-source verification of physician credentials. ECFMG considers all actions or attempted actions
       taken to subvert its processes, programs or services to be irregular behavior. The Medical Education Credentials
       Committee of the ECFMG Board of Trustees reviews allegations of irregular behavior and makes determinations
       about them in accordance with its policies and procedures. The following are actions and sanctions issued by the
       Medical Education Credentials Committee.

       We hope that you find this information helpful as you work to protect the public. If you have any questions, please
       do not hesitate to contact me at Icovernecfmg.org or 001-215-823-2107.

      Date of       Name &           Determination
      Action        Identification #
      INDIVIDUALS'FOUND TO HAVE ENGAGED IN IRREGULAR BEHAVIOR 111111111111111111111111112_ _




                                               Concerns Other Applicants




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                                    Concerns Other Applicants




      IPPIVP1Mk.YIITH PiAA19f.IN SANCTION




                                    Concerns Other Applicants




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      ECFMG Actions,
      Notification #101
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       UPDATE OW INDIVIDUAL,SANCTIONED BY ECFMG111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111111
       November 30, AKODA, JOHN      Description
       2016         NOSA             • As part of an October 2016 plea agreement with the United States,
                                       applicant admitted to previously providing a falsified passport to
                    ECFMG/USMLE        ECFMG which he used to obtain ECFMG Certification under the alias
                    0-553-258-5        John Nosa Akoda.

                             Also Known As:                 Actions Taken & Sanctions
                             IGBERASE,                      • Permanent revocation of Standard ECFMG Certificate.
                             OLUWAFEMI                      • Permanent annotation included on reports sent by ECFMG.
                             CHARLES*

                             ECFMG/USMLE
                             0-482-700-2

                             Also Known As:
                             OLUWAFEMI,
                             CHARLES
                             IGBERASE*

                             ECFMG/USMLE
                             0-519-573-0

                             *Standard ECFMG
                             Certificate had
                             previously been
                             permanently
                             revoked by
                             ECFMG.




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Confidential                                                                                                                         ECFMG_RUSS_0006450
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                Exhibit 53
                            REDACTED




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                                Desire Evans

 1                  IN THE UNITED STATES DISTRICT COURT

 2               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 3

 4    ---------------------------------x

 5    MONIQUE RUSSELL, JASMINE RIGGINS,                Civil Action No.

 6    ELSA M. POWELL, and DESIRE EVANS,                18-5629

 7              Plaintiffs,                            Honorable

                                                       Joshua D. Wolson

 8    v.

 9    EDUCATIONAL COMMISSION FOR FOREIGN

10    MEDICAL GRADUATES,

11              Defendant.

12    ---------------------------------x

13

14

15                VIDEOTAPED DEPOSITION OF DESIRE EVANS

16                               Washington, D.C.

17                        Thursday, September 5, 2019

18

19

20

21

22

23                        GOLKOW LITIGATION SERVICES

24                      T 877.370.3377 | F 917.591.5672

25                               deps@golkow.com

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                                                             Page 2                                                    Page 4
 1                                                                     1   A P P E A R A N C E S (continued):
 2                                                                     2
 3                                                                     3   On Behalf of Defendant EDUCATIONAL COMMISSION FOR
 4                                                                     4   FOREIGN MEDICAL GRADUATES:
 5             Thursday, September 5, 2019                             5        Morgan, Lewis & Bockius, LLP
 6                   10:32 a.m.                                        6        1701 Market Street
 7                                                                     7        Philadelphia, Pennsylvania 19103
 8                                                                     8        (215) 963-5609
 9                                                                     9        By: Elisa P. McEnroe, Esq.
10                                                                    10        By: Matthew D. Klayman, Esq.
11            The following is the transcript of the                  11
12    videotaped deposition of DESIRE EVANS held at the               12
13    offices of Morgan, Lewis & Bockius, LLP, 1111                   13
14    Pennsylvania Avenue, NW, Washington, DC 20004.                  14
15                                                                    15
16                                                                    16
17                                                                    17
18                                                                    18
19    Reported by: Linda S. Kinkade, RDR CRR RMR RPR CSR              19
20    Registered Diplomate Reporter, Nationally Certified             20
21    Realtime Reporter, Registered Professional Reporter             21
22    with Merit Distinction, Certified Shorthand Reporter            22   Also present:
23    (CA), Notary Public, within and for the District of             23      Crystal Strawbridge, Videographer
24    Columbia, and official duly authorized to administer            24
25    oaths and/or affirmations.                                      25

                                                             Page 3                                                    Page 5
 1    A P P E A R A N C E S:                                           1              INDEX OF EXAMINATION
 2                                                                     2
 3                                                                     3   EXAMINATION OF DESIRE EVANS                 PAGE
 4    On Behalf of Plaintiffs MONIQUE RUSSELL, JASMINE 4                      BY MS. MCENROE           8
 5    RIGGINS, ELSA M. POWELL, and DESIRE EVANS:        5                     BY MR. CERYES          181
 6        Schochor, Federico and Staton, P.A.           6
 7        1211 St. Paul Street                          7
 8        Baltimore, Maryland 21202                     8
 9        (410) 234-1000                                9
10        By: Brent Ceryes, Esq.                       10
11                                                                    11
12                                                                    12
13    -and-                                                           13
14                                                                    14
15            Law Offices of Peter G. Angelos                         15
16            One Charles Center                                      16
17            100 N. Charles Street                                   17
18            Baltimore, Maryland 21201                               18
19            (410) 649-2000                                          19
20            By: Paul M. Vettori, Esq.                               20
21                                                                    21
22                                                                    22
23                                                                    23
24                                                                    24
25                                                                    25


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 1               EXHIBITS                                      1                DESIRE EVANS,
 2                                                             2          having been first duly sworn and/or affirmed
 3   NO.         DESCRIPTION                    PAGE    3          on their oath, was thereafter examined and testified
 4   Exhibit 1 Amended Notice of Deposition of ... 60 4            as follows:
 5            Plaintiff Desire Evans                    5                         EXAMINATION
 6   Exhibit 2 History and Physical Examination .. 100 6           BY MS. MCENROE:
 7            re Desire Evans                           7               Q. Good morning, Ms. Evans.
 8   Exhibit 3 Medical Records re Desire Evans ... 108 8                A. Good morning.
 9            Smith 000001 - Smith 000023               9               Q. My name is Elisa McEnroe, counsel for the
10   Exhibit 4 Civil Action re Russell, et al. ... 148 10          Educational Commission for Foreign Medical Graduates.
11            v. ECFMG                                 11          We met briefly this morning for the first time; is
12                                                            12   that correct?
13                                                            13        A. Yes, ma'am.
14                                                            14        Q. Could you please state and spell your name
15                                                            15   for the record?
16                                                            16        A. Desire, D-E-S-I-R-E, Evans, E-V-A-N-S.
17                                                            17        Q. Great. And your birthday is
18                                                                        is that correct?
19                                                            19        A. Yes, ma'am.
20                                                            20        Q. That makes you       years old?
21                                                            21        A. Yes.
22                                                            22        Q. Thank you.
23                                                            23        A. Tell everybody.
24                                                            24        Q. We'll mark parts of the deposition
25                                                            25   confidential as needed.

                                                   Page 7                                                         Page 9
 1               PROCEEDINGS                                   1        And you understand that you're here today
 2           VIDEO SPECIALIST: We're now on the record.        2   because you filed a lawsuit against my client, the
 3   My name is Crystal Strawbridge. I'm a videographer        3   Educational Commission for Foreign Medical Graduates,
 4   for Golkow Litigation Services. Today's date is           4   correct?
 5   September 5th, 2019, and the time is 10:32 a.m.           5        A. Yes, ma'am.
 6        This video deposition is being held at 1111          6        Q. Because of the nature of the allegations in
 7   Pennsylvania Avenue, northwest, Washington, D.C., in      7   the lawsuit, certain of the topics we discuss today
 8   the matter of Monique Russell, et al. v. Educational      8   may be particularly sensitive for you. And so I want
 9   Commission for Foreign Medical Graduates, Civil Action    9   to let you know that, if you need to take a break or
10   number 18-5629, for the United States District Court,    10   you need to take a minute, you just let us know. This
11   for the Eastern District of Pennsylvania. The            11   is not meant to be a marathon today. I want to make
12   deponent is Desire Evans.                                12   sure you're in a position to be able to tell the truth
13        Will counsel please identify themselves.            13   and a full answer every time I ask a question. Do you
14           MR. CERYES: Brent Ceryes on behalf of the        14   understand?
15   plaintiff.                                               15        A. Yes, ma'am.
16           MR. VETTORI: Paul Vettori on behalf of the       16        Q. If at any time today you do need to take a
17   plaintiffs.                                              17   break, I just ask that the question that's pending be
18           MS. MCENROE: Good morning. Elisa McEnroe         18   answered, and then I'd be happy to take a break.
19   for Morgan, Lewis & Bockius on behalf of defendant       19   Okay?
20   Educational Commission for Foreign Medical Graduates,    20        A. Yes, ma'am.
21   and today I have with me my colleague, Matt Klayman.     21        Q. And you've been deposed before?
22           VIDEO SPECIALIST: The court reporter is          22        A. Yes, ma'am.
23   Linda Kinkade and will now swear in the witness.         23        Q. So you generally have a sense of how this
24   //                                                       24   works?
25   //                                                       25        A. Yes, ma'am.

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 1        Q. I'm going to ask you some questions. I'm           1        A. Yes, ma'am.
 2   going to ask that you give me answers.                     2        Q. Otherwise, we're going to take that
 3        A. Yes, ma'am.                                        3   everything you tell us today and everything you told
 4        Q. And it works best if we don't talk on top          4   the court when you were deposed in the Dimensions
 5   of each other, correct?                                    5   litigation was the truth. Do you understand?
 6        A. Yes, ma'am.                                        6        A. Yes, ma'am.
 7        Q. Great. And so you've been deposed                  7        Q. Is there any reason that you can't tell the
 8   previously. How many times?                                8   truth today?
 9        A. One time.                                          9        A. No, ma'am.
10        Q. Okay. And was that on March 28th, 2019?           10        Q. Okay. Are you taking any medications that
11        A. Yes.                                              11   make you confused or foggy at the moment?
12        Q. And was that in connection with another           12        A. I am on medication, but I haven't taken
13   lawsuit that you had filed?                               13   anything today.
14        A. Yes.                                              14        Q. And so your memory is clear?
15        Q. Against whom?                                     15        A. Yes.
16        A. Dimensions Health Systems, I believe.             16        Q. Have you ever used a different last name
17        Q. In Maryland?                                      17   than Evans?
18        A. Yes.                                              18        A. My maiden name is Clifton.
19        Q. And you understand that there's a                 19        Q. And so at a point in time did you use the
20   deposition transcript that came out of that               20   name Desire Nichole Clifton?
21   deposition?                                               21        A. Yes.
22        A. Yes.                                              22        Q. Is it fair to say that you changed your
23        Q. Have you seen that deposition transcript?         23   name because you got married?
24        A. Yes.                                              24        A. Yes, ma'am.
25        Q. Do you confirm that what you testified to         25        Q. And when was that?
                                                     Page 11                                                    Page 13
 1   in that Dimensions deposition is true and correct?         1        A. I got married December 31st, 2015.
 2        A. Yes.                                               2        Q. To whom?
 3           MR. CERYES: Objection to the breadth of            3        A. Michael Evans.
 4   the question.                                              4        Q. And is he still your husband?
 5        You can answer.                                       5        A. Yes, ma'am.
 6        A. Yes.                                               6        Q. And is he the father of the child that
 7        Q. And from time to time your counsel will            7   we'll discuss a little bit later today that you have?
 8   object, so we'll just give him a second in case he         8        A. Yes, ma'am.
 9   needs to get those in.                                     9        Q. Great. And what is that child's name?
10        So, is that correct, that you confirmed that         10        A. Peyton Alexander Evans.
11   you told the truth at the Dimensions deposition?          11        Q. And you still have your dog?
12        A. Yes.                                              12        A. Huh?
13           MR. CERYES: Same objection.                       13        Q. And you still have your dog?
14        Q. Anything you'd like to change or clarify          14        A. Yes.
15   from your testimony as you recall from the deposition     15        Q. Okay. Great. Do you have any other
16   in the Dimensions matter?                                 16   children living with you?
17           MR. CERYES: Same objection.                       17        A. No, ma'am.
18        A. No.                                               18        Q. Do you have any other biological children
19        Q. To help save some time, I may not ask you         19   that you've birthed?
20   every question that was asked there, but if there is      20        A. No, ma'am.
21   something in particular that, as we proceed today, you    21        Q. What is Mr. Evans' profession?
22   remember that you would like to correct about either      22        A. He is a bus operator for Metro.
23   your testimony today or your testimony at the             23        Q. For Metro. Great. And has that been
24   Dimensions deposition, I ask that you please let us       24   consistent over time?
25   know. Okay?                                               25        A. Well, he just started working there. He

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 1   was previously a supervisor for Circulator, a                   1   end of the week. So it's a full-time schedule.
 2   different transportation place in D.C., but same line           2       Q. So to restate it just to make sure I
 3   of work.                                                        3   understand, do you log in from a computer terminal at
 4        Q. So he was a bus driver previously as well?              4   home?
 5        A. Well, he was a road supervisor. He was                  5       A. Yes.
 6   promoted from a bus driver to a road supervisor, but            6       Q. And you complete the coursework as it fits
 7   he went to Metro as a bus driver.                               7   your schedule?
 8        Q. And since you guys were married has he                  8       A. Yes.
 9   worked in the transportation industry?                          9       Q. And that's a full-time course load, Monday
10        A. Yes.                                                   10   through Friday?
11        Q. And does he work full-time?                            11       A. Yes. Yes.
12        A. Yes.                                                   12       Q. How many hours a day Monday through Friday
13        Q. Does he have any FMLA or ADA leave that                13   would you estimate you spend on your studies?
14   he's on at the moment?                                         14       A. Four and a half.
15        A. No.                                                    15       Q. Hours?
16        Q. Has he ever to your knowledge had FMLA or              16       A. Yes, four and a half hours.
17   ADA leave?                                                     17       Q. Thank you. Does that involve other
18        A. During the birth of our child he did FMLA.             18   homework outside of that, or is that inclusive of all
19        Q. And how long did he take?                              19   of your work for Strayer University each day?
20        A. I don't remember. Maybe two weeks. It                  20       A. That's -- that's my just for Strayer
21   wasn't long.                                                   21   University each day.
22        Q. Is your current address 4057 Parker Court              22       Q. And you said that's just for Strayer
23   in Waldorf, Maryland?                                          23   University. Do you do other work as well?
24        A. Yes, ma'am.                                            24       A. Well, I work from home, so once I get off
25        Q. You previously testified at the Dimensions             25   of work from working for BlueCross BlueShield, I start

                                                          Page 15                                                        Page 17
 1   deposition about your education and your professional           1   doing my Strayer work.
 2   background, so I'm not going to get into all of those           2        Q. And the BlueCross BlueShield job that you
 3   details just to save us a little bit of time, but I am          3   just mentioned, is that the same job that you had when
 4   going to do some of the just basic nuts and bolts to            4   you were deposed in the Dimensions litigation?
 5   make sure I have an understanding. Is that fair?                5        A. Yes, ma'am.
 6        A. Yes.                                                    6        Q. Are you in the same position you were in
 7        Q. You graduated high school in 1997; is that              7   then?
 8   correct?                                                        8        A. Yes, ma'am.
 9        A. Yes, ma'am.                                             9        Q. So that's the senior customer service
10        Q. And you attended Strayer University to                 10   advisor; is that correct?
11   study cybersecurity; is that correct?                          11        A. Yes, ma'am.
12        A. Current.                                               12        Q. How many hours a day would you estimate you
13        Q. Have you finished that program of study?               13   work for BlueCross BlueShield?
14        A. No, ma'am. I'm currently there.                        14        A. Eight.
15        Q. And when are you scheduled to finish?                  15        Q. Monday through Friday?
16        A. '22.                                                   16        A. Yes.
17        Q. 2022?                                                  17        Q. Do any of your job responsibilities for
18        A. Yes, 2022. I'm on the dean's list too.                 18   BlueCross BlueShield bleed into the weekend?
19        Q. Congratulations.                                       19        A. No.
20        A. Thank you.                                             20        Q. Is it shift work for BlueCross BlueShield,
21        Q. Is that a part-time schedule? How does                 21   like you have a certain time you're supposed to be on
22   that work with your work?                                      22   and then you get off at a certain time?
23        A. No, so it's online school. I go -- it's                23        A. Yes, 8:30 to 5:00.
24   Monday through Friday. I just have to complete my              24        Q. Is that a preset schedule?
25   assignment, you know. They set assignments before the          25        A. Yes.

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 1        Q. And you mentioned that you work from out of         1        A. Yes.
 2   your home; is that correct?                                 2        Q. When did you stop working out of the
 3        A. Yes.                                                3   office?
 4        Q. Tell me a little bit about your office              4        A. I want to -- after I had my son. I want to
 5   setup at home.                                              5   say maybe two months after I had my son.
 6        A. It's just an office. It's in the down --            6        Q. Did you take time out of work for the birth
 7   downstairs area of my home.                                 7   of your child?
 8        Q. Is it a separate room?                              8        A. I did.
 9        A. Yeah, it's a separate room.                         9        Q. How long?
10        Q. With a door that closes?                           10        A. I stopped working in February, at the end
11        A. Yes, ma'am. I have -- it's a setup                 11   of February. I want to say maybe four weeks prior.
12   office -- a desk, printer, shredder, TV.                   12        Q. You stopped four weeks before you had your
13        Q. I presume a telephone?                             13   son?
14        A. Yeah, telephone.                                   14        A. I believe it was four weeks prior, yes.
15        Q. You spend a lot of time on the telephone in        15        Q. And then how long were you out after you
16   that job?                                                  16   had your son?
17        A. Yes.                                               17        A. Another maybe additional 30 days. I can't
18        Q. Is that the majority of your job is spent          18   really remember.
19   on the telephone?                                          19        Q. After you had your son, did you return to
20        A. It is, yes.                                        20   work in the office physically for
21        Q. And just very briefly, in terms of your job        21   BlueCross BlueShield?
22   responsibilities, as a senior customer service             22        A. No.
23   advisor, I understand you spend a lot of time on the       23        Q. Did you switch directly to working from
24   phone. What is it, just generally speaking, you're         24   home for them?
25   doing when you're on the phone?                            25        A. Yes.

                                                     Page 19                                                           Page 21
 1        A. Help answering questions for insured                1        Q. And when did you start your studying for
 2   members, so fixing the claims. I have a long list of        2   your cybersecurity certificate from Strayer
 3   duties.                                                     3   University?
 4        Q. But, generally, sort of contained within            4        A. In April of this year.
 5   that universe?                                              5        Q. So that would be April 2019?
 6        A. Yes.                                                6        A. 2019, yes.
 7        Q. How long have you had the job with                  7        Q. How old is your son, Peyton?
 8   BlueCross BlueShield?                                       8        A. Three. I was trying to make sure I started
 9        A. Since, I want to say, June 25th, 2015. I            9   in April. I have to think about -- I'm not sure if it
10   might -- the day might be wrong, but it was June 2015.     10   was in April -- I'm not sure if I started the spring
11        Q. That was before you had your son, correct?         11   or the winter semester.
12        A. Yes.                                               12        Q. But 2019 either way?
13        Q. Prior to having your son did you work from         13        A. 2019, yes.
14   home?                                                      14        Q. So either winter or spring 2019 for sure.
15        A. No.                                                15        A. Yes.
16        Q. Did you work in an office setting?                 16        Q. Thank you. I appreciate you keeping your
17        A. Yes.                                               17   answers precise.
18        Q. Where was that office?                             18        So Peyton is three years old, you said?
19        A. In Fairfax, Virginia.                              19        A. Yes, ma'am.
20        Q. How far is that from where you reside, or          20        Q. And what is his schedule like? Does he
21   resided at the time, I should say?                         21   have a childcare provider other than you and your
22        A. About an hour, 45 minutes to an hour.              22   husband? Does he go to daycare?
23        Q. Hour or 45-minute commute each way?                23        A. No, he doesn't go to daycare. He just
24        A. Yes.                                               24   recently, since my husband started working for Metro,
25        Q. Would you drive?                                   25   started going to his grandmoms' house during the day

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 1   so I can work and concentrate on school.                   1        A. About 5 p.m. to 1 p.m. -- I mean 5 p.m. to
 2        Q. Is that your mom or is that your husband's         2   1 a.m. Excuse me.
 3   mom?                                                       3        Q. 1 a.m., great, okay. Just trying to make
 4        A. Both.                                              4   sure we're on the same page.
 5        Q. Oh.                                                5        So he was working the night shift?
 6        A. Mondays and Fridays he's with my mother and        6        A. Yes.
 7   Tuesdays, Wednesdays and Thursdays he's with my            7        Q. Is he working the night shift currently
 8   husband's mother.                                          8   with Metro?
 9        Q. What kind of hours?                                9        A. It fluctuates, because he's still in his 90
10        A. Six in the morning until 5 p.m.                   10   days in training. So he doesn't really have a set
11        Q. So it's about 6 a.m. to 5 p.m.?                   11   schedule yet.
12        A. Yes, ma'am.                                       12        Q. And what is his commute like now that he's
13        Q. And how far do those grandmothers live from       13   working for Metro?
14   where you reside?                                         14        A. It's about -- it's the same. It's about 45
15        A. My mother lives about ten minutes away, and       15   minutes to an hour.
16   my husband's mother lives here in D.C., so about an       16        Q. Prior to 11 weeks ago when you began using
17   hour.                                                     17   the grandmothers' help for caring for Peyton during
18        Q. When did this arrangement with the                18   the day, did you have any other adult help while you
19   grandmother childcare, I'll call it that, begin? When     19   were working or in school for watching Peyton? So did
20   did that start?                                           20   you have any babysitters, someone from the
21        A. I want to say approximately 11 weeks ago          21   neighborhood who would come, like a nanny?
22   when my husband started for Metro.                        22        A. No, just my husband.
23        Q. So for the period of time between when            23        Q. Just you and your husband?
24   Peyton was born and about 11 weeks ago when he started    24        A. Yes, ma'am.
25   having some care during the day from his grandmothers,    25        Q. When your husband was working for

                                                     Page 23                                                          Page 25
 1   were you primarily responsible for his childcare?          1   Circulator and he was working the night shift, when
 2        A. Yes.                                               2   would he sleep?
 3        Q. So there was a period of time when you were        3         A. Never. That's the truth. He literally was
 4   working full-time for BlueCross BlueShield, doing          4   working 20 hours a day at a point, like going from one
 5   full-time studies at Strayer University, and having        5   job to the next because he was doing Metro at the same
 6   full childcare responsibilities as well?                   6   time.
 7        A. Yes. Yes.                                          7         So he would get home around 2:00 in the
 8        Q. Prior to your husband joining Metro, what          8   morning, go to sleep maybe around 3:00, be up again by
 9   was the company you said he worked for?                    9   4:30, 5:00 so he could be out to take Peyton by 6.
10        A. Circulator First Transit is the actual...         10         Q. To take him to --
11        Q. Where was that located?                           11         A. His grandmom's house.
12        A. Here in D.C.                                      12         Q. The grandmothers. But before --
13        Q. And you said that's about an hour from your       13         A. Before that, before that, he was -- he was
14   home?                                                     14   still working two jobs, so he was still having the
15        A. Yes.                                              15   same amount of sleep, get home around 1:30 or get home
16        Q. What kind of hours did he work when he was        16   around 2:00, be asleep by 3:00, up by 4:30, 5:00, so
17   at Circulator First Transit?                              17   he can go to Metro.
18        A. He worked evening hours.                          18         Q. So before he was working at Metro when he
19        Q. And what does that mean?                          19   was working at Circulator, was he working another job
20        A. So that was like 5 to 1.                          20   as well?
21        Q. 5 p.m. to 1 a.m.?                                 21         A. He was working overtime at Circulator.
22        A. Yeah, 5 p.m. to 1 p.m. and on the weekends        22   Sometimes working double shifts.
23   8 p.m. to 4 a.m.                                          23         Q. And when you say "double shifts," you mean
24        Q. I want to make sure I got the first --            24   he would work the night shift and the day shift?
25   during the weekdays, when was it?                         25         A. Yes, ma'am.

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 1        Q. Is he doing that also now that he's working             1   miss something.
 2   at Metro?                                                       2        Q. And what time is bedtime for him at your
 3        A. No. Now he's just working one job.                      3   house?
 4        Q. Why the switch 11 weeks ago to have the                 4        A. I try 8:00.
 5   grandmother care?                                               5        Q. P.m.?
 6        A. Because my husband was no longer going to               6        A. P.m., yes. That's my goal.
 7   be able to be there during the day and his schedule             7        Q. And when is, realistically, when he sets
 8   was going to be unpredictable. So in order for me to            8   his head down to sleep?
 9   be able to work and be productive, I needed someone --          9        A. Around 9:30-ish, 10:00, depends on what
10   I needed help because I couldn't -- Peyton is three            10   time his dad gets in the house sometimes, because
11   now, so it's not like I could lay him down for a nap.          11   sometimes I can't get him to go to sleep until he sees
12   He's running all -- he's very, very active. So he              12   his dad.
13   needed to be with other adults, other children, so we          13        Q. Sure. And so when is he sleeping until
14   decided to try to do that.                                     14   once he goes to sleep? When does he wake up?
15        Q. When he was -- when your husband was                   15        A. He'll sleep until he gets to his grandmom's
16   working at Circulator, how frequently was he working           16   house, because we don't really wake him up in the
17   overtime so he was doing double shifts?                        17   morning. We just take him out of the bed and take him
18        A. He would work overtime Thursday, Fridays,              18   straight to his grandmom's house so we don't wake him
19   and Saturdays. So mostly on Fridays and Saturdays, he          19   up.
20   would go in around -- he would go in around maybe 8:30         20        So he sleeps through the night until he gets to
21   in the morning and work until 4:30 in the morning.             21   his grandmom's house, and she will do whatever she
22        Q. And then he'd have an hour commute home?               22   does.
23        A. Mm-hmm. Yes. I'm sorry.                                23        Q. Does he still nap?
24        Q. Thank you. You remember well from your                 24        A. Yes.
25   last deposition to give oral responses.                        25        Q. About how long?

                                                          Page 27                                                      Page 29
 1        A. Yes, ma'am.                                             1        A. About an hour and a half, two hours
 2        Q. I appreciate that. Thank you.                           2   depending.
 3        So we talked a little bit about your husband's             3        Q. Once a day or twice a day?
 4   sleep. Let's talk a quick minute about your sleep               4        A. Once a day.
 5   between your work and your childcare responsibilities.          5        Q. On the weekends also?
 6        When Peyton came home from the hospital, did he            6        A. No.
 7   sleep through the night?                                        7        Q. Okay. So that's just during the weekday?
 8        A. At -- yeah, he was a pretty good baby.                  8        A. Yeah, just on the weekday. I let him have
 9        Q. He was a pretty good baby? Were you                     9   free time during the weekend, unless he's tired. If
10   breastfeeding?                                                 10   he's tired, I don't stop him from taking a nap, but I
11        A. Yes.                                                   11   don't force naps on weekend.
12        Q. And did you have to get up in the night to             12        Q. When were you most recently treated by a
13   feed him?                                                      13   doctor for anything?
14        A. Yes.                                                   14        A. I'm treated by a doctor now. The last time
15        Q. How frequently approximately at the                    15   I went to the doctor --
16   beginning?                                                     16        Q. Correct.
17        A. About every three hours. I would actually              17        A. -- was, I want to say, August 1st maybe --
18   have to wake him up to feed him.                               18        Q. For what?
19        Q. Has Peyton stayed a good sleeper?                      19        A. -- August 2nd. I went to see my
20        A. No.                                                    20   psychologist, Dr. Donato.
21        Q. You laughed and said that. So what do you              21        Q. Why?
22   mean by that?                                                  22        A. He's my psychologist and I speak to him
23        A. No, now -- now it's -- I mean, once he goes            23   often, and it was time to review my FMLA.
24   to sleep, it's fine. It's just a struggle to get him           24        Q. You say you speak to him often. Are you
25   to go to sleep just because he thinks he's going to            25   talking by telephone, in person?

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 1         A. Both.                                              1       A. No.
 2         Q. How frequently do you speak to Dr. Donato?         2       Q. And you understand, when I use the phrase
 3         A. Sometimes, depending on how much I need            3   "ob/gyn," I mean obstetrician/gynecologist?
 4    him, twice a week sometimes or twice a month. It           4       A. Yes, ma'am.
 5    depends. It just really depends. I don't really have       5       Q. It's okay with you if I use the term
 6    a set time to talk to him.                                 6   ob/gyn?
 7         Q. How do you arrange speaking with him?              7       A. Yes, ma'am.
 8         A. I can just call the front desk and just let        8       Q. It's a little easier for me to say, so I
 9    them know that I need to speak to him, and he'll           9   appreciate that.
10    either call me back or we can set up an appointment.      10       Do you have a primary care physician?
11         Q. Dr. Donato works in a practice?                   11       A. I have one assigned to me from my
12         A. Yes.                                              12   insurance. Do I see her? No.
13         Q. And they have a reception area, it sounds         13       Q. What do you mean you have one assigned to
14    like?                                                     14   you from your insurance?
15         A. Yes.                                              15       A. So I have an HMO, so they have to assign
16         Q. Where is Dr. Donato's office located?             16   you a primary care physician through the insurance.
17         A. In 600 Post Office Road in Waldorf,               17       Q. And who is your primary care physician
18    Maryland.                                                 18   assigned to you from your HMO?
19         Q. How far is that from your home?                   19       A. Dainty Jackson.
20         A. About five minutes.                               20       Q. Have you ever seen Dr. Jackson?
21         Q. When did you first start seeing Dr. Donato?       21       A. I saw her once, yes.
22         A. I don't remember the exact date. I want to        22       Q. When was that?
23    say it was like April of '18 maybe. I can't really        23       A. Maybe September of '17 maybe. I really
24    remember the month, but it was 2018.                      24   don't remember.
25         Q. Around spring of 2018?                            25       Q. Do you remember your purpose for visiting

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 1         A. Spring or summer, somewhere around there,          1   with Dr. Jackson?
 2    2018.                                                      2        A. I needed blood work for medication
 3         Q. Besides Dr. Donato, are you currently under        3   management.
 4    the care of any physicians?                                4        Q. Blood work from medication management by
 5         A. Yes, I'm also seeing Ebony Cross. She is a         5   whom?
 6    psychiatrist and medication management.                    6        A. From -- at the time I was seeing Shanda --
 7         Q. How often do you see Dr. Cross?                    7   what was her name? My goodness.
 8         A. Once a month.                                      8        Q. Would that be Dr. Smith?
 9         Q. Is that a regularly scheduled appointment?         9        A. Shanda Smith from Kaiser.
10         A. Well, we schedule it at the end of each           10        Q. Are you still seeing Dr. Smith?
11    appointment, so it's not like a set date.                 11        A. No.
12         Q. So you'll schedule it out the next time           12        Q. When did you start seeing Dr. Smith, do you
13    each time you're there?                                   13   recall?
14         A. Yes.                                              14        A. February -- I don't know if it was '17 or
15         Q. And do you physically go see Dr. Cross in         15   '18. I don't remember the year, ma'am. I'm sorry.
16    person?                                                   16        Q. Do you remember when you stopped seeing
17         A. Yes.                                              17   Dr. Smith?
18         Q. You mentioned medication management from          18        A. It was in -- so I want to say it was '18,
19    Dr. Cross. Does Dr. Donato prescribe you medication       19   because I started -- stopped seeing her right before I
20    as well?                                                  20   started seeing Dr. Donato, which was in, like, June --
21         A. No, he cannot prescribe medication.               21   April, June-ish.
22         Q. Besides Dr. Donato and Dr. Cross, are you         22        Q. So I just want to make sure that I'm
23    presently under the care of any other physicians?         23   understanding. So are you saying you believe you
24         A. No.                                               24   started seeing Dr. Smith approximately in February
25         Q. Do you currently have an ob/gyn?                  25   2018?

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 1        A. Mm-hmm.                                              1        Q. I have it marked down that you were married
 2        Q. That's correct?                                      2   on December 31st, 2015. Is that not correct?
 3        A. Yes. Yes. I'm sorry. Yes.                            3        A. Mm-hmm.
 4        Q. And you made the decision to switch from             4        Q. That is correct?
 5    Dr. Smith to Dr. Donato; is that correct?                   5        A. Correct.
 6        A. My insurance changed, so I had to.                   6        Q. So you were married to your husband in
 7        Q. Was it an issue of having a physician in             7   December 2015?
 8    network?                                                    8        A. Right, and had Peyton in March of '16.
 9        A. Correct. We were using my husband's                  9        Q. And you had him in March of '16?
10    insurance at first and he had Kaiser, so we had to use     10        A. Right. I was seven months pregnant when we
11    Kaiser.                                                    11   got married.
12        Q. And then you switched insurance?                    12        Q. I see. I want to back up a minute, because
13        A. Yes, through my own employer.                       13   I got a little off on to a different topics. Back to
14        Q. I presume that was BlueCross BlueShield             14   doctors you're currently being treated by.
15    Insurance?                                                 15        So you mentioned that you're currently being
16        A. Yes, ma'am.                                         16   treated by Drs. Donato and Cross.
17        Q. Okay. Were you covered by insurance when            17        A. Yes.
18    you delivered Peyton?                                      18        Q. And you technically have a primary care
19        A. I had Medicaid.                                     19   physician assigned to you, but you do not go to
20        Q. Even though you were working for                    20   Dr. Jackson for treatment; is that correct?
21    BlueCross BlueShield?                                      21        A. Correct.
22        A. I was a temp at the time.                           22        Q. Are you currently being seen by any other
23        Q. Ah. Okay. So when you first started                 23   physicians?
24    working for BlueCross BlueShield, were you a full-time     24        A. No.
25    employee?                                                  25        Q. In the time between when you had Peyton and

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 1         A. So I started as a temp in June.                     1   now, have you seen any other physicians besides
 2         Q. Of what year?                                       2   Dr. Smith we just talked about?
 3         A. Of 2015. I became permanent in January of           3       A. Besides going to the ER?
 4    2016, but my benefits didn't kick in until April of         4       Q. We'll get to that in one quick second.
 5    2016.                                                       5       A. No.
 6         Q. So when you had Peyton, you were a                  6       Q. And you mentioned going to the ER. When
 7    full-time employee and not a temp, but you didn't have      7   did you go to the emergency room?
 8    your benefits accruing yet?                                 8       A. It was before the last deposition. So I
 9         A. Correct.                                            9   want to say maybe March of '19.
10         Q. Okay. And then did you switch from being           10       Q. For what reason did you go to the emergency
11    on BlueCross BlueShield to being on your husband's         11   room?
12    insurance?                                                 12
13         A. No.                                                13
14         Q. Can you explain how that worked?
15         A. So -- so I went to my -- I went to my              15      Q. Did that visit to the emergency room result
16    husband's insurance, because we weren't -- we weren't      16 in an overnight stay at the hospital?
17    married when I got pregnant with Peyton, so I needed       17      A. No.
18    my own insurance. So I was on Medicaid. Once we got        18
19    married and Peyton came, then we -- then I went to my
20    husband's insurance, and then I switched to                                                         ob/gyn.
21    BlueCross BlueShield.                                      21        Q. And did you have an ob/gyn in March of
22         Q. I see. When was Peyton born?                       22   2019?
23         A. In March of '16.                                   23        A. No.
24         Q. When in March of '16?                              24        Q. Did you actually go see an ob/gyn for
25         A. March 17. Excuse me.                               25   treatment in March of 2019?

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 1     A. No.                                                  1        Q. When did you stop being a patient of
 2     Q. Did you have health insurance in March of            2   Dr. Moore's?
 3 2019?                                                       3        A. After I had my son, so -- I never went
 4     A. Yes.                                                 4   back.
                                                               5        Q. When you say you never went back, what do
                                                               6   you mean?
 7        A. Yes.                                              7        A. After I had my child, I never went back to
 8        Q. Besides going to the emergency room in            8   that practice.
 9                                                             9        Q. The other doctor you mentioned in
                                                              10   Dr. Moore's practice who you were seen by, that was a
                                                              11   woman doctor, you said?
                                                              12        A. Yes. I think it was -- her first name was
13        A. No.                                              13   Donna. I'm not one hundred percent sure. Caucasian
14        Q. Prior to giving birth to Peyton, what            14   lady.
15    physicians were you treated by?                         15        Q. Donna, you said?
16        A. Javaka Moore was my OB, and I really didn't      16        A. I think.
17    have a primary care. Everything was basically done      17        Q. Thank you.
18    through the ob/gyn.                                     18        A. Diane, Donna, something like that.
19        Q. When did Dr. Moore become your ob/gyn?           19        Q. Probably started with a D?
20        A. In June of 2015.                                 20        A. It definitely started with a D.
21        Q. And pardon me for not knowing this, but is       21        Q. How did you come to be a patient of
22    Dr. Moore a woman or a man?                             22   Dr. Moore's?
23        A. A man.                                           23        A. It was assigned by Medicaid.
24        Q. Did you see Dr. Moore prior to becoming          24        Q. When you say that Dr. Moore was assigned by
25    pregnant with Peyton?                                   25   Medicaid, do you mean Dr. Moore in particular or

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 1        A. No.                                               1   Dr. Moore's practice?
 2        Q. How far along in your pregnancy with Peyton       2        A. Dr. Moore's practice.
 3    did you become a patient of Dr. Moore's?                 3        Q. Do you know how many doctors were in
 4        A. Seven weeks?                                      4   Dr. Moore's practice?
 5        Q. When you saw him, was Dr. Moore a member of       5        A. I do not.
 6    a medical practice?                                      6        Q. Do you know if Dr. Moore's practice was
 7        A. Yes.                                              7   affiliated with any hospitals?
 8        Q. Were you ever treated by any other doctors        8        A. I do not. Well, I'm lying. I'm lying. So
 9    in Dr. Moore's practice?                                 9   during the -- not lying.
10        A. No.                                              10        I'm sorry. That was wrong. I didn't mean to
11        Q. Were you ever seen by any doctors other          11   say it.
12    than Dr. Moore in his practice?                         12        So during the time that they were setting up
13        A. Yes, but I don't know her name.                  13   my -- my induction --
14        Q. And when you say you were seen by her, did       14        Q. Yep.
15    you have an appointment and she covered that            15        A. -- they were saying that he was affiliated
16    appointment?                                            16   with Dimensions Hospital, but I didn't know that prior
17        A. Yes.                                             17   to that.
18        Q. Did you ever see any other medical               18        Q. Thank you. So when you said that when they
19    professionals in connection with your pregnancy? And    19   were setting up the induction, who do you mean they
20    what I mean is somebody like a midwife or a doula.      20   were?
21        A. No.                                              21        A. Like the front desk at the doctor's office.
22        Q. Do you know what a doula is?                     22        Q. At Dr. Moore's office?
23        A. Yes, ma'am.                                      23        A. Yes.
24        Q. Do you know what a midwife does?                 24        Q. Is it fair to say that, when you were
25        A. Yes, ma'am.                                      25   setting up your induction at Dr. Moore's office, they

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 1    explained to you that you would be induced at Prince       1        Q. And was that while you were pregnant with
 2    George's Hospital?                                         2   your son?
 3         A. Correct.                                           3        A. What?
 4         Q. When you were setting up your induction            4        Q. The time period we're talking about.
 5    with Dr. Moore's practice, did they tell you what          5        A. Yes.
 6    physician would be doing your induction?                   6        Q. Prior to being pregnant with your son, have
 7         A. I was under the impression it would be             7   you ever been treated by a psychologist or a
 8    Dr. Moore.                                                 8   psychiatrist?
 9         Q. Did they tell you, though --                       9        A. No.
10         A. No.                                               10        Q. When your insurance set you up with
11         Q. -- who it would be?                               11   Dr. Moore's practice, how did Dr. Moore come to be
12         A. But I was under the impression it would be        12   your physician in particular?
13    Dr. Moore.                                                13           MR. CERYES: Objection, foundation.
14         Q. What time of day, if you remember, were you       14        You can answer.
15    scheduled to have your induction?                         15        A. Huh?
16         A. I was scheduled at 8 a.m.                         16           MR. CERYES: You can answer.
17         Q. Do you remember what day of the week it           17        A. Oh. He just came in the room. I wasn't --
18    was?                                                      18   I didn't ask for him or anything. He just was the
19         A. I want to say maybe a Thursday.                   19   doctor assigned to me at the practice.
20         Q. Having looked at your medical records, is         20        Q. Did you do any research into the physicians
21    it correct that you did actually go to Prince George's    21   at the practice Dr. Moore was a part of?
22    Hospital to be induced?                                   22        A. No.
23         A. Yes.                                              23        Q. Did you do any research into Dr. Moore's
24         Q. And was that at the scheduled time that you       24   credentials or background?
25    had arranged with Dr. Moore's office?                     25        A. No.

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 1         A. No. They called me and rescheduled me to a         1        Q. Did you do any research into Dr. Moore's
 2    later time.                                                2   educational history?
 3         Q. How much later?                                    3        A. No.
 4         A. Two.                                               4        Q. Did you do any research into whether
 5         Q. Two days?                                          5   Dr. Moore was board certified?
 6         A. No, at 2:00.                                       6        A. No.
 7         Q. Oh, 2:00 in the afternoon?                         7        Q. Did you talk to any of his other patients,
 8         A. Yeah, because they were -- they were saying        8   Dr. Moore's?
 9    they were going to call me and let me know, but I was      9        A. No.
10    already two weeks past due at that time, so I wasn't      10        Q. Prior to having Dr. Moore as your
11    having that. So I said I'll just come up there and        11   physician, had you ever previously been treated by an
12    sit and wait until you guys are ready.                    12   ob/gyn?
13         Q. So did you go at 2 p.m. to be induced?            13        A. Previously?
14         A. I went around 11:30, so I sat there until         14        Q. Yeah.
15    they took me back.                                        15        A. Like anytime in my life?
16         Q. At Prince George's Hospital?                      16        Q. Anytime in your life.
17         A. At Prince George's Hospital.                      17        A. Yes.
18         Q. Aside from Dr. Moore, who you mentioned           18        Q. And who was that?
19    having been treated by prior to delivering Peyton,        19        A. I don't remember their names.
20    were you under the care of any other physicians or        20        Q. Okay. But other ob/gyn's previously in
21    psychiatrists at the time?                                21   your life?
22         A. No.                                               22        A. Mm-hmm. Yes, ma'am.
23         Q. Any psychologists you were being treated          23        Q. Do you remember doing any research into any
24    by?                                                       24   of their credentials or educational background?
25         A. No.                                               25        A. No.

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 1         Q. Do you remember doing any research into any       1   about from March 2019 and the
 2    of their certifications or whether they were a member     2   about a year before you had Peyton, have you ever
 3    of any board?                                             3   otherwise been treated in an emergency room?
 4         A. No.                                               4       A. Oh, yes. I'm sorry.
 5         Q. It sounded like before Dr. Moore you had          5       Q.            you said?
 6    seen more than one ob/gyn previously; is that correct?    6       A. Yes, the
 7         A. Mm-hmm.                                                                                    I'm sorry. I
 8         Q. Can you estimate for me about how many you        8   forgot about that.
 9    think you've seen over the course of your life?           9       Q. Did you go to the emergency room for that?
10         A. Maybe two.                                       10       A. I did.
11         Q. Do you remember if they were male                11       Q. That was May of 2019?
12    physicians or woman physicians?                          12       A. Mm-hmm. Yes.
13         A. Women physicians.                                13       Q. Were you treated by a physician then?
14         Q. Both women physicians?                           14       A. Yes.
15         A. (Nodding head up and down.)                      15       Q. What kind of treatment did they give you
16         Q. Having had another moment to think about         16   for
17    it, do you remember either of their names?               17
18         A. No. I do know that Dr. Moore is the only
19    male ob/gyn I've ever had. That I can attest to.
20         Q. Do you remember any medical practice or
21    hospital that those two prior ob/gyn's were affiliated
22    with?
23         A. No.
24         Q. Prior to delivering Peyton, had you been
25    pregnant previously?

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 1                                                              1        A. Yes.
 2                                                              2        Q. So aside from the                 the
                                                                3             and the              have you otherwise
 4      Q. And were you treated by an ob/gyn during             4   ever gone to the emergency room for yourself?
 5 that experience?                                             5        A. Not that I can remember.
                                                                6        Q. Did you go to the emergency room for
                                                                7   falling down the steps?
 8     Q. Did you have a specific ob/gyn attending to           8        A. I did.
 9 you?                                                         9        Q. Can you tell me about that?
10     A. I mean, not that I can remember. I wasn't            10        A. I'm sorry. That was in 2014 or '15. I
11 going to an office, no, at that time.                       11   fell down the steps, and I had a ruptured disc, I
                                                               12   believe. I was in the hospital for a week.
13        Q. Did you go to the emergency room?                 13        Q. Was that a back injury?
14        A. I did.                                            14        A. Back injury, yes.
15                                                             15        Q. Where were you when you fell down the
                                                               16   steps?
17        A. Right.                                            17        A. I was at home. I was living in Oxon Hill
                                                               18   at the time.
                                                               19        Q. This is a different home than where you
                                                               20   live now?
                                                               21        A. Yes.
22     Q. Do you remember when that occurred?                  22        Q. Were those interior steps or exterior
23     A. Approximately one year prior to having               23   steps?
24 Peyton.                                                     24        A. Interior steps.
25     Q. Aside from the              you testified            25        Q. Were those carpeted or was there other kind

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 1    of material on them?                                         1        Q. Townhouse also? What kind of covering are
 2         A. No, just a wooden step.                              2   there on the steps?
 3         Q. So hardwood?                                         3        A. Wood.
 4         A. Mm-hmm.                                              4        Q. And where you live now, is that an
 5         Q. In the home you live now, is that where              5   apartment, a townhouse?
 6    you've lived since you had Peyton?                           6        A. A house.
 7         A. No, we moved. We bought that house in                7        Q. And are there interior steps?
 8    April.                                                       8        A. Yes.
 9         Q. Of what year?                                        9        Q. And what are those covered with?
10         A. I'm sorry, ma'am.                                   10        A. Carpet.
11         Q. It's okay.                                          11        Q. Going back to your fall, and you said that
12         A. 2018. We've been there for a little bit             12   was in 2014 or 2015; is that correct?
13    over a year.                                                13        A. Mm-hmm, yes.
14         Q. And did you move directly from the place            14        Q. Do you remember what time of year it was?
15    you had lived when you fell down the steps to where         15        A. I don't. I don't want to make up anything.
16    you live now?                                               16   I just want to say between July and September maybe.
17         A. No. So we lived in a place where I fell             17        Q. Of which year, do you remember?
18    down the steps, and then we moved to Waldorf, which         18        A. No, I don't. 2014, '15, somewhere around
19    was -- do you need the address?                             19   there.
20         Q. If you would just describe it so I can talk         20        Q. And you mentioned you were hospitalized for
21    about it generally, that's fine.                            21   five days; is that correct?
22         A. Holly Station. Moved there, stayed there            22        A. Yes.
23    for about a year, and then we moved in with my mother,      23        Q. And did you only injure your back during
24    which was also in Waldorf.                                  24   that fall?
25         Q. Is that where you reside now?                       25        A. Yes.

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 1         A. No. We stayed --                                     1        Q. What kind of treatment did you receive for
 2         Q. So you moved again?                                  2   your back?
 3         A. We stayed there for about a year, and then           3        A. They really didn't treat me at all. They
 4    we moved to where I live now.                                4   just kept me there under observation and gave me a lot
 5         Q. And that's about a five-, ten-minute drive           5   of medication, and then gave me PT while I was there.
 6    from your house now, you said?                               6        Q. And by "PT" do you mean physical therapy?
 7         A. Yes.                                                 7        A. Physical therapy, yes.
 8         Q. In which of those homes did you live when            8        Q. Did you do physical therapy after you left?
 9    you delivered Peyton?                                        9        A. No.
10         A. In Holly Station.                                   10        Q. Why not?
11         Q. Was it a house or an apartment?                     11        A. I didn't have any insurance, I don't think,
12         A. Apartment -- a townhouse.                           12   at that time.
13         Q. Did it have steps?                                  13        Q. Did you do any follow-up visits with anyone
14         A. Yes.                                                14   about your back?
15         Q. And what was the covering, if any, on those         15        A. I had one follow-up visit, and that was so
16    steps?                                                      16   I can return to work.
17         A. Carpet.                                             17        Q. Okay. So that was to get permission to go
18         Q. Carpet. And how many floors was the Holly           18   to work?
19    Station home?                                               19        A. Yes.
20         A. Two.                                                20        Q. Because at that time you were working in an
21         Q. And your mother's home, does it have                21   office setting, correct?
22    interior steps?                                             22        A. Correct.
23         A. Yes.                                                23        Q. When you were discharged from the hospital
24         Q. Is it a standalone house?                           24   from your back injury, did they recommend to you that
25         A. It's a townhouse also.                              25   you continue doing physical therapy?

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 1         A. I don't recall. I don't recall.                  1   impacts on your schedule, so how many hours a week
 2         Q. When you were discharged from the hospital       2   maybe or in a day.
 3    after your back injury, did you continue taking          3       A. Okay. So I'm scheduled for eight hours of
 4    medication?                                              4   FMLA a day three days a week, so 24 hours a week of
 5         A. The medication that was prescribed to me,        5   FMLA.
 6    yes.                                                     6       Q. And who -- have you seen a doctor in
 7         Q. Do you recall how long after you left the        7   connection with getting paperwork relating to that?
 8    hospital you continued to take medication relating to    8       A. Mm-hmm, Dr. Donato.
 9    your back injury?                                        9       Q. When did you first get that FMLA leave from
10         A. I don't know. Maybe, I don't know, 30 days      10   Dr. Donato?
11    maybe, I'm not -- I'm not 100 percent sure.             11       A. June, maybe June of last year, June of
12         Q. Are you still on medication relating to         12   2018, I'm assuming.
13    your back injury?                                       13       Q. Around that summertime?
14         A. No.                                             14       A. Yes, ma'am.
15         Q. When you were pregnant with Peyton, were        15       Q. Prior to that, were you on FMLA leave?
16    you on medication relating to your back injury?         16       A. No.
17         A. No.                                             17       Q. Prior to the FMLA leave that you're on now
18         Q. When you were pregnant with Peyton, were        18   for which you've gotten paperwork from Dr. Donato,
19    you on any medication?                                  19   have you ever been on FMLA leave?
20         A. No.                  does that count?           20       A. No.
21         Q. Anything you were on.                           21       Q. Are you currently on any ADA leave?
22         A. Progesterone, yes.                              22       A. Yes.
23         Q. And what were you being treated for?            23       Q. Can you tell me about that?
                                                              24       A. ADA is the reason why I work from home. So
                                                              25   they afford me the opportunity to, you know, work from

                                                  Page 55                                                          Page 57
 1        A. Yes.                                              1   home and not have to travel into the office.
                                                               2        Q. Is that the accommodation you have through
                                                               3   the ADA?
                                                               4        A. Yes.
                                                               5        Q. Do you have any other accommodations
 6          A. No.                                             6   through the ADA?
 7          Q. Any other emergency room visits in your         7        A. No.
 8    life that you remember having had other than the ones    8        Q. Do you have any doctor paperwork that you
 9    you've talked about already today?                       9   had to get in order to have that accommodation awarded
10          A. Not that I can recall. I really don't          10   to you?
11    remember.                                               11        A. Yes.
12          Q. Any other hospitalizations that you've ever    12        Q. And from who?
13    had other than for delivering Peyton and relating to    13        A. Dr. Donato.
14    your back injury you've already testified about?        14        Q. When did you get that?
15          A. No.                                            15        A. Excuse me. Sorry. Around the same time.
16          Q. Have you ever taken FMLA leave?                16        Q. At the same visit?
17          A. Yes.                                           17        A. Yeah.
18          Q. Are you presently taking any leave for         18        Q. Prior to the ADA leave that you just
19    FMLA?                                                   19   described, had you ever been on ADA leave before?
20          A. Yes.                                           20        A. No.
21          Q. Could you explain to me what you're taking     21        Q. Had you ever had any ADA accommodations
22    for FMLA at the present time?                           22   before?
23          A. I have, like my condition, the reason why      23        A. No, ma'am.
24    I'm --                                                  24        Q. We discussed a little bit earlier today
25          Q. Well, I'm first asking about how that          25   that you've been deposed in a matter concerning

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 1    Dimensions. Do you remember that?                               1       Q. Aside from a lawsuit, have you ever made a
 2          A. Yes, ma'am.                                            2   claim for injury against anybody, any business, any
 3          Q. And it's fair to say you were a plaintiff              3   workplace?
 4    in that matter?                                                 4       A. No, ma'am.
 5          A. Yes, ma'am.                                            5       Q. Any person?
 6          Q. Aside from that lawsuit and aside from this            6       A. No.
 7    lawsuit, have you ever been involved in any other               7       Q. Have you ever made a workers' compensation
 8    lawsuit?                                                        8   claim?
 9          A. No, ma'am.                                             9       A. No, ma'am.
10          Q. Have you ever sued anybody other than ECFMG           10       Q. Have you ever suffered an injury at work?
11    and Dimensions?                                                11       A. No, ma'am.
12          A. No, ma'am.                                            12       Q. Have you ever suffered, aside from the
13          Q. Have you ever been a defendant in any                 13   issues involved in this litigation, have you ever
14    lawsuit?                                                       14   suffered any physical, emotional, or sexual abuse from
15          A. No, ma'am.                                            15   any person?
16          Q. Have you ever been a defendant in any                 16       A. No, ma'am.
17    criminal matters?                                              17       Q. Have you ever been the victim of a crime?
18          A. No, ma'am.                                            18       A. No, ma'am.
19          Q. Have you ever been a witness in any civil             19       Q. I would like to hand you what I'm going to
20    or criminal matters that you went to testify like at a         20   mark as Exhibit 1.
21    trial or a hearing?                                            21               (Exhibit 1 marked for
22          A. No, ma'am.                                            22          identification: Amended Notice of
23          Q. In the Dimensions litigation, is it fair to           23          Deposition of Plaintiff Desire Evans)
24    say that, just like in this litigation, you're what            24       Q. Have you ever seen this document before?
25    you would consider a Class representative?                     25       A. Yes.

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 1         A. Yes, ma'am.                                             1        Q. And this is the Amended Notice of
 2         Q. Do you know what that means?                            2   Deposition of Plaintiff Desire Evans. Do you see
 3         A. Yes, ma'am.                                             3   that?
 4         Q. Other than the Dimensions litigation and                4        A. Yes.
 5    this litigation, have you ever been a Class                     5        Q. And that's you?
 6    representative?                                                 6        A. Yes.
 7         A. No, ma'am.                                              7        Q. And you're appearing today pursuant to this
 8         Q. Have you ever considered being a Class                  8   deposition notice to be deposed?
 9    representative in any litigation besides Dimensions             9        A. Yes.
10    and the ECFMG litigation?                                      10        Q. So like I'm going to do a couple times
11         A. No, ma'am.                                             11   today, we've been going about an hour, so we'll take a
12         Q. Do you know what the allegations are in the            12   quick break, if that's okay.
13    litigation against Dimensions?                                 13          MR. CERYES: Sounds good.
14         A. Yes, ma'am.                                            14          VIDEO SPECIALIST: We're going off the
15         Q. And have you ever reviewed the complaint               15   record at 11:28.
16    that was filed in that case?                                   16        (Proceedings recessed)
17         A. Yes, ma'am.                                            17          VIDEO SPECIALIST: We're back on the record
18         Q. Do you believe the allegations in the                  18   at 11:39.
19    complaint against Dimensions are true and correct?             19   BY MS. MCENROE:
20         A. Yes, ma'am.                                            20        Q. Ms. Evans, I want to ask you whether you
21         Q. Have you provided discovery responses in               21   have ever been treated by a psychiatrist named
22    the Dimensions litigation?                                     22   Dr. Nnamani. Am I saying that correctly?
23         A. Yes, ma'am. Yes, ma'am.                                23        A. Yeah.
24         Q. Were those responses true and correct?                 24        Q. Are you currently being treated by
25         A. Yes, ma'am.                                            25   Dr. Nnamani?

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 1         A. No. That was one visit.                          1       A. Yes.
 2         Q. One visit?
 3         A. One visit.
 4         Q. Okay. And when was that?                         4       A. Mm-hmm.
 5         A. I was -- I want to say maybe September
 6    of -- had to be '18 because we're in '19 now. I was      6        A. Maybe for the past two years.
 7    referred to her by Dr. Donato.                           7        Q. When did you get your driver's license?
 8         Q. For what purpose?                                8        A. When I was 19.
                                                               9        Q. So about 21 years ago?
10     Q. You mentioned you only went to her one              10        A. Tell everybody.
11 time?                                                      11        Q. So you've been -- but you've been driving
12     A. Yes.                                                12   for over 20 years?
13     Q. Why did you only go to her one time?                13        A. Mm-hmm.


                                                              16       A. No.
17         Q. And did you choose to switch then to a                                                               what
18    different physician?                               18 do you mean?
19         A. Yes. That's when I switched to Ebony
20    Cross.
21         Q. So it was your choice to switch from
22    Dr. Nnamani to Dr. Cross?
23         A. Yes.
24         Q. What kind of considerations did you take
25    into account when you were deciding to switch from

                                                   Page 63                                                      Page 65
 1    Dr. Nnamani to Dr. Cross?
                                                               2       A. Yes.
                                                               3       Q. You said that began around two years ago?
                                                               4       A. Yeah, about.
                                                               5       Q. Do you have an estimation of more
 6         Q. You weren't clicking; is that a fair way to      6   specifically when?
 7    say it?                                                  7       A. No. No, it's just something that's getting
 8         A. No. Yeah.                                        8   increasingly worse. I can't really put a time stamp
 9         Q. Did you feel uncomfortable being treated by      9   on the exact time that it started. It's just been
10    Dr. Nnamani?                                            10   something that's been getting increasingly worse from
11         A. A little.                                       11
12         Q. Why? Do you know?                               12      Q. So including the driving, but more than
13         A. Just certain --                                 13 that?
14         I can answer this?                                 14      A. Yes.
15            MR. CERYES: To the best of your                 15      Q. And so you would say you had that to some
16    understanding.                                          16 extent before two years ago, is that right,




22       Q. Is she a woman doctor?
23       A. Yes.
24       Q. And Ms. Cross -- sorry. Dr. Cross is a
25    woman doctor as well?                                   25   to having had your son?

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 1        A. Not that I could identify                         1        Q. You never Googled him?
                                                               2        A. Nope.
                                                               3        Q. Aside from Dr. Cross, you mentioned that
 4         Q. Prior to having your son did you ever have       4   you had done a little bit of research into -- do you
 5    depression?                                              5   know if you ever known where any of your physicians
 6         A. No.                                              6   have attended medical school?
 7         Q. Prior to having your son have you ever had       7        A. No.
 8    any treatment by any psychiatrist or psychologist?       8        Q. Have you ever asked that you know of?
 9         A. No.                                              9        A. No.
10         Q. A school counselor?                             10        Q. Do you know if any of your physicians
11         A. About depression?                               11   you've been treated by have gone to medical school
12         Q. Or anxiety.                                     12   outside of the United States?
13         A. No.                                             13        A. No.
14         Q. School counselor for anything else?             14        Q. Do you think some of them could have, you
15         A. School stuff.                                   15   just don't know?
16         Q. Okay. When you were switching from              16        A. I can't -- I don't know.
17    Dr. Nnamani to Dr. Cross, how did you find Dr. Cross?   17        Q. You don't know one way or the other?
18         A. I found Dr. Cross through another provider      18        A. Right. Yeah, I wouldn't know to have to
19    within Dr. Donato's office, so -- because she was --    19   ask that question. I would think that I could take
20    she goes to her. So she told me that I should try her   20   them at their word that they have done the things that
21    out, because she was more of a -- she was -- she just   21   they say they did.
22    said that she was a good psychiatrist and she           22        Q. Right, but you never, like, looked to see
23    recommended her.                                        23   did Dr. Moore go to -- I'm making this up -- Johns
24         Q. Fair to say it was more of like a               24   Hopkins or Harvard or something?
25    word-of-mouth kind of recommendation?                   25        A. Nope.

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 1         A. Yes.                                             1       Q. Okay. Do you have any medical doctors in
 2         Q. Did you do any research about Dr. Cross          2   your family?
 3    before you started going to her?                         3       A. I do.
 4         A. Nothing besides talking to the people that       4       Q. Who is a medical doctor in your family?
 5    I knew that she went to, that go to her, no.             5       A. Terrell Newton.
 6         Q. Did you Google her?                              6       Q. How is Dr. Newton related to you?
 7         A. No. Yeah, I did actually Google her.             7       A. He's my cousin.
 8         Q. Did you see where she went to school?            8       Q. On which side, your mom's side or your
 9         A. No.                                              9   dad's side?
10         Q. What did you see when you Googled               10       A. My mom's side.
11    Dr. Cross?                                              11       Q. An aunt's child or an uncle's child?
12         A. Just the practices that she has.                12       A. Aunt.
13         Q. The areas that she treats?                      13       Q. So it's your mom's sister's son?
14         A. Mm-hmm.                                         14       A. Yep. Yes, ma'am.
15         Q. Anything else?                                  15       Q. Any other physicians in your family?
16         A. No, ma'am.                                      16       A. No.
17         Q. Did you do any research into Dr. Donato         17       Q. And what does Dr. Newton's specialize in?
18    before you went to see her?                             18       A. He's an anesthesiologist.
19         A. No.                                             19       Q. Where does he practice?
20         Q. No Googling?                                    20       A. I don't know. He has his own practice in
21         A. No.                                             21   Florida for pain management.
22         Q. Did you do any research into Dr. Moore          22       Q. In Florida?
23    either before you saw him or once you started being     23       A. Yeah. I don't know the name of it.
24    treated by him?                                         24       Q. Do you know where Dr. Newton went to
25         A. No.                                             25   medical school?

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 1          A. North Carolina.                                  1   on the Internet?
 2          Q. In the United States?                            2        A. Yes.
 3          A. Yes. What's the school down in North             3        Q. Do you remember what you read on the
 4    Carolina? I can't think of the name of the school.        4   Internet?
 5    It's a school in North Carolina.                          5        A. Just what their job responsibilities were,
 6          Q. But a medical school in North Carolina?          6   where they are located.
 7          A. Mm-hmm.                                          7        Q. Was that from the ECFMG website?
 8          Q. And Dr. Newton is not an ob/gyn?                 8        A. Yeah. I just Googled.
 9          A. No.                                              9        Q. You said you looked up what the job
10          Q. Are you friends with any other medical          10   responsibilities were for ECFMG. What do you mean by
11    doctors?                                                 11   that?
12          A. No.                                             12        A. I wanted to know exactly what kind of
13          Q. Are you acquainted with or know anybody who     13   company it was. So not exactly -- I didn't look up,
14    went to medical school outside of the United States?     14   you know, exactly job responsibility, but what kind of
15          A. No.                                             15   company it was and what they performed, what they did.
16          Q. You understand that my client, the              16        Q. What do you mean by what kind of company
17    Educational Commission for Foreign Medical Graduates,    17   they are?
18    is the defendant in this case, correct?                  18        A. So I just knew that it was some kind of
19          A. Yes.                                            19   credentialing company or something, but I wasn't sure.
20          Q. Is it okay if I refer to them as ECFMG?         20   Like, I wasn't 100 percent sure of the nature of the
21          A. Yes, ma'am.                                     21   company, so I wanted to know exactly what the nature
22          Q. You'll know what I'm talking about?             22   of the company was.
23          A. Yes, ma'am.                                     23        Q. And when did you conduct this Internet
24          Q. Prior to meeting counsel in connection with     24   research, before you met counsel or after you met
25    this lawsuit or the Maryland lawsuit, had you ever       25   counsel?

                                                   Page 71                                                       Page 73
 1 heard of ECFMG before?                                       1       A. After.
 2         A. No.                                               2       Q. When did you first meet the counsel that
 3         Q. Do you have any understanding of what ECFMG       3   represents you in this litigation and in the
 4    does?                                                     4   Dimensions litigation?
 5         A. Yes.                                              5       A. I don't remember. Was it November? I
 6         Q. And from where did you get that                   6   think the first meeting was in November.
 7    understanding?                                            7       Q. Of what year?
 8           MR. CERYES: Objection.                             8       A. '18?
 9           MS. MCENROE: Not asking for specifics.             9       You don't know? You can't help me.
10    I'm just asking generally where she got the              10          MR. CERYES: Do your best.
11    understanding from.                                      11       A. I'm sorry.
12         Q. I'm not trying to get into specific              12       Q. Do you remember how you came to meet
13    conversations you had with counsel, but I'm just         13   counsel?
14    trying to understand from where did you get that         14       A. Yeah. I heard an ad.
15    understanding?                                           15       Q. You heard an advertisement for a law firm?
16           MR. CERYES: I'll allow you to answer it.          16       A. An advertisement, uh-huh.
17         A. From counsel.                                    17       Q. Do you remember for which law firm?
18         Q. Aside from conversations you had with            18       A. For Schochor, Federico and Staton.
19    counsel, have you learned anything about ECFMG outside   19       Q. And you said you heard it. How did you
20    of what counsel told you?                                20   hear it?
21         A. Well, I did -- once I found out what their       21       A. Actually my husband heard it on the radio.
22    responsibilities were, I did look them up, yes.          22       Q. When was that?
23         Q. So you Googled them?                             23       A. Ma'am, I'm old. You keep asking me all
24         A. Yes.                                             24   these dates. I don't know. I don't know. Maybe
25         Q. And you read some information about ECFMG        25   summer of 2018 maybe.

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 1         Q. Did you hear the radio advertisement at any        1       A. Mm-hmm.
 2    time personally?                                           2       Q. Is that a yes?
 3         A. Yes. I heard it after the fact, yes.               3       A. Yes.
 4         Q. When you say "after the fact" --                   4       Q. Okay. And the medical care -- strike that.
 5         A. Well, after my husband heard it.                   5       Where Peyton was delivered, was that in
 6         Q. Did you hear it? Did you personally hear           6   Maryland?
 7    it before you contacted counsel?                           7       A. Yes.
 8         A. Yes.                                               8       Q. And do you have an understanding of whether
 9         Q. What did the radio advertisement say?              9   Maryland requires physicians to be licensed by the
10         A. If you were seen by Charles Akoda, give us        10   State of Maryland to practice medicine there?
11    a call, something to that effect.                         11       A. No. I would assume that they would.
12         Q. Did it say anything about why?                    12       Q. So you think that they do.
13         A. I don't think it went into detail.                13       A. Yeah.
14         Q. Was the firm that was advertised in that          14       Q. Okay. So that's just what I'm trying to
15    radio advertisement the same firm that you then           15   ask. Do you have an understanding that the State of
16    reached out to?                                           16   Maryland requires physicians doing medical care there
17         A. Yes.                                              17   to be licensed by the state?
18         Q. Had you consulted with any other lawyers?         18       A. Yes.
19         A. No.                                               19       Q. Okay. Have you ever heard of the
20         Q. You mentioned earlier that you conducted          20   United States Medical Licensing Examinations?
21    some Internet research into ECFMG. Do you remember        21   Sometimes it's called USMLE.
22    that discussion?                                          22       A. No.
23         A. Yes.                                              23       Q. Do you have any understanding that, in
24         Q. Do you know what it means for a foreign           24   order to become a physician in the United States,
25    medical graduate to be certified by ECFMG?                25   graduates of medical school need to take what's called

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 1          A. Yes.                                              1   medical boards?
 2          Q. To you what does that mean?                       2       A. Yes.
 3          A. To me it means that they have completed           3       Q. Do you have an understanding of whether
 4    everything that they were supposed to do successfully      4   some physicians can get additional credentialing by
 5    in order to gain the certification from ECFMG to           5   becoming board certified?
 6    practice.                                                  6       A. No.
 7          Q. Do you understand or -- strike that.              7       Q. Okay. So you've never heard like he's a
 8          Do you have an understanding of whether or not       8   board -- he's board certified in --
 9    a foreign medical graduate can come to the                 9       A. Yes.
10    United States, get an ECFMG certification, and then       10       Q. -- and then a specialty?
11    practice medicine, or if they have to do something        11       A. Yes.
12    else before that?                                         12       Q. You've heard that before?
13          A. My understanding is you have to do               13       A. Yes, I've heard that before.
14    something before that.                                    14       Q. Okay. And what does that mean to you?
15          Q. Do you know what that something is?              15       A. That they were certified by some type of
16          A. Certifications, some kind of testing?            16   medical board.
17          Q. Okay. Do you know what a residency program       17       Q. Okay. Do you know whether Dr. Akoda --
18    is --                                                     18   when I say "Dr. Akoda," do you know who I'm referring
19          A. I do.                                            19   to?
20          Q. -- for a physician? What does that mean to       20       A. Yes.
21    you?                                                      21       Q. Okay. Do you know whether Dr. Akoda took
22          A. A residency program is kind of like an           22   any United States medical licensing examinations?
23    internship for doctors.                                   23          MR. CERYES: Objection, foundation. You
24          Q. And that's still medical education. Do you       24   can answer to the extent you're able.
25    understand that?                                          25       A. Yeah. I mean, I'm assuming he did, yes.

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 1         Q. Okay. Do you know whether Dr. Akoda passed           1        Q. Right. So those are allegations in the
 2    the USMLE components?                                        2   complaint.
 3             MR. CERYES: Same objection.                         3        A. Mm-hmm.
 4         A. If he passed, after failing? Yes.                    4        Q. Did you write the complaint?
 5         Q. So you're asserting that you think that              5        A. No.
 6    Dr. Akoda failed them.                                       6        Q. Do you know who wrote the complaint?
 7         A. I don't -- I mean, that's my assumption.             7        A. My counsel, I would assume.
 8    That's --                                                    8        Q. Okay. Do you know whether any of the other
 9         Q. Why is that your assumption?                         9   physicians you've ever been treated by in your life
10         A. Because I read through the documents that           10   have been ECFMG certified?
11    were given to me.                                           11        A. I don't know.
12         Q. What documents were given to you?                   12        Q. You don't know one way or the other?
13         A. The discovery and things like that.                 13        A. No.
14         Q. What discovery was given to you?                    14        Q. Do you know if, as part of ECFMG
15         A. From my -- this stuff (indicating) that             15   certification program, it verifies Social Security
16    my -- that my counsel gave to me.                           16   numbers?
17         Q. Okay. What did they show you that made you          17        A. No. Well, I'm assuming that they do.
18    think that Dr. Akoda had failed examinations?               18        Q. You're assuming they do?
19             MR. CERYES: I'm going to object to the             19        A. I would hope so.
20    extent I think we're getting into attorney-client           20        Q. On what basis?
21    privilege. I can proffer to you what she's talking          21        A. Because you have someone coming from
22    about, if that's helpful.                                   22   another country, how else are you going to identify
23         Q. Were these documents that were produced in          23   them besides their identification number, which is
24    this litigation? Did they have Bates-stamped numbers        24   their Social.
25    on the bottom?                                              25        Q. Do you know for a fact whether as part of

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 1           MR. CERYES: Are you asking me?                        1   its certification program ECFMG verifies birth
 2           MS. MCENROE: I'm asking whoever will tell             2   certificates?
 3    me.                                                          3        A. I would assume they should.
 4            MR. CERYES: I think what she's referring             4        Q. On what basis are these assumptions made
 5    to is the complaint.                                         5   on?
 6            MS. MCENROE: The complaint.                          6        A. Because how else are you going to identify
 7         A. The complaint.                                       7   someone without those identification things?
 8         Q. Okay. So you've seen the allegations                 8        Q. And you think that ECFMG's purpose is to
 9    drafted as by counsel --                                     9   verify identification documentation?
10         A. Correct.                                            10        A. Yes.
11         Q. -- about Dr. Akoda.                                 11        Q. Do you know if, as part of its
12         A. Correct.                                            12   certification program, ECFMG verifies green cards?
13         Q. Okay. Have you ever seen underlying                 13        A. I don't know, but I would assume they
14    original documents -- and by "original," I mean they        14   would.
15    could be copies -- but underlying documents regarding       15        Q. Do you know whether if, as part of its
16    Dr. Akoda's credentials?                                    16   certification programs, ECFMG verifies state medical
17         A. No.                                                 17   licenses?
18         Q. Have you ever seen his medical school               18        A. I would assume they would.
19    diploma?                                                    19        Q. Same basis?
20         A. No.                                                 20        A. Yes.
21         Q. Were you lead to believe he did not                 21        Q. And do you know whether for a fact, as part
22    graduate from medical school?                               22   of its certification program, ECFMG verifies board
23         A. I wasn't lead to believe anything. I'm              23   certifications?
24    just going off of what I read in the complaint myself,      24        A. I would assume as well.
25    ma'am.                                                      25        Q. Okay. So is it your understanding that

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 1    ECFMG is responsible for verifying any piece of              1   medical professional to get that process started?
 2    identifying information about a foreign medical              2        A. By another -- mm-hmm, yes.
 3    graduate?                                                    3        Q. And that would have been Pitocin; is that
 4         A. Absolutely.                                          4   correct?
 5           MR. CERYES: Object to the extent I think              5        A. Yes. Yes, ma'am.
 6    we're getting into expert testimony, but you can             6        Q. How did you react to the Pitocin? Did that
 7    answer to the best of your understanding.                    7   work for you?
 8           MS. MCENROE: Well, I'm asking about the               8        A. Yes.
 9    witness's understanding, so I think that's a fair --         9        Q. How long were you in labor?
10         A. Yes.                                                10        A. Twenty-two, 24 hours, 26 hours, somewhere
11         Q. So on what basis do you have that                   11   between there.
12    understanding?                                              12        Q. And did you spend a period of that time
13         A. The basis that if you are -- if someone is          13   pushing?
14    going to be caring over someone medically, that I           14        A. Twelve hours.
15    would assume that they would do their due diligence to      15        Q. Twelve hours. Was Dr. Akoda your physician
16    find out that this person is who they say they are,         16   the entire 22, 24, 26 hours that you were in labor?
17    and you would have to go through all of those things        17        A. Yes.
18    to make sure that this person is exactly who they are       18        Q. Did you see any other ob/gyn's during your
19    stating to be.                                              19   labor or delivery?
20         Q. Is it fair to say that, when you were               20        A. No.
21    treated by Dr. Akoda, you had not heard of ECFMG?           21        Q. You already made reference to one nurse.
22         A. Correct.                                            22   Do you recall being treated by nurses while you were
23         Q. Is it fair to say that we're here today             23   laboring and delivering?
24    because of Dr. Akoda's treatment of you?                    24        A. Yes.
25           MR. CERYES: Objection, form, foundation.             25        Q. Do you recall about how many?

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 1         You can answer, if you understand the question.         1        A. Two.
 2         Q. I'm not trying to make this a hard one.              2        Q. At any one time or over the course of time?
 3    I'm just trying to transition to another general area.       3        A. Over the course of time. It was shift
 4         Have you ever been treated by a doctor who              4   work.
 5    called himself Dr. Akoda?                                    5        Q. Do you remember the names?
 6         A. Yes.                                                 6        A. I do not.
 7         Q. When was that?                                       7        Q. Were the nurses men or women?
 8         A. March 16th into 17th of 2008 -- '16.                 8        A. Women.
 9    Jesus, '16.                                                  9        Q. Can you tell me about when you first met
10         Q. Why were you being treated by Dr. Akoda,            10   Dr. Akoda?
11    for what condition?                                         11        A. He just came in and introduced himself, and
12         A. Delivery, pregnancy.                                12   I guess -- I don't remember -- asked me a few
13         Q. How did you come to be treated by                   13   questions and then --
14    Dr. Akoda?                                                  14        Q. Sure. Did you ask -- oh, go ahead.
15         A. He was the doctor on call, I guess.                 15        A. And then said that he was going to prepare
16         Q. Where?                                              16   the room for delivery.
17         A. At Dimensions Health Systems.                       17        Q. Did he actually prepare the room for
18         Q. Earlier today we were discussing you being          18   delivery?
19    induced to have your labor; is that correct?                19        A. He and another nurse.
20         A. Yes.                                                20        Q. What did they do to prepare the room for
21         Q. Was Dr. Akoda the doctor that induced you           21   delivery?
22    to labor?                                                   22        A. They brought in like a little table and
23         A. No. The nurse -- a nurse gave me the                23   some supplies and moved my bed from where it was into
24    medication.                                                 24   like the middle of the floor.
25         Q. So you were originally seen by another              25        Q. How far along was this in the 22, 24, or 26

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 1    hours you were describing for your labor?                    1   the room with me for the entire time.
 2         A. So I got there around -- so this was                 2        Q. Was your husband with you?
 3    approximately 10:00 in the morning on the 17th. So I         3        A. Yes.
 4    got there the day before on the 16th around 11:30, and       4        Q. Was your mother with you?
 5    I was taken back around 1:00-ish.                            5        A. Yep.
 6         Q. Were you being treated by Dr. Akoda before           6        Q. Was anybody else with you?
 7    you got taken back?                                          7        A. No.
 8         A. No.                                                  8        Q. Did your husband and mother remain with
 9         Q. Were you being treated by any ob/gyn before          9   you --
10    you got taken back?                                         10        A. Yes.
11         A. No.                                                 11        Q. -- barring bathroom trips or whatnot the
12         Q. When you first met Dr. Akoda, did you ask           12   entire time?
13    him at all about his credentials or his background?         13        A. Yes, uh-huh.
14         A. No.                                                 14        Q. Does your husband have any other children
15         Q. Did you at any point ask him about his              15   besides Peyton?
16    background or his experience?                               16        A. Mm-hmm.
17         A. No.                                                 17        Q. How many children does he have?
18         Q. About his credentials?                              18        A. Three.
19         A. I was in labor, ma'am. No.                          19        Q. Do they reside with you?
20         Q. I understand. I'm just asking questions.            20        A. No.
21         A. Oh. No.                                             21        Q. How old are they?
22         Q. Do you know whether Dr. Akoda completed a           22        A. Fifteen, eleven, and seven.
23    residency program?                                          23        Q. And seven?
24         A. I don't know.                                       24        A. Yeah.
25         Q. You don't know?                                     25        Q. Okay. Are they boys or girls?
                                                        Page 87                                                     Page 89
 1         A. No.                                                  1        A. Mixed, two boys and one girl.
 2         Q. Do you know whether Dr. Akoda was board              2        Q. And how old is the girl?
 3    certified by the American Board of Obstetrics and            3        A. The girl is seven.
 4    Gynecology?                                                  4        Q. Okay. So the older two are boys.
 5         A. No.                                                  5        A. Yes.
 6         Q. So I want to talk a little bit more about            6        Q. Do you know if your husband was present for
 7    your labor and delivery experience. About how long           7   their deliveries?
 8    between when Dr. Akoda started treating you and you          8        A. I don't know.
 9    delivered Peyton, about how long was that period of          9        Q. Are the three of them with the same mother?
10    time?                                                       10        A. No.
11         A. About 11, 12 hours or so.                           11        Q. Okay. Do any of them share a mom?
12         Q. Was Dr. Akoda in the room with you that             12        A. Yes, two of them.
13    entire time?                                                13        Q. Which two?
14         A. No.                                                 14        A. The two boys have the same mom.
15         Q. Okay. Did he come in and out of the room?           15        Q. How many children does your mother have?
16         A. Yes.                                                16        A. Two.
17         Q. Approximately how many times, do you know?          17        Q. Do you know if that's the number of
18         A. No, ma'am.                                          18   children she delivered?
19         Q. Was it on a regular schedule or was it just
20    sort of --
21         A. Just -- from my understanding, he was the
22    only physician there, so he was delivering other            22       A.   No, I don't know.
23    babies.                                                     23       Q.   So you have one sibling?
24         Q. Did a nurse stay with you the entire time?          24       A.   Yes.
25         A. They were both in and out. No one was in            25       Q.   Is it a brother or a sister?

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 1         A. A brother.                                          1   your leg?
 2         Q. Older or younger?                                   2        A. During that particular time, I want to say
 3         A. Younger.                                            3   it might have been around 30 minutes, because at that
 4         Q. And he's not a physician?                           4   time the baby's head started coming out but kept going
 5         A. No.                                                 5   back in. So he stayed in the room for a little bit
 6         Q. What does he do?                                    6   longer at that -- at that time.
 7         A. He is a general manager for a nightclub.            7        Q. Did he use forceps or any other tools in
 8         Q. In the area?                                        8   that way?
 9         A. Yes.                                                9        A. No.
10         Q. Does he have any children?                         10        Q. Did you have an epidural during your labor?
11         A. No.                                                11        A. Mm-hmm.
12         Q. About how much time total would you                12        Q. Is that a yes?
13    estimate you spent with Dr. Akoda?                         13        A. Yes, ma'am. Sorry.
14         A. Out of that 12 hours, I want to say maybe          14        Q. Around what time during this whole process
15    eight hours.                                               15   do you remember getting an epidural?
16         Q. So he was with you for eight out of the 12         16        A. The epidural was the night before, so I
17    hours?                                                     17   want to say maybe 11 or 12 in the evening after they
18         A. Yeah, in and out. I was having                     18   had given me the first dosage of Pitocin.
19    difficulties pushing, so he was in and out trying to,      19        Q. So 11 or 12 the night before you delivered?
20    you know, he would come in and then leave and then         20        A. Yes.
21    come back, leave and then come back, and try to get me     21        Q. After you got the epidural, were you
22    to push again, that type of situation.                     22   connected to an IV?
23         Q. Got it. Okay. And each time he would come          23        A. Mm-hmm. Yes.
24    in, approximately how long would he be in the room         24        Q. Is that yes? And you were confined to your
25    for, a couple minutes at a time?                           25   bed; is that correct?

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 1         A. Maybe 10, 15 minutes.                               1        A. Yes.
 2         Q. And you testified that you were pushing for         2        Q. Did the epidural work? Were your legs
 3    a long time; is that correct?                               3   numb?
 4         A. Yes.                                                4        A. Yes.
 5         Q. Okay. I apologize for the personal nature           5        Q. Yes. Okay. You ultimately ended up having
 6    of this question, but were your legs in stirrups or         6   a C-section; is that correct?
 7    were people holding your feet?                              7        A. Yes.
 8         A. They were holding my feet.                          8        Q. And do you understand whether they used the
 9         Q. And who was holding your feet?                      9   C-section as the anesthesia -- I'm sorry. Strike
10         A. My mom and my husband.                             10   that.
11         Q. So your mom was holding one and your               11        Do you know whether they used the epidural as
12    husband was holding the other?                             12   the anesthesia for your C-section or if they gave you
13         A. Yes, ma'am. At a later point there was a           13   something else?
14    nurse there holding -- holding my other leg while my       14        A. They gave me something else.
15    husband was down there with Dr. Akoda.                     15        Q. And did you remain awake during your
16         Q. Okay. So that was one of the two nurses            16   C-section?
17    you were talking about --                                  17        A. Yes.
18         A. Yes.                                               18        Q. Who conducted your C-section?
19         Q. -- who was holding one of the legs --              19        A. Dr. Akoda.
20         A. Yes.                                               20        Q. So when you were laboring and your mom and
21         Q. -- while your husband was standing next to         21   husband had one foot and then later the nurse swapped
22    Dr. Akoda?                                                 22   in for your husband, were you laying on your back?
23         A. Yes.                                               23        A. Yes.
24         Q. And how long was your husband standing next        24        Q. And did you have a sheet over your legs --
25    to Dr. Akoda while he treated you and a nurse held         25        A. Well.

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 1         Q. -- a blanket or something?                        1        A. It was okay.
 2         A. Yeah. I mean, it wasn't over my legs any          2        Q. You had no infection?
 3    longer because my legs was up, but, yeah, it was one      3        A. No.
 4    covering my stomach area.                                 4        Q. How long after you had Peyton did you go
 5         Q. And were you able to see your baby's head         5   back to working? And I understand you were working
 6    coming in and out --                                      6   from home, but did you return to working?
 7         A. Yes.                                              7        A. I want to say -- I want to say I was out
 8         Q. -- over your tummy?                               8   for maybe two months, but I'm not 100 percent sure.
 9         A. Well, because I was up.                           9   I'm pretty sure it was like eight weeks.
10         Q. How were you positioned?                         10        Q. Do you know if there were any medical
11         A. I was like up.                                   11   students or residents present for your labor or
12         Q. If you could describe it a little. We have       12   delivery?
13    the video camera, but it would be helpful if you could   13        A. I don't recall.
14    describe it as well.                                     14        Q. Is it possible that there could have been
15         A. I wasn't laying flat. I mean, I was on my        15   other medical professionals coming in and out the
16    back, but I was kind of in a C kind of position.         16   room?
17         Q. Yep.                                             17        A. It's possible.
18         A. So my body was up like this, and they were       18        Q. Do you know who placed your epidural? Was
19    holding my legs like this. So I was pushing -- they      19   it an anesthesiologist?
20    were -- it's hard to explain.                            20        A. Yes.
21         Q. Yeah.                                            21        Q. So that was a doctor different from
22         A. They were pulling my legs back this way          22   Dr. Akoda?
23    trying to get the baby out.                              23        A. Yes.
24         Q. Yep.                                             24        Q. Was that doctor, the anesthesiologist,
25         A. So I'm up like, and they were pulling my         25   present during your C-section, do you know?

                                                    Page 95                                                       Page 97
 1    legs back. Does that make sense?                          1        A. I don't think it was the same doctor.
 2         Q. Got it. I think it does. So if I can              2        Q. But was there an anesthesiologist --
 3    articulate it correctly, was your -- you were seated      3        A. Yes.
 4    somewhat with your legs elevated.                         4        Q. -- present during your C-section?
 5         A. Yes.                                              5        A. Yes. Yes, because they gave me additional
 6         Q. And you were pushing?                             6   medication before.
 7         A. Yes. Yes.                                         7        Q. You mentioned earlier that, when you came
 8         Q. Is that correct?                                  8   in for your induction or when you scheduled your
 9         A. Yes.                                              9   induction, you expected you would be delivered by
10         Q. And did you actually see the baby's head         10   Dr. Moore; is that correct?
11    when it was coming in and out?                           11        A. Yes.
12         A. Yeah, I saw it twice.                            12        Q. When did you learn that that was not going
13         Q. And did Peyton have hair when he was             13   to happen?
14    delivered?                                               14        A. When Dr. Akoda came in the room and said
15         A. A lot. He still has a lot.                       15   that he was going to be delivering my baby.
16         Q. Peyton was delivered healthy?                    16        Q. So you didn't find that out beforehand?
17         A. Yes.                                             17        A. No.
18         Q. Any issues or concerns from breastfeeding?       18        Q. Did you ask any questions about why
19         A. No.                                              19   Dr. Moore would not be delivering your baby?
20         Q. Was he a good eater?                             20        A. No. At that point I just wanted the baby
21         A. Yes.                                             21   out.
22         Q. How was your labor and delivery recovery         22        Q. How long did you stay in the hospital after
23    yourself?                                                23   you had Peyton?
24         A. It was okay.                                     24        A. Five days? Five days.
25         Q. How was your C-section incision?                 25        Q. Do you know if that was the standard length

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 1    of time or if you stayed any longer for any reason?        1       A. Dionne Lucas...
 2         A. I believe that's the standard length of            2       Q. I might be saying the name wrong. It's
 3    time for a C-section.                                      3   D-I-O-N-N-E.
 4         Q. Did Peyton remain in the hospital with you         4       A. I believe I went to her for a physical. I
 5    that whole time?                                           5   don't remember when, though.
 6         A. Yes.
 7         Q. Is Prince George's Hospital a rooming in
 8    hospital? Do you know what that means?                     8                (Exhibit 2 marked for
 9         A. No.                                                9           identification: History and Physical
10         Q. Did they have the baby sleep with you in          10           Examination re Desire Evans)
11    your hospital room?                                       11           MR. CERYES: Thank you.
12         A. Yes. Yes.                                         12         Q. Ms. Evans, I'm handing you a copy of some
13         Q. Was he sleeping while he was in the               13   medical records that we've received in discovery in
14    hospital at least some of the time?                       14   this case. So you'll see the first page is an
15         A. Yes.                                              15   Affidavit of Authentication of Records. Do you see
16         Q. Did he need to be treated with anything           16   that?
17    initially when he was born? Did he have jaundice or       17         A. Mm-hmm. Yes.
18    any of those types of newborn things?                     18         Q. And you'll see at the bottom there's a
19         A. No, huh-uh.                                       19   little number that starts with the word "plaintiffs."
20         Q. You said he was good?                             20         A. Yes.
21         A. He was good, yes.                                 21         Q. And then a number of zeros and then it says
22         Q. And did a pediatrician come to treat Peyton       22   5833. Do you see that at the way bottom, Plaintiffs'
23    while you were in the hospital, do you remember?          23   5833, all the way at the bottom?
24    Treat, or I should say observe.                           24         A. Oh, yeah, yeah, yeah.
25         A. Yeah.                                             25         Q. So that's what we call a Bates stamp. So

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 1         Q. Yep.                                               1   if I refer you to a Bates stamp, it's the individually
 2         A. Yeah.                                              2   numbered page number specific for this litigation.
 3         Q. After you delivered, did any ob/gyn's come         3   Okay?
 4    to visit you? Did Dr. Moore come and see you at any        4         A. Mm-hmm.
 5    time during those five days?                               5         Q. Do you see that?
 6         A. No.                                                6         A. Yes.
 7         Q. Did any other physicians come to you?              7         Q. Okay. And I'd like to direct you to the
 8         A. No, just had a nurse after that.                   8   second page in that document, which at the top says
 9         Q. Just a nurse?                                      9   History and Physical Examination. Do you see that?
10         A. (Nodding head up and down.)                       10         A. Mm-hmm.
11         Q. Okay. Did anyone talk to you about                11         Q. Okay. And you said yes?
12    postpartum depression when you were being released        12         A. Yes.
13    from the hospital or during your hospital stay?           13         Q. Okay. And at the top it says DOS and then
14         A. Not that I can remember, no.                      14   July 25th, 2016. Do you see that?
15         Q. Do you know what postpartum depression is?        15         A. Yes.
16         A. Yes.                                              16         Q. Is that around the time you think you saw
17         Q. Do you believe you've suffered ever from          17   Dionne Lucas?
18    postpartum depression?                                    18         A. Yes.
19         A. No.                                               19         Q. And to help refresh your recollection, if
20         Q. Have you ever spoken to any of your               20   you take a look at the very next page, you'll see that
21    training psychologists or psychiatrists about             21   the document was electronically signed by Dionne Lucas
22    postpartum depression?                                    22   two days after that date. Do you see that?
23         A. No.                                               23         A. Yes.
24         Q. Were you ever treated by somebody named           24         Q. Does that sound familiar to you that you
25    Dionne Lucas? Maybe a physician's assistant.              25   would have been treated by this physician's assistant

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 1    in July 2016?                                                 1   gynecologist, they gave her a note for reasonable
 2          A. Yes.                                                 2   accommodation, which allowed her to work from home
 3          Q. And looking back to the page that has                3   until August 1st, 2016." Do you see that?
 4    History and Physical Examination at the top, do you           4        A. Yes.
 5    see that?                                                     5        Q. Which gynecologist gave you a note to work
 6          A. Mm-hmm.                                              6   from home?
 7          Q. There's a section that says, History of              7        A. I believe that that was Donna from
 8    Present Illness. Is that correct? Do you see that?            8   Dr. Moore's office.
 9    I'd like to direct you to the first paragraph there,          9        Q. Is that a gynecologist at Dr. Moore's
10    and it starts -- do you see where I am?                      10   office?
11          A. Mm-hmm.                                             11        A. Well, that's the gynecological office, so I
12          Q. It says, "this is a new patient to our              12   would assume that she's a gynecologist.
13    practice. She is complaining of feeling sad all the          13        (Clarification by reporter.)
14    time and having severe anxiety. She just had a baby          14        Q. So that was the other ob/gyn at Dr. Moore's
15    in 03/16 and since then has not been able to sleep."         15   practice you testified about having met with earlier?
16    Do you see that?                                             16        A. Yes.
17          A. Mm-hmm. Yes.                                        17        Q. And did you see her after you delivered
18          Q. Did you say yes? Is that correct for what           18   Peyton?
19    you presented to Dionne Lucas for when you went to see       19        A. For my six-week checkup, I believe.
20    her?                                                         20        Q. And so you went to Dr. Moore's practice but
21          A. Yes.                                                21   saw the other ob/gyn after you delivered Peyton; is
22          Q. The next sentence goes on to say, "She is           22   that correct?
23    afraid to drive her car. She is afraid of walking            23        A. Yes.
24    down the steps with her son because she thinks she           24        Q. Is that the only time you saw that other
25    might drop him. She is afraid to let her son be              25   doctor besides Dr. Moore at Dr. Moore's practice?

                                                   Page 103                                                         Page 105
 1    watched by other people." Do you see that?                    1        A. Yes.
 2         A. Yes.                                                  2        Q. It was after you had delivered?
 3         Q. And was that accurate to how you were                 3        A. (Nodding head up and down.)
 4    feeling at the time?                                          4        Q. That's a yes?
 5         A. Yes.                                                  5        A. Yes. Sorry.
 6         Q. Did you get help having others watch Peyton           6        Q. Thank you. Did any doctor or nurse talk to
 7    when he was an infant?                                        7   you about hair loss after delivery?
 8         A. What do you mean "get help," like mental              8        A. No.
 9    help?                                                         9        Q. Has anyone ever -- any physician ever
10         Q. No, I'm sorry, I mean physical help. Did             10   talked to you about hair loss after delivery?
11    you have others come watch him and so that you could         11        A. No.
12    get a break, take a shower?                                  12        Q. The document goes on to say, "she is
13         A. Yeah, like my family, my mom, my husband.            13   asking --" Do you see where I am?
14         Q. Your family. And how frequently would                14        A. Uh-huh.
15    others come in to help watch Peyton?                         15        Q. "She is asking for an updated letter and
16         A. Daily. Having other people watch him, like           16   evaluation/treatment for this complaint. Prior to
17    sending him to daycare, like that's what --                  17   having her baby she did not have any issues with
18         Q. So your concern was not letting other                18   anxiety or depression." Do you see that?
19    people outside of your family watch him?                     19        A. Yes.
20         A. Yes, yes.                                            20        Q. And then going on to the next page there,
21         Q. Okay. And then it continues to say, "she             21   there is a section that's called "Impression/Plan."
22    is losing her hair." Do you see where I am?                  22   Do you see that?
23         A. Mm-hmm.                                              23        A. Yes.
24         Q. "And has not been able to go into work               24        Q. And the first bullet point there says,
25    since her maternity leave ended. When she saw her            25   "depression/anxiety" and then in parentheses,

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 1    "possible postpartum." Do you see that?                   1        Q. As of July?
 2         A. Yes.                                              2        A. Yeah.
 3         Q. And so are you saying that the physician's        3        Q. Do you know how long you had been working
 4    assistant, Dionne Lucas, who you saw in July 2016 did     4   since your delivery with Peyton as of this time?
 5    not talk to you about postpartum depression?              5        A. I was out of work for like eight weeks.
 6         A. No.                                               6        Q. Okay.
 7         Q. Was this physician's assistant who you saw        7                (Exhibit 3 marked for
 8    the first medical professional you discussed your         8           identification: Medical Records re
 9    anxiety with or your depression with after delivering     9           Desire Evans
10    Peyton?                                                  10           Smith 000001 - Smith 000023)
11         A. Yes.                                             11        Q. Ms. Evans, I'm going to hand you some more
12         Q. On that same paragraph I was just talking        12   medical records that were produced to us in this
13    about, the number 1 under Impression/Plan, do you see    13   litigation for you. And you'll see the very first
14    that?                                                    14   page is a certification of medical records from Kaiser
15         A. Yes.                                             15   Permanente. Do you see that?
16         Q. The last sentence says, "a reassessment          16        A. Yes.
17    during the week of 090516 will be made in our office."   17        Q. Turning to the second page of that
18    Do you see that?                                         18   document, so it has a Bates number ending in 5736 at
19         A. Yes.                                             19   the bottom, do you see that?
20         Q. And did you actually go back for that            20        A. Yes.
21    reassessment?                                            21        Q. Okay. It's double-sided. Thank you.
22         A. No.                                              22        There's a big redacted box up top. Do you know
23         Q. And the sentence before that says, "I have       23   what that's covering?
24    written her a note extending the reasonable              24        A. No.
25    accommodations until the week of 09-12-2016." Do you     25        Q. These are records for you visiting

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 1 see that?                                                    1   Dr. Shanda Smith. Do you see that? On that second
 2         A. Yes.                                              2   page, right under the redaction box, it says, under
 3         Q. So this was in July, and this visit you           3   "Provider Name," "Smith, Shanda J, (MD)." Do you see
 4    came out of it with a note extending your                 4   that?
 5    accommodations to work from home until mid September;     5         A. Yes.
 6    is that a fair summary?                                   6         Q. And this was the Dr. Smith you referred to
 7         A. Yes.                                              7   a little bit earlier this morning; is that correct?
 8         Q. Do you recall now, having seen these              8         A. Yes.
 9    medical records, does it refresh your recollection at     9         Q. Have you ever seen these medical records
10    all about how long you stayed out on maternity leave     10   before?
11    or when you returned to work?                            11         A. No.
12         A. No, because I was -- I still returned to         12         Q. Can you remind me, how is it that you first
13    work; I just was working from home.                      13   came to meet Dr. Smith?
14         Q. Right. I'm sorry. I used rather imprecise        14         A. I had Kaiser and she was one of the doctors
15    language.                                                15   there.
16         So what I meant was return to the workforce.        16         Q. When you say you had Kaiser, that was your
17    So returning to working.                                 17   insurance company?
18         A. Yes.                                             18         A. Yes.
19         Q. So do you remember with any more precision       19         Q. They referred you to her?
20    having now seen this note of medical treatment in July   20         A. Yes.
21    when it is after you delivered Peyton you returned to    21         Q. And how did they come to refer her to you?
22    the workforce?                                           22   So how did they know you were looking for a doctor
23         A. Yeah, I was still working.                       23   like Dr. Smith?
24         Q. So you were working?                             24         A. I called and asked for a doctor. I called
25         A. Yeah.                                            25   to make an appointment, and she was the doctor that

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 1    was assigned to me.                                          1   referring to earlier, or is that a different doctor?
 2         Q. So these records appear to me to have begun          2        A. No, I never saw this doctor. This could
 3    from, at least what we can see, in early 2018. Does          3   have been -- Kaiser also assigns you doctors, so that
 4    that line up with when you believe you first started         4   could have just been a doctor that was listed on my
 5    seeing Dr. Smith, or do you believe you had seen her         5   Kaiser card at the time.
 6    prior to that?                                               6        Q. So that would have been from the insurance
 7         A. No, I believe I said February of '18.                7   company's perspective --
 8         Q. February of '18. Okay. So January of '18             8        A. Correct.
 9    is sort of in the ballpark?                                  9        Q. -- who they told you your primary --
10         A. Yeah. Yes.                                          10        A. My primary care is, correct.
11         Q. I'd like to direct your attention to the            11        Q. And did you ever go to a primary care
12    document Bates-stamped ending in 5742, 5742, and            12   physician when you had your Kaiser insurance?
13    you'll see there's a section there in the middle that       13        A. No.
14    starts with the words "Progress Notes," it's like a         14        Q. And then it goes on to say, "Desire N.
15    heading. Do you see that? Is that a yes?                    15   Evans is a                                           who
16         A. Yes.                                                16   presents for psychiatric evaluation." Do you see
17         Q. And it says, it's from Shanda Smith, MD, on         17   where I am?
18    January 17th, 2018 at 4:10 p.m. Do you see that?            18        A. Yes.
19         A. Yes.
20         Q. And then it says it was signed, right?
21         A. Mm-hmm, yes.
22         Q. And it says, "Psychiatric Evaluation, new
23    evaluation"; is that correct?
24         A. Yes.
25         Q. So this, just trying to orient the timing,

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 1    was after you had delivered Peyton, correct?                 1        A. I wouldn't say most of my life, no.
 2         A. Correct.                                             2        Q. But at any time prior to this had you felt
 3         Q. And was it before or after you had met               3   anxious/depressed?
 4    Plaintiffs' counsel in connection with this or the           4        A. As I mentioned, normal anxious, but nothing
 5    Maryland litigation?                                         5   that I would need to seek help for, no.
 6         A. Before.                                              6        Q. So you think that these medical records are
 7         Q. Before you had met counsel.                          7   inaccurate?
 8         A. (Nodding head up and down.)                          8           MR. CERYES: Objection, form, foundation.
 9         Q. So continuing down the page from where we            9        A. Yes.
10    were, it says "depression and anxiety." Do you see          10        Q. It goes on to say, "reports significant
11    that?                                                       11   anxiety described as excess worry that is difficult to
12         A. Yes.                                                12   control, intermittent panic," it looks like that's
13         Q. Okay. And it says, "Desire N. Evans" --             13   "sx's," which I think is a medical terminology, then
14    and that's you, right?                                      14   in parentheses it says, "SOB/palpitations/insolable
15         A. Yes.                                                15   weeping." Do you see that?
16         Q. --                           who presents           16        A. Mm-hmm.
17    voluntarily to Kaiser Permanente Largo Medical Center       17        Q. Is that yes?
18    Behavioral Health for psychiatric evaluation." That's       18        A. Yes.
19    correct, you presented voluntarily, correct?                19        Q. And then it says, "cries seemingly out of
20         A. Yes.                                                20   the blue for no reason." Is that part that I just
21         Q. "She is self-referred after consultation            21   read accurate?
22    with her primary care doctor, Dilasha Katwal MD, MD."       22        A. Yes.
23    Do you see that?
24         A. Yes.
25         Q. Is that the primary care physician you were

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 1    attachment to her two-year-old son," quote, 'he keeps          1 that correct?
 2    me going,'" end quote. Do you see that?                        2       A. Yes.
 3         A. Yes.
 4         Q. Was that accurate?
 5         A. I guess, yes.
 6         Q. Then it goes on to say, "endorses depressed
 7    mood, anhedonia," I think it's another medical term,
 8    then "initial/middl                                            8        A. Correct.
                                                    you see          9        Q. Then it goes on to say, "Past Psychiatric
10    that?                                                         10   History." Do you see where I am?
11         A. Yes.                                                  11        A. Yes.
12         Q. Aside from the medical word that I don't              12        Q. And it says, "Hx," which I think might be
13    know what it means -- but if you do you can tell me --        13   history, "of symptoms on/off throughout adult life."
14    is that accurate?                                             14   Do you see that?
15         A. Yes.                                                  15        A. Yes.
16         Q. And then it says, "also poor focus at times           16        Q. And you think that's not correct?
17    because of anxiety/thoughts jumping around"; is that          17        A. No.
18    correct?                                                      18        Q. What do you mean "no"?
19         A. Yes.                                                  19        A. Because it wasn't -- it wasn't that kind of
20         Q. And then it says, "works from home so she             20   situation. My mom and -- my mom and dad --
21    can watch her son but he's growing more --
22    growing/more active and this is becoming more of a
23    challenge"; is that correct?
24         A. Correct.
25         Q. So this is from January 2018, and then it

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 1    was only up until 11 weeks ago you started getting             1        Q. When you say it was being forced on you,
 2    more help outside of yourself and your husband for             2   what do you mean?
 3    watching your son during the day?                              3        A. Like my -- people trying to make it seem
 4         A. Correct.                                               4   like I was a certain way. Like I have a stigma on me
 5         Q. Then the next thing is it goes on to say,              5   that I have an attitude or that type of thing, where I
 6    "denies any specific stressors/changes. Does note not          6   don't.
 7    feeling satisfied with where she is in life. 'I have
 8    so many ideas,' end quote. Says she cannot focus or
 9    pursue any of her goals                          Do you        9        A. No.
10    see that?                                                     10        Q. So when you said that they were trying to
11         A. Yes.                                                  11   put it on you -- tell me if I'm misstating things --
12         Q. Is that accurate?                                     12   when you said they were trying to put it on you so
13         A. Yes.                                                  13   that you would talk to someone about it, what did you
14         Q. And was that before you were doing your               14   mean about so that you would talk to someone about it?
15    coursework at Strayer University?
16         A. Yes.
17         Q. It goes on to say, "patient describes
18    herself as very private.

20    mother as well, but their response is to give her             20 go stay with my grandmom.
21    space, and she often can be short/easily irritated,           21       Q. And how old were you approximately when
22    which pushes them away"; is that correct?                     22 this was happening?
23        A. Yes.                                                   23       A. I don't know. Sixteen maybe.
24        Q. And then it says,
                                                            "; is

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25       A. No.                                 25   take it?

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5       A. Ebony Cross.
6       Q. Dr. Cross?




                                                                                                Page 125




                                                          Do you take Peyton to a pediatrician?
                                               11     A. No. I took Peyton the last time -- I took
                                               12 Peyton on -- in March for the first time since he was
                                               13 six months, because I was thinking about putting him
                                               14 in daycare and he needed shots.


                                               16       A. Yes.
                                               17       Q. So he was about two and a half years old
                                               18   when you took him to the pediatrician; is that
                                               19   correct?
                                               20       A. Yes.
                                               21       Q. Was he diagnosed with anything when you
                                               22   took him to the pediatrician?
                                               23       A. No.
                                               24       Q. Does he have any developmental or
                                        t      25   neurological delays?

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 1         A. No. I'm not a doctor, but --                       1   and I'm going to advise you not to answer that
 2         Q. That you know of.                                  2   question.
 3         A. No, I don't think -- I think he's a normal         3        Q. So you're going to accept your counsel's
 4    three-year-old, I guess.                                   4   instruction not to answer?
 5         Q. When you took him to the pediatrician about        5        A. Yes.
 6    six months ago, was he measuring on anticipated            6        Q. So we looked in these records from
 7    schedule?                                                  7   Dr. Smith, and I could not find any mention of
 8         A. Yes.                                               8   Dr. Akoda. Did you mention your experience with
 9         Q. Did you take him to the pediatrician when          9   Dr. Akoda to Dr. Smith?
10    he was an infant?                                         10        A. Yes.
11         A. Yes.                                              11        Q. What did you tell her?
12         Q. And when you took him last six months ago,        12        A. I just told her that I felt uncomfortable
13    how long had it been since you had taken him to the       13   and that I was touched in a way that I felt was
14    pediatrician before that?                                 14   inappropriate and I didn't know how to deal with it.
15         A. He was six months.                                15        Q. Did you tell her by whom?
16         Q. When he was six months old?                       16        A. No.
17         A. Mm-hmm.                                           17        Q. Did you explain to her that it was during
18         Q. Okay. Did you take him back to the same           18   your delivery of your son?
19    pediatrician when he was two and a half?                  19        A. Mm-hmm, yes.
20         A. Yes.                                              20        Q. Yes? You said you felt uncomfortable and
21         Q. In the document that I've handed you marked       21   you believed you were touched inappropriately; is that
22    as Exhibit 3, on the page ending 5743 -- so that was      22   correct?
23    the page we were just last looking at -- in the middle    23        A. Yes.
24    there's a section that says                    Do you     24        Q. Did you say something else too? I may not
25    see that?                                                 25   have gotten it down.

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 1        A. Mm-hmm.                                             1        A. No, that's what I said.
 2        Q. And then there's a section that says                2        Q. Do you believe you told her the name
            Do you see where I am?                               3   Dr. Akoda at that time?
 4        A. Yes.                                                4        A. No.
 5        Q. And it says,                                        5        Q. Did you believe you told her that it was
             Do you see that?                                    6   your obstetrician/gynecologist at the time?
 7        A. Yes.                                                7        A. I told her during the delivery of my son.
 8        Q. Is that referring to                                8        Q. And did you mention it was a doctor?
 9        A. Yes.                                                9        A. Mm-hmm, yes.
                                                                10        Q. Is that yes? Thank you.
                                                                11        Within the same Exhibit 3, if you could turn
12     A. No.                                                   12   back to the page ending in 5741, which is just
13       MR. CERYES: I'm going to object and advise             13   flipping it back a page, there's a section that says
14 you not to answer any questions                              14   "Obstetric History." Do you see that?
                                                                15        A. Mm-hmm.
16        A. Oh. Sorry.                                         16        Q. Is that a yes?
17          MR. CERYES: Okay.                                   17        A. Yes.
18        Q. Were you working at the time in January            18        Q. And it says, "Obstetric History." "The
19    2018 when you went to go see Dr. Smith --                 19   patient has not been asked about pregnancy." Do you
20        A. Yes.                                               20   see that?
21        Q. -- for BlueCross BlueShield?                       21        A. Mm-hmm, yes.
22        A. Yes.                                               22        Q. And you believe that's incorrect; you did
                                                                23   talk about your labor and delivery at least?
                                                                24          MR. CERYES: Objection, form, foundation.
25          MR. CERYES: Objection, form, foundation,            25        You can answer.

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 1          A. Yes. She didn't ask.                                1        A. He was -- he was, like, fondling my
 2          Q. She didn't ask?                                     2   clitoris, saying that he needed to do that in order to
 3          A. Right, she didn't ask, but I told her why I         3   stimulate me to push the baby.
 4    was feeling the way that I was feeling.                      4        Q. And he verbalized that to you?
 5          Q. Okay. And you explained to her that it was          5        A. Yeah, because my husband asked him what was
 6    connected with your obstetric history?                       6   he doing.
 7          A. Yes.                                                7        Q. And were your husband and mother and the
 8          Q. Did she say anything in response to you             8   delivery nurses in the room at the same time this was
 9    when you told her that you had felt uncomfortable or         9   occurring?
10    you were touched inappropriately during your delivery       10        A. Yes. I don't -- I don't remember if the
11    of Peyton?                                                  11   delivery nurse was in there, but my husband for sure
12          A. Just about how I felt about it and how I           12   and my mother for sure.
13    felt it was affecting me, and I just told her that I        13        Q. Was this during the time that your husband
14    didn't want to be touched. And I also explained             14   was standing next to Dr. Akoda?
15    how -- to her how it was affecting my relationship          15        A. Yes.
16    with my husband.                                            16        Q. And so was the delivery nurse holding one
17          Q. What did you tell her in January of 2018           17   of your legs at that time?
18    about how your experience during your delivery of           18           MR. CERYES: Objection, foundation.
19    Peyton has affected your relationship with your             19        Q. Well, we talked about it earlier. I can
20    husband?                                                    20   restate the question.
21          A. Because I don't want anybody to touch me,          21        A. Yes. Yes.
22    and we wanted to have another baby, so that was not an      22        Q. So during the time your husband was
23    option anymore.                                             23   standing --
24          Q. Is that still the case?                            24        A. I'm not -- see, I'm not one hundred percent
25          A. Yes.                                               25   sure because there was a point where they were holding

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 1          Q. When's the last time you engaged in sexual          1   my legs and there was a point where we were just
 2    relations with your husband?                                 2   laying there, he was trying to get me to relax and to
 3          A. Eight months ago.                                   3   push. So I don't really know if the nurse was in
 4          Q. From now?                                           4   there at that particular moment.
 5          A. Yeah.                                               5        Q. Okay. And was it one moment when this
 6          Q. Eight months ago prior? Are you still               6   happened with Dr. Akoda?
 7    trying to have a baby?                                       7        A. I mean, he -- no. He did it several times,
 8          A. No.                                                 8   but it was only spoken of one time because he made it
 9          Q. Did you want to have a baby in January of           9   seem like that was the normal.
10    2018 when you met with Dr. Smith?                           10        Q. Did your husband ask him about it the first
11          A. Well, we wanted to -- after I had my son,          11   time that it happened?
12    that was -- I no longer wanted to have another baby.        12        A. Mm-hmm.
13          Q. So if I can say it back to you, and you can        13        Q. Is that a yes?
14    tell me if I said it the right way.                         14        A. Yes.
15          So is it fair to say that, prior to having            15           MR. CERYES: Let us know if you need to
16    Peyton, you had intended to have more than one child,       16   take a break at any time.
17    but after having delivered him you only wanted to stay      17        A. I'm all right.
18    with having one child?                                      18           MR. CERYES: Okay. I'll get some tissues.
19          A. Correct.                                           19           MS. MCENROE: Do we have a box?
20          Q. And we've made some vague references to            20        A. Thank you.
21    it -- and I know this may not be the easiest thing to       21        Q. When Dr. Akoda was stimulating your
22    talk about -- but for the record and just so that I         22   clitoris, how long did each instance of that last, do
23    fully understand, can you please describe to me the         23   you know?
24    experience with Dr. Akoda that you're talking about         24        A. I don't know. A few seconds maybe.
25    with him touching you during your delivery?                 25        Q. And do you have an estimation of how many

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 1    times that happened?                                      1        Q. Do you have any reason to think you didn't?
 2         A. Several.                                          2        A. No.
 3         Q. Were you ever alone with Dr. Akoda in the         3        Q. And there's -- it then says "encounter
 4    room?                                                     4   documentation." Do you see that? Right above --
 5         A. No.                                               5        A. Yes.
 6         Q. Other than taking Pitocin -- which was used       6        Q. -- where it says scheduled telephone --
 7    to start your induction, correct?                         7   "medication management visit." Do you see that?
 8         A. Yes.                                              8        A. Yes.
 9         Q. -- and the experience we were just talking        9        Q. And it says, "patient called for scheduled
10    about with Dr. Akoda, did your medical professional      10   follow-up, symptoms assessment and medication review."
11    team try any other ways to help speed along your         11   Does that refresh your recollection of having spoken
12    delivery?                                                12   to Dr. Smith?
13         A. No.                                              13        A. Yes.
14         Q. Did they feed you spicy food? I don't            14        Q. "Chart and history reviewed,
15    know. Just anything you can remember.                    15
16         A. No, no.                                          16
17         Q. Okay. Do you know if they continued              17
18    treating you with Pitocin as you were pushing?           18
19         A. I don't remember.                                19
20         Q. If you remember.                                 20
21         A. I don't remember.                                21
22         Q. Is your mother married?                          22
23         A. No.                                              23
24         Q. Does she have a boyfriend?                       24
25         A. Yes.                                             25       A. Yes.

                                                    Page 135                                                    Page 137
 1         Q. Has she had that boyfriend for a while?           1
 2         A. Yes.                                                      A.   Yes.
 3         Q. For about how long?                               3       Q.   Because of those -- the side effects?
 4         A. Over ten years.                                   4       A.   Yes.
 5         Q. Do you guys get along, you and your               5       Q.   It goes on to say:
 6    mother's boyfriend?
 7         A. He's okay.
 8         Q. Directing you back to the exhibit we were
 9    just looking at, which I think was Exhibit 3, take a
10    look at the page ending in 50. It's a little further
11    along in the document. Let me know when you get
12    there. And they are double-sided again.
13         A. Okay.
14         Q. Are you there?
15         A. Mm-hmm. Yes.                                     15       Do you see that?
16         Q. And this in the middle of the page says,         16       A. Yes.
17    "Telephone Contact Summary." Do you see that?            17       Q. Is that all accurate?
18         A. Yes.                                             18       A. Yes.
19         Q. And it's from February 6th, 2018. Do you         19       Q. Is the home that you were buying at that
20    see that?                                                20   time the home you now live in?
21         A. Yes.                                             21       A. Yes.
22         Q. Do you believe you spoke with Dr. Smith in       22       Q. At the time you delivered Peyton were you
23    or around February 6th, 2018 by telephone?               23   dissatisfied with Dr. Akoda's care?
24         A. Yes, I guess. I mean, if she says so, I          24       A. Yes.
25    guess. I don't remember.                                 25       Q. Tell me about that.

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 1         A. I felt like he was inappropriately touching       1                AFTERNOON SESSION
 2    me, which made me uncomfortable for the rest of my        2          VIDEO SPECIALIST: We're back on the record
 3    stay there.                                               3   at 1:44.
 4         Q. Did you tell anybody about that?                  4             EXAMINATION (resumed)
 5         A. Outside of the people in the room, no.            5   BY MS. MCENROE:
 6         Q. When you say outside the people in the            6        Q. Good afternoon, Ms. Evans.
 7    room, did you tell anybody about that who was in the      7        A. Good afternoon.
 8    room?                                                     8        Q. You understand you're still under oath?
 9         A. No. Well, my husband was there, and I told        9        A. Yes.
10    my mom. And she really didn't know, like, she wasn't     10        Q. And you need to still tell the truth?
11    fully aware of what was going on until we explained it   11        A. Yes.
12    to her.                                                  12        Q. What did you do, if anything, to prepare
13         Q. Okay. Even though she had been present in        13   for today's deposition?
14    the room?                                                14        A. Nothing.
15         A. Mm-hmm.                                          15        Q. Did you meet with counsel?
16         Q. That's a yes?                                    16        A. Oh, we had a phone call just about dates
17         A. Yes.                                             17   and times.
18         Q. And did your husband, do you know, if he         18          MR. CERYES: Don't discuss any information
19    said anything to anybody about Dr. Akoda's conduct       19   about what we discussed, but I'll let you share that.
20    that you've described while you were at the hospital?    20        A. No, we just talked about what time to be
21         A. No, not that I'm aware of.                       21   there and that time of situation.
22         Q. Have you ever spoken to an ob/gyn about the      22        Q. And when did you speak with counsel about
23    treatment you got from Dr. Akoda?                        23   the deposition?
24         A. No.                                              24        A. Yesterday.
25         Q. Have you ever talked to any psychiatrist or      25        Q. For how long?

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 1    psychologist about the details of treatment from         1      A. Fifteen, 20 minutes.
 2    Dr. Akoda?                                               2      Q. Is yesterday the first you had learned that
 3        A. Yes.                                              3 you were going to be deposed in this case?
 4        Q. Have you ever gotten a medical opinion from       4      A. No.
 5    any of them on the medical treatment from Dr. Akoda? 5            MR. CERYES: I'm going to object. I think
 6        A. No.                                               6 we're getting into attorney-client privileged
 7           MS. MCENROE: So it's about 1:00. It might         7 material.
 8    be a good time to take a lunch break.                    8        MS. MCENROE: Sure. That's not my
 9           VIDEO SPECIALIST: We're going off the             9 intention. So let me just restate it this way.
10    record at 1:04.                                         10      Q. Prior to your short phone call yesterday,
11        (Proceedings recessed)                              11 had you previously prepared for today's deposition by
12                                                            12 speaking with counsel?
13                                                            13      A. No. I just received the phone call that I
14                                                            14 would be getting a phone call yesterday about the
15                                                            15 deposition today.
16                                                            16      Q. Okay. Did you do anything to prepare for
17                                                            17 your deposition in the Dimensions matter?
18                                                            18      A. No.
19                                                            19      Q. Did you review any documents in preparation
20                                                            20 for today?
21                                                            21      A. No, nothing that I already didn't have.
22                                                            22      Q. And what do you already have about this
23                                                            23 case?
24                                                            24      A. Nothing particular to this case, but I
25                                                            25 reviewed my previous deposition.


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 1         Q. So you have a copy of that deposition               1   gotten to the point where she has retained counsel,
 2    transcript?                                                 2   and in terms of any other communication she has had
 3         A. Yes.                                                3   with her firm, that was for purposes of being
 4         Q. And you reviewed that deposition transcript         4   represented in this matter.
 5    before your deposition today?                               5           MS. MCENROE: Right.
 6         A. Mm-hmm.                                             6           MR. CERYES: So the details, the times and
 7         Q. Is that a yes?                                      7   the dates --
 8         A. Yes, ma'am. Sorry.                                  8           MS. MCENROE: -- is not privileged. It's
 9         Q. Do you have a copy of the complaint in this         9   all information that should be on a privilege log or
10    case?                                                      10   could be put on a privilege log, if you were doing
11         A. I don't have my own copy, no.                      11   that.
12         Q. Have you reviewed it recently?                     12         So I didn't ask her what you talked about or
13         A. Yes.                                               13   what you told her. I'm just asking if she met with
14         Q. Do you remember when you most recently saw         14   anybody in person after she spoke to them on the
15    the complaint in this case?                                15   telephone.
16         A. No.                                                16           MR. CERYES: I'll let you answer that
17           MR. CERYES: Object. Again, I think we're            17   question.
18    getting into attorney-client material. I'm not sure        18         A. Yes.
19    any of this is relevant or discoverable.                   19         Q. Do you remember when that was?
20           MS. MCENROE: Well, it's publicly available          20         A. I do not.
21    information. The complaint can be found online.            21         Q. Until you first communicated with
22           MR. CERYES: Sure.                                   22   counsel -- strike that.
23           MS. MCENROE: I'm just --                            23         Do you have any understanding of whether or not
24         Q. I'm not trying to ask what your counsel            24   Dr. Akoda has pleaded guilty to any crimes in a court
25    told you, but you don't personally have a copy of the      25   of law?

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 1    complaint in this case?                                     1        A. Yes.
 2         A. No.                                                 2        Q. Could you tell me about that?
 3         Q. Did you read and verify it before it was            3        A. I saw on the Internet that he got six
 4    filed?                                                      4   months in jail.
 5         A. Read and verify?                                    5        Q. Do you know for what?
 6         Q. Yeah.                                               6        A. No. I'm not exactly sure what he was
 7         A. I believe it was shown to me, yeah, before.         7   charged with.
 8         Q. Did you review it before it was filed?              8        Q. So have you read the indictment?
 9         A. Yes.                                                9        A. No, I haven't read it.
10         (Clarification by reporter.)                          10        Q. Have you read his guilty plea?
11         Q. We discussed earlier today that you met            11        A. No.
12    your counsel as a result of a radio ad that you heard;     12        Q. Do you have any understanding of whether or
13    is that correct?                                           13   not he was found to have committed Social Security
14         A. Yes.                                               14   fraud?
15         Q. And first your husband heard the radio ad          15        A. No, I do not.
16    and then you heard the radio ad; is that accurate?         16        Q. Do you have any understanding of whether or
17         A. Yes.                                               17   not his criminal conviction had anything to do with
18         Q. Thereafter, how did you make contact with          18   practicing medicine without a license?
19    counsel?                                                   19        A. I do not.
20         A. I called him.                                      20        Q. You don't know one way or the other?
21         Q. On the telephone?                                  21        A. No.
22         A. Yes, ma'am.                                        22        Q. Did you ever look into that?
23         Q. Did you meet anybody in person?                    23        A. Briefly. I just saw that he got six months
24            MS. MCENROE: That's not privileged.                24   in jail, but I don't know anything -- anything in
25            MR. CERYES: I think it is. I think we've           25   depth about it.

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 1         Q. Did you read an article about him getting            1   serving six months in jail; is that correct?
 2    six months in jail?                                          2        A. Correct.
 3         A. I saw it on the news and then I looked it            3        Q. Do you know how long it was in between
 4    up.                                                          4   those two things?
 5         Q. You saw it on the news on the television?            5        A. No.
 6         A. Yes.                                                 6        Q. Were they close in time?
 7         Q. And when you say you saw it on the news, do          7        A. I mean, everything happened pretty fast, so
 8    you recall what news station you were watching?              8   I would say so. I would say -- I would say within two
 9         A. No, just local news.                                 9   months or so.
10         Q. Do you watch a particular station?                  10        Q. Until you had heard the radio ad for the
11         A. Fox, I guess.                                       11   law firm, had you had any suspicion that Dr. Akoda did
12         Q. And you don't believe that they mentioned           12   not go to medical school?
13    what he actually went to jail for?                          13        A. No.
14         A. If they do -- if they did, I don't recall.          14        Q. And until you had heard the radio ad, did
15    I just remember the timing, six months. That's what         15   you have any reason to believe that Dr. Akoda was not
16    stuck out to me.                                            16   a licensed physician?
17         Q. The six months?                                     17        A. No.
18         A. Yep.                                                18               (Exhibit 4 marked for
19         Q. But not what it was that he was -- actually         19          identification: Civil Action re
20    pleaded guilty to.                                          20          Russell, et al. v. ECFMG)
21         A. Right. I know it wasn't what he did to me.          21          MS. MCENROE: Do you want a copy for Paul
22         Q. What do you mean by that?                           22   also?
23         A. I wasn't -- for how I felt that I was               23          MR. CERYES: No, that's okay.
24    treated, I know that he wasn't in jail for that, so         24        Q. Ms. Evans, I'm handing you what has been
25    that was my concern.                                        25   marked as Exhibit 4. Do you recognize this document?

                                                      Page 147                                                     Page 149
 1          Q. Did you ever pursue trying to have criminal         1   You can take a minute and look at it.
 2    charges brought up against him for what he did to you?       2        A. Yes.
 3          A. No. I -- no.                                        3        Q. What is it?
 4          Q. Did you ever pursue a medical malpractice           4        A. The complaint.
 5    suit against Dr. Akoda?                                      5        Q. So this is the complaint in the lawsuit
 6          A. No.                                                 6   that you and some others have filed against the
 7          Q. Did you ever pursue litigation or a lawsuit         7   Educational Commission for Foreign Medical Graduates,
 8    against Dr. Akoda himself?                                   8   correct?
 9          A. No.                                                 9        A. Yes.
10          Q. Sitting here today, do you know where              10        Q. And just so the record is clear, this is
11    Dr. Akoda went to medical school?                           11   the Philadelphia Court of Common Pleas complaint that
12          A. No.                                                12   has since been removed to federal court.
13          Q. Sitting here today, do you know whether            13        And, Ms. Evans, you testified that you saw this
14    Dr. Akoda went to medical school?                           14   before it was filed, correct?
15          A. No.                                                15        A. Yes.
16          Q. Sitting here today -- strike that.                 16        Q. And I'd like to direct your attention
17          Until you had heard or -- strike that.                17   within that document -- it might be easier to find it
18          Comparing the timing between when you heard the       18   from the back. Actually it may be the very last page.
19    radio ad and when you saw on the news that Dr. Akoda        19        If you flip all the way to the very last page,
20    had gone to jail, which happened first?                     20   the back of the documents, I think it's the page after
21          A. The radio ad.                                      21   that one you're looking at. Is that your signature?
22          Q. To make sure I'm understanding, so you             22        A. Yes.
23    first contacted counsel in connection with the lawsuit      23        Q. Okay. And at the top of it, it says
24    against Dimensions and then eventually ECFMG before         24   "Verification." Do you see that?
25    you heard about Dr. Akoda having pleaded guilty and         25        A. Yes.

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 1         Q. And it says, "I verify that the statements           1         Q. It's on page 9.
 2    made in this complaint are true and correct to the           2         A. Okay.
 3    best of my knowledge and belief." Do you see that?           3         Q. That paragraph reads:
 4         A. Yes.                                                 4            "The Plaintiff Desire Evans was a
 5         Q. "I understand that false statements herein           5            patient of Igberase on or about March
 6    are made subject to the penalties of 18 Pa. C.S.             6            17th, 2016. Igberase delivered her
 7    Section 4904 relating to unsworn falsification to            7            child on that date at Prince George's
 8    authorities." Do you see that?                               8            Hospital Center."
 9         A. Yes.                                                 9         Do you see that?
10         Q. It's dated November 9th, 2018, and that's           10         A. Yes.
11    your signature, correct?                                    11         Q. And Ms. Desire Evans, that's referring to
12         A. Yes.                                                12   you; is that correct?
13         Q. So earlier I had asked if you had reviewed          13         A. Yes.
14    and verified the complaint. Does this refresh your          14         Q. And do you understand that Dr. Igberase is
15    recollection that you did verify the complaint?             15   another way to refer to Dr. Akoda as used in this
16         A. Yes.                                                16   complaint?
17         Q. Is it still your belief today that the              17         A. Yes.
18    information about which you have knowledge and belief       18         Q. So is that correct as written in paragraph
19    that's contained in the complaint is true and               19   43?
20    accurate?                                                   20         A. Yes.
21         A. Yes.                                                21         Q. All right. So I want to direct you --
22         Q. Are there things contained in the complaint         22   sorry. We're going to hop around in this document a
23    as you recall it that you did not have knowledge or         23   little bit.
24    belief about?                                               24         I want to direct you all the way back to the
25         A. No.                                                 25   beginning of the complaint, so it will be page 2 at

                                                       Page 151                                                        Page 153
 1         Q. So the information in here is all stuff you          1   the bottom. And you'll see there's a heading that
 2    knew to be true yourself?                                    2   says "Class Action Civil Complaint." Do you see that?
 3            MR. CERYES: Objection, form, foundation.             3        A. Yes.
 4         A. From what I read through, yes. I didn't              4        Q. And there are a number of plaintiffs
 5    find anything that I didn't agree with.                      5   listed, including Desire Evans. Do you see that?
 6         Q. I see. So is it fair, just to make sure I            6        A. Yes.
 7    understand, to say that you had no reason to disagree        7        Q. And then it says, "on their own behalf and
 8    with any of the information in here?                         8   on behalf of all others similarly situated through
 9         A. Correct.                                             9   their undersigned attorneys." Do you see that?
10         Q. But is it also fair to say that there are           10        A. Yes.
11    some things in here about which you did not have            11        Q. Do you have an understanding of what that
12    personal independent knowledge?                             12   means, the on their own behalf and on behalf of all
13         A. Correct.                                            13   others similarly situated?
14         Q. Okay. Sitting here today, do you know of            14        A. Yes.
15    anything contained in the complaint that you now            15        Q. What does that mean?
16    believe to be false or inaccurate?                          16        A. Not only am I speaking for myself but
17         A. No.                                                 17   everyone who was affected.
18         Q. I'd like to direct your attention, you'll           18        Q. And when you say "everyone who was
19    see within the document there are paragraph numbers,        19   affected," what do you mean?
20    so if you keep flipping until the meat of the               20        A. Everyone who was affected by Dr. Akoda
21    complaint gets started, there are paragraph numbers.        21   Igberase, whatever -- everyone that was affected by
22    Could you please flip to paragraph 43?                      22   his actions.
23         That paragraph reads -- are you there? I'll            23        Q. When you say "affected by his actions,"
24    give you a second.                                          24   what do you mean?
25         A. One second.                                         25        A. Everyone that -- everyone that he treated,

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 1    everyone who saw him, everyone who -- all of his            1   but rather knew him as Akoda." Do you see that?
 2    patients.                                                   2        A. Yes.
 3         Q. Do you think that all of his patients had           3        Q. Is it true that you knew Dr. Igberase as
 4    the same experience you did?                                4   Dr. Akoda?
 5         A. I don't know.                                       5        A. Correct.
 6         Q. Have you ever spoken to any of Dr. Akoda or         6        Q. Do you know if anybody else knew of
 7    Dr. Igberase's other patients?                              7   Dr. Akoda actually being Dr. Igberase when they were
 8         A. No.                                                 8   treated by him?
 9         Q. Have you ever met another person who has            9          MR. CERYES: Objection, form, foundation.
10    been treated or had seen Dr. Akoda?                        10        A. I'm not aware.
11         A. No.                                                11          MS. MCENROE: Well, it says none of the
12         Q. And I'm going to use the name Dr. Akoda,           12   patients knew and she's a plaintiff in this case.
13    but you understand that's also to include                  13          MR. CERYES: But you said anyone, not just
14    Dr. Igberase, as we've been discussing?                    14   patients, which would refer potentially to ECFMG
15         A. Mm-hmm, yes.                                       15   personnel.
16         Q. I'd like to direct you back to paragraph           16        Q. Sure. So let me -- let me restate that.
17    44. So that's on the top of page 10 of the complaint.      17        Do you know if any of Dr. Igberase's patients
18    Do you see where I am?                                     18   knew he was Dr. Igberase when he was using the name
19         A. Yes.                                               19   Dr. Akoda?
20         Q. It reads:                                          20        A. I'm not -- I've never spoken to anyone
21           "The Plaintiffs and others similarly                21   else.
22           situated chose Igberase, who they                   22        Q. Do you know about any consents that
23           knew as Akoda, as their                             23   Dr. Igberase or Dr. Akoda's patients provided to him
24           obstetrician/gynecologist, on the                   24   in connection with their treatment?
25           basis of their belief that Akoda had                25        A. No.

                                                      Page 155                                                       Page 157
 1            obtained all necessary credentials                  1         Q. I'd like to direct you to paragraph 47.
 2            and certifications required of                      2   It's still on page 10. It starts:
 3            physicians practicing in the                        3            "On many occasions, Igberase
 4            United States, including                            4            penetrated his patients with parts of
 5            certification from ECFMG."                          5            his body through the vaginal canal
 6         Do you see that?                                       6            and through the stomach in performing
 7         A. Yes.                                                7            medical services. Additionally,
 8         Q. Is that true of yourself?                           8            Igberase performed inappropriate
 9         A. No.                                                 9            examinations of a sexual nature while
10         Q. What do you mean by that?                          10            utilizing inappropriate and explicit
11         A. I didn't choose Dr. Akoda.                         11            sexual language.
12         Q. Did you have any knowledge about his               12            Igberase's penetrations of his
13    credentials when he came to start treating you?            13            patients were clear boundary
14         A. No.                                                14            violations."
15            MR. CERYES: Objection, form, foundation.           15         Do you see that?
16         Q. Did you have any knowledge about his               16         A. Yes.
17    certifications when he came to treat you?                  17         Q. So I have a couple questions. I just want
18         A. No.                                                18   to clarify. It says with parts of his body that he
19         Q. I'd like to direct you to paragraph 45, so         19   penetrated his patients. Did Dr. Akoda penetrate you
20    I'm just going to keep reading, if you're on the same      20   with anything other than his hands or his fingers?
21    page.                                                      21         A. No.
22         It says, "None of Igberase's patients,                22         Q. He didn't ever penetrate you with his
23    including those at Howard University Hospital, Prince      23   penis?
24    George's Hospital Center, and the medical practice of      24         A. No.
25    Abdul G. Chaudry, M.D., knew Igberase's true identity      25         Q. And when it says that he penetrated you

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 1    through the stomach, was that in connection with            1   and/or treated in any manner by Oluwafemi Charles
 2    performing a C-section?                                     2   Igberase," and then in parentheses it says "(a/k/a
 3         A. Yes.                                                3   Charles J. Akoda M.D.)." Do you see that?
 4         Q. Did Dr. Igberase use explicit sexual                4        A. Yes.
 5    language with you?                                          5        Q. And we already talked about that you have
 6         A. I felt the language was inappropriate,              6   not met any other person who is defined in that class;
 7    calling me "Baby" and "Mama" and stuff like that.           7   is that correct?
 8         Q. So besides calling you "Baby" and "Mama,"           8        A. Correct.
 9    was there any other inappropriate language that             9        Q. Have you ever spoken or corresponded with
10    Dr. Akoda used with you?                                   10   anybody else that is defined in that class that you
11         A. No.                                                11   know of?
12         Q. I'm sorry. I didn't hear you.                      12        A. No.
13         A. No. I'm sorry.                                     13        Q. Have you ever met with, in person or on a
14         Q. Thank you. The last sentence in that               14   videoconference or by telephone, anybody else who is
15    paragraph says, "Igberase's penetrations of his            15   defined in that class that you know of?
16    patients were clear boundary violations." Do you see       16        A. No.
17    that?                                                      17           MR. CERYES: Objection, asked and answered.
18         A. Yes.                                               18        Q. Moving along to page 11, paragraph 54 says,
19         Q. Did the words "clear boundary violations"          19   "Named Plaintiffs will fairly and adequately assert
20    come from you? Are those words you used?                   20   and protect the interests of the Class under the
21         A. I didn't say them.                                 21   criteria set forth in Rule 1709. The interests of
22         Q. Do you know what's meant here by "clear            22   named Plaintiffs and of all other members of the Class
23    boundary violations"?                                      23   are identical." Do you see that?
24         A. Yeah.                                              24        A. Yes.
25         Q. What?                                              25        Q. Do you know if your interests and those of

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 1         A. Touching, touching someone and talking to           1   everybody else who has been treated by Dr. Akoda are
 2    them in the way that he did is not -- is a boundary         2   identical?
 3    violation between patient and provider, so 100              3          MR. CERYES: Objection, form, foundation.
 4    percent.                                                    4        A. I don't know.
 5         Q. Are you characterizing your C-section as a          5        Q. Do you know if any of Dr. Akoda's patients
 6    boundary violation?                                         6   were satisfied with his treatment?
 7         A. I'm characterizing the way that he touched          7        A. I don't know.
 8    me prior to my C-section being a boundary violation.        8        Q. Do you think it's possible?
 9         Q. And when you say that, are you specifically         9          MR. CERYES: Objection, form, foundation.
10    referring to the clitoral stimulation?                     10        A. I don't know.
11         A. Yes.                                               11          MR. CERYES: Calls for speculation.
12         Q. To any other part of his treatment?                12        Q. In paragraph 55 it says, "Named Plaintiffs
13            MR. CERYES: Objection, foundation.                 13   are cognizant of their duties and responsibilities to
14         You can answer.                                       14   the Class." Do you see that?
15         A. No.                                                15        A. Yes, ma'am.
16         Q. Moving on to paragraph 48, still on page           16        Q. Earlier today I think I asked you if you
17    10, you'll see there's a heading that says "Class          17   knew what your responsibilities were as a Named
18    Action Allegations P.a. Rule 1702." Do you see where       18   Plaintiff. Do you remember that?
19    that is?                                                   19        A. Yes, ma'am.
20         A. Yes.                                               20        Q. What are those responsibilities?
21         Q. Paragraph 48 says, "Named Plaintiffs bring         21        A. Just to give my account to the best of my
22    this action on behalf of a class which consists of."       22   knowledge and to represent everyone else that feels
23    Do you see where I am?                                     23   the same.
24         A. Yes.                                               24        Q. Did you also provide any input for
25         Q. And then it says, "All patients examined           25   discovery responses in this case?

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 1         A. Did I do what?                                    1   more diligently next time. Because this situation
 2         Q. Provide input for any discovery responses         2   affected not only me but a lot of other people. And I
 3    in this case.                                             3   believe that, if it was done correctly, that none of
 4         A. I don't understand that question.                 4   us would be going through this.
 5            MR. CERYES: Objection to form.                    5         So I just want whoever this person is to pay
 6         Q. Have you ever heard the word                      6   for what he's done, and I want -- I want the facility
 7    "interrogatories"?                                        7   that is supposed to make sure these people are who
 8         A. Yes. Oh, yes.                                     8   they are, I want them to make sure that they are doing
 9         Q. Did you provide any input to support the          9   that.
10    drafting of responses to interrogatories in this case?   10         Q. When you refer to a male, "he," in your
11         A. Yes.                                             11   last answer, were you referring to saying about
12         Q. Having done that and having given input on       12   Dr. Akoda?
13    the complaint, which I think we talked about earlier     13         A. Correct.
14    today, have you done anything else in furtherance of     14         Q. Are you specifically seeking money from
15    your role as a named plaintiff in this lawsuit?          15   ECFMG in this lawsuit?
16         A. No.                                              16         A. I'm not seeking --
17         Q. Aside from showing up today?                     17           MR. CERYES: Objection, form, foundation.
18         A. Right. No, besides this kind of stuff            18   The complaint says what we're seeking on behalf of
19    here.                                                    19   Ms. Evans and the Class.
20         Q. So I'd like to move to paragraph 65 at the       20           MS. MCENROE: I'm allowed to ask the
21    bottom of page 12. It says:                              21   witness about the damages she is seeking, if any.
22            "The likelihood that individual                  22         A. Yes. Yeah, because I missed work. I've
23            members of the Class will prosecute              23   had doctors' appointments. I've had a lot of things
24            separate actions is remote. Also,                24   that I was affected by.
25            because most Class members do not                25         Q. Have you done any calculation of how much

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 1           know that a claim against ECFMG                    1   money that is?
 2           exists."                                           2        A. No.
 3         Did I read that correctly?                           3        Q. Have you collected up any invoices or bills
 4         A. Yes.                                              4   from any of those experiences to be able to help
 5         Q. We talked earlier about the allegations in        5   catalog what that might be?
 6    this lawsuit being about alleged boundary violations      6        A. I haven't collected them, but they're
 7    by Dr. Akoda; is that correct?                            7   readily available, if I needed anything.
 8         A. Yes.                                              8        Q. So what injury, if any, did you experience
 9         Q. Is it your belief that members of the Class       9   as a result of ECFMG's conduct?
10    don't know that their boundaries were violated by        10           MR. CERYES: Objection, form, foundation,
11    Dr. Akoda?                                               11   calls for somewhat of a legal conclusion, but you can
12           MR. CERYES: Objection, form, foundation.          12   answer.
13         You can answer.                                     13        A. Okay. I feel that, because of them, I'm
14         A. No, I can't say that. I wouldn't imagine         14   afraid to seek a doctor. I don't know who to trust.
15    them joining a class if they didn't feel like their      15   I don't know who to send my son to. Because if the
16    boundaries were violated.                                16   places that are supposed to be doing these
17         Q. Do you know if every single one of               17   credentialing, if I can't trust what they're telling
18    Dr. Akoda's patients feels as if they had their          18   me, I don't really know how to do my own investigation
19    boundaries violated?                                     19   to find out if a doctor is really a doctor or who they
20         A. I do not know that.                              20   say they are. So it has diminished my trust in the
21         Q. What are you hoping to get out of this           21   medical profession.
22    lawsuit?                                                 22        Q. Do you have a belief that Dr. Akoda is not
23           MR. CERYES: Objection.                            23   a doctor?
24         A. What I'm hoping is for someone to take           24           MR. CERYES: Objection.
25    responsibility or maybe even do their job a little bit   25        A. Yes.

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 1         Q. From where did you get that belief?                1        A. Yes.
 2         A. Well, from the fact that he's using two            2        Q. Do you draw -- where do you draw the line
 3    different names, we really don't even know who he is,      3   compared to insurance fraud? Is that okay for a
 4    so I don't know -- I can't say what he's done.             4   doctor or not okay for a doctor?
 5         Q. Right. But you used a different name               5        A. No, I mean, nothing is okay. However, when
 6    before you got married, right?                             6   you're dealing with other -- when you're dealing with
 7         A. That's different. My name is going to              7   people's lives and you're treating people, you should
 8    change as a woman. Unless his name is hyphenated, I        8   be who you say you are.
 9    can't really see that is the same.                         9        So him having tax fraud has nothing to do with
10         Q. Do you think there are no scenarios in            10   him faking his identity and telling me that he's
11    which someone could use a different name and still be     11   somebody that he's not. It's not the same.
12    a physician?                                              12        So he should pay for whatever crime he commits,
13            MR. CERYES: Objection, form, foundation.          13   absolutely, but lying about your identity to become a
14         A. Use a different name along with a different       14   doctor or whatever he did is a totally different
15    Social? No.                                               15   situation.
16         Q. Do you know if any of the other physicians        16        Q. Is that something you believe or something
17    who have ever treated you have you ever had               17   someone told you?
18    convictions for any crimes?                               18        A. That's what I believe.
19         A. No, I do not.                                     19        Q. And you think it's okay to be treated by a
20         Q. Do you know if any of them have ever been         20   doctor who smoked pot?
21    convicted for tax fraud?                                  21           MR. CERYES: Objection, form, foundation,
22         A. No, I do not.                                     22   relevance.
23         Q. Do you know if any of them have ever been         23           MS. MCENROE: Well, it's a violation of law
24    convicted for not paying their housekeeper or their       24   and I'm allowed to explore. This is squarely at issue
25    nanny aboveboard?                                         25   for the claims she has brought in this case.

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 1           A. No, ma'am.                                       1        A. Depends on which state they live in because
 2           Q. Do you know if any of them have ever smoked      2   smoking pot is not illegal everywhere.
 3    pot?                                                       3        Q. Is smoking pot legal in Maryland?
 4        A. No. No, ma'am.                                      4        A. No, but it's legal in D.C.
 5        Q. Do you believe that doing any of those              5        Q. So it's not that you have an issue with
 6    things would make them any less of a doctor than they      6   your doctor breaking the law necessarily; it's that
 7    were when they treated you?                                7   you have an issue specifically with Social Security
 8           MR. CERYES: Objection, form.                        8   fraud.
 9        A. I don't think -- I don't think one has              9           MR. CERYES: Objection to form.
10    anything to do with the other, but no.                    10        A. I have -- I have an issue with not knowing
11        Q. So Social Security fraud would have nothing        11   who was treating me, yes.
12    to do with whether someone was actually a doctor.         12        Q. But it's not an issue of whether the doctor
13        A. Using someone else's Social Security               13   has the skills to treat you; it's about whether the
14    number? Absolutely. Because you don't know who that       14   doctor is who they say they are when they're treating
15    person is. You have no idea who you're dealing with.      15   you. Is that right?
16    You're born with one Social Security number. That         16           MR. CERYES: Objection to form.
17    doesn't never change.                                     17        A. I wouldn't know if they really had the
18        Q. Do you know the process for a foreign-born         18   skills if they're not using their correct identity.
19    individual to obtain a Social Security number in the      19        Q. So if a doctor cuts open your abdomen,
20    United States?                                            20   completes a C-section, and mommy and baby both come
21        A. No, but I do believe, once you get it, it          21   out healthy, you doubt that that person is a doctor?
22    doesn't change.                                           22           MR. CERYES: Objection, form.
23        Q. Do you -- so you draw a line between a             23        A. Yeah.
24    doctor committing tax fraud and a doctor committing       24        Q. And if someone completed a residency
25    Social Security fraud?                                    25   program, which is part of medical graduate education,

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 1    you still doubt that that person's a doctor?                 1   experience of Peyton before you heard the radio ad
 2            MR. CERYES: Objection, form, foundation.             2   than you did after you heard the radio ad?
 3         A. Yes.                                                 3        A. No. That was the reason why my husband
 4         Q. And if a person completed all the                    4   told me about the radio ad is because it was something
 5    substantive examinations required to become a                5   that was in our discussion since we had Peyton and we
 6    physician in the United States, do you still doubt           6   didn't know how to deal with it.
 7    that that person is a doctor?                                7        Q. What do you mean you didn't know how to
 8            MR. CERYES: Objection to form, foundation.           8   deal with it?
 9         A. Yes, when you're using a different                   9        A. We didn't know what course we can take,
10    identity, who is to say it was the same person every        10   whether what he did was wrong. We didn't know. We
11    time that they went to take the certification?              11   didn't know anything. We didn't know what to do, but
12    Because obviously the facility is not checking to make      12   we were both uncomfortable. I was uncomfortable and
13    sure this is the same person or to see if this person       13   it affected me.
14    has been there before.                                      14        So when he heard the ad about Dr. Akoda, he was
15         So I don't know if that was the same person            15   like, oh, my God, this is probably what we were
16    that took all of those residencies or that went             16   feeling the whole time, you know, like, so reach out
17    through those programs. I have no idea.                     17   to them because you're not the only person that he's
18         Q. So you are doubting that Dr. Akoda who              18   done this to.
19    completed the residency is not who actually delivered       19        So I wasn't even aware at the time that it was
20    your baby?                                                  20   about him possibly not being a doctor. I thought it
21         A. That's not what I'm saying. What I'm                21   was about him touching women inappropriately, because
22    saying is, is that he could have gotten -- there's a        22   that's how I felt, and that was my main -- my main
23    lot of people who know how to deliver babies who            23   issue at the beginning.
24    didn't go through medical training, like it happens         24        Q. How did you feel when you got the
25    all the time. People give birth in the back of taxi         25   impression that it was possibly about him not being a

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 1    cabs. It happens all the time. It's something that           1   doctor?
 2    people can do.                                               2        A. I felt even worse about it.
 3         So he could have had some kind of other                 3        Q. And if it had turned out that he actually
 4    training, I'm not sure, but I don't know who he is and       4   was really a doctor, would that being told that maybe
 5    I don't know what school he went to. I don't know            5   he wasn't really a doctor be part of what has made
 6    anything about that because he chose to use a                6   your experience worse since that time?
 7    different identity.                                          7          MR. CERYES: Objection, form, foundation.
 8         Q. Did you ask any of those questions before            8        A. So can you say it again?
 9    he delivered your baby?                                      9        Q. So if it turns out that it was wrong that
10         A. I didn't know I had to.                             10   he was not a doctor, so he actually was a doctor, was
11         Q. Did -- have you ever heard of a taxi driver         11   having been told that he was not a doctor part of what
12    delivering a baby by C-section?                             12   caused you anguish since that time?
13         A. No.                                                 13          MR. CERYES: Objection, form, foundation.
14         Q. Have you ever heard of a taxi driver                14        A. I was already feeling anguish, but, yes, it
15    completing a residency program who is not a physician?      15   made it worse.
16         A. Nope.                                               16        Q. How did you come to have the impression
17         Q. What do the words "excruciating emotional           17   that Dr. Akoda may not have been a doctor?
18    anguish" mean to you?                                       18          MR. CERYES: Objection, form, foundation.
19         A. How I feel when I have to talk about what           19        A. Through speaking to counsel.
20    Dr. Akoda did to me.                                        20        Q. Did you do any independent investigation
21         Q. Are those your words? Are those words that          21   about whether that was true?
22    you would use naturally?                                    22        A. What, if Dr. Akoda wasn't actually a
23         A. No. It's how I feel, though.                        23   doctor?
24         Q. Trying to speed this up a little. Sorry.            24        Q. Correct.
25         Did you feel differently about your birth              25        A. I mean, I Googled it. I Googled him. And

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 1    as I mentioned, I saw the news ad where he was            1   that. And then my husband -- me and my husband
 2    actually in jail, so...                                   2   explained to her what happened.
 3         Q. But you mentioned earlier you didn't see          3        Q. Did you discuss anything else?
 4    why he was in jail.                                       4        A. No.
 5         A. No, but I saw that he was in jail.                5        Q. Through your discussions with your husband
 6         Q. So you didn't investigate about whether           6   or with your mother, did you consider going to consult
 7    that was for unlawful practice of medicine?               7   legal counsel?
 8         A. No.                                               8        A. We were thinking about it.
 9         Q. So did you do anything other than consult         9        Q. Did you ever consult with legal counsel
10    with counsel to find out whether Dr. Akoda was a         10   prior to hearing the radio ad?
11    doctor or not?                                           11        A. No.
12         A. No.                                              12        Q. Did you ever consult with another physician
13         Q. You just mentioned a moment ago that your        13   other than Dr. Newton?
14    husband and yourself had discussed your experience       14        A. No.
15    with Dr. Akoda following Peyton's birth; is that         15        Q. Did you consider going to consult with
16    correct?                                                 16   another physician? I don't mean for medical
17         A. Yes.                                             17   treatment. I mean regarding your experiences with
18         Q. Approximately how many times?                    18   Dr. Akoda after your delivery with Peyton.
19         A. It was quite -- it was quite often. It           19        A. No.
20    was --                                                   20        Q. And Dr. Newton is your cousin, we discussed
21         Q. More frequently at one point than another        21   earlier, correct?
22    or consistently throughout?                              22        A. Yes.
23         A. Consistently throughout.                         23        Q. And have you discussed your experiences
24         Q. Was this a daily conversation?                   24   with Dr. Akoda with Dr. Newton?
25         A. I mean, not daily, but it was something          25        A. At the very beginning, yes.

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 1    that -- that affected -- that affected us.                1         Q. When was that approximately?
 2         Q. Did you discuss your experience with              2         A. Maybe April 2016.
 3    Dr. Akoda from your birth with Peyton with your mother    3         Q. Do you remember what you talked about with
 4    following the birth of Peyton?                            4   Dr. Newton?
 5         A. Yes.                                              5         A. I was just explaining to him -- well, I was
 6         Q. How frequently?                                   6   asking him about how -- I was telling him that I felt
 7         A. Maybe three, four times.                          7   uncomfortable and I didn't really know if there was
 8         Q. When most recently?                               8   anything that I could do about it or, like, should he
 9         A. Most recently? Letting her know that I was        9   have done that, like, am I right for feeling this way.
10    coming to a deposition.                                  10   I just wasn't -- I wasn't 100 percent sure if he would
11         Q. Before that time, when most recently to          11   even -- like, if that's really something that you do,
12    that?                                                    12   is that really how you stimulate for a baby to come
13         A. Oh. Maybe a few months ago.                      13   out.
14         Q. And before that?                                 14         Like I had no idea, so I was just trying to get
15         A. Probably a few months before that. I can't       15   a little bit more information about if I -- what I was
16    really say.                                              16   feeling was -- what's the word I'm looking for -- not
17         Q. And do you remember after Peyton's birth         17   accurate, but if what I was feeling was right. Was I
18    when the first time you spoke again with your mother     18   right in feeling that he wasn't supposed to treat me
19    about Dr. Akoda's conduct was? Maybe how old Peyton      19   like that, or he was violating his place, and he said
20    was, if that's helpful.                                  20   that he thought so.
21         A. I told -- we discussed it, like, as soon as      21         Q. What did Dr. Newton tell you?
22    I got home.                                              22         A. He said he thought -- he said he thought
23         Q. Do you remember what you discussed?              23   so. He said he wouldn't touch anyone that way.
24         A. How -- what he did and how it made me feel       24         Q. He's an anesthesiologist, correct?
25    uncomfortable. And then she said I didn't even notice    25         A. Mm-hmm.

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 1        Q. Is that yes?
 2        A. Yes.                                               2        A. No.
 3        Q. So for his profession do you know if he's          3        Q. Do you have any documentation about that
 4    touching anybody's private parts?                         4   experience at all?
 5        A. No.                                                5        A. No.
 6        Q. Do you know when the last time Dr. Newton          6          MS. MCENROE: I'd like to take a quick
 7    delivered a baby was?                                     7   break.
 8        A. No, I don't.                                       8          MR. CERYES: Okay.
 9        Q. Do you know if Dr. Newton has ever                 9          VIDEO SPECIALIST: We're going off the
10    delivered a baby?                                        10   record at 2:29.
11        A. I don't know if he's ever delivered a baby.       11        (Proceedings recessed)
12        Valid, if my feelings were valid, that's the         12          VIDEO SPECIALIST: We're back on the record
13    word I was looking for.                                  13   at 2:41.
14        Q. Oh, from your earlier answer.                     14   BY MS. MCENROE:
15        A. Yes. Yes.
16        Q. Do you use any social media, Ms. Evans?
17        A. Yes.
18        Q. What social media do you use?                     18       A. Yes.
19        A. I have Facebook.
20        Q. Are you on Facebook as Desire Evans?
21        A. Yes.                                              21       A.   Yes.
22        Q. Are you an active user of Facebook?               22       Q.   What hospital was that at?
23        A. Yeah, you can say that.                           23       A.   Laurel?
24        Q. Do you keep a diary, Ms. Evans?                   24       Q.   Where?
25        A. No.                                               25       A.   Wait. Hold on. I was living in -- Laurel

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 1         Q. Do you have a blog?                               1   Regional Medical Center, I'm assuming.
 2         A. No.                                               2       Q. In Maryland?
 3         Q. Do you keep a calendar or a daily diary of        3       A. Yes.
 4    your activities?                                          4          MS. MCENROE: From our perspective,
 5         A. No.                                               5   counsel, there's still some significant open medical
 6         Q. Do you have in your possession any medical        6   records that have not been produced, most notably from
 7    records that were not provided to counsel in this         7   Dr. Donato and Dr. Nnamani,
 8    litigation?
 9         A. No.                                               9       So pending those productions and our ability to
10         Q. You mentioned that you are currently being       10   review them, we're going to suspend the deposition and
11    treated by a Paul Donato, correct?                       11   leave it open.
12         A. Yes.                                             12       We appreciate your attending here today and
13         Q. Do you know if you signed a consent form         13   answering my questions.
14    for Dr. Donato's office to release records about your    14          MR. CERYES: Okay. And we'll evaluate from
15    treatment?                                               15   our perspective -- we have requested those records, so
16         A. I'm pretty sure I did.                           16   once they come in, we'll discuss the proprietary of
17         Q. Do you know if you signed a release or a         17   reopening the deposition at that time.
18    consent form for Dr. Nnamani's office to release         18          MS. MCENROE: We look forward to reviewing.
19    records?                                                 19   Thank you.
20         A. I'm pretty sure I did.                           20          THE WITNESS: I'm going to have to come
21         Q. Have you ever seen those doctors' records        21   back?
22    from either Drs. Donato or Nnamani?                      22          MR. CERYES: We'll see about that.
23         A. No.                                              23       Ms. Evans, I do have just a couple follow-up
                                                               24   questions for you.
                                                               25                 EXAMINATION

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                                                                                        Page 46 (178 - 181)
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                                                    Desire Evans
                                                     Page 182                                                           Page 184
 1    BY MR. CERYES:                                                1   at 2:44 p.m.)
 2         Q. First of all, you were asked by counsel               2    //
 3    some questions about your knowledge of the process            3
 4    that physicians have to go through in order to                4
 5    become -- in order to see and treat patients. Do you          5
 6    recall those questions?                                       6
 7         A. Yes.                                                  7
 8         Q. Okay. Prior to undergoing care and                    8
 9    treatment from Akoda, was it your belief that                 9
10    physicians did have to go through a process in order         10
11    to be entrusted with the responsibility of seeing and        11
12    treating patients as a physician?                            12
13            MS. MCENROE: Objection to form, leading.             13
14         A. Yes.                                                 14
15         Q. Okay. And was it your assumption in                  15
16    agreeing to undergo treatment by the person you              16
17    knew -- you knew as Dr. Akoda, that he had gone              17
18    through that process in a lawful way without having          18
19    misrepresented his identity?                                 19
20            MS. MCENROE: Objection to form, leading.             20
21         A. Yes.                                                 21
22         Q. Okay. And had you understood that Akoda              22
23    had misrepresented his identity in order to go through       23
24    that process, would you have agreed to undergo               24
25    treatment from him?                                          25

                                                        Page 183                                                        Page 185
 1            MS. MCENROE: Objection to form, leading.              1           ACKNOWLEDGMENT OF DEPONENT
 2         A. No.                                                   2
 3         Q. Okay. You were also asked some questions              3        I, DESIRE EVANS, do hereby acknowledge that
 4    about your role as a Class representative in this             4 I have read and examined the foregoing testimony and
 5    case. Do you recall those questions?                          5 that the same is a true, correct and complete
 6         A. Yes.                                                  6 transcription of the testimony given by me, with the
 7         Q. Is it your intention in this case to seek             7 exception of the noted corrections, if any, appearing
 8    on behalf of yourself and others who are patients of          8 on the attached errata page(s).
 9    Dr. Akoda compensatory damages, meaning monetary              9   __________      ____________________________
10    damages, for the emotional distress caused by having         10   DATE           DESIRE EVANS
11    undergone treatment by Akoda in an amount that a jury        11
12    deems appropriate?                                           12
13            MS. MCENROE: Objection to form --                    13 Subscribed and sworn to before me this _____ day of
14         A. Yes.                                                 14 _____________________, 20_____ .
15            MS. MCENROE: -- leading. Counsel is                  15 ___________________________________ (Notary Public)
16    testifying.                                                  16 My Commission expires: _______________________
17            MR. CERYES: That's all I have.                       17
18            MS. MCENROE: No questions from us. Again,            18
19    we suspend the deposition. Thank you.                        19
20            VIDEO SPECIALIST: We're going off the                20 [SEAL]
21    record at 2:44.                                              21
22                                                                 22
23 //                                                              23
24 //                                                              24
25 (The deposition of DESIRE EVANS adjourned                       25


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                                                                                            Page 47 (182 - 185)
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                                                     Desire Evans
                                                        Page 186
 1               CERTIFICATE
 2
 3       I, LINDA S. KINKADE, Registered Diplomate
 4 Reporter, Certified Realtime Reporter, Registered
 5 Merit Reporter, Certified Shorthand Reporter, and
 6 Notary Public, do hereby certify that prior to the
 7 commencement of examination the deponent herein was
 8 duly sworn by me to testify truthfully under penalty
 9 of perjury.
10       I FURTHER CERTIFY that the foregoing is a true
11 and accurate transcript of the proceedings as reported
12 by me stenographically to the best of my ability.
13       I FURTHER CERTIFY that I am neither counsel for
14 nor related to nor employed by any of the parties to
15 this case and have no interest, financial or
16 otherwise, in its outcome.
17       IN WITNESS WHEREOF, I have hereunto set my hand
18 and affixed my notarial seal this 9th day of
19 September, 2019.
20       My commission expires: July 31, 2022
21
22 _______________________________
23 NOTARY PUBLIC IN AND FOR
24 THE DISTRICT OF COLUMBIA
25

                                                        Page 187
 1              WITNESS ERRATA SHEET
 2 REF. NO. 225851                 Page 1 of _____
 3 NAME OF CASE: RUSSELL, et al. v. ECFMG
 4 DEPONENT: DESIRE EVANS
 5 DATE OF DEPOSITION: September 5, 2019
 6 PLEASE INSERT REASON FOR CHANGE:
 7           1. To clarify the record.
             2. To conform to the facts.
 8           3. To correct a transcription error.
 9    Page        Line       Reason No.
10    From ___________________ to __________________
11    Page        Line       Reason No. _______
12    From __________________ to __________________
13    Page        Line       Reason No.
14    From __________________ to __________________
15    Page        Line       Reason No.
16    From __________________ to __________________
17    Page        Line       Reason No.
18    From __________________ to __________________
19    Page        Line       Reason No.
20    From __________________ to __________________
21
22
23 SIGNED: _________________________ DATE: ___________
24 (Signature of DESIRE EVANS)
25


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                Exhibit 54




                                                                  JA3377
                          Case:2:18-cv-05629-JDW
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                                                  22-5 Page:
                                                          86-181488    Date Filed:Page
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                                                                                       2 of 13
              ~
Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                                                         MRN: 11087140
                                                                                                                                                                                                    110871 40
Date of Birth:                                                                                                                                                                                FIN: 307873133

                                                                                            **Auth
                                                                                              Auth (Verified)

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            PORE"EIEDRECDRINV'EncriENCNOIEDOCTYPENAME                    03-16-2016: 0361106
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               Consent to Trealu.....c
                          Treabh—c

               PHYSICIANS NOT AS EMPLOYEES: I acimowiedgeacimowledge that physidans furnishing services, including but not limited to attending physicians,
               radiologists surgeon% emergency department physician% obstetddentgypecologista,                 pathologist% anesthesiologists, neonatologists,
                                                                                    obstatddantgynecologiste, pathologists,
                           intetpreling diagnostic etudes, consultants and assistants to the physicians. ,ARE NOT employees or agents of the hospital.
               Physicians Intetpreling
               understand that I will receive a separate bill from each of these private providers of service.  PatientiPatlerd Representative Initials:
                                                                                                                PatientiPatienl                                               a_
               II am seekingby federal                                      Dimensions Healthcare System fDHS). I understand services are available to me without discriminationas
                                either inpatient or outpatient service from Dinensions
                                        and state law I hereby consent to care and treatment, including but not limited to diagnostic medical therapeutic testing and treatment as may
               prohibited
               be deemed necessary or advisable by my physician, Nether       essoaates, partners or designee, consulting physidans, OHS and its employees, based on histher
                                                                      hisfher assecates,                                                                              hisither
                                                                                                               recommended treatments and/or procedures. I understand that no
               medical knowledge and my health condition, I understand I have a right to limit or refuse reconvnended
               guarantees have been made to me about the outcome of this care. I understand that health related services may be provided by the employees, agents, end
               independent contractors utilized by DHS, including:but not hailed to anesthesiology and other interpretive and diagnostic services.
               Medical Education and Training. I understand that DHS is approved to train medical students, residents, nurses and allied health students. I also understand
                                                                                                 permit such involvement, unless I notify DHS to the contrary in writing with the
               students and residents may observe or participate in patient care. I agree to penal
               understanding the students or resident's work will be under the supervision of a qualified instructor or physician on the medical staff of DHS.

               For Inpatient Only Room charges are incurred for the day of admission or any pert thereof, but not the date of discharge. I acknowledge that check-out See
                                                                                                                                                                       time is 11:00
               a.m. Any balances known to be due for services not covered or partially covered by insurance will be payable at thethe lime of discharge, including but not hated
                                                                                                                                                                           limited to
               applicable coinsurance or deductibles.
               Personal Property and Valuables: I agree that.DHS
               Personel                                                                                                                                          property. I also
                                                             DHS will not be responsible for patient valuables, clothes, personal items, money or other personal pmperty.
                                                                               article not Mined from safekeeping by or for the patient at discharge
               release DHS from any responsibility for loss or damage to any radicle                                                          thscharge or departure from OHS
               premises.
                                             Beneficiadet: Statement for Payment of Medicare Benefits to Hospital and/or Physicians —I certify that the informationgiven by me for
               Only Applicable for Medicare Benefichifiet:
                                                                       correct I authorize any holder of medical or other information about me to release to the Center for Medicare
               payment under title XVIII of the Social Security Act is oorrect
               end Medicaid Services (CMS) or Medicare Intermediaries or Carriers any information needed for these services or a related claim I request that payment of
               and
               authorized benefits bemade
                                     made on my behalf,
                                                                                                  hautel or physician services to DHS and or any physician which renders service to
                            &'/law end AssignmentofBenefits: I assign the benefits payable for huntsl
               Insurance Blling
                                                                stains to Medicare for payment. I certify the registration statements:are true and t as guarantor, agree to pay all
               me and authorize them to submit the necessary dein
               amounts owed for care and treatment to the full extent permitted by law DHS may submit claims                                 or if legally permissible bit me directly for
                                                                                                              dabns to my third party payor or,
               full or partial payment. I understand that OHS may, al its option, delay billing me directly and this does not alleviate my respond/day        payment. I agree to pay all
                                                                                                                                           responsitothry for paynent.
                                                                                                                permitted by law. I assign any benefits which.I or the Insured, Member
               amounts owned by me, or the Insured, Member or Subscriber, for treatment to the full extent permitted
                                                                                                             physician bills. I understand that my insurance, HMO, or other healthcare
               or Subscriber may have or bs entitled to to DHS towards payment of my hospital bills and physidan
               benefits are subjed       wrtheation by DHS andthat I will remain responsible for any unpaid amounts whether or not covered by this assignment to the hill extent
                              subject to verification
               permitted by law. I understand and agree that I am respendble                     charges for menreatmentkervice
                                                                    respeaeble to pay for any shames                                                 careflrealmentrsertice outside of my
                                                                                                             mertreatmentkervice when I access careittealmentrservice
               insurance plan network.
               Notification of Credit Bureaus Reporting: I understand that OHS may report any outstanding self-pay balances to. Credit Bureaus.
               Nofficetion

               Release of Information
                                                             confidential and under certain circumstances is proteded under federal and state laws arid regulations and cannot be
               I understand thatmy medical information is oonfidential
               released without my written authorization unless otherwise provided for in said regulations. I also understand that I may revoke this consent at anytime except to the
               extent that action has been taken in reliance omit:

               I understand that it may be necessary for OHS, its employees, agents, independent contractors and/or my:physician to release end/or disclose all or pod ofmy
               confidential medical information to third parties for the purposes, of providing certain diagnostic treahnent and/or testing which may not he available within DHS.

               I understand that for the sake of convenience and speed of reference,
                                                                                 rare ence, and to                            'burbly of diagnosis and treatment rendered to me, that any
                                                                                                 to further the *Relines: and Imlay
               physician, nurse, or business office representative who has been involved with my treatment at a OHS facility may request that           that the hospital send by facsimile
               transmission to the physician of record, consulting physician oor third party carrier any relevant data from my medical record necessary for continuity of care or
                                                                            facsimile transmission there is a possibility that medical records may inadvertently be misdirected. Not
               reimbursement. It is further understood that with any facsimil
                withstanding such risk, I hereby authonze                     relevantt data in my medical record by facsimile transmission to any physician who has participated in my
                                                 authorize release of any releva
               diagnosis or                                                                                                                 liabihry associated with thoserisks.
                          or treatment et the hospital or to any third party carrier for reimbursement and hereby release OHS from any liabihly                            risks.

                                                                                             tissue/specimens obtained during the course of my care and treabrent.
               I understand that OHS is the owner of any radiographic images and/or hssueispecimens                                                               treatment. The original
                                                   tissue/specimens will not be released. Copies of radiographic images will
               radiographic finis and/or al of the fissue/specimens                                                                oraWded, tome
                                                                                                                           wall be eroWded, to me or my authorized agent upon written
               request fora reasonable fee. Tissue blocks will not be available for recut; but will he
               Piqued                                                                               be avareble                                           facility upon written request.
                                                                                                       avaikible for examination under supervision at our facilih/

                                               Sate Medical Devices act requires manufacturers of certain medical devices to track the distribution and use of said dedces.
               I understand that the Federal Safe                                                                                                                      devices. I
               understand that OHS must facilitate the tracking of th    se devices byy providing the information to the manufacturer with respect to the patient receiving such a device,
                                                                      these
                which includes releasing my social security number lo the manuf      darer of the medical device I may receive, in accordance with the federal law and regulations I
                                                                             manufacturer
                understand that my social security number may be used by the       manufacturer to help locate me if there is a need to contact me with regard to this medical device
                                                                                he maradadurer                                                                                 device..II
                release DHS
                        DHS from:any
                             from any liability that might result from the rele     o this information.
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Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                                                         MRN: 11087140
Date of Birth:                                                                                                                                                                                FIN: 307873133

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                                                         Informaticm To The Maryland Insurance Administration:
                Authorization For The Release Of Medical Information

                Under Maryland law, I have the right to contest a dedsion by an HMO:or health insurer that a proposed or delivered health tare service was nol        medioathi necessary.
                                                                                                                                                                  not medioalh,
                The law allows the Health Education and Advocacy Unit (HEAU) of the      the office of the Attorney General to assist me in filing en internal grievance with the HMO or
                health insurer and allows me to externally appeal the final decision to the Maryland Insurance Administration (MIA). I may appeal the initial decision directly to the
                MIA ill can demonstrate a compelling reason not to file an internal grievance with the HMO or health insurer. A health care provider may also file an           en internal
                                                               signing. this dorm, I either wish to tie
                grievance or external appeal on my behalf By signing                                               gnevance or appeal, or I authorize a health care provider to:file such a
                                                                                                    Me an internal grimace
                           or appeal.
                grievance or

                  understand that, as part of the HEAU assisting me with my internal grievance, or MR handling
                IIunderstand                                                                                             external appeal, the HEAU or MR will contact my HMO-orhealth
                                                                                                            handling; my Somal
                                                                                                          e Memel appeal, or an internal grievance or external appeal filed onmy
                 insurer for an explanation as to its actions in connection wall my internal grievance or edema'                                                              my behaK
                                                                                                                                                                                 behalf.

                I further understand that MIA may receive advice from medical experts or an Independent Review Organization (IRO) while determining whether to uphold or
                                                                     hearth care service was not medically necessary.
                overturn the HMO or health insurer's decision that a heath

                             the grievance or appeal process, the confidentiality of my medical records will be maintained in accordance with Maryland and federal law. I understand
                Throughout the
                that ifI have questions about the contents ofmy medical records to be released, I should contact my health care provider;
                                                                                                                                 provider:

                I understand that my records may by used to develop general statistical information on grievances and appeals, and any statistical reports will not identify me or
                                                     I do not authorize the release of any interruption that would identify me to anyone not mentioned above.
                                        information d:do
                contain any identifying information.

                                                    belied file en internal grievance or an external appeal, I authorize the release ofmy medical records asfolows:
                In the event I, or a provider on my behal                                                                                                 asfollows:

                1. I authorize the Attorney General and MIA to obtain medical records and insurance information for the purpose of investigating
                                                                                                                                   intremigating my gnevance or appeal.
                2. I authorize the Attorney General to release my medical records to MA so that my appeal or grievance may  rney be investigated, and authorize MA
                                                                                                                                                                MIA to release my
                   medical records to the Attorney General so that my appeal or grievance may be investigated.
                3. I authorize MIA to release my medical records to the relevant HMO or health insurer, and/or the HMO's or health insurers legal counsel for the purpose of
                                                                                whichmayresift from such investigation
                   investigating my grievance or appeal or handling any hearing whichmayresin
                4. I authorize MA to transfer my medical records to the Deparknent of Health and Mental Hygiene if my grievance or appeal involves potential issues of quality of
                   care so that the Department may conduct an investigation Into these particular issues.
                5. I authorize MIA to release my medical records to medical everts who may assist MlAwith my grievance or appeal,
                                                                                                                              appeal.

                                                                                            care/seniceArealment, Dimensions Healthcare System's campus baling',
                                                              emkonment in which to deliver caretheniceArealment,
                Toestablish arid maintain the safest possible entionment                                                                                  buildings, property,
                                                              end tobacco-free. Dimensions Healthcare System is dedicated to maintaining a smoke and tobacco-free campus
                peeking lots and operated vehicles are smoke and
                perking
                environment

                                                    lelliatlyo: If you smoke, please stop smoking.
                Dimensions Healthcare Public Health Initiative:

                  This form has been explained to me and I understandits contents. I acinwiedgeacimowledge the following.
                                                                                                           •
                   Ea Receipt of a copy of OHS Notice of Pnwity
                                                           Pnvecy Practices
                   E MyPoly communication needs identified by completing the Communication AssessmentForm
                                                          front Medicare' to Medicare
                   El Receipt of 'An Important Message from                  Medicare beneficiaries
                   ED Receipt ofOHS
                   RI            OHS brochureiNhat
                                      brochureaNhat You Should Know As A Patient'

                PLEASE NOTE: Al patients 18 and over must sign this consent formthemselves,.
                                                                                     themselves unless they have alegd guardian, persond
                                                                                                                                      persOnd representative or are
                                                     submitI/eaten proof of guardanship or representation ttilth
                Incapacitated. If so, the signermust submitmitten                                         with this consent form.
                        egL..
                        egL,                                        3/16/20169:08:34 AM Signed by LEWIS, JANET on 16-Mar-2016    16-Man2016        3/16/2016 9:08.34AM
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                                                                                                 0o:11:04-0400
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                            Signature of Patient                             Date                                Signature of
                                                                                                                           ot Witness                           Dale.
                                                                                                                                                                Date
                                                              Complete the followingsection Hammitt not obtained from the patient.

                Patient is unable to make an informed decision because pelmet
                        isunable                                       patient is (Chockappropriate box):
                 D Minor                years of age without decision-making capacity              0            decisiothmaking capectiy
                                                                                                          Lacks dedsion.making  capacity
                 ID
                 0       Other

                                                                                         3/16/2016 9:08:34 AM
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Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                MRN: 11087140
Date of Birth:                                                                                                                                       FIN: 307873133

                                                                            Auth (Verified) *




              Patient:        13ESit-43     CO     1P-b ryTh                         Date       -E   u.
                                                                                                     Lt. J(0               Time

              I hereby authorize Dr. or Midwife                                                                       to perform an induction of
              labor, and any other surgical or diagnostic procedures that may be required to complete delivery of the baby.

              Type of Induction (Please Indicate):           [i]Elective              fp Medically Indicated

              Please initial each paragraph. If you have questions, please ask the
                                                                               the Doctor/midwife before initialing.

              Possible Benefits and Risks of Labor Induction: I have discussed the risks and benefits of this procedure and I accept the risks of the
              procedure as opposed to simply allowing labor to begin spontaneously at a later date.

               Patient Initials
                 \.•               i have reviewed the benefits of labor induction with my physician/midwife which may include:
                                   • Choosing my delivery date
                                   • Choosing provider who delivers my baby
                                   • Preventing complications for me or my baby due to prolonging my pregnancy
               01 .-1               I have discussed the use of medication for cervical ripening with my provider and I understand the risks of:
                                   • Excessive stimulation of the uterus to the point that mayrequire an emergency delivery, either vaginally or
                                       abdominally.
                                   • I also understand that rarely the uterus may rupture under these circumstances and cause death of my baby
                                       and severe bleeding andlor death
                                                                     death to myself
                                   I understand that inducing labor increases my risk for complications when compared to mothers who begin
                                   labor "naturally." Significant risks for me and my baby include (although frequency not defined):

                                   Risks forMe
                                   • Nausea and vomiting
                                   • Contractions may be increased in intensity and result in increased pain
                                   • Contractions that occur too frequently, too hard and too long, can result In uterine rupture which will result in
                                       a 0-section
                                   • Ineffective contractions after lengthy use of Pitocin may result in a need for a C-section
                                   • Excessive bleeding after delivery may require use of medication to contract the uterus and/or the need for
                                       blood transfusion
                                   •❖ Water intoxication may occur after 24 hours of Pitocin use
                                    C• Abnormal heart beats
                                   • Severe allergic reaction

                                   Risks for my Baby
                                   • Treatment in the Neonatal Intensive Care Unit
                                   • Lower Apgar score (rating of breathing, heart rate, muscle tone, reflexes and color)
                                   • Seizures; brain damage and fetal death can result from decreased oxygen to the baby
                                   C• Cardiac arrhythmias including heart rate too high or too low
                                   • Hemorrhage in the eyes; jaundice of the newborn
                                                                                                                                  Matt
                                                                                                                       PATICAIT I Matt
                                                                                                                       PATICMT
                                  INDUCTION OF LABOR (Page 1 of 3)                                                                   MR:11081140
                                                                                                                                     MR:11081 1.Q
                                          DIMENSIONS HEALTHCARE SYSTEM                                                   R

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Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                         MRN: 11087140
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Date of Birth:                                                                                                                                                FIN: 30787
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                                                                           * Auth (Verified)*




                  Patie In' ials
                                       I have discussed that there is an increased risk that instruments may be used to accomplish a vaginal delivery if
                                      necessary
                     tZ{,-Ct‘          I acknowledge that there may be an increased risk for the need of a blood transfusion which could expose me to hepatitis
                                      C HIV and other infectious diseases
                        ADC            I have discussed the risks associated with various analgesic drugs and techniques that may be used to reduce
                                           pain associated with labor and delivery, either vaginally or by cesarean section, and I understand and
                                      the pain
                                      accept these risks
                    ti.OrN
                    ti.O rN           I have discussed the possibility of failure of the induction attempt with my provider, and I am prepared to be
                                      released from the hospital to my home when failurefailure to enter satisfactory labor has been established and it is
                                      safe for me and my baby to do so (not applicable for medically indicated induction).
                                      I also realize that If I have a cesarean birth it would increase the risks of cesarean sections for subsequent
                                      pregnancies based on the   the reason for the cesarean section and the type of incision or cut into the uterus. I will
                                      incur the usual risks associated with cesarean section that I might have avoided had I had this birth vaginally.
                                      I understand the nature and the purpose of these procedures and t affirm that the risks, benefits, possibility of
                                      complications, as well as expected results and medical alternatives, including the expected consequences of
                                      my refusing the recommended procedure(s), have been explained to me by           by my physician and that I have been
                    c            ,„   given the opportunity to ask quesfions, and have my questions answered to my satisfaction.
                                      I can refuse this procedure without jeopardizing any current or future medical treatments.
                                      I further
                                        further acknowledge that no guarantees have been   been given to me regarding the results of this or other
                                      necessary procedures during my care.

                  My doctor/midwife has explained to me the risks, benefits, possibility for complications, as well as the expected results, medical
                  My
                  alternatives, and the expected consequences of my refusing the recommended procedure(s) if induction is medically indicated
                  These have been explained to me by my provider and I have been given the opportunity to ask questions, and have my questions
                  answered. I wish to go forward with the induction and accept the risks of the procedure as opposed to simply allowing labor to
                  begin spontaneously at a later date.

                  I have read and fully understand this consent form. I understand I should not sign this form if all items, including my
                  questions, have not been explained or answered toto my satisfaction. I understand that I can withdraw this consent at any
                  time before the beginning ofthe                           that It can request that this form be read to me.
                                               the procedure. I understand that


                                               ness                                    Signed:                                P  lent
                                                                                                                              Patient



                  REFUSAL OF INDUCTION
                  The consequences of refusal of induction of labor have been explained by my physicianlmidwife
                                                                                              physician/midwife and '.I have decided to
                  refuse this procedure.


                                           Witness                                     Signed:                                Patient

                                      INDUCTION OF LABOR (Page 2 of 3)                                                        PATIENT LABEL
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Patient Name: ~CLIFTON, DESIRE NICHOLE                                                                                                                           MRN: 11087140
Date of Birth:                                                                                                                                                   FIN: 307873133

                                                                              * Auth (Verified) **




                                             Complete the following section ifconsent is not obtained from the patient.

                Patient is unable to make an intoned decision because patient is (Check appropriate box):

                  O    Miner          years of age without decision-making capacity
                  O    Lacks decision-making capacity
                  O    Other


                                 Patient Representative Signature                                                   Relationship to Patient


                                      Witness Signature (1)                                                          Witness signature (2)

                                                  person 0 By Telephone [Requires two (2) witness signature]
                Consent obtained (Check one). 0 Inperson
                                         Two physician signatures are required in an emergency for consent:

                                                                      M.D.                                                                             M.D.



                 PHYSICIAN/MIDWIFE DECLARATION: Prior to the performance of the procedure described above, I have explained to the patient/sun-ogate
                 decision-maker the nature, purpose, benefits, risks alternative treatments, possible consequences and possible complications. I confirm The
                                                                                                                                                         the
                 above surgery/procedure is correct as to procedure, side and site.

                I checked and the patient is not currently under the influence of any narcotic ormind altering drugs that influences their decision.



                  Physician /Midwife Signature                                                               Date 31iI/ ihe
                                                                                                                  3111/the               Time:         40 ojeh




                                      INDUCTION OF LABOR (Page 3 of 3)
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Patient Name:~ CLIFTON, DESIRE NICHOLE                                                                                                                      MRN: 11087140
Date of Birth:                                                                                                                                              FIN: 307873133

                                                                            *Auth (Verified) *




              DO NOT.SIGN THIS FORM UNTIL A PHYSICIAN HAS EXPLAINED IT TO YOU, YOU HAVE READ IT AND FULLY UNDERSTAND ITS
              CONTENTS.

              Patient:                                                                   Date:                                  Time

              The following has been explained to me in general terms and .I hereby authorize the performance of a VAGINAL DELIVERY WITH
              POSSIBLE CESAREAN SECTION (C-SECTION) which is                    is the delivery of the infant through the birth canal:

              PROCEDURE              Vaginal Birth
                                     Delivery of your infant through the birth canal with the possible use of forceps or vacuum extraction. An episiotomy (an
              PURPOSE                enlargement of the vagina by an incision in the space between the vagina and anus) may be performed as part of the
                                     delivery.
              BENEFIT:               No abdominal incision scars, lower infection rate and decreased healing time

              RISKS (This is not an exhaustive list meaning that there can he    be other unlisted risks):
              • Maternal: Paralysis or partial paralysis, paraplegia or quadriplegia, brain damage, uterine inversion, uterine rupture, need for an
                 emergency C-section, placenta previa, placenta abruption, anal sphincter injury, bowel injury, bladder injury or injury to other abdominal
                 structures, possible fistula formation (opening between bowel, bladder, ureter, vagina and/or skin), perinea{ or genital tears and scars,
                                        clots:, possible emboli (clots or other material that may travel to other parts of the
                 possible formation of clots,                                                                                   body), hysterectomy (removal of
                                                                                                                           the: body)
                 uterus) with possible removal of fallopian tubes and/or ovaries, persistent perinea! pain, amniotic emboli, sexual dysfunction, anal
                 incontinence, urinary urge incontinence, urinary stress incontinence, DIC (disseminated intravascular coagulation), pelvic floor prolapse,
                 cardiac arrest, maternal death and fetal death.
                 Infant: The infant can experience oxygen deficit from a prolapsed cord, brachial plexus injury, nuchal cord, scalp Infection from fetal scalp
              • Infant
                 monitoring, facial nerve injury, precipitous delivery, bleeding in the brain, cerebral palsy, meconium aspiration, newbom neurological
                 symptoms and be stillborn.

              POTENTIAL PROCEDURES AND THEIR RISKS: During labor, we may have to perform one or more of the following procedures or utilize
              one or more of the following in order to assist you with your delivery process:

              • Artificial Rupture of Membranes: a rupture of the membranes by a third party to     to accelerate labor. Risks: Amniotic emboli, prolapsed
                cord, fetal decelerations/fetal distress
              • Amnioinfusion: Instillation of fluid into the amniotic cavity through an intrauterine pressure catheter during labor after rupture of the fetal
                membranes. Risks: increased pressure in uterus, rupture of the uterus, and placenta abruption,
              • F.pisiotomy: A surgical incision made to widen the vaginal opening during childbirth to facilitate delivery. Risks: extension into the anal
                sphincter and/or rectum, infection, increased pain, increased bleeding, prolonged healing time, and increased discomfort once sexual
                intercourse is resumed.
              • Forceps: An instrument used to grasp and extract the fetal head to aid in the vaginal delivery of fetus. Risk for mom: vaginal trauma and
                             for baby: Extra and intracranial hemorrhage, facial nerve palsy, and tower brain injury,
                tears. Risk for
              • Leopold's maneuver A series of four steps used in palpating the abdomen to determine position and presentation of the fetus      fetus. Risk:
                Low risk for placenta abruption.
              • McRobert's maneuver typically done when the baby's shoulder is stuck in the birth canal. Mother is placed in a position that provides
                                                                                                                                           without suprapubic
                flexion of the maternal hips. This position is achieved by hyperflexion of the mothers legs toward her shoulders with or without
                 pressure. Risk for mom: discomfort Risk for baby: neonatal bone                          associated with shoulder dystocia
                                                                                    bone or nerve injuryassociated
              ▪ Woods screw maneuver this procedure involves the progressive rotation of the posterior shoulder in corkscrew fashion to release the
                opposite impacted anterior shoulder. Risk for mom: vaginal trauma and tears. Risk for    for baby: fracture of clavicle.
              • Zavanelli maneuver is an obstetric maneuver that involves pushing back the delivered fetal head into the birth canal in anticipation of an
                                       section. Risk for mom: vaginal tearing, Risk far baby: neonatal bone or nerve injury and fetal death.
                 emergent caesarean Section.
                          Flacenta Removal: procedure where the placenta in separated from the uterine wall and removed from the vagina by the hand of
              • Manual Placenta
                 the provider. Risk: postpartum hemorrhage, retain placental fragments, and pain



                      VAGINAL DELIVERY WITH POSSIBLE CESAREAN SECTION (PAGE
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Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                         MRN: 11087140
Date of Birth                                                                                                                                                 FIN: 307873133


                                                                             * Auth (verified)*




               POTENTIAL PROCEDURES AND THEIR RISKS (Continued)

                    •     Emergency C-Section: a surgical procedure in which incisions are made through a woman's abdomen and uterus to deliver the
                          fetus. Risk for mom: bleeding, pain, infection, death and extended hospital stay. Risk for baby: Incidental Surgical Injuries,
                          respiratory distress, and death
                    •     Cardiotocography: the monitoring of the fetal heart rate and uterine contractions during labor and delivery. Risk forbaby No risks
                          are associated with external monitoring. Fetal scalp infection with internal monitoring.
                    •     Pelvimetry: measurement of the capacity and diameter of the pelvis. Risk: discomfort and pain
                    •     Induction or augmentation of labor use of medication to initiate labor or increase the frequency of uterine contractions. Risk for
                          mom: over stimulation of the uterus, uterine rupture, and placenta abruption. Risk for baby: inability to tolerate medication
                                                                         fetal distrese and neurological damage.
                          administration resulting in fetal bradycardia, fetal
                    •     Transfusion of bloodiblood products: is a procedure to replace blood loss. Risk: carries the risk of exposure to HIV, hepatitis
                          and other infectious diseases and allergic reactions.

               ALTERNATIVE PROCEDURES, TREATMENTS AND THEIR RISKS: The only alternative to a vaginal delivery is a cesarean section (C-
               Section), (This is not an exhaustive list meaning that there can be other unlisted risks).
               • Maternal: Paralysis, urgent hysterectomy, thromboembolic events (blood clots), DIG (disseminated intravascular coagulation), anesthetic
                  complications, major puerperal infection, amniotic fluid embolism, uterine artery pseudoaneurysm, wound infection, hematomas, wound
                  disruption, bladder puncture, ureteral and bowel laceration, persistent pain at the incision site, cesarean scar endometriosis, cesarean scar
                  ectopic pregnancy, placental accretia, dense infra-abdominal
                                                                  intra-abdorninal adhesions, increased hospital stays, lengthy physical recovery, increased
                  risk of readmission, chronic pelvic pain and future uterine ruptures, maternal death and cardiac arrest
                                                                                                                      arrs$t.
               • Infant: Respiratory distress, pulmonary hypertension, excess risk of not breast feeding, surgical lacerations and fetal death.

                                                                LIST MEANING THAT THERE CAN BE OTHER UNLISTED RISKS. WE
               THE INFORMATION GIVEN ABOVE IS NOT AN EXHAUSTIVE UST
               CANNOT PREDICT WHETHER OR NOT ANY OF THE ABOVE MAY BE NEEDED OR MAY OCCUR.

               I understand that the physician, medical personnel and other assistants will rely on statements about the patient, the patient's medical history,
               and other information in determining whether to perform the procedure or the course of treatment for the patient's condition and in
               recommending the above procedure.

               I understand the practice of medicine is not an exact science and that NO GUARANTEES OR ASSURANCES HAVE BEEN MADE TO ME
               concerning the results of this procedure.

               I understand that during the course of the procedure described above it may be necessary or appropriate to perform additional procedures
               which are unforeseen or not know
                                            know to be needed at the time this consent is given, I consent to and authorize the persons described herein to
               make the decisions concerning such procedures, I also consent to and authorize the performance of such additional procedures as they deem
               necessary or appropriate.

               I also consent to diagnostic studies, tests, anesthesia, x-ray examinations and other treatment or courses of treatment
                                                                                                                              treatment relating to the diagnosis
               or procedures described herein.

               BY SIGNING THIS FORM, I ACKNOWLEDGE THAT I HAVE READ OR HAD THIS FORM READ AND/OR EXPLAINED TO ME, THAT I
               FULLY UNDERSTAND ITS CONTENTS, AND THAT I HAVE BEEN GIVEN AMPLE OPPORTUNITY TO ASK QUESTIONS AND THAT ANY
               QUESTIONS HAVE BEEN ANSWERED SATISFACTORILY. ALL BLANKS OR STATEMENTS REQUIRING COMPLETION WERE FILLED
               IN AND ALL STATEMENTS I DO NOT APPROVE OF WERE STRICKEN BEFORE .I SIGNED THIS FORM.




                        VAGINAL DELIVERY WITH POSSIBLE CESAREAN SECTION (PAGE 2 Opal                                         PATIENT LABEL
                                          DIMENSIONS HEALTHCARE SYSTEM
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Patient Name: ~CLIFTON, DESIRE NICHOLE
                               NICHOLE                                                                                                                            MRN: 11087140
                                                                                                                                                                  MRN:
Date of Birth:                                                                                                                                                    FIN: 307873133
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                                                                              * Auth (Verified)*




                 I voluntarily consent to allow Dr.                                  or any physician designated or selected by him or her and all medical
                 personnel under the direct supervision and control of such physician and ail
                                                                                           all other personnel who may otherwise be involved in performing
                                                    rocedures described or otherwise referred to herein. Unless rescinded, this consent will remain in effect
                 such procedures to perform the procedures
                 until net    ry.
                       delivery.

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                                              fitness
                                             Vitness                                    Signed:                                  Patten

                                                Complete the following sectionif consent is not obtainedfrom
                                                                                                         from the patient

                 Patient is unable to make an inforrned decision because patient is Pea appropriate box):

                  El
                  El    Minor          years of age without decision-making capacity
                  0     Lacks decision-making capacity
                  0     Other:


                               Patient Representative Signature                                                      Relationship to Patient


                                     Witness Signature (1)                                                           Witness signature (2)

                 Consent obtained (Check one):       0 Inperson
                                                         person      ❑ By Telephone (Requires
                                                                                     'Requires two (2) witness signature]
                                                   Two physician signatures are required in an emergency for consent:

                                                                       M.D.                                                                           M.D.


                 PHYSICIAN DECLARATION: Prior to the performance of the procedure deathbeddescribed above, I have explained tothe patient/surrogate decision-
                 maker the nature, purpose, benefits risks alternative treatments, possible consequences and possible complications. I confirm the above
                 surgery/procedure is-correct as to procedure; side and site.

                 I checked:and the patient is not currently under the influenc of any narcotic or mind ailed g drug that
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                                                                                                                                          decision.

                   Physician Signature
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                                                                                                                                    Time.
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                 Additional materials used, if any, during the informed consent process for this procedure:




                       VAGINAL DELIVERY WITH POSSIBLE CESAREAN SECTION
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Patient Name:  ~
        Name; tCLIFTON,
                -LIFTON, DESIRE NICHOLE                                                                                                                                                                MRN: 1/087140
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Date of Birth:                                                                                                                                                                                         FIN: 307702910

                                                                                               * Auth (Verified) *




                   Consent to Treatment

                   PHYSICIANS NOT AS EMPLOYEES: I acknowledge that physicians furnishing services, including but not Malted         thrilled to attending physicians,
                                                                          physician% obstetrician/gynecologists, pathologists, anesthesiologists, neonatologists,
                                 surgeons, emergency department physicians,
                   radiologist% surgeon%
                   physicians interpreting diagnostic studies, consultants and assistants to the physicians ARE NOT employees or agents of the                    I.
                                                                                                                                                                  I I
                                                                               these private providers of service.
                   understand that I will receive a separate bill from each of These                               Patient/Patient Representative in"
                                                                                                                                                   Ini4

                                        Inpatient,or outpatient service from Dimensions Healthcare System (OHS).
                   I am seeking either Inpatient                                                                (OHS), Ii understand services are available to me without disaimihztien
                                                                                                                                                                           discrim     a as
                   prchibited by federal and state law
                   prohibited                                                -care and treatment, including but not limited to diagnostic medical therapeutic testing and treatment as may
                                                   law. I hereby consent to tare
                   be deemed necessary or advisable by my physician, his/herhls/her associates, partners or designee, consulting physicians, OHS and its employees, based on hister hisfher
                   medical knowledge and                 condition, I understand I have a right to hint
                                         end my health condition.                                                                                        procedures. I understand that no
                                                                                                      limit or refuse recommended treatments and/or procedures.
                   guarantees have been made to me about the outcome of this care. I understand that health related services may be provided                       employee% agents, and
                                                                                                                                                 proVided by the employee&
                   independent contractors utilized by  OHS, including but not limited to anesthesiology and other interpretive and alagnostinsendces.
                                                     by DHS,                                                                         dagnotcsenAces.

                   Medical Education and Raining:      Understand that DHS
                                           Training, I understand        OHS Is                      Medical students, residents, nurses and allied health
                                                                              is approved to train medical                                                      students, I also understand
                                                                                                                                                        beat students.
                   students and residents may observe or participate in patient care. It agree to permit such involvement, unless I notify OHS to the contrary in writing with the
                                                                                                                                      on the medical staff of MS.
                   understanding the students or resident's work will be under the supervision of a qualified Instructor or physician on                      DNS.

                       inpatient Only
                   For Inpatient       Rpm charges am
                                 Only: Room               incurred for the day of admission or any
                                                      are Incurred                             any part thereof,                      discharge, I admowledge
                                                                                                         thereof, but not the date of discharge.               that check-out time is11:0a
                                                                                                                                                   acanowledgethat                  isMO
                                                            services not covered or partially covered by Insurance
                         Any balances known to be due for -services
                   a.m. My                                                                                 insurance will be payable'at               dischargeeineluding
                                                                                                                              payable at the time of discharge                    Smiled to
                                                                                                                                                                including but not limited
                   applicable-coinsurance
                   applicable coinsurance or deductibles.

                   Personal Property and Valuables: If agree that OHS will not be responsible for patient valuables, clothes, personal items, money or other personal property. I also
                           01-IS from any responsibility for loss or damage to any article not claimed from safekeeping by or for the patient at
                   release DI-IS                                                                                                                                 departure from DHS
                                                                                                                                                at discharge or depailore.from   OHS
                   premises.

                   Only
                   OnlyApplicable                                               Payment-of
                                       Medicare Beneficiaries: Statement for Payment
                                   forMedicare
                        Applicable for                                                    ofMedicare                              Physicians — I certify that the information given by Meier
                                                                                             Medicare Benefits to Hospital and/or Physicians.--                                        meter
                                                                     Act is correct. I authorize any holder of medical or other information about me to release to the Center
                                                           Security.Act
                   payment under title XVIII of the Social Security.                                                                                                    Center for Medicare
                   and Medicaid Services (CMS) or Medicare IntermedlarieS                           inforniation needed for
                                                                 inrennediaries or Carriers any information                  these services or a related claim, I request that payment of
                                                                                                                         forthese
                   authorized benefits be made on my behalf.
                                                       behatt

                   insurance Billing
                   Insurance    Biffing andAssignment ofBenefits: I-assign                                                                            Or anyphysician which renders service to
                                                                                                    far hospital or physician services to OHS and orany
                                                                     I assign the benefits payable for
                                                                                  Medicare for payment It certify the registration statements are true and I,b as
                                                                       .claims to Medicare.for
                        and autherize them to submit the necessary clainsto
                   me andautorize                                                                                                                                as guarantor, agree to pay at
                                                                                                                                                                                             all
                   amounts owed for care and treatment to the full extent permitted by law. OHS  DHS may submit claims to my third party payer payor or, iflegally permissible, bill
                                                                                                                                                                                b€Il me directly for
                                                                                              billing me directly and this does not alleviate my responsibility for payment
                                                                                        dalaybIlling
                                                           that OHS may, at its option, delay
                   full or partial payment, I understand that                                                                                                         payment. I agree to pay all
                   amounts owned by me, or the Insured, Member or Subscriber, for treatment                                          law. II:assign
                                                                                          treatment to the full extent permitted by law                           whioh I or the Insured, Member
                                                                                                                                             assign any benefits which
                   or Subscriber may have or be    entitled to
                                                 be'entitled             towards payment of my hospital
                                                             to, to OHS towards                                 and physician bills. I understand that my insurance
                                                                                                  hospitalbills and                                          insurance, HMO,
                                                                                                                                                                        HMO or other healthcare
                                                                                                                     amountswhether or not covered by this assignment to the full extent
                   benefits are subject to verification by OHS and that I will remain responsible for any unpaid amountswhether
                   permitted by law. I understand and agree that I am  ern responsible                                                                        carertreatment/service outside of
                                                                                                                    careareatmentiservice when I access careareatmentiservice
                                                                           reeponsibte to pay for any charges for sereAreatmentisenfice                                                        ofmy
                   Insurance plan network.

                                                  Reporting: I understand that DHS may report any outstanding self-pay
                   Notification of Credit Bureaus Reporting.                                                  sel€-pay balances  to Credit Bureaus.
                                                                                                                       balaricee to.

                   Release of Infommtion
                                 Infcirmation
                    I understand thal               1pformation is confidential and under certain circumstances is protected under federal and state laws and regulations and cannot be
                                   that my medical information
                                                                                                sa€d regulation& I also understand
                    released without my written authorization unless otherwise provided for in said                                                                  anytime except to the
                                                                                                                        understand. that I may revoke this consent atanytime
                   .extent                                           It.
                    extent that action has been taken in reliance onI.

                   I understand that it may be necessary for DHS,OHS, its employees, agents, independent contractors andforand/or my physintan  to- release and/or disclose all or part of my
                                                                                                                                      physician to
                                                                                                                                and/or testing which may not be available within OHS.
                                        information to third parties for the purposes of providing certain diagnostic treatment andlor
                   confidential medical Information
                                                                                                                    timeliness and quality of diagnosis and treatment rendered to me, that
                      understand that for the sake of convenience and speed of reference, and to further the timeliness
                   I/.understand                                                                                                                                                        thal any
                   physician, nurse, or    business office representative who has been Involved with my treatment
                                       or bushess                                                                treatment at a OHS facility may request that the hospital send by facsimile
                                                                                                                           at'a
                   transmission to the physician of record, consulting physician or thin               carrier any relevant data from my medical record necessary for continuity of rare
                                                                                           third party carder                                                                            care or
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                   reimbursement. II it is further understood that with any facsimile
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                    withstanding such risk, Ii hereby authorize                             data in my medical record by facsimile transmission to any physician who has participated
                                                                          of any relevant data                                                                                            In my
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                    diagnosis or treatment at the hospital or to any third party carrier for reimbursement and hereby release DHSOHS from any liability associated with those risks,
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                   I understand that OHS is the owner of any radiographic images andtor                                         during the course of my care and treatment. The original
                                                                                           and/or tissue/specimens obtained outing
                                      and/Or all of the tissue/specimens will'not
                   radiographic films and/or                             will not be released, Copies of radiographic images:will        provided, to me or my authorized agent upon written
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                   request for a reasonable fee. Tissue blocks will not be available for recut; but will                                     superv€sion at our                       request,
                                                                                                                                                            our facility upon written request.

                                                          Medical Devices act requires manufacturers of certain medical devices to track the distribution and use of said devices. I
                   IIunderstand that the Federal Safe Medical
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                    understand that OHS must facilitate the tracking of these devices by providing the Information                                     tote patient receiving such a device,
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                                                   social security number to the manufacturer of the medical device I may receive, in accordance with the federal law and regulation& I
                    which includes releasing my soda!
                    understand that my  social security number may be used by the manufacturer
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Facility: Prince George's                                                                                                                                                                                Page 2 of 85

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                                                 Document 86-181497     Date Filed:
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                                                                                 Page   11 of 13
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Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                                                           MRN: 11087140
Date of Birth:                                                                                                                                                                                  FIN: 307702910

                                                                                          * Auth (Verified) *




                   Authorization For The Release Of Medical Information To The Maryland Insurance Administration:

                                                                                                                                                      service was
                  Under Maryland law*, Il have the tight to contest a decision by an HMO or health insurer that a proposed or delivered health care setviee   was not medically necessary,
                  The law allows the Health Education and Advocacy Unit (HEM) of the office of the Attorney General to assist me in filing an internal grievance with the HMO or
                  health insurer and allows me to externally appeal the final decision to the Maryland. Insurance Administration (MIA). I may appeal the initial decision directly to the
                  MIA if I can demonstrate a compelling reason not to file an internal grievance with the HMO or health Insurer. A health care provider may also file an internal
                  grievance or external appeal on my behalf. By signing this form, I either wish to file an internal grievance or appeal or I authorize a health care provider to file such a
                  grievance or appeal

                                        part of the HEAU assisting me with my internal grievance, or MIA handling my external appeal, the HEAU or MIA will contact my HMO or health
                  I understand that, as pelt
                  insurer for an explanation as to its actions in connection with my internal grievance            appeab or an internal grievance or external appeal filed on my behalf.
                                                                                              gdevance or external appeal,

                   I further understand that MIA may receive advice from medical experts or an Independent Review Organization (IRO) while determining whether to uphold or
                                              insureds decision that a health care service was not medicallynecessary.
                   overturn the HMO or health insurers

                   Throughout the grievance or appeal process, the confidentiality of my medical records will be maintained in accordance with Maryland and %dual
                                                                                                                                                            %demi law. I understand
                   that if I have questions about the contents of my medical records to be released, I should         ray health care provider.
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                   I understand that my records may be used to develop general statistical information on grievances and appeals, and any statistical reports will not identify me or
                   contain any identifying information. I do not authorize the release of any information that would identify me to anyone not mentioned above.

                                                my behalf, file an internal grievance or an external appeal
                   In the event, or aprovider onmy                                                          l authorize the release of my medical records as follows:
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                   1. I authorize the Attorney General and MIA to obtain medical records and Insurance infon-nation
                   2 I authorize the Attorney General to release my medical records to MIA so that my appeal or grievance may be investigated, and authorize MIA       MIA toto release my
                      medicalrecords to the Attorney General so that my appeal or grievance may be investigated.
                   3. I authorize MIA to release my medical records to the relevant HMO HMO or health insurer, and/or the HMO's or health insurer'slegal. legal counsel for the purpose of
                      investigating my grievance or appeal or handling any hearing which may result from such Investigation.
                   4 I authorize MIA to transfer my medical records to the Department of Health and Mental Hygiene if my grievance or appeal involves potential issues of quality of
                                                                   investigation Into these particular Issues.
                      careso that the Department may conduct an Investigation
                   5, I authorize MIA to release my medical records to medical experts who may assist MIA with my grievance orappeal.

                   To establish and maintain the safest possible environment in which to deliver care/service/treatment, Dimensions Healthcare System's campus buildings, property,
                                                                      tobacco-tree. Dimensions Healthcare System is dedicated to maintaining a smoke and tobacco-free campus
                                                      are smoke and tobacco-ireel
                   parking lots and operated vehicles am
                   environment.

                                                                      you smoke, please stop Smoking
                   Dimensions Healthcare Public Health Initiative: IfWyatt                   smoking.

                   This form has been explained to meandIunderstand Its contents. (acknowledge the following

                     10
                     O    Receipt of a copy of OHS Notice of Privacy Practices
                     O    My communication needs:Identified.by completing the Communication Assessment Form
                     O               "An Important Message from Medicare° to Medicare beneficiaries
                          Receipt of 'An
                     O    Receipt of DHS brochure 'What You Should Know As A Patient'

                   PLEASE                                                    consent form themselves, unl ss they ha a legal gua
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                   iota   e                                    written proof of guardianship or represe ion • h is con
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                                   Jena re Patient                                 Date                                    Signature of Wi ii                                   Date

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                   Patient is unable to make an informed dedsion because patient N (Check approptiatebox):
                    O Minor:               years of age.         D Incubated             0 Unconscious                0 Emergency Psych Services
                    ID Other:


                                            Representative Signature
                                    Patient Representative                                             Date                                Relationship to Patient

                                            Witness signature                                          Date
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Patient Name: CLIFTON, DESIRE NICHOLE                                                                                                                                                                MRN: 11087140
Date of Birth:                                                                                                                                                                                       FIN: 307705442

                                                                                             * Auth (Verified) *




                   Consent to Treatment

                   PHYSICIANS NOT AS EMPLOYEES: I acknowledge that physicians furnishing services, including but not limited to attending physicians,
                   radiologists, surgeons, emergency department physicians, obstetdcianlgynecologists, pathologists, anesthesiologists, neonatologists,
                   physicians Interpreting diagnostic studies, consultants and assistants to the physicians ARE NOT employees or agents of the hospital. I
                   understand that I will receive a separate bill from each of these private providers of service. PatientlPatient Representative Initials:

                   I am:seeking either Inpatient or outpatient service from Dimensions Healthcare System (OHS). I understand services are available to me without discrimination as
                   prohibited by federal and stale law, I hereby consent to care and treatment, Including         tented to diagnostic medical therapeutic testing and treatment as may
                                                                                                including but not limited
                   be deemed necessary or advisable by my physician, his/her associates partners or designee, consulting physicians, OHS and its employees, based on his/her
                   medical knowledge and my health condition. I understand I have a right to limit or refuse recommended treatments and/or procedure& I understand that no
                   guarantees have been made -to  to me about the outcome of this care I Understand that health related services may be provided by the employees, agents, and
                   independent contractors utilized by OHS, including but not limited to anesthesiology and other interpretive and diagnosticservic,es.

                   Medical Education and Training: I understand that DHS Is approved to train medical students, residents, nurses and allied health students. I also understand
                   students and residents may observe or participate in patient care I agree to permit such involvement, unless I notify 01-IS to the contrary In writing with the
                   understanding the students or residents work will he under the supervision of a qualified instncetor or physidan on the medical staff of DHS.
                                                                                                                 not the date of discharge. I acknowledge-that check-out time is11:00
                                                                         day of admission or any pad thereof, butnot
                   For Inpatient Only. Room charges are incurred for the day
                   a m My balances known to be:due for services not covered or partially covered by insurance will be payable at the time of discharge, including but not limited to
                   applicable coinsurance or deductibles.
                                                                                                 patient valuables, clothes, personal Items, money or other personal property. I also
                   Personal Property and Valuables' d agree that OHS will not be responsible for patent
                   release OHS from any responsibility for loss or damage to any article not claimed from safekeeping by or for the patient at discharge or departure from DHS
                   premises.

                   Only Applicable for Medicare Beneficiaries: Statement for Payment of Medicare Benefits to Hospital and/or Physicians— I certify that the information given by me for
                                                                                                                                          ad:rut me to release to the Center forMedicare
                   payment under tide XVIII of the Social Security Act is correct. I authorize any holder of medical or other information about
                                                                                                  information needed for these services or a related claim. I request that payment of
                   and Medicaid Services (CMS) or Medicare Intermediaries or Carriers any Information
                   authorized benefits be made on
                                                on mybehalf.
                                                   my behalf.

                   Insurance Billing and Assignment ofBenefits: I assign the benefits payable for hospital or physician services to OHS and or any physidan which renders service to
                   me and authorize them to submit the necessary claims to Medicare for payment. I certify the registration statements are we and I, as guarantor, agree to pay all
                   amounts owed for care and treatment to the full extent permittedby      by law. OHS may submit claims to my third party payer or, iff legally permissible, bill me directly for
                                                                                                                           does not alleviate my responsibility for payment I agree to pay all
                    full or partial payment. I understand that OHS may, at es option, delay billing me directly and this doesnot
                   amounts owned by me, or the Insured, Member or. Subscriber, for treatment to the full extent permittedby law, I assign any benefits which l:or the Insured, Member
                    or Subscriber may haveor   or be entitled to, to OHS towards payment of my hospital bills end physician bills I understand that my insurance, HMO, or other healthcare
                    benefits are subject to verification by OHS end!hall will remain responsible for any unpaid amounts whether or not covered by this assignment to the full extent
                    permitted bylaw. I understand and agree that   that I am responsible to pay for any charges for careereatmentiservice when I access careltreatmentiserviee outside of my
                    insurance plan,network.

                    Notification of Credit Bureaus Reporting:.I understand that OHS may report any outstanding self-pay balances to Credit Bureaus.

                   Release ofInformation
                                                  information is confidential and under certain dreumstances is protected under federal and state laws and regulations and cannot be
                   1 understand that my medical Information
                   released without my written authorization unless otherwise provided for in said regulations. .I also understand that I may revoke this consent at anytime except to.the
                   extent that action has been taken in reliance on it.
                                                                                                Independent contractors and/or my physician to release and/or disclose all or part of my
                   I understand that it may be necessary for OHS, its employees, agents, Independent
                   contidentMl medical information to third parties for the purposes of providing certain diagnostic treatment and/or testing which may not be availablewithin OHS.

                   I understand that for the sake <if oanvenience and speed of reference, and to further the timeliness and quality of diagnosis and treatment rendered to me, that any
                   physician, nurse, or business office reprecentative who has been Involved with my treatment at a OHS fadlity may request that the hospital send by facsimile
                   transmission to the physicianof record, consulting physician or third party carrier any relevant data from my medical record necessary for continuity of care or
                   reimbursement. It is further understood that with any facsimile transmission there Is     is a possibility that medical records may Inadvertently be misdirected. Not
                   withstanding such risk, I hereby authorize release of any relevant data in my medical record by facsimile transmission to any physician who has participated In my
                   diagnosis or treatment at the hospital or to any third party carrier for reimbursement and hereby release DHS from any lability associated with those risks.

                    I understand that OHS is the owner of any radiographic images and/or essue/specimens
                                                                                                  tissue/specimens obtained during the course of my care and treatment. The original
                    radiographic films and/or all of the tissuerspecimens will not be released. CopMs of radiographic Images will be provided to me or my authorized agent upon written
                    requestfor a reasonable fee. Tissue blocks will not be available for recut; but will be available for examination under supervision at our facility upon written request,

                   I understand that the Federal Safe Medical Devices ad requires manufacturers of certain medical devices to track the distribution and use of said devices. I
                   understand that DHS must facilitate the tracking of these devices by providing the information to the manufacturer with respect to the patMnt receiving such a device,
                   which includes releasing my social security number to the manufacturer of the medical device I may receive, in accordance with the federal
                                                                                                                                                          federal law and regulations. I
                   understand that my social security number may be used by the the manufacturer to help locate me if there is a need to:contact me with regard to this medical device. I
                   release OHS from any liability that mightresult from the release of thisinformation.
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Patient Name: CLIFTON, DESIRE NICHOLE
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Date of Birth:                                                                                                                                                                                      FIN: 307705442

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                    Authorization For The Release Of Medical Information To The Maryland InsuranceAdministration:

                                     laW, 1.have the right to contest a decision by an HMO or
                    Under Maryland law,                                                      tor health insurerthat a proposed or delivered health care service was not medically necessary.
                    The law allows the Health Education and Advocacy Unit (HEAU) ofthe      the office of the Attorney General to assist me in filing an internal grievance with the HMO or
                                                                                                                                                                 initial decision directly to the
                    health insurer and allows me to externally appeal the final decision to the Maryland Insurance Administration (MIA). I may appeal the
                                                                                     internal grievance with the HMO or health insurer. A health care provider may also file an intemal
                    MIA if I can demonstrate a compelling reason not to file an intemal
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                    grievance or Edema! appeal on my behalf. By signing this form, I either wish to file an internal grievance or appeal, or Ii authorize a health care
                    grievance or appeal.
                                                                                                                                                                                         health
                    I understand that, as part of the HEAU assisting me with my internal grievance, or MIA handling my external appeal the HEAU or MIA will contact my HMO or
                    Insurer for an explanation as  to its actions In connection with my internal grievance or external appeal, or an internal grievance or external appeal filed on my behalf.

                     further understand that MIA may receive advice from                                                Organization (IRO) while determining whether to uphold or
                                                                        trom medical experts or an Independent Review organization
                    overturn the HMO or health Insurer's decisionthat a health care service was not medicallynecessary.

                    Throughout the grievance or appeal process, the confidentiality of my medical records will be maintained in accordance with Maryland and federal law. I understand
                    that if I have questions about the contents of my medical records to be released, I should contact my health care provider.

                                                                                                                                   appeals, and any statistical reports will not Identify me or
                                                                                                  informathon on grievances and appeals
                    I underStand that my records may be used to develop general statistical information
                    contain any identifying information. I do not authorize the release of any information that would identify me to anyone not mentioned above.

                    In the event I, or a provider on my behalf, file an internal grievance or an external appeal, I authorize the release of my medical records as follows:

                                                                                  records and insurance information for the purpose of investigating my grievance erappeal.
                    1. I authorize the Attorney General and MIA to obtain medical reoaids                                                                         orappeal.
                    2. I authorize the Attorney General to release my medical records to MIA so that my appeal or grievance may be investigated, and authorize MIA to release my
                       medical records to the Attorney General so that my appeal or grievance may be investigated.
                                                                                                                                            insureris legal counsel for the purpose of
                    3. I 'authorize MIA to release my medical records to the relevant HMO or health insurer, and/or the HMO's or health insurer's
                    a
                       Investigating my grievance or appeal or handling any hearing which may result from such investigation.
                    4 I authorize MIA to transfer my medical records to the Department of Health and Mental Hygiene if my grievance or appeal involves potential issues of quality of
                       care so that the Department may conduct an investigation Into
                                                                                 into these particular issues.
                    5. I authorize MIA to release my medical records to medical experts who may assist MIA with my grievance orappeal.

                                                                                                  carelseMcerireatrnent, Dimensions Healthcare System's campus buildings, property,
                    To establish and maintain the safest possible environment in which to deliver careSeMcerireatment,
                    parking lots and operated vehicles are smoke and tobacco-free. Dimensions Healthcare System is dedicated to maintaining.a smokeand
                                                                                                                                                smoke and tobacco-free campus
                    environment
                    environment.

                                                        initiative: Ifyou smoke, please stopsmoking.
                    Dimensions Healthcare Public Health Initiative:                     stopemoking.

                     This form has been explained to me and! understand its contents. 1
                                                                                      I acknowledge the following:

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                         e • eceipt of a copy of DHS Notice ofPrivacy
                                                              Privacy Practices         -
                      a Myycommunication needs Identified by completing the COrnmunicetton
                                                                                COrnmunicetion Assessment Form
                      O Receipt of "An  An Important Message from Medicare' to Medicare benefidarles
                                                                                        beneficiaries
                      O Receipt of OHS brochure 'What You  You Should Know As A Patient'

                    PLEASE NOTE: All patients 18 and overmustsign
                                                           must sigh this consent form themselves, unless they have.:
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                                                                    Compfete the following section if consentis
                                                                                                      consent is not obtained from the patient.

                    Patent is unable to make an informed decision because patient is (Check appropriete box):
                     O Minor:              years of age           0 Incubated             0 Unconscious                  0 Emergency Psych Services
                     O Other ,]


                                      Patient Representative Signature                                    Date                                Relationship to Patent

                                              VVItness signature                                          Date


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                Exhibit 55
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             2:18-cv-05629-JDW  22-5 Page:
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                     *
ELSA M. POWELL AND DESIRE EVANS,
                                                      *      Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                      *      Hon. Wendy Beetlestone
       v.
                                                      *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES                             *

               Defendant                              *

               *          *   *       *       *       *      *       *      *       *       *

                    PLAINTIFF DESIRE EVANS’S ANSWERS TO FIRST SET OF
                     INTERROGATORIES AND RESPONSES TO FIRST SET OF
                        REQUESTS FOR PRODUCTION OF DOCUMENTS


       Plaintiff, Desire Evans, pursuant to Federal Rules Civil Procedure 26, 33 and 34, serves

the following Answers to First Set of Interrogatories propounded by the defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party’s attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.




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                                                             Page   33of
                                                                       of30
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       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to object

to the admissibility of the information.

                                  ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

        Describe in detail each and every instance in which you were a patient of Akoda,
including how you chose Akoda as your doctor, the date you were a patient, and the specific
nature of the treatments and examinations performed.

ANSWER:

       Objection is made to this interrogatory as it overly broad and unduly burdensome,

and concerns matters which are more appropriately addressed by deposition. Without

waiving this objection, the Plaintiff was a patient of Akoda during her labor on March 17,

2016 and the subsequent delivery of her infant. The Plaintiff further refers Defendant to the

Plaintiff’s medical records for details relating to her care and treatment by Akoda. The

Plaintiff went to Prince George’s Hospital Center for her delivery because her primary

OBGYN treated patients there.

INTERROGATORY NO. 2:

         Describe in detail the alleged injuries for which you are seeking to recover in this
litigation, including when you first became aware of those injuries, how you became aware of
those injuries, whether you have seen any health care provider for treatment of those alleged
injuries and if so, who and when, and each and every aspect of those injuries.

ANSWER:

       This Plaintiff will be claiming non-economic damages for her pain and suffering, as

well as Plaintiffs’ loss to her marital relationship. This Plaintiff has in the past, is presently,

and will in the future continue to suffer excruciating emotional anguish as well as fear and

anxiety, as a result of learning that Akoda was a fraud. This Plaintiff will also be claiming


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economic damages for past, present and future medical expenses, lost wages, future health

and life care needs, including but not limited to psychiatric and/or psychological counseling.

Copies of billing invoices for prior medical care will be provided as they become available.

Copies of Plaintiffs’ life care plan and economic report will be provided upon completion.

This answer will be supplemented as discovery proceeds.

       The Plaintiff first experienced her injuries and damages relevant to this matter upon

learning about Akoda’s fraudulent conduct. She first learned this information from the

radio. She subsequently looked up information about Akoda on the internet.

       The Plaintiff is undergoing care from a psychologist, Paul Donoto, PhD and a

psychiatrist, Ijeoma N. Nnamani, M.D. and is currently taking

                This answer will be supplemented as discovery proceeds.

INTERROGATORY NO. 3:

        Describe in detail all facts that support the allegation in the Complaint that ECFMG owed
a duty to Plaintiffs and the Putative Class Members.

ANSWER:

        Objection is made to this request as it is overly broad and unduly burdensome, and

calls for a legal conclusion. Without waiving this objection, the facts that support these

allegations are set forth in the Complaint, including but not limited to paragraphs 5, 10-47

and 69-69.

       ECFMG holds itself out as protecting the public through its programs and services,

including primary-source verification of physician credentials. ECFMG undertook to render

certification services and primary source verification services, among others, for Igberase on

multiple occasions, under multiple identifies, and to represent to Howard University




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      Case:
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Hospital, Prince George’s Hospital Center, the Maryland Board of Physicians, among

others, that Igberase was a bona fide medical doctor.

       ECFMG owed a duty to Plaintiffs and other members of the Class to carefully review

Igberase’s multiple applications for certification, appropriately perform primary source

verification and to carefully investigate Igberase when it was informed that Igberase was

using a false social security number, potentially a false name, and other false documentation.

       The Plaintiffs’ investigation is ongoing.

INTERROGATORY NO. 4:

       Describe in detail all facts that support the allegation in the Complaint that ECFMG
breached a duty owed to Plaintiffs and the Putative Class Members.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

calls for a legal conclusion. Without waiving this objection, the facts that support these

allegations are set forth in the Complaint, including but not limited to paragraphs 70-80.

       ECFMG, in breach of its duty to the Plaintiffs and Putative Class Members, failed to

detect that Igberase’s medical school diploma was in the name of Johnbull Enosakhare

Akoda, not John Charles Akoda or John Charles Nosa Akoda or John Nosa Akoda, all names

used in documents submitted by Akoda.

       ECFMG was negligent in failing to learn that Akoda was Igberase. Among other

things, ECFMG knew that in August 2000 allegations had been made to the JSMC that

Akoda and Igberase were the same person. The JSMC notified ECFMG of this and told

ECFMG that Akoda was using Igberase’s social security number.

       Igberase appeared at the offices of ECFMG on September 27, 2000 and told ECFMG

that Igberase was his cousin and admitted he had used Igberase’s social security number


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“pending INS clearance of his own social security number.” Additionally, the passport

Igberase provided to ECFMG at that meeting contained one too few numbers and could not

have been valid.

       There was no effort by ECFMG to authenticate the passport. In breach of its duty,

ECFMG failed to take any action against Igberase for this misuse of a social security number.

       Further in breach of its duty, ECFMG failed to compare the photograph of Igberase

in its files with the person claiming to be Akoda who was sitting in ECFMG’s office in

Philadelphia. Had ECFMG done so, ECFMG would have known that Akoda and Igberase

are the same person.

       ECFMG, in breach of its duty, failed to advise the Howard University Hospital

residency program, the Maryland Board of Physicians or Prince George’s Hospital Center

of the information in its files that Igberase may have had a previous certification that was

revoked, that ECFMG had investigated whether Akoda is Igberase or that Igberase was

barred under another certification.

       ECFMG, in breach of its duty, and in breach of its own policies and procedures

regarding irregular behavior, failed to take reasonable steps to verify the truth of the

references submitted by Igberase when he applied for the residency program at Howard

University Hospital under the Akoda identity. In 2006 Igberase submitted three (3) letters

of recommendations through ERAS under the Akoda identity. ECFMG sent letters to each

of the references, with copies of their respective alleged letters of recommendations, seeking

to learn if they were authentic. ECFMG did not receive responses from the supposed

references.   Nevertheless, ECFMG provided primary source verification to Howard

University Hospital about “Akoda” – a fictitious identity.



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INTERROGATORY NO. 5:

      Describe in detail all facts that support the allegation in the Complaint that ECFMG’s
supposed negligence was the “sole and proximate cause” of your alleged injuries and damages.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

calls for a legal conclusion. Without waiving this objection, the facts that support these

allegations are set forth in the Complaint.

       The numerous breaches of duty by ECFMG led to the fraudulent certification of

Igberase, under various names, but for which he would not have been admitted to the

Howard University Hospital residency program, he would not have received a Maryland

medical license, he would not have obtained privileges at Prince George’s Hospital Center,

he would not have been able to practice medicine, and he would not have been able to cause

the harms to Plaintiffs.

       ECFMG’s numerous breaches of duty increased the risk of harm to Plaintiffs and

other members of the Class by Igberase’s conduct.

       As a direct, proximate, immediate and foreseeable result of ECFMG’s conduct,

Named Plaintiffs and Class Members have and/or will suffer permanent economic and non-

economic damages.

INTERROGATORY NO. 6:

        Describe in detail all facts that support the allegations in the Complaint that Akoda
“performed inappropriate examinations of a sexual nature while utilizing inappropriate and
explicit sexual language” and committed “boundary violations.”

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

concerns matters more appropriately addressed at deposition.               Without waiving this


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objection, the named Plaintiff contends that all care and treatment provided by Akoda was

inappropriate, including but not limited to the fact that he was not an appropriately licensed

and credentialed physician.         He oversaw this Plaintiff’s labor care, including the

performance of intrusive pelvic examinations, and he performed the Plaintiff’s delivery.

       Prior to delivery, the Plaintiff felt that Akoda was unprofessional, and was made

uncomfortable by the way he touched her. Her husband also felt uncomfortable with

Akoda’s conduct. Additionally, while Ms. Evans was pushing, Akoda started manipulating

the Plaintiff’s clitoris. Akoda told Ms. Evans that he had to get her aroused, which would

help the baby come out.

       Ms. Evans feels as though she was sexually molested, particularly given what is now

known about Akoda. The baby was ultimately delivered via c-section. He was not properly

licensed, credentialed or qualified to provide any of this case. This Plaintiff would never

have exposed herself or her child to a non-health care provider had she been appropriately

advised that he was not a validly licensed or credentialed physician. This answer will be

supplemented as discovery proceeds.

       The Defendant is further referred to the medical records.

       Plaintiffs investigation is ongoing.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your “obstetrician/gynecologist” on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,
including certification from ECFMG,” including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

ANSWER:




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       Objection is made to this request to the extent it elicits communications between the

Plaintiff and her counsel subject to the attorney-client privilege, particularly with regard to

knowledge about ECFMG and its services. Without waiving this objection, Plaintiff would

not have agreed to receive treatment for a physician who had obtained certifications

necessary to practice medicine on the basis of identity fraud. Plaintiff naturally assumed

Akoda was a physician who had been lawfully credentialed.

INTERROGATORY NO. 8:

        Identify and describe in detail each and every communication you had with anyone (other
than with your attorneys) about the claims or facts underlying the claims that you are asserting in
the Complaint, including all such communications with Akoda’s medical practice, any medical
licensing board, any employee, agent or representative of ECFMG, and all such communications
with a journalist, reporter, or member of the media.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

concerns matter better addressed through deposition. Plaintiff’s contacts with Akoda are

reflected in the medial records which are being produced.             The Plaintiff has had no

communication with any medical licensing board, employee, agent or representative of

ECFMG, nor any member of the media. The Plaintiff has also given a deposition in the

matter of Dews et al. v. Dimensions Healthcare System, et. al, Case No. CAL-17-37091.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the
method of calculating each such element of damages or other relief, the amount of each element
of damages or other relief, and the time period for which you are seeking damages or other relief.

ANSWER:




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       Plaintiff adopts by reference her Answer to Interrogatory No. 2. The amount of these

damages is for the jury to determine.           Plaintiff seeks damages for these injuries as

determined by the jury.

INTERROGATORY NO. 10:

       Identify each civil (including bankruptcy filings), criminal and administrative action to
which you have been a party or in which you have served as a witness, including the matter
name, court or agency.

ANSWER:

       Objection is made to this request as it seeks to elicit information which goes beyond

the proper scope of discovery. Without waiving this objection, the Plaintiff is a named class

representative in a class action filed in the Circuit Court for Prince George’s County,

Maryland, Dews et al. v. Dimensions Healthcare System, et. al, Case No. CAL-17-37091.

INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys’ fees, or other financial obligations associated with the
bringing of this lawsuit.

ANSWER:

       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

ANSWER:




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       Objection is made to this interrogatory as it overly broad, and goes beyond the scope

of appropriate discovery. Plaintiff’s counsel represents numerous persons who are putative

members of the class. Counsel for Plaintiff has a list of persons who have been retained by

Plaintiff’s counsel as members of the putative class, many of whom have been confirmed as

patients of Akoda through review of medical records.          Plaintiffs is also aware that other

attorneys in this case represent numerous persons who are putative members of the class,

but are not aware of their identities. Plaintiff believes that there are approximately 1,000

patients seen or treated by Akoda.

INTERROGATORY NO. 13:

        Identify each and every person who provided information used to answer these
Interrogatories, and identify the Interrogatory or Interrogatories for which that person provided
information.

ANSWER:

       The Plaintiff’s attorneys assisted in the preparation of these answers.

INTERROGATORY NO. 14:

      Identify all persons with knowledge relating to the allegations and claims in the
Complaint, and for each person, describe the subject(s) about which they have knowledge.

ANSWER:

       In addition to the plaintiff and her attorneys, the Defendant is referred to the

Plaintiff’s initial disclosures. This Plaintiff’s family and treating health care providers may

have personal knowledge of her care and treatment by Akoda, as well as her current injuries.

These include her husband, Michael Evans, as well as her mother, Renee Clifton. This

answer will be supplemented as discovery proceeds.

INTERROGATORY NO. 15:




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         Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this
litigation.

ANSWER:

         Plaintiff objects to this interrogatory on the grounds that it is overly broad and

unduly burdensome, and is not limited in time or scope and seeks information that is not

relevant. Without waiving this objection, the Plaintiff had received medical care from Paul

Donoto, PhD and a psychiatrist, Ijeoma N. Nnamani, M.D.

INTERROGATORY NO. 16:

        Identify any and all persons you may call as a fact witness relating to this lawsuit at the
time of trial.

ANSWER:

         Plaintiff has not determined who she may call as fact witnesses a trial. Plaintiff will

comply with her obligations under F.R.C.P. 26(a)(3), or as otherwise ordered by the Court.

INTERROGATORY NO. 17:

         Identify any and all persons you intend to call as an expert witness relating to this lawsuit
at the time of trial.

ANSWER:

         Plaintiff has not determined who she may call as expert witnesses at trial. Plaintiff

will comply with her obligations under F.R.C.P. 26(a)(2), or as otherwise ordered by the

Court.

INTERROGATORY NO. 18:

      Identify the jurisdiction whose law you contend governs each of the claims in the
Complaint and describe in detail all facts supporting your contention.

ANSWER:


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       Plaintiff objects to this interrogatory to the extent that it calls for information subject

to work-product protection. By way of further answer, and without waiver, discovery and

Plaintiffs’ investigation are still continuing and full identification of the relevant facts for a

choice of law analysis are yet to be determined.


                                   DOCUMENT REQUESTS

                                        General Objections

       1.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

  to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

       2.      Plaintiff objects to each of Defendant’s requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.

       3.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and

conveniently obtain from other sources.

       4.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents beyond Plaintiffs’ possession, custody or control.

       5.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-

client privilege, the attorney work product doctrine, or similar privileges or protections from

discovery shall not constitute a waiver of any such privileges or protections.



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       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only

after the execution of a suitable confidentiality agreement between the parties.

       7.      Because Defendant’s requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify

the specific requests to which documents respond.

       8.      These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter

thereof, on any ground in any further proceedings in this action; and (iii) the right, at any time,

to revise, correct, supplement or clarify any of these responses.

       9.      Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from

these responses as a result of mistake, error, oversight or inadvertence.

       10.     These responses and any further responses or documents produced pursuant

thereto are made without any acknowledgment or concession that the documents requested are

relevant to the subject matter of this action.

       11.     The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff’s stated willingness to

produce certain classes of documents should in no way be construed as an affirmative

acknowledgment that such documents either exist or are in the possession, custody or control of



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Plaintiff.

        12.    The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiff’s specific requests set forth below, and to each and

every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.


REQUEST NO. 1:

        All documents identified in your Rule 26(a)(1) disclosures.

RESPONSE:

        Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 2:

       All documents identified in or relied upon in the course of answering the Interrogatories
served contemporaneously with these Requests.

RESPONSE:

        Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 3:

        All pleadings filed in Akoda litigation.

RESPONSE:

        Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.



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REQUEST NO. 4:

       All documents relating to Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 5:

       All documents produced by you or to you in Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request will be produced. Certain

documents produced to Plaintiff by Dimensions in the Akoda litigation are subject to a

Confidentiality Agreement.      To the extent that ECFMG can obtain the consent of

Dimensions, Plaintiff will produce the requested documents.

REQUEST NO. 6:

       All sworn statements executed by you in Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 7:

       All documents relating to Putative Class Members.

RESPONSE:




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       Objection. This request is ambiguous, overbroad, and seeks information that is not

proportionate to the needs of the case. If Defendant will clarify it, Plaintiff will attempt to

respond.

REQUEST NO. 8:

      All documents relating to Akoda, including documents relating to treatments or
examinations performed by Akoda.

RESPONSE:

       Objection. This request appears to be duplicative of other requests to which

Plaintiff has responded that, if she has any such documents, they will be produced.

REQUEST NO. 9:

       All communications between you and Akoda.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 10:

       All documents relating to ECFMG.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 11:

        All communications between you and ECFMG relating to the claims or facts underlying
the claims that you are asserting in the Complaint.

RESPONSE:

       Other than the records deposition subpoena served on ECFMG, there are none.

REQUEST NO. 12:


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       All documents about JSMC and Akoda.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 13:

        All communications between you and JSMC relating to the claims or facts underlying the
claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 14:

       All documents relating to Howard University Hospital and Akoda.

RESPONSE:

       Objection. This request is overly broad and unduly burdensome. Without waiver,

any discoverable documents responsive to this request which are in the possession of the

Plaintiff or her counsel will be produced limited to the class members in this case.


REQUEST NO. 15:

        All communications between you and Howard University Hospital relating to the claims
or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 16:

       All documents relating to Prince George’s Hospital Center and Akoda.

RESPONSE:


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       Objection. This request appears to be duplicative of other requests to which Plaintiff

has responded that, if she has any such documents, they will be produced.

REQUEST NO. 17:

       All communications between you and Prince George’s Hospital Center relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.


REQUEST NO. 18:

       All documents relating to A.G. Chaudry, M.D. and Akoda.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced. Other than the medical records, none.


REQUEST NO. 19:

       All communications between you and A.G. Chaudry, M.D. relating to the claims or facts
underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 20:

       All documents relating to Dimensions Healthcare Associates and Akoda.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

REQUEST NO. 21:


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       All communications between you and Dimensions Healthcare Associates relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

REQUEST NO. 22:

       All documents relating to the Maryland Board of Physicians and Akoda.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.


REQUEST NO. 23:

       All communications with the Maryland Board of Physicians relating to the claims or facts
underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 24:

       All documents and communications relating to your allegations that “Igberase never
attended or graduated from a medical school.”

RESPONSE:

       Objection is made to this request to the extent is seeks information protected by

attorney client privilege or the work product doctrine. Without waiving this objection, any

discoverable documents responsive to this request which are in the possession of the Plaintiff

or her counsel he requested documents will be produced.

REQUEST NO. 25:




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       All documents and communications relating to your allegation that the Centers for
Medicare and Medicaid Services “denied Igberase’s application to enroll for Medicare
reimbursement.”

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 26:

      All documents and communications relating to your decision to have Akoda treat or
examine you.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 27:

       All documents and communications relating to your alleged “belief that Akoda had
obtained all necessary credentials and certifications required of physicians practicing in the
United States, including certification from ECFMG.”

RESPONSE:

       None.

REQUEST NO. 28:

       All documents and communications relating to your allegation that “Igberase performed
inappropriate examinations of a sexual nature while utilizing inappropriate and explicit sexual
language.”

RESPONSE:

       Objection is made to this request to the extent is seeks information protected by

attorney client privilege or the work product doctrine, without waiving this objection. The

Defendant is referred to the medical records.

REQUEST NO. 29:



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       All documents and communications relating to your allegation that “Igberase’s
penetrations of his patients were clear boundary violations.”

RESPONSE:

       Objection is made to the request to the extent it concerns a medical and/or legal

conclusion, and to the extent is seeks information protected by attorney client privilege or

the work product doctrine. Without waiving this objection, the Defendant is referred to the

medical records.

REQUEST NO. 30:

        All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to any

documents that may be responsive to this request. This request also appears to be duplicative

of other requests to which – subject to the above-stated objection, Plaintiff has responded

that, if she has any such documents, they will be produced.

REQUEST NO. 31:

       All documents and communications relating to your allegation that ECFMG breached a
duty owed to you and Putative Class Members.

RESPONSE:

       Objection is made to this request to the extent it calls for a legal conclusion, and to

the extent is seeks information protected by attorney client privilege or the work product

doctrine. Without waiving this objection, this request appears to be duplicative of other

requests to which Plaintiff has responded that, if she has any such documents, they will be

produced.


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REQUEST NO. 32:

       All documents and communications relating to your allegation that ECFMG’s negligence
was the “sole and proximate cause” of your alleged injuries and damages.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it calls for a legal conclusion as to any documents

that may be responsive to this request. Without waiving this objection, this request appears

to be duplicative of other requests to which Plaintiff has responded that, if she has any such

documents, they will be produced.

REQUEST NO. 33:

       All documents and communications relating to injuries (physical, mental, emotional,
psychological, or otherwise) that you contend you have suffered or will continue to suffer
because of ECFMG’s negligence.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 34:

       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.

RESPONSE:

       Objection is made to this request as it is overly broad and not properly limited in

time and scope. Without waiving this objection, documentation to support the Plaintiff’s

claim for lost wages will be produced as it is received.

REQUEST NO. 35:

       All medical records, pharmacy records, doctor’s notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.



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RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it is overly broad and burdensome in that it is not

limited in time or scope and that it seeks information that is not relevant to any claim or

defense in this action. To the extent the Plaintiff receives treatment concerning her condition

and injuries relevant to this lawsuit, and are in the possession of Plaintiff or her counsel,

these documents will be produced.

REQUEST NO. 36:

      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

RESPONSE:

       Documents addressing the Plaintiffs examination and treatment of alleged injuries

will be provided as they are received.


REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your
behalf by any insurance carrier or health plan for examination and treatment of alleged injuries.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are not

relevant to any claim or defense in this action. Medical bills related to examination and

treatment for her injuries relevant to this lawsuit will be provided as they are recieved.

REQUEST NO. 38:

        All communications between you and a journalist, reporter, or member of the media
relating to the claims or facts underlying the claims that you are asserting in the Complaint.



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RESPONSE:

       None.

REQUEST NO. 39:

        All communications between one or more of your attorneys and a journalist, reporter, or
member of the media relating to the claims or facts underlying the claims that you are asserting
in the Complaint.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are

protected from discovery by the attorney work product doctrine and are not relevant to any

claim or defense in this action.

REQUEST NO. 40:

       All personal records, notes, journals, calculations, calendars, and/or diaries that make
reference to your examination or treatment by Akoda.

RESPONSE:

       Objection is made to the extent that any documents responsive to this request were

prepared in anticipation of litigation or at the request of counsel.            Any discoverable

documents responsive to this request will be produced.


REQUEST NO. 41:

        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that they are protected from discovery by the work-




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product doctrine. Without waiving this objection, the Plaintiff Desire Evans has not

obtained any statements from ECFMG.

REQUEST NO. 42:

        All documents and communications relating to any arrangements that you have made
with your attorneys or others relating to payment of the costs, attorneys’ fees, or other financial
obligations associated with the bringing of this lawsuit.

RESPONSE:

          Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on the

grounds that it requests documents which are not relevant to any claim or defense in this

action.

REQUEST NO. 43:

       All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)
providing any funding of any attorneys’ fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your
attorneys, either directly or indirectly; or (c) have a financial interest or right to receive
compensation that is contingent on the outcome of this lawsuit by settlement, judgment, or
otherwise; or (d) are receiving any form of compensation or remuneration for providing any
information, services, or assistance concerning this lawsuit.

RESPONSE:

          Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on

the grounds that it requests documents which are not relevant to any claim or defense in

this action.

REQUEST NO. 44:

      All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating



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each such element of damages or other relief, and the amount of each element of damages or
other relief.

RESPONSE:

       Any discoverable documents responsive to this request will be produced.

REQUEST NO. 45:

       All documents and communications referenced in or used, reviewed, or relied upon in
preparing the Complaint.

RESPONSE:

       Objection is made to this request to the extent it seeks documents protected by the

attorney-client privilege and attorney work product. Without waiving this objection, any

discoverable documents responsive to this request will be produced.


REQUEST NO. 46:

       All documents and communications relating to the claims asserted in the Complaint.

RESPONSE:

       Objection is made to this request to the extent it seeks documents protected by the

attorney-client privilege and attorney work product. Without waiving this objection, any

discoverable documents responsive to this request will be produced.


REQUEST NO. 47:

       All documents you may introduce as exhibits at trial in this lawsuit.

RESPONSE:

       Plaintiff has not decided what documents it will introduce at trial. Plaintiff will

comply with her obligations under F.R.C.P. 26(1)(3).




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CONRAD & O’BRIEN, P.C.

                                   _/s/ Nicholas M. Centrella____________________
                                   Nicholas M. Centrella, Esquire (ID No. 67666)
                                   ncentrella@conradobrien.com
                                   Howard M. Klein, Esquire (ID No. 33632)
                                   Benjamin O. Present, Esquire (ID No. 322682)
                                   1500 Market Street
                                   Centre Square, West Tower, Suite 3900
                                   Philadelphia, PA 19102-2100
                                   Telephone: (215) 864-9600
                                   Fax: (215) 864-9620

                                   SCHOCHOR, FEDERICO AND STATON, P.A.

                                   /s/ Jonathan Schochor
                                   Jonathan Schochor (Admitted Pro Hac Vice )
                                   jschoehor@sfspa.com
                                   Lauren Schochor (Identification No. 87618)
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                                   Brent Ceryes (Admitted Pro Hac Vice)
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                                   The Paulton
                                   1211 St. Paul Street
                                   Baltimore, Maryland 21202
                                   Phone: (410) 234-1000
                                   Fax: (410) 234-1010




    Dated: March 29, 2019




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                                             VERIFICATION

        I, Desire Evans, hereby aver that the factual statements in the foregoing Answers to
Interrogatories, are true and correct to the best of my knowledge, information, and belief, and
that these Answers are made subject to the penalties relating to unsworn falsification to
authorities.




                                             Desire Evans


Dated: March 28, 2019




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below I caused a true and correct copy of the

foregoing Answers to Interrogatories to be served on the following via electronic mail:

                                       Brian W. Shaffer
                                      Elisa P. McEnroe,
                                     Mathew D. Klayman
                             MORGAN, LEWIS & BOCKIUS, LLP
                                      1701 Market Street
                                 Philadelphia, PA 19103-2921
                               brian.shaffer@morganlewis.com
                              elisa.mcenroe@morganlewis.com
                             matthew.klayman@morganlewis.com




                                             /s/ Nicholas M. Centrella
                                             Nicholas M. Centrella




 Dated: March 29, 2019




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                Exhibit 56




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                            CERTIFICATION OF MEDICAL RECORDS


   As custodian of records at Kaiser Permanente, II certify that the attached
                             19 pages are true photocopies of the medical
   photocopies consisting of 19
   records and 2
               ~ pages of the itemized billing statement pertaining to:


          PATIENT NAME: Desire N
                               N Evans
                                 Evans                     MRN# 88245320


   Based on federal and state privacy rules that protect a patient's health
                                                                     health information, we
   have redacted certain information from
                                      from the enclosed records.
                                                         records. The information has been
   redacted because: (1) We must have the patient's written consent or a court order
   before we can release certain health information ,, even in response to a subpoena
   and/or. (2)
           (2) The information redacted is not responsive to the subpoena. The information
   redacted in the attached records is specified below and/or marked accordingly.

          Billing
          Billing Report:
                  Report:



   The original of said records are maintained by Kaiser Permanente.
   Subsequent re-disclosure of this patient's medical records is prohibited by law.




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   8/17/2018




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                                                                  Patient                                88245320

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                                                                  MA_PM1510_H1MS_ltemlzed_B111ing_Statement_Report.rpt v1.0                                                                                                                                           Report
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           ~                                                      Kaiser Foundation Ilealtih
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           Case:2:18-cv-05629-JDW
           Case  22-1998 Document:Document
                                   22-5 Page:
                                           86-201534    Date Filed:Page
                                                  Filed 12/11/21    09/08/2022
                                                                        5 of 24


        Histor y Report for
Patient History         fo r Evans,Desire
                             Evans.D esire N [88245320]: Temporary report setting [3152712] -- Submitted 8/17/2018 9:29:08 AM

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02/16/2018            PM
                 1:50 PM     20    No Show              [1300030068)
                                                 PSY LA [1300030068]               Shenda J (M.D.) VID VIS MM
                                                                            Smith, Shanda                       [4464)
                                                                                                           Mtv1 [4464]
02/06/2018       3:30 PM     20                         [1300030068)
                                   Completed PSY LA [1300030068]                                                   [ 4360)
                                                                            Smith, Shanda J (M.D.) PHONE-20 BH [4360]
01/17/2018       4:10 PM     60    Completed PSY LA [1300030068]                   Shenda J (M.D.) NE [1090]
                                                                            Smith, Shanda              [1090)




                                                                 11 of 19
                                                                                                                               Parla 1




                                                        Plaintiffs0000005738
                                                                                                                    JA3424
                                                                                             D. Clifton a.k.a. D. Evans: Smith 000004
Case:2:18-cv-05629-JDW
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                        22-5 Page:
                                86-201535    Date Filed:Page
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                  Encounters
                  Encounters




                        Plaintiffs° 000005739
                        Plaintiffs0000005739
                                                                      JA3425
                                                 D. Clifton a.k.a. D. Evans: Smith 000005
     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:Document
                             22-5 Page:
                                     86-201536    Date Filed:Page
                                            Filed 12/11/21    09/08/2022
                                                                  7 of 24




 • 0•
   ffpf         KAISER
                PERMANENTE,
Patient Demographics
        Demographics
  Patient
   Patient Name                      MRN
                                     MRN        Sex         DOB          Address                          Phone
                                                                                                          Phone
  Evans,
   Evans, Desire N
                 N                   882453     Female
                                                Female      3/25/19      11529 LELAND PLACE
                                                                         11529 LELAND PLACE               301-256-7195 (Home)
                                     20                     79
                                                            79           WALDORF MD 20601
                                                                                      20601                            xooooo
                                                                                                          000-000-0000 X00000
                                                                                                          (Work)
                                                                                                          (Work)
                                                                                                          301-256-7195
                                                                                                          3Q1-256-7195 (Mobile)
                                                                                                                       (Mobile)

Re istration
Registration
  Non-  EpicCare Patient
  Non- EpicCare


PCP and
    and Center
  Primary Care Provider                            Phone
                                                   Phone                                      Center
  Dilasha
  Dilasha (M.D.) Katwal,
                 Katwal, M.D.                      301-702-6100                               None
PCP and Location
PCP
  PCP                                                                    Location
  DILASHA
  DILASHA KATWAL MD, MEDICAL DOCTOR
                             DOCTOR                                      CAMP SPRINGS[130014]
Immunization Summary
Immunization                                                                                                  Reviewed
                                                                                                              Reviewed on 11/14/2017
                                                                                                                          11/14/2017
  No immunizations on
                   on file.
                      file.


Allergies
                                                                                         Reviewed On: 11/14/2017
                                                                                                       11/14/2017 By: Sinkiewicz,
Allergies as ·of
              of 8/17/2018                                                                                    Melissa (D.0.), D.O.
                                                                                                              Melissa (D.O.), D.0.
                                          Severity                Noted                  Reaction Type
                                                                                         Reaction Type      Reactions
                                                                                                            Reactions
   Iodine
   Iodine [iodinated Glycerol]            Not Specified           11/10/2017
                                                                  11/10/2017                                Anaphylaxis


Problem List
Problem List
Problem List as of 08/17/2018
   Problem
   Problem                                                                      Noted
                                                                                Noted
   MAJOR DEPRESSIVE DISORDER, RECURRENT EPISODE,                                1/17/2018
                                                                                1/17/2018
   SEVERE W ANXIOUS STRESS


Medications
                        Encounter
Medications at Start of Encounter
                                                                Disp                     Refills          Start                 End
    LORazepam (ATIVAN) 0.5 mg
   LORazepam                         mg Oral Tab                 20                      0/0              2/6/2018              2/26/2018
                                                                                                                                2/26/2018
     Sig
     Sig - Route: Take 1 1 to 2 tablets orally up to once a day ONLY AS NEEDED             NEEDED for severe anxiety**TAKE
                                                                                                                anxiety**TAKE
     SPARINGLY** - Oral
  __ Class:
     Class: Fill
            Fill in 4 hours
                 in 4 hours ·- .. ··-·-··-···- .. ---· - - ----·-·-·---·--·-·-·-·--·--·-··· __ ..                ,,_·-··-------···-···--··
   traZODone (DESYREL) 50 mg          mg OralOral Tab           60
                                                                 60                      1/1
                                                                                         1 /1             1/23/2018
                                                                                                          1/23/2018             1/23/2019
                                                                                                                                1/23/2019
     Sig - Route: Take 1 1 to 2 tablets at bedtime ONLY     ONLY.AS     AS NEEDED for insomnia; may  may take upuptoto 4 tablets if needed -
     Oral
     Class: Fill
            Fill in
                 in 4 hours
   FLUoxetine (PROZAC)
                  (PROZAC) 10  10 mg Oral Cap                    60
                                                                 60                      1/1
                                                                                         1/1            . 1/17/2018
                                                                                                          1/17/2018             1/17/2019
                                                                                                                                1/17/2019
     Sig - Route:
           Route: Take 1 1 capsule daily for 1         1 week then increase to     to 2 capsules - Oral
  _ Class:  Fill Now
     Class:Flll   Now------------·-···--··--···--····· .. ··---- .. ·------·-···---·--------------------------·---·
   hydrOXYzine HCI (ATARAX) 50 mg               mg Oral Tab 60                           1/1
                                                                                         1/1              1/17/2018
                                                                                                          1/17/2018             1/17/2019
                                                                                                                                1/17/2019

                                                                                Evans, Desire N
                                                                                Evans,        N
                                                                                MRN: 88245320

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Page 1
     1
                                                               2 of 19
                                                                    19




                                                Plaintiffs0000005740
                                                Plaintiffs0000005740
                                                                                                                    JA3426
                                                                                             D. Clifton a.k.a. D. Evans: Smith 000006
        Case:2:18-cv-05629-JDW
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                                        86-201537    Date Filed:Page
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                                                                     8 of 24




            (continued)
Medications (continued)
Medications at Start of Encounter (continued)
                                                     Disp            Refills
                                                                     Refills      Start               End
                                                                                                      End
                                                                                                1 tablet up to twice a
                       1-2 tablets at bedtime ONLY AS NEEDED for insomnia; may take one-half to 1
     Sig - Route: take 1-2
     day as needed for anxiety - Oral
     Class: Fill
     Class: Fill Now
                 Now                                        _
    Diclofenac Sodium (VOLTAREN)
                         (VOLT AREN) 50 mg mg        60              2/2          11/14/2017          11/14/2018
  , Oral TBEC DR Tab
     Sig - Route: Take 11 tablet by mouth 2 times a day as needed for pain
                                                                      pain - Oral
     Class: Fill Now

Medical and Surgical History
Medical
Medical History
  No past medical history on file.
Surgical History
  No past surgical history on file.

Obstetric History
Obstetric History
          History
  The patient has not been asked about pregnancy.
                                       pregnancy.


Social History
Family and Education
  Marital Status
  Married
Substance & Sexual Activity
  No substance use or sexual activity history on file.
Social Documentation
  No social documentation
            documentation on
                          ori file.


           Employment History
Family and Employment
Family
Family
Famil History
       Histor
  No family history on file.

Employment
Employment History
  No employment history on file.
Encounter Status
  Open

                                                  END OF REPORT
                                                         REPORT


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  §           PERMANENTE~
           -~ PERMANENTE,

                                                                    Evans, Desire N
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                                                                    MRN:
                                                                    MRN: 88245320

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                                                         3 of 19




                                           Plaintiffs0000005741
                                           Plaintiffs0000005741
                                                                                                       JA3427
                                                                                D. Clifton a.k.a. D. Evans: Smith 000007
     Case:2:18-cv-05629-JDW
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                                     86-201538    Date Filed:Page
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Family and Employment History (continued)

 Desire N Evans
 Desire                                                                               Description: 38 year old
 1/17/2018
 1/17/2018 4:10 PM Office Visit                                                       female
 MRN: 88245320                                                                        Provider:
                                                                                      Provider· SHANDA J  J
                                                                                      SMITH MD
                                                         Encounter #: 250876505
                                                         Encounter#:                  Department: Psychiatry
                                                                                      Department:
                                                         Center· LARGO
                                                         Center:                      Largo


Visit Summary
PCP
PCP and Center
  Primary Care Provider .                 Phone                              Center
  Dilasha (M.D.) Katwal, M.D.
                 Katwal,'M.D.             301-702-6100                       CAMP SPRINGS

Registration
Re istration
  Non- EpicCare Patient

Reason for Visit
  PSYCHIATRIC EXAM
Diagnoses
Dia noses
                                                                       Codes                  Comments
   MAJOR DEPRESSIVE DISORDER,
                    DISORDER, RECURRENT
                              RECURRENT EPISODE,                       F33.2
   SEVERE W ANXIOUS STRESS - Primary


Progress Notes
Smith,                M.D. at 1/17/2018 4:10 PM
Smith, Shanda (M.D.), M,D.
  Status: Signed

  PSYCHIATRIC
  PSYCHIATRIC EVALUATION
  New Evaluation.

  CC: depression and anxiety
  ID:  Desire N Evans
  ID: Desire      Evans is a 38 yr old female who presents voluntarily to Kaiser Permanente
                                                                                 Permanente Largo Medical
            Behavioral Health
  Center Behavioral     Health for psychiatric evaluation. She
   is self-referred after consultation with her primary care doctor DILASHA KATWAL
                                                                            KATWAL MD, M.D.
                                                                                         M.D.

  HPI: Desire N                        African-American female who presents for a psychiatric evaluation.
                N Evans is a 38 yr old African-American                                           evaluation.
              feeling anxious/depressed for most of her life but worse over the past near one year since her
  Pt reports feeling
               March. Reports significant anxiety described as excess worry that is difficult to control,
            in March.
  birthday in
  intermittent panic sx's (SOB/palpitations/insolable weeping). Cries seemingly out of the blue for no reason.
  Has had passive thoughts of death related to hopelessness but denies any intent/plans
                                                                                intenUplans b/c of her strong
  attachment to her 2yo son; "he keeps me going".
  Endorses depressed mood,
                         mood, anhedonia, initial/middle insomnia related to anxious thoughts, low energy, and and
       appetite. Also poor focus at times because of anxiety/thoughts jumping around.
  low appetite.
  Works from home so she can watch her son but he's growing/more active and this is becoming more of a
  challenge.
   Denies any specific stressors/changes,
  Denies                stressors/chanqes, Does note not feeling satisfied with
                                                                            with where she is in life; "I
                                                                                                       "I have so
  many ideas"; says she cannot focus or pursue any of her goals b/c of anxiety.
  Pt describes herself as very private; husband aware of her depression but feels he doesn't know how to
  respond; mother as well but their response is to give her space as she often can be short/easily
                                                                                         shorUeasily irritated
                                                                  Evans, Desire
                                                                         Desire N
                                                                  MRN: 88245320

Page 3
                                                   4 of 19
                                                        19




                                       Plaintiffs0000005742
                                       Plaintiffs0000005742

                                                                            D. Clifton a.k.a.
                                                                            D.                     JA3428
                                                                                       a.k.a. D. Evans: Smith 000008
   Case:2:18-cv-05629-JDW
   Case  22-1998 Document:  22-5 Page:
                          Document 86-201539     Date Filed:
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Progress Notes
         Notes (continued)
Smith,
Smith, Shanda (M.D.), M.D. at 1/17/2018 4:10 PM
                                             PM (continued)
  which pushes them away.
                       away.
  Open to start both medication and psychotherapy to target depression,
                                                            depression.

  Past
  Past Psychiatric
        Psychiatric History:
  Hx of symptoms on/off through-out adult life;
  One suicide attempt by overdose in '09; admitted for psychiatric tx for about 5d;
  Started on Fluoxetine but stopped soon after d/c;
  No additional/continued care

  Family Psychiatric
         Psychiatric History:
  None known

  Social
  Social History:
  B/R by grandparents as father was incarcerated on/off and mother was often out of the home;
  B/R
  Has one brother 9y younger by her parents who were married/divorced in '09;
  Has
  Functioned as a parent to younger brother;
  Moved often while growing up b/t family
  Completed education through HS HS and some college
  Works FT for Care First
                     First Blue Cross; works from home
  Married x 2y and has a 2yo son

  Substance Use:
  Alcohol: rarely
  Tobacco: denies
  Drug use: daily MJ use to help with sleep

  Medical
  Medical History:
  No past medical history on file.

ALLERGIES
Allergen                                                                Reactions
 • Iodine [Iodinated Glycerol]                                          Anaphylaxis


Medications: No active medications on file as of 01/17/2018

MENTAL STATUS EXAMINATION::
Orientation: Alert and Oriented to self, time, place, situation; Appearance: Appropriately groomed with good
          Psychomotor· mild PMA/ noPMR; Speech: normal rate, tone, volume; Mood: depressed; Affect:
hygiene; Psychomotor:
Sad/tearful and mood congruent
                      Linear, goal-directed, organized; Thought Content: centered on the situation,
Thought Process: Linear,                                                                     situation, denies
active SI, intent/plan to harm self; no overt evidence of psychosis or ideas of reference Cognition: Grossly
intact based on overall recall of recent and remote memory; Insight/Judgment:
                                                                 Insight/Judgment: fair/intact

Risk Assessment:
Risk  Assessment:
Risk Factors:
     Factors: hx of suicide attempt in '09
Protective Factors: no active desire to die; is help seeking; strongly attached to 2yo son; +supports; future
oriented
Overall  Risk Level: low
Overall. Risk

                                                                         Desire N
                                                                  Evans, Desire
                                                                  MRN: 88245320

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                                        Plaintiffs0000005743
                                        Plai ntiffs00000057 43
                                                                                                   JA3429
                                                                            D. Clifton a.k.a. D. Evans: Smith 000009
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
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Progress Notes (continued)
Smith, Shanda (M.D.),
              (M.D.), M.D. at 1/17/2018
                              1/17/2018 4:10 PM
                                             PM (continued)

Patient
Patient is at low risk of self-harm given no
                                          no active suicidal
                                                    suicidal ideation/intent or plan to harm
                                                                                        harm herself; strong
                                                                                                      strong
attachment to her 2yo son and says she would never harm herself/be away from     from him.

Safety plan has been reviewed. Patient
                                   Patient agrees to call 911
                                                          911 and inform family/friends of crisis and/or reach
                                                                                                         reach out
for support if active self-harm thoughts develop.
                                          develop.


Diagnoses:
Major Depressive
      Depressive D/O,
                 0/0, Recurrent, Severe with Anxious Stress
Unhealthy Substance Behavior

Treatment plan:
Risk Assessment: Patient was found to be at low risk for danger to self or danger to others and is safe for
treatment on the outpatient level
                               l~vel of care.
Psychoeducation was provided.
1. Prozac 10mg:
1.        10mg: one cap daily for 1     1 week then increase to 2 capsules daily
2. Hydroxyzine 50mg: one to two tablets ONLY AS NEEDED for difficulty sleeping;
2.
       1/2 to 1 1 tablet as needed for severe anxiety
3. Video Visit: Friday Feb   16th at 1:50pm
                        Feb 16th       1 :50pm
4. Psychotherapy NE on Friday 1/19  1 /19 at 3pm at Marlow Heights

Please feel free to secure message me through kp.org or call this clinic at 301
                                                                            301 386-6800 for any questions or
                                                                                                           or
concerns related to your medication(s) prior to our next appointment




    Electronically signed
    Electronically signed by Smith, Shanda (M.D.), M.D.,1/19/2018
                                                   M.D., 1/19/2018 4:44 PM
                                                                        PM



Visit Disposition
   Disposition
   Return
   Return in
          in about 1
                   1 month
                     month (around 2/17/2018).


Medications
Ordered Medications
                                                                   Disp
                                                                   Disp         · Refills     Start               End .
     FLUoxetine (PROZAC) 10      10 mg Oral
                                         Oral Cap                  60             1/1
                                                                                  1/1         1/17/2018
                                                                                               1/17/2018          1/17/2019
                                                                                                                  1/17/2019
   ____ Take 11. capsule daily for 11 week then increase to
                         daill(for.                      to.2 capsules_-- Oral
                                                            2 capsules    O@L ·--··---·-··-· ""' _                      .,  ,,   _
     hydrOXYzine HCI  HCI (ATARAX) 50 mg   mg Oral Tab             60             1/1
                                                                                  1/1         1/17/2018
                                                                                               1/17/2018          1/17/2019
                                                                                                                  1/17/2019
        take 1-2
             1-2 tablets at bedtime ONLY AS NEEDED for Insomnia;
                                                              insomnia; may take one-half to 1
                                                                                             1 tablet up to twice a day as
        needed
        needed for anxiety - Oral

Infusion
Infusion Orders
   No relevant orders to display.
--·---······------   _,                     ,.                                    ..   """-"""'"""""--~-----   -- ----- -~--
                                                                                                                     .


Level of Service
                                                                           Evans, Desire
                                                                                  Desire N
                                                                                         N
                                                                           MRN: 88245320

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Page 5
                                                           6 of 19
                                                                19




                                                 Plaintiffs0000005744
                                                 Plaintiffs0000005744
                                                                                        D. Clifton a.k.a.      JA3430
                                                                                                   a.k.a. D. Evans: Smith 000010
   Case:2:18-cv-05629-JDW
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Level of Service (continued)
Level             (continued)
  Level
   Level of Service
  PSYCHIATRIC DIAGNOSTIC EVAL W MEDICAL SERVICES [90792A]
Encounter Status
  Completed By Smith, Shanda (M.D.),
                             (M.D.), M.D.
                                     M.D. on
                                          on 1/19/18
                                             1/19/18 at 4:44 PM
                                                             PM


Delivery Summary - Mom
                   Mom


                                                 END OF REPORT


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 After Visit Summary                                                  Desire N Evans
 1/17/2018
 1/17/2018                                                            MRN: 88245320


Visit Information
      Information
Visit Information
      Information
   Date & Time
   Date                        Provider
                               Provider                       Department                     Encounter
                                                                                             Encounter##
   1/17/2018
   1/17/2018 4:10 PM
                  PM           Smith,
                               Smith, Shanda J (M.D.),        PSYCHIATRY LARGO               250876505
                               M.D.
                               M.D.

Diagnoses
Dia noses
                                                                        Codes                       Comments
   MAJOR DEPRESSIVE DISORDER, RECURRENT EPISODE,                        F33.2
   SEVERE W ANXIOUS
            ANXIOUS STRESS
                    STRESS - Primary



Instructions and Follow
Instructions     Follow-Up
                       -Up
Patient Instructions
Patient Instructions
1. Prozac 10mg: one cap daily for 1   1 week then increase to 2 capsules daily
2. Hydroxyzine 50mg: one to two tablets ONLY AS NEEDED for difficulty sleeping;
2.
        1/2
        1/2 to 11 tablet as needed for severe anxiety
3. Video Visit: Friday Feb
3.                      Feb 16th
                             16th at 1:50pm
                                     1 :50pm
4. Psychotherapy NE on   on Friday 1/19
                                   1/19 at 3pm
                                           3pm at Marlow Heights

Please feel
       fe'el free to secure message me through                                301 386-6800 for any questions or
                                        through kp.org or call this clinic at 301
concerns related to your medication(s) prior to our next appointment




Follow-up and Disposition
               Disposition
   Return
   Return in
          in about 1 month (around 2/17/2018).
                   1 month         2/17/2018):


                                                                   Evans, Desire N
                                                                                 N
                                                                   MRN: 88245320
                                                                        88245320

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                                                         19




                                         Plaintiffs00000057 45
                                         Plaintiffs0000005745
                                                                                                           JA3431
                                                                                   D. Clifton a.k.a. D. Evans: Smith 000011
                                                                                                                     000011
    Case:2:18-cv-05629-JDW
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                                                           Page   13 of 24




Instructions and Follow-Up (continued)

Medications
Medications Started This Visit
  FLUoxetine (PROZAC) 10 mg Oral Cap
  FlUoxetine
  hydrOXYzine HCI (ATARAX) 50 mg Oral Tab

Additional Information
           Information
Do you
   you need to cancel an appointment?
  Please inform us at least 24 hours in advance if you need to cancel an appointment. You can
   cancel appointments online at kp.org or by calling our appointment line at 703-359-7878 or toll
           1-800-777- 7904 (TTY 703-359-7919 or toll free at 1-800-700-4901)
   free at 1-800-777-7904                                    1-800- 700-4901) and selecting option 1.
                                                                                                   1.
  For Behavioral Health, please call 1-866-530-8778.
                                      1-866-530-8778.

kp.orq
kp.org Information
  Are you a registered member of kp.org? If     not. please visit www.kp.org to register and to begin using this
                                             If not,
  exceptional feature. Via the website, you can view recent lab test results,
                                                                         results, past office visit information,
                                                                                                    information,
  immunizations, and medication allergies. You can also send secure e-mail messages with questions to your
  provider or to the advice nurse, and you can refill prescriptions as well
                                                                         well as have the ability to check your
  eligibility and
              and benefits. Secure,
                            Secure, easy to access and always available.
                                                                  available.




                                                                Evans, Desire N
                                                                MRN: 88245320

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                                       Plaintiffs00000057 46
                                       Plaintiffs0000005746
                                                                                                    JA3432
                                                                          D. Clifton a.k.a. D. Evans: Smith 000012
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:  22-5 Page:
                           Document 86-201543     Date Filed:
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               KAISER
 tt~\T ~       PERMANF.NTE~
               PERMANENTE,
        N Evans
 Desire N                                                                                     Description: 38 year old
                                                                                                                   old
 1/22/2018
 1/22/2018 5:47 PM Patient
                   Patient Secure Message                                                     female
                                                                                              femate
 MRN: 88245320                                                                                Provider:
                                                                                              Provider· SHANDA J
                                                                                              SMITH
                                                                                              SMITH MD
                                                               Encounter #: 251670299
                                                               Encounter#:                    Department: Psychiatry
                                                                                                            Psychiatry
                                                               Center: LARGO                  Largo


Visit Summary
Reason
Reason for Visit


Telephone Contact Summary
Telephone
Call
Call Information
     Information
                                Provider
                                Provider                       Department                      Center
   1/22/2018
   1/22/2018 5:47 PM
                  PM            Smith, Shanda (M.D.), M.D.     Psychiatry Largo
                                                                          Largo                LARGO
Encounter
Encounter Documentation
  No notes of this type exist for this encounter.
                                       encounter

Encounter Messages
      Medication Question
  RE: Medication
     From
     From                                 To                                         Sent and Delivered
     Shanda J (M.D.) Smith,
                      Smith, M.D.         Desire N Evans                             1/23/2018
                                                                                     1/23/2018 2:16 PM
                                                                                                     PM
     Last Read in
     Last      in kp.org
     2/2/2018 3:16 PM by Desire N N Evans
                                    Evans
    Good afternoon,

      Yes there are other options.

      Please
      Please stop the Hydroxyzine.

      II will send a Rx for Trazodone to the Camp Springs pharmacy. You can take 1-2
                                                                                 1-2 tablets at bedtime as needed for
     insomnia.
     insomnia.

      The maximum
          maximum dosage is 200mg
                            200mg so you if needed you can increase up to 4 tabs at bedtime.

      Dr Smith
      Dr.


      Previous Messages
          ---- Message
               Message -----
             From: Desire
                    Desire N. Evans
                              Evans
             Sent: 1/22/2018
                   1/22/2018 5:47
                               5:4 7 PM
                                     PM EST
              To: SHANDA SMITH MD, M.D.  M.D.
           Subject: Medication Question

            Good Evening

           I'm
            I'm writing because the sleep medication I was prescribed gives me
                                                                            me migraines. II even tried to take half, and
           although
           although the headache was not as severe, taking half did not get rid of my symptoms. Are there any other

                                                                        Evans, Desire
                                                                               Desire N
                                                                        MRN: 88245320

Page 8
                                                        9 of 19
                                                             19




                                           Plaintiffs00000057 4 7
                                           Plaintiffs0000005747
                                                                                                              JA3433
                                                                                   D. Clifton a.k.a. D. Evans:
                                                                                                        Evans: Smith 000013
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:  22-5 Page:
                           Document 86-201544     Date Filed:
                                           Filed 12/11/21     09/08/2022
                                                           Page   15 of 24




                          (continued)
Telephone Contact Summary (continued)
Encounter Messages
Encounter Messages (continued)
                   (continued)
         options?




   Medication Question
     From                                   To                                    Sent
     Desire NN Evans
               Evans                        Shanda J
                                                   J (M.D.) Smith, M.D.           1/22/2018
                                                                                  1/22/2018 5:47 PM
                                                                                                 PM
    Good Evening

      I'm writing because the sleep medication II was prescribed gives me migraines. II even tried to take half, and
     I'm
     although the headache was not as severe,
                                        severe, taking half did not get rid of my symptoms. Are there any other options?




Patient Secure Message
Patient        Message Encounter
                       Encounter Routing
                                 Routing History
                                         History
Patient Instructions
        Instructions
   None

                                                 END OF REPORT
                                                 END    REPORT




                                                                      Evans.
                                                                      Evans, Desire N
                                                                      MRN:
                                                                      MRN: 88245320

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                                                      1 O of 19
                                                      10     19




                                          Plaintiffs00000057 48
                                          Plaintiffs0000005748
                                                                                                            JA3434
                                                                                 D. Clifton a.k.a. D.
                                                                                 D.                D. Evans:
                                                                                                      Evans: Smith
                                                                                                             Smith 000014
                                                                                                                   000014
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:  22-5 Page:
                           Document 86-201545     Date Filed:
                                           Filed 12/11/21     09/08/2022
                                                           Page   16 of 24




 ••&
 •.f1•
 cop  KAISER
 ~\,~ PERNIANENTL
      PERM.ANENT£.~
 Desire N
        N Evans                                                                                 Description: 38 year old
                                                                                                Description:
 1/23/2018 2:15 PM Orders Only
 1/23/2018                                                                                      female
 MRN: 88245320
 MRN:                                                                                           Provider· SHANDA J
                                                                                                Provider:
                                                                                                SMITH MD
                                                                                                       MO
                                                                Encounter#:
                                                                Encounter #: 251837674          Department: Lab Services
                                                                                                Department:
                                                                Center·
                                                                Center:                         Regl Lab
                                                                                                Regllab


Visit Summary
PCP and Center
  Primary Care Provider
  Primary      Provider                        Phone                                 Center
  Dilasha (M.D.) Katwal, M.D.                  301-702-6100                          CAMP SPRINGS
Re istration
Registration
  Non- EpicCare Patient

Reason for Visit

         Notes
Progress Notes
   No notes of this type exist for this encounter.



Medications
        Medications
Ordered Medications
                                                          Disp        Refills       Start              End
   traZOOone (DESYREL) 50 mg Oral Tab
   traZODone                                              60          1/1
                                                                      1/1           1/23/2018
                                                                                    1/23/2018          1/23/2019
                                                                 may take up to 4 tablets if needed - Oral
          1 to 2 tablets at bedtime ONLY AS NEEDED for insomnia; may
     Take 1
Infusion Orders
Infusion
   No relevant orders to display.
-------·--------                                                                                                    -·----
                           .. ··----············---··--·---·----- --··-·--·-- ..·-------··-------·- .. ·····------ ..
Encounter Status
                                                     1/25/18 at 2:04 AM
   Completed By Mas Interface, Default User on 1/25/18

Delivery Summary - Mom
                   Mom

                                                     END OF REPORT




                                                                                Desire N
                                                                         Evans, Desire
                                                                         MRN: 88245320

     10
Page 10
                                                         11 of 19
                                                         11




                                            Plaintiffs00000057 49
                                            Plaintiffs0000005749
                                                                                                           JA3435
                                                                                    D. Clifton a.k.a. D. Evans: Smith 000015
     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:  22-5 Page:
                            Document 86-201546     Date Filed:
                                            Filed 12/11/21     09/08/2022
                                                            Page   17 of 24




 •     e
     ipp KAISER
 rt:     PERMANENTE,
 Desire N
 Desire N Evans
          Evans                                                                       Description: 38 year old
                                                                                      Description.
 2/6/2018 3:30 PM Scheduled Telephone Encounter                                       female           ·
 MRN: 88245320                                                                        Provider· SHANDA J
                                                                                      Provider:
                                                                                      SMITH MD
                                                          Encounter #: 253087182
                                                          Encounter#:                 Department: Psychiatry
                                                          Center: LARGO
                                                                  LARGO               Largo


Visit Summary
Reason for Visit
  ANXIETY
Diagnoses
Dia noses
                                                                       Codes                  Comments
   MAJOR DEPRESSIVE DISORDER, RECURRENT EPISODE,                       F33.2
                                                                       F33.2
   SEVERE W ANXIOUS STRESS - Primary


Telephone Contact Summary
Outgoing
Out oin Call
                             Provider
                             Provider                     Department                   Center
   2/6/2018 3:32 PM          Smith, Shanda (M.D.),
                                           (M.D.}, M.D.
                                                   M.D.   Psychiatry Largo             LARGO

Encounter
Encounter Documentation
          Documentation.
Smith,                M.D. at 2/6/2018
Smith, Shanda (M.D.), M.D.    2/6/20·18 3:55 PM
  Status: Signed

                       Medication Management
   Scheduled Telephone Medication Management Visit

   S: Pt called for scheduled follow-up, symptoms assessment and medication
                                                                        medication review.
                                                                                    review. Chart and history
   reviewed. Called pt in response to secure message; notes initial improvement in mood; not crying as much
   reviewed.
   after starting Prozac and titrated to 20mg successfully; however about 1.5
         starting Prozac                                                      1.5 week after increasing to 20mg
   experienced heightened anxiety, chest palpitations, shakiness; on further discussion pt under significant
   stress; feels bad about still living
                                 living in her mother's home after 1y;
                                                                   1y; "I"m             married, and have a son";
                                                                       "l"m almost 40, married,
   some issues w/ mother's mate; also pt in the process of buying a home which has been   been stressful.
   Feels she is tolerating Prozac well.
   Rec pt continue Prozac 20mg and also discussed r/b/se of sparing use of AtivanAtivan for severe
   anxiety/palpitations; discussed it can be habit forming and cautioned against regular use. Appeared to
   understand.
   No SI

   Current Meds:
           Meds:
   Prozac 20mg
   Trazodone 50mg
             50mg hs prn

                 Exam:
   Mental Status Exam:
   She sounds awake alert, cooperative.
                                                                 Evans,
                                                                 Evans, Desire N
                                                                               N
                                                                 MRN: 88245320

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     11
                                                   12 of 19




                                        Plaintiffs0000005750
                                                                                                    JA3436
                                                                             D. Clifton a.k.a. D. Evans:
                                                                                                  Evans: Smith 000016
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:  22-5 Page:
                           Document 86-201547     Date Filed:
                                           Filed 12/11/21     09/08/2022
                                                           Page   18 of 24




          Documentation (continued)
Encounter Documentation
Smith, Shanda (M.D.), M.D.
                      M.D. at 2/6/2018 3:55 PM (continued)
                                                 (continued}
  Speech: spontaneous, nl rate/volume/tone
  Mood: anxious/stressed
  Thought Process: logical, goal-directed.
                              goal-directed.
  Thought Content: Denies
                     Denies suicidal ideation/intent/plan.
                                      ideation/intent/plan. No evidence of homicidal ideation, delusions, or
  hallucinations.
  Cognition: grossly intact
  Insight/Judgment: intact

Diagnosis:.
Diagnosis:-
              with Anxious Stress
MDD, Rec, Mod with

Plan:
1 Start Ativan 0.5mg: 1-2 pm
1.                        prn severe anxiety
2. Continue Prozac 20mg
               on 2/16 as scheduled
   F/u with me on
3. F/u

Encouraged to f/u
              flu via kp.org sooner ifif needed.

The risks, benefits,
           benefits, side effects and alternatives for the various medications (including
                                                                               (including not taking medications)
started today were reviewed with the pt.

II have confirmed the presence of the above clinical diagnoses, which which were considered in the current and
 ongoing care of the patient. At the time of this visit, the patient states,
ongoing                                                              states, and/or the medical record indicates, that
there are no changes inin these conditions, unless otherwise noted,
                                                                  noted, and the patient has been advised to follow
up with PCP or specialist as treatment warrants.




                            Smith, Shanda (M.D.), M.D., 2/6/2018 3:59 PM
   Electronically signed by Smith,                                    PM

                                  ----------·-----------------------·--------
Contacts
                               Type                  Contact                                    Phone
   02/06/2018 03:32 PM
                    PM         Phone (Outgoing)
                                     (Outgoing)      Evans, Desire N (Self)
Level of Service
   Level of Service
  PHYS TAV, EST PAT,PAT, 11-20 MIN OF MEDICAL DISCUSSION [99442A]

Encounter
Encounter Messages
  No messages in this encounter

               Message Encounter Routing History
Patient Secure Message
Patient Instructions
        Instructions
  None
                                                END OF REPORT
                                                END    REPORT


                                                                     Evans, Desire N
                                                                     Evans,
                                                                     MRN: 88245320

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                                                      13
                                                      13 of 19




                                         Plaintiffs0000005751
                                         Plaintiffs0000005751
                                                                                                          JA3437
                                                                               D. Clifton a.k.a. D. Evans: Smith 000017
     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:  22-5 Page:
                            Document 86-201548     Date Filed:
                                            Filed 12/11/21     09/08/2022
                                                            Page   19 of 24




 •••
     /ph KAISER
         PERMANENTE
        N Evans
 Desire N Evans                                                                                       Description: 38 year old
 2/6/2018 11:48
          11:48 AM
                AM Patient Secure Message
                                  Message                                                             female
 MRN: 88245320                                                                                        Provider· SHANDA J
                                                                                                      Provider:           J
                                                                                                      SMITH
                                                                                                      SMITH MD
                                                                    Encounter #: 253059819
                                                                    Encounter#:                       Department: Psychiatry
                                                                    Center: LARGO
                                                                            LARGO                     Largo
                                                                                                      Largo


Visit Summary
Reason
Reason for Visit


Telephone Contact Summary
Call Information
     Information
                                  Provider                          Department                         Center
   2/6/2018 11:48
            11 :48 AM
                   AM             Smith, Shanda (M.D.), M.D.
                                                        M.D.        Psychiatry Largo
                                                                               Largo                   LARGO
Encounter Documentation
  No notes of this type exist for this encounter.
                                       encounter

Encounter Messages
  RE: Medication Question
       From                                         To
                                                    To                                     Sent
       Desire N Evans                               Shanda J (M.D.) Smith, M.D.            2/6/2018 2:14 PM
    The hydroxyzine was giving  giving me migraines,
                                             migraines, and you changed me to trazadone which doesn't work at all.   all. The nausea
     is not coming from the medicine.
                                  medicine. MyMy anxiety/nervousness is causing
                                                                          causing my stomach to feel
                                                                                                 feel this way and unable to eat. eat.
    II literally feel like I'm
                           I'm sitting in                                                         life. II don't know why II feel so
                                       in the doctors office waiting to hear the worst news of my life.
     nervous and scared.


       Previous Messages
           ----- Message --
                          --
            From: SHANDA SMITH MD, M.D.
            Sent: 2/6/2018 1:58
                            1 :58 PM
                                  PM EST
                                     EST
            To: Desire N. Evans
            Subject: RE: Medication Question

            Good afternoon,

            Thank-you for the update.

            ItIt doesn't sound
                         sound like this medication
                                         medication is working
                                                       working well.
                                                               well.

            For
             For now II recommend you reduce the Prozac
                                                 Prozac back down to just one tablet daily (10mg)
                                                                                           (10mg) to reduce the side
            effects (shakiness, nausea etc).

            Prozac (Fluoxetine) typically takes 4-6 weeks for maximal effect of your anxiety.

            The Hydroxyzine can
                             can be used short term to help with your anxiety/nervousness until the Prozac is effective.
            What has
                 has your response been to the Hydroxyzine?
                                                Hydroxyzine?


                                                                             Evans, Desire
                                                                                    Desire N
                                                                             MRN: 88245320

Page
Page 13
     13
                                                            14 of 19
                                                                  19




                                               Plaintiffs0000005752
                                                                                                                        JA3438
                                                                                          D. Clifton a.k.a. D. Evans: Smith 000018
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:  22-5 Page:
                           Document 86-201549     Date Filed:
                                           Filed 12/11/21     09/08/2022
                                                           Page   20 of 24




Telephone Contact Summary (continued)
                    (contlnued)
Encounter Messages (continued)
          Dr Smith
          Dr. Smith

           ----- Message --
                         --
                           N. Evans
              From: Desire N.
             Sent: 2/6/2018 11:48  AM EST
                            11 :48 AM
               To: SHANDA SMITH     MD, M.D.
                            SMITH MD,
                    Medication Question
           Subject: Medication  Question

             Good
              Good Morning
             II have been trying to email since last wee, II hope this one make it through.
                                                                                       through. II am
                                                                                                   am writing because the first
           week and half on my medication, II was doingdoing a lot better. II still have extreme anxiety, but II was not as
           depressed or sad.
                           sad. Fast
                                Fast forward to last week II began
                                                               began to
                                                                     to. feel worse than II was before even with the medication.
           II became really sad and depressed again almost angry. My anxiety is to the put that I'm        I'm feeling nauseous II
           can't eat because I'm so nervous II feel like   I'm going to vomit.
                                                      like.I'm           vomit. II don't know what II should do at this point my
           hands are literally shaking.



   RE: Medication Question
      From                                 To                                             Sent and Delivered
      Shanda J (M.D.) Smith, M.D.          Desire
                                           Desire N
                                                  N Evans                                 2/6/2018 1:58
                                                                                                   1 :58 PM
                                                                                                         PM
           Read in kp
      Last Read        org
                   kp.org
      2/6/2018 2:33 PM             N Evans
                      PM by Desire N
    Good.afternoon,
     Good .afternoon,

      Thank-you
      Thank-you for the update.
                        update.

     ItIt doesn't sound like this medication
                                  medication is working well.
                                                        well.

      For
      For now              you reduce the Prozac
          now II recommend you            Prozac back down to just one tablet daily (10mg)
                                                      down to                                 reduce the side effects
                                                                                    (10mg) to reduce
     (shakiness, nausea etc).

      Prozac (Fluoxetine) typically takes 4-6 weeks for maximal effect of your anxiety.

     The Hydroxyzine can be used short term to help with
                                                    with your anxiety/nervousness until the Prozac
                                                                                            Prozac is effective. What
                       bean to the Hydroxyzine?
     has your response been

      Dr Smith
      Dr.


      Previous
      Previous Messages
          ----- Message -----
             From:         N. Evans
              From: Desire N.
             Sent: 2/6/2018 11:48    AM EST
                              11 :48 AM  EST
               To: SHANDA SMITH
                             SMITH MD,MD, M.D.
           Subject: Medication
                    Medication Question
                                  Question

             Good Morning
                                    email since last wee, II hope this one make it through. II am writing because the first
             II have been trying to email
            week and half on my medication, I was doing            better II still have extreme anxiety, but II was not as
                                                      doing a lot better.
           depressed or sad. Fast forward to last week I began to feel worse than II was before even with      with the medication.
           II became really sad
                              sad and depressed again almost angry. My anxiety is to     lo the put that I'm feeling nauseous II
           can't eat because I'm so nervous II feel like I'm
                                                           I'm going
                                                               going to vomit.
                                                                        vomit. II don't know what II should do at this point my

                                                                            Evans,
                                                                            Evans, Desire N
                                                                                   Desire N
                                                                            MRN: 88245320

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'Page
                                                           15 of 19




                                              Plaintiffs0000005753
                                                                                                                      JA3439
                                                                                        D. Clifton a.k.a. D. Evans: Smith 000019
    Case:2:18-cv-05629-JDW
    Case  22-1998 Document:  22-5 Page:
                           Document 86-201550     Date Filed:
                                           Filed 12/11/21     09/08/2022
                                                           Page   21 of 24




Telephone- Contact Summary (continued)
Telephone
Encounter Messages
          Messages (continued)
         hands are literally shaking.
                             shaking.




   Medication Question
       From
        From                                       To                                       Sent
       Desire
        Desire N Evans                             Shanda J (M.D.) Smith,
                                                                       Smith, M.D.           2/6/201811:48
                                                                                             2/6/2018 11 :48 AM
                                                                                                              AM
     Good
     Good Morning
              Morning
      II have been trying
                     trying to email since last wee, I hope this one make it through. II am writing because the first week and  and
     half on my medication,
    half           medication, II was doing
                                        doing a lot better.
                                                    better. I still have extreme anxiety, but II was not as depressed
                                                                                                            depressed or sad. Fast
    forward to last week II began to feel worse than II was before even with the medication. II became really sad and
    forward
    depressed again almost angry. angry. MyMy anxiety is to the put that I'm
                                                                           I'm feeling
                                                                               feeling nauseous II can't eat because I'm
                                                                                                                      I'm so nervous
    II feel like I'm           vomit. II don't know what II should do at this point my hands are literally shaking:
                 I'm going to vomit.                                                                         shaking.




Patient Secure Message Encounter
Patient                Encounter Routing
                                 Routing History
Patient Instructions
        Instructions
   None

                                                     END OF REPORT




                                                                            Evans,
                                                                            Evans, Desire
                                                                                   Desire N
                                                                                          N
                                                                            MRN: 88245320
                                                                            MRN:

Page 15
                                                           16 of 19
                                                                 19




                                              Plaintiffs0000005754
                                                                                                                JA3440
                                                                                         D. Clifton a.k.a. D. Evans: Smith 000020
   Case:2:18-cv-05629-JDW
   Case  22-1998 Document:  22-5 Page:
                          Document 86-201551     Date Filed:
                                          Filed 12/11/21     09/08/2022
                                                          Page   22 of 24




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 ON   KAlSER
      MISER      .
 ~'"' PERMANENTE,:.
      P.E.RMANENTEi,'j
 Desire N Evans                                                                        Description: 38 year old
 2116/2018 1 :59 PM Telephone
 2/16/2018 1:59                                                                        female
 MRN: 88245320                                                                         Provider· SHANDA J
                                                                                       Provider:
                                                                                       SMITH MD
                                                          Encounter #: 253752948
                                                          Encounter#:                  Department: Psychiatry
                                                          Center: LARGO                Largo


Visit Summary
Reason for Visit


Telephone Contact Summary
Call Information
     Information
                             Provider                      Department                   Center
   2/16/2018 1:59
             1 :59 PM
                   PM        Smith, Shanda (M.D.), M.D.
                                                   M.D:    Psychiatry Largo             LARGO
                                                                                        LARGO


Encounter Documentation
Encounter Documentation
Smith, Shanda (M.D.), M.D. at 2/16/2018 1:59
Smith,                                  1:59 PM
                                             PM
  Status: Signed

  Attempted to reach
  Attempted    reach pt who didn't log
                                   log in for today's Video Visit.

  Reached her VM
              VM and left message w/ my name/return
                                        name/return number.
                                                    number.

  Encouraged her
  Encouraged her to reach
                    reach out to me either through kp.org or by phone for any questions/concerns

  Electronically signed by Smith, Shanda (M.D.), M.D., 2/16/2018 2:00 PM


Encounter
Encounter Messages
          Messages
  No messages in this encounter
  No

                       Encounter Routing
Patient Secure Message Encounter
Patient                          Routing History
                                         History
Patient Instructions
        Instructions
   None

                                              END OF REPORT
                                                     REPORT




                                                                     Evans, De-
                                                                              sire N
                                                                            Desire
                                                                     MRN: 88245320

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                                                    17 of 19
                                                          19




                                        Plaintiffs0000005755
                                                                                                     JA3441
                                                                               D. Clifton a.k.a. D. Evans:
                                                                                                    Evans: Smith 000021
                                                                                                                 000021
              Case:2:18-cv-05629-JDW
              Case  22-1998 Document:  22-5 Page:
                                     Document 86-201552     Date Filed:
                                                     Filed 12/11/21     09/08/2022
                                                                     Page   23 of 24


.. V-t~~13
       PSV-/
~~ KAISER
   KAISER
                   yY\'D)_,;
                   1'4
          PERMANENTE®
                                    r?+f-'JL/-('Jj17lf:-(
                                               717Patient
                                                                  --.,
                                                    Patient Name: \ ,. c-~,, H:                                  J:.., ,r·\ \.
          PERMA EWE,                                                                             t                                ·,--::~
            Kiser Permanente
          (*Kaiser
          listed
          listed on
                   Permanente entitles
                 on reverse
                              entitles are
                    reverse side
                            side of
                                       are
                                 of this
                                    this form)
                                         form)
                                                        Medical Record number:  nurroer: ·-i-,0,.,
                                                        Add ress: 11 \"·-;--,· ...,..,  · .
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                                                                                              I ·        i
                                                                                                           ~+-~<•.· ?..a.O
                                                                                                                    2.,7"-;_c_. Brth
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                                                                                                                                  Birth Date: -3.
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                                                                                                                                                          - . ·:;i-5.    -,c;
                                                        Address:                 ,--,, '--- 1
                                                                                              1--....,., 1 (~ ( i ·y . q ·•)1Ac.,:!  c... . . c . c
, AUTHORIZATION FOR USE                                 City: \ ,,_,;J', d· r' ,1 c,,r.;;.'                                      State: _.:\.-_-{..._ ! (-'-
                                                                                                                                                        - ..J.,.         _
  OR DISCLOSURE OF PATIENT                              Zip Code: ;;:: r-~~11-,~1~ •.\           Phone#:
                                                                                                 Phone       #:     ('?.C·\  )   .'}~-.,    1.-   . · - n
                                                                                                                                            A:- -7 ,qree3        s----
  HEALTH INFORMATION                                  V Email:
                                                        Email:
Note: Fees may apply to certain requests \
 Kaiser Permanente may release this information to:'
                                                to;l,~eck
                                                     WI-Check ifit same as above
 Recipient Name:
 Address:                                         City:                     State:__ Zip Code:
  Phone## (
 Phone          )                                 Email:
, This disclosure can be used for the following purpose(s): 0 Personal Usea                                          0 Legal
                                                                                                                     0                        0 Insurance
                                                                                                                                              0
  0 Medical Treatment
  El                                   a
                               0 Medical Condition Verification     ❑
                                                                    0 Disability                                  `1 -.EMLA
                                                                                                                  ~~LA                      0
                                                                                                                                            O Workers' Comp
  Check ONLY one of the following three options to identify the health information to be released.
.Jeck
i-Option
    =Optlcn 1: 1: Form Completion (a substitute form or relevant medical records may be released)
  a Option 2: Last 2 years of Kaiser Permanente Medical Office and Kaiser Foundation Hospital records
  ❑
  a Option 3: Records as specified. You must complete Step 11 and Step 2 below,
  ❑                                                                           below.
     Step 1,1. Enter date range or date(s)
                                      date{s) of the records to be released:     . .          ..
     Step   2.,,,5ed wtipes   of records to be
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  NOT~3~~ Medical Office records released as part of this authorization may contain references
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  relate 1o mental health, addiction, and HIV medical conditions.
  Check the boxes below if you want this release to include the following information, Otherwise,
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                        mission to release addiction medicine treatment records expires after six (6) months.
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  REVOCATION: You or your personal representative
  the Release of Information Unit listed for your region of service on the reverse side of this form. Your cancellation will not affect informa-
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   Kaiser Permanente may not condition treatment, payment.
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   was disclosed will be included in your medical record. A copy of the original authorization is valid. You have a tight
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                         Health Care Provider Certification for the Family
                                                                    Famil y Medical Leave Act (FMLA)
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                                                                    Health Condition                                                                         15

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aA   Important!
     Important!
  I . Your health care provider must complete all questions on this form.
  1.
                                    l-888-763-6468, option 2, to initiate your leave of absence before you submit this form. Failure
  2. You must call Aon Hewitt at 1-888-763-6468,
      to contact Aon Hewitt to report your leave may affect your job, pay, and benefits.
  3.- Fax this completed form to 1-847-554-1934
  3,                              l-847-554-1934 or mail it to Aon Hewitt, P.O. Box 785002, Orlando, FL 32878-5002.
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                                 Health Care Provider Section —
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  3. Can the employee do work of
 .3.                               any kind? (Check one.)
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     0 Yes, the employee can do part of his or her
     Q                                          her-job.
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     rt       No, the employee cannot do any work.
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  4. The employee needs to to miss work:
                                   work:
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     13intermittently-Occasional
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     8Toterrrittertly-Occasio11Bl absences due to a single illness or ir4ury
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        [] Planned, Regular Schedule
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               How many hours can this employee work each day (for example, 5 hours)?
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          How often will this employee                                   twice.aa month)?
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     b) Is it medically.necessary
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                Exhibit 57




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                                  Gladys S. Fenichel, MD
                                       210 Kent Road
                                    Ardmore, PA 19003
                               FenichelMD@FenichelMD.com
                                       (610) 649-8940
                                    FAX (610) 649-5071

September 23, 2019

Elisa P. McEnroe
Morgan, Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103-2921

RE: Desire Evans et al. v. Educational Commission for Foreign Medical Graduates

Dear Ms. McEnroe

On September 9, 2019, I had the opportunity to see Desire Evans for an independent psychiatric
evaluation. The evaluation was requested to comment on Ms. Evans’ psychiatric condition in
relation to the Complaint in Desire Evans et al. v. Educational Commission for Foreign Medical
Graduates.

At the start of the examination, I discussed with Ms. Evans that the examination was not for
purposes of treatment and it was not a confidential examination. I discussed with Ms. Evans that
I would prepare a report based on the psychiatric evaluation and review of records.

The file included the following documents:

   1. Medical Records: Plaintiffs0000000001 – Plaintiffs0000000571; Plaintiffs0000005735 –
       Plaintiffs0000006016
   2. Complaint in Russell et al. v. ECFMG (12/31/2018)
   3. Desire Evans’ Answers to First Set of Interrogatories and Responses to First Set of
       Requests for Production of Documents (3/29/2019)
   4. Desire Evans’ Supplemental Answers to First Set of Interrogatories and Responses to
       First Set of Requests for Production of Documents (6/17/2019)
   5. Deposition of Desire Evans (9/5/2019)
   6. Class Action Complaint in Dews v. Dimensions Health, CAL 17-34091 (11/22/2017)
   7. Desire Evans Answers to Interrogatories of Defendant Dimensions Healthcare
       Corporation D/B/A/ Prince George’s Hospital Center (7/10/2018)
   8. Deposition of Desire Evans, CAL 17-22761, CAL 17-37091, and CAL 18-07863
       (3/28/2019)
   9. Summary of Preliminary Psychiatric Interviews by Susan J. Fiester, M.D. (11/26/2018)
   10. Expert Report of Jennifer L. Payne, M.D. (5/13/2019)




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                                                                        RE: Desire Evans
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HISTORY REPORTED BY DESIRE EVANS:

Desire Evans (                               ) said that she is involved in a lawsuit because the
doctor who delivered her son had “identity fraud.” Ms. Evans said that he used different names
and Social Security numbers to obtain his certification.

Ms. Evans said she assumed that Dr. Akoda had hurt other women because she felt that he had
hurt her during the delivery of her son. Ms. Evans said that when she heard an ad telling anyone
who had been Dr. Akoda’s patient to call a phone number, Ms. Evans assumed that Dr. Akoda
had touched other women inappropriately. Ms. Evans said that when she called the number, she
learned that the lawsuit was not, per se, malpractice. Ms. Evans said that it is her understanding
that Dr. Akoda failed several certification tests, and he had reapplied using different Social
Security numbers and names. Ms. Evans said she believes that Dr. Akoda was trying to degrade
people. Ms. Evans could not understand why Dr. Akoda continued to submit applications to
ECFMG using different names. Ms. Evans continued, “How do you even know he is who he
said he was? I still don’t know who he is.” Ms. Evans said that the experience with Dr. Akoda
affected her. Ms. Evans said that she lost complete trust in the medical field and has problems
with trust. For example, she said she did not feel comfortable going in a car with a driver she did
not know, and her husband took off from work to drive her to the independent psychiatric
examination.

Ms. Evans said that her prenatal care was at the practice of Javaka Moore, MD. She said that
during her pregnancy, she had to go to the practice chosen by Medicaid. She said she saw Dr.
Moore and nurse practitioners. She said she had started to dilate at five months, and she was
treated with progesterone. Ms. Evans said she was scheduled to be induced because she was two
weeks past her due date. Ms. Evans said she expected that Dr. Moore would deliver her baby.
She said she met Dr. Akoda on the day of the induction. She said a nurse had put in the epidural
and given her Pitocin. She said she did not meet Dr. Akoda until her water broke, and at that
time, she was in labor.

Ms. Evans said that Dr. Akoda was the only doctor in and out of the delivery room. She said that
when her labor was not progressing, Dr. Akoda began to stimulate her clitoris. Ms. Evans said
she questioned what he was doing, and he told her and her husband that this stimulation would
help the baby come out. Ms. Evans said she was in labor and this felt weird and uncomfortable.
Ms. Evans said she thinks the nurse was in the delivery room. Ms. Evans said she was not in
stirrups at that time, but rather her mother and her husband were holding her legs. Ms. Evans
repeated that Dr. Akoda made her feel uncomfortable. Ms. Evans said that she had an
emergency C-section.

Ms. Evans had a six-week checkup with the nurse practitioner. Ms. Evans said that she had
severe back and leg pain after the epidural, and she said she still has sciatic pain. She talked
about the sciatic pain at her six-week checkup. She did not say anything about Dr. Akoda’s
behavior during the delivery of her son.

Ms. Evans said she has not had any follow-up gynecologic care since her son was born. She
said, “I don’t want anyone touching me down there.” Ms. Evans said that she lost trust after the




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                                                                        RE: Desire Evans
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delivery because her doctor did not show up, and the doctor who delivered her son was “another
doctor who was supposed to be a doctor.” She said that she was uncomfortable with how he
touched her. Ms. Evans said she does not see a primary care physician. She said she has been in
treatment with a psychiatrist and a psychologist, and she has blood pressure and weight checks.

Ms. Evans began to cry. She said that she and her husband have only had sex two or three times
since her son was born. She said that she feels uncomfortable if he tries to touch her. She said
that her husband loves her. Ms. Evans said she is trying to work through this, and it is
embarrassing.

Ms. Evans has Family Medical Leave for diagnoses of anxiety, depression, and posttraumatic
stress disorder, and she has ADA accommodations for anxiety. Ms. Evans said that Dr. Ebony
Cross is her psychiatrist, and she has been in treatment with Dr. Cross since April 2019. Ms.
Evans said that her medications include
                                                        . Ms. Evans said that she has really bad
anxiety that affects her sleep. She said that she does not believe she had postpartum depression.
She said that she believes her problem was a consequence of losing complete trust in the medical
field.

Ms. Evans said she has been in treatment with Dr. Donato for two years. Ms. Evans said that Dr.
Donato has recommended YouTube videos about stress. Ms. Evans said that she is not a person
who opens up to other people, and she does not like to talk about herself. She said that she
schedules appointments with Dr. Donato as needed, and he completes forms for ADA and
FMLA. Ms. Evans said that her ADA accommodations allow her to work from home, and her
Family Medical Leave accommodations allow her to take days off for doctors’ appointments and
anxiety. She can be out of work eight hours a day, three days a week. Ms. Evans said that she
probably works 26 to 30 hours a week. Ms. Evans was crying as she related her history. Ms.
Evans said that her ADA accommodations are permanent, but her FMLA leave requires updates.

Ms. Evans said that she will sometimes talk to Dr. Donato on the phone. She said that she spoke
to her previous psychiatrist, Dr. Shanda Smith, on the phone. Ms. Evans said that it is her
anxiety that keeps her up and it is her anxiety that affects her ability to focus. She said, “I walk
around with a big ball of stress.”

Ms. Evans said that she had anxiety after the hospital experience, and she had serious trust issues
about everything after the experience with Dr. Akoda. She said that her problems with trust
increased when she learned about a lawsuit regarding Dr. Akoda.

Ms. Evans said that Dr. Donato referred her for a psychiatric evaluation with Dr. Nnamani. Ms.
Evans said that she had only one appointment with Dr. Nnamani because the office was one hour
from Ms. Evans’ home. Ms. Evans said that Dr. Nnamani diagnosed her with posttraumatic
stress disorder. Ms. Evans said that she has a lot of pent up trauma and there was no specific
abuse, but neglect. Ms. Evans said that she grew up in the church and her grandmother was a
Pentecostal pastor who passed away in 2007. Ms. Evans said that she was 19 years old in 2007,
through her date of birth shows that she would have been 28 years old in 2007. Ms. Evans said
that her mother was 19 or 20 years old when Ms. Evans was born, and Ms. Evans’ grandmother




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                                                                        RE: Desire Evans
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was the constant person in her life. Ms. Evans said that she and her grandmother had everyday
bible study. Ms. Evans said 50 or 60 people followed her grandmother’s preaching. Ms. Evans
said that after her grandmother died, she lost faith. Ms. Evans said that her grandmother was the
most faithful servant of God, and she was a perfect human being. Ms. Evans said that her
grandmother had breast cancer. Ms. Evans said she thought God was going to heal her
grandmother, and she did not have any treatment. Ms. Evans was crying. She said she did not
go back to the church after her grandmother’s death.

Ms. Evans said that she had other trauma related to her brother. She said that she felt that she had
to raise him. Ms. Evans said that she does not believe her mother acted in an intentional way not
to care for her and her brother, but her mother was not available to raise her or her brother.

Ms. Evans said she did not have trust issues with doctors before the birth of her son. Ms. Evans
said that she had trust issues with God. She repeated that since the birth of her son, she is not
interested in sex. She said that she does not want to be touched by anyone. Ms. Evans said that
she believes her husband has looked at her in a different way since the childbirth experience.
She said that she has not wanted to talk about her experience in labor with her husband. She said
that she feels that this is her issue.

Ms. Evans described her mood as a big ball of stress. She said that she has dreams that are very
scary. She said that she cannot pinpoint the content of the dreams, and they are not recurring
dreams. In response to a question about her appetite, she commented that she is fat. She said
that she is 5 feet, 3 inches tall and she weighs 180 pounds. She said that she started gaining
weight after she had her son and she weighed 156 pounds after her son was born. Ms. Evans
said she feels a little better because she had recently lost 15 pounds. She reported that she eats
late at night, and she believes that this contributes to the weight gain. Ms. Evans said that she
has problems with her concentration. She said that she feels she is all over the place, and it is
hard to stay on task. Ms. Evans said that she has problems with energy. She said that she tries to
have a good time with Peyton and other family members. Ms. Evans said that she does not have
suicidal thoughts. Ms. Evans said she can feel the most depressed in the world, but she will then
focus on her son and her husband. Ms. Evans said that she has anxiety attacks, but she does not
know what causes them. She said that when she feels the anxiety increasing, she takes a
Klonopin.

Ms. Evans said that everything scares her. Ms. Evans said that she did not have her son
vaccinated until he was three years old because of her fears. She said that she feels every day is
Halloween, and she is terrified of the world. She said that her feelings of terror increased after
her son was born. She reported that she does not like to be around people, and she does not like
to leave the house because everything worries her.

Ms. Evans returned to discussing the lawsuit. Ms. Evans said that Dr. Akoda said he was a
doctor. Ms. Evans said that she is now under the impression that he may not be a doctor. Ms.
Evans said that she feels she was harmed and that Dr. Akoda touched her in an inappropriate way
during the delivery. She repeated that she does not know if he is a doctor, and she does not know
if he has the certification necessary to be a doctor.




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                                                                        RE: Desire Evans
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PAST MEDICAL/PAST PSYCHIATRIC HISTORY:

In June 2014, Ms. Evans fell down wooden stairs. She said that there were 15 steep steps in her
apartment. She said that she lost her footing. She said that she did not lose consciousness and
did not go to the hospital right away. Ms. Evans said that she realized that she was having a
significant problem with her back and her legs. She said that she told her husband that it was
bad, and she went to the emergency room. She said that she was in the hospital for five days.
She said that she had a lot of tests. She said that she had occupational therapy and physical
therapy before she was discharged. She said that she did not have any physical therapy after her
discharge, and she did not have any follow-up. Ms. Evans said that she and her husband live in a
three-bedroom house with her office in the basement. She said there are stairs in the house, and
all the stairs are carpeted.

                                       She said that she just wanted to move out; she did not want
to co-parent with her mother any longer. Ms. Evans said that she has always been the adult. She
said that she told her mother that she had taken               of Tylenol PM, and her mother took
her to the hospital. Ms. Evans said that she tried to explain that she had not taken any pills, but
she was treated in the hospital                                       Ms. Evans said that she was
given charcoal. She said that she had taken                  She said her stupidity got her into the
situation. Ms. Evans said that she believes that this was an involuntary hospitalization. She said
that she believes she was treated with fluoxetine. Ms. Evans said that she knew there was
nothing wrong with her, and she did not have any follow-up.

Ms. Evans said she did not have any psychiatric or psychological treatment until she began
treatment with Dr. Smith in January 2018.

SOCIAL HISTORY:

Ms. Evans said that she has been married for four years, but she and her husband have been
together for seven years. Their son, Peyton, was born on March 17, 2016. She said that her
husband has three children from a previous relationship, including a 15-year-old boy, an 11-year-
old boy, and a 7-year-old girl.

Ms. Evans reported that she has been working for Blue Cross Blue Shield in customer service
since June 2015. She was not hired to a permanent position until January 2016 and she did not
have any maternity leave. She said that she took off eight weeks and was then able to work from
home.

Ms. Evans said that she is studying cybersecurity at Strayer University. She said that she takes
two classes a semester and has gotten all A’s. Ms. Evans said that she believes she can finish her
degree in three or four years. Ms. Evans said she wants to work in the private sector. She said
that she is concerned about issues related to voting. She said that her grandmother always
worked at the polls, and her grandmother was very politically involved.

Ms. Evans said that she has a good job with health benefits. She said that all the calls are
recorded, and five calls a month are reviewed. She said that the job is micromanaged. She said




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                                                                        RE: Desire Evans
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that she needs to be on the phone 82% of the time. She said that she cannot be longer than seven
minutes on any call, and she only has two minutes to enter the information.

Ms. Evans said that she and her husband, a bus driver, get along well. She said that he is really
laid back. Ms. Evans described her son Peyton as “awesome,” very active, and headstrong.

Ms. Evans said that her mother is 61 years old, healthy, and works in a doctor’s office. She said
that her father has been in and out of jail for drugs and robbery. She said that her parents were
divorced in 2008.

Ms. Evans said that she left school at 16 or 17. She said that she wanted to help her mom. She
said that she got a high school diploma and studied a trade to be a nursing assistant.

Ms. Evans denied the use of alcohol. She denied the use of drugs, including marijuana. [Note:
Ms. Evans had reported to Dr. Smith that she was using daily marijuana to help with sleep.]

MENTAL STATUS EXAMINATION:

Mental status examination revealed a casually groomed 40-year-old woman. Her speech was
goal-directed and spontaneous. Although Ms. Evans discussed her problems with trust, she
spoke in a spontaneous fashion, provided a detailed personal history, and easily established
rapport.

Ms. Evans described her mood as a big ball of stress. Her affect was labile with frequent crying.
She denied suicidal ideation. She would never leave her husband and her son.

Ms. Evans said that she has anxiety attacks. She cannot identify a precipitant. She said that she
has vivid dreams, but she does not recall the content of the dreams.

Ms. Evans said that Dr. Donato sent her to a psychiatrist who diagnosed posttraumatic stress
disorder. Ms. Evans said that the posttraumatic stress disorder relates to all the previous trauma.

Memory and intelligence were grossly within normal limits.

REVIEW OF RECORDS:

I have reviewed the records identified at the start of the report. The following summaries of
information reported in medical records focus on the provided records that referred to psychiatric
complaints.

1. Shanda Smith, MD

Ms. Evans had a new patient evaluation on January 17, 2018. The chief complaint was
depression and anxiety. Ms. Evans was self-referred after consultation with a primary care
doctor. Ms. Evans reported feeling anxious and depressed for most of her life, but worse over
the past year since her birthday in March. Ms. Evans reported significant anxiety, described as




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excess worry that was difficult to control. Ms. Evans reported intermittent panic symptoms
including shortness of breath, palpitations, and weeping. Ms. Evans seemed to cry out of the
blue for no reason. Ms. Evans had passive thoughts of death related to hopelessness but denied
any intent or plans because of her strong attachment to her two-year-old son. Ms. Evans
endorsed symptoms of depression that included depressed mood, anhedonia, sleep disturbance,
low energy, and low appetite. Ms. Evans had poor focus because of anxiety and thoughts
jumping around. Ms. Evans was working at home so she could watch her son. He was growing
more active, and this was becoming more of a challenge. Ms. Evans denied any specific
stressors or changes. She did note that she was not satisfied with her life. She said she could not
focus or pursue her goals because of anxiety. She described herself as very private. Her
husband was aware of her depression, but she felt he did not know how to respond.

In regard to past psychiatric history, Ms. Evans reported histories of symptoms on and off
throughought her adult life. She had one suicide attempt by overdose in 2009. She was admitted
to a psychiatric hospital for about five days. Ms. Evans was started on fluoxetine but stopped it
soon after discharge. There was no additional or continued care.

Ms. Evans reported that when her parents were divorced, she functioned as a parent to her
younger brother, who was nine years younger.

The diagnosis was major depressive disorder, recurrent, severe, with anxious stress, and
unhealthy substance behavior, referring to daily marijuana use to help with sleep. The treatment
plan was for Prozac and hydroxyzine as needed for sleep and severe anxiety. There would be a
video visit on February 16, 2018 and a psychotherapy appointment on January 19, 2018.

The records included correspondence from Ms. Evans to Dr. Smith regarding medication. The
plan was to stop hydroxyzine and prescribe trazodone.

The appointment on February 6, 2018 was a structured telephone medication management visit.
Ms. Evans reported initial improvement in mood. She was not crying as much since starting
Prozac, but about one and a half weeks after increasing to 20 mg, her anxiety increased. The
plan was to continue Prozac and use Ativan sparingly for severe anxiety and palpitations. She
was taking Prozac 20 mg and trazodone 50 mg at bedtime as needed.

Dr. Smith completed a Family Medical Leave form dated January 22, 2018. The diagnosis was
major depressive disorder, recurrent episodes, severe, with anxious stress. The recommendation
was for unplanned leave twice a month for eight hours.

There was no mention of Dr. Akoda or the allegations in the Complaint anywhere in the records.

2. Shah Associates Family Practice

The records included a note from Dionne Lucas, PAC dated July 25, 2016. Ms. Evans was a
new patient to the practice. Ms. Evans was complaining of feeling sad all the time and having
severe anxiety. She had a baby in March 2016, and since then she had not been able to sleep.
Ms. Evans was afraid to drive a car. She was afraid of walking down steps with her son because




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she thought she might drop him. She was afraid to let her son be watched by other people. She
was losing hair. She had not been able to go into work since her maternity leave ended. When
Ms. Evans saw her gynecologist, she was given a note for reasonable accommodation, which
allowed her to work from home until August 1, 2016. Ms. Evans was asking for an updated
letter and evaluation for this complaint.

Ms. Evans said before she had her baby, she did not have any issues with anxiety and depression.
Her husband and mother were described as very supportive. During her pregnancy, Ms. Evans
started to complain of lower back pain that would shoot down her left leg. The symptoms
continued. She said it was like a vibrating cell phone in her left back pocket. She had not used
any medication for this complaint. She had reached her pre-pregnancy weight. Her only injuries
to the back occurred during the summer of 2015 from C3 to C5, affecting the right side.

Ms. Evans said her lower back had never been an issue. Her past history included depression,
anxiety, and anemia. She was taking naproxen every 12 hours and sertraline 50 mg. She said
she had been gaining weight. She was fatigued. She was not able to fall asleep or stay asleep.
The impression was depression, anxiety, possiblly postpartum. She was started on Zoloft 50 mg.
Ms. Evans was given information to consult a mental health professional. She received a note
extending reasonable accommodations until the week of September 12, 2016. She had lumbago
and sciatica. She had an order for an x-ray of the lumbar spine and an appointment for a nerve
conduction study.

There was no mention of Dr. Akoda or the allegations in the Complaint anywhere in the records.

SUMMARY AND IMPRESSION:

It is my opinion that Ms. Evans does not have a psychiatric disorder related to the allegations in
the Complaint in Desire Evans et al. v. Educational Commission for Foreign Medical Graduates.
It is my opinion Ms. Evans has psychiatric conditions of major depression and panic disorder,
documented in the available records, but there is no relation between those psychiatric conditions
and the allegations in the Complaint. Ms. Evans discussed her feelings about the inappropriate
behavior of Dr. Akoda during the delivery of her son. Ms. Evans acknowledged that she did not
report this behavior to another treating doctor or nurse or discuss her feelings about Dr. Akoda
with her husband. Ms. Evans said that her husband, her mother, and a nurse were in the delivery
room and aware of Dr. Akoda’s treatment during the delivery. Ms. Evans did not file a
malpractice complaint about Dr. Akoda in relation to the delivery of her son.

Ms. Evans has ADA and FMLA accommodations for conditions of depression and anxiety. The
symptoms of major depression and panic disorder were documented in the psychiatric report
from Shanda Smith, MD, regarding the new patient evaluation on January 17, 2018. This report
did not include any reference to Dr. Akoda or ongoing litigation. The chief complaints were
depression and anxiety. Ms. Evans reported feeling anxious and depressed for most of her life.
Ms. Evans reported significant anxiety, described as excess worry that was difficult to control.
Ms. Evans reported intermittent panic symptoms including shortness of breath, palpitations, and
weeping. Ms. Evans seemed to cry out of the blue for no reason. Ms. Evans had
                  related to hopelessness but denied any intent or plans because of her strong




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                                                                        RE: Desire Evans
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attachment to her two-year-old son. Ms. Evans endorsed symptoms of depression that included
depressed mood, anhedonia, sleep disturbance, low energy, and low appetite. Ms. Evans had
poor focus because of anxiety and thoughts jumping around.

During the evaluation, Ms. Evans said that the current lawsuit relates to a question about Dr.
Akoda’s “several different names and Social Security numbers,” but she could not identify how
this allegation has caused her to experience depression and anxiety or cause an increase in her
depression and anxiety.

Although Ms. Evans reported ongoing depression and anxiety, she has many strengths. She
described a strong marriage and her love for her “awesome” son Peyton. Ms. Evans continues to
work, and she is also in school. She believes she can finish her degree in three or four years.
Ms. Evans wants to work in the private sector and is concerned about issues related to voting.

In conclusion, it is my opinion that Ms. Evans does not have a psychiatric disorder causally
related to her allegations in Desire Evans et al. v. Educational Commission for Foreign Medical
Graduates, and there was no exacerbation of Ms. Evans’ psychiatric conditions as a consequence
of the allegations in Desire Evans et al. v. Educational Commission for Foreign Medical
Graduates.

The opinions noted in this report have been stated within a reasonable degree of medical
certainty. I reserve the right to supplement this report if additional records become available for
review.

Sincerely,


             p ?--•c“ r`l
Gladys S. Fenichel, MD
GSF/jne




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                Exhibit 58




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                                 CHRISTIANE TELLEFSEN
                                            TELLEFSEN MD
                                                      MD
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                                                Suire al5
                                                Suite    81 S P08
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          20, 2019
September 20,2019

Danielle S. Dinsmore, Esquire
                          Angeles, P.C.
The Law Offices of Peter Angelos,  P .C.
l 00 North Charles Street
100
Baltimore, Maryland 21201

                                        Re:
                                        Re:          "Charles Akoda" Cases

Dear Ms. Dinsmore:


        At your request, Il have evaluated three plaintiff's
                                                      plaintiffs in a lawsuit related to the activities of
                                      am<'>ng multiple obstetric and gynecologic patients who were
Charles Akoda. The plaintiffs · are among
evaluated or treated by Akoda in Prince George's County. These plaintiffs learned at some point
after their treatment that he had fraudulently obtained his medical license by using different Social
                                        identittes .. He has since been convicted and served time for
Security numbers and assuming false identities.
fraud. Many of these plaintiffs also complained that Akodu  Akoda behaved in a sexually inappropriate
manner with them, making them feel uncomfortable or disturbed.

        Akoda reported going through medical school in Nigeria and was certified by the
                         for Foreign Medical Graduates (ECFM(1).
Educational Commission for                             (ECFM(i), He later completed a residency
at Howard University Hospital using his fake identity. The plaiutiffs
                                                            plaintiffs have filed suit against the
ECFMG for failure to properly vet and certify this man. What follows is a brief summary of these
ECTMG
evaluations as well as a discussion about the nature of their alleged traumatic
                                                                         truumatic exposure and
subsequent symptoms. For the individual summaries I have used code names for privacy, with a key
attached in an addendum.


   alifications of Examiner:
Q.u.
Qualifications     Exaniinc.r:

        You hove
              have a copy of my Curriculum Vitae and Case List which states my qualifications to
perform this examination. This also lists my publications. I charge $500 per hour for any time spent
                         than. 30 years of practice, 1 have evaluated hundreds of cases in which there
on this case. Over more than
have been allegations of sexual assault or inappropriate sexual behavior, with many of the victims
being in fiduciary relationships with the.
                                       the perpetrators. I have evaluated victims and perpetrators in



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both forensic and clinical contexts. My experience has included evaluations of individuals who have
been subjected to sexual assault, battery, inappropriate sexual touching,
                                                                  touching. or surreptitious sexual
surveillance as well as other professional boundary violations.                      ·

Summary:

        The Akoda cases center on allegations ofofboundary   violali,oi1s~ betrayal
                                                  boundary violations,     bctraycl of trust by a treating
physician and inappropriate sexual behavior. Boundaries arc an important .aaspect spect of a therapeutic
relationship between a patient and their physician. The boundary allows for au professional distance
that fosters mutual respect between patient and physician. Sexual or inappropriate physical contact
hetween
between a physician and patient is ·aa profound            violation. as it exploits the dependency of
                                       profouad boundary violation,
the patient on the physician and the
                                 the inherent power differential.
                                                    differential,

         Patients trust that their individual physicians are working in their interest. This trust leads to
                             be taken advantage of, used for the physicians' own personal gain or have
a belief that they will not he
their confidences revealed. The physician patient relationship is founded upon this trust which
allows patients to be vulnerable, to share intimacies and to be touched for medical purposes. When
this trust is violated, the patient suffers a betrayal that may have myriad emotional consequences.

        Individuals who have been sexually abused by physicians or other authority figures often
        individuals
develop characteristic symptoms, which may occur soon after the victimization or with a delayed
onset, These symptoms and conditions may Include
onset.                                                   include depression, anxiety, paranoia, sleep
disturbances and nightmares, reliving phenomena, self-harm, self-doubt                  and poor
                                                                         seJf..:(ioObL ,aid  poor. self-esteem. Many
victims report feeling shame and .g           these. situations
                                    uilt over these
                                   guilt              s1ii1atfoi1s. and     ollen blame themselves for allowing
                                                                    1,1rid often
the assault or situation to occur. Many of these victims
                                                   victims, berate
                                                               ~erate themselves for getting involved with
their victimizer and question their             judgment. Many
                                their, ongoing judgment,        Many find   lind 'itit difficult to develop trusting
relationships with subsequent caregivers, or may     imiy avoid futtn:e   future care. Some women develop
                                                     Adjustmentt Disorders with characteristic reliving
symptoms of Posttraumatic Stress Disorder or Adjitstmeri
phenomena, heightened general anxiety, numbing and fears.    fears.

        Likewise, patients place trust in institutions that
                                                       tbar'employ
                                                            employ physicians or
                                                                              or otherwise certify their
                                                             simiJanrymptoms
qualifications or competence. When that trust is broken, similar    symptoms may arise, not the least
of which may be an inability to trust in any doctor they see in the future or their sponsoring or
associated facilities.

       These cases arc additionally complicated by being obstetric care. The breach of trust has an
impact on the mother child relationship, with a high potential for guilt and sell-recrimination
                                                                             self-recrimination over
not protecting their babies. That these cases involve prenatal care and deliveries at which other
family members participated or were present provides potential for further trauma,
                                                                           trauma. This may lead to
an additional emotional burden of coping with shame and embarrassment in front Front of partners and
family members.




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          Summaries:
Interview Summaries:


Plainti.flAlpha:
Plaintiff Alpha:

        Il saw her in my office in Baltimore on September 19, 2019 font
                                                                    for a ninety-minute interview. In
                              interview, It also reviewed her medical records from Prince George's
addition to the psychiatric Interview,
Hospital Center and Charles Akoda's outpatient treatment, as well as her deposition.             ·

        This 27-year-old woman underwent what she perceived as routine treatment with Charles
Akoda in 2012. He provided her with prenatal carecare and performed her C-section. She did however
believe her recovery was more painful than her recovery after her other two C-sections. She worried
that a surgical mishap on his part might
                                   might have led to this pain. She reported shock
                                                                                shock and dismay after
learning of Charles Akoda's false identity. This
                                            This was intense at first and subsequently has diminished
but lingered. She has a recurrence of her shock, angerangel' and dismay when she thinks about the
situation, and these thoughts may arise unbidden. It has not otherwise Interfered
                                                                          interfered with her ability to
function in her life and she has
                             bas not had symptoms to such an extent that she sought any psychiatric
                                  subsequentpregnancy
treatment. She had an uneventful subsequent   pregnancy and delivery with another physician.

        Her description of o/' these events suggest that while she has had ongoing emotional distress
from the situation, itii has not progressed to a diagnosable mental disorder. She reported having a
heightened sense of apprehension about new physicians and other people in whom she needs to
place trust in her life. She is      far more cautious than she used to be and finds herself avoiding
                                 is, fat
treatment if she has an inkling of discomfort, which she had notnot-done
                                                                    done previously.


Plaintiff Bravo:

        IJ saw her in my office in Baltimore on September 13,13, 2019 for a ninety-minute interview. in
                                                                                                     In
                             interview, 1I also reviewed her medical records from Kaiser Permanente
addition to the psychiatric interview.
and Prince George's Hospital Center, as well as her deposition.

                                                           Akoda,:for
        This 32-year-old woman was a patient of Charles Akoda      for prenatal care. He
                                                                                      Ile performed her
                                   postpartum hemorrhage at
delivery and then a D&C after a postpartum                  at Prince George's Hospital Center. She
reported feeling uncomfortable around him during her prenatal care, enough so that she requested a
chaperone during his examinations. She attributed the hemorrhage to his care, in that she had not
had this problem with any of her other deliveries. She became dismayed, shocked and ultimately
angry when she learned that he was not who he said he was and that his credentials were fake. She
keeps a cellphone photograph of the blood clots from her hemorrhage, which serves as a frequent
                                                       pnhrful reliving. She feels betrayed. She has
                                             leads. to painful
reminder of her traumatic experience and leads
become suspicious of any other professionals she allows in to her life_  life. Her symptoms have notnot.
interfered with her day-to-day functioning but have caused ongoing distress. Her distrust of doctors
led her to decline an appropriate examination because of her fearfulness and discomfort.




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       Her condition is most consistent with the psychiatric disorder.
                                                              disorder, Adjustment Disorder with
Anxiety. She would, more likely than not, benefit from a course of psychotherapy to assist her in
processing what happened to her and promote less avoidant future behavior.


PlaintiffCharlie:
Plaintiff

        I saw her in my office in Baltimore on September 16, 16, 2019 for a two-hour and thirty-minute
interview. In addition to the psychiatric interview, I also reviewed her medical records from Prince
                                                              Nnumani, MD as well as her deposition.
George's Hospital Center, psychiatric records from ljeoma Nnamani,

        Charlie is a 40 year old woman who reported increasing problems with anxiety and
depressed mood after her delivery which Akoda attended. She reported difficulty concentrating and
an inability to be touched. She was evaluated by several psychiatrists who diagnosed her with
Anxiety and Mood Disorders and treated her with antidepressants and anti-anxiety and sleep
medications. She has also had an attempt at psychotherapy but has felt uncomfortable with this male
therapist and does not feel like she has gotten much relief from that process. She continues to have
depressed and anxious mood, poor concentration, excessive guilt and insomnia.

        She attributed a lot of her anxiety symptoms to her reaction to having been Charles Akoda's
                                    theft. However,
patient, in terms of his identity theft                  als6 reported feeling like he was sexually
                                           Ilowever, she also
inappropriate with her during her delivery. She said he began   stimulating her clitoris in front of her
                                                         beg~ufsiin1ulating
                                      room...She continues to ruminate about this situation and blames
husband and mother in the delivery room
herself for not having said anything. At the time she felt confused, embarrassed, humiliated and
disgusted by his actions which interfered with the joy of giving birth to her first child. Since the
birth, she has been unable to reestablish her sex life with her husband, a loss she fears will lead to
marital strife in the future.

         I Ier condition is complicated by a number of other factors in her life, one of which is her
         Her
difficult work schedule and the coordination of her and her husband's working hours. This lack of
coordination exacerbates her problems with sleep. She has reported difficulty initiating sleep but she
also has limited time available to her to sleep.

         The other complicating factor is the more recent development of what sounds like, from her
description, a pseudoturnor cerebri, which is still being evaluated. She has been having headaches
and a worsening of her already poor concentration. She is currently attempting to make a decision
about going through with a lumbar puncture which is typically a necessary procedure to evaluate for
this potential diagnosis. She has resisted having this test because orof her ongoing concerns about trust
                                                                                       to expose her lower
with physicians. This is a particularly difficult test for her in that it requires her lo
                                                         relationship while lacing
back to a physician with whom she has no ongoing relationship,                 facing away and not being
      to see what is happening. She has cancelled the appointment
able to                                                  apppintinent for the test several weeks ago and
has not yet responded to the doctor's office's calls to reschedule it.

       Her collection of symptoms is most consistent with a psychiatric diagnosis of Mood
Disorder. This diagnosis accounts for the multiple sources of her symptoms. Her condition arose in




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the postpartum
    po stpartum period
                 period suggesting      horm onal contribution,
                        suggesting some hormonal  contribution, but it has
                                                                       has continued
                                                                           continued now for several
             also now has new onset of a probable pseudotumor the symptoms of which have
years. She also
years.
intensified her existing
intensified     existing symptoms of depression.

        She also has
                  has elements of a stress disorder, most likely Adjustment Disorder with Mixed
Disturbance of Behavior. She reported many of her symptoms began because of her perception of
Akoda's inappropriate actions during her delivery. She attributes her subsequent sex aversion and
fear of being touched to this event. IHer
                                       ler condition was then complicated by the shocking news about
Charles Akoda's identity theft.
                           then. Her fears about doctors and being touched
                                                                       touched is now having a direct
negative impact on her evaluation for the pseudotumor. If   If this condition is left untreated, it could
lead to blindness, other severe health problems or death.

       She is currently in psychiatric treatment for medication management µith   with a psychiatric
nurse practitioner.
      practitioner. Her situation, however, is tremendously complicated.
                                                               complicated. She would benefit from
treatment with a psychiatrist
                   psychiatrist. Because of her history with Charles Akoda, she would benefit from a
psychiatrist who could see her for both medications and the psychotherapy.
                                                                     psychotherapy. She also has a
potentially life-threatening medical condition now that needs to be addressed as soon as possible.
She would benefit from more emergent psychiatric support to get her through this diagnostic
process for her neurologic condition.

Analysis:

         The three examined cases represent a spectrum of conditions with varying severity related to
their experience with Charles Akoda. All of the women reported shock.          shock, dismay, anger.
recrimination and guilt. TI1ey
                          They were all immediately distressed when they learned
                                                                              lenrned of his arrest and
have had waxing and waning degrees of distress and horror over the subsequent years. Their level
of distress tends to re-emerge with events in their lives that remind them of the experience.

        Alpha reported having no symptoms unless she was thinking about the case, at which point
she would have moments of intense anger, anxiety and tearfulness. Apart from that, this plaintiff has
no interference with her day-to-day   function. She has ongoing but intermittent emotional distress
                          day-to-clay function,
from the  experience with Charles  Akoda.

        Bravo reported similar symptoms but  but in a more lingering fashion. This plaintiff also
reported inappropriate sexual behavior that made her uncomfOrtable
                                                      uncomfortable during her prenatal visits.
                                                                                        visits. She
remains concerned that the complication of postpartum hemorrhage that she had with her delivery
was somehow related to Charles Akoda's care. She, too, continues with intermittent symptoms of
                                     future but with frequent intrusive or unbidden memories,
anger, confusion and concern for the future.                                        memories. Iler
                                                                                                Her
condition is diagnosable as an Adjustment Disorder.
                                          Disorder.

         Adjustment Disorders are diagnosed when various psychiatric symptoms arise in the face of
           definition, the condition continues until the stress is removed. Adjustment Disorders
stress. By definition,                                                                        Disorders are
           Posttraurnatic Stress Disorder but differ in that the inciting stress is not life-threatening as
related to Posttraumatic
it        be in Posttraumatic Stress
it would he                             Disorder. Other than that, symptoms may be very similar and
                                Stress. Disorder.




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include emotional distress, heightened general anxiety, sleep disturbance, re-living phenomena,
avoidance and myriad other symptoms, such as anger and behavioral disturbances.

        Charlie represents a more extreme emotional response to the situation. Her condition is also
complicated by au number of other factors and stressors in her life    Ji fo and the recent development of
other serious health problems. This             i~ clearly suffering
                                '[his plaintiff is                    from a Mood Di-sordGr
                                                           sufferin]; from               Disorder thai'has
                                                                                                   that has been
           by her practitioners as Major Depression. Clearly.
diagnosed by                                             Clearly this Mood Disorder was exacerbated by
her experience with Charles Akoda. Her condition               101pairfog and currently endangering her
                                               condition· is impairing
physical health. She would benefit from assessment and treaunent           wi.th ·ua psychiatrist skilled in both
                                                              treatment with
psychosomatics as well as trauma.

                                       concerns, IJ. hereby certify that this report is a complete and
        1I trust this addresses your concerns.
accurate statement of all of my opinions, and the basis and reasons for them, to which I will testify
tinder oath. Please feel free to contact me if you have any questions.
under

                                                           ( Sin ere



                                                                       ne Tellefsen, M.D.




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Appendix



PLAINTIFF                 PRIVACY DESIGNATION
JASMINE RIGGINS         I
                        1 Alpha
                          Alpha:
ELSA POWELL             i1 Brave
                           Bravo
DESIREE EVANS           [ Charlie
                        `Charlie




                                                                    JA3461
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                Exhibit 59
                          REDACTED




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                                Elsa Powell

 1                  IN THE UNITED STATES DISTRICT COURT

 2               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 3

 4

 5    ---------------------------------x

 6    MONIQUE RUSSELL, JASMINE RIGGINS,                Civil Action No.

 7    ELSA M. POWELL, and DESIRE EVANS,                18-5629

 8              Plaintiffs,                            Honorable

                                                       Joshua D. Wolson

 9    v.

10    EDUCATIONAL COMMISSION FOR FOREIGN

11    MEDICAL GRADUATES,

12              Defendants.

13    ---------------------------------x

14

15

16                  VIDEOTAPED DEPOSITION OF ELSA POWELL

17                               Washington, D.C.

18                          Friday, September 6, 2019

19

20

21

22

23                        GOLKOW LITIGATION SERVICES

24                      T 877.370.3377 | F 917.591.5672

25                               deps@golkow.com

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 1                                                                     1            INDEX OF EXAMINATION
 2                                                                     2
 3                                                                     3    EXAMINATION OF ELSA POWELL                  PAGE
 4                                                                     4       BY MS. MCENROE          7
 5             Friday, September 6, 2019                               5       BY MR. CERYES         109
 6                    9:32 a.m.                                        6
 7                                                                     7
 8                                                                     8
 9                                                                     9
10                                                                    10
11          The following is the transcript of the                    11
12    videotaped deposition of ELSA POWELL held at the                12
13    offices of Morgan, Lewis & Bockius, LLP, 1111                   13
14    Pennsylvania Avenue, NW, Washington, DC 20004.                  14
15                                                                    15
16                                                                    16
17                                                                    17
18                                                                    18
19    Reported by: Linda S. Kinkade, RDR CRR RMR RPR CSR              19
20    Registered Diplomate Reporter, Nationally Certified             20
21    Realtime Reporter, Registered Professional Reporter             21
22    with Merit Distinction, Certified Shorthand Reporter            22
23    (CA), Notary Public, within and for the District of             23
24    Columbia, and official duly authorized to administer            24
25    oaths and/or affirmations.                                      25

                                                             Page 3                                                   Page 5
 1    A P P E A R A N C E S:                                           1               EXHIBITS
 2                                                                     2
 3    On Behalf of Plaintiffs MONIQUE RUSSELL, JASMINE                 3   NO.         DESCRIPTION                       PAGE
 4    RIGGINS, ELSA M. POWELL, and DESIRE EVANS:                       4   Exhibit 1 Amended Notice of Deposition of ... 55
 5         Schochor, Federico and Staton, P.A.                         5            Plaintiff Elsa Powell
 6         1211 St. Paul Street                                        6   Exhibit 2 Civil Action re Russell, et al. ... 91
 7         Baltimore, Maryland 21202                                   7            v. Educational Commission for
 8         (410) 234-1000                                              8            Foreign Medical Graduates
 9         By: Brent Ceryes, Esq.                                      9   Exhibit 3 Plaintiff Elsa Powell's Answers ... 100
10                                                                    10            to First Set of Interrogatories
11                                                                    11            and Responses to First Set of
12                                                                    12            Requests for Production of
13    On Behalf of Defendant EDUCATIONAL COMMISSION FOR               13            Documents
14    FOREIGN MEDICAL GRADUATES:                                      14   Exhibit 4 Plaintiff Elsa Powell's ........... 100
15         Morgan, Lewis & Bockius, LLP                               15            Supplemental Answers to First Set
16         1701 Market Street                                         16            of Interrogatories and
17         Philadelphia, Pennsylvania 19103                           17            Supplemental Responses to First
18         (215) 963-5609                                             18            Set of Requests for Production of
19         By: Elisa P. McEnroe, Esq.                                 19            Documents
20         By: Matthew D. Klayman, Esq.                               20
21                                                                    21
22                                                                    22
23    Also present:                                                   23
24       Crystal Strawbridge, Videographer                            24
25                                                                    25


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 1               PROCEEDINGS                                   1   that correct?
 2           VIDEO SPECIALIST: We are now on the               2       A. Yes, ma'am.
 3    record. My name is Crystal Strawbridge. I'm a            3       Q. Was that in the Dimensions lawsuit in
 4    videographer for Golkow Litigation Services. Today's     4   Maryland?
 5    date is September 6th, 2019. The time is 9:32 a.m.       5       A. Yes, ma'am.
 6        This deposition is being held at 1111                6       Q. Have you ever been deposed otherwise?
 7    Pennsylvania Avenue, Northwest, Washington, D.C., in     7       A. No, ma'am.
 8    the matter of Monique Russell, et al. v. Educational     8       Q. So you may remember from that deposition
 9    Commission for Foreign Medical Graduates, Civil          9   that the way it works is that I'll ask you some
10    Action No. 18-5629, for the United States District      10   questions, and I'll ask that you answer them. Do you
11    Court for the Eastern District of Pennsylvania. The     11   understand that?
12    deponent is Elsa Powell.                                12       A. Yes, ma'am.
13        Will counsel please identify themselves?            13       Q. And it works best if I get to get my full
14           MR. CERYES: Brent Ceryes on behalf of the        14   questions out and you get to get your full answers
15    plaintiffs.                                             15   out so we're not talking on top of each other. Does
16           MS. MCENROE: Good morning. Elisa McEnroe         16   that make sense?
17    for Morgan, Lewis & Bockius on behalf of the            17       A. Yes, ma'am.
18    Educational Commission for Foreign Medical Graduates,   18       Q. If at any time today you don't understand
19    and together with me today I have my colleague, Matt    19   my question or you find it confusing, please let me
20    Klayman.                                                20   know. I'd be happy to restate it. If you do answer
21           VIDEO SPECIALIST: The court reporter             21   the question, I'm going to assume that you understood
22    today is Linda Kinkade and will now swear in the        22   it. Does that make sense?
23    witness.                                                23       A. Yes, ma'am.
24    //                                                      24       Q. Because of the allegations in the lawsuit,
25    //                                                      25   some of the questions today may be a bit personal or

                                                     Page 7                                                         Page 9
 1                  ELSA POWELL,                               1   sensitive. If you need to take a break or a moment,
 2           having been first duly sworn and/or               2   just let me know, and I'm happy to do that as needed.
 3    affirmed on her oath, was thereafter examined and        3   I just ask that, if there's a question that's
 4    testified as follows:                                    4   pending, that you answer the question before we take
 5                  EXAMINATION                                5   a break. Does that make sense?
 6    BY MS. MCENROE:                                          6       A. Yes, ma'am.
 7        Q. Good morning, Ms. Powell.                         7       Q. We just discussed a moment ago that you
 8        A. Good morning, ma'am.                              8   were deposed in the Dimensions lawsuit in Maryland;
 9        Q. For the record, could you just state your         9   right?
10    complete name for me?                                   10       A. Yes, ma'am.
11        A. Elsa Miguelina Powell.                           11       Q. Do you remember when that took place?
12        Q. And is it correct that your birthday is          12       A. 2017, '18, around there.
13                                                            13       Q. If -- if I told you the deposition was on
14        A. That's correct.                                  14   March 27th, 2019, would that refresh your
15        Q. And that makes you        years old today?       15   recollection?
16        A. That's correct.                                  16       A. No, ma'am.
17        Q. You understand that I'm here because you         17       Q. Okay. And why is that?
18    have filed a lawsuit against the Educational            18           MR. CERYES: Objection, form, foundation.
19    Commission for Foreign Medical Graduates; is that       19           MS. MCENROE: I can restate it.
20    correct?                                                20       Q. Do you believe that it happened earlier
21        A. Yes, ma'am.                                      21   than that, your deposition?
22        Q. And we'll be taking your deposition today.       22       A. Yes, ma'am, 2019.
23    Do you understand that?                                 23       Q. In 2019? Okay.
24        A. Yes, ma'am.                                      24       A. Yes.
25        Q. And you've been deposed once before; is          25       Q. And sitting here today, do you believe

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 1    that the answers you gave during that deposition were     1       A. Lucy Mercedes, she is 14; Nestor Mercedes,
 2    true and correct?                                         2   he's 13; Josiah Rodriguez, he's 9; Jaiden Powell, he
 3         A. Yes, ma'am.                                       3   is 4, soon to be 5; and Tatiana Powell, she is 3.
 4         Q. And you stand by the answers you gave at          4       Q. Does Mr. Powell have any other children?
 5    that deposition?                                          5       A. No, ma'am.
 6         A. Yes, ma'am.                                       6       Q. Do all five of your children live with
 7         Q. So that will help us speed things along a         7   you?
 8    little bit today.                                         8       A. Yes, ma'am.
 9         So I'm not going to necessarily ask you              9       Q. Is Jaiden in school?
10    everything they asked you in that deposition, so, for    10       A. Yes, he is.
11    example, about your employment or education              11       Q. In pre-K or kindergarten?
12    background, but if there's anything today that, as       12       A. Pre-K.
13    I'm asking you questions, you remember that you          13       Q. And does Tatiana go to daycare?
14    testified previously inaccurately for any reason,        14       A. No.
15    please let us know, because, otherwise, we're going      15       Q. Okay. How does she get cared for during
16    to take those past answers as having been correct.       16   the day?
17         Do you understand?                                  17       A. I take care of her.
18         A. Yes, ma'am.                                      18       Q. Do you work from home?
19         Q. Is there any reason you can't tell the           19       A. I work overnights.
20    truth today?                                             20       Q. Who is home with the children overnight
21         A. No reason at all.                                21   while you're working?
22         Q. Any medication that would impair your            22       A. Sometimes my husband; sometimes my oldest
23    ability to understand or answer my questions?            23   child.
24         A. No, ma'am.                                       24       Q. That would be Lucy?
25         Q. Has your name always been Elsa Powell, or        25       A. Yes.

                                                 Page 11                                                        Page 13
 1    did you have another name before you got married?         1       Q. Are your kids good sleepers?
 2        A. I had another name.                                2       A. Yes.
 3        Q. What was that name?                                3       Q. That makes it easier.
 4        A. Delvillar-Mejia.                                   4       A. It does.
 5        Q. That was the last name?                            5       Q. You said you work overnights. What are
 6        A. Yes.                                               6   your typical hours of your shifts?
 7        Q. And was that hyphenated?                           7       A. I work 2100 hours to 05.
 8        A. Yes.                                               8       Q. So if my math is correct --
 9        Q. And have you used any other names besides          9       A. Nine to 5 -- 9 p.m. to 5 a.m.
10    those we just discussed?                                 10       Q. Thank you. 9 p.m. to 5 a.m.?
11        A. No, ma'am.                                        11       A. Yes.
12        Q. And am I correct to assume that you               12       Q. Where do you work?
13    changed your name because you got married?               13       A. NIH Bethesda.
14        A. Correct.                                          14       Q. How long have you worked at NIH Bethesda?
15        Q. Do I have it right that you were married          15       A. One year and three months.
16    in January 2015?                                         16       Q. What do you do there?
17        A. That's correct.                                   17       A. I'm in admin. I do admin for the security
18        Q. To Gregory Lamont Powell?                         18   company, Paragon Systems.
19        A. That's correct.                                   19       Q. Is that the security company for the
20        Q. Is he still your husband today?                   20   building that you're working in?
21        A. Yes, ma'am.                                       21       A. It's for the whole entire campus.
22        Q. How many children do you have?                    22       Q. For the whole camp- --
23        A. I have five children.                             23       A. Yes.
24        Q. Would you please tell me their names and          24       Q. It's an NIH campus?
25    ages?                                                    25       A. Yes.

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 1        Q. You say you do admin. Just very briefly           1       Q. A day or at a time are you saying?
 2    what does that entail?                                   2       A. A day.
 3        A. Contact officers, when we have call-outs,         3       Q. And how -- how long have you been holding
 4    I cover those shifts, answer phones, do daily            4   that kind of schedule?
 5    reports, sometimes give officer breaks,                  5       A. For a year and three months.
 6    administrative work.                                     6       Q. When did Jaiden start in pre-K?
 7        Q. And when you say you step in for shifts           7       A. Pre-K? He started last year, early pre-K,
 8    sometimes, that's acting as a security guard?            8   put him in early entry pre-K so he could get the
 9        A. Yes, acting lieutenant.                           9   experience.
10        Q. Are the shifts you do from 9 p.m. to 5           10       Q. Prior to that who was caring for him?
11    a.m. Monday through Friday?                             11       A. I was.
12        A. Yes.                                             12       Q. Were you working night shifts at that same
13        Q. Do you do shifts on the weekend ever?            13   time?
14        A. No.                                              14       A. No.
15        Q. Is it a regular set schedule so you expect       15       Q. So were you working at all or were you
16    that you will be working Monday through Friday for      16   home with him? I mean, being home with him is work,
17    those times?                                            17   so I don't mean to say that, but were you working
18        A. Yes.                                             18   outside the home in addition?
19        Q. How far do you live from where you work?         19       A. No. I was a stay-at-home mom because
20        A. Forty-five minutes without traffic.              20   Tatiana was born with a kidney issue, so I was taking
21        Q. Is there usually traffic?                        21   care of her.
22        A. Not around that time, unless there's an          22       Q. So you were home with both of them?
23    accident or a game, FedExField.                         23       A. Yes.
24        Q. So you usually expect it will take you           24       Q. What kind of kidney issue was Tatiana born
25    about 45 minutes to get to and from work?               25   with?

                                                  Page 15                                                        Page 17
 1        A. Uh-huh.                                           1       A. She was born with a dilated kidney.
 2        Q. Each way?                                         2       Q. And I'm not a medical person, so what does
 3        A. Yes.                                              3   that mean, just in basic terms?
 4        Q. So usually you'll leave around 8 p.m. and         4       A. One kidney was bigger than the other one
 5    get home around 6 a.m.?                                  5   because it was filled with, like, fluids and stuff.
 6        A. Yes.                                              6       Q. That's something you said she was born
 7        Q. Is that fair?                                     7   with?
 8        A. Mm-hmm.                                           8       A. Yes.
 9        Q. What time does Tatiana wake up?                   9       Q. Has she been able to be treated for that?
10        A. She wakes up around 9 to 10 in the               10       A. Yes. She received surgery and everything.
11    morning.                                                11       Q. How is she doing now?
12        Q. And what time is bedtime at your house for       12       A. She's doing good. Thank you.
13    the kids?                                               13       Q. When did she have her surgery?
14        A. Nine, 9 to 9:30.                                 14       A. April of 2017.
15        Q. Nine to 9:30 p.m.?                               15       Q. Will she require more surgeries or
16        A. Yes.                                             16   treatments for this kidney problem?
17        Q. Does Tatiana nap?                                17       A. Just exams, MRIs and MAG3 scans,
18        A. No.                                              18   ultrasounds.
19        Q. When do you sleep during your usual              19       Q. How frequently would you say she goes in
20    schedule?                                               20   for medical care?
21        A. On the weekends. Honestly, on the                21       A. Due to the kidney, at first it was
22    weekends.                                               22   every -- every two weeks, but then after the surgery
23        Q. What -- how much sleep do you -- do you          23   it was every six months.
24    estimate you get during the workweek?                   24       Q. Is she going to a specialist or her
25        A. Sometimes 30 minutes, 45 minutes.                25   regular pediatrician for the follow-up care?

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 1        A. A specialist.                                      1       Do I have your address correct, 12705 Live Oak
 2        Q. Does she also go to a regular                      2   Place, Upper Marlboro, Maryland?
 3    pediatrician?                                             3       A. Yes.
 4        A. Yes, she does.                                     4       Q. I may have said that a little bit off, but
 5        Q. Is that a general practitioner, family             5   that's the right address?
 6    medicine kind of person?                                  6       A. Yes, it is.
 7        A. Kaiser.                                            7       Q. Okay. Did you graduate from high school?
 8        Q. Do your other children get medical care?           8       A. Yes, I did.
 9        A. Yes.                                               9       Q. Have you gone to any school after that?
10        Q. Do they see a pediatrician as well?               10       A. I went to college, Everest and Kaplan
11        A. Yes.                                              11   University.
12        Q. Is Lucy still seeing a pediatrician?              12       Q. Did you get a degree?
13        A. Yes, she is.                                      13       A. Unfortunately, I was unable to finish.
14        Q. Is she seeing an obstetrician/gynecologist        14   Mommy duties first.
15    as well?                                                 15       Q. How much do you have left?
16        A. I haven't taken her yet, but -- I just            16       A. I only had six months left.
17    don't feel comfortable taking her yet. It's              17       Q. When did you stop attending school?
18    something that we have talked about.                     18       A. 2013, '14.
19        Q. And, again, she's 14, right?                      19       Q. And you referred to it as "mommy duties"
20        A. Yes.                                              20   taking you out of school, so tell me about which
21        Q. What grade is she in?                             21   child joined you that you -- or how that worked that
22        A. She's in high school. She's in ninth              22   you ended up leaving school?
23    grade.                                                   23       A. I was working. I was working two jobs to
24        Q. She just started high school?                     24   take care of, at the time, three children, so I
25        A. (Nodding head up and down.)                       25   had --

                                                     Page 19                                                        Page 21
 1        Q. This week?                                         1       Q. That was when you had Lucy, Angel and
 2        A. Yes.                                               2   Josiah?
 3        Q. Do Tatiana, Jaiden, Josiah, Nestor and             3       A. Correct.
 4    Lucy all go to the same pediatrician?                     4       Q. You said you were working two jobs. What
 5        A. No. Josiah goes to Children's in Clinton,          5   jobs were you working then when you were also taking
 6    because he has a different insurance than what they       6   care of your three children?
 7    have. And then Jaiden and Angel, they have the same       7       A. I was a concierge in D.C., and I was also
 8    pediatrician. And then Lucy and Tatiana have the          8   doing hair on the side, hairdresser.
 9    same pediatrician.                                        9       Q. At a salon or in people's homes?
10        Q. And you referred to one of your children          10       A. In a salon, which is owned by Nestor and
11    as "Angel." Which one of your children do you call       11   Lucy's grandmother.
12    Angel?                                                   12       Q. When, compared to that timing, did you get
13        A. Oh, I'm sorry. Nestor. I'm so sorry.              13   a certificate for being a security guard?
14        Q. No, no reason to apologize, but Nestor            14       A. I got that around 2010. I was working at
15    also goes by Angel sometimes?                            15   Howard University as a security guard on the campus,
16        A. Yes. That's his middle name.                      16   and then I got my SPO and started working at George
17        Q. And I'm sorry to be a little forward about        17   Washington Hospital.
18    this, but these five children are yours. Did you         18       Q. You used the acronym "SPO." What does
19    birth each of them?                                      19   that stand for?
20        A. Yes, I did.                                       20       A. Special police officer.
21        Q. Okay. I just wanted to make sure I                21       Q. So am I correct that -- you said that was
22    understood whether I needed to come to you in a          22   in 2010, so that was before the time that you left
23    different way.                                           23   Everest and Kaplan from going to school, so that was
24        Do I have your address correct, 12 -- sorry.         24   before you were working, like you said, the two jobs,
25    I'm going to start over with the number.                 25   working doing hair and as a concierge in D.C.?

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 1        A. Yes.                                                1       A. Yes.
 2        Q. When did you switch to being a                      2       Q. And you have full-time care, then,
 3    stay-at-home mom?                                          3   responsibility for them as well?
 4        A. After I had Jaiden in 2014.                         4       A. Yes.
 5        Q. Was it immediately after having Jaiden?             5       Q. And I think I had asked but just to
 6        A. Yes.                                                6   confirm, Lucy, Angel and Josiah are all in school as
 7        Q. Had you been working while you were                 7   well?
 8    pregnant with Jaiden?                                      8       A. Correct.
 9        A. Yes, I did.                                         9       Q. How do they get to and from school? Do
10        Q. In -- in what job?                                 10   they take a school bus?
11        A. Concierge in D.C.                                  11       A. Lucy takes a school bus. I drop and pick
12        Q. Were you still working at the salon?               12   up Nestor, Josiah and Jaiden.
13        A. No.                                                13       Q. And does that involve taking Tatiana with
14        Q. So it was just the one job as a concierge          14   you to go do drop-offs?
15    in D.C. --                                                15       A. Sometimes it does when her father is not
16        A. Yes.                                               16   home.
17        Q. -- while you were pregnant with Jaiden?            17       Q. For pick-ups as well?
18        A. Yes.                                               18       A. Yes.
19        Q. When did you make the decision you wanted          19       Q. And how far is Angel and Josiah's school
20    to switch to be a stay-at-home mom?                       20   from where you live?
21        A. After I had Jaiden, I didn't have any              21       A. Angel and Josiah's school, from where I
22    help, so with a newborn and then three other              22   live, is about 20 to 25 minutes --
23    children, I had no choice but to stop working.            23       Q. And how --
24        Q. Does Mr. Powell work?                              24       A. -- without traffic.
25        A. Yes.                                               25       Q. And how far is Jaiden's pre-K from their

                                                      Page 23                                                           Page 25
 1        Q. What is his job?                                    1   school?
 2        A. He's a Prince George's County police                2        A. Five minutes.
 3    officer.                                                   3        Q. So do you do that in sort of one trip; you
 4        Q. What kind of schedule does he work?                 4   go drop all the kiddoes off at school?
 5        A. Crazy schedule. Sometimes he -- he works            5        A. Yes.
 6    evenings for four days, and sometimes he works day         6        Q. I think in the Dimensions litigation you
 7    work for four days or five days. Then every three to       7   testified about working for a company called MVM; is
 8    four months he works midnights for a whole month.          8   that correct?
 9        Q. Is his job shift work as well, so he'll             9        A. (Nodding head up and down.)
10    know he's on a certain time and he's off a certain        10        Q. How is that related, if at all, to the job
11    time --                                                   11   you have at NIH?
12        A. Yes.                                               12        A. MVM -- I started with MVM at NIH. So the
13        Q. -- when he gets his schedule?                      13   contract was almost over, so Paragon took over.
14        A. Yes. He gets his schedule for the whole            14        Q. Did your job responsibilities change
15    entire year.                                              15   between when it shifted from MVM to Paragon?
16        Q. Oh, all at once?                                   16        A. Nope. Same duties, same shift, same
17        A. All at once, yeah.                                 17   schedule.
18        Q. How long has he been a police officer?             18        Q. So the answers you gave in the Dimensions
19        A. Six years.                                         19   litigation about your job would still hold true
20        Q. Is that the entire -- that's through the           20   today?
21    whole time you've been married he's been a police         21        A. Correct.
22    officer?                                                  22        Q. When were you most recently seen by a
23        A. Yes.                                               23   doctor for anything?
24        Q. Do you have full custody of Lucy, Angel            24        A. About two or three months ago.
25    and Josiah?                                               25        Q. For what?

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 1       A. I was having                               .     1   most recently treated by a doctor?
 2       Q. In like your                  ?                  2      A. After that I saw Emily Lo, which is my --
 3       A. On my --             a little bit up from my     3   was my primary. I had a
 4                                                           4
 5         Q. Yeah.                                          5       Q. Is that the treatment that you discussed
 6         A. So they said I had an                  .       6   at your last deposition you got cough medicine for?
 7         Q. Did you have to have any treatment for         7       A. Yes.
 8    that?                                                  8       Q. Prior to that, do you remember when you
 9         A. Ibuprofen. They mostly recommended             9   last went to a primary care physician or any doctor?
10    ibuprofen and, of course, take it easy. Iron          10       A. Prior to that I was at the emergency room
11    tablets, because I also suffer from low iron, and     11   at Southern Maryland because I was having
12    it's called -- something called thalassemia alpha     12         They said I had an
13    trait.                                                13       Q. Do you know                       they were
14         Q. Do you know what that was for?                14   saying it was?
15         A. It's something that I've always had. You      15       A. No. I never followed up.
16    have -- your blood cells, low blood cells, yeah.      16       Q. Did that pain stop?
17         Q. You say that's something you've always        17       A. Yes.
18    had, since you were a child?                          18       Q. Do you still have that pain today?
19         A. Yes.                                          19       A. No.
20         Q. And is that a medication you've taken         20       Q. Do you recall any other visits to the
21    since you were a child?                               21   emergency room you've ever made for yourself?
22         A. Well, they mainly recommend to take iron      22       A. No. Besides that one, no.
23    tablets.                                              23       Q. Aside from any times you may have been in
24         Q. Besides the medications you just              24   the hospital when you were delivering your children,
25    described, do you take any other medications?         25   do you remember ever being hospitalized?

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 1       A. No.                                              1       A. No, just when I delivered the children.
 2       Q. Besides going in two to three months ago         2       Q. Did you deliver each of your children in a
 3    when you were                                          3   hospital?
                                                             4       A. Yes.
 5    checkups?                                              5       Q. Was each of your children delivered by an
 6       A. No.                                              6   OB/GYN?
 7       Q. Do you have a primary care physician?            7       A. Yes.
 8       A. Yes.                                             8       Q. And when I say OB/GYN, you know what I'm
 9       Q. Who is that?                                     9   talking about, an obstetrician/gynecologist?
10       A. It was Emily Lo, but they've changed her,       10       A. Yes, I do.
11    and, honestly, I do not remember her name, the new    11       Q. It would be easier if I could say the
12    one that I have. I haven't seen her yet.              12   shorter one. Thank you.
13       Q. Do you plan to go see her?                      13       Have you ever been treated by or seen a
14       A. No.                                             14   midwife or a doula?
15       Q. When you went in two to three months ago        15       A. No.
16    because                                               16       Q. Do you know what a midwife or a doula --
                                                      he    17   do you know what they are?
18    emergency room?                                       18       A. Yes.
19       A. I went to Kaiser Urgent Care.                   19       Q. Do you currently have an OB/GYN?
20       Q. Were you admitted to the hospital?              20       A. Yes, I do.
21       A. No.                                             21       Q. Who is that?
22       Q. Were you released the same day?                 22       A. Honestly, I do not know her name.
23       A. Yes.                                            23       Q. Is that -- is that through Kaiser?
24       Q. Prior to that visit to the Kaiser Urgent        24       A. Yes. I haven't seen her yet.
25    Care, do you remember the time before that you were   25       Q. It's a woman?

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 1        A. From what my primary care physician said,          1       Q. What kind of birth control was that?
 2    yes, it's a woman.                                        2       A. -- when I got pregnant with Jaiden. I was
 3        Q. When you said your primary care physician          3   on the depo shot.
 4    said, is that Emily Lo?                                   4       Q. Did you continue on that treatment after
 5        A. No, it's the new lady I have. I haven't            5   you had Jaiden?
 6    seen her yet either.                                      6       A. No.
 7        Q. You haven't seen her, but have you spoken          7       Q. Did you switch to a different kind of
 8    to her?                                                   8   birth control, or did you come off of birth control?
 9        A. I have messaged her --                             9       A. I came off birth control.
10        Q. Tell --                                           10       Q. Have you ever received treatment from a
11        A. -- through the Kaiser app.                        11   psychologist or a psychiatrist?
12        Q. Tell me a little bit about your messages          12       A. No.
13    with the primary care physician.                         13       Q. Have you ever --
14        A. When I got discharged from Urgent Care,           14       A. I never went to see one, no.
15    they did some scans, and they said they were going to    15       Q. Have you ever gotten treatment from any
16    send it to her. A couple days passed by, I didn't        16   sort of counselor?
17    hear anything, so I sent her a couple messages.          17       A. No.
18        That's when she finally wrote back and said          18       Q. Generally speaking, how do you choose your
19    that, you know,                             and I had    19   doctors?
20    to take it easy. If the pain came back, take             20       A. Kaiser chooses them, and sometimes I could
21    ibuprofen, and if the symptoms get worse, to contact     21   switch, but I don't because, like I said, I don't go
22    her and go see her. And that's when she said that I      22   see them unless I'm seriously injured or seriously in
23    have to go see an OB/GYN, because also I have            23   pain.
24                        which she was concerned about.       24       Q. You said Kaiser chooses them. Is Kaiser
25                                                             25   your insurance company?

                                                                                                                   Page 33
 1                                                              1       A. Yes.
 2                                                              2       Q. Is that insurance that you have through
 3                                                              3   your or your husband's employment?
 4                                                              4       A. My husband's employment.
 5                                                              5       Q. When did you get on to your husband's
 6                                                              6   Kaiser insurance?
 7                                                              7       A. In 2015.
 8                                                              8       Q. Upon getting married?
 9                                                              9       A. Yes.
10                                                             10       Q. Did you have insurance before that?
11                                                             11       A. Yes, I did.
                                                               12       Q. What insurance did you have then?
                                                               13       A. It was through the state, Medicaid.
14        Q. Was that between certain of your children,        14       Q. So just trying to understand the timing of
15    do you remember?                                         15   getting on to Kaiser insurance as compared to your --
16        A. Yes. Yes, Josiah.                                 16   the birth of your children, did you switch to Kaiser
17        Q. After Josiah?                                     17   insurance while you were pregnant with Jaiden?
18        A. After Josiah. Actually was it after               18       A. No.
19    Josiah? Yeah. Jaiden.                                    19       Q. Can you explain that to me, how that
20        Q. After Jaiden?                                     20   timing worked?
21        A. It was after Jaiden.                              21       A. I had Medicaid when I was pregnant with
22        Q. And after you delivered Jaiden, at any            22   Jaiden. Then once I got married, my husband put the
23    point did you go on to birth control of any sort?        23   children and I on Kaiser.
24        A. I was on birth control when I had                 24       Q. That was after you had Jaiden?
25    Jaiden --                                                25       A. After I had Jaiden, correct.

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 1        Q. Thank you for straightening out my                    1       A. No.
 2    timeline.                                                    2       Q. When you first started going to see
 3        Where did you deliver Tatiana?                           3   Dr. Kingsley, did you check out his résumé or his
 4        A. Holy Cross, Montgomery -- Montgomery                  4   credentials, anything like that?
 5    County.                                                      5       A. Yes, I did my research.
 6        Q. Who was your OB/GYN who delivered Tatiana?            6       Q. What --
 7        A. Mr. Kingsley. It was through Kaiser.                  7       A. Kaiser has a website which tells you his
 8        Q. Is he the doctor you saw for any prenatal             8   experience and stuff like that, every hospital that
 9    care for her?                                                9   he has worked on.
10        A. Yes.                                                 10       Q. And did you do research into his
11        Q. And you sought prenatal care while you               11   certifications or education?
12    were pregnant with Tatiana?                                 12       A. No, because Kaiser had all that laid out
13        A. Yes.                                                 13   on their website.
14        Q. How regularly?                                       14       Q. So fair to say you checked out what Kaiser
15        A. First it was every -- every two to three             15   had?
16    weeks, and then every -- once I got to, like, six           16       A. What Kaiser had.
17    months or so, it was every -- every often.                  17       Q. You mentioned that Kaiser -- with Kaiser,
18        Q. When they told you to come?                          18   you're able to ask to switch doctors --
19        A. Yes.                                                 19       A. Yes.
20        Q. And you saw Dr. Kingsley for ultrasounds,            20       Q. -- in some -- have you ever done that?
21    physical exams, that sort of thing?                         21       A. No.
22        A. Yes. Correct.                                        22       Q. When you had Medicaid, did you ever ask to
23        Q. How did you select Dr. Kingsley as your              23   switch doctors?
24    OB/GYN?                                                     24       A. No.
25        A. I went to Kaiser when I first found out I            25       Q. When you had Medicaid, how was it that you

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 1    was pregnant, and he was the one that, you know, did         1   went about finding a doctor?
 2    all the exam and stuff, and then I just kept him from        2       A. They have a list of doctors nearby, so I
 3    there.                                                       3   chose the one that was closer to where I lived.
 4         Q. And you stuck with him from there?                   4       Q. Would it be fair to say they have certain
 5         A. Mm-hmm.                                              5   doctors that are considered like in network or that
 6         Q. And did he do post-delivery treatment for            6   you can -- you're sort of covered if you go see them?
 7    you after you had Tatiana?                                   7       A. Yes.
 8         A. Yes.                                                 8       Q. And you said you -- you selected those
 9         Q. When did you last see Dr. Kingsley?                  9   doctors by proximity, how close they were to you?
10         A. For my six-weeks checkup, and then that             10       A. Yes.
11    was it.                                                     11       Q. Did you do any other research other than
12         Q. So you went to your six-week checkup?               12   figuring out how close they were to you?
13         A. Mm-hmm.                                             13       A. No.
14         Q. That's a yes?                                       14       Q. How did you know where they were located
15         A. Yes. I'm sorry. Yes.                                15   about whether they were close to you or not?
16         Q. How old was Tatiana when her kidney issue           16       A. The address.
17    sort of presented itself, when you found out she had        17       Q. So did the list that was provided to you
18    a kidney problem?                                           18   include their addresses?
19         A. I was pregnant when they detected it.               19       A. Yes.
20         Q. Oh, you knew when you were pregnant?                20       Q. Fair to say that, when you had Medicaid,
21         A. Mm-hmm. Yes. I was eight months pregnant            21   you did nothing other than look at the list that
22    when they detected it.                                      22   Medicaid provided to you with the names and addresses
23         Q. Aside from Tatiana's kidney issue, have             23   of the doctors available to you?
24    any of your other children had any health issues            24       A. Correct.
25    other than broken bones or normal kid stuff?                25       Q. Do you remember who your OB/GYN was who

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 1    delivered Lucy? It was a long time ago.                    1       A. Yes, his office.
 2         A. It was in Manassas, Virginia, but I do not         2       Q. So just tell me a little bit about how
 3    remember.                                                  3   that works. Did you call up to make an appointment
 4         Q. Was it a man OB/GYN or a woman OB/GYN?             4   at Dr. Chaudhry's practice? Did the lady OB/GYN call
 5         A. I -- Jesus Christ. I do not remember,              5   for you and make appointments, or how did that
 6    honestly.                                                  6   transition happen, if you remember?
 7         Q. Okay. But it was -- it was an OB/GYN,              7       A. She gave me the referral. I called up
 8    though, who delivered you then?                            8   there and made an appointment. So when I got to my
 9         A. Yes, yes.                                          9   appointment, they said that Dr. Chaudhry had to step
10         Q. Did you have a different doctor to deliver        10   out, but Dr. Akoda was there. So I said, that's
11    Angel?                                                    11   fine, I just need to get care, I don't care who I
12         A. Yes. That was in Fairfax County, and I do         12   see. I was at my last stage of pregnancy.
13    not remember. I do not remember. Josiah, he was a         13       Q. You were about six months, you said?
14    male.                                                     14       A. About six months, yes. So then that's
15         Q. The OB/GYN was a male?                            15   when I saw Dr. Akoda, and then all my regular
16         A. Yes.                                              16   visits -- two weeks after that, every two weeks.
17         Q. And where was he located, generally               17       Q. Starting every two weeks?
18    speaking?                                                 18       A. Yes.
19         A. In Arlington, Virginia hospital.                  19       Q. Where did those visits take place?
20         Q. How did you come to select your OB/GYN to         20       A. At Dr. Chaudhry's office in District
21    deliver Jaiden?                                           21   Heights.
22         A. So I was seeing the lady -- it was a lady         22       Q. Prior to going to Dr. Chaudhry's practice,
23    at first on Saint Barnabas Road, which was close to       23   did you do any research into him, Dr. Chaudhry?
24    where I lived at the time. So after I became six          24       A. No.
25    months, she said that she had to refer me to another      25       Q. Can you tell me just a little bit about

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 1    doctor's office, because that's when she stopped           1   what Dr. Chaudhry's practice looked like? Is there a
 2    seeing patients.                                           2   reception area, a waiting room, that kind of thing?
 3        Q. You said it was a lady, so it was a female          3       A. There was a waiting -- a waiting room, and
 4    OB/GYN?                                                    4   then on the left-hand side, it's the entrance, and
 5        A. Yes.                                                5   then there's the receptionist, and then on the
 6        Q. Did she refer you to another doctor?                6   right-hand side is the rooms, the examination rooms.
 7        A. Yes.                                                7       Q. Were there nurses or other medical
 8        Q. To whom did she refer you?                          8   professionals who worked there as well as the
 9        A. Dr. Chaudhry.                                       9   doctors?
10        Q. Is Dr. Chaudhry an OB/GYN?                         10       A. Nurses. There was nurses.
11        A. Yes.                                               11       Q. Did you see other patients there while you
12        Q. Where is he located?                               12   were there?
13        A. In District Heights.                               13       A. Yes.
14        Q. How close to you is that?                          14       Q. In the waiting room?
15        A. At the time where I lived, it was about 15         15       A. Yes.
16    minutes.                                                  16       Q. Okay. Aside from Dr. Akoda, were you ever
17        Q. Did you move at some point since then?             17   treated by any other physician at Dr. Chaudhry's
18        A. Yes, I did.                                        18   practice?
19        Q. Have you moved more than once since then?          19       A. No.
20        A. Since then, yes.                                   20       Q. So you said it started out with Dr. Akoda
21        Q. And so did you actually ever go see                21   that your appointments were about every two weeks?
22    Dr. Chaudhry?                                             22       A. Yes.
23        A. I did not see Dr. Chaudhry. He was never           23       Q. At some point did that become more
24    in there. I saw Dr. Akoda.                                24   frequent?
25        Q. Did you go to Dr. Chaudhry's practice?             25       A. When I got closer to my due date.

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 1        Q. They began weekly?                                1       A. It was hours.
 2        A. Yes.                                              2       Q. Hours?
 3        Q. Did your labor with Jaiden begin                  3       A. It was hours, and induced me on the 16th
 4    naturally?                                               4   and he wasn't born until the 17th, so about -- tell
 5        A. Yes. I was induced.                               5   you, it was more than nine, ten hours.
 6        Q. Who induced you?                                  6       Q. Nine to ten hours of labor? Did you have
 7        A. Dr. Akoda.                                        7   an epidural?
 8        Q. Where?                                            8       A. Yes, I did.
 9        A. PGH hospital.                                     9       Q. Did it work?
10        Q. Did you have an appointment for that?            10       A. Yes.
11        A. Yes.                                             11       Q. Who was your treating physician while you
12        Q. Why?                                             12   were in labor?
13        A. Because from my understanding that was the       13       A. It was -- I know Dr. Akoda was there, and
14    policy. You had to make an appointment to get           14   there was another lady in there. I do not remember.
15    induced.                                                15       Q. Another physician?
16        Q. How far along were you when you were             16       A. Yeah -- no, it's the nurse.
17    induced, do you recall?                                 17       Q. Oh, the nurse.
18        A. I was almost nine months, eight and a half       18       A. The nurses. It was two nurses and
19    to nine.                                                19   Dr. Akoda.
20        Q. Do you remember if there was a medical           20       Q. Did you have an anesthesiologist come and
21    reason that you needed to get induced?                  21   place the epidural?
22        A. No.                                              22       A. Yes.
23        Q. So is it fair to say that you had an             23       Q. And that was a different doctor?
24    appointment to get induced and then you showed up at    24       A. Yes.
25    PGH hospital then to actually be induced --             25       Q. Do you remember if that was a lady or a
                                                    Page 43                                                          Page 45
 1        A. Yes.                                              1   man doctor?
 2        Q. -- at the time of your appointment?               2       A. That was a man doctor.
 3        A. Yes.                                              3       Q. Were you able to deliver Jaiden vaginally?
 4        Q. And at the time of your appointment, did          4       A. Yes.
 5    you expect it would be Dr. Akoda who would be doing      5       Q. Have you ever had to have a C-section for
 6    the induction?                                           6   any of your deliveries?
 7        A. I honestly didn't know who was coming, if         7       A. No.
 8    it was Chaudhry or Akoda.                                8       Q. Have you ever had complications from any
 9        Q. Sure.                                             9   of your deliveries?
10        A. Yeah, just...                                    10       A. Yes.
11        Q. But either of those two from that                11       Q. Tell me about that.
12    practice?                                               12       A. So after I had Jaiden, my bleeding was
13        A. Yes.                                             13   really heavy. I had to change my -- the padding
14        Q. Have you ever been treated by                    14   every three to five seconds, and it was going through
15    Dr. Chaudhry?                                           15   the sheets and everything. So I had texted a friend
16        A. No.                                              16   who was also being seen at Dr. Chaudhry's office, and
17        Q. Have you ever seen Dr. Chaudhry in person?       17   I had sent her a picture.
18        A. I saw him going out the door, but that --        18       I said, I don't think this is normal, because
19    that was it.                                            19   it was blood clots as well. It was bigger than
20        Q. Did you ever meet him?                           20   normal blood clots. So that's when she said, it's
21        A. Just saw him going out the door. I never         21   not, you need to tell the nurse that she needs to get
22    actually, you know, met, hey, doctor, no.               22   the doctor in there as soon as possible.
23        Q. How long was your labor with Jaiden?             23       So that's when I told the nurse, and she
24        A. Ooh.                                             24   called the doctor, Dr. Akoda. He came in, and he
25        Q. Sorry for needing to ask, but...                 25   kept saying, I'm sorry, I should have detected it

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 1    sooner, I'm so sorry, we're getting the O.R. ready       1       A. He was the one who removed the bandages at
 2    for you. So they rushed me to the O.R.                   2   the hospital.
 3        Next thing you know, I woke up with tubes            3       Q. After the surgery?
 4    everywhere, and I was just crying. I didn't know --      4       A. After the surgery.
 5    I was concerned about my baby. I didn't know what        5       Q. Okay. Where were the bandages?
 6    was going on, why was I bleeding, why these blood        6       A. In -- inside me.
 7    clots were so huge. I just -- I didn't know.             7       Q. Inside your vaginal canal?
 8        Q. Did this take place while you were at PGH         8       A. Yes.
 9    hospital?                                                9       Q. Okay. But they didn't have to cut open
10        A. Yes.                                             10   your abdomen at all?
11        Q. Was -- how long in time was it after you         11       A. No.
12    had delivered Jaiden?                                   12       Q. Okay. And, I'm sorry, you -- you had said
13        A. It was about two or three after I had him.       13   that after you were released from the hospital, then
14        Q. Two to three hours, so it was that same          14   your post-delivery recovery from Jaiden was normal?
15    day?                                                    15       A. Mm-hmm.
16        A. Uh-huh, it was the same day.                     16       Q. Is that a yes?
17        Q. Do you remember what time of day you             17       A. Yes.
18    delivered Jaiden?                                       18       Q. Did Jaiden have any complications from his
19        A. Actually I do not remember what time.            19   delivery?
20        Q. Sure. Who was the friend that you texted?        20       A. No.
21        A. Her name is Tisa. I call her Tisa,               21       Q. Was Jaiden a good eater?
22    Latisa.                                                 22       A. Picky eater.
23        Q. Latisa?                                          23       Q. Well, as an infant, was he breastfed?
24        A. Latisa.                                          24       A. Yes.
25        Q. What's her last name?                            25       Q. Okay. And how did he do with feeding?

                                                   Page 47                                                     Page 49
 1        A. Gaymon.                                           1       A. Lasted about two weeks, and then he would
 2        Q. Does it start with a G?                           2   just take Similac.
 3        A. G, yes.                                           3       Q. He wanted to switch to formula?
 4        Q. So you -- you had the bleeding and the            4       A. Yes.
 5    blood clots that you found to be troubling, and you      5       Q. And bottles?
 6    told a nurse then?                                       6       A. Yes.
 7        A. Yes.                                              7       Q. And how was he as a sleeper after
 8        Q. Okay. And the nurse went and got                  8   delivery?
 9    Dr. Akoda; is that right?                                9       A. A good sleeper.
10        A. Yes.                                             10       Q. Did you breastfeed all your children?
11        Q. And Dr. Akoda came and he took you to            11       A. Yes.
12    surgery?                                                12       Q. How long did you breastfeed Tatiana for?
13        A. Yes.                                             13       A. Seven months.
14        Q. Do you know who conducted the surgery for        14       Q. Aside from the bleeding and the clots that
15    you?                                                    15   you had after delivering Jaiden, did you have any
16        A. It was Dr. Akoda.                                16   other concerns about your delivery of Jaiden?
17        Q. How long were you in the hospital after          17       A. I did. Because, like I said, I'm
18    you delivered Jaiden?
19        A. Three days. Two to three days.
20        Q. After the surgery that you had from
21    Dr. Akoda after delivering Jaiden, how was your         21      Q.   Did you ask?
22    recovery?                                               22      A.   I did, but I never got the answer.
23        A. You know what? The recovery was fine. I          23      Q.   When you say you asked, who did you ask?
24    did meet Dr. Chaudhry.                                  24      A.   I asked Dr. Akoda.
25        Q. Tell me about that.                              25      Q.   While you were in the hospital?

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 1         A. Yes.                                               1       Q. So it wasn't the first time you went to
 2         Q. Do you know if you signed a consent form           2   see Dr. Akoda that this happened?
 3    to get a blood transfusion?                                3       A. It wasn't the first time, no.
 4         A. I don't remember, honestly.                        4       Q. And you went a couple times before that
 5         Q. Do you know if they talked to you about            5   had happened?
 6    getting a blood transfusion before you went into           6       A. Correct.
 7    labor?                                                     7       Q. Okay. You said he would examine your
 8         A. I don't remember.                                  8   breasts. Do you mean like a breast exam?
 9         Q. Any other concerns unrelated to the                9       A. Yes.
10    bleeding and the clotting issue from your delivery        10       Q. Palpitating your breasts, feeling for
11    with Jaiden?                                              11   lumps, that kind of thing?
12         A. Not after the delivery.                           12       A. Correct.
13         Q. Okay. What about during the delivery?             13       Q. The first time that you said Dr. Akoda
14         A. During, no.                                       14   began being flirtatious, following that, is that when
15         Q. Or before delivery?                               15   you asked to have a nurse present for your next
16         A. Before, no.                                       16   examination?
17         Q. Let's get back to your prenatal care for          17       A. Yes.
18    Jaiden. You were going about once every two weeks         18       Q. So was it one time that this happened with
19    once you were six months pregnant to see Dr. Akoda;       19   Dr. Akoda when you were alone with him?
20    is that correct?                                          20       A. No, it was a few times.
21         A. Correct.                                          21       Q. So were you seen by Dr. Akoda alone after
22         Q. And that was always at Dr. Chaudhry's             22   you had requested to have a nurse present?
23    medical practice?                                         23       A. At first, yes. She would step out of the
24         A. Correct.                                          24   room, and then I wouldn't seen her. But then I said
25         Q. Was that in a private exam room?                  25   something again to the front desk requesting a nurse,

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 1         A. Yes.                                               1   and from that point on, every time I saw him, there
 2         Q. Would you first get seen by a nurse for            2   was a nurse present.
 3    like blood pressure and weight and that kind of            3       Q. Do you remember, did they have female
 4    stuff?                                                     4   nurses, male nurses accommodation?
 5         A. Yes.                                               5       A. Female.
 6         Q. And then when -- you would be taken back,          6       Q. All female nurses?
 7    and you would see Dr. Akoda?                               7       A. It was all female nurses.
 8         A. Correct.                                           8       Q. Was that true both for your prenatal care
 9         Q. Was a nurse with you for those                     9   and for your delivery, they were all female nurses?
10    examinations by Dr. Akoda?                                10       A. Yes.
11         A. No.                                               11       Q. At any point after you said Dr. Akoda
12         Q. Okay. Sometimes yes, sometimes no, or             12   became flirtatious, did you ask to be seen instead by
13    always no?                                                13   a different OB/GYN?
14         A. At first no. Then after I requested one           14       A. No.
15    to be there.                                              15       Q. Other than the comments to you in
16         Q. And when did you request to have a nurse          16   connection with the breast exams, did Dr. Akoda do or
17    present with your examinations of Dr. Akoda?              17   say anything else that you felt was flirtatious?
18         A. When Dr. Akoda was starting being very            18       A. No, that was it.
19    flirtatious.                                              19       Q. And by "flirtatious" I also mean or sexual
20         Q. When was that?                                    20   in any way. Do you understand that?
21         A. He would do -- examine my breasts and             21       A. Yes.
22    stuff and make comments about I have nice breasts and     22       Q. Okay. So the answer is still no?
23    stuff like that. So then I felt uncomfortable. That       23       A. Still no.
24    was -- I was eight months pregnant at that time,          24          MS. MCENROE: We've been going just about
25    seven and a half to eight.                                25   an hour. It might be a good time for a little break,

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 1    if that's okay.                                            1       Q. Have you seen this deposition notice
 2            THE WITNESS: If that's what you guys want          2   before?
 3    to do. I mean, I'm fine.                                   3       A. Yes.
 4            MS. MCENROE: That sounds good. Let's               4       Q. Is that what you reviewed?
 5    take a quick break.                                        5       A. Yes.
 6            MR. CERYES: Okay.                                  6       Q. Okay. Aside from this amended notice of
 7            VIDEO SPECIALIST: We're going off the              7   deposition, did you review anything else in
 8    record at 10:26.                                           8   preparation for your deposition today?
 9         (Proceedings recessed.)                               9       A. No.
10            VIDEO SPECIALIST: We're back on the               10       Q. Did you look up any information on the
11    record at 10:36.                                          11   Internet in preparation for today's deposition?
12    BY MS. MCENROE:                                           12       A. No.
13         Q. Ms. Powell, what, if anything, did you do         13       Q. Did you speak with anyone to prepare for
14    to prepare for today's deposition?                        14   today's deposition?
15         A. Just be here.                                     15       A. No.
16         Q. Did you review any documents in advance of        16          MR. CERYES: You can share the fact -- if
17    today for your deposition?                                17   we discussed, you can share the fact that we had
18         A. Yes, I did.                                       18   communications, just not --
19         Q. What did you review?                              19       A. That's including my lawyer?
20         A. For starters, the address.                        20       Q. Correct.
21         Q. That's good. Anything else?                       21       A. Oh, okay.
22         A. I had to remember again what ECFG [sic]           22       Q. So not what you said to one another, but
23    was.                                                      23   just the fact of having spoken with counsel.
24         Q. Anything else?                                    24       A. Oh, yes, my attorney.
25         A. That's -- that's mainly -- mainly what I          25       Q. And who did you speak with?
                                                      Page 55                                                Page 57
 1    was --                                                     1       A. My attorney.
 2        Q. And what do you mean you had to remind              2       Q. And is that Brent sitting next to you?
 3    yourself what ECFMG is?                                    3       A. Mr. Brent, yes, that's correct.
 4        A. Because I didn't know at first who you              4       Q. And did you speak to him in person or on
 5    guys were.                                                 5   the telephone?
 6        Q. And how did you remind yourself what ECFMG          6       A. In person and the telephone.
 7    is?                                                        7       Q. How long was that for?
 8        A. I looked -- I looked it up, how the                 8       A. In person? A good 25, 30 minutes.
 9    documentation had said that I had from my lawyer.          9       Q. And on the telephone?
10        Q. What documentation?                                10       A. Forty minutes.
11        A. The deposition.                                    11       Q. When did those conversations take place?
12        Q. Was that your deposition from the                  12       A. Yesterday.
13    Dimensions litigation?                                    13       Q. Both the in person and the telephone?
14        A. No. It was the one that my lawyer had              14       A. No, the one in person was today.
15    sent me of where to come and who I was going to meet.     15       Q. This morning?
16        Q. Okay.                                              16       A. Yes, this morning.
17                (Exhibit 1 marked for                         17       Q. Okay. Great. Thank you. Here?
18           identification: Amended Notice of                  18       A. Yes.
19          Deposition of Plaintiff Elsa Powell)                19       Q. How did you first meet your counsel?
20    BY MS. MCENROE:                                           20       A. It was a meeting that we had about the
21        Q. I'd like to hand you what I'm marking as           21   Akoda case once I've learned what was going on.
22    Exhibit 1 -- that was a good toss -- which you'll see     22       Q. When you say it was a meeting that you
23    at the top says Amended Notice of Deposition of Elsa      23   had, was that an in-person meeting?
24    Powell. Do you see that?                                  24       A. It was an in-person meeting, yes, with a
25        A. Yes.                                               25   group of young ladies.

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 1        Q. So there were other clients there in                 1   and the -- as you described them, the group of
 2    addition to yourself?                                       2   ladies?
 3        A. Yes.                                                 3       A. No, it's just us.
 4        Q. And some lawyers as well?                            4       Q. How did you know to be at that meeting?
 5        A. Correct.                                             5       A. My friend told me about it.
 6        Q. Do you know any of the other ladies who              6       Q. Had you spoken to any lawyers before you
 7    were there with you?                                        7   went to that meeting?
 8        A. Just one.                                            8       A. No.
 9        Q. Who was that?                                        9       Q. Did you speak to any lawyers at that
10        A. My friend, Latisa.                                  10   meeting?
11        Q. Would Gaymon sound correct for her name?            11       A. Yes.
12        A. Yes.                                                12       Q. Who did you speak to?
13        Q. G-A-Y-M-O-N?                                        13       A. I do not remember.
14        A. Yes.                                                14       Q. Did you hire counsel at that meeting?
15        Q. Is that who you also texted when you were           15       A. Yes.
16    bleeding after delivering Jaiden?                          16       Q. Did you sign anything at that meeting?
17        A. Correct.                                            17       A. Yes.
18        Q. Aside from Ms. Gaymon, did you know any of          18       Q. Do you have a copy of what you signed in
19    the other ladies who were also meeting with counsel?       19   that meeting?
20        A. No.                                                 20       A. Not with -- no, not on me, no.
21        Q. Approximately how long did that meeting             21       Q. Not necessarily with you, but do you have
22    last?                                                      22   a copy of it?
23        A. About two hours or so.                              23       A. No.
24        Q. Do you remember when that was?                      24       Q. When you were going to that meeting, do
25        A. No, it's -- it's -- it's been like around           25   you know what you thought the purpose of the meeting

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 1    2017 or so.                                                 1   was?
 2        Q. Was that before you filed any lawsuits?              2       A. Yes.
 3        A. Yes.                                                 3       Q. What did you think the purpose of the
 4        Q. Had you hired counsel by then?                       4   meeting was going to be?
 5        A. No. I wasn't aware of what was going on              5       A. Learn more information about how the
 6    by then.                                                    6   doctor that I thought was a real doctor unfortunately
 7        Q. Can you estimate how many ladies were in             7   wasn't who he said he was or what his name was.
 8    the group who were at that meeting with counsel?            8       Q. Is that Dr. Akoda you're talking about?
 9        A. I wouldn't know to tell you. It was --               9       A. That's correct.
10        Q. Was it closer to four or 20 or --                   10       Q. Is that in fact what you learned at the
11        A. No, it was -- it was about -- more than 20          11   meeting?
12    or so.                                                     12       A. That's --
13        Q. Did you have any other more group meetings          13          MR. CERYES: Object. I think we're
14    with counsel like that?                                    14   starting to get into the substance of what was
15        A. No.                                                 15   discussed at that meeting. So I'm going to advise
16        Q. Where did that meeting take place?                  16   you not to answer that question.
17        A. It was a hotel lobby, but I -- not lobby            17   BY MS. MCENROE:
18    but conference area, but I don't remember the exact        18       Q. Let me restate it a different way, or I'll
19    name.                                                      19   just ask a different question actually.
20        Q. Aside from the group of ladies who were             20       So how did you come to have the expectation
21    there, you mentioned counsel was there as well?            21   that that was what you were going to hear about at
22        A. Correct.                                            22   the meeting?
23        Q. How many lawyers were there?                        23       A. Because my friend had actually told me,
24        A. A good four or five.                                24   and she had learned it through a TV ad. So I said, I
25        Q. Was anyone else there besides the lawyers           25   don't believe it, I don't -- this has got to be some

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 1    kind of joke. That's when she said was like, well,           1   be burned. And he did the procedure right there at
 2    they're having a meeting. If you don't believe me,           2   Dr. Chaudhry's office.
 3    we can attend the meeting. I'm sure you can get the          3       Q. In the office?
 4    information that you're so confused about.                   4       A. Yes.
 5        Q. Did you ever see the TV ad Ms. Gaymon was             5       Q. Did you have any complications from having
 6    referring to?                                                6   the ovarian cyst treated?
 7        A. No.                                                   7       A. Just -- it was irritation and pain, but
 8        Q. Was it Ms. Gaymon you were just talking               8   that was it.
 9    about?                                                       9       Q. And how long did that irritation and pain
10        A. Correct.                                             10   last after the procedure?
11        Q. Did you ever hear any radio ads?                     11       A. Three to four -- three to four days.
12        A. After the fact, yes.                                 12       Q. Three to four days? Okay. Following the
13        Q. When you say "after the fact," you mean              13   treatment of that ovarian cyst, did you get treatment
14    after this meeting?                                         14   or have an examination by Dr. Akoda after that?
15        A. After the meeting.                                   15       A. After that, no.
16        Q. What did the radio ad say?                           16       Q. Did you see any obstetricians or
17        A. It was -- whatchamacallit -- the radio --            17   gynecologists between then and then when you were
18    not the radio -- the radio station, not a -- not like       18   again pregnant with Tatiana?
19    an ad, the radio station. They were talking about           19       A. No.
20    how there was a doctor who was delivering children,         20       Q. Did you see any obstetricians or
21    and come to find out that he lied about his identity,       21   gynecologists between when you delivered Lucy and
22    and they were talking about that.                           22   finished that postnatal care and when you became
23        So that's when I had called my friend Tisa. I           23   pregnant with Angel?
24    was like, wow, it's everywhere. I -- I still can't          24       A. No.
25    believe it.                                                 25       Q. Did you see any obstetricians or

                                                       Page 63                                                          Page 65
 1        Q. Had you seen or heard any other news media            1   gynecologists between when you were done with your
 2    coverage about Dr. Akoda?                                    2   postnatal care from Angel and when you became
 3        A. Online I did.                                         3   pregnant with Josiah?
 4        Q. What did you see?                                     4       A. No, I --
 5        A. I saw how they were talking about his real            5       Q. Did you see any OB/GYNs between when you
 6    name wasn't Akoda, and that he had lied and was being        6   finished your post -- postnatal care of Josiah and
 7    charged with security fraud.                                 7   when you became pregnant with Jaiden?
 8        Q. Social Security fraud?                                8       A. No.
 9        A. Social Security fraud, yes.                           9       Q. How did you become friends with
10        Q. Any other news coverage that you saw or              10   Ms. Gaymon?
11    heard?                                                      11       A. I met her at the doctor's office, my
12        A. That was it. After that, I didn't want to            12   OB/GYN, when I found out I was pregnant with Jaiden.
13    see anything else.                                          13   I do not remember her name, but it was at the office
14        Q. When did Ms. Gaymon first contact you                14   on Saint Barnabas Road.
15    regarding these allegations about Dr. Akoda?                15       Q. With the woman OB/GYN, correct?
16        A. I don't know the specific day or month,              16       A. Yes.
17    but I know it was in 2017.                                  17       Q. Okay. And she was pregnant at the same
18        Q. What year was Jaiden born again?                     18   time you were pregnant?
19        A. 2014.                                                19       A. Correct.
20        Q. Okay. Following Jaiden's delivery, did               20       Q. Did she then go on, do you know, to switch
21    you do post-delivery care with Dr. Akoda?                   21   to Dr. Chaudhry's practice around the time you did as
22        A. I sure did.                                          22   well?
23        Q. Okay. For how long? Until when?                      23       A. Yes.
24        A. My -- I did my six-weeks checkup. He had             24       Q. Did you guys talk about that?
25    said that I had an ovarian cyst and that it needed to       25       A. Yes, we did.

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 1         Q. What did you talk about?                           1       Q. So did you have anyone else with you
 2         A. I told her that they had changed me over           2   supporting you in the hospital when you had Jaiden?
 3    to Dr. Chaudhry's office, but I wasn't too happy           3       A. No.
 4    because I didn't want to deliver Jaiden at PGH with        4       Q. Okay. Was he with nurses when you had
 5    all the negative reviews that I had heard from PGH.        5   your surgery?
 6    So that's when she said, well, I'm delivering there        6       A. Yes.
 7    too, so you're not alone.                                  7       Q. Okay. And then when did Latisha come to
 8         And our dates were different, doctor's                8   you -- or did I say that wrong? I'm sorry,
 9    appointments were different, so I would call her and       9   Ms. Gaymon. Stick with Ms. Gaymon.
10    say, hey, I saw Dr. Akoda. And she was like, oh, I'm      10       A. It was a couple hours. It was -- it was
11    going next week, okay, we'll follow up next week.         11   later, later that day.
12         But eventually we went weeks without speaking        12       Q. How long did she stay with you in the
13    until I had called her and told her I was in labor.       13   hospital?
14    And then she went to see me afterwards.                   14       A. About 45 minutes to an hour.
15         Q. Did she come to see you in the hospital?          15       Q. Did you have any other visitors when you
16         A. Yes.                                              16   were in the hospital having delivered Jaiden?
17         Q. Was she still pregnant or had she had her         17       A. No.
18    baby?                                                     18       Q. Do you have any family members living
19         A. She was still pregnant.                           19   nearby, your mom, your dad, siblings?
20         Q. Did she deliver a healthy baby?                   20       A. No. They're all in Massachusetts.
21         A. Yes.                                              21       Q. Oh, they all live in Massachusetts?
22         Q. And did Dr. Akoda deliver her baby, do you        22       A. Yes.
23    know?                                                     23       Q. Do you have siblings?
24         A. Yes.                                              24       A. No -- in Massachusetts. They are all in
25         Q. Did she have a boy or a girl?                     25   Massachusetts.

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 1           A.   A girl.                                        1       Q. Do you have brothers and sisters, though?
 2           Q.   How long after you had Jaiden?                 2       A. Six brothers.
 3           A.   A week after I had Jaiden.                     3       Q. Six brothers?
 4           Q.   So pretty close in time?                       4       A. Yes.
 5           A.   Uh-huh.                                        5       Q. They all live in Massachusetts?
 6           Q.   Did you guys overlap in the hospital at        6       A. Yes.
 7    all?                                                       7       Q. Do they have any children?
 8        A. No.                                                 8       A. Yes, they do.
 9        Q. And did she actually deliver at PGH?                9       Q. Do you get up there to see them?
10        A. Yes.                                               10       A. Sometimes, when I can.
11        Q. When did she come visit you in the                 11       Q. Are your parents still living?
12    hospital?                                                 12       A. Yes.
13        A. The -- right after I had my surgery, a             13       Q. And -- and they live in Massachusetts?
14    couple hours after I had my surgery.                      14       A. My father lives in Massachusetts. My
15        Q. When you were in recovery?                         15   mother lives in Florida.
16        A. Yes.                                               16       Q. Did either of them come to visit you after
17        Q. By the way, how was Jaiden when you saw            17   you had Jaiden?
18    him after your surgery?                                   18       A. No.
19        A. It was good seeing him. He was sleeping.           19       Q. When you went home after having delivered
20    It was really nice.                                       20   Jaiden, was there anyone there to help you?
21        Q. Good. Yeah. And was your husband in the            21       A. My children and my neighbor.
22    hospital with you as well?                                22       Q. And who is your neighbor?
23        A. No.                                                23       A. Lord, what's her name? I do not remember
24        Q. Was he working?                                    24   her name. I just -- Peterson is her last name, but I
25        A. No. We weren't together at that time.              25   do not remember her name.

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 1        Q. Ms. Peterson came to help you some?                1   experiences with Dr. Akoda?
 2        A. Yes.                                               2       A. She spoke about her cesarean because she
 3        Q. And what kind of help did she provide?             3   had a cesarean, and that's when I said I've never had
 4        A. She was the one who took care of the               4   a cesarean, and that was the conversation.
 5    children while I was in the hospital.                     5       Q. Do you know how her recovery went after
 6        Q. Did she stay to help after you came home           6   her C-section?
 7    with Jaiden?                                              7       A. Not really. Honestly, not really.
 8        A. Yes, because she was literally my                  8       Q. Do you know if she talked to you about any
 9    next-door neighbor.                                       9   infection or scarring, anything like that?
10        Q. Did she stay over to help so that you             10       A. No.
11    could sleep --                                           11       Q. Does she have other children, do you know,
12        A. Yes.                                              12   other than that daughter?
13        Q. -- and take a shower?                             13       A. Yes, she has two older children.
14        A. Yes.                                              14       Q. Before she had that daughter?
15        Q. How much time do you think Ms. Peterson           15       A. Yes.
16    spent at your home after you had Jaiden?                 16       Q. Do you know if she's had any children
17        A. Probably about -- I'd say about an hour or        17   since?
18    two a day.                                               18       A. No, she has not.
19        Q. For -- for how long did that go on, do you        19       Q. You said that you guys got together about
20    think?                                                   20   six or seven months after your -- Jaiden and her
21        A. For the first -- first two weeks. Or, if          21   daughter had been born. Do you know if you saw each
22    I needed her, I went over to her house.                  22   other then thereafter, before you had the meeting
23        Q. At some point after you had Jaiden did you        23   with counsel we talked about earlier?
24    and Mr. Powell get together or move into the same        24       A. Yes, we did.
25    home?                                                    25       Q. About how frequently?

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 1        A. Not aft- -- until we got married.                  1       A. Not frequently.
 2        Q. So how long was it that you got married            2       Q. For about how many times?
 3    after you had Jaiden?                                     3       A. How many times after that? I would say
 4        A. Let's see. I had Jaiden in September '14.          4   about four to five.
 5    We got married in January 2015. It was a couple           5       Q. Were those of a social nature, those
 6    months.                                                   6   meetings?
 7        Q. Did he help with any of the child care             7       A. Yes, gatherings at my house from kids'
 8    responsibilities before you got married?                  8   birthday parties, stuff like that.
 9        A. No.                                                9       Q. Aside from seeing each other, would you
10        Q. Does he help with any child care                  10   stay in touch over social media or texting, anything
11    responsibilities now?                                    11   of the like?
12        A. Yes.                                              12       A. Yes.
13        Q. We were talking about Ms. Gaymon had a            13       Q. Okay. How?
14    baby girl, healthy baby girl, about a week after you     14       A. Facebook. And she would text me time to
15    had Jaiden; is that right?                               15   time and see how I'm doing, see how the kids are
16        A. Yes.                                              16   doing, and to tell me she's -- Maddie, which is her
17        Q. Does she live nearby where you live, or at        17   daughter that she had -- Maddie is asking when she's
18    least at the time did she?                               18   going to see Jaiden and when she's going to come
19        A. No. At the time she lived, let's see -- I         19   over.
20    lived in Temple Hills. She lived in Fort Washington.     20       Q. Is Maddie a healthy kid, from what you
21    So it was probably 30, 40 minutes away from me.          21   know?
22        Q. Did you visit with one another after you          22       A. Yes.
23    both had your babies?                                    23       Q. What name do you use on Facebook?
24        A. Like six -- six or seven months after.            24       A. Miguella Powell.
25        Q. And did you talk at all about your birth          25       Q. Miguella Powell? So your -- your current

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    1    middle name and last name?                                 1       A. No.
    2        A. My nickname.                                        2       Q. Did she tell you what station it was on?
    3        Q. Oh, you go by -- is that your nickname?             3       A. No.
    4        A. Yes. Because my father's name is Miguel,            4       Q. What was her mood like when she called
    5    so everybody calls me Miguella.                            5   you?
    6        Q. Do you use any other social media?                  6       A. Shocked.
    7                                    .                          7       Q. Do you know anyone else other than
    8                                                               8   Ms. Gaymon who was treated or examined by Dr. Akoda?
                                                                    9       A. No.
                                                                   10       Q. Did you become friends with anyone else in
                                                                   11   the waiting room of any of your OB/GYNs?
                                                                   12       A. No.
                                 number.                           13       Q. And we covered this, I think, but you
14           Q. Okay. And is that your cell phone number?          14   delivered Jaiden vaginally, correct?
15           A. Yes.                                               15       A. Correct.
16           Q. And what is that number?                           16       Q. And Ms. Gaymon had a C-section?
1                                                                  17       A. Correct.
                                                                   18       Q. Do you know if your birthing experiences
19          A. No.                                                 19   were similar?
20          Q. Do you have any blogs?                              20         MR. CERYES: Objection, form, foundation.
21          A. No.                                                 21       You can answer to the extent you know and
22          Q. Do you do any other sort of journaling?             22   understand the question.
23       Do you have any hard-copy journals you keep?              23       A. I don't know.
24          A. No. I barely have time to sleep.                    24       Q. Okay. So you had a vaginal delivery and
25          Q. You mentioned that Ms. Gaymon was the               25   she had a C-section?

                                                         Page 75                                                   Page 77
    1    first one to be in touch with you to talk about the        1       A. Yes.
    2    allegations about Dr. Akoda and his identity; is that      2       Q. So I'm just asking if you think that your
    3    correct?                                                   3   delivery experiences with Dr. Akoda were similar.
    4         A. That's correct.                                    4          MR. CERYES: Same objection.
    5         Q. How was she first in touch with you about          5       A. I don't -- I don't -- I don't know,
    6    that?                                                      6   honestly. I thought mine was harsh. I don't know
    7         A. She called me.                                     7   what she went through.
    8         Q. On the telephone?                                  8       Q. You mean your labor and delivery was --
    9         A. Yes.                                               9   was a tough one?
10            Q. What did she say?                                 10       A. Yes.
11            A. She said, girl, you will not believe this.        11       Q. Do you know about the experiences of any
12       I said, what. She was like, Dr. Akoda is not who he       12   of the other patients of Dr. Akoda's?
13       said he is. I said, you're lying. She's like, no,         13       A. No.
14       I'm not lying. I said, girl, I don't believe you,         14       Q. Do you know if Ms. Gaymon had the same
15       whatever. So she said, if you don't believe me,           15   experiences with breast exams that you had with
16       there's going to be a meeting that you can go and see     16   Dr. Akoda?
17       it for yourself, so...                                    17       A. I don't know.
18            Q. Was that just one conversation before you         18       Q. Did you talk to her about that experience?
19       then went to the meeting with counsel?                    19       A. No.
20            A. Yes.                                              20       Q. Have you ever spoken to her about that
21            Q. Do you know how she found out?                    21   experience?
22            A. She said she -- through an ad.                    22       A. No.
23            Q. On the television?                                23       Q. Has Ms. Gaymon ever told you that there
24            A. On the television.                                24   was anything flirtatious or sexual about any of her
25            Q. Did she describe that ad to you?                  25   interactions with Dr. Akoda?

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 1         A. No.                                                    1   wasn't Dr. Akoda who did the surgery. Come to find
 2         Q. She has not told you that?                             2   out it's -- it's some other man. I mean, how are
 3         A. No, she has not.                                       3   they going to feel? Like, it's -- it's disturbing.
 4         Q. Other than the issue of Dr. Akoda's                    4   It's beyond disturbing.
 5    identity, has Ms. Gaymon raised any concerns about             5        Q. Sitting here today, do you have any reason
 6    Dr. Akoda's treatment of her with you?                         6   to doubt that Dr. Akoda had medical training?
 7         A. She hasn't told me anything, no.                       7        A. Yeah. Yes, I do.
 8         Q. Sitting here today, do you believe that                8        Q. You've -- you've had a number of OB/GYNs
 9    Dr. Akoda is a doctor?                                         9   over the span of your experience in birthing
10            MR. CERYES: Objection, form, foundation.              10   children. Was there anything out of the ordinary
11         You can answer.                                          11   about Dr. Akoda's care of you compared to the other
12    BY MS. MCENROE:                                               12   OB/GYNs you've had?
13         Q. Just asking for what you -- what your                 13           MR. CERYES: Objection to the extent it's
14    belief is.                                                    14   already been answered.
15         A. My honest opinion? I don't know what to               15        But you can answer.
16    believe.                                                      16        A. I mean, besides that he was flirtatious,
17         Q. So you don't know one way or the other?               17   and, certain extent, disrespectful because,
18         A. I don't know what -- he said his name was             18   you know --
19    Akoda, and come to find out it wasn't. I mean, I              19        Q. But I'm talking about the medical care
20    don't know what to believe.                                   20   itself.
21         Q. Okay. And does him using a different name             21        A. No. I mean, when you go to get checked
22    have some sort of special significance to you? What           22   out, you don't -- you don't actually focus on, you
23    is it that -- that is the problem with that?                  23   know, what is he doing. I mean, I didn't go to
24         A. It's the problem --                                   24   medical school, so I don't know what -- what a doctor
25            MR. CERYES: Objection, form, foundation.              25   is supposed to do.

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 1         You can answer.                                           1        Q. You've delivered other children before, so
 2         A. Yeah, it's a problem. You told me your                 2   I'm just trying to understand if in your experience,
 3    name was Akoda and come to find out it's not. I                3   your treatment with Dr. Akoda -- and we've talked
 4    mean, what other secrets are you hiding? I -- I                4   about the flirtatious issues -- setting that aside,
 5    trusted you. You know, you touched my body. I mean,            5   the medical treatment he provided to you was
 6    that's -- I thought Akoda, you know, was my doctor,            6   different or notable in some way compared to the
 7    who I trusted to do my exams and -- and touch my body          7   other treatment you've had from other OB/GYNs that
 8    and deliver my baby.                                           8   you've seen.
 9         I don't -- I don't know whatever his name is.             9        A. Well, this one, yes, it was different. I
10    I don't -- it's beyond disturbing, it is. So, yeah,           10   almost -- I almost bled to death, so, yeah, it was
11    it has -- it has a lot to do with his name, because           11   definitely different --
12    it's shocking. It's disturbing. I felt violated by            12        Q. From your --
13    somebody who I don't know.                                    13        A. -- from other experience.
14         Q. When did you feel violated by Dr. Akoda?              14        Q. From your post-delivery birth bleeding
15    When is it that you came to feel violated, if that            15   issue?
16    makes sense?                                                  16        A. Yeah, so definitely it was different.
17         A. When I found out that Akoda was not Akoda.            17        Q. And leading into your delivery, was any of
18         Q. When he used a different name -- that he              18   your prenatal care different, aside from the
19    had used a different name?                                    19   flirtatious issue?
20         A. Yeah. So I was like, who -- who -- who                20        A. No, those were not.
21    was it that was touching me, who was it that I had            21        Q. And the actual delivery experience of
22    trusted to say -- to put my -- my life on the line.           22   Jaiden, was that different from your other delivery
23    If my -- if my kids, my older kids -- if I would --           23   experiences, aside from the bleeding issue?
24    did die in that O.R. room, you know, and my kids have         24        A. No.
25    questions, and come to find out, oh, you know, it             25        Q. So it was the same --

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 1        A. Mm-hmm.
 2        Q. -- as your others? Is that a yes?
 3        A. Yes.
 4        Q. And Dr. Akoda did a procedure on you to
 5    help stop the bleeding and the clotting; is that
 6    correct?
 7        A. From my understanding, he removed the
 8    blood clots. How, I don't know.
 9        Q. Okay.
10        A. But, yeah, and then after that he put some
11    bandages to stop the bleeding.
12        Q. And it did stop the bleeding, correct?
13        A. Yes.
14        Q. Okay. Do you know one way or another
15    about whether Dr. Akoda was ever board certified in
16    obstetrics and gynecology?
17        A. No, I do not know.                                17       Q. And everything was okay with Jaiden
18        Q. Do you know what board certification means        18   following that?
19    in that kind of setting?                                 19       A. Yes.
20        A. In that kind of setting, yes.                     20       Q. Okay. That was prior to you seeing
21        Q. That they have taken extra exams and              21   Dr. Akoda; is that correct?
22    passed oral and written exams?                           22       A. Correct.
23        A. Correct.                                          23       Q. Have you otherwise -- strike that.
24        Q. Would it surprise you to learn that he was        24       Have you otherwise ever been a defendant in a
25    board certified in obstetrics and gynecology?            25   lawsuit?

                                                     Page 83                                                     Page 85
 1           MR. CERYES: Objection, form, foundation.           1       A. No.
 2        You can answer.                                       2       Q. Have you ever, to your knowledge, had a
 3        A. I mean, I know you have to -- to be a              3   lawsuit threatened against you; someone told you they
 4    physician, a doctor, you have to take some type of,       4   were going to file one?
 5    you know, classes and -- and exams and stuff, but I       5       A. No.
 6    really don't know what he had.                            6       Q. Have you ever threatened a lawsuit that
 7        Q. Okay. Did you do any investigation into            7   you did not file?
 8    his training or certification? I think we maybe           8       A. No.
 9    talked earlier that you had not; is that right?           9       Q. Have you ever filed a workers'
10        A. No, I did not.                                    10   compensation claim?
11        Q. You are a plaintiff in this lawsuit; is           11       A. No.
12    that correct?                                            12       Q. Have you ever sought accommodations under
13        A. That's correct.                                   13   the ADA?
14        Q. And you are a plaintiff in the lawsuit in         14       A. No.
15    Maryland; is that correct?                               15       Q. Americans with Disabilities Act?
16        A. That's correct.                                   16       A. No.
17        Q. Against Dimensions?                               17       Q. Have you ever taken FMLA, Family Medical
18        A. That's correct.                                   18   Leave Act?
19        Q. Have you ever been a plaintiff in any             19       A. No.
20    other lawsuit before?                                    20       Q. Did you get maternity leave or time out of
21        A. No.                                               21   work for any of your other -- strike that.
22                                                             22       Have you gotten maternity leave or parental
23                                                             23   leave from any of your deliveries?
                                                               24       A. No.
25       Q. Tell me about that.                                25       Q. Have you ever been convicted of a crime?

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 1        A. No.                                              1       A. When I went for my six-weeks checkup.
 2        Q. Have you ever been the victim of a crime?        2       Q. Was that the first time you met Dr. Akoda?
 3        A. No.                                              3       A. Who, me?
 4        Q. You mentioned your husband is a police           4       Q. Oh, I'm sorry. Strike that. I was --
 5    officer. Does he go out into the field?                 5   six-month checkup is what I was thinking when you
 6        A. Yes.                                             6   said --
 7        Q. Can you describe to me what he does? Is          7       A. Six weeks.
 8    he like a beat officer, or what does he do?             8       Q. So it was post-delivery.
 9        A. Yes, he's a patrol officer for station 5         9       A. Yes.
10    in Clinton.                                            10       Q. Okay. So -- so let me start that over
11        Q. Does he patrol in a car, on a bike?             11   again.
12        A. A car, a cruiser.                               12       So Mr. Powell, your husband, came with you to
13        Q. Or a horse, I guess, is also an option.         13   your six-week post-delivery appointment; is that
14    In a -- in a car?                                      14   correct?
15        A. Yes, in a cruiser.                              15       A. Yes.
16        Q. Has he ever been injured in the line of         16       Q. And your husband met Dr. Akoda at that
17    duty?                                                  17   time?
18        A. Yes.                                            18       A. Yes.
19        Q. Can you tell me a little bit about that?        19       Q. Did anything happen at that appointment
20        A. Car -- cruiser crashed. He had some             20   other than you getting checked out?
21    fractured ribs.                                        21       A. He stayed in the lobby and I went in, and
22        Q. When was that?                                  22   that's when he burned an ovarian cyst that he said
23        A. 2016? '15, '16?                                 23   that I had.
24        Q. Is he doing okay now?                           24       Q. So your husband waited in the waiting
25        A. Yes. And then -- that's -- that's --            25   room?

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 1    that's the biggest one. Other ones are just little      1       A. Correct.
 2    minor, you know, chasing a suspect and                  2       Q. And did he get to meet Dr. Akoda?
 3    trip-and-falls, stuff like that.                        3       A. Yes, when Dr. Akoda came -- came out.
 4        Q. So we'll knock on wood that we keep him          4       Q. At the beginning of the appointment or
 5    that way.                                               5   after the appointment?
 6        A. Yeah. Yes.                                       6       A. After the appointment.
 7        Q. We keep him nice and safe.                       7       Q. Did your husband and Dr. Akoda ever speak?
 8        And has he ever gotten into any violent             8       A. How you doing, sir, that's it.
 9    altercations while in the line of duty involving his    9       Q. Just an introduction?
10    firearm?                                               10       A. Yeah. Yes.
11        A. Yes. He has been through a shooting.            11       Q. Do you have any medical doctors in your
12        Q. Has he been shot?                               12   family?
13        A. No. Thank God, no.                              13       A. No.
14        Q. I'll knock on wood again.                       14       Q. Any of your six brothers a doctor?
15        Has he been shot at in the line of duty?           15       A. No.
16        A. Yes.                                            16       Q. Okay. Do you have any friends, close
17        Q. Has he sought medical care?                     17   friends or other acquaintances who are medical
18        A. No.                                             18   doctors?
19        Q. Do you know if he gets any mental health        19       A. No.
20    treatment?                                             20       Q. Do you know anyone close or sort of in
21        A. No, he does not.                                21   passing, neighbors, friends, family, who have gone to
22        Q. Did your husband, Mr. Powell, ever meet         22   medical school outside of the United States?
23    Dr. Akoda?                                             23       A. No.
24        A. Yes, he did.                                    24       Q. When did you first hear of the Educational
25        Q. When was that?                                  25   Commission for Foreign Medical Graduates?

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 1        A. Back in 2018.                                     1          Russell, et al. v. Educational
 2        Q. How?                                              2          Commission for Foreign Medical
 3        A. Through my lawyer.                                3          Graduates)
 4        Q. And if I call them ECFMG today, is that           4   BY MS. MCENROE:
 5    okay? You'll know what I'm talking about?                5       Q. I just handed you what I marked as Exhibit
 6        A. Yes.                                              6   2. That is a copy of the complaint that was filed in
 7        Q. It will be a little shorter for everybody.        7   this lawsuit against ECFMG. Have you ever seen this
 8        A. Yes.                                              8   before?
 9        Q. So it's fair to say that, before you met          9       A. Yes.
10    counsel in connection with the lawsuits about           10       Q. Have you ever read it before?
11    Dr. Akoda, you had not heard of ECFMG before?           11       A. Yes.
12        A. No.                                              12       Q. Did you read it before it was filed?
13        Q. Other than counsel, have you ever gotten         13       A. Yes.
14    any information about who ECFMG is or what they have    14       Q. Did you suggest any edits or changes to
15    done?                                                   15   it?
16        A. No.                                              16       A. No.
17        Q. Have you ever looked them up on the              17       Q. Did you sign anything relating to a
18    Internet?                                               18   verification or anything like that?
19        A. No.                                              19       A. Yes.
20        Q. Met anyone who works there?                      20       Q. Did you swear that it was true and
21        A. No.                                              21   accurate --
22        Q. Do you have an understanding of what ECFMG       22       A. Yes.
23    does?                                                   23       Q. -- under penalty of perjury?
24        A. Yes.                                             24       A. Yes.
25        Q. What's your understanding of what ECFMG          25          MR. CERYES: Objection, form, foundation.

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 1    does?                                                    1   BY MS. MCENROE:
 2         A. It's for foreigners. It's pretty much a          2       Q. Do you believe the allegations in the
 3    -- they give the license for foreigners from -- yeah.    3   complaint to be true?
 4         Q. In what kind of context?                         4       A. Yes.
 5         A. Medical license and stuff like that.             5       Q. Sitting here today, anything you would
 6         Q. So it's your understanding that ECFMG            6   change in the complaint now that you know what you
 7    licenses foreign medical doctors --                      7   know?
 8         A. Yes.                                             8       A. No.
 9         Q. -- to practice medicine in the                   9       Q. In your own words, can you tell me what
10    United States?                                          10   you think ECFMG did wrong?
11         A. Correct.                                        11          MR. CERYES: Objection to form,
12         Q. Have you ever heard of the United States        12   foundation, calls for an expert opinion.
13    Medical Licensing Examination?                          13       You can answer with respect to your
14         A. No.                                             14   understanding.
15         Q. Sometimes called USMLE?                         15       A. Yes, I understand that they did wrong --
16         A. No.                                             16   they did wrong, allowed him to practice with a fake
17         Q. We talked about just a minute ago that you      17   name.
18    are a plaintiff in this litigation against ECFMG,       18       Q. Any more specifics about what you think
19    correct?                                                19   that ECFMG did wrong? And I don't mean this as a pop
20         A. Correct.                                        20   quiz; I'm just trying to get your best understanding.
21         Q. And you're a named plaintiff. Do you            21       A. They -- they failed to -- to look over his
22    understand that?                                        22   documentations and actually provide him with a
23         A. Yes.                                            23   license to practice.
24                 (Exhibit 2 marked for                      24       Q. I'd like to direct your attention to
25           identification: Civil Action re                  25   paragraph 42. You'll see each of the -- once you get

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 1    into the meat of the complaint, each paragraph has a      1        A. No.
 2    number. Do you see that? So it's on page 9,               2           MR. CERYES: Objection, form, foundation.
 3    paragraph 42. Let me know when you're there.              3   BY MS. MCENROE:
 4        A. I'm here.                                          4        Q. Because you didn't even know ECFMG existed
 5        Q. Great. That paragraph says, "the                   5   at the time, correct?
 6    plaintiff, Elsa Powell" -- that's you?                    6        A. No. All's in my head was getting prenatal
 7        A. Correct.                                           7   care and delivering my baby.
 8        Q. "-- was a patient of Igberase on or about          8        Q. A healthy -- healthy baby, healthy mommy?
 9    September 17th, 2014, and on several occasions            9        A. Healthy baby.
10    thereafter Igberase delivered Elsa Powell's son on       10        Q. So is it fair to say -- it might save us
11    that date at Prince George's Hospital Center."           11   some time to not go through each of the paragraphs --
12        Did I read that correctly?                           12   but you -- you don't know what any of Dr. Akoda's
13        A. That's correct.                                   13   patients, other than yourself, knew or thought or
14        Q. And do you understand in the complaint            14   expected about Dr. Akoda, correct?
15    that the reference to Igberase is also Dr. Akoda?        15        A. That's correct.
16        A. Unfortunately, yes.                               16        Q. Do you think you can speak on their
17        Q. Okay. But you understand that those mean          17   behalf?
18    the same for the purposes of this complaint; is that     18        A. I mean --
19    correct?                                                 19           MR. CERYES: Objection, form, foundation.
20        A. Correct.                                          20        You can answer.
21        Q. Are the -- is the information in paragraph        21        A. We all went through similar shockness. I
22    42 correct?                                              22   mean, we're all going through this together. I mean,
23        A. That's correct.                                   23   I -- I can speak on behalf of them when I can tell
24        Q. I'd like to direct your attention to              24   you that we all feel violated, we -- lied to,
25    paragraph 44, which is on the next page on the top.      25   disrespected.

                                                     Page 95                                                        Page 97
 1    It says:                                                  1       Q. How do you know that?
 2           "The plaintiffs and others similarly               2       A. How do I know that?
 3           situated chose Igberase who they                   3       Q. You said we all feel this way.
 4           knew as Akoda as their                             4       A. Yes.
 5           obstetrician/gynecologist on the                   5       Q. How do you know that? Are you surmising
 6           basis of their belief that Akoda had               6   that you think they all should feel that way, or do
 7           obtained all necessary credentials                 7   you actually know that that's how they feel?
 8           and certifications required of                     8          MR. CERYES: Objection, form.
 9           physicians practicing in the                       9       A. Anybody who get lied to feel that way, and
10           United States, including                          10   that's what in -- this case is, we've been lied to.
11           certification from ECFMG."                        11       Q. Do you have any special reason to know
12         Did I read that correctly?                          12   that, or did you talk to other patients of
13         A. Yes, you read it correctly.                      13   Dr. Akoda's, other than Ms. Gaymon --
14         Q. Do you know on what basis others -- so not       14       A. No.
15    yourself, but other patients of Dr. Akoda's chose him    15       Q. -- to know how anyone feels?
16    as their physician?                                      16       A. No, I have not.
17         A. I can't speak on others, but I can speak         17          MR. CERYES: Objection, form, foundation.
18    on myself. I didn't choose Igberase, whatever his        18       You can answer.
19    name is -- Akoda. I -- I went with the intentions of     19   BY MS. MCENROE:
20    seeing Dr. Chaudhry. Dr. Chaudhry was never there,       20       Q. Do you know about any consents that any of
21    so pretty much I was stuck with Dr. Akoda.               21   Dr. Akoda's other patients may have provided for his
22         Q. When you started seeing Dr. Akoda as a           22   treatment of them?
23    physician, did you specifically rely on the concept      23       A. No.
24    that he had an ECFMG certification? Was that             24       Q. What are you hoping to get out of this
25    something that was in your head?                         25   lawsuit?

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 1        A. Some sort of -- somebody needs to be              1   responses of any interrogatories in this litigation?
 2    accountable for what happened.                           2       A. No.
 3        Q. Have you sued Dr. Akoda or Dr. Igberase?          3       Q. Did you provide any information to your
 4        A. No.                                               4   counsel in connection with the responses to
 5        Q. Have you brought a medical malpractice            5   interrogatories?
 6    claim against him?                                       6       A. No.
 7        A. No.                                               7          MS. MCENROE: This will be 3, and this
 8        Q. You did sue Dimensions, though, right?            8   will be 4. They go together.
 9        A. I sure did.                                       9                (Exhibit 3 marked for
10        Q. Did you review a complaint in connection         10          identification: Plaintiff Elsa
11    with the lawsuit against Dimensions?                    11          Powell's Answers to First Set of
12        A. Yes, I did.                                      12          Interrogatories and Responses to
13        Q. Do you believe that the allegations in           13          First Set of Requests for Production
14    that complaint are true and correct as written?         14          of Documents)
15        A. That's correct.                                  15                (Exhibit 4 marked for
16           MR. CERYES: Objection, form, foundation.         16          identification: Plaintiff Elsa
17    BY MS. MCENROE:                                         17          Powell's Supplemental Answers to
18        Q. What injury, if any, are you claiming in         18          First Set of Interrogatories and
19    this lawsuit?                                           19          Supplemental Responses to First Set
20        A. What injury am I claiming in this lawsuit?       20          of Requests for Production of
21    Well, besides the fact that I almost lost my life       21          Documents)
22    because of a fake doctor who I thought was a doctor.    22   BY MS. MCENROE:
23    I don't have a peace of mind since I found out that     23       Q. Ms. Powell, I'm handing you what I've
24    he wasn't who he said he was.                           24   marked as Exhibits 3 and 4. Take a quick second.
25        Q. So breaking that down, I just -- it              25   I'm not going to quiz you on everything in there, but

                                                   Page 99                                                     Page 101
 1    sounded like there are two separate things that you      1   I just want to give you a minute to familiarize
 2    just articulated there. There was a physical concern     2   yourself before I start asking questions.
 3    about the bleeding and clotting issue after delivery     3       So in Exhibit 3, I'd like to point you to the
 4    of Jaiden; is that correct?                              4   second-to-last page in the document, the next page
 5         A. Of course.                                       5   after that.
 6         Q. And then there's more of an emotional and        6          MR. CERYES: In the back of that page.
 7    mental issue separately, then, that we talked about      7       A. Mm-hmm.
 8    just a second ago?                                       8       Q. It's double-sided.
 9         A. I won't say mental, but emotionally, yes.        9       A. I'm here.
10         Q. Okay. Have you sought any treatment or          10       Q. And it says "Verification" at the top. Do
11    help for that emotional concern?                        11   you see that?
12         A. No.                                             12       A. Mm-hmm.
13         Q. Okay. So just so the record's clear, the        13       Q. And it reads:
14    -- the concern for your life that you were referring    14          "I, Elsa Powell, hereby aver that
15    to, that was the post-delivery bleeding and clotting,   15          the factual statements in the
16    correct?                                                16          foregoing answers to interrogatories
17         A. Correct.                                        17          are true and correct to the best of
18         Q. Have you ever heard the term                    18          my knowledge, information and
19    "interrogatory" before?                                 19          belief, and that these answers are
20         A. Yes, I have.                                    20          made subject to the penalties
21         Q. You -- you understand that interrogatories      21          relating to unsworn falsification to
22    are questions that get asked in the course of           22          authorities."
23    litigation; is that correct?                            23       Do you see that?
24         A. Correct.                                        24       A. Mm-hmm.
25         Q. Did you play any role in drafting the           25       Q. Is that a yes?

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 1         A. Yes.                                              1        Q. In the Exhibit 4, that list at the back,
 2         Q. Is that your signature?                           2   Ms. Gaymon is listed, right, on the second page
 3         A. Yes.                                              3   there? It's alphabetical by last name.
 4         Q. Did you actually review the answers to the        4        A. Correct.
 5    interrogatories before you signed this?                   5        Q. Latisa Gaymon, that's the friend you've
 6         A. Yes.                                              6   been talking about today?
 7         Q. Okay. And you believed them to be true            7        A. Correct.
 8    and correct?                                              8        Q. Correct? Okay. So you can set those
 9         A. Yes.                                              9   aside.
10         Q. Great. So you can set Exhibit 3 aside.           10        We talked a little earlier today about the way
11         And let's look at Exhibit 4, which is a             11   that you go about choosing a medical doctor, and it's
12    supplemental set of interrogatory responses. It's        12   been different depending on the insurance you have;
13    something that happens sometimes in -- in discovery.     13   is that fair to say?
14         Toward the back of the document, there's a          14        A. Yes.
15    long list of names, but a couple pages before that is    15        Q. When you've gotten a new medical doctor,
16    another verification page. I'm hoping you can look       16   have you ever done any sort of background or criminal
17    at that with me.                                         17   check on them?
18         A. Mm-hmm.                                          18        A. Yes, if I go see them.
19         Q. And it's a verification, and it says:            19        Q. Which doctor?
20           "I, Elsa Powell, hereby aver that                 20        A. My children's doctor.
21           the factual statements in the                     21        Q. Your children's doctor?
22           foregoing supplemental answers to                 22        A. Yes. I haven't seen my doctors yet,
23           interrogatories are true and correct              23   unless I need to, which was Ms. Em- -- Emily Lo, and
24           to the best of my knowledge,                      24   I did my research on her.
25           information and belief, and that                  25        Q. Right. And you did a criminal background

                                                    Page 103                                                      Page 105
 1           these supplemental answers are made                1   check on her?
 2           subject to the penalties relating to               2       A. Yes.
 3           unsworn falsification to                           3       Q. Okay. How did you do that?
 4           authorities."                                      4       A. Online.
 5        Did I read that correctly?                            5       Q. Okay. So you Googled her?
 6        A. Yes.                                               6       A. Mm-hmm.
 7        Q. Then there's a -- it looks like maybe more         7       Q. Did you --
 8    of an electronic signature or something there. Is         8       A. Yes.
 9    that your signature?                                      9       Q. Is that a yes?
10        A. Yes.                                              10       Did you pay to have anyone perform an actual
11        Q. Okay. And so did you review the responses         11   criminal background check on her?
12    to the supplemental answers to interrogatories as        12       A. No.
13    well?                                                    13       Q. Okay. Did you ask your husband to do any
14        A. Yes.                                              14   sort of special police check on her or anything?
15        Q. And you believed them to be true and              15       A. No.
16    accurate as written?                                     16       Q. Do you know if any of the doctors you've
17        A. Yes.                                              17   seen in the past have ever been convicted of tax
18        Q. It might save us a little bit of time.            18   fraud?
19        Are there any changes or issues or concerns          19       A. No.
20    you have about any of the interrogatory responses as     20       Q. Okay. Do you know if any of them have
21    written or supplemented?                                 21   ever been found to have failed to have paid their
22        A. No.                                               22   nannies or their housekeepers?
23        Q. Okay. So there's nothing today you'd like         23       A. No.
24    to change or amend about your discovery responses?       24       Q. Do you know if any of them have ever
25        A. No.                                               25   smoked pot in a place where that's not legal?

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 1        A. No.                                               1   Dr. Akoda real quick, was the person who treated you
 2        Q. Do you know if any of them have ever been         2   as Dr. Akoda the same man throughout the treatment?
 3    committed [sic] of Social Security fraud other than      3   Did you recognize him to be the same person?
 4    Dr. Akoda?                                               4       A. Yes.
 5        A. No.                                               5       Q. Okay. And can you describe to me very
 6        Q. Do you know if any of those doctors have          6   briefly what he looked like?
 7    ever perjured themselves or lied in a court of law?      7       A. Tall, dark-skinned. He was bald-headed,
 8        A. No.                                               8   slim.
 9        Q. Do you know if any of them have ever been         9       Q. Did he speak with an accent?
10    sued for malpractice, any doctor you've ever gone to?   10       A. Yes.
11        A. No.                                              11       Q. And the person who delivered Jaiden is the
12        Q. You don't know one way or the other?             12   same person who did your prenatal care, Dr. Akoda?
13        A. No.                                              13       A. Correct.
14          MS. MCENROE: Let's take a quick break.            14       Q. I did have one other question for your
15          VIDEO SPECIALIST: We're going off the             15   counsel, just as a housekeeping matter.
16    record at 11:32.                                        16          MS. MCENROE: We've gotten some of the
17        (Proceedings recessed)                              17   medical records like we had talked about yesterday
18          VIDEO SPECIALIST: We're back on the               18   that have some redactions on them, so I think we may
19    record at 11:42.                                        19   need to discuss or revisit -- we can do that off the
20    BY MS. MCENROE:                                         20   record afterwards.
                                                              21          MR. CERYES: Sure.
                                                              22          MS. MCENROE: But pending any resolution
                                                              23   of figuring out some of that medical record cleanup,
                                                              24   I have no further questions for today.
25       A. Yes.                                              25          MR. CERYES: Okay.

                                                 Page 107                                                        Page 109
 1                                                             1                 EXAMINATION
 2                                                             2   BY MR. CERYES:
                                                               3       Q. And I do, just very briefly, have one or
 4       A. Yes.                                               4   two for you.
 5                                                             5       A. Yes.
 6    pregnant or you had had Jaiden already?                  6       Q. You were -- you were asked by counsel some
 7       A. I had Jaiden.                                      7   questions about how you came to be a patient of
 8       Q. Okay. How old was Jaiden, do you know,             8   Akoda. Do you remember that?
 9    when you got sued?                                       9       A. Yes.
10       A. He was a couple months old.                       10       Q. Okay. And you explained that he -- it's
11                                                            11   not -- he's not someone you picked from a list, but
12                                                            12   rather you had been referred to him -- initially to
13                                                    gs      13   Chaudhry and then to Akoda, do you recall that?
14                                                            14          MS. MCENROE: Objection to form, leading.
                                                              15       A. Yes.
                                                              16       Q. When you agreed to receive treatment from
                                                              17   Akoda, was it your assumption and belief that he had
                                                              18   gone through the appropriate and lawful process in
                                                              19   order to become a physician?
                                                              20          MS. MCENROE: Objection to form, leading.
21                                                            21       A. Yes.
22        Q. Okay. Again, that was when Jaiden was            22       Q. Okay. And had you understood that he had
23    just a couple months old?                               23   not gone through that lawful process to become a
24        A. Correct.                                         24   licensed physician, would you have agreed to receive
25        Q. Jumping back to your treatment by                25   treatment from him?

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                                                 Page 110                                                              Page 112
 1          MS. MCENROE: Objection to form, leading.               1               CERTIFICATE
 2       A. Never.                                                 2
 3          MR. CERYES: That's all I have.                         3       I, LINDA S. KINKADE, Registered Diplomate
 4          MS. MCENROE: Thank you.                                4   Reporter, Certified Realtime Reporter, Registered
 5          VIDEO SPECIALIST: That completes the                   5   Merit Reporter, Certified Shorthand Reporter, and
 6    deposition. We're going off the record at 11:45.             6   Notary Public, do hereby certify that prior to the
 7                                                                 7   commencement of examination the deponent herein was
 8    //                                                           8   duly sworn by me to testify truthfully under penalty
 9          (The deposition of ELSA POWELL adjourned 9                 of perjury.
10    at 11:45 a.m.)                                 10                    I FURTHER CERTIFY that the foregoing is a true
11    //                                             11                and accurate transcript of the proceedings as
12                                                                12   reported by me stenographically to the best of my
13                                                                13   ability.
14                                                                14       I FURTHER CERTIFY that I am neither counsel
15                                                                15   for nor related to nor employed by any of the parties
16                                                                16   to this case and have no interest, financial or
17                                                                17   otherwise, in its outcome.
18                                                                18       IN WITNESS WHEREOF, I have hereunto set my
19                                                                19   hand and affixed my notarial seal this 10th day of
20                                                                20   September, 2019.
21                                                                21       My commission expires: July 31, 2022
22                                                                22
23                                                                23   _______________________________
24                                                                24   NOTARY PUBLIC IN AND FOR
25                                                                25   THE DISTRICT OF COLUMBIA

                                                       Page 111                                                        Page 113
 1             ACKNOWLEDGMENT OF DEPONENT                          1             WITNESS ERRATA SHEET
 2                                                                 2   REF. NO. 225850               Page 1 of _____
 3         I, ELSA POWELL, do hereby acknowledge that              3   NAME OF CASE: Russell, et al. v. ECFMG
 4    I have read and examined the foregoing testimony and         4   DEPONENT: ELSA POWELL
 5    that the same is a true, correct and complete                5   DATE OF DEPOSITION: September 6, 2019
 6    transcription of the testimony given by me, with the         6   PLEASE INSERT REASON FOR CHANGE:
 7    exception of the noted corrections, if any, appearing        7          1. To clarify the record.
                                                                              2. To conform to the facts.
 8    on the attached errata page(s).
                                                                   8          3. To correct a transcription error.
 9     __________       ____________________________
                                                                   9   Page        Line       Reason No.
10     DATE          ELSA POWELL
                                                                  10   From ___________________ to __________________
11
                                                                  11   Page        Line       Reason No. _______
12
                                                                  12   From __________________ to __________________
13    Subscribed and sworn to before me this _____ day of
                                                                  13   Page        Line       Reason No.
14    _____________________, 20_____ .
                                                                  14   From __________________ to __________________
15    ___________________________________ (Notary Public)
                                                                  15   Page        Line       Reason No.
16    My Commission expires: _______________________
                                                                  16   From __________________ to __________________
17
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18                                                                     From __________________ to __________________
                                                                  18
19                                                                19   Page        Line       Reason No.
20    [SEAL]                                                      20   From __________________ to __________________
21                                                                21
22                                                                22
23                                                                23   SIGNED: _________________________ DATE: ___________
24                                                                24   (Signature of ELSA POWELL)
25                                                                25


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                Exhibit 60




                                                                  JA3492
                            Case:2:18-cv-05629-JDW
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                                                    22-5 Page:
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               ~
Patient Name: DEL VILLAR MEJIA, ELSA                                                                                                                                                                         M RN: 11057873
Date of Birth: 4                                                                                                                                                                                             FIN: 306832007

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                                         Ordergericyr department physician%       obstehicianfgynecologIsts, patirologiste,
                                                                                                                 pathologist% anesthesiologists, neonatolOgISts,
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             physicians interpreting   diagnOstit: eh:idles,
                         interptetinq diagnostic   studies, consultants     and assistants to the physicians ARE NOT employees-
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             understand that   will receive a separate bill from each of these private providers of service
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                                                                                                                  Patient/Patient

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             be deemed necessary or advisable by my physician, hithher          associates., partners or designee, consulting
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                      knowledge- and my health condition
             medical knowledge                      condition. II understand II have a right to !frail                                            and/or procedures. I understand that
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             guarantees have been made lo    to me about the outcome of this fhts•care.
                                                                                  care. II. understand that health
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             independent Contractors               OH S,.incleding
                                      utilized by OHS,                     Invited to anesthesiology and other interpretive and diagnosis
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                                and Training: I understand that OHSDHS is approved to  to train medical students, residents, nurses and ant allied health                also. understand
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                      and residents may observe or participate -in   patient care. I .agree
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                                                                                                        such involvement, unless                        the. contrary in          with the
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              payment under title                Social Security Act is correct. I authorize any holder of medical
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                                                        for. OHS, its employees,                                      and/or my physician                             all or pait
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                                                                    the purposes of providing certain diagnostic treatment and/or testing which may not be available-within OHS.

              I understand that for the sake of convenience and speed of reference, and to further the            tininess and quality of
                                                                                                              the hrieliness                                 treatra!ni rendered
                                                                                                                                          of diagnosis and treatment             to me,
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                          nurse; or business offite
              physician, nurse,
              physician                             office representative
                                                           represehtalive who   has been involved with my
                                                                           who:has                         my:treatm.erit et ae.DHS.
                                                                                                               treatment at     OHS facility may                               send. by facsimile
                                                                                                                                              may. request that the hospital send
               transmissiOO to the physician of record, consulting physician or third party carrier any relevant
              transmission                                                                                                       frum my medical record necessary for continuity of
                                                                                                                  relevant data from                                                   of. care or
              reimbursement- It
              reimbursement       It. is                            with. any facsimile transmission there is a possibility that medical records may inadvertently be misdirected.
                                      is- further understood that wan                                                                                                           misdirected, Not
              withstanding such risk,                           release of any relevant
                                     risk; I hereby authorizerelease            relevant data In       medical record by facdmile
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              I understand that OHS is           owner of any radiographic images and/or tissue/specimens obtained during the:
                                            the owner
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              radiographic films and/or             tissue/specimens will not
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              request for a reasonable
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              I understand that                               Devices act requires manufacturers
                             that the Federal Safe Medical Devices                     manufacturersof     ceitaitirriadical
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               understand. that DHS
              understand                                  tradr.ting of these devices by lat
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                                OHS must                                                    providing  the infommtion
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                                                                                                           information to the manufacturer with respect to the patient receiving
              which includes
              which            teleasing my socialsecurity
                     includes releasing                                  to-the manufacturer of the medical
                                                     security number toythe                                     device I may receive, in accordance with the
                                                                                                       medical device.                                                     law and:regulations.
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               understand that my social security number maybe used by the
              understand                                                              manufadurer to help locate me
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              Authorization For The Release:Of
                                    Release Of Medical Information    The Marylandinsurance
                                                                   ToThe
                                                       information TO              tntUrante Administration:

              Under Maryland law, I have the right to            deCsion by an HMO or health insurer
                                                    to contest a dedeion                           nearer there
                                                                                                            that a proposed or delivered health care service was not medically necessary,
                                                                                                                                                                                   necessary.
              The law allows the Health Education and Advocacy Unit (HEAU. (HEAU)) (Atha
                                                                                     of the office of the Attorney General to assist rne
                                                                                                                                       me in tiling     internal grievance with the HMO or
                                                                                                                                               fling an infernal
              health insurer and alloWa
                                   allows me to externally appeal            decision to the Maryland Insurance Airninistratien
                                                           appeal the final deCieran                                  Administrahon (MIA),
                                                                                                                                    (MIA) I may appeal the initial decision directly to the
                        can demonstrate a compelling reason riot
              MIA if II can                                     not to file
                                                                       tile en
                                                                             an internal grievance with the HMO or health insurer. A health care provider may also tie        file an internal
              gnevanoe
              grievance orOr external appeal on my behalf.
                                                   behad fly
                                                           By signing
                                                              signing this forth,
                                                                            form, I either wish to Ile
                                                                                                   file an
                                                                                                        en internal grievance
                                                                                                                    grievaace or appeal, or I authorize a healthcare
                                                                                                                                                           health care proVider
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                                                                                                                                                                                 to file such'a
                                                                                                                                                                                    fie such.a
              grievance or appeal,

              II Understand that.     part of the HEAU assisting me with my internal grievance,
                             that, as pert                                            gnevame, or MIA
                                                                                                   MIA handling my external appeal, Ihe the HEAU or MIA
                                                                                                                                                     MS will contact my HMO or Or health
               insurer
               insurenfor  an explanation as to its actions in connection -with
                       (or en                                                                                                                       meernal appeal filed oh
                                                                                                       external appeal, or an internal grievance or external
                                                                           eh my internal grievance or Semen                                                             on ray
                                                                                                                                                                            my behalf:
                                                                                                                                                                                behalf.

                usher understand that MIA may receive advice (rant.
             I 'further                                            from medical .experts
                                                                                 experts or an Independent   Review. Organization llR0)
                                                                                                independent Review                (IRO) while determining whether to uphold or
             -overturn the HMO or health
                                  health Insures
                                         insurer's decisien               core service was
                                                   decision that a health care                 metkcally necessary..
                                                                                       was not medically necessary

              Throughout the grievance or appeal process, the confidentiality of my medical records will be maintained in.
              Throughout                                                                                                in accordance With                federal law.]
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              that if!       questions abedt
                       have guestioris thew the contentsof
                                                contents of myrnedical                           should cOhlect
                                                                               to be released, I Should
                                                            mymedical records to                        contact my health cereprevider.
                                                                                                                          care provider,

                                                                                                                                                            wilt not
              I understand that my records may by used to develop general statistical information on grievances and appeals, and any statistical reports Will        identify, rne
                                                                                                                                                                 not ;dente)   me or
              contain any identifying information. I do not
                                                        not authorize the release deny
                                                                      thetefeaataf      information that would identifyme
                                                                                    any intonation                          to anyone uotmenhoned
                                                                                                                identify meta         not mentioned above._
                                                                                                                                                    above.

                     event!,
              In the event                     my. bailee,
                           I, or a provider on my                                        on external appeal, I authorize the release ofmy
                                                   behalf, file an internal grievance or an                                            my medical records as follows
                                                                                                                                                             follows

               1. Il authorize the Attorney General and MIA to obtain medical records ardand insurance information for the purpose of investigating my gnevance or
                                                                                                                                      inveshgafing my-grievance    or appeal.
                                                                                                                                                                       appeal
                                                                                                                                        investigated,; and authorize MIA to release my
               2. I authorize the Attorney General to release my medical records to MIA so that my appeal or grievance may be investigated.
              :2,
                                            Attorney General so that my appeal di-
                  medical records to the AttorneyGeneral                        or grievance may
                                                                                             maybebe investigated.
                                                                                                      investigated
               3. If authorize MIA to release Icy                       the relevant HMO or health
                                                 my medical records to the                             insurer, and/or
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                                                                                                                                                              counsel for the purpose of
                  investigating-my
                  invedtgating        grievance or appeal or handling any hearing which maresull
                                  my citievariee                                         may result from such investigation.
                                                                                                                investigation
               4.
               4. I authorize MIA to II-easter                             Deparb-nent of Health and Mental Hygiene if my grievance or
                                        transfer my medical recordsto the Department                                                                                  issues of quality
                                                                                                                                        or appeal involves potential issues     quaky of
                   care
                   cameo         the Department may conduct an investigation into these particular issues.
                        so that the                                                                 iSpJes.
                               MlA to release my medical records to medical experts who may
               5. I authorize MIA                                                          mayassist MIA with my grievance or  or apnea
                                                                                                                                  appeal

              To establish and maintain the safest possible environment in which to deliver care/service/treatment
                                                            environmental                                           Dimensions Healthcare System's campus buildings, property,
                                                                                            careiserviceltrealment, Dimensions                                       property,,
                                                                                                                                           smoke and tobacco-free campus
                                                     smoke end tobacco-free, Dimensions Healthcare System is dedicated to maintaining a snake
              parking lots and operated vehicles are snake
              environment.

                                    Public: Health Initiative: Ittt you smoke,
              Dimensions Healthcare Public                              smoke please stop
                                                                                     slop smoking.
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               This form has been explained to
               Thtsloon                                                  contents.. 1I acknowledge.
                                            to me and .1I understand its contents.                  the. following
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                     Receipt of a copy of DHS                    Prad ices
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Patient Name: DEL VILLAR MEJIA, ELSA                                                                                                                            MRN: 11057873
Date of Birth:                                                                                                                                                  FIN: 306832007


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                                       Midwife.
             I hereby authorize Dr. or Midwife            161--c (C1
                                                          1A     (       dor                                         to perform an induction of
             labor, and any other surgical or diagnostic procedures that may be required to complete delivery of the baby.

             Type
             Type of Induction (Please Indicate):
                  of Induction.                          --''' .,,Elective
                                                         -.1                           El Medically Indicated
                                                                                                    Indicated

             Please initial each paragraph. If you have questions, please ask the
                                                                              the.Doctor/midwife
                                                                                  Doctorimidwife before initialing.


                                                                                                     of this procedure and I accept
             Possible Benefits and Risks of Labor Induction: I have discussed the risks and benefits of                      accept the risks of the
                                                                                                                                                 the
                                                            to begin spontaneously at a later date.
             procedure as opposed to simply allowing labor to                                 dale.

              Patient Initials
                      Initials
                                 I have reviewed the benefits of labor induction with my physician/midwife which may include:
                                 •• Choosing my delivery date
                                 • Choosing provider who delivers my baby
                                 • Preventing complications for me or my baby due to prolonging my pregnancy
                                     have discussed
                                   I have            the use of medication for cervical ripening with my provider and I understand the risks of:
                                          discussed'the
                                                 stimulation of the uterus to the point that may require an emergency delivery, either vaginally or
                                 •• Excessive stimulation
                                      abdominally.
                                 •• I also understand that rarely the uterus may rupture under these circumstances and cause death of my baby

                  -ED                 and severe bleeding and/or death to myself
                                 I understand that inducing labor increases my risk for complications when compared to mothers who begin
                                        'naturally. Significant risks for me and my baby include (although frequency not
                                  labor "naturally.'                                                                        defined):
                                                                                                                        not.defined):


                                 Risks for Me
                                 + Nausea and vomiting
                                 + Contractions may be increased in intensity and result in increased pain
                                 + Contractions that occur too frequently, too hard and too long, can result in uterine rupture which will result in
                                    a C-section
                                 ++ Ineffective contractions after lengthy use
                                                                           use.of Pitocin may result in a need for a &section
                                                                                                                     C-section
                                 + Excessive bleeding after delivery may require use of medication to contract the uterus and/or the need for
                                    blood transfusion
                                 •+ Water intoxication may occur after 24 hours of Pitocin use
                                 + Abnormal heart beats
                                 + Severe allergic reaction

                                 Risks
                                 Risks for
                                       formy
                                           my Baby
                                                the Neonatal Intensive Care Unit
                                 + Treatment in the
                                 + Lower Apgar score (rating ofbreathing, heart rate, muscle tone, reflexes and color)
                                 + Seizures; brain damage and fetal death can result from decreased oxygen to the baby
                                                                                        to low
                                 + Cardiac arrhythmias including heart rate too high or too low.
                                 + Hemorrhage in the eyes; jaundice of the newborn

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                                                                                                                                PATIENT               -
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Patient Name: DEL VILLAR MEJIA, ELSA
Date of Birth:                                                                                                                                               FIN: 306832007

                                                                          * Ruth
                                                                            Auth (Verified)*




                                 •                       •                        •                         •                        •
                  Patient Initials
                                     I have discussed that there is an increased risk that instruments may be used to accomplish a vaginal delivery if
                                     necessary
                                     I acknowledge that there may be an increased risk for the need of a blood transfusion which could expose me to hepatifis
                                     C HIV and other infectious diseases
                                      I have discussed the risks associated with various analgesic drugs and techniques that may be used to reduce
                                                                                            vaginally or by cesarean section, and I understand and
                                     the pain associated with labor and delivery, either vaginally
                                     accept these risks
                                                                          failure of the induction attempt with my provider, and I am prepared to be
                                     I have discussed the possibility of failure
                                     released from the    hospital to my home   when failure to enter satisfactory labor has been established and it is
                                     safe for me and my baby to do so (not applicable for medically indicated Induction).
                                     I also realize that if I have a cesarean birth it would increase the risks of cesarean sections for subsequent
                                     pregnancies based on the reason for the cesarean section and the type of incision or cut into the uterus. I will
                                     incur the usual risks associated with cesarean section that I might have avoided had I hadThis birth vaginally.
                                     I understand the nature and the purpose of these procedures and I affirm that the risks, benefits, possibility of
                                     complications, as well as expected results and medical alternafives, including the expected consequences of
                                     my refusing the recommended procedure(s), have been explained to me by my physician and that I have been
                                     given the opportunity to ask questions, and have my questions answered to my satisfaction.
                                     I can refuse this procedure without jeopardizing any current or future medical treatments.
                                     I further acknowledge that no guarantees have been given to me regarding the results of this or other
                                     necessary procedures during my care.

                  My doctor/midwife has explained to me the risks, benefits, possibility for complications, as well as the expected results, medical
                  alternatives, and the expected consequences of my refusing the recommended procedure(s) if induction is medically indicated.
                  These have been explained to me by my provider and I have been given the opportunity to ask questions, and have my questions
                  answered, I wish to go forward with the induction and accept the risks of the procedure as opposed to simply allowing labor to
                  begin spontaneously at a later date.

                  I have read and fully understand this consent form, I understand I should not sign this form if all items, including my
                  questions, have not been explained or answered to my satisfaction. I understand that I can withdraw this consent at any
                                             of the procedure. I understand that I can request that this form be r dt
                  time before the beginning of                                                                      d t mj

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                                          Witness                                     Signed:                                Patient



                  REFUSAL OF INDUCTION
                  The consequences of refusal of induction of labor have been explained by my physicianlmidwife and I h ye
                                                                                                                        ve decided to
                                                                                                                                    o
                  refuse this procedure.


                                           Witness                                    Signed:                                 Patient

                                                                                                                             PATIENT LABEL
                                     INDUCTION OF LABOR (Page 2 of 3)
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Patient Name: DEL VILLAR MEJIA, ELSA                                                                                                                                   MRN: 11057873
Date of Birth:                                                                                                                                                         FIN: 306832007

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               DO NOT SIGN THIS FORM UNTIL A PHYSICIAN HAS.
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               The folioung                              gen'era.) terms and I hereby authorize the performance of a VAGINAL DELIVERY WITH
                   following has been explained to me in general
               POSSIBLE CESAREAN SECTION (0-SECTION)    (C-SECTION) which is the delivery of the infant throughthe  the birth canal:

               PROCEDURE               Vaginal Birth
                                       Delivery of your infant through the birth canal    with the possible use of forceps or vacuum extraction. An episiotomy (an
                                                                                  canal with.the
               PURPOSE                 enlargement of the vagina by an incision in   in the space between the vagina and anus) may be performed as pad  part of the
                                       delivery.
                                       delivery,
               BENEFIT:                               incision scars, bwer
                                       No abdominal incision          teeter infection rate and decreased healing time

                                                                        there can be other unlisted risks):
                RISKS (This is not an exhaustive list meaning that .there
                • Maternal: Paralysis or partial paralysis, paraplegia or quadriplegia, brain damage, uterine inversion, uterine rupture, need for an
                                C-section, placenta previa, placenta abrupter),
                   emergency C-section,                                                          injury, bowel Injury, bladder injury or injury to ether
                                                                       abruption, anal sphincter Injury,                                           other abdominal
                                                                               bowel, bladder, ureter, vagina and/or skin), perineal or genital tears and scars,
                   structures, possible fistula formation (opening between bowel,
                   possible formation of clots; possible emboli (clots or other material that may travel to other parts of the body), hysterectomy (removal of
                            with possible removal of fallopian tubes and/or ovaries, persistent perinea]
                   uterus) min                                                                       perinea) pain, amniotic emboli, sexual dysfunction, anal
                   incontinence, urinary urge incontinence, urinary stress incontinence, DIGDIC (disseminated intravascular coagulation), pelvic floor prolapse,
                   cardiac arrest, maternal death and fetal death.
                   Infant: The Infant can experience oxygen deficit from a prolapsed cord, brachial plexus injury, nuchal cord, scalp infection from fetal scalp
               •• Infant
                                                                                                                                aspiration newborn -nneurological
                                              injury, precipitous delivery, bleeding in the brain, cerebral palsy, meconium aspiration,
                   monitoring, facial nerve Injury,                                                                                                      eurological
                   symptoms and be    stillborn.
                                   be.stIllborn.      •

               POTENTIAL PROCEDURES AND THEIR RISKS: During tabor,           Taber, we may have to perform one or more of the fellowing
                                                                                                                              following prixedures
                                                                                                                                        procedures or utilize
               one or more of the following in order to assist you with your delivery process:

               • Artificial Rupture of Membranes: a rupture of the membranes by a third party to accelerate labor.             labor, Risks: Amniotic emboli, prolapsed
                  cord, fetal decelerationslfetal
                              decelerations/fetal distress
               • Amnloinfttsion:     Instillation of fluid into the amniotic cavity through an intrauterine pressure catheter during labor
                  Amnioinfirsion: instillation                                                                                              lab& after rupture of the fetal
                  membranes. Risks: increased pressure in uterus, rupture of the uterus, and placenta abruption.  abruption,
               • Episiotomy: A surgical incision made to widen the vaginal opening during            childbirth.to facilitate delivery.
                                                                                            dining childbirth                 delivery, Risks: extension into the anal
                  sphincter and/or rectum, infection, increased pain, increased bleeding, prolonged healing time      time, and increased discomfort once sexual
                  intercourse is resumed.
                  Intercourse
               • Forceps: An instrument used to grasp and extract the fetal   fetal head to aid in the vaginal delivery of fetus,              mom: vaginal trauma and
                                                                                                                              fetus. Risk for morn:
                  tears. Risk for baby: Extra and intracranial hemorrhage, facial nerve palsy, and     and lower brain injury.
                  Leopoldt maneuver: A series of four steps Used
               • Leopold's                                                    palpating the abdomen to determine position and presentation of the fetus. Risk:
                                                                     used in palpating'
                  Low risk for placenta abruption.
               • McRobert's maneuver typically done when the baby's shoulder is stuck in the birth canal. Mother is placed in a position that provides
                  flexion of the maternal hips. This position is achieved by hyperftexion              mother's legs toward her shoulders with or without suprapubic
                                                                                 hyperflexion of the mothers
                                        Mom: discomfort Risk for baby: neonatal bone or nente
                  pressure. Risk for morn:                                                           nerve injury associated with shoulder dystocia
               ▪• Woods screw maneuver this procedure involves the progressive rotation of the posterior shoulder in corkscrew fashion to release the
                  opposite Impacted anterior shoulder. Risk for mom: vaginal trauma and tears       tears. Risk for baby: fracture of clavicle,
               • Zavanelli    maneuver: is an obstetric maneuver that involves pushing back the delivered fetal head into the birth canal in anticipation of an
                  Zavanelli maneuver
                  emergent caesarean section, Risk for mom:    morn; vaginal tearing, Risk for baby: neonatal bone or nerve injury and fetal death.
               • Manual Placenta Removal: procedure where the placenta in separated from the uterine wall and removed from the vagina by the hand of
                  the provider. Risk: postpartum hemorrhage, retain placental fragments, and pain



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Patient Name: DEL VILLAR MEJIA, ELSA
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                         PeEDURES AND THEIgRe!SKS (Continued)
               POTENTIAL PIEDUREs
                                                                                  0                          0                       0
                    •    Emergency C.Section: a surgical procedure in which Incisions are made through a woman's abdomen and uterus to deliver the
                         fetus. Risk for mom bleeding, pain infection, death and extended hospital stay Risk for baby: Incidental Surgical Injuries,
                         respiratory distress; and death
                         Cardiotocography: the monitoring of the the fetal heart rate and uterine contractions during labor and delivery. Risk for baby No risks
                         are associated vAth external monitoring. Fetal scalp infection with internal monitoring.
                    •    Pelvimetry: measurementof    of the capacity and diameter of the pelvis. Risk: discomfort and pain
                    •    Induction oraugmentation of labor: use of medication to initiate labor or increase the frequency of uterine contractions. Risk for
                         mom: over stimulation of the uterus, uterine rupture, and placenta abruption. Risk for baby: inability to tolerate medication
                         administration resulting in fetal bradycardia, fetal distress, and neurological damage.
                         Transfusion of bloodlblood products: is a procedure to replace blood loss Risk: carries the risk of exposure to HIV, hepatitis
                         and other infectious diseases and allergic reactions.

                ALTERNATIVE PROCEDURES, TREATMENTS AND THEIR RISKS: The only attemative to a vaginal delivery is a cesarean section (C-
                Section). (This is not an exhaustive list meaning that there can be other unlisted risks).
                • Maternal.. Paralysis, urgent hysterectomy, thromboembolic events (blood clots) DIG (disseminated intravascular coagulation), anesthetic
                   complications, major puerperal infection, amniotic fluid embolism, uterine artery pseudoaneurysm, wound infection, hernatornas, wound
                   disruption, bladder puncture ureteral and bowel laceratio persistent pain at the incision site cesarean scar endornetriosis, cesarean scar
                   ectopic pregnancy, placental accretia, dense intra-abdominal adhesions, increased hospital stays lengthy physical recovery, increased
                   risk of readmission, chronic pelvic pain, and future uterine ruptures, maternal death and cardiac arrest.
                • Infant: Respiratory distress, pulmonary hypertension, excess risk of not breast feeding, surgical lacerations and fetal death.

                THE INFORMATION GIVEN ABOVE IS NOT AN EXHAUSTIVE LIST MEANING THAT THERE CAN BE OTHER UNLISTED RISKS. WE
                CANNOT PREDICT WHETHER OR NOT ANY OF THE ABOVE MAY BE NEEDED OR MAY OCCUR.

                I understand that the physician, medical personnel and other assistants will rely on statements about the patient; the patient's medical history,
                and other Information in determining whether to perform the procedure or the course of treatment for the patients condition and in
                recommending the above procedure.

                I understand the practice of medicine is not an exact science and that NO. GUARANTEES OR ASSURANCES HAVE BEEN MADE TO ME
                concerning the results of this procedure.

                                                                     described above it may be necessary or appropriate to perform additional procedures
                I understand that during the course of the procedure described
                which are unforeseen or not know to be needed at the time this consent is given. I consent to and authorize the persons described herein to
                make the decisions concerning such procedures. I:also consent to and authorize the performance of such additional procedures as they deem
                necessary or appropriate.

                I also consent to diagnostic studies, tests, anesthesia, x-ray examinations and other treatment or courses of treatment relating to the diagnosis
                or procedures described herein,

               BY SIGNING THIS FORM; I ACKNOWLEDGE THAT I HAVE READ OR.HAD. THIS FORM READ AND/OR EXPLAINED TO ME THAT I
               FULLY UNDERSTAND ITS CONTENTS, AND THAT I HAVE BEEN GIVENAMPLE OPPORTUNITY TO ASK QUESTIONS AND THAT ANY
               QUESTIONS HAVE BEEN ANSWERED SATISFACTORILY. ALL BLANKS OR STATEMENTS REQUIRING COMPLETION WERE FILLED
               IN AND ALL STATEMENTS I DO NOT APPROVE OF WERE STRICKEN BEFORE I SIGNED THIS FORM.




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Patient Name: DEL VILLAR MEJIA, ELSA                                                                                                                                                                 MRN: 11057873
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Date of Birth:                                                                                                                                                                                            306832007
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                                                                    NOTE:
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                                                                               BOTH sides of this form MUST be completed to be VALID.
                                                                                                                                        •
             Patient:                                                                                           Date:                                            Time:
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                     I hereby authorize the performance of e following operati  (s)/procedure(s):                           519 . 1.43-1,A              C   .)\-AjrQ ,

                                           Dri(s):                         04111
                    under the direction of Dr(s):
                                                        individualS such as physicians' esistants,
              22. I have been informed that qualified individuals                         a . istants, surgical assistants and.
                                                                                                                            and licensed physicians may perform significant surgical tasks to
                  include but not limited lo                                   grafts, dissecting tissue, removing tissue, implanting devices, altering tissues under the direction and
                                          to opening and closing, harvesting grafts„dissecting
                  supervision
                   s.upeMsion of the primary physician listed above.
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               3 I have been informed                                                                                                                            product selection and placernent,
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                                                                                                                               procedure, and the alternative to this procedure, the risks benefits,
                          been advised of the nature of my condition, the nature and purpose of the proposed operative pftkedure,
               4. I have beer
                  and  side eflect
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                            effects attendant to both the proposed    proCedure and the-altematives,     the probability of success of both the proposed procedure and the alternatives, and the
                                                                                      the:alternatives, the
                  prognosis of the proposed procedure if the thealternatives          performed.
                                                                alternatives are not performed,.
              5.
               5: I am also aware that the practiceof
                    em alsoaware                        medicineandsurgery
                                            practice of medicine              isnot
                                                                  and surgery's  not an.exact                                                                    with the operative procedure. The risks
                                                                                                science and that there are risks and complications associated with.the
                                                                                     an exact Science
                  associated with the performance of the proposed and   and any surgical procedure include but are not limited to severe blood loss, infection and in   M rare instances cardiac arrest,
                                                            problems that might
               6. I have also been informed of potential problems                Occur during recuperation.
                                                                           might occur
               7. I have been informed that circumstances may arise during the course of treatment that would necessitate the performance of          of operations and procedures which are different
                  from or in addition to those  now contemplated.
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                       procedure may
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               8. This                  necessitate the use of blood/blood products whit!'
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                  In the event of an                                             possible: I agree to the administration of such products as ordered by my physician.
                                                         specific consent is not possible,
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               9. I impose no specific limitations or prohibitions regarding treatment other thenth.osethat              Of none, se
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                    authorize the examination by an authorized individual of any tissue, organ(s)
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              11. I consent lathe                  appropriate observers and to
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                                                                              -loth°                                           in the course of this procedure for the purpose
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                              qUeetiena have been answered to my satisfaction. I believe that I have adequate knowledge upon Which
              12. All of my questions                                                                                                which to base an intionred
                                                                                                                                                        informed consent to the proposed operative
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                                             OPERATIONS AND OTHER PROCEDURES
                                 CONSENT FOR OPERATIONS.                                                                                                    PATIENT LABEL

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                                                  Document 86-241612     Date Filed:
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                                                                                  Page   11 of 11
              ~
Patient Name: DEL VI LLAR MEJIA, ELSA
                  VILLAR                                                                                                                                                                                           MRN: 11057873
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Date of Birth:                                                                                                                                                                                                     FIN: 306832007
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                        maintaining an airway.
               2:
               2.       The risks associated with anesthesia include but are not limited to worsening of a pre-existing medical problem, airway difficulties and drug reactions. Drug reactions can
                                                                                headache,, wheezing and very rarely, shock. Maintaining an airway may include Plaeement
                         include a rash, nausea, vomiting, muscle aches, headache-                                                                                          placement of an oral or nasal airway,
                                          airway 'or
                        laryngeal mask airway     or ari.endotracheal
                                                     an endotratheal tube. Reactions to artificial airways include Earyngespasre
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                        airway may result in damage to caps, caps., badges
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                                                                                                                                                            experience a sore       throat or hoarseness
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                        anesthesia
                         anosthoSia blocks   may cause headache, numbness or tingling
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                                                                                                              swelling and rarely, weakness or paralysis, OccaSionally
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                         occur. IV catheters can cause Inflammation, swelling or bleeding.
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                                   aware.that the practice of medicine and anesthesia is-notis not an exact science and    that there
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                                                                                                         'Motethe lungs, drug
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                         airway closure, paralysis and rarely death may be    bp associated with    any anesthetic or anesthetic technique,
                                                                                               with-any                             technique.
               4..      Iihave  been Inbreed
                           have bean  Informed that circumstances may arise during the course of treatment that would necessitate the performance of anesthetic techniques and adreinstrallen       administration of
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                         anesthesia which are different                addition to those now contemplated.
                                                           from or in .addition
                                                different:from
               5.       I impose no specific limitations or prohibitions
                                                               prohithtionS regarding anesthesia Mher other than those thatiollow(if
                                                                                                                        that follow (if none, so state);
                                                                                                                                                    state)'


               6.       All of my questions
                                  quostions have been answered to                                                            upon which to base an informedconsent
                                                                   my satisfaction. I believe that I have adequate knowledge upon
                                                                thinly                                                                                     consent to the proposed administration
                           anosthetto(s) and anesthetic techniques.
                        of anesthetic(s)

                                     READ. AND FULLY UNDERSTAND THE ABOVE CONSENT, THAT THE.EXPLANATIONS THEREIN REFERRED TOWER
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                                        Patient Representative Signature                                                                                            Relationship to Patient

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                                                                                            M.D.                                                                                                            M.D.


                RESUSCITATION STATUS DURING ANY PROCEDURE                                   CONSENT; This section is to be completed fiat
                                                          PROCEDURE REQUIRING INFORMED CONSENT:                                      for patients undergoing arty procedure
                          infOrmed consent, who also have orders withholding resuscitation.
                requiring informed

               71 Palient/surrogate
               ❑     Patient/surrogate decision-maker requests that DNR order be suspended during any procedure.
               t7 Patient/surrogate decision-maker requests that DNR order be honored during eny
                                                                                               any procedure.
               Describe the key features of the discussion(s) pertaining to the
               Describe                                                      the DNR issues'
                                                                                     issues:


                PHYSICIAN DECLARATION: Prior to the time of the planned a                       sia above, Ii have explained to the ph,
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                and           cornett-cations.

                    Physician Signature                                                                                           Date      '                                     Time::
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                                                              ADMINISTRATION OF ANESTHESIA
                                                CONSENT FOR ADMINISTRATION                                                                                                 PATIENT Li6,2,EL.
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                Exhibit 61




                                                                  JA3503
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                     *
ELSA M. POWELL AND DESIRE EVANS,
                                                      *      Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                      *      Hon. Wendy Beetlestone
       v.
                                                      *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES                             *

               Defendant                              *

               *          *   *       *       *       *      *       *      *       *       *

                    PLAINTIFF ELSA POWELL’S ANSWERS TO FIRST SET OF
                    INTERROGATORIES AND RESPONSES TO FIRST SET OF
                        REQUESTS FOR PRODUCTION OF DOCUMENTS


       Plaintiff, Elsa Powell, pursuant to Federal Rules Civil Procedure 26, 33 and 34, serves the

following Answers to First Set of Interrogatories propounded by the defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party’s’ attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.




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       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to object

to the admissibility of the information.

                                  ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

        Describe in detail each and every instance in which you were a patient of Akoda,
including how you chose Akoda as your doctor, the date you were a patient, and the specific
nature of the treatments and examinations performed.

ANSWER:

       Objection is made to this interrogatory as it overly broad and unduly burdensome,

and concerns matters which are more appropriately addressed by deposition. Without

waiving this objection, the Plaintiff was treated by Akoda during portions of her prenatal

care, beginning in approximately April of 2014, during her labor on September 17, 2014, for

the subsequent delivery of her infant, and for post-natal care through January of 2015. The

Plaintiff further refers Defendant to the Plaintiff’s medical records for details relating to her

care and treatment by Akoda. The Plaintiff was referred to the practice of Abdul Chaudry,

M.D. for prenatal care by another obstetrician-gynecologist, which is where she first

encountered Akoda.

INTERROGATORY NO. 2:

         Describe in detail the alleged injuries for which you are seeking to recover in this
litigation, including when you first became aware of those injuries, how you became aware of
those injuries, whether you have seen any health care provider for treatment of those alleged
injuries and if so, who and when, and each and every aspect of those injuries.

ANSWER:

       This Plaintiff will be claiming non-economic damages for her pain and suffering, as

well as Plaintiffs’ loss to her marital relationship. This Plaintiff has in the past, is presently,


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and will in the future continue to suffer excruciating emotional anguish as well as fear and

anxiety, as a result of learning that Akoda was a fraud. This Plaintiff will also be claiming

economic damages for past, present and future medical expenses, future health and life care

needs, including but not limited to psychiatric and/or psychological counseling. Copies of

billing invoices for prior medical care will be provided as they become available. Copies of

Plaintiffs’ life care plan and economic report will be provided upon completion. This answer

will be supplemented as discovery proceeds.

       The Plaintiff first experienced her injuries and damages relevant to this matter upon

learning about Akoda’s fraudulent conduct. She first learned this information from another

patient of Adbul Chaudry M.D.’s practice in late 2018.           She subsequently looked up

information about Akoda on the internet.

INTERROGATORY NO. 3:

        Describe in detail all facts that support the allegation in the Complaint that ECFMG owed
a duty to Plaintiffs and the Putative Class Members.

ANSWER:

        Objection is made to this request as it is overly broad and unduly burdensome, and

calls for a legal conclusion. Without waiving this objection, the facts that support these

allegations are set forth in the Complaint, including but not limited to paragraphs 5, 10-47

and 69-69.

       ECFMG holds itself out as protecting the public through its programs and services,

including primary-source verification of physician credentials. ECFMG undertook to render

certification services and primary source verification services, among others, for Igberase on

multiple occasions, under multiple identifies, and to represent to Howard University




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Hospital, Prince George’s Hospital Center, the Maryland Board of Physicians, among

others, that Igberase was a bona fide medical doctor.

       ECFMG owed a duty to Plaintiffs and other members of the Class to carefully review

Igberase’s multiple applications for certification, appropriately perform primary source

verification and to carefully investigate Igberase when it was informed that Igberase was

using a false social security number, potentially a false name, and other false documentation.

       The Plaintiffs’ investigation is ongoing.

INTERROGATORY NO. 4:

       Describe in detail all facts that support the allegation in the Complaint that ECFMG
breached a duty owed to Plaintiffs and the Putative Class Members.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

calls for a legal conclusion. Without waiving this objection, the facts that support these

allegations are set forth in the Complaint, including but not limited to paragraphs 70-80.

       ECFMG, in breach of its duty to the Plaintiffs and Putative Class Members, failed to

detect that Igberase’s medical school diploma was in the name of Johnbull Enosakhare

Akoda, not John Charles Akoda or John Charles Nosa Akoda or John Nosa Akoda, all names

used in documents submitted by Akoda.

       ECFMG was negligent in failing to learn that Akoda was Igberase. Among other

things, ECFMG knew that in August 2000 allegations had been made to the JSMC that

Akoda and Igberase were the same person. The JSMC notified ECFMG of this and told

ECFMG that Akoda was using Igberase’s social security number.

       Igberase appeared at the offices of ECFMG on September 27, 2000 and told ECFMG

that Igberase was his cousin and admitted he had used Igberase’s social security number


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“pending INS clearance of his own social security number.” Additionally, the passport

Igberase provided to ECFMG at that meeting contained one too few numbers and could not

have been valid.

       There was no effort by ECFMG to authenticate the passport. In breach of its duty,

ECFMG failed to take any action against Igberase for this misuse of a social security number.

       Further in breach of its duty, ECFMG failed to compare the photograph of Igberase

in its files with the person claiming to be Akoda who was sitting in ECFMG’s office in

Philadelphia. Had ECFMG done so, ECFMG would have known that Akoda and Igberase

are the same person.

       ECFMG, in breach of its duty, failed to advise the Howard University Hospital

residency program, the Maryland Board of Physicians or Prince George’s Hospital Center

of the information in its files that Igberase may have had a previous certification that was

revoked, that ECFMG had investigated whether Akoda is Igberase or that Igberase was

barred under another certification.

       ECFMG, in breach of its duty, and in breach of its own policies and procedures

regarding irregular behavior, failed to take reasonable steps to verify the truth of the

references submitted by Igberase when he applied for the residency program at Howard

University Hospital under the Akoda identity. In 2006 Igberase submitted three (3) letters

of recommendations through ERAS under the Akoda identity. ECFMG sent letters to each

of the references, with copies of their respective alleged letters of recommendations, seeking

to learn if they were authentic. ECFMG did not receive responses from the supposed

references.   Nevertheless, ECFMG provided primary source verification to Howard

University Hospital about “Akoda” – a fictitious identity.



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INTERROGATORY NO. 5:

      Describe in detail all facts that support the allegation in the Complaint that ECFMG’s
supposed negligence was the “sole and proximate cause” of your alleged injuries and damages.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

calls for a legal conclusion. Without waiving this objection, the facts that support these

allegations are set forth in the Complaint.

       The numerous breaches of duty by ECFMG led to the fraudulent certification of

Igberase, under various names, but for which he would not have been admitted to the

Howard University Hospital residency program, he would not have received a Maryland

medical license, he would not have obtained privileges at Prince George’s Hospital Center,

he would not have been able to practice medicine, and he would not have been able to cause

the harms to Plaintiffs.

       ECFMG’s numerous breaches of duty increased the risk of harm to Plaintiffs and

other members of the Class by Igberase’s conduct.

       As a direct, proximate, immediate and foreseeable result of ECFMG’s conduct,

Named Plaintiffs and Class Members have and/or will suffer permanent economic and non-

economic damages.

INTERROGATORY NO. 6:

        Describe in detail all facts that support the allegations in the Complaint that Akoda
“performed inappropriate examinations of a sexual nature while utilizing inappropriate and
explicit sexual language” and committed “boundary violations.”

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

concerns matters more appropriately addressed at deposition.               Without waiving this


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objection, the named Plaintiff contends that all care and treatment provided by Akoda was

inappropriate, including but not limited to the fact that he was not an appropriately licensed

and credentialed physician.         He oversaw this Plaintiff’s labor care, including the

performance of intrusive pelvic examinations, and he performed the Plaintiff’s delivery.

       Akoda’s demeanor during her examines was flirtatious, and during one examination,

told the Plaintiff that she had “nice breasts.” He oversaw aspects of Plaintiff’s prenatal,

oversaw her labor care, performed intrusive pelvic examinations, breast exams, and her

child’s delivery. He was not properly licensed, credentialed or qualified to provide any of

this case. This Plaintiff would never have exposed herself or her child to a non-health care

provider had she been appropriately advised that he was not a validly licensed or

credentialed physician. This answer will be supplemented as discovery proceeds. The

Defendant is further referred to the medical records.

       Plaintiffs investigation is ongoing.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your “obstetrician/gynecologist” on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,
including certification from ECFMG,” including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

ANSWER:

       Objection is made to this request to the extent it elicits communications between the

Plaintiff and her counsel subject to the attorney-client privilege, particularly with regard to

knowledge about ECFMG and its services. Without waiving this objection, Plaintiff would

not have agreed to receive treatment for a physician who had obtained certifications




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necessary to practice medicine on the basis of identity fraud. Plaintiff naturally assumed

Akoda was a physician who had been lawfully credentialed.

INTERROGATORY NO. 8:

        Identify and describe in detail each and every communication you had with anyone (other
than with your attorneys) about the claims or facts underlying the claims that you are asserting in
the Complaint, including all such communications with Akoda’s medical practice, any medical
licensing board, any employee, agent or representative of ECFMG, and all such communications
with a journalist, reporter, or member of the media.

ANSWER:

       Objection is made to this request as it is overly broad and unduly burdensome, and

concerns matter better addressed through deposition. Plaintiff’s contacts with Akoda are

reflected in the medial records which are being produced.             The Plaintiff has had no

communication with any medical licensing board, employee, agent or representative of

ECFMG, nor any member of the media. The Plaintiff has also given a deposition in the

matter of Dews et al. v. Dimensions Healthcare System, et. al, Case No. CAL-17-37091.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the
method of calculating each such element of damages or other relief, the amount of each element
of damages or other relief, and the time period for which you are seeking damages or other relief.

ANSWER:

       Plaintiff adopts by reference her Answer to Interrogatory No. 2. The amount of these

damages is for the jury to determine.          Plaintiff seeks damages for these injuries as

determined by the jury.

INTERROGATORY NO. 10:

       Identify each civil (including bankruptcy filings), criminal and administrative action to
which you have been a party or in which you have served as a witness, including the matter
name, court or agency.


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ANSWER:

       Objection is made to this request as it seeks to elicit information which goes beyond

the proper scope of discovery. Without waiving this objection, the Plaintiff is a named class

representative in a class action filed in the Circuit Court for Prince George’s County,

Maryland, Dews et al. v. Dimensions Healthcare System, et. al, Case No. CAL-17-37091.

INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys’ fees, or other financial obligations associated with the
bringing of this lawsuit.

ANSWER:

       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

ANSWER:

       Objection is made to this interrogatory as it overly broad, and goes beyond the scope

of appropriate discovery. Plaintiff’s counsel represents numerous persons who are putative

members of the class. Counsel for Plaintiff has a list of persons who have been retained by

Plaintiff’s counsel as members of the putative class, many of whom have been confirmed as

patients of Akoda through review of medical records.           Plaintiffs is also aware that other

attorneys in this case represent numerous persons who are putative members of the class,




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but are not aware of their identities. Plaintiff believes that there are approximately 1,000

patients seen or treated by Akoda.

INTERROGATORY NO. 13:

        Identify each and every person who provided information used to answer these
Interrogatories, and identify the Interrogatory or Interrogatories for which that person provided
information.

ANSWER:

       The Plaintiff’s attorneys assisted in the preparation of these answers.

INTERROGATORY NO. 14:

      Identify all persons with knowledge relating to the allegations and claims in the
Complaint, and for each person, describe the subject(s) about which they have knowledge.

ANSWER:

       In addition to the plaintiff and her attorneys, the Defendant is referred to the

Plaintiff’s initial disclosures. The Plaintiff’s husband was also present with her for certain

doctor’s appointments.


INTERROGATORY NO. 15:

         Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this
litigation.

ANSWER:

       Plaintiff objects to this interrogatory on the grounds that it is overly broad and

unduly burdensome, and is not limited in time or scope and seeks information that is not

relevant. Without waiving this objection, to date, the Plaintiff has not undergone medical




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treatment from health care providers relating to the emotional distress she has sustained in

this matter.

INTERROGATORY NO. 16:

        Identify any and all persons you may call as a fact witness relating to this lawsuit at the
time of trial.


ANSWER:

         Plaintiff has not determined who she may call as fact witnesses a trial. Plaintiff will

comply with her obligations under F.R.C.P. 26(a)(3), or as otherwise ordered by the Court.

INTERROGATORY NO. 17:

         Identify any and all persons you intend to call as an expert witness relating to this lawsuit
at the time of trial.

ANSWER:

         Plaintiff has not determined who she may call as expert witnesses at trial. Plaintiff

will comply with her obligations under F.R.C.P. 26(a)(2), or as otherwise ordered by the

Court.

INTERROGATORY NO. 18:

      Identify the jurisdiction whose law you contend governs each of the claims in the
Complaint and describe in detail all facts supporting your contention.

ANSWER:

         Plaintiff objects to this interrogatory to the extent that it calls for information subject

to work-product protection. By way of further answer, and without waiver, discovery and

Plaintiffs’ investigation are still continuing and full identification of the relevant facts for a

choice of law analysis are yet to be determined.


                                    DOCUMENT REQUESTS


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                                        General Objections

       1.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

  to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

       2.      Plaintiff objects to each of Defendant’s requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.

       3.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and

conveniently obtain from other sources.

       4.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents beyond Plaintiffs’ possession, custody or control.

       5.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-

client privilege, the attorney work product doctrine, or similar privileges or protections from

discovery shall not constitute a waiver of any such privileges or protections.

       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only

after the execution of a suitable confidentiality agreement between the parties.

       7.      Because Defendant’s requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify

the specific requests to which documents respond.


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        8.     These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter

thereof, on any ground in any further proceedings in this action; and (iii) the right, at any time,

to revise, correct, supplement or clarify any of these responses.

        9.     Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from

these responses as a result of mistake, error, oversight or inadvertence.

        10.    These responses and any further responses or documents produced pursuant

thereto are made without any acknowledgment or concession that the documents requested are

relevant to the subject matter of this action.

        11.    The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff’s stated willingness to

produce certain classes of documents should in no way be construed as an affirmative

acknowledgment that such documents either exist or are in the possession, custody or control of

Plaintiff.

        12.    The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiff’s specific requests set forth below, and to each and

every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.



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REQUEST NO. 1:

       All documents identified in your Rule 26(a)(1) disclosures.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 2:

       All documents identified in or relied upon in the course of answering the Interrogatories
served contemporaneously with these Requests.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 3:

       All pleadings filed in Akoda litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession of

the Plaintiff or her counsel will be produced.


REQUEST NO. 4:

       All documents relating to Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.




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                                                                                         JA3517
      Case:2:18-cv-05629-JDW
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REQUEST NO. 5:

       All documents produced by you or to you in Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request will be produced. Certain

documents produced to Plaintiff by Dimensions in the Akoda litigation are subject to a

Confidentiality Agreement.      To the extent that ECFMG can obtain the consent of

Dimensions, Plaintiff will produce the requested documents.

REQUEST NO. 6:

       All sworn statements executed by you in Akoda Litigation.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 7:

       All documents relating to Putative Class Members.

RESPONSE:

       Objection. This request is ambiguous, overbroad, and seeks information that is not

proportionate to the needs of the case. If Defendant will clarify it, Plaintiff will attempt to

respond.

REQUEST NO. 8:

      All documents relating to Akoda, including documents relating to treatments or
examinations performed by Akoda.

RESPONSE:




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       Objection. This request appears to be duplicative of other requests to which

Plaintiff has responded that, if she has any such documents, they will be produced.

REQUEST NO. 9:

       All communications between you and Akoda.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 10:

       All documents relating to ECFMG.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 11:

        All communications between you and ECFMG relating to the claims or facts underlying
the claims that you are asserting in the Complaint.

RESPONSE:

       Other than the records deposition subpoena served on ECFMG, there are none.

REQUEST NO. 12:

       All documents about JSMC and Akoda.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 13:




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        All communications between you and JSMC relating to the claims or facts underlying the
claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 14:

       All documents relating to Howard University Hospital and Akoda.

RESPONSE:

       Objection. This request is overly broad and unduly burdensome. Without waiver,

any discoverable documents responsive to this request which are in the possession of the

Plaintiff or her counsel will be produced limited to the class members in this case.


REQUEST NO. 15:

        All communications between you and Howard University Hospital relating to the claims
or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 16:

       All documents relating to Prince George’s Hospital Center and Akoda.

RESPONSE:

       Objection. This request appears to be duplicative of other requests to which

Plaintiff has responded that, if she has any such documents, they will be produced.

REQUEST NO. 17:

       All communications between you and Prince George’s Hospital Center relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:



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       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 18:

       All documents relating to A.G. Chaudry, M.D. and Akoda.

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced. Other than the medical records, none.


REQUEST NO. 19:

       All communications between you and A.G. Chaudry, M.D. relating to the claims or facts
underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 20:

       All documents relating to Dimensions Healthcare Associates and Akoda.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

REQUEST NO. 21:

       All communications between you and Dimensions Healthcare Associates relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

REQUEST NO. 22:

       All documents relating to the Maryland Board of Physicians and Akoda.



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RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.


REQUEST NO. 23:

       All communications with the Maryland Board of Physicians relating to the claims or facts
underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 24:

       All documents and communications relating to your allegations that “Igberase never
attended or graduated from a medical school.”

RESPONSE:

       Objection is made to this request to the extent is seeks information protected by

attorney client privilege or the work product doctrine. Without waiving this objection, any

discoverable documents responsive to this request which are in the possession of the

Plaintiff or her counsel he requested documents will be produced.

REQUEST NO. 25:

       All documents and communications relating to your allegation that the Centers for
Medicare and Medicaid Services “denied Igberase’s application to enroll for Medicare
reimbursement.”

RESPONSE:

       Any discoverable documents responsive to this request which are in the possession

of the Plaintiff or her counsel will be produced.




REQUEST NO. 26
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                                                                                       JA3522
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      All documents and communications relating to your decision to have Akoda treat or
examine you.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 27:

       All documents and communications relating to your alleged “belief that Akoda had
obtained all necessary credentials and certifications required of physicians practicing in the
United States, including certification from ECFMG.”

RESPONSE:

       None.

REQUEST NO. 28:

       All documents and communications relating to your allegation that “Igberase performed
inappropriate examinations of a sexual nature while utilizing inappropriate and explicit sexual
language.”

RESPONSE:

       Objection is made to this request to the extent is seeks information protected by

attorney client privilege or the work product doctrine, without waiving this objection. The

Defendant is referred to the medical records.


REQUEST NO. 29:

       All documents and communications relating to your allegation that “Igberase’s
penetrations of his patients were clear boundary violations.”

RESPONSE:

       Objection is made to the request to the extent it concerns a medical and/or legal

conclusion, and to the extent is seeks information protected by attorney client privilege or

the work product doctrine. Without waiving this objection, the Defendant is referred to the

medical records.


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REQUEST NO. 30:

        All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to any

documents that may be responsive to this request. This request also appears to be duplicative

of other requests to which – subject to the above-stated objection, Plaintiff has responded

that, if she has any such documents, they will be produced.

REQUEST NO. 31:

       All documents and communications relating to your allegation that ECFMG breached a
duty owed to you and Putative Class Members.

RESPONSE:

       Objection is made to this request to the extent it calls for a legal conclusion, and to

the extent is seeks information protected by attorney client privilege or the work product

doctrine. Without waiving this objection, this request appears to be duplicative of other

requests to which Plaintiff has responded that, if she has any such documents, they will be

produced.

REQUEST NO. 32:

       All documents and communications relating to your allegation that ECFMG’s negligence
was the “sole and proximate cause” of your alleged injuries and damages.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it calls for a legal conclusion as to any documents

that may be responsive to this request. Without waiving this objection, this request appears


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to be duplicative of other requests to which Plaintiff has responded that, if she has any such

documents, they will be produced.

REQUEST NO. 33:

       All documents and communications relating to injuries (physical, mental, emotional,
psychological, or otherwise) that you contend you have suffered or will continue to suffer
because of ECFMG’s negligence.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 34:

       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce any documents on the grounds that she is not making any claim for lost income.

REQUEST NO. 35:

       All medical records, pharmacy records, doctor’s notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it is overly broad and burdensome in that it is not

limited in time or scope and that it seeks information that is not relevant to any claim or

defense in this action. To the extent the Plaintiff receives treatment concerning her condition

and injuries relevant to this lawsuit, these documents will be produced.

REQUEST NO. 36:




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      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

RESPONSE:

       To the extent the Plaintiff receives treatment concerning her condition and injuries

relevant to this lawsuit, these documents will be provided.


REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your
behalf by any insurance carrier or health plan for examination and treatment of alleged injuries.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are not

relevant to any claim or defense in this action. To the extent that the Plaintiff incurs

medical bills related to examination and treatment for her injuries relevant to this lawsuit,

they will be provided.

REQUEST NO. 38:

        All communications between you and a journalist, reporter, or member of the media
relating to the claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 39:

        All communications between one or more of your attorneys and a journalist, reporter, or
member of the media relating to the claims or facts underlying the claims that you are asserting
in the Complaint.

RESPONSE:




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       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are

protected from discovery by the attorney work product doctrine and are not relevant to any

claim or defense in this action.

REQUEST NO. 40:

       All personal records, notes, journals, calculations, calendars, and/or diaries that make
reference to your examination or treatment by Akoda.

RESPONSE:

       Objection is made to the extent that any documents responsive to this request were

prepared in anticipation of litigation or at the request of counsel.             Any discoverable

documents responsive to this request will be produced.


REQUEST NO. 41:

        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that they are protected from discovery by the work-

product doctrine. Without waiving this objection, the Plaintiff Elsa Powell has not obtained

any statements from ECFMG.

REQUEST NO. 42:

        All documents and communications relating to any arrangements that you have made
with your attorneys or others relating to payment of the costs, attorneys’ fees, or other financial
obligations associated with the bringing of this lawsuit.

RESPONSE:




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          Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on the

grounds that it requests documents which are not relevant to any claim or defense in this

action.

REQUEST NO. 43:

       All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)
providing any funding of any attorneys’ fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your
attorneys, either directly or indirectly; or (c) have a financial interest or right to receive
compensation that is contingent on the outcome of this lawsuit by settlement, judgment, or
otherwise; or (d) are receiving any form of compensation or remuneration for providing any
information, services, or assistance concerning this lawsuit.

RESPONSE:

          Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on

the grounds that it requests documents which are not relevant to any claim or defense in

this action.

REQUEST NO. 44:

        All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating
each such element of damages or other relief, and the amount of each element of damages or
other relief.

RESPONSE:

          Any discoverable documents responsive to this request will be produced.

REQUEST NO. 45:

       All documents and communications referenced in or used, reviewed, or relied upon in
preparing the Complaint.

RESPONSE:


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      Objection is made to this request to the extent it seeks documents protected by the

attorney-client privilege and attorney work product. Without waiving this objection, any

discoverable documents responsive to this request will be produced.


REQUEST NO. 46:

      All documents and communications relating to the claims asserted in the Complaint.

RESPONSE:

      Objection is made to this request to the extent it seeks documents protected by the

attorney-client privilege and attorney work product. Without waiving this objection, any

discoverable documents responsive to this request will be produced.


REQUEST NO. 47:

      All documents you may introduce as exhibits at trial in this lawsuit.

RESPONSE:

      Plaintiff has not decided what documents it will introduce at trial. Plaintiff will

comply with her obligations under F.R.C.P. 26(1)(3).

                                            CONRAD & O’BRIEN, P.C.

                                            _/s/ Nicholas M. Centrella____________________
                                            Nicholas M. Centrella, Esquire (ID No. 67666)
                                            ncentrella@conradobrien.com
                                            Howard M. Klein, Esquire (ID No. 33632)
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                                            Centre Square, West Tower, Suite 3900
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                                      SCHOCHOR, FEDERICO AND STATON, P.A.

                                      /s/ Jonathan Schochor
                                      Jonathan Schochor (Admitted Pro Hac Vice )
                                      jschoehor@sfspa.com
                                      Lauren Schochor (Identification No. 87618)
                                      lsehochor@sfspa.corn
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                                      Baltimore, Maryland 21202
                                      Phone: (410) 234-1000
                                      Fax: (410) 234-1010




Dated: March 29, 2019




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below I caused a true and correct copy of the

foregoing Answers to Interrogatories to be served on the following via electronic mail:

                                       Brian W. Shaffer
                                      Elisa P. McEnroe,
                                     Mathew D. Klayman
                             MORGAN, LEWIS & BOCKIUS, LLP
                                      1701 Market Street
                                 Philadelphia, PA 19103-2921
                               brian.shaffer@morganlewis.com
                              elisa.mcenroe@morganlewis.com
                             matthew.klayman@morganlewis.com




                                             /s/ Nicholas M. Centrella
                                             Nicholas M. Centrella



 Dated: March 29, 2019




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                Exhibit 62




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 JANE DOE NO. 1, et al.,                               *      IN THE

        Plaintiffs,                                    *      CIRCUIT COURT

 v.                                                    *      FOR

DIMENSIONS HEALTHCARE SYSTEM,                                 PRINCE GEORGE'S COUNTY
d/b/a DIMENSIONS HEALTH
CORPORATION                                                   Case No. CAL-17-37091

        Defendants.

        *       *       *      *       *       *       *      *       *       *       *

                    NOTICE OF SERVICE OF DISCOVERY MATERIALS

        I HEREBY CERTIFY on this /0141 day of July, 2018, that I served a copy of

 Plaintiff Elsa Powell's Answers to Interrogatories of Defendant Dimensions Healthcare

 Corporation d/b/a Prince George's Hospital Center, on all counsel of record and all pro se

 parties, and that I will retain the original of this document in my possession without alteration

 until the case is concluded in this Court, the time for noting an appeal has expired and any

 appeal noted has been decided.




                                               Jo athan Schochor, Esquire
                                               Sc ochor, Federico and Staton, P.A.
                                               The Paulton
                                               1211 St. Paul Street
                                               Baltimore, Maryland 21202
                                               (410) 234-1000 - office
                                               (410) 234-1010 - fax

                                               Attorneys for the Plaintiff




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JANE DOE NO. 1, et al.,                                *       IN THE

       Plaintiffs,                                     *       CIRCUIT COURT

v.                                                     *       FOR

DIMENSIONS HEALTHCARE SYSTEM,                                  PRINCE GEORGE'S COUNTY
d/b/a DIMENSIONS HEALTH
CORPORATION                                                    Case No. CAL-17-37091

       Defendants.

*      *       *       *          *    *       *       *       *       *       *       *       *



       PLAINTIFF ELSA POWELL'S ANSWERS TO INTERROGATORIES OF
          DEFENDANT DIMENSIONS HEALTHCARE CORPORATION,
                D/B/A PRINCE GEORGE'S HOSPITAL CENTER

        COMES NOW the Plaintiff, Elsa Powell, by and through her attorneys, Jonathan

Schochor and Schochor, Federico and Staton, P.A., in answer to the Interrogatories of

Defendant Dimensions Healthcare Corporation, d/b/a Prince George's Hospital Center,

respectfully states as follows:

         Interrogatory No. 1:     State your full name; present address and all addresses for the
past ten (10) years; date of birth; social security number; present marital status, and all previous
marital status, including the dates of marriage and dates of termination of each marriage and
the full name and present address of each spouse. Also in order to ascertain whether you have
been in the past, or likely in the future to become a Medicare beneficiary, please provide your
claim number (HICN).

        Answer to Interrogatory No. 1:

        Elsa Miguelina Powell
        DOB: 4/14/1987

        12705 Live Oak Place
        Upper Malboro, MD
        August 2016 — Present

        Marital Status: Married
        Spouse: Gregory Powell
        Date of Marriage: January 13, 2015
        Maiden Name: Delvillar-Mejia




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        Previous Addresses:
               3505 Marais Road
               Clinton Maryland,
               (June 2015 — August 2016)

               4002 28th Avenue, Apt B2
               Temple Hills, MD
               (Approximately 2012 — 2015)

               4900 Vienna Drive
               Clinton MD 20735
               (2012)

               Apartment Complex
               5457 16th Avenue, Apt 203
               Hyattsville, Maryland
               (2011-2012)

               1509 Madison Street, Apt 4
               Hyattsville, Maryland
               2010-2011
               24th Place
               Arlington Virginia
               (2007-2010)

        The Plaintiff was a Medicaid beneficiary.

       For identify protection, the Plaintiff will provide her social security number informally,
under separate cover.

        Interrogatory No. 2: State the exact nature of each act or omission which you claim
was negligently committed or omitted by Defendants. For each act or omission, state all
particulars with relation to such act, including the time and place of the act or omission, and a
complete description of the act or omission, including whether and how you contend the act or
omission breached any relevant standard of care.

        Answer to Interroaatory No. 2:       Objection is made to this interrogatory as it overly

 broad and unduly burdensome. Without waiving this objection, the Defendant is referred to the

 Plaintiff's Complaint, as well as Complaints filed on behalf of other patients of Charles Akoda,

 including Case Nos. CAL18-07863; CAL17-22761; and 8:17-cv-03106-TDC, and Akoda's




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 criminal indictment, Case No. 8:16-cr-00277-PWG in the United States District Court of the

 District of Maryland, Southern District.

        The Defendant's agent, servant and/or employee Charles J. N. Akoda (hereinafter

 "Akoda") unlawfully practiced medicine, serving in the capacity of her attending physician

 during portions of her prenatal care, during her labor on September 17, 2014, and the subsequent

 delivery of her infant. The Defendant and its duly authorized agents, apparent agents, servant

 and/or employees failed to perform an appropriate and proper investigation and background

 check of Akoda before granting him privileges to act as a practitioner and specialist in obstetrics

 and gynecology. Had they done so, as was required, Akoda's fraudulent and unlawful conduct

 would have been discovered, and he would have been precluded from seeing patients at the

 Defendant's institutions or entities, thereby avoiding all of the injuries, damages (economic and

 non-economic) and disability suffered by this Plaintiff.

        This answer will be supplemented as discovery continues.

         Interrogatory No. 3:     State the exact nature of each act of commission or omission
 which you claim was negligently committed or omitted by any individual you claim to be an
 employee, agent, or servant of Defendants, including but not limited to Dr. Akoda. Include in
 your answer whether you contend Dr. Akoda was negligent in his performance of any care
 rendered to you, and in so doing, state whether you contend he performed medical services that
 were not required/ medically necessary or improperly performed medically needed services,
 including, but not limited to testing, studies, procedures, and/ or surgery, or whether you
 contend he failed to perform needed tests, studies, procedures, and/ or surgery, and if so,
 identify in detail your contention(s).

         For each act or omission, state all particulars with relation to such act, including the
 name of the person whom you claim to have been guilty of the act or commission, the time and
 place of the act or omission and a complete description of the act or omission, including whether
 and how you contend the act or omission breached any relevant standard of care.

         Answer to Interrogatory No. 3:        Objection is made to this interrogatory as it overly

 broad and unduly burdensome. Without waiving this objection, the Plaintiff incorporates

 Answer to Interrogatory No. 2. This answer will be supplemented as discovery continues.

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        Interrogatory No. 4:        Give the full name, business address, home address, home
telephone number, business telephone number and occupation of every person who has
investigated the facts giving rise to the occurrence complained of in this case for you or on your
behalf, and in so doing, state whether you or they made any review or inquiry as to Dr. Akoda's
licensing, training, or other background information prior to or subsequent to submitting to care
by him, and the details of any such investigation.

        Answer to Interrogatory No. 4:          This Plaintiff's attorneys have investigated this

claim on her behalf. This Plaintiff objects to the portion of the interrogatory that requests the

specific nature and extent of investigation undertaken after Akoda's care, as it requests

information that is protected by the attorney/client privilege, the attorney work product doctrine

and the statutory peer review privilege.

                 The Defendant is also referred generally to Akoda's criminal indictment, Case

No. 8:16-cr-00277-PWG in the United States District Court of the District of Maryland, and

the investigations of other entities, including but not limited to:

    •   Maryland Board of Physicians;
    •   Virginia Department of Health Professions;
    •   Department of Justice;
    •   United States Centers for Medicare & Medicaid Services;
    •   United States Department of Health and Human Services;
    •   Educational Commission for Foreign Medical Graduates (ECFMG);
    •   Residency Programs including but not limited to Howard University and in New Jersey,
        including applications for residency;
    •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
        and/or other committees, departments or offices of the Defendants;
    •   United States Social Security Administration.

                 Contact information for these entities is publicly available.

                 Additionally, the Defendant is referred to Complaints filed on behalf of other

 patients of Charles Akoda, including Case Nos. CAL18-07863; CAL17-22761; and 8:17-cv-


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03106-TDC.

                  This answer will be supplemented as additional information becomes

available.

        Interrogatory No. 5: State the full name, home address, business address, occupation
and employer of every expert whom you expect to call as an expert witness at trial and state the
subject matter on which the expert is expected to testify, state the substance of the findings and
opinions to which the expert is expected to testify and a summary of the grounds for each
opinion. For each expert, specify in your answer whether or not that expert claims any particular
expertise in a given field of medicine or science, describing precisely the field of the expertise
claimed and specify whether such person shall testify regarding (a) the liability of the Defendant
to the Claimant, and (b) the nature and extent of the injuries which you allege were sustained
in the occurrence. Attach with your answers copies of all reports, statements and curriculum
vitae and/ or resumes prepared by each expert witness.

         Answer to Interrogatory No. 5:        This Plaintiff has not yet determined which expert

witnesses she will call at trial of this matter. This Plaintiff will issue a Designation of Expert

 Witnesses in accordance with the Court's Scheduling Order.

         Interrogatory No. 6: Identify each known written statement or report relative to any
 of the facts giving rise to the occurrence of which you complain. In so doing, name the person
 who gave the statement or report; specify the date of each statement or report; name its present
 custodian; attach exact copies of all written statements or reports which have been prepared or
 signed by the Defendant or persons whom you allege to be agents, servants, or employees of
 the Defendant.


 Answer to Interrogatory No. 6:          This Plaintiff objects to this interrogatory as it is overly

 broad, unduly burdensome and solicits information protected by the attorney-client privilege

 and work product doctrine. Without waiving the objection or disclosing privileged information,

 the Plaintiffs are in possession of the following documents which contain written statements or

 reports relative to the facts giving rise to his occurrence:

    •    Judgment and Stipulated Facts dated February 28, 2017
     •   Transcript of Pre-Trial Detention Hearing
     •   Virginia Department of Health Professions Order of Mandatory Suspension

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    •   Maryland State Board of Physicians Final Decision and Order

                 The Defendant is also referred generally to Akoda's criminal indictment, Case

No. 8:16-cr-00277-PWG in the United States District Court of the District of Maryland,

Southern District, which includes filings and transcripts tending supporting the allegations in

the Plaintiffs complaint, including stipulated facts executed by Oluwafemi Charles Igberase,

a.k.a. Charles Akoda in connection with a guilty plea entered in 2016. Copies of these

proceedings are publicly available via Public Access to Court Electronic Records.

                 Additionally, it is anticipated that written statements or reports relative to the

facts giving rise to his occurrence will be included within the records, proceedings and files of

various entities, including but not limited to:

    •   Maryland Board of Physicians
    •   Virginia Department of Health Professions
    •   Department of Justice
    •   United States Centers for Medicare & Medicaid Services
    •   United States Department of Health and Human Services
    •   Educational Commission for Foreign Medical Graduates (ECFMG)
    •   Residency Programs including but not limited to Howard University and in New Jersey,
        including applications for residency;
    •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
        and/or other committees, departments or offices of the Defendants;
    •   United States Social Security Administration

                 Additionally, the Defendant is referred to Complaints filed on behalf of other

 patients of Charles Akoda, including Case Nos. CAL18-07863; CAL17-22761; and 8:17-cv-

 03106-TDC. This answer will be supplemented as more information becomes available.

       Interrogatory No. 7: Describe the nature and subject matter of each picture, diagram,
 document, audio or video tape, x-ray, or other objects (real evidence) which is known to you

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and which is relative to this occurrence or its consequences. In so doing, name each object's
present custodian and state the date the object was produced or obtained.


Answer to Interrogatory No. 7:          This Plaintiff objects to this interrogatory as it is overly

broad, unduly burdensome and solicits information protected by the attorney-client privilege

and work product doctrine. Without waiving the objection or disclosing privileged information,

the Plaintiffs are in possession of the following materials relative to this occurrence:

    •   Judgment and Stipulated Facts dated February 28, 2017
    •   Transcript of Pre-Trial Detention Hearing
    •   Virginia Department of Health Professions Order of Mandatory Suspension
    •   Maryland State Board of Physicians Final Decision and Order

                  The Defendant is also referred generally to Akoda's criminal indictment, Case

No. 8:16-cr-00277-PWG in the United States District Court of the District of Maryland,

Southern District, which includes filings and transcripts tending supporting the allegations in

the Plaintiffs complaint, including stipulated facts executed by Oluwafemi Charles Igberase,

 a.k.a. Charles Akoda in connection with a guilty plea entered in 2016. Copies of these

 proceedings are publicly available via Public Access to Court Electronic Records.

                  Additionally, it is anticipated that documents and other materials relative to

 this occurrence or its consequences will be included within the records, proceedings and files

 of various entities, including but not limited to:

    •   Maryland Board of Physicians
    •   Virginia Department of Health Professions
    •   Department of Justice
    •   United States Centers for Medicare & Medicaid Services
    •   United States Department of Health and Human Services


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    •   Educational Commission for Foreign Medical Graduates (ECFMG)
    •   Residency Programs including but not limited to Howard University and in New Jersey,
        including applications for residency;
    •   Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
        and/or other committees, departments or offices of the Defendants;
    •   United States Social Security Administration

                  Additionally, the Defendant is referred to Complaints filed on behalf of other

 patients of Charles Akoda, including Case Nos. CALI 8-07863; CALI 7-22761; and 8:17-cv-

 03106-TDC.

                  This answer will be supplemented as more information becomes available.

        Interrogatory No. 8:      Identify and give the substance of each statement, action or
 admission against interest, declaration against interest, or otherwise, whether oral, written, by
 conduct, silence or otherwise which you contend was made by the Defendant or any person
 whom you allege to be the agent, servant and/ or employee of said Defendant. Give the name
 and occupation of each person who has personal knowledge of the making of each such
 statement. State the place and date when each such statement was made.

 Answer to Interrogatory No. 8: Oluwafemi Charles Igberase, a.k.a. Charles Akoda executed

 stipulated facts in connection with a guilty plea entered in 2016, which is anticipated to already

 be the custody of the Defendants. The Defendant is also referred generally to Akoda's criminal

 indictment, Case No. 8:16-cr-00277-PWG in the United States District Court of the District of

 Maryland, Southern District. Additionally, the Defendant is referred to the Plaintiff's medical

 records, which are already in the possession, custody and/or control of the Defendants, and will

 confirm that Akoda was referred to as a practicing physician at all times relevant to this dispute.

                  Moreover, although these documents are not currently in the possession of the

 Plaintiff, it is anticipated that agents, servants and/ or employees of the Defendant may have

 made statements relating to the alleged malpractice in connection with investigations by

 entities, including but not limited to:

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    •    Maryland Board of Physicians;
    •   Virginia Department of Health Professions;
    •    Department of Justice;
    •    United States Centers for Medicare & Medicaid Services;
    •    United States Department of Health and Human Services;
    •    Educational Commission for Foreign Medical Graduates (ECFMG);
    •    Residency Programs including but not limited to Howard University and in New Jersey,
         including applications for residency;
    •    Defendants' Privileging and Credentialing Committee, Quality Assurance Committee
         and/or other committees, departments or offices of the Defendants;
    •    United States Social Security Administration.

                  This response will be supplemented as more information becomes available.

         Interrogatory No. 9: If you contend that any portion of any medical record, chart, or
 report prepared by any Defendant, or anyone deemed to be an agent, servant and/ or employee
 of such Defendant, is inaccurate, false, has been altered, or has been destroyed, specifically
 identify each portion of each record, chart, or report you contend is inaccurate, false, has been
 altered, or has been destroyed, and provide in detail the factual basis for this contention.

         Answer to Interrogatory No. 9:          To the extent that this Plaintiffs medical records

 refer to Akoda as a physician, that is inaccurate and false. This answer will be supplemented as

 discovery proceeds.

         Interrogatory No. 10: If you contend that the applicable standards of care or any other
 issues in this matter are established by any articles, treatises, textbooks or other publications in
 the medical or scientific field, state the title of each publication, the journal, magazine, or series
 wherein each was published; the name and address of the publisher; date of the publication; and
 the name of the author and the volume and page or section referred to.

         Answer to Interrogatory No. 10:          This Plaintiff objects to this interrogatory which

 solicits information which is not discoverable.           Furthermore, this Plaintiff has not yet

 determined which expert witnesses she intends to call at trial of this matter. This Plaintiff will

 issue a Designation of Expert Witnesses in accordance with the Court's Scheduling Order.

 Should any of Plaintiffs expert witnesses rely on any such medical literature to support their


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 respective opinions on the applicable standard of care or any other issue in this matter, such

 information will be disclosed in a timely manner.

         Interrogatory No. 11: Itemize the nature and amount of all expenses made or incurred
 by you, or for which you intend to make claims as a result of the Defendant's alleged negligence,
 including hospital and doctor bills. In so doing, specify which of the above expenses have been
 paid, and indicate when and by whom they were paid.

        Answer to Interrogatory No. 11:            This Plaintiff will be claiming non-economic

 damages for her pain and suffering, as well as Plaintiffs' loss to their marital relationship. This

 Plaintiff has in the past, is presently, and will in the future continue to suffer excruciating

 emotional anguish as well as fear and anxiety. This Plaintiff will be claiming economic

 damages for past, present and future medical expenses, future health and life care needs,

 including but not limited to psychiatric and/or psychological counseling. The Plaintiff also

 experiences kidney pain which she attributes to care provided by Akoda. Copies of billing

 invoices for prior medical care will be provided as they become available. Copies of Plaintiffs'

 life care plan and economic report will be provided upon completion. This answer will be

 supplemented as discovery proceeds.

          Interrogatory No. 12:           Describe in detail the injuries, disabilities, infirmities,
 sicknesses and each activity in which you contend you sustained as a result of the occurrence
 that is the subject matter of this suit. Specify whether each injury is permanent in nature and, if
 so, state the extent of such permanency.

         Answer to Interro2atory No. 12: This Plaintiff incorporates Answer to Interrogatory

 No. 11. This answer will be supplemented as discovery proceeds.

         Interrogatory. No. 13: Give the name, address and dates of examination or treatment
 for every physician who has ever examined or treated you and state the cause for and nature of
 each such examination or treatment rendered; and state the name, address and dates of
 admission of every hospital where you have ever been admitted, the cause for and nature of
 each such admission and the treatment rendered.




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        Answer to Interrogatory No. 13: This Plaintiff objects to this interrogatory which is

 overbroad and vague. Without waiving these objections, this Plaintiff refers to her medical

 records which are in the Defendant's possession, custody and control. Additionally, the

 Plaintiff has treated with the following health care providers:

        Brian Kinsley, M.D. (OBGYN)
        Kaiser Permanente
        2015- 2016

        Emily Lo, M.D. (Primary Care)
        Kaiser Permanente
        2018

        Southern Maryland Hospital
        Lower abdominal pain 2015

         Interrogatory No. 14: If you have ever filed an action against or made a claim against
 any person, firm or corporation for personal injuries or physical conditions, or for any benefits
 under any insurance policy, state the injuries or conditions for which each claim was made, the
 dates of each injury, the names and addresses of the persons, firms or corporations to whom or
 against whom each were made, the nature and amount of any payments received therefore and
 the date each was made.

        Answer to Interrogatory No. 14:         This Plaintiff objects to this interrogatory which

 solicits information which is irrelevant and not reasonably calculated to lead to the discovery

 of admissible evidence. Without waiving the objection, no such claims are known. The case

 resolved with confidentiality.

        Interrogatory No. 15: Give the date, circumstances and injuries sustained with relation
 to any occurrence or accident in which you were involved and in which you sustained any
 personal injury.

        Answer to Interrogatory No. 15:         This Plaintiff objects to this interrogatory which

 solicits information which is irrelevant and not reasonably calculated to lead to the discovery

 of admissible evidence.    Without waiving this objection, the Plaintiff was involved in a car

 accident in 2014, and received care at Southern Maryland Hospital, but sustained no injuries.



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        Interrogatory No. 16: State the name, address, dates of employment for each employer
 you had during the last ten (10) years. With respect to each employer for each of the last ten
 (10) years, state your yearly gross income, yearly net income, and the name and address of the
 person, firm or corporation having custody of any papers pertaining to your income.

        Answer to Interrogatory No. 16:      The Plaintiff's employment history is as follows:

        MVM
        Security Guard
        June 2018 — Present

        Blueline Security Services
        851 Brightseat Rd
        Landover, MD 20785
        Supervisor
        November 2017- April 2018

        VMG Resources
        Front Desk Agent
        2630 12th St NE
        Washington, DC 20018
        February 2014 — July2014

        Little Imaginations Development Center
        April 2013 — June 2013

        Aloft Hotel
        Hanover, MD
        Front Desk
        Feb 2013 — May 2013

        George Washington Hospital
        Special Police Officer
        November 2011 — 2013

        City Security
        Security Officer, Howard University
        September 2010 — 2012

        Server/Hostess
        Caribbean Breeze
        Arlington, VA
        2007 — 2009

        Interrogatory No. 17:    If you have lost any time from employment as a result of the
 occurrence for which this suit is brought, state the name and address of all employers from


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 which time was lost, the period of time lost from each such employer, and the hourly rate and
 total income lost from all such periods from each such employer.

        Answer to Interrogator► No. 17:             None at this time.      This answer will be

 supplemented as discovery proceeds.


         Interrogatory No. 18:     State whether you contend you will lose any future earnings
 and/ or income as a result of the occurrence referred to in your Complaint. If so, state the basis
 for your contention and if any doctor or other expert has expressed such an opinion state their
 name, address, and the date and circumstances when you were informed that you would lose
 future income.

        Answer to Interrogatory No. 18:             None at this time.      This answer will be

 supplemented as discovery proceeds.


        Interrogatory No. 19:      If you contend that a previous injury or condition was
 aggravated by the occurrence for which this suit is brought, describe such condition and give
 the names and addresses of all persons or institutions who treated you therefore and the
 approximate dates of such treatment.

        Answer to Interrogatory No. 19: This Plaintiff does not so contend at this time. This

 answer will be supplemented as discovery proceeds.


          Interrogatory No. 20: If you have ever used any drugs or medications in connection
 with any injury which you claim was caused by the occurrence for which this suit is brought,
 state for each drug or medication the name and address of the doctor who prescribed it, the
 inclusive dates on which it was taken, the dosage, the number of times taken daily, and the
 cost of such medication or drugs. And if you have received any mental healthcare, counseling,
 or other healthcare services which you claim was caused by the occurrence for which this suit
 is brought, state for each drug or medication the name and address of the doctor who prescribed
 it, the inclusive dates on which it was taken, the dosage, the number of times taken daily, and
 the cost of such services

        Answer to Interrogatory No. 20: This Plaintiff does not so contend at this time. This

 answer will be supplemented as discovery proceeds.


       Interrogatory No. 21: For each conversation that you have had with any Defendant or
 anyone you contend was acting as an agent, servant, or employee of any Defendant, or with Dr.

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 Akoda relating to the facts relevant to your injury claims, state: the date of the conversation,
 where the conversation took place, the name, address, and telephone number of every person
 present during each conversation and as precisely as possible recount what each person to the
 conversation said.

         Answer to Interrogatory No. 21: This Plaintiff had multiple conversations with many

 health care providers at the Defendant's institution during her labor and delivery. It is unduly

 burdensome and overly broad to request that this Plaintiff reconstruct each of those

 conversations. This Plaintiff refers to conversations memorialized in her medical records from

 the Defendant's institution. Some but not all conversations would have been documented in

 the medical records, which are in the possession, custody and/or control of the Defendants. At

 all times, the Defendant's agents, servants and employees led this Plaintiff to believe that Akoda

 was indeed a physician. At no time did this Defendant's agents, servants and employees

 provide notice that Akoda was not a Maryland licensed or hospital credentialed physician. This

 answer will be supplemented as discovery proceeds, including through the deposition testimony

 of the Plaintiff.

         Interrogatory No. 22:    State all economic losses you contend were sustained as a
 result of the occurrence referenced in the Complaint, including all past and future medical
 expenses and any past or future lost wages/ diminished earnings capacity.

         Answer to Interrogatory No. 22: This Plaintiff incorporates Answer to Interrogatory

 No. 11. This answer will be supplemented as discovery proceeds.

         Interrogatory No. 23:      State the name, address, home telephone number, work
 telephone number and occupation of each person not previously mentioned, who has or claims
 to have personal knowledge of the occurrence, injuries, damages, or any other facts relevant to
 this case.

         Answer to Interrogatory No. 23:         This Plaintiff's family and treating health care

 providers may have personal knowledge of her care and treatment by Akoda, as well as her




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 current injuries. This Plaintiff refers to her medical records which are in the Defendant's

 possession, custody and control. This answer will be supplemented as discovery proceeds.

         Interrogatory No. 24: State whether you have entered into any settlements, releases,
 loan receipt agreements or similar agreement in connection with the occurrence for injuries for
 which this suit is brought. If your answer is in the affirmative, state the identities of all parties
 and dates of all releases, settlements, loan receipt agreements, or similar agreement, the terms
 of all such agreements, and if you will do so without a Request for Production of Documents,
 attach a copy hereto of all such releases, settlements or agreements.

         Answer to Interroatonr No. 24:          None known. This answer will be supplemented

 as discovery proceeds.


         Interrogatory No. 25: Identify in detail every service or interaction you contend was
 negligently provided or undertaken by Dr. Akoda, including the number and description of the
 interactions or services rendered, the dates of said services or interactions, the location of said
 services or interactions, whether and what surgical treatment was rendered, whether the care
 involved touching, whether the care involved "penetration," whether and how the care
 involved "boundary violations," whether there was a physical examination and if so the
 details of the examination(s), whether the care involved breast exam or pelvic exam, any testing
 you contend was improperly provided, whether you contend Dr. Akoda made inappropriate
 statements, and whether Dr. Akoda delivered your child/ children, and if so, whether delivery
 was vaginally or by caesarean section delivery.

         Answer to Interrogatory No. 25:         This Plaintiff contends that all care and treatment

 provided by Akoda was negligent, including but not limited to, the fact that he was not an

 appropriately licensed and credentialed physician.         She describes Akoda's demeanor as

 flirtatious, and during one examination, told the Plaintiff that she had "nice breasts." He

 oversaw aspects of Plaintiff's prenatal, oversaw her labor care, performed intrusive pelvic

 examinations, breast exams, and her child's delivery.            He was not properly licensed,

 credentialed or qualified to provide any of this case. This Plaintiff would never have exposed

 herself or her child to a non-health care provider had she been appropriately advised that he

 was not a validly licensed or credentialed physician. This answer will be supplemented as

 discovery proceeds.

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          Interrogatory No. 26:    Identify in detail any and all physical pain and/ or disability
 you allege the Defendants' actions caused you, including the date on which it occurred or began,
 whether it is ongoing, and describe any and all care or treatment you have sought or received
 for it, including the dates on which you received care, by whom, and a description of the care
 received.

        Answer to Interrogatory No. 26: This Plaintiff incorporates Answer to Interrogatory

 No. 11. This answer will be supplemented as discovery proceeds.

         Interrogatory No. 27: Identify in detail any psychological distress, emotional anguish
 or distress, fear, anxiety, humiliation, embarrassment or other mental or emotional injuries you
 allege Defendants' and/or Dr. Akoda's actions caused you, including the date on which it
 occurred or began, whether it is ongoing, whether and if so, what physical manifestations you
 or anyone else to your knowledge has observed, and any and all care, treatment, therapy and/
 or psychological counseling you have sought or received for it, including any, the dates on
 which you received care, by whom, and a description of the care received.

        Answer to Interrogatory No. 27: This Plaintiff incorporates Answer to Interrogatory

 No. 11. This answer will be supplemented as discovery proceeds.

         Interrogatory No. 27 (28):   State in detail the factual basis for your negligent
 entrustment action against Defendants, including what was entrusted to Dr. Akoda, by whom,
 whether you contend he used the entrusted items improperly apart from your allegation he was
 practicing without a valid license, whether and how Dr. Akoda negligently used or operated
 entrusted items, and whether and how you were injured by the entrusted items.

        Answer to Interrogatory No. 27 (28):        The Defendant is referred to the Plaintiff's

 Complaint, as well as Complaints filed on behalf of other patients of Charles Akoda, including

 Case Nos. CALI 8-07863; CALI 7-22761; and 8:17-cv-03106-TDC, and Akoda's criminal

 indictment, Case No. 8:16-cr-00277-PWG in the United States District Court of the District of

 Maryland, Southern District. The Defendant is further referred to the Plaintiffs Answers to

 Interrogatories No. 2, 6 and 7.

         This Plaintiffs entire labor and delivery, including access to the hospital's equipment

 and facilities was negligently entrusted by this Defendant to Akoda, who the Defendant knew

 or should have known was not a properly licensed or credentialed physician. He should not



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 have managed the labor, conducted intrusive pelvic examinations or performed this Plaintiff's

 vaginal delivery.

        This answer will be supplemented as discovery proceeds.

         Interrogatory No. 28 (29):      Identify with specific detail each and every risk,
 alternative, benefit, or other information you contend Defendants, Dr. Akoda and/ or any other
 person or entity was required to provide to you but did not provide to you in connection with
 the informed consent process relating to the care and treatment you received, who you contend
 was required to provide such information, and the details of the information you contend was
 actually provided to you, by whom, when, and where with relation to informed consent process
 for care rendered by Dr. Akoda.

        Answer to Interrogatory No. 28 (29):        It is alleged that Akoda, as well as the duly

 authorized agents, apparent agents, servants and/or employees of the Defendants failed to

 inform the Plaintiff that Akoda had no valid or lawful medical license with which to practice

 medicine or surgery -- in continuing violation of the standards of care.

        It is alleged that the Plaintiff, as well as any reasonable and prudent individuals, would

 have refused consent to Akoda's practice of medicine and/or surgery, including any treatment

 and/or surgery involving them and her child. It is alleged that had Akoda or the duly authorized

 agents, apparent agents, servants and/or employees of the Defendants properly requested

 informed consent to practice medicine or surgery on the Plaintiff with no valid medical license,

 the Plaintiff, as well as other reasonable and prudent individuals similarly situated would have

 refused. It is alleged that had the Plaintiff known of Akoda's background and the fact that he

 had no lawful medical license, she would have refused any and all treatment, and all of the

 injuries, damages (both economic and non-economic) and the disability suffered by the Plaintiff

 in the past, present and future would have been avoided.

        Additionally, the Defendant is referred to Plaintiff's Answers to Interrogatories Nos. 2,

 6, 7 and 21. This answer will be supplemented as discovery proceeds.



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         Interrogatory No. 29 (30):       Identify with specific detail each and every action you
 contend Defendants and/or Dr. Akoda made that was extreme or outrageous as the basis of your
 intentional infliction of emotional distress claim, including the date and location of any alleged
 action(s), any and all witnesses to the action(s), a detailed description of the action(s), and
 whether you contend Defendants and/ or Dr. Akoda intended by the action(s) to cause severe
 emotional distress, and if so, provide your factual basis for that contention.

        Answer to Interrogatory No. 29 (30):            The Plaintiff alleges that Akoda's conduct

 was intentional and/or reckless when he continued to practice medicine and surgery without a

 lawful license, without authorization and informed consent. It is asserted that Akoda's conduct

 involved was extreme, outrageous and unreasonable, and occurred when he acted as a duly

 authorized agent, apparent agent, servant and/or employee of the Defendants. As a result, the

 Claimants, and others similarly situated, sustained severe emotional distress.

        The Defendant is further referred to the Plaintiff's Complaint, as well as Complaints

 filed on behalf of other patients of Charles Akoda, including Case Nos. CAL18-07863; CAL17-

 22761; and 8:17-cv-03106-TDC, and Akoda's criminal indictment, Case No. 8:16-cr-00277-

 PWG in the United States District Court of the District of Maryland, Southern District. The

 Defendant is further referred to the Plaintiff's Answers to Interrogatories No. 2, 6 and 7.

         This answer will be supplemented as discovery proceeds.

         Interrogatory No. 30 (31):     Identify with specific detail each and every privacy you
 contend Defendants, Dr. Akoda, and/ or any other person or entity intruded upon, the dates of
 the intrusion, the manner of the intrusion, who intruded, when and how you became aware of
 the intrusion, and any witnesses to the intrusion.

         Answer to Interrogatory No. 30 (31):       This Plaintiff objects to this Interrogatory, as

 it exceeds the number of interrogatories the Defendant may propound within the Maryland

 Rules of Discovery. Without waiving this objection, this Plaintiff hereby incorporates Answers

 to Interrogatories Nos. 25, 27, 28 (29) and 29 (30).




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        I solemnly affirm under the penalties of perjury that the contents of the foregoing

 paper are true to the best of my knowledge, information, and belief.


  -Nit, ?pwbe-0
 Elsa Powell


                                                  Respectfully submitted,




                                                  Jo athan Schochor
                                                  Sc ochor, Federico and Staton. P.A.
                                                  1211 St. Paul Street
                                                  Baltimore, MD 21202
                                                  pfederico@sfspa.com
                                                  410-234-1000
                                                  Attorneys for the Plaintiff




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                Exhibit 63




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                                   Gladys S. Fenichel, MD
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                                     Ardmore, PA 19003
                                FenichelMD@FenichelMD.com
                                        (610) 649-8940
                                     FAX (610) 649-5071


September 23, 2019

Elisa P. McEnroe
Morgan, Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103-2921

RE: Elsa M. Powell et al. v. Educational Commission for Foreign Medical Graduates

Dear Ms. McEnroe:

On September 10, 2019, I had the opportunity to see Elsa Powell for an independent psychiatric
evaluation. The evaluation was requested to comment on Ms. Powell’s psychiatric condition in
relation to the Complaint in Elsa M. Powell et al. v. Educational Commission for Foreign Medical
Graduates.

At the start of the evaluation, I discussed with Ms. Powell that the evaluation was not for purposes
of treatment and it was not a confidential examination. I discussed with Ms. Powell that I would
prepare a report based on psychiatric evaluation and review of records.

In preparation for this report, I have reviewed the following records:

1. Medical Records: Plaintiffs0000000572 – Plaintiffs0000000929; Plaintiffs0000006174 –
    Plaintiffs0000006363; Plaintiffs0000118377 – Plaintiffs0000118653
2. Complaint in Russell et al. v. ECFMG
3. Elsa Powell’s Answers to First Set of Interrogatories and Responses to First Set of Requests
    for Production of Documents (3/28/2019)
4. Elsa Powell’s Supplemental Answers to First Set of Interrogatories and Responses to First
    Set of Requests for Production of Documents (6/17/2019)
5. Deposition of Elsa Powell (9/6/2019)
6. Class Action Complaint in Dews v. Dimensions Health, CAL 17-34091 (11/22/2017)
7. Elsa Powell’s Answers to Interrogatories of Defendant Dimensions Healthcare Corporation
    D/B/A/ Prince George’s Hospital Center (7/10/2018)
8. Deposition of Elsa Powell in CAL 17-22761, CAL 17-37091, and CAL 18-07863
    (3/28/2019)
9. Summary of Preliminary Psychiatric Interviews by Susan J. Fiester, M.D. (11/26/2018)
10. Expert Report of Jennifer L. Payne, M.D. (5/13/2019)




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HISTORY REPORTED BY ELSA POWELL:

Elsa Powell (date of birth           ) said that she understood that the examination was requested,
“To see my state of mind with this situation.” I asked Ms. Powell to explain the “situation.”
Ms. Powell said that she had a doctor whom she understood to be somebody other than who he
was. Ms. Powell said the doctor had fake names and Social Security numbers. Ms. Powell said
that it hurt her because she had trusted him. Ms. Powell said that she does not know his name and
he was not Dr. Akoda. Ms. Powell said she knew him as Dr. Akoda and that was not his real name.
She said that she has felt betrayed. Ms. Powell said that she does not know who this person was
whom she allowed to examine her body and deliver her child. Ms. Powell said that she had
complications with the childbirth, and Dr. Akoda did surgery. Ms. Powell said that she thanks
God that she did not pass away. Ms. Powell said that she just feels really mad because he was not
locked up. Ms. Powell said she questions who allowed him to practice with fake names, and she
believes that someone should be responsible. Ms. Powell said that she believes that she was one
of Dr. Akoda’s “victims” because he lied about who he was and he touched “our body parts.”
Ms. Powell said that it is hard to explain, but she felt shocked. She repeated that she feels angry.
Ms. Powell acknowledged that there are moments when she is okay. She said that she has put her
feelings aside in relation to her anger. She said that she has not talked to anybody about her
feelings because “everybody depends on me.”

Ms. Powell said a friend called her and told her that Dr. Akoda was not really Dr. Akoda.
Ms. Powell said that she then heard the story on the news about Dr. Akoda. Ms. Powell said that
her friend told her to call a particular number to talk to attorneys. Ms. Powell said that she was
told that his credentials were fake. She said that she feels bad that she did not check Dr. Akoda’s
credentials. She said that he preyed on innocent woman. She said that this is more than nothing.

Ms. Powell said that she was very focused on delivering a healthy baby, and Dr. Akoda did deliver
a healthy baby. Ms. Powell said she is not knocking what he did as a doctor, but he lied to all of
these vulnerable women. Ms. Powell said that she views him as a predator, and she said that the
women were his target. Ms. Powell said that she has never read anything about the doctor’s
training, but she said he had a fake Social Security number and a fake name. She said that he did
a very serious procedure and that she questions whether he lied about the procedure. She said he
is a fraud to her and that he did not have any respect for “[m]e and all the patients he saw.” She
said that no one wants to feel that she is lied to. She repeated that Dr. Akoda had examined her
body and that she trusted him.

Ms. Powell said Dr. Chaudhry was supposed to be her doctor, but she never saw Dr. Chaudhry;
she saw Dr. Akoda. She said that she saw Dr. Akoda first when she was 5½ to 6 months pregnant.
Ms. Powell said that her pregnancy was not a high-risk pregnancy. She said that she has had low
iron since she was 16. She said that the last appointment with Dr. Akoda was at her six-week
checkup after Jaiden was born.

Ms. Powell said that after she had Jaiden, she was bleeding a lot. She said that she was not married
to Jaiden’s father, who is now her husband. Ms. Powell said that she was alone in the hospital.
Ms. Powell said she was rushed to the operating room. She recalled that she was told to count




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backwards from five and when she woke up, there were tubes everywhere. She recalled that she
was crying. Ms. Powell said that she saw Dr. Akoda the day after the surgery and that he told her
to take iron pills. She said Dr. Chaudhary came in the second day post-op.

Ms. Powell said that there were no complications in regard to Jaiden. She reported that he was a
healthy boy who weighed 8 pounds, 5 ounces, and that the complications were after Jaiden’s
delivery. Ms. Powell said that she saw Dr. Akoda for her six-week checkup. He told her she had
an ovarian cyst. She said he did a procedure in the office.

Ms. Powell said that she thought Dr. Akoda was very flirtatious. Ms. Powell said that she
requested that a nurse be present when he did examinations. Ms. Powell said that he made
comments about her breasts. She recalled that she spoke to a nurse about Dr. Akoda, but she did
not make any formal complaint.

Ms. Powell said that when Jaiden was about four or five months old, she moved, her health
insurance changed, and she was pregnant with her fifth child, Tatiana. She said that she had a
different doctor and a different hospital for the delivery of Tatiana. She reported that Tatiana was
born with an enlarged kidney. Ms. Powell said that she knew before the delivery from ultrasounds
that Tatiana had a kidney problem. She reported that Tatiana had surgery before she was one year
old and needs ultrasounds once a year.

Ms. Powell said that her oldest child, Lucy Mercedes, is 14 years old; her second child, Nester, is
13 years old; and her third child is Josiah Rodriguez. She said that Josiah’s father is career military
and lives in North Carolina. Ms. Powell said that “Powell” is her married name. She said that she
was not married to Mr. Powell when Jaiden was born and again, he was not at the delivery. Ms.
Powell said that Jaiden and Tatiana have the same father.

Ms. Powell said that she works full time for a security company at the National Institutes of Health.
She said that she works from 9 p.m. to 5 a.m. She said that her husband is a police officer, and his
current shift is 11:30 p.m. to 7:30 a.m. Ms. Powell said that she is home in the morning with her
four older children before they go to school and that Tatiana is home with her all day.

Ms. Powell described herself as independent and a great, great mother. She said that she is strict.
Ms. Powell said she works hard and that her main concern is her children. Ms. Powell said that
she is a loner and is not the type of person who chills with friends. She said that she just enjoys
spending time home with her children. Ms. Powell said that she is very caring, likes to help people,
and will give a person the shirt off of her back.

Ms. Powell described her mood as up and down. She said that she is not depressed but she is not
one to talk too much about her feelings. Ms. Powell said that she does not sleep very much because
of her work schedule and taking care of her kids. She said that in her opinion, a good night’s sleep
would be four hours. She said that she is 5 feet, 4 inches tall and that her weight is up and down,
ranging from 180 pounds to 204 pounds. She said her concentration is good. She said that she
enjoys her family, sleep, and time with her husband. She denied suicidal ideation. She denied the
experience of anxiety attacks.




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Ms. Powell said that she has never been evaluated or had treatment with a psychiatrist or
psychologist. Ms. Powell said that she has an appointment scheduled through her attorney for a
psychiatric evaluation on September 13, 2019. Ms. Powell denied a history of drug use or alcohol
abuse. She denied a history of physical, mental, or sexual abuse.

MEDICAL HISTORY:

Ms. Powell said that she has a primary care physician through Kaiser, but she does not go to
doctors’ appointments. She said that she has thalassemia alpha trait. She said that she tries to eat
food high in iron and takes iron pills. She said that she does not see a hematologist.

Ms. Powell said that she has not been evaluated by a gynecologist since her six-week follow-up
appointment after Tatiana was born.

Ms. Powell said that                          in 2010. She said that she was given the wrong
medication at CVS and this caused complications. She acknowledged she did not know she was
pregnant at the time                     Ms. Powell said a doctor had given her pain medication,
but CVS gave her the wrong prescription. She said that she                     the same night that
she got the prescription, and there was a lawsuit related to the wrong prescription, which settled
out of court.

Ms. Powell said that she has recently been evaluated at urgent care for pain in her left side. She
said that she had an enlarged spleen. Ms. Powell said that she needs to follow-up about this
problem. She said that she was only diagnosed with thalassemia when she was pregnant with
Tatiana. She said that she had an MRI scheduled through urgent care.

SOCIAL HISTORY:

Ms. Powell said that she grew up in Massachusetts. Her parents split up when she was seven years
old. Ms. Powell said she has three brothers from her mother’s relationship with her father.
Ms. Powell said her mother had three sons in another relationship. She said that she is close to all
of her siblings.

Ms. Powell said that she met Lucy and Nester’s father when he was on vacation in Massachusetts.
She said that she moved in with his family in Virginia. Ms. Powell said that she received her high
school diploma in 2005 when she was living with Lucy and Nester’s father’s family. She said that
she left Nester and Lucy’s father because he was cheating. Ms. Powell said that she returned to
Massachusetts for about a year, but the kids’ father wanted to see them, and she moved back to
Virginia. Ms. Powell said that she met Josiah’s father in Virginia when she was working as a
waitress. She said that she returned to Virginia and worked two jobs while she was in school. She
said that Josiah’s father was in the military, and when he had orders to go to Alaska, they ended
the relationship. Ms. Powell said that she met her current husband at the local firehouse where he
was her training lieutenant. She said that her husband regrets that he was not at Jaiden’s delivery.




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Ms. Powell described a traumatic event in 2009 or 2010. She began to cry. She said that she lived
in a house with two apartments, and the whole house burned down. She said that she lost
everything except her passport and $200. Ms. Powell was in school at the time at Everest College,
and she was studying Homeland Security. She said she believes that God saved her life. She said
she did not see a psychiatrist or psychologist, and she repeated that she is not one who likes to talk
about feelings. Ms. Powell said people describe her as a brick wall, including her husband, her
family, and coworkers.

Ms. Powell said she stopped school in 2013, and it would only take two months to finish her degree
at Kaplan. She said she does not want to work for Homeland Security now. She said she is
planning to take classes in Maryland to receive certification to work as an interpreter in the
courthouse. She would like to work in Virginia. Ms. Powell said that there is a high population of
Hispanics in Virginia and she will be able to earn $40 to $60 an hour.

Ms. Powell said that she was in a minor motor vehicle accident when she was pregnant with Jaiden.
She said that it was a love tap really. She said no one was hurt. She said she hit the other car, and
she was sued.

Ms. Powell denied a family history of psychiatric disorders or substance abuse.

MENTAL STATUS EXAMINATION:

Mental status examination revealed a casually groomed 32-year-old woman. Her speech was goal-
directed and spontaneous. She easily established rapport.

Ms. Powell described her mood stating that she feels just really mad when she thinks about her
experiences with Dr. Akoda. In general, she is happy with her family. She said that she is not
depressed. She said she is not one who talks much about her feelings. Her affect was full and
appropriate to content. She cried during the evaluation when she talked about the house fire and
losing everything except her passport and $200. She said, “I’m a tough cookie.”

Ms. Powell denied the experience of anxiety attacks.

Memory and intelligence were grossly within normal limits.

REVIEW OF RECORDS:

I have reviewed the records identified at the start of the report. At this time there are no medical
records related to psychiatric complaints or treatment, and as such I will not comment on a review
of any records.




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                                                                           RE: Elsa Powell
                                                                                    Page 6
SUMMARY AND IMPRESSION:

It is my opinion that Ms. Powell does not have any psychiatric disorder causally related to Ms.
Powell’s allegations in the Complaint. The conclusion is based on the following facts:

       1. Ms. Powell did not present with symptoms compatible with any psychiatric diagnosis.
       2. Ms. Powell does not have a history of any psychiatric/psychological treatment in
          relation to the issues in the Complaint or related to other stressors that she reported.
       3. Ms. Powell is doing well with her marriage, children, and job, and she has clear plans
          for the future in regard to her career.
       4. Ms. Powell said that she had no complaints about the doctor’s treatment during
          delivery, surgery after delivery, or the post-delivery checkup.

It is my opinion there is no indication for psychiatric or psychological treatment for Ms. Powell in
relation to the issues in the Complaint. Although Ms. Powell testified that she almost lost her life
because of a fake doctor whom she thought was a doctor, Ms. Powell said during the evaluation
that Dr. Akoda delivered a healthy baby. She had a procedure after Jaiden was born, and there
were no complications from that procedure. She saw Dr. Akoda for a visit after Jaiden was born,
and Dr. Akoda did another procedure. Ms. Powell did not have any complications or complaints
about the medical treatment.

It is my opinion Ms. Powell did not present with symptoms compatible with any psychiatric
diagnosis. Ms. Powell described herself as independent and a great, great mother. She works
hard. Her main concern is her children, and she said her children are doing well. She has a steady
job and she is also planning to receive certification to work as an interpreter in the Virginia court
system. She has done the research and there is a large Hispanic population in the area where she
plans to work. It is my opinion there is no indication for psychiatric or psychological treatment
for Ms. Powell in relation to the allegations in the Complaint.

The opinions noted in this report have been stated within a reasonable degree of medical certainty.
I reserve the right to supplement this report if additional records become available for review.

Sincerely,


 )&--,- P 2i-                 r`l
Gladys S. Fenichel, MD

GSF/dmb




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                 Exhibit 64




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                             Jasmine Riggins

 1                   IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4    --------------------------------
 5    MONIQUE RUSSELL, JASMINE
      RIGGINS, ELSA M. POWELL, and
 6    DESIRE EVANS,
                        Plaintiffs,                 Case No. 18-5629
 7              v.
      EDUCATIONAL COMMISSION FOR
 8    FOREIGN MEDICAL GRADUATES,
                        Defendants.
 9    --------------------------------
10                                Washington, D.C.
11                          Friday, September 12, 2019
12                   Deposition of JASMINE RIGGINS, a witness
13     herein, called for examination by counsel for the
14     Defendant in the above-entitled matter, pursuant
15     to notice, the witness being duly sworn by Barbara
16     DeVico, a Notary Public in and for the District of
17     Columbia, taken at the offices of MORGAN, LEWIS &
18     BOCKIUS, LLP, 1111 Pennsylvania Avenue,
19     Washington, D.C., at 11:33 a.m.,
20     Thursday,September 12, 2019, and the proceedings
21     being taken down by Stenotype by BARBARA De VICO,
22     CRR, RMR, and transcribed under her direction.
23

24

25

Golkow Litigation Services                                           JA3562
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                             Jasmine Riggins

 1    APPEARANCES:
 2        On Behalf of the Plaintiffs

 3              CORY L. ZAJDEL, ESQUIRE

 4              Z LAW, LLC
 5              2345 York Road, #B-13
 6              Timonium, MD         21093
 7

 8        On behalf of the Defendant:

 9              BRIAN W. SHAFFER, ESQUIRE
10              MORGAN, LEWIS & BOCKIUS, LLP
11              1701 Market Street
12              Philadelphia, PA          19103-2921

13              brian.shaffer@morganlewis.com

14

15

16

17    Also Present:        Nam Ngo, Videographer

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 1                             P R O C E E D I N G S
 2                            THE VIDEOGRAPHER:         This is the

 3                  start of the videotaped deposition of

 4                  Jasmine Riggins in the matter of Monique
 5                  Russell et al. versus Educational
 6                  Commission for Foreign Medical Graduates
 7                  in the United States District Court for

 8                  the Eastern District of Pennsylvania.

 9                            This deposition is being held at
10                  Morgan Lewis, 1111 Pennsylvania Avenue, NW
11                  about, Washington, D.C. on September 12,
12                  2019, at approximately 11:34 a.m.

13                            My name is Nam Ngo from Golkow

14                  Litigation Services, and I'm the legal
15                  video specialist.         The court reporter is
16                  Barbara DeVico.         Would counsel please
17                  introduce yourself.

18                                    (Attorneys stated their

19                            appearances for the record.)

20                            THE VIDEOGRAPHER:         Would the court
21                  reporter please swear in the witness.
22                            ***********************

23

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 1                                 JASMINE RIGGINS,
 2    having been called as a witness on behalf of the

 3     Plaintiffs and having been first duly sworn, was

 4     examined and testified as follows:
 5    EXAMINATION BY
 6    MR. SHAFFER:
 7               Q.        Ms. Riggins, good morning.

 8               A.        Good morning.

 9               Q.        We met very briefly this morning.
10    My name is Brian Shaffer.             I'm an attorney that
11    represents the defendant in a lawsuit that you and
12    several other plaintiffs have brought.                  My client

13    is the Educational Commission for Foreign Medical

14    Graduates, ECFMG.          Do you understand that if I call
15    it ECFMG what we're referring to?
16               A.        Yes.
17               Q.        Great.     We're here to take your

18    deposition in connection with the lawsuit that you

19    filed in Pennsylvania against ECFMG, correct?

20               A.        Correct.
21               Q.        And have you had your deposition
22    taken before?

23               A.        Yes.

24               Q.        How many times?
25               A.        Once.

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 1               Q.        And was that earlier this year?
 2               A.        Yes.

 3               Q.        Okay.     Was that in connection with

 4    another lawsuit that you filed?
 5               A.        Yes.
 6               Q.        And was that a lawsuit that was
 7    filed in Maryland against Dimensions Healthcare?

 8               A.        Yes.

 9               Q.        And that's the only deposition
10    you've ever given besides this one?
11               A.        Correct.
12               Q.        Okay.     A few ground rules just to

13    remind you about how a deposition works.

14               The oath that you gave this morning is the
15    same one that you would give in a courtroom before
16    a judge and a jury.
17               Do you understand that?

18               A.        Yes.

19               Q.        And we're here to ask you some

20    questions and get your best answer and
21    understanding as to those questions.
22               Do you understand that?

23               A.        Yes.

24               Q.        If I ask a question and you don't
25    understand what I'm asking, will you tell me that?

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 1               A.        Yes.
 2               Q.        And I'll be happy to try to correct

 3    it.    That's what I want you to tell me.

 4               A.        Okay.
 5               Q.        If you don't hear me, the court
 6    reporter can read the question back or I'll repeat
 7    the question for you.           Is that fair?

 8               A.        Sure.

 9               Q.        We're taking your testimony down
10    both by the court reporter here that will come in a
11    little booklet on a page as well as on a videotape.
12               Do you understand that?

13               A.        Yes.

14               Q.        It's important that you speak as
15    loudly and as clear as you can.               We all have little
16    microphones, but it will still be easier for
17    everyone if you try to speak up.               If somebody

18    doesn't hear you, I may ask you to repeat yourself

19    just so everyone can hear you.               Is that okay?

20               A.        Yes.
21               Q.        Same thing, even though on the
22    videotape we might see a nod of the head or a shake

23    of the head, the court reporter can't take that

24    down as clearly, so I may ask you for an audible
25    response.       Again I'm not trying to be difficult.

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 1    I'm just trying to make sure there's no confusion
 2    as to what you meant when you shake your head.

 3               Is that fair?

 4               A.        Yes.
 5               Q.        We'll take a break at any point that
 6    you need to today as long as there's not a question
 7    that's pending.         This isn't an endurance contest.

 8    If you need to take a break for any reason, we'll

 9    do that, okay?
10               A.        Okay.
11               Q.        There are some topics that we may
12    talk about today about your personal health that

13    may be sensitive or uncomfortable, and I apologize

14    for that.       I'm not trying to be intrusive.              But
15    there are certain questions that I may need to ask,
16    and I'm going to try to do that as best I can.                      If
17    you feel uncomfortable about that, will you let me

18    know?

19               A.        Yes.

20               Q.        Thank you.
21               Do you have any questions before we begin
22    the deposition?

23               A.        No.

24               Q.        What did you do to prepare, if
25    anything, for coming in here today?

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 1                A.       Just practiced, talked to my
 2     attorneys.

 3                Q.       Okay.     So you met with your

 4     attorney, Mr. Zajdel, who is here with us this
 5     morning?
 6                A.       Yes.
 7                Q.       How many times did you meet with him

 8     to prepare for the deposition?

 9                A.       Just once.
10                Q.       When was that?
11                A.       No.     Tuesday.     I spoke with Cory,
12     I'm sorry.      Not Cory, David, my apologies.

13                Q.       Okay.

14                A.       I spoke with David on Tuesday.
15                Q.       Okay.     And David is another one of
16     your lawyers?
17                A.       Yes.

18                Q.       So you spoke with David by the

19     telephone on Tuesday?

20                A.       Yes.
21                Q.       Okay.     For how long did you talk to
22     David?

23                A.       Not long.      A few minutes.

24                Q.       Less than 30 minutes?
25                A.       Yes.

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 1                Q.        Did you look at any documents while
 2     you were talking to David?            Did David show you any

 3     documents?

 4                            MR. ZAJDEL:       Objection.      Don't
 5                     answer that.
 6                Q.        I'll rephrase.
 7                Did you look at any documents in connection

 8     with preparing for the deposition?

 9                A.        Yes.
10                Q.        What documents did you look at?
11                A.        My deposition documents.
12                Q.        So your deposition transcript from

13     the Maryland Dimensions case?

14                A.        Yes.
15                Q.        The transcript, the little booklet
16     that had questions and answers, is that what you're
17     referring to?

18                A.        Yes.

19                Q.        When did you review that?

20                A.        A few days ago.
21                Q.        What other documents did you review
22     before coming in to testify today?

23                A.        Just that.

24                Q.        Okay.     Did you do any online
25     Internet research or review before coming in to

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 1     testify today?
 2                A.       Not today.

 3                Q.       Have you done any Internet research

 4     in connection with this lawsuit ever?
 5                A.       Yes.
 6                Q.       When was that?
 7                A.       About a few weeks ago.           It's been

 8     ongoing, different times.

 9                Q.       What did you look at a few weeks ago
10     online in connection with this lawsuit?
11                A.       Just the Akoda case, just about the
12     case and what was going on with him.                Just

13     basically researching him pretty much.

14                Q.       Okay.     So you were, for lack of a
15     better word, Googling Dr. Akoda's name and looking
16     online for information about him?
17                A.       Something like that, yes.

18                Q.       You tell me what you did.              I wasn't

19     there.

20                A.       Well, basically I was just looking
21     at, just looking at the things that were posted
22     years ago.

23                Q.       Okay.

24                A.       About, you know, the fraud, him
25     being a fraud and everything like that.

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 1                Q.       And what kind of things were they?
 2     Were they newspaper articles?

 3                A.       No.

 4                Q.       Were they court filings?
 5                A.       I don't recall.
 6                Q.       Were they -- what do you recall
 7     about what they were?

 8                A.       Just about him being fraudulent.               I

 9     don't really recall word for word.
10                Q.       And you said you looked at those few
11     weeks ago?
12                A.       Uh-huh.

13                Q.       Was that before or after you knew

14     you were going to give a deposition in this case?
15                A.       It was before.
16                Q.       And other than talking with your
17     counsel on Tuesday of this week, did you have any

18     additional conversations with anyone before coming

19     in to testify here today?

20                A.       I've spoken to Monique Russell, but
21     I haven't spoken to her in the past month or so.
22                Q.       When was the last time you spoke

23     with Ms. Russell?

24                A.       I don't recall.        It's been a little
25     while.

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 1                Q.       Would it be more than a month or
 2     less than a month?

 3                A.       A little more than a month.

 4                Q.       Did you ever text with Ms. Russell?
 5                A.       No.
 6                Q.       Did you ever email with Ms. Russell?
 7                A.       I have.

 8                Q.       And when was the last time you

 9     emailed Ms. Russell?
10                A.       The last time I spoke with her.
11                Q.       So the last communication you had
12     with her, more than a month ago, was by email?

13                A.       Yes.

14                Q.       And what was the -- did your
15     communications have anything to do with Dr. Akoda?
16                A.       Yes.
17                Q.       What was the nature of your

18     communications with Ms. Russell about Dr. Akoda?

19                A.       Just about how I felt and how she

20     felt.
21                Q.       Okay.     Was this a communication that
22     she initiated or that you initiated?

23                A.       I initiated it.

24                Q.       And this is something that you have
25     in your emails?

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 1                A.       I should.
 2                Q.       Did you communicate with her through

 3     like a Facebook direct message, or this was direct

 4     message?
 5                A.       Just like a Facebook message.
 6                Q.       And this was a Facebook message in
 7     the last month or so, a little more than a month

 8     ago?

 9                A.       Yes.
10                Q.       Okay.     And have you spoken with
11     Ms. Russell or communicated with Ms. Russell at any
12     time in the last month?

13                A.       No.

14                Q.       Have you spoken with Ms. Russell
15     about your lawsuit against ECFMG?
16                A.       I don't recall.
17                Q.       Did you speak with Ms. Russell about

18     your lawsuit against Dimensions Healthcare in

19     Maryland?

20                A.       Yes.
21                Q.       And what did you and Ms. Russell
22     discuss about the lawsuit against Dimensions

23     Healthcare in Maryland?

24                A.       We just talked about the lawsuit.
25     We didn't really -- I don't recall the full details

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 1     of our conversation.          She was asking me about how I
 2     felt about it.       Just basically about our feelings.

 3                Q.       And this was by email again, or was

 4     this a phone call?
 5                A.       I believe this was a phone call.               I
 6     don't recall.       It could have been an email or phone
 7     call.

 8                Q.       As you sit here today, have you had

 9     discussions with Ms. Russell at any point in time
10     about your lawsuit against ECFMG?
11                A.       I don't recall.
12                Q.       Do you still have a Facebook account

13     where you and Ms. Russell are connected as friends

14     through Facebook?
15                A.       Yes, but I don't have the password.
16     I can't recover the password.
17                Q.       Okay.     How did you communicate with

18     her by Facebook if you couldn't recover the

19     password?

20                A.       It's a messenger app that I had on
21     my old phone, but I have a new phone.
22                Q.       So some time between the last time

23     you communicated with Ms. Russell and today, you no

24     longer have access to the Facebook directory?
25                A.       I can get it, but I don't have

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 1     access at this moment, no.
 2                Q.       But that's something you can get?

 3                A.       Yes.    It's a process you have to go

 4     through.
 5                Q.       At any point in time were you asked
 6     to provide lawyers for ECFMG with any documents you
 7     have related to Dr. Akoda or the lawsuit or your

 8     feelings about Dr. Akoda, anything like that?

 9                            MR. ZAJDEL:       Objection.      Form.
10                     You can answer.
11                A.       So what is your question?
12                Q.       At any point in time after having

13     filed a lawsuit against ECFMG, did you ever become

14     aware of a request by lawyers for ECFMG for any
15     documents that you might have related to Dr. Akoda?
16                            MR. ZAJDEL:       Objection.      That's
17                     attorney-client privilege.

18                            MR. SHAFFER:       I'm not asking for

19                     the substance of the communication.                I'm

20                     asking if she was aware.
21                            MR. ZAJDEL:       I would suggest that
22                     you ask it differently.

23     BY MR. SHAFFER:

24                Q.       Did you ever collect Facebook direct
25     messages, email communications, text messages that

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 1     you might have in your possession related to
 2     Dr. Akoda and give them to anybody?

 3                A.       No.     Did I ever collect it and give

 4     it to anyone?
 5                Q.       Yes.
 6                A.       No.
 7                Q.       Did you ever forward it to anybody

 8     or pull it all together and provide it to anybody?

 9                A.       No.
10                Q.       And I take it you were not asked to
11     do that?
12                A.       No.

13                Q.       And I think as you testified, at

14     least email communications or direct messaging
15     application messages you could still access, you
16     just can't do it while we're sitting here with your
17     new phone; correct?

18                A.       Correct.

19                Q.       Okay.

20                            MR. SHAFFER:       Counsel, I'm going
21                     to make a request for the documents that
22                     are in the possession of Ms. Riggins that

23                     are responsive to our requests for

24                     production of documents which would
25                     include these types of communications and

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 1                     which have not been produced.
 2                            MR. ZAJDEL:       I would suggest that

 3                     you do that in writing so that we can

 4                     respond in writing.
 5     BY MR. SHAFFER:
 6                Q.       Ms. Riggins, in preparing for the
 7     deposition today, you said you reviewed your

 8     deposition transcript from your deposition earlier

 9     this year in the Dimensions Healthcare case;
10     correct?
11                A.       Right.
12                Q.       In reviewing that deposition

13     transcript, did you identify any answers that you

14     gave that you now believe are wrong?
15                A.       I'm not sure.        Can you ask me that
16     again.
17                Q.       In reviewing the transcript, you

18     were under oath like you are today; right?

19                A.       Uh-huh.

20                Q.       You've now had a chance to review
21     that transcript before coming in to testify today.
22     And my question is whether when you read through

23     the transcript this week you said Oh, boy, I made a

24     mistake.        What I testified to wasn't correct in my
25     deposition in the Dimension case.

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 1                A.       No.
 2                Q.       And part of this is to try to save

 3     time today.      So I guess my question having read the

 4     deposition just a few days ago, as you sit here
 5     today do you still believe that everything you
 6     testified earlier this year in the Dimensions
 7     Healthcare deposition is true and accurate to the

 8     best of your ability?

 9                A.       Yes.
10                Q.       I'm going to jump around a little
11     bit then and try to hit on some questions just to
12     make sure I'm correct.          But if I jump around too

13     quickly and you don't follow where I'm going, just

14     let me know because I'm trying to, again, save some
15     time because we won't need to ask every question
16     that was asked in the Dimensions deposition again
17     today, okay?

18                A.       Okay.

19                Q.       Are you currently on any medication?

20                A.       No.
21                Q.       Is there any reason that you can
22     think of sitting here today that you couldn't

23     testify truthfully and to the best of your ability?

24                A.       No.
25                Q.       You mentioned your full name before

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 1     as Jasmine Riggins, correct?
 2                A.       Yes.

 3                Q.       Is your birthday July 4, 1992?

 4                A.       Yes.
 5                Q.       And how old would that make you?
 6                A.       27.
 7                Q.       Are you currently married?

 8                A.       No.

 9                Q.       Do you have any children?
10                A.       Yes.
11                Q.       How many children?
12                A.       Three.

13                Q.       And can you give me their names and

14     their current ages?
15                A.       Santana is 10, Messiah is 10, Taniya
16     will be two next month.
17                Q.       Are Santana and Messiah both boys?

18                A.       Yes.

19                Q.       And Taniya is a girl?

20                A.       Yes.
21                Q.       And earlier this year in your
22     deposition in the Dimensions case you indicated

23     that you were engaged.          Is that status the same, or

24     has it changed?
25                A.       It's the same.

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 1                Q.       What's your current address?
 2                A.       3699 J Street, Apartment 301, N.E.,

 3     Washington, D.C. 20019.

 4                Q.       How long have you lived there?
 5                A.       Almost a year.
 6                Q.       You have a high school GED, is that
 7     right?

 8                A.       Yes.

 9                Q.       Do you have any other subsequent
10     education beyond that?
11                A.       No.
12                Q.       Are you currently employed?

13                A.       Yes.

14                Q.       Where is that?
15                A.       Potbelly Sandwich Shop.
16                Q.       When did you start working there?
17                A.       April of this year.

18                Q.       And you've worked at Potbelly's

19     since April of this year?

20                A.       Yes.
21                Q.       And how many hours a week,
22     approximately, do you work?

23                A.       About 22.      Slower season.

24                Q.       So is this part-time work?
25                A.       Yes.

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 1                Q.       Prior to working at Potbelly
 2     starting earlier this year, had you worked -- had

 3     you worked anywhere else in 2019, or was there a

 4     period of time when you weren't working?
 5                A.       I was working at the Home Depot.
 6                Q.       And how long -- did you leave
 7     directly from Home Depot and go to Potbelly, or was

 8     there a break?

 9                A.       There was about a month break, a
10     month or so.
11                Q.       And again for purposes of trying to
12     speed this up, in the Maryland Dimensions

13     Healthcare litigation you gave some written

14     response to questions.
15                Do you recall having done that?              We call
16     them interrogatories.
17                A.       Yes.

18                Q.       And one of the interrogatories you

19     were asked in that case was to list your prior

20     employment.      And you indicated in that case that
21     you had started working at Home Depot in March of
22     2017.    Does that sound correct?

23                A.       Yes.

24                Q.       And so you worked at Home Depot from
25     March of 2017 to about February or March of 2019?

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 1                A.       Yes.
 2                Q.       And then you started at Potbelly in

 3     April of 2019 and are still working there through

 4     today?
 5                A.       Yes.
 6                Q.       Great.     Prior to working at Home
 7     Depot starting in March of 2017, was there a period

 8     of time before that that you were not working?

 9     Immediately before, I'm looking at the beginning
10     part of 2017.
11                A.       No.    No.
12                Q.       Where were you working when you

13     went, before you went to Home Depot?

14                A.       At Paul Bakery.
15                Q.       Got it.      And how long did you work
16     there, approximately?
17                A.       About almost two years.

18                Q.       And would it be correct then to say

19     that you worked at Paul Bakery from about March of

20     2015 to March of 2017?
21                A.       Yes.
22                Q.       Was there a period of time between

23     Paul Bakery and Home Depot when you weren't

24     working, or did you go right from one to the next?
25                A.       Yes, that's exactly what happened.

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 1     I went from one to the next.
 2                Q.       Again, just to make sure that I'm

 3     not missing anything, before coming in to testify

 4     today, you didn't review the complaint that was
 5     filed against ECFMG in the federal court or the
 6     court in Pennsylvania; correct?
 7                A.       You said I didn't.

 8                Q.       You didn't review that?

 9                A.       Not that I can recall.           I'm sorry.
10     I can't recall.
11                Q.       Okay.     As you sit here today, you
12     don't have a recollection of looking at the

13     complaint that you filed against ECFMG?

14                A.       Oh, yes.      I'm sorry.      I'm sorry.
15     I'm sorry.      I didn't understand what you were
16     asking me.
17                Q.       That's all right.

18                A.       I did receive that -- did I get that

19     in the email?       I believe so.        I'm sorry.

20                Q.       That's okay.       When you say you think
21     you may have received it in an email, who was the
22     email from?

23                A.       I'm sure I've seen it.           I'm sure

24     I've seen it.       Yeah, I'm sure I've seen it.
25                Q.       Do you know when it was filed,

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 1     approximately?
 2                A.       I don't recall.

 3                Q.       Do you know whether it was filed in

 4     2019?    Since January or earlier than that.
 5                A.       I'm sorry, I don't recall.
 6                Q.       Okay.     That's okay.       Again, I'm just
 7     asking for your best understanding and recollection

 8     as you sit here today without guessing.

 9                But I take it that since you can't remember
10     when you might have seen it but you think you did
11     that you didn't review it specifically to come in
12     here today.      Is that correct?

13                A.       That's correct.

14                Q.       And I take it from your earlier
15     answers, but I just want to make sure, that when
16     you said a couple of weeks ago you went online
17     looking at Dr. Akoda information, you didn't go to

18     the ECFMG website, for example; correct?

19                A.       Correct.

20                Q.       Have you ever gone to the ECFMG
21     website?
22                A.       No.

23                Q.       And you've not ever reviewed any of

24     the information that is on the ECFMG website,
25     correct?

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 1                A.       No.
 2                Q.       When was the first time you ever

 3     heard of ECFMG?

 4                A.       From my attorneys.
 5                Q.       Okay.     And approximately when was
 6     that?
 7                A.       I don't recall.

 8                Q.       Is it fair to say that at no point

 9     prior to having spoken with the attorneys that
10     currently represent you that you had ever heard of
11     ECFMG?
12                A.       Repeat that again.

13                Q.       Sure.     Prior to speaking with your

14     current attorneys who are bringing the lawsuit
15     against ECFMG, you had never even heard of ECFMG?
16                A.       That is correct.
17                Q.       Okay.     As you sit here today, what

18     do you know about ECFMG?

19                A.       I know that they're a business who

20     gives foreigners their certificates or give them
21     permission to practice medicine in the United
22     States.

23                Q.       Do you know whether or not ECFMG is

24     a nonprofit organization?
25                A.       I do not.

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 1                Q.       Do you know whether people who apply
 2     to ECFMG could be U.S. citizens or not?

 3                A.       I do not.

 4                Q.       You don't know?
 5                A.       You said -- no, because it's for
 6     foreigners; correct?
 7                Q.       I'm trying to get your

 8     understanding.       So your understanding is that a

 9     U.S. citizen could not apply to ECFMG for
10     certification or any services by ECFMG.                 It's only
11     for foreigners?
12                A.       Correct.

13                Q.       And is it your understanding, I

14     think you said that -- and please correct me
15     because I'm just trying to remember back what you
16     said -- that ECFMG is responsible for certifying
17     you to practice medicine in the United States.                     Is

18     that correct?

19                A.       I believe so.

20                Q.       Okay.     And what is it that you think
21     ECFMG does to certify people to practice medicine
22     in the United States?

23                A.       Give an exam.        I'm not -- give an

24     exam.
25                Q.       Okay.

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 1                A.       Questions, interviews, background
 2     checks.

 3                Q.       Okay.     And your understanding is

 4     that among the things that ECFMG does is do
 5     background checks on foreigners who want to come
 6     and practice medicine in the United States?
 7                A.       Yes.

 8                Q.       And what's the basis for that

 9     understanding?
10                            MR. ZAJDEL:       Objection.      You can
11                     answer.
12                            MR. SHAFFER:       I'll rephrase the

13                     question.

14     BY MR. SHAFFER:
15                Q.       Other than from information told to
16     you by your lawyers, do you have any other source
17     of information of any kind about what ECFMG is,

18     what it does, what it doesn't do, who can apply,

19     who can't apply, what types of things ECFMG

20     requires?
21                Do you have any source of information about
22     any of that other than your lawyers?

23                A.       No.

24                Q.       I'm sorry?
25                A.       No.

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 1                Q.       Okay.     We asked a couple of
 2     questions earlier that referenced, and I think your

 3     answer might have been the first to reference a

 4     Dr. Akoda.
 5                Do you recall mentioning Dr. Akoda?
 6                A.       Not a Dr. Akoda, no.
 7                Q.       You understand that there is an

 8     individual who you saw in connection with one of

 9     the children that you gave birth to, correct?
10                A.       I'm sorry?
11                Q.       Well, I'll rephrase that.
12                So you're not aware of a Dr. Akoda.               You

13     never heard that phrase before?

14                A.       Yes, I've heard that -- I heard that
15     phrase, yes.
16                Q.       Okay.
17                A.       Can I run to the bathroom, please?

18     I'm sorry.       You're in the middle of a question.               My

19     apologies.

20                Q.       You answered the question, which was
21     you've heard reference to a Dr. Akoda.                So we'll
22     take a break and then go ahead to the rest room and

23     then we'll come back.

24                            THE VIDEOGRAPHER:         We are going
25                     off the record.      The time is 11:53 a.m.

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 1                                    (Recess)
 2                            THE VIDEOGRAPHER:         We are back on

 3                     the record.    The time is 11:57 a.m.

 4     BY MR. SHAFFER:
 5                Q.       Okay, Ms. Riggins, we're back on the
 6     record, and we were talking before a quick break
 7     there about an individual named Dr. Akoda, an

 8     individual, and I think you took some issue with

 9     calling him Dr. Akoda.          Why is that?
10                A.       He's not a doctor.
11                Q.       And why do you say that?
12                A.       Because he doesn't have credentials

13     and certifications to be a doctor.

14                Q.       Do you know -- and just so again I
15     want to make sure that we're talking about the same
16     things today so we don't have to go back later on,
17     when we refer to an individual known as Dr. Akoda

18     or the person that you believe is not a doctor

19     about, we're talking about the person that you saw

20     in connection with the birth of your second child;
21     correct?
22                A.       Correct.

23                Q.       And, at the time that you were being

24     seen by him and actually gave birth with him
25     through C-section, correct?

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 1                A.       Correct.
 2                Q.       You understood and knew him to be

 3     Dr. Akoda?      Correct?      I'm sorry.

 4                A.       Correct.
 5                Q.       And since that time you've come to
 6     learn that Dr. Akoda pled guilty to using a
 7     different Social Security number, correct?

 8                A.       Correct.

 9                Q.       Okay.     And so based on that
10     information, it's your belief that the person that
11     you knew as Dr. Akoda is not a doctor?
12                A.       Correct.

13                Q.       Okay.     Do you know whether that

14     individual went to medical school?
15                A.       No, no.
16                Q.       He did not go to medical school?
17                A.       No.

18                Q.       How do you know that?

19                A.       I'm saying no, I don't.

20                Q.       You don't know whether he went?
21                A.       Yeah.
22                Q.       As you sit here today, do you have

23     any information or facts that would allow you to

24     say he didn't go to medical school?
25                A.       The fact that he pled guilty and the

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 1     fact that he had fake credentials.
 2                Q.        Okay.     And the fact that he pled

 3     guilty, he didn't plead guilty to not going to

 4     medical school; correct?
 5                A.        Correct.
 6                Q.        And do you know whether or not
 7     Dr. Akoda's medical school in Nigeria ever verified

 8     the authenticity of his diploma to Educational

 9     Commission?
10                              MR. ZAJDEL:     Objection.      Assumes
11                     facts.     You can answer that question.
12                Q.        Do you know whether or not?

13                A.        No.

14                Q.        Would it surprise you to learn that
15     a medical school in Nigeria verified Dr. Akoda's
16     diploma to ECFMG?
17                              MR. ZAJDEL:     Objection.      Assumes

18                     facts.

19                Q.        You can go ahead and answer.

20                A.        Okay.     You said would it surprise
21     me?
22                Q.        Yes.

23                A.        Yes.

24                Q.        Why is that?
25                A.        Because it would be a surprise to me

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 1     that he had information provided that he's a real
 2     doctor or went to medical school.

 3                Q.       During the time that you were being

 4     treated by Dr. Akoda, you never had any reason to
 5     question whether or not he had gone to medical
 6     school; correct?
 7                A.       When I was being seen by him?              No.

 8     I wouldn't -- had I have known I wouldn't have

 9     chosen him.
10                Q.       And there was nothing about his care
11     and treatment of you in connection with your
12     pregnancy and the birth of Messiah that ever caused

13     you to doubt that he had gone to medical school and

14     was a real medical doctor, correct?
15                A.       You said during my treatment with
16     him, no.
17                Q.       When was it that you first received

18     any information that caused you to question whether

19     the person you had seen, Dr. Akoda, was not a real

20     doctor, as you say?
21                A.       You said when was --
22                Q.       When did you first, first come to

23     have any information where you said everything

24     seemed fine while I was being treated with him but
25     now there's a problem?          When was that?

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 1                A.       Well, there were problems after my
 2     pregnancy, after the delivery, I had issues.

 3                Q.       What were those issues?

 4                A.       Pain, severe pain in my stomach and
 5     my abdominal at work, I would have pain throughout
 6     the day.        And I couldn't have my tubes tied due to
 7     the damaged tissues on my C-section, which caused a

 8     lot of pain.

 9                Q.       And so this is after the birth of
10     Messiah, and Messiah was born by C-section;
11     correct?
12                A.       Correct.

13                Q.       And you said at a later point in

14     time you wanted to have a tubal ligation and were
15     told you couldn't have one?
16                A.       Correct.
17                Q.       And you were told it was because of

18     scarring that was present from earlier C-sections?

19                A.       Correct.

20                Q.       And was that scarring that you say
21     precluded you from having the tubal ligation, that
22     was something you attribute to the C-section

23     Dr. Akoda did?

24                A.       Correct.
25                Q.       And why do -- why do you do that?

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 1                A.       Because it was able to be done
 2     before, but I decided against it.

 3                Q.       When was it able to be done before?

 4                A.       With my first son.
 5                Q.       Do you know whether or not -- and
 6     your first son, Santana; correct?
 7                A.       Correct.

 8                Q.       Was born by C-section, correct?

 9                A.       Correct.
10                Q.       And who was the doctor that you saw
11     for Santana?
12                A.       I don't recall her name.

13                Q.       Was it at Howard University?

14                A.       Correct.
15                Q.       And do you know whether or not there
16     was any scarring that was later identified from the
17     C-section that you received at Howard University?

18                A.       No, there was not.          There wasn't

19     any.

20                Q.       If there had been some, do you think
21     that's the kind of thing that would be shown in
22     medical records of you that would have come later?

23                A.       Could you repeat your question.

24                Q.       Sure.     You told me you don't think
25     there was any scarring from the first C-section,

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 1     correct?
 2                A.       Correct.

 3                Q.       And I take it that that's because

 4     immediately following the C-section you were told
 5     you could have a tubal ligation?
 6                A.       No.     Correct, correct, I'm sorry.
 7                Q.       Okay.     But then after the second,

 8     the birth of your second child and the second

 9     C-section, you were told you couldn't have one?
10                A.       After the third.
11                Q.       After the third?
12                A.       Correct.

13                Q.       And after the third, you were told

14     that there was significant scarring from your other
15     C-section; correct?
16                A.       Correct.
17                Q.       If Dr. Akoda had seen significant

18     scarring at the time that he did the second

19     C-section, that would suggest that that scarring

20     came from the first C-section; right?
21                A.       Correct.
22                Q.       Because scarring doesn't happen

23     overnight.      It takes time to develop.            Correct?

24                A.       Correct.
25                                    (Exhibit 1, medical records,

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 1                            was marked for identification.)
 2                Q.       Ms. Riggins, we're handing you

 3     what's been marked as Riggins-1, which I'll

 4     represent to you is medical records that relate to
 5     your treatment at Prince George Hospital Center in
 6     2013.
 7                Could you take a quick look at that, and

 8     then I'll have some quick questions.

 9                A.       (Witness complies with request.)
10                Q.       Just let me know when you're ready.
11                            MR. ZAJDEL:       Put it on the record
12                     that we reserve the right to make

13                     everything confidential after the

14                     deposition.
15                Q.       I'm not going to ask you about every
16     word, but let me focus on a couple of things here.
17                So Riggins-1 is a document Bates labeled

18     Plaintiff's -2024 and -2025, which again I'll

19     represent to you was produced to us in this case,

20     and it appears to be an operative report for you,
21     Jasmine Riggins.        And it references a date of a
22     procedure on 3/18/2013.

23                Do you see on the top part of the page?

24                A.       Yes.
25                Q.       Did you have a procedure at Prince

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 1     George's County on 3/18/2013?
 2                A.       Yes.

 3                Q.       What did you have?

 4                A.       A C-section.
 5                Q.       That's when Messiah was born?
 6                A.       Yes.
 7                Q.       And you can see that this is a

 8     two-page record signed by Charles Akoda, M.D. --

 9     not signed but his name appears at the end of the
10     document.       Correct?
11                A.       Yes.
12                Q.       And if you look -- well, the top of

13     the page there's a fax server date and time.                   It

14     says, "3/19/2013 at 2:42:42 p.m."
15                Do you see that?
16                A.       Yes.
17                Q.       So does this appear to be a record

18     then that would have been created and sent

19     immediately after your C-section with Messiah in

20     March of 2013?
21                            MR. ZAJDEL:       Objection.
22                A.       Yes.

23                Q.       That's the date you had the

24     C-section, right, 3/18/2013?
25                A.       Yes.

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 1                Q.       If you look at the description here
 2     of what occurred, and it's a little bit technical

 3     in medical terms, but if you look at the findings

 4     at the bottom of page 1.           So flip back to the first
 5     page of it.      Under Findings it says, "Male infant,
 6     encephalic presentation."
 7                Do you see that?

 8                A.       Yes.

 9                Q.       Do you understand that to be
10     Messiah, when he went in to do the C-section,
11     that's the male infant that he saw?
12                A.       Yes.

13                Q.       Okay.     And the next sentence,

14     section of that finding says, "Significant scarring
15     and adhesion formation."
16                Do you see that?
17                A.       Yes.

18                Q.       And so does that indicate that in

19     addition to finding Messiah when he went in to do

20     the C-section, he also saw significant scarring and
21     adhesion formation section?
22                A.       Okay.

23                Q.       Right?

24                A.       Okay, yes.
25                Q.       That's what it says, right?

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 1                A.       Uh-huh.
 2                Q.       I'm sorry.

 3                A.       Yes, yes, yes, yes.          My children,

 4     I'm sorry.
 5                            THE VIDEOGRAPHER:         We are going
 6                     off the record.      The time is 12:11 p.m.
 7                                    (Recess)

 8                            THE VIDEOGRAPHER:         We are back on

 9                     the record.    The time is 12:24 p.m.
10                            MR. SHAFFER:       This is Brian
11                     Shaffer for ECFMG.       We're back on the
12                     record after a short break.

13                            We've had a couple of logistical

14                     issues come up this morning with respect
15                     to Ms. Riggins and her child care, and we
16                     got started a little bit late this morning
17                     due to some travel and traffic issues.

18                     And so we've been talking offline here to

19                     try to solve for those things and make

20                     sure that we get the deposition completed.
21                            And what we've discussed here is
22                     that we will adjourn the deposition today

23                     now with the questions that we've gotten

24                     asked and answered so far.          We will
25                     reconvene on Monday morning, the 16th,

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 1                  here at the same place starting at 9:30,
 2                  and we will pick up with Ms. Riggins'

 3                  deposition at that point in time.

 4                            This is being done as an
 5                  accommodation to schedules and not for any
 6                  other reason, and so for that reason I've
 7                  discussed with both counsel and

 8                  Ms. Riggins the understanding that she'll

 9                  have no substantive discussions with
10                  anyone, including her counsel, any person,
11                  witness, Ms. Russell, anybody else about
12                  the case, about her testimony here today,

13                  her testimony that she'll give on Monday.

14                  It will be as if we were picking up right
15                  now.    Instead we will be picking up Monday
16                  at 9:30.
17                            That will include no text messages,

18                  no, emails.       She also had agreed that

19                  she'll not do any research or go online or

20                  look at any documents or do anything other
21                  than what she came here today prepared to
22                  talk about.

23                            Is that a correct recitation of our

24                  agreement?
25                            MR. ZAJDEL:       Yes.

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                             Jasmine Riggins

 1                            THE WITNESS:       Yes.
 2                            MR. ZAJDEL:       With the exception

 3                  that I'm certainly going to send an email

 4                  with a date and the time to be here on
 5                  Monday.      You said no communication.               I
 6                  just want to make sure, no substantive
 7                  communication about the contents of the

 8                  deposition.       That's agreed.

 9                            MR. SHAFFER:       And then we will
10                  continue with Ms. Riggins' deposition on
11                  Monday at 9:30.         After we complete that
12                  we'll move forward with the other

13                  deposition that's been noticed for 10:30

14                  but that we've agreed will start after
15                  the completion of Ms. Riggins.              Correct?
16                            MR. ZAJDEL:       Yes, and I will take
17                  care of adjusting Ms. Russell to let her

18                  know.

19                            MR. SHAFFER:       I think that is it

20                  for the record here today, and we will
21                  pick back up on Monday.
22                            THE VIDEOGRAPHER:         We are going

23                  off the record.         The time is 12:27 p.m.

24                                    (Proceedings adjourned at
25                            12:26 p.m.)

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                             Jasmine Riggins

 1     DISTRICT OF COLUMBIA:                                 SS
 2           I, Barbara DeVico, a Registered Court Reporter

 3      of the District of Columbia, do hereby certify

 4      that these proceedings took place before me at the
 5      time and place herein set out, and the proceedings
 6      were recorded stenographically by me and this
 7      transcript is a true record of the proceedings.

 8

 9             I further certify that I am not of counsel to
10      any of the parties, nor an employee of counsel nor
11      related to any of the parties, nor in any way
12      interested in the outcome of this action.

13

14

15

16                                    ___________________________
17                                    BARBARA DeVICO, CRR, RMR

18

19     _______________________
20     My Commission Expires:
21     July 31, 2023
22

23

24

25

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                              Jasmine Riggins


· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · FOR THE EASTERN DISTRICT OF PENNSYLVANIA
·
· · · - - - - - - - - - - - - - - - - X
· · · MONIQUE RUSSELL, JASMINE· · · · :
· · · RIGGINS, ELSA M. POWELL· · · · ·:
· · · and DESIRE EVANS,· · · · · · · ·: Civil Action No.
· · · · · · · · · · Plaintiffs,· · · ·:· 18-5629
· · · v.· · · · · · · · · · · · · · · :
· · · EDUCATIONAL COMMISSION FOR· · · :
· · · FOREIGN MEDICAL GRADUATES,· · · :
· · · · · · · · · · Defendant.· · · · :
· · · - - - - - - - - - - - - - - - - X
·
· · · · · · · · · · · · · Volume II
· · ·Continued Videotaped Deposition Of JASMINE RIGGINS
· · · · · · · · · · · Washington, D.C.
· · · · · · · · ·Monday, September 16, 2019
· · · · · · · · · · · · · 9:56 a.m.
·
·
· · · Job No. 88391
· · · Pages:· 44 - 145
· · · Reported by:· Dana C. Ryan, RPR, CRR, CSR (GA)
·

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·1
·2
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·5· · · · · · · · · · · · · · · · · ·September 16, 2019
·6· · · · · · · · · · · · · · · · · ·9:56 a.m.
·7
·8
·9
10· · · · · Continued Videotaped Deposition of JASMINE
11· ·RIGGINS, held at the law offices of Morgan, Lewis
12· ·& Bockius, LLP, 1111 Pennsylvania Avenue,
13· ·Northwest, Washington, D.C., before Dana C. Ryan,
14· ·Registered Professional Reporter, Certified
15· ·Realtime Reporter, Certified Shorthand Reporter
16· ·(GA) and Notary Public in and for the District of
17· ·Columbia.
18
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                              Jasmine Riggins

                                                                         Page 46
·1· · · · · · A P P E A R A N C E S
·2
·3· ·ON BEHALF OF THE PLAINTIFFS:
·4· · · · CORY L. ZAJDEL, Esquire
·5· · · · Z Law, LLC
·6· · · · 2345 York Road, #B-13
·7· · · · Timonium, Maryland 21093
·8· · · · Telephone:· (443) 213-1977
·9· · · · Email: clz@zlawmaryland.com
10
11· ·ON BEHALF OF THE DEFENDANT:
12· · · · BARRY W. SHAFFER, Esquire
13· · · · MATTHEW D. KLAYMAN, Esquire
14· · · · Morgan, Lewis & Bockius, LLP
15· · · · 1701 Market Street
16· · · · Philadelphia, Pennsylvania 19103
17· · · · Telephone: (215) 963-5100
18· · · · Email: barry.shaffer@morganlewis.com
19· · · · Email: matthew.klayman@morganlewis.com
20
21· ·Also present:
22· · · · David Campbell, Videographer
23
24
25

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·1· · · · · · · · · · C O N T E N T S
·2· ·EXAMINATION OF JASMINE RIGGINS:· · · · · · · PAGE:
·3· ·By Mr. Klayman· · · · · · · · · · · · · · · · ·51
·4· ·By Mr. Shaffer· · · · · · · · · · · · · · · · 111
·5
·6
·7
·8· · · · · · · · · · E X H I B I T S
·9· · · · · · ·(Attached to the Transcript)
10· ·RIGGINS DEPOSITION· · · · · · · · · · · · · ·PAGE:
11· ·Exhibit 2· · September 23, 2016 J Unity· · · · 71
12· · · · · · · · Health Care Progress Note
13· · · · · · · · For Jasmine Riggins, Bates
14· · · · · · · · Stamped Plaintiffs0000006408
15· · · · · · · · Through 0000006411
16· ·Exhibit 3· · February 19, 2017 J Unity· · · · ·78
17· · · · · · · · Health Care Progress Note
18· · · · · · · · For Jasmine Riggins, Bates
19· · · · · · · · Stamped Plaintiffs0000007576
20· · · · · · · · Through 0000007579
21
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·2· · · · · · ·(Attached to the Transcript)
·3· ·RIGGINS DEPOSITION· · · · · · · · · · · · · ·PAGE:
·4· ·Exhibit 4· · Plaintiff Jasmine Riggins'· · · · 82
·5· · · · · · · · Supplemental Answers To First
·6· · · · · · · · Set Of Interrogatories And
·7· · · · · · · · Supplemental Responses To
·8· · · · · · · · First Set Of Requests For
·9· · · · · · · · Production Of Documents
10· ·Exhibit 5· · September 7, 2017 J Unity· · · · ·87
11· · · · · · · · Health Care Progress Note
12· · · · · · · · For Jasmine Riggins, Bates
13· · · · · · · · Stamped Plaintiffs0000006442
14· · · · · · · · Through 0000006444
15· ·Exhibit 6· · October 13, 2017 J Unity· · · · · 90
16· · · · · · · · Health Care Progress Note
17· · · · · · · · For Jasmine Riggins, Bates
18· · · · · · · · Stamped Plaintiffs0000006478
19· · · · · · · · Through 000000479
20· ·Exhibit 7· · Class Action Complaint· · · · · · 95
21· ·Exhibit 8· · November 9, 2017 J Unity· · · · · 96
22· · · · · · · · Health Care Progress Note
23· · · · · · · · For Jasmine Riggins, Bates
24· · · · · · · · Stamped Plaintiffs0000006480
25· · · · · · · · Through 0000006482

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·1· · · · · E X H I B I T S· C O N T I N U E D
·2· · · · · · ·(Attached to the Transcript)
·3· ·RIGGINS DEPOSITION· · · · · · · · · · · · · ·PAGE:
·4· ·Exhibit 9· · Complaint Filed To Initiate· · · 101
·5· · · · · · · · The Lawsuit On November 14,
·6· · · · · · · · 2018
·7· ·Exhibit 10· ·April 18, 2019 J Unity· · · · · ·103
·8· · · · · · · · Health Care Progress Note
·9· · · · · · · · For Jasmine Riggins, Bates
10· · · · · · · · Stamped Plaintiffs0000006488
11· · · · · · · · Through 0000006490
12· ·Exhibit 11· ·Plaintiff Jasmine Riggins'· · · ·105
13· · · · · · · · Responses To Defendants'
14· · · · · · · · Requests For Admissions,
15· · · · · · · · Bates Stamped
16· · · · · · · · Plaintiffs0000006513 Through
17· · · · · · · · 0000006537
18· ·Exhibit 12· ·Stipulation Of Dismissal· · · · ·114
19· · · · · · · · Without Prejudice, Bates
20· · · · · · · · Stamped Plaintiffs0000118860
21· · · · · · · · Through 0000118863
22· ·Exhibit 13· ·First Amended Class Action· · · ·120
23· · · · · · · · Complaint
24· ·Exhibit 14· ·Claimants' Certificate Of· · · · 124
25· · · · · · · · Merit

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                                                                         Page 50
·1· · · · · · · · ·P R O C E E D I N G S
·2· · · · · · · THE VIDEOGRAPHER:· We are now on the
·3· ·record.· My name is David Campbell.· I am the
·4· ·videographer for Golkow Litigation Services.
·5· · · · · · · Today's date is September 16th, 2019,
·6· ·and the time is 9:56 a.m.
·7· · · · · · · This video deposition is being held at
·8· ·1111 Pennsylvania Avenue, Northwest, Washington,
·9· ·D.C. 20004, in the matter of Monique Russell, et
10· ·al., versus Educational Commission for Foreign
11· ·Medical Graduates.· This is in the United States
12· ·District Court for the Eastern District of
13· ·Pennsylvania, Number 18-5629.
14· · · · · · · The deponent today is Jasmine Riggins.
15· · · · · · · The court reporter is Dana Ryan.
16· · · · · · · Counsel, will you please identify
17· ·yourselves for the record, and then the court
18· ·reporter will please swear in the witness and we
19· ·can proceed.
20· · · · · · · MR. ZAJDEL:· Cory Zajdel on behalf of
21· ·Ms. Riggins.
22· · · · · · · MR. SHAFFER:· Brian Shaffer on behalf
23· ·of defendant Educational Commission for Foreign
24· ·Medical Graduates.
25· · · · · · · MR. KLAYMAN:· Matthew Klayman, counsel

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                                                                         Page 51
·1· ·for the Educational Commission for Foreign Medical
·2· ·Graduates, the defendant.
·3· · · · · · · (Mr. Shaffer exits the deposition
·4· ·proceedings.)
·5· · · · · · · - - - - - - - - - - - - - -
·6· · · · · · · · · · JASMINE RIGGINS,
·7· ·having been duly sworn, testified as follows:
·8· · · · · · · - - - - - - - - - - - - - -
·9· · · ·EXAMINATION BY COUNSEL FOR THE DEFENDANT
10· · · · BY MR. KLAYMAN:
11· · · · Q· · ·Good morning, Ms. Riggins.
12· · · · A· · ·Good morning.
13· · · · Q· · ·We met a moment ago, but I'm Matthew
14· ·Klayman.· I'm colleagues with Brian Shaffer.· I'm
15· ·going to ask you some questions this morning.
16· · · · A· · ·Okay.
17· · · · Q· · ·We're picking up from a deposition that
18· ·began on Thursday; correct?
19· · · · A· · ·Correct.
20· · · · Q· · ·Now, between Thursday and today, have
21· ·you had any substantive communications about your
22· ·testimony with anybody?
23· · · · A· · ·No.
24· · · · Q· · ·Have you done any independent research
25· ·about the substance of your testimony or the facts

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                              Jasmine Riggins

                                                                         Page 52
·1· ·or circumstances of the case?
·2· · · · A· · ·No.
·3· · · · Q· · ·I understand that on Thursday you were
·4· ·asked about certain communications that you had
·5· ·with Monique Russell.
·6· · · · · · · Do you -- do you remember that?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·Certain written communications.
·9· · · · · · · And I understand that you are -- that
10· ·there was some discussion about you going to look
11· ·for them or gather them.
12· · · · · · · Do you recall that?
13· · · · A· · ·Correct.
14· · · · Q· · ·Did you do anything like that?
15· · · · A· · ·I have not.
16· · · · Q· · ·Were you asked to do that?
17· · · · · · · MR. ZAJDEL:· Objection.· That would be
18· ·attorney-client privilege.
19· · · · · · · Well, to the extent you're not asking
20· ·attorney-client privilege, I could see how that
21· ·would be answerable.
22· · · · · · · So you can answer the question to the
23· ·extent he's not asking you about communications
24· ·between you or any of your attorneys.
25· · · · · · · THE WITNESS:· Okay.· So could you

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                                                                         Page 53
·1· ·repeat your question?
·2· · · · BY MR. KLAYMAN:
·3· · · · Q· · ·So were you asked to look for copies of
·4· ·communications you had with Monique Russell?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·Did you find any communications with
·7· ·Monique Russell?
·8· · · · A· · ·I didn't look for them.
·9· · · · Q· · ·Oh, you didn't look for them?
10· · · · A· · ·No.
11· · · · Q· · ·Okay.· Is that something you would be
12· ·willing to do?
13· · · · A· · ·Yes.
14· · · · Q· · ·Okay.· Is that -- when do you think
15· ·you'd be able to complete a search for
16· ·communications you had with Monique Russell?
17· · · · A· · ·I will try to get that done by the end
18· ·of this week.
19· · · · Q· · ·Okay.
20· · · · A· · ·Yes.
21· · · · Q· · ·Great.
22· · · · · · · This was the subject of written
23· ·communications from Mr. Shaffer, my colleague, so
24· ·I want to just make sure that we have on the
25· ·record that you'll go take a look and that

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                                                                         Page 54
·1· ·responsive communications would be produced.
·2· · · · · · · MR. ZAJDEL:· Well, she testified she
·3· ·will look for them and she'll produce them to me,
·4· ·and then we'll decide whether it's discoverable,
·5· ·and if they are, we'll produce them.
·6· · · · · · · MR. KLAYMAN:· Sure.
·7· · · · BY MR. KLAYMAN:
·8· · · · Q· · ·Now, at the beginning of your
·9· ·deposition on Thursday, I understand Mr. Shaffer
10· ·went through some -- some ground rules about
11· ·telling the truth, not speaking over one another,
12· ·that kind of thing.
13· · · · · · · Do you remember that?
14· · · · A· · ·Yes.
15· · · · Q· · ·Is that -- I just want to make sure
16· ·that we're still on the same page, so I don't --
17· ·so if you could, to make sure that the transcript
18· ·is clear, I won't speak over you and you won't
19· ·speak over me.
20· · · · A· · ·We didn't --
21· · · · Q· · ·Do you --
22· · · · A· · ·-- have --
23· · · · Q· · ·-- understand?
24· · · · A· · ·-- that issue.
25· · · · Q· · ·Great.

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                                                                         Page 55
·1· · · · A· · ·We didn't have that issue at all.
·2· · · · Q· · ·Just making sure.
·3· · · · A· · ·No, that was not an issue.
·4· · · · Q· · ·Okay.· Great.
·5· · · · · · · Okay.· Now, we're here today because
·6· ·you've brought a lawsuit against the Educational
·7· ·Commission for Foreign Medical Graduates; correct?
·8· · · · A· · ·Correct.
·9· · · · Q· · ·I'm going to refer to them as ECFMG, so
10· ·you'll understand what I mean when I say ECFMG?
11· · · · A· · ·Correct.
12· · · · Q· · ·And you allege that you've suffered
13· ·emotional distress; correct?
14· · · · A· · ·Correct.
15· · · · Q· · ·And that distress was the result of
16· ·learning about Dr. Akoda's guilty plea; is that
17· ·correct?
18· · · · A· · ·I'm sorry?
19· · · · Q· · ·So the -- the emotional distress that's
20· ·the subject of the lawsuit --
21· · · · A· · ·Uh-huh.
22· · · · Q· · ·-- when did that start?
23· · · · A· · ·Right when I found out about him being
24· ·a fake doctor.
25· · · · Q· · ·And when about was that, if you recall?

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                                                                         Page 56
·1· · · · A· · ·A couple of years ago.
·2· · · · Q· · ·Was it, you know, talking 2015, 2016?
·3· · · · A· · ·Yeah, around that time, 2016.
·4· · · · Q· · ·Okay.· Now, is emotional distress the
·5· ·only injury that you're suing for in this lawsuit?
·6· · · · A· · ·Correct.
·7· · · · Q· · ·And you're suing ECFMG because you
·8· ·contend that ECFMG is responsible, in whole or in
·9· ·part, for your emotional distress?
10· · · · A· · ·Correct.
11· · · · Q· · ·Do you also contend that Prince
12· ·George's Hospital Center is responsible, in whole
13· ·or in part, for your emotional distress?
14· · · · A· · ·Correct.
15· · · · Q· · ·Do you also contend that the Maryland
16· ·Board of Physicians is responsible, in whole or in
17· ·part, for your emotional distress?
18· · · · A· · ·Correct.
19· · · · Q· · ·Do you also contend that Dr. Abdul
20· ·Chaudry is responsible, in whole or in part, for
21· ·your emotional distress?
22· · · · A· · ·Correct.
23· · · · Q· · ·Do you also contend that the American
24· ·Board of Obstetricians and Gynecologists are
25· ·responsible, in whole or in part, for your

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                                                                         Page 57
·1· ·emotional distress?
·2· · · · A· · ·Correct.
·3· · · · Q· · ·So you would say that anyone that you
·4· ·contend did anything to enable Dr. Akoda to
·5· ·practice medicine is responsible, in whole or in
·6· ·part, for your emotional distress?
·7· · · · A· · ·Correct.
·8· · · · Q· · ·Tell me about your emotional distress.
·9· · · · A· · ·I feel angry, sad, embarrassed,
10· ·ashamed.· My emotions are, like, all over the
11· ·place.· I can't even put them into as many words
12· ·that I can think of.· I just can't believe that
13· ·someone would do that.· It's beyond me.
14· · · · Q· · ·And when you say "that," what are you
15· ·referring to?
16· · · · A· · ·To pretend to be someone that they're
17· ·not, to practice something that they had no rights
18· ·to practice without the proper process of it all.
19· · · · Q· · ·And by "proper process of it all," what
20· ·do you mean?
21· · · · A· · ·Going about it the correct way.
22· · · · Q· · ·And by "the correct way," you mean
23· ·what?
24· · · · A· · ·Receiving proper documents, being
25· ·truthful, being honest, doing the things that a

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·1· ·real doctor would do.
·2· · · · Q· · ·So you're saying that a real doctor
·3· ·would be honest?
·4· · · · A· · ·Correct.
·5· · · · Q· · ·And someone who is not honest is not a
·6· ·real doctor?
·7· · · · A· · ·No, not necessarily.· But if you're
·8· ·pretending to be something that you're not, that's
·9· ·not being honest.
10· · · · Q· · ·And by "something that you're not,"
11· ·what do you mean?
12· · · · A· · ·Not a real doctor.· By practicing on
13· ·women, you have no rights to do that, period, if
14· ·you don't have the proper credentials.· Just going
15· ·through school, anything that you need to do
16· ·properly to become a doctor, you should do that
17· ·before you do anything that a doctor does.
18· · · · Q· · ·Do you know one way or the other if
19· ·Dr. Akoda went to medical school?
20· · · · · · · MR. ZAJDEL:· Objection: asked and
21· ·answered.
22· · · · · · · But you can answer.
23· · · · · · · THE WITNESS:· No, I do not.
24· · · · BY MR. KLAYMAN:
25· · · · Q· · ·Now, getting back to when you first

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·1· ·learned about the basis for this lawsuit, you
·2· ·learned about it from Facebook; is that correct?
·3· · · · A· · ·Correct, from --
·4· · · · Q· · ·And that was from a post by Monique
·5· ·Russell?
·6· · · · A· · ·Correct.
·7· · · · Q· · ·And that's one of the communications
·8· ·that we were talking about this morning; right?
·9· · · · A· · ·Correct.
10· · · · Q· · ·So -- so you'll go take a look to see
11· ·if you can find that post that Monique Russell
12· ·made that you saw?
13· · · · A· · ·I can try to find that, yes.
14· · · · Q· · ·Now, with respect to your emotional
15· ·distress, do you have anxiety or worry?
16· · · · A· · ·When it comes to physicians.
17· · · · Q· · ·So not in general?
18· · · · A· · ·No, not necessarily.
19· · · · Q· · ·Do you have a depressed mood?
20· · · · A· · ·No.
21· · · · Q· · ·Do you have suicidal thoughts?
22· · · · A· · ·No.
23· · · · Q· · ·Are you able to laugh and see the funny
24· ·side of things?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·Do you look forward with enjoyment to
·2· ·things?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·Do you blame yourself unnecessarily
·5· ·when things go wrong?
·6· · · · A· · ·No.
·7· · · · Q· · ·Are you anxious or worried for no good
·8· ·reason?
·9· · · · A· · ·No.
10· · · · Q· · ·Do you feel scared or panicky for no
11· ·good reason?
12· · · · A· · ·No.
13· · · · Q· · ·Do you feel that things are getting on
14· ·top of you?
15· · · · · · · MR. ZAJDEL:· Objection.· It --
16· · · · · · · You can answer the question.
17· · · · · · · THE WITNESS:· What -- what do you mean?
18· · · · BY MR. KLAYMAN:
19· · · · Q· · ·Do you feel that things overwhelm you
20· ·sometimes?
21· · · · A· · ·Yes.
22· · · · Q· · ·Do you have difficulty sleeping?
23· · · · A· · ·Sometimes.
24· · · · Q· · ·How long has that been going on?
25· · · · A· · ·For some time -- quite some time.

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·1· · · · Q· · ·If you had to give your best estimate,
·2· ·are we talking a few -- a few weeks, many years?
·3· · · · A· · ·Yeah, probably like a couple of years.
·4· · · · Q· · ·Couple of years?
·5· · · · A· · ·(Witness nods head.)
·6· · · · Q· · ·If you had to give your best estimate
·7· ·about when that began --
·8· · · · A· · ·I can't.
·9· · · · Q· · ·You can't.
10· · · · · · · Do you feel sad or miserable?
11· · · · A· · ·Not miserable, no.· I -- I mean, in
12· ·general, no, not sad.
13· · · · Q· · ·Are you so unhappy that you cry?
14· · · · A· · ·Are we, like, in general?· At times --
15· ·I feel like these questions can be -- at times I
16· ·can feel sad to the point where I want to cry, so
17· ·are you speaking in general, at times?
18· · · · Q· · ·Sure.
19· · · · · · · Let's say over the last six months,
20· ·have you -- have you at any time been so unhappy
21· ·that you've cried?
22· · · · A· · ·Yes.
23· · · · Q· · ·And do you recall what made you
24· ·unhappy?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·And what was that?
·2· · · · A· · ·I don't want to talk about it.
·3· · · · Q· · ·I -- I understand that you might not
·4· ·want to talk about it, but you're under oath so
·5· ·I -- I need an answer to the question.
·6· · · · · · · MR. ZAJDEL:· Objection.· If it's
·7· ·unrelated -- if the question is related to the
·8· ·case, then I would agree she would have to talk
·9· ·about it.· But if it's -- I'm sorry, if she's
10· ·saying it's unrelated to the case, I don't know
11· ·why it would be relevant.
12· · · · · · · MR. KLAYMAN:· Well, it's -- she's
13· ·bringing a claim for emotional distress, so other
14· ·things going on in her life that might be factors
15· ·in emotional distress that she's suffering is
16· ·directly relevant to the claim.
17· · · · · · · MR. ZAJDEL:· Well, I wouldn't agree
18· ·with that.· I'll have --
19· · · · · · · MR. KLAYMAN:· Let me -- maybe I'll --
20· ·let me try a question.
21· · · · BY MR. KLAYMAN:
22· · · · Q· · ·Is the cause of that unhappiness that
23· ·you referred to completely unrelated to the facts
24· ·of this case?
25· · · · A· · ·Sometimes.· So the things that make me

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·1· ·unhappy for -- so far as this case, just knowing
·2· ·what I know about it, the way it makes me feel,
·3· ·the fact that I had to -- I got a second -- second
·4· ·C-section, and I didn't have to get that.· That
·5· ·makes me very unhappy sometimes, yes.
·6· · · · Q· · ·But to your testimony just now, there
·7· ·are other things going on in your life that also
·8· ·make you very unhappy or, as I asked, so unhappy
·9· ·that you cry?
10· · · · A· · ·Okay.· So there's one thing.· My
11· ·grandmother had back surgery and it made me sad.
12· ·That was about it.
13· · · · Q· · ·I'm sorry to hear that.· That just --
14· · · · A· · ·Yeah, so . . .
15· · · · Q· · ·And that's what you were referring to
16· ·when you --
17· · · · A· · ·Correct.
18· · · · Q· · ·-- said you'd rather not talk about it?
19· · · · · · · Now, does the thought of harming
20· ·yourself occur to you?
21· · · · A· · ·No.
22· · · · Q· · ·Do you have post-traumatic stress
23· ·disorder because of the events giving rise to this
24· ·lawsuit, sometimes known as PTSD?
25· · · · A· · ·No.

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                                                                         Page 64
·1· · · · Q· · ·Have you suffered any physical distress
·2· ·after learning about Dr. Akoda in -- from Monique
·3· ·Russell's Facebook post?
·4· · · · A· · ·Physically -- no, not necessarily.
·5· · · · Q· · ·When you say "not necessarily," is that
·6· ·a no?
·7· · · · A· · ·No.
·8· · · · Q· · ·Have you ever been diagnosed with
·9· ·depression?
10· · · · A· · ·No.
11· · · · Q· · ·Have you ever seen a medical
12· ·professional to discuss depression?
13· · · · A· · ·No.
14· · · · Q· · ·Have you ever discussed your emotional
15· ·distress with a medical professional?
16· · · · A· · ·No.
17· · · · Q· · ·If you were asked by a medical
18· ·professional about your emotional distress, would
19· ·you tell the truth?
20· · · · A· · ·Yes.
21· · · · Q· · ·And if you had been asked by a medical
22· ·professional in the past about your emotional
23· ·distress, you would have told the truth?
24· · · · A· · ·Yes.
25· · · · Q· · ·Do you typically tell the truth to

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·1· ·medical professionals when they ask you questions
·2· ·in the course of treatment?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·Have you always told the truth to
·5· ·medical professionals when they're treating you?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·When was the last time you saw a
·8· ·medical professional for treatment, any -- any
·9· ·medical professional?
10· · · · A· · ·Okay.· I went to the doctor last month,
11· ·not -- yeah, last month I had a doctor's
12· ·appointment.
13· · · · Q· · ·So that would be -- I forget what
14· ·month -- August?
15· · · · A· · ·Yes, in August.
16· · · · Q· · ·August of 2019?
17· · · · A· · ·Yes.
18· · · · Q· · ·Okay.· And where was that?
19· · · · A· · ·That was Unity Health Care.
20· · · · Q· · ·What is Unity Health Care?
21· · · · A· · ·It's a doctor's office.· It's a clinic.
22· · · · Q· · ·If you recall -- do you recall which
23· ·doctor you were seeing?
24· · · · A· · ·Dr. King.
25· · · · Q· · ·Dr. King.

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·1· · · · · · · Do you know Dr. King's first name?
·2· · · · A· · ·I don't recall.
·3· · · · Q· · ·Is Dr. King a man or a woman?
·4· · · · A· · ·A woman.
·5· · · · Q· · ·What kind of doctor is Dr. King?
·6· · · · A· · ·She's a physician.
·7· · · · Q· · ·Is she a specialist or a general
·8· ·practitioner, if you know?
·9· · · · A· · ·I don't recall.
10· · · · Q· · ·Were you going for a routine physical?
11· · · · A· · ·Correct.
12· · · · Q· · ·How did you choose Dr. King as your
13· ·doctor?
14· · · · A· · ·Well, I was referred to her.
15· · · · Q· · ·Okay.· And referred by whom?
16· · · · A· · ·My cousin.
17· · · · Q· · ·Okay.· Your cousin.
18· · · · · · · And who is your cousin?
19· · · · A· · ·You need her name?
20· · · · Q· · ·Just for the record, yeah.
21· · · · A· · ·Oh, okay.· Her name is Davida Limes.
22· · · · Q· · ·How do you spell the last name?
23· · · · A· · ·L-I-M-E-S.
24· · · · Q· · ·L-I-M-E-S.
25· · · · · · · So -- so your cousin referred you to

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                                                                         Page 67
·1· ·Dr. King.
·2· · · · · · · Did you do anything to research
·3· ·Dr. King before you went to see her for treatment?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·What did you do?
·6· · · · A· · ·I asked my cousin about her.· I went to
·7· ·the doctor's office to meet her prior to my visit.
·8· · · · Q· · ·So you met Dr. King once before you
·9· ·became a patient?
10· · · · A· · ·Yes.
11· · · · Q· · ·Did you look at Dr. King's resume?
12· · · · A· · ·No.
13· · · · Q· · ·Did you ask for references beyond that
14· ·of your cousin?
15· · · · A· · ·No.
16· · · · Q· · ·Did you check to see if Dr. King had
17· ·any specific credentials or certificates?
18· · · · A· · ·No.
19· · · · Q· · ·Did you ask to see Dr. King's test
20· ·scores or medical school transcript or anything
21· ·like that?
22· · · · A· · ·No.
23· · · · Q· · ·Have you ever switched doctors?
24· · · · A· · ·Yes.
25· · · · Q· · ·So if you don't like a doctor you're

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·1· ·seeing, you -- you find a new doctor?
·2· · · · A· · ·Yes.
·3· · · · Q· · ·Now, other than to deliver a child,
·4· ·have you ever been hospitalized?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·And when was that?
·7· · · · A· · ·I think it was 2015, I believe.
·8· · · · Q· · ·And what was the reason for the
·9· ·hospitalization?
10· · · · A· · ·My birth control was giving me some bad
11· ·side effects.
12· · · · Q· · ·Do you remember how long you were in
13· ·the hospital?
14· · · · A· · ·I'm just a -- overnight, maybe a few
15· ·hours.
16· · · · Q· · ·What was that?· I'm sorry.
17· · · · A· · ·It was late morning, and I didn't leave
18· ·until, like, the next morning, so I don't know if
19· ·that's considered overnight or a few hours or --
20· · · · Q· · ·Sure.
21· · · · · · · But you came in on one date and you
22· ·left on the next date?
23· · · · A· · ·It was the same day I got there, maybe
24· ·midnight; and I left maybe 9:00 in the next
25· ·morning.

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·1· · · · Q· · ·Oh, I see.
·2· · · · A· · ·So that's why -- yeah, I didn't know if
·3· ·that was -- just to be technical.
·4· · · · Q· · ·I appreciate that.
·5· · · · · · · So you got in really late at night or
·6· ·really early in the morning?
·7· · · · A· · ·Yeah.
·8· · · · Q· · ·Depending on how you're looking at it,
·9· ·I guess?
10· · · · A· · ·Yes.
11· · · · Q· · ·And then you left on the same date; it
12· ·was just several hours later?
13· · · · A· · ·Correct.
14· · · · Q· · ·Any other times that you were
15· ·hospitalized that you recall other than child
16· ·birth, again?
17· · · · A· · ·No, not that I can recall.
18· · · · Q· · ·Have you ever been to an emergency
19· ·room?
20· · · · A· · ·Yes.
21· · · · Q· · ·About how many times?
22· · · · A· · ·A few.· I don't recall.
23· · · · Q· · ·Do you recall what -- what was the
24· ·reason for going to the emergency room?
25· · · · A· · ·Being sick, you know.

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·1· · · · Q· · ·A variety of reasons?
·2· · · · A· · ·Yes.· Correct.
·3· · · · Q· · ·Anything traumatic like a -- for a car
·4· ·accident, for example, or --
·5· · · · A· · ·No.
·6· · · · Q· · ·All right.· Do you have health
·7· ·insurance?
·8· · · · A· · ·Yes.
·9· · · · Q· · ·Does insurance play a role in which
10· ·medical professionals you use?
11· · · · A· · ·Yes.
12· · · · Q· · ·Tell me about what role it plays.
13· · · · A· · ·Because of the insurance, I have these
14· ·certain doctors I can go -- certain offices that
15· ·accepts my insurances, and some doesn't.
16· · · · Q· · ·What insurance is that, if -- if you
17· ·know?
18· · · · A· · ·Amerigroup.
19· · · · Q· · ·Does your insurance company assign you
20· ·doctors?
21· · · · A· · ·Yes, but you don't have to stick with
22· ·that doctor.
23· · · · Q· · ·Okay.· So -- so the -- so am I right to
24· ·say that the insurance company will assign you a
25· ·doctor, but then you have the choice to then go to

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·1· ·some -- another doctor if you prefer?
·2· · · · A· · ·Correct.
·3· · · · Q· · ·Did you have insurance when you were
·4· ·treated by Dr. Akoda?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·Do you remember if he was in network or
·7· ·if he -- if he -- if his treatment was covered by
·8· ·insurance?
·9· · · · A· · ·Yes.
10· · · · Q· · ·Okay.
11· · · · · · · (Riggins Deposition Exhibit 2 was
12· ·marked for identification and attached to the
13· ·transcript.)
14· · · · BY MR. KLAYMAN:
15· · · · Q· · ·So --
16· · · · · · · THE COURT REPORTER:· Wait a minute.
17· · · · BY MR. KLAYMAN:
18· · · · Q· · ·The court reporter --
19· · · · · · · THE COURT REPORTER:· Let me give it to
20· ·her.
21· · · · · · · There you go.· Thank you.
22· · · · BY MR. KLAYMAN:
23· · · · Q· · ·So you've just been handed a document
24· ·that we've marked Riggins 2.· It's a record
25· ·produced by the plaintiffs that they received from

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·1· ·Unity Health Care which is the company we were
·2· ·just discussing; right?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·Okay.· And you see that it's dated
·5· ·September 23rd, 2016?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·And just for the record, it's Bates
·8· ·number Plaintiffs, and then a bunch of zeros, and
·9· ·then 6408.· So if I ask you to turn to a
10· ·particular page as we go through, I'm just going
11· ·to refer to the number at the end of --
12· · · · A· · ·Okay.
13· · · · Q· · ·-- that stamp.· We call it a Bates
14· ·stamp.· I don't know who Mr. Bates was.
15· · · · · · · So I want to ask you a couple of
16· ·questions about this.· Do you recall -- how long
17· ·have you been a patient at Unity Health Care?
18· · · · A· · ·It's been years.· I don't recall the
19· ·exact year, but I've always been in that area with
20· ·that doctor, this office.
21· · · · Q· · ·This office?
22· · · · A· · ·Yeah.
23· · · · Q· · ·So -- so this would have been your
24· ·doctor's office in September 2016?
25· · · · A· · ·Correct.

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·1· · · · Q· · ·Do you know who Alison Lesht is?· Her
·2· ·name is on the top right next to progress note.
·3· · · · A· · ·I don't recall.
·4· · · · Q· · ·From the "NP," I would gather that
·5· ·she's a nurse practitioner.
·6· · · · · · · Does that refresh your recollection
·7· ·or --
·8· · · · A· · ·No.
·9· · · · Q· · ·Now, you see the first bolded language
10· ·at the top of page 6408, it says, Reason for
11· ·Appointment.
12· · · · · · · Do you see that?
13· · · · A· · ·Yes.
14· · · · Q· · ·And it says, Medical - Adult EST
15· ·Patient.· That was next to 1.
16· · · · · · · And then 2, Accepted HIV Test - Serum
17· ·Test Needed.
18· · · · · · · 3, Physical Exam.
19· · · · · · · Do you see that?
20· · · · A· · ·Yes.
21· · · · Q· · ·Does that sound like the kinds of
22· ·treatment you've gotten from Unity Health Care in
23· ·the past?
24· · · · A· · ·Yes.
25· · · · Q· · ·Okay.· So next it says, History of

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·1· ·Present Illness.· And then it starts, PHQ-2.
·2· · · · · · · Do you know what PHQ-2 means?
·3· · · · A· · ·No.
·4· · · · Q· · ·So in the text underneath it, it says,
·5· ·PHQ-2 Little interest or pleasure in doing things.
·6· ·And then it again repeats, Little interest or
·7· ·pleasure in doing things: No.· Feeling down,
·8· ·depressed or hopeless: No.
·9· · · · · · · Do you see that?
10· · · · A· · ·Yes.
11· · · · Q· · ·Were those questions that you were
12· ·asked?
13· · · · A· · ·I don't recall.
14· · · · Q· · ·You don't recall.
15· · · · · · · But in September 2016, were those true
16· ·statements?
17· · · · A· · ·Yes.
18· · · · Q· · ·And it wouldn't surprise you if you had
19· ·told that to your treating physician --
20· · · · A· · ·No.
21· · · · Q· · ·-- if asked these questions?
22· · · · A· · ·Right.
23· · · · · · · No.
24· · · · Q· · ·If you could turn to the next page, so
25· ·it's Bates 6409.· Under Family History, which is

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·1· ·the first item at the top, in the third line down
·2· ·all the way on the right, it says, Two sons -
·3· ·Healthy.
·4· · · · · · · Is that -- do you see what I'm -- what
·5· ·I'm referring to?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·Was that true at the time -- that was
·8· ·true at the time that this was written; right?
·9· · · · A· · ·Yes.
10· · · · Q· · ·All right.· Now, under -- moving on to
11· ·the next section, which is Social History, we're
12· ·going to go through -- the first one is tobacco
13· ·use.· And it says, Tobacco Use Questions Current
14· ·or past tobacco use:· Current some day smoker.
15· · · · · · · Do you see that?
16· · · · A· · ·Yes.
17· · · · Q· · ·Was that -- and that was true and
18· ·correct in September 2016?
19· · · · A· · ·Correct.
20· · · · Q· · ·Skipping ahead to Drug/Alcohol Use, do
21· ·you see where I'm --
22· · · · A· · ·Yes.
23· · · · Q· · ·Do you see where I am?
24· · · · A· · ·Yes.
25· · · · Q· · ·So it says, Drug Use Questions.· Date

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                                                                         Page 76
·1· ·updated 09/23/2016.· Past or current drug use?
·2· ·Yes - current use.· Which drugs used:· Marijuana.
·3· ·Current Use/Frequency - Marijuana: occasionally.
·4· · · · · · · Alcohol Use Questions.· Dated updated:
·5· ·09/23/2016.· Past or current alcohol use:· Yes.
·6· ·What type of alcohol?· Wine.· (One drink equals
·7· ·one glass equals five ounces.)· How often?· Once
·8· ·or a few times a week.· How many drinks in one
·9· ·sitting?· Four drinks (guideline for max per
10· ·sitting, for men).
11· · · · · · · Did I read that right?
12· · · · A· · ·Uh-huh.
13· · · · Q· · ·Was that true and acc- -- and that was
14· ·true and accurate in September 2016?
15· · · · · · · MR. ZAJDEL:· Objection.· And I'm going
16· ·to instruct the witness not to answer the question
17· ·with respect to marijuana use.
18· · · · · · · You can answer the rest of that
19· ·question.
20· · · · BY MR. KLAYMAN:
21· · · · Q· · ·So you can -- yeah, you can go ahead.
22· · · · A· · ·Okay.· So to the drinking, yes.
23· · · · · · · MR. KLAYMAN:· Are you -- are you
24· ·instructing her to assert her Fifth Amendment
25· ·privilege?

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·1· · · · · · · MR. ZAJDEL:· Yes.· You're -- you're
·2· ·asking a question about -- I've instructed her not
·3· ·to answer, and --
·4· · · · · · · MR. KLAYMAN:· I'm just trying to
·5· ·understand the basis.· Is it the Fifth Amendment?
·6· · · · · · · MR. ZAJDEL:· Yes.
·7· · · · BY MR. KLAYMAN:
·8· · · · Q· · ·And you're accepting counsel's
·9· ·instruction not to answer?
10· · · · A· · ·Yes.
11· · · · · · · MR. ZAJDEL:· Also, just -- and I'm not
12· ·trying to make a speaking objection.· I just want
13· ·to put on the record -- and we did this in the
14· ·previous deposition -- that there's a -- with all
15· ·these medical records and some testimony will be
16· ·some information that we think deserves a
17· ·confidentiality stamp.· We just want to reserve
18· ·the right to mark anything confidential before a
19· ·final transcript is released, including any
20· ·exhibits.
21· · · · · · · MR. KLAYMAN:· Okay.· That's -- that's
22· ·a -- your comment is noted, and we can -- we can
23· ·discuss that.
24· · · · BY MR. KLAYMAN:
25· · · · Q· · ·Now, going down to the section on OB

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                                                                         Page 78
·1· ·History.· If you'll see, it's right in the middle
·2· ·of that page?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·It says, Total pregnancies, four;
·5· ·abortions, two; C-sections, two.
·6· · · · · · · Do you see that?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·Was that a true -- that was a true and
·9· ·accurate statement in September 2016; correct?
10· · · · A· · ·Correct.
11· · · · Q· · ·When, if you recall, were the
12· ·abortions?· Ballpark time period.
13· · · · A· · ·I don't recall.
14· · · · Q· · ·Were they -- do you recall if they were
15· ·before the C-sections?
16· · · · A· · ·Yes.
17· · · · Q· · ·And they -- and they were before the
18· ·C-sections?
19· · · · A· · ·Yes.
20· · · · Q· · ·Okay.· I'm sorry.· I just -- I asked a
21· ·bad question, so . . .
22· · · · · · · (Riggins Deposition Exhibit 3 was
23· ·marked for identification and attached to the
24· ·transcript.)
25· · · · BY MR. KLAYMAN:

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                                                                         Page 79
·1· · · · Q· · ·So the court reporter just handed you
·2· ·the document beginning with Bates number 7576
·3· ·that's been marked Riggins Exhibit 3.
·4· · · · · · · And this, again, is a Unity Health Care
·5· ·record; right?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·And the date for this one is
·8· ·February 19th, 2017.· Do you see that --
·9· · · · A· · ·Yes.
10· · · · Q· · ·-- on the top left?
11· · · · · · · And you were still a patient at Unity
12· ·Health Care at this time?
13· · · · A· · ·Yes.
14· · · · Q· · ·Have you been a patient at Unity Health
15· ·Care continuously from, I guess, the last record,
16· ·September 2016, at least until today?
17· · · · A· · ·Correct.
18· · · · Q· · ·And, again, next to the progress note,
19· ·it says Martine H. Tchinda, NP.
20· · · · · · · Do you know who Martine H. Tchinda, NP
21· ·is?
22· · · · A· · ·No.
23· · · · Q· · ·But, again, the "NP" seems to signify
24· ·nurse practitioner, so it could be someone that
25· ·treated you; correct?

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                                                                         Page 80
·1· · · · · · · MR. ZAJDEL:· Objection.
·2· · · · · · · THE WITNESS:· Right.
·3· · · · BY MR. KLAYMAN:
·4· · · · Q· · ·So moving down to the reason for
·5· ·appointment.· Do you see where I'm at?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·It says, 1, Medical - Walk-in pregnancy
·8· ·test.
·9· · · · · · · Does that sound like a reason you
10· ·would -- does that refresh your recollection --
11· ·let me strike that.
12· · · · · · · Do you recall why you were going to
13· ·Unity Health Care in February 2017?
14· · · · A· · ·Yes.
15· · · · Q· · ·And why was that?
16· · · · A· · ·For a pregnancy test.
17· · · · Q· · ·If you skip down to the section on
18· ·surgical history -- that's still on page 7576.
19· ·It's the third bolded section from the bottom.
20· · · · · · · Do you see where it is?
21· · · · A· · ·Yes.
22· · · · Q· · ·So it says, C-sections times two;
23· ·surgical abortion 2/2016.
24· · · · · · · Do you see that?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·Does that refresh your recollection at
·2· ·all about when the abortions happened?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·And when did those happen?
·5· · · · A· · ·2016.
·6· · · · Q· · ·2016.
·7· · · · A· · ·About that time somewhat.
·8· · · · Q· · ·Now, if you move out -- move on to the
·9· ·next page, so 7577.· I'm looking at smack in the
10· ·middle where it says, Review of Systems.
11· · · · · · · Do you see that in the bolded language?
12· · · · A· · ·Yes.
13· · · · Q· · ·So if you go down to the last
14· ·underlined item in that section where it says,
15· ·Psych, do you see that?
16· · · · A· · ·Yes.
17· · · · Q· · ·And it says, Negative for
18· ·anxiety/worry, depressed mood, suicidal thoughts.
19· · · · · · · Did I read that right?
20· · · · A· · ·Yes.
21· · · · Q· · ·And that was a true and accurate --
22· ·accurate statement of your well-being in
23· ·February 2017?
24· · · · A· · ·Yes.
25· · · · · · · MR. KLAYMAN:· That will be 4.

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                                                                         Page 82
·1· · · · · · · (Riggins Deposition Exhibit 4 was
·2· ·marked for identification and attached to the
·3· ·transcript.)
·4· · · · BY MR. KLAYMAN:
·5· · · · Q· · ·So the court reporter has just handed
·6· ·you the document that's been marked Riggins
·7· ·Exhibit 4.
·8· · · · · · · Do you recognize the document?
·9· · · · A· · ·I can't say yes or no.
10· · · · Q· · ·Are you familiar with -- with
11· ·interrogatories?
12· · · · A· · ·Yes.
13· · · · Q· · ·So -- so as you can see from the title
14· ·there, this document is entitled, Plaintiff
15· ·Jasmine Riggins' Supplemental Answers to First Set
16· ·of Interrogatories and Supplemental Responses to
17· ·First Set of Requests for Production of Documents.
18· · · · A· · ·Uh-huh.
19· · · · Q· · ·Right?
20· · · · A· · ·Yes.
21· · · · Q· · ·So these are discovery requests that
22· ·were served by your counsel on ECFMG in response
23· ·to certain interrogatories and document requests.
24· · · · · · · Does it -- and if you turn to the back,
25· ·let's see, there's a long list of names, but right

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·1· ·before that, there's a certificate of service, and
·2· ·then the page before that, there's a page called
·3· ·Verification.
·4· · · · A· · ·Oh, yeah.
·5· · · · Q· · ·It has a 14 at the bottom.
·6· · · · · · · Do you see that?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·Okay.· And it says, I, Jasmine Riggins,
·9· ·hereby aver that the factual statements in the
10· ·foregoing answers to interrogatories are true and
11· ·correct to the best of my knowledge, information
12· ·and belief, and that these answers are made
13· ·subject to the penalties relating to unsworn
14· ·falsification to authorities.
15· · · · · · · Right?
16· · · · A· · ·Yes.
17· · · · Q· · ·And then it's dated June 13, 2019; is
18· ·that right?
19· · · · A· · ·Yes.
20· · · · Q· · ·And then there's a line for -- and a
21· ·signature that -- are those your signature for
22· ·Jasmine Riggins?
23· · · · A· · ·Yes.
24· · · · Q· · ·Does that refresh your recollection
25· ·about if whether you've seen this document before?

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                                                                         Page 84
·1· · · · A· · ·Yes.
·2· · · · Q· · ·Earlier today, you testified that you
·3· ·weren't sure of when you saw the Facebook post
·4· ·from Monique Russell.
·5· · · · · · · Do you recall that?
·6· · · · A· · ·You said that I wasn't sure that --
·7· · · · Q· · ·Yeah, that you said you weren't sure.
·8· · · · A· · ·Okay.
·9· · · · Q· · ·Of the date; is that right?
10· · · · A· · ·The date, yes.
11· · · · Q· · ·Yes.
12· · · · A· · ·Correct.
13· · · · Q· · ·So if you could turn to page 3 of the
14· ·interrogatories.
15· · · · A· · ·Okay.
16· · · · Q· · ·I'll just direct you to the very
17· ·bottom, the first full line where it says,
18· ·Plaintiff began experiencing these injuries when
19· ·she learned in July 2017 that Akoda was not really
20· ·a doctor.
21· · · · · · · Do you see that?
22· · · · A· · ·Yes.
23· · · · Q· · ·Does that refresh your recollection
24· ·about when you saw Monique Russell's Facebook post
25· ·about Dr. Akoda?

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                                                                         Page 85
·1· · · · A· · ·Correct.
·2· · · · Q· · ·And -- and when was that?
·3· · · · A· · ·In 2017.
·4· · · · Q· · ·In July 2017; right?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·Okay.· So all of the medical records
·7· ·that we've looked at so far -- so that would be
·8· ·Riggins Exhibit 2 and Exhibit 3 -- were from
·9· ·before July of 2017; right?
10· · · · · · · You can pull them up again if you want
11· ·to --
12· · · · A· · ·Yeah, they say -- this is 2016.
13· · · · · · · Yes.
14· · · · Q· · ·How soon after learning, as you say in
15· ·your interrogatory response, that Akoda was not
16· ·really a doctor, did you begin experiencing
17· ·emotional distress?
18· · · · A· · ·Immediately once I --
19· · · · Q· · ·Immediately?
20· · · · A· · ·Yeah, once I found out, I just felt
21· ·really bad, yeah.
22· · · · Q· · ·Did you experience the emotional
23· ·distress continuously after that time, or was it
24· ·intermittent?
25· · · · A· · ·Yeah, intermittent.

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·1· · · · Q· · ·Intermittent?
·2· · · · A· · ·Yeah.
·3· · · · Q· · ·So it would come and it would go, in
·4· ·other words?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·How frequently would you experience the
·7· ·emotional distress?
·8· · · · A· · ·More often than not, yeah.· The more I
·9· ·thought about it, it weighed on me, yeah.
10· · · · Q· · ·And how often would you think about it?
11· · · · A· · ·Almost every day, every other day.                         I
12· ·tried not to think about it, but it would always
13· ·come up in my mind.
14· · · · Q· · ·So on page 3 of the -- of Exhibit 4,
15· ·the second line from the bottom says, Plaintiff
16· ·has not seen any health care providers for
17· ·treatment of these injuries.
18· · · · · · · Do you see that?
19· · · · A· · ·Yes.
20· · · · Q· · ·And that was a true and accurate
21· ·statement when these were -- when you signed the
22· ·verification in June of 2019; correct?
23· · · · A· · ·Correct.
24· · · · Q· · ·And that's still a true and accurate
25· ·statement --

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                                                                         Page 87
·1· · · · A· · ·Correct.
·2· · · · Q· · ·-- correct?
·3· · · · · · · Have you thought about going to see a
·4· ·health care provider for treatment of your
·5· ·injuries?
·6· · · · A· · ·Yeah, I thought about it.
·7· · · · Q· · ·And you decided against it?
·8· · · · A· · ·It just so -- it was just a thought,
·9· ·like -- yeah, you could say I decided against it.
10· ·Just wasn't something I really wanted to keep
11· ·talking about.
12· · · · · · · (Riggins Deposition Exhibit 5 was
13· ·marked for identification and attached to the
14· ·transcript.)
15· · · · BY MR. KLAYMAN:
16· · · · Q· · ·So the court reporter has handed you
17· ·the document that's been marked Riggins Exhibit 5
18· ·which begins on Bates number 6442.· And this again
19· ·looks like a Unity Health Care record; right?
20· · · · A· · ·Yes.
21· · · · Q· · ·And in the top left, the date here is
22· ·September 7th, 2017 --
23· · · · A· · ·Yes.
24· · · · Q· · ·-- is that right?
25· · · · · · · So that's after the July 2017 date that

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                                                                         Page 88
·1· ·was referred to in the interrogatories?
·2· · · · A· · ·Correct.
·3· · · · Q· · ·And up in the top right where it says
·4· ·progress note, this time it says, Yolanda E.
·5· ·Klemmer, CNM.
·6· · · · · · · Do you know who Dr. Klemmer is?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·And who is Dr. Klemmer?
·9· · · · · · · MR. ZAJDEL:· Objection: misstates
10· ·facts.· It says certified nurse --
11· · · · · · · MR. KLAYMAN:· Oh, sure.· I forgot.
12· ·Forgive me.
13· · · · BY MR. KLAYMAN:
14· · · · Q· · ·So do you know who Yolanda Klemmer is?
15· · · · A· · ·Yes.
16· · · · Q· · ·And who is Yolanda Klemmer?
17· · · · A· · ·She was my OB when I was at Unity.
18· · · · Q· · ·Was it your understanding that she was
19· ·a medical doctor or that she is a medical doctor?
20· · · · · · · Do you still -- strike that.· Let me
21· ·start again.
22· · · · · · · Do you still see Yolanda Klemmer?
23· · · · A· · ·No.
24· · · · Q· · ·When was the last time you saw Yolanda
25· ·Klemmer for treatment?

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                                                                         Page 89
·1· · · · A· · ·Back in 27 -- 2018 after I had my baby.
·2· · · · Q· · ·But you're not a current patient of
·3· ·Yolanda Klemmer?
·4· · · · A· · ·No.
·5· · · · Q· · ·And it was your understanding when you
·6· ·were a patient that she was a medical doctor?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·Would you refer to her as Dr. Klemmer
·9· ·when you saw her?
10· · · · A· · ·Yes.
11· · · · Q· · ·Now, if you look at, again, the Reason
12· ·for Appointment --
13· · · · · · · That will be the first bolded language.
14· ·Do you say where I'm at?
15· · · · A· · ·Yeah.
16· · · · Q· · ·Okay.· So it says, 1, medical - OB
17· ·visit.· 2, prenatal care.
18· · · · · · · And that's a true and accurate
19· ·statement of the treatment you were receiving from
20· ·Klemmer in September 2017?
21· · · · A· · ·Yes.
22· · · · Q· · ·Moving on to the next bolded language
23· ·where it says History of Present Illness, do you
24· ·see that?
25· · · · A· · ·Yes.

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                              Jasmine Riggins

                                                                         Page 90
·1· · · · Q· · ·So here is again that reference to
·2· ·PHQ-2.· And it says PHQ-2, little interest or
·3· ·pleasure in doing things.· Little interest or
·4· ·pleasure in doing things, no.· Feeling down,
·5· ·depressed or hopeless, no.
·6· · · · · · · Did I read that right?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·And that's -- and that's a true and
·9· ·accurate statement of your well-being in
10· ·September 2017; correct?
11· · · · A· · ·Yes.
12· · · · · · · (Riggins Deposition Exhibit 6 was
13· ·marked for identification and attached to the
14· ·transcript.)
15· · · · BY MR. KLAYMAN:
16· · · · Q· · ·So the court reporter just handed you
17· ·another document.· This one is Riggins Exhibit 6.
18· ·And it begins on Bates number 6478.· And this also
19· ·appears to be a Unity Health Care medical record;
20· ·right?
21· · · · A· · ·Yes.
22· · · · Q· · ·And the date up in the top left is
23· ·October 13, 2017.
24· · · · A· · ·Yes.
25· · · · Q· · ·And again, next to Progress Note it has

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                                                                         Page 91
·1· ·Yolanda E. Klemmer; right?
·2· · · · A· · ·Yes.
·3· · · · Q· · ·And here it says -- go through again
·4· ·what we did in the last record.
·5· · · · · · · So Reason for Appointment, 1, medical,
·6· ·dash, OB visit.
·7· · · · · · · Do you see that?
·8· · · · A· · ·Yes.
·9· · · · Q· · ·And that's a true and accurate
10· ·statement for why you were seeing Yolanda Klemmer
11· ·in October 2017?
12· · · · A· · ·Yes.
13· · · · Q· · ·Klemmer was treating you in connection
14· ·with your -- with the birth of your third child;
15· ·is that right?
16· · · · A· · ·Yes.
17· · · · Q· · ·So again moving down to the PHQ-2,
18· ·PHQ-2, little interest or pleasure in doing
19· ·things.· Little interest or pleasure in doing
20· ·things, no.· Feeling down depressed or hopeless,
21· ·no.
22· · · · · · · Do you see that?
23· · · · A· · ·Yes.
24· · · · Q· · ·And that's a true and accurate
25· ·statement of your well-being in October 2017?

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                                                                         Page 92
·1· · · · A· · ·Yes.
·2· · · · Q· · ·Now, moving down to the next underlined
·3· ·section which is postpartum visit.
·4· · · · · · · So I gather from postpartum that this
·5· ·is after you gave birth?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·When -- when -- when did you give birth
·8· ·for -- in 2017?
·9· · · · A· · ·It was on October 2nd.
10· · · · Q· · ·Okay.· So this is within two weeks of
11· ·the -- of the birth?
12· · · · A· · ·Yes.
13· · · · Q· · ·Okay.· We're going to read through it
14· ·and I'll ask you a couple of questions.
15· · · · · · · So, Delivery (if not captured in
16· ·flowsheet), Maternal date of discharge October 4,
17· ·2017.· Newborn date of discharge, October 4, 2017.
18· ·Date of delivery, October 2nd, 2017.
19· · · · · · · So that's the same date you just said;
20· ·right?
21· · · · A· · ·Yes.
22· · · · Q· · ·Right.
23· · · · · · · Intrapartum complications, none.· Type
24· ·of delivery, C/S.· That's probably a reference to
25· ·a C-section; is that right?

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·1· · · · A· · ·I believe so.
·2· · · · Q· · ·You delivered your child in 2017
·3· ·through a C-section?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Place of delivery, Washington Hospital
·6· ·Center; is that right?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·Anesthesia, epidural/spinal.· And
·9· ·that's the correct method of anesthesia that you
10· ·had during delivery?
11· · · · A· · ·Correct.
12· · · · Q· · ·Gender, female.· I take it that
13· ·that's -- I take it that's --
14· · · · A· · ·Correct.
15· · · · Q· · ·-- for your daughter?
16· · · · A· · ·Yes.
17· · · · Q· · ·Birth weight pounds, 7; birth weight
18· ·ounces, 13.
19· · · · · · · So next is postpartum depression
20· ·screening.· I have been able to laugh and see the
21· ·funny side of things: 0 - As much as I always
22· ·could.· I have looked forward with enjoyment to
23· ·things: 0 - As much as I ever did.· I have blamed
24· ·myself unnecessarily when things went wrong: 0 -
25· ·No, never.· I have been anxious or worried for no

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                                                                         Page 94
·1· ·good reason: 0 - No, not at all.· I felt scared or
·2· ·panicky for no good reason: 0 - No, not at all.
·3· ·Things have been getting on top of me:· 0 - No, I
·4· ·have been coping as well as ever.· I have been so
·5· ·unhappy that I have had difficulty sleeping: 0 -
·6· ·No, not at all.· I have felt sad or miserable:
·7· ·0 - No, not at all.· I've been so unhappy that I
·8· ·have been crying: 0 - No, never.· The thought of
·9· ·harming myself has occurred to me: 0 - Never.
10· ·Total score: 0.· Score is 12 or higher:· No.
11· ·Negative screening result: Yes.
12· · · · · · · Did I read that all correctly?
13· · · · A· · ·Yes.
14· · · · Q· · ·Now, I know that was a lot of
15· ·questions, but was that a true and correct
16· ·statement of your well-being in October 2017?
17· · · · A· · ·Correct.
18· · · · Q· · ·And then name of child, Taniya?
19· · · · A· · ·Taniya.
20· · · · Q· · ·Taniya?
21· · · · A· · ·Yes.
22· · · · Q· · ·Oh.· Even better.· Taniya Richardson.
23· ·Great.
24· · · · · · · Just give me one second while I figure
25· ·something out.

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                                                                         Page 95
·1· · · · · · · So you're the named plaintiff in --
·2· ·strike that.
·3· · · · · · · You were a named plaintiff in
·4· ·litigation relating to Dr. Akoda in Maryland; is
·5· ·that right?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·Do you recall when that lawsuit was
·8· ·filed?
·9· · · · A· · ·No, I don't recall.
10· · · · · · · MR. KLAYMAN:· This is 7.
11· · · · · · · (Riggins Deposition Exhibit 7 was
12· ·marked for identification and attached to the
13· ·transcript.)
14· · · · BY MR. KLAYMAN:
15· · · · Q· · ·So the court reporter has just handed
16· ·you a document that's been marked Riggins
17· ·Exhibit 7.
18· · · · · · · Do you recognize the document?
19· · · · A· · ·Yes.
20· · · · Q· · ·And what is it?
21· · · · A· · ·It's a class action complaint.
22· · · · Q· · ·And it's in the Circuit Court for
23· ·Prince George's County, Maryland?
24· · · · A· · ·Correct.
25· · · · Q· · ·And your name is in the top left of the

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                                                                         Page 96
·1· ·caption, so it says -- right underneath Monique
·2· ·Russell, it says Jasmine Riggins, 312 37th Street,
·3· ·Apartment Number 304, Washington, D.C., 20019?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·And that's you?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·And then if you look at the stamp
·8· ·that's kind of sideways on the front page, you see
·9· ·the -- the year is a little fuzzy, I guess, but it
10· ·looks like 2000 -- to my eye it looks like 2017,
11· ·September 11.
12· · · · · · · Do you see that?
13· · · · A· · ·Yes.
14· · · · Q· · ·So does that refresh your recollection
15· ·about when the lawsuit was filed in Maryland?
16· · · · A· · ·Yes.
17· · · · Q· · ·And when was that?
18· · · · A· · ·In September of 2017.
19· · · · Q· · ·Okay.
20· · · · · · · (Riggins Deposition Exhibit 8 was
21· ·marked for identification and attached to the
22· ·transcript.)
23· · · · BY MR. KLAYMAN:
24· · · · Q· · ·So the court reporter has handed you a
25· ·document that's been marked Riggins Exhibit 8, and

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                                                                         Page 97
·1· ·the Bates number on the bottom is 6480.· And it
·2· ·looks like another united -- Unity Health Care
·3· ·medical record; right?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·And in the top left of this first page,
·6· ·the date on it is November 9th, 2017.
·7· · · · · · · Do you see that?
·8· · · · A· · ·Yes.
·9· · · · Q· · ·And again, the progress note has
10· ·Yolanda E. Klemmer; right?
11· · · · A· · ·Yes.
12· · · · Q· · ·And this time the Reason for
13· ·Appointment is -- you see where I'm at --
14· · · · A· · ·Yes.
15· · · · Q· · ·-- looking at the top?
16· · · · · · · So 1, Medical - OB visit; 2, Pregnancy
17· ·test; 3, Postpartum exam.
18· · · · · · · Is that a true and correct statement of
19· ·the reasons you went to Unity Health Care in
20· ·November 2017?
21· · · · A· · ·Correct.
22· · · · Q· · ·Again, under History of Present
23· ·Illness, it says at the first couple of lines,
24· ·PHQ-2, little interest or pleasure of doing
25· ·things.· Little pleasure or interest in doing

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                                                                         Page 98
·1· ·things, no.· Feeling down, depressed or hopeless,
·2· ·no.
·3· · · · · · · Do you see that?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·And that's a true and accurate
·6· ·statement of your well-being in November of 2017?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·And again if you go down to postpartum
·9· ·visit, so it's underlined, I'm going to skip the
10· ·first couple of lines, but in the fifth line down
11· ·right in the middle, do you see the words
12· ·"postpartum depression screening"?
13· · · · A· · ·Yes.
14· · · · Q· · ·Okay.· I'm just going to read it into
15· ·the record.· I have been able to laugh and see the
16· ·funny side of things: 0 - As much as I always
17· ·could.· I have looked forward with enjoyment to
18· ·things:· 0 - As much as I ever did.· I have blamed
19· ·myself unnecessarily when things went wrong:· 2 -
20· ·Yes, some of the time.· I have been anxious or
21· ·worried for no good reason:· 0 - No, not at all.
22· ·I have felt scared or panicky for no good reason:
23· ·0 - No, not at all.· Things have been getting on
24· ·top of me:· 0 - No, I have been coping as well as
25· ·ever.· I have been so unhappy that I have had

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                                                                          Page 99
·1· ·difficulty sleeping:· 0 - No, not at all.· I have
·2· ·felt sad or miserable:· 0 - No, not at all.                          I
·3· ·have been so unhappy that I have been crying:· 0 -
·4· ·No, never.· The thought of harming myself has
·5· ·occurred to me:· 0 - Never.· Total score: 2.
·6· ·Score is 12 or higher:· No.· Negative screening
·7· ·result:· Yes.
·8· · · · · · · Did I read that all correctly?
·9· · · · A· · ·Yes.
10· · · · Q· · ·And is that a true and accurate
11· ·statement of your well-being in November of 2017?
12· · · · A· · ·Yeah.
13· · · · · · · MR. ZAJDEL:· Objection.
14· · · · · · · THE WITNESS:· Sorry.· Sorry.
15· · · · · · · MR. ZAJDEL:· Objection: compound
16· ·question.
17· · · · · · · She can answer it.
18· · · · · · · MR. KLAYMAN:· Sure.· So -- so --
19· · · · · · · MR. ZAJDEL:· I think she already did,
20· ·but --
21· · · · BY MR. KLAYMAN:
22· · · · Q· · ·Yeah.· So each of those -- so each of
23· ·those is a true statement of your well-being in
24· ·November 2017?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·If you recall earlier, I asked you
·2· ·about your difficulty sleeping.
·3· · · · · · · Do you remember I asked you that -- a
·4· ·question about that?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·So does the statement here from
·7· ·November 2017, I've been so unhappy that I've had
·8· ·difficulty sleeping, 0, no, not at all.· Does that
·9· ·refresh your recollection about when any sleep
10· ·difficulties you've testified to earlier began?
11· · · · A· · ·Yes, but this is -- I haven't been so
12· ·unhappy that it caused difficulty sleeping.
13· · · · Q· · ·Oh, okay.· So the difficulty sleeping
14· ·is unrelated to your emotional distress?
15· · · · · · · MR. ZAJDEL:· Objection.· The question
16· ·was asked and answered.
17· · · · · · · You can answer -- you can answer the
18· ·question.
19· · · · · · · THE WITNESS:· What was the question?
20· · · · BY MR. KLAYMAN:
21· · · · Q· · ·The question was so is the difficulty
22· ·sleeping that you testified to earlier unrelated
23· ·to your emotional distress?
24· · · · A· · ·Correct.· I'd say that.
25· · · · · · · MR. KLAYMAN:· I'm sorry.· Just give me

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·1· ·one second.
·2· · · · BY MR. KLAYMAN:
·3· · · · Q· · ·Do you recall when this lawsuit was
·4· ·filed?
·5· · · · A· · ·In 2017?· This one?
·6· · · · Q· · ·So, I'm not talking about the Maryland
·7· ·litigation.· I'm talking about the litigation
·8· ·that's here against ECFMG that we're here for
·9· ·today?
10· · · · A· · ·I believe it was -- I don't recall.                          I
11· ·don't want to give the wrong day.
12· · · · · · · (Riggins Deposition Exhibit 9 was
13· ·marked for identification and attached to the
14· ·transcript.)
15· · · · BY MR. KLAYMAN:
16· · · · Q· · ·So the court reporter has just handed
17· ·you a document that is marked Riggins Exhibit 9.
18· · · · · · · Have you seen this document before?
19· · · · · · · You can flip through it to see if
20· ·it . . .
21· · · · A· · ·(Witness reviews document.)
22· · · · · · · I honestly . . .
23· · · · · · · (Witness continues reviewing document.)
24· · · · · · · Okay.· I'm not honestly sure.
25· · · · · · · Sorry.· I don't recall seeing this.

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·1· ·Some of it looks familiar, but I can't --
·2· · · · Q· · ·Okay.· Well, on the third page of the
·3· ·document, which has a -- a case caption, you'll
·4· ·see -- or, yeah, right there.
·5· · · · · · · Underneath Monique Russell, it says
·6· ·Jasmine Riggins, 312 37th Street, Apartment Number
·7· ·304 --
·8· · · · A· · ·Yes.
·9· · · · Q· · ·-- Washington, D.C. 20019.
10· · · · · · · Right?
11· · · · A· · ·Yes.
12· · · · Q· · ·And that's you?
13· · · · A· · ·Yes.
14· · · · Q· · ·So this is the complaint that was filed
15· ·to initiate this lawsuit?
16· · · · A· · ·(Witness nods head.)
17· · · · Q· · ·And on the front page, do you see --
18· ·there's a stamp -- there are two stamps, actually.
19· · · · · · · One says -- one in the middle says,
20· ·Filed Pro Prothy, November 14, 2018.
21· · · · · · · Do you see that?
22· · · · A· · ·Yes.
23· · · · Q· · ·Does that refresh your recollection at
24· ·all as to when the lawsuit was filed?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·And -- and when was it filed?
·2· · · · A· · ·November of 2018.
·3· · · · Q· · ·Okay.· You can set that aside for a
·4· ·moment.
·5· · · · · · · (Riggins Deposition Exhibit 10 was
·6· ·marked for identification and attached to the
·7· ·transcript.)
·8· · · · BY MR. KLAYMAN:
·9· · · · Q· · ·So the court reporter has handed you a
10· ·document that's marked Riggins Exhibit 10, and the
11· ·Bates number is 6488 is where it begins.
12· · · · · · · And again this looks like a Unity
13· ·Health Care medical record; right?
14· · · · A· · ·Yes.
15· · · · Q· · ·And this time the date is April 18th,
16· ·2019, in the top left; is that right?
17· · · · A· · ·Yes.
18· · · · Q· · ·And next to the progress note, it says,
19· ·Taisei Suzuki, DO.
20· · · · · · · Do you know who that is?
21· · · · A· · ·Yes.
22· · · · Q· · ·And who is that?
23· · · · A· · ·He's a doctor at Unity Health Care, but
24· ·he's a -- he's a doctor at Unity Health Care.
25· · · · Q· · ·He's a doctor at Unity Health Care you

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·1· ·said?
·2· · · · A· · ·Yeah.
·3· · · · Q· · ·I'm sorry.· I just couldn't hear you.
·4· · · · A· · ·Yeah.· Sorry about that.
·5· · · · Q· · ·Do you know what kind of doctor, like,
·6· ·an OB or a general practitioner or you're not
·7· ·sure?
·8· · · · A· · ·I'm not sure.
·9· · · · Q· · ·Okay.· And moving to the first, it
10· ·says, Reason for Appointment, 1, Medical - adult
11· ·EST patient, patient request birth control
12· ·referral; 2, FP - birth control.
13· · · · · · · Do you see -- did I read that right?
14· · · · A· · ·Yes.
15· · · · Q· · ·And that's a true and accurate
16· ·statement of the reasons why you went to Unity
17· ·Health Care in April of 2019?
18· · · · A· · ·Yes.
19· · · · Q· · ·And moving down, excuse me, to -- under
20· ·History of Present Illness, so the second
21· ·underline is PHQ-2 where it says, PHQ-2, little
22· ·interest or pleasure in doing things.· Little
23· ·interest or pleasure in doing things, no.· Feeling
24· ·down, depressed or hopeless, no.
25· · · · · · · Do you see that?

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·1· · · · A· · ·Yes.
·2· · · · Q· · ·Is that a true and accurate statement
·3· ·of your well-being in April 2019?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Have you ever testified to feeling
·6· ·depressed?
·7· · · · A· · ·I'm sorry?
·8· · · · Q· · ·Have you ever testified to feeling
·9· ·depressed?
10· · · · A· · ·I don't recall.
11· · · · · · · MR. KLAYMAN:· Is this 11?
12· · · · · · · THE COURT REPORTER:· Uh-huh.
13· · · · · · · (Riggins Deposition Exhibit 11 was
14· ·marked for identification and attached to the
15· ·transcript.)
16· · · · BY MR. KLAYMAN:
17· · · · Q· · ·So the court reporter has just handed
18· ·you what's been marked Russell -- uh, Riggins -- I
19· ·get them confused here -- Riggins Exhibit 11.
20· · · · · · · Do you recognize this document?
21· · · · A· · ·(Witness reviews document.)· Yes.
22· · · · · · · Yes.
23· · · · Q· · ·Yes?
24· · · · · · · And what is it?
25· · · · A· · ·Response to defendants' request for

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·1· ·admissions.
·2· · · · Q· · ·And you can see from the top of the
·3· ·first page it's in the Circuit Court for Prince
·4· ·George's County, Maryland?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·And in the case caption, it's Monique
·7· ·Russell, et al. -- there are multiple names,
·8· ·but -- versus Dimensions Health Corp.
·9· · · · · · · Do you see that?
10· · · · A· · ·Yes.
11· · · · Q· · ·Okay.· And this is the other lawsuit
12· ·that you were a plaintiff in?
13· · · · A· · ·Correct.
14· · · · Q· · ·So if you turn to request number 21, it
15· ·says, You claim that you suffer from depression as
16· ·a result of your allegations against the
17· ·defendants.
18· · · · · · · And then the response is an objection.
19· ·And then it says, As plaintiff testified at her
20· ·deposition, she has been depressed.
21· · · · A· · ·Okay.
22· · · · Q· · ·Do you see that?
23· · · · A· · ·Yes.
24· · · · Q· · ·So does that refresh your recollection
25· ·about whether you testified --

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·1· · · · A· · ·Yes.
·2· · · · Q· · ·-- about feeling depressed?
·3· · · · A· · ·Uh-huh.· I don't recall the dates.
·4· · · · Q· · ·You don't recall the dates, you said?
·5· · · · A· · ·Yeah.
·6· · · · Q· · ·Oh, okay.
·7· · · · A· · ·Yeah.
·8· · · · Q· · ·Of -- the dates of what?
·9· · · · A· · ·Of the question.
10· · · · Q· · ·Oh, of when the -- when you answered
11· ·this question?
12· · · · A· · ·Yes.
13· · · · Q· · ·Okay.· But you -- but you do recall
14· ·having testified at your deposition --
15· · · · A· · ·Correct.
16· · · · Q· · ·-- that you were feeling depressed?
17· · · · A· · ·Correct.
18· · · · · · · It's cold in here.
19· · · · Q· · ·So in April 2019, in Riggins
20· ·Exhibit 10, you told your medical professional
21· ·that you were not feeling depressed; right?
22· · · · A· · ·Yes.
23· · · · Q· · ·But then at your deposition in the
24· ·Maryland litigation, you testified that you were
25· ·feeling depressed?

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·1· · · · A· · ·Correct.· I was not feeling depressed
·2· ·at that time of my visit.
·3· · · · Q· · ·At the time of your visit?
·4· · · · A· · ·Yeah, I was not feeling depressed at
·5· ·that time.
·6· · · · Q· · ·Okay.· So you're -- and you're talking
·7· ·about your visit to Unity Health Care?
·8· · · · A· · ·Correct.
·9· · · · Q· · ·Okay.· Do you recall being asked about
10· ·feeling depressed when you visited Unity Health
11· ·Care?
12· · · · A· · ·Yes.· They always ask those questions.
13· · · · Q· · ·Okay.· Did you ever think to say to
14· ·them that you had been feeling depressed in
15· ·between visits?
16· · · · A· · ·No.
17· · · · Q· · ·Did they ever ask if you were feeling
18· ·depressed in between visits?
19· · · · A· · ·No.
20· · · · Q· · ·Did they ask these orally or did they
21· ·ask them in writing, if you recall?
22· · · · A· · ·They asked them orally.
23· · · · Q· · ·Orally.
24· · · · · · · And you gave the same answer from
25· ·Riggins Exhibit 10 in several of the other Unity

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·1· ·Health Care medical records that we went through;
·2· ·right?
·3· · · · A· · ·Correct.· They asked about that day.
·4· · · · Q· · ·Okay.· So each time you -- you went,
·5· ·you were answering about that day?
·6· · · · A· · ·Correct.
·7· · · · Q· · ·And you never thought to tell them that
·8· ·you were feeling depressed in between your visits?
·9· · · · A· · ·No.
10· · · · Q· · ·During any of these time periods?
11· · · · A· · ·No.
12· · · · Q· · ·Why do you think your -- that Unity
13· ·Health Care was asking you these questions?
14· · · · A· · ·Because it's just something that they
15· ·want to know how you feel during that day at the
16· ·time of visit.
17· · · · Q· · ·Do you think they would be interested
18· ·to -- in -- in terms of treating you, do you think
19· ·they would have wanted to know if you had been
20· ·depressed in between visits?
21· · · · A· · ·I'm not honestly sure.· I don't think
22· ·there's something -- I didn't think that that was
23· ·something that they would consider, something that
24· ·they would deal with.· I would think that I would
25· ·go to another place for that.

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·1· · · · Q· · ·Another place?
·2· · · · A· · ·Yeah.
·3· · · · Q· · ·What do you mean?
·4· · · · A· · ·Like to see someone else versus this
·5· ·Unity Health Care.
·6· · · · Q· · ·Where else would you have gone to seek
·7· ·treatment?
·8· · · · A· · ·Other places that help, like a
·9· ·therapist or anybody else that has to do with
10· ·emotional depression, things like that, how you
11· ·feel.
12· · · · Q· · ·Do you know whether Unity Health Care
13· ·has therapists on staff?
14· · · · A· · ·I do -- no, not really.
15· · · · Q· · ·Did you ever ask?
16· · · · A· · ·No.
17· · · · Q· · ·Why not?
18· · · · A· · ·It just didn't seem like that type of
19· ·place.
20· · · · Q· · ·Did you ever ask them for a referral to
21· ·a -- to a -- a place that would be more equipped
22· ·in your estimation to treat your feeling -- your
23· ·intermittent depression, I guess?
24· · · · A· · ·You said would I ask them?
25· · · · Q· · ·Would you have asked -- or did you ask

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·1· ·them for a referral to somewhere that could treat
·2· ·your depression?
·3· · · · A· · ·No.
·4· · · · Q· · ·Do you think they would be able to
·5· ·refer you to someone who could treat your -- your
·6· ·feeling depressed?
·7· · · · A· · ·I'm not honestly sure.
·8· · · · · · · MR. KLAYMAN:· We've been going for a
·9· ·little while, so why don't we take a quick break
10· ·if that's all right.
11· · · · · · · THE WITNESS:· Okay.
12· · · · · · · THE VIDEOGRAPHER:· Off the record at
13· ·11:23.
14· · · · · · · (Recess -- 11:23 a.m.)
15· · · · · · · (After recess -- 11:35 a.m.)
16· · · · · · · THE VIDEOGRAPHER:· We are back on the
17· ·record at 11:35.
18· · · ·EXAMINATION BY COUNSEL FOR THE DEFENDANT
19· · · · BY MR. SHAFFER:
20· · · · Q· · ·Ms. Riggins, I want to ask you some
21· ·questions about the litigation that you initiated
22· ·in Maryland state court against Dimensions Health
23· ·Care, okay?
24· · · · A· · ·Okay.
25· · · · Q· · ·When did you file that lawsuit?

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·1· · · · · · · MR. ZAJDEL:· Objection: asked and
·2· ·answered.
·3· · · · · · · You can answer.
·4· · · · · · · MR. SHAFFER:· When?· This morning?
·5· · · · · · · MR. ZAJDEL:· (Indicating
·6· ·affirmatively.)
·7· · · · BY MR. SHAFFER:
·8· · · · Q· · ·Okay.· So you told my colleague that it
·9· ·was in September of 2017; is that correct?
10· · · · A· · ·Correct.
11· · · · Q· · ·Okay.· And why did you file that
12· ·lawsuit?
13· · · · A· · ·I'm sorry.
14· · · · Q· · ·That's okay.
15· · · · · · · My question was why you filed the
16· ·lawsuit.· Was -- was the reason you filed the
17· ·lawsuit because you believed that Dimensions
18· ·Health Care was responsible for your emotional
19· ·injuries related to your interactions with
20· ·Dr. Akoda?
21· · · · A· · ·Correct.
22· · · · Q· · ·Okay.· And you're one of the named
23· ·plaintiffs in that lawsuit; correct?
24· · · · A· · ·Correct.
25· · · · Q· · ·Okay.· Is that lawst- -- lawsuit still

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·1· ·active today?
·2· · · · A· · ·Correct.
·3· · · · Q· · ·It is?
·4· · · · A· · ·I believe -- I'm sorry.
·5· · · · Q· · ·If you don't know, just --
·6· · · · A· · ·Yeah.· I don't recall.· I'm sorry.
·7· · · · Q· · ·Okay.· Have you gotten any money from
·8· ·Dimensions Health Care in connection with your
·9· ·lawsuit?
10· · · · A· · ·No.
11· · · · Q· · ·Has anybody told you that you will be
12· ·getting money from Dimensions Health Care?
13· · · · A· · ·No.
14· · · · Q· · ·Okay.· Did anybody tell you whether
15· ·they were going to dismiss your lawsuit against
16· ·Dimensions Health Care?
17· · · · · · · MR. ZAJDEL:· Objection.· That would be
18· ·attorney-client privilege.
19· · · · BY MR. SHAFFER:
20· · · · Q· · ·Well, do you know whether your lawsuit
21· ·against Dimensions Health Care has been dismissed
22· ·or not?
23· · · · A· · ·I don't recall.
24· · · · Q· · ·Okay.· So it might have been, but it
25· ·might not have been?

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·1· · · · A· · ·Correct.· It might have --
·2· · · · Q· · ·Isn't that kind of a big deal, like if
·3· ·you filed a lawsuit and then it got dismissed, you
·4· ·would know?
·5· · · · A· · ·Correct.
·6· · · · Q· · ·But you -- as you sit here today, you
·7· ·don't know?
·8· · · · A· · ·I don't recall, correct.
·9· · · · Q· · ·Okay.
10· · · · · · · (Riggins Deposition Exhibit 12 was
11· ·marked for identification and attached to the
12· ·transcript.)
13· · · · BY MR. SHAFFER:
14· · · · Q· · ·Ms. Riggins, I've handed you what's
15· ·been marked as Exhibit 12 in your deposition.
16· ·It's a pleading in the Circuit Court for Prince
17· ·George's County, Maryland, entitled Stipulation of
18· ·Dismissal Without Prejudice.
19· · · · · · · Take a look at that and let me know
20· ·when you're finished.
21· · · · A· · ·(Witness reviews document.)· Okay.
22· · · · Q· · ·Okay.· Have you had a chance to look at
23· ·that?
24· · · · A· · ·Yes.
25· · · · Q· · ·And if you flip over to the very last

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·1· ·page, which has the Bates number ending in 8683,
·2· ·you'll see that it's a certificate of service
·3· ·dated September 3rd, 2019, which was 13 days ago.
·4· · · · · · · Have you ever seen this document
·5· ·before?
·6· · · · A· · ·No.
·7· · · · Q· · ·Do you know what this document is?
·8· · · · A· · ·A stipulation of dismissal without
·9· ·prejudice in the Circuit Court of Prince George's
10· ·County, Maryland.
11· · · · Q· · ·What's your understanding of what
12· ·this -- what this document does?
13· · · · A· · ·Dismisses a case.
14· · · · Q· · ·Okay.· Do you know whether this is the
15· ·lawsuit that you held -- you are a plaintiff in
16· ·against Dimensions Health Care?
17· · · · A· · ·Yes.
18· · · · Q· · ·It is?
19· · · · A· · ·Yes, I see my name.
20· · · · Q· · ·Okay.· I think you have some exhibits
21· ·in front of you.· Do you want to look back at
22· ·Exhibit 7 that Mr. Klayman showed you this
23· ·morning?
24· · · · · · · And if you take a look at the first
25· ·page of Riggins 7, there's a case number on the

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·1· ·right-hand side in the middle, handwritten,
·2· ·CAL17-22761 --
·3· · · · A· · ·Uh-huh.
·4· · · · Q· · ·Do you see that?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·And then if you look at Riggins 12 and
·7· ·look at the top caption on the first page, it
·8· ·says, Monique Russell, et al., versus Dimensions
·9· ·Health Corp., et al., and the number is the same,
10· ·CAL17-22761?
11· · · · A· · ·Correct.
12· · · · Q· · ·Okay.· Looking at Riggins 7 and
13· ·Riggins 12, as you sit here today, do you have an
14· ·understanding of whether your case against
15· ·Dimensions Health Care in Maryland has been
16· ·dismissed?
17· · · · A· · ·Yes.
18· · · · Q· · ·It has; correct?
19· · · · A· · ·Correct.
20· · · · Q· · ·And how do you know that?
21· · · · A· · ·From the information.
22· · · · Q· · ·What information?
23· · · · · · · MR. ZAJDEL:· Objection to the extent
24· ·you're asking questions about communications
25· ·between attorney-client.

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·1· · · · BY MR. SHAFFER:
·2· · · · Q· · ·Well, here's what I'm trying to get at.
·3· ·I asked you a few moments ago if you knew whether
·4· ·the case was dismissed or not, and you said you
·5· ·didn't remember.
·6· · · · · · · We had that discussion --
·7· · · · A· · ·Okay.
·8· · · · Q· · ·-- do you recall that?
·9· · · · A· · ·Yes.
10· · · · Q· · ·Okay.· And now I've showed you these
11· ·two documents including a stipulation of dismissal
12· ·from 13 days ago.
13· · · · · · · My question is:· Do you now recall that
14· ·your case has been dismissed against Dimensions
15· ·Health Care?
16· · · · A· · ·Yes.
17· · · · Q· · ·And how long ago did you learn that
18· ·your case against Dimensions Health Care had been
19· ·dismissed?
20· · · · A· · ·My memory was refreshed today.
21· · · · Q· · ·Okay.· Did you know that your case
22· ·against Dimensions Health Care had been dismissed
23· ·before September 3rd?
24· · · · A· · ·Yes.· I don't recall.· I'm sorry.                         I
25· ·don't recall.

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·1· · · · Q· · ·Okay.
·2· · · · A· · ·I don't recall the dates.
·3· · · · Q· · ·But you are aware, as you sit here
·4· ·today, that sometime before today you were aware
·5· ·that your case had been dismissed?
·6· · · · A· · ·Correct.
·7· · · · Q· · ·Okay.· And what are the terms on which
·8· ·you understand that dismissal occurred?
·9· · · · A· · ·I'm sorry?
10· · · · Q· · ·Are you getting any money for
11· ·dismissing the case?
12· · · · A· · ·No.
13· · · · Q· · ·Did you have to agree to pay any money
14· ·to Dimensions Health Care as part of dismissing
15· ·that case?
16· · · · A· · ·No.
17· · · · Q· · ·Did you have to agree whether the
18· ·statute of limitations would or would not be
19· ·impacted by your dismissal of the case?
20· · · · A· · ·No.
21· · · · Q· · ·Did you have any discussions with
22· ·anyone besides your lawyers about dismissing that
23· ·case?
24· · · · A· · ·No.
25· · · · Q· · ·Okay.· You believed Dimensions Health

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·1· ·Care was responsible for what you say are your
·2· ·emotional injuries from Dr. Akoda, but yet you
·3· ·dismissed the case against them without getting
·4· ·any money; correct?
·5· · · · A· · ·Correct.
·6· · · · Q· · ·Why did you do that?
·7· · · · · · · MR. ZAJDEL:· Objection.
·8· · · · · · · To the extent he's asking for
·9· ·communications between your attorneys and
10· ·yourself.
11· · · · · · · THE WITNESS:· So what's the question?
12· · · · BY MR. SHAFFER:
13· · · · Q· · ·I don't want to know about your
14· ·communication with your lawyers.· I'm just asking
15· ·you the question why did you agree to dismiss this
16· ·case.
17· · · · · · · Well, let me -- let me back up.· Did
18· ·you agree to dismiss the case?
19· · · · A· · ·Correct.
20· · · · Q· · ·Why did you agree?
21· · · · A· · ·Something I talked to my attorneys
22· ·about.
23· · · · Q· · ·Did you agree to dismiss the case
24· ·because statements you made in that litigation
25· ·against Dimensions Health were not true?

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·1· · · · A· · ·No.
·2· · · · Q· · ·Okay.· You still believe everything you
·3· ·said in that case is true and correct to the best
·4· ·of your ability; right?
·5· · · · A· · ·Correct.
·6· · · · Q· · ·Let's take a look at -- at Riggins 7
·7· ·which is the class action complaint that was
·8· ·filed.
·9· · · · A· · ·Okay.
10· · · · Q· · ·Actually, I'm going to give you an
11· ·amended complaint that you filed in that case,
12· ·just because that's the one I have marked up so it
13· ·will be easier if we go through that one.· I'm
14· ·going to mark it as exhibit Riggins 13 and give
15· ·you a copy.
16· · · · · · · (Riggins Deposition Exhibit 13 was
17· ·marked for identification and attached to the
18· ·transcript.)
19· · · · BY MR. SHAFFER:
20· · · · Q· · ·And, Ms. Riggins, looking at what has
21· ·been marked as Exhibit 13, do you recognize that
22· ·as the first amended class action complaint that
23· ·you filed in Prince George's County, Maryland,
24· ·against Dimensions Health Corporation --
25· · · · A· · ·Yes.

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·1· · · · Q· · ·-- in December of 2017?
·2· · · · A· · ·Yes.
·3· · · · Q· · ·If we turn to page 3 of that document,
·4· ·paragraph 14, just at the bottom.
·5· · · · A· · ·Okay.
·6· · · · Q· · ·You state, Jasmine Riggins was a
·7· ·patient of Oluwafemi Charles Igberase between
·8· ·August 2012 and March 2013 at Dimensions, period.
·9· ·Jasmine Riggins knew Oluwafemi Charles Igberase as
10· ·Akoda.
11· · · · · · · Is that true to the best of your
12· ·knowledge?
13· · · · A· · ·Yes.
14· · · · Q· · ·Turn to page 11, and look at
15· ·paragraph 66 where you state, Between 2008 and
16· ·2016, Akoda was an actual and/or apparent, duly
17· ·authorized agent, servant and/or employee of
18· ·Dimensions, holding a medical staff position
19· ·and/or enjoying hospital privileges.
20· · · · · · · Is that true and correct to the best of
21· ·your knowledge?
22· · · · A· · ·Yes.
23· · · · Q· · ·I'm sorry?
24· · · · A· · ·Yes.
25· · · · Q· · ·Okay.· Okay.· Turn to the next page.

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                                                                      Page 122
·1· ·Actually, let's -- let's go back to paragraph 67
·2· ·where you state, Between 2008 and 2016, Dimensions
·3· ·was responsible to assure and maintain patient
·4· ·safety and privacy for members of the public who
·5· ·received treatment from its agents, servants
·6· ·and/or employees, such as physicians who were
·7· ·medical staff members and/or enjoyed hospital
·8· ·privileges, including specifically but not limited
·9· ·to Akoda.
10· · · · · · · Again, true and correct to the best of
11· ·your knowledge?
12· · · · A· · ·Yes.
13· · · · Q· · ·Okay.· Paragraph 71 on the next page,
14· ·you wrote, Dimensions knew or should have known,
15· ·that Oluwafemi Charles Igberase had assumed a fake
16· ·identity using the name Charles J. Akoda, M.D.;
17· ·correct?
18· · · · A· · ·Correct.
19· · · · Q· · ·And that was true and correct to the
20· ·best of your knowledge --
21· · · · A· · ·Correct.
22· · · · Q· · ·-- correct?
23· · · · · · · Okay.· If you look at paragraphs 72,
24· ·73, 74, 75, 76, 77, 78, 79, 80, all of those
25· ·statements relate to things that you believed

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                                                                      Page 123
·1· ·Dimensions knew or should have done to protect you
·2· ·from Dr. Akoda; correct?
·3· · · · A· · ·Correct.
·4· · · · Q· · ·And those are true and correct to the
·5· ·best of your knowledge?
·6· · · · A· · ·Correct.
·7· · · · Q· · ·Okay.· And in paragraph 81, you state
·8· ·that Dimensions' negligence was the sole and
·9· ·proximate cause of the injuries, damages, and
10· ·permanent disability of named plaintiffs and class
11· ·members with named plaintiffs and class members
12· ·being in no way contributorily negligent.
13· · · · · · · Again, that's your statement and true
14· ·and correct to the best of your knowledge?
15· · · · A· · ·Correct.
16· · · · Q· · ·Turning to page 16 of this document,
17· ·you stated, Dimensions is liable and vicariously
18· ·liable for Akoda's conduct.
19· · · · · · · And you believe that to be true and
20· ·correct to the best of your knowledge?
21· · · · A· · ·Correct.
22· · · · Q· · ·In paragraph 88 you say that
23· ·Dimensions' negligence was the sole and proximate
24· ·cause of the injuries, damages and permanent
25· ·disability of named plaintiffs in the class, with

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·1· ·named plaintiffs in the class being in no way
·2· ·contributorily negligent.
·3· · · · · · · Correct?
·4· · · · · · · MR. ZAJDEL:· Okay.· Before you answer,
·5· ·what paragraph was --
·6· · · · · · · MR. SHAFFER:· 88.
·7· · · · · · · MR. ZAJDEL:· Okay.· You can answer.
·8· · · · BY MR. SHAFFER:
·9· · · · Q· · ·I'm going to rephrase the question.
10· · · · · · · In paragraph 88 you wrote that
11· ·Dimensions' negligence was the sole and proximate
12· ·cause of the injuries, damages and permanent
13· ·disability of named plaintiffs in the class, with
14· ·named plaintiffs in the class being in no way
15· ·contributorily negligent.
16· · · · · · · And you understand and believe that to
17· ·be true and correct; right?
18· · · · A· · ·Correct.
19· · · · · · · (Riggins Deposition Exhibit 14 was
20· ·marked for identification and attached to the
21· ·transcript.)
22· · · · BY MR. SHAFFER:
23· · · · Q· · ·I'm going to hand you what's been
24· ·marked as Exhibit 14.
25· · · · · · · Riggins 14 is a document again from the

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                                                                      Page 125
·1· ·matter of Monique Russell versus Dimensions Health
·2· ·Corporation entitled Claimants' Certificate of
·3· ·Merit.
·4· · · · · · · Take a quick look at this if you would.
·5· · · · A· · ·(Witness reviews document.)
·6· · · · Q· · ·Ms. Riggins, this document is entitled
·7· ·Claimants' Certificate of Merit, and the first
·8· ·page is a certificate by a gentleman named Thomas
·9· ·Bojko.
10· · · · · · · Do you see that?
11· · · · A· · ·Yes.
12· · · · Q· · ·I'm sorry.· Just try to keep your voice
13· ·up.
14· · · · A· · ·Yeah, it's a little cold in here.· I'm
15· ·sorry.· I'm just trying --
16· · · · Q· · ·That's okay.· We'll try to get it
17· ·warmer.
18· · · · · · · Okay.· Do you know who Mr. Bojko is?
19· · · · A· · ·I do not.
20· · · · Q· · ·Okay.· Do you see in the second
21· ·paragraph that he says he has reviewed the
22· ·captioned Class Action Amended Statement of Claim,
23· ·a final decision and order of the Board of
24· ·Maryland Board of Physicians, Department of
25· ·Justice materials, proceedings of the criminal

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·1· ·case against Dr. Charles Akoda/Igberase and other
·2· ·related materials regarding the above captioned
·3· ·case?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Okay.· Do you know whether or not
·6· ·Mr. Bojko was hired by your lawyers to offer
·7· ·opinions about Dimensions Health Corporation's
·8· ·conduct?
·9· · · · A· · ·No.
10· · · · Q· · ·Okay.· Do you see in paragraph 3 of
11· ·Riggins 14 where Mr. Bojko certifies that there
12· ·have been violations of the applicable standards
13· ·of administrative care by Dimensions Health
14· ·Corporation and Dimensions Health Corporation
15· ·d/b/a Prince George's Hospital Center,
16· ·individually and through their duly authorized
17· ·agents, apparent agents, servants and/or
18· ·employees, including but not limited to Charles J.
19· ·Akoda/Oluwafemi Charles Igberase which have
20· ·directly and proximately resulted in damages,
21· ·injuries and permanent disability to the claimants
22· ·and others situated.
23· · · · · · · Do you understand what Mr. Bojko is
24· ·saying there?
25· · · · A· · ·Not really.

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·1· · · · Q· · ·Okay.· Were you aware of these
·2· ·certifications and statements by Mr. Bojko before
·3· ·you dismissed your case against Dimensions Health
·4· ·Corporation?
·5· · · · A· · ·No.
·6· · · · Q· · ·Okay.· Turn to the third page of
·7· ·Exhibit 14, which is a letter dated February 26th,
·8· ·2018, to a Paul Vettori.
·9· · · · · · · Do you know Mr. Vettori?
10· · · · A· · ·Yes.
11· · · · Q· · ·Who is he?
12· · · · A· · ·He's an attorney.
13· · · · Q· · ·Okay.· Is he one of your attorneys in
14· ·the lawsuit in Maryland and in Philadelphia?
15· · · · A· · ·Yes.
16· · · · Q· · ·Okay.· This is a letter to him from
17· ·Thomas Bojko, M.D., M.S., J.D., president and
18· ·managing partner of Aviva Healthcare Solutions.
19· ·And he writes to Mr. Vettori in the first
20· ·paragraph, This is to acknowledge that after a
21· ·review of materials involved in the
22· ·above-referenced case, I have concluded that there
23· ·have been violations of the applicable standards
24· ·of administrative care by Dimensions Health
25· ·Corporation d/b/a Prince George's Hospital Center,

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·1· ·individually and through their duly authorized
·2· ·agents, apparent agents, servants and/or
·3· ·employees, including but not limited to Charles J.
·4· ·Akoda/Oluwafemi Charles Igberase ("Akoda"), which
·5· ·have directly and proximately resulted in
·6· ·injuries, damages and permanent disability to the
·7· ·claimants and others similarly situated.
·8· · · · · · · Do you see that?
·9· · · · A· · ·Yes.
10· · · · Q· · ·Were you aware of Mr. Bojko's opinions
11· ·related to the activities of Dimensions Health
12· ·Corporation?
13· · · · A· · ·No.
14· · · · · · · MR. ZAJDEL:· Objection: asked and
15· ·answered.
16· · · · BY MR. SHAFFER:
17· · · · Q· · ·Okay.· Look at the second paragraph of
18· ·this letter.· Mr. Bojko states, It is my opinion
19· ·the defendants, Dimensions Health Corporation,
20· ·breached the applicable standards of
21· ·administrative care by negligently failing to use
22· ·required and reasonable care to investigate,
23· ·credential, grant privileges, monitor and
24· ·supervise their medical personnel, including but
25· ·not limited to, Akoda and to discover, stop and

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·1· ·report any professional misconduct of which they
·2· ·should have known.
·3· · · · · · · Do you agree with Mr. Bojko?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Okay.· Next sentence he writes, As a
·6· ·direct and proximate result of the defendants'
·7· ·continuing negligence, the claimants, and others
·8· ·similarly situated, suffered physical pain,
·9· ·emotional anguish, and damages as well as personal
10· ·disability.
11· · · · · · · Do you agree with that?
12· · · · A· · ·Yes.
13· · · · Q· · ·Is that a yes?
14· · · · A· · ·Yes.
15· · · · Q· · ·Thank you.
16· · · · · · · And then he writes, Had the defendants
17· ·complied with the applicable standards of
18· ·administrative care the claimants, and others
19· ·similarly situated, would not have suffered their
20· ·injuries, damages and permanent disability.
21· · · · · · · Do you agree with that?
22· · · · · · · MR. ZAJDEL:· Objection: calls for a
23· ·legal conclusion.
24· · · · · · · You can answer.
25· · · · · · · THE WITNESS:· Yes.

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                                                                      Page 130
·1· · · · BY MR. SHAFFER:
·2· · · · Q· · ·Okay.· Do you know who hired Dr. Akoda
·3· ·to work at Prince George's?
·4· · · · A· · ·No.
·5· · · · Q· · ·I just want to ask a question to make
·6· ·sure that we're on the same page.· When we talked
·7· ·on Thursday, I think you told me that you did not
·8· ·have any information about ECFMG except what you
·9· ·may have been told by your lawyers; correct?
10· · · · A· · ·Correct.
11· · · · Q· · ·Okay.· And is it fair for me to then
12· ·assume that if this matter were to go to a trial,
13· ·that you would not come to trial and expect to
14· ·testify about ECFMG; is that fair?
15· · · · A· · ·Could you repeat your question?· I'm
16· ·sorry.
17· · · · Q· · ·Sure.
18· · · · · · · You don't know anything about ECFMG
19· ·today other than what your lawyers told you;
20· ·right?
21· · · · A· · ·Correct.
22· · · · Q· · ·You don't have any firsthand knowledge,
23· ·firsthand interactions, never spoke to anybody at
24· ·ECFMG, never went to their Web site, never looked
25· ·at any of their materials; correct?

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·1· · · · A· · ·Correct.
·2· · · · Q· · ·Okay.· And my question is, if you come
·3· ·to trial in this matter, will you agree that
·4· ·because you don't have that information and
·5· ·anything your lawyers told you isn't something you
·6· ·know personally, that you're not going to come to
·7· ·trial and testify about things regarding ECFMG?
·8· · · · · · · MR. ZAJDEL:· Objection.· That's a
·9· ·decision that's going to be made by her attorneys,
10· ·so I -- don't answer that question.· I instruct
11· ·the witness not to answer that question.
12· · · · · · · MR. SHAFFER:· On what grounds?
13· · · · · · · MR. ZAJDEL:· You're asking her about a
14· ·decision that's to be made between her and her
15· ·counsel.· You're going to -- you -- you've
16· ·propounded discovery.· I'm sure we've listed who
17· ·our witnesses are, or whatever the deadline date
18· ·is for discovery closing we'll list who the
19· ·witnesses are, and if her name is not there, she
20· ·won't be testifying at trial.· If her name is
21· ·there, she'll be testifying at trial.
22· · · · · · · MR. SHAFFER:· And my question was a
23· ·little -- it was a little more specific.
24· · · · BY MR. SHAFFER:
25· · · · Q· · ·I understand you may come testify at

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·1· ·trial.· What I don't want to have happen is
·2· ·there's a situation where you come and you've
·3· ·looked at a whole bunch of documents and materials
·4· ·that you didn't look at before you came in here
·5· ·today.
·6· · · · · · · MR. SHAFFER:· So that's my question.
·7· ·If the answer is the same, we'll take it up at the
·8· ·appropriate time.
·9· · · · · · · MR. ZAJDEL:· Well, I'm still going to
10· ·object to that question because I can't confirm or
11· ·deny what Ms. Riggins will see or not see before
12· ·the trial in preparing for a trial.
13· · · · · · · But if what you're trying to find out
14· ·is is she going to testify to her personal
15· ·knowledge about ECFMG differently than what she
16· ·testified to today, then I -- I believe that
17· ·answer is not going to change.· Her knowledge as
18· ·of today was her knowledge as of today.
19· · · · · · · MR. SHAFFER:· Right.
20· · · · BY MR. SHAFFER:
21· · · · Q· · ·Again, in the interest of trying to
22· ·move this along, take a look at Riggins 11 which
23· ·has already been marked this morning.
24· · · · · · · And these are Plaintiff Jasmine Riggins
25· ·Responses to Defendants' Requests for Admissions

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·1· ·that you served on the defendants in the
·2· ·Dimensions Health Care Corporation case in
·3· ·Maryland, and I think Mr. Klayman asked you a
·4· ·question or two about this?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·And my question is in responding to
·7· ·these requests for admissions, were you trying to
·8· ·be as truthful and as accurate as you could be in
·9· ·answering the questions that were asked?
10· · · · A· · ·Yes.
11· · · · Q· · ·And as you sit here today, do you
12· ·believe that the answers that you gave in response
13· ·to these requests for admissions back in the
14· ·Dimensions Health Care case are still true and
15· ·accurate to the best of your ability?
16· · · · A· · ·Yes.
17· · · · Q· · ·You don't want to change any of these
18· ·answers today based on the dismissal of the
19· ·Dimensions Health Care case; right?
20· · · · A· · ·No.
21· · · · Q· · ·Okay.
22· · · · · · · MR. SHAFFER:· Let's go off the record
23· ·for a minute.
24· · · · · · · THE VIDEOGRAPHER:· Off the record at
25· ·12:06.

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·1· · · · · · · (Recess -- 12:06 p.m.)
·2· · · · · · · (After recess -- 12:14 p.m.)
·3· · · · · · · THE VIDEOGRAPHER:· We are back on the
·4· ·record at 12:14.
·5· · · · BY MR. SHAFFER:
·6· · · · Q· · ·Ms. Riggins, we're almost done here.                         I
·7· ·have a few more questions for you.· I want to make
·8· ·sure I cover a couple of things that we started to
·9· ·talk about on Thursday and didn't get to finish.
10· · · · · · · I think we talked a little bit about
11· ·the different doctors that you have seen in
12· ·connection with your three children.· There were
13· ·three different doctors that you saw, one for each
14· ·birth; correct?
15· · · · A· · ·Correct.
16· · · · Q· · ·And you had a C-section in connection
17· ·with each of them; correct?
18· · · · A· · ·Correct.
19· · · · Q· · ·And I think we saw in the medical
20· ·record that was prepared after your C-section
21· ·involving Messiah reporting the existence of
22· ·significant scarring at that time.
23· · · · · · · Do you recall that?
24· · · · A· · ·Correct.
25· · · · Q· · ·And I think we talked about how that

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·1· ·was something you were not aware of prior to
·2· ·Thursday; correct?
·3· · · · A· · ·Correct.
·4· · · · Q· · ·Prior to Thursday, what you had been
·5· ·told or assumed was that that scarring had
·6· ·occurred during the second C-section because it
·7· ·was noted in your discussions with your third
·8· ·doctor; correct?
·9· · · · A· · ·Correct.
10· · · · Q· · ·Okay.· I think you also mentioned
11· ·briefly on Thursday that following the birth of
12· ·Messiah -- and it was a good birth; right?· He was
13· ·born healthy; correct?
14· · · · A· · ·Correct.
15· · · · Q· · ·-- that you have had some pain
16· ·resulting after the birth; is that correct?
17· · · · A· · ·Correct.
18· · · · Q· · ·What -- what exactly were you
19· ·describing there?· What was the condition that you
20· ·were describing?
21· · · · A· · ·The abdominal pains in my stomach.
22· · · · Q· · ·And do you think that that was the
23· ·result of having had the C-section?
24· · · · A· · ·Yes.
25· · · · Q· · ·Okay.· And have you had pain following

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·1· ·each of the C-sections that you've had in your
·2· ·abdominal area?
·3· · · · A· · ·No, not as bad, no.
·4· · · · Q· · ·Okay.· It might not have been as bad,
·5· ·but is it fair to say that C-section is a major
·6· ·surgery in your abdominal area?
·7· · · · A· · ·Correct, but I was --
·8· · · · Q· · ·Okay.· Did you have abdominal pain
·9· ·after the first C-section?
10· · · · A· · ·Slight.
11· · · · Q· · ·And if you were experiencing pain as a
12· ·result of the C-section, that's something that you
13· ·would have reported to your doctors; correct?
14· · · · A· · ·I'm sorry?
15· · · · Q· · ·If you were experiencing pain --
16· ·abdominal pain following the C-sections, that's
17· ·something you would have reported to your doctors?
18· · · · A· · ·Correct.
19· · · · Q· · ·Okay.· I saw somewhere in -- in the
20· ·documents we've received reference to Charter
21· ·Health Clinic.
22· · · · · · · Do you know who that is?
23· · · · A· · ·Yes.
24· · · · Q· · ·Who is that?
25· · · · A· · ·It's the office -- doctor's office I

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                                                                      Page 137
·1· ·used to go to.
·2· · · · Q· · ·Okay.· When did you go there?
·3· · · · A· · ·Years ago.
·4· · · · Q· · ·Okay.· What kind of doctor's office?
·5· · · · A· · ·The same as Unity.· It was actually
·6· ·Charter before it was Unity.
·7· · · · Q· · ·Okay.· So it was your general
·8· ·practitioner physician?
·9· · · · A· · ·Correct.
10· · · · Q· · ·Okay.· For what reasons would you go to
11· ·Charter Health Clinic?
12· · · · A· · ·Regular checkups, if I was feeling ill.
13· · · · Q· · ·When was the last time you were there?
14· · · · A· · ·I don't recall.
15· · · · Q· · ·Do you know whether they still have any
16· ·medical records from you?
17· · · · A· · ·I do not know that.
18· · · · Q· · ·Okay.· And I apologize.· I know you
19· ·went over this, I think, with Mr. Klayman.· But
20· ·when we talked on Thursday, you had mentioned some
21· ·communications with Monique Russell a month or so
22· ·ago, and we talked about and made a request at the
23· ·deposition that you bring those with you today.
24· · · · · · · And you have not done that; correct?
25· · · · A· · ·Correct.

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                                                                      Page 138
·1· · · · Q· · ·And you have not looked for those;
·2· ·correct?
·3· · · · A· · ·Correct.
·4· · · · Q· · ·Why not?
·5· · · · A· · ·I've had other things going on,
·6· ·unfortunately.
·7· · · · Q· · ·Is that something that you are still
·8· ·willing to collect and provide to your attorneys
·9· ·to provide to us?
10· · · · A· · ·Yes.
11· · · · Q· · ·Okay.· And just so I'm clear, the
12· ·things that you think Dr. Akoda did that were
13· ·wrong are what?
14· · · · A· · ·Performing on women, doing C-sections,
15· ·looking at women's private parts, violating them,
16· ·touching them, not being honest with them.
17· · · · Q· · ·And what is it that you think ECFMG
18· ·should have done?
19· · · · A· · ·Paid attention to his credentials and
20· ·actually paid attention to him being interviewed
21· ·under two different names.· Just be more careful
22· ·about their job, pretty much.· Be more careful
23· ·about who they certify.
24· · · · Q· · ·And do you know whether or not they
25· ·identified instances where Dr. Akoda had used

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                                                                      Page 139
·1· ·multiple names?
·2· · · · A· · ·I'm sorry?
·3· · · · Q· · ·Are you aware of whether or not ECFMG
·4· ·actually identified situations where Dr. Akoda had
·5· ·used different names?
·6· · · · A· · ·Could you rephrase your question?· I'm
·7· ·sorry.
·8· · · · · · · MR. SHAFFER:· Can you read it back?
·9· · · · · · · (The Record was read as requested.)
10· · · · · · · THE WITNESS:· I'm not aware.
11· · · · · · · MR. ZAJDEL:· I'm sorry.· I didn't hear
12· ·that.
13· · · · · · · MR. SHAFFER:· She said, I think, I'm
14· ·not aware.
15· · · · · · · THE WITNESS:· I -- no.· Sorry.
16· · · · · · · MR. ZAJDEL:· Can -- are you answering
17· ·the question no, you're not aware?· I want to make
18· ·sure --
19· · · · · · · MR. SHAFFER:· Yeah.
20· · · · · · · MR. ZAJDEL:· -- I understand.· I'm not
21· ·trying to be in the way.
22· · · · · · · THE WITNESS:· Right.
23· · · · · · · So you're asking if I'm aware -- I'm
24· ·sorry.
25· · · · · · · MR. SHAFFER:· That's all right.

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·1· ·Let's --
·2· · · · · · · THE WITNESS:· I'm --
·3· · · · · · · MR. SHAFFER:· -- try --
·4· · · · · · · THE WITNESS:· -- having --
·5· · · · · · · MR. SHAFFER:· -- again.
·6· · · · · · · THE WITNESS:· -- a hard time
·7· ·comprehending this question.
·8· · · · · · · MR. ZAJDEL:· So you haven't answered
·9· ·the question yet?
10· · · · · · · THE WITNESS:· No.
11· · · · · · · MR. ZAJDEL:· Okay.· I didn't know if
12· ·she was answering your question or.
13· · · · · · · MR. SHAFFER:· I'm not sure either.· So
14· ·we're going to have --
15· · · · · · · THE WITNESS:· Sorry.
16· · · · · · · MR. SHAFFER:· -- the court reporter --
17· ·that's okay.· We're going to have the court
18· ·reporter read it back and see if -- see if we can
19· ·get there.
20· · · · · · · (The Record was read as requested.)
21· · · · · · · THE WITNESS:· No.· I'm sorry.· I'm
22· ·having a hard time comprehending that question.
23· · · · BY MR. SHAFFER:
24· · · · Q· · ·Well, let me -- let me ask it again
25· ·because I don't want there to be any confusion

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                                                                                 YVer1f
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                                                                      Page 141
·1· ·about it.
·2· · · · · · · You said ECFMG should be more careful;
·3· ·right?
·4· · · · A· · ·Uh-huh.
·5· · · · Q· · ·Those were your words?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·All right.· And my question, you said
·8· ·sort of -- strike that.
·9· · · · · · · And I guess my question was, do you
10· ·know or would it make a difference in your mind if
11· ·you were to learn that ECFMG actually did find
12· ·situations where Dr. Akoda had tried to use
13· ·different names?
14· · · · A· · ·Would it make a difference in my mind?
15· · · · · · · I'm sorry.
16· · · · Q· · ·You don't know?
17· · · · A· · ·No.
18· · · · Q· · ·Would it make a difference in your mind
19· ·if you were to learn that ECFMG had cooperated
20· ·with the U.S. Attorney's Office and helped them
21· ·build a case against Dr. Akoda?
22· · · · A· · ·Possibly, you know.
23· · · · Q· · ·Okay.· And tell me again what you think
24· ·Dimensions Health Care should have done to prevent
25· ·Dr. Akoda from seeing you?

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·1· · · · · · · MR. ZAJDEL:· Objection: asked and
·2· ·answered.
·3· · · · · · · You can answer.
·4· · · · · · · THE WITNESS:· Okay.· Just be more
·5· ·careful about who they allow to practice in their
·6· ·offices, hospitals; pay more attention; be more --
·7· ·take more pride in what they do, you know what I
·8· ·mean, like -- just being on top -- being more
·9· ·careful.
10· · · · · · · MR. SHAFFER:· Okay.· I don't -- I don't
11· ·have any more questions at this time.· We reserve
12· ·the right to -- to requestion Ms. Riggins in light
13· ·of additional documents that might be produced or
14· ·a change in her position regarding the information
15· ·that she has not been able to speak to from
16· ·personal knowledge here today, whether regarding
17· ·ECFMG or something else.
18· · · · · · · But subject to those comments, we'll
19· ·adjourn the deposition.
20· · · · · · · MR. ZAJDEL:· Okay.· I don't have any
21· ·questions.
22· · · · · · · THE VIDEOGRAPHER:· If that is
23· ·everything, we are off the record on
24· ·September 16th, 2019, at 12:26.
25

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·1· · · · · · · (Signature having not been waived, the
·2· ·Videotaped Deposition of JASMINE RIGGINS ended at
·3· ·12:26 p.m.)
·4
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·1· ·CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC
·2· · · · · · ·I, Dana C. Ryan, Registered Professional
·3· ·Reporter, Certified Realtime Reporter, the officer
·4· ·before whom the foregoing proceedings were taken
·5· ·do hereby certify that the foregoing transcript is
·6· ·a true and correct record to the best of my
·7· ·ability of the proceedings; that said proceedings
·8· ·were taken by me stenographically and thereafter
·9· ·reduced to typewriting under my supervision; and
10· ·that I am neither counsel for, related to, nor
11· ·employed by any of the parties to this case and
12· ·have no interest, financial or otherwise, in its
13· ·outcome.
14· · · · · · ·IN WITNESS WHEREOF, I have hereunto set
15· ·my hand and affixed my notarial seal this 26th day
16· ·of September 2019.
17· ·My Commission expires:
18· ·July 15, 2020
19
20
21
22· ·_____________________________
23· ·NOTARY PUBLIC IN AND FOR THE
24· ·DISTRICT OF COLUMBIA
25

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                                                                      Page 145
·1· · · · · · · ACKNOWLEDGMENT OF DEPONENT
·2· · · · · · · I, Jasmine Riggins, do hereby
·3· ·acknowledge that I have read and examined the
·4· ·foregoing testimony, and the same is a true,
·5· ·correct and complete transcription of the
·6· ·testimony given by me and any corrections appear
·7· ·on the attached Errata sheet signed by me.
·8
·9
10
11· ·_____________________· · ·______________________
12· ·(DATE)· · · · · · · · · · · · (SIGNATURE)
13
14
15· · · · · · ·CERTIFICATE OF NOTARY PUBLIC
16· ·Sworn and subscribed to before me this
17· ·_______ day of _______________, _________
18
19
20· ·_____________________· · ·______________________
21· ·NOTARY PUBLIC· · · · · · · ·MY COMMISSION EXPIRES
22
23
24
25

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                Exhibit 65




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                     *
ELSA M. POWELL AND DESIRE EVANS,
                                                      *       Case No. 2:18-cv-05629-WB
               Plaintiffs
                                                      *       Hon. Wendy Beetlestone
       v.
                                                      *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES                             *

               Defendant                              *

               *          *    *       *       *      *       *       *       *       *       *

                   PLAINTIFF JASMINE RIGGINS’ ANSWERS TO FIRST SET OF
                    INTERROGATORIES AND RESPONSES TO FIRST SET OF
                        REQUESTS FOR PRODUCTION OF DOCUMENTS

       Plaintiff, Jasmine Riggins, pursuant to Federal Rules Civil Procedure 26, 33 and 34,

serves the following Answers to First Set of Interrogatories propounded by the defendant.

       The information supplied in these answers is not based solely on the knowledge of the

executing party, but includes, where applicable, that of her agents, representatives and, unless

privileged, attorneys. Furthermore, the precise word usage and sentence structure is that of the

executing party’s’ attorneys and does not purport to be, and is not necessarily, the exact language

of the executing party.

       Plaintiff objects to the instructions and definitions that accompany the interrogatories to

the extent that those instructions and definitions impose upon her obligations beyond those

imposed by the Federal Rules of Civil Procedure.

       By providing information in response to the interrogatories, Plaintiff does not admit the

relevance or admissibility of any of the information supplied but instead reserves the right to object

to the admissibility of the information.




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                                 ANSWERS TO INTERROGATORIES

INTERROGATORY NO. 1:

        Describe in detail each and every instance in which you were a patient of Akoda,
including how you chose Akoda as your doctor, the date you were a patient, and the specific
nature of the treatments and examinations performed.

ANSWER:

       Plaintiff believes, but is not certain, that she recalls the dates she saw Akoda in his

office and the dates she was at Prince Georges’ Hospital Center where Akoda delivered her

baby, Messiah Denver Brown, by C-section on March 18, 2013. Her best recollection is that

Akoda provided prenatal care from August 2012 to March 18, 2013. Plaintiff refers

Defendant to the medical records which Plaintiff is producing. Plaintiff chose Dr.

Chaudry’s practice because it was conveniently located. She was never treated by Dr.

Chaudry but rather by Akoda.

INTERROGATORY NO. 2:

         Describe in detail the alleged injuries for which you are seeking to recover in this
litigation, including when you first became aware of those injuries, how you became aware of
those injuries, whether you have seen any health care provider for treatment of those alleged
injuries and if so, who and when, and each and every aspect of those injuries.

ANSWER:

       Plaintiff has suffered financial, physical and emotional injuries. In addition to these

injuries, Akoda’s surgery on Plaintiff has limited her birth control options. Plaintiff

requested a tubal ligation to ensure against future pregnancies and she was denied due to

the tissue damage caused by Akoda’s surgery. Plaintiff suffered extreme pain for several

months after Akoda’s surgery. After returning to work and continuing for a few months,

approximately twice a week Plaintiff was unable to complete her work shift, leaving work

two hours early, because of the extreme pain, that at times would cause her to double over,

                                               2

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and resulted in lost income. Plaintiff had confidence and trust in her OB/GYN provider,

Abdul Chaudry, M.D., that the doctors working under his practice and that treated her

were, at the very least, legitimately credentialed, legally licensed, possessed the proper

education and were real doctors. In addition, Plaintiff had confidence and trust in Prince

George’s Hospital Center that the doctors given privileges at their facility to perform

surgery would also, at the very least, be legitimately credentialed, legally licensed, possess

the proper education and were real doctors. Akoda performed a C-section on Plaintiff on

March 18, 2013, when he was not legitimately credentialed, used fraud to obtain a medical

license, and did not graduate from a medical school. Upon learning Akoda was a fraud,

impersonating a doctor, Plaintiff felt extremely violated, betrayed, embarrassed, sad, very

angry and shocked. As discovery is ongoing, Plaintiff reserves the right to supplement this

Answer.

INTERROGATORY NO. 3:

        Describe in detail all facts that support the allegation in the Complaint that ECFMG owed
a duty to Plaintiffs and the Putative Class Members.


ANSWER:

       The facts that support these allegations are set forth in the Complaint. See, e.g.,

paragraphs 5, 10-47, and 68-69. Plaintiff’s investigation is continuing.

INTERROGATORY NO. 4:

       Describe in detail all facts that support the allegation in the Complaint that ECFMG
breached a duty owed to Plaintiffs and the Putative Class Members.

ANSWER:

       The facts that support these allegations are set forth in the Complaint. See, e.g.,

paragraphs 70-80. Plaintiff’s investigation is continuing.

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INTERROGATORY NO. 5:

      Describe in detail all facts that support the allegation in the Complaint that ECFMG’s
supposed negligence was the “sole and proximate cause” of your alleged injuries and damages.

ANSWER:

       Plaintiff adopts by reference her answer to Interrogatory No. 4.

INTERROGATORY NO. 6:

        Describe in detail all facts that support the allegations in the Complaint that Akoda
“performed inappropriate examinations of a sexual nature while utilizing inappropriate and
explicit sexual language” and committed “boundary violations.”

ANSWER:

       Based on information obtained by counsel, Plaintiff believes that, with respect to

certain class members, Akoda made lewd comments and inappropriate touchings.

Plaintiff’s investigation is continuing.

INTERROGATORY NO. 7:

        Describe in detail all facts that support the allegation in the Complaint that you chose
Akoda as your “obstetrician/gynecologist” on the basis of [your] belief that Akoda had obtained
all necessary credentials and certifications required of physicians practicing in the United States,
including certification from ECFMG,” including facts relating to when you first learned about
ECFMG, its certification services, and its certification of Akoda.

ANSWER:

       Plaintiff would not have chosen anyone as her Ob/Gyn who was not a real physician.

Plaintiff naturally assumed Akoda was a real physician.

INTERROGATORY NO. 8:

        Identify and describe in detail each and every communication you had with anyone (other
than with your attorneys) about the claims or facts underlying the claims that you are asserting in
the Complaint, including all such communications with Akoda’s medical practice, any medical
licensing board, any employee, agent or representative of ECFMG, and all such communications
with a journalist, reporter, or member of the media.



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ANSWER:

       Plaintiff spoke with Monique Russell. Plaintiff’s contacts with Akoda are reflected

in the medial records which are being produced.

INTERROGATORY NO. 9:

       Describe in detail any and all remedies that you seek in connection with this lawsuit,
including each element of damages or other relief to which you claim you are entitled, the
method of calculating each such element of damages or other relief, the amount of each element
of damages or other relief, and the time period for which you are seeking damages or other relief.

ANSWER:

       Plaintiff adopts by reference her answer to interrogatory no. 2. The amount of these

damages is for the jury to determine. Plaintiff seeks damages for these injuries as

determined by the jury.

INTERROGATORY NO. 10:

       Identify each civil (including bankruptcy filings), criminal and administrative action to
which you have been a party or in which you have served as a witness, including the matter
name, court or agency.

ANSWER:

       Plaintiff is a named class representative in two class action cases filed in the Circuit

Court for Prince George’s County, Maryland. They are both captioned “Monique Russell,

et al. v. Dimensions Health Corp.” They are Case Nos. CAL 17-22761 and CAL 18-07863.


INTERROGATORY NO. 11:

        Describe in detail any arrangements that you have made with your attorneys or others
relating to payment of the costs, attorneys’ fees, or other financial obligations associated with the
bringing of this lawsuit.

ANSWER:




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       Plaintiff objects to this Interrogatory on the grounds that the information requested

is protected from discovery by the attorney-client privilege and on the grounds that it is not

relevant to any claim or defense in this action.

INTERROGATORY NO. 12:

       Identify each and every Putative Class Member of whom you are aware, and for each
person, describe in detail all facts supporting your contention that he or she is a Putative Class
Member.

ANSWER:

       Plaintiff’s counsel represents numerous persons who are putative members of the

class. Counsel for Plaintiff has a list of persons who have been retained by Plaintiff’s

counsel as members of the putative class. Plaintiff’s counsel has sufficient information to

establish that these clients were seen or treated by Akoda. Plaintiff’s counsel is also aware

that other attorneys in this case represent numerous persons who are putative members of

the class, but is not aware of their identities. Plaintiff believes that there are approximately

1,000 patients seen or treated by Akoda.

INTERROGATORY NO. 13:

        Identify each and every person who provided information used to answer these
Interrogatories, and identify the Interrogatory or Interrogatories for which that person provided
information.

ANSWER:

       My attorneys assisted in the preparation of these answers.

INTERROGATORY NO. 14:

      Identify all persons with knowledge relating to the allegations and claims in the
Complaint, and for each person, describe the subject(s) about which they have knowledge.

ANSWER:




                                                  6

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       In addition to the named plaintiffs and my attorneys, those persons or entities

identified in Plaintiff’s initial disclosures. Further, Lisa Williams, Messiah Brown’s

grandmother, took Plaintiff to several of her doctor appointments with Akoda. Plaintiff’s

sister, Candis Riggins, attended one of Plaintiff’s doctor appointments with Akoda.

Plaintiff’s mother, Felicia Riggins, went with Plaintiff to her last OB visit, which was on the

day Plaintiff was admitted to Prince George’s Hospital Center, to deliver her infant.

                                         Lisa Williams
                                       2722 Lorring Drive
                                      Forestville, MD 20747

                                         Candis Riggins
                                      6004 Springhill Drive
                                      Greenbelt, MD 20770

                                         Felicia Riggins
                                       Address Unavailable

INTERROGATORY NO. 15:

         Identify and describe in detail each and every health care provider (including but not
limited to physicians, psychologists, nurses, and/or therapists) from whom you have sought
treatment, and for each health care provider, state whether you sought treatment from the health
care provider to address the alleged injuries for which you are seeking to recover in this
litigation.

ANSWER:

       Plaintiff objects to this interrogatory on the grounds that it is overly broad and

burdensome. As worded, this Interrogatory seeks information about Plaintiff’s health care

that is unrelated to her treatment by Akoda. It is not limited in time or scope and seeks

information that is not relevant.

INTERROGATORY NO. 16:

        Identify any and all persons you may call as a fact witness relating to this lawsuit at the
time of trial.



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ANSWER:

       Plaintiff has not determined who she may call as fact witnesses a trial. Plaintiff will

comply with her obligations under F.R.C.P. 26(a)(3) or as otherwise ordered by the Court.

INTERROGATORY NO. 17:

         Identify any and all persons you intend to call as an expert witness relating to this lawsuit
at the time of trial.

ANSWER:

       Plaintiff has not determined who she may call as expert witnesses at trial. Plaintiff

will comply with her obligations under F.R.C.P. 26(a)(2).

INTERROGATORY NO. 18:

      Identify the jurisdiction whose law you contend governs each of the claims in the
Complaint and describe in detail all facts supporting your contention.

ANSWER:

       Plaintiff objects to this interrogatory to the extent that it calls for information

subject to work-product protection. By way of further answer, and without waiver,

discovery and Plaintiff’s investigation are continuing and full identification of the relevant

facts for a choice of law analysis are yet to be determined.

                                    DOCUMENT REQUESTS

                                        General Objections

       1.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

  to impose obligations in excess of the requirements of the Federal Rules of Civil Procedure.

       2.      Plaintiff objects to each of Defendant’s requests to the extent that the request is

vague or ambiguous, overly broad, unduly burdensome, and not reasonably calculated to lead to

the discovery of admissible evidence.

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      Case:2:18-cv-05629-JDW
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       3.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents that are publicly available or that Defendant may more directly, easily, and

conveniently obtain from other sources.

       4.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

documents beyond Plaintiffs’ possession, custody or control.

       5.      Plaintiff objects to each of Defendant’s requests to the extent that Defendant seeks

the production of materials or the disclosure of information protected from discovery by the

attorney-client privilege, the work product doctrine, or any other applicable protections. The

inadvertent production of materials or information subject to the protections of the attorney-

client privilege, the attorney work product doctrine, or similar privileges or protections from

discovery shall not constitute a waiver of any such privileges or protections.

       6.      To the extent that Defendant requests documents and information that constitute

sensitive, confidential, or proprietary information, Plaintiff will produce such documents only

after the execution of a suitable confidentiality agreement between the parties.

       7.      Because Defendant’s requests contain numerous redundant items, documents may

respond to multiple requests and it is therefore impractical and unduly burdensome to identify

the specific requests to which documents respond.

       8.      These responses are made without waiver of: (i) any objections to competency,

relevancy, materiality, privilege, and the admissibility of each response, including documents

produced and the subject matter thereof, in any further proceedings in this action; (ii) the right to

object to the use of any document provided pursuant to this response, or the subject matter

thereof, on any ground in any further proceedings in this action; and (iii) the right, at any time,

to revise, correct, supplement or clarify any of these responses.



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       Case:2:18-cv-05629-JDW
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        9.     Plaintiff expressly reserves the right to rely at any time, including in any further

proceedings in this action, on documents that are subsequently discovered or were omitted from

these responses as a result of mistake, error, oversight or inadvertence.

        10.    These responses and any further responses or documents produced pursuant

thereto are made without any acknowledgment or concession that the documents requested are

relevant to the subject matter of this action.

        11.    The statement in any given response that documents will be produced means that

documents will be produced, as limited by the relevant objections, provided that such documents

exist and are in the possession, custody or control of Plaintiff. Plaintiff’s stated willingness to

produce certain classes of documents should in no way be construed as an affirmative

acknowledgment that such documents either exist or are in the possession, custody or control of

Plaintiff.

        12.    The foregoing General Objections are hereby incorporated by Plaintiff into the

responses to each and every one of Plaintiff’s specific requests set forth below, and to each and

every amendment, supplement or modification to these responses hereinafter provided to the

specific requests propounded by the Defendant. Plaintiff does not intend to waive any General

Objection responsive to any specific request.

REQUEST NO. 1:

        All documents identified in your Rule 26(a)(1) disclosures.

RESPONSE:

        The requested documents will be produced.

REQUEST NO. 2:

       All documents identified in or relied upon in the course of answering the Interrogatories
served contemporaneously with these Requests.

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                                                                                             JA3734
     Case:2:18-cv-05629-JDW
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                            Document 86-291845     Date Filed:
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RESPONSE:

      The requested documents will be produced.

REQUEST NO. 3:

      All pleadings filed in Akoda litigation.

RESPONSE:

      The requested documents will be produced.

REQUEST NO. 4:

      All documents relating to Akoda Litigation.

RESPONSE:

      The requested documents will be produced.

REQUEST NO. 5:

      All documents produced by you or to you in Akoda Litigation.

RESPONSE:

      Certain documents produced to Plaintiff by Dimensions in the Akoda litigation are

subject to a Confidentiality Agreement. To the extent that ECFMG can obtain the consent

of Dimensions, Plaintiff will produce the requested documents.

REQUEST NO. 6:

      All sworn statements executed by you in Akoda Litigation.

RESPONSE:

      None.

REQUEST NO. 7:

      All documents relating to Putative Class Members.

RESPONSE:

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                                                                                JA3735
      Case:2:18-cv-05629-JDW
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                             Document 86-291846     Date Filed:
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       Objection. This request is ambiguous, overbroad and seeks documents which are

not proportionate to the needs of this case. If Defendant will clarify it, Plaintiff will

attempt to respond.

REQUEST NO. 8:

      All documents relating to Akoda, including documents relating to treatments or
examinations performed by Akoda.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request. This request

also appears to be duplicative of other requests to which Plaintiff has responded that, if she

has any such documents, they will be produced.

REQUEST NO. 9:

       All communications between you and Akoda.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 10:

       All documents relating to ECFMG.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 11:

        All communications between you and ECFMG relating to the claims or facts underlying
the claims that you are asserting in the Complaint.

RESPONSE:

       Other than the records deposition subpoena served on ECFMG, there are none.




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                                                                                            JA3736
      Case:2:18-cv-05629-JDW
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                             Document 86-291847     Date Filed:
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REQUEST NO. 12:

       All documents about JSMC and Akoda.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 13:

        All communications between you and JSMC relating to the claims or facts underlying the
claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 14:

       All documents relating to Howard University Hospital and Akoda.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 15:

        All communications between you and Howard University Hospital relating to the claims
or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 16:

       All documents relating to Prince George’s Hospital Center and Akoda.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request. This request

also appears to be duplicative of other requests to which Plaintiff has responded that, if she

has any such documents, they will be produced.



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                                                                                      JA3737
      Case:2:18-cv-05629-JDW
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                             Document 86-291848     Date Filed:
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REQUEST NO. 17:

       All communications between you and Prince George’s Hospital Center relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 18:

       All documents relating to A.G. Chaudry, M.D. and Akoda.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 19:

       All communications between you and A.G. Chaudry, M.D. relating to the claims or facts
underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 20:

       All documents relating to Dimensions Healthcare Associates and Akoda.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

REQUEST NO. 21:

       All communications between you and Dimensions Healthcare Associates relating to the
claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 5.

REQUEST NO. 22:

       All documents relating to the Maryland Board of Physicians and Akoda.

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      Case:2:18-cv-05629-JDW
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RESPONSE:

       The requested documents will be produced.

REQUEST NO. 23:

       All communications with the Maryland Board of Physicians relating to the claims or facts
underlying the claims that you are asserting in the Complaint.

RESPONSE:

       None.

REQUEST NO. 24:

       All documents and communications relating to your allegations that “Igberase never
attended or graduated from a medical school.”

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 25:

       All documents and communications relating to your allegation that the Centers for
Medicare and Medicaid Services “denied Igberase’s application to enroll for Medicare
reimbursement.”

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 26:

      All documents and communications relating to your decision to have Akoda treat or
examine you.

RESPONSE:

       Other than the medical records, none.

REQUEST NO. 27:




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      Case:2:18-cv-05629-JDW
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                             Document 86-291850     Date Filed:
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       All documents and communications relating to your alleged “belief that Akoda had
obtained all necessary credentials and certifications required of physicians practicing in the
United States, including certification from ECFMG.”

RESPONSE:

       None.

REQUEST NO. 28:

       All documents and communications relating to your allegation that “Igberase performed
inappropriate examinations of a sexual nature while utilizing inappropriate and explicit sexual
language.”

RESPONSE:

       None.

REQUEST NO. 29:

       All documents and communications relating to your allegation that “Igberase’s
penetrations of his patients were clear boundary violations.”

RESPONSE:

       None.

REQUEST NO. 30:

        All documents and communications relating to your allegation that ECFMG owed a duty
to you and Putative Class Members.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it calls for a legal conclusion as to

any documents that may be responsive to this request. This request also appears to be

duplicative of other requests to which, subject to the above stated objection, Plaintiff has

responded that, if she has any such documents, they will be produced.

REQUEST NO. 31:



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       All documents and communications relating to your allegation that ECFMG breached a
duty owed to you and Putative Class Members.

RESPONSE:

       This request appears to be duplicative of other requests to which Plaintiff has

responded that, if she has any such documents, they will be produced.

REQUEST NO. 32:

       All documents and communications relating to your allegation that ECFMG’s negligence
was the “sole and proximate cause” of your alleged injuries and damages.

RESPONSE:

       Upon advice of counsel, Plaintiff objects to this request and declines to produce the

requested documents on the grounds that it calls for a legal conclusion as to any documents

that may be responsive to this request. This request appears to be duplicative of other

requests to which Plaintiff has responded that, if she has any such documents, they will be

produced.

REQUEST NO. 33:

       All documents and communications relating to injuries (physical, mental, emotional,
psychological, or otherwise) that you contend you have suffered or will continue to suffer
because of ECFMG’s negligence.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 34:

       All W-2 forms, wage documents, and state and federal income tax returns, including all
forms, schedules, and attachments.

RESPONSE:




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                                                                                      JA3741
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       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce any documents other than the documents showing the time she may have missed

from work for a brief period of time after her surgery.

REQUEST NO. 35:

       All medical records, pharmacy records, doctor’s notes, or similar documents relating to
any physical or mental health diagnosis, illness, injury, or treatment you have experienced or
received.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that it is overly broad and burdensome in

that it is not limited in time or scope and that it seeks information that is not relevant to

any claim or defense in this action.

REQUEST NO. 36:

      All medical bills, statements, and other documents relating to expenses you incurred for
examination and treatment of alleged injuries.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 37:

       All medical bills, statements, and other documents relating to expenses paid on your
behalf by any insurance carrier or health plan for examination and treatment of alleged injuries.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 38:

        All communications between you and a journalist, reporter, or member of the media
relating to the claims or facts underlying the claims that you are asserting in the Complaint.

RESPONSE:

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       None.

REQUEST NO. 39:

        All communications between one or more of your attorneys and a journalist, reporter, or
member of the media relating to the claims or facts underlying the claims that you are asserting
in the Complaint.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request and declines to

produce the requested documents on the grounds that the requested documents are

protected from discovery by the attorney work product doctrine and are not relevant to

any claim or defense in this action.

REQUEST NO. 40:

       All personal records, notes, journals, calculations, calendars, and/or diaries that make
reference to your examination or treatment by Akoda.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 41:

        All statements you or your attorneys have obtained from individuals concerning the
allegations in the Complaint or any alleged unlawful conduct by ECFMG.

RESPONSE:

       Objection. Plaintiff has not obtained any statements. Upon advice of counsel,

Plaintiff objects to this request insofar as it seeks statements obtained by her attorneys and

declines to produce the requested documents on the grounds that they are protected from

discovery by the work-product doctrine.

REQUEST NO. 42:




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        All documents and communications relating to any arrangements that you have made
with your attorneys or others relating to payment of the costs, attorneys’ fees, or other financial
obligations associated with the bringing of this lawsuit.

RESPONSE:

       Objection. Upon advice of counsel, Plaintiff objects to this request on the grounds

that it seeks documents protected from discovery by the attorney-client privilege and on

the grounds that it requests documents which are not relevant to any claim or defense in

this action.

REQUEST NO. 43:

       All documents and communications, including but not limited to consulting or financing
agreements, relating to individuals or entities, other than you or your attorneys, that are (a)
providing any funding of any attorneys’ fees, expenses, or costs related to this lawsuit; (b)
providing any information, services, or assistance concerning this lawsuit to you or your
attorneys, either directly or indirectly; or (c) have a financial interest or right to receive
compensation that is contingent on the outcome of this lawsuit by settlement, judgment, or
otherwise; or (d) are receiving any form of compensation or remuneration for providing any
information, services, or assistance concerning this lawsuit.

RESPONSE:

       Plaintiff adopts by reference her response to Request No. 42.

REQUEST NO. 44:

        All documents and communications relating to the remedies you seek, including each
element of damages or other relief to which you allegedly are entitled, the method of calculating
each such element of damages or other relief, and the amount of each element of damages or
other relief.

RESPONSE:

       The requested documents will be produced.

REQUEST NO. 45:

       All documents and communications referenced in or used, reviewed, or relied upon in
preparing the Complaint.




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   RESPONSE:

          The requested documents will be produced.

   REQUEST NO. 46:

        All documents and communications relating to the claims asserted in the Complaint.
   RESPONSE:

          The requested documents will be produced.

   REQUEST NO. 47:

          All documents you may introduce as exhibits at trial in this lawsuit.

   RESPONSE:

          Plaintiff has not decided what documents she will introduce at trial. Plaintiff will

   comply with her obligations under F.R.C.P. 26(1)(3).


                                                CONRAD & O’BRIEN, P.C.


                                                _/s/ Nicholas M. Centrella____________________
                                                Nicholas M. Centrella, Esquire (ID No. 67666)
                                                ncentrella@conradobrien.com
                                                Howard M. Klein, Esquire (ID No. 33632)
                                                Benjamin O. Present, Esquire (ID No. 322682)
                                                1500 Market Street
                                                Centre Square, West Tower, Suite 3900
                                                Philadelphia, PA 19102-2100
                                                Telephone: (215) 864-9600
                                                Fax: (215) 864-9620




Dated: March 29, 2019




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 Case:2:18-cv-05629-JDW
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                                                        Page   23 of 24




                                            LAW OFFICES OF PETER G. ANGELOS, P.C.


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                                            One Charles Center
                                            100 North Charles Street
                                            Baltimore, MD 21201
                                            Telephone: (410) 649-2000
                                            Fax: (410) 649-2150
                                            Attorneysfor Plaintiff', Jasmine Riggins




                                       VERIFICATION

           I, Jasmine Riggins, hereby aver that the factual statements in the foregoing Answers

to interrogatories are true and correct to the best of my knowledge, information and belief, and

that these Answers are made subject to the penalties relating to unswom falsification to

authorities.
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                                             Jasmine Riggins           t
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Dated: March 25, 2019




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below I caused a true and correct copy of the

foregoing Answers to Interrogatories to be served on the following via electronic mail:

                                       Brian W. Shaffer
                                       Elisa P. McEnroe
                                     Matthew D. Klayman
                             MORGAN, LEWIS & BOCKUS, LLP
                                      1701 Market Street
                                Philadelphia, PA 19103-2921
                               brian.shaffer@morganlewis.com
                              elisa.mcenroe@morganlewis.com
                             matthew.klayman@morganlewis.com




                                                             /s/ Nicholas M. Centrella________
                                                             Nicholas M. Centrella




  March 29, 2019




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                                86-30  Filed Date Filed:Page
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                Exhibit 66




                                                                  JA3748
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   Consent to Treatment
   I am seeking either inpatient or outpatient service from Dimensions Healthcare System (OHS). I understand services are available to me without discrimination as prohibited
   by federal and state law. I hereby consent to care and treatment, including but not limited to diagnostic medical therapeutic testing and treatment as may be deemed
   necessary or advisable by my physician, his/her associates, partners or designee, consulting physicians, DHS and its employees, based on his/her medical knowledge and
   my health condition. I understand I have a right to limit or refuse recommended treatments and/or procedures. I understand that no guarantees have been made to me about
   the outcome of this care. I understand that health related services may be provided by the employees, agents, and independent contractors utilized by DHS, including but not
   limited to anesthesiology and other interpretive and diagnostic services.

   Medical Education and Training: I understand that DHS is approved to train medical students, residents, nurses and allied health students. I also understand students and
   residents may observe or participate in patient care. I agree to permit such involvement, unless I notify DHS to the contrary in writing with the understanding the students or
   resident's work will be under the supervision of a qualified instructor or physician on the medical staff of DHS.

   Physicians Not As Employees: I acknowledge that physicians furnishing services, including but not limited to attending physicians, radiologists, surgeons, emergency
   department physicians, obstetrician/gynecologists, pathologists, anesthesiologists, neonatologists, physicians interpreting diagnostic studies, consultants and assistants to the
   physician are not employees or agents of the hospital. I understand that I may receive a separate bill from each of these providers of service.

   For inpatient Only. Room charges are incurred for the day of admission or any part thereof, but not the date of discharge. I acknowledge that check-out time is 11:00 a.m.
   Any balances known to be due for services not covered or partially covered by insurance will be payable at the time of discharge, including but not limited to applicable
   coinsurance or deductibles.

            Properly and Valuables: I agree that OHS will not be responsible for patient valuables, clothes, personal items, money or other personal property. I also release
   Personal Property
   DHS from any responsibility for loss or damage to any article not claimed from safekeeping by or for the patient within thirty (30) days of discharge or departure from DHS
   premises.

   Only Applicable for Medicare Beneficiaries: Statement for Payment of Medicare Benefits to Hospital and/or Physicians — I certify that the information given by me for payment
   under title XVIII of the Social Security Act is correct. I authorize any holder of medical or other information about me to release to the Center for Medicare and Medicaid
   Services (CMS) or Medicare Intermediaries or Carriers any information needed for these services or a related claim. I request that payment of authorized benefits be made on
   my behalf.

   Insurance Billing and Assignment of Benefits: I assign the benefits payable for hospital or physician services to DHS and or any physician which renders service to me and
   authorize them to submit the necessary claims to Medicare for payment. I certify the registration statements are true and I, as guarantor, agree to pay all amounts owed for
   care and treatment to the full extent permitted by law. DHS may submit claims to my third party payor or, if legally permissible, bill me directly for full or partial payment. I
   understand that DHS may, at its option, delay billing me directly and this does not alleviate my responsibility for payment. I agree to pay all amounts owned by me, or the
   Insured, Member or Subscriber, for treatment to the full extent permitted by law. I assign any benefits which I or the Insured, Member or Subscriber may have or be entitled
   to, to DHS towards payment of my hospital bills and physician bills. I understand that my insurance, HMO, or other healthcare benefits are subject to verification by DHS and
          wilt remain responsible for any unpaid amounts whether or not covered by this assignment to the full extent permitted by law. I understand and agree that I am
   that I will
   responsible to pay for any charges for care/treatment/service when I access care/treatment/service outside of my insurance plan network.

   Notification of Credit Bureaus Reporting: I understand that OHS may report any outstanding self-pay balances to Credit Bureaus.

   Release of Information
                information
   I understand that my medical information is confidential and under certain circumstances is protected under federal and state laws and regulations and cannot be released
   without my written authorization unless otherwise provided for in said regulations. I also understand that I may revoke this consent at anytime except to the extent that action
   has been taken in reliance on it.

   I understand that it may be necessary for OHS, its employees, agents, independent contractors and/or my physician to release and/or disclose all or part of my confidential
   medical information to third parties for the purposes of providing certain diagnostic treatment and/or testing which may not be available within OHS.

   I understand that for the sake of convenience and speed of reference, and to further the timeliness and quality of diagnosis and treatment rendered to me, that any physician,
   nurse, or business office representative who has been involved with my treatment at a DHS facility may request that the hospital send by facsimile transmission to the
   physician of record, consulting physician or third party carrier any relevant data from my medical record necessary for continuity of care or reimbursement. It is further
   understood that with any facsimile transmission there is a possibility that medical records may inadvertently be misdirected. Not withstanding such risk, I hereby authorize
   release of any relevant data in my medical record by facsimile transmission to any physician who has participated in my diagnosis or treatment at the hospital or to any third
   party carrier for reimbursement and hereby release DHS from any liability associated with those risks.

   I understand that OHS is the owner of any radiographic films and/or tissue/specimens obtained during the course of my care and treatment. The original radiographic films
   and/or all of the tissue/specimens will not be released. Copies of radiographic films and/or samples of the tissue/specimens will be provided, if duplication is possible, to me or
   my authorized agent upon written request for a reasonable fee.


                                                                                                                                 PATIENT LABEL
                                UNIVERSAL CONSENT (Side 1)
                                     DIMENSIONS HEALTHCARE SYSTEM                                                  RIGGINS, JASMINE
                                                                                                                    305955064             11021375
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   Release of Information (Cont'd)
   I understand that the Federal Safe Medical Devices act requires manufacturers of certain medical devices to track the distribution and use of said devices. I understand that
   DHS must facilitate the tracking of these devices by providing the information to the manufacturer with respect to the patient receiving such a device, which includes releasing
   my social security number to the manufacturer of the medical device I may receive, in accordance with the federal law and regulations. I understand that my social security
   number may be used by the manufacturer to help locate me if there is a need to contact me with regard to this medical device. I release DHS from any liability that might
   result from the release of this information.

   Authorization For The Release Of Medical Information To The Maryland Insurance Administration:
   Under Maryland law, I have the right to contest a decision by an HMO or heath health insurer that a proposed or delivered health care service was not medically necessary. The law
   allows the Health Education and Advocacy Unit (HEAU) of the office of the Attorney General to assist me in filing an internal grievance with the HMO or health insurer and
   allows me to externally appeal the final decision to the Maryland Insurance Administration (MIA). I may appeal the initial decision directly to the MIA if I can demonstrate a
   compelling reason not to file an internal grievance with the HMO or health insurer. A health care provider may also file an internal grievance or external appeal on my behalf.
   By signing this form, I either wish to file an internal grievance or appeal, or I authorize a health care provider to file such a grievance or appeal.

   I understand that, as part of the HEAU assisting me with my internal grievance, or MIA handling my external appeal, the HEAU or MIA will contact my HMO or health insurer
   for an explanation as to its actions in connection with my internal grievance or external appeal, or an internal grievance or external appeal filed on my behalf.

   I further understand that MIA may receive advice from medical experts or an Independent Review Organization (IRO) while determining whether to uphold or overturn the
   HMO or health                             heath care service was not medically necessary.
             heath insurer's decision that a health

   Throughout the grievance or appeal process, the confidentiality of my medical records will be maintained in accordance with Maryland and federal law. I understand that if I
   have questions about the contents of my medical records to be released, I should contact my health care provider.

   I understand that my records may by used to develop general statistical information on grievances and appeals, and any statistical reports will not identify me or contain any
   identifying information. I do not authorize the release of any information that would identify me to anyone not mentioned above.

   In the event I, or a provider on my behalf, file an internal grievance or an external appeal, I authorize the release of my medical records as follows:

   1. I authorize the Attorney General and MIA to obtain medical records and insurance information for the purpose of investigating my grievance or appeal.
   2. I authorize the Attorney General to release my medical records to MIA so that my appeal or grievance may be investigated, and authorize MIA to release my medical
      records to the Attorney General so that my appeal or grievance may be investigated.
   3. I authorize MIA to release my medical records to the relevant HMO or health insurer, and/or the HMO's or health insurer's legal counsel for the purpose of investigating
      my grievance or appeal or handling any hearing which may result from such investigation.
   4. I authorize MIA to transfer my medical records to the Department of Health and Mental Hygiene if my grievance or appeal involves potential issues of quality of care so
      that the Department may conduct an investigation into these particular issues.
   5. I authorize MIA to release my medical records to medical experts who may assist MIA with my grievance or appeal.

   I acknowledge the following:

     • This form has been explained to me and I understand its contents
    El                                                                              ❑ Receipt of "An Important Message from Medicare° to Medicare beneficiaries
                                                                                   El

    IDECI
    ECI Receipt of a copy of DHS Notice of Privacy Practices                       gj Receipt of DHS brochure 'What You Should Know As A Patient°
                                                                                               it




    ID My communication needs identified by completing the Communication
        Assessment Form
    D Dimensions Healthcare Public Health Initiative: If you smoke, please stop smoking.
    >

   PLEASE NOTE: All patients 18 and over must sign this consent form themselves, unless they have a legal guardian, personal representative or are
   incapacitated. If so, the signer must submit written proof of guardianship or representation with this consent form.
                                                          3/18/2013                     Signed by ANDERSON, CYNTHIA on      on        3/18/2013
               Signature of Patient                               Date
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                                                    Complete the following section if consent is not obtained from the patient

   Patient is unable to make an informed decision because patient is (Check appropriate box):
    ❑
    O Minor                _years of age without decision-making capacity                 0          Lacks decision-making capacity
    O Other:
                                                                                    3/18/2013
                      Patient Representative Signature                                    Date                                     Relationship to Patient
                                                                                    3/18/2013
                             Witness signature                                            Date

                                                                                                                                  PATIENT LABEL
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Patient:
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1.   I hereby authorize the performance of the fokming
                                               fo wing operation(s)/procedure(s

       under the direction of Dr.(s):
2.   I have been informed that qualified individuals such as physicians' assistants, surgical assistants and licensed physicians may perform significant surgical tasks to
     include but not limited to opening and closing, harvesting grafts, dissecting tissue, removing tissue, implanting devices, altering tissues under the direction and
     supervision of the primary physician listed above.
3.   I have been informed that a vendor representative may be present during the procedure to observe my procedure and/or assist with product selection and placement.
4.   I have been advised of the nature of my condition, the nature and purpose of the proposed operative procedure, and the altemative
                                                                                                                                 alternative to this procedure, the risks benefits,
     and side effects attendant to both the proposed procedure and the alternatives, the probability of success of both the proposed procedure and the alternatives, and the
     prognosis of the proposed procedure if the alternatives are not performed.
5.   I am also aware that the practice of medicine and surgery is not an exact science and that there are risks and complications associated with the operative procedure. The risks
     associated with the performance of the proposed and any surgical procedure include but are not limited to severe blood loss, infection and in rare instances cardiac arrest.
6.   I have also been informed of potential problems that might occur during recuperation.
7.   I have been informed that circumstances may arise during the course of treatment that would necessitate the performance of operations and procedures which are different
     from or in addition to those now contemplated.
8.   This procedure may necessitate the use of blood/blood products which when anticipated will require separate specific informed consent and related documentation. However,
     in the event of an emergency when specific consent is not possible, I agree to the administration of such products as ordered by my physician.
9.   I impose no specific limitations or prohibitions regarding treatment other than those that follow (if none, so state):

10. I authorize the examination by an authorized individual of any tissue, organ(s) or body part(s) removed during the procedure and the disposal of such tissue, organ(s) or body
    part(s) in accordance with hospital policies.
11. I consent to the admittance of appropriate observers and to the taking and publication of any photographs in the course of this procedure for the purpose of advancing medical
    education. I understand that my identity will remain confidential.
12. All of my questions have been answered to my satisfaction. I believe that I have adequate knowledge upon which to base an informed consent to the proposed operative
    treatment(s).

I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THE ABOVE CONSENT, THAT THE EXPLANATIONS THEREIN REFERRED TO
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SIGNED.

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                                 Witness                                                 Signed:                                             Patient

                                                Complete the following section if consent is not obtained from the patient.

Patient is unable to make an informed decision because patient is (Check appropriate box):
 ❑
 0       Minor          years of age without decision-making capacity                  0           Lacks decision-making capacity
 0       Other
         Other.


                    Patient Representative Signature                                                                               Relationship to Patient

                          Witness Signature (1)                                                                                     Witness signature (2)

Consent obtained (Check one): 0 In person             0 By Telephone (Requires
                                                                       [Requires two (2) witness signatures]
                                                   Two physician signatures are required in an emergency for consent
                                                                                                             consent:

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PF YSICIAN DECLARATION: Prior to the performance of the procedure described above, I have explained to the patient/surrogate decision-maker the nature, purpose,
benefits, risks, alternative at f nts, possible .nsequen s and possib
                                                               possib implications. I confirm the above ssurgery/pro
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 Physician Signature                                                                        Date                                      Time: 2 -to -a

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1.       I hereby autho ' e t             thesia
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                                                  Care Team                                                                     to administer the following type(s) of anesthetics:
         General/Regional/Local + IVlSev  e o   on       scious Sedation and procedures performed in the provision of anesthesia including placing an intravenous (IV) catheter and
         maintaining an airway.
2.
Z        The risks associated with anesthesia include but are not limited to worsening of a pre-existing medical problem, airway difficulties and drug reactions. Drug reactions can
         include a rash, nausea, vomiting, muscle aches, headache, wheezing and very rarely, shock. Maintaining an airway may include placement of an oral or nasal airway,
         laryngeal mask airway or an endotracheal tube. Reactions to artificial airways include laryngospasm which requires immediate corrective treatment. Manipulation of the
         airway may result in damage to caps, bridges or damaged teeth and very rarely to sound teeth. Some individuals experience a sore lip, throat or hoarseness. Regional
         anesthesia blocks may cause headache, numbness or tingling, bleeding or swelling and rarely, weakness or paralysis. Occasionally nerve injuries from positioning may
         occur. IV catheters can cause inflammation, swelling or bleeding.
3.       I am also aware that the practice of medicine and anesthesia is not an exact science and that there are risks and complications associated with the anesthesia and anesthetic
                                                                                                                                     hypertherrnia and anaphylactic shock, heart failure,
         technique. I have been informed that the aspiration of stomach contents into the lungs, drug reactions including malignant hyperthermia
         airway closure, paralysis and rarely death may be associated with any anesthetic or anesthetic technique.
4.       I have been informed that circumstances may arise during the course of treatment that would necessitate the performance of anesthetic techniques and administration of
         anesthesia which are different from or in addition to those now contemplated.
5.       I impose no specific limitations or prohibitions regarding anesthesia other than those that follow (if none, so state):


6.       All of my questions have been answered to my satisfaction. I believe that I have adequate knowledge upon which to base an informed consent to the proposed administration
         of anesthetic(s) and anesthetic techniques.

I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THE ABOVE CONSENT, THAT THE EXPLANATIONS T                                         EIN REFERRED TO WERE MADE, AND THAT ALL
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                                       itnes                                                Signed:                                              Patient

                                                   Complete the following sectionif consent Is
                                                                                            is not obtained from the patient
                                                                                                                     patient.

Patient is unable to make an informed decision because patient is (Check appropriate box):
 O Minor                years of age without decision-making capacity                  0              Lacks decision-making capacity
 O Other.


                       Patient Representative Signature                                                                                Relationship to Patient

                             Witness Signature (1)                                                                                      Witness signature (2)

Consent obtained (Check one): 0 In person                 CI
                                                          0 By Telephone [Requires two (2) witness signatures)
                                                       Two physician signatures are required In
                                                                                             in an emergency for consent

                                                                       M.D.                                                                                                   M.D.


RESUSCITATION STATUS DURING ANY PROCEDURE REQUIRING INFORMED CONSENT: This section is to be completed for patients undergoing any procedure
requiring informed consent, who also have orders withholding resuscitation.

O Patient/surrogate decision-maker requests that DNR order be suspended during any procedure.
O Patient/surrogate decision-maker requests that DNR order be honored during any procedure.
Describe the key features of the discussion(s) pertaining to the DNR issues:


PHYSICIAN DECLARATION: Prior to the titip              the pla    d anesth .ia
                                                                            'a above, I have explained to the patient/surrogate decision-maker the nature, purpose, benefits, risks,
and possible complications.

  Physician Signature                                                                                    Dateamez/
                                                                                                         Date     /(rAfeV               t            Time:
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Patient:                                                      0      YlA-A-A                   Date:     3 1K 13              1'7-6             Time:

1.   l hereby authorize the pe orm      e of the foil f ing   ration(s)/ oced e(s):                            .,fr CiL cuuLcA-(___
       under the direction of Dr.(s):
2.   I have been informed that qualified individuals such as physician assistants, surgical assistants an ensed physicians may perform significant surgical tasks to
     include but not limited to opening and closing, harvesting grafts, dissecting tissue, removing tissue, implanting devices, altering tissues under the direction and
     supervision of the primary physician listed above.
3.   I have been informed that a vendor representative may be present during the procedure to observe my procedure and/or assist with product selection and placement.
4.   I have been advised of the nature of my condition, the nature and purpose of the proposed operative procedure, and the alternative to this procedure, the risks benefits,
     and side effects attendant to both the proposed procedure and the alternatives, the probability of success of both the proposed procedure and the alternatives, and the
     prognosis of the proposed procedure if the alternatives are not performed.
5.   I am also aware that the practice of medicine and surgery is not an exact science and that there are risks and complications associated with the operative procedure. The risks
     associated with the performance of the proposed and any surgical procedure include but are not limited to severe blood loss, infection and in rare instances cardiac arrest.
6.   I have also been informed of potential problems that might occur during recuperation.
7.   I have been informed that circumstances may arise during the course of treatment that would necessitate the performance of operations and procedures which are different
     from or in addition to those now contemplated.
8.   This procedure may necessitate the use of blood/blood products which when anticipated will require separate specific informed consent and related documentation. However,
     in the event of an emergency when specific consent is not possible, I agree to the administration of such products as ordered by my physician.
9.   I impose no specific limitations or prohibitions regarding treatment other than those that follow (if none, so state):

10. I authorize the examination by an authorized individual of any tissue, organ(s) or body part(s) removed during the procedure and the disposal of such tissue, organ(s) or body
    part(s) in accordance with hospital policies.
11. I consent to the admittance of appropriate observers and to the taking and publication of any photographs in the course of this procedure for the purpose of advancing medical
    education. I understand that my identity will remain confidential.
12. All of my questions have been answered to my satisfaction. I believe that I have adequate knowledge upon which to base an informed consent to the proposed operative
    treatment(s).

I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THE ABOVE CONSENT, THAT THE EXPLANATIONS THEREIN REFERRED TO WERE MADE, AND THAT ALL
BLANKS OR STATEMENT REQUIRING INSERTION OR COMPLETION WERE FILLED IN AND INAPPLI BLE P       GRA        A Y, WERE STRICKEN BEFORE I
SIGNED.


                                 Witness                                                 Signed:

                                                Complete the following section if consent is not obt nedfrom the patient.

Patient is unable to make. n informed decision because patient is (Check appropriate box):
 a       Minor        r Years gage without decision-making capacity                " a             Lacks decision-making capacity
 a       Other


                    Patient Representative Signature                                                                               Relationship to Patient

                        Witness Signature (1)                                                                       Witness Signature (2)
                             ,         •
Consent obtained (Check one): •1:1 In persOn     0 By Telephone [Requires wito 12) witness signatures]
                                •             Two physician signatures,are required in an emergency for consent •••

                                                                  2.,M.D. .                                                                                              M.D.


PHYSICIAN DECLARATION: Prior to the performance of the procedure described above, I have explained to e patie surrogate decision-maker the nature, purpose,
benefits, risks, alternative tre e , possible co uences      ssible complications. I confirm the above urgery/ ocedure is correct as to procedure, side and site.

 Physician Signature                                                                                   Date                                     Time:                0

                                                                                                                                               PATIENT LABEL
            CONSENT FOR OPERATIONS AND OTHER PROCEDURES
                                      DIMENSIONS HEALTHCARE SYSTEM


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                Exhibit 67




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                                  Gladys S. Fenichel, MD
                                       210 Kent Road
                                    Ardmore, PA 19003
                               FenichelMD@FenichelMD.com
                                       (610) 649-8940
                                    FAX (610) 649-5071

September 25, 2019

Elisa P. McEnroe
Morgan, Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103-2921

RE: Jasmine Riggins et al. v. Educational Commission for Foreign Medical Graduates

Dear Ms. McEnroe:

On September 20, 2019, I had the opportunity to see Jasmine Riggins for an independent
psychiatric evaluation. The evaluation was requested to comment on Ms. Riggins’s psychiatric
condition in relation to the Complaint in Jasmine Riggins et al. v. Educational Commission for
Foreign Medical Graduates.

At the start of the examination, I discussed with Ms. Riggins that I would prepare a report based
on the psychiatric evaluation and review of records. I discussed with Ms. Riggins that the
examination was not for purposes of treatment and I was not her doctor.

In preparation of this report I have reviewed the following documents:

1. Medical Records: Plaintiffs0000001134 – Plaintiffs0000001242; Plaintiffs0000001995 –
   Plaintiffs0000002026; Plaintiffs0000006394 – Plaintiffs0000006512; Plaintiffs0000007418 –
   Plaintiffs0000007425; Plaintiffs0000007426 – Plaintiffs0000007652
2. Complaint in Russell et al. v. ECFMG
3. Jasmine Riggins’s Answers to First Set of Interrogatories and Responses to First Set of
   Requests for Production of Documents (3/28/2019)
4. Jasmine Riggins’s Supplemental Answers to First Set of Interrogatories and Responses to
   First Set of Requests for Production of Documents (6/13/2019)
5. Amended Class Action Complaint in Russell v. Dimensions Health, CAL 18-07863
   (3/16/2018)
6. Jasmine Riggins’s Responses to Requests for Admission, CAL 18-07863
7. Jasmine Riggins’s Answers to Interrogatories, CAL 18-07863 (3/29/2019)
8. Deposition of Jasmine Riggins, CAL 17-22761, CAL 17-37091, and CAL 18-07863
   (4/1/2019)




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                                                                 RE: JASMINE RIGGINS
                                                                                Page 2
HISTORY REPORTED BY JASMINE RIGGINS:

Jasmine Riggins (date of birth          ) said that she is involved in the current litigation because
her son was delivered by a man who is “not a doctor.” Ms. Riggins said that Dr. Akoda falsified
information that he was a doctor. Ms. Riggins said she was in a Facebook group called
Embracing Mommies. Ms. Riggins said she did not recall when she joined this Facebook group.
Ms. Riggins said that she would check the Facebook group Embracing Mommies a couple times
a week for notifications and information that could be helpful for her and her children. Ms.
Riggins said she believes that she saw a Facebook post about Dr. Akoda sometime in 2016. Ms.
Riggins said that the post was written by Monique Russell. Ms. Riggins said she did not recall
the exact words from the post; but she recognized the name Dr. Akoda and wanted to get more
information. Ms. Riggins said she learned that Dr. Akoda is not a doctor. Ms. Riggins said that
she had communicated with Ms. Russell on Facebook, but she had never met Ms. Russell in
person until they appeared for depositions on the same day.

Ms. Riggins said that she has three children. Her oldest child, Santana, was born on         at
Howard University Hospital. Ms. Riggins said she moved to Maryland, and she chose Dr. Abdul
Chaudry’s practice for her second pregnancy. She said Dr. Akoda was a physician in the practice
and he was her doctor during the pregnancy. Ms. Riggins said she did not have any problems
with the treatment during her pregnancy. Ms. Riggins said that she needed an emergency c-
section and her son Messiah was born on            . Ms. Riggins explained that her mother went
with her to a prenatal OB appointment with Dr. Akoda. Ms. Riggins had reported a decrease in
fetal movement, and she said she was told to go to the hospital to deliver her baby.

Ms. Riggins said she was in the hospital for four or five days after she delivered Messiah, and
she said that she continued to have pain for a couple months after he was born. Ms. Riggins said
that she had been working at a bowling alley 20 hours a week during her pregnancy with
Messiah, and she went back to work a few months after Messiah was born. Ms. Riggins said that
she did not have concerns about her treatment with Dr. Akoda in the prenatal visits, during the c-
section, or after his birth. She did have a post-delivery visit with Dr. Akoda.

Ms. Riggins said she stopped seeing any doctors for medical or gynecologic treatment until she
became pregnant with her third child. Ms. Riggins said she started prenatal care a couple months
after she learned that she was pregnant. Her daughter Taniya was born on 10/02/17 at
Washington Hospital Center. She said the pregnancy was good. She said she had a scheduled c-
section and she did not have problems after the c-section. She said she has a current
gynecologist at Unity Health Care. Ms. Riggins said that the medical care provided by Dr.
Akoda was no different from the treatment from the doctors who delivered her first child and her
third child.

Ms. Riggins said when she learned about the lawsuit, she felt embarrassed that something like
this had happened, that Dr. Akoda was not really a doctor. Ms. Riggins said that her everyday
life did not change.

Ms. Riggins said she tries not to think about the lawsuit. Ms. Riggins said she feels upset for the
women who had complications as a result of the care provided by Dr. Akoda, but she does not




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                                                                RE: JASMINE RIGGINS
                                                                               Page 3
know any of these women. Ms. Riggins said that she does not like the fact that Dr. Akoda
looked at her private area, and he was not supposed to do that. She said that she feels frustrated,
angry, and very sad. She said it is frustrating that she trusted Dr. Akoda, and she should not have
trusted him because he is not a doctor. Ms. Riggins did not have any specific information about
ECFMG. Ms. Riggins said that she has felt like she is part of a Lifetime Movie because Dr.
Akoda was her doctor during her second pregnancy and delivered her son, and he was not a real
doctor.

Ms. Riggins said that her mood is okay most of the time. She said her sleep is okay. Sometimes
she said she feels “bothered” when she thinks about Dr. Akoda and the lawsuit. Ms. Riggins said
she did not read any newspaper articles about Dr. Akoda. She said that she has only read
information that she received from her attorney. Ms. Riggins denied problems with her appetite
and she said her concentration is pretty good. She said she is able to experience pleasure and
loves to be active with her children. Ms. Riggins said she has never had suicidal ideation or
anxiety attacks.

Ms. Riggins discussed her thoughts about her future. She thinks about her career, and she wants
to own a home. She wants to continue to do what she can for her children. Ms. Riggins said her
children are her future. She said that she and her boyfriend are good in regard to their intimate
relationship. Ms. Riggins said that she thinks that probably there were a few weeks after she
found out about Dr. Akoda that she was “not in the mood.”

MEDICAL HISTORY:

Ms. Riggins said that she had asthma as a child, and she believes that she had a hospitalization
for asthma when she was a child. Ms. Riggins said that she has not had problems with asthma
for years, and she does not have an inhaler.

Ms. Riggins also said that she has low iron. She was told about her low iron by her primary care
physician at Unity Health Care.

Ms. Riggins denied a history of any psychiatric problems or history of treatment with a
psychiatrist, psychologist, or counselor. Ms. Riggins said she has never been diagnosed with
depression, anxiety, or other psychiatric disorder.

SOCIAL HISTORY:

Ms. Riggins said she left high school in 12th grade because she did not have enough help to take
care of her son, Santana. Ms. Riggins said that Santana and Messiah have the same father and
she has a joint custody arrangement with him.

Ms. Riggins said that she thought that she had received a GED. She said she had paid $57 to a
company and she took the test for a GED. Ms. Riggins said that she received a certificate that
she had a GED, but the certificate was not valid. The company had falsified the document, and
the company is now out of business. Ms. Riggins said she did not remember the year she first
took the test for the GED.




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                                                               RE: JASMINE RIGGINS
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Ms. Riggins said that she is now in school at the Goodwill Excel Center. She will receive a high
school diploma and then study computer science. Ms. Riggins said that she will be in this
program for approximately two and a half years. She said the program has a daycare center and
Ms. Riggins takes her daughter Taniya to the daycare center when she is in school. Ms. Riggins
said that she is at the Goodwill Center approximately four hours a day, Monday to Thursday.

Ms. Riggins denied a history of any physical, mental, or sexual abuse. She denied a history of
alcohol abuse or drug use. Ms. Riggins said that her mother has seven biological children and
her father has seven biological children. Her mother and father had two children together. Ms.
Riggins denied a family history of depression, anxiety, or substance abuse.

MENTAL STATUS EXAMINATION:

Mental status examination revealed a 27-year-old woman who paid attention to her appearance
evidenced by her clothes, jewelry, and makeup. Ms. Riggins answered questions in a
spontaneous fashion, but she said she would not answer a question about Facebook contacts with
Ms. Russell unless she called her attorney.

Ms. Riggins described her mood as most of the time okay. Her affect was full. She had tears in
her eyes when she talked about her feelings of embarrassment when she learned that Dr. Akoda
was not a real doctor. She denied suicidal ideation. She denied the experience of anxiety
attacks.

Memory and intelligence were grossly within normal limits.

REVIEW OF RECORDS:

The file did not include any records regarding psychiatric or psychological treatment.

The records included multiple notes from a primary care physician that included the Patient
Health Questionnaire 2. The scores were always two or lower, indicating that Ms. Riggins did
not have problems with depression or anxiety or need for counseling. (Dates of PHQ 2:
09/07/17, 09/23/16, 10/13/17, 11/09/17, 04/18/19)

IMPRESSION:

It is my opinion that Ms. Riggins does not have any psychiatric disorder, and in particular, she
does not have a psychiatric disorder causally related to her allegations in the Complaint Jasmine
Riggins et al. v. Educational Commission for Foreign Medical Graduates.

In support of this opinion, Ms. Riggins discussed her history and her current well-being. She
denied a history of any mental health treatment, and she denied a plan to see a psychiatrist or a
psychologist. Ms. Riggins said that she did not have any problems with the treatment provided
by Dr. Akoda during her pregnancy and with the delivery of her second child. Ms. Riggins said
that the care she received from Dr. Akoda was no different from the treatment from the doctors




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       Case: 22-1998 Document:Document
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                                                                RE: JASMINE RIGGINS
                                                                               Page 5
who delivered her first child and her third child. Ms. Riggins is in school at the Goodwill Excel
Center. She will receive a high school diploma and then study computer science. Ms. Riggins
discussed her strong relationships with her partner and her children and goals for her future and
for her family.

The opinions noted in this report have been stated within a reasonable degree of medical
certainty. I reserve the right to supplement this report if additional records become available for
review.

Sincerely,


 ~~ ~ ~~~ ~~
Gladys S. Fenichel, MD

GSF/plr




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Case:2:18-cv-05629-JDW
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                                86-321870    Date Filed:Page
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                Exhibit 68




                                                                  JA3760
       Case:2:18-cv-05629-JDW
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    IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

MONIQUE RUSSELL, et al.                                  *
    Plaintiff(s)                                         *
v.                                                       *       CAL17-22761
DIMENSIONS HEALTH CORP., et al.                          *
    Defendant(s)                                         *
*******************************************************************A   -********************************


JANE DOE NO. 1, et al.
     Plaintiff(s)
v.                                                       •       CAL17-37091
DIMENSIONS HEALTH CORP., et al.
     Defendant(s)
***********************************************************************************4r****************


MONIQUE RUSSELL, et al.                                  *
    Plaintiff(s)                                         *
v.                                                       *       CAL18-07863
DIMENSIONS HEALTH CORP., et al.                          *
    Defendant(s)                                         *
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                    PLAINTIFF JASMINE RIGGINS' RESPONSES TO
                     DEFENDANTS' REQUESTS FOR ADMISSIONS

        Plaintiff, Jasmine Riggins, by her undersigned attorneys, responds as follows

to the Defendants' Requests for Admissions.

                                     GENERAL OBJECTIONS

       A.     Plaintiff objects to each and every Request to the extent the Request seeks
privileged information and documents protected from disclosure by the attorney-client
privilege and/or attorney work-product doctrine, and/or that were created in
anticipation of litigation.

       B.     The information supplied in these Responses to Requests for Admission is
not based solely on the knowledge of the executing party, but includes knowledge of
the party's agents, representatives and attorneys, unless privileged. Any admission
made herein is made with the state of knowledge and information now available to the
Defendants, their agents, representatives and attorneys.

      C.      In those instances in which the Plaintiff has admitted the genuineness of a
document, or the qualification of a document as a business record for hearsay purposes,
but has not been called upon to admit the time when Plaintiff learned of the document,
the admission of the genuineness of the document should not be construed as an


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      Case:2:18-cv-05629-JDW
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admission that the Plaintiff knew of the document when it was created. Such an
admission should be construed only as indicating that, based upon information
currently known and obtained by Plaintiff and/or counsel for the Plaintiff, the
genuineness of the document is now admitted.

       D.     An admission by the Plaintiff as to the genuineness of a document, or the
qualification of a document as a business record for hearsay purposes, is not an
admission that the document was unchanged from a prior form, or was otherwise relied
upon or acted upon in the form of its production, or remained unchanged at any
subsequent time relevant, or at all times relevant, to this case.

       E.     An admission by the Plaintiff as to the genuineness of a document, or the
qualification of a document as a business record for hearsay purposes, is not an
admission of the truth or falsity of any statement, whether of law or fact, contained in
the document.

       F.     An admission by the Plaintiff as to the genuineness of a document, or the
qualification of a document as a business record for hearsay purposes, is not an
admission that the document is complete or in the page order in which the document
was held.

      G.     An admission by the Plaintiff as to the genuineness of a document, or not
an admission that the document is material, relevant and/or admissible for any
purpose or at any proceeding in this case.

       H.    Plaintiff generally objects to the genuineness of a document when a
request to admit or deny the genuineness of a document provides no context or
reference about the source of the document.

       I.    Plaintiff objects to these Requests for Admissions to the extent that they
purport to impose obligations on the Plaintiff beyond those required by the Maryland
Rules.

       J.     Plaintiff generally objects to these Requests for Admissions to the extent
that in most instances they ask Plaintiff to admit a fact, but fail to provide reference to
any particular document for Plaintiff to review and would otherwise require Plainiff to
search for a document that may or may not exist to prove or disprove a proposed fact
that may or may not be accurate.

                                 SPECIFIC RESPONSES

       REQUEST NO. 1: You were a Claimant in the initial Health Care Alternative

Dispute Resolution Office ("HCADRO") action Doe v. Dimensions Healthcare System.
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     Case:2:18-cv-05629-JDW
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                                     86-321873    Date Filed:Page
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         RESPONSE:           Denied.

         REQUEST NO. 2:      At this time, you are still unaware that the individual known

to Defendants as Akoda had been certified by ECFMG to practice medicine; had applied

for, was accepted, and successfully completed an accredited residency program through

Howard University Hospital; was licensed to practice medicine in the state of Maryland;

was licensed to practice medicine in the Commonwealth of Virginia; and was Board

Certified by the American College of Obstetricians and Gynecologists.

         RESPONSE:           Denied that Akoda had been certified by ECFMG to

practice medicine. Plaintiff admits that she does not have personal knowledge of these

matters, but is relying on her attorneys for this information.

         REQUEST NO. 3:      In 2017, you filed your Statement of Claim with the Health

Care Alternative Dispute Resolution Office in Doe v. Dimensions Healthcare System.

         RESPONSE:           Denied.

         REQUEST NO. 4: You filed your Complaint in the above-captioned matter in

the Circuit Court for Prince George's County, Maryland on or about November 20, 2017.

         RESPONSE:           Denied.

         REQUEST NO. 5: You have heard radio advertisement(s) regarding the events

giving rise to your Claim.

         RESPONSE:           Denied.

         REQUEST NO. 6: You are a class Plaintiff in the above-captioned action.

         RESPONSE:           Plaintiff denies she is a named class Plaintiff in CAL17-

37091.


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      Case:2:18-cv-05629-JDW
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       REQUEST NO. 7: Your Family was not affected by your alleged symptoms of

Post-Traumatic Stress Disorder until you saw/heard television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 8: You did not and have not specifically verified the facts about

the qualifications to practice medicine of the individual known to Defendants as Dr.

Akoda, which were provided to you as the basis of the events giving rise to your Claim.

       RESPONSE:           Admitted.

       REQUEST NO. 9: You had not retained or had contact with an attorney for

purposes of bringing suit for your Claims in this action until seeing/hearing television,

radio, and/or internet advertisement(s) regarding the events giving rise to your Claim.

       RESPONSE:           Denied.

       REQUEST NO. 10: You had not retained or had contact with an attorney for

purposes of bringing suit for your Claims in this case until you saw or heard news

coverage or other publicity regarding the events giving rise to your Claim.

       RESPONSE:           Denied.

       REQUEST NO. 11: You did not contribute to or have any role in any news

coverage or publicity related to the events you now allege in this action, including, but

not limited to, participation in the Dr. Oz Show.

       RESPONSE:           Admitted.




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      REQUEST NO. 12: You claim that you suffer from Post-Traumatic Stress

Disorder as a result of your allegations against the Defendants.

      RESPONSE:            Denied.

      REQUEST NO. 13: You claim that your alleged Post-Traumatic Stress Disorder

has affected your relationship with your Family.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 14: You have seen television advertisement(s) regarding the

events giving rise to your Claim.

      RESPONSE:            Denied.

      REQUEST NO. 15: You did not experience your alleged symptoms of Post-

Traumatic Stress Disorder during the period(s) you were seeing Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 16: Your Family was not affected by your alleged symptoms of

Post-Traumatic Stress Disorder during the period you were being cared for by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 17: You did not experience your alleged symptoms of Post-

Traumatic Stress Disorder until seeing/hearing television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.




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      Case:2:18-cv-05629-JDW
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       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 18: You do not suffer from depression as a result of the events

giving rise to your Claim.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. As

Plaintiff testified at her deposition, she has been depressed.

       REQUEST NO. 19: You do not suffer from Post-Traumatic Stress Disorder as a

result of the events giving rise to your Claim.

       RESPONSE:             Admitted.

       REQUEST NO. 20: It would have been reassuring to you had you known that the

individual known to Defendants as Akoda had been certified by ECFMG to practice

medicine; had applied for, was accepted, and successfully completed an accredited

residency program through Howard University Hospital; was licensed to practice

medicine in the state of Maryland; was licensed to practice medicine in the

Commonwealth of Virginia; and was Board Certified by the American College of

Obstetricians and Gynecologists.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. In

this context, Plaintiff does not understand the meaning of "reassuring." Subject to and

without waiving this objection, the stated matters would not change Plaintiff's belief

that Akoda was a fraud and a deceit.

       REQUEST NO. 21: You claim that you suffer from depression as a result of your

allegations against the Defendants.


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      Case:2:18-cv-05629-JDW
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       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. As

Plaintiff testified at her deposition, she has been depressed.

       REQUEST NO. 22: You claim that your alleged depression has affected your

relationship with your Family.

       RESPONSE:           Denied.

       REQUEST NO. 23: You have never been formally diagnosed with depression.

       RESPONSE:           Admitted.

       REQUEST NO. 24: You did not experience your alleged depression during the

period(s) you were cared for by Dr. Akoda.

       RESPONSE:           Admitted.

       REQUEST NO. 25: Your Family was not affected by your alleged depression

during the period you were being cared for by Dr. Akoda.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 26: You did not experience your alleged depression until

seeing/hearing television, radio, or internet advertisement(s) regarding the events giving

rise to your Claim.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 27: You have seen news coverage or other publicity regarding the

events giving rise to your Claim.

       RESPONSE:           Denied.


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     Case:2:18-cv-05629-JDW
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      REQUEST NO. 28: Your Family was not affected by your alleged symptoms of

anxiety, if at all, until you saw/heard television, radio, or internet advertisement(s)

regarding the events giving rise to your Claim.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 29: Your Family was not affected by your alleged depression, if

at all, until you saw/hear television, radio, or internet advertisement(s) regarding the

events giving rise to your Claim.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 30: You claim that you suffer from anxiety as a result of your

allegations against the Defendants.

      RESPONSE:            Denied.

      REQUEST NO. 31: You claim that your alleged anxiety has affected your

relationship with your Family.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 32: You did not experience your alleged anxiety during the

period(s) you were cared for by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.




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      Case:2:18-cv-05629-JDW
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                             Document 86-321879     Date Filed:
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       REQUEST NO. 33: You had no complications with your delivery on or about

March 18, 2013.

       RESPONSE:          Admitted.

       REQUEST NO. 34: You claim that your alleged physical injury has affected your

relationship with your Family.

       RESPONSE:          Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 35: Your Family was not affected by your alleged anxiety during

the period(s) you were cared for by Dr. Akoda.

       RESPONSE:          Admitted.

       REQUEST NO. 36: You have never been formally diagnosed with anxiety.

       RESPONSE:          Admitted.

       REQUEST NO. 37: You have never been formally diagnosed with Post-Traumatic

Stress Disorder.

       RESPONSE:          Admitted.

       REQUEST NO. 38: You do not suffer from anxiety as a result of the events giving

rise to this Complaint.

       RESPONSE:           Admitted.

       REQUEST NO. 39: You claim that you suffer from physical pain as a result of

your allegations against the Defendants.

       RESPONSE:           Plaintiff admits that her C-section caused her pain.


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     Case:2:18-cv-05629-JDW
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                            Document 86-321880     Date Filed:
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      REQUEST NO. 40: You have never been diagnosed with a physical injury

resulting from your allegations against the Defendants.

      RESPONSE:            Admitted.

      REQUEST NO. 41: You did not experience your alleged physical injury as a result

of your allegations during the period(s) you were cared for by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 42: Your Family was not affected by your alleged symptoms of

physical pain during the period(s) you were cared for by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 43: You did not experience your alleged symptoms of a

permanent disability during the period(s) you were seeing Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 44: Your Family was not affected by your alleged symptoms of

physical pain until you saw/heard television, radio, or internet advertisement(s)

regarding the events giving rise to your Claim.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this. request. It

assumes matters which are untrue.




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     Case:2:18-cv-05629-JDW
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                            Document 86-321881     Date Filed:
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       REQUEST NO. 45: You did not report any physical pain or injury to any law

enforcement or hospital personnel during the period(s) you were being treated by Dr.

Akoda or PGHC.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 46: You claim that you suffer from difficulty sleeping as a result

of your allegations against the Defendants.

      RESPONSE:            Denied.

      REQUEST NO. 47: You claim that you suffer from "permanent disability" as a

result of your allegations against the Defendants.

      RESPONSE:            Admitted that Plaintiff's emotional injuries are permanent.

      REQUEST NO. 48: You do not suffer from permanent disability as a result of the

care you received from Dr. Akoda.

      RESPONSE:            Denied. Plaintiff       believes   her   conditions of   being

depressed, frustrated, angry, emotional, heartbreaking, sad, loss of trust of doctors is

permanent.

      REQUEST NO. 49: You claim that your alleged permanent disability has affected

your relationship with your Family.

      RESPONSE:            Denied.

      REQUEST NOk- 50: You have never been diagnosed with a permanent disability.

      RESPONSE:            Admitted.




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     Case:2:18-cv-05629-JDW
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                            Document 86-321882     Date Filed:
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       REQUEST NO. 51: Your Family was not affected by your alleged permanent

disability during the period(s) you were seeing Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 52: You have not done any independent research to determine

the status of ECFMG certification, residency program completion, licensure, or board

certification for the individual known to Defendants as Akoda.

       RESPONSE:             Admitted.

       REQUEST NO. 53: You did not experience your alleged permanent disability

until seeing/hearing television, radio, or internet advertisement(s) regarding the events

giving rise to your Claim.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 54: Your Family was not affected by your alleged permanent

disability until you saw/ heard television, [sic].

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 55: You saw Dr. Akoda at Dr. Chaudry's office regularly

throughout your prenatal care.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request.

The term "regularly" is ambiguous. Plaintiff will interpret it to mean on multiple

occasions, and, as such, it is admitted.


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     Case:2:18-cv-05629-JDW
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                            Document 86-321883     Date Filed:
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       REQUEST NO. 56: You claim that your alleged difficulty sleeping has affected

your relationship with your Family.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 57: Your Family was not affected by your alleged "lack of trust in

physicians and in medical institutions" during the period(s) you were seeing Dr. Akoda.

       RESPONSE:             Admitted.

       REQUEST NO. 58: You have never been diagnosed with a sleeping condition or

disorder.

       RESPONSE:             Admitted.

       REQUEST NO. 59: You do not suffer from a sleeping disorder or condition as a

result of the events giving rise to your Claim.

       RESPONSE:             Admitted.

       REQUEST NO. 60: You do not have a lack of trust in physicians or in medical

institutions at this point in time.

       RESPONSE:             Denied.

       REQUEST NO. 61: Your Family was not affected by your alleged difficulty

sleeping during the period(s) you were seeing Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.




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     Case:2:18-cv-05629-JDW
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                            Document 86-321884     Date Filed:
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       REQUEST NO. 62: You did not experience your alleged difficulty sleeping until

seeing/hearing television, radio, or internet advertisement(s) regarding the events giving

rise to your Claim.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 63: You did not experience your alleged symptoms of anxiety, if

at all, until seeing/hearing television, radio, or internet advertisement(s) regarding the

events giving rise to your Claim.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 64: Your Family was not affected by your alleged difficulty

sleeping until you saw/heard television, radio, or internet advertisement(s) regarding

the events giving rise to your Claim.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 65: You claim that you suffer from "a lack of trust in physicians

and in medical institutions" as a result of your allegations against the Defendants.

       RESPONSE:            Admitted.

       REQUEST NO. 66: You claim that your alleged "lack of trust in physicians and

in medical institutions" has affected your relationship with your Family.

       RESPONSE:            Denied.




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     Case:2:18-cv-05629-JDW
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                            Document 86-321885     Date Filed:
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         REQUEST NO. 67: You did not experience your alleged "lack of trust in

physicians and in medical institutions" during your visit(s) with Dr. Akoda.

         RESPONSE:          Admitted.

         REQUEST NO. 68: You have taken your child(ren) to see medical professionals

since you learned of the Claim.

         RESPONSE:          Admitted.

         REQUEST NO. 69: Any information you claim to now have about the status of

Dr. Akoda's license to practice medicine, you learned from your Attorney(s).

         RESPONSE:          Admitted.

         REQUEST NO. 70: Your Family was not affected by your alleged "lack of trust in

physicians and in medical institutions" until you saw/heard television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

         RESPONSE:          Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

         REQUEST NO. 71: You claim that your alleged "lack of trust in physicians and in

medical institutions" has discouraged you from or made you feel uncomfortable from

seeing medical professionals.

         RESPONSE:          Admitted.

         REQUEST NO. 72: You did not experience your alleged symptoms of physical

pain, resulting from your allegations against the Defendants, if any, until seeing/hearing

television, radio, or internet advertisement(s) regarding the events giving rise to your

Claim.

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     Case:2:18-cv-05629-JDW
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       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 73: You claim that your alleged "lack of trust in physicians and

in medical institutions" has discouraged you from or made your feel uncomfortable

taking your child(ren) to medical professionals.

       RESPONSE:            Admitted.

       REQUEST NO. 74: You have seen medical professionals since your last visit with

Dr. Akoda.

       RESPONSE:            Admitted.

       REQUEST NO. 75: You have taken your child(ren) to see medical professionals

since your last visit with Dr. Akoda.

       RESPONSE:            Admitted.

       REQUEST NO. 76: You have seen medical professionals since you learned of the

events giving rise to this Claim.

       RESPONSE:            Admitted.

       REQUEST NO. 77: After        seeing/hearing    television,   radio   or   internet

advertisement(s) regarding the events giving rise to your Claim, you began to feel that

you were personally violated by Dr. Akoda.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.




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       REQUEST NO. 78: You did not experience your alleged "lack of trust in

physicians and in medical institutions" until seeing/hearing television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 79: You will continue to see medical professionals in the future.

      RESPONSE:             Admitted.

      REQUEST NO. 80: If you were to require emergency medical treatment, you

would seek emergency medical services.

      RESPONSE:             Admitted.

      REQUEST NO. 81: If a member of your Family were to require emergency

treatment, you would seek emergency medical services.

      RESPONSE:             Admitted.

      REQUEST NO. 82: During your visit(s) with Dr. Akoda, you never refused

services or procedures.

      RESPONSE:             Upon advice of counsel, Plaintiff objects to this request.

The request is confusing.

      REQUEST NO. 83: You do not claim to question Dr. Akoda's competency to

practice medicine.

      RESPONSE:             Upon advice of counsel, Plaintiff objects to this request.

Akoda's competency to practice medicine includes honesty and truthfulness and a

person who lies and deceives is not competent.


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         REQUEST NO. 84: You did not report concerns about Dr. Akoda's competency

to practice medicine to any law enforcement or hospital personnel during the period(s)

you were being treated by Dr. Akoda or PGHC.

         RESPONSE:             Admitted.

         REQUEST NO. 85: During your visit(s) with Dr. Akoda, you never felt you had

reason to question his competency to practice medicine.

         RESPONSE:             Admitted.

         REQUEST NO. 86: After           seeing/hearing   television,   radio,   or   internet

advertisement(s) related to the events you allege in this action, you began to question Dr.

Akoda's competency.

         RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

         REQUEST NO. 87: The last time you saw Dr. Akoda was on or about March 13,

2013.

         RESPONSE:             Admitted.

         REQUEST NO. 88: You will continue to take your child(ren) to see medical

professionals in the future.

         RESPONSE:             Admitted.

         REQUEST NO. 89: You do not claim that you felt personally violated by Dr.

Akoda.

         RESPONSE:             Denied.




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       REQUEST NO. 90: During your visit(s) with Dr. Akoda, you never felt you were

personally violated.

       RESPONSE:             Admitted.

       REQUEST NO. 91: You did not report feeling personally violated by Dr. Akoda

to any law enforcement or hospital personnel during the period(s) you were being treated

by Dr. Akoda or PGHC.

       RESPONSE:             Admitted.

       REQUEST NO. 92: You do not claim that your life was in danger during the

period(s) you were being treated by Dr. Akoda.

       RESPONSE:             Admitted.

       REQUEST NO. 93: You do not claim that your baby's life was in danger during

the period(s) you were being treated by Dr. Akoda.

       RESPONSE:             Admitted.

       REQUEST NO. 94: During your visit(s) with Dr. Akoda, you never felt your life

was in danger.

       RESPONSE:             Admitted.

       REQUEST NO. 95: During your visit(s) with Dr. Akoda, you never felt your

baby's life was in danger.

      RESPONSE:              Admitted.

      REQUEST NO. 96: You only began to feel that your life was in danger when

cared for by Dr. Akoda after seeing/hearing television, radio or internet advertisement(s)

regarding the events giving rise to your Claim.

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      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 97: You did not report to any law enforcement or hospital

personnel during the period(s) you were being treated by Dr. Akoda that you felt that

your or your baby's life was in danger

      RESPONSE:            Admitted.

      REQUEST NO. 98: It was not important to you to research the status of Dr.

Akoda's license to practice medicine while receiving care from Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff denies it was not important, but instead had no reason to research these

matters.

      REQUEST NO. 99: At the time of your care by Dr. Akoda, you were unaware that

the individual known to Defendants as Akoda: had been certified by ECFMG to practice

medicine; had applied for, was accepted, and successfully completed an accredited

residency program through Howard University Hospital; was licensed to practice

medicine in the state of Maryland; was licensed to practice medicine in the

Commonwealth of Virginia; and was Board Certified by the American College of

Obstetricians and Gynecologists.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

contains multiple requests which should be set forth separately. Denied that Plaintiff

was unaware that Akoda was licensed to practice medicine in the State of Maryland.




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      REQUEST NO. 100: You only began to feel that your baby's life was in danger

when treated by Dr. Akoda after seeing/hearing television, radio or internet

advertisement(s) regarding the events giving rise to your Claim.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 101: You do not claim that you were abused sexually by Dr.

Akoda.

      RESPONSE:            Admitted.

      REQUEST NO. 102: During your visit(s) with Dr. Akoda, you never felt as if you

were being abused sexually.

      RESPONSE:            Admitted.

      REQUEST NO. 103: You did not report any sexual abuse to any law enforcement

or hospital personnel during the period(s) you were being treated by Dr. Akoda.

      RESPONSE:            Admitted.

      REQUEST NO. 104: After        seeing/hearing    television,   radio   or    internet

advertisement(s) regarding the events giving rise to your Claim, you began to feel that

you had been sexually abused by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 105: You do not believe the competency of a physician can be

determined from his or her name.




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       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

The request is confusing.

      REQUEST NO. 106: You do not believe that the name of the physician is a

determining factor in choosing an OBGYN.

      RESPONSE:             Admitted.

      REQUEST NO. 107: You have seen physicians in your lifetime whose names you

do not remember today.

      RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

is overly broad and burdensome. Plaintiff cannot be required to remember what she

cannot remember.     Plaintiff will admit that she may not be able to recall every

physician she has seen in her lifetime.

      REQUEST NO. 108: During the period(s) you were being treated by Dr. Akoda,

you were unaware that he completed his medical residency at Howard University

Hospital.

      RESPONSE:             Admitted.

      REQUEST NO. 109: You were not aware that Dr. Akoda had been indicted or

pleaded guilty to criminal charges prior to seeing/hearing radio, television, or internet

advertisement(s) regarding the events giving rise to your Claim.

      RESPONSE:             Denied.

      REQUEST NO. 110: You were not seeing an OB/GYN for annual exams prior to

the period(s) you were being treated by Dr. Akoda.

      RESPONSE:             Admitted.


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       REQUEST NO. 111: You have not seen an OB/GYN for annual exams since the

period(s) you were being treated by Dr. Akoda.

       RESPONSE:           Denied.

       REQUEST NO. 112: You did not forego medical care despite needing it before the

period(s) you were being treated by Dr. Akoda.

       RESPONSE:           Admitted.

      REQUEST NO. 113: You have not foregone medical care despite needing it, since

the period(s) you were being treated by Dr. Akoda.

      RESPONSE:            Admitted.

      REQUEST NO. 114: During the period(s) you were being treated by Dr. Akoda,

you were not aware of the status of Dr. Akoda's license to practice medicine.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff believed Akoda was licensed to practice medicine.

      REQUEST NO. 115: During the period(s) you were being treated by Dr. Akoda,

you were not aware that Dr. Akoda was licensed to practice medicine by the State of

Maryland.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff believed Akoda was licensed to practice medicine by the State of Maryland.

      REQUEST NO. 116: It was not important to you to research the status of Dr.

Akoda's license to practice medicine after receiving care from Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff had no reason to research the status of Akoda's license.


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       REQUEST NO. 117: During the period(s) you were being treated by Dr. Akoda,

you were not aware that Dr. Akoda was licensed to practice medicine by the

Commonwealth of Virginia.

       RESPONSE:             Admitted.

       REQUEST NO. 118: It was not important to you to research the status of Dr.

Akoda's license to practice medicine prior to receiving care from Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request.

Plaintiff had no reason to research the status of Akoda's license.

       REQUEST NO. 119: Any information you claim to now have regarding the status

of Dr. Akoda's license to practice medicine, you learned from television, radio, or internet

advertisement(s) regarding the events giving rise to your claim.

       RESPONSE:             Denied.     Plaintiff is relying on the information of her

attorneys.

       REQUEST NO. 120: You have seen internet advertisement(s) regarding the events

giving rise to your Claim.

       RESPONSE:             Admitted.




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                               Respectfully submitted,

                               LAW OFFICES OF PETER G. ANGELOS, P.C.


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                Exhibit 69




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                                         IN THE CIRCUIT COURT
                                FOR PRINCE GEORGE'S COUNTY, MARYLAND

           MONIQUE RUSSELL
           (Prince George's County, Maryland)
                                                                       JURY TRIAL REQUESTED
          JASMINE RIGGINS
                                                                                                 -a .


                  on their own behalf and on behalf of                                           rn        , .,,
                                                                                                           C,
                                                                                                           .
                  all others similarly situated,                                                 c,        n
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                          Plaintiffs,
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                          v.                                           Case No. CAL 17-22761~ ·
                                                                                    17-22761               CJ?
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          DIMENSIONS HEALTH CORPORATION
                                                                                     .,
                                                                                     i.



                          Defendant.

                               FIRST AMENDED CLASS ACTION COMPLAINT

                  Plaintiffs Monique Russell and Jasmine Riggins (collectively "Named Plaintiffs" or

          individually "Russell" or "Riggins"), on their own behalf and on behalf of all others similarly

          situated, through their attorney Cory L. Zajdel, Esq. and Z LAW, LLC , Jay D. Miller, Esq. and

          the Law Offices of Peter G. Angelos, P.C., hereby submits this First Amended Class Action

          Complaint against Defendant Dimensions Health Corporation ("Dimensions") and for support

          state as follows:
                   follows:

          1.
          I.     PARTIES AND JURISDICTION

                 1.
                 1.      Plaintiff Monique Russell is a natural person currently residing at 2811 63rd

          Place, Cheverly, MD 20785 (Prince George's County, Maryland).

                 2.      Plaintiff Jasmine Riggins is a natural persons currently residing at 312 37th Street,

          Apt. #304, Washington, DC 20019.




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                3.     Defendant Dimensions Health Corporation ("Dimensions") is a corporation

       organized under the laws of the State of Maryland and located in Prince George's County,

       Maryland, to provide medical services to the members of the public, operating as a health care

       facility, specializing in various areas of medicine, and specifically, in this case, in the field of

       obstetrics and gynecology, including by way of example and not by way of limitation:

       administration, staffing, credentialing, and/or supervision of personnel and employees, which

       held itself out to the public and to the Plaintiffs that it, and its agents, servants, credentialed

       doctors, and/or employees, possessed the degree of skill, knowledge and ability ordinarily

       possessed by reasonably prudent, licensed, credentialed, and competent medical providers

       practicing under the same or similar circumstances as those involving Plaintiffs.

               4.      Defendant Dimensions Health Corporation is also known as Dimensions

       Healthcare System, Prince George's Hospital Center, Laurel Regional Hospital, Bowie Health

       Center and Family Health and Wellness Center.

               5.      At all times relevant, Oluwafemi Charles Igberase also known as Charles J.

              M.D. ("Akoda") was the actual and/or apparent, duly authorized agent, servant and/or
       Akoda, M.D.

       employee of Dimensions and carried on a regular medical practice in Prince George's County,

       Maryland.

               6.      At all times relevant, Akoda was purportedly licensed as a physician in the State

       of Maryland, in the practice of Obstetrics and Gynecology, who represented to the public and to

       the Plaintiffs that he possessed the degree of skill, knowledge and ability ordinarily possessed by

                                                      same. or similar circumstances as those
       reasonably prudent OB/GYN practicing under the same

       involving the Plaintiffs.




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                  7.        At all
                               a11 times relevant,
                                         re1evant, Akoda acquired, serviced and performed invasive obstetrical

         procedures on patients in his medical office and through Dimensions
                                                                  Dimensions· facilities including but not

         limited to Prince George's Hospital Center and Family Health and Wellness Center as Akoda.

                  8.      The matter in controversy exceeds the sum of thirty thousand dollars

         ($30,000.00), exclusive of interest and costs.

                  9.      This Court has jurisdiction over this case under MD. CODE ANN., CTS. & JUD.

         PROC. § 1-501.

                  10.   This Court has personal jurisdiction over Dimensions pursuant to MD. CODE

         ANN., CTS. & RM.
                      JUD. PROC. § 6-103(1)-(3), as Dimensions systematically and continually transacts

         business in Maryland, the case arises out of conduct that took place within Maryland and

         Dimensions is a Maryland corporation with its headquarters in Maryland.

                  11.   The Circuit Court of Maryland for Prince George's County is the appropriate

                                           Juo. PROC. § 6-201 and 6-202 because the acts giving rise
                                    CTs. & Jul).
         venue under MD. CODE ANN., CTS.

         to the claims occurred in Prince George's County, Maryland and Dimensions maintains its

         principal offices and carries on regular business in Prince George's County, Maryland.

         II.      FACTS COMMON TO ALL COUNTS
                                      COUNTS

                  12.
                  12.   Monique Russell was a patient of Oluwafemi Charles lgberase
                                                                           Igberase on or about May

         25, 2016 at Dimensions. Monique Russell knew Oluwafemi Charles Igberase as Akoda.

                  13.   Akoda delivered Monique Russell's child through unplanned emergency cesarean

         section surgery.

                  14.   Jasmine Riggins
                                Riggins was a patient of Oluwafemi Charles Igberase between August

         2012 and March 2013 at Dimensions. Jasmine Riggins knew Oluwafemi Charles Igberase as

         Akoda.




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                     15.    Akoda delivered Jasmine Riggins' child through unplanned emergency cesarean

             section surgery.

                     16.
                     16.    Prior to using the name Akoda, Oluwafemi Charles Igberase was raised and lived

            outside of the United States of America.
                                            America.

                    17.
                    17.    Akoda never attended or graduated from a medical school.

                    18.    At some time in 1991
                                           1991 Akoda entered the United States of America on a

            Nonimmigrant
            N onimmigrant Visa.

                    19.
                    19.    In April 1992,
                                    1992, Akoda submitted an application for certification by the Educational

            Commission for Foreign Medical Graduates ("ECFMG"). ECFMG is an organization which,

            among other things, provides certification to international medical school graduates before such

            individuals may enter graduate medical education programs in the United States.

                    20.    In October 1993,
                                      1993, ECFMG issued a certification to Akoda but only after multiple

            attempts to pass the three-part United States Medical Licensing Examination ("USMLE").

            Because Akoda did not pass the USMLE in a competent manner, he was denied acceptance into

            an accredited residency program.

                    21.    In order to resolve this problem, Akoda created a false identity by obtaining a

                                                           1994, Akoda applied for and received a second
            fraudulent social security number. In March of 1994,

            ECFMG certification under the name of "Igbarese Oluwafemi Charles."

                    22.    The ECFMG Committee on Medical Education Credentials determined that

            Oluwafemi Charles Igberase fraudulently applied for and obtained two ECFMG certifications

            under different names and dates of birth and revoked both ECFMG certifications in December

            1995.
            1995.




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                  23.    Oluwafemi Charles Igberase again passed the ECFMG in 1998
                                                                              1998 this time using the

           name "John Nosa Akoda."
                           Akoda."

                  24.    Oluwafemi Charles Igberase, using
                                                     usmg the name Akoda, applied for and was

           accepted into a residency program at Jersey Shore Medical Center in 2000.

                  25.    Jersey Shore Medical Center quickly learned that Oluwafemi Charles Igberase's

          social security number and identity as Akoda did not match up and later suspended Oluwafemi

          Charles Igberase from the residency program in August 2000 and dismissed Oluwafemi Charles

          Igberase in November 2000.

                  26.    In 2006, Akoda was accepted into a residency program at Howard University

          using the name "John Charles Akoda," a fake SSN and fake permanent resident card. He

          completed this program in 2011. He thereafter applied for and received a Maryland medical

          license using "Charles John Nosa Akoda", a fake SSN, fake permanent residence card and fake

          Nigerian passport.

                 27.     In early 2012, Akoda applied for and obtained privileges and became a member of

          the medical staff at Dimensions under the name "Charles John Nosa Akoda"-which was different

          than the name on his ECFMG certification and also using a fake permanent resident card, fake

          Maryland driver's license, fake Nigerian passport and fake letters of recommendation.
                                                                             ofrecommendation.

                 28.     In 2012, Dimensions knew or should have known that the ECFMG certification

          was under a different name and the social security number, permanent resident card, driver's

          license, passport and letters of recommendation provided to Dimensions by          Akoda were

          fraudulent.
          fraudulent

                 29.    In March 2012, the Center of Medicare and Medicaid Services denied Akoda's

                         enroll for Medicare reimbursement using the Akoda identity and the same
          application to em-oll




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              documentation used for privileges at Dimensions due to the Center of Medicare and Medicaid

              Services' determination that Akoda did not provide an accurate social security number.

                      30.     Akoda acted an as obstetrician-gynecologist in the State of Maryland between the

                    of2008
              years of 2008 and 2016 at all times practicing under the name Charles John Nosa Akoda.

                      31.     from 2008 through 2016, Akoda acted as a .doctor
                              From                                      doctor practicing obstetrics and

              gynecology as an actual and/or apparent agent, servant and/or employee of Dimensions under the

              nameAkoda.
              name Akoda.

                      32.     On June 9, 2016, law enforcement executed search warrants at Akoda's residence,

              medical office and vehicle where they found fraudulent or altered documents related to

              immigration, medical diplomas, medical transcripts, letters of recommendation and birth

              certificates.

                      33.     In February 2017, Akoda plead guilty to social security fraud in the United States

              District Court for the District of Maryland and was sentenced to six (6) months incarceration,

              three (3) years supervised release, home detention for six (6) months and an assessment of one

              hundred dollars ($100.00).

                      34.     Shortly thereafter in early 2017, Dimensions terminated Akoda's employment and

              medical privileges at Dimensions.

                      35.     On or about July 10, 2017, the Maryland Board of Physicians revoked Akoda's

              medical license on the basis of a fraud and felony conviction.

                      36.     None of Akoda's patients knew his true identity as Oluwafemi Charles lgberase,
                                                                                                   Igberase,

                               Oluwafcmi Charles Igberase as Akoda.
              but rather, knew Oluwafemi




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                    37.    The Plaintiffs herein did not learn of Akoda's impersonation of a medical doctor

           until March 16,
                       16, 2017. Additionally, the Plaintiffs were in no position to suspect or question

          Akoda was impersonating a physician and therefore had no reason to inquire.

                    38.   None of Akoda's patients gave consent to this physician impersonator to perform

          examinations, invasive procedures and surgeries on their persons.

                    39.   Class members chose Akoda as their obstetrician relying on his representations

          that he would deliver PIaintiffs'
                                Plaintiffs' babies at Dimensions, where he was credentialed to deliver

          babies.

                    40.   Akoda informed the Plaintiffs that they would have to seek obstetrical care

          elsewhere if they did not wish to deliver at Dimensions. Similarly, Plaintiffs would not have

          allowed Akoda to manage their pregnancies if he did not have privileges at Dimensions.
                                                                                     Dimensions.

          Additionally, Plaintiffs were informed and aware that their pregnancies would be co-managed in

          some respects with the medical providers at Dimensions.

                    41.   On many occasions, Akoda penetrated his patients with parts of his body through

          the vaginal canal and through the stomach in performing medical services. Additionally, Akoda

          performed inappropriate examinations of a sexual nature while utilizing inappropriate and

          explicit sexual language.

                    42.   Akoda's penetrations of his patients were clear boundary violations.

          III.
          III.   CLASS ACTION ALLEGATIONS

                 43.      Named Plaintiffs bring this action on behalf of a Class which consists of:
                                                                                                 of:

                                                                  any manner by Oluwafemi
                          All patients examined and/or treated in any
                          Charles Igberase (a/k/a Charles J. Akoda, M.D.).

                          Subclass

                                                               m any manner at a
                          All patients examined and/or treated in



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               Dimensions Health Corporation facility by Oluwafemi Charles
               Igberase (a/k/a Charles J.
                                       J. Akoda, M.D.).

        44.    Excluded from the Class Definition are patients of Akoda whose examination or

treatment took place in a location outside the state of Maryland. Also excluded from the Class

Definition are those who were examined and/or treated after Akoda's medical privileges were

terminated by Dimensions Health Corporation.

       45.     The Class and Subclass, as defined above, are identifiable. The Named Plaintiffs

are members of the Class and Subclass.

       46.     The Class consists of more than five hundred (500) patients and is thus so

numerous that joinder of all members is clearly impracticable.

       47.     The Subclass consists of more than five hundred (500) patients and is thus so

numerous that joinder of all members is clearly impracticable.

       48.    There are questions of law and fact which are not only common to the Class and

Subclass but which predominate over any questions affecting only individual Class Members.

       49.
       49.    The common and predominating questions include, but are not limited to:

              (a)     Whether Akoda was an actual and/or apparent agent, servant and/or

       employee of Dimensions at all relevant times herein.

              (b)     Whether Akoda committed boundary violations on class members.

              (c)     Whether Dimensions' actions and/or alleged failures to act, including

       their alleged negligent failure to properly investigate, credential, qualify, select,
                                                                                     select,

       monitor and supervise Akoda, directly and proximately resulted in foreseeable injuries

      or damages to Class Members.




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     ,.· ..
     \·,                  50.     Claims of Named Plaintiffs are typical of the claims of the respective members of
     . ··~... I
                   the Class and are based on and arise out of similar facts constituting the wrongful conduct of

                   Dimensions.

                          51.    Named Plaintiffs will fairly and adequately protect the interests of the Class. The

                   interests of Named Plaintiffs and of all other members of the class are identical.

                          52.    Named Plaintiffs are cognizant of their duties and responsibilities to the Class.

                          53.    Named Plaintiffs are committed to vigorously litigating this matter.

                          54.    Further, Named Plaintiffs have secured counsel experienced in handling class

                  actions and complex litigation.

                          55.    Undersigned Counsel are uniquely qualified to represent the Class given each

                  firm's resources and vast experience representing Maryland residents in significant and complex

                  litigation at the trial and appellate level, up to and including the United States Supreme Court.

                  Representative cases include, but are not limited to:
                                                                    to: the 1998
                                                                            1998 tobacco litigation that resulted in a

                  four billion two hundred million dollar ($4,200,000,000.00) settlement on behalf of the State of

                  Maryland; the Tower Securities litigation that resulted in a one hundred seventeen million five

                  hundred thousand dollar ($117,500,000.00) recovery for the Steamship Trade Association

                  pension fund; a one billion dollar ($1,000,000,000.00) verdict against ExxonMobil Corp. on

                                                   ( 466) Baltimore County residents whose water aquifer was
                  behalf of four hundred sixty six (466)

                  polluted with 26,000 gallons of gasoline; a class action suit against Dr. Mark Midei and Catholic

                  Health Initiatives based upon allegations he was implanting unnecessary coronary stents in his

                  patients. Moreover,
                  patients.                                                        litigating a separate medical
                            Moreover, the Law Offices of Peter G. Angelos has been litigat1ng


                  malpractice and credentialing case against Akoda since 2015 and, therefore, has already done a

                  significant amount of investigation and discovery about his conduct that no other Firm can claim.




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                      56.    Neither Named Plaintiffs nor their counsel have any interests which might cause

               them not to vigorously pursue this claim.

                      57.    This action is properly maintained as a class action under Md. Rule 2-

              23l(b )(l)(A) in that separate actions by individual members of the Class could create a risk
              231(b)(1)(A)

              of inconsistent or varying adjudications with respect to individual members of the Class that

              could establish incompatible standards of conduct for Class Members as well as Dimensions.

                      58.    This action is properly maintainable as a class action pursuant to Md. Rule

              2-23 l(b)(l)(B) in that separate actions by individual members of the Class would create a risk
              2-231(b)(1)(B)

              of adjudications with respect to individual members of the Class which would, as a practical

              matter, be dispositive of the interests of other members not party to the adjudications,

              or would substantially impair or impede their ability to protect themselves. The Class also

                                                        lass as Dimensions may contend that it is an
              fits within the ambit of a limited fund cclass

              eleemosynary institution with limited funds with which to satisfy the thousands of claims

                            made.
              which will be made.

                     59.     This action is also properly maintainable as a Class in that questions of law or

                   cornmou to members of the Class predominate over any questions affecting only
              fact common

              individual members under MD. RULE 2-231(b)(3).

                     60.     A cclass   ction is superior to other available methods for the fair and
                                 lass aaction

              efficient adjudication of this controversy between the class and Dimensions.

                     61.    The commonality of issues of law and fact in this case are clear. Many of

              the members of the Class are unaware of their rights to prosecute a claim aagainst
                                                                                          gainst Dimensions.

                           ction can be managed without undue difficulty because Named Plaintiffs will
              This class aaction




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                                                                                                      JA3796
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       vigorously pursue the interests of the Class by virtue of the fact that Named Plaintiffs have

      suffered the same injuries as other Class Members.

                62.     The difficulties likely to be encountered in the management of a class action in

      this litigation are insignificant, especially when weighed against the virtual impossibility of

      affording adequate relief to the members of the Class through thousands of separate actions.

                63.     The likelihood that individual members of the Class will prosecute separate

      actions is remote also because most class members do not know that a claim against Dimensions

      exists.

                64.
                64.    Counsel for Named Plaintiffs and the Class is experienced in class actions and

      foresees little difficulty in the management of this case as a class action.

      IV.       CAUSE OF ACTION

                                                COUNT ONE
                                   (Negligent and Grossly Negligent Hiring,
                      Retention, Supervision, Selection, Qualification and Credentialing)

                65.    Named Plaintiffs re-allege and incorporate by reference the allegations set forth

      herein, and further allege:
                          allege:

                66.                           Akoda was an actual and/or apparent, duly authorized
                       Between 2008 and 2016, Akod.a

      agent, servant and/or employee of Dimensions, holding a medical staff position and/or

      enjoying hospital privileges.

                67.
                67.            2008 and 2016, Dimensions was responsible to assure and maintain
                       Between 2008

      patient safety and privacy for members of the public who received treatment from its agents,

      servants, and/or employees, such as physicians who were medical staff members and/or enjoyed

      hospital privileges, including specifically but not limited to Akoda.

                68.
                68.    Between 2008 and 2016, Dimensions had a duty under applicable standards of




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                                                                                                JA3797
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Tl
.·.,      administrative
          ad mini strati v e practice
                             practice and
                                      and common
                                          common law   to properly
                                                  law to  properly investigate,
                                                                    investigate, credential,
                                                                                 credential, qualify,
                                                                                             qualify,
. .. ,.

           select, monitor,
          select,  monitor, supervise,
                             supervise, and
                                         and retain
                                              retain only
                                                     only competent
                                                          competent physicians
                                                                    physicians and
                                                                               and surgeons
                                                                                    surgeons who
                                                                                             who practice
                                                                                                 practice

          medicine
          medicine and/or
                   and/or surgery
                           surgery in
                                    in accordance
                                       accordance with
                                                  with the
                                                        the standards
                                                             standards of
                                                                       of care
                                                                          care and
                                                                               and who
                                                                                   who are
                                                                                       are not
                                                                                           not guilty
                                                                                               guilty of
                                                                                                      of

          boundary
          boundary violations
                   violations and/or
                              and/or other
                                     other improper,
                                            improper, unlawful
                                                      unlawful or
                                                               or inappropriate
                                                                   inappropriate behavior
                                                                                 behavior including
                                                                                           including but
                                                                                                     but

          not
          not limited
               limited to
                        to violations
                           violations of
                                      of internal
                                          internal protocols
                                                   protocols established
                                                             established by
                                                                         by Dimensions.
                                                                            Dimensions.

                 69.
                 69.     Dimensions
                         Dimensions also
                                    also failed
                                         failed to
                                                 to discover,
                                                    discover, stop,
                                                               stop, and
                                                                     and report
                                                                         report any
                                                                                any professional
                                                                                    professional

          misconduct
          misconduct of
                     of which
                        which they
                              they knew
                                   knew or
                                        or should
                                           should have
                                                  have known.
                                                       known. This
                                                              This common
                                                                   common law
                                                                          law duty
                                                                              duty isis non-
                                                                                        non-

          delegable
          delegable and
                    and was
                        was known
                            known or
                                  or by
                                     by the
                                        the exercise
                                            exercise of
                                                     of due care should
                                                        due care should have
                                                                        have been
                                                                             been known
                                                                                  known to
                                                                                        to all
                                                                                           all

          health
          health care providers including
                 care providers including Dimensions
                                          Dimensions herein.
                                                     herein.

                 70.
                 70.     Between
                         Between 2008
                                 2008 and
                                      and 2016,
                                          2016, Dimensions
                                                Dimensions had    duty under
                                                           had aa duty under the
                                                                             the applicable
                                                                                 applicable standards
                                                                                            standards

          of
          of care
             care and
                  and common
                      common law
                             law to
                                 to promulgate proper and
                                    promulgate proper and effective
                                                          effective standards,
                                                                    standards, procedures,
                                                                               procedures, protocols,
                                                                                           protocols,

          systems
          systems and
                  and rules
                      rules to ensure quality
                            to ensure quality care,
                                              care, safety and privacy
                                                    safety and privacy of its patients.
                                                                       of its patients.

                 71.
                 71.     Dimensions
                         D i m e n s i o n s knew
                                             knew or should have
                                                  or should      known, that Oluwafemi
                                                            have known,      Oluwafemi Charles
                                                                                       Charles

                       assumed aa fake identity
          Igberase had assumed
          Igberase                     identity using     name Charles
                                                using the name Charles J. Akoda, M.D.
                                                                       J. Akoda, M.D.

                 72.
                 72.     Dimensions knew or
                         Dimensions      or should have known that Akoda had not graduated
                                            should have                          graduated medical

          school and
          school               did not have the requisite education,
                 and therefore did                                            and competence
                                                          education, training and competence to
                                                                                             to provide

          medical
          medical care                 and the community.
                          its patients and
                  care to its                  community.

                 73.
                 73.                       should have known, that Akoda
                        Dimensions knew or should                  Ako d a engaged in
                                                                                   in

                             and unprofessional conduct by undertaking medical services
          improper, unlawful and                                               services on his

          patients without consent or authorization.
                                      authorization.

                 74.    Dimensions
                        D i 111 ens i o n s   knew
                                              krie w or                         Ako d a engaged
                                                        should have known, that Akoda
                                                     or should                          engaged in
                                                                                                1n


          boundary violations during his care and treatment of Named Plaintiffs and the Class.

                 75.    Dimensions breached its common law duties and the applicable standards of




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                                                          12 -
                                                                                                 JA3798
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     admini strati v e practice on an ongoing
     administrative                   ongomg basis by negligently failing to investigate,

     credential, qualify, select, monitor and supervise its medical personnel and to discover, stop

                Ak:oda.
     and report Akoda.

             76.    Dimensions' continuing breaches of common law and the applicable standards of

     administrative
     ad min i strati v e care constituted negligence, gross negligence, carelessness, recklessness

                misconduct.
     and wanton misconduct.

            77.
            77.     Dimensions as an institution and/or its officers, directors, management and/or

     staff committed breaches of the duties owed to Named Plaintiffs and members of the Class

                                      following:
     including but not limited to the following:

                   (a)     negligently failed to properly supervise and oversee Oluwafemi

                            lgberase;
                    Charles Igberase;

                   (b)     negligently credentialed Oluwafemi Charles Igberase;
                                                                      Igberase;

                   (c)     knew or should have known about Oluwafemi Charles Igberase's

                   identity and activity but negligently failed to report, stop and/or prevent its

                   continuation;
                   continuation;

                   ( d)
                   (d)     negligently failed to observe Oluwafemi Charles Igberase's activity;

                   (e)     negligently failed to train staff to recognize and report conduct of

                   this type and/or;
                             and/or;

                   (f)
                   (0     negligently failed to have or enforce policies and procedures that

                                 th.is type of activity.
                   would prevent this          activity.

            78.    Dimensions further breached the applicable standards of administrative care and

            law duties on a continuing basis by:
     common Jaw                              by:




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                                                                                             JA3799
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                        (a)     failing to properly investigate A k o ddaa during his employment and/or
                                                                Ako

                        association with the Dimensions;

                        (b)     failing to properly investigate Akoda's identity;
                                                                        identity;

                        (c)     failing to take appropriate actions to ensure the safety and privacy
                                                                                             pnvacy of

                       patients who came under Akoda's care;
                                                       care;

                       (d)
                       ( d)    failing to appropriately credential, qualify, select, investigate, monitor and

                       supervise Akoda;

                       (e) continuing Ak.oda's
                                      Akoda's privileges and employment when Dimensions knew or

                       should have known that he engaged in wrongful, unlawful
                                                                      unlawfol and outrageous

                       conduct including, but not limited to, assuming the identity of another

                       person, performing medical services on patients without authorization

                       or consent, in addition to engaging in boundary violations, and/or violating

                       other standards of care and/or internal protocols, rules, systems, and procedures;
                                                                                              procedures;

                       (t)
                       (f)      granting privileges to an applicant who was not properly educated, trained and
                                punting

                       competent to provide obstetrical and gynecologic care;

                       (g)      granting privileges to an applicant who used a false ECFMG certification, false

                       passport, driver's license and resident card and using forged letters of recommendation.
                                                                                             ofrecommendation.

               79.     Dimensions'        continuing       breaches of          the     applicable       standards of

        administrative care and Dimensions' common law duties constituted negligence, gross

        negligence, carelessness and recklessness.

               80.
               80.                                                law and violations of the
                       Dimensions' ongoing breaches of the common law


        standards of    care     proximately caused           the Named
                                                                  Named            Plaintiffs and        all
                                                                                                         a 11 class
                                                                                                              cIass

        members physical pain, emotional anguish, fear, anxiety, humiliation, embarrassment and




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                                                                                                                  JA3800
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                  other physical and emotional injuries, damages (both economic and non
                                                                                    non-economic)
                                                                                        -economic) and

                  permanent disability, in the past, present and future.

                          81.      Dimensions' negligence was the sole and proximate cause of the injuries,

                  damages and permanent disability of Named
                                                      N a m e d Plaintiffs
                                                                P laintiffs and class
                                                                                c 1 as s members with

                  Named Plaintiffs and Class Members being in no way contributorily negligent.
                                                                                    negligent.

                          82.      As -aa direct, proximate, immediate and foreseeable result of Dimensions'

                  conduct, Named Plaintiffs and Class Members have and/or will suffer permanent

                  economic and non-economic damages including but not limited to:
                                                                              to:

                                       (a)       Great indignity, humiliation, shame, mortification and other

                                injuries to their physical, mental, emotional and nervous systems;
                                                                                          systems;

                                       (b)       Severe mental anguish and psychological distress;

                                       ( c)
                                       (c)       The cost past, present and future cost of medical care, including

                                but not limited to therapy and psychological counseling;
                                                                             counseling; and

                                       (d)       Lost earnings and diminished earnings capacity

                                                               COUNT TWO
                                              (Invasion of Privacy - Intrusion Upon Seclusion)

                         83.
                         83.       Named Plaintiffs re-allege and incorporate by reference the allegations set forth

                  herein, and further allege:
                                      allege:

                         84.                               solitude, seclusion or private affairs and concerns of
                                   Akoda intruded upon the solitude,

                  Named Plaintiffs and class members by viewing private areas of each patient's body,

                  performing medical procedures on each patient, inserting his extremities inside each

                  patient, performing surgical procedures on patients and other boundary violations

                  all without authorization or consent.
                                               consent.

                         85.      These                      highJy offensive to a reasonable individual, such as
                                              intrusions are highly


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                                                                                                              JA3801
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          Named Plaintiffs and the Class, and was totally unwarranted and unjustified, constituting
~::.:1

          invasion of privacy, and a violation of The Health Insurance Portability and Accountability

          Act (HIPAA).

                 86.
                 86.       Dimensions is liable and vicariously liable for Akoda's conduct.
                                                                                   conduct.

                 87.      As a direct       and proximate      result of Akoda
                                                                         Ak o d a 's acts, Named Plaintiffs

         suffered physical pain,
                           pam, emotional anguish, fear, anxiety, humiliation, embarrassment and

         other emotional, physical and injuries, damages (both economic and non-economic) and

         permanent disability, in the past, present and future.
                                                        future.

                 88.      Dimensions' negligence was the sole and proximate cause ooff the injuries,

         damages and permanent disability of Named Plaintiffs and the class, with Named Plaintiffs

         and the class being in no way contributorily negligent.
                                                      negligent.

                 89.
                 89.      As a direct, proximate, immediate and foreseeable result of Dimensions'

                  N am e d Plaintiffs
         conduct, Named                    c I ass members have and/or will suffer permanent
                           Plain tiffs and class

         economic and non-economic damages including but not limited to:
                                                                     to:

                              (a)      Great indignity, humiliation, shame, mortification and other

                       injuries to their physical, mental, emotional and nervous systems;
                                                                                 systems;

                              (b)
                              (b)      Severe mental anguish and psychological distress;
                                                                               distress;

                              (c)
                              (c)      TI1e past, present and future cost of medical care, including but not
                                       The

                       limited to therapy and psychological counseling; and

                              (d)      Lost earnings and diminished earnings capacity.
                                                                             capacity.

                                                  COUNT THREE
                                    (Intentional Infliction of Emotional Distress)

                90.
                90.       Named Plaintiffs re-allege and incorporate by reference the allegations set forth

         herein, and further allege:
                             allege:


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                                                                                                        JA3802
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·"!'1           91.    Akoda's ongoing
                               ongomg conduct was intentional and/or reckless       when he viewed
 . ·/
·.-•\


        private areas of each patient's body, performed medical procedures on each patient,

        inserted his extremities inside each patient, performed surgical procedures on

        patients and other boundary violations all without authorization or consent.
                                                                            consent.

               92.     Akoda's conduct involved extreme, outrageous and unreasonable conduct and

        occurred when he acted as a duly authorized agent and/or employee of Dimensions. As a

        result, Named Plaintiffs and class members sustained severe emotional distress

        resulting in physical manifestations, physical pain,
                                                       pam, emotional anguish, fear, anxiety,

        humiliation, embarrassment and other physical and         emotional injuries, damages (both

        economic and non-economic) and permanent disability, in the past, present and future, for

                            made. The injuries suffered by the Named 'Plaintiffs and class members
        which this claim is made.                                                          rnem bers

        are substantial, continuing, and permanent.

               93.    Dimensions is liable and vicariously liable for Akoda's conduct.
                                                                              conduct.

               94.    The emotional distress that has been sustained by N am e d Plaintiffs an d
                                                                        Named

        C l as s Mem
        Class    M e m b e rrss   was the natural and proximate result of the ongoing wrongful,

        unlawful and outrageous conduct on the part of the Dimensions as alleged herein.

               95.    Dimensions' negligence was the sole and proximate cause of the injuries,
                                  negligencewas                                      injunes,

                                                                                     Nam e d
        damages and permanent disability of Named Plaintiffs and class members, with Named

        Plaintiffs and Class Members being in no way contributorily negligent.
                                                                    negligent.

               96.    As a direct, proximate, immediate and foreseeable result of Dimensions'

        conduct, Named Pl
                       Plaintiffs                                wi.H suffer permanent economic
                          aintiffs and Class Members have and/or will

        and non-economic damages including but not limited to:
                                                           to:




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                               (a)     great indignity, humiliation, shame, mortification and other injuries
  ..
.·:··j
  ,.

                        to their physical, mental, emotional and nervous systems;
                                                                         systems;

                               (b)     severe mental anguish and psychological distress;

                               (c)
                               ( c)    the past, present and future cost of medical care including but not

                        limited to therapy and psychological counseling; and

                               (d)     lost earnings and diminished earnings capacity.

                                                     COUNT FOUR
                                                       (Battery)

                97.        Named Plaintiffs re-allege and incorporate by reference the allegations set forth

         herein, and further allege:
                             allege:

                98.        Akoda intentionally and without Named Plaintiffs or class members' consent

         made unpermitted,
              unperrnitted, harmful and offensive sexual and/or other contact with Named Plaintiffs

         and Class Members.

                99.       At all relevant times, Akoda
                                                 Ako d a acted as a duly authorized agent and/or employee

         of Dimensions.

                100.
                I 00.     These contacts would offend an ordinary              person's   reasonable sense of

         personal dignity, and constituted an intentional, unpermitted touching of Named Plaintiffs and

         Class Members.

                101.
                I 01.     Dimensions is liable and vicariously liable for Akoda's
                                                                          Akoda 's conduct.

                102.      As a result of Dimensions' conduct, Named Plaintiffs and Class Members

         sustained severe emotional distress and physical pain, emotional anguish, fear, aanxiety,
                                                                                           nxiety,

         humiliation, embarrassment and other physical and emotional injuries, damages (both

         economic and non- economic) and permanent disability, in the past, present and future, for

         which this claim is made.


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   .,            103.
                 103.    The injuries suffered by Named Plaintiffs and Class Members are
·,.,,·

                                     permanent. Dimensions is responsible for Akoda's
         substantial, continuing and permanent.                               Ako d a 's conduct due

         to its ongoing failure to investigate, credential, qualify, select, monitor and supervise its

         medical personnel and to discover, stop and report Akoda.

                 104.
                 104.    Dimensions' negligence was the sole and proximate cause of the injuries,

         damages and permanent disability of N a in e d Plaintiffs and Class Members, with Named
                                             Nam                                           N am e d

                        C 1 ass Members being in no way contributorily negligent.
         Plaintiffs and Class                                          negligent.

                 105.
                 105.    As a      direct, proximate, immediate and foreseeable result of Dimensions'

         conduct, Named Plaintiffs and Class Members have and/or will suffer permanent economic and

         non-economic damages including but not limited to:

                             (a)       great indignity, humiliation, shame, mortification and other injuries

                     to their physical, mental, emotional and nervous systems;
                                                                      systems;

                            (b)        severe mental anguish and psychological distress;
                                                                               distress;

                            ( c)
                            (c)        the past, present and future cost of medical care including but not

                     limited to therapy and psychological counseling;
                                                          counseling; and

                            (d)        lost earnings and diminished earnings capacity.

                                                    COUNT FIVE
                                                (Negligent Entrustment)

                106.
                106.    Named Plaintiffs re-allege and incorporate by reference the allegations set forth

         herein, and further allege:

                107.
                107.    At all times relevant hereto Dimensions appointed, engaged, employed and/or

                         Akoo d a to act as its actual and/or apparent, duly authorized agent, servant
         contracted with Ak

         and/or employee and permitted him to remain as such from 2012 to 2016.

                108.
                108.                          hereto, Dimensions granted privileges to Akoda to
                        At all times relevant hereto.


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                                                          -19-
                                                                                                        JA3805
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 practice
 practice as
          as an  obstetrician/gynecologist in
              an obstetrician/gynecologist  in its
                                                its medical
                                                    medical facilities
                                                             facilities and
                                                                         and on
                                                                             on its
                                                                                 its patients
                                                                                     patients including
                                                                                               including

 Named
 Named Plaintiffs
       Plaintiffs and Class Members.
                  and Class Members.

       .109.
         109.     In connection
                 In  connection with
                                with granting
                                     granting Akoda
                                              Akoda these
                                                     these privileges
                                                           privileges Dimensions
                                                                      Dimensions entrusted
                                                                                 entrusted

Akoda with
Akoda with the
            the use
                use of  its medical
                    of its  medical facilities,
                                     facilities, devices,
                                                 devices, equipment,
                                                          equipment, machines
                                                                     machines and/or
                                                                              and/or supplies
                                                                                      supplies to
                                                                                                to

provide
provide care
        careand
             and treatment
                  treatment to
                             to his
                                his and
                                    and the
                                         the Dimensions'
                                             Dimensions' patients,
                                                         patients, including
                                                                    includingNamed
                                                                             Named Plaintiffs
                                                                                   Plaintiffs and
                                                                                              andClass
                                                                                                  Class

Members.
Members.

        110.
         110.   At
                At all
                   all times
                       times relevant
                             relevant hereto,   imensions owed
                                      hereto, DDimensions owed aa continuing
                                                                  continuing duty
                                                                             duty to
                                                                                   to Named
                                                                                      Named.

Plaintiffs
Plaintiffs and
           and Class
               Class Members
                     Members to
                             to use
                                use reasonable
                                    reasonable care
                                               care to
                                                     to ensure
                                                        ensure that
                                                                that Akoda
                                                                     Akoda was
                                                                           was trustworthy,
                                                                                trustworthy,

competent,
competent, and
           and fit
               fit to
                   to safely
                      safely and
                             and appropriately
                                 appropriately            utilize the medical
                                                          utilize the medical facilities,
                                                                              facilities, devices,
                                                                                          devices,

equipment, machines,
equipment, machines, and/or
                     and/or supplies
                            supplies itit entrusted
                                          entrusted to
                                                     to him
                                                        him to
                                                            to treat   its patients
                                                                treat its  patients such
                                                                                    such as
                                                                                         as Named
                                                                                            Named

Plaintiffs and
Plaintiffs and Class
               Class Members.

        111.
        111.    At all
                At all times
                       times relevant
                             relevant hereto, Dimensions knew
                                      hereto, Dimensions knew or
                                                              or should
                                                                 should have known,
                                                                             known, and/or
                                                                                    and/or had
                                                                                           had

actual. or
actual  or constructive
           constructive knowledge and/or
                                  and/or reasonable
                                         reasonable suspicion that Akoda
                                                    suspicion that Akoda was
                                                                         was using the
                                                                                   the

Dimensions' medical
Dimensions' medical facilities,
                    facilities, devices,
                                devices, equipment, machines, and/or
                                         equipment, machines,        supplies to engage
                                                              and/or supplies    engage in
                                                                                        in

unprofessional, unlawful and
unprofessional,unlawful  and outrageous            viewing private areas
                                        conduct by viewing
                             outrageous conduct                    areas of each patient's
                                                                         of each

body, performing medical
                 medical procedures
                         procedures on each patient, inserting
                                    on each          inserting his extremities
                                                                   extremities

inside each
inside each patient.
            patient, performing surgical                        and other
                                                    on patients and
                                surgical procedures on              other boundary

           all without authorization
violations all         authorization or
                                     or consent.
                                        consent.

       112.
       112.     Dimensions
                Dimensions                     duties owed to Named Plaintiffs and Class
                                breached these duties

           entrusting Akoda with the medical facilities, devices, equipment, machines,
Members by entrusting

and/or supplies
and/or                                       acts which are the subject
                                         the acts
       supplies which he used to perform the                    subject of this Amended
                                                                        of this


Complaint.

       113.
       113.     Dimensions negligently breached these duties owed to Named Plaintiffs and




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class members and failed to carry out their responsibilities in accordance with the level of care

and skill expected of a reasonably prudent medical corporation under the same or similar

circumstances, by entrusting Akoda with their patients, including Named Plaintiffs and

Class Members, and with the use of medical facilities, devices, equipment, machines, and/or

supplies.
supplies.

       114.
       114.     As a result of this negligence by Dimensions, Named Plaintiffs and Class

Members sustained severe emotional distress and physical pain, emotional anguish, fear,

anxiety, humiliation, embarrassment and other physical and emotional injuries, damages (both

economic and non- economic) and permanent disability, in the past, present and future, for

      th.is claim is made. The injuries suffered by Named Plaintiffs and class members are
which this

substantial, continuing and permanent.
                            permanent.

       115.
       115.     Dimensions' negligence was the sole and proximate cause of the injuries,

                                          P laintiffs and class members, with Named
damages and permanent disability of Named Plaintiffs                          Name d

Plaintiffs and class m em b e r s being in no way contributorily negligent.
                     members

       116.
       116.     As a direct, proximate, immediate and foreseeable result of Dimensions'

conduct, Named Plaintiffs and C
                              Class    e in be r s have and/or will suffer permanent
                                     Members
                                lass M

economic and non-economic damages including but not limited to:
                                                            to:

                   (a)     great indignity, humiliation, shame, mortification and other injuries

            to their physical, mental, emotional and nervous systems;
                                                             systems;

                   (b)     severe mental anguish and psychological distress;
                                                                   distress;

                   (c)
                   ( c)                         future cost of medical care including but not
                              past, present and future
                          the past,

            limited to therapy and psychological counseling; and

                   ( d)
                   (d)    lost earnings and diminished earnings capacity.




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                                              -21
                                                                                            JA3807
            Case:2:18-cv-05629-JDW
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                                         PRAYER FOR RELIEF

             WHEREFORE, Named Plaintiffs respectfully pray that this Court:

             A.    assume jurisdiction of this case;

            B.     enter an order certifying the Class under Mo.      2-231 (b )(1 )(A-B) and 2-
                                                             MD. RULE 2-231(b)(1)(A-B)

                   231 (b )(3);
                   231(b)(3);

            C.     appoint Named Plaintiffs as Class Representatives;
                                                     Representatives;

            D.     appoint Named Plaintiffs' Counsel as Class Counsel;

            E.     enter a judgment against Dimensions finding it liable to Named Plaintiffs and

                   each Class Member;
                              Member;

            F.     award compensatory damages to each class member in an amount which exceeds
                                                  1
                   seventy five thousand dollars;'
                                         dollars;

            G.     award punitive damages to each Class Member;

            H.     award the costs and expenses of this case, including attorneys' fees;

            I.     award pre-judgment and post-judgment interest; and

            J.     award such other relief as the court deems appropriate.

                                                  Respectfully submitted,

                                                  Z LAW, LLC


Dated: December 15, 2017
                15,2017
                                                 Cory L.           el, -s •
                                                               Of Ro.•, uite B-13
                                                 "-"":r_,..,,, or
                                                 Timoniu... . .,. ~-· la    1093
                                                 (443) 213-1977
                                                 clz@zlawmaryland.com
                                                 clz@zlawinaryland.com



        1
          Pursuant to MD. RULE 2-305, Named Plaintiffs state that each of their claims exceed seventy five
thousand dollars ($75,000.00).
                 ($75,000.00).


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                                                                                                  JA3808
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                                             Jay D. Miller, Esq.
                                             LAW OFFICES OF PETER G. ANGELOS, P.C.
                                             One Charles Center
                                             100                     zo" Floor
                                              100 N. Charles Street, 20th
                                             Baltimore, Maryland 21201
                                                                   21201
                                             (410) 649-2000
                                             JMiller@lawpga.com
                                             J1v1i1ler@lawpga.com

                                             Attorneys for Plaintiffs


                                          JURY TRIAL

        Named Plaintiffs on behalf of themselves and all others similarly situated demands trial

by jury on all issues so triable.




                                                ry L. Za.


                                    CERTIFICATE OF SERVICE
                                th
       I certify that on this 15th
                              15 day of December, 2017, I caused a copy of the foregoing First

Amended Class Action Complaint to be placed in the mail for delivery using first class postage

        to:
prepaid to:

                                     Joseph B. Chazen, Esq.
                                       Gina M. Smith, Esq.
                                                      Esq.
                                      Samuel T. Wolf, Esq.
                               Meyers, Rodbell & Rosenbaum, P.A.
                               6801 Kenilworth Avenue,
                               6801             A venue, Suite 400
                                   Riverdale, Maryland 20737


                    Counsel for Defendant Dimensions Health Corporation




                                                      ory L.   jde



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                                                                                          JA3809
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                Exhibit 70




                                                                  JA3810
     Case: 22-1998 Document:Document
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                                     Jasmine Riggins                 April 1, 2019

                                                                  Page 1

 1       IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY

 2      MONIQUE RUSSELL, et al.

 3          Plaintiffs                  : Case No.:

 4                 Vs.                  : CAL17-22761

 5      DIMENSIONS HEALTH CORP., : CAL17-37091

 6      et al.                          : CAL18-07863

 7         Defendants

 8

 9

10                 Deposition of JASMINE RIGGINS was taken

11      via videotape on Monday, April 1, 2019, commencing

12      at 10:03 a.m., at Law Office of David Ellin, P.C.,

13      154 Westminster Pike, Reisterstown, Maryland,

14      before MICHELE D. LAMBIE, Notary Public.

15

16

17

18

19

20

21     Reported By:       Michele D. Lambie, CSR-RPR




                                 Veritext Legal Solutions
                              202-803-8830 -- 410-494-8300             JA3811
Case: 22-1998 Document:Document
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                                                 Jasmine Riggins                                           April 1, 2019
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 1 opportunity to object before answering the next               1 not been physically there.
 2 series of questions.                                          2    Q. And why did you not attend those
 3        MR. ELLIN: Objection.                                  3 hearings?
 4 BY MR. CATHELL:                                               4    A. My attorney didn't advise me that I
 5     Q. Did you meet with your attorneys before                5 needed to be there.
 6 the Complaint was filed?                                      6    Q. Do you plan on going to court hearings in
 7    A. Yes.                                                    7 this case regarding class certification?
 8    Q. And do you recall how long?                             8    A. If my attorneys need me there.
 9    A. How long did we meet?                                   9    Q. Do you know what class certification is?
10    Q. How long did you meet prior to the                     10    A. Vaguely.
11 Complaint being filed?                                       11    Q. Okay. And what is your understanding as
12    A. I do not recall.                                       12 to what class certification is?
13    Q. Since the Complaint was filed, have you                13    A. Well, I know that it's a process of
14 met with your attorneys?                                     14 the -- the class action representative. It's
15    A. Yes.                                                   15 something that they're supposed to have or do. I'm
16    Q. And do you recall how many times you have              16 not honestly sure of exactly what it is.
17 met with your attorneys?                                     17    Q. Do you know what causes of action are
18    A. No. We've met multiple times.                          18 being asserted in the Complaint in this matter?
19    Q. And when was the last time you met with                19         MR. ELLIN: Objection. You can answer to
20 your attorneys?                                              20 the best of your ability.
21    A. Other than this morning?                               21         THE WITNESS: Okay. What is the question
                                                      Page 75                                                       Page 77

 1    Q. Yes.                                                    1 again?
 2    A. Friday, I believe.                                      2 BY MR. CATHELL:
 3       MR. ELLIN: And just to clarify, too.                    3    Q. Sure. Do you know what causes of action
 4 Meeting, like telephone conference I think that               4 are being asserted in the Complaint in this matter?
 5 she's using that as well --                                   5    A. Can you rephrase that? I don't -- what
 6       THE WITNESS: Yeah.                                      6 causes of action are being asserted? Not that
 7       MR. ELLIN: -- as well as an actual                      7 I -- no. Causes of action?
 8 meeting.                                                      8    Q. Do you want me to rephrase it
 9 BY MR. CATHELL:                                               9 or --
10    Q. So, without getting into any of the                    10    A. Please, yes.
11 specifics of the communications, how often have you 11             Q. Well, do you -- do you know what a cause
12 communicated with your lawyers regarding this cases 12 of action is?
13    A. Often. I don't -- I don't have a                       13    A. Yes.
14 specific number.                                             14    Q. Okay. And do you know what the causes of
15    Q. Have you read any of the papers that have              15 action that you're bringing in this case are?
16 been filed in court in this case, other than the             16    A. The causes of action that I'm bringing to
17 Complaint?                                                   17 the case?
18    A. Not that I can recall.                                 18         MR. ELLIN: What -- what we're alleging
19    Q. Have you gone to court to any of the                   19 they did wrong.
20 hearings that have occurred in this case?                    20         THE WITNESS: Yes.
21    A. No. I've -- I was aware of them. I have                21         MR. ELLIN: Is that -- is that fair?

                                                                                                     20 (Pages 74 - 77)
                                            Veritext Legal Solutions                                              JA3812
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                                                Jasmine Riggins                                            April 1, 2019
                                                   Page 78                                                        Page 80
 1 Okay.                                                      1 specific things in the lawsuit are, okay?
 2        THE WITNESS: Okay. The fact that                    2    A. Okay.
 3 the -- the hospital wasn't very -- what's the word?        3    Q. Do you know the names of the Defendants
 4 Good at -- they weren't very good at who they              4 that are being sued in this case?
 5 allowed practice in their hospital. They didn't do         5    A. Yes.
 6 a good job at checking into his background, making         6    Q. Okay. And what are the names of the
 7 sure everything was legit, making sure that he was         7 Defendants?
 8 actually saying who he was.                                8    A. Dimensions Healthcare.
 9 BY MR. CATHELL:                                            9       MR. ELLIN: Oh. We lost the -- there you
10    Q. Do you know what damages the Complaint is 10 go.
11 seeking?                                                  11 BY MR. CATHELL:
12    A. What damages we're seeking?                         12    Q. Anyone else?
13    Q. Yes.                                                13    A. The Dimensions Healthcare. I'm sorry.
14    A. The damages -- yes.                                 14    Q. Anyone else?
15        MR. ELLIN: Are you talking about like              15    A. No, other than --
16 the specific amount in the Complaint? I just want         16    Q. Did --
17 to make sure we're --                                     17    A. Oh, go ahead.
18        THE WITNESS: Yeah, we are clear.                   18    Q. Were you finished your answer?
19 BY MR. CATHELL:                                           19    A. Yes.
20    Q. Just any understanding. I mean, that's a            20    Q. Have you met with any of the other
21 yes or no. Do you know what the damages the               21 Plaintiffs?
                                                  Page 79                                                         Page 81
 1 Complaint is seeking?                                      1    A. No.
 2     A. Yes.                                                2    Q. Other than Ms. Russell, who we've
 3     Q. Okay. And what is your understanding a              3 discussed, are you aware of the names of any other
 4 to what the damages sought are?                            4 Plaintiff?
 5     A. So far as him not being legit and as far            5    A. Not every -- no, not the names.
 6 being fraud, are you talking about that?                   6    Q. Are you aware that the Complaint is
 7 Like --                                                    7 asking the court to certify this matter as a class
 8     Q. I'm just asking your understanding of the           8 action?
 9 damages in your Complaint.                                 9    A. Yes.
10         MR. ELLIN: And if you don't know them 10                Q. And do you know what it means to proceed
11 all, it's fine.                                           11 as a class action?
12         THE WITNESS: Yeah.                                12    A. Yes.
13         MR. ELLIN: Again, it's not a trick                13    Q. And what does that mean, to proceed as a
14 question.                                                 14 class action?
15         THE WITNESS: Yeah, not at this time.              -15   A.- That this is an act of a class of
16 BY MR. CATHELL:                                           16 multiple people. That it's more than one person.
17     Q. Yeah. This is my opportunity just to               17    Q. Anything else? Any further
18 explore what you know, so I'm not --                      18 understanding?
19     A. Right.                                             19    A. No.
20     Q. -- implying anything with my question. I 20              Q. Do you know how many proposed class
21 just want to know what your understanding of              21 members there are?

                                                                                                 21 (Pages 78 - 81)
                                          Veritext Legal Solutions                                           JA3813
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                Exhibit 71




                                                                  JA3814
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                                  Gladys S. Fenichel, MD
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                                    FAX (610) 649-5071

September 25, 2019

Elisa P. McEnroe
Morgan, Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103-2921

RE: Jasmine Riggins et al. v. Educational Commission for Foreign Medical Graduates

Dear Ms. McEnroe:

On September 20, 2019, I had the opportunity to see Jasmine Riggins for an independent
psychiatric evaluation. The evaluation was requested to comment on Ms. Riggins’s psychiatric
condition in relation to the Complaint in Jasmine Riggins et al. v. Educational Commission for
Foreign Medical Graduates.

At the start of the examination, I discussed with Ms. Riggins that I would prepare a report based
on the psychiatric evaluation and review of records. I discussed with Ms. Riggins that the
examination was not for purposes of treatment and I was not her doctor.

In preparation of this report I have reviewed the following documents:

1. Medical Records: Plaintiffs0000001134 – Plaintiffs0000001242; Plaintiffs0000001995 –
   Plaintiffs0000002026; Plaintiffs0000006394 – Plaintiffs0000006512; Plaintiffs0000007418 –
   Plaintiffs0000007425; Plaintiffs0000007426 – Plaintiffs0000007652
2. Complaint in Russell et al. v. ECFMG
3. Jasmine Riggins’s Answers to First Set of Interrogatories and Responses to First Set of
   Requests for Production of Documents (3/28/2019)
4. Jasmine Riggins’s Supplemental Answers to First Set of Interrogatories and Responses to
   First Set of Requests for Production of Documents (6/13/2019)
5. Amended Class Action Complaint in Russell v. Dimensions Health, CAL 18-07863
   (3/16/2018)
6. Jasmine Riggins’s Responses to Requests for Admission, CAL 18-07863
7. Jasmine Riggins’s Answers to Interrogatories, CAL 18-07863 (3/29/2019)
8. Deposition of Jasmine Riggins, CAL 17-22761, CAL 17-37091, and CAL 18-07863
   (4/1/2019)




                                                                                        JA3815
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                                                                 RE: JASMINE RIGGINS
                                                                                Page 2
HISTORY REPORTED BY JASMINE RIGGINS:

Jasmine Riggins (                       ) said that she is involved in the current litigation because
her son was delivered by a man who is “not a doctor.” Ms. Riggins said that Dr. Akoda falsified
information that he was a doctor. Ms. Riggins said she was in a Facebook group called
Embracing Mommies. Ms. Riggins said she did not recall when she joined this Facebook group.
Ms. Riggins said that she would check the Facebook group Embracing Mommies a couple times
a week for notifications and information that could be helpful for her and her children. Ms.
Riggins said she believes that she saw a Facebook post about Dr. Akoda sometime in 2016. Ms.
Riggins said that the post was written by Monique Russell. Ms. Riggins said she did not recall
the exact words from the post; but she recognized the name Dr. Akoda and wanted to get more
information. Ms. Riggins said she learned that Dr. Akoda is not a doctor. Ms. Riggins said that
she had communicated with Ms. Russell on Facebook, but she had never met Ms. Russell in
person until they appeared for depositions on the same day.

Ms. Riggins said that she has three children. Her oldest child, Santana, was born on 07/25/19 at
Howard University Hospital. Ms. Riggins said she moved to Maryland, and she chose Dr. Abdul
Chaudry’s practice for her second pregnancy. She said Dr. Akoda was a physician in the practice
and he was her doctor during the pregnancy. Ms. Riggins said she did not have any problems
with the treatment during her pregnancy. Ms. Riggins said that she needed an emergency c-
section and her son Messiah was born on 03/18/13. Ms. Riggins explained that her mother went
with her to a prenatal OB appointment with Dr. Akoda. Ms. Riggins had reported a decrease in
fetal movement, and she said she was told to go to the hospital to deliver her baby.

Ms. Riggins said she was in the hospital for four or five days after she delivered Messiah, and
she said that she continued to have pain for a couple months after he was born. Ms. Riggins said
that she had been working at a bowling alley 20 hours a week during her pregnancy with
Messiah, and she went back to work a few months after Messiah was born. Ms. Riggins said that
she did not have concerns about her treatment with Dr. Akoda in the prenatal visits, during the c-
section, or after his birth. She did have a post-delivery visit with Dr. Akoda.

Ms. Riggins said she stopped seeing any doctors for medical or gynecologic treatment until she
became pregnant with her third child. Ms. Riggins said she started prenatal care a couple months
after she learned that she was pregnant. Her daughter Taniya was born on 10/02/17 at
Washington Hospital Center. She said the pregnancy was good. She said she had a scheduled c-
section and she did not have problems after the c-section. She said she has a current
gynecologist at Unity Health Care. Ms. Riggins said that the medical care provided by Dr.
Akoda was no different from the treatment from the doctors who delivered her first child and her
third child.

Ms. Riggins said when she learned about the lawsuit, she felt embarrassed that something like
this had happened, that Dr. Akoda was not really a doctor. Ms. Riggins said that her everyday
life did not change.

Ms. Riggins said she tries not to think about the lawsuit. Ms. Riggins said she feels upset for the
women who had complications as a result of the care provided by Dr. Akoda, but she does not




                                                                                            JA3816
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                                                                RE: JASMINE RIGGINS
                                                                               Page 3
know any of these women. Ms. Riggins said that she does not like the fact that Dr. Akoda
looked at her private area, and he was not supposed to do that. She said that she feels frustrated,
angry, and very sad. She said it is frustrating that she trusted Dr. Akoda, and she should not have
trusted him because he is not a doctor. Ms. Riggins did not have any specific information about
ECFMG. Ms. Riggins said that she has felt like she is part of a Lifetime Movie because Dr.
Akoda was her doctor during her second pregnancy and delivered her son, and he was not a real
doctor.

Ms. Riggins said that her mood is okay most of the time. She said her sleep is okay. Sometimes
she said she feels “bothered” when she thinks about Dr. Akoda and the lawsuit. Ms. Riggins said
she did not read any newspaper articles about Dr. Akoda. She said that she has only read
information that she received from her attorney. Ms. Riggins denied problems with her appetite
and she said her concentration is pretty good. She said she is able to experience pleasure and
loves to be active with her children. Ms. Riggins said she has never had suicidal ideation or
anxiety attacks.

Ms. Riggins discussed her thoughts about her future. She thinks about her career, and she wants
to own a home. She wants to continue to do what she can for her children. Ms. Riggins said her
children are her future. She said that she and her boyfriend are good in regard to their intimate
relationship. Ms. Riggins said that she thinks that probably there were a few weeks after she
found out about Dr. Akoda that she was “not in the mood.”

MEDICAL HISTORY:

Ms. Riggins said that she had asthma as a child, and she believes that she had a hospitalization
for asthma when she was a child. Ms. Riggins said that she has not had problems with asthma
for years, and she does not have an inhaler.

Ms. Riggins also said that she has low iron. She was told about her low iron by her primary care
physician at Unity Health Care.

Ms. Riggins denied a history of any psychiatric problems or history of treatment with a
psychiatrist, psychologist, or counselor. Ms. Riggins said she has never been diagnosed with
depression, anxiety, or other psychiatric disorder.

SOCIAL HISTORY:

Ms. Riggins said she left high school in 12th grade because she did not have enough help to take
care of her son, Santana. Ms. Riggins said that Santana and Messiah have the same father and
she has a joint custody arrangement with him.

Ms. Riggins said that she thought that she had received a GED. She said she had paid $57 to a
company and she took the test for a GED. Ms. Riggins said that she received a certificate that
she had a GED, but the certificate was not valid. The company had falsified the document, and
the company is now out of business. Ms. Riggins said she did not remember the year she first
took the test for the GED.




                                                                                          JA3817
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                                                               RE: JASMINE RIGGINS
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Ms. Riggins said that she is now in school at the Goodwill Excel Center. She will receive a high
school diploma and then study computer science. Ms. Riggins said that she will be in this
program for approximately two and a half years. She said the program has a daycare center and
Ms. Riggins takes her daughter Taniya to the daycare center when she is in school. Ms. Riggins
said that she is at the Goodwill Center approximately four hours a day, Monday to Thursday.

Ms. Riggins denied a history of any physical, mental, or sexual abuse. She denied a history of
alcohol abuse or drug use. Ms. Riggins said that her mother has seven biological children and
her father has seven biological children. Her mother and father had two children together. Ms.
Riggins denied a family history of depression, anxiety, or substance abuse.

MENTAL STATUS EXAMINATION:

Mental status examination revealed a 27-year-old woman who paid attention to her appearance
evidenced by her clothes, jewelry, and makeup. Ms. Riggins answered questions in a
spontaneous fashion, but she said she would not answer a question about Facebook contacts with
Ms. Russell unless she called her attorney.

Ms. Riggins described her mood as most of the time okay. Her affect was full. She had tears in
her eyes when she talked about her feelings of embarrassment when she learned that Dr. Akoda
was not a real doctor. She denied suicidal ideation. She denied the experience of anxiety
attacks.

Memory and intelligence were grossly within normal limits.

REVIEW OF RECORDS:

The file did not include any records regarding psychiatric or psychological treatment.

The records included multiple notes from a primary care physician that included the Patient
Health Questionnaire 2. The scores were always two or lower, indicating that Ms. Riggins did
not have problems with depression or anxiety or need for counseling. (Dates of PHQ 2:
09/07/17, 09/23/16, 10/13/17, 11/09/17, 04/18/19)

IMPRESSION:

It is my opinion that Ms. Riggins does not have any psychiatric disorder, and in particular, she
does not have a psychiatric disorder causally related to her allegations in the Complaint Jasmine
Riggins et al. v. Educational Commission for Foreign Medical Graduates.

In support of this opinion, Ms. Riggins discussed her history and her current well-being. She
denied a history of any mental health treatment, and she denied a plan to see a psychiatrist or a
psychologist. Ms. Riggins said that she did not have any problems with the treatment provided
by Dr. Akoda during her pregnancy and with the delivery of her second child. Ms. Riggins said
that the care she received from Dr. Akoda was no different from the treatment from the doctors




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                                                                RE: JASMINE RIGGINS
                                                                               Page 5
who delivered her first child and her third child. Ms. Riggins is in school at the Goodwill Excel
Center. She will receive a high school diploma and then study computer science. Ms. Riggins
discussed her strong relationships with her partner and her children and goals for her future and
for her family.

The opinions noted in this report have been stated within a reasonable degree of medical
certainty. I reserve the right to supplement this report if additional records become available for
review.

Sincerely,


 ~~ ~ ~~~ ~~
Gladys S. Fenichel, MD

GSF/plr




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                Exhibit 72




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                                 Monique Russell


· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · ·FOR THE EASTERN DISTRICT OF PENNSYLVANIA
·
· · ·- - - - - - - - - - - - - - - - X
· · ·MONIQUE RUSSELL, JASMINE· · · · :
· · ·RIGGINS, ELSA M. POWELL· · · · ·:
· · ·and DESIRE EVANS,· · · · · · · ·: Civil Action No.
· · · · · · · · · ·Plaintiffs,· · · ·:· 18-5629
· · ·v.· · · · · · · · · · · · · · · :
· · ·EDUCATIONAL COMMISSION FOR· · · :
· · ·FOREIGN MEDICAL GRADUATES,· · · :
· · · · · · · · · ·Defendant.· · · · :
· · ·- - - - - - - - - - - - - - - - X
·
· · · · ·Videotaped Deposition Of MONIQUE RUSSELL
· · · · · · · · · · ·Washington, D.C.
· · · · · · · · Monday, September 16, 2019
· · · · · · · · · · · · ·1:51 p.m.
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·
· · ·Job No. 88394
· · ·Pages:· 1 - 136
· · ·Reported by:· Dana C. Ryan, RPR, CRR, CSR (GA)
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·1· ·of the head, we might be able to see it on the
·2· ·video, but it might not be clear on the
·3· ·transcript.· And, so, if I ask you for an audible
·4· ·response or if I repeat your answer to make sure
·5· ·that I heard it correctly, that's why I'm doing
·6· ·it, so that the court reporter can take down the
·7· ·questions and answers as best she can.
·8· · · · · · · Is that understood?
·9· · · · A· · ·Yes.
10· · · · Q· · ·This is not an endurance contest.· If
11· ·you need to take a break at any point in time, use
12· ·the facilities, talk to your counsel, that's fine.
13· ·Just let me know and we'll -- we'll go ahead and
14· ·do that, okay?
15· · · · A· · ·Okay.
16· · · · Q· · ·There may be questions that I have to
17· ·ask you today that relate to subjects of a
18· ·personal nature, and I'm not trying to pry or do
19· ·anything other than get facts that I need to have
20· ·to understand the basis for the lawsuit, and
21· ·that's why I'm asking those questions, okay?
22· · · · A· · ·Okay.
23· · · · Q· · ·If at any time you don't understand my
24· ·question or didn't hear my question and want me to
25· ·repeat it or rephrase it, just let me know, and

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                              Monique Russell

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·1· ·either the court reporter will read it back to you
·2· ·or I'll try again to do a better job of asking my
·3· ·question, okay?
·4· · · · A· · ·Okay.
·5· · · · Q· · ·Are you on any medication today that
·6· ·would affect your ability to remember things or to
·7· ·testify truthfully?
·8· · · · A· · ·No.
·9· · · · Q· · ·Okay.· As you sit here today, can you
10· ·think of any reason why you couldn't testify
11· ·truthfully and answer questions to the best of
12· ·your ability?
13· · · · A· · ·No.
14· · · · Q· · ·Okay.· Do you have any questions for me
15· ·before we start?
16· · · · A· · ·Not at this time.
17· · · · Q· · ·Okay.· Can you give me your full name,
18· ·please?
19· · · · A· · ·Sure.· My name is Monique Melissa
20· ·Russell.
21· · · · Q· · ·Okay.· And your date of birth?
22· · · · A· · ·July 16th, 1977.
23· · · · Q· · ·And what's your current address?
24· · · · A· · ·In the States, it is 1906 Beeches Glory
25· ·Path, Annapolis, Maryland 21401, but I am

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·1· ·currently residing in Costa Rica on a two-year
·2· ·contract.
·3· · · · Q· · ·Okay.· And when did you start your time
·4· ·in Costa Rica?
·5· · · · A· · ·On August of last year.
·6· · · · Q· · ·So August of 2018?
·7· · · · A· · ·Yes.
·8· · · · Q· · ·And when are you scheduled to return
·9· ·completely from the two-year contract?· August of
10· ·'20?
11· · · · A· · ·I'm in the second year of my two-year
12· ·contract.
13· · · · Q· · ·And who is the contract with?
14· · · · A· · ·Country Day School.
15· · · · Q· · ·And what job are you doing in Costa
16· ·Rica for them?
17· · · · A· · ·I'm the curriculum coordinator for the
18· ·early childhood and elementary schools.
19· · · · Q· · ·And what is your responsibilities in
20· ·that job?
21· · · · A· · ·I work with the principals of both
22· ·schools on alignment of curriculum from
23· ·prekindergarten to fifth grade, and provide
24· ·training and professional development to all of
25· ·the teachers and work with them in planning

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·1· ·meetings.
·2· · · · Q· · ·And when you say the two schools, there
·3· ·are two separate schools in Costa Rica?
·4· · · · A· · ·No, they call them schools.· Country
·5· ·Day School is a campus that goes from early
·6· ·childhood to high school, and so there are four
·7· ·schools, the early childhood, elementary, middle
·8· ·and high school, and I work with the two lower
·9· ·schools.
10· · · · Q· · ·And are you in Costa Rica by yourself,
11· ·or is your family with you?
12· · · · A· · ·My family is with me.
13· · · · Q· · ·And who is that that's with you there?
14· · · · A· · ·My husband and my son.
15· · · · Q· · ·Okay.· And your husband's name is?
16· · · · A· · ·Christopher William Russell.
17· · · · Q· · ·Okay.· And how old is he?
18· · · · A· · ·He is -- how old am I? -- 46.
19· · · · Q· · ·And your son?
20· · · · A· · ·Is Luka.
21· · · · Q· · ·Okay.· And how old is Luka?
22· · · · A· · ·Three.
23· · · · Q· · ·Okay.· And was Luka born or May 25th,
24· ·2016?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·Okay.· Do you have any other children?
·2· · · · A· · ·No.
·3· · · · Q· · ·And how long have you been married?
·4· · · · A· · ·For five years in October.
·5· · · · Q· · ·Okay.· And you are here in Washington,
·6· ·D.C. today having returned from Costa Rica;
·7· ·correct?
·8· · · · A· · ·Yes, I flew from Costa Rica.
·9· · · · Q· · ·Okay.· And when did you arrive here in
10· ·Washington?
11· · · · A· · ·Last night.
12· · · · Q· · ·Okay.· And what, if anything, have you
13· ·done to prepare to come and testify here today in
14· ·this deposition?
15· · · · A· · ·I reviewed my interrogatories and the
16· ·paperwork of the course --
17· · · · Q· · ·Uh-huh.
18· · · · A· · ·-- of the case, but that's about it.
19· · · · Q· · ·Okay.· You -- you have filed, as I
20· ·understand it, two different lawsuits related to
21· ·your interactions with a Dr. Charles Akoda;
22· ·correct?
23· · · · A· · ·Yes.
24· · · · Q· · ·Did you review materials related to
25· ·both of those cases before coming in to testify

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·1· ·teacher?
·2· · · · A· · ·When I was a classroom teacher, I
·3· ·worked ten months.· I did not work summers.
·4· · · · Q· · ·Okay.· And what did you do during the
·5· ·summers?
·6· · · · A· · ·Some summers I would work; I would wait
·7· ·tables.
·8· · · · Q· · ·Uh-huh.
·9· · · · A· · ·Or -- I'm trying to think what other --
10· ·but jobs like that.· One summer I traveled.
11· · · · Q· · ·Okay.· Recuperated and got ready for
12· ·the next school year?
13· · · · A· · ·Yes.
14· · · · Q· · ·I don't blame you.
15· · · · · · · I want to talk a little bit about --
16· ·what do I want to talk about?· Strike that.
17· · · · · · · Let me ask you some background
18· ·questions about the lawsuit so I understand
19· ·what -- what you know and what you're familiar
20· ·with.
21· · · · · · · When did you first decide to retain
22· ·Mr. Zajdel as your -- as your counsel?
23· · · · A· · ·I don't know exactly what month, but it
24· ·was probably more than a month after I found out
25· ·about Akoda.

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·1· · · · Q· · ·And if I understand from your discovery
·2· ·responses in the case, you believe that you found
·3· ·out about the fact that Dr. Akoda, who I believe
·4· ·helped deliver your son, Luka, you found out he
·5· ·had pled guilty in June of 2017?
·6· · · · A· · ·I'm not sure if that's the time, but if
·7· ·that's what your record shows, probably.
·8· · · · Q· · ·We can go through, and we probably will
·9· ·go through, some of the questions.· I'm not trying
10· ·to -- to trick you on that, so . . .
11· · · · · · · Why don't you tell me just generally
12· ·how you came to learn about any issues with
13· ·Dr. Akoda?
14· · · · A· · ·Sure.· So I -- in the neighborhood
15· ·where I lived at the time, there was a parent
16· ·listserv where people would post recommendations
17· ·or ask for advice and things like that.· And
18· ·someone asked for a recommendation for an OB/GYN.
19· ·And I wanted to recommend my OB/GYN, Dr. Waldrop,
20· ·but I wanted to make sure that the person knew if
21· ·they went to Dr. Waldrop that there was a chance
22· ·that they would end up having their baby delivered
23· ·with Akoda, and I did not have a good experience
24· ·with him during the delivery, and so I wanted to
25· ·make sure the person was aware of that.

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·1· · · · · · · And I went to his Web site to confirm
·2· ·the spelling of his name, and he wasn't on their
·3· ·Web site anymore.· So I went and looked at my
·4· ·paperwork, confirmed the spelling, I looked him up
·5· ·to see like, maybe he moved somewhere else so that
·6· ·wouldn't be an issue for this person.· And I
·7· ·discovered a press release from the Department of
·8· ·Justice saying that he had been arrested for
·9· ·charges of fraud very shortly after he performed a
10· ·C-section on me.
11· · · · Q· · ·And the physician that you mentioned,
12· ·Dr. Waltrop?
13· · · · A· · ·Waldrop.
14· · · · Q· · ·Waldrop.· That was your OB/GYN?
15· · · · A· · ·Yes.
16· · · · Q· · ·How long -- when did you first start
17· ·going to see Dr. Waldrop?
18· · · · A· · ·I'm not sure.· Maybe three months into
19· ·my pregnancy.
20· · · · Q· · ·And how did you come to start visiting
21· ·Dr. Waldrop?
22· · · · A· · ·She was recommended by a woman that I
23· ·met on the hospital tour.
24· · · · Q· · ·Okay.· And what hospital was that?
25· · · · A· · ·P.G. County, Dimensions Hospital.

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·1· · · · Q· · ·And did you have a OB/GYN before
·2· ·Dr. Waldrop?
·3· · · · A· · ·I had a -- I saw a high-risk
·4· ·specialist, but I didn't have a regular OB/GYN.
·5· · · · Q· · ·Okay.· And what was the name of the
·6· ·high-risk specialist?
·7· · · · A· · ·I don't remember.· I didn't see that
·8· ·doctor for the most of my pregnancy.
·9· · · · · · · Dr. Footer, I think.
10· · · · Q· · ·F-O-O-T-E-R?
11· · · · A· · ·Yes.· But there are two Dr. Footers.
12· · · · Q· · ·Okay.
13· · · · A· · ·The older Dr. Footer.
14· · · · Q· · ·And that was -- and, again, I'm not
15· ·trying to be overly personal on this.· I'm just
16· ·trying to get the information.
17· · · · · · · Were you at high risk because of your
18· ·age or because of other conditions?
19· · · · A· · ·Yes, primarily because of my age, and I
20· ·had bleeding at the beginning of my pregnancy, and
21· ·so they wanted to monitor that.
22· · · · Q· · ·And, so, who was it that -- if anyone,
23· ·that directed you to Dr. Footer as the high-risk
24· ·specialist?
25· · · · A· · ·A coworker.

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·1· · · · Q· · ·Okay.· So this was someone at the D.C.
·2· ·Public Schools who said here's someone to -- to go
·3· ·see as a high-risk specialist?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Okay.· And I think you were saying that
·6· ·you didn't see Dr. Footer for all that long during
·7· ·your pregnancy, but within about the first three
·8· ·months, you had decided to go see Dr. Waldrop?
·9· · · · A· · ·Yes.
10· · · · Q· · ·And how did you come to see
11· ·Dr. Waldrop?· That was a recommendation on the
12· ·hospital tour?
13· · · · A· · ·Yes, from another -- another woman in
14· ·the tour was asking a lot of the same questions
15· ·that I would be asking, and so she seemed to want
16· ·the same things in her birth, and I asked her who
17· ·she -- who her doctor was, and she recommended
18· ·Dr. Waldrop.
19· · · · Q· · ·Okay.· I saw references in your
20· ·discovery responses to a Dr. Moore?
21· · · · A· · ·Yes.
22· · · · Q· · ·Who is Dr. Moore?
23· · · · A· · ·Dr. Moore owns the practice that
24· ·Dr. Waldrop works for and Akoda was working for.
25· · · · Q· · ·And -- and is that Moore and

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·1· ·Associates; is that --
·2· · · · A· · ·Yes.
·3· · · · Q· · ·-- how they're known as?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Okay.· And did you ever meet Dr. Moore
·6· ·during your pregnancy?
·7· · · · A· · ·I did.
·8· · · · Q· · ·Okay.
·9· · · · A· · ·I may have been seen by Dr. Moore once.
10· ·I met him for sure, like, just to see -- know who
11· ·he was in case he were to deliver my baby, and I
12· ·may have been seen by him once when Dr. Waldrop
13· ·wasn't available.
14· · · · Q· · ·Okay.· Do you know how many other
15· ·doctors besides Dr. Akoda and Dr. Waldrop and
16· ·Dr. Moore that were in the practice when you were
17· ·going there?
18· · · · A· · ·I believe there were only those three.
19· · · · Q· · ·Okay.· Did you ever hear of a
20· ·Dr. Chaudry?
21· · · · A· · ·I have heard of him.
22· · · · Q· · ·And how do you know of Dr. Chaudry?
23· · · · A· · ·I believe that Akoda was working for
24· ·him in a separate practice at the time.
25· · · · Q· · ·And how did you come to learn that?

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                                                                         Page 36
·1· · · · A· · ·From Dr. Moore.
·2· · · · Q· · ·When you -- when you decided to go with
·3· ·Dr. Waldrop of Dr. Moore's practice as your
·4· ·primary OG -- OB/GYN, what type of research did
·5· ·you do on Dr. Waldrop?
·6· · · · A· · ·I looked up her -- I looked up reviews.
·7· ·I looked her up on different sites where they give
·8· ·information about credentials and patient reviews.
·9· · · · Q· · ·Do you remember what any of those were
10· ·called?
11· · · · A· · ·I don't know all of them.· I know I
12· ·looked on Yelp because they give patient reviews,
13· ·and I think they're pretty honest, but I don't
14· ·know where I looked up her affiliations.
15· · · · Q· · ·Okay.· Do you know whether you went to
16· ·State of Maryland licensing or credential sites to
17· ·look up Dr. Waldrop?
18· · · · A· · ·No, I did not.
19· · · · Q· · ·Do you know whether you went to the
20· ·American Medical Association to look up
21· ·Dr. Waldrop?
22· · · · A· · ·I may have gone to the American Medical
23· ·Association.
24· · · · Q· · ·Okay.
25· · · · A· · ·Or the association for gynecologists.

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·1· · · · Q· · ·Okay.· And do you know whether there
·2· ·was information on Dr. Waldrop there?
·3· · · · A· · ·If there was, I didn't find anything
·4· ·negative.
·5· · · · Q· · ·Okay.· And when you went to meet with
·6· ·Dr. Waldrop -- I think you mentioned already you
·7· ·met with Dr. Moore at least once, perhaps, as
·8· ·well -- did you ever meet with Dr. Akoda?
·9· · · · A· · ·I did not before I was in labor.
10· · · · Q· · ·Okay.· But you understood he was a
11· ·member of the practice of Dr. Moore; correct?
12· · · · A· · ·Yes, but he did not see patients.
13· · · · Q· · ·How do you know he didn't see patients?
14· · · · A· · ·They told me that he did not see
15· ·patients; that he only assisted them at the
16· ·hospital.
17· · · · Q· · ·Okay.· Who told you that?
18· · · · A· · ·Dr. Moore.
19· · · · Q· · ·Okay.· And was that after you gave
20· ·birth to Luka or was that in an earlier meeting
21· ·while you were --
22· · · · A· · ·That was before.
23· · · · Q· · ·Okay.· Did you understand from
24· ·Dr. Waldrop that it was possible that she would
25· ·not be available to help you in labor and

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·1· ·delivery, including a C-section if that were
·2· ·necessary?
·3· · · · A· · ·Yes, I did.
·4· · · · Q· · ·How did you know that?
·5· · · · A· · ·Because Dr. Moore told me that there
·6· ·were three doctors and that if Dr. Waldrop was not
·7· ·available, that Dr. Moore or Akoda would deliver
·8· ·the baby.· And that if Waldrop was not available
·9· ·during the practice, then he could see me --
10· ·Dr. Moore could see me but Akoda would not see me
11· ·because he only worked at the hospital.
12· · · · Q· · ·And do you recall whether you filled
13· ·out a consent with Dr. Waldrop that acknowledged
14· ·that that could be the case and that you could be
15· ·seen by other doctors other than her if she was
16· ·not available?
17· · · · A· · ·I don't recall, but I'm sure that I
18· ·did.
19· · · · Q· · ·Okay.
20· · · · · · · MR. SHAFFER:· I'll mark this.· Well,
21· ·hold on.· We'll get to it.
22· · · · BY MR. SHAFFER:
23· · · · Q· · ·Did you have any issues with your
24· ·pregnancy?
25· · · · A· · ·I did have some complications.· As I

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·1· ·mentioned, I had some bleeding early on.· I also
·2· ·have a -- a uncommon but benign
·3· ·cardio-neurological disorder called vasovagal
·4· ·syncope that under everyday conditions is truly
·5· ·benign, but pregnancy exacerbated the condition.
·6· · · · Q· · ·Uh-huh.· And what are some of the risks
·7· ·or symptoms that go along with that condition?
·8· · · · A· · ·Getting dizzy and passing out.
·9· · · · Q· · ·Okay.
10· · · · A· · ·Which is benign unless you hurt
11· ·yourself on the way down.
12· · · · Q· · ·Right.· Or -- or a baby if you have a
13· ·baby?
14· · · · A· · ·Yes.
15· · · · Q· · ·And, so, as a result of that, were you
16· ·taking any extra precautions while you were
17· ·pregnant?· Were you anticipating the possibility
18· ·of having to have medication or anything like
19· ·that?
20· · · · A· · ·I was not anticipating the need for any
21· ·medication.· I was seeing a cardiologist in
22· ·conjunction with my gynecological visits.· And
23· ·after seven months, I was put on essentially kind
24· ·of house arrest where I could do everything.                        I
25· ·just couldn't be alone for much unless -- in case

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·1· ·I got dizzy.
·2· · · · Q· · ·Uh-huh.· And did you get -- I saw some
·3· ·reference in your -- your medical records to an
·4· ·accommodation from D.C. Public Schools where maybe
·5· ·you were able to work at home for a period of
·6· ·time.
·7· · · · · · · Was that part of this situation?
·8· · · · A· · ·Yes.
·9· · · · Q· · ·Okay.· And . . .
10· · · · A· · ·So and --
11· · · · Q· · ·I'm sorry.· Go ahead.
12· · · · A· · ·I could be alone.· I couldn't be, like,
13· ·out driving alone or, so I worked from home.· But
14· ·if I was going to go out and do things, then I
15· ·needed somebody to be with me.
16· · · · Q· · ·Okay.· Did -- did this condition and
17· ·having this condition and worrying about it cause
18· ·you stress during the time that you were pregnant?
19· · · · A· · ·No, not really because I've had the
20· ·condition for most of my life.
21· · · · Q· · ·Uh-huh.
22· · · · A· · ·It was -- once I realized that it
23· ·wouldn't impact my job, there wasn't much stress
24· ·related to it.
25· · · · Q· · ·Okay.· And -- and I think you said

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·1· ·earlier that -- that Luka was born in May of 2017;
·2· ·correct?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·And was he born by C-section?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·And was that a planned C-section?
·7· · · · A· · ·No, it was not.
·8· · · · Q· · ·What were the circumstances that led to
·9· ·him being born by C-section?
10· · · · A· · ·I had been in labor for, I believe, 32
11· ·hours at that point, and after a period of time,
12· ·they recommended that I take a drug called Pitocin
13· ·that they hoped would -- Akoda recommended it to
14· ·speed up contractions so that I would dilate.
15· · · · Q· · ·Uh-huh.
16· · · · A· · ·It did not have that effect.
17· · · · · · · And then after 30, 32 hours, he
18· ·recommended an epidural.· Immediately after he did
19· ·the epidural, he said that my baby was in distress
20· ·and that he needed an emergency C-section.
21· · · · Q· · ·Okay.· And was your original plan for
22· ·birth to go to the hospital and have someone from
23· ·Dr. Moore's practice deliver vaginally?
24· · · · A· · ·Yes, that was my original plan.
25· · · · Q· · ·Okay.· I saw a reference in your

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·1· ·records to a doula or maybe two doulas?
·2· · · · A· · ·Yes.
·3· · · · Q· · ·What role, if any, had you anticipated
·4· ·doulas playing in the birth?
·5· · · · A· · ·Doulas provide emotional support during
·6· ·the birth.· They also help to give the father a
·7· ·break and help the father or partner --
·8· · · · Q· · ·Uh-huh.
·9· · · · A· · ·-- to be a more supportive partner.
10· · · · Q· · ·And had you planned on having a doula
11· ·present for your birth?
12· · · · A· · ·I did.
13· · · · Q· · ·Okay.· And did that occur?
14· · · · A· · ·Yes.
15· · · · Q· · ·Okay.· And who was that?
16· · · · A· · ·Her name is Emily.· I forget her last
17· ·name right now.· But it was Doulas of Capitol
18· ·Hill.
19· · · · Q· · ·Uh-huh.
20· · · · A· · ·And in the contract, the doula is
21· ·present for the first 24 hours and then after that
22· ·they can switch to a backup.· I believe that Emily
23· ·was there for maybe 28 hours before she switched
24· ·to a backup which was her partner Nicole.
25· · · · Q· · ·And did the doula meet you at the

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·1· ·hospital or were you with the doula before you
·2· ·went to the hospital?
·3· · · · A· · ·I believe that she met me at the
·4· ·hospital.
·5· · · · Q· · ·And when you were describing the length
·6· ·of your labor -- and I'm sorry for that length of
·7· ·labor -- was that all at the hospital, or did it
·8· ·start at home and then continue while you were
·9· ·there?
10· · · · A· · ·It started at Dr. Waldrop's office --
11· · · · Q· · ·Okay.
12· · · · A· · ·-- during an examination.· My water
13· ·broke.
14· · · · Q· · ·And -- and my understanding, because I
15· ·have children, too, is that sometimes when your
16· ·water breaks, the rest of the body may not be
17· ·ready to give birth vaginally, but that once the
18· ·water breaks, there's a certain period of time
19· ·before a baby is supposed to be gotten out.
20· · · · · · · Is that -- is that a fair summary of
21· ·your understanding at the time?
22· · · · A· · ·That is my understanding.
23· · · · Q· · ·Okay.· And Pitocin, which you indicated
24· ·Dr. Akoda gave you, is one of the very common
25· ·medicines that they will give to try to move along

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·1· ·contractions when somebody's water breaks, isn't
·2· ·it?
·3· · · · A· · ·That is my understanding.
·4· · · · Q· · ·Okay.· And -- and -- and is it also
·5· ·your understanding that sometimes it works and
·6· ·sometimes it doesn't work as well?
·7· · · · A· · ·I did not have much -- much
·8· ·understanding of Pitocin.
·9· · · · Q· · ·Okay.· Did you receive any information
10· ·from your husband or either of the doulas that
11· ·were in the room with you that -- when Dr. Akoda
12· ·said a C-section was necessary because of the baby
13· ·being in distress, that that wasn't a good idea;
14· ·that you shouldn't go ahead with that?
15· · · · A· · ·My husband did not agree.
16· · · · Q· · ·Okay.· What did he want to do?
17· · · · A· · ·He had been watching the monitors, and
18· ·he saw that the stats had gone back up and thought
19· ·that, you know, it looked better; that it should
20· ·be waited out.
21· · · · Q· · ·Okay.· And what about the doulas?
22· · · · A· · ·The doulas do not advise on medical
23· ·decisions.
24· · · · Q· · ·Okay.
25· · · · A· · ·They're there for emotional support.

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·1· · · · Q· · ·And ultimately, the decision to have
·2· ·the C-section was yours then?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·And --
·5· · · · A· · ·I followed Akoda's advice because at
·6· ·the time I believed him to be a real doctor.
·7· · · · Q· · ·And when you say "a real doctor," you
·8· ·believe today that he is not a real doctor;
·9· ·correct?
10· · · · A· · ·He is a fake doctor.
11· · · · Q· · ·And what do you mean when you say he's
12· ·a fake doctor?
13· · · · A· · ·That he was not properly trained as a
14· ·doctor or credentialed as a doctor.
15· · · · Q· · ·What -- what is it about his training
16· ·that you believe either does or does not make him
17· ·a doctor?
18· · · · A· · ·That he used fake documents to get into
19· ·the country and was allowed to take medical boards
20· ·without proper credentials.
21· · · · Q· · ·As you sit here today, do you know
22· ·whether or not Dr. Akoda has gone to medical
23· ·school?
24· · · · A· · ·I do not know.· The federal trial
25· ·transcript that I read, the U.S. government said

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·1· ·that there was no evidence that he ever attended
·2· ·or graduated from medical school.
·3· · · · Q· · ·Okay.· Do you know whether or not
·4· ·Dr. Akoda's medical school in Nigeria ever
·5· ·verified the authenticity of his diploma to
·6· ·anyone?
·7· · · · A· · ·I do not --
·8· · · · · · · MR. ZAJDEL:· Objection.· Hold on for a
·9· ·second.
10· · · · · · · Objection:· The question assumes facts.
11· · · · · · · But you can answer.
12· · · · · · · THE WITNESS:· I don't know.
13· · · · BY MR. SHAFFER:
14· · · · Q· · ·Do you know whether Dr. Akoda's medical
15· ·school in Nigeria ever verified the authenticity
16· ·of Dr. Akoda's diploma to ECFMG?
17· · · · · · · MR. ZAJDEL:· Objection:· The question
18· ·assumes facts.· You can answer it.
19· · · · · · · THE WITNESS:· I'll decline.
20· · · · · · · Should I answer these?
21· · · · · · · MR. ZAJDEL:· Yeah, you can answer.
22· · · · · · · THE WITNESS:· I don't know.
23· · · · · · · MR. ZAJDEL:· Okay.
24· · · · BY MR. SHAFFER:
25· · · · Q· · ·Did -- I take it from your answers that

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·1· ·looked them up, but that was two years ago.
·2· · · · Q· · ·Okay.· Do you know whether or not --
·3· ·strike that.
·4· · · · · · · You mentioned that you understood that
·5· ·ECFMG -- I forget what the word is -- verifies
·6· ·documentation of foreign medical students or
·7· ·graduates; correct?
·8· · · · A· · ·Yes.
·9· · · · Q· · ·What documents is it your understanding
10· ·ECFMG is supposed to verify?
11· · · · A· · ·I don't know exactly, but I would
12· ·understand a diploma --
13· · · · Q· · ·Okay.
14· · · · A· · ·-- for one.· From my -- it's been a
15· ·while since I looked this up, but I remember that
16· ·there were schools that were specifically, like,
17· ·vetted or listed with the commission, and so they
18· ·would have to verify that those diplomas were real
19· ·or that the person graduated from that
20· ·institution.
21· · · · Q· · ·Anything else?
22· · · · A· · ·I don't know.
23· · · · Q· · ·Do you know where Dr. Waldrop went to
24· ·medical school?
25· · · · A· · ·I believe she did a residency at

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·1· ·Howard.
·2· · · · Q· · ·Okay.· And how about medical school
·3· ·before that?
·4· · · · A· · ·I don't remember.
·5· · · · Q· · ·Okay.· And do you know where Dr. Moore
·6· ·went to medical school?
·7· · · · A· · ·I don't remember.
·8· · · · Q· · ·Okay.· Do you know whether Dr. Moore is
·9· ·a -- went to a U.S. medical school or a foreign
10· ·medical school?
11· · · · A· · ·I do not know.
12· · · · Q· · ·Okay.· I'll finish up on -- on the
13· ·birth of Luka.· You had the C-section after a very
14· ·lengthy labor.
15· · · · · · · Was -- how was Luka's birth?· Was he
16· ·born okay?· Any health problems?
17· · · · A· · ·Luka has had no health problems.
18· · · · Q· · ·Great.
19· · · · · · · And did you have any symptoms or
20· ·physical conditions after the C-section?
21· · · · A· · ·No, I did not, nothing atypical.
22· · · · Q· · ·Right.
23· · · · · · · It's a major abdominal surgery, so
24· ·there was probably some recovery; right?
25· · · · A· · ·Yes.

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·1· · · · Q· · ·Okay.
·2· · · · A· · ·Having knowing what -- that Akoda is a
·3· ·fraud, I do question whether or not my C-section
·4· ·was necessary.
·5· · · · Q· · ·Okay.· And that was something that you
·6· ·started -- you thought of after you found the
·7· ·information sometime in 2017 related to
·8· ·Dr. Akoda's guilty plea?
·9· · · · A· · ·Well, before that because my husband at
10· ·the time did not believe that it was necessary,
11· ·and then once I found that information out, it
12· ·made me question it more.
13· · · · Q· · ·Okay.· Do you know what the -- did you
14· ·ever ask Dr. Moore or Dr. Waldrop whether they
15· ·would have had you do a C-section after 32 hours
16· ·of labor and a baby in distress?
17· · · · A· · ·I did not speak to Dr. Moore --
18· ·Dr. Waldrop once I found out Akoda was a fraud.
19· · · · Q· · ·Did you speak with Dr. Moore at any
20· ·point after you learned the information about
21· ·Dr. Akoda?
22· · · · A· · ·I did.
23· · · · Q· · ·Okay.· Tell me about that.
24· · · · A· · ·I went to him to find out, A, if he
25· ·knew; and why he had not notified patients that

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·1· ·Akoda was a fraud.
·2· · · · Q· · ·And at this point in time, you were not
·3· ·a patient in that practice anymore; correct?
·4· · · · A· · ·No, I was no longer --
·5· · · · Q· · ·Okay.· And --
·6· · · · A· · ·I would have still been, but I wasn't
·7· ·pregnant or needing women's care.
·8· · · · Q· · ·Right.
·9· · · · · · · So you -- why did you go to Dr. Moore
10· ·instead of Dr. Waldrop?
11· · · · A· · ·Because Dr. Moore is the head of the
12· ·practice.
13· · · · Q· · ·Okay.· And how did you make contact to
14· ·go meet with Dr. Moore?
15· · · · A· · ·I set an appointment.
16· · · · Q· · ·Okay.
17· · · · A· · ·I called the office.
18· · · · Q· · ·Okay.· Did you tell them what you
19· ·wanted to talk about?
20· · · · A· · ·No.· I might have.· I don't know.
21· · · · Q· · ·Okay.· And do you remember how long
22· ·after you had met with -- you had seen the
23· ·information of Dr. Akoda's guilty plea that you
24· ·went to talk to Dr. Moore?
25· · · · A· · ·I don't know, but it was fairly soon.

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·1· · · · Q· · ·Okay.· And what do you recall about
·2· ·that meeting with Dr. Moore?
·3· · · · A· · ·Dr. Moore seemed just as surprised, and
·4· ·he told me that he had also been working for
·5· ·another doctor's office, Dr. Chaudry.
·6· · · · Q· · ·Okay.· Did you ask Dr. Moore any
·7· ·questions or express any views to him?
·8· · · · A· · ·I did.· I asked him -- I was trying to
·9· ·make sense of what happened, and he told me they
10· ·raided his -- Akoda's office, I believe, at
11· ·Chaudry's office and his home, and they discovered
12· ·machines that make, like things to make diplomas
13· ·with and details like that.
14· · · · · · · I asked him why he didn't notify
15· ·patients.
16· · · · Q· · ·Uh-huh.
17· · · · A· · ·And he said that wasn't a requirement
18· ·or . . .
19· · · · Q· · ·How did you feel about that response?
20· · · · A· · ·It's upsetting because I think every
21· ·woman who has ever been a patient of Akoda should
22· ·know that he was not a real doctor.
23· · · · Q· · ·And the response you got from Dr. Moore
24· ·who, if I'm understanding it correctly, had hired
25· ·Dr. Akoda into his practice, was it wasn't his

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·1· ·place to do it or he didn't have to do it; it
·2· ·wasn't a requirement for him to do it?
·3· · · · A· · ·He felt -- and I don't remember exactly
·4· ·how he said it, but he felt that he had been duped
·5· ·as well.
·6· · · · Q· · ·Okay.· Did you ask him what type of
·7· ·investigation or vetting he had done of Dr. Akoda
·8· ·before hiring him?
·9· · · · A· · ·I did, and he said he had worked with
10· ·him in the residency program at Howard University.
11· · · · Q· · ·Did you ask him about doing any kind of
12· ·background check or investigation of him before
13· ·hiring him?
14· · · · A· · ·I did, and he said that he had worked
15· ·with him in the Howard residency program.
16· · · · Q· · ·Okay.· Did he tell you whether he had
17· ·done a background check or not?
18· · · · A· · ·He did not.
19· · · · Q· · ·He did not tell you or he did not do
20· ·one?
21· · · · A· · ·He said he did not do one.
22· · · · Q· · ·Okay.· What was your reaction to that
23· ·answer?
24· · · · A· · ·I was surprised, but he said that
25· ·because of all of the certifications and everyone

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·1· ·who had would have had to do it by contracts, that
·2· ·he didn't feel it was necessary --
·3· · · · Q· · ·Okay.
·4· · · · A· · ·-- because he had been -- he had gotten
·5· ·privileges at P.G. County; he had been approved
·6· ·from these other organizations.
·7· · · · Q· · ·Did he tell you whether or not he in
·8· ·the future would be considering doing background
·9· ·checks of people he hired to be doctors in his
10· ·practice?
11· · · · A· · ·Yes, he did.
12· · · · Q· · ·What did he say?
13· · · · A· · ·He said he would consider doing that.
14· · · · Q· · ·And what was your reaction to that?
15· · · · A· · ·I thought that that would be a good
16· ·idea.
17· · · · Q· · ·In your position at D.C. Public
18· ·Schools, did they have to do a background check on
19· ·you before hiring you?
20· · · · A· · ·Yes, they do.
21· · · · Q· · ·And they're your employer; right?
22· · · · A· · ·Yes.
23· · · · · · · MR. SHAFFER:· Let's take a short --
24· ·short five-minute break --
25· · · · · · · THE WITNESS:· Okay.

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                                                                         Page 59
·1· · · · · · · MR. SHAFFER:· -- and then we'll pick
·2· ·back up.
·3· · · · · · · THE VIDEOGRAPHER:· Off the record at
·4· ·2:50.
·5· · · · · · · (Recess -- 2:50 p.m.)
·6· · · · · · · (After recess -- 3:15 p.m.)
·7· · · · · · · THE VIDEOGRAPHER:· We are back on the
·8· ·record at 3:15.
·9· · · · BY MR. SHAFFER:
10· · · · Q· · ·Ms. Russell, we're back on the record
11· ·after a short break.· You understand you're still
12· ·under oath?
13· · · · A· · ·Yes.
14· · · · Q· · ·Okay.· I'm going to talk a little bit
15· ·about some of the doctors that you've seen over
16· ·your adult life and I'll just make sure I
17· ·understand some of the chronology on that.
18· · · · · · · Do you currently have a primary care
19· ·doctor that you see?
20· · · · A· · ·Not really.
21· · · · Q· · ·Do you have a doctor that you've seen
22· ·from time to time for general issues, colds or
23· ·antibiotics or anything like that?
24· · · · A· · ·I did, but not since discovering about
25· ·Akoda.· I have not found a primary care doctor.

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                                                                         Page 60
·1· · · · Q· · ·So as of today, you don't have a
·2· ·primary care doctor?
·3· · · · A· · ·No.
·4· · · · Q· · ·Have you seen -- have you seen any
·5· ·doctor of any kind since June of 2017?
·6· · · · A· · ·Yes.
·7· · · · Q· · ·Who is that?
·8· · · · A· · ·I have seen -- I don't know the
·9· ·doctor's name.· It was at an urgent care facility
10· ·in Costa Rica called (speaking Spanish).
11· · · · Q· · ·Okay.· And why did you go there?
12· · · · A· · ·I -- Dr. Waldrop, after my son was
13· ·born --
14· · · · Q· · ·Uh-huh.
15· · · · A· · ·-- placed an IUD --
16· · · · Q· · ·Uh-huh.
17· · · · A· · ·-- and I was having complications from
18· ·the IUD.
19· · · · Q· · ·Okay.· And, again, just so I get the
20· ·timeline correct, Luka was born in May of '16.
21· · · · A· · ·Yes.
22· · · · Q· · ·When did you have the IUD implanted?
23· · · · A· · ·Probably six months after.
24· · · · Q· · ·Okay.· So end of 2016?
25· · · · A· · ·That's pretty -- yes.

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                                                                         Page 61
·1· · · · Q· · ·Beginning of 2017, something like that?
·2· · · · A· · ·Something around there.
·3· · · · Q· · ·Okay.· And when did your contract
·4· ·with -- when did you go to Costa Rica?
·5· · · · A· · ·In the last week of July of 2018.
·6· · · · Q· · ·And -- and since July of 2018, when
·7· ·have you come back to the States?
·8· · · · A· · ·I came back for the December break last
·9· ·year.
10· · · · Q· · ·So that would have been December of
11· ·'18?
12· · · · A· · ·Yes.
13· · · · · · · And then I came back this summer in
14· ·July -- essentially the month of July.
15· · · · Q· · ·Okay.· And in neither December of
16· ·'18 or summer of '19, you didn't see any doctors
17· ·here in the U.S.; correct?
18· · · · A· · ·No.
19· · · · Q· · ·Okay.· And before going to Costa Rica
20· ·in around July of '18, had you seen any doctors
21· ·between when you got the IUD put in and you went
22· ·to Costa Rica?
23· · · · A· · ·I -- I'm not sure when I last saw
24· ·Dr. Major.· Dr. Major was my primary care
25· ·physician for about ten years.

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·1· ·I go for urgent care.
·2· · · · Q· · ·Okay.· And, excuse me, what -- what are
·3· ·you doing physical therapy for?
·4· · · · A· · ·My back.
·5· · · · Q· · ·Okay.· And is that -- how long have you
·6· ·had that condition?
·7· · · · A· · ·Probably since my son was about a year
·8· ·old, so about 2017.
·9· · · · Q· · ·And has it -- has it been diagnosed
10· ·as --
11· · · · A· · ·Stress related.
12· · · · Q· · ·Okay.· And when did the stress start or
13· ·the stress that -- that you've been told relates
14· ·to the back injury?
15· · · · A· · ·The pain started after my son was about
16· ·a year, which would have been June of 2017.
17· · · · Q· · ·And had you ever suffered from stress
18· ·or anxiety prior to June of 2017?
19· · · · A· · ·Yes.
20· · · · Q· · ·Okay.· And what -- what can you tell me
21· ·about that?
22· · · · A· · ·When I lost my sister in 2007, I had
23· ·stress-related back pain.
24· · · · Q· · ·Okay.· And that was -- were you treated
25· ·for depression or anxiety or stress in -- in 2007?

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·1· · · · A· · ·I was treated for depression, briefly.
·2· · · · Q· · ·Okay.
·3· · · · A· · ·And for, maybe two weeks, given
·4· ·medication for my back and then taught breathing
·5· ·exercises to alleviate the pain when stressful
·6· ·situations occurred.
·7· · · · Q· · ·Okay.· Were you ever provided an
·8· ·antidepressant or anything like that?
·9· · · · A· · ·I was shortly after my sister's death.
10· · · · Q· · ·Okay.· And do you remember which one?
11· · · · A· · ·I think it was Lexapro.
12· · · · Q· · ·Okay.· And for how long did you take
13· ·that?
14· · · · A· · ·Several months, maybe -- no more than
15· ·six months.
16· · · · Q· · ·Okay.· Are you on any medications
17· ·today?
18· · · · A· · ·No.
19· · · · Q· · ·Okay.
20· · · · A· · ·Just vitamins.
21· · · · Q· · ·In terms of other types of treatment,
22· ·have you ever in your adult life seen a
23· ·psychologist or a psychiatrist for treatment?
24· · · · A· · ·No.
25· · · · Q· · ·Have you ever gone into therapy at any

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·1· ·point in your adult life?
·2· · · · A· · ·No.
·3· · · · Q· · ·And, so, you're not currently being
·4· ·treated by a psychiatrist or psychologist?
·5· · · · A· · ·No, I'm not.
·6· · · · Q· · ·Other than Dr. Major and Dr. Moore's
·7· ·practice, and the doctor at urgent care and the
·8· ·doctor that you saw in Costa Ricia -- Rica
·9· ·regarding the IUD and your physical therapist,
10· ·what other doctors have you seen in your adult
11· ·life?
12· · · · A· · ·I have a cardiologist who helped
13· ·diagnose my condition.
14· · · · Q· · ·And that's the --
15· · · · A· · ·Dr. Howell, Shawn Howell.
16· · · · Q· · ·And that's the condition you were
17· ·talking about earlier?
18· · · · A· · ·Yes, vasovagal syncope.
19· · · · Q· · ·You said it better than me.
20· · · · A· · ·And I did see her periodically
21· ·throughout my pregnancy for monitoring.
22· · · · Q· · ·And this is Shawn Howell?
23· · · · A· · ·Yes.
24· · · · Q· · ·And where is she -- where does she
25· ·practice?

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·1· · · · A· · ·I believe on K Street.
·2· · · · Q· · ·A couple of blocks from us here?
·3· · · · A· · ·Yes, very close by.
·4· · · · Q· · ·Does she have hospital privileges?
·5· · · · A· · ·I don't know.
·6· · · · Q· · ·Okay.· Do you know where she went to
·7· ·medical school?
·8· · · · A· · ·I don't remember.· It might have been
·9· ·Howard.
10· · · · Q· · ·Okay.· And do you know if she's board
11· ·certified?
12· · · · A· · ·I believe she is.
13· · · · Q· · ·Okay.· Do you know by what board?
14· · · · A· · ·I do not.
15· · · · Q· · ·Okay.· Any other doctors?
16· · · · A· · ·In my adult life, certainly.· I don't
17· ·remember any more than that.· I know there are --
18· ·I know it -- before Dr. Major I had a different
19· ·primary care physician and a different OB/GYN.                          I
20· ·don't remember their names.
21· · · · Q· · ·Okay.· And do you know how you went to
22· ·start seeing Dr. Howell?
23· · · · A· · ·I was recommended by Dr. Major.
24· · · · Q· · ·Okay.· And I apologize if I asked you
25· ·this already, but I can't remember the answer.

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·1· · · · · · · And I don't feel equipped to do
·2· ·background checks on doctors myself.
·3· · · · · · · I feel violated, and it makes it very
·4· ·difficult to -- I'm sorry.· It makes it very
·5· ·difficult to see an OB/GYN.
·6· · · · Q· · ·And I take it that when you found out
·7· ·about Dr. Akoda's guilty plea regarding the use of
·8· ·Social Security numbers, that . . .
·9· · · · · · · MR. SHAFFER:· There's some tissues back
10· ·there.
11· · · · BY MR. SHAFFER:
12· · · · Q· · ·Here you go.
13· · · · · · · I take it when you found out about the
14· ·guilty plea, you -- you were angry with Dr. Moore
15· ·and Dr. Waldrop who you had seen in connection
16· ·with that pregnancy; right?
17· · · · A· · ·No.· I was angry in general, but I
18· ·don't necessarily hold blame or anger towards
19· ·Dr. Waldrop and Dr. Moore because they relied on
20· ·sources they should have been able to trust.· For
21· ·example, I was a teacher.· I had to have
22· ·background -- extensive background checks done in
23· ·order to hold a job within DCPS.· So when I rented
24· ·my basement apartment, and as a mother I wanted to
25· ·find somebody safe to live in the home with us,

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·1· ·and a teacher applied, I didn't feel like I needed
·2· ·to run the full background check on them because I
·3· ·knew that they had gone through that background
·4· ·check with the public school system.· So, instead,
·5· ·I could do -- rely on other sources because I
·6· ·trusted the school system's background check.
·7· · · · · · · So I didn't hold anger.· I was very
·8· ·surprised that Dr. Moore hadn't done a background
·9· ·check, but I understood why he relied on
10· ·institutions like the commission to certify
11· ·foreign medical graduates instead of doing it all
12· ·over again himself.
13· · · · Q· · ·And your view there is that your
14· ·understanding of ECFMG as a governmental entity,
15· ·that it would do background checks on people like
16· ·Dr. Akoda --
17· · · · A· · ·Yes.
18· · · · Q· · ·-- correct?
19· · · · · · · And I --
20· · · · A· · ·Yes --
21· · · · Q· · ·I'm sorry.· Go ahead.
22· · · · A· · ·At least to verify that they had
23· ·attended and graduated school.
24· · · · Q· · ·And do you know whether ECFMG tried to
25· ·do that?

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·1· · · · A· · ·I do not know.
·2· · · · Q· · ·Okay.
·3· · · · A· · ·But if they did, they seemed to have
·4· ·failed.
·5· · · · Q· · ·Do you know whether ECFMG ever
·6· ·identified that Dr. Akoda had used multiple names
·7· ·to try to come and take examinations with ECFMG?
·8· · · · A· · ·I do not know.
·9· · · · Q· · ·Do you know whether ECFMG ever helped
10· ·the Department of Justice build a case and
11· ·prosecute a case against Dr. Akoda?
12· · · · A· · ·I do not know.
13· · · · Q· · ·Okay.· And do you know whether or not
14· ·ECFMG ever received verification from Dr. Akoda's
15· ·Nigerian medical school as to whether or not his
16· ·diploma was authentic?
17· · · · · · · MR. ZAJDEL:· Objection.· That assumes
18· ·facts.
19· · · · · · · You can answer.
20· · · · · · · THE WITNESS:· I do not know.
21· · · · · · · MR. SHAFFER:
22· · · · Q· · ·You filed a suit against Dimensions
23· ·Health Care in Maryland; correct?
24· · · · A· · ·Yes.
25· · · · Q· · ·When did you do that?

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·1· ·that you believe it started about a year after
·2· ·your -- his pregnancy.· That's not reflected in
·3· ·this report; right?
·4· · · · A· · ·No.
·5· · · · · · · MR. ZAJDEL:· Objection.· I think that
·6· ·misstates facts.· I just think you misspoke.
·7· · · · · · · THE WITNESS:· Can you restate?
·8· · · · BY MR. SHAFFER:
·9· · · · Q· · ·I'll ask you the question again just to
10· ·make sure we're clear.
11· · · · A· · ·Thank you.
12· · · · Q· · ·You were -- you were saying that -- I
13· ·think you testified here earlier today that the
14· ·back pain that you were experiencing you think
15· ·started about a year after Luka was born; right?
16· · · · A· · ·Yes.
17· · · · Q· · ·Okay.· And this report doesn't
18· ·reference --
19· · · · A· · ·It does --
20· · · · Q· · ·-- Monique has had back pain for the
21· ·past year; it just says muscle spasm since after
22· ·pregnancy.· It's not specific as to time.
23· · · · A· · ·Correct.
24· · · · Q· · ·Okay.· It also makes reference to right
25· ·elbow pain.· Do you know what that was?

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·1· · · · A· · ·It was a pain in my right elbow.                         I
·2· ·don't know why.
·3· · · · Q· · ·Okay.· Do you recall being treated for
·4· ·it?
·5· · · · A· · ·The pain in my elbow?
·6· · · · Q· · ·Uh-huh.
·7· · · · A· · ·Yes.
·8· · · · Q· · ·Okay.
·9· · · · A· · ·Dr. Major recommended that I get a
10· ·brace -- a compression brace.
11· · · · Q· · ·Uh-huh.
12· · · · A· · ·That helped.
13· · · · Q· · ·Okay.· Looking again at the report
14· ·again here from June of 2018, under the ROS
15· ·section, this is on page 670.
16· · · · · · · It references that you were reporting
17· ·arthralgias and joint pain.
18· · · · A· · ·It was a shooting pain up my legs.
19· · · · Q· · ·Okay.· And so that was accurate in
20· ·terms of what was reflected there; correct?
21· · · · A· · ·Yes.
22· · · · Q· · ·Okay.· And then later down in the
23· ·report there, it states that she -- referring to
24· ·you -- reports no depression, no sleep
25· ·disturbances, feeling safe in a relationship, no

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·1· ·alcohol abuse, no anxiety, no hallucinations, and
·2· ·no suicidal thoughts; correct?
·3· · · · A· · ·Yes.
·4· · · · Q· · ·And that's what you would have reported
·5· ·at that time to Dr. Major?
·6· · · · A· · ·If he asked, then I would.· But when I
·7· ·go see a doctor, they don't ask you all of those
·8· ·questions every time.
·9· · · · Q· · ·Okay.· If we turn to page 672 are the
10· ·last three, this is -- it looks like a visit to
11· ·see Dr. Major again in July of 2018?
12· · · · A· · ·Yes.
13· · · · Q· · ·Do you see that?
14· · · · · · · Okay.· So that was an additional time
15· ·you went to see Dr. Major, after the June visit?
16· · · · A· · ·Yes.· I'm looking to see why.
17· · · · Q· · ·Under the chief complaint box on 672,
18· ·it says, Patient was seen in office today for a
19· ·physical exam only.
20· · · · A· · ·That may have been a requirement for my
21· ·new job.
22· · · · Q· · ·Okay.· You had to get a physical exam
23· ·before you went to --
24· · · · A· · ·Costa Rica.
25· · · · Q· · ·-- Costa Rica?

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·1· · · · · · · Okay.· And you would have gone to see
·2· ·Dr. --
·3· · · · A· · ·Major.
·4· · · · Q· · ·-- Major for that?
·5· · · · A· · ·Yes.
·6· · · · Q· · ·And, again, looking at the report of
·7· ·that visit, if we turn to the page 674, there's
·8· ·the ROS section.· Again it reports, No fever, no
·9· ·night sweats, no significant weight gain, no
10· ·significant weight loss, no exercise intolerance,
11· ·a bunch of other negative responses.
12· · · · · · · And then it again states, She reports
13· ·no depression, no sleep disturbances, feeling safe
14· ·in a relationship, no alcohol abuse, no anxiety,
15· ·no hallucinations and no suithidal -- suicidal
16· ·thoughts.
17· · · · · · · Correct?
18· · · · A· · ·It also says that I report no GERD, no
19· ·vomiting blood, no hematuria, which are not things
20· ·that I would have been asked.
21· · · · Q· · ·Okay.· So you don't believe you were
22· ·asked about these things?
23· · · · A· · ·I do not believe I was asked about
24· ·these each visit.
25· · · · Q· · ·Okay.· You were asked about them at

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·1· ·University Hospital?
·2· · · · A· · ·I did not.
·3· · · · Q· · ·How about --
·4· · · · A· · ·I saw that he was board certified.
·5· · · · Q· · ·How about through his licensure to
·6· ·practice medicine in the state of Maryland?
·7· · · · A· · ·I did look to see that he was on the
·8· ·Web site for licensed doctors.
·9· · · · Q· · ·How about whether he was licensed to
10· ·practice medicine in the Commonwealth of Virginia?
11· · · · A· · ·No.
12· · · · Q· · ·And how about if he was board certified
13· ·by the American College of Obstetricians and
14· ·Gynecologists?
15· · · · A· · ·I saw it, but I did not go to the
16· ·board.
17· · · · Q· · ·Okay.· Request number 12, turning back
18· ·to page 791, says, You claim that you suffer from
19· ·post-traumatic stress disorder as result of
20· ·allegations against defendants.
21· · · · · · · And you denied that; correct?
22· · · · A· · ·Yes.
23· · · · Q· · ·You're not claiming post-traumatic
24· ·stress disorder?
25· · · · A· · ·No.

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Case:2:18-cv-05629-JDW
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                              Monique Russell

                                                                         Page 122
·1· · · · Q· · ·Request number 18 at the bottom of 792
·2· ·says, You do not suffer depression as a result of
·3· ·the events giving rise to your claim.
·4· · · · · · · And you admit that; correct?
·5· · · · A· · ·Correct.
·6· · · · Q· · ·You're not claiming that you suffer
·7· ·from depression as a result of the events
·8· ·involving Dr. Akoda?
·9· · · · A· · ·No.
10· · · · Q· · ·And request number 24 -- I'm jumping
11· ·ahead a little bit to try to move this along, 794,
12· ·question number 24, says, You have never been
13· ·formally diagnosed with depression.
14· · · · · · · And you admit that; correct?
15· · · · A· · ·Correct.· I did see a doctor after --
16· ·my family doctor after my sister died who
17· ·prescribed antidepressants --
18· · · · Q· · ·Uh-huh.
19· · · · A· · ·-- but I was not formally diagnosed.
20· · · · Q· · ·And since June of 2017, no diagnosis or
21· ·treatment for depression of any kind?
22· · · · A· · ·No.
23· · · · Q· · ·On page 795, request 31 says, You claim
24· ·that you suffer from anxiety as a result of your
25· ·allegations against the defendants.

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                              Monique Russell

                                                                         Page 123
·1· · · · A· · ·Yes.
·2· · · · Q· · ·And you admit that, so you do say you
·3· ·have anxiety from these issues; correct?
·4· · · · A· · ·Yes.
·5· · · · Q· · ·Okay.· And 32 says, You claim that
·6· ·you're alleged anxiety has affected your
·7· ·relationship with your family.
·8· · · · · · · And you deny that --
·9· · · · A· · ·Yes.
10· · · · Q· · ·-- correct?
11· · · · · · · So you have anxiety, but it's not
12· ·affected your relationship with your family?
13· · · · A· · ·Correct.
14· · · · Q· · ·Okay.· And 37 on the next page says,
15· ·You have never been formally diagnosed with
16· ·anxiety.
17· · · · · · · That's correct?
18· · · · A· · ·Correct.
19· · · · Q· · ·And 39 says, You claim that you suffer
20· ·from physical pain as a result of your allegations
21· ·against the defendants.
22· · · · · · · And that is denied?
23· · · · A· · ·That is correct.
24· · · · Q· · ·Okay.
25· · · · A· · ·That's what I wrote.

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                              Monique Russell

                                                                         Page 124
·1· · · · Q· · ·Is that true today?
·2· · · · A· · ·Since you brought up the timeline of
·3· ·when my back pain started, I'm not sure that it's
·4· ·true.
·5· · · · Q· · ·Okay.· And this is your reference to
·6· ·your testimony that about a year after your son
·7· ·was born, you started having back pain?
·8· · · · A· · ·Yes.
·9· · · · Q· · ·And request number 40 says, You have
10· ·never been diagnosed with a physical injury
11· ·resulting from your allegations against the
12· ·defendants.
13· · · · · · · And that's admitted; correct?
14· · · · A· · ·Correct.
15· · · · Q· · ·Is that true today?
16· · · · A· · ·Again, I don't know if my back pain is
17· ·related to that because of the timeline.
18· · · · Q· · ·Okay.· And no doctor has told you that
19· ·it is related to that --
20· · · · A· · ·No.
21· · · · Q· · ·-- correct?
22· · · · A· · ·But I've not talked to any doctor I've
23· ·seen for my back pain about Akoda.
24· · · · Q· · ·Other than Dr. Major?
25· · · · A· · ·Yes, but Dr. Major didn't treat my back

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                Exhibit 73




                                                                  JA3869
Patient Name: RUSSELL, Case: 22-1998   Document:Document
                       Case 2:18-cv-05629-JDW
                       MONIQUE MELISSA           22-5 Page:  1980
                                                         86-37  Filed                                     Date Filed:Page
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                                                                                                                           2 of 7                               MRN: 11096170
Date of Birth:                                                                                                                                                  FIN: 308005529

                                                                             * Auth (Verified) *




               DO NOT SIGN THIS FORM UNTIL A PHYSICIAN HAS EXPLAINED IT TO YOU, YOU HAVE READ IT AND FULLY UNDERSTAND ITS
               CONTENTS.

               Patient.              \CbtAL      M      V-_,,..    S-e.A,\              Date       5 /2LA 17_0k to                 Time

               The following has been explained to me in general terms and I hereby authorize the performance of a CESAREAN SECTION
               (PRIMARY OR REPEAT) and I understand the following. OM ,               i'li; q-lic._, Caile.„, d - et- 7/vedteali
                                                                          11                 ere-44 6r -eine/Neel           .
               PROCEDURE                      Delivery of a baby through a cut maw in the mother's belly and uterus
               PURPOSE                        Delivery of your infant through an incision in your abdominal wall
               BENEFIT:                       Planned delivery date, reduced risk of fetal birth trauma and fetal hypoxia

               RISKS (This is not an exhaustive list meaning that there can be other unlisted risks):
               • Maternal: Urgent hysterectomy, thromboembolic events (blood clots), DIC (disseminated intravascular coagulation),
                  anesthetic complications, major puerperal infection, amniotic fluid embolism, uterine artery pseudoaneurysm, wound infection,
                  hematomas, wound disruption, bladder puncture, urethral and bowel laceration, persistent pain at the incision site, cesarean
                  scar endometriosis, cesarean scar ectopic pregnancy, placental accretia, dense intra-abdominal adhesions, increased hospital
                  stays, lengthy physical recovery, increased risk of readmission, chronic pelvic pain, increased risk of complications in future
                  deliveries, future uterine ruptures, increased risk of future C-sections, death and cardiac arrest
               • Infant: The infant can expenence, among other things, surgical cut or injury to infant's scalp or presenting part, increased risk
                  of infant death, respiratory distress, pulmonary hypertension, excess risk of not breast feeding, and surgical lacerations

               POTENTIAL PROCEDURES AND THEIR RISKS: We may have to perform one or more of the following procedures in order to
               assist you with your delivery process

               • Forceps: An instrument used to grasp and extract the fetal head to facilitate delivery Risk for mom: Discomfort Risk for
                 baby: Skull fracture, intracranial hemorrhage, facial nerve palsy, and brain injury.
               • Ventouse (vacuum): A suction cup that attaches to the head of the baby to assist in delivery of fetus Risk for mom: vaginal
                 trauma and tears Risk for baby. scalp lacerations, cephalohematomas, subgaleal hematomas, intracranial hemorrhage,
                 facial nerve palsies, hyperbilirubinemia, bruising, and retinal hemorrhage
               • Manual Placenta Removal: placenta is separated from the uterine wall and removed by hand Risk: post partum
                 hemorrhage, retained placental fragments, and pain
               • Cardiotocography: the monitoring of the fetal heart rate and uterine contractions during labor and delivery Risk for baby No risks are
                 associated with external monitoring Fetal scalp infection with internal monitoring
               • Pelvimetry: measurement of the capacity and diameter of the pelvis Risk: discomfort and pain
               • Pitocin administration: delivery of medication post delivery to increase uterine activity Risk for mom: over stimulation of
                 the uterus, uterine rupture Failure to administer could result in increased risk of bleeding and its associated outcomes
                 including loss of uterus and death. Yes                   No
               • Transfusion of bloodlblood products: is a procedure to replace blood loss Risk: carries the risk of exposure to HIV,
                 hepatitis and other infectious diseases and allergic reactions




                                                                                                                             PATIENT LABEL
                            CESAREAN SECTION (PRIMARY OR REPEAT)
                                        (Page 1 of 3)                                                                            MR 11096170
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                                          DIMENSIONS HEALTHCARE SYSTEM
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Facility: Prince George's                                                                                                                            JA3870        Page 3 of 41-
Patient Name: RUSSELL, Case: 22-1998   Document:Document
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                 ALTERNATIVE PROCEDURES, TREATMENTS AND THEIR RISKS: The only alternative to a C-Section is a vaginal delivery.

                 • Maternal. Paralysis or partial paralysis, paraplegia or quadriplegia, brain damage, uterine inversion, utenne rupture, need for
                   an emergency C-section, placenta previa, placenta abruption, anal sphincter injury, bowel injury, bladder injury or injury to other
                   abdominal structures, possible fistula formation (opening between bowel, bladder, ureter, vagina and/or skin), perinea! or
                   genital tears and scars, possible formation of clots; possible emboli ( clots or other matenal that may travel to other parts of the
                   body) hysterectomy (removal of uterus, fallopian tubes and/or ovaries) persistent penneal pain, pre-eclampsia, amniotic emboli,
                   sexual dysfunction, anal incontinence, unnary urge incontinence, urinary stress incontinence, DIC (disseminated intravascular
                   coagulation) and pelvic floor prolapse, cardiac arrest, maternal death and fetal death
                 • Infant Can experience oxygen deficit from a prolapsed cord, brachial plexus injury, nuchal cord, scalp infection from fetal scalp
                   monitoring, facial nerve injury, precipitous delivery, subdural hematoma, sub-arachnoid hematoma, cerebral palsy, meconium
                   aspiration, and newbom neurological symptoms and can be stillborn

                 THE INFORMATION GIVEN ABOVE IS NOT AN EXHAUSTIVE LIST MEANING THAT THERE CAN BE OTHER UNLISTED
                 RISKS WE CANNOT PREDICT WHETHER OR NOT ANY OF THE ABOVE MAY BE NEEDED OR MAY OCCUR

                 I understand that the physician, medical personnel and other assistants will rely on statements about the patient, the patient's
                 medical history, and other information in determining whether to perform the procedure or the course of treatment for the patient's
                 condition and in recommending the above procedure

                 I understand the practice of medicine is not an exact science and that NO GUARANTEES OR ASSURANCES HAVE BEEN MADE
                 TO ME concerning the results of this procedure

                 I understand that during 'the course of the procedure described above it may be necessary or appropriate to perform additional
                 procedures which are unforeseen or not know to be needed at the time this consent is given. I consent to and authorize the
                 persons described herein to make the decisions concerning such procedures l also consent to and authonze the performance of
                 such additional procedures as they deem necessary or appropriate.

                 I also consent to diagnostic studies, tests, anesthesia, x-ray examinations and other treatment or courses of treatment relating to
                 the diagnosis or procedures described herein

                 BY SIGNING THIS FORM, I ACKNOWLEDGE THAT I HAVE READ OR HAD THIS FORM READ AND/OR EXPLAINED TO ME,
                 THAT I FULLY UNDERSTAND ITS CONTENTS, AND THAT I HAVE BEEN GIVEN AMPLE OPPORTUNITY TO ASK
                 QUESTIONS AND THAT ANY QUESTIONS HAVE BEEN ANSWERED SATISFACTORILY. ALL BLANKS OR STATEMENTS
                 REQUIRING COMPLETION WERE FILLED IN AND ALL STATEMENTS I DO NOT APPROVE OF WERE STRICKEN BEFORE I
                 SIGNED THIS FORM

                 I voluntanly consent to allow Dr atidtcf 6"r kial,re--           or any physician designated or selected by him or her and all
                 medical personnel under the direct supervision and control of such physician and all other personnel who may otherwise be
                 involved in performing such procedures to perform the procedures descnbed or otherwise referred to herein Unless rescinded,
                 this consentIII remain i' ffect til delivery.


                                            ness                                   Signed                               Patient



                                                                                                                       PATIENT LABEL
                            CESAREAN SECTION (PRIMARY OR REPEAT)
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                                        (Page 2 of 3)                                                  IIUSN      ON NU   MR , 1 1
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                4-487 (09/13)




Facility: Prince George's                                                                                                                 JA3871          Page 4 of 4r
Patient Name: RUSSELL, Case: 22-1998   Document:Document
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Date of Birth:                                                                                                                                                                                FIN: 308005529

                                                                                            * Auth (Verified) *




                                                                   NOTE:      BOTH sides of this form MUST be completed to be VALID.

              Patient                                                                                        Date                                            Time

                     I hereby authonze the performance of the following operation(s)/procedure(s)

                       under the direction of Dr (s)
              2      I have been informed that qualified individuals such as physicians' assistants, surgical assistants and licensed physicians may perform significant surgical tasks to
                     include but not limited to opening and closing, harvesting grafts, dissecting tissue, removing tissue, implanting devices, altering tissues under the direction and
                     supervision of the pnmary physician listed above
              3      I have been informed that a vendor representative may be present during the procedure to observe my procedure and/or assist with product selection and placement
              4      I have been advised of the nature of my condition, the nature and purpose of the proposed operative procedure, and the alternative to this procedure, the risks benefits,
                     and side effects attendant to both the proposed procedure and the alternatives, the probability of success of both the proposed procedure and the alternatives, and the
                     prognosis of the proposed procedure if the alternatives are not performed
              5      I am also aware that the practice of medicine and surgery is not an exact science and that there are risks and complications associated with the operative procedure The nsks
                     associated with the performance of the proposed and any surgical procedure include but are not limited to severe blood loss, infection and in rare instances cardiac arrest
              6      I have also been informed of potential problems that might occur during recuperation
              7      I have been informed that circumstances may arise during the course of treatment that would necessitate the performance of operations and procedures which are different
                     from or in addition to those now contemplated
              8      This procedure may necessitate the use of blood/blood products which when anticipated will require separate specific informed consent and related documentation However,
                     in the event of an emergency when specific consent is not possible, I agree to the administration of such products as ordered by my physician
              9      I impose no specific limitations or prohibitions regarding treatment other than those that follow (if none, so state)

              10 I authorize the examination by an authorized individual of any tissue, organ(s) or body part(s) removed dunng the procedure and the disposal of such bssue;organ(s) or body
                 part(s) in accordance with hospital policies
              11 I consent to the admittance of appropnate observers and to the taking and publication of any photographs in the course of this procedure for the purpose of advancing medical
                 education I understand that my identity will remain confidential
              12 All of my questions have been answered to my satisfaction I believe that I have adequate knowledge upon which to base an informed consent to the proposed operative
                 treatment(s)

              I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THE ABOVE CONSENT, THAT THE EXPLANATIONS THEREIN REFERRED TO WERE MADE, AND THAT ALL
              BLANKS OR STATEMENT REQUIRING INSERTION OR COMPLETION WERE FILLED IN AND INAPPLICABLE PARAGRAPHS, IF ANY, WERE STRICKEN BEFORE I
              SIGNED


                                                 Witness                                                Signed                                             Patient

                                                               Complete the following section if consent is not obtained from the patient

              Patient is unable to make an informed decision because patient is (Check appropriate box)
               0       Minor          years of age without decision-making capacity                  0           Lacks decision-making capacity
               0       Other


                                    Patient Representative Signature                                                                             Relationship to Patient


                                          Witness Signature (1)                                                                                   Witness signature (2)

              Consent obtained (Check one) 0 In person                 0 By Telephone [Requires two (2) witness signatures)
                                                                   Two physician signatures are required in an emergency for consent.

                                                                                   MD                                                                                                   MD


              PHYSICIAN DECLARATION Pnor to the performance of the procedure descnbed above, I have explained to the patient/surrogate decision-maker the nature, purpose,
              benefits, nsks, alternative treatments, possible consequences and possible complications I confirm the above surgery/procedure is correct as to procedure, side and site

                  Physician Signature                                                                               Date                                       Time

                                CONSENT FOR OPERATIONS AND OTHER PROCEDURES                                                                         PATIF^IT ,
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Facility: Prince George's                                                                                                                                                       JA3872               Page 5 of 4T
Patient Name: RUSSELL, Case: 22-1998   Document:Document
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                                                                                              * Auth (Verified) *


                                                                      NOTE      BOTH sides of this form MUST be complebd to be VOID

               Patient                                                                                          Date                                               Time

               1        I hereby authonze the Anesthesia Care Team or                                                                          to administer the following type(s) of anesthetics
                        GenerallRegional/Local + IV Sedation/Conscious Sedation and ocedures performed in the provision of anesthesia including placing an intravenous (IV) catheter and
                        maintaining an airway
               2        The risks associated with anesthesia include but are not limited to worsening of a pre-existing medical problem, auway difficulties and drug reactions Drug reactions can
                        include a rash, nausea, vomiting, muscle aches, headache, wheezing and very rarely, shock Maintaining an airway may include placement of an oral or nasal airway,
                        laryngeal mask airway or an endotracheal tube Reactions to artificial airways include laryngospasm which requires immediate corrective treatment Manipulation of the
                        airway may result in damage to caps, bndges ordamaged teeth and very rarely to sound teeth Some individuals expenence a sore lip, throat or hoarseness Regional
                        anesthesia blocks may cause headache, numbness or tingling, bleeding or swelling and rarely, weakness or paralysis Occasionally nerve injunes from positioning may
                        occur IV catheters can cause inflammation, swelling or bleeding
                3       I am also aware that the practice of medicine and anesthesia is not an exact science and that there are nsks and complications associated with the anesthesia and anesthetic
                        technique I have been informed that the aspiration of stomach contents into the lungs, drug reactions including malignant hypertherrnia and anaphylactic shock, heart failure,
                        airway closure, paralysis and rarely death may be associated with any anesthetic or anesthetic technique
               4        I have been informed that circumstances may arise during the course of treatment that would necessitate the performance of anesthetic techniques and administration of
                        anesthesia which are different from or in addition to those now contemplated
               5        I impose no specific limitations or prohibitions regarding anesthesia other than those that follow (if none, so state)


               6        All ofmy questions have been answered to my satisfaction I believe that I have adequate knowledge upon which tobase an informed consent to the proposed administration
                        of anesthetic(s) and anesthetic techniques

               I CERTIFY THAT I HAVE READ AND FULLY UNDERSTAND THE ABOVE CONSENT, rHAT THE EXPLANATIONS THEREIN REFERRED TO WERE MADE, AND THAT ALL
               BLANKS OR STATEMENT REQUIRING INSERTION OR COMPLETION WERE FILLED IN AND INAPPLICABLE PARAGRAPHS, IF ANY, WERE STRICKEN BEFORE I
               SIGNE

                                                                                                                                 1/2/1b"vt<Ai                 r,--Ze
                                                   Witness                                                Signed                                                Patient

                                                                  Complete the following section if consentis not obtained from the patient

               Patient is unable to make an informed decision because patient is (Check appropnate box)
                0       Minor          years of age without decision-making capacity                 ❑              Lacks decision-making capacity
                CI Other


                                      Patient Representative Signature                                                                               Relationship to Patient

                                            Witness Signature (1)                                                                                     Witness signature (2)

               Consent obtained (Check one) El In person                 CI By Telephone [Requires two (2) witness signatures]
                                                                     Two physician signatures are required in an emergency for consent

                                                                                     MD                                                                                                         MD


               RESUSCITATION STATUS DURING ANY PROCEDURE REQUIRING INFORMED CONSENT This section is to be completed for patients undergoing any procedure
               requiring informed consent, who also have orders withholding resuscitation

               CI Patient/surrogate decision-makerrequests that DNR order be suspended during any procedure
               El Patient/surrogate decision-maker requests that DNR order be honored dunng any procedure
               Describe the key features of the discussion(s) pertaining to the DNR issues


               PHYSICIAN DECLARAlk N .\\or TAe.tlme of the planned anesthesia above, I have explained to the patient/surrogate decision-maker the nature, purpose, benefits, risks,
               and possible complicati

                    Physician Signature                                                                                Date
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                                             CONSENT FOR ADMINISTRATION OF ANESTHESIA                                                      II11111111111
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Date of Birth:                                                                                                                                                                                              FIN: 308005529


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            "MR'VtMEDRECMRN%",               %EMCNOUSDOCTYPENAME% 05'-:24-2016 18 22 01




                            Consent to Treatment

                            PHYSICIANS NOT AS EMPLOYEES: I acknowledge that physicians fu►nishing services, Including but not limited to attending physicians,
                            radiologists, surgeons, emergency department physicians, obstetriclanlgynecologists, pathologists, anesthesiologists, neonatologists,
                            physicians Interpreting diagnostic studies, consultants and assistants to the physicians ARE NOT employees or agents of the hospRal, I
                            understand that I will receive a separate bill from each of these private providers of service. Patient/Patient Representative Initials:

                            I am seeking either inpatient or outpatient service from Dimensions Healthcare System (OHS) I understand services are available to me without discrimination as
                            prohibited by federal and state law. I hereby consent to care and treatment, including but not limited to diagnostic medical therapeutic testing and treatment as may
                            be deemed necessary or advisable by my physician, his/her associates, partners or designee, consulting physicians, DHS and its employees, based on his/her
                            medical knowledge and my health condition. I understand I have a right to limit or refuse recommended treatments and/or procedures. I understand that no
                            guarantees have been made to me about the outcome of this care I understand that health related services may be provided by the employees, agents, and
                            independent contractors utilized by DHS, including but not limited to anesthesiology and other Interpretive and diagnosticservIces

                            Medical Education and Training, I understand that OHS is approved to train medical students, residents, nurses and allied health students I also understand
                            students and residents may observe or participate in patient care I agree to permit such involvement, unless I notify OHS to the contrary in writing with the
                            understanding the students or resident's work will be under the supervision of a qualified instructor or physician on the medical staff of OHS

                            For Inpatient Only Room charges are incurred for the day of admission or any part thereof, but not the date of discharge I acknowledge that check-out time m1100
                            a in My balances known to be due for services not covered or partially covered by Insurance will be payable al the time of discharge, including but not limited to
                            applicable coinsurance or deductibles
                            Personal Property and Valuables: I agree that DHS will not be responsible for patient valuables, clothes, personal Items, money or
                            other personal property. I also release DHS from any responsibility for loss or damage to any article not claimed from safekeeping
                            by or for the patient at discharge or departure from DHS premises.                     PatlentlPatlent Representative Initials: ✓✓-~
                            Only Applicable for Medicare Beneficiaries. Statement for Payment of Medicare Benefits to Hospital and/or Physicians —I certify that the information given by mefor
                            payment under title ;Mil of the Social Security Act is correct. I authorize any holder of medical or other information about me to release to the Center for Medicare
                            and Medicaid Services (CMS) or Medicare Interrnedranes or Camers any information needed for these services or a related claim I request that payment of
                            authorized benefits be made on my behalf

                            Insurance Billing and Assignment of Benefits I assign the benefits payable for hospital or physician services to DHS and or any physician which renders service to
                             me and authorize them to submit the necessary claims to Medicare for payment. I certify the registration statements are true and I, as guarantor, agree to pay all
                             amounts owed for care and treatment to the full extent permitted by law, DHS may submit claims to my third party payor or, d legally permissible, bill me directly for
                            full or partial payment I understand that OHS may, at its option, delay billing me directly and this does not alleviate my responsibility for payment I agree to pay all
                             amounts owned by me, or the Insured, Member or Subscnber, for treatment to the full extent permitted by law I assign any benefits which I or the Insured, Member
                            Or Subscriber may have or be entitled to, to OHS towards payment of my hospital bills and physician bills I understand that my insurance, HMO, or other healthcare
                            benefits are sublect to ye:Meehan by DHS and that I will remain responsible fa any unpaid amounts whether or not covered by this assignment to the full extent
                            permitted by law I understand and agree that I am responsible to pay for any charges for carenreatmenUservice when I access care/treatment/service outside of my
                            insurance plan network.
                            Notification of Credit Bureaus Reporting I understand that OHS may report any outstanding self-pay balances to Credit Bureaus,

                        Release of Information
                        I understand that my medical information is confidential and under certain circumstances is protected under federal and state laws and regulations and cannot be
                        released without my written authorization unless otherwise provided for in said regulations I also understand that I may revoke this consent at anytime except to the
                        extent that action has been taken in reliance on it

                        I understand that it may be necessary for DHS, its employees, agents, independent contractors and/or my physician to release and/or disclose all or part of my
                        confidential medical information to third parties for the purposes of providing certain diagnostic treatment and/or tesbng which may not be available within OHS.

                        I understand that for the sake of convenience and speed of reference, and to further the timeliness and quality of diagnosis and treatment rendered to me, that any
                        physician, nurse, or business office representative who has been involved with my treatment at a DHS facility may request that the hospital send by facsimile
                        transmission to the physician of record, consulting physician or third party tamer any relevant data from my medical record necessary for continuity of care or
                        reimbursement. It is further understood that with any facsimile transmission there is a passibiley that medical records may inadvertently be misdirected Not
                        withstanding such risk, I hereby authorize release of any relevant data in my medical record by facsimile transmission to any physician who has participated in my
                        diagnosis a treatment at the hospital or to any third party carnet for reimbursement and hereby release DHS from any liability associated with those risks
                        I understand that DHS Is the owner of any radiographic images and/or tissue/specimens °blamed during the course of my care and treatment. The anginal
                        radiographic films andlor all of the tissue/specimens will not be released Copies of radiographic Images wilt be provided, to me or my authonzed agent upon written
                        request for a reasonable fee. Tissue blocks will not be available for recut, but will be available for examination under supervision at our facility upon written request
                        I understand that the Federal Safe Medical Devices act requires manufacturers of certain medical devices to track the distribufion and use of said devices I
                        understand that OHS must facilitate the tracking of these devices by providing the information to the manufacturer with respect to the patient receiving such a device,
                        which includes releasing my social security number to the manufacturer of the medical device I may receive, In accordance with the lederal law and regulations I
                        understand that my social security number may be used by the manufacturer to help locate me If there is a need to contact me with regard to this medical device, I
                        release OHS horn any liability that might result from the release of this information

                                                UNIVERSAL CONSENT         (SIDE 1)
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                             Authorization For The Release Of Medical Information To The Maryland InsuranceAdministration:

                             Under Maryland law, I have the right to contest a decision by an HMO or health Insurer that a proposed or delivered health care service was not medically necessary.
                             The law allows the Health Educates and Advocacy Unit (HEAll) of the office of the Attorney General to assist me m Bing an internal gnevance with ihe HMO or
                             health insurer and allows me to externally appeal the final decision to the Maryland Insurance Adrmnisbation (MIA) I may appeal the initial decision directly la the
                             MA if I can demonstrate a compelling reason not to toe an internal grievance with the HMO or health Insurer A health cam provider may also file an internal
                             gnevance or external appeal on my behalf By signing this form, [either wish to file an internal gnevance or appeal, or I authonze a health care provider to file such a
                             grievance or appeal

                             I understand that, as part of the HEAD assisting me with my internal gnevance, or MIA handling my external appeal, the HEAD or MIA wi➢ contact my HMO or health
                             insurer for an explanation as to its actions in connection with my internal grievance or external appeal, or an internal grievance or external appeal riled on my behalf.

                             I further understand that MIA may receive advice from medical experts or an Independent Review Organization (IRO) while determining whether to uphold or
                             overturn the HMO or health Insurer's decision that a health care service was not medtcallynecessary.

                             Throughout the gnevance or appeal process, the confidentiality of my medical records will be maintained in accordance with Maryland and federal law I understand
                             that if I have questions about the contents of my medical records to be released, I should contact my health care provider

                             I understand that my records may be used to develop general statistical information on grievances and appeals, and any statistical reports will not identify me or
                             contain any identifying information I do not authorize the release of any information that would Identify me to anyone not mentioned above

                             In the event I, or a provider on my behalf, file an Internal grievance or an external appeal, I authonze the release of my medical records as follows.

                             1 I authonze the Attorney General and MA to obtain medical records and Insurance Information for the purpose of uwesligating my grievance °teepee',
                             2 I authonze the Attorney General to release my medical records to MIA so that my appeal or grievance may be investigated, and audience MIA to release my
                                medical records to the Attorney General so that my appeal or grievance may be Investigated
                             3. I authonze MIA to release my medical records to the relevant HMO or health insurer, andlor the HMO's or health Insurer's legal counsel for the purpose of
                                investigating my grievance or appeal or handling any hearmg which may result from such investigation
                             4 I authonze MIA to transfer my medical records to the Department of Health and Mental Hygiene if my grievance or appeal involves potential issues of quality of
                                care so that the Department may conduct an investigation into these particular Issues
                             5 I audience MIA to release my medical records to medical experts who may assist MIA with my gnevance orappeal

                             To establish and maintain the safest possible environment In which to deliver care/servioaffreatment Dimensions Healthcare System's campus buildings, property,
                             parking lots and operated vehicles are smoke and tobacco-free Dimensions Healthcare System is dedicated to maintaining a smoke and tobacco-free campus
                             environment.

                             Dimensions Healthcare Public Health Initiative: If you smoke, please stopsmolang.

                             This form has been explained to me and I understandIts contents. I acknowledge the following

                              El Receipt of a copy of DNS Noace of Pnvacy Practices
                              I] My communication needs identified by complebng the Communication Assessment Form
                               ❑ Receipt of `An Important Message from Medicare' to Medicare beneficiaries
                               ❑ Receipt of DHS brochure 'What You Should Know As A Patient'

                             PLEASE NOTE. All patients 18 and over must sign this consent form themselves, unless they have a legal guardian, personal representative or are
                             incapacitated If so, the signer must submit wntten proof of ouardlanship or representation with this consent form
                              freeIII                                              5/24/2016 6 19 34              Signed by JOHNSON, HOLLY on                   5/24/2016
                                                                                                                  24-May-2016 18.20'42 -0400
                                         Signature of Patient                             Date                                 Signature of Witness                       Date

                                                                           Complete the following section If consent Is not obtained from the patient

                             Patient is unable le mei/a an Informed decision because patient is (Check approprlateboxy
                              ❑ Minor                  Tars of age           ❑ Intubated             ❑ Unconscious              ❑ Emergency Psych Services
                              ❑ Other
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                                             Patient Representative Signature                                 more                                  Relationship to Patient
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                                                     Witness signature                                           Date




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                Exhibit 74




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                                  Gladys S. Fenichel, MD
                                       210 Kent Road
                                    Ardmore, PA 19003
                               FenichelMD@FenichelMD.com
                                       (610) 649-8940
                                    FAX (610) 649-5071
September 23, 2019

Elisa P. McEnroe
Morgan, Lewis & Bockius LLP
1701 Market Street
Philadelphia, Pennsylvania 19103-2921

RE: Monique Russell et al. v. Educational Commission for Foreign Medical Graduates

Dear Ms. McEnroe,

On September 17, 2019, I had the opportunity to see Monique Russell for an independent
psychiatric evaluation.

The examination was requested to comment on Ms. Russell’s psychiatric condition in relation to
the Complaint in Monique Russell et al. v. Educational Commission for Foreign Medical
Graduates.

At the start of the examination, I discussed with Ms. Russell that the evaluation was not for
purposes of treatment and that it was not a confidential examination. I discussed with Ms.
Russell that I would prepare a report based on the psychiatric evaluation and review of records.

In preparation of this report I have reviewed the following documents:

1. Medical Records:
   Plaintiffs0000000932 – Plaintiffs0000001133;
   Plaintiffs0000001243 – Plaintiffs0000001685;
   Plaintiffs0000001686 – Plaintiffs0000001839;
   Plaintiffs0000001840 – Plaintiffs0000001845;
   Plaintiffs0000001846 – Plaintiffs0000001994;
   Plaintiffs0000005338 – Plaintiffs0000005429;
   Plaintiffs0000067757 – Plaintiffs0000067847;
   Plaintiffs0000118654 – Plaintiffs0000118679
2. Complaint in Russell et al. v. ECFMG
3. Monique Russell’s Answers to First Set of Interrogatories and Responses to First Set of
   Requests for Production of Documents (3/29/2019)
4. Monique Russell’s Supplemental Answers to First Set of Interrogatories and Responses to
   First Set of Requests for Production of Documents (6/13/2019)
5. Amended Class Action Complaint in Russell v. Dimensions Health, CAL 18-07863
   (3/16/2018)




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                                                                     RE: Monique Russell
                                                                                 Page 2
6. Monique Russell’s Responses to Defendants’ Request for Admissions in CAL 18-07863
   (7/10/2018)

HISTORY REPORTED BY MONIQUE RUSSELL:

Monique Russell (date of birth                ) stated that she instigated the lawsuit Russell et al
v. ECFMG because of her feeling that she was violated by the man who had identified himself as
Dr. Akoda. She said that Dr. Akoda was not a real doctor, and there is no real evidence that this
man had attended medical school. Ms. Russell said that she read the “transcripts” from his
federal trial. She said that she believes that Dr. Akoda had faked his way into residency
programs. Ms. Russell said it is her opinion that “without consent she was subjected to assault.”
As a consequence of her reported experience with Dr. Akoda, Ms. Russell said she feels that she
cannot trust the medical system or doctors. Ms. Russell said that she believes that Dr. Akoda had
three different Social Security numbers and three different names. Ms. Russell said that she
believes Dr. Akoda had applied to take the medical board examinations three times. Ms. Russell
said that she does not know if Dr. Akoda could have had his license reinstated in another state.

Ms. Russell said that Dr. Akoda was not her doctor. She said that she had chosen to have her OB
treatment with Dr. Danielle Waldrop at the practice of Javaka Moore, M.D. Ms. Russell said
that she had expected that either Dr. Moore or Dr. Waldrop would deliver her baby, but it was
Dr. Akoda who was in the delivery room. Ms. Russell said that she later wanted to recommend
Dr. Waldrop to a friend who was looking for an obstetrician. Ms. Russell said that she had told
this friend that if she went to the practice with Dr. Waldrop and Dr. Akoda was still in the
practice, she may be treated by Dr. Akoda, and Ms. Russell had not had a good experience with
him. Ms. Russell said that when she looked for information about Dr. Moore’s practice, she saw
that Dr. Akoda was not on the list of practitioners. Ms. Russell said that in June 2017, she began
an investigation and found a release from the Justice Department regarding Dr. Akoda. Ms.
Russell said that she was blown away and horrified. She said that she spent days and nights
trying to make sense of the available information. Ms. Russell questioned how it was possible
that this “alleged doctor” had delivered her child. Ms. Russell acknowledged that the
consequences to her regarding the treatment she received from Dr. Akoda were, “For me,
minor.” Ms. Russell said that she read about another lawsuit against Dr. Akoda alleging that
there were permanent injuries to a child as a consequence of his treatment. Ms. Russell said Dr.
Akoda should never have had access to women.

Ms. Russell said that when she learned this information about Dr. Akoda, she was reminded of
prior trauma and abuse. She said that she was                  when she was a child and again
when she was in her early twenties.

Ms. Russell said that she does not have regular gynecologic appointments. Ms. Russell said that
she has problems with trust in regard to the credentials of doctors. Ms. Russell said that the
experience with Dr. Akoda has gotten in the way of family planning. She said that she wanted
other children, but she has not had gynecologic treatment. Ms. Russell also said that she does not
know if the caesarean section was medically necessary. She said that there was no damage to her
son, but she questions the medical decision that Dr. Akoda made.




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Ms. Russell had a doula in the delivery room. Her husband and her mother-in-law were also in
the delivery room. Ms. Russell said that she did not like Dr. Akoda’s behavior. She said that he
would come into the delivery room and talk to her husband and not to her. She said that she
found him to be really misogynistic. Ms. Russell said that she told her husband that if Dr. Akoda
spoke to him one more time about her vagina, then they would need a different doctor. Ms.
Russell said that after her husband spoke to Dr. Akoda, he began to talk to her, but she said that
she did not like him.

Ms. Russell said that she was in labor for 32 hours. She said that she was given antibiotics after
18 hours because her water had broken. She said that she was only 1 cm dilated and she was
started on Pitocin. Ms. Russell said that she had horrible contractions, but she still did not dilate.
Dr. Akoda suggested an epidural hoping that the epidural would relax her and help with the
contractions. Ms. Russell said that the baby went into distress. Although the baby’s stats went
back to normal, Dr. Akoda recommended an emergency caesarean section. Ms. Russell repeated
that she trusted that Dr. Akoda was a real doctor. Ms. Russell said that looking back, she does
not know if she had an unnecessary surgery. Ms. Russell said that she continues to have itching
at the scar from the surgery. Ms. Russell said when she thinks about the caesarean section, she
thinks that Dr. Akoda was rough, and he was “playing football with my organs.” Ms. Russell
said that she was discharged from the hospital after three days. She said that her husband took
two weeks off and she had help from a postpartum doula and her mother-in-law.

Ms. Russell said that she had an appointment with Dr. Waldrop for an IUD when her son was six
months old. In response to the question of how the experience with Dr. Akoda affected her
family planning, Ms. Russell said that she found it hard to be intimate with her husband after she
learned about Dr. Akoda.

Ms. Russell said that she thinks she went back to see Dr. Moore after she learned about the
charges against Dr. Akoda. She described the visit as a meeting with Dr. Moore, and not a
medical appointment. Ms. Russell said that she questioned Dr. Moore about why she had not
been notified about Dr. Akoda’s federal charges, and Dr. Moore told her that it was not his
practice’s responsibility to notify the patients. Ms. Russell said that she disagreed. Ms. Russell
said that she believes it was someone’s job to notify patients about Dr. Akoda. Ms. Russell said
that Dr. Moore was not defensive, but rather surprised about her questions. Ms. Russell said that
she was really angry and really in shock.

Ms. Russell then provided additional information of what she has learned about Dr. Akoda. She
said that Dr. Akoda did not have an office practice with Dr. Moore, but he worked in Dr.
Chaudry’s practice. She said that Dr. Akoda delivered babies for Dr. Moore’s practice and for
Dr. Chaudry. Ms. Russell said that Dr. Akoda’s office and home were raided. Ms. Russell said
that multiple passports were found, along with a machine to create diplomas. Ms. Russell said
that she has to have her fingerprints checked every two years to be a Washington, DC public
school teacher. Ms. Russell said that she does not understand how Dr. Akoda was able to apply
to ECFMG three times, especially after he was kicked out of a residency program in New Jersey
when it was discovered he was a fraud. Ms. Russell said that she believes that this information
about the New Jersey residency was reported to ECFMG. She said that after “this reported
doctor” was kicked out of the New Jersey program, he reapplied to ECFMG using different




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names and different Social Security numbers. Ms. Russell said that Dr. Akoda got through
ECFMG and was able to finish an OB/GYN residency program at Howard University. She said
that Dr. Akoda met Dr. Chaudry and Dr. Moore, who were both attendings at Howard
University. Ms. Russell said that in between Dr. Akoda’s first residency program and the
residency at Howard, Dr. Akoda had worked in Florida as a nurse. She said again there is no
evidence that he had graduated from medical school.

Ms. Russell said that she believes that she was the first patient who found out about Dr. Akoda’s
identity and criminal charges. Ms. Russell said that she chose an attorney who was
recommended to her by a friend.

Ms. Russell said that she would like to get pregnant again, but she does not have a doctor. She
said that she did have complications (bleeding and cramping) with her IUD in 2018 or 2019. She
said that a doctor removed the IUD at an urgent care in Costa Rica. Ms. Russell said that she
was really anxious about the IUD removal. She said that she did look up information about the
doctor, and she leaned the doctor was American-trained. Ms. Russell said that the experience
was okay.

Ms. Russell described her mood noting that she is a pretty positive person. She tries to keep
things in perspective. Ms. Russell said that she does not sleep enough, but she has a toddler and
a demanding job. Ms. Russell said she does focus on self-care. She said that she walks one to
two miles every day and that she does yoga. Ms. Russell said that she gets up between 5:00 a.m.
– 5:30 a.m. She said that she tries to go to sleep by 10:00 p.m. – 11:00 p.m. and she does sleep
through the night. Ms. Russell said that she does not have problems with her appetite. She said
her concentration is fine. She said she is able to experience pleasure. Ms. Russell said she
enjoys her job, and she likes to walk, hike, do yoga, and read. Ms. Russell said that she has a lot
of plans for her future with her husband and son.

Ms. Russell said that in a way she feels lucky. She said that the situation could have been worse.
She acknowledged there were no physical consequences to the medical experience with Dr.
Akoda. She said the experience with Dr. Akoda brought up past trauma
             Ms. Russell said that the suffering she experienced may be less than what other
women experienced, but she feels a responsibility to stand up for other women who had trauma
as a consequence of their experiences with Dr. Akoda. Ms. Russell repeated that she remains
concerned that Dr. Akoda will try to practice medicine again. Ms. Russell wants to make sure in
any way she can that it will be impossible for Dr. Akoda to practice medicine again.

PAST MEDICAL HISTORY

Ms. Russell said that she had an emergency appendectomy in 2000. She said her appendix did
not rupture.

Ms. Russell had              in 2004.

In 2005, Ms. Russell had bleeding and                                   This was not a planned
pregnancy.




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In 2012, Ms. Russell had an unplanned pregnancy. She did not plan to terminate the pregnancy.
She had               at six weeks.

Ms. Russell said when she became pregnant with her son, she spoke to doctors and nurses about
her history of miscarriages. Ms. Russell said that she learned that women often have
miscarriages before they know they are pregnant. Ms. Russell said that she was not concerned
about her history of miscarriages with her pregnancy with her son.

Ms. Russell said that her pregnancy with her son was challenging. She said that she had early
bleeding. She had an evaluation with a high-risk pregnancy doctor, and she was closely
monitored in the first trimester. Ms. Russell said that at 6.5 months, she developed problems
with vomiting; she would throw up whenever she ate, but she continued to gain weight.

Ms. Russell has a condition known as vasovagal syncope that she was diagnosed with when she
was in her thirties. She said that she had to be careful during her pregnancy for dizzy spells. Ms.
Russell said that she learned what to do when she felt dizzy, and she was able to watch for
triggers. Ms. Russell said that in the last two months of her pregnancy, she was on modified
bedrest. She said that she was able to work from home. Ms. Russell said that she has only had
one vasovagal episode since her son was born.

Ms. Russell said that she has a history of chronic back pain that she believes is stress related.
Ms. Russell said that she developed back pain after her sister died such that she could not walk.
Ms. Russell said that she learned breathing techniques and has been doing daily meditation for
many years. Ms. Russell said that when her son was about one year old, she developed back
pain again, and she had a course of physical therapy.

PAST PSYCHIATRIC HISTORY:

Ms. Russell said that she had counseling growing up. She said that she was five years old when
she and her sister were adopted, and four years later, her parents adopted a baby girl. Ms.
Russell said that her biological sister had problems with acting out, and they had counseling.

Ms. Russell said that she was sexually molested by a family member when she was six or seven
years old. She said that she did not report the abuse until she was 15 years old. Ms. Russell said
she reported the abuse when her baby sister was the same age as when the assault happened to
her. Ms. Russell said that the first person she told was a male guidance counselor, and the
guidance counselor called Ms. Russell’s parents and the police. Ms. Russell said she wanted to
make sure that her sister was protected. Ms. Russell said that the guidance counselor started a
support group for young girls who were victims of sexual abuse or assault.

Ms. Russell said that she was sexually assaulted as an adult when she was in her early twenties.
She said that this was date rape. Ms. Russell said this was perhaps her third date with this man.
She said that he did not listen when she told him to stop, and he apologized to her afterward.
Ms. Russell said that she did not see a counselor and that she does not know if she dealt with the




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consequences of this reported date rape effectively. Ms. Russell said later on that she did some
personal work to examine her relationships and her underlying beliefs.

Ms. Russell said that her adopted sister had depression and committed suicide at the age of 21 in
2007. Ms. Russell said that her sister had a history of prior suicide attempts that Ms. Russell
believes were calls for attention. Ms. Russell said that she did not go to counseling when her
sister committed suicide. Ms. Russell said her family doctor prescribed            and she took the
medication for six months after the suicide of her sister. Ms. Russell said that she did not see the
suicide coming. Ms. Russell said that she had trouble functioning after her sister’s suicide. She
said that she was then a student at the University of Maryland and that she was also working.
She said that her professors and her employer were understanding, and she had a really strong
network of friends.

SOCIAL HISTORY:

Ms. Russell said that she lives in Costa Rica and works at a private international school as the
curriculum coordinator for early childhood to fifth grade. Ms. Russell said that her contract is up
in August 2020. She said she thinks that she will renew the contract and stay in Costa Rica. She
said that she can stay in one place for up to five years working for this company.

Ms. Russell said that her undergraduate degree is from the University of Maryland in studio arts
and education. Ms. Russell said that she was certified in 2009 to teach early childhood to third
grade. She has a Master of Arts in Teaching from Trinity University that she completed in 2014.
She said that in this program she took a deep dive into literacy instruction. Ms. Russell said that
she has bounced back from jobs supporting teachers to teaching in the classroom. She said in
2014, she was working as an instructional specialist in the Washington, DC public schools.

Ms. Russell said that she grew up in a Catholic family, and she became a Quaker in her early
twenties. She said that she knew by the age of 13 that she did not believe in Catholicism. She
said that her mother told her not to proceed with confirmation if she did not believe in all the
tenets. Ms. Russell said that she and her sister tried out different houses of worship. She said
when she went to a Quaker meeting, she realized this was home. Ms. Russell said that she has a
home meeting in Washington, DC. There is a Quaker settlement three or four hours from where
she lives in Costa Rica, but she has not gone to meetings.

Ms. Russell said that she met her husband on a dating site in 2014. She said that they went on
three dates in three days, and they knew that this was it. She said he proposed after five months.
Ms. Russell said she and her husband met in February 2014, and they were married on October
3, 2014. She said that she was 35 and he was the man of her dreams.

Ms. Russell said that her husband is a DJ, and he travels to Washington, DC to work at
weddings. She said that he cannot work in Costa Rica because of his visa. Ms. Russell said she
always wanted to live in Costa Rica. She said that the culture is warm and family-oriented. She
said that she works from 7:30 a.m. until 4:30 p.m. and her son is in school from 7:30 a.m. until
3:00 p.m.




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MENTAL STATUS EXAMINATION:

Mental status examination revealed a casually groomed 42-year-old woman who appeared
younger than her stated age. Her speech was goal-directed and spontaneous, and she easily
established rapport. Ms. Russell provided a detailed history and explained how she had learned
about the federal charges against Dr. Akoda.

Ms. Russell described her mood noting that she is a pretty positive person, and she keeps things
in perspective. Ms. Russell said in a way she feels lucky that what happened to her with Dr.
Akoda was not worse. She said that she had no physical consequences from the birth of her son.
She said that she feels responsible to stand up for women who were subjected to trauma. Ms.
Russell revealed a full range of affect appropriate to content. She denied a history of suicidal
ideation.

Ms. Russell denied a history of anxiety attacks.

Memory, intelligence, and fund of knowledge were grossly within normal limits.

REVIEW OF RECORDS:

I have reviewed the records identified at the start of the report. There were no records that
referred to any psychiatric or psychological treatment or complaints of anxiety or depression to a
treating doctor.

SUMMARY AND IMPRESSION:

It is my opinion Ms. Russell does not have any psychiatric disorder causally related to the
allegations in the Complaint.

Ms. Russell related a past history of counseling and treatment with the
                       She reported a history of seeking treatment and medication at times of
stress. Ms. Russell did not engage in treatment related to learning information about Dr. Akoda.
Ms. Russell acknowledged that the consequences in regard to the treatment she received from
Dr. Akoda were, “For me, minor.”

It is my opinion Ms. Russell did not present with symptoms compatible with any psychiatric
diagnosis. Ms. Russell described her mood noting that she is a pretty positive person, and she
keeps things in perspective. She has strong relationships with her husband and her son, and she
is optimistic about her future. It is my opinion there is no indication for psychiatric or
psychological treatment for Ms. Russell in relation to the allegations in the Complaint.

The opinions noted in this report have been stated within a reasonable degree of medical
certainty.




                                                                                         JA3883
       Case: 22-1998 Document:Document
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                                                                     9 of 9

                                                                     RE: Monique Russell
                                                                                 Page 8
I reserve the right to supplement this report if additional records become available for review.

Sincerely,


lk--,-P 2i-
Gladys S. Fenichel, MD
                             r`l

GSF/cl




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Case: 22-1998 Document:Document
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                Exhibit 75




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             Case: 22-1998 Document:Document
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             Monique Russell
             Exactly. The state of Virginia
             suspended his license based on the
             federal conviction, but his Maryland
             license expired while he was awaiting
             trial.
                             Like          Reply             More


             Karlena Walker
             I can't believe it was just suspended
             and not outright revoked permanently.
             2 yft                         Reply             More


             Monique Russell
             Same here. The letter they wrote said
             that in order to reinstate the license, he
             would have to re-apply and fay the
             applicable fees. My FIL (who is a
             lawyer) thinks that is just CYA
             language and that they would not
             reinstate it. But something should be
             noted on the MD board. Also, I want to
             see background checks as a part of
             the process of getting a license.
             Checking SS numbers and
             fingerprinting could have kept him from
             being able to do this.
                    s        Like          hepiy             Mute



             Nakki A. Price
             I mean, is it even clear that he had
             some medical training?! I read the link
             above and that wasn't clear.

      Ma i                                                                               JA3886
                       Case: 22-1998 Document:Document
                       Case 2:18-cv-05629-JDW  22-5 Page:  1997
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               2 yrs       Like           Reply             More


14 03. ,       HoneyDip Dani
 ,117.
               I think people should contact their personal
               lawyer at this point.



                       Monique Russell
                       Honestly, I'm not sure there's much to
                       do at this point. I've been in touch with
                       a lawyer. He's been convicted at the
                       federal level, and we've spoken to the
                       US Attorney who prosecuted the case.
                       He's basically said it's over and done
                       with, and he doubts he's still in the
                       country. So I'm not sure if the state
                       would pursue criminal charges.
                       However, he's used at least 4 different
                       social security numbers and a number
                       of different names over the years to
                       keep practicing under fraudulent
                       licenses in MD and VA. If enough of his
                       patients are identified, it could make
                       way for a class action lawsuit, but
                       individually, there's not much that can
                       be done. However, I've found at least 1
                       settlement for a negligence claim
                       against him. If there are others, those
                       women could re-open their cases and
                       fight for more money because he
                       should have never been operating on
                       them.
                       2 yrs           Like          Reply             More


           I           Write a reply...

           0

                III                                  O                                            JA3887
                                        dr) N •••
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   •        Karlena Walker
            Monique Russell This is
            horrifying. I am so, so, sorry
            you're having to deal with this. My
            only hope is that it opens more
            eyes and allows structures to be
            put in place that can prevent this
            from happening again. It's hard
            enough to trust medical
            professionals as it is, without the
            stress of worrying if your doctor
            actually earned their license. I
            don't know what I can do to help,
            but please let me know. *hugs* 002
                            Love            Reply            More


            Monique Russell
            Karlena Walker Thanks, chica. I do
            consider myself lucky. Luka is
            perfect, and I seem to be healing as
            expected, though this really makes
            me second-guess things. I was in
            labor for 32 hours and ended up
            needing an emergency c-section. I
            think the route we went really was
            best/ necessary. But, what about
            mothers like the one in that
            settlement above, mothers who had
            complications or whose babies
            sustained injuries? They should
            know that he might be at fault for
            that. They have a right to know, and
            no one is notifying patients.
            2 yrs           Like          Reply             More


            Ebony Scott-Bey Cutchin
            Monique Russell, the State of


                                                                                    JA3888
Case:2:18-cv-05629-JDW
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                        22-5 Page:
                                86-401999    Date Filed:Page
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                Exhibit 76




                                                                  JA3889
        Case:2:18-cv-05629-JDW
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    IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

MONIQUE RUSSELL, et al.                                 *
    Plaintiff(s)                                        *
v.                                                      *       CAL17-22761
DIMENSIONS HEALTH CORP., et al.                         *
    Defendant(s)                                        *
****************************************************************************************************


JANE DOE NO. 1, et al.                                  *
     Plaintiff(s)                                       *
v.                                                      *       CAL17-37091
DIMENSIONS HEALTH CORP., et al.                         *
     Defendant(s)                                       *
****************************************************************************************************


MONIQUE RUSSELL, et al.                                 *
    Plaintiff(s)                                        *
v.                                                      *       CAL18-07863
DIMENSIONS HEALTH CORP., et al.                         *
    Defendant(s)                                        *
****************************************************************************************************


                  PLAINTIFF MONIQUE RUSSELL'S RESPONSES TO
                    DEFENDANTS' REQUESTS FOR ADMISSIONS

        Plaintiff, Monique Russell, by her undersigned attorneys, responds as follows

to the Defendants' Requests for Admissions.

                                    GENERAL OBTECTIONS

       A.     Plaintiff objects to each and every Request to the extent the Request seeks
privileged information and documents protected from disclosure by the attorney-client
privilege and/or attorney work-product doctrine, and/ or that were created in
anticipation of litigation.

       B.     The information supplied in these Responses to Requests for Admission is
not based solely on the knowledge of the executing party, but includes knowledge of
the party's agents, representatives and attorneys, unless privileged. Any admission
made herein is made with the state of knowledge and information now available to the
Defendants, their agents, representatives and attorneys.

      C.      In those instances in which the Plaintiff has admitted the genuineness of a
document, or the qualification of a document as a business record for hearsay purposes,
but has not been called upon to admit the time when Plaintiff learned of the document,
the admission of the genuineness of the document should not be construed as an


                                                                                               JA3890
       Case:2:18-cv-05629-JDW
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admission that the Plaintiff knew of the document when it was created. Such an
admission should be construed only as indicating that, based upon information
currently known and obtained by Plaintiff and/or counsel for the Plaintiff, the
genuineness of the document is now admitted.

       D.     An admission by the Plaintiff as to the genuineness of a document, or the
qualification of a document as a business record for hearsay purposes, is not an
admission that the document was unchanged from a prior form, or was otherwise relied
upon or acted upon in the form of its production, or remained unchanged at any
subsequent time relevant, or at all times relevant, to this case.

       E.     An admission by the Plaintiff as to the genuineness of a document, or the
qualification of a document as a business record for hearsay purposes, is not an
admission of the truth or falsity of any statement, whether of law or fact, contained in
the document.

       F.     An admission by the Plaintiff as to the genuineness of a document, or the
qualification of a document as a business record for hearsay purposes, is not an
admission that the document is complete or in the page order in which the document
was held.

      G.     An admission by the Plaintiff as to the genuineness of a document, or not
an admission that the document is material, relevant and/or admissible for any
purpose or at any proceeding in this case.

       H.    Plaintiff generally objects to the genuineness of a document when a
request to admit or deny the genuineness of a document provides no context or
reference about the source of the document.

       I.    Plaintiff objects to these Requests for Admissions to the extent that they
purport to impose obligations on the Plaintiff beyond those required by the Maryland
Rules.

       J.     Plaintiff generally objects to these Requests for Admissions to the extent
that in most instances they ask Plaintiff to admit a fact, but fail to provide reference to
any particular document for Plaintiff to review and would otherwise require Plainiff to
search for a document that may or may not exist to prove or disprove a proposed fact
that may or may not be accurate.

                                 SPECIFIC RESPONSES

       REQUEST NO. 1: You were a Claimant in the initial Health Care Alternative

Dispute Resolution Office ("HCADRO") action Doe v. Dimensions Healthcare System.

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                                                                                    JA3891
      Case:2:18-cv-05629-JDW
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      RESPONSE:              Denied.

      REQUEST NO. 2: In 2017, you filed your Statement of Claim with the Health

Care Alternative Dispute Resolution Office in Doe v. Dimensions Healthcare System.

      RESPONSE:              Denied.

      REQUEST NO. 3: You filed your Complaint in the above-captioned matter in

the Circuit Court for Prince George's County, Maryland on or about November 20, 2017.

      RESPONSE:              Denied.

      REQUEST NO. 4: You had no complications with your delivery on or about

May 25, 2016.

      RESPONSE:              Denied.

      REQUEST NO. 5: You have heard radio advertisement(s) regarding the events

giving rise to your Claim.

      RESPONSE:              Denied.

      REQUEST NO. 6:         At this time, you are still unaware that the individual known

to Defendants as Akoda: had been certified by ECFMG to practice medicine; had applied

for, was accepted, and successfully completed an accredited residency program through

Howard University Hospital; was licensed to practice medicine in the state of Maryland;

was licensed to practice medicine in the Commonwealth of Virginia; and was Board

Certified by the American College of Obstetricians and Gynecologists.

      RESPONSE:              Denied that Akoda had been certified by ECFMG to

practice medicine. Plaintiff admits that she does not have personal knowledge of these

matters, but is relying on her attorneys for this information.



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                                                                                 JA3892
         Case:2:18-cv-05629-JDW
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         REQUEST NO. 7: You are a class Plaintiff in the above-captioned action.

         RESPONSE:          Plaintiff denies she is a named class Plaintiff in CAL17-

37091.

         REQUEST NO. 8: Your Family was not affected by your alleged symptoms of

Post-Traumatic Stress Disorder until you saw/heard television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

         RESPONSE:          Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

         REQUEST NO. 9: You did not and have not specifically verified the facts about

the qualifications to practice medicine of the individual known to Defendants as Dr.

Akoda, which were provided to you as the basis of the events giving rise to your Claim.

         RESPONSE:          Admitted.

         REQUEST NO. 10: You had not retained or had contact with an attorney for

purposes of bringing suit for your Claims in this action until seeing/hearing television,

radio, and/or inte'rnet advertisement(s) regarding the events giving rise to your Claim.

         RESPONSE:          Denied.

         REQUEST NO. 11: You did not contribute to or have any role in any news

coverage or publicity related to the events you now allege in this action, including, but

not limited to, participation in the Dr. Oz Show.

         RESPONSE:          Admitted.

         REQUEST NO. 12: You claim that you suffer from Post-Traumatic Stress

Disorder as a result of your allegations against the Defendants.



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                                                                                 JA3893
      Case:2:18-cv-05629-JDW
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       RESPONSE:             Denied.

       REQUEST NO. 13: You claim that your alleged Post-Traumatic Stress Disorder

has affected your relationship with your Family.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 14: You have seen television advertisement(s) regarding the

events giving rise to your Claim.

       RESPONSE:             Denied.

       REQUEST NO. 15: You did not experience your alleged symptoms of Post-

Traumatic Stress Disorder during the period(s) you were seeing Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 16: Your Family was not affected by your alleged symptoms of

Post-Traumatic Stress Disorder during the period you were being cared for by Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 17: You did not experience your alleged symptoms of Post-

Traumatic Stress Disorder until seeing/hearing television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 18: You do not suffer from depression as a result of the events

giving rise to your Claim.
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                                                                                  JA3894
       Case:2:18-cv-05629-JDW
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                                       86-402005    Date Filed:Page
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       RESPONSE:            Admitted.

       REQUEST NO. 19: You had not retained or had contact with an attorney for

purposes of bringing suit for your Claims in this case until you saw or heard news

coverage or other publicity regarding the events giving rise to your Claim.

       RESPONSE:            Admitted.

       REQUEST NO. 20: You do not suffer from Post-Traumatic Stress Disorder as a

result of the events giving rise to your Claim.

       RESPONSE:            Admitted.

       REQUEST NO. 21: It would have been reassuring to you had you known that the

individual known to Defendants as Akoda: had been certified by ECFMG to practice

medicine; had applied for, was accepted, and successfully completed an accredited

residency program through Howard University Hospital; was licensed to practice

medicine in the state of Maryland; was licensed to practice medicine in the

Commonwealth of Virginia; and was Board Certified by the American College of

Obstetricians and Gynecologists.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. In

this context, Plaintiff does not understand the meaning of "reassuring." Subject to and

without waiving this objection, the stated matters would not change Plaintiff's belief

that Akoda was a fraud and deceit.

       REQUEST NO. 22: You claim that you suffer from depression as a result of your

allegations against the Defendants.




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                                                                                 JA3895
      Case:2:18-cv-05629-JDW
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                                      86-402006    Date Filed:Page
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       RESPONSE:           Denied.

       REQUEST NO. 23: You claim that your alleged depression has affected your

relationship with your Family.

       RESPONSE:           Denied.

       REQUEST NO. 24: You have never been formally diagnosed with depression.

       RESPONSE:           Admitted.

       REQUEST NO. 25: Your Family was not affected by your alleged depression

during the period you were being cared for by Dr. Akoda.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 26: You did not experience your alleged depression until

seeing/hearing television, radio, or internet advertisement(s) regarding the events giving

rise to your Claim.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 27: You have seen news coverage or other publicity regarding the

events giving rise to your Claim.

       RESPONSE:           Admitted.

       REQUEST NO. 28: Your Family was not affected by your alleged symptoms of

anxiety, if at all, until you saw/heard television, radio, or internet advertisement(s)

regarding the events giving rise to your Claim.




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                                                                                 JA3896
      Case:2:18-cv-05629-JDW
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                                      86-402007    Date Filed:Page
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      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 29: Your Family was not affected by your alleged depression, if

at all, until you saw/hear television, radio, or internet advertisement(s) regarding the

events giving rise to your Claim.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 30: You did not experience your alleged depression during the

period(s) you were cared for by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 31: You claim that you suffer from anxiety as a result of your

allegations against the Defendants.

      RESPONSE:            Admitted.

      REQUEST NO. 32: You claim that your alleged anxiety has affected your

relationship with your Family.

      RESPONSE:            Denied.

      REQUEST NO. 33: You did not experience your alleged anxiety during the

period(s) you were cared for by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 34: You claim that your alleged physical injury has affected your

relationship with your Family.
                                             8
                                                                                JA3897
      Case:2:18-cv-05629-JDW
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                             Document 86-402008     Date Filed:
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                                                             Page   10 of 25




       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 35: You do not suffer from anxiety as a result of the events giving

rise to this Complaint.

       RESPONSE:             Denied.

       REQUEST NO. 36: Your Family was not affected by your alleged anxiety during

the period(s) you were cared for by Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 37: You have never been formally diagnosed with anxiety.

       RESPONSE:             Admitted.

       REQUEST NO. 38: You have never been formally diagnosed with Post-

Traumatic Stress Disorder.

       RESPONSE:             Admitted.

       REQUEST NO. 39: You claim that you suffer from physical pain as a result of

your allegations against the Defendants.

       RESPONSE:             Denied.

       REQUEST NO. 40: You have never been diagnosed with a physical injury

resulting from your allegations against the Defendants.

      RESPONSE:              Admitted.

      REQUEST NO. 41: You did not experience your alleged physical injury as a

result of your allegations during the period(s) you were cared for by Dr. Akoda.



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                                                                                   JA3898
      Case:2:18-cv-05629-JDW
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                             Document 86-402009     Date Filed:
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                                                             Page   11 of 25




       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 42: Your Family was not affected by your alleged symptoms of

physical pain during the period(s) you were cared for by Dr. Akoda.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 43: Your Family was not affected by your alleged symptoms of

physical pain until you saw/heard television, radio, or internet advertisement(s)

regarding the events giving rise to your Claim.

       RESPONSE:           Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 44: You did not report any physical pain or injury to any law

enforcement or hospital personnel during the period(s) you were being treated by Dr.

Akoda or PGHC.

      RESPONSE:            Admitted.

      REQUEST NO. 45: You claim that you suffer from difficulty sleeping as a result

of your allegations against the Defendants.

      RESPONSE:            Denied.

      REQUEST NO. 46: You claim that you suffer from "permanent disability" as a

result of your allegations against the Defendants.

      RESPONSE:            Admitted that Plaintiff's emotional injuries are permanent.




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                                                                                JA3899
        Case:2:18-cv-05629-JDW
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                               Document 86-402010     Date Filed:
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        REQUEST NO. 47: You do not suffer from permanent disability as a result of the

care you received from Dr. Akoda.

        RESPONSE:          Denied. Plaintiff's emotional injuries are permanent.

        REQUEST NO. 48: The last time you saw Dr. Akoda was on or about May 28,

2016.

        RESPONSE:          Admitted.

        REQUEST NO. 49: You claim that your alleged permanent disability has affected

your relationship with your Family.

        RESPONSE:          Denied.

        REQUEST NO. 50: You have never been diagnosed with a permanent disability.

        RESPONSE:          Admitted.

        REQUEST NO. 51: Your Family was not affected by your alleged permanent

disability during the period(s) you were seeing Dr. Akoda.

        RESPONSE:          Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

        REQUEST NO. 52: You claim that your alleged difficulty sleeping has affected

your relationship with your Family.

        RESPONSE:          Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

        REQUEST NO. 53: You have not done any independent research to determine

the status of ECFMG certification, residency program completion, licensure, or board

certification for the individual known to Defendants as Akoda.



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                                                                                JA3900
      Case:2:18-cv-05629-JDW
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                             Document 86-402011     Date Filed:
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       RESPONSE:             Admitted.

       REQUEST NO. 54: You did not experience your alleged permanent disability

until seeing/hearing television, radio, or internet advertisement(s) regarding the events

giving rise to your Claim.

       RESPONSE:             Denied.

       REQUEST NO. 55: Your Family was not affected by your alleged permanent

disability until you saw/ heard television, radio, or internet advertisement(s) regarding

the events giving rise to your Claim.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 56: You have never been diagnosed with a sleeping condition or

disorder.

       RESPONSE:             Admitted.

       REQUEST NO. 57: Your Family was not affected by your alleged difficulty

sleeping during the period(s) you were seeing Dr. Akoda.

       RESPONSE: Upon advice of counsel, Plaintiff objects to this request.             It

assumes matters which are untrue.

       REQUEST NO. 58: You do not suffer from a sleeping disorder or condition as a

result of the events giving rise to your Claim.

       RESPONSE:             Admitted.

       REQUEST NO. 59: You do not have a lack of trust in physicians or in medical

institutions at this point in time.



                                            12
                                                                                  JA3901
      Case:2:18-cv-05629-JDW
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       RESPONSE:            Denied.

       REQUEST NO. 60: Your Family was not affected by your alleged "lack of trust in

physicians and in medical institutions" during the period(s) you were seeing Dr. Akoda.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 61: You did not experience your alleged difficulty sleeping until

seeing/hearing television, radio, or internet advertisement(s) regarding the events giving

rise to your Claim.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 62: You did not experience your alleged symptoms of anxiety, if

at all, until seeing/hearing television, radio, or internet advertisement(s) regarding the

events giving rise to your Claim.

       RESPONSE:            Denied.

       REQUEST NO. 63: Your Family was not affected by your alleged difficulty

sleeping until you saw/heard television, radio, or internet advertisement(s) regarding

the events giving rise to your Claim.

       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 64: You claim that you suffer from "a lack of trust in physicians

and in medical institutions" as a result of your allegations against the Defendants.

       RESPONSE:            Admitted.



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                                                                                  JA3902
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402013     Date Filed:
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       REQUEST NO. 65: You claim that your alleged "lack of trust in physicians and

in medical institutions" has affected your relationship with your Family.

       RESPONSE:           Denied.

       REQUEST NO. 66: You did not experience your alleged "lack of trust in

physicians and in medical institutions" during your visit(s) with Dr. Akoda.

       RESPONSE:           Admitted.

       REQUEST NO. 67: You have taken your child(ren) to see medical professionals

since you learned of the Claim.

       RESPONSE:           Admitted.

      REQUEST NO. 68: Any information you claim to now have about the status of

Dr. Akoda's license to practice medicine, you learned from your Attorney(s).

      RESPONSE:            Denied.

      REQUEST NO. 69: Your Family was not affected by your alleged "lack of trust in

physicians and in medical institutions" until you saw/heard television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 70: You did not experience your alleged symptoms of a

permanent disability during the period(s) you were seeing Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.




                                           14
                                                                                  JA3903
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402014     Date Filed:
                                             Filed 12/11/21     09/08/2022
                                                             Page   16 of 25




         REQUEST NO. 71: You did not experience your alleged symptoms of physical

pain, resulting from your allegations against the Defendants, if any, until seeing/hearing

television, radio, or internet advertisement(s) regarding the events giving rise to your

Claim.

         RESPONSE:          Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

         REQUEST NO. 72: You claim that your alleged "lack of trust in physicians and

in medical institutions" has discouraged you from or made your feel uncomfortable

taking your child(ren) to medical professionals.

         RESPONSE:          Admitted.

         REQUEST NO. 73: You have seen medical professionals since your last visit with

Dr. Akoda.

         RESPONSE:          Admitted.

         REQUEST NO. 74: You have taken your child(ren) to see medical professionals

since your last visit with Dr. Akoda.

         RESPONSE:          Admitted.

         REQUEST NO. 75: You have seen medical professionals since you learned of the

events giving rise to this Claim.

         RESPONSE:          Admitted.

         REQUEST NO. 76: After      seeing/hearing     television,   radio   or   internet

advertisement(s) regarding the events giving rise to your Claim, you began to feel that

you were personally violated by Dr. Akoda.


                                           15
                                                                                  JA3904
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402015     Date Filed:
                                             Filed 12/11/21     09/08/2022
                                                             Page   17 of 25




       RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 77: You did not experience your alleged "lack of trust in

physicians and in medical institutions" until seeing/hearing television, radio, or internet

advertisement(s) regarding the events giving rise to your Claim.

      RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 78: You will continue to see medical professionals in the future.

      RESPONSE:             Admitted.

      REQUEST NO. 79: If you were to require emergency medical treatment, you

would seek emergency medical services.

      RESPONSE:             Admitted.

      REQUEST NO. 80: If a member of your Family were to require emergency

treatment, you would seek emergency medical services.

      RESPONSE:             Admitted.

      REQUEST NO. 81: During your visit(s) with Dr. Akoda, you never refused

services or procedures.

      RESPONSE:             Admitted.

      REQUEST NO. 82: You do not claim to question Dr. Akoda's competency to

practice medicine.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Akoda's competency to practice medicine includes honesty and truthfulness and a

person who lies and deceives is not competent.
                                            16
                                                                                  JA3905
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402016     Date Filed:
                                             Filed 12/11/21     09/08/2022
                                                             Page   18 of 25




       REQUEST NO. 83: You did not report concerns about Dr. Akoda's competency

to practice medicine to any law enforcement or hospital personnel during the period(s)

you were being treated by Dr. Akoda or PGHC.

       RESPONSE:               Admitted.

       REQUEST NO. 84: During your visit(s) with Dr. Akoda, you never felt you had

reason to question his competency to practice medicine.

       RESPONSE:               Admitted.

       REQUEST NO. 85: After             seeing/hearing   television,   radio,   or   internet

advertisement(s) related to the events you allege in this action, you began to question Dr.

Akoda's competency.

       RESPONSE:               Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 86: You will continue to take your child(ren) to see medical

professionals in the future.

       RESPONSE:               Admitted.

       REQUEST NO. 87: You do not claim that you felt personally violated by Dr.

Akoda.

       RESPONSE:               Denied.

       REQUEST NO. 88: During your visit(s) with Dr. Akoda, you never felt you were

personally violated.

       RESPONSE:               Admitted.




                                               17
                                                                                      JA3906
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402017     Date Filed:
                                             Filed 12/11/21     09/08/2022
                                                             Page   19 of 25




       REQUEST NO. 89: You did not report feeling personally violated by Dr. Akoda

to any law enforcement or hospital personnel during the period(s) you were being treated

by Dr. Akoda or PGHC.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

       REQUEST NO. 90: You do not claim that your life was in danger during the

period(s) you were being treated by Dr. Akoda.

       RESPONSE:             Admitted.

       REQUEST NO. 91: You do not claim that your baby's life was in danger during

the period(s) you were being treated by Dr. Akoda.

       RESPONSE:             Admitted.

       REQUEST NO. 92: During your visit(s) with Dr. Akoda, you never felt your life

was in danger.

       RESPONSE:             Admitted.

       REQUEST NO. 93: During your visit(s) with Dr. Akoda, you never felt your

baby's life was in danger.

       RESPONSE:             Denied.

       REQUEST NO. 94: You only began to feel that your life was in danger when

cared for by Dr. Akoda after seeing/hearing television, radio or internet advertisement(s)

regarding the events giving rise to your Claim.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.



                                            18
                                                                                  JA3907
     Case:2:18-cv-05629-JDW
     Case  22-1998 Document:  22-5 Page:
                            Document 86-402018     Date Filed:
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                                                            Page   20 of 25




      REQUEST NO. 95: You did not report to any law enforcement or hospital

personnel during the period(s) you were being treated by Dr. Akoda that you felt that

your or your baby's life was in danger

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 96: It was not important to you to research the status of Dr.

Akoda's license to practice medicine while receiving care from Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff denies it was not important, but instead had no reason to research these

matters.

      REQUEST NO. 97: At the time of your care by Dr. Akoda, you were unaware that

the individual known to Defendants as Akoda: had been certified by ECFMG to practice

medicine; had applied for, was accepted, and successfully -completed an accredited

residency program through Howard University Hospital; was licensed to practice

medicine in the state of Maryland; was licensed to practice medicine in the

Commonwealth of Virginia; and was Board Certified by the American College of

Obstetricians and Gynecologists.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

contains multiple requests which should be set forth separately. Denied that Plaintiff

was unaware that Akoda was licensed to practice medicine in the State of Maryland.




                                          19
                                                                                JA3908
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402019     Date Filed:
                                             Filed 12/11/21     09/08/2022
                                                             Page   21 of 25




      REQUEST NO. 98: You only began to feel that your baby's life was in danger

when treated by Dr. Akoda after seeing/hearing television, radio or internet

advertisement(s) regarding the events giving rise to your Claim.

      RESPONSE: Upon advice of counsel, Plaintiff objects to this request.              It

assumes matters which are untrue.

      REQUEST NO. 99: You do not claim that you were abused sexually by Dr.

Akoda.

      RESPONSE:            Admitted.

      REQUEST NO. 100: You claim that your alleged "lack of trust in physicians and

in medical institutions" has discouraged you from or made you feel uncomfortable from

seeing medical professionals.

      RESPONSE:            Admitted.

      REQUEST NO. 101: During your visit(s) with Dr. Akoda, you never felt as if you

were being abused sexually.

      RESPONSE:            Admitted.

      REQUEST NO. 102: You did not report any sexual abuse to any law enforcement

or hospital personnel during the period(s) you were being treated by Dr. Akoda.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

assumes matters which are untrue.

      REQUEST NO. 103: After        seeing/hearing    television,   radio   or    internet

advertisement(s) regarding the events giving rise to your Claim, you began to feel that

you had been sexually abused by Dr. Akoda.


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                                                                                  JA3909
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402020     Date Filed:
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      RESPONSE:            Denied.

      REQUEST NO. 104: You do not believe the competency of a physician can be

determined from his or her name.

      RESPONSE:            Admitted.

      REQUEST NO. 105: You do not believe that the name of the physician is a

determining factor in choosing an OBGYN.

      RESPONSE:            Admitted.

      REQUEST NO. 106: You have seen physicians in your lifetime whose names you

do not, remember today.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request. It

is overly broad and burdensome. Plaintiff cannot be required to remember what she

cannot remember.     Plaintiff will admit that she may not be able to recall every

physician she has seen in her lifetime.

      REQUEST NO. 107: During the period(s) you were being treated by Dr. Akoda,

you were unaware that he completed his medical residency at Howard University

Hospital.

      RESPONSE:            Admitted.

      REQUEST NO. 108: You were not aware that Dr. Akoda had been indicted or

pleaded guilty to criminal charges prior to seeing/hearing radio, television, or internet

advertisement(s) regarding the events giving rise to your Claim.

      RESPONSE:            Denied.




                                           21
                                                                                JA3910
      Case:2:18-cv-05629-JDW
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                             Document 86-402021     Date Filed:
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       REQUEST NO. 109: You were not seeing an OB/GYN for annual exams prior to

the period(s) you were being treated by Dr. Akoda.

       RESPONSE:           Denied.

       REQUEST NO. 110: You have not seen an OB/GYN for annual exams since the

period(s) you were being treated by Dr. Akoda.

      RESPONSE:            Admitted.

      REQUEST NO. 111: You did not forego medical care despite needing it before the

period(s) you were being treated by Dr. Akoda.

      RESPONSE:            Admitted.

      REQUEST NO. 112: You have not foregone medical care despite needing it, since

the period(s) you were being treated by Dr. Akoda.

      RESPONSE:            Denied.

      REQUEST NO. 113: During the period(s) you were being treated by Dr. Akoda,

you were not aware of the status of Dr. Akoda's license to practice medicine.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff believed Akoda was licensed to practice medicine.

      REQUEST NO. 114: During the period(s) you were being treated by Dr. Akoda,

you were not aware that Dr. Akoda was licensed to practice medicine by the State of

Maryland.

      RESPONSE:            Upon advice of counsel, Plaintiff objects to this request.

Plaintiff believed Akoda was licensed to practice medicine.




                                           22
                                                                                JA3911
      Case:2:18-cv-05629-JDW
      Case  22-1998 Document:  22-5 Page:
                             Document 86-402022     Date Filed:
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       REQUEST NO. 115: It was not important to you to research the status of Dr.

Akoda's license to practice medicine after receiving care from Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request.

Plaintiff had no reason to research the status of Akoda's license.

       REQUEST NO. 116: During the period(s) you were being treated by Dr. Akoda,

you were not aware that Dr. Akoda was licensed to practice medicine by the

Commonwealth of Virginia.

       RESPONSE:             Admitted.

       REQUEST NO. 117: You have seen internet advertisement(s) regarding the events

giving rise to your Claim.

       RESPONSE:             Denied.

       REQUEST NO. 118: You did not see Dr. Akoda for any prenatal care.

       RESPONSE:             Admitted.

       REQUEST NO. 119: It was not important to you to research the status of Dr.

Akoda's license to practice medicine prior to receiving care from Dr. Akoda.

       RESPONSE:             Upon advice of counsel, Plaintiff objects to this request.

Plaintiff had no reason to research the status of Akoda's license.

       REQUEST NO. 120: Any information you claim to now have regarding the status

of Dr. Akoda's license to practice medicine, you learned from television, radio, or internet

advertisement(s) regarding the events giving rise to your claim.

       RESPONSE:             Denied.     Plaintiff is relying on the information of her

attorneys and her discovery of the U.S. Department of Justice press release.



                                             23
                                                                                   JA3912
Case:2:18-cv-05629-JDW
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                       Document 86-402023     Date Filed:
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                                                       Page   25 of 25




                               Respectfully submitted,

                               LAW OFF
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                                 24
                                                                          JA3913
       Case:
        Case22-1998   Document: 22-5
             2:18-cv-05629-JDW       Page:
                                Document 92 2024    Date Filed:
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                    Civil Action No. 18-5629
                  Plaintiffs,
                                                    Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                  Defendant.


                                        STIPULATION

       AND NOW, this 14th day of January 2022, it is hereby STIPULATED and AGREED by

and between the undersigned counsel that Plaintiffs Monique Russell, Jasmine Riggins, Elsa M.

Powell, and Desire Evans (collectively, “Plaintiffs”) and Defendant Educational Commission for

Foreign Medical Graduates (“ECFMG”) stipulate as follows:

       1.     On December 10, 2021, ECFMG filed a Motion to Exclude the Opinions and

Anticipated Testimony of Plaintiffs’ Expert Dr. Annie Steinberg (ECF 82). ECFMG filed the

motion contemporaneously with its Motion for Summary Judgment (ECF 81).

       2.     On January 8, 2022, Plaintiffs’ counsel notified ECFMG’s counsel of its intent to

withdraw Dr. Steinberg as an expert witness.

       3.     Plaintiffs withdraw and will not call Dr. Steinberg as a witness, and will not rely on

her opinions, in the above-captioned case.

       4.     Plaintiffs and ECFMG agree that as a result of Plaintiffs’ withdrawal of Dr.

Steinberg, ECFMG’s Motion to Exclude the Opinions and Anticipated Testimony of Plaintiff’s

Expert Dr. Annie Steinberg (ECF 82) is moot.




                                                                                           JA3914
        Case:
         Case22-1998   Document: 22-5
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                                                              Page  2 of 2




                                         Respectfully submitted,

 Dated: January 14, 2022                 /s/ Nicholas M. Centrella
                                         Nicholas M. Centrella (Pa. I.D. No. 67666)
                                         Howard M. Klein (Pa. LD. No. 33632)
                                         Robin S. Weiss (Pa. ID. No. 312071)
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                                         Attorneys for the Educational Commission for
                                         Foreign Medical Graduates




                                         SO ORDERED:

                                         /s/ Joshua D. Wolson
                                        JOSHUA D. WOLSON, J.
Dated: January 14, 2022
                                        US. DISTRICT JUDGE




                                                                                JA3915
       Case:
        Case22-1998   Document: 22-5
             2:18-cv-05629-JDW       Page:
                                Document 93 2026    Date Filed:
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE RIGGINS,                       CIVIL ACTION NO. 18-5629
 ELSA M. POWELL AND DESIRE EVANS,                        Honorable Joshua D. Wolson

                               Plaintiffs,

               v.

 EDUCATIONAL COMMISSION FOR
 FOREIGN MEDICAL GRADUATES,

                               Defendant.


  PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT, EDUCATIONAL
COMMISSION FOR FOREIGN MEDICAL GRADUATES’ MOTION FOR SUMMARY
                            JUDGMENT


       For the reasons set forth in the attached Memorandum of Law, Plaintiffs, Monique

Russell, Jasmine Riggins, Elsa M. Powell, and Desire Evans, by and through their undersigned

counsel, oppose Defendant Educational Commission for Foreign Medical Graduates’ Motion for

Summary Judgment and respectfully request that the Motion for Summary Judgment be denied.



Dated: January 14, 2022                           Respectfully submitted,




 JANET, JANET & SUGGS, LLC                      CONRAD O’BRIEN PC

 /s/ Patrick Thronson                           /s/ Robin S. Weiss
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                                                                                         JA3916
     Case:
      Case22-1998   Document: 22-5
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                              Document 93 2027    Date Filed:
                                           Filed 01/14/22     09/08/2022
                                                           Page  2 of 2




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                                       Attorneys for Plaintiffs, on behalf of
                                       themselves and all others similarly situated




                                                                              JA3917
       Case: 22-1998 Document:Document
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                                       93-12028     Date Filed:
                                             Filed 01/14/22     09/08/2022
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                      *
ELSA M. POWELL AND DESIRE EVANS,
                                                       *      Case No. 2:18-cv-05629-JW
               Plaintiffs
                                                       *      Hon. Joshua D. Wolson
       v.
                                                       *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,                             *

               Defendant                               *

*    *     *    *    *     *     *     *   *    *    *     *
 PLAINTIFFS’ RESPONSE TO DEFENDANT’S STATEMENT OF MATERIAL FACTS
     AND PLAINTIFFS’ STATEMENT OF ADDITIONAL MATERIAL FACTS

       Plaintiffs, by their undersigned counsel, submit the following Response to Defendant’s

Statement of Material Facts (ECF No. 85). Plaintiffs also submit a Statement of Additional

Material Facts. Any admissions made herein are made solely for the purpose of Defendant’s

Motion for Summary Judgment and Plaintiffs’ Response thereto. In all circumstances where

there is an admission or reference to Akoda herein, Plaintiffs are referring to the fictitious

“Akoda” identity. Plaintiffs make no admission that Akoda or Dr. Akoda was a real person.

            RESPONSE TO DEFENDANT’S STATEMENT OF MATERIAL FACTS

       1-3.            Admitted.

       4.              Denied. The phrase “once an applicant’s record was verified and

       incomplete” is inaccurate. The only thing ECFMG verifies is an

       applicant’s diploma. Ex. 3, Kelly depo. at 18, 34, 35; Ex. 2, Corrado depo. at 88.

       5.              Admitted. However, the transcript reference is incorrect.

       6-19.           Admitted.



                                                                                             JA3918
Case: 22-1998 Document:Document
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                                93-12029     Date Filed:
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20.               Objection. There is no evidence that this “process” was published in the

period 1992 through 2006.

21-25.            Admitted.

26.               Denied. ECFMG Exhibit 10 is Akoda’s alleged diploma, not an

application.

27.               Admitted.

28.               Plaintiffs cannot admit or deny this statement because they have no

personal knowledge of the “verification,” nor did Ibaden purport to verify any credentials

other than the diploma.

29-40.            Admitted.

41.               Plaintiffs cannot admit or deny paragraph 41. ECFMG Exhibit 17 does

not state this.

42-46.            Admitted.

47.               Plaintiffs cannot admit or deny this statement because they have no

personal knowledge of the “verification,” nor did Ibaden purport to verify any credentials

other than the diploma.

48-54.            Admitted.

55.               Objection. This letter has not been authenticated and is hearsay and is

inadmissible.

56-58.            Admitted.

59.               Plaintiffs admit that JSMC notified ECFMG of its investigation but there

is no evidence in the record that ECFMG ever requested of JSMC the identity of the

source of the allegation against Akoda.



                                           2

                                                                                     JA3919
Case: 22-1998 Document:Document
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                                93-12030     Date Filed:
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60-64.         Admitted.

65.            Plaintiffs admit that Igberase provided ECFMG with a passport and an

international driving permit but ECFMG made no effort to verify the authenticity of these

documents. Ex. 2, Corrado depo. at 161.

66.            Admitted. Further, ECFMG made no effort to refer “Akoda” to the

ECFMG MECC for his misuse of a social security number or for providing false

information on his application. Ex. 3, Kelly depo. at 201.

67.            Admitted.

68.            Objection. There is no evidence in the record authenticating this letter.

Furthermore, it is hearsay and is inadmissible.

69.            Admitted.

70.            W. Kelly believed Akoda and Igberase were one and the same. ECFMG

Ex. 33.

71-77.         Admitted.

78.            The application is a document which speaks for itself.

81.            Admitted.

82.            Objection. There is no evidence authenticating this letter. Furthermore, it

is hearsay and is inadmissible.

83-87.         Admitted.

88.            Objection. The quoted language is from a Complaint which was

dismissed without prejudice. It is irrelevant and inadmissible.

89.            Objection. The quoted language is from a prior case which was dismissed

without prejudice. It is irrelevant and inadmissible.



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                                                                                   JA3920
Case: 22-1998 Document:Document
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                                93-12031     Date Filed:
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                                                      Page   4 of 18




90.           Objection. This information is irrelevant and inadmissible.

91-94.        Admitted.

95-99.        Objection. The exhibits referenced are not authenticated and are hearsay

and inadmissible.

100-104.      Admitted.

105.          Denied. The consent was invalid due to Akoda’s fraudulent conduct.

106-115.      Admitted.

116.          Redacted.

117-135.      Admitted.

136.          Denied. The consent was invalid due to Akoda’s fraudulent conduct.

137-151.      Admitted.

152.          Objection. This statement is irrelevant and inadmissible.

153-165.      Admitted.

166.          Denied. The consent was invalid due to Akoda’s fraudulent conduct.

167-176.      Admitted.

177.          Objection. This statement is irrelevant and inadmissible.

178.          Objection. This statement is irrelevant and inadmissible.

179-181.      Admitted.

182.          Objection. This statement is irrelevant and inadmissible.

183-190.      Admitted.

191.          Denied. The consent was invalid due to Akoda’s fraudulent conduct.

192-193.      Admitted.

194.          Denied. The consent was invalid due to Akoda’s fraudulent conduct.



                                       4

                                                                               JA3921
       Case: 22-1998 Document:Document
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                                       93-12032     Date Filed:
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       195-203.        Admitted.

       204-205.        Objection. This statement is irrelevant and inadmissible.

       206-217.        Admitted.

            PLAINTIFFS’ STATEMENT OF ADDITIONAL MATERIAL FACTS

       1.      William C. Kelly worked for ECFMG for almost 38 years. He retired in May

2015. Ex. 3, Kelly depo. at 7, 9. He became manager of the credentials department and the vice-

president for operations that included credentials. Ex. 3, Kelly depo at 187-188.

       2.      The ECFMG Certificate is required to obtain a medical license. Ex. 3, Kelly

depo. at 19.

       3.      The first step needed to obtain a certificate from ECFMG is an application. Ex. 3,

Kelly depo. at 13.

       4.      An identification number is assigned to the application. If the applicant becomes

certified, the certificate number would be the same as the identification number. Id. at 15.

       5.      An IMG needs an ECFMG certificate to obtain a medical license. Ex. 3, Kelly

depo. at 19.

       6.      ECFMG works on behalf of domestic regulatory authorities to protect the public

through programs and services including primary source verification of physician credentials.

Ex. 3, Kelly depo. at 22.

       7.      ECFMG received an Application from Igberase on April 6,1992. Ex 4.

       8.      He included a date of birth of April 17, 1962, and a social security number ending

in 5054. Ex. 3, Kelly depo at 29. Ex. 4.

       9.      Igberase submitted a diploma from the University of Ibadan June 19, 1987.

ECFMG Ex. 10; Ex. 3, Kelly depo. at 31.


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       10.     In order to have the diploma verified, ECFMG would send it to the medical

school to verify it. Ex. 3, Kelly depo. at 35.

       11.     ECFMG received an Application from Igberase Oluwafemi Charles on March 30,

1994. Ex. 5. It did not include a social security number but included a birthdate of April 17,

1961. Id.; Ex. 3, Kelly depo. at 35-36.

       12.     A new I.D. number was assigned because they concluded he (“Charles”) had

never applied before. Ex. 3, Kelly depo at 57-58.

       13.     On June 22, 1995, Kelly wrote to Igberase to advise him that ECFMG was

conducting an investigation about his multiple applications. ECFMG Ex. 13.

       14.     ECFMG received a 5-page handwritten response from Charles in which he

admitted that he and Igberase were one and the same person. He admitted to lying. ECFMG Ex.

14; Ex. 3, Kelly depo. at 42-43.

       15.     The credentials committee met on 11/27/1995 and decided to invalidate the

“Charles” certificate and to revoke the Igberase certificate. Ex. 6; Ex. 3, Kelly depo. at 45-46.

       16..    On December 7, 1995, Kelly wrote a letter to the USMLE advising of events re

“Charles” and Igberase. Ex. 21.

       17.     Where there was a discrepancy between the name on the diploma and the name on

the Application, the applicant would have been required to submit some sort of documentation to

connect the names. But this policy was not in effect at the time. Ex. 3, Kelly depo. at 51.

       18.     “Charles” took an appeal from the decision to invalidate his certificate. The

review committee held a hearing and affirmed but limited Igberase’s length of revocation to 5

years (i.e., 7/16/2001). Ex. 7; Ex. 3, Kelly depo at 53-55.




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       19.     ECFMG received an Application from Femi Charles Igberaese on October 23,

2000. Ex. 22. It included a birthdate of April 17, 1962, the same date on the first Igberase

application. Ex. 3, Kelly depo. at 56-57.

       20.     In less than a month, ECFMG concluded he was the same Igberase who had been

told his certification was revoked. Ex. 3, Kelly depo at 57-58.

       21.     On November 16, 2000 Kelly wrote to Igberase for an explanation and advising

him the matter would go the credentials committee. Ex. 23.

       22.     On May 3, 2001 Kelly wrote to “Charles” notifying him that the credentials

committee extended the revocation of his certificate for an unspecified period. Ex. 8.

       23.     ECFMG received a letter from Igberase on July 2, 2001. Ex. 9. Igberase

explained that his childhood friend had made a mistake on the application. Igberase referred to

his cousin “Akoda.”

       24.     On May 22, 2002 Kelly wrote to Igberase advising him his certificate was

permanently revoked. It’s one year later because they waited for review by USMLE. Ex. 10;

Ex. 3, Kelly depo. at 64.

       25.     On March 19, 2002 ECFMG received an Application by “Charles” Ugberaese

Oluwafemi” with a birth date of March 1, 1963 and no social security information       Ex. 24.

       26.     Charles Ugberaese Oluwafemi submitted a diploma from the University of Ibadan

dated June 18, 1996. Ex. 11. Kelly doesn’t know if it was ever verified by the University of

Ibadan. Ex. 3, Kelly depo. at 67-68.

       27.     On November 12, 2002 Kelly wrote to Igberase Oluwafemi Charles advising him

that the Credentials Committee found him to have engaged in irregular behavior. Ex. 25.

       28.     He believes the names are just re-arranged. Ex. 3, Kelly depo. at 73.



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       29.      He is not aware that the diploma submitted by Charles and verified by the

University is the same diploma submitted by Igberase. Ex. 3, Kelly depo. at 73.

       30.      ECFMG thought “Charles” and Igberase were two different persons. Ex. 3, Kelly

depo. at 75, 77.

       31,         ECFMG realized within a short period of time that the person using the name

Oluwafem was really the person certified as Igberase. Ex. 3, Kelly depo. at 79.

       32.      ECFMG received an Application from John Nosa Akoda on January 3, 2003.

ECFMG Ex. 19.

       33.      There was no social security number included. Ex. 3, Kelly depo. at 88. A

photograph is required with the application. Id. at 89.

       34.      ECFMG received a second Application from Akoda on August 30, 1996. Ex. 26.

He said he had previously applied. Kelly doesn’t know why there is a second application. Ex. 3,

Kelly depo. at 93.

       35.      Akoda submitted a diploma from the University of Benin for Johnbull Enosakhare

Akoda dated February 6, 1988. Ex. 27. The name is different than on the application.

       36.      He does not know if the diploma was verified by the University of Benin. Ex. 3,

Kelly depo. at 95.

       37. In a letter dated August 22, 2000, Kelly says that Akoda provided a social security

number ending in 9065. Ex.28.

       38.      ECFMG received a completed Permanent Revalidation Form on September 22,

1998. ECFMG Ex. 27. It shows that he had started a residency program at JSMC. Ex. 3, Kelly

depo. at 107.




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       39.     ECFMG serves as the dean station for ERAS for IMGs. Ex. 3, Kelly depo. at

108.

       40.     On August 11, 2000, ECFMG received a letter from James McCorkel (Jersey

Shore Medical Center) saying Akoda, a resident, may have served at two other residency

programs and has used Igberase’s social security number. ECFMG Ex. 28; Ex. 3, Kelly depo. at

111.

       41.     The social security number Igberase gave JSMC is the same one he gave to

ECFMG. Ex. 3, Kelly depo. at 112.

       42.     Stephen S. Seeling replied to McCorkel’s letter on August 22, 2000. Ex. 28.

Kelly ghost wrote it for Seeling. Ex. 3, Kelly depo. at 112.

       43.     There is no diploma with the legal name “Charles.” Ex. 3, Kelly depo. at 113-

114.

       44.     Kelly wrote to Akoda on August 22, 2000 telling him they have recent

information that he may have previously applied and that the matter will be referred to the

Credentials Committee. He asked Akoda to provide an explanation. Ex. 29.

       45.     Kelly received a call from McCorkel on August 20, 2000, telling him Akoda took

a leave of absence and he was waiting to hear from Harlem Hospital. Ex. 30.

       46.     Igberase under the Akoda identity wrote a letter in response to the Kelly’s letter

dated August 29, 2000. ECFMG Ex. 32. He denied taking exams under other names. He

stated that “Charles” is his cousin. He admitted using Charles’ social security number.

       47.     On September 13, 2000, McCorkel called Kelly saying Akoda has been

suspended. McCorkel’s discussions with Harlem Hospital were “not definitive.” Ex. 12.

       48.     Kelly made handwritten notes of his conversation with McCorkel. Ex. 31.



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       49.      On September 27, 2000 Akoda came to Kelly’s office. ECFMG Ex. 30. He

again admitted using his cousin’s social security number. He gave Kelly his passport and his

international driving permit. Ex. 13.

       50.      Kelly doesn’t remember if he made any attempt to verify the authenticity of the

passport or license. Ex. 3, Kelly depo. at 125, 129.

       51.      The date of birth on Akoda’s passport (Ex. 13) and on the Request for Permanent

Revalidation Form (ECFMG Ex. 27) are different. Ex 3, Kelly depo. at 126-127.

       52.      He does not remember searching ECFMG’s data base to try to determine whether

Akoda and Igberase were one and the same person. Ex. 3, Kelly depo. at 129.

       53.      He doesn’t know if he compared photographs but he had the ability to do so. Ex.

3, Kelly depo. at 129-130.

       54.      He was present at Igberase’s appeal hearing in 1996. Ex. 3, Kelly depo. at 131,

133.

       55.      Kelly made notes of a call with McCorkel on October 5, 2000. Ex. 32. It

comments on two different green cards presented by Akoda. It states that Harlem Hospital

thinks he may be the same and that Akoda used two social security numbers.

       56.      Kelly emailed Igberase December 21, 2000 and Akoda replied December 2, 2000.

Ex. 33. Kelly was surprised.

       57.      On the same day he sent the email to Igberase, Kelly spoke with McCorkel.

ECFMG Ex. 31. McCorkel told Kelly that Akoda was dismissed from JSMC residency for using

a false social security number and green cards inconsistent with a later one.

       58.      He does not recall ever asking McCorkle who the informant was. Ex. 3, Kelly

depo. at 147.



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       59.      McCorkel says he believed Igberase and Akoda were one and the same person. “I

also believe it” Kelly said. “We need to brainstorm on this one.” ECFMG Ex. 33.

       60.      It seemed strange that Akoda would reply to the email to Igberase. Ex. 3, Kelly

depo. at 149-150.

       61.      He doesn’t recall if they brainstormed this matter further. Ex. 3, Kelly depo. at

150.

       62.      He knew there was some connection, a relationship between Igberase and Akoda.

Ex. 3, Kelly depo. 153.

       63.      He doesn’t recall if he ever learned that Igberase was licensed as a nurse in NY.

Ex. 3, Kelly depo. at 158.

       64.      ECFMG used the ERAS to submit for Akoda the three letters of reference... He

wrote to the three doctors who provided letters of recommendation.      Ex. 14. None of the three

doctors responded to Kelly’s letters. ECFMG Ex. 35; Ex. 3, Kelly depo. at 167-168.

       65.      As part of the ERAS program, ECFMG acts as the dean’s office. Ex. 3, Kelly

depo. at 162.

       66.      One of the goals of ECFMG is to ensure IMGs are competent physicians. Ex. 3,

Kelly depo. at 184-185.

       67.      A goal of ECFMG is to protect the American public. Ex. 3, Kelly depo. at 185.

       68.      ECFMG acts as the Dean’s office for IMGs by facilitating the components of an

application for a residency program and submits them on behalf of the graduate through the

ERAS. Ex. 3, Kelly depo. at 194.




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        69.     It was not a routine procedure to verify letters of recommendation. Kelly did it

because Akoda was “otherwise being investigated.” He had some concerns about Akoda’s

credibility. Ex. 3, Kelly depo. at 195.

        70.     None of the three doctors responded to his letters. Ex. 3, Kelly depo. at 196.

        71.     Kelly did not attempt to find out if any of the three doctors were real. Ex. 3,

Kelly depo. at 202.

        72.     Kelly was concerned that Akoda and Igberase were the same person. Ex. 3, Kelly

depo. at 203.

        73.     Kelly didn’t think there was enough evidence to go to the credentials committee.

Ex. 3, Kelly depo. at 211.

        74.     Kara Corrado is the ECFMG Vice President for Operations. Ex. 2, Corrado depo.

at 6.

        75.     ECFMG has a certification program that is required for entrance into a ACGME

accredited residency program. Id. at 41. It is ECFMG’s expectation that state medical boards,

residency programs, and hospitals rely on ECFMG as they make decisions about physician

applications. Id. at 247-248.

        76.     Part of ECFMG’s mission is to promote public health and to protect the public.

Id. at 47. ECFMG serves the public in a number of ways, for example, making sure we have

qualified physicians. Id. at 40.

        77.     There is a written “Draft” procedures written in 2015 which the staff had been

using since at least 2008. Id. at 60.

        78.     As a general matter if a charge letter is sent to an applicant the matter should be

referred to the credentials committee for review. Id. at 80.



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          79.      The credentialing requirements for certification at that time included source

verification of the diploma only. Id. at 88.

          80.      It is a requirement to submit photo identification currently but it was not in the

past. Id. at 89.

          81.      It was not part of ECFMG’s process to verify that the applicant’s name or date of

birth was the same on the request for permanent revalidation and the name that was on file for

the applicant. Id. at 130.

          82.      ECFMG didn’t do anything to determine whether the passport and international

driving license Igberase provided under the Akoda identity were genuine or authentic. Id. at 161.

          83.      The passport and applications for Akoda listed different places of birth. Id. at

162.

          84.      ECFMG could have consulted with the Nigerian consulate to determine if the

passport was authentic but it’s not part of their process. Id. at 200.

          85.      Corrado doesn’t believe ECFMG ever reached out to Akoda’s alleged cousin. Id.

at 204.

          86.      Corrado agrees with Kelly that part of ECFMG’s role is to protect the American

public. Id. at 222. She agrees that patients have the right to not be treated by physicians who

have obtained ECFMG certification based on false pretenses. Id. at 53.

          87.      Akoda needed a valid ECFMG certificate to get into a training program. Id. at

230.

          88.      If ECFMG believed the letters of recommendation were fraudulent, they would

have reported it to Howard University. Id. at 233-234.




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       89.     As Vice President of Operations, Stephen S. Seeling oversaw the certificate

process. Ex. 19, Seeling depo. at 13.

       90.     William Kelly reported to S. Seeling. Id.

       91.     As a general rule, an IMG must have an ECFMG certification to enter into a

residency program. Id. at 23.

       92.     One of the potential consequences, a potential sanction, for irregular behavior is

revocation or invalidation of the individual’s certification. Id. at 55.

       93.     Seeling agrees that it probably would warrant referral to the credentials committee

if he believed that Akoda and Igberase were one and the same person. Id. at 79.

       94.     The decision that the Akoda matter should not go to the credentials committee

was made without anyone speaking to Igberase about whether he and Akoda were the same

person. Id.

       95.     Monique Russell is a 46 year old mother of one child, Luka, born May 25, 2016.

Ex. 15, Russell depo. at 12.

       96.     Igberase delivered Ms. Russell’s baby by emergency C-section. Ex. 15, Russell

depo. at 41.

       97.     Ms. Russell learned of Igberase’s guilty plea from a Department of Justice press

release. Ex. 15, Russell depo. at 31-32.

       98.     Ms. Russell red the federal sentencing transcript. Ex. 15, Russell depo. at 82.

       99.     She suffers from emotional distress as a result of learning about Akoda. Ex. 15,

Russell depo. at 75-76. Ms. Russell feels Igberase violated her. Ex. 15, Russell depo. at 76.

       100.    She has difficulty going to the gynecologist, distrusts the medical community and

distrusts institutions that credential doctors. Ex. 15, Russell depo. at 75.



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       101.    She also suffers from intimacy issues and feels like a victim of sexual assault

because Igberase examined her vagina under false pretenses. Ex. 15, Russell depo. at 90, 130.

       102. Ms. Riggins is a 27 year old mother of three children, ages 10, 6 and 2. Ex. 16,

Riggins depo. at 20.

       103. She lives in northeast Washington, DC. Riggins depo. at. 21. She has a high school

GED. Ex. 16, Riggins depo. at 21.

       104. Ms. Riggins was a patient of Akoda between August 2012 and March 2013. Ex.

16, Riggins depo. at 121. Akoda delivered her second child by C-section. Ex. 16, Riggins depo.

at. 30. Messiah, her son, was born on March 18, 2013. Ex. 16, Riggins depo. at 38.

       105. After the C-section, Ms. Riggins suffered severe abdominal pain and could not

undergo a tubal ligation because of scarring. Ex. 16, Riggins depo. at 34.

       106. As a result of what she learned about who she believed to be Akoda, she has

suffered emotional distress. Ex. 16, Riggins depo. at 56. After learning the truth about Igberase

from a Facebook group, “Embracing Mommies,” Ms. Riggins felt angry, sad, embarrassed, and

ashamed about receiving treatment from Igberase. Ex. 16, Riggins depo. at 57. Ms. Riggins was

deeply affected by what Igberase did and felt outraged because his dishonesty enabled him to

perform C-sections, examine women’s genitals, touch and violate them. Ex. 16, Riggins depo. at

138. See also Def’s SUMF (ECF No. 85), Ex. 58, Dr. Tellefson Report.

       107. Ms. Powell is a 32 year old mother of five children. Ex. 17, Powell depo. at 7, 11.

       108. Ms. Powell initially encountered Igberase, whom she knew as Charles Akoda, upon

presentation to the medical office of Abdul Chaudry, M.D., in 2014. Ex. 17, Powell depo. at 40,

94. Ms. Powell had been referred to Dr. Chaudry for obstetric care but was assigned to Igberase

due to Dr. Chaudry’s unavailability. Ex. 17, Powell depo. at. 39-40. During her pregnancy,



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Igberse acted in a flirtatious manner that made her feel uncomfortable, but she nevertheless

trusted that he was a competent and appropriately credentialed physician providing appropriate

medical care. Ex. 34, Declaration of Elsa Powell.

       109. Igberase also delivered her child at Prince George's Hospital Center and saw Ms.

Powell post-delivery as well. Ex. 17, Powell depo. at. 42, 88. The delivery was complicated by

significant bleeding requiring surgery. Ex. 34, Declaration of Elsa Powell.

       110. Ms. Powell trusted that Igberase was a duly licensed and credentialed physician

and suffered emotional harm upon learning that the man she trusted to touch the most intimate

parts of her body and deliver her baby, had lied about his identity and background. Ex. 17,

Powell depo. at 79; Ex. 34, Declaration of Elsa Powell. Ms. Powell was shocked and disturbed

and felt violated by someone she did not know. Ex. 17, Powell depo. at 79. See also Def’s

SUMF (ECF No. 85) Ex. 58, Dr. Tellefson Report. As a result of learning about Igberase’s

conduct, Ms. Powell experienced recurrent nausea, stomach discomfort, fear, confusion,

sleeplessness, crying, anger, nervous sweating and panic attacks. Ex. 34, Declaration of Elsa

Powell. Ms. Powell would not have consented to treatment had she known Igberase’s identity

and conduct. Ex. 34, Declaration of Elsa Powell.

       111. Desiree Evans is a 40 year old mother of one child. Ex. 18, Evans depo. at 8, 13.

       112. Ms. Evans first encountered Igberase, whom she knew as Charles Akoda, at Prince

George's Hospital Center for the delivery of her child by C-section in March of 2016. Ex. 18,

Evans depo. at 83; Ex. 35, Declaration of Desire Evans. During Ms. Evans’s labor, Igberase

manipulated her clitoris, telling her he needed to do so to stimulate her to push the baby. Ex. 18,

Evans depo. at 132. Ex. 35, Declaration of Desire Evans. As this was her first experience




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having a baby, she trusted that his explanation for his conduct was medically valid. Ex. 35,

Declaration of Desire Evans.

       113. Ms. Evans has suffered emotional distress upon learning that physician whom she

trusted for medical care misrepresented his identity. Ex. 18, Evans depo. at 165,172; Ex. 35,

Declaration of Desire Evans. Ms. Evans is afraid to seek medical care for her and her child and

has lost trust in the medical system. Ex. 18, Evans depo at 165, 172; Ex. 35, Declaration of

Desire Evans. See also Def.’s SUMF (ECF No. 85) Ex. 58, Dr. Tellefson Report. As a result of

learning about Igberase’s conduct, her intimate relationship with her spouse has been damaged.

Ex. 35, Declaration of Desire Evans. As a result of learning about Igberase’s conduct, Ms.

Evans experienced feelings of nausea, disgust, depression, sadness, sleepless nights reflecting on

Igberase’s conduct, stress and anxiety, crying, impacts on her intimate relationship with her

spouse, and nervousness. Many of these symptoms continue today. Ex. 35, Declaration of

Desire Evans. Ms. Evans would not have consented to treatment had she known Igberase’s

identity and conduct. Ex. 35, Declaration of Desire Evans.

       114. Plaintiffs have identified David Markenson, M.D., John C. Hyde Ph.D., FACHE,

and Jerry Williamson, M.D., F.A.A.P., M.J, CHC., LHRM as experts to testify with respect to

standard of care and elements of causation. These experts have issued reports containing

opinions and have given deposition testimony. See Exs. 20, 36 and 37, respectively, Reports of

Dr. Markenson, Dr. Hyde and Dr. Williamson. See also Ex. 1, Depo of. Dr. Markenson.


Dated: January 14, 2022                      Respectfully submitted,


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                                       Attorneys for Plaintiffs, on behalf of
                                       themselves and all others similarly situated




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE RIGGINS,                   CIVIL ACTION NO. 18-5629
 ELSA M. POWELL AND DESIRE EVANS,                    Honorable Joshua D. Wolson

                               Plaintiffs,

               v.

      EDUCATIONAL COMMISSION FOR
 FOREIGN MEDICAL GRADUATES,

                               Defendant.


            PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
      ITS OPPOSITION TO DEFENDANT EDUCATIONAL COMMISSION FOR
     FOREIGN MEDICAL GRADUATES MOTION FOR SUMMARY JUDGMENT



Dated: January 14, 2022                        Respectfully submitted,




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                                        INTRODUCTION

       Plaintiffs are four individuals who were fraudulently induced to undergo medical

procedures, including childbirth, by a man who utilized a fictious identity, and who, the evidence

indicates, had no medical degree whatsoever, and no medical license, privileges or board

certification in his name. What credentials were associated with his fictious name, “Akoda,”

were the product of fraud and misrepresentation.

       ECFMG’s negligence made this possible. ECFMG was aware of allegations of fraud

concerning Igberase’s “Akoda” identity well before he began treating patients. As a quasi-public

entity with a stated mission to promote quality health care for the public by certifying

international medical graduates for entry into U.S. graduate medical education, ECFMG owed a

duty to the Plaintiffs by virtue of their unique role within the United States medical system and

the foreseeability that their negligence would result in the harm alleged in this case. As the

Plaintiffs’ experts have opined, ECFMG was required under the applicable standard of care to

take action to prevent Igberase from continuing to perform medical procedures on patients.

ECFMG breached that duty, which caused Plaintiffs to suffer severe emotional harm. ECFMG is

answerable in tort for the consequences of its negligence.

       As noted by the Court in Niederman v. Brodsky, 261 A.2d 84, 85 (Pa. 1970), “it is

fundamental to our common law system that one may seek redress for every substantial wrong,”

and that “‘[t]he best statement of the rule is that a wrongdoer is responsible for the natural and

proximate consequences of his misconduct . . . .’” Id. (citation omitted). The Plaintiffs are

entitled to redress for their emotional harm, which occurred as a natural and proximate

consequence of ECFMG’s breach of its duty to the Plaintiffs.




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                                   STATEMENT OF FACTS

       This action arises from allegations that Defendant Educational Commission for Foreign

Medical Graduates (“ECFMG”) negligently investigated and certified Oluwafemi Charles

Igberase, a/k/a John Nosa Akoda (among other aliases), as eligible to enter a residency program,

notwithstanding compelling evidence that Igberase/“Akoda” had committed extensive fraud as to

his identity and credentials. As Plaintiffs allege, ECFMG knew of Igberase’s fraud, but failed to

appropriately investigate and respond to it. ECFMG failed to inform state medical boards,

residency programs, and hospitals of Igberase’s fraud, even as it attested that Igberase held a

valid ECFMG certification.

       ECFMG acknowledges that “patients have the right not to be treated by physicians who

have obtained ECFMG certification based on false pretenses.” Plaintiff’s Statement of

Additional Material Facts ¶86 (hereinafter “¶___”). Yet ECFMG failed to respect this right and

protect the public. As a result, Igberase had the opportunity to examine, touch, harass, and

sexually abuse hundreds of women under the guise of providing OB/GYN care. These patients

would never have consented to examination and treatment by Igberase had they known—as

ECFMG did—that Igberase had obtained his credentials through repeated acts of fraud, later

found to constitute a “crime of moral turpitude.” Defendant’s Statement of Undisputed Material

Facts ¶84 (hereinafter “Def.’s SUMF ¶____”).

       ECFMG’s Role in the American Healthcare System

       According to Defendant, “[p]art of ECFMG’s mission is to promote public health and to

protect the public.” ¶76. ECFMG certifies international medical graduates (“IMGs,” defined as

those who attend medical school outside the U.S. and Canada) as eligible to enter US graduate

medical education programs and verifies an IMG’s credentials for hospitals and state medical

licensing boards. Def.’s SUMF ¶2.

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       To practice medicine in the U.S., an IMG must first apply to ECFMG, which verifies

from primary sources that the IMG has obtained a valid diploma from a medical school

recognized by the school’s home country. An IMG must also pass portions of the United States

Medical Licensing Examination (USMLE) and a clinical skills assessment. When these steps are

satisfactorily completed, ECFMG issues a certificate to the IMG. Def.’s SUMF ¶4. ECFMG

also acts as a dean’s office for IMG’s applying to residency programs. ¶68.

       Igberase obtains initial ECFMG certification after failing medical examination
       twice.

       In 1992, Igberase applied to ECFMG to take the Foreign Medical Graduate Examination

in Medical Sciences (“FMGEMS”) and the ECFMG English Test. Igberase provided ECFMG

with a purported 1987 diploma from the University of Ibadan in Nigeria. Def.’s SUMF ¶27; ¶9.

       Igberase failed the FMGEMS of multiple occasions, first failing both the basic medical

science and clinical science components of the July 1992 FMGEMS, and subsequently failing

the medical science component yet again in January 1992. ECFMG SUMF ¶45. Igberase next

applied for and failed Step 1 of the USMLE in September 1992. Id. ECFMG issued him a

certificate in 1993 after he passed steps 1 and 2 of the USMLE. ECFMG SUMF ¶4.

       Igberase obtains second certification under the “Charles” identity. ECFMG
       investigates and revokes Igberase’s certification.

       In 1994, ECFMG received a second application from Igberase, using the name “Igberase

Oluwafemi Charles,” to take steps 1 and 2 of the USMLE examination (again). ¶11. His

application falsely represented he had never taken the USMLE examination before. After

“Charles” successfully completed the USMLE examinations, ECFMG issued him a certificate

under the Charles identity. ECFMG SUMF ¶37.

       Shortly thereafter, ECFMG investigated whether Igberase and Charles were the same

person. Igberase admitted he had lied about his identity and examination history because

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residency programs had rejected him for repeatedly failing the USMLE examinations. ¶14,

ECFMG SUMF ¶40.

       ECFMG referred the matter to its Committee on Medical Education Credentials. The

Committee found Igberase had engaged in “irregular behavior,” invalidated the certificate issued

to “Charles” and revoked Igberase’s original certificate. ¶6. In 1996, after Igberase appealed,

ECFMG’s Review Committee for Appeals limited the period of revocation to five years. ¶18.

Thereafter, the Committee extended the revocation period indefinitely. ¶22. Igberase wrote to

ECFMG and admitted that he had previously taken the MSLE exams. ¶23. Ultimately, the

Committee revoked permanently Igberase’s certificate. ¶24.

       Igberase applies and is certified under the “Akoda” identity.

       While appealing this revocation, Igberase submitted a third application to ECFMG to

take Steps 1 and 2 of the USMLE examination under the name “John Nosa Akoda.” ¶32; Def.’s

SUMF ¶44. This time, he provided ECFMG a purported 1988 diploma issued to “Johnbull

Enosakhare Akoda” from the University of Benin. ¶35. ECFMG takes no position on where or

whether Igberase/“Akoda” actually went to medical school. It merely claims that it verified

Igberase’s diploma from primary sources. Def.’s SUMF ¶28. It did not, however, verify

Akoda’s purported certificate of registration as a physician in Nigeria. ¶9.

       After he passed the required examinations, ECFMG issued “Akoda” a certificate in 1998.

Def’s SUMF ¶52. Akoda then entered a residency program at Jersey Shore Medical Center

(JSMC). ECFMG sent a permanently validated ECFMG certificate for Akoda to JSMC. ¶38;

Def.’s SUMF ¶52.

       ECFMG learns Akoda and Igberase are the same person.

        In August 2000, JSMC notified ECFMG it was investigating whether Akoda had used a

Social Security number issued to Igberase and whether he had attended two other residency

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programs. ¶40; Def’s SUMF ¶57. ECFMG sent Akoda a “charge letter” advising it had

received information alleging he may have engaged in irregular behavior and demanded a

written explanation within fifteen days. ¶44; Def.’s SUMF ¶63. Akoda admitted in a written

response to ECFMG that he used the Social Security number of his “cousin,” purportedly named

Igberase Oluwafemi Charles. ¶46; Def.’s SUMF ¶64. As noted, ECFMG had previously

revoked the certificate of Charles.

       JSMC advised ECFMG that it had suspended Akoda due to “inconsistencies.” Igberase

met with William Kelly (“Kelly”), Manager of ECFMG’s Medical Education Credentials

Department at Kelly’s office. ¶49. This was not the first time Kelly had met Igberase: Kelly

attended a hearing on the revocation of Igberase’s certificate, where Igberase testified. ¶54.

Igberase gave Kelly a fraudulent Nigerian passport and international driving permit listing the

Akoda identity. ¶49; ECFMG SUMF ¶65. But Kelly did not make any effort to verify the

authenticity of these documents, even though he believed Igberase and Akoda were the same

person. ¶50, 82, 84. A phone call to the Nigerian Consulate would have revealed that the

passport was a forgery. ECFMG also failed to compare information on the passport with other

information provided by “Akoda.” For example, ¶38, the Request for Permanent Revalidation of

Standard ECFMG Certificate, was sent on September 2, 1998. Igberase stated on this document

that Akoda’s date of birth was April 17, 1963. The passport he presented to Kelly stated that

Akoda’s date of birth was January 11, 1959. Def.’s SUMF ¶65. The Application to take the

MSLE exams for Akoda stated that Akoda’s date of birth was January 1, 1959. JSMC had

advised ECFMG that Akoda had already used three different dates of birth: April 12, 1962;

January 1, 1993 and April 17, 1963, ECFMG Ex. 28. At this time, he was using a fourth date of

birth. Yet all of this was ignored by ECFMG merely because Akoda denied being Igberase.



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Misuse of a Social Security number was enough for JSMC to dismiss Akoda from its residency

program and for the government to charge and convict him of a crime of moral turpitude. But it

was not enough for ECFMG to even send the matter to its credentials committee. As ECFMG

has testified, usually when a charge letter is sent, the matter is sent to the credentials committee.

¶78. With Akoda, however, ECFMG ignored its usual practice.

       In December 2000, ECFMG learned that JSMC dismissed Akoda from its residency

program, because he had used a false Social Security number and provided JSMC with two

inconsistent green cards. ¶37.

       In a December 22, 2000, memorandum that Kelly intentionally left out of “Akoda’s”

official file, Kelly stated he and the director of JSMC’s residency program believed that Igberase

and Akoda were the same person. ¶59. In that same memo, he reported that he had sent Igbease

an email “and who should reply but Akoda!” Id. Kelly testified that was surprised at this. ¶60.

Somehow, Kelly did not think there was enough information to refer the matter to the ECFMG’s

Credentials Committee for investigation. Had the Committee known, Kelly acknowledges, it

would have investigated and charged Akoda with “providing false information to ECFMG on an

application, among other things,” as it did after discovering that Igberase’s initial application in

his own name was fraudulent. ¶93.

       ECFMG nonetheless represents to Howard University’s residency program, the
       State of Maryland, and Prince George’s Hospital Center that “Akoda” has a valid
       ECFMG certificate.

       In October 2006, Akoda used ECFMG’s Electronic Residency Application System

(ERAS) to apply for residency at Howard University Medical Center. ¶64. The application

included three purported letters of reference. Id. Although not part of the ERAS process, Kelly

undertook to verify the letters’ authenticity, because he doubted Akoda’s credibility. He never



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received responses from the supposed authors. ¶69. Kelly never notified anyone outside the

organization of his concerns, and ECFMG did not investigate the matter further. ¶¶67, 70, 71.

       Later, ECFMG verified Akoda had a valid ECFMG certificate to the Maryland Board of

Physicians and Prince George’s Hospital Center (PGHC). In 2011, Akoda obtained privileges

and became a member of the medical staff at PGHC. He began seeing patients there in 2011.

Def.’x SUMF ¶¶76, 79, 87.

       ECFMG never notified any residency program, hospital, or other entity of the concerning

information it had obtained regarding Igberase/Akoda’s character and fitness—and the

conclusions it drew from that information—until law enforcement became involved. Def.’s

SUMF ¶100.

       Igberase faces six felony charges and pleads guilty to one.

       ECFMG had not investigated the matter further since Akoda’s residency application. In

June 2016, officers executed search warrants at Igberase’s residence, medical office and vehicle.

They found fraudulent or altered immigration documents, medical diplomas, medical transcripts,

letters of recommendation and birth certificates. ECFMG Ex. 15.

       Igberase was charged with six felony counts. On November 15, 2016, Igberase signed a

plea agreement admitting to felony misuse of a Social Security number to obtain a medical

license.

       In 2017, the United States District Court for the District of Maryland sentenced Igberase

to six months incarceration, followed by probation. PGHC terminated his privileges and the

Maryland Board of Physicians revoked “Akoda’s” medical license. ECFMG Ex. 15, Def.’s

SUMF ¶ 84.




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       Damages to the Plaintiffs

       As Plaintiffs allege, none of Akoda's patients knew his true identity as Igberase, but

rather knew Igberase as Akoda. Akoda's penetrations of his patients were clear boundary

violations. From 2011 through 2016, Igberase (using the Akoda identity) acted as a medical

doctor practicing the specialty of obstetrics and gynecology on the Plaintiffs, and others similarly

situated. During this time, he unlawfully practiced medicine and surgery and provided obstetric

and gynecological services to the Plaintiffs, and others similarly situated, at Prince George’s

Hospital Center. None of Igberase’s patients (the Plaintiffs and others similarly situated) knew

his true identity or of his fraudulent background and conduct. Moreover, none of Igberase’s

patients were capable of giving consent for any of the medical services he provided.

       On a continuing basis, Igberase touched and penetrated his patients, constituting battery,

and committed ongoing boundary violations by performing inappropriate examinations of a

sexual nature and utilizing inappropriate language. Igberase also recommended and performed—

or failed to perform—tests, studies, procedures, or surgery that were required.

                                          PLAINTIFFS

       Monique Russell is a 46 year old mother of one child, Luka, born May 25, 2016. ¶95.

Igberase delivered Ms. Russell’s baby by emergency C-section. ¶96. Ms. Russell learned of

Igberase’s guilty plea from a Department of Justice press release. ¶97. Ms. Russell read the

federal sentencing transcript. ¶98. She has suffered from emotional distress as a result of

learning about Igberase. ¶99. Ms. Russell feels Igberase violated her. ¶99. She has difficulty

going to the gynecologist, distrusts the medical community, and distrusts institutions that

credential doctors. ¶100. She also suffers from intimacy issues and anxiety, and feels like a

victim of sexual assault because Igberase examined her vagina under false pretenses. ¶101.



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       Jasmine Riggins is a 27 year old mother of three children, ages 10, 6 and 2. ¶102. She

lives in northeast Washington, DC. She has a high school GED. ¶103. Ms. Riggins was a

patient of Igberase between August 2012 and March 2013. ¶103. Igberase delivered her second

child by C-section. ¶104. Messiah, her son, was born on March 18, 2013. Ms. Riggins was in

the hospital for several days following delivery. ¶104. After the C-section, Ms. Riggins

suffered severe abdominal pain and could not undergo a tubal ligation because of scarring. ¶105.

As a result of what she learned about who she believed to be Akoda, she has suffered emotional

distress. ¶106. After learning the truth about Igberase from a Facebook group, “Embracing

Mommies,” Ms. Riggins felt angry, sad, embarrassed, and ashamed about receiving treatment

from Igberase. ¶106. Ms. Riggins was deeply affected by what Igberase did and felt outraged

because his dishonesty enabled him to perform C-sections, examine women’s genitals, touch and

violate them. ¶106.

       Elsa Powell is a 32 year old mother of five children. ¶107. Ms. Powell initially

encountered Igberase, whom she knew as Charles Akoda, upon presentation to the medical office

of Abdul Chaudry, M.D., in 2014. Ms. Powell had been referred to Dr. Chaudry for obstetric

care, but was assigned to Igberase due to Dr. Chaudry’s unavailability. ¶108. Igberase also

delivered her child at Prince George’s Hospital Center, and saw Ms. Powell post-delivery as

well. ¶109. The delivery was complicated by significant bleeding requiring additional medical

care. ¶109. Ms. Powell trusted that Igberase was a duly licensed and credentialed physician and

suffered emotional harm upon learning that the man she trusted to touch the most intimate parts

of her body and deliver her baby, had lied about his identity and background. ¶110.

       Desiree Evans is a 40 year old mother of one child. ¶111. Ms. Evans first encountered

Igberase, whom she knew as Charles Akoda, at Prince George's Hospital Center for the delivery



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of her child in March of 2016. During Ms. Evans’s labor, Igberase manipulated her clitoris,

telling her he needed to do so to stimulate her to push the baby. ¶112. Ms. Evans has suffered

emotional distress upon learning that physician whom she trusted for medical care

misrepresented his identity. ¶113. Ms. Evans is afraid to seek medical care for her and her child

and has lost trust in the medical system. ¶113.

                                      LEGAL STANDARD

       “Granting summary judgment is an extraordinary remedy.” Doe I v. Evanchick, 355 F.

Supp. 3d 197, 213 (E.D. Pa. 2019). Summary judgment is appropriate "if the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law." Fed. R. Civ. P. 56(a). In reaching this decision, the court must determine whether

"the pleadings, depositions, answers to interrogatories, admissions, and affidavits show there is

no genuine issue of material fact and that the moving party is entitled to judgment as a matter of

law." Nicini v. Morra, 212 F.3d 798, 805-06 (3d Cir. 2000).

       The party moving for summary judgment has the initial burden "of informing the district

court of the basis for its motion, and identifying those portions of the pleadings, depositions,

answers to interrogatories, and admissions on file, together with the affidavits, if any, which it

believes demonstrate the absence of a genuine issue of material fact." Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986) (internal quotation marks omitted). Only once that burden has been

met, must the nonmoving party set forth "specific facts showing that there is a genuine issue for

trial" or the factual record will be taken as presented by the moving party and judgment will be

entered as a matter of law. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986).

       When ruling on a motion for summary judgment, the court shall consider facts in the light

most favorable to the non-moving party and draw all reasonable inferences in that party's favor.
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Scheidemantle v. Slippery Rock Univ. State Sys. of Higher Educ., 470 F.3d 535, 538 (3d Cir.

2006).

                                          ARGUMENT

  I.     The Plaintiffs May Recover Damages for their Emotional Distress

         Pennsylvania law recognizes that negligent acts can result in compensable emotional

distress. While Pennsylvania historically permitted recovery for emotional distress only where

this distress was accompanied by “physical impact,” Pennsylvania courts have expanded the

grounds upon which plaintiffs can recover for emotional distress damages, even in the absence of

physical impact, including when the plaintiff is in the zone of danger and at risk of an immediate

physical injury; where the plaintiff had a contemporaneous perception of a tortious injury to a

close relative; or where the defendant had a contractual or fiduciary duty toward the Plaintiff. See

Niederman v. Brodsky, 261 A.2d 84 (Pa. 1970) (adopting the zone of danger as a basis for an

NIED claim); Sinn v. Burd, 404 A.2d 672 (Pa. 1996) (recognizing a bystander’s right to pursue

an NIED claim for observance of injury to a close relative); Toney v. Chester Cty. Hosp., 36

A.3d 83, 89 (Pa. 2011)(persuasive opinion of an evenly divided court, recognizing that a plaintiff

can bring an NIED claim based upon a plaintiff’s special relationship with a defendant).

            1. The Plaintiffs have sustained a physical impact under the standards for
               recover of emotional distress damages.

         A “physical impact” occurs “where … a plaintiff sustains bodily injuries, even though

trivial or minor in character, which are accompanied by fright or mental suffering directly

traceable to the peril in which the defendant's negligence placed the plaintiff, then mental

suffering is a legitimate element of damages.” Niederman v. Brodsky, 261 A.2d 84, 86 (Pa.

1970), quoting Potere v. Philadelphia, 112 A. 2d 100, 104 (Pa. 1955) (emphasis original); see

also Brown v. Phila. College of Osteopathic Med., 674 A.2d 1130 (Pa. Super. 1996). Neither


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Niederman nor Sinn abrogated a plaintiff’s right to recover for emotional distress suffered from a

physical impact or injury. Brown, 674 A.2d at 1134; Shumosky v. Lutheran Welfare Svcs. of

Northeastern Pa., 784 A.2d 196 (Pa. Super. 2001).

       If the slightest impact has occurred, “the plaintiff can recover for any damages which

resulted from the accompanying fright.” Niederman, 261 A.2d at 86; see also Zelinsky v.

Chimics, 175 A.2d 351, 353 (Pa. Super. 1961) (“[I]f a plaintiff receives physical injury or

physical impact to any degree, no matter how slight, he is entitled to recovery for fright or

emotional distress.”). The requirements of the impact rule have been met by mere touching that

results in no physical injury. See Brown, 674 A.2d at 1134 (finding that the plaintiff was

physically impacted after a miscarriage, when a nurse handed her the deceased fetus to hold);

Stoddard v. Davidson, 513 A.2d 419 (Pa. Super. 1986) (finding that the jostling of an

automobiles occupants while it drove over a corpse was a "physical impact"); Korinko v. Come

Ready Nutrition, LLC, 2020 WL 4926177 (W.D. Pa. Aug. 21, 2020) (“emotional distress caused

by unwanted touching could plausibly fall under … the "impact rule.").

       It is not necessary that the physical impact occur directly with the defendant, nor is it

necessary that the impact occur simultaneously with the negligent act. In this regard, the

Stoddard Court explained as follows:

       In Potere, . . . the city negligently maintained a water line which leaked into an
       underground tunnel dug by a contractor which caused subsidence and a cave-in of
       the road while plaintiff was driving a truck on it. One of plaintiff’s claims was for
       negligent infliction of emotional distress. In Potere as here, the impact was not
       directly with the defendant, nor did it occur simultaneously with the
       negligent act. However, as long as the plaintiff’s suffering or mental fright is
       “directly traceable to the peril in which the defendant’s negligence placed the
       plaintiff, then mental suffering is a legitimate element of damages.”

Stoddard, 513 A.2d at 422 (citing Potere v. City of Phila., 112 A.2d 100, 104 (Pa. 1955))

(emphasis added).

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       Each of the Plaintiffs were subjected to physical medical treatment, satisfying this rule.

Each of the Plaintiffs testified that Igberase engaged in physical contact, without appropriate

consent, satisfying the physical impact requirement. He delivered the children of each of the

Plaintiffs and in some instances performed Caesarean sections as part of the delivery process

¶96; ¶ 104; ¶109; ¶ 112. In some instances, Igberase engaged in patently offensive physical

contact. ¶112 (“[H]e was fingering my clitoris.”). Because there is a physical component to the

Plaintiffs’ interaction with Igberase that led to their subsequent emotional harm, the physical

injury standard for recovery for emotional distress has been met.

           2. The reasoning which permits recovery for those in the “zone of danger”
              supports recovery for emotional distress damages here.

       In Niederman, in adopting the zone of danger rule, the court held that permitting recovery

for emotional distress in the absence of physical impact presented no insurmountable challenge

to establishing medical causation and no appreciable risk of fictious or fraudulent claims.

Niederman v. Brodsky, 261 A.2d 84, 90 (Pa. 1970). It also held that the fear of “an avalanche of

claims” was neither justified, nor an appropriate basis to restrict access to justice for those who

have suffered a substantial wrong. Id. The Neiderman court chose to “abandon the requirement

of a physical impact as a precondition to recovery” in certain circumstances where the plaintiff

was in personal danger of physical impact and actually feared the impact. Id. at 90.

       Here, the Plaintiffs underwent life threatening and intensively private gynecologic and

obstetric procedures by an imposter, operating under a fictious identity with fictitious and

fraudulently obtained credentials. This conduct, which occurred as a direct and proximate result

of ECFMG’s failure to carry out its gatekeeping role with respect to IMGs, presented substantial

risk of physical harm to the Plaintiffs, given the potential for serious medical complications.

Upon realizing this conduct occurred, the Plaintiffs suffered severe emotional distress. The


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Court in Niederman recognized that the conventional justifications for the physical impact rule

were without basis, and adopted a more flexible standard for emotional distress damages,

recognizing “the gravity of appellant's injury and the inherent humanitarianism of our judicial

process and its responsiveness to the current needs of justice.” Niederman, 261 A.2d 85. The

Plaintiffs here are similarly entitled to relief.

            3. Historical concerns limiting recovery for emotional distress do not apply
               here.

        The Pennsylvania Supreme Court has evaluated historical restrictions on recovery of

emotional distress damages and concluded that medical science has sufficiently developed such

that under appropriate circumstances, a Plaintiff should have an opportunity to present his case to

a jury even in the absence of a physical injury. Niederman v. Brodsky, 261 A.2d 84 (Pa. 1970).

The Court has further recognized that conventional tort principals of foreseeability will provide

the necessary limits on the scope of a defendants’ liability. Niederman v. Brodsky, 261 A.2d 84

(Pa. 1970); Sinn v. Burd, 404 A.2d 672 (Pa. 1996).

        Here, it was highly foreseeable to ECFMG that its negligence would result in emotional

distress on the part of patients subjected to treatment from unqualified individuals, particularly

those practicing as OBGYNs. Part of ECFMG’s mission in certifying foreign medical graduates

to practice medicine in the United States is to promote public health and to protect the public.

¶¶6, 76. ECFMG negligently failed to carry out its mission, subjecting patients to medical and

obstetrical care from an unqualified OBGYN. It is highly foreseeable that these circumstances

would result in severe emotional distress. The relationship between an OBGYN and its patients

is one which the Supreme Court has acknowledged is “very sensitive and emotionally charged”

and has the potential to cause compensable emotional distress. Toney, 36 A.3d at 95. Here, as a

result of the Defendants’ negligence, the Plaintiffs have experienced shock, nausea, nervous


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sweating, anxiety, disgust, feelings of having been violated, and have developed distrust in the

medical community. ¶99; ¶106; ¶110; ¶113. In some cases, the substantial and severe emotional

distress suffered by the Plaintiffs has impacted their intimate relationships. ¶101; ¶113.

       Additionally, medical causation for the Plaintiffs’ damages is supported by expert

testimony. Three of the Plaintiffs have been evaluated by Christine Tellefsen, M.D., a specialist

in forensic psychiatry. Dr. Tellefsen has offered a report based on her evaluation of Plaintiffs

Riggins, Powell, and Evans. Def.’s SUMF ¶58. In each case, Dr. Tellefsen has concluded that

the Plaintiffs have suffered emotional distress as result of learning that the individual they trusted

as their physician to perform obstetric and gynecologist procedures was in fact a fraud. Id. The

Plaintiffs have met their burden of establishing medical causation with respect to these damages

for purposes of summary judgment.

       The circumstances of this case, wherein an individual without a medical diploma or

lawful medical license, relied upon a false identity to perform gynecologic and obstetric

procedures and examinations on the Plaintiffs, resulting in emotional distress of patients, meets

the requirements of Pennsylvania law for the recovery of damages for emotional distress. The

Plaintiffs’ emotional distress is a predictable and foreseeable result of ECFMG’s failure in

adequately carrying out its gatekeeping role, particularly given the special and emotionally

charged relationship between a patient and their OBGYN. See Toney, 36 A.3d at 95. The

underlying conduct physically impacted the Plaintiffs, placed them in reasonable fear of potential

medical complications, and placed their newborn children at similar risk of harm. The Plaintiffs’

emotional distress is compensable under Pennsylvania law.




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    II.   ECFMG Owed the Plaintiffs A Duty of Care;

             1. ECFMG has undertaken a critical gatekeeping role in the United States
                Medical system for the protection of patients, and thereby owes a duty of
                care to patients.

          In determining the existence of a duty of care, the time-honored test formulated by Judge

Cardozo is that "[t]he risk reasonably to be perceived defines the duty to be obeyed." Migyanko

v. Thistlethwaite, 419 A.2d 12, 14 (Pa. Super 1980), (citing Palsgraf v. Long Island Railroad

Co., 162 N.E. 99, 100 (N.Y. 1928)). “[O]nly when the question of foreseeability is undeniably

clear may a court rule as a matter of law that a particular defendant did not have a duty to a

particular plaintiff.” Campo v. St. Luke's Hosp., 755 A.2d 20, 24, 755 (Pa. Super 2000).

          Pennsylvania law recognizes that a Defendant owes a duty to a Plaintiff where the

Defendant has undertaken to render services necessary for the protection of third persons under

the circumstances set forth in the Restatement (Second) of Torts, § 324. Cantwell v. Allegheny

Cty., 483 A.2d 1350, 1353 (Pa 1984); DiMarco v. Lynch Homes-Chester Cty., Inc., 583 A.2d 422

(1990). Additionally, when necessary to evaluate a previously unrecognized duty1,

Pennsylvania courts have held that the determination of whether a duty exists in a particular case

involves the weighing of several discrete factors, which include (1) the relationship between the

parties; (2) the social utility of the actor's conduct; (3) the nature of the risk imposed and

foreseeability of the harm incurred; (4) the consequences of imposing a duty upon the actor; and

(5) the overall public interest in the proposed solution. Walters v. UPMC Presbyterian


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  As Pennsylvania already recognizes a duty under Restatement (Second) of Torts, § 324, it is not
necessary for the Court to evaluate the Althaus factors. See, Walters v. UPMC Presbyterian
Shadyside, 187 A.3d 214, 222 (Pa. 2018); Alderwoods (Pa.), Inc. v. Duquesne Light Co., 106
A.3d 27, 40-41 (2014) ("we find [the Althaus factors] to be more relevant to the creation of new
duties than to the vindication of existing ones. It is not necessary to conduct a full-blown public
policy assessment in every instance in which a longstanding duty imposed on members of the
public at large arises in a novel factual scenario. Common-law duties stated in general terms are
framed in such fashion for the very reason that they have broad-scale application.")
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Shadyside, 187 A.3d 214, 222 (Pa. 2018), citing Althaus v. Cohen, 756 A.2d 1166, 1169 (Pa.

2000); see also Commerce Bank/Pennsylvania v. First Union Nat. Bank, 2006 PA Super 305 (Pa.

Super 2006). ECFMG owes a duty to the Plaintiffs both under the Restatement § 324A and also

in consideration of the Althaus factors.

            2. The Defendants owe the Plaintiffs a duty under the Restatement (Second) of
               Torts § 324A

        ECFMG is liable to the Plaintiffs under the Restatement (Second) of Torts, § 324. This

provision provides:

         One who undertakes, gratuitously or for consideration, to render services to
         another which he should recognize as necessary for the protection of a third
         person or his things, is subject to liability to the third person for physical harm
         resulting from his failure to exercise reasonable care to protect his undertaking,
         if

         (a) his failure to exercise reasonable care increases the risk of such harm, or

         (b) he has undertaken to perform a duty owed by the other to the third person, or

         (c) the harm is suffered because of reliance of the other or the third person upon
         the undertaking.

            a) ECMFG undertook to render to services necessary for the protection of third
               persons – the Plaintiffs.

        ECFMG’s stated mission is to promote quality health care for the public by certifying

international medical graduates for entry into U.S. graduate medical education. Def.’s SUMF ¶2.

If their certification process promotes quality healthcare, it is axiomatic that attempts to thwart

the legitimacy of their certification would put patients at risk. ECFMG undertook to provide

primary source verification, along with testing of basic competence, for the benefit of residency

programs, hospitals, and medical boards, who relied upon ECFMG’s services in granting IMGs

licensure and privileges. These services are necessary for the protection of that IMG’s future

patients, including the Plaintiffs.


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           b) ECMFG’s conduct meets each of the three criteria of liability under § 324A.

       In this circumstance, ECFMG’s negligence in granting Igberase certification under the

Akoda identity in 1996, despite numerous irregularities, not only increased, but was the inciting

cause for the risk of harm to the Plaintiffs. In the absence of ECFMG certification, or had

ECFMG revoked Igberase’s certification when still more irregularities were noted in 2000,

Igberase would not have been able to practice medicine whatsoever. ECFMG’s negligence

increased the risk of harm to the Plaintiffs as under subsection (a) of § 324A.

       ECFMG is liable to the Plaintiffs under subsections (b) and (c) of § 324 as well. ECFMG

certification is a condition precedent for IMGs to practice medicine in the United States. Other

entities, like residency programs, medical boards, and future employers, rely on the service

provided by ECFMG in credentialing and licensing IMGs. ¶¶ 75, 114. ECFMG has therefore

undertaken to perform a duty which hospitals and other medical employers otherwise owe to

their patients under subsection (b) of § 324 – the duty to provide appropriate credentialing of

medical providers. See, e.g. Welsh v. Bulger, 698 A.2d 581, 585 (Pa 1997) (recognizing a

hospital’s duty to patients to select and retain competent physicians). Additionally, as set forth

within subsection (c) § 324, the emotional distress the Plaintiffs have suffered occurred because

subsequent medical entities – residency programs, medical boards and employers – relied on

ECFMG’s undertaking. See, e.g. Doe v. Bradley, 58 A.3d 429, 461 (Del. Super. Ct. 2012)

(finding that the Plaintiffs, minors sexually abused by a pediatrician, plead a viable claim under §

324A as to the Delaware Medical Society, a voluntary association of physicians, where that

entity was made aware of a complaint regarding the physician’s conduct, performed an initial

investigation, but took no further act to further report the physician to the Delaware Board of

Medical Practice). Thus ECFMG possesses a duty under each of the three potential criteria of

Restatement § 324A. ECMFG has undertaken to provide a credentialing service, for a fee, to
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promote quality and safe healthcare, with full knowledge that medical entities like residencies

and hospitals rely upon their services and determinations. It must be held liable for its failure to

exercise due care.

           c) The Plaintiffs have suffered physical harm as defined under the Restatement

       The Defendants incorrectly assert that the Plaintiffs have not suffered physical harm.

Under the Restatement, the words “physical harm” “denote the physical impairment of the

human body, or of land or chattels.” Restatement (Second) of Torts § 7. A comment to § 7

explains that where the harm is impairment of the body, it is called “bodily harm,” which in turn,

is defined in Restatement (Second) of Torts § 15, as any physical impairment of the condition of

another’s body, or physical pain or illness. A comment to section 15 explains further that

“[t]here is an impairment of the physical condition of another’s body if the structure or function

of any part of the other’s body is altered to any extent even though the alteration causes no other

harm.” Id. at cmt. A.

       In this action, each of the Plaintiffs has undergone extensive medical care, without

appropriate consent. This conduct represents physical and bodily harm under the Restatement.

In fact, Illustration 1 to section 15 provides the example where a physician provides unconsented

medical care as bodily harm:

         A has a wart on his neck. His physician, B, advises him to submit to an
         operation for its removal. A refuses to do so. Later A consents to another
         operation, and for that purpose is anesthetized. B removes the wart. The removal
         in no way affects A’s health, and is in fact beneficial. A has suffered bodily
         harm.

Restatement (Second) of Torts, § 15. Here, Igberase performed medical procedures on each of

the Plaintiffs that qualify as alteration of the body. Igberase delivered the children of each of the

named Plaintiffs. ¶96; ¶ 104; 109; 112. He performed a Cesarean section on Ms. Russell, Ms.

Riggins, and Ms. Evans. ¶96; ¶104; ¶112 In some instances, the unauthorized physical contact

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went beyond performing C-sections and/or delivering children and included sexualized conduct.

¶112. Some of this unconsented medical treatment involved permanent medical injury. For

example, Ms. Riggins testified that she is unable to receive a tubal ligation as a result of the C-

section performed by Igberase. ¶105. Igberase’s medical treatment of the Plaintiffs satisfies the

physical harm standard of the Restatement (Second) of Torts § 324A.

           d) ECFMG’s contention that they should be immune on the basis of an alleged
              instruction from law enforcement after Igberase had begun practicing
              medicine is hearsay and irrelevant.

       ECFMG next contends that there was a window of time in which ECFMG was “told not

to take action.” First, this is hearsay, and not supported by any evidence beyond the

representations of ECFMG personnel. The only evidence offered in support of this fact is an

email sent by ECFMG Assistant Vice President for Operations, Kara Corrado, to an employee of

the National Board of Medical Examiners, stating that they did not move forward with their

irregular behavior process “[a]t Maryland’s request.” ECFMG Exhibit 51. This is inadmissible

hearsay within hearsay, as a statement made by Kara Corrado, describing a statement allegedly

made by an unidentified individual within the United States Attorneys Office, to prove the truth

of the matter asserted – that ECFMG was precluded from taking action on the “Akoda”

certification during the investigation by law enforcement. Fed. R. Evid. 801; 802; 805. This e-

mail and any testimony from Ms. Corrado do not meet any hearsay exception. Fed. R. Evid. 803;

804. It can neither be admitted at trial nor support a motion for summary judgment. Second, to

the extent this is accurate and admissible, it is reasonably foreseeable that forbearing from

contacting hospitals and patients to warn them about Igberase would prolong the period within

which the Plaintiffs would be exposed to Igberase. ECFMG is liable for the foreseeable

consequences of its negligence. Further, ECFMG had more than sufficient opportunity to further



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investigate Igberade’s fraud and revoke the Akoda certification over many years prior to the US

Attorney’s office beginning its investigation.

           e) Pennsylvania case law interpreting Restatement § 324A supports the
              imposition of liability in this case.

       Defendant’s citation to Cantwell v. Allegheny Cty., 483 A.2d 1350 (1984) is misplaced.

In Cantwell, the Plaintiff had been arrested and charged with multiple rapes, after a rape victim

identified him as the perpetrator. Cantwell v. Allegheny Cty., 506 Pa. at n.7. As part of

discovery in his criminal matter, the Plaintiff requested certain testing from the crime lab

performing laboratory testing for the police, which he believed would exculpate him. The crime

lab either refused to test the samples, on the basis that the tests would be unreliable, or performed

the tests incorrectly. Later, the crime lab tested and retested certain samples, and on the basis of

the results, the district attorney’s office concluded that the Plaintiff could not have been the rapist

in three of the eight rapes. The Plaintiff brought suit against the crime lab for mistaken

incarceration, alleging that the crime lab should have known that its services were necessary for

the protection of criminal defendants, and that they negligently failed to perform testing in the

manner the Plaintiff deemed necessary.

       The court found that “the Crime Lab does not exist or render its services for the

protection of suspects or potential suspects; rather, its purpose is to assist the police and the

Commonwealth in collecting and analyzing evidence which may be relevant in presenting a case

to a jury.” Cantwell, 483 A.2d 1354. The court further reasoned that the discretion of the

Commonwealth in conducting criminal prosecutions precluded the crime lab from being able to

foresee how their decisions may have impacted outcomes for criminal defendants. In particular,

the court noted that even if the testing had been performed as requested, the Plaintiff may still

have been charged on the basis of other evidence, including eyewitness evidence.


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       Here, ECFMG renders its service for the protection of patients, consistent with its self-

described mission to promote the quality of healthcare. Additionally, while evidence from the

crime lab was just one piece of the puzzle, ECFMG plays a unique and ultimately determinative

role with respect to their role in the certification of IMGs. Subsequent entities like residency

programs and hospitals rely on their determination that, for example, an IMG attended medical

school, and lack any effective ability to consider other evidence regarding this conclusion.

       The circumstances of this case are more analogous to DiMarco v. Lynch Homes-Chester

Cty., Inc., 583 A.2d 422 (1990), wherein the Pennsylvania Supreme Court found that a physician

was liable to a third party under the Restatement (Second) of Torts § 324A, for having given a

patient incorrect information regarding the risks of spreading a communicable disease. In that

case, the Court noted that “physicians are the first line of defense against the spread of

communicable diseases, because physicians know what measures must be taken to prevent the

infection of others.” The Court further noted that advising patients on precautions to prevent the

spread of disease were “taken not to protect the health of the patient, whose well-being has

already been compromised, rather such precautions are taken to safeguard the health of others.”

DiMarco v. Lynch Homes-Chester Cty., Inc., 583 A.2d 422 (1990). “Thus, the duty of a

physician in such circumstances extends to those ‘within the foreseeable orbit of risk of harm.’”

Id. (quoting Doyle v. South Pittsburgh Water Co., 199 A.2d 875 (1964)). Here, ECFMG is not

only the first line of defense against fraudulent conduct of the type undertaken by Igberase—as

the only entity which provides primary source verification of foreign medical graduates—but

also a line of defense on which state medical boards, hospitals, and other healthcare institutions

rely in their own efforts to safeguard patients. ECMFG possesses libraries of information not

available to subsequent medical entities, and those subsequent medical entities rely upon that



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determination, without the resources to engage in their own assessment of the available evidence.

ECFMG Ex. 3. Instead, ECFMG provides a conclusion to subsequent medical entities, with the

knowledge and expectation that it will be relied upon, without further discretion, by residency

programs and hospitals. ¶75.

            3. The Defendants Owe the Plaintiffs a Duty under the Atlhaus factors.

        In Walters v. UPMC Presbyterian Shadyside, 187 A.3d 214 (Pa. 2018), the Supreme

Court applied the Althaus factors to consider whether a defendant hospital owed a duty to third

parties who had been infected with hepatitis by the Defendant’s former employee. The

Defendant hospital had been made aware that the employee, a radiology technician, diverted

drugs by using a fentanyl syringe intended for a patient, and later refilled that syringe with saline.

The defendant discharged the employee, allegedly reported this conduct to the state Attorney

General, but did not report the conduct to US Drug Enforcement Agency. Id. at 242. The

radiology technician went on to employment with other health care providers, where he

continued his conduct and caused patients to be infected with hepatitis. Id. at 219. In evaluating

whether the medical center owed a duty to future patients of other health care providers, the

Pennsylvania Supreme Court applied each of the Althaus factors, concluding that the medical

center did owe future patients a duty to report this conduct to the DEA. Id. at 240. The

existence of ECFMG’s duty is even more obvious here, where ECFMG has undertaken a unique

gatekeeping role in certifying foreign medical graduates in the interest of public health, with the

understanding that residency programs and future potential employers will rely upon that

certification.

            a) Relationship of the Parties

        A defendant need not have a direct relationship with the plaintiff to impose a duty. See,

Walters 187 A.3d 214 (imposing a duty on a hospital as to patients of a separate medical

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facility); Emerich v. Phila. Ctr. For Human Dev., Inv., 720 A.2d 1032, 1044 (Pa. 1998) (holding

that a mental health counselor had a duty to protect a woman from her ex-boyfriend who

threatened to harm her during a counseling session); DiMarco v. Lynch Homes-Chester Cty.,

Inc., 583 A.2d 422 (1990) (physician liable to third parties for harm resulting negligent medical

advice to patient).

        As set forth above, ECFMG owes a duty to patients pursuant to Restatement § 324A, on

the basis of ECFMG’s undertaking to provide services that others rely upon for the protection of

patients. “ECFMG—like professional membership organizations and accreditation

associations—is a ‘quasi-public’ private organization because it ‘exercises significant authority

in areas of public concern.’” Tulp v. Educ. Comm’n for Foreign Med. Graduates, 376 F. Supp.

3d 531, 543 (E.D. Pa. 2019). ECFMG’s existence is premised on its unique role in verifying the

credentials of foreign medical graduates and ensuring a basic level of competence to practice

medicine on patients in the United States through the administration of the USMLE. ¶76. No

other entity provides this service for IMGs, and each subsequent step of an IMG’s journey to

become a physician relies upon ECFMG’s certification. ¶¶ 5, 75. ECFMG’s own staff

acknowledges the role they play in ensuring quality medical care in the US. ¶ ¶ 6, 76. The

Pennsylvania Superior Court acknowledged the duty that entities like ECMFG play with respect

to patient safety.

        In this particular instance, ECFMG had numerous opportunities to restrict Igberase’s

ability to practice medicine under the Akoda identity, beginning immediately with Akoda’s

application, which contained numerous irregularities, and continuing as ECFMG was later

advised of yet further and substantial irregularities and evidence of fraud. Under these

circumstances, particularly in the context of ECFMG’s prior knowledge of Igberase’s



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misconduct, ECFMG possessed a special relationship both as to Igberase, whose conduct they

had a unique ability to restrict and control, and his ultimate patients, who would be harmed by

this misconduct.

            b) Social Utility of the Actor’s Conduct

        The second Althaus factor has been interpreted to consider the social utility of asserted

negligent conduct, if any, the social utility of imposing a duty, or the social utility of the

defendant’s conduct generally. See Walters, 187 A.3d at 235; Phillips v. Cricket Lighters, 841

A.2d 1000, 1009 (2003). In this case, despite conducting an interview of Igberase, learning that

“Akoda” had, at a minimum, used a fraudulent social security number in his application, and

reaching the belief that “Akoda” was in fact Igberase, ECFMG elected not to bring this matter to

the ECFMG Credentials Committee for review. There is no social utility in this behavior. The

underlying facts of this case show that ECFMG disregarded information from credible sources,

that if acknowledged, would have prevented Igberase from practicing medicine. ¶¶ 42, 72.

ECFMG claims it has no role in whether an IMG is accepted to a residency program, and yet the

primary materials submitted for acceptance into a residency is their graduate record (which is

this case ECMFG negligently failed to detect as fraudulent), and their ECMFG examination

record, which demonstrates medical competence. Id. The Defendant contends that there is little

social utility in imposing a duty on ECFMG to carry out its functions in a manner consistent with

the standards of care. Instead, ECFMG suggests that subsequent medical entities, like hospitals

or residencies, should second guess their determination and should have disregarded ECFMG’s

decision to maintain a certification under the “Akoda” identity.

        ECFMG may not now disclaim its role in the certification of IMGs, where so many

entities have relied on their services as the sole accreditation association for IMGs. In the

absence of certification, Igberase would not have been eligible for residency, and subsequent
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medical entities, including Howard University and Prince George’s Hospital Center, would not

have relied upon ECFMG’s gatekeeping services in allowing him to engage in the practice of

medicine. ¶ 114. This factor clearly favors imposition of a duty to ECFMG. ¶ 5.

           c) Nature of the risk imposed and foreseeability of the harm incurred.

       Just as in Walters, [i]t would be difficult to overstate the risk to public health that this

case presents." Walters, 187 A.3d at 236. Igberase forged multiple medical school transcripts,

repeatedly failed basic assessments of competence administered by ECFMG under a variety of

identities, used ECFMG to pass forged letters of recommendation to residency programs, and

then obtained a medical license under a fictious name. He then provided intensively personal

and risky obstetric and gynecologic operations and assessments on unsuspecting patients under

this assumed name. The risk to patients associated with this conduct is clear and expansive

given the number of years during which Igberase was permitted to practice medicine.

       In Walters, in considering this factor, the court concluded that it was reasonably

foreseeable on the part of his employers that (1) if the radiologist repeated this conduct, he could

go on to create a serious risk of transmission of infectious disease to future patients; and (2) that

given the nature of addiction, this technician would likely to engage in this conduct again.

Walters, 187 A.3d at 236. The Court concluded that “taking no action beyond terminating [the

technician] from the hospital created a foreseeable risk that [the technician] would continue to

work in the field and repeat the same dangerous behaviors. Id at 237.

       Here, it is plainly foreseeable to ECFMG that failing to take action on Igberase’s fraud

would subject obstetric and gynecologic patients to treatment from an individual without

appropriate education, and without any lawful credentials or licensure to do so. This is

particularly true as ECFMG’s relevance in the United States medical system depends on

residency programs and hospitals to be able to rely upon ECFMG’s determination.
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       This case is clearly distinguishable from Fragale v. Wells Fargo Bank, N.A., 480 F. Supp.

3d 653 (E.D. Pa. 2020), cited by the Defendant. In Fragale, the plaintiff was the victim of a

fraudulent scheme perpetrated by a third party, in which the plaintiff was induced to wire money

to a Wells Fargo bank account under false pretenses. The wired funds were immediately

withdrawn by the third party, preventing recovery of those funds. The plaintiff alleged that

Wells Fargo owed the plaintiff a duty of care, and should have recognized the potential for fraud,

given that they were “generally on notice that such schemes exist.” Fragale, 480 F. Supp. 3d

664. The Court noted, “Plaintiff does not allege any facts to suggest that when Wells Fargo

actually opened the [third party’s] Account, it should have been on notice that this particular

account was being opened for criminal or fraudulent purposes.” Fragale, 480 F. Supp. 3d, 664.

Here, very unlike Fragale, ECFMG had notice that Igberase had engaged in fraud in the past,

believed that Igberase and “Akoda” were the same person, and certainly knew that he would

likely go on to treat patients under this fraudulent identity. More than just reasonably

foreseeable, ECFMG knew precisely what Igberase intended to do and did nothing to prevent it.

Instead, ECFMG’s, gave him the continued opportunity and ability to do so.

       Pennsylvania courts have found far less predictable outcomes foreseeable, for purposes of

establishing a duty. In Anderson v. Bushong Pontiac Co., 171 A.2d 771 (Pa. 1961), examined by

the Fragale Court, the Court held that a car dealership had a duty to a pedestrian, where that

pedestrian had been struck by a vehicle stolen from the dealership. In Anderson, the defendant

car dealership was aware that teenagers had frequently trespassed on the lot and had discovered

that the keys to one of the cars had been stolen. The dealership left the lot unattended, during

which time a teenager stole the vehicle, drove it in a reckless manner, and injured the pedestrian.

Id. at 772. The court concluded that it was reasonably foreseeable that a teenager might steal the



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car and that the plaintiff, as a pedestrian, was within the class of persons endangered by the

defendant's negligence. Anderson, 171 A.2d, 775. The foreseeability of harm is far more

obvious here, where ECFMG was on notice that “Akoda” was a fictious identity held by

Igberase, created for the purpose of rendering medical treatment to patients.

           d) The consequences of imposing a duty upon the actor

       Even where imposing a duty upon a defendant could come at potentially great cost

(which is not the case here), “the potential for tremendous harm to innocent patients cannot be

gainsaid.” Walters, 187 A.3d at 238. In Walters, the Court observed that it needed to determine

who should bear the cost of harm: the defendant with the opportunity and/or obligation to take

steps to prevent the harm, or the victims and society at large. Walters, 187 A.3d at 238-39.

       In Walters, the Court acknowledged the breadth of potential liability which could result

from imposing a duty upon a medical center to report the conduct of radiology technician, but

ultimately found that the social utility of imposing this duty outweighed the costs. Walters, 187

A.3d at 240. The court imposed this duty despite the fact that the facility’s reporting obligations

were tangential to the business of the defendant – providing medical care. Here, imposition of a

duty simply requires the Defendant to do what it exists to do – verify the applications of IMG,

assess them for potential fraud, and revoke their certifications when necessary. The Defendant

characterizes the duty the Plaintiffs seek to impose as one to “disclose suspicions about Dr.

Akoda2 to third parties” or to “become a guarantor of each IMG’s trustworthiness.” These are

not the duties at issue here. Instead, ECMFG had a duty to investigate and ultimately revoke the

certification granted to “Akoda,” having been provided notice and soon thereafter confirmation


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 The Defendants continue to refer to Igberase as “Dr. Akoda,” despite ECFMG’s
acknowledgement that Akoda never existed, there is no evidence to suggest that Igberase
possessed a valid medical degree, and that any credential obtained under the Akoda identity was
premised on countless substantive misrepresentations and fraud.
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that this certification was granted on the basis of fraud. ¶¶ 42-72.. This duty is limited and

consistent with the primary role and mission of ECFMG. Imposing a duty on ECFMG to perform

this function in a manner consistent with the standards of care imposes no further cost or burden.

           e) The overall public interest in the proposed solution

       The public interest clearly weighs in favor of imposing a duty to require ECFMG to

revoke certifications found to have been obtained through fraud. Such a duty is necessary to

protect future patients from inadequately trained individuals and those engaged in acts of

repeated fraud. This duty is limited and narrow, and is necessary where, as here, ECFMG is in a

unique position to identify fraud, and where ECFMG’s determination regarding an IMG’s

training and background will be relied upon by subsequent medical entities. ECFMG cannot

disclaim responsibility when their failures result in harm to patients. Sound public policy favors

ECFMG taking all reasonable steps to prevent improperly certified IMGs from treating patients.

           4. ECFMG is liable to Plaintiffs under Maryland law

       ECFMG asserts that there are two conflicts of law between Maryland and Pennsylvania,

and that Maryland law should apply. As briefed in connection with the Plaintiffs’ Motion for

Class Certification, and consistent with this Court’s Order Granting Certification, Pennsylvania

law applies to this dispute. Russell v. Educ. Comm'n for Foreign Med. Graduates, 2020 WL

1330669 (E.D. Pa. Mar. 23, 2020). Further, regardless of whether Maryland or Pennsylvania

law applies, ECFMG is liable to the Plaintiffs for emotional distress.

       Pennsylvania has a strong interest in regulating the conduct of its domiciliary

corporations by applying its substantive tort law, and other jurisdictions have no interest in

applying their own law if, as the Defendants claim, doing so would limit their citizen’s right to

recover for the benefit of a foreign corporation. Lacey v. Cessna Aircraft Co., 932 F.2d 170,

187–88 (3d Cir. 1991). As this Court has already concluded, Pennsylvania law should apply with

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respect to all the claims in this case. Russell v. Educ. Comm'n for Foreign Med. Graduates, 2020

WL 1330669 (E.D. Pa. Mar. 23, 2020).

       Even assuming arguendo that Maryland law applies, however, ECFMG is liable to the

Plaintiffs for their emotional distress. As this Court has already recognized, although Maryland

does not recognize negligent infliction of emotional distress as a distinct claim, Maryland

permits recovery for emotional distress arising out of negligence, and the same result would

ensue under Maryland or Pennsylvania law. Russell v. Educ. Comm'n for Foreign Med.

Graduates, 2020 WL 1330669 (E.D. Pa. Mar. 23, 2020) (citing Hamilton v. Ford Motor Credit

Co., 502 A.2d 1057, 1066 (Md. Ct. Spec. App. 1986)). Damages for emotional distress are

available in Maryland where there has been a physical impact, such as damages arising out of the

provision of medical care, as here, or in the absence of a physical impact, where a Plaintiff has

suffered an injury that is “capable of objective determination.” See, e.g., Vance v. Vance, 408

A.2d 728, 733–34 (Md. 1979) (upholding damages for spouse’s distress in discovering her

marriage was void); Faya v. Almaraz, 620 A.2d 327, 337-39 (Md. 1993) (holding that patients of

a surgeon who did not disclose he had AIDS, but who did not themselves become infected with

HIV, could nonetheless recover for their mental and emotional distress they experienced between

the time they learned of the physician’s HIV-positive status and the time they learned they were

not infected); Hunt v. Mercy Med. Ctr., 121 Md. App. 516, 537-38 (1998) (holding that a

plaintiff mistakenly misdiagnosed with cancer may recover emotional distress damages).

       Defendant next cites to an alleged difference in the legal standards for the imposition of

duty as between Maryland and Pennsylvania, comparing the list of factors set forth in Althaus,

with those in Pendleton v. State, 921 A.2d 196, 205 (Md. 2007) (quoting Ashburn v. Anne

Arundel Cty., 510 A.2d 1078, 1083 (Md. 1986)). This too is a false conflict. First, both



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Maryland and Pennsylvania recognize a duty under Restatement § 324A, and therefore a duty

exists in this matter under both Maryland and Pennsylvania law. E.G. Rock, Inc. v. Danly, 633

A.2d 485, 491 (Md App. 1993) (recognizing that the terms of Restatement 324A are part of

Maryland law). Further, as to Althaus and Pendleton, Defendant does not identify any

substantive distinctions in the two sets of analysis, as there are none which would impact the

outcome of this matter. Both analyses consider questions of public policy, foreseeability and the

costs of imposing a duty. See Section II, supra. For the reasons set forth above, imposition of a

duty is appropriate under either Pennsylvania or Maryland law.

III.   ECFMG Was a Proximate Cause of Plaintiffs’ Emotional Distress

       To establish causation, a plaintiff must “demonstrate that the breach was both the

proximate cause and the actual cause of his injury.” Reilly v. Tiergarten Inc., 633 A.2d 208, 210

(Pa. Super. 1993). Proximate cause is defined as “a wrongful act which was a substantial factor

in bringing about the plaintiff’s harm.” Dudley v. USX Corp., 606 A.2d 916, 923 (Pa. Super.

1992) (citations omitted). The question of whether Defendant’s negligence was a proximate

cause of the injury is ordinarily one to be decided by the fact finder. Quinby v. Plumsteadville

Fam. Prac. Inc., 589 Pa. 183, 907 A.2d 1061, 1077 (Pa. 2006). If a jury may reasonably differ

on whether the defendant's conduct was a substantial factor in causing the injury, generally, the

case must go to the jury on those issues. Straw v. Fair, , 187 A.3d 966, 994 (Pa. Super. 2018)

(citing Vattimo v. Lower Bucks Hosp., Inc., , 465 A.2d 1231, 1233-1234 (Pa. 1983)).

       Pennsylvania courts have identified several considerations which are in themselves or in

combination with one another important in determining whether the actor's conduct is a

substantial factor in bringing about harm to another:

       (a) the number of other factors which contribute in producing the harm and the
       extent of the effect which they have in producing it;


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       (b) whether the actor's conduct has created a force or series of forces which are in
       continuous and active operation up to the time of the harm, or has created a
       situation harmless unless acted upon by other forces for which the actor is not
       responsible;

       (c) lapse of time.

Lux v. Gerald E. Ort Trucking, Inc., 887 A.2d 1281, 1287 (Pa Super 2005), (citing Willard v.

Interpool, Ltd., 758 A.2d 684, 688 (Pa. Super. 2000)).

       ECFMG asserts that there is “undisputed negligence of intervening third parties,” which

preclude ECFMG from being a legal cause of the injuries, without identifying those acts of

negligence or intervening third parties. There is no evidence before this Court that any other

entity was negligent in bringing about the harm in this case. Plaintiffs’ experts have testified that

ECFMG was negligent. ¶114. Defendant’s expert does not assert that any other entity was

negligent in failing to prevent Igberase from treating patients. ECFMG Ex. 6. To the contrary,

subsequent entities relied upon ECFMG’s decision to certify and retain the “Akoda”

certification, which ECFMG retained despite possessing clear evidence that it was obtained via

fraud. Residencies, state licensure boards, and credentialling committees rely on ECFMG to

provide primary source verification of foreign medical graduates. ¶ 114. That Igberase was able

to proceed through a residency, state licensure and obtain privileges represents an unbroken

chain that began when ECFMG ignored evidence from Jersey Shore Medical Center that

Igberase was a fraud.

       ECFMG actively maintained Igberase’s credentials for many years, and participated in

submitting his application materials to Howard. ¶ 64. In fact, ECFMG staff identified further

concerns regarding the “Akoda” identity at the time of the residency application, but continued

to take no action to revoke or restrict his certification ¶¶ 69-71. ECFMG’s negligence

continued, on an active basis, to the time of his residency application and beyond.


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       In Commerce Bank v. First Union Nat'l Bank, 911 A.2d 133 (Pa Super 2006), cited by the

Defendant, the plaintiff, a bank, alleged that the defendant, also a bank, had reason to know that

an individual was operating a check-kiting scheme, but failed to report the behavior or shut down

the perpetrator’s account. The plaintiff incurred monetary losses and alleged that they based

their decision to open an account for the perpetrator in part based on the fact that they possessed

an account at the defendant bank, without further background checks. The court concluded that

the defendant owed no duty to the plaintiff, in part, because the two entities had no relationship.

The court further noted that even assuming there was such a duty, it would affirm the trial court’s

grant of summary judgment with respect to proximate cause. The court concluded that the

defendant’s conduct was only “one minor factor” in the entire chain of events. Unlike the

defendant bank, which had no relationship with the plaintiff bank, and undertook to provide no

service to them or anyone else, ECFMG holds itself out to residency programs, hospitals and

licensing organizations as providing the service of verifying the credentials of foreign medical

graduates. There services are unique, and all IMG’s must utilize ECMFG’s services before

applying to these programs. Unlike the defendant in Commerce Bank, which maintained no role

and undertook to perform no duty to their peer institutions, ECFMG knew that subsequent

entities would rely on ECFMG’s decision to maintain Igberase’s certification as Akoda. That

Igberase would go on to practice medicine as Akoda, and cause the harm alleged, is an outcome

that “reasonable people would consider fair, natural, and probable.” Commerce Bank, 911 A.2d

at 142 (Pa Super 2006).

IV.    ECFMG’s Breach Was a But-For Cause of Plaintiffs’ Emotional Distress

       Cause in fact, or "but for" causation, requires proof that the alleged injury would not have

occurred but for the negligent conduct of the defendant. Galullo v. Fed. Express Corp., 937 F.

Supp. 392, 395 (E.D. Pa. 1996) (citing Robertson v. Allied Signal, Inc., 914 F.2d 360, 366 (3d
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Cir. 1990)). The "but for" standard is a de minimis standard of causation, under which even the

most remote and insignificant force may be considered the cause of an occurrence. Takach v. B.

M. Root Co., 420 A.2d 1084, 1086 (Pa Super 1980).

       Defendant’s assessment of “but for” causation confuses concepts of proximate cause with

“but for” causation, and argues factual issues not appropriate for resolution by summary

judgment, including whether ECFMG was negligent, and what was required under the applicable

standards of care. Defendant continues to mischaracterize Igberase’s acts, ECFMG’s role, and

the basis for the Plaintiff’s emotional distress. Among virtually endless acts of fraud, there is no

evidence that Igberase ever attended medical school, and the medical transcripts submitted to

ECFMG, which ECFMG “verified,” were fraudulent. He was admitted to a residency program

only a result of ECFMG’s decision to allow Igberase to continue to perpetrate his fraud.

       It is undisputed that in the absence of ECFMG certification, Igberase would never have

practiced medicine in the United States. ¶ 87. It is further undisputed that when ECFMG last

investigated Igeberase, they concluded that he had engaged in fraud, and revoked his ECFMG

certification. ECFMG Ex. 24. Thus, it cannot seriously be disputed that had ECFMG

conducted a reasonable investigation, the ECFMG certification in the name of “Akoda” would

have been revoked. Further, the Plaintiffs have designated multiple experts who will opine that

the standards of care required that ECFMG revoke Igberase’s certification. ¶114. Under these

circumstances, Igberase would never have performed obstetric and gynecologic procedures on

the Plaintiffs, and all harm would have been avoided. The Plaintiffs have established “but for”

causation.




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 V.    The Plaintiffs Did Not Consent to Treatment by Igeberase.

       The Defendant next suggests that Igberase’s misrepresentations were not substantial

enough to vitiate the Plaintiffs consent, and that the Plaintiffs should therefore be precluded from

recovery under Restatement (Second) of Torts, § 892B. This is bereft of plausibility.

       Restatement (Second) of Torts § 892B(2) states:

         If the person consenting to the conduct of another is induced to consent by a
         substantial mistake concerning the nature of the invasion of his interests or the
         extent of the harm to be expected from it and the mistake is known to the other
         or is induced by the other's misrepresentation, the consent is not effective for the
         unexpected invasion or harm.

       The medical care these Plaintiffs received was provided by an individual using a fake

name, who had no valid medical school diploma, had been admitted to a residency program with

false letters of recommendation. Dr. Akoda did not exist. Igberase, who is an actual person, had

no medical license, was not board certified, and was not employed by any hospital. Igberase, not

“Akoda,” performed gynecologic examinations of the Plaintiffs which constituted unconsented

touching, purportedly for the purpose of medical treatment, and complex medical surgeries,

including the delivery of their children. ECFMG’s arguments imply that these Plaintiffs are

entitled to no autonomy in their decision making regarding which physician they trust to provide

their medical care. This is plainly not the case.

       Defendant cites numerous cases which it represents demonstrates that “[c]ourts have

uniformly held that misrepresentations like Dr. Akoda’s—including those concerning the

experience or credentials of a licensed physician—do not vitiate consent.” ECFMG Brief at 35.

This is inaccurate and is not supported by the cases cited by Defendant. ECFMG cites Taylor v.

Johnson, 985 P.2d 460 (Alaska 1999), in which the court explicitly noted “that a battery claim

may lie if a person falsely claiming to be a physician touches a patient, even for the purpose of

providing medical assistance.” Taylor, 985 P.2d at 465. The Court found no battery under those

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particular facts because the Defendant “had a medical degree, was certified by the American

Board of Physical Medicine and Rehabilitation, and was licensed to practice in Alaska.” Id.

None of those facts are true here, as Igberase lacked a medical degree and possessed no

certification or licensure in his name.

       The Taylor case goes on to cite Khouri v. Koloniaris, 1997 WL 80676 (Super. Ct. Feb. 7,

1997), a more analogous case to this one, in which a Plaintiff brought a claim for battery against

a provider of dental care, on the basis that the provider was not licensed by the Connecticut

Department of Health. . Concluding that the Plaintiff possessed a cause of action for battery, the

Court held that “plaintiff's consent … should … be negated because the defendant allegedly

misrepresented himself as a licensed dentist to the plaintiff in order to obtain the plaintiff's

consent to perform dental work on him. Khouri v. Koloniaris, 1997 WL 80676 (Super. Ct. Feb.

7, 1997). The same applies here.

        Defendant’s other cited cases do not support its argument. In Duttry v. Patterson, 771

A.2d 1255 (2001), the Court found that a physician’s misrepresentation regarding the number of

times he performed a surgery (approximately nine total times, rather than once per month, as

represented) could not form the basis of a claim for lack of informed consent, as this particular

tort theory was limited to lack of information concerning the risks of a particular procedure. Id.

The Court acknowledged the availability of other potential forms of tort recovery. Id.

       The Defendant’s other citations are similarly distinguishable. See, e.g., Prince v.

Esposito, 628 S.E.2d 601 (Ga. App. 2006) (failure of chiropractor to disclose allegation of sexual

battery by other patient years earlier was not failure of informed consent); Rice v. Brakel, 310

P.3d 16 (Ariz. Ct. App. 2013) (physician’s dependency on unprescribed prescription drugs did

not form the basis of informed consent claims); Albany Urology Clinic, P.C. v. Cleveland, 528



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S.E.2d 777 (Ga. 2000) (physician was not required to disclose cocaine use to patient for

informed consent). None of these cases bear any similarity to this matter, where the Plaintiffs

received gynecologic and obstetric case from a man, Igberase, who lacked any medical license or

valid medical degree. Moreover, each of these matters involve allegations of informed consent,

which the Plaintiffs have not pled.

VI.    The Plaintiffs’ Severe Emotional Distress is Compensable

       The Defendant next claims that the Plaintiffs must experience physical manifestations of

their emotional distress for this injury to be compensable. This Court has interpreted the

requirement for “proof of physical manifestation in emotional distress cases as a substitute for

proof of injury caused by a physical impact.” DeJesus v. United States VA, 2005 WL 2175174

(E.D. Pa. Sep. 6, 2005); citing Niederman, 261 A.2d at 85; Nelson v. Monroe Regional Medical

Center, 925 F.2d 1555, 1561 (7th Cir. 1991). Therefore, it is not necessary that the Plaintiffs

establish both a physical manifestation of emotional distress as well as a physical impact. As set

forth above, the Plaintiffs have pled and established through deposition testimony and medical

records proof of physical impact, by virtue of the medical procedures undertaken by Igberase.

Thus, the Plaintiffs may recover for their emotional distress in the absence in a physical

manifestation of that distress.

       This is consistent with Armstrong v. Paoli Mem'l Hosp., 633 A.2d 605 (Pa. Super 1993),

cited by the Defendants. As the Court explained in Armstrong, the requirement that “physical

harm” must accompany emotional distress to state a cause of action is based on the Restatement

(Second) of Torts § 436A. Armstrong, 633 A.2d at 609. Section 436A states:

         If the actor's conduct is negligent as creating an unreasonable risk of causing either
         bodily harm or emotional disturbance to another, and it results in such emotional
         disturbance alone, without bodily harm or other compensable damage, the actor is not
         liable for such emotional disturbance.


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         Restatement (Second) of Torts, § 436A.

       As set forth in Section II (2) above, the requirement of “bodily harm” is met “if the

structure or function of any part of the other's body is altered to any extent even though the

alteration causes no other harm.” Restatement (Second) of Torts, § 15 comment a. As described

above, the obstetric and gynecologic procedures performed by Igberase on the Plaintiffs satisfies

the requirement of “bodily harm.” Thus, the limitation of liability set forth in § 436A does not

apply to the Plaintiffs, as their emotional distress is associated with bodily injury.

       Even assuming, however, that there is a requirement for physical manifestations of

emotional distress, the Plaintiffs have met this burden. Pennsylvania Courts have held that

"symptoms of severe depression, nightmares, stress and anxiety, requiring psychological

treatment, and . . . ongoing mental, physical and emotional harm" sufficiently stated physical

manifestations of emotional suffering to sustain a cause of action. Love v. Cramer, 606 A.2d

1175 (Pa. Super 1992) As the Court noted in Armstrong, cases from other jurisdictions cite

“depression, nightmares, nervousness, insomnia and hysteria as physical symptoms warranting

recovery.” Armstrong, 633 A.2d 609.

       Each of the Plaintiffs have suffered from conditions which meet the criteria for physical

manifestations. ¶¶99 - 101; ¶106; ¶110; and ¶113 Additionally, Christine Tellefsen, M.D., a

forensic psychiatrist, examined each of the Plaintiffs. Based upon her examinations and a review

of the facts in this case, Dr. Tellefsen has diagnosed two of the Plaintiffs, Ms. Powell and Ms.

Evans, with the need for future treatment as a result of their experiences with Igberase. ECFMG

SUMF ¶58.




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VII.   The Claims of Plaintiffs Powell and Evans are not Barred by the Statute of
       Limitations

       Limitations periods are computed from the time the cause of action accrued. 42 Pa. Cons.

Stat. Ann. § 5502(a). Under Pennsylvania law, a cause of action accrues at "the time when the

plaintiff could have first maintained the action to a successful conclusion." Kapil v. Association

of Pa. State College and Univ. Facilities, 470 A.2d 482, 485 (Pa. 1983).

       The discovery rule is an exception that tolls the statute of limitations when an injury or its

cause is not reasonably knowable. Saksek v. Janssen Pharm., Inc. (In re Risperdal Litig.), 223

A.3d 633, 640 (Pa. 2019) The discovery rule will toll the applicable statute until a plaintiff could

reasonably discover the cause of his action, including in circumstances where the connection

between the injury and the conduct of another are not readily apparent. Id. (citing Wilson v. El-

Daief, 964 A.2d 354, 361 (Pa. 2009). Although objective, the objective reasonable diligence

standard is "sufficiently flexible ... to take into account the differences between persons and their

capacity to meet certain situations and the circumstances confronting them at the time in

question," and, as such, "is to be applied with reference to individual characteristics." Saksek,

223 A.3d at 640. Pennsylvania courts have expressly declined to hold, as a matter of law, that a

layperson may be charged with knowledge greater than that which was communicated to her by

the medical professionals who provided treatment and diagnosis. Saksek, 223 A.3d at 640-41

(citing Wilson, 964 A.2d at 365).

       Each of the Plaintiffs, including Ms. Evans and Ms. Powell, have filed suit against

ECFMG for damages related to the emotional distress that has resulted from their discovery that

the individual they knew as “Dr. Akoda” was in fact, Oluwafemi Igberase, who possessed no

medical degree, and no medical license. These damages accrued, at the earliest, when they

became aware of criminal proceedings against Igberase. ¶108; ¶112. In the case of Ms. Evans


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and Ms. Powell, this realization compounded certain concerns that they held at the time of their

treatment. In the case of Ms. Evans, she possessed concerns about his conduct, but trusted that

her physician was behaving consistent with the standards of care. ¶112. As contemplated by

Saksek 223 A.3d at 640-41, as a layperson, Ms. Evans trusted the individual she believed to be

her physician. Moreover, this incident certainly did not provide her constructive knowledge of

Igberase’s fraud – the basis for the cause of action asserted here.

       Ms. Powell also expressed certain concerns about her treatment from the man she knew

as Dr. Akoda, but she does not seek medical malpractice damages associated with the potentially

delayed treatment of her post-partum bleeding, or any flirtatious conduct. Instead, as with the

other plaintiffs, she seeks separate damages – emotional distress damages incurred as a result of

learning that “Dr. Akoda” was a fictious persona of Oluwafemi Igberase. ¶110. To find that the

causes of action of Ms. Powell of Evans accrued for these separate damages at a time before

hospitals, medical boards, and the Howard residency program knew of Igberase’s conduct is

clearly inappropriate.

                                         CONCLUSION

       For these reasons, the Court should deny summary judgment.



Dated: January 14, 2022                               Respectfully submitted,


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                                       Attorneys for Plaintiffs, on behalf of
                                       themselves and all others similarly situated




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE RIGGINS,                       CIVIL ACTION NO. 18-5629
 ELSA M. POWELL AND DESIRE EVANS,                        Honorable Joshua D. Wolson

                             Plaintiffs,

               v.

 EDUCATIONAL COMMISSION FOR
 FOREIGN MEDICAL GRADUATES,

                             Defendant.


                                   [PROPOSED] ORDER


       AND NOW, this ___ day of ________________ 2022, upon consideration of Defendant,

Educational Commission for Foreign Medical Graduates’ Motion for Summary Judgment and

Plaintiffs, Monique Russell, Jasmine Riggins, Elsa M. Powell, and Desire Evans’ Response in

Opposition thereto, IT IS HEREBY ORDERED that Defendant’s Motion for Summary

Judgment is DENIED.



                                                          BY THE COURT:

                                                          __________________________
                                                                      Wolson, J.




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                  Exhibit                      1




                                                                  JA3985
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                                                  CERTIFIED COPY
                               Dr. David Markenson


                IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                      CIVIL ACTION NO. 18-5629

        MONIQUE RUSSELL, JASMINE                      :
        RIGGINS, ELSA M. POWELL,                      :
        and DESIRE EVANS,                             :

                               Plaintiffs,

                       vs.


        EDUCATIONAL COMMISSION FOR
        FOREIGN MEDICAL GRADUATES,

                               Defendant:


                               Deposition of       DR. DAVID

        MARKENSON      taken    in the above-entitled             matter
        before Suzanne J. Stotz,             a   Certified Realtime
        Reporter, Registered Professional Reporter, and
        Notary Public of the State of Colorado, taken
        at   the WESTIN      DENVER AIRPORT,          8300 Pena

        Boulevard, Denver, Colorado 80249, on
        October 22, 2019, commencing at 10:14 a.m.




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                                            Dr. David Markenson

                                                                                           Page 225
             I'm going to talk about                    a   couple of them just
      FF
      DN     to     make sure           I   understand.
                                                   third failing
  W



                                    So the                               down,    if    you
                         -- I don't                    better               to refer to
    FF




             will                             have a                  way
      UW




             it     --    says     --       oh, no, you     know what, we              talked
      Hn




             about that one already.
      NI




                                    Keep on going down                 to the one that
       oOo




             talks about the diploma from the University of
                                    says, "Failing to reasonably
    oo




             Ibadan.          It
 mw FR oO
    PH HB




             investigate Akoda's diploma from the University
             of Ibadan."
                                    Do      you see that?
 13                      A.         Yes.
 14                      Q.         That looks         like the         fifth    one down.

 15                      A.         Correct.
 16                      Q.         Which diploma are you talking about
 17          because        I don't believe I've seen a diploma
 18          from        the University of Ibadan with Akoda's name
 19          on     it?
 20                      A.         Let's see.          Can   I       go back    to the --
 21                      Q.         Sure.          You can look         at the exhibits
 22          we were          looking at.
 23                      A.         Thank you so much.                  Yeah.
24                                  I       am   wondering whether that                is --

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                                        Dr. David Markenson

                                                                                         Page 224
                       Q.           And on page 4, there              is    a, sort of
          WwW   the second       full    paragraph down,         if        you   will --
                it's   just   line. It says, "ECFMG breached
                                one
                the standard of care in, among others, the
     Fk




                following ways."
     un




                                 Do     you see that?
                       A.        Yes,     I   do.
                       Q.        And then       there's      a number         of
                entries,      all     starting with the word "failing"
10              on the      rest of page       4 and      at the top of            page 5.

11                               Do     you see that?
12                     A.        Yes,     I   do.
13                     Q.        And are those each an opinion that
14              you're offering in this case?
15                     A.        Yes, that          is.
16                     Q.        Okay.        And we      talked about the
17              standard of care          a   few minutes ago.
18                               Were you       referring to the                 same

19              standard of care here that you have been
20              previously in your report?
21                     A.        Yes.
22                     Q.       ‘ Okay.       I'm not going to              go through

23              every single one because some of them
24              conceptually we've talked about already, but

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                                Dr. David Markenson

                                                                          Page 223
        but you don't have a license, yes, you cannot
        practice medicine.
                           Before you ask another question, is
        this   an okay time         to break?
               Q.          Sure.       Absolutely.
               A.          I    saw you   reading up.      I just
        wanted      to   make   sure.
               Q.         ‘Go ahead.

               A.          Thank you.
 10                        MS. McENROE:          Let's take    a break.

 11                        (Discussion held         off the record.)
 12                        THE VIDEOGRAPHER:           The time    is
 13            2:10 p.m., and we are going               off the
 14            record.
 15                        (Whereupon,
                                    a short break               was

 16            taken.)
 17                        THE VIDEOGRAPHER:           The time    is
 18            2:20 p.m., and we are back on the record.
 19     BY MS.      McENROE:

20             Q.         We    were    just looking at your expert
21      report at Exhibit          4    before   we went   off    the
22      record.
23                        Do you       recall that, Dr.       Markenson?
24             A.         Yes.

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                                           Dr. David Markenson

                                                                                      Page 222
                program      is binary, off            and on    or, you    know, one

                year of supervised practice, however you had
     ND

          WwW
                described       it        is binary off    and on, you       either
  bh




                have that       or you don't, that's another place
                along the       line, right?            That would either
                on/off shut off the practicing medicine in the
                United States?
                        A.           It    depends on what the requirements

                were.
10                      Q.           And    further stepping        down the     line,
Ll              eventually getting to the point of getting                        a

12              medical license     is also off and on that in any
13              given    jurisdiction, if you don't have a medical
14              license, you should not be lawfully                    be

15              practicing medicine, correct?
16                      A.           Yes.         Without a medical license,
17              you can't practice medicine.
18                      Q.           So    that's another off/on switch,
19              correct?
20                      A.           A medical        license is an off/on,
21              yes.
22                      Q.           Even    if    you have a ECFMG
23              certificate?
24                      A.           If    you have an ECFMG        certificate

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                              Dr. David Markenson

                     .                                                                  Page 221
               obtain licensure or enter a residency had
               ECFMG done         the due diligence, picked                        up

               the red flags and not certified him or
               revoked the         certification.
        BY MS. McENROE:

               Q.         So does your       opinion basically boil
        down   to an on/off switch, that                  if        ECFMG had

        said he couldn't get           a   certificate, therefore,
        he wouldn't have been able             to practice
 10     medicine;        is that   what you're saying?
 11            A.         Well, as part of application for
 12     residency and licensure, there are certain
 13     things that are binary, yes or no; and in the
 14     absence of them, you don't proceed to any other
 15     steps.
 16                       ECFMG     certification is                    a    credential
 17     that's binary.            You don't have          it,           you can't
 18     get into residency.            Absent ECFMG
 19     certification,        you can't be licensed.                           It isa
20     binary, that        all     the other things downstream
21      don't occur towards licensure                if            that binary
22     doesn't occur.
23             Q.         So if    we were    to take               a       step
24      forward and say graduation from                        a    residency

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                                     '   Dr. David Markenson

                                                                                         Page 220/[
            links throughout               a   career that could have
     No
  wW
            stopped a progression of events.
                      Q.        So       I'm just struggling with the
  nS




            idea that this               is like the ultimate              Monday
  ul




            morning quarterbacking, right?                             You're saying
a




            this person         ended up being a sexual predator.
     -~l




            So   looking back in history,                   we     could pick up
      oOo




            bread crumbs where someone could have, said,
 ©




            you don't graduate from middle school; you
10          don't graduate from high school; you don't
11          graduate from college.
                                         I'm just trying to understand --




                                                                                                  oo
12                              So

13                              MS.       McENROE:      Let       me    finish   my

14                    question.
15                              MR.       VETTORI:      I   am.

16          BY MS.         McENROE:

17                    Q.        I'm just trying to understand                       how

18          it   is              in that line you assume
                       you pick where
19          and assign all of the fault, as you have with

20          ECFMG in this case?

21                              MR. VETTORI:            Objection as to form.
22                              THE WITNESS:           Where           I've assigned
23                    fault is the          area   I   was asked          to opine on,
24                    which    is    he would not have been able                    to

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                                        Dr. David Markenson

C.)                                                                               Page 219
                      Q..         Sexual predators.
                                  MR. VETTORI:          Is that     a   technical
                      term?

                                  MS. McENROE:          I   changed it     to
                      sexual predators.
              BY MS.       MCENROE:

                      Q.          Okay.         Is that fair?
                      A.          There are, yes.           Unfortunately,
              yes.
       10             Q.          And do you deem that             to be   a

       11     failure of the medical school community or, you
       12     know, or is that that practitioner's fault that

       13     they went on to be somebody who breaks the law?
       14             A.          It    is   the practitioner's fault, but
       15     there    is well         documented studies that show that
       16     there are usually red flags throughout their
       17     career       if   people intervene, that patient would
       18     have never been harmed.
       19             Q.          Usually, like, while they're
       20     actually practicing medicine.
       21             A.          No.        There's throughout their
       22     entire career.             There's well documented studies
       23     that show whether               it's   medical school
      24      residency, application processes, there are

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                                  Dr. David Markenson

                              )                                                       Page 218   @

             A.          No.        But if     in order to practice
       tax, they needed             ECFMG certification                to   be

       licensed, then they would have never been
       allowed to practice tax.
                         So       I don't -- I don't               hold them
       accountable to law enforcement; but anything
       that an individual              was    allowed to do based on
       their certification, they                     do have       culpability
       in that case.
10           Q.          So you        think    if     a       practitioner,          a

li    physician, goes on to be                  a     creep,       a   sexual
12    predator,       is that somehow ECFMG'S fault if
13     ECFMG had      certified that that person had, in
14     fact, graduated             from medical school and passed
15     exams?

16           A.         Well, what they did was their
da     action at that point; but one has to
18     acknowledge that if              ECFMG        did not allow           them

ig     to -- did not certify                 them,     allowing         them     to
20     obtain     a   license, they would not                     be a physician

21     at that point.
22           Q.          Right.         But there are U.S. graduate
23    physicians       who go on          to   become creeps,               right?
24           A.          There are.

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                                  Dr. David Markenson

                                                                                           Page 218 (Pe
 1             A.           No.       But    if    in order to practice
 2     tax, they needed               ECFMG       certification to               be

 3     licensed, then they would have never been
 4     allowed to practice tax.
 5                          So    I   don't -- I don't hold                     them

 6     accountable to law enforcement; but anything
 7     that an individual               was allowed                 to   do based on

 8     their certification, they                         do have         culpability
 9     in that          case.
10             Q.           So you      think       if     a       practitioner,           a

11     physician, goes on to be                     a     creep,         a   sexual
12    predator,           is that somehow ECFMG'S fault if
13     ECFMG had          certified that that person had, in
14     fact,    graduated from medical school and passed
15     exams?

16             A.           Well, what they did                      was     their
17     action at that point; but one has to
18     acknowledge that if                  ECFMG        did not allow           them

19     to -- did not certify                  them,        allowing           them    to
20    obtain        a   license, they would not                       be a physician

21    at that point.
22             Q.           Right.       But there are U.S. graduate
23    physicians           who go on        to    become            creeps, right?
24             A.           There are.

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                                  Dr. David Markenson

                                                                                Page 217
                 A.          Again, since   I wasn't provided them
        and    all     I   have   is the draft, I can't say that.
                 Q.          So you      don't    know what the          policies
        and procedures are as we                  sit     here today?
                A.           I just know the standard. I don't
        know what          their -- I've asked for policies and
        procedures, and             we   haven't been provided any.
                 Q.          You say "we."              You mean you haven't

        been provided any, correct?
 10             A.          Uh-huh, correct.
 11             Q.           Is   it   your opinion that           ECFMG has a

 12     duty or an obligation to                  make       sure that
 13     individuals    certifies never break the law?
                             it

 14           A.    Again, I personally believe -- this
 15     is from my expertise and knowledge -- that
 16     ECFMG'S role is not as a law enforcement agency

 17     but a certification body.
 18             Q.          Okay.        And so     I    just   want   to   make

 19     sure    I     understand.
 20                         So if      ECFMG     certifies       someone and

 21     they go on to commit tax fraud later on in
22      their career, would              you then look back and hold
23     ECFMG         accountable that they should have figured
24      that out?

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                                                                             JA3996
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                                                                                  Page 49
                Q.           So     is    your participation with the
        clear evaluation process, are you sitting on                              a

        committee       of       ACGME?

                A.           Committee, yes.
                Q.           Is that a volunteer position?
                A.           Yes, it is.             |

                Q.           And when        did you begin that?
                A            I believe        about a year and a half
        ago.
 10             Q.           Any other current involvement                   in
 11     residency programs?
 12            A.            Not      direct, no.
 13             Q.           Not      directly, but anything else
14      indirectly?
 15            A.            I    still    have academic appointments
16      at Columbia University in                New         York   -- sorry,
17     Colorado university and                 New   York Medical
18     College.         So       I could    be asked to         give a lecture
19      from time    to time within Colorado or in
20     New     York to residents.
21             Q.            Do     residents typically get
22     lectures?
23             A.            Yes.
24             Q.            So     just   so that   I       understand, would

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                                Dr. David Markenson

                                                                            Page 47
                Q. |      Do you still           have any   role or
      ND   responsibilities for            any residency programs?
                A.        Not        directly    anymore.

                                                        directly,"
     fb




                Q.        When       you say "not                     do you
           indirectly?
      oa




                A.        I.   serve on      a   national committee
           with the    ACGME.

                Q.        What       role do you serve with          ACGME?

                A.        They have a committee that oversees
 10        what's known’as their clear              clinical learning
 ail       environment review program,              and I serve on that
 12        committee.
 13             Q.        What does         the clear committee do?
 14             A.        It    helps them set the standards for
 15        the Clear Evaluation program.
 16             Q.        What       is   the Clear Evaluation
 17        program?

 18             A.        It    evaluates hospitals' learning
 19        environments    for residencies.
 20             Q.        Is that there accreditation
21         program?
22              A.        It    is    separate from the
ao         accreditation.
24              Q.        Is    it    a   higher level than

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                                       Dr. David Markenson
                                                                                           Page 46
            schools, typically the Dean writes                        letter for
                                                                        a

            every graduate, which summarizes                      their medical
            school experience and provides evaluation of
            the student.
                                         for U.S. medical school
     UW




                    Q.          And
  HH




            graduates, you said that as an                    initial

            screening for              eligibility,    there would be
  nv
     oOo




           _verification of medical school graduation; is
  oO




            that correct?
10                  A.          Correct.
11                  Q.          How would        that usually be
12          accomplished          in     your experience?
13                  A.          Through the ERAS process.
14                  Q.          What do you mean by that?

15                  A.          The programs themselves don't do

16          it.     It's      done      in the   ERAS system.               So   that's
17          the program that the residents apply through,
18          and that program does the                  verification of the
19          medical school.
20                  Q.          For lack of        a   better term, is              it

21          like    a      portal you can log into and check or
22          how    --
23                  A.          It's      a   portal you can log into                    and

24          check.

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                                      Dr. David Markenson

                                                                                   Page 45
                      Q.         In your experience in hiring
   Rr
                                                                                   :
   ND

        WwW   residents or residency programs, what,                       if

              anything, was done with the letters of
   Co




              reference that were submitted?
                                           .

                     A.          Letters of reference are submitted
              through ERAS and then become part of an
              electronic file that the program director can
              review.
                      Q.         Do you know if       anything else was
 10           done typically other than just review them?
 11                A.     Typically they're just read by the
 12           residency director. Sometimes they would also
 13           be read by an interviewer prior to an

 14           interview.                                       .

15                    Q.         Do you know if        there was anything
16            done    typically to validate that the letters of
17            recommend were          legitimate?
 18                  ‘A.         I    know   that -- I've never -- I've
 19           never seen a residency program do                    it,    and   I do
20            not believe that ERAS's normal procedures                         --
Zs            sorry    --   are to verify them.
22                    Q.         You mentioned a Dean's
23            recommendation.           What    is   that?
24                   A.     .    So    for graduates of U.S.             medical

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                                 Dr. David Markenson

                                                                                       Page 44
                    A.        Typically, yes.
  DN
      WwW           Q.        When   you say         "typically,"            do you

            know    of    any circumstances when they don't
     PrP




            withhold taxes?
                    A.        I believe       it's    different -- sorry.
            Hospitals employ          them    or the university
            sometimes does.          Withholding is done as would
            be per whatever the employment standards are

            for taxes       and other fees.
10                  Q.        Which would require,                in addition to
11          other potential information,                  a     social security
12          number?

13                 A.         That    is correct.
14                  Q.        Do you know what             the source of the
15          social security          number     is for residents               coming

16          into residency programs?                 So    I    can say that
17          another way.        Strike that.              Let   me     restate
18          that.
19                            Do you know from where the

20          residency programs get the social security
21          number       for the applicants           coming      to    them?

22                  A.       Again, I'm not involved in the                       HR

23          department, but my understanding                      is    it    comes

24          from the applicant.

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                                                                                 JA4001
Case:2:18-cv-05629-JDW
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                                    Dr. David Markenson

                                                                               Page 43
            applications that you recall, you                           sitting
      oR
                                                                know,
   bo       here today?
      WW


                    A.         Usually not, no.
                               Is_ there aauRaiy              application
   FF




                    Q.                                  an
   uu




            form,    like,     they actually     fill        out like a job
      nao




            application?
                    A.         They don't anymore.             It's   all   done

            through the electronic system called ERAS.
                    Q.         Okay.     Previously, do you           know

 10         whether there had been applications to
 11         residency programs in, say, the                   2011 time

 12         frame?
 13                 A.         There would have not been.               They

 14         would have       all    been ERAS.

 15                 Q.         Even then?

 16                 A.         Yes.
17                  Q.         In your experience,            do residents

18          get paid?
ae                  A.        Yes, they do.
20                  Q.        Do    they get paid through any
21          sources of funding           in particular?
22                  A.        The     hospital pays         them.
23                  Q.        Does the     hospital typically
24          withhold taxes?

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                                  Dr. David Markenson

                                                                              Page 42 |
                            What      else, in your experience,          is
       involved in the offering of                a    residency
       position to          a   resident?
               A.           The    initial    screening is done to
       make    sure that the person             is eligible for
       residency.           So presence       of medical school
       graduation, confirmation, or                   ECFMG

       certification.
                            So it's     sort of that's the         first
10     step.        If    they don't graduate medical school or
11     they don't have an ECFMG                certification, the
12     process would stop.
13             Q.           Okay.

14             A.           Following that process, one that
15     has    letters of reference, Dean's
16     recommendation, board scores; and there's
17     usually       a   cutoff to determine of those              who   then
18     obtain an interview.
19             Q.          When     you say    "of those," you       mean

20     cutoff of the board scores?
21             A.          Board scores,        letters of reference,
22     recommendations.
23             Q.          Any other information              collected or
24     reviewed          in connection with residency            program

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                  Exhibit 2




                                                                  JA4004
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                     wy           LEGAL SOLUTIONS




                             Deposition of:
                          Kara Corrado
                          September 10, 2019



                            In the Matter of:

          Russell, Monique Vs. Educational
          Commission For Foreign Medical
                      Graduates




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                                                                  JA4005
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     WW
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                    IN THE UNITED STATES DISTRICT COURT
     DY




                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
     mB




             MONIQUE    RUSSELL, JASMINE              :    Case No.
             RIGGINS, BLSA M. POWELL
             AND DESIRE EVANS,                        :    2:18-cv-05629-JW



                             Plaintiffs,



                       vs.                            :    Hon.      Joshua D. Wolson

             EDUCATIONAL COMMISSION
             FOR FOREIGN MEDICAL
             GRADUATES,


10                           Defendant.
11
12                                         September 10, 2019
13
14                      Oral deposition of                KARA CORRADO, taken
15             at the    offices            of   MORGAN   LEWIS BOCKUS, LLP,
16          1701 Market  Street, Philadelphia, Pennsylvania
17               beginning at 10:48 a.m., before
18           Jennifer L. McDonald, a Professional Reporter
19          and a Notary Public in and for the Commonwealth
20                          of Pennsylvania.
21
22              VERITEXT NATIONAL COURT REPORTING COMPANY
                           MID-ATLANTIC REGION
23                   1801 Market Street - Suite 1800
                       Philadelphia, Pennsylvania                      19103
24

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                                                                                     JA4006
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                                                  KARA CORRADO

                                                                                                        Page 6

        as       a    representative of                            ECFMG?

                          A.               Yes,        correct.
                                                          that's

                     -Q.                   You're providing testimony today
                                                                                                              \

        in the capacity of                            a     representative of                      ECFMG?
                          A.               Yes.
                          QO.              So    for           clarity             sake,     I   will        try

        to       refer,              ask questions as                      refer        to ECFMG, but
        if       I   happen to say: "U"                            or something like that,
        if       you could               just interpret that                            as   referring
10      to       ECFMG           I'd     appreciate that?
11                        A.               Yes.
12                        Q                Do you work                     at      ECFMG?

13                        A.               Yes.
14                        Q                Can you                 tell     us what ECFMG
15      stands for?
16                        A.               Educational Commission for
17     Foreign Medical Graduates.
18                        Q.               What           is       your position there?
19                        A.               I'm the Vice President for
20     Operations.
21                        Q.               Is    it        fair           to say you're                 an
22     officer                  of     ECFMG?

23                                         MS.        MCENROE:                  Objection to form.
24                                         You can answer,                         if   you know.


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                                         KARA CORRADO



        residency programs?
                               MS. McENROE:              Objection to form.
                               THE WITNESS:              So     ECFMG has a

                 certification program that is required                             ~*

                 for entrance into ACGME accredited
                 residency programs.
        BY MR.       THRONSON:

                 Q.            Any other ways                 in which    ECFMG

        severs medical residency programs?
10                             MS.       MCENROE:        Objection to form.
11                             THE WITNESS:              So we     also    have an
12               exchange      visitor        sponsorship program.                We

13               are responsible for physicians who are
14               seeking residency and training in the
15               United States on a J-1 nonimmigrancy
16               step.
17     BY MR.        THRONSON:
18               Q.            Beyond the ways                in which you
19     serve medical residency programs that you
20     described,        how   else does          ECFMG       serve hospitals?
21                             MS.       MCENROE:       Objection to form.
22                             THE WITNESS:              I don't     know    that
23               I    would say that         we    serve hospitals,
24               however, we do provide                 a     service for

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                                                                              JA4008
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        worldwide.
                                So    I don't     know when the ACGME
        determined that in order to accept
        international geadtalces .ney, would     this            have
        requirement of certification; but I think it's
        important for them from a credentialing
        perspective to make sure to know what the
        status of the person is entering their program.
               Q.  ,   Part of ECFMG's mission is to
10      promote public health, correct?
11             A.      Part of ECFMG's mission is to
12      promote public health and to protect the
13      public, yes.
14             Q.      Is part of ECFMG's mission also
15      to promote patient safety?
16                              MS.   MCENROE:         Objection to form.
17                              THE   WITNESS:         ECFMG's mission           is
18               broader in terms of what                 we   state about
19               the improvement of the world's health
20               essentially.
21      BY MR.    THRONSON:
22               Q.             Why   is primary-source
23      verification of          an   applicant's identity               and
24      eredentials important?

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                                                                                        Page 53

                         Q.              Sure.           Do you    believe patients
         have the               right    to   be        treated by physicians                   who

         did not obtain                  ECFMG          certification            through
         misrepresentations?
                                        MS.    McENROE:            Objection to form.
         BY MR.               THRONSON:

                         Q.             That       is     who   obtained         ECFMG

         certification                  by providing accurate
         information?
10   |                                  MS.    McENROE:            Objection to form.
11                                      THE WITNESS:               So       you're asking,
12                       if     they have the right not to be;                           is that
13                       what you said?                  I'm sorry.
14       BY MR.               THRONSON:

15                       Q.             No,    it's        okay.          It's   my    fault.

16       Do    you believe that patients have the                                     right to
17       not be treated by physicians                              who have           obtained”
18       ECFMG           certification             based on        false pretenses?
19                                      MS.    McENROE:            Objection to form.
20                                      THE WITNESS:               Yes.


21       BY MR.               THRONSON:

22                       Q.             Do you          believe in providing the
23)      services that we've been discussing to
         hospitals                and residency programs that ECFMG                              is

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        On     our website and that             is   given          to
        individuals.
                                 The document          that I'm referring
        to that says "draft" is the procedures that
        staff     had been doing probably                      --   was    probably
        drafted        around 2015 time frame, was put to
        paper     in    2015.
                  Q.             Did any procedure exist before
        that time that applied                to how          the organization
10      should conduct irregular behavior
11      investigations           and when the          staff         should refer
12      matters to the creds committee?
13                A.             Yes, those procedures                     that     were
14      documented        in    2015 were the          procedures that
15      staff                   least since I started
                  had been using at
16     working directly on cases of irregular
17     behavior, which is 2008 onward, and my
18     understanding would be prior  to that as well.
19 |    I just wasn't working on those cases then.
20            Q.       So is it fair to say that up
21     until      2015;    those procedures were                     a    custom     of
22     the organization in terms of how to conduct
23     investigations           and when to  refer matters to the
24     committee and            then they were written down in


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                 Q.            Do you know             the names of any of
        those databases?
                 A.            I don't         know     if     we   have           a    name

        for the database or               if   there's multiple
        databases.        We  variety of software
                               have       a

        programs that we use, and this is saying to
        make sure we check in each of our lines of

        service to see if the applicant exists in those
        lines of service.                         :

10               Q.            As    a    general matter,                if        a    charge
11      letter    is   sent to an applicant should the
12      matter be referred to the credentials committee
13      for review?
14                             MS.       McENROE:            Objection to form.
15                             THE       WITNESS:            That   is        our
16               current process.
17     BY MR.     THRONSON:
18               Q.            How       long has that been                    a

19     process?
20               A.            That has been the process at
21     least since I've been working with the
22     credentials committee which is since 2008,                                         and
23     I. believe prior to that probably somewhere

24     around the late 90s early 2000s.


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                 graduation date on the diploma.
        BY MR.    THRONSON:

                 Q.              How        did you obtain source
        verification        from the school?
                 A.              For those diplomas?
                 Q.              For those diplomas.
                 A.              We        followed our processes at the
        time    for source verification                     which was to send
        a   copy of the diploma to the medical school
10      directly with        a     form      for the school             official             to
11      complete,      mo 15a         safety paper form, anda
12      prepaid envelope, -- I'm sorry,                          it's     not       a

13     prepaid envelope, but                   an envelope addressed                    to
14      ECFMG    to   be   returned to us.
15               Q.              At this time, did you also
16      request, we're           talking         about between 1992 to
17     2000, did you also request verification of
18     whether an individual was registered as a
                                                                                         \
19     medical practitioner or licensed to practice
20     medicine in his or her home country?
21               A.       credentialing HeGt ipaemiene 5
                                 The
22     for certification at that time included source
23     verification of the diploma only, and the
24     individual was required to also submit a copy

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        of their certificate of their full registration
        or license, but those were not source-verified.
                 Q.            Why         not?
                 A.             I don't know                      why.    they were not,
        but the decision prior to                            me    had been source
        verification of             diploma with                   a     submission of
        the license, which is not                            a    requirement now.
                 Q.            Why         did     it        cease becoming a
        requirement?
10               A.            We        introduced                a     clinical    skills

11      assessment examination                     in        1998,       and     at that
12      time the organization determined                                   it    did not
                                    \
13      need the license or certificate of registration
14      from an international medical graduate when it
15      introduced a clinic skill  assessment which is
16      an   in-person      exam         simulated with patients.
17              Q.             It        has never been                   a     requirement
18     for international medical graduates applying
19     for ECFMG certification to provide government
20     issued photoed identification, correct?
21           A.        It is a requirement to submit
22     photo identification currently, but it was not
23     in the past.
24              Q.             When          did        it   become a


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                                                                                              JA4014
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                 Q.                When        ECFMG   received      a    request
        like this,         would     it        look anything up in the
        system about the             applicant before granting the
        request?
                 A.                ECFMG would           process these in the
        system,       the information you would! be looking up
        would be related to the                    certification           status;
        keying    in the          ID number and            pulling       up the
        correct record.                                              .

10               Q.    Is part of that process -- was
11      it the procedure of ECFMG to verify that the
12      applicant's name was consistent between the
13      request for permanent revalidation and the                                name

14      that   was    on   file     for the applicant?
15              A.                That was not part of the process
16      that I'm aware of.
17              Q.                Was     it    the mEeGese of           ECFMG    to.
18     verify that the date of birth given on the
19     request for permanent revalidation was
20     consistent with the date of birth on file  with
21     ECFMG for the applicant?

22            A.      Not that I'm aware of.
23            Q.      Was there -- did ECFMG have any

24     requirements for its staff as to verifying

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        have been an admin support                             for the       board or for
        the committee as well, but I'm not sure what
        her specific role was.
                Q.                  Did       ECFMG do          anything to
        determine whether the passport and
       international driving certified that Akoda
       provided to ECFMG in 2000 were genuine or
       authentic?
                A.                  Other than            their        appearance of
10     being genuine or authentic, no.
11              Q.                  What would            it        have done       to
12     investigate --               what       did   it        do    to investigate
13     the appear --           when you say appearance were
14     there    particular               things that                ECFMG    assessed
15     from the document?
16              A.                  My    assumption would be that                         if

17     Dr. Akoda       in with a photocopy of a
                        came
18     passport and tried to pass it as an original
19     that would have triggered a question about it.
20                                  So    I    don't      know        that   we     were
21     looking at any specific details                                 on    the
22     passport, but           if        somebody hands you a passport
23     it   looked and         felt           to Mr. Kelly to be                   an    actual
24     passport and driver's license.

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         to page two of that.                This is an application
         that Akoda submitted to                    ECFMG?

                  A.            Yes.
                  Q.            What's the place of                      birth         listed

         there?
                  A.            Benin City, Nigeria.
                  Q.            Those are            different cities?
                  A.            Yes,     that's        my      understanding.
                  Q.            If   you     turn      to      Exhibit           15,        it's


10,      an   application that Igberase submitted to
11       ECFMG?

12.               A.            Yes.
13                Q.            Dated,       I      guess, he signed                   it

14       10/18/2000 on the last page?
15                A.            Yes.
16                Q.            Turn to the            third         page        of the
17:      application Bates           3467?
18                A.            Yes.
19   |            Q.            I'm sorry.             The       first       page           of     it

20.      3465.     What's the place of                 birth         that Igberase
21       listed    on   his application?
22                A.      Nigeria.
                                Lagos,
23°       Q.       Obviously this is an exercise
24  that Mr. Kelly could have done at the time?


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                                                                                                   JA4017
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                 word inappropriate, but it wasn't part of
                 our process to go further. or to see if
                 some -- I don't know what other

                 organization we could have gone to at the
                 time to see if the two people were the
                 same; if that's what you are asking.
        BY MR.    THRONSON:

                 Q.           Could you have consulted with
        someone         Nigeria Consulate to determine
                      from the
10     if the passport was authentic from their
11     perspective?
12                            MS. McENROE:              Objection to form.
13                            THE WITNESS;              I    suppose we could
14               have,    but that wasn't part of our process
15               at the time.
16     BY MR.     THRONSON:
17               Q.           Could you have called any of the
18     references that Akoda gave to determine whether
19     the letters of recommendation were authentic?
20                            MS.   MCENROE:            Objection to form.
21                            THE WITNESS:              We   could have, and
22               we may    have.      I just don't have any
23               documentation in the            file        that   we   made

24               the phone      calls.

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                                                                                JA4018
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                   Qs             Did you ever reach out to the
        alleged cousin after Akoda                       came      into the
        office?
                   A.,           You mean Igberase?
                   Q.            Yeah,        and describe the
        Situation, say         this allegation, Akoda
                                 we     have
        showed up, he says you're his cousin, and used
        his social security number, is that true?
              A.       I don't believe that we did
10      that.
11                 Q.            Why      not?
12           “     A.            I don't know.
13                 Q.            So essentially if I understand
14     it,       ECFMG's      reason for believing that it
15     compared the two               files      of Akoda          and Igberase at
16     the time          in   2000,     is that that             was   the standard
17     practice?
18                A.             In investigations like that,
19     yes.
20                Q.             But there          isdirect evidence
                                                          no
21     that you are aware                 of that that was, in fact,
22     performed?
23                               MS.      MCENROE:          Objection to form.
24                               THE      WITNESS:          Correct.




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                 Q.            Igberase and Akoda both needed
        ECFMG    certification in order to                      be able    to --
        Strike that.       individual identifying
                             The
        himself as Igberase and Akoda needed ECFMG
        certification to be able to practice medicine
        in the United States, correct?
                               MS.    McENROE:        Objection to form.
                               THE    WITNESS:         I   would say he
                needed a  license to practice medicine,
10              but as an international medical graduate,
11              part’ of the requirements for him to get
12              into a training program, which would be a
13              requirement for licensure and to take
14              Step 3, was that he have                   a    valid     ECFMG
15              certificate.
16     BY MR.     THRONSON:

17              Q.            So     an ECFMG     certificate           was a
18     necessary condition for him to be able to
19     practice medicine in --
20                            MS.    McENROE:         Objection to form.
21                            THE WITNESS:            Generally
22              speaking, unless the state board                        made      an
23              exception for him.              The     state boards, the
24              regulatory authorities,                 have autonomy and


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                 Q.            Are you aware of any other
        routes, beside through                ECFMG           certification,                 by
        which Akoda could have obtained                             a    license to
        practice medicine in Maryland?
                 A.            Other than the exception process
        by the     licensing board, that I sort of just
        described, no.
                 Q.            Do    you know           if     Maryland has that
        exception process?
10              A.             I    do    not know.
11              QO.            Have you ever spoken                            with Akoda?
12              A.             No,       I don't believe so.
13               QO.           If    ECFMG had               believed that the
14     letters of        recommendation           it          received in
15     connection with Akoda's eras*** application,
16     residency application, were not authentic,
17     would ECFMG have had an                obligation to inform
18     the residency programs to which he was                                     a    part
19     of?
20                             MS.   MCENROE:                Objection to form.
21                             THE WITNESS:                  I wouldn't               say
22              that    we   would have an               obligation, but                    if

23              we     determine that         letters              of
24              recommendation were               fraudulent,                   we    would


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                 report     it    to the residency programs.                        It

                 would be reported to residency programs
                 in general through our official
                 riotification process.
        BY MR.    THRONSON:

                 Q.              Is the public entitled to                     have
        confidence that        is acting in a reasonably
                                  ECFMG

        prudent fashion in assessing and verifying the
        credentials and qualifications of international
10      medical graduates?
11                               MS.    Objection to form;
                                       McENROE:
12               calls for legal conclusion.
13                               THE WITNESS:            I wouldn't        say
14               that they're entitled.                     I    would say that
15               they may have an expectation that                         ECFMG
16               Or any organization is following its
17               procedures appropriately et cetera.
18     BY MR.     THRONSON:
19               Q.              Should they have that
20     confidence?
21                               MR.   MCENROE:         Objection to form.
22                               THE WITNESS:           I       mean,   yes,   I
23               think they could            have that expectation.
24     BY MR.     THRONSON:


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                 A.                That        is the Federation of State
     Medical Boards.
                 Q.                Is that             an    entity          under ECFMG's
     control?


                 A.                No.
                 Q.                That's         a     separate entity?
                 A.                Yes.
                 Q.                Thank you.
                                   I    have no             further questions of
10   this witness.
11                                 MR.        THRONSON:                Just    a   few   follow
12               ups       to echo       a     few of Counsel's questions.
13

14                                REDIRECT EXAMINATION
15

16   BY MR.           THRONSON:

17               Q.                Is    it     ECFMG's expectation that
18   state medical boards                       will         rely       on    reports of
19   ECFMG        certification                status for any purpose?
20               A.                Yes.         To meet               the requirement
21   that the board might have for                                     ECFMG

22   certification.

23               Q.                Is    it     ECFMG's expectation that
24   residency programs, such as that at Howard


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     University, would rely                          on ECFMG          status for any
     purpose?
              A.                   Yes, to demarcate that that
     person met the                certification                   so they could
     enter    GME      among            whatever other requirements the
     program had.
              Q.                   It     is     ECFMG's expectation that
     hospitals that are considering whether to grant
     clinical privileges to a physician rely on
10   ECFMG    status         for        any purpose?
11            A.                   I think           it     would be            fair     to say
12   that they have the                    same           expectation             as the
13   licensing board and the residency programs                                              have
14   on the status reports; on ECFMG providing

15   information about certificate status.
16            QO.                  The     status report that                          was
17   provided to the Howard residency program
18   regarding Akoda, what                         was      all     the information
19   that that status report contained?
20            A.                   The     status report would contain,
21   his   name;       his    USMLE            identification                   number;      his
22   medical school; the year he graduated; the
23   country of medical school; the                                  validity            of his
24   ECFMG    certificate,                 what the               status        is;     whether


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                  Exhibit 3




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                                                                 Pages 1-224
                      IN THE UNITED STATES DISTRICT COURT|
               FOR     THE EASTERN DISTRICT OF PENNSYLVANIA

                                       Case No. 2:18-cv-05629-Jw

                                       Hon.   Joshua   D.   Wolson




      MONIQUE RUSSELL,           JASMINE RIGGINS
      ELSA   M.    POWELL AND DESIRE EVANS,

 10          Plaintiffs,

ii    vs.
12    EDUCATIONAL COMMISSION FOR

13    FOREIGN MEDICAL GRADUATES

14           Defendant.
15

16

17                         DEPOSITION OF WILLIAM C. KELLY
18                 Tuesday, August 20, 2019 at 9:40 a.m.
19           Law    Offices of Morgan, Lewis           &    Bockius, LLP
20                               One   Federal Street
21                         Boston, Massachusetts 02110-176




                                                                           JA4027
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                                 Conducted on August 20, 2019                         3

                                      INDE       X
        Testimony of:                   Direct       Cross
 WdS




        WILLIAM KELLY
              by Mr. Vettori                 6
              by Mr. Ceryes                            179




                                 EXHIBITS

       No.                Description                             For I.D.
       Exhibit   1    Bates   ECFMG RUSS 0000982-1032                 15

       Exhibit   2    Bates   ECFMG RUSS 0000155-158                  27

 10    Exhibit   3    Bates   ECFMG RUSS     0000105                | 31
 11    Exhibit   4    Bates   ECFMG RUSS     0000407-409              35

 12    Exhibit   5    Bates   ECFMG RUSS 0003572-3573                 40.

 13    Exhibit   6    Bates   ECFMG RUSS     0000433-437              41

 14    Exhibit   7    Bates   ECFMG RUSS 0000167                      45

 15    Exhibit   8    Bates   ECFMG RUSS 0000074-167                  47]


 16    Exhibit   9    Bates   ECFMG RUSS     0000440                  54

 17    Exhibit   10   Bates   ECFMG RUSS 0003465-3468                55

 18    Exhibit   11 Bates ECFMG RUSS 0003463-3468                    58
“19    Exhibit   12   Bates   ECFMG RUSS      0000446-447            60

 20    Exhibit   13   Bates   ECFMG RUSS 0000202                     61

 21    Exhibit   14   Bates   ECFMG RUSS 0000268-269                 63

 22    Exhibit   15   Bates   ECFMG RUSS     0000116-119             65

 23    Exhibit   16   Bates ECFMG RUSS 0000267                       67

 24    Exhibit   17   Bates   ECFMG RUSS     0003471-3472            68

25     Exhibit   18 Bates ECFMG RUSS 0004007-4014                    70


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      Exhibit   20   Bates   ECFMG RUSS       0000348-351            81

      Exhibit   21   Bates ECFMG RUSS 0000021-22                     86

      Exhibit   22 Bates ECFMG RUSS 0000023                          86

      Exhibit   23   Bates   ECFMG RUSS       0000703-706            87

      Exhibit   24   Bates ECFMG RUSS 0000643                        90

      Exhibit   25   Bates ECFMG RUSS 0000586                        94

10    Exhibit   26   Bates IGBERASE 1908                             95

11    Exhibit   27   Bates   ECFMG RUSS       0000567                97]

12    Exhibit   28 Bates ECFMG RUSS 0000666-                         99

13    Exhibit   29   Bates ECFMG RUSS 0000679                       100

14    Exhibit   30   Bates ECFMG RUSS 0000568                       102

15    Exhibit   31   Bates ECFMG RUSS 0000640-641                   103

16    Exhibit   32   Bates   ECFMG RUSS      0000576                105

17    Exhibit   33   Bates ECFMG RUSS 0000617                       106

18    Exhibit   34   Bates ECFMG RUSS 0000559                      110

19    Exhibit   35   Bates ECFMG RUSS 0000552-553                  112

20    Exhibit   36   Bates ECFMG RUSS 0004194-4195                 115

21    Exhibit   37   Bates ECEMG RUSS 0000560                      118

22   Exhibit    38   Bates ECFMG RUSS 0000557                      119

23   Exhibit    39   Bates ECFMG RUSS 0000555                      120

24   Exhibit    40 Bates ECFMG RUSS 0004476

25   Exhibit    41 Bates ECFMG RUSS 0000556


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     tell   me.

            A.    I    will.

            Q.    Because               if     you answer the question,                      I'm
     going to assume you understood                               it.      Fair    enough?

            A.    Fair         enough.

            Q.    Can we have,                       for the record, your             full


     name   and address?

            A.    My name               is William Kelly, K-E-L-L-Y.                           My

     home   address      is        47        Powerhouse, P-O-W-E-R-H-O-U-S-E,

10   Hill, H-I-L-L,            Lane.               That's in Rockport, Maine
11   04856.

12          Q.    So     you        at        one time worked              for    ECFMG,     the
13   Educational Commission for Foreign Medical
14   Graduates?
15          A.    Yes.
16          Q.    And when                   did     you leave          that company's
17   employment?

18          A.    I retired in                       May 2015.

19          Q.    So when               you        left    ECFMG,        you   didn't take
20   employment elsewhere?

21          A.    When         I    left       ECFMG,        I worked full-time.                    I
22   worked as a consultant                          for   them     for    one year

23   part-time.
24          Q.    What years would                         that be?
25          A.    That would be May 2015                                until I think         it


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                                         Transcript       of William C. Kelly
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      was    June 2016.
              Q.        Okay.           But since June 2016 you've been
      completely retired?
              A.        No.        I    do     contracting work with the State
      Department,            their International Visitor Leadership
      Program.          I'm    a       liaison officer.
              Q.        How much             of your time           does that take?

              A.        It    varies from year to year                     and   this year
      it    will      be a    total of                maybe   ten weeks.
10            QO.       What's your educational background?
11            A.       My     undergraduate,                  I   have a Bachelor   of
12    Arts from LaSalle University in Philadelphia and
13    graduate school I have a Master of Science from the
14    University of Pennsylvania.
15            Q.        Did you work in Pennsylvania?
16           A.        Yes.
17           Q.        When     you graduated from                    college, did you
18   go    immediately into your master's program or did you
19   work    first?

20           A.        I     worked          first.

21           Q.        For how long?
22           A.        About twenty years.
23           Q.        So who          did you work for in that twenty
24   year period?
25           A.        From when               I graduated         from college?


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                                       Transcript of William C. Kelly
                                       Conducted on August 20, 2019


            Q.      Yes,         sir.
            A.      I    first         worked   for       an insurance company,

     Liberty Mutual Insurance                   Company.          And then      I worked
     for   ECFMG.

            Q.      When         did    you   start with         ECFMG?

            A.      October 1977.
            Q.      Is that thirty-eight years                      you were with

     the company?
            A.      Almost.
10          Q.      Congratulations.
11          A.      Thank you.

12          Q.      And      congratulations on your
13   semi-retirement.
14          A.      Okay.

15          Q.      I need to ask you,                    what   did   you do   to
16   prepare for this deposition once you learned you
17   were coming here                 for this deposition?
18          A.      On    my own?

19          Q.      Well, in any way.                     Did you do anything on
20   your own?          Did you talk with anybody?                     Did you
21   review any documents?                    I can ask those          as separate

22   questions, but basically I                    will      start with:        What

23   did   you do       to prepare for this deposition?
24                               MS.    MCENROE:          Objection to form.
25          A.      Well,         I    met with counsel.

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                                     Conducted on August 20, 2019                                   13




              A.      Could you repeat the question?

              Q.      Could you explain how that                      certification
      process works or worked at the time you were
      employed       at    ECFMG?

                               MS.     MCENROE:        Objection to form.
              A.      There was an evaluation and                         certification
      process where international medical graduates passed
      a    series of examinations, documented their education
      ames conse    ew: Has      and    --    that    were     verified            by
10    ECFMG.

11            Q.      So    fair     enough.      What        is    the    first        step   in
12    this process that ultimately leads to certification
13    by ECFMG?
14                             MS.   MCENROE:          Objection to form.
15    BY    MR. VETTORI:
             O




16                    Do    you understand            my     guestion?
                                        step related to ECFMG?
               PF




17                    The    first
             O




18                    Yes, yes.
                            recollection is
              Pr




19                    My                               it     would be an
20    application to          ECFMG.

21            Q.      So    is that     an     application to take steps
22    one    and/or two of the               USLME?         Is that    what that

23    application is          all    about?
24           A.       Those were some             of the       exams.          There were
25    different       exams over        time, but those were                       some   of

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      me   fast-forward.                 If   that      same        applicant to               whom a

       number had been assigned,                        when he           filed         his
       application or her application, ultimately                                             became

       certified,         would the           certification                number be the

       same as      that identification number?                                   Again, I'm
      talking abut the '92, '93 period.
              A.         Yes.
                                   MR.    VETTORI:                So can you mark

      Exhibit       1?

10                                  (Exhibit        No.       1    marked         for
11    identification.)
12    BY   MR.     VETTORI:
13            Q.         So    again, I'm not trying to mislead you.
14    This    is    a 1996         booklet, not               a    1992    or      1993       booklet.
15    Okay?

16            A.         Okay.

17            Q.         But do you recognize the document that's
18    been marked as               Exhibit       1?

19            A.         Yes.
20            Q.         And       is this the         type         -- is this            document

21    given to any applicant                     --    was         this    document given

22    to any       IMG    applicant           who     applied to take any of the
23    USLME exams             in   1996?

24                                 MS.    MCENROE:                Objection to form.
25            A.         I think they would                       have had        to have        it    in

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     meant.

           A.        Yes.
           Q.    And was step two basic                 clinical science
     material?
           A.        Yes.
           Q.    And both were,              at that time, two-day
     multiple choice tests administered by                      ECFMG;     is that
     correct?
           A.    My       --   that   -- I   have no independent

10   recollection of that.              Just    from what's on the form

11   the answer would be yes.
12         Q.        So   am    I correct that in addition to
13   successfully         --   again,   I'm in this       1992     to    1996

14   period.     Am       I correct that in addition to pass                    --
15   successfully completing steps                  one and two         of the
16   USLME exams an            applicant would also        --    an IMG

17   applicant would also have to pass an English test?
18         A.        Yes.
19         Q.    And        in addition, before         ECFMG would

20   certify    an    applicant there had to be primary source
21   verification of that applicant's medical
22   credentials; is that correct?
23         A.        Of   their medical diploma, yes.
24         Q.    Nothing more than              their   diploma?
25         A.        Generally not.

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             Q.      And am       I correct also that in that                       same

     time period in order                 -- I'm         sorry,    was     -- in    that
     time period were steps one and two and was the
     English       exam    administered by                ECFMG?

             A.      To the best              of   my    recollection, yes.
             Q.      Step three was not administered by ECFMG,
     was    it?
             A.      It    was    not.
             Q.      It    was    administered by             whom?

10           A.      My    recollection             was    that    it    was

11   administered by state medical boards.
12           Q.      And am       I correct in saying that                       an IMG

13   applicant could not                sit        for step three of the             USLME

14   unless he or she             was     certified         by ECFMG?
15                              MS.    MCENROE:           Objection to form.
16           A.      I believe that                was    the process in most,             if

17   not    all    states, yes.
18   BY    MR.    VETTORI:

19           Q.      So    again, this              is just   a    general question,
20   Mr.    Kelly.        And again,          we're referring to this time
21   period that I framed from                       1992 through 2000.              Let's
22   say through 1996.

23                   Is    it    correct to say that                    an IMG    couldn't
24   practice medicine in the United States without being
25   certified       by ECFMG?

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     BY   MR.     VETTORI:

            Q.          Do you        agree with that statement?
            A.          Would you repeat                  that for   me,   please?
     BY   MR.     VETTORI:

            QO.         ECFMG works on                  behalf of domestic and
     international regulatory authorities to protect the
     public through             its        programs and services,            including
     primary source             verification of physician
     credentials?
10                              MS.        MCENROE:         Objection to form.
11          A.          That appears to be a statement of what                         it

12   currently          does and           I really don't        have any     direct
13   knowledge          of that.            It    appears to be a contemporary

14   statement.
15   BY   MR.     VETTORI:

16          Q.          You    don't believe that statement applied
17   during the period of time you were employed by
18   ECFMG?

19          A.          During part of that period.
20          QO.         When    did that           --

21          A.          The    international part I don't think                      was

22   part of       it    back    in the time frame you're talking
23   about.
24          Q.          Okay.         So    let   me      rephrase   it,   give you    --
25   ask you       if    you agree with the                  following statement.

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      ECFMG       works on behalf of domestic regulatory
      authorities to protect the public through its
      programs and services including primary source
      verification of physician credentials?
                              MS.   MCENROE:         Objection to form.
              A.      I would say yes.
      BY   MR.     VETTORI:

              Q.      Would it      be accurate         to say that         ECFMG

      protects the public by,               among     other ways,      seeing
10    that foreign medical graduates have completed                            an

11    acceptable medical education?
12                            MS.   MCENROE:         Objection to form.
13           A.       In that that's part of the certification
14    process, yes.
15    BY   MR.     VETTORI:
16           Q.       And would it        be accurate        to say that        ECFMG

17    serves to protect the public by seeing to                        it     that
18    foreign medical graduates can successfully pass the
19    requirements of the USLME examinations?
20                            MS.   MCENROE:         Objection to form.
21           A.       Yes.
22   BY    MR.     VETTORI:
23           Q.       Would it      also be accurate to say that
24   ECFMG       protects the public by ensuring that foreign
25   medical graduates meet certain standards of

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     left,         it     looks like              it    was      filed, that is received
     by ECFMG on                   April     6, 1992;            is that correct?
               A.             Yes.
               Q.             And do you see               in the middle of                 page       1


     that he submitted                       a    Social Security                    number ending           in
     5054?

               A.             Yes.
               Q.             Item four?

               A.             Yes,     I see that.
10             Q.             If     you'll turn to                page 2, what             is the         date

11   of birth             he provided?

12             A.             It     looks as though                  it         says the 17th        of
13   April         1962.

14             Q.             When     ECFMG           receives            -—-    I'm sorry.     When

15   ECFMG         received this application,                                    was any   of the
16   information contained on this form, I guess                                               it's

17   Exhibit             2,        inputted into           a     -- this is            a   dinosaur
18   talking, I don't                      know computer                    terminology        -- into        a

19   computer program?

20                                     MS.       MCENROE:             Objection to form.
21             A.             That was the procedure at this time.                                         What

22   happened             to this specific                     one,         I could not say for
23   certain.
24   BY      MR.        VETTORI:

25             Q.             And     this       may be        difficult             to answer, but

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     outside.
             Q.      And how about        in   1996?

             A.      I don't recall.
                               (Exhibit No.     3   marked        for
     identification.)
     BY    MR.    VETTORI:
             Q.      As    part of your review in preparation for
     this deposition, did             you review       this       document?

             A.      I don't recall this specific                    one,   but I
10   may    have.

11           Q.      For the record, this             is    what purports           to
12   be a diploma from the             University of Ibadan for
13   someone by the name             of Charles Olufemi,
14   O-L-U-F-E-M-I, Igberase, I-G-B-E-R-A-E-S-E.                                 Would

15   it    be the normal        practice of         ECFMG    in    1992     to
16   require       someone     like Mr. Igberase            who    filled        out the
17   application          we   just reviewed to also              submit a
18   diploma?
19           A.      Yes.
20           Q.      But you don't have any specific
21   recollection about this diploma?
22           A.      No.

23           Q.      Do you have       an independent             recollection or
24   a    recollection that's          been refreshed by your review

25   of    documents       in this    case as       to whether         ECFMG      issued

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            Q.        Thank you.                You    testified          a   little         earlier
     that   ECFMG          required IMGs to submit diplomas,
     correct?
            A.        Yes.
            Q.        And     it     was       only the diploma that had to be
     verified; is that                   your testimony?
            A.        At that time, yes.
            Q.        When         did that change?
            A.        I don't            know    that        it     changed.           I   have no

10   independent knowledge that                         it         changed.

11          Q.        So     your        recollection is that during the
12   entire      --   what         did    we    say,    thirty-five, thirty-eight
13   years that you were at ECFMG?
14          A.        Thirty-seven and                  a         half.
15          Q.        It    didn't         change, only the diplomas were

16   required?
17          A.        Not the whole time.                           And there was a

18   period before            1986        --    1984    or         1986 where we            did not
19   require primary source verification directly with
20   the medical school.
21          Q.        But     in the period of                      time that we're

22   talking about here today, which I've mentioned
23   probably too           many         times already, the diploma was the
24   only thing that had to be verified?
25                                 MS.    MCENROE:                Objection to form.

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               A.       As a general               rule, yes.
     BY      MR.    VETTORI:
               Q.       IMGs who            applied for certification by
     ECFMG were             not required to submit transcripts of
     their         medical school, were they, or were they?
                                     MS.    MCENROE:           Objection to form.
               A.       At that time, no.
     BY      MR.    VETTORI:

               Q.       So when            an    applicant such         as Mr.    Igberase
10   provided you               --    I'm sorry       --       provided   ECFMG    with    a

11   diploma, would I be correct                           in stating that         ECFMG

12   would forward that with a form                              to the medical school
13   for the medical school to verify the accuracy or the
14   authenticity of that document, the diploma?
15             A.       That was the procedure, yes.

16                                   (Exhibit No.          4   marked     for
17   identification.)


18   BY      MR.    VETTORI:

19             Q.       Do you         recall reviewing this               document as

20   part of the review you did in preparation for this
21   deposition?
22             A.       I      have no          recollection of this specific
23   document.

24             Q.       I'll         represent to you that this is an
25   application filed by                        someone       with the last      name


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     Charles,       first          name     Igberase, middle               name        Oluwafemi,
     and    this looks like -- I'm going to ask                               you        to
     verify this -- that                    it     was     received by       ECFMG on

     March 30, 1994?

             A.       I can't            make      out the date, but              it     could be
     that, yes.             It's      difficult            to read.
             Q.       Do you          see anywhere               -—-   do you see        in   item
     four whether             a     Social Security               number was

     provided?
10           A.       I     do not see one on                    this copy.
11           Q.      And again,                  I'm sorry, for the record this
12   is    Bates number 0000407, correct?
13           A.       Yes.
14           Q.       So      turn to page 408, the next page.                                What

15   date    of birth is provided?
16           A.       17th day,             fourth month, year ‘'6l.
17           Q.       So      I take        it     since you don't recall
18   reviewing this, you can't                           tell     me   whether the

19   medical information                    --     the medical school
20   information on that form is almost identical to the
21   information on the form filed by Mr. Igberase,
22   correct?
23                                 MS.    MCENROE:              Objection to form.
24   BY    MR.    VETTORI:

25           Q.       You          didn't        make    that comparison?

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     identification.)
                                  (Discussion         off    the record.)
     BY    MR.     VETTORI:

             QO.      So    Mr.     Kelly, Exhibit             6    is        a   handwritten
     letter,        which    is     dated in the upper right-hand side

     July    14, 1995,            and received at ECFMG on                         July        20,

     1995.         Can we agree on              that?
             A.       Yes.
             Q.       And    it's          Bates number 0000433 through 437.

10   Can we agree on                that?
11           A.       Yes.
12           Q.       And    it      is signed -- well,                  it       says,
13   "Sincerely, Igberase Oluwafemi Charles" and                                          it     has

14   that    519     certification              number.        Do you             see that?

15           A.       Yes.
16           Q.       And    is      it     your understanding                    -- I'm        sorry,
17   have you had time                    to look at it?
18           A.       Give     me a         minute.         I can look at this,
19   yeah.

20                    (Complies.)
21                                MS.      MCENROE:         I've finished reviewing
22   it.

23   BY    MR.     VETTORI:

24           Q.       Okay.          Do you remember               this letter?
25           A.             ?
                      Remember

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            Q.      Do you have                 an independent        recollection of
     receiving this letter?
            A.      No.

            Q.      As    part of your review to prepare for this
     deposition, did you review it?
            A.      This      letter,           yes.
            Q.      So    would you agree with                   me   that this is           a

     letter in      response to the                  prior exhibit       when you

     wrote to him saying you were investigating the
10   matter and he should write to you?
11          A.      Yes.
12          Q.      And would you agree with me that                        in this
13   letter      he confesses             to the fact that he's really
14   Igberase, that he and Igberase are one and the                                same

15   person?
16          A.      Yes.
17          Q.      And would you agree with me that                        basically
18   he blamed what he              did         on   his friends?
19                            MS.        MCENROE:        Objection to form.
20          A.      I don't         know        that I would characterize               it

21   that way.
22   BY   MR.    VETTORI:

23          Q.      Well, take              a    look at the middle of page 2.
24   He   says, “As       a   result of these"              --    meaning   his
25   inability to         get into 150 residency programs,                        any        of

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       future      —--   that the future records                     he was      going to
      use the name Igberase Oluwafemi Charles?
              A.         Yes.

              Q.
               \
                         So     after receiving this handwritten letter
      in    response to your                 letter, did the             committee on

      medical education credentials meet to review the
      matter?
              A.         That     is    my   recollection, yes.
                                  MR.    VETTORI:           Let     me show      him the

10    letter       and we can stop              right here after this.
11                                (Exhibit      No.     7    marked       for
12    identification.)
13    BY    MR.    VETTORI:
14            Q.         It's     a    short letter.               Why   don't you read
15    it,    please.
16            A.         (Complies.)           I finished reading                 it.

17            Q.         So     this letter is signed by                   you?

18            A.         Yes.
19            Q.         And     this letter is telling, I                    guess both

20    Charles and Igberase, what the results are of the
21    meeting of the education                   --    ECFMG         committee on
22    medical education credentials;                           is    that correct?
23            A.         Yes.
24            Q.         And as        I understand          it,     the decision of
25    the committee was to invalidate the                                ECFMG


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      certificate         issued as 0519573-0, correct?
                A.   Yes.
                Q.   That's the            one   that       was      issued to the
      gentleman by the              name    of Charles, correct?
               A.    I    have no independent knowledge                            of that.
                Q.   And also         is telling Charles                       and Igberase

      that     ECFMG was      revoking the                certificate issued            under
      0482700-2, correct?
               A.    Yes.
10             QO.   And    isn't      that the certificate issued to
11    Mr. Igberase?
12             A.    That     I don't        know.

13                            MR.     VETTORI:             This      is    a good time    to
14    take a break.
15                            MS.     MCENROE:             Off the record.
16                             (Discussion off the record.)
17                            MS. MCENROE:                 So   can       we    hop back on

18    the record         just for      two quick things for the

19    purposes of the record?
20                            On    behalf of             ECFMG we         are reserving
21    the right to review and sign today's transcript.
22    And we've also discussed with counsel a                                    stipulation
23    that     all objections,             except as to the form, are
24    reserved for the time of                   trial,         if    that is
25    acceptable with you-all as well.

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     the diploma and the person whose                                         name    is       on the

     application are really the                                   same    person?
                                        MS.     MCENROE:               Objection to form.
               A.         Yes.
     BY    MR.      VETTORI:

               Q.         Okay.           When      did that policy, practice, or
     procedure            first          go     into effect?
               A.         I don't recall the date.
               Q.         Was      it     effective               as    of    1995?

10             A.         I don't recall                 it       being in effect at that
11   time.
12             Q.         What          is that policy, practice, or
13   procedure?
14             A.         Okay.           And I'm        --        again, this             is at the
15   time      it    was      in place            when        I    was       there.        I        mean,

16   again, I don't                     know what it               is    now,    that          if     there    is
17   a    --   a    Significant --                  a   discrepancy between the                              name

18   on the diploma and the name                                   they're using                    when    they
19   apply for the examination that they provide
20   certain         --     some         sort of documentation to connect
21   that      -- to indicate                    the two names belong to the                                 same

22   person.
23             Q.         But      is     it     your testimony that you don't

24   believe that policy                         was    in effect, at least not in
25   1995?

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              Q.       Okay.       And so    it     looks to        me    like the
      person who took the July 1992 day one and day two
      exams        failed; is that correct?
              A.      Failed in July              1992.

              Q.      Correct.
              A.      Yes.
              Q.      And       failed step       one     in   September 1992;             is
      that correct?
              A.      Wes...

10            Q.      And       failed    day one       in January            1993;   is
11    that correct?
12            A.      Yes.
13            Q.      Do you have an              independent recollection or
14    a   recollection refreshed by                  any review           of    documents

15    you made       prior to this deposition                  as    to whether the
16    applicant by the             name    of Charles took               an    appeal from
17    the decision of the committee that's reflected in
18    your December 7, 1995,                letter?
19            A.      My       recollection is that            he   took an appeal,
20    but I don't          know which       -- I     don't recall which
21    decision.
22            Q.      Do you remember             whether that appeal
23    resulted in          a    hearing?
24          A.        My       recollection is that there                     was a

25    hearing, yes.

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               Q.           And bear            with    me     one second.

                             Do you remember when                       that appeal hearing
       took place?
               A.           No.

               Q.           I'll     come        back to that             later.                  Do you

       remember the outcome                       of the appeal?
               A.           Yes.
               Q.           What was the outcome?

               A.           My     recollection is that the appeal                                      was

 10   denied.
“11            Q.           Is that the            same        thing as saying the
12    decision to invalidate                           one     certificate               and revoke
13    the other was affirmed?                                                 7

14             A.           Yes, but that there was a                             --     a change             in I
15    believe the length of time of the revocation of the
16    one    certificate,                the specification of the date.
7                                    (Exhibit No.                9     marked      for
18    identification.)
19    BY    MR. VETTORI:

20             Q.           It's     a   one-page            letter,       sir.              If     you take

21    your time to read                   it,     I'd        appreciate            it.             Thank you,

22    Mr.    Kelly.
23            A.            (Complies.)            Yes,          I've read             it.

24            QO.           So     who   is     Marie Shafron?
25            A.            At that time Ann Marie Shafron                                        was   the

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     vice president of operations at                        ECFMG.

               Q.       And would you agree with me that                   this
     letter is outlining to the                     gentleman by the name         of
     Charles the results of the appeal hearing?
               A.       Yes.
               Q.       And do you see where               this letter recites
     that the appeal                was   considered on July 10, 1996?
     It's      in the        middle paragraph.
               A.       Yes.
10             Q.       In Washington,            DC?

11             A.       Yes.
12             Q.       And would you agree with me that the

13   decision of the review committee affirmed the
14   decision invalidating                  one    certificate       and revoking

15   the other, but limited the length of the revocation
16   of certificate             04827002      to five years from July 10,
17   1996,        until July         10, 2001?

18             A.       Yes.
19             Q.       Thank you.

20                              (Exhibit No.            10 marked    for
21   identification.)


22   BY     MR.     VETTORI:

23             Q.       So    Mr.    Kelly,   what       is this    document?

24             A.       It    appears to be a photocopy               of   an

25   application for                USMLE exams.


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            Q.    Which exams was he applying                          for?
            A.    According to the application, the                             --    both

      the step one and the step two.
            Q.    And what           is    the     name         of the applicant?
            A.    On    the application                  it's      Femi Charles

      Igberase.
            Q.    Do    you see whether any Social Security

      number was provided?

            A.    I    see no        Social Security                number on the

10    application.
11          Q.    And can you              tell     from the Bates stamp on

12    the document when         it        was     received by         ECFMG?

13          A.    Yes.
14          Q.    When was it              received?
15          A.    October 23, 2000.
16          Q.    Do   you see the date                    of birth     on the --

17    towards the bottom of Page                    1    of that application?
18          A.    Yes.
19          Q     What    is    the date of birth?
20          A     17th day of the fourth month                          in    1962.

21          Q.    April    17?

22          A     Yes.
23          Q.    Isn't that              the     same     date as on the 1992
24    application by Igberase?
25          A.    I would       have         to look.

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             Q.      Please do.                  It's    one   of the early --          it's


     the second exhibit, I think.
             A.      Yes,       it     is.
             Q.      So   did         you review           this    document,     the
     application, Exhibit 10, in preparation for this
     deposition?
             A.      I don't recall this specific                          --   no.
             Q.      Am    I correct that                  ECFMG   pretty quickly
     picked up on the fact this                           is the    same   Igberase
10   whose    certificate              had been revoked              for five years
11   through and including                       July     10, 2001?

12           A.      My    recollection is that at                     some     point, I
13   don't    know    the time period, but I know subsequent to
14   this, there          was an        allegation that              he provided        false
15   information on his application, yes.
16           Q.      What do you mean by                       there was an
17   allegation?
18           A.      My    recollection is subsequent to this                             we

19   alleged that he had engaged in irregular behavior.
20           Q.      Just to help                  answer      this question, I'm
21   going to show you                 in    a     minute your       letter dated
22   November 16, 2000, about                           this application.
23           A.      Okay.

24           Q.      So    it        appears to          me    that within less than
25   a   month's time ECFMG has concluded that this                                   is the
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     same      Igberase who had been told that his
     certification          was revoked through           July       10, 2001.

     Would you agree with me?

                              MS.    MCENROE:      Objection.
            A.      We    made      that allegation, yes.
     BY   MR.    VETTORI:
            Q.      So do you have            an independent          recollection
     as   to    how you came         to that determination?
            A.      No.

10          Q.      So do you remember me              reading to you from
11   Charles's handwritten letter that for future records
12   he   is going to         use the name Igberase Oluwafemi

13   Charles?       Do you         recall that?
14          A.      Yes,      I do.
15          Q.      He    didn't      do    that here, did he?
16          A.      No,     he     did not.
17                             (Exhibit No.       11 marked      for
18   identification.)
19   BY   MR.    VETTORI:

20          Q.      Let    me know         after you've read          it,         okay,
21   Mr. Kelly?          Thank you.

22          A.      (Complies.)             I finished reading              it.


23          Q.      Okay.          Can we go back      to the prior
24   exhibit,      No. 10?          Put that in front of you, please.
25                  Would you agree with me               that this

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       look    on      his face          and     I think I        had the same one, but
       I think I got the answer.
              A.         Okay.           I finished reading.
                                         \


      BY   MR.      VETTORI:
              Q.         So      this is        a    letter      dated May 22, 2002,
      this being Exhibit                      14, correct?

              A.         Yes.
              Q.         And      it's        your    letter?
              A.         It's       from me, yes.

10            Q.         This       is       approximately         a   year after your
11    previous         letter,           correct?
12            A.         Yes.
13            Q.         Can      I offer        what         I think is the
14    explanation for that period of time and see                                if   you

15    agree with me?
16            A.        Yes.
17            Q.        I think in              an    earlier letter       you wrote
18    that you would reconsider the matter after the
19    decision by the                USMLE       and      their   remand   to you.     Do

20    you remember that?

21            A.        Yes.
22            Q.        Is that the reason for this letter being
23    almost       a   year later?
24            A.        That would have been. the process, yes.
25                      Thank you.

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      received April 18th?
              Q.         March 18th.

              A.         March 18th, yes,               that would have been.
                                    MS.   MCENROE:         Do       you want          to take   a

      break?
                                    MR.   VETTORI:         No.

                                    (Exhibit No.          16       marked       for
      identification.)
      BY   MR.     VETTORI:
10            Q.         Mr.       Kelly, Exhibit          16, which             is   Bates
11    number 0000267,                appears to be             a    copy    of something
12    that purports to be                   a diploma from                the University of
13    Ibadan       for       a   person named Charles Igberase
14    Oluwafemi.                 Do you see     that?
15            A.         Yes.
16            Q.         Do you know whether                   this       was   submitted to
17    ECFMG      as   part of the application                        we    just
18    discussed?
19            A.         I   do    not know.
20            Q.      You         don't have any independent
21    recollection of this?
22            A.         I   do not.

23            Q.      Do you have              any     recollection whether this
24    diploma was ever                verified with the University of
25    Ibadan?

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              A.       I    have no knowledge.

              Q.       Do you have any knowledge whether any

      information           was   inputted into the computer system
      when    this application            was        filed?
              A.       I    have no knowledge.

              Q.      Do     you have a        recollection that                   ECFMG

      determined within a short period of time after this
      application           was   filed   by    this gentleman with the
      last    name    Oluwafemi that            it    was       the   same    person that
10    applied as Igberase and as Charles?
11            A.      I don't recall that, no.
12                                (Exhibit   No.      17    marked         for
13    identification.)
14    BY   MR.     VETTORI:

15            Q.      March 18,         2002.

16           A.       Okay,       I finished.           I read        --   reviewed the
17    letter.
18            Q.      So does       this refresh your recollection
19    that   ECFMG         realized pretty quickly after the                             March

20    18, 2002,       application that this person by the                                 name

21   of Oluwafemi is really the                      same       as the person
22   identified            as Charles and as Igberase?

23           A.       It    doesn't refresh            my       recollection, but
24   the     letter tells          me   that that          is   what happened.

25           Q.       You wouldn't have               written that            if    it


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     already established that, Mr. Kelly.
                                  MS.    MCENROE:             Objection to form.
     BY   MR.     VETTORI:

            QO.      Isn't         that correct?
            A.       If      that is what            we       did, then this    was a

     different applicant, yes.
            QO.      Correct.             Are you aware that this                is the
     identical diploma submitted by the person with the
     name   Charles Oluwafemi Igberase that you verified
10   with the school?
11          A.       I'm not aware of that.
12          Q.       So      again,       we have         a    situation   where the

13   applicant's          name         is different            than the name on the

14   diploma, correct?
15                                MS.    MCENROE:             Objection.
16          A.       The name            --   the sequence of names              is
17   different, yes.
18   BY   MR.     VETTORI:

19          Q.       Correct.             And   is there          any documentation

20   to indicate to               ECFMG an      explanation for that?
21          A.       I see none.
22          Q.       So      as    I    -- is   it    correct to say that             ECFMG

23   relied       on a    verification of                 a    diploma   for   someone

24   whose name           is different          than the applicant Igberase

25   Oluwafemi Charles?

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     assigned to him the number 0519573-0.                                    ECFMG

     certified        both    of those individuals with different
     certification           numbers.

              A.      Yes.
              Q.      And    that's because,             isn't         it,     Mr.      Kelly,
     that     ECFMG    thought they were two different people?
              A.      I don't         know   that I would have used that
     language, but they were two separate applicants,
     yes,     yes,    individuals, yes.
10            Q.      ECFMG would            never assign two                  certification
11   numbers and           -- I'm      sorry      --   two   identification
12   numbers and           actually certify with                  two        different
13   certification           numbers the same person, would                              it?
14                            MS.      MCENROE:        Objection to form.
15            A.      Not knowingly.

16   BY   MR.      VETTORI:
17            Q.      So    again,      ECFMG      relied        on    a verification

18   of   a   diploma       for   a    person whose          name            is different
19   than the name on the application.                                You would agree

20   with that, wouldn't you?
21                            MS.      MCENROE:        Objection to form.
22            A.      The sequence           of    names on           the diploma are
23   different        than the sequence of names on the

24   application.
25   BY   MR.      VETTORI:

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      raised       a    flag.
      BY    MR.    VETTORI:

              Q.            So why then when           Igberase Oluwafemi
      Charles applied, didn't                     ECFMG     question whether         it

      was    just       a    rearrangement of names or not?
                                    MS.    MCENROE:        Objection to form.
              A.            I would       have   to   go   back to the application
      and    look.
      BY    MR.    VETTORI:
10            Q.            Well,    we    know from one       of your letters
11    that you said the reason                     why you     didn't      make    that
12    determination             when       the application, the second
13    application             was    filed, that is          the one by
14    Mr. Charles or Dr. Charles was because his date of
15    birth       was       different       and the order        of his     name    was

16    different, correct?                    You remember that          letter?
17            A.            Yes, yes, yes.
18            Q.            So you    thought they were two different
19    people, even though the                    names were        similar, they
20    were    in    a   different arrangement;                 isn't    that
21    correct?
22                                  MS.   MCENROE:         Objection to form.
23            A.        That would be correct, yes.
24    BY   MR.     VETTORI:
25            Q.        I'm just curious              why    there's not       a diploma


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       stamp,          we    established from                   some       other letters that
       it    clearly          was March 18,                   2002;    do you       agree?
                 A.          Yes.

                 Q.          I think          my    question to you was,                it    appears
       to   me        --    I'm sorry.
                             Would you agree with                      me    that    ECFMG

       realized within                    a   short period of time after this
      March 18, 2002                 application                was    filed that this
      person using the                    name        Charles Igberase Oluwafemi                   was

 10   really the person certified                                under number
11    0482700-2?
12              A.          Yes.
13              Q.          And so you wrote a                    letter       on    July    22,
14    2002,       to       someone by the name                    of Charles Igberase
15    Oluwafemi,             correct?
16              A.          Yes.
17              Q.          His application had not referenced any
18    identification or                       certification                number,   had     it?
19              A.          Yes.
20              Q.          Yes,     it       had not?

21              A.          That     is correct.
22              Q.          But you referenced the 0482700-2
23    certification                 number, correct?

24             A.           Correct.
25              Q.          And that was the one assigned                            to Igberase

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     dated January 3, 1996.                        Can you       confirm that?
             A.      That appears to be the receipt date,

     yes.
             Q.      Right.        Does       it     list    a    Social Security
     number?

             A.      There    is none listed on there.
             Q.     What     is the date of birth? Second                         page.

             A.      January 1, 1959.
             Q.     And does        this applicant, John                     Nosa Akoda,

10   indicate       what medical school he attended?

11           A.      Yes.
12           Q      Which one?

13           A.      University of Benin, Nigeria.
14           Q.      Does he       indicate            when he      graduated?
15           A       He   does not          list       the degree date.           He

16   lists       his attendance dates.
17           Q.     What     are the attendance dates?
18           A.      October '81 to October '87.
19           Q.      If   you look          at Bates         page 40705, which         I
20   think is the third             page           of the application, part            C.

21           A.     Yes.
22           Q.      There    is    a   photograph attached or there                       is
23   a   photograph on that page;                      is there      not?

24           A.      It   appears to be a photograph.

25           Q.      Isn't that         a     requirement of           all


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       applications, that they attach                 a photograph?

                              MS.    MCENROE:      Objection to form.
              A.      That    is,    yes.
      BY    MR.    VETTORI:

              Q.      And doesn't that photograph have                    to   be

      verified       by the dean of the medical school?

                              MS.    MCENROE:      Objection to form.
              A.      It   does not have        to be.
      BY    MR.    VETTORI:
10            Q.      What was the procedure             in   1996   at    ECFMG

11    with respect to the verification of                     a   photograph        on

12    an    application?
13            A.      I don't recall.
14            Q.      So   in section Bl,        down towards        the bottom,
15    the form says,          "Explain in the space below              why the

16    application could not             be    signed in the presence of
17    your medical school dean, vice dean, or register                              --
18    any    registrar.        Any explanation must be acceptable

19    to    ECFMG and must be          provided each time you submit
20    an    application to          ECFMG."

21                    Do you see       that?
22            A.      Yes.
23            Q.     And the handwritten answer was "because

24    the postal system to Nigeria could not be guaranteed
25    within the available time."                 Did I read that

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       any time while you were employed by ECFMG?

              A.        Yes.
              Q.        What?

              A.        You would check the name and the seal

       against samples in the reference library, in the
       credential reference library.
              Q.        But you don't know when that was?
              A.        No.

              Q.        You    don't     know if      that reference library
 10   was    utilized in             the 1996 time period?
 11           A.        I don't recall.
 12           Q.        Does    it    appear to you that the dates of
 13   attendance at the University of Benin are the                               same

 14   on    Exhibits       24 and 23?

 15          A.         Yes.
 16          Q.         From your review             of the    many   records in
 17   preparation for this deposition or from your
 18   independent personal knowledge,                       do you know why         this
 19   occurred, the individual applied once, didn't take
~20   any exams and then applied again?

21           A.         No,    I don't     know.

22           Q.         You    don't remember?
23                              MS.    MCENROE:         I'm just going to         --     he

24    stated       he   didn't       remember,       but I think      testified        he

25    didn't       know.



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                A.         Yes.
                Q.         And the middle name on the diploma                                is
      Enosekhare, E-N-O-S-E-K-H-A-R-E, correct?
                A.         Yes.
                Q.         And Akoda              is        the    same    on   both, correct?
                A.         Yes.
                Q.         Do you know                 if     ECFMG       verified this
      diploma?
                A.         I     do    not know.
10              Q.         Do     you know whether John Nosa Akoda was

11    ever      certified              by ECFMG?

12              A.         My     recollection is that                          he was.

13                                     MR.    VETTORI:                   Off the record.
14                                     (Discussion                 off     the record.)
15                                     (Exhibit              No.    26 marked       for
16    identification.)


17    BY    MR.      VETTORI:
18              Q.         So Mr.        Kelly,              what        is this   document?

19              A.         It     --    to    me it's              got a photocopy of             an

20    ECFMG       certificate.


21              Q.         Are you           familiar with this                    form of

22    document?

23              A.         Yes.
24              On         So would           I    be        correct in stating that                   when

25    an    applicant is certified, they receive                                      one    of
     —===            SSS


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      that the gentleman by the                          name    of   Akoda             is
      participating in                   a    residency program at Jersey Shore
      Medical Center?
              A.      Strictly               speaking that he had started the
      program.

              Q.      And        this completed form                  was          received by
      ECFMG on       July        24, 1990          --    I can't      tell          the date.
      Can you       read that date?
              A.      I       can read the              July    24, but not the
10    rest.
11            Q.      I think             it's     '99.
12            A.      Since the valid                   indefinitely sticker                         was

13    sent    in    1998,        it's        likely      1998   is    the date                 it   was

14    received.
15            Q.      So it's             my somewhat           limited understanding
16    that as of          1998 when a IMG who has been                                  certified          by
17    ECFMG and who has                   passed step three of the USMLE
18    applies to          a   residency program,                 ECFMG             in        some

19    fashion assists in that application                                    if     requested to
20    do so?        Is that understanding correct?
21                                MS.        MCENROE:       Objection for form.
22            A.      Assist in the application?
23   BY    MR.     VETTORI:

24            Q.      Yes.              And you can        restate           it,        if     it   helps
25   you

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              A.     Yeah.           I    mean,       we work           with the
      Association of Medical                     --    American Medical Colleges

      for the electronic residency application service
      where    we   serve as the dean station                                for international
      medical graduates applying                        for residency              programs.
      So   in that        sense we are a part                  of that process.
              Q.     So as          part of your participation in the
      ERAS    process,         is    it     correct that                --    when an

      applicant      --     I'm sorry.             When       an        IMG    applies to       a

10    residency program using ERAS, another acronym,                                           ECFMG

11    transmits      a    status report to the residency program;
                                                                .

12    is that correct?
13            A.     That was the process, yes.
14            Q.     As    part of that                ERAS    process, again I'm
15    talking about this                  1998    time period,                 did the    --    was

16    the applicant required to send to                                  ECFMG    supporting
17    documents      for further transmission to the residency
18    program?
19            A.     I    am   not sure.
20            Q.     As    part of the             ERAS program,                 in the    time
21    period we're talking about,                        was       it        the practice for
22    ECFMG    to transmit the                 IMGs USMLE               transcripts       as

23    requested by the applicant?
24            A.     If    requested by the applicant, yes.
25            Q.     Do you know              what, generally speaking,

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              A.     Okay.        I reviewed                 it.

              Q.     Okay.        Are you           familiar with this
      letter?
              A.     I've     seen          this    letter          before, yes.
              Q.     This is           a letter          from James McCorkel who

      is vice president of                   academic              affairs at Jersey
      Shore Medical Center                   to Eric           Holmes     at   ECFMG

      dated    --   I don't       know what              the date         is, but       it   was

      received by      ECFMG           on   August 11, 2000, correct?
10            A.     That's the received date, yes.                                  There    is   a

11    Friday, August         11,         2000,      that date under Meridian
12    Health Systems.
13            Q.    Thank you.                What does the               AIS stand for
14    under ECFMG?

                    Applicant Information Services.
           P




15
              OO




16                  Are you the "To                    Bill"        on   the top?
                    Very
              Pr




17                           likely,              yes.
18            Q.    I take       it      Mr. Holmes holds a pretty steep
19   position or did at                 ECFMG?

20          A.      His     name was              Royce, R-O-Y-C-E,                 and he

21    Since died and he was                   in the information services
22   department.
23          Q.      Would you agree with me that                               in this
24   letter Doctor McCorkel is notifying                                 ECFMG      that John
25   Charles Akoda         certificate                 05532585 who            is   a   resident

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       in the Jersey        Shore residency program presented to

      Jersey Shore Medical Center                    a    Social Security            number

      that    was   issued to Igberase?
              A.     That   is    what he       states, yes.
              Q.     That Social Security number ended                          in
      9065?

              A.     That's what the letter says, yes.
              Q.     That's the         same    9065       number      that    was

      provided to you in Exhibit                    32    in   1998,    correct?
10            A.     Exhibit 31, yes.
11            Q.     Did I mix      my numbers             up?    Okay.        I stand
12    corrected.        Thank you.         It       looks to      me    like    Stephen
13    Seeling replied to that              letter          on August 22,         2000.

14    Do   you remember      we    talked about that earlier?
15            A.    That's Exhibit 31.
16                          MR.    VETTORI:              Can we mark         that,
17    please?
18            A.    I   have a     letter.
19            Q.    I think       you   told        me    you wrote      this
20    letter?
21           A.     Yes,    I'm sure I did.
22                          (Exhibit      No.        35 marked         for
23    identification.)
24            Q.    ‘This letter that               you ghosted         for
25   Mr. Seeling indicates that the medical diploma of

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     the individual               certified       under 482700-2 was           verified
     with the medical school.                      Do you       see that   in the
     third paragraph?
             A.       Yes.
             Q.       And    it     says the same thing               in the   second

     paragraph about the diploma of the individual
     certified        as number 0553-285-5,                  correct?
             A.       Yes.
             Q.       We've already             established for the record
10   that    it     was   the      same    diploma, correct?
11                                MS.    MCENROE:      Objection to form.
12           Q.       Let    me     restate the question.                There    is   no

13   diploma in the               name    of -- hold      on a second.           Let   me

14   make    sure I got the               right    name   -—-    Igberase Oluwafemi
15   Charles?
16                                MS.    MCENROE:      Objection to form.
17           A.       I   have      to    go back and look           at the
18   diploma.
19           Q.       I can represent to               you      --   you can look      at
20   anything you want.                   I can represent to            you we    talked
21   about        this for about five minutes                    and the   last    name

22   on the diploma               is Igberase.         This is the one you
23   said    was     the order of the names was different?
24           A.       Yes.
25           Q.       But there           is in fact      no diploma with the

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      last    name    Charles on             it?
                             MS.        MCENROE:            Objection.
              A.      Listed      as the           last     name   on    the diploma?
              Q.      Correct.
              A.      Yes.
              QO.     In Mr. McCorkel's letter to                         you,    the prior
      exhibit,       he   also talks about the fact that Jersey
      Shore Medical Center would be                           interested in knowing
      whether ECFMG had requested                          for verification of
10    Doctor Akoda, also known as Doctor Igberase, ECFMG's
11    certification status                   from other teaching               hospitals
12    including Harlem Hospital Center in the period of
13    time of approximately 1995 to '96 or JFK Memorial
14    Hospital in 1997,                '98.        Do    you see that?

15            A.     Yes,    I do.
16            Q.      In the      letter           you ghosted          for   Mr. Seeling
17    it    was    stated that          on    the last paragraph,                "ECFMG has

18    no    record of receipt of request for verification of
19    the    certification status                   from Harlem Hospital Center

20    or JFK Memorial Hospital Center."                              Do you see

21    that?
22            A.     Yes.
23            Q.      I take      it       you or somebody at your
24    direction      made    an        investigation of that before
25    writing that letter?

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            A.     Yes.
            Q.     He   told    you that he's not Igberase

      Charles, but rather than he's his cousin?
            A.     That's what        he   said, yes.
            Q.    And     --
            A.     --   according to the           memo.

            Q.     I apologize, Mr. Kelly.                 He   again admits
      to using his cousin's Social Security number,
      correct?
10          A.    Yes.
11          Q.    And so he provided you with an                    original
12    Nigerian passport and Nigerian international driving
13    permit and you      made     copies, right?
14          A.    That's what         it   says.
15          Q.    He    told    you   that he'd been suspended by              »

16    Jersey Shore?
17          A.    Yes.
18          Q.    Did you       make any       attempt at that time to
19    verify the authenticity of his passport?
20                        MS.    MCENROE:         Objection to form.
21          A.    I don't       remember.

22          Q.    Did you at any time              make an      attempt to
23    verify the authenticity of his passport?
24                        MS.    MCENROE:         Objection to form.
25                I don't       remember.

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              Q.       Do    you remember whether                     his passport
      showed a date              of birth?
              A.       I would          have   to look at             it,       but generally
      I   know     passports have dates of                   birth.


              Q.       And       did    you ever go back and check the

      date of      birth         on    his passport in comparison with the
      date of      birth         on    Exhibit 33, his request for
      permanent        revalidation of standard                         ECFMG

      certificate?
10:           A.       I don't         know if       I did.
11            Q.       Do you          know how you would go about

12    checking the authenticity of                       a   Nigerian passport?
13                               MS.    MCENROE:         Objection to form.
14            A.       Do    I   know?

15            Q.       Did you know at that time?
16            A.       I   may have.           That would be                  trying to
17    project or guessimate                 what would have happened.

18                               MR.    VETTORI:         Shut up.                    That was my
19    watch    I was. talking to.
20                               MS.    MCENROE:         Let the record
21    reflect.
22            Q.      Take a look           at Exhibit          33          for      me,    would
23    you, please?
24            A.      Yes.
25            Q.      What       is    the date of birth                    listed         on

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       there?
               A.      April        17, 1963.

                                (Exhibit No.           42 marked          for
       identification.)
               Q.      While looking at              --    Mr.    Kelly, this is                a

       copy    of Federal Republic of Nigeria passport
      produced to us by ECFMG.                      Would you agree with what
       I just said?
               A.      Is this the           copy that was             in his       ECFMG

10    record?
11             Q.      It   was produced            to us by       ECFMG.           It's    got
12    a     Bates number on           it.

13            A.       Then    it     is.
14             Q.      Would        this    have been what he produced                      to
15    you    at this meeting?
16            A.       If   this is in the            ECFMG       records as having
17    been produced,           yes.         I don't       know    just by looking at
18    it.

19            Q.       I appreciate that.                 What     is his          date of
20    birth     on    his passport?
21            A.       It   looks like January 1, 1959.
22            Q.       That's different from the birth date                                on

23    Exhibit        33?

24            A.       Yes.
25            Q.       So   I'm not sure,           maybe        this is       a   function

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      telling      you that                 is    the number system now.
                                     MS.         MCENROE:     Objection to form.
             Q.         I don't think there's                      a   question pending.
      I think he's told                     me he     doesn't know.
             A.         I don't             know.

             Q.         It's         fair         to say that, though, that                 you

      have no      recollection of                    making any attempt               to verify
      the authenticity of that passport?
                                     MS.     MCENROE:         Objection to form.
10           A.        I       do    not remember making                    an   attempt,
11    yes.
12           Q.        So        either before              Akoda came           into your
13    office      on   September 27 or                    after    he came          into your
14    office, did              you undertake any                 investigation of your
15    database to              try    to determine whether Akoda and
16    Igberase were one and the                           same    person?
17           A.        I don't              remember.

18           Q.        I think we've established                             from some of the

19    applications that we've                         gone over here today               that
20    photographs are attached to the applications?
21           A.        Photographs of the applicant, yes.
22           Q.        Those are maintained                       in   ECFMG's

23    database?
24           A.        Yes.
25           Q.        If       you,        either before or after                  September

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      27, had gone         into the database to look for                       a

      photograph of Igberase and looked for a photograph
      of Akoda,      you could have done that?

                               MS.     MCENROE:            Objection to form.
             A       I believe I could                    have,   yes.
             Q.      You      didn't     do        that?
             A       I don't          know if        I did.
             Q.      So how      long did Igberase spend                  in       your

      office      on the 27th          of September           2000?

10           A.      I   do   not know.
11           Q.      I take      it     you        didn't recognize       him as

12    somebody you'd seen before?

13           A.      I don't          know.         I don't recall.
14           Q.     Well,       I take        it     if    you had recognized him

15    as someone you had seen before,                         you would have

16    memorialized that in               some        fashion, wouldn't you?
17                            MS.     MCENROE:             Objection to form.
18           A.     It    depends on what you mean by someone
19    I've   seen before.

20           Q.     Seen as a someone holding                       himself out to
21   be someone by the name                   of Charles or by the             name       of
22    Igberase?
23                            MS.     MCENROE:             Objection to form.
24           A.     I believe I would                     have,   yes.
25           Q.     So   you     actually           had seen Charles before,

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       hadn't you?
                                 MS.    MCENROE:        Objection to form.
               A.     I don't recall.
               Q:     So do       you remember when             I    asked you some

       questions earlier today about                      --   humor    me    --   the
       history of the events with Igberase                           and Charles?
               A.     Yes.

               Q.     Do       you remember you          told       me, because you

       wrote    it   in    a   letter     when      you were        reciting that
 10   history, that            he took an appeal from the                    original
 11    invalidation            and revocation          of the two
 12   certificates?
 13            A.    Yes.
14             Q.    And that there was an appeal hearing                           in
15    Washington, D.C.             on   July     11, 2016.

16          A.       I     remember there was an appeal hearing.

17          Q.       And you were there?

18          A.       Yes.
19          Q.       And you were there                 for    a number      of
20    hours?
21          A.       Okay.

22                              MS. MCENROE:            Objection to form.
23          Q.       Is that correct?
24          A.       I    remember being              there, yes.
25          Q.       And so you sat              in    a room   with this person

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       identification.)
                   A.      I'm leafing through                           it.

                   Q.      Please do.                  I   can    tell          you that    I didn't
       find        any    start date for that transcript, but                                  if    you

       look        on    the last page             it       ends         at 11:50.
                   A.      Okay.

                   Q.      Don't take           my         word     for         it.     Please verify
      it.

                   A.      Okay.         Yes.
10                 Q.     And on the cover sheet it                                   shows you as

11    being present, correct?
12                 A.     Yes.
13                 Q.     And     I'll     represent to you that this
14    individual           who goes by                 the       name          of Charles    who    is
15    also         we know now           Igberase            testified at this
16    hearing?
17                 A.     Yes.
18                 Q.     So   whether          it's         an hour             or two hours or
19    three hours,             it's       some         period of time that you were
20   present in Washington, D.C. at                                       a    proceeding where
21    the individual calling himself Charles appeared and
22    testified,           correct?
23                 A.     Yes.
24                 Q.     And a person                 calling himself                  Akoda, who
25   was      in your office having                         been accused                of really

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       Igberase and Akoda were one and the                        same   person,
       correct?
              A.    Yes.
              Q.    And he          said    he has no     proof, just       a   strong
       suspicion, correct?
              A.    Yes.
              Q.    And he          said information         he   received from
      an     informant provided details that led him to
      believe this, correct?
10            A.    Yes.
11            Q     Do you know who               that informant is?
12            A.    No.

13            Q     Did you ever ask him?
14            A     I don't recall.
15            Q.    You       didn't memorialize that               anywhere      in
16    any memos or notes,              did you?
17            A.    If    I   had,     it    would be     in the record.
18            QO.   "I also believe               Akoda and Igberase are one

19    and the same,"           that's       you   talking, correct?
20            A.    Yes.
21            Q.    Why       did   you     believe that?
22            A.    I don't         remember,       but from reviewing the
23    records I thought there                 was a nexus between           the
24    two.
25            Q.    After      all    the time       we   spent here today

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               A.     I don't      remember.

               Q.     So    in   many   of the letters we've reviewed
       here today when you talked about verifying

       applicant's credentials, you also                   go   out and state
       you    verified their medical school credentials
       including their diploma, correct?
              A.      Yes.

              Q.     Would it      be    safe or      fair for    me       to   assume

       that   if    you had      verified the accuracy or
 10    authenticity of his passport, you would                        have made a

 11    statement to that effect somewhere?
 12                          MS.   MCENROE:         Objection to form.
 13           A.     Yes.
 14           Q.     So you      indicate that         you sent Igberase an

 15   e-mail, correct?
 16           A.     Yes.
17            Q.     That's the         one we went over a            little      while      ;

18    ago,    right?
19            A.     Yes.
20            Q.     And you state,         quote,      "And who should

21    reply but Akoda, exclamation mark"?
22            A      Yes.
23            Q      Correct?        That's your emphasis?
24            A.     Yes.
25            Q      That surprised you,             didn't it?

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             A.      You mean at the time he answered?

             Q.      At the time you wrote this                        memo.    Why    did
     you put an exclamation "but Akoda,                              exclamation
     mark"?

             A.      For emphasis or something                        like that,
     yes.
             Q.      Emphasis to what                  effect?
             A.      That    it     seemed         strange.
             Q.      Okay.         "We      need      to brainstorm       on   this
10   one."        You wrote        that, correct?
11           A.      Yes.
12           Q.      "Maybe        Shirley Williams, parens,                   Ms.

13   Sherlock"       -- is        that      a   reference to Sherlock
14   Holmes?

15           A.      Most    likely,            yes.
16           Q.      I'm sure        it's        an    affectionate reference.
17   I don't       know Ms.       Williams.              "Maybe      Shirley Williams,
18   parens, Ms. Sherlock could                        sit    in."     You wrote      that,
19   correct?
20           A.      Yes.
21           Q.      Did you and Mr. Seeling with or without
22   the assistance of Ms. Sherlock brainstorm this
23   matter further?
24           A.      I don't        remember.

25           Q.      Can you       point to            me    any record,       any

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             A.     Yes.
             Q.     And you knew as             of late              December 2000    that
       ECFMG had    invalidated and/or revoked the
       certificates issued to Igberase                      and Charles,
       correct?
            A.      Yes.
            Q.      You knew there was some connection,                           a

      relationship         between Igberase and Akoda,                      correct?
            A.      Yes.
10          Q.      And you knew that Akoda had used a                           Social
11    Security     number          of Igberase       when he          applied to the
12    residency program at Jersey Shore Medical Center,
13    correct?
14          A.      Yes,
15          Q.     And         I think we've already established
16    this, I     know     I'm repeating myself, but bear with                         me,

17    you had the        ability       to look       up   all        the computer
18    photographs of Igberase and Akoda to                             verify   whether
19    they were one and the              same       person, correct?
20                             MS.    MCENROE:        Objection to form.
21          A.     Yes.
22          Q.     And you           didn't    do   that, correct?
23                             MS.   MCENROE:        Objection to form.
24          A.     If      I   can    circle    back,      the internal
25    document    with the comparison, so                       it    would have had

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              A.         The       irregular behavior               he   would have been

      charged with would be providing false information
      to    ECFMG on          an       application,      among       other things.
              Q.         Which would be the Social Security

      number?

              A.         If       he    provided    it   on    an    application.
              Q.         So       you're aware that Jersey Shore Medical
      Center dismissed him from a residency program                                 he was

      participating in                   and had been         participating in for
10    several years for,                   among    other things, submitting
1i    and using someone                   else's Social Security             number?

12            A.         Yes.
13            Q.         You may not be able                  to answer this.           Have

14    you ever been advised                    of   what he was convicted               of or
15    what he pled                guilty to in the federal court?
16            A.         No.

17            Q.         Do       you   recall that apparently Igberase                  was

18    licensed as             a    -- I'm sorry --            Akoda was     licensed as
19    a    nurse    in    New       York?
20            A.         No.

21            Q.         Do       you remember any            information provided
22    to    ECFMG   by Akoda about him being licensed as                            a

23    nurse    in the State of                New    York?
24            A.:    No.

25            Q.         Same       set of questions about Igberase.                     Do


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             A.     Yes.
             Q.     At.the bottom              it   looks like           --   is    that the
      ECFMG ERAS      stamp or           did I miss           --

                    Yes.
              -P
             iO


                    And     that's October               5, 2006,        correct?
             P




                    Yes.
             Q.     So     given that this               is        an ERAS document

      submission form, wouldn't that necessarily                                   mean    that
      this is related to                some   attempt to obtain a
10    residency program?
11                               MS.    MCENROE:         Objection to form.
12           A.     It's         part of the electronic residency
13    application service, yes.
14           Q.     But     it     doesn't have any use outside
15    residency programs, does                  it?
16                               MS.    MCENROE:      Objection to form.
             Pp




17                  The     form?
             OO




18                  The whole ERAS process.
              PrP




19                  Not to         my    knowledge.
20           Q.     Because you            told     me   before that as part of
21    the   ERAS program,              ECFMG   in effect acts             as the dean's
22    office for foreign medical graduates or
23    international medical graduates to assist                               them        in
24   applying for residency programs, correct?
25          A.      Yes.

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              Q.            That's Bates             stamp       000651?

              A.            Yes.
              Q.            And     you'll       note on Bates stamp 000651
      there      is    a         stamp       received October 5,             2006 ERAS,

      correct?
              A.            Yes.

              Q.            If     you go back to            Exhibit 50, the          ERAS

      document         submission form that references these three
      letters of reference                       you'll      see the ERAS form was

10    received        on         the     same    date;      is   that correct?
11          A.              Yes.
12          Q.              Continuing, the next page in this exhibit
13    is   Bates stamp 000649, November 22, 2006,                                   your
14    letter to Phil Robertson,                            MD,   correct?
15          A.          Yes.
16          Q.          Again, enclosing                    a letter        of reference
17    purportedly from Phil Robertson,                                 MD   on   behalf of
18    Doctor John Charles Akoda dated 28 September, 2006,
19    correct?
20          A.          Yes.
21          Q.          It's         got the         same    October 5, 2005 ERAS
22    stamp on        it,         does it        not?
23          A.          Yes.
24          Q.          Do        you have any             recollection whether
25    Doctor A.O. Roberts, Doctor Phil Robertson, or

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      Doctor Charles Francis ever replied to your
      letters?
              A.          I    have no          recollection.
              Q.          In your review in preparation for this
      deposition, did                 you see any such records?

             A.           I don't recall seeing                   any.

                                     (Exhibit No.             52 marked       for
      identification.)
             A.           Okay.          I've read,this.
10           Q.           What       is this       document?

11           A.           It    is   a    screen print from the                    ECFMG

12    applicant status program.
13           Q.           About Akoda?
                          Yes.
             P




14
              OO




15                        What does             applicant restrictions               mean?

                                                       called flags from the flag
              FP




16                        That's what             we

17   file.


                                                   for
             O




18                        Flag to        file             what purpose?
                 PYF




19                        There are myriad                a   number       of reasons.
              Oo




20                        Like in this case what                     was    the reason?
               PrP




21                        There would always be                  a    reason       listed
22   here.         It's        other, other, credentials investigation,
23   credentials investigation, credentials
24   investigation, other.
25           QO.          What does             release date         mean?

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       line of communication with those institutions?
                                MS. MCENROE:           Objection to form.
             A.      In       some    cases, yes.
             Q.      Do you know           if   ECFMG had such a

      relationship with the University of Ibadan College
      of Medicine?
             A.      I    do not know.

             Q.      What about the             University of Benin?
             A.      I    do    not know.
10           Q.      I    assume       there are cases in which                   ECFMG

11    determines         an    applicant has engaged in                    some    fraud in
12    the course of submitting                  an   application?             Fair?
13           A.     Yes, there were instances.
14           Q.     Can        you provide me some estimate                       in   terms
15    of   how    frequent an occurrence that was, let's say
16    between 1990 and 2000, maybe as                         a   percentage of
17    total applicants?
18                              MS. MCENROE:          Objection to form.
19          A.      I really don't              have any idea how many were
20    done, but     just to let           you know that we always

21    reported and there               is notification             so it     could     be

22    reconstructed.
23          Q.      And as           I understand       it,       one   of the
24    principle goals at              ECFMG     is to     make      sure or to do           --
25    is to verify that              those people who are applying to

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       practice medicine here in the United States                                have

       authentic credentials               when          they   come    here to

       practi Se medicine.              Fair?
              A.    To    assure they're competent physicians,
       yes.

              Q.    And    in        your role with ECFMG you understood
       that one of the          --    well, that residency programs                      and

       state medical boards rely upon                        ECFMG      to conduct that
       verification of foreign medical                          graduate credentials
 10   prior to those individuals                         coming here     to practice
 11   medicine.      Fair?
 12                        MS.        MCENROE:            Objection to form.
 13           A.    That was one of the components of                         ECFMG

 14   certification,       yes.
 15           Q.    And would you agree that ECFMG plays an
16    important role in public health by verifying that
17    physicians     who come here             to practice medicine have
18    the necessary and requisite credentials to                             do    so?
19                         MS.        MCENROE:            Objection to form.
20            A.    That   is part of              it,     to protect the
21    American     public, yes.
22            Q.    And another           role that             ECFMG   plays is
23    detecting or endeavoring to detect                           when an

24    individual lacks the               --   well,        when    an   individual       has
25    not been honest in presenting their identity or

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             A.      It    was    standing committee of the                       ECFMG       at
     Board       of Trustees for the specific charge of
     reviewing policies and procedures, making
     recommendations             to the Board for any changes or
     modifications to the certification requirements, and
     to review allegations for irregular behavior.
             Q.     And who,            if     any,    at    ECFMG had      the    ability
     to elevate potential suspicious conduct such that                                            it

     would be considered by the credentialing

10   committee?

11           A.      It    was   generally             a    group,    a   review of       a

12   group recommendation or decision                           of staff.
13           Q.      Sure.        If         you   in particular --         and     did       you

14   hold the       same    position from approximately                       1991    until
15   your retirement?

16           A.     No.

17           Q.      Can you           describe        how your       position with
18   ECFMG changed          during that period of time?
19                           MS.        MCENROE:            Objection to form.
20   Calls for       a    narrative over               38    years.
21           A.     And     I'm not sure of the exact dates for
22   some    of these, but around                     1991    I think I     was     the
23   manager       of the information services department.                                    I
24   was    not involved in credentials, but around 1992 or
25   1993    I    became a manager                 of the credentials

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      department         for   a   period of time, and then I                       became

      director of the credentials                  and records             services,
      and then     at the time I’ retired, I                       was   associate vice
      president for operations areas of credentials                                   and

      information services, records-keeping, and                                a    number

      of other areas.
             Q.     Okay.          So from      the time beginning when you
      were the manager             of the credentialing department
      through     until    your retirement,                 if     you had a

10    particular concern             about an applicant, would you
11    have the     ability to elevate that                        concern to the
12    credentialing committee?
13           A.     By myself          solely?         So        long as nobody
14    objected, I think I might have.
15           Q.     Okay.          What was Stephen                Seeling's role
16    with   ECFMG?

17           A.     He was         the vice president for operations.
18           Q.     If    Mr. Seeling had a concern about a
19    potential applicant, would                  he    also have the               ability
20    to independently bring that before the credentialing
21    committee?
22                             MS.   MCENROE:          Objection to form.
23           A.    When        you say independently, he would have

24    done   that in conjunction with                  me.-           I would   have been
25   part of that.             I don't     know    that          he   would take an
                                           Se


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      a dean         station?
                A.        Dean's     office.                                               °

                Q.        Dean's     office.          So what do      you mean by

      that?
                A.        It's     the    facilitator for          the process to
      gather together               all    the components of             an    application
      for   a    residency program and submit                      them on       behalf of
      the graduate.                Unlike in the US, the University of
      Pennsylvania School of Medicine, that dean's office,
10    would gather together                     all   the documents for           its
11    graduates to submit to the residency programs.
12    ECFMG      did that for international medical
13    graduates.
14              Q.        And how was ECFMG compensated                       for that
15    effort?
16              A.        There was a fee             for the     ERAS      token, and   my

17    recollection is that that's                        how it    was

18    compensated.
19              Q.        That was paid by the applicant?
20              A.        By the     --    yes.
21              Q.        And so     is    it   generally the fact that
22    residency programs require letters of reference as
23    part of        an    application?
24                                MS.     MCENROE:        Objection to form.
25          A.            Letters of recommendation they called

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       them,       but yes.
               Q.      And ECFMG undertook the                   role to provide
       some    verification with respect to                      those        letters of
       recommendation?
               A.      No.

               Q.      In this particular case                   you reviewed with

       Mr.    Vettori      a    series of letters that you wrote in
       response to         an   application written by Akoda asking
       those individuals to                verify that the letters of
 10    recommendation were authentic.                       Do you        recall
 11    that?
 12            A.     Yes.
 13            Q.     Is that not               something that you would do                in
 14   the normal course?
 15           A.      That was not a routine procedure.
16             Q.     And why         is   it     that you elected to            do   it   in
17    this case?
18            A.      My     belief is that           because he was otherwise
19    being investigated.
20            Q.      And so safe               to say that at that point in
21    2006 you had some concerns about Akoda's

22    credibility?
23                              MS.   MCENROE:         Objection to form.
24            A.      Yes.
25            Q.      And so under these Bie-d@astances you

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      thought      it       was   important to reach out to those
      individuals from              whom          Akoda had       offered letters of
      recommendation to                 find out          if    they were         in fact
      authentic?
                                  MS.    MCENROE:              Objection to form.
             A.         That      is correct.
             Q.         And as      far       as what          is reflected in         the
      record and to the best of your recollection, none of
      those individuals responded to your letters,
10    correct?
11           A.         That      is correct.
12           Q.         In other words, your concerns regarding
13    Akoda's      credibility               were not          alleviated by that
14    process that you went through in sending out these
15    letters to those individuals?
16                                MS.   MCENROE:               Objection to form.
17           A.         We    did not receive verification of those
18    letters of            recommendation.
19           Q.         Did you         --   if        you would turn         to Exhibit
20    51.

21           A.         Yes.
22           Q.      First of all -- actually, if we would go
23    to the      actual letter of reference reportedly from a
24    Charles Francis,              when          --   actually, I'm going to step
25    back   just       a    minute.

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     Operations Squadron, you of course would have
     reviewed this           letter of reference prior to writing
     this letter to Charles A. Francis,                              MD,   correct?
                               MS.      MCENROE:            Objection to form.
             A.   I don't              Know        -- I    don't    know   that I
     personally       may have reviewed it,                        but someone would
     have reviewed           it.

             Q.   Okay.               You,     I'm sure       -- well.       Had you

     reviewed this           letter          of reference,           can we agree that

10   this    document would              raise red flags for                you based

11   upon your years               of experience in terms of the
12   credibility assigned to this particular letter of
13   reference?
14                             MS.      MCENROE:            Objection to form.
15           Q.   Is    it         what it         purports to be?
16                             MS.      MCENROE:            Objection.
17           A.   I've         seen      all        kinds of letters of
18   recommendation, and I can't say that there                                is   any

19   one    that I would be more concerned about this than
20   maybe    other ones that turned out to be legitimate.
21           Q.   Did you              make        any    effort or did      anyone    in
22   your    office    make           any    effort to confirm that Charles
23   A. Francis       is in fact               a    licensed medical
24   physician?
25           A.   Verifying someone's licensure status would

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      not have been something                              we   would have done.
              Q.         Okay.         Certainly                you would have the

      ability to          do     that           if    you wanted            to.        Someone         in
      Virginia in              2006,       you could have determined whether

      they had a          --     there's              a    licensed physician by the
      name    of Charles A. Francis as of that point in
      time?                                                            ,

                                  MS.           MCENROE:             Objection.
              A.         I'm sure there                     was a      process, yes.
10            Q.         Did you           make           any   effort to find out                     if

11    Charles A. Francis actually existed as                                           a   person?
12            A.         By    writing to                  him would be the only way                          I
13    see here.

14            Q.         Your     effort              in that regard               was     not    --        did
15    not neither confirm nor deny that                                         he was an        existing
16    person?
17            A.         That     is correct.
18            Q.         At the top of Exhibit                             51    there are        some

19   notes.         Is    it     your handwriting?
20            A.         Part of           it        is   my    handwriting, I believe,
21   yes.
22            QO.        Can you read                     for   me   what's written up
23   there?
24           A.          Okay.         The           part that's in               my   handwriting
25   is, "Igberase transcript, question                                         mark," and the

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       letters    SSS.

             Q.       Can you read what's below                     that?
            A.        I believe       it    says,       "Why some      things are
       suspicions or suspicious."                    And    that's     ina
      different handwriting.
            Q.        All    right.        This    is    a letter      of
      recommendation purportedly on behalf of Akoda and
      not Igberase, correct?
                              MS.   MCENROE:            Objection to form.
10          A.        Correct.
il          Q.        What were you          indicating by writing
12    "Igberase transcript, question mark"?
13          A.        I don't       know.

14          Q.        Fair to say at this point                     you had some

15    concerns that Igberase and Akoda maybe have been one
16    and the same person?

17                            MS.   MCENROE:            Objection.
18          A.        Based on the other documents,                     yes.
19          Q.        Do    you know what          transcript you're
20    referring to?
21          A.    .   No.

22          Q.        What does       the   SSS mean?

23          A.        I believe       it    referenced Stephen Seeling
24    the vice president of operations.
25          Q.        And    to what purpose or to what                 end?

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       obviously         was       included.
              Q.         Do you know if                   this    was    in fact within           a

       file   on    behalf of                an    official       file    for   Akoda versus

       kept somewhere else with ECFMG's records?

                                       MS.       MCENROE:        Objection to form.
              A.         TI   don't          know.

              Q.         Is there any justification that                           you can

       think of as            we       sit       here today as to why a document

       concerning         a    physician's credibility                        and honesty
 10   would not be included within                               their official file?
 11                                    MS.       MCENROE:        Objection to form.
 12           A.         I don't             know.

 13           Q.         You conclude that                   in the conclusion of
14    Paragraph No.                4    that you don't think this is enough
15    for the committee.
16                                     Help me understand                in   view of the
17    various documents previously discussed                                    why you      did
18    not believe that                   this       was   sufficient evidence to
19    even    raise before                   a    credentialing committee.
20                                     MS.   MCENROE:         Objection to form.
21            A.         Based on experience and working with the

22    decumenes          and presumably maybe                      talking with other
23    people that, you know, there was a                                 staff    had   to
24    review       all    the materials that were part of the                                --
25    that were the result of the investigation, and part


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                  Exhibit 4




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                                                                                            PART C
                                                Students and graduates must sign the application in the presence of their Meu
                                                School Dean, Medical School Vice Dean, or Medical School Registrar. (See A below.
                                                Ita graduate cannot sign the application farm in the presence ol a medical school offl-
                                                cial noted above, he/she must sign the application form In the presence of a Consular
                                                Official, First Class Magistrate or Notary Public (See B below) and must explain In
                                                writing why the application form could not’be signed in the presence of a medical
                                                school official. (See 8.1 below.)
                                                Application forms are to be mailed to ECFMG from the office of the officlal or notary
                                                who witnesses the applicant’s signature.
                                                All information on the application form is subject to veritication and acceptance by
                                                the Educational Commission for Foreign Medical Graduates.


          CERTIFICATION                           [hereby certify (hal lhe information given In this application is true and accurale lo the
          BY APPLICANT                          bost of my knowledge, and that the photographs enclosed are recent photographs of me.                          ‘i    Peif et Bot
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                                                 l also certify and acknowledge that | have received the current edition of Ihe ECFMG In-                     Seal, slamp or signature
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                                                 lunderstand thal (1) falsification of this application, or (2) tha submission of any lalsilied
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                                               ments to olher agencies, or (4) the giving or receiving of aid in the examination as evi-
                                               dencer either by observation al [he‘lime of the examination or by statistical analysis af my
                                               answers and those of ane or mora other participants in thal examination, or engaging in
                                               other conduct that subverts or allempts to subvert the examination process, may be
                                               sulficient cause for ECFMG to bar me from the examination, to terminate my parlicipation
                                               in the examination, lo withhold and/or invalidate the results of my examination, to withhold
                                               a cerlificate, to revoke a cerlilicate, or to take other appropriate actlon
                                                 i understand that the ECFMG certificate and any and ali copies thereof remain tha
                                               property of ECFMG and must be returned to ECFMG if ECFMG determines that the holder
                                               of the Certificate was not eligible to receive it or thal it was otherwise issued in error.
                                                 ! hereby authorize the Educational Commission for Foreign Medical Graduates lo trans-
                                               mil any information contained in this application, or Information that may olherwise
                                               become available to ECFMG, to any Federal, State, or local governmental danartment or
                                               agency, to any hospital or lo any other organjzalion or Individual who, in the judgment of


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                                               ECFMG, has a legitimate interest in such inffrmation.


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      CERTIFICATION                            A.    | hereby certify that the photograph, signature, and information entered on this form accuralely
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                                                     Any explanation must ba acceptable to ECFMG and must         ba provided each time    you submit an application to ECFMG.


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     authority, or has any such license or authority to practice medicine ever been suspended or revoked?                                              Yes             CI No
     If the answer to this question Is "Yes," please explain tully on a separate sheet of paper, giving details such as
     dale, location, charge, and action taken; and provide any supporting documents,


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               TO BE USED AS CONTINUATION OF SECTION 9.1 IN PART B




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                  Exhibit 5




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       THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, 3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, USA
                                             PHONE: 215 386-5900 CABLE: EDCOUNCIL,PHA
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     NOTE: All items on all sides of the application must be filled out completely for initial and repeat examinations or application will not be accepted.
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                                      Have you previously submitted an application to ECFMG to take                                                        ow,
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         MEDICAL                            Date you recelved (of expect to receive) an unrestricted license or certificate of full registration to practice medicine:                                                                                          =
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@D HOSPITAL                                                                                     Sees                                                                                          Position(s)                                       Dates
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                                             ita graciuate cannot sign the application form In lhe presence of a medical school
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                                             cial noted above, he/she must sign the application form in the presence of a Consular
                                             Official, First Class Magistrate or Notary Public (See 8 below) and must explain in
                                             writing why the application form could not be signed in the presence of a medical:
                                             school official, (Sea B.1 below.)
                                             Application forms are to be malled to ECFMG from the office of the official or notary
                                             who witnesses the applicant's signatura,                            .                 aa

                                             All Information on the application form Is subject to verification end acceptance by
                                                                                                                                                     j
                                                                                                                                                     5»
                                             the Educational Commission for Foreign Medical Graduates.                             .


                                               | hereby certify that the Information In this application is true and accurate to the best of
           CERTIFICATION                     my knowledge and that the photographs enclosed are recent photographs of me,
           BY APPLICANT                        | also certify and acknowledge that | have received the current edition of the Information
                                             Booklet on USMLE Step 1 and Step 2 examinations and ECFMG Certiticatlon, am aware                                 : Saaj,'stamp orsignalure
           (Must be completed                                                                                                                                     ot officlal must cover a
                                             of Its contents and meet the ellgibillty requirements set therein.
            In English)
                                               | understand that (1) falsification of this application, or (2) the submission of any falsified
                                             educational documents to EGFMG, or (3) the submission of any falsitiad EGFMG docu--
                                             ments to other agencies, or (4) the giving or receiving of ald in the examination as
                                              evidenced elther by observation al the time of |he examination or by slatistical analysis of                        2 8    a             _
                                              my answers and those of one or mora other participants in that examination,   orengaging In                         ta    Ge
                                              other conduct thal subverts or attempts to subvert the examination process, may be                                    ey         ee
                                              sufficlent cause for ECFMG to bar me from the examination, to terminate my participation                                     “esetyy int   wy
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     4,        nee pike       git ay   ome   ‘@ certiilcate, to revoke a certificate, ‘or to lake other appropriate action.

     ‘          a   te
                                  i    oan       { understand that the ECFMG certificate and any and all coples thereof remain the
                                              property of ECFMG and must be returned to ECFMG If ECRMG determines thal the holder
                                              of the Cartificate was not eligible to recelve It or that It was otherwise issued In error.
                                                 | hereby authorize (he Educational Commission for Forelgn MedicalGraduates ta trans-
                    HAR 3.0 1994              mil any Information contained in this application, of Information thal may otherwise
                                              become available to EGFMG, to any Federal, State, or local governmental depariment or
                                              agency, to any hospital or to. any other organization or individual who, In the Judgment of
                          yo                  EGFMG, has a legitimate Interest In such Information,
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           CERTIFICATION                     A.     | hereby certify that the photograph, signature, and Information entered on Section 9 of this form accurately
           BY MEDICAL                               apply to the Individual named above.                                                                                                        y
           SCHOOL, OFFICIAL
                                                                                                       Signature of Medical School Official                                                                an
                         OR
                                                       Official Title    .                                    Date                                           institution

           NOTARIZATION                      B.     Subscribed and sworn to before me this.            deth              day of        Maceh JACK L. KATZ'            4
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           WITH EXPLANATION
           (Pertains to graduates
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                                             B.1     Explain in the space below why the application form could not be signed In the presence of your medical school dean, vic
                                                     dean or registrar. Any explanation must be acceptable to ECFM@ ahd must be provided each time you submit ¢



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    a> Have      you ever been denied lcensure or authority to practice medicine by any medical IlcensIng or registering
           authority, or has any such license or authority to practice medicine ever been suspended or revoked?                                           C ves
           Hfthe answer to thls question Is “Yes,” please explain fully on a separate sheet of paper, glving details such as
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           date, location, charges, and action taken; and provide any supporting documents,
    @0 Provision of the follawlng Information Is voluntary. The              Information will be used for rasearch purposes only, You ara encouraged                    to provide       the Inff      lo
       however, the processing of your application will not be               affected If you choosa to leave item@ blank.                                                                              a
           Select the one which                              10                     20)                       30                        4                         sO                           ely
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                  Exhibit 6




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                  EBUCATIC.    &L     COMMISSION for FOREK                     |   MEDICAL GRADUATES
                              3624   MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A,              :
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 Dr. Igberase Oluwafemi Charles                                    USMLE/ECFMG Identification No.
 P.O. Box 1653                                                            0-482-700-2
 Hyattsville, MD 20788

 Dear Doctor:

        On November 27, 1995 the ECFMG Committee on Medical Education Credentials
 met to review the matter with respect to your falsification of an application form submitted
 to ECFMG. The Committee reviewed the documentation available, including your July 14,
 1995   letter.                                                                              .

         Following review the Committee took the following actions:

      ile    To invalidate the Standard ECFMG Certificate issued to you under the
second identification number 0-519-573-0;

     2.     To inform the United States Medical Licensing Examination (USMLE)
Committee on Irregular Behavior of this matter for its information and possible action; and

        3.     To revoke the Standard ECFMG Certificate issued to you under the first
identification number 0-482-700-2.

      Please return the two Standard ECFMG Certificates to my attention immediately. |
suggest you send them by certified mail.

        Enclosed is a copy of the ECFMG Rules of Appellate Procedure.

                                                           incerely yours,     :
                                                      /        4


                                                    (Mats
                                                          William C, elly
                                                          Manager,    Medical Education
                                                           Credential Processing
/wck
Enclosure




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                  Exhibit 7




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                EDUCATION             ©.COMMISSION            for FOREIG’ MEDICAL                              DUATES
                                                         PHILADELPHIA OFFICE                         ATTACHMENT   3   .
                                 3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA           19104-2685,US.A.
                               TELEPHONE: 215-386-5900   ® FAX:   215-387-9963    ©   CABLE: EDCOUNGIL, PHA.




 Via Express Mail                                                  July 31,    1996

 Dr. Igberase Oluwafemi Charles                                    USMLE/ECFMG Identification a
 P.O, Box 1653:                                                             0- a 700-2.
 Hyattsville, MD 20788

 Dear Dr. Charles:

          By letter dated December 7, 1995, you were notified of the decision of the Committee on Medical
 Education Credentials of the Educational Commission for Foreign Medical Graduates (ECFMG) to take
 certain actions: to invalidaté the Standard ECFMG Certificate No, 0-519-573-0, to inform the USMLE
 Committee on Irregular Behavior for its information.and possible action and to revoke Standard ECFMG
 Certificate No. 0-482-700-2.

        On March 7, 1996, ECFMG received on your behalf a request for an appeal of the decision to
revoke Standard ECFMG Certificate No. 0-482-700-2, under the ECFMG Rules of Appeliate Procedure.
Your oral appeal was considered on July 10, 1996 in Washington, D.C. by a Review Committee
consisting of Floyd J. Malveaux, M.D., Ph.D., Chairman, Marvin R, Dunn, M.D. and Alexander H.
Williams, Ill. The Committee considered all of the.eyidence before it, including correspondence between
and among you, your attorney, the USMLE Committee on Irregular Behavior and ECFMG.

        The Review Committee           affirmed the decision of the Committee on Medical Education
Credentials, but limited the length    of the revocation of Standard ECFMG Certificate No, 0-482-700-2 to
five (5) years from July 10, 1996,    j.e., July 10, 2001. At that time, Standard ECFMG Certificate No. 0-
482-700-2 will be reinstated if you   remain otherwise eligible for ECFMG certification.

       Decisions of the Review Committee are subject to the ECFMG Rules of Appellate Procedure, a
copy of which is enclosed.

       The Review Committee wishes to thank you for your cooperation.

                                                                  ECFMG REVIEW COMMITTEE

                                                                  Floyd J. Malveaux, M.D., Ph.D.
                                                                  Marvin R. Dunn, M.D.
                                                                  Alexander H. Williams, III

                                                                  By:
                                                                          Marie L. Shafron
                                                                          Vice President for Operations
                                                                          Educational Commission for
                                                                          Foreign Medical Graduates
                                                                          At     the direction of the
                                                                                       ECFMG Review Committee
MLS/wck
Enclgsure
cc: Louis M. Freeman, Esq.



        ECFMG Is an organization committed to promoting excellence in international medical education.
                                                                                                           ECFMG-000440


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                  Exhibit 8




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                                         93-11  Filed Date Filed:Page
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                                                                                                        ATTACHMENT   7.
                EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                                ,           PHILADELPHIA OFFICE                 rm
                                   3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.

                                 TELEPHONE: 215-386-5900    @FAX:   215-386-9767   ©   INTERNET: www.ecimg.org              of,


                                                                          May 3, 2004

      Personal and Confidential
      Via Certified Mail —-Return Receipt Requested


 '   Dr. Igberasé Oluwafemi.Charles
     16327 Chadsford Ave.
     Baton Rouge, LA 70817


                                      Re: USMLE™/ECFMG® Identification No. 0-482-700-2

     Dear Dr. Charles:

           This is notice of the decision of the ECFMG Committee on Medical Education|
     Credentials made on April 18, 2001. A brief procedural history is set forth below.

            On’ November 27, 1995, the ECFMG Committee on Medical Education                                                  a
     Credentials reviewed the allegation that ‘you submitted a falsified application to ECFMG
     and that you applied to take the United States Medical Licensing Examination™ Step 2
     which you had already passed. The falsification was in your reply “No” in response to
     tem 1 (USMLE/ECFMG Identification Number) of the application, “Have you previously
     submitted an application. to ECFMG to take oné or more of the examinations
     administered by ECFMG?"                                                  Ho          ,

             Following review in November 1995, the ECFMG Committee took’ action to
     invalidate the Standard ECFMG Certificate issued to you under USMLE/ECFMG
     Identification No. 0-519-573-0, to inform the USMLE Committee on Irregular Behavior
     for its information and possible action and to.révoke the Standard ECFMG Certificate
     issued to you under USMLE/ECFMG Identification No. 0-482-700-2.

         You subsequently filed an appeal of the ECFMG Committee’s decision. The                                          ___,
' ECFMG Review Committee for Appeals considered this appeal on July 10, 1986. “The
   F:ECFMG Review Committee for Appeals affirmed the decision of the ECFMG Committee
   on Medical Education Credentials to revoke the Standard ECFMG Certificate issued to
 ‘you under USMLE/ECFMG Identification No. 0-482-700-2, but limited the length of
   revocation to a period of five years from July 10, 1996, i.e., to July 10, 2001.

        In October 2000, you submitted to ECFMG an application for the USMLE Step 1
 and Step 2. In Itém 1 of the application, you answered “No” to the question, “Have you
 ever submitted an application to ECFMG for any examination, even if you did not take



           ECFMG® is an organization committed to promoting excellence in international medical education.

                                                                                                             ECFMG-000446

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  Dr.Igberase Oluwafemi Charles
  May 3, 2001                               ‘               sa
  Page 2



  the examination?”

         On April 18, 2001, the ECFMG Committee on Medical Education Credentials
  reviewed the allegation that the application you submitted in October 2000 was falsified
  and that you applied to take the USMLE Step‘1 and Step 2 which you had already
  passed. The falsification was in your reply of “No” in response to Item 1
  (USMLE/ECFMGIdentification Number) of the application, “Have you ever submitted an
  application to ECFMG for any examination, even if you did not take the examination?” |

        Following this review, the ECFMG Committee took action to extend the length of:
 the revocation of your Standard ECFMG Certificate for a yet to be specified period of
 time, to refer this new matter to the USMLE Committee on Irregular Behavior for its
 review and to review this matter again after the USMLE Committee’s decision.

        ECFMG will send notification of this action to state medical licensing boards,
 graduate medical education program directors in the United States, the Federation of
 State Medical Boards’ Action Data Bank; Canadian licensing authorities and other
 interested entities.

        Actions of the ECFMG Committee on. Medical Education Credentials. are subject
 to the ECFMG Rules of Appellate Procedure. A copy ofi   ECFMG Rules of Appellate
 Procedure is enclosed.

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                                                (        Panter.
                                                              C. Kelly
                                                           Manager, Medical Education
                                                           Credentials Department
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                  Exhibit 9




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                            OLUWAFEMI CHARLES IGBERASE
REC mi VCh@ MR             AYO ALUKO-OLOKUN#6 ADEJOBI STREET,
OREDINTIALS DEPT.
   Jae   2   2001

                                                            OKEKOTO,VIA ELERE POLICE BARRACKS,


                                            AGEGE,LAGOS,NIGERIA.
          ECFEMG#0-482-700-2                                   .
          June 17,2001




          Dear Mr Kelly,
          Iam hereby responding to your letter dated,nov,16 2001.
         Like I  stated in the E-mail J sent to you,I did not deliberately reapply to take the ecfing
          again,after waiting for about five years for the initial penalty to be lifted.I had asked my
         childhood friend to help me apply to take the spex exam,to put myself in a position to re-
         apply for my ecfmg certificate that was suspended.Like I said to you previously,this was
         just to prove to the panel that I am still very current eith the latest in medicine.i told him
         to check on the form that I had never taken the test(spex)before,   which is the truth.
         I did not find out on time about the mistake,until he came visiting his parents in
         Nigeria,that he told me you were trying to get in contact with me regarding my ecfing
         application.It was then that I looked at the copies that he had with him and realized the
         major mistake.
         Whyin the world will I   repeat the same mistake after waiting five whole years.
         I however,do take full responsibility for the errorand,I am ready to accept the judgement
         of the review panel.
         I hope to be able to come to the United States if so desired of me.Presently,I have some
         problems with the INS,which I hope will be resolved before then,
         I hope the panelists understand my plight.
         I did not deliberately ask him to fill out the wrong application form,and I have waited too
         long to make the same mistake a second time.
         He wrote not applicable for the social security number because at that time the Ins were
         going to discontinue the number due to the problems involving my cousing Dr Akoda and
         the use ofmy work papers.
         It was not to deceive your office.
         I hope the panelist review my situation in a very positive light.
         Yours sincerely,
         Femi Charl, Sauber      M.D.
                    oyenv ALD
                ‘(i Ww                                  .




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                Exhibit 10




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    CHESS                EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
    yk                                                            PHILADELPHIA OFFICE                              .
    Sse                                   3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                        TELEPHONE: 215-386-5900 @ FAX: 215-386-9767 @ INTERNET: www.ectmg.org




            Personal and Confidential
            Via Federal Express


                                                                     _ May 22, 2002

            Dr. Oluwafemi Charles Igberase
            clo Gwendolyn Mensah
            3516 Darthmoor Lane
            Olney, MD 20832

                                             Re: USMLE™/ECFMG® Identification No. 0-482-700-2

            Dear Dr. Igberase:

                   On behalf of the ECFMG Medical Education Credentials Committee, | am writing
           to inform you the Committee has completed its second review regarding your alleged
           irregular behavior in connection with the response to Item 1 on the application for the
           USMLE Step 1 received by ECFMG on October 23, 2000. With that application, you
           were applying for the USMLE Step 1 that you had previously taken and passed. This
           review by the ECFMG Committee was on remand from the USMLE Committee on
           irregular Behavior,

                  The ECFMG Medical Education Credentials Committee previously reviewed this
           matter in April 2001. On May 3, 20014, | wrote to advise you that the ECFMG Committee
           took action to extend the length of the revocation of your Standard for a yet .to be
           specified period of time, to refer this new matter to the USMLE Committee on Irregular
           Behavior for its review and to review this matter again after the USMLE Committee's
           decision.

                   At its subsequent review in May 2002, the ECFMG Medical Education
           Credentials Committee took action to revoke permanently your Standard ECFMG
           Certificate.

                  In accordance with ECFMG policies and procedures, an annotation that you
           engaged in irregular behavior will be included in your ECFMG record, This annotation
           shall appear on your ECFMG Certification Verification Service Report and ECFMG
           Status Report. In addition, ECFMG will report the determination of irregular behavior
           and permanent revocation of your Standard ECFMG Certificate to the Federation ‘of
           State Medical Boards, state medical licensing authorities, directors of graduate medical
           education programs and other interested entitles.

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                                                                                                                       ECFMG-000268


                                                                                                                          JA4117
                                                                                                                       ECFMG_RUSS_0000268
   Case: 22-1998 Document:Document
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Dr. Oltuwafemi Charles Igberase
May 22, 2002
Page 2


    As noted in the enclosed ECEMG Rules of Appellate Procedure, decisions of the
ECFMG Medical Education Credentials Committee may be appealed within the time
limit specified, j.e., within 60 days of the date of this notification.




                                                     Manager, Medi¢al Education
                                                      Credentials Department
iweck
Enclosure




                                                                                  ECFMG-000269


                                                                                     JA4118
                                                                                  ECFMG_RUSS_0000269
Case: 22-1998 Document:Document
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                Exhibit                      11




                                                                  JA4119
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                                                                     2 of 2




Charles              Wabeonese                Olunofym
 having fulfilled all the requirements       of the     University

 and passed the prescribed examinations has this day

               been admitted     to the   degree   of


               Bachelor of Medicine
                          |   and

               ‘Bachelor of Surgery

                                            soceuhichhese



DATE   June        1B,   15-96                —
                                              REGISTRAR




                                                                       ECFMG-000267


                                                                          JA4120
                                                                       ECFMG_RUSS_0000267
Case: 22-1998 Document:Document
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                Exhibit 12




                                                                  JA4121
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             EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                                       PHILADELPHIA OFFICE
                              3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                             TELEPHONE: 215-386-5900   @FAX:   215-386-9767   @INTERNET: www.ecimg.org




September 13, 2000

Memorandum

To:              File #0-553-258-5
                John Akoda

From:           William Kelly

| spoke with J. McCorkle today. He said the hospital has notified Akoda he is being
suspended from program due to “inconsistencies.” He has 15 days to appeal (until
Sept. 15).

McCorkle said he would notify ECFMG shortly after Sept. 15 if Akoda does not appeal.
If he does, appeal, an additional 15 days (until @ Sept. 30) will be required for the
appeal process. During that time period McCorkle will not be able to give any further
information to ECFMG.

Essentially, according to McCorkle, Akoda claims he is the cousin of “Igberase Charles.”
McCorkle also said his discussions with Harlem Hospital were “not definitive.”




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                                                                                                   ECFMG-000555


                                                                                                          JA4122
                                                                                                  ECFMG_RUSS_0000555
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                Exhibit 13




                                                                  JA4123
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                Exhibit 14




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               Use your browser's print button to print the following ERAS Documer
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                                                                                                    NNA  Mail Id : 5

                                                ERAS® Document Submission Form
           Instructions:
           Please submit this form along with any document(s) you want processed for your ERAS application
           including: original MSPE, photograph, original Letters of Recommendation (LoRs) and copy of medical
           school transcript. For LoRs, please be sure to list the names of the letter writers in the grid provided
           below. If you agreed to waive your right to view your LoR(s), your letter writer(s) must submit the “LOR
           Cover Sheet / Instructions for International Medical Graduates”. The form can be found and
           downloaded at http://www.aamc.orq/students/eras/resources/.

           Note: Please do not send any documents that you do not intend to assign to programs as part of your
           application.


           Applicant         / ID: Vo Nn .Q.
                           Name      AAMC                                 Vaso.          Noda J     1145093
           Applicant Signature:              Cha        Y     ? 1A 2
           Documents submitted with this form: (Please circle)

               1.   MSPE (must be an original)                                               YES        (no)
           2.       Color Photograph                                                        (ves)          NO

           3.       Medical School Transcript        (copy)                          :       YES       (89)
                    (ERAS cannot access a medical transcript or photo that you may
                     have sent to ECFMG for the purpose of ECFMG Certification.)


           4.       Original Letter(s) of Recommendation that are included in this mailing (enter      name of letter writer):

                                                                   Letter Writer Names
           Name:         Py A.O.             Koberé                           Name:
             )y Ph,| To
           Name:                                        son                      Name:

           Name:
             Dy Charles
           Name:
                                                   Frans                         Name:
                                                                                 Name:
           Name:                                                                 Name:



           Submit the completed form with your documents to:

           Regular mail:                                                       Courier service:
           ECFMG / ERAS Documents                                              ECFMG / ERAS Documents
           PO Box 11746                                                        3624 Market Street
           Philadelphia, PA 19101-0746 USA                                     Philadelphia, PA 19104-2685 USA




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           Date Sent: {0


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                Exhibit 15




                                                                  JA4127
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                                                                    CERTIFIED COPY
                                       Monique   Russell

                       IN   THE UNITED STATES         DISTRICT COURT
                   FOR THE EASTERN         DISTRICT    OF PENNSYLVANIA




             MONIQUE RUSSELL,           JASMINE
             RIGGINS, ELSA M. POWELL
             and DESIRE EVANS,                               :    Civil Action         No.

                                    Plaintiffs,              :     18-5629
             Vv.

             EDUCATIONAL COMMISSION FOR
             FOREIGN MEDICAL GRADUATES,

                                    Defendant.
we




                   Videotaped Deposition Of MONIQUE RUSSELL
                                       Washington, D.C.
                                Monday,   September 16,          2019

                                           1:51 p.m.




             Job No. 88394
             Pages:     1   -    136

             Reported by:          Dana C.   Ryan,    RPR,       CRR,   CSR   (GA)




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                                                                              JA4128
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                                Monique Russell

                                                                         Page 3
                     APPEARANCES



         ON   BEHALF OF THE PLAINTIFFS:

                CORY    L. ZAJDEL, Esquire
                Z Law,   LLC
                2345 York Road,        #B-13

                Timonium, Maryland 21093
                Telephone:       (443)    213-1977
                Email: clz@zlawmaryland.com
  10

  TE    ON    BEHALF OF THE DEFENDANT:

  12           BARRY W.     SHAFFER,      Esquire
 13            MATTHEW D.      KLAYMAN,     Esquire
 14            Morgan, Lewis       &   Bockius, LLP
 15             1701 Market     Street
 16            Philadelphia, Pennsylvania             19103

 ry            Telephone:      (215)     963-5100
 18            Email: barry.shaffer@morganlewis.com
 19            Email: matthew.klayman@morganlewis.com
 20

 21     Also present:
 22            David Campbell, Videographer
 23

 24

 25


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                                                                    JA4129
Case:2:18-cv-05629-JDW
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                                    Monique Russell

                                                                           Page 5



      NH
   W                 EXHIBITS                 CONTINUED

                          (Attached       to the Transcript)
  &



           RUSSELL DEPOSITION                                             PAGE:
      OW




           Exhibit    4         Medical Records From Major                     91
      DW




                                Medical, LLC, For Monique
      SN




                                Russell, Bates    Stamped

                                Plaintiffs0000118654 Through
                                0000118679
 10        Exhibit    5         June 27, 2017 Facebook Post                105

 ale                            By Monique Russell To The
 12                             MaMa    Sisterhood Of Prince
 13                             George's County Facebook
 14                             Group
 15        Exhibit    6         Stipulation    Of Dismissal                113

 16                             Without Prejudice, Bates
 17                             Stamped Plaintiff£s0000118860
 18                             Through 0000118863
 19        Exhibit   7          Plaintiff    Monique   Russell's           116

 20                         Responses To Defendants'!
 21                         Requests For Admission
 22

 23

 24

 25

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                                          Monique         Russell

                                                                                                   Page 8 |"
                                The oath that you                 just took           from the
     FE
     DY    court reporter                is   the    same       one that you would take
  W



           in    a   court of law before                    a   judge and         a   jury.
                                              understand that?
      FF




                                Do you

                                          I
      OF




                     A          Yes,          do.
      Hn




                     Q          And the court               reporter sitted to                my       --
     NI




           seated to my                left is      taking       down my     questions and
     Oo




           your answers into a                   little         booklet that           will       be
 HHo




           transcribed, and you'll have the opportunity to
  oO




           review after we complete the deposition today.
 H




                                Do     you understand that?
 12                  A          Yes.
13                   Q        And, so, because she's going to be
14         taking        down      the questions and the answers,                          it's

15         important that               we    try not to talk              over top of each
16         other because she can't take us both                                   down    at the
17         same      time.
18                              I'll      try to          do that on my           part.       will
19         you    -- will         you do the same?
20                   A        Yes.
21                   Q        We       also   have a videographer here who's
22         taking the deposition on video so that we'll be
23         able to see the questions and answers as well.
24         But even so, the court reporter                            --   it's        hard       for
25         her to take            down    nonverbal responses.                        So a shake


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                                                                                          JA4131
Case:2:18-cv-05629-JDW
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                                    Monique Russell




                                                                                               es
                                                                                     Page 12


    BP
      WD
              meetings.
                      Q    And when you say the two schools,                         there
              are two separate schools              in   Costa Rica?
   YA HU BR



                      A    No,    they   call       them      schools.       Country
              Day School   is    a campus      that goes from early
              childhood to high school, and so there are four
              schools, the early childhood, elementary, middle
 ©




              and high school, and         I   work with the two lower
 FP HR ©




              schools.
 Fr oO




                      Q    And are you         in   Costa Rica by yourself,
              or is your family with you?
 12                   A    My    family is with          me.

 13                   Q    And who       is that that's with                you there?
 14                   A    My husband and my son.

 15                   Q    Okay.     And your husband's name                   is?
 16                   A    Christopher William Russell.
17                    Q    Okay.     And how        old is       he?
18                    A    He    is --   how    old      am    I? -- 46.
19                    Q    And your son?
20                    A    Is Luka.
a1                    Q    Okay.     And how        old is       Luka?
22                    A    Three.
23                    Q    Okay.     And was Luka born                 or   May 25th,

24            2016?
25                    A    Yes.

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                                                                               JA4132
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                                     Monique Russell

                                                                                   Page 13



       HR
                    Q       Okay.        Do   you have any other children?

       HS
                   A        No.
       WW
                    Q       And how long have you been married?
      #®




                   A        For five years in October.
       WF




                   Q        Okay.        And you are here        in   Washington,
  A




            D.C. today having returned from Costa Rica;
      “A




            correct?
  0




                   A        Yes,     I flew     from Costa Rica.
                   Q        Okay.        And when     did you arrive here in
  10        Washington?
  11               A        Last night...
  12               Q        Okay.        And what,     if   anything, have you
 13         done to prepare to            come and     testify   here today          in
 14         this deposition?
 15                A        I     reviewed my interrogatories and the
 16         paperwork of the course              --
 17                Q        Uh-huh.
 18                A        -- of the         case, but that's about         it.

 19                Q        Okay.     You     -- you have filed, as I
 20         understand      it,    two    different lawsuits related to
 21         your interactions with a Dr. Charles Akoda;
 22         correct?
 23                A        Yes.
 24                Q        Did you review materials related to
 25         both of those cases before coming                  in to testify
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                                                                           JA4133
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                                              Monique Russell


                                               I                                                Page 31



         HF
                            Q        And if         understand from your discovery

         DY
                    responses       in    the case, you believe that you found
                                                                                       I
     W

                    out about the fact that Dr. Akoda, who                                 believe
           FPF



                    helped deliver your son, Luka, you found out he
         OF




                    had pled      guilty in June of                 2017?
        KH




                            A        I'm not sure       if          that's the time, but             if
        TY




                    that's      what your record shows, probably.
        Oo




                            Q        We    can go through, and we probably                       will
         HP BP 6




                    go    through, some of thequestions.                          I'm not trying
      NY FP Oo




                    to -- to trick you on that,                      so...

                                     Why    don't you        tell         me   just generally
  FEF HP
              WwW




                    how you came          to learn about any issues with
                    Dr. Akoda?
 14                         A        Sure.     So   I -- in           the neighborhood
 15                 where I lived at the time, there was a parent
 16                 listserv where people would post recommendations
 17                 or ask for advice and things like that. And
 18                 someone asked          for a recommendation for an OB/GYN.
 19                 And I    wanted       to recommend my OB/GYN, Dr. Waldrop,
 20                 but I    wanted       to make sure that the person knew if
 21                 they went       to Dr.    Waldrop that there was a chance
 22                 that they would end up having their baby delivered
 23                 with Akoda, and I did not have                           a good   experience
 24                 with him during the delivery, and so I wanted to
 25                 make    sure the person was aware of that.

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                                                                                            JA4134
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                                                        Monique Russell




                                                                                                                —
                                                                                                      Page 32
                                                    I           to his             site to confirm
  }
                                             And        went             Web

      MW NY AO UV PF Ww hb   the spelling of his name, and he wasn't on their
                             Web   site   anymore.        So    I   went and looked        at    my

                             paperwork, confirmed the spelling,                      I   looked him up
                             to see like,      maybe he moved somewhere                  else so that
                             wouldn't     be an     issue for this person.                And    I
                             discovered a press release from the Department of
                             Justice saying that           he had been         arrested for
 0




                             charges of fraud very shortly after he performed                              a
      Co
 BP




                             C-section on      me.
 BP
  PF




                                    Q       And the       physician that you mentioned,
      DD
 BP




                             Dr. Waltrop?
                 WwW
 BP




                                    A       Waldrop.
 BP
 BP




                                    Q       Waldrop.           That was your OB/GYN?
 PP   UU




                                    A       Yes.
  FPF An




                                    Q       How    long    --   when    did you first start
  oN




                             going to see Dr. Waldrop?
                                    A       I'm not sure.            Maybe     three months into
 19                          my   pregnancy.
20                                  Q       And how       did you      come    to start visiting
21                           Dr. Waldrop?
22                                  A       She was recommended               by   a woman   that      I
23                           met on     the hospital tour.
24                                  Q       Okay.        And what      hospital      was that?
25                                  A       P.G. County, Dimensions Hospital.

                                   Golkow   Litigation Services          |    877.370.DEPS

                                                                                                JA4135
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                                          Monique Russell

                                                                                             Page 41
              earlier that -- that               Luka was born              in    May   of   2017;
   W          correct?
                   A       ‘Yes.
       SP




                   Q          And was he born by C-section?
      nH Oo




                   A          Yes.
                   Q          And was that a planned C-section?
                                                   not.
    “J




                   A          No,    it    was

                   Q          What were          the circumstances that led to
              him being born by C-section?
  10               A          I    had been        in labor for, I believe,                      32

  11          hours at that point, and after a period of time,
  12          they recommended that                I take a             drug called      Pitocin
  13          that they hoped would                -- Akoda             recommended it       to
  14          speed up contractions so that                         I    would    dilate.
  15               Q          Uh-huh.
  16               A          It    did not        have that             effect.
  17                          And then         after      30,       32    hours, he
  18          recommended an         epidural.            Immediately after he did
  19          the epidural, he said that my baby                            was    in distress
  20          and that he needed an emergency C-section.
  21               Q          Okay.        And was your                 original plan for
 22           birth to   go       to the hospital and                    have someone from
 23           Dr. Moore's practice deliver vaginally?
 24                A          Yes, that was my original plan.
 25                Q          Okay.        I   saw a      reference in your

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                                                                                        JA4136
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                                        Monique Russell

                                                                                      Page 75
             lower school; right?

       FS
        DH
                     A          Yes.
                                                I
    W

                     Q          Okay.     And       understand that you, as
       FP



             you've said in -- in written                  responses to
       UW




             interrogatories, that you --                  you have suffered
   A




             from emotional            distress as     a   result of learning
             about Dr. Akoda;            is   that right?
    I
    @




                     A         Yes.
                    Q-         And what       in particular is         it   that you
   10        are experiencing as a result of what you found out
   11        about Dr. Akoda?
   12                A          I feel violated by             Dr. Akoda.      I feel a
   13        sense       of distrust in the medical               community      in
  14         general.          Like I wouldn't want, for example, to                     go

  15         find    a   therapist to see to talk to about these
  16         things because            how do   I
                                          their certification
                                                    what
  17         is worth or their licensure is worth based on how
  18         far doctor -- not even a doctor, how far Akoda got
  19         with false papers.
  20                    I don't trust the institutions that                             are
  21         in place to -- to check that these doctors are                             who

  22         they say they are, doing the right thing, or have
  23         the credentials they do, wine                     makes it     very hard
  24         for   me    to then       use sources     I   would have used to
  25         check on      a   doctor.

                    Golkow     Litigation Services         |    877.370.DEPS

                                                                               JA4137
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                                         Monique Russell

                                                                                               Page 76 ||
                              And    I don't feel                equipped to do
              background checks on doctors myself.
                         I feel violated,                        and it     makes it          very
              difficult to -- I'm sorry.                         It
   FB




                                                                       makes it        very
   HH WN




              difficult to         see an OB/GYN.
                     Q        And    I       take it     that when you found out
        NHN




              about Dr. Akoda's               guilty plea regarding the                       use of
   Oo




              Social Security numbers,                   that...
  to




                              MR. SHAFFER:              ‘There's          some    tissues back
 10           there.
 11                  BY MR.       SHAFFER:

 12                  Q        Here you go.
 13                           I    take       it    when you found             out about the
 14           guilty plea,        you        --    you were angry with Dr. Moore
 15           and Dr. Waldrop who you had seen                            in connection
 16           with that pregnancy; right?
 ah                  A        No.        I    was angry          in general, but I
 18           don't necessarily hold blame or anger towards
 19           Dr. Waldrop and Dr. Moore because they relied on
 20           sources they should have been able to trust.                                      For
 21           example,    I   was a          teacher.        I     had    to   have
 22           background      -- extensive             background checks done                    in
 23           order to hold a job within DCPS.                             So when       I    rented
 24           my basement         apartment, and as a mother                       I    wanted       to
 25           find   somebody safe                 to live in the          home    with us,

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                                                                                         JA4138
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-182249     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   13 of 16


                                             Monique Russell

                                                                                           Page 82   |"
                        Q        And do you know whether Dr. Akoda ever
                 lied to    ECFMG?

                        A        To my          understanding,        he   did.     He used

                 three different Social Security numbers and
   Ff WO




                 multiple      names       to    come      through and get approved to
      HH




                 take boards multiple times.
       oOo NAN




                        Q        Do you know whether                 Dr. Akoda did a
                 residency in the U.S.?
   oO




                        A   -    My    understanding            is that     he    started    a
 10              residency
                        in            New       Jersey before they discovered
 11              that he was      a    fraud and referred back to the
 12              commission to         certify foreign              medical graduates,
 13              and that he was            still         then approved again through
 14              the commission and eventually received residency
 15              at   Howard    University.
 16                     Q        And what's the basis                 for that
 17              understanding?
 18                     A        The court documents that                   I    read from
                                                                                       4
 19              his federal      trial.
                                                                                       S




 20                     Q        This       is      the    -- the guilty plea of
 21              Dr. Akoda?
 22                     A        The       transcript of the trial.
 23                     Q        Okay.           And do you know whether ECFMG
 24              certification is sufficient to allow a person to
 25              obtain a residency in the United States?

                       Golkow   Litigation Services             |    877.370.DEPS

                                                                                     JA4139
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-182250     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   14 of 16


                                               Monique Russell

                                                                                               Page 83
                                       I don't    understand the              --
        FH
                              A

        DN
                              Q        Well,    I -- I -- I've              heard you say that
                                                               in part,                     I think
    W

                   you blame ECFMG, at least                                   because
             FPF



                   you've called them the              first       gatekeeper, and             I   was
        WO




                   trying to understand whether you believe that
                                  certification in             of itself is sufficient
        nA




                   ECFMG                               and
    “a




                   to allow          a person    to be in      a   residency program.
                              A        I don't think       so.         I think that it's
                   required for          them    to be able to take the medical
  10               boards          in the first place which is                 a requirement

  11               for    a       residency program.
  12                          Q        And the   basis for that understanding
  13               is?
  14                      A            The documents that              I    read from the
  15               federal         trial.
  16                                  MR.   SHAFFER:      Okay.             Let's go   ahead and
  17               mark       this.     You know what?           Off the record            a

  18               second.
  19                                  THE VIDEOGRAPHER:                Off the record at
  20               3:47
  zit                                  (Recess   --   3:47 p.m.)
  22                                   (After recess -- 3:50 p.m.)
  23                                  THE VIDEOGRAPHER:                Back on the record
  24               at 3:50.
  25                      BY MR.       SHAFFER:

                          Golkow      Litigation Services          |       877.370.DEPS

                                                                                          JA4140
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-182251     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   15 of 16


                                                        Monique Russell

                                                                                                                Page 90
                 bottom, 1129, at the top                              it         references questions
      DN         about substance abuse, and the answer is                                                 none.
           WwW

                                         Was       that accurate from your perspective
                 there; that
      FF




                                          if       you were asked about substance
                 abuse, you would say there was none?
      uo
      vn




                          A          “Yes.
      NN




                          Q              Okay.            And then               there's       a    reference to
           oOo




                 sexual        --    a    history of sexual abuse,                                  and the
                               is,
  6




                 answer                  referenced here again, no; correct?
 10                       A              Yes.
 11                       Q              In connection with your discovery
 12              responses, you say that your experiences with
 13              Dr. Akoda have flowed into your marriage and
 14              created intimacy issues; correct?
 15                       A              Yes.
 16                       Q              In      what way has that                          interfered with
 17              your marital relationship?
 18                       A              It      has been            difficult to                  be   sexually
 19              intimate, and                   it's      impacted family planning
 20              because       we want                  more    children, and that is
 21              challenging              when it              is   hard         to        see an OB/GYN.         And
 22              it's     --    intimacy with                       my husband               is better     now,

 23              but    it's        --    it's           not like           it    was        before.      And
 24              after I found out                        about       this,           it     was very
 25              difficult.
                         Golkow      Litigation Services                          |        877.370.DEPS

                                                                                                           JA4141
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-182252     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   16 of 16


                                                  Monique   Russell

                                                                                                 Page 130
                                      And you admit            that; correct?
       Ff
       DH
       WD              A              I    do.
                           Q          So you       did not feel that during your
              visits with
      SF




                                          Dr. Akoda that you were being abused
       Wo




              sexually?
       DH




                       A              At the time I did not feel that way.
                                                   believe        --                feel that
    JN




                       Q              Do you                           do you                      way
        oOo




              now?
    oO




                       A        I feel violated for a fake doctor to                                    be

  10          in      my   vagina, yes. .I feel like I'm a victim of
  11          sexual assault now.
  12                   Q              Have you reported that                      to the
  13          authorities?
  14                   A              No,    that's      why      I'm doing         a   class action
  15          lawsuit so that every                      woman who he              has ever seen
  16          can be           notified.
 17                    Q              Do ‘you know whether any                     of   them have
 18           been     notified?
 19                    A              I'm sure         some have because                there have
 20           been ads,           I       understand.         I    posted where            I   could
 21           notify           women.        So    I   know   that         some   have.        I don't
 22           know how many women                      there are over the close to
 23           ten years that he's been doing this                                  who    would
 24           still        need       to be notified.
 25                                   MR.    SHAFFER:         Let's         go    off the record
                       Golkow     Litigation Services                  |    877.370.DEPS

                                                                                               JA4142
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                93-192253    Date Filed:Page
                                       Filed 01/14/22    09/08/2022
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                Exhibit 16




                                                                  JA4143
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192254    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               2 of 12
                             Jasmine Riggins

 1                    IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4    --------------------------------
 5    MONIQUE RUSSELL, JASMINE
      RIGGINS, ELSA M. POWELL, and
 6    DESIRE EVANS,
                        Plaintiffs,                 Case No. 18-5629
 7              v.
      EDUCATIONAL COMMISSION FOR
 8    FOREIGN MEDICAL GRADUATES,
                        Defendants.
 9    --------------------------------
10                                Washington, D.C.
11                          Friday, September 12, 2019
12                   Deposition of JASMINE RIGGINS, a witness
13      herein, called for examination by counsel for the
14      Defendant in the above-entitled matter, pursuant
15      to notice, the witness being duly sworn by Barbara
16      DeVico, a Notary Public in and for the District of
17      Columbia, taken at the offices of MORGAN, LEWIS &
18      BOCKIUS, LLP, 1111 Pennsylvania Avenue,
19      Washington, D.C., at 11:33 a.m.,
20      Thursday,September 12, 2019, and the proceedings
21      being taken down by Stenotype by BARBARA De VICO,
22      CRR, RMR, and transcribed under her direction.
23

24

25

Golkow Litigation Services                                          JA4144
                                                                        Page 1
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192255    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               3 of 12
                             Jasmine Riggins

 1    as Jasmine Riggins, correct?
 2               A.        Yes.

 3               Q.        Is your birthday July 4, 1992?

 4               A.        Yes.
 5               Q.        And how old would that make you?
 6               A.        27.
 7               Q.        Are you currently married?

 8               A.        No.

 9               Q.        Do you have any children?
10               A.        Yes.
11               Q.        How many children?
12               A.        Three.

13               Q.        And can you give me their names and

14    their current ages?
15               A.        Santana is 10, Messiah is 10, Taniya
16    will be two next month.
17               Q.        Are Santana and Messiah both boys?

18               A.        Yes.

19               Q.        And Taniya is a girl?

20               A.        Yes.
21               Q.        And earlier this year in your
22    deposition in the Dimensions case you indicated

23    that you were engaged.           Is that status the same, or

24    has it changed?
25               A.        It's the same.

Golkow Litigation Services                                          JA4145
                                                                       Page 20
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192256    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               4 of 12
                             Jasmine Riggins

 1               Q.        What's your current address?
 2               A.        3699 J Street, Apartment 301, N.E.,

 3    Washington, D.C. 20019.

 4               Q.        How long have you lived there?
 5               A.        Almost a year.
 6               Q.        You have a high school GED, is that
 7    right?

 8               A.        Yes.

 9               Q.        Do you have any other subsequent
10    education beyond that?
11               A.        No.
12               Q.        Are you currently employed?

13               A.        Yes.

14               Q.        Where is that?
15               A.        Potbelly Sandwich Shop.
16               Q.        When did you start working there?
17               A.        April of this year.

18               Q.        And you've worked at Potbelly's

19    since April of this year?

20               A.        Yes.
21               Q.        And how many hours a week,
22    approximately, do you work?

23               A.        About 22.      Slower season.

24               Q.        So is this part-time work?
25               A.        Yes.

Golkow Litigation Services                                          JA4146
                                                                       Page 21
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192257    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               5 of 12
                             Jasmine Riggins

 1                                    (Recess)
 2                            THE VIDEOGRAPHER:         We are back on

 3                    the record.     The time is 11:57 a.m.

 4    BY MR. SHAFFER:
 5               Q.        Okay, Ms. Riggins, we're back on the
 6    record, and we were talking before a quick break
 7    there about an individual named Dr. Akoda, an

 8    individual, and I think you took some issue with

 9    calling him Dr. Akoda.           Why is that?
10               A.        He's not a doctor.
11               Q.        And why do you say that?
12               A.        Because he doesn't have credentials

13    and certifications to be a doctor.

14               Q.        Do you know -- and just so again I
15    want to make sure that we're talking about the same
16    things today so we don't have to go back later on,
17    when we refer to an individual known as Dr. Akoda

18    or the person that you believe is not a doctor

19    about, we're talking about the person that you saw

20    in connection with the birth of your second child;
21    correct?
22               A.        Correct.

23               Q.        And, at the time that you were being

24    seen by him and actually gave birth with him
25    through C-section, correct?

Golkow Litigation Services                                          JA4147
                                                                       Page 30
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192258    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               6 of 12
                             Jasmine Riggins

 1               A.        Well, there were problems after my
 2    pregnancy, after the delivery, I had issues.

 3               Q.        What were those issues?

 4               A.        Pain, severe pain in my stomach and
 5    my abdominal at work, I would have pain throughout
 6    the day.        And I couldn't have my tubes tied due to
 7    the damaged tissues on my C-section, which caused a

 8    lot of pain.

 9               Q.        And so this is after the birth of
10    Messiah, and Messiah was born by C-section;
11    correct?
12               A.        Correct.

13               Q.        And you said at a later point in

14    time you wanted to have a tubal ligation and were
15    told you couldn't have one?
16               A.        Correct.
17               Q.        And you were told it was because of

18    scarring that was present from earlier C-sections?

19               A.        Correct.

20               Q.        And was that scarring that you say
21    precluded you from having the tubal ligation, that
22    was something you attribute to the C-section

23    Dr. Akoda did?

24               A.        Correct.
25               Q.        And why do -- why do you do that?

Golkow Litigation Services                                          JA4148
                                                                       Page 34
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192259    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               7 of 12
                             Jasmine Riggins

 1    George's County on 3/18/2013?
 2               A.        Yes.

 3               Q.        What did you have?

 4               A.        A C-section.
 5               Q.        That's when Messiah was born?
 6               A.        Yes.
 7               Q.        And you can see that this is a

 8    two-page record signed by Charles Akoda, M.D. --

 9    not signed but his name appears at the end of the
10    document.       Correct?
11               A.        Yes.
12               Q.        And if you look -- well, the top of

13    the page there's a fax server date and time.                       It

14    says, "3/19/2013 at 2:42:42 p.m."
15               Do you see that?
16               A.        Yes.
17               Q.        So does this appear to be a record

18    then that would have been created and sent

19    immediately after your C-section with Messiah in

20    March of 2013?
21                            MR. ZAJDEL:       Objection.
22               A.        Yes.

23               Q.        That's the date you had the

24    C-section, right, 3/18/2013?
25               A.        Yes.

Golkow Litigation Services                                          JA4149
                                                                       Page 38
  Case:2:18-cv-05629-JDW
  Case  22-1998 Document:Document
                          22-5 Page:
                                  93-192260    Date Filed:Page
                                         Filed 01/14/22    09/08/2022
                                                               8 of 12
                             Jasmine Riggins

 1                IN THE UNITED STATES DISTRICT COURT
 2            FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3

 4      - - - - - - - - - - - - - - - - X
 5      MONIQUE RUSSELL, JASMINE                      :
 6      RIGGINS, ELSA M. POWELL                       :
 7      and DESIRE EVANS,                             : Civil Action No.
 8                          Plaintiffs,               :   18-5629
 9      v.                                            :
10      EDUCATIONAL COMMISSION FOR                    :
11      FOREIGN MEDICAL GRADUATES,                    :
12                          Defendant.                :
13      - - - - - - - - - - - - - - - - X
14

15                                   Volume II
16     Continued Videotaped Deposition Of JASMINE RIGGINS
17                             Washington, D.C.
18                      Monday, September 16, 2019
19                                   9:56 a.m.
20

21

22      Job No. 88391
23      Pages:     44 - 145
24      Reported by:        Dana C. Ryan, RPR, CRR, CSR (GA)
25

Golkow Litigation Services                                          JA4150
                                                                   Page 1 (44)
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                93-192261    Date Filed:Page
                                       Filed 01/14/22    09/08/2022
                                                             9 of 12


                                           Jasmine Riggins

                                                                                      Page 56
                   A          A    couple of years ago.

      ND
      WD
                   Q          Was    it,     you know, talking 2015, 2016?
           |       A          Yeah,        around that      Eanes,       2016.
   FP




                   Q          Okay.         Now,   is    emotional distress the
                                                                     \

                                                               for in
   ao




           only injury that you're suing                                   this lawsuit?
                   A          Correct.
                   Q          And    you're suing          ECFMG because you

           contend that ECFMG                is responsible, in             whole or      in
           part, for your emotional distress?
 10                A      —   Correct.
 11                Q          Do    you also contend that Prince
 12        George's Hospital Center                     is responsible, in           whole
 13        or in part, for your emotional distress?
 14                A          Correct.
 15                Q          Do you        also contend that the Maryland
 16        Board of Physicians is responsible, in                            whole    or in
 17        part, for your emotional distress?
 18                A          Correct.
 19                Q          Doyou also contend that Dr. Abdul
 20        Chaudry       is responsible, in              whole or        in part, for
 21        your emotional distress?
 22                A          Correct.
 23                Q          Do you        also contend that the American
 24        Board       of Obstetricians            and Gynecologists are
 25        responsible, in whole or in part, for your

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                                                                                 JA4151
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-192262     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   10 of 12


                               Jasmine Riggins

                                                                                          Page 57
       emotional distress?
  FH
  DY
              A         Correct.
 W



               Q        So you would say                that anyone that you
  FF




       contend did anything to enable Dr. Akoda to
       practice medicine is responsible, in whole or in
  wu
  oO




       part, for your emotional distress?
               A        Correct.
               Q        Tell   me    about your emotional                   distress.
               A        I feel      angry, sad, embarrassed,
10     ashamed.        My   emotions are,              like,   all     over the
11     place.       I can't    even put them                 into as    many words

12     that    I   can think     of.     I just can't believe that
13     someone would do          that.         It's      beyond me.

14             Q        And when you say                "that,"      what are you
15     referring to?
16             A        To pretend       to     be someone            that they're
17     not, to practice something that they had no rights
18     to practice without the proper process of                                    it    all.
19             Q        And by "proper process                   of    it   all,"          what
20     do you mean?
21             A        Going about       it          the correct way.
22             Q        And by "the       correct way," you                   mean

23     what?
24             A        Receiving proper documents, being
25     truthful, being honest, doing the things that                                       a

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                                                                                         JA4152
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-192263     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   11 of 12


                                    Jasmine Riggins

                                                                                 Page 121}
                          -- in     December    of    2017?
  FF
                Q
  DY
                A        Yes.
 W



                Q         If   we   turn to page          3   of that document,
  FP




           paragraph 14, just at the bottom.
  UU




                A        Okay.
  KH




                Q        You     state, Jasmine Riggins was                  a
  NI




           patient of Oluwafemi Charles Igberase between
     oOo




           August 2012 and March 2013 at Dimensions, period.
  oO




           Jasmine Riggins knew Oluwafemi Charles Igberase as
  Oo




           Akoda.
                          Is that true to the best of your
  FP
N
a




           knowledge?
13              A         Yes.
14              Q         Turn to page 11, and look                 at
15         paragraph     66    where you state, Between 2008 and
16         2016, Akoda was an actual and/or apparent, duly
17         authorized agent, servant and/or employee of
18         Dimensions, holding          a   medical       staff position
19         and/or enjoying hospital privileges.
20                        Is that true        and    correct to the best of
21         your knowledge?
22              A         Yes.
23              Q         I'm sorry?
24              A         Yes.
25              Q         Okay.      Okay.     Turn to the next page.

                Golkow   Litigation Services          |       877.370.DEPS

                                                                                 JA4153
Case:2:18-cv-05629-JDW
Case  22-1998 Document:  22-5 Page:
                       Document 93-192264     Date Filed:
                                       Filed 01/14/22     09/08/2022
                                                       Page   12 of 12


                                        Jasmine Riggins

                                                                                            Page 138
                                And you have not looked                  for those;
       FF
                        Q

    W   DY
                   correct?
                        A       Correct.
                                Why    not?
       FF




                        Q
       UO




                        A       I've    had other things going on,
                   unfortunately.
        HD




                                Is that
      JN




                        Q                     something that you are                still
             oOo




                   willing to collect         and provide           to your attorneys
       oO




                   to provide to us?
    FO
  PP RP HR




                        A       Yes.
                        Q       Okay.     And      just    so       I'm clear, the
      Ww NY




                   things that you think Dr. Akoda did that were
                   wrong are what?
 14                     A       Performing on           women,       doing C-sections,
 15                looking at women's private parts, violating them,
 16                touching them, not being honest with them.
 17                     Q       And what      is   it     that you think        ECFMG

 18                should have done?
 19                     A       Paid attention to his credentials and
 20                actually paid attention to him being interviewed
 21                under two different names. Just be more careful
 22                about their job, pretty much. Be more careful

 23                about who they certify.
 24                     Q       And do you know whether                  or not they
 25                identified instances        where Dr. Akoda had used

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                                                                                    JA4154
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                93-202265    Date Filed:Page
                                       Filed 01/14/22    09/08/2022
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                Exhibit 17




                                                                  JA4155
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                93-202266    Date Filed:Page
                                       Filed 01/14/22    09/08/2022
                                                             2 of 10

                                        Elsa Powell

   1                    IN THE UNITED STATES DISTRICT                                   COURT

   2                FOR THE EASTERN                  DISTRICT          OF       PENNSYLVANIA

   3

  4

  a                                                                    x
  6      MONIQUE RUSSELL,           JASMINE RIGGINS,                            Civil      Action No.
  7      ELSA M. POWELL,           and DESIRE EVANS,                            18-5629

  8               Plaintiffs,                                                   Hovionabile

                                                                       i        Joshua      D.   Wolson

  9      Vv.


 10      EDUCATIONAL COMMISSION FOR FOREIGN

 11      MEDICAL GRADUATES,

 12               Defendants.
 ME       tesa   oenen sree reli   en ersecene   I   cereersocescee!   x
 14

 15


 16                    VIDEOTAPED DEPOSITION                      OF        ELSA POWELL

 17                                      Washington, D.C.

 18                                Friday, September                       6,   2019

 19

 20

 210

 22

 23                             GOLKOW      LITIGATION SERVICES
 24                         T   877.370.3377               | F    917.591.5672

 25                                     deps@golkow.com

Golkow    Litigation Services                                                                        Page   1
                                                                                                 JA4156
Case:2:18-cv-05629-JDW
Case  22-1998 Document:Document
                        22-5 Page:
                                93-202267    Date Filed:Page
                                       Filed 01/14/22    09/08/2022
                                                             3 of 10

                                        Elsa Powell

      1                                       ELSA POWELL,

      2                  having been              first    duly sworn and/or
      3   affirmed on her oath,                   was     thereafter examined   and

      4   testified       as    follows:
      5                                       EXAMINATION

      6   BY MS.       MCENROE:

      7            Q.     Good morning,              Ms. Powell.
                                                                                      /
      8            A.     Good morning, ma'am.

      9            Q.     For the record, could you just state your
 10       completie name         for        me?

 al                A.     Elsa Miguelina Powell.
  2                Q.     And    is    it     correct that your birthday is
 13       April    14th,       1987?

 14                A.     That's correct.
 15                Q.     And that makes you 32 years                old today?
 16                A.     That's correct.
 17                Q.     You understand             that I'm here because you
 18       have    filed    a    lawsuit against the Educational
 19       Commission       for Foreign Medical                Graduates;   is that
 20       correct?
 21               A.      Yes, ma'am.

 22                Q.    And    we'll        be taking your deposition today.

 23       Do you    understand that?

 24               A.      Yes, ma'am.

 25               Q.     And you've been deposed once before;                    is
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                                Elsa Powell

 1       did you have another name before you got married?

 2               A.   I had another name.

 3               Q.   What was that name?

 4               A.   Delvillar-Mejia.

 5               Q.   That was the last name?

 6               A.   Yes.

 7               Q.   And was that hyphenated?

 8               A.   Yes.

 9               Q.   And have you used any other names besides

10       those we just discussed?

11               A.   No, ma'am.

12               Q.   And am I correct to assume that you

13       changed your name because you got married?

14               A.   Correct.

15               Q.   Do I have it right that you were married

16       in January 2015?

17               A.   That's correct.

18               Q.   To Gregory Lamont Powell?

19               A.   That's correct.

20               Q.   Is he still your husband today?

21               A.   Yes, ma'am.

22               Q.   How many children do you have?

23               A.   I have five children.

24               Q.   Would you please tell me their names and

25       ages?

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                                       Elsa Powell

          doctor's office, because that's                    when she stopped

          seeing patients.

                  Q.   You said          it    was a lady,     so it      was a female

          OB/GYN?

                 A.    Yes.        .

                       Did she refer you to another doctor?

                       Yes.

                       To whom          did she refer        you?

                       Dr. Chaudhry.
 10                    Is Dr.          Chaudhry an OB/GYN?

 11                    Yes.

 12                    Where       is    he    located?
                       In District Heights.
                 >




 13


 14              Q.    How    close to you           is    that?
 15              A.    At the time where              I lived,      it    was about 15

 16      minutes.
 17              Q.    Did you          move   at   some   point since then?
 18              A.    Yes,    I       did.
 19              Q.    Have    you moved more than'once since then?
 20              A.    Since then, yes.

 21              Q.    And so          did you actually ever go see
 22      Dr. Chaudhry?
 23              A.    I did not see Dr. Chaudhry.                       He was    never
 24      in there.      I   saw Dr. Akoda.

 25              Q.    Did you go to Dr. Chaudhry's practice?

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                                         Elsa Powell

                      A.     Yes,   his office.
                      Q.     So   just   tell      me a little            bit       about how

          that works.             Did you        call    up   to     make an         appointment

          at Dr. Chaudhry's practice?                         Did the lady OB/GYN                      call
          for you          and make appointments,                  or   how        did that
          transition          happen,      if     you remember?

                      A.     She gave me the             referral.             I    called    up

          there and         made    an appointment.                  So when         I got to          my

          appointment,            they said that Dr. Chaudhry had to step
 10       out, but Dr. Akoda               was     there.        So     I said, that's
 11       fine,       I just need to get care, I don't care                               who      I
 12       see.        I was at my last stage of pregnancy.
 13                   Q.    You were about              six   months, you said?

 14                   A.    About    six        months, yes.            So     then that's

 15       when    I    saw Dr. Akoda, and then all                        my       regular
 16      visits --          two weeks           after that, every two                  weeks.

 17                   Q.    Starting every              two weeks?
                 .




 18                         Yes.

 19                   Q.    Where    did those visits take place?
 20               A         At Dr. Chaudhry's office in District
 21      Heights.
 22                   Q.    Prior to going to Dr. Chaudhry's practice,
 23      did you do any research into                         him,      Dr. Chaudhry?
 24               A.        No.

 25               Q.        Can you      tell     me    just     a    little        bit   about

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                                 Elsa Powell

 1               Q.    They began weekly?

 2               A.    Yes.

 3               Q.    Did your labor with Jaiden begin

 4       naturally?

 5               A.    Yes.     I was induced.

 6               Q.    Who induced you?

 7               A.    Dr. Akoda.

 8               Q.    Where?

 9               A.    PGH hospital.

10               Q.    Did you have an appointment for that?

11               A.    Yes.

12               Q.    Why?

13               A.    Because from my understanding that was the

14       policy.      You had to make an appointment to get

15       induced.

16               Q.    How far along were you when you were

17       induced, do you recall?

18               A.    I was almost nine months, eight and a half

19       to nine.

20               Q.    Do you remember if there was a medical

21       reason that you needed to get induced?

22               A.    No.

23               Q.    So is it fair to say that you had an

24       appointment to get induced and then you showed up at

25       PGH hospital then to actually be induced --

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                                Elsa Powell

 1               You can answer.

 2               A.   Yeah, it's a problem.          You told me your

 3       name was Akoda and come to find out it's not.                    I

 4       mean, what other secrets are you hiding?                I -- I

 5       trusted you.       You know, you touched my body.               I mean,

 6       that's -- I thought Akoda, you know, was my doctor,

 7       who I trusted to do my exams and -- and touch my body

 8       and deliver my baby.

 9               I don't -- I don't know whatever his name is.

10       I don't -- it's beyond disturbing, it is.                So, yeah,

11       it has -- it has a lot to do with his name, because

12       it's shocking.       It's disturbing.        I felt violated by

13       somebody who I don't know.

14               Q.   When did you feel violated by Dr. Akoda?

15       When is it that you came to feel violated, if that

16       makes sense?

17               A.   When I found out that Akoda was not Akoda.

18               Q.   When he used a different name -- that he

19       had used a different name?

20               A.   Yeah.     So I was like, who -- who -- who

21       was it that was touching me, who was it that I had

22       trusted to say -- to put my -- my life on the line.

23       If my -- if my kids, my older kids -- if I would --

24       did die in that O.R. room, you know, and my kids have

25       questions, and come to find out, oh, you know, it

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                                Elsa Powell

 1                A.   When I went for my six-weeks checkup.

 2                Q.   Was that the first time you met Dr. Akoda?

 3                A.   Who, me?

 4                Q.   Oh, I'm sorry.      Strike that.       I was --

 5       six-month checkup is what I was thinking when you

 6       said --

 7                A.   Six weeks.

 8                Q.   So it was post-delivery.

 9                A.   Yes.

10                Q.   Okay.    So -- so let me start that over

11       again.

12                So Mr. Powell, your husband, came with you to

13       your six-week post-delivery appointment; is that

14       correct?

15                A.   Yes.

16                Q.   And your husband met Dr. Akoda at that

17       time?

18                A.   Yes.

19                Q.   Did anything happen at that appointment

20       other than you getting checked out?

21                A.   He stayed in the lobby and I went in, and

22       that's when he burned an ovarian cyst that he said

23       that I had.

24                Q.   So your husband waited in the waiting

25       room?

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                                    Elsa Powell

           into the     meat    of the complaint, each paragraph has                       a

           number.      Do    you see that?          So it's      on page 9,

           paragraph 42.         Let    me know when           you're there.
                  A.     I'm here.
                  Q.     Great.        That paragraph says,           "the

          plaintiff,         Elsa Powell" -- that's you?
                  A.     Correct.

                  Q.     "--    was a    patient of Igberase on or about
          September 17th, 2014,              and on several occasions

  10      thereafter Igberase delivered Elsa Powell's son                            on

  11      that date at Prince George's Hospital Center."
  12              Did    I    read that correctly?

  13              A.    That's correct.
  14              Q.    And do you understand                  in the complaint
  15      that the reference to Igberase is also Dr. Akoda?
  16              A.    Unfortunately, yes.
  17              Q.    Okay.      But you understand that those                    mean

 18       the   same    for    the purposes of this complaint;                 is   that
 19       correct?
 20               A.    Correct.
 21              Q.     Are the        -- is    the information        in   paragraph

 22       42   correct?
 23               A.    That's correct.
 24               Q.    i'd like       to direct your attention to
 25       paragraph 44, which           is     on   the next page on the top.

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                 Exhibit 18




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                                               Desire Evans

      1                      IN THE UNITED STATES DISTRICT                        COURT

      2                    FOR THE EASTERN            DISTRICT       OF   PENNSYLVANIA
      ,


  4 9     wre enn eee eee          ee     eH                         x
  5       MONIQUE RUSSELL,               JASMINE RIGGINS,                 Civil      Action No.
  6       ELSA M. POWELL,               and DESIRE EVANS,                 18-5629

  7                   Plaintiffs,                                         Honorable

                                                                          Joshua D. Wolson
  8       Vv.


  9       EDUCATIONAL COMMISSION FOR FOREIGN

 10       MEDICAL GRADUATES,

 11                   Defendant.

 W200     mr rr rrr   rr                  rr     ee      eee     x
 13

 14


 15                        VIDEOTAPED DEPOSITION OF DESIRE EVANS

 16                                            Washington, D.C.                       |

 17                                Thursday, September 5, 2019
 18


 19

 20

 21

 22


 23                                GOLKOW        LITIGATION SERVICES
 24                            T   877.370.3377           | F 917.591.5672

 25                                            deps@golkow.com

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                                        Desire Evans

   1                                     DESIRE EVANS,

   2                      having been        first       duly sworn and/or affirmed
   3     on   their oath,         was    thereafter examined and testified
   4     as   follows:
   5                                       EXAMINATION

   6     BY MS.     MCENROE:

   7                Q.     Good morning,       Ms. Evans.

   8                A.     Good morning.

   9                Q.     My name      is Elisa     McEnroe, counsel        for the
 10      Educational Commission for Foreign Medical Graduates.
 11      We   met   briefly this         morning     for    the   first   time;   is
 12      that correct?
 13                 A.     Yes, ma'am.

 14                 Q.     Could you please state and spell your                  name

 15      for the record?
 16                 A.     Desire, D-E-S-I-R-E, Evans, E-V-A-N-S.
 17                 Q.     Great.       And your     birthday is March 25th,
| 18     1979;    is     that correct?
 19                 A.     Yes, ma'am.

 20                 Q.     That makes you 40 years old?

 21                 A.     Yes.

 22                 Q.     Thank you.

 23                 A.    Tell everybody.
 24                 Q.    We'll     mark   parts of the deposition
 25      confidential as needed.
L_                                       =           :
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                                                                              JA4167
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                                     Desire Evans

                 A.    I   got married December 31st, 2015.
                      To whom?

                      Michael Evans.

                      And       is   he still         your husband?
                 A.   Yes, ma'am.

                 Q.   And       is   he the         father of the child that
         we'll discuss      a    little           bit later   today that you have?

                 A.   Yes, ma'am.

                 Q.   Great.              And what     is that child's    name?

 10                   Peyton Alexander Evans.
 11                   And you             still     have your dog?

 12                   Huh?

 13                   And you             still     have your dog?

 14              A.   Yes.
 15              Q.   Okay.          Great.          Do you have any    other
 16      children living with you?
 17              A.   No, ma'am.

 18              Q.   Do you have any                 other biological children
 19      that you've birthed?
 20              A.   No, ma'am.

 21              Q.   What      is    Mr. Evans' profession?
 22              A.   He   is     a bus           operator for Metro.
 23              Q.   For Metro.                  Great.   And has that been

 24      consistent over time?
 25             A.    Well, he just started working there.                      He

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                                  Desire Evans

                  You can answer, if          you understand the question.

                  Q.     I'm not trying to          make      this       a hard one.

         I'm just trying to transition to another general area.
                  Have you ever been          treated by a doctor                    who

         called himself Dr.         Akoda?

                  A.     Yes.
                  Q.     When was    that?
                  A.     March 16th      into 17th of            2008     --    '16.

         Jesus, ‘16.
 10               Q.     Why were   you being treated by Dr. Akoda,
 11      for   what    condition?
 12               A.     Delivery, pregnancy.
 13               Q.     How   did you   come      to   be    treated by
 14      Dr. Akoda?
 15               A.    He was    the doctor on          call,       I   guess.
 16               Q.    Where?

 17              A.     At Dimensions Health Systems.
 18               Q.    Earlier today        we were         discussing you being
 19      induced to have your labor;               is that correct?
 20              A.     Yes.

 21              Q.     Was    Dr. Akoda the doctor that: induced you
 22      to labor?
 23              A.     No.     The nurse     --   a    nurse gave             me   the
 24      medication.
 25              Q.     So you were      originally          seen by another

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                                Desire Evans

 1               A.   He was -- he was, like, fondling my

 2      clitoris, saying that he needed to do that in order to

 3      stimulate me to push the baby.

 4               Q.   And he verbalized that to you?

 5               A.   Yeah, because my husband asked him what was

 6      he doing.

 7               Q.   And were your husband and mother and the

 8      delivery nurses in the room at the same time this was

 9      occurring?

10               A.   Yes.    I don't -- I don't remember if the

11      delivery nurse was in there, but my husband for sure

12      and my mother for sure.

13               Q.   Was this during the time that your husband

14      was standing next to Dr. Akoda?

15               A.   Yes.

16               Q.   And so was the delivery nurse holding one

17      of your legs at that time?

18                    MR. CERYES:      Objection, foundation.

19               Q.   Well, we talked about it earlier.              I can

20      restate the question.

21               A.   Yes.    Yes.

22               Q.   So during the time your husband was

23      standing --

24               A.   I'm not -- see, I'm not one hundred percent

25      sure because there was a point where they were holding

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                                            Desire Evans

         money      that is?
                     A.     No.

                     Q.     Have you                 collected up any invoices or                bills
         from any         of those experiences to be able to help
         catalog what that might be?
                     A.     I        haven't collected them, but they're

         readily available,                     if     I   needed       anything.-
                     Q.    So what              injury,          if    any,   did you   experience

         as a      result of          ECFMG's conduct?

 10                        MR.        CERYES:              Objection, form, foundation,
 11      calls for        somewhat              of    a    legal conclusion, but you             can

 12      answer.

 13                  A.    Okay.            I feel          that, because of them, I'm
 14      afraid to seek               a    doctor.           I    don't   know who      to trust.
 15      I   don't    know who             to    send my son            to.    Because if    the
 16      places that are supposed to be doing these
 17      credentialing,               if    I    can't trust what they're telling
 18      me,   I   don't really know                       how    to   do my own     investigation
 19      to find out            if    a    doctor          is really      a    doctor or   who   they
 20      say they are.                So it          has diminished my            trust in the
 21      medical profession.
 22                 Q.     Do you have a                   belief that Dr.         Akoda    is not
 23      a   doctor?
 24                        MR.        CERYES:              Objection.
 25                 A.     Yes.

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                                          Desire Evans

         experience of Peyton before you heard the radio ad

         than you did after you heard the radio ad?

                   A.        No.     That was the reason why                    my    husband

         told    me   about the radio ad              is       because     it    was something

         that was in our discussion since                          we had       Peyton and             we

         didn't    know how          to deal with          it.

                   Q.        What do you mean you                 didn't       know how           to
         deal with       it?
                   A.        We    didn't   know what course we can take,

 10      whether what he did was wrong.                           We    didn't       know:        We

 11      didn't    know       anything.         We   didn't        know what          to do, but
 12      we   were both uncomfortable..                    I     was    uncomfortable and
 13      it   affected        me.

 14                So when he             heard the ad about Dr. Akoda, he was

 15      like,    oh,   my God,           this is probably              what we were

 16      feeling the whole time,                 you know,             like,    so reach out

 17      to   them because          you're not theonly                   person that he's

 18      done    this to.
 19                So    I    wasn't even aware at the time that                             it    was

 20      about him possibly not being a doctor.                                 I thought it

 21      was about him             touching     women      inappropriately, because
22       that's    how       I felt,      and that was my main                  --    my masa

 23      issue at the beginning.
 24               Q.         How    did you feelwhen               you got the

25       impression that             it   was   possibly about him not being                            a

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                Exhibit 19




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  Transcript of Stephen S. Seeling
                            Date: September 16, 2019
Case: Russell, et al. -v- Educational Commission for Foreign Medical Graduates




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                      IN THE UNITED STATES DISTRICT               COURT

                FOR     THE        EASTERN DISTRICT OF PENNSYLVANIA



        MONIQUE RUSSELL,            JASMINE      :   CASE NO.

        RIGGINS, ELSA         M.    POWELL       >   2:18-cv-05629-JW
        and DESIRE EVANS,



                      Plaintiffs




10            Vs.
11

12     EDUCATIONAL COMMISSION

13     FOR   FOREIGN MEDICAL

14     GRADUATES,

15

16                    Defendants.
17

18

19                            Monday,    September 16, 2019

20

21                   Deposition of            STEPHEN S:   SEELING was taken

22    pursuant to notice at 1701 Market Street, Philadelphia,
23    Pennsylvania, before Nancy Carides,                  RPR,   CRR   and Notary

24    Public,   on   the above date, and commencing at 12:00 p.m.
25




                                                                            JA4175
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                                            Transcript   of Stephen   S. Seeling

                                           Conducted on September 16, 2019                            13




                                    THE WITNESS:              I   had no expectations.
       BY-MR. CERYES:

                   Q.               What was your             role     as Vice President         of
       Operations of ECFMG?
                                    MS.      McENROE:         Objection to form.
                                                                               '

                                    THE WITNESS:              I oversaw most of           the
                  operational programs, including the
                  certification                 program.
       BY   MR.   CERYES:

 10                Q.               Did you        also oversee the                ERAS program?

 11               A.                I did not.
 12               Q.                Under whose oversight was the ERAS
 13   program during the time you were at ECFMG?
 14               A.                I      can't recall.
 15               Q.                Do you know            the    name    of that position
 16   that would        be     responsible for oversight of the                           ERAS

 17   program?

 18               A.                I just can't recall.
19                Q.                You worked with               William Kelly at         ECFMG?

20                A.                Bill      Kelly, yes.
21                Q.                And were you            responsible for the
22    oversight of           Bill          Kelly in carrying out the essential
23    functions of his job?
24                A.                He     reported to         me.

25                Q.                So,     among    your job          responsibilities

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                                                                                            JA4176
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                                    Transcript     of Stephen   S.   Seeling
                                  _ Conducted on September           16, 2019                     23



                 Q.          And another program                     is the     ERAS

      process;        is   that correct?
                 A.          Yes.

                 Q.          And        with respect           to    ECFMG

      certification,         the purpose of that program is to
      assess whether international medical graduates are
      ready to enter U.S. graduate medical education
      programs?

                 A.          It's           to assess the readiness of
10    international medical graduates, yes.                                     .

11               Q.          And        in particular, their readiness to
12    begin a residency program?
13               A.          Yes.            |

14               Q.          And it           is   and has been the case since
15    1990, or so that            in order for international medical
16    graduates to enter                a    residency program, they must be
17    certified       by ECFMG?
18               A.          As     a       general rule,        that's correct.
19    There are some minor kind of esoteric exceptions, but
20    as a general         rule, that's correct.
21               Q.          What are those                  exceptions?
22               A.          If     someone         is   a    hot-shot surgeon in
23    Timbuktu, and Harvard recruits them                             for six       months   to
24    teach~a procedure             to the residents of Harvard, and
25    Massachusetts has             a       special VIP license, then that

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                                                                                         JA4177
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                                  Transcript      of Stephen    S.     Seeling
                                 Conducted on September 16, 2019                                        55



                            THE    WITNESS:                Well, again, this                letter


                 speaks    for    itself.              I   méan,       the     first


                 paragraph, I think, is responsive to your
                 question,       sir, "with respect to                         your

                 falsification of                an    application form submitted
                 to ECFMG."
      BY. MR.    CERYES:

                  Q.        Okay.           So,       to your understanding,                     what

      happened here        is that          Igberase         made a           false response
10    on one     of his applications, and the                           remedy          or the
11    consequence that ECFMG provided                         for Igberase                was    to
12    revoke and invalidate his ECFMG                         certificate, correct?
13                A.        That's what this                  letter          of       December

14    7th, 1995 seems to indicate.
15                Q.       'So,    when          you were employed with ECFMG

16    as Vice     President of Operations,                     was       it      also your
17    understanding that           when          an   applicant          makes a          false
18    statement on an application, that one of the potential
19    outcomes     of that could be revocation or invalidation
20    of that individual's certificate?
21                A.        That's          a    potential consequence,                     a

22    potential sanction for any instance of irregular
23   behavior.
24               Q.        Why     is       it    that making            a    false statement
25    on an     application for             ECFMG      certification                   can be

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                                                                                                  JA4178
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                                        Transcript   of Stephen   S.   Seeling
                                       Conducted on September 16, 2019                               79



      snapshot, things can change subsequent to, but I just
      don't have        a    recollection whether or not there                            were

      other. cases where                a   charge     letter      was     issued and then
      subsequently           a   re-evaluation took place.                         I   know   that
      was always        built into the process. I just don't
      remember        whether or not that, in fact, happened.

                  Q.             And you       refer to the process.                     This is
      not   a   written process, correct?
                 A.              Well, I      mean,       there were procedures set
10    forth in the documents relating to the credentials
11    committee        in    terms       of the process of the hearing                        and

12    that kind of thing.                   Again, at           some    point, I can't
13    recall, but           sometime        after I       came     onboard, those
14    procedures were substantially revised.                                     So, there were
15    documents that pertained,                      generally, to the scope                   and

16    purview and authority of the credentials committee.
17               Q.              If,    in fact,        you     believed that Akoda
18    and Igberase were,                in fact,        one and the same person,
19    you would agree              that in that circumstance that would
20    warrant    referral to the               Committee on Medical Education
21    Credentials?
22                               MS.    McENROE:          Objection to form.
23                               THE WITNESS:             Probably, yes.
24   BY   MR.   CERYES:

25               Q.              And why      is that?
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                                                                                              JA4179
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                Exhibit 20




                                                                  JA4180
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                                          September 19, 2019




Danielle 8, Dinsmore, Esquire
Paul M. Vettori, Esquire
Law Offices of Peter G. Angelos
One Charles Center
100  N. Charles Street
Baltimore, Maryland 21201

                              Re: Monique Russell, et al. v. Educational Commission for Medical
                              Graduates, Case No. 2:18-cv-05629-JW



Dear Ms, Dinsmore and Mr. Vettori:

   ‘You have asked me to review this matter and provide a report       of my expert opinions with
respect to this matter. This is my report.


     Attached is my Rule 26 case list. Also attached is my Curriculum Vitae, which includes a
list of ail publications I have authored.

   Tat billing my time      for review and preparation   of my report at $ 500 per   hour and my time
for deposition   and trial at $ 5000 per day.


   I have reviewed and considered the documents you have provided to me, which include bates
stamped:documents you obtained from ECFMG, documents obtained from the Akoda ¢riminal
case, the Maryland Board of Physician’s decision and the depositions (with exhibits) of William
Kelly and Kara Corrado.

  The following is a summary of the facts considered by me in forming my opinions:

    On April 6, 1992 ECFMG received an application from Oluwafemi Charles Igberase to take
the Foreign medial graduate examination   in the Medical Sciences and the ECFMG English Test.
He provided ECFMG with a diploma from the University ofIbadan dated June 19, 1987.
Igberase failed both the basic medical science and clinival science components of theFMGEMS
and passed the ECFMG English test. He failed the Day | test again butpassed it omthe third try.
On October 4, 1993, after he successfully completed steps 1and 2 ofthe USMLE,ECFMG
issued to him certificate number 0-482-700.


   On March 30, 1994, ECFMG received an application from Igberase Oluwafemi Charles to
take Steps 1and 2 of the USMLE examinations. He provided a date of birth that was different
than the date of birth provided by Igberase, The diploma he submitted was.the identical diptoma: .
that had been submitted by Igberase. On December 14, 1994, after Charles successfully
completed the USMLE examinations, ECFMG issued to him certificate number 0-519-573-0,




                                                                                                        JA4181
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Canfidential Communication with Attorney



    At some point after this, for reasons that do not appear in the records, ECFMG became
suspicious that Igberase and Charles were one and the same person and began an investigation.
Igberase/Charles explained his actions in a handwritten letter dated July 14, 1995 in which he
admitted he had lied about not taking the examination previously and why he rearranged his
names, As aresult of the investigation, the ECFMG Committee on Medical Education
Credentials invalidated certificate number 0-519-573-0 issued 10 Charles and revoked certificate
number 0-482-700-2 issued to Igberase, Charles appealed the decision which led to a hearing on
July 10, 1996. The ECFMG Review Committee for Appeals affirmed the decision of the
ECFMG Committee on Medical Education Credentials to revoke certificate number 0-482-700-2
but limited the length of the revocation to a period of five years from July 10, 1996, i.e., to July
10, 200), Thereafter, the ECFMG Committee on Medical Education Credentials extended the
length of this revocation for a yet to be specified period of time and, ultimately, revoked
pennanently this certificate.

   On January 3, 1996 and again on August 30, 1996, ECFMG received an application from
John Nosa Akoda to take Steps 1 and 2 of the USMLE examinations. He provided ECFMG with
a diploma from the University of Benin dated February 6, 1998. On August 18, 1998, after he
successfully completed the required examinations, ECFMG issued to him certificate number 0-
553-258-5. Although his applications did not include a social security number, at some time in
1998 he provided ECFMG with social security number xxx-xx- 9065.


   On July   1,   1998   Akoda entered   the graduate residency  programat Jersey Shore Medical
Center. On July 24, 1998,      ECFMG received      a Request   for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due            to his having entered this program. On September 2, 1998,
ECFMG sent this validated form.

    By letter dated August 11, 2000 from James McCorkel, M.D. to Rice Holmes, ECFMG was
notified that the Jersey Shore Medical Center graduate residency program in which Akoda was
enrolled was investigating allegations that Akoda had used a social security number issued to a
person named Ohrwafemi Charles Igberase. ECFMG advised Dr. McCorkel that Akoda had
provided ECFMG with social security no. xxx-xx-9065, This is the same number Akoda
provided to the Jersey Shore Medical Center.

   ECFMG sent Akoda a “charge            letter” dated August 22, 2000 advising   Akoda that ECFMG
had received information alleging that Akoda may have engaged in irregular behavior. This
letter was based on the matters presented by Dr. McCorkel. Akoda responded  by representing to
ECFMG that Igberase Oluwafemi Charles was his cousin and admitting that he had used his
cousin's social security number. Akoda provided ECFMG with a Nigerian passport and a
Nigerian ‘international driving permit.”

   The Jersey Shore Medical Center dismissed Akoda from its graduate residency program
because he used  a false social security number —that of his cousin Charles Igberase - and

because the green card he had provided the hospital was inconsistent with a subsequent green
card he also provided.




                                                                                                     JA4182
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Confidential Communication with Attorney



  On December 22, 2000, William Kelly, Manager of the Medical Education Credentials
Department of ECFMG, wrote a memorandum to Stephen S. Seeling, JD, Vice President of
Operations of ECFMG, in which Mr. Kelly stated “[t]his memorandum is being written
separately since I did not think it should be made part ofthe official file.” He advised Mr,
Seeling that both he and Dr. McCorkel believed Igberase and Akoda were one and the same
person, He concluded that he did not think there was enough information for the ECFMG |
Credentials Committee.

    In October 2006, Akoda used the ERAS of ECFMG to apply to Howard University Medical
Center for a graduate residency program, which included three letters of reference, In
connection with this process, ECFMG attempted to verify the authenticity of these three letters
of reference but never received responses from the persons passed off as references tor Akoda.

    Akoda successfully completed      a   graduate residency program at Howard University Medical
Center. He was licensed to practice medicine in Maryland and Virginia, and was granted
privileges at Prince Georges’ Hospital Center based on application and submission of required
documentation including an ECFMG certificate.

   The following are my opitions, which are based on the matters set out above and my
education, training and experience:

   ECFMG is the only organization         that certifies that   IMG's   have successfully completed
medical education at an approved foreign medical school and that they have successfully
completed the required medical examinations. Without an ECFMG certification, an IMG cannot
sir for required licensing exams, obtain a medical license, will not be accepted into a graduate
medical education program and cannot obtain hospital privileges, The standard of care
applicable to ECFMG's certification process requires ECFMG to adopt reasonable policies and
procedures and to follow those procedures to ensure that IMG’s comply with all requirements for
certification. ECFMG has undertaken to provide certification services which are necessary for
the protection of the general public. Its failure to exercise reasonable care in providing these
services increases the risk of harm to the general public, including plaintiffs. Licensing agencies,
medical schools and hospitals, among others, rely upon ECFMG to act reasonably in performing
these services.

   It is my opinion, held to                     of professional certainty, that ECFMG failed to
                               a reasonable degree
adopt appropriate policies for certificationof IMG’s, failed to exercise reasonable care in its
certification of Akoda and failed to exercise reasonable care in its investigation of allegations
made about Akoda and that these failures caused harin to the named plaintiffs and members             of
the class.


        While it is accurate to say that certification by ECFMG is only one of the steps needed
for a foreign medial graduate to obtain a license to practice medicine in the United States, it is a
requirement without which an IMG cannot obtain a license, It is also a required certification for
entering residency and obtaining hospital privileges. If ECFMG had acted reasonably, it would
have denied certification to Akoda, and would have revoked Akoda’s certificate, he would not
have been able to enter the Howard University residency program, he would not have been able




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Confidential Communication with Attorney



to obtain   a   Maryland medical license, he would not have been granted privileges at Prince
Georges’ Medical Center, and he would not have been able to harm the plaintiffs.

         The ECFMG certification process and investigation of suspicious or irregular behavior by
ECFMG is      important to ensure that individuals seeking to act as physicians treating patients are
qualified and meet professional standards of honesty, morality and character. These qualities are
critical to the physician patient relationship.

  ECFMG breached the standard of care in, among         others, the following ways:


          Failing to adopt written policies and procedures for the certification of IMG’s;

        Failing to adopt written policies and procedures for the investigation of allegations of
irregular behavior;

       Failing to investigate the differences in the name on Akoda’s medical school diploma and
the name on his applications submitted to ECFMG;


          Failing to investigate fully the relationship between Igberase and Akoda;

          Failing to reasonably investigate Akoda’s diploma from the University of Ibadan;

          Failing to reasonably investigate discrepancies in official medical school   seal on
documents submitted for Akoda;

        Failing to deny the requested waiver of a medical school confirmation of Akoda
photograph based on the explanation of the Nigerian postal system not providing a rapid
delivery;

          Failing to deny the Akoda application due to it being incomplete;

          Failing to reasonably investigate the allegations made by Dr. McCorkel;

          Failing to refer Akoda to the Medical Education Credentials Committee;

       Failing to follow its own procedures with respect to the charge letter sent to Akoda on
August 22, 2000;

          Failing to reasonably investigate the social security number provided to ECFMG by
Akoda;

         Failing to temporarily suspend pending investigation and discontinue to verify ECFMG
certifications after Dr. McCorkel’s allegation, admission by Akoda of using another’s social
security number and the ECFMG Investigator’s concern that Akoda and Igberase were the same
person.




                                                                                                   JA4184
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           Failing to compare photographs of Igberase and Akoda in its files;

        Failing to reasonably act when Akoda admitted to identity theft in use              of another’s social
security number;


           Failing to conclude that the person —Charles -- who appeared for hours at the July 10,
1996 appeal hearing and the person who appeared ini      Mr. Kelly’s office on September 27, 2000 —
Akoda      —were   the same person;

           Failing to investigate the authenticity of the passport and green card produced to Mr.
Kelly by Akoda when he came to Mr. Kelly’s office on September 27, 2000;

           Failing to follow up on the conclusion reached by Mr. Kelly and Dr. McCorke] that
Igberase and Akoda were the same person,

           It is my opinion, to   a reasonable degree     of professional certainty, that, had there been
written policies and procedures for the certification          of IMG’s, these would have included
requirements that  ECFMG investigate fully the differences in the name on Akoda’s medical
school diploma and the name on his applications.
        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMF's, these would have included
requirements that ECFMG investigate fully discrepancies in Akoda’a application and submitted
materials.

           It is my opinion, to   a   reasonable degree   of professional certainty,   that, had there been
written policies and procedures for the certification         ofIMG’s       of irregular
                                                                         and investigations
behavior, these would have included requirements that ECFMG investigate and refer to the
Medical Education Credentials Committee in situations of identity fraud.

         It is my opinion, to a reasonable degree of professional certainty, that, had ECFMG
properly investigated the allegations of irregular behavior against Akoda, ECFMG would have
referred the matter to the Medical Education Credentials Committee and that committee would
have found that Akoda engaged in irregular behavior, which would have resulted in his
certification being revoked.

         It is my opinion, to a reasonable degree of professional certainty, that these failures on
the part  of ECFMG to comply with the standard of care were the direct cause of Akoda being
certified by ECFMG and which are the direct cause of the harms caused to the plaintiffs and the
members of the class.




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Confidential Communication with Attorney



                                           Very truly yours,



                                           4Oeetf              Qn—
                                           David Samuel Markenson,   MD




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                Exhibit 21




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                                                                                                CDA.
                                                                 December 7, 1995                 mY
Mr. Kenneth Cotton
USMLE Secretariat
3750 Market Street
Philadelphia, PA 19104-3190

                                                     Re: Dr. Igberase Oluwafemi Charles
                                                     USMLE/ECFMG Identification No.
                                                           0-482-700-2

Dear Mr. Cotton:

       On November 27, 1995, the ECFMG Committee on Medical Education Credentials
reviewed the matter with respect to Dr. Charles's admission that he falsified an application
form submitted to ECFMG in order to retake an examination he had already taken and
passed.

       Dr. Charles initially submitted an application form to ECFMG in April 1992 in order
to take the July 1992 FMGEMS and the ECFMG English test. At that time, he used the
name “Oluwafemi Charles Igberase” and certified that his date of birth was April 17, 1962.
He was assigned identification number 0-482-700-2.

       In   addition to FMGEMS, and also using identification number 0-482-700-2, Dr.
Charles applied for and took the September 1992 and September 1993 administrations of
Step 1, failing the September 1992 examination, but passing the examination held in:
September 1993.

        The applicant met the medical science, English test and medical. education
credential requirements for ECFMG Certification and was issued Standard ECFMG
Certificate No. O-482-700-2 in October 1993.

       In March 1994, Dr. Charles again submitted an application form to ECFMG,
applying for admission to ECFMG’s administrations of the September 1994 Step 1,
August/September 1994 Step 2 and September 1994 ECFMG English test. However, on
the application, he responded “No” to the question “Have you previously submitted an
application to ECFMG to take one or more of the examinations-administered by ECFMG.”
He also stated his name as “Igberase Oluwafemi Charles” and date of birth as April 17,
1961.

     Since the name on the application was altered and the year of birth changed,
ECFMG's search of its database at that time did not show that he had previously applied
and been assigned an ECFMG Identification number.                   He was then assigned number 0-




                                                                                                   ECF MG-000074


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  519-573-0.     He took and passed the August 1994 Step 2 and the September 1994
  ECFMG English test and September 1994 Step 1. His medical education credentials
  were again verified with his medical school and he was issued Standard ECFMG
  Certificate 0-519-573-0.


        When he applied to ECFMG,         Dr. Charles certified on his application form that,
 among other items, “falsification of    this application” and “engaging in ...conduct that
 subverts or attempts to subvert the     examination process, may be sufficient cause for
 ECFMG fo ...invalidate the results of   my examination ...to revoke a certificate, or to take
 other appropriate action.”

                        policies regarding taking Step 1 and Step 2 of the USMLE as
         In addition, the
 outlined in the ECFMG Information Booklet, which he certified he had read and
 understood, include the statement “If one Step is passed, applicants may not repeat that
 Step and will have seven years to pass the other Step.” The applicant, however, took and
 passed Step 1 in September 1993 and, due to the falsified application form, took it again
 in September 1994.

         After this matter was discovered by ECFMG, on June 22, 1995, ECFMG wrote fo
 Dr.  Charles to request an explanation for his actions. {n response, he sent ECFMG a
 letter, dated July 14, 1995, in which he stated he wished to retake the examinations in
 order to improve his scores and be more competitive in his applications for residency
 programs. Consequently, he “lied” but, he states, did not deliberately change his date of
 birth and that he thought the date given initially had been the incorrect one in his school
 files. In addition, depending on the documents he has, the order of his names varies.

         The examinations, dates and scores for examinations taken are as follows:

 ECFMG #0-482-700-2                            ECFMG #0-519-573-0

DATE          EXAM                 SCORE        DATE          EXAM           SCORE
_duly 1992    Day 1 FMGEMS     _| 69 (Fail)
              Day 2 FMGEMS|  72 (Fail)                                                   |
              English test   Pass
 Sept. 1992 | Step 1         70 (Fail)
_Jan. 1993 | Day 1 FMGEMS |  74 (Fail)                                                   a
             Day 2 FMGEMS | 75 (Pass)
             Englishtest_ _—_—s|
                             Pass
July 1993 | Day 1 FMGEMS| 76 (Pass)
Sept. 1993 | Step 4          76 (Pass)
                                                Aug. 1994 | Step 2           76 (Pass)
                                                Sept. 1994 | Step 1          78 (Pass)       |
                                                Sept. 1994    |Englishtest   |Pass



                                                                                     ECFMG-000075


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 Mr. Kenneth Cotton
 December 7, 1995
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       After its review at the November 27, 1995 meeting, the ECFMG Committee on
 Medical Education Credentials took the following actions:

 °   Invalidate the Standard ECFMG Certificate issued to Dr. Charles under the second
     identification number 0-518-573-0;

 e   Inform the United States Medical Licensing Examination (USMLE) Committee on
     Irregular Behavior of this matter for its information and possible action; and

 °   Revoke the Standard ECFMG Certificate issued to Dr. Charles under the first
                 APwWNs




     identification number 0-482-700-2.

        For information, | am enclosing copies of the following items:

              Application to ECFMG received April 6, 1992.
              Application to ECFMG received March 30, 1994.
              ECFMG letter to Dr. Charles dated June 22, 1995.
              Dr. Charles’ July 14, 1995 letter to ECFMG.
              ECFMG letter to Dr. Charles dated December 7, 1995.

       Please inform Marie L. Shafron or me of the disposition of this matter.   If you need
additional information, please let me know.

                                                 Sinperely yours,
                                                   y.                :




                                                    m(.fl
                                                 William C. Kelly
                                                 Manager, Medical Education
                                                  Credential Processing
iwok
Enclosures




                                                                                    ECFMG-000076


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                                         PLEASE DO                                              :             NOT DETACH
                                                                                                                                                                                      ‘


                                  Foreign Medical Graduate Examination in the Medical Sciences and the ECFMG English Test
                                    a      .       1                       PART A
                    NOTE: All Items on all sides                           of the application         must be filled out completely far initial and repeat examinations or application will not be accepted.
                                                                                                               Use typewriter or block print in ink.


                EXAMINATION                                            Have you previously applied to take one or more of the examinations administered by ECFMG?                                                                    C) Yes                      fe]         o

                iiemerii)                                             If you ‘‘have been
                                                                                            :                   a Numb
                                                                                     ee assigned an ECFMG Applicant         nter ththe
                                                                                                                    umber, enter        ber in thisthisbbox.
                                                                                                                                     number
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               want it to appear on the
               Standard ECFMG
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                                                                      Last Name (Surname)
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                                                                      L[|]              |        |           j-F"}
                                                                      Full Maiden Name (For married women only)
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                                                                                                 =
               {fyou have previously
               applied to ECFMG                                       Previous Name
               under another name,
               provide that name                                      Please include a copy of the legal document                                   that       verifies this name change

      (3) ADoRESs;:
               Use address to which
               admission permit and
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     G)     STATUS OF MEDICAL
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            students                                                \f you are applying for Day 2, will you have cornpleted or be within 12 months of
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     MEDICAL                          Date you received (or expect to receive) an unrestricted license or certificate of full registration to practice medicine:
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5)   CITIZENSHIP:                    (Complete all three)
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                                                                                      PART C
                                    Students and graduates must sign the application in the presence of their Mev
                                    School Dean, Medical School Vice Dean, or Medical School Registrar. (See A below.,
                                    It a graduate cannot sign the application form in the presence of a medical school ofti-
                                    cial noted above, he/she must sign the application form in the presence           ofa
                                                                                                                  Consular
                                    Official, First Class Magistrate or Notary Public (See B below) and must explain in
                                    writing why the application form could not'be signed in the presence of a medical
                                    school official, (See B.1 below.)
                                   “Application forms are to be mailed to ECFMG from the office ofthe official or notary
                                    who witnesses the applicant's signature... -       a
                                    All intormation on the application formis subject to verification and acceptance by
                                    the Educational Commission for Foreign Medical Graduates,


 6) CERTIFICATION                     | hereby certify that the information given in ihis application is true and accurate to the
                                    best of my knowledge, and that the photographs enclosed are recent photographs of me.
    BY APPLICANT
                                       lalso certify and acknowledge that! have received the current edition of ine ECFMG In-                     Seal, slamp or signature
                                     formation Booklet for FMGEMS and am aware of its contents.                                                    ol official must cover @
                                                                                                                                                   portion of the attached
                                       (understand that (1) falsification of this application, or (2) the submission of any falsified
                                                                                                                                                        photograph,
                                     educational documants to ECFMG, or {3) the submission of any talsifled ECFMG docu-
                                     ments lo other agencies, or (4) the giving or receiving of aid in the examination as evi-
                                    denced eilher by observation al thelime ol the examination or by statistical analysis my      ol
                                    answers-and those of one or more other participants in thal examination, or engaging in
                                    other conduel that subverts or attempts to subverl the examination process, may be
                                    sullicient cause for ECFMG to bar me from the examination, to larminale my participation
                                    in the examination, lo withhold anci/or invalidate the resulls of my examination, to withhold
                                    a certificate, to revoke a certificate, or to take other appropriate action.
                                     i undersiand hat the ECFMG caitificate and any and all copies thereof remain the
                                   properly of ECFMG and must be returned to ECFMG if ECFMG determines that the holder
                                   ol the Certificate was not eligible to receive it or thal it was otherwise issued in error.
                                     | hereby authorize the Educational Cominission for Foreign Medical Graduates lo trans-
                                   mit any information contained in this application, or Information that may otherwise
                                   become available to ECFMG, to any Federal, State, or local governmental department or
                                   agency, lo any hospital or {a any ether organjzalion or individual wha, in the judgment of
                                   ECFMG, hasa legitimate interest in such infoe


      (Must be completed ~         Signature of Applicant            X
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       in English)                 {in Latin Characters)

G6)   CERTIFICATION _              A.    | hereby certify that the photograph, signature, and information entered on this form accuralely
      BY MEDICAL                         apply to the individual named above,
      SCHOOL OFFICIAL                                                                          Xx
                                                                                                Signature of Medical School Oficial

              OR
                                               Official Title                                       Date                                     Institution
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      NOTARIZATION                       -Subscrised and sworn           to before   me this   Bf           day of    MNirce te                               ,19     G2
      WITH EXPLANATION
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                                   B.1   Explain below why the application form could not be signed| in the presence of your medical school dean, vice dean or                registrar,
                                         Any explanation must be acceptable to ECFMG and must be provided each time you submit an application to ECFMG.

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®     Wave you ever been denied licensure       or authority    to
      authorily, or has any such license or authority to practice
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                                                                           medicine ever been suspended or revaked!?                        Yes
      If the answer to this question Is “Yes," please explain fully on a separate sheet of paper, giving details such as
      dale, location, charge, and action taken; and provide any supportirig documents.


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                TO BE USED AS CONTINUATION OF SECTION   9.1   IN PART B




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                       PLEASE DO ©“ NOT DETACH                                                                                          |                     Bee
                                                                           STEP 1 AND/CR STEP 2 EXAMINATIONS
          *                       ADMINISTERED TO STUDENTS/GRADUATES OF FOREIGN MEDICAL SCHOOL
          THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, 3624 MARKET STREET, PHILADELPHI
                                                                               PHONE: 215 368-5900              CABLE: EDCOUNCIL, PHA
                                                                                                         PART A
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      EXAMINATION                         one or more of the examinations administered by ECFMG?                                                               im Yes               {
     HISTORY:                              If yes, place your USMLE Identification Number (ECFMG Applicant Number)in this                                                       bo:         be                                                1




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     provide that name                    Please Include a copy of                 the legal documentthat verifies this name change.


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      discipline.

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     APPLICANT                                        NATIONAL BOARD OF
     NUMBERS:                                         MEDICAL EXAMINERS
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     Indicate the organizations
     to which you may have
     applied previously; enter
     the date of the most
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     was administered to you
     by that organization as
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                                   _ Offical, First Class Magistrate or Notary Public (See B below) and just explain in
                                     writing why lhe application form could not ba signed in the presence of a medical
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                                                      cial noted above, he/she must sign {he application form in the presence of aConsular
                                                      Official, First Class Magistrate or Notary Public (See B below) and must explain in
                                                      writing why the application form could nol be signed in the presence of a medical
                                                       school official. (See B.1 below.)
                                                      Application forms are to be mailed to ECFMG from the office of the official or notary
                                                      who witnesses the applicant's signature.
                                                   All information on the application form is subject
                                                                                                   to verification and acceptance by
                                                   the Educational Commission far Forelgn Medical Graduates.


                                                      | hereby certify that the information tn this application ts true and accurale to the best of
            Be       teen                          my knowledge and that the photographs enclosed ara recent photographs of me. -
                  P                                  [also certify and acknowledge that | have received the current edition of the Information —                           |.                                  :           3
            (Must be completed                     Booklet on USMLE Step 1 and Step 2 examinations and ECFMG Certification, am aware                                                        See,“atamp or signalure
             in English)                           of lls contents and meat the eligibility requiremants set therein,                                                                       ot official must       a
                                                                                                                                                                                                               cover
                                                        | understand that(1) falsification of this application, or (2) the submissionof any falsitied                                       porlio shthe=s
                                                                                                                                                                                                       fiashiad
                                                    educational documents to ECFMG, or (3) the submission of any falsified ECEMG docu.                                                           photograph,
                                                    mants to other agencies, or (4) the giving or receiving of aid in (he axanination as
                                                    evidenced elther by cbservation al the time of the examination or by statistical analysis of
                                                    my answers and thase of one or more other participants       in that examination, o-engaging in
                                                   other conduct thal subverts or attampts lo subvert the examination process, may be
                                                   sulliclént cause for ECFMG to bar me from the examination, to terminate my participation
                                                   in the examination, to withhold and/or invalidate the results of myexamination, to withhold
     er      perth    pet.   aTlh       —        [-a.certilicate, to revoke a certificate, or to take other appropriate action,
                                    “   .              understand that the ECFMG certificale and any and all copies thereol remain the
                                            “|    property of ECFMG and must be returned lo ECFMG If EGFMG delermines thal the holder
                                                  of the Certificate was not eligible to recelve It or that it was olherwise issued in error,
                                                    | hereby authorize the Educational Commission for Foreign Medical Graduates to trans-
                                                  mit any Information contained In this application, or informatton that may etherwise
                                                  become available to ECFMG, to any Federal, State, or local governmental department or
                                                  agency, to any hospital or to any other organization or Individual who, In the Judgment of
                                                  ECFMG, has a legitimate Interest in such Information,

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 ~~"        in English)                           (In Latin Characters)                                          }                               ea

           CERTIFICATION                          A.     | hereby certify that the photograph, signature, and Information entered on Section 9 of thisform accurately
           BY MEDICAL                                    apply to the individual named above.
           SCHOOL OFFICIAL.                                                                                  x
                                                                                                                 Signature of Medical School Official

                       oR
                                                             Official Title                                              Date                                                   Institution

           NOTARIZATION                          B.      Subscribed and sworn to betore me this             _W&th               ‘day   of       Mee.             |                      !             ,19,         ]4          .
           WITH EXPLANATION                                                                                                                 '                        JACI LKATZ
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                                                 B.1_     Explain in the space below why the application form could not be signed in the presence of your medical school dean, vice
                               —___

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                                                          dean or registrar. Any explanation must be acceptable to EGFMG and must be provided each time you submit an
         FOR OFFICE USE ONLY                              application to ECFMG.                                                     Lo


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          Have you ever been denied licensure or authority to practice medicine by any medical licensing or registering
          authority, or has any such license or authorlty to practice medicine ever been suspended or revoked?                                                             Yes
         li the aiswer to this question is “Yes,” please explain fully on a separate sheet of paper, giving details such as
         cate, location, charge, and action taken: and provide any supporting documents.

20: Provision      of the following information is voluntary. The information will be used for research purposes only, You are encouraged to provide the Information;
         however, the processing of your application willl not be affacted If you choose to leave item @D blank.                                                     en
         Select the one which                                     10                    20                           30                         sQe—                                5                              6
         best describes your ractal/                     American Indian/                Asian                   Hispanic                Black (not of                  White (not of                              Other
         ethnic background.                               Alaskan Native           Paclflc islander                                    Hispanic Origin)      *         Hispante Origin)

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            EDUCATION         .L COMMISSION for FOREIG                      MEDICAL GRADUATES
                            3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                    TELEPHONE: 215-386-5900 @CABLE: EDCGUNCIL, PHA.




                                                              June 22,    1995



 Dr. Charles Olufemi Igberase                                 USMLE/ECFMG Identification           No.
 P.O. Box 1653                                                         0-482-700-2
 Hyattsville, MD 20788

 Dear Doctor:
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        When you applied for admission to ECFMG's administrations of the September                             ,
 1994 Step 1, August/September 1994 Step 2 and September 1994 ECFMG English test,
 you responded “No” to the question “Have you previously submitted an application to
 ECFMG to take one or more of the examinations administered by ECFMG.” You also
 stated your name as “Igberase Oluwafemi Charles” and your date of birth as April 17,
 1961.    You certified that this information, as well as the other information on your
 application “is true and accurate to the best of my knowledge ...” and you swore to this in
 the presence of a Notary Public.

       You were assigned USMLE/ECFMG Identification Number 0-519-573-0 and took
the Step 1, Step 2 and ECFMG English test. You submitted copies of your medical
education credentials, which were verified by ECFMG with an official of your medical
school. A Standard ECFMG Certificate was subsequently issued to you under the name
Igberase Oluwafemi Charles with the number 0-51 9-573-0.

       A check of ECFMG records shows that, despite what you certified to on the
application referred to above, you had applied for and taken examinations administered
by ECFMG prior to your application for the 1994 examinations. You first applied to
ECFMG for the July 1992 administration of FMGEMS and the ECFMG English test under
the name “Oluwafemi Charles Igberase” and certified that your date of birth was April 17,
1962. You failed both the basic medical science (Day 1) and clinical science (Day 2)
components of the July 1992 FMGEMS and passed the ECFMG English test.

       You subsequently applied for and took the January 1993 administration of
FMGEMS and the ECFMG English test, failing Day 1, but passing Day 2 and the English
test. You then applied for and took the July 1993 administration of Day 1 of FMGEMS
 which you passed. Since, at that time, you had also met the medical education credential
 requirements for ECFMG certification, you were issued Standard ECFMG Certificate
‘Number 0-482-700-2.                                                        a

      You also applied for and took the September 1992 and September 1993
administrations of Step 1, failing the September 1992 examination, but passing the
examination held in September 1993.



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 Dr. Igberase Oluwafemi     Charles
 June 22,  1995
 Page 2

             When you applied to ECFMG, you certified on your application form that,
among other items, “falsification of this application” and “engaging in ...conduct that
subverts or attempts to subvert the examination process, may be sufficient cause for
ECFMG to ...invalidate the results of my examination ...to revoke a certificate, or to take
other appropriate action.”

       In addition, the policies regarding taking Step 1 and Step 2 of the USMLE as
outlined in the ECFMG Information Booklet, which you certified you had read and
understood, include the statement “If one Step is passed, applicants may not repeat that
Step and will have seven years to pass the other Step.” You, however, took and passed
Step 1 in September 1993 and again in September 1994.
             /


       ECFMG is conducting an investigation of this matter. You must write to ECEMG
immediately to explain why you certified on your application form that you had not
previously applied for an ECFMG examination when, in fact you had, and also to explain
why you repeated Step 1 when the policy states applicants who pass the Step may not
repeat it. Your letter must be received by ECFMG within 15 days of your receipt of this
letter,

          Your explanation, together with the documents in your   file, will be reviewed by the
ECFMG Committee on Medical Education Credentials at a future meeting. After                 its
review, the Committee will make a recommendation to the ECFMG Board of Trustees.

          Your response must be sent to the following special address:

                       ECFMG
                       P.O. Box 13467
                       Philadelphia, PA 19101-3467


                                                  Sincerely yours,




                                                 William C. Kelly
                                                 Manager, Medical Education
                                                  Credential Processing
iwck




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                              3624   MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                        TELEPHONE: 215-386-5900 ©CABLE: EDCOUNCIL, PHA,




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 Via Certified Mail                                                December        %   1995       ()            We

 Return Receipt Requested                                                                              ~~


 Dr. lgberase Oluwafemi    Charles                                 USMLE/ECFMG Identification                   No.
 P.O. Box 1653                                                            0-482-700-2
 Hyattsville, MD 20788

 Dear Doctor:


        On November 27, 1995 the ECFMG Committee on Medical Education Credentials
 met to review the matter with respect to your falsification of an application form submitted
 to ECFMG. The Committee reviewed the documentation available, including your July 14,
 1995   letter.

         Following review the Committee took the following actions:

      1.     To invalidate the Standard ECFMG Certificate issued to you under the
second identification number 0-51 9-573-0;

     Ze     To inform the United States Medical Licensing Examination (USMLE)
Committee on Irregular Behavior of this matter for its information and possible action; and

        3.     To revoke the Standard ECFMG Certificate issued to you under the first
identification number 0-482-700-2,

      Please return the two Standard ECFMG Certificates to my attention immediately. |
suggest you send them by certified mail.

         Enclosed is a copy of the ECFMG Rules of Appellate Procedure.

                                                          pow cerely yours,
                                                      f




                                                           William C. Kelly
                                                           Manager, Medical Education
                                                            Credential Processing
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Enclosure




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                Exhibit 22




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                                                               ED STATES MEDICAL LICENSING EXAMINATION™ (USMLE™                                    = [XE                    Fe?
                                                                    2001 STEP 1AND/OR STEP 2 APPLICATION
                                                               %STUDENTS/GRADUATES OF FOREIGN MEDIGAL SCHOOLS REGISTERED BY                                      Qc          oO 4       2000
                                                                THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES
                                                                 TELEPHONE: (215) 386-5900  INTERNET: http:/Avww.ecfmg.org                                                        Fc   M G


                                                                                                                      via courier service to:
                                                                   sign Medical Graduates                              ECFMG
                                                we =                                                   QR             3624 Market Street
                                          PA 19182-0992 USA                                                           Philadelphia, PA 19104-2685 USA

                       NOTE: All items on all sides of the application must be filled out completely for initial and reexamination or application will be rejected.
                                                                Use typewriter or print caretully in Ink using uppercase letters.

                                                                       PART A — BIOGRAPHICAL INFORMATION

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        APPUCATION FORM 104S-W, July 2000                                                   Page 10f4                                                     "ECFMG     2000   Al   Fughte Reearved




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                               JE RAESE                          FE Mi       ¢ HARLES.       Enter your USMLE/ECFMG Identification [HOS
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                           i   Frest,   Midate)                                              Number, if one has been assigned to you:
                                                                                 B — REGISTRATION INFORMATION
                                                                              PART




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                     ELIGIBILITY PERIOD:
                     STEP 1— ELIGIBILITY PERIOD
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           i         November 1, 2000 ~-January 31, 2001*
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        Be           December 1, 2000 —February 28, 2001"                    \7                                               December             2000   -   February 28, 2001"




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       STEP 1 — FEES                                                                                             STEP 2— FEES

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      Add the amounts on lines 12.3 and 12.6    —>                                         $1] [ZB10].folo]
      and enter     at right
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      (1   Charge my credit card.                    CheckOne:          Cvisa       [] MasterCard         C2 Discover   |   [24   My check, bank              |] | have sent a wire transfer to ECFMG.,
                                                                                                                               raftor mone
      Credit Card Number:                L_|         |   |   |                  |    |_|              |      |       !      order, made 7                     Date sent:

     Total Exam Fee(s):
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     Credit Card     +                                                                          /                         ,
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     Signature of Card Holder:                                                                                              sl,
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     You must send full payment of the total amount with this application form. If you do not include full payment, this application will be rejected.
      ASMA                                      aan                     eT CTMite              | have a documented             disability covered under

     the Americans with Disabilities Act and                      am requesting test accommodations for the exam(s) selected above.
                                                                                                                                                                       CJ Yes         no
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                                                                PART            — MEDICAL EDUCATION INFORMATION
                                                                                                                                                          CHOCO
          “15,           MEDICAL SCHOOL NAME AND ADDRESS
      List the exact name and address of the medical school from which you graduated or expect to graduate.


      OnicialName      VAN IVE RSITY Coltedge HOSPITAL
           ofModestSchool                                                                                                                            \GADAN
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                                                                                                                                              & Number of Years Attended:

      @        Date you graduated (or expect        to graduate):      O
                                                                       MONTH                   YEAR      (6         | 4) R   “}
      W        Date your medical diploma was Issued (or expect             to be Issued):
                                                                                                      MONTH             YEAR              ’
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      ® Title of Medical Degree you recelved or will recelve                                                                       Bb    ™M6
               Refer to the “Reference Guide for Medical Education Credentials” on pages 45-48 of the 2001 Information Booklet for the list of medical degrees required by ECFMG.

          i              STATUS OF MEDICAL SCHOOL, STUDENT                 —-    Wepre ele                    Resales
                                                                                                                   rt   UG    tce             MN{ A
      ® If you are applying for Step 1, will you have compteted 2 years of medical school by the beginning of your requested eligibility period
        (see PART B, 10) and are you now officially enrolled and will you be officially enrolled al the time you lake tha exam? Check yes or no:                              O Yes O No
      @          you are applying for Step 2, will you be within 12 months of completion of the formal didactic curriculum at your medical school by
               the beginning of your requested allgibility period (sea PART B, 10) and are you now officially enrolled and will you be officially enrolled
               at the time you take the exam? Check yes or no:                                                                                                                Liyes       [no
                    |,   STATUS OF MEDICAL SCHOOL DIPLOMA                  -»    Must be completed by all graduates:                          if you have graduated from medical school,
      you must Include 2 photocoples of your medical diploma If you have not sont them previously. Hfyou graduated from medical school but
      your medical diploma has not yet been Issued, you must submit with your application a letter signed by your Medical School Dean, Vica
      Dean or Registrar that confirma you graduated from medical school, have met all requirements to receive your medical diploma and states
      the date your medical diploma will be Issued. (See “Provision of Credentials and Translations" on page 22 of the 2001 Information Booklet.)
      Graduates must check one:
    ‘x               have graduated from medical school and am enclosing 2 photocopies of my medical diploma.
                    | have graduated   from medical school and have previously submitted to ECFMG 2 photocopies of my medical diploma,
      J         thave graduated from medical school, but mymedical diploma has not yet been issued. | am enclosing a letter from my medical school that
                confirms | graduated, have met the requirements to receive my medical diploma and states the date my medical diploma will be Issued.
      Note: Your application will be rejected If you graduated from medical school and have not submitted photocoples of your medical diploma
      or a latter from your medical school that confirms your graduation (as described above),
               in        OTHER MEDICAL SCHOOLIS) ATTENDED               -.-     Continue an a separate sheet of paper. if necessary:
      List the names, addresses and dates of attendance of all other medical schools you attended.                                                           N    fi     .

      Official Name of Madical Schoo!


      Street Address

      City                                                                                             State/Province                               Postal Code

      Country                                                                                          University Name (if applicable)

      Attendance Dates:                  From               f                        to
                                                   MONTH            YEAR                       MONTH             YEAR

          ‘t        1* TRANSFER CREDITS:
      Did you transfer academic credits from any school(s) to the medical school that conferred or will confer your medical degree?                                           CI   Yes    Xe
      if Yes, Indicate on a separate sheet of paper the name of the echool(s) from which the credits were transferred, the number of
      credits transferred and the course titles for all credits transferred.

                                                     Date you received an unrestricted licanse or certificate of full registration to practice medicine:                2      /    !    8(i   :
                        inwhich
      Country or state in    whiyou are Iicansed::                     LAGOS, # NIGERIA
                                                                                     |                                                                                  monn            NEA
                                                                                      NON               EE                                                                     Dates




      PART C CONTINUES ON THE REVERSE SIDE.                                                      Page 3 of 4




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                                     PART C — MEDICAL EDUCATION, LICENSURE AND EMPLOYMENT                                                                                                                                     -
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                  “. CERTIFICATION BY APPLICANT: Students andgraduates must sign tho application In the presanca of thelr


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            epplication form couki not be signed   Inthe presonce      of a mackeal        official,   (Se   19.2.B.4 bolow)
            Appitcation forma are to be mailed to ECFMG from the office of the official or notary who witneases the applicant's
            signature. AH Information on the PP th   form ty bjsubject
                                                                    to verification and    f      by the Educational Commnilesl
            for Forsign Medical Graduates,                                                                                                                         =
             | hereby certify that| currantly meat examination sligibility requirements and that the Information in this application Is true and
           accurate lo the best of my knowledge and that the photographs enclosed were laken within 6 months of the dateet Gus application,
             1onloton, BAR es aiedge that | have reviewed the appropriate exition (that which pertains to the eligibility pariod for which




           a      invalidate the results of my examination, to withhold a cartificate, to revoke a certificate, or to take other a                            action,
           (See page 15 of the 2001 Information Booklet for additional datails conceming Validity of Scores and Irregular                          :                               or stamp of official
                                                                                                                                                                                Seal
              | understand that the Standard ECFMG Certificate and any and all copies thereof remain the property of ECFMG and must be                                           must cover a portion
           returned to ECFMG if ECFMG determines that the holder of the Certificate was not eligible to receive ht or that was otherwise
           issued In error,                                                                                                                                                        of the attached
             ' hereby authorize the Educational Commission for Foreign Medical Graduates to transmit any Information contained in this                                              photograph.
           application, or Information that may otherwise become available dJo-ECFMG, to      fo aral, stato or local governmental department
          oF  agency, lo any hospital of to any other organization or individylal who, in the  qnt ECR              ofegitimate inisres! in such
          information                                                               }
          Signature of Applicant (in Latin Characters) X
                                                                                                                                                                            Lg) Da         Month
                                                                                                                                                                                                [o[2fofojo|
          19.24 CERTIFICATION BY MEDICAL SCHOOL OFFICIAL (Must be completed for medical school students):
                 | hereby certify that the photograph, signature, and information entered in all parts of Section 15 of this form, Including medical school and attendance datas,
     N/   | A
             ;  accurately epply to the Individual named above, and that this individual is: (must check ona)
                indicated ba      ‘ | have affixed the medical school seal or stamp overa portion of the photogra phEF} omvataity
                                                                                                                         above.
                                                                                                                                                                of the Institution
                                                                                                                                  enrolled in or — [-] a graduate


                       Signature of Medical School Official (in Latin Characters) X                                                                                         |    |     |        |   |        |        |   |
                                                                                                                                                                            i Day          Morith                 Year

            QR         Print Nama and Official Title   (in Latin Characters with English translation, where applicable.)                        Institution                                                                       .
          19.2.   B CERTIFICATION BY IDENTIFICATION WITH EXPLANATION (Pertains to graduates only):                                                                                             July 20, 2004                          i
                     | certify that on the date
                                             set forth below the individual named above did appear personally before me and that | did Identify this applicant by: (a) comparing his/her
                     physical appearance with the photograph on the identifying document presented by the applicant and with the Photograph affixed hereto, and (b) comparing the
                     applicant's signature made in my presence on this form with the signature on his/her            document. The statements in. this document are subscribed and
                                                  Pay                                   . an ieneies i                                                    ,   Inthe year    ZO)
                                                                         Mer terie 2
                     sworn    to before
                     x          Ade et                     1)
                         Signature   of Consular Official,      First Clasa Magistrate, flotary Publicin Latin Charecters with English franslations, where applicable.)                     Official Title

          19.2.8.1       EXPLANATION (Pertains to graduates only) — Explain in the space below why the application could not be signed in the presence of your
                         Medical Schoo! Dean, Vice Dean or Registrar. This explanation must be acosptable to ECFMG and must be provided aach time you
                         submit an application to ECFMG.


            MY MEDICAL SCHOOL IS OVERSEAS AND Tue mme
               SYSTEM 15 VERY UNRELIABLE   |
                   Cilnical Discipline
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          u             €
                                                                                                                                address)               Suparvising                             Dates of Clarkship
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                                                                PART D — OTHER EXAM HISTORY AND APPLICANT NUMBERS
          Re                             een                                          eae                                                                                                                                                 ||
      Check below the organizations (other than ECFMG) to which you previously applied for examinations. Enter the date of the most recent examination that                                                                               ‘



                                                                                      Tttd
      was administered to you and the identification number that was assigned to you by that organization.



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               UNITED STATES                           Identification Number:                                                                          Examination Taken:
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                Exhibit 23




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                         EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                                                    PHILADELPHIA OFFICE
                                            3624 MARKET STREET, PHILADELPHIA,    PENNSYLVANIA 19104-2685, U.S.A.
                                          TELEPHONE: 215-386-5900   @   FAX: 215-386-9767 @ INTERNET: www.ecimg.org




           Personal and Confidential
           Via Federal Express
                                                                           November 16, 2000

               Dr. Femi Charles Igberase
               16327 Chadsford Ave.
               Baton Rouge, LA 70817

                                                Re: USMLE™/ECFMG® Identification No. 0-482-700-2

               Dear Dr. lgberase.

                     The Educational Commission for Foreign Medical Graduates (ECFMG) received
               on October 23, 2000 your application for the United States Medical Licensing
               Examination (USMLE™) Step 1 and Step 2.

                         1 of the application, you answered “no” to the question, “have you ever
                      In Item
           submitted an application to ECFMG for any examination, even if you did not take the
           examination?” In Item 2 of the application, you certified your name is “Femi Charles
           Igberase.” Additionally, in Item 4 of the application, requesting your U.S. Social Security
           and/or National Identification Number, you wrote “N/A.”

                   Based on our review of ECFMG records, you previously submitted applications to
           ECFMG. ECFMG records further reflect that on November 27, 1995, the ECFMG
           Committee on Medical Education Credentials revoked your Standard ECFMG
           Certificate. You appealed that action to the ECFMG Review Committee on Appeals.
           The ECFMG Review Committee considered your appeal on July 10, 1996 and affirmed
           the action of the ECFMG Committee on Medical Education Credentials, but limited the
           length of the revocation of your Standard ECFMG Certificate to five years from July 10,
               1996, i.e., until July 10, 2001.

                 Additionally, according to your prior applications to ECFMG, you indicated you do
           have a U.S. Social Security Number, XXX-XX-XXXX.

                   On your ECFMG application, you certified that “falsification of this application
           ...may be sufficient cause for ECFMG to bar me from the examination, to terminate my
           participation in the examination, to withhold and/or invalidate the results of my
           examination, to withhold a certificate, to revoke a certificate, or to take other appropriate
           action. A copy of the certification statement you signed is enclosed.

                 Please be advised that ECFMG requires an explanation in writing from you
           concerning this matter within fifteen (15) days of your receipt of this letter. The ECFMG
           Committee on Medical Education Credentials will review the information that we have in


                      ECFMG6® is an organization commited to promoting excellence in international medical education.




                                                                                                                      JA4214
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           Dr. Charles Olufemi Igberase
           November 16, 2000
           Page 2


           your file, together with your explanation, at its next scheduled meeting.   You   will be
           notified of the outcome of the review by the Committee and your status.

                 Please send all communications to ECFMG in this matter to my attention.      If you
           have any questions, please telephone me at (215) 823-2277.




                                                            illiam C. Kelly
                                                           anager, Medical Education
                                                           Credentials Dept.
           /wek
           Enclosures




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                Exhibit 24




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      Lasse}                                             pero ltEP 1 AND/OR STEP 2 APPLICATION        *                               ea   Ss
                                                                                                                            BY             %




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                                             FOR INTERNATIONAL MEDICAL STUDENTS/GRADUATES REGISTERED
                                               THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES
                                                   TELEPHONE: (215) 386-6900 INTERNET: www.ecimg.org

               =MAILINGINSTRUCTIONS: =                                                                         via courier service io:
                  via regular mail to:                                                                         ECFMG
                  Educational Commission for Forelgn Medical Graduates                       OR                clo PNC Lockbox 820992
                  PO.Box 820992                                                              —_—                Route 38 & Eastgate Drive
                  Philadelphia, PA 19182-0992 USA                                                               Moorestown, NJ 08057 USA

               NOTE: All items on all pagas of the application must be filled out completely for Initial and reexamination or application will be rejected,
                                                  Use typewriter or print carefully in Ink using uppercase letters.

                                                         PART A — BIOGRAPHICAL INFORMATION
 1. ECFMG* EXAMINATION HISTORY:
 Have you ever submitted an application to ECFMG for any examination, even If you did not take the examinatlon?                                  CI Yes       }{(no
                                                                                                                                                                       []
                                                                                    CJ (J CJ L] J —CJ
If yes, complete either 1.A or 1.B:                                         _                 i                             1.B Check here If you do not know
1A Enter your USMLE/ECFMG Identification Nurnber:                     C]        |                                               your number.

       NAME:

CHARCRISETTTTTTIT) tebe RARSELTCO
2.




CLM WIRE TEM DCTP ETT EEPPro
2.1     PREVIOUS/MAIDEN NAME:
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                                                                                et Et EE EE
First Name                                                                                        Middle Name

LT?                 {TTT} tt
Last Name (Surname/Family Name)
                                                   tt         | tt                                                       EE ET TT                                  TT

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2.2     NAME ON MEDICAL DIPLOMA (Pertains to graduates only)
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OM Lut ILA Ee Le 1| Lf ttt |     Pe    PP TP TPT TT TT                                    tt
Note: See Instructions If thls name Is different from the name you entered in item 2.
3. CONTACT INFORMATION:

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                                                                Code =Fax Number       i
 E MAIL ADDRESS:(PRINT CLEARLY) Charlesa lig Wa Lew A. totmai
 fy                                                                                                         City/Area


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PITT IEIT ICILIC
4. U.S.        SOCIAL SECURITY AND/OR NATIONAL IDENTIFICATION NUMBERS:
               |
        Soclal Security Number                             National Identification Number
                                                                                                                        |   Country

5.     BIRTHDATE/BIRTHPLACE:A                                                         Location:     city:    _ AUD’
                                                                                                               ‘  c.


pay OLI]                month    C) [<>|       rege                                   province: LA          CrQS                      Country:      IG weIK         Fe       *

6. GENDER:                         7. NATIVE VORUP
[Shviate         LJ] Female                                } (2    omi
APPLICATION FORM 1048-W, Auguet 2001                                                Page 1 of 5                                                   ECMG 2001
                                                                                                                                                          All Rights   Reserved




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                                                                          Ul   ¢%                    E    SEeiat
                                                                                                          ec               your    USMLE/ECFMG Identificatlon
                                                                                                          ==: Number, If one has been assignad to you:                          HOLE HOCH
8.    CITIZENSHIP:                                                                                                                         9.                         ofthe following
                                                                                                                                                    ETHNICITY: Provision                                      information

8.1 At Birth:                   Cl usa or      il other (Specityy ||Nigeriaafh                                                             is voluntary. See /nsiructions for detalls.
                                                                                                                                                  American Indlary                    ho
8.2 Upon Entering
    Medical School:             [.] USA or (M        Other (Spectty)           Ni
                                                                           Argon                                                           iC)
                                                                                                                                           22)
                                                                                                                                                  Alaskan Native         4)X4 Black (not of Hispania Origin)


                                                                                         Orion
                                                                                                                                                     AstavPacific stander            5 C_] White (not of Hispanic origin)

8.3 Now:                        Cl usa or     C1 other     crok                                                                            31 Hispante                               6] other
                                                            PART B — REGISTRATION INFORMATION
10. EXAMINEES WITH DOCUMENTED                                 DISABILITIES: | have a documented disablilty and am
covered under the Americans with Disabllities Act. | am requesting test accormmodations for the exam(s) selected below.                                                                    (J       Yes       if   No
11. STEP 1: Fill in completely one circle each for eligibility period and testing                                                           region.
11.1 Eligibility Perlod— select one:     11.2 Testing Region — select one:                                                                            11.3 Foes
O                           1,2001 —January
                                 31,2002" |                    |   REGION                                                          SURCHARGE}                   Step 1
                                                                   a                                                                ie
       November                                                                                                                           «44.3.4
O      December 1,2001 ~ February 28, 2002*                               nee States and Canada                                                                 Exam Fee             9|6/4|/5|.|0|0
©      January 1, 2002— March 31, 2002"                            C) Asta                                                          $110
©      February 4, 2002          —April   30, 2002                 © Australia                                                      $110
O March 1, 2002~ May 34, 2002                                      ©      China                                               | sit0
     .
9Anril 1,2002 - June 30, 2002
O May 4,2002 ~ July 31, 2002                                       ©
                                                                         {For Hong Kong, select Asia testing mgion,)|
                                                                   © Europe
                                                                          India
                                                                                                                                    $140
                                                                                                                                    $110
                                                                                                                                            ||        14.3.2 International
                                                                                                                                                           Test Delivery
© June 1, 2002— August 31, 2002                                    © Indonesia                                                      $110    | -»           Surcharge                  +                                0/0
©      July    1,- September 30, 2002
                    2002                                           © Japan                                                          $270               Wich   Ubled    isin eo
©              2002 —
       August 1,     October 31, 2002                              8 Korea___                                                       $140
©      September            1,2002
                                 —November 30,         2002]       F5     ae                                                        euie
©      October 1, 2002          —   December 31, 2002                     (For Tol Aviv, seloct Europa tasting rogion,)             $110               11.3.3 Step          1    =                  lL    a
                                                                          Taiw                                                      $140                    Subtotal                 $     CO             2|.,0]0
  “USMLE Step 1/Step 2 are not offered rt                                         re                                                a
   during the first two weeks of January.

12.    STEP 2: Fill in completely one circle each for eligibility                                        period and testing region.
12.1    Ellgibility Period — select one:                           12.2 Testing Region — select one:                                                   12.3 Fees
© November 1, 2001                  —Januery 31, 2002*     | | REGION                                                                     49.3.4 Step 2
                                                                                                                                   SURCHARGE!
O      December 1, 2001             —February 28, 2002*            = ma               States and Coneee                             aa                          Exam Fee              9|6|4|5}.|                       0}   0
©                               -
       January 1, 2002 March 31, 2002"                             O) Asia                                                          $120
O      Febmuary 1, 2002          —April 30, 2002                   ©      Australia                                                 $120
© March 1,2002— May 31, 2002                                       © China            <a ven
                                                                                          acieScound                                $120
         “iy                                                              (For Hong    Kony, selec       Asta   tasting region.)
© April 1, 2002—June 30, 2002                                      © Europe                                                         $155               12.3.2 International
O      May     1,2002 - July 31, 2002                                     india                                                     $120                   Test Delivery
© June 4, 2002—August 31,                   2002                          Indonesla                                                 $120        |    ++    Surcharge                  +                                010
©      July    1,2002- September           30, 2002                ©      Japan                                                     $295               oe                       ee $0)
© August 1,2002 —October 31, 2002                                  Q      Korea                                                     $155
©      September 4, 2002            - November 30, 2002 ©  Latin America
                                                        C) Middle East
                                                                                                                                    $120
                                                                                                                                    5120               42.3.3               2
                                                                                                                                                                                  = $
                                                                                                                                                                Step
 QO Octobar 1, 2002 ~ December 31, 2002                                   (For Tal Aviv, elect Europe testing region.)                                    oe       ep                     (.        U 1S               0    0
                                                                   |      Taiwan                                                    $155                      Subtotal                      3                      '
     *USMLE Step 1/Step 2 are not offered                                  ,
      during the first two weeks of January.                           |O Thailand                                                  $120

43,    TOTAL FEE(S) FOR ALL EXAMS:                                                                                                                                                              ;
Add the subtotals from 11.3.3 and 12.3.3 and enter total here and in Item 14.2 on page 3.                                                                        $     (|         5 2. ¢|                O .1010
14,    PAYMENT
            — Refor to page 3 of this                                    application.                                                                     For Office Use Only
To submit payment, complete page 3 of this
application.                                                                                                                                                                                                           U    9
“You must send full payment                        of the total amount                                                                                                               iT ED                             S
with this application.                                                                                                             accou NT CRED                                                                       M ;0
If you do not include full payment, this application                                                                                                                                                                    L   9
will be rejected.
                    ;                                                                                                                                                                                                  E
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                                                      Romie
                 PART C —- MEDICAL EDUCATION, LICENSURE AND EMPLOYMENT INFORMATION
                                                                                                                    temas LEI HI
15.      MEDICAL SCHOOL NAME AND ADDRESS:
List the exact name and address of the medical schoo! from which you graduated or expect to graduate.                                                                               U     2

                                     [ |MY E =
Otficlal Name of    uae     School           R%                   iv     “         =
                                                                                f) E             | P) A          A
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Street Address           Of       irA                             : |         MELA:                                                                                                 L        0
City         l   B AD A          KN ;                                                             Siate/brovige       ul n)                  Postal Code                            E     2
Country              KS     |   (3       [2 }     A       :                                       University Name (if applicable)

15.1        MEDICAL SCHOOL INFORMATION:                                                     .                  ac
@      Attendance Dates:          From       _O&> /
                                               MON TH         |   t     | I
                                                                       YEAR          to     26 zd
                                                                                           Np                  ||6
                                                                                                                YEAR
                                                                                                                                        ll   Number   of Years Attended:          Lfed
                                                                                                                                                                                Sect                 rs
l@ Date you graduated (or expect to graduate):                           Lik?   f    [               2
                                                                                                           :               ¢ 4)
                                                      MGNTH          YEAR
Bi     Date your medical diploma was Issued (or is expected to be Issued):                            DBat            LG                :

fi Title of Medical Degree you received or will recelve                      MA        ‘   B   2
       Refer to the “Refarence Gulde for Medical Education Credentials” on pages 45-46 of the 2002 Information Booklet for the Ilet of medical degrees required by ECFMG.

 15.2 STATUS OF MEDICAL SCHOOL STUDENT — Must be completed by ali students:
1  If youare applying for Step 4, will you have completed 2 years of medical school by the beginning of your requested eligibllity period = _..
   (see PART B, 11.1) and are you now officially enrolled and will you be officially enrolled at the time you take the exam? Check yes or no: M Yes                                     [INo
ia If you are applying for Step 2, will you be within 12 months of completion of the formal didactic curriculum at your medical school by
   the beginning of your requested eligibility porlod (see PART B, 12,1) and are you now officially enrolled and will you be officially enrolled,
   at the time you take the exam? Check yes or no:                                                                                                Alves                                 LINo
15.3 MEDICAL SCHOOL DIPLOMA — Must be completed by all graduates:                           If you have graduated from medical! school, you
must Include one photocopy of your medical diploma If you have not sent one previously. If you graduated from medical school but your
medical diploma has not yet been issued, you must submit with your application a letter signed by your Medical School Dean, Vice Dean or
Registrar that confirms you graduated from modical school, have mot all requirements to receive your medical diploma and states the date
your medical diploma will be Issued. Additionally, the name on your medical diploma must match the name you entered in item 2. If the
name on your medical diploma Is different from the name you entered in Item 2, you must submit legal documentation that verifies the name
on your diploma Is/was your name. (See “Provision of Credentials and Translations” on page 34 of the 2002 Information Booktet.)
Graduates must check one:
     have graduated from medical school and am enclosing one photocopy of my medical diploma.
(J | have graduated from medical schoo! and have previously submitted to ECFMG one photocopy of my medical diploma.
C] 1 have graduated from medical school, but my medical diploma has not yet been issued, | am enclosing a letter from my medical school that
    confirms | graduated, have met the requirements to receive my medical diploma and states the data my medical diploma will be issued.
Note: ECFMG requires a copy of the osiginal language medical diploma or letter from the medical school. If the medical diploma Is not In English,
you must also submit an official English transtation. Your application will be rejected If you graduated from medical school and have not
submitted a photocopy of your medical diploma or a letter from your medical school that confirms your graduation (as described above).

16. OTHER MEDICAL SCHOOL(S) ATTENDED — Continue on a separate sheet of paper, If necessary:
List the names, addresses and dates of attendance of all other medical schools you attended.

Official Name of Medical Schooi

Slreat Addross
                                                              arr
                                                              OPN
City                                                                                                 State/Province                           Postal Code

Country                                                                                              Universlty Name (if applicable)

Attendance Dates:               From                                            to
                                             MONTH                YEAR                    MONTH                YEAR

16.1        TRANSFER CREDITS:
Did you transfer academe credits from any school(s) to the medical schoo! that conferred or'will confer your medical dagree?                                                Clyes        CINo
if Yes, Indicate on a sepatate sheet of paper the name of the school(s) from which the credits were transferred, the number of
credits transferred and the course titles for all credits transferred.

17, MEDICAL              LICENSURE:             Date you recelved an ul Peel                re           or certificate of full registration to practice medicine:   [ 0.    / | 1       3
Country or state In which you are licensed:                              } Leek                  2
18. EMPLOYMENT:                        os            7                  —                                                                                                   Dates                :

                                NERAL                             % PITA
                                              &                                                                  MEbDLAL DFFIC                                       pec:      144h—

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PART C CONTINUES ON PAGE                6.                                                   Page 4 of 5




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               j       ;           en         Se                 mt      L REE (ZAITS(                    Enter your USMLE/ECEMG Identification                     a                         B                     In
Name         DLUWAFE ML                     CHAR              \ (9        IG BE  AE >                                if
                                                                                                          Number, one has been assigned to you: []                      Le                     OL                              |

               PART        C   — MEDICAL EDUCATION, LICENSURE AND EMPLOYMENT INFORM4 TIAN (Cantinuarh
                                                         ~
                                                         - Students and graduates must sign the application In the presence of thelr
19.   CERTIFICATION BY APPLICANT:                           Medicat Schoo! Dean, Vics Dean or Registrar. (See 19.2.4 below.)
{fa graduate cannot sign the application form In the presence of a medical achool offictal noled above, he/she must sign the
application form in tha presence of a Consulor Official, First Class Mag'strate or Notary Public (See 19.2.8 below) and must explaln
In writingwhy the application form could not be signed In the presence of a medical school official, (Gee 19.2.8,1 below.)
Application forme ara to be mallad to ECFMG from the office of the official or notary who witnesses the applicant's signature, All
Information on the application form Is subject to verificatian and acceptance by the Educational Commission for Forelgn Medical
Graduates.
  heroby certify that ! currantly meat the examination eligibility requirements and that the Information In this application ts true and
accurate fo the best of myknowledge and that the photographs enclosed ware taken within 6 months of ihe date of this application.
  1 alse certify and acknowledge that| have read the appropriate editton (that which          ins to the oligitilty perlod for which tam
registering [PART B, 11.1 and 12.1), of the EGFMG Infermation Bookletand USMLE Aulfatin of Information, am aware of the
contents of both publicatlans, moot tha eligibility requiramente sot thereln and agree to abide by the polictes and procedures thereln.
   t understand that (1) falalfication of this application, or (2) the submission of any falsified documents toaEGFMG, or (3) the
submission of any falsifiod ECFMG documants to other agencies, or (4) the giving or racelving of ald In the exarnination as
evidenced either by observation at the time of the                    or by statistical       of my          sand those of one or more
                                                                                                                                                                                        ‘ i ,
                                                            ination                     lysis
other participants In that oxamination, or engaging In other conduct thet subverts or attempts to subvert the examination jrocesa,
may be sufficient causs for ECFMG to bar me from the axamination, to terminate my parllelpation In the examination, to withhold
and/or invalidate the results of my examination, to withhold a cortificate, to revoke a certificate, or to take other appropriate agtian,
                                                                                                                                                                        Seal or stamp of official
(See page 24 of the 2002 Information Booklet for additional details concerning Validity of Scores and Irregular Bahavlor,
                                                                                                                                                                          must cover a part of
   | understand that the Standard ECFMG Certificate and any and all copies thereof remaln the property of ECFMG and must be
retumed to ECFMG if ECFMG determines that the holder of the Certificate was not eligible to receive It or that it was otherwise                                          attached photo and a
issued In error.                                                                                                                                                            art of application
   | hereby authorize the Educatlonal Commission for Forelgn Medical Graduates to |                 Mtany information   cantained In this
application, or Information that may otherwise become avaliable to ECFMG, foany federal, stale or local           govarnmental department
or agency, fo any hogpllal or fo any other organization or      i ictenial
                                                                        wy) “(r) Judgrnant I ECFMG, has a lagilimato interest In such
information,                                                              , ,    9    .                                                                                       +           as                 =             .
Signature          of Applicant     (in Latin Characters) X                               AWOL               ue                                                     | | | 3 | [0         [3 f2-Je | ofz]
                                                                  (Signature must match full legal Qhine as given In PART A-2.)                                         Da'y          Month                  Year
19.2.4 CERTIFICATION BY MEDICAL SCHOOL OFFICIAL (Must be completed for medical school students):
        | hereby certify that the photograph, signature, and information entered In all parts of Section 15 of thls form, Including medical school and attendance dates,
       accurately apply to the individual named above, and thet this individual Is: (must check one)       [[] officially enrolfedin or —[[] a graduate of the institution
       indicated below. | hava affixed the madical school seal orstamp over a portion of the photograph above.
             Signature of Medical School Official (In Latin Characters) X                                                                                           |     |       |      |        |      |             |           |
                                                                                                                                                                        Day            Month                 Year


  OR Print Name and Official Tite (in Latin Characters with English translation, where applicable.)           Institution
19.2.8 CERTIFICATION BY IDENTIFICATION WITH EXPLANATION (Pertalns to graduates only):
       | certify that on the date set forth below the individual named above did appear personally before me and that | did Identify this applicant by: (a) comparing his/her
       physical appearance with the photogreph on the [dantifying document prosented by the seein          and with the photograph affixed hereto, and (b) comparing tha
       applicants signaiure made In my presence on this forn wilh the signature on his/her identifying documant, ‘The statements In this document are subscribed         and
       sworh to beforg me by the applicant on this         $3         day, of the month of                               , Inthe year      4.0       L 1
             x Signature             Sg, SY
                                         MeHref
                           of Consular Official, First   Class Magistrate, Notary Publle (In Latin Characters      with Englleh   fanstations, where applicable.)                       Officlal Title

19.2.8.1       EXPLANATION (Pertains to graduates only) ~ Explain in the space below why the application could nol be signed In the presence                                                                  U            2
               of your Medical Schoo! Daan, Vice Dean or Registrar, This explanation must ba acceptable to ECFMG and must bo provided each                                                                    §
               time you submit an application to ECFMG or your application will be tejected,                                                                                                                  M 0
               Nop                 UCL      Ch     \hé ect                VYa\ \ ea 4                      SUS keryy-                                                                                         L 0
                               =                                                               :             Tae                                                                                                           2
                                                                                                                                                                                                              E
20. CLINICAL CLERKSHIPS — Continue on a separate sheet of paper, If necessary:
         Clinical Diseipling                  Hospital/Clinic                                      Location (exact address)                    Supervising Phyalclan                         Dates of Clorkship                ;

SURGERY                                    CEN               HOSP               ile - )FE -                                              Oe APE LOMO                                   19/GL-—-      .        ///4
MEDICINE                                  GEN bt osp.                           JLE~         | FE                                        DR TEMTCPE                                    [yolot - 3/97 ©
 OBCVM/FE                      DT         (ren Hop                              Wen JFE                                                 DRwk u /py 68)                                 ly/7       -      7/4
                                           PART D — OTHER EXAM HISTORY AND APPLICANT NUMBERS                                                                                           $/ V7 - (2) qF
21. OTHER EXAM HISTORY and APPLICANT NUMBERS:
Check below the organizations (other than ECFMG) to which you previously appilod for examinations. Enter the date of the most recent examinatlon                                                                           that
was administered to you and the Identification number that was assigned to you by that organization.
                                                                                  NBME Parts       1/11                                                                               Month                  Your
      NATIONAL BOARD                          A

      CXAMINERS                                                                                                                                                                                   fifo            [|

                                                                                                      TTL
                                              Identification Number.                                                                            Examination Taken:
                           '                  dshbar                                         USMLEStops1/2                                                                            Month                  Yeor
                                                  pplican                         7                                                               of Most
                                                                                                                                                Date   Recent
                                              Identification Number: CI               [ET]                                   [|                 Examination Taken:


      STATE LICENSING                                             .                            FLE)                                                                                   Month                  Year


      AUTHORITY IN THE
      UNITED STATES                           Identification Number:                                                                            Examination Taken:                LL]             [+]e] |
                                                                                              Page 5 of 5




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                Exhibit 25




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                        EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                           3624   MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                                          TELEPHONE: 215-386-5900   @   FAX: 215-386-9767   @   INTERNET: www.ecfmg.org




               Personal and Confidential
               Via Federal Express

                                                                           November 12, 2002
                                                                                                              2   ase
                                                                                                                          shol)


               Dr. Igberase Oluwafemi Charles
               18336 Streamside Drive
               Gaithersburg, MD 20879


                                               Re: USMLE™/ECFMG® Identification No. 0-482-700-2

               Dear Dr. Charles:

                      On behalf of the ECFMG Medical Education Credentials Committee, | am writing
               to inform you the Committee has completed its review of the available information
               related to the allegation you engaged in irregular behavior in connection with the false
               response to Item 1 on the application for the USMLE Step 1 received by ECFMG on
               March 18, 2002 and your applying to take the USMLE Step 1 when you have already
               passed the USMLE Step 1.

                      In advance of the review, members of the Committee were provided with copies
               of the following materials: (1) your application for the USMLE Step 1 received by
               ECFMG on March 18, 2002, (2) medical diploma submitted with this application, (3)
               ECFMG’s May 22, 2002 letter to you, (4) ECFMG’s July 22, 2002 letter to you and (5)
               ECFMG'’s September 20, 2002 letter to you.        The ECFMG Committee also had
               information on prior actions taken by the ECFMG Medical Education Credentials
               Committee and USMLE Committee on Irregular Behavior.

                      Following careful review of this matter, the ECFMG Medical Education
               Credentials Committee determined that you had engaged in irregular behavior in
               connection with the false response to Item 1 on the application for the USMLE Step 1
               received by ECFMG on March 18, 2002 and your applying to take the USMLE Step 1
               when you have already passed the USMLE Step 1.

                      The ECFMG Medical Education Credentials Committee took action to bar you
               permanently from admission to all ECFMG examinations and from ECFMG certification
               and to refer this matter to the USMLE Committee on Irregular Behavior. As you were
               advised in my May 22, 2002 letter, at its May 2, 2002 meeting, the ECFMG Committee
               took action to revoke your Standard ECFMG Certificate permanently.



                     ECFMG® is an organization committed to promoting excellence in international medical education.




                                                                                                                          JA4222
Confidential                                                                                                      ECFMG_RUSS_0003471
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           Dr. Igberase Oluwafemi Charles
           November 12, 2002
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                  Also, in accordance with ECFMG policies and procedures, an annotation that you
           engaged in irregular behavior will be included in your ECFMG record. This annotation
           will appear on your ECFMG Certification Verification Service Report and ECFMG Status
           Report. In addition, ECFMG will report the determination of irregular behavior and
           revocation of your Standard ECFMG Certificate to the Federation of State Medical
           Boards, state medical licensing authorities and directors of graduate medical education
           programs.

               As noted in the enclosed ECFMG Rules of Appellate Procedure, decisions of the
           ECFMG Medical Education Credentials Committee may be appealed within the 60 day
           time limit specified.




                                                          William C. Kelly
                                                          Manager, Medical Education
                                                           Credentials Department
           /wek
           Enclosure




                                                                                           JA4223
Confidential                                                                           ECFMG_RUSS_0003472
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                Exhibit 26




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    |   United States
             ical
          flied
                                                              UNITED STATES MEDICAL LICENSING EXAMINATION (USMLE)
         Langtin
          ee            mp
                                                                       STEP 1 AND/OR STEP 2 EXAMINATIONS                                                                                         .                                   -
                                         ADMINISTERED TO STUDENTS/GRADUATES OF FOREIGN MEDICAL SCHOOLS BY
                 THE EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES, 3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2655, USA
                                                       PHONE: 215 386-5900 CABLE: EDCOUNCIL,PHA                   ‘
                                                                                                               PART A
                    NOTE: All items on all sides             of the application       must    be filled out completely for             initial and reexamination or application will not be accepled.
                                                                                                                                                                                                                                     ~

                                                                                                Use typewriter or block            printin ink,
        O) ECFMG                                     Have you ever submitted an applicalion to ECFMG for any                                                   If yes, enter your USMLE Identification Number
               EXAMINATION
                                                                                                                                                               LO-553-2 58-5
                                                     examination, even If yoy. did not take the examination?                                                   (EGFMSG Applicant Number) In this box,

               HISTORY:
                                                      —
                                                                                      ves [I No                                          o                                 :
                                                                                                                                                                                                                                     |
        ® NAME:                                  IJ) NameiO                    Wty            IN;        tot        tt              tt            kk MiddletttName                                        ty
                                                                                              Di A
               Print your name as you"               First                                                                     -
               want jt to appear on the
               Standard ECFMG
               Certificate and an
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               provide that name                 Please include a copy of the legal document                      that   verilies this name change.

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            SCHOOL STUDENT:                                    ;           ,                    =                                            a                        :                    :
            Must be completed by                     If you are applying for Step 2, will you have completed or be within 12 months of completign of the farmal didactic
            students.                                curriculum at your medical school by the date of that examination?                                                                                     CL Yes       CJ No

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         REGISTRATION:                                                     Step   1                                                      Step 2                                    ECFMG English Test
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            TEST CENTER:                        lf   your center selections ara not available, sh                         resp ves the right to assign a center.
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 i)       MEDICAL                  Daie you received (or expect to receive) an unrestricted license orcertificate                           of full registration to practice medicine:
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                                     Booklet.


 2) TRAINING:
    HOSPITAL                                      :                         Hospitals                                                                   Positian(s)                                     Dates

          Residency or
          fellowship



q3) ENIPLOYMENT:                            -                         Inatitutlon/Company                                                                  Position                                     Dates
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G4) BIRTHDATE/
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      BIRTHPLACE:
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(5) GENDER:                         Please check one:       iw        Mate                     Female                         NATIVE LANGUAGE:                        EDO
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                                    (Complete all three) ,
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                                   Gc.NOW VIGHE                  Ry BA/                          USAQ            or     Other CF) (Specify)


(8) OTHER EXAMINA-                 Check below the organizations 10 which yau may have applied previously; enter lhe date of the most recent examination that was
                                   administered to you and the identitication number that was assigned to you by that organization.
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      APPLICANT,                                                                           DATE OF MOST RECENT
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                                                                                   PART C
                                    Students and graduates must sign       the application in the presence of their Medical
                                     School‘Dean, Medical School Vice Dean, or Medical School Registrar. (See A below.)
                                     {i a graduate cannot sign the application form in the presence ol a medicai school offi-
                                   - Gial noted above, he/she must sign the application lorm in the presence of a Gonsular
                                     Official, First Class Magistrate or Notary Public (See & below) and mus! explain in
                                     writing why the application form could not be signed in the presence o! a medical
                                     school official, (See B.1 belaw.)
                                    Application forms are to be mailed to ECFMG from the office of the official or notary
                                    who witnesses the applicant's signature.




                                                                                                                                                                                                            were
                                    All information on the application form is subject to verification and acceptance by
                                    the Educational Commission for Foreign Medical Graduates.

        CERTIFICATION                  | hereby certify that the information in this application is true and accurate to the best of


                                                                                                                                                               -AN COLLE
        BY APPLICANT                my knowledge and that the photographs enclosed are recent photographs of me.
                                       | also certify and acknowledge that | have received the current edition (thal which par-
                                   tains to the administration for-which | am registering) of the combined Information Booklet .
                                   on ECFMG Certification and Application for USMLE Step 1 and Step 2 examinations and f/


                                                                                                                                                             We
                                    USMLE Bulletin of Information, am aware of the contents of both sections and meet the
                                   eligibility requirements set therein.
                                      | uneeratand that (1) falsification of this application,  or (2) the submission of any falsified
                                   educational documents to ECFMG, or (3) the sulymission of any talsitied ECFMG docu-
                                   ments lo other agencies, or (4) the giving or receiving ol ald In the examination as ,,                                               photograph.
                                   evidenced either by observation al the time of the examination or by slatislical analysis of Wi
                                   my answers and those of one or more other participants in that examination, or engaging |
                                   in other conduct that subverts or attempts to subvert lhe examination process, may be
                                   sulficient cause for ECFMG to bar me from the examination, to tarminate my participation +
                                   In the examination, to withhold and/or invalidate the results of my examination, to withhold
                                   a certificate, to revoke a certificate, or to take other appropriate action. (See Information
                                   Booklet for additional details conceming Validity of Scores and Irregular Behavior.)
                                      l understand that the ECFMG certificate and any and all copies thereof remain the
                                   properly of ECFMG and must be returned to ECFMG it ECFMS determines that the holder

RECETW!                  4         of the Certificate was not eligible to receive It or that it was otherwise issued In error.
                             rt




                                      (‘hereby authorize the Educational Commission for Forelgn Medical Graduates to trans! f.
                                   mil any information contained in this application, of Information that may otherwise become

    3&19Ye
  AUG                              available to EGFMG, to any federal, state or local governmental department or agency, lo
                                   any hospital or to any olher organization of Individual who, in the judgment of ECFMG, has
                                   a legitimate interest in such Information.      —)                        .        ‘   He.



      ECP Mi                       Signature of Applicant
                                   (in Latin Characlers)
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        CERTIFICATION              A.        {hereby certify that the photograph, signature, and Information e                        dons       in 10   of this form     gecurately
        BY MEDICAL                                 to
                                             apply the individual named above.                    .          CAE                                    EAC                  EC    off             ’



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        CERTIFICATION OF                                                                                          ‘
        IDENTIFICATION             B.                                                                            did appear personally before me and that
                                             | certify that on the date set forth below the individual named above                                       | did identify
        WITH EXPLANATION                     this applicant by: (a) comparing his/her physical appearance with the photograph on the identifying document presented
        (Pertains to graduates               by the applicant and with the photograph affixed herata, and (b) comparihg the applicant's signature made in my presence
         only)                               on this form with the signature on Is/her identifying document. The statements in this document aré subscribed and
                                             sworn to before me by the applicant on this                          day of                                          19
     FOR OFFICE USE ONLY                                                                                                                                                       \
 FORM               DATE                Signature of Consular Official, First Class Magistrale, Notary Pubtic             (In Latin   Characters)             Official Title


 S.A,

 1.D.
 338                               B.1       Explain in the space below why the application could not be signed in the presence of your medical school dean, vice
                                             dean or registrar. Any explanation must be acceptable to ECFMG and must be provided each time you submit an
                                             application to ECFMG.
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  a        fe                                                                                                                                                                      ZL
     Have you ever been denied licensure or authority to practice medicine by any medical licensing or registering
     authority, or has any. such license or authorily to practice medinine ever been suspended or revoked?                                           CO
                                                                                                                                                      ves o%
     If the answer to this question !s “Yes," please explain fully on a separale sheet of paper, giving details such as
     date, location, charge, and action laken; and provide any supporting dacuments.

a)   Pravision of the following information is voluntary. The information will be used for research purposes only, You are encouraged to provide the information;
     however, the processing of your application will not be affected if you choose to leave [tem @) blank.
     Select the one which                             100                    20                        30                                |                           5                             60
     best describes your racial/               American Indian/               Asian                Htspanic                      Black (nol of                  White (nat of                      Other
     ethnic background,                         Alaskan Natlve          Pacitic Istander                                       Hispanic Origin)               Hispanic Origin)



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                                                                 PART D
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       in hospitals or clinics.   | feclatyics    S betel        y   acP Bern whi!)           PrewiY         per
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                Exhibit 27




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                          BENIN CITY, NIGERIA


                  Schubull Cnosaldrare.Akoda ~
   having satisfied all the requirements of the University
     and passed the prescribed examinations held in
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                   has been admitted to the degree

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                Exhibit 28




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                                                         PHILADELPHIA OFFICE
                                 3624 MARKET STREET, PHILADELPHIA,       PENNSYLVANIA 19104-2685, U.S.A.
                               TELEPHONE: 215-386-5900   ©   FAX: 215-386-9767  ® INTERNET: www.ecimg.org




  Personal and Confidential

                                                                 August 22, 2000

 James McCorkel, Ph.D.
 Vice President for Academic Affairs
 Jersey Shore Medical Center
 1945 State Route 33
 Neptune, NJ 07754-0397

                                   Re: Dr. John Nosa Akoda
                                   USMLE™/ECFMG® Identification No, 0-553-258-5

 Dear Dr. McCorkel:

         This is in response to your letter of August 11, 2000 and telephone conversations
 of August 14 and 15, 2000. You indicated in your letter and subsequent conversations
 that Jersey Shore Medical Center/Meridian Hospitals Corporation is conducting an
 investigation whether a resident at your institution by the name of John Charles Akoda
 may have also served as a resident at two other institutions using the name Oluwafemi
 Charles Igberase. To aid in your investigation, you asked for certain information in
 possession of the Educational Commission for Foreign Medical Graduates (ECFMG).

       According to applications submitted to ECFMG, Dr. Akoda’s full name is “John
Nosa Akoda.” He certified his date of birth to be January 1, 1959. The medical diploma
he submitted indicated he received his medical degree in 1988 from the Faculty of
Medicine, University of Benin, Nigeria. ‘This medical diploma was verified by ECFMG
with the medical school. Dr. Akoda was issued ECFMG Certificate No. 0-553-258-5 on
August 18, 1997. The social security nurnber he provided ECFMG in 1998 is
9065.


        ECFMG also has a file for “Oluwafemi Charles Igberase.” Using the name
“Oluwafemi Charles Igberase,” an individual submitted an application and certified his
date of birth to be April 17, 1962 and his social security number as °       5054. The
medical diploma he submitted indicated he received his medical degree in 1987 from
the Faculty of Medicine, University of Ibadan, Nigeria.      This medical diploma was
verified by ECFMG with the medical school. He was issued ECFMG Certificate No. 0-
482-700-2 on October 4, 1993. This ECFMG Certificate was revoked in November
1995. The revocation is through July 10, 2001.

       This samé individual also submitted an application using the name “lgberase
Oluwafemi Charles.” He certified his date of birth to be April 17, 1961. He also certified
on the application that he had not previously submitted an application to ECFMG and


        ECFMG@ is an organization committed to promoting excellence in international medical education.

                                                                                                            ECFMG-000640



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James McCorkel, Ph.D.
August 22, 2000
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was assigned  a new USMLE/ECFMG Identification Number 0-519-573-0. The medical
diploma he submitted indicated he received his medical degree in 1987 from the Faculty
of Medicine, University of Ibadan, Nigeria.    This medical diploma was verified by
ECFMG with the medical schaol. He did not provide a social security number under this
USMLE/ECFMG Identification Number. He was issued ECFMG Certificate No. 0-519-
573-0 on December 14, 1994. This ECFMG Certificate was invalidated in November
1995.

         ECFMG has no record of receipt of requests for verification of the ECFMG
certification status from Harlem Hospital Center or JFK Memorial Hospital concerning
any of these three names or USMLE/ECFMG Identification Numbers.

        Thank you for bringing this matter to our attention.

                                                   Sincerely,


                                                  Spb             Jeelig
                                                  Stephen S. Seeling, J.D,
                                                  Vice President for Operations
SSS/wck




                                                                                  ECFMG-000641


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                Exhibit 29




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                      EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                                                  PHILADELPHIA OFFICE
                                          3624 MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.

                                        TELEPHONE: 215-386-5900   @   FAX: 215-386-9767   @   INTERNET: www.ecfmg.org




           Personal and Confidential
           Via Federal Express
                                                                        August 22, 2000




           Dr. John Akoda
           22344 Rolling Hill Lane
           Laytonsville, MD 20882


                                             Re: USMLE™/ECFMG® Identification No. 0-553-258-5

           Dear Dr. Akoda:

                 The Educational Commission for Foreign Medical Graduates (ECFMG) has
          received information alleging that you may have engaged in irregular behavior.

                According to ECFMG records, in January 1996, you submitted an application to
          ECFMG to take the March 1996 United States Medical Licensing Examination (USMLE)
          Step 2 and June 1996 USMLE Step 1. You certified on the application that your name
          was “John Nosa Akoda” and that you had not previously submitted an application to                                  .
          ECFMG. You also certified, among other information, that your date of birth was
          January 1, 1959 and that you graduated from the Faculty of Medicine, University of
          Benin, Nigeria, in 1987.

                 According to information recently received by ECFMG, it is alleged you may have
          previously applied to ECFMG using the names “Oluwafemi Charles Igberase”
          (USMLE/ECFMG Identification No. 0-482-700-2) and “Igberase Oluwafemi Charles”
          (USMLE/ECFMG Identification No. 0-519-573-0). In November 1995, the ECFMG
         Committee on Medical Education Credentials took action to invalidate Standard ECFMG
         Certificate No. 0-519-573-0 and revoke Standard ECFMG Certificate No. 0-482-700-2.
         An appeal of these actions was taken to the ECFMG Review Committee on Appeals.
         After hearing the appeal, the ECFMG Review Committee on Appeals upheld the actions
         of the ECFMG Committee on Medical Education Credentials, but limited the length of
         the revocation of Standard ECFMG Certificate No. 0-482-700-2 to five years, i.e., until
         July   10, 2001.


                  When you applied to ECFMG, you certified on your application that the
         “falsification of this application or the submission of any falsified educational documents
         to ECFMG ...may be sufficient cause for ECFMG to bar me from the examination, to
         terminate my participation in the examination, to withhold and/or invalidate the results of
         my examination, to withhold a certificate, revoke a certificate, or to take other
         appropriate action.” A copy of the certification statement you signed is enclosed.


                 ECFMG@ is an organization committed to promoting excellence in international medical education.
                                                                                                                        JA4235
Confidential                                                                                                     ECFMG_RUSS_0004194
                  Case: 22-1998 Document:Document
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          Dr.    John Akoda
          August 22, 2000
          Page 2



                 ECFMG requires an explanation from you in writing within fifteen (15) days of
          your receipt of this letter. The information in your ECFMG file, together with your
          explanation and any other material you submit, will be referred to the ECFMG
          Committee on Medical Education Credentials for review at its next scheduled meeting.

               Please send all communications and material in this matter to my attention.   If
         you have any questions, please telephone me at (215) 823-2277.




                                                       Manager, Medical Education
                                                        Credentials Department
         /wock
         Enclosure




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                Exhibit 30




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           EDUCATIONAL COMMISSION for FOREIGN MEDICAL GRADUATES
                                                       PHILADELPHIA OFFICE
                              3624   MARKET STREET, PHILADELPHIA, PENNSYLVANIA 19104-2685, U.S.A.
                            TELEPHONE: 215-386-5900    @FAX:   215-386-9767   @INTERNET: www.ecing.org


August 28, 2000


Memorandum

To:             File #0-553-258-5
                Dr.   John Akoda

From:           William Kelly

Today | received a telephone call from James McCorkel, Ph.D., Jersey Shore Medical
Center. His telephone is (732) 776-4732,

He stated Dr. Akoda was still in the residency program, but had requested a leave of
absence effective august 30, 2000, stating his father in Nigeria had died and he was
going to travel there. Dr. Akoda also told him he required surgery.

Dr. McCorkel also stated he had contacted Harlem Hospital concerning the identity of
Dr. Igberase Charles. He had sent them a photograph. He was waiting to hear from
Harlem Hospital.

Dr. McCorkel stated he would keep us informed of developments.




        ECFMG@ is an organization committed fo promoting excellence in intemational medical education.



                                                                                                    ECFMG-000560


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                Exhibit 31




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                Exhibit 32




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                Exhibit 33




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 Kelly Bill
From:                         femi charles [cfem|@hotmail.com]
Sent:                         Thursday, December 21, 2000 7:12 PM
To:                           Kelly Bill
Subject:                      Re: USMLE application


hi mr kelly,
 i have been trying to reach you for a while,left several messages on your
 machine,but no response.
 the last time | spoke with my cousin( dr Igberase) was about 3 months or so
 in nigeria.he told me he will be either in florida or louisiana when he
 comes back to the country.i haven;t spoken with him since then.
 jidon,t know if he,s back or not.
 i wonder why he gave you this e-mail address.he does not use this address
 any more.he uses igberaseoluwafemi@yahoo.com at Jeast as at when he last
 e-mailed my sister.
 i hope to talk with you soon,
you could reach me at honie (301)482-1441,
thanks for your usual support,
sincerely,
john Akoda M.D.


>From: Kelly Bill <BKellY@ECFMG.org>
>To: “cfemi@hotmail.com" <cfemi@hotmail.com>
>Subject: USMLE application
>Date: Thu, 21 Dec 2000 16:39:05 -0500
>
>Dr.   Igberase,
>

>!have been trying to contact you concerning your application submitted to
>ECFMG, Please contact me as soon as possible.
>
>William Kelly
>Manager, Medical Educ. Credentials Dept.
>ECFMG
>3624 Market St., 4th Floor
>Philadelphia, PA 19104
>
>Telephone: (215) 823-2277
>Fax: (215) 386-9767
>Emall: bkelly@ecfmg.org
>




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                                                                                  ECFMG-000671


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               Exhibit 34




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                             *
ELSA M. POWELL AND DESIRE EVANS,
                                                              *       Case No. 2:18-cv-05629-JW
               Plaintiffs
                                                              *       Hon. Joshua D. Wolson
       V.


EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,                                    *


               Defendant                                      *

*      *       *       *         *          *           *         *       *      *         *         *
                             DECLARATION OF ELSA POWELL
       I, Elsa Powell, pursuant to 28 U.S.C.      § 1746,     declare under penalty   of perjury   that the


following is true and correct:

        1.     I first encountered Oluwafemi Igberase, whom I knew as “Dr. Charles Akoda,” in

2014, having been referred to the medical practice          ofAbdul   Chaudry, M.D. for prenatal care.

Oluwafemi Igberase, using the identity of “Charles Akoda,” saw me on several occasions during

my pregnancy in connection with that medical practice. He also performed the delivery of my

son, Jaiden.


       2.      Igberase’s treatment of me involved physical contact, including invasive pelvic

examinations, and the delivery       ofmy child. Additionally, following delivery of my child,

Igberase performed a surgery on me as a result of significant postpartum bleeding.


       3.      During my pregnancy, Igberase acted ina flirtatious manner with me that made

me feel uncomfortable, but I nevertheless trusted that he was a competent and appropriately

credentialed physician providing appropriate medical care.




                                                   1   of 3



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        4,       Throughout all procedures and examinations performed on me by Igberase, I

believed that he had received all appropriate and necessary medical training and was practicing

obstetrics and gynecology as a duly licensed and credentialed physician.       I trusted the

organizations responsible for verifying the credentials   of physicians   when I agreed to submit to

medical care from him.

        5.       I first learned that the man I knew as “Dr. Akoda” had used a fraudulent identity

and had not taken the appropriate steps to engage in the practice   of medicine, in approximately

2018.


        6.       I trusted “Akoda” with my prenatal   care, the delivery of my child, and subsequent


surgical procedures. Upon learning that he had engaged in this fraud, I felt extremely violated,


and experienced severe emotional distress.     As a result of this realization, I experienced recurrent

nausea, stomach discomfort, fear, confusion, sleeplessness, crying, anger, nervous sweating, and


panic attacks. I experienced difficulty trusting physicians and reluctance to seek medical care.


These symptoms were recurrent and severe, and continue to today, particularly when confronted

with the need to see a medical provider. I felt betrayed by “Akoda” and the organizations

responsible for verifying the qualifications   of physicians.

        7.       I entrusted the man I knew as “Akoda” with my life and the life of my then

unborn child. I allowed him to touch and perform invasive examinations         of my body.     Had I

understood that the man I knew to be “Akoda” had engaged in identity fraud, and had not gone

through the appropriate process to become credentialed as a physician, including by not

submitting valid proof of having attended medical school, I would never have agreed to submit

to medical and surgical treatment by him. His physical contact with me, including the delivery


of my child,   was obtained without my consent and through fraud.


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I declare under the penalties    of perjury of the laws of the United   States   of America that the

foregoing is true and correct.



 Date:    ‘fin [2098                                   By:      Fe                  fayse Of)
                                                              Elsa Powell




                                                  3   of3

                                                                                                   JA4248
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               Exhibit 35




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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                         *
ELSA M. POWELL AND DESIRE EVANS,
                                                          *       Case No. 2:18-cv-05629-JW
                Plaintiffs
                                                          *       Hon. Joshua D. Wolson
        v.
                                                          *
EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,                                *

                Defendant                                 *

*       *       *       *      *          *         *         *       *     *      *        *

                             DECLARATION OF DESIRE EVANS
I, Desire Evans, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury that the following

is true and correct:

        1.      I first encountered Oluwafemi Igberase, whom I knew as “Dr. Charles Akoda,” at

Prince George's Hospital Center in Chevery, Maryland, for the delivery of my child in March of

2016.

        2.      Igberase’s treatm ent   of me involved physical contact, including pelvic

examinations, and the delivery of my child by c-section. Igberase additionally engaged in

touching that made me feel uncomfortable at the time of my medical care, including the fondling

of my clitoris, which he indicated would assist in my delivery. As this was my first experience

having a baby, I trusted that his explanation for his conduct was medically valid.

        3.      Throughout all procedures and examinations performed by Igberase, I believed

that he had received all appropriate and necessary medical training and was practicing obstetrics

and gynecology as a duly licensed and credentialed physician. I trusted the organizations




                                                 1 of 2

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responsible for verifying the credentials of physicians when I agreed to submit to medical care

from him.

       4.       I first learned   that the man     I knew   as “Dr. Akoda” had used a fraudulent identity


and had not taken the appropriate steps to engage in the practice of medicine, in 2018.

       5.       Upon learning that the man I trusted to perform obstetric examinations and

surgical procedures on me had engaged in this fraud, I experienced severe emotional distress.

After learning this information, I experienced feelings of nausea, disgust, depression, sadness,

sleepless nights reflecting on Akoda s conduct, stress and anxiety, crying, impacts on my
                                  Ge      9   99




intimate relationship with my spouse, and nervousness. These symptoms were most serious in

the first two years after I learned about Igberase s conduct, but many of these symptoms continue

today. In particular, I continue to have depression, anxiety and trust issues relating to doctors, as

well as intimacy issues with my husband.

       6.       I entrusted the man I knew as “Akoda” with my life and the life of my child. Had

I understood   that the man I knew to be “Akoda” had engaged 1n identity fraud, and had not gone


through the appropriate process to become credentialed as a physician, including by not

submitting valid proof of having attended medical school, I would never have agreed to submit

to medical and surgical treatment by him. His physical contact with me, including the

performance of a c-section, was obtained without my consent and through fraud.




I declare under the penalties of perjury of the laws of the United States of America that the

foregoing is true and correct.



        1/12/2022
 Date: _______________________                              By:
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                                                                   _______________________
                                                                   Desire Evans
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                                 John C. Hyde, Ph.D., FACHE
                                   Health Care Consultant
                                    4301 Highway 35 North
                                      Forest, MS 39074


September 23, 2019


Ms. Karen E. Evans
The Cochran Firm
Attorneys at Law
110 New York Ave., NW
Suite 340, West Tower
Washington, DC 20005


Dear Ms. Evans

        This opinion has been prepared in regards to the matter of: Russell, et al v. Educational
Commission for Foreign Medical Graduates, Case No. 2:18-cv-05629-JW. Currently, I am an
adjunct Professor of Healthcare Administration at the George Washington University teaching
healthcare management at the graduate level on a part-time basis; and, a full-time consultant in
the field of healthcare administration. Recently, I retired as a full-time university Professor of
health services administration and clinical outcomes research within an academic medical center
campus; with former appointments in the School of Health Related Professions and the School of
Medicine at the University of Mississippi Medical Center; and, in the School of Business at the
University of Mississippi. My academic activities involved: teaching graduate-level students in
areas of healthcare management; conducting health services research focusing on management
and clinical outcomes analysis; and, providing expertise and consultations to the healthcare
community at large. I have taught graduate level healthcare administration/outcome classes for
the past 28+ years. My doctorate, master, and bachelor degrees are all in the area of healthcare
administration. I have presented research findings at the regional, national and international
levels and published articles, books and monographs related to various areas of healthcare
delivery. I have provided lectures and addresses to international, national and regional audiences
in areas of healthcare administration.

        Additionally, I have approximately 10 years’ experience as a practicing healthcare
administrator and multi-system executive with specific knowledge and expertise in the areas of
physician credentialing/privileging, credential verification organizations, primary source
verification, regulators, and overall healthcare management procedures. I am board-certified as a
Certified Healthcare Executive (FACHE- Fellow) by the American College of Healthcare
Executives in the specialty of health care administration.

       Attached is my Curriculum Vitae which includes a list of all publications I have authored,
including those dealing with the credentialing process.




John C. Hyde, Ph.D. Page 1 of 8      9/19/2019
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       In the preparation of this preliminary opinion, I have examined the documents and
information listed below and based my opinions on my professional knowledge of prevailing and
prudent standards of healthcare administration which ultimately require an exercise of reasonable
application of the process of Credentials Verification and use of Primary Sources:


DOCUMENTS/INFORMATION REVIEWED:

Documents Received from Howard University
Documents Received from ECFMG
Documents Received from ABOG Production
ECFMG Information Booklet, ECFMG Certification and Application, 1996
Complaint
Virginia Department of Health Professions Order of Mandatory Suspension re Charles Akoda,
MD (2017)
Maryland State Board of Physicians Final Decision and Order re Charles Akoda, MD (2017)
Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)
ECFMG Complaint
Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)
Hallock JA & Kostis JB (2006). Celebrating 50 Years of Experience: An ECFMG
Perspective, Academic Medicine, 81(12): S7-S16.
Hospital Accreditation Standards, The Joint Commission, 2008.
American Medical Association: Joint Commission acceptance of AMA Physician Masterfile
Data, 2004.
Credentialing by Medicare Advantage Organizations, presented by E. Enriquez, Nurse
Consultant, CMS Region II,

Depositions Reviewed:

Deposition of William C. Kelly, ECFMG with Exhibits (8/20/19)
Deposition of Stephen Seeling, JD, Vice President of Operations, ECFMG (9/16/19)
Deposition of Kara Corado, JD, Current VP of Operations ECFMG (9/10/19)


       Based upon a review of these identified documents/information, coupled with my
knowledge, training, education, experience and understanding of the practice of healthcare
management, I have formulated the following opinions in this matter. These opinions have been
based on regulations and industry standards that guide, and should guide the operations of a
credentialing verification organization (CVO), such as Educational Commission for Foreign
Medical Graduates (ECFMG).


SUMMARY OF EVENTS

1. ECFMG received two applications from John Nosa Akoda to take Steps 1 and 2 of the
USMLE examinations. The first on January 3, 1996, and again on August 30, 1996.




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2. After he successfully completed the required examinations, ECFMG issued certificate
number 0-553-258-5 to “Dr.”.Akoda. At some time in 1998, he provided ECFMG with social
security number xxx-xx- 9065.

3. Akoda entered the graduate residency program at Jersey Shore Medical Center on July 1,
1998. Shortly thereafter,, ECFMG received a Request for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due to his having entered this program.

4.    On September 2, 1998, ECFMG sent a validated form.

5.    About two years later, in 2000, ECFMG was notified that the Jersey Shore Medical Center
graduate residency program where Akoda was enrolled was investigating allegations that Akoda
had used a social security number issued to a person named Oluwafemi Charles Igberase.
ECFMG advised Jersey Shore Medical Center that Akoda had provided ECFMG with social
security no. xxx-xx-9065 which was the same number Akoda provided to Jersey Shore Medical
Center.

6. On August 22, 2000, ECFMG acknowledged in a letter to Akoda that it had received
information alleging that Akoda may have engaged in irregular behavior.

7. Thereafter ECFMG sent a letter to Akoda acknowledging receipt of information from Jersey
Shore to which Akoda responded by representing to ECFMG that Igberase Oluwafemi Charles
was his cousin and admitting that he had used his cousin’s social security number. As proof of
his identity, Akoda provided ECFMG with a Nigerian passport and a Nigerian “international
driving permit.”

8. Ultimately, Jersey Shore Medical Center dismissed Akoda from its graduate residency
program because he used a false social security number and because the green card he provided
to the hospital was inconsistent with the other green card he provided. The social security
number “Dr.”Akoda used belonged to Charles Igberase, “his cousin”.

9. In December of 2000, an employee of ECFMG, William Kelly, wrote a memo which he said
should NOT be made a part of the official file, to the VP of Operations at ECFMG, Stephen
Seeling. In that memo, Mr. Kelly advised Mr. Seeling that both he and Jersey Shore believed
Igberase and Akoda were the same person. Then, curiously, Mr. Kelly concluded that there was
not enough information for the ECFMG Credentials Committee.

10. Thereafter in October 2006, Akoda used the ERAS of ECFMG to apply to Howard
University Medical Center’s residency program. He provided three letters of reference. ECFMG
attempted to verify the authenticity of these three letters of reference but was unsuccessful. It is
not the usual practice of ECFMG to seek to verify the authenticity of letters of reference from its
applicants.

11. Akoda successfully completed a graduate residency program at Howard University
Medical Center, was licensed to practice medicine in Maryland and Virginia, and was granted
privileges at Prince Georges’ Hospital Center.




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12. To obtain a license to practice medicine in Maryland, Akoda was required to submit,
among other essential components, a valid ECFMG certificate.

13. However, ECFMG should never have issued an ECFMG certificate to Charles Nosa
Akoda.

14. At the time of Akoda was issued an ECFMG certificate, ECFMG knew or should have
known that Charles Nosa Akoda was the same person as Oluwafemi Charles Igberase (aka
multiple alias). ECFMG knew or should have known that Charles Nosa Akoda was the same
person as Oluwafemi Charles Igberase (aka multiple alias) and that he had: a) previously lied
about not taking the required examinations, b) rearranging his name, c) that he had been
dismissed from the Jersey Shore residency program he used a false social security number to
apply to the hospital ( his ‘cousin’ Charles Igberase) and used two green cards documenting
different numbers, names, expiration dates, and dates of birth for “Dr. Akoda and his
certification had been previously revoked; d) that his ECFMG certification had been previously
revoked; that there were irregularities regarding the authenticity of his medical school diplomas,
and references.

15. On June 1, 2016, U.S. Attorney’s office indicted Mr. Akoda for fraud and aggravated
identity theft, citing eleven aliases including Charles John Nosa Akoda.

16. Using search warrants, law enforcement officers searched the home of Mr. Akoda on June
9, 2016, and discovered false: passports, social security numbers (ending 1623 under John
Charles N. Akoda), Nigerian passport, and US visa in Akoda’s name. They also found other
fraudulent or altered documents relating to immigration, medical diplomas, medical transcripts,
letters of recommendation and birth certificates.

17. On October 19, 2016, Mr. Akoda was indicted again on a charge of social security fraud,
false statements regarding a healthcare matter, an additional count of identity theft and fraud as
well as misuse of an immigration document.

18. Mr. Akoda ultimately entered into a plea bargain agreement and pled guilty to social
security fraud on November 15, 2016.

19. In the spring of 2017, Mr. Akoda’s license to practice medicine in Virginia and Maryland
was revoked.


AREAS OF EXAMINATION/RESPONSES

       1. ECFMG Mission/Requirements
               Since 1974, the Educational Commission for Foreign Medical Graduates
       (ECFMG) has promoted to the American public their preeminent, and exclusive, role in
       assuring: “quality health care for the public by certifying international [foreign]
       medical graduates for entry into U.S. graduate medical education, and by participating
       in the evaluation and certification of other physicians and health care professionals”.
       As such, this organization serves as the de facto credentials verification organization for



John C. Hyde, Ph.D. Page 4 of 8       9/19/2019
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      international [formerly foreign] medical graduates through primary source certification of
      the applicant’s international medical education, international training, and successful
      completion of the United States Medical Licensure Examination (USMLE)- steps 1 and 2
      and English proficiency; through administration of the testing process and subsequent
      applicant certification to graduate medical education sites for potential placement in
      postgraduate medical training programs--all of which is required for medical practice
      within the U.S.

              In 1986, the ECFMG Board required that the medical diplomas of all graduates
      applying for ECFMG Certification be primary source verified with the medical school
      that issued the diploma. This required the ECFMG to physically send a letter to the
      medical school that issued the diploma and for the issuing medical school “to attest to the
      veracity of the individual and the document being proffered”. This was required by
      ECFMG to ensure that all diplomas would undergo this scrutiny--obviously to validate
      the authenticity of the individual and their successful completion of medical school
      training, along with the issuing medical school.

              Fraudulent and misleading information submitted to the ECFMG is currently
      covered under its Policies and Procedures Regarding Irregular Behavior. This
      prescriptive set of policies and procedures defines and addresses what constitutes
      irregular behaviors. As stated, “Irregular behavior includes all actions or attempted
      actions of the part of applicants, potential applicants, others when solicited by an
      applicant and/or examinee, or any other person that would or could subvert the
      examination, certification or other processes, programs, or services of ECFMG . . .”.
      When confronted with irregular behavior, it is incumbent on ECFMG to properly and
      thoroughly investigated, analyze and address such behaviors. Without proper resolution
      of the issues, ECFMG cannot fulfill its mission to the public mandating an
      international/foreign medical school graduate that possess all the requisite qualifications
      to pursue U.S. medical practice.


      2. Duties of Credentials Verification Organizations

              A healthcare CVO (credentials verification organization) as the name implies
      provides assurances to those entities that utilize their findings in making decisions on
      granting medical training program enrollment, licensure and ultimately medical practice
      privileges. In the late 1980’s, JCAHO (former name of current, The Joint Commission)
      published conditions under which a CVO could be used by a hospital. According to the
      Joint Commission, a CVO is “Any organization that provides information on an
      individual’s professional credentials. An organization that bases a decision in part on
      information obtained from a CVO should have confidence in the completeness,
      accuracy and timeliness of information”. Additionally, other CVOs within the
      healthcare industry such as the American Medical Association Physician Masterfile and
      Federation of State Medical Boards, among others, provide information that maintains
      these same criteria and likewise is based on primary source verification concerning vital
      information such as the issues of this matter. The National Committee for Quality
      Assurance (NCQA) has formalized and certifies CVOs. At the present time, there are



John C. Hyde, Ph.D. Page 5 of 8     9/19/2019
                                                                                          JA4257
      Case:
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                               Document  83-72368
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      over 90 CVOs that have gained NCQA CVO Certification. Under prevailing CVO
      requirements, a CVO must assure the accuracy and completeness of the information that
      is provided. From a primary source perspective, foreign medical school education must
      be from the primary source.

          The Centers for Medicare and Medicaid Services (CMS), has specified that primary
      source verification is required for: licensure, education and board certification (if
      applicable) in granting Medicare Advantage participation. They defined primary source
      as: “an organization or entity with legal responsibility for originating a document and
      ensuring the accuracy of the information it conveys”.

          As such, this concept of primary source verification entails that the CVO, in this case
      ECFMG, must be assured that the applicant does in fact possess a valid and authentic
      medical degree and other identification and credentials must undertake all efforts to make
      this assurance before certifying the applicant to further U.S. training, or medical
      licensure.

      3. Professional/Organizational Negligence

              As developed above, the administrative standards for credentialing IMGs
      allowing for participation in the ECFMG program requires ECFMG to follow their
      mission and fulfill its duty to patients in that their actions will serve to assure all foreign
      educated physicians are properly and thoroughly investigated and deemed eligible for
      ECFMG Certification to pursue U.S. postgraduate medical education. Without this
      certification, there should never be an individual allowed to participate in such a
      program; and, therefore, there would never be fraudulent IMG physicians that progressed
      through ECFMG to practice U.S. medicine.


      ECFMG failed to act in a reasonable and prudent manner in the following ways:

      A.       As a fundamental matter, ECFMG was required to develop or adopt written
      policies and procedures and checklist for the certification of IMGs. Written policies and
      procedures for the investigation of allegations of irregular behavior would ensure
      reasonable and consistent application of defined criteria.
      B.       ECFMG failed to investigate obvious discrepancies that raised the question of
      fraud and the identity of the applicant. For example, ECFMG failed to investigate the
      differences in the name on Akoda’s medical school diploma and the name on his
      applications submitted to ECFMG; the relationship between Igberase and Akoda, to name
      a few.
      C.       ECFMG failed to follow through on its suspicions about the authenticity of the
      letters of recommendations.

      D.      Curiously, ECFMG failed to adequately and with reasonable diligence investigate
      the allegations made by Dr. McCorkel and refer Akoda to the Medical Education
      Credentials Committee.




John C. Hyde, Ph.D. Page 6 of 8      9/19/2019
                                                                                            JA4258
       Case:
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       E.       ECFMG did not even follow its own procedures as noted in the 8/22/2000 charge
       letter sent to Akoda.

       F.     ECFMG failed to investigate the social security number provided to ECFMG by
       Akoda.

       G.      ECFMG obtained photographs of all applicants yet failed to compare photographs
       of Igberase and Akoda in its files when they had suspicions that they might be the same
       person.

       H.     ECFMG missed a golden opportunity to discover if Akoda and Igberase( aka
       multiple alias) were the same person.

       I.     ECFMG also failed to determine the authenticity of the passport and green card
       provided to Mr. Kelly by Akoda on 9/27/2000.

       J.    ECFMG failed to follow up on its conclusion that Igberase and Akoda were the
       same person even though a memo with this conclusion was created by ECFMG employee
       Mr. Kelly.

       K.      Instead, ECFMG negligently chose to bury this information in a memo that was
       not to be placed in the file.

        It is my opinion, with a reasonable degree of professional certainty, ECFMG should have
written policies and procedures for the certification of IMG should have included requirements
that ECFMG investigate fully the differences in the name on Akoda’s medical school diploma
and the name on his applications and the other obvious discrepancies in the applications.

        In my opinion, with a reasonable degree of professional certainty, an appropriate
investigation would have resulted in referral of this matter to the ECFMG medical education
credentials committee. An appropriate and reasonable investigation of the allegations and
obvious discrepancies in the applications should have been conducted by ECFMG, and this
matter should have been referred to the Medical Education Credentials Committee. This
committee should have then found that Akoda engaged in irregular behavior, which should have
then resulted in his certification being revoked.

        With a high degree of professional certainty, it is my opinion that the above breaches of
duties, by ECFMG caused Akoda to be certified by ECFMG, which allowed him to be accepted
into a residency, secure a medical license in MD and gain access to and directly cause harm the
plaintiffs and the members of the class. These actions and omissions were violations of the
Standards of Care. Without the negligent ECFMG certification, Akoda would not have been
accepted into a residency at Howard University Hospital; he would not have obtained a
Maryland license; and he would not have been granted privileges at PG Hospital to care for
Plaintiff and members of the class.

       I reserve the right to alter, supplement or reverse these opinions should additional
information be forthcoming.



John C. Hyde, Ph.D. Page 7 of 8       9/19/2019
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                                Document  83-72370
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       Attached is my Rule 26 case list.

          I am billing my time for review and preparation of my report at $ 375per hour and my
time for deposition at $ 1,425 for a three (3) hour deposition and $ 3,750 for one day of trial, plus
travel, meals, and lodging expenses.

Respectfully,


John C. Hyde
John C. Hyde, Ph.D., FACHE




John C. Hyde, Ph.D. Page 8 of 8       9/19/2019
                                                                                            JA4260
Case: 22-1998 Document:Document
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               Exhibit 37




                                                                  JA4261
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                   Jerry Williamson, M.D., F.A.A.P., M.J., CHC., LHRM

                   24 Falconwood Court Fort Myers, Florida 33919



        Expert Report: Jerry Williamson M.D. FAAP. MJ.CHC.LHRM

    September 22, 2019

    Re: Monique Russell, Jasmine Riggins, Elsa Powell, Desire Evans v. Educational Commission
    for Foreign Medical Graduates

    The following report is supported by over 40 years of both formal education and experience as
    a physician and administrator. My formal education accomplishments include my degree as a
    Doctor of Medicine, my master's in healthcare jurisprudence, and certifications in healthcare
    compliance and risk management. I have practiced clinical medicine in my specialty, pediatrics,
    in which I am Board Certified.

    I have held administrative positions as a Chief Medical Officer, Medical Director, and Vice
    President for Medical Affairs in both the ambulatory and inpatient settings. In these positions I
    served on and chaired credentialing committees. Based on my experience in these roles, I
    became knowledgeable concerning the primary source credentialing process of the ECFMG, as
    it applies to the standard of care. In 2005, as CMO and Director of the Biomedical Informatics
    Program, I directed the implementation of an EMR for an FQHC, assisting in the development of
    policies and procedures. During this period, I was Co-Medical Director of the Community Health
    Center Alliance Electronic Medical Record Clinical Committee. This committee assisted other
    organizations in their development and implementation of EM R's. I also served as a Meaningful
    Use Clinician Champion to The Center for the Advancement of Health Information Technology,
    a Regional Extension Center in Florida.

    I have been a national speaker for the past 25 years, with a focus on patient safety,
    communication inadequacies in health care, and the prevention of medical errors. My roles
    have included Clinical Instructor in the Department of Pediatrics, University of South Florida
    College of Medicine, Clinical Assistant Professor in the Department of Pediatrics at NOVA
    Southeastern University, College of Osteopathic Medicine, Clinical Associate Professor of
    Physician Assistant Sciences, College of Allied Health, NOVA Southeastern University, Clinical
    Assistant Professor of Pediatrics, and Clinical Clerkship Training Coordinator at The Florida State
    University College of Medicine, and Clinical Assistant Professor at the Florida State University
    College of Medicine, Department of Clinical Sciences, Family Medicine Residency Program. In
    2012, I was the Recipient of the "Heroes in Healthcare Award" for Administrative Excellence in
    Healthcare, from the Naples Daily News.




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I had the opportunity to review the following documents that were provided to me from the
law firm Janet, Janet & Suggs:

    •     Kara Corrado, 09/10/2019 Deposition Transcript with Exhibits 1-9
    •     William C. Kelly 08/20/2019 Deposition Transcript with Exhibits 1-53
    •     Class Action Civil Complaint and Exhibits
    •    Stephen S. Seeling 09/06/2019 Deposition
    •    Timeline of Events
    •     1996 Information Booklet ECGMG
    •    Answer to Class Action Civil Complaint and Affirmative Defenses
    •     Defendant's Objections and Responses to Plaintiffs' Requests for Admissions of Facts
         and Genuineness of Documents
    •     Defendant's Objections and Responses to Plaintiffs' Second Requests for Admissions of
         Genuineness of Documents
    •     USMLE Letter (02-05-18); ECFMG Credentials Committee Document (11-30-16); U.S. DOJ
          Plea Agreement with Attachment A-Stipulated Facts; ECFMG Irregularity Report (09-
          1992) and Sanctions Update (11-30-16); ECFMG Press Release re: Launching Electronic
         Verification of Medical Credentials
    •    ECFMG emails



Summary of Facts:
    1.   Credentialing of healthcare practitioners is a screening process verifying that a
         physician is who he/she claims to be, and qualified to practice his or her profession. The
         process ensures that physicians have the education, knowledge, and competence to
         provide quality patient care. This is accomplished by obtaining the physician's essential
         information using primary source verification, to determine the accuracy of a
         qualification or documents reported by a physician. If the process fails for whatever
         reason, patient safety and quality is compromised, and patient harm may result. Primary
         source can be accomplished via direct correspondence, telephone and computer
         verification, and reports from credentials verification organizations. Credentialing
         organizations must be aware of any red flags, and immediately investigate them to
         avoid serious consequences.


    2. The Educational Commission for Foreign Medical Graduates (ECFMG) is an organization
         that credentials international medical graduates for residency opportunities in the
         United States providing they have met all the requirements. This includes verifying


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          successful completion of medical school, and passing standardized examinations
          administered by the United States Medical Licensing Examination {USM LE), a Clinical
          skills Assessment Examination, and an English Test to determine competency in English.


    3.    Utilizing primary source verification, ECFMG documents the authenticity of the
          applicant's diploma, the medical school transcript, and any letters of recommendation.
          Once this process is successfully completed, ECFMG will provide the applicant a
          certificate of completion. Once the applicant begins applying to residency programs,
          ECFMG acts as "the deans office" {See Deposition William Kelly) and provides the
          residency program with a status report.


    4.    In 1991, Olufafemi Charles lgberase came to the U.S. from Nigeria, and submitted an
          application to ECFMG for certification. Over the next several years he used false
          identities, false social security numbers, false birthdates, false diplomas, and a false
          passport to obtain ECFMG certification.


    5.    In 1996, a third application was submitted by lgberase to ECFMG under the alias of John
          Charles Akoda. His application was accepted, so in 1998 after receiving ECFMG
          Certification, he applied for a residency position at Jersey Shore Medical Center (JSMC)
          and was accepted under the name John Charles Akoda and began his residency in July
          1998.


    6.    During an on-site meeting in September 2000 at ECFMG's office, Akoda admitted to
          William Kelly, Manager of the Medical Education Credential Department at ECFMG, that
          he used lgberase's social security number. Approximately three months later, JSMC
          advised ECFMG that Akoda was dismissed from their residency program for using a false
          social security number and false green card.


    7.    In 2006 lgberase applied and secured a residency at Howard University Hospital under
          the Akoda alias, using a false social security number. He completed his residency at
          Howard Hospital in 2011, and he applied for a Maryland license using the name Charles
          John Nosa Akoda. The information provided to the Maryland Licensing Board included a
          fake social security number, and fake passport.


    8.    In 2011 he became a staff member at Prince George's Hospital Center and began patient
          care in November 2011 under this fraudulent identity. The following year he was denied
          enrollment in The Center for Medicare and Medicaid Services (CMS) due to submitting
          an inaccurate social security number. While using the Akoda name, he practiced
          obstetrics and gynecology from 2008 through 2016. This included a private practice
          setting as well as employment with Dimensions Healthcare Associates.


3



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    9.    In June 2016, law enforcement conducted a search at lgberase's residence, medical
          office, and vehicle. They found a variety of fraudulent and altered documents. In
          November 2016, he signed a plea agreement admitting to misuse of a social security
          number.


    10. The following month ECFMG revoked Akoda's certification. In March 2017, he was
          sentenced by the U.S. District Court for the District of Maryland. This resulted in the
          termination of his staff privileges at Prince George's Hospital, and the revocation of his
          Maryland license based upon his felony conviction.


    11. The current class action lawsuit is based on allegations that lgberase performed
          inappropriate physical examinations of a sexual nature on women, creating boundary
          violations.
    12. The key question that must be resolved is whether ECFMG's actions or failure to act
          resulted in foreseeable injuries or damages to Class Members.


    Analysis of Facts and Opinion:


    1.    ECFMG in its Subject Notice #101 dated March 1, 2017-lrregular Behavior Cases and
          Associated Actions & Sanctions states the following:
         The educational Commission for Foreign Medical Graduates (ECFMG) of the United
         States works on behalf of domestic and International medical regulatory authorities to
         protect the public through its programs and services, including primary source
         verification of physician credentials. ECFMG considers all actions or attempted actions
         taken to subvert its processes, programs, or services to be Irregular behavior.

    2. The 1996 ECFMG Certification and Application Information Booklet addresses the issue
       of Irregular Behavior. It states that: Irregular behavior includes all actions on the part of
       applicants and/ or examinees, or by others when solicited by an applicant and/or
       examinee, that subvert or attempt to subvert the examination process. It describes
       specific examples of irregular behavior and includes falsifying information on application
       or registration forms; This booklet is provided to all the applicants seeking ECFMG and
         USLME certification.


    3. Accrediting organizations such as the Joint Commission has stated the following:
         The Joint Commission, the organization that evaluates and accredits U.S. health care
         organizations and programs, has determined that direct verification with ECFMG of a
         physician's certification status satisfies The Joint Commission's requirement for primary-
         source verification of medical school completion for graduates of international medical
         schools. ECFMG's Certification Verification Service (CVS} provides this primary-source
         confirmation of an individual's ECFMG certification status to medical licensing

4



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         authorities, residency programs, hospitals, or other organizations that, in the judgment
         of ECFMG, have a legitimate interest in such information.

    4. There are several regulatory organizations including the Maryland Board of Physicians
         and numerous hospitals including Howard University Hospital and Prince George's
         Hospital Center that rely and trust the judgements of the ECFMG. Therefore, in this
         case, ECFMG owed a duty to the residency programs and the state licensing agencies to
         comprehensively review an application for certification. When ECFMG learned that
         lgberase was using a false social security number, and he admitted to doing so, it was
         imperative that they act as a prudent credentialing organization and comprehensively
         investigate this physician's background ..


    5.   ECFMG had a duty to determine whether the documents provided by lgberase and his
         aliases strongly suggested that lgberase and Akoda was one in the same individual.
         ECFMG breached that duty by failing to learn and appropriately act on that information.


    6. There were several opportunities for ECFMG to intercede, still they breached the
         standard of care in the following ways:


         a.   When lgberase had a face to face meeting at ECFMG in September 2000 and
              provided a false passport. ECFMG failed to authenticate the document.


         b.   ECFMG failed to act when they learned that he misused his social security number.


         c.   ECFMG neglected to compare the photographs in lgberase and Akoda's application.
              That would have confirmed they were the same person.


         d.   ECFMG requested confirmation to authenticate three alleged letters of reference
              provided by Akoda, and the parties never returned a response. Nonetheless, ECFMG
              provided primary source verification to Howard University Hospital.


         e.   ECFMG provided primary source verification to the Maryland Board of Physicians
              and Prince George's County Hospital without notifying them of their doubts
              surrounding Akoda's identity and credentials.


    7. The December 22, 2000 Memorandum for the file From William Kelly to Stephen Seeling
         J.D. is difficult to comprehend. It was created as a memorandum for the file since
         William Kelly believed it should not be part of the official file. The memorandum was
         based on his discussion with James McCorkel M.D., Vice President for Academic Affairs,
         at the Jersey Shore Medical Center Residency Program. Dr. McCorkel believed lgberase
         and Akoda were one an the same person. Mr. Kelly confirmed he believed this as well

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          but stated in the Memorandum that he does not believe there is enough information for
          the Credentials Committee. He goes on to say / sent /gberase an email and who should
          reply, but Akoda !


    8. As stated previously, ECFMG has many organizations that rely on their information and
          trust they are receiving accurate information when making decisions based on the
          information they receive from ECFMG. Not including critical information in the official
          file, places these organizations at a disadvantage. Another example of ECFMG's failure
          to act in a reasonable and prudent manner.



    9.    By not being more assertive in their investigation in this matter, and not escalating their
          concerns to their Credentialing Committee, ECFMG certified Acoda and assisted him in
          his acceptance to the Howard University residency program. Additionally, this permitted
          him to obtain a Maryland License to practice medicine and obtain privileges at Prince
          George's Hospital. Unfortunately, ECFMG's failure to act in a reasonable and prudent
          way permitted Acoda to practice medicine and increase the risk of harm to the plaintiffs
          in this class action lawsuit, and perhaps others.


    10. It was not until December 2016 when ECFMG revoked Akoda's certificate {0-482-700-2}
          based upon his plea agreement with United States, citing the same conduct lgberase
          had admitted to in 2000. ECFMG's failure to properly investigate the matter, directly
          resulted in foreseeable injuries to lgberase/Akoda's patients.

                                                                              op
    11. ECFMG had a duty to its aforementioned clients, including medical licensing authorities,
         residency programs, hospitals, and others. However, ECFMG's failure to act in a
         reasonable and prudent manner directly impacted patient safety. Patients have a right
         to receive medical treatment from physician's who have obtained ECFMG certification
         legitimately, not through falsities and misrepresentations.




Conclusion:

There were several missed opportunities to address the many irregularities in the
lgberase/Acoda applications. Unfortunately, these missed opportunities, permitted this
unqualified individual with multiple fraudulent identities to practice medicine for years. ECFMG
breached its duty to its aforementioned clients, including medical licensing authorities,
residency programs, hospitals, and others. Additionally, ECFMG's failure to act in a reasonable
and prudent manner directly impacted patient safety.



6



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Disclaimer:

My conclusions are based on the information that I was able to review, that was provided to
date, and I reserve the right to change my opinions based on any additional information that I
receive.



Respectfully,



  ryW    iath son M.D.   FMP,MJ,CHC, LHRM




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Jerry Williamson, M.D., F.A.A.P., M.J., CHC


ADDENDUM: AS OF NOVEMBER 21, 2019
After submitting my expert report that included the documents, I reviewed
pursuant to Rule 26, there were additional documents reviewed. The following list
represents the additional documents I received and reviewed from legal counsel at
Janet, Janet, and Suggs.

   •   Deposition of David Markenson Expert-Taken October 22, 2019.
   •   Deposition of Elsa Powell Plaintiff- Taken September 6, 2019
   •   Deposition of Desire Evans Plaintiff-Taken September 5, 2019
   •   Deposition of Jasmine Riggins Plaintiff-Taken September 12, 2019
   •   Deposition of Monique Russell- Taken September 16, 2019
   •   Expert Report, David Markenson M.D.-September 19, 2019
   •   Expert Report, Christiane Tellefsen M.D.-September 20, 2019
   •   Expert Report, John C. Hyde Ph.D-September 23, 2019
   •   Expert Report, Annie Steinberg M.D.-September 23, 2019
   •   Expert Report, Richard L. Luciani M.D.-
   •   Expert Report, Douglas R. Phillips M.D.-October 11, 2019
   •   Expert Report, Jonathan H. Burroughs M.D.-September 21, 2019
   •   ECFMG-lrregularity Report-September 22,23 1992



Reviewing the aforementioned documents did not change my opinion in any
material way. My conclusions have not changed.



Jerry Williamson M.D.




                                                                      EXHIBIT            /()
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                                                                      ANGELA M. COKER, COURT REPORTER
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused the foregoing document to be electronically

filed and served upon all counsel of record by electronic filing. This document is available for

viewing and downloading from the Court’s ECF system.



Dated: 1/14/2022                                     /s/ Robin S. Weiss
                                                     Robin S. Weiss




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       Case:
        Case22-1998   Document: 22-5
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,                  :
ELSA M. POWELL AND DESIRE EVANS,                   :
                                                   :       Case No. 2:18-cv-05629-JDW
               Plaintiffs                          :
                                                   :       Hon. Joshua D. Wolson
       v.                                          :
                                                   :
EDUCATIONAL COMMISSION FOR                         :
FOREIGN MEDICAL GRADUATES,                         :
                                                   :
               Defendant.                          :
                                                   :

   PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION TO
  EXCLUDE THE OPINIONS AND ANTICIPATED TESTIMONY OF PLAINTIFFS’
      EXPERTS DR. DAVID MARKENSON, DR. JOHN CHARLES HYDE,
                    AND DR. JERRY WILLIAMSON


       For the reasons set forth in the attached Memorandum of Law, Plaintiffs, by and through

their undersigned counsel, oppose Defendant’s Motion to Exclude the Opinions and Anticipated

Testimony of Plaintiffs’ Experts Dr. David Markenson, Dr. John Charles Hyde, and Dr. Jerry

Williamson, and respectfully request that the Motion be denied.



Dated: January 14, 2022                            Respectfully Submitted,



 JANET, JANET & SUGGS, LLC                       CONRAD O’BRIEN PC

 /s/ Patrick Thronson                            /s/ Robin S. Weiss
   Patrick A. Thronson                             Nicholas M. Centrella (Pa. ID 67666)
   Brenda A. Harkavy                               Robin S. Weiss (Pa. ID 312071)
   4 Reservoir Circle, Suite 200                   1500 Market Street, Suite 3900
   Baltimore, MD 21208                             Philadelphia, PA 19102-2100
   (410) 653-3200                                  (215) 864-9600




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     Case:
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,         :
ELSA M. POWELL AND DESIRE EVANS,          :
                                          :     Case No. 2:18-cv-05629-JDW
           Plaintiffs                     :
                                          :     Hon. Joshua D. Wolson
     v.                                   :
                                          :
EDUCATIONAL COMMISSION FOR                :
FOREIGN MEDICAL GRADUATES,                :
                                          :
           Defendant.                     :
                                          :

    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ RESPONSE IN
  OPPOSITION TO DEFENDANT’S MOTION TO EXCLUDE THE OPINIONS AND
ANTICIPATED TESTIMONY OF PLAINTIFFS’ EXPERTS DR. DAVID MARKENSON,
         DR. JOHN CHARLES HYDE, AND DR. JERRY WILLIAMSON




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I.     INTRODUCTION

       This action arises from allegations that Defendant, Educational Commission for Foreign

Medical Graduates (“ECFMG”), negligently investigated and certified Oluwafemi Charles

Igberase (“Igberase”), a/k/a John Nosa Akoda (among other aliases), as eligible to enter a

residency program, and negligently failed to revoke that certification, notwithstanding

compelling evidence that Igberase had committed extensive fraud as to his identity and

credentials. ECFMG knew of Igberase’s fraud but failed to appropriately investigate and respond

to it. ECFMG failed to inform state medical boards, residency programs and hospitals of

Igberase’s fraud, even as it attested that Igberase held a valid ECFMG certification.

       As a result of ECFMG’s negligence, Igberase had the opportunity to perform gynecologic

examinations of the Plaintiffs which constituted unconsented touching, purportedly for the

purpose of medical treatment, and complex medical surgeries, including the delivery of

Plaintiffs’ children through vaginal or cesarean delivery under his “Akoda” alias. Absent

ECFMG’s negligence, Igberase would never have been able to practice medicine in the United

States and would have never performed obstetric and gynecologic procedures on the Plaintiffs.

       Simultaneously with filing a Motion for Summary Judgment (ECF No. 81), ECFMG filed

a Motion to Exclude the Opinions and Anticipated Testimony of Plaintiffs’ Experts Dr. David

Markenson, Dr. John Charles Hyde, and Dr. Jerry Williamson (“the Motion” or “Motion to

Exclude”) (ECF No. 83). For the reasons described herein, the Motion should be denied.

II.    FACTUAL BACKGROUND

       Plaintiffs have submitted the reports of three (3) experts who opine that ECFMG

breached the standard of care: Dr. David Markenson, Dr. John Charles Hyde, and Dr. Jerry

Williamson. Dr. Markenson’s expert report and curriculum vitae are attached hereto as Exhibits




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1 and 2, respectively. Relevant portions of Dr. Markenson’s deposition testimony are attached

hereto as Exhibit 3. Dr. Hyde’s expert report and curriculum vitae are attached hereto as Exhibits

4 and 5, respectively. Relevant portions of Dr. Hyde’s deposition testimony are attached hereto

as Exhibit 6. Dr. Williamson’s expert reports and curriculum vitae are attached hereto as

Exhibits 7 and 8, respectively. Relevant portions of Dr. Williamson’s deposition testimony are

attached hereto as Exhibit 9.

       These experts are appropriately qualified to testify as to the applicable standard of care,

and ECFMG’s breach of that standard. Further, the opinions set forth in their reports do not

constitute impermissible legal conclusions, and the information and methodologies they relied

upon in formulating their opinions are sufficiently reliable. Finally, their opinions and testimony

will be helpful to the trier of fact. In summary, as set forth in detail below, these experts have

satisfied the standards set forth in Federal Rules of Evidence 702 and 703 and Daubert v. Merrell

Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). There is no basis for excluding these experts’

opinions and testimony.

III.   STANDARD OF REVIEW

       Courts have wide discretion in determining whether to admit or exclude expert testimony.

Pineda v. Ford Motor Co., 520 F.3d 237, 243 (3d Cir. 2008).

       Federal Rule of Evidence 702 provides:

       A witness who is qualified as an expert by knowledge, skill, experience, training,
       or education may testify in the form of an opinion or otherwise if:

       (a) the expert's scientific, technical, or other specialized knowledge will help the
           trier of fact to understand the evidence or to determine a fact in issue;
       (b) the testimony is based on sufficient facts or data;
       (c) the testimony is the product of reliable principles and methods; and
       (d) the expert has reliably applied the principles and methods to the facts of the
           case.



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Fed. R. Evid. 702. The Advisory Committee Notes to Rule 702 state:

       For this kind of generalized testimony, Rule 702 simply requires that: (1) the expert
       be qualified; (2) the testimony address a subject matter on which the factfinder can
       be assisted by an expert; (3) the testimony be reliable; and (4) the testimony “fit”
       the facts of the case.

Fed. R. Evid. 702, Advisory Committee Notes, 2000 Amendments.

       Courts have held that Rule 702 imposes three predicates to admitting expert testimony, as

recognized by the Supreme Court in Daubert, 509 U.S. 579: qualifications, reliability (including

helpfulness) and fit. Schneider ex rel. Est of Schneider v. Fried, 320 F.3d 396, 404 (3d Cir. 2003)

(citing In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 741-43 (3d Cir. 1994)). These operate

under the “strong and undeniable preference” for admitting any evidence which may potentially

assist the trier of fact. Kannankeril v. Terminix Int’l, Inc., 128 F.3d 802, 806 (3d Cir. 1997), as

amended (Dec. 12, 1997). Rule 702 has a “liberal policy of admissibility.” Pineda, 520 F.3d at

244.

       Rule 703 of the Federal Rules of Evidence provides:

       An expert may base an opinion on facts or data in the case that the expert has been
       made aware of or personally observed. If experts in the particular field would
       reasonably rely on those kinds of facts or data in forming an opinion on the subject,
       they need not be admissible for the opinion to be admitted. But if the facts or data
       would otherwise be inadmissible, the proponent of the opinion may disclose them
       to the jury only if their probative value in helping the jury evaluate the opinion
       substantially outweighs their prejudicial effect.

Fed. R. Evid. 703.

       Rule 704 of the Federal Rules of Evidence provides:

       (a) In General--Not Automatically Objectionable. An opinion is not
           objectionable just because it embraces an ultimate issue.

       (b) Exception. In a criminal case, an expert witness must not state an opinion
           about whether the defendant did or did not have a mental state or condition
           that constitutes an element of the crime charged or of a defense. Those matters
           are for the trier of fact alone.

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Fed R. Evid. 704. Pursuant to Rule 704, expert opinion testimony is not objectionable merely

because it embraces an ultimate issue to be decided. Quagliarello v. Dewees, 802 F. Supp. 2d

620, 623-24 (E.D. Pa. 2001) (citing United States v. Roman, 121 F.3d 136, 141 (3d Cir. 1997)).

However, the testimony can be excluded if it is not otherwise admissible. Quagliarello, 802 F.

Supp. 2d at 624. (citing Fed. R. Evid. 704 (a)). “As the Rules Advisory Committee explained,

‘[t]he abolition of the ultimate issue rule does not lower the bars so as to admit all opinions,’

because the expert testimony must be helpful to the trier of fact and not waste time pursuant to

Rules 701, 702 and 403.’” Id. (citing Fed. R. Evid. 704 advisory committee note).

       Finally, Federal Rule of Evidence 403 provides that“[t]he court may exclude relevant

evidence if its probative value is substantially outweighed by a danger of . . . unfair prejudice,

confusing the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

cumulative evidence”.

       As discussed in further detail below, none of these standards justify excluding the

opinions and testimony of Drs. Markenson, Hyde and Williamson.

IV.    LEGAL ARGUMENT

       A. Defendant’s Motion to Exclude is Premature.

       Defendant does not mention Drs. Markenson, Hyde or Williamson in its Motion for

Summary Judgment (ECF No. 81), nor does the Motion for Summary Judgment reference

ECFMG’s Motion to Exclude (ECF No. 83). This Court’s Policies and Procedures provide that

“[i]f a party’s motion for summary judgment . . . is based in whole or in part on an argument that

expert testimony is not admissible, the party must raise such argument in a contemporaneous

Daubert motion.” Hon. Joshua D. Wolson, Policies and Procedures, § B.4, p. 7. Since

Defendant’s Motion for Summary Judgment in no way states or references that it is based on an

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argument that expert testimony is not admissible, the Motion to Exclude is premature and should

therefore be denied. Notwithstanding that the Motion is not ripe for determination, should the

Court consider the Motion on its merits, it should be denied on numerous grounds.

       B. Plaintiffs’ Experts Are Qualified.

       As set forth in further detail below, Plaintiff’s experts are qualified to offer opinions

regarding ECFMG’s conduct because they possess specialized knowledge, skills, training and

experience beyond that of the average layperson, which will assist the trier of fact in

understanding the evidence and determining facts at issue.

           i. Qualifications of Plaintiffs’ Individual Experts

                   a. Dr. David Markenson

       As his CV reflects, David Markenson, M.D. is board-certified by the American Board of

Pediatrics, the American Board of Preventive Medicine and the American Board of Emergency

Medicine. He is a Fellow of the American College of Healthcare Executives, a certified

Professional in Healthcare Quality and a Certified Physician Executive of the Certifying

Commission on Medical Management. He is also a Fellow or member of numerous professional

groups including, inter alia, the American Academy of Physicians, the American College of

Critical Care Medicine, the American College of Emergency Physicians, the American College

of Health Care Executives, and the American College of Physician Executives and the American

Medical Informatics Association. See Ex. 2.

       Dr. Markenson obtained his medical degree in 1994 from the Albert Einstein College of

Medicine. He did his internship and residency in Pediatrics at the New York University School

of Medicine. He completed two fellowships in Pediatric Emergency Medicine and Pediatric

Critical Care Medicine. Dr. Markenson also obtained a Master of Business Administration from



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the University of Massachusetts Isenberg School of Management, Amhurst in 2011. He has more

than 15 years health care experience as a physician executive with a publicly traded national

hospital corporation, large regional health system, academic medical center, medical school,

municipal hospitals and community hospitals. He has served on the CLER Evaluation

Committee of the Accreditation Counsel for Graduate Medical Education since 2018. Id.

       Dr. Markenson served as the designated institutional official for multiple hospitals while

Vice President of Graduate Medical Education (GME) for Hospital Corporation of America, in

which capacity he oversaw the processes, procedures and program directors and played a role in

hiring medical school graduates into residency programs. See Ex. 3 at 38-40. He continues to

serve on a national committee of ACGME that oversees their clear clinical learning environment

review program. Id. at 47. As Chief Medical Officer with Sky Ridge and his prior role with

Westchester Medical Center as Chief of Services, he is directly involved with hiring staff

physicians for his department. Id. at 65.

       Dr. Markenson is an expert in verifying and using medical school credentials. Id. at 111.

He also considers himself to be an expert on ECFMG’s or USMLE processes. Id. He considers

himself to be knowledgeable about what the standard would be for primary source verification

which is the function ECFMG holds itself out as performing for IMGs, and what a certification

body should do to memorialize their policies and procedures to assure it meets the necessary

standards. Id. at 211. Dr. Markenson’s experience includes working with hospitals for

certification of physicians’ credentials and privileges, with AGCME about residency certification

and with professional organizations for fellowship certification. Id. at 212.




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                   b. Dr. John Charles Hyde

       John C. Hyde, Ph.D., FACHE possesses significant professional knowledge and

experience relating to policies and procedures and prevailing and prudent standards of healthcare

administration and physician credentialing. As his CV reflects, Dr. Hyde is an adjunct Professor

of Healthcare Administration at the George Washington University, teaching healthcare

management at the graduate level on a part-time basis. He is also a full-time consultant in the

field of healthcare administration. Recently, he retired as a full-time university professor of

health services administration and clinical outcomes research within an academic medical center

campus, with former appointments in the School of Health-Related Professions and the School of

Medicine at the University of Mississippi Medical Center, as well as in the School of Business at

the University of Mississippi. His academic activities include teaching graduate-level students in

areas of healthcare management, conducting health services research focusing on management

and clinical outcomes analysis, and providing expertise and consultations to the healthcare

community at large. He has taught graduate level healthcare administration/outcome classes for

over 28 years. See Ex. 5.

       Dr. Hyde’s doctorate, master’s, and bachelor’s degrees are all in the field of healthcare

administration. He has presented research findings at the regional, national and international

levels, and published articles, books and monographs related to various areas of healthcare

delivery. He has provided lectures and addresses to international, national and regional audiences

in healthcare administration. His curriculum vitae includes a list of all publications he authored,

including those dealing with the credentialing process. Dr. Hyde is qualified to offer expert

opinions regarding ECFMG’s conduct. At his deposition, he testified as an expert regarding the

methods and principles for evaluation of the credentials of a physician. See Ex. 6 at 48-49.



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        While not a clinician, Dr. Hyde is Board-certified as a Certified Healthcare Executive

(FACHE Fellow) by American College of Healthcare Executives in the specialty of health care

administration. He also has approximately 10 years’ experience as a practicing healthcare

administrator and multi-system executive with specific knowledge and expertise in the areas of

physician credentialing/privileging, credential verification organizations, primary source

verification, regulators, and overall healthcare management procedures. See Ex. 5.

        Defendant cites Svindland v. A.I. DuPont Hosp. for Children of the Nemours Foundation,

2006 WL 3209953 (E.D. Pa. 2006), an unreported decision, for the argument that Dr. Hyde

should not be allowed to testify as an expert witness in the case at bar. Defendant’s reliance on

Svidland is misplaced. In Svindland, the plaintiffs’ claim of negligent credentialing was

“precluded both by Delaware’s peer review privilege and lack of sufficient evidence of

causation.” Id. at *2. Essentially, Dr. Hyde declined to overreach, as he did not give opinions

outside his professional expertise. The Svindland court explained that under Delaware law, “to

establish proximate cause for a negligent credentialing claim such as this, expert testimony must

show that the physician was medically unqualified to perform the procedure in question and

therefore should not have been credentialed.” Id. at *5. Dr. Hyde, who is not a physician, made it

clear that he could not and would not give medical causation opinions. According to

the Svindland court, “[p]laintiffs fail to state that but for the hospital's insufficient oversight,

Dr. Norwood would not have been credentialed and would not have negligently performed Ian's

surgery.” Id. at *6. Subsequently, on appeal of the Svindland matter, the original judge who

disallowed expert testimony was found to have committed prejudicial errors. Svindland et al v.

Nemours Foundation, et al., No. 07-2627, 2008 WL 2531198 (3d Cir. June 26, 2008).




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        Elswick v. Nichols, 144 F.Supp.2d 758 (E.D. Ky. 2001) is also inapposite. Elswick had

nothing to do with credentialing issues, credential verification organizations, or primary source

verification. Rather, Elswick arose from an infection that the plaintiff alleged was introduced into

his wound due to the defendants’ negligence. However, the plaintiff lacked the ability to provide

evidence of medical causation as required by Kentucky law.

        Plaintiffs submit to this Court that the Elswick case from two decades ago has no bearing

on the reliability of Dr. Hyde’s testimony. Defendant’s effort to brandish an unsuccessful result

in a completely unrelated lawsuit in the past amounts to an improper effort to portray Dr. Hyde

as having a disposition, propensity or habit of “overreaching” simply because the plaintiff’s case

in Elswick lacked sufficient data to establish the alleged failure of a hospital’s infection control

policy. In the interests of justice, Plaintiffs in the case at bar are entitled to have their case

proceed on its own merits, with its expert witnesses, without the infusion of an unrelated case in

Kentucky from over twenty years ago.

        The Motion further suggests that this Court impose a condition on Dr. Hyde – i.e., being

a medical doctor – that is not required under the law or the Rules of Evidence. Dr. Hyde has not

given medical causation opinions, nor did he give opinions outside of his area of professional

expertise. Defendant’s arguments as to Dr. Hyde based on qualification go only to the weight,

not the admissibility, of Dr. Hyde’s opinions and testimony.

                    c. Dr. Jerry Williamson

        Dr. Jerry Williamson possesses numerous qualifications that will assist the jury in this

matter. See Ex. 8. Dr. Williamson is a board-certified physician, See Ex. 9, 22:15 and 76:25, and

he received a master’s in health jurisprudence in 2010 from Loyola University Chicago School

of Law. Ex. 9, at 19:14-21. Dr. Williamson has also worked in and consulted for hospital



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administration, where his role included physician credentialing and privileging. Id. at 23:8-24:16.

He is on faculty at Florida State University and teaches residents. Id. at 24:24-25:10. He has

experience hiring foreign medical graduates. Id. at 29:21-25. He has taught courses at Loyola on

risk management. Id. at 21:22-24.

       Dr. Williamson is not a professional expert but has been sought out for his expertise. At

the time of his deposition, he had not testified as an expert during the past four years. Id. at 7:9-

10. He had, however, been retained as an expert in several fair hearing or negligent credentialing

cases within the last four years, as well as clinical matters. Id. at 7:17-12:1.

       ECFMG attempts to minimize Dr. Williamson’s experience and highlights that he was

not able to immediately recall some details of ECFMG’s credentialing processes and his prior

interactions with ECFMG. (ECF No. 83-1 at 9-10). But Dr. Williamson has actually dealt with

ECFMG in his administrative capacities and relied on ECFMG’s certificates in physician

credentialing. Ex. 9, 32:3-33:18. He is familiar with ECFMG’s policies and procedures. Id. at 59.

He has reviewed extensive materials associated with his work in this case. (A substantial portion

of the deposition transcript, which catalogued the materials he reviewed, was omitted from the

partial transcript attached to the Motion, but is attached here. See id. at 36:1-58:9; 136-137.)

       Dr. Williamson is familiar with the standard of care applicable to ECFMG. See id. at 133-

136. He provided details about ECFMG’s processes, the use of ECFMG certificates in

credentialing, and the process of a foreign medical graduate becoming an appropriately licensed

practicing physician. Id. at 32-33, 59, 68:7-70:2, 79:24-80:2. ECFMG clearly disagrees with Dr.

Williamson’s perspective on ECFMG, but that disagreement is for a jury to resolve. Whether he

could exhaustively recall all of the information communicated in an ECFMG certificate has little

import here, where “Akoda’s” actual certificate has been disclosed in discovery, was discussed



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and marked as an exhibit at the deposition, Id. at 101, and will be available to the jury at trial. Dr.

Williamson cannot be disqualified based on a game of Memory.

           ii. Plaintiffs’ Experts Qualifications, in Combination with their Education,
               Training and Experience Are Sufficient to Qualify Them as Experts in this
               Case and Render their Opinions Useful to the Jury.

       Qualification requires that the witness possess specialized expertise. Schneider, 320 F.3d

at 404. The Third Circuit has interpreted this requirement liberally. Id. at 404; Paoli, 35 F.3d at

741. Rule 702’s liberal policy of admissibility extends to both the substantive and formal

qualifications of experts. Pineda, 520 F.3d at 244; Paoli, 35 F.3d at 741. The Third Circuit has

“eschewed imposing overly rigorous requirements of expertise and ha[s] been satisfied with

more generalized qualifications.” Paoli, 35 F.3d at 741 (citing Hammond v. Int’l Harvester Co.,

691 F.2d 646, 652-53 (3d Cir. 1982) and Knight v. Otis Elevator Co., 596 F.2d 84, 87-88 (3d Cir.

1979)). A broad range of knowledge, skills and training can qualify an expert. Pineda, 520 F.3d

at 244 (citing Paoli, 35 F.3d at 741). An expert witness must possess skill or knowledge beyond

that of the average layman. Waldorf v. Shuta, 142 F.3d 601, 625 (3d Cir. 1998).

       ECFMG’s broad attack on Plaintiffs’ experts’ qualifications to testify is based, in part, on

the fact that they have never worked for ECFMG. (ECF No. 83-1 at 8-9). This argument is a

non-starter. ECFMG adduces no authority to indicate than an expert must have worked for or

with the defendant to be qualified. An expert in credentialing policies and procedures is not

required to have been an ECFMG applicant, employee, board member or Medical Educational

Credentials Committee member. The standard proposed by ECFMG would turn the flexible

Daubert standard into a tool for tort immunity. A defendant should not be empowered to, in

effect, set its own standard of care.




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       ECFMG acknowledges that all three experts have interacted with ECFMG over the

course of their careers. (ECF No. 83-1 at 9). Further, Plaintiffs’ experts’ qualifications, in

combination with their education, training, experience and expertise, and their familiarity with

ECFMG and the physician credentialing process, are more than sufficient to qualify them to

render expert opinions in this case which would provide substantial assistance to the trier of fact.

       “[I]t is an abuse of discretion to exclude testimony simply because the trial court does not

deem the proposed expert to be the best qualified or because the proposed expert does not have

the specialization that the court considers most appropriate.” Pineda, 520 F.3d at 244 (citing

Holbrook v. Lykes Bros. S.S. Co., 80 F.3d 777, 782 (3d Cir. 1996)); see also Schneider, 320 F.3d

at 407 (holding that the plaintiff’s expert, an invasive cardiologist, was qualified to testify about

the standard of care for interventional cardiologists performing angioplasties given his

knowledge and experience, and that the district court had abused its discretion in excluding his

testimony). Plaintiffs’ experts are appropriately qualified to render the opinions they have set

forth in this case. Accordingly, the Motion to Exclude should be denied.

       C. Plaintiffs’ Experts’ Opinions and Methodology are Reliable and Non-
          Speculative.

           i. Opinions and Methodology of Plaintiffs’ Experts

                   a. Dr. David Markenson

       Dr. Markenson opines that the standard of care applicable to ECFMG’s certification

process requires ECFMG to adopt reasonable policies and procedures and to follow them to

ensure that IMGs comply with all the requirements for certification. See Ex. 1. Prior to 2015,

there were no written policies or procedures governing how the Medical Education Credentials

department of ECFMG conducted its investigations of allegations of irregular behavior. See

relevant portions of testimony of Kara Corrado, J.D., attached hereto as Exhibit 10, at 59-61. In

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his report, Dr. Markenson recites the facts he considered in forming his opinions, which traces

Igberase’s history from 1992 through his conviction and loss of his medical license in 2016. For

the most part, the facts underlying his opinions can be found in Igberase’s plea agreement. See

Exhibit 11.

       Dr. Markenson made it clear that he evaluates the standard of care applicable to

ECFMG’s certification process based on his experience with other entities that are required to

verify medical school completion for U.S. medical school graduates, such as licensing boards,

hospitals and Joint Commission, and the Centers for Medicaid Services. See Ex. 3, at 189-191.

He is using the standard of care that is used to verify medical school completion for U.S.

graduates. Id. at 191. There are multiple processes that use primary source verification. In the

setting of foreign graduates, ECFMG does it for foreign medical school graduation. He is using

the standard within healthcare for primary source verification. This includes credentialing. Id. at

192, 214. This is part of Dr. Markenson’s professional experience.

       Based on the facts of this case and his education, training and experience, Dr. Markenson

has expressed the opinion (among others) that:

       ECFMG is the only organization that certifies that IMG’s have successfully
       completed medical education at an approved foreign medical school and that they
       have successfully completed the required medical examinations. Without an
       ECFMG certification, an IMG cannot sit for required licensing exams, obtain a
       medical license, will not be accepted into a graduate medical education program
       and cannot obtain hospital privileges. The standard of care applicable to ECFMG’s
       certification process requires ECFMG to adopt reasonable policies and procedures
       and to follow those procedures to ensure that IMG’s comply with all requirements
       for certification. ECFMG has undertaken to provide certification services which are
       necessary for the protection of the general public. Its failure to exercise reasonable
       care in providing these services increases the risk of harm to the general public,
       including plaintiffs. Licensing agencies, medical schools and hospitals, among
       others, rely upon ECFMG to act reasonably in performing these services.




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See Ex. 1. The opinions expressed in his report are not speculative nor based on incomplete facts,

and the conduct of other organizations is not determinative with respect to whether ECFMG

breached the standard of care applicable to its own conduct.

                   b. Dr. John Charles Hyde

       In his report, Dr. Hyde summarizes the events he considered in forming his opinions,

together with the documents, information and deposition testimony he reviewed in the

preparation of his testimony. He reviewed the deposition testimony of William C. Kelly,

ECFMG; Stephen Seeling, J.D., Vice President of Operations, ECFMG; and Kara Corado, J.D.,

Current VP of Operations, ECFMG. Dr. Hyde’s opinions are based on his knowledge, training,

education, experience and understanding of the practice of healthcare management, coupled with

his professional knowledge of prevailing and prudent standards of healthcare administration

which ultimately require an exercise of reasonable application of the process of Credentials

Verification and use of Primary Sources. See. Ex. 4 at 2-3.

       It is Dr. Hyde’s opinion, with a reasonable degree of professional certainty, that ECFMG

should have written policies and procedures for the certification of IMGs and should have

included requirements that ECFMG investigate fully the differences in the name on “Akoda’s”

medical school diploma and the name on his applications, and the other obvious discrepancies in

the applications. In Dr. Hyde’s opinion, an appropriate investigation would have resulted in

referral of this matter to the ECFMG medical education credentials committee. This committee

should have then found that “Akoda” engaged in irregular behavior, which should have then

resulted in his certification being revoked. Ex. 4.

       Dr. Hyde opined with a high degree of professional certainty that the breaches of duties

by ECFMG caused “Akoda” to be certified by ECFMG, which allowed him to be accepted into a



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residency, secure a medical license in Maryland, and gain access to and directly cause harm to

Plaintiffs and the members of the putative class. These actions and omissions were violations of

the applicable standards of care. Without ECFMG’s negligence, Dr. Hyde opined, “Akoda”

would not have been accepted into a residency at Howard University Hospital; he would not

have obtained a Maryland license; and he would not have been granted privileges at Prince

George’s Hospital Center. Id. These opinions are clearly supported by a reasonable application

of the facts of this case to Dr. Hyde’s experience and expertise.

                   c. Dr. Jerry Williamson

       Based upon his review of the facts of this case, including various deposition transcripts

and various documents exchanged in discovery and his forty (40) years of both formal education

and experience as a physician and administrator, Dr. Williamson concludes that ECFMG

breached its duty to its clients, including medical licensing authorities, residency programs,

hospitals and others through the various missed opportunities to address the many irregularities

in the Igberase/ “Akoda” applications, which failures permitted an unqualified individual to

practice medicine for many years and directly impacted patient safety. See Ex. 7, pp. 1-2, 6, and

Addendum of 11/21/2019.

       ECFMG criticizes Dr. Williamson for not reviewing the Plaintiffs’ medical records

because he has no basis to “offer expert opinions about plaintiffs’ alleged emotion [sic] distress.”

(ECF 83-1 at 14). Dr. Williamson reviewed the deposition transcripts of all four Plaintiffs. See

Ex. 7, Addendum of 11/21/2019. He is a standard of care expert in this case. He has not and will

not be offering testimony on the nature and extent of Plaintiffs’ emotional harm. Review of

Plaintiffs’ medical records was unnecessary.




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        Dr. Williamson did not simply review “a limited set of materials curated by Plaintiffs’

counsel,” an assertion for which ECFMG offered no support. The extensive depositions and

documentary material he reviewed is summarized in his reports and at pages 36-58 and 136-137

of his deposition. See Exs. 7 and 9. ECFMG points to no specific documents that Dr. Williamson

allegedly failed to review. It merely argues that he did not exhaustively research non-party health

care entities to the case whose interactions with Igberase do not vitiate ECFMG’s liability. This

is insufficient to deprive the jury of the benefit of his perspective.

        ECFMG’s only other attack on Dr. Williamson’s methodology is an assertion that his

report and deposition conflicted on the question of whether hospital credentialing procedures are

extensive. There is no contradiction between the two. Even if there were, it would have no

bearing upon his opinions. ECFMG’s argument here is wholly obscure.

            ii. Plaintiffs’ Experts’ Methodologies are Sufficiently Reliable and Satisfy the
                Standards for Admissibility under Rule 702 and Daubert.

        Courts admit an expert’s testimony if the process or technique the expert utilized is

reliable. Kannankeril, 128 F.3d at 806. The expert’s testimony must be based on scientific

methods and procedures, not subjective belief or unsupported speculation. Id. (citing Paoli, 35

F.3d at 744); Schneider, 320 F.3d at 404. The question is not which opinion has the best

foundation, but simply whether any particular opinion is based on valid reasoning and reliable

methodology. Kannankeril, 128 F.3d at 806. The party seeking the admission of the expert’s

testimony need only demonstrate, by a preponderance of the evidence, that the opinion is based

on “good grounds.” Id. at 807; Schneider, 320 F.3d at 404. The Court’s focus in this inquiry must

be on the expert’s principles and methodology, rather than their conclusions. Daubert, 590 U.S.

at 590, 595, Daddio v. Nemours Found., 399 F. App’x 711, 713 (3d Cir. 2010).




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       The inquiry under Rule 702 is intended to be a flexible one. Its overarching subject is the

scientific validity and thus the evidentiary relevance and reliability of the principles underlying

the proposed expert submission. Daubert, 509 U.S. at 594-95. Trial courts may consider several

factors in evaluating whether a particular methodology is reliable, including, inter alia: (1)

whether the method has a testable hypothesis; (2) whether the technique has been subject to peer

review and publication; (3) known or potential rate of error; (4) the existence of applicable

standards controlling the technique’s operation; (5) whether the methodology has gained general

acceptance in the scientific community; (6) the relationship of the technique to methods

established to be reliable; (7) the qualification of the expert testifying based on the methodology;

and (8) the non-judicial uses for which the technique has been utilized. Pineda, 520 F.3d at 247-

48 (citing Daubert and United States v. Downing¸753 F.2d 1244 (3d Cir. 1985)). The factors

courts use to evaluate whether a scientific methodology is reliable are not exhaustive nor

applicable to every case, but instead provide a convenient starting point for analyzing an expert’s

opinion. Kannankeril, 128 F.3d at 806-07.

       As the Court of Appeals for the Third Circuit has explained:

       The grounds for the expert's opinion merely have to be good, they do not have to
       be perfect. The judge might think that there are good grounds for an expert's
       conclusion even if the judge thinks that there are better grounds for some
       alternative conclusion, and even if the judge thinks that a scientist's methodology
       has some flaws such that if they had been corrected, the scientist would have
       reached a different result.

Paoli, 35 F.3d at 744. The reliability requirement must not be used by the court as a tool to

exclude all questionably reliable evidence. Id. Rather:

       [T]he primary limitation on the judge's admissibility determinations is that the
       judge should not exclude evidence simply because he or she thinks that there is a
       flaw in the expert's investigative process which renders the expert's conclusions
       incorrect. The judge should only exclude the evidence if the flaw is large enough
       that the expert lacks “good grounds” for his or her conclusions.

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Paoli, 35 F.3d at 746.

        Plaintiffs’ experts’ methodologies are sufficiently reliable to satisfy the standards for

admissibility. Their opinions are supported by the facts and evidence that has developed in this

case, as well as their respective education, training, experience and expertise, and are therefore

based on “good grounds”. Defendant’s attempts to tarnish Plaintiffs’ experts with a bald

assertion of “rank speculation” does not undermine their methodologies in any respect. Plaintiffs

respectfully submit that a judge may not substitute his or her judgment for an expert's, as to what

data are sufficiently reliable to form the basis for the expert's opinion, provided that such reliance

falls within broad bounds of reasonableness.

        Plaintiffs’ experts’ reports also satisfy the requirements of “helpfulness” and “fit” under

Rule 702. As the Court of Appeals for the Third Circuit has recognized, “[t]he ‘ultimate

touchstone is helpfulness to the trier of fact, and with regard to reliability, helpfulness turns on

whether the expert’s technique or principle [is] sufficiently reliable so that it will aid the jury in

reaching accurate results.’ . . . A judge frequently should find an expert’s methodology helpful

even when the judge thinks that the expert’s technique has flaws sufficient to render the

conclusions inaccurate.’’ Paoli, 35 F.3d at 744-45.

        Whether the situation is a proper one for the use of expert testimony is to
        be determined on the basis of assisting the trier. “There is no more certain
        test for determining when experts may be used than the common sense
        inquiry whether the untrained layman would be qualified to determine
        intelligently and to the best possible degree the particular issue without
        enlightenment from those having a specialized understanding of the
        subject involved in the dispute.” Ladd, Expert Testimony, 5 V. and. L.
        Rev. 414, 418 (1952). When opinions are excluded, it is because they are
        unhelpful and therefore superfluous and a waste of time. 7 Wigmore
        § 1918.




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Warren v. Prime Care Med. Inc., 431 F. Supp. 3d 565, 589 (E.D. Pa. 2019) (citing Fed. R. Evid.

702, Advisory Committee Notes, 1972 Proposed Rules). Since Plaintiffs’ experts’ opinions and

testimony are reliable and involve specialized knowledge beyond that of the ordinary layman,

they would be helpful to the trier of fact and should not excluded.

       The element of “fit” requires that the expert’s testimony be relevant to the case and assist

the trier of fact to understand the evidence or determine a fact at issue. Schneider, 320 F.3d at

404; Microchip Tech. Inc. v. Aptiv Srvcs. US LLC, No. 1:17-cv-01194-JDW, 2020 WL 5203600

at *3 (D. Del. Sep. 1, 2020) (Wolson, J.). The standard for fit is “not high; it is met when there is

a clear ‘fit’ connecting the issue in the case with the expert’s opinion that will aid the jury in

determining an issue in the case.” Meadows v. Anchor Longwall & Rebuild, Inc., 306 F. App’x

781, 790 (3d Cir. 2009). There is no question that the requirement of “fit” is satisfied here.

       Drs. Markenson, Hyde and Williamson clearly satisfy the admissibility requirements of

Rule 702 and Daubert. Given Rule 702’s “liberal policy of admissibility,” Pineda, 520 F.3d at

244, and the “strong and undeniable preference” for admitting any evidence which may

potentially assist the trier of fact”, Kannankeril, 128 F.3d at 806 (3d Cir. 1997), Defendant’s

Motion to Exclude should be denied.

       D. Plaintiffs’ Experts Do Not Offer Legal Conclusions.

       Plaintiffs agree that the question of whether a duty exists is a question of law for the

Court, and whether a party is liable in damages for negligence is a question of fact for the jury.

Expert testimony is admissible and often required, however, to assist the jury in understanding

the nature and content of a duty, should the Court find that one is owed. See Heichel v. Marriott

Hotel Servs., Inc., No. CV 18-1981, 2019 WL 2202759, at *4 (E.D. Pa. May 20, 2019) (“When

an expert witness is required, the expert must clearly articulate and reference a standard of care



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by which the defendant's actions can be measured.”). A court’s legal finding that a duty exists

does not provide facts a jury can use to determine whether it was breached.

       Federal Rule of Evidence 704 permits experts to give testimony that “embraces an

ultimate issue to be decided by the trier of fact.” Flickinger v. Toys R US-Delaware, Inc., 492 F.

App’x 217, 224 (3d Cir. 2012) (citing Berckeley Inv. Grp. Ltd. v. Colkitt, 455 F.3d 195, 217 (3d

Cir. 2006)). Further, “the line between admissible and inadmissible expert testimony as to the

customs and practices of a particular industry often becomes blurred when the testimony

concerns a party’s compliance with customs and practices that implicate legal duties.” Colkitt,

455 F.3d at 218. Here, Plaintiffs’ experts’ opinions regarding duty and breach are not

impermissible legal conclusions. See Exs. 1, 4 and 7.

       Courts have often recognized that expert testimony is required to establish the elements

of a negligence claim. For example, expert testimony regarding the standard of care (duty),

breach and causation are required in all but the most obvious medical malpractice cases, because

a jury of laypersons generally lacks the knowledge to determine whether the conduct in question

breached the applicable standard of care. Warren v. Prime Care Med. Inc., 431 F. Supp. 3d 565,

589 (E.D. Pa. 2019); Miville v. Abington Mem'l Hosp., 377 F. Supp. 2d 488, 491 (E.D. Pa. 2005).

Expert testimony is also often required with respect to the issues of causation and damages. See,

e.g., Redland Soccer Club, Inc. v. Dep’t of Army of the United States, 55 F.3d 827, 852 (3d Cir.

1995) (citing Gradel v. Inouye, 421 A.2d 674, 679 (Pa. 1980)) (noting that it is well settled that

when “the complexities of the human body place questions as to the cause of pain or injury

beyond the knowledge of the average layperson . . . the law requires that expert medical

testimony be employed”); Bushman v. Halm, 798 F.2d 651, 659 (3d Cir. 1986) (“If the question

of causal relation is so esoteric that lay minds cannot form any intelligent judgment about it



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without expert aid in an opinion from an expert may be required.”). Such expert opinions, of

course, concern the elements of the claims at issue. Nonetheless, they are permitted and often

required.

       Courts routinely allow experts to testify to opinions that embrace an ultimate issue in a

case, including the standard of care and breach, so long as that testimony would be helpful to the

trier of fact and otherwise satisfies the admissibility requirements of the Federal Rules of

Evidence. See, e.g., Calhoun v. Yamaha Motor Corp., U.S.A., 350 F.3d 316, 322 (3d Cir. 2003)

(recognizing that the district court allowed a psychologist with a specialty in human factors

engineering to testify about how to design an effective warning, and to opine that the warning on

a jet ski deviated from the proper criteria, thereby “making the vehicle unreasonably dangerous

and defective, especially for youthful operators”); Mestre v. Garden Homes Mgmt. Corp., No.

1:16-cv-03231-JDW-AMD, 2020 WL 3962267 at *3 (D.N.J. July 13, 2020) (Wolson, J.)

(holding, where the plaintiff filed a lawsuit against a mobile home community for failing to evict

a tenant with a criminal history who caused him personal injuries, that plaintiff’s expert— a

former security guard, state trooper and certified protection professional—could offer opinion

testimony about the standard of care that the residential community should have employed and

whether it fell short of that standard of care, because he combined his personal knowledge with

principles and methodologies from a variety of sources relating to residential security and the

management of rental communities, and thus his opinions were based on more than speculation

or subjective belief); Gallatin Fuels, Inc. v. Westchester Fire Ins. Co., 410 F. Supp. 2d 417, 422-

23 (W.D. Pa. 2006) (recognizing that an expert may be helpful to the trier of fact in a bad faith

case, and that testimony regarding insurance claims adjusting procedure, the defendant’s

compliance with industry customs and standards, and whether the defendant lacked a reasonable



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basis for denying the claim may be relevant and admissible); Burger v. Mays, 176 F.R.D. 153

(E.D. Pa. 1997) (allowing a criminologist to testify that an officer did not follow proper police

procedure in apprehending the plaintiff); Tschappat v. Groff, Civ. A. No. 3:CV-01-2279, 2004

WL 5509087 (M.D. Pa. June 2, 2004) (Blewitt, M.J.) (allowing a police expert to testify

regarding proper procedures for apprehending a subject and whether the defendant failed to

follow those procedures); Quinn Const., Inc. v. Skanska USA Bldg., Inc., No. CIV.A. 07-406,

2009 WL 1489954, at *3 (E.D. Pa. May 26, 2009) (McLaughlin, J.) (noting that, although the

plaintiff’s claims did not require expert testimony, this does not mean that expert testimony

regarding an architect’s standard of care or causation would not be permitted; rather, such

testimony may be admissible if helpful to the jury and if compliant with the Rules of Evidence);

Jones v. LA Fitness Int’l, LLC, No. CIV.A. 11-0632, 2013 WL 3789807, at *6 (E.D. Pa. July 22,

2013) (Pratter, J.) (holding that the expert’s testimony was admissible with regard to the industry

standards and rules for basketball courts, and whether the design and condition of the basketball

court in question met those standards even though ordinary principals of negligence and the

conditions of the premises were well within the jury’s comprehension); Ucciardi v. E.I. Du Pont

Nemours & Co., No. CV 13-4952 (FLW), 2016 WL 7338533, at *3 (D.N.J. Dec. 19, 2016) (“An

expert’s opinion may be used to prove elements of negligence, particularly if the subject matter

of the alleged negligent act is technical or beyond the kin of the factfinder.”). Further, even

where courts have found an expert’s report to include impermissible legal conclusions—often

involving the use of legal terms— they have stricken only those portions of the expert’s

testimony while allowing the testimony otherwise proceed. See, e.g., Calhoun, 350 F.3d at 322,

Gallatin Fuels, Inc., 410 F. Supp. 2d at 422-23; Burger, 16 F.R.D. 153.




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       ECFMG falsely asserts that Drs. Markenson and Williamson “confirmed” at their

deposition that they will “continue to offer legal conclusions” outside their scope of expertise.

(ECF No. 83-1 at 12). This argument is based on selective citation to the record, which creates an

inaccurate impression. With respect to Dr. Markenson, the cited testimony arose from a line of

hypothetical questions relating to other crimes such as tax fraud, and whether he believes

ECFMG has a duty or obligation to make sure individuals it certifies never break the law—

hypotheticals which Dr. Markenson attempted to distinguish. See Ex. 3, at 217:11-221-4.

       Dr. Williamson made clear that he is not holding himself out to be a legal expert in the

case. See Ex. 9, p. 116:16-19. By “duty,” he was careful to note, he meant “responsib[ility] for

making certain that everything we’ve talked about is done properly.” Id. at 116:17-117:2;

119:10-14. ECFMG’s failure to act appropriately “is a matter of ethics” and has “legal

implications”—and it was only “in that sense” that Dr. Williamson stated at deposition he was

offering a legal opinion. Id. at 116-117. This does not amount to an impermissible legal

conclusion.

       Dr. Williamson resisted repeated attempts to be boxed in at his deposition as to whether

he purported to set forth a legal opinion in the case. ECFMG’s brief mistakenly casts statements

made in conditional form as affirmative representations to the effect that Dr. Williamson would

be testifying on the existence of a duty. Id. at 118:1-12. Instead, Dr. Williamson outlined in his

report and at his deposition what ECFMG was required to do under the prevailing industry

standard of care. See generally Ex. 7; Ex. 9 at 104:17-112:22. There is also no indication his

testimony on whether the damages to plaintiffs were foreseeable will in any way usurp the jury’s

role as factfinder. Ex. 9 at 120-121. He merely testified that ECFMG should have acted because




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it should have understood that an individual who provided false information on an application

could later commit misconduct against patients. Ex. 9 120-121, 137-138.

       For the reasons set forth above, the opinions of Drs. Markenson, Hyde and Williamson,

with respect to issues of standard of care, breach and causation do not constitute impermissible

legal conclusions; rather these are appropriate matters for expert testimony given that the subject

matter in question is technical and beyond the knowledge of the ordinary layperson. See Exs. 1,

4, and 7. Plaintiffs’ experts are in no way attempting to usurp the Court’s role to make legal

conclusions or the jury’s role to make factual ones. Should the Court have concerns about the

terminology to be used by experts in their testimony at trial (e.g., “duty,” “breach,”

“foreseeable”) they can be addressed through an appropriate ruling in limine when ripe, rather

than through the drastic remedy of a wholesale exclusion of experts.

       E. Plaintiffs’ Experts Rely Upon Data Reasonably Relied Upon by Experts in their
          Fields, and the Probative Value of their Testimony Outweighs Any Purported
          Risk of Prejudice to Defendant.

       ECFMG’s effort to exclude Plaintiffs’ experts’ opinions based on Rules 403 and 703

offers no additional arguments beyond those discussed above, and should be denied for the same

reasons.1 Under Rule 703, experts may rely on hearsay statements in formulating their opinions,

and may even disclose those statements to the jury if their probative value substantially

outweighs their prejudicial effect. See, e.g., Mestre, 2020 WL 3962267 at *3. Here, Plaintiffs’

experts’ opinions are sufficiently reliable, are based upon good grounds, and rely upon data


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  Of note, one of the cases relied upon by Defendant in support of this argument, Therasense,
Inc. v. Becton Dickinson Co., No. C 04-02123 WHA, 2008 WL 2323856 (N.D. Cal. May 22,
2008) involved “[o]ne of the worst abuses in civil litigation [through] the attempted spoon-
feeding of client-prepared and lawyer-orchestrated ‘facts’ [relating to the material composition
of a coating] to a hired expert who then ‘relie[d]’ on [“a rigged and biased source of
information” relating to a “materially important fact”] . . . to express an opinion”; circumstances
which clearly and plainly are not present here. Therasense, Inc., 2008 WL 2323856 at *1-*2.

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reasonably relied upon by experts in the field. Paoli, 35 F.3d at 749. As such, their testimony is

admissible and should not be precluded pursuant to Rules 703 and 403.

V.       CONCLUSION

         For the foregoing reasons, Plaintiffs respectfully request that Defendant’s Motion to

Exclude Expert Testimony be denied.



Dated: January 14, 2022                                Respectfully submitted,



 JANET, JANET & SUGGS, LLC                         CONRAD O’BRIEN PC

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   Brenda A. Harkavy                                 Robin S. Weiss (Pa. ID 312071)
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                                                     Washington, DC 20005
                                                     (202) 682-5800

                                                   Attorneys for Plaintiffs, on behalf of
                                                   themselves and all others similarly situated

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                                                                                            JA4301
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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS, :
ELSA M. POWELL AND DESIRE EVANS,  :
                                  :                      Case No. 2:18-cv-05629-JDW
          Plaintiffs              :
                                  :                      Hon. Joshua D. Wolson
     v.                           :
                                  :
EDUCATIONAL COMMISSION FOR        :
FOREIGN MEDICAL GRADUATES,        :
                                  :
          Defendant.              :
                                  :
                           [PROPOSED]
                             ORDER

       AND NOW, this         day of                      , 2022, upon consideration of

Defendant’s Motion to Exclude the Opinions and Testimony of Plaintiffs’ Experts Dr. David

Markenson, Dr. John Charles Hyde, and Dr. Jerry Williamson and Plaintiffs’ Response in

Opposition Thereto, IT IS HEREBY ORDERED AND DECREED that Defendant’s Motion is

DENIED.




                                                  BY THE COURT:



                                                                       Wolson, J.




                                                                                     JA4302
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   EXHIBIT 1




                                                                   JA4303
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                                             September 19, 2019




 Danielle S. Dinsmore, Esquire
 Paul M. Vettori, Esquire
 Law Offices of Peter G. Angelos
 One Charles Center
 100 N. Charles Street
 Baltimore, Maryland 21201

                                  Re: Monique Russell, et al. v. Educational Commission for Medical
                                  Graduates, Case No. 2:18-cv-05629-J W



 Dear Ms. Dinsmore and Mr. Vettori:

    You have asked me to review this matter and provide        a report   of my expert opinions   with
 respect to this matter. This is my report.


        Attached is my Rule 26 case list. Also attached is my Curriculum Vitae, which includes a
 list   of all publications ] have authored.

    I am billing my time for review and preparation of my report at        $   500 per hour and my time
 for deposition and trial at $ 5000 per day.

     I have reviewed and considered the documents you have provided to me, which include bates
 stamped documents you obtained from    ECFMG, documents obtained from the Akoda criminal
  case, the Maryland Board of Physician’s decision and the depositions (with exhibits) of William
- Kelly and Kara Corrado.

    The following is    a   summary   of the facts considered by me in forming my opinions:

    On April 6, 1992 ECFMG received an application from Oluwafemi Charles Igberase to take
 the Foreign medial graduate examination in the Medical Sciences and the ECFMG English Test.
 He provided ECFMG with a diploma from the University of Ibadan dated June 19, 1987.
 Igberase failed both the basic medical science and clinical science components of the FAGEMS
 and passed the ECFMG English test. He failed the Day 1 test again but passed it on the third try.
 On October 4, 1993, after he successfully completed steps 1 and 2 of the USMLE, ECFMG
 issued to him certificate number 0-482-700.


    On March 30, 1994, ECFMG received an application from Igberase Oluwafemi Charles to
 take Steps 1 and 2 ofthe USMLE examinations. He provided a date of birth that was different
 than the date   of birth   provided by Igberase. The diploma he submitted was the identical diploma
 that had been submitted by Igberase. On December 14, 1994, after Charles successfully
 completed the    USMLE examinations, ECFMG           issued to him certificate number 0-519-573-0.




                                                                                                    JA4304
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Confidential Communication with Attorney



   At some point    after this, for reasons that do not appear in the records,   ECFMG   became
suspicious that Igberase and Charles were one and the same person and began an investigation.
Igberase/Charles explained his actions in a handwritten letter dated July 14, 1995 in which he
admitted he had lied about not taking the examination previously and why he rearranged his
names. Asaresult of the investigation, the ECFMG Committee on Medical Education
Credentials invalidated certificate number 0-519-573-0 issued to Charles:and revoked certificate
number 0-482-700-2 issued to Igberase. Charles appealed the decision which led to a hearing on
July 10, 1996. The ECFMG Review Committee for Appeals affirmed the decision of the
ECFMG Committee on Medical Education Credentials to revoke certificate number 0-482-700-2
but limited the length of the revocation to a period of five years from July 10, 1996, i.e., to July
10, 2001. Thereafter, the ECFMG Committee on Medical Education Credentials extended the
length ofthis revocation for a yet to be specified period of time and, ultimately, revoked
permanently this certificate.


   On January 3, 1996 and again on August 30, 1996, ECFMG received an application from
John Nosa Akoda to take Steps | and 2 of the USMLE examinations. He provided ECFMG with
a diploma from the University of Benin dated February 6, 1998. On August 18, 1998, after he
successfully completed the required examinations, ECFMG issued to him certificate number 0-
353-258-5. Although his applications did not include a social security number, at some time in
 1998 he provided ECFMG with social security number xxx-xx- 9065.


  On July 1, 1998 Akoda entered the graduate residency program at Jersey Shoré Medical
Center. On July 24, 1998, ECFMG received a Request for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due to his having entered this program. On September 2, 1998,
ECFMG sent this validated form.           |

    By letter dated August 11, 2000 from James McCorkel, M.D. to Rice Holmes, ECFMG was
notified that the Jersey Shore Medical Center graduate residency program in which Akoda was
enrolled was investigating allegations that Akoda had useda social security number issued to a
person named Oluwafemi Charles Igberase. ECFMG advised Dr. McCorkel that Akoda had
provided ECFMG with social security no. xxx-xx-9065. This is the same number Akoda
provided to the Jersey Shore Medical Center.

   ECFMG    sent   Akoda   a “charge letter” dated   August 22, 2000 advising Akoda that ECFMG
had received information alleging that Akoda may have engaged in irregular behavior. This
letter was based on the matters presented by Dr. McCorkel. Akoda responded by representing to
ECFMG    that Igberase Oluwafemi Charles was his cousin and admitting that he had used his
cousin’s social security number. Akoda provided ECFMG with a Nigerian passport and a
Nigerian “international driving permit.”

   The Jersey Shore Medical Center dismissed Akoda from its graduate residency program
because he used a false social security number —that of his cousin Charles Igberase - and
because the green card he had provided the hospital was inconsistent with a subsequent green
card he also provided.




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 Confidential Communication with Attorney



    On December 22, 2000, William Kelly, Manager of the Medical Education Credentials
 Department of ECFMG, wrote a memorandum to Stephen S. Seeling, JD, Vice President of
 Operations of ECFMG, in which Mr. Kelly stated “[t]his memorandum is being written
 separately since I did not think it should be made part of the official file.” He advised Mr.
 Seeling that both he and Dr. McCorkel believed Igberase and Akoda were one and the same
 person. He concluded that he did not think there was enough information for the ECFMG
 Credentials Committee.

     In October 2006, Akoda used the ERAS of ECFMG to apply to Howard University Medical
 Center for a graduate residency program, which included three letters of reference. In
 connection with this process, ECFMG attempted to verify the authenticity of these three letters
 of reference but never received responses from the persons passed off as references for Akoda.

     Akoda successfully completed a graduate residency program at Howard University Medical
 Center. He was licensed to practice medicine in Maryland and Virginia, and was granted
 privileges at Prince Georges’ Hospital Center based on application and submission of required
 documentation including an ECFMG certificate.


        The following are my opinions, which are based on the matters set out above and my
 education, training and experience:


        ECFMG is the only organization that certifies that IMG’s   have successfully completed
 medical education at an approved foreign medical school and that they have successfully
 completed the required medical examinations. Without an ECFMG certification, an IMG cannot
 sir for required licensing exams, obtain a medical license, will not be accepted into a graduate
 medical education program and cannot obtain hospital privileges. The standard of care
 applicable to ECFMG’s certification process requires ECFMG to adopt reasonable policies and
 procedures and to follow those procedures to ensure that IMG’s comply with all requirements for
 certification. ECFMG has undertaken to provide certification services which are necessary for
 the protection of the general public. Its failure to exercise reasonable care in providing these
 services increases the risk of harm to the general public, including plaintiffs. Licensing agencies,
 medical schools and hospitals, among others, rely upon ECFMG to act reasonably in performing
 these services.


    It is my opinion, held to a reasonable degree of professional certainty, that ECFMG failed to
 adopt appropriate policies  for certification of IMG’s, failed to exercise reasonable care in its
 certification of Akoda and failed to exercise reasonable care in its investigation of allegations
 made about Akoda and that these failures caused harm to the named plaintiffs and members of
 the class.

         While it is accurate to say that certification by ECFMG is only one of the steps needed
' for          medial graduate to obtain a license to practice medicine in the United States, it is a
        a foreign
 requirement without which an IMG cannot obtain a license. It is also a required certification for
 entering residency and obtaining hospital privileges. If ECFMG had acted reasonably, it would
 have denied certification to Akoda, and would have revoked Akoda’s certificate, he would not
 have been able to enter the Howard University residency program, he would not have been able




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Confidential Communication with Attorney



to obtain   a   Maryland medical license, he would not have been granted privileges at Prince
Georges’ Medical Center, and he would not have been able to harm the plaintiffs.


         The ECFMG certification process and investigation of suspicious or irregular behavior by
ECFMG      is important to ensure that individuals seeking to act as physicians treating patients are
qualified and meet professional standards of honesty, morality and character. These qualities are
critical to the physician patient relationship.

  ECFMG breached the standard of care in, among others, the following ways:

          Failing to adopt written policies and procedures for the certification   of IMG’s;

          Failing to adopt written policies and procedures for the investigation   of allegations of
irregular behavior;


       Failing to investigate the differences in the name on Akoda’s medical school diploma and
the name on his applications submitted to ECFMG;


          Failing to investigate fully the relationship between Igberase and Akoda;

          Failing to reasonably investigate Akoda’s diploma from the University      of Ibadan;

      Failing to reasonably investigate discrepancies in official medical school seal on
documents submitted for Akoda;


       Failing to deny the requested waiver of a medical school confirmation of Akoda
photograph based on the explanation of the Nigerian postal system not providing a rapid
delivery;


          Failing to deny the Akoda application due to it being incomplete;

          Failing to reasonably investigate the allegations made by Dr. McCorkel;

          Failing to refer Akoda to the Medical Education Credentials Committee;

          Failing to follow its own procedures with respect to the charge letter sent to Akoda on
August 22, 2000;


          Failing to reasonably investigate the social security number provided to ECFMG by
Akoda;

         Failing to temporarily suspend pending investigation and discontinue to verify ECFMG
certifications after Dr. McCorkel’s allegation, admission by Akoda of using another’s social
security number and the ECFMG Investigator’s concern that Akoda and Igberase were the same
person.




                                                                                                  JA4307
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       Failing to compare photographs      of Igberase   and Akoda in its files;


       Failing to reasonably act when Akoda admitted to identity theft in use       of another’s   social
security number;

       Failing to conclude that the person   —   Charles -- who appeared for hours at the July 10,
1996 appeal hearing and the person who appeared        in Mr. Kelly’s office on September 27, 2000      —

Akoda —were the same person;

       Failing to investigate the authenticity of the passport and green card produced to Mr.
Kelly by Akoda when he came to Mr. Kelly’s office on September 27, 2000;

       Failing to follow up on the conclusion reached by Mr. Kelly and Dr. McCorkel that
Igberase and Akoda were the same person.                                 |

       It is my opinion, to a reasonable degree    of professional   certainty, that, had there been
written policies and procedures for the certification of IMG’s, these would have included
requirements that ECFMG investigate fully the differences in the name on Akoda’s medical
school diploma and the name on his applications.
        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMF’s, these would have included
requirements that ECFMG investigate fully discrepancies in Akoda’a application and submitted
materials.


        It is my opinion, to a reasonable degree of professional certainty, that, had there been
written policies and procedures for the certification of IMG’s and investigations of irregular
behavior, these would have included requirements that ECFMG investigate and refer to the
Medical Education Credentials Committee in situations of identity fraud.

       It is my opinion, to a reasonable degree of professional certainty, that, had ECFMG
properly investigated the allegationsof irregular behavior against.Akoda,ECFMG would have
referred the matter to the Medical Education Credentials Committee and that committee would
have found that Akoda engaged in irregular behavior, which would have resulted in his
certification being revoked.

         It is my opinion, to a reasonable degree of professional certainty, that these failures on
the part ofECFMG to comply with the standard of care were the direct cause of Akoda being
certified by ECFMG and which are the direct cause of the harms caused to the plaintiffs and the
members of the class.




                                                                                                   JA4308
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Confidential Communication with Attorney



                                           Very truly yours,




                                           David Samuel Markenson,   MD




                                                                          JA4309
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   EXHIBIT 2




                                                                  JA4310
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  Curriculum Vitae


              David Samuel Markenson, MD, MBA, FAAP, FACEP, FCCM, FACHE
                                    6324 E Stanford Ave
                               Cherry Hills Village, CO 80111
                            (917) 626-6541 (personal cell phone)
                       docmarkenson@gmail.com (personal e-mail)

 PROFILE:
  Health care physician executive with 15-plus years’ experience in leadership roles (Division Vice
  President, Chief Medical Officer, Vice President, Medical Director, Section Chief, Academic Chairman,
  Center Director and Designated Institutional Official) with a publicly traded national hospital corporation,
  large regional health system, academic medical center, medical school, municipal hospitals and community
  hospital.


  e   Chosen to lead organizations, departments and programs during startup phase to build enterprises
      that achieved clinical excellence, operational efficiency, sustained growth and financial success.
  e   Requested to assume oversight of programs, services and departments facing critical challenges,
      based on expertise in assessing structure and operations, developing multi-faceted strategic and
      operational plans, and building, recruiting and engaging teams to reach goals.
  e   Ahighly regarded healthcare leader, clinician, educator and advisor, approachable and collaborative,
      respected by healthcare leaders, medical staff, nursing staff and facility staff.
  e   Served as first CMO of complex community tertiary care facility during rapid growth phase where
      improved quality and led innovation in clinical care delivery, achieving top hospital status and straight
      Leap Frog A grade. In subsequent role oversaw three divisions encompassing 7 states and over 30
      hospitals with transformation of hospitals to academic medical center to establish over 200 residency
      positions and 15 programs that supported workforce needs, strategic growth plans, hospital quality,
      efficiency and finances.                                                                  ,
  e   Strong leadership, interpersonal and communication skills, strategic thinker with ability to implement,
      analytical, persuasive, guided by data, outcome metrics and scientific evidence (EBM), driven to —
      results. Successful in leading clinicians to embrace change through subject matter expertise, ability to
      present data, operational plans and finances clearly, and skill in engaging support from physician
      decision makers, thought leaders and champions.


  Employment History and Primary Positions/Appointments

  American Red Cross, Washington, DC
' Chief Medical Officer, Training Services February 2079 to present
  National Chair, Scientific Advisory Council 2005 to present
  Member, Advisory Council of First Aid and Safety 2002- present

  New York Medical College School of Health Sciences and Practice (formerly School of Public Health)
  Medical Director, Center for Disaster Medicine 2013 to present
  Director, Center for Disaster Medicine August 2005 to 2013
  Interim Chair, Department of Epidemiology and Community Health (Epidemiology and Biostatistics
__merged with Behavioral Science and Health Promotion) June 2009 to 2070
  Interim Chair, Department of Epidemiology and Biostatistics August 2008 to June 2009

  Hospital Corporation of America Physician Services Group, Nashville, TN
  Division Vice President for Graduate Medical Education for the Continental, Mountain and Mid-America
  Divisions, September 2016 to May 2018
  Designated Institutional Official HealthONE, Research Medical Center, Ogden Regional Medical Center
  and Eastern Idaho Regional Medical Center (each entity is a separate ACGME Institutional Sponsor),
  July 2015 to May 2018
  Chair, Institutional Review Board, HealthONE, January 2016 to May 2018




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D. Markenson, MD,   CV, Continued




Hospital Corporation of America           |
Sky Ridge Medical Center, Lone Tree, CO
Chief Medical Officer, May 2013 to August 2016
SRMC PHO Facility Lead and Board Member, May 2013 to December 2015

International Federation of Red Cross and Red Crescent Societies
Chair and Co-Founder, First Aid and Health Evidence Based Network, 2011 to Present
Co-Editor-in-Chief, 2021, 2016 and 2011 IFRC First Aid and Resuscitation Guidelines

Westchester Medical Center and Maria Fareri Children's Hospital, Valhalla, N.Y.
Director Partnership for Patients, Clinical informatics, and Quality Data, June 2012 to May 2013
Medical Director Regional Emergency Services and Disaster Medicine (VP title and authority but titled
Medical Director for physician), December 2009 to May 2013
Chief, Pediatric Emergency Medicine August 2005 to December 2009
Attending, Pediatric Emergency Medicine August 2005 to 2010
Attending, Pediatric Critical Care September 2005 to May 2013

Jamaica Hospital Medical Center and Flushing Hospital Medical Center, New York, N.Y.
Director Pediatric Critical Care 2005 to 2010
Director Child Protection 2005 to 2006

Columbia University, Mailman School of Public Health, New York, N.Y.
Director Program for Pediatric Preparedness May 2003 to May 2005
Deputy Director National Center for Disaster Preparedness May 2003 to May 2005

Children’s Hospital at Montefiore
Medical Director, The Program for Pediatric Preparedness October 2002 to April 2004
Fellow, Pediatric Critical Care October 2002 to April 2004

Harlem Hospital Center, New York, N.Y.
Director of Pediatric Critical Care and Child Protection May 2001 to November 2002
Director Family Support Program and Child Protection May 2001 to November 2002
Assistant Attending Pediatric Emergency and Critical Care October 2000 to June 2004

New York Presbyterian Hospital, New York, N.Y.
Clinical Fellow in Pediatric Critical Care January 2000 to May 2001

NYU Medical Center Tisch Hospital and Bellevue Hospital Center, New York, N.Y.
Medical Director National Child Protection Project July 1996-June 2004
Member, Center for Pediatric Emergency Medicine, July 1995-June 2004
Fellow Pediatric Emergency Medicine, July 1998 to December 1999
Chief Resident July 1997 to June 1998
House Officer July 1994 to June 1997

Academic Appointments and Positions

University of Colorado School of Medicine
Clinical Professor of Pediatrics March 2015 to present

University of Colorado School of Public Health
Adjunct Professor of Public Heath November 2014 to present

New York Medical College School of Medicine
Professor of Pediatrics, 2009-2013
Associate Professor ofPediatrics, 2006-2009
Assistant Professor of Pediatrics, 2005-2006



                                                    2                                    Revised 6/6/2019



                                                                                                  JA4312
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                                                            Page   4 of 41


 D. Markenson, MD, CV, Continued




 New York Medical College School of Health Sciences and Practice (formerly School of Public Health)
 Senior Fellow, Center for Disaster Medicine, 2013-2018
 Professor of Clinical Public Health 2010 to 2013
 Associate Professor of Public Health 2006 to 2009
 Assistant Professor of Public Health 2005 to 2006
 Director, Center for Disaster Medicine August 2005 to 2013
 Interim Chair, Department of Epidemiology and Community Health (Epidemiology and Biostatistics
 merged with Behavioral Science and Health Promotion) June 2009 to 2010
 Interim Chair, Department of Epidemiology and Biostatistics August 2008 to June 2009
 Program Director, Emergency Preparedness MPH and Certificate Program, Department of Health Policy
 and Management March 2006 to 2009

 Columbia University, Mailman School of Public Health, New York, N.Y.
 Adjunct Assistant Professor of Population and Family Health January 2005 to 2007
 Director Program for Pediatric Preparedness May 2003 to May 2005
 Deputy Director National Center for Disaster Preparedness May 2003 to May 2005
 Assistant Professor of Population and Family Health, 2003-2005

' Columbia University College of Physicians and Surgeons, New York, NY
  Assistant Professor of Pediatrics May 2001 to June 2005

 New York University School of Medicine, New York, N.Y.
 Instructor of Pediatrics July 1997 to June 2001
 Teaching Assistant in Pediatrics July 1996 to June 1997


 Education:

 University of Massachusetts Isenberg School of Management, Amherst, M.B.A.
 Master of Business Administration, May 2011

 Albert Einstein College of Medicine, Bronx, N.Y.
 Doctor of Medicine June, 1994
 Honors Distinction in Pediatric Emergency Medicine Research

 Union College, Schenectady, N.Y.
 Bachelor of Arts June, 1990

 Internship and Residency
 New York University School of Medicine, New York, N.Y.
 Primary Care Pediatrics Intern July 1994 to June 1995

 New York University School of Medicine, New York, N.Y.
 Primary Care Pediatrics Resident July 1995 to June 1997

 New York University School of Medicine, New York, N.Y.
 Pediatric Chief Resident July 1997 to June 1998


 Fellowship
 Bellevue Hospital, New York University School of Medicine, New York, N.Y.
 Fellow in Pediatric Emergency Medicine July 1998 to December 1999

 Cornell Medical College, New York Presbyterian Hospital, New York, NY
 Fellow in Pediatric Critical Care January 2000 to May 2001




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D. Markenson, MD,   CV, Continued




Children's Hospital at Montefiore, Albert Einstein College of Medicine, New York, NY
Fellow in Pediatric Critical Care October 2002 to April 2004

Board Certification
American Board of Pediatrics        —   Pediatrics Certified October 1998, MOC Current

American Board of Pediatrics        —   Pediatric Critical Care Certified November 2004, MOC Current

American Board of Preventative Medicine          —   Clinical Informatics Certified 2014, MOC Current

American Board of Emergency Medicine            —   Emergency Medical Services Certified 2014, MOC Current


Professional Licenses:

Alaska Division of Corporations, Business, and Professional Licensing Physician #142262

Colorado Division of Professional Licenses DR.0052535

Nebraska Department of Health and Human Services Physician #31320

New York State Department of Education License to Practice Medicine and Surgery #199931

Ohio State Medical Board Physician #35.135973


Additional Hospital/Professional Appointments and Per Diem/Locums Roles

Kendal Regional Medical Center
Pediatric Critical Care Attending November 2018 to December 2018

Mountainland Pediatrics, Thorton, CO
Pediatric Attending July2018 to August 2018

International Children’s Hart Foundation, Nashville, TN
Volunteer Pediatric Critical Care Attending July 2018 to present

Sky Ridge Medical Center (Carepoint, PC), Lone Tree, CO
Pediatric Emergency Physician July 2013 to February 2014

Swedish Medical Center (Carepoint, PC), Englewood, CO
Pediatric Emergency Physician July 2013 to February 2014

Presbyterian Medical Center and Rocky Mountain Hospital for Children (Carepoint, PC), Denver, CO
Pediatric Emergency Physician July 2013 to February 2014

PM Pediatrics, Mamaroneck, NY
Per Diem Pediatric Emergency Medicine Attending December 2010 to April 2013

White Plains Hospital, White Plains, NY
Emergency and Pediatric Emergency Attending October 2004 to 2006

St. Lukes Roosevelt Hospital, New York, N.Y.
Attending Pediatric Critical Care August 2004 to December 2006
Attending Pediatric Emergency Medicine January 2000 to December 2002




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Beth Israel Medical Center, New York, N.Y.
Pediatric Critical Care Attending Physician August 2004 to December 2006.
Pediatric Emergency Attending Physician June 1997 to January 2001

Hospital for Joint Diseases, New York, N.Y.
Pediatric Attending Physician June 1996 to January 2003

Lenox Hill Hospital, New York, N.Y.
Pediatric Emergency Room Physician November 1995 to December 1998

Professional Certification

American College of Healthcare Executives — Fellow
Certified Professional in Healthcare Quality (CPHQ)
Certifying Commission on Medical Management — Certified Physician Executive
Six Sigma Certified Black Belt

Professional Membership:

American Academy of Pediatrics - Fellow
American College of Critical Care Medicine - Fellow
American College of Emergency Physicians - Fellow
American College of Health Care Executives - Fellow
American College of Physician Executives - Member
American Medical Informatics Association - Member
Arapahoe Douglass Ebert Medical Society — Past-President and Member
Colorado Medical Society — President-Elect, and Board of Directors and Member
New York Academy of Medicine — Fellow
Society of Critical Care Medicine — Member


Hospital Committee Membership

HealthONE
Division Formulary Steering Committee     —   Member 2015-2018

sky Ridge Medical Center
Performance Improvement Committee      — Ex-officio member 2013-2016
Peer Review Committee   - Ex-officio member 2013-2016
Credential Committee  - Ex-officio member 2013-2016
Medical Executive Committee - Ex-officio member 2013-2016
                                                 -
Pharmaceutical and Therapeutics Committee Member 2013-2016
Critical Care Committee - Ex-officio member 2013-2016
                            -
Pediatric Service Line Member 2013-2016
Emergency Service Line —-Member 2013-2016
Trauma Committee — Member 2013-2016
Physician Satisfaction Team — Member 2013-2016

Westchester Medical Center
                                  -
Child Protection Committee Member 2005 to 2071
Disaster Committee — Chair 2008 and member 2006 to 2073
                                      -
Environment of Care Committee Chair 2011 to 2013, member 2009 to 2073
                        -
Medical Operations Member 2009 to 2073
Pediatric Education Committee — Member 2006 to 2013
                                          -
Pediatric Medical Operation Committee Member 2005 to 2013
Pharmacy and Therapeutics Committee -—Member 2006 to 2013



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 Trauma Committee — Member 2005-2013
 Trauma Peer and M&M — Member 2005-2013
 Pediatric Trauma Committee — 2008-2013
 Utilization Management — Member 2011 to 2013

 Flushing Hospital Medical Center
 Critical Care Committee — Member 2004 to 2010
 Child Protection Committee — Member 2004 to 2010, Chair 2004 to 2006
 Pediatric QA Committee — Member 2004 to 2010

 Jamaica Hospital Medical Center
 Critical Care Committee — Member 2005 to 2010
 Child Protection Committee — Member 2005 to 2010: Chair 2005 to 2006
 Pediatric QA Committee — Member 2005 to 2010
 Trauma Committee — Member 2005-2010

 Harlem Hospital Medical Center
 Child Protection Committee — Chair January 2001 to November 2002
 Critical Care Committee      -
                          Member May 2001 to November 2002
                        -
 Trauma Committee Member 2001-2002

 Bellevue Hospital Medical Center
 Medical Board — Member and Executive Committee Member 1996 to 2000
 Formulary Sub-Committee —-  Member 1997 to 2000
 House Staff Affairs Sub-Committee — Member 1997 to 2000

 CME Instructor Certifications:

 American Academy of Pediatrics
 Neonatal Resuscitation Program Regional Trainer, 1998 to 2005
 Neonatal Resuscitation Program Instructor, 1992 to 2005

 American College of Surgeons
 ATLS Provider, 1994-2010
 ATLS Instructor, 2001-2004

  American Heart Association
  Advanced Cardiac Life Support Instructor, 1991 to 2003
  Pediatric Advanced Life Support Instructor, 1993 to 2003
_ Pediatric Advanced Life Support Affiliate Faculty, 1994 to 2003

 American Medical Association
 National Disaster Life Support Instructor, 2009 to present

 American Red Cross
 Volunteer Health and Safety Specialist, 1990 to present
 Basic Disaster Services Instructor, 1990 to present
 Instructor Trainer in HIV/AIDS Education, 1990 to present
 Instructor Trainer in Water Safety and Lifeguard Training, 1989 to present
 Instructor Trainer in First Aid, 1989 to present
 Instructor Trained in CPR, 1988 to present



 National Association of E.M.T.s
 Pre-Hospital Trauma Life Support Instructor, 1991 to 2000
 Pediatric Prehospital Care National Medical Director, 1998 to 2000



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New York State Department of Health
EMS Hazardous Materials Awareness Instructor, 1993 to 2000
Paramedic Instructor, 1992 to 2000
Pre-Hospital Pediatric Care Course Instructor, 1992 to 2000
Ambulance Accident Prevention Seminar Instructor, 1991-1997
Emergency Medical Technician Instructor, 1989 to 2000

Society of Critical Care Medicine
Pediatric Fundamental Critical Care Support Course Instructor, 2010 to 2014
Fundamental Critical Care Support Instructor, 2002 to 2014
Fundamental Disaster Medicine Instructor, 2003 to 2074

TEEX DHS Programs
Medical Management Of CBRNE Events (PER 211), Chair Medical Advisory Board 2004-2015, instructor
2003 to 2016                                                      .
Pediatric Disaster Response And Emergency Preparedness (MGT439), Chair Medical Advisory Board,
Development Team and instructor 2011-2016




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Research and Grant Activities:

Community Based Care Center Model Plan and Toolkit Education April 2011 to August 2011
Principal Investigator
Awarded $35,000 sub-award from NYS DOH Hospital Emergency Preparedness Program Grant
Having been selected by New York State Department of Health to develop model for Community Based
Care Center (original name-altemate care sites) and an accompanying toolkit for implementation to
address patient surge for pandemic influenza, mass casualty events and other disasters, awarded
additional funding for implementation and education. Conducted statewide education on use of toolkit.

Dutchess County Surge Planning April 2010 to September 2010
Principal Investigator
Awarded $35,000 grant from Dutchess County Department of Health
Conceptualized and directed grant which facilitated the Dutchess Department of Health and Office of
Emergency Management in development of a county wide surge plan based on our prior validated
models. In addition developed standards for alternate care sties including triage and care protocols.

Regional Resource Center Auqust 2009 to 2013
Principal Investigator
Awarded $275,000 2011-12 (325,000 prior years) per year from NYS DOH Hospital Emergency
Preparedness Program
Grant provided to operate Regional Resource which provides training, drills support and research of
preparedness in the Hudson Valley Region

Alternate Care Site Model Plan and Toolkit April 2009 to 2010
Principal Investigator
Awarded $95,000 sub-award from NYS DOH Hospital Emergency Preparedness Program Grant.
Selected by New York State Department of Health to develop model for alternate care sites and an
accompanying toolkit for implementation ofalternate care sites to address patient surge in the event of
pandemic influenza, mass casualty events and other disasters. Once developed this model and toolkit is
to become the NYS standard and will be required to be used by all local health departments in NYS.

 Emergency Departments Appropriate for Pediatrics May 2008 to 2010
 Principal Investigator
‘Awarded $100,000 initial grant and $90,000 second year grant from R Baby Foundation
 Conceptualized and directed grant to assess community emergency departments for their ability to care
 for infants and young children. Then based on the assessment and review ofthe evidence based
 literature, develop guidelines and an educational program to create emergency departments appropriate
 for infants and young children which will be piloted in the Hudson Valley and then distributed nationally.

Hudson Valley Regional Emergency Preparedness Training and Exercise December 2008 to 2009
Principal Investigator
Awarded $55,000 sub-award from NYS DOH Hospital Emergency Preparedness Program Grant
Developed program to assess education gap in emergency preparedness knowledge in the Hudson
Valley and then to design and deliver educational program to fill this gap. Program will also develop,
conduct and evaluate drills and exercises to test the impact of this education.

Broome County Child Protection and Epidemiological Support August 2008 to 2010
Principal Investigator
Awarded $50,000 per year contract which has been renewed for an additional year
Oversaw grant to provide epidemiological and biostatistics support to the Broome County Department of
Health. In addition provided direction on the expansion of health department child protection activities
including the child fatality review team, case review and multi-disciplinary team creation and protocols.
Also developed with health department official’s research study regarding child maltreatment prevalence
in Broome County.



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Alternate Care Site Planning Grant February 2008 to June 2008
Principal Investigator
Awarded $180,000 grant from NYS Department of Health Hospital Emergency Preparedness Program
Conceptualized and directed grant which assessed issues regarding patient triage and care at alternate
care sites for disaster medical services. In addition developed standards for alternate care sties including
triage mechanisms and care protocols.

Hudson Valley Region Surge Assessment May 2007 — September 2007
Principal Investigator
Awarded $50,000 contract through Regional Resource Center from NYS Department of Health
Conceptualized and directed grant to assess the surge capacity of EMS, hospitals and community health
assets in the Hudson valley region.

Putnam Community Wide Preparedness Project October 2006- September 2007
Principal Investigator
Awarded $125,000 for one year grant from NYS Department of Health
Conceptualized project, developed grant and direction project to conduct community based preparedness
project targeted and schools with inclusion ofpublic health, EMS, fire, law enforcement and emergency
management.

Lifeguarding and Resuscitation Evidence Based Guidelines June 2006 to June 2009
Principal Investigator
Awarded $150,000 for 2 year grant from the National Pool and Spa Foundation
Developed project, process and chaired program to develop evidence based approaches and guidelines
for drowning prevention, water rescue and the drowning process resuscitation.

Prehospital Provider Recognition of Child Neglect 2005 to 2006
Principal Investigator ©
Research project funded through departmental funds
Developed and conducted both pilot and formal research project to assess Prehospital provider's ability
to recognize, assess, document and report child neglect. Submitted several applications for funding for
this research. At this time this research is funded through NYMC Public Health Departmental funds.

Consensus Conference on the Needs of Children and Persons with Disabilities in Disasters September
2003 to 2007
Principal Investigator
Awarded $380,000 for 2 year grant from Agency for Healthcare Research and Quality
Conceptualized project and drafted grant application for grant to hold a repeat National Consensus
Conference on the needs of children in disasters with a new added focus on person with disabilities and
to establish a research agenda to answer the questions regarding the needs of children and person with
disabilities in disasters.

Center for Public Health Preparedness September 2004 to 2006
Co-Investigator May 2005 to 2006 (involvement ended with my departure from Columbia University)
Co- Principal Investigator September 2004 to May 2005
Awarded $5,500,000 for 5 year grant from the Centers for Disease Control
Co-Principal investigator on grant to continue the work of a Center for Public Health Preparedness at a
School of Public Health to support the activities of the departments of health and improve preparedness
through research and education on public health preparedness.

Academic Departments of Public Health February 2004 to January 2005
Principal Investigator
Awarded $100,000 for 1 year grant from the Association of Schools Public Health/Centers for Disease
Control
Conceptualized project and drafted grant application for ASPH/CDC grant to develop the models for
departments of health to become more academic. Grant involves active collaboration with the New York



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  City Department of Health and Mental Hygiene to test these models for improved academic activity and
  then to disseminate finds as a replicable model.

 Bioterrorism Curriculum Enhancement October 2003 to June 2005
 Principal Investigator (grant period)
 Co-Investigator (grant extension)
 Awarded $780,000 for 2 year grant from the Health Resources Services Administration
 Helped to conceptualize and draft application for HRSA grant to enhance the curriculum of all the schools
 of the Columbia University Health Science Campus to include bioterrorism and emergency preparedness.
 After awarding of grant served as co-principal investigator and directed grant including supervision of all
 staff, oversight of all activities and product creation.

 Centers for Disease Control Linkages of EMS and Acute Care with Public Health Departments October
 2003 to 2007
 Principal Investigator
 Initially Awarded $100,000 for 1 year grant from the Centers for Disease Control.
 Awarded Additional $225,000 for 3 year grant from the Center for Disease Control
 Conceptualized project and drafted grant application for CDC grant to foster linkages between EMS and
 State and Local Departments ofHealth involving disaster and terrorism preparedness. in addition project
 included assessment ofEMS provider's knowledge of bioterrorism, equipment for terrorism and
 knowledge and attitudes regarding EMS and public health.

 Consensus Conference on the Needs of Children in Disasters November 2002 to October 2003
 Principal investigator
 Awarded $50,000 for 1 year grant from Agency for Healthcare Research and Quality
 Conceptualized project and drafted grant application for grant to hold a National Consensus Conference
 on the needs of children in disasters and to establish a research agenda to answer the questions
 regarding the needs of children in disasters.

 Center for Public Health Preparedness September 2000 to August 2004
 Co- Investigator May 2003 — August 2004
 Awarded $4,000,000 for 4 year grant from the Associations of Schools of Public Health
 Senior investigator on grant to establish a Center for Public Health Preparedness at a School of Public
 Health to support the activities of the departments of health and improve preparedness through research
 and education on public health preparedness.

 Maternal and Child Health Bureau EMS for Children Model Pediatric Component for State Disaster Plans
 March 2001 to February 2004
 Principal Investigator
 Awarded $600,000 for 3 year grant from Maternal Child Health Bureau.
 Conceptualized project and drafted grant application for EMSC Targeted Issues Grant to evaluate the
 needs of children in disaster planning, preparation and response, build collaboration between pediatric
 experts and emergency management professionals and based on data driven consensus process
 develop a model pediatric component for state disaster plans.

  Renal Function in Older Children and Adolescents with Perinatal HIV-1 Infection May 2001 to April 2003
  Principal Investigator
  Funded by Family Care Center and Glaxo Smith Kline
_ Conceptualized project and drafted IRB application for study to evaluate previously undetected renal
  impairment in older children and adolescents with perinatal HIV-1 infection.

 Levalbuterol versus Albuterol for Continuous Nebulization May 2001 to April 2003
 Principal Investigator
 Research project funded through departmental funds
 Conceptualized project and drafted IRB application for study to evaluate the difference in efficacy,
 pharmakinetics and adverse effects for levalbuterol versus albuterol as a continuous nebulization.



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Renal Clearance and Adverse Reactions for Sedative Medication in Children May 2001 to April 2003
Principal Investigator
Research project funded through departmental funds
Conceptualized project to study the difference in efficacy, pharmakinetics, protein binding, renal
clearance and adverse effects for the commonly used sedative in children.

National Children’s Alliance January 2002 to December 2004
Principal Investigator
Awarded $50,000 grant from National Children’s Alliance and Department of Juvenile Justice
Drafted grant and administer grant to enhance child protection group into fully accredited Child Advocacy
Center.

Maternal and Child Health Bureau EMS For Children Network Development Demonstration Project
(NDDP) September 2001- June 2003
Co-investigator
Awarded Grant $500,000 from Health Resources and Services Administration
Co-authored grant application and conceptualization of project. Will serve in project management and
oversight of a project designed to demonstrate the value of establishing an infrastructure or network that
can serve as a platform from which to conduct investigations on the effectiveness of treatments,
transport, and care responses, including those preceding the arrival of children to hospital emergency
departments.

Maternaland Child Health Bureau EMS For Children Target Issues Grant National Child Protection
Project August 1999- July 2003
Project Medical Director
Awarded $350,000 Grant from Health and Resources Services Administration
Designed and conducted pilot study of EMS providers knowledge and attitudes regarding child abuse
and neglect recognition and reporting. Directed the administration ofthe federal grant to further this study
on a national level, designed and analyzed research project and then design an educational resource to
help better educate prehospital personnel on this subject.

On-Scene Administration of Albuterol by EMT-Basic for Bronchospasm August 1998 to June 2003
Principal Investigator
Research project funded through departmental funds
Designed and conducted study to determine the ability of EMT-Basic to correctly assess patient's for
bronchospasm and then to provide therapy with albuterol via a nebulizer system. Study was approved by
the NYS Commissioner ofHealth for deviation in standard of care as part of this study. Study involved 20
EMS agencies treating patients in the 5 boroughs of New York City.

Nebulized Epinephrine versus Albuterol for treatment of Bronchiolitis January 1998 to December 2000
Principal Investigator
Designed and conducted double blind study to compare the efficacy and patient outcome of epinephrine
versus albuterol for the treatment of bronchospasm secondary to bronchiolitis.

Maternal and Child Health Bureau EMS for Children Grant November, 1998 to October 2001
Educational Coordinator, Investigator and editor for three year federal grant to develop an Instructor's
Awarded $375,000 Grant from Health Resources and Services Administration
Resource for Teaching Prehospital Pediatrics for the EMT Intermediate and Paramedic and then studying
the impact of this resource on prehospital provider education.

Prehospital Provider Knowledge and Attitudes Regarding Child Maltreatment and National Child
Protection Project July 1996 — June 1998
Principal Investigator
Research project funded through departmental funds




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Designed and conducted a study of the knowledge and attitudes of EMTs and paramedics related to child
maltreatment. In addition assessed their attitude and desire for additional education in child
maltreatment.

Maternal and Child Health Bureau EMS for Children Grant November 1994 to October 1998
Educational Coordinator, Investigator and editor for three year federal grant to develop an Instructor's
Awarded $375,000 Grant from Health Resources and Services Administration
Resource for Teaching Prehospital Pediatrics for the EMT Basic and then studying the impact of this
resource on prehospital provider education.

Primary Care Access and Emergency Department Usage Study October 1994 to May 1998
Principal Investigator
Research project funded through departmental funds
Designed and implemented study to analyze the effect of access to primary care, telephone triage and
patient education on emergency department usage in a large urban hospital.

EMT and Paramedic Diagnostic Accuracy February 1994 to January 1996
Principal Investigator
Research project funded through departmental funds
Designed and conducted a study of the abilities of EMTs and paramedics to correctly diagnose patients.

Pre-Hospital Pediatric Spinal Immobilization September 1993 to June 1997
Principal Investigator
Research project funded through departmental funds
Designed and implemented a study to analyze patterns and effectiveness ofspinal immobilization by
Emergency Medical Technicians and Paramedics and on in hospital management are to be studied.

New York City EMS Systems Study, September 1993 to September 1996
Principal Investigator
Research project funded through departmental funds
Conducted a study using a mail survey of the different types of Emergency Medical Services Systems
that exist in New York City.

Pre-Hospital Medication Administration by Basic Emergency Medical Technicians March 1993 to June
2004
Principal Investigator
Research project funded through departmental funds
Designed a three arm study looking at the ability of Basic Emergency Medical Technicians to administer
medications in terms of the efficacy, safety and complications; obtained permission for deviation from the
standards of provider care from the Regional and State Emergency Medical Advisory Board and the
Commissioner of the Department of Health; developed and taught a training course for the EMT's in the
study for a pilot study with Epinephrine and provisional approval for a full study with Albuterol.

Effects of Alternative Staffing Patterns on ALS Protocols as Established by the Regional Medical Advisory
Board of New York City January 1993 to January 1996
Principal Investigator
Research project funded through departmental funds
Designed and organized a study to determine the effects of alternative staffing patterns on decision
making, technical accuracy and efficiency in the prehospital advanced life support treatment.

Maternal and Child Health Bureau EMS for Children Grant November 1992 to December, 1994
Educational Coordinator, Investigator and instructor for two year federal grant to develop and implement
a curriculum to train paramedics how to assess, intubate and obtain intraosseous access in children.

Predictors of Sepsis in an Infant with a Fever Summer, 1991




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 Participated in a study of patients under two months of age admitted to an urban hospital with a fever
 greater than 100.5 degrees Fahrenheit to determine the ability to use clinical appearance, white blood cell
 count, erythrocyte sedimentation rate, chest x-ray and urine dip stick as predictors of possible sepsis and
 to determine the need for hospitalization and antibiotic therapy.

~Indirect Oxidative Mitogenesis of T-Lymphocytes Summer, 1985
 Participated in a research group at the Weismann Institute of Science, Rehovot, Israel, studying the
 mechanisms of indirect oxidative mitogenesis of T-Lymphocytes.


 Federal Research Loan Repayment Programs
 Pediatric Research Loan Repayment Program
 Recipient and Principal Investigator September 2003 to present
 Awarded grant for loan repayment based on my activity in Pediatric Research in the areas   of Emergency
 Preparedness, Critical Care, Child Abuse Pediatrics and Emergency Medicine.

 Federal Grant Review Panels:

 Agency for Healthcare Research and Quality, Department of Health and Human Services
 Objective Review Panel for Emergency Preparedness Grants — January 2004

 Maternal and Child Health Bureau, Department of Health and Human Services
                                                     -
 Objective Review Panel for Targeted Issues Grants December, 2001

 Maternal and Child Health Bureau, Department of Health and Human Services
 Objective Review Panel for Continuing Education and Development Grants — August, 1997


 Federal Advisory Panels:

 FEMA National Advisory Committee
 Appointed to national advisory committee to the administrator of the Federal Emergency Management
 Agency representing In-patient Medical Providers, 2009-2012.

 National Advisory Committee to the Secretary of Health and Human Services on Children and Terrorism
 Selected by CDC to serve as advisor and helped with drafting of report of Advisory committee to the
 Secretary of Health and Human Services on defining the needs of children in terrorism preparedness,
 response and recovery and making recommendations for necessary changes, research and initiatives.

 National Committee Membership:

 Accreditation Council for Graduate Medical Education
 CLER Evaluation Committee — Appointed to term beginning July 2018

 American Academy of Pediatrics
 Committee on Pediatric Emergency Medicine May 1995 to June 2004

 American College of Emergency Physicians
 Committee on Pediatric Emergency Medicine, January 2007 to 2010
 Disaster Committee, January 2011 to present

 American Heart Association and American Red Cross
                                   -
 First Aid Guidelines Task Force Member 2010-2015
 ECC International First Aid Science Advisory Board — Chair 2006 to 2010
 ECC National First Aid Science Advisory Board — Chair February 2004 to 2005




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American Medical Association
NDLS Education Consortium Executive Committee 2011-2012

American Red Cross
National Scientific Advisory Council (formerly National Advisory Committee on First Aid, Aquatics, Safety
and Preparedness), Chair 2005 to present, Member 2002- present
HIV/AIDS National Faculty and Implementation Group, 1990
Volunteer Health and Safety Specialist, National, 1989 to 1997

EMSC National Resource Center
                                                        -
EMSC 2000 National Congress Planning Committee Member 1998 to 2000
EMSC Public Information Task Force Committee — Member 1999 to 2002

International Liaison Committee Resuscitation
2015 COSTR Process — Member 2010-2015
                        -
First Aid Task Force Member 2010-2015
National Association of EMS Physicians
Education Committee - Member 1991- 1995
Pediatric Committee - Chair 1997 to 2000 and Member since 1993
Research Committee - Member 1994 to 2000
Standards and Practice Committee - Member 1994 to 2000

National Association of EMTs
Pediatric Prehospital Care Course Committee     —   Chair and National Medical Director 1998 to 2001

Society for Academic Emergency Medicine
Education Committee - Member 1996-1997

society for Critical Care Medicine
                                            -
Fundamental Disaster Medicine Committee Member 2005 to 2007
                                                             -
Job Description and Contracts in Critical Care Task Force Member 2010 to 2013
MCCKAP Committee — Member 2006 to 2013
                       -
PFCCS Committee Member 2011 to 2013, 2018 to present
Pediatrics Mock On-Line Leaning Committee — Chair and Member 201 1to 2014

National and International Projects:

Institute of Medicine of the National Academies, Committee on the Treatment of Cardiac Arrest
Member 2013-2015
Served as a member of Institute ofMedicine study group to evaluate treatment of cardiac arrest in US
and develop report with analysis and recommendations..

International First Aid Consensus on Science and Treatment Recommendations and Guidelines
Member 2005- 2010 and 2010-2015
Served as member of the international evidence review of first aid treatment as part of the Emergency
Cardiac Care and International Liaison Committee on Resuscitation 2010 and 2015 evidence review
process. This international evidence review will lead to publication of updated and expanded Consensus
on Science and Treatment Recommendations and First Aid Guidelines.

National First Aid Consensus on Science and Treatment Recommendations and Guidelines
Co-Chair February 2004- 2005
Served as Co-Chair for the first evidence review of first aid treatment as part ofthe Emergency Cardia
Care and International Liaison Committee on Resuscitation 2005 evidence review process. This
international evidence review will lead to publication of the first Consensus on Science and Treatment
Recommendations and National First Aid Guidelines.




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 Pediatric Disaster and Terrorism Preparedness: A National Consensus Conference
 Principal Investigator November 2002 to June 2003
 Served as principal investigator to bring together a coalition of experts, professional organizations
 representing pediatrics, emergency medicine, emergency management, EMS and related health care
_professions and representatives of federal agencies involved in disaster and terrorism preparedness.
 Then to hold a consensus meeting with individuals from this coalition to develop guideline and
 recommendations for children in disaster and terrorism preparedness and to develop a future research
 agenda on this topic. Lastly to draft and publish an executive summary and final report ofthe meeting
 outcomes.

Model Pediatric EMS Protocols 2003 Revision Principal Investigator January 2003 to December 2003
Served as principal investigator for federally funded project to revise with the latest evidence a previously
developed evidence based consensus process set ofModel Pediatric Protocols for EMS Providers, EMS
Educators and EMS Medical Directors. Conducted the data review, coordinated and directed consensus
meeting and served as lead author forproject.
Model Pediatric EMS Protocols Co-Principal Investigator June 1998 to August 1999
Served as principal investigator for federally funded project to develop an evidence based consensus
process set of Model Pediatric Protocols for EMS Providers, EMS Educators and EMS Medical Directors.
Conducted the data review, coordinated and directed consensus meeting and served as lead author for
 project.

 EMS and Managed Care Federal Roundtable Participant January 1998 to December 2000
 Invited to be participant in federal roundtable sponsored by the Department of Health and Human
 Services Maternal Child Health Bureau and the National Traffic Highway Safety Administration to identify
 issues of agreement and dispute between Emergency Medical Services and Managed care. Then to
 develop recommendations for future actions to be undertook by federal, state and local governments to
 improve EMS and managed care relationships.

 Revision of the EMT-Intermediate and Paramedic: National Standard Curricula and Associated Refresher
 Courses Adjunct Author January 1995-December 1998
 Selected as Adjunct Author of United States Department of Transportation and US Department of Health
 Maternal and Child Health Bureau project to revise the EMT-intermediate and Paramedic: National
 Standard Curricula. Worked as author for pediatric section and as peer reviewer for entire project.


 National Task Forces

 EMS for Children Public Information and Education Project Task Force
 Invited participant in a national task force conducted by both Maternal Child and Health Bureaus’ EMS
 For Children Division and the National Highway Traffic Safety Administration to establish and oversee a
 federally funded national public information and education campaign.

 Pediatric Education Task Force
 Invited participant in a national task force conducted by both Maternal Child and Health Bureaus’ EMS for
 Children Division and the National Highway Traffic Safety Administration to establish national guidelines
 for the training of paramedics in pediatrics.

 State and Local Advisory Panels:

 Colorado Governor's Expert Emergency Epidemic Response Committee (GEEERC)
 Appointed to standing advisory group to the governor for preparation and during an emerging or ongoing
 public health threat representing pediatrics and hospital, 2014 to present.




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Deputy Editor-in-Chief, August 2012 to present
Associate Editor, December 2006 to 2012

American Journal of Disaster Medicine
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Journal of Public Health Management and Practice. Guest Editor, Supplement on Bioterrorism and
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 The Willingness of US Emergency Medical Technicians to Respond to Terrorist Incidents. World
 Congress on Disaster Emergency medicine, May 2009.

 Core Competencies for Emergency Preparedness Education for Health Profession Schools. World
 Congress on Disaster Emergency medicine, May 2009.

 Altered standards of care for emergency medical services (EMS) personnel during a public health
 emergency. American Public Health Association Meeting, November 2007.

 Role of the emergency medical services (EMS) system as part of public health emergency response.
 American Public Health Association Meeting, November 2007.

 Pediatric and persons with disabilities emergency preparedness national guidelines and
 recommendations: Findings of an evidenced-based consensus process. American Public Health
 Association Meeting, November 2006.

 Emergency Preparedness for Pediatrics and Persons with Disabilities: Report of an Evidence Based
 Consensus Process. Presented at Pan-Asian Disaster Conference, November 2006.

 Preparedness for Disaster, Terrorism and Public Health Emergencies. National Guidelines and
 Recommendations for Children and Person with Disabilities: Findings of an Evidenced Based Consensus
 Process. Presented at Pediatric Academic Societies, 2006.

 A National Assessment of Knowledge, Attitudes, and Confidence of Prehospital Providers in the
 Assessment and Management of Child Maltreatment. Presented at Pediatric Academic Societies, 2006.

 Comfort level of EMS providers in responding to WMD events: Impact of training and equipment.
 Presented at Pan-Asian Disaster Conference, November 2006.

 A Survey of Student Attitudes Toward and Knowledge of Disaster Preparedness. Presented at the World
 Congress on Disaster Emergency Medicine, May 2005

 The Willingness Of Emergency Medical Technicians To Respond To Terrorist Incidents.    Presented at
 the World Congress on Disaster Emergency Medicine, May 2005

 An Emotional Preparedness and Resilience Curriculum for High Risk 4th Grade Children: An Essential
 Aspect of Comprehensive Disaster Preparedness. Presented at the World Congress on Disaster
 Emergency Medicine, May 2005

 Core Competencies for Terrorism, Disaster and Public Health Emergency Preparedness Education for
 Health Profession Schools. Presented at the World Congress on Disaster Emergency Medicine, May
 2005

 Pediatric Terrorism Preparedness National Guidelines and Recommendations: Findings of an Evidenced
 Based Consensus Process. Presented at the World Congress on Disaster Emergency Medicine, May
 2005

 How The NYC School System, Its Teachers, Leadership And Students Assured Health And Safety On
 9/11. Presented at the World Congress on Disaster Emergency Medicine, May 2005



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Helping Children in Disasters Through Alleviating their Parent's Anxiety: Psychosocial Group
Interventions Post-Disaster. Presented at the World Congress on Disaster Emergency Medicine, May
2005    —

Accuracy of Pediatric Assessment by EMT-Basics. Markenson, D., Foltin G., Tunik M., Welborn C.,
Treiber M. and Cooper A. Presented at the Society of Academic Emergency Medicine Annual Meeting,
San Antonio, Texas, May 23, 1995.

Poster Research Presentations:

Student Attitudes Toward and Knowledge of Emergency Preparedness. International Conference on
Healthcare System Preparedness and Response to Emergencies and Disasters, January 2012.

Developing Methodologies to Assess Resource Needs and Ability to Provide Interventions and Care for
Children in Disasters, Terrorism and Public Health Emergencies. World Association of Disaster
Emergency Medicine, May 2011

Developing Methodologies to Assess Resource Needs and Ability to Provide Interventions and Care for
Children in Disasters, Terrorism and Public Health Emergencies. World Congress on Disaster
Emergency Medicine, May 2009

A Survey of Student Attitudes Toward and Knowledge of Emergency Preparedness. World Congress on
Disaster Emergency Medicine, May 2009

Assessment of Knowledge, Attitudes, and Confidence of Prehospital Providers in the Assessment and
Management of Child Maltreatment. 5th European Congress on Emergency Medicine, September 2008.

Evidence Based Emergency Preparedness Guidelines for Persons with Disabilities. 5th European
Congress on Emergency Medicine, September 2008.

Emergency Preparedness Guidelines for Children. 5th European Congress on Emergency Medicine,
September 2008.

Hospital workers: Who are essential personnel during a disaster? Presented at American Public Health
Association Meeting, November 2007.

Designing Sustainable Hospital Preparedness Training: A Three Phased Approach. Presented at Pan-
Asian Disaster Conference, November 2006.

Role of the emergency medical services (EMS) system as part of public health emergency response.
Presented at Pan-Asian Disaster Conference, November 2006.

Hospital Workers: Who are essential personnel during a disaster? Presented at Pan-Asian Disaster
Conference, November 2006.

Role of emergency medical services (EMS) agencies during a hospital evacuation or need for mass
patient transfer. Presented at Pan-Asian Disaster Conference, November 2006.

National Assessment of Knowledge, Attitudes, and Confidence of Prehospital Providers in Assessment
and Management of Child Maltreatment. Presented at the Ambulatory Pediatric Association, May 2006

Eyewitness to Child Abuse and Neglect: A National Assessment of EMS Providers Education in Child
Abuse and Neglect. Presented at the Society of Academic Emergency Medicine, May 2002.




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Eyewitness to Child Abuse and Neglect: A National Assessment of EMS Providers Self-Efficacy
Regarding Recognition and Reporting of Child Abuse and Neglect. Presented at the Ambulatory Pediatric
Association, May 2002.

Eyewitness to Child Abuse and Neglect: A National Assessment of EMS Providers Knowledge of Child
Abuse and Neglect. Presented at the Ambulatory Pediatric Association, May 2002.

Eyewitness to Child Abuse and Neglect: A National Assessment of EMS Providers Knowledge of Child
Abuse and Neglect. Presented at the EMSC National Congress, April 2002.

Eyewitness to Child Abuse and Neglect. Presented at the National Association of EMS Physicians,
January 2002.    _

Double Blind Comparison of Epinephrine versus Albuterol for Respiratory Distress Secondary to
Bronchiolitis. Presented at the Society for Critical Care Medicine, San Francisco, February 2001.
Accuracy of Pediatric Assessment by EMT-Basics. Markenson, D., Foltin G., Tunik M., Welborn C.,
Treiber M. and Cooper A. Presented at the Ambulatory Pediatric Association Annual Meeting, San
Diego, California, May 11, 1995.


Legislative Testimony:

Invited Testimony, Joint New York State Assembly Standing Committee on Governmental Operations,
March 2004
Testified on EMS preparedness, funding, education and equipment to Emergency First Responders
Hearing




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Educational Activities

Medical Student
Teaching
     2013-2015                 Preceptor and Lecturer: Pediatric Emergnecy Medicine
                               2-4 hours per week

     2008-2010                 Course Director: Epidemiology and Biostatistics
                               2 week course per year

     2005-present              Course Director: Pediatric Emergency Medicine and Disaster Medicine Summer
                               Fellowship Program
                               4-8 hr/Awk for 8 weeks per year.

     2005-present              Preceptor and Lecturer: Pediatric Rotation Maria Fareri Children’s Hospital
                               2-6 hrs/wk for 1 year

     2005-2006                 Preceptor and Lecturer: Pediatric Rotation Flushing Hospital
                               2-6 hrs/wk for 1 year

     2001-2003                 Preceptor: Pediatric Critical Care Elective Harlem Hospital
                              4 hrs/wk for 2 years

     1998                     Awarded Fellow Teaching Award, Department of Pediatrics’

     1997-2001                Preceptor and lecturer: Pediatric Rotation NYU/Bellevue
                              2-6 hrs/wk for 4 years

Curriculum Development

     2008-2010                 Epidemiology and Biostatistics
                               Began redesign and pilot testing of the first year medical student course,
                             - Epidemiology and Biostatistics Course.

     2003-2005                Disaster Medicine
                              Developed and implemented a disaster medicine curriculum for medical students
                              which were integrated across all four years of medical school.

     1998-2000                Emergency Medicine
                              Developed Emergency Medicine Skills Course for Students

     1991-1994                Pre-Hospital Emergency Medicine Course for Medical Students
                              Designed and instructed the first pilot program at Albert Einstein College of
                              Medicine ofthis course, which is a ten week program designed to teach second,
                              third and fourth year medical students how to perform patient assessment and
                              initial management utilizing resources available outside of a hospital.
Administration
     2010-2013                Member, First Year Student Promotions Committee

     2005-2010                Member, Medical Student Education Committee First and Second Years
                              Subcommittee:

     2001-2003                Member, Pediatric Medical Student Education Committee

     2001-2004                Member, Pediatric Education Committee



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Residents
Teaching
      2013-2018              Internal Medicine, Family Medicine and Surgery Non-Core Faculty and Lecturer
                             1-2 hrs/wk

      2005-2010              Pediatric Emergency Medicine Rotation Director
                             10 hrs/wk (rounds/lectures/instruction of procedures) for 10 months per year for
                             1 year

      2005-2006              Pediatric Ward Attending
                             10 hrs/wk (rounds/lectures) for 2 months per year for 2 years

      2005-2006              Pediatric Critical Care Rotation Director
                             10 hrsAwk (rounds/lectures/instruction of procedures) for 10 months per year for
                             2 years

      2003-2004              Fellow: Pediatric Critical Care Rotation
                             10 hrs/wk (rounds/lectures/instruction of procedures) for 4 months per year for 1
                             % years

      2001-2003              Pediatric Ward Attending
                             10 hrsAvk (rounds/lectures) for 2 months per year for 2 years

      2001-2003              Pediatric Critical Care Attending
                             10 hrs/wk (rounds/lectures/instruction of procedures) for 10 months per year for
                             2 years

      2002                   Awarded Faculty of the Year for Teaching, Harlem Hospital Department of
                             Pediatrics

      1997-2000              Chief Resident and Fellow: Pediatric Rotation and Pediatric Emergency
                             10-20 hrs/wk for 1 year as Chief Resident
                             2-6 hrs/wk for 2 years as fellow

Curriculum Development
      2013-2018              Internal Medicine, General Surgery, Family Medicine, Psychiatry, Neurology and
                             Emergency Medicine
                             In partnership with Program Directors developed curriculum, didactic plan,
                             evaluation instruments and program application for new residency programs.

      2005-2010              Pediatric Emergency Medicine Resident Rotation
                             Revised required Pediatric Emergency Medicine Rotation and developed new
                             curriculum and objectives

      2005-2006              Pediatric Critical Care Resident Rotation
                             Developed new required Pediatric Critical Care Rotation

      2005-2006              Pediatric Transport and Research Resident Rotation
                             Developed new required Pediatric Transport and Research Rotation

      2001-2002              Pediatric Critical Care Education
                             Developed Pediatric Critical Care Education Program for Residents

      1997-1998              Advanced Pediatric Life Support
                             Developed Advanced Pediatric Life Support Program for Residents




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Administration
      2015-present           Chair Graduate Medical Education Committee, HealthONE, Research Medical
                             Center, Ogden Regional Medical Center and Eastern Idaho Regional Medical
                             Center

      2005-present           Member, Resident Education Committee, Maria Fareri Children’s Hospital

      2001-2002              Member, Resident Education Committee, Harlem Hospital Center

      1997-1998              Member, Resident Education Committee, New York University School of
                             Medicine

Public Health
Teaching
     2008-2010              Advanced Epidemiology, Course Leader
                            3-4 hrs/wk

     2006-2013               Introduction to Health Policy and Management, Lecturer
                             1-2 hrs/wk

Curriculum Development:
     2009 to 2010   Epidemiology Doctoral Program
                    Lead process to revise doctoral curriculum including curriculum design oftwo
                    new courses.

     2009 to 2010           Epidemiology Masters Program
                            Lead process to revise master curriculum including creating new terminal
                            activities, developing curriculum for courses in applied epidemiology and
                            improving evaluation metrics and processes.

     2009 to 2010           Disaster Medicine Certificate Program
                            Developed certificate program, course curriculum and terminal objectives for new
                            certificate in Disaster Medicine and Public Health Emergencies

     2004 to 2005           Disaster Medicine Certificate Program
                            Developed certificate program, course curriculum and terminal objectives for new
                            certificate in Disaster Medicine
Administration
     2008-2010              Member, Curriculum Committee, New York Medical College School of Health
                            Science and Practice

     2006-2012              Member, Academic Policy Committee, New York Medical College School of
                            Health Science and Practice

     2006-2013              Member, Research Committee, New York Medical College School of Health
                            Sciences and Practice



Continuing Medical Education
Curriculum Development:

     2010 to 2013           Basic Disaster Life Support




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                             Participated as Deputy Editor in development of revision national continuing
                             medical education course Conducted by the American Medical Association

      2006                   Pediatric Critical Care Transport Course
                             Developed extensive CME course for Paramedics and RN to function as
                             members ofa pediatrics critical care transport course.

      2005 to 2007           Fundamental Disaster Medicine
                             Participated in initial development of new national continuing medical education
                             Course and subsequent course revisions
                             Conducted by the Society of Critical Care Medicine

      2005                   Emergency Preparedness Academy
                             Developed one day academy to educate healthcare providers, business leaders,
                             school officials and emergency mangers about current emergency management
                             concepts and networking between these fields.

      2004                   Pediatric Emergency Preparedness On-Line Module
                             Developed pediatric module for on-line emergency preparedness course offered
                             by Columbia University as part of HRSA funded healthcare provide education
                             program.

      2003-2005              On-Line Incident Management Course
                             Developed as a Center for Public Health Preparedness project, an on-line
                             module to teach public health workers incident management.

      2002-2003              Pediatric Emergency Preparedness Course
                             Developed a course on unique pediatric aspects   ofemergency preparedness for
                             physicians, nurses and allied health providers

      2001-2004              Prehospital Pediatric Care Course
                             Developed a national continuing medical education course on prehospital
                             pediatric care for the National Association of EMTs based on my textbook on the
                             same subject.

      1996-2000              Prehospital Provider Assessment, Treatment and Reporting of Child
                             Maltreatment Course
                             Develop a course for Prehospital providers in the assessment, treatment and
                             reporting of child maltreatment. Initial pilot courses developed and deliveredin
                             NYC. Course then updated based on results of National Child Protection
                             Project. Subsequently train-the-trainer model implemented to allow national
                             delivery of this program.

      1994-1996              Certified First Responder Pediatric Assessment and Treatment Session
                             Developed, authored and Co-Edited the pediatric section for the New York State
                             Department of Health Certified First Responder Course

      1998-present           Emergency Medical Technician Continuing Medical Education Program
                             Developed and taught a monthly continuing medical education to several urban
                             volunteer ambulance service

      1987-1990              Paramedic Continuing Medical Education Program
                             Provided continuing medical education to paramedics in the Schenectady County
                             area from September, 1987 to, June 1990 using a format which was didactic,
                             practical skill review or call review.




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      1989-1990              Advanced Life Support Assistance
                             This course was designed to allow Emergency Medical Technicians to assist
                             Advanced Emergency Medical Technicians in the performance of Advanced Life .
                             Support. This sixteen hour course included didactic, practical skills and testing
                             sessions. Students were instructed in the assembly, inspection and
                             maintenance of equipment necessary for intravenous therapy, medication
                             administration, cardiac monitoring, defibrillation/cardioversion and intubation.

      1989-present          ‘Advanced Life Support for theBasic Emergency Technician
                             This course was designed to allow Emergency Medical Technicians to administer
                             albuterol for bronchospasm, nitroglycerin for ischemic chest pain and
                             epinephrine for anaphylaxis. This twelve hour course included didactic, practical
                             Skills and testing sessions. Both a student and instructor text was written for this
                             program. Students in this training program are part of a study to determine the
                             ability of Basic Emergency Medical Technicians to administer advanced life
                             support interventions. After adoption by New York State program, | revised this
                             program in 2000.


Grand Rounds:
                             Orange Regional Medical Center, November 2011
                             Pediatric Trauma

                             UCLA Children’s Hospital, August 2010
                             Pediatric Preparedness for Disasters, Terrorism and Public Health Emergencies

                             Maria Fareri Children’s Hospital, September 2009
                             H1N1 and Pandemic Influenza Overview

                             Norwalk Hospital, September 2009
                             H1N1 and Pandemic Influenza Overview

                             Maria Fareri Children’s Hospital, September 2007
                             Evidenced Based Resuscitation and First Guidelines

                             Northern Westchester Hospital, March 2007
                             Pediatric Disaster Considerations

                             Phelps Hospital, January 2006
                             Pediatric Disaster Considerations

                             Maria Fareri Children’s Hospital, September 2005
                             Pediatric Disaster Considerations

                             Methodist Hospital, May 2005
                             Pediatric Disaster Considerations

                             Flushing Hospital Medical Center, March 2005
                             Pediatric Disaster Preparedness

                            Long Island College Hospital, January 2005
                            Pediatric Disaster Medicine

                            Beth Israel Medical Center, October 2004




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                             Pediatric Disaster Medicine

                             Israel Ministry of Health and Home Front Command, October 2003
                             Pediatric Disaster Medicine

                             Oklahoma Medical Center, December 2002
                             Pediatric Disaster Medicine

                             Harlem Hospital Center, February 2001
                             Conscious Sedation

                             New York Hospital Queens, December 2000
                             Seizure and Status Epilepticus, A Pediatric Perspective


Invited Presentations:

                             Speaker, International First Aid Education Conference
                             Canadian Red Cross, April 2018
                             Future of First Aid Education

                             Speaker, International First Aid Education Conference
                             Canadian Red Cross, April 2016
                             Evidence Based Education

                             Speaker, Emergency Preparedness Conference
                             Joint Commission Resources, April 2012
                             Alternate Care Site Planning

                             Speaker, Trauma Symposium
                             Good Samaritan Hospital, November 2011
                             Presented session on Pediatric Trauma

                             Speaker, Canadian Association of Emergency Physicians 2011 Annual
                             Conference
                             Canadian Association of Emergency Physicians, June 2011
                             Presented session on ACLS 2010- Update and Controversies

                             Workgroup Leader, Pediatric Disaster Preparedness Curriculum Development
                             Conference
                             National Center for Disaster Medicine and Public Health, March 2011
                             Presented session on Pediatric Preparedness Curriculum for Prehospital
                             Providers

                             Speaker, Second European First Aid Manual Development Meeting
                             Belgium and German Red Cross, February 2011
                             Presented session on Evidence Based First Aid Guidelines

                             Speaker, European First Aid Manual Development Meeting
                             Belgium Red Cross, January 2011
                             Presented session on Evidence Based First Aid Guidelines

                             Speaker, Disaster Symposium
                             UCLA Health System, November 2010
                             Presented session on Special Population Management in Disasters: Pediatrics




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                             Speaker, Experiences from the Front Line: H1N1 Conference
                             Medical Society of the State of New York, May 2010
                             Presented session on Novel Influenza A (H1N1): Pandemic Pediatric
                             Implications

                             Roundtable Presenter, Public Health Preparedness Summit 2009
                             Presented session on Pediatric Preparedness Guidelines

                             Workshop Leader and Presenter, Public Health Preparedness Summit 2009
                             Lead workshop and presented on Alternative Care Site as Post-Conference
                             Workshop

                             Speaker, FEMA Urban Hazards Forum V: Conference on Emergency
                             Preparedness for Special Needs Populations, August 2008
                             Presented session on All Inclusive Emergency Preparedness: Pediatric
                             Improvements and Challenges Which Remain

                             Speaker and Panel Member, Pediatric Reunification Meeting
                             Los Angeles Children’s Hospital, June 2008
                             Presented sessions on Pediatric Disaster Reunification

                             Faculty , Workshop Consensus Recommendations on Pediatrics and Special
                             Populations During Disasters and Public Health Emergencies
                             Pediatric Academic Societies, 2007.

                             Faculty, Harvard Pediatric Post Gradate CME Course
                             Harvard Department of Pediatrics, December 2007
                             Presented sessions on Pediatric Disaster preparedness and Pediatric
                            Assessment

                            Speaker, Homeland Security WMD Affiliate Faculty Training
                            Presented sessions on pediatric anatomy, physiology, development and
                            emergency preparedness, June 2007

                            Speaker Michigan Preparedness Conference
                            Michigan Department of Public Safety, May 2007
                            Presented session on unique aspects of pediatric disaster and terrorism
                            preparedness

                            Speaker National Allergy and Asthma Network
                            Case Western Reserve Medical Center, May2007
                            Presented session on unique aspects ¢of pediatric emergency preparedness for
                            childen with chronic illness

                            Speaker Case Western Regional Disaster Conference
                            Case Western Reserve Medical Center, April 2007
                            Presented session on unique aspects of pediatric disaster and terrorism
                            preparedness

                            Workshop Leader Public Health Preparedness Summit
                            National Association of County and City Health Officials, February 2007
                            Conducted workshop on unique aspects of disaster, public health and terrorism
                            preparedness for special populations including children and persons with
                            disabilities

                            Faculty Pediatric Critical Care Current Concepts Course



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                             Society of Critical Care Medicine Annual Meeting, February 2007
                             Presented session on unique aspects of pediatric disaster and terrorism
                             preparedness

                             Speaker Internal Conference on Disaster Medicine,
                             February 2007
                             Presented session on unique aspects of pediatric disaster and terrorism
                             preparedness

                             Speaker Morristown Medical Center Pediatric Emergency Medicine Update
                             Morristown Medical Center, May 2005
                             Presented session on unique aspects of pediatric disaster and terrorism
                             preparedness

                             Faculty Fundamental Disaster Medicine course, January 2005
                             Faculty for Society of Critical Care Medicine Annual Meeting CME Course on
                             Disaster Preparedness.

                             Course Director and Presenter Westchester Emergency Preparedness Academy
                             Westchester American Red Cross, December 2004
                             Directed and presented at 1 day CME academy on emergency preparedness

                             Presenter, Preparedness Conference
                             Michigan Office of Public Health Preparedness Conference, December 2004
                             Presented sessions on Pediatric Disaster Medicine

                             Presenter Native American EMS Conference, November 2004
                             Presented sessions on Pediatric Disaster Medicine and Child Maltreatment

                             Presenter EMS Expo, October 2004          .
                             Lectured on Pediatric Disaster Medicine and Child Protection

                             Presenter Heartland EMSC Conference, September 2004
                             Faculty for conference and presented on topic of the needs of children in
                             disasters

                             Speaker WMD Affiliate Faculty Training
                             Presented sessions on pediatric anatomy, physiology, development and
                             emergency preparedness

                             Presenter AHRQ Surge Capacity Web Cast July 2004
                             Presented sessions on Pediatric Disaster and Terrorism Surge Capacity
                             Considerations

                             Presenter EMS for Children Annual Conference June 2004
                             Presented sessions on Pediatric Disaster and Terrorism Preparedness for EMS

                             Presenter Westchester Medical Center Preparedness Conference June 2004
                             Presented sessions on Pediatric Disaster and Terrorism Preparedness for EMS

                             Presenter HRSA Bioterrorism Curriculum Development Conference May 2004
                             Presented sessions on Pediatric Terrorism Preparedness Education

                             Presenter AHRQ Workshop for State Officials on BT and Other Preparedness
                             Tools, May 2004




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                             Presented sessions on Pediatric Disaster Medicine, Pediatric Terrorism
                             Preparedness and Hospital Preparedness

                             Presenter Pediatric Academic Societies, April 2004
                             Presented sessions on Pediatric Disaster Medicine and Hospital Preparedness

                             Presenter Greater New York Hospital Association, January 2004
                             Presented sessions on Pediatric Disaster Medicine and Hospital Preparedness

                             Presenter New England Regional EMSC Conference, November 2003
                             Presented sessions on Pediatric Disaster Medicine and Child Maltreatment

                             Presenter Native American EMS Conference, November 2003
                             Presented sessions on Pediatric Disaster Medicine and Child Maltreatment

                             Presenter National Association of EMTs Conference, September 2003
                             Presented sessions on Pediatric Disaster Medicine and Critical Care

                             Presenter Illinois Bioterrorism Summit, June 2003
                             Presented session on Pediatric Disaster and Terrorism Preparedness

                            Speaker Pacific Region EMSC Conference, June 2003
                            Presented session on Pediatric Disaster Preparedness

                            Presenter CARE Conference, January 2003
                            Presented session on Pediatric Disaster Medicine

                            Presenter AED and Schools a National Forum, January 2003
                            Presented session on Pediatric Defibrillation

                            Presenter NYS Vital Signs EMS Conference, November 2002
                            Faculty for Preconference Pediatric Colloquium and conference session in
                            Mandate Reporting

                            Presenter Southeastern Regional EMSC Conference, September 2002
                            Faculty for conference and presented on topic of the needs of children in
                            disasters

                            Presenter Emergency Cardiac Care Update, September 2000
                            Presented session on Pediatric Defibrillation the NYC and London Experience

                            Presenter Red River/South Central Regional EMSC Conference, August 2002
                            Faculty for conference and presented on topic of the needs of children in
                            disasters                                   |

                            Presenter EMSC National Congress, April 2002
                            Presented lead lecture during special session on Pediatric Cardiac Arrest
                            Defibrillation

                            Presenter NAEMSP 2002 Annual Meeting, January 2002
                            Presented lead lecture during special session on Pediatric Defibrillation

                            Faculty NAEMT 2001 Annual Meeting, October 2001
                            Faculty for Pre-Conference Pediatric Prehospital Care Course National Roll-Out

                            Faculty National Association of EMS Educators Meeting, September 2001



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                               Presented lecture on Children with Special Health Care Needs

                               Faculty National Resource Center Child Neglect Meeting, July 2001
                               Presented research on child maltreatment knowledge and attitudes of EMS
                               providers

                               Presenter Emergency Medical Services for Children Grants Meeting, June, 2001
                               Presented summary of design and objectives of an on-going EMS for Children
                               grant to study EMS providers knowledge and attitude towards child maltreatment

                               Faculty NAEMT 2000 Annual Meeting, October 2000
                               Faculty for Pre-Conference Pediatric Prehospital Care Course

                               Faculty EMSC National Congress, March 2000
                               Faculty for Panel of EMSC Protocols Development and Implementation and
                               Presenter for session on the State of the Art in Asthma Treatment

                               Faculty NAEMSP 2000 Annual Meeting, January 2000
                               Faculty and Moderator for Pediatric Track and Faculty for Post-conference
                               Workshop on Development Workshop to Create a Teaching Resource for
                               Instructors in Prehospital Pediatrics for Paramedics

                               Faculty NAEMT 1999 Annual Meeting, October 1999
                               Faculty for Conference Workshop on a Teaching Resource for Instructors in
                               Prehospital Pediatrics for Paramedics

                               Faculty NAEMSP 1999 Annual Meeting, January 1999
                               Faculty for Post-conference Workshop on Development Workshop to Create a
                               Teaching Resource for Instructors in Prehospital Pediatrics for Paramedics

                               Faculty Virginia EMS Symposium, November 1998
                               Lead Faculty for Update on Prehospital Pediatrics Workshop

                               Faculty Regional EMS Council of New York City Instructor Update, June, 1998
                               Course Faculty

                               Faculty Vital Signs 97: NYS Annual EMS Conference, November, 1997
                               Course Faculty for Pre-Conference Workshop

                               Faculty National Association of EMS Educators Annual Education Symposium,
                               September, 1997
                               Participated in Workshop— Rollout of the Teaching Resource for Instructorin
                               Prehospital Pediatrics

                               Faculty Louisiana Association of Nationally Registered EMTs Annual
                               Conference, June, 1997                                        |
                               Conducted lecture on EMS — Children, The Program: EMS Services as the
                               Relate to pediatric Emergency Services —

                               Faculty National Association of EMS Physicians Conference, January, 1996
                               Conducted workshop on Pediatric EMS Education for Medical Directors and
                               EMS Educators

                               Faculty NYS Department of Health Vital Signs Conference, November, 1995
                               Conducted workshop on Pediatric EMS Education for NYS EMT's, Paramedics
                               and Instructors



                                                          37                                   Revised 6/6/2019



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D. Markenson, MD, CV, Continued




                             Faculty Connecticut Department of Health EMS Conference, March 1995
                             Lectured on Pediatric Assessment and Respiratory Emergencies to EMT's and
                             Paramedics

                             Presenter Emergency Medical Services for Children Projects Meeting, February,
                             1995
                             Presented summary of design and objectives of an on-going EMS for Children
                             grant to develop an Instructor's Resource for Teaching Prehospital Pediatrics

                             Presenter Food and Drug Administration and National institute of Health Public
                             Forum on Informed Consent in Clinical Research Conducted in Emergency
                             Circumstances, January, 1995
                             Presented oral and written testimony on the impact of the current FDA and NIH
                             regulations on Pediatric and Prehospital emergency medicine research

                            Course Leader American Red Cross Eastern Territory HIV/AIDS 1.T. Workshop,
                            January, 1990
                            Designed and conducted initial training of Instructor Trainers for the Eastern
                            Territory of the American Red Cross in the Centers for Disease Control and
                            American Red Cross HIV/AIDS Education Program.

                             Lead Lecturer American Red Cross Eastern Territory Water Safety Retraining,
                             December, 1989
                             Organized and lectured on changes in course delivery due to changes in
                             educational materials used in American Red Cross Water Safety Courses

                            Guest Lecturer Schenectady American Red Cross Aquatics Facility Manager
                            Workshop, June, 1989
                            Lectured on establishing an emergency action plan and interacting with the local
                            EMS system.

                             Lead Lecturer American Red Cross Eastern Territory Standard First Aid
                             Regional Retraining, June, 1989
                             Organized and lectured on changes in course delivery due to changes in
                             educational materials used in American Red Cross First Aid Courses.

                            Lead Lecturer American Red Cross Eastern Territory CPR Regional Retraining,
                            June, 1988                                                                  ,
                            Organized and lectured on changes in course delivery due to 1985 ECC
                            standards and changes in educational materials used in American Red Cross
                             CPR Courses.




                                                       38                           .        Revised 6/6/2019



                                                                                                      JA4348
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 D. Markenson, MD, CV, Continued




 Other Administrative Responsibilities
 State and Regional Committee Membership:
  American College of Emergency Physicians
_ New York Chapter Key Contacts- Member 1993 to 2001
  EMS Committee - Member 1994 to 2003

 American Academy of Pediatrics
 District || Committee on Emergency Medical Services for Children
                                                                - Member 1993 to 2000

 American    Red Cross
 American    Red Cross Mile High Chapter  — Member, Board of Directors 2014 - - present
 American    Red Cross of Westchester County  - Member, Board of Directors 2004 to 2008
 American    Red Cross of Greater N.Y. Bronx Safety and Health Committee Chairman 1991 to 1992

 American Heart Association
 New York City Affiliate Pediatric Advanced Life Support Subcommittee - Member 1994 to 2001
 New York City Affiliate Pediatric Advanced Life Support Regional Faculty - 1994 to 2001

 Arapahoe. Douglass Ebert Medical Society
 Board Member 2013 to present
 President 2015 to present
 President-Elect 2014

 Colorado Medical Society
 Nominated for President-Elect
 Treasurer 2017 — present
 Board Member 20176 - present

 Medical Society of the State of New York
 Committee on Emergency Medical Services - Member 1996 to 2000
 Committee on Child Abuse and Domestic Violence - Member 1997 - 2000

 Regional Emergency Medical Services Council
 Regional Emergency Medical Services Council - Altemate Member Fall 1994 to 1996
 Education and Training Sub - Committee - Member 1995 to 1999

 Regional Emergency Medical Advisory Council
 Regional Emergency Medical Advisory Council - Alternate Member Fail 1994 to 2000
 Advanced Life Support Testing and Training Subcommittee - Member 1993 to 2000
 Basic Life Support Sub - Committee - Member 1993 to 2000
                                                                            -
 Basic Life Support Quality Assurance/Quality Improvement Subcommittee Member 1993 to 2000
 Basic Life Support Research and Development Subcommittee - Vice-Chair 1993 to 2000

 Schenectady Emergency Medical Services Council Committees:
 Emergency Medical Services Council - Member 1988 to 1990

 Schenectady County Fire Coordinator's Office
 Emergency Medical Services Liaison 1988 to 1990

 EMS Experience:

 Board of Directors Center for Pediatric Emergency Medicine, New York, N.Y.
 Helped to found and currently direct center for pediatric emergency medicine research, injury prevention,
 education and EMS for Children




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                                                                                                     JA4349
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D. Markenson, MD, CV, Continued




Associate Director and Educational Coordinator New York City EMS for Children Project, New York, N.Y.
Worked on project, which provides training and medical oversight ofEMS for Children in New York City.

Medical Director North Salem Volunteer Ambulance Serve
Served as medical director for ALS volunteer ambulance service

Coordinator of Training Upper East Side Attala Volunteer Ambulance Service, New York, N.Y.
Planned and conducted ail training activities and responded to emergencies as a paramedic.

Director and Paramedic Union College Emergency Medical Service, Schenectady, New York
Founded and served as first director of college ambulance service.




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   EXHIBIT 3




                                                                  JA4351
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                           Dr. David Markenson

 1              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 2                       CIVIL ACTION NO. 18-5629
 3

       MONIQUE RUSSELL, JASMINE                      :
 4     RIGGINS, ELSA M. POWELL,                      :
       and DESIRE EVANS,                             :
 5                                                   :
                              Plaintiffs,            :
 6                                                   :
                      vs.                            :
 7                                                   :
       EDUCATIONAL COMMISSION FOR                    :
 8     FOREIGN MEDICAL GRADUATES,                    :
                                                     :
 9                            Defendant.             :
10
11                            Deposition of DR. DAVID
12     MARKENSON taken in the above-entitled matter
13     before Suzanne J. Stotz, a Certified Realtime
14     Reporter, Registered Professional Reporter, and
15     Notary Public of the State of Colorado, taken
16     at the WESTIN DENVER AIRPORT, 8300 Pena
17     Boulevard, Denver, Colorado 80249, on
18     October 22, 2019, commencing at 10:14 a.m.
19
20
21
22
23
24

Golkow Litigation Services                                          JA4352
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 1            A.         I have not.         I have no part of
 2     those records.
 3            Q.         Have you ever played a role in
 4     hiring any medical school graduates into
 5     residency programs?
 6            A.         Yes.
 7            Q.         At what residency programs?
 8            A.         I served as what's known as the DIO
 9     or designated institutional official for
10     multiple hospitals while I was VP of GME for
11     Hospital Corporation of America.
12            Q.         Where was that located?
13            A.         There were several -- a multitude
14     of hospitals.
15            Q.         You can take a minute to explain
16     just briefly so I understand.
17            A.         Yes.     I served for what was known
18     as HealthONE, which were hospitals in the
19     greater Denver area; for -- what was the
20     hospital called -- a hospital in Kansas City.
21     I'm totally blanking.
22            Q.         Your C.V. is there in case it's
23     helpful for you.
24            A.         Yeah.      I'm trying to remember the
Golkow Litigation Services                                          JA4353
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 1     name of the one.           So it was Research Medical
 2     Center in Kansas City which oversaw the --
 3     included the hospitals in the Kansas City area
 4     that were owned by HCA, Ogden Regional Medical
 5     Center which included the Salt Lake City
 6     hospitals owned by HCA and Eastern Idaho
 7     Regional Medical Center.
 8            Q.         Were the residency programs
 9     involved in those medical centers only about
10     pediatric emergency or critical care?
11            A.         No, they were not.
12            Q.         All right.        So it was a broader
13     range of residency programs?
14            A.         Yes, it was.
15            Q.         Was it the full range of residency
16     programs available at those hospitals?
17            A.         I'm not sure what you mean.
18            Q.         Yeah.      So I'm not trying to ask you
19     a trick question in any sense.                   I'm just trying
20     to understand in your role as DIO for these
21     organizations that we were just referring to,
22     were you overseeing the admission to the
23     residency programs for all the residency
24     programs that those facilities offered at any
Golkow Litigation Services                                          JA4354
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 1     given time?
 2            A.         I was involved -- the decision is
 3     the program director's, but I oversee the
 4     processes, procedures, and the program
 5     directors.
 6            Q.         Have you ever served as the program
 7     direct for any residency programs?
 8            A.         No, I have not.
 9            Q.         Have you ever interviewed anybody
10     applying to a residency program?
11            A.         Yes, I have.
12            Q.         Approximately how many times?
13     Hundreds?        Five?     You know, somewhere --
14            A.         Probably not hundreds, but close to
15     it.
16            Q.         Okay.      So a large number of times?
17            A.         Yes.
18            Q.         In your experience -- in your
19     various roles, was an interview always involved
20     before a resident would get offered a residency
21     program as far as you're aware?
22            A.         In most cases, the last step after
23     all the screening that is done, you know,
24     verification of board scores, eligibility for
Golkow Litigation Services                                          JA4355
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 1                       What else, in your experience, is
 2     involved in the offering of a residency
 3     position to a resident?
 4            A.         The initial screening is done to
 5     make sure that the person is eligible for
 6     residency.        So presence of medical school
 7     graduation, confirmation, or ECFMG
 8     certification.
 9                       So it's sort of that's the first
10     step.     If they don't graduate medical school or
11     they don't have an ECFMG certification, the
12     process would stop.
13            Q.         Okay.
14            A.         Following that process, one that
15     has letters of reference, Dean's
16     recommendation, board scores; and there's
17     usually a cutoff to determine of those who then
18     obtain an interview.
19            Q.         When you say "of those," you mean
20     cutoff of the board scores?
21            A.         Board scores, letters of reference,
22     recommendations.
23            Q.         Any other information collected or
24     reviewed in connection with residency program
Golkow Litigation Services                                          JA4356
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 1     applications that you recall, you know, sitting
 2     here today?
 3            A.         Usually not, no.
 4            Q.         Is there usually an application
 5     form, like, they actually fill out like a job
 6     application?
 7            A.         They don't anymore.             It's all done
 8     through the electronic system called ERAS.
 9            Q.         Okay.      Previously, do you know
10     whether there had been applications to
11     residency programs in, say, the 2011 time
12     frame?
13            A.         There would have not been.                 They
14     would have all been ERAS.
15            Q.         Even then?
16            A.         Yes.
17            Q.         In your experience, do residents
18     get paid?
19            A.         Yes, they do.
20            Q.         Do they get paid through any
21     sources of funding in particular?
22            A.         The hospital pays them.
23            Q.         Does the hospital typically
24     withhold taxes?
Golkow Litigation Services                                          JA4357
                                                                       Page 43
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 1            A.         Typically, yes.
 2            Q.         When you say "typically," do you
 3     know of any circumstances when they don't
 4     withhold taxes?
 5            A.         I believe it's different -- sorry.
 6     Hospitals employ them or the university
 7     sometimes does.           Withholding is done as would
 8     be per whatever the employment standards are
 9     for taxes and other fees.
10            Q.         Which would require, in addition to
11     other potential information, a social security
12     number?
13            A.         That is correct.
14            Q.         Do you know what the source of the
15     social security number is for residents coming
16     into residency programs?                So I can say that
17     another way.         Strike that.          Let me restate
18     that.
19                       Do you know from where the
20     residency programs get the social security
21     number for the applicants coming to them?
22            A.         Again, I'm not involved in the HR
23     department, but my understanding is it comes
24     from the applicant.
Golkow Litigation Services                                          JA4358
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 1            Q.         In your experience in hiring
 2     residents or residency programs, what, if
 3     anything, was done with the letters of
 4     reference that were submitted?
 5            A.         Letters of reference are submitted
 6     through ERAS and then become part of an
 7     electronic file that the program director can
 8     review.
 9            Q.         Do you know if anything else was
10     done typically other than just review them?
11            A.         Typically they're just read by the
12     residency director.             Sometimes they would also
13     be read by an interviewer prior to an
14     interview.
15            Q.         Do you know if there was anything
16     done typically to validate that the letters of
17     recommend were legitimate?
18            A.         I know that -- I've never -- I've
19     never seen a residency program do it, and I do
20     not believe that ERAS's normal procedures --
21     sorry -- are to verify them.
22            Q.         You mentioned a Dean's
23     recommendation.           What is that?
24            A.         So for graduates of U.S. medical
Golkow Litigation Services                                          JA4359
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 1     schools, typically the Dean writes a letter for
 2     every graduate, which summarizes their medical
 3     school experience and provides evaluation of
 4     the student.
 5            Q.         And for U.S. medical school
 6     graduates, you said that as an initial
 7     screening for eligibility, there would be
 8     verification of medical school graduation; is
 9     that correct?
10            A.         Correct.
11            Q.         How would that usually be
12     accomplished in your experience?
13            A.         Through the ERAS process.
14            Q.         What do you mean by that?
15            A.         The programs themselves don't do
16     it.    It's done in the ERAS system.                   So that's
17     the program that the residents apply through,
18     and that program does the verification of the
19     medical school.
20            Q.         For lack of a better term, is it
21     like a portal you can log into and check or
22     how --
23            A.         It's a portal you can log into and
24     check.
Golkow Litigation Services                                          JA4360
                                                                       Page 46
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 1            Q.         Do you still have any role or
 2     responsibilities for any residency programs?
 3            A.         Not directly anymore.
 4            Q.         When you say "not directly," do you
 5     indirectly?
 6            A.         I serve on a national committee
 7     with the ACGME.
 8            Q.         What role do you serve with ACGME?
 9            A.         They have a committee that oversees
10     what's known as their clear clinical learning
11     environment review program, and I serve on that
12     committee.
13            Q.         What does the clear committee do?
14            A.         It helps them set the standards for
15     the Clear Evaluation program.
16            Q.         What is the Clear Evaluation
17     program?
18            A.         It evaluates hospitals' learning
19     environments for residencies.
20            Q.         Is that there accreditation
21     program?
22            A.         It is separate from the
23     accreditation.
24            Q.         Is it a higher level than
Golkow Litigation Services                                          JA4361
                                                                       Page 47
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 1            Q.         So is your participation with the
 2     clear evaluation process, are you sitting on a
 3     committee of ACGME?
 4            A.         Committee, yes.
 5            Q.         Is that a volunteer position?
 6            A.         Yes, it is.
 7            Q.         And when did you begin that?
 8            A.         I believe about a year and a half
 9     ago.
10            Q.         Any other current involvement in
11     residency programs?
12            A.         Not direct, no.
13            Q.         Not directly, but anything else
14     indirectly?
15            A.         I still have academic appointments
16     at Columbia University in New York -- sorry,
17     Colorado university and New York Medical
18     College.       So I could be asked to give a lecture
19     from time to time within Colorado or in
20     New York to residents.
21            Q.         Do residents typically get
22     lectures?
23            A.         Yes.
24            Q.         So just so that I understand, would
Golkow Litigation Services                                          JA4362
                                                                       Page 49
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 1            A.         As chief medical officer with
 2     Sky Ridge and my prior role with Westchester
 3     Medical Center as chiefs of services, in some
 4     cases, I would have directly been hiring staff
 5     members for my department.                 In more senior
 6     leadership role, I may have been more involved
 7     in not hiring, but contracting groups to
 8     provide physicians or occasionally involved in
 9     recruitment of certain, you know, high-need
10     specialties.
11            Q.         When you refer to staff members
12     just now, were you talking about physicians?
13            A.         Yes.
14            Q.         In your experience, can you just
15     briefly explain what's involved in the
16     interviewing and hiring of a physician?
17            A.         Highly variable depending on who it
18     is and which role.            So very different.
19            Q.         In your experience, do the
20     hospitals do any sort of background check or
21     identification confirmation of any sort when
22     hiring a physician?
23            A.         At the -- it depends on the
24     facility.        You know, when -- some facilities
Golkow Litigation Services                                          JA4363
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 1     you're being asked to provide?
 2            A.         I believe it was on my expectations
 3     from of ECFMG's certification of a physician as
 4     it relates to its use, you know, within
 5     hospitals of privileging, credentialing,
 6     residency application.
 7            Q.         Would you consider yourself an
 8     expert on policies and procedures for
 9     organizations like ECFMG, USMLE, and the like?
10            A.         I would consider myself an expert
11     on verification of medical school credentials
12     and the use of them.
13            Q.         Would you consider yourself to be
14     an expert on ECFMG's policies and procedures or
15     USMLE policies and procedures for entities like
16     that?
17            A.         I would, yes, on the processes,
18     yes.
19            Q.         When's the last time you reviewed
20     USMLE's policies and procedures?
21            A.         I probably looked over what's
22     publicly available when I was involved with
23     residencies.
24            Q.         Have you ever discussed USMLE
Golkow Litigation Services                                          JA4364
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 1     BY MS. McENROE:
 2            Q.         How do you evaluate the standard of
 3     care that you say is applicable to ECFMG'S
 4     certification process?
 5            A.         Sure.      One is how they hold
 6     themselves out; but two, there are other
 7     entities that, as part of their process, are
 8     required to verify medical school completion.
 9     That would be licensing boards, hospitals for
10     part of the -- sorry, not process of
11     privileging -- credentialing process for which
12     there are accepted standards by Joint
13     Commission, Centers for Medicaid Services.
14            Q.         So those other -- in the second
15     category, those others you're saying are
16     required to verify medical school credentials,
17     they also are verifying graduates' medical
18     credentials as well?
19            A.         Correct.       For a U.S. medical
20     graduate, you're required to do primary source
21     verification.
22            Q.         I thought you had said that took
23     place through ERAS?
24            A.         For credentialing and privileging,
Golkow Litigation Services                                          JA4365
                                                                      Page 189
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 1     ERAS is not part of the credentialing and
 2     privileging.         That's for residents.
 3            Q.         And do you know whether
 4     credentialing and privileging uses ECFMG
 5     certification as opposed to how you U.S.
 6     graduates no longer use ERAS at that point in
 7     the process?
 8            A.         So for credentialing, you would do
 9     primary source verification for an American
10     grad -- sorry, U.S. grad; and for a foreign
11     grad, you use ECFMG to attest to the primary
12     source verification.
13            Q.         Do you know that that's true for
14     all hospitals?
15            A.         That is Joint Commission and CMS's
16     accepted approach.
17            Q.         So that's accepted if a hospital
18     were to primary source verify themselves, you
19     don't think that would be sufficient?
20            A.         For a foreign grad?
21            Q.         Yeah.
22            A.         As far as I know, they could; but
23     hospitals in the U.S., the standard is to use
24     ECFMG.      I don't know of a prohibition against
Golkow Litigation Services                                          JA4366
                                                                      Page 190
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 1     them doing it.
 2            Q.         So you're applying the standard of
 3     care that you view to be the standard of care
 4     that applies to U.S. applicants?
 5            A.         To verification of medical school
 6     graduates.
 7            Q.         To the application -- to the
 8     verification of U.S. medical school graduates;
 9     is that what you're saying?
10            A.         To the standard that, yeah, primary
11     source would be done.
12            Q.         For U.S. graduates?
13            A.         Predominantly for U.S. graduates,
14     yes.
15            Q.         When you say "predominantly," I'm
16     just trying to understand is there some other
17     measure you're using for anyone other than
18     ECFMG to measure the standard of care for ECFMG
19     for foreign medical graduates?
20            A.         What I'm saying is I'm using the
21     standard as applied -- that others use to do
22     the primary source verification.
23                       There are multiple processes that
24     use primary source verification.                    In the
Golkow Litigation Services                                          JA4367
                                                                      Page 191
  Case:2:18-cv-05629-JDW
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 1     setting of foreign grads, ECFMG does it for
 2     foreign medical school graduation.                     And I'm
 3     using the standard within healthcare for
 4     primary source verification, examples being
 5     credentialing as one of them.
 6            Q.         Are you using as a standard of care
 7     any other entity's primary source verification
 8     for foreign medical graduates?
 9            A.         Other sources?           No.
10            Q.         Other than poking around on ECFMG'S
11     website and documents provided to you by
12     counsel in this case, do you have any other
13     basis to understand or know the policies and
14     procedures ECFMG had in place at the relevant
15     time?
16            A.         The only information I have is from
17     ECFMG'S website and what was provided via
18     counsel to counsel.
19            Q.         You didn't do any other
20     investigation into ECFMG'S policies and
21     procedures?
22            A.         I did not.
23            Q.         We've discussed a little bit
24     earlier -- I know some of the names get a
Golkow Litigation Services                                          JA4368
                                                                      Page 192
  Case:2:18-cv-05629-JDW
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 1     to be documented, articulate how the process of
 2     certification occurs should be documented.
 3            Q.         And on what basis are you saying
 4     that?
 5            A.         As what I -- as a standard that
 6     would be followed for a certifying body.
 7            Q.         What kind of certifying body?
 8            A.         There are a multitude of certifying
 9     bodies, those that do board certification,
10     those that do residency accreditation.
11            Q.         Do you consider yourself to be an
12     expert on ECFMG'S policies and procedures?
13            A.         I'm not sure what you mean by that;
14     but since at the time they apparently, as far
15     as I know, didn't have them, I'm not sure what
16     you mean by an expert on them.
17            Q.         Are you considering yourself to be
18     an expert on the way ECFMG conducted themselves
19     in the 1990s?
20            A.         I'm not -- I'm not ECFMG.                I'm
21     saying I consider myself to be knowledgeable
22     about at that time what the standard would be
23     for primary source verification, which is the
24     function they achieved and held themselves out
Golkow Litigation Services                                          JA4369
                                                                      Page 211
  Case:2:18-cv-05629-JDW
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 1     for international medical graduates and what a
 2     certification body should do to memorialize
 3     their policies and procedures to assure it
 4     meets standards.
 5            Q.         When you say "a certification
 6     body," what sort of certification bodies do you
 7     have personal experience with?
 8            A.         Certification bodies?              Well, I've
 9     worked, obviously, within -- we -- within
10     hospitals, we do certification of physicians'
11     credentials and privileges.
12                       I've worked ACGME about residency
13     certification.
14                       I've worked with professional
15     organizations for fellowship certification.
16            Q.         So those are at different stages in
17     the medical career progression timeline, if you
18     will; is that correct?
19            A.         They are at different stages, yes.
20            Q.         Have you ever had any role or
21     involvement with some of the threshold, if you
22     will, issues as you had articulated it before
23     for authentication of graduate -- or of medical
24     school graduation status?
Golkow Litigation Services                                          JA4370
                                                                      Page 212
  Case:2:18-cv-05629-JDW
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 1     articulated earlier on, about figuring out
 2     whether an international medical graduate had
 3     actually graduated from medical school?
 4            A.         So again, in terms of terminology,
 5     credentialing is obviously specific to an
 6     independent licensed practitioner in a
 7     hospital.
 8                       While as part of residency, we do
 9     have primary source verification either by the
10     facility as part of our HR process or ECFMG for
11     people entering residency.
12            Q.         Okay.
13            A.         And the standard has to be the same
14     because we're held to the same standard for
15     international as U.S.
16                       So I am involved in the U.S.
17     standard, but the ECFMG does that function for
18     us and holds themselves out; but the standard
19     has to be the same because the end product is
20     the same.        It's entering residency.
21            Q.         How is the U.S. standard
22     articulated?         Who controls that?
23            A.         For facilities, such as a hospital,
24     we rely upon Joint Commission; Centers for
Golkow Litigation Services                                          JA4371
                                                                      Page 214
  Case:2:18-cv-05629-JDW
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 1            A.         Again, since I wasn't provided them
 2     and all I have is the draft, I can't say that.
 3            Q.         So you don't know what the policies
 4     and procedures are as we sit here today?
 5            A.         I just know the standard.                I don't
 6     know what their -- I've asked for policies and
 7     procedures, and we haven't been provided any.
 8            Q.         You say "we."          You mean you haven't
 9     been provided any, correct?
10            A.         Uh-huh, correct.
11            Q.         Is it your opinion that ECFMG has a
12     duty or an obligation to make sure that
13     individuals it certifies never break the law?
14            A.         Again, I personally believe -- this
15     is from my expertise and knowledge -- that
16     ECFMG'S role is not as a law enforcement agency
17     but a certification body.
18            Q.         Okay.      And so I just want to make
19     sure I understand.
20                       So if ECFMG certifies someone and
21     they go on to commit tax fraud later on in
22     their career, would you then look back and hold
23     ECFMG accountable that they should have figured
24     that out?
Golkow Litigation Services                                          JA4372
                                                                      Page 217
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 1            A.         No.     But if in order to practice
 2     tax, they needed ECFMG certification to be
 3     licensed, then they would have never been
 4     allowed to practice tax.
 5                       So I don't -- I don't hold them
 6     accountable to law enforcement; but anything
 7     that an individual was allowed to do based on
 8     their certification, they do have culpability
 9     in that case.
10            Q.         So you think if a practitioner, a
11     physician, goes on to be a creep, a sexual
12     predator, is that somehow ECFMG'S fault if
13     ECFMG had certified that that person had, in
14     fact, graduated from medical school and passed
15     exams?
16            A.         Well, what they did was their
17     action at that point; but one has to
18     acknowledge that if ECFMG did not allow them
19     to -- did not certify them, allowing them to
20     obtain a license, they would not be a physician
21     at that point.
22            Q.         Right.      But there are U.S. graduate
23     physicians who go on to become creeps, right?
24            A.         There are.
Golkow Litigation Services                                          JA4373
                                                                      Page 218
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 1            Q.         Sexual predators.
 2                       MR. VETTORI:         Is that a technical
 3            term?
 4                       MS. McENROE:         I changed it to
 5            sexual predators.
 6     BY MS. McENROE:
 7            Q.         Okay.      Is that fair?
 8            A.         There are, yes.           Unfortunately,
 9     yes.
10            Q.         And do you deem that to be a
11     failure of the medical school community or, you
12     know, or is that that practitioner's fault that
13     they went on to be somebody who breaks the law?
14            A.         It is the practitioner's fault, but
15     there is well documented studies that show that
16     there are usually red flags throughout their
17     career if people intervene, that patient would
18     have never been harmed.
19            Q.         Usually, like, while they're
20     actually practicing medicine.
21            A.         No.     There's throughout their
22     entire career.          There's well documented studies
23     that show whether it's medical school
24     residency, application processes, there are
Golkow Litigation Services                                          JA4374
                                                                      Page 219
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 1     links throughout a career that could have
 2     stopped a progression of events.
 3            Q.         So I'm just struggling with the
 4     idea that this is like the ultimate Monday
 5     morning quarterbacking, right?                   You're saying
 6     this person ended up being a sexual predator.
 7     So looking back in history, we could pick up
 8     bread crumbs where someone could have, said,
 9     you don't graduate from middle school; you
10     don't graduate from high school; you don't
11     graduate from college.
12                       So I'm just trying to understand --
13                       MS. McENROE:         Let me finish my
14            question.
15                       MR. VETTORI:         I am.
16     BY MS. McENROE:
17            Q.         I'm just trying to understand how
18     it is you pick where in that line you assume
19     and assign all of the fault, as you have with
20     ECFMG in this case?
21                       MR. VETTORI:         Objection as to form.
22                       THE WITNESS:         Where I've assigned
23            fault is the area I was asked to opine on,
24            which is he would not have been able to
Golkow Litigation Services                                          JA4375
                                                                      Page 220
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 1            obtain licensure or enter a residency had
 2            ECFMG done the due diligence, picked up
 3            the red flags and not certified him or
 4            revoked the certification.
 5     BY MS. McENROE:
 6            Q.         So does your opinion basically boil
 7     down to an on/off switch, that if ECFMG had
 8     said he couldn't get a certificate, therefore,
 9     he wouldn't have been able to practice
10     medicine; is that what you're saying?
11            A.         Well, as part of application for
12     residency and licensure, there are certain
13     things that are binary, yes or no; and in the
14     absence of them, you don't proceed to any other
15     steps.
16                       ECFMG certification is a credential
17     that's binary.          You don't have it, you can't
18     get into residency.             Absent ECFMG
19     certification, you can't be licensed.                      It is a
20     binary, that all the other things downstream
21     don't occur towards licensure if that binary
22     doesn't occur.
23            Q.         So if we were to take a step
24     forward and say graduation from a residency
Golkow Litigation Services                                          JA4376
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 1     program is binary, off and on or, you know, one
 2     year of supervised practice, however you had
 3     described it is binary off and on, you either
 4     have that or you don't, that's another place
 5     along the line, right?              That would either
 6     on/off shut off the practicing medicine in the
 7     United States?
 8            A.         It depends on what the requirements
 9     were.
10            Q.         And further stepping down the line,
11     eventually getting to the point of getting a
12     medical license is also off and on that in any
13     given jurisdiction, if you don't have a medical
14     license, you should not be lawfully be
15     practicing medicine, correct?
16            A.         Yes.     Without a medical license,
17     you can't practice medicine.
18            Q.         So that's another off/on switch,
19     correct?
20            A.         A medical license is an off/on,
21     yes.
22            Q.         Even if you have a ECFMG
23     certificate?
24            A.         If you have an ECFMG certificate
Golkow Litigation Services                                          JA4377
                                                                      Page 222
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 1     but you don't have a license, yes, you cannot
 2     practice medicine.
 3                       Before you ask another question, is
 4     this an okay time to break?
 5            Q.         Sure.      Absolutely.
 6            A.         I saw you reading up.              I just
 7     wanted to make sure.
 8            Q.         Go ahead.
 9            A.         Thank you.
10                       MS. McENROE:         Let's take a break.
11                       (Discussion held off the record.)
12                       THE VIDEOGRAPHER:            The time is
13            2:10 p.m., and we are going off the
14            record.
15                       (Whereupon, a short break was
16            taken.)
17                       THE VIDEOGRAPHER:            The time is
18            2:20 p.m., and we are back on the record.
19     BY MS. McENROE:
20            Q.         We were just looking at your expert
21     report at Exhibit 4 before we went off the
22     record.
23                       Do you recall that, Dr. Markenson?
24            A.         Yes.
Golkow Litigation Services                                          JA4378
                                                                      Page 223
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 1            Q.         And on page 4, there is a, sort of
 2     the second full paragraph down, if you will --
 3     it's just one line.             It says, "ECFMG breached
 4     the standard of care in, among others, the
 5     following ways."
 6                       Do you see that?
 7            A.         Yes, I do.
 8            Q.         And then there's a number of
 9     entries, all starting with the word "failing"
10     on the rest of page 4 and at the top of page 5.
11                       Do you see that?
12            A.         Yes, I do.
13            Q.         And are those each an opinion that
14     you're offering in this case?
15            A.         Yes, that is.
16            Q.         Okay.      And we talked about the
17     standard of care a few minutes ago.
18                       Were you referring to the same
19     standard of care here that you have been
20     previously in your report?
21            A.         Yes.
22            Q.         Okay.      I'm not going to go through
23     every single one because some of them
24     conceptually we've talked about already, but
Golkow Litigation Services                                          JA4379
                                                                      Page 224
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 1     I'm going to talk about a couple of them just
 2     to make sure I understand.
 3                       So the third failing down, if you
 4     will -- I don't have a better way to refer to
 5     it -- says -- oh, no, you know what, we talked
 6     about that one already.
 7                       Keep on going down to the one that
 8     talks about the diploma from the University of
 9     Ibadan.       It says, "Failing to reasonably
10     investigate Akoda's diploma from the University
11     of Ibadan."
12                       Do you see that?
13            A.         Yes.
14            Q.         That looks like the fifth one down.
15            A.         Correct.
16            Q.         Which diploma are you talking about
17     because I don't believe I've seen a diploma
18     from the University of Ibadan with Akoda's name
19     on it?
20            A.         Let's see.        Can I go back to the --
21            Q.         Sure.      You can look at the exhibits
22     we were looking at.
23            A.         Thank you so much.             Yeah.
24                       I am wondering whether that is --
Golkow Litigation Services                                          JA4380
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   EXHIBIT 4




                                                                   JA4381
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                                 John C. Hyde, Ph.D., FACHE
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                                    4301 Highway 35 North
                                      Forest, MS 39074


September 23, 2019


Ms. Karen E. Evans
The Cochran Firm
Attorneys at Law
110 New York Ave., NW
Suite 340, West Tower
Washington, DC 20005


Dear Ms. Evans

        This opinion has been prepared in regards to the matter of: Russell, et al v. Educational
Commission for Foreign Medical Graduates, Case No. 2:18-cv-05629-JW. Currently, I am an
adjunct Professor of Healthcare Administration at the George Washington University teaching
healthcare management at the graduate level on a part-time basis; and, a full-time consultant in
the field of healthcare administration. Recently, I retired as a full-time university Professor of
health services administration and clinical outcomes research within an academic medical center
campus; with former appointments in the School of Health Related Professions and the School of
Medicine at the University of Mississippi Medical Center; and, in the School of Business at the
University of Mississippi. My academic activities involved: teaching graduate-level students in
areas of healthcare management; conducting health services research focusing on management
and clinical outcomes analysis; and, providing expertise and consultations to the healthcare
community at large. I have taught graduate level healthcare administration/outcome classes for
the past 28+ years. My doctorate, master, and bachelor degrees are all in the area of healthcare
administration. I have presented research findings at the regional, national and international
levels and published articles, books and monographs related to various areas of healthcare
delivery. I have provided lectures and addresses to international, national and regional audiences
in areas of healthcare administration.

        Additionally, I have approximately 10 years’ experience as a practicing healthcare
administrator and multi-system executive with specific knowledge and expertise in the areas of
physician credentialing/privileging, credential verification organizations, primary source
verification, regulators, and overall healthcare management procedures. I am board-certified as a
Certified Healthcare Executive (FACHE- Fellow) by the American College of Healthcare
Executives in the specialty of health care administration.

       Attached is my Curriculum Vitae which includes a list of all publications I have authored,
including those dealing with the credentialing process.




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       In the preparation of this preliminary opinion, I have examined the documents and
information listed below and based my opinions on my professional knowledge of prevailing and
prudent standards of healthcare administration which ultimately require an exercise of reasonable
application of the process of Credentials Verification and use of Primary Sources:


DOCUMENTS/INFORMATION REVIEWED:

Documents Received from Howard University
Documents Received from ECFMG
Documents Received from ABOG Production
ECFMG Information Booklet, ECFMG Certification and Application, 1996
Complaint
Virginia Department of Health Professions Order of Mandatory Suspension re Charles Akoda,
MD (2017)
Maryland State Board of Physicians Final Decision and Order re Charles Akoda, MD (2017)
Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)
ECFMG Complaint
Educational Commission for Foreign Medical Graduates Website (https://www.ecfmg.org/)
Hallock JA & Kostis JB (2006). Celebrating 50 Years of Experience: An ECFMG
Perspective, Academic Medicine, 81(12): S7-S16.
Hospital Accreditation Standards, The Joint Commission, 2008.
American Medical Association: Joint Commission acceptance of AMA Physician Masterfile
Data, 2004.
Credentialing by Medicare Advantage Organizations, presented by E. Enriquez, Nurse
Consultant, CMS Region II,

Depositions Reviewed:

Deposition of William C. Kelly, ECFMG with Exhibits (8/20/19)
Deposition of Stephen Seeling, JD, Vice President of Operations, ECFMG (9/16/19)
Deposition of Kara Corado, JD, Current VP of Operations ECFMG (9/10/19)


       Based upon a review of these identified documents/information, coupled with my
knowledge, training, education, experience and understanding of the practice of healthcare
management, I have formulated the following opinions in this matter. These opinions have been
based on regulations and industry standards that guide, and should guide the operations of a
credentialing verification organization (CVO), such as Educational Commission for Foreign
Medical Graduates (ECFMG).


SUMMARY OF EVENTS

1. ECFMG received two applications from John Nosa Akoda to take Steps 1 and 2 of the
USMLE examinations. The first on January 3, 1996, and again on August 30, 1996.




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2. After he successfully completed the required examinations, ECFMG issued certificate
number 0-553-258-5 to “Dr.”.Akoda. At some time in 1998, he provided ECFMG with social
security number xxx-xx- 9065.

3. Akoda entered the graduate residency program at Jersey Shore Medical Center on July 1,
1998. Shortly thereafter,, ECFMG received a Request for Permanent Revalidation of Standard
ECFMG Certificate from Akoda due to his having entered this program.

4.    On September 2, 1998, ECFMG sent a validated form.

5.    About two years later, in 2000, ECFMG was notified that the Jersey Shore Medical Center
graduate residency program where Akoda was enrolled was investigating allegations that Akoda
had used a social security number issued to a person named Oluwafemi Charles Igberase.
ECFMG advised Jersey Shore Medical Center that Akoda had provided ECFMG with social
security no. xxx-xx-9065 which was the same number Akoda provided to Jersey Shore Medical
Center.

6. On August 22, 2000, ECFMG acknowledged in a letter to Akoda that it had received
information alleging that Akoda may have engaged in irregular behavior.

7. Thereafter ECFMG sent a letter to Akoda acknowledging receipt of information from Jersey
Shore to which Akoda responded by representing to ECFMG that Igberase Oluwafemi Charles
was his cousin and admitting that he had used his cousin’s social security number. As proof of
his identity, Akoda provided ECFMG with a Nigerian passport and a Nigerian “international
driving permit.”

8. Ultimately, Jersey Shore Medical Center dismissed Akoda from its graduate residency
program because he used a false social security number and because the green card he provided
to the hospital was inconsistent with the other green card he provided. The social security
number “Dr.”Akoda used belonged to Charles Igberase, “his cousin”.

9. In December of 2000, an employee of ECFMG, William Kelly, wrote a memo which he said
should NOT be made a part of the official file, to the VP of Operations at ECFMG, Stephen
Seeling. In that memo, Mr. Kelly advised Mr. Seeling that both he and Jersey Shore believed
Igberase and Akoda were the same person. Then, curiously, Mr. Kelly concluded that there was
not enough information for the ECFMG Credentials Committee.

10. Thereafter in October 2006, Akoda used the ERAS of ECFMG to apply to Howard
University Medical Center’s residency program. He provided three letters of reference. ECFMG
attempted to verify the authenticity of these three letters of reference but was unsuccessful. It is
not the usual practice of ECFMG to seek to verify the authenticity of letters of reference from its
applicants.

11. Akoda successfully completed a graduate residency program at Howard University
Medical Center, was licensed to practice medicine in Maryland and Virginia, and was granted
privileges at Prince Georges’ Hospital Center.




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12. To obtain a license to practice medicine in Maryland, Akoda was required to submit,
among other essential components, a valid ECFMG certificate.

13. However, ECFMG should never have issued an ECFMG certificate to Charles Nosa
Akoda.

14. At the time of Akoda was issued an ECFMG certificate, ECFMG knew or should have
known that Charles Nosa Akoda was the same person as Oluwafemi Charles Igberase (aka
multiple alias). ECFMG knew or should have known that Charles Nosa Akoda was the same
person as Oluwafemi Charles Igberase (aka multiple alias) and that he had: a) previously lied
about not taking the required examinations, b) rearranging his name, c) that he had been
dismissed from the Jersey Shore residency program he used a false social security number to
apply to the hospital ( his ‘cousin’ Charles Igberase) and used two green cards documenting
different numbers, names, expiration dates, and dates of birth for “Dr. Akoda and his
certification had been previously revoked; d) that his ECFMG certification had been previously
revoked; that there were irregularities regarding the authenticity of his medical school diplomas,
and references.

15. On June 1, 2016, U.S. Attorney’s office indicted Mr. Akoda for fraud and aggravated
identity theft, citing eleven aliases including Charles John Nosa Akoda.

16. Using search warrants, law enforcement officers searched the home of Mr. Akoda on June
9, 2016, and discovered false: passports, social security numbers (ending 1623 under John
Charles N. Akoda), Nigerian passport, and US visa in Akoda’s name. They also found other
fraudulent or altered documents relating to immigration, medical diplomas, medical transcripts,
letters of recommendation and birth certificates.

17. On October 19, 2016, Mr. Akoda was indicted again on a charge of social security fraud,
false statements regarding a healthcare matter, an additional count of identity theft and fraud as
well as misuse of an immigration document.

18. Mr. Akoda ultimately entered into a plea bargain agreement and pled guilty to social
security fraud on November 15, 2016.

19. In the spring of 2017, Mr. Akoda’s license to practice medicine in Virginia and Maryland
was revoked.


AREAS OF EXAMINATION/RESPONSES

       1. ECFMG Mission/Requirements
               Since 1974, the Educational Commission for Foreign Medical Graduates
       (ECFMG) has promoted to the American public their preeminent, and exclusive, role in
       assuring: “quality health care for the public by certifying international [foreign]
       medical graduates for entry into U.S. graduate medical education, and by participating
       in the evaluation and certification of other physicians and health care professionals”.
       As such, this organization serves as the de facto credentials verification organization for



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      international [formerly foreign] medical graduates through primary source certification of
      the applicant’s international medical education, international training, and successful
      completion of the United States Medical Licensure Examination (USMLE)- steps 1 and 2
      and English proficiency; through administration of the testing process and subsequent
      applicant certification to graduate medical education sites for potential placement in
      postgraduate medical training programs--all of which is required for medical practice
      within the U.S.

              In 1986, the ECFMG Board required that the medical diplomas of all graduates
      applying for ECFMG Certification be primary source verified with the medical school
      that issued the diploma. This required the ECFMG to physically send a letter to the
      medical school that issued the diploma and for the issuing medical school “to attest to the
      veracity of the individual and the document being proffered”. This was required by
      ECFMG to ensure that all diplomas would undergo this scrutiny--obviously to validate
      the authenticity of the individual and their successful completion of medical school
      training, along with the issuing medical school.

              Fraudulent and misleading information submitted to the ECFMG is currently
      covered under its Policies and Procedures Regarding Irregular Behavior. This
      prescriptive set of policies and procedures defines and addresses what constitutes
      irregular behaviors. As stated, “Irregular behavior includes all actions or attempted
      actions of the part of applicants, potential applicants, others when solicited by an
      applicant and/or examinee, or any other person that would or could subvert the
      examination, certification or other processes, programs, or services of ECFMG . . .”.
      When confronted with irregular behavior, it is incumbent on ECFMG to properly and
      thoroughly investigated, analyze and address such behaviors. Without proper resolution
      of the issues, ECFMG cannot fulfill its mission to the public mandating an
      international/foreign medical school graduate that possess all the requisite qualifications
      to pursue U.S. medical practice.


      2. Duties of Credentials Verification Organizations

              A healthcare CVO (credentials verification organization) as the name implies
      provides assurances to those entities that utilize their findings in making decisions on
      granting medical training program enrollment, licensure and ultimately medical practice
      privileges. In the late 1980’s, JCAHO (former name of current, The Joint Commission)
      published conditions under which a CVO could be used by a hospital. According to the
      Joint Commission, a CVO is “Any organization that provides information on an
      individual’s professional credentials. An organization that bases a decision in part on
      information obtained from a CVO should have confidence in the completeness,
      accuracy and timeliness of information”. Additionally, other CVOs within the
      healthcare industry such as the American Medical Association Physician Masterfile and
      Federation of State Medical Boards, among others, provide information that maintains
      these same criteria and likewise is based on primary source verification concerning vital
      information such as the issues of this matter. The National Committee for Quality
      Assurance (NCQA) has formalized and certifies CVOs. At the present time, there are



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      over 90 CVOs that have gained NCQA CVO Certification. Under prevailing CVO
      requirements, a CVO must assure the accuracy and completeness of the information that
      is provided. From a primary source perspective, foreign medical school education must
      be from the primary source.

          The Centers for Medicare and Medicaid Services (CMS), has specified that primary
      source verification is required for: licensure, education and board certification (if
      applicable) in granting Medicare Advantage participation. They defined primary source
      as: “an organization or entity with legal responsibility for originating a document and
      ensuring the accuracy of the information it conveys”.

          As such, this concept of primary source verification entails that the CVO, in this case
      ECFMG, must be assured that the applicant does in fact possess a valid and authentic
      medical degree and other identification and credentials must undertake all efforts to make
      this assurance before certifying the applicant to further U.S. training, or medical
      licensure.

      3. Professional/Organizational Negligence

              As developed above, the administrative standards for credentialing IMGs
      allowing for participation in the ECFMG program requires ECFMG to follow their
      mission and fulfill its duty to patients in that their actions will serve to assure all foreign
      educated physicians are properly and thoroughly investigated and deemed eligible for
      ECFMG Certification to pursue U.S. postgraduate medical education. Without this
      certification, there should never be an individual allowed to participate in such a
      program; and, therefore, there would never be fraudulent IMG physicians that progressed
      through ECFMG to practice U.S. medicine.


      ECFMG failed to act in a reasonable and prudent manner in the following ways:

      A.       As a fundamental matter, ECFMG was required to develop or adopt written
      policies and procedures and checklist for the certification of IMGs. Written policies and
      procedures for the investigation of allegations of irregular behavior would ensure
      reasonable and consistent application of defined criteria.
      B.       ECFMG failed to investigate obvious discrepancies that raised the question of
      fraud and the identity of the applicant. For example, ECFMG failed to investigate the
      differences in the name on Akoda’s medical school diploma and the name on his
      applications submitted to ECFMG; the relationship between Igberase and Akoda, to name
      a few.
      C.       ECFMG failed to follow through on its suspicions about the authenticity of the
      letters of recommendations.

      D.      Curiously, ECFMG failed to adequately and with reasonable diligence investigate
      the allegations made by Dr. McCorkel and refer Akoda to the Medical Education
      Credentials Committee.




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       E.       ECFMG did not even follow its own procedures as noted in the 8/22/2000 charge
       letter sent to Akoda.

       F.     ECFMG failed to investigate the social security number provided to ECFMG by
       Akoda.

       G.      ECFMG obtained photographs of all applicants yet failed to compare photographs
       of Igberase and Akoda in its files when they had suspicions that they might be the same
       person.

       H.     ECFMG missed a golden opportunity to discover if Akoda and Igberase( aka
       multiple alias) were the same person.

       I.     ECFMG also failed to determine the authenticity of the passport and green card
       provided to Mr. Kelly by Akoda on 9/27/2000.

       J.    ECFMG failed to follow up on its conclusion that Igberase and Akoda were the
       same person even though a memo with this conclusion was created by ECFMG employee
       Mr. Kelly.

       K.      Instead, ECFMG negligently chose to bury this information in a memo that was
       not to be placed in the file.

        It is my opinion, with a reasonable degree of professional certainty, ECFMG should have
written policies and procedures for the certification of IMG should have included requirements
that ECFMG investigate fully the differences in the name on Akoda’s medical school diploma
and the name on his applications and the other obvious discrepancies in the applications.

        In my opinion, with a reasonable degree of professional certainty, an appropriate
investigation would have resulted in referral of this matter to the ECFMG medical education
credentials committee. An appropriate and reasonable investigation of the allegations and
obvious discrepancies in the applications should have been conducted by ECFMG, and this
matter should have been referred to the Medical Education Credentials Committee. This
committee should have then found that Akoda engaged in irregular behavior, which should have
then resulted in his certification being revoked.

        With a high degree of professional certainty, it is my opinion that the above breaches of
duties, by ECFMG caused Akoda to be certified by ECFMG, which allowed him to be accepted
into a residency, secure a medical license in MD and gain access to and directly cause harm the
plaintiffs and the members of the class. These actions and omissions were violations of the
Standards of Care. Without the negligent ECFMG certification, Akoda would not have been
accepted into a residency at Howard University Hospital; he would not have obtained a
Maryland license; and he would not have been granted privileges at PG Hospital to care for
Plaintiff and members of the class.

       I reserve the right to alter, supplement or reverse these opinions should additional
information be forthcoming.



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       Attached is my Rule 26 case list.

          I am billing my time for review and preparation of my report at $ 375per hour and my
time for deposition at $ 1,425 for a three (3) hour deposition and $ 3,750 for one day of trial, plus
travel, meals, and lodging expenses.

Respectfully,


John C. Hyde
John C. Hyde, Ph.D., FACHE




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   EXHIBIT 5




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                                 Dr. John Charles Hyde, II, FACHE


Consulting Office                                                                                        (601) 469-7888
Consulting Office Fax                                                                                    (601) 469-1777
                                 ·=·           .


EDUCATION:

Ph.D.           THE UNIVERSITY OF ALABAMA AT BIRMIN GHAM-
               DEPARTMENT OF HEALTH SERVICES ADMINISTRATION and
               SCHOOL OF BUSINESS -Birmingham, Alabama= 1994
               (Health Care Administration/Research and Organizational Studies)
                    ee ee          5 re   ewe we        ee ee
M.S.H.A.       TRINITY UNIVERSITY-San Antonio, Texas-- 1981
                (Health Care Administration)
               a            ee            ee       we          se   re   a eo   ee   ——_-~
B.S.            WESTERN KENTUCKY UNIVERSITY- Bowling Green, Kentucky
               (Health Care Administration) --1979
               (Biology)« 1977


WORK EXPERIENCE:

Jan. 1992      Dr. John C. Hyde- Hyde Consulting Group, LLC
to present     Health Care Consultant-Principal

               Provide independent expertise and advice to various hospitals, healthcare
               organizations, healthcare trade/professional associations, medical/hospital
               malpractice/regulatory attorneys, and other health-related entities. Served as
               lead consultant on numerous engagements-450+. Provide advice to
               healthcare delivery organizations on a current basis regarding issues of
               administration, provider credentialing, physician/trustee development,
               employee management, regulatory and certificate of need issues, strategic
               and tactical planning, clinical and management outcomes, and other various
               healthcare related needs.

Jan. 2018      GEORGE WASHINGTON UNIVERSITY, Washington, DC
To present     ._A:4itfric~c lA1:of.es"ffor~ Dept. of Health Policy and Management- School of
                            Public Health

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                 Administration (MHA) program. Continuing research and publications
                 within the field of healthcare administration and maintain a healthcare
                 based consulting practice.
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June 1995     UNIVERSITY OF MISSISSIPPI MEDICAL CENTER-Jackson, MS
to Sept. 2017 Jhfdf~ssq'.f.~ Dept. of Health Sciences- School of Health Related
[RETIRED]                        Professions: Promoted [7 /1/03]
                                 .Associate
                                     ' |    ...Professor- Dept. of Health
                                                                    ly    Sciences-SHRP:
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                                ,Assistant Profossor- Dept. of Health Sciences-SHRP:
                                  [Appointed 6/1/96]
                                Assistant Professor- Dept. of Family Medicine- School of
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                                         Medicine: |[Appointed 11/1/96]
               —         aa                          =       on   a          ar             “            ws   oan ie
                Teaching, research and administrative responsibilities in healthcare
                management,
                      \         health services research,
                                                 \          clinical outcomes,
                                                                          \     and research
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               \designs. \Serve as a co-investigator with medical
                                                               |       school faculty members,
                             \y
                advisor to graduate   students, and| submit
                                                        i     scholarly work for publication.
                Provide service to the University and the professional community. Advise
                healthcare community on management and admin-legal issues.

Aug. 2011     UNIVERSITY OF MISSISSIPPI- Oxford, MS
to Sept. 2017 Ae:lj(1i1el-Profess:o·r:- Dept. of Management- School of Business

               Teaching in the newly formulated Master of Healthcare Administration
               program, a joint program offering with the University of Mississippi
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               Medical Center. |Serve as
                                       : the\ lead
                                                 \   professor within the program.

Jan.2009       UNIVERSITY OF ALABAMA AT BIRMINGHAM- Birmingham, AL
June 2009      V,isft.h1g::P:m:fcssor;;
                   |               i    Dept.
                                           '  of Health Care Organization- School of Public
               ·         Health·
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               Research sabbatical- interacted                       i) ofresearch aimed at
                                              \ with scholars on issues


               disaster healthcare delivery planning, particularly healthcare providers.
               ——   --   --—   -      ---       ee                                      a       a   ae
Aug. 1994      TRINITY UNIVERSITY- San Antonio, TX
May 1995      Assistant Proihs·sof- Graduate Program in Health Care Administration
               —         ae                 a            <                        aa   tase     a    «   mae           .
               Teaching and research responsibilities for the following classes/areas:
               Quantitative Methods and Information Management;
                                                            '
                                                                     Quality Outcomes;
               Operational Management. Served as advisor to students and community
                                              i      |             |


               providers.
                       |  Involved in scholarly
                                         \      research and publications. Involved in
               local Community Health Information Network development.

Sept 199.0    1tNl'.'\1:mns1tY OFALABAM·A,AT:1llRMlN,G:J_;iAMr.-·Bhiitit1gha1111 AL
July 1994     Adjunct Faculty, 'Re.searehJ~eUow., SiltdeiiL                                                                · ·




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              Undergraduate and Graduate teaching experience in School of Business
              and the School of Health Related Professions. Taught 14 classes in
              Business and Health Care Administration. Performed independent and
              collaborative research. Completed Ph.D. program.

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             Participated in funded research projects in the areas of physician decision
             making, outcomes research, healthcare management, and statistical
             methods. Conducted independent research as a principal investigator on
             several studies.

Jan. 1986    COMMONWEALTH HEALTH CORPORATION- Bowling Green, KY
May 1990     _CHC Vice ]i'eside.t'ttlC:01:p~otate:Officer (4/87 to 5/90)

             Corporate responsibilities for all proprietary operations of six affiliated
             corporations, with ten healthcare and non-healthcare businesses. Managed
             development of planned business diversifications and potential market
             acquisitions. Involved in other corporate activities and related hospital
             council operations.

             Vice President- Medical Center at Bowling Green (4/87 to 12/88)

             Involved in corporate planning activities and development of proposed
             corporate business ventures. Formulated business development plans and
             served as senior hospital operations executive.


             Associate Administrator- Medical Center at Bowling (1/86 to 4/87)

             Involved in planning and development of a corporate wide re-organization
             into alternate business ventures. Shaped corporate re-direction into major
             regional healthcare delivery system. Responsible for senior level hospital
             operations.

June 1983    TAYLOR COUNTY HOSPITAL- Campbellsville, KY
     sane
Dec. 1985    Administrator/CEO.

             Responsible for total operations of a small, rural hospital. Involved in
             various certificate of need applications, regulatory and governmental
             relations, and implementation of a management re-organization plan.

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June 1983    ,Assistan'.t Admiiu,sfrafoL                                                  .-

             Responsible for operations of four departments with a staff of 75
             employees and 10 managers. Involved in various certificate of need

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                   applications, governmental relations, and board development. Served as
                   member of the executive hospital management council.

                    Administrative Resident
                    Servecfhi.various staffand line assignments. Participated as an
                    administrative manager during residency period. Developed a prospective
                   'staffing and budget reporting system. :Period fulfilled residency

                    requirement for Master degree.



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  ½Vcacllfa'i1~t6fMaii::igei11eht':1)t6te~dh1~~ [Best Paper Award].




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RESEARCH DISSERTATION DIRECTION:
     Disse1tation Chair-
    ,..      Kim Hoover,   \ RN (completed:
                                    \    \          Ph.D. -4/00)
                                                               a   |

             Kaye Bender, RN (completed: Ph.D. -4/01)
             a   ere         >           a     a
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             Sheila Keller ( completed: Ph.D. -4/01)
            -~   @  Ses es    ~—— 5        4     ss            ste
            Mark '  >
                           4 PT (completed:
                     Webber,                 ot
                                                     Ph.D. -7/01)
            Marcella McKay, RN (completed: Ph.D. - 11/02)
                         fn
            Frances Gordy,       /
                               DDS       ' '
                                      (pre-proposal       status)
            Ann Peden (completed: Ph.D.-5/09)
            Sabrina Bryant (completed: Ph.D.-6/12)

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               Tom     G. Wilson (Mississippi |                 \
                                                 State University       student' in Ph.D. Public
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                                    Administration program,           '
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                                                                                  6/00)
               Pam Manor (pre-proposal status)
              .Gyndi ·-Scott-·(completed·:.-Ph.Ils=l2l02 }·· ··--·-
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               Karen     Wintersi (completed:
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                                                Ph.D. - 2/04)I
                   '                      '
               Larry L. Smith (completed: Ph.D. -4/07)
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               Amy Sullivan (completed: Ph.D. -4/09)
               Renae Wadley (completed: Ph.D. - 11/15)

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                   Stephanie
                      i      McCullough
                                :       (pre-proposal)



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            2001- Division of Health Care Management/Hospitality

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                  2000- Division of Health Care Management


     Southern Management Association

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            1996- Division of Health Care Management/Hospitality
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            2000- Division of Health Care Management/Hospitality



WORKING RESEARCH
MANUSCRIPTS:
    Predictive variables of family medicine residency success.

    Stakeholder analysis of physician executives in group practices,

    Dynamics of organizational change within an academic medical center associated
    with structural re-organization.

    Determinants of decision making among medical residents within an academic
    medical center environment.

    Clinical practice guidelines and medical outcomes.

    Integrated delivery systems and the process of information flows.


IRB APPROVED
RESEARCH:
    ARIC- Atherosclerosis Risk in Communities. Funded by NHLBI. JC Hyde,
    Investigator, ARIC CMS Analysis and Outcomes Research Committee

    HEDIS outcomes among primary care patients within a community medical clinic.
    June 1998- JC Hyde, Co-Principal Investigator

    Outcomes among mildly hypertensive patients within an ambulatory Family
    Medicine clinic setting. April 1997- JC Hyde, Principal Investigator
    Predictive variables for success in Family Medicine Residency Programs. February
    1997- JC Hyde, Co-Principal Investigator

    Rural therapist assessment of capability for autonomous practice. September 1996-
    JC Hyde, Co-Principal Investigator

    Assessment of perceived social/physical dysfunctions among ambulatory primary
    care clinic veterans. December 1993- JC Hyde, Principal Investigator

    Impact of physician decision making on the costs and quality of patient care.
    October I99°3- Jc· Hyde, . PrindpaTfnvesti.gafor... ·-- . . .
    Level of resource utilization/health outcomes associated with clinical decision
    supports. May 1993- JC Hyde, Principal Investigator



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GRANTS/CONTRACTS (FUNDED):
Summer '98 American Academy of Family Physicians, Department of Family
             as     sk    Ce   —   =
             Medicine. The University of Mississippi Medical Center. Student Research
             Externship. Investigator.

Summer '97   American Academy of Family Physicians. Department of Family
             = +   «“on— -
             Medicine. The University of Mississippi Medical Center. Student Research
             Externship. Investigator.

Dec. '96     School of Health Related Professions. The University of Mississippi
             Medical Center. Development Fund Grant. Co-Principal Investigator.
                                       Sos    SS             ee
Summer '95   Summer Research Stipend. Trinity University. Principal Investigator,
             (did noti accept
             \             \  due to move to UMC)

Aug. '92     VA Health Services Research and Developmental Grant. Birmingham
             Veterans Affairs Medical Center. Investigator.



RECENT COMMITTEE MEMBERSHIPS:
                    =    oe                       2)              =
1995 to      Institutional Review Board. The University of Mississippi
2001         Medical Center. Member. Review, evaluate
                                              |       and approve all
             human research conducted on the UMC campus and all research conducted
             regardless of sites by UMC researchers. Issues of human protection,
                                     hoy    ‘
             informed
                 |     consent
                         1      and respondent
                                         1     safety are guiding concerns.
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1995 to      Graduate Faculty Council. The University of Mississippi Medical Center.
1998 &       Member. Council provides overall direction and serves as the final
                   '         1
2000 to      authority on issues of graduate education on the medical campus.
2001

1997 to      Graduate Faculty Council Sub-Committee, Evaluation of Campus-
                                       — aa                           “o
2000         wide Graduate Programs. The University of Mississippi Medical Center.
             Member. Evaluate all graduate programs at UMC and formulate general
             requirements of admission, course requirements, and degree fulfillment

1995 to      Graduate Faculty Admissions Committee. The University of Mississippi
2010         Medical Center. Fonner Chairman and Member. Committee develops
             criteria and overall process for admission to the M.S. and Ph.D. programs
             within the Schoof ofHeaith'iiefatecf Projessions.                   . .

1995 to      Joint Graduate Faculty Admissions Committee. The University of
1997         Mississippi Medical Center. Member and current Chairman. Committee


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                 oversees graduate admissions within the School of Health Related
                 Professions and the School of Nursing.

1994 to          Sub-Committee on Privacy, Security and Confidentiality. San Antonio
1995             Health Care Partnership. Chairman. Development of a Community Health
                 Information Network and specifically address issues of data integrity and
                 confidentiality.

PROFESSIONAL/COMMUNITY SERVICE (healthcare only):
2007 to          Community Place Nursing Home- Board Member
2009

2000 to          Trinity University Department of Health Care Administration- Past
2016             President, Finance Chair, Board Member

2005 to          Trinity University National Alumni Association- HCAD Representative
2007

2002 to          University of Alabama at Birmingham- Health Information Management
2007             Program Advisory Committee Member

2000 to          Central Mississippi Sickle Cell Foundation- Board Member
2006

2000 to          American College of Healthcare Executives Mississippi Chapter- former
2004             Chapter President, President-Elect, Board Member

1999 to          American College of Healthcare Executives Mississippi Regent's Advisory
2007             Council Member

1998 to          Academy of Management Division of Health Care Management- former
2004             Board Member and Membership Chair



PROFESSIONAL MEMBERSHIPS:
      American College of Healthcare Executives- Fellow
      Academy of Management
      Association of University Programs in Healthcare Administration
      Healthcare Financial Management Association
      Southern Management Association
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As of January 2019

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   EXHIBIT 6




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                      INTHE UNITED STATES DISTRICT COURT
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          MON]QUE RUSSELL, ,fASMINE             )
  4       RIGGINS, ELSA M. POWELL,              )

          ANd DESIRE      EVANS,                )
  5)
                          Plaint.iffs,          )

  5                                             ) Civil Act.ion No.    18-5629
                    vs.                         )

  7                                             ) Honorable iloshua    D.
          EDUCATIONAL COMMISSIONER              ) Wolson
  8              MEDICAL
          FOR FOREfGN                           )

         GRADUATES,                             )

  e)
                          Defendant.            )

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 L1
 L2            VIDEOTAPED DEPOS]TION OF ,JOHN C}IARLES HYDE, Ph.D.
 13                              (Taken by Defendant )
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 20                  Renaissance Concourse Atlanta Hotel
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         Reported by:         F. Renee Finkley, RPR, RMR,         CRR, CLR,
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Golkow Litigation          Services                                           Page   1
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  1    definition of credent.ialing. What I'm -- whats I'm
  2    asking for is what you would actually look aL in
  3    deciding whether or not to credenLial a physician.
  4         A.    okay. Licensure, training, which could
  5    include, obviously. not justs internship, but
  6    residency and/or fellowship. You would look at their
  7    experience. Some of them may not have any. You
  8    know, Lhey may be fresh out of the residency program.
  9    others may not. You would look at liLigation
 10    history. You would look at board certificat.ion. You
 11    would look at healtsh status. And you would look at
 L2    sort of their general ability to get along with
 13    others.     Do they   play well with others?
 t4                  so you -- you're looking at a 1oL of
 15    different facLors thatls going to get you that.
 L6    Also, you would look and see the Natsional
 t7    Practitioner Data Bank. Have they had any payouts or
 18    any convictions of any t)rpe of morally-reIated, moral
 19    tsurpilude, which is typically Ehe terminol-ogy. You
 20    would look ats Office of InspecLor General to see if
 2L    t.hey have had any claims or had the abilitsy t.o be
 22    involved in Medicare/Medicaid.
 23                You would look potent,ially at insurance
24     companies to see if they've been providing on-panels
 25    within the insurance world for managed care, so tso
Golkow Litigation      services                                            Page 48
                                                                      JA4409
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   1   speak. f gave you more than a quarterts worth, but
  2    that ' s sorc of going       dor^rn    the list   .

  3             Q.   Anything else that you haven't mentioned
  4    thaL you recall thats you wouLd Look at in decidlng
  5    rrrhether or not to credential a physician?
  6             A.   Recommendations, obviously, from -- you
  7    know, that. goes without saying. Previous history.
  I    We   would query t.he other hospitals if the indlvidual
  9    was on their -- it depends on their point in their
 10    career. If somebody,s just out of residency, they're
 11, not going to have a Iot. of previous experience or
 !2    experiential training outside of residency; but if
 13    they were on staff at. another hospital , you would ask
 L4    the hospital , Are they on staff, What 1eve1, Are they
 1s    in good standing.
 16                  You'd like to get more, but that's sort of
 t7    all you're going to get.               You would probably also
 18 guery their health grades. you know, Ehere's a Iot
 t9 of different. thlngs t.hat. would give some idea of some
 20 feedback.
 2L          a.      Anything in addition to rhat thats you
 22       look at when decidj-ng about privileging? If
       woul,d
 21 you,ve just gone through all t.hat. for credentialing
 24    an indiwiduaL, how do you go about -- what do you
25     fook at for privileging purposes?
colkow Litigation Services                                               Page 49
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   EXHIBIT 7




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                   Jerry Williamson, M.D., F.A.A.P., M.J., CHC., LHRM

                   24 Falconwood Court Fort Myers, Florida 33919



        Expert Report: Jerry Williamson M.D. FAAP. MJ.CHC.LHRM

    September 22, 2019

    Re: Monique Russell, Jasmine Riggins, Elsa Powell, Desire Evans v. Educational Commission
    for Foreign Medical Graduates

    The following report is supported by over 40 years of both formal education and experience as
    a physician and administrator. My formal education accomplishments include my degree as a
    Doctor of Medicine, my master's in healthcare jurisprudence, and certifications in healthcare
    compliance and risk management. I have practiced clinical medicine in my specialty, pediatrics,
    in which I am Board Certified.

    I have held administrative positions as a Chief Medical Officer, Medical Director, and Vice
    President for Medical Affairs in both the ambulatory and inpatient settings. In these positions I
    served on and chaired credentialing committees. Based on my experience in these roles, I
    became knowledgeable concerning the primary source credentialing process of the ECFMG, as
    it applies to the standard of care. In 2005, as CMO and Director of the Biomedical Informatics
    Program, I directed the implementation of an EMR for an FQHC, assisting in the development of
    policies and procedures. During this period, I was Co-Medical Director of the Community Health
    Center Alliance Electronic Medical Record Clinical Committee. This committee assisted other
    organizations in their development and implementation of EM R's. I also served as a Meaningful
    Use Clinician Champion to The Center for the Advancement of Health Information Technology,
    a Regional Extension Center in Florida.

    I have been a national speaker for the past 25 years, with a focus on patient safety,
    communication inadequacies in health care, and the prevention of medical errors. My roles
    have included Clinical Instructor in the Department of Pediatrics, University of South Florida
    College of Medicine, Clinical Assistant Professor in the Department of Pediatrics at NOVA
    Southeastern University, College of Osteopathic Medicine, Clinical Associate Professor of
    Physician Assistant Sciences, College of Allied Health, NOVA Southeastern University, Clinical
    Assistant Professor of Pediatrics, and Clinical Clerkship Training Coordinator at The Florida State
    University College of Medicine, and Clinical Assistant Professor at the Florida State University
    College of Medicine, Department of Clinical Sciences, Family Medicine Residency Program. In
    2012, I was the Recipient of the "Heroes in Healthcare Award" for Administrative Excellence in
    Healthcare, from the Naples Daily News.




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                                                                                            ANGELA M. COKER, COURT REPORTER



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I had the opportunity to review the following documents that were provided to me from the
law firm Janet, Janet & Suggs:

    •     Kara Corrado, 09/10/2019 Deposition Transcript with Exhibits 1-9
    •     William C. Kelly 08/20/2019 Deposition Transcript with Exhibits 1-53
    •     Class Action Civil Complaint and Exhibits
    •     Stephen S. Seeling 09/06/2019 Deposition
    •    Timeline of Events
    •     1996 Information Booklet ECGMG
    •    Answer to Class Action Civil Complaint and Affirmative Defenses
    •     Defendant's Objections and Responses to Plaintiffs' Requests for Admissions of Facts
          and Genuineness of Documents
    •     Defendant's Objections and Responses to Plaintiffs' Second Requests for Admissions of
         Genuineness of Documents
    •     USMLE Letter (02-05-18); ECFMG Credentials Committee Document (11-30-16); U.S. DOJ
          Plea Agreement with Attachment A-Stipulated Facts; ECFMG Irregularity Report (09-
          1992) and Sanctions Update (11-30-16); ECFMG Press Release re: Launching Electronic
         Verification of Medical Credentials
    •     ECFMG emails



Summary of Facts:
    1.   Credentialing of healthcare practitioners is a screening process verifying that a
         physician is who he/she claims to be, and qualified to practice his or her profession. The
         process ensures that physicians have the education, knowledge, and competence to
         provide quality patient care. This is accomplished by obtaining the physician's essential
         information using primary source verification, to determine the accuracy of a
         qualification or documents reported by a physician. If the process fails for whatever
         reason, patient safety and quality is compromised, and patient harm may result. Primary
         source can be accomplished via direct correspondence, telephone and computer
         verification, and reports from credentials verification organizations. Credentialing
         organizations must be aware of any red flags, and immediately investigate them to
         avoid serious consequences.


    2. The Educational Commission for Foreign Medical Graduates (ECFMG) is an organization
         that credentials international medical graduates for residency opportunities in the
         United States providing they have met all the requirements. This includes verifying


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          successful completion of medical school, and passing standardized examinations
          administered by the United States Medical Licensing Examination {USM LE), a Clinical
          skills Assessment Examination, and an English Test to determine competency in English.


    3.    Utilizing primary source verification, ECFMG documents the authenticity of the
          applicant's diploma, the medical school transcript, and any letters of recommendation.
          Once this process is successfully completed, ECFMG will provide the applicant a
          certificate of completion. Once the applicant begins applying to residency programs,
          ECFMG acts as "the deans office" {See Deposition William Kelly) and provides the
          residency program with a status report.


    4.    In 1991, Olufafemi Charles lgberase came to the U.S. from Nigeria, and submitted an
          application to ECFMG for certification. Over the next several years he used false
          identities, false social security numbers, false birthdates, false diplomas, and a false
          passport to obtain ECFMG certification.


    5.    In 1996, a third application was submitted by lgberase to ECFMG under the alias of John
          Charles Akoda. His application was accepted, so in 1998 after receiving ECFMG
          Certification, he applied for a residency position at Jersey Shore Medical Center (JSMC)
          and was accepted under the name John Charles Akoda and began his residency in July
          1998.


    6.    During an on-site meeting in September 2000 at ECFMG's office, Akoda admitted to
          William Kelly, Manager of the Medical Education Credential Department at ECFMG, that
          he used lgberase's social security number. Approximately three months later, JSMC
          advised ECFMG that Akoda was dismissed from their residency program for using a false
          social security number and false green card.


    7.    In 2006 lgberase applied and secured a residency at Howard University Hospital under
          the Akoda alias, using a false social security number. He completed his residency at
          Howard Hospital in 2011, and he applied for a Maryland license using the name Charles
          John Nosa Akoda. The information provided to the Maryland Licensing Board included a
          fake social security number, and fake passport.


    8.    In 2011 he became a staff member at Prince George's Hospital Center and began patient
          care in November 2011 under this fraudulent identity. The following year he was denied
          enrollment in The Center for Medicare and Medicaid Services (CMS) due to submitting
          an inaccurate social security number. While using the Akoda name, he practiced
          obstetrics and gynecology from 2008 through 2016. This included a private practice
          setting as well as employment with Dimensions Healthcare Associates.


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    9.    In June 2016, law enforcement conducted a search at lgberase's residence, medical
          office, and vehicle. They found a variety of fraudulent and altered documents. In
          November 2016, he signed a plea agreement admitting to misuse of a social security
          number.


    10. The following month ECFMG revoked Akoda's certification. In March 2017, he was
          sentenced by the U.S. District Court for the District of Maryland. This resulted in the
          termination of his staff privileges at Prince George's Hospital, and the revocation of his
          Maryland license based upon his felony conviction.


    11. The current class action lawsuit is based on allegations that lgberase performed
          inappropriate physical examinations of a sexual nature on women, creating boundary
          violations.
    12. The key question that must be resolved is whether ECFMG's actions or failure to act
          resulted in foreseeable injuries or damages to Class Members.


    Analysis of Facts and Opinion:


    1.    ECFMG in its Subject Notice #101 dated March 1, 2017-lrregular Behavior Cases and
          Associated Actions & Sanctions states the following:
         The educational Commission for Foreign Medical Graduates (ECFMG) of the United
         States works on behalf of domestic and International medical regulatory authorities to
         protect the public through its programs and services, including primary source
         verification of physician credentials. ECFMG considers all actions or attempted actions
         taken to subvert its processes, programs, or services to be Irregular behavior.

    2. The 1996 ECFMG Certification and Application Information Booklet addresses the issue
       of Irregular Behavior. It states that: Irregular behavior includes all actions on the part of
       applicants and/ or examinees, or by others when solicited by an applicant and/or
       examinee, that subvert or attempt to subvert the examination process. It describes
       specific examples of irregular behavior and includes falsifying information on application
       or registration forms; This booklet is provided to all the applicants seeking ECFMG and
         USLME certification.


    3. Accrediting organizations such as the Joint Commission has stated the following:
         The Joint Commission, the organization that evaluates and accredits U.S. health care
         organizations and programs, has determined that direct verification with ECFMG of a
         physician's certification status satisfies The Joint Commission's requirement for primary-
         source verification of medical school completion for graduates of international medical
         schools. ECFMG's Certification Verification Service (CVS} provides this primary-source
         confirmation of an individual's ECFMG certification status to medical licensing

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         authorities, residency programs, hospitals, or other organizations that, in the judgment
         of ECFMG, have a legitimate interest in such information.

    4. There are several regulatory organizations including the Maryland Board of Physicians
         and numerous hospitals including Howard University Hospital and Prince George's
         Hospital Center that rely and trust the judgements of the ECFMG. Therefore, in this
         case, ECFMG owed a duty to the residency programs and the state licensing agencies to
         comprehensively review an application for certification. When ECFMG learned that
         lgberase was using a false social security number, and he admitted to doing so, it was
         imperative that they act as a prudent credentialing organization and comprehensively
         investigate this physician's background ..


    5.   ECFMG had a duty to determine whether the documents provided by lgberase and his
         aliases strongly suggested that lgberase and Akoda was one in the same individual.
         ECFMG breached that duty by failing to learn and appropriately act on that information.


    6. There were several opportunities for ECFMG to intercede, still they breached the
         standard of care in the following ways:


         a.   When lgberase had a face to face meeting at ECFMG in September 2000 and
              provided a false passport. ECFMG failed to authenticate the document.


         b.   ECFMG failed to act when they learned that he misused his social security number.


         c.   ECFMG neglected to compare the photographs in lgberase and Akoda's application.
              That would have confirmed they were the same person.


         d.   ECFMG requested confirmation to authenticate three alleged letters of reference
              provided by Akoda, and the parties never returned a response. Nonetheless, ECFMG
              provided primary source verification to Howard University Hospital.


         e.   ECFMG provided primary source verification to the Maryland Board of Physicians
              and Prince George's County Hospital without notifying them of their doubts
              surrounding Akoda's identity and credentials.


    7. The December 22, 2000 Memorandum for the file From William Kelly to Stephen Seeling
         J.D. is difficult to comprehend. It was created as a memorandum for the file since
         William Kelly believed it should not be part of the official file. The memorandum was
         based on his discussion with James McCorkel M.D., Vice President for Academic Affairs,
         at the Jersey Shore Medical Center Residency Program. Dr. McCorkel believed lgberase
         and Akoda were one an the same person. Mr. Kelly confirmed he believed this as well

5



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          but stated in the Memorandum that he does not believe there is enough information for
          the Credentials Committee. He goes on to say / sent /gberase an email and who should
          reply, but Akoda !


    8. As stated previously, ECFMG has many organizations that rely on their information and
          trust they are receiving accurate information when making decisions based on the
          information they receive from ECFMG. Not including critical information in the official
          file, places these organizations at a disadvantage. Another example of ECFMG's failure
          to act in a reasonable and prudent manner.



    9.    By not being more assertive in their investigation in this matter, and not escalating their
          concerns to their Credentialing Committee, ECFMG certified Acoda and assisted him in
          his acceptance to the Howard University residency program. Additionally, this permitted
          him to obtain a Maryland License to practice medicine and obtain privileges at Prince
          George's Hospital. Unfortunately, ECFMG's failure to act in a reasonable and prudent
          way permitted Acoda to practice medicine and increase the risk of harm to the plaintiffs
          in this class action lawsuit, and perhaps others.


    10. It was not until December 2016 when ECFMG revoked Akoda's certificate {0-482-700-2}
          based upon his plea agreement with United States, citing the same conduct lgberase
          had admitted to in 2000. ECFMG's failure to properly investigate the matter, directly
          resulted in foreseeable injuries to lgberase/Akoda's patients.

                                                                              op
    11. ECFMG had a duty to its aforementioned clients, including medical licensing authorities,
         residency programs, hospitals, and others. However, ECFMG's failure to act in a
         reasonable and prudent manner directly impacted patient safety. Patients have a right
         to receive medical treatment from physician's who have obtained ECFMG certification
         legitimately, not through falsities and misrepresentations.




Conclusion:

There were several missed opportunities to address the many irregularities in the
lgberase/Acoda applications. Unfortunately, these missed opportunities, permitted this
unqualified individual with multiple fraudulent identities to practice medicine for years. ECFMG
breached its duty to its aforementioned clients, including medical licensing authorities,
residency programs, hospitals, and others. Additionally, ECFMG's failure to act in a reasonable
and prudent manner directly impacted patient safety.



6



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Disclaimer:

My conclusions are based on the information that I was able to review, that was provided to
date, and I reserve the right to change my opinions based on any additional information that I
receive.



Respectfully,



  ryW    iath son M.D.   FMP,MJ,CHC, LHRM




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Jerry Williamson, M.D., F.A.A.P., M.J., CHC


ADDENDUM: AS OF NOVEMBER 21, 2019
After submitting my expert report that included the documents, I reviewed
pursuant to Rule 26, there were additional documents reviewed. The following list
represents the additional documents I received and reviewed from legal counsel at
Janet, Janet, and Suggs.

   •   Deposition of David Markenson Expert-Taken October 22, 2019.
   •   Deposition of Elsa Powell Plaintiff- Taken September 6, 2019
   •   Deposition of Desire Evans Plaintiff-Taken September 5, 2019
   •   Deposition of Jasmine Riggins Plaintiff-Taken September 12, 2019
   •   Deposition of Monique Russell- Taken September 16, 2019
   •   Expert Report, David Markenson M.D.-September 19, 2019
   •   Expert Report, Christiane Tellefsen M.D.-September 20, 2019
   •   Expert Report, John C. Hyde Ph.D-September 23, 2019
   •   Expert Report, Annie Steinberg M.D.-September 23, 2019
   •   Expert Report, Richard L. Luciani M.D.-
   •   Expert Report, Douglas R. Phillips M.D.-October 11, 2019
   •   Expert Report, Jonathan H. Burroughs M.D.-September 21, 2019
   •   ECFMG-lrregularity Report-September 22,23 1992



Reviewing the aforementioned documents did not change my opinion in any
material way. My conclusions have not changed.



Jerry Williamson M.D.




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        JERRY WILLIAMSON, M.D. F.A.A.P. Ml. CHC. L.H.R.M.

24 Falconwood Court                                        Cell: (239) 849-1400
Fort Myers, FL 33919                                       Residence: (239) 277-1445
Updated August 2019                                        E-mail: jwchsi@outlook.com

PROFILE:     Board certified physician and health care executive with over 30 years experience
             in private practice and healthcare management including:
             • Managed care initiatives
             • Participated in the design and implementation of a staff model HMO
             • Acquisition of physician practices
             • PHO development
             • MSO development
             • Physician recruitment/retention
             • Care Mapping
             • Strategic planning
             • National speaker
             • Electronic Medical Record implementation
             • Medical liability initiatives including E-Discovery

PROFESSIONAL EXPERIENCE

             Collier Health Services, Inc February 1998 -2014
             1454 Madison Ave
             Immokalee, FL 34142
             Community Health Center
             Chief Medical Officer/ Medical Director/ Chief of Medical Informatics

             Independent Health Care Consultant 1994 - Present

             Plan Services, Inc. Tampa, FL 1992 - 1997
             Third Party Administrator
             Part Time Medical Director/Consultant
             • Supervise approximately 35 physician advisors with reference to the quality
                and judgment of their utilization reviews, regarding medical necessity, medical
                appropriateness and length of stay determinations
             • Provide the next level of authority; above the physician advisor regarding
                physician or member appeals
             • Assist in establishing the design and implementation of the utilization
                management program and policies concerning pre-admission certification,
                length of stay determination, reasonable and customary charges and discharge
                management
             • Assist nurse reviewers in case reviews to include the accuracy of coding
                parameters
             • Instrumental in developing continuing education programs for nurse reviewers
                that relate to the changes in utilization management policies

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JERRY WILLIAMSON, M.D. F.A.A.P. MJ. CHC. L.H.R.M.

                 Cape Coral Hospital: Cape Coral, FL 1992 - 1994
                 A 280 bed not for profit community hospital with 300 medical staff members
                 representing all specialties.
                 Vice-president for Medical Affairs/Interim Chief Operating Officer
                 • Participated in the development of a PHO
                 • Responsible for physician recruitment and retention.
                 • Directed the acquisition of physician practices and contract negotiations project
                 • Initiated the development of a managed care contract committee
                 • Responsible for the utilization management and quality assurance programs
                     and activities
                 • Facilitated continuing education programs
                 • Liaison to community and other health care organizations
                 • Liaison to the media representing hospital issues
                 • Participated in the interfacing with regulatory agencies (JCAHO) and assisted in
                    developing and implementing policies in accordance with Joint Commission
                    Standards
                 • Coordinated and participated in the development of an MSO
                 • Responsible for the credentials and privileges of physicians
                 • Interfaced with general council in the development of special educational
                     programs for the physician and nursing staffs
                 • Instrumental in developing and directing a care mapping team
                 • Successfully assisted legal council in representing the hospital in medical
                     malpractice issues as well as physician fair hearings
                 • Negotiated the leasing of office space to physicians through positive and
                    productive relationships with them
                 • Informed and advised Executive Directors and Board members of the current
                     healthcare financial trends, problems and implications to facilitate policy
                    making
                 • Assisted in staffing determinations, reductions in staff, capital equipment and
                    improvement needs, prepared budget recommendation for medical and non-
                     medical departments
                 • Negotiated contracts with vendors regarding equipment and supplies
                 • Directed the preparation and implementation of equipment and supply service
                    contracts, confers with medical staff and department heads to identify needs
                    and services based on the available financial resources
                 • Supervised a large medical and administrative staff, making hiring and
                    disciplinary decisions
                 • Participate in the development and implementation of a strategic plan for
                    improving the census of the hospital
                    =              fi
                 • Participated as a key member of a planning team to determine the feasibility of
                    |


                    a merger/consolidation with another hospital
                 • Participated in the design and implementation of medical staff bylaw revisions.
                 • Participated as a key member of the "management turn around team"




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     :
JERRY WILLIAMSON, M.D. F.A.A.P. Ml. CHC. L.H.R.M.
                                                       Ra      at           Pein                ae
                                  • Assisted the chief of the medical staff in coordinating medical activities of the
                                    [hospital and in maintaining: compliance with medical staff bylaws and rules and
                                     regulations
                                  • Served in an advisory capacity to the medical staff departmental chairmen and
                                     committee chairmen assisting: them in carrying out their administrative
                                     responsibilities
                                  • [Responsible for
                                                   -  providing all the necessary information
                                                                                    ~          to the clinical
                                     department chairmen regarding patterns of practice in their department and
                                     assisting them in making the appropriate recommendations to the medical
                                     executive committee regarding credentialing, re-credentialing and privileging of
                                     departmental staff
                                  • Responsible for and actively involved in the resolution of medical administrative
                                    ;                              .
                                    |problems regarding
                                                   :      issues of policy as they relate to the medical staff
                                  • Responsible for and actively involved in the resolution of patient care and
                                    '
                                     physician/nurse problems
                                  • Assisted in developing and implementing protocols for newborns with
                                     hypoglycemia and hepatitis positive mothers
                                  • Created departments of Obstetrics/Gynecology and Pediatrics
                                  • Created a Prenatal Committee

                                  Plan Services Inc. Tampa, Florida                                            1982 - 1992
                                  Third Party Administrator
                                  Physician Advisor
                                  be     me                 “         1 we ee.
                                  Mease Clinic: Dunedin, Florida 1980 - 1992
                                  100 physician multi-specialty group
                                  ae       aes Te.- es WORSE tly
                                  Private Practice (Pediatrics)
                                     e                        _         a
                                  • Managed a very successful and efficient private practice with two full time
                                     employees
                                                444°




                                  • Served as Chairman of the Department of Pediatrics at Mease Hospital
                                  • Previously held the position of clinical instructor, at the University of South
                                     Florida Department of Pediatrics
                                  • Implemented educational programs to include prenatal and Lamaze childbirth
                                     classes
                                  • Appeared as a guest on both television and radio talk show programs
                                     regarding pediatric medical issues and the approaches to prevention
                                  • Consultant and part time medical director to managed care organizations
                                     (Travelers, Aetna) specifically involved in policy making and the credentialing
                                     process




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JERRY WILLIAMSON, M.D. F.A.A.P. Ml. CHC. L.H.R.M.

                                     Prepaid Health Care: Clearwater, Florida 1978 - 1980
                                     Staff Model Healthye
                                                     a Maintenance Organization
                                                                     a
                                     The first HMO in this county
                                     Chief of Pediatrics/ Assistant Medical Director 1978
                                     Medical Director 1979 - 1980
                                     • Established a successful pediatric practice
                                        r      3  2   5            x   .
                                     • Developed a department of pediatrics
                                     • Responsible for physician recruitment and retention
                                     • Responsible for the marketing of our health care product and negotiating
                                        contracts with consulting physicians and hospitals
                                     • Instrumental in developing a utilization management and quality assurance
                                        program
                                     • Assisted in the supervision of the day to day operations of the health care
                                        facility
                                     • Facilitated the compliance with local, state and federal regulatory agencies

Education: Queens College, Queens, New York
           B.A. (Sociology), 1970

Graduate                             Columbia University School of Dental and Oral Surgery
School:                              New York City New York 1970 - 1972

                                      Medical College of Pennsylvania, M.D. 1975
                                      Philadelphia, Pennsylvania

                                      Loyola University
                                     Phil!         |   _  Chicago
                                                           oT        School
                                                                     yr       of Law, Beazley Institute for Health
                                     [Law andso Policy: PO
                                                         Master's in health jurisprudence- MJ. August 2010.
                                     Chicago, Illinois

Post Medical
Training:  University of Michigan, C.S. Mott Children's Hospital
           Ann Arbor, Michigan
           Pediatrics 1975 - 1976

                                     University of Miami School of Medicine
                                     Jackson Memorial Hospital
                                     Miami, Florida
                                     pos Se eee
                                     Pediatrics 1976 - 1977

                                     University of Florida, College of Medicine
                                     Shands Teaching Hospital and Clinics
                                     Gainesville, Florida
                                     Pediatrics 1977 - 1978




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JERRY WILLIAMSON, M.D. F.A.A.P. Ml. CHC. L.H.R.M.

Military:                                 U.S. Air Force Reserves 1967 - 1973
                                          Received Certificate of Appreciation, 1967
                                                                        _=—                 -«            m=                                  -        s        =       =        ‘
Honors:                                   Arthur and Bertha Weisman Award for Excellence in Child Psychiatry
1975                                      Dr. Jean Crump Memorial Prize for Excellence

Board                                     Diplomat of the American Board of Pediatrics
Certification:                            May 1980, #24400

                                          Former Diplomat of the American Board
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                                          Review Physicians. Aug. 1991 Certified in Health Care Quality Management
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                                          Licensed Health Care Risk Manager
                                          August 6, 1999 #5502287
                                                     ~           a           «               aoe          :        :         _                 or          ,
                                          Certified in Healthcare Compliance
                                                a       ee —   +8   : =    a : =
                                          March 5, 2011, Healthcare Compliance Association
                                                     .           —           ,                        =                a                     st       es                .
                                          Florida Supreme Court Certified Dependency Mediator
                                          November 16, 2001 #14275D
                                                             |                                       |




                                          American Arbitration Association - Former Member
Current M.D.
Licensure:                                Florida: ME 29350
                                                         =             «=              ‘         -             =                       aa             —    se               ay
Appointments:                             Affiliate, Center for| Innovative
                                                                     i      Collaboration in Medicine and Law, Florida
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                                          State University College of Medicine

                                          Former Clinical Assistant Professor of Pediatrics, in the Department of
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                                          Clinical Sciences, Florida State University College of Medicine

                                          Clinical Assistant Professor at the Florida State University College of
                                                                                                             4
                                          Medicine, Department of Clinical Sciences, Family Medicine Residency
                                          Program
                                                                                                                                                                                         ms
                                          Adjunct Professor of Law at Loyola University Chicago School of Law.
                                                                                                 AS                 se           aes        es                      =                =
                                          Member - American Health Lawyers Association Health Information &
                                          Technology Practice Group Task Force on Legal Liability for EHRs, PHRs, &
                                          HIE
                                                         .                                       a.                      -           -«           a                     =e           .
                                          Served as a mediator for the FMQAI - Florida Medicare Quality
                                                   :    a        T
                                          Improvement  Organization

                                          Served as a volunteer mediator/arbitrator for Florida Bar Grievance
                                          Mediation and Arbitration Program

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'   .
                                                              Co-Medical Director, Community Health Center Alliance Electronic Medical
                                                              Record Clinical Committee


        JERRY WILLIAMSON, M.D. F.A.A.P. Ml. CHC. L.H.R.M.

        Professional                                         Florida Regional Extension Center, Former "Meaningful Use" Associate
        Affiliations:                                        American Academy of Pediatrics, Fellow
                                                             American Academy of Pediatrics, Pediatric Dermatology
                                                             Florida Bar Health Law Division, Affiliate Member
                                                             Florida Bar Fee Arbitration Committee Former Member
                                                             American Health Lawyers - Member
                                                             Health Care Compliance Association - Member
                                                             American Association of Professional Coders-Consultant

        Awards:                                              2012 Recipient of the "Heroes in Healthcare Award" for Administrative
                                                             Excellence in Healthcare, from the Naples Daily News.



        Publications:                                        St. Anthony Publishing, 3rd Edition, 1998
                                                              Evaluating & Management Coding and Documentation Guide

                                                              Community Health Centers Alliance: Meaningful Use Files Blog
                                                               The Devil is in the Details.· Resolve to Take a Second Look at Three
                                                              Meaningful Use Objectives.· 2012

                                                              Morgan and Morgan Law: Blog-Doctor.s- Without Conscience; 2015




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                         Jerry Williamson, M.D.

 1    identification.)

 2    BY MS. MCENROE:

 3          Q.    This is your notice of deposition for your

 4    deposition today.      Have you seen this before (indicating)?

 5          A.    Yes, I have.

 6          Q.    And are you appearing pursuant to this

 7    deposition notice?

 8          A.    Yes.

 9          Q.    Have you testified in any case as an expert

10    witness in the last four years?

11          A.    No.

12          Q.    When was the last time you served as an expert

13    witness?

14          A.    Many years ago.      I -- I can't give you a

15    specific -- probably about 12, 14 years ago,

16    approximately.

17               MR. THRONSON:     Counsel, I am sorry.       Do you mean

18    testified or just retained?

19               MS. MCENROE:     Testified.

20               MR. THRONSON:     Okay.    Okay.

21          A.    12, maybe 14 years ago.

22    BY MS. MCENROE:

23          Q.    Great.    And do you remember the subject matter

24    of that case?

25          A.    It was clinical.      It was pediatrics, but I don't

Golkow Litigation Services                                          JA4429
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 1    recall the specifics of it, no.

 2          Q.    And did you testify at a trial or at a

 3    deposition in that case?

 4          A.    Both.

 5          Q.    And then I presume that the other two or three

 6    times that you served as an expert was prior to that?

 7          A.    Correct.

 8          Q.    And for those, did you testify just at a

 9    deposition or also at a trial, do you recall?

10          A.    I don't recall.

11          Q.    Do you recall generally the subject matter of

12    those other testimonies?

13          A.    They were all clinical.

14          Q.    And when you say clinical, do you mean medically

15    clinical?

16          A.    Correct.

17          Q.    Did any involve the Educational Commission For

18    Foreign Medical Graduates?

19          A.    No.

20          Q.    Did any, to your recall, involve foreign medical

21    graduates or international medical graduates?

22          A.    I don't recall.

23          Q.    In terms of cases in which you served as an

24    expert and provided an expert report but did not testify,

25    do you recall when you most recently did that prior to

Golkow Litigation Services                                          JA4430
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                        Jerry Williamson, M.D.

 1    this case?

 2          A.    That would have been -- well, there were -- I am

 3    trying to remember the case now.          That would have been

 4    a -- yes.     It would have been a fair hearing case where I

 5    provided an expert report.

 6          Q.    When was that?

 7          A.    Within the last year, perhaps a year and a half.

 8          Q.    When you say a fair hearing case, what do you

 9    mean?

10          A.    A fair hearing at a hospital for a physician.

11          Q.    And just very briefly, what kind of

12    circumstances is it that a physician has a fair hearing

13    case?

14          A.    Yeah.    The circumstances were a physician who

15    was dismissed from -- from the hospital for reasons that

16    we are not in agreement with.

17          Q.    And are you on the side of the doctor or on the

18    side of the hospital?

19          A.    Physician, yes.

20          Q.    Prior to that, do you recall when you last

21    served as an expert?

22          A.    That was also a fair hearing case that is

23    pending and very, very similar circumstances in a

24    different city and state.

25          Q.    Are you on the side of the physician or the

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 1    hospital?

 2          A.    The physician.

 3          Q.    And prior to that?

 4          A.    Well, there was another fair hearing case.

 5          Q.    I am getting a sense of a pattern here.           Go

 6    ahead.

 7          A.    And this was a physician in a very similar type

 8    of situation.     And I was -- provided an expert report for

 9    the physician.

10          Q.    And prior to that?

11          A.    It was a credentialing case -- now, these are

12    all within the past four years.         I may not be giving them

13    to you in any particular order.

14          Q.    Okay.

15          A.    But they are all within the past four years.

16          Q.    I appreciate that.

17          A.    It was a negligent credentialing case where I

18    provided a report for the Plaintiff.

19          Q.    When you say negligent credentialing, of whom?

20          A.    Negligent credentialing of a hospital.

21          Q.    By a hospital but of whom?

22          A.    When you say of whom, I am not sure I understand

23    the question.

24          Q.    Who was the hospital negligent in credentialing?

25          A.    Was negligent in credentialing one of their

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 1    nurses.

 2          Q.    A nurse?

 3          A.    Yes.

 4          Q.    And is that the Cane versus Memorial Hermann

 5    Health Systems case?

 6          A.    Is that Texas?

 7          Q.    That is from -- yes, the District Court of

 8    Texas, the 55th Judicial District.

 9          A.    Correct.     That is correct.

10          Q.    Separate from the Cane case, have you ever

11    testified or -- strike that.         I will start over.

12                         Besides this case and the Cane case have

13    you ever previously served as an expert in any case

14    regarding credentialing?

15          A.    The case -- there was one other case that

16    actually the -- the fair hearing case involved peer review

17    and credentialing as well.

18          Q.    Each of the fair hearing cases or one in

19    particular?

20          A.    No.    One -- well, actually two in particular.

21    Let me think now.      Yes, two in particular, two of the

22    three.

23          Q.    And when you say that those two fair hearing

24    cases involved credentialing, credentialing of the

25    physicians but by whom?

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 1          A.    Credentialing of the physicians by the hospital.

 2          Q.    And I have learned from various depositions in

 3    this case, there is a difference between credentialing and

 4    privileging?

 5          A.    Correct.     Correct.    Yes.

 6          Q.    Okay.    And so were the fair hearings -- they

 7    were specifically about credentialing as opposed to

 8    privileging or were they a combination sometimes?

 9          A.    Well, pretty much a combination.

10          Q.    Okay.    Are you drawing a distinction when you

11    say credentialing to exclude privileging or could it be

12    inclusive?

13          A.    It depends on who I am speaking with.

14          Q.    Okay.    Well, now, in describing your expert

15    experience, I just want to get an understanding if you are

16    using the term credentialing, could you also mean that to

17    be privileging as well?

18          A.    Well, they are very distinct.         They are

19    distinct.

20          Q.    In the cases in which you testified regarding

21    the credentialing of the physicians in the fair hearing

22    setting, and I think you said that there were two of them,

23    did both of those involve privileging as well?

24          A.    Correct.

25          Q.    Which specialities, if you don't mind?

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 1          Q.    I will give you back Exhibit 3.          Just hold onto

 2    that for a second.       So do you have any professional

 3    qualifications or certifications that are not listed here?

 4    So, for example, a Ph.D. in something or something that

 5    you deemed not relevant for these purposes but is a degree

 6    that you hold?

 7          A.    A degree, no.

 8          Q.    Any other qualifications or certificates that

 9    you hold that are not listed here other than like a

10    driver's license?

11          A.    No.

12          Q.    Okay.

13          A.    I don't believe -- I don't believe so.

14          Q.    And I see that in your graduate school section

15    you list Loyola University Chicago School Of Law?

16          A.    Yes.

17          Q.    Beazley Institute for Health Law and Policy that

18    you got a master's in health jurisprudence --

19          A.    Correct.

20          Q.    -- in 2010?

21          A.    Yes.

22          Q.    That is not a JD degree, correct?

23          A.    Correct.     It is an MJ.

24          Q.    And you are not a lawyer, correct?

25          A.    Correct.

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 1          Q.    Have you taken or sat for the bar exam in any

 2    state?

 3          A.    I have not.

 4          Q.    And similarly in your appointments, I see that

 5    you have had some interactions with legal institutions,

 6    for example, being an adjunct professor of law at Loyola

 7    University Chicago School of Law, correct?

 8          A.    Correct.

 9          Q.    Were you serving in a lawyerly capacity there,

10    if you will, or -- strike that.          I can restate it.

11                         So what was the subject of your studies

12    that you did there?

13          A.    Risk -- subject of my studies or what I am

14    teaching?

15          Q.    Both.

16          A.    Okay.    The subject of my studies were pretty

17    much across the board in terms of risk management

18    compliance, regulatory issues.         It was a rather complete

19    program that ultimately ended up in a thesis.

20          Q.    And what was your thesis on there?

21          A.    My thesis was on -- let me think for a moment.

22    It was -- goodness.       It is a subject that I am actually

23    lecturing on now, and for some reason it has just

24    disappeared.

25          Q.    Sure.

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 1           A.   Let me think for a moment.

 2           Q.   Does it relate to health and the law?

 3           A.   Pardon me?

 4           Q.   Does it relate to health and the law?

 5           A.   Yes, it does.      It is specific to -- I have it

 6    now.    Thank you.    Apology and disclosure.

 7           Q.   And what do you mean by apology and disclosure?

 8           A.   How physicians present themselves following a

 9    medical mistake and what are some of the state law

10    requirements and what are their obligations ethically as

11    well.

12           Q.   When you say present themself, present themself

13    to who?

14           A.   To the patients and/or the family following a

15    medical mistake.      And basically it involves transparency.

16           Q.   So that is the subject both of your thesis and

17    also of the course that you have taught?

18           A.   That is a part of the subject matter in the

19    course, but that was my thesis, yes.

20           Q.   What is more broadly the subject matter of the

21    course you have taught?

22           A.   That I am currently teaching?

23           Q.   Correct.

24           A.   Risk management.

25           Q.   Have you taught any other courses at Chicago

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 1    School of Law?

 2          A.    We have had programs that are live programs

 3    where I have presented similar types of programs in

 4    conjunction with others, but they vary.            But it was a

 5    single presentation.        It was not a course.

 6          Q.    Sure.    Like a single lecture type of experience?

 7          A.    Exactly.     Yes.

 8          Q.    Have you ever taught a course called Torts?

 9          A.    Called what?

10          Q.    Torts, Legal Torts?

11          A.    Torts.    No.    I have attended a course on torts

12    but, no, I have not taught it.

13          Q.    Okay.    So you are here serving as an expert, and

14    we have spoken a bit about your experience serving as an

15    expert.    I know you are also a medical doctor.           What would

16    you say your typical day job is?

17          A.    It varies.      Typically I am working with cases

18    like this.     I am teaching.     And I lecture around the

19    country in a variety of areas.         And I do consulting work

20    to assist physicians in developing compliance programs.

21          Q.    Are you currently credentialed at any medical

22    facility?    Are you on staff anywhere if I am not using the

23    right terminology?

24          A.    No.   I am not on staff, no.

25          Q.    Okay.    When were you last affiliated to be on

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 1    staff with a medical facility?

 2          A.    Oh, dear.     That would have been -- probably

 3    would have been Mease Hospital, and that would have been a

 4    number of years ago.       It is M-E-A-S-E.

 5          Q.    And you have also spent time working in hospital

 6    administration, is that correct?

 7          A.    I have.

 8          Q.    Okay.    Do you currently work in hospital

 9    administration for any medical center or hospital?

10          A.    Only as a consultant when asked, yes.

11          Q.    When did you last work more formally, not in

12    just a consulting role, in hospital administration?

13          A.    More formally would have been at Cape Coral

14    Hospital where I was the vice president for medical

15    affairs.

16          Q.    And when did you do that until?

17          A.    I would probably have to look at my CV.

18          Q.    Go ahead -- go ahead and take a look.           I am not

19    trying to do a pop quiz.

20          A.    I understand.      I would say on or about 1993,

21    '94, somewhere in that.

22          Q.    I see on the second page at the very top you

23    have Cape Coral Hospital until '94?

24          A.    Yes.

25          Q.    Is that right?

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 1          A.    Yes.

 2          Q.    And I know you testified earlier about serving

 3    as an expert in fair -- physician fair hearings?

 4          A.    Yes.

 5          Q.    Did you also ever serve professionally in your

 6    role as a hospital administrator in physician fair

 7    hearings?

 8          A.    As vice president of medical affairs I have.

 9          Q.    When you served as the vice president for

10    medical affairs for Cape Coral Hospital, did you also play

11    any role in the hiring or credentialing or privileging of

12    physicians?

13          A.    Most definitely.

14          Q.    And in other roles prior to that, did you do

15    that as well?

16          A.    I did.

17          Q.    Did you ever play a role in the hiring or

18    evaluation of resident applicants?

19          A.    I may have in the past, but I don't recall

20    exactly when.

21          Q.    Okay.    Have you ever been in a role throughout

22    your career where you oversaw directly or indirectly the

23    work of residents?

24          A.    Well, I currently am on the faculty at Florida

25    State University, and I work in their residency program

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 1    that were actually -- the ones that signed the letter and

 2    wrote the letter.

 3          Q.    So you are saying that you would directly

 4    receive the letters of recommendation from the

 5    recommenders themselves?

 6          A.    Correct.     Either that -- and it is helpful when

 7    we get those letters because it tells you a fair amount

 8    about the individual, so that is helpful.            If in fact

 9    there is something in the letter that is of concern to

10    me -- well, for the most part I was rather aggressive and

11    contacted all letters that I received.           And the reason for

12    that is because there's times where things are not placed

13    in a letter that is communicated best by telephone.

14          Q.    Sure.    There might be things that are more

15    unsaid than said?

16          A.    Nuances.

17          Q.    I understand.      Would you expect that there would

18    typically be an interview or in-person component?

19          A.    I have never hired an individual without an

20    interview.

21          Q.    Okay.    If the candidate were to have been

22    foreign educated, so educated outside the United States,

23    have you had experience with hiring foreign medical

24    graduates as well?

25          A.    Most certainly.

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 1    numbers?

 2          A.    Yes.

 3          Q.    And you mentioned having interacted with ECFMG

 4    during some of those processes?

 5          A.    Correct.

 6          Q.    What information did you recall receiving from

 7    ECFMG during those processes?

 8          A.    There were -- I don't recall them all, but they

 9    were very helpful, because what ECFMG provided to us, we

10    relied upon and did not in fact need to duplicate our

11    efforts.    So that was -- and there were -- in essence for

12    us a ECFMG certificate meant a lot.

13          Q.    Do you recall what information was communicated

14    through the ECFMG certificate?

15          A.    I don't.     Not -- I mean, I know that they

16    provided for us the medical education and letters of

17    reference and such, but I don't recall each -- each item.

18    I don't.

19          Q.    I know I asked earlier about whether you have

20    come across Dr. Akoda's patients in your career.              Have you

21    ever come across Dr. Akoda directly himself?

22          A.    No.

23          Q.    Given that you have never met Dr. Akoda directly

24    yourself, from where did you get the information regarding

25    Dr. Akoda and his background for the purposes of serving

Golkow Litigation Services                                           JA4442
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 1    as an expert in this case?

 2          A.    I think it was provided to me by my attorney.

 3          Q.    Did you get any information regarding Dr. Akoda

 4    from outside research you conducted independently?

 5          A.    The only thing that I received was the -- I

 6    believe it was the Department of Justice, their charges

 7    and their decision in terms of -- I am trying to think.

 8    That came through the American Board of Obstetrics and

 9    Gynecology.     So that is my recollection on that, yes.

10          Q.    Did you, like, sit down and google Dr. Akoda and

11    read news articles about him or anything of the like?

12          A.    No.   That was the only news article that I saw

13    was through the American Board of Obstetrics and

14    Gynecology.     All of the other information was rather

15    comprehensive and complete in terms of what I received and

16    the documents that I received.

17          Q.    Did you interact with or read posts by any of

18    the Plaintiffs in this case on social media?

19          A.    Could you repeat that question?

20          Q.    Yeah.    Have you interacted with any of the

21    Plaintiffs in this case through social media?

22          A.    I -- I don't participate in social media at all.

23          Q.    You haven't read Facebook posts, for example?

24          A.    No.

25          Q.    Have you ever interacted with any of the

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 1                 (Whereupon, a brief break was taken.)

 2                VIDEOGRAPHER:    Back on the record at 10:43.

 3    BY MS. MCENROE:

 4          Q.     So, Dr. Williamson, I want to make sure we get

 5    for purposes of the record a clear indication of what it

 6    is that you have brought with you today.            And is this the

 7    sum total of the materials you have looked at and

 8    considered in the preparation of your report?

 9          A.     Correct.    You haven't looked at these

10    (indicating).     This is a part of it as well.

11          Q.     Thank you.

12          A.     You're welcome.

13          Q.     We will look through this as well.

14    So the first thing I want to do is go through a black

15    binder that you handed up that has a label on the side

16    that says Class Action Lawsuit ECFMG, Janet, Janet &

17    Suggs.     And in the front pocket there was some handwritten

18    notes it looks like by you.         Is this your handwriting?

19          A.     Correct.

20                MS. MCENROE:    And I am going to go ahead and mark

21    this as Exhibit 4 so we can keep it as part of the record.

22                 (Thereupon, Exhibit 4 was marked for

23    identification.)

24    BY MS. MCENROE:

25          Q.     And it is subject lined or you have written on

Golkow Litigation Services                                           JA4444
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 1    the top of it, Kelly Depo Key Points, is that correct?

 2          A.    Correct.

 3          Q.    And those are your notes from Mr. Kelly's

 4    deposition?

 5          A.    Correct.

 6          Q.    I don't have a paper clip but we can hold those

 7    together.

 8               MR. THRONSON:      I have got one.

 9               MS. MCENROE:      Great.

10    BY MS. MCENROE:

11          Q.    And that was in the front pocket of a binder

12    that has an index with the following entries, and so I am

13    just going to read these into the record.

14                         The first is William Kelly, 8-20-19

15    deposition transcript with Exhibits 1 to 25.             And that is

16    material you reviewed and considered, is that correct?

17          A.    Correct.

18          Q.    And then it says Tab B is the class action

19    complaint, is that correct?

20          A.    I can't see it from here.

21          Q.    Did you review the class action complaint in

22    this case?

23          A.    I did.    Yes.

24          Q.    And that was the complaint from this case, is

25    that correct?

Golkow Litigation Services                                           JA4445
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 1          A.    Correct.

 2          Q.    Have you reviewed the complaint in any other

 3    case filed by these Plaintiffs?

 4          A.    I don't understand the question.

 5          Q.    Have you reviewed any complaint filed by the

 6    same group of Plaintiffs in any other case against any

 7    defendant other than ECFMG?

 8          A.    No.

 9          Q.    And then it says Tab C is the Answer to Class

10    Action Complaint and Alternative Defenses.            Do you recall

11    reviewing that?

12          A.    I do.

13          Q.    Okay.    And then the next tab is Defendant's

14    Responses and Objections to Plaintiff Jasmine Riggins'

15    First Set Of Interrogatories and First Request For

16    Production.     Do you recall having reviewed those?

17          A.    May I ask, is that highlighted?

18          Q.    It is highlighted.

19          A.    Whatever is highlighted, I reviewed.

20          Q.    Okay.    So the things that are not highlighted,

21    you did not review?

22          A.    Correct.

23          Q.    Okay.    So that one is highlighted.         The next one

24    is also highlighted, Defendant's Objections and Responses

25    to Plaintiffs' Request For Admission Of Facts and

Golkow Litigation Services                                           JA4446
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 1    Genuineness Of Documents.        Do you recall having reviewed

 2    that?

 3          A.    Yes.

 4          Q.    Okay.    Then there are two more entries that are

 5    not highlighted.      One is Defendant's Objections And

 6    Responses to Plaintiffs' Second Request For Admission Of

 7    Facts and Genuineness of Documents.           That is not

 8    highlighted.     Does that mean you did not review it?

 9          A.    I don't recall reviewing that, but I can't say

10    for certain.

11          Q.    Okay.    And then the last thing in this binder is

12    a non-highlighted tab that says ECFMG web pages.

13          A.    I did look at that.

14          Q.    You did look at that?

15          A.    Yes.

16          Q.    And I want to take a quick look at what that is.

17    In fact, I am going to hand this back to you to see if you

18    can point me to what that is.

19          A.    Okay.

20          Q.    You might be better able to navigate than I am

21    through this.      We'll get you all mic'd back up.

22          A.    I did not look at that.

23          Q.    Okay.    And can I just see what that is real

24    quick?

25          A.    Sure.

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 1          Q.     Thank you.    So for the purposes of the record

 2    the ECFMG web pages references here are the About ECFMG

 3    page, the About Certification page, Continued

 4    Certification Information --

 5          A.     Oh, I am sorry.     My mistake.     I did look at

 6    that.

 7          Q.     Okay.    So the part that you did review is the

 8    policies and procedures regarding irregular behavior?

 9          A.     Correct.

10          Q.     Okay.    And that is from ECFMG's website?

11          A.     It's what's here.

12          Q.     Great.    Okay.   And then there is an article,

13    USMLE Takes Action Against Individuals Found to Have

14    Engaged in Irregular Behavior.         Have you reviewed that?

15          A.     I believe so.

16          Q.     And then there is an ECFMG certification fact

17    sheet.     Have you reviewed that?

18          A.     I don't believe so.

19          Q.     Okay.    And then there is a page entitled ERAS

20    Support Services for ECFMG?

21          A.     The reason -- if I may, Ms. McEnroe?

22          Q.     Yes.

23          A.     The reason -- I am thinking in terms of -- I

24    also saw some of this material on a website.             I also saw

25    some of this material elsewhere.          And I may not have seen

Golkow Litigation Services                                           JA4448
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 1    this particular document, but what you are describing or

 2    listing, I have seen that material.           I just don't know

 3    exactly where.

 4          Q.     Understood.    So some of that may be material you

 5    saw on ECFMG's website directly?

 6          A.     Correct.    Yes.

 7          Q.     And were you directed to those web pages or did

 8    you navigate to those web pages independently?

 9          A.     No.    I navigated independently.

10          Q.     And the last one in this set of ECFMG web pages

11    is a page entitled An Announcement Regarding Fraudulent

12    Letters of Recommendation.         Do you recall having reviewed

13    that?

14          A.     No.

15          Q.     Okay.    There is a Tab L in this binder that has

16    a piece of paper at the top of it that says ECFMG Fast

17    Facts.     Do you recall if you reviewed this page?

18          A.     Again, I may have seen that same information on

19    the website.       I don't know what's on that page.        I can't

20    -- I can't say.

21          Q.     Okay.

22          A.     May I see that?

23          Q.     Yes.    Absolutely.    It looks like there's a

24    couple of copies of the same thing.           So I might ask if you

25    don't mind comparing that to the page behind it, and then

Golkow Litigation Services                                           JA4449
                                                                        Page 41
 Case:2:18-cv-05629-JDW
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                          Jerry Williamson, M.D.

 1    we can take one of those out and mark it as an exhibit.

 2           A.    They are duplicate.

 3           Q.    Great.    Thank you.

 4                MS. MCENROE:    I am going to mark this as Exhibit

 5    5.   And again, this came out of Tab L from Dr.

 6    Williamson's binder.

 7                 (Thereupon, Exhibit 5 was marked for

 8    identification.)

 9    BY MS. MCENROE:

10           Q.    And so at the top it says ECFMG Fast Facts.            Do

11    you see that?

12           A.    Yes.

13           Q.    Okay.

14           A.    And I am familiar with this.        And I can't tell

15    you specifically which document had the same information

16    but --

17           Q.    Okay.    Thank you.    Can I see the binder back?

18           A.    Sure.

19           Q.    Thank you.    Who put this binder together, did

20    you?

21           A.    No.    It was -- I received it as such.        I changed

22    the binder itself because the other binder was too small.

23           Q.    Oh, the physical binder?

24           A.    The physical binder, correct.

25           Q.    You brought other hard copy materials with you

Golkow Litigation Services                                           JA4450
                                                                        Page 42
 Case:2:18-cv-05629-JDW
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                        Document 94-112561     Date Filed:
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                                                        Page   25 of 69
                         Jerry Williamson, M.D.

 1    in addition to this binder including a pile you had handed

 2    me with a number of binder-clipped sets of documents

 3    together?

 4          A.    Yes.

 5          Q.    The first one I am looking at has a cover page

 6    in all caps that says JW-NOTES: MONIQUE RUSSELL

 7    DEPOSITION:.     Did you prepare this cover page?

 8          A.    I did.

 9          Q.    And then it looks behind it that it has Monique

10    Russell's deposition transcript with a couple of

11    highlightings and some flags.         Is that highlighting and

12    are those flags yours?

13          A.    Yes.

14          Q.    And on the front cover it says 2.0 hours.               Is

15    that your handwriting?

16          A.    Yes.

17          Q.    Does that mean you spent two hours looking at

18    this?

19          A.    Correct.

20               MS. MCENROE:     And for the purposes of the record,

21    I am just going to mark this cover page.

22                 (Thereupon, Exhibit 6 was marked for

23    identification.)

24    BY MS. MCENROE:

25          Q.    Did you prepare these notes prior to issuing

Golkow Litigation Services                                           JA4451
                                                                        Page 43
 Case:2:18-cv-05629-JDW
 Case  22-1998 Document:  22-5 Page:
                        Document 94-112562     Date Filed:
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                                                        Page   26 of 69
                        Jerry Williamson, M.D.

 1    your expert report?

 2          A.    No.

 3          Q.    When did you prepare those notes?

 4          A.    Shortly after I reviewed them.          And that was

 5    after my expert report.        I don't recall the exact date and

 6    time.

 7          Q.    Okay.    Did you receive Ms. Russell's deposition

 8    transcript prior to issuing your expert report?

 9          A.    No.

10          Q.    When did you receive it?

11          A.    I don't know exactly, but it was after the

12    expert report.

13          Q.    Okay.    And the next set of pages here from the

14    same pile has a cover page that says JW-NOTES: ELSA

15    POWELL DEPOSITION:, and then it has some all-caps notes.

16    Again, are these your notes?

17          A.    Yes, they are.

18          Q.    And behind it is appended Ms. Powell's

19    deposition transcript with handwriting of 1.6 hours.                Is

20    that your handwriting?

21          A.    Correct.

22          Q.    And is that the time you spent?

23          A.    Correct.

24          Q.    And there is again highlighting and tabs, and

25    that is your highlighting and your tabs?

Golkow Litigation Services                                           JA4452
                                                                        Page 44
 Case:2:18-cv-05629-JDW
 Case  22-1998 Document:  22-5 Page:
                        Document 94-112563     Date Filed:
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                         Jerry Williamson, M.D.

 1          A.    That is correct.

 2               MS. MCENROE:     And for the purposes of our record,

 3    I am just going to mark this cover page as well.              And this

 4    will be Exhibit 7.

 5                 (Thereupon, Exhibit 7 was marked for

 6    identification.)

 7    BY MS. MCENROE:

 8          Q.    And again, did you receive Ms. Powell's

 9    deposition transcript following the issuance of your

10    expert report?

11          A.    Yes.

12          Q.    Okay.    And then the next thing in the pile is a

13    copy of a deposition transcript from Jasmine Riggins dated

14    September 12th, 2019.       And you wrote .7 hours on it.           And

15    there is a handwritten note that says deposition

16    interrupted to accommodate schedules.           Discussion focuses

17    on -- I can't read that.        What does that say next?

18          A.    Okay.    Discussion focuses on adhesions.

19          Q.    Okay.    Can you keep reading the rest of the

20    note?

21          A.    Sure.    Noted by Akoda following C-section.

22    Ms. Riggins holds Akoda accountable.

23          Q.    And is that your handwriting?

24          A.    Yes, it is.

25          Q.    And those are your notes?

Golkow Litigation Services                                           JA4453
                                                                        Page 45
 Case:2:18-cv-05629-JDW
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                        Document 94-112564     Date Filed:
                                        Filed 01/14/22     09/08/2022
                                                        Page   28 of 69
                          Jerry Williamson, M.D.

 1          A.     Yes, it is.

 2          Q.     And is the .7 noted there the time you spent

 3    looking at the deposition transcript?

 4          A.     Correct.

 5          Q.     Did you receive that deposition transcript

 6    before or after you issued your expert report?

 7          A.     After.

 8          Q.     Thank you.

 9          A.     You are welcome.

10          Q.     And the next in this pile is a set of pages that

11    has on the top of it a cover page headed JW-NOTES: DESIRE

12    EVANS DEPOSITION: and then a series of all caps notes and

13    one handwritten that says, unwillingness to take her child

14    to PEDI; loss of trust.        Are those your notes?

15          A.     Yes.

16          Q.     And I assume the P-E-D-I means pediatrician?

17          A.     Correct.

18          Q.     And behind this cover page is a copy of Ms.

19    Evan's deposition transcript with some highlighting and

20    flags.     Are the highlighting and flags yours?

21          A.     Yes.

22                MS. MCENROE:    I am going to mark this cover note

23    as Exhibit 8.

24                 (Thereupon, Exhibit 8 was marked for

25    identification.)

Golkow Litigation Services                                           JA4454
                                                                        Page 46
 Case:2:18-cv-05629-JDW
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                        Document 94-112565     Date Filed:
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                         Jerry Williamson, M.D.

 1    BY MS. MCENROE:

 2          Q.    And did you receive and review this deposition

 3    transcript following the issuance of your expert report in

 4    this case?

 5          A.    I did.

 6          Q.    Okay.    And the next thing in this pile is a

 7    printout of the deposition of David Markenson.             And it

 8    doesn't have any cover notes to it.           It does have some

 9    highlighting in it.       Is the highlighting yours?

10          A.    Yes.

11          Q.    When did you review this deposition transcript?

12          A.    I don't recall.

13          Q.    Okay.    It is dated October 22nd, 2019.          So that

14    would have been following the issuance of your expert

15    report, correct?

16          A.    I would have to look at my expert report date.

17    I don't recall what the date on that is, if I may?

18          Q.    Sure.

19               MS. MCENROE:     I am handing you what I have marked

20    as Exhibit 9.

21                 (Thereupon, Exhibit 9 was marked for

22    identification.)

23    BY MS. MCENROE:

24          Q.    You will see at the top it is labeled Jerry

25    Williamson, M.D., F.A.A.P., M.J., CHC., LHRM and then it

Golkow Litigation Services                                           JA4455
                                                                        Page 47
 Case:2:18-cv-05629-JDW
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                        Document 94-112566     Date Filed:
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                                                        Page   30 of 69
                         Jerry Williamson, M.D.

 1    says September 22nd, 2019?

 2          A.    Yes.

 3          Q.    And is that your expert report in this case?

 4          A.    Yes.

 5          Q.    And that date, September 22nd, 2019, is to the

 6    day, a month before Dr. Markenson's deposition, correct?

 7          A.    Correct.

 8          Q.    So you reviewed Dr. Markenson's deposition

 9    transcript after you provided your expert report in this

10    case?

11          A.    Yes.

12          Q.    There is another whole set of documents here,

13    and I will go through what they are for the purposes of

14    the record, but is there a reason this set was set aside

15    separately from the rest of the documents?            Are these

16    specific documents received after your expert report or is

17    it just the way that they ended up being organized?

18          A.    It's just the way they were organized.

19          Q.    Okay.    Moving to the file folder set you have

20    here, I am just going to go through the contents of each

21    for purposes of the record, trying not to take the whole

22    day with this, but just making sure we have this clear.

23    The very first thing in here is what you have headed on

24    your folder, Joint Commission Comment.

25          A.    Yes.

Golkow Litigation Services                                           JA4456
                                                                        Page 48
 Case:2:18-cv-05629-JDW
 Case  22-1998 Document:  22-5 Page:
                        Document 94-112567     Date Filed:
                                        Filed 01/14/22     09/08/2022
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                         Jerry Williamson, M.D.

 1          Q.    In a manila folder?

 2          A.    Uh-huh.

 3          Q.    And then the contents though are about ECFMG's

 4    certification page, is that correct?

 5          A.    That is correct.

 6          Q.    And why did you do that?        Why did you put that

 7    in that folder?

 8          A.    Well, because the Joint Commission has made it

 9    rather clear that the credentialing -- the primary source

10    credentialing by ECFMG is satisfactory for any other

11    credentialing organization to accept.

12          Q.    Then you have a folder entitled Williamson

13    Expert Report, and it has a sticky note inside that says

14    ForensisGroup, Inc, Thomson Reuters, The Expert Institute.

15    Do you see that?

16          A.    Yes.    I put that in there just to remind myself

17    in the event that you want to know who I potentially work

18    with in terms of expert companies that retain me.

19          Q.    Okay.    And are you working in this case through

20    any of those expert groups?

21          A.    I have no idea who I am working through.

22          Q.    Okay.    That is fair.     So these are groups that

23    you have worked through before?

24          A.    Worked through before, yes.

25          Q.    Okay.    And there is highlighting on this copy of

Golkow Litigation Services                                           JA4457
                                                                        Page 49
 Case:2:18-cv-05629-JDW
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                        Document 94-112568     Date Filed:
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                                                        Page   32 of 69
                         Jerry Williamson, M.D.

 1    your expert report.       Is that your highlighting?

 2          A.    Yes, it is.

 3          Q.    And why did you highlight some of this?

 4          A.    Just to remind myself of some key points.

 5          Q.    Okay.    The next file folder is entitled ECFMG

 6    Irregularity Report, is that correct?

 7          A.    Yes.

 8          Q.    And that is a folder that includes a one page

 9    document Bates number ECFMG_RUSS_90, 9-0, and it is

10    subject headed ECFMG Irregularity Report, so it make

11    senses why you called it the ECFMG Irregularity Report.

12    Did you receive this prior to the issuance of your expert

13    report?

14          A.    No.

15          Q.    Do you recall when you received that?

16          A.    Within the past week.

17          Q.    Did you ask for that?

18          A.    I did.

19          Q.    Okay.    And what specifically did you ask for?

20          A.    If there was an irregularity report.           I believe

21    that you had -- when I received my deposition request,

22    that that was an item that was specifically on your list

23    as well.

24          Q.    The next folder is called Dr. David Markenson

25    Exhibits.    And it has the set of exhibits with some

Golkow Litigation Services                                           JA4458
                                                                        Page 50
 Case:2:18-cv-05629-JDW
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                        Document 94-112569     Date Filed:
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                                                        Page   33 of 69
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 1    handwritten notes and some highlighting.            Are these notes

 2    and highlighting yours?

 3          A.    Yes.

 4          Q.    Did you receive these exhibits at the same time

 5    you received the -- I am sorry -- the deposition

 6    transcript for Dr. Markenson?

 7          A.    I don't recall.

 8          Q.    Do you know Dr. Markenson?

 9          A.    I do not.

10          Q.    Have you ever spoken to him before?

11          A.    I have not.

12          Q.    Have you ever met with him or been in a meeting

13    with him that you know of?

14          A.    I have not.

15          Q.    Okay.    The next folder is subject headed

16    Addendum of Documents Rule 26.         And it says -- at the top

17    it has your name and then it says addendum as of November

18    21st, 2019.     And then it looks to be a disclosure of

19    additional documents.       There's a couple of copies in here.

20    So I will hand you one of them.

21          A.    Yes.

22          Q.    Is that intended for disclosure today?

23          A.    Yes.

24          Q.    Okay.    This might help shortcut some of the

25    discussion of what was reviewed when.

Golkow Litigation Services                                           JA4459
                                                                        Page 51
 Case:2:18-cv-05629-JDW
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                        Jerry Williamson, M.D.

 1          A.     Sure.

 2                MS. MCENROE:    I am marking this as Exhibit 10.

 3                 (Thereupon, Exhibit 10 was marked for

 4    identification.)

 5    BY MS. MCENROE:

 6          Q.     And you write:     After submitting my expert

 7    report that included the documents I reviewed pursuant to

 8    Rule 26, there were additional documents reviewed.              The

 9    following list represents the additional documents I

10    received and reviewed from legal counsel at Janet, Janet &

11    Suggs.     And then you have a list, right?

12          A.     Correct.

13          Q.     And then you say reviewing the aforementioned

14    documents did not change my opinion in any material way.

15    My conclusions have not changed.          And then you have your

16    name at the bottom, is that correct?

17          A.     Correct.

18          Q.     So is this an intended addendum of your expert

19    report which we have as Exhibit 9?

20          A.     For completeness, yes.

21          Q.     Would you have any other intended addenda or

22    modifications of your expert report aside from this

23    Exhibit 10 I think we marked it?

24          A.     I don't believe so, no.

25          Q.     Do you know why you received these?          Did you ask

Golkow Litigation Services                                           JA4460
                                                                        Page 52
 Case:2:18-cv-05629-JDW
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                         Jerry Williamson, M.D.

 1    for them?

 2          A.    I don't recall.

 3          Q.    Okay.    Moving along in the manila folders that

 4    you have brought.      There is a folder named Plaintiff's

 5    expert report Jonathan Burroughs, M.D., and then a copy of

 6    Dr. Burroughs' expert report in this matter.             Did you

 7    review that?

 8          A.    I did.

 9          Q.    When?

10          A.    I believe in the past week.

11          Q.    So it was after the issuance of your expert

12    report?

13          A.    Yes.

14          Q.    Do you know Dr. Burroughs?

15          A.    I do not.

16          Q.    Do you have any understanding of whether

17    Dr. Burroughs is still being put forward as an expert in

18    this case?

19          A.    I have no idea.

20          Q.    You don't know one way or the other?

21          A.    Don't know.

22          Q.    To your knowledge, have you ever spoken to

23    Dr. Burroughs?

24          A.    No.    I have not.

25          Q.    To your knowledge, have you ever been in a

Golkow Litigation Services                                           JA4461
                                                                        Page 53
 Case:2:18-cv-05629-JDW
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                        Document 94-112572     Date Filed:
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 1    meeting with him?

 2          A.    I suspect -- not to my knowledge, but I suspect

 3    that he has attended the same meetings that I have because

 4    we are both members of AHLA.         And at AHLA meetings where

 5    I have either presented a program or attended as an

 6    attendee, I suspect he may very well have been there.

 7          Q.    But not related to this case in particular?

 8          A.    No.

 9          Q.    Okay.    The next folder is entitled Plaintiff's

10    Expert Disclosure, Plaintiff's Rebuttal Expert Disclosure.

11    And it includes a copy of two filings from this case,

12    Plaintiffs' Rebuttal Expert Disclosure and Plaintiffs'

13    Expert Disclosure, the actual sort of written-up documents

14    that are formal court documents.          Did you review these in

15    connection with forming your opinion?

16          A.    I did.    I did -- not in forming my opinion.

17          Q.    So these would have been received afterwards?

18          A.    Correct.

19          Q.    Okay.    The next folder is entitled Expert

20    Reports Plaintiff Dr. Tellefsen/John Hyde.            And inside

21    there is a copy of Dr. Tellefsen's report dated September

22    20th, 2019, in connection with this case and the report of

23    Dr. Hyde dated September 23rd, 2019, in this case.              Did

24    you review these two reports?

25          A.    I did.

Golkow Litigation Services                                           JA4462
                                                                        Page 54
 Case:2:18-cv-05629-JDW
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                        Document 94-112573     Date Filed:
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 1          Q.    Okay.    Is there a reason why you put them

 2    together in the same folder?

 3          A.    Just to save on a folder.

 4          Q.    Okay.    There is some highlighting here.          Is that

 5    your highlighting?

 6          A.    It is.

 7          Q.    Do you know Dr. Tellefsen?

 8          A.    Do not.

 9          Q.    Have you ever been in a meeting with her to your

10    knowledge?

11          A.    Not to my knowledge.

12          Q.    Do you know Dr. Hyde?

13          A.    I do not.

14          Q.    Have you ever been in a meeting with him to your

15    knowledge?

16          A.    Not to my knowledge.

17          Q.    Have you spoken to either Drs. Tellefsen or

18    Hyde?

19          A.    I have not.

20          Q.    We are making process here.         The next folder

21    is entitled Plaintiff Expert Reports

22    Markenson/Phillips/Luciani.         And then inside there is a

23    copy of an expert report from Dr. Markenson, a copy of a

24    report from Dr. Luciani and a report from Dr. Phillips.

25    Have you reviewed these reports?

Golkow Litigation Services                                           JA4463
                                                                        Page 55
 Case:2:18-cv-05629-JDW
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                        Document 94-112574     Date Filed:
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 1          A.    I have.

 2          Q.    And the highlighting or handwritten notes on

 3    these, are those yours?

 4          A.    They are.

 5          Q.    Do you know Drs. Luciani, Markenson or

 6    Phillips?

 7          A.    Do not.

 8          Q.    Have you spoken to any of them?

 9          A.    I have not.

10          Q.    To your knowledge have you been in a meeting

11    with any of them?

12          A.    To my knowledge, I have not.

13          Q.    In advance of providing your expert report, did

14    you review any drafts of any other expert reports in this

15    case?

16          A.    Whatever is listed in my expert report is what I

17    reviewed.

18          Q.    So if there are no drafts listed there, then you

19    did not review any drafts, is that correct?

20          A.    Drafts from?

21          Q.    Other experts.

22          A.    Other experts.      I did not.

23          Q.    Okay.    The next in this set of documents and

24    without a manila folder is a copy of the rough transcript

25    of Stephen Seeling.       And at the top it is handwritten

Golkow Litigation Services                                           JA4464
                                                                        Page 56
 Case:2:18-cv-05629-JDW
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 1    deposition of Stephen Seeling, do you see that?

 2          A.    Yes.

 3          Q.    Is this something that you reviewed in

 4    conjunction with the preparation of your expert report?

 5          A.    I did.

 6          Q.    And there are flags and handwritten notes and

 7    some highlighting in these.         Is that marcation yours?

 8          A.    Yes, it is.

 9          Q.    Okay.    The next folder in what you brought is

10    subject line -- or I should say is titled Expert Report

11    Plaintiff Annie Steinberg, M.D., and then inside is a copy

12    of Dr. Steinberg's report and there's highlighting on

13    this.   Is that highlighting yours?

14          A.    Yes.

15          Q.    Do you know Dr. Steinberg?

16          A.    I do not.

17          Q.    Have you spoken to Dr. Steinberg?

18          A.    I have not.

19          Q.    Do you know if you have ever been in a meeting

20    with Dr. Steinberg?

21          A.    Not to my knowledge.

22          Q.    Okay.    The next folder is entitled ABIM

23    Report/Akoda.      And then inside I see the cover page is a

24    subpoena to produce documents, information or objects or

25    to permit inspection on premises in a civil action

Golkow Litigation Services                                           JA4465
                                                                        Page 57
 Case:2:18-cv-05629-JDW
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 1    directed to the American Board of Internal Medicine.                And

 2    then some documents that it looks like they produced

 3    behind that.     Do you know when you received these

 4    documents?

 5          A.    I don't recall.

 6          Q.    Okay.    Do you know if you reviewed them in

 7    conjunction with the preparation of your report?

 8          A.    If it is not listed, then I did not.           It is not

 9    listed in my expert report.

10          Q.    Okay.    On the third page from the back of this

11    set of documents, you highlighted a line that says

12    unsatisfactory, consistently falls short of reasonable.

13    And then you have some handwritten notes.            Could you

14    please read those notes into the record?

15          A.    How conclusions were reached.          Go to moral and

16    ethical impacting patient safety.          Risks to patients

17    increased.     Rights to be free from sexual assault.

18    Question mark, ABIM notify ECFMG.

19          Q.    And what did you mean by that last --

20          A.    Whether or not the American Board of Internal

21    Medicine had notified ECFMG regarding this report.

22          Q.    Can I see that back?

23          A.    Uh-huh.

24          Q.    And do you know one way or another if the

25    American Board of Internal Medicine did notify ECFMG?

Golkow Litigation Services                                           JA4466
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 1          A.    I do not.

 2          Q.    Do you expect that they should have?

 3          A.    I don't know the inner workings of the American

 4    Board of Internal Medicine, so I can't really say.

 5          Q.    Do you think that they would have or should have

 6    notified any other parties, hospital systems, boards of

 7    medicine?

 8          A.   Again, I don't know what their P&Ps are, their

 9    policies and procedures are.         It is out of my area of

10    expertise.

11          Q.    Okay.    Are ECFMG's policies and procedures

12    within your area of expertise?

13          A.    I would say yes.

14          Q.    So how do you know more about ECFMG's policies

15    and procedures than you know about the American Board of

16    Internal Medicine's policies and procedures?

17          A.    I have had a fair amount of experience working

18    with ECFMG over the years as I mentioned previously.                So

19    that is the reason why the American Board of Internal

20    Medicine -- as a pediatrician, I have had, you know,

21    limited exposure to them.

22          Q.    Okay.    The next folder here is entitled

23    Plaintiffs' Timeline.

24               MS. MCENROE:     It is a document that we will mark

25    for purposes of the record, and I actually think I have

Golkow Litigation Services                                           JA4467
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 1    that correct?

 2          A.    Once ECFMG provides that certificate for the

 3    physician, then we are looking at a residency program,

 4    and the residency program needs to be completed

 5    satisfactorily.      At that point in time, the individual can

 6    go ahead and practice medicine with a license.

 7          Q.    Okay.    So there are more steps between ECFMG

 8    certification and licensure than just a certificate is

 9    issued and then there is a license issued, correct?

10          A.    Correct.     No, there are additional steps, but

11    the ECFMG point in the cascade of events is critical for

12    the others to take place.

13          Q.    Right.

14          A.    So it is a -- it is an important -- possibly the

15    most important step in moving forward.

16          Q.    So moving forward from ECFMG certification, the

17    next step would be application and acceptance with a

18    residency program, correct?

19          A.    Correct.

20          Q.    And if no residency program accepts an

21    applicant, then that is just as critical as if ECFMG

22    didn't issue an ECFMG certificate, is that fair?

23          A.    That is fair.      And I would then ask why did the

24    residency program not accept the individual.

25          Q.    Are you aware of reasons why a residency program

Golkow Litigation Services                                           JA4468
                                                                        Page 68
 Case:2:18-cv-05629-JDW
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                        Jerry Williamson, M.D.

 1    may not accept an individual?

 2          A.    Well, their -- the basic one is that they don't

 3    have any room.

 4          Q.    Sure.

 5          A.    That they are full in terms of the number of

 6    residents they have.       Other reasons that the specialty or

 7    the -- I should not say the specialty, but that the

 8    applicant's application did not meet certain criteria.

 9          Q.    Including, for example, there could be failures

10    on USMLE steps?

11          A.    That I could not say.        That I don't know.

12          Q.    Okay.    And then in the next steps -- so after an

13    individual is accepted to a residency program they then

14    need to actually perform, right, and participate in the

15    residency program satisfactorily so they can complete the

16    residency, is that correct?

17          A.    That is correct.

18          Q.    Okay.    And at some point during the residency,

19    presumably they would take step 3 of the USMLE as well?

20          A.    Correct.

21          Q.    And they would need to be able to pass step 3?

22          A.    Correct.

23          Q.    In your experience, are residents supervised or

24    not supervised during the course of the residency program?

25          A.    When you say supervised, there are various

Golkow Litigation Services                                           JA4469
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 1    levels of supervision.       So depending upon where they are

 2    in their program, whether they are a first, second or

 3    third year resident would make that determination in terms

 4    of what the oversight would be.

 5          Q.    So they would start out being more supervised at

 6    the beginning of their residency and presumably could be

 7    less towards the end?

 8          A.    Correct.

 9          Q.    And then they would -- presumably if they finish

10    their residency and they passed step 3, they then would be

11    eligible to apply for licensure?

12          A.    That is correct.

13          Q.    And in some states -- do I have this correct,

14    that there could be a restricted license during the course

15    of a residency sort of like a student license?

16          A.    That is my understanding as well, yes.

17          Q.    Okay.    But some states don't really have that

18    kind of concept?

19          A.    Correct.

20          Q.    But then for full unrestricted licensure in the

21    United States, you need to finish your residency program

22    satisfactorily, correct?

23          A.    Yes.

24          Q.    And then have you been licensed to practice

25    medicine in any states in the United States?

Golkow Litigation Services                                           JA4470
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 1    The American Academy of Pediatrics.

 2          Q.    That is what I am getting at.          So you would say

 3    you are board certified in pediatrics?

 4          A.    I am.

 5          Q.    Are you board certified in any other

 6    specialties?

 7          A.    No.

 8          Q.    Have you ever been involved in admitting anybody

 9    to a specialty board?       And what I mean by that is, have

10    you ever been, you know, a participant on the other side

11    trying to decide if someone should or should not be

12    admitted to a specialty board?

13          A.    Have not.

14          Q.    Do you have an understanding of whether

15    residents get paid?

16          A.    Do they get paid?

17          Q.    Yes.

18          A.    Most definitely.

19          Q.    And do they get paid as W-2 employees, do you

20    know?

21          A.    I don't know what the -- how that -- how the

22    payment is made, no.       I don't know.

23          Q.    Do you know if they provide social security

24    numbers and if those are run through in order to do

25    payroll?    Do you know one way or the other?

Golkow Litigation Services                                           JA4471
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 Case:2:18-cv-05629-JDW
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 1    background checks.

 2          A.    A CVO.    Yeah.    CVO, credential verification

 3    organization, yes.       And at times they will do that.            At

 4    times -- and there are -- I think right now there's

 5    probably about hundred of these organizations that have

 6    been certified or credentialed to be a CVO.

 7          Q.    Would you expect that, for example, ECFMG checks

 8    whether each applicant coming through it has an active or

 9    restricted driver's license?

10          A.    Do I know whether they do or not?

11          Q.    Yes.

12          A.    No.    I don't know.

13          Q.    Okay.    But if a foreign applicant would be

14    coming through, the CVO that would be doing that kind of

15    check would be a different CVO than ECFMG, correct?

16          A.    If -- I am not sure I understand the question.

17          Q.    Sure.    So my question is if you are having

18    applicants come through, is there any background check

19    done for foreign medical graduates aside from just an

20    ECFMG certificate?

21          A.    Again, that depends on the individual

22    organization, the individual facility as far as what their

23    policies and procedures are in terms of what they do.                 But

24    what I said earlier is that these facilities generally

25    will rely on ECFMG to provide accurate and comprehensive

Golkow Litigation Services                                           JA4472
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 Case:2:18-cv-05629-JDW
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 1    information to that facility and not necessarily repeat

 2    those -- those -- that work.

 3          Q.    Right.    But do you have any reason to believe

 4    that ECFMG actually conducts a background check of every

 5    foreign medical graduate that comes through that would

 6    include, for example, whether there is an active or

 7    restricted driver's license?

 8          A.    Oh, I thought your question was what would a

 9    facility do in terms of doing a background check.              I

10    didn't understand the question in terms of being specific

11    to ECFMG.

12          Q.    Got it.    Okay.    And so you are saying that the

13    facility -- you are saying that the facility looking to

14    hire or credential the individual would be doing these

15    sorts of background checks, correct?

16          A.    Correct.     Correct.

17          Q.    They would not necessarily look to ECFMG to have

18    done the full plethora of background check that you

19    described?

20          A.    No.   They would look to ECFMG specifically for

21    what ECFMG holds themselves out to do.

22          Q.    Right.

23          A.    So whatever it is they hold themselves out to

24    do, then they rely upon that information.            And then

25    depending upon the facility or the organization, whatever

Golkow Litigation Services                                           JA4473
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 1    used at the time.

 2               MS. MCENROE:     I am handing you what I have marked

 3    as Exhibit 16.

 4                (Thereupon, Exhibit 16 was marked for

 5    identification.)

 6    BY MS. MCENROE:

 7          Q.    I am handing you a copy of Dr. Akoda's ECFMG

 8    certificate.

 9          A.    Okay.

10          Q.    Have you seen this before?

11          A.    I believe I have.

12          Q.    What name was issued -- what name is on this

13    ECFMG certificate?

14          A.    John Nosa Akoda.

15          Q.    And then pull out Exhibit 15 at the same time,

16    if you could.

17          A.    Okay.

18          Q.    And I will direct you back to that same

19    paragraph where you were looking before.            So page 4, third

20    paragraph from the bottom, you will see that the medical

21    license was issued to a Charles John Nosa Akoda, do you

22    see that?

23          A.    That is correct.

24          Q.    And if you look all of the way to the beginning

25    of Exhibit 15, you will see that it pertains to a Charles

Golkow Litigation Services                                           JA4474
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 Case:2:18-cv-05629-JDW
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 1          Q.     Did you have any help?

 2          A.     No.

 3          Q.     Do you have any legal assistants or do you

 4    dictate your report or anything of the like?

 5          A.     No.

 6          Q.     Do you have any secretarial help?

 7          A.     No.

 8          Q.     Do you still hold all of the opinions you have

 9    in this report today?

10          A.     Yes.

11          Q.     In looking at the series of events with regard

12    to Dr. Akoda, is it your view that ECFMG just totally

13    missed the issue and did not investigate, did not

14    acknowledge it, that Dr. Akoda sort of slipped through, or

15    do you think that they did conduct at least some

16    investigation?

17          A.     I think when they finally realized that there

18    were problems -- well, let me restate it differently.

19    I think that they made some proper investigations

20    initially, particularly when he had applied the first two

21    times.     And if my memory serves me, there was a revocation

22    of his first certificate.        And then there was -- I am not

23    sure if they revoked or if they delayed the second

24    certificate or they did something that I think went to

25    appeals and then it ended up being extended, if I am

Golkow Litigation Services                                           JA4475
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 1    correct in my memory.

 2                           So I think that was proper in terms of

 3    doing that.     But subsequent to that, there were numerous

 4    flashing red lights that I think ended up getting missed.

 5    And I mean, there were multiple issues that they should

 6    have acted on.      So to answer your question, yes, I think

 7    that there was some proper investigation initially, but

 8    then subsequent to that, it was -- it was lost.

 9          Q.    So do you think that the Igberase and Oluwafemi

10    type of identities that got caught earlier on -- and

11    I'll represent for the record, there were more than two --

12    but you think that was proper investigation that resulted

13    in the revocation of his certificate, but that later on

14    that what was done with Dr. Akoda was a total miss?

15          A.    Well, when you say a total miss, I think it

16    becomes a total miss as the story continues.             And there

17    are more issues that are surfacing.           And then as we talked

18    about earlier, that subsequently led to a certificate into

19    a residency program which ultimately eventually turned

20    into a licensure and then harmed the patients.             So when

21    you say a total miss, I think the end result becomes a

22    total miss.     Yes.

23          Q.    The end result becomes a total miss, but along

24    the way there was thought given by ECFMG to whether

25    there was a problem here, correct?

Golkow Litigation Services                                           JA4476
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 1          A.    No.   I don't agree with that.         I think that they

 2    initially saw a problem and having the two certificates

 3    and doing the revocation and such.          But then as other

 4    things surfaced even prior to that, such as medical school

 5    -- or not medical school, but photographs that they had

 6    from these multiple -- well, the same individual with

 7    multiple names.

 8                         For example, not identifying the proper

 9    photograph, and there were others that I can't recall

10    right at the moment.       But I think even the 2000 letter

11    from -- the letter that went to the file from -- I think

12    it was Mr. Kelly to the COO -- I am trying to remember his

13    name.   You had his deposition on the table before.

14          Q.    I can hand it to you right now.

15          A.    Thank you.     But I think that letter is very,

16    very disturbing and very of concern.           Make sure it's the

17    same letter.

18               MS. MCENROE:     So I am handing you Exhibit 17,

19    which is a December 22nd, 2000 memorandum from William

20    Kelly to Stephen Seeling.

21                (Thereupon, Exhibit 17 was marked for

22    identification.)

23               WITNESS:    Correct.

24    BY MS. MCENROE:

25          Q.    Is this what you were referring to?

Golkow Litigation Services                                           JA4477
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 1          A.     This is what I was referring to, yes, ma'am.

 2          Q.     And so let's take a look at this memo together.

 3          A.     Okay.

 4          Q.     It says, attached is a copy of a memorandum for

 5    the file.    This memorandum is being written separately

 6    since I did not think it should be made part of the

 7    official file.       In my discussion with Dr. McCorkel he

 8    indicated he believed Igberase and Akoda were one in the

 9    same person.     He has no proof, just a strong suspicion.

10    Information he received from an "informant" provided

11    details that led him to believe this.

12                          I also believe Akoda and Igberase are

13    one and the same.       However, at this point the only

14    information that we have for the ECFMG Credentials

15    Committee is Akoda's written statement that he is NOT

16    Igberase, although he did admit in writing that he used

17    Igberase's social security number.          He has given us a

18    passport that appears to confirm his identity as John

19    Akoda.     I don't think this is enough for the Committee.

20                          Igberase has not replied to my letter.

21    The FedEx letter was returned undelivered.            I tried the

22    phone number he listed on his application and was told it

23    was a wrong number (although the correct address).              I sent

24    Igberase an E-mail -- and it has the E-mail address --

25    cfemi@hotmail.com and who should reply but Akoda!              Akoda

Golkow Litigation Services                                           JA4478
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 1    still has a valid ECFMG Certificate.           We need to

 2    brainstorm on this one.        Maybe Shirley Williams (Miss

 3    Sherlock) could sit in.        Is that correct?

 4          A.    Correct.

 5          Q.    Is it your opinion that ECFMG completely missed

 6    and did not analyze at all whether Akoda was acting

 7    appropriately or not?

 8          A.    Well, let me start by saying this, that the idea

 9    of placing this memorandum in terms of the first sentence,

10    memorandum is being written separately.            And since I do

11    not think it should be made a part of the official file,

12    that in and of itself is problematic.

13          Q.    Why?

14          A.    It is problematic because if it is not made part

15    of the official file, once that official file is -- and

16    again, I do not know what they do with their official

17    files or their non-official files, but my concern is

18    that the individuals or the organizations that reply upon

19    this information are not going to be provided that

20    information because it is not a part of the official file.

21          Q.    Do you have any sense or knowledge of whether

22    ECFMG's practice if this had became a part of the official

23    file, it would have been provided?

24          A.    No.    I don't.

25          Q.    You don't know one way or the other?

Golkow Litigation Services                                           JA4479
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 1          A.    I don't know one way or the other.           But if it is

 2    a part of an unofficial file or a memorandum to the file,

 3    I don't know what they do with it.          But if I am a CEO of a

 4    hospital and I am receiving a certificate, an individual

 5    who has been certified by ECFMG, I am assuming that

 6    everything is out in the open, that there is transparency.

 7    So that in itself is a concern to me.           I think that if

 8    you look at the issue of behavior that ECFMG addresses in

 9    their policy as far as what constitutes that -- I forget

10    the term they use in terms of bad behavior or --

11          Q.    Irregular behavior?

12          A.    Irregular.     Thank you.     Irregular behavior, this

13    meets the criteria very easily and should have

14    precipitated an investigation.

15          Q.    Right.    So according to you now, but Mr. Kelly

16    whose job it was to investigate irregular behavior

17    contemporaneous at the time was looking at this and was

18    saying there was not enough to bring to the committee

19    based on the record he had then.          Right?    He was doing

20    some analysis and looking at this issue at the time,

21    correct?    You may not agree with the outcome.

22          A.    Well, again, the decision that was made here was

23    just made based on any policies that the organization had.

24    And from what my reading was that the organization did not

25    have a policy other than a definition of irregular

Golkow Litigation Services                                           JA4480
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 1    behavior.    So whether they should have gone to

 2    credentials, which is I believe the next step if they had

 3    a concern, I think they kind of missed the boat with that.

 4                         There seems to be enough here or more

 5    than enough in reading this letter and just at the very,

 6    very bottom of what you just read, and it says something

 7    to the effect of -- I forgot where it was with the

 8    exclamation -- here it is.        I sent Igberase an E-mail and

 9    who should reply but Akoda.         I mean, what more do you

10    need?    It seems like there is enough concern that the

11    concern should have been elevated to the next committee,

12    yes.

13           Q.   Do you know or understand the remit of the

14    Medical Education Credentials Committee?

15           A.   When you say the remit?

16           Q.   Do you know what their purpose is?           Do you know

17    what they do?

18           A.   Well, from what I have read is that they

19    basically make a decision on concerns that a lower

20    committee might have and make a determination on those

21    concerns.

22           Q.   Do you know how they go about deliberating if at

23    all?

24           A.   Well, what I read is that they deliberate I

25    believe three or four times per year.           They don't meet

Golkow Litigation Services                                           JA4481
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 Case:2:18-cv-05629-JDW
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 1    that frequently is what I believe I read in terms of their

 2    committee.     But beyond that, no.       I don't know the details

 3    of how they arrive at decisions or whatever.

 4                         But I guess what I am saying, Counselor,

 5    is that for me reading this there is enough information

 6    here that says that ECFMG should have been more aggressive

 7    in pursuing this.      And there were other issues I think

 8    even occurred prior in terms of, you know, his application

 9    that he sent, I believe, to ECFMG, and the name on the

10    application and the name on the diploma were not

11    consistent as well, speaking of names here of the

12    certificate that you just provided me.

13          Q.    Do you have any sense of in the early 2000s

14    what the E-mail etiquette was as between cousins from

15    Nigeria, whether there was ever sharing of E-mail

16    addresses?

17          A.    I could not answer that.

18          Q.    You don't know one way or the other?

19          A.    No.

20          Q.    Do you know culturally about naming norms and

21    shortening of middle or surnames from people from Nigeria

22    during that time, what was customary?

23          A.    No.   I don't.

24          Q.    Okay.

25          A.    May I say one other thing on this letter?

Golkow Litigation Services                                           JA4482
                                                                       Page 111
 Case:2:18-cv-05629-JDW
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                        Jerry Williamson, M.D.

 1          Q.    I don't presently have any question pending.            If

 2    you think any of your prior responses were not complete,

 3    then I would welcome completion of it.           Otherwise, I am

 4    not looking for just an open declaration.

 5          A.    No.    No.   I just wanted to go over one other

 6    sentence that you brought forward.

 7          Q.    Sure.

 8          A.    And you said, although he did admit in writing

 9    that he used Igberase's social security number.             And I

10    guess that in and of itself would meet the concerns

11    regarding the -- meeting the definition of his improper

12    behavior.

13          Q.    Irregular behavior?

14          A.    Irregular behavior.       Thank you.

15          Q.    Do you know whether the misuse of a social

16    security number in ECFMG's definition does qualify as

17    irregular behavior?

18          A.    In the definition it talks about presenting

19    information that is inaccurate or in -- it may not be

20    inaccurate, but if you look at the definition.             I think I

21    may have it.      I don't know if I have that or not with me,

22    but, yes, it is a part of the definition.

23          Q.    Do you know whether applicants to ECFMG need to

24    have social security numbers at all?

25          A.    I don't believe they require it, but if one

Golkow Litigation Services                                           JA4483
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 Case:2:18-cv-05629-JDW
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 1    times.

 2          A.    Uh-huh.

 3          Q.    Is that correct?

 4          A.    Correct.

 5          Q.    And you use the term duty as between ECFMG and

 6    entities that received reports from ECFMG?

 7          A.    Okay.    Yes.

 8          Q.    And I am not trying to pull a fast one on you in

 9    any way.    I am looking at paragraphs 4 and 5 in the

10    Analysis of Facts and Opinions on page 5 of your report.

11          A.    Uh-huh.

12          Q.    Is that correct?

13          A.    Yes.    That is correct.

14          Q.    So are you putting forth expert opinion on the

15    duty, if any, ECFMG owed to any other party in this case?

16          A.    Yes.

17          Q.    Are you holding yourself out to be a legal

18    expert in any way in connection with this case?

19          A.    A legal expert, no.

20          Q.    Okay.

21          A.    What I will say is the word duty that is used

22    here is used synonymously with responsibility.

23          Q.    So what do you mean by duty?

24          A.    Just that, responsibility.         They are the

25    responsible party.       They are responsible for making

Golkow Litigation Services                                           JA4484
                                                                       Page 116
 Case:2:18-cv-05629-JDW
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                                                        Page   59 of 69
                        Jerry Williamson, M.D.

 1    certain that everything we've talked about is done

 2    properly.

 3          Q.    As a matter of law?

 4          A.    Well, I think it is certainly a matter of

 5    ethics. It is certainly a matter of medical ethics.                 And I

 6    -- from a matter of law, if they are holding themselves

 7    out to provide certain information and they don't, then

 8    they have not met their responsibility.            I think it

 9    certainly has legal implications.

10          Q.    So are you saying that this is a legal duty, an

11    ethical duty or both in the way you use the term?

12          A.    Both.

13          Q.    Okay.    So you are purporting to put forth a

14    legal opinion in this case?

15          A.    In that sense, yes.

16          Q.    And you are asking the Court to rely on your

17    expert opinion for legal purposes?

18          A.    I am not sure I understand the question.

19          Q.    So you are putting forth an expert opinion in

20    the interest of aiding the Court from a legal perspective

21    with respect to ECFMG's duty?

22          A.    Well, from a credentialing perspective.            If

23    credentialing falls upon -- it certainly falls upon the

24    ethical.    But if it falls upon the legal as well, then I

25    guess what you are saying is correct.

Golkow Litigation Services                                           JA4485
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                        Jerry Williamson, M.D.

 1          Q.    Yeah.    I am not trying to use my words.          I am

 2    just trying to understand.        You use the word duty

 3    repeatedly in your report.        So I am just trying to

 4    understand what it is you are asking the Court to look to

 5    you for.    And if that includes in your opinion a legal

 6    view of what duty ECFMG purportedly owed to these

 7    entities?

 8          A.    Well, I use that -- again, I have had legal

 9    training and I do have a master's degree in that, but I am

10    not a lawyer.     So I can't -- I guess perhaps I can present

11    a legal opinion without being a lawyer.            I don't know.      If

12    not, then it is not a legal opinion.

13          Q.    But you are intending to use the term duty to

14    mean both ethically and legally in the way you are using

15    it?

16          A.    Correct.     They had a responsibility to those

17    individuals and those organizations.

18          Q.    And later on in paragraph 11 of your report on

19    page 6 -- I will wait until you get there.

20          A.    Okay.

21          Q.    In the last sentence there in paragraph 11, it

22    says patients have a right to receive medical treatment

23    from physicians who have obtained ECFMG Certification

24    legitimately, not through falsities and

25    misrepresentations, do you see that?

Golkow Litigation Services                                           JA4486
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 Case:2:18-cv-05629-JDW
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                         Jerry Williamson, M.D.

 1          A.    Yes, I do.

 2          Q.    And, again, in using the word right here

 3    similarly to my questions on duty, are you intending to be

 4    assisting the Court in evaluating a legal position on the

 5    rights of patients in this case?

 6          A.    Well, I think that it's rather simple that the

 7    American Medical Association provides what patients'

 8    rights are as do other organizations such as the American

 9    Academy of Pediatrics and The American Board of Medicine

10    and such, and they define what those rights are.              And I am

11    not sure it necessarily has to be a legal issue, but it is

12    certainly an ethical issue in terms of what the patient's

13    rights are.     Now, whether it morphs into legal, I couldn't

14    -- I couldn't offer an opinion on that.

15          Q.    So it could, but you don't know?

16          A.    Yes.    Correct.

17          Q.    You use the word foreseeable in a couple of

18    places in your report as well.

19          A.    Uh-huh.

20          Q.    And in particular, for example, on page 4.              I am

21    going backwards a little bit, in paragraph 12.

22          A.    Page 4.

23          Q.    Let me know when you are there.          Page 4,

24    paragraph 12 in the section above.

25          A.    Okay.

Golkow Litigation Services                                           JA4487
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 1          Q.    It says, the key question that must be resolved

 2    is whether ECFMG's actions or failure to act resulted in

 3    foreseeable injuries or damages to class members.              Do you

 4    see that?

 5          A.    I do.

 6          Q.    And again, do you mean that to be legally

 7    foreseeable?

 8          A.    Legally foreseeable.       What I mean it to be is

 9    that their actions should have -- that's the way I said it

10    and I don't -- when I wrote this, I don't recall if I was

11    thinking about this necessarily legally or in what

12    context.

13          Q.    So, you know, I am just trying to understand

14    what you mean when you use the term foreseeable here

15    because, for example, in Exhibit 17 we were looking at,

16    which was Mr. Kelly's memo, do you think at the time when

17    he was writing that memo he foreseeably thought that Dr.

18    Akoda would plead guilty to social security fraud and

19    would have committed sexually inappropriate conduct on

20    patients yet reach the same conclusion he had in his memo?

21               MR. THRONSON:     Objection.

22          A.    Perhaps.

23    BY MS. MCENROE:

24          Q.    So you think that Mr. Kelly would have been

25    involved in three or four investigations that resulted in

Golkow Litigation Services                                           JA4488
                                                                       Page 120
 Case:2:18-cv-05629-JDW
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 1    the revocation of Dr. Igberase Oluwafemi's certificate and

 2    and thought when he issued this memo in December of 2000

 3    that it was possible that Dr. Akoda was someone who had

 4    perpetrate the types of alleged injuries he has here and

 5    yet permit this to go forward anyway?

 6          A.    I guess what I am saying is that when you use

 7    the term or the word foreseeable is that one should --

 8    when something this strong takes place, one should in fact

 9    think about what are the potential consequences going

10    forward.    Okay?    That to me is foreseeable.        Foreseeable

11    that they would commit sexual acts, that I can't say.

12    Okay?   But foreseeable that there may be potential

13    problems going forward with this individual.

14                         And -- and again, what I guess I am

15    connecting is I am connecting an individual's not being --

16    being irresponsible in terms of providing false

17    information and what that ultimately can -- can lead to.

18    So providing false information, what might that ultimately

19    develop into?

20          Q.    You make some reference to saying that ECFMG's

21    conduct directly impacted patient safety?

22          A.    Where are you?

23          Q.    I am looking at paragraph 11 on page 6.            It is

24    in two places on page 6.        So I see it in paragraph 11 in

25    the middle sentence there that starts with however.                 Do

Golkow Litigation Services                                           JA4489
                                                                       Page 121
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                        Jerry Williamson, M.D.

 1    Williamson.

 2               THE WITNESS:     Thank you.

 3                             CROSS-EXAMINATION

 4    BY MR. THRONSON:

 5          Q.    Dr. Williamson, are you familiar with the

 6    standard of care as it applies to ECFMG?

 7               MS. MCENROE:     Objection to form.

 8          A.    To the standard of care?

 9    BY MR. THRONSON:

10          Q.    Uh-huh.

11          A.    In terms of their credentialing process is well

12    recognized by the Joint Commission on accreditation as

13    being a -- my interpretation is that of an excellent CVO,

14    connection verification organization, so I would think

15    that it would meet the highest standard of care.              And with

16    what we have discussed throughout this deposition, and I

17    will repeat what I said is that I believe that they did

18    not meet the standard of care in terms of this particular

19    practitioner.

20          Q.    And how -- how do you know in terms of your

21    education, training and experience that certain

22    individuals at ECFMG as you have outlined in your report

23    and expressed today did not meet the standard of care?

24               MS. MCENROE:     Objection to form.

25          A.    Simply that there were multiple opportunities to

Golkow Litigation Services                                           JA4490
                                                                       Page 133
 Case:2:18-cv-05629-JDW
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                        Jerry Williamson, M.D.

 1    learn that this physician was a fraud, and those

 2    opportunities were not acted upon.          And it resulted in

 3    what we have been discussing in terms of potential harm to

 4    patients.

 5           Q.    You have had, as we discussed, the opportunity

 6    to work -- strike that.

 7                               During the course of your

 8    professional experience, have you had -- I believe we have

 9    discussed that you have had occasion to have interactions

10    with ECFMG in the course of privileging and credentialing

11    positions, is that correct?

12           A.    In the course -- in the course of credentialing,

13    yes.

14           Q.    And so you have -- have you gained experience

15    through that process with ECFMG as an organization and the

16    role that it plays?

17                MS. MCENROE:    Objection to form.

18           A.    Could you repeat that again for me?

19    BY MR. THRONSON:

20           Q.    Sure.   I believe you've testified that during

21    the course of interacting with ECFMG and given your

22    background and credentials in the hospital administration

23    credentialing, you have gained familiarity with ECFMG's

24    practices?

25                MS. MCENROE:    Objection to form.

Golkow Litigation Services                                           JA4491
                                                                       Page 134
 Case:2:18-cv-05629-JDW
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                                                        Page   66 of 69
                        Jerry Williamson, M.D.

 1    BY MR. THRONSON:

 2          Q.     Is that right?

 3          A.     Yes, I have.    Yes, I have.

 4          Q.     Do you -- is it your opinion that the

 5    obligations of ECFMG when encountering potential

 6    fraudulent conduct are similar to the obligations of a

 7    credentialing organization like a hospital credentialing

 8    committee?

 9                MS. MCENROE:    Objection to form.

10          A.     I would probably suggest that they are at a --

11    at least at the same level, perhaps at a higher level of

12    credentialing, yeah.       I think they -- particularly with

13    foreign medical graduates, they are the go-to

14    organization.     And many hospitals and other organizations

15    rely upon the accuracy and completeness of their

16    evaluation.

17          Q.     Does the standard of care in your view require

18    that ECFMG's employees when confronting circumstances that

19    suggest that a physician has or a candidate for a

20    certification has behaved in a fraudulent fashion or has

21    made false representations in an effort to obtain ECFMG

22    certification, does the standard of care in those

23    circumstances require that ECFMG act in a reasonably

24    prudent manner to rule out that fraud has been committed?

25               MS. MCENROE:    Objection to form including

Golkow Litigation Services                                           JA4492
                                                                       Page 135
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 1          leading.

 2          A.    Yeah, most definitely.        And again, they hold

 3    themselves out to be that organization.            And as I

 4    mentioned in the course of the deposition that there were

 5    multiple times over this timeline that ECFMG should have

 6    acted more prudently and did not, did not.            So the

 7    standard of care there, whether you are CVO or a hospital

 8    credentialing an individual, should be the same and they

 9    missed their mark.

10          Q.    Is it -- did you review the deposition of Kara

11    Corrado?

12          A.    I did.

13          Q.    Did you review the exhibits to that deposition?

14          A.    I did.

15          Q.    And did you rely on that deposition and those

16    exhibits in forming your opinions in this case?

17          A.    I did.

18          Q.    Did you read the deposition of William Kelly?

19          A.    I did.

20          Q.    Did you review all of the exhibits to the

21    deposition of William Kelly?

22          A.    I did.

23          Q.    And did Mr. Kelly's deposition and the exhibits

24    thereto form part of the basis of your opinion in this

25    case?

Golkow Litigation Services                                           JA4493
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                         Jerry Williamson, M.D.

 1          A.    Yes.

 2          Q.    Is it your understanding that ECFMG took no

 3    additional investigatory action between the time that

 4    Mr. Kelly wrote the note that was not to be made a part of

 5    the official file in Exhibit 17 and when ECFMG began --

 6    was alerted by the Department of Justice of its

 7    investigation into Dr. Akoda?

 8               MS. MCENROE:     Objection to form.

 9          A.    That is my understanding.

10    BY MR. THRONSON:

11          Q.    Do you believe -- strike that.

12                         Do you believe it was foreseeable at the

13    time that Mr. Kelly wrote the note in Exhibit 17 that

14    Akoda would come in contact with patients?

15               MS. MCENROE:     Objection to form.

16          A.    Yes.

17    BY MR. THRONSON:

18          Q.    Do you believe it was foreseeable that Akoda

19    would perform medical examinations on patients of an

20    intimate nature?

21               MS. MCENROE:     Objection to form.

22          A.    I am trying to remember whether he was looking

23    for certification in OB-GYN or what specialty specifically

24    he was planning to enter.        So the answer if it was known

25    that it was OB-GYN, I would say yes.           If he was going to

Golkow Litigation Services                                           JA4494
                                                                       Page 137
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                        Jerry Williamson, M.D.

 1    provide adult medicine, which I presume that that was the

 2    case here, he would still have contact with individuals

 3    both male and female in a sensitive way, yes.             So I think

 4    regardless of what direction he would have gone, he would

 5    have been providing sensitive examinations to patients,

 6    more so if he was an OB-GYN would be of greater concern,

 7    yes.

 8           Q.    Are you familiar with the concept of informed

 9    consent?

10           A.    I am.

11           Q.    How are you familiar with that?

12           A.    I lecture on that.      And it is part of my

13    curriculum at Loyola Law School, the curriculum in terms

14    of the course that I teach.

15           Q.    Is -- do you believe obtaining informed consents

16    -- strike that.

17                    Is informed consents important in medical

18    care?

19                MS. MCENROE:    Objection to form.

20           A.    Informed consent is very important.          And

21    informed consent needs to be -- it is a process as opposed

22    to a signature on a piece of paper.           So, yes, it is very

23    important.

24    BY MR. THRONSON:

25           Q.    Is part of informed consent that a patient

Golkow Litigation Services                                            JA4495
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EXHIBIT 10




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                     wy           LEGAL SOLUTIONS




                             Deposition of:
                          Kara Corrado
                          September 10, 2019



                            In the Matter of:

          Russell, Monique Vs. Educational
          Commission For Foreign Medical
                      Graduates




                       Veritext Legal Solutions




                                                                  JA4497
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                  Exhibit 4




                                                                  JA4498
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                                                KARA CORRADO

                                                                                           Page 59

         investigations                   and    referrals to the committee?
                                          MS.    McENROE:             Objection to form.
                                          THE    WITNESS:             Those procedures
                     are the procedures we follow, and have
                     followed, for quite                     some       time     in
                     reviewing the investigations                               of    an
                     irregular behavior                     and       referring matters
                     to the committee.
        BY MR.         THRONSON
                              :

10                   Q.                   Are you aware               of any other
11      irregular  -- procedures ‘that apply to how to
(12     conduct irregular behavior investigations or
13      when        to refer matters                  to a    committee that have
14     applied from 1996 to the present, besides the
15      policy labeled "draft policy" that you just
16      mentioned?
17          a                             Not that I'm aware            of.
a8                   Q.       .           How    long has         the policy that                you
19      mentioned been                    in effect?                             |

20                   A.                   The document            I   mentioned            is,   and
21      I   might be              splitting          hairs, but          it's

22      procedures.
23                                      So      wean irregular
                                                     have                                 behavior
24      policy        that.        governs the process that                          we   publish

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                                                                                                 JA4499
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                                                   KARA CORRADO

                                                                                             _   Page 60

          On       our website and that is given to.
          individuals.
                                           The document                   that I'm referring
          to that says "draft" is the procedures that
          staff had been doing probably -- was probably
         drafted around                    2015 time frame,                     was       put to
         paper          in 2015.
                        Q.          '      Did any procedure exist before
         ‘that time that applied                            to how          the organization
10       should conduct irregular behavior
a1       investigations and when the staff                                            should refer
12       matters to the creds committee?
13                      A.                 Yes, those procedures that were
14       documented                in     2015 were           the procedures that
15       staff          had been using                 at least since I started
16       working             directly            on cases            of   irregular

17   |   behavior, which                    is     2008       onward,           and my
18       understanding would be                             prior         to that as well.
19       I       just    wasn't working on those cases then.
20
 |                      Q.                 So     is   it     fair        to say that             up-
21       until          2015,           those procedures were                         a   custom    of
22       the organization in terms of how to conduct
23       investigations                   and when to  refer matters to the
24       committee and                    then they were written down in


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                                            KARA CORRADO

                                                                                  Page 61

        -2015     in the         document that we've been                    talking
         about?
                                      MS.   MCENROE:             Objection to form.
                                      THE WITNESS:               So   I don't know           if
                  I.     would characterize them as a custom,
                  but they were documented together in>
                  2015.
                                      But when       I started         working on
                  irregular behavior cases those procédures
 10               were -- I was trained on those procedures
 11               and how to conduct the case.
 12      BY MR.        THRONSON:

 13               Q.      |          Was there         a   written policy --
 14      sorry,        written       procedure that predated the 2015
 15      procedure?                                                                          |

16                                   MS. MCENROE:            .   Objection to form.
 17                                  THE    WITNESS: Not that I can
 18|              recall.

 19      BY MR.     THRONSON:
 20               Q.                 So as     part of your            training      in
221      how    to conduct irregular                   behavior
 22      investigations prior                  to    2015,       you weren't
 23      trained on a particular                     written procedure;              fair.

 24      to say?

                                 .       Veritext Legal Solutions
                   215-241-1000      ~610-434-8588 ~302-571-0510 ~202-803-8830
                                                                                       JA4501
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EXHIBIT 11




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                                          85-15
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                                                                                           of Justice |
                                                                              U.S. Department.                                               5

                                                                              United States Attorney,                                    .
                                                                              District ofMaryland                    '"     5? &             7h
                                                                              Southern Division _, .


     O.Hayes
  Kelly                                     Mailing Address:                  Office Location:           _|       DIRECT: 301-344-0001
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                                                                              October 31, 2016


  Peter Goldman, Esq.                                                                                                        -                   7
  O'Reilly & Mark, P.C.                                                                                  NE (6-027
  524 King Street
  Alexandria,       VA    22314

                        Re:          United States v. Oluwafemi Charles Igberase,
                                     a/k/a “Charles John Nosa Akoda,”
                                     Criminal No. PWG-16-277

  Dear Mr. Goldman,

          This letter confirms the plea agreement, together with the sealed supplement, which has
  been offered  to the Defendant by the United States Attorncy’s Office for the District of Maryland
  (“this Office”). If the Defendant accepts this offer, please have him execute it in the spaces
  provided below. If this offer has not been accepted by November 4, 2016, it will be deemed
  withdrawn. The plea agreement is enteredinto andwill be submittedtotheCourt pursuant
  to Federal Rule of Criminal Procedure 11(c)(1)(C). The terms of the agreement are as follows:

                                                      Offense    of Conviction

          1,     The Defendant agrees to plead guilty to Count One of the Superseding Indictment
  now pending against him, which charges him with misuse of a Social Security Account Number,
  in violation of 42 U.S.C. § 408(a)(7)(B). The Defendant admits that he is, in fact, guilty of this
  offense and will so advise the Court.


                                                           ofthe Offense
                                                     Elements

          2.      The elements of the offense to which the Defendant has agreed to plead guilty, and
   which this Office would prove              if
                                     the case went to trial, are as follows: (1) the Defendant falsely
   represented a number to be the Social Security Account Number assigned to him by the
‘ =Commissioner of Social Security; (2) the Defendant made that false statement: with the intent to
   deceive or for any other purpose; and (3) the Defendant acted knowingly and willfully.




                                                                                                                          ECFMG-000011



                                                                                                                                 JA4503
                                                                                                                      ECFMG_RUSS_0000011
       Case
       Case:2:18-cv-05629-JDW
       Case   22-1998 Document:
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                               Document 32-32
                                 22-5 Page:     Filed
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                                                 enalties


         3.    The maximum sentence provided by statute for the offense to which the Defendant
is pleading guilty is as follows: five years of imprisonment, a fine of $250,000, and a period of
supervised release of three years. Inaddition, the Defendant must pay $100 as a special assessment
pursuant to 18 U.S.C. § 3013, which will be due and should be paid at or before the time of
sentencing. This Court may also order him to make restitution pursuant to 18 U.S.C. §§ 3663,
3663A, and 3664.' If a fine or restitution is imposed, it shall be payable immediately, unless,
pursuant to 18 U.S.C. § 3572(d), the Court orders otherwise. The Defendant understands that if
he serves a term of imprisonment, is released on supervised release, and then violates the
conditions of his supervised release, his supervised release could be revoked - even on the last day
of the term - and the Defendant could be returned to custody to serve another period of
incarceration and a new term of supervised release. The Defendant understands that the Bureau
of Prisons has sole discretion in designating the institution at which the Defendant will serve any
term   of imprisonment    imposed.




         4.     The Defendant understands that by entering into this agreement, he surrenders
certain rights as outlined below:

                  a,      If the Defendant had persistedin his plea of not guilty,    he would have had
the right to a speedyjury trial with the close assistance     of competent   counsel. That trial could be
conducted     by a judge, without a jury, if the Defendant,   this Office, and the Court all agreed.

                  b.      Ifthe Defendant elected ajury trial, the jury would be composed of twelve
 individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
 would have the opportunity to strike a certain number        of
                                                         jurors peremptorily. Al] twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would bei           d that the Defendant was p      dto bei          and thatp       iption
could be overcome only byproof beyond a reasonable doubt.

                ©.    If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to cal] witnesses
in his defense, however, he would have the subpoena power of the Court to compel the witnesses
to attend.



' Pursuant to 18 U.S. c. § 3612,    if the Courtimposesafineinexcess of $2,500 that remains unpaid
15 days after    it is imposed, ‘the Defendant shall be charged juiterest on that fine, unless the Court
modifies the interest payment in accordance with 18 U.S.C.         §   3612(f)(3).

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                     d.           The Defendant would have             the right to testify   in his own defense if he so
chose, and he would have the right to refuse to testify.                     If he chose not to testify, the Court.could
instruct the jury that they could not draw any adverse inference from his decision not to testify.

                     &,           If the Defendant
                                        were found guilty after a trial, he would have the right to
appeal the verdict and the Court’s pretrial and trial decisions on the admissibilityof evidence to
see  ifany errors were committed which would require a new trial or dismissal of the charges
against him. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict
and the Court’s decisions.

                     f.           By pleading         guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth                 in the “Waiver of Appeal” paragraph
below, to appeal the                          By pleading guilty, the Def                   1sthat he may have to
answer the Court’s questions                 both about the rights he is giving up and about the facts of his case.
Any statements the Defendant makes during such a hearing would not be admissible against him
during a trial except in a criminal proceeding for perjury or false statement.

                                  If the Court       accepts the Defendant’s plea     of guilty, there will be no further
trial or proceeding        of any kind,          and the Court    will find him guilty.

                     h,           By pleading guilty,         the Defendant wil! also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status. Under federal
jaw, conviction for a broad range of crimes can lead to adverse immigration consequences,
including automatic removal from the United States. Indeed, because the Defendant is pleading
guilty to the identity fraud charges in this case, and because he is an illegal alien, removal is
Pp         ptively          d            .   R        1 and   other         immigrati     q\         are the subject   of a
separate proceeding, however, and the Defendant understands that no one, including his attorney
or the Court, can         predict with certainty the effect          of a conviction on immigration status. Defendant
nevertheless affirms that he wants to plead                         guilty regardless of any potential immigration
      ql             even       if the           q       is his              removal from the United States.

                                             Advisory Sentencing Guidelines Apply

           5.                              that the Court will determine a sentencing guidelines
                     The Defendant understands
range for this case     forth the “advisory guidelines
                           (h                          range”)
                                                          ge’  p        to the S      ing Reform
Act of 1984 at 18 U.S.C. §§ 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(€)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take
                                                         a
                                                                                 into account the
                range in
advisory guidelines                                   hing             bl




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                                        Factual and Advisory Guidelines Stipulation


          6.     This Office and the Defend:     dk      d, agree and stip  to the SI        of
Facts set forth in Attachment A hereto which this Office would prove beyond a reasonable doubt,
and to the following applicable sentencing guidelines factors:


                     a.     The base offense level is 6, pursuant to United States Sentencing Guidelines
(‘U.S.S.G.")     §   2BI.1(a)(2).

                      Pursuant to U.S.S.G. § 2B1.1(b)(10)(C), because the offense involved
                     b.
sophisticated means and the Defendant intentionally engaged in or caused the conduct constituting
sophisticated means, and because the resulting offense Jevel is less than level 12, the offense level
is increased    to 12.

                     c.         A 3-level enhancement applies, pursuant to U.S.S.G. § 3B1.3, because the
Defendant abused          a   position of public or private trust in a manner that significantly facilitated the
commission or concealment              of the offeise.

                d.     This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level, based upon the Defendant’s apparent prompt recognition and affirmative acceptance
of personal responsibility for his criminal conduct. This Office may oppose any adjustment for
acceptance of responsibility if the Defendant (a) fails to admit each and every item in the factual
stipulation; (b) denies involvement in the offense; (c) gives conflicting statements about his
involvement in the offense; (d) is untruthful with the Court, this Office, or the United States
Probation Office; (e) obstructs or attempts to obstruct justice prior to sentencing; (f) engages in
any criminal conduct between the date of this agreement and the date of sentencing; or (g) attempts
to withdraw his plea of guilty. Ifthe Defendant receives a 2-level reduction, the final offense level
will be   13.

       7.        The Defendant understands that there is no agreement as to his criminal history or
                                                                                                if
criminal history category, and that his criminal history could alter his offense level he is a Career
Offender
Offender or  if the instant
          or ifthe          offense was
                    instant offense w   a nart of a pattern of criminal conduct from which he derived

a   substantial portion       ofhis income.
       8.      This Office and the Defendant agree that with respect to the calculation of the
advisory guidelines range, no other offense           istic         i     idelinesfactors,        i
departures or adjustments set forth in the United States Sentencing Guidelines will be raised or are
in dispute.

                                                 Rule    11(c)(1)(C)   Plea

       9,     The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a-sentence of six months of imprisonment, followed by three. years of
supervised release, which includes as a condition of supervised release six months of home
confinement, is the appropriate disposition ofthis case. This agreement does not affect the Court’s
                                                              4




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discretion to impose any lawful fine or to set any additional lawful conditions of probation or
supervised release. In the event that the Court rejects this plea agreement, either party may elect
to declare the agreement null and void. Should the Defendant so elect, he will be afforded the
opportunity to withdraw his plea pursuant to the provisions ofFederal Rule of Criminal Procedure
11(c)(5).


              Obligations   of the United   States Attorney’s Office and the Defendant


        10.    At the time of sentencing, the parties will jointly request the Court to accept the
stipulated sentence of six months of imprisonment, followed by three years of supervised
release, which includes as a condition of supervised release six months of home confinement.
At the time ofsentencing, this Office will move to dismiss all open counts,

        11.    The parties reserve the right to bring to the Court's attention at the time                 of
sentencing, and the Court will be entitled to consider, all relevant information concerning the
Defendant's background, character and conduct.                                           .

        Agreement Not to Prosecute Other Offenses the Defendant May Have Committed

        12.    Other than the offense to which the Defendant has agreed to plead guilty, and with
the exception of crimes of violence, crimes against children and tax violations, this Office will not
prosecute the Defendant for any other violations of federal criminal law that arise from the facts
stipulated by the Defendant and this Office, attached hereto and incorporated herein as Attachment
A, that form the basis of this plea agreement.

                                            Waiver   of Appeal

        13,    Inexchange for the concessions made by this Office and the Defendant in this plea
                                                          to appeal as follows:
agreement, this Office and the Defendant waive their rights

               a.      The Defendant knowingly waives all right, pursuant.to 28 U.S.C.            § 1291   or
otherwise, to appeal the Defendant’s conviction.

               b.      If the   Court accepts this Plea Agreement and imposes the agreed-upon
sentence, the Defendant and this Office knowingly waive all rights, pursuant to 18 U.S.C. § 3742
orotherwise, to appeal the sentence imposed (including the right to appeal any issues that relate to
the establishment of the advisory guidelines range, the determination of the Defendant's criminal
history, the weighing of the sentencing factors, and the decision whether to imposc and the
calculation of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release).

                c       Nothing in this agreement shall be construed to prevent the Defendant or
this Office from invoking the provisions-of Federal Rule.of Criminal Procedure 35(a), or from
appealing from any decision thereunder, should a sentence be imposed that resulted from
arithmetical, technical, or other clear error.
                                                      5




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               d.      The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

                                Obstruction or Other Violations    ofLaw

        14.      The Defendant agrees that he will not commit any offense in violation of federal,
state or local law between the date of this agreement and his sentencing in this case. In the event
that the Defendant (i) engages in conduct after the date of this agreement which would justify a
finding of obstruction of justice under U.S.S.G. § 3Cl.1, or (ii) fails to accept personal
responsibility for his conduct by failing to acknowledge his guilt to the probation officer who
prepares the Presentence Report, (iii) moves to withdraw his guilty plea or (iv) commits any
offense in violation of federal, state or local law, then this Office will be relieved of its obligations
to the Defendant as reflected in this agreement. Specifically, this Office will be free to argue
sentencing guidelines factors other than those stipulated in this agreement, and it will also be free
to make sentencing recommendations other than those set out in this agreement. As with any
alleged breach of this agreement, this Office will bear the burden of convincing the Court of the
Defendant’s obstructive or unlawful behavior and/or failure to acknowledge personal
responsibility by a preponderance of the evidence. The Defendant acknowledges that he may not
withdraw his guilty plea because this Office is relieved of its obligations under the agreement
pursuant to this paragraph.

                                            Entire Agreement

        15.      This letter supersedes any prior understandings, promises, or conditions between
this Office and the Defendant and, together with the Scaled Supplement, constitutes the complete
plea agreement    in this case. The Defendant acknowledges that there are no otheragreements,
promises, undertakings or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement and none will be entered into unless in writing
and signed    by all parties.

        If the Defendant fully accepts each and every term and condition of this agreement,        please
sign and have the Defendant sign the original and return it to me promptly.

                                                   Very truly yours,

                                                   Rod J. Rosenstein
                                                   United States Attorney


                                             By:       ya               0)       Big          eo
                                       ne          Kelly O.   Baer |
                                -                  Assistant Unit d
                                                                  States Attorney




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         l have   read this agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it, and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attomey.




Ubs lit                                                          b,
Date                                            Olfwatemi Charles Igberase
                                                   a/k/a “‘Charles John Nosa Akoda”

       I am Oluwafemi Charles Igberase’s attorney. I have carefully reviewed every part of this
agreement, including the Sealed Supplement, with him. He advises me that hé¢     understands and
accepts its terms. To my knowledge, his decision to enter into this agreement is an informed and
voluntary one.




Date                                            Peter Goldhian,Ba




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                                    ATTACHMENTA-             Stipulated Facts        me
                                                                                      h         ;
                                                                             if
         The United States and the Defendantstipulate and agree that this case proceeded to trial,
 the United States would prove the facts set forth below beyond a reasonable doubt.The parties:
further stipulate and agree that these are not all of the facts that the United States would prove      if
 this case proceeded to trial.                                                   ge                     y
         In   October       1991,     the   Defendant,       OLUWAFEMI          CHARLES      IGBERASE
(“IBGERASE”),        entered the United States pursuant to a Nonimmigrant Visa.

        In November 1991, IGBERASE applied for and obtained a Social Security number
(“SSN”), XXX-XX-5054 (the “5054 SSN”), using the name “Igberase Oluwafemi Charles” and
date of birth April 17, 1962.    In January 1995, IGBERASE applied for and obtained a second
SSN, XXX-XX-9065 (the “9065 SSN”), using the name “Charles Oluwafemi Igberase Jr.” and a
false date of birth. In September 1998, IGBERASE, this time using the name “Oluwafemi
Igberase,” and a false date of birth, applied for and obtained a third SSN, XXX-XX-7353 (the
“7353 SSN”). In or about 2011, IGBERASE fraudulently used the 7353 SSN to apply for federal
education loans for his children.

         In April   1992,   IGBERASE        submitted an application for certification by the Educational
Commission for Foreign Medical Graduates (“ECFMG”). IGBERASE submitted the application
using the name “Oluwafemi Charles Igberase,” and indicated SSN ending in 5054 and date of birth
Apnil 17, 1962, ECFMG is an organization which, among other things, provides certification to
intemational medica] school graduates before such individuals may enter graduate medical
education programs in the United States, where they provide supervised patient care. Foreign
medical graduates must obtain ECFMG certification in order to take the three-step United States
Medical Licensing Examination (“USMLE”). All medical graduates must pass all three steps of
the USMLE in order to obtain an unrestricted license to practice medicine in the United States. In
July 1992, IGBERASE failed both the basic medical science (Day 1) and clinical science (Day 2)
components of the Foreign Medical Grad|        Examination in Medical       Sci: (‘FMGEMS"),
which is Step 2 of the USMLE. In January 1993, IGBERASE again failed the basic medical
science (Day 1) component of the FMGEMS. In September 1993, IGBERASE failed Step 1 of
the USMLE. Eventually, between July 1992 and September 1993, IGBERASE passed al] three
steps of the USMLE and, in October 1993, was issued ECMFG Certification under the name
“Oluwafemi Charles lgberase.””

         In March 1994,     IGBERASE        submitted a second application   for ECFMG certification, this
time under the name “Igberase Oluwafemi Charles,” using a false date        of birth. Between August
1994 and September 1994,            IGBERASE passed  all three steps of the USMLE and was issued a
second   ECFMG      certificate under the name “Igberase Oluwafemi Charles.”

         In 1995, the ECFMG Committee on Medical Education Credentials became aware that
IGBERASE had fraudulently applied for and obtained two ECFMG certifications under different
names and dates of birth. In December 1995, ECFMG revoked or suspended both ECFMG ©
certifications assigned to IGBERASE.
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                                                                                              ECFMG-000018



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       In August 1996, IGBERASE submitted a third application for ECFMG certification, this
time using the name “John Nosa Akoda.”     Along with this third application, IGBERASE
submitted to ECFMGafalse Nigerian passport in the name of “John Nosakhane Charles AkKoda.””
Between 1996 and 1998, IGBERASE, as “John Nosa Akoda,” passed all three steps of the
USMLE and received ECFMG certification under the “Akoda” name.

      After receiving ECFMG certification under the “Akoda” name, IGBERASE applied for
and was accepted into a residency program at Jersey Shore Medical Center (“JSMC”). In 2000,
JSMC learned that the SSN that IGBERASE used belonged not to “Akoda” but                         rather to
IGBERASE. IGBERASE was suspended from JSMC’s residency program in August                         2000 and
ultimately dismissed in November 2000.

       In 1999, Individual   A applied   for and obtained SSN XXX-XX-1623 (the “1623 SSN”).

        In 2006, IGBERASE, using the name “John-Charles Akoda,” and the 1623 SSN assigned
      i      ! A, applied for residency at Howard University. In March 2007, Howard University
accepted IGBERASE into its residency program, and asked IGBERASE to submit evidence of
legal residence in the United States. In response, IGBERASE submitted a false permanent
resident card in the name “‘N. Akoda, John Charles.”

       In 2011, after the completion of his residency at Howard University, [GBERASE, using
the name “Charles John Nosa Akoda” and the 1623 SSN, applied           for medical   licensure with the
Maryland Board    of Physicians.  In support of this application, IGBERASE submitted a false
permanent residence card, as well as a false Nigerian passport. In September 2011, the Maryland
Board of Physicians granted the requested medical license to IGBERASE under the name
“Charles John Nosa Akoda,” and 1GBERASE began practicing medicine in the field ofobstetrics
and gynecology.

       In 2012,   IGBERASE, using the ““Akoda”     identity, sought and obtained medical privileges
at Prince George’s Hospital Center   (“PGHC”) in Maryland, To do so, IGBERASE submitted                  a
false permanent residence card, as wel] as a false Maryland driver's license.

        On March J, 2012, {GBERASE submitted a Medicare Enrollment Application to the
Center of Medicare and Medicaid Services (“CMS”) using the “Akoda” identity and the 1623 SSN»
CMS denied IGBERASE’s application based, in part, on CMS's determination that IGBERASE
did not provide an accurate SSN.

        On June 9, 2016, law enforcement executed search warrants at 1GBERASE’s residence,
medical practice, and vehicle. From IGBERASE’s vehicle, law enforcement seized a Maryland
driver’s license in the “Akoda” name. From IGBERASE’s residence, !aw enforcement seized (1)
a  false Social security card for the 1623 SSN in the name “John Charles N, Akoda,”
(2) a falso-Nigerian passport for “Akoda,” and (3) a false, United States visa in.the “Akoday name.
Law      enfc       also found      dulentor altered d             related to immigration, medical
diplomas, medical transcripts, letters   of recommendation,   and birth certificates.

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      Throughout the above-referenced scheme, IGBERASE also used the 1623 SSN and false
documentation to open various bank accounts using the “Akoda” identity.

                                                e+



       I   have read this statement   of   facts and carefully reviewed   it with my attomey.     |
acknowledge that it is true and correct.



uhiche                                                               4
Date                                                     yop     j               x
                                                               a/k/a Charles John Nosa Akoda




       1am Olowafemi Charles |gberase’s       attorney. I.have carefully reviewed the statement   of
facts with him.




Date                                                  Peter Goldman,Baq._
                                    i




                                i




                                                 10




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused the foregoing document to be electronically

filed and served upon all counsel of record by electronic filing. This document is available for

viewing and downloading from the Court’s ECF system.



Dated: 1/14/2022                                     /s/ Robin S. Weiss
                                                     Robin S. Weiss




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              IN THE UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,             CIVIL ACTION NO. 18-5629
ELSA M. POWELL AND DESIRE EVANS,

                Plaintiffs,

    v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.


  PLAINTIFFS’ RESPONSE TO DEFENDANT’S SUPPLEMENTAL BRIEF IN
               OPPOSITION TO CLASS CERTIFICATION




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   V.       Defendant’s argument regarding predominance and superiority breaks no new ground
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                                         INTRODUCTION

        ECFMG’s supplemental briefing goes well beyond the narrow areas of error the Third

Circuit identified (i.e., an absent determination of whether the class satisfied Rule 23(b) and an

analysis of Gates factors 3 and 9) and attempts to have the Court broadly reevaluate its earlier

determination on class certification. It does so based on arguments this Court and the Third Circuit

have rejected. And it presents a systematically inaccurate perspective of the Third Circuit’s

opinion—which actually counsels approving issue-class certification here.

        The arguments ECFMG advances in its brief are fairly addressed in Plaintiff’s supplemental

brief (ECF No. 79). Plaintiffs address those arguments below that may warrant additional comment.

                                            ARGUMENT

I.      ECFMG mischaracterizes the Third Circuit’s view of the suitability of issue-class
        certification in this case and the advantages of individualized proceedings.

        It is simply false that “[t]he Third Circuit explained that the overall complexity of the case

(Gates factor 2) and the lack of efficiencies to be gained from an issue class proceeding in light of

realistic procedural alternatives (Gates factor 3) weigh strongly against issue class certification.” ECF

No. 80 at 7. On the very page cited by ECFMG for this proposition, the opinion states the opposite:

        Of course, the District Court may very well be correct that “there are efficiencies
        to be gained by certifying a class on these issues . . . Duty is an issue of law.
        Therefore, it must be decided separately from breach, causation, and damages. It is
        true that deciding if the Commission had a duty to investigate requires balancing
        several factors. Id. But none of that requires individual evidence, for each
        patient shared the same distanced relationship of trust with the Commission.
        Likewise, breach would require only common evidence: How much
        investigating did the Commission do? Did it know or should it have known that
        Igberase was a fraud? Did it take enough steps to investigate him based on warnings
        received from various parties, including the New Jersey residency program? Should it
        have followed up in later years once Igberase was admitted to another residency
        program? No absent class member would have anything special to add in her
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        individual trial. There will be plenty left for individual proceedings, but these major
        issues could be resolved on a class-wide basis.

Russell v. Educ. Comm'n for Foreign Med. Graduates, 15 F.4th 259, 272–73 (3d Cir. 2021) (emphasis

added) (citations omitted).

        The mere fact that issues will remain for resolution in individual proceedings following an

issues trial favorable to Plaintiffs is insufficient to defeat certification. The key question is, “Is it

more efficient, in terms both of economy of judicial resources and of the expense of litigation to the

parties, to decide some issues on a class basis or all issues in separate trials?” 1 As Plaintiffs have

explained, repeated full-blown trials after denial of issue certification will needlessly require repeated,

expensive presentations of expert evidence and an extensive factual record at trial.

        Juries hearing individual claims will not need to hear “virtually all” of the evidence in a class

trial “[t]o determine causation, understand who Dr. Akoda was, and even have a basic understanding

of the theory of liability against ECFMG.” (ECF No. 80 at 7. ECFMG insists on uniformly referring

to Igberase as “Dr. Akoda” throughout its supplemental briefing. “Dr. Akoda” does not exist and

has never existed.) None of these issues require presentation of expert testimony on standard of

care, as will occur at the class trial. “Who Dr. Akoda was” and “the theory of liability against

ECFMG” are academic at a mini-trial on causation and damages. What is relevant is whether

ECFMG was a cause of a plaintiff’s injuries. The jury will well understand Igberase from testimony

about a plaintiff’s interactions with him. The ins and outs of his fraud and ECFMG turning a blind

eye to it will not be necessary to determining causation and damages. Essential background



1
 Butler v. Sears, Roebuck & Co., 702 F.3d 359, 361 (7th Cir. 2012), cert. granted, judgment vacated, 569 U.S.
1015 (2013), and judgment reinstated, 727 F.3d 796. (7th Cir. 2013).
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information on ECFMG and its conduct can be provided through special interrogatories and

stipulated instructions that the parties, under the Court’s direction, can work to craft collaboratively.

        ECFMG also falsely asserts that a class jury will have to “consider the entire chain of events

relevant to the class member at issue—including any alleged wrongdoing by ECFMG, JSMC,

Howard, the Maryland Board of Physicians, the Virginia Board of Medicine, Dr. Chaudry, Dr.

Moore, ABOG, and/or law enforcement—that will already have been presented to the issue class

jury.” ECF No. 80 at 3. First, the “alleged wrongdoing” of another entity has no relevance to the

issue class proceeding, and likely none to any individual damages proceeding either. There is no

other “alleged wrongdoing” in this case other than ECFMG’s. ECFMG has not proffered evidence

of “alleged wrongdoing” by any specific individual or entity it identifies. Its Answer does not

specifically identify any other entity as negligent. None of its retained experts’ reports and discovery

responses do, either. It has not deposed any person on its list of other potentially responsible parties.

And Plaintiffs do not allege here that any of the individuals ECFMG identifies (e.g., law

enforcement, the Maryland Board of Physicians) was negligent or proximately caused injury. The

Court should not decline to certify a class based on purely hypothetical liability of another entity that

has failed to materialize over the last three years of litigation.

        Second, any potential liability on the part of other actors cannot eliminate ECFMG’s liability.

The relevant inquiry is whether ECFMG’s negligence was a factual cause of Plaintiffs’ injuries, not,

as the opinion’s dicta implied, whether ECFMG was the cause. Pa. SSJI (CIV), 13.20; Gorman v.

Costello, 2007 PA Super 224, ¶ 13, 929 A.2d 1208, 1212 (2007). ECFMG was the first link, and the

only indispensable link, in the causal chain that led to Igberase being able to see patients. ECFMG,



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uniquely, certifies foreign medical graduates as eligible to enter residency programs in the United

States.

          Third, ECFMG can always file a contribution action to recover some of a judgment or

settlement from the other entities it identifies if it believes it is shouldering an unfair share of

financial responsibility for the outcome here. Under present circumstances—where ECFMG has not

sought to implead any other defendant, has made no specific allegations concerning the liability of

any other party, and advances no expert testimony to support liability on behalf of any other party—

that is the appropriate course for ECFMG to take if it believes it is paying more than its fair share.

II.       The Reexamination Clause—and, in particular, the Seventh Circuit’s decision in
          Rhone-Poulenc —cannot bar certification here, because it does not prohibit
          overlapping presentations of evidence in separate trials.

          Plaintiffs’ previous discussion of the Reexamination Clause and its interplay with Gates

rebuts all of the arguments ECFMG advances on this issue. ECF No. 79 at 12-18. Plaintiffs write

here to discuss Matter of Rhone-Poulenc Rorer, Inc., 51 F.3d 1293 (7th Cir. 1995), the principal case

Defendant cites. The present case suffers from none of the infirmities that plagued Rhone-Poulenc.

And the present case hardly threatens to bankrupt an industry manufacturing lifesaving

pharmaceuticals, unlike Rhone-Poulenc.

          Rhone-Poulenc concerned a nationwide class action lawsuit, brought on behalf of people

suffering from hemophilia who were HIV-positive, against pharmaceutical companies who

manufactured blood solids that contained clotting factors. Id. at 1294. The case involved

approximately 12,000 potential claimants—twelve times the number in this case. Id. at 1296. It came

before the Seventh Circuit on a petition for writ of mandamus following certification under Rule

23(c)(4). Id. at 1294. The district court certified particular issues of negligence concerning the major
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theories of liability advanced by the plaintiffs. If the plaintiffs prevailed, class members would use

the verdict in individual tort suits around the country and attempt to use collateral estoppel to block

relitigation of the issue of negligence (which, the appellate court found, would not work in the

absence of a final judgment). Id. at 1297.

        In writing for the court, Judge Richard Posner elicited three primary concerns, “none of

them necessarily sufficient in itself but cumulatively compelling” (id. at 1299; see also id. at 1304),

which persuaded the court that the district court had abused its discretion:

        (1)     “a concern with forcing these defendants to stake their companies on the outcome

of a single jury trial, or be forced by fear of the risk of bankruptcy to settle even if they have no legal

liability,” where defendants had prevailed in 12 of the first 13 trials involving similar claims; 2

        (2)     the jury would decide a novel “serendipity theory” under a “legal standard that does

not exist anywhere in the world” akin to the sort of “general” federal common law rejected by Erie;

and

        (3)     Seventh Amendment concerns. The district court ordered the first jury would

“determine whether one or more of the defendants was negligent under one of the two theories”

(i.e., ordinary negligence and the “serendipity theory”). Id. at 1303. A subsequent jury would then



2
  The court estimated that the defendants, following class certification, would “suddenly be facing
thousands of plaintiffs” and “might, therefore, easily be facing $25 billion in potential liability
(conceivably more), and with it bankruptcy.” Id. at 1298. They thus would be “under intense
pressure to settle,” making the final judgment unreviewable. Id. Thus, the court concluded, “it is not
a waste of judicial resources to conduct more than one trial, before more than six jurors, to
determine whether a major segment of the international pharmaceutical industry is to follow the
asbestos manufacturers into Chapter 11.” Id. at 1300.

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consider whether the plaintiffs were comparatively negligent and decide proximate causation. Id. The

opinion contains a lone assertion that proximate causation “overlaps the issue of the defendants’

negligence even when the state's law does not (as many states do) make the foreseeability of the risk

to which the defendant subjected the plaintiff an explicit ingredient of negligence.” Id. It then goes

on to say that the class jury might find the defendants negligent, but a subsequent jury might find

the defendant’s action was not a proximate cause of the injury. Id. That is the extent of the court’s

analysis of the matter.

        Here, none of these concerns—which the court repeatedly declined to say were sufficient in

themselves to warrant mandamus—preclude certification. As to concerns (1) and (2), ECFMG does

not argue—and there is no credible argument—that the lawsuit will force ECFMG into bankruptcy

or that ECFMG is likely to succeed on the merits. And there is no prospect the Court will adopt a

legal standard unmoored from state tort law.

        As to concern (3), this case does not present Reexamination Clause concerns, as Plaintiffs

extensively argued in their principal supplemental brief. ECF No. 79 at 12-18. The Reexamination

Clause does not apply to the issue of duty, since the Court will determine the existence of a duty.

The foreseeability prong of the duty analysis thus cannot be “reexamined” by a subsequent jury.

Furthermore, ECFMG’s argument again improperly conflates the foreseeability inquiry appropriate

to resolving duty with the separate and distinct inquiry appropriate to resolving proximate causation,

which this Court noted and rejected in its initial class certification decision. ECF No. 57 at 16-17.

Reexamination Clause problems also do not attend the issue of breach. The class jury will not decide

“negligence,” but rather the issue of whether ECFMG breached its duty to class members.

Subsequent juries will not decide these issues.
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        Even if it were on point, “[b]y and large, other courts have not picked up and run with Judge

Posner's Seventh Amendment concerns.” Anderson Living Tr. v. WPX Energy Prod., LLC, 306 F.R.D.

312, 416 (D.N.M.), adhered to on reconsideration, 312 F.R.D. 620 (D.N.M. 2015). “Most other

commentators and several courts have also rejected Posner’s Seventh Amendment arguments.”

Daniel Klerman, Posner and Class Actions, 86 U. Chi. L. Rev. 1097, 1107-08 (2018). And Judge Posner

embraced the utility and constitutionality of common issue classes that, like this one, did not

threaten to bankrupt a critical industry. See, e.g., McReynolds v. Merrill Lynch, Pierce, Fenner & Smith, Inc.,

672 F.3d 482, 492 (7th Cir. 2012); Butler v. Sears, Roebuck & Co., 727 F.3d 796, 801 (7th Cir. 2013);

Mejdrech v. Met-Coil Systems Corp., 319 F.3d 910, 912 (7th Cir. 2003).

III.    None of the alleged procedural, substantive, constitutional, or statutory rights
        Defendant enumerates will be impaired by class certification.

        Plaintiffs address the alleged undue settlement pressure of class certification in section III of

their principal supplemental brief. (ECF No. 79 at 8.) Plaintiffs add that counsel’s assertion that it

has strong defenses (an opinion the Third Circuit did not advance) hardly makes class certification

improper or unfair. The argument improperly injects merits questions into class certification. See

Amgen Inc. v. Connecticut Retirement Plans & Trust Funds, 133 S. Ct. 1184, 1191 (2013).

        Moreover, “pressure” does not mean “undue pressure.” As Judge Posner observed in Rhone-

Poulenc, “We do not want to be misunderstood as saying that class actions are bad because they place

pressure on defendants to settle. That pressure is a reality, but it must be balanced against the

undoubted benefits of the class action that have made it an authorized procedure for employment

by federal courts.” Rhone-Poulenc, 51 F.3d at 1299. Similarly, in later affirming a district court’s



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certification under Rule 23(c)(4) of an issue class on whether there was unlawful contamination and

the extent of the contamination, Judge Posner explained:

        When enormous consequences turn on the correct resolution of a complex factual
        question, the risk of error in having it decided once and for all by one trier of fact
        rather than letting a consensus emerge from several trials may be undue.

        This is not such a case. First, the two questions that the judge has set for class
        treatment—whether there was unlawful contamination and what the geographical
        scope of the contamination was—are not especially complex. Second, even if these
        questions are answered against Met-Coil, the consequences for it will not be
        catastrophic. The individual class members will still have to prove the fact and extent
        of their individual injuries. The need for such proof will act as a backstop to the
        class-wide determinations.

Mejdrech v. Met-Coil Systems Corp., 319 F.3d 910, 912 (7th Cir. 2003) (citations omitted). Plainly this case

is also not one where enormous consequences turn on resolution of a complex factual question.

This is a damages lawsuit by 1,000 or fewer plaintiffs against an insured defendant with over $168

million in assets and over $90 million in revenue for FY2019. 3

        For the first time, ECFMG proposes that the Court conduct numerous full-blown

bellwether trials. (ECF No. 80 at 12. The only other “realistic procedural alternative” proposed is

coordinating discovery between different proceedings, id., which is of little moment given the

advanced stage of discovery.) Repetitive individual trials, requiring repetitive, costly expert testimony

and trial costs that may well exceed the recovery of an individual plaintiff, offer no advantage over

the proposed issue-class action. Again, the central question before the Court is one formulated by

Judge Posner: “Is it more efficient, in terms both of economy of judicial resources and of the



3
 See Educational Commission for Foreign Medical Graduates, Form 990 for the period ending
December 31, 2019, at 1, available at https://tinyurl.com/2p8z64rt.
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expense of litigation to the parties, to decide some issues on a class basis or all issues in separate

trials?” 4 As Plaintiffs have argued extensively, trying duty and breach on a class basis will afford

numerous advantages and efficiencies over trying the same issues “again, and again, and again.” ECF

No. 57 at 26.

        Finally, choice of law cannot bar class certification here. First, ECFMG confuses the burden

of showing certification is warranted with the burden of addressing conflicts of law. Plaintiffs bear

the latter burden only when the defendant first demonstrates that multiple bodies of law apply. See,

e.g., Principles of the Law of Aggregate Litigation § 2.05 cmt. f (2020); Patrick Woolley, Choice of Law

and the Protection of Class Members in Class Suits Certified Under Federal Rule of Civil Procedure 23(b)(3), 2004

Mich. St. L. Rev. 799, 811 (2004). Under Pennsylvania law, a class-action defendant has the burden

of showing that the law of another state applies or, if it does, that a true conflict exists. See, e.g.,

Parsky v. First Union Corp., 51 Pa. D. & C.4th 468, at 12 & n.28 (Com. Pl. 2001). Defendant has not

shown that multiple states’ laws apply and has certainly not shown that a true conflict exists.

        This Court has already determined that Pennsylvania law applies to the Plaintiffs’ claims.

ECFMG gives the Court no reason to change its mind. Its sole new argument on this score on

remand is that “difficult constitutional questions would arise under the Commerce Clause” if

Pennsylvania law is applied to the claims of out-of-state plaintiffs. (ECF No. 80 at 9.) The sole case

it cites concerns whether a Connecticut beer-pricing statute unconstitutionally discriminated against

interstate commerce. Healy v. Beer Inst., Inc., 491 U.S. 324 (1989). Healy nowhere discusses choice of

law. ECFMG never shows how applying Pennsylvania law to a Pennsylvania corporation’s conduct


4
 Butler v. Sears, Roebuck & Co., 702 F.3d 359, 361 (7th Cir. 2012), cert. granted, judgment vacated, 569 U.S.
1015 (2013), and judgment reinstated, 727 F.3d 796. (7th Cir. 2013).
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in Pennsylvania would discriminate against interstate commerce. Even if the Court determined

another state’s law applied and a true conflict existed, it could create a subclass using Rule 23(c)(5)

and instruct the jury on any meaningful differences in the applicable law (differences the Court and

the parties have not found).

IV.     The issue-class certification in Gates does not resemble the one Plaintiffs propose
        here.

        ECFMG incorrectly analogizes the issue certification on duty and breach in this case to that

proposed in Gates. In Gates, the class sought certification only on medical monitoring and property

damage claims, solely regarding only one among several contaminants (vinyl chloride) and exposure

through only one of several alleged pathways (via a shallow aquifer into the air). Gates v. Rohm and

Haas Co., 655 F.3d 255, 259 (3d. Cir. 2011). The class trial would only have determined whether

defendants discharged vinyl chloride into the lagoon that seeped into the shallow aquifer and

whether vinyl chloride evaporated into the air from the shallow aquifer. Gates, 655 F.3d at 274. The

Third Circuit concluded resolving that issue would not substantially aid resolution of liability and

causation.

        The issue class certification proposed here, by contrast, will resolve the issues of duty and

breach of duty as to all class members on all theories. Unlike the narrow issues proposed for class

treatment in Gates, which would have left whole claims untouched for resolution, the class

proceedings in this matter will resolve two major elements of each cause of action for all plaintiffs.




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V.      Defendant’s argument regarding predominance and superiority breaks no new
        ground and is not responsive to the Third Circuit’s opinion.

        Defendant erroneously claims that the issue of duty and breach cannot be resolved on a

classwide basis, because class members encountered Akoda at different times. Defendant ignores the

Third Circuit’s explicit statement to the contrary: “It is true that deciding if the Commission had a

duty to investigate requires balancing several factors. But none of that requires individual evidence,

for each patient shared the same distanced relationship of trust with the Commission. Likewise,

breach would require only common evidence.” Russell, 15 F.4th at 272. Here, ECFMG’s relevant

course of conduct relative to the claims of each plaintiff is the same: ECFMG negligently certified

Igberase and then failed to act on an ongoing basis from 2000 until 2016, despite multiple

opportunities to do so. Whether ECFMG acted reasonably in failing to act upon an alleged request

from law enforcement in 2013 is immaterial: it should never have certified Igberase in the first place.

Having certified him, it should have acted long before 2013 to revoke his certification and warn

hospitals, medical boards, and patients.

        Finally, ECFMG’s argument again conflates foreseeability as a question of proximate cause

with foreseeability as a question of duty, which the district court observed in rejecting this same

argument in opposition to Plaintiffs’ initial motion for class certification. ECF No. 57 at 16-17.

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court adhere to its initial

class certification decision.




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Dated: January 14, 2022                              Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I certify that on January 14, 2022, I caused the foregoing document to be served upon all

counsel of record through the Court’s CM/ECF filing system.

Dated: January 14, 2022                                      /s/ Patrick Thronson
                                                             Patrick A. Thronson




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                              CERTIFICATE OF COMPLIANCE

       I certify that the foregoing document contains 3,424 words, excepting the caption, table of

contents, signature block, and certificates, in compliance with the Court’s Scheduling Order of

November 9, 2021 (ECF No. 77).



Dated: January 14, 2022                                       /s/ Patrick Thronson
                                                              Patrick A. Thronson




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                 Civil Action No. 18-5629
                 Plaintiffs,
                                                 Honorable Joshua D. Wolson
      v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                 Defendant.



       DEFENDANT’S OPPOSITION BRIEF IN RESPONSE TO PLAINTIFFS’
         SUPPLEMENTAL BRIEF REGARDING CLASS CERTIFICATION




Dated: January 14, 2022

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                                        INTRODUCTION

       Plaintiffs have not satisfied Rule 23, and nothing in their Supplemental Memorandum alters

that conclusion. Since that filing, Plaintiffs’ counsel has admitted in writing that they “have no idea

what the first jury trial in this case is going to look like.” Ex. A. That is essentially a concession

that Plaintiffs have not carried their burden on the predominance and superiority requirements of

Rule 23(b)(3) and issue-class certification requirements of Rule 23(c)(4) and the Gates factors. The

Court cannot certify an issue class without a clear understanding of how it would facilitate the most

fair and efficient resolution of the controversy. Plaintiffs offer only general assurances that some

time down the road in this case they will somehow, some way, avoid the inefficiencies and

substantive problems recognized by the Third Circuit. Rule 23 demands much more. Class

certification should be denied.

                                           ARGUMENT

I.     Plaintiffs Have Not Demonstrated That an Issue Class Satisfies Rule 23(b)(3).

       Plaintiffs’ application of Rule 23(b)(3) to the facts of this case comprises only half a page.

See Pls’ Supp. Mem. 6. Rather than address the predominance and superiority requirements

separately or at length, Plaintiffs’ Supplemental Memorandum presents a brief and conclusory

analysis of “matters pertinent” to Rule 23(b)(3). Id. Plaintiffs do not explain why this case is

different than the typical personal injury-type case, in which each plaintiff “has a significant

interest in individually controlling the prosecution” of her case and “a substantial stake in making

individual decisions on whether and when to settle.” Amchem Prods., Inc. v. Windsor, 521 U.S.

591, 616 (1997). Nor do they explain how the absence of similar litigation favors certification

when Plaintiffs’ counsel purports to represent “at least 550 plaintiffs” who would supposedly file

suit if certification were denied. Pls.’ Supp. Mem. 12. This is not a case where the class action

device is necessary to avoid the loss of class members’ rights.
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       A “rigorous analysis” of Rule 23(b)(3) requires the Court to take a “close look” at the

predominance and superiority requirements and to “find” based on “evidentiary proof” that they

are satisfied. Comcast Corp. v. Behrend, 569 U.S. 27, 33–34 (2013). As explained below, Plaintiffs

have not satisfied those requirements, and no class should be certified.

       A.      Plaintiffs have not satisfied Rule 23(b)(3)’s predominance requirement.

       Plaintiffs’ predominance argument is premised on several out-of-circuit cases and treatises

standing for the truism that common questions predominate when only common questions are

considered. See Pls.’ Supp. Mem. 7.

       But the Third Circuit did not hold—and Plaintiffs have not shown—that “whether

[ECFMG] owed a relevant legal duty to the Plaintiffs that it subsequently breached,” Russell v.

Educ. Comm’n for Foreign Med. Graduates, 15 F.4th 259, 270 (3d Cir. 2021), is in fact a question

“capable of classwide resolution—which means that determination of its truth or falsity will

resolve an issue that is central to the validity of each one of the claims in one stroke,” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). See also Amchem Prods., Inc., 521 U.S. at 624

(explaining that Rule 23(b)(3)’s “predominance criterion is far more demanding” than Rule 23(a)’s

commonality requirement). As explained in ECFMG’s Supplemental Brief (at 10–13), it is not.

Even if proof of ECFMG’s conduct may not differ significantly among cases, the legal import of

that conduct may vary drastically. Plaintiffs’ varied theories of liability admit the possibility that

ECFMG breached a duty owed to some class members but not others. Accordingly, common issues

do not predominate.

       B.      Plaintiffs have not satisfied Rule 23(b)(3)’s superiority requirement.

       Plaintiffs’ discussion of superiority and the “likely difficulties in managing a class action”

is three lines long and simply states, without elaboration, that such difficulties “pale in comparison

to the likely difficulties and drain on judicial resources, of handling these claims individually.”
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Pls’ Supp. Mem. 6. Plaintiffs do not meaningfully discuss any “other available methods” for

adjudicating the controversy, Fed. R. Civ. P. 23(b)(3), let alone offer a trial plan demonstrating

that their proposed issue class is superior to those methods. See Sanneman v. Chrysler Corp., 191

F.R.D. 441, 455 (E.D. Pa. 2000) (“[I]n order to find superiority, a court must find all other methods

of resolving the issues in a case to be inferior to a class action.”). This is perhaps unsurprising

given their admission they do not know what an issue class trial would look like. See Ex. A.

       Courts regularly hold that superiority is not satisfied where, as here, plaintiffs fail to

provide a trial plan or otherwise demonstrate that the benefits of class certification exceed those

of other methods for resolving the controversy. See Johnston v. HBO Film Mgmt., Inc., 265 F.3d

178, 195 (3d Cir. 2001) (rejecting class certification where it was not “the best ‘available method[]

for the fair and efficient adjudication of the controversy’”); Blain v. Smithkline Beecham Corp.,

240 F.R.D. 179, 195 (E.D. Pa. 2007) (finding superiority lacking where proposed trial plan

involving jury interrogatories on emotional distress claims left “an overwhelming number of

individual issues … unresolved for each class member” and “adjudication of the proposed common

issues would not materially advance a disposition of the case as a whole”); In re Domestic Drywall

Antitrust Litig., MDL No. 2437, 2017 WL 3700999, at *15 (E.D. Pa. Aug. 24, 2017) (noting that

the plaintiffs’ failure to present a trial plan weighed against a finding of superiority); Mwantembe

v. TD Bank, N.A., 268 F.R.D. 548, 563 (E.D. Pa. 2010) (“Despite the numerous problems presented

with adjudicating, administering and trying these cases, the plaintiffs have not submitted a

proposed trial plan addressing these problems.”). On this record, given the absence of argument

by Plaintiffs, the Court cannot find that Rule 23(b)(3)’s superiority requirement has been met.

II.    Plaintiffs Have Not Demonstrated That an Issue Class Satisfies Rule 23(c)(4).

       Plaintiffs’ arguments with respect to Rule 23(c)(4) and the Gates factors are muddled and

unpersuasive. Plaintiffs disregard large portions of the Third Circuit’s opinion describing the
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difficulties arising from the proposed issue class. They adopt inconsistent positions about whether

they intend to prove essential elements of their claims and, if so, who would decide the element

and at which stage of the proceeding. They offer no clear trial plan and propose no real solutions

to looming violations of ECFMG’s constitutional rights. Plaintiffs have not done enough to

demonstrate that their proposed issue class satisfies Rule 23(c)(4).

       A.      Plaintiffs do not address most of the Gates factors.

       The Third Circuit held that this Court’s prior class certification order “failed to rigorously

consider several Gates factors.” Russell, 15 F.4th at 272. Its opinion gives several “example[s]” of

Gates factors that were not sufficiently addressed. Id. But the Third Circuit never indicated that

those examples were a comprehensive or exclusive list of Gates factors that were not analyzed

rigorously. See id. at 273 n.5 (“there may yet be other problems with the issue class”). Its opinion

did not endorse this Court’s analysis of any particular Gates factor or otherwise suggest that

individual Gates factors should be reevaluated in isolation without reweighing all of the factors.

       Plaintiffs’ Supplemental Memorandum discusses only a few of the Gates factors. See Pls.’

Supp. Mem. 8–18. It does not address all of the Gates factors or explain how all of the Gates

factors, taken together, show that issue class certification is “appropriate” in this case. The Court

should not find Rule 23(c)(4) satisfied when Plaintiffs have not supplied the Court with an

adequate basis to rigorously analyze all of the Gates factors.

       B.      The need to present the same evidence at issue class and individual
               proceedings drastically undermines any supposed gains in efficiency.

       The Third Circuit correctly recognized that Plaintiffs’ proposed issue class will leave

“plenty … for individual proceedings,” including “whether each Plaintiff was injured; whether

[ECFMG]’s breach of the relevant duty (if it had a duty that was breached) actually and

proximately caused those injuries; whether those injuries are due a particular amount of damages;

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and whether [ECFMG] could raise any affirmative defense, including, presumably, whether each

Plaintiff’s consent to medical treatment by [Dr. Akoda] breaks the causal chain.” Russell, 15 F.4th

at 265, 273.

       Plaintiffs’ only basis for claiming that issue class certification would promote efficiency

(Gates factor 3) is their contention that it would avoid the need to present the same evidence at

multiple proceedings. See Pls.’ Supp. Mem. 11–12.

       The Third Circuit expressly rejected that argument. It held that if an issue class were

certified, “once beyond the class trial, to determine and measure emotional damages, each

individual jury will have to assess the degree of [ECFMG’s] negligence as to each Plaintiff.”

Russell, 15 F.4th at 272 (citing Spence v. Bd. of Educ. of the Christina Sch. Dist., 806 F.2d 1198,

1202 (3d Cir. 1986)). It further reiterated that “emotional distress damages must be evaluated in

light of all the circumstances surrounding [ECFMG’s] alleged misconduct.” Id. (quoting Spence,

806 F.2d at 1202). The law requires that evidence of ECFMG’s negligence be presented at both

the issue class and individual phases of the case proposed by Plaintiffs. That holding eviscerates

any claim that improved efficiencies warrant class certification.

       Plaintiffs’ response is to pretend that the Third Circuit’s holding does not exist. Their

Supplemental Memorandum cites out-of-circuit cases and decades-old Third Circuit decisions to

argue that ECFMG’s alleged negligence is irrelevant to the alleged emotional distress here. See

Pls.’ Supp. Mem. 16. Plaintiffs also argue that Spence “is of no moment here” because it involved

a “tangled and complex fact situation.” Id. at 17.1 They made exactly this argument on appeal,

Appellees’ Br., Dkt. 47, at 57–59, but the Third Circuit rejected it, holding that Spence applies,




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  Notably, Plaintiffs previously argued that “complexity” here weighed in favor of class
certification. See ECF 32-1 at 21.
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that each individual jury “will have to” assess ECFMG’s alleged negligence, and that emotional

distress damages “must” be evaluated in light of ECFMG’s alleged negligence. Russell, 15 F.4th

at 272. This conclusion was not dicta but was a necessary part of the Third Circuit’s reasoning in

reversing class certification, and this Court may not disregard the Third Circuit’s holding about

how Plaintiffs must prove emotional distress and what individual proceedings would require.

        C.      Plaintiffs overstate the supposed differences in efficiencies between issue class
                certification and realistic procedural alternatives.

        Plaintiffs argue that the efficiencies to be gained from an issue class (Gates factor 3) favor

certification because “no efficient alternative exists.” Pls.’ Supp. Mem. 11. According to Plaintiffs,

the Court must choose between either conducting a single issue-class trial “followed by

individualized determinations on causation and damages,” or conducting “full-blown trials for

each of at least 550 plaintiffs” on all issues. Id. at 12.

        That is a false dichotomy in three respects. First, Plaintiffs ignore meaningful alternatives

to issue class certification, including coordinated discovery between individual proceedings and

bellwether proceedings on all issues. Plaintiffs have never explained why bellwether trials on all

issues—including those proposed for class certification—would be unfair or inefficient. In reality,

bellwethers offer all of the supposed benefits of issue class certification and avoid some of biggest

drawbacks, such as undue settlement pressure (Gates factor 7) and risks of improper claim-

splitting or reexamination (Gates factor 9). See Manual for Complex Litigation, Fourth, § 22.315

(2004) (explaining that test cases can “enable the parties and the court to determine the nature and

strength of the claims, whether they can be fairly developed and litigated on a group basis and

what range of values the cases may have if resolution is attempted on a group basis”). Just as

certification is not superior under Rule 23(b)(3), it is not efficient under Rule 23(c)(4).




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       Second, Plaintiffs have no intention of pursuing “individualized determinations” or “full-

blown trials” for hundreds of plaintiffs. Plaintiffs told the Third Circuit there would “likely not”

be hundreds of individual proceedings after an issue class trial because “[a]fter litigating a number

of these, eventually, the parties are able -- it facilitates settlements and an appropriate valuation of

the case.” 3d Cir. Oral Arg. Tr., Dkt. 64, at 20:1, 21:17–20. The same would be true of individual

proceedings on all issues without an issue class.

       Third, Plaintiffs understate the issues that must be resolved in individual proceedings under

the proposed issue class. Individual proceedings would not be limited to “causation and damages”

(both significant matters in and of themselves); they would also include, at minimum, the fact of

injury and ECFMG’s affirmative defenses. See Russell, 15 F.4th at 265, 272.

       D.      Plaintiffs’ proposal to focus individual proceedings only on Dr. Akoda, not
               ECFMG, is fundamentally flawed.

       Plaintiffs argue that issue class certification would promote efficiency (Gates factor 3) and

avoid the risk of improper reexamination (Gates factor 9) because individual proceedings would

consider only whether Dr. Akoda caused each class member emotional distress, not whether

ECFMG caused each class member emotional distress. See Pls.’ Supp. Mem. 17.

       Plaintiffs’ proposal is inconsistent with the Third Circuit’s holding described above. Class

members’ alleged injuries and damages cannot be determined without also considering ECFMG’s

alleged negligence and all of the attendant circumstances. See Russell, 15 F.4th at 272. Nor could

a jury decide whether ECFMG’s alleged negligence caused a class member to suffer emotional

distress without considering the lengthy causal chain separating ECFMG from that class member.

See Pls. Supp. Mem. 17 (conceding ECFMG had no direct contact with class members). As the

Third Circuit correctly recognized, evidence that “[m]any other actors played a role in [Dr.

Akoda]’s fraud” tends to show that ECFMG’s alleged breach “did not cause Plaintiffs’ harm.”

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Russell, 15 F.4th at 272. The same evidence presented to the issue class jury would have to be

presented to each individual jury, eliminating any supposed efficiencies and drastically increasing

the risk of inappropriate reexamination.

       In an attempt to address this problem, Plaintiffs propose that individual juries would be

“instructed that ECFMG is responsible for putting [Dr. Akoda] in a position to damage Plaintiffs

in the first place.” Pls.’ Supp. Mem. 17. But that is a causation issue that Plaintiffs do not propose

to submit to an issue class jury. Their proposal, laid bare, is to never try causation but merely to

instruct individual juries that it already has been determined. That proposal would violate

ECFMG’s due process rights and presents an insurmountable obstacle to issue class certification.

See Arch v. Am. Tobacco Co., Inc., 175 F.R.D. 469, 493 (E.D. Pa. 1997) (rejecting similar trial

plan as “violative of defendants’ due process right to a fair trial”). The Court cannot adopt

Plaintiffs’ proposal to assume—without ever having a jury decide—whether ECFMG’s breach of

a legal duty was the actual and proximate cause of Dr. Akoda treating Plaintiffs.

       E.      Plaintiffs have not proposed a trial plan that would avoid Seventh Amendment
               violations.

       Plaintiffs argue that the Court should certify an issue class even if each individual jury must

consider the same evidence as the issue class jury because that duplicative presentation of evidence

would not necessarily violate the Seventh Amendment and unspecified “management devices”

tools could theoretically be deployed to solve problems that arise. See Pls.’ Supp. Mem. 12–18.

       Plaintiffs’ argument fails in two respects. First, the need to re-present evidence to more

than one jury weighs against issue class certification under Gates because it is inefficient, even if

it does not violate the Seventh Amendment. Russell, 15 F.4th at 272 (“Gates disfavors this.”).

       Second, Plaintiffs have yet to show that their proposed issue class could avoid violating

the Seventh Amendment. They concede that “[s]pecial interrogatories have not been crafted,” Pls.’

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Supp. Mem. 14, and, it bears repeating, acknowledge that they “have no idea what the first jury

trial in this case is going to look like,” Ex. A. The Court lacks any assurance that there are workable

procedures to conduct serial trials consistent with the Seventh Amendment. As explained in

ECFMG’s Supplemental Brief (at 5), there are not.

        Plaintiffs attempt to shift the burden to ECFMG to solve for the Seventh Amendment issues

they propose to create. See Pls.’ Supp. Mem. 15. That is improper. It is Plaintiffs’ burden to

establish “through evidentiary proof” that the requirements of Rule 23 are satisfied consistent with

the parties’ constitutional rights. Comcast Corp., 569 U.S. at 33. Plaintiffs’ argument (at 15) that

the issue is not “ripe” merely confirms that they have not carried their burden.

        F.      Treating duty as a question of law does not favor class certification.

        Plaintiffs have staked out inconsistent positions on the issue of duty. At times, Plaintiffs

contend it is a question of law to be decided by the Court, so it presents no risk of reexamination

by multiple juries (Gates factor 9). See Pls.’ Supp. Mem. 16. At other times, Plaintiffs suggest it

is a question of fact most efficiently resolved through an issue class trial. See id. at 12 (noting the

supposed need for repetitive presentations of evidence on duty); id. at 6 (claiming that absent class

certification there would be “hundreds of separate answers to the questions surrounding

[ECFMG]’s legal duties”). Plaintiffs cannot have it both ways.

        If duty is a question of law to be decided by the Court, there is no need to certify a class on

the issue. This Court could decide that legal question in an individual proceeding, which could be

promptly appealed to the Third Circuit, thus providing binding precedent for all subsequent cases.

Such an approach would efficiently—and conclusively—resolve an important question for all

parties without the downsides or complexities of issue class certification. And without any need to

certify a class on the question of duty, there is even less reason to certify any class in this case.



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       G.      Issue certification creates a serious risk of undue settlement pressure.

       Plaintiffs’ Supplemental Memorandum downplays the Third Circuit’s recognition that

issue class certification may cause ECFMG to “face undue pressure to settle, even if [its] breach

did not cause Plaintiffs’ harm.” Russell, 15 F.4th at 272.

       Plaintiffs instead argue that ECFMG’s defenses are meritless and urge the Court to pressure

ECFMG to settle notwithstanding those defenses. See Pls.’ Supp. Mem. 9–11. But ECFMG has

strong defenses, including the absence of any duty, the limitations on claims of negligent infliction

of emotional distress, class members’ consent to treatment by Dr. Akoda, and a very strong

causation defense. See Russell, 15 F.4th at 272. ECFMG has a right to present those defenses. To

the extent class certification “might unfairly prompt a settlement where [ECFMG] would

otherwise never consider one,” that consideration weighs against class certification. Jackson v. Se.

Pa. Transp. Auth., 260 F.R.D. 168, 185 (E.D. Pa. 2009).

       Plaintiffs also suggest that Rule 23’s protection against undue settlement pressure is

somehow a reason to certify a class that risks imposing undue settlement pressure. See Pls.’ Supp.

Mem. 8. That is simply a non sequitur. Because class certification here would risk creating undue

settlement pressure, the Court should deny class certification under Rule 23.

III.   Plaintiffs’ Attempt to Limit the Third Circuit’s Decision Is Meritless.

       Plaintiffs argue that the Third Circuit’s decision vacated this Court’s class certification

order only with respect to Plaintiffs’ claim for negligent infliction of emotional distress and not

their claim for negligence. Id. at 3. But neither this Court nor the Third Circuit distinguished

between those claims. And ECFMG is unaware of any legal difference between them: a claim

based on negligence seeking recovery only for emotional distress is a claim for negligent infliction

of emotional distress. As a practical matter, other than possible choice-of-law issues (that Plaintiffs

have not thoroughly examined) there is no meaningful difference between Plaintiffs’ claims.
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Plaintiffs never asked the Third Circuit to limit its ruling and to distinguish between their claims,

and the Third Circuit did not do so.

                                         CONCLUSION

       ECFMG respectfully requests that the Court deny class certification.



 Dated: January 14, 2022
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                        CERTIFICATION OF LENGTH OF BRIEF

       I do hereby certify that the foregoing Defendant’s Opposition Brief in Response to

Plaintiffs’ Supplemental Briefing Regarding Class Certification contains less than 3,500 words.



DATED: January 14, 2022                             /s/ Brian W. Shaffer
                                                    Brian W. Shaffer




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: January 14, 2022                              /s/ Brian W. Shaffer
                                                     Brian W. Shaffer




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                  EXHIBIT A




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From:                               Shaffer, Brian W.
Sent:                               Wednesday, December 15, 2021 11:30 AM
To:                                 Patrick A. Thronson
Cc:                                 Paul Vettori; Cory Zajdel; 'David Haynes'; kevans@cochranfirm.com; Brent Ceryes;
                                    ncentrella_conradobrien.com; McEnroe, Elisa P.; Klayman, Matthew D.;
                                    rweiss@conradobrien.com; Leslie F. Reaser
Subject:                            RE: Russell v. ECFMG - Daubert motions


Patrick,

We are not sure why Plaintiffs are “very surprised” by the filing of Daubert motions at this time. Among other things, per
Section II.B.4 of Judge Wolson’s Policies and Procedures, to the extent the inadmissibility of expert testimony may impact
summary judgment, ECFMG was required “to raise such argument in a contemporaneous Daubert motion.” We noted in our
Daubert motions why we do not believe the challenged experts’ opinions, reports and other materials can be relied upon to
preclude summary judgment for ECFMG.

Further, given that part of the inquiry on class certification is the superiority inquiry under Rule 23(b)(3) and numerous Gates
factors that require the court to consider how class certification would impact trial, and given summary judgment obviously
impacts what issues may need to be tried (whether on a class or individual basis), we do not see how or why the Court should be
asked to simply defer all admissibility questions about Plaintiffs’ experts based on your email below. Indeed, Plaintiffs have
already cited to the number of experts as a factor weighing in favor of issue class certification. See, e.g., ECF 32-1 at 22. Of
course, nothing stops Plaintiffs from arguing in opposition that some or all parts of the Daubert motions should be denied
without prejudice because Plaintiffs “have no idea what the first jury trial in this case is going to look like” and, as a result, do not
yet know whether they propose to use the challenged experts and, if so, for what purpose. If you do so, we’d obviously be
entitled to respond on reply.

We are willing to agree that Plaintiffs’ responses to the Daubert motions may be filed contemporaneously with the deadline for
the response to the summary judgment motion. It was certainly not our intention to create a separate interim deadline for
Plaintiffs’ counsel to meet over the holidays.

Brian

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rweiss@conradobrien.com; Leslie F. Reaser <LReaser@jjsjustice.com>
Subject: Russell v. ECFMG - Daubert motions

[EXTERNAL EMAIL]
Brian,

We’ve reviewed and conferred on Defendants’ filings late last Friday night. We were very surprised to receive Daubert
challenges/motions in limine as to four of our experts. ECFMG’s counsel never mentioned it planned to file these motions during
the status conference or in the meet and confer between counsel before that conference. This would have been important
information for us and the Court to have, particularly in establishing a workable briefing schedule this time of year.

There are several ripeness issues inherent in resolving these Daubert challenges/motions in limine now. We have no idea what
the first jury trial in this case is going to look like. This is not a toxic tort or medical malpractice case, where a plaintiff would have
to rely on an expert to establish nearly any element of a claim. (In fact, ECFMG appears to be taking the position that the
testimony of our experts is relevant to little if any issues to be resolved at an issues trial or in individual proceedings.) The
motions are necessarily untethered to any indication on our part as to which experts we will use, on which issues, in which
among several trial plans that might be chosen by the Court. Without a ruling on class certification, we don’t know the shape of
the case and the issues or claims to be resolved at the various stages of the case. Asking the Court to rule now on the
admissibility of these experts on various issues, in various future trial scenarios, is highly premature.

We plan to ask the Court to hold the Daubert motions you filed in abeyance until resolution of the summary judgment and class
certification motions, unless, of course, you are willing to withdraw them without prejudice. We plan to ask the Court in the
alternative to limit the scope of any Daubert challenges only to what is necessary to resolve the summary judgment motions,
and extend the deadline for responses to any Daubert challenges to be contemporaneous with the deadline for responses to the
summary judgment motion. We read the rules to indicate that responses to the Daubert motions would be due 14 days from the
date of filing.

So that we can submit a timely request to the Court, please indicate by 12 PM tomorrow, 12/14/21, your position on the above
requests we intend to make.

Patrick

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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                               Civil Action No. 18-5629
                Plaintiffs,
                                               Honorable Joshua D. Wolson
     v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.



                       DEFENDANT’S REPLY IN SUPPORT OF
                       MOTION FOR SUMMARY JUDGMENT



Dated: January 28, 2022

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       Plaintiffs’ arguments in response to ECFMG’s Motion for Summary Judgment are a

moving target. For example, despite repeatedly disclaiming—both to this Court and the Third

Circuit—any recovery based on the medical treatment provided by Dr. Akoda, Plaintiffs invoke

their individual treatments when they believe it helps them. See, e.g., Resp. at 13 (“In some

instances, Igberase engaged in patently offensive physical contact.”); see also Resp. at 19-20 & 38

(alleging Dr. Akoda committed “bodily harm”). But to avoid the statute of limitations (and in

seeking class certification), they simultaneously deny their claims have anything to with their

treatment. See, e.g., Resp. at 40 (claims arise from “learning that ‘Dr. Akoda’ was a fictious

persona”). Similarly, Plaintiffs truthfully concede that “Akoda and Igberase are the same person,”

Resp. at 4, but later disingenuously assert that the individual who treated them “had no medical

license, was not board certified, and was not employed by any hospital.” Resp. at 35.

       Plaintiffs must perform these contortions because the undisputed facts confirm that as a

matter of law, their claims against ECFMG are meritless. Most obviously, there is no evidence

that Plaintiffs suffered either (1) fear from being in the “zone of danger” of a physical harm; or (2)

emotional distress accompanying contemporaneous physical impact. Their theory—emotional

distress arising from information they learned years after their contact with Dr. Akoda—is

precisely what Pennsylvania’s limits on recovery of emotional distress preclude.

       Plaintiffs’ responses to ECFMG’s other arguments fare no better. Plaintiffs’ misread

Section 324A as expanding a parties’ obligations, and their request for this Court to impose a new

common-law duty fails to satisfy the strict test for creating a duty under Pennsylvania law and is

inconsistent with this Court’s role under Erie. Plaintiff’s proximate causation argument cannot

overcome the lengthy chain between any of ECFMG’s actions and their treatment by Dr. Akoda

and the undisputed evidence concerning the roles of the hospitals, employers and licensing boards

that allowed Dr. Akoda to treat Plaintiffs. And with respect to but-for causation, Plaintiffs cannot



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deny—and have no response to the fact—that any emotional distress was caused by their

misunderstanding of the facts and not by the true state of affairs. Nor does the admissible evidence

submitted by Plaintiffs rise to the level of compensable emotional distress.

       Finally, with respect to the statute of limitations, Plaintiffs simply ignore the governing

Pennsylvania Supreme Court authority that ECFMG cited: Rice v. Diocese of Altoona-Johnstown,

255 A.3d 237 (2021). It is irrelevant that Plaintiffs Evans and Powell did not know (or had not

suffered) the full extent of their injuries. Evans and Powell both testified that they had knowledge

of “at least some form of significant harm,” id. at 247, which started the accrual of their claims,

well outside the limitations period. Plaintiffs do not offer any response to the fact that under Rice

v. Diocese, the claims of Evans and Powell are barred by limitations.

I.     Plaintiffs Cannot Recover for Emotional Distress from Learning Information.

       Pennsylvania permits recovery of damages for negligently inflicted emotional distress in

very limited circumstances. Mot. at 15–17. Plaintiffs’ claims for “emotional distress that has

resulted from their discovery that the individual they knew as ‘Dr. Akoda’ was in fact, Oluwafemi

Igberase,” Resp. at 39, years after their treatment by Dr. Akoda, falls far outside these limits.

       To their credit, Plaintiffs do not invoke the “special relationship” theory, which ECFMG

explained is inapplicable here. See Mot. at 16–17. Instead, Plaintiffs rely on the “zone of danger”

(at 13–14) exception and “physical impact” exception (at 11–13). But neither exception applies

because of significant time—years—separating Plaintiffs’ treatment by Dr. Akoda from their

alleged emotional distress. Plaintiffs’ request (at 13–15) that this Court ignore the limits that

Pennsylvania law places on emotional recovery is revealing: Plaintiffs know that under

Pennsylvania law as it stands, they cannot recover, and this Court, as a federal court sitting in

diversity, must take state law as it finds it. This Court cannot create novel theories of recovery




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under state law, as Plaintiffs request. See infra pp. 6–10.

       A.      The “zone of danger” allows recovery only with fear of physical impact.

       The “zone of danger” exception is inapplicable here. It allows recovery only for a plaintiff

who was (1) “in personal danger of physical impact;” and (2) “where plaintiff actually did fear the

physical impact.” Niederman v. Brodsky, 261 A.2d 84, 90 (Pa. 1970). Plaintiffs speak only to the

first requirement. See Resp. at 13 (arguing that the conduct “presented substantial risk of physical

harm to the Plaintiffs”). But they do not—and cannot—argue that their emotional distress arose

from the fear of harm. To the contrary, they admit that at the time of treatment, they were unaware

of any risk related to the information about Dr. Akoda that they learned years later. See Resp. 8–

10; Pls.’ Ex. 34 at ¶¶ 3–4; Pls.’ Ex. 35 at ¶ 3. By their own theory, Plaintiffs did not know they

were in a “zone of danger” and thus cannot recover for emotional distress under the exception.

       B.      The “physical impact” exception allows recovery only when emotional distress
               accompanies contemporaneous physical impact.

       Plaintiffs rely primarily on the theory that their treatment by Dr. Akoda constituted a

“physical impact” that allows them to recover for emotional distress. Resp. at 11–13. Plaintiffs

cannot prevail under this theory because the “physical impact” occurred years before their alleged

emotional distress. The impact need not occur “simultaneously with the negligent act,” Resp. at

12 (quoting Stoddard v. Davidson, 513 A.2d 419, 422 (Pa. Super. 1986)), but the impact and

emotional distress must be “contemporaneous.” Schmidt v. Boardman Co., 11 A.3d 924, 948 (Pa.

2011) (noting recovery for “trauma derived from a contemporaneous physical impact”).

       The emotional distress must “accompany” the physical impact. See, e.g., Kazatsky v. King

David Mem’l Park, Inc., 527 A.2d 988, 992 (Pa. 1987) (allowing recovery for “emotional distress

only if it was accompanied by a physical injury or impact”); Williams v. Guzzardi, 875 F.2d 46,

51 (3d Cir. 1989) (same); Niederman v. Brodsky, 261 A.2d 84, 86 (Pa. 1970) (noting that the rule

allowed recovery, when there was an impact, for “accompanying fright”); Potere v. City of

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Philadelphia, 112 A.2d 100, 104 (Pa. 1955) (allowing recovery for “bodily injuries, even though

trivial or minor in character, which are accompanied by fright or mental suffering”).

       Plaintiffs’ alleged emotional distress did not accompany the alleged “physical impact.”

The two were not “contemporaneous” but, according to Plaintiffs, occurred years apart.

Pennsylvania does not allow recovery for emotional distress unaccompanied by a

contemporaneous physical impact. See also Doe v. Philadelphia Cmty. Health Alternatives AIDS

Task Force, 745 A.2d 25, 29 (Pa. Super. 2000), aff’d, 767 A.2d 548 (Pa. 2001) (holding that

“vaccines, which were not the cause of any lasting physical or emotional effects” did not constitute

a “physical impact” allowing recovery for subsequent emotional distress based on fear of HIV).

       Absent one of these narrow exceptions, Pennsylvania law does not permit recovery for

emotional distress from learning information. Because Plaintiffs did not suffer a contemporaneous

physical impact accompanying any emotional distress and did not feel fear because they were

within a “zone of danger,” their claims for emotional distress fail as a matter of law.

II.    Plaintiffs Cannot Demonstrate that Pennsylvania Imposes a Duty on ECFMG.

       Plaintiffs’ duty arguments are another moving target: they never squarely identify the

precise legal duty that they ask this Court to impose on ECFMG. See Resp. at 16 (“duty of care”);

Resp. at 16 (“owes a duty to a Plaintiff”); Resp. at 18 (“failure to exercise due care”); Resp. at 25

(“This factor clearly favors imposition of a duty to [sic] ECFMG.”). To the extent they describe

it, they do so inconsistently. See Resp. at 18 (“duty to provide appropriate credentialing of medical

providers”); Resp. at 28 (“a duty to investigate and ultimately revoke the certification”); Resp. at

29 (“a duty to require ECFMG to revoke certifications found to have been obtained through

fraud”). Without plainly and unambiguously articulating the duty they seek to impose on ECFMG,

Plaintiffs necessarily failed to show that Pennsylvania recognizes a duty that would allow their

claims for emotional distress to proceed. In any event, neither Section 324-A of the Restatement


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nor the Althaus factors would support a legally cognizable duty on the part of ECFMG to Plaintiffs.

       A.      Plaintiffs misread Restatement (Second) of Torts Section 324A.

       Section 324A of the Restatement (Second) of Torts imposes a duty to exercise reasonable

care on a party “who undertakes, gratuitously or for consideration, to render services to another

which he should recognize as necessary for the protection of a third person.” Restatement (Second)

of Torts § 324A. The duty under Section 324A does not extend beyond the specific services

rendered: “The foundation of the good samaritan rule [Sections 323 and 324A] is that the defendant

specifically has undertaken to perform the task that he or she is charged with having performed

negligently.” Patentas v. United States, 687 F.2d 707, 716 (3d Cir. 1982). “In other words, the

scope of a good samaritan’s duty is measured by the scope of his or her undertaking.” Id.

       In Evans v. Liberty Mutual Insurance Co., 398 F.2d 665, 666-67 (3d Cir. 1968), applying

Section 324A under Pennsylvania law, a plaintiff sought to hold a defendant liable for a negligent

inspection. Id. The defendant inspected some machines but not the particular machine at issue.

Id. The decision held that “absent a showing either that the defendant had undertaken to inspect

the specific instrument causing the injury or to inspect the entire plant of which that instrument

was a part, the employee could not recover.” Patentas, 687 F.2d at 716 (describing Evans).

       Plaintiffs err by seeking to impose responsibilities on ECFMG under Section 324A beyond

the specific tasks that ECFMG undertook to perform. For purposes of summary judgment,

Plaintiffs’ description of the narrow and limited services ECFMG provided to third parties can be

accepted as correct: “ECFMG undertook to provide primary source verification, along with testing

of basic competence, for the benefit of residency programs, hospitals, and medical boards, who

relied upon ECFMG’s services in granting IMGs licensure and privileges.” Resp. at 17. Thus, the

only “undertakings” by ECFMG that could give rise to a duty under Section 324A are (1) primary

source verification and (2) testing of basic competence. Plaintiffs do not argue—much less submit


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evidence—that ECFMG failed to act with reasonable care in performing these tasks.

        Instead, Plaintiffs erroneously seek to expand ECFMG’s duty under Section 324A beyond

these specific tasks and into a general duty of “appropriate credentialing.” Resp. at 18. But Section

324A duty concerns only the specific tasks ECFMG allegedly did “for the benefit of third

parties”—it cannot be used, as Plaintiffs attempt, to impose a duty to do more, requiring

background checks, immigration status review, employment vetting, and other actions as a part of

“credentialing” generally.1 Thus, Section 324A offers no support for Plaintiffs’ duty theory.

        B.      This Court cannot create a new duty under Pennsylvania law.

        Because Section 324A does not apply, any duty Plaintiffs seek to impose on ECFMG could

arise only under Pennsylvania common law, based on the Althaus factors. Plaintiffs do not deny

that no case has ever held that ECFMG owes a duty to patients of international medical graduates

(“IMGs”). Plaintiffs thus ask this Court to create a new duty under state law.

        The Third Circuit forbids this Court from creating novel theories of recovery: “Unlike our

role in interpreting federal law, we may not ‘act as a judicial pioneer’ in a diversity case.” Sheridan

v. NGK Metals Corp., 609 F.3d 239, 254 (3d Cir. 2010) (quotation omitted). If there is any

uncertainty about state law, this Court must “opt for the interpretation that restricts liability, rather

than expands it, until the [Pennsylvania Supreme Court] decides differently.” Travelers Indem.

Co. v. Dammann & Co., 594 F.3d 238, 253 (3d Cir. 2010) (citation omitted).

        And Pennsylvania does not “enter into the creation of new common law duties lightly.”

Feleccia v. Lackawanna Coll., 215 A. 3d 3, 13 (Pa. 2019). Pennsylvania courts will create new




1
  To the extent that Plaintiffs rely on ECFMG’s investigation of credentialed IMGs as an
“undertaking,” they have no evidence that ECMFG’s investigation (a) increased a risk of harm (it
did not); (b) was in performance of a duty owed by third parties to Patients; or (c) was relied on
by third parties or Plaintiffs. Restatement (Second) of Torts § 324A. To the contrary, the evidence
shows that third parties relied on ECFMG only for (1) primary source verification; and (2) testing
of basic competence. See ECFMG SUMF at ¶¶ 3, 7; Pls. Resp. SUMG at ¶¶ 3, 7.
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duties only when “the justifications for and consequences of judicial policymaking are reasonably

clear with the balance of factors favorably predominating.” Seebold v. Prison Health Servs, Inc.,

618 Pa. 632, 653-54 (2012). Here, the Althaus factors weigh against creation of a duty.

               1.     Relationship between the parties.

       Plaintiffs do not deny that they had no relationship with ECFMG. Mot. at 18. In Walters

v. UPMC Presbyterian Shadyside, 187 A.3d 214 (Pa. 2018), on which Plaintiffs rely heavily (at

23-29), the defendants “were in respective master-servant relationships with [the doctor] when the

putative duty to report arose.” 187 A.3d at 234. No such relationship exists here—Dr. Akoda was

not an employee or agent of ECFMG—and this factor weighs strongly against duty.

               2.     Social Utility of the Actor’s Conduct.

       Plaintiffs err (at 25) by focusing on the social utility of Dr. Akoda’s conduct, rather than

ECFMG’s conduct. Walters recognized the value of “limiting . . . health care providers’ liability

exposure and managing health care costs,” Walters, 187 A.3d at 235, both of which would be

threatened by accepting Plaintiffs’ boundless theory that ECFMG owes a duty to every patient of

every IMG in the country. And Pennsylvania recognizes a significant interest in providing due

process rights to accused individuals where a decision by private organization could “depriv[e] a

member or prospective member of substantial economic or professional advantage.” Tulp v. Educ.

Comm’n for Foreign Med. Graduates, 824 F. App’x 134, 137 (3d Cir. 2020) (quotation omitted).

Imposing the duty sought by Plaintiffs would create incentives to avoid liability by revoking

certifications when any suspicion arises, undermining the interest that Pennsylvania recognizes in

protecting individuals (like IMGs) from wrongly suffering economic or professional injuries.

               3.     Nature of the Risk and Foreseeability of the Harm.

       Dr. Akoda was accepted into and completed a residency program, was licensed to practice

medicine by multiple states, and received board certification. Plaintiffs present no evidence that


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he was incompetent as a physician, and Plaintiffs are not asserting any claims based on negligent

treatment. Plaintiffs have identified no evidence of any risk that they would have been treated by

an incompetent physician. Nor do Plaintiffs present any evidence that Dr. Akoda’s deception—

not merely of ECFMG but also residency programs, employers, hospitals, licensing boards,

specialty boards, and private practitioners (and other professionals he interacted with on a daily

basis)—was foreseeable or that it was foreseeable that none of these entities would take action to

bar him from treating Plaintiffs.      The absence of any risk and the tenuous nature and

unforeseeability of the alleged harm weigh against imposing a duty on ECFMG.

               4.      Consequences of imposing a duty upon the actor.

       Plaintiffs’ settlement demands belie their assertion that a duty will not impose “great cost”

on ECFMG. Resp. at 28. And it is false. A quarter of U.S. doctors are ECFMG Certified. Mot.

at 22. Imposing any duty on ECFMG to any patient treated by any IMG would be extraordinary.

       Far from supporting Plaintiffs, Walters v. UPMC Presbyterian Shadyside confirms that

Pennsylvania would not recognize a duty. In Walters, the Pennsylvania Supreme Court considered

imposing a duty on two different entities: a hospital (UPMC Presbyterian) and a staffing agency

(Maxim). 187 A.3d at 219. Although the decision held that the hospital owed a duty, the staffing

agency did not. Id. at 242–43. The duty Plaintiffs seek to impose on ECFMG resembles the duty

rejected against the staffing company far more closely than the duty imposed on the hospital. The

hospital had preexisting reporting duties under federal law, which “illuminate[d] a way to

meaningfully circumscribe its duty.” 187 A.3d at 239. But for the staffing agency, the duty could

not be squarely defined, and thus “the quantum, breadth, and durability of liability [it] would face

for the violation of such a duty somewhat outweighs the foreseeable risk of harm.” Id.

       The ill-defined, indeterminate nature of the duty that Plaintiffs seek to impose on ECFMG

also makes it like the one that the Pennsylvania Supreme Court refused to impose on the staffing


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agency in Walters. Indeed, if a duty were to be imposed here, then any investigation by ECFMG

of any IMG could always be subject to second-guessing by plaintiffs’ lawyers (and their paid

experts). This is precisely what Walters rejected as “too amorphous” with “potential consequences

. . . too difficult to anticipate.” 187 A.3d at 242. The generalized, ill-defined duty to investigate

that Plaintiffs seek to impose on ECFMG is foreclosed by Walters.

               5.      The overall public interest in the proposed solution.

       In discussing the public interest, Plaintiffs again recast their proposed duty, suggesting that

they seek only “a duty to require ECFMG to revoke certifications found to have been obtained

through fraud.” Resp. at 29. If this Court accepts this framing of the duty, it should grant ECFMG

summary judgment on breach. Plaintiffs concede that ECFMG did not “find” that the certificate

was obtained through fraud—their theory of liability is based on ECMFG’s failure to uncover Dr.

Akoda’s fraud earlier. See Resp. at 6 (“Kelly did not think there was enough information[.]”).

       In truth, Plaintiffs seek to impose a duty on ECFMG to “further investigate” potential fraud

committed by IMGs, Resp. at 21, with the threat of potential civil liability to innumerable patients

treated by the IMG in the event that an investigation (in hindsight) is found to be inadequate.

       Plaintiffs cannot seriously argue—and they do not—that imposing this duty is in the public

interest. Imposing such liability on ECFMG would require a far more heightened screening

process, restricting the ability of IMGs to practice medicine and harming the public’s interest in

“efficient, affordable care.” Walters, 187 A.3d at 239. And given the role of state governments

in physician licensing, to the extent any State believes that greater scrutiny of IMG’s backgrounds

is warranted, the State is free to mandate or perform such an investigation itself. But such a

decision should come from the political branches of a State, not from this Court.

       None of the Althaus factors supports the creation of a new common-law duty on ECFMG,

and Walters squarely forecloses such a duty. At a minimum, the factors do not so strongly favor


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creation of duty as to eliminate all uncertainty under state law. Sitting in diversity, this Court

cannot be a “judicial pioneer” and must refuse Plaintiffs’ invitation to create a novel duty.

III.   Plaintiffs Have Failed to Identify Legally Sufficient Evidence of Proximate Causation.

       Plaintiffs do not deny that ECFMG’s actions and any emotional injury that Plaintiffs

suffered are separated by physical distance, by years of time, and by the actions of numerous

intervening third parties. The chain of events that separates their treatment from ECFMG’s actions

includes “residency, state licensure and obtain[ing] privileges.” Resp. at 32. And the chain

between their treatment and their eventual alleged emotional suffering is even further attenuated.

       Much of Plaintiff’s proximate causation argument truly concerns but-for causation, but

even if Plaintiffs can show but-for causation, these claims—which are extraordinarily remote from

the defendant’s actions—are precisely what proximate causation prevents. “At some point along

the causal chain, the passage of time and the span of distance mandate a cut-off point for liability.”

Mazzagatti v. Everingham by Everingham, 516 A.2d 672, 676 (Pa. 1986). If time and distance

ever cut off liability, then they surely do so here, where the alleged acts and harms separated by

many years (perhaps decades), many miles, and many third parties (including at least two state

actors). No Pennsylvania case has expanded proximate causation to this extreme.

IV.    Plaintiffs Have Failed to Identify Legally Sufficient Evidence of But-For Causation.

       In its motion, ECFMG raised two discrete arguments regarding but-for causation. The

first, that any Plaintiff’s emotional distress arises from a mistaken understanding of the facts rather

than the true state of affairs, goes unanswered by Plaintiffs. As ECFMG explained—and Plaintiffs

do not deny—their deposition testimony shows that their purported emotional distress is based on

a gross misunderstanding of the facts, including false beliefs about whether the individual who

treated them was licensed to practice medicine, whether ECFMG is a government agency or

private entity, whether ECFMG conducts background checks, and whether ECFMG licenses


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individuals to practice medicine. Mot. at 33. Pennsylvania law does not allow a plaintiff to recover

for emotional distress based on a plaintiff’s “mistaken belief.” Shumosky v. Lutheran Welfare

Servs. of Ne. PA, Inc., 784 A.2d 196, 202 (Pa. Super. Ct. 2001) (denying recovery for “symptoms

[that] were caused by a mistaken belief that the plaintiffs were exposed to the virus.”). There is,

on the record, no evidence that any Plaintiff suffered emotional distress that resulted from a correct

understanding of the facts. For this reason alone, summary judgment is necessary.

        In responding to the second argument—the absence of evidence that further investigation

by ECFMG would have prevented Dr. Akoda from treating Plaintiffs—Plaintiffs’ response is a

non sequitur and without any evidentiary support. Here are the only two relevant sentences:

        It is further undisputed that when ECFMG last investigated Igeberase [sic], they
        concluded that he had engaged in fraud, and revoked his ECFMG certification.
        ECFMG Ex. 24. Thus, it cannot seriously be disputed that had ECFMG conducted
        a reasonable investigation, the ECFMG certification in the name of “Akoda” would
        have been revoked.

Resp. at 34. Exhibit 24 simply shows Dr. Akoda’s certification. Exhibit 52 shows that it was

revoked on November 30, 2016, based on “an October 2016 plea agreement with the United

States.” Mot., Ex. 52 at 4. It does not follow, as Plaintiffs assert, that the result of the 2016 inquiry,

which came after a guilty plea, necessarily means that any “reasonable investigation” at some early

point in time (including before the guilty plea) would have led to the same conclusion.

        Plaintiffs make no other attempt to satisfy their burden of but-for causation. None. They

identify no evidence about what would have occurred if ECFMG had made referrals to the MECC

and no evidence about what would have occurred if ECFMG had conducted an additional

investigation or made additional disclosures. Mot. at 33–34. Plaintiffs’ logical fallacy is no

substitute for evidence. Plaintiffs “fai[l] to make a showing sufficient to establish the existence

of an element essential to [their] case.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).




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V.     Plaintiffs’ Consent Bars Their Claims.

       Plaintiffs do not deny that they consented to the treatment they received. Nor do Plaintiffs

deny that if their consent was effective, it bars their claims. The only issue is whether any

misrepresentations by Dr. Akoda vitiated that consent.

       They did not. Plaintiffs’ response is wordplay, arguing only that no medical license was

issued under the name “Igberase.” Resp. at 35–36. This is gamesmanship. Plaintiffs concede that

“Akoda and Igberase are the same person.” Resp. at 4. The individual who provided medical

treatment to Plaintiffs (1) had a medical license, (2) was Board certified; and (3) practiced medicine

at a hospital. Igberase was not charged with battery or unlicensed practice of medicine. This is

not a case where an individual who had not completed a residency or was not licensed to practice

medicine impersonated a doctor—it is a case where Plaintiffs allege that a doctor should not have

been licensed. The individual who treated Plaintiffs undeniably held a medical license, albeit in

another name. No court has permitted a plaintiff to look beyond a medical license and assert a

claim that a doctor should not have been licensed. See Mot. at 35-36 (citing cases).

       Plaintiffs’ theory—that consent turns on a doctor’s name—leads to absurd consequences.

Consider a married physician whose credentialing documents were in her maiden name but who

uses her married name professionally. If Plaintiffs are correct, this physician commits battery on

every patient she treats because her credentialing documents are in a different name. Nonsense.

       The undeniable fact that the individual who treated Plaintiffs completed a residency

program, was licensed by multiple states to practice medicine, was board certified, and had hospital

privileges is fatal to their claims. Any misrepresentations about this individual’s identity did not

vitiate consent. See Mot. at 35–36 (citing cases).

VI.    Plaintiffs Fail to Identify Evidence of Compensable Emotional Distress.

       Plaintiffs cite no evidence showing the physical manifestations required to support a claim


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of emotional distress. Paragraphs 99 to 101 of Plaintiffs’ Statement of Additional Material Facts

(about Russell) and 106 (about Riggins) do not identify any physical manifestations of their alleged

emotional distress. The declarations (Resp., Exs. 34, 35) supporting Paragraphs 110 (about

Powell) and 113 (about Evans) conflict with evidence produced in discovery and should be struck.2

       Dr. Tellefsen did not identify physical manifestations for Riggins (id. at 3) or Powell (id.

at 3-4). For Evans, Dr. Tellefsen identified physical manifestations linked to her medical treatment

or other causes (postpartum hormones), not from learning Dr. Akoda’s identity. Id. at 4-5.

       Plaintiffs’ purported physical manifestations include things like “shock” and feelings of

violation or breach of trust. See Pls.’ SAMF at ¶¶ 99, 100, 110 & 113. And they include statements

about intimate relationships. Id. at ¶¶ 101, 113. Plaintiffs cite no support for the theory that

“distress and horror,” “shock,” feelings of violation or breach of trust or damage to intimate

relationships constitute physical manifestations sufficient to support a claim for emotional distress.

       To the contrary, Armstrong v. Paoli Memorial Hospital explained that “[t]emporary fright,

nervous shock, nausea, grief, rage, and humiliation if transitory are not compensable harm.” 633

A.2d 605, 609 (Pa. Super. Ct. 1993). Only “long, continued nausea or headaches, repeated

hysterical attacks or mental aberration”—for which Plaintiffs have no evidence—“are

compensable injuries.” Id. Love v. Cramer, 606 A.2d 1175, 1176 (Pa. Super. Ct. 1992), also does



2
  The “sham declaration” rule forbids using affidavits that conflict with previous discovery to
create an issue of fact at the summary judgment stage. SodexoMAGIC, LLC v. Drexel Univ., 19-
1028, 2022 WL 176427, at *11 (3d Cir. Jan. 20, 2022). In these declarations, for the first time,
Powell states that she experienced a variety of new symptoms—recurrent “nausea,” “stomach
discomfort,” “confusion,” “crying,” “nervous sweating,” and “panic attacks” “[a]s a result of this
realization” about Dr. Akoda (ECF 93-37 at ¶ 6)—none of which was disclosed in discovery.
Evans now declares that she experienced “nausea” as a result of learning this information about
Dr. Akoda (ECF 93-38 at ¶ 5), conflicting with prior evidence that her nausea was caused by
medication. These symptoms were not disclosed in discovery at all (for Ms. Powell) or as being
the result of learning about Dr. Akoda (for Ms. Evans), even though directly called for in
discovery: in response to Interrogatory No. 2 (ECF 86-8; 86-9), at deposition (ECF 86-25 at 2–3
& ECF 86-17 at 165), and in their independent medical examinations (ECF 86-22; 86-27).
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not help Plaintiffs. Love was permitted to pursue a claim for negligent infliction of emotional

distress only because she became “severely depressed, suffered nightmares, stress and intense

anxiety, and was forced to undergo prolonged psychological treatment.” Id.; see also id. at 1179

(injuries “of a continuing nature” that “have required her to obtain psychological treatment”).

None of Plaintiffs’ alleged symptoms remotely approach those in Love. And none of the Plaintiffs

have sought psychological treatment from having learned of Dr. Akoda’s identity.3

        Having disclaimed any recovery based on their “experiences” generally and opting for a

narrow emotional-distress-from-learning-information claim, Dr. Tellefsen’s diagnosis is

irrelevant. Plaintiffs have no evidence that they have suffered compensable emotional distress

from learning about Dr. Akoda’s identity.

VII.    Evans’ and Powell’s Claims Are Barred by the Statute of Limitations.

        In response to ECFMG’s arguments regarding the statute of limitations, Plaintiffs ignore

the controlling Pennsylvania Supreme Court authority, which makes clear that that limitations

period commences with “actual or constructive knowledge of at least some form of significant

harm and of a factual cause linked to another’s conduct, without the necessity of notice of the full

extent of the injury, the fact of actual negligence, or precise cause.” Rice v. Diocese of Altoona-

Johnstown, 255 A.3d 237, 247 (Pa. 2021). The Pennsylvania Supreme Court has expressly

rejected Plaintiffs’ “legal injury” accrual theory. See Nicolaou v. Martin, 195 A.3d 880, 893 n.14

(Pa. 2018) (a plaintiff need not have “knowledge of the cause of action associated with the harm”).

        Plaintiffs cannot deny that Evans and Powell had knowledge, at the time of their treatment,

of “at least some form of significant harm” with a “factual caused linked to” Dr. Akoda’s conduct.

It is irrelevant that they did not know of the full extent of their injuries or their precise cause.


3
  Plaintiffs vaguely imply Dr. Tellefsen diagnosed Powell and Evans with the need for future
treatment. Resp. at 38. But critically, Dr. Tellefsen did not diagnose Powell and Evans with a
need for treatment as a result of any emotional distress from learning Dr. Akoda’s identity.
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       The Supreme Court of Wisconsin, in a factually analogous case, rejected an attempt to

evade limitations by recharacterizing a claim from wrongful medical treatment to emotional

distress based on learning that treatment was wrongful. See Doe 56 v. Mayo Clinic Health Sys.--

Eau Claire Clinic, Inc., 880 N.W.2d 681, 688 (Wis. 2016) (“[T]he physical injurious change

occurs at the time of the touching. These boys suffered an injury when Dr. Van de Loo physically

touched their genitals in an allegedly inappropriate way.”). It was irrelevant that the Doe plaintiffs,

like Evans, may not have recognized the conduct as wrongful: “The fact the Does may not have

known at the time that the touching was allegedly inappropriate or that the manipulation of their

genitals constituted the physical injurious change does not change this fact.” Id. at 689. The

alternative “would result in a limitless extension of the medical malpractice statute of limitations

and change the causation connection in medical malpractice cases from the negligent act to a

fortuitous event—here the media reporting about the criminal charges.” Id. And a plaintiff cannot

evade this rule by reframing their claim as seeking emotional distress for learning information:

“Adopting the Does’ argument in this case would eviscerate the three-year statute of limitations .

. . simply by alleging his emotional distress began even decades after the allegedly unnecessary

and improper treatment occurred.” Id. at 372 n.14. The reasoning of the Supreme Court of

Wisconsin is sound. Because Powell and Evans allege improper actions by Dr. Akoda during their

medical treatment, their claims accrued at that time and are barred by limitations.

                                           CONCLUSION

       ECFMG respectfully renews its request that its motion for summary judgment be granted.




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Dated: January 28, 2022

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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



 Dated: January 28, 2022

                                                   /s/ Brian W. Shaffer
                                                   Brian W. Shaffer, Bar No. 78851




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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                                       Civil Action No. 18-5629
                   Plaintiffs,
                                                       Honorable Joshua D. Wolson
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                   Defendant.


  DEFENDANT’S RESPONSE TO PLAINTIFFS’ STATEMENT OF ADDITIONAL
 MATERIAL FACTS AND REPLY TO PLAINTIFFS’ RESPONSE TO DEFENDANT’S
                 STATEMENT OF MATERIAL FACTS

       Defendant Educational Commission for Foreign Medical Graduates (“ECFMG”) hereby

responds to Plaintiffs’ Statement of Additional Material Facts and below replies to Plaintiffs’

Response to Defendant’s Statement of Material Facts (ECF 93-1).

                       ECFMG’S RESPONSE TO PLAINTIFFS’
                   STATEMENT OF ADDITIONAL MATERIAL FACTS

       The length of this submission should not give the misimpression of any genuine disputes

of material facts. Many of the “facts” Plaintiffs submitted as “Additional” are duplicative of one

another, are duplicative of facts ECFMG submitted, or are not material (or some combination

thereof). ECFMG provides the below chart to help with clarity, because many of Plaintiffs’

submitted “facts” are riddled with imprecision (e.g., ambiguous use of pronouns) and/or errors

(e.g., erroneous citations to the record). And for the Court’s convenience, all of the Parties’ “facts”

submitted regarding summary judgment are listed below. Nothing in Plaintiffs’ Statement of

Additional Material Facts (or Plaintiffs’ Response to ECFMG’s Statement of Material Facts)

creates a genuine issue of material fact or changes that summary judgment should be granted.


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           Plaintiffs’ Statement of Additional Material Facts                                  ECFMG’s Response
1   William C. Kelly worked for ECFMG for almost 38 years. He retired         Admitted. As a point of clarity, Kelly became
    in May 2015. Ex. 3, Kelly depo. at 7, 9. He became manager of the         manager of the credentials department and the vice-
    credentials department and the vice-president for operations that         president for operations during the time he worked
    included credentials. Ex. 3, Kelly depo at 187-188.                       for ECFMG, not after he retired.
2   The ECFMG Certificate is required to obtain a medical license. Ex. 3,     Denied. ECFMG Certification is for international
    Kelly depo. at 19.                                                        medical graduates (“IMGs”), not graduates of U.S.
                                                                              or Canadian medical schools. ECFMG Ex. 2 at
                                                                              245:2–13. Medical licensing authorities can elect
                                                                              their own criteria for licensure, which may include
                                                                              ECFMG Certification for IMGs. Further, Plaintiffs’
                                                                              citation does not support the proposition asserted.
3   The first step needed to obtain a certificate from ECFMG is an            Admitted.
    application. Ex. 3, Kelly depo. at 13.
4   An identification number is assigned to the application. If the applicant Admitted.
    becomes certified, the certificate number would be the same as the
    identification number. Id. at 15.
5   An IMG needs an ECFMG certificate to obtain a medical license. Ex.        Admitted this is generally true for IMGs seeking
    3, Kelly depo. at 19.                                                     medical licensure in the United States, but it misses
                                                                              certain nuances. For example, it is up to the medical
                                                                              licensing authorities within the United States to
                                                                              decide whether an ECFMG Certificate is required
                                                                              for medical licensure (always or for a specific
                                                                              applicant) or to offer alternative pathways for IMGs
                                                                              to obtain licensure. See Kelly Dep. at 19–20,
                                                                              attached as ECFMG Reply Exhibit 1. By way of
                                                                              further example, an IMG could also attend a U.S.
                                                                              medical school despite having previously graduated
                                                                              from a foreign medical school. Additionally,
                                                                              Plaintiffs’ citation does not support the proposition
                                                                              asserted.



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            Plaintiffs’ Statement of Additional Material Facts                                    ECFMG’s Response
6    ECFMG works on behalf of domestic regulatory authorities to protect         Admitted that Kelly testified to what is in Plaintiffs’
     the public through programs and services including primary source           Paragraph 6. As further clarification, ECFMG does
     verification of physician credentials. Ex. 3, Kelly depo. at 22.            not work “on behalf” of “domestic regulatory
                                                                                 authorities;” instead, ECFMG provides a service that
                                                                                 medical licensing authorities may choose to utilize
                                                                                 for the primary source verification of an IMG’s
                                                                                 medical school diploma and confirmation of passage
                                                                                 of certain examinations.
7    ECFMG received an Application from Igberase on April 6,1992. Ex 4.          Admitted.
8    He included a date of birth of April 17, 1962, and a social security        Admitted.
     number ending in 5054. Ex. 3, Kelly depo at 29. Ex. 4.
9    Igberase submitted a diploma from the University of Ibadan June 19,         Admitted.
     1987. ECFMG Ex. 10; Ex. 3, Kelly depo. at 31.
10   In order to have the diploma verified, ECFMG would send it to the           Admitted.
     medical
     school to verify it. Ex. 3, Kelly depo. at 35.
11   ECFMG received an Application from Igberase Oluwafemi Charles on            Admitted.
     March 30, 1994. Ex. 5. It did not include a social security number but
     included a birthdate of April 17, 1961. Id.; Ex. 3, Kelly depo. at 35-36.
12   A new I.D. number was assigned because they concluded he                    Admitted only that ECFMG issued Charles a new
     (“Charles”) had never applied before. Ex. 3, Kelly depo at 57-58.           identification number. ECFMG does not admit that
                                                                                 it “concluded” that Charles “had never applied
                                                                                 before.” Plaintiffs’ citation does not support the
                                                                                 proposition asserted.
13   On June 22, 1995, Kelly wrote to Igberase to advise him that ECFMG          Admitted that Kelly wrote to Igberase to advise him
     was conducting an investigation about his multiple applications.            that ECFMG was investigating whether he had
     ECFMG Ex. 13.                                                               applied before. ECFMG Ex. 13.
14   ECFMG received a 5-page handwritten response from Charles in                Admitted.
     which he admitted that he and Igberase were one and the same person.
     He admitted to lying. ECFMG Ex. 14; Ex. 3, Kelly depo. at 42-43.




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             Plaintiffs’ Statement of Additional Material Facts                                  ECFMG’s Response
15   The credentials committee met on 11/27/1995 and decided to                  Admitted.
     invalidate the “Charles” certificate and to revoke the Igberase
     certificate. Ex. 6; Ex. 3, Kelly depo. at 45-46.
16   On December 7, 1995, Kelly wrote a letter to the USMLE advising of          Admitted.
     events re “Charles” and Igberase. Ex. 21.
17   Where there was a discrepancy between the name on the diploma and           Admitted that Kelly testified about a later ECFMG
     the name on the Application, the applicant would have been required         policy concerning name discrepancies that was not
     to submit some sort of documentation to connect the names. But this         in place in 1995 and thus is irrelevant to applications
     policy was not in effect at the time. Ex. 3, Kelly depo. at 51.             received in 1995 or earlier. Plaintiffs Ex. 3 at 51–52.
18   “Charles” took an appeal from the decision to invalidate his certificate.   Admitted.
     The review committee held a hearing and affirmed but limited
     Igberase’s length of revocation to 5 years (i.e., 7/16/2001). Ex. 7; Ex.
     3, Kelly depo at 53-55.
19   ECFMG received an Application from Femi Charles Igberase on                 Admitted.
     October 23,
     2000. Ex. 22. It included a birthdate of April 17, 1962, the same date
     on the first Igberase application. Ex. 3, Kelly depo. at 56-57.
20   In less than a month, ECFMG concluded he was the same Igberase              Admitted.
     who had been told his certification was revoked. Ex. 3, Kelly depo at
     57-58.
21   On November 16, 2000 Kelly wrote to Igberase for an explanation and         Admitted.
     advising him the matter would go the credentials committee. Ex. 23.
22   On May 3, 2001 Kelly wrote to “Charles” notifying him that the              Admitted.
     credentials committee extended the revocation of his certificate for an
     unspecified period. Ex. 8.
23   ECFMG received a letter from Igberase on July 2, 2001. Ex. 9.               Admitted.
     Igberase explained that his childhood friend had made a mistake on the
     application. Igberase referred to his cousin “Akoda.”
24   On May 22, 2002 Kelly wrote to Igberase advising him his certificate        Admitted.
     was permanently revoked. It’s one year later because they waited for
     review by USMLE. Ex. 10; Ex. 3, Kelly depo. at 64.



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             Plaintiffs’ Statement of Additional Material Facts                                 ECFMG’s Response
25   On March 19, 2002 ECFMG received an Application by “Charles”              Admitted except as to the birthdate. The birthdate
     Ugberaese Oluwafemi” [sic] with a birth date of March 1, 1963 and no      provided on the application is March 1, 1967.
     social security information Ex. 24.                                       Plaintiffs Ex. 24.
26   Charles Ugberaese Oluwafemi submitted a diploma from the                  Admitted.
     University of Ibadan dated June 18, 1996. Ex. 11. Kelly doesn’t know
     if it was ever verified by the University of
     Ibadan. Ex. 3, Kelly depo. at 67-68.
27   On November 12, 2002 Kelly wrote to Igberase Oluwafemi Charles            Admitted.
     advising him that the Credentials Committee found him to have
     engaged in irregular behavior. Ex. 25.
28   He believes the names are just re-arranged. Ex. 3, Kelly depo. at 73.     Assuming, “he” refers to Kelly, ECFMG admits
                                                                               Kelly testified that “the sequences of names is
                                                                               different” on the application submitted by Igberase
                                                                               Oluwafemi Charles and the accompanying diploma.
                                                                               Plaintiffs Ex. 3 at 73; ECFMG Reply Ex. 1 at 72–73.
29   He is not aware that the diploma submitted by Charles and verified by     Assuming “he” refers to Kelly, ECFMG admits that
     the University is the same diploma submitted by Igberase. Ex. 3, Kelly    Kelly testified that he was unaware whether the
     depo. at 73.                                                              diploma submitted by Igberase Oluwafemi Charles
                                                                               was identical to the diploma submitted by Charles
                                                                               Oluwafemi Igberase. Plaintiffs Ex. 3 at 73.
30   ECFMG thought “Charles” and Igberase were two different persons.          Admitted.
     Ex. 3, Kelly depo. at 75, 77.
31   ECFMG realized within a short period of time that the person using the    Admitted that Kelly agreed at his deposition with the
     name Oluwafem [sic] was really the person certified as Igberase. Ex. 3,   content of Plaintiffs’ Paragraph 31.
     Kelly depo. at 79.
32   ECFMG received an Application from John Nosa Akoda on January 3,          Denied. ECFMG first received an application from
     2003. ECFMG Ex. 19.                                                       John Nosa Akoda in 1996. ECFMG Ex. 19; ECFMG
                                                                               Reply Ex. 1 at 87–88. Plaintiffs’ citation is to the
                                                                               1996 application. ECFMG Ex. 19.
33   There was no social security number included. Ex. 3, Kelly depo. at       Admitted.
     88. A photograph is required with the application. Id. at 89.



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            Plaintiffs’ Statement of Additional Material Facts                               ECFMG’s Response
34   ECFMG received a second Application from Akoda on August 30,            Admitted.
     1996. Ex. 26. He said he had previously applied. Kelly doesn’t know
     why there is a second application. Ex. 3, Kelly depo. at 93.
35   Akoda submitted a diploma from the University of Benin for Johnbull     Admitted.
     Enosakhare Akoda dated February 6, 1988. Ex. 27. The name is
     different than on the application.
36   He does not know if the diploma was verified by the University of       Assuming “he” refers to Kelly, it is admitted Kelly
     Benin. Ex. 3, Kelly depo. at 95.                                        testified he did not know whether ECFMG verified
                                                                             Akoda’s diploma. Plaintiffs Ex. 3 at 95. ECFMG
                                                                             verified Akoda’s University of Benin diploma.
                                                                             ECFMG Ex. 23.
37   In a letter dated August 22, 2000, Kelly says that Akoda provided a     Admitted.
     social security number ending in 9065. Ex. 28.
38   ECFMG received a completed Permanent Revalidation Form on               Admitted, assuming “he” refers to Akoda.
     September 22, 1998. ECFMG Ex. 27. It shows that he had started a
     residency program at JSMC. Ex. 3, Kelly depo. at 107.
39   ECFMG serves as the dean station for ERAS for IMGs. Ex. 3, Kelly        ECFMG admits that Kelly testified to this
     depo. at 108.                                                           proposition, assuming that “ERAS” refers to the
                                                                             “electronic residency application service” of the
                                                                             Association of American Medical Colleges.
                                                                             Plaintiffs Ex. 3 at 108.
40   On August 11, 2000, ECFMG received a letter from James McCorkel         Admitted.
     (Jersey Shore Medical Center) saying Akoda, a resident, may have
     served at two other residency programs and has used Igberase’s social
     security number. ECFMG Ex. 28; Ex. 3, Kelly depo. at 111.
41   The social security number Igberase gave JSMC is the same one he        Admitted.
     gave to ECFMG. Ex. 3, Kelly depo. at 112.
42   Stephen S. Seeling replied to McCorkel’s letter on August 22, 2000.     Admitted.
     Ex. 28. Kelly ghost wrote it for Seeling. Ex. 3, Kelly depo. at 112.
43   There is no diploma with the legal name “Charles.” Ex. 3, Kelly depo.   Admitted only that, with regard to Akoda and his
     at 113-114.                                                             aliases, ECFMG did not receive a diploma where
                                                                             “Charles” was the last name. ECFMG denies the


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            Plaintiffs’ Statement of Additional Material Facts                                 ECFMG’s Response
                                                                                remainder of Plaintiffs’ Paragraph 43 as ECFMG
                                                                                receives many thousands of diplomas unrelated to
                                                                                this matter.
44   Kelly wrote to Akoda on August 22, 2000 telling him they have recent       Admitted.
     information that he may have previously applied and that the matter
     will be referred to the Credentials Committee. He asked Akoda to
     provide an explanation. Ex. 29.
45   Kelly received a call from McCorkel on August 20, 2000, telling him        Admitted.
     Akoda took a leave of absence and he was waiting to hear from
     Harlem Hospital. Ex. 30.
46   Igberase under the Akoda identity wrote a letter in response to the        Admitted.
     Kelly’s letter dated August 29, 2000. ECFMG Ex. 32. He denied
     taking exams under other names. He stated that “Charles” is his
     cousin. He admitted using Charles’ social security number.
47   On September 13, 2000, McCorkel called Kelly saying Akoda has              Admitted.
     been suspended. McCorkel’s discussions with Harlem Hospital were
     “not definitive.” Ex. 12.
48   Kelly made handwritten notes of his conversation with McCorkel. Ex.        Admitted.
     31.
49   On September 27, 2000 Akoda came to Kelly’s office. ECFMG Ex.              Admitted.
     30. He again admitted using his cousin’s social security number. He
     gave Kelly his passport and his international driving permit. Ex. 13.
50   Kelly doesn’t remember if he made any attempt to verify the                Admitted.
     authenticity of the passport or license. Ex. 3, Kelly depo. at 125, 129.
51   The date of birth on Akoda’s passport (Ex. 13) and on the Request for      Admitted.
     Permanent Revalidation Form (ECFMG Ex. 27) are different. Ex 3,
     Kelly depo. at 126-127.
52   He does not remember searching ECFMG’s data base to try to                 Admitted, assuming “he” refers to Kelly.
     determine whether Akoda and Igberase were one and the same person.
     Ex. 3, Kelly depo. at 129.
53   He doesn’t know if he compared photographs but he had the ability to       Assuming “he” refers to Kelly, admitted that Kelly
     do so. Ex. 3, Kelly depo. at 129-130.                                      testified that he could have compared photographs


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            Plaintiffs’ Statement of Additional Material Facts                                    ECFMG’s Response
                                                                                of Akoda and Igberase but that he did not know if he
                                                                                had. Plaintiffs Ex. 3 at 129–30.
54   He was present at Igberase’s appeal hearing in 1996. Ex. 3, Kelly          Plaintiffs’ citations refer to an appeal hearing on
     depo. at 131, 133.                                                         July 11, 2016. Plaintiffs Ex. 3 at 131, 133.
                                                                                Assuming “he” refers to Kelly, admitted only that
                                                                                Kelly testified he attended an appeal hearing in
                                                                                2016.
55   Kelly made notes of a call with McCorkel on October 5, 2000. Ex. 32.       Admitted.
     It comments on two different green cards presented by Akoda. It states
     that Harlem Hospital thinks he may be the same and that Akoda used
     two social security numbers.
56   Kelly emailed Igberase December 21, 2000 and Akoda replied                 Plaintiffs’ citation shows Akoda replied on
     December 2, 2000. Ex. 33. Kelly was surprised.                             December 21, 2000, not December 2, 2000.
57   On the same day he sent the email to Igberase, Kelly spoke with            Admitted that ECFMG Ex. 31 states both that Kelly
     McCorkel. ECFMG Ex. 31. McCorkel told Kelly that Akoda was                 spoke with McCorkel on December 21, 2000 and
     dismissed from JSMC residency for using a false social security            that McCorkel told Kelly what is asserted in
     number and green cards inconsistent with a later one.                      Plaintiffs’ Paragraph 57.
58   He does not recall ever asking McCorkle [sic] who the informant was.       Admitted, assuming “he” refers to Kelly.
     Ex. 3, Kelly depo. at 147.
59   McCorkel says he believed Igberase and Akoda were one and the same         Admitted that ECFMG Ex. 33 is a memo written by
     person. “I also believe it” Kelly said. “We need to brainstorm on this     Kelly which states what is asserted in Plaintiffs’
     one.” ECFMG Ex. 33.                                                        Paragraph 59.
60   It seemed strange that Akoda would reply to the email to Igberase. Ex.     Assuming Plaintiffs’ Paragraph 60 is about Kelly,
     3, Kelly depo. at 149-150.                                                 admitted that Kelly testified that he found it strange
                                                                                that Akoda replied to an email Kelly had sent to
                                                                                Igberase.
61   He doesn’t recall if they brainstormed this matter further. Ex. 3, Kelly   Admitted, assuming “he” refers to Kelly and “they”
     depo. at 150.                                                              refers to Kelly’s colleagues specified at the citation
                                                                                to Kelly’s deposition transcript. Plaintiffs Ex. 3 at
                                                                                150.
62   He knew there was some connection, a relationship between Igberase         Assuming “he” refers to Kelly, admitted that Kelly
     and Akoda. Ex. 3, Kelly depo. 153.                                         testified that he knew there was a connection


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            Plaintiffs’ Statement of Additional Material Facts                              ECFMG’s Response
                                                                             between Igberase and Akoda. Plaintiffs Ex. 3 at
                                                                             153.
63   He doesn’t recall if he ever learned that Igberase was licensed as a    Admitted, assuming “he” refers to Kelly.
     nurse in NY. Ex. 3, Kelly depo. at 158.
64   ECFMG used the ERAS to submit for Akoda the three letters of            As to the first sentence, ECFMG admits Plaintiffs
     reference... He wrote to the three doctors who provided letters of      Ex. 14 is a form from Akoda requesting ECFMG
     recommendation. Ex. 14.                                                 submit his letters of reference through ERAS.

                                                                           Assuming “he” refers to Kelly, the second sentence
                                                                           is admitted.
64   None of the three doctors responded to Kelly’s letters. ECFMG Ex. 35; Admitted. The correct citation is Plaintiffs Ex. 3 at
     Ex. 3, Kelly depo. at 167-168.                                        196.
65   As part of the ERAS program, ECFMG acts as the dean’s office. Ex. 3, Assuming that “ERAS” refers to the “electronic
     Kelly depo. at 162.                                                   residency application service” of the Association of
                                                                           American Medical Colleges, ECFMG admits that
                                                                           Kelly testified that ECFMG acted as a dean’s office
                                                                           for IMGs for the ERAS program. Plaintiffs Ex. 3 at
                                                                           108, 162.
66   One of the goals of ECFMG is to ensure IMGs are competent             Admitted that Kelly testified to this proposition, but
     physicians. Ex. 3, Kelly depo. at 184-185.                            otherwise denied. As further clarification, ECFMG
                                                                           plays various roles in the medical community,
                                                                           including by issuing ECFMG Certificates (ECFMG
                                                                           Ex. 2 at 40:1–22), which only indicates that an IMG
                                                                           had a medical school diploma primary source
                                                                           verified and passed certain exams (ECFMG Ex. 2 at
                                                                           241:12–22). ECFMG does not hold itself out as
                                                                           “ensur[ing] IMGs are competent physicians.”
                                                                           Moreover, ECFMG’s “goals” are irrelevant and
                                                                           immaterial to the Motion for Summary Judgment.
67   A goal of ECFMG is to protect the American public. Ex. 3, Kelly       Admitted that Kelly testified to this proposition, but
     depo. at 185.                                                         otherwise denied. As further clarification, ECFMG
                                                                           plays various roles in the medical community,


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            Plaintiffs’ Statement of Additional Material Facts                                     ECFMG’s Response
                                                                                 including by issuing ECFMG Certificates (ECFMG
                                                                                 Ex. 2 at 40:1–22), which only indicated that an IMG
                                                                                 had a medical school diploma primary source
                                                                                 verified and passed certain exams (ECFMG Ex. 2 at
                                                                                 241:12–22). ECFMG does not hold itself out as
                                                                                 undertaking the duty of “protect[ing] the American
                                                                                 Public.” Moreover, ECFMG’s “goals” are irrelevant
                                                                                 and immaterial to the Motion for Summary
                                                                                 Judgment.
68   ECFMG acts as the Dean’s office for IMGs by facilitating the                Denied as stated. Plaintiffs’ Paragraph 68 appears to
     components of an application for a residency program and submits            be aimed at the same material covered in Plaintiffs’
     them on behalf of the graduate through the ERAS. Ex. 3, Kelly depo.         Paragraphs 39 and 65, but using ambiguous and
     at 194.                                                                     unclear phrasing that does not precisely describe
                                                                                 ECFMG’s role regarding the ERAS program (e.g.,
                                                                                 “facilitating the components”).
69   It was not a routine procedure to verify letters of recommendation.         Admitted.
     Kelly did it because Akoda was “otherwise being investigated.” He
     had some concerns about Akoda’s credibility. Ex. 3, Kelly depo. at
     195.
70   None of the three doctors responded to his letters. Ex. 3, Kelly depo. at   Admitted, assuming “the three doctors” refer to the
     196.                                                                        doctors who wrote letters of recommendation for
                                                                                 Akoda and “his letters” refer to the letters Kelly
                                                                                 wrote to those doctors.
71   Kelly did not attempt to find out if any of the three doctors were real.    Denied, assuming “the three doctors” are the doctors
     Ex. 3, Kelly depo. at 202.                                                  who wrote letters of recommendation for Akoda.
                                                                                 Kelly wrote to the doctors to determine if the letters
                                                                                 were authentic. Plaintiffs Ex. 3 at 195. Further,
                                                                                 Plaintiffs’ citation only mentions one of the doctors
                                                                                 who wrote a letter of recommendation for Akoda.
72   Kelly was concerned that Akoda and Igberase were the same person.           Admitted that Kelly testified that upon receipt of
     Ex. 3, Kelly depo. at 203.                                                  Akoda’s letters of recommendation that Kelly had



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            Plaintiffs’ Statement of Additional Material Facts                                  ECFMG’s Response
                                                                              some concerns that Akoda and Igberase were maybe
                                                                              the same person. Plaintiffs Ex. 3 at 203.
73   Kelly didn’t think there was enough evidence to go to the credentials    Admitted that Kelly testified that in December of
     committee. Ex. 3, Kelly depo. at 211.                                    2000 he did not believe there was enough evidence
                                                                              to refer Akoda to the Medical Education Credentials
                                                                              Committee (“MECC”). ECFMG Reply Ex. 1 at
                                                                              211–12.
74   Kara Corrado is the ECFMG Vice President for Operations. Ex. 2,          Admitted that at the time of her deposition, Kara
     Corrado depo. at 6.                                                      Corrado’s position at ECFMG was Vice President of
                                                                              Operations. By way of clarification, Kara Corrado’s
                                                                              name is now “Kara Oleyn.” Kara Oleyn’s position at
                                                                              ECFMG is now Vice President for Programs &
                                                                              Services.
75   ECFMG has a certification program that is required for entrance into a   Admitted that Kara Oleyn testified that ECFMG
     ACGME accredited residency program. Id. at 41. It is ECFMG’s             primary source verifies IMGs’ diplomas and
     expectation that state medical boards, residency programs, and           certifies their passage of specific exams to certain
     hospitals rely on ECFMG as they make decisions about physician           entities such as medical boards, residency programs,
     applications. Id. at 247-248.                                            and hospitals. ECFMG Ex. 2 at 244:1–8; Plaintiffs
                                                                              Ex. 2 at 247–48. ECFMG also admits that the
                                                                              Accreditation Council for Graduate Medical
                                                                              Education (“ACGME”) requires IMGs participating
                                                                              in ACGME-accredited residency programs to be
                                                                              ECFMG Certified. Further, Kara Oleyn only
                                                                              testified that medical boards, residency programs,
                                                                              and hospitals rely on ECFMG to determine whether
                                                                              an applicant has ECFMG certification. Plaintiffs Ex.
                                                                              2 at 247–48.
76   Part of ECFMG’s mission is to promote public health and to protect       Admitted that Kara Oleyn testified that ECFMG
     the public. Id. at 47. ECFMG serves the public in a number of ways,      helps to ensure physicians educated outside of the
     for example, making sure we have                                         U.S. and Canada have met certain minimum
     qualified physicians. Id. at 40.                                         requirements. Corrado Deposition, attached as
                                                                              ECFMG Reply Ex. 2, at 40. As further clarification,


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                                                                                 ECFMG plays various roles in the medical
                                                                                 community, including by issuing ECFMG
                                                                                 Certificates (ECFMG Ex. 2 at 40:1–22), which only
                                                                                 indicated that an IMG had a medical school diploma
                                                                                 primary source verified and passed certain exams
                                                                                 (ECFMG Ex. 2 at 241:12–22). ECFMG does not
                                                                                 hold itself out as “protect[ing] the public.”
                                                                                 Moreover, ECFMG’s “mission” is irrelevant and
                                                                                 immaterial to the Motion for Summary Judgment.
77   There is a written “Draft” procedures written in 2015 which the staff       Admitted that Kara Oleyn testified that ECFMG
     had been using since at least 2008. Id. at 60.                              memorialized certain procedures in writing in 2015
                                                                                 and had been following those procedures since at
                                                                                 least 2008, if not earlier. Plaintiffs Ex. 2 at 60.
78   As a general matter if a charge letter is sent to an applicant the matter   Admitted that generally if a “charge letter” alleging
     should be referred to the credentials committee for review. Id. at 80.      irregular behavior is sent to an individual, the matter
                                                                                 is often—but not always—referred to the MECC.
                                                                                 ECFMG Reply Ex. 2 at 82:18–23. However,
                                                                                 ECFMG’s “charge letters” ask for an explanation
                                                                                 from the subject individual, and when provided,
                                                                                 such explanations may cause the matter to not
                                                                                 necessarily be referred to the MECC, as occurred
                                                                                 with Akoda, for example. ECFMG Reply Ex. 2 at
                                                                                 82:4–13.
79   The credentialing requirements for certification at that time included      Denied. ECFMG is unsure what Plaintiffs mean by
     source verification of the diploma only. Id. at 88.                         “credentialing requirements.” Between 1992 and
                                                                                 2000, the only part of an IMG’s application that was
                                                                                 primary source verified by ECFMG was the
                                                                                 diploma. Plaintiffs Ex. 2 at 88–89.
80   It is a requirement to submit photo identification currently but it was     Admitted that it is presently a requirement to submit
     not in the past. Id. at 89.                                                 a photo, assuming “requirement” refers to ECFMG’s
                                                                                 requirements for applicants seeking ECFMG



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           Plaintiffs’ Statement of Additional Material Facts                                 ECFMG’s Response
                                                                             Certification, and that submitting a photo was not
                                                                             always a requirement for ECFMG Certification.
81   It was not part of ECFMG’s process to verify that the applicant’s name Admitted that it was not part of the process in 1998.
     or date of birth was the same on the request for permanent revalidation
     and the name that was on file for the applicant. Id. at 130.
82   ECFMG didn’t do anything to determine whether the passport and          Admitted only that ECFMG took no further steps
     international driving license Igberase provided under the Akoda         regarding Akoda’s passport and international driving
     identity were genuine or authentic. Id. at 161.                         license after seeing them. Plaintiffs Ex. 2 at 161.
83   The passport and applications for Akoda listed different places of      Admitted.
     birth. Id. at 162.
84   ECFMG could have consulted with the Nigerian consulate to               Admitted that Kara Oleyn testified in response to a
     determine if the passport was authentic but it’s not part of their      hypothetical question that she “suppose[d]” ECFMG
     process. Id. at 200.                                                    “could have [communicated with the Nigerian
                                                                             consulate], but that wasn’t part of our process at the
                                                                             time.” Plaintiffs Ex. 2 at 200. ECFMG otherwise
                                                                             denies Plaintiffs’ Paragraph 44 because it is
                                                                             unfounded speculation. For example, there is no
                                                                             evidence as to whether the Nigerian consulate would
                                                                             have responded to an inquiry from ECFMG, a non-
                                                                             governmental private U.S.-based entity, and
                                                                             validated (or invalidated) a Nigerian-appearing
                                                                             passport provided to ECFMG by a Nigerian citizen.
85   Corrado doesn’t believe ECFMG ever reached out to Akoda’s alleged Denied. ECFMG had various contacts with the
     cousin. Id. at 204.                                                     individual ECFMG had understood at the time to be
                                                                             Akoda’s cousin (going by the name “Igberase”).
86   Corrado agrees with Kelly that part of ECFMG’s role is to protect the   Admitted that Kara Oleyn testified that she agreed
     American public. Id. at 222. She agrees that patients have the right to that part of ECFMG’s role was to protect the
     not be treated by physicians who have obtained ECFMG certification      American public and that patients have a right not to
     based on false pretenses. Id. at 53.                                    be treated by physicians who have obtained ECFMG
                                                                             certification based on false pretenses. As further
                                                                             clarification, ECFMG plays various roles in the
                                                                             medical community, including by issuing ECFMG


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            Plaintiffs’ Statement of Additional Material Facts                                    ECFMG’s Response
                                                                                 Certificates (ECFMG Ex. 2 at 40:1–22), which only
                                                                                 indicated that an IMG had a medical school diploma
                                                                                 primary source verified and passed certain exams
                                                                                 (ECFMG Ex. 2 at 241:12–22). ECFMG does not
                                                                                 hold itself out as “protect[ing] the American public”
                                                                                 and is not responsible for practicing physicians
                                                                                 treating patients.
87   Akoda needed a valid ECFMG certificate to get into a training               Admitted that when Akoda applied to ECFMG, as
     program. Id. at 230.                                                        an IMG without a U.S. medical degree, he would
                                                                                 have needed ECFMG Certification to be accepted to
                                                                                 an ACGME-accredited training program.
88   If ECFMG believed the letters of recommendation were fraudulent,            Admitted assuming the letters of recommendation
     they would have reported it to Howard University. Id. at 233-234.           referenced were those of Akoda.
89   As Vice President of Operations, Stephen S. Seeling oversaw the             Admitted when Seeling was in that role from 1998
     certificate process. Ex. 19, Seeling depo. at 13.                           to 2013. Seeling Deposition, attached as ECFMG
                                                                                 Reply Ex. 3 at 6:16–7:9.
90   William Kelly reported to S. Seeling. Id.                                   Admitted that Kelly reported to Seeling when
                                                                                 Seeling was Vice President of Operations at
                                                                                 ECFMG.
91   As a general rule, an IMG must have an ECFMG certification to enter         Denied as stated. ECFMG refers to its responses to
     into a residency program. Id. at 23.                                        Plaintiffs’ Paragraphs 5 and 87.
92   One of the potential consequences, a potential sanction, for irregular      Admitted.
     behavior is revocation or invalidation of the individual’s certification.
     Id. at 55.
93   Seeling agrees that it probably would warrant referral to the credentials   Admitted.
     committee if he believed that Akoda and Igberase were one and the
     same person. Id. at 79.
94   The decision that the Akoda matter should not go to the credentials         Admitted that Seeling did not personally meet with
     committee was made without anyone speaking to Igberase about                Akoda before ECFMG decided whether or not to
     whether he and Akoda were the same person. Id.                              refer the matter to the MECC. Seeling Deposition,
                                                                                 attached as ECFMG Reply Ex. 3, at 79–80. ECFMG
                                                                                 communicated with the individual using the name


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            Plaintiffs’ Statement of Additional Material Facts                                 ECFMG’s Response
                                                                                Akoda about this specific point through its letter
                                                                                dated August 22, 2000 and Akoda’s response thereto
                                                                                dated August 29, 2000.
95   Monique Russell is a 46 year old mother of one child, Luka, born May       Admitted.
     25, 2016. Ex. 15, Russell depo. at 12.
96   Igberase delivered Ms. Russell’s baby by emergency C-section. Ex.          Admitted.
     15, Russell depo. at 41.
97   Ms. Russell learned of Igberase’s guilty plea from a Department of         Admitted.
     Justice press release. Ex. 15, Russell depo. at 31-32.
98   Ms. Russell red [sic] the federal sentencing transcript. Ex. 15, Russell   Admitted.
     depo. at 82.
99   She suffers from emotional distress as a result of learning about          Assuming “she” refers to Ms. Russell, ECFMG
     Akoda. Ex. 15, Russell depo. at 75-76.                                     admits that Ms. Russell makes this assertion, but
                                                                                ECFMG denies that any of Ms. Russell’s claimed
                                                                                emotional distress is as a result of learning about
                                                                                Akoda. ECFMG Ex. 74 at 7.
99   Ms. Russell feels Igberase violated her. Ex. 15, Russell depo. at 76.      ECFMG admits that Ms. Russell makes this
                                                                                assertion, but ECFMG denies Ms. Russell has
                                                                                suffered any compensable emotional distress due to
                                                                                learning information about Akoda. Dr. Fenichel
                                                                                determined “Ms. Russell does not have any
                                                                                psychiatric disorder causally related to the
                                                                                allegations in the Complaint.” ECFMG Ex. 74 at 7.
100 She has difficulty going to the gynecologist, distrusts the medical         Assuming “she” refers to Ms. Russell, ECFMG
    community and distrusts institutions that credential doctors. Ex. 15,       admits that Ms. Russell makes this assertion, but
    Russell depo. at 75.                                                        ECFMG denies Ms. Russell has suffered any
                                                                                emotional distress due to learning about Akoda’s
                                                                                identity. Dr. Fenichel determined “Ms. Russell does
                                                                                not have any psychiatric disorder causally related to
                                                                                the allegations in the Complaint.” ECFMG Ex. 74 at
                                                                                7.



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           Plaintiffs’ Statement of Additional Material Facts                                   ECFMG’s Response
101 She also suffers from intimacy issues and feels like a victim of sexual    Assuming “she” refers to Ms. Russell, ECFMG
    assault because Igberase examined her vagina under false pretenses.        admits that Ms. Russell makes this assertion, but
    Ex. 15, Russell depo. at 90, 130.                                          ECFMG denies Ms. Russell has suffered any
                                                                               emotional distress due to Akoda’s identity. Dr.
                                                                               Fenichel determined “Ms. Russell does not have any
                                                                               psychiatric disorder causally related to the
                                                                               allegations in the Complaint.” ECFMG Ex. 74 at 7.
102 Ms. Riggins is a 27 year old mother of three children, ages 10, 6 and 2.   Admitted.
    Ex. 16, Riggins depo. at 20.
103 She lives in northeast Washington, DC. Riggins depo. at. 21. She has a     Admitted.
    high school GED. Ex. 16, Riggins depo. at 21.
104 Ms. Riggins was a patient of Akoda between August 2012 and March           Admitted.
    2013. Ex. 16, Riggins depo. at 121. Akoda delivered her second child
    by C-section. Ex. 16, Riggins depo. at. 30. Messiah, her son, was born
    on March 18, 2013. Ex. 16, Riggins depo. at 38.
105 After the C-section, Ms. Riggins suffered severe abdominal pain and        Admitted that Ms. Riggins has testified about severe
    could not undergo a tubal ligation because of scarring. Ex. 16, Riggins    abdominal pain and an inability to undergo a tubal
    depo. at 34.                                                               ligation because of scarring, but it is denied that
                                                                               there is evidence that the scarring was because of
                                                                               Akoda. Dr. Jay Goldberg, an OB/GYN, examined
                                                                               Ms. Riggins’s medical records and noted that Ms.
                                                                               Riggins experienced “[n]o intra-operative
                                                                               complications” and “no post-operative
                                                                               complications” and that “[a]n elective repeat
                                                                               cesarean section with no complications resulted in
                                                                               delivery of a healthy baby.” Goldberg Expert Rep.,
                                                                               attached as ECFMG Reply Ex. 5, at 8.
106 As a result of what she learned about who she believed to be Akoda,        Assuming “she” refers to Ms. Riggins, ECFMG
    she has suffered emotional distress. Ex. 16, Riggins depo. at 56. After    admits that Ms. Riggins makes this assertion, but
    learning the truth about Igberase from a Facebook group, “Embracing        ECFMG denies Ms. Riggins has suffered any
    Mommies,” Ms. Riggins felt angry, sad, embarrassed, and ashamed            emotional distress due to Akoda’s identity. Dr.
    about receiving treatment from Igberase. Ex. 16, Riggins depo. at 57.      Fenichel determined Ms. Riggins “does not have any


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              Plaintiffs’ Statement of Additional Material Facts                                 ECFMG’s Response
      Ms. Riggins was deeply affected by what Igberase did and felt             psychiatric disorder, and in particular, she does not
      outraged because his dishonesty enabled him to perform C-sections,        have any psychiatric disorder causally related to her
      examine women’s genitals, touch and violate them. Ex. 16, Riggins         allegations in the Complaint.” ECFMG Ex. 67 at 4.
      depo. at 138. See also Def’s SUMF (ECF No. 85), Ex. 58, Dr.
      Tellefson Report. [sic]
107   Ms. Powell is a 32 year old mother of five children. Ex. 17, Powell       Admitted.
      depo. at 7, 11.
108   Ms. Powell initially encountered Igberase, whom she knew as Charles       The first sentence in Plaintiffs’ Paragraph 108 is
      Akoda, upon presentation to the medical office of Abdul Chaudry,          admitted.
      M.D., in 2014. Ex. 17, Powell depo. at 40, 94. Ms. Powell had been
      referred to Dr. Chaudry for obstetric care but was assigned to Igberase   The second sentence in Plaintiffs’ Paragraph 108 is
      due to Dr. Chaudry’s unavailability. Ex. 17, Powell depo. at. 39-40.      admitted.
      During her pregnancy, Igberse [sic] acted in a flirtatious manner that
      made her feel uncomfortable, but she nevertheless trusted that he was a   For the third sentence in Plaintiffs’ Paragraph 108,
      competent and appropriately credentialed physician providing              ECFMG admits that Ms. Powell makes these
      appropriate medical care. Ex. 34, Declaration of Elsa Powell.             assertions.
109   Igberase also delivered her child at Prince George's Hospital Center      Admitted.
      and saw Ms. Powell post-delivery as well. Ex. 17, Powell depo. at. 42,
      88. The delivery was complicated by significant bleeding requiring
      surgery. Ex. 34, Declaration of Elsa Powell.
110   Ms. Powell trusted that Igberase was a duly licensed and credentialed     ECFMG admits that Ms. Powell makes these
      physician and suffered emotional harm upon learning that the man she      assertions, but ECFMG denies Ms. Powell has
      trusted to touch the most intimate parts of her body and deliver her      suffered any emotional distress due to Akoda’s
      baby, had lied about his identity and background. Ex. 17, Powell depo.    identity. Dr. Fenichel determined that “there is no
      at 79; Ex. 34, Declaration of Elsa Powell. Ms. Powell was shocked and     indication for psychiatric or psychological treatment
      disturbed and felt violated by someone she did not know. Ex. 17,          for Ms. Powell in relation to the issues in the
      Powell depo. at 79. See also Def’s SUMF (ECF No. 85) Ex. 58, Dr.          Complaint.” ECFMG Ex. 63 at 6
      Tellefson Report.
110   As a result of learning about Igberase’s conduct, Ms. Powell              Denied. ECFMG denies that Ms. Powell has ever
      experienced recurrent nausea, stomach discomfort, fear, confusion,        testified to experiencing nausea, stomach
      sleeplessness, crying, anger, nervous sweating and panic attacks. Ex.     discomfort, confusion, crying, nervous sweating or
      34, Declaration of Elsa Powell                                            panic attacks as a result of Akoda’s conduct. See


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             Plaintiffs’ Statement of Additional Material Facts                                ECFMG’s Response
                                                                                generally ECFMG Ex. 59. Ms. Powell specifically
                                                                                denied experiencing anxiety attacks to Dr. Fenichel.
                                                                                ECFMG Ex. 34. Further, Ms. Powell did not report
                                                                                these symptoms to either Dr. Fenichel or Dr.
                                                                                Tellefsen. ECFMG Ex. 34; ECFMG Ex. 58.

                                                                                Moreover, Plaintiffs Ex. 34 is improper and in
                                                                                conflict with Ms. Powell’s previous admissions in
                                                                                interrogatories, at deposition and in independent
                                                                                medical examinations. See ECFMG’s Reply in
                                                                                Support of Motion for Summary Judgment at 13 n.2.
110 Ms. Powell would not have consented to treatment had she known              ECFMG admits that Ms. Powell testified to this in
    Igberase’s identity and conduct. Ex. 34, Declaration of Elsa Powell.        her deposition.
111 Desiree Evans is a 40 year old mother of one child. Ex. 18, Evans           Admitted.
    depo. at 8, 13.
112 Ms. Evans first encountered Igberase, whom she knew as Charles              The first sentence in Plaintiffs’ Paragraph 112 is
    Akoda, at Prince George's Hospital Center for the delivery of her child     admitted.
    by C-section in March of 2016. Ex. 18, Evans depo. at 83; Ex. 35,
    Declaration of Desire Evans. During Ms. Evans’s labor, Igberase             For the remainder of Plaintiffs’ Paragraph 112,
    manipulated her clitoris, telling her he needed to do so to stimulate her   ECFMG admits that Ms. Evans makes these
    to push the baby. Ex. 18, Evans depo. at 132. Ex. 35, Declaration of        assertions.
    Desire Evans. As this was her first experience having a baby, she
    trusted that his explanation for his conduct was medically valid. Ex.
    35, Declaration of Desire Evans.
113 Ms. Evans has suffered emotional distress upon learning that physician      ECFMG denies that Ms. Evans has testified to
    whom she trusted for medical care misrepresented his identity. Ex. 18,      experiencing nausea as a result of Akoda’s conduct.
    Evans depo. at 165,172; Ex. 35, Declaration of Desire Evans. Ms.            See generally ECFMG Ex. 56. ECFMG admits that
    Evans is afraid to seek medical care for her and her child and has lost     Ms. Evans has testified to experiencing certain other
    trust in the medical system. Ex. 18, Evans depo at 165, 172; Ex. 35,        symptoms, but Dr. Fenichel found Ms. Evans’
    Declaration of Desire Evans. See also Def.’s SUMF (ECF No. 85) Ex.          symptoms to be unrelated to her experiences with
    58, Dr. Tellefson Report. As a result of learning about Igberase’s          Akoda. ECFMG Ex. 57.
    conduct, her intimate relationship with her spouse has been damaged.


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            Plaintiffs’ Statement of Additional Material Facts                                 ECFMG’s Response
    Ex. 35, Declaration of Desire Evans. As a result of learning about        Moreover, Plaintiffs Ex. 35 is improper and in
    Igberase’s conduct, Ms. Evans experienced feelings of nausea, disgust,    conflict with Ms. Evans’ previous admissions in
    depression, sadness, sleepless nights reflecting on Igberase’s conduct,   interrogatories, at deposition and in independent
    stress and anxiety, crying, impacts on her intimate relationship with     medical examinations. See ECFMG’s Reply in
    her spouse, and nervousness. Many of these symptoms continue today.       Support of Motion for Summary Judgment at 13 n.2.
    Ex. 35, Declaration of Desire Evans. Ms. Evans would not have
    consented to treatment had she known Igberase’s identity and conduct.
    Ex. 35, Declaration of Desire Evans.
114 Plaintiffs have identified David Markenson, M.D., John C. Hyde            ECFMG admits that Plaintiffs have proffered these
    Ph.D., FACHE, and Jerry Williamson, M.D., F.A.A.P., M.J, CHC.,            experts, who are the subject of Defendant’s Motion
    LHRM as experts to testify with respect to standard of care and           to Exclude the Opinions and Anticipated Testimony
    elements of causation. These experts have issued reports containing       of Plaintiffs’ Experts Dr. David Markenson, Dr.
    opinions and have given deposition testimony. See Exs. 20, 36 and 37,     John Charles Hyde, and Dr. Jerry Williamson. ECF
    respectively, Reports of Dr. Markenson, Dr. Hyde and Dr. Williamson.      83. These experts lack the qualifications to offer
    See also Ex. 1, Depo of. Dr. Markenson.                                   opinions on ECFMG, reach improper legal
                                                                              conclusions, and lack reliable methodologies to
                                                                              support their opinions. Their opinions should be
                                                                              excluded pursuant to Daubert and Federal Rules of
                                                                              Evidence 403, 702, and 703.




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                         REPLY TO PLAINTIFFS’
         RESPONSE TO DEFENDANT’S STATEMENT OF MATERIAL FACTS

       As a preliminary matter, Plaintiffs’ evidentiary objections proffered in response to certain

record citations in ECFMG’s Statement of Material Facts fail and are premature in any event.

       First, Plaintiffs object to certain of ECFMG’s exhibits as hearsay and unauthenticated.

“Hearsay statements can be considered on a motion for summary judgment if they are capable of

being admitted at trial.” Coulter v. Chase Bank USA, N.A., No. CV 18-1538, 2020 WL 5820700,

at *8 (E.D. Pa. Sept. 30, 2020) (citing FOP v. City of Camden, 842 F.3d 231, 238 (3d Cir. 2016)).

ECFMG “need only explain the admissible form that is anticipated.” FOP, 842 F.3d at 238.

Additionally, at the summary judgment stage, evidence need not yet be authenticated. Egan v. Live

Nation Worldwide, Inc., 764 Fed. App’x 204, 208 (3d Cir. 2019). Moreover, “the burden of proof

for authentication is slight.” Lexington Ins. Co. v. Western Pennsylvania Hosp., 423 F.3d 318, 328

(3d Cir. 2005). Federal Rule of Evidence 901(a) “requires a proponent of evidence to produce

evidence sufficient to support a finding that the item is what the proponent claims it is.” Berger v.

Zeghibe, 465 F. App'x 174, 183 (3d Cir. 2012).

       Plaintiffs raise hearsay objections for ECFMG’s Exhibits 26, 34, 41, 50, and 51. Exhibits

26 and 34 (duplicates of the same document) are admissible as both a recorded recollection

pursuant to Fed. R. Evid. 803(5) and a business record pursuant to Fed. R. Evid. 803(6). Exhibits

41, 50, and 51 are not being offered for their truth and are thus not hearsay. Fed. R. Evid. 801(c).

Rather, they are being offered to show ECFMG’s motivation for its conduct at the time and are

therefore admissible for that purpose. See Fahnestock v. Carlisle Reg’l Med. Ctr., 659 Fed. App’x

75, 78 (3d Cir. 2016); compare with Fed. R. Evid. 801(c)(2).




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       Plaintiffs also raise authentication objections for ECFMG’s Exhibits 26, 34, 41, 50, and

51. As explained above, authentication is not even required for summary judgment. See Egan, 764

Fed. App’x 204 at 208. But even if it were, ECFMG has met the low bar:

      Exhibit 26/34 could be authenticated several ways, but on its own provides sufficient
       information about the author of the letter and its recipient that it could be authenticated at
       trial, which meets ECFMG’s burden. See Berger, 465 F. App’x at 183. Further, several
       pieces of evidence that Plaintiffs do not dispute support the authenticity of the letter in
       Exhibit 26/34, given its contents and date. See, e.g., ECFMG Ex. 25, 27, 28.

      Exhibits 41, 50, and 51 contain emails, and “courts have authenticated emails by relying
       on the email addresses in the headers, explanations in the body of the emails, conduct after
       receiving the emails, and other circumstantial evidence.” United States v. CVS Caremark
       Corp., No. 09-4672, 2015 WL 5582553, at *32 n.24 (E.D. Pa. Sept. 22, 2015), aff’d on
       other grounds sub nom. United States ex rel. Spay v. CVS Caremark Corp., 875 F.3d 746
       (3d Cir. 2017). Given the email addresses in the headers, the contents of the emails, and
       the undisputed facts of this case, these emails can be properly authenticated for summary
       judgment.

       Second, Plaintiffs object to ECFMG’s use of Plaintiffs’ verified responses to ECFMG’s

interrogatories (ECFMG Exs. 44, 45, 46, 47). Those objections fail. Fed. R. Civ. P. 56(c)(1)(A)

explicitly allows interrogatory answers to support factual positions at summary judgment. See also

Giuliani v. Springfield Twp., 238 F. Supp. 3d 670, 689 (E.D. Pa. 2017), aff’d, 726 F. App’x 118

(3d Cir. 2018).

       Third, Plaintiffs object to ECFMG’s use of Plaintiffs’ own statements from a lawsuit

Plaintiffs filed against a different defendant, Dimensions Healthcare System (ECFMG Exs. 42, 43,

62, 64, 69, 70, 76). However, all of those documents are admissible as evidence under Fed. R.

Evid. 801(d)(2) as statements of a party opponent. See Koresko v. United States, 123 F. Supp. 3d

654, 669–70 (E.D. Pa. 2015) (explaining that pleadings, including amended, withdrawn, or

superseded pleadings, and evidentiary admissions, including interrogatories, from related litigation

may be admissible as evidence).




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       With respect to the particular position articulated by Plaintiffs in response to each fact in

ECFMG’s Statement of Material Facts, and for completeness’ sake, ECFMG replies as follows:




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                        ECFMG’s Statement of
                                                                            Plaintiffs’ Response         ECFMG’s Reply
                      Undisputed Material Facts
1   Defendant Educational Commission for Foreign Medical Graduates          Admitted.              n/a
    (“ECFMG”) is a private non-profit organization based in
    Philadelphia, Pennsylvania. About ECFMG page,
    https://ecfmg.org/about/index.html, attached Exhibit 1.
2   ECFMG promotes quality health care for the public by, among other       Admitted.              n/a
    things, certifying physicians who received their basic medical degree
    outside of the United States and Canada (known as international
    medical graduates or “IMGs”) as having met specific minimum
    requirements to be candidates for graduate medical education
    programs in the United States. Dep. of Kara Corrado, attached as
    Exhibit 2, at 40:1-22; About ECFMG, History,
    https://ecfmg.org/about/history.html, attached as Exhibit 3.
3   At the relevant time, to qualify for ECFMG Certification, an IMG        Admitted.              n/a
    had to: (i) pass an English exam and two substantive exams, either
    Step 1 and Step 2 of the United States Medical Licensing
    Examination (“USMLE”) or Basic Medical Science and Clinical
    Science of the Foreign Medical Graduate Examination in the
    Medical Sciences (“FMGEMS”); and (ii) have their medical school
    diploma successfully primary-source verified with the issuing
    medical school as authentic.
    ECFMG Certification Page, attached as Exhibit 4; Ex. 2 at 88:21-
    89:2; Sep. 17, 1993 Letter from Marjorie P. Wilson, attached as
    Exhibit 5.
4   Once an applicant’s record was verified and complete and the            Denied. The phrase     ECFMG agrees that it only
    applicant passed the required substantive exams, ECFMG issued the       “once an applicant’s   primary source verified
    applicant a certificate. Ex. 2 at 241:12-22.                            record was verified    medical diplomas as part of
                                                                            and incomplete”        its ECFMG Certification
                                                                            [sic] is inaccurate.   process at the pertinent
                                                                            The only thing         time. However, ECFMG
                                                                            ECFMG verifies is      also required applicants to


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                                                                                                                        JA4593
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                         ECFMG’s Statement of
                                                                              Plaintiffs’ Response         ECFMG’s Reply
                        Undisputed Material Facts
                                                                              an applicant’s         pass substantive exams prior
                                                                              diploma. Ex. 3,        to issuing an ECFMG
                                                                              Kelly depo. at 18,     Certificate. ECFMG Ex. 2
                                                                              34, 35; Ex. 2,         at 241:12-22.
                                                                              Corrado depo. at 88.
5      ECFMG Certification status information is made available only to       Admitted. However,     Plaintiffs are mistaken.
       certain third parties in the medical field, like residency programs,   the transcript         ECFMG Ex. 2 at 244:1–8
       hospitals, licensing boards, and employers. Ex. 2 at 244:1–8.          reference is           states:
                                                                              incorrect.
                                                                                                     “Q. To whom would
                                                                                                     ECFMG release a ECFMG
                                                                                                     certification status report?
                                                                                                     A. To residency programs,
                                                                                                     licensing boards, and other
                                                                                                     organizations that are
                                                                                                     employing the physician as
                                                                                                     a physician.
                                                                                                     Q. Like hospitals and --
                                                                                                     A. Hospitals, right, CVOs
                                                                                                     that are working on behalf
                                                                                                     of the hospitals.”
6      ECFMG Certification status information is not available to members     Admitted.              n/a
       of the general public (including patients of doctors who have
       received ECFMG Certification). Ex. 2 at 243:9-25.
7      At the relevant time, ECFMG Certification status reports for           Admitted.              n/a
       residency programs contained the following information:
7.a.   IMG’s name                                                             Admitted.              n/a
7.b.   USMLE number                                                           Admitted.              n/a
7.c.   medical school name and country                                        Admitted.              n/a
7.d.   graduation year                                                        Admitted.              n/a
7.e.   ECFMG Certification status                                             Admitted.              n/a


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                            ECFMG’s Statement of
                                                                               Plaintiffs’ Response         ECFMG’s Reply
                          Undisputed Material Facts
7.f.    validity of ECFMG Certification                                        Admitted.              n/a
7.g.    date of issuance of ECFMG Certification. Ex. 2 at 248:16-249:2.        Admitted.              n/a
8       ECFMG Certification status reports for residency programs do not       Admitted.              n/a
        verify:
8.a.    an IMG’s identity                                                      Admitted.              n/a
8.b.    Social Security number                                                 Admitted.              n/a
8.c.    immigration status                                                     Admitted.              n/a
8.d.    passport information                                                   Admitted.              n/a
8.e.    criminal background                                                    Admitted.              n/a
8.f.    readiness to treat patients                                            Admitted.              n/a
8.g.    ethics                                                                 Admitted.              n/a
8.h.    honesty                                                                Admitted.              n/a
8.i.    morality                                                               Admitted.              n/a
8.j.    Character. Ex. 2 at 198:16-22, 200:13-15, 240:18-241:6, 242:6-         Admitted.              n/a
        243:3, 244:22-245:13.
9       ECFMG Certification does not authorize an IMG to treat patients as     Admitted.              n/a
        a doctor. Ex. 2 at 244:22-245:1.
10      Recipients of ECFMG Certification status reports, such as residency    Admitted.              n/a
        programs and hospitals, typically consider things like the following
        when evaluating IMGs:
10.a.   in-person interviews                                                   Admitted.              n/a
10.b.   information provided directly by the IMG                               Admitted.              n/a
10.c.   letters of recommendation                                              Admitted.              n/a
10.d.   skills assessments or additional examinations                          Admitted.              n/a
10.e.   reports from prior educational or training programs                    Admitted.              n/a
10.f.   medical school transcripts                                             Admitted.              n/a
10.g.   information obtained as part of a background check                     Admitted.              n/a
10.h.   information obtained as part of a background check. Rebuttal Rep. of   Admitted.              n/a
        L. Beck, attached as Exhibit 6, at 4; Rebuttal Rep. of M. Smith,
        attached as Exhibit
        7, at 2.


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                         ECFMG’s Statement of
                                                                               Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
11   The institution receiving the ECFMG Certification status report           Admitted.              n/a
     independently assesses the criteria enumerated in ¶ 8. Ex. 6 at 4–7.
12   State licensing boards have their own requirements beyond ECFMG           Admitted.              n/a
     Certification for issuing a license to practice medicine. Ex. 6 at 3–4.
13   In Maryland, those requirements include graduation from an                Admitted.              n/a
     approved medical school, being of good moral character, completion
     of at least 2 years of a residency program accredited by the
     Accreditation Council for Graduate Medical Education or the
     American Osteopathic Association, as well as further requirements.
     Akoda App. to Md. Bd. of Physicians, attached as Exhibit 8. See
     also Ex. 6 at 4; Ex. 7 at 3-4.
14   Residency programs typically track and evaluate residents on an           Admitted.              n/a
     ongoing basis based on a variety of factors other than ECFMG
     Certification status. Ex. 7 at 3. These evaluations often include
     annual progression reports, annual examinations, and ongoing
     supervision by the faculty of the residency program. Ex. 7 at 3.
15   Hospitals typically continue to evaluate their physicians on an           Admitted.              n/a
     ongoing basis through their Medical Director’s office on attributes
     such as clinical performance, demeanor, and interactions with
     patients and staff. Ex. 6 at 6–7.
16   IMGs are subject to normal employee processes—like payroll, taxes,        Admitted.              n/a
     healthcare programs and other requirements of employment—and
     residency programs and hospitals gather information from IMGs
     independently for these processes. Ex. 7 at 5.
17   The American Board of Obstetrics and Gynecology has its own               Admitted.              n/a
     certification process independent of ECFMG Certification. Ex. 6 at
     7.
18   Medical specialty board certification typically requires passing a        Admitted.              n/a
     written and oral examination, undergoing a personal interview,
     review of academic credentials, review of prior case logs, letters of
     recommendation from residency and fellowship directors, and


                                                               26
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                        ECFMG’s Statement of
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     consideration of any disciplinary action, criminal, or immoral
     behavior that comes to their attention. Ex. 6 at 7.
19   Following medical specialty board certification, a candidate must      Admitted.               n/a
     comply with annual requirements for ongoing educational modules
     to maintain certification. Ex. 6 at 7.
20   ECFMG defines conduct that does or tries to subvert ECFMG’s            Objection. There is     Plaintiffs’ objection is
     processes and programs as “irregular behavior” and has a process for   no evidence that this   irrelevant and does not
     evaluating suspected irregular behavior. ECFMG Irregular Behavior      “process” was           create a genuine issue of
     Policy, attached as Exhibit 9; Ex. 2 at 55:23-56:7.                    published in the        material fact. Even if
                                                                            period 1992 through     ECFMG’s process and
                                                                            2006.                   procedures were not
                                                                                                    “published” at the time,
                                                                                                    ECFMG followed an
                                                                                                    internal process then
                                                                                                    nonetheless. Plaintiffs Ex. 2
                                                                                                    at 60 (“Yes, those
                                                                                                    procedures that were
                                                                                                    documented in 2015 were
                                                                                                    the procedures that staff had
                                                                                                    been using at least since I
                                                                                                    started working directly on
                                                                                                    cases of irregular
                                                                                                    behavior, which is 2008
                                                                                                    onward, and my
                                                                                                    understanding would be
                                                                                                    prior to that as well.”)
21   When ECFMG suspects that an individual may have engaged in             Admitted.               n/a
     irregular behavior, ECFMG staff investigates by, inter alia,
     communicating with the source of the suspicion and with the
     accused. Ex. 2 at 76:12-77:5.



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                         ECFMG’s Statement of
                                                                               Plaintiffs’ Response         ECFMG’s Reply
                        Undisputed Material Facts
22   If ECFMG staff determines that there is sufficient evidence that an       Admitted.              n/a
     individual has engaged in irregular behavior, the matter is referred to
     ECFMG’s Medical Education Credentials Committee (“MECC”), a
     sub-committee of ECFMG’s Board of Trustees, for a formal
     determination on the merits. Ex. 2 at 76:24-77:5.
23   Mere suspicions of irregular behavior are not made public or              Admitted.              n/a
     reported to third parties to avoid damage to the suspect individual’s
     career and reputation based on unsubstantiated allegations. Ex. 2 at
     181:9-23.
24   If an IMG is found to have engaged in irregular behavior by               Admitted.              n/a
     ECFMG’s MECC, ECFMG annotates the individual’s record and
     can, inter alia, limit the individual’s participation in ECFMG
     programs or withhold or revoke existing ECFMG Certificates. Ex. 9.
25   ECFMG is not a government enforcement or investigative agency.            Admitted.              n/a
     Ex. 2 at 76:12-77:5.
26   In 1992, an individual applied to ECFMG using the name                    Denied. ECFMG          Plaintiffs’ objection does
     Oluwafemi Charles Igberase. Verification Papers – University of           Exhibit 10 is          not create a genuine issue of
     Ibadan, attached as Exhibit 10.                                           Akoda’s alleged        material fact. Exhibit 10
                                                                               diploma, not an        contains ECFMG’s
                                                                               application.           verification of a University
                                                                                                      of Ibadan diploma for
                                                                                                      Charles Olufemi Igebraese.
                                                                                                      Other sources Plaintiffs
                                                                                                      have not objected to also
                                                                                                      indicate that Akoda first
                                                                                                      applied to ECFMG in 1992.
                                                                                                      See, e.g., ECFMG Ex. 25.
27   The individual who had applied to ECFMG under the name                    Admitted.              n/a
     Oluwafemi Charles Igberase presented ECFMG with a medical
     school diploma from the University of Ibadan in Nigeria. Ex. 10.



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                       ECFMG’s Statement of
                                                                           Plaintiffs’ Response          ECFMG’s Reply
                      Undisputed Material Facts
28   University of Ibadan sent ECFMG verification of diplomas and         Plaintiffs cannot        Plaintiffs’ response does not
     credentials for Charles Oluwafemi Igberase. Ex. 10.                  admit or deny this       dispute ECFMG’s
                                                                          statement because        Paragraph 28, and does not
                                                                          they have no             create a genuine issue of
                                                                          personal knowledge       material fact.
                                                                          of the “verification,”
                                                                          nor did Ibaden [sic]
                                                                          purport to verify any
                                                                          credentials other
                                                                          than the diploma.
29   In July of 1992, the individual who had applied to ECFMG under the Admitted.                  n/a
     name Oluwafemi Charles Igberase passed the ECFMG English test
     and failed both the basic medical science component and the clinical
     science component of the FMGEMS. Sep. 15, 1992 Igberase Score
     Report, attached as Exhibit 11.
30   In January of 1993, the individual who had applied to ECFMG under Admitted.                   n/a
     the name Oluwafemi Charles Igberase passed the ECFMG English
     test and the clinical science component of the FMGEMS but failed
     the basic medical science component of the FMGEMS. Mar. 27,
     1993 Igberase Score Report, attached as Exhibit 12.
31   In July of 1993, the individual who had applied to ECFMG under the Admitted.                  n/a
     name Oluwafemi Charles Igberase passed the basic science
     component of the FMGEMS. Ex. 5.
32   In September of 1993, ECFMG notified the individual who had          Admitted.                n/a
     applied under the name Oluwafemi Charles Igberase that he had
     satisfied all testing criteria for ECFMG Certification. Ex. 5.
33   ECFMG issued an ECFMG Certificate (No. 482-700-2) to the             Admitted.                n/a
     individual who had applied to ECFMG under the name Oluwafemi
     Charles Igberase. June 22, 1995 Letter from W. Kelly, attached as
     Exhibit 13.



                                                             29
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                                                                           Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
34   The individual who had applied to ECFMG under the name                Admitted.              n/a
     Oluwafemi Charles Igberase did not gain admission to a residency
     program. July 20, 1995 Letter from Igberase Oluwafemi Charles,
     attached as Exhibit 14, at 1–2.
35   In 1994, the individual who had applied to ECFMG under the name       Admitted.              n/a
     Oluwafemi Charles Igberase applied again for ECFMG Certification,
     this time using the name Igberase Oluwafemi Charles. Plea
     Agreement Terms, attached as Exhibit 15, at 9.
36   In the application under the name “Igberase Oluwafemi Charles,” the   Admitted.              n/a
     individual answered “no” to the question of whether he had
     previously applied to ECFMG. Ex. 15 at 9; May 3, 2001 Letter from
     W. Kelly, attached as Exhibit 16.
37   ECFMG issued an ECFMG Certificate (No. 0-519-573-0) to the            Admitted.              n/a
     individual who applied to ECFMG using the name Igberase
     Oluwafemi Charles. Dec. 7, 1995 Letter from W. Kelly, attached as
     Exhibit 17.
38   Misrepresenting ECFMG application history to ECFMG can                Admitted.              n/a
     constitute irregular behavior. Ex. 17 at 14.
39   ECFMG notified the individual who applied to ECFMG using the          Admitted.              n/a
     name Igberase Oluwafemi Charles that it was conducting an
     investigation of whether he had previously applied
     to ECFMG when he indicated on his application that he had not
     previously applied. Ex. 17 at 14.
40   The individual who had applied to ECFMG under the name Igberase       Admitted.              n/a
     Oluwafemi Charles admitted that he had previously applied to
     ECFMG, despite representing otherwise on his application. Ex. 17 at
     15–16.
41   ECFMG staff determined that there was sufficient evidence that the    Plaintiffs cannot      Plaintiffs’ response does not
     individual who had applied to ECFMG under the name Igberase           admit or deny          dispute ECFMG’s
     Oluwafemi Charles had engaged in irregular behavior by                paragraph 41.          Paragraph 41, and does not
                                                                                                  create a genuine issue of


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                       ECFMG’s Statement of
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     misrepresenting his application history with ECFMG to refer the          ECFMG Exhibit 17       material fact. ECFMG Ex.
     matter to the MECC. Ex 17 at 13.                                         does not state this.   17 summarizes on its face
                                                                                                     the individual’s irregular
                                                                                                     behavior and informs him
                                                                                                     that his case was referred to
                                                                                                     the MECC. ECFMG Ex. 17
                                                                                                     at 13–14. It is a writing that
                                                                                                     speaks for itself.
42   The MECC found that the individual who had applied to ECFMG              Admitted.              n/a
     under the name Igberase Oluwafemi Charles had engaged in
     irregular behavior and (1) invalidated the ECFMG Certificate issued
     to Oluwafemi Igberase Charles; and (2) revoked the ECFMG
     Certificate issued to Oluwafemi Charles Igberase. Ex. 17.
43   ECFMG later barred the individual who had applied to ECFMG               Admitted.              n/a
     under the names Oluwafemi Charles Igberase and Igberase
     Oluwafemi Charles from applying to ECFMG after he submitted
     additional fraudulent applications using other variations of the names
     Oluwafemi, Charles, and Igberase, each of which ECFMG identified
     and refused to process when received. Ex. 16; May 22, 2002 Letter
     from W. Kelly, attached as Exhibit 18.
44   In 1996, an individual using the name John Nosa Akoda applied for        Admitted.              n/a
     ECFMG Certification with applicant number 0-553-258-5. Akoda
     ECFMG Application, attached as Exhibit 19.
45   The individual who had applied to ECFMG under the name John              Admitted.              n/a
     Nosa Akoda applied to take the March 1996 USMLE Step 2 exam
     and the June 1996 USMLE Step 1 exam. Aug. 22, 2000 Letter from
     W. Kelly, attached as Exhibit 20.
46   The individual who had applied to ECFMG under the name John              Admitted.              n/a
     Nosa Akoda presented ECFMG with a medical school diploma from
     the University of Benin. University of Benin Degree, attached as
     Exhibit 21.


                                                              31
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                        ECFMG’s Statement of
                                                                            Plaintiffs’ Response           ECFMG’s Reply
                       Undisputed Material Facts
47   The University of Benin sent ECFMG verification of diploma and         Plaintiffs cannot        Plaintiffs’ response does not
     credentials for Johnbull Enosakhare Akoda. Ex. 21.                     admit or deny this       dispute ECFMG’s
                                                                            statement because        Paragraph 47 and does not
                                                                            they have no             create a genuine issue of
                                                                            personal knowledge       material fact because
                                                                            of the “verification,”   ECFMG’s Paragraph 47
                                                                            nor did Ibaden [sic]     relates to verification from
                                                                            purport to verify any    the University of Benin, not
                                                                            credentials other        the University of Ibadan.
                                                                            than the diploma.
48   The individual who applied to ECFMG under the name John Nosa           Admitted.                n/a
     Akoda misrepresented his ECFMG application history to ECFMG
     and made no reference to any previous applications to ECFMG. Ex.
     19; Ex. 15 at 10.
49   The individual who had applied to ECFMG under the name John            Admitted.                n/a
     Nosa Akoda passed the English exam in August 1996. Aug. 12, 1997
     Letter from N. Gary, attached as Exhibit 22.
50   The individual who had applied to ECFMG under the name John            Admitted.                n/a
     Nosa Akoda passed the USMLE Step 2 Exam in August 1996. Ex.
     22.
51   The individual who had applied to ECFMG under the name John            Admitted.                n/a
     Nosa Akoda passed the USMLE Step 1 Exam in June 1997. Ex. 22.
52   ECFMG certified the individual who had applied to ECFMG under          Admitted.                n/a
     the name John Nosa Akoda in 1997 based on his passing of Steps 1
     and 2 of the USMLE and the primary source verification of a
     diploma by the University of Benin. Verification Papers – University
     of Benin, attached as Exhibit 23; John Nosa Akoda ECFMG
     Certificate, attached as Exhibit 24.
53   After obtaining this ECFMG Certification, the individual who had       Admitted.                n/a
     applied to ECFMG under the name John Nosa Akoda successfully



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     passed Step 3 of the USMLE. Md. State Bd. of Physicians Decision,
     attached as Exhibit 25, at 5.
54   Oluwafemi Charles Igberase, Igberase Oluwafemi Charles and John       Admitted.              n/a
     Nosa Akoda were all the same person (hereinafter referred to as
     “Akoda”). Ex. 15 at 9–11.
55   Akoda applied to a residency program in internal medicine at Jersey   Objection. This        There is no genuine dispute
     Shore Medical Center (“JSMC”). Ex. 15 at 10.; Nov. 7, 2000 Letter     letter has not been    about this fact. Plaintiffs
     from A.M. Sesso, attached as Exhibit 26.                              authenticated and is   admit that Akoda was a
                                                                           hearsay and is         resident at JSMC, which
                                                                           inadmissible.          would require that he
                                                                                                  applied for the residency.
                                                                                                  See Plaintiffs’ Paragraph 38
                                                                                                  (“It shows that [Akoda] had
                                                                                                  started a residency program
                                                                                                  at JSMC.”) And Plaintiffs’
                                                                                                  own exhibits support the
                                                                                                  fact that Akoda applied to a
                                                                                                  residency program at JSMC.
                                                                                                  See Plaintiffs Ex. 3 at 153.
                                                                                                  Further, see ECFMG’s
                                                                                                  response regarding the
                                                                                                  admissibility of Exhibit 26
                                                                                                  in the preliminary statement
                                                                                                  preceding this chart.
                                                                                                  Moreover, several other
                                                                                                  pieces of evidence that
                                                                                                  Plaintiffs do not dispute
                                                                                                  support the authenticity of
                                                                                                  Exhibit 26, given its
                                                                                                  contents and date. See
                                                                                                  ECFMG Ex. 25, 27, 28.


                                                            33
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                                                                           Plaintiffs’ Response          ECFMG’s Reply
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56   JSMC accepted Akoda as a resident in its internal medicine program    Admitted.               n/a
     in 1998. Akoda Request for Permanent Revalidation of Standard
     ECFMG Cert., attached as Exhibit 27.
57   In 1999, JSMC received an allegation that Akoda had participated in   Admitted.               n/a
     two other U.S. residency programs under the name Oluwafemi
     Charles Igberase. Aug. 11, 2000 Letter from J. McCorkel, attached
     as Exhibit 28.
58   When JSMC tried to verify the Social Security number that Akoda       Admitted.               n/a
     provided directly to JSMC in his residency paperwork, JSMC
     concluded that it belonged to Charles Igberase. Ex. 28.
59   JSMC notified ECFMG of its investigation into Akoda, but JSMC         Plaintiffs admit that   Plaintiffs’ response to
     did not inform ECFMG of the source of the allegation against          JSMC notified           ECFMG’s Paragraph 59
     Akoda. Ex. 28.                                                        ECFMG of its            does not create a genuine
                                                                           investigation but       issue of material fact
                                                                           there is no evidence    because the response is
                                                                           in the record that      irrelevant to the undisputed
                                                                           ECFMG ever              fact that the JSMC did not
                                                                           requested of JSMC       inform ECFMG of the
                                                                           the identity of the     source of the allegation.
                                                                           source of the
                                                                           allegation against
                                                                           Akoda.
60   In an August 11, 2000 letter from James McCorkel at JSMC, Mr.         Admitted.               n/a
     McCorkel asked if ECFMG had received requests for Akoda’s
     ECFMG certification status from Harlem Hospital Center or JFK
     Memorial Hospital. Ex. 28.
61   ECFMG had no records indicating that Harlem Hospital Center or        Admitted.               n/a
     JFK Memorial Hospital had requested ECFMG verification for any
     of Akoda’s aliases or USMLE / ECFMG identification numbers.
     Aug. 22, 2000 Letter from S. Seeling, attached as Exhibit 29.



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                                                                            Plaintiffs’ Response          ECFMG’s Reply
                       Undisputed Material Facts
62   ECFMG conducted its own investigation to determine if Akoda and        Admitted.               n/a
     Igberase were the same person. Ex. Ex. 20; Sep. 27, 2000 Memo,
     attached as Exhibit 30; Dec. 21, 2000 Memo, attached as Exhibit 31.
63   ECFMG required Akoda to submit an explanation for why it               Admitted.               n/a
     appeared he had previously applied to ECFMG but had answered
     “no” to the question whether he had previously submitted an
     application to ECFMG. Ex. 20.
64   In response to the inquiry from ECFMG, Akoda explained that            Admitted.               n/a
     “Igberase Charles” was his cousin and admitted using a social
     security number allegedly belonging to his cousin. Aug. 29, 2000
     Letter from Akoda, attached as Exhibit 32; Ex. 30.
65   Akoda provided ECFMG with what appeared to be his Nigerian             Plaintiffs admit that   Plaintiffs admit the material
     passport and an international driving permit as documentation of his   Igberase provided       facts of ECFMG’s
     identity. Ex. 32; Ex. 30.                                              ECFMG with a            Paragraph 65. The
                                                                            passport and an         remainder of Plaintiffs’
                                                                            international driving   response does not create a
                                                                            permit but ECFMG        genuine issue of material
                                                                            made no effort to       fact and is irrelevant to
                                                                            verify the              whether Akoda provided the
                                                                            authenticity of these   passport and driving permit
                                                                            documents. Ex. 2,       as documentation of his
                                                                            Corrado depo. at        identity.
                                                                            161.
66   ECFMG staff determined that there was insufficient evidence of         Admitted. Further,      Plaintiffs admit the material
     irregular behavior to bring Akoda before the ECFMG MECC on an          ECFMG made no           facts of ECFMG’s
     allegation that he was Igberase. Dec. 22, 2000 Memo, attached as       effort to refer         Paragraph 66.
     Exhibit 33; Ex. 2 at 150:24-151:6.                                     “Akoda” to the
                                                                            ECFMG MECC for          Plaintiffs’ supplemental
                                                                            his misuse of a         statement is not supported
                                                                            social security         by their citation, see
                                                                            number or for           Plaintiffs Ex. 3 at 201, and


                                                             35
                                                                                                                           JA4605
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                      ECFMG’s Statement of
                                                                           Plaintiffs’ Response          ECFMG’s Reply
                     Undisputed Material Facts
                                                                           providing false         does not create a genuine
                                                                           information on his      issue of material fact.
                                                                           application. Ex. 3,
                                                                           Kelly depo. at 201.
67   In 2000, JSMC discharged Akoda because of perceived                   Admitted.               n/a
     discrepancies involving his Social Security number and green card,
     which was not part of his ECFMG application. Ex. 31.
68   In a November 7, 2000 letter, JSMC wrote to the Maryland Board of     Objection. There is     ECFMG incorporates by
     Physicians about the discrepancies in Akoda’s Social Security         no evidence in the      reference its reply regarding
     number and green card. Nov. 7. 2000 Letter from A.M. Sesso,           record authenticating   ECFMG’s Paragraph 55,
     attached as Exhibit 34.                                               this letter.            noting that Exhibits 24 and
                                                                           Furthermore, it is      36 are the same document.
                                                                           hearsay and is
                                                                           inadmissible.
69   ECFMG continued to investigate Akoda but took no adverse action       Admitted.               n/a
     against him at that time because ECFMG staff concluded there was
     insufficient evidence of irregular behavior. Ex. 2 at 150:24-151:6;
     Nov. 22, 2006 Letter from W. Kelly, attached as Exhibit 35.
70   ECFMG staff was nonetheless suspicious of Akoda’s identity. Ex.       W. Kelly believed       Plaintiffs’ response is a non-
     33.                                                                   Akoda and Igberase      sequitur and does not create
                                                                           were one and the        a genuine issue of material
                                                                           same. ECFMG Ex.         fact regarding ECFMG’s
                                                                           33.                     Paragraph 70. Exhibit 33 is
                                                                                                   a document that speaks for
                                                                                                   itself.
71   Akoda applied to Howard University Hospital’s residency program.      Admitted.               n/a
     March 16, 2007 Letter to John-Charles Akoda from Howard
     University Hospital, attached as Exhibit 36.
72   Howard sent Akoda a letter of acceptance dated March 16, 2007. Ex.    Admitted.               n/a
     36.



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                                                                            Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
73   Akoda admitted to providing Howard a false permanent resident card     Admitted.              n/a
     in the name “N. Akoda, John Charles.” Ex. 15 at 10.
74   Akoda began Howard’s residency program on July 1, 2007 and             Admitted.              n/a
     completed it on June 30, 2011. Howard University Hospital
     Certificate, attached as Exhibit 37.
75   The Virginia Department of Health Professions licensed Akoda to        Admitted.              n/a
     practice medicine in the Commonwealth of Virginia in 2011.
     Virginia License Suspension, attached as Exhibit 38.
76   The Maryland State Board of Physicians licensed Akoda to practice      Admitted.              n/a
     medicine in the state of Maryland in September of 2011. Ex. 25 at 5.
77   On his application for medical licensure in Maryland, Akoda omitted    Admitted.              n/a
     his residency at JSMC. Akoda Md. Bd. of Physicians App., attached
     as Exhibit 39, at 5.
78   Akoda’s application for medical licensure in Maryland required that    The application is a   Plaintiffs’ response does not
     if his name was “not written the same way on all documents,” he had    document which         dispute ECFMG’s
     to “submit documentation to explain how and why [his] name differs     speaks for itself.     Paragraph 78 and does not
     and submit one of the following documents to support the name                                 create a genuine issue of
     change: Passport, INS card, birth certificate, court document,                                material fact with respect
     marriage license, court decree.” Ex. 39 at 4.                                                 thereto.
79   The ECFMG Certification status report for Dr. Akoda received by        [No answer.]           Plaintiffs failed to respond
     the Maryland Board of Physicians in 2011 stated that its purpose is                           to ECFMG’s Paragraph 79
     to “indicate whether this individual is certified by ECFMG” and that                          and therefore waived any
     ECFMG “verified medical school credentials directly with the                                  objection or denial. There
     medical schools[.]” ECFMG Certification Status Rep., attached as                              is no genuine issue of
     Exhibit 40.                                                                                   material fact with respect to
                                                                                                   this paragraph.
80   Akoda’s name appeared differently on his medical licensure             [No answer.]           Plaintiffs failed to respond
     application (“John Charles Nosa Akoda” and “Charles John Nosa                                 to ECFMG’s Paragraph 79
     Akoda”), ECFMG Certificate (“John Nosa Akoda”), his medical                                   and therefore waived any
     school diploma (“Johnbull Enosakhare Akoda”), and his residency                               objection or denial. There is
                                                                                                   no genuine issue of material


                                                            37
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                           ECFMG’s Statement of
                                                                                Plaintiffs’ Response          ECFMG’s Reply
                          Undisputed Material Facts
        program certificate of completion (“John-Charles Nosa Akoda”). Ex.                              fact with respect to this
        25 at 3 n.4; Ex. 24; Ex. 23; Ex. 37.                                                            paragraph.
81      Akoda admitted to providing a false permanent resident card and a       Admitted.               n/a
        false Maryland driver’s license in connection with:
81.a.   His application for medical licensure in Maryland. Ex. 15 at 10.        Admitted.               n/a
81.b.   His application for privileges at Prince George’s Hospital Center.      Admitted.               n/a
        Ex. 15 at 9.
82      The Maryland Board of Physicians was aware of the allegations that      Objection. There is     See ECFMG’s response
        Akoda had used other names and may have misrepresented his              no evidence             regarding the admissibility
        identity in 2014. Email Correspondence Between ECFMG and Md.            authenticating this     of Exhibit 41 in the
        Bd. of Physicians, attached as Exhibit 41.                              letter. Furthermore,    preliminary statement
                                                                                it is hearsay and is    preceding this chart.
                                                                                inadmissible.
83      Akoda’s Maryland medical license was not revoked until July 10,         Admitted.               n/a
        2017. Ex. 25 at 8.
84      The grounds for revocation of Akoda’s medical license were that he      Admitted.               n/a
        plead guilty in 2016 to Social Security fraud, which constituted a
        crime of moral turpitude requiring revocation. Ex. 25 at 5–6.
85      Akoda renewed his Maryland medical license through September 30,        Admitted.               n/a
        2016, when it expired. Ex. 25 at 3.
86      The Virginia Department of Health Professions revoked Akoda’s           Admitted.               n/a
        Virginia medical license on April 25, 2017 because of his criminal
        conviction. Ex. 38.
87      Prince George’s Hospital Center awarded Akoda medical privileges        Admitted.               n/a
        to treat patients in 2012. Ex. 15 at 9.
88      In a previous lawsuit, Plaintiff Evans claimed that Dimensions          Objection. The          The information in
        Healthcare, which operated Prince George’s Hospital, could have         quoted language is      ECFMG’s Paragraph 88 and
        “avoided all injuries, damages, . . . and disability” suffered by Ms.   from a Complaint        ECFMG Ex. 42 is relevant
        Evans:                                                                  which was dismissed     and admissible. It is from a
                                                                                without prejudice. It   sworn statement of a
                                                                                                        Plaintiff and pertains


                                                                38
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                         ECFMG’s Statement of
                                                                              Plaintiffs’ Response          ECFMG’s Reply
                       Undisputed Material Facts
     [Dimensions] and its duly authorized agents, apparent agents,            is irrelevant and       directly to the subject of this
     servant and/or employees failed to perform an appropriate and            inadmissible.           lawsuit. See Fed. R. Evid.
     proper investigation and background check of Akoda before granting                               401. Also see ECFMG’s
     him privileges to act as a practitioner and specialist in obstetrics and                         response regarding the
     gynecology. Had they done so, as was required, Akoda’s fraudulent                                admissibility of Exhibit 42
     conduct would have been discovered, and he would have been                                       in the preliminary statement
     precluded from seeing patients at [Dimensions’] institutions or                                  preceding this chart.
     entities, thereby avoiding all of the injuries, damages (economic and
     non-economics) and disability suffered by this Plaintiff.

     Evans Dimensions Rog. Answers, attached as Exhibit 42, at 2-3.
89   In a previous lawsuit, Plaintiffs offered an expert in health care       Objection. The          The information in
     administration, credentialing, and privileging who believed              quoted language is      ECFMG’s Paragraph 89 and
     Dimensions Healthcare was responsible for Plaintiffs’ injuries,          from a prior case       ECFMG Ex. 43 is relevant
     damages and permanent disability:                                        which was dismissed     and admissible. It is an
                                                                              without prejudice. It   expert report offered by
     [Dimensions] breached the applicable standards of administrative         is irrelevant and       Plaintiffs in another lawsuit
     care by negligently failing to use required and reasonable care to       inadmissible.           and pertains directly to the
     investigate, credential, grant privileges, monitor and supervise their                           subject of this lawsuit. See
     medical personnel including, but not limited to, Akoda and to                                    Fed. R. Evid. 401. Also see
     discover, stop and report any professional misconduct of which they                              ECFMG’s response
     should have known. As a direct and proximate result of the                                       regarding the admissibility
     Defendants' continuing negligence, the Claimants, and others                                     of Exhibit 43 in the
     similarly situated, suffered physical pain, emotional anguish, and                               preliminary statement
     damages as well as permanent disability. Had [Dimensions]                                        preceding this chart. In
     complied with the applicable standards of administrative care the                                addition, ECFMG has
     Claimants, and others similarly situated, would not have suffered                                designated this testimony
     their injuries, damages and permanent disability.                                                pursuant to Federal Rule of
                                                                                                      Civil Procedure 26(a)(2)(C)
     Bojko Rep., attached as Exhibit 43, at 3.                                                        in its October 14, 2019




                                                               39
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                      ECFMG’s Statement of
                                                                            Plaintiffs’ Response         ECFMG’s Reply
                     Undisputed Material Facts
                                                                                                   Disclosure of Rebuttal
                                                                                                   Expert Testimony.
90   Akoda also worked with medical practices run by Dr. Abdul              Objection. This        This information is plainly
     Chaudry and Dr. Javaka Moore. Evans Supp. Answers to Rogs.,            information is         relevant, as some of the
     attached as Exhibit 44 at Rog. 1; Powell Supp. Answers to Rogs.,       irrelevant and         Plaintiffs came to be treated
     attached as Exhibit 45 at Rog. 1; Riggins Supp. Answers to Rogs.,      inadmissible.          by Akoda through the
     attached as Exhibit 46, at Rog. 1; & Russell Supp. Answers to Rogs.,                          practices run by Dr.
     attached as Exhibit 47, at Rog. 1.                                                            Chaudry and Dr. Moore.
                                                                                                   See Fed. R. Evid. 401.
                                                                                                   Furthermore, ECFMG
                                                                                                   Exhibits 44-47 are
                                                                                                   Plaintiffs’ sworn
                                                                                                   supplemental answers to
                                                                                                   ECFMG’s interrogatories
                                                                                                   from this case. Also see
                                                                                                   ECFMG’s response
                                                                                                   regarding the admissibility
                                                                                                   of Exhibits 44-47 in the
                                                                                                   preliminary statement
                                                                                                   preceding this chart.
91   In 2012, Akoda submitted a Medicare Enrollment Application to the      Admitted.              n/a
     Centers for Medicare and Medicaid Services (“CMS”). Ex. 15 at 10.
92   CMS denied the application based, in part, on CMS’s determination      Admitted.              n/a
     that Akoda did not provide an accurate Social Security number. Ex.
     15 at 10.
93   American Board of Obstetrics and Gynecology (“ABOG”) certified         Admitted.              n/a
     Akoda on January 31, 2014. ABOG Board Letter to Akoda, attached
     as Exhibit 48.
94   ABOG waited until January 2018 to revoke his diplomate status.         Admitted.              n/a
     Aug. 30, 2017 ABOG Letter, attached as Exhibit 49.



                                                             40
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                      ECFMG’s Statement of
                                                                         Plaintiffs’ Response         ECFMG’s Reply
                     Undisputed Material Facts
95   In 2014, ECFMG received a subpoena from a U.S. Attorney’s office    Objection. The          This information is relevant
     regarding Akoda. 2014 Email Correspondence between ECFMG and        exhibits referenced     and admissible. See
     Md. Bd. of Physicians, attached as Exhibit 41.                      are not authenticated   ECFMG’s response
                                                                         and are hearsay and     regarding the admissibility
                                                                         inadmissible.           of Exhibit 41 in the
                                                                                                 preliminary statement
                                                                                                 preceding this chart. There
                                                                                                 is additional record
                                                                                                 evidence on this point as
                                                                                                 well. See, e.g., Oct. 1, 2014
                                                                                                 Subpoena, attached as
                                                                                                 ECFMG Reply Ex. 4.
96   ECFMG cooperated with the investigation and followed instructions   Objection. The          This information is relevant
     from federal authorities not to take adverse action against Akoda   exhibits referenced     and admissible. See
     while the investigation was ongoing. Ex. 41.                        are not authenticated   ECFMG’s response
                                                                         and are hearsay and     regarding the admissibility
                                                                         inadmissible.           of Exhibit 41 in the
                                                                                                 preliminary statement
                                                                                                 preceding this chart. There
                                                                                                 is additional record
                                                                                                 evidence on this point as
                                                                                                 well. See, e.g., Oct. 1, 2014
                                                                                                 Subpoena, attached as
                                                                                                 ECFMG Reply Ex. 4.
97   In 2014, ECFMG worked together with the Maryland Board of           Objection. The          This information is relevant
     Physicians to assist their investigation. Ex. 41.                   exhibits referenced     and admissible. See
                                                                         are not authenticated   ECFMG’s response
                                                                         and are hearsay and     regarding the admissibility
                                                                         inadmissible.           of Exhibit 41 in the
                                                                                                 preliminary statement
                                                                                                 preceding this chart.


                                                           41
                                                                                                                        JA4611
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                        ECFMG’s Statement of
                                                                             Plaintiffs’ Response          ECFMG’s Reply
                      Undisputed Material Facts
98    In March 2016, Prince George's County Police Department                Objection. The          This information is relevant
      contacted ECFMG about Akoda. Mar. 2016 ECFMG Email Chain,              exhibits referenced     and admissible. See
      attached as Exhibit 50.                                                are not authenticated   ECFMG’s response
                                                                             and are hearsay and     regarding the admissibility
                                                                             inadmissible.           of Exhibit 50 in the
                                                                                                     preliminary statement
                                                                                                     preceding this chart.
99    ECFMG cooperated with the Prince George’s County Police                Objection. The          This information is relevant
      Department’s investigation and followed additional instructions from   exhibits referenced     and admissible. See
      law enforcement not to impede the investigation and not to take        are not authenticated   ECFMG’s response
      adverse action against Akoda while the investigation was ongoing.      and are hearsay and     regarding the admissibility
      Nov. 2016 Email Chain, attached as Exhibit 51.                         inadmissible.           of Exhibit 51 in the
                                                                                                     preliminary statement
                                                                                                     preceding this chart.
100   On November 15, 2016, Akoda pled guilty to misuse of a Social          Admitted.               n/a
      Security number and stipulated that he and Oluwafemi Charles
      Igberase were the same person. Ex. 15.
101   After Akoda pled guilty, ECFMG consolidated the Igberase and           Admitted.               n/a
      Akoda files and revoked the ECFMG Certificate issued to John Nosa
      Akoda. March 1, 2017 ECFMG Notice, attached as
      Exhibit 52.
102   Plaintiff Desire Evans is a resident of Waldorf, Maryland. Evans       Admitted.               n/a
      Dep., attached as Exhibit 53, at 14:22-24.
103   Ms. Evans gave birth to her son on March 17, 2016 at Prince            Admitted.               n/a
      George’s Hospital in Maryland. Ex. 53 at 35:22-25, 42:20-23.
104   Ms. Evans did not know which doctor would be there for her             Admitted.               n/a
      induction. Ex. 53 at 42:4-13; 83:4-20.
105   Ms. Evans consented to undergoing treatment by Akoda. March 16,        Denied. The consent     Plaintiffs’ response does not
      2016 Evans Consent Forms, attached as Exhibit 54.                      was invalid due to      create a genuine issue of
                                                                             Akoda’s fraudulent      material fact with respect to
                                                                             conduct.                ECFMG’s Paragraph 105.


                                                             42
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                        ECFMG’s Statement of
                                                                                Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
                                                                                                       Plaintiffs do not dispute that
                                                                                                       at the time of treatment by
                                                                                                       Akoda, Ms. Evans gave her
                                                                                                       consent. Plaintiffs are
                                                                                                       attempting to argue the legal
                                                                                                       significance of that fact, but
                                                                                                       it does not change the truth
                                                                                                       of the fact stated therein.
106   Ms. Evans did not conduct any research into the credentials of her        Admitted.              n/a
      primary OB/GYN doctor, Dr. Moore or the physicians at Dr.
      Moore’s practice. Ex. 53 at 44:20-45:9, 45:23-46:4.
107   Ms. Evans did not ask Akoda about his credentials or professional         Admitted.              n/a
      experience. Ex. 53 at 86:12-19, 87:2-5.
108   Akoda treated Ms. Evans while she was in labor and then performed         Admitted.              n/a
      a C-section on her. Ex. 53. at 87:6-23, 93:18-19.
109   Ms. Evans’ son was delivered healthy. Ex. 53 at 95:16-17.                 Admitted.              n/a
110   Ms. Evans testified that Akoda used language with her that she            Admitted.              n/a
      found “inappropriate,” including calling her “baby” and “mama.”
      Ex. 53 at 158:158:4-11.
111   Ms. Evans claims that Akoda performed “intrusive pelvic                   Admitted.              n/a
      examinations” on her. Evans Rogs., attached as Exhibit 55, at 7.
112   Ms. Evans alleges that Akoda “was, like, fondling my clitoris”            Admitted.              n/a
      during her labor and that during her labor, she felt that he mistreated
      her. Ex. 53 at 131:20-132:3, 137:22-138:3; Ex. 55 at 7.
113   Ms. Evans testified that her husband questioned Akoda about how he        Admitted.              n/a
      touched Ms. Evans. Ex. 53 at 133:10-14.
114   Ms. Evans testified that she discussed Akoda’s conduct with her           Admitted.              n/a
      husband and her mother shortly after the birth. Ex. 53 at 138:6-17.
115   Ms. Evans claims that her husband and mother were both in the             Admitted.              n/a
      room with her while Akoda treated her. Ex. 53 at 132:7-12.



                                                                43
                                                                                                                              JA4613
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                         ECFMG’s Statement of
                                                                              Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
116   [See ECFMG’s Statement of Undisputed Material Facts filed under         Redacted.              ECFMG served Plaintiffs an
      seal, ECF 85, at ¶ 116.]                                                                       unredacted version of its
                                                                                                     Statement of Undisputed
                                                                                                     Material Facts. Plaintiffs
                                                                                                     have failed to file or provide
                                                                                                     ECFMG with an unsealed
                                                                                                     or unredacted copy of their
                                                                                                     Response. Plaintiffs have
                                                                                                     therefore failed to provide
                                                                                                     an answer to ECFMG’s
                                                                                                     Paragraph 116 and has
                                                                                                     waived any objection or
                                                                                                     denial; Plaintiffs’ response
                                                                                                     thus does not create a
                                                                                                     genuine issue of material
                                                                                                     fact with respect to this
                                                                                                     paragraph.
117   Ms. Evans learned of Akoda’s identity after hearing a radio             Admitted.              n/a
      advertisement from a law firm in 2018. Ex. 53 at 73:12-74:13.
118   Ms. Evans never sought treatment from a psychiatrist or                 Admitted.              n/a
      psychologist prior to the birth of her son. Ex. 53 at 66:4-13.
119   Ms. Evans has seen a doctor for her social anxiety since the birth of   Admitted.              n/a
      her son, and a physician’s assistant recorded that Ms. Evans was
      experiencing “depression/anxiety” and “potential postpartum.” Ex.
      53 at 64:14-65:25, 105:24–106:5.
120   Ms. Evans denied feeling anxious and depressed for most of her life,    Admitted.              n/a
      just “normal anxious.” Ex. 53 at 112:19-113:5.
121   Ms. Evans claims that she is afraid to see a doctor, does not know      Admitted.              n/a
      who to trust, and her trust in the medical profession has diminished.
      Ex. 53 at 165:8-21.



                                                               44
                                                                                                                            JA4614
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                          ECFMG’s Statement of
                                                                                Plaintiffs’ Response         ECFMG’s Reply
                        Undisputed Material Facts
122   None of Ms. Evans’ medical records reference Akoda. Evans Dep.            Admitted.              n/a
      Ex. 3, attached as Exhibit 56.
123   Ms. Evans had no knowledge of ECFMG when she was treated by               Admitted.              n/a
      Akoda. Ex. 53 at 82:20-22.
124   Ms. Evans first learned of ECFMG from her lawyers. Ex. 53 at              Admitted.              n/a
      70:24-71:17.
125   Ms. Evans believes that ECFMG’s purpose is “to verify                     Admitted.              n/a
      identification documentation,” not foreign medical diplomas, and
      that ECFMG is responsible for verifying IMGs’ Social Security
      numbers, birth certificates, green cards, state medical licenses, board
      certifications, and any other “piece of identifying information about
      a foreign medical graduate.” Ex. 53 at 80:14-82:4.
126   After conducting Internet research, Ms. Evans believed ECFMG              Admitted.              n/a
      “was some kind of credentialing company or something” and was
      not “100 perfect sure of the nature of the company.” Ex. 53 at 72:18-
      19.
127   Dr. Gladys Fenichel examined Ms. Evans on September 9, 2019.              Admitted.              n/a
      Fenichel Rep. on Evans, attached as Exhibit 57, at 1.
128   Dr. Fenichel did not find Ms. Evans’ psychiatric conditions of major      Admitted.              n/a
      depression and panic disorder to be related to the allegations she
      made in the complaint against ECFMG. Ex. 57 at 8.
129   Dr. Christine Tellefsen examined Ms. Evans on September 16, 2019.         Admitted.              n/a
      Tellefsen Rep., attached as Exhibit 58, at 4.
130   Dr. Tellefsen concluded that Ms. Evans’ conditions “is complicated        Admitted.              n/a
      by a number of other factors in her life.” Ex. 58 at 4.
131   Dr. Tellefsen also concluded that Ms. Evans likely has a                  Admitted.              n/a
      “pseudotumor cerebri,” causing her headaches and poor
      concentration. Ex. 58 at 4.
132   Dr. Tellefsen found that Ms. Evans likely has Mood Disorder and           Admitted.              n/a
      Adjustment Disorder with Mixed Disturbance of Behavior. Ex. 58 at
      5.


                                                                45
                                                                                                                         JA4615
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                         ECFMG’s Statement of
                                                                               Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
133   Plaintiff Elsa Powell is a resident of Upper Marlboro, Maryland.         Admitted.              n/a
      Powell Dep., attached as Exhibit 59, at 20:1-3.
134   Ms. Powell gave birth to her son on September 17, 2014. Ex. 59 at        Admitted.              n/a
      22:4.
135   Ms. Powell was originally supposed to be seen by Dr. Chaudry at his      Admitted.              n/a
      practice, but he was unavailable and she saw Akoda instead. Ex. 59
      at 40:7-12.
136   Ms. Powell consented to being treated by Akoda at Dr. Chaudry’s          Denied. The consent    Plaintiffs’ response does not
      practice and at Prince George’s Hospital in Maryland during her          was invalid due to     create a genuine issue of
      pregnancy. Sep. 17, 2014 Powell Consent Forms, attached as 60; Ex.       Akoda’s fraudulent     material fact with respect to
      59 at 40:7-12.                                                           conduct.               ECFMG’s Paragraph 136.
                                                                                                      Plaintiffs do not dispute that
                                                                                                      at the time of treatment by
                                                                                                      Akoda, Ms. Powell gave her
                                                                                                      consent. Plaintiffs are
                                                                                                      attempting to argue the legal
                                                                                                      significance of that fact, but
                                                                                                      it does not change the truth
                                                                                                      of the fact stated therein.
137   Ms. Powell regularly saw Akoda starting in April of 2014, during her     Admitted.              n/a
      labor on September 17, 2014 and for post-natal care through January
      of 2015. Ex. 59 at 38:20-39:1-2, 39:21-40:16; Ex. 45 at 2, 8.
138   Ms. Powell testified that Akoda was “flirtatious” towards Ms.            Admitted.              n/a
      Powell. Ex. 59 at 51:16-19.
139   Ms. Powell testified that she requested that a nurse be present during   Admitted.              n/a
      her appointments with Dr. Akoda. Ex. 59 at 51:16-19.
140   Ms. Powell testified that Akoda made lewd comments about her             Admitted.              n/a
      breasts. Ex. 59 at 51:21-25.
141   Ms. Powell claims Akoda performed “intrusive pelvic exams” on            Admitted.              n/a
      her. Powell Rog., attached as Exhibit 61, at 7.



                                                               46
                                                                                                                             JA4616
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                          ECFMG’s Statement of
                                                                              Plaintiffs’ Response         ECFMG’s Reply
                        Undisputed Material Facts
142   Akoda aided Ms. Powell in the delivery of her son. Ex. 59 at 44:11-     Admitted.              n/a
      14.
143   Ms. Powell’s son had no complications during delivery. Ex. 59 at        Admitted.              n/a
      48:18-20.
144   After the birth of her son, Ms. Powell experienced heavy bleeding       Admitted.              n/a
      while at the hospital, and Akoda took her into surgery. Ex. 59 at
      45:12-46:7.
145   Ms. Powell believes that before taking her into surgery, Akoda told     Admitted.              n/a
      her “I’m sorry, I should have detected it sooner, I’m so sorry, we’re
      getting the O.R. ready for you.” Ex. 59 at 45:12-46:2.
146   Ms. Powell recovered well from the emergency surgery that Akoda         Admitted.              n/a
      performed on her after she delivered her son. Ex. 59 at 47:20-24.
147   Ms. Powell claimed she suffered from emotional anguish, fear, and       Admitted.              n/a
      anxiety from learning that Akoda was not properly credentialed. Ex.
      45 at 3.
148   Ms. Powell claims she does not “have a peace of mind” since finding     Admitted.              n/a
      out Akoda was not who he said he was. Ex. 59 at 98:20-24.
149   Ms. Powell has never sought treatment from a psychologist,              Admitted.              n/a
      psychiatrist, or counselor and did not seek any treatment after
      hearing about the charges brought against Akoda. Ex. 59 at 32:10-
      17, 99:10-12.
150   Ms. Powell has seen doctors since finding out about Akoda’s             Admitted.              n/a
      identity. Ex. 59 at 25:22-24.
151   Ms. Powell has not sought treatment from any health care provider       Admitted.              n/a
      for alleged injuries related to this lawsuit. Ex. 45 at 7.
152   Ms. Powell contends that PGHC was negligent and should have             Objection. This        ECFMG’s Paragraph 152
      discovered Dr. Akoda’s alias sooner. Powell Dimensions Rog.,            statement is           and ECFMG Ex. 62 are
      attached as Exhibit 62, at 3.                                           irrelevant and         relevant and admissible as
                                                                              inadmissible.          they pertain directly to the
                                                                                                     subject of this lawsuit and
                                                                                                     whom Plaintiffs blame for


                                                              47
                                                                                                                            JA4617
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                       ECFMG’s Statement of
                                                                            Plaintiffs’ Response         ECFMG’s Reply
                      Undisputed Material Facts
                                                                                                   their alleged injuries. See
                                                                                                   Fed. R. Evid. 401. See
                                                                                                   ECFMG’s response
                                                                                                   regarding the admissibility
                                                                                                   of Exhibit 62 in the
                                                                                                   preliminary statement
                                                                                                   preceding this chart.
153   Ms. Powell first learned about the social security fraud charged      Admitted.              n/a
      against Akoda in 2017. Powell Dep. at 63:12-17.
154   Ms. Powell had no knowledge of ECFMG prior to this lawsuit. Ex.       Admitted.              n/a
      45 at 4.
155   Ms. Powell learned about ECFMG from her attorney. Ex. 59 at 90:9-     Admitted.              n/a
      16.
156   Ms. Powell believes ECFMG licenses foreign medical doctors to         Admitted.              n/a
      practice medicine in the United States. Ex. 59 at 91:6-11.
157   Ms. Powell testified that she believed it was wrong for ECFMG to      Admitted.              n/a
      provide Akoda with a license to practice medicine. Ex. 59 at 93:18-
      23.
158   Ms. Powell doubts Akoda had medical training. Ex. 59 at 80:5-7.       Admitted.              n/a
159   Dr. Fenichel examined Ms. Powell on September 9, 2019. Fenichel       Admitted.              n/a
      Rep. on Powell, attached as Exhibit 63, at 1.
160   Dr. Fenichel did not find Ms. Powell to present with any symptoms     Admitted.              n/a
      compatible with a psychiatric disorder causally related to her
      allegations in the complaint against ECFMG. Ex. 63 at 6.
161   Dr. Tellefsen examined Ms. Powell on September 13, 2019. Ex. 58       Admitted.              n/a
      at 3.
162   Dr. Tellefsen diagnosed Ms. Powell with Adjustment Disorder with      Admitted.              n/a
      Anxiety. Ex. 58 at 4.
163   Plaintiff Jasmine Riggins is a resident of Washington, D.C. Riggins   Admitted.              n/a
      Dep., attached as Exhibit 64, at 20:1-3.



                                                             48
                                                                                                                         JA4618
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                         ECFMG’s Statement of
                                                                            Plaintiffs’ Response         ECFMG’s Reply
                        Undisputed Material Facts
164   Ms. Riggins gave birth to her son at Prince George’s Hospital in      Admitted.              n/a
      Maryland on March 18, 2013. Riggins Rog. Answers, attached as
      Exhibit 65, at 2.
165   Ms. Riggins chose to be treated by Dr. Abdul Chaudry’s practice,      Admitted.              n/a
      with whom Akoda worked at Prince George’s Hospital. Ex. 46 at 2-
      3.
166   Ms. Riggins consented to treatment by Akoda. Riggins Consent          Denied. The consent    Plaintiffs’ response does not
      Forms, attached as Exhibit 66.                                        was invalid due to     create a genuine issue of
                                                                            Akoda’s fraudulent     material fact with respect to
                                                                            conduct.               ECFMG’s Paragraph 166.
                                                                                                   Plaintiffs do not dispute that
                                                                                                   at the time of treatment by
                                                                                                   Akoda, Ms. Riggins gave
                                                                                                   her consent. Plaintiffs are
                                                                                                   attempting to argue the legal
                                                                                                   significance of that fact, but
                                                                                                   it does not change the truth
                                                                                                   of the fact stated therein.
167   Akoda performed a C-section on Ms. Riggins on March 18, 2013.         Admitted.              n/a
      Ex. 46 at 3.
168   Ms. Riggins learned of Akoda’s identity in July of 2017. Ex. 64 at    Admitted.              n/a
      84:16-85:5.
169   Ms. Riggins claims to have experienced emotional distress only once   Admitted.              n/a
      she found about Akoda being a “fake doctor.” Ex. 64 at 55:19-24.
170   Ms. Riggins testified that she feels angry, sad, embarrassed, and     Admitted.              n/a
      ashamed because of Akoda’s conduct. Ex. 64 at 57:8-13.
171   Ms. Riggins has not sought medical attention for any of her alleged   Admitted.              n/a
      injuries. Ex. 64. At 86:14-87:11.
172   Ms. Riggins has never been diagnosed with depression, post-           Admitted.              n/a
      traumatic stress disorder, a sleeping disorder or any psychiatric



                                                             49
                                                                                                                          JA4619
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                         ECFMG’s Statement of
                                                                             Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
      disorder. Fenichel Rep. on Riggins, attached as Exhibit 67 at 3;
      Riggins Dimensions RFA, attached as Exhibit 68 at 4.
173   Since being treated by Akoda, Ms. Riggins does not typically feel      Admitted.              n/a
      anxious, worried, scared, or panicky. Ex. 64 at 60:7-9; Ex. 68 at 8.
174   Ms. Riggins does not claim Akoda physically injured her. Ex. 64 at     Admitted.              n/a
      56:4-6.
175   Ms. Riggins has not suffered physical distress from learning about     Admitted.              n/a
      Akoda’s guilty plea. Ex. 64 at 64:1-7.
176   Ms. Riggins does not have a depressed mood or suicidal thoughts.       Admitted.              n/a
      Ex. 64 at 59:14-22.
177   Ms. Riggins believed Dimensions’ negligence “was the sole and          Objection. This        ECFMG’s Paragraph 77 and
      proximate cause of [her] injuries”. Ex. 64 at 123:7-15; Dimensions     statement is           ECFMG Ex. 69 are relevant
      First Amended Compl., attached as Exhibit 69, ¶ 81.                    irrelevant and         and admissible as they
                                                                             inadmissible.          pertain directly to the
                                                                                                    subject of this lawsuit and
                                                                                                    whom Plaintiffs blame for
                                                                                                    their alleged injuries. See
                                                                                                    Fed. R. Evid. 401. See
                                                                                                    ECFMG’s response
                                                                                                    regarding the admissibility
                                                                                                    of Exhibit 69 in the
                                                                                                    preliminary statement
                                                                                                    preceding this chart.
178   Ms. Riggins doubts whether PGHC performed a satisfactory               Objection. This        ECFMG’s Paragraph 178
      background check on Akoda. Riggins Dimensions Dep., attached as        statement is           and ECFMG Ex. 70 are
      Exhibit 70, at 78:2-8.                                                 irrelevant and         relevant and admissible as
                                                                             inadmissible.          they pertain directly to the
                                                                                                    subject of this lawsuit and
                                                                                                    whom Plaintiffs blame for
                                                                                                    their alleged injuries. See
                                                                                                    Fed. R. Evid. 401. See


                                                               50
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                        ECFMG’s Statement of
                                                                                 Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
                                                                                                        ECFMG’s response
                                                                                                        regarding the admissibility
                                                                                                        of Exhibit 70 in the
                                                                                                        preliminary statement
                                                                                                        preceding this chart.
179   Ms. Riggins has seen doctors since finding out about Akoda’s               Admitted.              n/a
      identity. Ex. 64 at 103:9-104:18.
180   Dr. Fenichel examined Ms. Riggins on September 20, 2019. Fenichel          Admitted.              n/a
      Rep. on Riggins, attached as Exhibit 71, at 1.
181   Dr. Fenichel did not find Ms. Riggins to have any psychiatric              Admitted.              n/a
      disorder causally related to the allegations in the complaint. Ex. 71 at
      4.
182   Ms. Riggins believes the Maryland Board of Physicians, the                 Objection. This        ECFMG’s Paragraph 182
      American Board of Obstetricians and Gynecologists, and Dr.                 statement is           and ECFMG Ex. 64 are
      Chaudry are also responsible for the injuries she has alleged. Ex. 64      irrelevant and         relevant and admissible as
      at 56:7-57:2.                                                              inadmissible.          they pertain directly to the
                                                                                                        subject of this lawsuit and
                                                                                                        whom Plaintiffs blame for
                                                                                                        their alleged injuries. See
                                                                                                        Fed. R. Evid. 401. See
                                                                                                        ECFMG’s response
                                                                                                        regarding the admissibility
                                                                                                        of Exhibit 64 in the
                                                                                                        preliminary statement
                                                                                                        preceding this chart.
183   Ms. Riggins had never heard of ECFMG until her lawyers informed            Admitted.              n/a
      her of the existence of the organization. Ex. 64 at 130:18-131:1.
184   Ms. Riggins believed ECFMG administers exams and licenses                  Admitted.              n/a
      foreign doctors to practice medicine in the United States. Ex. 64 at
      26:17-24, 27:20-24.



                                                                 51
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                         ECFMG’s Statement of
                                                                             Plaintiffs’ Response         ECFMG’s Reply
                       Undisputed Material Facts
185   Ms. Riggins believes ECFMG should “[b]e more careful about who         Admitted.              n/a
      they certify.” Ex. 64 at 138:17-23.
186   Ms. Riggins testified that it might make a difference to her to know   Admitted.              n/a
      that ECFMG had cooperated with the U.S. Attorney’s Office in its
      case against Akoda. Ex. 64 at 141;18-22.
187   Plaintiff Monique Russell is a resident of Annapolis, Maryland.        Admitted.              n/a
      Russell Dep., attached as Exhibit 72, at 10:24-25.
188   Ms. Russell gave birth to her son on May 25, 2016 at Prince            Admitted.              n/a
      George’s Hospital. Ex. 72 at 12:23-25, 32:24-25.
189   Ms. Russell’s primary OB/GYN during her pregnancy was Dr.              Admitted.              n/a
      Waldrop from Dr. Moore’s practice. Ex. 72 at 32:11-25, 34:19-24.
190   Ms. Russell knew before her delivery that Dr. Waldrop might be         Admitted.              n/a
      unavailable at the time and that her baby might be delivered by
      Akoda. Ex. 72 at 37:23-38:18.
191   Ms. Russell consented to being seen by Akoda if Dr. Waldrop were       Denied. The consent    Plaintiffs’ response does not
      unavailable. Russell Consent Forms, attached as Exhibit 73; Ex. 72     was invalid due to     create a genuine issue of
      at 38:12-19.                                                           Akoda’s fraudulent     material fact with respect to
                                                                             conduct.               ECFMG’s Paragraph 191.
                                                                                                    Plaintiffs do not dispute that
                                                                                                    at the time of treatment by
                                                                                                    Akoda, Ms. Russell gave
                                                                                                    her consent. Plaintiffs are
                                                                                                    attempting to argue the legal
                                                                                                    significance of that fact, but
                                                                                                    it does not change the truth
                                                                                                    of the fact stated therein.
192   Akoda first treated Ms. Russell when she was in labor. Ex. 72 at       Admitted.              n/a
      37:5-9.
193   Akoda helped deliver Ms. Russell’s son in 2016 via an unplanned C-     Admitted.              n/a
      section. Ex. 72 at 12:23-25, 37:5-9, 41:4-14.



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                                                                                                                           JA4622
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                       ECFMG’s Statement of
                                                                          Plaintiffs’ Response         ECFMG’s Reply
                      Undisputed Material Facts
194   Ms. Russell consented to the C-section that Akoda performed. Ex. 72 Denied. The consent    Plaintiffs’ response does not
      at 45:1-3.                                                          was invalid due to     create a genuine issue of
                                                                          Akoda’s fraudulent     material fact with respect to
                                                                          conduct.               ECFMG’s Paragraph 194.
                                                                                                 Plaintiffs do not dispute that
                                                                                                 at the time of treatment by
                                                                                                 Akoda, Ms. Russell gave
                                                                                                 her consent. Plaintiffs are
                                                                                                 attempting to argue the legal
                                                                                                 significance of that fact, but
                                                                                                 it does not change the truth
                                                                                                 of the fact stated therein.
195   Ms. Russell described her recovery from the C-section performed by        Admitted.        n/a
      Akoda as “minor.” Fenichel Rep. on Russell, attached as Exhibit 74,
      at 7.
196   Ms. Russell believed that the course of treatment from Akoda “really      Admitted.        n/a
      was best/necessary.” Russell Facebook comments, attached as
      Exhibit 75, at 4.
197   Ms. Russell alleges that Akoda’s conduct has exacerbated her innate       Admitted.        n/a
      trust issues. Ex. 47 at 2-3.
198   Ms. Russell claimed she experienced anxiety upon learning of              Admitted.        n/a
      Akoda’s identity. Russell Dimensions RFA, attached as Exhibit 76,
      at 8.
199   Ms. Russell experienced no atypical symptoms after her C-section,         Admitted.        n/a
      and her son has had no health problems. Ex. 72 at 53:15-21.
200   Ms. Russell has not sought treatment from a psychiatrist or               Admitted.        n/a
      psychologist at any point in her adult life, including before and after
      Akoda delivered her baby. Ex. 72 at 69:21-70:5.
201   In 2018, Ms. Russell gave no indication of depression, anxiety,           Admitted.        n/a
      suicidal thoughts, or other mental health issues to her doctor. Ex. 72
      at 98:22-99:8.


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                                                                                                                        JA4623
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                          ECFMG’s Statement of
                                                                             Plaintiffs’ Response         ECFMG’s Reply
                         Undisputed Material Facts
202   Ms. Russell does not claim to suffer from post-traumatic stress        Admitted.              n/a
      disorder. Ex. 72 at 121:23-25; Ex. 76 at 4-6.
203   Ms. Russell has never been formally diagnosed with depression,         Admitted.              n/a
      anxiety, a permanent disability, or a sleeping disorder. Ex. 72 at
      122:1-123:18; Ex. 76 at 6-7, 11.
204   In a previous lawsuit, Ms. Russell admitted to not having depression   Objection. This        ECFMG’s Paragraph 204
      as a result of learning about Akoda’s identity. Ex. 76 at 6-7.         statement is           and ECFMG Ex. 76 are
                                                                             irrelevant and         relevant and admissible as
                                                                             inadmissible.          they pertain directly to the
                                                                                                    subject of this lawsuit and
                                                                                                    the injuries alleged by Ms.
                                                                                                    Russell. See Fed. R. Evid.
                                                                                                    401. See ECFMG’s
                                                                                                    response regarding the
                                                                                                    admissibility of Exhibit 76
                                                                                                    in the preliminary statement
                                                                                                    preceding this chart.
205   In a previous lawsuit, Ms. Russell admitted to not having a physical   Objection. This        ECFMG’s Paragraph 205
      injury or suffering from physical pain as a result of learning about   statement is           and ECFMG Ex. 76 are
      Akoda’s identity. Ex. 76 at 9.                                         irrelevant and         relevant and admissible as
                                                                             inadmissible.          they pertain directly to the
                                                                                                    subject of this lawsuit and
                                                                                                    the injuries alleged by Ms.
                                                                                                    Russell. See Fed. R. Evid.
                                                                                                    401. See ECFMG’s
                                                                                                    response regarding the
                                                                                                    admissibility of Exhibit 76
                                                                                                    in the preliminary statement
                                                                                                    preceding this chart.
206   Ms. Russell does not claim to suffer sleeplessness. Ex. 76 at 10.      Admitted.              n/a



                                                                54
                                                                                                                          JA4624
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                          ECFMG’s Statement of
                                                                                 Plaintiffs’ Response         ECFMG’s Reply
                        Undisputed Material Facts
207   Ms. Russell does not allege that Akoda sexually assaulted her. Ex.         Admitted.              n/a
      72 at 129:16-130:11.
208   Ms. Russell claims that her emotional distress and distrust of doctors     Admitted.              n/a
      were “amplified when Plaintiff discovered that Defendant
      Dimensions never performed an appropriate background check on
      Akoda.” Ex. 47 at 3. See also Ex. 69 ¶ 71.
209   Ms. Russell has seen a doctor since finding out about Akoda. Ex. 72        Admitted.              n/a
      at 60:4-10.
210   Ms. Russell found out about Akoda’s guilty plea in June of 2017.           Admitted.              n/a
      Ex. 72 at 31:1-7.
211   Dr. Moore informed Ms. Russell that Dr. Moore’s practice did not           Admitted.              n/a
      conduct a background check on Akoda. Ex. 72 at 57:11-21.
212   Dr. Fenichel examined Ms. Russell on September 17, 2019. Ex. 74 at         Admitted.              n/a
      1.
213   Dr. Fenichel did not find Ms. Russell to have any psychiatric              Admitted.              n/a
      disorder causally related to the allegations in the complaint. Ex. 74 at
      7.
214   Ms. Russell believes ECFMG is a governmental entity. Ex. 72 at             Admitted.              n/a
      77:13-23.
215   Ms. Russell believes ECFMG does background checks on applicants            Admitted.              n/a
      such as Akoda. Ex. 72 at 77:13-23.
216   Ms. Russell believes Akoda is a “fake doctor,” who “was not                Admitted.              n/a
      properly trained as a doctor or credentialed as a doctor.” Ex. 72 at
      45:7-14.
217   Ms. Russell has alleged back pain as a result of Dr. Akoda’s               Admitted.              n/a
      treatment but also indicated she does not know if the pain is
      attributable to Dr. Akoda. Ex. 72 at 123:19-124:19.




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       A concluding point on the facts as alleged and presented by the parties: Plaintiffs take issue

with ECFMG’s use of the term “Dr. Akoda” to discuss the IMG at issue in this litigation. See, e.g.,

ECF 93-2 at 28 n.2, 35, 40. ECFMG uses “Dr. Akoda” for consistency and ease of use because the

contemporaneous documents and deposition testimony refer to that individual using that name.

ECFMG does not dispute that “John Nosa Akoda” or “Dr. Akoda” were aliases of the individual

the U.S. Department of Justice referred to as “Oluwafemi Charles Igberase, a/k/a ‘Charles John

Nosa Akoda,’” who pleaded guilty to Social Security Fraud in violation of 42 U.S.C. §

408(a)(&)(B), see ECFMG Ex. 15, and that, as Plaintiffs admit, “Akoda and Igberase are the same

person.” ECF 93-2 at 4.

 Dated: January 28, 2022


 William R. Peterson (pro hac vice)                /s/ Brian W. Shaffer
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             Attorneys for Educational Commission for Foreign Medical Graduates




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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.


DATED: January 28, 2022                       /s/ Brian W. Shaffer
                                                      Brian W. Shaffer




                                                 57
                                                                                         JA4627
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             EXHIBIT 1




                                                                  JA4628
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                                Date: August 20, 2019
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2
                  IN THE UNITED STATES DISTRICT COURT
3              FOR THE EASTERN DISTRICT OF PENNSYLVANIA
4                                 Case No. 2:18-cv-05629-JW
5                                 Hon. Joshua D. Wolson
6
7
8       MONIQUE RUSSELL, JASMINE RIGGINS
9       ELSA M. POWELL AND DESIRE EVANS,
10            Plaintiffs,
11      vs.
12      EDUCATIONAL COMMISSION FOR
13      FOREIGN MEDICAL GRADUATES
14            Defendant.
15
16
17                    DEPOSITION OF WILLIAM C. KELLY
18                Tuesday, August 20, 2019 at 9:40 a.m.
19            Law Offices of Morgan, Lewis & Bockius, LLP
20                           One Federal Street
21                    Boston, Massachusetts 02110-176
22
23
24        ----------Jennifer A. Doherty, CSR--------------
25                     Certified Shorthand Reporter




                                                                      JA4630
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                               Transcript of William C. Kelly
                               Conducted on August 20, 2019                18

1       meant.
2             A.     Yes.
3             Q.     And was step two basic clinical science
4       material?
5             A.     Yes.
6             Q.     And both were, at that time, two-day
7       multiple choice tests administered by ECFMG; is that
8       correct?
9             A.     My -- that -- I have no independent
10      recollection of that.        Just from what's on the form
11      the answer would be yes.
12            Q.     So am I correct that in addition to
13      successfully -- again, I'm in this 1992 to 1996
14      period.     Am I correct that in addition to pass --
15      successfully completing steps one and two of the
16      USLME exams an applicant would also -- an IMG
17      applicant would also have to pass an English test?
18            A.     Yes.
19            Q.     And in addition, before ECFMG would
20      certify an applicant there had to be primary source
21      verification of that applicant's medical
22      credentials; is that correct?
23            A.     Of their medical diploma, yes.
24            Q.     Nothing more than their diploma?
25            A.     Generally not.

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                               Transcript of William C. Kelly
                               Conducted on August 20, 2019                19

1             Q.     And am I correct also that in that same
2       time period in order -- I'm sorry, was -- in that
3       time period were steps one and two and was the
4       English exam administered by ECFMG?
5             A.     To the best of my recollection, yes.
6             Q.     Step three was not administered by ECFMG,
7       was it?
8             A.     It was not.
9             Q.     It was administered by whom?
10            A.     My recollection was that it was
11      administered by state medical boards.
12            Q.     And am I correct in saying that an IMG
13      applicant could not sit for step three of the USLME
14      unless he or she was certified by ECFMG?
15                         MS. MCENROE:       Objection to form.
16            A.     I believe that was the process in most, if
17      not all states, yes.
18      BY MR. VETTORI:
19            Q.     So again, this is just a general question,
20      Mr. Kelly.     And again, we're referring to this time
21      period that I framed from 1992 through 2000.              Let's
22      say through 1996.
23                   Is it correct to say that an IMG couldn't
24      practice medicine in the United States without being
25      certified by ECFMG?

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                               Transcript of William C. Kelly
                               Conducted on August 20, 2019                20

1                          MS. MCENROE:       Objection to form.
2              A.   That is not correct.
3       BY MR. VETTORI:
4              Q.   How would they practice without a
5       certification from ECFMG?
6              A.   My -- the best of my recollection is that
7       state licenses are granted by the individual state
8       medical boards and there were different pathways,
9       for example, the Fifth Pathway program for graduates
10      of medical schools in Mexico that were not required
11      to have ECFMG certificates.
12             Q.   Are there any other countries where that
13      applied?
14             A.   I don't recall.
15             Q.   How about Nigeria?         Did it apply to
16      graduates of medical schools in Nigeria?
17             A.   I do not believe so.
18             Q.   So with respect to graduates of Nigeria
19      medical schools in the time period we're talking
20      about, an IMG couldn't obtain a medical license in
21      the United States without being certified by ECFMG,
22      correct?
23                         MS. MCENROE:       Objection to form.
24             A.   It would have been very, very unlikely,
25      yes.

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                               Transcript of William C. Kelly
                               Conducted on August 20, 2019                21

1       BY MR. VETTORI:
2             Q.    Well, can you even sit for the -- at that
3       time period, could you even sit for step three exams
4       without being certified by ECFMG?
5                          MS. MCENROE:       Objection to form.
6             A.    A graduate of a Nigerian medical school?
7       BY MR. VETTORI:
8             Q.    Yes.
9             A.    To best of my recollection, no.
10            Q.    And in that same time period a graduate of
11      a Nigerian medical school wouldn't be permitted to
12      take -- wouldn't be licensed by any state in the
13      United States unless he or she successfully
14      completed step three of USMLE; isn't that correct?
15                         MS. MCENROE:       Objection to form.
16            A.    If they were applying for an initial
17      license and had not passed the earlier licensing
18      examination, yes.
19      BY MR. VETTORI:
20            Q.    So would you agree with me that ECFMG
21      works on behalf of domestic and international
22      regulatory authorities to protect the public for
23      which programs and services, including primary
24      source verification, of physician credentials?
25                         MS. MCENROE:       Objection.

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                               Transcript of William C. Kelly
                               Conducted on August 20, 2019                   71

1       identification.)
2                          MR. VETTORI:       Off the record a
3       minute.
4                          (Discussion off the record.)
5             A.    I've reviewed this document, Exhibit 18.
6       BY MR. VETTORI:
7             Q.    Have you seen these before or do you
8       recall seeing them before?
9             A.    Yes, I do.
10            Q.    As part of your preparation for this
11      deposition?
12            A.    Yes.
13            Q.    This page 1, 4007 -- 4007 appears to me to
14      be an ECFMG form; is that correct?
15            A.    Yes.
16            Q.    And if I understand from your prior
17      testimony, the practice would have been for ECFMG to
18      use this form to forward the diploma provided to it
19      by the applicant; is that correct?
20            A.    That was the process, yes.
21            Q.    And so I'm just going by the sequence of
22      numbers that they were produced to us.                  Immediately
23      following 4007 is page 4008 and it's a diploma,
24      correct?
25            A.    Yes.

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1             Q.    But it's not a diploma for somebody by the
2       name of Charles, is it?
3                          MS. MCENROE:       Objection to form.
4             A.    It says Charles right on it.
5       BY MR. VETTORI:
6             Q.    What is the last name?
7             A.    It's Charles Oluwafemi Igberase.
8             Q.    It's not Igberase Oluwafemi Charles, is
9       it?
10                         MS. MCENROE:       Objection to form.
11            A.    The names are in a different order.
12      BY MR. VETTORI:
13            Q.    Correct.     And you were treating the person
14      with the name Igberase Oluwafemi Charles as someone
15      different from the person with the name Charles
16      Oluwafemi Igberase, weren't you?
17                         MS. MCENROE:       Objection to form.      Are
18      you asking --
19      BY MR. VETTORI:
20            Q.    When I say "you," I mean ECFMG for
21      purposes of its certification.
22            A.    I don't recall that.
23            Q.    Well, you assigned it a separate
24      identification number to Igberase Oluwafemi Charles
25      than you did to Charles Oluwafemi Igberase.              We've

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1       already established that, Mr. Kelly.
2                          MS. MCENROE:       Objection to form.
3       BY MR. VETTORI:
4             Q.    Isn't that correct?
5             A.    If that is what we did, then this was a
6       different applicant, yes.
7             Q.    Correct.     Are you aware that this is the
8       identical diploma submitted by the person with the
9       name Charles Oluwafemi Igberase that you verified
10      with the school?
11            A.    I'm not aware of that.
12            Q.    So again, we have a situation where the
13      applicant's name is different than the name on the
14      diploma, correct?
15                         MS. MCENROE:       Objection.
16            A.    The name -- the sequence of names is
17      different, yes.
18      BY MR. VETTORI:
19            Q.    Correct.     And is there any documentation
20      to indicate to ECFMG an explanation for that?
21            A.    I see none.
22            Q.    So as I -- is it correct to say that ECFMG
23      relied on a verification of a diploma for someone
24      whose name is different than the applicant Igberase
25      Oluwafemi Charles?

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1                          MS. MCENROE:       Objection to form.
2             A.    What I can say is I, at this time in 1994,
3       I do not believe ECFMG considered them, the name not
4       to do -- to belong to this applicant.               It was not
5       uncommon for people from different cultures and
6       certain countries to have their name, you know, in
7       different sequences.
8       BY MR. VETTORI:
9             Q.    Then why did you apply -- I'm sorry.             Why
10      did you assign different identification numbers to
11      these two people?
12                         MS. MCENROE:       Objection to form.
13            A.    Yeah, you have me a little confused.
14      My -- I don't know.       I don't have the two records in
15      front of me so I would have to see.
16            Q.    I understand, but let me tell you what the
17      record that we developed here today shows.               A
18      gentleman by the name of Charles Oluwafemi Igberase,
19      a name on a diploma, filed an application with ECFMG
20      in 1992 and you assigned -- ECFMG assigned to him
21      the O482700-2 number.        That's established in the
22      record.
23            A.    Yes.
24            Q.    A gentleman by the name of Igberase
25      Oluwafemi Charles applied to ECFMG in 1994 and ECFMG

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1             A.    Yes.
2             Q.    But again, do you remember any notices
3       other than the one I just referenced in your
4       review?
5                           MS. MCENROE:      Objection to form.
6             A.    No, I don't recall.
7       BY MR. VETTORI:
8             Q.    So let me ask it a little different way.
9       Did you review this December 19, 2016 letter that
10      Karen Corrada wrote?
11            A.    No.
12                          MS. MCENROE:      Can you mark that or do
13      you want --
14                          MR. VETTORI:      I can, if you want me
15      to.
16                          MS. MCENROE:      Just for purpose of the
17      record of what it was he did not review.
18                          (Exhibit No. 21 marked for
19      identification.)
20                          (Exhibit No. 22 marked for
21      identification.)
22      BY MR. VETTORI:
23            Q.    So Mr. Kelly, before you look at it I'm
24      telling you this is an incomplete document.                This is
25      just page 1 of a multiple page document.                Take a

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1       look at it for a moment and then I'm going to ask
2       you a question about it.
3             A.     (Complies.)      Okay.
4             Q.     So this is dated March 1, 2017, and I
5       think we've already agreed that you weren't with
6       ECFMG at the time?
7             A.     That's correct.
8             Q.     So you don't know what information is
9       contained on the other pages of this document,
10      obviously?
11            A.     That is correct.
12            Q.     Have you even seen this document before?
13            A.     No.
14                           MR. VETTORI:      Let's mark it as 23
15      anyway.
16                           (Exhibit No. 23 marked for
17      identification.)
18      BY MR. VETTORI:
19            Q.     So tell us what Exhibit 23 is.
20            A.     It is a photocopy of an application for a
21      USMLE examination.
22            Q.     By whom?
23            A.     The name on the application is John Nosa
24      Akoda.
25            Q.     A-K-O-D-A.      It appears to me that it's

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1       dated January 3, 1996.         Can you confirm that?
2              A.   That appears to be the receipt date,
3       yes.
4              Q.   Right.    Does it list a Social Security
5       number?
6              A.   There is none listed on there.
7              Q.   What is the date of birth?             Second page.
8              A.   January 1, 1959.
9              Q.   And does this applicant, John Nosa Akoda,
10      indicate what medical school he attended?
11             A.   Yes.
12             Q.   Which one?
13             A.   University of Benin, Nigeria.
14             Q.   Does he indicate when he graduated?
15             A.   He does not list the degree date.             He
16      lists his attendance dates.
17             Q.   What are the attendance dates?
18             A.   October '81 to October '87.
19             Q.   If you look at Bates page 40705, which I
20      think is the third page of the application, part C.
21             A.   Yes.
22             Q.   There is a photograph attached or there is
23      a photograph on that page; is there not?
24             A.   It appears to be a photograph.
25             Q.   Isn't that a requirement of all

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1       applications, that they attach a photograph?
2                          MS. MCENROE:       Objection to form.
3             A.    That is, yes.
4       BY MR. VETTORI:
5             Q.    And doesn't that photograph have to be
6       verified by the dean of the medical school?
7                          MS. MCENROE:       Objection to form.
8             A.    It does not have to be.
9       BY MR. VETTORI:
10            Q.    What was the procedure in 1996 at ECFMG
11      with respect to the verification of a photograph on
12      an application?
13            A.    I don't recall.
14            Q.    So in section B1, down towards the bottom,
15      the form says, "Explain in the space below why the
16      application could not be signed in the presence of
17      your medical school dean, vice dean, or register --
18      any registrar.      Any explanation must be acceptable
19      to ECFMG and must be provided each time you submit
20      an application to ECFMG."
21                  Do you see that?
22            A.    Yes.
23            Q.    And the handwritten answer was "because
24      the postal system to Nigeria could not be guaranteed
25      within the available time."           Did I read that

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1       memorandum was being written separately since I did
2       not think it should be made part of the official
3       file."
4                           If not in the official file, where
5       was this document located?
6             A.    I don't know.
7             Q.    Okay.     What was your thinking or purpose
8       in not including this within an official file on
9       behalf of Akoda?
10                          MS. MCENROE:      Objection to form.
11      Covered extensively by co-counsel.
12            A.    Yeah, I don't know.
13            Q.    What is the significance of a document
14      being inside the file versus outside the file?
15                          MS. MCENROE:      Objection to form.
16            Q.    What are the criteria that would dictate
17      whether a document goes in an applicant file versus
18      outside a file?
19                          MS. MCENROE:      Objection to form.
20            A.    I don't know.
21            Q.    Presumably on December 22, 2000 there was
22      some purpose in not including this document within
23      Akoda's file, correct?
24                          MS. MCENROE:      Objection to form.
25            A.    Or an intention not to include it.            It

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1       obviously was included.
2             Q.    Do you know if this was in fact within a
3       file on behalf of an official file for Akoda versus
4       kept somewhere else with ECFMG's records?
5                          MS. MCENROE:       Objection to form.
6             A.    I don't know.
7             Q.    Is there any justification that you can
8       think of as we sit here today as to why a document
9       concerning a physician's credibility and honesty
10      would not be included within their official file?
11                         MS. MCENROE:       Objection to form.
12            A.    I don't know.
13            Q.    You conclude that in the conclusion of
14      Paragraph No. 4 that you don't think this is enough
15      for the committee.
16                         Help me understand in view of the
17      various documents previously discussed why you did
18      not believe that this was sufficient evidence to
19      even raise before a credentialing committee.
20                         MS. MCENROE:       Objection to form.
21            A.    Based on experience and working with the
22      documents and presumably maybe talking with other
23      people that, you know, there was a staff had to
24      review all the materials that were part of the --
25      that were the result of the investigation, and part

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1       of it was a determination whether there was
2       enough -- we thought there was enough information
3       for the committee in its review to make an informed
4       decision.
5             Q.    Were you ever part of any presentation to
6       the credentials committee regarding a Doctor John
7       Akoda?
8             A.    I don't believe so.
9             Q.    Mr. Kelly, after -- well, do you know
10      how -- we discussed previously the letters of
11      recommendation that were sent out or sent to you in
12      2006 or to ECFMG.
13                          Do you have any understanding as to
14      how that concern that you articulated previously was
15      ultimately addressed?        Was there any formal decision
16      that we should proceed with sending out these
17      materials on behalf of a Doctor Akoda?
18                          MS. MCENROE:      Objection to form.
19            A.    Can you restate that?
20            Q.    Sure.     At what point was it determined
21      that despite some concerns regarding Akoda's
22      credentiality that ECFMG through the ERAS service
23      should proceed with sending out this material on
24      behalf of Akoda the individual to various residency
25      programs or a program?

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1                          MS. MCENROE:       Objection to form.
2             A.    I don't know.
3             Q.    You've not seen any documentation in the
4       file reflecting a decision one way or the other in
5       that regard?
6             A.    I have not.
7             Q.    You've not seen any correspondence to any
8       particular residency program regarding Akoda --
9       well, strike that -- with the exception of the ERAS
10      form that you previously alluded to?
11            A.    That is correct.
12            Q.    With respect to the levels of flags that
13      we discussed that concept generally, I understand
14      you might not have a recollection specifically of
15      what the different levels mean.             This is Exhibit 52.
16            A.    I have it.
17            Q.    What is the general concern that is being
18      addressed through the use of flags on internal ECFMG
19      servicers with regard to who can see what?
20                         MS. MCENROE:       Objection to form.
21            A.    Well, it's not just who can see what.
22      It's what you can do with the record, and that would
23      vary based upon the reason behind it.
24            Q.    Certainly one of the purposes of the flags
25      in situations like in 2006 when someone went to

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1                             C E R T I F I C A T E
2       COMMONWEALTH OF MASSACHUSETTS
        Worcester, ss.
3
                      I, Jennifer A. Doherty, Certified
4       Shorthand Reporter and Notary Public duly
        commissioned and qualified in and for the
5       Commonwealth of Massachusetts, do hereby certify
        that there came before me on the 20th day of August,
6       2019, the person hereinbefore named, who was by me
        duly sworn to testify to the truth and nothing but
7       the truth of their knowledge touching and concerning
        the matters in controversy in this cause; that they
8       were thereupon examined upon their oath, and their
        examination reduced to typewriting under my
9       direction and that the deposition is a true record
        of the testimony given by the deponent.
10                    I further certify that I am neither
        attorney nor counsel for, nor related to or employed
11      by, any of the parties to the action in which this
        deposition is taken, and further that I am not a
12      relative or employee or financially interested in
        this action.
13
                 IN WITNESS WHEREOF, I HAVE HEREUNTO SET MY
14      HAND AND SEAL THIS 1ST DAY OF SEPTEMBER, 2019.
15


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16
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17
                                Notary Public
18                              My Commission Expires:
                                October 19, 2023
19                              CSR No. 1398F95
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             EXHIBIT 2




                                                                  JA4648
Case: 22-1998 Document:Document
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                            Deposition of:
                         Kara Corrado
                        September 10, 2019


                          In the Matter of:

        Russell, Monique Vs. Educational
        Commission For Foreign Medical
                   Graduates




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                                                                  JA4649
     Case: 22-1998 Document:Document
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                                                                       Page 1

1             IN THE UNITED STATES DISTRICT COURT
2        FOR THE EASTERN DISTRICT OF PENNSYLVANIA
3                                    - - -
4    MONIQUE RUSSELL, JASMINE :                  Case No.
     RIGGINS, ELSA M. POWELL                :
5    AND DESIRE EVANS,                      :    2:18-cv-05629-JW
                                            :
6                    Plaintiffs,            :
                                            :
7              vs.                          :    Hon. Joshua D. Wolson
                                            :
8    EDUCATIONAL COMMISSION                 :
     FOR FOREIGN MEDICAL                    :
9    GRADUATES,                             :
                                            :
10                   Defendant.             :
11                                   - - -
12                          September 10, 2019
13                                   - - -
14               Oral deposition of KARA CORRADO, taken
15      at the offices of MORGAN LEWIS BOCKUS, LLP,
16   1701 Market Street, Philadelphia, Pennsylvania
17          beginning at 10:48 a.m., before
18    Jennifer L. McDonald, a Professional Reporter
19   and a Notary Public in and for the Commonwealth
20                          of Pennsylvania.
21                                   - - -
22       VERITEXT NATIONAL COURT REPORTING COMPANY
                          MID-ATLANTIC REGION
23               1801 Market Street - Suite 1800
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1             special investigations and the addition
2             of case managers, it fell under the
3             purview of the associate vice president,
4             who was Bill Kelly, and I, at the time, a
5             manager of operations program
6             development.
7                           So Bill, myself, and Virginia
8             Kesting, who reported to me, we were the
9             folks working on the irregular behavior.
10            So in that respect when I was working for
11            Bill, I was staff.
12   BY MR. THRONSON:
13            Q.            When did you get involved in
14   work on irregular behavior matters?
15            A.            That was around 2008 when I
16   moved -- changed position.
17            Q.            So the staff for the irregular
18   behavior is part of the special investigations
19   team?
20            A.            That is the special
21   investigations team now, yes.
22            Q.            Okay.       Got it.        How does ECFMG
23   serve the public?
24                          MS. McENROE:            Objection to form.


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                                                                     Page 40

1                           THE WITNESS:            ECFMG serves the
2             public in a number of ways.                     Our original
3             program which was the certification
4             program severs the public in ensuring
5             that those physicians that are educated
6             outside of the U.S. and Canada meet
7             certain minimum requirements in order to
8             enter an accredited residency program in
9             the United States.
10                          We also serve the public in
11            facilitating an appropriate review of
12            them, at the same time making sure that
13            we are efficient about doing it, because
14            IMGs -- or International Medical
15            Graduates represent about 25 percent of
16            the physicians that are working in the
17            United States.
18                          So it's important from a
19            physician-workforce point of view to make
20            sure we have qualified physicians.                           So in
21            those two broad ways I would say that we
22            serve the public.
23   BY MR. THRONSON:
24            Q.            How does ECFMG serve medical


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                                                                     Page 41

1    residency programs?
2                           MS. McENROE:            Objection to form.
3                           THE WITNESS:            So ECFMG has a
4             certification program that is required
5             for entrance into ACGME accredited
6             residency programs.
7    BY MR. THRONSON:
8             Q.            Any other ways in which ECFMG
9    severs medical residency programs?
10                          MS. McENROE:            Objection to form.
11                          THE WITNESS:            So we also have an
12            exchange visitor sponsorship program.                          We
13            are responsible for physicians who are
14            seeking residency and training in the
15            United States on a J-1 nonimmigrancy
16            step.
17   BY MR. THRONSON:
18            Q.            Beyond the ways in which you
19   serve medical residency programs that you
20   described, how else does ECFMG serve hospitals?
21                          MS. McENROE:            Objection to form.
22                          THE WITNESS:            I don't know that
23            I would say that we serve hospitals,
24            however, we do provide a service for


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1             Q.            So you believe that was also the
2    process in the late 90s, early 2000s?
3             A.            Yes.
4             Q.            Okay.       Do you know of any --
5    strike that.          Do you know of any circumstances
6    where you would -- where ECFMG would vary from
7    that process?
8                           MS. McENORE:            Objection to form.
9    BY MR. THRONSON:
10            Q.            That is, would vary from the
11   process of once a charge letter is sent to an
12   applicant to refer the matter to the
13   credentials committee for investigation?
14            A.            Prior to -- like I said, I think
15   it was around '99, 2000 that the matter would
16   be referred.
17                          Let me just clarify.                 Unless
18   there was some exculpatory evidence that we
19   discovered after we sent the charge letter,
20   then we would withdraw the charge letter and it
21   wouldn't be referred to the credentials
22   committee; but prior to that there are cases
23   where we contacted the applicant to ask them to
24   provide information about an allegation or an


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                                                                           JA4654
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                                  KARA CORRADO

                                                                     Page 82

1    anomaly.       In some of those cases they were not
2    referred to the committee, if that applicant
3    did not respond.
4             Q.            If the applicant did not respond
5    they were not referred to the committee?
6             A.            In some cases.             Right, you asked
7    me if we always referred them.
8             Q.            Sure.
9             A.            And the answer is no, because
10   there are some cases that are old, prior to my
11   time, that we contacted the individual about
12   the allegation but they are not necessarily
13   referred to the credentials committee.
14            Q.            Do you know why they were not
15   referred to the credentials committee in those
16   cases?
17            A.            I don't.
18            Q.            But as a general rule after a
19   charge letter was sent, the matter was referred
20   to the credentials committee as a matter of
21   course?
22                          MS. McENROE:            Objection to form.
23                          THE WITNESS:            Yes.
24   BY MR. THRONSON:


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                                                                           JA4655
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                                  KARA CORRADO

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1             Q.            Obviously this case has a long
2    history and we covered a lot of this in the
3    deposition of William Kelly.                    Did you happen to
4    read that deposition?
5             A.            I did not.
6             Q.            Was it made available to you for
7    review?
8             A.            No.
9             Q.            Do you know that it had taken
10   place?
11            A.            No.
12            Q.            Did ask you for a transcript?
13            A.            No, I did not.
14            Q.            Why not?
15                          MS. McENROE:            Objection to form.
16                          THE WITNESS:            I don't know.           I
17            didn't ask for one.
18   BY MR. THRONSON:
19            Q.            You didn't feel it was important
20   for your testimony today?
21                          MS. McENROE:            Objection to form.
22                          THE WITNESS:            I don't think I
23            thought about it to be perfectly honest.
24   BY MR. THRONSON:


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                                                                           JA4656
     Case:2:18-cv-05629-JDW
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                                  KARA CORRADO

                                                                    Page 259

1                        C E R T I F I C A T E
2
     COMMONWEALTH OF PENNSYLVANIA:
3
     COUNTY OF PHILADELPHIA:
4
5           I, Jennifer L. McDonald, a Notary
     Public within and for the County and State
6    aforesaid, do hereby certify that the foregoing
     deposition of KARA CORRADO was taken before me,
7    pursuant to notice, at the time and place
     indicated; that said deponent was by me duly
8    sworn to tell the truth, the whole truth, and
     nothing but the truth; that the testimony of
9    said deponent was correctly recorded in machine
     shorthand by me and thereafter transcribed
10   under my supervision with computer-aided
     transcription; that the deposition is a true
11   record of the testimony given by the witness;
     and that I am neither of counsel nor kin to any
12   party in said action, nor interested in the
     outcome thereof.
13
            WITNESS my hand and official seal this
14   16th day of September 2019.
15
16                           <%13485,Signature%>
17                         _________________________
                           Jennifer L. McDonald,
18                                   Notary Public
19
20
21
22
23
24

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                                                                           JA4657
Case: 22-1998 Document:Document
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                                98-42768     Date Filed:
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             EXHIBIT 3




                                                                  JA4658
        Case: 22-1998 Document:Document
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                                        98-42769     Date Filed:
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  Transcript of Stephen S. Seeling
                              Date: September 16, 2019
Case: Russell, et al. -v- Educational Commission for Foreign Medical Graduates




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    Case: 22-1998 Document:Document
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                                    98-42770     Date Filed:
                                          Filed 01/28/22     09/08/2022
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1                     IN THE UNITED STATES DISTRICT COURT
2                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA
3       _____________________________
4        MONIQUE RUSSELL, JASMINE          :     CASE NO.
5        RIGGINS, ELSA M. POWELL           :     2:18-cv-05629-JW
6        and DESIRE EVANS,                 :
7                                          :
8                     Plaintiffs           :
9                                          :
10             vs.                         :
11                                         :
12       EDUCATIONAL COMMISSION            :
13       FOR FOREIGN MEDICAL               :
14       GRADUATES,                        :
15                                         :
16                    Defendants           :
17      _____________________________
18                                       - - -
19                         Monday, September 16, 2019
20                                       - - -
21                    Deposition of STEPHEN S. SEELING was taken
22      pursuant to notice at 1701 Market Street, Philadelphia,
23      Pennsylvania, before Nancy Carides, RPR, CRR and Notary
24      Public, on the above date, and commencing at 12:00 p.m.
25




                                                                      JA4660
    Case: 22-1998 Document:Document
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                                    98-42771     Date Filed:
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                                Transcript of Stephen S. Seeling
                               Conducted on September 16, 2019             5

1       court reporter can take down my questions and your
2       answers.        Please, first of all, wait for me to finish
3       my question before you answer, and I will wait for you
4       to finish your answer before I ask another question.
5       Okay?
6                  A.        Yes.
7                  Q.        If at any point in time I ask you a
8       question that you don't understand, please let me know
9       and I'll make an effort to rephrase the question.
10      Okay?
11                 A.        Yes.
12                 Q.        If you answer a question that I've
13      asked, I'm going to assume that you've understood the
14      question.        Is that fair?
15                 A.        Yes.
16                 Q.        And if you need to take a break at any
17      point in time, please let me know and we'll take a
18      break.     Okay?
19                 A.        Um-hum.     Yes.
20                           MR. CERYES:        Patrick, are you hearing
21               us okay?
22                           MR. THRONSON:        I am.    Thanks.
23      BY MR. CERYES:
24                 Q.        All right.     Mr. Seeling, are you
25      currently employed?

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019                 6

1                 A.       I am not.
2                 Q.       Where were you last employed?
3                 A.       I was a consultant with St. George's
4       School of Medicine.
5                 Q.       When were you last employed with ECFMG?
6                 A.       2013.
7                 Q.       And when did you begin with ECFMG?
8                 A.       1998.
9                 Q.       Mr. Seeling, can you describe for me
10      your educational background?
11                A.       Sure.    College and beyond?
12                Q.       Let's start with college.
13                A.       Graduated from Tufts University in
14      Medford, Massachusetts in 1971.            Graduated from Temple
15      University School of Law in 1976.
16                Q.       And can you provide for me a brief
17      narrative of your professional career since the
18      completion of your law degree?
19                A.       Sure.    My first job was in the
20      Philadelphia District Attorney's Office beginning in
21      1976.   We relocated to South Carolina.              I was an
22      Assistant Attorney General in South Carolina.
23      Subsequent to that, I became the Executive Director of
24      the South Carolina State Board of Medical Examiners.
25      I then had a position as Vice President and General

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019               7

1       Counsel with UCI Medical Affiliates and with a
2       practice management firm in South Carolina.              Then in
3       1998 I was recruited by ECFMG, and I returned to the
4       Philadelphia area.
5                 Q.       When you started at ECFMG, what role
6       did you come into?
7                 A.       Vice President of Operations.
8                 Q.       Is that a role that you maintained
9       until you left in 2013?
10                A.       Yes, sir.
11                Q.       So, where did you go after you left
12      ECFMG?
13                A.       I worked with St. George's University
14      School of Medicine, which the campus is in Grenada.
15                Q.       What caused you to leave ECFMG in 2013?
16                A.       I had had a really good run of almost
17      fifteen years.      I was a bit bored, and I had a very
18      good opportunity with St. George's.
19                Q.       And when did you leave St. George's?
20                A.       I worked with St. George's for two
21      years.
22                Q.       Would that be approximately 2015 when
23      you left?
24                A.       Yes.
25                Q.       What caused you to leave St. George's?

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019                8

1                 A.       My wife was retiring, we were
2       relocating outside the Philadelphia area, and I
3       thought that it was time to relax a bit.
4                 Q.       Have you left each of your professional
5       roles, positions, on a volunteer basis through the
6       course of your career?
7                 A.       Yes.
8                 Q.       Have you ever been a defendant in any
9       criminal matter since turning the age of eighteen?
10                A.       No.
11                Q.       Now, while you were with ECFMG, did you
12      participate in any criminal investigation of an
13      individual who was variously known as Akoda or
14      Igberase?
15                A.       Let me make sure I understand.          You're
16      asking about a criminal investigation?
17                Q.       Correct.
18                A.       No.
19                Q.       Okay.    Did you participate in any
20      internal investigation by ECFMG regarding the person,
21      again, variously known as Akoda or Igberase after
22      approximately the year 2006?
23                         MS. McENROE:      Objection to form.
24                         THE WITNESS:      I just don't remember
25              after 2006.

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019                78

1                 that question, because it seems that it
2                 involves both hindsight, foresight, and
3                 speculation.    So, again, this letter speaks
4                 for itself.    In typical fashion, I would have
5                 approved a letter like this.           Again, I have no
6                 specific recollection of this letter.           But I
7                 can't answer your question further.
8       BY MR. CERYES:
9                  Q.      How often did the committee meet?
10                 A.      Generally speaking, it met in
11      conjunction with board meetings, like, three times a
12      year.
13                 Q.      So, I would assume, based upon what we
14      discussed earlier, in most cases, there will be some
15      matters for the committee to consider and to schedule
16      a meeting; fair?
17                 A.      They generally had a fairly full
18      agenda.
19                 Q.      Can you recall any other instance in
20      which an applicant received a letter setting forth
21      charges of irregular behavior but that matter did not
22      get brought to the attention of the medical education
23      credentials committee?
24                 A.      You know, I don't have a recollection
25      yay or nay.     I would say just generally that this is a

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019                   79

1       snapshot, things can change subsequent to, but I just
2       don't have a recollection whether or not there were
3       other cases where a charge letter was issued and then
4       subsequently a re-evaluation took place.                 I know that
5       was always built into the process.             I just don't
6       remember whether or not that, in fact, happened.
7                 Q.       And you refer to the process.             This is
8       not a written process, correct?
9                 A.       Well, I mean, there were procedures set
10      forth in the documents relating to the credentials
11      committee in terms of the process of the hearing and
12      that kind of thing.       Again, at some point, I can't
13      recall, but sometime after I came onboard, those
14      procedures were substantially revised.               So, there were
15      documents that pertained, generally, to the scope and
16      purview and authority of the credentials committee.
17                Q.       If, in fact, you believed that Akoda
18      and Igberase were, in fact, one and the same person,
19      you would agree that in that circumstance that would
20      warrant referral to the Committee on Medical Education
21      Credentials?
22                         MS. McENROE:      Objection to form.
23                         THE WITNESS:      Probably, yes.
24      BY MR. CERYES:
25                Q.       And why is that?

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019                 80

1                 A.       Because there was precedent.
2                 Q.       And what's the precedent that you're
3       referring to?      Is that Igberase's history?
4                 A.       No, I'm talking about other cases.
5                 Q.       So, describe what you mean by
6       precedent.     What are the other instances?
7                 A.       I think you know what a precedent
8       means.    It means that there may have been other cases
9       in the past where the question number 1, have you
10      ever, was answered incorrectly.
11                Q.       Did you ever meet with Akoda,
12      personally?
13                A.       No.
14                Q.       Did you instruct Bill Kelly to meet
15      with Akoda, personally?
16                A.       I don't have any recollection of that.
17                Q.       I'd like to direct your attention to
18      Exhibit Number 37 from Mr. Kelly's deposition.                This
19      is a memo to the file from William Kelly.                My first
20      question is when a memorandum was written to a
21      particular file, such as this, was there a physical
22      file that it would get slipped into for a particular
23      applicant?
24                A.       In 2000?
25                Q.       Yes.

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019               81

1                 A.       Probably.
2                 Q.       So, was there, and I'm just kind of
3       trying to wrap my ahead around it, was there a
4       particular manila folder, or something to that effect,
5       in a file room where if everything was going to plan
6       you could go down to the file, pick out the Akoda
7       file, and there would be a memo such as this from
8       William Kelly in that file?
9                 A.       Well, there were cases that were under
10      review by the credentials committee, and those files
11      were maintained.
12                Q.       Was Akoda's file under review by the
13      credentials committee?
14                A.       I may have misspoke or I may have
15      misled.    When there was an allegation that was being
16      looked at, generally, a file would be generated.
17                Q.       I assume that every applicant at ECFMG
18      has some kind of file, a physical file, or did have in
19      2000?
20                A.       Back in those days, yes.
21                Q.       So, when there was an allegation of
22      irregular conduct, a secondary file would be created
23      relating to that allegation?
24                         MS. McENROE:      Objection to form.
25                         THE WITNESS:      You know, I, A, can't

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                              Transcript of Stephen S. Seeling
                             Conducted on September 16, 2019               148

1                          C E R T I F I C A T I O N
2
3                I hereby certify that the proceedings and
4       evidence noted are contained fully and accurately in
5       the stenographic notes taken by me in the foregoing
6       matter, and that this is a correct transcript of the
7       same.
8
9
10
11
12
                             Yarn Crruider
                           __________________________________
13                         NANCY CARIDES, RPR, CRR
14                         Notary Public
15
16
17
18              (The foregoing certification of this transcript
19      does not apply to any reproduction of the same by any
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             EXHIBIT 4




                                                                   JA4670
               Case:
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                                                                                                   Rec Cvrk \                  \o/ ' /\A
AQ   110   (Rev. 06/09) Subpvena to Testify Before   a   Grand Jury
                                                                                                                    OVP
                                                                                                                               / 14GJ3409 /        -   3664
                                          UNITED STATES DISTRICT COURT
                                                                                                                    14-1                      14



                                                                              for the

                                                                  Eastern District of Virginia

                                           SUBPOENA TO TESTIFY BEFORE A GRAND JURY
               Custodian of Records
               Educational Commission for Foreign Medical Graduates
 To:           3634   Market Street
               Philadelphia, PA 19104-2685


         YOU ARE COMMANDED to appear in this United States district court at the time, date, and place shown
below to testify before the court’s grand jury. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.



Place: U.S. District Court                                                                    Date and Time: October
                                                                                                               o¢          23, 2014       ; a.m.
                                                                                                                                         9:30

           401 Courthouse Square
           Alexandria, VA 22314



            You must also bring with you the following documents, electronically stored information, or objects                                (blank         ifnot
applicable):               ee attached.                                                   |




                   October 01, 2014
Date:                                                                             CLERK OF COURT &



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The name, address, e-mail, and telephone number of the United States attorney, or assistant United States attorney, who
requests this subpoena, areRebeca H. Bellows, AUSA
                                     Office of the United States Attorney
                                     Justin W. Williams United States Attorney's Building
                                     2100 Jamieson Avenue
                                     Alexandria, Virginia 22314          (703) 299-3700




                                                                                                            ECFMG-Akoda-000001
                                                                                                                          JA4671
                 Case:
                  Case22-1998    Document: Document
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AO   110   (Rev. 06/09)   Subpoena to Testify Before Grand Jury (Page 2)




                                                                   PROOF OF SERVICE


           _This subpoena for (name of individual or organization)
was received by me on             (date)



            CI      served the subpoena         by delivering a copy to    the named person as follows:



                                                                                          on (date)                           ; Or


            C1    I returned the subpoena unexecuted because:




            I declare under penalty of perjury that this information           is true.




Date:
                                                                                                      Server's signature



                                                                                                  Printed name and    title




                                                                                                      Server's address


Additional information regarding attempted service, etc:




                                                                                                          ECFMG-Akoda-000002
                                                                                                                        JA4672
     Case:
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                                                                 U.S. Department of Jus tice

                                                                 United States Athorney
                                                                 Eastern District of Virginia

                                                                 Justin   W.   Williams United States Attorney's Building
                                                                 2100 Jamieson Avenue                         703°299-3700
                                                                 Alexandria, Virginia 22314               FAX 703:299-398}


                                                                      tobe                2}
Custodian of Records                                             Oetebe            Oh          aes
Educational Commission for Foreign Medical Graduates
3634 Market Street
Philadelphia, PA 19104-2685



       Re: 14-1 / 14GJ3409 / 14-3664

Dear Sir or Madam:

       You have   been served with a subpoena issued in connection with a criminal
investigation being conducted in this District. That subpoena directs you to produce certain
records on 10/23/2014, before the grand jury in Alexandria, Virginia.

       Because premature disclosure. of this request might impede the investigation in this
                                                    of this subpoena.
case, you are requested not to disclose the existence

       Asa convenience, you may,     ifyou wish, deliver the requested documents                      in lieu of
appearing personally before the grand jury to: Rebeca H. Bellows, United States Attorney's
Office, 2100 Jamieson Avenue, Alexandria, VA 22314. Any questions pertaining to the records
under subpoena should be directed to Rebeca H. Bellows at (703) 299-3700.


        I appreciate your cooperation in this matter.   If you have   any questions, please feel free
to contact this office at 703-299-3700,

                                                        Sincerely,

                                                        Dana J. Boente
                                                        United States Attorney


                                                  oy    Vobeeta                 HePur
                                                        Rebeca H. Bellows
                                                        Assistant United States Attorney

Enclosure




                                                                                        ECFMG-Akoda-000003
                                                                                                      JA4673
       Case:
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                                                                      5 of 6




Custodian of Records
Educational Commission for Foreign Medical Graduates
3624 Market Street
Philadelphia, PA 19104-2685

                                    Attachment

Any and all records relating to the following individuals:

Oluwafemi Charles Igberase
a/k/a Oluwafemi C. Igberase
a/k/a Igberase Oluwafemi Charles
a/k/a Igberase Charles
DOB: 4-17-1962
SSN:    XXX-XX-XXXX

Charles John Nosa Akoda
a/k/a Charles N. Akoda |
a/k/a John C. Akoda
a/k/a John Charles Akoda,
a/k/a John-Charles Akoda,
a/k/a John-Charles Nosa Akoda,
a/k/a Charles John Akoda
DOB: 1-1-1959

An individual who has identified himself as Oluwafemi Charles Igberase has
represented to a federal agency or department that the Educational Commission for
Foreign Medical Graduates issued a certificate to him on December 14, 1994,
certifying that he successfully passed its examinations. The certificate provided by
Igberase identifies him as “Igberase Oluwafemi Charles.”

An individual who    has identified himself as Charles John Nosa Akoda has
represented to a state agency that the Educational Commission for Foreign Medical
Graduates issued a certificate to him on August 18, 1997, certifying that he
successfully passed its examinations. The certificate provided by Akoda identifies
him as “John Nosa Akoda.” Oluwafemi Igberase has used the alias Charles John
Nosa Akoda and variations of that name.




                                                               ECFMG-Akoda-000004
                                                                             JA4674
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  CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS RECORDS
  PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)


  I                                                          (name),    attest      under    penalties   of   perjury (or    criminal

  punishment              for     false    statement         or   false       attestation)       that    1    am      employed      by
                                                                   (business),         and      that     my_     official   title   is

                                                                  (title).    I am a custodian of records for such business
 ‘ehtity.    I    state that each     of the records attached      hereto is the original record or           a true duplicate of the
 original record in the custody              of                                                          (business), and that I am
 the custodian           of the   attached records consisting      of                       pages.   I have provided the following
 records to the United States:




 I further    state that:

             A.       all records attached to this certificate were made at or near the time                       of the occurrence
                      of    the matters set forth, by, or from information transmitted                          by, a person with
                      knowledge       of those    matters;

             B.       such records were kept in the course                   of a   regularly conducted business activity of
                                                                                    (business); and

             C.       such records were made by                                                                        (business) as
                     a   regular practice,

I further    state that this certification is intended to satisfy Rule 902(11)                  of theFederal Rules of
Evidence.




(Signature)



(Date)


                                                                                                 14-1 / 14GJ3409 / 14-3664
(Address)


(Phone)




                                                                                                              ECFMG-Akoda-000005
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             EXHIBIT 5




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  8005 Navajo Street, Philadelphia, PA 19118

September 23, 2019

Brian Shaffer, Esq.
Elisa McEnroe, Esq.
Morgan, Lewis & Bockius LLP
1701 Market Street
Philadelphia, PA 19103-2921

Re: Oluwafemi Charles Igberase a/k/a “Charles John Nosa Akoda” / ECFMG

Dear Counsel,

     I have completed my initial review of the above case, including the
following records:

      Records produced by Howard University Hospital
      Guilty Plea
      Records produced by the American Board of Obstetricians and
       Gynecologists (“ABOG”)
      Records of Desire Evans
          o Plaintiffs0000000001 – Plaintiffs0000000571
          o Plaintiffs0000005735 – Plaintiffs0000006016
          o Complaint and Notice of Removal to EDPA
          o Desire Evans’s Answers to First Set of Interrogatories and
              Responses to First Set of Requests for Production of Documents
          o Desire Evans’s Supplemental Answers to First Set of
              Interrogatories and Responses to First Set of Requests for
              Production of Documents
          o Deposition of Desire Evans
          o Documents Related to Maryland Litigation
          o Class Action Complaint in CAL 17-34091
          o Desire Evans’s Answers to Interrogatories of Defendant
              Dimensions Healthcare Corporation D/B/A Prince George’s
              Hospital Center
      Records of Elsa Powell
          o Plaintiffs0000000572 – Plaintiffs0000000929
          o Plaintiffs0000006174 – Plaintiffs0000006363
          o Plaintiffs0000118377 – Plaintiffs0000118653
          o Complaint and Notice of Removal to EDPA
          o Elsa Powell’s Answers to First Set of Interrogatories and
              Responses to First Set of Requests for Production of Documents




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       o Elsa Powell’s Supplemental Answers to First Set of Interrogatories
          and Responses to First Set of Requests for Production of
          Documents
       o Deposition of Elsa Powell
       o Documents Related to Maryland Litigation
       o Class Action Complaint in CAL 17-37091
       o Elsa Powell’s Answers to Interrogatories of Defendant Dimensions
          Healthcare Corporation D/B/A Prince George’s Hospital Center
   Records of Jasmine Riggins
       o Plaintiffs0000001134 – Plaintiffs0000001242
       o Plaintiffs0000001995 – Plaintiffs0000002026
       o Plaintiffs0000006394 – Plaintiffs0000006512
       o Plaintiffs0000007418 – Plaintiffs0000007425
       o Plaintiffs0000007426 – Plaintiffs0000007652
       o Complaint and Notice of Removal to EDPA
       o Jasmine Riggins’s Answers to First Set of Interrogatories and
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       o Jasmine Riggins’s Supplemental Answers to First Set of
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          Production of Documents
       o Deposition of Jasmine Riggins
       o Documents Related to Maryland Litigation
       o Amended Class Action Complaint in CAL 18-07863
       o Jasmine Riggins’s Responses to Requests for Admission in
          CAL 18-07863
       o Jasmine Riggins’s Answers to Interrogatories in CAL 18-07863
       o Deposition of Jasmine Riggins in CAL 17-22761, CAL 17-37091,
          and CAL 18-07863
   Records of Monique Russell
       o Plaintiffs0000000932 – Plaintiffs0000001133
       o Plaintiffs0000001243 – Plaintiffs0000001685
       o Plaintiffs0000001686 – Plaintiffs0000001839
       o Plaintiffs0000001840 – Plaintiffs0000001845
       o Plaintiffs0000001846 – Plaintiffs0000001994
       o Plaintiffs0000005338 – Plaintiffs0000005429
       o Plaintiffs0000067757 – Plaintiffs0000067847
       o Plaintiffs0000118654 – Plaintiffs0000118679
       o Complaint and Notice of Removal to EDPA
       o Monique Russell’s Answers to First Set of Interrogatories and
          Responses to First Set of Requests for Production of Documents
       o Monique Russell’s Supplemental Answers to First Set of
          Interrogatories and Responses to First Set of Requests for
          Production of Documents
       o Deposition of Monique Russell
       o Documents Related to Maryland Litigation
       o Amended Class Action Complaint in CAL 18-07863


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           o Monique Russell’s Responses to Defendants’ Requests for
             Admissions in CAL 18-07863


       I have been requested to review materials provided by counsel for the Educational
Commission for Foreign Medical Graduates (“ECFMG”) regarding four patients who
were treated by Oluwafemi Charles Igberase a/k/a “Charles John Nosa Akoda” (“Dr.
Akoda”).

       For time spent on this matter, I will be compensated $400 per hour for reviewing
materials and writing a report; $2,000 for deposition testimony; and $4,000 for trial
testimony.

       I have attached a copy of my CV. I have also attached a list of trial and deposition
testimony within the past four years.




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Desire Evans

Summary

        At the time of her 3/17/16 delivery, Ms. Evans was a 36-year-old gravida
3 para 0-0-2-0 at 41 weeks. She had a past history of depression and anxiety,
                           , and used marijuana daily.

       On 3/16/16, Dr. Akoda was the assigned OB/GYN when Ms. Evans’s
labor was induced at Prince George’s Hospital. Dr. Akoda was the only OB/GYN
who treated her during her labor and delivery. (Evans Dep. 83-86.) Her prenatal
care was not provided by Dr. Akoda, but rather by Dr. Javaka Moore. (Evans
Dep. 97.)

       Ms. Evans’s labor was induced / augmented with Cytotec and Pitocin.

       She received an epidural.

       She progressed to completely dilated. Extensive caput was noted.

       Dr. Akoda recommended cesarean delivery due to a non-reassuring FHT
and arrest of descent.

        On 3/17/16, Dr. Akoda performed a cesarean section. Delivery resulted in
a healthy 6 pound 14 ounce baby boy (Peyton) with Apgar scores of 8 and 9 at 1
and 5 minutes, respectively. EBL was 400 ml. There were no intra-operative
complications.

       Ms. Evans has no complaints about her incision. (Evans Dep. 95-96.)

       Her post-operative course was uneventful.

       On 3/20/16, POD#3, she was discharged.

       She was later diagnosed with depression and anxiety. (Evans Dep. 102.)

         On 1/17/18, she had an appointment with Shanda Smith, MD, at Kaiser
Permanente Largo Medical Center for a psychiatric evaluation. “I just told her
that I felt uncomfortable and that I was touched in a way (by Dr. Akoda) that I
felt was inappropriate and I didn’t know how to deal with it.” (Evans Dep. 128.)
She stated, “he was, like, fondling my clitoris, saying that he needed to do that in
order to stimulate me to push the baby.” She stated that Dr. Akoda did this several
times. (Evans Dep. 132-34.) Her husband and mother were present.

       At age three, Peyton was a healthy child. (Evans Dep. 26.)




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       Ms. Evans did not file a medical malpractice lawsuit against Dr. Akoda. She
learned about litigation against Dr. Akoda from a radio ad.

Opinions

       The clinical care reflected by the reviewed medical records is consistent with a
physician who has received medical training. The procedures that he performed are
unique to the medical profession and cannot be skillfully performed by a layperson. A
cesarean section with no complications resulted in delivery of a healthy baby. Ms. Evans
had no post-operative complications.




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Elsa Powell

Summary

       In 2014, Ms. Powell was treated by Dr. Akoda during prenatal visits and her labor
and delivery. She was a 30-year-old gravida 4 para 3-0-0-3.

        When she arrived at a scheduled prenatal appointment with Dr. Abdul Chaudry,
“they said that Dr. Chaudry had to step out, but Dr. Akoda was there.” She then saw Dr.
Akoda every couple of weeks and then weekly for her remaining prenatal visits. (Powell
Dep. 40.)

        She stated that Dr. Akoda was flirtatious with her at her prenatal visits. He
examined her breasts and made “comments about I have nice breasts and stuff like that.
So then I felt uncomfortable. … I was eight months pregnant at that time.” She then asked
for a nurse to be present for her next exam. She states that this occurred “a few times.”
She did not request to be seen by a different doctor. (Powell Dep. 51-53.)

      On 9/17/14, at 39+ weeks, Dr. Akoda induced Ms. Powell’s labor at Prince
George’s Hospital. She had no support people with her.

       She had a vaginal delivery of a healthy baby boy (Jaiden).

        She reported having vaginal bleeding and passing blood clots several hours after
her delivery. After she informed a nurse, Dr. Akoda came to evaluate her and diagnosed
her with a postpartum hemorrhage.

         On 9/18/14, Dr. Akoda performed a suction dilation and curettage (“D&C”) under
general anesthesia. EBL was 250 ml. Findings were “Extensive amounts of cauliflower-
like lesions in the vagina. … The lower uterine segments were not contracted. Bleeding
from the upper part of the cervix and significant oozing from the cauliflower-like lesions
from the vagina.” The vagina was packed with gauze at the end of the surgery. (Powell
Dep. 46).

        Ms. Powell stated that she was anemic and uncertain if she received a blood
transfusion. She stated that she asked but did not receive an answer from Dr. Akoda.
(Powell Dep. 49.)

        On 9/19/14, postpartum day #2, Ms. Powell was doing well. She had minimal
bleeding. Her vital signs were stable. Her hemoglobin was 9.3. She was discharged. She
was to follow up in six weeks.




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        Ms. Powell stated that at her postpartum visit, Dr. Akoda treated an ovarian cyst
in the office. She was then in pain for three or four days.

       Jaiden is a healthy boy.

       Ms. Powell did not file a medical malpractice lawsuit against Dr. Akoda. She
learned about litigation against Dr. Akoda from a friend who saw a TV ad.

Opinions

        The clinical care reflected by the reviewed medical records is consistent with a
physician who has received medical training. The procedures that he performed are
unique to the medical profession and cannot be skillfully performed by a layperson. A
vaginal delivery resulted in delivery of a healthy baby. Ms. Powell had a postpartum
hemorrhage that was due to uterine atony and extensive genital vaginal warts. Dr. Akoda
appropriately performed a D&C and packed the vagina with gauze. Vaginal warts result
from a sexually transmitted infection with HPV. Such vaginal warts commonly bleed
after delivery.




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Jasmine Riggins

Summary

       Between August 2012 and March 2013, Ms. Riggins was a patient of Dr. Akoda
at Dimensions Healthcare.

       On 3/18/13, she presented for a scheduled repeat elective cesarean section to
Dimensions Healthcare. She was a 20-year-old gravida 4 para 1-0-2-1 at 40+ weeks. Her
pregnancy was complicated by gonorrhea x 2 and late presentation for prenatal care. She
had one prior cesarean section and                            .

       Dr. Akoda performed a repeat elective cesarean section. Delivery occurred of an
8+ pound male with Apgar scores of 9 and 9 at 1 and 5 minutes, respectively. Extensive
adhesions were noted. EBL was 1,300 ml. No intra-operative complications were noted.

       She had no post-operative complications.

       On 3/21/13, POD #3, she was discharged.

       Ms. Riggins did not file a medical malpractice lawsuit against Dr. Akoda. She
learned about litigation against Dr. Akoda from a Facebook post by Monique Russell in
2017.

Opinions

        The clinical care reflected by the reviewed medical records is consistent with a
physician who has received medical training. The procedures that he performed are
unique to the medical profession and cannot be skillfully performed by a layperson. An
elective repeat cesarean section with no complications resulted in delivery of a healthy
baby. She had no post-operative complications.




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Monique Russell

Summary

       At the time of her 5/25/16 delivery, she was a 38-year-old gravida 4 para 0-0-3-0
at 37+ weeks.
                    , depression, and stress-related back pain. (Russell Dep. 63-64, 79.)

     At 37+ weeks, she presented to Prince George’s Hospital with ruptured
membranes.

       Due to a non-reassuring FHT remote from delivery (2 cm), Dr. Akoda
recommended a cesarean section. Ms. Russell’s husband did not agree with the need for a
cesarean section, but Ms. Russell listened to Dr. Akoda. (Russell Dep. 26, 37.)

       On 5/25/16, Dr. Akoda performed a cesarean section at Prince George’s Hospital.
Delivery occurred of a 7+ pound male (Luka) with Apgar scores of 9 and 9 at 1 and 5
minutes, repectively. EBL was 400 ml. No intra-operative complications were noted.

       Ms. Russell had no post-operative complications.

       On 5/28/16, POD #3, she was discharged.

       Luka is a healthy child.

        Ms. Russell did not file a medical malpractice lawsuit against Dr. Akoda. Soon
after the delivery she discovered an online press release from the Department of Justice
about Dr. Akoda.



Opinions

       The clinical care reflected by the reviewed medical records is consistent with a
physician who has received medical training. The procedures that he performed are
unique to the medical profession and cannot be skillfully performed by a layperson. A
cesarean section with no complications appropriately performed due to non-reassuring
FHT remote from delivery resulted in a healthy baby. Ms. Russell had no post-operative
complications.




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Conclusions

        The clinical care reflected by the reviewed medical records is consistent with a
physician who has received medical training. The procedures that he performed are
unique to the medical profession and cannot be skillfully performed by a layperson. All
four of the women’s deliveries resulted in healthy babies and good outcomes. The only
complication, a postpartum hemorrhage due primarily to bleeding from extensive vaginal
warts, was not caused by Dr. Akoda and was appropriately treated by Dr. Akoda.

       Review of the records reveals that Dr. Akoda successfully completed an OB/GYN
residency training program at Howard University Hospital. Dr. Akoda met requirements,
including written and oral examinations, to become board certified by the American
Board of Obstetrics and Gynecology (“ABOG”). He also successfully completed
requirements for ABOG’s board recertification via the Maintenance of Certification
(“MOC”) program through 2015.

       All opinions stated are with a reasonable degree of medical certainty.

                                    Sincerely,




                           Jay Goldberg, MD, MSCP
                             Professor of OB/GYN




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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


MONIQUE RUSSELL, JASMINE RIGGINS,
ELSA M. POWELL, and DESIRE EVANS,
                                               Civil Action No. 18-5629
                Plaintiffs,
                                               Honorable Joshua D. Wolson
      v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.



   DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO EXCLUDE THE
  OPINIONS AND ANTICIPATED TESTIMONY OF PLAINTIFFS’ EXPERTS DR.
            DAVID MARKENSON, DR. JOHN CHARLES HYDE,
                    AND DR. JERRY WILLIAMSON




Dated: January 28, 2022

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                                      INTRODUCTION

       The opinions and conclusions of Plaintiffs’ proposed experts on medical credentialing (Drs.

Markenson, Hyde, and Williamson) should be excluded pursuant to the Court’s gatekeeping

function under Federal Rules of Evidence 702 and 703 and the standard from Daubert v. Merrell

Dow Pharm., Inc., 509 U.S. 579 (1993). Nothing in Plaintiffs’ opposition to ECFMG’s motion to

exclude these experts (ECF 94-1) changes that. Plaintiffs’ arguments fail to meaningfully engage

with the Daubert factors and rely on conclusory assertions that the experts “are sufficiently

reliable;” that they considered “facts and evidence developed in this case;” and that such evidence

is “good grounds” and not “rank speculation.” ECF 94-1 at 17–18. This Court should reject

Plaintiffs’ hollow assurances, especially when: (i) the opinions on ECFMG’s duty have no

discernable methodology and are legal conclusions; (ii) the opinions on breach are conclusory, and

not permissible standard-of-care opinions; and (iii) Plaintiffs have not addressed the significant

methodological deficiencies in the experts’ causation opinions.       Not only are these experts

unqualified to offer the opinions they do, but presentation of their unreliable and flawed opinions

at trial would confuse and mislead the jury, making exclusion on the basis of Federal Rule 403 also

appropriate.

                                         ARGUMENT

I.     Plaintiffs Have Not Demonstrated That Their Experts Are Qualified to Offer
       Opinions on ECFMG.

       Plaintiffs’ recitation of their experts’ resumes, and clinical and hospital administration

experience (ECF 94-1 at 5–11) does not address or remedy these experts’ lack of familiarity with

ECFMG’s circumscribed role in the credentialing of physicians. Drs. Markenson, Hyde, and

Williamson may well be qualified to offer expert opinions on hospitals’ and medical employers’

hiring and privileging processes, but their backgrounds do not qualify them to opine on ECFMG’s




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interactions with IMGs and the allegedly deficient investigation at issue in this case. Allowing

them to do so because their backgrounds and ECFMG both generally involve the medical field

would conflict with Third Circuit authority: “While the background, education, and training may

provide an expert with general knowledge to testify about general matters, more specific

knowledge is required to support more specific opinions.” Calhoun v. Yamaha Motor Corp.

U.S.A., 350 F.3d 316, 322 (3d Cir. 2003). Plaintiffs have still not provided sufficient evidence that

their experts have the specific knowledge to support their specific opinions regarding ECFMG.

       Plaintiffs respond instead to a strawman: suggesting that ECFMG asks the Court to only

accept experts that had worked for or with ECFMG. Id. at 11. Not so. What matters is that they

have never worked at an entity like ECFMG or otherwise acquired any expertise in verification or

investigations. ECFMG has identified multiple instances where Drs. Markenson, Hyde, and

Williamson conceded their limited knowledge of and interaction with ECFMG. See ECF 83-1 (8–

11). Not only have the witnesses never worked for ECFMG, but they have never been involved

with an investigation of “irregular behavior,” ECFMG’s disciplinary process. Id. at 8–9. Drs.

Hyde’s and Williamson’s interactions with ECFMG were minimal, occurred over a decade ago,

and they struggled to recall any meaningful specifics of those interactions. ECF 83-1 at 10. Dr.

Markenson relied heavily on ECFMG’s public website, which is not enough to give him

specialized knowledge beyond what a lay person may acquire. ECF 83-1 at 10. All three experts,

however, plan to offer opinions to a jury on what ECFMG should have referred to its Medical

Education Credentials Committee, and to speculate about what that Committee would have found

and done. ECF 94-1 at 14; ECF 83-6 at 6; ECF 83-9 at 7. This type of testimony does not require

medical expertise—it requires investigatory expertise, which Plaintiffs’ witnesses admittedly

lack. See, e.g., ECF 83-9 (Dr. Williamson offering opinions on ECFMG’s alleged “failure to

properly investigate” and condemning ECFMG for “not being more assertive in their
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investigation” without detailing relevant investigative experience or a description of what the

applicable investigatory standard would be).

        Plaintiffs’ comparison of their experts to the expert in Schneider ex rel. Estate of Schneider

v. Fried, 320 F.3d 396 (3d Cir. 2003) does not help establish their experts’ qualifications. There,

a cardiologist was permitted to testify on a different cardiology subspecialty because he had routine

contact with that subspecialty and regularly advised cardiologists in that subspecialty performing

the at-issue procedure. Id.at 406. The combination of this routine and regular contact is what led

the Schneider court to conclude the expert was qualified to give opinions on the cardiology

subspecialty. Id. at 407. As described above, Plaintiffs cannot demonstrate that their experts have

anywhere close to equivalent routine and regular contact with ECFMG to be able to opine on

ECFMG, its investigatory procedures and processes, or its particular role in the medical field.

II.     Drs. Markenson, Hyde, and Williamson Offer Opinions On Duty That Are
        Conclusory, and Oftentimes Impermissible Legal Conclusions.

        All three of Plaintiffs’ experts opine (somewhat inconsistently) on what duties ECFMG

allegedly owed Plaintiffs. For example, Dr. Hyde opines that ECFMG is required “to follow their

mission and fulfill its duty to patients in that their actions will serve to assure all foreign educated

are properly and thoroughly investigated and deemed eligible for ECFMG certification to pursue

U.S. postgraduate medical education.” ECF 83-7 at 6. Dr. Williamson proposes multiple duties,

including: “to determine whether the documents provided by Igberase and his aliases strongly

suggested that Igberase and Akoda was one in the same individual.” ECF 83-9 at 5.

        Not only do Plaintiffs identify no methodology (much less a reliable one) by which their

experts reached these opinions, they are—on their face—impermissible legal conclusions. In

responding to ECFMG’s argument, Plaintiffs misread (at 20–22) Federal Rule of Evidence 704.

Although an opinion may not be excluded merely because it concerns a so-called “ultimate issue,”

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Rule 704 makes clear that experts may not invade the province of the Court and speak to legal

conclusions: “Although Federal Rule of Evidence 704 permits an expert witness to give expert

testimony that embraces an ultimate issue to be decided by the trier of fact, an expert witness is

prohibited from rendering a legal opinion.” Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 217

(3d Cir. 2006). Offering a legal opinion is precisely what Plaintiffs’ experts purport to do.

       Dr. Williamson’s and Dr. Hyde’s claims that ECFMG owes a duty to patients and the

general public to investigate its applicants certainly fall into this province of the Court. Dr.

Markenson’s legal conclusions on duty are even more obvious, merely parroting the Restatement

(Second) of Torts § 324A: “ECFMG has undertaken to provide certification services which are

necessary for the protection of the general public. Its failure to exercise reasonable care in

providing these services increases the risk of harm to the general public, including plaintiffs.”

ECF 83-6 at 3 (emphasis added to show Dr. Markenson’s regurgitation of § 324A). Courts

consistently exclude expert opinions on whether a party owes a duty in such situations. See

Berckeley Inv. Group, Ltd., 455 F.3d at 218 (referencing First Nat. State Bank of New Jersey v.

Reliance Elec. Co., 668 F.2d 725 (3d Cir. 1981), where court found that expert was not permitted

to give his opinion on legal duties arising from industry custom); Montgomery v. Aetna Cas. &

Sur. Co., 898 F.2d 1537, 1541 (11th Cir. 1990) (excluding expert opinion focused on whether

defendant had a duty to hire tax counsel). The opinions on whether ECFMG owed a duty, and

what such a duty supposedly was, are similarly impermissible here.

III.   Plaintiffs’ Conclusions Regarding Whether ECFMG Breached a Duty Are Not
       Permissible Opinions on the Standard of Care.

       Plaintiffs argue that their experts are doing nothing more than opining on the applicable

standard of care to provide the jury with facts it can use to determine whether a duty was breached.

ECF 94-1 at 20. This is wrong. All three experts give conclusory opinions that ECFMG breached

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the standard of care. ECF 83-6 at 4-5; ECF 83-7 at 6–8; ECF 83-9 at 5–6. Some notable examples

include: Dr. Markenson’s claim that ECFMG breached the standard of care by “[f]ailing to

investigate fully the relationship between Igberase and Akoda” (ECF 83-6 at 4); Dr. Hyde’s

characterization that “ECFMG negligently chose to bury this information in a memo that was not

to be placed in the file” (ECF 83-7 at 7); Dr. Williamson opinion that ECFMG “breached the

standard of care” when it “provided primary source to the Maryland Board of Physicians and

Prince George’s County Hospital without notifying them of their doubts surrounding Akoda’s

identity and credentials” (ECF 83-9 at 5).

       These examples show that Plaintiffs’ experts leave no room for a factfinder to assess

whether ECFMG breached a duty based on the alleged facts; they simply provide the factfinder

with the conclusion. “Expert testimony that ‘merely tells the [factfinder] what result to reach is

improper.’” QVC, Inc v. MJC America Ltd., No. 08-3830, 2012 WL 13565, at *2 (E.D. Pa. Jan.

4, 2012) (quoting Burger v. Mays, 176 F.R.D. 153, 156 (E.D. Pa. 1997)). “Experts ‘may not ...

apply the resulting law to the facts of [a] case to draw a legal conclusion. In essence, the experts

may testify as to their factual conclusions so long as they do not offer a legal opinion as to the

legal implications of those conclusions.’” Id. at *2 (internal citations omitted).

       Courts routinely exclude such conclusions on breach and negligence. See Flickinger v.

Toys R Us-Delaware, Inc., 492 F. App’x 217, 224 (3d Cir. 2012); Dorshimer v. Zonar Sys., No.

3:13-0553, 2016 WL 4179480 (M.D. Pa. Aug. 8, 2016) (“Additionally, experts can provide an

opinion about the ultimate issue in a case, but may not give an opinion tied to any legal conclusion,

such as whether a defendant was negligent”) (internal citations omitted); Wolfe v. McNeil-PPC,

Inc., No. 07-348, 2011 WL 1673805, at *8 (E.D. Pa. May 4, 2011) (“[T]o the extent Dr. Goldberg

plans to testify that [defendant] behaved negligently in the conduct of its business, such testimony

constitutes an improper legal opinion.”).
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IV.    These Experts’ Opinions Regarding Causation Stem from Unreliable Methodologies.

       Drs. Markenson, Hyde, and Williamson all offer opinions on whether ECFMG caused

harm to Plaintiffs and Dr. Akoda’s patients. ECF 83-1 at 3–5,16; ECF 83-6 at 3, 5; ECF 83-7 at

7; ECF 83-9 at 6. For example, Dr. Markenson opines that that ECFMG was “the direct cause of

the harms caused to the plaintiffs and the members of the class.” ECF 83-6 at 5 (emphasis added).

Similarly, Dr. Williamson states “ECFMG’s failure to properly investigate the matter, directly

resulted in foreseeable injuries to Igberase/Akoda’s patients.” ECF 83-9 (emphasis added).

Plaintiffs assert that these opinions “are sufficiently reliable;” are based on “facts and evidence

developed in this case;” and that such evidence is “good grounds” and not “rank speculation.”

ECF 94-1 at 17–18. Yet, Plaintiffs (i) admit that their experts did not evaluate and consider data

necessary to these opinions; and (ii) fail to address instances where their experts made unfounded

assumptions about the chain of causation, contradicted by the evidence of record.

       First, Plaintiffs admit that their experts did not evaluate the records and conduct of other

organizations and entities in the chain of causation, claiming that “conduct of other organizations

is not determinative with respect to whether ECFMG breached the standard of care applicable to

its own conduct.” ECF 94-1 at 14; see also id. at 16 (suggesting that failure to research other

entities in the causal chain does not “vitiate ECFMG’s liability”). Plaintiffs miss the point. Even

if the conduct of others is not “determinative” with respect to breach, it is undeniably relevant

(indeed, crucial) to causation. Courts review the causal chain between the conduct and the injury

by looking at considerations including the number of factors that contributed to the harm, the effect

of those factors on the harm, and the lapse of time. See Lux v. Gerald E. Ort Trucking, Inc., 887

A.2d 1281, 1287 (Pa. Super. 2005) (internal quotation and citation omitted); see also ECFMG’s

Motion for Summary Judgment Argument, ECF 81 -1, at 29–32. Plaintiffs’ defense of the failure

of Drs. Markenson, Hyde, and Williamson to review the causal chain does not address the effect
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this has on the reliability of the causation opinions. This Court has correctly excluded expert

opinions on causation in other cases when the proffered expert did not have a methodology or

principle that could support such an opinion. See, e.g., Mestre v. Garden Homes Mangmt. Corp.,

No. 1:16-cv-03231-JDW-AMD, 2020 WL 3962267, at *3 (D.N.J. July 13, 2020) (Wolson, J.).

These experts’ causation opinions must be excluded for the same reason.

       Second, these experts’ opinions on causation are all premised on speculation that if

ECFMG had conducted its investigation differently, various other actors would have all acted a

particular way, and Akoda would never have treated Plaintiffs.        Expert opinions that are

“predicated upon impermissible speculation and assumption in part” must be excluded. Goodman

v. Burlington Coat Factory, No. 11-4395 (JHR), 2019 WL 4567366, at *9 (D.N.J. Sept. 20, 2019).

       Plaintiffs have failed to explain how these causation opinions rest on anything other than

speculation. For example, they identify no basis for Drs. Markenson and Hyde predicting the

outcome of a hypothetical Medical Education Credentials Committee meeting, a committee with

which neither has any familiarity. Compare ECF 83-1 at 18-19 with ECF 94-1 at 14 (claiming,

without any basis, Dr. Hyde’s conclusion in this regard is made to “reasonable degree of

professional certainty”).   Nor do Plaintiffs defend Dr. Williamson’s speculation regarding

ECFMG’s file management system, speculation which forms the basis for his unsubstantiated

opinions that treatment of Dr. Akoda’s file supposedly breached ECFMG’s irregular behavior

policies, kept other organizations from receiving “critical information,” and led to Plaintiffs’

harms. ECF 83-1 at 19–20; ECF 83-9 at 5–6. These “expert” opinions rest on nothing more than

guesses and ipse dixit and must be excluded.




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V.      Rules 403 and 703 Also Support Excluding the Opinions of Drs. Markenson, Hyde,
        and Williamson.

        Rules 403 and 703 provide an additional basis for exclusion. Regarding Rule 703,

Plaintiffs simply assert, again without any factual support, that their experts rely on data reasonably

relied upon by experts in the field. ECF 94-1 at 24–25. This fails to satisfy the standard for

admissibility. Similarly, they ignore the serious Rule 403 concerns that permitting these experts

to provide impermissible legal opinions will confuse or mislead the jury. Id. at 24. Courts

regularly exclude opinions on this basis. See, e.g., Wolfe, 2011 WL 1673805, at *9 (excluding

expert under Daubert and Rule 403 because a jury would be encouraged to impose liability on an

improper legal opinion offered by that expert).

        Finally, after excluding impermissible legal opinions and speculative opinions on

causation, all that remains are Drs. Markenson’s, Hyde’s, and Williamson’s opinions on ECFMG’s

role in the credentialing and licensing of IMGs.          Plaintiffs’ Response to the Statement of

Undisputed Material Facts reveals that such opinions have little to no probative value. Plaintiffs

concede ECFMG’s strictly circumscribed role, see ECFMG’s Statement of Undisputed Material

Facts (“SUMF”) ¶¶ 7–16, ECF 85 (detailing (i) the limited amount of information on ECFMG

Certification status reports, (ii) criteria ECFMG does not verify, (iii) the fact that certification does

not authorize an IMG to treat patients as a doctor, and (iv) the wide variety of other criteria

residency programs, licensing entities, and employers consider and independently assess when

evaluating an IMG); Plaintiffs’ Response to SUMF at 1, ECF 93-1 (admitting that ¶¶ 7–16 are not

in dispute). Drs. Markenson’s, Hyde’s, and Williamson’s opinions on the role of ECFMG conflict

with these facts that Plaintiffs already admit are established by the record. These experts are,

therefore, not only unqualified to opine on ECFMG’s role and processes and have no reliable

methodology to do so, but their opinions on ECFMG’s role and processes conflict with the

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undisputed facts and would only confuse the jury. See In re Paoli R.R. Yard PCB Litig., 35 F.3d

717, 747 (3d Cir. 1994) (“[B]ecause expert evidence is often more misleading than other evidence,

Rule 403 gives a judge more power over experts than over lay witnesses.”) (citing Daubert v.

Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 595 (1993)).

VI.    ECFMG’s Motion to Exclude the Opinions of Drs. Markenson, Hyde, and Williamson
       is Not Premature.

       Plaintiffs argue that ECFMG’s Motion is premature, despite this Court’s policies and

procedures requiring contemporaneous Daubert challenges when a summary judgment motion or

opposition is based on the admissibility of expert testimony. Hon. Joshua D. Wolson Policies and

Procedures, § II.B.4. ECFMG anticipated that Plaintiffs would cite to the contested experts in

their opposition to ECFMG’s Motion for Summary Judgment. Plaintiffs did so. See ECF 93-1 at

17, ¶114 (referencing these experts’ reports and anticipated testimony on “the standard of care and

elements of causation”); ECF 93-2 at 18 (citing experts in support of argument that ECFMG has a

duty arising from Restatement § 324A), 26 (citing experts in discussion on second Althaus factor),

32 (“Plaintiffs’ experts have testified that ECFMG was negligent.”), 34 (referencing experts in

discussion on causation). Plaintiffs cannot argue that a ruling on the admissibility of their experts’

opinions would be premature, while simultaneously telling the court that summary judgment

should be precluded on the basis of these experts’ opinions.

                                          CONCLUSION

       Because the opinions of Drs. Markenson, Hyde, and Williamson do not meet the

requirements of proper expert testimony, ECFMG respectfully requests that the Court exclude

their opinions and anticipated testimony in their entirety.




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Dated: January 28, 2022
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                                  CERTIFICATE OF SERVICE

          I do hereby certify that on this date, I caused true and correct copies of the foregoing

document to be served via electronic filing upon all counsel of record via the ECF system and/or

e-mail.



DATED: January 28, 2022                              /s/ Brian W. Shaffer
                                                     Brian W. Shaffer




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MONIQUE RUSSELL, JASMINE
 RIGGINS, ELSA M. POWELL, and                  Case No. 2:18-cv-05629-JDW
 DESIRE EVANS, on behalf of themselves
 and all others similarly situated,

                Plaintiffs,
          v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                Defendant.


                                          ORDER

         AND NOW, this 31st day of January, 2022, it is ORDERED that Oral Argument on

summary judgment and class certification is RESCHEDULED for March 29, 2022, at 10:00 a.m.,

in Courtroom 3B of the James A. Byrne U.S. Courthouse, 601 Market Street, Philadelphia, PA

19106.

                                                BY THE COURT:


                                                /s/ Joshua D. Wolson
                                                JOSHUA D. WOLSON, J.




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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MONIQUE RUSSELL, JASMINE RIGGINS,             CIVIL ACTION NO. 18-5629
ELSA M. POWELL AND DESIRE EVANS,              Honorable Joshua D. Wolson

                           Plaintiffs,

            v.

    EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

                           Defendant.


               PLAINTIFFS’ SUR-REPLY IN SUPPORT OF
   ITS OPPOSITION TO DEFENDANT EDUCATIONAL COMMISSION FOR
  FOREIGN MEDICAL GRADUATES MOTION FOR SUMMARY JUDGMENT




Dated: February 11, 2022




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        This litigation seeks to hold ECFMG accountable under general negligence principles and

section 324A of the Restatement (Second) of Torts for negligence in its undertaking to provide

primary source verification of foreign medical graduates. As a result of ECFMG’s negligence,

Igberase was permitted to practice medicine, and fraudulently induced the Plaintiffs to undergo

medical procedures, including childbirth, using a fictious identity, while possessing no medical

degree, and having no valid medical license, privileges or board certification. The Plaintiffs seek

recovery of damages for emotional harm upon learning of Igberase’s conduct, which are foreseeable

to an entity which holds itself out as protecting the public. These damages are further consistent

with the criteria for recovery of damages for emotional harm under Pennsylvania law.

  I.    Plaintiffs’ emotional distress meets the criteria for recovery under Pennsylvania law.

            A. Plaintiffs have suffered a physical impact.

        ECFMG incorrectly asserts Pennsylvania law requires that the “impact and the emotional

distress must be contemporaneous.” Reply at 3. This is not a requirement of Pennsylvania law.

Defendant cites Schmidt v. Boardman Co., 11 A.3d 924, 948 (Pa. 2011). Schmidt was a strict products

liability matter. The Court specifically distinguished the damages available under strict liability and

negligence theories, limiting damages available under strict liability given their “no fault” nature, and

that “foreseeability has no place in Pennsylvania's strict liability law.” Id. at 950, 953. No other case

cited by the Defendant supports this statement either, requiring only that harm “accompany” the

physical impact. See, e.g. Kazatsky v. King David Mem. Park, Inc., 527 A.2d 988 (Pa. 1987).

        To the contrary, Pennsylvania permits recovery for non-economic damages in negligence

cases where the emotional harm arose after the physical impact, as here. See, e.g. Shumosky v. Lutheran

Welfare Servs. of Ne. Pa., 784 A.2d 196 (Pa. Super 2001) (nurse sustained the physical impact of a

needle stick, later learning that the patient she was treating had AIDS, causing emotional distress); see

also Stoddard v. Davidson, 513 A.2d 419, 421 (Pa. Super 1986) (emotional distress occurred, at least




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partly, from prolonged police questioning after the physical impact); Walsh v. Univ. of Pittsburgh, 2015

WL 128104 (W.D. Pa. Jan. 8, 2015) (noting requirement of "a prior or contemporaneous physical

injury" under the physical impact theory) (emphasis added).

            B. Zone of Danger

        The Court in Niederman v. Brodsky, 261 A.2d 84 (Pa. 1970) permitted recovery where the

plaintiff was in danger of physical impact and feared the impact. Id. at 90. ECFMG asserts that the

Plaintiffs cannot “argue that their emotional distress arose from the fear of harm.” Reply at 3. To

the contrary, the Plaintiffs’ damages do arise from fear of harm. The discovery of Igeberase’s

conduct caused them concern about the care they and their child obtained, rendering them fearful

and distrustful of doctors. See, e.g. ECF 93-1 ¶¶ 100, 110, 113 (hereinafter “¶___”); ECF 93-37; 93-

38; 86-22; 86-27 p. 7. This fear is the type of harm the Supreme Court recognized as consistent with

the “special and emotionally charged relationship between a patient and their OBGYN.” Toney v.

Chester Cty. Hosp., 36 A.3d 83, 89 (Pa. 2011). Plaintiffs satisfy the Neiderman criteria.

 II.    ECFMG has a duty to the Plaintiff

        ECFMG accuses the Plaintiff of failing to identify “the precise legal duty” imposed on

ECFMG. Reply at 4. Their duty is to “exercise reasonable care,” under general negligence

principles and section 324A of the Restatement. The particulars of what constitutes “reasonable

care” in the factual context of this case is a factual question for expert testimony and resolution by a

jury, not a legal question for resolution by summary judgment.

            A. ECFMG possesses a duty to the Plaintiffs under Restatement Section 324A.

        ECFMG accepts that it “undertook to provide primary source verification, along with

testing of basic competence, for the benefit of residency programs, hospitals, and medical boards,

who relied upon ECFMG’s services in granting IMGs licensure and privileges.” Reply at 5.

Plaintiffs’ experts have opined that ECFMG failed to carry out this undertaking in a manner



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consistent with the standard of care. See, e.g. ECF 93-23, 93-39; 93-40. Plaintiffs’ experts have opined

that ECFMG failed to conduct reasonable primary-source verification in evaluating the application

of “Akoda” and failed to act when provided credible information that portions of his application

were fraudulent. Id. The assertion that Plaintiffs “do not argue – much less submit evidence – that

ECFMG failed to act with reasonable care” is simply ignorance of the factual record. Reply at 5-6.

        ECFMG’s citations provide its argument no support. In Evans v. Liberty Mutual Insurance Co.,

398 F.2d 665, 666-67 (3d Cir. 1968), for example, the allegedly negligent undertaking did not

increase the risk of harm, and the plaintiff did not rely on the undertaking. Id. Here, ECFMG

undertook to perform services which were relied upon by a residency program, medical boards,

hospital, and indirectly, the Plaintiffs. See, e.g. ECF-93-23.

            B. The duty imposed here is recognized under Pennsylvania law, and is
               consistent with the Althaus factors.

        The duty owed by ECFMG to Plaintiffs is a common law duty reflected in Section 324A of

the Restatement. “Common-law duties stated in general terms are framed in such fashion for the

very reason that they have broad-scale application.” Alderwoods (Pa.), Inc. v. Duquesne Light Co., 106

A.3d 27, 40-41 (Pa. 2014). “It is not necessary to conduct a full-blown public policy assessment in

every instance in which a longstanding duty imposed on members of the public at large arises in a

novel factual scenario.” Id. As the Althaus factors were reviewed in depth in Plaintiffs’ Response,

Plaintiffs address only new assertions in ECFMG’s brief.

         First, ECFMG suggests that imposing a duty would conflict with extending due process

rights to IMGs. This is a false dichotomy. That ECFMG might feel incentivized to take shortcuts in

fulfilling its duties by revoking certifications on suspicions alone, without due diligence, and might

thereby violate the rights of others, is no justification against imposing a duty on ECFMG.

        Second, ECFMG offers a confused summary of the foreseeability criteria. ECFMG’s own

testimony establishes that it was foreseeable that residencies, medical boards and employers would


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rely on its undertaking, and its negligence resulted in the damages asserted. ¶¶ 6, 75, 76. That

residency programs and medical boards would not “second guess” ECFMG’s certification decision,

and that an individual could go on to defraud patients and cause the harm alleged, is certainly

foreseeable. Id.

        Third, ECFMG asserts that Plaintiffs’ settlement demands “belie their assertion that a duty

will not impose ‘great cost’ on ECFMG.”1 Reply at 8. Plaintiffs could likewise portray Defendant’s

settlement offers in a negative light, but this motion is not the appropriate forum. The duty

imposed on ECFMG is proportionate to its role in the United States and its monopoly over the

certification of foreign medical graduates.

        Fourth, ECFMG also compares the analysis of duty here to Walters v. UPMC Presbyterian

Shadyside, 187 A.3d 214 (Pa. 2018). While ECFMG’s obligations to conduct primary source

verification are not codified by statute, as it was for the hospital in Walters, they are discrete and well-

defined. ECFMG must carry out its undertaking “to provide primary source verification, along

with testing of basic competence, for the benefit of residency programs, hospitals, and medical

boards, who relied upon ECFMG’s services in granting IMGs licensure and privileges” with

reasonable care. See, e.g. Reply at 5.

        Fifth, in discussing the overall public interest in imposing a duty, ECFMG again predicts

calamity if it is obligated to carry out its undertakings with reasonable care, supposing that ECFMG

would need to change its screening process, restrict blameless IMGs from practicing medicine and

thereby harm the public interest by restricting access to care. These unsupported, baseless and

histrionic factual assertions have no place in a motion for summary judgment.




1
  Defendant’s characterization of settlement demands violates Fed. R. Evid. 408, and is certainly
inappropriate for consideration in the Althaus analysis.


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III.    Plaintiffs have established proximate cause.

        ECFMG certification was an indispensable step in Igberase being able to practice medicine

in the United States. No IMG can practice medicine in the U.S. without ECFMG certification.

ECFMG acknowledges its undertaking in the primary source verification process, and acknowledges

it is foreseeable that residencies, medical boards, and future employers will rely on their decisions.

Reply at 5; ¶¶ 75. See also, ¶¶ 114. ECFMG’s conduct is certainly a substantial factor in bringing

about the harm here, which was the product of an unbroken chain of events originating from

ECFMG’s negligence. See Lux v. Gerald E. Ort Trucking, Inc., 887 A.2d 1281, 1287 (Pa Super 2005).

IV.     Plaintiffs have established but-for causation.

        Plaintiffs have testified about the emotional harm they experienced from undergoing

examinations, procedures and surgeries by an individual who misrepresented his identity, never went

to medical school and obtained his medical credentials through fraud. See, e.g. ¶ 99; ¶ 106; ¶ 110;

¶ 113. ECFMG offers its own narrative, continuing to call Igberase “Dr. Akoda” (despite lacking the

sole qualification for the honorific—a medical degree), and analogizing this case to a circumstance

where a physician changes his or her name after marriage. 2 Reply at 12. That ECFMG calls this a

mistaken belief does not make it so, and ECFMG’s criticisms of Plaintiffs’ understanding of

ECFMG addresses no element of this claim. None of these arguments have any bearing here.

        ECFMG ignores extensive deposition testimony and expert reports in charactering the

evidence in this case. The evidence proves that had ECFMG acted in accordance with the standards

of care, Igberase would never have practiced medicine. ECFMG staff believed “Akoda”/Igberase

was misrepresenting his identity in approximately 2000. ¶ 59. Those circumstances should have



2
 ECFMG cites to Shumosky v. Lutheran Welfare Servs. of Ne. PA, Inc., 784 A.2d 196, 202 (Pa. Super.
2001), characterizing the case as “denying recovery “for symptoms [that] were caused by a mistaken
belief.” On the contrary, the Court allowed recovery for the plaintiff’s reasonable fears of having
been exposed to AIDS.


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prompted referral to the credentials committee. ¶ 78, ¶ 93; See e.g., ECF 93-23. Conducted

appropriately, these deliberations would have resulted in revocation of his certification, as ECFMG

had in 1996, when Igberase last attempted a similar fraud. ¶ 15, ¶ 24; See, e.g. ECF 93-23.3 Plaintiffs

have met their burden.

    V.   Plaintiffs did not consent to treatment.

         ECFMG accuses the Plaintiffs of gamesmanship, suggesting that “Dr. Akoda” was an

appropriately licensed physician, and that Plaintiffs’ claims amount to “consent turn[ing] on a

doctors name.” Reply at 12. This Court is familiar enough with the facts of this case to know which

party is engaged in gamesmanship. Plaintiffs did not consent to treatment from Igberase – a man

without a medical degree, whose credentials were the product of fraud, and who could not have

practiced medicine in the United States absent ECFMG’s negligent certification of him.

VI.      Plaintiffs have met the criteria for recovery of emotional harm damages.

         Where—as here—there has been a physical impact, there is no need to prove physical

manifestations of emotional distress. See DeJesus v. United States VA, 2005 WL 2175174 at *9 (E.D.

Pa. Sep. 6, 2005); Sinn v. Burd, 404 A.2d 672, 679 (Pa. 1979) (“psychic injury is capable of being

proven despite the absence of a physical manifestation of such injury”); See also, Pa. SSJI (Civ),

§13.40 (2020). Even if such a demonstration were necessary, Plaintiffs have met that burden. As

described in the affidavits of Elsa Powell and Desire Evans, this incident has caused them

longstanding physical impacts consistent with the criteria set forth in Love v. Cramer, 606 A.2d 1175

(Pa. Super. Ct. 1992) and Armstrong v. Paoli Memorial Hospital, 633 A.2d 605 (Pa. Super. 1993). ¶¶99 -

101; ¶106; ¶110; and ¶113. 4 Jasmine Riggins and Monique Russell have provided sworn testimony


3
  Plaintiffs’ opposition included a typographical error on page 34, citing to Exhibit 24, instead of ¶
24, which is noted by the ECFMG in their Reply at 11. This reference should have read “¶ 15, 24.”
4
  ECFMG vaguely references the “sham affidavit rule” at Reply 13, fn. 2, allowing a court to
disregard a later statement by a deponent where it contradicts the witness's deposition testimony,
and the discrepancy is neither supported by record evidence nor satisfactorily explained.


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 that they suffered similar physical effects of their emotional harm such as anxiety, shock and

 anger. See, e.g. ECF 86-9; 86-11; 86-28; 86-29; 86-32; 86-36; 86-40 and 76; ¶¶ 99-106.

VII.     Evans and Powell’s claims accrued upon learning of Igberase’s fraud.

         ECFMG cites to Rice v. Diocese of Altoona-Johnstown, 255 A.3d 237 (Pa. 2021), which involved a

 complaint for sexual abuse 35 years after-the-fact. The court rejected plaintiff’s arguments that the

 statute of limitations began when to run when she became aware “of a second cause” of a known

 legal injury. Id. at 251. There, the nature of the injury was known to the plaintiff. Here, the damages

 asserted are entirely distinct from any harm experienced by the Plaintiffs at the time of treatment. In

 the case of Ms. Powell, her complaints related to flirtatious conduct, which is unrelated to the legal

 injury asserted here. Similarly, for Ms. Evans, the harm she suffered then, involving the

 manipulation of her clitoris during delivery, is distinct from the injury she sustained upon learning of

 Igberase’s fraud. Their statute of limitations began when the harm began—when they learned of

 Igberase’s fraud. See also Nicolaou v. Martin, 195 A.3d 880 (Pa. 2018) (statute of limitations was a jury

 question where plaintiff was unaware that she had been misdiagnosed over nine years). Doe 56 v.

 Mayo Clinic Health Sys.—Eau Claire Clinic, Inc., 880 N.W.2d 681 (Wis. 2016) is distinguishable, as the

 opinion in that case was particular to Wisconsin’s distinct medical negligence statute of limitations,

 and Ms. Evans is not pursuing a claim for sexual abuse. Instead, she is pursuing an emotional

 distress claim for having underwent medical examinations and procedures by a physician

 impersonator—damages which only occurred upon revelation of the true nature of his conduct.

VIII.    Conclusion

         For these reasons, Plaintiffs respectfully request that the Court deny summary judgment.




 SodexoMAGIC, LLC v. Drexel Univ., 2022 WL 176427 (3d Cir. Jan. 20, 2022). Plaintiffs’ affidavits do
 not contradict their prior statements. In reality, ECFMG did not ask the Plaintiffs to identify
 whether they had physical manifestations.


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Dated: February 11, 2022                    Respectfully submitted,


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                                         others similarly situated




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused the foregoing document to be electronically filed

and served upon all counsel of record by electronic filing. This document is available for viewing

and downloading from the Court’s ECF System.



Dated: 2/11/2022                                               /s/ Robin S. Weiss
                                                               Robin S. Weiss




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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 MONIQUE RUSSELL, JASMINE
 RIGGINS, ELSA M. POWELL, and                   Case No. 2:18-cv-05629-JDW
 DESIRE EVANS, on behalf of themselves
 and all others similarly situated,

               Plaintiffs,
       v.

EDUCATIONAL COMMISSION FOR
FOREIGN MEDICAL GRADUATES,

               Defendant.


                                           ORDER

       AND NOW, this 22nd day of March, 2022, it is ORDERED that Oral Argument on

summary judgment and class certification motions, currently scheduled for March 29, 2022, at

10:00 a.m., is CANCELED.

                                                 BY THE COURT:


                                                 /s/ Joshua D. Wolson
                                                 JOSHUA D. WOLSON, J.




                                                                                   JA4715
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                  No. 21-_________

                         In the
 Supreme Court of the United States

       EDUCATIONAL COMMISSION FOR
       FOREIGN MEDICAL GRADUATES,

                                              Petitioner,

                           v.

    MONIQUE RUSSELL; JASMINE RIGGINS;
     ELSA M. POWELL; and DESIRE EVANS,

                                           Respondents.



  On Petition for a Writ of Certiorari to the
   United States Court of Appeals for the
                Third Circuit


 PETITION FOR A WRIT OF CERTIORARI

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                                                                                JA4716
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                           i
            QUESTION PRESENTED
       Rule 23(b)(3) mandates that when a party
seeks to certify a class action that involves both
common and individual issues, certification is
proper when the common issues predominate over
the individual issues and a class action is a superior
method of adjudicating the controversy as a whole.
Fed. R. Civ. P. 23(b)(3).
        The decision below holds that there is an
alternate route to certification under Rule 23(b)(3),
which allows certification even when the common
issues do not predominate over the individual issues
for a single claim. Under this theory, if certification
of common issues is “appropriate” under
Rule 23(c)(4), a court analyzes predominance under
Rule 23(b)(3) by considering only the certified
(common) issues,        ignoring   the uncertified
(individual) issues.
      The question presented is:
       Whether, when an action involves both
common and individual questions, a court may
certify common questions for class treatment under
Rule 23(b)(3) without finding that the common
questions predominate over the individual
questions.




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                        ii
      PARTIES TO THE PROCEEDINGS
        AND RULE 29.6 STATEMENT

       The parties to the proceedings include those
listed on the cover.

       Educational Commission for Foreign Medical
Graduates (ECFMG) has no parent corporation and
no publicly held corporation owns more than 10% of
its stock.




                                                                          JA4718
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                        iii
 STATEMENT OF RELATED PROCEEDINGS

       This case arises from and is related to the
following proceedings:
  • Russell v. Educational Commission for
    Foreign           Medical          Graduates,
    No. 2:18-cv-05629-JDW,      United      States
    District Court for the Eastern District of
    Pennsylvania. Order granting motion for class
    certification entered March 23, 2020; and
  • Russell v. Educational Commission for
    Foreign Medical Graduates, No. 20-2128,
    United States Court of Appeals for the Third
    Circuit.  Opinion and judgment entered
    September 24, 2021.
       There are no other proceedings in state or
federal trial or appellate courts, or in this Court,
directly related to this case within the meaning of
this Court’s Rule 14.1(b)(iii).




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                          1

  PETITION FOR A WRIT OF CERTIORARI

       Petitioner Educational Commission for
Foreign Medical Graduates (“ECFMG”) respectfully
petitions for a writ of certiorari to review the
judgment of the United States Court of Appeals for
the Third Circuit.

       OPINIONS AND ORDERS BELOW

       The panel order vacating and remanding the
district court’s class certification order (App. 1a) is
reported at 15 F.4th 259 (3d Cir. 2021). The order of
the district court (App. 35a) and the opinion of the
district court (App. 38a) are unreported.

       STATEMENT OF JURISDICTION

      The court of appeals entered its judgment on
September 24, 2021. App. 1a. The jurisdiction of
this Court is invoked under 28 U.S.C. § 1254(1).

    CONSTITUTIONAL AND STATUTORY
        PROVISIONS INVOLVED

      Rule 23 of the Federal Rules of Civil
Procedure provides, in pertinent part:

      (b) Types of Class Actions. A class action may
      be maintained if Rule 23(a) is satisfied and if:

                         ...




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                   2
      (3) the court finds that the questions of
      law or fact common to class members
      predominate over any questions
      affecting only individual members, and
      that a class action is superior to other
      available methods for fairly and
      efficiently        adjudicating      the
      controversy. . . .

(c) Certification Order; Notice to Class
Members;     Judgment;   Issues  Classes;
Subclasses.

                  ...

      (4)    Particular      Issues.  When
      appropriate, an action may be brought
      or maintained as a class action with
      respect to particular issues.




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                   STATEMENT

       The decision below deepens an entrenched
circuit split regarding the interaction of Rule 23(b)
and Rule 23(c)(4), specifically, whether Rule 23(c)(4)
may be used to evade the requirements of Rule
23(b)(3) and certify classes that cannot satisfy Rule
23(b)(3)’s predominance requirement under the
ordinary test.
      Respondents asserted claims on behalf of a
putative interstate class against ECFMG for
negligent infliction of emotional distress. For these
claims, individual questions—including causation
and injury—predominate over any common
questions.
       Nonetheless, in the decision below, the Third
Circuit held that predominance of the purportedly
common issues—duty and breach—over the
individual issues involved in the claims is not
required for class certification under Rule 23(c)(4)
and Rule 23(b)(3).
       1.     Federal Rule of Civil Procedure 23
governs class certification. Class certification is
permissible only if the party seeking certification
satisfies both Rule 23(a) and one of the paragraphs
of Rule 23(b).
       Rule 23(a) provides that a class action must
satisfy four requirements. The first two concern the
proposed class action: (1) the class must be “so
numerous that joinder of all members is




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impracticable,” and (2) there must be “questions of
law or fact common to the class.” The third and
fourth requirements concern the representative
parties, who (3) must possess “claims or defenses”
that “are typical of the claims or defenses of the
class” and (4) must “fairly and adequately protect
the interests of the class.”
       Rule 23(b) creates three different types of
class actions. This petition concerns the third type,
a class action seeking damages under Rule 23(b)(3),
“‘the most adventuresome’ innovation” in the 1966
class-action amendments. Amchem Prods., Inc. v.
Windsor, 521 U.S. 591, 614–15 (1997) (quoting
Benjamin Kaplan, A Prefatory Note, 10 B.C. Ind. &
Com. L. Rev. 497, 497 (1969)).
       Certification under Rule 23(b)(3) requires a
court to find both predominance—“that the
questions of law or fact common to class members
predominate over any questions affecting only
individual members”—and superiority—“that a
class action is superior to other available methods
for fairly and efficiently adjudicating the
controversy.”
        Rule 23(c) governs various procedural aspects
of the class action device and applies whether a class
action is certified under Rule 23(b)(1), (b)(2), or
(b)(3). Rule 23(c) prescribes the contents of the
certification order (Rule 23(c)(1)), the form of notice
and any opt-out required (Rule 23(c)(2)), and the
form of judgment (Rule 23(c)(3)). This petition
concerns Rule 23(c)(4), which provides—as Rule




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23(b)(3) contemplates—that “[w]hen appropriate, an
action may be brought or maintained as a class
action with respect to particular issues.”
       2.    Respondents—named             plaintiffs
Monique Russell, Jasmine Riggins, Elsa Powell, and
Desire Evans—are former patients of a physician
who was licensed to practice medicine by the State
of Maryland in 2011, App. 9a, after completing a
residency at Howard University Hospital. App.
41a. 1 Respondents do not assert claims based on the
quality of the medical care they received from their
physician: he delivered respondents’ children and
successfully performed unplanned emergency
cesarean-section surgery on Russell and Riggins.
App. 10a.
       Respondents instead claim that even if they
received capable medical treatment, they suffered
emotional distress upon learning that their
physician—who they knew as “John Akoda”—used a
false name and misused another’s social security
numbers in applying for his residency program and
was truly named “Oluwafemi Charles Igberase.”
App. 6a, 9a, 10a.



1 The district court incorrectly states that the physician who
treated respondents “was not a doctor at all.” App. 38a. To the
contrary, it is undisputed that the individual who treated
respondents completed a residency program and was licensed
to practice medicine. Respondents’ claim is that he should not
have been licensed, not that he was not licensed.




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       Rather than suing Akoda, the hospitals that
employed him, the state medical board that licensed
him, or the residency program from which he
graduated,     respondents      sued      petitioner,
Educational Commission for Foreign Medical
Graduates, a non-profit organization based in
Philadelphia that certifies international medical
graduates as ready to enter post-graduate medical
education in the United States by verifying (1) that
a recognized foreign medical school has confirmed
the authenticity of the graduate’s medical school
diploma and (2) that the graduate received passing
grades on tests of medical knowledge and English
proficiency. App. 39a.
       Respondents contend that ECFMG should
have performed further investigation, discovered
Dr. Akoda’s deception, and prevented him from
treating patients. App. 9a. They claim to have
suffered compensable emotional distress as a result
of ECFMG’s certification of Dr. Akoda.
        3.    Respondents sought certification under
Rule 23(b)(3) of a class of “all patients examined
and/or treated in any manner by Oluwafemi Charles
Igberase (a/k/a Charles J. Akoda, M.D.).” App. 42a.
They proposed two alternatives. They first sought
certification of a class as to liability. Id. In the
alternative, they sought certification of nine specific
issues:
      (1) whether ECFMG undertook or otherwise
      owed a duty to class members who were
      patients of Igberase;




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      (2) whether ECFMG breached its duty to class
      members;
      (3) whether ECFMG undertook or otherwise
      owed a duty to hospitals and state medical
      boards, such that ECFMG may be held liable
      for foreseeable injuries to third persons such
      as class members pursuant to Restatement
      (Second) of Torts § 324A;
      (4) whether ECFMG breached its duty to
      hospitals and state medical boards;
      (5) whether the emotional distress and other
      damages that Plaintiffs allege were a
      foreseeable result of ECFMG’s conduct;
      (6) whether ECFMG’s conduct involved an
      unusual risk of causing emotional distress to
      others under Restatement (Second) of Torts
      § 313;
      (7) whether ECFMG is subject to liability
      under Restatement (Second) of Torts § 876 for
      assisting Igberase in committing fraud;
      (8) whether ECFMG knew or should have
      known that Akoda was, in fact, Igberase; and
      (9) whether it was foreseeable that ECFMG’s
      conduct could result in emotional distress
      experienced by class members
App. 42a-43a.
      The district court first concluded that
respondents satisfied the requirements of




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Rule 23(a). App. 50a-56a. Rather than proceeding
to address Rule 23(b)(3), however, the district court
held that because the plaintiffs sought certification
of particular issues, it was unnecessary to consider
Rule 23(b), and a court should only consider the
“Gates factors” (the test applied only by the Third
Circuit for whether certification is “appropriate”
under Rule 23(c)(4)): “[T]he Court will consider Rule
23(a) and then turn to the Gates factors in
conducting its analysis.” App. 45a.
        Recognizing that causation and damages are
individual questions, the district court readily
rejected the proposed liability class: “Given the
individual nature of the causation and damages
inquiry, the Court will not certify a class to tackle
liability as a whole.” App. 58a. “There would be
little efficiency to be gained from such a certification
because the evidence in the class action portion of
the case would overlap with the evidence in the
individual portion of the case.” Id.
        The district court agreed, however, to certify
a class for the issues that “relate to whether ECFMG
had a relevant legal duty and whether it breached
that duty.” App. 59a. It concluded that issue
certification under Rule 23(c)(4) was “appropriate”
based on the Gates factors. App. 59a-61a.
      The district court’s analysis covers only three
paragraphs. It first states that “the questions of
duty and breach favor issue certification because
they are questions of law and/or fact common to all
class members and subject to common proof.” App.




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59a. This essentially restates that a common issue
has been identified. The district court next stated
that certification would allow “a single trial with a
single, preclusive determination,” App. 60a, a truism
about a class proceeding. And finally, the district
court stated that “[p]artial certification will not
damage any class member’s statutory or
constitutional rights.” App. 60a.
       The district court did not make any findings
about superiority or predominance under Rule
23(b)(3).
        3.    After the Third Circuit granted its Rule
23(f) petition, ECFMG briefed the merits of the
appeal to the Third Circuit. Respondents did not
cross-appeal. In addition to challenging the district
court’s analysis of the Rule 23(a) factors, App. 24a
n.4, ECFMG raised two arguments relating to the
district court’s certification under Rule 23(c)(4).
First, ECFMG argued that Rule 23(c)(4) is not an
alternative means of class certification and that
certification under Rule 23(b)(3) is unavailable
unless the common questions predominate over the
individual questions for a claim. App. 23a-24a.
Second, in the alternative, ECFMG argued that the
district court abused its discretion in applying the
Gates factors and refusing to consider Rule 23(b).
App. 24a. ECFMG requested that the Third Circuit
render judgment that no class could be certified.
     The Third Circuit, in an opinion written by
Judge Restrepo, rejected ECFMG’s primary
argument about the interaction of Rule 23(b)(3) and




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Rule 23(c)(4) (which would have led to rendition of a
judgment that no class certification was
permissible). The opinion holds that Gates (and
Rule 23(c)(4)) “permit[s] the certification of issues
that do not resolve liability.” App. 20a. Put bluntly,
“Rule 23(c)(4) can be used even though full Rule
23(b)(3) certification is not possible due to the
predominance infirmities.” App. 28a-29a.
       The Third Circuit agreed, however, that the
district court erred because it “did not determine
whether the duty and breach elements of Plaintiffs’
claim satisfied Rule 23(b)(3).” App. 23a. And the
district court “failed to rigorously consider several
Gates factors.” App. 25a. As a result, it vacated the
class certification and remanded to the district
court. App. 32a.
       ECFMG respectfully now petitions this Court
for certiorari.




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 REASONS FOR GRANTING THE PETITION

I.    The Decision Below Deepens an
      Entrenched, Acknowledged Circuit Split
      Regarding the Interaction of Rule
      23(c)(4) and Rule 23(b)(3).

       The courts of appeals are sharply divided on
the interaction of Rule 23(c)(4) and Rule 23(b)(3).
The split has persisted for more than a quarter
century and been acknowledged by numerous
decisions. See, e.g., In re Nassau Cnty. Strip Search
Cases, 461 F.3d 219, 226 (2d Cir. 2006); Russell v.
Educ. Comm’n for Foreign Med. Graduates, 15 F.4th
259, 273 (3d Cir. 2021); Gunnells v. Healthplan
Servs., Inc., 348 F.3d 417, 444 (4th Cir. 2003);
Martin v. Behr Dayton Thermal Prods. LLC, 896
F.3d 405, 411 (6th Cir. 2018); In re St. Jude Med.,
Inc., 522 F.3d 836, 841 (8th Cir. 2008).
Commentators, too, have discussed this split for
years. See, e.g., Robert H. Klonoff, The Decline of
Class Actions, 90 Wash. U.L. Rev. 729, 807-15 (2013)
(“[Rule 23(c)(4)] has created significant conflict and
confusion among the courts[.]”).        This Court’s
guidance on this complicated and important
question of class action jurisprudence is long
overdue.
      At a high level, the split concerns whether
Rule 23(c)(4) may be used to certify a class action
under Rule 23(b)(3) when common issues do not
predominate over individual issues. The Fifth
Circuit and (it appears) the Eighth Circuit hold—




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correctly, in petitioner’s view—that certification
under Rule 23(b)(3) always requires predominance
to be satisfied for a cause of action as a whole.
       The Second, Third, Sixth, and Ninth Circuits
hold instead that if a court certifies common issues
for class treatment under Rule 23(c)(4), then a class
may be certified under Rule 23(b)(3), even when the
(uncertified) individual questions predominate over
the (certified) common questions.
       Even within the plurality, however, there is
significant division over both (1) when it is
“appropriate” to certify issues under Rule 23(c)(4);
and (2) how (and whether) the subsequent Rule
23(b)(3) inquiry should be conducted.
      This Court’s intervention is required to
provide much needed guidance on the proper
interaction between Rule 23(b)(3) and Rule 23(c)(4).
      A.     The Fifth and Eighth Circuits Hold
             That Rule 23(c)(4) Cannot Be Used
             to Evade the Requirements of Rule
             23(b)(3).
        The Fifth Circuit has rejected “the nimble use
of subdivision (c)(4)” to “manufacture predominance”
by first limiting the case to common issues and then
applying Rule 23(b)(3). Castano v. Am. Tobacco Co.,
84 F.3d 734, 745 n.21 (5th Cir. 1996). Instead, the
Fifth Circuit holds, a “cause of action, as a whole,
must satisfy the predominance requirement of
(b)(3).” Id.




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       If the common issues predominate over the
individual issues, Rule 23(c)(4) then “allows courts
to sever the common issues for a class trial.” Id.
       The alternative—“[r]eading Rule 23(c)(4) as
allowing a court to sever issues until the remaining
common issue predominates over the remaining
individual     issues”—“would      eviscerate    the
predominance requirement of Rule 23(b)(3)” and
effectively allow “automatic certification in every
case where there is a common issue, a result that
could not have been intended.” Id.
       The Fifth Circuit remains steadfast in its
interpretation of the interaction between Rule
23(b)(3) and Rule 23(c)(4). See Corley v. Orangefield
Indep. Sch. Dist., 152 F. App’x 350, 355 (5th Cir.
2005) (applying Castano to hold that “plaintiffs must
first show that the cause of action, taken as whole,
satisfies the predominance requirement of Rule
23(b)(3)”); Smith v. Texaco, Inc., 263 F.3d 394, 409–
10 (5th Cir. 2001) (applying Castano to hold that
“the cause of action, as a whole, must satisfy Rule
23(b)(3)’s predominance requirement”), opinion
withdrawn, cause dismissed, 281 F.3d 477 (5th Cir.
2002); Allison v. Citgo Petroleum Corp., 151 F.3d
402, 421–22 (5th Cir. 1998) (applying Castano and
declining to certify the first stage of a pattern or
practice claim).
       The Eighth Circuit appears also to hold that
class certification requires satisfying Rule 23(b)(3)’s
predominance requirement for the cause of action as
a whole, regardless of Rule 23(c)(4). In Ebert v.




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General Mills, Inc., the Eighth Circuit reversed an
order certifying the issue of liability under
Rule 23(c)(4) in an environmental contamination
lawsuit. 823 F.3d 472 (8th Cir. 2016). It held that
the district court erred in its “deliberate limiting of
issues”: “[B]y bifurcating the case and narrowing the
question for which certification was sought, the
district court limited the issues and essentially
manufactured a case that would satisfy the Rule
23(b)(3) predominance inquiry.”          Id. at 479.
Considering the cause of action as a whole, the
Eighth Circuit held that “[a]lthough there may be
common matters in this litigation that can be
decided on a class-wide basis,” the matter is
“unsuitable for class certification under Rule
23(b)(3)” because “individual issues predominate the
analysis of causation and damages.” Id. at 480.
        Although Ebert does not cite Rule 23(c)(4)
directly, the analysis cites In re St. Jude Medical,
Inc., which notes the conflict regarding issue
certification under Rule 23(c)(4). See Ebert, 823 F.3d
at 480 (citing 522 F.3d at 841 (discussing “issue
certification under Rule 23(c)(4)”)). And at least one
district court has recognized that Ebert bears on
certification under Rule 23(c)(4). See In re Nat’l
Hockey League Players’ Concussion Inj. Litig., 327
F.R.D. 245, 257 (D. Minn. 2018) (citing Ebert in
rejecting certification under Rule 23(c)(4)).
      Although perhaps not conclusive as to the
Eighth Circuit’s view, Ebert provides a strong
indication that the Eighth Circuit shares the Fifth




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Circuit’s refusal to permit Rule 23(c)(4) to be used to
evade Rule 23(b)(3).
      B.     A Plurality of Circuits Allow Class
             Certification Even When Common
             Issues Do Not Predominate Over
             Individual Issues.
        In contrast, the Second, Third, Sixth, and
Ninth Circuits hold that Rule 23(c)(4) allows issues
to be certified for class treatment under Rule
23(b)(3), even when common issues do not
predominate for the claim as a whole: “[W]e hold
that a court may employ subsection (c)(4) to certify a
class as to liability [under Rule 23(b)(3)] regardless
of whether the claim as a whole satisfies Rule
23(b)(3)’s predominance requirement.”          Nassau
Cnty., 461 F.3d at 227; accord App. 23a (“[The Third
Circuit] does not require Plaintiffs seeking issue-
class certification to prove that their cause of action
as a whole satisfies a subsection of Rule 23(b)[.]”);
Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234
(9th Cir. 1996) (issue certification permitted “[e]ven
if the common questions do not predominate over the
individual questions”).
        In these circuits, when a party seeking
certification (ordinarily, the plaintiff) invokes Rule
23(c)(4), the district court must consider whether the
common issues are “appropriate” for class
certification.




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       If so, only these certified issues (the common
issues 2) are considered during any Rule 23(b)(3)
predominance analysis. See Nassau Cnty., 461 F.3d
at 221 (“[A] court must first identify the issues
potentially appropriate for certification and . . . then
apply the other provisions of the rule, i.e., subsection
(b)(3) and its predominance analysis[.]” (internal
quotation marks and citation omitted)); App. 24a
(“Plaintiffs [must] demonstrate that the issues they
seek to certify satisfy one of Rule 23(b)’s
subsections.”); Martin, 896 F.3d at 411 (directing
lower courts to “apply the Rule 23(b)(3)
predominance and superiority prongs after common
issues have been identified for class treatment under
Rule 23(c)(4)”).     The issues not identified as
“appropriate” for certification are ignored, and no
comparison of the individual and common issues
occurs.
        In these circuits, then, when Rule 23(c)(4) is
cited, the focus of the class certification inquiry has
shifted from Rule 23(b)(3)’s requirements to whether
certification is “appropriate” under Rule 23(c)(4).



2 This assumes that the movant has successfully identified
common issues. In this case, ECFMG denies that the certified
issues of breach and duty are truly common and is opposing
class certification on remand on this basis. For purposes of this
petition, ECFMG assumes that the certified issues on which
certification is sought—breach and duty—are “common” and
would, if considered without reference to the uncertified issues,
satisfy Rule 23(b)(3).




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        But although the circuits agree on this
approach at a high level, within the plurality, there
is significant disagreement, both about (1) when
issue certification is “appropriate”; and (2) how issue
certification affects the Rule 23(b)(3) inquiry.
Indeed, it appears that no two circuits apply
precisely the same the test in all respects.
             1.     Within the plurality, the
                    circuits disagree about the
                    test    for    when   issue
                    certification             is
                    “appropriate.”

        The Sixth and Ninth Circuits hold that
certification of an issue class is “appropriate” (and
thus permissible under Rule 23(c)(4)) when it would
“materially advanc[e] the disposition of the litigation
as a whole.” Rahman v. Mott’s LLP, 693 F. App’x
578, 579 (9th Cir. 2017); see also D.C. by & through
Garter v. County of San Diego, 783 F. App’x 766, 767
(9th Cir. 2019), cert. denied sub nom. D. C. by &
through Garter v. San Diego County, 141 S. Ct. 255
(2020) (“significantly advance the resolution of the
underlying case”); Martin, 896 F.3d at 416
(“materially advance the litigation”).
        The Second Circuit appears to agree:
“Certifying, for example, the issue of defendants’
scheme to defraud, would not materially advance the
litigation[.]” McLaughlin v. Am. Tobacco Co., 522
F.3d 215, 234 (2d Cir. 2008), abrogated on other
grounds, Bridge v. Phx. Bond & Indem. Co., 553 U.S.




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639 (2008); see also Robinson v. Metro–N. Commuter
R.R., 267 F.3d 147, 168 (2d Cir. 2001) (“reduce the
range of issues in dispute and promote judicial
economy”).
        These circuits thus reduce issue class
certification to an essentially functional inquiry.
       The Third Circuit, as shown in the decision
below, stands alone in applying a multi-factor test—
the “Gates factors”—under Rule 23(c)(4). See App.
17a–18a. This analysis, the Third Circuit has held,
is “analytically independent” from Rule 23(b)(3).
App. 31a (quoting Gonzalez v. Corning, 885 F.3d
186, 202 (3d Cir. 2018), as amended (Apr. 4, 2018)).
To determine whether issue class certification is
“appropriate,” a district court must consider a “non-
exclusive” list of nine factors that the Third Circuit
adopted a decade ago. Id.; Gates v. Rohm & Haas
Co., 655 F.3d 255, 273 (3d Cir. 2011).
       No other circuit has adopted the Gates
factors—or any other list of factors—to determine
whether certification is “appropriate” under Rule
23(c)(4). Even among the circuits that generally
agree that Rule 23(c)(4) permits certification of
classes otherwise impermissible, the Third Circuit
stands alone.




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             2.     Within the plurality, the
                    circuits disagree about how
                    Rule 23(b)(3) applies.

        Similarly, if a court determines that
certification of issues under Rule 23(c)(4) is
“appropriate,” there is a conflict among the plurality
regarding how the Rule 23(b)(3) analysis should be
performed.
       The Ninth Circuit appears to hold that no
analysis     of    predominance      is   necessary:
“[P]redominance was not required for certifying a
class under Rule 23(c)(4).” Reitman v. Champion
Petfoods USA, Inc., 830 F. App’x 880, 882 (9th Cir.
2020); see also Reitman v. Champion Petfoods USA,
Inc., No. CV181736DOCJPRX, 2019 WL 7169792, at
*14 (C.D. Cal. Oct. 30, 2019) (“[P]redominance need
not be met to be certified under Rule 23(c)(4).”);
Tasion Commc’ns, Inc. v. Ubiquiti Networks, Inc.,
308 F.R.D. 630, 633 (N.D. Cal. 2015) (“[A] Rule
23(c)(4) issues class must still meet the
requirements of Rule 23(a) and (b) (except for the
predominance requirement of Rule 23(b)(3)).”). But
see Valentino, 97 F.3d at 1234 (“The district court
abused its discretion by not adequately considering
the predominance requirement before certifying the
[issue] class.”). The decisions do not appear to
address how superiority should be considered.
      The Sixth Circuit, in contrast, requires “a
robust application of predominance and superiority




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to the issues . . . certified for class treatment.”
Martin, 896 F.3d at 413.
        The Second Circuit appears to apply the
predominance inquiry to the issues certified under
Rule 23(c)(4) but the superiority inquiry to the
litigation as a whole. Nassau Cnty., 461 F.3d at 230.
       The decision below appears to expand the
split even further, apparently holding that when
issues are certified under Rule 23(c)(4), not only all
of Rule 23(b)(3)—but also Rule 23(a)3—must be
evaluated only with respect to those issues. See App.
14a (“A party seeking to certify ‘particular issues’ for
class treatment must show . . . that those issues
satisfy Rule 23(a)’s prerequisites and that those
issues are maintainable under Rule 23(b)(1), (2), or
(3).” (internal quotation marks and citation
omitted)).
                3.      These holdings have created
                        confusion among the cases
                        and among the district
                        courts.

       The description above represents our best
understanding of the positions of the different
circuits, but their positions are far from clear.


3 There is no textual basis for this statement. Rule 23(a)(3)
plainly requires that “the claims or defenses of the
representative parties are typical of the claims or defenses of
the class,” not typical with respect to issues within those claims
or defenses.




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       The Fourth Circuit, for example, is often
described as joining with the Second, Sixth, and
Ninth Circuits. See Martin, 896 F.3d at 412 (“In
addition to the Second and Ninth Circuits, the
Fourth and Seventh Circuits have supported this
approach.”); App. 29a (“That view, the so-called
‘broad view,’ has been adopted or supported by the
Second, Fourth, Sixth, Seventh, and Ninth
Circuits.”).
       But in the case ordinarily cited as support for
this proposition, Gunnells v. Healthplan Services,
Inc., the Fourth Circuit made clear that it was not
taking sides in the split:
      [W]e have no need to enter that fray . . .
      because . . . Plaintiffs’ cause of action
      as a whole against TPCM satisfies the
      predominance requirements of Rule 23.
      Thus even if the view adopted by the
      Fifth Circuit (that predominance must
      be established within a given cause of
      action to invoke (c)(4)) rather than that
      of the Ninth Circuit (that this is not
      necessarily required) constituted the
      law of this circuit, our holding here
      would be in full accordance with the
      Fifth Circuit view.
348 F.3d at 444–45.
      Similarly, the Seventh Circuit’s authority
appears to be mixed. In Kartman v. State Farm
Mutual Automobile Insurance Co., the Seventh




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Circuit held that certification under Rule 23(c)(4)
was not “appropriate,” explaining that because “the
ultimate relief sought is money damages, . . . the
requirements for certification of a damages class
under Rule 23(b)(3) must be satisfied.” 634 F.3d 883,
886 (7th Cir. 2011). The case explained class
certification consistently with petitioner’s view: “A
damages class may be certified under Rule 23(b)(3)
and particular issues identified for resolution on a
class-wide basis pursuant to Rule 23(c)(4).” Id. at
895.
      But the decision below reads the Seventh
Circuit as consistent with the Second, Sixth, and
Ninth Circuits. App. 29a n.6.
      C.     The Circuit Split Is Acknowledged
             and Entrenched.
       The circuits have repeatedly acknowledged
the divide in their understandings of Rule
23(c)(4)(A). See Robinson, 267 F.3d at 167 n.12. The
Third Circuit, in the decision below, reaffirmed its
unique approach (i.e., the Gates factors). No circuit
has reconsidered its position, and there is no
reasonable prospect that one will do so.
      The circuits have not provided—and will not
provide—a clear and definitive answer to the
interaction of Rule 23(c)(4) and Rule 23(b)(3).
Further percolation will not be helpful, and the
necessary guidance can come only from this Court.




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II.   Rule 23(c)(4) Does Not Permit Evasion of
      Rule 23(b)(3).
       Review is warranted all the more because the
plurality understanding of Rule 23(c)(4) is incorrect.
This Court has explained that “[c]onsidering
whether ‘questions of law or fact common to class
members predominate’ begins, of course, with the
elements of the underlying cause of action.” Erica P.
John Fund, Inc. v. Halliburton Co., 563 U.S. 804,
809 (2011) (citation omitted). There is no basis for
limiting the predominance inquiry to only some of
the elements of the underlying cause of action.
      A.     The plurality view would nullify
             the predominance requirement of
             Rule 23(b)(3).
       Most obviously, the plurality view cannot be
correct because it would nullify the predominance
requirement of Rule 23(b)(3).
       As the decision below indicates, the plurality
view relies on a false dichotomy between “partial
Rule 23(b)(3)” certification under Rule 23(c)(4) and
“full Rule 23(b)(3) certification.” See App. 29a
(holding that certification under Rule 23(c)(4) “can
be used even though full Rule 23(b)(3) certification
is not possible due to the predominance infirmities”).
       Not only do the concepts of “partial” and “full”
Rule 23(b)(3) certification have no basis in the rules,
but the distinction makes no difference. Both forms
of certification have exactly the same effect: If a
claim receives “full” Rule 23(b)(3) certification




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because the common questions predominate over
individual questions, then the common question will
be resolved classwide and the individual questions
resolved in subsequent individual proceedings. If a
claim receives “partial” Rule 23(b)(3) certification of
the common questions under Rule 23(c)(4), the
common questions will be resolved classwide, and
the individual questions resolved in subsequent
individual proceedings.
       The only difference between “full Rule
23(b)(3) certification” and the “partial certification”
(wrongly permitted by some courts of appeals) is
that partial certification is a far less difficult
standard for achieving exactly the same result. 4
       Under the reasoning of the Second, Third,
Sixth, and Ninth Circuits, if certifying the common
issues is “appropriate” under Rule 23(c)(4), then
there is no need to prove that those common issues
predominate over the (uncertified) individual issues.

4For example, courts have held that liability-only classes can
be created both under the orthodox Rule 23(b)(3) analysis and
(more easily) through Rule 23(c)(4). Compare Seijas v.
Republic of Argentina, 606 F.3d 53, 58 (2d Cir. 2010) (holding
that a liability-only class satisfies Rule 23(b)(3)’s predominance
requirement for the claim as a whole even though “damages
may have to be ascertained on an individual basis”) with
Nassau Cnty., 461 F.3d 227 (“[A] court may employ [Rule
23(c)(4)] to certify a class as to liability regardless of whether
the claim as a whole satisfies Rule 23(b)(3)’s predominance
requirement.”). There is no difference between the liability-
only classes created by these two different routes to
certification.




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If a claim involves both common issues and
individual issues, class counsel should always cite
Rule 23(c)(4) and seek certification only of common
issues under that provision. Indeed, it would verge
on malpractice for class counsel to intentionally
choose the more difficult route of “full Rule 23(b)(3)
certification” rather than the easier “partial” Rule
23(c)(4) route.     There is no reason that the
predominance comparison expressly mandated by
Rule 23(b)(3) should ever take place.
       As a result, every word that this Court has
written about predominance should be meaningless.
E.g., Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442,
453 (2016) (discussing predominance); Comcast
Corp. v. Behrend, 569 U.S. 27, 30 (2013) (same);
Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568
U.S. 455, 459 (2013) (same). If the plurality view
were correct, this Court discussed predominance in
each of these cases only because plaintiffs’ counsel
erred in failing to invoke Rule 23(c)(4). Had
plaintiffs’ counsel invoked Rule 23(c)(4) in those
cases, whether the common questions predominated
over (uncertified) individual questions would have
been irrelevant.
        Rule 23(b)(3) expressly requires that when a
claim involves common and individual issues, class
certification is appropriate only if the common
questions predominate over “any individual
questions.” A reading of the Rules that renders this
provision superfluous cannot be correct.




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      B.     The error arises from a misreading
             of the Advisory Committee Notes.
      The genesis of the error appears to be a
misreading of the Advisory Committees Notes
regarding Rule 23.
        As this Court        has explained,       the
predominance requirement of Rule 23(b)(3) does not
require that there be no individual questions. “The
predominance inquiry asks whether the common,
aggregation-enabling, issues in the case are more
prevalent or important than the non-common,
aggregation-defeating, individual issues.” Tyson,
577 U.S. at 453 (internal quotation marks and
citation omitted).        When common issues
predominate, “the action may be considered proper
under Rule 23(b)(3) even though other important
matters will have to be tried separately[.]” Id.; see
also Comcast Corp., 569 U.S. at 41 (Ginsburg and
Breyer, JJ., dissenting) (“This predominance
requirement . . . scarcely demands commonality as
to all questions.”).
       Thus, the Advisory Committee Notes to
subdivision (b)(3) explain, class certification is
proper where “questions common to the class
predominate over the questions affecting individual
members.” Fed. R. Civ. P. 23, Advisory Committee
Notes to Subdivision (b)(3). The Notes use a fraud
claim as an example of circumstances in which
common liability questions might predominate over
individual   damages      questions:   “[A]   fraud
perpetrated on numerous persons by the use of




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similar misrepresentations may be an appealing
situation for a class action, and it may remain so
despite the need, if liability is found, for separate
determination of the damages suffered by
individuals within the class.” Id.
       Later, in discussing subdivision (c)(4), the
Advisory Committee Notes return to this example:
“For example, in a fraud or similar case the action
may retain its ‘class’ character only through the
adjudication of liability to the class; the members of
the class may thereafter be required to come in
individually and prove the amounts of their
respective claims.” Fed. R. Civ. P. 23, Advisory
Committee Notes to Subdivision (c)(4).
       The Advisory Committee Notes confirm
petitioner’s understanding of Rule 23(b). In a fraud
claim     involving     the     use    of    similar
misrepresentations on numerous persons, the
common liability questions may predominate over
individual damages questions and certification may
be proper under Rule 23(b)(3). If so, Rule 23(c)(4)
allows the common issue of liability to be
adjudicated on a classwide basis and the individual
issues to be adjudicated individually.
        In other words, in the fraud example in the
Advisory Committee Notes, Rule 23(c)(4) could be
employed to adjudicate liability on a classwide basis
because (as Rule 23(b)(3) required) the common
liability questions predominated over the individual
damages questions.




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       The Second Circuit misread the note to
subdivision (c)(4). Overlooking the fraud example in
subdivision (b)(3), the Second Circuit assumed that
the fraud example in (c)(4) was an exception to Rule
23(b)(3). See Nassau Cnty., 461 F.3d at 226 (relying
on the fraud liability example as circumstances
“when common questions predominate only as to the
‘particular issues’ of which the provision speaks”).
In other words, the Advisory Committee Notes
describe certification under subdivision (c)(4) in
circumstances where subdivision (b)(3) has been
satisfied for the claim as a whole. But the Second
Circuit misread the example to justify certification
under subdivision (c)(4) even though subdivision
(b)(3) was not satisfied.
      C.    The correct reading does            not
            nullify subdivision (c)(4).
       As    the    Advisory      Committee   Notes
demonstrate, the proper understanding of Rule
23(b)(3) and Rule 23(c)(4) does not “rende[r]
subsection (c)(4) virtually null.” Nassau Cnty., 461
F.3d at 226. To the contrary, Rule 23(c)(4) is
employed—either explicitly or implicitly—nearly
every time a class action is certified under Rule
23(b)(3).
      By definition, an “individual question” cannot
be certified for class treatment or resolved on a
classwide basis. “An individual question is one
where ‘members of a proposed class will need to
present evidence that varies from member to
member[.]’” Tyson Foods, 577 U.S. at 453 (quoting 2




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W. Rubenstein, Newberg on Class Actions § 4:50,
pp. 196–97 (5th ed. 2012)).
        Any time a claim involves both common and
individual questions, a court certifying a Rule
23(b)(3) class necessarily uses Rule 23(c)(4) to certify
only the common questions for class adjudication.
As discussed above, the decision below rests on a
false dichotomy between “full Rule 23(b)(3)
certification” and cases involving Rule 23(c)(4). App.
28a-29a.
       Nor does the correct approach require
“pretend[ing] that subsection (c)(4)—a provision
specifically included to make a class action more
manageable—does not exist until after the
manageability determination [has been] made.”
Nassau Cnty., 461 F.3d at 227 (citation omitted).
Petitioner’s view is that Rule 23(c)(4) is what
authorizes courts to separate common issues from
individual issues for class treatment. The ability of
a court (under Rule 23(c)(4)) to resolve only the
common issues on a classwide basis is critical to the
Rule 23(b)(3) superiority and manageability
analyses, regardless of whether the provision is cited
expressly.
III.   The Interaction of Rule 23(b)(3) and Rule
       23(c)(4) Is an Important Question That
       Should Be Decided by this Court.
       This issue is important and recurring, and
this area of the law warrants clarity from this Court.




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       Whether Rule 23(b)(3)’s predominance
requirement must always be satisfied by comparing
common issues to individual ones—or whether Rule
23(c)(4) can allow certification of a class even when
these requirements are not met—will dramatically
affect the scope of permissible class certification.
       If respondents are correct, then certification
is theoretically permissible for any case involving a
common issue, limited only by the creativity of
plaintiffs’ counsel in identifying common issues for
class treatment.
       This Court has already recognized the “risk of
‘in terrorem’ settlements” created by class actions.
AT&T Mobility LLC v. Concepcion, 563 U.S. 333,
350 (2011). And the decision below recognizes the
potential pressure that certification exerts on the
facts of this case: “If an issue-class jury finds that
the Commission owed Plaintiffs a legal duty that it
subsequently breached, the Commission may face
undue pressure to settle, even if their breach did not
cause Plaintiffs’ harm.” App. 25a.
       Class actions are tremendously powerful
procedural tools, but that power requires strict rules
and vigilance against their misuse. Particularly for
important oft-arising issues of federal procedure, the
circuits should be in harmony, and they should be
correct. Uniformity and clarity can come only from
this Court.




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IV.   This Case Is an Excellent Vehicle.
        This case provides an ideal vehicle for this
Court to consider the issue. The argument is
determinative. It is difficult to imagine a claim less
suitable for class treatment than a claim for
negligent infliction of emotional distress, and when
the claim is considered as a whole, the individual
issues—including causation, injury, and damages—
predominate over the narrow (allegedly-common)
issues of duty and breach that respondents seek to
certify. If ECFMG is correct that predominance
under Rule 23(b)(3) requires comparing the common
questions against the individual questions, then
certification is unavailable and judgment should
have been rendered denying class certification
(rather than remanding for additional consideration
by the district court).
       This case is a perfect example of a matter in
which “full Rule 23(b)(3) certification is not possible
due to the predominance infirmities.” App. 29a.
Certification is possible only if the decision below
was correct to hold that Rule 23(c)(4) creates some
special form of “partial” Rule 23(b)(3) certification.
       This case also illustrates the dangers of the
incorrect interpretation of Rule 23(c)(4), in which
plaintiffs’ counsel seek (and receive) certification of
an issue class for the purpose of settlement pressure,
without any real plan for trying the case.




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       The issue is important, and it is ripe for
decision. The split is implicated in this case, and a
decision on the legal rule in favor of ECFMG would
lead to a different result.
                  CONCLUSION

      The petition for a writ of certiorari should be
granted.

               Respectfully submitted,



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DECEMBER 2021




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                 APPENDIX A
                                  PRECEDENTIAL
   UNITED STATES COURT OF APPEALS
       FOR THE THIRD CIRCUIT


                    No. 20-2128


 MONIQUE RUSSELL; JASMINE RIGGINS;
  ELSA M. POWELL; and DESIRE EVANS,
                        v.
EDUCATIONAL COMMISSION FOR FOREIGN
        MEDICAL GRADUATES,
                                         Appellant


 On Appeal from the United States District Court
     for the Eastern District of Pennsylvania
        (District Court No. 2:18-cv-05629)
  District Judge: Honorable Joshua D. Wolson


           Argued February 11, 2021
  Before: RESTREPO, BIBAS, and PORTER,
              Circuit Judges
           (Filed: September 24, 2021)




                       (1a)




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             OPINION OF THE COURT


RESTREPO, Circuit Judge.
     This case presents the question whether the Dis-
trict Court abused its discretion when it certified an “is-
sue class” pursuant to Rule 23(c)(4) of the Federal Rules
of Civil Procedure. We hold that it did. According to
Rule 23(c)(4), “[w]hen appropriate, an action may be
brought or maintained as a class action with respect to
particular issues.” For “an action” to be “brought or
maintained as a class action,” the party seeking class
status must satisfy Rule 23 and all its requirements.
Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). Fur-
ther, in Gates v. Rohm & Haas Co., 655 F.3d 255 (3d Cir.
2011), we enumerated a “non-exclusive list of factors”
relevant to assessing whether the certification of an is-
sue class under Rule 23(c)(4) is “appropriate.” Id. at 272
(quoting Chiang v. Veneman, 385 F.3d 256, 267 (3d Cir.
2004)). So when a party seeks to certify “particular is-
sues” for class treatment, the district court must ask
three questions. First, does the proposed issue class sat-
isfy Rule 23(a)’s requirements? Second, does the pro-




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posed issue class fit within one of Rule 23(b)’s catego-
ries? Third, if it does, is it “appropriate” to certify this
as an issue class? Fed. R. Civ. P. 23(c)(4). Here, lacking
clear guidance, the District Court failed to determine
whether the issues identified for class treatment fit
within one of Rule 23(b)’s categories and then failed to
explicitly consider a few of the Gates factors. Accord-
ingly, for the reasons that follow, we will vacate the Dis-
trict Court’s issue-class certification and remand for fur-
ther proceedings.
I.   FACTUAL BACKGROUND
     A. The Educational Commission for Foreign
        Medical Graduates
     Graduates of foreign medical schools who wish to be
accepted to a United States medical-residency program
must have graduated from a recognized foreign institu-
tion, demonstrated English-language proficiency, and
passed the first two steps of the United States Medical
Licensing Examination. Defendant-Appellant Educa-
tional Commission for Foreign Medical Graduates (“the
Commission”) is a Philadelphia-based nonprofit that
certifies that such graduates have satisfied those re-
quirements. The Commission carries out this function in
two ways. First, it administers the English-language
and medical examinations the foreign medical school
graduates must pass. Second, the Commission verifies,
using primary sources, that the applicant received a
medical degree from a qualifying institution.
    As the central certification agency for graduates of
foreign medical schools, the Commission also investi-
gates what it calls “irregular behavior.” According to in-
ternal policies, the Commission may investigate “all ac-
tions or attempted actions on the part of applicants . . .




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that would or could subvert the examination, certifica-
tion or other processes, programs, or services of [the
Commission].” J.A. 254. The Commission’s investigation
of such behavior proceeds as follows. When the Commis-
sion receives an allegation that an applicant committed
irregular behavior, it reviews the allegation and deter-
mines whether sufficient evidence supports the charge.
If sufficient evidence supports the charge, the Commis-
sion notifies the applicant of the allegation and invites
him to submit a written explanation or present any other
relevant information. The applicant may also request a
hearing and hire legal counsel. After the applicant is
heard, the Commission then determines whether, by a
preponderance of the evidence, the applicant engaged in
the irregular behavior that was charged. The Commis-
sion may take various disciplinary actions, up to and in-
cluding permanent revocation of a certification. The
charged individual has a right of appeal, but petitions to
reconsider decisions are granted “only in extraordinary
cases.” Id. And whatever the case, if the Commission
“determines that an individual engaged in irregular be-
havior, a permanent annotation to that effect will be in-
cluded in the individual’s [Commission] record.” Id.
    B. A Foreign Doctor Named Charles Igberase
     In early 1992, a man named Oluwafemi Charles Ig-
berase applied to the Commission for certification. He
eventually passed the medical-licensing and English-
language examinations and was issued the Commis-
sion’s certification. But no residency program accepted
him. So, in March 1994, Igberase submitted a second ap-
plication for certification to the Commission. In that ap-
plication, however, Igberase rearranged his name (“Ig-
berase Oluwafemi Charles” instead of “Oluwafemi
Charles Igberase”); used a different date of birth (April




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17, 1961 instead of April 17, 1962); and responded “No”
to the question of whether he had ever previously sub-
mitted an application to the Commission. Igberase
passed each required examination and was certified by
the Commission for a second time. But in June 1995, the
Commission learned that Igberase had obtained two of
its certifications under different names and dates of
birth, and had lied on his second application about not
seeking certification previously. So it invalidated Ig-
berase’s second certification and revoked the first, and
informed the United States Medical Licensing Exami-
nation Committee of his deception. J.A. 237.
     In 1996, Igberase applied to the Commission for
certification for yet a third time. In this application, Ig-
berase ditched his first two names and invented another
one: “John Nosa Akoda.” J.A. 263. As he had twice be-
fore, Igberase (as Akoda) eventually passed the medi-
cal-licensing and English-language examinations and
received the Commission’s certification. After receiving
the certification as “Akoda,” Igberase applied for and
was admitted to a residency program in New J ersey.
But in August 2000, the residency program learned that
the social security number Akoda used in his application
belonged to Igberase. The residency program informed
the Commission of the inconsistency, provisionally sus-
pended the doctor it knew as Akoda, and, after an inter-
nal investigation, in November 2000, dismissed him.
     Once it learned of Akoda’s possible misuse of Ig-
berase’s social security number, the Commission
launched its own investigation. Based on the information
it had received from the residency program, the Com-
mission sent Akoda a “charge letter.” In it, the Commis-
sion told Akoda that it had “received information alleg-
ing that you may have engaged in irregular behavior,”




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specifically that he had twice before applied for certifi-
cation using the name “Igberase.” J.A. 284. The Com-
mission told Akoda that the allegations “require[ ] an ex-
planation,” and granted him fifteen days to submit a
written response. J.A. 285.
     A week later, as Akoda, Igberase responded. He de-
nied the allegations, telling the Commission that “[t]he
identification numbers listed in your letter apparently
belong to my cousin Dr. Igberase Oluwafemi Charles,
who left the country to practice, I believe, in South Af-
rica.” J.A. 287. Akoda admitted using Igberase’s social
security number but insisted that they were “two differ-
ent persons who attended two different Colleges of
Medicine.” Id. He reiterated that he had “only taken the
examination once in my name, John NOSA Akoda,” and
offered to provide the Commission with his passport if it
requested it. J.A. 287.
    The Commission official overseeing Akoda’s case
apparently did not buy the explanation. In a December
2000 memorandum intentionally not made part of
Akoda’s official file, the official wrote that he and others
believed Igberase and Akoda were one in the same. J.A.
293. But the official concluded that he did not have
enough evidence to recommend Akoda’s case to the
Commission’s credentialing committee. So Akoda’s cre-
dential remained active.
     In October 2006, Igberase, again as “Akoda,” ap-
plied to a residency program at Howard University
Medical Center. As part of his application, he submitted
to the Commission three letters of recommendation. But
the Commission was suspicious of Akoda, so one of its
officials attempted to verify the authenticity of these




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three letters of reference. The official sent each refer-
ence the recommendation letter submitted by Akoda
and asked each whether the letter was authentic. The
record does not reflect whether the official received a
response from any of the references.
    Despite the official’s reservations, Igberase (as
Akoda) was admitted to Howard’s residency program.
He successfully completed the program in 2011. After
completing the program, he applied for and received a
Maryland medical license using fake identification doc-
uments. That same year, he became a member of the
medical staff at Prince George’s Hospital Center and be-
gan seeing patients there.
     In J une 2016, law enforcement officials executed
search warrants at Igberase’s residence, medical office,
and vehicle. They found fraudulent or altered immigra-
tion documents, medical diplomas, medical transcripts,
letters of recommendation, and birth certificates. On
November 15, 2016, Igberase signed a plea agreement.
In it, he pleaded guilty to misuse of a social security ac-
count number to fraudulently obtain a Maryland medi-
cal license and admitted that “Akoda” was a pseudonym.
Id.
    The Commission subsequently invalidated Akoda’s
foreign-doctor certification, and the Maryland Board of
Physicians revoked his medical license.
    C. Patients of Igberase sue the Commission
   The named Plaintiffs are Monique Russell, Jasmine
Riggins, Elsa Powell, and Desire Evans. Each received
medical treatment from the doctor known as “Akoda,”
who was certified by the Commission in 1997. Igberase




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performed unplanned emergency cesarean-section sur-
gery on Russell and Riggins and delivered Evans’s and
Powell’s children. These Plaintiffs also seek to represent
a class of similarly situated individuals who likewise re-
ceived medical treatment from “Akoda.” But the Plain-
tiffs (appellees here) did not sue Igberase. Instead, they
sued the Commission, and asserted claims of negligent
infliction of emotional distress arising out of the Com-
mission’s certification of Igberase as “Akoda.”
     Eventually, the district court certified a class of “All
patients examined or treated in any manner by Olu-
wafemi Charles Igberase (a/ka [sic] Charles J. Akoda)
beginning with his enrollment in a postgraduate medical
education program at Howard University in 2007.” J.A.
63-64. But the district court did not certify the class un-
der any subsection of Rule 23(b). Instead, the court cer-
tified the class as an “issue class” pursuant to Rule
23(c)(4). The court certified the class with respect to
these issues:
    (1) whether the Commission undertook or otherwise
    owed a duty to class members.
    (2) whether the Commission breached any duty that
    it owed to class members.
    (3) whether the Commission undertook or otherwise
    owed a duty to hospitals and state medical boards,
    such that it may be held liable to class members pur-
    suant to the Restatement (Second) of Torts § 324A.
    (4) whether the defendant breached any duty that it
    owed to hospitals and state medical boards.
     In short, the particular issues the district court cer-
tified for class treatment concern only the duty and
breach elements of Plaintiffs’ claim. The district court




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therefore left for individualized proceedings whether
each Plaintiff was injured; whether the Commission’s
breach of the relevant duty (if it had a duty that was
breached) actually and proximately caused those inju-
ries; whether those injuries are due a particular amount
of damages; and whether the Commission could raise
any affirmative defense, including, presumably,
whether each Plaintiff’s consent to medical treatment by
Igberase breaks the causal chain. In the wake of the
Rule 23(c)(4) certification, the Commission successfully
petitioned for leave to appeal under Rule 23(f). We must
decide whether that certification was proper.
II. THE LEGAL FRAMEWO RK O F ISSUE-CLASS CERTI-
    FICATION

    A. Rule 23 outlines one procedure for pursuing
       aggregate litigation
    The class action is “an exception to the usual rule
that litigation is conducted by and on behalf of the indi-
vidual named parties only.” In re Hydrogen Peroxide
Antitrust Litig., 552 F.3d 305, 309 n.6 (3d Cir. 2009)
(quoting Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147, 155
(1982)). One reason the class action is an exceptional
form of litigation is because final judgments in such ac-
tions may implicate the procedural and substantive
rights of absent persons.
     The Supreme Court recently reiterated the princi-
ple that absent persons may not be bound by federal-
court judgments unless one of a limited number of his-
torically recognized exceptions is satisfied. See Taylor v.
Sturgell, 553 U.S. 880, 893 (2008). A “properly con-
ducted” class action is one such exception. Id. at 894-95.
A properly conducted class action requires that (1)
“[t]he interests of the nonparty and her representative




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are aligned”; (2) “either the party understood herself to
be acting in a representative capacity or the original
court took care to protect the interests of the nonparty”;
and (3) there was “notice of the original suit to the per-
sons alleged to have been represented.” Id. at 900.
    In the class context, “these limitations are imple-
mented by the procedural safeguards in Federal Rule of
Civil Procedure 23.” Id. at 900-01. The procedural safe-
guards of Rule 23, in turn, are constitutionally mandated
and “grounded in due process.” Id. at 901. Rule 23 thus
provides a constitutional safe harbor for litigants to pur-
sue class treatment on behalf of absent persons. But the
party seeking to certify a class “bears the burden of af-
firmatively demonstrating by a preponderance of the ev-
idence her compliance with the requirements of Rule
23.” Byrd v. Aaron’s Inc., 784 F.3d 154, 163 (3d Cir.
2015); see also Reyes v. Netdeposit, LLC, 802 F.3d 469,
485 (3d Cir. 2015) (discussing and clarifying preponder-
ance of evidence standard in class certification determi-
nations).
     The requirements of Rule 23 are these. The party
seeking class certification must demonstrate, first, that
the requirements of Rule 23(a) are met. Wal-Mart
Stores, Inc. v. Dukes, 564 U.S. 338, 345 (2011). To satisfy
Rule 23(a), a plaintiff must “prove that there are in fact
sufficiently numerous parties, common questions of law
or fact, typicality of claims or defenses, and adequacy of
representation.” Comcast Corp. v. Behrend, 569 U.S. 27,
33 (2013) (internal quotation marks omitted).
     Once beyond Rule 23(a)’s four prerequisites, plain-
tiffs then must seek to certify a class of one of three
“types,” each with additional requirements. See Fed. R.
Civ. P. 23(b). For instance, Rule 23(b)(3), a provision at




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issue here, states that a class may be maintained where
“questions of law or fact common to class members pre-
dominate over any questions affecting only individual
members,” and a class action would be “superior to
other available methods for fairly and efficiently adjudi-
cating the controversy.” 1
     Rule 23(c) provides two additional pathways to a
form of class certification. Rule 23(c)(5) permits a dis-
trict court, “[w]hen appropriate,” to “divide[ ]” a class
“into subclasses that are each treated as a class under
[Rule 23].” So if a district court detects dissimilarities of
interests between the putative class representative and
absent class members, it may divide the full class into
subclasses to isolate atypical issues or claims, or resolve
conflicts of interest that otherwise would preclude full
class certification. See, e.g., In re Nat’l Football League
Players Concussion Injury Litig., 821 F.3d 410, 432 (3d
Cir. 2016); see also Ortiz v. Fibreboard Corp., 527 U.S.
815, 856 (1999) (“[A] class divided between holders of
present and future claims . . . requires division into ho-
mogenous subclasses . . . with separate representation
to eliminate conflicting interests of counsel.”). And Rule
23(c)(4), the provision center stage here, states that

  1
     There are two additional “types” of class actions maintainable
under Rule 23(b). Rule 23(b)(1) allows a class to be maintained
where “prosecuting separate actions by or against individual class
members would create a risk of” either “(A) inconsistent or varying
adjudications,” or “(B) adjudications . . . that, as a practical matter,
would be dispositive of the interests of the other members not par-
ties to the individual adjudications or would substantially impair or
impede their ability to protect their interests.” Rule 23(b)(2), by
contrast, applies when “the party opposing the class has acted or
refused to act on grounds that apply generally to the class, so that
final injunctive relief or corresponding declaratory relief is appro-
priate respecting the class as a whole.”




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“[w]hen appropriate, an action may be brought or main-
tained as a class action with respect to particular issues.”
Pursuant to that provision, we have previously held that
a district court may certify for class treatment issues
that would, upon their resolution, determine a defend-
ant’s course of conduct. See Chiang v. Veneman, 385
F.3d 256 (3d Cir. 2004). In what follows, we examine the
scope of issue-class certification under Rule 23(c)(4).
    B. Issue-class certification under Rule 23(c)(4)
       grants district courts broad but well-defined
       discretion to certify particular issues for
       class treatment
     Let us restate the text of Rule 23(c)(4). It says that
“[w]hen appropriate, an action may be brought or main-
tained as a class action with respect to particular issues.”
The Rule, therefore, permits an issue class to be brought
or maintained “as a class action.” But with that permis-
sion comes restrictions. To be a “class action,” a party
must satisfy Rule 23 and all its requirements. Comcast
Corp. v. Behrend, 569 U.S. 27, 33 (2013); In re Hydrogen
Peroxide Antitrust Lit., 552 F.3d 305, 310 (3d Cir. 2008)
(“[A] class may not be certified without a finding that
each Rule 23 requirement is met.”). In other words, “[i]n
addition to satisfying Rule 23(a)’s prerequisites, parties
seeking class certification must show that the action is
maintainable under Rule 23(b)(1), (2), or (3).” Amchem
Prods., Inc. v. Windsor, 521 U.S. 591, 614 (1997). A party
seeking to certify “particular issues” for class treatment
must show the same. That party must show that those
issues “satisfy[ ] Rule 23(a)’s prerequisites” and that
those issues are “maintainable under Rule 23(b)(1), (2),
or (3).” See id.




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     But neither Rule 23(c)(4) nor its commentary out-
lines the “appropriate[ness]” inquiry, or discusses which
types of “issues” might be suitable for class treatment
and which may not be. At the provision’s adoption, the
Rules Committee, in its commentary, suggested that the
issue-class device may be used to bifurcate the “adjudi-
cation of liability to the class” from follow-on proceed-
ings needed to “prove the amounts of [class members’]
respective claims.” Fed. R. Civ. P. 23(c)(4) advisory com-
mittee’s note to 1966 amendment. That commentary
does not illuminate much. In a typical Rule 23(b)(3) class
action, for example, individualized damages determina-
tions often remain after common questions have been
decided. See, e.g., Tyson Foods, Inc. v. Bouaphakeo, 577
U.S. 442, 452-60 (2016); Amgen Inc. v. Conn. Ret. Plans
& Tr. Funds, 568 U.S. 455, 465-70 (2013). Further, Rule
23(c)(4) talks about “issues,” not “liability” (or “claims”
or “causes of action”), so there is no obvious textual basis
to limit issue-class certification to issues that, upon their
resolution, necessarily establish a defendant’s liability
as to all claimants.
    We explained Rule 23(c)(4)’s “appropriate[ness]” in-
quiry in Gates v. Rohm & Haas, 655 F.3d 255 (3d Cir.
2011). In Gates, we considered the appropriateness of is-
sue-class certification for property owners who alleged
that a chemical company’s pollution decreased their
property values. In 2005, Rohm & Haas acquired a
chemical-processing plant in Ringwood, Illinois. Id. at
258. For the half-century or so prior to Rohm & Haas’s
acquisition, the Ringwood facility was owned and oper-
ated by a company called Morton International. Id. Dur-
ing at least some of that time, Morton dumped
wastewater produced by its chemical processing into an
on-site lagoon. Id. The wastewater contained vinylidene




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chloride, a molecule used in the production of vinyl chlo-
ride, which is important in the production of plastics and
a known carcinogen. “In 1978, Morton ceased using the
on-site lagoon and covered it.” Id. But environmental
testing in the 1970s and 1980s suggested that Morton’s
dumping of vinylidene chloride was polluting the sur-
rounding environment. In 1973, for example, “tests of a
shallow aquifer under the Ringwood facility showed ele-
vated levels of ammonia and chloride.” Id. And in 1984,
water samples from wells that Morton had installed at
Ringwood showed elevated levels of vinylidene chloride
and vinyl chloride. Id.
     In 2006, residents of a nearby residential village
filed a class-action complaint alleging, among other
things, that Morton’s dumping of the vinylidene chloride
caused their residential community to become less at-
tractive and their property values to decrease. 2 Id. at
259, 271. Before the district court, with respect to their
property damage claim, the plaintiffs moved to certify
two classes—a Rule 23(b)(3) class of property owners
who allegedly suffered loss in property values due to the
defendants’ contamination and an “issue only” class that
would decide defendants’ liability but leave damages for
individual trials. Id. at 272.



  2
    The plaintiffs’ complaint asserted several claims for relief, in-
cluding medical monitoring, property damage claims, relief under
the Comprehensive Environmental Response, Compensation, and
Liability Act (CERCLA), 42 U.S.C. § 9601 et seq., the Illinois Envi-
ronmental Protection Act, 415 Ill. Comp. Stat. § 5/1 et seq., and
state-law fraudulent misrepresentation and willful and wanton mis-
conduct claims. But they chose to proceed on a class basis only on
the medical monitoring and property damage claims and, as noted,
solely with regard to vinyl chloride exposure. Gates, 655 F.3d at 259.




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     The district court declined to certify either class. As
to the plaintiffs’ proposed Rule 23(b)(3) class, the dis-
trict court found that common questions did not pre-
dominate over individual ones. The court observed “that
resolution of [common] questions leaves significant and
complex questions unanswered, including questions re-
lating to causation of contamination, extent of contami-
nation, fact of damages, and amount of damages.” Gates
v. Rohm and Haas Co., 265 F.R.D. 208, 233-34 (E.D. Pa.
2010). The district court likewise rejected plaintiffs’ at-
tempt to certify a Rule 23(c)(4) issue class. The court
found that an issue class “would not advance the resolu-
tion of class members’ claims” because, like in the Rule
23(b)(3) context, “the fact of damages and the amount of
damages would remain following the class-wide deter-
mination of any common issues, and further that causa-
tion and extent of contamination would need to be deter-
mined at follow-up proceedings.” Gates, 655 F.3d at 272
(quotation marks omitted). We affirmed.
     In affirming the district court’s decision not to cer-
tify a Rule 23(c)(4) issue class, we adopted a “non-exclu-
sive list of factors [to] guide courts” faced with motions
to certify particular issues. Gates, 655 F.3d at 273. Id.
The factors, which number nine, are these:
    1. the type of claim(s) and issue(s) in question;
    2. the overall complexity of the case;
    3. the efficiencies to be gained by granting partial
       certification in light of realistic procedural alter-
       natives;
    4. the substantive law underlying the claim(s), in-
       cluding any choice-of-law questions it may pre-
       sent and whether the substantive law separates




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        the issue(s) from other issues concerning liability
        or remedy;
      5. the impact partial certification will have on the
         constitutional and statutory rights of both the
         class members and the defendant(s);
      6. the potential preclusive effect or lack thereof that
         resolution of the proposed issue class will have;
      7. the repercussions certification of an issue(s) class
         will have on the effectiveness and fairness of res-
         olution of remaining issues;
      8. the impact individual proceedings may have upon
         one another, including whether remedies are in-
         divisible such that granting or not granting relief
         to any claimant as a practical matter determines
         the claims of others;
      9. and the kind of evidence presented on the issue(s)
         certified and potentially presented on the re-
         maining issues, including the risk subsequent tri-
         ers of fact will need to reexamine evidence and
         findings from resolution of the common issue(s).
    When assembled, the Gates factors construct a
functional framework to aid the district courts tasked
with resolving issue-class certification questions. 3 But




  3
    The Gates factors grew out of our opinion in Hohider v. United
Parcel Serv., Inc., 574 F.3d 169 (3d Cir. 2009). In Hohider, we pro-
vided relevant considerations on when a district court may wish “to
carve at the joints to form issue classes.” Gates, 655 F.3d at 273. As
source for the factors, the Hohider court cited the American Law
Institute’s “Proposed Final Draft of the Principles of the Law of
Aggregate Litigation.” Hohider, 574 F.3d at 200-02. By the time




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Gates did not define which “issues” would be appropri-
ate for class treatment or, more importantly, which
would not. Specifically, Gates did not answer whether
the term “particular issues” in Rule 23(c)(4) could en-
compass claim elements (like duty or breach, or causa-
tion or reliance) and defenses (like consent or interven-
ing cause), or if the “particular issues” that the district
court could certify “when appropriate” must be limited
to questions that would resolve a defendant’s liability.
     At several points, Gates appears to suggest that the
certified “issues” should (perhaps except in exceptional
circumstances) be able to resolve a defendant’s liability.
See, e.g., id. at 272 (“[T]he [district] court declined to
certify a liability-only class.”); id. at 273 (“The trial court
here did not abuse its discretion by declining to certify a
liability-only issue class when it found liability insevera-
ble from other issues that would be left for follow-up
proceedings.”); id. (“Nor did the court err in finding no
marked division between damages and liability.”); id. at
274 (“Plaintiffs have neither defined the scope of the li-
ability-only trial nor proposed what common proof
would be presented.”); id. (“A trial on whether the [is-
sues proposed] is unlikely to substantially aid resolution
of the substantial issues on liability and causation.”).
    Reading “issues” in Rule 23(c)(4) to exclude claim
elements is supported by later cases from our Court. In
Gonzalez v. Corning, 885 F.3d 186 (3d Cir. 2018), for ex-
ample, the only published opinion from this Court to ap-
ply Gates, we reiterated that issue-class certification


Gates issued, the ALI had finalized the Principles, and we incorpo-
rated many of them as the factors district courts should consider in
assessing whether to certify an issue class. Gates, 655 F.3d at 273.




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“might be appropriate” if “liability is capable of class-
wide treatment but damages are not[.]” Id. at 202-03
(emphasis added). Said another way, issue-class certifi-
cation is not appropriate if class-wide resolution of the
“issues” does not resolve liability. See id. (noting that
declining issue-class certification was appropriate be-
cause plaintiffs offered “no theories of liability for which
classwide treatment is apt”) (emphasis added).
     But at various other points, Gates suggests that
claim elements may be appropriate for issue-class treat-
ment in certain circumstances. For example, the Gates
Court “agreed” with the district court’s finding that an
issue class was not feasible and would not advance the
resolution of class members’ claims because “both the
fact of damages and the amount of damages would re-
main following the class-wide determination of any com-
mon issues, and further that causation and extent of con-
tamination would need to be determined at follow-up
proceedings.” Gates, 655 F.3d at 272 (quoting district
court). In other words, for the district court, the fact that
claim elements (like causation) would remain after reso-
lution of the class issues was a reason for the inappro-
priateness of certifying an issue class. But neither the
district court nor the court of appeals concluded that
claim elements remaining after resolution of class issues
barred issue-class certification.
     Viewing Gates to permit the certification of issues
that do not resolve liability comports with our pre-Gates
caselaw. In Chiang v. Veneman, 385 F.3d 256 (3d Cir.
2004), we noted “that courts commonly use Rule 23(c)(4)
to certify some elements of liability for class determina-
tion, while leaving other elements to individual adjudi-
cation—or, perhaps more realistically, settlement.” Id.




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at 267 (emphasis added). So there, we affirmed the dis-
trict court’s certification of an issue class limited to de-
termining the defendant’s course of conduct (whether a
federal agency placed “thousands of Virgin Islanders,
almost all of whom were Black, Hispanic, or female,” on
a “phony, illegal waiting list” when those individuals
sought to apply to a “loan program[ ] intended to help
low income rural families obtain homes and make re-
pairs to existing homes,” id. at 259-60, 263), but left for
subsequent individual adjudication the issue of whether
those individuals were eligible for the loans in the first
place. Id. at 267.
     Other courts of appeals have permitted the certifi-
cation of non-liability issue classes in analogous circum-
stances. The Seventh Circuit, for example, has affirmed
the certification of an issue class where the issues, once
resolved, stopped short of establishing a defendant’s li-
ability to any claimant. See, e.g., McReynolds v. Merrill
Lynch, Pierce, Fenner & Smith, Inc., 672 F.3d 482, 491
(7th Cir. 2012) (in employment case, endorsing the use
of a Rule 23(c)(4) issue class to determine the disparate
impact of a challenged corporate policy, with “separate
trials . . . to determine which class members were actu-
ally adversely affected . . . and if so what loss each class
member sustained”); cf. Pella Corp. v. Saltzman, 606
F.3d 391, 393-94 (7th Cir. 2010) (in consumer fraud case,
upholding certification of Rule 23(b)(3) class when com-
mon issues left components of causation for individual-
ized determination).
    Moreover, the text of Rule 23(c)(4) supports the
reading that the “issues” a district court may certify for
class treatment need not be limited to those that decide
a party’s liability. The Rule permits an action to be
brought or maintained as a class action “with respect to




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particular issues,” not just those that decide liability. We
therefore hold that district courts may certify “particu-
lar issues” for class treatment even if those issues, once
resolved, do not resolve a defendant’s liability, provided
that such certification substantially facilitates the reso-
lution of the civil dispute, preserves the parties’ proce-
dural and substantive rights and responsibilities, and re-
spects the constitutional and statutory rights of all class
member and defendants.
                          *****
    In sum, district courts tasked with resolving mo-
tions to certify issue classes must make three determi-
nations. First, does the proposed issue class satisfy Rule
23(a)’s requirements? Second, does the proposed issue
class fit within one of Rule 23(b)’s categories? Third, if
the proposed issue class does both those things, is it “ap-
propriate” to certify these issues as a class? Fed. R. Civ.
P. 23(c)(4). The first two steps will be informed by gen-
eral class-action doctrine. The third step will be in-
formed by Gates. See Hohider v. United Parcel Serv.,
Inc., 574 F.3d 169, 201 (3d Cir. 2009). In other words,
Rule 23(a) and Rule 23(b) decide if the proposed issues
can be brought or maintained as class action, while the
Gates factors determine whether they should.
III. DISCUSSION
    Guided by Rule 23(c)(4) and Gates, in this case, we
must determine whether the District Court appropri-
ately certified for class treatment whether the Commis-
sion owed a relevant legal duty to the Plaintiffs that it
subsequently breached, but left for individual proceed-
ings whether Plaintiffs were injured; whether the Com-
mission’s breach of the relevant duty actually and prox-
imately caused those injuries; whether those injuries




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are due a particular amount of damages; and whether
the Commission’s affirmative defenses (including, pre-
sumably, that each Plaintiff consented to medical treat-
ment by Igberase) can refute Plaintiffs’ claim.
    We review the District Court’s decision to certify
the duty and breach issues of Plaintiffs’ negligent inflic-
tion of emotion distress claim for abuse of discretion.
Gates, 655 F.3d at 262. A district court abuses its discre-
tion if its “decision rests upon a clearly erroneous find-
ing of fact, an errant conclusion of law or an improper
application of law to fact.” Id. (quoting In re Hydrogen
Peroxide, 552 F.3d 305, 320 (3d Cir. 2009)). Whether the
district court employed the correct legal standard is re-
viewed de novo. In re Hydrogen Peroxide, [552] F.3d at
312 (citing In re Initial Pub. Offering Sec. Litig., 471
F.3d 24, 32 (2d Cir. 2006)). Conducting that review, we
conclude that the District Court abused its discretion.
    A. The District Court erred in certifying this is-
       sue class
    Two reasons, each independently sufficient, support
the conclusion that the District Court misapplied Gates
when it certified for class treatment the duty and breach
elements of Plaintiffs’ negligent infliction of emotional
distress claim.
     First, the District Court did not determine whether
the duty and breach elements of Plaintiffs’ claim satis-
fied Rule 23(b)(3). The Court correctly observed that
Gates does not require Plaintiffs seeking issue-class cer-
tification to prove that their cause of action as a whole
satisfies Rule 23(b)(3). J.A. 42-43 (“[The Commission]’s
argument that the Court should require Plaintiffs to sat-
isfy Rule 23(b)(3)’s predominance requirement before
turning to these factors parrots one of the camps that




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the Third Circuit acknowledged but refused to join in
Gates. Because the Third Circuit rejected that view, this
Court must do the same.”); see also J.A. 56 (“Having de-
termined that Plaintiffs can satisfy the Rule 23(a) fac-
tors, the Court turns to the question of whether to cer-
tify an issues class under Rule 23(c)(4).”). But while
Gates does not require Plaintiffs seeking issue-class cer-
tification to prove that their cause of action as a whole
satisfies a subsection of Rule 23(b), for reasons we have
explained, Rule 23(c)(4) does require that the Plaintiffs
demonstrate that the issues they seek to certify satisfy
one of Rule 23(b)’s subsections. On remand, the Plain-
tiffs may be able to make such a showing, but we will
leave that inquiry to the District Court to consider in the
first instance. 4

  4
     The Commission also insists that the District Court erred in
finding that Plaintiffs’ satisfied Rule 23(a)’s typicality and adequacy
requirements. Appellant Br. 18-19. It argues the Plaintiffs are atyp-
ical and inadequate class representatives because they propose to
inflict emotional distress on absent class members currently igno-
rant of the underlying allegations, and that Plaintiffs’ decision to
seek relief only for their emotional distress makes them inadequate
representatives of absent class members who have suffered physi-
cal injuries. Neither argument is persuasive. For one, we find no
support for the proposition that absent class members ignorant of
their potential legal injury might cause named plaintiffs (who are
aware of their injury) to be inadequate or atypical class represent-
atives. For another, if the District Court determines that some cog-
nizable subset of absent class members may also have live legal
claims for physical injuries, then it has ample tools at its disposal to
manage those divergences, including by creating subclasses pursu-
ant to Rule 23(c)(5) or the notice requirements of Rule 23(c)(4). We
have “set a low threshold for typicality.” In re Nat’l Football
League Players Concussion Injury Litig., 821 F.3d 410, 428 (3d
Cir. 2016) (internal quotations omitted). And “[e]ven relatively pro-
nounced factual differences will generally not preclude a finding of
typicality where there is a strong similarity of legal theories or




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     Second, separate and apart from the District
Court’s failure to determine whether the duty and
breach elements of Plaintiffs’ claim satisfied any subsec-
tion of Rule 23(b), the Court also failed to rigorously con-
sider several Gates factors. For example, the Court does
not explicitly discuss whether the effect certification of
the issue class will have on the effectiveness and fairness
of resolution of remaining issues. Many other actors
played a role in Igberase’s fraud, including the resi-
dency programs that admitted and trained him, the
state medical boards that licensed him, the hospitals
that gave him privileges, the specialty board that certi-
fied him, and the law enforcement officers (state and
federal) who investigated him. If an issue-class jury
finds that the Commission owed Plaintiffs a legal duty
that it subsequently breached, the Commission may face
undue pressure to settle, even if their breach did not
cause Plaintiffs’ harm.
     Relatedly, the District Court did not rigorously con-
sider what efficiencies would be gained by resolution of
the certified issues. To be sure, the District Court
briefly discussed the efficiencies of a single trial and
broached other options with the parties. J.A. 60-61. But
more was needed. To prove their claim that the Commis-
sion negligently inflicted emotional distress, Plaintiffs
will need to show (as with all causes of action arising un-
der state tort law) duty, breach, cause, and harm. But
the District Court certified an issue class with respect to
the duty and breach elements only. So even if the Dis-
trict Court finds that the Commission owed a relevant
legal duty to the Plaintiffs that it subsequently

where the claim arises from the same practice or course of con-
duct.” Id.




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breached, each Plaintiff, in individual proceedings, will
have to prove that they were injured; that the Commis-
sion’s breach of the relevant duty actually and proxi-
mately caused those injuries; that those injuries are due
a particular amount of damages; and that the Commis-
sion’s affirmative defenses (including, presumably, each
Plaintiff’s consent to medical treatment by Igberase)
are not decisive.
     The District Court may also wish to consider
whether the duty and breach elements of Plaintiffs’ neg-
ligent infliction of emotional distress claim are suitable
for issue-class treatment. Under Pennsylvania law, for
example, to determine whether the Commission owed
the Plaintiffs a relevant legal duty, the class jury will
have to weigh several factors, including the “foreseea-
bility of the harm incurred.” Althaus ex rel. Althaus v.
Cohen, 756 A.2d 1166, 1169 (Pa. 2000) (citations omit-
ted). And once beyond the class trial, to determine and
measure emotional damages, each individual jury will
have to assess the degree of the Commission’s negli-
gence as to each Plaintiff. See Spence v. Bd. of Educ. of
the Christina Sch. Dist., 806 F.2d 1198, 1202 (3d Cir.
1986) (finding no abuse of discretion where the District
Court joined for trial the issues of liability and damages
for emotional distress, explaining that “emotional dis-
tress damages must be evaluated in light of all the cir-
cumstances surrounding the alleged misconduct”). So
the issue-class jury, like each individual jury, may need
to consider evidence regarding the harm the Commis-
sion allegedly caused. And each individual jury, like the
issue-class jury, may need to consider evidence regard-
ing the Commission’s overall conduct, which likely will
include the nature of the legal duty it owed Plaintiffs (if
any) and the extent to which it breached that duty. Gates




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disfavors this. See 655 F.3d at 273 (holding that “the risk
subsequent triers of fact will need to reexamine evi-
dence and findings from resolution of the common is-
sue(s)” counsels against certification of those common
issues).
     Of course, the District Court may very well be cor-
rect that “there are efficiencies to be gained by certify-
ing a class on these issues because it will allow for a sin-
gle trial with a single, preclusive determination about
[the Commission]’s conduct, rather than the presenta-
tion of the same evidence about [the Commission] again,
and again, and again to separate juries.” J.A. 60. Duty is
an issue of law. Therefore, it must be decided separately
from breach, causation, and damages. See Sharpe v. St.
Luke’s Hosp., 821 A.2d 1215, 1219 (Pa. 2003). It is true
that deciding if the Commission had a duty to investi-
gate requires balancing several factors. Id. But none of
that requires individual evidence, for each patient
shared the same distanced relationship of trust with the
Commission. Likewise, breach would require only com-
mon evidence: How much investigating did the Commis-
sion do? Did it know or should it have known that Ig-
berase was a fraud? Did it take enough steps to investi-
gate him based on warnings received from various par-
ties, including the New J ersey residency program?
Should it have followed up in later years once Igberase
was admitted to another residency program? No absent
class member would have anything special to add in her
individual trial. There will be plenty left for individual
proceedings, but these major issues could be resolved on
a class-wide basis. 5

  5
    These two reasons are sufficient to support our decision to va-
cate the District Court’s certification for class treatment the duty




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     B. The Commission’s remaining arguments for
        reversal are unavailing or inapposite
    The Commission and its amicus offer two additional
bases on which to reverse the District Court. The Com-
mission first argues that “the plain text of Rule 23 and
the cases interpreting it” demand that “the party seek-
ing to certify a class must satisfy one of the prongs of
Rule 23(b)“ and, “[b]ecause the district court failed to
find that Named Plaintiffs satisfied Rule 23(b)(3) or any
other prong of Rule 23(b), the class certification must be
reversed.” Appellant’s Br. 39; see also Brief for U.S.
Chamber of Commerce as Amici Curiae Supporting Ap-
pellant 5-16.
    That is not accurate. A majority of the courts of ap-
peals have concluded that in appropriate cases Rule


and breach elements of Plaintiffs’ negligent infliction of emotional
distress claim. But there may yet be other problems with the issue
class, including the possibility that Plaintiffs’ legal claim implicates
multiple states’ laws. Under Gates, a district court, tasked with re-
solving a motion to certify an issue class, must assess the “substan-
tive law underlying the claim(s), including any choice-of-law ques-
tions [that law] may present.” 655 F.3d at 273. Here, the District
Court concluded that the various state laws that may be implicated
do not meaningfully differ and that Pennsylvania law would govern
anyway. Russell v. Educational Comm’n for Foreign Med. Gradu-
ates, 2020 WL 1330699, at *4-5 (E.D. Pa. Mar. 23, 2020). That seems
like a close question. It may well be true that Pennsylvania has the
greatest interest in this case (the Commission’s alleged tortious
conduct occurred here, after all), but various other states have a
substantial interest in the resolution of the claims, too. But because
the conflict-of-law question was briefed before the District Court in
the context of a motion for class certification, we will leave it to the
District Court to determine which state’s law applies to each Plain-
tiff’s claim, if the question of which state’s law applies becomes rel-
evant in future proceedings.




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23(c)(4) can be used even though full Rule 23(b)(3) certi-
fication is not possible due to the predominance infirmi-
ties. That view, the so-called “broad view,” has been
adopted or supported by the Second, Fourth, Sixth, Sev-
enth, and Ninth Circuits. 6 Under the broad view, courts
apply the Rule 23(b)(3) predominance and superiority
prongs after common issues have been identified for

  6
     For discussions of the broad view from these courts of appeals,
see, In re Nassau Cty. Strip Search Cases, 461 F.3d 219, 227 (2d
Cir. 2006) (permitting issue certification “regardless of whether the
claim as a whole satisfies Rule 23(b)(3)’s predominance require-
ment’’); Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 439-45
(4th Cir. 2003) (holding that courts may employ Rule 23(c)(4) to cer-
tify a class as to one claim even though all of the plaintiffs’ claims,
taken together, do not satisfy the predominance requirement);
Martin v. Behr Dayton Thermal Prods., 896 F.3d 405 (6th Cir.
2018) (noting that “Rule 23(c)(4) contemplates using issue certifica-
tion . . . where common questions predominate within certain issues
and where class treatment of those issues is the superior method of
resolution”); McReynolds v. Merrill Lynch, Pierce, Fenner &
Smith, Inc., 672 F.3d 482, 491 (7th Cir. 2012) (“Rule 23(c)(4) pro-
vides that ‘when appropriate, an action may be brought or main-
tained as a class action with respect to particular issues.’ The prac-
tices challenged in this case present a pair of issues that can most
efficiently be determined on a class-wide basis, consistent with the
rule just quoted.”), abrogated on other grounds by Phillips v. Sher-
iff of Cook Cty., 828 F.3d 541, 559 (7th Cir.), reh’g and suggestion
for reh’g en banc denied, (7th Cir. Aug. 3, 2016); Pella Corp. v. Saltz-
man, 606 F.3d 391, 394 (7th Cir. 2010) (“A district court has the
discretion to split a case by certifying a class for some issues, but
not others, or by certifying a class for liability alone where damages
or causation may require individualized assessments.”); Valentino
v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996) (“Even if
the common questions do not predominate over the individual ques-
tions so that class certification of the entire action is warranted,
Rule 23 authorizes the district court in appropriate cases to isolate
the common issues under Rule 23(c)(4)[ ] and proceed with class
treatment of these particular issues.”).




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class treatment under Rule 23(c)(4). The broad view per-
mits utilizing Rule 23(c)(4) even where predominance
has not been (or cannot be) satisfied for the cause of ac-
tion as a whole.
     The Fifth Circuit, however, in a footnote adopted
what is known as “the narrow view,” which prohibits is-
sue-class certification if Rule 23(b)(3) predominance has
not been satisfied for the cause of action as a whole. Cas-
tano v. Am. Tobacco Co., 84 F.3d 734, 745 n.21 (5th Cir.
1996) (“A district court cannot manufacture predomi-
nance through the nimble use of subdivision (c)(4). The
proper interpretation of the interaction between subdi-
visions (b)(3) and (c)(4) is that a cause of action, as a
whole, must satisfy the predominance requirement of
(b)(3) and that (c)(4) is a housekeeping rule that allows
courts to sever the common issues for a class trial.”). But
Castano’s approach has not been adopted by any other
circuit, and subsequent caselaw from the Fifth Circuit
suggests that any potency the narrow view once held has
dwindled. See Steering Comm. v. Exxon Mobil Corp.,
461 F.3d 598, 603 (5th Cir. 2006) (noting that bifurcation
might serve “as a remedy for the obstacles preventing a
finding of predominance” but that the plaintiffs had not
made such a proposal to the district court). 7


  7
    Further, the Advisory Committee on Civil Rules appears to
agree that issues can be certified for class treatment even if pre-
dominance cannot be satisfied for the action as a whole. At their
April 2015 meeting, the Committee noted that “[a] major reason for
considering possible rule amendments to deal with issue classes is
that there has seemed to be a split in the circuits about whether
they can only be allowed if (b)(3) predominance is established.” See
Rule 23 Subcommittee Report, in Advisory Committee on Civil
Rules 243-99 (Apr. 9-10, 2015). But the Committee went on to note
that “recent reports suggest that all the circuits are coming into




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     The Commission’s attempts to avoid the majority
view by arguing not so much that full-class Rule 23(b)(3)
certification must precede Rule 23(c)(4) certification, but
that the District Court here failed to consider Rule
23(b)(3) at all. But “certifying a Rule 23(c)(4) class is an-
alytically independent from the predominance inquiry
under Rule 23(b)(3),” though predominance concerns
may be relevant to both. See Gonzalez v. Corning, 885
F.3d 186, 202 (3d Cir. 2018) (“While Plaintiffs are correct
to point out that the appropriateness of certifying a Rule
23(c)(4) class is analytically independent from the pre-
dominance inquiry under Rule 23(b)(3), a case may pre-
sent concerns relevant to both.”).
      Amicus Chamber of Commerce offers yet another
reason to reverse the District Court: that the District
Court’s Rule 23(c)(4) ruling, if adopted, “will permit a
flood of abusive class actions, with troubling and far-
reaching consequences for businesses, shareholders,
employees, customers, and the judicial system.” Brief
for U.S. Chamber of Commerce as Amici Curiae Sup-
porting Appellant 16-18. The Chamber’s concerns seem
overblown. Even capacious rules for issue-class certifi-
cation (which we do not purport to advance in this hold-
ing) likely will not encourage “a flood of abusive class
actions” because few lawyers will have an incentive to
file them. Any lucrative potential payday for class action
lawyers arises from securing a damages award, not from
obtaining an order on a particular issue. That order,
which can be thought of as a type of declaratory judg-



relative agreement that in appropriate cases Rule 23(c)(4) can be
used even though full Rule 23(b)(3) certification is not possible due
to the predominance requirement.” Id. at 280 (emphasis added).




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ment, may eventually transform into a judgment award-
ing damages, but even then it is not clear that the future
individualized proceedings would be controlled by the
lawyers that won the issue-class order. In any case, even
if a lawyer could obtain a quasi-declaratory ruling on a
subset of common issues, the transformation of the case
from a proposed class action to a set of individualized
proceedings would spoil any settlement leverage that
the lawyer had. Of course, the lawyer representing the
class would prefer a favorable issue-class order to no or-
der at all, but the defendant, once facing just individual-
ized proceedings, could return to the very tactics that
may have given it an advantage in the first place. From
the defense perspective, such tactics could have the
added benefit of deterring other class-action lawyers
from attempting similar bifurcated class actions in the
future.
                         *****
    Because the District Court failed to determine
whether the proposed issues satisfied a subsection of
Rule 23(b), and because it failed to rigorously analyze
several Gates factors, we will vacate the District Court’s
issue-class certification and remand for further proceed-
ings consistent with this opinion.
IV. Conclusion
    For these reasons, we vacate the District Court’s
Order certifying for aggregate treatment the duty and
breach elements of Plaintiffs’ negligent infliction of emo-
tional distress claim, and remand for further proceed-
ings consistent with this opinion.




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                  APPENDIX B
  UNITED STATES COURT OF APPEALS FOR
          THE THIRD CIRCUIT
                                             CCO-065
                     No. 20-8024
   MONIQUE RUSSELL; JASMINE RIGGINS;
     ELSA M. POWELL; DESIRE EVANS
                         v.
   EDUCATIONAL COMMISSION FOR FOR-
      EIGN MEDICAL GRADUATES,
                                    Petitioner
            (E.D. Pa. No. 2-18-cv-05629)
Present: J ORDAN, KRAUSE, and MATEY, Circuit
Judges
   1. Petition by Educational Commission for Foreign
      Medical Graduates for Leave to Appeal Pursuant
      to Fed. R. Civ. P. 23(f)
   2. Respondents’ Response in Opposition
   3. Petitioner’s Unopposed Motion for Leave to File
      Reply in Support of Petition, with Reply At-
      tached
                                Respectfully,
                                Clerk/CJG




                        (33a)




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                      ORDER
     The foregoing petition for leave to appeal is
granted, and the foregoing unopposed motion for leave
to file reply is granted.
                                By the Court,
                                s/ Cheryl Ann Krause
                                Circuit Judge

Dated: May 11, 2020
Lmr/cc: All Counsel of Record




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                    APPENDIX C
        IN THE UNITED STATES DISTRICT
      COURT FOR THE EASTERN DISTRICT OF
                PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE           Case No.
 RIGGINS, ELSA M. POWELL,        2:18-cv-05629-
 and DESIRE EVANS, on behalf of       JDW
 themselves and all others simi-
 larly situated,

                 Plaintiffs,

 v.

 EDUCATIONAL COMMISSION
 FOR FOREIGN MEDICAL
 GRADUATES,

                 Defendant.


                        ORDER
    AND NOW, this 23rd day of March, 2020, upon con-
sideration of Plaintiff’s Motion for Class Certification
(ECF No. 32), all material submitted in support and op-
position, and following oral argument, for the reasons
stated in the accompanying Memorandum, it is OR-
DERED that the Motion is GRANTED.



                         (35a)




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    It is FURTHER O RDERED that, pursuant to
Fed. R. Civ. P. 23(c)(1)(B) the Court certifies the follow-
ing class: “All patients examined or treated in any man-
ner by Oluwafemi Charles Igberase (a/ka Charles J .
Akoda) beginning with his enrollment in a postgraduate
medical education program at Howard University in
2007.”
    It is FURTHER O RDERED that, pursuant to
Fed. R. Civ. P. 23(c)(4), the Court certifies the class with
respect to the following issues: (1) whether Defendant
Educational Commission for Foreign Medical Gradu-
ates (“ECFMG”) undertook or otherwise owed a duty to
class members; (2) whether ECFMG undertook or oth-
erwise owed a duty to hospitals and state medical
boards, such that ECFMG may be held liable to class
members pursuant to Restatement (Second) of Torts §
324A; (3) whether ECFMG breached any duty that it
owed to class members; and (4) whether ECFMG
breached any duty that it owed to hospitals and state
medical boards.
     It is FURTHER O RDERED that, pursuant to
Fed. R. Civ. P. 23(g)(1), the Court appoints the following
class counsel: Conrad O’Brien PC; The Cochran Firm;
Janet Janet & Suggs LLC; Law Offices of Peter Ange-
los, P. C.; and Schochor Federico & Staton, PA.
    It is FURTHER O RDERED that the Court will
hold a status call with the Parties on March 31, 2020, at
10:00 a. m. EDT. Plaintiffs’ counsel shall initiate the call
and contact chambers at (267) 299-7320 when all counsel
are on the line.




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                   BY THE COURT:


                   /s/ Joshua D. Wolson
                   JOSHUA D. WOLSON, J.




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                    APPENDIX D
        IN THE UNITED STATES DISTRICT
      COURT FOR THE EASTERN DISTRICT OF
                PENNSYLVANIA

 MONIQUE RUSSELL, JASMINE           Case No.
 RIGGINS, ELSA M. POWELL,        2:18-cv-05629-
 and DESIRE EVANS, on behalf of       JDW
 themselves and all others simi-
 larly situated,

                  Plaintiffs,

 v.

 EDUCATIONAL COMMISSION
 FOR FOREIGN MEDICAL
 GRADUATES,

                  Defendant.


                  MEMORANDUM
    For years, a man using the name “J ohn Charles
Akoda” passed himself off as an OB/GYN. It turns out
he was not a doctor at all. Now, four of his former pa-
tients ask the Court to certify a class of his former pa-
tients. But they aren’t suing him. They are suing the Ed-
ucational Commission For Foreign Medical Graduates
(“ECFMG”), a non-profit organization that certified


                          (38a)




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that the man posing as Akoda had graduated from med-
ical school abroad. Plaintiffs claim that ECFMG was
negligent when it certified him as a doctor and when it
failed to investigate allegations of identity fraud against
him. They want the Court to certify a class only on lia-
bility issues so that, if they prevail, they can proceed to
individual proceedings about the emotional damages
that they claim. For the reasons that follow, the Court
will certify a class to consider the duty and breach ele-
ments of Plaintiffs’ claims, which are subject to common
proof, but will decline to certify issues about causation
and damages, which are not.
I.   BACKGROUND
     A. ECFMG’s Role In Qualifying International
        Medical Graduates
      ECFMG is a non-profit based in Philadelphia. It
certifies international medical graduates (“IMGs”)—
i.e., individuals who received a medical education out-
side of the United States and Canada—to practice med-
icine in the United States. It verifies that IMGs received
a degree from an appropriate institution and adminis-
ters tests of medical knowledge and English proficiency.
For qualified IMGs, it issues a certification, which IMGs
can then use to apply to residency and other graduate
medical education programs and to apply for state med-
ical licenses.
    ECFMG has a process for investigating what it calls
“irregular behavior,” meaning actions that might sub-
vert ECFMG’s certification process. It conducts inves-
tigations that include interviews with accused IMGs, as
well as other individuals involved, and review of relevant




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documents. If ECFMG concludes that an IMG has en-
gaged in irregular behavior, it can revoke its certifica-
tion of that IMG, or it can take lesser actions.
    B. Igberase/Akoda
     In April 1992, Oluwafemi Charles Igberase applied
to ECFMG for certification. He failed ECFMG’s medi-
cal licensing exam twice but passed on his third try.
ECFMG then issued him a certificate as an IMG. How-
ever, he did not gain admission to a residency program.
In March 1994, Igberase submitted a second application
to ECFMG for certification. In this second application,
he used a false date of birth and a different name: Ig-
berase Oluwafemi Charles. ECFMG approved this sec-
ond application in December 1994. In November 1995,
ECFMG determined that Igberase fraudulently applied
for two ECFMG certifications under two different
names and revoked each certification.
    Igberase applied for certification to ECFMG a third
time in 1996, using a fake passport and yet another
name: John Charles Akoda. ECFMG certified Akoda in
August 1997. In 1998, Igberase applied for and was ad-
mitted to a residency program at Jersey Shore Medical
Center (“J SMC”). In August 2000, J SMC asked
ECFMG to investigate Akoda because J SMC learned
that the individual known as “Akoda” had served as a
resident in two other U.S. residency programs under
the name Igberase. ECFMG began an investigation.
Using the “Akoda” identity, Igberase disputed the
J SMC allegations. In December 2000, J SMC advised
ECFMG that it had dismissed Akoda from its residency




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program for using a false social security number. Plain-
tiffs allege that ECFMG took no action to retract
Akoda’s certification.
    In 2006, Igberase applied for a residency at Howard
University Hospital, using the Akoda identity and an-
other individual’s social security number. After complet-
ing the program in 2011, he applied for and received a
Maryland medical license using fake identification doc-
uments. That same year, he became a member of the
medical staff at Prince George’s Hospital Center and be-
gan seeing patients there.
     On June 9, 2016, law enforcement executed search
warrants concerning Igberase/Akoda and discovered
fraudulent or altered documents, including medical di-
plomas, transcripts, and letters of recommendation. He
signed a plea agreement admitting to misuse of a social
security number. ECFMG revoked the certification it
had issued to Akoda. In March 2017, Igberase was sen-
tenced by the United States District Court for the Dis-
trict of Maryland. Shortly thereafter, Prince George’s
Hospital Center terminated his medical privileges, and
the Maryland Board of Physicians revoked his license.
    C. Procedural History
     Plaintiffs Monique Russell, J asmine Riggins, Elsa
Powell, and Desire Evans are former patients of Ig-
berase (who they knew as “Akoda”). He performed un-
planned emergency cesarean section surgery on Ms.
Russell and Ms. Riggins. He also delivered Ms. Evans’
child and Ms. Powell’s child. None of the patients knew
Igberase’s true identity, and all assumed he was a doc-
tor. They allege that he touched them without informed




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consent and that he performed inappropriate examina-
tions of a sexual nature while utilizing inappropriate and
explicit sexual language.
     Plaintiffs assert claims of negligence and negligent
infliction of emotional distress (“NIED”) against
ECFMG, arising out of its certification of Igberase.
They ask the Court to certify a class of “all patients ex-
amined and/or treated in any manner by Oluwafemi
Charles Igberase (a/k/a Charles J. Akoda, M.D.).” (ECF
No. 1, Ex. A at ¶ 48.) Plaintiffs ask the Court to certify
the class as to liability, which they describe as “Option
A.” Alternatively, they propose nine specific issues for
which the Court should certify a class (“Option B”): (1)
whether ECFMG undertook or otherwise owed a duty
to class members who were patients of Igberase; (2)
whether ECFMG breached its duty to class members;
(3) whether ECFMG undertook or otherwise owed a
duty to hospitals and state medical boards, such that
ECFMG may be held liable for foreseeable injuries to
third persons such as class members pursuant to Re-
statement (Second) of Torts § 324A; (4) whether
ECFMG breached its duty to hospitals and state medi-
cal boards; (5) whether the emotional distress and other
damages that Plaintiffs allege were a foreseeable result
of ECFMG’s conduct; (6) whether ECFMG’s conduct in-
volved an unusual risk of causing emotional distress to
others under Restatement (Second) of Torts § 313; (7)
whether ECFMG is subject to liability under Restate-
ment (Second) of Torts § 876 for assisting Igberase in
committing fraud; (8) whether ECFMG knew or should
have known that Akoda was, in fact, Igberase; and (9)
whether it was foreseeable that ECFMG’s conduct
could result in emotional distress experienced by class




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members. (ECF No. 32-1 at 11.) Of these, issues 5, 6, and
9 focus on questions of causation and damages (the
“Damages Issues”), while the others relate to questions
of liability. The Court held oral argument on January 30,
2020.
II. STANDARD OF REVIEW
     A court must not certify a class “casually.” In re
Processed Egg Prods. Antitrust Litig., 312 F.R.D. 124,
132 (E.D. Pa. 2015). Instead, class “certification is
proper only if the trial court is satisfied, after a rigorous
analysis” that all of the necessary requirements have
been fulfilled. Ferreras v. American Airlines, Inc., 946
F.3d 178, 183 (3d Cir. 2019) (citing Wal-Mart Stores,
Inc. v. Dukes, 564 U.S. 338, 350-51 (2011)). A rigorous
analysis requires that factual determinations be made
by a preponderance of the evidence. See id. This inquiry
will at times require a court to examine issues that over-
lap, to some extent, with issues left for the final merits
determination. See In re Hydrogen Peroxide Antitrust
Litig., 552 F.3d 305, 318 (3d Cir. 2008). However, the
Court should only do so to the extent necessary to re-
solve the class certification motion, and no more. See
Amgen Inc. v. Conn. Ret. Plans & Trust Funds, 568
U.S. 455, 466 (2013).
    A party seeking to certify a class must satisfy the
requirements of Federal Rule of Civil Procedure 23,
which ordinarily means the four requirements of Rule
23(a) and the requirements of one subparagraph of Rule
23(b). See Gonzalez v. Corning, 885 F.3d 186, 192 (3d
Cir. 2018), as amended (Apr. 4, 2018). Here, however,
Plaintiffs seek to proceed with an issues class under
Rule 23(c)(4), which provides that, “[w]hen appropriate,




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an action may be brought or maintained as a class action
with respect to particular issues.” Fed. R. Civ. P.
23(c)(4). ECFMG argues that Plaintiffs cannot certify
an issues class until Plaintiffs show that “the common
issues predominate over the individual issues,” i.e., that
Plaintiffs satisfy Rule 23(b)(3). (ECF No. 48 at 4.)
     ECFMG’s argument misunderstands the law in the
Third Circuit. In Gates v. Rohm and Haas Co., 655 F.3d
255 (3d Cir. 2011), the Circuit noted a disagreement
among courts about how to apply Rule 23(b)(3)’s pre-
dominance requirement in cases arising under Rule
23(c)(4): some courts held that a plaintiff had to satisfy
Rule 23(b)(3)’s predominance requirement for a case as
a whole before certifying certain issues; while other
courts allowed certification of an issue even if common
issues did not predominate in the case as a whole. See id.
at 272-73. The Third Circuit declined to join “either
camp in the circuit disagreement” and instead set forth
a list of factors that courts should consider: (a) the type
of claim(s) and issue(s) in question; (b) the overall com-
plexity of the case; (c) the efficiencies to be gained by
granting partial certification in light of realistic proce-
dural alternatives; (d) the substantive law underlying
the claim(s), including any choice of law questions it
might present and whether the substantive law sepa-
rates the issue(s) from other issues concerning liability
or remedy; (e) the impact partial certification will have
on the constitutional and statutory rights of both the
class members and the defendant(s); (f) the potential
preclusive effect or lack thereof that resolution of the
proposed issue class will have; (g) the repercussions cer-
tification of an issue(s) class will have on the effective-
ness and fairness of resolution of remaining issues; (h)




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the impact individual proceedings may have upon one
another, including whether remedies are undividable
such that granting or not granting relief to any claimant
as a practical matter determines the claims of others;
and (i) the kind of evidence presented on the issue(s) cer-
tified and potentially presented on the remaining issues,
including the risk subsequent triers of fact will need to
reexamine evidence and findings from resolution of the
common issue(s). Id. at 273.
    ECFMG’s argument that the Court should require
Plaintiffs to satisfy Rule 23(b)(3)’s predominance re-
quirement before turning to these factors parrots one of
the camps that the Third Circuit acknowledged but re-
fused to join in Gates. Because the Third Circuit re-
jected that view, this Court must do the same. There-
fore, the Court will consider Rule 23(a) and then turn to
the Gates factors in conducting its analysis. At each
stage, the burden will remain on Plaintiffs to show by a
preponderance of the evidence that the Court should
certify a class.
III. ANALYSIS
    A. Choice Of Law
    Before tackling the question of class certification,
the Court addresses the law that applies here. It does so
because the parties spar about the applicable choice of
law and ECFMG contends that multiple state laws
might apply, thereby making class certification inappro-
priate. The Third Circuit has held that a “district court
errs as a matter of law when it fails to resolve a genuine
legal or factual dispute relevant to determining the re-
quirements” for class certification. Gates, 655 F.3d at
270. Thus, the Court must resolve the parties’ genuine




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legal dispute about the choice of law so that it can then
answer the question of whether to certify a class.
     A federal court sitting in diversity must apply the
choice-of-law rules of the forum state, so Pennsylvania
choice-of-law rules apply. See Klaxon Co. v. Stentor Mfg.
Co., 313 U.S. 487, 496 (1941). Pennsylvania employs a
flexible approach that considers both contacts establish-
ing significant relationships with a state and a qualita-
tive appraisal of the relevant states’ policies with respect
to the controversy. See Garcia v. Plaza Oldsmobile Ltd.,
421 F.3d 216, 219-20 (3d Cir. 2005); Griffith v. United
Air Lines, Inc., 203 A.2d 796, 805-06 (1964). First, the
court must determine whether an actual conflict exists
between the laws of two or more states. Then, if an ac-
tual conflict exists, the court must determine whether
the conflict is “true,” “false,” or “unprovided-for.” Rose
v. Dowd, 265 F. Supp.3d 525, 530 (E.D. Pa. 2017). No ac-
tual conflict exists if the laws between the states are the
same or “if the same result would ensue under the laws
of the forum state and those of the foreign jurisdiction.”
Id.; see also Hammersmith v. TIG Ins. Co., 480 F.3d
220, 230 (3d Cir. 2007). If no conflict exists, the law of the
forum state governs, and the court may end its choice-
of-law analysis. Id.
     Several states aside from Pennsylvania are impli-
cated in this case: New Jersey, Maryland, and the Dis-
trict of Columbia, at a minimum. Other states might
have some connection, but the parties have not identi-
fied them with any certainty, so the Court has not ana-
lyzed them. In any event, the Court concludes that those
states’ interests in the case would be far weaker than
Pennsylvania’s interest and that Pennsylvania law
would therefore apply. Not surprisingly, there is little,




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if any, variation between each state’s law governing neg-
ligence and NIED.
     The elements of negligence and negligent infliction
of emotional distress are the same under Pennsylvania,
New J ersey, and DC law. Even looking past the ele-
ments themselves, the Court discerns no real difference
between them, and the parties have not identified any.
Nor is there a conflict with Maryland law. While Mary-
land does not recognize NIED as a separate claim,
“[r]ecovery may be had in a tort action for emotional dis-
tress arising out of negligent conduct.” Hamilton v.
Ford Motor Credit Co., 502 A.2d 1057, 1066 (Md. Ct.
Spec. App. 1986). So the same result would ensue under
Maryland or Pennsylvania law. As such, there is no “ac-
tual” conflict between Maryland and Pennsylvania law,
and Pennsylvania law applies.
     Even if there were a true conflict between Pennsyl-
vania law and any other state’s law, the Court would ap-
ply Pennsylvania law to all of the claims in the case. The
Court must apply the law of the state with the “most sig-
nificant contacts or relationships with the particular is-
sue.” Hammersmith, 480 F.3d at 229-30. ECFMG sug-
gests that Maryland has a greater interest because it in-
volves treatment of Maryland residents by a fake doctor
in Maryland. (ECF No. 40 at 19-20.) But this case is not
about Igberase’s conduct; it is about ECFMG’s conduct.
Under the circumstances of this case, Pennsylvania has
a greater interest than Maryland, DC, New Jersey, or
any other state in determining what duties apply to its
corporate citizen and whether that citizen has fulfilled
those duties.




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    B. Class Certification
       1. Class definition/ascertainability
      A plaintiff seeking certification of a class must pro-
vide a proper class definition. See Fed. R. Civ. P.
23(c)(1)(B); Marcus v. BMW of North America, LLC,
687 F.3d 583, 591-92 (3d Cir. 2012). In addition, a plain-
tiff seeking certification of a class generally must prove
that the certified class is ascertainable. See Byrd v. Aa-
ron’s, Inc., 784 F.3d 154, 163 (3d Cir. 2015). The ascer-
tainability inquiry is twofold, requiring a plaintiff to
show that “(1) the class is defined with reference to ob-
jective criteria; and (2) there is a reliable and adminis-
tratively feasible mechanism for determining whether
putative class members fall within the class definition.”
Id. (quotes omitted). A plaintiff need not identify all of
the class members at the time of the class certification.
Instead, she only has to show that class members can be
identified. See id. However, courts should shy away
from methods that rely on potential class members’ say-
so. See Carrera v. Bayer Corp., 725 F.3d 300, 306 (3d Cir.
2013).
     Here, Plaintiffs ask the Court to certify a class that
includes “all patients examined and/or treated in any
manner by Oluwafemi Charles Igberase (a/k/a Charles
J. Akoda, M.D.).” (ECF No. 32-1 at 10.) ECFMG com-
plains that the class is not ascertainable because it cap-
tures patients that [Igberase] encountered in Nigeria,
before ECFMG certified him. At oral argument, Plain-
tiffs clarified that they intend the class to capture only
patients that Igberase encountered after ECFMG cer-
tified his application. (Tr. at 9:5-10:5.)




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    ECFMG also contends that the class is not ascer-
tainable because the phrase “examined and/or treated in
any manner” is vague and would lead to confusion. The
Court disagrees. The class definition is intended to cap-
ture any patient who received medical care or treatment
from Igberase after ECFMG certified him. That phrase
does not raise the type of questions that would require
individual fact-finding or a subjective determination in
order to identify class members.
     Finally, ECFMG argues that there is no way to
identify class members. Plaintiffs, however, point to
medical records from the treating facilities and note that
they have already used those records to identify more
than 700 class members. (Tr. at 14:13-14:11.) Those rec-
ords, which Plaintiffs can obtain by subpoena after cer-
tification, provide the type of objective, administratively
feasible mechanism required to identify class members.
By obtaining the relevant records from Prince George’s
Hospital Center, Plaintiffs have satisfied their burden of
demonstrating that the class is ascertainable; the Court
is not just taking their word for it. ECFMG speculates
that Howard might not have records from the relevant
time frames because records retention requirements
would not require it. The possibility that some records
might have been lost, however, does not render the class
not ascertainable. See Byrd, 784 F.3d at 164 (“[A]scer-
tainability only requires the plaintiff to show that class
members can be identified. Accordingly, there is no rec-
ords requirement.”) (emphasis in original) (internal quo-
tation omitted).




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       2. Rule 23(a) factors
     Rule 23(a) sets forth four threshold requirements
for all class actions: numerosity; commonality; typical-
ity; and adequacy of representation. See Fed. R. Civ. P.
23(a). The Court addresses each requirement in turn.
           a. Numerosity
     A plaintiff seeking certification must demonstrate
that the class is so numerous that joinder of all members
is impracticable. “[G]enerally if the named plaintiff
demonstrates that the potential number of plaintiffs ex-
ceeds 40, the first prong of Rule 23(a) has been met.” In
re Modafanil Antitrust Litig., 837 F.3d 238, 249-50 (3d
Cir. 2016) (citation omitted). Here, Plaintiffs have shown
that the potential class includes at least the 712 people
that Igberase treated at Prince George’s Hospital Cen-
ter. That number alone would render joinder all but im-
possible, and the class is more expansive than that.
Plaintiffs have therefore satisfied the numerosity re-
quirement. Notably, ECFMG does not argue otherwise.
           b. Commonality
     Rule 23(a)(2) requires Plaintiffs to demonstrate that
“there are questions of law or fact common to the class.”
Fed. R. Civ. P. 23(a)(2). Commonality does not require
perfect identity of questions of law or fact among all
class members. Rather, ‘even a single common question
will do.’ “ Reyes v. Netdeposit, LLC, 802 F.3d 469, 486
(3d Cir. 2015) (quoting Dukes, 564 U.S. at 359). How-
ever, the common issue must be “central to the validity
of each one of the claims in one stroke.” Dukes, 564 U.S.
at 350. There can be legal and factual differences among
members of the class, as long as the defendant subjected




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them all to the same harmful conduct. Ultimately, the
commonality bar is not a high one. See Rodriguez v.
Nat’l City Bank, 726 F.3d 372, 382 (3d Cir. 2013).
     Here, Plaintiffs have identified several common le-
gal and factual questions that are central to the validity
of their claims. In particular, questions about whether
ECFMG owed a legal duty either to class members or
hospitals and state medical boards, and questions about
whether ECFMG breached those duties, are common to
all members of the class. Plaintiffs have therefore satis-
fied the commonality requirement.
    ECFMG contends that questions about duty and
breach are not common throughout the class because
choice-of-law questions might result in different out-
comes. Because the Court has already resolved the
choice-of-law question, that argument has no impact.
ECFMG also argues that determining whether a duty
exists requires the Court to assess “the foreseeability of
harm to a plaintiff in a particular situation.” (Tr. of
Hearing dated 1/30/20 at 47:19-48:2.) ECFMG’s argu-
ment conflates “foreseeability” as it relates to a duty and
“foreseeability” as it relates to causation. Although the
concept is embedded in both inquiries, it is not the same.
     “The type of foreseeability that determines a duty
of care, as opposed to proximate cause, is not dependent
on the foreseeability of a specific event. Instead, in the
context of duty, the concept of foreseeability means the
likelihood of the occurrence of a general type of risk ra-
ther than the likelihood of the occurrence of the precise
chain of events leading to the injury.” Kleinknecht v.
Gettysburg Coll., 989 F.2d 1360, 1369 (3d Cir. 1993) (in-




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ternal quotations and citations omitted). Duty is predi-
cated on the relationship existing between the parties at
the relevant time, i.e., the time that ECFMG certified
Igberase to apply to a U.S. residency program and/or
the time that it investigated (or failed to investigate) his
identity fraud. See, e.g., Zanine v. Gallagher, 497 A.2d
1332, 1334 (Pa. Super. Ct. 1985).
     ECFMG’s argument would leave open the possibil-
ity that a duty would not be fixed until after the fact be-
cause the circumstances that define the existence of a
duty would not be known at the time that the defendant
has to decide how to conduct itself. The law should not
sanction such uncertainty. Parties are entitled to know
the duties incumbent upon them when they decide how
to conduct themselves, not later.
           c.   Typicality
    The third requirement, typicality, is normally met
where “claims of representative Plaintiffs arise from the
same alleged wrongful conduct.” In re W arfarin So-
dium Antitrust Litig., 391 F.3d 516, 532 (3d Cir. 2004);
FRCP 23(a)(3). “Typicality” aids a court in determining
whether “maintenance of a class action is economical
and whether the named plaintiff’s claim and the class
claims are so interrelated that the interest of the class
members will be fairly and adequately protected in their
absence.” Marcus, 687 F.3d at 594 (citation omitted).
    To determine whether a named plaintiff is so differ-
ent as to prevent a finding of typicality, a court must ad-
dress three distinct concerns: “(1) the claims of the class
representative must be the same as those of the class in
terms of both (a) the legal theory advanced and (b) the
factual circumstances underlying that theory; (2) the




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class representative must not be subject to a defense
that is both inapplicable to many members of the class
and likely to become a major focus of the litigation; and
(3) the interests and incentives of the representative
must be sufficiently aligned with those of the class.” Id.
at 598. The Third Circuit has set a “low threshold” for
typicality, such that even “relatively pronounced factual
differences will generally not preclude a finding of typi-
cality where there is a strong similarity of legal theories
or where the claim arises from the same practice or
course of conduct.” In re Nat’l Football League Players
Concussion Injury Litig., 821 F.3d 410, 428 (3d Cir.
2016) (quotes omitted).
    Here, Plaintiffs’ claims are typical of class members
to the extent that the class members consist of Ig-
berase’s patients during and after his residency. All of
the claims arise from the same legal theory: negligence.
The claims also arise from a single course of conduct by
ECFMG: the certification and subsequent (allegedly in-
adequate) investigation of his identity. ECFMG has not
suggested any Plaintiff is subject to a unique defense.
And nothing before the Court demonstrates that the
Plaintiffs have incentives that are at odds with the class
they seek to represent.
     ECFMG notes that Igberase treated all of the
Plaintiffs after entering private practice and obtaining
his license and therefore suggests that Plaintiffs are not
typical of patients that Igberase treated at Howard.
That difference does not render Plaintiffs atypical, how-
ever. Patients treated during and after residency all
have claims based on the same course of ECFMG’s con-
duct.




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     However, Plaintiffs’ claims are not typical of class
members to the extent that the class members consist of
Igberase’s patients at JSMC. Those patients can assert
negligence claims based on ECFMG’s initial certifica-
tion of Akoda, but they cannot assert claims based on
ECFMG’s subsequent investigation because ECFMG
did not conduct the investigation until after Igberase
had treated those patients. Because the named Plain-
tiffs’ claims are different from patients at J SMC in a
meaningful way, the Court will exclude patients from
JSMC from the class.
      ECFMG also claims that Plaintiffs are not typical
because they claim only to have suffered emotional dam-
ages, and some class members might have suffered
physical harm at Igberase’s hands as well. Again, these
distinctions exist, but they do not overcome the fact that
the Plaintiffs’ claims arise from the same facts and legal
theories as members of the class. To the extent any
member of the class wants to assert additional claims
against ECFMG based on other injuries that Igberase
caused, she will have the opportunity to opt out of the
class and assert those claims individually. And, nothing
about the certification of a class in this case has any im-
pact on a class member’s ability to assert tort claims, in-
cluding claims for other injuries, against Igberase him-
self.
           d. Adequacy
    The final 23(a) factor considers adequacy of both the
Plaintiffs and counsel to represent the class. The “prin-
cipal purpose of the adequacy requirement is to deter-
mine whether the named plaintiffs have the ability and
the incentive to vigorously represent the claims of the




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class.” In re Cmty. Bank of N. Va. Mortg. Lending
Practices Litig., 795 F.3d 380, 393 (3d Cir. 2015).
ECFMG does not challenge counsel’s adequacy, and the
Court finds that they have the requisite experience and
skill necessary to represent the class.
     As to the named Plaintiffs, the Court’s inquiry fo-
cuses on whether the class representatives have con-
flicts of interest with the putative class members. See
New Directions Treatment Svcs. v. City of Reading, 390
F.3d 313 (3d Cir. 2007). Only a “fundamental” conflict of
interest will impact the adequacy analysis, meaning a
conflict that arises because some class members bene-
fitted from conduct that harmed other class members.
See Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d
170, 183 (3d Cir. 2012). No such conflict exists here. No
member of the class benefitted from Igberase’s decep-
tion or from ECFMG’s conduct. The most that can be
said is that some members of the class might not have
suffered any emotional damage. But no one benefitted.
     ECFMG contends that Plaintiffs are not adequate
because they sought to represent a class in a different
case about Igberase and ultimately dismissed that case
without prejudice. The Court does not know why they
made that decision. Nor, apparently, does ECFMG be-
cause its argument just speculates about whether they
might do the same in this case. Without far more con-
text, the Court has no basis to make any determination
about Plaintiffs’ commitment to this case based on a de-
cision that they made in another case.
    ECFMG also contends that, during their deposi-
tions, Plaintiffs did not understand what ECFMG does.
Yet none of the Plaintiffs demonstrated a complete lack




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of knowledge of the case. They just showed confusion
about some details. A class representative’s lack of
knowledge about her case does not make her inade-
quate, as long as she has “minimal knowledge about the
case and [can] make the requisite decisions required of
a plaintiff.” In re Suboxone Antitrust Litig., MDL No.
2445, 2019 WL 4735520, at * 22 (E.D. Pa. Sept. 27, 2019).
Finally, ECFMG claims that some members of the class
might not have suffered emotional distress. However,
that does not render the Plaintiffs inadequate or suggest
a conflict between any Plaintiff and the class she seeks
to represent.
       3. Rule 23(c)(4)/Gates factors
     Having determined that Plaintiffs can satisfy the
Rule 23(a) factors, the Court turns to the question of
whether to certify an issues class under Rule 23(c)(4).
“Rule 23(c)(4) both imposes a duty on the court to insure
that only those questions which are appropriate for class
adjudication be certified, and gives it ample power to
treat common things in common and to distinguish the
distinguishable.” Gates, 655 F.3d at 272. “Courts fre-
quently use Rule 23(c)(4) to certify some elements of li-
ability for class determination, while leaving other ele-
ments to individual adjudication.” Suboxone, 2019 WL
4735520, at *40 (quote omitted). An issue class need not
“seek to prove all of [the] required liability elements
through common evidence.” Id. at *44. Instead, the
question is whether one can sever the issues to be certi-
fied from the issues not to be certified. Id. at * 45.
  Here, any duty that applied to ECFMG and
ECFMG’s potential breach of that duty focus on
ECFMG’s conduct, not on any individual member of the




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class. On the other hand, questions about causation and
any damages focus on each individual class member.
           a. Option A (liability class)
    Plaintiffs’ claims for negligence and NIED require
them to prove the four elements of negligence: duty;
breach; causation; and damages. See Brewington for
Brewington v. City of Phila., 199 A.3d 348, 355 (Pa.
2018); Phillips v. Cricket Lighters, 841 A.2d 1000, 1010
(Pa. 2003). The Court cannot certify a class that encom-
passes elements of causation and damages because
those issues are too individualized.
    “[C]ausation . . . often require[s] individual proof.”
Gates, 655 F.3d at 264. Certainly, that is the case here.
Indeed, it is all but impossible to separate questions of
causation and harm from the individual damages that
any plaintiff suffered. After all, prevailing on causation
implies that a harm was indeed caused. See, e.g., Rowe
v. E.I. Dupont De Nemours & Co., 262 F.R.D. 451, 465
(D.N.J. 2009) (“without a common injury, there can be
no common causation, as there is nothing to cause.”).
    In Pennsylvania, courts use the “substantial factor”
test to determine causation. Ford v. Jeffries, 379 A.2d
111, 114 (Pa. 1977) (citing to Restatement (Second) of
Torts § 431). When evaluating whether negligent con-
duct is a substantial factor in causing the injury, courts
consider the other factors that might contribute to the
harm, the extent of the effect of those other factors,
whether the actor’s conduct created a force or series of
forces which are continuous and active up to the time of
the harm, or whether instead the actor created a situa-
tion harmless unless acted upon by other forces for




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which the actor is not responsible, and lapse of time be-
tween an actor’s conduct and the harm. See Hall v. Mil-
lersville Univ., 400 F. Supp. 3d 252, 273 (E.D. Pa. 2019)
(citing Restatement (Second) of Torts § 433). These con-
siderations render causation a highly individualized in-
quiry, rather than common to all class members, and
therefore disfavor certification of causation. See, e.g.,
Barnes v. American Tobacco Co., 161 F.3d 127, 145 (3d
Cir. 1998) (issues of causation had to be resolved individ-
ually); Georgine v. Amchem Prods., Inc., 83 F.3d 610,
626 (3d Cir. 1996), aff’d sub nom. Amchem Prods., Inc.
v. Windsor, 521 U.S. 591 (1997).
     Given the individual nature of the causation and
damages inquiry, the Court will not certify a class to
tackle liability as a whole. There would be little effi-
ciency to be gained from such a certification because the
evidence in the class action portion of the case would
overlap with the evidence in the individual portion of the
case. Presenting the evidence twice would eliminate any
efficiency. Also, a jury hearing the class action part of
the case would have to hear and consider the same evi-
dence as the jury (or juries) hearing the individual part
of the case: whether Igberase’s ability to pose as a doc-
tor caused emotional harm and the extent of that harm.
Because two juries would be hearing the same evidence,
there would be a substantial risk (if not a certainty) of
violating the Seventh Amendment’s Reexamination
Clause. See In re Lower Lake Erie Iron Ore Antitrust
Litig., 998 F.2d 1144 (3d Cir. 1182) (“Seventh Amend-
ment problems are inherent when separate juries deter-
mine fact of damage and the amount of damages.”).
   At the hearing, Plaintiffs argue that the Court can
draw a distinction between harm, meaning “an invasion




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of a legally protected interest,” and damages when con-
sidering the elements of negligence and then certify the
liability elements. (Tr. at 32:21-34:5.) Plaintiffs’ argu-
ment, however, suggests that an improper touching
would be negligent, even if it did not cause any damages.
That is wrong. A plaintiff cannot prove a negligence
claim without proving damage, even if there was some
invasion of a legally protected interest. See Troutman v.
Tabb, 427 A.2d 673, 677 (Pa. Super. Ct. 1981).
            b. Option B (specific issues)
     Having rejected Option A, the Court turns to Plain-
tiffs’ Option B, the certification of nine specific issues. Of
the issues that Plaintiffs propose, the Court will not cer-
tify the Damages Issues for the reasons discussed
above. In addition, Plaintiffs ask the Court to certify a
class to answer the question of whether ECFMG faces
liability for assisting Igberase in committing fraud, but
that is not one of the claims in the case, a fact that Plain-
tiffs confirmed at oral argument. (Tr. at 7:12-8:24.) Be-
cause that question is not at issue in this case, the Court
will not certify it.
     The remaining issues, however, all relate to whether
ECFMG had a relevant legal duty and whether it
breached that duty. An analysis of the Gates factors re-
inforces that these issues are appropriate for certifica-
tion. First, the questions of duty and breach favor issue
certification because they are questions of law and/or
fact common to all class members and subject to com-
mon proof. All of the proposed class members are iden-
tical in terms of their legal relationship to ECFMG. In
other words, barring any exceptional circumstances,
which neither party has raised, whatever duty (if any)




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ECFMG owes to one proposed class member, ECFMG
owes the same duty (if any) to the next proposed class
member. Moreover, whether ECFMG has breached this
duty is a common question of fact for each prospective
class member, as the question looks to ECFMG’s own
conduct and not the conduct of individual class mem-
bers. As such, these types of issue are amenable to cer-
tification.
     Second, there are efficiencies to be gained by certi-
fying a class on these issues because it will allow for a
single trial with a single, preclusive determination about
ECFMG’s conduct, rather than the presentation of the
same evidence about ECFMG again, and again, and
again to separate juries. Moreover, there do not appear
to be any realistic procedural alternatives to gain similar
efficiencies. For example, the Court has considered
whether non-mutual collateral estoppel might have all,
or at least some, of the same impact and permit trial of
these issues to a single jury. It would not because there
is no guarantee it would apply. Indeed, if a court or jury
ruled in ECFMG’s favor, ECFMG could not use that de-
cision in a subsequent case against a different plaintiff.
See Jean Alexander Cosmetics, Inc. v L’Oreal USA,
Inc., 458 F.3d 244, 249 (3d Cir. 2006) (application of col-
lateral estoppel requires, among other things, the party
being precluded to have been represented in prior case).
The Court explored other alternatives with the parties
but found none.
    Third, and finally, certification of a class on issues
related to duty and breach will not trigger any of the
problems about which courts must be mindful under
Gates. Partial certification will not damage any class
member’s statutory or constitutional rights. There are




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no indivisible remedies that partial certification could
impact. The individual proceedings that will remain,
which will focus on causation and damages, need not im-
pact each other. And, partial certification does not raise
problems under the Seventh Amendment because the
jury in any individual proceeding will not have to reex-
amine any of the evidence about ECFMG’s conduct. It
will instead take that conduct, and the first jury’s deter-
mination about its legal significance, as a given and de-
cide whether and to what extent it impacted a particular
plaintiff.
     In its Opposition, ECFMG points to the possibility
of a statute-of-limitations defense as a reason for the
Court not to certify an issues class. However, at oral ar-
gument, ECFMG conceded that it has no basis to claim
that any member of the class is subject to such a de-
fense. ECFMG just speculates that someone might be
subject to the defense. (Tr. at 61:23-62:22.) Such specu-
lation is not enough. In any event, any statute of limita-
tions defense would focus on when a class member was
aware of the harm she suffered. So, if any class mem-
ber’s personal situation triggers the statute of limita-
tions, then ECFMG can raise that issue in a proceeding
that focuses on that person.
IV. CONCLUSION
    The Court’s goal is to move this case efficiently,
treating like things alike and different things differ-
ently. Here, that means certifying a class of Igberase’s
patients, beginning with his enrollment at Howard, on
the issues of whether ECFMG owed class members or
relevant third parties a duty and whether ECFMG
breached those duties. The Court will therefore issue an




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appropriate Order, consistent with Rule 23(c)(1), certi-
fying such a class.
                             BY THE COURT:


                             /s/ Joshua D. Wolson
                             JOSHUA D. WOLSON, J.

March 23, 2020




                                                                               JA4820
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                                  No. 21-_________


             In the Supreme Court of the United States

     EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES,


                                                                           Petitioner,
                                         v.


                     MONIQUE RUSSELL; JASMINE RIGGINS;
                      ELSA M. POWELL; and DESIRE EVANS,

                                                                        Respondents.


                  On Petition for a Writ of Certiorari to the
                   United States Court of Appeals for the
                                Third Circuit


                       CERTIFICATE OF COMPLIANCE


       In accordance with Supreme Court Rule 33.1(h), I certify that the foregoing
Petition for a Writ of Certiorari contains 6,255 words, excluding the parts of the
document that are exempted by Supreme Court Rule 33.1(d).

      I declare under penalty of perjury that the foregoing is true and correct.



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                                                      EDUCATIONAL COMMISSION FOR
                                                       FOREIGN MEDICAL GRADUATES,
                                                                 Petitioner,
                                                                     v.
                                                    MONIQUE RUSSELL; JASMINE RIGGINS;
                                                     ELSA M. POWELL; and DESIRE EVANS,
                                                                Respondents.

                                                             AFFIDAVIT OF SERVICE

I, Andrew Cockle, of lawful age, being duly sworn, upon my oath state that I did, on the 23rd day of December, 2021, send
out from Omaha, NE 6 package(s) containing 3 copies of the PETITION FOR A WRIT OF CERTIORARI in the above
entitled case. All parties required to be served have been served by third-party commercial carrier for delivery within 3
calendar days. Packages were plainly addressed to the following:


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Subscribed and sworn to before me this 23rd day of December, 2021.
I am duly authorized under the laws of the State of Nebraska to administer oaths.




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                                                                           JA4823
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                                No. 21-948

                                 In the
        Supreme Court of the United States
                   EDUCATIONAL COMMISSION FOR
                   FOREIGN MEDICAL GRADUATES,
                                        Petitioner,
                                   v.
                MONIQUE RUSSELL, JASMINE RIGGINS,
                ELSA M. POWELL, AND DESIRE EVANS,
                                       Respondents.

          On Petition for a Writ of Certiorari to the United
           States Court of Appeals for the Third Circuit


        BRIEF OF THE CHAMBER OF COMMERCE OF
           THE UNITED STATES OF AMERICA AS
             AMICUS CURIAE IN SUPPORT OF
                      PETITIONER

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                                 i

                    QUESTION PRESENTED

               Whether, when an action involves both com-
        mon and individual questions, a court may certify
        common questions for class treatment under Rule
        23(b)(3) without finding that common questions pre-
        dominate over the individual questions.




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                 INTEREST OF AMICUS CURIAE *

                The Chamber of Commerce of the United States
        of America (the “Chamber”) is the world’s largest busi-
        ness federation. It represents approximately 300,000
        direct members and indirectly represents the interests
        of more than three million companies and professional
        organizations of every size, in every industry sector,
        and from every region of the country. An important
        function of the Chamber is to represent the interests
        of its members in matters before Congress, the Execu-
        tive Branch, and the courts. To that end, the Chamber
        regularly files amicus curiae briefs in cases, like this
        one, that raise issues of concern to the nation’s busi-
        ness community.

               The Chamber’s members have a strong interest
        in promoting fair and predictable legal standards.
        They have been and continue to be defendants in pu-
        tative class actions. The Chamber’s members thus
        have a strong interest in ensuring that courts under-
        take the rigorous analysis required by Federal Rule of
        Civil Procedure 23. The Chamber has filed amicus cu-
        riae briefs in several recent Rule 23 class action cases
        including Tyson Foods, Inc. v. Bouaphakeo, No. 14-


        * Pursuant to Supreme Court Rule 37.6, amicus curiae
        states that no counsel for any party authored this brief in
        whole or in part and no entity or person, aside from amicus
        curiae, its members, or its counsel, made a monetary con-
        tribution intended to fund the preparation or submission of
        this brief. Counsel of record for all parties were timely no-
        tified more than 10 days prior to the filing of this brief. All
        parties have consented to the filing of this brief.




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        1146; Comcast Corp. v. Behrend, No. 11-864; and
        Walmart Stores, Inc. v. Dukes, No. 10-277.

                     INTRODUCTION AND
                   SUMMARY OF ARGUMENT

               This case presents a critical question of class-
        action procedure: whether a district court can certify
        an issues class under Federal Rule of Civil Procedure
        23(c)(4) even though no cause of action satisfies Rule
        23(b)(3)’s predominance and superiority requirements.
        The Third Circuit’s decision below wrongly held that
        it could, and that Rule 23(b)(3) applied only to the is-
        sues identified for class proceedings under Rule
        23(c)(4).

               The Third Circuit’s approach would permit a
        torrent of abusive class actions. This Court has al-
        ready recognized that a Rule 23(b)(3) damages class
        action extends class treatment to circumstances “in
        which class-action treatment is not as clearly called
        for,” and therefore Rule 23(b)(3) imposes critical pro-
        cedural safeguards. Comcast Corp. v. Behrend, 569
        U.S. 27, 34 (2013) (internal quotations omitted). The
        decision below, however, permits certification of a
        damages class action even when no cause of action can
        satisfy Rule 23(b)(3)’s requirements. This decision
        will mean that class certification will be possible in
        virtually every case. The inevitable result will be an
        increase in abusive class actions designed to impose
        massive settlement pressure through class certifica-
        tion regardless of the merits of the underlying claims.

              The decision below also deepens a circuit split
        on the proper reading of Rule 23. The Fifth Circuit




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        recognizes that Rule 23(c)(4) permits class proceed-
        ings on certain issues only when a cause of action as a
        whole satisfies the predominance and superiority re-
        quirements of Rule 23(b)(3). See Castano v. Am. To-
        bacco Co., 84 F.3d 734, 745 n.21 (5th Cir. 1996). In
        contrast, the Second, Sixth, and Ninth Circuits agree
        with the decision below that Rule 23(c)(4) permits
        class proceedings on certain issues even if a cause of
        action cannot satisfy Rule 23(b). See Martin v. Behr
        Dayton Thermal Prods., LLC, 896 F.3d 405, 413 (6th
        Cir. 2018); In re Nassau Cnty. Strip Search Cases, 461
        F.3d 219, 227 (2d Cir. 2006); Valentino v. Carter-Wal-
        lace, Inc., 97 F.3d 1227, 1234 (9th Cir. 1996). The an-
        swer to the crucial question whether a damages class
        action can proceed where no cause of action satisfies
        Rule 23(b)(3) should not turn on where a case is filed.
        This Court’s review is necessary to establish a uniform
        answer to that question.

               Finally, the decision below misreads the text of
        Rule 23 and undermines the protections guaranteed
        by that Rule. Rule 23(c)(4) does not establish an alter-
        native route to class certification. Instead, it creates
        a tool that can be used to manage a class action that
        meets the requirements of Rules 23(a) and (b). The
        structure of Rule 23 confirms this understanding.
        Rule 23(a) establishes four prerequisites that all class
        actions must meet. Rule 23(b) identifies the three
        kinds of class actions and the requirements to bring
        each of those kinds of class actions. Rule 23(c) then
        provides a set of procedures and tools to administer a
        class action that satisfies the requirements for certifi-
        cation in Rule 23(a) and (b). If Rule 23(c)(4) estab-
        lished a new kind of class action instead of a tool to
        allow a class that has already met the requirements to




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        proceed only on some issues, it would not have been
        placed among these management tools.

               This Court’s review of this important question
        is needed.

                            ARGUMENT

               This Court has recognized that abuse of class
        action procedures burdens both defendants and
        absent class members. See, e.g., Wal-Mart Stores, Inc.
        v. Dukes, 564 U.S. 338, 363–64 (2011); Comcast Corp.
        v. Behrend, 569 U.S. 27, 33–34 (2013); Amchem Prods.,
        Inc. v. Windsor, 521 U.S. 591, 629 (1997). As an
        “exception to the usual rule” that cases are litigated
        individually, a case should be permitted to proceed as
        a class action only after a court has conducted a
        “rigorous analysis” to ensure that it meets Rule 23’s
        requirements for class certification. Dukes, 564 U.S.
        at 349, 351 (quoting Califano v. Yamaski, 442 U.S. 682,
        700–01 (1979)).

               The decision below undermines these essential
        protections. The Third Circuit found that Rule 23(c)(4)
        permits the certification of a class action to address
        certain issues even when no cause of action can satisfy
        the requirements of Rule 23(a) and (b). This holding
        permits a party seeking certification in a damages
        case to avoid the crucial protections of Rule 23(b)(3),
        which requires that common issues must predominate
        and that class proceedings must be the superior
        method to resolve a dispute. The holding will result in
        an increase in abusive class actions aimed to extract
        large settlements, even though the underlying claims
        are meritless. This Court’s intervention is needed.




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        I.      The Question Presented Is Important.

               This Court’s review is needed to resolve a
        question of critical importance. The decision below
        will permit the certification of a class in nearly any
        case. The resulting shakedown class actions that fail
        to comply with the protections established in Rule
        23(b)(3) will harm businesses, customers, employees,
        and the judicial system.

               Class-action    defendants      face    enormous
        pressure to settle. The certification of a class often
        results in a massive increase in the potential liability
        and costs faced by a defendant. See Coopers &
        Lybrand v. Livesay, 437 U.S. 463, 476 (1978)
        (“Certification of a large class may so increase the
        defendant’s potential damages liability and litigation
        costs that he may find it economically prudent to settle
        and to abandon a meritorious defense.”).             This
        increased potential liability and cost may force the
        defendant to enter what Judge Friendly called
        “blackmail settlements.” Henry J. Friendly, Federal
        Jurisdiction: A General View 120 (1973); see also
        AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 350
        (2011) (noting the “risk of ‘in terrorem’ settlements
        that class actions entail”). The risk of a massive loss
        means that “even a complaint which by objective
        standards may have very little chance of success at
        trial has a settlement value to the plaintiff out of any
        proportion to the prospect of success at trial.” Blue
        Chip Stamps v. Manor Drug Stores, 421 U.S. 723, 740
        (1975); see also Shady Grove Orthopedic Assocs., P.A.
        v. Allstate Ins. Co., 559 U.S. 393, 445 n.3 (2010)
        (Ginsburg, J., dissenting) (“A court’s decision to certify




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        a class . . . places pressure on the defendant to settle
        even unmeritorious claims.”).

               It is unsurprising, then, that most class action
        defendants settle even when a claim is meritless. See
        Brian T. Fitzpatrick, An Empirical Study of Class
        Action Settlements and Their Fee Awards, 7 J.
        Empirical Legal Stud. 811, 812 (Dec. 2010) (“virtually
        all cases certified as class actions and not dismissed
        before trial end in settlement”). In 2019, for example,
        companies reported that they settled 60.3% of class
        actions. See Carlton Fields Class Action Survey, at 26
        (2021), available at https://classactionsurvey.com.
        The previous year they reported settling an even
        higher 73%. Id. The same appears to be true in cases
        where issues were certified for class treatment even
        though the case does not satisfy Rule 23(b)(3).
        Counsel for amicus curiae was unable to find any case
        that proceeded to trial after the certification of this
        kind of issues class.

               This Court has repeatedly emphasized the
        importance of ensuring that Rule 23’s requirements
        are satisfied. Class action litigation is “an exception
        to the usual rule that litigation is conducted by and on
        behalf of the individual named parties only.” Comcast,
        569 U.S. at 33 (quoting Yamasaki, 442 U.S. at 700–01).
        A plaintiff seeking to invoke this exception “must
        affirmatively demonstrate his compliance” with Rule
        23’s requirements. Id. (quoting Dukes, 564 U.S. at
        350).

              These requirements are especially important in
        a Rule 23(b)(3) damages class action. Rule 23(b)(3)
        authorizes a damages class action only where “the




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        questions of law or fact common to class members
        predominate over any questions affecting only
        individual members, and . . . a class action is superior
        to other available methods for fairly and efficiently
        adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).
        This Court has recognized that this kind of class action
        is an “adventuresome innovation” that “is designed for
        situations ‘in which class-action treatment is not as
        clearly called for.’” Comcast, 569 U.S. at 34 (quoting
        Dukes, 564 U.S. at 362).           So “[i]f anything,”
        certification under Rule 23(b)(3) should be “even more
        demanding” than other provisions of Rule 23. Id.

               The approach adopted by the Third Circuit
        below would extend class treatment far beyond even
        the “adventuresome innovation” of Rule 23(b)(3).
        Discarding Rule 23(b)(3), the Third Circuit held that a
        class can be certified based on common issues even
        when those common issues do not predominate over
        individual issues for the cause of action as a whole.
        See Pet. App. 24a. In other words, the Third Circuit
        found that Rule 23(c)(4) creates an “additional
        pathway[]” that looks only to “particular issues”
        identified for class treatment. Pet. App. 13a.

               The Third Circuit’s approach would work a
        massive expansion of the settlement pressure
        inherent in class-action litigation. This Court has
        recognized that “any competently crafted class
        complaint literally raises common questions.” Dukes,
        564 U.S. at 349 (quotation marks and citation omitted).
        Looking only to common issues to certify a class under
        Rule 23(c)(4) would permit a court to “sever issues
        until the remaining common issue[s] predominate.”
        Castano v. Am. Tobacco Co., 84 F.3d 734, 745 n.21 (5th




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        Cir. 1996). As a result, defendants could face the
        immense pressure to settle caused by class
        certification in nearly every case.

               This pressure to settle remains even though an
        issues class would not result in a single damages
        award. See Pet. App. 31a–32a (arguing that the
        incentive to bring abusive class actions depends on a
        damages award).         Class actions place outsized
        settlement pressure on defendants because of the
        massive liability that could result from a single
        adverse decision. An issues class proceeding will
        result in a ruling that binds the defendant in litigation
        with class members. Even without a final damages
        award, this kind of all-or-nothing proceeding could
        result in a massive increase in the liability faced by
        the defendant, creating pressure to settle even
        unmeritorious claims.

               The Third Circuit’s approach would also
        undercut the bellwether process that federal courts
        have developed to promote the resolution of
        complicated multi-district litigation. This process
        sends a handful of representative cases to a jury.
        Sherman,       Segmenting      Aggregate      Litigation:
        Initiatives and Impediments for Reshaping the Trial
        Process, 25. Rev. Litig. 691, 696 (2006). These
        bellwether trials promote settlement by providing
        guidance on how juries are likely to assess the
        arguments in the remaining cases. See In re Methyl
        Tertiary Butyl Ether (MTBE) Prods., 2007 WL
        1791258, at *2 (S.D.N.Y. June 15, 2007). A key feature
        of this process is that bellwether trials lack preclusive
        effect—permitting a defendant to gain information
        about the likely value of claims without facing the




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        unfair pressures exacted by a single resolution
        applying in all cases. But if these key issues can be
        resolved in a way that binds the defendant in all
        future cases, the defendant will face enormous
        pressure to settle without the valuable information
        that bellwether proceedings provide to both sides.

               The costs of this new category of class action
        will reverberate through the entire economy. Class
        actions already impose huge costs. In 2019, these
        costs totaled more than $2.64 billion. See Carlton
        Fields Class Action Survey 4. Defense costs in a single
        class action can run into nine figures. See Adele,
        Dukes v. Wal-Mart: Implications for Employment
        Practices Liability Insurance 1 (July 2011) (noting
        defense costs of $100 million). Under the Third
        Circuit’s decision, businesses will have to expend
        substantial resources to defend against a new category
        of class action. But they will not bear those expenses
        alone. Instead, the costs would ultimately be passed
        to consumers through higher prices.

               The increased costs resulting from the Third
        Circuit’s approach will not be accompanied by any
        improvement in the resolution of cases. By definition,
        the Third Circuit’s holding that Rule 23(b)(3) does not
        need to be satisfied for a cause of action means that
        class proceedings can go forward even when common
        issues do not predominate and class treatment is not
        a superior method of resolving the dispute. So the
        substantial costs resulting from class treatment will
        be imposed with no countervailing benefit through
        efficient resolution of a multitude of disputes.




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        II.     This Court’s Intervention Is Needed to Re-
                solve a Split on this Important Question.

               This Court’s intervention is needed to resolve
        the proper application of Rule 23(c)(4). The circuit
        courts have reached contradictory holdings on
        whether Rule 23(c)(4) authorizes the certification of an
        issues class when no cause of action satisfies Rule
        23(b)(3). Only this court can provide the certainty
        class-action defendants need on whether Rule 23(c)(4)
        can be used to evade the protections of Rule 23(b)(3).

               In the Fifth Circuit, Rule 23(c)(4) cannot be
        used to certify an issues class that fails predominance
        under Rule 23(b)(3). That Court explained that “[t]he
        proper interpretation of the interaction between
        subdivisions (b)(3) and (c)(4) is that a cause of action,
        as a whole, must satisfy the predominance
        requirement of (b)(3) and that (c)(4) is a housekeeping
        rule that allows courts to sever the common issues for
        a class trial.” Castano, 84 F.3d at 745 n.21. An
        alternative reading that looked only to the issues
        singled out under Rule 23(c)(4) would “allow[] a court
        to sever issues until the remaining common issue
        predominates over the remaining individual issues,”
        thus “eviscerat[ing] the predominance requirement of
        rule 23(b)(3).” Id. That model would result in
        “automatic certification in every case where there is a
        common issue.” Id.

               In contrast, the Second, Sixth, and Ninth
        Circuits allow a court to certify a class under Rule
        23(c)(4) even when a cause of action as a whole does
        not satisfy Rule 23(b)(3)’s predominance requirement.
        The Second Circuit found that “a court may employ




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        subsection (c)(4) to certify a class as to liability
        regardless of whether the claim as a whole satisfies
        Rule 23(b)(3)’s predominance requirement.” In re
        Nassau Cnty. Strip Search Cases, 461 F.3d 219, 227
        (2d Cir. 2006). Similarly, the Ninth Circuit announced
        that Rule 23(c)(4) permits a court to certify a class
        action on some issues “[e]ven if the common questions
        do not predominate over the individual questions so
        that class certification of the entire action is
        warranted.” Valentino v. Carter-Wallace, Inc., 97 F.3d
        1227, 1234 (9th Cir. 1996). And the Sixth Circuit
        rejected “[a] requirement that predominance must
        first be satisfied for the entire cause of action.” Martin
        v. Behr Dayton Thermal Prods., LLC, 896 F.3d 405,
        413 (6th Cir. 2018).

                In this case, the Third Circuit joined the Second,
        Sixth, and Ninth circuits in holding that Rule 23(c)(4)
        can be used to certify a class even when no cause of
        action satisfies Rule 23(b)(3). It announced that Rule
        23(c)(4) provides an “additional pathway[]” to class
        certification. Pet. App. 13a. According to the Third
        Circuit, that pathway permits a party to single out
        “‘particular issues’ for class treatment.” Pet. App. 14a.
        The party seeking class certification need not show
        that the case or any cause of action satisfies the
        requirements of Rule 23(b)(3). Instead, that party
        may show that particular “issues ‘satisfy Rule 23(a)’s
        prerequisites’ and that those issues are ‘maintainable
        under Rule 23(b)(1), (2), or (3).’” Pet. App. 14a
        (quoting Amchem, 521 U.S. at 614).

               This Court’s intervention is needed to resolve
        this dispute between the circuits. The circuits that
        have read Rule 23(c)(4) to create a new kind of issues




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        class action have expanded the number of cases where
        a class can be certified. As a result, they have
        expanded the reach of the enormous pressure to settle
        that accompanies class certification. Whether a
        defendant faces that pressure should not turn on
        where a case was filed. Class-action defendants need
        the certainty about the reach of those pressures that
        only this Court can provide.

        III.    The Decision Below Is Inconsistent With
                Rule 23.

               A district court’s duty to rigorously analyze the
        class-certification criteria “is not some pointless
        exercise . . . [i]t matters.” Chavez v. Plan Benefit
        Servs., Inc., 957 F.3d 542, 547 (5th Cir. 2020).
        Contrary to the decision below, Rule 23(c)(4) does not
        create a new “pathway” to certify an issues class that
        falls short of Rule 23(b)(3)’s requirements. It merely
        creates a discretionary case-management tool that a
        district court can employ when a case otherwise
        satisfies the class-certification requirements.

               Rule 23 establishes two sets of requirements
        that every case must satisfy to proceed as a class
        action. Rule 23(a) first establishes four “prerequisites”
        to bringing a class action—numerosity, commonality,
        typicality, and adequacy. These requirements are
        “applicable to all class actions.” Amchem, 521 U.S. at
        613.

               A party seeking class certification who has
        satisfied the Rule 23(a) prerequisites “must” then
        “show that the action is maintainable under Rule
        23(b)(1), (2), or (3).” Id. at 614. These three provisions




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        establish the three “types of class actions” that a party
        can bring. Fed R. Civ. P. 23(b).

               Importantly, Rule 23(b)(3) provides the only
        avenue for a damages claim to proceed as a class
        action. To satisfy that provision, the district court
        must find that common questions “predominate over”
        individualized ones and that “a class action is superior
        to other available methods” of “adjudicating the
        controversy.”     Fed. R. Civ. P. 23(b)(3).        These
        predominance and superiority requirements help limit
        class certification to cases where class litigation is the
        best route to resolve the case.

               Rule 23(c) then provides district courts with
        tools to manage a class action that has satisfied Rule
        23(a) and (b). Consistent with that structure, Rule
        23(c)(4) permits a district court to permit a class action
        that has satisfied Rule 23(a) and (b) to proceed as a
        class action “with respect to particular issues.” Fed. R.
        Civ. P. 23(c)(4).

               The Third Circuit’s alternative view that Rule
        23(c)(4) permits the authorization of a class action on
        certain issues and that Rule 23(b)(3)’s requirements
        for a damages class action apply to those issues only—
        rather than to the cause of action as a whole—
        contradicts the text of Rule 23. To begin, this creation
        of an issues class action under Rule 23(c)(4) cannot be
        reconciled with its placement among the other case-
        management tools in Rule 23(c). See Murphy v. Smith,
        138 S. Ct. 784, 789 (2018) (looking to the “surrounding
        statutory structure” and “other provisions” to
        interpret statutory text). Each of the provisions of
        Rule 23(c) provides a tool or procedure for a district




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        court to manage an existing or proposed class action.
        Rule 23(c)(1) requires a court to decide whether to
        certify a class “[a]t an early practicable time,” and
        announces that a certification order must “define the
        class and the class claims, issues, or defenses, and
        must appoint class counsel.” Fed. R. Civ. P. 23(c)(1).
        Rule 23(c)(2) establishes notice requirements for class
        actions, including individual notice to members of a
        Rule 23(b)(3) class. Rule 23(c)(3) requires findings
        about class membership in the judgments for each of
        the three types of class action permitted by Rule 23(b).
        And Rule 23(c)(5) permits the division of a class into
        subclasses.

               Like these provisions, Rule 23(c)(4) provides a
        tool for the management of a class action, not a new
        “pathway” to establish a class action. The Rules
        Committee would not have placed Rule 23(c)(4) in the
        middle of a series of procedures and management tools
        if it had meant to create a whole new type of class
        action. This placement confirms that Rule 23(c)(4) is
        a case management tool that allows a district court to
        limit class treatment to particular issues when a case
        has already satisfied Rule 23(a) and (b).

               This understanding is confirmed by the absence
        of the kind of language Rule 23 uses to create a new
        kind of class action in Rule 23(c)(4). Rule 23(b) is
        explicit about the creation of three different types of
        class actions and the requirements for each type. Rule
        23(b) is entitled “types of class actions.” See INS v.
        Nat’l Ctr. for Immigrants’ Rights, Inc., 502 U.S. 183,
        189 (1991) (explaining that the title of a statute or
        section can help clarify meaning). It begins by
        explaining that a class action can be brought “if Rule




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        23(a) is satisfied and if” the conditions for one of the
        three types of class action have been met. Fed. R. Civ.
        P. 23(b). It then lays out detailed requirements for
        each of these three kinds of class action.

               Rule 23(c)(4), on the other hand, makes no
        reference to a “type[] of class action.” Nor does it lay
        out the requirements to bring a class action under
        Rule 23(b)(4), where it ought to be under the Third
        Circuit’s reading of the rule. It merely announces that
        “when appropriate” a court may permit class
        proceedings “with respect to particular issues.” Fed.
        R. Civ. P. 23(c)(4). This contrast in the language of
        Rule 23(c)(4) and Rule 23(b) indicates that Rule 23(b)
        establishes the only paths to class certification. See
        POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102,
        114 (2014) (explaining that the provision of rules for
        some cases implies the exclusion of other cases). The
        Rules Committee would have placed the provision in
        Rule 23(b) or, at the very least, used language similar
        to Rule 23(b) if it had meant to create a new kind of
        class action.

               What’s more, the other provisions of Rule 23(c)
        assume that Rule 23(b) establishes the only three
        types of class action. For example, Rule 23(c)(2)
        provides notice requirements “[f]or any class certified
        under Rule 23(b)(1) or (b)(2)” and a different set of
        notice requirements “[f]or any class certified under
        Rule 23(b)(3).” Fed. R. Civ. P. 23(c)(2). And Rule
        23(c)(3) imposes rules for the judgment in “any class
        action certified under Rule 23(b)(1) or (b)(2)” and
        different requirements for “any class action certified
        under Rule 23(b)(3).” Fed. R. Civ. P. 23(c)(3). But Rule
        23(c) does not include any similar rules for the




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        administration of an issues class under Rule 23(c)(4).
        This absence of any rules for the management of a
        Rule 23(c)(4) class action confirms that it does not
        establish a separate type of class action.

               The Third Circuit’s approach is irreconcilable
        with the text and structure of Rule 23. It allows class
        action plaintiffs to evade the limitations of Rule
        23(b)(3) simply by labelling a proceeding as an issues
        class action. This is not a superior way of resolving any
        cause of action, and this Court’s intervention is
        warranted.

                           CONCLUSION

              The petition for a writ of certiorari should be
        granted.




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        January 28, 2022




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                                                                                                          United States Courts of Appeals




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                                                          No. 21-948

                                      EDUCATIONAL COMMISSION FOR FOREIGN
                                              MEDICAL GRADUATES,
                                                                                          Petitioner,
                                                                V.

                                       MONIQUE RUSSELL; JASMINE RIGGINS;
                                       ELSA M. POWELL; AND DESIRE EVANS,
                                                                                       Respondents.

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                           the parts of the Brief that are exempted by Supreme
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                                No. 21-948
                                   IN THE
           Supreme Court of the United States

          EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
                         GRADUATES,
                                             Petitioner,
                              v.
                   MONIQUE RUSSELL, JASMINE RIGGINS,
                   ELSA M. POWELL, AND DESIRE EVANS,
                                                Respondents.


                On Petition for a Writ of Certiorari to the
           United States Court of Appeals for the Third Circuit


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                     QUESTION PRESENTED
            Whether it is ever permissible for a court to certify
        one or more issues for classwide resolution pursuant
        to Rules 23(b)(3) and 23(c)(4), where common ques-
        tions predominate over individual ones for the certi-
        fied issues but not necessarily for the case, or a cause
        of action asserted in it, as a whole?




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                         INTRODUCTION
            This case involves claims that petitioner Educa-
        tional Commission for Foreign Medical Graduates
        (ECFMG) negligently certified the medical credentials
        of an impostor. The district court certified an issue
        class under Federal Rule of Civil Procedure 23(c)(4) to
        resolve whether ECFMG owed, and breached, duties
        to patients examined and treated by the impostor. On
        ECFMG’s interlocutory appeal, the United States
        Court of Appeals for the Third Circuit vacated the cer-
        tification and remanded for further proceedings to de-
        termine whether any class could be certified. Those
        proceedings are ongoing.
            Meanwhile, having prevailed in the Third Circuit,
        and with both class certification and its own summary
        judgment motion pending in the district court,
        ECFMG asks this Court to disrupt a consensus among
        circuits, rulemakers, and scholars that issue classes
        may potentially be certified in cases where Rule
        23(b)’s requirements would not permit certification for
        an entire cause of action. This Court has repeatedly
        denied certiorari petitions raising this issue, and
        ECFMG offers no compelling reasons for the Court to
        change course and intervene here, in an appeal in
        which ECFMG has already prevailed.
            The Third Circuit’s careful decision concluded the
        district court failed to conduct a sufficiently rigorous
        analysis of Rule 23(b) and two of the nine factors the
        Third Circuit articulated in Gates v. Rohm & Haas
        Co., 655 F.3d 255 (3d Cir. 2011) to guide a court’s ex-
        ercise of discretion on issue-class certification. The
        court’s decision, however, left open the possibility
        that, on a proper showing, the district court could cer-
        tify an issue class. ECFMG contends the Third



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        Circuit’s embrace of the consensus view on the proper
        analysis of Rule 23(b)(3) predominance for a Rule
        23(c)(4) certification—under which predominance is
        analyzed with respect to the certified issues, not the
        entire case— “deepens” an “entrenched” circuit split.
        This view, ECFMG claims, conflicts with decisions of
        the Fifth and Eighth Circuits, which, ECFMG asserts,
        prohibit certification of an issue class unless the
        class’s cause of action as a whole satisfies Rule
        23(b)(3).
            ECFMG’s argument relies on out-of-context dicta
        in a footnote in Castano v. American Tobacco Co., 84
        F.3d 734, 745 n.21 (5th Cir. 1996). Properly under-
        stood, the Castano footnote is consistent with the con-
        sensus approach to issue-class certification. Recent
        Fifth and Eighth Circuit precedents, moreover, also
        align with the consensus approach.
           Federal judicial rulemakers have also rejected
        ECFMG’s proposed approach to issue-class certifica-
        tion. Just four years ago, the Advisory Committee on
        Civil Rules thoroughly examined the issues raised
        here, in regular deliberations and through a specially
        convened Rule 23 Subcommittee. It concluded that
        amending Rule 23 to provide the relief ECFMG seeks
        from this Court would be unnecessary and counterpro-
        ductive and that the circuits were coalescing on a com-
        mon approach to Rule 23(c)(4) issue classes. And the
        Committee expressly declined to adopt ECFMG’s pre-
        ferred approach—that issues can only be certified for
        class treatment if an entire action or cause of action is
        certified—which lacks support in the text, structure,
        and history of Rule 23. Changes to Rule 23(c)(4) there-
        fore were not included in the Rule 23 amendments ul-
        timately approved by the Judicial Conference and
        adopted by this Court.



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           This Court should not disrupt the outcome of the
        rulemaking process by granting review to resolve a
        conflict that does not exist, in a case where the lower
        courts have not yet decided the certification issue.
                            STATEMENT
            ECFMG is “the central certification agency for
        graduates of foreign medical schools.” (App. 5a.) As
        Respondents allege, ECFMG negligently investigated
        and certified a Nigerian national, Oluwafemi Charles
        Igberase a/k/a John Nosa Akoda (among other ali-
        ases), as eligible to enter a medical residency program,
        despite knowing Igberase/“Akoda” had fraudulently
        represented his identity and credentials. (App. 6a–9a.)
        Rather than informing state medical boards, resi-
        dency programs, and hospitals of Igberase’s fraud,
        ECFMG repeatedly attested that Igberase held a valid
        ECFMG certification. As a result, “[f]or years, a man
        using the name ‘John Charles Akoda’ passed himself
        off as an OB/GYN.” (App. 38a.)
            Igberase is now a convicted felon. (App. 41a.)
        ECFMG consistently refers to him as “Dr. Akoda.” But
        “[a]n error does not become truth by reason of multi-
        plied propagation.” 1 He is not “Akoda” and not a doc-
        tor. (App. 9a.)
           Plaintiffs Monique Russell, Jasmine Riggins, Elsa
        Powell, and Desire Evans, four of Igberase’s unknow-
        ing patients, sued ECFMG in the Court of Common
        Pleas of Philadelphia, seeking compensation for emo-
        tional harm. They assert two causes of action—negli-
        gence and negligent infliction of emotional distress—
        on behalf of a putative class. They allege Igberase
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           1 Mohandas K. Gandhi, Young India 1924-1926, at 1285
        (1927).




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        “touched them without informed consent” and “per-
        formed inappropriate examinations of a sexual nature
        while utilizing inappropriate and explicit sexual lan-
        guage.” (App. 41a–42a.) This case is about much more
        than use of a fake name and Social Security number.
        (Pet. 5.)
           ECFMG removed the case to the United States
        District Court for the Eastern District of Pennsylva-
        nia. After substantial discovery, Plaintiffs moved for
        certification under Federal Rule of Civil Procedure
        23(b)(3) and 23(c)(4) of a class of “all patients exam-
        ined and/or treated in any manner by Oluwafemi
        Charles Igberase (a/k/a Charles J. Akoda, M.D.).”
        (App. 42a.) Plaintiffs requested certification of the is-
        sue of liability for the two causes of action—or, in the
        alternative, certification of nine issues common to the
        class. (App. 42a–43a.)
           In an extensive analysis approved by the Third
        Circuit and not at issue here, the district court first
        found Respondents had properly defined an ascertain-
        able class that satisfied the four requirements of Rule
        23(a). (App. 48a–56a.)
           The district court then applied the practical con-
        siderations articulated in Gates to determine the ap-
        propriateness of an issue class under Rule 23(c)(4), but
        did not expressly find that the proposed issue class
        satisfied Rule 23(b)(3). (App. 56a–61a.) 2 It declined to
        certify the issue of liability for the class members’
        causes of action, finding that resolving liability would
        require deciding too many individualized questions of
        causation and harm. (App. 57a–59a.) However, the
        court found that common issues concerning “whether

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           2   The Gates factors are listed at App. 17a–18a.




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        ECFMG had a relevant legal duty and whether it
        breached that duty” were appropriate for certification.
        (App. 59a.)
            Applying Gates, the court concluded that the “ques-
        tions of duty and breach favor issue certification be-
        cause they are questions of law and/or fact common to
        all class members and subject to common proof.” (App.
        59a–60a.) The court found that all class members are
        “identical in terms of their legal relationship to
        ECFMG,” such that “ECFMG owes the same duty (if
        any)” to all. (App. 59a–60a.) And whether ECFMG
        breached its duty “is a common question of fact for
        each prospective class member,” because it turns on
        ECFMG’s conduct, not that of individual class mem-
        bers. (App. 60a.)
           Examining the utility of class certification in re-
        solving the action, the district court concluded “there
        are efficiencies to be gained” through certifying a class
        on duty and breach. (Pet 60a.) Doing so would permit
        “a single, preclusive determination about ECFMG’s
        conduct” and avoid repetitive presentation of the same
        extensive evidence to one jury after another. (Id.)
        Moreover, no other similarly efficient “procedural al-
        ternatives” were available. (Id.) Finally, the court con-
        cluded that certifying an issue class would not “trigger
        any of the problems about which courts must be mind-
        ful under Gates,” including impairment of a class
        member’s statutory or constitutional rights. (App.
        60a.)
           The district court accordingly certified an issue
        class under Rule 23(c)(4), comprising all patients
        treated by Igberase after he entered a residency pro-
        gram in 2007. (App. 36a.) The certification identified
        four issues for classwide resolution: (1) whether




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        ECFMG undertook or otherwise owed a duty to class
        members; (2) whether ECFMG undertook or other-
        wise owed a duty to hospitals and state medical
        boards, such that ECFMG may be held liable to class
        members pursuant to Restatement (Second) of Torts
        § 324A; (3) whether ECFMG breached any duty that
        it owed to class members; and (4) whether ECFMG
        breached any duty that it owed to hospitals and state
        medical boards. (Id.)
            The Third Circuit granted ECFMG leave to appeal
        under Rule 23(f). It vacated the district court’s class
        certification order on two grounds: “[T]he District
        Court did not determine whether the duty and breach
        elements of Plaintiffs’ claim satisfied Rule 23(b)(3),”
        and (2) “the Court also failed to rigorously consider
        several Gates factors,” namely “the effect certification
        of the issue class will have on the effectiveness and
        fairness of resolution of remaining issues” and “what
        efficiencies would be gained by resolution of the certi-
        fied issues.” (App. 23a–24a.)
            In so holding, the Third Circuit emphasized that
        issue-class certification requires that the issues certi-
        fied satisfy Rules 23(a) and (b), and that class resolu-
        tion of those issues is appropriate in light of the prac-
        tical considerations outlined in Gates. “Rule 23(a) and
        Rule 23(b) decide if the proposed issues can be brought
        or maintained as [a] class action,” it held, “while the
        Gates factors determine whether they should.” (App.
        22a.)
           At the same time, the court agreed with the district
        court’s determination that plaintiffs seeking issue-
        class certification need not “prove that their cause of
        action as a whole satisfies Rule 23(b)(3).” (App. 23a.)
        The Third Circuit thus adhered to the “broad view,”




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        under which “[a] majority of the courts of appeals have
        concluded that in appropriate cases Rule 23(c)(4) can
        be used even though full Rule 23(b)(3) certification is
        not possible due to the predominance infirmities.”
        (App. 28a–29a.) It rejected the “narrow view” ECFMG
        attributed to Castano—under which issue class certi-
        fication is prohibited “if Rule 23(b)(3) predominance
        has not been satisfied for the cause of action as a
        whole”—because it has not been adopted by any other
        circuit, has been rejected by the Advisory Committee
        on Civil Rules, and “subsequent caselaw from the
        Fifth Circuit suggests that any potency the narrow
        view once held has dwindled.” (App. 30a. & n.7.)
            Accordingly, the Third Circuit remanded to the dis-
        trict court to analyze all Gates factors and determine
        whether the proposed issue classes satisfied Rule
        23(b)(3). (App. 32a.)
                REASONS FOR DENYING THE WRIT
        I. The posture of this case, with class certifi-
           cation and dispositive motions unresolved,
           makes it especially unsuitable for review.
           Petitioner seeks this Court’s intervention in me-
        dias res. After the Third Circuit vacated the district
        court’s class certification and remanded it for further
        consideration, the district court requested supple-
        mental briefing from the parties on class certifica-
        tion. 3 The parties have submitted two rounds of sup-
        plemental briefing. 4 The district court has yet to issue
        a decision on class certification following remand. The
        standard for certifying an issue class would be best
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           3Order, ECF No. 77, Russell v. Educ. Comm’n Foreign Med.
        Graduates, No. 2:18-cv-05629-JDW (E.D. Pa. Nov. 9, 2021).
           4   Id. at ECF Nos. 79, 80, 95, 96.




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        considered in the context of a decision granting or
        denying certification, the propriety of which turns on
        resolution of a legal question suitable for this Court’s
        determination. Those features are missing here.
        Meanwhile, whichever answer the Court were to give
        to the question ECFMG presents would merely result
        in affirmance of the Third Circuit’s decision vacating
        the original certification order.
           ECFMG has also filed several Daubert motions and
        a lengthy motion for summary judgment regarding
        the claims of the named plaintiffs. The latter seeks
        dismissal based on an alleged lack of duty, proximate
        cause, and entitlement to emotional harm damages. 5
        Plaintiffs have opposed these motions, 6 and they, too,
        have yet to be heard. 7
            The district court’s decisions on these matters may
        well change the shape and scope of the case. For ex-
        ample, the district court may deny certification, mod-
        ify the issues to be certified, determine that the issues
        of duty and breach can only be certified as to one of
        the two causes of action, or even rule that Plaintiffs
        lack a claim altogether. Complicated additional pro-
        ceedings may follow, including efforts to substitute
        class representatives and merits appeals.
           The Court should not ground an extraordinary in-
        tervention into settled class-action doctrine on such
        shifting sands. This court “generally awaits final judg-
        ment in the lower courts before exercising our

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           5   Id. at ECF Nos. 81–83, 87.
           6   Id. at ECF Nos. 93–94.
           7  Argument on summary judgment and reargument of class
        certification was to be held on March 29, 2022 but was canceled.
        Id. at ECF No. 102.




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        certiorari jurisdiction.” Va. Mil. Inst. v. United States,
        508 U.S. 946 (1993) (opinion of Scalia, J., respecting
        denial of certiorari). Here, there is no operative class
        certification decision, let alone a final judgment. Fur-
        ther developments below could alter or moot the is-
        sues ECFMG presents. If ECFMG is ultimately dis-
        satisfied with the judgment, its objections can be ad-
        dressed together, if need be, on appeal from a final
        judgment.
        II. There is no intercircuit conflict.
           A. The decision below reflects the consensus
              view of Rule 23(c)(4).
            The view of Rule 23(c)(4) expressed by the Third
        Circuit below conforms to a broad agreement among
        the circuits that Rule 23(c)(4) certification is not, as
        ECFMG asserts, limited to circumstances where a
        cause of action or an action as a whole satisfies Rule
        23(b)(3)’s requirements. See Smilow v. Sw. Bell Mobile
        Sys., Inc., 323 F.3d 32, 41 (1st Cir. 2003) (“[E]ven if
        individualized determinations were necessary to cal-
        culate damages, Rule (23)(c)(4)(A) would still allow
        the court to maintain the class action with respect to
        other issues.”); In re Nassau County Strip Search
        Cases, 461 F.3d 219, 227 (2d Cir. 2006); Martin v. Behr
        Dayton Thermal Prods. LLC, 896 F.3d 405, 413 (6th
        Cir. 2018); Valentino v. Carter-Wallace, Inc., 97 F.3d
        1227, 1234 (9th Cir. 1996); see also Gunnells v. Health-
        plan Servs., Inc., 348 F.3d 417, 443 (4th Cir. 2003) (re-
        jecting view that an issue class can be certified only if
        the entire action meets Rule 23(b)(3)’s requirements).
           As discussed above, the Third Circuit in this case
        endorsed the consensus position, applying Rule
        23(b)(3)’s predominance and superiority requirements




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        to the issues certified, while employing the Gates fac-
        tors as a guide to the appropriateness of issue certifi-
        cation. The Seventh and Eighth Circuits have simi-
        larly declined to adopt a rigid requirement that Rule
        23(b)(3)’s criteria must be assessed with respect to an
        entire cause of action if an issue narrower than a
        cause of action is proposed for certification. See
        McReynolds v. Merrill Lynch, Pierce, Fenner & Smith,
        Inc., 672 F.3d 482, 491 (7th Cir. 2012); In re St. Jude
        Med., Inc., 522 F.3d 836, 841 (8th Cir. 2008).
            Although ECFMG points to differences in the way
        courts have expressed the consensus view, it identifies
        no conflict among the “plurality” of circuits endorsing
        the consensus position—let alone explains how any al-
        leged differences among these circuits would result in
        a different outcome. Kartman v. State Farm Mutual
        Automobile Insurance Co., which Petitioner identifies
        as an example of the Seventh Circuit’s “mixed” au-
        thority (Pet. 21–22), concerned certification of a Rule
        23(b)(2) class on “liability.” 634 F.3d 883, 895 (7th Cir.
        2011). The court held that Rule 23(b)(2) was “not ap-
        propriately invoked for adjudicating common issues in
        an action for damages.” Id. Neither Rule 23(b)(3) and
        (c)(4) was “implicated,” the court held. Id.
           Petitioner also misquotes Reitman v. Champion
        Petfoods, USA, Inc., 830 F. Appx. 880 (9th Cir. 2020).
        an unpublished Ninth Circuit disposition, as holding
        that “predominance was not required for certifying a
        class under Rule 23(c)(4).” (Pet. 19.) The quoted state-
        ment reflects the appellate court’s characterization of
        the district court's position, not its own. Reitman, 830
        F. App'x at 882. The court of appeals approvingly cited
        Valentino—the other “side” of the fictive intracircuit
        split ECFMG posits (see Pet. 19)—in affirming the
        district court’s refusal to certify a liability-only issue



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        class where numerous individualized liability issues
        would make issue certification inefficient.
           Academic authorities have noted the circuits’
        “emerging consensus” on a practical approach to Rule
        23(c)(4) issue certification that does not depend on
        whether a cause of action as a whole meets the Rule
        23(b)(3) criteria. 8 As Professor Samuel Issacharoff
        (Reporter of the ALI Principles of the Law of Aggre-
        gate Litigation) and Elizabeth Cabraser have con-
        cluded:
           [B]y now all federal circuits, including the Fifth
           Circuit, have endorsed the class treatment of spe-
           cific issues (either by explicitly invoking Rule
           23(c)(4), or approving the classwide adjudication
           of an identified liability issue as a case manage-
           ment technique) in a variety of contexts. 9
        This view, shared by nine circuits, 10 aligns with that
        of major treatises on civil procedure and class actions,
        which agree that Rule 23(c)(4) certification should de-
        pend on the practical benefits of class resolution of a
        common issue. 11
           This Court’s most recent relevant precedent, Tyson
        Foods, Inc. v. Bouaphakeo, 577 U.S. 442 (2016), ex-
        pressly recognized the utility of class actions to resolve
        ––––––––––––––––––––––––
           8 See, e.g., Elizabeth C. Burch, Constructing Issue Classes,

        101 Va. L. Rev. 1855, 1892 (2015).
            9 Elizabeth J. Cabraser & Samuel Issacharoff, The Participa-

        tory Class Action, 92 N.Y.U. L. Rev. 846, 870–71 (2017).
           10  The Tenth, Eleventh, D.C, and Federal Circuits have not
        spoken definitively on the question presented.
            11 See, e.g. 2 Newberg on Class Actions § 4:91 (5th ed. 2020);

        5 James Wm. Moore, Moore’s Federal Practice § 23.86 (3d ed.
        2011); Jay Tidmarsh & Roger H. Trangsrud, Modern Complex
        Litigation 490 (2d ed. 2010).




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        “important questions common to all class members,”
        even where “other important matters will have to be
        tried separately.” Id. at 453 (citation omitted). The is-
        sue class authorized by Rule 23(c)(4) provides a prac-
        tical mechanism for such adjudication that assists dis-
        trict judges in managing complex litigation, consistent
        with all the requirements of Rule 23.
            B. The Fifth and Eighth Circuits concur
               with the consensus view.
                 1. ECFMG misreads Castano.
           ECFMG’s claim that the circuits are divided rests
        principally on a footnote in the Fifth Circuit’s 25-year-
        old decision in Castano. But a careful reading of Cas-
        tano, the authorities it relies on, and subsequent Fifth
        Circuit precedents confirms that issues can indeed be
        certified without a finding that an action or cause of
        action, as a whole, satisfies Rule 23(b)(3) predomi-
        nance. 12
            In Castano, the district court certified a class—
        called a “Frankenstein’s monster” by Prof. Charles

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            12 At times, the Petition appears to contend that issue certi-
        fication requires satisfying predominance as to the entire action,
        not just a cause of action—regardless of the scope of the issue
        proposed to be certified. See Pet. i (question presented refers to
        “action” not “cause of action”); but see Pet. 31 (contending that
        “when the claim is considered as a whole, the individual issues—
        including causation, injury, and damages—[must] predominate
        over the narrow (allegedly-common) issues of duty and breach”
        (emphasis added)). No circuit supports the whole-action view
        seemingly advanced in the question presented, and it is unclear
        whether that question even encompasses ECFMG’s seeming en-
        dorsement, in the body of the Petition, of applying Rule 23(b)’s
        requirements on the cause-of-action level rather than the certi-
        fied-issue level in an issue class action.




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        Alan Wright 13—of all individuals in the United States
        who became addicted to nicotine from 1943 onward,
        along with their spouses, children, and significant oth-
        ers. Castano, 84 F.3d at 737. The Fifth Circuit called
        it “what may be the largest class action ever at-
        tempted in federal court.” Castano, 84 F.3d at 737.
        Plaintiffs sought relief “solely for the injury of nicotine
        addiction,” under the “novel and wholly untested the-
        ory that the defendants fraudulently failed to inform
        consumers that nicotine is addictive and manipulated
        the level of nicotine in cigarettes to sustain their ad-
        dictive nature.” Id. at 737.
           The district court certified the proposed class, pur-
        suant to Rules 23(b)(3) and (c)(4), on “the liability is-
        sues of fraud, breach of warranty (express or implied),
        intentional tort, negligence, strict liability and con-
        sumer protection and punitive damages issues.” Cas-
        tano v. Am. Tobacco Co., 160 F.R.D. 544, 560 (E.D. La.
        1995), rev'd, 84 F.3d 734 (5th Cir. 1996).
            Under the courts’ proposed four-phase trial plan, a
        jury would in the first phase determine 11 issues of
        “core liability,” including the fraud cause of action.
        Castano, 84 F.3d at 738. The next three proposed
        phases were to involve a complex process of calculat-
        ing compensatory and punitive damages. Id. The dis-
        trict court did not discuss in detail how individual
        plaintiffs’ claims would be tried. Id.
            Importantly, the district court expressly declined
        to certify numerous other issues, including the reli-
        ance element of the plaintiffs’ cause of action for fraud.
        Id. at 740. The district court reasoned those “issues
        are so overwhelmingly replete with individual

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           13   Castano, 84 F.3d at 745 n.19.




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        circumstances that they quickly outweigh predomi-
        nance and superiority.” Id. Paradoxically, however,
        the district court also found “it would be premature to
        hold that individual reliance issues predominate over
        common issues,” because it mistakenly thought it was
        precluded under this Court’s precedent from inquiring
        into the merits of the fraud claim, and because it was
        possible state law would permit a presumption of reli-
        ance. Id. at 739. Thus, “the court was convinced that
        it could certify the class and defer the consideration of
        how reliance would affect predominance.” Id.
            The Fifth Circuit found that the district court had
        erred in finding predominance and superiority as to
        the issues certified, for two main reasons: the district
        court “failed to consider how variations in state law
        affect predominance and superiority” and its “predom-
        inance inquiry did not include consideration of how a
        trial on the merits would be conducted.” Castano, 84
        F.3d at 740.
            Footnote 21, which is dicta, related to the district
        court’s finding that predominance was satisfied as to
        the entire issue of fraud liability, even as it deferred
        the question of whether reliance—an element of fraud
        liability— affected predominance. This illogical result,
        according to the relevant text of the Fifth Circuit’s
        opinion, contravened circuit precedent and the Advi-
        sory Committee notes to Rule 23, which states “a
        fraud class action cannot be certified when individual
        reliance will be an issue.” Id. at 745. And it posed case
        management problems: “after the class trial, [the dis-
        trict court] might have decided that reliance must be
        proven in individual trials. The court then would have
        been faced with the difficult choice of decertifying the
        class after phase 1 and wasting judicial resources, or
        continuing with a class action that would have failed



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        the predominance requirement of rule 23(b)(3).” Cas-
        tano, 84 F.3d at 745.
           Footnote 21 is specifically directed to this simulta-
        neous certification of fraud liability while bracketing
        out an element of liability for analysis as to predomi-
        nance in future proceedings. It reads:
           Severing the defendants' conduct from reliance
           under rule 23(c)(4) does not save the class action.
           A district court cannot manufacture predomi-
           nance through the nimble use of subdivision
           (c)(4). The proper interpretation of the interac-
           tion between subdivisions (b)(3) and (c)(4) is that
           a cause of action, as a whole, must satisfy the pre-
           dominance requirement of (b)(3) and that (c)(4) is
           a housekeeping rule that allows courts to sever
           the common issues for a class trial. Reading rule
           23(c)(4) as allowing a court to sever issues until
           the remaining common issue predominates over
           the remaining individual issues would eviscerate
           the predominance requirement of rule 23(b)(3);
           the result would be automatic certification in
           every case where there is a common issue, a re-
           sult that could not have been intended.
        Castano v. Am. Tobacco Co., 84 F.3d 734, 745 (5th Cir.
        1996) (citations omitted) (emphasis added).
            As footnote 21 discloses, Castano found fault with
        the district court not for certifying the issue of liability
        for fraud, but for purporting to certify it while omit-
        ting a key element of liability (reliance) from the pre-
        dominance analysis. Read in its proper context, foot-
        note 21 stands for a simple proposition: in certifica-
        tions pursuant to Rule 23(b)(3) and (c)(4), a district
        court must actually do what it says it is doing. A court
        cannot “nimbly” excise an element of liability from the



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        Rule 23(b)(3) predominance analysis while at the
        same time purporting to certify the entire issue of lia-
        bility for classwide treatment. 14
            Castano does not preclude certifying issues other
        than a cause of action in appropriate circumstances.
        Indeed, in Jenkins v. Raymark Indus., Inc., 782 F.2d
        468, 471 (5th Cir. 1986), which Castano cites exten-
        sively with approval (including in footnote 21 itself),
        the Fifth Circuit had affirmed certification of the
        “state of the art” defense “and defense-related ques-
        tions, including product identification, product defec-
        tiveness, gross negligence and punitive damages” in a
        complex asbestos case. In Jenkins, no cause of action
        was certified for classwide treatment, and there was
        no determination that a cause of action (let alone an
        action) as a whole satisfied predominance. And Cas-
        tano nowhere suggests any reservations about the re-
        sult in Jenkins. 15
           Rather, according to Castano—and courts that
        have explicitly adopted the broad view of (c)(4) certifi-
        cation—the contours of the predominance analysis
        map onto what is certified. If an action is certified, pre-
        dominance is determined with reference to the entire
        case. If a cause of action or a narrower issue within an


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            14This is especially true when, as in Castano, a district court
        concludes the excised element (there, reliance) appears to involve
        many individual questions to be certified.
            15  In Jenkins, the district court’s trial plan, which the Fifth
        Circuit approved, was to conduct mini-trials of seven to ten plain-
        tiffs if the plaintiffs prevailed at the issues trial. Id. at 471. As
        Jenkins illustrates, the Chamber of Commerce’s assertion that
        issues classes “undercut” bellwether proceedings lacks merit.
        (Chamber Br. 8.)




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        action is certified, predominance is determined with
        reference to the cause of action or issue itself.
                2. More recent Fifth Circuit decisions
                   align with the consensus view.
           The most recent Fifth Circuit decisions on Rule
        23(c)(4)—especially In re Rodriguez, 695 F.3d 360 (5th
        Cir. 2012), and In re Deepwater Horizon, 739 F.3d 790
        (5th Cir. 2014)—confirm that the Fifth Circuit em-
        braces the consensus approach to issue-class certifica-
        tion.
            In Rodriguez, the Fifth Circuit affirmed the “nar-
        row class certification” of a Rule 23(b)(2) class on the
        issue of injunctive relief even though damages claims
        arising from the same causes of action did not satisfy
        Rule 23(b)(3)’s predominance requirement. 695 F.3d
        at 363. The court stated that “Rule 23(c)(4) explicitly
        recognizes the flexibility that courts need in class cer-
        tification by allowing certification ‘with respect to par-
        ticular issues’ and division of the class into sub-
        classes.” Id. at 369 n.13 (quoting Bolin v. Sears, Roe-
        buck & Co., 231 F.3d 970, 976 (5th Cir. 2000)). The
        court focused on whether the certified issue, not the
        action as a whole, satisfied Rule 23(b).
            In re Deepwater Horizon—the last occasion on
        which the Fifth Circuit analyzed Rule 23(c)(4)—also
        shows that the Fifth Circuit does not adhere to the
        view reflected in ECFMG’s erroneous reading of the
        Castano footnote. Over objections that a district
        court’s certification of a class did not comport with
        Rule 23(b)(3) because common issues did not predom-
        inate, Deepwater Horizon held that certification was
        “in accordance with … Rule 23(c)(4).” 739 F.3d at 806;
        see also id. at 815–16. The Fifth Circuit stated that
        “‘determining liability on a class-wide basis, with



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        separate hearings to determine—if liability is estab-
        lished—the damages of individual class members, or
        homogeneous groups of class members, is permitted
        by Rule 23(c)(4) and will often be the sensible way to
        proceed.’” Id. at 806 n.66 (quoting Butler v. Sears, Roe-
        buck & Co., 727 F.3d 796, 800 (7th Cir. 2013) (Posner,
        J.), cert. denied, 571 U.S. 1196 (2014)). Revealingly,
        Deepwater Horizon approvingly cited decisions of
        “many circuits” that had “divided and tried” “common
        and individual issues” “by means of … Rule 23(c)(4),
        which permits district courts to limit class treatment
        to ‘particular issues’ and reserve other issues for indi-
        vidual determination.” Id. at 816.
           ECFMG, by contrast, cites only three dated appel-
        late decisions as evidence of the Fifth Circuit’s “stead-
        fast adherence” to its “side” of the putative split. All
        support Respondents’ interpretation of Castano and
        indicate no circuit split exists.
            The most recent of these cases is a nonprecedential,
        unpublished opinion from 2005, Corley v. Orangefield
        Indep. Sch. Dist., 152 Fed. Appx. 350 (5th Cir. 2005).
        Corley affirmed a district court’s denial of certification
        of a proposed class of “all present owners of land in
        Louisiana, Mississippi, and Texas over which Defend-
        ants have strung (or buried) fiber optic cable, and over
        which communications other than electricity-related
        communications have occurred,” on all claims, for lia-
        bility and damages, pursuant to 23(b)(1)–(3). Corley v.
        Entergy Corp., 222 F.R.D. 316, 318 (E.D. Tex. 2004). The
        district court also declined to certify a “composite
        class,” which would have involved “certify[ing] the
        class under Rule 23(b)(2) on liability and, in turn, cer-
        tify[ing] the class under Rule 23(b)(3) on damages.”
        Corley v. Entergy Corp., 220 F.R.D. 478, 490 (E.D. Tex.
        2004). The district court denied this request because



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        “[t]he lack of a class-wide damages formula, the prox-
        imate cause requirement for Plaintiffs' RICO claims,
        and the limitations question prevent the court from
        finding that common issues predominate over individ-
        ual issues for any of Plaintiffs' claims.” Id. at 491.
            The Fifth Circuit’s brief, unpublished affirmance
        held the district court had correctly denied certifica-
        tion of the entire case under Rule 23(b)(3) due to the
        necessity of individual damages calculations, and held
        that certifying liability under Rule 23(b)(2) and dam-
        ages under Rule 23(b)(3) fared no better. 152 F. App'x
        at 355–56. The single sentence in which the court cited
        Castano did not rule out the possibility of more nar-
        rowly tailored issue certification in other circum-
        stances.
            The second Fifth Circuit opinion ECFMG points to
        as evidence of the putative circuit split was withdrawn
        and is not good law. Smith v. Texaco, Inc., 263 F.3d
        394, 409 (5th Cir. 2001), opinion withdrawn, cause
        dismissed, 281 F.3d 477 (5th Cir. 2002). The plaintiffs
        did not seek certification pursuant to Rule 23(c)(4) and
        the district court opinion did not mention 23(c)(4). See
        Smith v. Texaco, Inc., 88 F. Supp. 2d 663 (E.D. Tex.
        2000). The appellate opinion mentions Castano and
        Rule 23(c)(4) only in passing. 263 F.3d at 409.
           Allison v. Citgo Petroleum Corp., 151 F.3d 402 (5th
        Cir. 1998), the third Fifth Circuit case ECFMG cites
        to support the putative split, is nearly twenty-four
        years old. In Allison, plaintiffs sought certification of
        the “case” under Rule 23(b)(2) and 23(b)(3). Id. at 408.
        The district court rejected certification of the entire
        case under either provision. See id.
           The plaintiffs in Allison also proposed “tentative”
        certification of the issue of liability for classwide



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        treatment, which would sever—but only temporar-
        ily—issues of damages from class proceedings. But the
        plaintiffs specifically “preserve[d] the claims for com-
        pensatory and punitive damages as a class action is-
        sue.” Id. at 421. According to the court, this decision
        “ha[d] significant implications for certification of the
        remaining issues,” and ultimately foreclosed certifica-
        tion:
           [U]nder the plaintiffs’ theory, certification of the
           first stage of the pattern or practice claim would
           be appropriate presumably because individual-
           specific issues would be “severed”—but only tem-
           porarily—under Rule 23(c)(4), making issues
           common to the class predominant (at least theo-
           retically) for the purposes of meeting the (b)(3)
           requirements. But such an attempt to “manufac-
           ture predominance through the nimble use of
           subdivision (c)(4)” is precisely what Castano for-
           bade.
        Id. at 421–22 (emphasis added). Allison thus forbids a
        court from certifying an action as a whole by “tempo-
        rarily” excluding the issue of damages in the predom-
        inance analysis. But by emphasizing the adverse con-
        sequences of retaining damages as a class issue, Alli-
        son indicates that plaintiffs may have been successful
        seeking certification only on the issue of liability, ra-
        ther than both liability and damages. Issue-by-issue
        predominance analysis is perfectly acceptable under—
        and, indeed, required by—Allison and Castano, if dis-
        crete issues rather than a claim or action as a whole
        are proposed for certification.
           In short, ECFMG’s reliance on these decades-old
        (and mostly nonprecedential) opinions does nothing to
        overcome the Fifth Circuit’s recent precedents




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        expressing support for the consensus view of Rule
        23(c)(4). 16
                3. ECFMG’s attempt to draft the Eighth
                   Circuit into its putative circuit split is
                   unfounded.
           ECFMG compounds its misconception of Castano
        by advancing a novel and erroneous argument that
        the Eighth Circuit is on the same side of the “split” as
        the Fifth Circuit. The two cases it cites expressly un-
        dermine its argument.
           In re St. Jude Medical, a 2008 decision, arose from
        injuries allegedly caused by a recalled prosthetic heart
        valve. 522 F.3d at 837. The district court certified a
        nationwide class for claims based on violations of Min-
        nesota consumer protection law. Id. at 838. The class
        was certified on both liability and damages. Id.
            The Eighth Circuit reversed, faulting the district
        court for inadequately considering the individual is-
        sues of fraud and misrepresentation implicated in the
        certification. Examining whether individual issues
        predominated within the issue of liability, it found
        they did not, because “[w]hether each plaintiff even
        received a representation from St. Jude about the ef-
        ficacy of the heart valve is likely to be a significant
        issue in each case of alleged liability.” Id. at 838–39.
        St. Jude also held that individual issues outweighed
        common issues as to compensatory and medical

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           16  The Fifth Circuit’s most recent citation of Castano, in
        Prantil v. Arkema Inc., 986 F.3d 570, 577 & n.27 (5th Cir. 2021),
        does not involve issue classes, but merely holds that when a court
        is determining whether to certify an entire action, or entire
        causes of action within that action, it should analyze predomi-
        nance “claim-by-claim,” a point not contested in any circuit.




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        monitoring damages proposed for certification under
        Rule 23(b)(3). See id. at 841.
            In dicta, the Eighth Circuit discussed the possibil-
        ity of certification under Rule 23(c)(4), an issue not
        considered by the district court, which “did not limit
        its class certification to specific issues that may be
        amenable to class-wide resolution.” Id. Reflecting
        then-common misconceptions about Castano, the
        court of appeals stated “there [was] a conflict in au-
        thority on whether such a class may properly be certi-
        fied under Rule 23,” with Castano on one side and
        Nassau and Valentino on the other. Id.
            St. Jude declined to take a “side,” noting that
        “[e]ven courts that have approved ‘issue certification’
        have declined to certify such classes where the pre-
        dominance of individual issues is such that limited
        class certification would do little to increase the effi-
        ciency of the litigation.” Id. (citation omitted). “Given
        the individual issues discussed above,” the court con-
        cluded, “we think this is such a case.” Id. at 841.
            The Eighth Circuit thus did not reject the consen-
        sus position of the circuits. Its analysis is fully con-
        sistent with the consensus view that an issue class
        may not be certified when the issues proposed for cer-
        tification would not themselves satisfy Rule 23(b)(3)
        and when issue certification would not serve interests
        of efficiency.
            Ebert v. General Mills, Inc., the other case ECFMG
        cites as evidence of the Eighth Circuit’s view, con-
        cerned a district court’s “hybrid” certification of liabil-
        ity under Rule 23(b)(2) and damages under (b)(3) in a
        toxic tort case. 823 F.3d 472, 477, 480 (8th Cir. 2016).
        The Eighth Circuit concluded that too many individu-
        alized issues of liability and damages existed to



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        warrant certification. Id. at 479–80. It analyzed pre-
        dominance within the issue of liability itself, conclud-
        ing that “even on the certified issue of liability, there
        are determinations contained within that analysis
        that are not suitable for class-wide determination,”
        such as whether a property was subject to vapor con-
        tamination for which the defendant was responsible.
        Id. at 479. Neither the district court nor the Eighth
        Circuit in Ebert referenced Castano.
            Ebert nowhere predicates issue-class certification
        on an entire cause of action satisfying predominance.
        Ebert expressly acknowledges the possibility of issue-
        class certification in the absence of broader (b)(3) pre-
        dominance in the first sentence of its discussion sec-
        tion: “A class action serves to conserve the resources
        of the court and the parties by permitting an issue that
        may affect every class member to be litigated in an
        economical fashion.” 823 F.3d at 477 (citing Gen. Tel.
        Co. of Sw. v. Falcon, 457 U.S. 147, 155 (1982)) (empha-
        sis added). Ebert is fully consistent with certification
        of issues that, analyzed on their own terms, satisfy
        predominance.
        III. A careful, extensive rulemaking process
             concluded there is no circuit split on Rule
             23(c)(4) that warrants attention.
            As the Third Circuit recognized, “the Advisory
        Committee on Civil Rules appears to agree that issues
        can be certified for class treatment even if predomi-
        nance cannot be satisfied for the action as a whole.”
        (App. 30a n.7.) The federal judiciary’s rulemaking bod-
        ies have roundly rejected ECFMG’s claims (1) that a
        circuit split exists concerning Rule 23(c)(4); and (2)
        that Rule 23 should be amended to adopt the approach
        ECFMG advocates. As the Advisory Committee on



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        Civil Rules concluded, “[d]issonance in the courts has
        subsided” regarding issue classes; “[t]here seems little
        need to undertake work to clarify the law”; and
        amending Rule 23(c)(4) “might well create new com-
        plications.” 17 The Petition never mentions the conclu-
        sion of the Advisory Committee on Civil Rules and its
        Rule 23 Subcommittee that the “entrenched” circuit
        split is nonexistent. The Court should not introduce
        needless complication into class-action jurisprudence
        when the rulemaking bodies Congress authorized to
        consider the issue have concluded it would be unwar-
        ranted.
            Congress entrusted stewardship of the Federal
        Rules of Civil Procedure to the federal judiciary, under
        the rulemaking process described by the Rules Ena-
        bling Act. This process “has important virtues,” in that
        it “draws on the collective experience of bench and
        bar” and “facilitates the adoption of measured, practi-
        cal solutions.” Mohawk Indus., Inc. v. Carpenter, 558
        U.S. 100, 114 (2009). Congress’s “determination” to
        entrust the civil rules to the rulemaking process “is
        entitled to [the Court’s] full respect, in deed as well as
        in word.” Id. at 119 (Thomas, J., concurring). Changes
        in the Civil Rules “are to come from rulemaking, …
        not judicial decisions in particular controversies or in-
        ventive litigation ploys.” Microsoft Corp. v. Baker, 137
        S. Ct. 1702, 1714 (2017).
           The rulemaking process has already rejected the
        argument that disagreement among the circuits re-
        quires clarification of Rules 23(b)(3) and (c)(4). In
        2011, the Advisory Committee on Civil Rules formed
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           17   Advisory Comm., Minutes, Nov. 5, 2015, at 23,
        https://www.uscourts.gov/sites/default/files/2015-11-05-minutes
        _civil_rules_meeting_final_0.pdf.




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        a Rule 23 Subcommittee to consider whether Rule 23
        required amendments considering developments in
        decisional law. 18 The Subcommittee began consider-
        ing whether to amend Rule 23(c)(4) in August 2014,
        when a group of corporate counsel and defense bar
        practitioners proposed amending the Rule to incorpo-
        rate what they deemed the approach of the Castano
        footnote. 19
            After considering the issue, the Subcommittee re-
        ported in 2015 that “recent reports suggest that all the
        circuits are coming into relative agreement that in ap-
        propriate cases Rule 23(c)(4) can be used even though
        full Rule 23(b)(3) certification is not possible due to the
        predominance requirement.” 20 The Subcommittee
        then considered amending Rule 23 to confirm the
        “broad view” that predominance as to an entire claim
        or action is not a prerequisite to Rule 23(c)(4) certifi-
        cation. 21 It concluded such an amendment was unnec-
        essary, because there was already consensus on the
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             18 Judicial Conference of the United States, Standing Com-

        mittee on Rules of Practice and Procedure, Minutes, June 12–13,
        2017, at 27, https://www.uscourts.gov/file/24103/download.
             19 Lawyers for Civil Justice, Repairing the Disconnect Be-

        tween Class Actions and Class Members: Why Rules Governing
        “No-Injury” Cases, Certification Standards for Issue Classes, and
        Notice Need Reform (Aug. 13, 2014), http://www.uscourts.gov/
        file/17648/download.
           20  Rule 23 Subcomm. Report 39, in Advisory Comm. on Civ.
        Rules, Agenda Book, Apr. 9–10, 2015, at 281 (emphasis added),
        https://www.uscourts.gov/sites/default/files/fr_import/CV2015-0
        4.pdf.
            21 Rule 23 Subcomm., Introductory Memorandum for Mini-

        Conference on Rule 23 Issues, Sept. 11, 2015, at 40, in Advisory
        Comm. on Civ. Rules, Agenda Book, Nov. 5–6, 2015, at 226,
        https://www.uscourts.gov/sites/default/files/2015-11-civil-agenda
        _book.pdf.




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        “broad view” and “[t]he various circuits seem to be in
        accord about the propriety of [issue class] treatment
        ‘[w]hen appropriate,’ as Rule 23(c)(4) now says.” 22 The
        Advisory Committee accordingly advised the Standing
        Committee on Rules of Practice and Procedure that
        there was no need to amend Rule 23(c)(4). 23 It re-
        ported “[t]he Subcommittee has concluded that what-
        ever disagreement among the circuits there may have
        been on this issue at one time, it has since subsided.” 24
        In endorsing amendments to other parts of Rule 23,
        the Standing Committee expressly took note that
        “[a]fter extensive consideration and study, the [Rule
        23] Subcommittee narrowed the list of issues to be ad-
        dressed” and “declined to address … issue classes.” 25
            The Judicial Conference unanimously approved
        the Rule 23 amendments in September 2017, and this
        Court followed suit in April 2018. 26 They went into ef-
        fect unchanged on December 1, 2018.
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            22 Rule 23 Subcomm. Report 4, in Advisory Comm. on Civ.

        Rules, Agenda Book, Nov. 5–6, 2015, at 5, https://www.uscourts.
        gov/sites/default/files/2015-11-civil-agenda_book.pdf.
            23 See Comm. on Rules of Practice and Procedure, Minutes,

        Jan 7, 2016, at 11–12, https://www.uscourts.gov/file/20044/down-
        load; Advisory Comm. on Civ. Rules, Report to the Standing Com-
        mittee, Dec. 11, 2015, at 27 (emphasis added),
        https://www.uscourts.gov/sites/default/files/2015-12-11-cv_rules
        _committee_report_0.pdf.
            24Id. at 12.
            25 Standing Committee, Minutes, June 12–13, 2017, at 27–
        28, https://www.uscourts.gov/file/24103/download.
            26 Judicial Conference of the United States, Report of the Pro-

        ceedings of the Judicial Conference of the United States, Septem-
        ber 12, 2017, at 23, https://www.uscourts.gov/sites/de-
        fault/files/17-sep_final_0.pdf; Supreme Court of the United
        States, Order Amending the Federal Rules of Civil Procedure,
                                                     (Footnote continued)



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           All told, the deliberations of the Advisory Commit-
        tee and Rule 23 Subcommittee involved “nearly two
        dozen meetings and bar conferences and … a mini-
        conference in September 2015 to gather additional
        feedback from a variety of stakeholders,” as well as ex-
        tensive written submissions. 27 A multi-year rulemak-
        ing process resulted in a considered judgment, with-
        out dissent, that the circuits were in accord, and no
        clarification of Rule 23(c)(4) was required. This Court
        need not second-guess this reasoned determination.
        IV. ECFMG’s view of issue-class certification
            lacks textual support.
           ECFMG’s argument that Rule 23(b)(3)’s require-
        ments must be satisfied by a cause of action as a
        whole, even when only specific issues are certified,
        contradicts the plain terms of the Rule.
           Rule 23(b) sets forth requirements for a “class ac-
        tion” to be “maintained.” Rule 23(c)(4), in turn, allows
        “an action” to be “maintained as a class action with
        respect to particular issues” (emphasis added). In
        other words, the action is a “class action” only as to
        those issues.
            A court cannot meaningfully consider whether
        maintaining that “class action” satisfies Rule
        23(b)(3)’s predominance requirement without taking
        into account the bounds Rule 23(c)(4) places on the
        “class action.” That is, the court must determine
        whether a “class action” limited to the certified issues
        satisfies predominance, not whether the rest of the
        ––––––––––––––––––––––––
        Rules 5, 23, 62, and 65.1, at 6-12, Apr. 26, 2018, https://www.su-
        premecourt.gov/orders/courtorders/frcv18_5924.pdf.
            27 Standing Committee, Minutes, June 12–13, 2017, at 27,

        https://www.uscourts.gov/file/24103/download.




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        action—which is not a class action—does so. Accord-
        ingly, in applying Rule 23(b)(3) in the context of a Rule
        23(c)(4) issues class, a court must consider whether
        common questions of law or fact predominate with re-
        spect to the issues that fall within the class action.
            As originally adopted, Rule 23(c)(4) made this
        point explicitly. It stated: “When appropriate (A) an
        action may be brought or maintained as a class action
        with respect to particular issues, or (B) a class may be
        divided into subclasses and each subclass treated as a
        class, and the provisions of this rule shall then be con-
        strued and applied accordingly.” Fed. R. Civ. P.
        23(c)(4) (1966). As the Second and Fourth Circuits ex-
        plained, that language means that other provisions of
        Rule 23 must be applied after taking into account the
        class action’s limitation to particular issues. See Nas-
        sau, 461 F.3d at 226; Gunnells, 348 F.3d at 439. This
        “sequencing directive” was eliminated in 2007 revi-
        sions of the Rules, but “the Advisory Committee made
        clear that the changes to the Rule's language were
        ‘stylistic only.’ Fed. R. Civ. P. 23(c)(4) adv. comm. n. to
        2007 amend.” Martin, 896 F.3d at 413.
           Other elements of the Rule also support Respond-
        ents’ interpretation. The title of section (c) of Rule 23
        refers to “issues classes.” For classes certified under
        Rule 23(b)(3), a court is required to direct notice to
        class members on a variety of matters, including “the
        class claims, issues, or defenses.” Fed. R. Civ. P.
        23(c)(1) (emphasis added). Rule 23(e) provides for set-
        tlement of “class claims, issues, or defenses” only with
        court approval. “Claim” is synonymous with “cause of
        action.” See Cause of Action, Black’s Law Dictionary
        (11th ed. 2019); Brownback v. King, 141 S. Ct. 740, 751
        (2021) (Sotomayor, J., concurring). In its use of the




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        disjunctive, Rule 23 contemplates certification of is-
        sues other than claims, let alone entire actions. 28
            Likewise, the Advisory Committee Notes to Rule
        23(c)(4) confirm the provision is intended to allow cer-
        tification of issues without a finding of predominance
        as to an entire claim. The relevant note states in its
        entirety:
            This provision recognizes that an action may be
            maintained as a class action as to particular is-
            sues only. For example, in a fraud or similar case
            the action may retain its “class” character only
            through the adjudication of liability to the class;
            the members of the class may thereafter be re-
            quired to come in individually and prove the
            amounts of their respective claims.
        Fed. R. Civ. P. 23 advisory committee note to subdivi-
        sion (c)(4).
           Read closely, this note indicates the proper inquiry
        in such a case is whether predominance is satisfied
        within the issue of “liability to the class,” not the ac-
        tion or claim as a whole. For if a court determined that
        common liability questions predominated over all
        ––––––––––––––––––––––––
            28 Petitioner mistakenly asserts Rule 23(c)(4) is at work in
        “nearly every” (b)(3) class action, and there is no distinction be-
        tween partial and full (b)(3) certification. (Pet. 23–24, 28.) Nei-
        ther proposition is correct. For example, entire actions have long
        been certified under Rule 23(b)(3) where damages can be calcu-
        lated simply and efficiently (e.g., through a classwide damages
        model), without the need for individualized proceedings. See, e.g.,
        Smilow v. Sw. Bell Mobile Sys., Inc., 323 F.3d 32, 40 (1st Cir.
        2003); Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir.
        2013). This differs from cases in which classwide litigation of is-
        sues is followed by individual proceedings to determine damages,
        as contemplated by the district court. See, e.g., Jenkins, 782 F.2d
        at 471.




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        individual questions in the action or claim (e.g., dam-
        ages), the action would “retain its ‘class’ character” not
        “only through the adjudication of liability to the class,”
        but on all issues, including damages. The entire action
        would be certified as to Rule 23(b)(3), and Rule 23(c)(4)
        would not be implicated at all. Restricting the scope of
        certification to a discrete issue like liability neces-
        sarily implies the scope of the predominance inquiry
        is likewise narrowed.
            The Rule’s structure and context, and the purposes
        evident from its text, thus indicate it cannot be read
        to allow certification of an issue class only when Rule
        23(b)(3) would permit certification of an entire action
        or cause of action. Rule 23(c)(4)’s broad grant of au-
        thority to certify issues “when appropriate” incorpo-
        rates the “flexibility in application” generally appro-
        priate under Rule 23. Gunnells, 348 F.3d at 424 (quot-
        ing In re A.H. Robins, 880 F.2d 709, 740 (4th Cir.
        1989)). The Rule permits courts to give common treat-
        ment to common issues to advance fair and efficient
        resolution of a case even when a broader certification
        would be impermissible. Gates, 655 F.3d at 273.
           Permitting issue certification only when an entire
        cause of action can be certified under Rule 23(b)(3)
        would undermine that objective and “render[] subsec-
        tion (c)(4) virtually null.” Nassau, 461 F.3d at 226; ac-
        cord Martin, 896 F.3d at 413. If an entire cause of ac-
        tion satisfied Rule 23(b)(3)’s requirements of predom-
        inance and superiority, a district court would not need
        to certify a narrower issue class. Moreover, under
        ECFMG’s portrayal of the Castano footnote’s ap-
        proach, “a court considering the manageability of a
        class action—a requirement for predominance under
        Rule 23(b)(3)(D)—[would have] to pretend that sub-
        section (c)(4)—a provision specifically included to



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        make a class action more manageable—does not exist
        until after the manageability determination [has
        been] made.” Nassau, 461 F.3d at 227 (quoting Gun-
        nells, 348 F.3d at 439). Thus, “a court could only use
        subsection (c)(4) to manage cases that the court had
        already determined would be manageable without
        consideration of subsection (c)(4).” Id. (emphasis
        added by Nassau). Such a reading would leave Rule
        23(c)(4) “without any practical application, thereby
        rendering it superfluous.” Gunnells, 348 F.3d at 439.
        Accepting ECFMG’s reading would thus violate one of
        the most basic interpretive canons: that a rule or stat-
        ute “should be construed so that effect is given to all
        its provisions, so that no part will be inoperative or
        superfluous.” Corley v. United States, 556 U.S. 303,
        314 (2009) (citations and quotation marks omitted).
        V. ECFMG’s dire predictions about issue-class
           certification ignore its longstanding use
           and the other procedural protections in
           Rule 23.
            ECFMG and its amicus curiae, the Chamber of
        Commerce, posit that issue-class certification will pro-
        ceed willy-nilly, risking great economic harm, if the
        Third Circuit’s opinion is permitted to stand. These
        arguments fail to recognize both the longstanding use
        of Rule 23(c)(4) as a tool for efficiently and fairly de-
        ciding significant common issues, and the paucity of
        appellate opinions or other evidence to indicate Rule
        23(c)(4) has led to runaway judgments since it was en-
        acted in 1966.
            ECFMG and the Chamber falsely contend the cir-
        cuit consensus on Rule 23(c)(4) enables a “new” or less
        stringent path for class certification. In fact, courts
        have employed issue-class certification for decades to



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        advance the resolution of damages class actions—in-
        cluding in the Fifth Circuit, which affirmed such a cer-
        tification in Jenkins in 1986. The Chamber adduces
        studies and data on class-action settlements, but none
        of them are specific to Rule 23(c)(4) certification.
            Other aspects of class-action jurisprudence ensure
        fair and efficient use of issue-class certification. This
        Court’s jurisprudence on commonality, for example,
        requires identification of a common issue as to which
        “determination of its truth or falsity will resolve an is-
        sue that is central to the validity of each one of the
        claims in one stroke,” ensuring that class proceedings
        “generate common answers apt to drive the resolution
        of the litigation.” Wal-Mart Stores, Inc. v. Dukes, 564
        U.S. 338, 350 (2011). The requirement of rigorous
        analysis of all elements, including Rule 23(b)(3) pre-
        dominance and superiority, along with the availability
        of interlocutory appeal under Rule 23(f), provide addi-
        tional protections from casual or misguided use of is-
        sue-class certification. ECFMG has already benefited
        from these protections in this very case.
        VI. This Court has repeatedly denied certio-
            rari on the question ECFMG raises.
            This Court has repeatedly denied certiorari to re-
        solve the claimed inter-circuit conflict over the inter-
        action between the predominance requirement of Rule
        23(b)(3) and Rule 23(c)(4), including as recently as
        2019. This case marks at least the fifth time in the last
        eighteen years that class-action defendants have
        asked the Court to grant certiorari to resolve the
        claimed interpretive division over Rule 23(c)(4). See
        Martin v. Behr Dayton Thermal Products, LLC, No.
        17-472 (filed Oct. 12, 2018); Healthplan Servs., Inc. v.
        Gunnells, No. 03-1282 (filed Mar. 11, 2004); Merrill



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        Lynch, Pierce, Fenner & Smith, Inc. v. McReynolds,
        No. 12-113 (filed July 25, 2012); Pella Corp. v. Saltz-
        man, No. 10-355 (filed Sept. 13, 2010).
           These petitions, like ECFMG’s, asked the Court to
        determine whether certification of an issue class un-
        der Rule 23(c)(4) requires a finding that the action or
        cause of action as a whole satisfies Rule 23(b)(3)’s pre-
        dominance requirement. As here, the petitioners in
        each of these cases asserted that the circuits were ir-
        reconcilably split over whether Rule 23(c)(4) allows a
        court to certify an issue class without finding that the
        entire action or cause of action would satisfy Rule
        23(b)(3). This Court denied certiorari in each case. 29
           No subsequent developments support granting the
        Petition. The Third Circuit’s embrace of the consensus
        position in this case makes the alleged split even less
        real or compelling. And the disposition below, which
        vacated certification of the class, together with the
        pending dispositive and renewed certification mo-
        tions, renders this case an unsuitable vehicle for ad-
        dressing the issue.
                             CONCLUSION
            For the foregoing reasons, Respondents respect-
        fully request the petition for a writ of certiorari be de-
        nied.




        ––––––––––––––––––––––––
           29 See Behr Dayton Thermal Products, LLC v. Martin, 139 S.
        Ct. 1319 (2019); Merrill Lynch, Pierce, Fenner & Smith, Inc. v.
        McReynolds, 568 U.S. 887 (2012); Pella Corp. v. Saltzman, 562
        U.S. 1178 (2011); Healthplan Servs., Inc. v. Gunnells, 542 U.S.
        915 (2004).




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                                   No. 21-948
                                       IN THE
                 Supreme Court of the United States

          EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES,
                                                                           Petitioner,
                                         v.
                      MONIQUE RUSSELL, JASMINE RIGGINS,
                      ELSA M. POWELL, AND DESIRE EVANS,
                                                                       Respondents.


                      CERTIFICATE OF WORD COUNT

     As required by Supreme Court Rule 33.1(h), I certify that the accompanying
Respondents’ Brief in Opposition contains 8,709 words, excluding the parts of the
document that are exempted by Supreme Court Rule 33.1(d).

      Executed on April 8, 2022.




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                                              EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL
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                                                                Petitioner,
                                                                    v.
                                                   MONIQUE RUSSELL, JASMINE RIGGINS,
                                                   ELSA M. POWELL, AND DESIRE EVANS,
                                                               Respondents

                                                                AFFIDAVIT OF SERVICE

I, Andrew Cockle, of lawful age, being duly sworn, upon my oath state that I did, on the 8th day of April, 2022, send out
from Omaha, NE 1 package(s) containing 3 copies of the RESPONDENTS’ BRIEF IN OPPOSITION in the above entitled
case. All parties required to be served have been served by third-party commercial carrier for delivery within 3 calendar
days. Packages were plainly addressed to the following:


                                                                      SEE ATTACHED


To be filed for:
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Subscribed and sworn to before me this 8th day of April, 2022.
I am duly authorized under the laws of the State of Nebraska to administer oaths.




        (AP
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                Wty Comm. Exp. September   5, 2023
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                      No. 21-948

                         In the
 Supreme Court of the United States

       EDUCATIONAL COMMISSION FOR
       FOREIGN MEDICAL GRADUATES,

                                              Petitioner,

                           v.

    MONIQUE RUSSELL; JASMINE RIGGINS;
     ELSA M. POWELL; and DESIRE EVANS,

                                           Respondents.



  On Petition for a Writ of Certiorari to the
   United States Court of Appeals for the
                Third Circuit


           REPLY FOR PETITIONER

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           REPLY FOR PETITIONER

       Respondents cannot deny that ECFMG’s
petition presents an important question on which
this Court has provided no guidance. And just
weeks ago the D.C. Circuit, in granting a Rule 23(f)
petition, recognized the question presented by this
petition as “important” and “‘an unsettled and
fundamental issue of law relating to class actions.”
In re Med. Transp. Mgmt., Inc., No. 21-8006, 2022
WL 829169, at *1 (D.C. Cir. Mar. 17, 2022).
       Respondents’ suggestion that the Court wait
until after a final judgment to grant review provides
no basis to deny the petition. As Amicus Chamber
of Commerce has documented (at 6), it appears that
no case certified under Rule 23(c)(4) has proceeded
to trial. The time for this Court’s review is now, at
the class certification stage, not following some
hypothetical final judgment.
        Respondents do not deny that the question
presented is dispositive of class certification. If an
ordinary Rule 23(b)(3) analysis applies, then
certification should have been denied and a different
judgment entered below.
      This Court has already acknowledged the
importance of the limits imposed by Rule 23(b)(3).
But the decision below renders Rule 23(b)(3)’s
predominance test practically meaningless. Under
the decision below, class counsel should always




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choose the easier route of certification under Rule
23(c)(4).
       The petition squarely presents an “important
question of federal law that has not been, but should
be, settled by this Court” and on which the circuits
disagree. S. Ct. R. 10(a),(c). Immediate review is
warranted.
                   ARGUMENT

I.    No Case Certified Under Rule 23(c)(4)
      Has Ever Proceeded to Final Judgment.
      Respondents’ suggestion (at 8–9) that this
Court wait for an appeal from a final judgment is
truly an argument that this Court should never
review the issue at all.
       Counsel has identified no case involving a
class certified under respondents’ view of Rule
23(c)(4) that has ever proceeded to trial. Counsel for
Amicus Chamber of Commerce represents the same.
Amicus Br. 6. Nor do respondents cite any case.
       This fact should confirm both the importance
of the issue and the danger of using Rule 23(c)(4) to
certify classes that could not otherwise be certified
under Rule 23(b)(3). Rule 23(b)(3) is, itself, an
“adventuresome innovation” for which certification
should be particularly “demanding.” Comcast Corp.
v. Behrend, 569 U.S. 27, 34 (2013). The further
innovation of using Rule 23(c)(4) to evade Rule
23(b)(3)’s requirements appears to have compelled




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settlement in every case in which it has been
permitted.
        As a result, little precedent exists regarding
how trial (and subsequent individual proceedings)
should be conducted in a case involving “partial Rule
23(b)(3) certification”—a concept on which the
Federal Rules provide no guidance. The procedural
uncertainty brings heightened settlement pressure
to bear, and it does so in cases ineligible for
certification under the ordinary test. Certification
under     Rule    23(c)(4) undercuts “just . . .
determination” of cases on their merits. Fed. R. Civ.
P. 1.
        The “paucity of appellate opinions or other
evidence to indicate Rule 23(c)(4) has led to runaway
judgments,” BIO 31, only reveals the danger. These
opinions and judgments do not exist because
certification compels settlement. This fact confirms
both the importance of the issue and that if this
Court wishes to grant certiorari, it must do so now.
II.   Respondents Incorrectly Describe the
      Positions of the Circuits.
      Respondents’ description of a uniform,
harmonious position among the circuits is incorrect.
The circuits disagree. At most, four circuits—the
Second,    Third,    Sixth,    and     Ninth—share
respondents’ interpretation at a high level, and even
within these circuits, there is significant
disagreement.




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       A.      After Rule 23(b)(3) is satisfied,
               Rule 23(c)(4) permits adjudicating
               common issues classwide.
      If Rule 23(b)(3)’s requirements (including
predominance) are satisfied for a cause of action, 1
Rule 23(c)(4) allows common issues to be adjudicated
on a classwide basis and individual issues to be
adjudicated in individual proceedings. See, e.g.,
Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453
(2016) (“[T]he action may be considered proper
under Rule 23(b)(3) even though other important
matters will have to be tried separately[.]”).
       The Question Presented is not whether Rule
23(c)(4) permits less than all of the issues in a claim
to be adjudicated on a classwide basis but whether
Rule 23(c)(4) permits this when Rule 23(b)(3) cannot
be satisfied for the cause of action.
       Respondents misread the circuits’ positions
because they erroneously treat any decision allowing
a limited class as supporting their view of the law.
       Consider, for example, respondents’ reliance
on the statement that “all federal circuits, including
the Fifth Circuit, have endorsed the class treatment
of specific issues.” BIO 11 (quoting Elizabeth J.
Cabraser & Samuel Issacharoff, The Participatory
Class Action, 92 N.Y.U.L. Rev. 846, 871 (2017)).
This sentence says nothing about endorsing “class

1 ECFMG understands “action” within Rule 23 to refer to a
cause of action and uses the term in this sense in the Question
Presented.




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treatment of specific issues” without first satisfying
Rule 23(b)(3).
       Respondents’ assumption that any decision
allowing class treatment of specific issues embraces
their position causes them to misread the cases.
             1.     The First Circuit decision
                    cited    by   Respondents
                    supports ECFMG.

       For example, respondents rely on Smilow v.
Southwestern Bell Mobile Systems, Inc., which held
that “common questions predominate” over
individual issues. 323 F.3d 32, 40 (1st Cir. 2003).
       Because common issues predominated, Rule
23(c)(4) “allow[ed] the court to maintain the class
action with respect to [common] issues” while
allowing “individualized determinations . . . to
calculate damages.” Id. at 41. This analysis
captures ECFMG’s view perfectly and offers no
support for respondents.
             2.     The Fifth Circuit adheres to
                    its view in Castano that Rule
                    23(b) must be satisfied for
                    the cause of action as a
                    whole.

        Respondents commit the same error in
discussing Jenkins v. Raymark Industries, Inc.,
which upheld the district court’s finding that “the
certified questions ‘predominate,’ under Rule
23(b)(3)” within the cases as a whole. 782 F.2d 468,




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472 (5th Cir. 1986); see also Laura J. Hines,
Challenging the Issue Class Action End-Run, 52
Emory L.J. 709, 731–32 (2003) (“[Jenkins] cannot be
read as actually authorizing such an expansive
interpretation of (c)(4)(A). There is simply no
evidence the Fifth Circuit believed that its
predominance analysis could be conducted only as to
the certified common issues, rather than as
compared to the individual issues remaining for
later proceedings.” (citations omitted)).
       Nor do other Fifth Circuit decisions undercut
Castano. In re Rodriguez, 695 F.3d 360 (5th Cir.
2012), and In re Deepwater Horizon, 739 F.3d 790
(5th Cir. 2014), merely stand for the (undisputed)
proposition that Rule 23(c)(4) allows adjudication of
some issues on a classwide basis and others on an
individual basis. Neither holds that doing so is
allowed when Rule 23(b)(3) cannot be satisfied for a
claim.
       Deepwater Horizon held that the district court
did not abuse its discretion in concluding that
“common issues nonetheless predominated over the
issues unique to individual claimants.” 739 F.3d at
816. Only because of this predominance, Rule
23(c)(4) permitted (common) liability issues to be
tried on a classwide basis and “‘issues relating to
damages’ could and would be ‘severed and tried
separately.’” Id. at 806; see also Allison v. Citgo
Petroleum Corp., 151 F.3d 402, 421–22 (5th Cir.
1998) (rejecting Rule 23(c)(4) certification under
Castano because “when considered as a whole, the




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plaintiffs’  [claim]    implicates      predominantly
individual-specific issues”).
      Castano is unambiguous: “The proper
interpretation    of    the     interaction     between
subdivisions (b)(3) and (c)(4) is that a cause of action,
as a whole, must satisfy the predominance
requirement of (b)(3) and that (c)(4) is a
housekeeping rule that allows courts to sever the
common issues for a class trial.” Castano v. Am.
Tobacco Co., 84 F.3d 734, 745 n.21 (5th Cir. 1996).
      Respondents’  attempts    to   introduce
uncertainty in the Fifth Circuit’s position is
incorrect.
              3.     The Eighth Circuit has
                     indicated support for the
                     position     that      the
                     predominance       inquiry
                     cannot ignore individual
                     issues.

       Ebert v. General Mills, Inc., 823 F.3d 472 (8th
Cir. 2016), indicates that the Eighth Circuit shares
ECFMG’s view of Rule 23(c)(4).
       Ebert rejects certification precisely because
the district court “narrow[ed] and separat[ed]”
issues in order to “manufactur[e] a case that would
satisfy the Rule 23(b)(3) predominance inquiry.” Id.
at 479. Certification of the common issues was
impermissible because “individual issues [would]




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predominate on the matters of liability and
damages.” Id.
       The analysis—comparing the common and
individual issues—is inconsistent with respondents’
position (and that of the decision below) that a
district court can disregard uncertified issues in
conducting a predominance inquiry. 2
        B.      The Seventh Circuit’s authority is
                mixed.
       The Seventh Circuit’s position is far from
clear.    The decision cited by respondents,
McReynolds v. Merrill Lynch, Pierce, Fenner &
Smith, Inc., 672 F.3d 482 (7th Cir. 2012), says
nothing about the interaction of Rule 23(b)(3) and
Rule 23(c)(4).
        If anything, the case appears to imply that
Rule 23(c)(4) is a separate form of class certification,
independent of any of subsection of Rule 23(b). See
id. at 492 (reversing “the denial of class certification
under Rules 23(b)(2) and (c)(4)”).
       But a party seeking certification must “satisfy
through evidentiary proof at least one of the
provisions of Rule 23(b).” Comcast, 569 U.S. at 33.
If McReynolds truly reflects the Seventh Circuit’s


2 In any event, respondents’ suggestion (at 10) that the Eight

Circuit adopted their view in In re St. Jude Medical, Inc., 522
F.3d 836 (8th Cir. 2008), is incorrect. The decision makes clear
that it was not adopting a position on the “conflict in authority”
that it recognized. Id.




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view that Rule 23(c)(4) allows class certification
independent of Rule 23(b), then certiorari is all the
more warranted.
       When the Seventh Circuit has discussed the
interplay between Rule 23(b)(3) and Rule 23(c)(4),
its statements have been consistent with ECFMG’s
view of the law. Kartman v. State Farm Mutual
Automobile Insurance Co. holds that an “‘issues’
class under Rule 23(c)(4)” would need to satisfy “the
requirements for certification of a damages class
under Rule 23(b)(3).” 634 F.3d 883, 886 (7th Cir.
2011) (rejecting an issues class as inappropriate
because the requirements of Rule 23(b)(3) were not
satisfied). And recently, Simpson v. Dart cited Rule
23(c)(4) for the proposition that if the requirements
of Rule 23(b) are “satisfied as to some of the class
representative’s claims but not others,” then only
the claims for which Rule 23(b)(3) is satisfied
“become ‘class claims.’” 23 F.4th 706, 713 (7th Cir.
2022).      The decision offers no support for
respondents’ view that certification is allowed
without a claim satisfying Rule 23(b)(3).
      C.     Respondents cannot deny the
             significant variations within the
             plurality.
      Even within the circuits that generally share
respondents’  position,    there    is  significant
disagreement. Pet. 17–20.
     Respondents accuse ECFMG of misquoting
Reitman v. Champion Petfoods, USA, Inc., 830 F.




                                                                            JA4912
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Appx. 880 (9th Cir. 2020). BIO 10. Although the
quoted sentence (that predominance is unnecessary)
describes the district court’s analysis, the opinion’s
preceding sentence states that “the district court
applied the correct standard.” Id. at 882.
       District courts within the Ninth Circuit
regularly hold that “a Rule 23(c)(4) issues class”
need not meet “the predominance requirement of
Rule 23(b)(3).” E.g., Tasion Communications, Inc. v.
Ubiquiti Networks, Inc., 308 F.R.D. 630, 633 (N.D.
Cal. 2015)
       This view contrasts with the Sixth Circuit’s
requirement     of  “a   robust    application   of
predominance and superiority.” Martin v. Behr
Dayton Thermal Prods. LLC, 896 F.3d 405, 413 (6th
Cir. 2018).
       Nor do respondents answer the fact that the
Third Circuit’s position is unique: no other circuit
applies its “Gates factor” test. And respondents offer
no defense for the statement in the decision below—
not adopted by any other circuit—that Rule 23(a)
must be evaluated only with respect to certified
issues. App. 14a.
       Even among the four circuits respondents
characterize as agreeing with them, there is
significant disagreement.




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      D.     The D.C. Circuit recently and
             correctly recognized certification
             under Rule 23(c)(4) as “an
             unsettled and fundamental issue of
             law.”
       Only weeks ago, on March 17, the D.C. Circuit
granted a Rule 23(f) petition presenting the same
issue presented in this petition: “[W]hether the
requirements of predominance and superiority must
exist as to the entire claim, or only regarding the
issue certified for class treatment.” In re Med.
Transp. Mgmt., Inc., No. 21-8006, Dkt. 1 at 17 (D.C.
Cir. Mar. 17, 2022).
        The D.C. Circuit recognized that issue
certification under Rule 23(c)(4) is “an unsettled and
fundamental issue of law relating to class actions.”
In re Med. Transp. Mgmt., Inc., 2022 WL 829169, at
*1 (internal quotation marks omitted).
      This recent decision refutes respondents’
suggestion that there is settled law in this area or
that guidance from this Court is unnecessary. And
the D.C. Circuit is right. Whether Rule 23(c)(4)
allows Rule 23(b)(3)’s requirements to be evaded is
an unsettled and fundamental question. Certiorari
is warranted.




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III.   This Court Does Not Defer to the
       Advisory Committee’s Decision Not to
       Amend the Rules.
       The heart of respondents’ opposition appears
to be that this Court should defer to the Advisory
Committee on Civil Rules. BIO 23–27.
      This Court has never, to the best of counsel’s
knowledge, cited (much less provided any deference
to) a decision of the Advisory Committee not to
propose an amendment to the rules.
       This Court has relied on the Advisory
Committee Notes as a source of legislative intent.
See United States v. Vonn, 535 U.S. 55, 64 n.6 (2002)
(“a reliable source of insight . . . especially when, as
here, the rule was enacted precisely as the Advisory
Committee proposed”); Beech Aircraft Corp. v.
Rainey, 488 U.S. 153, 165–66 n.9 (1988) (“relevant
in determining the meaning of the document
Congress enacted”).
       But there is a significant difference between
considering notes transmitted to Congress
accompanying an enacted rule and the (unadopted)
deliberations of a body that chose not to propose an
amendment.       These deliberations are not the
product of the full “extensive deliberative process
involving many reviewers: a Rules Advisory
Committee, public commenters, the Judicial
Conference, this Court, the Congress.” Amchem
Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).




                                                                               JA4915
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       No deference is owed by this Court to the
decision not to propose an amendment, and to the
extent that the Advisory Committee views the law
as settled and harmonious, it is incorrect.
IV.   Respondents’     View    Renders         Rule
      23(b)(3) Practically Superfluous.
       The importance of this issue to the ordinary
class certification process cannot be overstated. If
respondents are correct, the predominance inquiry
of Rule 23(b)(3) should never occur. When a claim
involves individual issues, class counsel should
always seek certification of the common issues
through Rule 23(c)(4), avoiding any need to prove
predominance by comparing the common and
individual issues.
       Respondents offer no reason why counsel
would ever choose to pursue class certification under
the ordinary Rule 23(b)(3) test if the less-demanding
Rule 23(c)(4) route were available to them.
        In a footnote, respondents suggest that there
is a difference between cases where “damages can be
calculated simply and efficiently (e.g., through a
classwide damages model), without the need for
individualized proceedings” and cases “in which
classwide litigation of issues is followed by
individual proceedings to determine damages.” BIO
29 n.28. But respondents fail to connect this
distinction to whether certification is under Rule
23(b)(3) or Rule 23(c)(4).      If damages can be
calculated on a classwide basis through a common




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damages model, there is no reason that damages
could not be certified as a common “issue” under
Rule 23(c)(4).     And “individualized damages
determinations are a feature of most Rule 23(b)(3)
class actions.”    Cabraser & Issacharoff, The
Participatory Class Action, 92 N.Y.U.L. Rev. at 870
n.102.
       Any classwide proceeding under Rule 23(b)(3)
could, if respondents are correct, be achieved more
easily through Rule 23(c)(4).       Put simply, if
respondents are correct, Rule 23(c)(4) “authorize[s]
an issue class action end-run around the important
procedural safeguard of predominance.” Hines,
Challenging the Issue Class Action End-Run, 52
Emory L.J. at 714.
       When discussing the Advisory Committee
Notes, respondents quote the note to Rule 23(c)(4)
concerning a liability-only class for a fraud claim,
BIO 29, but they overlook the connection of this
example to the note to Rule 23(b)(3). Pet. 26–28.
Read together, Rule 23(c)(4) may be employed
because predominance exists under Rule 23(b)(3),
not in the absence of predominance under Rule
23(b)(3).
       The “sequence” argument under the prior
version of the rules, BIO 28, is easily answered.
Under the prior version, after determining that an
action “may be brought or maintained as a class
action with respect to particular issues,” then “the
provisions of [Rule 23] shall then be construed and
applied accordingly.” Fed. R. Civ. P. 23(c)(4) (1966).




                                                                             JA4917
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The step of “constru[ing] and appl[ying]” the
provisions comes after determining whether a class
action may be “maintained,” an inquiry governed by
Rule 23(b). The provisions that must be “construed
and applied accordingly” are those about how a class
action will be conducted, not whether a class action
may be brought or maintained.
        This understanding does not “nullify” Rule
23(c)(4). It gives Rule 23(c)(4) its full effect as a
crucial manageability tool: Rule 23(c)(4) makes Rule
23(b)(3) classes possible by allowing certification of
common issues for class treatment when they
predominate over individual issues. Refusing to
distort Rule 23(c)(4) into a new form of class
certification does not nullify the provision.
V.    Certiorari Is Warranted Now.
      That this Court has received other petitions
on the issue only confirms its persistence and that
further    percolation   is    unwarranted      and
unnecessary.
       In the decision below, the Third Circuit
adhered to its test—the Gates factors—shared by no
other circuit and deepened the split further by
stating that even Rule 23(a) must be evaluated only
with respect to the certified issues. Pet.App. 14a.
No other circuit shares this view of Rule 23(a), and
respondents are unwilling to defend it.
      The issue has not resolved itself and will
continue to create uncertainty for courts and




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litigants until addressed by this Court.      Further
percolation is unnecessary.
      The fact that these cases are settled rather
than tried should only invite further scrutiny from
this Court.
                  CONCLUSION

      The petition for a writ of certiorari should be
granted.

                   Respectfully submitted,

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APRIL 2022




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                                     No. 21-948


             In the Supreme Court of the United States

     EDUCATIONAL COMMISSION FOR FOREIGN MEDICAL GRADUATES,


                                                                           Petitioner,
                                         v.


                      MONIQUE RUSSELL; JASMINE RIGGINS;
                       ELSA M. POWELL; and DESIRE EVANS,

                                                                        Respondents.


                  On Petition for a Writ of Certiorari to the
                   United States Court of Appeals for the
                                Third Circuit


                        CERTIFICATE OF COMPLIANCE


      In accordance with Supreme Court Rule 33.1(h), I certify that the foregoing
Reply for Petitioner contains 2,998 words, excluding the parts of the document that
are exempted by Supreme Court Rule 33.1(d).

      I declare under penalty of perjury that the foregoing is true and correct.



Dated: April 26, 2022

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                                                         EDUCATIONAL COMMISSION FOR
                                                          FOREIGN MEDICAL GRADUATES,
                                                                    Petitioner,
                                                                        v.
                                                       MONIQUE RUSSELL; JASMINE RIGGINS;
                                                        ELSA M. POWELL; and DESIRE EVANS,
                                                                   Respondents.

                                                                AFFIDAVIT OF SERVICE

I, Andrew Cockle, of lawful age, being duly sworn, upon my oath state that I did, on the 26th day of April, 2022, send out
from Omaha, NE 7 package(s) containing 3 copies of the REPLY FOR PETITIONER in the above entitled case. All parties
required to be served have been served by third-party commercial carrier for delivery within 3 calendar days. Packages were
plainly addressed to the following:


                                                                      SEE ATTACHED


To be filed for:
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       Elisa P. McEnroe                                                               Counsel of Record
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                                                                                     Counsel for Petitioner




Subscribed and sworn to before me this 26th day of April, 2022.
I am duly authorized under the laws of the State of Nebraska to administer oaths.




        (AP
                       RENEE J. GOSS
                Wty Comm. Exp. September   5, 2023
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                                                                                                              hk           (2h
                                                      Notary Public                                 Affiant               JA4921      42342
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(ORDER LIST: 596 U.S.)


                                 MONDAY, MAY 16, 2022



                               ORDERS IN PENDING CASES

21M107         NIEVES, JORGE V. DIXON, SEC., FL DOC

21M108         WHITE, JASON E. V. LUMPKIN, DIR., TX DCJ

                   The motions to direct the Clerk to file petitions for writs

               of certiorari out of time are denied.

21M109         MEYER, WILLIAM V. UNITED STATES

                   The motion for leave to file a petition for a writ of

               certiorari with the supplemental appendix under seal is granted.

21M110         BENSON, ADA M. V. RIVERSIDE COUNTY SHERIFF, ET AL.

21M111         MARTINEAU, ROCKNEY W. V. ARIZONA

                   The motions to direct the Clerk to file petitions for writs

               of certiorari out of time are denied.

21M112         PEARSON, FREYA D. V. UNITED STATES

                   The motion for leave to file a petition for a writ of

               certiorari with the declaration of indigency under seal is

               granted.

21M113         SEALED APPELLANT V. SEALED APPELLEE, ET AL.

                   The motion for leave to file a petition for a writ of

               certiorari under seal is denied.

21M114         HARRIS, GARY D. V. UNITED STATES

                   The motion to direct the Clerk to file a petition for a writ

               of certiorari out of time is denied.

21-86          AXON ENTERPRISE, INC. V. FTC, ET AL.

21-468         NATIONAL PORK PRODUCERS, ET AL. V. ROSS, KAREN, ET AL.



                                           1
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                The motions of petitioners to dispense with printing the

            joint appendices are granted.

21-936      U.S., EX REL. OWSLEY V. FAZZI ASSOCIATES, INC., ET AL.

21-968      FAIRFAX COUNTY SCHOOL BOARD V. DOE, JANE

                The Solicitor General is invited to file briefs in these

            cases expressing the views of the United States.

21-6829     DONMEZ, IBRAHIM V. NYC DEPT. OF CONSUMER, ET AL.

21-7205     HOLLAND, LEE V. UNITED STATES

21-7237     DALEN, JOHN V. SOUTH CAROLINA

                The motions of petitioners for reconsideration of orders

            denying leave to proceed in forma pauperis are denied.

21-7408     DINGLE, RANDY V. BAGGETT, TALMAGE S., ET AL.

21-7627     HEARN, GWENDOLYN V. DeJOY, POSTMASTER GEN.

                The motions of petitioners for leave to proceed in forma

            pauperis are denied.   Petitioners are allowed until June 6,

            2022, within which to pay the docketing fees required by Rule

            38(a) and to submit petitions in compliance with Rule 33.1 of

            the Rules of this Court.

                             CERTIORARI GRANTED

21-857      JONES, MARCUS D. V. HENDRIX, WARDEN

21-1239     SEC, ET AL. V. COCHRAN, MICHELLE

                The petitions for writs of certiorari are granted.

                             CERTIORARI DENIED

20-1229     ROBERTSON, JAMES W. V. INTRATEK COMPUTER, INC.

20-1394     PERSONALWEB TECHNOLOGIES, LLC V. PATREON, INC., ET AL.

21-835      FLOWERS, OTHA R. V. UNITED STATES

21-948      ED. COMM'N FOR FOREIGN MEDICAL V. RUSSELL, MONIQUE, ET AL.

21-1056     UNIVERSAL SECURE REGISTRY LLC V. APPLE INC., ET AL.


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21-1057     ORACLE CORPORATION V. HEWLETT-PACKARD CO.

21-1068     LION RAISINS, INC., ET AL. V. ROSS, KAREN

21-1074     DI CARLO, MARK A. V. SWARTZ, JAMES R., ET AL.

21-1082     LEONARD, TARRESSE V. UNITED STATES

21-1090     CALVERT, JAMES V. TEXAS

21-1157     SPENCER, DENNIS V. COLORADO

21-1200     PHILLIPS, SHERIF A. V. PITT CTY. MEM. HOSP., INC.

21-1204     CHICO, CA, ET AL. V. ESTATE OF TYLER RUSHING, ET AL.

21-1205     ERIC E. V. LA CTY. DEPT. OF CHILDREN

21-1212     GATSBY, LINSAY L. V. GATSBY, KYLEE D.

21-1216     XU, YAN PING V. SUFFOLK COUNTY, NY, ET AL.

21-1221     S. U. V. C. J.

21-1222     JOSEPH, JOEL D. V. AMERICAN GENERAL LIFE INS. CO.

21-1229     SAVED MAGAZINE, ET AL. V. SPOKANE POLICE DEPT., ET AL.

21-1230     DAKOTA TERRITORY TOURS, ACC V. SEDONA-OAK CREEK AIRPORT

21-1232     NORDBERG, PAUL C. V. MA RETIREMENT SYSTEM

21-1233     JOUBERT, MARK R. V. MILEY, TODD

21-1234     DOMINGUEZ, JOSE V. AMERICAN EXPRESS, FSB

21-1235     GRUNDSTEIN, ROBERT V. SUPREME COURT OF OH

21-1238     RODMAN, INA A. V. OTSUKA AM. PHARMACEUTICAL, INC.

21-1242     CHRONISTER, SHERIFF, ET AL. V. JOSEPH, ANDREW

21-1247     RAFTER, KARINA V. VIRGINIA

21-1249     CASSIDY, JOHN E. V. MASSACHUSETTS

21-1250     PARKER, JAMAL D. V. BLINKEN, SEC. OF STATE, ET AL.

21-1252     HERTA, MARIA V. McBRIDE, JOHN, ET AL.

21-1253     FETNER, PHILIP J. V. McCARTHY, KEVIN R., ET AL.

21-1254     BREGMAN, ALLEN V. FLORIDA

21-1259     JOHN, JAY J. V. DEUTSCHE BANK, ET AL.


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21-1263     GERBER, MARVIN V. HERSKOVITZ, HENRY, ET AL.

21-1265     LOWE, CLARENCE V. N. IN COMMUTER TRANSP. DIST.

21-1282     MARTIN, CHRISTOPHER R. V. NEVADA

21-1285     M & N FINANCING CORP., ET AL. V. DEPT. OF FAIR EMPLOY. & HOUSING

21-1289     TAFT, FOSTER V. VENTURA CTY. MED. CTR., ET AL.

21-1298     ALBRECHT, LEONARD, ET AL. V. RIVERSIDE COUNTY, CA, ET AL.

21-1311     PIERNO, RINALDO V. FIDELITY BROKERAGE SERVICES

21-1315     LINGENFELTER, DEBORAH V. KAISER FOUNDATION HEALTH PLAN

21-1332     DAKER, WASEEM V. WARD, TIMOTHY, ET AL.

21-1336     OLSEN, JEFFREY V. UNITED STATES

21-1339     NEBERGALL, CARLTON R. V. FLORIDA

21-1341     TURNER, WYSINGO V. BRANNON-DORTCH, WARDEN

21-1369     PAGE, CARTER V. OATH INC.

21-6804     KEMP, TIMOTHY W. V. ARKANSAS

21-6826     STANDS ALONE, TODD V. UNITED STATES

21-6847     CHILDERS, JOHN W. V. CROW, DIR., OK DOC

21-7019     MYLES, RUNNIE V. JACOBS, JAY, ET AL.

21-7067     BAKER, KIMMIE D. V. ARIZONA

21-7068     WRIGHT, RODNEY K. V. KIJAZAKI, COMM'R, SOCIAL SEC.

21-7124     POLEJEWSKI, PAMELA V. MONTANA

21-7285     COLLIER, IRINA V. UNIV. OF CA, BERKELEY

21-7292     WALKER, JAMES E. V. ILLINOIS

21-7296     GONZALEZ, FRANK C. V. CALIFORNIA

21-7298     CONTE, DENNIS A. V. MARYLAND

21-7300     DAVIDSON, LeMARICUS V. TENNESSEE

21-7314     JONES, WILLIAM V. TEXAS

21-7317     COTA, MICHAEL V. MALONE, JOHN, ET AL.

21-7321     MACK, ERIC L. V. TEXAS


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21-7325     BRAXTON, MICHAEL T. V. JAMES, WARDEN

21-7336     ALLEN, KARSTEN O. V. MAYO, J., ET AL.

21-7348     PRESCOTT, ANDREW V. APPELLATE COURT OF IL

21-7350     CERDA, ROBERTO V. ILLINOIS

21-7370     MILON, DANTE L. V. HOOPER, WARDEN

21-7377     TORRES, ROSEE, ET VIR V. WELLS FARGO BANK, N.A., ET AL.

21-7379     TERRY, PATRICK J. V. OKLAHOMA

21-7380     BROWN, FRANK H. V. LUMPKIN, DIR., TX DCJ

21-7383     ARMAH, FRANCIS B. V. DOWLING, WARDEN

21-7388     WELLS, AMOS J. V. TEXAS

21-7392     BRANTLEY, JEFFERY N. V. MOODY, ATT'Y GEN. OF FL, ET AL.

21-7394     CARTER, KEITH V. CALIFORNIA

21-7401     EDWARDS, HAROLD V. NEVADA, ET AL.

21-7406     KOZUBAL, MAREK V. MASSACHUSETTS

21-7407     TISDEL, JANECE V. WITNESS PROTECTION

21-7411     PLATT, RICHARD E. V. DIXON, SEC., FL DOC

21-7412     ROBINSON, MARTIN V. SAFFOLD, JUDGE, ET AL.

21-7435     WILLIAMS, RONELL V. KANSAS

21-7441     MALDONADO-ARCE, EDGARDO V. CRISWELL, ADM'R, FEMA

21-7447     LIOUNIS, PETER V. UNITED STATES

21-7472     WALKER, EARNEST E. V. KANSAS

21-7485     STATON, TERRELL V. LAMONT, NED

21-7500     JONES, WILLIAM C. V. TEXAS

21-7511     HERRIOTT, KEVIN E. V. BURTON, WARDEN

21-7518     MYERS, JAY A. V. DIXON, SEC., FL DOC

21-7522     PHILLIPS, JERRY W. V. FRINK, WARDEN

21-7525     PERKINS, JEROME V. PERRY, WARDEN

21-7532     KARUPAIYAN, PALANI V. INTERNATIONAL SOS, ET AL.


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21-7552     BISHOP, KALVIN V. McGINLEY, SUPT., COAL TOWNSHIP

21-7571     LIVERPOOL, ANTON F. V. CLEVELAND, REGGIE, ET AL.

21-7574     BLACK, DANYEL V. UNITED STATES

21-7575     MORRIS, KEITH V. UNITED STATES

21-7576     WRIGHT, EDWARD V. UNITED STATES

21-7581     HUDSON, ICE TEE V. UNITED STATES

21-7585     McNEIL, JAYSON V. UNITED STATES

21-7588     MARIGNY, GLORIA V. CENTENE MANAGEMENT CO. LLC

21-7605     MANSELL, LWANE A. V. DIXON, SEC., FL DOC, ET AL.

21-7606     SCOTT, MICHAEL L. V. FOX, WARDEN

21-7610     SMITH, TERRY V. FLORIDA, ET AL.

21-7613     WILLIAMS, JAMES E. V. ILLINOIS

21-7615     CODNER, RANDOLPH V. FLORIDA

21-7636     LOPEZ, RAMON V. QUIROS, COMM'R, CT DOC

21-7639     CARLEY, ELIZABETH V. NEVEN, WARDEN, ET AL.

21-7647     BRICE, LLOYD V. CALIFORNIA

21-7651     MARTINEZ, MANUEL V. ILLINOIS

21-7676     JONES, ROBERT C. V. ILLINOIS

                The petitions for writs of certiorari are denied.

21-1044     STIRLING, DIR., SC DOC, ET AL. V. BRYANT, JAMES N.

                The motion of respondent for leave to proceed in forma

            pauperis is granted.   The petition for a writ of certiorari is

            denied.

21-1100     3M CO., ET AL. V. AMADOR, GEORGE

                The motion of Product Liability Advisory Council, Inc. for

            leave to file a brief as amicus curiae is granted.     The petition

            for a writ of certiorari is denied.     Justice Alito took no part

            in the consideration or decision of this motion and this


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            petition.

21-1224     COZZA, LAURA V. PNC BANK, NAT. ASSN.

                The petition for a writ of certiorari is denied.     Justice

            Alito took no part in the consideration or decision of this

            petition.

21-1231     LEFEBURE, PRISCILLA V. D'AQUILLA, SAMUEL

                The motion of Louisiana Foundation Against Sexual Assault,

            et al. for leave to file a brief as amici curiae is granted.

            The motion of American Conservative Union for leave to file a

            brief as amicus curiae is granted.     The petition for a writ of

            certiorari is denied.

21-1264     KLAYMAN, LARRY V. JUDICIAL WATCH, INC., ET AL.

                The petition for a writ of certiorari is denied.     Justice

            Kavanaugh took no part in the consideration or decision of this

            petition.

21-1267     CISCO SYSTEMS, INC. V. SRI INTERNATIONAL, INC.

                The motion of Comcast Corporation for leave to file a brief

            as amicus curiae is granted.    The petition for a writ of

            certiorari is denied.

21-7286     JOHNSTON, ANDREW J. V. WARD, FRANCES, ET AL.

                The motion of petitioner for leave to proceed in forma

            pauperis is denied, and the petition for a writ of certiorari is

            dismissed.   See Rule 39.8.    As the petitioner has repeatedly

            abused this Court's process, the Clerk is directed not to accept

            any further petitions in noncriminal matters from petitioner

            unless the docketing fee required by Rule 38(a) is paid and the

            petition is submitted in compliance with Rule 33.1.     See Martin

            v. District of Columbia Court of Appeals, 506 U. S. 1 (1992)


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            (per curiam).   Justice Barrett took no part in the consideration

            or decision of this motion and this petition.

21-7361     WATSON, TERRY G. V. WITTY, KAREY L., ET AL.

                The motion of petitioner for leave to proceed in forma

            pauperis is denied, and the petition for a writ of certiorari is

            dismissed.   See Rule 39.8.    As the petitioner has repeatedly

            abused this Court's process, the Clerk is directed not to accept

            any further petitions in noncriminal matters from petitioner

            unless the docketing fee required by Rule 38(a) is paid and the

            petition is submitted in compliance with Rule 33.1.     See Martin

            v. District of Columbia Court of Appeals, 506 U. S. 1 (1992)

            (per curiam).

21-7365     CLEMENTS, LOUIS M. V. FLORIDA, ET AL.

                The petition for a writ of certiorari before judgment is

            denied.

21-7589     BROWN, MARK A. V. MASON, SUPT., MAHANOY, ET AL.

                The petition for a writ of certiorari is denied.     Justice

            Alito took no part in the consideration or decision of this

            petition.

                             HABEAS CORPUS DENIED

21-7649     IN RE JAMAAL A. McNEIL

                The petition for a writ of habeas corpus is denied.

                               MANDAMUS DENIED

21-1280     IN RE J. CORY CORDOVA

21-1286     IN RE W. A. GRIFFIN

21-1287     IN RE W. A. GRIFFIN

                The petitions for writs of mandamus are denied.




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                             REHEARINGS DENIED

21-501      LIOTT, JAMES V. V. U.S. BANK NATIONAL ASSOCIATION

21-969      COULTER, JEAN V. PAULISICK, GERRI V., ET AL.

21-989      COULTER, JEAN V. PAUL L. DUNBAR COMM., ET AL.

21-1015     CAO, ANGELA V. BSI FINANCIAL SERVICES, ET AL.

21-1076     THAMILSELVAN, SIVAGNANAM V. THAMILSELVAN, VIJAYALAKSHMI

21-5245     HAHN, JAMIE P. V. GEORGIA

21-5345     THURMAN, LEONARD V. MED. TRANSP. MANAGEMENT

21-6765     OMBE, HITOSHI V. COOK, GEORGE, ET AL.

21-6766     DeATLEY, ALAN E. V. COLORADO

21-6841     BENSON, ADA M. V. HEMET POLICE DEPT.

21-6881     BRESSI, AARON J. V. McCLOUD, TRACY, ET AL.

21-6958     VORASIANGSUK, VORARUT V. UNITED STATES

21-7043     BENSON, ADA M. V. ALLSTATE INSURANCE CO.

21-7106     NYAMUSEVYA, LEONARD V. COURT OF COMMON PLEAS, ET AL.

                The petitions for rehearing are denied.




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